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Name                                               Address1                            Address2             Address3          Address4          City            State Zip

FRANCIS L MEADE JR & CENTA M MEADE JT TEN        42 PARK WEST                                                                                   NEW HYDE PARK   NY    11040‐3504
FRANCIS L PERRY                                  404 N INSTITUTE                                                                                RICHMOND        MO    64085‐2709
FRANCIS L POTTER                                 8838 MAPLE DR                                                                                  CALEDONIA       WI    53108‐9618
FRANCIS L SHARPE                                 361 CAPE RUSSELL RD                                                                            SHARPS CHAPEL   TN    37866‐2234
FRANCIS L STILLMAN                               2529 LOUIS                                                                                     BRENTWOOD       MO    63144‐2534
FRANCIS L STRAUB                                 429 HOOK ROAD                                                                                  PENNSVILLE      NJ    08070‐1026
FRANCIS L THELEN & JEANETTE T THELEN JT TEN      11355 HOLLY CT                                                                                 FOWLER          MI    48835‐9143
FRANCIS L WOZNIAKOWSKI & PATRICIA A              10 FOREST ST                                                                                   BONDSVILLE      MA    01009
WOZNIAKOWSKI JT TEN
FRANCIS L YAKLIN                                 982 WALNUT ST                                                                                  NEW BAVARIA     OH    43548‐9781
FRANCIS LAFOUNTAIN                               20 FIR ROAD                                                                                    WESTFORD        MA    01886‐1864
FRANCIS LEO POTTER & MARY KATHLEEN POTTER JT TEN 8838 MAPLE DRIVE                                                                               CALEDONIA       WI    53108‐9618

FRANCIS LEROY SHOREY                               113 HILTON HILL RD                                                                           ANSON           ME    04911
FRANCIS LYNCH                                      11 PALM LANE                                                                                 WESTBURY        NY    11590
FRANCIS LYNN STACK                                 1546 LEITH ST                                                                                FLINT           MI    48506‐2733
FRANCIS M BIDDLE JR                                1 JACQUELINE DR                                                                              HOCKESSIN       DE    19707‐1008
FRANCIS M BISHOP                                   PO BOX 308                                                                                   WASHINGTON      GA    30673‐0308
FRANCIS M CELONA                                   33 PLAINS ROAD                                                                               HONEOYE FALLS   NY    14472‐9007
FRANCIS M CORDER                                   3529 PAPE                                                                                    CINCINNATI      OH    45208‐1722
FRANCIS M DREESSEN                                 15259 NE 14TH AV                                                                             STARKE          FL    32091‐6507
FRANCIS M DUTMERS                                  3296 BENCHWOOD RD                                                                            DAYTON          OH    45414‐2704
FRANCIS M EVANS & LINDA S EVANS JT TEN             641 COUNTRYSIDE CIRCLE                                                                       HUDSON          WI    54016‐7827
FRANCIS M FINK                                     26 BATESON DRIVE                                                                             ANDOVER         MA    01810‐3402
FRANCIS M GAVIN JR & MARSHA A GAVIN JT TEN         14705 HARTMAN PLAZA                                                                          OMAHA           NE    68116‐4335
FRANCIS M HUNNICUTT & SHIRLEY J HUNNICUTT JT TEN   3412 E 716 N                                                                                 HUNTINGTON      IN    46750‐9634

FRANCIS M LOBDELL                                   128 COUNTY ROUTE 35                                                                         CANTON          NY    13617‐3417
FRANCIS M MC DONOUGH                                1835 KIOWA RD                                                                               LYONS           CO    80540‐8215
FRANCIS M MEADS                                     8913 GLENBROOK RD                                                                           FAIRFAX         VA    22031‐2727
FRANCIS M OHTA & YURIKO OHTA JT TEN                 2038 KAHEKILI HWY                                                                           WAILUKU MAUI    HI    96793‐9205
FRANCIS M SCHAAF CUST MICHAEL LOUIS SCHAAF UTMA 225 BACH RD                                                                                     SCHERERVILLE    IN    46375‐2358
IN
FRANCIS M SCHIPRITT                                 54 EAST MITCHELL DR                                                                         CHESHIRE        CT    06410
FRANCIS M STASZESKY CUST PAUL DANIEL STASZESKY      106 MARIAM PASS                                                                             MIDDLETOWN      MD    21769‐7850
UGMA MA
FRANCIS M SUSKEY & RUTH SUSKEY TR SUSKEY 2001       4924 24TH AVE                                                                               HUDSONVILLE     MI    49426‐8409
FAMILY TRUST UA 12/11/01
FRANCIS M WALTERS 3RD                               5704 KINGSWOOD RD                                                                           BETHESDA        MD    20814‐1818
FRANCIS M ZBIEGIEN                                  4 BEREA COMMONS                                                                             BEREA           OH    44017‐2524
FRANCIS MALCYNSKY                                   115 FIRST ST                                                                                NEW BRITAIN     CT    06051‐1650
FRANCIS MARIUCCI                                    4545 CO RD 116                                                                              WILDWOOD        FL    34785‐8937
FRANCIS MERRY                                       570 W COUNTY ROAD 600 N                                                                     ORLEANS         IN    47452‐9719
FRANCIS MICHAEL CASEY III                           614 FOULKSTONE RD                                                                           WILMINGTON      DE    19803‐2416
FRANCIS MICHAEL LUCE & JEFFRA A LUCE JT TEN         1409 N MARLIN DR                                                                            MARION          IN    46952‐1536
FRANCIS MORDI OKIA                                  439 MILLSTONE RIVER ROAD                                                                    BELLE MEAD      NJ    08502‐5611
FRANCIS N GUYETTE                                   8741 EAST 30 1/2 RD                                                                         CATTELACK       MI    49601‐9104
FRANCIS N MC CORKLE JR                              1113 MILL ST                                                                                CAMDEN          SC    29020‐3763
FRANCIS NEWMAN                                      219 HENLEY RD                                                                               RICHMOND        IN    47374‐5944
FRANCIS O GROSSBAUER                                1818 SMITH RD                                                                               LAPEER          MI    48446‐7716
FRANCIS O KALB                                      711 BLACKBIRD FOREST ROAD                                                                   SMYRNA          DE    19977‐9215
FRANCIS O MARTA & DONNA J MARTA JT TEN              12811 VIA CATHERINA                                                                         GRAND BLANC     MI    48439‐1529
FRANCIS O SUCH                                      1331 EAGLES NEST CT                                                                         STEWARTSVILLE   NJ    08886‐2925
FRANCIS O THOMPSON & NONA CAROL BROWNE              5967 THOMPSON RD                                                                            STEWARTSTOWN    PA    17363‐7748
THOMPSON TEN ENT
FRANCIS OBRIEN                                      1001 STARKEY RD LOT 739                                                                     LARGO           FL    33771‐5433
FRANCIS P CAIAZZA                                   BOX 126                                                                                     STAMFORD        NY    12167
FRANCIS P FITZGIBBONS & CLAIRE B FITZGIBBONS JT TEN 3606 S PENINSULA DR                APT 405                                                  PORT ORANGE     FL    32127‐4671
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FRANCIS P GAROVE & PAULINE L GAROVE JT TEN       9808 HICKORYHURST DR                                                                          BALTIMORE         MD    21236‐4815
FRANCIS P HANNICK                                2206 FRANKLIN                                                                                 BERKLEY           MI    48072‐3301
FRANCIS P LIPKA JR                               3710 SHIELDS ROAD                                                                             CANFIELD          OH    44406
FRANCIS P MACKAY                                 77 SMITH AVE                                                                                  GREENVILLE        RI    02828‐1721
FRANCIS P MANSE & GLORIA MANSE JT TEN            9214 JACINTO ST                                                                               NEW PRT RCHY      FL    34655‐5253
FRANCIS P MCCORMICK                              3929 HAWTHORNE ROAD                                                                           ELLICOTT CITY     MD    21042‐5313
FRANCIS P MCKENNA                                2745 MORGAN ST                                                                                SAGINAW           MI    48602‐3554
FRANCIS P MORAN & MARY LOU MORAN JT TEN          514 ORCHARD AVE                                                                               KENNETT SQUARE    PA    19348‐1812
FRANCIS P MURPHY                                 333 E 79TH ST APT19Y                                                                          NEW YORK          NY    10021‐0961
FRANCIS P MURRMAN & MARGARET R MURRMAN JT        612 COURTVIEW DRIVE                                                                           GREENSBURG        PA    15601‐1427
TEN
FRANCIS P POTTER                                 20 CRUM ELBOW RD 12E                                                                          HYDE PARK         NY    12538‐2814
FRANCIS P PRATT                                  15849 GREENWAY DR                                                                             LANSING           MI    48906‐1408
FRANCIS P RAUCH                                  1132 CORA                                                                                     WYANDOTTE         MI    48192‐2806
FRANCIS P SANSONE                                1001 ADAMS AVE                                                                                FRANKLIN SQUARE   NY    11010‐2212

FRANCIS P SCHMIDT                                1814 NELSON SE                                                                                GRAND RAPIDS      MI    49507‐2762
FRANCIS P SEPPELL                                5 MARLBORO LANE                                                                               YONKERS           NY    10710‐4409
FRANCIS P SULLIVAN                               356 S COUNTRY ESTATES DRIVE                                                                   SALINA            KS    67401‐9654
FRANCIS P TYLENDA                                257 MERRIWEATHER                                                                              GROSSE POINTE     MI    48236‐3428
                                                                                                                                               FARM
FRANCIS P VOLLRATH                               411 CAMINO REAL                                                                               ENGLEWOOD         FL    34224‐5107
FRANCIS P WALSH                                  1212 BUNTS RD                                                                                 LAKEWOOD          OH    44107‐2612
FRANCIS PALISANO & MARY P PALISANO JT TEN        269 MOORE AVE                                                                                 KENMORE           NY    14223‐1616
FRANCIS PARENTE CUST JOHN M PARENTE UGMA RI      60 SUFFOLK DR                                                                                 N KINGSTOWN       RI    02852‐1654

FRANCIS PATRICK VARDY                            401 E 81ST ST                                                                                 NEW YORK          NY    10028‐5811
FRANCIS PAUL DALEY                               1111 BALMER RD                                                                                YOUNGSTOWN        NY    14174‐9772
FRANCIS PERRINE                                  2506 VERDE RD SE                                                                              ALBUQUERQUE       NM    87105‐5658
FRANCIS PFAU                                     653 MAPLE STREET                                                                              FAIRFIELD         AL    35064‐2655
FRANCIS POLAKIEWICZ & MRS JOSEPHINE POLAKIEWICZ 2461 BULLOCK TRL                                                                               VIRGINIA BCH      VA    23454‐5220
JT TEN
FRANCIS PRYSBY & ANNETTE PRYSBY JT TEN           5535 VINEYARD DR                                                                              MONROE            MI    48161‐3659
FRANCIS Q LEMON JR & ANNE F LEMON JT TEN         2825 E OAKLAND                                                                                WILMINGTON        DE    19808‐2420
FRANCIS Q LEMON JR CUST FRANCIS Q LEMON III UGMA 2825 E OAKLAND DR                                                                             WILMINGTON        DE    19808‐2420
DE
FRANCIS R BYRNE                                  1228 E MT FOREST RD                                                                           PINCONNING        MI    48650‐8430
FRANCIS R BYRNE & THOMAS M BYRNE JT TEN          1228 E MT FOREST RD                                                                           PINCONNING        MI    48650‐8430
FRANCIS R COLLINS & BARBARA J COLLINS JT TEN     39 WALKER ST                                                                                  SOUTH PORTLAND    ME    04106‐4730

FRANCIS R COPPO & LOIS ANN COPPO JT TEN          9140 ANNA MARIE R3                                                                            GRAND BLANC       MI    48439‐8015
FRANCIS R COPPO & LOIS ANN COPPO TR COPPO FAMILY 9140 ANNA MARIA BLVD                                                                          GRAND BLANC       MI    48439‐8015
TRUST UA 01/08/99
FRANCIS R CRISWELL                               6850 LOCK HAVEN DR                                                                            LOCKPORT         NY     14094‐6184
FRANCIS R CROASTON                               2702 TILDEN RD                                                                                BALTIMORE        MD     21222‐3219
FRANCIS R DUDLEY                                 3813 WEST DOVER DR                                                                            FLORENCE         SC     29501‐7712
FRANCIS R DWYER                                  2696 IOLANI STREET                                                                            MAKAWAO          HI     96768‐8750
FRANCIS R GADLEY & DONNA L GADLEY JT TEN         34993 QUAIL TR                                                                                RICHMOND         MI     48062‐5529
FRANCIS R GAGLIONE                               2641 W CHURCH ST                                                                              EDEN             NY     14057‐1009
FRANCIS R HERZOG & JOYCE HERZOG JT TEN           41408 CIMARRON                                                                                CLINTON TOWNSHIP MI     48038‐1811

FRANCIS R JACKSON                              5979 NW 74TH ST                                                                                 PARKLAND          FL    33067‐2450
FRANCIS R LADNER JR                            37 POPLAR DRIVE                                                                                 HATTIESBURG       MS    39402‐9598
FRANCIS R LEWIS                                2123 REDWOOD STREET                                                                             BOOTHWYN          PA    19061‐3750
FRANCIS R LEWIS                                301‐5 SPRING ST                                                                                 RED BANK          NJ    07701‐2247
FRANCIS R MAY                                  40 ARBOR HILLS TRACE                                                                            TALKING ROCK      GA    30175‐6706
FRANCIS R MC NAMEE & DOROTHY C MC NAMEE JT TEN 7294 CHARLEMONT ROAD                                                                            GOODE             VA    24556‐2513

FRANCIS R MILLER                                 20595 BALTIMORE ORIOLE DR                                                                     BRISTOL           IN    46507‐8537
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FRANCIS R MOCK                                     605 NORTH PORTLAND ST                                                                          RIDGEVILLE       IN    47380‐1028
FRANCIS R NEDZA                                    48 FERRY STREET                                                                                SEWARREN         NJ    07077‐1416
FRANCIS R RAGAGLIA & ELAINE M RAGAGLIA JT TEN      18 DANIELLE AVENUE                                                                             WESTERLY         RI    02891‐1434

FRANCIS R SABO TR FRANCIS R SABO TRUST UA 06/11/03 2123 ANDERSON RD                                                                               CUYAHOGA FLS     OH    44221‐3615

FRANCIS R SCHMIDT                                  1334 MISSOURI AVE                                                                              SOUTH MILWAUKEE WI     53172‐1935

FRANCIS R SCHNEIDER & NANCY M SCHNEIDER JT TEN     817 SHADOW BLUFF DR                                                                            GALENA           IL    61036‐9090

FRANCIS R SKEHAN                                   1604 CORNELIUS AVE                                                                             WANTAGH          NY    11793‐2802
FRANCIS R SPAIN                                    515 E STATE ST                                                                                 EAST TAWAS       MI    48730‐1412
FRANCIS R ZDUNCZYK                                 2609 ISHA LAYE WAY                                                                             TOLEDO           OH    43606‐2729
FRANCIS ROBERT SCHWARTZ                            3718 KINGRIDGE DR                                                                              SAN MATEO        CA    94403‐4009
FRANCIS S ABE & MRS KATHLEEN K ABE JT TEN          PO BOX 7                                                                                       KEALAKEKUA       HI    96750‐0007
FRANCIS S ACKER & RENEE F ACKER JT TEN             915 W THOMAS L PKWY                                                                            LANSING          MI    48917‐2153
FRANCIS S BOTEK & MARGARET K BOTEK JT TEN          MAHONING TWP                          2370 MAHONING DR E                                       LEHIGHTON        PA    18235‐9723
FRANCIS S BROCKINGTON CUST MISS SANDRA JANE        3220 PROSPERITY AVE                                                                            FAIRFAX          VA    22031‐2822
BROCKINGTON UGMA SC
FRANCIS S BURDIS                                   591 HAMILTON RD                                                                                MOUNT MORRIS     MI    48458‐8908
FRANCIS S DELL                                     1 WELSH WAY                                                                                    PITTSBURGH       PA    15203‐1423
FRANCIS S HARVEY                                   65 BRIARWOOD CIR                      APT 401                                                  WORCESTER        MA    01606‐1247
FRANCIS S HERANDEZ                                 607 N GRANGER ST                                                                               SAGINAW          MI    48602‐4508
FRANCIS S KRAWCZAK                                 17175 WIGWAM PL                                                                                THREE RIVERS     MI    49093‐9014
FRANCIS S SPINE                                    10341 NEW QUAY RD                                                                              OCEAN CITY       MD    21842‐9763
FRANCIS S TOBIN                                    4625 SAWMILL ROAD                                                                              CLARENCE         NY    14031‐2228
FRANCIS S WAYNE                                    5001 SOUTH AVE                        LOT 82                                                   TOLEDO           OH    43615‐6447
FRANCIS SABO CUST JEFFREY A MC DERMOTT UGMA MI     14624 GARY LN                                                                                  LIVONIA          MI    48154‐5151

FRANCIS SAHAJ                                      1587 RAMAPO WAY                                                                                SCOTCH PLAINS    NJ    07076‐2315
FRANCIS SELESKY                                    18 NAVESINK DR                                                                                 MONMOUTH BCH     NJ    07750‐1134
FRANCIS SOLLITTO & CAROL SOLLITTO JT TEN           1100 EL PORTICO                                                                                SPRING HILL      FL    34608‐8444
FRANCIS T CRANE                                    PO BOX 1338                                                                                    EXTON            PA    19341‐0951
FRANCIS T CREAMER                                  901 FORWOOD COURT                                                                              BALTIMORE        MD    21222‐2864
FRANCIS T EDDY TR UA 12/29/2005 FRANCIS T EDDY     PO BOX 11993                                                                                   MARINA DL REY    CA    90295‐2993
REVOCABLE TRUST
FRANCIS T EDDY TR UW LILO F EDDY                   PO BOX 11993                                                                                   MARINA DL REY    CA    90295‐2993
FRANCIS T GUILFOYLE III                            1008 SPRINGVIEW DRIVE                                                                          FLUSHING         MI    48433‐1446
FRANCIS T HEALY                                    4216 WHITACRE                                                                                  FAIRFAX          VA    22032‐1258
FRANCIS T JANTZEN                                  126 PARTRIDGE LN                                                                               CONCORD          MA    01742‐2621
FRANCIS T JOYCE & MRS DONNA R JOYCE JT TEN         19 BRIANS WAY                                                                                  PRINCETON        NJ    08550‐1833
                                                                                                                                                  JUNTION
FRANCIS T KEEFE                                    93 DRUID HILL RD                                                                               SPRINGFIELD      MA    01129‐2106
FRANCIS T MASER                                    PO BOX 1133                                                                                    SOUTHERN PINES   NC    28388‐1133
FRANCIS T MEAGHER CUST STEPHANIE LEE MEAGHER       PO BOX 144                                                                                     ADAMSVILLE       RI    02801‐0144
UGMA PA
FRANCIS T O'CONNOR & ANNE O'CONNOR JT TEN          9 PARK ST                                                                                      ILION            NY    13357‐2233
FRANCIS T REDMOND                                  23811 GESSNER RD                                                                               NORTH OLMSTEAD   OH    44070‐1539

FRANCIS T RUMA                                     1940 LAS PALMAS LANE                  APT 172                                                  LAUGHLIN         NV    89029
FRANCIS T SLIVINSKI                                200 GEORGIAN TERRAC                                                                            SAGINAW          MI    48609
FRANCIS T STARRS                                   6232 LAKEVIEW PARK DR                                                                          LINDEN           MI    48451‐9099
FRANCIS TYLENDA & JANE TYLENDA JT TEN              2373 ANDRUS                                                                                    HAMTRAMCK        MI    48212‐3653
FRANCIS U MARQUEZ                                  10819 CHADSEY DRIVE                                                                            WHITTIER         CA    90604‐1320
FRANCIS V ANDREASIK & WILMA F ANDREASIK HIS WIFE   7306 BRIDGEWOOD DRIVE                                                                          BALTIMORE        MD    21224‐1913
TEN ENT
FRANCIS V CARBERRY & MARIE B CARBERRY JT TEN       10302 LAFOY RD                                                                                 BROOKSVILLE      FL    34608

FRANCIS V FASBENDER                                301 WELLMAN LINE                                                                               MELVIN           MI    48454‐9789
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Name                                             Address1                               Address2             Address3          Address4          City               State Zip

FRANCIS V FUNDARO                                1536 ROBINDALE                                                                                  DEARBORN           MI    48128‐1076
FRANCIS V HARP                                   4911 S ROAD 600 E                                                                               KOKOMO             IN    46902
FRANCIS V VITTORI                                240 WINTHROP ST                                                                                 FRAMINGHAM         MA    01702‐8530
FRANCIS VALENTINO & LINDA VALENTINO JT TEN       198‐12 ROMEO CT                                                                                 HOLLIS             NY    11423‐1309
FRANCIS W ALIOTO                                 1395 PORTOLA DRIVE                                                                              SAN FRANCISCO      CA    94127‐1509
FRANCIS W ARTHUR                                 611 OAK ST                                                                                      BICKNELL           IN    47512‐2409
FRANCIS W BARRY                                  412 BAXTER ST                                                                                   MEDINA             OH    44256‐2317
FRANCIS W BEAUREGARD                             51 HUNTERS ROAD                                                                                 NORWICH            CT    06360‐2001
FRANCIS W BLINSKY                                320 PERSHING ST                                                                                 COLUMBIANA         OH    44408‐1434
FRANCIS W BROTHERS                               454 COUNTY ROUTE 44                                                                             CHASE MILLS        NY    13621‐3112
FRANCIS W CARBONE                                215 NO MADISON AVE                                                                              CHERRY HILL        NJ    08002‐1069
FRANCIS W CHEATHAM TR UW CLYDE CHEATHAM FBO      PO BOX 127                                                                                      AVA                IL    62907‐0127
CHEATHAM FAMILY TRUST
FRANCIS W CROWL                                  217 S JACKSON                                                                                   BAY CITY           MI    48708‐7364
FRANCIS W GREENHECK                              29667 NORWAY AVE                                                                                KENDALL            WI    54638‐8561
FRANCIS W HUGHES & KAREN L HUGHES JT TEN         RT 1 BOX 77 E‐2                                                                                 BELINGTON          WV    26250‐9720
FRANCIS W HUNDLEY & EDNA M HUNDLEY JT TEN        14 CYRUS WAY                                                                                    BROCKPORT          NY    14420
FRANCIS W JACOBS                                 5409 BUCKNELL RD                                                                                BALTIMORE          MD    21206‐3853
FRANCIS W JENKINS JR                             BOX 488                                                                                         LIVELY             VA    22507‐0488
FRANCIS W KEYS                                   10282 SHERIDAN ROAD                                                                             MONTROSE           MI    48457‐9169
FRANCIS W LAWRENCE                               7932 W 107TH ST CIRCLE                                                                          BLOOMINGTON        MN    55438‐2223
FRANCIS W LAWRENCE & GWENDOLYN P LAWRENCE JT     7932 W 107TH ST CIR                                                                             BLOOMINGTON        MN    55438‐2223
TEN
FRANCIS W MATUSINEC & ROSE MARY MATUSINEC JT     1229 N JACKSON ST APT 101                                                                       MILWAUKEE          WI    53202
TEN
FRANCIS W MOREY                                  60 WEST BURNSIDE RD                                                                             FOSTORIA           MI    48435‐9644
FRANCIS W MORTON JR                              7999 HONEYSUCKLE LANE                                                                           WESTCHESTER        OH    45069
FRANCIS W MORTON JR & OKSANA A MORTON JT TEN     9280A BOCA GARDENS PKWY                                                                         BOCA RATON         FL    33496‐3767

FRANCIS W NECKEL                                 713 FOREST COURT                                                                                YPSILANTI          MI    48198
FRANCIS W OHEARN CUST NANCY OHEARN UGMA MA       2382 MANN AV                                                                                    UNION CITY         CA    94587

FRANCIS W OHEARN CUST THERESA OHEARN UGMA MA C/O ANTOLDI                                PSC 824 BOX 2670                                         FPO                AE    09623‐2011

FRANCIS W ORGANISCAK                             18849 ALEXANDER RD                                                                              WALTON HILLS       OH    44146‐5318
FRANCIS W RICHMOND                               900 MARKET ST                                                                                   MEADVILLE          PA    16335‐1413
FRANCIS W RODGERS & MRS SUZANNE H RODGERS JT     30 VAN WINKLE DR                                                                                RENSSELAER         NY    12144‐9733
TEN
FRANCIS W RYAN & GERALDINE C RYAN JT TEN         14 DARTMOUTH ST                                                                                 ROCKVILLE CENTRE   NY    11570‐2411

FRANCIS W SHELDON                                201 SWEETBRIAR RD                                                                               GREENVILLE         SC    29615‐1429
FRANCIS W VINCENT II                             8280 N MABLEY HILL RD                                                                           FENTON             MI    48430‐9453
FRANCIS W WILDER                                 PO BOX 5                                                                                        CONWAY             AR    72033‐0005
FRANCIS W WINGATE                                PO BOX 102                                                                                      CAMBY              IN    46113‐0102
FRANCIS WINFRED PORTER                           RR2 BOX 170                                                                                     WORTHINGTON        IN    47471‐9750
FRANCIS WRIGHT                                   236 FOREST HILL DR                                                                              FAIRFIELD GLADE    TN    38558‐2807
FRANCIS X BELL JR & SUZANNE H BELL JT TEN        75 GRANT DR                                                                                     HOLLAND            PA    18966
FRANCIS X BOUDREAUX                              106 MELROSE DR                                                                                  THIBODAUX          LA    70301
FRANCIS X CLINTON                                158‐15 83RD ST                                                                                  HOWARD BEACH       NY    11414‐2932
FRANCIS X CONNORS                                6019 SW 107TH ST                                                                                OCALA              FL    34476‐9456
FRANCIS X CONNORS JR                             22 WHITELAWN AVE                                                                                MILTON             MA    02186‐3515
FRANCIS X FLANAGAN & BARBARA F FLANAGAN JT TEN   11 CLEVELAND STREET                                                                             DEDHAM             MA    02026‐2504

FRANCIS X HENRY & ALICE C HENRY JT TEN           7966 BRADFORD LANE                                                                              DENVER           NC      28037‐8040
FRANCIS X MCMENEMY                               35 LAURIER ST                                                                                   WORCESTER        MA      01603‐1332
FRANCIS X MURRAY                                 69 LAKESIDE DR                                                                                  ROCKVILLE CENTRE NY      11570‐2309

FRANCIS X PAPA                                   6 POINT RD                                                                                      WARETOWN           NJ    08758‐2801
FRANCIS X PARKER                                 69 SHEFFIELD C                                                                                  WEST PALM BCH      FL    33417
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FRANCIS X PRIHODA                               29 WHITE PINE RD                                                                                                CHESTERFIELD    NJ    08022‐9716
FRANCIS X ROBB JR                               PO BOX 221                                                                                                      HELLERTOWN      PA    18055‐0271
FRANCIS X RUDDY & PATRICIA RUDDY JT TEN         135 WORTHINGTON RD                                                                                              WHITE PLAINS    NY    10607‐2314
FRANCIS Y KIHARA CUST KIMBERLY KIMI HARANO UGMA 634 PAPALANI ST                                                                                                 KAILUA          HI    96734‐3523
HI
FRANCISC MORAN                                  392 JORDON                                                                                                      PONTIAC         MI    48342‐1734
FRANCISCA CROMWELL                              400 DURANT ST                         APT 201                                                                   CHAPEL HILL     NC    27517‐7355
FRANCISCA G DELEON                              13478 BRACKEN ST                                                                                                ARLETA          CA    91331‐5707
FRANCISCA HERNANDEZ                             4426 BURKEY RD                                                                                                  YOUNGSTOWN      OH    44515‐3708
FRANCISCA RODRIQUEZ                             425 S MAIN ST                                                                                                   ADRIAN          MI    49221
FRANCISCAN MISSION ASSOCIATES                   BOX 598                                                                                                         MOUNT VERNON    NY    10550
FRANCISCO A BENITEZ                             3323 INDEPENDENCE LANE                                                                                          LANSING         MI    48911‐4417
FRANCISCO A LIRA                                2103W FLETCHER ST                                                                                               CHICAGO         IL    60618‐6401
FRANCISCO B LECHUGA                             15531 MCKEEVER ST                                                                                               MISSION HILLS   CA    91345‐1332
FRANCISCO BADILLO                               2425 FALLINGTREE DR                                                                                             SAN JOSE        CA    95131‐1950
FRANCISCO BETANZOS                              224 DEVON ST                                                                                                    KEARNY          NJ    07032‐2426
FRANCISCO C COLON                               6588 DEVEREAUX STREET                                                                                           DETROIT         MI    48210‐2313
FRANCISCO C GONZALEZ                            14316 SAYRE ST                                                                                                  SYLMAR          CA    91342‐4714
FRANCISCO C PEREZ                               10744 S AIRPORT WAY                                                                                             MANTECA         CA    95336‐8622
FRANCISCO C REYES                               3009 CANFIELD RD 8                                                                                              YOUNGSTOWN      OH    44511‐2838
FRANCISCO C RICO                                9789 PAULINE DR                                                                                                 CYPRESS         CA    90630‐4034
FRANCISCO C VILLARREAL                          2932 JACKSON ST                                                                                                 SAGINAW         MI    48604‐2320
FRANCISCO CERVANTES                             1741 SUNNYDALE                                                                                                  LANSING         MI    48917‐1447
FRANCISCO CORDOVA                               385 W COLUMBIA                                                                                                  PONTIAC         MI    48340‐1619
FRANCISCO D MANUEL                              238 CAROLINA ST                                                                                                 BOLINGBROOK     IL    60490
FRANCISCO D SABADO JR                           BOX 1126                                                                                                        MARTINSBURG     WV    25402‐1126
FRANCISCO DELVALLE                              13 POPLAR ST                          #1                                                                        MILFORD         MA    01757‐3350
FRANCISCO E FUENTES                             1007 S 11TH STREET                                                                                              LANTANA         FL    33462‐4425
FRANCISCO E HERRERA                             1356 KINKAID DR                                                                                                 OKLAHOMA CITY   OK    73119‐4018
FRANCISCO ECHEVERRIA                            COMPUTERSHARE                         LEGAL/COMPLIANCE/OFAC 3A   250 ROYALL ST            CANTON MA 2021 CUBA
FRANCISCO ENRIQUE LUEBBERT AVILA                VIVEROS DE XOCHIMILCO NO 14‐A         FRACC VIVEROS DE LA LOMA   54080 TLALNEPANTLA EDO   MEXICO
FRANCISCO F MANDILE & GERTRUDE MANDILE JT TEN   2766 ZENITH AVE N                                                                                               ROBBINSDALE     MN    55422‐5414

FRANCISCO FERNANDEZ                               762 51 ST                                                                                                     BROOKLYN        NY    11220‐2225
FRANCISCO G GARZA                                 1421 HARVEST LN                                                                                               TRACY           CA    95376‐4468
FRANCISCO G TORREZ                                9245 CHRISTY RD                                                                                               DEFIANCE        OH    43512‐9615
FRANCISCO GARCIA                                  4810 HUSTON DR                                                                                                ORION           MI    48359‐2132
FRANCISCO GIBOYEAUX                               27451 HAGEN ROAD                                                                                              CHESTERFIELD    MI    48051‐1151
FRANCISCO GOMEZ‐TERRON                            1501 SW 17TH TERRACE                                                                                          MIAMI           FL    33145‐2807
FRANCISCO GONZALEZ                                1081 N BRANTFORD STREET                                                                                       ANAHEIM         CA    92805‐1609
FRANCISCO GONZALEZ & SEENETHA GONZALEZ JT TEN     23 SPRING ST                                                                                                  CLIFTON         NJ    07011‐4207

FRANCISCO J ESPINOZA                              211 RIDGE VISTA                                                                                               SAN JOSE         CA   95127‐1951
FRANCISCO J ESTEVEZ                               204 N ELMHURST RD                                                                                             PROSPECT HEIGHTS IL   60070‐1503

FRANCISCO J HERNANDEZ                             1915 TIMBER RIDGE COURT                                                                                       CEDAR HILL      TX    75104‐7823
FRANCISCO J MARTINEZ                              11 BUTLER RIDGE CT                                                                                            ST PETERS       MO    63376‐2258
FRANCISCO J VARGAS                                4 NW 47TH STREET                                                                                              KANSAS          MO    64116‐1569
FRANCISCO JAVIER CARAM                            10 P BURGOS ST CITY PROPER          ILOILO CITY                                         5000 PHILIPPINES
FRANCISCO JAVIER GARCIA & ANTONIO GARCIA JT TEN   375 SUNSET AVE                                                                                                SUNNYVALE       CA    94086‐5946

FRANCISCO JOSE MARTINEZ ALVAREZ                   1300 ARMY NAVY DR APT 1017                                                                                    ARLINGTON       VA    22202‐2026
FRANCISCO L SALAS                                 11312 CECILIA ST                                                                                              NORWALK         CA    90650‐7658
FRANCISCO LAFUENTE                                6133 SANDY LANE                                                                                               BURTON          MI    48519‐1309
FRANCISCO LARA TRUJILLO                           OPEL ESPANA CARRETERA NACNL         232 KM 29 FIGUERUELAS      ZARAGOZA                 SPAIN
FRANCISCO LUGO                                    27130 FORD RD                                                                                                 DEARBORN HGTS   MI    48127‐2839
FRANCISCO MARRUFO                                 56 ALEXANDER AVE                                                                                              SAN JOSE        CA    95116‐1801
FRANCISCO MOJICA                                  22314 CAMILLE DR                                                                                              WOODHAVEN       MI    48183‐5238
FRANCISCO MOSSO                                   PASEO SAN JORGE 162 FRAC SAN        CARLOS METEPEC EDO DR                               MEXICO
                                                 09-50026-mg              Doc 7123-45   Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit E
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FRANCISCO MOSSO                                    GM DE MEXICO                         LAGO VICTORIA #74         11520 MEXICO D F           MEXICO
FRANCISCO MOSSO                                    PASEO SAN JORGE 162                  FRACC SAN CARLOS          METEPEC EDO DE MEX         MEXICO
FRANCISCO N SATKUNAS                               AV GOIAS                             1805‐SAO CAETANO DO SUL   SAN PAULO BRAZIL09         BRAZIL
FRANCISCO NOYOLA                                   5466 JESSALEE CIR                                                                                           EAST LAWS       MI    48823‐7224
FRANCISCO P MARTINDELCAMPO                         13967 DAVENTRY ST                                                                                           PACOIMA         CA    91331‐3513
FRANCISCO PEREZ                                    1929 BURROWS                                                                                                SAGINAW         MI    48602‐1773
FRANCISCO PINAL                                    1119 N EVERGREEN AVE                                                                                        LOS ANGELES     CA    90033‐2008
FRANCISCO R BLANCO                                 3741 NW FLAGLER TER                                                                                         MIAMI           FL    33126‐5761
FRANCISCO R GOMES                                  11 MEADOWBROOK DR                                                                                           HOWELL          NJ    07731‐2023
FRANCISCO R GUALDONI                               604 S MAIN ST APT 126                                                                                       LAPEER          MI    48446
FRANCISCO RAMOS                                    419 GOLF COURSE PKWY                                                                                        DAVINPORT       FL    33837‐5525
FRANCISCO REYES                                    508 MARSAC ST                                                                                               BAY CITY        MI    48708‐7782
FRANCISCO ROMERO                                   1746 CUMBERLAND DRIVE                                                                                       AURORA          IL    60504‐6028
FRANCISCO ROSADORO                                 RUTA #2 QTA FAVIMAR                  URB LA MORITA             SAN ANTONIO DE LOS ALTOS   VENEZUELA
                                                                                                                  MIRANDA
FRANCISCO ROSALES                                  4907 COLE                                                                                                   SAGINAW         MI    48601‐9363
FRANCISCO ROVIRA CALIMANO                          PO BOX 1110                          GUAYAMA                                              785 PUERTO RICO
FRANCISCO SALDANA                                  2800 E 127TH ST                                                                                             CHICAGO         IL    60633‐1114
FRANCISCO SOLIS                                    7150 INDIAN CREEK DRIVE APT 502                                                                             MIAMI           FL    33141‐3064
FRANCISCO TORRES                                   52 E CEDARWOOD DR                                                                                           SANDUSKY        OH    44870‐4401
FRANCISCO V DICHOZA                                1018 LAFAYETTE ST                                                                                           FLINT           MI    48503‐2855
FRANCISCO V PALACIOS                               307 E STREET P O BOX 515                                                                                    OLIVET          MI    49076‐0515
FRANCISCO V ROSADO                                 BOX 13                                                                                                      CRYSTAL SPRGS   FL    33524‐0013
FRANCISCO VALLE                                    1016 DAVENPORT                                                                                              SAGINAW         MI    48602‐5622
FRANCISCO VELEZ JR                                 90 ERASTINA PL                                                                                              STATEN ISLAND   NY    10303‐2416
FRANCISCO VERA                                     5671 BABBITT                                                                                                HASLETT         MI    48840‐8414
FRANCISCO ZAYAS                                    195 SUTTONS LN                                                                                              EDISON          NJ    08817‐3414
FRANCISZEK DZIKI                                   6701 ENGLEWOOD                                                                                              RAYTOWN         MO    64133‐6117
FRANCK‐ P LEFEBVRE                                 3 MAPLEGLEN CRT                      WHITBY QC                                            L1R 1T7 CANADA
FRANCO B CHECCOBELLI                               5500 CALHOUN APT 812                                                                                        DEARBORN        MI    48126
FRANCO CANDELISE                                   720 PEBBLE HILL LANE                                                                                        PRESCOTT        AZ    86303‐4541
FRANCO FURGIUELE                                   C/O ROSANNE R RAGO                   VIA LIVORNO 14            CATANIA                    95127 ITALY
FRANCO GAMERO‐ALVAREZ                              1403 SUNSET BLVD                                                                                            ROYAL OAK       MI    48067‐1069
FRANCO HERNANDE‐LOZAN                              1119 CLARK ST                                                                                               DETROIT         MI    48209‐3816
FRANCO J DIMARCO                                   63 MAPLE AVE                                                                                                TUCKAHOE        NY    10707‐1806
FRANCO OLIVA                                       101 TERRACE WAY                                                                                             ELIZABETH CTY   NC    27909‐8444
FRANCO S BAGGIO                                    4447 VILLA PARADISO                  WINDSOR ON                                           N9G 2L7 CANADA
FRANCO S GALLINARO & CHRISTEL I GALLINARO JT TEN   C/O CRYSTAL BOUTIQUES                78‐206 VARNER RD          SUITE B                                      PALM DESERT     CA    92211

FRANCOIS HAMZE M D PENSION TRUST DTD 08‐01‐74      79 NAVAHO AVE                                                                                               MANKATO         MN    56001‐4831

FRANCOIS L DE WOLF JR & DORIS B DE WOLF JT TEN     30 ACACIA ROAD                                                                                              BRISTOL         RI    02809‐1330

FRANCOIS NOENS                                     EUGEEN DE BOCKLAAN 3                 B2900 SCHOTEN                                        BELGIUM
FRANCOIS XAVIER GERICKE DHERIJNEN                  RUE DE MORIENSART 13                 B 1341 CEROUX                                        BELGIUM
FRANCOISE M AMADOR                                 1033 KARNES AV                                                                                              DEFIANCE        OH    43512‐3082
FRANCOISE PAQUAY DE PLATER & JEAN PAQUAY DE        PO BOX 1826                          11441 RIYADH                                         SAUDI ARABIA
PLATER JT TEN
FRANCSICO LLAMS                                    2329 STARLITE DR                                                                                            SAGINAW         MI    48603‐2546
FRANCYNE L WILLBY                                  17 LEONX RD                                                                                                 ATHENS          GA    30606‐3161
FRANELLA SIDEBOTTOM TOD ARLENE S BUSH SUBJECT      117 SOUTH DRIVE                                                                                             MIAMI SPRINGS   FL    33166‐5921
TO STA TOD RULES
FRANELLA SIDEBOTTOM TOD WENDY S TILLEY SUBJECT     117 SOUTH DRIVE                                                                                             MIAMI SPRINGS   FL    33166‐5921
TO STA TOD RULES
FRANI P KING                                       14 MALLOW ROAD                                                                                              EAST ROAKAWAY   NY    11518‐2222
FRANICS E SALB & LOIS RUTH SALB JT TEN             2602 WESTLEIGH DR E                                                                                         INDIANAPOLIS    IN    46268‐2038
FRANK A ALESSI & BERTHA M ALESSI JT TEN            32624 AVONDALE                                                                                              WESTLAND        MI    48186‐8902
FRANK A ALTER JR & MARIE N ALTER JT TEN            132 SOUTHAMPTON DRIVE                                                                                       GALLOWAY        NJ    08205‐6623
FRANK A ANDERSON                                   845 BOND AV                                                                                                 MARION          IN    46952‐2144
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FRANK A APOLLONI                                    15073 DERBY CIR                                                                              ROSEMOUNT        MN    55068‐5519
FRANK A ARATA & ANGELA E ARATA JT TEN               12304 TIDESWELL MILL COURT                                                                   WOODBRIDGE       VA    22192
FRANK A BAUER                                       PO BOX 618                                                                                   UNIONVILLE       NY    10988‐0618
FRANK A BELLAVIA                                    66 BLUE BIRCH                                                                                ROCHESTER        NY    14612‐6004
FRANK A BERENICS                                    111 WOOD ST                                                                                  NILES            OH    44446‐3055
FRANK A BERGER 3RD                                  6463 SCANLAN AVE                                                                             SAINT LOUIS      MO    63139‐2401
FRANK A BLUST & MRS MILDRED R BLUST JT TEN          1445 DUBONNET CT SW                                                                          FORT MYERS       FL    33919‐2711
FRANK A BOENZI & CYNTHIA M BOENZI JT TEN            10922 RALEIGHT ST                                                                            WESTCHESTER      IL    60154
FRANK A BORGIA                                      685 NORTHWAY DR NW                                                                           GRAND RAPIDS     MI    49544‐4550
FRANK A BOSSERT JR                                  1911 CAROLINA AVE                                                                            ORMOND BEACH     FL    32174‐7208
FRANK A BURNETT                                     3543 JESSUP RD                      APT 1A                                                   CINCINNATI       OH    45239‐6269
FRANK A BUTLER                                      4640 OLD PARK RD                                                                             N CHARLESTON     SC    29405‐4750
FRANK A CANNELL                                     7849 CASTLE ROCK N E                                                                         WARREN           OH    44484‐1410
FRANK A CARGIENE JR & FRANK A CARGIENE III JT TEN   224 W PIKE ST                                                                                CANONSBURG       PA    15317‐1163

FRANK A CATT                                        200 NORTH‐3737 WEST                                                                          KOKOMO           IN    46901‐2857
FRANK A CHISESI & MARILYN A CHISESI JT TEN          4629 N ORIOLE AVE                                                                            NORRIDGE         IL    60706
FRANK A CICH & RITA A CICH JT TEN                   3307 CHERRYWOOD ST                                                                           NORTON           OH    44203‐5235
FRANK A CIMPERMAN                                   13100 OLD PLEASANT VALLEY RD                                                                 MIDDLEBURG HTS   OH    44130‐5614

FRANK A CLARY                                       2603 PAGE DRIVE                                                                              BALTIMORE        MD    21222‐2322
FRANK A CORSON & FILAMINO CORSON JT TEN             304 E NEWARK AVE                                                                             WILDWOOD CREST   NJ    08260‐3423

FRANK A COULTER                                     202 WALTON FERRY RD                 APT 143                                                  HENDERSONVLLE    TN    37075‐3597
FRANK A CREDENDINO                                  12750 WESTWOOD LAKES BLVD                                                                    TAMPA            FL    33626‐2345
FRANK A CRINCOLI                                    604 2ND AVE                                                                                  ELIZABETH        NJ    07202‐3930
FRANK A CRIVELLO                                    4924 BONNIE RD                                                                               KETTERING        OH    45440‐2143
FRANK A DANIEL                                      42939 NIDO CT                                                                                FREMONT          CA    94539‐5237
FRANK A DAVENPORT JR                                40513 N MILL CREEK CT                                                                        ANTHEM           AZ    85086‐1881
FRANK A DECARO & LOUIS F DECARO JT TEN              24 CARRIE AVE                                                                                SAYVILLE         NY    11782‐3351
FRANK A DI IANNI                                    225 RIDGEWOOD DR                                                                             BOARDMAN         OH    44512‐2853
FRANK A DICENSO                                     177 BROOKSIDE DR                                                                             BUFFALO          NY    14220‐2801
FRANK A DICRISTOFARO                                21200 WEDGEWOOD DR                                                                           GROSSE POINTE    MI    48236‐1214
                                                                                                                                                 WOOD
FRANK A DIFAZIO III                                 214 OLD NORWALK RD                                                                           NEW CANAAN       CT    06840‐6426
FRANK A DUDEK JR                                    925 STINSON DR                                                                               SAGINAW          MI    48604‐2136
FRANK A DUKE SR                                     1170 ROSSFIELD ST                                                                            WHITE LAKE       MI    48386‐4388
FRANK A DWELLY                                      28 VIRGINIA RD                                                                               NATICK           MA    01760‐3202
FRANK A EMENS                                       847 MORGAN ROAD                                                                              NORTH CHILI      NY    14514‐9701
FRANK A EMENS & LILY C EMENS JT TEN                 847 MORGAN ROAD                                                                              NORTH CHILI      NY    14514‐9701
FRANK A FACCIOLO                                    832 NEWHALL ROAD                                                                             KENNETT SQUARE   PA    19348‐1334
FRANK A FARNSWORTH & NINALEE A FARNSWORTH JT        1512 WESTWOOD DRIVE                                                                          LEAVENWORTH      KS    66048‐6620
TEN
FRANK A FARRO JR                                    2725 DIVISION ST                                                                             PORT HURON       MI    48060‐4797
FRANK A FONTAINE                                    197 LASALLE ST                                                                               MANSFIELD        OH    44906‐2431
FRANK A FOURNIER JR                                 103 LEGEND HOLLOW                                                                            BOERNE           TX    78006
FRANK A FRAGALE                                     2302 VANDY DR                                                                                PALMYRA          NY    14522‐9527
FRANK A FURIAT                                      1217 WEISS                                                                                   SAGINAW          MI    48602‐5472
FRANK A GARCIA                                      11101 DEHAVEN AVE                                                                            PACOIMA          CA    91331‐1914
FRANK A GAUDES                                      33822 HWY 20                                                                                 EAST TROY        WI    53120‐9603
FRANK A GIGLIO                                      1615 M 72 W                                                                                  BARTON CITY      MI    48705‐9734
FRANK A GLOCKNER JR                                 31522 WEST ST                                                                                LAGUNA BEACH     CA    92651‐6917
FRANK A HAAS & SUSAN E HAAS JT TEN                  1399 AUWAIKU ST                                                                              KAILUA           HI    96734‐4106
FRANK A HARRIS                                      2016 PEABODY STREET                                                                          HYATTSVILLE      MD    20782‐1608
FRANK A HAYWOOD                                     3664 W HAMILTON ST                                                                           HARRISON         MI    48625‐9750
FRANK A HENDERSON                                   425 NEW YORK AVE                                                                             CLAIRTON         PA    15025‐2229
FRANK A HICKS                                       16211 BENTLER ST                                                                             DETROIT          MI    48219‐3842
FRANK A HODGES                                      20 LANDOVER LN                                                                               FOUR OAKS        NC    27524‐7731
FRANK A HUG                                         1820 HENDRICKS BLVD                                                                          FORT SMITH       AR    72903‐3414
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FRANK A JAGGER & MRS ELIZABETH L JAGGER JT TEN   201 77TH ST                                                                                VIRGINIA BEACH   VA    23451‐1918

FRANK A JONES                                  16132 HWY 51 N                                                                               HAZELHURST       MS    39083‐2019
FRANK A KAZMIRZAK                              3137 S HAMLIN                                                                                CHICAGO          IL    60623‐4940
FRANK A KEITH                                  HC 64 BOX 5209                                                                               TUSKAHOMA        OK    74574‐9647
FRANK A KLINE                                  4811 RIVERCREST DR                                                                           WATERFORD        MI    48328‐1035
FRANK A KLINE & ERNESTINE B KLINE JT TEN       4811 RIVERCREST DR                                                                           WATERFORD        MI    48328‐1035
FRANK A KOZLOWSKI                              90 SCOTT DRIVE                                                                               WAPP FALLS       NY    12590‐4831
FRANK A KRASZEWSKI & MRS HELEN A KRASZEWSKI JT 648 52ND ST                                                                                  BROOKLYN         NY    11220‐2810
TEN
FRANK A KREWET III                             12538 WINDMOOR PL                                                                            ST LOUIS         MO    63131‐3018
FRANK A KUHR                                   3162 STOLZENFELD                                                                             WARREN           MI    48091‐4558
FRANK A KUROWSKI                               2400 AVE A SW                                                                                WINTER HAVEN     FL    33880‐2437
FRANK A LA SALA                                19 OAKLYNN DR                                                                                COLUMBUS         NJ    08022‐9521
FRANK A LAFATA                                 18978 MARISADR                                                                               CLINTON TWP      MI    48038
FRANK A LAMIA                                  19321 BONKAY                                                                                 MOUNT CLEMENS    MI    48036‐2115
FRANK A LANDGRAFF                              PO BOX 8216                                                                                  GREENVILLE       SC    29604‐8216
FRANK A LEE                                    353 TURKEY PEN ROAD                                                                          CRAGFORD         AL    36255‐6273
FRANK A LEMERISE                               3728 SW 7TH AVE                                                                              CAPE CORAL       FL    33914‐5325
FRANK A LEVANDOWSKI                            401 N FAIRVIEW AVE                                                                           LANSING          MI    48912‐3111
FRANK A LINK                                   3207 STONYRIDGE DR                                                                           SANDUSKY         OH    44870‐5486
FRANK A LIS                                    RT 1                                                                                         KINGSTON         MI    48741‐9801
FRANK A LITTLEJOHN                             2683 N ALAMANDO RD                                                                           COLEMAN          MI    48618‐9732
FRANK A MAJEWSKI                               53371 CHESHIRE DR                                                                            SHELBY TWP       MI    48316‐2714
FRANK A MASH                                   10170 E OAK HILL RD                                                                          HOLLY            MI    48442‐8846
FRANK A MELLACE                                302 OLD MILL LANE                                                                            WILLINGTON       DE    19803‐4953
FRANK A MIETHE                                 410 LUCAS DR                                                                                 DANVILLE         IL    61832‐2249
FRANK A MIRTO JR                               103ARLINE DR                                                                                 WATERBURY        CT    06705‐3506
FRANK A MOLNAR & ALICE N MOLNAR TR MOLNAR FAM 56 NEPAS RD                                                                                   FAIRFIELD        CT    06825
LIVING TRUST UA 09/17/96
FRANK A MUSOLF & MARY F MUSOLF JT TEN          115 MICHELE                                                                                  HOT SPRINGS      AR    71913‐2838
FRANK A NASTASI                                16831 ORCHARD GARDENS DR                                                                     MACOMB           MI    48042‐1196
FRANK A NELSON JR                              34052 BLUE LANTERN ST                                                                        DANA POINT       CA    92629‐2501
FRANK A NEMETH                                 14964 COLLEGE                                                                                ALLEN PARK       MI    48101‐3041
FRANK A NIXON                                  9701 S 29 RD                                                                                 CADILLAC         MI    49601‐9313
FRANK A OKOLO                                  50176 TOTTENHAM COURT                                                                        CANTON           MI    48187‐1016
FRANK A PALLONE                                552 3RD ST                                                                                   NIAGARA FALLS    NY    14301‐1072
FRANK A PAWLICKI                               601 S MADISON                                                                                BAY CITY         MI    48708‐7254
FRANK A PEASON                                 65 OAK RIDGE RD                                                                              STRATFORD        CT    06614‐8906
FRANK A PETRICCIONE                            4862 FALLCREST CIRCLE                                                                        SARASOTA         FL    34233‐2212
FRANK A PIOTROWSKI JR                          5138 ELDORADO DR                                                                             BRIDGEPORT       MI    48722‐9529
FRANK A PISCITELLI JR                          12 UNIVERSITY PLACE                                                                          PARLIN           NJ    08859‐1019
FRANK A PROSACHIK                              30 N INDEPENDENCE BLVD                                                                       NEW CASTLE       DE    19720‐4457
FRANK A REICHARD                               107 LOUISE ROAD                                                                              NEW CASTLE       DE    19720‐1721
FRANK A RICE                                   PO BOX 2847                                                                                  CLEVELAND        TN    37320‐2847
FRANK A RICH                                   425 APPLETREE COURT                                                                          PAINESVILLE      OH    44077‐5297
FRANK A ROCA & MRS ANGELINE MARY ROCA JT TEN   1418 MARSH RD                                                                                WILMINGTON       DE    19803‐3545

FRANK A ROCHA                                    2431 LEDYARD                                                                               SAGINAW          MI    48601‐2462
FRANK A ROSSI                                    250 CHATHAM WAY APT 426           MAYFIED HEIGHTS                                          CLEVELAND        OH    44124
FRANK A ROZSA                                    8435 LEWIS RD                                                                              BIRCH RUN        MI    48415‐9611
FRANK A RUBIN & SARAH G RUBIN JT TEN             46 WILLIAMSBURG DR                                                                         ORANGE           CT    06477‐1230
FRANK A RUSSELL & MARY E RUSSELL JT TEN          PO BOX 331                                                                                 DEWITT           MI    48820‐0331
FRANK A SARCHIAPONE                              530 SHORE ACRES RD                                                                         ARNOLD           MD    21012‐1902
FRANK A SCATURRO & NANCY B SCATURRO JT TEN       251 MADIE AVE                                                                              SPOTSWOOD        NJ    08884‐1122
FRANK A SCHOENER JR                              646 SALEM AVENUE                                                                           FRANKLINVILLE    NJ    08322‐3336
FRANK A SEAMANS                                  PO BOX 2                                                                                   LEEDS            MA    01053‐0002
FRANK A SERAZIO                                  5247 KENDAL                                                                                DEARBORN         MI    48126‐3189
FRANK A SMITH JR                                 2476 TAYLOR RD                                                                             MARSHALL         TX    75672‐4067
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FRANK A SPEAR                                      10264 CHAMPIONS COURT                                                                           IJAMSVILLE        MD    21754‐9611
FRANK A STASKO                                     PO BOX 1044                                                                                     SOUTHGATE         MI    48195‐0044
FRANK A SULTANA                                    1577 RICHMOND                                                                                   LINCOLN PARK      MI    48146‐3543
FRANK A SWINGLE                                    412 BENT TREE LANE                                                                              INDPLS            IN    46260‐2350
FRANK A SWINGLE JR                                 4001 DRUID LN                                                                                   DALLAS            TX    75205‐1140
FRANK A SYKES                                      1571 WARDLOW E                                                                                  HIGHLAND          MI    48356‐2217
FRANK A TAKISH                                     7457 WICKLOW NORTH DR                                                                           DAVISON           MI    48423‐8390
FRANK A THOMPSON                                   1001 HACKBERRY CT                                                                               LIBERTY           MO    64068‐7782
FRANK A TODD                                       22833 GRACE HILL LANE                                                                           ATHENS            AL    35614‐3539
FRANK A TODISCO III                                313 MYRTLE AVE                                                                                  WESTFIELD         NJ    07090‐1517
FRANK A TRAYNOR JR                                 PO BOX 245                                                                                      MASPETH           NY    11378‐0245
FRANK A URSOMARSO                                  UNION PARK PONTIAC                 PENNSYLVANIA AVE & DU PONT ST                                WILM              DE    19805
FRANK A VANICH                                     472 MOORE AVE                                                                                   BUFFALO           NY    14223‐1757
FRANK A VANORMAN                                   11072 PODUNK AVE                                                                                GREENVILLE        MI    48838‐8346
FRANK A WORNER JR                                  6300 A1A SOUTH                     UNIT A9‐1D                                                   ST AUGUSTINE      FL    32080
FRANK A YUNGWIRTH                                  542 W WOODLYNN RD                                                                               BALTIMORE         MD    21221‐5246
FRANK A ZEGAR & ELIZABETH A ZEGAR TR UA 02/06/09   19 RED HILL RD                                                                                  WARREN            NJ    07059
ZEGAR LIVING TRUST
FRANK A ZUZIAK                                     9132 KNOLSON                                                                                    LIVONIA          MI     48150‐3343
FRANK ABNER                                        13700 VASSAR DRIVE                                                                              DETROIT          MI     48235‐1744
FRANK ABRUZZINO                                    14670 ZENITH DR                                                                                 NEWBURY          OH     44065‐9647
FRANK ADKINS                                       26835 PEMBROKE                                                                                  REDFORD          MI     48240‐1564
FRANK ADOLF SCHEIER                                18521 CRANBROOK                                                                                 CLINTON TOWNSHIP MI     48038‐2138

FRANK AIUTO & JOSEPHINE AIUTO JT TEN               33 MAXIMO CT                                                                                    DANVILLE          CA    94506‐6249
FRANK ALANIZ JR                                    PO BOX 1726                                                                                     SPRING HILL       TN    37174‐1726
FRANK ALBANO & MRS MADELINE ALBANO JT TEN          37 LONGFELLOW ST                                                                                HARTSDALE         NY    10530‐1356
FRANK ALBERT PERNA                                 3202 SWEETLEAF TER                                                                              MOUNT LAUREL      NJ    08054‐4945
FRANK ALBERT PRZEWOZNIK                            3551 S HEARTWOOD RD                                                                             AMELIA            OH    45102‐1785
FRANK ALEGRIA JR                                   1400 REFAGLO CANYON RD                                                                          GOLETA            OH    93117
FRANK ALEGRIA JR SUCCESSOR TR UW JOHN V ALEGRIA    1400 REFUGLO CANYON RD                                                                          GOLETA            CA    93117

FRANK ALFRED VAN DE PUTTE                       3440 GROVELAND ROAD                                                                                ORTONVILLE        MI    48462‐8426
FRANK ALFRED WEIR & DIANNE SELLERS WEIR TEN COM 1301 HILL ST                                                                                       BASTROP           TX    78602‐3008

FRANK ALLEN ESKRIDGE                               700 WEST MEMORIAL RD                                                                            OKLAHOMA CITY     OK    73114‐2012
FRANK ALLEN WILLIAMS                               PO BOX 3409                                                                                     HONOLULU          HI    96801‐3409
FRANK ALLISON BARNARD                              8720 COWPOKE RD                                                                                 CHEYENNE          WY    82009‐1236
FRANK ALVAREZ                                      3707 LONEWOOD CT                                                                                LAND O LAKES      FL    34638‐8055
FRANK AMEDEO                                       19 DUNDERAVE RD                                                                                 WHITE PLAINS      NY    10603‐3029
FRANK AMICH                                        5031 WEST 14TH ST                                                                               INDIANAPOLIS      IN    46224‐6503
FRANK ANDER                                        24 LAKEWOOD VLG                                                                                 MEDINA            NY    14103‐1846
FRANK ANDREW MALINOWSKI                            1571 W OGDEN AVE #2329                                                                          LA GRANGE PARK    IL    60526‐1760
FRANK ANDRUSCAVAGE                                 417 W MAPLE ST                                                                                  MAHANOY CITY      PA    17948‐2532
FRANK ANNESE JR                                    1401 SILVERTON ROAD                                                                             TOMS RIVER        NJ    08755‐2139
FRANK ANTHONY GOLWITZER                            25089 EAGLE PT                                                                                  HUDSON            IL    61748‐7505
FRANK ANTHONY NOBILETTI                            THREE FAIRWAY CLOSE                                                                             FOREST HILLS      NY    11375‐6082
FRANK ANTRIM MEARNS                                1933 WILLIS RD                                                                                  EL CAJON          CA    92020‐2248
FRANK ARCARO                                       6535 SE FEDERAL HWY                APT 102                                                      STUART            FL    34997‐8380
FRANK ARTHMIRE                                     21540 PALLISTER                                                                                 ST CLAIR SHORES   MI    48080‐1746
FRANK ARTHUR VERT                                  595 LIMERICK DR                                                                                 MERRITT IS        FL    32953‐8069
FRANK AZEVEDO JR                                   BOX 117                                                                                         CASMALIA          CA    93429‐0117
FRANK B BALOGH                                     338 ELIZABETH ST                                                                                EAST PITTSBUR     PA    15112‐1509
FRANK B BARBER                                     129 WILSON ST                                                                                   PARK FOREST       IL    60466‐1364
FRANK B BARNES                                     PO BOX 13426                                                                                    HAMILTON          OH    45013‐0426
FRANK B BARTON                                     4833 FOLDIER DR                                                                                 COLUMBUS          OH    43227
FRANK B BEAVERS                                    812 N 33RD ST ‐ APT 15                                                                          OMAHA             NE    68131
FRANK B BRADSHAW JR CUST FRANK B BRADSHAW III A    5751 BRIDGEBORO WAY                                                                             NORCROSS          GA    30092‐2493
MINOR U/THE LAWS OF GA
                                              09-50026-mg              Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
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FRANK B BRICE                                   43428 LAUREL GLEN CMN                                                                            FREMONT          CA    94539‐5799
FRANK B BUTCHER                                 4300 WESTFORD PL 13A                                                                             CANFIELD         OH    44406‐7010
FRANK B CHRIST & HELEN HARANO CHRIST JT TEN     11721 CORLISS AVE N                                                                              SEATTLE          WA    98133
FRANK B COONS 2ND                               C/O RUTH B COONS                     77 HIDDEN VALLEY DR                                         NEWARK           DE    19711‐7463
FRANK B CORY                                    2240 W HIGH ST                                                                                   LIMA             OH    45805
FRANK B GREEN                                   17741 PRAIRIE BAPTIST RD                                                                         NOBLESVILLE      IN    46060‐6995
FRANK B JUKE JR                                 129 SENECA PLACE                                                                                 LANCASTER        NY    14086‐1317
FRANK B LENOX & MARJORY A LEXON JTEN            1050 WATERFORD CT E                                                                              MCMURRAY         PA    15317‐5428
FRANK B MACPHERSON                              257 HEATH TERR                                                                                   BUFFALO          NY    14223‐2433
FRANK B MEHLENBACHER                            1 DORAL CT                                                                                       PITTSFORD        NY    14534‐4612
FRANK B METZLER                                 143 RIVERSIDE DR N                                                                               BRICK            NJ    08724‐1805
FRANK B MILLER                                  C/O L VICTORIA (TOLUCA)              PO BOX 9022                                                 WARREN           MI    48090‐9022
FRANK B PANIGAL                                 1105 GREEN ST                                                                                    JEANNETTE        PA    15644‐1446
FRANK B PARKER                                  8310 WATER ST                                                                                    SAINT LOUIS      MO    63111‐3863
FRANK B SCHAAF JR                               7785 REDBANK LANE                                                                                DAYTON           OH    45424‐2150
FRANK B SIMMONS                                 269 GENESEE PARK BLVD                                                                            ROCHESTER        NY    14619‐2305
FRANK B SLAVINSKI                               2700 PARKER BLVD                                                                                 TONAWANDA        NY    14150‐4528
FRANK B SOVIS                                   47890 RAVELLO CT                                                                                 NORTHVILLE       MI    48167‐9816
FRANK B SZEPESSY CUST TAYLOR ROSE MCHUGH‐       38 OTTOVILLE RD                                                                                  VALATIE          NY    12184‐3201
SZEPESSY UGMA NY
FRANK B TURK                                    710 E INDIANA AVE                                                                                EATON            IN    47338‐9530
FRANK B WAHL                                    8872 LADDIE LANE                                                                                 SAN DIEGO        CA    92123‐2234
FRANK BARI                                      44540 STANG ROAD                                                                                 ELYRIA           OH    44035‐1942
FRANK BARTLETT                                  8620 NW 13TH STREET                  LOT#325                                                     GAINESVILLE      FL    32653‐7969
FRANK BASALYGA & MRS FLORENCE BASALYGA JT TEN   940 EDELLA ROAD                                                                                  CLARKS SUMMIT    PA    18411‐1222

FRANK BASIAGO & MARYANN PARNELL JT TEN          7711 EAST ELIDA                                                                                  TUCSON            AZ   85715‐5008
FRANK BASIAGO & NORMAN JACKSON III JT TEN       7711 EAST ELIDA ST                                                                               TUCSON            AZ   85715‐5008
FRANK BASILE                                    6 PARK AVENUE                                                                                    OSSINING          NY   10562‐3606
FRANK BASTARDO JR                               3010 SCHOOL ROAD                                                                                 SAN JUAN BAUTISTA CA   95045‐9647

FRANK BASTECKI                                  12611 WOODBINE DRIVE                                                                             BAYONET POINT    FL    34667‐2591
FRANK BAULDING                                  PO BOX 819                                                                                       ROCKMART         GA    30153‐0819
FRANK BELE CUST FRANKIE BELE UTMA NY            3 NORTH SHENOROCK DRIVE                                                                          YORKTOWN         NY    10598‐6448
                                                                                                                                                 HEIGHTS
FRANK BELOSEVIC                                 4288 ST FRANCIS DR                                                                               HAMBURG          NY    14075‐1725
FRANK BENCA                                     945 PEBBLEBROOK LN                                                                               EAST LANSING     MI    48823‐6402
FRANK BENCA & MARY S BENCA JT TEN               945 PEBBLEBROOK LN                                                                               EAST LANSING     MI    48823‐6402
FRANK BENEDETTINI & ANNA BENEDETTINI JT TEN     52 S 13TH AVE                                                                                    MONT VERNON      NY    10550‐2806
FRANK BENION                                    C/O LUGENIA BENION                   263 S PADDOCK                                               PONTIAC          MI    48342‐3137
FRANK BERGER & MAGDA BERGER JT TEN              308 SUNRISE HWY                                                                                  ROCKVILLE CENTRE NY    11570‐4906

FRANK BERNA                                     12 JUDY CT                                                                                       OLD BRIDGE       NJ    08857‐1666
FRANK BERRIS                                    PO BOX 247                                                                                       SPARTA           MI    49345‐0247
FRANK BESTIDER                                  1‐B SPRAY TERR                                                                                   LINDEN           NJ    07036‐6618
FRANK BIANE                                     1374 PONTIAC AVE                                                                                 CLOVIS           CA    93612‐5830
FRANK BLANCO                                    VIA G GAUDIO L                       87073 ORIOLO PROV COSENZA               ITALY
FRANK BOSSO                                     333 HIGH ST EXT                                                                                  FAIRPORT         NY    14450‐9608
FRANK BOTTIAUX                                  10333 1ST WAY N                                                                                  ST PETERSBURG    FL    33716‐4720
FRANK BOVA & FLORENCE BOVA JT TEN               1123 ELM ST                                                                                      SCRANTON         PA    18504‐2138
FRANK BRANCHICK                                 1606 COHASSETT ST                                                                                LAKEWOOD         OH    44107‐4906
FRANK BRIAN MORGAN                              205 SIERRA DR                                                                                    CHAPEL HILL      NC    27514
FRANK BRODY                                     118 PROSSER DR                                                                                   MONONGAHELA      PA    15063‐1136
FRANK BROMBERG & ALICE BROMBERG JT TEN          40 OWATONNA ST                                                                                   HAWORTH          NJ    07641‐1811
FRANK BROSKY                                    14816 WINDEMERE                                                                                  SOUTHGATE        MI    48195‐3711
FRANK BROWN                                     12104 LIHOU CT                                                                                   FT WASHINGTON    MD    20744‐6027
FRANK BROWN                                     524 W GREENDALE                                                                                  DETROIT          MI    48203‐4515
FRANK BURNS & LINDA BURNS JT TEN                20245 N RIVERHILL DR                                                                             CLINTON TOWNSHIP MI    48036‐1865
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FRANK BURRELL                                    7420 SECOND STREET                                                                                         HOLLAND          OH    43528‐9504
FRANK BURRELL JR                                 14171 WHITCOMB ST                                                                                          DETROIT          MI    48227‐2126
FRANK BURTON ARFORD                              1308 MARGATE COURT                                                                                         NAPERVILLE       IL    60540‐8335
FRANK BUSH TR FRANKLIN A BUSH REVOCABLE LIVING   325 S EAGLE GLEN TRL                                                                                       COLUMBIA CITY    IN    46725‐7534
TRUST UA 3/27/96
FRANK BYRNE CUST SHANE HANAHAN UTMA RI           8 BARN DR                                                                                                  CUMBERLAND       RI    02864‐4106
FRANK C ALTOMARI                                 3524 WATSON CT                                                                                             LORAIN           OH    44053‐2247
FRANK C BAKER                                    305 42ND ST                                                                                                SANDUSKY         OH    44870‐4921
FRANK C BALLOU CUST CHARLES A BALLOU UTMA FL     2395 LA COURT LN                                                                                           MALABAR          FL    32950‐3542

FRANK C BALLOU CUST CYNTHIA E BALLOU UTMA FL     2395 LA CT LN                                                                                              MALABAR          FL    32950‐3542

FRANK C BLOUNT & WILMA M BLOUNT JT TEN           5764 NW 146TH AVE                                                                                          PORTLAND         OR    97229‐9265
FRANK C BRINK                                    6103 TROTT RD                                                                                              BELTON           MO    64012‐8961
FRANK C BUSUTTIL                                 5751 BOOTH RD                                                                                              CHINA TWP        MI    48054‐4514
FRANK C CALIGIURI JR                             22 KRAKOW STREET                                                                                           BUFFALO          NY    14218‐2310
FRANK C CZERNY & MRS ELSIE M CZERNY JT TEN       10121 FLORENCE COURT                                                                                       RIVER RIDGE      LA    70123‐1519
FRANK C DE FREZE                                 99 TIMBER SWAMP RD                                                                                         HAMPTON          NH    03842‐1708
FRANK C DEVINE                                   1706 OAK ROYAL                                                                                             KATY             TX    77450‐5043
FRANK C DURHAM & SUSAN B DURHAM JT TEN           70 HAYDEN ROAD                                                                                             HOLLIS           NH    03049‐6289
FRANK C FANELLO                                  4747 BAER ROAD                                                                                             MARION           OH    43302‐9309
FRANK C GREGO                                    106 CRIMSON WOODS CT                                                                                       ROCHESTER        NY    14626‐4700
FRANK C GREGO & MARIA L GREGO JT TEN             106 CRIMSON WOODS CT                                                                                       ROCHESTER        NY    14626‐4700
FRANK C GRYSKA                                   14139 DAY STAR                                                                                             SAN ANTONIO      TX    78248‐1124
FRANK C GYORKOS                                  C/O SUSAN ASARO                      10239 TRAILS END CIRCLE                                               SAN DIEGO        CA    92126‐3517
FRANK C HAROLD                                   46805 US HIGHWAY 20                                                                                        OBERLIN          OH    44074‐9476
FRANK C HOSTNIK JR & JOYCE V HOSTNIK JT TEN      11435 GARBOR                                                                                               WARREN           MI    48093‐4488
FRANK C INZALACO                                 188 TAHANTO ROAD                                                                                           POCASSET         MA    02559‐1730
FRANK C JANDA CUST ELIZABETH A JANDA UTMA IL     1237 BURR OAK                                                                                              LAKE FOREST      IL    60045‐1212

FRANK C JOHNSON                                 5020 SAGE LN                                                                                                SAGINAW          MI    48603‐4431
FRANK C KENDALL                                 SITE 4 BOX 2 RR 3                     LACOMBE AB                                          T4L 2N3 CANADA
FRANK C KESTLER                                 109 N 6TH ST                                                                                                CHATSWORTH       IL    60921‐9103
FRANK C KRAMARCZYK                              952 HAWKSMOORE DRIVE                                                                                        CLARKSTON        MI    48348‐3684
FRANK C KUCZYNSKI                               4 QUEEN AVE                                                                                                 NEW CASTLE       DE    19720‐2031
FRANK C LANG                                    8                                     11150 N WILLIAMS ST STE 108                                           DUNNELLON        FL    34432‐8364
FRANK C LEACH JR                                42 KEYES HOUSE RD                                                                                           SHREWSBURY       MA    01545‐1615
FRANK C LEVENICK                                6862 FOX LANE                                                                                               WATERFORD        MI    48327‐3504
FRANK C LITTLE                                  700 N 37TH ST                                                                                               E ST LOUIS       IL    62205‐2104
FRANK C LYNCH                                   7034 LILLIAN                                                                                                NORTHWOODS       MO    63121‐3024
FRANK C MARTINEZ                                36096 BETTENCOURT ST                                                                                        NEWARK           CA    94560‐1506
FRANK C MCFARLAND                               3571 ARPENT ST                                                                                              SAINT CHARLES    MO    63301‐8075
FRANK C MCKIAN & GENEVIEVE A MCKIAN JT TEN      757 GARFIELD NW                                                                                             GRAND RAPIDS     MI    49504‐4089
FRANK C MELSHEIMER                              749 ZEISS AVE                                                                                               LEMAY            MO    63125‐1453
FRANK C MILLER                                  328 CARMELL DR                                                                                              UPPER ST CLAIR   PA    15241‐1753
FRANK C MOSER                                   1131 PORT DIANE DR                                                                                          CREVE COEUR      MO    63146‐5633
FRANK C NIEMAN & DOROTHY L NIEMAN JT TEN        1501‐C TOPP LANE                                                                                            GLENVIEW         IL    60025‐2179
FRANK C NYE CUST JUSTIN C NYE UTMA PA           FRANK C NYE CUST JUSTIN C NYE UTMA    PA                            2681 RITNER HIGHWAY                     CARLISLE         PA    17015‐9432
FRANK C NYE CUST LAUREN C NYE UTMA PA           FRANK C NYE CUST LAUREN C NYE UTMA    PA                            2681 RITNER HIGHWAY                     CARLISLE         PA    17015‐9432
FRANK C OWSIAK                                  6154 LAKEVIEW PK DR                                                                                         LINDEN           MI    48451‐9098
FRANK C PEARSON JR & LOUISE P PEARSON JT TEN    1056 SIMS ST                                                                                                DICKINSON        ND    58601‐3942
FRANK C PIERCE                                  48228 DEQUINDRE                                                                                             UTICA            MI    48317‐2707
FRANK C ROBBINS                                 5290 WESTVIEW                                                                                               CLARKSTON        MI    48346‐4132
FRANK C ROGERS & RUTA V ROGERS TR ROGERS FAMILY 9291 BAYBERRY BEND UNIT 203                                                                                 FORT MYERS       FL    33908‐6604
TRUST UA 4/25/03
FRANK C RUSS                                    1764 BLOOMINGDALE                                                                                           GLENDALE HTS     IL    60139‐2142
FRANK C SALK                                    PO BOX 714                                                                                                  CLARKSTON        MI    48347‐0714
FRANK C SCHALAU                                 6967 DEAR RUN TRAIL                                                                                         GAYLORD          MI    49735
FRANK C SCHMIDT                                 1504 SOUTH ERIE                                                                                             BAY CITY         MI    48706‐5283
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FRANK C SCHMIDT JR & ALICE L SCHMIDT JT TEN     21624 WOODBURY                                                                                 CLINTON TOWNSHIP MI     48035‐1759

FRANK C SPIGNER JR                              1959 FRUITWOOD AVE                                                                             CHARLESTON        SC    29414‐6222
FRANK C SZCZOTKA                                1223 NE 6 ST                                                                                   GRAND RAPIDS      MN    55744‐3205
FRANK C TESTER                                  151 RAINBOLT ST #1                                                                             BUTLER            TN    37640‐8009
FRANK C URBANCIC                                8856 ELLINGTON DR                                                                              INDIANAPOLIS      IN    46234‐2221
FRANK C VICE                                    1730 MOREY AVE                                                                                 HAMILTON          OH    45011‐1844
FRANK C WATKINS                                 20104 MARY ELLA ST                                                                             TANNER            AL    35671‐3631
FRANK C WHITTINGTON                             1987 CEDAR LANE RD                                                                             MIDDLETOWN        DE    19709
FRANK C WILD                                    11473 FLINT LANE                                                                               BOKEELIA          FL    33922‐3011
FRANK C WOENKER & MRS JANET S WOENKER JT TEN    16108 BALLANTYNE TRL                                                                           HUNTERTOWN        IN    46748‐9130

FRANK C ZONE                                    4598 SHEFFIELD DR                                                                              AUSTINTOWN        OH    44515‐5354
FRANK C ZSALAKO                                 37249 BENNETT                                                                                  LIVONIA           MI    48152‐5101
FRANK C ZSALAKO & DOROTHY E ZSALAKO JT TEN      37249 BENNETT                                                                                  LIVONIA           MI    48152‐5101
FRANK CACCAVALE & MRS MARCELLA CACCAVALE JT     6553 N TROY ST                                                                                 CHICAGO           IL    60645‐4118
TEN
FRANK CAFASSO                                   49 ENDOR AVE                                                                                   STATEN ISLAND     NY    10301‐4609
FRANK CALAPA & ANTOINETTE CALAPA JT TEN         14409 WHEELER                                                                                  MAPLE HTS         OH    44137‐4032
FRANK CALSBEEK & ULA KAY CALSBEEK JT TEN        2020 BURTON KNOLL CT SE                                                                        GRAND RAPIDS      MI    49546‐8261
FRANK CAMPANELLA                                58 TALLMADGE TRAIL                                                                             MILLER PLACE      NY    11764‐2326
FRANK CAPALBO                                   183 NOTT STREET                                                                                WETHERSFIELD      CT    06109‐1719
FRANK CAPPELLUTI & OTTAVIA DECANDIA JT TEN      770 ANDERSON AVE                     APT 9A                                                    CLIFFSIDE PK      NJ    07010
FRANK CARL FORTIN & REBECCA L FORTIN JT TEN     100 TULLY RD                                                                                   ORANGE            MA    01364‐9679
FRANK CASTILLO                                  1207 ADAMS ST                                                                                  SAGINAW           MI    48602‐2335
FRANK CERRA                                     112 CARNOUSTIE CT                                                                              SUMMERVILLE       SC    29483‐5058
FRANK CHAIKEN CUST BENJAMIN FEDOR CHAIKEN       6455 GRAND VISTA AVE                                                                           CINCINNATI        OH    45213‐1117
UTMA OH
FRANK CHAYAN & ELLEN A CHAYAN JT TEN            5130 CRITTENDEN RD                                                                             AKRON             NY    14001‐9597
FRANK CHERRY & SAMMIE CHERRY TEN COM            206 BLUFF TER                                                                                  SILVER SPRING     MD    20902‐3104
FRANK CHERUBINI                                 2161 GRISEMORE RD                                                                              CLYMER            PA    15728‐8913
FRANK CHIARAPPA                                 10346 HEMLOCK STREET                                                                           SPRING HILL       FL    34608
FRANK CIAMPA JR                                 8 LINDA LN                                                                                     NAHANT            MA    01908‐1009
FRANK CIARDULLO                                 3017 RIVERDALE AVE                                                                             NEW YORK          NY    10463‐3607
FRANK CIESNIEWSKI                               1218 DENISE                                                                                    WESTLAND          MI    48185‐4814
FRANK CIRAVOLO                                  C/O DIANE S FRAZIER‐CIRAVOLO         307 HAMPTON PLACE                                         BLUFFTON          SC    29910‐5057
FRANK CLARY                                     2603 PAGE DRIVE                                                                                BALTIMORE         MD    21222‐2322
FRANK COLETTI                                   1826 COES POST RU                                                                              WESTLAKE          OH    44145‐2019
FRANK CORNISH                                   4422 5 21ST ST                                                                                 OMAHA             NE    68107‐2033
FRANK CORRIDORE                                 55444 WOODY LANE                                                                               SO LYON           MI    48178‐9716
FRANK COWAN                                     6411 S SEELEY AVE                                                                              CHICAGO           IL    60636‐2511
FRANK COX & NETTIE COX JT TEN                   2028 HERITAGE DR                                                                               SANDUSKY          OH    44870‐5157
FRANK COX CUST NATALIE CERVENIAK UTMA OH        2028 HERITAGE DR                                                                               SANDUSKY          OH    44870‐5157
FRANK COX CUST ZETTA COX UTMA OH                2028 HERITAGE DR                                                                               SANDUSKY          OH    44870‐5157
FRANK CRANE JR                                  3230 COMFORT RD                                                                                NEW HOPE          PA    18938‐5624
FRANK CRAWFORD                                  426 BARRON LN                                                                                  SAINT LOUIS       MO    63119‐1522
FRANK CRAWFORD JR                               5179 STEVENS ROAD                                                                              CLARKSTON         MI    48346‐4155
FRANK CRIMALDO                                  14659 LOYOLA ST                                                                                MOORPARK          CA    93021‐2558
FRANK CRISALLI JR                               104 LYNCOURT DR                                                                                SYRACUSE          NY    13208‐3223
FRANK CROSBY                                    17355 CHERRYLAWN                                                                               DETROIT           MI    48221‐2568
FRANK CSAPO                                     48648 SOUTHWAY DRIVE                                                                           MACOMB            MI    48044‐2244
FRANK CSISZAR JR                                25222 ANNA                                                                                     TAYLOR            MI    48180‐3242
FRANK CUCCHIARA                                 49702 SANDRA DR                                                                                SHELBY TOWNSHIP   MI    48315‐3539

FRANK CURTIS                                    2405 W 22ND ST                                                                                 ANDERSON          IN    46016‐3621
FRANK CUSENZA                                   643 CLAY ST                                                                                    CLIO              MI    48420‐1467
FRANK CWIK JR                                   8634 S KILBOURN AVE                                                                            CHICAGO           IL    60652‐3515
FRANK CZOCHANSKI                                1220 PATRICIA DR                                                                               PAPILLION         NE    68046‐4759
FRANK D ADAMS                                   12393 NEW HOPE                       WHITE OAK STATION RD                                      GEORGETOWN        OH    45121
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FRANK D ADAMS & SHIRLEY J ADAMS JT TEN             12393 NEW HOPE                      WHITE OAK STATION RD                                      GEORGETOWN         OH    45121
FRANK D AKERLEY                                    204 HELMWOOD CIRCLE                                                                           MOUNT              KY    40047‐6792
                                                                                                                                                 WASHINGTON
FRANK D ANDREA                                     351 S LINDEN CT                     #1                                                        WARREN             OH    44484‐6031
FRANK D BEARDSLEE                                  1105 S FRANKLIN AVE                                                                           FLINT              MI    48503‐2819
FRANK D BLOCK                                      1657 CATTAIL TRL                                                                              MILFORD            MI    48380‐3342
FRANK D CARLSON                                    3198 COTTAGE RD                                                                               RHINELANDER        WI    54501‐8547
FRANK D CELEBREZZE                                 7451 OLD QUARRY LANE                                                                          BRECKSVILLE        OH    44141‐1557
FRANK D CLEMENTE                                   214 AZALEA CRT                                                                                TOMS RIVER         NJ    08753
FRANK D CONTRERAZ                                  20761 SATINWOOD DR                                                                            SAUGUS             CA    91350‐1952
FRANK D D UVA                                      41644 CHATTMAN ST                                                                             NOVI               MI    48375‐4223
FRANK D EATON & VIRGINIA EATON JT TEN              4105 SADDLE WOOD TR SE                                                                        RIO RANCHO         NM    87124‐8202
FRANK D ENGLUND                                    1940 HARBOR LANE                                                                              NAPLES             FL    34104‐4216
FRANK D GARRIQUES & MRS DOROTHY J GARRIQUES        500 DEERHORN COURT                                                                            MILLERSVILLE       MD    21108‐1885
TEN ENT
FRANK D HALSTED                                    1020 E MAPLE RAPIDS ROAD                                                                      SAINT JOHNS        MI    48879‐8421
FRANK D HEYBOER & IRIS J HEYBOER JT TEN            1018 WESTMOOR N W                                                                             GRAND RAPIDS       MI    49504‐3855
FRANK D HOLLON                                     453 W SHORE DR                                                                                LUCAS              OH    44843‐9601
FRANK D KLARICH                                    343 VIEW RIDGE DR                                                                             EVERETT            WA    98203‐2020
FRANK D LOUTZENHISER & SHIRLEY A LOUTZENHISER JT   7630 ORANGE TREE LN                                                                           ORLANDO            FL    32819‐4618
TEN
FRANK D LOZITO & NANCY T ROSENBURG JT TEN          6508 STALLION RD                                                                              CLIFTON            VA    20124‐1428
FRANK D MC DERMOTT                                 14040 ELMSTEAD RD                                                                             MIDLOTHIAN         VA    23113‐4158
FRANK D MITTE                                      SO MAIN ST                                                                                    TERRYVILLE         CT    06786
FRANK D NAPOLITANO                                 9285 HUNTER PINES                                                                             BRIGHTON           MI    48114‐4937
FRANK D POWELL JR                                  9095 SW 104TH PL                                                                              OCALA              FL    34481‐9444
FRANK D RETTON                                     1176 MAYFAIR DRIVE                                                                            MANSFIELD          OH    44905‐1645
FRANK D ROAT & MARY F ROAT JT TEN                  10146 HOGAN RD                                                                                SWARTZ CREEK       MI    48473‐9119
FRANK D ROBERTS                                    6882 DEVONSHIRE DR                                                                            CANTON             MI    48187‐2613
FRANK D ROCHOW                                     4678 BEVERLY LN                                                                               BAY CITY           MI    48706‐2601
FRANK D RUGIENIUS                                  820 ALENE RD                                                                                  AMBLER             PA    19002‐2605
FRANK D SARGENT                                    303 SEMINOLE ST                                                                               HOLLY              MI    48442‐1358
FRANK D SHIMER                                     1117 MANOR ROAD                                                                               COATESVILLE        PA    19320‐1308
FRANK D SHORTINO                                   37054 MAAS DRIVE                                                                              STERLING HEIGHTS   MI    48312‐1938

FRANK D SLAGELL                                    ROUTE 2                                                                                       ITHACA             MI    48847‐9802
FRANK D SOTTA                                      IM WALTER 14                        D‐55294 BODENHEIM                       GERMANY
FRANK D SPINNEY                                    1285 CLUBHOUSE DR                                                                             ROCKLEDGE          FL    32955
FRANK D SPRAGENS                                   470 N SPALDING AVE                                                                            LEBANON            KY    40033‐1523
FRANK D SPRINKLE                                   237 LAKEVIEW DR                                                                               FAIRFIELD GLADE    TN    38558‐7048
FRANK D TAYLOR                                     54878 CARVIN SCHOOL ROAD                                                                      CUMBERLAND         OH    43732‐9785
FRANK D THOMPSON                                   8061 MC CANDLISH                                                                              GRAND BLANC        MI    48439‐7411
FRANK D THOMPSON II                                212 E 47TH ST                       APT 34B                                                   NEW YORK           NY    10017‐2121
FRANK D TOLONE                                     1171 COLLAR PRICE                                                                             HUBBARD            OH    44425‐2912
FRANK D TOMCALA JR                                 1321 E HIBBARD RD                                                                             OWOSSO             MI    48867‐9708
FRANK D UMBRINO                                    178 SANNITA DR                                                                                ROCHESTER          NY    14626‐3614
FRANK D ZABOTSKY                                   4491 PRICETOWN RD                                                                             BERLIN TWNSP       OH    44401‐8701
FRANK D'AMICO                                      43505 INTERVAL ST                                                                             SOUTH RIDING       VA    20152‐2556
FRANK DAMIANI                                      4029 HARPER AVE                                                                               BRONX              NY    10466‐2403
FRANK DANIELS                                      414 EAST LOOK                                                                                 SALINE             MI    48176‐1511
FRANK DAVIS                                        19203 MONICA                                                                                  DETROIT            MI    48221‐1705
FRANK DAVIS                                        11130 E OUTER DRIVE                                                                           DETROIT            MI    48224‐3061
FRANK DAVIS                                        1226 JEFFERY DRIVE                                                                            PORT ORANGE        FL    32119‐7430
FRANK DAVIS                                        911 S MAYFIELD AVE                                                                            CHICAGO            IL    60644‐5351
FRANK DAVIS                                        20130 STRATHMOOR                                                                              DETROIT            MI    48235‐1649
FRANK DE FRANCO                                    VIA GRASSI 23/25                    S G LA PUNTA           CATANIA SICILY   95037 ITALY
FRANK DE LORETO                                    429 FOOTE RD                                                                                  S GLASTONBURY      CT    06073‐3406
FRANK DELLA VALLE                                  1104 ILLINOIS AVE                                                                             MCDONALD           OH    44437‐1638
FRANK DELVECCHIO                                   38 JEROME AVE                                                                                 BELLEVILLE         NJ    07109‐1657
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FRANK DIGANGI CUST HANNAH G DIGANGI UTMA NJ       1 KAW AVENUE                                                                                      ROCKAWAY        NJ    07866‐1952

FRANK DIPASQUALE                                  8 BRIGHT STREET                                                                                   LOCKPORT        NY    14094‐4104
FRANK DODARO & MRS PATRICIA H DODARO JT TEN       2814 COOPER CT                                                                                    WOODRIDGE       IL    60517‐1948

FRANK DOHERTY                                     BOX 5003                                WESTLOCK AB                             T7P 2P4 CANADA
FRANK DORTCH                                      1621 N 22ND ST                                                                                    RICHMOND        VA    23223‐4429
FRANK DOUGLAS                                     865 MICHIGAN AVE                        APT 106                                                   BUFFALO         NY    14203‐1246
FRANK DOYLE & MARIA DOYLE JT TEN                  20 HIGH GATE DR                                                                                   SMITHTOWN       NY    11787‐1500
FRANK DRAUS & MARIE DRAUS JT TEN                  9826 MONTOUR ST                                                                                   PHILA           PA    19115‐2209
FRANK DUDA                                        1230 LINN DR                                                                                      BELLE VERNON    PA    15012‐2449
FRANK DUDINSKI                                    114 AL WA DA CIR                                                                                  GREENTOWN       PA    18426‐5056
FRANK DUNKUS JR                                   2505 KIPLING DR                                                                                   SPRINGFIELD     IL    62711‐7246
FRANK DUQUET                                      11436 CLOVIS POINT DR                                                                             SOUTHLYON       MI    48178
FRANK DURAN JR                                    28334 PINECREST DR                                                                                WRIGHT CITY     MO    63390‐3541
FRANK E ANDERSON & JOAN C ANDERSON TEN COM        1774 KINGLET CT                                                                                   COSTA MESA      CA    92626‐4838

FRANK E BAKER                                   212 COUNTY RD 465                                                                                   POPLAR BLUFF    MO    63901‐2884
FRANK E BALOGH                                  2850 E RAHN RD                                                                                      DAYTON          OH    45440
FRANK E BARTOS                                  6332 W VIENNA RD                                                                                    CLIO            MI    48420‐9456
FRANK E BATTOCLETTI & MARTHA H BATTOCLETTI JT   405 WYNDHAM PK S                                                                                    WESTERVILLE     OH    43082‐8459
TEN
FRANK E BELL                                    PO BOX 95073                                                                                        OKLAHOMA CITY   OK    73143‐5073
FRANK E BENSON CUST NICOLE FAITH BENSON UTMA FL 12900 PHILLIPS RD                                                                                   GROVELAND       FL    34736

FRANK E BILA                                      8670 FERDEN RD                                                                                    CHESANING       MI    48616‐9785
FRANK E BOCKMAN                                   115 SASSAFRAS DRIVE                                                                               MIDDLETOWN      DE    19709‐6047
FRANK E BOOKER III                                BOX 20124                                                                                         ST SIMONS IS    GA    31522‐8124
FRANK E BRIDEL                                    33 MISTHOLLOW SQ                        SCARBOROUGH ON                          M1E 4P3 CANADA
FRANK E BRUENING & DEBORAH BRUENING JT TEN        12010 JOSLIN LAKE RD                                                                              GREGORY         MI    48137‐9603

FRANK E BURGESS                                   13407 ITHACA RD                                                                                   ST CHARLES      MI    48655‐9565
FRANK E BUSH                                      BOX 536 EGYPT RUN RD                                                                              LANDENBERG      PA    19350‐0536
FRANK E CAMPS & KATHLEEN CAMPS JT TEN             4805 NORTHGATE DR                                                                                 ANN ARBOR       MI    48103‐9770
FRANK E CASATO                                    23‐A GRAMERCY LANE                                                                                LAKEHURST       NJ    08733‐4440
FRANK E CASEY                                     2626 BELLE PLAINE TRAIL                                                                           MICHIGAN CITY   IN    46360‐1604
FRANK E COLE                                      2356 RAINEY ROAD                                                                                  TEMPLE          GA    30179‐3127
FRANK E COUGHLIN JR TOD RUTH E COUGHLIN SUBJECT   3630 ROSEWOOD AVE                                                                                 ALAMOGORDO      NM    88310‐8292
TO STA TOD RULES
FRANK E DAVIS                                     515 GRACE ST                                                                                      FLINT           MI    48503‐5156
FRANK E DAVIS & BERTHA S DAVIS JT TEN             BOX 52                                                                                            PENNS PARK      PA    18943‐0052
FRANK E DAVIS JR                                  17 MOOREGATE SQ NW                                                                                ATLANTA         GA    30327‐1539
FRANK E EAGLE                                     21131 FIRST LAKE AVALON                                                                           HILLMAN         MI    49746‐9019
FRANK E EGAN                                      4016 WEST US HIGHWAY 23                                                                           CHEBOYGAN       MI    49721‐9343
FRANK E FELTES                                    1160 LINDENCROSS AVE                                                                              N HUNTINGDON    PA    15642‐9766
FRANK E FILISKO                                   870 NORTH DIXBORO RD                                                                              ANN ARBOR       MI    48105‐9723
FRANK E FISCHER                                   15690 CUMBERLAND                                                                                  RIVERVIEW       MI    48192‐8173
FRANK E FLYNN                                     901 JOHNSON                                                                                       LAKE CITY       AR    72437‐9513
FRANK E FORBES                                    46 CLEMENT COURT                                                                                  NAPA            CA    94558
FRANK E FOUCHI                                    PO BOX 1015                             DESTERHAN                                                 DESTREHAN       LA    70047‐1015
FRANK E FREY & MRS ANNA L FREY JT TEN             31 PALM DRIVE                                                                                     YALAHA          FL    34797‐3015
FRANK E GABLE & FLORENCE P GABLE JT TEN           660 WILLOW VALLEY SQ APTM513                                                                      LANCASTER       PA    17602
FRANK E GRANT                                     177 WALDORF DR                                                                                    DAYTON          OH    45415‐2815
FRANK E GRAY JR                                   1259 CHATWELL DR                                                                                  DAVISON         MI    48423‐2711
FRANK E GROVES                                    1120 N RAIBLE AVE                                                                                 ANDERSON        IN    46011‐9270
FRANK E HALLECK & ROSEMARY M HALLECK JT TEN       5904 DOMINION FAIRWAYS COURT                                                                      GLEN ALLEN      VA    23059‐5497

FRANK E HALVORSON                                 PO BOX 514                                                                                        JACKSON         CA    95642‐0514
FRANK E HANWEY JR & RUTH M HANWEY JT TEN          3145 PADDLEBOAT LANE                                                                              JACKSONVILLE    FL    32223‐3734
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FRANK E HARTLE                                     532 NASH AVE                                                                                   NILES              OH    44446‐1458
FRANK E HASLIP                                     5562 PINE KNOB RD                                                                              CLARKSTON          MI    48346‐3275
FRANK E HAYDEN                                     35037 CATHEDRAL DR                                                                             STERLING HEIGHTS   MI    48312‐4311

FRANK E HAZEN                                      G 4203 NORTH VASSAR ROAD                                                                       FLINT              MI    48506
FRANK E HORNBACK                                   2158 BURNSIDE RD                                                                               NORTH BRANCH       MI    48461‐9716
FRANK E HUTTON                                     1 WIND RIDGE ST                                                                                ANDERSON           IN    46011‐1228
FRANK E IRVIN                                      18048 ARCHDALE ST                                                                              DETROIT            MI    48235‐3261
FRANK E JACOD 3RD & DOLORES JACOD JT TEN           15 RIVERVIEW LANE                                                                              HOHOKUS            NJ    07423‐1205
FRANK E JAUMOT JR                                  6000 GARLANDS LN                                                                               BARRINGTON         IL    60010‐6025
FRANK E JENKINS                                    1154 NAZOR RD                                                                                  GALION             OH    44833‐9733
FRANK E JOBE & BARBARA J TURNER JT TEN             326 SPRUCE STREET                                                                              LATROBE            PA    15650‐2921
FRANK E JOBE & ROBERT W JOBE JT TEN                326 SPRUCE STREET                                                                              LATROBE            PA    15650‐2921
FRANK E JOSEPH                                     1002 WEST WEBB ROAD                                                                            MINERAL RIDGE      OH    44440‐9326
FRANK E KIMBROUGH                                  30483 SHOREHAM ST                                                                              SOUTHFIELD         MI    48076‐5370
FRANK E KOSTECKI                                   76 WHITTLESEY AVE                                                                              WEST ORANGE        NJ    07052‐6031
FRANK E KUTROWSKI                                  526 ROGERS ST                        OSHAWA ON                               L1G 1C6 CANADA
FRANK E LANTERMAN                                  8140 COOK RD                                                                                   BERLIN CENTER      OH    44401‐9604
FRANK E LINARD                                     4856 BIG RUN RD SO                                                                             GROVE CITY         OH    43123
FRANK E LITTLE                                     10 VISTA RD                                                                                    HAMILTON           NJ    08690‐2314
FRANK E MARTIN                                     951 ARNOLD WAY                                                                                 HALF MOON BAY      CA    94019‐2188
FRANK E MASSON                                     5039 LINDERMER AVE                                                                             BETHEL PARK        PA    15102‐2815
FRANK E MC KAY                                     1 PLANTATION DR                                                                                NORTH AUGUSTA      SC    29841‐6028
FRANK E MERLONI                                    13 HIGHLAND ST                                                                                 SOUTHBORO          MA    01772‐1911
FRANK E METZGER                                    93 PLEASENT ST                                                                                 SPARTA             MI    49345‐1230
FRANK E OGAWA                                      955 VIA ZAPATA #11                                                                             RIVERSIDE          CA    92507‐6240
FRANK E PALMER                                     208 MUSTANG LN                       APT 9                                                     AUBURN             MI    48611‐9340
FRANK E PALMER                                     2989 ISLAND LAKE DR                                                                            NATIONAL CITY      MI    48748‐9308
FRANK E PARKER                                     BOX 1776                                                                                       CENTER             TX    75935‐1776
FRANK E PATTON JR                                  9800 MOUNTAINAIRE RD                                                                           FLAGSTAFF          AZ    86001‐9588
FRANK E PFLUM                                      PO BOX 29                                                                                      PITTSBORO          IN    46167‐0029
FRANK E PFLUM II                                   1297 N COUNTY RD 475 E                                                                         DANVILLE           IN    46122
FRANK E PHILLIPS                                   BOX 375                                                                                        LANCASTER          PA    17608‐0375
FRANK E RALSTON                                    18 DUCHESS DR                                                                                  SICKLERVILLE       NJ    08081‐5654
FRANK E RIDOUX                                     2921 SOUTH PARK ROAD                                                                           KOKOMO             IN    46902‐3210
FRANK E RUFFIN & SUNG OK RUFFIN JT TEN             317 FOX RD                                                                                     DOVER              DE    19901‐4709
FRANK E RUSSELL                                    380 FAIRGROUND BLVD APT 202                                                                    CANFIELD           OH    44406‐1514
FRANK E RUTKOWSKI & SYLVIA A RUTKOWSKI JT TEN      995 LONG POND RD                                                                               ROCHESTER          NY    14626‐1119

FRANK E SCHMID                                     22515 REVERE                                                                                   ST CLAIR SHORES    MI    48080‐2882
FRANK E SCHMID & DOUGLAS G SCHMID JT TEN           22515 REVERE                                                                                   ST CLAIR SHORES    MI    48080‐2882
FRANK E SCHMID & ROBERT F SCHMID JT TEN            22515 REVERE                                                                                   ST CLAIR SHORES    MI    48080‐2882
FRANK E SEIBERT                                    8284 TALLADAY                        BOX 48                                                    WHITTAKER          MI    48190‐0048
FRANK E SHATTO                                     3032 N 71 ST                                                                                   KANSAS CITY        KS    66109‐1806
FRANK E SKRZYNSKI                                  140 CURTIS AVE                                                                                 JACKSON            MI    49203‐2302
FRANK E SMITH                                      164 ROXBORO RD                                                                                 TRENTON            NJ    08648‐3927
FRANK E SOSINSKI                                   1922 E DIAMOND DRIVE                                                                           TEMPE              AZ    85283‐4208
FRANK E SOSINSKI & MRS BARBARA G SOSINSKI JT TEN   1922 E DAIMOND DR                                                                              TEMPE              AZ    85283‐4208

FRANK E SOSINSKI JR & MRS BARBARA G SOSINSKI JT    1922 E DIAMOND DRIVE                                                                           TEMPE              AZ    85283‐4208
TEN
FRANK E SOTELO                                     14158 LOUVRE ST                                                                                PACOIMA            CA    91331‐4436
FRANK E SUTTMILLER                                 4694 STEPHENSON RD                                                                             OXFORD             OH    45056‐9357
FRANK E SWYRTEK                                    5369 LIN‐HILL DRIVE                                                                            SWARTZ CREEK       MI    48473‐8868
FRANK E TAYLOR & MARYLIN J TAYLOR JT TEN           217 BRITNI LANE                                                                                SCOTTSVILLE        KY    42164‐9634
FRANK E THOBE                                      840 MANNING VILLAS CT SW                                                                       MARIETTA           GA    30064‐3020
FRANK E TOMINICH                                   PO BOX 0973                                                                                    GRAND ISLAND       NY    14072‐0973
FRANK E TROGE & MARGARET A TROGE JT TEN            3193 SHERWOOD ST                                                                               SAGINAW            MI    48603‐2080
FRANK E USHER                                      1600 E COHOCTAH RD                                                                             HOWELL             MI    48855‐8205
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FRANK E VINCENT                                7099 STREAMWOOD DR                                                                            YPSILANTI         MI    48197‐9520
FRANK E VOLLMER                                212 ROSS LANE                                                                                 BELLEVILLE        IL    62220‐2845
FRANK E VRANA                                  5645 FM RD 879                                                                                ENNIS             TX    75119
FRANK E WADE                                   2150 72ND AVE NE                                                                              NORMAN            OK    73026‐3117
FRANK E WAIBEL                                 1004 N WILLIAMS ST                                                                            BAY CITY          MI    48706‐3663
FRANK E WATTERS                                1110 FIESTA DRIVE                                                                             GREENWOOD         IN    46143‐2638
FRANK E WHEELER & HAZEL M WHEELER TR WHEELER   3554 LA ENTRADA                                                                               SANTA BARBARA     CA    93105‐4509
FAM TRUST UA 07/25/79
FRANK E WILLIAMS JR                            4606 N AUDUBON RD                                                                             INDIANAPOLIS      IN    46226‐2202
FRANK E WOJTASESKI                             125 RYNE LANE                                                                                 ROGERSVILLE       TN    37857‐7108
FRANK E YODER                                  1869 NW 555TH RD                                                                              KINGSVILLE        MO    64061‐9178
FRANK E ZORNIGER 2ND                           1620 BROWN ST                                                                                 DAYTON            OH    45409‐2529
FRANK E ZREMSKI                                9904 NIVER                                                                                    ALLEN PARK        MI    48101‐3708
FRANK EARL LAVOY                               45 FAIRWAY MEADOWS                                                                            OREGON            WI    53575‐3243
FRANK EBERHARDT                                4355 ROCK CREEK DRIVE S W                                                                     PORT CHARLOTTE    FL    33948‐7631
FRANK EDWARD ELLIOTT                           9020 EAST WINDSOR ROAD                                                                        SELMA             IN    47383‐9666
FRANK EDWARD SOCHA                             803 OLIVER ST                                                                                 NO TONAWANDA      NY    14120‐6711
FRANK EITLER                                   72 BRANTWOOD                                                                                  WEST SENECA       NY    14224‐3102
FRANK ELKOVICH JR                              612 LINDEN ST                                                                                 BOISE             ID    83706‐4702
FRANK ELLIOTT & PATRICIA M ELLIOTT JT TEN      10518 MISSINA DR                                                                              WHITTIER          CA    90603‐2424
FRANK EMERSON MOORE & PEGGY LOU MOORE JT TEN   1750 W POINTE CIR                                                                             INDIANA           PA    15701‐1553

FRANK ENDL                                     35 LENOX TER                                                                                  BLOOMFIELD        NJ    07003‐2229
FRANK ESCAMILLA                                73 STATE PARK DRIVE                                                                           BAY CITY          MI    48706‐2137
FRANK EUGENE BAGINSKI                          52 WEAVER ST                                                                                  BUFFALO           NY    14206‐3266
FRANK EUGENI                                   4309 LEWISTON RD                                                                              NIAGARA FALLS     NY    14304‐3227
FRANK F BALDO                                  6021 S OLD 3C HIGHWAY                                                                         WESTERVILLE       OH    43082‐9092
FRANK F CARSONE                                7185 COUNTY LINE RD                                                                           HUBBARD           OH    44425‐9767
FRANK F FARKEN                                 88 SCOTT SWAMP RD #323                                                                        FARMINGTON        CT    06032‐3601
FRANK F GIANNATTASIO                           332 COOLIDGE                                                                                  CHICAGO HEIGHTS   IL    60411

FRANK F GILLESPIE JR                           5157 STATE ROUTE 305                                                                          FOWLER            OH    44418‐9702
FRANK F GRIFFIN                                5909 WISPERING LANE                                                                           WATAUGA           TX    76148‐2742
FRANK F TELLEEN                                1221 45TH ST                                                                                  ROCK ISLAND       IL    61201‐3148
FRANK F VOSBURGH                               7776 COUNTY RTE 3                                                                             FILLMORE          NY    14735‐8639
FRANK F WHITE                                  227 55TH AVENUE W PL 55                                                                       BRADENTON         FL    34207‐3831
FRANK F WILSON                                 827 MELROSE AVE                                                                               LEXINGTON         KY    40502‐2215
FRANK F WRIGHT                                 15720‐E AVE Y‐8                                                                               LLANO             CA    93544
FRANK FALCO CUST NICHOLAS FALCO UGMA NY        689 N 11TH ST                                                                                 SAN JOSE          CA    95112‐3221
FRANK FARROKH SHAHRESTANI                      17714 ROLLING WOODS CIR                                                                       NORTHVILLE        MI    48167‐1890
FRANK FAUST & TERI FAUST JT TEN                2318 CATTTAIL                                                                                 SEARCY            AR    72143‐7057
FRANK FERENC                                   8103 CANDLE LANE                                                                              BALTO             MD    21237‐1512
FRANK FERRARA                                  8 SKYVIEW GARDEN RD                                                                           LEBANON           NJ    08833‐3208
FRANK FERRO & RUTH FERRO JT TEN                4317 OTTER WAY                                                                                NEW PORT RICHEY   FL    34653‐6523

FRANK FIEBRANTZ                                819 EAST 4TH ST                                                                               BELVIDERE        IL     61008‐4531
FRANK FILL                                     5162 MILL WHEEL DR                                                                            GRAND BLANC      MI     48439‐4234
FRANK FINLEY TAYLOR III                        177 CHAR OAK DR                                                                               COLOMBIA         SC     29212‐2631
FRANK FLEISLEBER                               8410 PINE CONE RD                                                                             COLORADO SPRINGS CO     80908‐2155

FRANK FORLINI                                  281 KNEELAND AVENUE                                                                           YONKERS           NY    10705‐2716
FRANK FRICKO                                   18421 BLACKMOOR                                                                               DETROIT           MI    48234‐3851
FRANK FRY JR                                   PO BOX 121                                                                                    GRANT PARK        IL    60940‐0121
FRANK FUENTES                                  2319 N HIGH                                                                                   LANSING           MI    48906‐4225
FRANK G ADAMS & JANE F ADAMS JT TEN            9 PRINCE CHARLES DR                                                                           TOMS RIVER        NJ    08757
FRANK G AROLD JR                               23225 PURDUE                                                                                  FARMNGTON HLS     MI    48336‐3652
FRANK G BAMER JR & CONSTANCE W BAMER JT TEN    143 WOODSIDE DR                                                                               STATE COLLEGE     PA    16801‐8039

FRANK G BORSJE                                 G‐360 STRATTON CT                                                                             LANGHORNE         PA    19047
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Name                                             Address1                             Address2             Address3           Address4          City               State Zip

FRANK G BRADLEY                                  1154 PATTON MILL LN                                                                            GALAX              VA    24333‐1877
FRANK G DANKO                                    838 STINER LANE                                                                                LA SOLLETTE        TN    37766‐5502
FRANK G DEWITT                                   802 S PENDLETON AVE                                                                            PENDLETON          IN    46064‐1354
FRANK G ELLIOTT                                  6476 EPPINGHAM LANE                                                                            FLORISSANT         MO    63033‐4704
FRANK G FILOUS & KATHRYN M FILOUS JT TEN         7570 DAWN HAVEN DRIVE                                                                          PARMA              OH    44130‐5966
FRANK G GARGASZ                                  697 HADLEY RD                                                                                  GREENVILLE         PA    16125‐9644
FRANK G GARRISON                                 313 ELLIS ST                                                                                   BURKBURNETT        TX    76354‐3531
FRANK G HAYDOCY                                  PO BOX 421                                                                                     NORTHFIELD         OH    44067‐0421
FRANK G HENRY                                    25529 HILLSDALE DR                                                                             NOVI               MI    48374‐2157
FRANK G LOMBARDO                                 66 CHIMNEY SWEEP LANE                                                                          ROCHESTER          NY    14612‐1406
FRANK G MAJORAS                                  417 S MAIN ST                                                                                  OBERLIN            OH    44074‐1749
FRANK G MORTON                                   384 FOURTH ST                                                                                  SUMMERVILLE        GA    30747
FRANK G NOVAK                                    33 LOCUST LANE                                                                                 EAST RUTHERFORD    NJ    07073‐1043

FRANK G POLLARD                                  29707 PENDLETON CLUB DR                                                                        FARMINGTON HILLS MI      48336‐1362

FRANK G POLLARD & ASSOCIATES                     29707 PENDLETON CLUB DR                                                                        FARMINGTON HILLS MI      48336‐1362

FRANK G PROBST                                   5317 E AVALON ROAD                                                                             JANESVILLE         WI    53546‐9584
FRANK G SHERWOOD                                 6241 SWEET GUM TRAIL                                                                           FLOWERY BRANCH     GA    30542‐3950

FRANK G SHERWOOD & DON H SHERWOOD II JT TEN      6241 SWEETGUM TR                                                                               FLOWERY BRANCH     GA    30542‐3950

FRANK G SOLINSKI                                 12001 CONANT ST                                                                                HAMTRAMCK          MI    48212‐2716
FRANK G SOLTIS CUST BRIAN D SOLTIS UGMA MN       1051 HOYT AVENUE WEST                                                                          ST PAUL            MN    55117‐3308
FRANK G SOLTIS CUST MICHAEL G SOLTIS UGMA MN     1344 2ND ST NW                                                                                 ROCHESTER          MN    55901‐0325

FRANK G SOLTIS CUST STEVEN R SOLTIS UGMA MN      2804 MAYOWOOD HILLS DR SW                                                                      ROCHESTER          MN    55902‐1006
FRANK G STEWART JR & EFFIE P STEWART JT TEN      1061 MATIANUCK AVE                                                                             WINDSOR            CT    06095‐3209
FRANK G SYRON JR                                 4651 FAIRWAY CT                                                                                WATERFORD          MI    48328‐3484
FRANK G THACHER II                               220 ANNABLE POINT ROAD                                                                         CENTERVILLE        MA    02632‐2427
FRANK G TURNER                                   25951 PALOMITA DR                                                                              VALENCIA           CA    91355
FRANK G UTTARO                                   61 NORMANDALE DR                                                                               ROCHESTER          NY    14624‐1715
FRANK G UTTARO & ROSALEE UTTARO JT TEN           61 NORMANDALE DR                                                                               ROCHESTER          NY    14624‐1715
FRANK G VANSANT & DORIS E VANSANT JT TEN         2121 WESTMINISTER DR                                                                           FLINT              MI    48507‐3528
FRANK G VARI                                     3178 SANDY LAKE ROAD                                                                           RAVENNA            OH    44266‐9552
FRANK G WACHTEL & ROSE T WACHTEL JT TEN          6294 RIVER ROAD                                                                                EAST CHINA         MI    48054‐4704
FRANK G WALLACE                                  STAR ROUTE 2 BOX 3                                                                             WILLIAMSVILLE      MO    63967‐9400
FRANK G WHITMAN                                  1014 LOCKRIDGE ST N E                                                                          GRAND RAPIDS       MI    49505‐4842
FRANK G WHITMAN & KAY A WHITMAN JT TEN           1014 LOCKRIDGE DRIVE N E                                                                       GRAND RAPIDS       MI    49505‐4842
FRANK G YOUD                                     903 MANDERLY DR                                                                                MILFORD            MI    48381‐1313
FRANK GAC                                        36652 THOMAS DR                                                                                STERLING HEIGHTS   MI    48312‐2949

FRANK GALOS                                      15200 BAHIA CT                                                                                 FORT MYERS         FL    33908‐1752
FRANK GEISLER                                    PO BOX 312                                                                                     COLUMBIA STA       OH    44028
FRANK GENTILE & MARILYN P GENTILE JT TEN         1143 S SUMMIT                                                                                  VILLA PARK         IL    60181‐3216
FRANK GEORGE KURSAY JR                           104 MOUNTAINSIDE LN                                                                            BRIDGEWATER        NJ    08807‐2323
FRANK GERALD HAYDOCY & CAROLE LEE HAYDOCY JT     PO BOX 421                                                                                     NORTHFIELD         OH    44067‐0421
TEN
FRANK GERASIMEK                                  7279 STEWART ROAD                                                                              HUBBARD            OH    44425‐3035
FRANK GIACINTO & THERESA GIACINTO JT TEN         4425 67TH ST E                                                                                 BRADENTON          FL    34203‐4270
FRANK GIANNOBILE & MRS MARIE GIANNOBILE JT TEN   729 MC CANDLESS PL                                                                             LINDEN             NJ    07036‐1234

FRANK GLICK                                      1614 BRANDONHALL DR                                                                            MIAMISBURG         OH    45342
FRANK GOMBERG                                    47 ARDMORE ROAD                      TORONTO ON                              M5P 1W2 CANADA
FRANK GRABOWICZ                                  858 PALISADE AVE                                                                               YONKERS            NY    10703‐1548
FRANK GRACZYK & PATRICIA GRACZYK JT TEN          814 COLUMBIA LANE                                                                              DARIEN             IL    60561‐3812
FRANK GRANETT JR                                 50180 HILLSIDE DRIVE                                                                           MACOMB             MI    48044‐1222
                                                                                                                                                TOWNSHIP
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FRANK GREEN                                      3614 WOODBINE BLVD                                                                           TYLER             TX    75701
FRANK GRIFFIN                                    5159 RUSSELL AVE N                                                                           MINNEAPOLIS       MN    55430‐3364
FRANK GRIFFIN JR                                 97 S EDITH STREET                                                                            PONTIAC           MI    48342‐2940
FRANK GRIGALIUNAS & KAREN GRIGALIUNAS JT TEN     W 1816 DEAN AVE                                                                              SPOKANE           WA    99201‐1829

FRANK GRILLO                                     12684 CRESCENTMEADOW CT                                                                      MOORPARK          CA    93021‐2709
FRANK GROMEK                                     46 W MAPLEDALE                                                                               HAZEL PARK        MI    48030‐1132
FRANK GROSSO                                     ATTN KIRT GRUDZEN                  2032 ALICIA LN                                            ROYAL OAK         MI    48073‐3950
FRANK GROVES & MARY E GROVES JT TEN              17819 E WATFORD DR                                                                           QUEEN CREEK       AZ    85242‐7755
FRANK GRYZENIA                                   757 WESTVIEW RD                                                                              BLOOMFIELD        MI    48304‐2476
FRANK GUALDONI                                   2328 THE COURTS DR                                                                           CHESTERFIELD      MO    63017‐3501
FRANK GUDAKUNST                                  19718 RD 1048                                                                                DEFIANCE          OH    43512‐8368
FRANK GUGLIELMI                                  5237 MAGNOLIA PLACE                                                                          SEBRING           FL    33872‐7928
FRANK H ALLEN                                    6320 DWIGHT                                                                                  DEARBORN HTS      MI    48127‐3924
FRANK H ATWOOD                                   17310 MELROSE                                                                                SOUTHFIELD        MI    48075‐7605
FRANK H BOYDEN                                   18 CANTERBURRY LANE                                                                          AMHERST           MA    01002‐3536
FRANK H BREEDING JR                              17 CANDLEWOOD CT                                                                             GERMANTOWN        OH    45327‐1203
FRANK H BRIER                                    546 WEST ASH AVE                                                                             FULLERTON         CA    92832‐2702
FRANK H BRUSH & MARIJEAN BRUSH COMMUNITY         4410 CANOE BIRCH CT                                                                          CONCORD           CA    94521‐4302
PROPERTY
FRANK H BYAM JR                                  52 LAFAYETTE ST                                                                              WOONSOCKET        RI    02895‐4829
FRANK H CARRUTH III                              932 TRUDEAU DR                                                                               METAIRIE          LA    70003‐5602
FRANK H CARRUTH III                              5407 S FLAGLER DR                                                                            WEST PALM BCH     FL    33405‐3311
FRANK H CARSTENS                                 706 SW 13TH AVE                                                                              FORT LAUDERDALE   FL    33312‐2429

FRANK H CARSTENS & HARRIET CARSTENS JT TEN       706 SW 13TH AVE                                                                              FORT LAUDERDALE   FL    33312‐2429

FRANK H COOPER                                   LOT #27                            2510 WEST SHELLPOINT ROAD                                 RUSKIN            FL    33570‐3115
FRANK H COOPER III                               19179 E 14 MILE RD                                                                           CLINTON TWP       MI    48035‐3903
FRANK H ECHOLS JR                                3506 FOREST HILL                                                                             FLINT             MI    48504‐2243
FRANK H EDDY JR                                  8865 BENNINGTON ROAD                                                                         DURAND            MI    48429‐9765
FRANK H EDELEN JR & CHERYL C EDELEN JT TEN       258 FARMINGTON DR                                                                            LAKESIDE PARK     KY    41017‐3185
FRANK H ELKINS                                   1304 NAPIER STREET                                                                           FLATWOODS         KY    41139‐1538
FRANK H EVANS                                    7750 ROSWELL RD                    APT 11C                                                   ATLANTA           GA    30350‐4851
FRANK H FALK                                     115 IVY ROCK LANE                                                                            HAVERTOWN         PA    19083‐2825
FRANK H FISCHER                                  PO BOX 6007                                                                                  MARTINSBURG       WV    25402‐6007
FRANK H HARRIS JR                                6739 PEPPERWOOD CT                                                                           WICHITA           KS    67226‐1612
FRANK H HAYNES                                   1784 CREST STREET R #1                                                                       HASLETT           MI    48840‐8283
FRANK H HUBER                                    PO BOX 575                                                                                   REMSENBURG        NY    11960‐0575
FRANK H HUGHES                                   PO BOX 1308                                                                                  KINGSTON          PA    18704‐0308
FRANK H JACKSON                                  1796 LICHFIELD CT                                                                            CORDOVA           TN    38016‐4063
FRANK H JUSTICE                                  7408 N STATE RD                                                                              DAVISON           MI    48423‐9368
FRANK H JUSTICE JR & RHONDA J JUSTICE JT TEN     7408 N STATE RD                                                                              DAVISON           MI    48423‐9368
FRANK H KETRON & BETTY L KETRON JT TEN           224 OLD BEASON WELL RD                                                                       KINGSPORT         TN    37660‐1945
FRANK H KNIGHT                                   BOX 1042                                                                                     VINEYARD HAVEN    MA    02568‐1042
FRANK H LEE                                      4149 PARADISE RD                                                                             SEVILLE           OH    44273‐9353
FRANK H LEMLEY & ROSELIA J LEMLEY JT TEN         65411 DEQUINDRE RD                                                                           OAKLAND           MI    48363‐2515
FRANK H LIGGINS                                  3009 N 76TH ST                                                                               KANSAS CITY       KS    66109‐1657
FRANK H LILLIE                                   10939 PUTNAM ROAD                                                                            ENGLEWOOD         OH    45322‐9764
FRANK H LONGO                                    17 FOX DEN RD                                                                                WANAQUE           NJ    07465‐1232
FRANK H MAUCK & MRS JANE A MAUCK JT TEN          500 VILLAGE DR                     # 205                                                     PITTSBURGH        PA    15241‐1440
FRANK H MCCARTNEY                                207 COURT SQ                                                                                 FLEMINGSBURG      KY    41041‐1364
FRANK H MCDONALD TR UA 08/02/2007 FRANK H        4643 RIVER SHORE ROAD                                                                        PORTSMOUTH        VA    23703
MCDONALD LIVING TRUST
FRANK H MEHNERT JR                               644 HAMILTON                                                                                 BLOOMFIELD        MI    48301‐2550
                                                                                                                                              VILLAGE
FRANK H MEHNERT JR & KATHERINE T MEHNERT JT TEN 644 HAMILTON                                                                                  BLOOMFIELD        MI    48301‐2550
                                                                                                                                              VILLAGE
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FRANK H MENAKER JR & SHARON L MENAKER JT TEN     8938 HARVEST SQUARE COURT                                                                       POTOMAC         MD    20854‐4475

FRANK H PANGBURN TR FRANK H PANGBURN TRUST UA 7385 KIRKRIDGE DR                                                                                  CINCINATTI      OH    45238
02/12/92
FRANK H QUEENAN JR                               474 BELANGER ST                                                                                 GROSSE POINTE   MI    48236
FRANK H RITCHIE                                  9285 HUNTING VALLEY S                                                                           CLARENCE        NY    14031‐1554
FRANK H ROCHEL                                   160 WHITTINGTON DR                                                                              LAFAYETTE       LA    70503‐2742
FRANK H SCHOENHEIT & SHIRLEY T SCHOENHEIT JT TEN #7                                    10990 COUNTY RD                                           PRATTSBURG      NY    14873‐9459

FRANK H SCOTT                                     6633 EAST LEFEVRE ROAD                                                                         CASSTOWN        OH    45312‐9564
FRANK H SINGERTON                                 18453 MARK TWAIN                                                                               DETROIT         MI    48235‐2549
FRANK H STEVENS TR UA 04/13/97 BY FRANK H STEVENS 35154 GARY ST                                                                                  FARMINGTN HLS   MI    48331‐2616

FRANK H TEVEPAUGH & GLADYS R TEVEPAUGH JT TEN    221 WEATHERS CREEK RD                                                                           TROUTMAN        NC    28166‐8766

FRANK H THAXTON III CUST KATHRYN ANN THAXTON     8518 W WILDERNESS WAY                                                                           SHREVEPORT      LA    71106‐6135
UTMA LA
FRANK H THOMPSON                                 7509 W MT MORRIS RD                                                                             FLUSHING        MI    48433‐8833
FRANK H TORRES                                   3458 ARDRETH                                                                                    DRAYTON PLNS    MI    48020
FRANK H WALKER & SALLY L WALKER JT TEN           8087 HAWKCREST                                                                                  GRAND BLANC     MI    48439‐2422
FRANK H WALKER CUST TIMOTHY J WALKER UGMA MI     8087 HAWKCREST DR                                                                               GRAND BLANC     MI    48439‐2422

FRANK H WATSON JR                                6605 VAN BUREN AVE                                                                              RICHMOND         VA   23226‐3423
FRANK H WESTERLUND                               23 ROMAN AVENUE                                                                                 STATEN ISLAND    NY   10314‐2718
FRANK H WILHELM                                  2417 HIDDENBROOK DR                                                                             TOLEDO           OH   43613‐1520
FRANK HAARLANDER                                 108 CONARD AVE                                                                                  COLLINGSWOOD     NJ   08108
FRANK HAHN                                       189 COPLEY AVE                                                                                  TEANECK          NJ   07666
FRANK HALADIK & MARIE HALADIK JT TEN             7730 FOREST ST                                                                                  DEXTER           MI   48130
FRANK HALAY                                      227 HINDS RD                                                                                    SPRINGFIELD      NY   13468‐2207
                                                                                                                                                 CENTER
FRANK HANCSAK JR                                 1230 LYNSUE LN                                                                                  WATERFORD        MI   48327‐2455
FRANK HANDY                                      2709 MACDONALD AVE                                                                              RICHMOND         CA   94804‐3000
FRANK HANLEY                                     10 OVERLOOK COURT                                                                               BERLIN           NJ   08009‐1169
FRANK HARDY                                      9609 DIXIE HWY                                                                                  LOUISVILLE       KY   40272‐3439
FRANK HATFIELD                                   13515 GRATIOT                                                                                   HEMLOCK          MI   48626‐8446
FRANK HAVERDICK JR                               PO BOX 2301                                                                                     NILES            OH   44446‐0701
FRANK HENNESSEY                                  27 NASHUA RD                                                                                    WINDHAM          NH   03087‐1408
FRANK HERBERT ZIEGLER III                        4 OLD STATE ROUTE 38                                                                            OWEGO            NY   13827
FRANK HINLEY TRULUCK JR                          595 MT OLIVET CHURCH ROAD                                                                       LEXINGTON        NC   27295
FRANK HINOJOSA III                               2328 E ALACIA                                                                                   STOCKTON         CA   95205‐4317
FRANK HITTEL & GEORGIA HITTEL JT TEN             2500 NE 14 ST                                                                                   FT LAUDERDALE    FL   33304‐1550
FRANK HOLKO                                      6190 STATE RT 46 N E                                                                            CORTLAND         OH   44410‐9666
FRANK HOUX 2ND                                   108 HUDSON LANE                                                                                 ALEDO            TX   76008‐4117
FRANK HOWARD ROBINSON                            207 SOUTH RIVER GLEN DRIVE                                                                      MORGANTON        NC   28655‐6412
FRANK HUSAK                                      6465 GRAND BLANC RD                                                                             SWARTZ CREEK     MI   48473‐9403
FRANK HUSAK & MARY ANN HOOK JT TEN               6465 GRAND BLANC RD                                                                             SWARTZ CREEK     MI   48473‐9403
FRANK I MENDS                                    204 BUCHANAN ST                                                                                 LINDEN           NJ   07036‐3508
FRANK I NIX                                      5160 DONALD DR SW                                                                               LOGANVILLE       GA   30052‐2819
FRANK I SAVITZKY & ARCHIE SAVITZKY JT TEN        PO BOX 697                                                                                      ROUND LAKE BEACH IL   60073‐0602

FRANK INFERRERA & MRS DOROTHY INFERRERA JT TEN   183 MADDUX AVE                                                                                  SAN FRANCISCO   CA    94124‐2211

FRANK IOPPOLO & CARMELLA IOPPOLO JT TEN          9101 BAY POINT DRIVE                                                                            ORLANDO         FL    32819‐4804
FRANK ITALIANO                                   500 BISSELL                                                                                     COLLINSVILLE    IL    62234‐5312
FRANK J ABATO                                    39 KENSINGTON DRIVE                                                                             HOPEWELL JCTN   NY    12533‐5834
FRANK J ADIMARI                                  12 HAMMOND ROAD                                                                                 RYE             NY    10580‐2821
FRANK J ADOLFI JR                                1427 AKAMAI PL                                                                                  KAILUA          HI    96734‐4125
FRANK J ARCILESI                                 714 BURNSIDE                                                                                    BELAIR          MD    21015‐4851
FRANK J ARTINO                                   6720 COMMONWEALTH BLVD                                                                          CLEVELAND       OH    44130‐4210
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FRANK J BALCER JR                                 9150 SHIPMAN RD                                                                                CORUNNA          MI    48817‐9737
FRANK J BARANSKI                                  1845 EAST DAYTON ROAD                                                                          CARO             MI    48723‐9478
FRANK J BARBER                                    858 HELENDALE RD                                                                               ROCHESTER        NY    14609‐2910
FRANK J BARTKOWICZ                                1112 SNEAD DRIVE                                                                               TROY             MI    48098‐3378
FRANK J BELLIZZI JR                               176 FOREST AVE                                                                                 GLEN RIDGE       NJ    07028‐2414
FRANK J BENNETT JR                                PO BOX 1414                                                                                    RALEIGH          NC    27602‐1414
FRANK J BIERNAT                                   47647 WOODBERRY ESTATE DR                                                                      MACOMB           MI    48044‐3038
                                                                                                                                                 TOWNSHIP
FRANK J BORYCZKA & AARON J BORYCZKA JT TEN        2221 E 4TH ST                                                                                  ROYAL OAK        MI    48067
FRANK J BORYCZKA & ADAM D BORYCZKA JT TEN         271 MIRACLE DR                                                                                 TROY             MI    48084‐1730
FRANK J BORYCZKA & VICKI BORYCZKA JT TEN          271 MIRACLE DR                                                                                 TROY             MI    48084‐1730
FRANK J BORYCZKA JR & SHIRLEY BORYCZKA JT TEN     271 MIRACLE DRIVE                                                                              TROY             MI    48084

FRANK J BOURN                                 833 EAST HARRISON                                                                                  DANVILLE         IL    61832‐5941
FRANK J BOWKER                                6 CUMMINGS ST                                                                                      MANTOLOKING      NJ    08738‐1336
FRANK J BOWSER                                350 E 264TH ST                                                                                     EUCLID           OH    44132‐1443
FRANK J BRANDON                               30033 AVONDALE                                                                                     INKSTER          MI    48141‐1529
FRANK J BREUNIG JR & JANE R BREUNIG JT TEN    931 SHANNONDALE WAY                                                                                MARYVILLE        TN    37803
FRANK J BROWER JR                             15515 ROB ROY DR                                                                                   OAK FOREST       IL    60452‐2735
FRANK J BUNDSCHUH & ANNELORE BUNDSCHUH JT TEN 1267‐B HAMILTON CT                                                                                 LAKEWOOD         NJ    08701‐6792

FRANK J BUREL                                     BOX 223                                                                                        BETHLEHEM        GA    30620‐0223
FRANK J BURNS                                     1635 STEVENS AVE                                                                               ORLANDO          FL    32806‐7139
FRANK J BURSIK                                    609 MARTIN ST                                                                                  OWOSSO           MI    48867‐3317
FRANK J CALLAHAN                                  7 LAN CREEK RD                                                                                 WILKES BARRE     PA    18702‐8010
FRANK J CAMPAGNA CUST NICHOLAS CAMPAGNA           717 ELVIRA AVE                                                                                 REDONDO BEACH    CA    90277
UGMA NY
FRANK J CAMPAGNA CUST THOMAS CAMPAGNA UGMA        717 ELVIRA AVE                                                                                 REDONDO BEACH    CA    90277
NY
FRANK J CAMPERLINGO & FRANCES CAMPERLINGO JT      4142 GARDENA DR                                                                                RIVERSIDE        CA    92506‐2034
TEN
FRANK J CARDERA                                   411 N 6TH ST APT 2664                                                                          EMERY            SD    57332‐2124
FRANK J CASTELLANO                                345 SPENCERPORT RD #229                                                                        ROCHESTER        NY    14606‐5253
FRANK J CASTLE                                    1035 CATHOLIC CHURCH ROAD                                                                      LESLIE           MI    49251‐9314
FRANK J CERNAK                                    10057 NORTHWAY                                                                                 ALLEN PARK       MI    48101‐1235
FRANK J CERNY                                     268 NORTH HILL CIRCLE                                                                          ROCHESTER        MI    48307‐1109
FRANK J CERNY JR                                  5809 DOWNS RD NW                                                                               WARREN           OH    44481‐9481
FRANK J CHASTAIN                                  PO BOX 85                                                                                      POCAHONTAS       AR    72455‐0085
FRANK J CHIONCHIO JR                              11 JFK DR                                                                                      MILLBURY         MA    01527‐4209
FRANK J CHLANDA & ANNA B CHLANDA JT TEN           233 WESTON RD                                                                                  SOMERSET         NJ    08873‐7203
FRANK J CHOVANCE JR                               PO BOX 204                                                                                     BATH             MI    48808‐0204
FRANK J CHVOJKA                                   8568 S BLAIR RD                                                                                ASHLEY           MI    48806‐9707
FRANK J CICCONE                                   2536 BALFREY DR                                                                                TOMS RIVER       NJ    08753‐4607
FRANK J CICERI & HILDA N CICERI JT TEN            114 BALTIMORE AVE                                                                              BALTIMORE        MD    21222‐4203
FRANK J CLARK                                     250 LAKE STREET APT 504              ST CATHERINES ON                        L2R 5Z4 CANADA
FRANK J CONLEY & ELEANOR V CONLEY JT TEN          6753 FISHER WOODS RD                                                                           INDIAN RIVER     MI    49749‐9310
FRANK J COURY                                     14 MCGUIRE ST                                                                                  EAST BRUNSWICK   NJ    08816‐1225
FRANK J CROSBY                                    396 CHAPEL ST                                                                                  HOLDEN           MA    01520‐1815
FRANK J CROSS                                     7582 ORLANDO DR                                                                                CLEVELAND        OH    44134‐6627
FRANK J CUSIMANO                                  636 NE CLUBHOUSE DRIVE                                                                         LEES SUMMIT      MO    64086‐3052
FRANK J CZERWONY                                  5640 ANDOVER BLVD                                                                              GARFIELD HTS     OH    44125‐3504
FRANK J CZERWONY TOD CLAUDIA RANKIN SUBJECT TO    5640 ANDOVER BLVD                                                                              GARFIELD HTS     OH    44125
STA TOD RULES
FRANK J CZERWONY TOD FRANCINE FRAUNDORF           5640 ANDOVER BLVD                                                                              GARFIELD HTS     OH    44125
SUBJECT TO STA TOD RULES
FRANK J DALY JR                                   1130 SACKETT LAKE RD                                                                           FORESTBURGH      NY    12777‐6005
FRANK J DARMOFALSKI                               64 HIGH ST                                                                                     TERRYVILLE       CT    06786‐5418
FRANK J DAVIDSON                                  1403 MAIN ST                                                                                   NEWINGTON        CT    06111‐3163
FRANK J DEFEO & MRS GRACE DEFEO JT TEN            141 DORY DRIVE                                                                                 OCEAN CITY       NJ    08226‐1115
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FRANK J DEGUTIS                                   306 PLYMOUTH RD                                                                                UNION              NJ    07083‐7808
FRANK J DELECKI                                   1278 LAKESHORE DR                                                                              GLADWIN            MI    48624‐8082
FRANK J DEMSKI & FLORENCE A DEMSKI JT TEN         14500 S KEYSTONE                                                                               MIDLOTHIAN         IL    60445‐2729
FRANK J DERCHER TR FRANK J DERCHER REVOCABLE      2323 W 103 ST                                                                                  LEAWOOD            KS    66206‐2334
TRUST UA 03/26/96
FRANK J DESTRAMPE & JUDY A DESTRAMPE JT TEN       7800 N LAKE BLUFF O.5 DR                                                                       GLADSTONE          MI    49837‐2441

FRANK J DETZ                                      409 FIRST ST                                                                                   MIDDLESEX          NJ    08846‐1501
FRANK J DI ROCCO & NORA J DI ROCCO JT TEN         22 FIRTREE LANE                                                                                HUNTINGTON         NY    11746‐4037
                                                                                                                                                 STATION
FRANK J DI SERIO                                  536 WESTGATE DR                                                                                EDISON             NJ    08820‐1175
FRANK J DIETER                                    191 JACKSON STATION RD                                                                         PERRYVILLE         MD    21903‐1616
FRANK J DRYER                                     211 S WAVERLY RD APT B5                                                                        LANSING            MI    48917‐3637
FRANK J EASON                                     124 S KALAMAZOO MALL                                                                           KALAMAZOO          MI    49007‐4814
FRANK J EATON                                     12431 BIRWOOD ST                                                                               DETROIT            MI    48204‐1022
FRANK J EICHHORN                                  1925 BENTON AVE                                                                                PHILADELPHIA       PA    19452
FRANK J EISELE                                    6 NYBY RD                                                                                      ROCHESTER          NY    14624‐4822
FRANK J FALESKI JR                                15809 NORTH 48TH LANE                                                                          GLENDALE           AZ    85306‐2605
FRANK J FARRUGGIA JR                              69 ELBA AVE                                                                                    HOPATCONG          NJ    07843‐1848
FRANK J FEELEY                                    2 BLACKWOOD CRES                     FONTHILL ON                             L0S 1E0 CANADA
FRANK J FENDE                                     1811 RUSH RD                                                                                   WICKLIFFE          OH    44092‐1130
FRANK J FERGUSON                                  1131 MIXTWOOD STREET                                                                           ANN ARBOR          MI    48103‐3034
FRANK J FIALKIEWICZ                               62 LANCASTER AVE                                                                               LANCASTER          NY    14086‐2914
FRANK J FISCHER                                   38016 BONKAY S                                                                                 CLINTON TWSP       MI    48036‐2109
FRANK J FLEECS                                    BOX 767                                                                                        SUTHERLAND         NE    69165‐0767
FRANK J FOX TOD KENNETH L NERRETER                11515 UNION STREET                                                                             MOUNT MORRIS       MI    48458
FRANK J FRANCETIC                                 14344 RAUCHOLZ ROAD                                                                            CHESANING          MI    48616‐9556
FRANK J FRISCHKORN TR UA 12/08/04 FRANK J         690 FAIRFORD RD                                                                                GROSSE POINTE      MI    48236
FRISCHKORN REV LIV TRUST
FRANK J GADOLA                                    2137 BUENA VISTA AVENUE                                                                        ALAMEDA            CA    94501‐1464
FRANK J GASKIN                                    6650 WEST NORTHSIDE DRIVE                                                                      BOLTON             MS    39041‐9698
FRANK J GENTILE & JACQUELINE M GENTILE JT TEN     260 JOSSMAN RD                                                                                 ORTONVILLE         MI    48462

FRANK J GERWIN JR                                 10017 LOCKLIES DR                                                                              GLEN ALLEN         VA    23060‐7222
FRANK J GERWIN JR & CLAUDIE L GERWIN JT TEN       10017 LOCKLIES DR                                                                              GLEN ALLEN         VA    23060‐7222
FRANK J GIACOLETTI                                8835 BERGESON DR                                                                               INDIANAPOLIS       IN    46278‐1193
FRANK J GIBBONS                                   79 DAVID ST                          LONDON ON                               N6P 1B4 CANADA
FRANK J GIBBS                                     108 MARJORIE DRIVE                                                                             KENMORE          NY      14223‐2422
FRANK J GODZWA JR                                 1188 RIVER OAKS DR                                                                             MYRTLE BEACH     SC      29579‐6260
FRANK J GONZALEZ                                  137 PEQUEST DRIVE                                                                              BELVIDERE        NJ      07823‐2638
FRANK J GORHAM                                    433 W MILLER RD                                                                                LANSING          MI      48911‐4935
FRANK J GORMAN & MARY GORMAN JT TEN               939 DYRE STREET                                                                                PHILA            PA      19124‐1708
FRANK J GRAD JR                                   678 PARK VISTA TRAIL                                                                           WEBSTER          NY      14580
FRANK J GRAF                                      36024 LADYWOOD                                                                                 LIVONIA          MI      48154‐2024
FRANK J GRAVES                                    526 BOWMAN ST                                                                                  MANSFIELD        OH      44903‐1207
FRANK J GRAVIN 3RD                                1163 N RED OAK CI 2                                                                            ROUND LAKE BEACH IL      60073‐2433

FRANK J GREENE & ROSE C GREENE JT TEN             3300 WESTCHESTER                                                                               BLOOMFIELD HILLS   MI    48304‐2570

FRANK J GRIFFO JR                                 209 ST CLARE                                                                                   TONAWANDA          NY    14150‐4641
FRANK J GROSSMAN JR                               5141 MARTIN                                                                                    WARREN             MI    48092‐4528
FRANK J GUCZWA & CAROLYN L GUCZWA JT TEN          439 GODFROY AVE                                                                                MONROE             MI    48162‐2765
FRANK J GUERRIERO                                 4 PRINCETON DR                                                                                 MIDDLESEX          NJ    08846‐1245
FRANK J HAMSKI                                    5777 KUENZER DR                                                                                SEVEN HILLS        OH    44131‐1923
FRANK J HARRISON                                  145 CHERRY ST                                                                                  CONSTANTINE        MI    49042‐1209
FRANK J HARVEY TR HARVEY FAMILY TRUST UA 11/25/92 940 SOUTH VAN BUREN AVE                                                                        TUCSON             AZ    85711‐5167

FRANK J HAYES                                     7587 W BURT RD                                                                                 CHESANING          MI    48616‐9457
FRANK J HELMINIAK                                 508 W CALUMET                                                                                  BAY CITY           MI    48706‐5113
                                              09-50026-mg                Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                               Address1                            Address2              Address3          Address4          City            State Zip

FRANK J HEYER                                      2518 NW 43RD PLACE                                                                            CAPE CORAL      FL    33993
FRANK J HILL & THERESA A HILL JT TEN               104 LAKE TERRACE CT                                                                           CARROLLTON      GA    30117‐1820
FRANK J HILTZ & HELEN HILTZ JT TEN                 48331 SAND CASTLE CT                                                                          SHELBY TWP      MI    48315‐4315
FRANK J HONIGMAN                                   1266 ELM ST                                                                                   DUBUQUE         IA    52001‐4951
FRANK J HOVANEC                                    217 GREYSTONE LN APT 32‐16                                                                    ROCHESTER       NY    14618‐5116
FRANK J HUGHES                                     ATTN VERNELL HUGHES                 9652 VIRGILL ST                                           REDFORD         MI    48239‐1416
FRANK J HUGHES                                     3720 JACKSON BLVD                                                                             WHITE LAKE      MI    48383‐1441
FRANK J HYDE                                       944 N COLONY RD                                                                               MERIDEN         CT    06450‐2336
FRANK J JAGELKA JR                                 2400 DEWYSE ROAD                                                                              BAY CITY        MI    48708‐9125
FRANK J JAGELKA JR & ANN M SCHMIDT JT TEN          2400 DEWYSE RD                                                                                BAY CITY        MI    48708‐9125
FRANK J JANDO                                      13281 N BRAY RD                                                                               CLIO            MI    48420‐9151
FRANK J JANUSZ                                     1053 HESS LAKE DR                                                                             GRANT           MI    49327‐9308
FRANK J JENNINGS                                   990 DOLANE BLVD                                                                               WHITE LAKE      MI    48303
FRANK J JOHNSON                                    1440 W HIBBARD RD                                                                             OWOSSO          MI    48867‐9215
FRANK J KAREVICIUS                                 9645 BRAMBLEWOOD                                                                              BETHANY         LA    71007‐9789
FRANK J KEARNEY                                    28 WINDLE PARK APT 4                                                                          TARRYTOWN       NY    10591‐3929
FRANK J KEIM & ANNE C KEIM TR KEIM FAM TRUST UA    9336 HEATHER GLEN DR                                                                          ALEXANDRIA      VA    22309‐3050
03/08/96
FRANK J KENNEDY                                    PO BOX 1328                                                                                   TROY            NY    12181‐1328
FRANK J KLABAK JR                                  800 S LINE ST                                                                                 CHESANING       MI    48616‐1457
FRANK J KOMLANC JR                                 5451 MILHOUSE RD                                                                              INDIANAPOLIS    IN    46221‐4162
FRANK J KOSKI                                      3402 WYOMING                                                                                  FLINT           MI    48506‐2613
FRANK J KOSTUSAK JR & VERONICA T KOSTUSAK JT TEN   6385 GOLDEN GOOSE LANE                                                                        LAS VEGAS       NV    89118‐1950

FRANK J KOTOWICZ JR & PHYLLIS J KOTOWICZ JT TEN    1092 TROTWOOD LN                                                                              FLINT           MI    48507‐3709

FRANK J KOVALCSIK                               PO BOX 344                                                                                       BYRON CENTER    MI    49315‐0344
FRANK J KOVALCSIK CUST ROSE M KOVALCSIK UGMA MI C/O DONALD WRIGHT                      4462 MT VERNON PASS                                       SWARTZ CREEK    MI    48473‐8237

FRANK J KOVICH                                     606 N 16TH ST                                                                                 KANSAS CITY     KS    66102‐4304
FRANK J KOWALSKI                                   5810 WARWICK                                                                                  DETROIT         MI    48228‐3955
FRANK J KOWALSKI & MRS PATRICIA M KOWALSKI JT      5205 WHITE OAK                                                                                EL PASO         TX    79932‐2519
TEN
FRANK J KRAYNAK                                    604 ROLLINS RD                                                                                FOREST CITY     NC    28043‐5884
FRANK J KUHN                                       PO BOX 332                                                                                    ROSE CITY       MI    48654
FRANK J KUNGEL & CONSTANCE L KUNGEL JT TEN         PO BOX 190                                                                                    WASHINGTON      MI    48094‐0190
FRANK J KVETKOSKY                                  211 SPRINGFIELD AVE                                                                           TONAWANDA       NY    14150‐9119
FRANK J LACASSE TOD AGNES L LACASSE SUBJECT TO     18027 CAROL DRIVE                                                                             STRONGSVILLE    OH    44136
STA TOD RULES
FRANK J LANG                                       11901 BERLIN STATION RD                                                                       BERLIN CENTER   OH    44401‐9614
FRANK J LAWRENCE                                   PO BOX 261                                                                                    AVOCA           MI    48006‐0261
FRANK J LAWSON & ALICE O LAWSON JT TEN             9000 MILLWARD                                                                                 WHITE LAKE      MI    48386‐4266
FRANK J LAZ                                        96 WESTMONT DR                                                                                MIDDLETOWN      CT    06457‐2010
FRANK J LEBEAU                                     12335 W BEND DR                     APT 248                                                   SAINT LOUIS     MO    63128‐2165
FRANK J LEGACY JR                                  5350 PINE ST                                                                                  BEVERTON        MI    48612‐8581
FRANK J LEON & ALMA L LEON JT TEN                  3355 HOUSTON                                                                                  DEARBORN        MI    48124‐4159
FRANK J LEPERA JR                                  91 WINDSOR DR                                                                                 HAMILTON        OH    45013‐3623
FRANK J LIEBGOTT                                   38 SHELLWIND DRIVE                                                                            SAVANNAH        GA    31411‐2910
FRANK J LILLY                                      2828 VICTOR AVE                                                                               LANSING         MI    48911‐1736
FRANK J LITZ & DOROTHY S LITZ JT TEN               51 MILES STANDISH ROAD                                                                        SCHENECTADY     NY    12306‐3321
FRANK J LIZAK                                      3811 RIVER DR                                                                                 LINCOLN PARK    MI    48146‐4325
FRANK J LONGO & MICHELE LONGO JT TEN               67 WASHINGTON AVE                                                                             BUFFALO         NY    14217‐1905
FRANK J LUKASIK                                    1317 HUNTINGTON DR                                                                            COLUMBIA        TN    38401‐6215
FRANK J LUKOWSKI                                   PO BOX 323                                                                                    AUBURN          MI    48611‐0323
FRANK J MACEK                                      1745 OAK                                                                                      GIRARD          OH    44420‐1021
FRANK J MACHALEK                                   1621 DOWNING AVE                                                                              WESTCHESTER     IL    60154‐4204
FRANK J MACIAG                                     5700 WASHBURN ROAD                                                                            VASSAR          MI    48768‐8940
FRANK J MACK JR                                    343 S MAIN ST                                                                                 ALBION          NY    14411‐1602
FRANK J MAGUIRE                                    20 PARK PLACE                                                                                 FLORAL PARK     NY    11001‐2122
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Name                                             Address1                              Address2                Address3        Address4          City               State Zip

FRANK J MANENTE                                   34 ENFIELD ROAD                                                                                COLONIA            NJ    07067‐4116
FRANK J MARCELLA                                  48876 REMER                                                                                    UTICA              MI    48317‐2566
FRANK J MARCELLA & ROSE H MARCELLA JT TEN         48876 REMER                                                                                    UTICA              MI    48317‐2566
FRANK J MARCONE                                   941 LINDA VISTA DRIVE                                                                          WEST CHESTER       PA    19380‐6027
FRANK J MARICICH                                  16921 BLOOMFIELD CT                                                                            NEVADA CITY        CA    95959‐9214
FRANK J MARSIGLIA                                 775 G ST                                                                                       PASADENA           MD    21122‐4507
FRANK J MASCITTI                                  553 MCHENRY RD APT 245                                                                         WHEELING           IL    60090‐9238
FRANK J MASSARI                                   2009 HIGHLAND AVE                                                                              S GREENSBURG       PA    15601‐5514
FRANK J MCHUGH TOD ERIN N MCHUGH                  1310 MADISON LANE                                                                              FLORISSANT         MO    63031‐2628
FRANK J MCHUGH TOD MEGAN M MCHUGH                 1310 MADISON LANE                                                                              FLORISSANT         MO    63031‐2628
FRANK J MCHUGH TOD RYAN P MCHUGH                  1310 MADISON LANE                                                                              FLORISSANT         MO    63031‐2628
FRANK J MECHLINSKI JR                             13276 OLD WYE MILLS RD                                                                         WYE MILLS          MD    21679‐2020
FRANK J MECHLINSKI JR & NORMA E MECHLINSKI JT TEN 13276 OLD WYE MILLS RD                                                                         WYE MILLS          MD    21679‐2020

FRANK J MELARAGNO                                995 MEDINAH TERR                                                                                COLUMBUS           OH    43235‐5028
FRANK J MIELNECZEK JR                            N6926 SANDSTONE DR                                                                              MAUSTON            WI    53948‐9448
FRANK J MIKAC                                    4117 RODEO DR                                                                                   SYLVANIA           OH    43560‐3281
FRANK J MIX                                      1303 CARDIGAN                                                                                   LAKE ORION         MI    48035
FRANK J MODUGNO CUST JOHN F MODUGNO UTMA IL      121 ROSE DR                                                                                     BLOOMINGDALE       IL    60108‐1021

FRANK J MONGETTA & JOAN H MONGETTA JT TEN        312 W HILTON DR                                                                                 BOULDER CREEK      CA    95006‐9207
FRANK J MOONEY                                   13 EDGEWATER PLACE                                                                              MANCHESTER         NJ    08759‐6801
FRANK J MORELLO                                  11413 HICKORY ROAD                                                                              OMAHA              NE    68144‐1731
FRANK J MURNANE JR & JACQUELINE C MURNANE JT     607 NW AVE                                                                                      NORTHLAKE          IL    60164‐1301
TEN
FRANK J MUSIELAK                                 1213 FRASER                                                                                     BAY CITY           MI    48708‐7953
FRANK J NACCARATO                                12345 CHARLENE LANE                   TECUMSEH                                N9K 1A6 CANADA
FRANK J NEMANICH JR                              22863 W LORRAINE AVE                                                                            PLAINFIELD         IL    60544‐9035
FRANK J NETZEL                                   440 PINEVIEW DR                                                                                 LAKE ODESSA        MI    48849‐6211
FRANK J NEVIEW                                   903 N DEAN                                                                                      BAY CITY           MI    48706‐3615
FRANK J NITA                                     1 INVERNESS COURT                                                                               MONROE TWP         NJ    08831‐2700
FRANK J O'SHINSKY                                215 HAWTHORNE ST                                                                                CANONSBURG         PA    15317‐1109
FRANK J OLOZAGA                                  2860 SW 22ND AVE                                                                                MIAMI              FL    33133‐3949
FRANK J ORLANDO & MRS ANNE ORLANDO JT TEN        16 LEISURE LN                                                                                   SEWELL             NJ    08080‐2188
FRANK J ORSINI & MRS BARBARA A ORSINI JT TEN     C/O ROSSI                             535 SOUTH ST APT 14‐1                                     FITCHBURG          MA    01420‐6278
FRANK J OSTROWSKI                                34154 BIRCHWAY CIRCLE                                                                           STERLING HEIGHTS   MI    48312‐5300

FRANK J PATRICK                                  7366 SIERRA MADRE TR                                                                            BOARDMAN           OH    44512‐5531
FRANK J PERFETTI                                 1921 NE ACAPULCO                                                                                JENSEN BEACH       FL    34957‐6650
FRANK J PERRY                                    15 COUNTRY CLUB RD                                                                              WILLINGBORO        NJ    08046‐3503
FRANK J PETELINSEK                               611 E OAK ST                                                                                    OAK CREEK          WI    53154‐1124
FRANK J PEZZANO                                  726 MAURO CIR SE                                                                                WARREN             OH    44484‐3739
FRANK J PHILLIPS JR                              13728 COMMONWEALTH                                                                              SOUTHGATE          MI    48195‐1975
FRANK J PINKERTON JR                             RR 3 BOX 305                                                                                    HARVEYS LAKE       PA    18618‐9644
FRANK J PLACITO                                  3315 KAILEEN CIR N E                                                                            PALM BAY           FL    32905‐3035
FRANK J POLASEK                                  67268 BLUE SCHOOL ROAD                                                                          CONSTANTINE        MI    49042‐9713
FRANK J PORTER & JOANNE PORTER JT TEN            143 GUILLARD RD                                                                                 PROSPECT           PA    16052‐2701
FRANK J PUCCIO                                   32 OAK ST                                                                                       OAKFIELD           NY    14125‐1144
FRANK J RAFKO                                    5567 CENTRAL DR                                                                                 MONROE             MI    48161‐3677
FRANK J RAMSKI & NETTY A RAMSKI JT TEN           903 REDWING DR                                                                                  GENEVA             IL    60134‐3145
FRANK J RAYMOND & MRS IRENE E RAYMOND JT TEN     1233 SUNNYSIDE                                                                                  BERKELEY           IL    60163‐1228

FRANK J RAYMOND TOD DENISE RAYMOND SUBJECT TO 1233 SUNNTSIDE DR                        BERKELEY                                                  HILLSIDE           IL    60162
STA TOD RULES
FRANK J REDIKER JR                            35619 CANDLEWOOD DRIVE                                                                             STERLING HEIGHTS   MI    48312‐4121

FRANK J REED JR                                  21271 WEST HWY 40 #17                                                                           DUNNELLON          FL    34431‐6028
FRANK J REXING & DOLORES M REXING JT TEN         291 E GLADYS AVE                                                                                ELMHURST           IL    60126‐1900
FRANK J RICCETTE                                 25 E GARIBALDI AVE                                                                              NESQUEHONING       PA    18240‐1109
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Name                                                 Address1                              Address2             Address3           Address4          City            State Zip

FRANK J ROMEO                                        116 E MULLICA RD                                                                                LTL EGG HBR     NJ    08087
FRANK J ROSITANI                                     1825 LODGEPOLE RD                                                                               SAN MARCOS      CA    92069‐5409
FRANK J RUSSELL                                      900 WILDWOOD                                                                                    PLEASANT HILL   MO    64080‐6554
FRANK J RUSSO                                        4223 CALKINS RD                                                                                 YOUNGSTOWN      NY    14174‐9602
FRANK J RZASA III                                    6310 E VERA CREST DR                                                                            LONG BEACH      CA    90815‐4745
FRANK J SAMUELS & SHARON SAMUELS JT TEN              1842 MISSION HILLS LANE                                                                         NORTHBROOK      IL    60062‐5758
FRANK J SANSEVERA                                    PO BOX 252                                                                                      CROTON‐ON‐HUD   NY    10520‐0252
FRANK J SANTOVIZ                                     107 S KNIGHT RD                                                                                 MUNGER          MI    48747‐9716
FRANK J SAPIENZA CUST FRANCIS J SAPIENZA UTMA CA     30 LANCASTER CT                                                                                 BURR RIDGE      IL    60521‐7931

FRANK J SAVEL III                                    10294 WILSON MILLS RD                                                                           CHARDON         OH    44024‐9781
FRANK J SCHMETZ JR                                   211 CAMINO SINUOSO                                                                              SCOTTS VALLEY   CA    95066‐4701
FRANK J SCHNEIDER                                    400 GROVELAND AVE                     APT 2013                                                  MINNEAPOLIS     MN    55403‐3205
FRANK J SCIRTO                                       285 BEATTIE AVE APT 3                                                                           LOCKPORT        NY    14094‐5641
FRANK J SESSA & JULIA T SESSA JT TEN                 LEDGEROCK GDN APTS                    56‐3 MANVILLE RD                                          PLEASANTVILLE   NY    10570‐2219
FRANK J SHAW & EUNICE A SHAW JT TEN                  200 LYNCH AVE                                                                                   SYRACUSE        NY    13207‐2129
FRANK J SHULMAN                                      9225 LIMESTONE PL                                                                               COLLEGE PARK    MD    20740‐3943
FRANK J SIENKIEWICZ & ELIZABETH A SIENKIEWICZ JT     730 N JEFFERSON AVE                                                                             SARASOTA        FL    34237‐4402
TEN
FRANK J SIENKIEWICZ & MARY L SIENKIEWICZ JT TEN      2415 CORRELL DR                                                                                 LAKE ORION      MI    48360‐2259

FRANK J SILVA & ROBERTA E SILVA JT TEN               RR 2 BOX 158                                                                                    FORT BRANCH     IN    47648‐9652
FRANK J SISK & CAROLYN M SISK JT TEN                 262 PERRY LYNCH RD                                                                              MILLINGTON      MD    21651‐1525
FRANK J SLANDA JR & MARY ANN SLANDA JT TEN           55221 ESTER                                                                                     UTICA           MI    48315‐1035
FRANK J SOBECK                                       86 MANOR DRIVE ROAD 7                                                                           SHAVERTOWN      PA    18708‐9602
FRANK J SOUCEK                                       135 ABBOTT CIRCLE                                                                               HARRISONBURG    VA    22801‐9027
FRANK J SPINNER                                      3250 E RIVER RD                                                                                 GRAND ISLAND    NY    14072‐1983
FRANK J STRASBURGER CUST FRANK JOSEPH                14040 STATE ROUTE 31                                                                            ALBION          NY    14411‐9301
STRASBURGER UGMA PA
FRANK J STURWOLD                                     15570 O CONNOR                                                                                  ALLEN PARK      MI    48101‐2718
FRANK J SULLIVAN JR                                  16 ELMWOOD RD                                                                                   WELLSLEY        MA    02481‐1100
FRANK J SUMMERVILLE                                  2043 BAYWOOD CT #183                                                                            LANCASTER       CA    93536‐7298
FRANK J SUVOY JR                                     28441 LEONA                                                                                     GARDEN CITY     MI    48135‐2755
FRANK J TANTILLO                                     1013 13TH ST                                                                                    NIAGARA FALLS   NY    14301‐1205
FRANK J TAVERNA                                      4493 MAJOR AVE                                                                                  WATERFORD       MI    48329‐1939
FRANK J TERRANA                                      197 N LINDEN AVENUE                                                                             WILLIAMSVILLE   NY    14221‐6620
FRANK J THOMAS & BETTY M THOMAS JT TEN               3013 STOCKTON RD                                                                                POCOMOKE CITY   MD    21851‐2629
FRANK J THOMPSON                                     5430 CYNTHIA TERRACE                                                                            BALTIMORE       MD    21206‐2927
FRANK J TOMPA                                        15665 CYNTHIA                                                                                   SOUTHGATE       MI    48195‐2012
FRANK J TOTH                                         317 OPOSSUM ROAD                                                                                SKILLMAN        NJ    08558‐2627
FRANK J TUCCILLO                                     45 MISTY PINE RD                                                                                LEVITTOWN       PA    19056‐3627
FRANK J TUCKER                                       2 A GREAT RD                                                                                    MAYNARD         MA    01754‐2017
FRANK J URBANEK                                      150 JOE HOEFFER CIR                                                                             LA GRANGE       TX    78945‐1249
FRANK J VAN COPPENOLLE                               34142 COACHWOOD                                                                                 STERLING HGTS   MI    48312‐5618
FRANK J VAN DER PRYT                                 9476 WALKER ROAD BOX 1171             MCGREGOR ON                             N0R 1J0 CANADA
FRANK J VAN DER PRYT                                 9476 WALKER RD BOX 1171               MCGREGOR ON                             N0R 1J0 CANADA
FRANK J VECCHIO                                      32 GOTHIC CIR                                                                                   AMHERST         NY    14228‐1650
FRANK J WALTON                                       1403 VERMONT ST                                                                                 SAGINAW         MI    48602‐1772
FRANK J WARREN                                       14360 HUBBELL STREET                                                                            DETRIOT         MI    48227‐4805
FRANK J WICKER                                       312‐B ALAMAHA ST                                                                                KAHULUI         HI    96732‐2430
FRANK J WILCZEWSKI & MARY JO WILCZEWSKI JT TEN       104 HAZELWOOD DR                                                                                PRUDENVILLE     MI    48651‐9579

FRANK J WILKINS                                      6106 CHIPPEWA RIDGE                                                                             PEORIA          IL    61614‐3516
FRANK J WOLENSKI                                     109 FLANDERS DR                                                                                 HILLSBOROUGH    NJ    08844‐4615
FRANK J WOLICKI                                      1704 FITZHUGH                                                                                   BAY CITY        MI    48708‐7951
FRANK J WRIGHT JR                                    5291 S IDDINGS RD                                                                               WEST MILTON     OH    45383‐8748
FRANK J YANIK JR TR UA 05/23/2001 FRANK J YANIK SR   449 LAGRANGE                                                                                    SOUTH HAVEN     MI    49090
TRUST NO 1
FRANK J YESKA                                        2378 LIBERTY RD                                                                                 SAGINAW         MI    48604‐9263
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Name                                              Address1                            Address2               Address3             Address4          City             State Zip

FRANK J ZAGROSKI                                  1 VISTA DR                                                                                        RUMFORD          RI    02916‐2112
FRANK J ZALEWSKI JR & MICHAEL G ZALEWSKI JT TEN   4961 DUCHESS DR                                                                                   STERLING HTS     MI    48310‐5158

FRANK J ZANNIE                                    427 WILDER ROAD                                                                                   HILLTON          NY    14468‐9703
FRANK J ZERETSKI                                  514 WEST 4TH STREET                                                                               MOUNT CARMEL     PA    17851‐1843
FRANK JACKSON JR                                  91 NEVADA AVENUE                                                                                  BUFFALO          NY    14211‐1640
FRANK JAMES DOLCE                                 365 MAYNARD DR                                                                                    BUFFALO          NY    14226‐2928
FRANK JAMES DUNN                                  2092 DEARING                                                                                      DETROIT          MI    48212‐2184
FRANK JAMES FALK                                  5033 COOPERS LANDING DR             APT 9                                                         KALAMAZOO        MI    49004‐6640
FRANK JAMES FLATT III                             79‐551 BUTLER BAY PL                                                                              BERMUDA DUNES    CA    92203
FRANK JAMES MAZZA                                 29 LORRIE LANE                                                                                    CLIFTON          NJ    07012‐1820
FRANK JAMES ROGERS & REBECCA DIANE LOCKE JT TEN   BOX 14192                                                                                         HALTOM CITY      TX    76117‐0192

FRANK JIMENEZ & BARBARA JIMENEZ TR JIMENEZ        237 LIVORNA HGTS RD                                                                               ALAMO            CA    94507‐1324
LIVING TRUST UA 11/19/98
FRANK JOE JR & LUCY JEAN FONG TEN COM             25303 LYNBRIAR                                                                                    SPRING           TX    77373‐6012
FRANK JOHN CAPUTO                                 3330 EDINBOROUGH WAY                APT 1101                                                      MINNEAPOLIS      MN    55435‐5917
FRANK JOHN PIEROWICZ                              31 SAINT MARYS ROAD                                                                               BUFFALO          NY    14211‐2629
FRANK JOHNSON                                     7600 FREDERICK PIKE                                                                               DAYTON           OH    45414‐1944
FRANK JOHNSON JR                                  208 ROBERTA DR                                                                                    HAMPTON          VA    23666‐2924
FRANK JOSEPH BURNS                                20245 RIVERHILL DR                                                                                CLIMTON          MI    48036‐1865
                                                                                                                                                    TOWNSHIP
FRANK JOSEPH CHELLINO                             253 W WOOD ST                                                                                     NEW LENOX        IL    60451‐1151
FRANK JOSEPH DI TUCCI                             24 SANDALWOOD DR                                                                                  PARSIPPANY       NJ    07054
FRANK JOSEPH KURZEKNABE                           11 COOK RD                                                                                        NEWARK           DE    19711‐4801
FRANK JOSEPH ZAJACZKOWSKI                         8401 BUFFALO AVE                    APT 11                                                        NIAGARA FALLS    NY    14304‐4350
FRANK JUDSON PEASE                                1392W ASH AVE                                                                                     DECATUR          IL    62526
FRANK JURECKI                                     1847 SAUNDER SETTLEMENT                                                                           NIAGARA FALLS    NY    14304‐1046
FRANK K BILLUPS                                   4301 SHREVE                                                                                       ST LOUIS         MO    63115‐2148
FRANK K CUMPER                                    6655 LANWAY RD                                                                                    KINGSTON         MI    48741‐8717
FRANK K HEFNER & ANNADELL HEFNER JT TEN           COULTER ST CHATHAM #10                                                                            OLD SAYBROOK     CT    06475‐2313
FRANK K KORTAS                                    4029 COTTONWOOD CT                                                                                LEWISBURG        TN    37091‐6694
FRANK K MILLER                                    23215 OLMSTEAD                                                                                    DEARBORN         MI    48124‐2653
FRANK K ROM & KARIN E ROM TR FRANK K ROM TRUST    1292 EAST PARKHAVEN DRIVE                                                                         SEVEN HILLS      OH    44131‐3922
UA 1/26/00
FRANK K SOUTHWORTH & DORIS B SOUTHWORTH JT        5356 SHETLAND CT                                                                                  HGHLNDS RANCH    CO    80130‐3914
TEN
FRANK K YOUNG                                     2731 MILLICENT WAY                                                                                PASADENA      CA       91107‐4443
FRANK KADYSZEWSKI JR & CLAUDIA A KADYSZEWSKI JT   20086 CHURCHILL AVE                                                                               BROWNSTWN TWP MI       48183‐5007
TEN
FRANK KALIN                                       320 ST MORITZ DR                                                                                  MONROEVILLE      PA    15146‐3732
FRANK KAMINSKY & JUNE KAMINSKY JT TEN             3103 CARFAX                                                                                       LONG BEACH       CA    90808‐4027
FRANK KARDASZ                                     PO BOX 45048                                                                                      PHOENIX          AZ    85064‐5048
FRANK KARLICHEK                                   221 OAKWOOD DR                                                                                    FLUSHING         MI    48433
FRANK KASETA FERNANDEZ                            44 ROBESON ST                                                                                     JAMAICA PLAIN    MA    02130‐2916
FRANK KASPERSKI JR                                5214 INSPIRATION LN                                                                               LAS CRUCES       NM    88011‐6944
FRANK KAVESANKY JR                                1402 RTE 9 SOUTH LOT 245                                                                          CAPE MAY COURT   NJ    08210‐2929
                                                                                                                                                    HS
FRANK KAZSUK                                      180 MADISON AVE                                                                                   PERTH AMBOY      NJ    08861‐4612
FRANK KEATON                                      11963 N SHORE DR                                                                                  HILLSBORO        OH    45133‐6203
FRANK KEISH JR                                    535 BAYONNE DRIVE                                                                                 VANDALIA         OH    45377‐2549
FRANK KENNEBREW                                   13570 SW 192 ST                                                                                   MIAMI            FL    33177
FRANK KICINSKI                                    105 GARGWAY                                                                                       MANAHAWKIN       NJ    08050
FRANK KILVINGER & LORRAINE KILVINGER JT TEN       3545 SUNNY CREST DR                                                                               BROOKFIELD       WI    53005‐2116
FRANK KINELSKI                                    34 HARRISON AVE                                                                                   MILLTOWN         NJ    08850
FRANK KLAAS                                       ADAM OPEL AG                        ADAM OPEL HAUS F5‐03   RUSSELSHEIM GERMAN   GERMANY
FRANK KNIGHT JR                                   16793 FM 279                                                                                      TYLER            TX    75704‐5225
FRANK KOCH 2ND                                    10 KENSINGTON DRIVE                                                                               HUNTINGTON       NY    11743‐3941
FRANK KONDORAY                                    8401 S MISSION WOOD CIR                                                                           MIRAMAR          FL    33025‐2921
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FRANK KOVAR                                      27701 CAMDEN WAY                                                                                SUN CITY           CA    92586
FRANK KREYDICH                                   PO BOX 543                                                                                      OAK LAWN           IL    60454‐0543
FRANK KROM                                       8 SOUTH MICHIGAN AVE                  ROOM 1310                                                 CHICAGO            IL    60603‐3312
FRANK KURZ & RUTH M KURZ JT TEN                  1575 BELVIDERE STREET                 APT 123                                                   EL PASO            TX    79912‐2635
FRANK KWACZ                                      45 EAGLE RD                                                                                     MARLBORO           NJ    07746‐1810
FRANK L AGUIRRE                                  3362 GREENS MILL RD                                                                             SPRING HILL        TN    37174‐2116
FRANK L ALLEN JR                                 4590 GRESHAM RD                                                                                 DOUGLASVILLE       GA    30134‐4121
FRANK L ANDREWS                                  2203 E MOORE RD                                                                                 SAGINAW            MI    48601‐9343
FRANK L BABIC                                    504 ARCADIA LANE                                                                                MONROE             NC    28122
FRANK L BAYERQUE JR                              1346 EAGLE VIEW DR                                                                              HEBRON             KY    41048‐8410
FRANK L BEAMS                                    13969 MARQUESAS WAY APT 114B                                                                    MARINA DL REY      CA    90292‐8018
FRANK L BOULTER & DAVID S BOULTER JT TEN         20491 WELD CO RD 44                                                                             LA SALLE           CO    80645
FRANK L BOYD                                     195 RAINBOW CIR                                                                                 CLOVER             SC    29710‐8985
FRANK L BOYER                                    212 BOYES LANE                                                                                  SENECA             MO    64865‐8578
FRANK L BRUSH JR                                 223 SOUTH RIVERHILLS DRIVE                                                                      TEMPLE TERRACE     FL    33617‐7240
FRANK L BURCAR                                   8350 PLUMBROOK RD                     APT 158                                                   STERLING HTS       MI    48313‐4767
FRANK L BURCAR JR                                16400 FAULMAN                                                                                   CLINTON TWNSHP     MI    48035‐2220

FRANK L BURCAR JR & KAREN EMILY HARTMAN BURCAR 16400 FAULMAN                                                                                     CLINTON TWNSHP     MI    48035‐2220
JT TEN
FRANK L BURSE & KIMBERLY B GALLAGHER & STEVEN L 40 GEORGIA RD                                                                                    PENNSVILLE         NJ    08070
BURSE JT TEN
FRANK L CADWALLADER                             526 MIDDALE                                                                                      DUNCANVILLE      TX      75116‐3230
FRANK L COLE                                    10701 S EASTERN AVE                    APT 418                                                   HENDERSON        NV      89052‐2991
FRANK L CONKLE                                  1012 SKYVIEW DR                                                                                  DAYTON           OH      45449‐1641
FRANK L CORLEY                                  2065 IVY LN                                                                                      CUMMINGS         GA      30041‐9068
FRANK L COUCH JR & BERTHA M COUCH JT TEN        6022 BERWYN                                                                                      DEARBORN HEIGHTS MI      48127‐2904

FRANK L DALGLEISH                                1301 E 11TH ST                                                                                  RENO               NV    89512‐2913
FRANK L DANIELS & MRS GOLDA DANIELS JT TEN       2933 PUESTA DEL SOL                                                                             SANTA BARBARA      CA    93105‐3007
FRANK L DEMELLO & MRS ALICE E DEMELLO JT TEN     PO BOX 128                                                                                      POLLOCK PINES      CA    95726‐0128

FRANK L DENMAN                                   1400 SAMUEL WAY                                                                                 RENO               NV    89509‐1159
FRANK L DRIVER                                   PO BOX 192                                                                                      JERSEY CITY        NJ    07303‐0192
FRANK L DRUST                                    17 NIMITZ STREET                                                                                ISELIN             NJ    08830‐2329
FRANK L ESSER                                    2166 LOGAN DR                                                                                   STERLING HEIGHTS   MI    48310‐2853

FRANK L FERRY                                    605 NORTH E ST                                                                                  HAMILTON           OH    45013‐2931
FRANK L FOX                                      1041 GERALD MILLER ROAD                                                                         WEST BRANCH        MI    48661‐9753
FRANK L GARZA                                    2690 BLUE WING RD                     LOT 2                                                     SAN ANTONIO        TX    78221‐9538
FRANK L GLOZERIS                                 5332 N DELPHIA #107                                                                             CHICAGO            IL    60656‐2503
FRANK L HARRIS                                   PO BOX 23040                                                                                    DETROIT            MI    48223‐0040
FRANK L HAVRANEK & DOROTHY HAVRANEK JT TEN       2119 BRISTOL AVE                                                                                WESTCHESTER        IL    60154‐4407

FRANK L HEWLETT JR & ARLENE M HEWLETT JT TEN     35 W 6TH ST                                                                                     NEW CASTLE         DE    19720‐5068

FRANK L HIRE & KATHLEEN M HIRE JT TEN            5024 CROFTSHIRE DR                                                                              KETTERING          OH    45440‐2402
FRANK L HOLMES JR                                1303 NANTO RD NE                                                                                MOSES LAKE         WA    98837
FRANK L ISAAC                                    14413 SCIOTO AVE                                                                                EAST CLEVELAND     OH    44112‐3745
FRANK L JONES                                    7917 HOLLYHOCK                                                                                  JENISON            MI    49428‐8539
FRANK L KOZAN                                    1218 SPRING AVE                                                                                 BALTO              MD    21237‐2835
FRANK L KRAJENKA                                 4936 HILLOCK                                                                                    HIGHLAND           MI    48356‐2043
FRANK L KRNACH                                   37947 LAKE SHORE BLVD                                                                           WILLOUGHBY         OH    44094‐7055
FRANK L KUZIARA                                  23622 VIA CORSA                                                                                 VALENCIA           CA    91355‐3211
FRANK L LAYTON JR                                4251 S 100 W                                                                                    ANDERSON           IN    46013‐3631
FRANK L LEVINE CUST ERIN S LEVINE UTMA IL        1044 SHADY TREE LN                                                                              WHEELING           IL    60090‐5723
FRANK L LINZMAYER JR & MRS EILEEN LINZMAYER JT   19 PORT ROYAL DR                                                                                TOMS RIVER         NJ    08757‐3944
TEN
FRANK L LIPKA                                    550 EVANS RD                                                                                    ATTICA             MI    48412‐9733
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FRANK L MARCO                                       13518 CHANDLER BLVD                                                                             SHERMAN OAKS      CA    91401‐5231
FRANK L MARTINEZ                                    10102 SHADOWRIDGE DR                                                                            OKLAHOMA CITY     OK    73159‐7531
FRANK L MARZIALE                                    7159 OPAL DR                                                                                    LIVERPOOL         NY    13088‐5455
FRANK L MERCATANTE                                  3021 KALAMAZOO SE                                                                               GRAND RAPIDS      MI    49508‐1461
FRANK L MYERS                                       1203 GLADSTONE PL                                                                               ALEXANDRIA        VA    22308‐1740
FRANK L NEWTON                                      27648 MANSTROM DR                                                                               LAWTON            MI    49065‐9635
FRANK L NOGRASEK                                    1118 MEADOWVIEW                                                                                 WATERFORD         MI    48327‐2962
FRANK L OVERTON                                     2936 WINTHROP AVE                                                                               INDIANAPOLIS      IN    46205‐4041
FRANK L PALMISANO                                   28872 S E HWY 19                                                                                OLD TOWN          FL    32680
FRANK L PATRICK                                     14500 DELANO STEELE                                                                             ELBA              NY    14058‐9604
FRANK L PAYTON                                      63001 E 210 RD                                                                                  FAIRLAND          OK    74343‐2213
FRANK L PINER                                       9528 PLAINVIEW                                                                                  DETROIT           MI    48228‐1680
FRANK L REAUME                                      19591 HARMAN ST                                                                                 MELVINDALE        MI    48122‐1607
FRANK L REMBISZ SR & LORRAINE A REMBISZ JT TEN      5012 CANIFF                                                                                     HAMTRAMCK         MI    48212‐3105

FRANK L ROBINSON CUST FRANK HOWARD ROBINSON         207 SOUTH RIVER GLEN DR                                                                         MORGANTON         NC    28655‐6412
UGMA OH
FRANK L ROCK                                        243 WIGHT ST                                                                                    ELSIE             MI    48831
FRANK L ROMINES                                     2371 CANERDAY FLAT ROAD                                                                         HECTOR            AR    72843
FRANK L SCALZA                                      38 WANDERING DAISY DR                                                                           OKATIE            SC    29909‐6167
FRANK L SCHRIMSHER                                  314 SLOANE SQUARE WAY                                                                           CHARLOTTE         NC    28211‐2971
FRANK L SCHWARTZ                                    5458 HOFFMAN                                                                                    ROME              OH    44085‐9624
FRANK L SCHWARZ JR & CAROLYN B SCHWARZ JT TEN       1930 WIGHTMAN                                                                                   PITTSBURGH        PA    15217‐1549

FRANK L SLAUGHTER JR                                3577 VINEYARD SPRINGS COURT                                                                     ROCHESTER HILLS   MI    48306‐2254
FRANK L SPIKER                                      PO BOX 544                                                                                      BUNKER HILL       WV    25413‐0544
FRANK L SWIFT JR                                    3401 SE 30 TERR                                                                                 OCALA             FL    34471‐6821
FRANK L TISCHER JR                                  6741 WEST 3500 COUTH                                                                            WETS VALLEY       UT    84128
FRANK L VAN HORN & GINA L VAN HORN JT TEN           2409 BABCOCK ROAD                                                                               VIENNA            VA    22181
FRANK L VIGIL                                       14360 HEMLOCK ST                                                                                SAN LEANDRO       CA    94579‐1134
FRANK L VINEYARD                                    429 N THOMPSON ST                     PO BOX 766                                                CARRIER MILLS     IL    62917‐0766
FRANK L WASKOSKI                                    14283 N STATE RD                                                                                OTISVILLE         MI    48463‐9712
FRANK L WATTS                                       41112 S MC MAHON CIR                                                                            NOVI              MI    48375‐3441
FRANK L WETZLER                                     1201 PINE CIRCLE                                                                                BELLEFONTE        PA    16823‐2548
FRANK L WHITE                                       PO BOX 706                                                                                      BASALT            CO    81621‐0706
FRANK L WILLIAMS                                    207 PENNIWELL DRIVE                                                                             NEW CASTLE        DE    19720‐1837
FRANK L WILLIAMS 3RD                                1508 W WINDY WILLOW DR                                                                          ST AUGUSTINE      FL    32092‐5098
FRANK LABELLE JR & ELLEN LABELLE JT TEN             3514 DUFF DR                                                                                    FALLS CHURCH      VA    22041‐1415
FRANK LAGOLA                                        6 FREEPORT RD                                                                                   NEW CASTLE        DE    19720‐3017
FRANK LANE                                          3712 HARTWOOD DR                                                                                GRANBURY          TX    76049‐5801
FRANK LANUTO & CATHERINE LANUTO JT TEN              6 STUART COURT                                                                                  S HUNTINGTON      NY    11746‐4237
FRANK LAPROCINA JR & RUTH E LAPROCINA JT TEN        1620 LANGDON DR                                                                                 CENTERVILLE       OH    45459‐5009

FRANK LAWRENCE MOORE 3RD                            23061 N 104TH AVE                                                                               PEORIA            AZ    85382‐2765
FRANK LECHOTA                                       2147 E PINON DR                                                                                 TUCSON            AZ    85706‐2451
FRANK LEE & LIFEN LEE JT TEN                        5911 LYNN RD                                                                                    TAMPA             FL    33624‐4801
FRANK LEE COX                                       BOX 385                                                                                         ARAB              AL    35016‐0385
FRANK LEE JOHNSON                                   1103 SAM BASTON DRIVE                                                                           EVANS             GA    30809‐5025
FRANK LEMANEK & DOLORES LEMANEK JT TEN              11520 EDGETON                                                                                   WARREN            MI    48093‐6407
FRANK LEON WILLIAMS 2ND                             PO BOX 554                                                                                      MC KINNEY         TX    75070‐0554
FRANK LERF JR & ELLEN S LERF TR UA 09/14/90 FRANK   2002 LAKE AVE APT 123                                                                           SCOTCHPLAINS      NJ    07076‐3024
LERF JR LIVINGTRUST
FRANK LEROY CALDWELL                                2309 WOLLASTON ROAD                                                                             WILMINGTON        DE    19808‐3749
FRANK LICHTENSTEIGER CUST DANIELLE SHANAE RUTH      C/O PAULA TURNER 2523 SECOND AVE                                                                LOS ANGLES        CA    90018
UGMA NY
FRANK LICHTENSTEIGER CUST DEMI LAUREN WILLIAMS      CO PAULA TURNER 2523 SECOND AVE                                                                 LOS ANGLES        CA    90018
UGMA NY
FRANK LICHTENSTEIGER CUST DOMINIQUE LAUREN          C/O PAULA TURNER 2523 SECOND AVE                                                                LOS ANGLES        CA    90018
WILLIAMS UGMA NY
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FRANK LICHTENSTEIGER CUST JOHN HAAG‐GALLIN                                                                                                       SEASIDE          CA    93955
UGMA NY
FRANK LICHTENSTEIGER CUST KENDALL CHEYENNE       4220 5TH AVE APT 3R                                                                             BROOKLYN         NY    11232‐3625
KEITH‐MCCRAY UGMA NY
FRANK LICHTENSTEIGER CUST LARRY HALLIBURTON      C/O PAULA TURNER 2523 SECOND AVE                                                                LOS ANGLES       CA    90018
UGMA NY
FRANK LICHTENSTEIGER CUST MIRCO HAAG‐GALLIN      1070 HABILAND TERRACE                                                                           SEASIDE          CA    93955‐6022
UGMA NY
FRANK LICHTENSTEIGER CUST NIGEL BAYNES UGMA NY   233 WEST 134TH STREET                                                                           NEWYORK CITY     NY    10030‐3026

FRANK LICHTENSTEIGER CUST VAUGHN RAIMONE KEITH 4220 5TH AVE APT 3R                                                                               BROOKLYN         NY    11232‐3625
UGMA NY
FRANK LILL & SON INC                           656 BASKET ROAD                                                                                   WEBSTER          NY    14580‐9764
FRANK LINDEMAN                                 BOX 434                                                                                           NEW VERNON       NJ    07976‐0434
FRANK LOCKHART                                 1134 HIGH POINT DR NW                                                                             WALKER           MI    49544‐7340
FRANK LOCKHEIMER                               1294 GLENWOOD AVE                                                                                 SAN JOSE         CA    95125‐3835
FRANK LOIA                                     18 HILLSIDE AVE                                                                                   CEDAR GROVE      NJ    07009‐1415
FRANK LONG                                     2726 TRAMWAY CIR NE                                                                               ALBUQUERQUE      NM    87122‐1296
FRANK LONGO & IRMA LONGO JT TEN                120 SALEM RD                                                                                      BRICKTOWN        NJ    08724‐3653
FRANK LOPEZ JR                                 400 E CENTER RD                                                                                   ESSEXVILLE       MI    48732‐9780
FRANK LORENCE                                  9600 WHIPPOORWILL RD                                                                              DIAMOND          OH    44412‐9778
FRANK LOWMAN                                   705 VIA HORCADA                                                                                   PALOS VERDES     CA    90274‐1243
                                                                                                                                                 ESTAT
FRANK LUNA                                       3510 CHEROKEE                                                                                   FLINT            MI    48507‐1944
FRANK M BACKES III                               110 PINEOAK DRIVE                                                                               COVINGTON        LA    70433‐5333
FRANK M BALOGH                                   4008 INDIAN RIVER ST                                                                            SPRING HILL      FL    34609‐0897
FRANK M BATOR                                    7007 CLINGAN ROAD                     UNIT 111                                                  POLAND           OH    44514‐2481
FRANK M BEVERSDORFF                              3308 OAKLAWN                                                                                    VICTORIA         TX    77901‐7436
FRANK M BROWN                                    APT 1B                                1111 INDIAN TRAILS                                        ST LOUIS         MO    63132‐3170
FRANK M BURGOS & AUGUSTINA BURGOS JT TEN         33 CHURCH ST                                                                                    MOUNTAIN VIEW    CA    94041‐2382
FRANK M BUTLER                                   1516 STUART DR NE                                                                               GRAND RAPIDS     MI    49525‐2336
FRANK M CAPUANO                                  105 WASHINGTON AVE                                                                              ELSMERE          DE    19805‐1340
FRANK M COLE & CLARISSA COLE JT TEN              1710 HEERN DR                                                                                   JONESBORO        AR    72401‐6003
FRANK M DECOCCO & MARILYN J DECOCCO JT TEN       417 BLUEBIRD DR                                                                                 MONROE TWP       NJ    08831‐5574

FRANK M EICHLER & MRS MARY A EICHLER JT TEN      7089 LONGVIEW DRIVE                                                                             HAMELTON         OH    45011‐7279
FRANK M EMERY                                    671 PROSPECT ROAD                                                                               BEREA            OH    44017‐2776
FRANK M ENGLISH JR                               PO BOX 6634                                                                                     LAWTON           OK    73506‐0634
FRANK M FARGO & ROSE FARGO HUSBAND & WIFE        16217 KITTRIDGE ST                                                                              VAN NUYS         CA    91406‐5815
COMMUNITY PROPERTY
FRANK M FRIEDLAENDER TR FRIEDLAENDER TRUST       47 LINARIA WY                                                                                   PORTOLA VALLEY   CA    94028‐7425
10/16/86
FRANK M GERTISER                                 1426 BALDWIN ROAD                                                                               LAPEER           MI    48446‐9644
FRANK M GOLE                                     6711 HILL PARK COURT                                                                            GREENDALE        WI    53129‐2717
FRANK M GRACZYK & MATTHEW D GRACZYK JT TEN       814 COLUMBIA LANE                                                                               DARIEN           IL    60561‐3812

FRANK M GRACZYK & PATRICIA A GRACZYK TEN COM     814 COLUMBIA LANE                                                                               DARIEN           IL    60561‐3812

FRANK M GRACZYK CUST KATHERINE J GRACZYK UTMA    814 COLUMBIA LANE                                                                               DARIEN           IL    60561‐3812
IL
FRANK M GRIBBLE                                  218 VAN DEUSEN ST                                                                               MADISON          WI    53715‐2065
FRANK M GRIMALDI                                 1192 LAKE MACACHEE DRIVE                                                                        BOARDMAN         OH    44511
FRANK M GUTIERREZ                                15548 COLBALT ST                                                                                SYLMAR           CA    91342
FRANK M HAMON JR                                 646 S 15TH ST                                                                                   SEBRING          OH    44672‐2053
FRANK M JOHNSON                                  1010 PENN STORE RD                                                                              SPENCER          VA    24165‐3276
FRANK M KEANE                                    468 NORTHWOOD DR                                                                                GUILFORD         CT    06437‐1157
FRANK M KMET & PATRICIA J KMET JT TEN            1604 61ST STREET                                                                                DOWNERS GROVE    IL    60516‐1756
FRANK M KOLINSKI JR                              6171 SCOTT RD                                                                                   MT MORRIS        MI    48458‐9725
FRANK M MARANO                                   17 WINTHROP ST                                                                                  BRISTOL          CT    06010‐5676
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FRANK M MOORE & BARBARA G MOORE TR MOORE     3201 COLUMBUS ST                     APT 131                                                   BAKERSFIELD     CA    93306‐2772
REVOCABLE TRUST UA 12/13/94
FRANK M MORSE                                3277 LAURIA RD                                                                                 BAY CITY        MI    48706‐1195
FRANK M MUNOZ                                9765 SALOMA AVE                                                                                NORTHILLS       CA    91343‐2435
FRANK M NAGATA                               1464 ONIPAA STREET                                                                             HONOLULU        HI    96819‐1734
FRANK M ONAK                                 5340 S LARAMIE AVE                                                                             CHICAGO         IL    60638‐3044
FRANK M ONEIL                                8385 SW 109 ST                                                                                 OCALA           FL    34481‐9745
FRANK M PHIFER                               7950 S KENNETH AVE                                                                             CHICAGO         IL    60652‐2104
FRANK M PICKENS                              943 CLIFTON RD                                                                                 ATLANTA         GA    30307‐1225
FRANK M PIRTZ                                959 ST RT 534 NW                                                                               NEWTON FALLS    OH    44444‐9577
FRANK M RILEY                                P O BOX 835                                                                                    YELLOW SPGS     OH    45387‐0835
FRANK M RODRIGUEZ                            1151 MELDON AVE                                                                                DONORA          PA    15033
FRANK M ROWAN                                3993 TALLMADGE RD                                                                              ROOTSTOWN       OH    44272‐9223
FRANK M RUIZ                                 2486 BANDON DR                                                                                 GRAND BLANC     MI    48439‐8154
FRANK M SCHERER JR                           1121 E WINDEMERE AVE                                                                           ROYAL OAK       MI    48073‐5610
FRANK M SCHERMAN                             7829 ALLISON AVE                                                                               DAYTON          OH    45415‐2202
FRANK M SCHMITT EX EST MARIE SIMON           7 PAUL DR                                                                                      SUCCASUNNA      NJ    07876
FRANK M SHARPE                               42 AMSDEN ST                                                                                   ARLINGTON       MA    02474‐5502
FRANK M SHRIVER                              C/O PAULINE SHRIVER                  457 COUNTY ROAD 40                                        SULLIVAN        OH    44880‐9727
FRANK M SIMPSON                              221 CHERRY DRIVE                                                                               BRANDON         MS    39042‐4025
FRANK M STOOS                                1317 MORNINGSIDE AVENUE                                                                        SIOUX CITY      IA    51106‐1711
FRANK M SULLIVAN                             2305 BUCCANEER BLVD                                                                            GREENBACKVILE   VA    23356
FRANK M SUMARA                               13318 MORSE ST                                                                                 CEDAR LAKE      IN    46303‐9413
FRANK M TORRENCE                             42054 MONTROY                                                                                  STERLING HTS    MI    48313‐2593
FRANK M VARNER JR                            9203 CINNAMON HILL                   APT 103                                                   SAN ANTONIO     TX    78240
FRANK M WHITE                                1121 HOOVER ROAD                                                                               NICHOLASVILLE   KY    40356‐9561
FRANK M WYSONG & VEDA M WYSONG JT TEN        102 COUNTRY CLUB DR                                                                            NEVADA          MO    64772‐3026
FRANK M ZORC                                 5913 MONICA LANE                                                                               GARFLD HTS      OH    44125‐5103
FRANK MACIA                                  24613 BROADWAY AVE                                                                             OAKWOOD VLLGE   OH    44146‐6340
FRANK MADONIA CUST NENA KATHRYN MADONIA      932 SAINT LYONN CTS                                                                            MARIETTA        GA    30068‐4532
UTMA GA
FRANK MAHKOVIC & STANLEY MACKOVIC JT TEN     635 BETULA ST                                                                                  JOLIET          IL    60436‐2646
FRANK MALIFRANDO                             500 TUCKAHOE ROAD                                                                              YONKERS         NY    10710‐5717
FRANK MALONEY IV                             7311 DURWOOD CRESENT                                                                           RICHMOND        VA    23229
FRANK MANCINA                                14700 GARY LN                                                                                  LIVONIA         MI    48154‐7103
FRANK MARINO                                 811 SMITH ST                                                                                   LINDEN          NJ    07036‐6413
FRANK MARQUEZ                                2039 MONROE ST                                                                                 SANTA CLARA     CA    95050‐3575
FRANK MARTIN KOFKEE                          51 NORWOOD AVE                                                                                 ROCHESTER       NY    14606‐3717
FRANK MASTRO                                 6 SPRUCEWOOD LANE                                                                              ROCHESTER       NY    14624
FRANK MATEJEK                                8856 WOODSMAN                                                                                  WASHINGTON      MI    48094‐1630
FRANK MATHEW ADLER                           178 OAKSIDE DR                                                                                 SMITHTOWN       NY    11787‐1132
FRANK MATYUS                                 11 PETRONELLA PKWY                   FONTHILL ON                             L0S 1E0 CANADA
FRANK MAY                                    126 PINECREST DR NE                                                                            MILLEDGEVILLE   GA    31061‐9351
FRANK MC BRIDE                               705 BRIARLEIGH ROAD                                                                            FLORENCE        SC    29501‐8853
FRANK MC CAIN & MARILYN J MC CAIN JT TEN     23 HIAWATHA AVE                                                                                OCEANPORT       NJ    07757‐1605
FRANK MC GEE JR                              6167 FIELD ST                                                                                  DETROIT         MI    48213‐2456
FRANK MC GRATH                               8571 CLIFFRIDGE AVENUE                                                                         LA JOLLA        CA    92037‐2112
FRANK MCCLURE & RUTH MCCLURE JT TEN          2318 PALMETTO DRIVE                                                                            TROY            MI    48098‐4000
FRANK MCGHEE JR                              7707 BANKSIDE DR                                                                               HOUSTON         TX    77071‐1803
FRANK MEDEL                                  3653 E TOWNLINE RD                                                                             BIRCH RUN       MI    48415‐9076
FRANK MENZEL                                 4449 HARP DR                                                                                   LINDEN          MI    48451‐9040
FRANK META                                   147 HARPER AVE                                                                                 IRVINGTON       NJ    07111‐1750
FRANK MICCOLIS                               36388 BARNARD                                                                                  NEWARK          CA    94560‐2415
FRANK MICELI                                 955 GROVE ST                                                                                   MEADVILLE       PA    16335‐2939
FRANK MICHAEL KOZLEVCAR JR & MRS GERALDINE   323 DELAWARE ST                                                                                FOREST CITY     PA    18421‐1403
KOZLEVCAR JT TEN
FRANK MICKUS                                 4735 S CENTRAL AVE                                                                             CHICAGO         IL    60638‐1530
FRANK MIELE & VICTORIA MIELE JT TEN          24 BAY HILL RD                                                                                 JACKSON         NJ    08527
FRANK MIROBALLI                              150 E RESERVOIR ROAD                                                                           WOODSTOCK       VA    22664‐1502
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FRANK MISTRETTA                                 55 NETHERWOOD                                                                                   EDISON            NJ    08820
FRANK MONDORO                                   2 WYCKOFF WA                                                                                    HILLSBOROUGH      NJ    08844‐4376
FRANK MOORE                                     6423 CLIFTON FORGE CIRC                                                                         COTONSVILLE       MD    21228‐2617
FRANK MOORE JR                                  1305 ILLINOIS                                                                                   FT WORTH          TX    76104‐5208
FRANK MORGAN                                    1300 MOUNT ELLIS RD                                                                             BOZEMAN           MT    59715‐9249
FRANK MORGAN CUST MARK MORGAN UGMA KAN          PO BOX 129                                                                                      SHAWNEE MISSION   KS    66201‐0129

FRANK MORGAN CUST THOMAS MORGAN UGMA KAN        PO BOX 129                                                                                      SHAWNEE MISSION KS      66201‐0129

FRANK MOSS                                      23861 GREENLAWN AVE                                                                             BEACHWOOD         OH    44122
FRANK MOTTEK                                    600 S CURSON AVE #353                                                                           LOS ANGELES       CA    90036
FRANK N ATKINSON                                36 MORGANDALE CRES                    BOWMANVILLE ON                          L1C 3N2 CANADA
FRANK N BOGART                                  BOX 18                                                                                          TROUT LAKE        MI    49793‐0018
FRANK N BOGART & WANDA J BOGART JT TEN          BOX 18                                                                                          TROUT LAKE        MI    49793‐0018
FRANK N BOYCE                                   15840 AKRON‐CANFIELD RD                                                                         BERLIN CENTER     OH    44401‐9786
FRANK N BUTTERFIELD                             2337 N BELSAY RD                                                                                BURTON            MI    48509‐1365
FRANK N CRAGLE                                  397 WELCH TRACT ROAD                                                                            NEWARK            DE    19702‐1025
FRANK N CURSI                                   10 CARKHUFF RD                                                                                  FLEMINGTON        NJ    08822‐7182
FRANK N DECKER JR                               6954 OLD QUARRY ROAD                                                                            FAYETTEVILLE      NY    13066‐9758
FRANK N HECKMAN                                 7550 O'BRIEN ROAD                                                                               HUBBARDSTON       MI    48845‐9512
FRANK N LEWIS                                   895 TERRITORIAL ST                                                                              HARRESBURG        OR    97446
FRANK N LINDQUIST                               6011 LINCOLN BLVD                                                                               MARION            IN    46953‐6213
FRANK N LINDQUIST & MARIE LINDQUIST JT TEN      6011 LINCOLN BLVD                                                                               MARION            IN    46953‐6213
FRANK N LUCIERE & MRS JENNIE C LUCIERE JT TEN   52 JOHNSON PL                                                                                   WOODMERE          NY    11598‐1313
FRANK N MARKEY & JO M MARKEY TEN COM            112 NE BROADWAY ST                                                                              SUBLIMITY         OR    97385‐9505
FRANK N MARLETTO                                1145 HADLEY DRIVE                                                                               SHARON            PA    16146‐3527
FRANK N MUTH CUST FRANK NICHOLAS MUTH II UGMA   3712 LINCOLN                                                                                    DEARBORN          MI    48124‐3512
MI
FRANK N MUTH CUST STEPHANIE R MUTH UGMA MI      3712 LINCOLN ST                                                                                 DEARBORN          MI    48124‐3512

FRANK N NELSON                                  102 MEILLAND DR                                                                                 GREER             SC    29650‐4421
FRANK N PEAK                                    148 SALEM CHURCH RD                                                                             HODGENVILLE       KY    42748‐9507
FRANK N RUMORA                                  216 BRIARWOOD LANE                                                                              SCOTTSVILLE       NY    14546‐1243
FRANK N TINSLEY & GRACIE D TINSLEY JT TEN       118 BON TON RD                                                                                  LYNCHBURG         VA    24503‐4213
FRANK N WELLS III                               C/O REESE                             1 PARK LANE 6‐C                                           MT VERNON         NY    10552‐3431
FRANK N WHITTAKER                               10002 PINEHURST ST                                                                              BAYTOWN           TX    77521‐5038
FRANK N WOODRUFF                                146 COUNTRYSIDE LANE                                                                            BEAR              DE    19701‐2008
FRANK NADOLSKI & WILLIAM NADOLSKI JT TEN        PSC 9 BOX 1595                                                                                  APO               AE    09123‐0016
FRANK NAISH & PENNY NAISH JT TEN                1311 CONCHA ST                                                                                  OXNARD            CA    93030‐5433
FRANK NAST JR & LAVINA J NAST JT TEN            7502 EAGLE DR                                                                                   MISSION           TX    78572‐8961
FRANK NECCO                                     655 MOLLOY ST                                                                                   COPIAGUE          NY    11726‐1622
FRANK NECHVIL JR                                C/O JANETTE M AYALA‐NECHVIL           4101 S SHERIDAN RD LOT 137                                LENNON            MI    48449‐9442
FRANK NEHER                                     630 NORTHAMPTON ST                                                                              HELLERTOWN        PA    18055‐1840
FRANK NEITZEL                                   208 GRAND CANYON DR                                                                             VACAVILLE         CA    95687‐3416
FRANK NEMEC                                     RD 3 BOX 157A                                                                                   WYOMING           PA    18644‐9381
FRANK NEMECEK                                   8430 DAWN LANE                                                                                  DARIEN            IL    60561‐5538
FRANK NEWTON CHILCOTT                           464 AMBERLEY                          TECUMSEH ON                             N8N 3M3 CANADA
FRANK NICKOL                                    PO BOX 129                                                                                      FELICITY           OH   45120‐0129
FRANK NOLFO JR                                  21024 LAKELAND ST                                                                               ST CLR SHORES      MI   48081‐2153
FRANK NOLFO SR                                  26105 CUBBERNESS ST                                                                             SAINT CLAIR SHORES MI   48081‐3314

FRANK O BURRY                                   C/O BRUCE BURRY                       39045 GARDENSIDE DR                                       WILLOUGHBY        OH    44094‐7909
FRANK O HAYES JR                                3669 ASBURY COURT                                                                               MARIETTA          GA    30062‐4151
FRANK O MACOMBER                                1327 STATE HIGHWAY 64                                                                           TUNAS             MO    65764‐9142
FRANK O NAGLE JR                                1531 MONTICELLO DR                                                                              GLADWYNE          PA    19035‐1206
FRANK O PEOPLES                                 2915 GRASSMERE ST                                                                               SHREVEPORT        LA    71108‐3726
FRANK O RICH                                    2611 S BON VIEW AVE                                                                             ONTARIO           CA    91761‐6809
FRANK O SMITH                                   42 WALLER AVENUE                                                                                VANDALIA          OH    45377‐3020
FRANK OCHOA & NANCY OCHOA JT TEN                347 HIGHLAND                                                                                    ROCHESTER         MI    48307‐1514
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FRANK OLENDER                                    47 PIER STREET                                                                                YONKERS          NY    10705‐1747
FRANK OLIVIERI & MARISA OLIVIERI JT TEN          424 ENGLEWOOD                                                                                 ROYAL OAK        MI    48073‐2668
FRANK ORLANDO TINGLEY                            148 MABLE AVENUE                                                                              ALPENA           MI    49707‐9767
FRANK P ANCONA                                   1292 MICHAEL DR                                                                               WESTLAND         MI    48186‐5509
FRANK P AUGUST JR                                5072 HOFFMAN NORTON RD                                                                        BRISTOLVILLE     OH    44402‐9620
FRANK P BALLARO                                  321 MACARTHUR DRIVE                                                                           WILLIAMSVILLE    NY    14221‐3734
FRANK P CAPADONA TR FRANK P CAPADONA TRUST UA    4600 N 68TH ST                      UNIT 307                                                  SCOTTSDALE       AZ    85251
08/14/96
FRANK P CESLOWSKI & MARY A CESLOWSKI JT TEN      394 SCHOOLHOUSE RD                                                                            MONROE TWP       NJ    08831‐2943

FRANK P CORTESE TR FRANK P CORTESE UA 02/14/96   781 N GENEVA                                                                                  ELMHURST         IL    60126‐1723

FRANK P COSGROVE                                  47‐30 59TH ST APT 1E                                                                         WOODSIDE         NY    11377‐5501
FRANK P DEMARTIN                                  6243 EMERALD COVE DR                                                                         LONGBEACH        CA    90803‐2314
FRANK P DIANI & FRANCES D DIANI JT TEN            515 CARLO DRIVE                                                                              GOLETA           CA    93117‐1749
FRANK P ELARDO JR CUST ELIZABETH MARIE ELARDO     ATTN ELIZABETH MAIRE BAKER         12691 E SONORAN RIDGE DR                                  TUCSON           AZ    85749‐8318
U/THE OHIO U‐G‐M‐A
FRANK P EMERY                                     7484 GOLDENROD                                                                               MENTOR OT LAK    OH    44060‐3348
FRANK P FILGO & MARY E FILGO TR UA 10/29/93 FRANK 175 CHALET RIDGE CT                                                                          ESTES PARK       CO    80517‐8701
P FILGO & MARYE
FRANK P GLEBA                                     1705 ROBINDALE                                                                               DEARBORN         MI    48128‐1014
FRANK P GLEBA II                                  1705 ROBINDALE                                                                               DEARBORN         MI    48128‐1014
FRANK P GONZALES                                  3317 CASA BLANCA                                                                             CORPUS CHRISTI   TX    78411‐3303
FRANK P HOFFMAN                                   3270 ISLAND COVE DR                UNIT 250                                                  WATERFORD        MI    48328‐1693
FRANK P HOLBAN                                    11125 S 84TH AVE                                                                             PALOS HILLS      IL    60465‐2447
FRANK P HUBBARD CUST FRANK PIERCE HUBBARD JR      4915 ESPLANADE ST                                                                            BONITA SPGS      FL    34134‐3987
UGMA VA
FRANK P HUBBARD CUST SARAH CAROLINE HUBBARD       4915 ESPLANADE ST                                                                            BONITA SPGS      FL    34134‐3987
UGMA VA
FRANK P IATI CUST JONATHAN IATI UGMA PA           43 INDEPENDENCE WAY                                                                          MILLER PLACE     NY    11764‐2337
FRANK P IWATIW                                    W1802 US HIGHWAY 63                                                                          HAYWARD          WI    54843‐7858
FRANK P JACKSON JR                                6025 CALKINS ROAD                                                                            FLINT            MI    48532‐3202
FRANK P JANK                                      1741 IRVINE                                                                                  NEWPORT BEACH    CA    92660‐3706
FRANK P JUSTICE                                   3574 MELROSE DRIVE UNIT4‐B                                                                   WOOSTER          OH    44691
FRANK P KITCHENS                                  43000 STEEPLEVIEW ST                                                                         NORTHVILLE       MI    48168‐2075
FRANK P KUZMIC JR                                 8562 BARNETT                                                                                 KANSAS CITY      KS    66112‐1825
FRANK P LA BELLE JR & ELLEN LA BELLE JT TEN       3514 DUFF DR                                                                                 FALLS CHURCH     VA    22041‐1415
FRANK P LEONE                                     1105 MAPLE ST                                                                                ROCHESTER        NY    14611‐1511
FRANK P MANGIATORDI & MRS CAROLINE                5 WILPUTTE PL                                                                                NEW ROCHELLE     NY    10804‐1426
MANGIATORDI JT TEN
FRANK P MARINO & MARY E MARINO TR MARINO          411 PLEASANTVIEW CT                                                                          COPIAGUE         NY    11726‐4017
LIVING TRUST UA 11/09/99
FRANK P MC CRINK                                  17 MARGARETTA RD                                                                             BOONTON          NJ    07005‐1326
FRANK P MCGEOGH                                   8320 ALLEN ROAD                                                                              CLARKSTON        MI    48348‐2704
FRANK P MESI                                      10788 EASTLAND ROAD                                                                          DELEVAN          NY    14042‐9713
FRANK P NAVARRA                                   27505 URSULINE                                                                               ST CLAIR SHRS    MI    48081‐1703
FRANK P OCONNELL                                  PO BOX 45                                                                                    WRENTHAM         MA    02093‐0045
FRANK P PARSONS                                   BOX 85                                                                                       SMITH            NV    89430‐0085
FRANK P PUMA & JOAN L PUMA JT TEN                 1348 COTSWOLD LANE                                                                           HAMILTON         OH    45013‐5178
FRANK P PUMA & JOAN L PUMA JT TEN                 1348 COTSWOLD LANE                                                                           HAMILTON         OH    45013‐5178
FRANK P SHANAHAN                                  76 BOUCHELLE ROAD                                                                            NORTH EAST       MD    21901‐2514
FRANK P SKIBA                                     2770 CHESTERFIELD ST                                                                         TROY             MI    48083‐2620
FRANK P SMEJKAL & MAUREEN M SMEJKAL JT TEN        2414 FAIR LANE                                                                               BURTON           MI    48509‐1333
FRANK P SODEN                                     3405 NORTHRIDGE RD                                                                           RICHMOND         VA    23235‐1349
FRANK P TRAPANI                                   41 GOEKE DRIVE                                                                               TRENTON          NJ    08610‐1123
FRANK P VAN NOTE                                  100 COUNTY RD WEST                                                                           COLTS NECK       NJ    07722‐1681
FRANK P VINCIGUERRA                               59 N NORMAN AVE                                                                              PENNS GROVE      NJ    08069‐1544
FRANK P WOJDA                                     223 N 8 MILE RD                                                                              LINWOOD          MI    48634‐9558
FRANK P WOOD                                      108 CHARLES STREET                                                                           SOUTH DENNIS     MA    02660‐2853
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FRANK PALERMO                                    156 S RIDGE ST                                                                                 PORT SANILAC      MI    48469‐9789
FRANK PARANO & MRS BEATRICE M PARANO JT TEN      249 W CATAWISSA ST                                                                             NESQUEHONING      PA    18240‐1404

FRANK PASCOE                                     21429 PEGGY JOYCE LN                                                                           SAUGUS            CA    91350‐1724
FRANK PATE JR                                    34717 SOMERSET                                                                                 WAYNE             MI    48186‐4340
FRANK PATTON                                     6875 COCONUT GRV CIR                                                                           ELLENTON          FL    34222‐4340
FRANK PATYI                                      254 FARRIGTON AVE                                                                              N TARRYTOWN       NY    10591‐1307
FRANK PAUL LIBERTO                               409 MARYLAND AVE                                                                               BALT              MD    21228‐3234
FRANK PAUL ONDISH                                301 KELLEY STREET                                                                              LUZERNE           PA    18709‐1333
FRANK PAUL VASILNEK                              47091 HIDDEN RIVER CIR N                                                                       CANTON            MI    48188‐6311
FRANK PAVLAK                                     4 GOLDBERG AVE                                                                                 NORWICH           CT    06360‐4314
FRANK PEARSON                                    7915 S EBERHART AVE                  #1                                                        CHICAGO           IL    60619‐3815
FRANK PELC                                       31848 SHAWN                                                                                    WARREN            MI    48093‐2936
FRANK PERSELLO                                   543 PIDGEON RD                                                                                 SALEM             OH    44460
FRANK PETER ZOCH III CUST FRANCES ZOCH UGMA TX   600 LEOPARD ST SUITE 1600                                                                      CORPUS CHRISTI    TX    78473‐0040

FRANK PIACENTE & GLORIA D PIACENTE JT TEN        9 LUCIA COURT                                                                                  LANCASTER         NY    14086‐1041
FRANK PICCOLO CUST ASHLEY RAVEN GRACE PICCOLO    401 NE MIZNER BLVD APT 522                                                                     BOCA RATON        FL    33432‐4026
UGMA NY
FRANK PICKUS                                     16 MOORE AVE                                                                                   SARATOGA SPRINGS NY     12866‐9235

FRANK PIOTROWSKI                                 1625 MICHIGAN AVE                                                                              WISC DELLS       WI     53965‐1322
FRANK PISCITELLI & AGNES PISCITELLI JT TEN       4 SUN RISE DR                                                                                  SARATOGA SPRINGS NY     12866‐3746

FRANK PITONIAK                                 155 COLBY AVE                                                                                    SYRACUSE          NY    13206‐2362
FRANK POINTER JR                               283 GRANDVIEW AVE                                                                                MANSFIELD         OH    44903‐4133
FRANK POKOL & CAMILLA L POKOL JT TEN           474 5TH ST                                                                                       DONORA            PA    15033‐1844
FRANK PONTE & JOSEPH PONTE JT TEN              13 CLUB WAY                                                                                      CEDAR GROVE       NJ    07009‐2054
FRANK POSTA                                    580 N WOODLAKE AVE                                                                               INVERNESS         FL    34453‐9774
FRANK POURAHMADI                               305 WOODLAND CT                                                                                  HIAWATHA          IA    52233‐2308
FRANK POWESKA                                  40 MOUNT VERNON RD                                                                               COLUMBIA          NJ    07832
FRANK PRICE CUST GREGORY PRICE UGMA VA         4168 SMOKE SIGNAL                                                                                SEBRING           FL    33872
FRANK PUFF                                     4125 PARK ST N LOT 631                                                                           ST PETERSBURG     FL    33709
FRANK PULITANO JR                              11 GROTKE RD                                                                                     CHESTNUT RDG      NY    10977
FRANK Q FLORES                                 93 W STRATHMORE                                                                                  PONTIAC           MI    48340‐2773
FRANK QUINONEZ                                 6121 VANGUARD AVE                                                                                GARDEN GROVE      CA    92845‐1705
FRANK R ALBERTS & SHIRLEY A ALBERTS JT TEN     101 MENDON LN                                                                                    SCHAUMBURG        IL    60193‐1033
FRANK R ALBRIZIO                               48 GOVER RD                                                                                      MILLBURY          MA    02527
FRANK R ALTOMARE                               19913 KNOLLCROSS DRIVE                                                                           GERMANTOWN        MD    20876‐6351
FRANK R ALTOMARE & HEDY W ALTOMARE JT TEN      19913 KNOLLCROSS DRIVE                                                                           GERMANTOWN        MD    20876‐6351
FRANK R BAKER                                  3214 W PONTIAC CT                                                                                WEST BRANCH       MI    48661‐9001
FRANK R BAKSA                                  21430 TIMBER RIDGE DR                                                                            TRENTON           MI    48183‐5277
FRANK R BEICH & PATRICIA J BEICH JT TEN        150 NORTH SUFFOLK LANE                                                                           LAKE FOREST       IL    60045‐2054
FRANK R BERTELSON                              225 SE BRISTOL DR                                                                                LEES SUMMIT       MO    64063‐5107
FRANK R BINFORD                                14946 RITA                                                                                       KEITHVILLE        LA    71047‐6102
FRANK R BOUZA & MRS GWEN R BOUZA JT TEN        2327 DOWNPATRICK ST                                                                              DAVISON           MI    48423‐9557
FRANK R BRADY & CAROL M BRADY JT TEN           1797 BARD LANE                                                                                   EAST MEADOW       NY    11554‐1503
FRANK R CADICAMO                               43577 SERENITY DRIVE                                                                             NORTHVILLE        MI    48167‐8932
FRANK R CALARESE                               1 WINSOR DRIVE                                                                                   N ATTLEBORO       MA    02760‐6532
FRANK R CARDULLO CUST BARBARA F CARDULLO U/THE 144 RANDOLPH AVE                                                                                 MILTON            MA    02186‐3509
MASS U‐G‐M‐A
FRANK R COLLISON                               3091 EDWARD PLACE                                                                                SAGINAW           MI    48603‐2305
FRANK R COPPOLA JR                             10 STONE QUARRY TRAIL                                                                            ORMAND BEACH      FL    32174‐4920
FRANK R COSIANO & MRS MARY JANE COSIANO JT TEN 425 LYNSHIRE LN                                                                                  FINDLAY           OH    45840‐7119

FRANK R CRETER                                   506 CENTER AVE                                                                                 LINDENHURST       NY    11757‐3113
FRANK R CYBULSKI                                 22312 BON HEUR                                                                                 ST CLAIR SHORES   MI    48080
FRANK R CZAPSKI                                  PO BOX 85                                                                                      SAMARIA           MI    48177‐0085
FRANK R DALEY                                    6676 NORTH POINTE DR                                                                           TROY              MI    48098‐1422
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FRANK R DE MARCO JR                               PO BOX 414                                                                                     HOLLEY          NY    14470‐0414
FRANK R DE WALD CUST ALEXIS A DE WALD UGMA NY     15 STONE ST                                                                                    COLD SPRING     NY    10516‐3022

FRANK R DE WALD CUST JEANNINE E DE WALD UGMA      15 STONE ST                                                                                    COLD SPRING     NY    10516‐3022
NY
FRANK R DEMYEN                                    138 N TAYLOR ST                                                                                BERGENFIELD     NJ    07621‐4615
FRANK R DOMAN & KATHY M DOMAN JT TEN              9151 JONES CT                                                                                  BRENTWOOD       TN    37027‐8537
FRANK R FAULKNER                                  3915 DEANNA DRIVE                                                                              KOKOMO          IN    46902‐4710
FRANK R FAULKNER & MARGARET R FAULKNER JT TEN     3915 DEANNA DR                                                                                 KOKOMO          IN    46902‐4710

FRANK R FIGURA                                    161 LAUREL LANE                                                                                GREENTOWN       PA    18426‐3089
FRANK R FREEMAN                                   1315 SUNSET SPGS                                                                               WESTON          FL    33326‐2936
FRANK R GARRISON SR                               22 ORILLA DR                                                                                   BRIDGETON       NJ    08302‐4321
FRANK R GOETTER                                   4818 S BROADWAY                                                                                LOS ANGELES     CA    90037‐3247
FRANK R GOTOWKO & HELEN GOTOWKO JT TEN            72 DALE DR                                                                                     N TONAWANDA     NY    14120‐4202
FRANK R HAUS                                      17625 OLIVE AVE                                                                                LAKE MILTON     OH    44429‐9739
FRANK R HILL                                      PO BOX 15                                                                                      CHATHAM         MI    49816‐0015
FRANK R HUGHES                                    549 WARREN AVE                                                                                 KINGSTON        PA    18704‐5241
FRANK R JACKUNAS & PATRICIA G JACKUNAS JT TEN     400 CALLE KOKOPELLI                                                                            SANTE FE        NM    87501‐8353

FRANK R JACOBS                                    2251 BLOOMFIELD WOODS CT                                                                       W BLOOMFIELD    MI    48323‐1917
FRANK R JANSEN                                    4194 MEIGS AVE                                                                                 WATERFORD       MI    48329‐2030
FRANK R KAMINSKI                                  3909 CHRISTIANA MDWS                                                                           BEAR            DE    19701‐2877
FRANK R KIELY CUST TERRENCE M KIELY UGMA PA       308 WINDSOR WAY                                                                                NORTH WALES     PA    19454‐3442
FRANK R KIRCHNER                                  8092 O'RIELLY CIRCLE                                                                           DAVISON         MI    48423‐9506
FRANK R KOBYLANSKI                                45 SOUTH CAYUGA ROAD                 APT D3                                                    WILLIAMSVILLE   NY    14221‐6715
FRANK R KOLENAC                                   134 4TH ST                                                                                     RANKIN          PA    15104‐1121
FRANK R KOVAC & PHYLLIS KOVAC JT TEN              PO BOX 375                                                                                     BETHANY         LA    71007‐0375
FRANK R KROMER TR UA 05/27/2010 FRANK R KROMER    625 WYNCROFT LN #1                                                                             LANCASTER       PA    17603
FAMILY LIVING TRUST
FRANK R KUDLA                                     PO BOX 7273                                                                                    FLINT           MI    48507‐0273
FRANK R LANDSBERGER                               441 E 87TH ST                                                                                  NEW YORK        NY    10128‐6501
FRANK R LEE                                       22 MC KINLEY AVE                                                                               WEST CALDWELL   NJ    07006‐7804
FRANK R LEPA                                      10425 MISTY RIDGE DR                                                                           CONCORD         OH    44077‐9003
                                                                                                                                                 TOWNSHIP
FRANK R LINCK                                     303 TRENTON RD                                                                                 FAIRLESS HILL   PA    19030‐2803
FRANK R MABREY                                    11780 E BURT ROAD                                                                              BIRCH RUN       MI    48415‐9317
FRANK R MAGOTO                                    10 SHORT ST                                                                                    VERSAILLES      OH    45380‐9487
FRANK R MARKS                                     11245 IRENE                                                                                    WARREN          MI    48093‐6543
FRANK R MC BERTY                                  851 SAGINAW RD                                                                                 OXFORD          PA    19363‐2187
FRANK R MCNAIR                                    384 CONKLE RD                                                                                  HAMPTON         GA    30228‐2709
FRANK R MENDOZA                                   15903 BELSHIRE AVE                                                                             NORWALK         CA    90650‐6737
FRANK R MENDOZA JR                                510 S MADISON                                                                                  MORRISON        IL    61270‐2727
FRANK R MIKLER                                    11 ASHWOOD CT                                                                                  LANCASTER       NY    14086‐9490
FRANK R MITCHELL                                  23 MCINTOSH DR                                                                                 WILBRAHAM       MA    01095‐2654
FRANK R MUCHA JR                                  134 E GRAND BLVD                                                                               BUFFALO         NY    14225‐3111
FRANK R NAYPAVER                                  351 FLORINE DRIVE                                                                              LEAVITTSBURG    OH    44430‐9792
FRANK R NETHERCUTT                                1792 SOUTH COUNTY RD                 800 WEST                                                  LOGANSPORT      IN    46947‐4670
FRANK R NIEDZIELA                                 108 STARLITE AVE                                                                               S CHEEKTOWAGA   NY    14227‐1238
FRANK R OBLAK                                     9036 UNICORN AVE                                                                               PORT RICHEY     FL    34668‐4855
FRANK R ORTEGA                                    14376 ORO GRANDE                                                                               SYLMAR          CA    91342‐4148
FRANK R PELOSI JR                                 165 CLEVELAND AVE                                                                              BUFFALO         NY    14222‐1611
FRANK R PENCA                                     813 EAST 207TH ST                                                                              EUCLID          OH    44119‐2401
FRANK R PFAHL II                                  1784 9TH ST                                                                                    CUYAHOGA FLS    OH    44221‐4508
FRANK R PLUM                                      46771 FLORENCE DRIVE                                                                           E LIVERPOOL     OH    43920‐3926
FRANK R RIVERS & RAYMOTH E RIVERS JT TEN          1735 SHORELAND DR                                                                              SARASOTA        FL    34239‐5034
FRANK R ROSAS                                     1616 VIA SARITA                                                                                SAN LORENZO     CA    94580‐3546
FRANK R SCHEUBEL                                  7 MOUNTAINVIEW DRIVE                                                                           SUSSEX          NJ    07461‐3032
FRANK R SCHWARTZ                                  10400 WHITE BIRCH ST                                                                           PRESQUE ISLE    MI    49777‐8312
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FRANK R SIMMONS                                  1801 BOISE AVE                                                                                  MODESTO         CA    95358‐6942
FRANK R STOJ                                     15 HABERSHAM RD NE                    APT 314                                                   ATLANTA         GA    30305‐7402
FRANK R STONE                                    616 S SHIAWASSEE                                                                                OWOSSO          MI    48867‐3457
FRANK R STRADDER                                 1106 WORTHINGTON DR                   DELTON                                                    DELTONA         FL    32738
FRANK R SUPIK                                    PO BOX 59904                                                                                    POTOMAC         MD    20859‐9904
FRANK R SUROVIEC & VALERY J SUROVIEC JT TEN      1664 W GORE RD                                                                                  ERIE            PA    16509
FRANK R TAYLOR                                   11209 WESTERN AVE                                                                               CLEVELAND       OH    44111‐1826
FRANK R THOMAS                                   1020 GREENHURST                                                                                 WINSTON SALEM   NC    27104‐1245
FRANK R WALKER TR FRANK R WALKER LIVING TRUST UA 22 WINDMILL WAY                                                                                 GREENVILLE      SC    29615‐6150
05/17/96
FRANK R WHITAM                                   227 BONAIRE DR                                                                                  TOMS RIVER      NJ    08757‐3848
FRANK R WILSON                                   8817 SMITHFIELD DR NW                                                                           CALABASH        NC    28467‐2198
FRANK R YOKUM                                    1128 HOLLY HILL DRIVE                                                                           COLUMBUS        OH    43228‐3518
FRANK R ZIELINSKI                                100 ERIN CT                                                                                     AUBURN          MI    48611‐9201
FRANK RALPH SCHEUBEL                             2112 SOUTH CR 1126                                                                              MIDLAND         TX    79706
FRANK RAMBALA                                    141 SUMMIT AVE                                                                                  WALDNICK        NJ    07463‐2133
FRANK RAMUNDO                                    1719 SE 5TH CT                                                                                  CAPE CORAL      FL    33990‐2206
FRANK RAYMOND PRUCHNIEWSKI                       136 KENEFICK AVE                                                                                BUFFALO         NY    14220‐1612
FRANK READ                                       P O BOX 838                                                                                     NASH            TX    75569
FRANK REARDON                                    3218 W LISBON LN                                                                                PHOENIX         AZ    85053
FRANK REED                                       3851 TOWNE BLVD                       # 208                                                     FRANKLIN        OH    45005‐5595
FRANK REID JR & NANCY H REID JT TEN              2204 STANHOPE ST                                                                                GROSSE POINTE   MI    48236‐1976
                                                                                                                                                 WOOD
FRANK REIMANN                                    HELGOLANDSTRASSE 09                   D‐16356 EICHE/GERMANY                   GERMANY
FRANK REISNER                                    339 W RIVER RD                        BLDG A STE B                                              ELGIN           IL    60123‐1500
FRANK RICHARD GALLES                             C/O GALLES CHEVROLET COMPANY          1601 LOMAS BLVD NE                                        ALBUQUERQUE     NM    87102‐2710
FRANK RIGGIO                                     3243 N PARIS                                                                                    CHICAGO         IL    60634‐2930
FRANK RIVERA                                     120 ERDMAN PL APT 24D                                                                           BRONX           NY    10475‐5328
FRANK ROBERT BECKER                              2314 NEVADA RD                                                                                  LAKELAND        FL    33803‐2340
FRANK ROBERT KIRCHGESSNER                        63 JEROME AVE                                                                                   BRISTOL         CT    06010‐3708
FRANK ROBINSON                                   1305 TYRINGHAM LN                                                                               CONYERS         GA    30013‐4626
FRANK ROBINSON                                   42 LINDEN PARK                                                                                  BUFFALO         NY    14208‐2501
FRANK ROBINSON                                   8771 MACKINAW                                                                                   DETROIT         MI    48204‐2334
FRANK ROBINSON JR                                27386 OXFORD DR                                                                                 SOUTHFIELD      MI    48033‐6187
FRANK ROBINSON TR STACY ROBINSON UA 12/28/62     140 E CHAMBORD DR NW                                                                            ATLANTA         GA    30327‐4583

FRANK ROBISON JR & MARGARET ROBISON JT TEN       518 WEBB DR                                                                                     BAY CITY        MI    48706‐4213
FRANK ROBLEDO                                    1807 EUCLID ST                                                                                  LINCOLN PARK    MI    48146‐1415
FRANK RODRIGUEZ                                  2813 VESTRELLA DRIVE                                                                            MODESTO         CA    95356‐9376
FRANK ROLF WEBER                                 ADAM OPEL AG                          IPC A5‐02 D‐65423       RUSSELSHEIM     GERMANY
FRANK ROMEO CUST MABEL ROMEO UGMA MI             1551 HIGHVIEW                                                                                   DEARBORN        MI    48128‐1063
FRANK ROSSI                                      76 LILMONT DR                                                                                   SWISSVALE       PA    15218‐2229
FRANK ROZEWSKI                                   1401 S JACKSON ST                                                                               BAY CITY        MI    48708‐8067
FRANK RUBINO JR & LYNN RUBINO JT TEN             239 FOREST DR                                                                                   UNION           NJ    07083‐7966
FRANK RUDOLPH                                    1 O'DONNELL ST                        3073 RESERVOIR                          AUSTRALIA
FRANK RUIZ                                       800 DEHAVEN ST                                                                                  SAN FERNANDO    CA    91340‐2127
FRANK RUSSELL LOVELAND                           4325 RIPLEY DR                                                                                  SEBRING         FL    33870‐5331
FRANK RUYACK & MARIAN RUYACK JT TEN              2 BONNIE HOLLOW LN                                                                              MONTROSE        NY    10548‐1314
FRANK S BERES JR                                 19 AUGUSTA DR                                                                                   COLUMBUS        NJ    08022‐2365
FRANK S BRYSON                                   78 BRYSON LN                                                                                    BLUFFTON        SC    29910‐6614
FRANK S BUCKMAN                                  220 S 98TH PL                                                                                   MESA            AZ    85208‐1873
FRANK S CASTELLANA                               227 STUART ROAD EAST                                                                            PRINCETON       NJ    08540‐1947
FRANK S CERNAVA                                  221 W COLLEGE ST                                                                                CANONSBURG      PA    15317‐1166
FRANK S CERNAVA & ELIZABETH M CERNAVA JT TEN     221 W COLLEGE ST                                                                                CANONSBURG      PA    15317‐1166

FRANK S CHLADNY & MARY J CHLADNY JT TEN          3048 ST THOMAS LANE                                                                             THE VILLAGES    FL    32159
FRANK S DOUTRE                                   5694 W LAKESHORE DR                                                                             WEIDMAN         MI    48893‐9283
FRANK S DOUTRE & DONNA J DOUTRE JT TEN           5694 W LAKESHORE DR                                                                             WEIDMAN         MI    48893‐9283
FRANK S DUDA & MRS MARY B DUDA JT TEN            319 MULBERRY ST                                                                                 CATASAUQUA      PA    18032‐1825
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FRANK S GARFIELD                                   108 LUCERNE AVE                                                                                 FALMOUTH          MA    02540‐3640
FRANK S GIRE                                       2169 TWEEDSMUIR COURT                                                                           SAN JOSE          CA    95121‐1463
FRANK S HEBERER                                    514 WOODVALE DR                                                                                 GREENSBORO        NC    27410‐5630
FRANK S HIDALGO JR                                 800 N CLINTON ST                                                                                GRAND LEDGE       MI    48837‐1104
FRANK S HOW & LOTTIE M HOW JT TEN                  3929 18 AV N W                                                                                  ROCHESTER         MN    55901
FRANK S KIRCHNER & LINDA M KIRCHNER JT TEN         1116 LINDEN AVE                                                                                 DAYTON            OH    45410‐2811
FRANK S LESTER SR                                  5 ARCHER PL                                                                                     TARRYTOWN         NY    10591‐4101
FRANK S LEWANDOWSKI                                12007 TELEGRAPH RD                                                                              MEDINA            NY    14103‐9678
FRANK S LO TEMPIO                                  160 MARLBANK DRIVE                                                                              ROCHESTER         NY    14612
FRANK S LOPEZ                                      44125 DYLAN                                                                                     STERLING HTS      MI    48314‐1979
FRANK S LOPEZ & DOROTHY M LOPEZ JT TEN             44125 DYLAN                                                                                     STERLING HTS      MI    48314
FRANK S MACEK JR & ROSE MARY MACEK JT TEN          3821 E MUNKWITZ AVE                                                                             CUDAHY            WI    53110‐1712
FRANK S MAGDALENIC                                 1461 MERRILL                                                                                    LINCOLN PK        MI    48146‐3392
FRANK S MAR CUST DEBBIE MAR UGMA KAN               8432 CONSTANCE                                                                                  LENEXA            KS    66215‐4149
FRANK S MAR CUST JACQUELINE K MAR UGMA KAN         142 RANCH DR                                                                                    BOERNE            TX    78015‐8318

FRANK S MC KENNA & LINDA L MC KENNA JT TEN       519 WHITTIER AVE                                                                                  GLEN ELLYN        IL    60137‐4725
FRANK S MCCOY                                    125 WESTMORLAND DR EAST                                                                           KOKOMO            IN    46901‐5160
FRANK S MOORE                                    4485 BESSIE AVE                                                                                   ST LOUIS          MO    63115‐2707
FRANK S NEUWIRTH                                 9600 SALEM                                                                                        REDFORD           MI    48239‐1692
FRANK S NONAKA TR FRANK S NONAKA REVOCABLE       PO BOX 767                                                                                        LIHUE             HI    96766‐0767
LIVING TRUST UA 03/15/95
FRANK S ORZECHOWSKI JR                           5668 CURTIS AVE                                                                                   CANFIELD          OH    44406‐9606
FRANK S PAPAY                                    6337 NORTH MURRAY RIDG                                                                            ELYRIA            OH    44035‐1027
FRANK S POPECK                                   541 E MARKET ST                                                                                   POTTSVILLE        PA    17901‐2723
FRANK S POSWISTILO & MRS MARGARET H POSWISTILO 204 N 13TH ST                                                                                       EASTON            PA    18042‐3212
JT TEN
FRANK S ROBINSON                                 9125 CEDAR ISLAND RD                                                                              WHITE LAKE        MI    48386‐4112
FRANK S SABAT & MARY A SABAT JT TEN              4500 REBECCA LN                                                                                   WHITE LAKE        MI    48383‐1693
FRANK S SCIGULINSKY                              80 EAST SILVER STREET                                                                             WESTFIELD         MA    01085‐4435
FRANK S SEEVER                                   437 WEBSTER                                                                                       CHICAGO           IL    60614‐3854
FRANK S SZABO                                    PO BOX 210                                                                                        ELYRIA            OH    44036‐0210
FRANK S WIETECHA & MRS ESTELLE M WIETECHA JT TEN 4304 N MOBILE AVE                                                                                 CHICAGO           IL    60634‐1550

FRANK S ZBICIAK & CELESTE ANN ZBICIAK JT TEN       712 OCEAN TERR CIRCLE                                                                           ORMOND BEACH      FL    32176‐4757
FRANK SALDANA                                      4172 S GLORIA ST                                                                                WAYNE             MI    48184‐2253
FRANK SANFILIPPO & JOSEPHINE SANFILIPPO JT TEN     99 BOULDER BROOK DR                                                                             STAMFORD          CT    06903‐3231

FRANK SAUCEDO                                   705 MAYWOOD COURT                                                                                  WESTLAKE VL       CA    91362‐5427
FRANK SAVARESE                                  22‐51 35TH ST                                                                                      ASTORIA           NY    11105‐2206
FRANK SAWYER JR                                 2910 EAST A STREET                                                                                 TORRINGTON        WY    82240‐2030
FRANK SCALIA                                    212 GRIDLEY ST                                                                                     BRISTOL           CT    06010‐6213
FRANK SCHMIDT                                   5620 CLOVERLAND DR                                                                                 EAGLE RIVER       WI    54521‐8306
FRANK SCOTT RIKARD                              6458 DOUBLE TREE CT                                                                                MOBILE            AL    36695‐6208
FRANK SCUMACI                                   2943 S WALLACE ST                                                                                  CHICAGO           IL    60616‐3034
FRANK SEAN STEVENS CUST FRANK ERIC STEVENS UTMA 4678 LINDHOLM DR                                                                                   WHITE LAKE        MI    48383‐1560
MI
FRANK SEGALL TR UA 12/29/80 FRANK SEGALL &      24055 PASEO DEL LAGO                     #1259                                                     LAGUNA HILLS      CA    92653‐2647
FLORENCE S SEGALL TRUST
FRANK SELENO & MRS LOUISE L SELENO JT TEN       19921 SHADY LANE                                                                                   ST CLAIR SHORES   MI    48080‐4210
FRANK SEMEIT                                    944 MADRID ST                                                                                      SAN FRANCISCO     CA    94112‐3839
FRANK SENEDIAK                                  528 IMPALA DRIVE                                                                                   AUSTINTOWN        OH    44515‐3330
FRANK SETER                                     3060 SPRINGDALE AVE                                                                                GLENVIEW          IL    60025‐2655
FRANK SEYKA                                     3433 COOLEY DRIVE                                                                                  LANSING           MI    48911‐1226
FRANK SHARBNOW                                  3564 16TH ST                                                                                       WYANDOTTE         MI    48192‐6422
FRANK SHEA & PATRICIA SHEA JT TEN               5 MONROE PL                                                                                        CRANBURY          NJ    08512‐2711
FRANK SHEPHERD                                  17705 BETHEL RD                                                                                    SHAWNEE           OK    74801‐2955
FRANK SHIMMEL                                   9808 MELDON DR                                                                                     STREETSBORO       OH    44241‐4930
FRANK SHOEMAKER                                 55 W BAGLEY RD                           APT 1108                                                  BEREA             OH    44017‐3000
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FRANK SHOWEK                                      2441 TITTABAWASSEE ST                                                                           ALGER             MI    48610‐9496
FRANK SIMONAIT JR                                 1030 FOUR MILE ROAD N E                                                                         GRAND RAPIDS      MI    49525‐2651
FRANK SIMS                                        3815 E 61ST                                                                                     KANSAS CITY       MO    64130‐4433
FRANK SINDRICH                                    106 SPRING ST                                                                                   BENTLEYVILLE      PA    15314‐1223
FRANK SINGLEY                                     4612 CAMELLIA LANE                                                                              NORTH OLMSTED     OH    44070‐2458
FRANK SIRIANNI & MRS KELLY SIRIANNI JT TEN        6501 BAYVIEW AVE                                                                                BEACH HAVEN       NJ    08008‐3712
FRANK SKINNER JR                                  500 5TH AVE SE                                                                                  CULLMAN           AL    35055‐3618
FRANK SKRTIC                                      8325 BRIDLEHURST TRAIL                                                                          KIRTLAND          OH    44094‐5140
FRANK SMITH                                       422 E STEWART AVE                                                                               FLINT             MI    48505‐3422
FRANK SMITH                                       2425 N CALUMET ST                                                                               KOKOMO            IN    46901‐1670
FRANK SMITH JR & MILDRED H SMITH JT TEN           7627 SUMMIT POINT RD                                                                            CHARLES TOWN      WV    25414‐5018
FRANK SOBECK CUST NICHOLAS JAY SOBECK UTMA PA     86 MANOR DR RR 7                                                                                SHAVERTOWN        PA    18708‐9602

FRANK SOLORIO                                     3524 LAPORT ROAD                                                                                MARYVILEE         CA    95901‐9112
FRANK SONNY JORGE                                 3173 INDIANA ST                                                                                 MIAMI             FL    33133
FRANK SOPER                                       R R 3 BRAS DOR GEORGES RIVER          CAPE BRETON NS                          ZZZZ CANADA
FRANK SORICELLI CUST JAMES SORICELLI UGMA PA      9935 E WESTERN SKY LN                                                                           SCOTTSDALE        AZ    85262‐4421

FRANK SOUSA JR                                    40SIMPSON AVE                                                                                   WALLINGFORD       CT    06492‐4727
FRANK SPARACIO & FLORENCE SPARACIO JT TEN         3974 S IDALIA ST                                                                                AURORA            CO    80013‐2509
FRANK SPINA III                                   PO BOX 72                                                                                       WEST GROVE        PA    19390‐0072
FRANK SPINELLI                                    1217 TODD CT                                                                                    LAKEWOOD          NJ    08701‐2257
FRANK STAMPER                                     5769 UNION ROAD                                                                                 FRANKLIN          OH    45005‐4356
FRANK STANGL                                      332 FERRIS AVE                                                                                  RUMFORD           RI    02916
FRANK STASA                                       6591 HUNTERS CREEK RD                                                                           IMLAY CITY        MI    48444‐9723
FRANK STAVALO IV                                  12 CHARLES AVE                                                                                  LAKEHURST         NJ    08759‐4905
FRANK STOLFI                                      45 BIRCHWOOD DR                                                                                 TORRINGTON        CT    06790‐5736
FRANK STONE JR                                    518 JEFFREY DR                                                                                  ELIZABETH         PA    15037‐2863
FRANK STOSICH                                     1565 BROOKLINE DR                                                                               HUMMELSTOWN       PA    17036‐8988
FRANK SUPPANSCHITZ                                188 SUPPI BLV                                                                                   EUREKA SPRINGS    AR    72631‐8913
FRANK SZAKALY                                     2084 MONTIE ROAD                                                                                LINCOLN PARK      MI    48146‐1232
FRANK SZAKALY & ADELA SZAKALY JT TEN              2084 MONTIE ROAD                                                                                LINCOLN PARK      MI    48146‐1232
FRANK SZELES                                      C/O LOUISE SZELES                     7717 S KATHERINE DR                                       INDIANAPOLIS      IN    46217‐4105
FRANK SZOPO III CUST JULIA LEAH WISE SZOPO UGMA   8190 CONTINGO TERR                                                                              KALAMAZOO         MI    49009‐9654
MI
FRANK SZOPO III CUST JULIA LEAH WISE SZOPO UTMA   8190 CONTINGO TER                                                                               KALAMAZOO         MI    49009‐9654
MI
FRANK T ALDERSON JR                               1349 PRAYVIEW CT                                                                                LOVELAND          OH    45140‐8707
FRANK T BABIARZ                                   2101 E PAGE AVE                                                                                 GILBERT           AZ    85234‐6212
FRANK T BATCH                                     915 S 24 ST                                                                                     BATTLE CREEK      MI    49015‐2814
FRANK T BOCEK                                     APT 5‐G                               792 COLUMBUS AVE                                          NEW YORK          NY    10025‐5119
FRANK T BOZZO                                     2708 PHILLIPS AVENUE                                                                            GLENSHAW          PA    15116‐1618
FRANK T BRECHIN & SUSAN J BRECHIN JT TEN          2454 E COLLIER SE                                                                               GRAND RAPIDS      MI    49546‐6103
FRANK T CARMODY                                   80 RIVERS EDGE DR                                                                               LITTLE SILVER     NJ    07739‐1709
FRANK T CAROL                                     39665 KOPPERNICK RD                                                                             CANTON            MI    48187‐4259
FRANK T CASE                                      PO BOX 85                                                                                       MELVIN VILLAGE    NH    03850‐0085
FRANK T COLLINS                                   PO BOX 5362                                                                                     AUGUSTA           GA    30916‐5362
FRANK T CRESSWELL                                 48 COLLEGE AVE                                                                                  N TARRYTOWN       NY    10591‐2709
FRANK T DILLARD                                   5823 ROCKY BRANCH ROAD                                                                          SIGNAL MOUNTAIN   TN    37377‐1338

FRANK T FAWCETT TR UA 04/22/2008 LAURA THOMAS     104 FLORENCE AVENUE                   APT 2                                                     WILMINGTON        DE    19803
FAWCETT TRUST
FRANK T FERRANTE JR & DEBRA FERRANTE JT TEN       4 WINTERBERRY LN                                                                                MILFORD           MA    01757‐3966
FRANK T FRANKOVICH                                22 MITCHELL DR                                                                                  TONAWANDA         NY    14150‐5113
FRANK T GNATKOWSKI JR                             4395 RATHBURN RD                                                                                BIRCH RUN         MI    48415‐8728
FRANK T GRIEGO                                    2659 CHERRY HILL DR                                                                             BYRON             CA    94514‐1423
FRANK T HACKETT                                   PO BOX 254                                                                                      SHAFTSBURG        MI    48882‐0254
FRANK T HUGLEY                                    18231 AUDETTE                                                                                   DEARBORN          MI    48124‐4218
FRANK T JEFFERY JR                                2608 SAN RAE DRIVE                                                                              KETTERING         OH    45419‐2766
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FRANK T JENNINGS                                  1021 ORLO DR NW                                                                                 WARREN            OH    44485‐2427
FRANK T JESS                                      3509‐A OAK TREE DRIVE                                                                           KALAMAZOO         MI    49048‐1284
FRANK T JOHNSON                                   7600 FREDERCIK PIKE                                                                             DAYTON            OH    45414‐1944
FRANK T KASMER                                    1207 SYLVANIA AVE                                                                               FORKED RIVER      NJ    08731‐4404
FRANK T KINDZIA                                   321 19TH ST                                                                                     NIAGARA FALLS     NY    14303‐2206
FRANK T KING                                      422 TIMBERLINE DR                                                                               ROCHESTER HLS     MI    48309‐1309
FRANK T KOCSIS                                    16492 KASOTA RD                                                                                 APPLE VALLEY      CA    92307‐1441
FRANK T KYTE                                      10514 NATIONAL BLVD                   APT 305                                                   LOS ANGELES       CA    90034‐3666
FRANK T NADAI & BETTY A NADAI JT TEN              945 BRENGLE AVE                                                                                 ENGLEWOOD         FL    34223‐2623
FRANK T NOWAK                                     895 SHADY SHORES                                                                                BAY CITY          MI    48706‐1953
FRANK T RAMIREZ                                   2954 N 450 W                                                                                    KOKOMO            IN    46901‐9112
FRANK T ROMAN                                     5118 OLD COVE RD                                                                                CLARKSTON         MI    48346‐3819
FRANK T SHIOMI TR UA 09/08/94 FRANK T SHIOMI      6527 ENGLE RD                                                                                   BROOKPARK         OH    44142‐3506
LIVING TRUST
FRANK T SMOLEY                                    857 MAIN ST                                                                                     KEISTERVILLE      PA    15449
FRANK T STEVENS                                   1434 MARINER                                                                                    WALLED LAKE       MI    48390‐3653
FRANK T VANNELLA & PATRICIA L VANNELLA JT TEN     18 SUMMER CIRCLE                                                                                CAPE MAY          NJ    08204‐4478

FRANK T VENASKY                                7260 UPPER 139TH ST                                                                                APPLE VALLEY      MN    55124‐8458
FRANK T WATSON                                 1161 TRAILWOOD DR                                                                                  WATKINSVILLE      GA    30677‐2317
FRANK T ZIELKE                                 4480 FAUSSETT RD                                                                                   HOWELL            MI    48843‐9287
FRANK TAFOYA                                   PO BOX 5992                                                                                        SAGINAW           MI    48603‐0992
FRANK TAFOYA                                   PO BOX 5992                                                                                        SAGINAW           MI    48603‐0992
FRANK TAFOYA & JUSTINA TAFOYA TEN ENT          PO BOX 5992                                                                                        SAGINAW           MI    48603‐0992
FRANK TALBOT JR & FRANK TALBOT JT TEN          2438 JOHN R RD APT 106                                                                             TROY              MI    48083‐6409
FRANK TAPPER                                   366 IMPERIA AVE                                                                                    PAINTED POST      NY    14870‐1443
FRANK TAPPER                                   366 IMPERIA AVE                                                                                    PAINTED POST      NY    14870‐1443
FRANK TENCER & ESTELLE TENCER & KAREN FRANCINE 7452 PEPPER CREEK                                                                                  WEST BLOOMFIELD   MI    48322‐1072
TENCER JT TEN
FRANK TERRELL                                  8339 BUCKINGHAM NW CI                                                                              MASSILLON         OH    44646‐9535
FRANK THOMAS KARES & THEODORA FRANCES KARES JT 3402 ROSALIE AVE                                                                                   BALTIMORE         MD    21234‐7931
TEN
FRANK THOMAS KOCHANSKI                         1724 N WAVERLY                                                                                     DEARBORN          MI    48128‐1254
FRANK THOMAS MILES                             327 BASSETT STREET APT A                                                                           PETALUMA          CA    94952
FRANK THOMAS MITCHELL                          578 SHORECLIFF DR                                                                                  ROCHESTER         NY    14612‐3840
FRANK THOMAS SCALICI & SANTO A SCALICI JT TEN  3501 TAMAIRA ST                                                                                    PLANO             IL    60545‐2246

FRANK THOMPSON BELL JR CUST JOHN DAVID BELL       BOX 275                                                                                         POTTERSVILLE      NJ    07979‐0275
UGMA NJ
FRANK TIMOTHY LIBERATI                            3556 WALDEN AVENUE                                                                              LACASTER          NY    14086‐1222
FRANK TISLER                                      1101 SUGAR MILL DRIVE                                                                           NEW SMYRNA        FL    32168‐7976
                                                                                                                                                  BEACH
FRANK TITO JR & EVELYN TITO JT TEN                28‐11 202ND ST                                                                                  BAYSIDE           NY    11360‐2326
FRANK TODARO                                      12700 LAKE AVE #2907                                                                            LAKEWOOD          OH    44107‐1509
FRANK TORELLA                                     PO BOX 1657                                                                                     MANCHESTR CTR     VT    05255‐1657
FRANK TORELLI                                     4 CENTER ST                                                                                     SPENCER           NY    14883‐9218
FRANK TORRES                                      8118 CROCKETT BLVD                                                                              LOS ANGELES       CA    90001‐3525
FRANK TOUT CUST DAVID TOUT U/THE INDIANA          7551 GARRICK ST                                                                                 FISHERS           IN    46038
UNIFORM GIFTS TO MINORS ACT
FRANK TOWNSEND JR                                 4948 DETROIT                                                                                    DEARBORN          MI    48125‐3220
FRANK TOWNSEND JR & HAZEL M TOWNSEND JT TEN       4948 DETROIT                                                                                    DEARBORN          MI    48125‐3220

FRANK TRAINA                                      280 MONUMENTAL CIRCLE                                                                           SPARKS            NV    89436‐8935
FRANK TRAVIGLIA JR & LINDA F TRAVIGLIA JT TEN     3318 SNOWGLEN LANE                                                                              LANSING           MI    48917‐1733
FRANK TROLIO                                      244 FALMOUTH RD                                                                                 SCARSDALE         NY    10583‐4718
FRANK TROPEA III                                  11 N BRIDGE LANE                                                                                KEY LARGO         FL    33037‐5102
FRANK TRUCHAN III                                 34605 DONNELLY                                                                                  WESTLAND          MI    48185‐7714
FRANK TRUZZOLINO & BARBARA TRUZZOLINO JT TEN      8867 BRIARWOOD MEADOW LANE                                                                      BOYNTON BEACH     FL    33473
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FRANK TUGYA                                        1172 PAUL ST                                                                                          MT MORRIS         MI    48458‐1156
FRANK TUNDO                                        49035 WHITE MILL RD                                                                                   SHELBY TOWNSHIP   MI    48317‐1622

FRANK U DELLA ZANNA                                565 SHERMAN AVE                                                                                       BELFORD           NJ    07718‐1314
FRANK URBIEL                                       30499 GRANDON ST                                                                                      LIVONIA           MI    48150‐3946
FRANK V BADARACCO & GEORGE J BADARACCO JT TEN      C/O SCOTT HODGES                      1255 POST ST STE 450                                            SAN FRANCISCO     CA    94109‐6707

FRANK V BARRELLA & ANN MARIE BARRELLA JT TEN       181 WEST 18TH ST                                                                                      BAYONNE           NJ    07002‐1534

FRANK V BOULINEAU III & ELIZABETH W BOULINEAU JT   PO BOX 3190                                                                                           NORTH MYRTLE      SC    29582‐0190
TEN                                                                                                                                                      BEACH
FRANK V BRADY                                      9494 CRUMP ROAD                                                                                       GLENWOOD          NY    14069‐9602
FRANK V CIPPEL CUST JONATHAN F CIPPEL UGMA PA      5712 VALLEYVIEW DRIVE                                                                                 BETHEL PARK       PA    15102‐3546

FRANK V GHISELLI JR                                711 BIRDSALL ST                                                                                       HOUSTON           TX    77007‐5103
FRANK V GONZALES                                   5062 BRETT CT                                                                                         FREMONT           CA    94538‐2401
FRANK V KNOLL JR                                   1120 E WEBER DR                                                                                       INDIANAPOLIS      IN    46227‐5373
FRANK V LOUNSBERY                                  8882 ELLISON RD                                                                                       BALDWINVILLE      NY    13027‐9613
FRANK V NOWAK                                      468 BRANDT                                                                                            GARDEN CITY       MI    48135‐2610
FRANK V PARKER                                     2520 WATERSIDE DR                     STE 211                                                         FREDERICK         MD    21701‐3024
FRANK V PEDWAYDON                                  5425 GOLF MEADOW DRIVE                                                                                BELLAIRE          MI    49615‐9053
FRANK V PROCOPIO                                   47521 ANGELINE COURT                                                                                  SHELBY TOWNSHIP   MI    48315‐4501

FRANK V PUNZO                                      712 FEDEAL ST                                                                                         PHILADELPHIA      PA    19147‐5113
FRANK V RIOS                                       9961 ELDORADO                                                                                         PACOIMA           CA    91331‐3414
FRANK V SORDYL                                     206 OPAL CT                                                                                           MARTINSBURG       WV    25401‐4261
FRANK V ZLOTOWSKI                                  30 TUMBLEBROOK RD                                                                                     MERIDEN           CT    06450‐4756
FRANK VALDES & MRS JEAN C VALDES JT TEN            15302 DOOLITTLE RD                                                                                    GRASS VALLEY      CA    95949
FRANK VALDIVIESO CUST EDEN VALDIVIESO UTMA MD      1701 PARKSIDE DR                                                                                      MITCHELLVILLE     MD    20721‐4236

FRANK VAN DEN BERG                                 284 STOCKINGSTONE ROAD                LUTON                                   LU2 7DD GREAT BRITAIN
FRANK VARLOTTA                                     506 THOMPSON RUN RD                                                                                   PITTSBURGH        PA    15235‐4038
FRANK VASQUEZ                                      2780 BLUEBERRY PL                                                                                     SAGINAW           MI    48603‐2656
FRANK VASSALLO                                     6062 ATKINS DR                                                                                        TROY              MI    48085‐1327
FRANK VECCHIO & CAROLYN VECCHIO JT TEN             30 SANCTUARY DR                                                                                       EAST GREENWICH    RI    02818‐2069
FRANK VENEZIA & MRS MARY VENEZIA JT TEN            1125 62ND PL                                                                                          DOWNERS GROVE     IL    60516‐1815
FRANK VICKERS                                      2240 OVERBROOK DRIVE                                                                                  JACKSON           MS    39213‐4728
FRANK VITOBELLO JR & CAROLE VITOBELLO JT TEN       25 23 147TH ST                                                                                        FLUSHING          NY    11354‐1431

FRANK VOLGI                                     150 CANVASBACK LN                                                                                        BLOOMINGDALE      IL    60108
FRANK VONA                                      141 STANFORD AVE                                                                                         SAYREVILLE        NJ    08872‐1226
FRANK W ADAMS                                   2143 GUTHRIE ROAD                                                                                        BEDFORD           IN    47421‐6921
FRANK W ALBRO                                   3717 BRENTWOOD DR                                                                                        FLINT             MI    48503‐2343
FRANK W ANDERSON III & COLEEN S ANDERSON JT TEN 34470 WORKMAN RD                                                                                         PITTSVILLE        MD    21850‐2271

FRANK W ANTOS                                      7510 BELMONT AVE                                                                                      BALTIMORE         MD    21224‐3202
FRANK W ARTISS & MRS KATHERINE S ARTISS JT TEN     BOX 256                               BRIGHTS GROVE ON                        N0N 1C0 CANADA

FRANK W BALL JR                                    25091 RIDGE OAK DR                                                                                    BONITA SPRINGS    FL    34134‐1928
FRANK W BEZEK                                      P O BO X921                                                                                           MONTARA           CA    94037
FRANK W BIRCH JR                                   111 ROBBINWOOD TER                                                                                    LINDEN            NJ    07036‐3728
FRANK W BOAZ III                                   3215 WOOSTER DR                                                                                       BEAVERCREEK       OH    45434‐6043
FRANK W BROWN                                      6801 INDIANA STREET                                                                                   KANSAS CITY       MO    64132‐3005
FRANK W BRUCE JR                                   79 LAKEVIEW DR                                                                                        GREENSBORO        AL    36744
FRANK W BRUNO                                      165 SCOTTFIELD DR                                                                                     NEWARK            DE    19713‐2452
FRANK W BUTTERFIELD                                3651 WEIR RD                                                                                          LAPEER            MI    48446‐8739
FRANK W CARNAHAN                                   4140 CENTRAL ST                                                                                       DETROIT           MI    48210‐2706
FRANK W CIRABISI                                   15 NEMETH ST                                                                                          MALVERNE          NY    11565‐1529
FRANK W CLARKE                                     101 KETTLE CREEK ROAD                                                                                 WESTON            CT    06883‐2210
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FRANK W D AMORE                                    31276 LORRAINE RD                                                                                NORTH OLMSTED      OH    44070‐4727
FRANK W DAVIS & MRS KAY DAVIS JT TEN               2121 NORTH WALNUT STREET                                                                         GUTHRIE            OK    73044‐3912
FRANK W DEMBINSKI                                  140 WHITEHEAD AVE                      APT 6                                                     SOUTH RIVER        NJ    08882‐1738
FRANK W DOUD                                       6085 W BROOKS AVE                                                                                LAS VEGAS          NV    89108‐4220
FRANK W DUQUET JR                                  2474 SOUTH EAST RENICK AVE                                                                       PORT ST LUCIE      FL    34952‐6761
FRANK W FITUS                                      5501 RIVERS EDGE DR                                                                              COMMERCE TWP       MI    48382‐1042
FRANK W FORMILLER                                  9 VIOLA AV                                                                                       OSHKOSH            WI    54901‐1971
FRANK W FOSTER                                     3602 7TH AVE                           #A                                                        KENOSHA            WI    53140‐2501
FRANK W GAWLE & GERTRUDE F GAWLE TR UA GAWLE       21014 W HAZELNUT LANE                                                                            PLAINFIELD         IL    60544‐9340
FAMILY TRUST 02/12/92
FRANK W GEHRKE                                     151 PERRON AVE                                                                                   SOMERSET           MA    02726‐2907
FRANK W GIULIANI                                   193 BURNING TREE DR                                                                              SAN JOSE           CA    95119‐1822
FRANK W GORDON                                     3354 LAWYER RD                                                                                   MCGAHEYSVILLE      VA    22840
FRANK W GORDON TR UA 03/15/89 FRANK W GORDON       41718 MAE WOOD DRIVE                                                                             STERLING HEIGHTS   MI    48313‐2568
TRUST
FRANK W GRAHAM & MAE J GRAHAM JT TEN               PO BOX 441                                                                                       OXFORD             MI    48371‐0441
FRANK W GRUBACH & DONNA J GRUBACH JT TEN           501 DORAL DR                                                                                     SCHERERVILLE       IN    46375‐2076
FRANK W HABERSTROH                                 23 SEAFOAM STREET                                                                                STATEN ISLAND      NY    10306‐5751
FRANK W HARRISON                                   265 DAVIS ST                                                                                     SAVANNAH           TN    38372‐1634
FRANK W HARTWIG                                    8325 RIVERLAND DR APT 6                                                                          STERLING HEIGHTS   MI    48314‐2459

FRANK W HAYES III                                  7420 SUNSET DR                                                                                   LANSING            MI    48917‐9695
FRANK W HINKLE                                     5225 WEIGOLD CT                                                                                  DAYTON             OH    45426‐1955
FRANK W ISAAC                                      6405 JOHNSON                                                                                     FLUSHING           MI    48433‐1137
FRANK W JENSEN & LORRAYN D JENSEN JT TEN           3106 FRANCE AVE N                                                                                ROBBINSDALE        MN    55422‐3209
FRANK W JONES                                      3751 PINGREE                                                                                     DETROIT            MI    48206‐2105
FRANK W KASELONIS                                  510 BOUGH CT                                                                                     WABASH             IN    46992‐2000
FRANK W KATCH                                      1352 W MARSHALL RD                                                                               ST JOHNS           MI    48879‐9413
FRANK W KIRKSEY                                    21660 HURON RIVER DR                                                                             NEW BOSTON         MI    48164‐9785
FRANK W KISER JR                                   1590 VALLEY HEIGHTS RD                                                                           XENIA              OH    45385‐9363
FRANK W KOHLER                                     12 TAYLOR RD                                                                                     CONSHOHOCKEN       PA    19428‐2132
FRANK W LATT & RUTH M LATT JT TEN                  1646 WESTWOOD DRIVE                                                                              ERIE               PA    16505‐2932
FRANK W LEE                                        986 LAKE TRAIL DRIVE                   WINDSOR ON                              N9G 2R3 CANADA
FRANK W MANLEY                                     C/O FRANK R MANLEY                     6303 HIDDEN RAILS                                         BURTON             MI    48519
FRANK W MARTINEZ                                   1711 CORONADO ST                                                                                 ALLEN              TX    75013‐4938
FRANK W MEHLBERG                                   6831 N MAPLE ST                                                                                  MANCELONA          MI    49659‐8697
FRANK W MOODY                                      3051 DOS LOMAS                                                                                   FALLSBROOK         CA    92028‐9223
FRANK W MOORE                                      7684 WIOUOS                                                                                      FORTVILLE          IN    46040‐9802
FRANK W PHALEN                                     23414 JUSTICE ST                                                                                 WEST HILLS         CA    91304‐4403
FRANK W POZZI                                      53265 WOLF DR                                                                                    UTICA              MI    48316‐2643
FRANK W REITZEL & DONNA R REITZEL TR UA 10/20/86   375 GLOCKER CT                                                                                   HENDERSON          NV    89012‐4857
THE REITZEL TRUST
FRANK W RICE                                       5 GLENRIDGE DR                                                                                   LITTLETON          CO    80123‐6503
FRANK W RICHARDSON III & DIANE L RICHARDSON JT     3430 CRESTWOOD DRIVE                                                                             BEAUMONT           TX    77706‐3729
TEN
FRANK W SAKOWSKI                                   8105 00 25 ROAD                                                                                  GARDEN             MI    49835
FRANK W SENIOR & MRS LAURA S SENIOR TEN ENT        255 DEAN STREET                                                                                  WEST CHESTER       PA    19382‐3318

FRANK W SHARRARD & TULA SHARRARD JT TEN            906 MAIN                                                                                         ESSEXVILLE         MI    48732‐1339
FRANK W SINNOCK                                    39 ALLEN AVENUE EXT                                                                              FALMOUTH           ME    04105‐1969
FRANK W SKEELER                                    2204 FM 1006                                                                                     WEST ORANGE        TX    77630‐9144
FRANK W SMIALKOWSKI & LOLA M SMIALKOWSKI TEN       2525 POT SPRING RD S‐508                                                                         TIMONIUM           MD    21093‐2778
ENT
FRANK W SMITH                                      HC 2 BOX 78N                                                                                     MARIENVILLE        PA    16239‐9406
FRANK W SMITH                                      5857 BERKLEY DRIVE                                                                               WARTERFORD         MI    48327‐2609
FRANK W SNIDER                                     662 HUNTINGTON PKWY                                                                              NASHVILLE          TN    37211‐5917
FRANK W STARKS & MRS IRENE F STARKS JT TEN         RT 23B                                                                                           CLAVERACK          NY    12513
FRANK W STRANZL JR                                 PO BOX 537                                                                                       FATE               TX    75132‐0537
FRANK W SULLIVAN JR                                2639 BERWYN RD                                                                                   COLUMBUS           OH    43221‐3207
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FRANK W TAYLOR                                    5972 PYLES ROAD                                                                                   COLUMBIAVILLE      MI    48421‐8933
FRANK W THOME                                     B‐101 RD 17 RR1                                                                                   NEW BAVARIA        OH    43548‐9801
FRANK W THOMPSON                                  APT 15D                                 1 GLENWOOD AVE                                            YONKERS            NY    10701‐2142
FRANK W TUSEK & MRS CAROLYN A TUSEK JT TEN        8739 MAYFAIR                                                                                      TAYLOR             MI    48180‐2921
FRANK W WARD                                      1235 WILD OAK DRIVE                                                                               LEMONT             IL    60439‐4195
FRANK W WHITFORD & PATRICIA L WHITFORD JT TEN     2800 S DIXON RD                         APT 314                                                   KOKOMO             IN    46902‐6417

FRANK W WILGA                                      34163 SPRING VALLEY DR                 # 19                                                      WESTLAND           MI    48185‐9454
FRANK W WOOLSTON                                   847 ELK MILLS RD                                                                                 OXFORD             PA    19363‐2229
FRANK W ZIEVERINK SR & KATHLEEN C ZIEVERINK JT TEN 11 WHITETAIL LN                                                                                  READING            PA    19606‐9490

FRANK W ZURVALEC                                  313 CAROLINE                                                                                      ESSEXVILLE         MI    48732‐1144
FRANK WALKER                                      4581 HERMITAGE LANE                                                                               GLOUCESTER         VA    23061
FRANK WARCHOL JR                                  201 2ND STR                                                                                       NORTH AUGUSTA      SC    29841
FRANK WARNER                                      169 GREEN ST                                                                                      PONTIAC            MI    48341‐1717
FRANK WASYLIKO TR FRANK WASYLIKO SURVIVOR'S       291 WYOMING AVE                                                                                   MAPLEWOOD          NJ    07040‐2020
TRUST UA 06/07/99
FRANK WAYNE KOCH                                  RTE 1 BOX 115B                                                                                    HERSHEY            NE    69143‐9724
FRANK WEEDEN JR                                   980 MOSBY RD                                                                                      MEMPHIS            TN    38116‐6315
FRANK WESLEY BYERS                                9120 CHATWELL CLUB LN                   APT 13                                                    DAVISON            MI    48423‐2876
FRANK WESLEY SHELTON JR                           3311 W CORNWALLIS RD                                                                              DURHAM             NC    27705‐6204
FRANK WEST II                                     10413 W BROOKSIDE DRIVE                                                                           SUN CITY           AZ    85351
FRANK WILCOXSON                                   5437 BROMICK DRIVE                                                                                TROTWOOD           OH    45426‐1913
FRANK WILCZAK                                     224 SHANLEY ST                                                                                    CHEEKTOWAGA        NY    14206‐2325
FRANK WILLIAM MAUZ                                2333 KAPIOLANI BLVD                     APT 1106                                                  HONOLULU           HI    96826
FRANK WILLIAM PROVENZA                            328 STRATFORD RD                                                                                  CATONSVILLE        MD    21228‐1844
FRANK WILLIAMS & MRS MARJORIE WILLIAMS JT TEN     221 EAST 8TH AVE                                                                                  ROSELLE            NJ    07203‐2033

FRANK WILLIAMS III                                PO BOX 462                                                                                        ROCKY MOUNT        NC    27802‐0462
FRANK WILLINGHAM                                  151 W UNION 20                                                                                    EMELLE             AL    35459‐2556
FRANK WILLIS CUST MICHAEL WILLIS UGMA MI          212 PAW PAW ST                                                                                    PAW PAW            MI    49079‐1492
FRANK WILSON                                      PO BOX 715                                                                                        HURTSBORO          AL    36860‐0715
FRANK WILSON                                      328 N LIVINGSTON RD                                                                               RIDGELAND          MS    39157‐5082
FRANK WILSON SR                                   510 W 12TH ST                                                                                     JONESBORO          IN    46938‐1333
FRANK WOHEAD & MRS MARJORIE WOHEAD JT TEN         818 N WEBSTER ST                                                                                  NAPERVILLE         IL    60563‐3060

FRANK WORTHY                                      PO BOX 1658                                                                                       GILBERT            AZ    85299‐1658
FRANK WRIGHT                                      PO BOX 944                                                                                        GRIFFIN            GA    30224‐0025
FRANK WRIGHT JR                                   2700 JT OTTINGER RD                                                                               ROANOKE            TX    76262‐8277
FRANK WYDEMAN JR                                  2251 S FORT APACHE RD 3104                                                                        LAS VEGAS          NV    89117‐5770
FRANK X BUJOLD II                                 335 DOUGLAS                                                                                       BLOOMFIELD HILLS   MI    48304‐1734

FRANK X CHAVEZ                                    9827 DUDLEY ST                                                                                    TAYLOR             MI    48180‐3742
FRANK X DUNHUBER JR                               PO BOX 99472                                                                                      RALEIGH            NC    27624‐9472
FRANK X GUARDADO                                  3114 PICKETT RD                                                                                   ST JOSEPH          MO    64503‐1426
FRANK X HELD                                      23455 LARKSHIRE DRIVE                                                                             FARMINGTON         MI    48024
FRANK X HOFFMANN & HERTA J HOFFMANN JT TEN        2318 EDWIN                                                                                        WARREN             MI    48092‐2103

FRANK X MC WILLIAMS                               PO BOX 678                                                                                        STOCKBRIDGE        MA    01262‐0678
FRANK X SENN JR                                   855 HUNTER RD                                                                                     PALMYRA            IN    47164‐8700
FRANK Y JACKSON & JONI M JACKSON JT TEN           24715 RIVERCHASE DR                     #3102                                                     VALENCIA           CA    91355
FRANK Y NISHIDA & MICHIKO NISHIDA JT TEN          18751 CHAPEL LANE                                                                                 HUNTINGTN BCH      CA    92646
FRANK YEDLIN & MARJORIE HOLLOWELL YEDLIN JT TEN   17570 MEADOWOOD AVE                                                                               LATHRUP VLG        MI    48076

FRANK YRAGUEN & MRS ROSE MARIE YRAGUEN JT TEN     1045 DOTTA DR                                                                                     ELKO               NV    89801‐2707

FRANK ZANIN                                       SUNCITY GRAND 15941 W KINO DR                                                                     SURPRISE           AZ    85374
FRANK ZELINSKI                                    7042 E EL PASEO ST                                                                                LONG BEACH         CA    90815‐3506
FRANK ZEMBO                                       1950 DOOVYS ST                                                                                    AVON               OH    44011‐1114
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FRANK ZERAFA                                    LINCOLN                             TRIEG IL WIED TA      RMIEDI            ATTARD MALTA
FRANK ZGLENICKI                                 5933 SLATER CIRCLE                                                                            MOSS POINT        MS    39562‐7841
FRANK ZIRILLI                                   5010 CAMPUSWOOD DR                                                                            EAST SYRACUSE     NY    13057‐1229
FRANK ZOLLI & BRENDA ZOLLI JT TEN               34 STANDHOPE DR                                                                               NORFOLK           MA    02056‐1015
FRANK ZUPAN & KATRINA REED JT TEN               4487 W TEEBOX                                                                                 SOUTH JORDAN      UT    84095
FRANKI F PANNELL                                APT 511                             54 WEST 74TH STREET                                       NEW YORK          NY    10023‐2420
FRANKIE A HARRIS                                465 TRUMAN RD                                                                                 FRANKLIN          TN    37064‐8322
FRANKIE A MILLER                                PO BOX 51                                                                                     LACKINE           MI    49753‐0051
FRANKIE C BROWN                                 319 MADISON                                                                                   WATERLOO          IA    50703‐4339
FRANKIE C DIAL                                  2663 WILL CARLETON RD                                                                         FLAT ROCK         MI    48134‐9717
FRANKIE C NOBLES                                1 WESTRIDGE PLACE                                                                             ROME              GA    30165‐6537
FRANKIE CARTWRIGHT RHODES                       807 PALMETTO RD                                                                               BENTON            LA    71006‐8350
FRANKIE COOPER                                  5714 HIGHLAND DRIVE                                                                           JACKSON           MS    39206‐2808
FRANKIE D ACORD                                 BOX 257                                                                                       FAIRDALE          WV    25839
FRANKIE D CLARK                                 1558 WADE DR                                                                                  LAPEER            MI    48446‐8705
FRANKIE D HARRISON                              1035 BAKER MNT ROAD                                                                           GRANT C           AL    35747
FRANKIE D MORTON                                6360 W STATE H H                                                                              KINGSTON          MO    64650‐9135
FRANKIE E CANNON                                1326 NORTHWOLD ST                                                                             LIMA              OH    45801‐3516
FRANKIE E FEAST                                 108 MARIE CT #83                                                                              BONNE TERRE       MO    63628‐8712
FRANKIE HARRIS                                  2718 CONCORD STREET                                                                           FLINT             MI    48504‐7366
FRANKIE HUDGINS                                 7544 DODGE                                                                                    WARREN            MI    48091‐2629
FRANKIE J BOTTINELLI                            13215 N E 130TH PL                                                                            KIRKLAND          WA    98034‐3345
FRANKIE J HEARNE                                245 RIO VISTA DR                                                                              KING CITY         CA    93930‐3516
FRANKIE J PISHOTTI                              7866 CASTLE ROCK DRIVE N E                                                                    WARREN            OH    44484‐1409
FRANKIE J SPRINGER                              919 HAWPATCH STREET                                                                           LA GRANGE         IN    46761‐2268
FRANKIE JEAN LUCKIN                             2464 DENNIS AVE                                                                               CLOVIS            CA    93611
FRANKIE L ALEXANDER                             3315 DENTON RD                                                                                INDEPENDENCE      MO    64052‐1048
FRANKIE L CHAMPION                              1063 BISHOP WILMER DR                                                                         MOBILE            AL    36605‐3264
FRANKIE L GUTHRIE                               401 GULF RD                                                                                   ELYRIA            OH    44035‐3642
FRANKIE L ODOMS                                 2 NAZING COURT #7                                                                             DORCHESTER        MA    02121‐2816
FRANKIE LEA LEES                                PO BOX 265                                                                                    PLEASANT HILL     MO    64080‐0265
FRANKIE M NEWMAN                                1814 HOLLOWAY AVE                                                                             INDIANAPOLIS      IN    46218‐4242
FRANKIE M TOMBLIN                               11 CLOVERLEAF CIRCLE                                                                          CULLODEN          WV    25510‐9753
FRANKIE M WELCH                                 154 BRAMBLITT LANE                                                                            TIGER             GA    30576‐9713
FRANKIE MARIE REED                              2919 E NEW YORK ST                                                                            INDIANAPOLIS      IN    46201‐3323
FRANKIE MARIE SANDBERG                          1217 MOONCREST                                                                                NEW BRAUNFELS     TX    78130‐3522
FRANKIE POE                                     1445 VALDOSTA DRIVE                                                                           CINCINNATI        OH    45246‐2836
FRANKIE R CLEEK                                 2484 S GRANT CITY RD                                                                          SHIRLEY           IN    47384‐9637
FRANKIE S HARPER                                21812 LAKEVIEW                                                                                SAINT CLAIR SHR   MI    48080‐4055
FRANKIE S HOLMES                                12526 MAGBURY LN                                                                              JACKSONVILLE      FL    32258‐4418
FRANKIE S SAVOLAINEN                            1377 SELMA                                                                                    WESTLAND          MI    48186‐4024
FRANKLIN A COWART                               4800 PISGAH ROAD                                                                              CUMMING           GA    30040‐3696
FRANKLIN A DUNN CUST FRANKLIN A DUNN III UTMA   519 BUENA VISTA AVENUE                                                                        SALISBURY         MD    21804‐5603
MD
FRANKLIN A DUNN JR                              519 BUENA VISTA AVENUE                                                                        SALISBURY         MD    21804‐5603
FRANKLIN A FERNANDES                            6896 MAPLE DR                                                                                 DUBLIN            CA    94568‐2555
FRANKLIN A RIVETTE                              9050 FROST RD                                                                                 SAGINAW           MI    48609‐9308
FRANKLIN A ROBERTS                              46 COUNTRY CLUB DR                                                                            LARGO             FL    33771‐5607
FRANKLIN A YOUNG                                421 BROOKWOOD DR                                                                              HAMBURG           NY    14075‐4219
FRANKLIN ARTHUR SKOFSTAD                        308 FIFTH ST                                                                                  SCOTIA            NY    12302‐1906
FRANKLIN B BROWN                                2151 ORLEANS DR                                                                               TALLAHASSEE       FL    32308‐5924
FRANKLIN B CLACK & EDITH M CLACK JT TEN         2313 MANCHESTER CT                                                                            FT COLLINS        CO    80526‐1620
FRANKLIN B MCILVAIN                             382 OLD STANDING STONE RD                                                                     LIVINGTON         TN    38570‐8905
FRANKLIN B READ CUST RYAN M READ UGMA MI        1460 W LONG LAKE RD                                                                           BLOOMFIELD        MI    48302‐1337
FRANKLIN BANE                                   PO BOX 46                                                                                     LYNCO             WV    24857‐0046
FRANKLIN BEEBE SULLIVAN                         1825 IVY POINTE CT                                                                            NAPLES            FL    34109‐3378
FRANKLIN BILLIMEK                               PO BOX 361                                                                                    HALLETTSVILLE     TX    77964‐0361
FRANKLIN BRAY                                   1819 THOMPSON AVE                                                                             CRANE             TX    79731‐4415
FRANKLIN BREWER                                 4513 E RAVENWOOD DRIVE                                                                        CHATTANOOGA       TN    37415‐2311
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FRANKLIN C CORNELL & LUCY M CORNELL TR UA          170 WAVERLY DR                                                                                  ALHAMBRA        CA    91801‐2935
08/13/97
FRANKLIN C COYNER                                  F C COYNER                            PO BOX 68                                                 WAYNESBORO      VA    22980‐0052
FRANKLIN C EDGESTON                                1862 S AVERILL AVENUE                                                                           FLINT           MI    48503‐4402
FRANKLIN C GROGG                                   509 WINFIELD RD                                                                                 ST ALBANS       WV    25177‐1720
FRANKLIN C MANN TR UA 10/02/2006 FRANKLIN C        2704 67TH ST W                                                                                  BRADENTON       FL    34209
MANN TRUST
FRANKLIN C RAYMOND                                 28 SASSAFRAS LANE                                                                               MONMOUTH JCT    NJ    08852‐2029
FRANKLIN C REGAN JR                                302 RIDGELY RD                                                                                  LUTHERVILLE     MD    21093‐4432
FRANKLIN C WILSON                                  1627 CASTLE COVE CIR                                                                            CORONA DELMAR   CA    92625‐1233
FRANKLIN CASEY HARRISON TR CAMERON KAY FAM         3835 N PANTANO RD                                                                               TUCSON          AZ    85750‐2358
TRUST UA 12/20/93
FRANKLIN CASEY HARRISON TR CASEY KAY FAM TRUST     3835 N PANTANO RD                                                                               TUCSON          AZ    85750‐2358
UA 12/20/93
FRANKLIN CHARLES FLORY                             10420 COUNTY ROAD 16                                                                            MONTPELIER      OH    43543‐9599
FRANKLIN CRAWFORD                                  3688 MAXWELL                                                                                    DETROIT         MI    48214‐1108
FRANKLIN CT GINN & SHEW Y GINN JT TEN              438 W 44TH ST                                                                                   TUCSON          AZ    85713‐5930
FRANKLIN D BAILEY                                  51 DINGENS ST                                                                                   BUFFALO         NY    14206‐2307
FRANKLIN D BAILEY                                  4905 NORTHWOOD                                                                                  SHEFFIELD LAK   OH    44054‐1530
FRANKLIN D BAKER                                   2313 E FOLLEY                                                                                   CHANDLER        AZ    85225‐5894
FRANKLIN D BALLARD                                 5267 PETAL BROOK DR DR                                                                          BAY CITY        MI    48706‐3080
FRANKLIN D BLACK                                   1220 SILVERTHORNE RD                                                                            BALTIMORE       MD    21239‐3433
FRANKLIN D BRIGGS                                  1186 BRIARFIELD CIRCLE                                                                          GRAND BLANC     MI    48439‐8917
FRANKLIN D BUCHANAN                                306 ABBEY CIR                                                                                   ASHEVILLE       NC    28805‐3401
FRANKLIN D BUTZ                                    5 E SQUIRES AVE                                                                                 EAST QUOGUE     NY    11942‐4600
FRANKLIN D CASTOR                                  2568 PRIVADA DRIVE                                                                              LADY LAKE       FL    32159‐8509
FRANKLIN D CHRISTIAN SR                            16816 SETTLEMENT RD                                                                             BUHL            AL    35446‐9115
FRANKLIN D CHRISTIAN SR & PAULINE J CHRISTIAN JT   16816 SETTLEMENT RD                                                                             BUHL            AL    35446‐9115
TEN
FRANKLIN D CLAUSER                                 PO BOX 20611                                                                                    SAINT LOUIS     MO    63139‐0611
FRANKLIN D CLEVENGER                               7 WASHINGTON ST                                                                                 SEVILLE         OH    44273‐9712
FRANKLIN D COLEMAN                                 2900 STONEGATE DR                                                                               PARAGOULD       AR    72450‐8366
FRANKLIN D CRAFT                                   R 2 BOX 82                                                                                      PEACHLAND       NC    28133‐9526
FRANKLIN D FLEMING                                 1306 HARRIGAN ROAD                                                                              WHITESVILLE     NY    14897‐9714
FRANKLIN D GIBSON                                  19 BRENDA STREET                                                                                PORT DEPOSIT    MD    21904‐1741
FRANKLIN D GLAZIER                                 1869 YOUNGS DITCH ROAD                                                                          BAY CITY        MI    48708‐6967
FRANKLIN D GLOVER                                  2536 LOWER UNION HILL RD                                                                        CANTON          GA    30115‐8440
FRANKLIN D GOOD                                    420 EMERSON DRIVE                                                                               NEW LEBANON     OH    45345‐1623
FRANKLIN D GREENE                                  3679 NORTH STATE RT                   #123                                                      FRANKLIN        OH    45005
FRANKLIN D HAACK                                   12289 E STANLEY RD                                                                              COLUMBIAVILLE   MI    48421‐8804
FRANKLIN D HALL & GERALDINE M HALL JT TEN          12 FLAT SHOALS CHURCH ROAD                                                                      STOCKBRIDGE     GA    30281‐1514
FRANKLIN D HOLLAND                                 313 EAST SOUTH ST                                                                               WEST UNION      OH    45693‐1415
FRANKLIN D HOUCHIN                                 280 DIANE ST                                                                                    RITTMAN         OH    44270‐1346
FRANKLIN D HOWIE                                   STONE CHURCH ROAD                                                                               OGDENSBURG      NY    13669
FRANKLIN D HUTT                                    127 SOUTH RACQUETTE ST                                                                          MASSENA         NY    13662
FRANKLIN D HUTT & JEAN C HUTT JT TEN               127 SOUTH RACQUETTE ST                                                                          MASSENA         NY    13662‐1223
FRANKLIN D JARVIS                                  ROUTE #1 BOX 207B                                                                               BELINGTON       WV    26250‐9760
FRANKLIN D JOHNSON                                 4606 CROWNE LAKE CIR                  APT 1E                                                    JAMESTOWN       NC    27282‐7909
FRANKLIN D KEENE                                   2599 SHULER BAINCK RD                                                                           ETHRIDGE        TN    38456‐7070
FRANKLIN D KEISLER                                 6809 FAIRVIEW ROAD                                                                              BATESBURG       SC    29006‐9785
FRANKLIN D LINCOLN                                 160 HIGHLAND                                                                                    CLAWSON         MI    48017‐1569
FRANKLIN D MARABLE                                 4463 HIPP                                                                                       DEARBORN HTS    MI    48125
FRANKLIN D MARCUM                                  4402 MCKINLEY AVE                                                                               ANDERSON        IN    46013‐5059
FRANKLIN D MONROE                                  10730 TWO NOTCH ROAD                                                                            ELGIN           SC    29045‐9307
FRANKLIN D ODELL & JOAN M O DELL JT TEN            1282 JUNCTION DR                                                                                SPARKS          NV    89434‐4022
FRANKLIN D OUSLEY                                  R1                                                                                              PLYMOUTH        OH    44865‐9801
FRANKLIN D OWENS                                   3942 GOLFLINKS DR NW                                                                            ACWORTH         GA    30101‐3892
FRANKLIN D PATTERSON                               RR 1 907 CANAL                                                                                  ANDERSON        IN    46012‐9219
FRANKLIN D PINKUS                                  25 KETCHAM RD                                                                                   FARMINGDALE     NJ    07727‐3579
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FRANKLIN D PITTMON JR                              1125 W 30TH ST                                                                                    INDIANAPOLIS      IN    46208‐4928
FRANKLIN D PITTS                                   47801 HULL ROAD                                                                                   BELLEVILLE        MI    48111‐2520
FRANKLIN D PRYOR                                   5878 HIGHWAY 905                                                                                  CONWAY            SC    29526‐7184
FRANKLIN D RISER                                   8182 HARRIS RD                                                                                    LODIE             OH    44254‐9702
FRANKLIN D ROACH                                   1710 COMPTON ST                                                                                   BRANDON           FL    33511‐1865
FRANKLIN D ROWLAND & DOROTHA M ROWLAND JT          1411 FOUST RD                                                                                     XENIA             OH    45385
TEN
FRANKLIN D SCHOFIELD                               1311 ROSEWOOD DRIVE NE                                                                            WARREN            OH    44484‐1452
FRANKLIN D SEALEY                                  3553 E 103 ST                                                                                     CLEVELAND         OH    44105‐1811
FRANKLIN D SMUTEK                                  255 DEETER RD                           PO BOX 235                                                LUZERNE           MI    48636‐0235
FRANKLIN D STANFILL                                117 STANFILL RD                                                                                   STRUNK            KY    42649‐9377
FRANKLIN D STEENBERGH                              975 EDDY SCHOOL RD                                                                                MANCELONA         MI    49659‐8768
FRANKLIN D TERRY                                   7164 CO RD 217                                                                                    HILLSBORO         AL    35643‐3621
FRANKLIN D TUCK                                    508 WILDER RD                                                                                     VIRGINIA BEACH    VA    23451‐2346
FRANKLIN D WILLIAMS                                1602 W DAYTON                                                                                     FLINT             MI    48504‐2738
FRANKLIN D WILSON                                  515 N LENFESTY                                                                                    MARION            IN    46952‐2346
FRANKLIN DAGOSTINO                                 7444 E WEAVER WAY                                                                                 PRESCOTT VLY      AZ    86314
FRANKLIN DAVIS                                     2714 HARBOR WALK                                                                                  FAIRBURN          GA    30213‐3957
FRANKLIN E BLEVINS                                 5012 ST RT 132                                                                                    BATAVIA           OH    45103‐1227
FRANKLIN E FEARING & MARIAN COX FEARING JT TEN     30023 WINSOR DR                                                                                   BAY VILLAGE       OH    44140‐1261

FRANKLIN E HEROD                                   11422 ST CLOUD RD                                                                                 RICHMOND          MO    64085‐8707
FRANKLIN E MELSON                                  4033 DUBLIN HILL RD                                                                               BRIDGEVILLE       DE    19933
FRANKLIN E PATRICK                                 1017 TOLER ST                                                                                     MALVERN           AR    72104
FRANKLIN E ROBERTS                                 180 CLUBRIDGE PL                                                                                  COLORADO SPGS     CO    80906
FRANKLIN E RYANS                                   6227 N LITCHFIELD RD 56                                                                           LITCHFIELD PARK   AZ    85340‐4059
FRANKLIN E TAYLOR                                  103 MARKHAM PL                                                                                    PORTLAND          TX    78374‐1417
FRANKLIN E THOMPSON                                9158 DALLAS DR                                                                                    GROSSE ILE        MI    48138‐1702
FRANKLIN E UTT & SHANNA L UTT JT TEN               128 E SYCAMORE                                                                                    SPRINGPORT        IN    47386‐9740
FRANKLIN E WILKINSON                               4300 SCHOOL ST                                                                                    CHESTER           VA    23831‐4447
FRANKLIN E WILLIAMS JR                             7133 KESSLING                                                                                     DAVISON           MI    48423‐2445
FRANKLIN EARLA PATTERSON                           203 MILLCREEK DRIVE                                                                               CHESTERFIELD      IN    46017
FRANKLIN EDWARD MEISSNER                           16 BRADY AVE                                                                                      LANCASTER         NY    14086‐1904
FRANKLIN F BECK JR                                 2010 STUDENT LN                                                                                   HILLSDALE         MI    49242‐8569
FRANKLIN F SCHNEIDER                               2625 CEDAR POINT DR                                                                               JANESVILLE        WI    53546‐5453
FRANKLIN F STEARNS JR & DORIS D STEARNS JT TEN     10 SPRING STREET                                                                                  SACO              ME    04072‐2603

FRANKLIN G ALLGAUER II                             6340 MONTROSE ST                                                                                  ALEXANDRIA        VA    22312‐2027
FRANKLIN G HELFRICH                                246 WASHINGTON HWY                                                                                BUFFALO           NY    14226‐4363
FRANKLIN G KING                                    3644 S 1020E                                                                                      GREENTOWN         IN    46936‐8959
FRANKLIN G MARKLEY                                 160 JANNEY LN                                                                                     SPRINGBORO        OH    45066‐8524
FRANKLIN G MURDOCK                                 8200 DEXTER                                                                                       DETROIT           MI    48206‐2312
FRANKLIN G NAGY                                    7220 GREEN VALLEY DR                                                                              GRAND BLANC       MI    48439‐8141
FRANKLIN G ROBBINS                                 14806 HARRIS ROAD                                                                                 DEFIANCE          OH    43512‐6910
FRANKLIN G ROBBINS & HELEN L ROBBINS JT TEN        14806 HARRIS ROAD                                                                                 DEFIANCE          OH    43512‐6910
FRANKLIN G SIMON                                   5838 BRITTANY WOODS CIRCLE                                                                        LOUISVILLE        KY    40222‐5908
FRANKLIN GEORGE DILL                               2214 WARRINGTON WAY                                                                               JACKSONVILLE      NC    28540
FRANKLIN GLASGALL                                  APT 20‐E                                165 W 66TH STREET                                         NEW YORK          NY    10023‐6541
FRANKLIN GUNSBERG                                  48 HIDDEN LEDGE RD                                                                                ENGLEWOOD         NJ    07631‐5125
FRANKLIN H COLE PERS REP EST EVELYN K COLE         800 5TH AVE                             FL 15                                                     SEATTLE           WA    98104
FRANKLIN H DAVIDSON & MARY N DAVIDSON JT TEN       1703 DELPENN RD                                                                                   WILMINGTON        DE    19810‐1613

FRANKLIN H GORTON                                  3232 BURMELL                                                                                      FLINT             MI    48504‐4302
FRANKLIN H GROSS JR                                15565 S FENMORE RD                                                                                BANNISTER         MI    48807‐9336
FRANKLIN H HARE & MRS MARY LOU HARE JT TEN         300 WILLOW VALLEY LAKE DR               APT C 015                                                 WILLOW STREET     PA    17584‐9442
FRANKLIN H HILL                                    5744 CAMPBELL BLVD                                                                                LOCKPORT          NY    14094‐9201
FRANKLIN H HILL TOD ELIZABETH J HILL               5744 CAMPBELL BLVD                                                                                LOCKPORT          NY    14094
FRANKLIN H JESSE                                   05192 GLENBURG RD                                                                                 DEFIANCE          OH    43512‐9809
FRANKLIN H KIRKMAN                                 10724 HARLOW ROAD                                                                                 DARIEN CENTER     NY    14040‐9770
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FRANKLIN H KRING                                     5809 HILLIARD RD                                                                                  LANSING           MI    48911‐4925
FRANKLIN J AMOLINE                                   5541 PIERCE RD N W                                                                                WARREN            OH    44481‐9307
FRANKLIN J BLAKESLEE                                 110 MONTEBELLO ST S E                                                                             GRAND RAPIDS      MI    49548‐4315
FRANKLIN J BOWES                                     314 LINCOLN AVE                                                                                   WILLIAMSPORT      PA    17701‐2332
FRANKLIN J DELLA PIA TR FRANKLIN J DELLA PIA LIV     327 GREEN MEADOWS DR                                                                              LANSING           MI    48917
TRUST UA 08/30/00
FRANKLIN J DICK                                      23555 LK AVALON RD                                                                                HILLMAN           MI    49746‐8217
FRANKLIN J FRANCOIS                                  10191 TORREY RD                                                                                   FENTON            MI    48430‐9794
FRANKLIN J HANCHER                                   16790 WEST RIVER RD                                                                               COLUMBIA STA      OH    44028‐9012
FRANKLIN J KOCH & HOPE E KOCH JT TEN                 2310 FRANKLIN'S CHANCE COURT                                                                      FALLSTON          MD    21047‐1323
FRANKLIN J KOSCH                                     ROUTE 1                                                                                           CONTINENTAL       OH    45831‐9801
FRANKLIN J RUSSO                                     1122 OSSINGTON ST                                                                                 FLINT             MI    48507‐1511
FRANKLIN J UNDERWOOD                                 PO BOX 237                                                                                        WEST CHESTERFIELD NH    03466‐0237

FRANKLIN J WALKER                                    23 HILL STREET                                                                                    TONWANDA          NY    14150‐3301
FRANKLIN J WIENS                                     2004 CLEARFIELD WAY                                                                               CARMICHAEL        CA    95608‐5409
FRANKLIN J WILSON                                    PO BOX 38                                                                                         ROXBURY           PA    17251‐0038
FRANKLIN L BAKER                                     825 E JACKSON STREET                                                                              MUNCIE            IN    47305‐2551
FRANKLIN L ELSTON                                    2432 S MICHIGAN RD                                                                                EATON RAPIDS      MI    48827‐9208
FRANKLIN L KIISKILA                                  1753 DORN DRIVE                                                                                   LEONARD           MI    48367‐2633
FRANKLIN L RICHARDSON                                3197 EASTGATE ST                                                                                  BURTON            MI    48519‐1552
FRANKLIN L ROWLAND                                   7401 ROCHESTER ROAD                                                                               LOCKPORT          NY    14094‐1657
FRANKLIN LEE CALDWELL                                11967 N 75 W                                                                                      ALEXANDRIA        IN    46001‐8468
FRANKLIN LEE SMITH                                   G6449 DETROIT ST                                                                                  MT MORRIS         MI    48458
FRANKLIN LEE VARNER                                  ROUTE 3 BOX 64                                                                                    DURBIN            WV    26264
FRANKLIN LODGE NO 12 AF & AM                         PO BOX 44                                                                                         GEORGETOWN        DE    19947‐0044
FRANKLIN M CHASE                                     90 KENDALL AVE                                                                                    FRAMINGHAM        MA    01702‐7429
FRANKLIN M DILLS                                     1502 CELESTA WAY                                                                                  SELLERSBURG       IN    47172‐1908
FRANKLIN M HINKEL                                    3379 E 350 N                                                                                      MARION            IN    46952‐9635
FRANKLIN M PARMER                                    47 PHYLLIS AVENUE                                                                                 BUFFALO           NY    14215‐2823
FRANKLIN M PHILLIPS                                  636 GODWIN AVE 21‐A                                                                               MIDLAND PARK      NJ    07432‐1467
FRANKLIN M RIZER TR FRANKLIN M RIZER TRUST UA        469 COUNTRY CLUB DR                                                                               WARREN            OH    44484‐4616
01/23/93
FRANKLIN M ROSENBLUM & ARLENE ROSENBLUM JT           333 WYNSUM AVE                                                                                    MERRICK           NY    11566‐4727
TEN
FRANKLIN M ZELINKA                                   234 VOGEL RD                                                                                      BUTLER            PA    16002‐3844
FRANKLIN MITCHELL                                    PO BOX 214                                                                                        WOODSTOCK         AL    35188‐0214
FRANKLIN MONTROSS III                                BOX 215                                                                                           CHATHAM           MA    02633‐0215
FRANKLIN MOORE                                       85 NATHAN DRIVE                                                                                   ALPHARETTA        GA    30201‐1809
FRANKLIN N DAVIS                                     936 DIVISION STREET                                                                               ADRIAN            MI    49221‐4024
FRANKLIN NICOLA KNOX                                 211 N FAIRFAX BLVD                                                                                RANSON            WV    25438‐1603
FRANKLIN NOORMAN                                     2687 CEDAR GRV N                                                                                  JENISON           MI    49428‐7114
FRANKLIN O WALKER                                    1002 S JEFFERSON ST                                                                               PRINCETON         KY    42445
FRANKLIN P DOWDELL                                   7617 CONYERS ST                                                                                   LITHONIA          GA    30058‐4207
FRANKLIN P HABER                                     3715 LAKE VILLA DR                                                                                METAIRIE          LA    70002‐4331
FRANKLIN P KNILL PHD PC                              708 MOBJACK PLACE                                                                                 NEWPORT NEWS      VA    23606‐1957
FRANKLIN P MC GOWAN JR                               1723 N MAIN ST                                                                                    GREENVILLE        SC    29609‐4726
FRANKLIN P MULLHOLAND                                740 TRAIL DR                            APT 9                                                     NAPOLEON          OH    43545‐1075
FRANKLIN P RUTHERFORD                                37 WIEST LANE                                                                                     GERRARDSTOWN      WV    25420‐4236
FRANKLIN P SHANEY                                    12533 GRACEWOOD DR                                                                                BALTIMORE         MD    21220‐1237
FRANKLIN P THOMAS                                    120 23RD ST UNIT C                                                                                COSTA MESA        CA    92627‐1782
FRANKLIN R ALLEN                                     201 HALF ST                                                                                       MARTINSBURG       WV    25401‐4917
FRANKLIN R ARNOLD & SUSAN LUCILLE MC CARTHY JT       3240 YORK ST                                                                                      ROCHESTER HILLS   MI    48309‐3945
TEN
FRANKLIN R BABCOCK                                   627 LITTLEFIELD DR                                                                                JANESVILLE        WI    53546‐3304
FRANKLIN R BRIDEAU                                   9821 E GEMINI PL                                                                                  SUN LAKES         AZ    85248‐7335
FRANKLIN R BUGGS                                     2026 ADAMS                                                                                        FLINT             MI    48505‐5034
FRANKLIN R BURKETT                                   404 EAST STENZIL STREET                                                                           N TONAWANDA       NY    14120‐1757
FRANKLIN R DARBY                                     16621 SCHAEFER HWY                      APT 10                                                    DETROIT           MI    48235‐4264
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FRANKLIN R DOONER                                  1121 GLEN ABBY DR                                                                             MANTECA         CA    95336‐8294
FRANKLIN R FORD                                    260 STATE ROUTE 58                                                                            SULLIVAN        OH    44880‐9762
FRANKLIN R FRANKLIN                                341 STERLING AVENUE                                                                           BUFFALO         NY    14216‐1936
FRANKLIN R FULTON                                  15075 CEDARGROVE ST                                                                           DETROIT         MI    48205‐3665
FRANKLIN R GOULD                                   1247 S PLAIN ROAD                                                                             DEFORD          MI    48729‐9612
FRANKLIN R GRINDROD                                43 W MCKINSEY RD APT 317                                                                      SEVERNA PARK    MD    21146
FRANKLIN R HOPKINS                                 PO BOX 1438                                                                                   MARION          IN    46952‐7838
FRANKLIN R LLOYD III CUST FRANKLIN ROBERT LLOYD IV 3728 HERSEHEL AVE                                                                             DALLAS          TX    75219
UGMA MI
FRANKLIN R LLOYD III CUST WILLIAM ALEXANDER LLOYD 3728 HERSEHEL AVE                                                                              DALLAS          TX    75219
UGMA MI
FRANKLIN R MARTIN                                  465 CHURCH ST                                                                                 YOUNGSTOWN      NY    14174‐1333
FRANKLIN R MCCARTY                                 PO BOX 262                                                                                    TOPINABEE       MI    49791‐0262
FRANKLIN R RUNYON                                  784 HAWICK CIR                                                                                MOUNT MORRIS    MI    48458‐8719
FRANKLIN R SWAN                                    44 COOLIDGE ROAD                                                                              ARLINGTON       MA    02476‐7739
FRANKLIN R TURNER                                  9167 CAROLINE RIDGE LN N                                                                      JACKSONVILLE    FL    32225‐9314
FRANKLIN REED                                      1440 FARRIS                                                                                   PAGEDALE        MO    63130‐1803
FRANKLIN S ALLEN III                               PO BOX 10464                                                                                  MC LEAN         VA    22102‐8464
FRANKLIN S GOLDEN                                  8860 CHAPEL RD                                                                                MERIDIAN        MS    39305‐9641
FRANKLIN S HARRIS                                  87 COTTAGE LANE RR 3                HUNTSVILLE ON                           P1H 2J4 CANADA
FRANKLIN S LAWSON                                  728 24TH STREET                                                                               HERMOSA BEACH   CA    90254‐2208
FRANKLIN S SEYMOUR & MRS DIANA S SEYMOUR JT TEN 1001 MEADOWVIEW LN                                                                               RIDGECREST      CA    93555‐3175

FRANKLIN S YOW                                    13389 LAKE SHORE DR                                                                            FENTON          MI    48430‐1021
FRANKLIN SCOTT HUTCHINSON                         PO BOX 9048                                                                                    CORAL SPRINGS   FL    33075‐9048
FRANKLIN STEARNS                                  3306 MCKINLEY ST NW                                                                            WASHINGTON      DC    20015‐1649
FRANKLIN STUART SEYMOUR III                       4515 LONG BRANCH AVE                                                                           SAN DIEGO       CA    92107‐2333
FRANKLIN T ABRAHAM                                610 ROOSEVELT AVE                                                                              JANESVILLE      WI    53546‐3103
FRANKLIN T CLENDENING                             7069 MARIGOLD DR                                                                               NORTH TOWANDA   NY    14120‐1283

FRANKLIN T FERRELL                                403 WALNUT ST                        PO BOX 41                                                 GROVER HILL     OH    45849‐0041
FRANKLIN T JHIN                                   55 OAK ST                                                                                      WHITE PLAINS    NY    10607‐2803
FRANKLIN T MEISENBURG                             3800 BEEBE ROAD                                                                                NEWFANE         NY    14108‐9661
FRANKLIN T SMITH                                  384 W BROWN RD BOX 367                                                                         MAYVILLE        MI    48744‐9545
FRANKLIN T SMITH                                  92 CARTER ROAD                                                                                 SANTA CRUZ      CA    95060‐9723
FRANKLIN T VAN WERT                               1701 KINGS CT                                                                                  SOUTH PARK      PA    15129‐8834
FRANKLIN T VARONE                                 1512 SPRING LANE                                                                               WILM            DE    19809‐2241
FRANKLIN TALBOT                                   3 RICKER PARK APT 2A                                                                           PORTLAND        ME    04101‐1615
FRANKLIN U HARTMAN                                9915 NORWALK RD                                                                                LITCHFIELD      OH    44253‐9502
FRANKLIN V ENDOM JR                               1111 S FOSTER DR SUITE C                                                                       BATON ROUGE     LA    70806‐7238
FRANKLIN W ANDERSON TR UA 6/15/79                 23725 W JUNIPER LN                                                                             DEER PARK       IL    60010‐2971
FRANKLIN W BERRY                                  PO BOX 606                                                                                     CHAPEL HILL     TN    37034‐0606
FRANKLIN W HARRIS                                 2354 SAND RD                                                                                   PORT CLINTON    OH    43452‐1528
FRANKLIN W NEFF TR FRANKLIN W NEFF REVOCABLE      14035 W 91ST TER                                                                               LENEXA          KS    66215‐3209
TRUST UA 5/18/99
FRANKLIN W PHEANIS                                C/O PENELOPE S RADER                 193 P RR#1                                                MT VERNON       KY    40456‐9801
FRANKLIN W PLEASANT                               801 W ALMA AVE                                                                                 FLINT           MI    48505‐1971
FRANKLIN W REIMERT & NANCY B REIMERT JT TEN       836 WALNUT ST                                                                                  EMMAUS          PA    18049‐2014
FRANKLIN W ROSEBROCK                              6521 BELL ROAD                                                                                 BIRCH RUN       MI    48415‐9048
FRANKLIN W WHALEY JR                              1209 FLINT HILL ROAD                                                                           WILMINGTON      DE    19808‐1913
FRANKLIN W WHITT                                  2679 WINDMERE DR                                                                               NORCROSS        GA    30071‐4339
FRANKLIN W WISE                                   249 PINEHURST ROAD                   FAIRFAX                                                   WILMINGTON      DE    19803‐3125
FRANKLIN W WOOD                                   9953 ROME RD                                                                                   ADRIAN          MI    49221‐9443
FRANKLIN WHITAKER                                 19481 CHERRYLAWN                                                                               DETROIT         MI    48221‐1601
FRANKLIN Y CHENG & PI‐YU C CHENG JT TEN           900 COUNTRY LANE                                                                               ROLLA           MO    65401‐4716
FRANKLIN Z ADELL                                  459 MARTELL DR                                                                                 BLOOMFIELD      MI    48304‐3453
FRANKLYN J KODL                                   PO BOX 309                                                                                     SALEM           MO    65560‐0309
FRANKLYN JACKSON & EDNA E JACKSON JT TEN          21123 BEHRENDT                                                                                 WARREN          MI    48091‐2775
FRANKLYN JAMES                                    1356 CROFTON AVE                                                                               BALTIMORE       MD    21239‐3933
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FRANKLYN L WILSON                                 6605 PARKER RD                                                                                   FLORISSANT         MO    63033‐5040
FRANKLYN W THAYER JR                              1745 FLAMINGO DRIVE                                                                              EAGAN              MN    55122‐1116
FRANKY J MOORE                                    25906 FRANKLIN POINTE DR                                                                         SOUTHFIELD         MI    48034‐1538
FRANKY L SUGGS                                    PO BOX 1329                                                                                      HALEYVILLE         AL    35565‐8329
FRANKYE E FARLEY                                  380 ROPER KNOB                                                                                   FRANKLIN           NC    28734‐2577
FRANS C CRISPEELS                                 LT LIPPENSLAAN 31                     2140 BORGERHOUT                         BELGIUM
FRANS L WIDERSTROM                                128 ST MALO CT                                                                                   MARTINEZ           CA    94553‐7211
FRANS W BANNINK & MRS GEORGETTE H BANNINK JT      20652 LASSEN SPACE 26                                                                            CHATSWORTH         CA    91311‐0626
TEN
FRANSICO VELOZ                                    APT 3F                                1374 BRONX RIVER AVE                                       BRONX              NY    10472‐1137
FRANTZ ALEXANDRE                                  795 EAST 34TTH STREET                                                                            BROOKLYN           NY    11210‐2727
FRANX X HOLZER & WALTRAUT HOLZER JT TEN           53401 SHELBY RD                                                                                  SHELBY TOWNSHIP    MI    48316‐2262

FRANZ BLASCHKE                                    822 SETTLERS CT                                                                                  SAN MARCOS         CA    92069‐1963
FRANZ J NATTER                                    13068 CLOVERLAWN                                                                                 STERLING HEIGHTS   MI    48312‐1614

FRANZ J SCHARHAG                                  1820 FELICIANA TER                                                                               LADY LAKE          FL    32162‐4021
FRANZ JACOB BLATTNER                              12268 ‐ 5 MILE RD NE                                                                             LOWELL             MI    49331‐9723
FRANZ JOSZT                                       425 HILL STREET                                                                                  ROCHESTER          MI    48307‐2211
FRANZ KAUPP & RENATE KAUPP JT TEN                 807 ASPIN RD                                                                                     ROCHESTER          MI    48307
FRANZ M BARNES                                    110 DUBLIN DRIVE                                                                                 CLINTON            MS    39056‐4540
FRANZ MEYER DE STADELHOFEN                        17 ROUGES ‐ TERRES                    HAUTERIVE                               2068 SWITZERLAND
FRANZ PACHL & ROSA PACHL JT TEN                   4801 GREENWICH DR                                                                                HIGHLANDS RANCH CO       80130‐5204

FRANZ R ROTTMEYER                                 JOSEF SCHOEFFEL GASSE 63              A 3400 KLOSTERNEUBURG                   AUSTRIA
FRANZ R ROTTMEYER                                 JOSEF SCHOEFFELGASSE 63               KLOSTERNEUBURG AUS                      3400 AUSTRIA
FRANZ R ROTTMEYER                                 JOSEF SCHOEFFELGASSE 63               KLOSTERNEUBURG AUS                      3400 AUSTRIA
FRANZ WILLIAMS                                    102 ELLEN LANE                                                                                   MAULDIN            SC    29662‐2809
FRANZ WOLFF                                       HUBERTUS‐WEG 2                        4040 NEUSS                              GERMANY
FRANZ X LEIB                                      6339 LODI LANE                                                                                   SALINE             MI    48176‐8800
FRANZ‐ALFR ZANDER                                 STAUFENSTRASSE 1                      FLOERSHEIM                              GERMANY
FRAZER C HILDER                                   1616 S STREET NW                                                                                 WASHINGTON         DC    20009‐6407
FRAZER G COOK                                     524 HIGHLAND DR                       #23                                                        SEATTLE            WA    98109‐3332
FRAZIER GRIFFIN JR                                1518 W 77TH ST                        #1                                                         CHICAGO            IL    60620‐4226
FRAZIER MARTIN                                    16911 WALDEN AVE                                                                                 CLEVELAND          OH    44128‐1541
FRAZIER R PITTMAN                                 310 LEEANNE RD                                                                                   BALTO              MD    21221‐3435
FRAZIER TOWNSEND JR                               3618 SOUDERTON                                                                                   SAGINAW            MI    48601‐5171
FRED A ARLEDGE                                    354 CARSON RD                                                                                    LITTLETON          ME    04730‐6717
FRED A BEMBRY                                     545 HILLSIDE TERRACE                                                                             WEST ORANGE        NJ    07052‐4306
FRED A BOOTH                                      5456 WINCHESTER WAY                                                                              GLADWIN            MI    48624‐8511
FRED A CHAMBERLIN                                 1800 LORENA LN                                                                                   ORLANDO            FL    32806‐1522
FRED A COLLINS                                    9180 N CO RD 800 WEST                                                                            MIDDLETOWN         IN    47356‐9305
FRED A COX                                        1800 SE SAINT LUCIE BLVD              APT 8‐102                                                  STUART             FL    34996‐4251
FRED A CUTHILL                                    2175 YGNACIO VALLEY RD                                                                           WALNUT CREEK       CA    94598‐3385
FRED A DRUNAGEL                                   PO BOX 3610                                                                                      WARRENTON          VA    20188‐8210
FRED A EDWARDS                                    909 ALEXANDRIA RD                                                                                WEAVER             AL    36277‐3241
FRED A FISHER                                     1608 LAKE AVENUE                                                                                 ELYRIA             OH    44035‐3128
FRED A GILMAN                                     16635 RIDGE ROAD                                                                                 HOLLEY             NY    14470‐9366
FRED A GLACKEN                                    3375 E MICHIGAN AVE                   LOT 245                                                    YPSILANTI          MI    48198‐9465
FRED A GREEN                                      751 PEPPERMILL RD                                                                                LAPEER             MI    48446‐2617
FRED A GUTHRIE SR                                 814 N AUDUBON ROAD                                                                               INDIANAPOLIS       IN    46219‐4507
FRED A HALEY                                      4116 MILLET                                                                                      FT WORTH           TX    76105‐3529
FRED A HUSA                                       PO BOX 120                                                                                       UNIONVILLE         MI    48767‐0120
FRED A KOEBEL                                     8154 GLENWOOD AVE                                                                                YOUNGSTOWN         OH    44512‐5803
FRED A LANGMAID                                   UNDERWOOD RD                                                                                     CARO               MI    48723
FRED A MARGRIF                                    5071 MIDDLEBORO                                                                                  GRAND BLANC        MI    48439‐8734
FRED A MC CARD & MRS GENEVIEVE A MC CARD JT TEN   400 GROVE AVE                                                                                    CORNING            IA    50841‐1644

FRED A MCINTYRE                                   542 JEFF DAVIS PK RD                                                                             FITZGERALD         GA    31750‐6234
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Name                                               Address1                              Address2                 Address3       Address4          City            State Zip

FRED A NASTASI                                   19002 CANYON TER                                                                                  TRABUCO CYN     CA    92679‐1046
FRED A PICKERING                                 5637 BAYONNE AVE                                                                                  HASLETT         MI    48840‐9759
FRED A PLESHA                                    7001 FRONTAGE RD                                                                                  HINSDALE        IL    60521
FRED A POTTER                                    PO BOX 2443                                                                                       FULTON          TX    78358
FRED A SBRILLI JR                                7207 WESTOVER WAY                                                                                 SOMERSET        NJ    08873‐5913
FRED A SEBASTINELLI                              184 AVILLA STREET                                                                                 SAN FRANCISCO   CA    94123‐2010
FRED A SEEGER                                    9324 N RIVERVIEW DR                                                                               KALAMAZOO       MI    49004‐8656
FRED A SIEDENTOPF                                BOX 24                                                                                            BEATTY          NV    89003‐0024
FRED A SMITH JR                                  1224 HYDE SHAFFER RD N W                                                                          BRISTOLVILLE    OH    44402‐9718
FRED A STRAYER                                   703 BERKELEY DR                                                                                   KENT            OH    44240‐4505
FRED A SUTTON JR                                 2367 MONTGOMERY NW                                                                                WARREN          OH    44485‐1421
FRED A VOLLRATH & MARY E VOLLRATH JT TEN         3035 SAINT JUDE DR                                                                                WATERFORD       MI    48329‐4357
FRED A VON RECKLINGHAUSEN                        183 RAINBOW DR PMB 8382                                                                           LIVINGSTON      TX    77399‐1083
FRED A WALLMUTH                                  1908 S WILLARD AVE                                                                                JANESVILLE      WI    53546‐5952
FRED A WESLEY                                    16 COLESBERY DR                         PENN ACRES                                                NEW CASTLE      DE    19720‐3202
FRED A WILLIAMS                                  501 N CEDAR ST                                                                                    TRAVERSE CITY   MI    49684
FRED A WILSON                                    3900 WINDSOR HALL DR                    APT C233                                                  WILLIAMSBURG    VA    23188
FRED A YANDA JR                                  450 BUCKINGHAM BLVD                                                                               GALLATIN        TN    37066‐7502
FRED ABRAHAM JR                                  5245 NILES AVE                                                                                    NEWTON FALLS    OH    44444‐1845
FRED ADLER & JESSIE ADLER JT TEN                 262 TWIN CREEKS DR                                                                                CHAGRIN FALLS   OH    44023‐6702
FRED AGRUSA & FELICIA AGRUSA JT TEN              #85‐28 BELL BLVD                                                                                  HOLLIS HILLS    NY    11427‐1431
FRED ALDO ERGONIS TR REVOCABLE TRUST 02/20/92 U‐ 2942 CUMBRIA WAY                                                                                  LODI            CA    95242‐9651
A C SALLY BLANCO
FRED ANTON PROCHASKA                             447 S STADIUM RD                                                                                  OREGON          OH    43616‐4209
FRED AYERS                                       PO BOX 1186                                                                                       SYRACUSE        KS    67878‐1186
FRED B BOTWRIGHT & AUDREY E BOTWRIGHT JT TEN     PO BOX 7765                                                                                       NEWARK          DE    19714‐7765

FRED B HANSEN                                      8201 NORTH WISNER                                                                               NILES           IL    60714‐2438
FRED B KEARNEY                                     2493 FRIENDSHIP BLVD                                                                            KOKOMO          IN    46901
FRED B MC CLUNG                                    1537 SABAL OAK LANE                                                                             ORLANDO         FL    32828‐6147
FRED B OTTO                                        430 COLLEGE AVE                                                                                 ORONO           ME    04473‐1218
FRED B RESLER & NOEMI V RESLER JT TEN              1115 LILLIE DR                                                                                  BOSQUE FARMS    NM    87068‐9024
FRED B SCHWARZE CUST CARL F SCHWARZE UGMA MI       6550 CONWAY                                                                                     CHELSEA         MI    48118‐9474

FRED B SCHWARZE CUST ELIZABETH SCHWARZE UGMA       ATTN ELIZABETH STOREY                 6682 TRICKLEWOOD CT SE                                    GRAND RAPIDS    MI    49546‐7252
MI
FRED B SCHWARZE CUST SARAH SCHWARZE UGMA MI        219 MADISON ST                                                                                  CHELSEA         MI    48118‐1111

FRED B STACKS                                      81 CHURCH ST                                                                                    NORTHBOROUGH    MA    01532‐1439
FRED B WAIT                                        3825 RIBBLETT ROAD                                                                              YOUNGSTOWN      OH    44515‐1331
FRED B WEIR                                        1414 ARCHER ST                                                                                  LEHIGH ACRES    FL    33936‐5302
FRED BACA                                          1375 WASHINGTONS CROSSING DRIVE                                                                 O FALLON        MO    63366‐8458
FRED BARABANI & CAROLINE JUDY BARABANI JT TEN      1696 TOWNSHIP RD 1419                                                                           MANSFIELD       OH    44903‐9506

FRED BARDEN                                        402 E HURON                                                                                     VASSAR          MI    48768‐1739
FRED BARKHURST JR                                  6092 CHIDESTER DR                                                                               CANFIELD        OH    44406‐9713
FRED BEEK JR                                       PO BOX 66                                                                                       FAIRVIEW        MI    48621‐0066
FRED BEEMER III                                    2411 RED KILL RD                                                                                FLEISCHMANNS    NY    12430‐4824
FRED BREIDING & MRS MARY BREIDING JT TEN           ATTN MS ROSEMARY WALL                 820 N LAFAYETTE                                           FLORISSANT      MO    63031‐4706
FRED BROWN                                         54587 WOODCREEK BLVD                                                                            SHELBY TWP      MI    48315‐1433
FRED BRYAN JR & MARCIA BRYAN JT TEN JT             10612 LAKE DR                                                                                   EVART           MI    49631‐9650
FRED C ADAMS SR                                    112 SABRA CT                                                                                    UNIONTOWN       PA    15401‐9730
FRED C ARIDA                                       2 KELSIE COURT                                                                                  MATAWAN         NJ    07747‐9686
FRED C ARKO JR                                     PO BOX 686                                                                                      CORTE MADERA    CA    94976‐0686
FRED C BARE                                        4221 E WASHINGTON RD                                                                            ITHACA          MI    48847‐9462
FRED C CEDAR                                       7935 SOUTHFORK RD                                                                               MARION          IL    62959‐8882
FRED C COTTER TR FRED C COTTER TRUST UA 10/06/98   14194 DEERING STREET                                                                            LIVONIA         MI    48154‐4618
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FRED C FRANCO CUST ASHLEY R FRANCO UTMA MO       611 BALIBAY RD                                                                                 APOLLO BEACH      FL    33572‐3329

FRED C FRANCO CUST TYLER D FRANCO UTMA MO       611 BALIBAY RD                                                                                  APOLLO BEACH      FL    33572‐3329
FRED C FRANCO JR                                611 BALIBAY RD                                                                                  APOLLO BEACH      FL    33572‐3329
FRED C FREEMON & ESTHER I FREEMON JT TEN        PO BOX 1182                                                                                     TOMBSTONE         AZ    85638‐1182
FRED C GARVER                                   8033 S STATE RD 75                                                                              COATESVILLE       IN    46121‐9123
FRED C GIESECKE                                 3609 N 300 E                                                                                    KOKOMO            IN    46901‐9338
FRED C GORNICK                                  650 DECKER AVE                                                                                  JOHNSTOWN         PA    15906‐1203
FRED C HARTMAN JR                               719 HENDERSON ST                                                                                JOSHUA            TX    76058‐5708
FRED C HEISMEYER                                3098 N KENTUCKY ST                                                                              IOLA              KS    66749‐1951
FRED C HOLMER                                   6028 VALLEY TR                                                                                  DIMONDALE         MI    48821‐9552
FRED C HOWER                                    317 LAMP POST LANE                                                                              CAMP HILL         PA    17011‐1459
FRED C LAIER                                    379 W BUTLER AVE                                                                                VINELAND          NJ    08360‐7001
FRED C LANG                                     2868 W FRUITPORT RD                                                                             SPRING LAKE       MI    49456‐9603
FRED C MAHNKEN & JOAN S MAHNKEN JT TEN          12684 N ROCK CREEK RD                                                                           ORO VALLEY        AZ    85737‐6771
FRED C MARTIN                                   2267 JOSHUA CIR                                                                                 MIDDLETOWN        OH    45044‐8823
FRED C MITCHELL JR CUST BRADFORD KENT MITCHELL 503 PONDEROSA DR                       HICKORY WOODS                                             BEAR              DE    19701‐2156
U/THE UTAH U‐G‐M‐A
FRED C MITCHELL JR CUST EDMUND M MITCHELL U/THE 503 PONDEROSA DR                      HICKORY WOODS                                             BEAR              DE    19701‐2156
MARYLAND U‐G‐M‐A
FRED C SCHAERDEL & MILDRED O SCHAERDEL TEN COM 6969 BOBOLINK                                                                                    DALLAS            TX    75214

FRED C SHANER JR                                 PO BOX 492                                                                                     LONDON            OH    43140‐0492
FRED C TOM & MRS DORIS LO TOM JT TEN             1516 FOSTER COURT                                                                              SAN JOSE          CA    95120‐5719
FRED CANGERO                                     136 NORTH STREET                                                                               LOCUST VALLEY     NY    11560‐1600
FRED CANNON                                      15700 LESURE                                                                                   DETROIT           MI    48227‐3334
FRED CANOVA TR FRED CANOVA REVOCABLE TRUST UA    108 ASPEN RD WHITE OAK                                                                         MONETA            VA    24121‐2637
02/01/96 AMD 07/07/2006
FRED CHESHIER                                    1007 N FEDERAL HIGHWAY 8                                                                       FORT LAUDERDALE   FL    33304‐1422

FRED CHIAZ & MRS LILLIAN C CHIAZ JT TEN           58655 TRAVIS ROAD                                                                             NEW HUDSON        MI    48165‐9577
FRED CHINELL                                      2210 S PRYOR RD SW                                                                            ATLANTA           GA    30315‐6458
FRED CHRISTIE CUST FREDERICK JOSEPH CHRISTIE UTMA 201 DROVERS WAY                                                                               STEVENSVILLE      MD    21666‐3929
MD
FRED CLARKE JR & HAZEL C CLARKE JT TEN            7183 N BRAY RD                                                                                MOUNT MORRIS      MI    48458‐8989
FRED CLIPPER                                      3416 COLUMBUS AVE                   D UNIT                                                    SUNDUSKY          OH    44870‐5557
FRED CORDERO                                      760 FILLMORE ST                                                                               SANTA PAULA       CA    93060‐2415
FRED COX                                          PO BOX 302                                                                                    ROAN MOUNTAIN     TN    37687‐0302
FRED CROWDER JR                                   1938 E TREMONT AVE                                                                            BRONX             NY    10462‐5620
FRED D BARE                                       4988 LEE HIGHWAY                                                                              TROUTVILLE        VA    24175
FRED D BLACKSHERE                                 23151 CLOVERLAWN                                                                              OAK PARK          MI    48237‐2402
FRED D BOARD & JILL A BOARD JT TEN                PO BOX 501                                                                                    OAKRIDGE          OR    97463‐0501
FRED D CURRY                                      315 W 6TH                                                                                     MARION            IN    46953‐1912
FRED D FINKELMAN                                  3550 PRINCIPIO AVE                                                                            CINCINNATI        OH    45208‐4214
FRED D FURMAN                                     137 WAYNE AVE                                                                                 SUFFERN           NY    10901‐4408
FRED D GIBSON                                     27915 PUEBLO SPRINGS                                                                          HAYWARD           CA    94545‐4517
FRED D GILLESPIE & ANNA M GILLESPIE JT TEN        4945 N SHERIDAN RD APT 2005                                                                   CHICAGO           IL    60640
FRED D GOODWIN                                    14 1/2 WHITE STREET                                                                           LOGAN             WV    25601‐3615
FRED D GOODWIN & DELLA S GOODWIN JT TEN           14 1/2 WHITE STREET                                                                           LOGAN             WV    25601‐3615
FRED D GORE CUST DEREK J GORE UTMA NJ             18 SUDBERRY LANE                                                                              WILLINGBORO       NJ    08046‐1402
FRED D HAAS                                       1460 GRACELAND DR                                                                             FAIRBORN          OH    45324‐4374
FRED D HORTON                                     1173 OLEONDER DR                                                                              MT MORRIS         MI    48458‐2819
FRED D JAKUBIEC                                   215 HELEN                                                                                     GARDEN CITY       MI    48135‐4108
FRED D LATTER                                     18823 WINNEBAGO DR                                                                            SPRING LAKE       MI    49456‐9436
FRED D MCKISSACK                                  12623 ST JOHN AVE                                                                             CLEVELAND         OH    44111‐5147
FRED D MEEKS                                      4235 N CENTER RD                                                                              FLINT             MI    48506‐1439
FRED D MOORE                                      15750 BOND LN                                                                                 CONROE            TX    77303‐4183
FRED D NICHOLS & MRS FRANCES L NICHOLS JT TEN     17 FAIRVIEW ST                                                                                GARDINER          ME    04345‐2807
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FRED D OWENS & JESSIE M OWENS JT TEN                  2440‐12 HUNTER AVENUE                                                                          BRONX            NY    10475‐5646
FRED D PAYNE                                          398 E LANGDON RD                                                                               SCIENCE HILL     KY    42553‐9212
FRED D PLUARD                                         2737 MAGNOLIA AVE                                                                              LONG BEACH       CA    90806‐2519
FRED D POTTORF JR & MRS HELEN C POTTORF JT TEN        726 W CLIFF                                                                                    HOLLY            CO    81047‐9719

FRED D SMITH & VEATRICE G SMITH TR THE SMITH FAM      2280 W BLEE RD                                                                                 SPRINGFIELD      OH    45502‐8715
TRUST UA 12/07/99
FRED D SOLMONSON                                      1102 HAMPSTEAD ROAD                                                                            ESSEXVILLE       MI    48732‐1908
FRED D SOULE                                          128 C ST                                                                                       NEWPORT          NC    28570‐5166
FRED D SPAIN CUST SAMANTHA D SPAIN UTMA CA            12134 RIVES AVE                                                                                DOWNEY           CA    90242‐2218
FRED D SPIVEY                                         3941 N 75TH ST                                                                                 MILWAUKEE        WI    53216‐1911
FRED D STEWART                                        PO BOX 17214                                                                                   DAYTON           OH    45417‐0214
FRED D STRACKE                                        12219 SUNNY TERRACE DR                                                                         DESPERESL        MO    63122‐2127
FRED D WHITE                                          2445 ALLEN DR                                                                                  FLORISSANT       MO    63033‐5537
FRED D WILDER                                         42 GOLF COTTAGE DRIVE                                                                          NAPLES           FL    34105‐7152
FRED D WILES                                          35711 CAMPISTRAND                                                                              CLINTON TOWNSHIP MI    48035‐2217

FRED DE COOPMAN                                   49110 SHENANDOAH DR                                                                                MACOMB           MI    48044‐1826
FRED DECHOW & ROSE DECHOW & ANN K DECHOW JT 2830 S LAKE LEELANAU DRIVE                                                                               LAKE LEELANAU    MI    49653‐9667
TEN
FRED DEFALCO & ELEANOR DEFALCO JT TEN             438‐2 EAST BAY AVE                                                                                 BARNEGAT         NJ    08005
FRED DELGAIS                                      3202 JACOB HILL RD                                                                                 CORTLANDT MNR    NY    10567
FRED DELONG JR                                    633 E BEAU ST                                                                                      WASHINGTON       PA    15301‐6652
FRED DENT                                         12320 SOUTH UNION AVE                                                                              CHICAGO          IL    60628‐6433
FRED DEVITO TR FRED DEVITO REVOCABLE LIVING TRUST 2578 AUBURN BLVD                                                                                   PORT CHARLOTTE   FL    33948‐4903
UA 9/19/95
FRED DUMAS                                        4509 SOUTH RIVER CV                                                                                ELLENWOOD        GA    30294‐3280
FRED DUNCAN JR                                    3420 GINGERSNAP LANE                                                                               LANSING          MI    48911‐1514
FRED E ALEXANDER & VIRGINIA ALEXANDER JT TEN      6762 NORTHPOINT DR                                                                                 TROY             MI    48085‐1210

FRED E BEAVER TR FRED E BEAVER REVOCABLE TRUST        249 N HWY 340                                                                                  PARROTTSVILLE    TN    37843‐2507
UA 01/26/99
FRED E BRAUN & MRS ROSEMARY V BRAUN JT TEN            PO BOX 807                           BERVELY SHORE                                             BEVERLY SHRS     IN    46301
FRED E BROCKMILLER                                    352 EMERALD CIR EAST                 LOT 352                                                   WHITMORE LAKE    MI    48189‐8268
FRED E BROWN                                          8204 NEFF RD                                                                                   MT MORRIS        MI    48458‐1335
FRED E BRUMMETT                                       237 LAUREL BRANCH RD                                                                           EAST BERNSTADT   KY    40729‐7812
FRED E CHENEY                                         8815 KAYAK DRIVE                                                                               BAKERSFIELD      CA    93312‐4912
FRED E DAVIS                                          3526 HOGEYE RD                                                                                 JAMESTOWN        OH    45335‐8735
FRED E DEKEYSER & JULIE A GORECKI JT TEN              244 W THIRD STREET                                                                             MANTENO          IL    60950‐1106
FRED E ELKINS                                         1132 PAT LANE                                                                                  MANSFIELD        OH    44906‐1515
FRED E ELLIOTT                                        ROUTE 2 BOX 743                                                                                GATE CITY        VA    24251‐9586
FRED E FELTS & PAULINE E FELTS & ANNIE FELTS JT TEN   7463 RORY ST                                                                                   GRAND BLANC      MI    48439‐9349

FRED E FELTS & PAULINE E FELTS JT TEN                 7463 RORY ST                                                                                   GRAND BLANC      MI    48439‐9349
FRED E HAHN & ALICE J HAHN JT TEN                     3384 SCOTT AVE NORTH                                                                           GOLDEN VALLEY    MN    55224
FRED E HOOPER                                         8239 BENSON RD                                                                                 MT MORRIS        MI    48458‐1445
FRED E HORTON JR                                      131 SECOND ST                                                                                  GARDEN CITY      NY    11530‐5929
FRED E HUMMEL JR TR FRED E HUMMEL DECLARATION         BOX 118                                                                                        WASCO            IL    60183
OF TRUST UA 11/22/96
FRED E JANTZ                                          PO BOX 272                                                                                     NAUBINWAY        MI    49762‐0272
FRED E JOHNSON & MRS GLORIA F JOHNSON JT TEN          7000 OLD ROXBURY RD                                                                            QUINTON          VA    23141‐1401

FRED E JOHNSTON                                       819 MAIN ST                                                                                    COSHOCTON        OH    43812‐1638
FRED E KANE                                           517 CAMP BONSUL ROAD                                                                           OXFORD           PA    19363‐2252
FRED E KEOWN JR                                       428 N CARTER LN                                                                                SWAYZEE          IN    46986‐9620
FRED E KNIGHT & CAROL B KN IGHT JT TEN                5185 BEATLINE RD                                                                               LONG BEACH       MS    39560
FRED E LARK                                           13627 WOODEN ROAD                                                                              CHARDON          OH    44024‐9277
FRED E MARTIN JR                                      2121 KERMIT HIGHWAY                                                                            ODESSA           TX    79761‐1137
FRED E MC GREW & FREDA M DAVIS JT TEN                 11140 S WENTWORTH                                                                              CHICAGO          IL    60628‐4250
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FRED E MERKLE & MRS JULIE ANN MERKLE JT TEN        1216 CONWAY AVE                                                                               COSTA MESA        CA    92626‐2718
FRED E MOORE                                       7023 RED SKY CT N E                                                                           ALBUQUERQUE       NM    87111‐1051
FRED E MORGAN                                      BX 382                                                                                        PERCY             IL    62272‐0382
FRED E NEWMAN                                      8251 HESS                                                                                     LA GRANGE         IL    60525‐5219
FRED E OLMSTEAD                                    2123 GOODRICH AVE                                                                             SAINT PAUL        MN    55105‐1021
FRED E OLMSTEAD & LIDA J OLMSTEAD JT TEN           2123 GOODRICH AVE                                                                             ST PAUL           MN    55105‐1021
FRED E PHINISEE                                    4657 E 62ND ST                                                                                INDIANAPOLIS      IN    46220‐5231
FRED E REAL                                        42151 CAMINO SANTA BARBARA                                                                    FREMONT           CA    94539‐4707
FRED E RETZLOFF JR & CONSTANCE M RETZLOFF JT TEN   3137 GARFIELD AVE                                                                             MINNEAPOLIS       MN    55408‐2930

FRED E RYCKMAN                                     7664 EAST 600 N                                                                               FALMOUTH          IN    46127‐9748
FRED E SWINK                                       707 E MITCHELL                                                                                ARLINGTON         TX    76010‐2822
FRED E THOMAS                                      1021 BOYLE RD                                                                                 HAMILTON          OH    45013‐1817
FRED E THORNTON                                    724 BOCA CIEGA ISLE                                                                           ST PETE BEACH     FL    33706‐2536
FRED E TOMCZYK                                     133 LA SALLE AVE                                                                              CLIFTON           NJ    07013‐2841
FRED E VANDEVANDER                                 5338 W EDWARDS AVE                                                                            INDIANAPOLIS      IN    46221‐3108
FRED EAKER                                         1104 CHATWELL DR                                                                              DAVISON           MI    48423‐2716
FRED ELLSWORTH JONES                               3179 SPRUCE ST PO BOX 2365                                                                    NATIONAL CITY     MI    48748‐9504
FRED EMMERT                                        50931 LINCOLNSHIRE TRAIL                                                                      GRANGER           IN    46530‐8768
FRED EVANS                                         PO BOX 224                                                                                    DAVISON           MI    48423‐0224
FRED EVERETT HAFFNER                               3901 PIPER DR                                                                                 MUNCIE            IN    47303‐1143
FRED F ATKINS                                      4800 UNION AVE NE                                                                             HOMEWORTH         OH    44634‐9636
FRED F BATTY                                       10426 E CO RD 200 S                                                                           AVON              IN    46123
FRED F BATTY & CAROLYN H BATTY JT TEN              10426 E CO RD 200 S                                                                           AVON              IN    46123
FRED F COOPER                                      7340 BEAN HILL ROAD                                                                           GROVELAND         NY    14462‐9558
FRED F CURNS & SELMA CURNS TR CURNS FAM            7452 SPRING VILLAGE DR APT 520                                                                SPRINGFIELD       VA    22150‐4952
REVOCABLE TRUST UA 11/04/97
FRED F NEGRETE                                     3024 HAROLD DR                                                                                COLUMBIAVILLE     MI    48421‐8915
FRED F NEUENFELDT & ARLENE K NEUENFELDT TEN ENT    11819 DICE RD                                                                                 FREELAND          MI    48623‐9281

FRED F PASSARELLA                                  192‐15 NORTHERN BLVD                                                                          FLUSHING          NY    11358‐2954
FRED F RAAB                                        102 JOLIET ST                                                                                 SCHERRERVILLE     IN    46375‐1418
FRED F SHAKESPEARE                                 160 TAR HOLLOW ROAD                                                                           HANCOCK           NY    13783
FRED F SIELOFF                                     1955 WYNDGATE LOOP                                                                            MONTGOMERY        AL    36117‐8057
FRED FEIGHT CUST DOUGLAS L FEIGHT UGMA MI          1783 EAST MONROE ROAD                                                                         TECUMSEH          MI    49286‐9781
FRED FINKELBERG & FELICE FINKELBERG JT TEN         135 COUNTRY CLUB LANE                                                                         POMONA            NY    10970‐2439
FRED FINLEY                                        14860 WESTWOOD                                                                                DETROIT           MI    48223‐2253
FRED FISHER CUST JESSE FISHER UGMA NJ              19370 COLLINS AVE APT 918           SUNNY ISLES                                               N MIAMI BEACH     FL    33160
FRED FURST                                         113 PARK DR                                                                                   FAYETTEVILLE      WV    25840‐1318
FRED FUSON JR                                      7717 WEYMOUTH COURT                                                                           FORT WAYNE        IN    46825‐3528
FRED G ALTER & MAROLYN V ALTER JT TEN              23572 LIV 389                                                                                 HALE              MO    64643‐8116
FRED G BAKER                                       14370 TUNNICLIFFE RD                                                                          PETERSBURG        MI    49270‐9716
FRED G COLEMAN                                     3641 NORTHWOOD DR                                                                             WEST BLOOMFIELD   MI    48324‐2942

FRED G COLEMAN & BEVERLY A COLEMAN JT TEN          3641 NORTHWOOD                                                                                WEST BLOOMFIELD MI      48324‐2942

FRED G COSTA                                       1171 EDWARDS ROAD                                                                             CINCINNATI        OH    45208
FRED G CUSTENBORDER                                638 WILSON DRIVE                                                                              XENIA             OH    45385‐1816
FRED G DURCHMAN & DORORTHY M DURCHMAN &            5089 PT AUX PEAUX                                                                             NEWPORT           MI    48166
DAVID DURCHMAN JT TEN
FRED G FANTER                                      8681 N JAMES RD                                                                               IRONS             MI    49644‐8627
FRED G KRAUTZ                                      2503 ELMWOOD NORTH CIR                                                                        WICHITA FALLS     TX    76308‐3915
FRED G LAVEEN                                      4093 WEST 143RD STREET                                                                        CLEVELAND         OH    44135‐1472
FRED G MARVEL                                      11133 STALBRIDGE COURT                                                                        FREDERICKSBRG     VA    22407
FRED G MOORE                                       426 MITCHELLE RD                                                                              WILMINGTON        OH    45177‐8519
FRED G PITZER JR                                   212 TAMARA TRAIL                                                                              INDIANAPOLIS      IN    46217‐2704
FRED G PITZER JR & MARY F PITZER JT TEN            212 TAMARA TRAIL                                                                              INDIANAPOLIS      IN    46217‐2704
FRED G SCHELTER                                    13859 GATES RD                                                                                MULLIKEN          MI    48861‐9606
FRED G SECKENDORF                                  PO BOX 24871                                                                                  NEW ORLEANS       LA    70184‐4871
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FRED G TRACIA                                   383R LOWELL ST                        STE 2                                                     WAKEFIELD       MA    01880‐6317
FRED G VAN RIPER                                3394 WARD HILL RD                                                                               E HARDWICK      VT    05836‐2704
FRED GARZA                                      21420 PECON STREET                                                                              WILDOMAR        CA    92595‐9768
FRED GILBERT                                    515 EAST 79TH ST                                                                                NEW YORK        NY    10021‐0705
FRED GOLDSTIEN                                  12993 FM 2478                                                                                   CELINA          TX    75009
FRED GORIN                                      516 S WOLF ST                                                                                   MUNCIE          IN    47302‐2678
FRED GOTHARD CUST CAITLYN A PRATHER UTMA TX     107 FM 1585                                                                                     LUBBOCK         TX    79423‐6549

FRED GOTTHEIL & DIANE GOTTHEIL JT TEN             509 E HOLMES                                                                                  URBANA          IL    61801‐6735
FRED GRENNAN & AURORA F GRENNAN JT TEN            9508 E RIGGS RD                     UNIT D117                                                 SUN LAKES       AZ    85248‐7570
FRED GRIES                                        1LINCOLN BLVD                                                                                 CLARK           NJ    07066‐3227
FRED H ALBERT & ELEANOR E ALBERT JT TEN           3309 ARROWHEAD ST                                                                             CHEYENNE        WY    82001‐6117
FRED H ALTSCHULER CUST NORMA SARGENT ALTSHULER 44 21ST AVE                                                                                      SAN FRANCISCO   CA    94121‐1204
UTMA CA
FRED H BATES                                      41 WOODSHIRE SOUTH                                                                            GETZVILLE       NY    14068‐1256
FRED H BISHOP                                     1949 FM 56                                                                                    VALLEY MILLS    TX    76689‐2593
FRED H BURNS                                      826 HOLLYWOOD DRIVE                                                                           ELYRIA          OH    44035‐1816
FRED H DOETZE TR LUCILLE S DOETZE FAMILY TRUST UA 863 W MAPLEHURST                                                                              FERNDALE        MI    48220‐1294
06/15/05
FRED H EDWARDS                                    4835 BEXLEY DR                                                                                STONE MTN       GA    30083‐5545
FRED H HAWKS                                      67 LARKSPUR DR                                                                                SOUTH VIENNA    OH    45369‐9725
FRED H HENSLER CUST MEAGAN E HENSLER UGMA MI 16140 SILVERSHORE DR                                                                               FENTON          MI    48430‐9156

FRED H HOLLOMAN & ALFREDO CHOLLOMAN JT TEN      11601 DEHN AVENUE                                                                               INGLEWOOD       CA    90303‐3019

FRED H JOHNSON JR                               25 MONTGOMERY ST                      APT 5‐A                                                   NEW YORK        NY    10002‐6539
FRED H JORDT & GRETE JORDT JT TEN               12 COURTLAND DR                                                                                 HAZLET          NJ    07730‐1642
FRED H KING                                     5610 BRIDGE MILL LN                                                                             MEMPHIS         TN    38125‐4185
FRED H KINGSBURY                                33 LANGDON CT                         APT DL4                                                   BERLIN          CT    06037‐1386
FRED H LETNER JR                                22454 LAWSON RD                                                                                 GEORGETOWN      DE    19947‐6628
FRED H MATHWEG                                  PO BOX 288                                                                                      MARKESAN        WI    53946‐0288
FRED H MC ELROY                                 1131 STILLHOUSE RD                                                                              WHITE HOUSE     TN    37188‐9054
FRED H MCBRIDE                                  1103 E FREDERICK ST                                                                             GAFFNEY         SC    29340‐3857
FRED H MUEHLHAEUSLER                            2805 SW MEADOW CLIFF DR                                                                         OKLAHOMA CITY   OK    73159‐4615
FRED H REYNOLDS                                 711 S 74 TERR                                                                                   KANSAS CITY     KS    66111‐2726
FRED H SCHAEFER                                 110 OSPREY CT                                                                                   SECAUCUS        NJ    07094‐2936
FRED H SCHAUB                                   1687 FREMONT COURT                                                                              CROTON          MD    21114‐2312
FRED H SIEGEL & MADELINE P SIEGEL JT TEN        1 KEEL HAUL DR                                                                                  GRASONVILLE     MD    21638‐9646
FRED H SMITH JR                                 PO BOX 64                                                                                       MILAN           OH    44846‐0064
FRED H TARBURTON JR                             7521 CARSON AVE                                                                                 BALTO           MD    21224‐3207
FRED H THOMAS JR                                5425 CULVER ST                                                                                  INDIANAPOLIS    IN    46226‐4712
FRED H TODD                                     2302 AUBURN DRIVE SW                                                                            DECATUR         AL    35603‐1005
FRED H WINKELMAN                                979 AVERILL AVE                                                                                 MANSFIELD       OH    44906‐1605
FRED HALE                                       54160 30TH ST                                                                                   PAW PAW         MI    49079‐8041
FRED HALLIGAN                                   10 TUDOR RD                                                                                     FREEHOLD        NJ    07728‐3115
FRED HAMM                                       217 S W 32ND                                                                                    MOORE           OK    73160‐7552
FRED HARDING                                    43 NANETTE DR                         LONDON ON CANADA                        N5X 3L2 CANADA
FRED HAUBOLD CUST COLLEEN ANNE HAUBOLD UTMA     714 WALCOTT WAY                                                                                 CARY            NC    27519‐6800
MN
FRED HAUBOLD CUST KELLY MARGARET HAUBOLD        714 WALCOTT WAY                                                                                 CARY            NC    27519‐6800
UTMA MN
FRED HEANEY                                     60145 LOCUST RD                                                                                 SOUTH BEND      IN    46614
FRED HENKIN & DIANE HENKIN JT TEN               23916 WOODWAY RD                                                                                BEACHWOOD       OH    44122‐1460
FRED HESS                                       1829 PRELUDE DRIVE                                                                              VIENNA          VA    22182‐3345
FRED HESS & MRS KAY HESS JT TEN                 1829 PRELUDE DRIVE                                                                              VIENNA          VA    22182‐3345
FRED HILL                                       PO BOX 105                                                                                      SNELLVILLE      GA    30078‐0105
FRED HILL                                       5 WEST ST                                                                                       WOODBRIDGE      CT    06525‐2129
FRED HILL                                       4231 DARDENNE DR                                                                                ST LOUIS        MO    63120‐1207
FRED HITTMAN & MRS SANDRA HITTMAN JT TEN        3000 STONE CLIFF DR                   APT 111                                                   BALTIMORE       MD    21209
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FRED HOCH                                          1019 44TH ST NE                                                                                CANTON            OH    44714‐1223
FRED HOGE                                          2465 MAPLEVIEW LANE                                                                            WILLOUGHBY HL     OH    44094‐9613
FRED HOLMES                                        727 E MOTT AVE                                                                                 FLINT             MI    48505‐2957
FRED HORNE                                         304 RENNIE DRIVE                                                                               PITTSBURGH        PA    15236‐4112
FRED HOWARD JR & HELEN E HOWARD JT TEN             507 S CANAL ST                                                                                 NEWTON FALLS      OH    44444‐1615
FRED HOWARD PICKETT                                2411 RIDGECLIFFE DR                                                                            FLINT             MI    48532‐3724
FRED HUMES                                         508 E COLUMBIA ST                                                                              FLORA             IN    46929‐1108
FRED HURLOCK                                       134 WORRAL DR                                                                                  NEWARK            DE    19711‐4819
FRED J ABRAHAM JR                                  2831 ABRAHAM DR                                                                                CEDAR FALLS       IA    50613‐6612
FRED J ANDREWS                                     11824 S OAKLEY AVE                                                                             CHICAGO           IL    60643‐4728
FRED J BOLDT JR CUST RIANA GABRIEL SHAMAN UGMA 5099 CHESTERSHIRE DR                                                                               W BLOOMFIELD      MI    48322‐1554
MI
FRED J BROCHETTI                                   4907 FAIRVIEW AVE                                                                              NEWTON FALLS      OH    44444‐9419
FRED J CHRISTENSON                                 7625 BROOKVIEW DR                                                                              FRISCO            TX    75034‐5421
FRED J CIMINO JR & FLORENCE M CIMINO JT TEN        2301 BURGESS RD                                                                                CHESTER           VA    23836
FRED J CONE CUST REX ALAN CONE UGMA VA             503 RUSSELL BLVD                                                                               COLUMBIA          MO    65203‐1715
FRED J DEVITO INC FRED J DEVITO                    611 BROADWAY RM 818                                                                            NEW YORK          NY    10012‐2608
FRED J DUHON                                       312 NO MAIN ST                                                                                 LAFAYETTE         GA    30728‐2422
FRED J DUNKERLEY                                   22 HUNTER'S WAY                                                                                NEWTOWN           PA    18940‐1158
FRED J FERRARI                                     1757 MORNING TERRACE                                                                           CHINO HILLS       CA    91709‐4836
FRED J FLATI JR & ELAINE M FLATI JT TEN            154 OAK ST                                                                                     WEIRTON           WV    26062‐2313
FRED J FREI JR                                     149 N VAN DIEN AVE                                                                             RIDGEWOOD         NJ    07450‐3434
FRED J GIVENS                                      243 LITCHFIELD ST                                                                              ROCKMART          GA    30153‐2542
FRED J HESS                                        38500D CHARDON RD                                                                              WILOUGHBY HLS     OH    44094‐8745
FRED J HICKEL                                      42555 ADDISON                                                                                  CANTON            MI    48187‐3408
FRED J HICKEL TOD JEAN C MROWKA‐ALLEN SUBJECT TO 42555 ADDISON AVE                                                                                CANTON            MI    48187‐3408
STA TOD RULES
FRED J JENSEN                                      144 MCINTOSH AVE                                                                               CLARENDON HLS    IL     60514‐1162
FRED J KALKOFEN                                    910 RIDGE RD                                                                                   STEVENS POINT    WI     54481‐2430
FRED J KELLY & HELENE CARELIN KELLY TR UA 09/10/92 707 N ELMHURST RD                                                                              PROSPECT HEIGHTS IL     60070‐1309
FRED J KELLY TRUST
FRED J LOREY                                       386 GREENMOUNT AVE                                                                             CLIFFSIDE PARK    NJ    07010‐1624
FRED J LOWRY & ELNORA R LOWRY JT TEN               11713 SE 32ND                                                                                  OKLAHOMA          OK    73150‐1800
FRED J MATURSKI                                    24996 FAIRWINDS LN                                                                             BONITA SPGS       FL    34135‐9605
FRED J MCNULTY                                     9528 7 MILE                                                                                    NORTHVILLE        MI    48167‐9118
FRED J MERTZ                                       4125 E CANYON                                                                                  SPRINGFIELD       MO    65809‐3760
FRED J MOORE                                       683 TEWKSBURY CT                                                                               ROCHESTER HLS     MI    48307‐5735
FRED J NAHAS II CUST FRED JOHN NAHAS III UGMA PA   5407 ATLANTIC AVE                                                                              VENTNOR           NJ    08406‐2813

FRED J NITZ                                      7834 S KILPATRICK AVE                                                                            CHICAGO           IL    60652‐1133
FRED J PENDERGAST                                BOX 326                                                                                          NEWTOWN           CT    06470‐0326
FRED J ROUSH                                     3116 MICHAEL LANE                                                                                ANDERSON          IN    46011‐2007
FRED J SACKS                                     44C WAVECREST AVE                                                                                WINFIELD          NJ    07036‐6606
FRED J SCHOENFELT                                N 3017 BUENA VISTA RD                                                                            FORT ATKINSON     WI    53538‐9053
FRED J SEIDELMAN                                 945 CENTER ST                                                                                    NORTHVILLE        MI    48167‐1104
FRED J SIMS                                      13208 DUNROBIN AVE                                                                               DOWNEY            CA    90242‐4917
FRED J SIPES                                     9536 MARIPOSA                                                                                    FOUNTAIN VALLEY   CA    92708‐2805

FRED J SMITH                                     3118 KINDLEWOOD LN                                                                               BAY CITY          MI    48706‐1270
FRED J SPARGER 3RD                               108 E ASHE ST                                                                                    WADESBORO         NC    28170‐2702
FRED J TEREAU                                    4179 LARK LN                                                                                     FLINT             MI    48506‐1708
FRED J TOIBERO                                   12506 WOODRIDGE LANE                                                                             HIGHLAND          MD    20777‐9564
FRED J WEHLING JR & RUTH WEHLING JT TEN          1104 SO MAIN ST                                                                                  SANDWICH          IL    60548‐2309
FRED J WILLIAMS                                  20 GALAXY DR                                                                                     ST PETERS         MO    63376‐4426
FRED J WILSON & EMMA O WILSON JT TEN             213 HAZELHURST AVE                                                                               EWING             NJ    08638‐3513
FRED J WINDON                                    1230 NW 42ND LN                                                                                  OCALA             FL    34475‐1554
FRED J WOLFE                                     9728 EAST STATE ROAD                                                                             HASLETT           MI    48840‐9314
FRED JACKSON                                     6549 S EBERHART AVE                                                                              CHICAGO           IL    60637‐3243
FRED JACKSON JR                                  5955 INWOOD LN                                                                                   FORT WAYNE        IN    46835‐2430
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FRED JAMES FLATLEY                             PO BOX 51724                                                                                   PACIFIC GROVE      CA    93950‐6724
FRED JANUARY JR                                2512 MEADOWCROFT                                                                               BURTON             MI    48519‐1268
FRED JONES                                     189 PEDRETTI AVE                                                                               CINCINNATI         OH    45238‐6024
FRED JOSEPH LOMBARDO                           1335 W REMINGTON DR                                                                            CHANDLER           AZ    85248‐1392
FRED JUBERA & ANN HIGBEE JT TEN                11230 HEMLOCK DR                                                                               STERLING HEIGHTS   MI    48312‐3843

FRED K HOM CUST MADISON E HOM UGMA NY          95 FRANKLIN ST                                                                                 CEDAR GROVE        NJ    07009‐2209
FRED K HOM CUST MIKAYLA A HOM UTMA NJ          95 FRANKLIN STREET                                                                             CEDAR GROVE        NJ    07009
FRED K OKAMOTO & MRS JEANNE C OKAMOTO JT TEN   4804 WHITE COURT                                                                               TORRENCE           CA    90503‐2244

FRED K OSTROM                                  841 BRIAR COURT                                                                                ROCHESTER HILLS    MI    48309‐2447
FRED KAHL                                      P O BOX1190                                                                                    JAMESTOWN          CA    95327‐1190
FRED KANES & MRS WANDA N KANES JT TEN          1606 S GREENWOOD                                                                               CUSHING            OK    74023
FRED KASNER                                    320 17TH ST                                                                                    WILMETTE           IL    60091‐3224
FRED KAUFMAN III                               2428 ADAMS ST                                                                                  GARY               IN    46407‐3514
FRED KELLETT                                   2489 N MCKINLEY RD                                                                             FLUSHING           MI    48433‐9459
FRED KOLLIGIAN & MIGDALIA KOLLIGAN JT TEN      787 BENT CREEK DRIVE                                                                           LITITZ             PA    17543‐8326
FRED KOROTKIN                                  4925 MINNETONKA BLVD                 APT 611                                                   MINNEAPOLIS        MN    55416‐2275
FRED KRAUSE                                    3791 KLAIS DR                                                                                  CLARKSTON          MI    48348‐2359
FRED KUGELMAN                                  531 BARDINI DR                                                                                 MELVILLE           NY    11747‐5271
FRED KUGELMAN                                  531 BARDINI DR                                                                                 MELVILLE           NY    11747‐5271
FRED L AUSTIN                                  4410 SE 13TH STREET                                                                            OCALA              FL    34471‐3207
FRED L BANKER                                  7908 PORTLAND RD                                                                               PORT HOPE          MI    48468‐9335
FRED L BERNDT                                  1280 W DEAN RD                                                                                 MILWAUKEE          WI    53217‐2534
FRED L BROWN                                   4911 GADWALL DRIVE                                                                             MEMPHIS            TN    38141
FRED L CARRUTHERS                              511 WINDEMERE AVE                    TORONTO ON                              M6S 3L5 CANADA
FRED L CLEMMER                                 190 MOAT SEWELL RD                                                                             PHILADELPHIA       TN    37846‐3330
FRED L COCHRAN CUST DONALD R COCHRAN U/THE     6766 HARTFORD RD                                                                               COCOA              FL    32927‐8323
FLORIDA GIFTS TO MINORS ACT
FRED L DARAS                                   683 NILES VIENNA ROAD                                                                          VIENNA         OH        44473‐9519
FRED L DECKER                                  11987 HIGHWAY 137                                                                              LICKING        MO        65542‐9102
FRED L DULIK                                   3201 KENSINGTON COURT                                                                          MANCHESTER     MD        21102
FRED L FREEMAN                                 10735 MCGUINN ROAD                                                                             CLARKSVILLE    OH        45113‐9601
FRED L GARY                                    19782 FORRER                                                                                   DETROIT        MI        48235‐2307
FRED L GONZALES                                3943 ROYAL LANE                                                                                DALLAS         TX        75229‐4048
FRED L HACKETT JR                              1705 DAPPLEGREY LN                                                                             AUSTIN         TX        78727‐4545
FRED L HAER                                    2316 GIPSY DR                                                                                  DAYTON         OH        45414‐3344
FRED L HAWKES                                  3944 SOUTHERN CROSS D                                                                          BALTO          MD        21207‐6459
FRED L HENDERSON                               110 CORA DR                          APT B                                                     WESTON         MO        64098‐9519
FRED L HICKEN                                  4760 TREE LINE TRAIL                                                                           NEW MIDDLETOWN OH        44442‐7725

FRED L JOHNSON                                 743 WHITTEMORE ST                                                                              PONTIAC            MI    48342‐3362
FRED L JONES                                   4902 GREENLAWN DR                                                                              FLINT              MI    48504‐2048
FRED L KING                                    535C MOUNT HOPE AVE                                                                            ROCHESTER          NY    14620‐2251
FRED L LESPERANCE                              67848 LAKE ANGELA DR                                                                           RICHMOND           MI    48062‐1687
FRED L LIERMANN                                W 310 S 7095 HIGHWAY I                                                                         MUKWANAGO          WI    53149‐9024
FRED L MAIN                                    2886 HAGGETT DRIVE                                                                             TWINSBURG          OH    44087‐2941
FRED L MITCHELL                                3919 LEAF RD                                                                                   SEBRING            FL    33875‐4875
FRED L MUELLER                                 670 MT OLIVET RD LOT 73                                                                        BOWLING GREEN      KY    42101‐8633
FRED L MUENZ                                   7530 CHARING CROSS LN                                                                          DELRAY BEACH       FL    33446‐3652
FRED L MYERS                                   1807 ELLINWOOD ROAD                                                                            BALTIMORE          MD    21237‐1737
FRED L NELSON III                              107 OAK DRIVE                                                                                  BRANDON            MS    39047‐6201
FRED L PASTERNACK                              29 EAST 63RD STREET                                                                            NEW YORK           NY    10065‐7315
FRED L PRINCE                                  BOX 11564                                                                                      CHARLOTTE          NC    28220‐1564
FRED L RADELFINGER                             1003 WOODY CREEK LANE                                                                          WINDSOR            CA    95492‐9485
FRED L RAPAPORT                                4318 W BERTONA ST                                                                              SEATTLE            WA    98199‐1811
FRED L RIEHMAN & ANNA J RIEHMAN JT TEN         9002 HEATHWOOD CIRCLE                                                                          NILES              IL    60714‐5814
FRED L RIGGS                                   8563 DONEGAL DR                                                                                CINCINNATI         OH    45236‐1601
FRED L RILEY                                   14571 W CORNER RD                                                                              DALEVILLE          IN    47334‐9470
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Name                                             Address1                              Address2             Address3           Address4          City               State Zip

FRED L RUSSELL                                   2321 DOUBLE SPRINGS CH RD                                                                       MONROE             GA    30656‐4645
FRED L SKIBA                                     PO BOX 283                                                                                      SAINT HELEN        MI    48656‐0283
FRED L SMITH                                     150 PINE ST BOX 15                                                                              DIMONDALE          MI    48821‐0015
FRED L SQUIRES                                   2734 CANAL RD                                                                                   EATON RAPIDS       MI    48827
FRED L STRANGE                                   1416 LAKESHIRE DR                                                                               TUPELO             MS    38801‐1053
FRED L TINBERG                                   15981 GOLDEN RD                                                                                 LINWOOD            KS    66052‐4400
FRED L TROXELL                                   315 E MARSHALL ST                                                                               MARION             IN    46952‐2802
FRED L TURNBULL                                  BOX 867                                                                                         OSTERVILLE         MA    02655‐0867
FRED L VON BOHLAND                               10815 E 47TH ST                                                                                 KANSAS CITY        MO    64133‐1859
FRED L WALLACE                                   59185 ELIZABETH LN                                                                              RAY TWP            MI    48096‐3551
FRED L WALLACE                                   140 FORTY LOVE PT                                                                               CHAPIN             SC    29036‐8809
FRED L WINDER JR                                 490 S E BARRINGTON DR                                                                           OAK HARBOR         WA    98277‐3268
FRED LEE DAVIS                                   8424 THAMES CT                                                                                  YPSILANTI          MI    48198‐3650
FRED LEE MUELLER                                 670 MT OLIVET RD #73                                                                            BOWLING GREEN      KY    42101‐8633
FRED LENK                                        1658 S DIAMOND MILL RD                                                                          NEW LEBANON        OH    45345‐9340
FRED LEWIS                                       1742 E HWY 5                                                                                    CARROLLTON         GA    30116‐9596
FRED LIEBEL                                      3435 PERSHING AVE                                                                               SAN DIEGO          CA    92104
FRED LONDON                                      30 RAISIN TREE CIR                                                                              BALTIMORE          MD    21208‐1363
FRED LOWE                                        33877 BAINBRIDGE RD                                                                             N RIDGEVILLE       OH    44039‐4157
FRED M ANDREWS JR & NANCY C ANDREWS JT TEN       1435 DODGE N W                                                                                  WARREN             OH    44485‐1851

FRED M CASSEL                                    6225 WILLOW ST BOX 93                                                                           WESTPHALIA         MI    48894‐0093
FRED M ENTRIKEN JR                               4177 AMADORE RD                                                                                 PHELAN             CA    92371‐8233
FRED M FIGLEY 2ND                                1306 PINE TREE COURT                                                                            SIDNEY             OH    45365‐3431
FRED M FORTUIN & HENDRIKA J A FORTUIN JT TEN     11265 GRENADA                                                                                   STERLING HEIGHTS   MI    48312‐4957

FRED M HANNA                                     390 BROADWAY # 61                                                                               SOMERVILLE         MA    02145‐2718
FRED M HAWKINS                                   5549 W MOORESVILLE ROAD BYP                                                                     INDIANAPOLIS       IN    46221‐3762
FRED M KELLY                                     3400 BELFORD                                                                                    HOLLY              MI    48442‐9503
FRED M LAWSON                                    5864 WILLOW PARK RD                   APT 103                                                   CLARKSTON          MI    48346‐4734
FRED M LOECHNER                                  2717 MONTEREY BLVD                                                                              OAKLAND            CA    94602‐2041
FRED M MCCASKILL                                 4370 E SILVER LAKE ROAD                                                                         LINDEN             MI    48451‐9069
FRED M MICHEL                                    84‐35 LANDER STREET                   APT 1G                                                    JAMAICA            NY    11435‐2018
FRED M OLSON JR                                  4835 1/2 EOFF ST                                                                                BENWOOD            WV    26031‐1029
FRED M PAJTAS & MEREDITH M PAJTAS JT TEN         7580 CHURCH ST                                                                                  SWARTZ CREEK       MI    48473‐1402
FRED M PFEFFER                                   128 W 21ST                                                                                      ADA                OK    74820‐8208
FRED M RANKIN                                    4704 GUERRY DR                                                                                  MACON              GA    31210‐4102
FRED M REITER TR THE FRED M REITER REV LIVING    88 ATWATER RD                                                                                   CHADDS FORD        PA    19317‐9112
TRUST UA 03/27/02
FRED M SANDBERG                                  14822 1ST ST                                                                                    SANTA FE           TX    77517‐3524
FRED M SCHALIT                                   751 MONTECILLO RD                                                                               SAN RAFAEL         CA    94903‐3135
FRED M SCOTT                                     419 NORTH MECHANIC ST                                                                           LEBANON            OH    45036‐1831
FRED M SHEPARD TR REVOCABLE TRUST UA 07/20/84    103 PALM RIVER BLVD                                                                             NAPLES             FL    34110‐5707
FRED M SHEPARD
FRED M WOODWARD                                  2220 VERMONT                                                                                    LAWRENCE           KS    66046‐3066
FRED MARTINI                                     39 RAYMALEY RD                                                                                  HARRISON CITY      PA    15636‐1320
FRED MASTERTON                                   4 SPRING HILL DR                                                                                LINCOLN            PA    19352‐1320
                                                                                                                                                 UNIVERSITY
FRED MC KENNA                                    716 N W 17TH ST                                                                                 MOORE              OK    73160‐3610
FRED MEDICH                                      5299 DELAND                                                                                     FLUSHING           MI    48433‐1196
FRED MICHAEL MANGOSING                           2204 NORTON ST                                                                                  ANTIOCH            CA    94509‐3712
FRED MILLER                                      14151 N OLD 41                                                                                  OAKTOWN            IN    47561‐8368
FRED MOORE                                       5847 WALROND                                                                                    KANSAS CITY        MO    64130‐3921
FRED MOORE                                       1811 DOGWOOD DR                                                                                 HOLT               MI    48842‐1530
FRED MORRIS WHITEHEAD JR                         2657 HASTINGS LANE                                                                              THE VILLAGES       FL    32162
FRED N DETTMER                                   6129 BELDING RD                                                                                 ROCKFORD           MI    49341‐9616
FRED N HITT                                      2499 DELTONA BLVD                                                                               SPRING HILL        FL    34606‐3231
FRED N JOHNSON                                   340 MEADOW RIVER DR                                                                             ROCKY MOUNT        VA    24151‐4549
FRED N MORGAN                                    2809 OAK PARK DR                                                                                COOKEVILLE         TN    38506‐5041
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FRED N ROGERS & LEONA P ROGERS JT TEN          5128 LISLE ROAD                                                                                  OWEGO             NY    13827‐4628
FRED N VAN GORDON                              4210 W COMMERCE                                                                                  MILFORD           MI    48380‐3118
FRED NIEPORTE                                  4712 WILDWOOD LN                                                                                 KIMBALL           MI    48074‐2751
FRED O BRUMFIELD JR                            14811 EVERGREEN RIDGE WAY                                                                        HOUSTON           TX    77001
FRED O DAHLBERG                                3607 N E 77TH TERRACE                                                                            KANSAS CITY       MO    64119‐4399
FRED O FISHER                                  39N                                    4800 ST RD                                                MARTINSVILLE      IN    46151‐9176
FRED O JONES                                   822 MERILYN LN                                                                                   ALGER             MI    48610‐8307
FRED O MUSSELMAN CUST DAVID T MUSSELMAN U/THE 2525 EUTAW PLACE #611                                                                             BALTIMORE         MD    21217‐5046
PA U‐G‐M‐A
FRED O RIDLEY                                  G 3205 N TERM ST                                                                                 FLINT             MI    48506
FRED O SWANSON & DONALD F COX & DOLORES E COX 636 ANDOVER DR                                                                                    BURBANK           CA    91504‐3927
JT TEN
FRED OTT                                       5 DICKINSON LN                                                                                   MORGANVILLE       NJ    07751
FRED OWENS JR                                  1439 HENDRICKS RD                                                                                BETHEL SPRINGS    TN    38315‐4177
FRED P BAKER TR BAKER FAMILY TRUST UA 02/08/96 17077 SAN MATEO ST                     APT 1314                                                  FOUNTAIN VLY      CA    92708‐7660

FRED P HATLEY                                      518 8TH ST                                                                                   MARKED TREE      AR     72365‐2704
FRED P HATLEY & AUDRY E HATLEY JT TEN              518 8TH ST                                                                                   MARKED TREE      AR     72365‐2704
FRED P HOHNSTADT                                   5900 MEADOWS DR                                                                              CLARKSTON        MI     48348‐2936
FRED P RASHID                                      28574 NEWPORT                                                                                FARMINGTON HILLS MI     48331‐3299

FRED P RASHID CUST RYAN P RASHID UGMA MI           28574 NEWPORT                                                                                FARMINGTON HILLS MI     48331‐3299

FRED P SCHLEICHER                                  25 BAY HILL RD                                                                               LAKEWOOD          NJ    08701‐3872
FRED P TRABAND                                     428 KENT RD                                                                                  SPRINGFIELD       PA    19064
FRED P VOGES & ELIZABETH K VOGES JT TEN            UNIT #102                          1101 HUNT CLUB DRIVE                                      MOUNT PROSPECT    IL    60056‐4261

FRED P WOOD JR                                     BOX 6205                                                                                     RALEIGH           NC    27628‐6205
FRED PASH TR UA 11/01/93 FRED PASH TRUST           BOX 368                                                                                      WARREN            IL    61087‐0368
FRED PATHUIS & KATHLEEN V PATHUIS JT TEN           15 CHERRY ST                                                                                 HOLLAND           MI    49423‐4717
FRED PAUL POLESKY JR                               1008 HARVEST DR                                                                              ALIQUIPPA         PA    15001‐4372
FRED PELLENS & MRS SHERI PELLENS JT TEN            5141 WYNDEMERE COMMON SQ                                                                     SWARTZ CREEK      MI    48473
FRED PERETTI                                       834 GLEN PARK RD                                                                             YOUNGSTOWN        OH    44512‐2707
FRED PERRY JR                                      621 PEMBERTON PL                                                                             SAINT LOUIS       MO    63135‐2910
FRED PETER PELLERITO & MRS IDA MARY PELLERITO JT   4795 CIDER HILL DR                                                                           ROCHESTER         MI    48306‐1606
TEN
FRED PHIFER JR                                     1119 WALSH ST                                                                                LANSING           MI    48912‐1640
FRED PILE                                          5404 W CO R 800N                                                                             GASTON            IN    47342
FRED PRUITT                                        3601 HANNAN RD                     APT 202                                                   WAYNE             MI    48184‐1089
FRED PUGH                                          5449 STIFFLER ST                                                                             FLINT             MI    48505‐1095
FRED R COWAN & DORIS E COWAN JT TEN                19035 SPRAGUE ST                                                                             TARZANA           CA    91356‐3916
FRED R DENTON & EDITH R DENTON JT TEN              5238 OLD SUDLEY RD                                                                           WEST RIVER        MD    20778‐9726
FRED R ENO & JEANNINE L ENO JT TEN                 1784 N CADILLAC CIRC                                                                         MELBOURNE         FL    32935‐4914
FRED R FIGUEROA                                    353 COLORADO RIDGE DR                                                                        HEMLOCK           MI    48626‐9375
FRED R GAERTNER                                    131 LAKEVIEW DR                                                                              MC MURRAY         PA    15317‐2747
FRED R GEYER                                       5317 QUEAL DR                                                                                SHAWNEE           KS    66203‐1943
FRED R GRAMCKO                                     5525 SPLIT MOUNTAIN RD                                                                       BORREGO SPRINGS   CA    92004‐6049

FRED R HERMAN                                      615 CLAY RUN RD                                                                              MILL RUN          PA    15464‐1428
FRED R KELLY JR                                    47 SUNSET DR                                                                                 ENGLEWOOD         CO    80110‐4030
FRED R LOWMAN JR                                   90 W MILL ST                                                                                 SPRINGBORO        OH    45066‐1441
FRED R MAZUCA & FRED MAZUCA JR JT TEN              5034 LANCELOT DR                                                                             SAN ANTONIO       TX    78218‐2738
FRED R MCDONALD                                    1207 JOHNSON ST                                                                              SANDUSKY          OH    44870‐4627
FRED R MERRITT                                     1515 RICHLAND RD                                                                             MURFREESBORO      TN    37130‐7402
FRED R NEIMAN TR UA 08/21/90 FRED R NEIMAN         1200 WRIGHT ST                                                                               ALMA              MI    48801
FRED R ORTLIP & RORY D ORTLIP JT TEN               621 E ESSEX                                                                                  ST LOUIS          MO    63122‐3044
FRED R PORTER                                      3700 W HOLMES RD                                                                             LANSING           MI    48911‐2105
FRED R PRETTENHOFER                                3030 ALTON DR                                                                                ST PETE BEACH     FL    33706‐2706
FRED R RECKNAGEL                                   517 BROADWAY                                                                                 LEONARDO          NJ    07737‐1312
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FRED R REYNOLDS                                    14712 IBEX AVE                                                                                   NORWALK           CA    90650‐5937
FRED R RING                                        1552 S LINVILLE ST                                                                               WESTLAND          MI    48186‐4156
FRED R SABBE & YASMIN L SABBE JT TEN               2857 ABERDEEN LANE                                                                               EL DORADO HILLS   CA    95762‐5683
FRED R SCHANZ TR FRED R SCHANZ REVOCABLE TRUST     890 TWILIGHT DR                                                                                  SEVEN HILLS       OH    44131‐4064
UA 04/08/97
FRED R SLOAN                                       5643 SEVER RD                                                                                    CHISHOLM          MN    55719‐8243
FRED R SONNENBERG                                  36 WOODBURY STREET                                                                               WILKES‐BARRE      PA    18702‐3308
FRED R STEVENSON                                   PO BOX 278                                                                                       LONGWOOD          NC    28452‐0278
FRED R WILES                                       4989 SEAVIEW AVE                                                                                 CASTRO VALLEY     CA    94546‐2300
FRED RAINES                                        224 FRANKLIN AVE                                                                                 ELYRIA            OH    44035‐3526
FRED REED                                          8181 PREBLEWOOD DR                                                                               MIDDLETOWN        OH    45042‐9002
FRED RELIFORD                                      2997 CHAUNSY CIRCLE                                                                              STOCKTON          CA    95209
FRED RICHARD PICKELHAUPT & JOAN DOROTHY            406 SHORE CLUB DR                                                                                ST CLR SHORES     MI    48080‐1557
PICKELHAUPT JT TEN
FRED ROBERTS                                       16561 WASHBURN                                                                                   DETROIT           MI    48221‐2842
FRED ROBINSON                                      6529 BURNLY                                                                                      GARDEN CITY       MI    48135‐2037
FRED ROCK PRIESTER                                 RR 1 BOX 548                                                                                     FARMINGTON        WV    26571‐9753
FRED ROSENBERG                                     4450 CORDOVA ST STE 100                                                                          ANCHORAGE         AK    99503‐7273
FRED S BALL 3RD                                    1912 LOGAN DR                                                                                    NORMAN            OK    73069‐6408
FRED S CRUDELE & DIANE M CRUDELE JT TEN            75 MILLHOUSE RD                                                                                  MARLBORO          NY    12542‐6206
FRED S DAVID                                       613 N ROXBURY DR                                                                                 BEVERLY HILLS     CA    90210‐3240
FRED S DURHAM                                      R2                                                                                               PERU              IN    46970‐9802
FRED S HALL                                        3180 ROCKINGHAM DR                                                                               ATLANTA           GA    30327‐1235
FRED S HOGG                                        1927 BASSETT                                                                                     ORANGE            TX    77632‐3913
FRED S HORNER                                      1068 IRVING PL                                                                                   WAUKESHA          WI    53188‐2355
FRED S MARSHALL                                    PO BOX 598                                                                                       NORRIDGEWOCK      ME    04957‐0598
FRED S MISKA & JO ANN MISKA JT TEN                 969 W GLASS ROAD                                                                                 ORTONVILLE        MI    48462‐9056
FRED S NOBLE                                       2448 GLYNN                                                                                       DETROIT           MI    48206‐1747
FRED S OPALINSKI                                   1506 ECKERT AVE                                                                                  READING           PA    19602
FRED S PORT JR & DELORES J PORT JT TEN             199 REHOBETH CHURCH RD                                                                           CLARION           PA    16214‐5911
FRED S VAUGHN & MRS DONNA LEE VAUGHN JT TEN        3524 NEWCOMB DR                                                                                  ANCHORAGE         AK    99508‐4852

FRED SCHANER                                       255 N HIBISCUS DR                                                                                MIAMI BEACH       FL    33139‐5121
FRED SCHAU JR                                      1102 N HIGH ST                                                                                   WINCHESTER        TN    37398‐1034
FRED SCHELLHOUSE JR & ORA M SCHELLHOUSE JT TEN     417 WASHINGTON DRIVE                                                                             ARLINGTON         TX    76011‐2251

FRED SCHIEMAN & MRS JOAN SCHIEMAN JT TEN           6733 S RIVER RD                                                                                  MARINE CITY       MI    48039‐2256
FRED SCHLOSS                                       2000 LINWOOD AVENUE                                                                              FORT LEE          NJ    07024‐3086
FRED SCHMIDT                                       19229 BETTY STOUGH ROAD                                                                          CORNELIUS         NC    28031‐7515
FRED SCHUELER                                      32 LANDIS CIR                                                                                    HAMILTON          OH    45013‐9664
FRED SCHUETZ TR FRED SCHUETZ TRUST UA 2/22/04      3795 BALBOA PL                                                                                   WESTERVILLE       OH    43081‐4149

FRED SHUNKO & DONNA SHUNKO TR UA 08/23/93 FRED 1880 WHILA WAY                                                                                       ALVIN             TX    77511
SHUNKO LOVING TRUST
FRED SIDAROS                                   26 BALSDON CRESC                           WHITBY ON                               L1P 1L5 CANADA
FRED SMITH                                     #11 CAMBRIDGE PARK                                                                                   FRANKENMUTH       MI    48734‐9779
FRED SMITH                                     6945 BOB O LINK CT                                                                                   GAYLORD           MI    49735‐8793
FRED SMITH IV                                  13229 FULLER AVE                                                                                     GRANDVIEW         MO    64030
FRED SNYDER & ANNETTE SNYDER TR UA SNYDER      3100 PRUITT RD H‐303                                                                                 PORT ST LUCIE     FL    34952‐5955
FAMILY TRUST 05/15/91
FRED SOUTH JR                                  RR 1 BOX 158A                                                                                        GASTON            IN    47342‐8995
FRED SPAIN & GERTRUDE M SPAIN JT TEN           69 EDGEWOOD RD                                                                                       FLORHAM PARK      NJ    07932‐2126
FRED STERZER                                   4432 PROVINCE LINE RD                                                                                PRINCETON         NJ    08540‐4368
FRED STEVEN & JULIA ANN SQUIRES JT TEN         1645 STATE SERVICE ROAD                                                                              DEFIANCE          OH    43512‐1952
FRED STREIFELD CUST SCOTT STREITFELD UTMA CA   16747 MAGNOLIA BLVD                                                                                  ENCINO            CA    91436‐1071

FRED STROHLIN                                      98‐099 UAO PLACE #2305                                                                           AIEA              HI    96701‐5006
FRED T AIDE TR FRED T AIDE SELF DECLARATION OF     1310 W FAIRPLAY ST                                                                               HAZEL GREEN       WI    53811‐9802
TRUST UA 01/24/99
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FRED T BANKS                                     411 GAEL WAY                                                                                    WOODSTOCK          GA    30188‐5118
FRED T BIGELOW                                   757 MIDDLESEX BLVD                                                                              GROSSE POINTE      MI    48230‐1741
                                                                                                                                                 PARK
FRED T CRAWFORD                                  125 OLD VIRGINIA AVE                                                                            RICH CREEK         VA    24147‐9637
FRED T FELS                                      9537 SPRING BRANCH                                                                              DALLAS             TX    75238‐2542
FRED T GARRETSON & MRS VIRGINIA L GARRETSON JT   616 DAYTON ST                                                                                   HAMILTON           OH    45011‐3458
TEN
FRED T GOODIN                                    23565 LAWSON AVE                                                                                WARREN             MI    48089‐4486
FRED T KAHNERT                                   PO BOX 9                                                                                        HARRISON           NJ    07029‐0009
FRED T MILLARD & DENISE M MILLARD JT TEN         1845 RAY RD                                                                                     OXFORD             MI    48371‐2755
FRED T NAZ                                       14706 DANE CT                                                                                   STERLING HGTS      MI    48312‐4414
FRED T PRICE                                     4241 BONNIE AVE                                                                                 GROVE CITY         OH    43123‐3103
FRED T RENICK JR                                 224 RIVES RD                                                                                    MARTINSVILLE       VA    24112‐3829
FRED T SAITO CUST UNDER THE LAWS OF OREGON FOR   ROUTE 1                               BOX 3971                                                  NYSSA              OR    97913‐9801
STEVEN M SAITO
FRED T SCHARRER JR & BETTY M SCHARRER JT TEN     5889 SW 31ST ST                                                                                 MIAMI              FL    33155‐4015
FRED THRASHER                                    4317 ARROW TREE DR APT D                                                                        ST LOUIS           MO    63128‐4714
FRED V HOLL                                      8420 S STATE ROUTE 202                                                                          TIPP CITY          OH    45371‐9075
FRED V KELLY JR                                  272 SUNSET BLVD                                                                                 GREENWOOD          IN    46142‐3916
FRED V LOPEZ                                     211 LAURIE LANE                                                                                 SANTA PAULA        CA    93060‐3116
FRED V SANDERS                                   8802 ST RT 15                                                                                   DEFIANCE           OH    43512‐8493
FRED VALENTI CUST ANNE VALENTI UGMA CT           91 WRINN ST                                                                                     WALLINGFORD        CT    06492‐3141
FRED VALENTI CUST CAROLE VALENTI UGMA CT         219 HIGH ST                                                                                     WALLINGFORD        CT    06492‐3203
FRED VROMAN                                      3087 RANDALL RD                                                                                 RANSOMVILLE        NY    14131‐9411
FRED W ATWELL & LOUISE Z ATWELL JT TEN           12908 FITZHUGH DR                                                                               NEWPORT NEWS       VA    23602‐7534
FRED W BALLEW                                    4734 TIPTON DRIVE                                                                               TROY               MI    48098‐4467
FRED W BASHIR                                    1916 S AVERILL AVE                                                                              FLINT              MI    48503‐4404
FRED W BEAUMONT & MARY L BEAUMONT JT TEN         12 HARNEDS LNDG                                                                                 CORTLAND           OH    44410‐1276
FRED W BENSON                                    195 BUMILA DR                                                                                   RAYNHAM            MA    02767‐1075
FRED W BOHN III & NANCY BOHN JT TEN              524 BUTLER AVENUE                                                                               WYOMING            PA    18644‐1904
FRED W CAVENDER SR                               108 OAKLEAF CIRCLE                                                                              HEMPHILL           TX    75948‐9779
FRED W CROW 3RD                                  100 E 2ND ST                                                                                    POMEROY            OH    45769‐1094
FRED W DEAN                                      3601 SW CRANE RD                                                                                LEES SUMMIT        MO    64082‐3102
FRED W GOERING TR & KAREN G KRUG TR UA 2/8/08    335 PARTRIDGE COURT                                                                             ALGONQUIN          IL    60102
GOERING FAMILY TRUST
FRED W GOODENOUGH & JOAN W GOODENOUGH JT         7386 STUART CIR                                                                                 WARRENTON          VA    20187‐4548
TEN
FRED W HANELINE                                  1612 ATLANTIC ST                                                                                HUNTINGTON         IN    46750‐1614
FRED W HANKS                                     237 GREEN OAKS DR                                                                               CARTWRIGHT         OK    74731‐2912
FRED W HANSON                                    323 WOODVIEW PL                                                                                 MANCHESTER         MI    48158‐8588
FRED W HILL & GLADYS E HILL JT TEN               521 S ACADEMY ST                                                                                MEDINA             NY    14103‐1138
FRED W HUNTINGTON 3RD                            1479 ENCANTADA CT                                                                               CHULA VISTA        CA    91913‐1019
FRED W HUNTZICKER                                900 BERKSHIRE ROAD                                                                              ANN ARBOR          MI    48104‐2752
FRED W JOHNSON & ROSE M JOHNSON JT TEN           5232 RIDGEBURY                                                                                  LYNDHURST          OH    44124‐1209
FRED W KENDALL & DORIS E KENDALL JT TEN          129 CITY MILL RD                                                                                LANCASTER          PA    17602‐3807
FRED W KILLION JR                                2513 DAUPHIN ST                                                                                 MOBILE             AL    36606‐1903
FRED W LEDDER & MILDRED P LEDDER JT TEN          213 A MANCHESTER DRIVE                                                                          BASKING RIDGE      NJ    07920‐1240
FRED W MALLARD                                   1028 E KING ST                                                                                  CORUNNA            MI    48817‐1527
FRED W MARTIN                                    50850 C R 665                                                                                   PAW PAW            MI    49079‐9354
FRED W MCCREEDY                                  G‐5032 N VASSAR                                                                                 FLINT              MI    48506
FRED W MELCHIOR                                  852 S HIGH ST                                                                                   WEST CHESTER       PA    19382‐5447
FRED W METZIG                                    446 HAWTHORNE ST                                                                                NEENAH             WI    54956‐4624
FRED W MILLER                                    241 STINGY HOLLOW RD                                                                            STAUNTON           VA    24401‐5438
FRED W MILLER                                    1400 HONEY LN                                                                                   KOKOMO             IN    46902‐3920
FRED W MORGAN                                    33869 GROTH                                                                                     STERLING HEIGHTS   MI    48312‐6633

FRED W MOTES JR                                  4265 E UPPER RIVER RD                                                                           SOMERVILLE         AL    35670
FRED W OCKRIM                                    24202 PARK ATHENA                                                                               CALABASAS          CA    91302‐2531
FRED W PARKER                                    459 CLAIR HILL DRIVE                                                                            ROCHESTER          MI    48309‐2114
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Name                                             Address1                              Address2             Address3           Address4          City             State Zip

FRED W PAULUS                                    2700 BELLEFONTAINE B‐12 W                                                                       HOUSTON          TX    77025‐1622
FRED W REICH & EVELYN A REICH JT TEN             9257 SANDYSIDE RD                                                                               WHITE LAKE       MI    48386‐3151
FRED W ROSENBAUM & CHRISTINE L ROSENBAUM JT      11 STONE RD                                                                                     BURLINGTON       CT    06013‐2610
TEN
FRED W ROSSI                                     1567 VINCENNES                                                                                  CRETE            IL    60417‐3103
FRED W SCHILDGE                                  50‐67 42ND ST                                                                                   SUNNYSIDE        NY    11104‐3127
FRED W SMITH JR                                  113 PASADENA DR                                                                                 VICTORIA         TX    77904‐1608
FRED W STARKS                                    C/O STARKS ASSOCIATES INCORP          1280 NIAGARA ST                                           BUFFALO          NY    14213‐1503
FRED W THOMPSON                                  14305 WEST GUNSIGHT DR                                                                          SUN CITY WEST    AZ    85375‐2844
FRED W VINCENT JR                                PO BOX 538                                                                                      VENICE           FL    34284‐0538
FRED W WINTER                                    9519 HOLLY OAK DR                                                                               SHREVEPORT       LA    71118‐4733
FRED W ZAHARA                                    1307 8TH AVE S E                      CALGARY AB                              T2G 0M8 CANADA
FRED WALLACE CLARK                               12110 W 68TH TERR                                                                               SHAWNEE          KS    66216‐2825
FRED WALSH & MARGARET WALSH JT TEN               8306 NE 166TH                                                                                   KENMORE          WA    98028‐1622
FRED WARD                                        217 BRADFORD ST                                                                                 SEAFORD          DE    19973
FRED WILLIAMS                                    3774 RANDY COURT                                                                                CINCINNATI       OH    45247‐6943
FRED WILLIAMS                                    4005 MINERAL WELLS HIGHWAY                                                                      WEATHERFORD      TX    76088‐6701
FRED WOLFE                                       631 CIRCLE HEIGHTS DRIVE                                                                        BIRMINGHAM       AL    35214‐1035
FRED WOLFF & MRS MARIAN WOLFF JT TEN             396 A COND 9                          HERITAGE VILLAGE                                          SOUTHBURY        CT    06488
FRED WOODARD                                     20531 HEYDEN                                                                                    DETROIT          MI    48219‐1424
FRED WORTH & INA FAYE WORTH TR FRED WORTH        480 TRIPLE COVE LN                                                                              CLIMAX SPRINGS   MO    65324‐2008
TRUST UA 03/23/95
FRED WRIGHT                                      100 WINSTON AVE                                                                                 WILMINGTON       DE    19804‐1730
FRED Z GLAUB & MRS EDITH GLAUB JT TEN            12029 NAVY                                                                                      LOS ANGELES      CA    90066‐1044
FREDA A EPPERLY                                  2924 NORTH ST RD 13                                                                             ANDERSON         IN    46011‐9198
FREDA A FISHBURN                                 15100 BIRCHAVEN LN                                                                              FINDLAY          OH    45840‐9773
FREDA C HALE                                     701 SUMMIT AVE                        APT 104                                                   NILES            OH    44446‐3658
FREDA C JAFARI                                   3505 TETON CIR                                                                                  BIRMINGHAM       AL    35216‐3831
FREDA D MAISEL & DALE Z MAISEL JT TEN            4325 MAISEL FARM LN                                                                             ELLICOTT CITY    MD    21042
FREDA D PEARISO                                  307 EAST LEXINGTON ST                                                                           DAVISON          MI    48423‐1843
FREDA D PEARISO & BRIAN MATTHEW PEARISO JT TEN   307 E LEXINGTON                                                                                 DAVISON          MI    48423‐1843

FREDA DOYLE JONES                                1008 WOLCOTT AVE                                                                                NORFOLK          VA    23513‐3019
FREDA E ELJENHOLM & ERIC J ELJENHOLM JT TEN      5952 75TH AVENUE COURT W                                                                        UNIVERSITY PL    WA    98467‐4503
FREDA F HALE                                     340 DAYTON PIKE                                                                                 GERMANTOWN       OH    45327‐1172
FREDA F MC COY                                   11400 STATE ROUTE 21                  # 201                                                     WAYLAND          NY    14572‐9481
FREDA G ANTONOWICZ & SUZANNE J TUCKER &          13712 WEST DUBLIN DR                                                                            LOCKPORT         IL    60441‐9118
CKRISTIN R TUCKER JT TEN
FREDA GEER LAWSON                                1345 E ST RT 73                                                                                 SPRINGBORO       OH    45066
FREDA J DUNCAN                                   250 CR 1127                                                                                     ARLINGTON        KY    42021
FREDA J HUNDLEY                                  82 CADILLAC STREET                                                                              PONTIAC          MI    48342
FREDA J ROBBINS                                  508 W CASS ST                                                                                   ST JOHNS         MI    48879‐1715
FREDA J SOON                                     2152 HIDDEN LAKE TRL                                                                            ORTONVILLE       MI    48462‐8934
FREDA K MC CLAIN                                 3022 IMPERIAL VALLEY DRIVE                                                                      LITTLE ROCK      AR    72212‐3108
FREDA L DANIELY                                  2011 SOMERSET BLVD                    APT 102                                                   TROY             MI    48084‐4028
FREDA L HELINSKI                                 208 TIMBER GROVE ROAD                                                                           REISTERSTOWN     MD    21136‐3723
FREDA L REYNOLDS                                 3824 S HUBBARD ST                                                                               MARION           IN    46953‐5128
FREDA L TERRY                                    8558 CO RD 434                                                                                  TRINITY          AL    35673‐3019
FREDA M APPLEBAUM & BERT A DAVIS JT TEN          1300 RUNNING SPRING RD #1                                                                       WALNUT CREEK     CA    94595‐2965
FREDA M BATCHELDER                               13163 STACY RD                                                                                  GREENVILLE       MI    48838‐9005
FREDA M BLUNT TR FREDA M BLUNT TRUST UA          1282 YORKTOWN DR                                                                                FLINT            MI    48532‐3237
09/10/98
FREDA M BUTLER                                   391 CLARK DR ROOM 70D                                                                           CIRCLEVILLE      OH    43113‐1561
FREDA M COLLIER                                  5319 GREENCROFT DR                                                                              DAYTON           OH    45426‐1923
FREDA M GRIBBIN                                  4062 PRESTWICK DR                                                                               PORTAGE          MI    49024‐4067
FREDA M LEVERETTE                                5210 SCENIC VIEW                                                                                FLINT            MI    48532‐2356
FREDA M OSTERINK                                 131 MILLER DR                                                                                   CONKLIN          MI    49403‐9716
FREDA M PAGLIUCA                                 216 HUNTER AVE                                                                                  TRENTON          NJ    08610‐3525
                                              09-50026-mg             Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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FREDA M PECKENS TR FREDA M PECKENS TRUST UA     301 KILLINGTON DR                                                                             RALEIGH          NC    27609‐3712
8/20/04
FREDA M PYE                                     11922 WILLOWBROOK                                                                             LOS ANGELES     CA     90059‐2647
FREDA M WITHERS                                 104 PINEHURST LANE                                                                            SIGNAL MOUNTAIN TN     37377‐1853

FREDA M YOUNG                                 1219 IRON BRIDGE RD                                                                             COLUMBIA         TN    38401‐8010
FREDA MAE STEWART                             1519 S I ST                                                                                     ELWOOD           IN    46036‐2806
FREDA MARY DEYO LIFE TENANT U/W ETHEL BOHNSON 1332 RT 26                                                                                      CLIMAX           NY    12042

FREDA O TYMOSZEWICZ                             17 TAMARACK AVE                     ST CATHARINES ON                        L2M 3B8 CANADA
FREDA P VENISEE                                 420 POINCIANA AVE                                                                             ALBANY           GA    31705‐4584
FREDA PARR                                      2454 WILLIAMS AVENUE                                                                          NORWOOD          OH    45212‐4048
FREDA S HICKS                                   514 JANNIE ST                                                                                 DENTON           TX    76209‐4516
FREDA SOPHER                                    7 WISTERIA DR                                                                                 DAYTON           OH    45419‐3452
FREDA T LOWRY                                   3322 OLD HIGHWAY 68                                                                           MADISONVILLE     TN    37354‐6082
FREDA V GARRETT                                 1500 E BOGART RD APT 12H                                                                      SANDUSKY         OH    44870‐7159
FREDA W CANTWELL                                710 E 32ND ST                                                                                 ANDERSON         IN    46016‐5426
FREDDERICK DUNSON                               6391 COUNTRYDALE CT                                                                           DAYTON           OH    45415‐1803
FREDDI A NUNLEY                                 C/O FREDDI HART                     12142 WEBSTER RD                                          CLIO             MI    48420‐8209
FREDDI RAPPAPORT CUST MELISSA RAPPAPORT UGMA    11141 CASHMERE ST                                                                             LOS ANGELES      CA    90049‐3233
CA
FREDDIE A CHAPMAN                               E‐5210 N LINDEN RD                                                                            FLINT            MI    48504‐1108
FREDDIE A JORDAN                                1269 BARNES RD                                                                                SUFFOLK          VA    23437
FREDDIE ALLEN                                   129 HOLMDENE BLVD N E                                                                         GRAND RAPIDS     MI    49503‐3712
FREDDIE B JOHNSON                               1312 W 8TH ST                       APT G                                                     ANDERSON         IN    46016‐2668
FREDDIE BURGESS                                 PO BOX 921                                                                                    SOUTH PLAINFI    NJ    07080‐0921
FREDDIE C BEAN                                  2320 S MERIDIAN RD                                                                            MASON            MI    48854‐9657
FREDDIE C LANGFORD                              1587 STANDING STONE HW                                                                        HILHAM           TN    38568‐5524
FREDDIE CONN                                    1125 OHLTOWN RD                                                                               YOUNGSTOWN       OH    44515‐1025
FREDDIE D BONDS                                 700 HAMLET ROAD                                                                               AUBURN HEIGHTS   MI    48326‐3525
FREDDIE D BROWN                                 715 PRESTON DR                                                                                WAYNESVILLE      OH    45068‐8458
FREDDIE D DEMPSEY                               7561 LINCOLN AVE EXT                                                                          LOCKPORT         NY    14094‐9087
FREDDIE D MULLINS                               17571 BAILEY                                                                                  ROMULUS          MI    48174‐9612
FREDDIE D OAKS                                  25324 HASKELL                                                                                 TAYLOR           MI    48180‐2083
FREDDIE D OLIVER                                436 SW 63RD PL                                                                                OKLAHOMA CITY    OK    73139‐7007
FREDDIE D WILLIAMS JR                           1220 KENT AVE                                                                                 BALTIMORE        MD    21207‐3958
FREDDIE E BOOK                                  1001 MAIN ST                                                                                  PALACIOS         TX    77465
FREDDIE E JAMES                                 1209 S RANGELINE RD                                                                           ANDERSON         IN    46012‐4623
FREDDIE E THOMPSON                              PO BOX 27                                                                                     MC CURTAIN       OK    74944‐0027
FREDDIE EVERETT JONES                           6182‐S‐100 W                                                                                  PENDLETON        IN    46064‐9386
FREDDIE FRANZ & SUE FRANZ JT TEN                PO BOX 1828                                                                                   HIDALGO          TX    78557‐1828
FREDDIE FREDERICK                               216 ETLER DRIVE                                                                               CRESTLINE        OH    44827‐1951
FREDDIE G BAKER                                 4703 SUMMIT AVE                                                                               SIMI VALLEY      CA    93063‐1414
FREDDIE G BUTLER                                1060 LAKEWOOD                                                                                 DETROIT          MI    48215‐2825
FREDDIE G GOMEZ                                 422 WEST ADAMS AVENUE                                                                         ALHAMBRA         CA    91801‐4735
FREDDIE G WEBB                                  3459 MIDDLE FORK RD                                                                           HAGER HILL       KY    41222‐8804
FREDDIE GORDON MILLER                           2692 WEST 600 SOUTH                                                                           ANDERSON         IN    46013‐9741
FREDDIE H BLUITT                                1300 HULGAN CR                                                                                DESOTO           TX    75115
FREDDIE H GRAY                                  277 LEGION RD                                                                                 WARRENVILLE      SC    29851‐3323
FREDDIE H SINK                                  1633 N CO RD 300 E                                                                            KOKOMO           IN    46901
FREDDIE HEATH                                   6451 IROQUOIS                                                                                 DETROIT          MI    48213‐2518
FREDDIE HUNTER & MARIE HUNTER JT TEN            5141 MAFFITT AVE                                                                              ST LOUIS         MO    63113‐1010
FREDDIE J CARTER                                9023 CASTLEWOOD ST                                                                            OAKLAND          CA    94605‐4407
FREDDIE J CENTER                                446 LAKE HAVEN CT                                                                             LEBANON          OH    45036‐7996
FREDDIE J GIBSON                                R R 1 BOX 255                                                                                 AMBOY            IN    46911‐9776
FREDDIE J HAUGABOOK                             2080 CEDAR VALLEY PL                                                                          CONLEY           GA    30288‐1701
FREDDIE J QUEEN                                 7848 BEAVERTON RD                                                                             LAKE             MI    48632‐9134
FREDDIE J WILLIAMS                              PO BOX 1004                                                                                   STOCKDALE        OH    45683‐0004
FREDDIE JOHNSON                                 5519 MT ELLIOT                                                                                DETROIT          MI    48211‐3114
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FREDDIE JONES                                   2658 VICKSBURG                                                                                    DETROIT          MI    48206‐2335
FREDDIE L BIRD                                  465 NEEDMORE ROAD                                                                                 ALBERTSVILLE     AL    35950‐9424
FREDDIE L BRIMLEY                               LAKEVIE& MEDFORD BLVD                                                                             BROWNS MILLS     NJ    08015
FREDDIE L BROWN                                 33710 GATES ST                                                                                    CLINTON TOWNSHIP MI    48035‐4207

FREDDIE L DOWNS                                   1802 MEDRA DRIVE                                                                                MONROE           LA    71202‐3032
FREDDIE L GOODSON                                 H C R #63 BOX 58                                                                                SALEM            AR    72576‐9202
FREDDIE L GREEN                                   418 ELM                                                                                         PONTIAC          MI    48342‐3421
FREDDIE L HANNAH                                  HC69 BOX18                                                                                      MARLINTON        WV    24954‐9406
FREDDIE L HARRIS                                  14275 LENORE                                                                                    REDFORD          MI    48239‐2892
FREDDIE L HAYES                                   533 ENGLEWOOD                                                                                   DETROIT          MI    48202‐1108
FREDDIE L HILL                                    456 RHODES AVE                                                                                  AKRON            OH    44307‐2149
FREDDIE L JOHNSON                                 402 LOIS WAY                                                                                    CARMEL           IN    46032‐9784
FREDDIE L JOHNSON III                             3621 DUNLAP ST                                                                                  TEMPLE HILLS     MD    20748‐4220
FREDDIE L LOVE                                    2945 SHADY OAKS DR                                                                              INDIANAPOLIS     IN    46229‐1306
FREDDIE L PAYTON                                  526 B ST SE                                                                                     MIAMI            OK    74354‐8114
FREDDIE L ROBERSON                                12740 BIRWOOD                                                                                   DETROIT          MI    48238‐3046
FREDDIE L RUSHING                                 16909 MANOR                                                                                     DETROIT          MI    48221‐2888
FREDDIE L SELF                                    2209 SKYLARK                                                                                    ARLINGTON        TX    76010‐8111
FREDDIE L SELF & BRENDA J SELF JT TEN             2209 SKYLARK                                                                                    ARLINGTON        TX    76010‐8111
FREDDIE L SUTTON                                  95 WOODMILL DR                                                                                  ROCHESTER        NY    14626‐1167
FREDDIE LEE PATTERSON                             1041 DESOTO                                                                                     YPSILANTI        MI    48198‐6279
FREDDIE M COTHRAN                                 BOX 55                                                                                          WILLISTON        SC    29853‐0055
FREDDIE M DAVIS TOD SHARON E DAVIS SUBJECT TO STA 650 E PARK AVE                                                                                  TRENTON          NJ    08610‐5012
TOD RULES
FREDDIE M HENRY                                   507 PRATT ST                                                                                    NILES            OH    44446‐2362
FREDDIE M POPE                                    5331 GARLAND                                                                                    DETROIT          MI    48213‐3369
FREDDIE P MILLS                                   349 JIM HILL RD                                                                                 PILOT MTN        NC    27041‐7256
FREDDIE PORTER JR                                 4646 OLD CUSSETA RD                                                                             COLUMBUS         GA    31903‐2542
FREDDIE POUNCIL                                   5212 E 40TH TERR                                                                                KANSAS CITY      MO    64130‐1725
FREDDIE R HAYNES                                  2607 CALBERT DR                                                                                 INDIANAPOLIS     IN    46219‐1528
FREDDIE RASCOE JR                                 12331 WILFORD                                                                                   DETROIT          MI    48213‐4018
FREDDIE SCOTT                                     2112 GILMARTIN ST                                                                               FLINT            MI    48503‐4470
FREDDIE STEWART                                   65 ONEIDA                                                                                       PONTIAC          MI    48341‐1624
FREDDIE STEWART                                   155 S TRIPLE X RD                                                                               CHOCTAW          OK    73020‐6909
FREDDIE W LUCHTERHAND                             35 SHEPARD AVE                                                                                  AKRON            NY    14001‐1316
FREDDIE W SEXTON                                  26 REEVES RD                      #A                                                            HARTSELLE        AL    35640‐7051
FREDDIE Y REDDING                                 PO BOX 256                                                                                      WEBB             AL    36376‐0256
FREDDIE ZACARIAS                                  2408 43RD AVE                                                                                   SAN FRANCISC     CA    94116‐2059
FREDDY A COX                                      14925 AFSHARI CIR                                                                               FLORISSANT       MO    63034‐1201
FREDDY A HAWKINS                                  C/O SUSAN M FISHER                2037 LEWISBURG PIKE                                           FRANKLIN         TN    37064‐1115
FREDDY A LONG                                     3238 HIGHWAY 50                                                                                 DUCK RIVER       TN    38454‐3517
FREDDY BARBOSA                                    20 PARKER RD                                                                                    GARNERVILLE      NY    10923‐1910
FREDDY C DE MULDER                                OPEL BELGIUM                      PRINS BOUDEWIJNLAAN 30   KONTICH BELGIUMB   BELGIUM
FREDDY E FLORES                                   2080 CHAMPIONS PKWY                                                                             LAWRENCEVILLE    GA    30044‐6924
FREDDY H PATE                                     5901 MOUNTAINWOOD DR                                                                            ARLINGTON        TX    76016‐2104
FREDDY I COLLAZOS‐AZCUI                           321 E JEFFERSON ST                                                                              DIMONDALE        MI    48821
FREDDY J BELL                                     BOX 124                                                                                         VENUS            TX    76084‐0124
FREDDY J PUCKETT                                  PO BOX 355                                                                                      CARRABELLE       FL    32322‐0355
FREDDY MYERS                                      1082 SUNRISE CT NW                                                                              GRAND RAPIDS     MI    49534‐3679
FREDDY R GREEN                                    2442 PIRATE CT                                                                                  JACKSONVILLE     FL    32224‐1117
FREDDYE STIMAGE                                   1344 BANCROFT ST                                                                                DAYTON           OH    45408‐1810
FREDECIA H EDWARDS                                APT 422                           2501 QUE ST NW                                                WASHINGTON       DC    20007‐4303
FREDENIA D CHAMBERS                               5301 PARAMONT DR                                                                                BRIMINGHAM       AL    35210‐2831
FREDERIC A KOWALCYK & YVONNE M KOWALCYK JT TEN 6475 BAYBERRY DR                                                                                   SEVEN HILLS      OH    44131‐3002

FREDERIC A MEYER                                5241 CLEARCREEK TRL                                                                               YELLOW SPRINGS   OH    45387‐9781
FREDERIC A UPTON & ALICE L UPTON JT TEN         3334 WILLET AVE                                                                                   ROCHESTER        MI    48309‐3543
FREDERIC B POTACK & BARBARA B POTACK JT TEN     67 WATERS EDGE                                                                                    CONGERS          NY    10920‐2123
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FREDERIC C BLANC                                   2 MOUNTAIN WEST DR                    UNIT 22                                                   WOLFEBORO        NH    03894‐4241
FREDERIC C FOLLER                                  3800 N 57TH AVE                                                                                 HOLLYWOOD        FL    33021‐1519
FREDERIC C KNISEL                                  8069 HODDINOTT RD                                                                               ADRIAN           MI    49221‐9428
FREDERIC D KUCK                                    1224 HICKORY RIDGE DR                                                                           FRANKLIN         TN    37064‐2910
FREDERIC D UTTER TR UA 05/23/85 FREDERIC D UTTER   14 MANN AVE                                                                                     NEEDHAM          MA    02491‐4530
TR
FREDERIC D WRIGHT                                  22 CAMBRIDGE DR                                                                                 BREVARD          NC    28712‐9148
FREDERIC E CAULEY                                  8498 HYNE RD                                                                                    BRIGHTON         MI    48114‐8924
                                                                                                                                                   TOWNSHIP
FREDERIC E PEREIRA JR                              392 BRENDA LANE                                                                                 FRANKLIN         MA    02038‐2840
FREDERIC E TAYLOR                                  33 CORNELL RD                                                                                   CRANFORD         NJ    07016‐1606
FREDERIC E WIERMAN                                 5454 CHERRY HILL LANE                                                                           SALISBURY        MD    21801‐2601
FREDERIC EARL BOWMAN                               3265 W MAIN RD                                                                                  BATAVIA          NY    14020‐9109
FREDERIC F CHESLEY JR                              705 OAK ST                                                                                      MOUNTAIN LAKE    MD    21550‐1614
                                                                                                                                                   PARK
FREDERIC F FRALICK CUST ROBERT CLARK FRALICK       954 S WINDHAVEN COURT                                                                           NEW PALESTINE    IN    46163‐8882
UGMA IN
FREDERIC F HOUSER                                  4375 N LAPEER RD                                                                                COLUMBIAVILLE    MI    48421‐9749
FREDERIC F ZEHNDER                                 3812 STONEWALL                                                                                  INDEPENDENCE     MO    64055‐4180
FREDERIC F ZEHNDER & VERA Y ZEHNDER JT TEN         3812 STONEWALL COURT                                                                            INDEPENDENCE     MO    64055‐4180
FREDERIC FRANZIUS CUST LYNN MAY FRANZIUS UGMA      14 BAYBERRY LANE                                                                                GROTON           CT    06340‐6002
CT
FREDERIC FROHMANN & PHYLLIS FROHMANN JT TEN        3740 COUNTRY VISTA WAY                                                                          LAKE WORTH       FL    33467‐2442

FREDERIC GREEN & AMY GREEN JT TEN                  4 DARWOOD PL                                                                                    HARTSDALE        NY    10530‐2918
FREDERIC H ROBINSON                                PO BOX 247                                                                                      LINCOLN          MA    01773‐0247
FREDERIC HERMAN ENGELBRECHT                        494 WESTGATE RD                                                                                 TARPON SPRINGS   FL    34688‐7404
FREDERIC J ASTLE CUST F JAY ASTLE UGMA ME          27 PACIFIC ST                                                                                   ROCKLAND         ME    04841‐3631
FREDERIC J ASTLE CUST KARYL J ASTLE UGMA ME        2 LANTERN LANE                                                                                  CUMBERLAND       ME    04110‐1410
                                                                                                                                                   FORESID
FREDERIC J BURKE                                   BOX 71                                                                                          MOUNT VERNON     IA    52314‐0071
FREDERIC J OATES JR & NANCY A OATES JT TEN         10990 STAGE ROAD                                                                                CLARENCE         NY    14031‐2319
FREDERIC J ROSSI                                   51 MAPLE COURT                                                                                  N HALEDON        NJ    07508‐2749
FREDERIC K BARTREM                                 17022 NORTHALL ST                                                                               MACOMB           MI    48044‐4035
FREDERIC L DUPRE                                   11 ROBERTSON RD                                                                                 AUBURN           MA    01501‐2410
FREDERIC L HARVEY                                  2824 BENVENUE AVE                                                                               BERKELEY         CA    94705‐2104
FREDERIC L LINK CUST DANIEL F LINK UTMA CA         5841 RIDGEMOOR DRIVE                                                                            SAN DIEGO        CA    92120‐3917
FREDERIC L SCHNEIDER                               27315 LYNDON                                                                                    REDFORD          MI    48239‐3018
FREDERIC M CASSIDY                                 10281 BANNOCKBURN DRIVE                                                                         LOS ANGELES      CA    90064‐4706
FREDERIC M HINDLEY & LOUISE H JACKSON JT TEN       1119 BELTRAMI AVE NW                                                                            BEMIDJI          MN    56601‐2824

FREDERIC M UMANE                                   250 EAST 87TH ST                                                                                NEW YORK         NY    10128‐3115
FREDERIC M ZEHNDER                                 3812 STONEWALL                                                                                  INDEPENDENCE     MO    64055‐4180
FREDERIC O WADMAN & AGNES H WADMAN JT TEN          8353 TRAILS DR                                                                                  PARK CITY        UT    84098

FREDERIC P FORYS                                   5548 SO IRISH RD                                                                                GRAND BLANC      MI    48439‐9754
FREDERIC P GRISWOLD                                12255 8TH ST S                                                                                  AFTON            MN    55001‐9340
FREDERIC P JACKSON                                 791 ORIOLE DRIVE                                                                                VIRGINIA BEACH   VA    23451‐4959
FREDERIC P JACKSON & ELEANOR JACKSON JT TEN        791 ORIOLE DRIVE                                                                                VIRGINIA BEACH   VA    23451‐4959
FREDERIC P JOHNSON                                 8 RIVERSIDE AVE                                                                                 WATERVILLE       ME    04901‐5341
FREDERIC R WICKERT TR UA 02/28/90 FREDERIC R       638 BALDWIN CT                                                                                  EAST LANSING     MI    48823‐3230
WICKERT
FREDERIC S CLAGHORN JR                             N SURREY DR                                                                                     GWYNEDD VALLEY   PA    19437

FREDERIC T ABBOTT                                  PO BOX 583                                                                                      SKAWES TELES     NY    13152‐0583
FREDERIC UMANE CUST RYAN UMANE UGMA NY             250 E 87TH ST                                                                                   NEW YORK         NY    10028‐1320
FREDERIC W FREEMAN JR                              3 STONELEIGH KN                                                                                 OLD LYME         CT    06371‐1432
FREDERIC W GILL                                    2022 PARKER BLVD                                                                                TONAWANDA        NY    14150‐8144
FREDERIC W GROSS                                   6388 WINDING RD                                                                                 COOPERSBURG      PA    18036‐9409
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FREDERIC W KRAVETZ                                5909 OLYMPIC PKY                                                                             WATERFORD         MI    48329‐1548
FREDERIC W POWERS                                 7116 SKIPTON LN                                                                              CHARLOTTE         NC    28277‐2764
FREDERIC W SWORDS                                 930 COLUMBIAVILLE RD                                                                         COLUMBIAVILLE     MI    48421‐9701
FREDERICA SHAFTEL                                 5019 S BRAESWOOD BLVD                                                                        HOUSTON           TX    77096‐3403
FREDERICH H HENSLER II & TRACY R HENSLER JT TEN   16140 SILVERSHORE DR                                                                         FENTON            MI    48430‐9156

FREDERICK A & CHARLOTTE J VANHALA REVOCABLE       15181 FORD RD #135                                                                           DEARBORN          MI    48126
LIVING TRUST UA 10/19/06
FREDERICK A BANGE                                 64 FARM RD                                                                                   BRIARCLIFF MANOR NY     10510‐1010

FREDERICK A BAUMGARTEN                         1748 W 2ND AVE                                                                                  DURANGO           CO    81301‐5004
FREDERICK A BENNETT                            PO BOX 266                                                                                      MASSENA           NY    13662‐0266
FREDERICK A BRANGERS                           201 CYPRESS CT                                                                                  KOKOMO            IN    46902‐6611
FREDERICK A BROWN                              21 GLENRIDGE PARKWAY                                                                            MONTCLAIR         NJ    07042‐5007
FREDERICK A BROWN & LOUISE R BROWN JT TEN      21 GLENRIDGE PARKWAY                                                                            MONTCLAIR         NJ    07042‐5007
FREDERICK A BRUCKNER                           33458 AVONDALE STREET                                                                           WESTLAND          MI    48186‐4850
FREDERICK A CHATMON                            4439 ISABELLE                                                                                   INKSTER           MI    48141‐2147
FREDERICK A DAVIS                              PO BOX 493                                                                                      LOCKPORT          NY    14095‐0493
FREDERICK A DE DOMINICIS                       217 E NORTHVIEW AVE                                                                             NEW CASTLE        PA    16105‐2124
FREDERICK A DURBAN                             1159 E HUNTING PARK AVE                                                                         PHILADELPHIA      PA    19124‐4829
FREDERICK A FREY & BEVERLY E FREY JT TEN       6205 CAHALAN AVE                                                                                SAN JOSE          CA    95123
FREDERICK A FUSCI                              8 PLUMLEY CIR                                                                                   NORWALK           CT    06851‐3805
FREDERICK A GESSNER                            140 WOODHILL DR                                                                                 AMHERST           OH    44001‐1614
FREDERICK A GRIFFITH                           6920 S R 56 EAST                                                                                CIRCLEVILLE       OH    43113‐9409
FREDERICK A GROSS & BETTY LOU GROSS JT TEN     11171 OAKWOOD DR                      APT L207                                                  LOMA LINDA        CA    92354‐4834
FREDERICK A HAFER & KATHLEEN F HAFER TR HAFER  22533 ST CLAIR DR                                                                               ST CLAIR SHORES   MI    48081‐2082
LIVING TRUST UA 6/11/98
FREDERICK A HALL                               BOX 196                                                                                         YAPHANK           NY    11980
FREDERICK A HARRIS                             PO BOX 2191                                                                                     FLORISSANT        MO    63032‐2191
FREDERICK A HEGYI                              PO BOX 53 210 HOWARD                                                                            MORRICE           MI    48857‐0053
FREDERICK A HEMBREE                            22 WAYNE DR                                                                                     WILMINGTON        DE    19809‐1635
FREDERICK A HENNINGSEN & BARBARA HENNINGSEN JT 8 PHYLLIS COURT                                                                                 PEQUANNOCK        NJ    07440‐1027
TEN
FREDERICK A HODES & CAROL KRINGS HODES JT TEN  6490 KINSEY PL                                                                                  ST LOUIS          MO    63109‐2625

FREDERICK A KANE & MARJORIE L KANE JT TEN        PO BOX 266                                                                                    HASLETT           MI    48840‐0266
FREDERICK A KELLER JR                            14224 SOUTH CAMINO BURGOS                                                                     SAHUARITA         AZ    85629
FREDERICK A KINCH JR CUST MATTHEW STEWART KINCH 12915 WESTMERE DR                                                                              HOUSTON           TX    77077‐3717
UGMA TX
FREDERICK A KINCH JR CUST WILLIAM ANDREW KINCH 21 WINDINGWOOD LN                                                                               ACTON             MA    01720‐4775
UGMA TX
FREDERICK A KNORR                                513 AVENIDA PRESIDIO                                                                          SAN CLEMENTE      CA    92672‐2224
FREDERICK A KOCH                                 1351 WELLESLEY                                                                                MT CLEMENS        MI    48043‐6505
FREDERICK A LABS & DOROTHY J LABS TR LABS FAMILY 150 LINCOLN AVE                                                                               TELFORD           PA    18969‐1903
TRUST UA 05/25/99
FREDERICK A LAMBERT                              3179 SKANDER                                                                                  FLINT S           MI    48504‐1242
FREDERICK A LOWER                                1893 COUNTRY CLUB BLVD                                                                        MOUNT DORA        FL    32757‐6906
FREDERICK A MARSH & SHARON L MARSH JT TEN        19 STEPHENVILLE ROAD                                                                          MASSENA           NY    13662‐2705
FREDERICK A MEIER & MRS MARILYN J MEIER JT TEN   5074 FAIRCHILD ST                                                                             SWARTZ CREEK      MI    48473‐1258

FREDERICK A MINER                                 10070 MANSIONS DRIVE                                                                         GIBSONIA          PA    15044
FREDERICK A MORIN                                 12766 DOHONEY RD                                                                             DEFIANCE          OH    43512‐8711
FREDERICK A MORRIS                                11142 W WINDSOR RD                                                                           PARKER CITY       IN    47368‐9361
FREDERICK A MUSHLIT JR                            1421 MCINTOSH LANE                                                                           WEST CHESTER      PA    19380‐1632
FREDERICK A MUSOLF                                4163 E PRATT RD                                                                              ST JOHNS          MI    48879‐8125
FREDERICK A NEWTON                                4865 S MEADOW RIDGE DR                                                                       GREEN VALLEY      AZ    85614‐5806
FREDERICK A PALMER                                430 FETZNER RD                                                                               ROCHESTER         NY    14626‐2260
FREDERICK A PETERSON                              1821 N E SUNRISE LANE                                                                        HILLSBORO         OR    97124‐1935
FREDERICK A RAKOWSKI                              5164 SOUTH 44TH ST                                                                           GREENFIELD        WI    53220‐5110
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FREDERICK A ROY                                 11355 S 600 E                                                                                        LA FONTAINE      IN    46940‐9220
FREDERICK A SANDERS                             767 WEST DAVIS RD                                                                                    HOWELL           MI    48843‐8842
FREDERICK A SCHROEDER & JANET M SCHROEDER JT    535 ALLEGHENY AVE                                                                                    TOWSON           MD    21204‐4233
TEN
FREDERICK A SIMPSON                             2014 CORNELL PL                                                                                      PORT ORANGE      FL    32128‐6820
FREDERICK A SKIBOWSKI JR                        180 EDITH                                                                                            OXFORD           MI    48371‐4716
FREDERICK A SPENCER                             101 ROSETTA CT                                                                                       AUBURN HILLS     MI    48326‐2966
FREDERICK A STANTON                             1525 BORCKHAM                                                                                        DALLAS           TX    75217‐1233
FREDERICK A STOCKWELL                           39500 WARREN RD LOT 190                                                                              CANTON           MI    48187‐4348
FREDERICK A TSCHOP                              5239 DOGWOOD TRAIL                                                                                   LYNNHURST        OH    44124‐2745
FREDERICK A WHITE                               200 HEDGES                                                                                           ABILENE          TX    79605‐6554
FREDERICK ABAZIOU                               3585 NIPIGON FERME ST THERESE              FABREVILLE QC                           H7P 4M9 CANADA
FREDERICK ABBOTT                                73 E DUCK LAKE DR                                                                                    GOBLES           MI    49055‐8816
FREDERICK ADDISON SALLADE & MARY LOUISE SALLADE 4738 WOODLEY DR                                                                                      ROANOKE          VA    24018‐2929
JT TEN
FREDERICK ALBERT HEALY JR CUST FREDERICK ALBERT 565 E MASSACHUSETTS AVE                                                                              SOUTHERN PINES   NC    28387‐6139
HEALY III UTMA NC
FREDERICK ALFRED BARTEL                         15305 BAMBI CT                                                                                       MOORPARK         CA    93021‐1641
FREDERICK ANDREW BRUBAKER                       135 KENSINGTON LANE                                                                                  OXFORD           PA    19363‐3309
FREDERICK ANDREW HOLLINGSHEAD                   107 CROSS CREEK CT                                                                                   COXS CREEK       KY    40013‐6618
FREDERICK ARTHUR SPIETZ                         7372 HWY #193                                                                                        FLINTSTONE       GA    30725‐2653
FREDERICK ARTHUR WHITMAN                        820 HOLLAND                                BOX 1146                                                  SAUGATUCK        MI    49453‐1146
FREDERICK ARTHUR YOUMANS                        1309 NINA COURT                                                                                      MODESTO          CA    95355‐3739
FREDERICK ASHTON COYLE                          5838 OSBUN RD                                                                                        SAN BERNARDINO   CA    92404‐3228
FREDERICK B BUNNELL                             524 MAPLE STREET                                                                                     LITCHFIELD       CT    06759‐2102
FREDERICK B CONAWAY                             2168 1ST STREET                                                                                      BAY CITY         MI    48708‐6372
FREDERICK B ENGLISH & DARLENE M ENGLISH JT TEN  5408 NEALS SCHOOL RD                                                                                 SEAFORD          DE    19973‐6742

FREDERICK B GOODSON                                  1302 HOLLEY DR S                                                                                EDGEWATER        MD    21037‐1515
FREDERICK B JORDAN                                   7932 E 130TH CT                                                                                 GRANDVIEW        MO    64030‐2740
FREDERICK B KIPPEN JR                                20 CHIPMAN RD                                                                                   BEVERLY          MA    01915‐1767
FREDERICK B LACEY                                    101 SEASIDE RD                                                                                  SEA GAIT         NJ    08750‐3224
FREDERICK B UTTER                                    150 MADISON ST                                                                                  SOUTH AMBOY      NJ    08875
FREDERICK BALDWIN                                    3413 LORAL DR                                                                                   ANDERSON         IN    46013‐2222
FREDERICK BARA                                       13 BERLANT AVE                                                                                  LINDEN           NJ    07036‐3671
FREDERICK BARKWELL                                   9151 BENNETT RD                                                                                 ADA              MI    49301
FREDERICK BETTIGER III                               416 HALSEY ST                                                                                   ORLANDO          FL    32839‐1430
FREDERICK BIEKSZA                                    703 POWELL LANE                                                                                 LEWISTON         NY    14092‐1157
FREDERICK BIVINS                                     808 CARPENTER N W                                                                               GRAND RAPIDS     MI    49504‐3723
FREDERICK BLOOM                                      60 AMITY PL                           AMHURST                                                   SPRINGFIELD      MA    01102
FREDERICK BLUMBERG                                   24 RIBAUT DR                                                                                    HILTON HEAD      SC    29926‐1986
                                                                                                                                                     ISLAND
FREDERICK BOLDEN                                     349 DECATUR AVE                                                                                 ENGLEWOOD        NJ    07631‐3850
FREDERICK BREUNIG                                    PO BOX 36                                                                                       LEEDS            NY    12451‐0036
FREDERICK BRIGHAM                                    5 GRACE ST                                                                                      MILFORD          MA    01757‐2305
FREDERICK BYRON PENOYER JR                           9457 REID RD                                                                                    SWARTZ CREEK     MI    48473‐7606
FREDERICK C ACRE                                     6630 SHERMAN ST                                                                                 OTTER LAKE       MI    48464
FREDERICK C ANDERSON & FRANCES M ANDERSON JT         9 HERITAGE TER                        APT 4                                                     BELMONT          NH    03220‐4425
TEN
FREDERICK C ANDRE                                    5186 NORTHWOOD RD                                                                               GRAND BLANC      MI    48439‐3432
FREDERICK C ANGELOU                                  177 SPRUCE ST                                                                                   WATERTOWN        MA    02472‐1921
FREDERICK C BERBERICK JR & WINIFRED A BERBERICK JT   73 SHERWOOD LANE                                                                                NORWICH          CT    06360‐5251
TEN
FREDERICK C BERG JR CUST MISS CONSTANCE C BERG                                                                                                       GEORGETOWN       MD    21930
UGMA MD
FREDERICK C BOYLAN                                   7610 EVANS RD APT 248                 SARDIS BC                               V2R 2Z5 CANADA
FREDERICK C BROWN                                    107 ALVERSTONE WA                                                                               WEST HENRIETTA   NY    14586‐9583
FREDERICK C COHEN & JUDITH R COHEN JT TEN            312 HANNES ST                                                                                   SILVER SPRING    MD    20901‐1103
FREDERICK C COOK                                     45497 KENMORE                                                                                   UTICA            MI    48317‐4653
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FREDERICK C COOK & MARILYN COOK JT TEN            45497 KENMORE ST                                                                                UTICA              MI    48317‐4653
FREDERICK C COUSINO JR                            318 BABBLING BROOK OVALS                                                                        HINCKLEY           OH    44233‐9646
FREDERICK C CROCKER                               100 N AUGUSTINE ST                                                                              NEWPORT            DE    19804‐2701
FREDERICK C CROCKER & ELEANOR CROCKER JT TEN      100 N AUGUSTINE ST                                                                              NEWPORT            DE    19804‐2701

FREDERICK C CRONAUER & ESTELLA T CRONAUER JT TEN 160 SENECA ST                                                                                    WELLSVILLE         NY    14895‐1368

FREDERICK C FARRELL JR                            179 KINGS PARK RD                                                                               COMMACK            NY    11725‐1621
FREDERICK C FERRY IV                              PO BOX 163                                                                                      GAFTON             MA    01519‐0163
FREDERICK C FISHER                                3666 COUNTY RD 5                                                                                KITTS HILL         OH    45645‐8894
FREDERICK C FULTON & MARY B FULTON JT TEN         5456 MAHONING AVE NW                                                                            WARREN             OH    44483‐1134
FREDERICK C GUENTHER                              811 OSBURN CIR                                                                                  BIG RAPIDS         MI    49307‐2535
FREDERICK C HAIGH & DENISE M HAIGH JT TEN         100 BEACHWOOD DR                                                                                EAST GREENWICH     RI    02818‐4733
FREDERICK C HANSELL                               25 SABINE AVE                                                                                   NARBERTH           PA    19072‐1739
FREDERICK C HAWKINS JR                            3035 W DIAMOND ST                                                                               PHILADELPHIA       PA    19121‐1142
FREDERICK C HOPPE & MRS SHIRLEY O HOPPE JT TEN    3107 COACHLITE AVE                                                                              PORTAGE            MI    49024‐2341

FREDERICK C HUXLEY                                3026 BENVENUE                                                                                   BERKELEY           CA    94705‐2510
FREDERICK C JAMROZ                                30742 BURLINGTON                                                                                WESTLAND           MI    48186‐5338
FREDERICK C JUNGER & LYNN N JUNGER JT TEN         1553 VALLEY VIEW CT                                                                             NAPERVILLE         IL    60565‐9302
FREDERICK C KENDRICK                              11 PEACHTREE DR                                                                                 DAVISON            MI    48423‐9123
FREDERICK C KIDD JR                               311 E WILLRICH CIRCLE                                                                           FOREST HILL        MD    21050‐1349
FREDERICK C KIRRMANN                              11122 BENTON RD                                                                                 GRAND LEDGE        MI    48837
FREDERICK C KOSSACK                               128 BAYARD AVE                                                                                  NORTH HAVEN        CT    06473‐4303
FREDERICK C LANGLEY & LEONA A LANGLEY & CYNTHIA F PO BOX 244                                                                                      CASEVILLE          MI    48725‐0244
PERRONE JT TEN
FREDERICK C LAURENZO & JOSEPHINE M LAURENZO TEN 110 DANBURY DR                                                                                    LITTLE EGG HARBOR NJ     08087‐1366
COM
FREDERICK C LINDBERG                              10526 N SR 267                                                                                  BROWNSBURG         IN    46112‐9293
FREDERICK C MERCK & MRS JUDITH M MERCK JT TEN     6820 N LORON AVE                                                                                CHICAGO            IL    60646‐1414

FREDERICK C MOORE                                 3770 COUNTRYFARM RD                                                                             ST JOHNS           MI    48879‐9295
FREDERICK C PALMATEER                             1117 MACDONALD                                                                                  FLINT              MI    48507‐2854
FREDERICK C PETERSON                              16 MORRIS ROAD                                                                                  NEW CASTLE         DE    19720‐1726
FREDERICK C PIOCH                                 3565 UNIT 66 PORT COVE DR                                                                       WATERFORD          MI    48328‐4576
FREDERICK C REIGHT                                288 PORT ROYAL DR                                                                               TOMS RIVER         NJ    08757‐4144
FREDERICK C ROBERTS                               6063 TRUMAN RD                                                                                  BARRYTON           MI    49305‐9576
FREDERICK C RORABAUGH                             56575 TAMARAC LANE                                                                              THREE RIVERS       MI    49093‐8012
FREDERICK C SANFORD                               243 WINTER RIDGE BLVD                                                                           WINTER HAVEN       FL    33881‐5801
FREDERICK C SIMPSON JR & FLORENCE T SIMPSON JT    4686 WISTERIA PL                                                                                BOISE              ID    83713‐9562
TEN
FREDERICK C SMITH                                 4600 W HASLETT RD                                                                               PERRY              MI    48872‐9336
FREDERICK C SMITH                                 3058 LIPPINCOTT                                                                                 LAPEER             MI    48446‐9666
FREDERICK C TURNER                                1121 MEHARIS CIRCLE                                                                             DOTHAN             AL    36303‐3625
FREDERICK C UTT & TINA M UTT JT TEN               2412 W ROYERTON RD                                                                              MUNCIE             IN    47303‐9034
FREDERICK C WEBER                                 4955 WHITLOW CT                                                                                 COMMERCE TWP       MI    48382‐2642
FREDERICK C WILSON                                739 ANDOVER WOODS DR                                                                            FENTON             MI    48430‐4129
FREDERICK C WILSON                                191 BRONSON BAY DRIVE                                                                           MASON              MI    48854‐9516
FREDERICK C WINKLER                               44 LANTERN LANE                                                                                 COLUMBUS           NJ    08022‐1112
FREDERICK C YOUNG                                 14551 PEAR TREE LANE                                                                            STERLING HEIGHTS   MI    48313‐5638

FREDERICK CARL ARCHIBALD                          520 SPRUCE AVE                                                                                  GARWOOD            NJ    07027‐1222
FREDERICK CARL DEUSINGER                          333 ELMWOOD AVE                       APT H4004                                                 MAPLEWOOD          NJ    07040
FREDERICK CHARLES BLACKMER                        643 GRACE RD                                                                                    FRANKFORT          MI    49635‐9356
FREDERICK CHARLES BUCK & MRS KAREN ELIZABETH      81 KINGSFORD CRESC                    LONDON ON                               N6C 4E5 CANADA
BUCK JT TEN
FREDERICK CIALFI                                  57 BRASS CASTLE RD                                                                              WASHINGTON         NJ    07882‐4316
FREDERICK CLIFFORD BROOKSON                       33 FORDOVER DR                        SCARBOROUGH ON                          M1E 1T7 CANADA
FREDERICK D BLASER                                4533 25TH AVE                                                                                   KENOSHA            WI    53140‐5830
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FREDERICK D BLUME                                   PO BOX 436                                                                                    MAYFIELD          KY    42066‐0436
FREDERICK D COOK                                    890 HWY 36 EAST                                                                               JACKSON           GA    30233‐4558
FREDERICK D DALLENBACH                              C/O ANNE D FRISCH                   696 GRANDVIEW DR NE                                       CONCORD           NC    28025‐3196
FREDERICK D EVANS                                   1191 N AURELIUS RD                                                                            MASON             MI    48854‐9529
FREDERICK D GASPARD & EDITH F GASPARD JT TEN        8397 N 107TH DRIVE                                                                            PEORIA            AZ    85345‐2931

FREDERICK D GIBSON                                  137 OSCEOLA DR                                                                                PONTIAC           MI    48341‐1155
FREDERICK D GIFFORD CUST BRIAN GIFFORD UGMA MI      12271 RAY RD                                                                                  GAINES            MI    48436‐8928

FREDERICK D GUNDERMAN                            PO BOX 394                                                                                       TUSTIN            MI    49688‐0394
FREDERICK D HAFFNER TR FREDERICK D HAFFNER TRUST 1226 WEST ROOKWOOD DRIVE                                                                         CINCINNATI        OH    45208‐3338
UA 01/21/97
FREDERICK D HARRISON                             14980 LINDSAY ST                                                                                 DETROIT           MI    48227‐4400
FREDERICK D HOFACKER & JANE C HOFACKER JT TEN    378 CLINTON ST                                                                                   CLAYTON           OH    45315‐8964

FREDERICK D KETTERER                                6706 RIVINGTON CT                                                                             SPRING            TX    77379‐7630
FREDERICK D LUKASAVITZ                              4490 THORNAPPLE CIR                                                                           BURTON            MI    48509‐1237
FREDERICK D MARCKEL                                 28132 HAGY ROAD                                                                               DEFIANCE          OH    43512‐8939
FREDERICK D MCCOPPIN                                201 GREENFIELD SABINA RD                                                                      GREENFIELD        OH    45123‐8117
FREDERICK D MILLER                                  8265 GREEN HOLLY COVE                                                                         GERMANTOWN        TN    38138‐6207
FREDERICK D NIEDERQUELL                             3810 N THOMAS ROAD                                                                            FREELAND          MI    48623‐8816
FREDERICK D PARHAM II                               121 MULBERRY DR                                                                               METAIRIE          LA    70005‐4014
FREDERICK D PETERSON                                4400 LINDELL BLVD                   APT 18E                                                   SAINT LOUIS       MO    63108‐2427
FREDERICK D ROSS & CYNTHIA D ROSS JT TEN            9625 SOUTHEAST HILLVIEW DRIVE                                                                 AMITY             OR    97101‐2116
FREDERICK D SAURBORN                                1947 CODD AVENUE                                                                              BALTIMORE         MD    21222‐4707
FREDERICK D SCHAFER                                 189 ENGLEWOOD RD                                                                              LONGMEADOW        MA    01106‐1358
FREDERICK D SEARLES JR                              6731 TRAM COURT                                                                               SANDSTON          VA    23150‐5462
FREDERICK D SEELEY                                  PO BOX 1225                                                                                   WEST FALMOUTH     MA    02574‐1225
FREDERICK D SMITH                                   140 ASHWOOD RD                                                                                VILLANOVA         PA    19085‐1502
FREDERICK D WALKER & CAROL J WALKER JT TEN          8719 W HAYES RD                                                                               MIDDLETON         MI    48856‐9746
FREDERICK D ZIEGEL                                  7577 INDIAN GARDEN ROAD                                                                       PETOSKEY          MI    49770
FREDERICK DAHLSTROM USINGER                         1030 N 3RD ST                                                                                 MILWAUKEE         WI    53203‐1302
FREDERICK DAU CUST WILLIAM A DAU UGMA NJ            329 PINE ST                                                                                   WYCKOFF           NJ    07481‐2824
FREDERICK DAVIS                                     PO BOX 332                                                                                    TEAGUE            TX    75860‐0332
FREDERICK DEAN CHAMBERLIN                           RANCHO LOS POTREROS                 BOX 218                                                   LOS OLIVOS        CA    93441‐0218
FREDERICK DONALDSON                                 13181 TROY                                                                                    OAK PARK          MI    48237‐2940
FREDERICK DRUSEIKIS                                 283 BEAL RD                                                                                   ATHENS            OH    45701‐3443
FREDERICK DUPREE                                    14501 SPECICH RD                                                                              ORFORDVILLE       WI    53576‐9538
FREDERICK E BENNETT                                 303 PARKWAY ST                                                                                WHITELAND         IN    46184‐1451
FREDERICK E BLAZIER TR FEDERICK E BLAZIER LIVING    1950 BORLAND RD                                                                               PITTSBURGH        PA    15243‐1528
TRUST UA 04/01/02
FREDERICK E COLE                                    7232 RIEGLER ST                                                                               GRAND BLANC       MI    48439‐8516
FREDERICK E COOPER & LYNN COOPER JT TEN             18870 GREENWOOD CT                                                                            SPRING LAKE       MI    49456‐1169
FREDERICK E DRAISS CUST DEBORA MICHELLE DRAISS      21 LIME TREE LANE                                                                             LIVERPOOL         NY    13090‐3409
UGMA OH
FREDERICK E EHLER                                   105 BRENDA BLVD                                                                               WEST ALEXANDRIA   OH    45381‐9385

FREDERICK E FAIR TR GERALD E FAIR U‐W LILLIAN P     265 CATALAN BLVD NE                                                                           ST PETERSBURG     FL    33704‐3845
BURKHARD
FREDERICK E FAY                                     3829 RANDALL ROAD                                                                             RANSOMVILLE       NY    14131‐9521
FREDERICK E GERKE                                   1167 SOUTH HOME                                                                               OAK PARK          IL    60304‐1842
FREDERICK E HAASS                                   BOX 5700                                                                                      LIGHTHOUSE PT     FL    33074
FREDERICK E HEMINGWAY                               624 S GRAND TRAVERSE ST                                                                       FLINT             MI    48502‐1230
FREDERICK E HENKEL                                  412 GLACIER                                                                                   FAIRBANKS         AK    99701‐3723
FREDERICK E HILLIKER                                20557 VREELAND                                                                                TRENTON           MI    48183‐4339
FREDERICK E HIVELEY                                 625 S MARIAS AVE                                                                              CLAWSON           MI    48017
FREDERICK E HUYGHE                                  4225 TOWNSHOP ROAD 299                                                                        HAMMONDSVILLE     OH    43930‐7921

FREDERICK E JOHN                                    45 CLUB RD                                                                                    PASADENA          CA    91105‐1409
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FREDERICK E KRAMER                                   826 BEULAH ST                                                                                   LANSING          MI    48910‐1768
FREDERICK E KUHL                                     2529 CORUNNA RD                                                                                 FLINT            MI    48503‐3360
FREDERICK E LA BELLA                                 26076 REGENCY CLUB CT                 APT 2                                                     WARREN           MI    48089
FREDERICK E MAYORGA                                  6129 ELK ROAD                                                                                   CANFIELD         OH    44406‐9730
FREDERICK E MOLEK                                    5130 ALVA AVENUE NW                                                                             WARREN           OH    44483‐1210
FREDERICK E MYERS                                    205 MARION AV                                                                                   NOVINGER         MO    63559‐2675
FREDERICK E NIELSEN JR                               9935 HIGHLAND DRIVE                                                                             PERRINTON        MI    48871‐9750
FREDERICK E NORRIS                                   517 BROOKDALE                                                                                   WEST JEFFERSO    OH    43162‐1001
FREDERICK E POE                                      6312 WENDELL DRIVE                                                                              WESLEY CHAPEL    FL    33544‐5805
FREDERICK E POMPLIN & ELEANOR M POMPLIN JT TEN       7012 RIDGELAND AVE                                                                              HAMMOND          IN    46324‐2237

FREDERICK E READ                                     6728 OAK ORCHARD RD                                                                             ELBA             NY    14058‐9413
FREDERICK E RECORE                                   1801 HOADLEY ROAD                                                                               DECKER           MI    48426‐9702
FREDERICK E ROADNIGHT                                614 LAKE ST APT 610                   ST CATHARINES ON                        L2N 6P6 CANADA
FREDERICK E ROBBINS                                  1165 STARKEY RD                                                                                 ZIONSVILLE       IN    46077‐1923
FREDERICK E SCHROCK                                  4400 SOUTH SALEM‐WARREN ROAD                                                                    NORTH JACKSON    OH    44451‐8701
FREDERICK E SCHWARZ & PATRICIA A SCHWARZ JT TEN      35826 RICHLAND                                                                                  LIVONIA          MI    48150‐2547

FREDERICK E SEMROW                                 57 EVERGREEN RD                                                                                   CROMWELL         CT    06416‐1638
FREDERICK E SHELTON                                RR 1 BOX 217A                                                                                     AMORET           MO    64722‐9732
FREDERICK E SOMERS                                 9224 DARKE MTGMY CTY LINE RD                                                                      BROOKVILLE       OH    45309
FREDERICK E STODDARD                               11 HYCREST LN                                                                                     OLD TOWN         ME    04468‐6003
FREDERICK E THOMPSON                               28 KENT COURT                                                                                     LINCOLNSHIRE     IL    60069‐3423
FREDERICK E WEBER                                  350 DUBLIN DR                           APT 1006                                                  IOWA CITY        IA    52246‐6016
FREDERICK E WILLEY & SYLVIA H WILLEY JT TEN        718 NORTH HAWTHORNE                                                                               WESTLAND         MI    48185‐3660
FREDERICK E WILLIAMS                               74 IRVING PLACE                         LONDON ON                               N5V 2H7 CANADA
FREDERICK EARL TYLER                               5401 MUSKRAT RD                                                                                   SHERIDAN         MI    48884‐8344
FREDERICK EICKHOLT                                 2262 PLAZA DR W                                                                                   CLIO             MI    48420‐2106
FREDERICK EUGENE HACKETT & MRS IRENE HACKETT       14 PLEASANT COURT                                                                                 BRODHEADSVILLE   PA    18322‐9701
TEN ENT
FREDERICK F BURGESS JR & MRS CATHRYN R BURGESS JT 4706 TARA DRIVE                                                                                    FAIRFAX          VA    22032‐2037
TEN
FREDERICK F CAZENAVE III & KATHY H CAZENAVE JT TEN 2204 BECKET DR                                                                                    FLOWER MOUND     TX    75028‐2685

FREDERICK F HESS                                     143 N EAST ST                                                                                   AMHERST          MA    01002‐1662
FREDERICK F HIGHT                                    6031 WEST 30TH STREET                                                                           SPEEDWAY         IN    46224‐3021
FREDERICK F HORVATH & JULIANN M HORVATH JT TEN       1820 BUDD AVENUE                                                                                BETHLEHEM        PA    18018‐4609

FREDERICK F MC DONALD                                95 PERKINS ST                                                                                   SPRINGFIELD      MA    01118‐2030
FREDERICK F PRICE JR TR FREDERICK F PRICE JR TRUST   248 WATERSIDE DRIVE                                                                             HENDERSONVLLE    NC    28791
UA 03/09/99
FREDERICK F REED                                     510 MERLIN                                                                                      LANSING          MI    48906‐1676
FREDERICK FAIRCHILD JR                               4317 IRELAN ST                                                                                  KETTERING        OH    45440‐1530
FREDERICK G AGER & JULIANNE M AGER JT TEN            493 LINDEN DR                                                                                   HARBOR SPRINGS   MI    49740‐9416
FREDERICK G ALBRECHT                                 PO BOX 4073                                                                                     CENTER LINE      MI    48015‐4073
FREDERICK G DIENES                                   6321 KOLB AV                                                                                    ALLEN PARK       MI    48101‐2336
FREDERICK G DRAY & MRS DIANE DRAY JT TEN             388 RICHARD ST                                                                                  SPRING ARBOR     MI    49283‐9604
FREDERICK G EADES                                    1056 WALCK ROAD                                                                                 NORTH            NY    14120‐3515
                                                                                                                                                     TONAWANDA
FREDERICK G ELMIGER & MARGARET C ELMIGER JT TEN 356 PORT ROYAL DRIVE                                                                                 TOMS RIVER       NJ    08757‐5907

FREDERICK G FRANK                                    86 CREEKWOOD DR                                                                                 ROCHESTER        NY    14626‐1530
FREDERICK G HARTLE                                   RD #2‐454                                                                                       MASSENA          NY    13662‐9802
FREDERICK G HILLIKER                                 180 PHEASANT COURT                                                                              GRAND BLANC      MI    48489
FREDERICK G HOFFMAN                                  3506 MCKAMY OAKS TRL                                                                            ARLINGTON        TX    76017‐3447
FREDERICK G HOOVER                                   3411 RIDGECREST DRIVE                                                                           RENO             NV    89512‐1443
FREDERICK G IMHOF & IRENE IMHOF JT TEN               6781 SUN RIVER DR                                                                               FISHERS          IN    46038‐2721
FREDERICK G LEACH                                    34365 FLORENCE                                                                                  WESTLAND         MI    48185‐3682
FREDERICK G LOWREY JR                                422 GUS HILL RD                                                                                 CLEMMONS         NC    27012‐7323
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Name                                             Address1                              Address2                Address3        Address4          City              State Zip

FREDERICK G MARTIN                               1339 SCHENECTADY AVE                                                                            BROOKLYN          NY    11203‐5809
FREDERICK G PAUL                                 521 SOMERSET DR                                                                                 FLUSHING          MI    48433‐1951
FREDERICK G PLOWE                                68 PARKSIDE CIRCLE                                                                              CHEEKTOWAGA       NY    14227‐2361
FREDERICK G SOLOMON                              850 COLLIER ROAD                                                                                AUBURN HILLS      MI    48326‐1416
FREDERICK G SPLAN                                50365 PEPPER TREE DR                                                                            MACOMB            MI    48044‐6117
FREDERICK G SUNDHEIM & JOAN SUNDHEIM JT TEN      47 SW RIVERWAY BLVD                                                                             PALM CITY         FL    34990‐4239

FREDERICK G WATERS                               2872 HESS ROAD                                                                                  APPLETON          NY    14008‐9636
FREDERICK G ZINNI                                PO BOX 553                                                                                      FRANKLINVILLE     NJ    08322‐0553
FREDERICK GEORGE DEVEREUX                        373 GARRISON ROAD                     FT ERIE ON                              L2A 1N1 CANADA
FREDERICK GIDDINGS CURREY JR                     4535 S LINDHURST AVE                                                                            DALLAS            TX    75229‐6523
FREDERICK GLAESER                                6114 FALLENGATE DR                                                                              SPRING            TX    77373‐7111
FREDERICK GLOZZER                                1215 OAKMONT                                                                                    PITTSBURGH        PA    15205‐3633
FREDERICK GRAHAM LEUSCHNER                       7261 GRIST MILL CIR                                                                             HARRISBURG        PA    17112‐9328
FREDERICK GRANRUTH                               8252 BLACK HAW COURT                                                                            FREDERICK         MD    21701‐1507
FREDERICK GRANT ATTEBURY                         4653 CHAMBERLAIN DR                                                                             EAST CHINA        MI    48054‐3500
FREDERICK GRANT ATTEBURY JR                      4653 CHAMBERLAIN DRIVE                                                                          EAST CHINA        MI    48054‐3500
FREDERICK GRIFFITH STEVENS                       3900 33 STREET SOUTH                  CRANBROOK BC                            V1C 6Z7 CANADA
FREDERICK GROEN                                  8902 N CLEARWATER DR                                                                            ZEELAND          MI     49464‐9227
FREDERICK H ALLEN                                615 RESERVOIR DR                                                                                FRANKLIN LAKES   NJ     07417‐2817
FREDERICK H AXELSON                              1776 MONROE DRIVE N E                                                                           ATLANTA          GA     30324‐5027
FREDERICK H BABCOCK & BARBARA A BABCOCK JT TEN   29398 REGENT'S POINT                                                                            FARMINGTON HILLS MI     48331‐2873

FREDERICK H BALDWIN                              615 N CAPITOL AVE                                                                               LANSING           MI    48933‐1230
FREDERICK H BRECHTER JR                          PO BOX 1205                                                                                     PORT EWEN         NY    12466‐1205
FREDERICK H BREMER                               10117 PEBBLE BEACH                                                                              OVERLAND          MO    63114‐1519
FREDERICK H COOK II                              2540 S PARK BLVD                                                                                LYONS             MI    48851‐9771
FREDERICK H DUCHON & MARGARET A DUCHON JT TEN    10700 GRAND CYPRESS AVE                                                                         LAS VEGAS         NV    89134‐5308

FREDERICK H HENSLER 2ND                          16140 SILVERSHORE DR                                                                            FENTON            MI    48430‐9156
FREDERICK H HERMONAT & KATHLEEN D BUTHEZICIUS    96 FERN ST                                                                                      NAUGATUCK         CT    06770‐2647
JT TEN
FREDERICK H HERMONAT & LISA JO LENNAN JT TEN     96 FERN ST                                                                                      NAUGATUCK         CT    06770‐2647

FREDERICK H HESS                                 1612 WINDSOR AVE                      PLEASANT HILLS ESTATE                                     WILMINGTON        DE    19804‐3519
FREDERICK H HOLLISTER                            C/O J J STEVENSON III                 11 NINIGRET AVE         WATCH HILL                        WESTERLY          RI    02891
FREDERICK H HUEBNER                              5169 MARTIN RD                                                                                  BEAVERTON         MI    48612‐8542
FREDERICK H KOHL & SANDRA KOHL JT TEN            31413 KENWOOD                                                                                   MADISON HEIGHTS   MI    48071‐1029

FREDERICK H KORF                                 7080 CHESANING RD                                                                               CHESANING         MI    48616‐8439
FREDERICK H LINARD JR                            3364 NORTON RD                                                                                  GROVE CITY        OH    43123‐8641
FREDERICK H LOOS                                 3541 PELZER HWY                                                                                 EASLEY            SC    29642‐7815
FREDERICK H LYTLE                                4025 PUTNAM                                                                                     LAINGSBURG        MI    48848‐9626
FREDERICK H MAY JR                               13260 SPENCER RD                                                                                HEMLOCK           MI    48626‐8701
FREDERICK H MAYER                                1640 BROAD BLVD                                                                                 CUYAHOGA FALLS    OH    44223‐1910
FREDERICK H PFEFFER                              2516 HAMILTON AVE                                                                               BALTIMORE         MD    21214‐1634
FREDERICK H QUINN                                6902 MOHICAN                                                                                    WESTLAND          MI    48185‐2811
FREDERICK H STEABAN                              1104 SANDSTONE DR                                                                               JEFFERSON         IN    47130‐8448
FREDERICK H TOLDO JR                             12092 BOLDREY DR                                                                                FENTON            MI    48430‐9653
FREDERICK H WADE                                 1436 CHARLES ST                                                                                 WELLSBURG         WV    26070‐1410
FREDERICK H WINTERS & DONNA M WINTERS JT TEN     4555 II ROAD                                                                                    GARDEN            MI    49835‐9412

FREDERICK HAFER                                  235 WINSHIRE ST                                                                                 NORFOLK           VA    23503‐4931
FREDERICK HARTFELDER CUST KEVIN J HARTFELDER     368 OPAL CT                                                                                     STREETSBORO       OH    44241‐4149
UGMA IL
FREDERICK HEMKER TR UA 02/04/1998 FREDERICK      6979 XIMINES LANE N                                                                             MAPLE GROVE       MN    55369
HEMKER TRUST
FREDERICK HERBERT BARKWELL                       9151 BENNETT RD                                                                                 ADA               MI    49301‐9040
FREDERICK HESS                                   4710 LUCERNE LAKE BLVD #105                                                                     LAKE WORTH        FL    33467
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FREDERICK HOLLIS                                    9749 MC QUADE                                                                                  DETROIT            MI    48206‐1637
FREDERICK I HOFFMAN                                 5323 MEADOW CHASE RD                                                                           MIDLOTHIAN         VA    23112
FREDERICK I JORGENSON                               4400 S 34TH ST                                                                                 GREENFIELD         WI    53221‐2117
FREDERICK I JORGENSON & MARGARET A JORGENSON        4400 SOUTH 34TH STREET                                                                         GREENFIELD         WI    53221‐2117
JT TEN
FREDERICK I SHARP 3RD                               69 W ORCHARD RD                                                                                CHAPPAQUA          NY    10514‐1003
FREDERICK J ALFIERI                                 1282 CONIFER COVE LANE                                                                         WEBSTER            NY    14580‐9588
FREDERICK J ALLEN                                   139 CAWLEY ROAD                                                                                MORENCI            MI    49256‐1303
FREDERICK J BANGHART & VIOLA M BANGHART JT TEN      1103 W CHIPMAN LN                                                                              OWOSSO             MI    48867‐4964

FREDERICK J BARDWELL                                2979 E DUTCHER ROAD                                                                            CARO             MI      48723‐9330
FREDERICK J BARDWELL JR                             2979 E DUTCHER ROAD                                                                            CARO             MI      48723‐9330
FREDERICK J BARFIELD                                706 N YOSEMITE                                                                                 ST PETERS        MO      63376‐2087
FREDERICK J BAUER & JULIE N BAUER JT TEN            505 ROBINHOOD CT                                                                               VALPARAISO       IN      46385‐8021
FREDERICK J BEIERMEISTER                            38241 FRENCH ROAD                                                                              FARMINGTON HILLS MI      48331

FREDERICK J BEJSTER JR                              12600 HADLEY RD                                                                                GREGORY            MI    48137‐9759
FREDERICK J BERENBROICK                             140 CRESCENT AVENUE                                                                            LEONIA             NJ    07605‐1907
FREDERICK J BERNER                                  1357 SPRUCEBROOK                                                                               KALAMAZOO          MI    49048‐5815
FREDERICK J BLACKWELL                               6825 STATE ROUTE 201                                                                           TIPP CITY          OH    45371‐9799
FREDERICK J BREYER & GAIL O BREYER JT TEN           8772 EMBASSY DR                                                                                STERLING HEIGHTS   MI    48313‐3225

FREDERICK J BRUNNER JR                              112 LEATHERWOOD DR                                                                             MOUNDSVILLE        WV    26041‐1017
FREDERICK J BURT & SHIRLEY CATHERINE BURT JT TEN    1970 NORTH LESLIE ST                 #3033                                                     PAHRUMP            NV    89060‐3678

FREDERICK J BURTIN                                  7601 EAST 74TH STREET                                                                          KANSAS CITY        MO    64133‐6221
FREDERICK J CAPOZZOLI                               4450 N A1A #306                                                                                VERO BEACH         FL    32963‐5426
FREDERICK J CUTCHEY                                 3783 DEER RIDGE RUN                                                                            METAMORA           MI    48455‐9727
FREDERICK J CZAPE                                   520 E NORTH ST                                                                                 ITHACA             MI    48847‐1242
FREDERICK J DANKERT                                 14754 BRIGGS RD                                                                                CHESANING          MI    48616‐8430
FREDERICK J DAVIS JR                                208 SUMMIT CIR                                                                                 SHELBURN           VT    05482‐6751
FREDERICK J DIETZ JR & CATHERINE A DIETZ JT TEN     3807 CEDARBROOKE PLACE                                                                         BALTIMORE          MD    21236‐5002

FREDERICK J DOTZLER                                 10814 FRANKFORT                                                                                HOLLAND            OH    43528‐8938
FREDERICK J DUPREY JR                               PO BOX 1096                                                                                    BERLIN             MA    01503‐2096
FREDERICK J EBERT                                   3415 W MONTE VISTA                                                                             VISALIA            CA    93277‐7117
FREDERICK J ELLIS JR                                19 BIRCH TREE LN                                                                               SPARTA             NJ    07871‐2304
FREDERICK J FELDER III                              141 BROAD ST                                                                                   CHARLESTON         SC    29401
FREDERICK J FRERICHS & EILEEN FRERICHS JT TEN       4740 ADAMS RD                                                                                  DUNWOODY           GA    30338‐5223
FREDERICK J FUCHS & MARGARET S FUCHS JT TEN         629 WINSOR STREET                                                                              JAMESTOWN          NY    14701‐3437
FREDERICK J FULLER                                  5037 S HIGHPOINT DR                                                                            ALBION             IN    46701‐9354
FREDERICK J FURTON                                  3220 LEXINGTON                                                                                 WATERFORD          MI    48328‐1623
FREDERICK J GARRISON                                PO BOX 39                                                                                      DIVIDING CREEK     NJ    08315
FREDERICK J GEIST                                   21900 N CENTER ST                                                                              NORTHVILLE         MI    48167‐2151
FREDERICK J GUYER                                   710 MADISON AVE                                                                                ALBANY             NY    12208‐3604
FREDERICK J H AUSTIN                                5335 HELENE                                                                                    UTICA              MI    48316‐4243
FREDERICK J HAAS                                    3043 E KESSLER DR                                                                              BAY CITY           MI    48706‐2701
FREDERICK J HARTLEY                                 5107 WOODSTEAD RD                                                                              WATERFORD          WI    53185
FREDERICK J HARVEY                                  2731 TOMPKINS CT                                                                               NEWFANE            NY    14108‐1314
FREDERICK J HILZINGER                               37734 JUNIPER DR                                                                               STERLING HTS       MI    48310
FREDERICK J HIPP                                    5711 BERKLEY DR                                                                                WATERFORD          MI    48327‐2607
FREDERICK J HIPP & SUSAN L HIPP JT TEN              5711 BERKLEY DR                                                                                WATERFORD          MI    48327‐2607
FREDERICK J HOGAN                                   14907 ANNAPOLIS                                                                                STERLING HEIGHTS   MI    48313‐3623

FREDERICK J HOGG                                    150 MCLAREN GATES DR                                                                           MARIETTA           GA    30060‐6983
FREDERICK J HUFFENUS                                1868 HOVSONS BLVD                                                                              TOMS RIVER         NJ    08753‐1517
FREDERICK J JEROME                                  4466 ESTA DR                                                                                   FLINT              MI    48506‐1454
FREDERICK J KOEHLER                                 6879 CLINTONVILLE RD                                                                           CLARKSTON          MI    48348‐4917
FREDERICK J KOHAGEN                                 907 S SWEGLES ST                                                                               ST JOHNS           MI    48879‐2201
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FREDERICK J KORNIEWICZ                               433 75TH STREET                                                                                  BROOKLYN          NY    11209‐2701
FREDERICK J KRANZ                                    2417 HIALEAH DR                                                                                  FLINT             MI    48507‐1061
FREDERICK J KUFLEITNER                               12655 ATWATER AVE NW                                                                             ALLIANCE          OH    44601‐8831
FREDERICK J LAUX & CONSTANCE L LAUX JT TEN           4527 MC KENDRY RD                                                                                IONIA             MI    48846‐9548
FREDERICK J LLOYD & MRS DOROTHY LLOYD JT TEN         2 CYPRESS IN THE WOOD                                                                            DAYTONA BEACH     FL    32119‐2336

FREDERICK J LOGAN & BARBARA ANNE LOGAN TEN COM 1029 HAGGARD DR                                                                                        CLARKSVILLE       TN    37043‐5644

FREDERICK J LONARDO                                  325A MAIN ST                                                                                     HOLDEN            MA    01520‐1787
FREDERICK J LOSCHIAVO                                1252 SOUTH 600 WEST                                                                              MARION            IN    46953
FREDERICK J MARAZITA                                 384 MEADOW DRIVE                       APT # 1                                                   N TONAWANDA       NY    14120
FREDERICK J MCKENZIE                                 4260 GERTRUDE ST                                                                                 SIMI VALLEY       CA    93063‐2928
FREDERICK J MEKA                                     1926 CLINTON STREET                                                                              BUFFALO           NY    14206‐3269
FREDERICK J MELICK                                   3908 DONAIR DRIVE                                                                                SANDUSKY          OH    44870‐5738
FREDERICK J MORSE                                    PO BOX 84                                                                                        ROXBURY           NY    12474‐0084
FREDERICK J MUNSON & BARBARA MUNSON JT TEN           10802 W 54TH PL                                                                                  ARVADA            CO    80002‐1197

FREDERICK J MUNSON CUST ERICA MUNSON UTMA CO         10802 W 54TH PL                                                                                  ARVADA            CO    80002‐1197

FREDERICK J NAGEL TR UA 04/30/92 THE FREDERICK J     525 S SHERIDAN                                                                                   BAY CITY          MI    48708‐7467
NAGEL TRUST
FREDERICK J NELSON                                   6111 MOYER AVE                                                                                   BALTO             MD    21206‐2354
FREDERICK J ODISHOOE                                 10458 COBBLESTONE BLVD                                                                           DAVISON           MI    48423‐7911
FREDERICK J PEEBLES                                  3353 FAIRWAY DRIVE                                                                               BAY CITY          MI    48706‐3372
FREDERICK J PEGLOW                                   1345 YOUNGS DITCH ROAD                                                                           BAY CITY          MI    48708‐9171
FREDERICK J PIERAMI                                  2204 LANTERN LANE                                                                                LAFAYETTE HILL    PA    19444‐2211
FREDERICK J POLAKOVIC & JUNE S POLAKOVIC JT TEN      4601 DEL REY BLVD                                                                                LAS CRUCES        NM    88012‐7308

FREDERICK J PORTER                                   501 FAIRVIEW AVE                                                                                 NEPTUNE           NJ    07753‐3803
FREDERICK J PRICE & ORA LEE PRICE TR PRICE FAMILY    26840 DAVIDSON                                                                                   REDFORD           MI    48239‐2707
TRUST UA 3/18/99
FREDERICK J RICHARD                                  7026 ROOKWAY                                                                                     BRIDGEPORT        MI    48722‐9764
FREDERICK J RICHARDSON III                           1958 INVERNESS DR                                                                                SCOTCH PLAINS     NJ    07076‐2614
FREDERICK J RICKEY III & VERONICA M RICKEY TEN ENT   BOX 8067                                                                                         CRANSTON          RI    02920‐0067

FREDERICK J RIERSON                                  2832 GEECK RD                                                                                    CORUNNA           MI    48817‐9778
FREDERICK J ROENSCH                                  BOX 210                                                                                          NASHOTAH          WI    53058‐0210
FREDERICK J ROSE JOANN C ROSE & ROY C ROSE JT TEN    4601 RIVER RD                          APT 203                                                   EAST CHINA        MI    48054‐3510

FREDERICK J ROSS                                     9547 SAGINAW ST                                                                                  REESE             MI    48757‐9201
FREDERICK J RUSHMAN                                  22230 EDISON                                                                                     DEARBORN          MI    48124‐2786
FREDERICK J RYGIEWICZ                                2607 76TH ST                                                                                     FRANKSVILLE       WI    53126‐9540
FREDERICK J RYGIEWICZ & GAIL L RYGIEWICZ JT TEN      2607 76TH ST                                                                                     FRANKSVILLE       WI    53126‐9540

FREDERICK J RYGIEWICZ & GAIL L RYGIEWICZ TEN COM     2607 76TH ST                                                                                     FRANKSVILLE       WI    53126‐9540

FREDERICK J SAUER & MARY LOU SAUER JT TEN            201 W 136TH ST                                                                                   BURNSVILLE        MN    55337
FREDERICK J SCHNERINGER & MARTHA E SCHNERINGER       400 HOBRON LANE 2709                                                                             HONOLULU          HI    96815‐1207
JT TEN
FREDERICK J SCHWAB                                   706 MCCORMICK ST                                                                                 BAY CITY           MI   48708‐7739
FREDERICK J SERRA & VERONICA M SERRA JT TEN          2217 WINDINGWAY                                                                                  DAVISON            MI   48423‐2042
FREDERICK J SHINAVIER                                385 JOSLYN                                                                                       LAKE ORION         MI   48362‐2222
FREDERICK J SILANTIEN                                7545 OSO BLANCA PKWY                   UNIT 2200                                                 LAS VEGAS          NV   89149‐1482
FREDERICK J SMITH                                    1041 9TH ST PO BOX 423                                                                           AUGRES             MI   48703‐0423
FREDERICK J SORBO III                                100 OLD WOOD RD                                                                                  BERLIN             CT   06037‐3762
FREDERICK J SPRINGER                                 22442 RIO VISTA                                                                                  ST CLAIR SHRS      MI   48081‐2431
FREDERICK J SPRINGER & SUSAN L SPRINGER JT TEN       22442 RIO VISTA                                                                                  SAINT CLAIR SHORES MI   48081‐2431

FREDERICK J STACY                                    11 NORWOOD AVENUE                                                                                WOODBRIDGE        NJ    07095‐3219
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Name                                                 Address1                             Address2             Address3           Address4          City              State Zip

FREDERICK J STEPHENSON JR                            5892 LOCH LEVEN                                                                                WATERFORD         MI    48327‐1842
FREDERICK J TRULSON                                  18716 ST MARYS                                                                                 DETROIT           MI    48235‐2966
FREDERICK J UHLIG                                    1641 KILBURN RD S                                                                              ROCHESTER HILLS   MI    48306‐3029
FREDERICK J UHLIG & LEDA A UHLIG JT TEN              1641 KILBURN RD                                                                                ROCHESTER HILLS   MI    48306‐3029
FREDERICK J WALLOCH                                  3031 SOUTH 46TH STREET                                                                         MILWAUKEE         WI    53219‐3429
FREDERICK J WARD                                     2611 RUTLEDGE AVE                                                                              JANESVILLE        WI    53545‐1339
FREDERICK J WERNER                                   13070 INDEPENDENCE AVE                                                                         UTICA             MI    48315‐4723
FREDERICK J WHITE                                    2625 MANGO TREE DR                                                                             EDGEWATER         FL    32141‐5429
FREDERICK J WHITE                                    9316 HAIGHT RD                                                                                 BARKER            NY    14012‐9632
FREDERICK J WOLFF                                    43‐A RIVERVALE CT                                                                              SCOTCH PLAINS     NJ    07076‐3016
FREDERICK JAMES SPOHN                                1510 COUPLAND TR                                                                               MIO               MI    48647‐9500
FREDERICK JAMES SWEENEY                              5090 BURTCH RD                                                                                 JEDDO             MI    48032‐2900
FREDERICK JANTZ & WANDA A JANTZ JT TEN               3215 W MOUNT HOPE AVE APT 221                                                                  LANSING           MI    48911
FREDERICK JOHN HESS                                  8 HERTEL AVE #907                                                                              BUFFALO           NY    14207‐2546
FREDERICK JOHN PFUHL                                 2938 ROBIN ROAD                                                                                KETTERING         OH    45409‐1650
FREDERICK JOSEPH TRACIA                              640 HANCOCK ST                                                                                 ABINGTON          MA    02351‐1032
FREDERICK JUNIOR BOGER                               1235 W CROSS ST                                                                                ANDERSON          IN    46011‐9501
FREDERICK K KINSELLA                                 23 CLAIRE AVENUE                     RFD #4                                                    DERRY             NH    03038‐4220
FREDERICK K MILLER                                   860 CUMBERLAND ROAD                                                                            GLENDALE          CA    91202‐1051
FREDERICK K SCHULTZ                                  4020 S 575 E                                                                                   BRINGHURST        IN    46913‐9449
FREDERICK K SCHULTZ & SHIRLEY A SCHULTZ JT TEN       4020 S 575 E                                                                                   BRINGHURST        IN    46913‐9449

FREDERICK K WIESE                                    775 CHARLTON RD                                                                                CHARLTON          NY    12019‐2803
FREDERICK KAUFMANN & VIRGINIA L KAUFMANN JT          2 COURTLAND LN                                                                                 WARREN            NJ    07059‐5576
TEN
FREDERICK L ALEXANDER                                10432 STREAM PARK CT                                                                           CENTERVILLE       OH    45458‐9569
FREDERICK L AMES & SUSAN L AMES JT TEN               72 ALSHIR RD                                                                                   COLCHESTER        VT    05446
FREDERICK L BATES                                    1408 LINDSEY AVE                                                                               MIAMISBURG        OH    45342‐2540
FREDERICK L BOOKWALTER                               2276 MURILLO CT                                                                                FAIRBORN          OH    45324‐8568
FREDERICK L BRAMSWAY                                 139 WOODCROFT TRAIL                                                                            BEAVERCREEK       OH    45430‐1924
FREDERICK L BRICKER                                  8323 STARCREST DR                                                                              SAN ANTONIO       TX    78218‐2428
FREDERICK L BRIGGS                                   BOX 168                                                                                        GRANTHAM          PA    17027‐0168
FREDERICK L BROWN                                    250 HILLSPOINT RD                                                                              WESTPORT          CT    06880‐6619
FREDERICK L BUELL                                    43505 SAN ANTONIO VALLEY ROAD                                                                  LIVERMORE         CA    94550‐8413
FREDERICK L CARLSON & MARY ANN CARLSON JT TEN        3414 GLADSTONE BLVD                                                                            KANSAS CITY       MO    64123‐1113

FREDERICK L CARTER                                   707 LONG LEAF DRIVE                                                                            FORT WALTON       FL    32548‐3305
                                                                                                                                                    BEACH
FREDERICK L CHEATOM                                  6474 N HARVARD                                                                                 MT MORRIS         MI    48458‐2353
FREDERICK L COLOMBO                                  70 FERNBROOK CT                                                                                OLDSMAR           FL    34677‐2065
FREDERICK L CRIPPEN & JULIA H CRIPPEN JT TEN         20541 RODAX ST                                                                                 WINNETKA          CA    91306‐1530
FREDERICK L CURREY                                   7406 N 425 E                                                                                   ALEXANDRIA        IN    46001‐8743
FREDERICK L CURTS                                    1121 W WARWICK RD                                                                              MUNCIE            IN    47304‐3343
FREDERICK L DEARMAN                                  2020 TOTTY'S BEND RD                                                                           DUCK RIVER        TN    38454‐3628
FREDERICK L DRIVER & CANDICE K DRIVER JT TEN         115 MELODY LANE                                                                                JACKSONVILLE      NC    28540‐3117
FREDERICK L DRYER                                    6326 S WASHINGTON RD                                                                           LANSING           MI    48911‐5545
FREDERICK L FARIA & RUBY N FARIA & DOLORES I WILLS   11706 LADERA DR                                                                                DUBLIN            CA    94568‐2238
JT TEN
FREDERICK L FELDKAMP                                 6174 EAST BAY DR                                                                               BOYNE CITY        MI    49712‐9243
FREDERICK L FLETCHER                                 7007 CLINGAN RD UNIT 19                                                                        YOUNSTOWN         OH    44514‐2480
FREDERICK L HARDINGE                                 C/O MRS DOROTHY BROWN                250 HILLSPOINT RD                                         WESTPORT          CT    06880‐6619
FREDERICK L HARTWICK                                 3399 EAGLES LOFT UNIT D                                                                        CORTLAND          OH    44410‐9160
FREDERICK L HUGHES                                   5285 N BEACON DR                                                                               YOUNGSTOWN        OH    44515‐4068
FREDERICK L HUPERT                                   2035 US HIGHWAY 23                                                                             EAST TAWAS        MI    48730
FREDERICK L JENKINS                                  2809 SW 66TH                                                                                   OKLAHOMA CITY     OK    73159‐2607
FREDERICK L JOHNSTON 3RD                             86 WENDELL ST #3                                                                               CAMBRIDGE         MA    02138‐1976
FREDERICK L KRAMER                                   918 MARSHALL ST                                                                                PORTLAND          MI    48875‐1372
FREDERICK L LAWRENCE                                 17 RUTLAND STREET                                                                              HARTFORD          CT    06120‐1129
FREDERICK L LEMKA                                    17600 E 231 ST                                                                                 HARRISONVILE      MO    64701‐3756
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Name                                               Address1                               Address2             Address3           Address4          City              State Zip

FREDERICK L LINVILLE                               328 E COTTAGE AVE                                                                                W CARROLLTON      OH    45449‐1348
FREDERICK L LONDON                                 1796 WESTCHESTER CT                                                                              SPRINGBORO        OH    45066‐9202
FREDERICK L LOUTHAN                                3410 PETERS RD                                                                                   TROY              OH    45373‐9219
FREDERICK L MALAN                                  328 S 24TH ST                                                                                    PHILADELPHIA      PA    19103‐6432
FREDERICK L MINAMYER                               870 CUNNINGHAM ROAD                                                                              SALEM             OH    44460‐9406
FREDERICK L MOSHER & MARY A MOSHER TR UA           56 HYATT AVE                                                                                     HAVERHILL         MA    01835‐8222
06/26/90 F L M TRUST
FREDERICK L MUENSTERMANN                           6633 N SHERIDAN RD                     APT 512                                                   CHICAGO           IL    60626‐4657
FREDERICK L NORRIS                                 6706 ALDER AVE                                                                                   ST LOUIS          MO    63134‐1306
FREDERICK L PETERSEN JR & DEBRA ANN PETERSEN JT    4804 CHOKEBERRY DR                                                                               NAPERVILLE        IL    60564‐5843
TEN
FREDERICK L RISKER JR                              12427 PINE KNOLL DRIVE                                                                           HOUSTON           TX    77099‐2415
FREDERICK L ROEMHELD                               1511 S 98TH ST APT 206                                                                           MILWAUKEE         WI    53214‐4178
FREDERICK L SALZMAN JR & GWENDOLYN M SALZMAN       30 SURREY DR                                                                                     WRIGHTSVILLE      PA    17368‐9080
TEN ENT
FREDERICK L SHAAK & MRS SALLY ANN W SHAAK JT TEN   451 S RACE ST                                                                                    MYERSTOWN         PA    17067‐2346

FREDERICK L SIMMONS                                19251 DEAN ST                                                                                    DETROIT         MI      48234‐2072
FREDERICK L SIMONI                                 764 MELWOOD                                                                                      WARREN          OH      44483‐4440
FREDERICK L SMALL                                  2164 TOKALON ST                                                                                  SAN DIEGO       CA      92110‐1246
FREDERICK L STANFORD                               2450N 600E                                                                                       LAGRANGE        IN      46761‐9166
FREDERICK L STONE                                  825 BEACH ISLAND TRACE                                                                           DADEVILLE       AL      36853‐4624
FREDERICK L THATE                                  646 ELM DR                                                                                       PLAINFIELD      IN      46168‐2183
FREDERICK L THATE & LYNN THATE JT TEN              646 ELM DR                                                                                       PLAINFIELD      IN      46168‐2183
FREDERICK L THOMPSON                               5418 MILROY RD                                                                                   INDIANAPOLIS    IN      46216‐2088
FREDERICK L THUM                                   45 W BERTLAND RD                                                                                 MOUNT ARLINGTON NJ      07856‐1408

FREDERICK L VANWORMER                              4563 LEWIS                                                                                       TOLEDO            OH    43612‐2360
FREDERICK L WARREN III                             1265 1/2 STONER AVE                                                                              LOS ANGELES       CA    90025‐1690
FREDERICK L WATT                                   75 SWEDEN HILL RD                                                                                BROCKPORT         NY    14420‐2547
FREDERICK L WHITE                                  8541 WATER OAK RD                                                                                PARKVILLE         MD    21234‐3729
FREDERICK L WODTKE & DONNA J WODTKE JT TEN         1620 W ATHERTON RD                                                                               FLINT             MI    48507‐5348

FREDERICK L WOLF                                   2286 PHILLIPS MILL RD                                                                            FOREST HILL       MD    21050‐1125
FREDERICK L ZEBLEY & SHARON S ZEBLEY JT TEN        9826 RED REEF COURT                                                                              FORT MYERS        FL    33918
FREDERICK L ZELLNER JR                             309 TANGLEWOOD                                                                                   FREDERICKSBERG    TX    78624‐2817
FREDERICK LEE CARNES                               9742 BROOKVILLE PIKE                                                                             BROOKVILLE        OH    45309
FREDERICK LEE LAWSON                               1127 DECATUR ST                                                                                  NEW ORLEANS       LA    70116‐2605
FREDERICK LELAND HORTON IV & MATTHEW JAY           1835 E TREMAINE AVE                                                                              GILBERT           AZ    85234‐8149
HORTON JT TEN
FREDERICK LLOYD WEITMAN                            7215 N BLACK ROCK TRL                                                                            PARADISE VALLEY   AZ    85253‐2802
FREDERICK M ABBOTT                                 3533 HAMLIN RD                                                                                   LAFAYETTE         CA    94549‐5005
FREDERICK M BRUS                                   2650 GLENRIDGE DR                                                                                POWHATAN          VA    23139‐5955
FREDERICK M BURT & ARTHENA BURT JT TEN             625 VILLAGE COURT                                                                                TRAVERSE CITY     MI    49684‐7918
FREDERICK M CARTWRIGHT                             9780 OAK VALLEY DRIVE                                                                            CLARKSTON         MI    48348‐4169
FREDERICK M CARTWRIGHT & BETH K CARTWRIGHT JT      9780 OAK VALLEY DR                                                                               CLARKSTON         MI    48348‐4169
TEN
FREDERICK M CASH                                   103 WATFORD RD                                                                                   WILMINGTON        DE    19808‐1423
FREDERICK M CHENEY & VIRGINIA CHENEY JT TEN        3090 ALCOTT AVENUE                                                                               FLINT             MI    48506‐2146
FREDERICK M CURTIS                                 2185 HUNTER DR                                                                                   LAPEER            MI    48446‐7731
FREDERICK M CURTIS & HELEN M CURTIS JT TEN         2185 HUNTER DR                                                                                   LAPEER            MI    48446‐7731
FREDERICK M DAVIS TR UW JOB H MONTGOMERY           BOX 213                                                                                          CAMDEN            ME    04843‐0213
FREDERICK M DETRICK JR                             10 SHELDON RD                                                                                    PEMBERTON         NJ    08068‐1414
FREDERICK M FINNEY                                 3955 DENLINGER ROAD                                                                              DAYTON            OH    45426‐2329
FREDERICK M HATHAWAY                               41302 FONTUNA DR E                                                                               CLINTON TWP       MI    48038‐2235
FREDERICK M HIGGINS                                1235 ANGIER DR                                                                                   DAYTON            OH    45408‐2410
FREDERICK M HOOVER                                 106 MILLER AVE                                                                                   SAYREVILLE        NJ    08872‐1378
FREDERICK M HUGHES & MARJORIE R HUGHES JT TEN      855 S HAMPTON RD                                                                                 NEW CARLISLE      OH    45344‐9277
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FREDERICK M KROEPIL                               100 KENTDRIVE                                                                                    CLAYTON            DE    19938‐9523
FREDERICK M LAZZARI & IRMA J LAZZARI JT TEN       204 DIANE DRIVE                                                                                  MONONGAHELA        PA    15063‐1117
FREDERICK M MADSEN & JOYCE L MADSEN JT TEN        6877 DANDISON STREET                                                                             W BLOOMFIELD       MI    48324‐2820
FREDERICK M MAROON IV                             608 CADAGUA AVE                                                                                  CORAL GABLES       FL    33146‐1712
FREDERICK M MICHALOVIC                            2847 MAHAN DENMAN RD NW                                                                          BRISTOLVILLE       OH    44402‐9773
FREDERICK M MITCHELL IV                           2094 ROUTE 25                                                                                    OSWEGO             IL    60543‐9469
FREDERICK M MORRIS & JOY W MORRIS JT TEN          1141 SUMMIT HILLS LANE                                                                           NAPERVILLE         IL    60563‐2242
FREDERICK M MOWRER & EVELYN JANE MOWRER JT        706 SANIDA RD NW                                                                                 ALBUQUERQUE        NM    87107‐5438
TEN
FREDERICK M PAKIS                                 8115 N MOHAVE ROAD                                                                               PARADISE VALLEY    AZ    85253‐2291
FREDERICK M SCHEETZ & PATRICIA L SCHEETZ JT TEN   537 HIGHWAY 337 SE                                                                               CORYDON            IN    47112‐1704

FREDERICK M SENO                              1140 VALLEY VIEW DR                                                                                  DOWNERS GROVE      IL    60516‐3402
FREDERICK M SIMMONS & SANDRA K SIMMONS JT TEN 1418 E 26TH ST                                                                                       MUNCIE             IN    47302‐5803

FREDERICK M SMITH                                 G6344 S LINDEN RD                                                                                SWARTZ CREEK       MI    48473
FREDERICK M TOBIN                                 116 CAMP AVENUE                                                                                  DARIEN             CT    06820‐2709
FREDERICK M WERBLOW & TONI G WERBLOW JT TEN       83 GRIFFEN AVE                                                                                   SCARSDALE          NY    10583‐7903

FREDERICK MAGLIOZZI                               3 KINGS CT.                                                                                      MARLBORO           NJ    07746‐1474
FREDERICK MARCISZEWSKI                            8195 WEBSTER RD                                                                                  CLIO               MI    48420‐8520
FREDERICK MCKINLEY                                17255 N ST RD 3 N                                                                                EATON              IN    47338‐8949
FREDERICK MECZKA                                  26848 CHAPEL HILL DR                                                                             NORTH OLMSTED      OH    44070‐1816
FREDERICK MURRAY                                  8497 CROWN POINT RD                                                                              INDIANAPOLIS       IN    46278‐9702
FREDERICK N HARRIS                                LE RESIDENCE DU CASINO                 RUE PASTEUR BLOC B3 NO‐351   MENTON     6500 FRANCE
FREDERICK N KRETZINGER                            7887 E SUGAR GROVE                                                                               FOANTIN            MI    49410‐9551
FREDERICK N REAUME                                4680 MELANIE LN                                                                                  WHITE LAKE         MI    48383‐1386
FREDERICK N SCOTT & MYRA B SCOTT JT TEN           PO BOX 13135                                                                                     MAUMELLE           AR    72113‐0135
FREDERICK NOBBS JR                                51 HOUK RD                                                                                       DOYLESTOWN         PA    18901‐3107
FREDERICK O ALTHOUSE                              930 COPPERFIELD DRIVE                  OSHAWA ON                               L1K 1S4 CANADA
FREDERICK O BUSS & MRS HELEN S BUSS JT TEN        32803 MERINO ST                        PO BOX 179                                                BLACK DIAMOND      WA    98010
FREDERICK O BUSS CUST DARRYL F BUSS A MINOR       PO BOX 179                                                                                       BLACK DIAMOND      WA    98010‐0179
U/THE LAWS OF ALASKA
FREDERICK O PERKINS                               1988 SW TT HWY                                                                                   KINGSVILLE         MO    64061‐9214
FREDERICK O SANDERS                               241 BLOOMFIELD BLVD                                                                              BLOOMFIELD HILLS   MI    48302‐0511

FREDERICK O WISEMAN                               8439 ST RT 204 DW                                                                                THORNVILLE         OH    43076‐9624
FREDERICK P BOYER                                 8217 HARROW CT                                                                                   NORTHVILLE         MI    48167
FREDERICK P CESNIK                                14223 MOHICAN DR                                                                                 CYPRESS            TX    77429‐4666
FREDERICK P GENOVESE                              5000 E HENRIETTA RD                    APT A4                                                    HENRIETTA          NY    14467
FREDERICK P KELLER                                3615 CARLYLE CT                                                                                  FREDERICKSBURG     VA    22408‐9239
FREDERICK P LEE                                   1011 S 3RD ST                                                                                    SAINT MARIES       ID    83861‐1909
FREDERICK P LIETZKE JR                            4675 SECOR RD                                                                                    IDA                MI    48140‐9719
FREDERICK P LYDEN                                 2919 EATON PLACE                                                                                 FLINT              MI    48506‐1364
FREDERICK P LYDEN JR                              721 BUCKINGHAM AVE                                                                               FLINT              MI    48507‐2801
FREDERICK P MERSCHMAN & CARLA J MERSCHMAN JT      5670 GREEN RD                                                                                    HASLETT            MI    48840
TEN
FREDERICK P MILLER & NINETTE MILLER JT TEN        2715 CENTRE AVE                                                                                  BELLMORE           NY    11710
FREDERICK P STEMMLER JR                           29778 LITTLE MACK                                                                                ROSEVILLE          MI    48066‐2239
FREDERICK P TAYREE                                5713 NARCISSUS AVE                                                                               BALTIMORE          MD    21215‐3551
FREDERICK P ZAMPA                                 6369 HOUSTON ROAD                                                                                MACON              GA    31216‐6603
FREDERICK P ZUNGRI                                PO BOX 305                                                                                       BELLEVILLE         NJ    07109
FREDERICK PACHECO JR                              30724 BEECHNUT AVE                                                                               WESTLAND           MI    48186‐5002
FREDERICK PATTISON MANNINO                        2111 21ST ST                                                                                     GULFPORT           MS    39501‐4634
FREDERICK PETE WARD                               6950 LOGSDON RD                                                                                  HAMILTON           OH    45011‐5465
FREDERICK PULWITT REICHELT                        221 WALES AVE                                                                                    RIVER EDGE         NJ    07661‐1528
FREDERICK R ALEXANDER                             3783 VALLEY DR                                                                                   METAMORA           MI    48455‐9714
FREDERICK R ANDERSON                              20493 ILENE                                                                                      DETROIT            MI    48221‐1017
FREDERICK R CASEY                                 C/O LISA CASEY                         15 ROBIN DR UNIT 5                                        MARLBOROUGH        MA    01752‐6032
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FREDERICK R COBURN JR                            202 BACON STREET                                                                               NATICK            MA    01760‐2079
FREDERICK R DAY                                  308 GREEN RIDGE DR                                                                             DUBOIS            PA    15801‐2338
FREDERICK R DRAYTON III                          11 CRANE ST                                                                                    NEEDHAM           MA    02494‐1751
FREDERICK R EARLE                                58548 FERGUSON ROAD                                                                            THREE RIVERS      MI    49093‐9557
FREDERICK R FAVO TR UW MAUREEN D FAVO            PO BOX 191                                                                                     OAKMONT           PA    15139‐0191
FREDERICK R FITTANTE                             3107 HARDING AVE                                                                               ALIQUIPPA         PA    15001‐4621
FREDERICK R GLOSE                                ROUTE 1 BOX 146                                                                                BUFFALO           MO    65622‐9708
FREDERICK R GLOSE & FREDA B GLOSE JT TEN         C/O FREDA B GLOSE                    27 BASSWIND TRAIL                                         BUFFALO           MO    65622‐9708
FREDERICK R GOLDSMITH                            1627 N LYNDONVILLE ROAD                                                                        LYNDONVILLE       NY    14098‐9602
FREDERICK R HARTUNG                              3239 BENEVA RD APT 201                                                                         SARASOTA          FL    34232‐4520
FREDERICK R HOWARD                               2335 TAYLOR ST                                                                                 N CHARLESTON      SC    29406‐6232
FREDERICK R KETTENRING                           254 NORMAND ROAD                                                                               GOFFSTOWN         NH    03045‐2358
FREDERICK R KYLE                                 85 WEST WARREN STREET                                                                          ISELIN            NJ    08830‐1137
FREDERICK R LAICH                                1251 CHARLOTTE LANDING                                                                         SPRINGPORT        MI    49284‐9410
FREDERICK R LAUSEN JR                            200 MULBERRY LN                                                                                BELLAIRE          TX    77401‐4308
FREDERICK R MATTHEWS                             899 LAUREL LN                                                                                  NEW BRAUNFELS     TX    78130‐6654
FREDERICK R MCKENZIE                             4574 CADILLAC                                                                                  SAGINAW           MI    48604‐1034
FREDERICK R MEYER JR                             PO BOX 663                                                                                     FREELAND          MI    48623‐0663
FREDERICK R PIDRUZNY                             7288 CLEAR RANGE AVE                                                                           LAS VEGAS         NV    89178‐8022
FREDERICK R POST                                 11030 HARTMAN RD                                                                               GRAND RAPIDS      OH    43522‐9625
FREDERICK R RODE                                 37524 JEFFERSON AVENUE               APT 303                                                   HARRISON          MI    48045
                                                                                                                                                TOWNSHIP
FREDERICK R SCHNEIDER                            8643 EMPIRE CT                                                                                 CINCINNATI        OH    45231‐4913
FREDERICK R SHORT JR                             3733 UNIVERSITY W BL 203                                                                       JACKSONVILLE      FL    32217‐2152
FREDERICK R SMITH                                3165 EAST WYNDAM COURT                                                                         BLOOMINGTON       IN    47401‐4495
FREDERICK R STRANGE JR                           3224 WABASH AVE                                                                                FT WORTH          TX    76109‐2246
FREDERICK R WUTZKE                               1230 65TH STREET                                                                               WEST DES MOINES   IA    50266‐5750

FREDERICK RADZIALOWSKI & ELEANORE RADZIALOWSKI 3700 WINNETKA RD                                                                                 GLENVIEW          IL    60026‐1354
JT TEN
FREDERICK REGIN III                                202 N MCBRIDE ST                                                                             SYRACUSE          NY    13203‐2328
FREDERICK RICHARD HARRIS SR TR UA 01/20/1994 FRED 6811 BRIARMEADOWS DR                                                                          MEMPHIS           TN    38120
R HARRIS SR TRUST
FREDERICK S ALCOCK                                 6601 WHITEFORD CENTER ROAD                                                                   LAMBERTVILLE      MI    48144‐9469
FREDERICK S BOOTH & VIRGINIA C BOOTH JT TEN        1750 W STATE HIGHWAY 46 501                                                                  NEW BRAUNFELS     TX    78132
FREDERICK S BREIMYER TR FREDERICK S BREIMYER       35 COLLEGE ROAD                                                                              WELLESLEY         MA    02482‐5703
TRUST UA 11/09/04
FREDERICK S CLAY                                   5647 BERMUDA DRIVE                                                                           ST LOUIS          MO    63121‐1358
FREDERICK S CURTIS                                 3025 SUDBURY DR                                                                              KETTERING         OH    45420‐1128
FREDERICK S HALL                                   18034 MALAKAI ISLE DR                                                                        TAMPA             FL    33647‐2990
FREDERICK S HEMBROUGH                              2649 BROOK VALLEY RD                                                                         FREDERICK         MD    21701‐6801
FREDERICK S HIGGINBOTHAM III EX EST STEPHANIE      826 ROCKLODGE RD                                                                             MC HENRY          MD    21541
HIGGINBOTHAM
FREDERICK S JONES                                  7705 KIOWA POINTE ST                                                                         LAS VEGAS         NV    89131‐4615
FREDERICK S KUBIK                                  PO BOX 107                                                                                   REESE             MI    48757‐0107
FREDERICK S LIVINGSTON                             13214 ACLARE ST                                                                              CERRITOS          CA    90703‐1324
FREDERICK S MALKOWSKI                              7441 W 10TH ST                                                                               INDIANAPOLIS      IN    46214‐2517
FREDERICK S MANN                                   37 YALE RD                                                                                   EAST HARTFORD     CT    06108‐1448
FREDERICK S MARTY & VIRGINIA R MARTY JT TEN        4246 DEER PATH                                                                               MARCELLUS         NY    13108
FREDERICK S MOFFATT                                4 FIELD ROCK ROAD                                                                            FARMINGTON        CT    06032‐2135
FREDERICK S MURLEY & BETH E MURLEY JT TEN          1913 SUMMIT TOP DR                                                                           KERRVILLE         TX    78028‐8915
FREDERICK S PHILLIPS & MRS JULIA F PHILLIPS JT TEN 1134 OLD HICKORY ROAD                                                                        JACKSONVILLE      FL    32207‐8812

FREDERICK S SCARBOROUGH                          OBLONG RD                                                                                      WILLIAMSTOWN      MA    01267
FREDERICK S SUTTER                               792 ST RT# 95                                                                                  LOUDONVILLE       OH    44842‐9576
FREDERICK SAYLES                                 PO BOX 601                                                                                     CATAUMET          MA    02534‐0601
FREDERICK SCHIMPF JR                             500 S NARBERTH AVE                                                                             MERION STATION    PA    19066‐1314
FREDERICK SCHLEICH                               PO BOX 169                                                                                     FAIRVIEW          IL    61432‐0169
FREDERICK SHEEHAN                                7911 ESSEN AVE                                                                                 PARMA             OH    44129‐3130
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FREDERICK SONNENWALD & DIANE SONNENWALD JT       104R NC54                              BOX 266                                                   CARRBORO           NC    27510
TEN
FREDERICK STARCK                                 3223 LAKE MENDOTA DR                                                                             MADISON            WI    53705
FREDERICK STEPHEN BROWN                          1780 MINERS RIDGE RD                                                                             SYKESVILLE         MD    21784‐7058
FREDERICK STEWART ROLAND                         715 FOULKSTONE ROAD                                                                              WILMINGTON         DE    19803‐2225
FREDERICK T AMMAN                                11175 PEET RD                                                                                    CHESANING          MI    48616‐9503
FREDERICK T BALL & BENITA A BALL JT TEN          10935 STATE RT 13                                                                                CUMBERLAND CITY    TN    37050‐6015

FREDERICK T BROWN                                1226 NORTH WATER ST                                                                              OWOSSO             MI    48867‐1738
FREDERICK T GEORGE                               638 LAYMAN CREEK CIRCLE                                                                          GRAND BLANC        MI    48439‐1383
FREDERICK T JACKSON JR                           5600 SOMERSET                                                                                    DETROIT            MI    48224‐3145
FREDERICK T JOHNSON & PEARL B JOHNSON JT TEN     2335 QUARTERPATH DR                                                                              RICHMOND           TX    77406‐6775

FREDERICK T KOKKO JR                              PO BOX 237                                                                                      GOETZVILLE         MI    49736‐0237
FREDERICK T MILLER                                4139 ALLENWOOD DRIVE S E                                                                        WARREN             OH    44484‐2929
FREDERICK T WENN                                  6701 40 MILE POINTE RD                                                                          ROGERS CITY        MI    49779‐9504
FREDERICK THOMAS BELL                             PO BOX 176                                                                                      BAINBRIDGE         PA    17502‐0176
FREDERICK THROSSEL CUST AMBER MICHELLE THROSSEL 519 ANITA ST                                                                                      REDONDO BEACH      CA    90278‐4703
UTMA CA
FREDERICK THROSSEL CUST KARI SUZANNE THROSSEL     519 ANITA ST                                                                                    REDONDO BEACH      CA    90278‐4703
UTMA CA
FREDERICK U FORSTER                               4033 NORTH STREET                                                                               FLINT              MI    48505‐3902
FREDERICK V BEELER                                3609 DOGWOOD DRIVE                                                                              ANDERSON           IN    46011‐3013
FREDERICK V BEELER & JANICE I BEELER JT TEN       3609 DOGWOOD DR                                                                                 ANDERSON           IN    46011‐3013
FREDERICK V GLOMSON                               5311 SITKA                                                                                      BURTON             MI    48519‐1521
FREDERICK V HOYET                                 BOX 383                                                                                         HARRISON CITY      PA    15636‐0383
FREDERICK V JESKE                                 4040 RICHLYN COURT                                                                              BAY CITY           MI    48706‐2431
FREDERICK V WILLIAMS & VERONICA Y WILLIAMS JT TEN PO BOX 65270                                                                                    HAMPTON            VA    23665‐5270

FREDERICK VEITH                                  19746 NEGAUNEE                                                                                   DETROIT            MI    48240‐1642
FREDERICK W BANDKAU                              13998 SILVER LAKE ROAD                                                                           SOUTH LYON         MI    48178‐8123
FREDERICK W BAUER TR BAUER BY‐PASS TRUST D UA    430 TWIN LAKES CIRCLE                                                                            SANTA ROSA         CA    95409‐6447
07/19/99
FREDERICK W BETZ                                 1614 BEACH PARKWAY 207                                                                           CAPE CORAL         FL    33904
FREDERICK W BRAZEE                               2 ASHLEIGH CT                                                                                    LANSING            MI    48906‐1540
FREDERICK W COFFIN                               22113 LINDA DR                                                                                   TORRANCE           CA    90503‐6256
FREDERICK W DEHNKE & NANCY A DEHNKE JT TEN       3715 LAKE LAPEER DRIVE                                                                           METAMORA           MI    48455‐9724
FREDERICK W DIETZ                                15233 HIGHLAND TR                                                                                MINNETONKA         MN    55345‐4626
FREDERICK W ENGLER & BEATRICE G ENGLER &         4545 MIDLAND RD                                                                                  SAGINAW            MI    48603‐9667
LAWRENCE W ENGLER JT TEN
FREDERICK W FOLEY JR                             11 BELKNAP RD                                                                                    BRAINTREE          MA    02184‐8401
FREDERICK W FRANK                                528 PRIMROSE LN                                                                                  TIPP CITY          OH    45371‐2750
FREDERICK W FRANK & VIRGINIA A FRANK JT TEN      528 PRIMROSE LA                                                                                  TIPP CITY          OH    45371‐2750
FREDERICK W FUNKEY                               PO BOX 89                                                                                        COPPER HARBOR      MI    49918‐0089
FREDERICK W GILL                                 2022 PARKER BOULEVARD                                                                            TONAWANDA          NY    14150‐8144
FREDERICK W HALL JR & MARY LOU HALL JT TEN       13177 LOG CABIN POINT                                                                            FENTON             MI    48430‐1138
FREDERICK W HARDING                              279 N NORWINDEN DR                                                                               SPRINGFIELD        PA    19064‐1937
FREDERICK W HARRIS                               11443 CENTER RD                                                                                  FENTON             MI    48430‐9512
FREDERICK W HAST III                             10305 BERLIN RD                                                                                  BERLIN HGTS        OH    44814‐9475
FREDERICK W HATLINE                              PO BOX 661                                                                                       STERLING HEIGHTS   MI    48311‐0661

FREDERICK W HAYES                             1350 E BRYAN AVE                                                                                    SALT LAKE CITY     UT    84105‐2648
FREDERICK W HINE JR & MARILYN E HINE JT TEN   808 SHADY LN                                                                                        AUGRES             MI    48703‐9753
FREDERICK W HOUSTON                           2119 E MARION ST                                                                                    MILWAUKEE          WI    53211‐2007
FREDERICK W JEHLE JR                          1729 COLVIN BLVD                                                                                    KENMORE            NY    14223‐1107
FREDERICK W JESSOP                            980 SPRINGMILL ROAD                                                                                 MANSFIELD          OH    44906‐1556
FREDERICK W JOHNSON & MRS MERRIE LYNN JOHNSON 2943 OVERLOOK ROAD                                                                                  SILVER LAKE        OH    44224‐3015
JT TEN
FREDERICK W KLINE                             4386 ROHR RD                                                                                        ORION              MI    48359‐1932
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FREDERICK W KOCH & CARMELA KOCH JT TEN             3 GREEN HILLS RD                                                                                          LONG VALLEY        NJ    07853‐3030
FREDERICK W KUHLMAN                                187 TANNERS POND ROAD                                                                                     GARDEN CITY        NY    11530‐1034
FREDERICK W LAFFERT JR                             3 KINGS RD                                                                                                LYNNFIELD          MA    01940‐2225
FREDERICK W LAMBERT                                1408 N SHERMAN                                                                                            BAY CITY           MI    48708‐5467
FREDERICK W LINDSTROM & MARION LINDSTROM JT        301 HENLEY WAY                                                                                            PEACHTREE CITY     GA    30269‐2854
TEN
FREDERICK W LORD                                   325 LAUDHOLM F RD                                                                                         WELLS              ME    04090
FREDERICK W LUDWIG                                 2857 WESTMOOR RD                                                                                          OSHKOSH            WI    54904‐7607
FREDERICK W MILLER                                 37383 GOLFVIEW DR                                                                                         STERLING HEIGHTS   MI    48312‐2268

FREDERICK W NELSON                                 4368 PRIORWOOD ST SE                                                                                      PRIOR LAKE         MN    55372‐4403
FREDERICK W NEUMANN                                73 BISHOP LN                                                                                              MADISON            CT    06443
FREDERICK W PATTERSON & WINNIE P PATTERSON JT      5711 CORNICK RD                                                                                           NORFOLK            VA    23502‐2201
TEN
FREDERICK W PETERSON                               13450 W ST RD 32                                                                                          YORKTOWN           IN    47396‐9717
FREDERICK W PYEATT                                 106 BOOSTER ROAD                                                                                          OFALLON            IL    62269‐1711
FREDERICK W RICHARDS & CYNTHIA E RICHARDS JT TEN   21 KNOTTY PINE LANE                                                                                       CENTERVILLE        MA    02632‐2301

FREDERICK W RUPP                                   4418 CANYON CT NE                                                                                         ALBUQUERQUE        NM    87111‐3010
FREDERICK W SCHLACHTER                             2500 WINDWOOD DR                     APT 104C                                                             CHEYENNE           WY    82001‐7727
FREDERICK W SCHLENDER                              316 COLONY POINT DRIVE                                                                                    PUNTA GORDA        FL    33950‐6356
FREDERICK W SCHMID JR                              5348 NORTH STATE ROAD                                                                                     ORLEANS            MI    48865‐9698
FREDERICK W SEIDLING                               6233 WESTDALE DR                                                                                          GRAND BLANC        MI    48439‐8545
FREDERICK W SMITH JR                               DELAWARE HOSPITAL                    FT CHRONICALLY III         100 SUNNYSIDE ROAD                        SMYRNA             DE    19977‐1746
FREDERICK W STACK                                  6355 RICK RD                                                                                              UNIONVILLE         MI    48767‐9647
FREDERICK W STRISKO & MRS YOLANDA G STRISKO JT     58‐33 136TH ST                                                                                            FLUSHING           NY    11355‐5206
TEN
FREDERICK W THIEMAN CUST ANDREA M THIEMAN          205 W SWISSVALE AVE                                                                                       PITTSBURGH         PA    15218‐1632
UGMA PA
FREDERICK W TIBBETTS                               7263 N NICHOLS ROAD                                                                                       FLUSHING           MI    48433‐9261
FREDERICK W TICHANUK                               28751 HANGING MOSS LOOP                                                                                   WESLEY CHAPEL      FL    33543
FREDERICK W TODD                                   6 NEWELL ST                                                                                               CAMBRIDGE          MA    02140‐2604
FREDERICK W VADER                                  5975 TOWERLINE RD                                                                                         HALE               MI    48739‐9059
FREDERICK W VANDINE JR                             4576 CREEK VIEW DR                                                                                        HUDSONVILLE        MI    49426‐1904
FREDERICK W WALKER JR                              5555 DELMONTE APT 1103                                                                                    HOUSTON            TX    77056
FREDERICK W WASSMUNDT TR FREDERICK W               242 FOSTER DR #C                                                                                          WILLIMANTIC        CT    06226‐1538
WASSMUNDT TRUST UA 10/16/95
FREDERICK WALLACE PRELLE JR                        4400 POST OAK PKWY                   # 2550                                                               HOUSTON           TX     77027‐3421
FREDERICK WARD HOUSE                               PO BOX 304                                                                                                RICHFIELD SPRINGS NY     13439‐0304

FREDERICK WESTCOTT ANDERSON & MRS JAN W            8015 SW IOWA HILL RD                                                                                      CORNELIUS          OR    97113‐6030
ANDERSON JT TEN
FREDERICK WILLIAM ADDISON                          225 LAKESIDE OAKS CIRCLE                                                                                  LAKESIDE           TX    76135‐5206
FREDERICK WILSON & SHIRLEY JUNE WILSON JT TEN      7258 BALTUSROL DR                                                                                         NEW PORT RICHEY    FL    34654‐5903

FREDERICK WINTER & MRS DARLENE M WINTER JT TEN     3282 ELDERWOOD                                                                                            HOLLAND            MI    49424‐1119

FREDERICK WITT                                     PO BOX 38                                                                                                 CUDDEBACKVLLE      NY    12729‐0038
FREDERICK Y F WONG                                 1750 RIVERA ST                                                                                            SAN FRANCISCO      CA    94116‐1739
FREDERICKA SUE HAINES JORGENSEN                    2419 W LEWIS AND CLARK TRL                                                                                PHOENIX            AZ    85086‐2303
FREDERICO J THEMOTEO                               RUA APINAJES 235                     APT 112                    SAO PAULO‐SP BRAZI   BRAZIL
FREDERICO MARTINEZ                                 2785 CHURCHILL                                                                                            AUBURN HILLS       MI    48326‐2903
FREDERIK DE RICHTER                                GM BELGIUM N V                       NORDERLAAN 401 HAVEN 500   ANTWERPENB‐          GERMANY
FREDIA COWIE                                       2895 ROSEMARY                                                                                             SOUTHINGTON        OH    44470
FREDIA D BROOKS                                    5175 OSCEOLA DRIVE                                                                                        DAYTON             OH    45427‐2116
FREDIA LORRAINE WORDEN                             4043 S HEMLOCK LN                                                                                         MOUNT MORRIS       MI    48458‐9307
FREDIA M CROCKETT                                  6621 POINT OF WOODS                                                                                       STONE MOUNTAIN     GA    30087‐5504

FREDIE E TUNE                                      10449 LEWIS RD                                                                                            CLIO               MI    48420
                                               09-50026-mg                 Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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FREDIE L ONEAL                                      22074 BIRCH DR                                                                                 WOODHAVEN         MI    48183‐1522
FREDIE WARE JR                                      532 FIDDLERS CREEK                                                                             VALLEY CENTER     KS    67147
FREDIE WILLIAMS                                     1809 W HOME                                                                                    FLINT             MI    48504‐1688
FREDIE WILLIAMS & SHIRLEY J WILLIAMS JT TEN         1809 W HOME                                                                                    FLINT             MI    48504‐1688
FREDINARD PISCUNERE                                 12680 FM 2410‐20                                                                               BELTON            TX    76513‐7855
FREDLENE G ADKINS                                   21315 MCCOY RD                                                                                 FREEPORT          OH    43973‐9611
FREDLENE GOODMAN                                    427 MAY ST                                                                                     HAMLIN            WV    25523‐1441
FREDLIFF A BAKER JR                                 704 STIRLING                                                                                   PONTIAC           MI    48340‐3169
FREDONIA B HUTCHERSON                               213 PORTER PLACE                                                                               WEST PALM BEACH   FL    33409‐3711

FREDRIC A ALBRECHT                                  3912 N 68TH ST                                                                                 MILWAUKEE         WI    53216‐2012
FREDRIC B KESANEN                                   M26 BOX 185B                                                                                   EAGLE HARBOR      MI    49950‐0185
FREDRIC D KELLEY                                    7634 W MEAD RD                                                                                 ELSIE             MI    48831‐8729
FREDRIC DENTINGER                                   906 NEW HAVEN CT                                                                               CUPERTINO         CA    95014‐4023
FREDRIC E GRAY                                      3417 W CARPENTER RD                                                                            FLINT             MI    48504‐1253
FREDRIC F KAY                                       2621 E 4TH ST                                                                                  TUCSON            AZ    85716‐4417
FREDRIC F LANGLOTZ & SUSAN D LANGLOTZ JT TEN        34303 E SPENCER ROAD                                                                           OAK GROVE         MO    64075‐7246

FREDRIC H TUBBS                                     11854 CURWOOD DR                                                                               GRAND BLANC       MI    48439‐1158
FREDRIC IAN GREEN & AMY APPELL GREEN JT TEN         4 DARWOOD PLACE                                                                                HARTSDALE         NY    10530‐2918
FREDRIC J HERBOLD                                   8295 SW ERNST                                                                                  PORTLAND          OR    97225‐3851
FREDRIC JAMES ELLIOTT                               1905 E FIRST ST UNIT S                                                                         LONG BEACH        CA    90802‐6149
FREDRIC JON LOGAN                                   1075 SPACEPARK WAY                   #28                                                       MOUNTAIN VIEW     CA    94043‐1419
FREDRIC L ANTCZAK                                   7093 S HAWKINS RD                                                                              CHASE             MI    49623‐9712
FREDRIC L SINGER                                    3935 PROVIDENCE PL                                                                             FAIRFAX           VA    22031‐3407
FREDRIC LONDON                                      126 S PUEBLO ST                                                                                GILBERT           AZ    85233‐5922
FREDRIC M BUCHANAN                                  2943 WILSHIRE                                                                                  MARKHAM           IL    60426
FREDRIC P SPINDLER                                  W53N115 MCKINLEY CT                                                                            CEDARBURG         WI    53012‐2929
FREDRIC RAVIN                                       11 VERONICA CT                                                                                 SMITHTOWN         NY    11787‐1323
FREDRIC S KESSLER                                   33 HEMLOCK CIR                                                                                 CRANFORD          NJ    07016‐2045
FREDRIC S WESENBERG                                 516 WATER OAK RD.                                                                              VIRGINIA BCH      VA    23452
FREDRIC T GATES                                     104 E 55TH ST                                                                                  ANDERSON          IN    46013‐1742
FREDRIC V GRISWOLD                                  2131 GRAVEL CREEK ROAD                                                                         NORTH BRANCH      MI    48461‐9743
FREDRICA K WATSON                                   5453 E STATE ROAD 252                                                                          FRANKLIN          IN    46131‐8182
FREDRICA L NEHS                                     2029 N PARKER DRIVE                                                                            JANESVILLE        WI    53545‐0759
FREDRICK A BERGER                                   W1943 FABER LN                                                                                 MEDFORD           WI    54451
FREDRICK A BUTCHER                                  660 MIDWAY ST                                                                                  LEWISBURG         TN    37091‐4123
FREDRICK A MADDOCK                                  5206 OTTAWA STREET                                                                             BURTON            MI    48509‐2026
FREDRICK A MADDOCK & GLORIA J MADDOCK JT TEN        5206 OTTAWA STREET                                                                             BURTON            MI    48509‐2026

FREDRICK A MYERS                                    5230 ROSE CITY RD                                                                              LUPTON            MI    48635‐9725
FREDRICK A SCHUKNECHT                               435 MCINTOSH RD                                                                                ORMOND BCH        FL    32174‐5355
FREDRICK A TOWNSEND                                 4638 E HOLLY ST                                                                                PHOENIX           AZ    85008‐3212
FREDRICK A VOSS                                     4516 MARIGOLD AVE N                                                                            MINNEAPOLIS       MN    55443‐1548
FREDRICK ALAN JOHNSON                               9201 HAYES DR                                                                                  OVERLAND PARK     KS    66212‐4844
FREDRICK ALAN LINVILLE                              5831 HUDSON AVE                                                                                SAN BERNARDINO    CA    92404‐7506
FREDRICK C KELLOGG                                  2564 W PRICE R 4                                                                               ST JOHNS          MI    48879‐9271
FREDRICK D DARK                                     4714 N W FISK                                                                                  PARKVILLE         MO    64152
FREDRICK D JOHNSON JR                               2617 SHEFFIELD DR                                                                              INDIANPOLIS       IN    46229‐1428
FREDRICK D REGISTER                                 PO BOX 3053                                                                                    SOUTHFIELD        MI    48037‐3053
FREDRICK D SHEAHAN                                  G 2204 S DYE RD                                                                                FLINT             MI    48504
FREDRICK D WRIGHT & LYNELL MARY WRIGHT JT TEN       6331 OAK LEAF TRAIL                                                                            LINDEN            MI    48451‐8633

FREDRICK DAVENPORT                                  12011 CHESTERFIELD                                                                             CLEVELAND         OH    44108‐3930
FREDRICK E EVANS                                    314 W WITHERBEE ST                                                                             FLINT             MI    48503‐1072
FREDRICK E EVANS TOD ERICA Y EVANS SUBJECT TO STA   314 W WITHERBEE ST                                                                             FLINT             MI    48503‐1072
TOD RULES
FREDRICK E GILLILAND                                11121 EAST RIVER RD                                                                            COLUMBIA TWN      OH    44028‐9576
FREDRICK E MILLER & JACK D MILLER JT TEN            9721 REVERE WAY                                                                                INDIANAPOLIS      IN    46250
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FREDRICK E THOMPSON                                  203 E OTWAY ST                                                                                 ODESSA          MO    64076‐1119
FREDRICK EDWARDS                                     125 CAMBON DRIVE APT 5B                                                                        SAN FRANCISCO   CA    94132
FREDRICK G CLARK                                     8463 VALLEY FORGE DR                                                                           CADILLAC        MI    49601‐8948
FREDRICK G KLAES JR                                  191 MIRANDY RD                                                                                 ALGOOD          TN    38501
FREDRICK G VAN HORN                                  24050 GREENHILL RD                                                                             WARREN          MI    48091‐3303
FREDRICK GANTT HICKMAN                               104 SAVANNAH SQ                                                                                RIDGELAND       MS    39157‐9761
FREDRICK GEORGE MUNCHINGER JR                        2011 ROWLAND                                                                                   ROYAL OAK       MI    48067‐3538
FREDRICK H MEDENWALD                                 8405 COOPER LN                                                                                 ZIONSVILLE      IN    46077‐9360
FREDRICK H MEUTER & MRS PAULA E MEUTER JT TEN        10412 WARREN'S WAY                                                                             WANAQUE         NJ    07465

FREDRICK H NEITZKE                                   5515 N WOODBRIDGE RD                                                                           WHEELER         MI    48662‐9764
FREDRICK I NEEDLER & VIOLET J NEEDLER JT TEN         813 S BROADWAY                                                                                 PENDLETON       IN    46064‐9004
FREDRICK J BOLDT JR & MRS MARY LOUISE BOLDT JT       5099 CHESTERSHIRE DR                                                                           WEST BLOOMFIELD MI    48322‐1554
TEN
FREDRICK J BOLDT JR CUST ALEXA H BOLDT UGMA MI       5099 CHESTERSHIRE DR                                                                           WEST BLOOMFIELD MI    48322‐1554

FREDRICK J BOLDT JR CUST FREDRICK J BOLDT III UGMA   5099 CHESTERSHIRE DR                                                                           WEST BLOOMFIELD MI    48322‐1554
MI
FREDRICK J BOLDT JR CUST MAUREEN LOUISE BOLDT        5099 CHESTERSHIRE DR                                                                           WEST BLOOMFIELD MI    48322‐1554
UGMA MI
FREDRICK J CLOUS                                     PO BOX 1872                                                                                    SAGINAW         MI    48605‐1872
FREDRICK J DAYLEY                                    1213 VINCENT ST                                                                                VINTON          LA    70668‐4321
FREDRICK J FEATHERSTON                               2955 LYNN                                                                                      WHITE LAKE      MI    48386‐1430
FREDRICK J GANNON                                    109 HIAWATHA BLVD                                                                              LAKE HIAWATHA   NJ    07034‐2317
FREDRICK J GASTINEAU                                 405 CROSS CREEK WAY                                                                            WARNER ROBINS   GA    31088‐3243
FREDRICK J GUNN                                      22604 E 27TH ST                                                                                BLUE SPRINGS    MO    64015
FREDRICK J HEIMAN                                    5195 MILL WHEEL DR                                                                             GRAND BLANC     MI    48439‐4254
FREDRICK J RUTTERBUSH                                898 MALLOCK                                                                                    WHITE LAKE      MI    48386‐2940
FREDRICK J SANTELL                                   735 G P EASTERLY N E                                                                           CORTLAND        OH    44410
FREDRICK J WENDLING                                  4353 VOLKMER RD                                                                                CHESANING       MI    48616‐9729
FREDRICK K BROWN                                     1969 14TH ST NW                                                                                WINTER HAVEN    FL    33881‐1319
FREDRICK LEE THOMPSON                                6879E CLIFTON RD                                                                               ALBANY          IN    47320‐9765
FREDRICK M DICKISON                                  1829 LAKEWOOD DR                                                                               WILMINGTON      IL    60481‐1725
FREDRICK M OROZCO                                    349 HAYSLETT ST                                                                                BAKERSFIELD     CA    93307‐2831
FREDRICK M SHOOK                                     19360 UPPER MASSIE RD                                                                          CHASSELL        MI    49916‐9203
FREDRICK MYERS                                       7642 S 200 E                                                                                   MARKLEVILLE     IN    46056‐9651
FREDRICK R GRAMS                                     521 NORTH PEARL STREET                                                                         JANESVILLE      WI    53545‐2872
FREDRICK R PARSONS                                   108 HARTS HILL TER                                                                             WHITESBORO      NY    13492‐1600
FREDRICK R POSKIE & MARY L POSKIE JT TEN             11745 WILDWING                                                                                 PLYMOUTH        MI    48170
FREDRICK R ROTH                                      118 CHATFIELD AVE                                                                              BIGGS           CA    95917‐9704
FREDRICK R SIEPERT                                   405 E VALBETH DR                                                                               OAK CREEK       WI    53154‐3222
FREDRICK R SIEPERT & DONA J SIEPERT JT TEN           405 E VALBETH DRIVE                                                                            OAK CREEK       WI    53154‐3222
FREDRICK RIDLEY TR UA 03/06/07 FREDRICK S RIDLEY     3113 STATE ROAD 580 LOT APT 387                                                                SAFETY HARBOR   FL    34695
REVOCABLE TRUST
FREDRICK RUMERY                                      5375 E BRADEN RD                                                                               BYRON           MI    48418‐9758
FREDRICK SLUSHER                                     4501 N WHEELING AVE #7A‐210                                                                    MUNCIE          IN    47304‐1277
FREDRICK SPENCER                                     2205 LAFAYETTE ST                                                                              ANDERSON        IN    46012‐1639
FREDRICK W HARRIS                                    11691 RAID                                                                                     DETROIT         MI    48224‐1525
FREDRICK W HUMBURG & MRS MICHELINE HUMBURG           1271 SCENIC BROOK TR                                                                           CONYERS         GA    30094‐5670
JT TEN
FREDRICK W MARASUS                                   38206 CHARWOOD DRIVE                                                                           STERLING HTS    MI    48312‐1225
FREDRICK W RIVERA                                    36058 CHERRY ST                                                                                NEWARK          CA    94560‐1727
FREDRICK W SCHAFFRANEK                               2302 SILVERDALE AVE                                                                            CLEVELAND       OH    44109‐5519
FREDRICK W SCHWEER                                   580 BROEKER LN                                                                                 O FALLON        MO    63366‐2111
FREDRICK W STRICKLAND                                33 BUENA VISTA DR                                                                              RINGWOOD        NJ    07456‐2006
FREDRICK W WRIGHT III                                702 WOODCREST DR                                                                               SPRINGFIELD     OR    97477‐3645
FREDRICK WRIGHT COTTON                               211 S BUCKHOUT ST                                                                              IRVINGTON       NY    10533‐2208
FREDRICKA BORLAND                                    320 RIO GRANDE DR                                                                              MISSION         TX    78572‐7473
FREDRICKA JOAN ELLIS                                 1850 CHRISTAN RD                                                                               CHARLESTON      SC    29407‐3042
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FREDRICO ALVARADO                                  1627 WANSTEAD DR                                                                             HOLT           MI    48842‐2094
FREDRIK M BOCKMAN                                  BOX 519                                                                                      NOME           AK    99762‐0519
FREE & ACCEPTED MASONS OF NJ 1 ST JOHNS            C/O RAYMOND ERWINE                27 BEAVERBROOK LANE                                        DENVILLE       NJ    07834‐1304
FREEDA A WELLS                                     889 RUSH HENRIETTA TL RD                                                                     W HENRIETTA    NY    14586‐9538
FREEDA L AARON                                     1227 S CALUMET ST                                                                            KOKOMO         IN    46902‐1838
FREELAND ADKINS                                    13876 KAY ST                                                                                 PAULDING       OH    45879‐8863
FREELAND L GREEN                                   5806 LESLIE DRIVE                                                                            FLINT          MI    48504‐7058
FREELIN HOBBS                                      292 W TAYLOR SCHOOL RD                                                                       HAMILTON       OH    45013‐9647
FREEMAN B OVERTON                                  409 PLYMOUTH DR                                                                              DAVISON        MI    48423‐1727
FREEMAN B SWIFT                                    4116 PLAINVIEW DR                                                                            DES MOINES     IA    50311‐3523
FREEMAN CLARINGTON                                 4410 BURNS                                                                                   DETROIT        MI    48214‐1213
FREEMAN J DEITZ                                    139 WOODLAND DR                                                                              SOMERSET       KY    42501‐1351
FREEMAN J HUDGINS                                  2820 BELAND ST                                                                               KEEGO HARBOR   MI    48320‐1173
FREEMAN J STRATTON                                 1128 SPENCER DR                                                                              BROWNSBURG     IN    46112‐7712
FREEMAN O JESSE                                    1902 RING ST                                                                                 SAGINAW        MI    48602‐1187
FREEMAN PIERCE                                     25600 EDGEMONT DR                                                                            SOUTHFIELD     MI    48034‐2221
FREEMAN ROLLIN SMITH JR                            34 FENCE CREEK DR                                                                            MADISON        CT    06443‐3130
FREEMAN S SHARP CUST KARA MICHELLE SHARP UGMA 463 WEST WATER ST                                                                                 HARRISONBURG   VA    22801‐1912
MD
FREEMAN T BRADY                                    7095 DRIFTWOOD DR N                                                                          FENTON         MI    48430‐9045
FREEPORT LODGE 23‐A F & A M                        PO BOX 88                                                                                    FREEPORT       ME    04032
FREIDA A HAWKINS                                   2902 CLIFTON PARK TERRACE                                                                    BALTIMORE      MD    21213‐1135
FREIDA E WIDICK                                    BOX 222                                                                                      BENTON         KS    67017‐0222
FREIDA EVON SMITH                                  3736 NE ELLISON DR                                                                           LEES SUMMIT    MO    64064
FREIDA F FISCHER                                   158 ALTA VISTA WAY                                                                           DALY CITY      CA    94014‐1402
FREIDA SAVAGE                                      372 CHILLICOTHE ST                                                                           PLAIN CITY     OH    43064‐1228
FREIDA WALINSKI                                    511 INWOOD RD                                                                                LINDEN         NJ    07036‐5325
FREIGHTLINER CORPORATION                           ATTN JOANNE HANEY                 2701 NW VAUGHN ST SUITE 900                                PORTLAND       OR    97210‐5376
FREJA LODGE                                        ATTN ARNE GRAVERSGAARD            242 SAN BENANCIO CYN                                       SALINAS        CA    93908‐9179
FRELAN F FISHER                                    3 INDEPENDENCE WAY                                                                           MT BETHEL      PA    18343‐5011
FRELIN LEE KIMBERLIN                               13018 NABB NEW WASHINGTON RD W                                                               NABB           IN    47147‐9015
FRELON W JUSTICE                                   1436 CLARK RD                                                                                YPSILANTI      MI    48198‐3118
FREMONT B SCHROTH                                  4400 S M‐52                                                                                  OWOSSO         MI    48867‐9224
FREMONT EASTMAN                                    1505 WEST FIRST                                                                              ALEXANDRIA     IN    46001‐2109
FREMONT J MC KENRICK & MARGARET H MC KENRICK 601 N SPRUCE ST                                                                                    EBENSBURG      PA    15931‐1228
TEN ENT
FRENCHIE B WHITNEY                                 1529 SO MCKINLEY AVE                                                                         COMPTON        CA    90220‐3958
FRENCHIE RAY POYNTER                               4859 EAST KENTUCKY 8                                                                         VANCEBURG      KY    41179‐9315
FRIARS OF THE ATONEMENT GRAYMOOR                   OFFICE OF THE TREASURER GENERAL   PO BOX 300                                                 GARRISON       NY    10524‐0300
FRIEDA B DIEHL TOD LAURIE J SILVESTER SUBJECT TO   1094 ARROWHEAD DR                                                                            BURTON         MI    48509
STA TOD RULES
FRIEDA CARLSTROM                                   ATTN FREEDA TERRY                 34139 RD 124                                               VISALIA        CA    93291‐9514
FRIEDA COIL & JAMES W COIL JT TEN                  6253 CAPITAN DRIVE SE                                                                        GRAND RAPIDS   MI    49546‐6723
FRIEDA F HAMPTON                                   3858 JONES RD                                                                                NORTH BRANCH   MI    48461‐8930
FRIEDA FEURER                                      2609 QUAIL RUN DR                                                                            FAIRBORN       OH    45324
FRIEDA GEHRINGER                                   124 VICTORIA PARK                                                                            HOWELL         MI    48843‐1265
FRIEDA H HUBERTY                                   310 N ST MARKS AVENUE                                                                        CHATTANOOGA    TN    37411‐3434
FRIEDA H SPEER                                     BOX 426                                                                                      BOONEVILLE     NC    27011‐0426
FRIEDA LEPPLA                                      5217 NE 75TH ST                                                                              SEATTLE        WA    98115‐5211
FRIEDA LIEBOWITZ                                   5217 LA GORCE DR                                                                             MIAMI BEACH    FL    33140
FRIEDA LOUISE REDICKS & HAROLD OTHO REDICKS JT     820 N WALNUT                                                                                 SHELBYVILLE    IL    62565‐1120
TEN
FRIEDA M ACKLEY TICE                               1170 W MAIN ST                    FRNT                                                       STROUDSBURG    PA    18360‐1324
FRIEDA M DANIELS                                   336 SAWMILL LN                                                                               LINCOLN        CA    95648‐8132
FRIEDA M HAYES TR FRIEDA M HAYES LIV TR UA 10/6/99 91 THORPE ST                                                                                 PONTIAC        MI    48341‐1369

FRIEDA M KAPPELER                               W 168 N 11453 EL CAMINO DR                                                                      GERMANTOWN     WI    53022‐3233
FRIEDA M TALBOT                                 APT 507                              4901 WORNALL ROAD                                          KANSAS CITY    MO    64112‐2424
FRIEDA MAE BOVARD & TED LEE BOVARD JT TEN       6475 NE 1ST LANE                                                                                OCALA          FL    34470‐1828
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FRIEDA SILVERBLATT                                 C/O FLORENCE BIALES                 308 BARRINGTON RIDGE                                      PAINESVILLE        OH    44077‐1506
FRIEDA SZCZESNIAK & LELAND E SZCZESNIAK JT TEN     1200 33RD ST                                                                                  BAY CITY           MI    48708‐8707

FRIEDA SZCZESNIAK & NANCY BEATTIE JT TEN           1200 33RD ST                                                                                  BAY CITY           MI    48708‐8707
FRIEDA SZCZESNIAK & THOMAS F SZCZESNIAK JT TEN     1200 33RD ST                                                                                  BAY CITY           MI    48708‐8707

FRIEDA T MOORE & JAY E FRIDAY JT TEN               347 OLD ELLIJAY ROAD EAST                                                                     DAHLONEGA          GA    30533‐4860
FRIEDA V SPIRITO                                   847 SMITH ST                                                                                  PROVIDENCE         RI    02908‐2852
FRIEDA W BURKHARDT & JOHN C BURKHARDT JT TEN       529 PARKER AVE S                                                                              MERIDEN            CT    06450‐5941

FRIEDA W LANDIS                                    3807 HOLLANSBURG SAMPSON RD                                                                   GREENVILLE         OH    45331‐8712
FRIEDEL M ACKER                                    564 WALLACE ST                                                                                BIRMINGHAM         MI    48009‐1605
FRIEDEL M ACKER & JEAN O ACKER JT TEN              564 WALLACE ST                                                                                BIRMINGHAM         MI    48009‐1605
FRIEDEL W HELMS TR UA 10/23/92 FRIEDEL W HELMS     3416 ORCHARD TRAIL                                                                            TOLEDO             OH    43606‐1242
TRUST
FRIEDRICH M SPES                                   42276 POND VIEW DR                                                                            STERLING HEIGHTS   MI    48314‐3854

FRIENDLY CORNERS                                   ATTN SUSAN HUGHES                   3340 15TH ST                                              FREDERIC           WI    54837‐5620
FRIENDLY CORNERS 4‐H CLUB                          3340 15TH STREET                                                                              FREDERIC           WI    54837‐5620
FRIENDS OF THE UUA                                 25 BEACON ST                                                                                  BOSTON             MA    02108‐2824
FRIENDS OF UNH HOCKEY                              ATTN WILLIAM M HOGINSKI TREASU      145 MAIN ST                                               DURHAM             NH    03824‐2500
FRIENDSHIP HOME INC                                6412 W 90 S                                                                                   KOKOMO             IN    46901‐8713
FRIENDSVILLE FRIENDS MEETING                       BOX 67                                                                                        FRIENDSVILLE       TN    37737‐0067
FRITZ FURNITURE INC                                827 PARK AVE                                                                                  ACKLEY             IA    50601‐1648
FRITZ J GROENKE                                    42256 CRESTVIEW CR                                                                            NORTHVILLE         MI    48167‐2205
FRITZ K LAISTNER                                   76 FREEMAN RD                                                                                 WILLIAMSVILLE      NY    14221‐7204
FRITZ POHLER                                       21881 ROBINHOOD AVE                                                                           FAIRVIEW PK        OH    44126‐2621
FRITZ ROMETSCH                                     115 VIENTO DR                                                                                 FREMONT            CA    94536‐4458
FRITZI A HEWSON                                    5505 E 300 N GREENFIELD                                                                       GREENFIELD         IN    46140
FRIZZELL C SUTHERLIN                               2208 WALNUT ST                                                                                SAGINAW            MI    48601‐2035
FRIZZELL MACON                                     330 BERGEN ST                                                                                 PLAINFIELD         NJ    07063‐1330
FRONDA SHARP                                       816 E CHERRY ST                                                                               PERRY              FL    32347
FROSENI PRAPPAS POPE                               300 WEST FOREST WAY                                                                           CONROE             TX    77304‐1809
FROSWA BOOKER                                      2602 HAMILTON DR                                                                              GRAND PRAIRIE      TX    75052‐4012
FROYLAN M GARCIA                                   1928 S SANGAMON ST                                                                            CHICAGO            IL    60608‐3434
FROYLAN M HEREDIA                                  2255 64TH AVE                                                                                 OAKLAND            CA    94605‐1940
FRYDERYK J KAPINOS & FRANCES M KAPINOS JT TEN      103 LAUREL ROAD                                                                               WEST SPRINGFIELD   MA    01089‐3003

FU MIN YUAN                                        45632 HOLMES                                                                                  CANTON            MI     48187‐1615
FUAD SABBAGH                                       11313 MAIDEN DR                                                                               BOWIE             MD     20720‐3571
FUHAN TANG & HAIPING Z TANG JT TEN                 3 JERYL ST                                                                                    EATONTOWN         NJ     07724‐1908
FUHSI T LING                                       1909 VIA CORONEL                                                                              PALOS VERDES ESTS CA     90274‐2016

FUJI TSUMAGARI KATAYAMA                              6726 16TH AVE S                                                                             MINNEAPOLIS        MN    55423‐2726
FULTON C ROACH                                       7111 IOWA ST                                                                                HAMTRAMCK          MI    48212‐1425
FULTON G MAUTER                                      90 COUNTY RD 1316                                                                           CULLMAN            AL    35058‐2193
FULTON HOLIFIELD                                     19490 ROBSON ST                                                                             DETROIT            MI    48235‐1953
FULTON J BEST                                        ATTN WINNIFRED M BEST             533 LEIGHLAND DR       WATERLOO ON      N2T 2H4 CANADA
FULTON J LAKE                                        2284 S DYE RD                                                                               FLINT              MI    48532‐4126
FULTON J PICETTI TR FULTON J PICETTI LIVING TRUST UA 91 BLOSSOM LANE                                                                             HOLLISTER          CA    95023‐9685
09/03/85
FULTON S PURCELL                                     5539 RT 6 ST RT 247                                                                         HILLSBORO          OH    45133
FULTON SMITH JR                                      23308 REYNARD DR                                                                            SOUTHFIELD         MI    48034‐6924
FULVIO T ZINGARO                                     37 CROCKER MANSION DR                                                                       MAHWAH             NJ    07430‐2547
FUMI FUKUNAGA                                        1234 MEADOWBROOK AVE                                                                        LOS ANGELES        CA    90019‐2869
FUNG O CHAM & KAR W CHAM JT TEN                      2828 FOWLER DR                                                                              WILLOUGHBY HILLS   OH    44094‐8433

FURMAN C STOOP JR                                  7 DARBY CT                                                                                    TRENTON            NJ    08628‐3206
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FURMAN G MAULDIN & HAZEL B MAULDIN TR MAULDIN 102 NEW BROOKLAND PL                                                                              WEST COLUMBIA     SC    29169‐4707
FAM TRUST UA 01/31/95
FURST STERN FEL FAMILY INVESTORS FUND          7564 PIRLOT PL                                                                                   LONE TREE         CO    80124‐9782
FURTADO CORPORATION PROFIT SHARING PLAN        ATTN DONALD A FURTADO ADMN             PO BOX 1431                                               CHARLESTON        SC    29402‐1431
FUSAYE O PECK                                  20849 SATINWOOD DRIVE                                                                            SAUGUS            CA    91350‐1954
FUSAYE TAMURA                                  591 AKOLEA STREET                                                                                WAILUKU           HI    96793
G A BENZEE                                     100 CAROL LANE                                                                                   ELMA              NY    14059‐9749
G A SHEPPARD                                   4401 PAUL CT                                                                                     AUBURN            CA    95602‐8829
G A SUTPHEN & SUSAN SUTPHEN JT TEN             18012 E LAXFORD RD                                                                               AZUSA             CA    91702‐5814
G ADELAIDE DIETZ & ALEX E DIETZ JT TEN         1508 MT HOPE AVE                                                                                 POTTSVILLE        PA    17901‐1413
G ALBERT STEVENSON & MARY ANN STEVENSON JT TEN 6210 LAKOTA DR                                                                                   CINCINNATI        OH    45243‐2934

G BERNARD CAGE JR                                19749 WARRINGTON DRIVE                                                                         DETROIT           MI    48221‐1824
G BIRCH JR                                       2480 GIBBS RD                                                                                  JOHNS ISLAND      SC    29455‐8019
G BRANT PERRY                                    PO BOX 162                                                                                     ODESSA            DE    19730‐0162
G BRENT G GEIGER CUST ZACHARY G GEIGER UNDER     6086 WICLIF ST NE                                                                              CANTON            OH    44721
THE OH TRAN MIN ACT
G BRIEN RALSTON                                  18840 RIVERSIDE DRIVE                                                                          BEVERLY HILLS    MI     48025‐3061
G BURTON BLOCH CUST JEFFREY WILLIAM BLOCH UGMA 515 N TEJON ST APT 1                                                                             COLORADO SPRINGS CO     80903‐1138
WI
G BURTON DOWNIE                                  7053 TAFT CT                                                                                   ARVADA            CO    80004‐2543
G CARLO CIAMPAGLIA                               372 ROCHELLE AVE                                                                               ROCHELLE PARK     NJ    07662‐3812
G CHRISTOPHER FOGWELL JR CUST GEORGE C FOGWELL 22 SPRINGLEA LANE                                                                                CHESTER SPRINGS   PA    19425
UTMA PA
G D ANDREWS                                      9417 CONGO DR                                                                                  SAINT LOUIS       MO    63123‐4430
G D BROWN                                        163 CLAREMONT AVE                                                                              MONTCLAIR         NJ    07042‐3509
G D COOPER                                       1849 BLUE PINE LN                                                                              INDIANAPOLIS      IN    46231‐4299
G D NICHOLS                                      43780 MEDEA DR                                                                                 CLINTON TWP       MI    48036‐1299
G DALE STARKS & JANET W STARKS JT TEN            6324 CONGRESS DR                                                                               PENDLETON         IN    46064‐8509
G DANIEL POTTS & LOIS H POTTS JT TEN             2177 MORNINGSIDE                                                                               EMPORIA           KS    66801‐5436
G DANIEL WHITTAKER TOD DIXIE J WHITTAKER SUBJECT 1746 COLE BLVD                       STE 225                                                   GOLDEN            CO    80401‐3208
TO STA TOD RULES
G DAVID HAMILTON                                 1131 SUNSET BOULEVARD                                                                          MANSFIELD         OH    44907‐2336
G DAVID METIER                                   15150 SW OPAL DR                                                                               BEAVERTON         OR    97007‐8771
G DICK KERR                                      14135 ISLAND LAKE RD                                                                           CHELSEA           MI    48118‐9579
G DIRK BUSSE                                     PO BOX 787                                                                                     WESTFIELD         NJ    07091‐0787
G DONALD MURRAY III                              WILD HORSE VALLEY RANCH              BOX 126                                                   MAPA              CA    94559‐0126
G DOS SANTOS                                     22 BRETTON RD                                                                                  YONKERS           NY    10710‐4124
G DOUGLAS MACKEY                                 77 WOODLAND CIRCLE                                                                             HIGHLANDS RANCH   CO    80126‐3114

G DUANE KEISLING                                 4802 BROOKHAVEN DRIVE                                                                          KOKOMO            IN    46901‐3608
G E MACHAJ & L R MACHAJ TR MACHAJ LIVING TRUST   726 CUTTER LN                                                                                  ELK GROVE VLG     IL    60007‐6901
UA 05/29/02
G E MURDERS & WANDA MURDERS JT TEN               BOX 2396                                                                                       RATCLIFF          TX    75858‐2396
G E SHAW                                         14710 CHANT                                                                                    SAN ANTONIO       TX    78248‐1109
G EDDI KALAN                                     6605 RIDGEMONT DRIVE                                                                           DALLAS            TX    75214‐2254
G EDGAR CONLEY JR                                3500 HILLSTONE COURT                                                                           ATLANTA           GA    30319‐1919
G EDWARD COOKE                                   112 BONNAVENTURE PL                                                                            NASHVILLE         TN    37205‐4440
G EDWARD MILLER JR                               8 REDWING DR                                                                                   LUGOFF            SC    29078
G EDWARD R STILES                                301 CAROLINE ST                                                                                ASHLAND           VA    23005‐1602
G ERNST                                          24200 CLEMATIS DRIVE                                                                           GAITHERSBURG      MD    20882‐3819
G EUGENE ISAAK                                   425 EAST YVON DR                                                                               TUCSON            AZ    85704‐5231
G FRASER WILSON                                  9 LIMEHOUSE ST                                                                                 CHARLESTON        SC    29401‐2305
G FULLMAN                                        1836 ENSIGN CT                                                                                 TOMS RIVER        NJ    08753‐3102
G G COLUMBUS                                     711 S MAIN ST                                                                                  STEWARTSVILLE     NJ    08886‐2545
G G GRAY                                         636 ST DENNIS ST                                                                               ST JAMES          MO    65559‐1537
G GORDON JACKSON                                 RFD #1 BOX 128                       POND RD                                                   WAYNE             ME    04284‐9702
G GREGORY TAUBENECK                              1049 GREENWOOD                                                                                 WILMETTE          IL    60091‐1753
G H SMITH                                        6521 N ANN ARBOR TER                                                                           OKLAHOMA CITY     OK    73132‐7772
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G H STAUB                                          5864 COUNTY RD 33                                                                              CANANDAIGUA      NY    14424
G HAMILTON SCOTT                                   406 FAUQUIER ST                                                                                FREDERICKSBURG   VA    22401‐3716
G HARRY WALKER & ANN H WALKER JT TEN               FORREST ST                                                                                     LOUISVILLE       GA    30434
G HENRY TURRELL                                    PO BOX 277                                                                                     WYALUSING        PA    18853‐0277
G HOLLAND VANVALKENBURGH & ANNETTE                 P O BO X542                                                                                    GEORGETOWN       DE    19947
VANVALKENBURGH JT TEN
G HOWARD PETERSON                                  918 BIRCHWOOD DR                                                                               SYCAMORE         IL    60178‐1607
G J DEPALMA                                        624 FAIRLAWN AVE                                                                               PEEKSKILL        NY    10566‐5408
G J ERNST                                          24200 CLEMATIS DRIVE                                                                           GAITHERSBURG     MD    20882‐3819
G J MCMULLEN JR & KAREN E MCMULLEN JT TEN          21724 E VALLEY WOODS                                                                           BIRMINGHAM       MI    48025‐2637
G J MEARS                                          35861 SPRUCE ST                                                                                NEWARK           CA    94560‐1037
G JAMES NOVAK                                      PO BOX 42458                                                                                   LAS VEGAS        NV    89116‐0458
G JAY CHRISTENSEN                                  8912 NESTLE AVENUE                                                                             NORTHRIDGE       CA    91325‐2730
G JEAN CICCHETTI                                   4390 RAYCO DR                                                                                  METAMORA         MI    48455
G JEAN SCHLAACK TR G JEAN SCHLAACK LIVING TRUST    1005 PINE ST                                                                                   CHESANING        MI    48616‐1066
UA 10/21/95
G JEANETTE AKREHAVN                                10 6TH AVE N                                                                                   FARGO            ND    58102‐3802
G JOAN P THOMPSON                                  28 KENT COURT                                                                                  LINCOLNSHIRE     IL    60069‐3423
G JOHN MESSER                                      5020 SPRINGWOOD DRIVE                                                                          RALEIGH          NC    27613‐1035
G JOHN TOTH                                        7707 SORBETE DR                                                                                HOUSTON          TX    77083‐3683
G JOSEPH MULICK                                    8206 ROCKY SPRINGS ROAD                                                                        FREDERICK        MD    21702‐2380
G K DAHMEN                                         1501 BEACHCOMBER DR                                                                            SEAL BEACH       CA    90740‐5735
G K HAWTHORNE                                      151 HOLLY HEDGES DR                                                                            FLORENCE         MS    39073‐8820
G KAY GORSUCH                                      14 GORSUCH ST APT 1                                                                            EVERETT          PA    15537
G KEITH WEST                                       1335 OKLAHOMA STREET                                                                           WATERFORD        MI    48327‐3342
G L BARNES                                         222 COKE RD                                                                                    BYHALIA          MS    38611‐9660
G L CROCKER                                        437 JACOBS PLACE DR                                                                            SAINT PETERS     MO    63376‐7794
G L HALL                                           PO BOX 441                                                                                     LENOIRCITY       TN    37771‐0441
G L MOORE                                          780 SUNDANCE CIR                     OSHAWA ON                               L1J 8B6 CANADA
G L PORTER                                         5502 S WASHINGTON AVE                                                                          LANSING          MI    48911‐3636
G L THOMAS                                         PO BOX 19284                                                                                   JEAN             NV    89019‐9284
G L WRIGHT                                         565 SAGEBRUSH DR                                                                               CORRALES         NM    87048‐8548
G LEE BURNS JR                                     1116 EDINBURGH STREET                                                                          SAN MATEO        CA    94402
G LEIGH PITTROFF                                   12923 IRA STATION RD                                                                           MARTVILLE        NY    13111‐3148
G LEONARD TEITELBAUM                               4 SHARON LANE                                                                                  HOLMDEL          NJ    07733‐2110
G LEONARD TEITELBAUM & HOWARD S TEITELBAUM JR      4 SHARON LANE                                                                                  HOLMDEL          NJ    07733‐2110
JT TEN
G LIONEL CARTER & IRMA M CARTER JT TEN             1621 CLEVELAND ST                                                                              EVANSTON         IL    60202‐2001
G LOUISE WILLIAMS TR G LOUISE WILLIAMS TRUST UA    2230 EASTVIEW DR                                                                               MURFREESBORO     TN    37128
02/21/91
G LYNN WAX                                         9513 OVERHILL AVE                                                                              MORTON GROVE     IL    60053‐1019
G M SCHRADER                                       7 KIMBERLY LN                                                                                  ST PETERS        MO    63376‐2104
G MALCOLM TREON                                    10600 PUTNAM ROAD                                                                              ENGLEWOOD        OH    45322‐9706
G MASON                                            PO BOX 1402                                                                                    RED OAK          TX    75154‐1502
G MASON LANDIS JR                                  1317 WEST 55TH ST                                                                              MARION           IN    46953‐5753
G MAX THACKERY TR UA 08/20/96 MARY S THACKERY      1856 WESTBROOK RD                                                                              DAYTON           OH    45415
TRUST
G MICHAEL DAVIS                                    707 E UNICON ST                                                                                GREENTOWN        IN    46936
G MICHAEL KOPETZ                                   4612 BUTLER DR                                                                                 DECATUR          IL    62526‐1112
G MICHAEL ORTHAUS                                  137 CHESTNUT ST                      PO BOX 185                                                BECHTELSVILLE    PA    19505‐0185
G MICHAEL SCHMIDT III & ANDREW S ELDER JT TEN      635 E BISHOP ST                                                                                BELLEFONTE       PA    16823

G MICHAEL SCHMIDT III CUST ANDREW S ELDER UTMA     635 E BISHOP ST                                                                                BELLEFONTE       PA    16823
PA
G MICHAEL SCHMIDT III CUST D SCOTT ELDER JR UTMA   635 E BISHOP ST                                                                                BELLEFONTE       PA    16823
PA
G MICHAEL SILBERBACH                               1980 S GLENMORRIE DRIVE                                                                        LAKE OSWEGO      OR    97034‐6342
G MICHAEL WILLIAMS                                 820 W WALNUT                                                                                   LODI             CA    95240‐3305
G NANCY WEEKS                                      226 MICHIGAN AVE                                                                               SANDUSKY         OH    44870‐7330
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G NEVILLE ROBSON                                18 PRINCEWAY DR                        ST CATHARINES ON                        L2N 2X6 CANADA
G NEVILLE ROBSON                                18 PRINCEWAY DR                        ST CATHARINES ON                        L2N 2X6 CANADA
G NEVILLE ROBSON                                18 PRINCEWAY DR                        ST CATHERINES ON                        L2N 2X6 CANADA
G P LAVAS                                       22819 ELM AVE                                                                                    TORRANCE          CA    90505‐2927
G P MAUREEN CUNNINGHAM                          4043 CINNAMON DR                                                                                 WEST SALEM        OH    44287
G P RUSTEMEYER                                  2822 CHERRY POINT                                                                                MARYLAND HTS      MO    63043‐1708
G PATRICIA BRACKETT                             11000 BERRY RD                                                                                   WALDORF           MD    20603‐3989
G PATRICK SEERY                                 2432 GRASSROOTS WAY                                                                              TALLAHASSEE       FL    32311‐9012
G PETER MURPHY                                  34 CHICKERING RD                                                                                 SPENCER           MA    01562‐2814
G PETER VON ESCH & CELINE B VON ESCH JT TEN     6295 PALM VISTA ST                                                                               PORT ORANGE       FL    32128‐6957
G PRIMAVERA                                     30 WEST ELM ST                                                                                   LINDEN            NJ    07036‐4114
G R BEYER                                       432 MANG                                                                                         KENMORE           NY    14217‐2511
G R CARMACK & KATHERINE CARMACK JT TEN          C/O GUFFEY                             7221 MISSION RD APT 206                                   PRAIRIE VILLAGE   KS    66208‐3016
G R FELTNER                                     3807 JEWELL ST                                                                                   MIDDLETOWN        OH    45042
G R GIBERSON & MRS JOYCE GIBERSON JT TEN        2610 JUDD ST SE                                                                                  LACEY             WA    98503‐3694
G R SLAYMAN                                     280 KIBBEE RD                                                                                    MCDONOUGH         GA    30252‐3916
G RAY HARLOW & MRS DONNA R HARLOW JT TEN        513 WOODHILL CT                                                                                  GRAPEVINE         TX    76051‐4491
G RAYMOND CUMBAA TR UA 09/19/2000 JAY CUMBAA    225 KIRKBRAE RD                                                                                  KENNET SQ         PA    19348
REVOCABLE LIVING TRUST
G REDEEMER JR                                   P O 1972                                                                                         SAGINAW           MI    48605‐1972
G RICHARD FESTER                                2208 MARILYN DR                                                                                  JEFFERSON CITY    MO    65109‐0929
G ROBERT DINTAMAN                               104 S CENTRE ST                                                                                  FRACKVILLE        PA    17931‐1604
G ROBERT PITTARD JR                             820 EAST MARKET ST                                                                               GEORGETOWN        DE    19947‐2224
G ROBERT SCHIFFHAUER                            346 EAST WATER STREET                                                                            HUGHESVILLE       PA    17737‐1706
G RODNEY EIKENBERRY                             30808 DOGWOOD DR                                                                                 LAUREL            DE    19956‐3942
G RONALD CARAS JR                               219 KINGSLAND RD                                                                                 LANDING           NJ    07850‐1114
G RONALD PIGG CUST CATHLEEN W PIGG UGMA VA      85 LONGWOOD CT                                                                                   STANLEYTOWN       VA    24168‐3008

G RUSSELL REDFEARN                              3613 S BANANA RIVER BLVD                                                                         COCOA BEACH       FL    32931‐4186
G S HARRISON CUST ALBERT R HARRISON UGMA NY     2119 BLUEBELL DRIVE                                                                              LIVERMORE         CA    94550‐1005

G S MOORE                                        10580 LOIS LN                                                                                   HILLSBORO         OH    45133‐9764
G STEVEN KOHNLE                                  13004 W 121ST TERR                                                                              OVERLAND PARK     KS    66213‐2281
G SUZANNE CAVANESS                               6819 SPARKMAN ST                                                                                TAMPA             FL    33616‐2544
G T KOWALSKI                                     548 MIAMI RD                                                                                    SCHERERVILLE      IN    46375‐1730
G T MERRILL                                      1631 LAKE DR APT 52                                                                             HASLETT           MI    48840‐8448
G THOMAS GOUDEY                                  2600 MASON HOLLAR RD                                                                            MEBANE            NC    27302‐6911
G THORNTON‐PICKENS                               4228 PENROSE ST                                                                                 SSAINT LOUIS      MO    63115‐3012
G V JACKSON                                      119 JACKSON RD                                                                                  VILONIA           AR    72173‐9828
G V LANGLEY                                      1084 W STANLEY RD                                                                               MOUNT MORRIS      MI    48458‐2330
G VICTOR TUTAN                                   2900 S W 28TH TERRACE                                                                           MIAMI             FL    33133‐3766
G VINCENT FERRARESE & BARBARA A FERRARESE JT TEN 7114 NORTHLAND DR                                                                               ROCKFORD          MI    49341‐8800

G W BAILEY                                      5955 OAK RD                                                                                      DORAVILLE         GA    30340‐1607
G W COULSON                                     10417 SKILES AVE                                                                                 KANSAS CITY       MO    64134‐2063
G W MCFRY                                       PO BOX 363                                                                                       PIKETON           OH    45661‐0363
G W RUSSELL JR                                  19263 LENORE                                                                                     DETROIT           MI    48219‐4669
G W STANDIFORD                                  404 TREELINE DR                                                                                  BRANDON           MS    39042‐4020
G WALTER QUILLIN & ELAINE M QUILLIN JT TEN      535 MILITARY EAST                                                                                BENICIA           CA    94510‐3517
G WARREN HOKE                                   252 MILLER ST                                                                                    WINCHESTER        VA    22601
G WATSON                                        4340 HIDDEN VALLEY DR                                                                            COLLEGE PARK      GA    30349‐1839
G WAYNE MC KALLIP                               909 JUDIE LANE                                                                                   AMBLER            PA    19002‐2623
G WILLIAM GREGORY                               8A GAYLE RD                                                                                      SKANEATELES       NY    13152‐1306
G WILLIAM LEMBECK III                           C/O KAY NAVRATIL LEMBECK ATTY          49 HAMPTON ST                                             SAYVILLE          NY    11782‐3205
G WILSON                                        88 DOBBS FERRY RD                                                                                WHITE PLAINS      NY    10607‐2005
G WITHERSPOON                                   444 S 10TH ST                                                                                    SAGINAW           MI    48601‐1943
G WOODS JR & BARBARA S WOODS TR UA 02/23/89 G B 1665 PLACENTIA AVE                                                                               COSTA MESA        CA    92627‐4311
WOODS TRUST
G X ROMERO                                      403 E SUMMIT ST                                                                                  DONIPHAN          MO    63935‐1369
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GABE A AZZAM                                          838 BLUE FALLS PL                                                                              RENO             NV    89511‐1019
GABE FARRELL JR                                       9226 DAUGHERTY MARKS RD                                                                        HAMERSVILLE      OH    45130‐8728
GABE FLESER                                           3718 SE LONG ST                                                                                PORTLAND         OR    97202‐4042
GABE R BUIS & HILDY F BUIS TR GABE R BUIS & HILDY F   1343 PARK GARDEN LANE                                                                          RESTON           VA    20194‐2016
BUIS DECLARATION
GABI KIGLE‐BOECKLER                                   9104 GUILFORD RD                                                                               COLUMBIA         MD    21046
GABINO GOMEZ                                          2729 S PULASKI RD                                                                              CHICAGO          IL    60623‐4412
GABINO P RUIZ                                         326 N CATHERINE                                                                                LANSING          MI    48917‐2930
GABOR ESSEK                                           3784 MCCANDLESS RD                                                                             COLUMBIA         TN    38401‐8425
GABOR FEOVENYESSY                                     LORANTTFFY CARE CENTER               2631 COPLEY RD                                            AKRON            OH    44321‐2107
GABOR J TUBA & KATHLEEN G GARLICKI JT TEN             3334 5TH                                                                                       WYANDOTTE        MI    48192‐6211
GABRIEL A EDWARDS                                     PO BOX 7864                                                                                    CHICAGO          IL    60680‐7864
GABRIEL A FARKAS                                      6354 VERSAILLES ROAD                                                                           LAKEVIEW         NY    14085‐9550
GABRIEL A IMBEMBA                                     7 PLOWSHARE COURT                                                                              MARLBORO         NJ    07746‐2308
GABRIEL B GACAYAN                                     691 SCIROCCO DR                                                                                YUBA CITY        CA    95991‐7574
GABRIEL BITCAS                                        8771 MARDIGRAS DR                                                                              HUBER HEIGHTS    OH    45424‐1039
GABRIEL D OFIESH & BESS H OFIESH JT TEN               4031 27TH RD N                                                                                 ARLINGTON        VA    22207‐5209
GABRIEL E PIRO & PATRICIA A PIRO JT TEN               265 SUNRISE HWY                      STE1‐313                                                  ROCKVILLE CTR    NY    11570‐4912
GABRIEL ENRIQUE SANCHEZ                               17915 W 29TH CT                                                                                MIRAMAR          FL    33029‐5504
GABRIEL F CRIBARI & GERALDINE T CRIBARI JT TEN        13108 WILDFLOWER PL                                                                            JACKSONVILLE     FL    32246

GABRIEL G HLUCHAN                                     3026 YO‐HUBBARD RD                                                                             YOUNGSTOWN       OH    44505‐2342
GABRIEL G RUIZ                                        2883 W PLEASANT CT                                                                             RIALTO           CA    92376‐7250
GABRIEL GAUDIO                                        13 TULIP RD                                                                                    MAHOPAC          NY    10541‐3725
GABRIEL H GLUCK                                       225 MIDWOOD PL                                                                                 WESTFIELD        NJ    07090‐2509
GABRIEL H RODRIGUEZ                                   8568 HASTY AVE                                                                                 PICO RIVERA      CA    90660‐5551
GABRIEL IOVINO                                        308 FIELDCREST ST                                                                              HARTSELLE        AL    35640‐6033
GABRIEL J CUTRI & NEVA M CUTRI JT TEN                 67880 FOOTHILL RD                                                                              CATHEDRAL CITY   CA    92234‐2432
GABRIEL J GONZALES                                    4036 N WHEELEY                                                                                 KANSAS CITY      MO    64117
GABRIEL J POLETTA                                     61 STONE FENCE CIR                                                                             ROCHESTER        NY    14626‐3167
GABRIEL KING ANDREWS                                  PO BOX 1508                                                                                    CRANBERRY TWP    PA    16066
GABRIEL KIRCHNER                                      10215 E PLACITA CRESTA VERDE                                                                   TUCSON           AZ    85749‐9536
GABRIEL L GUTIERREZ                                   704 ESCUELA ST                                                                                 SAN DIEGO        CA    92102‐3726
GABRIEL L MC CLENDON                                  4343 COLUMBIA ST                                                                               GRAND PRAIRE     TX    75052‐3432
GABRIEL M LIEGEY JR                                   31 MOUNTAIN VIEW DR                                                                            SWANTON          VT    05488‐3011
GABRIEL M MIRANDA                                     15265 CENTRAL AVE                                                                              SAN LEANDRO      CA    94578‐3932
GABRIEL MARIN                                         PO BOX 252                                                                                     WENTZVILLE       MO    63385‐0252
GABRIEL N NAGY                                        418 POPLAR AVE                                                                                 ROYAL OAK        MI    48073‐5114
GABRIEL P RICCIO & NANCY C RICCIO JT TEN              PO BOX 257                                                                                     OLCOTT           NY    14126‐0257
GABRIEL PATALANO                                      122 POINT FOSDICK CIR NW                                                                       GIG HARBOR       WA    98335‐7818
GABRIEL PERZELY & MRS MARION PERZELY JT TEN           242 VERNON AVE                                                                                 PATERSON         NJ    07503‐1523
GABRIEL R CONTE & MARY JANE CONTE JT TEN              305 EVERGREEN ST                                                                               NEW CUMBERLAND   PA    17070‐1325

GABRIEL RAMANT & MARGARET RAMANT JT TEN               8157 HIDDEN HILLS DR                                                                           SPRING HILL      FL    34606‐7228
GABRIEL TIRPAK                                        354 MONASTERY LANE                                                                             MATAWAN          NJ    07747‐6600
GABRIEL TORRES & STACY TORRES JT TEN                  6225 CANTERBURY DR                   UNIT 205                                                  CULVER CITY      CA    90230
GABRIEL W SKODA                                       744 N 75TH ST                                                                                  SEATTLE          WA    98103‐4721
GABRIELA M STAN                                       78 LAWERENCE DR #709                                                                           WHITE PLAINS     NY    10603‐1501
GABRIELA MARIE SANCHEZ                                149 DAFFODIL TRL                                                                               ROCHESTER        NY    14626‐4728
GABRIELA R HANACHEK                                   505 HERDA AVENUE                                                                               TWIN LAKES       WI    53181‐9692
GABRIELE E DUCK                                       5629 S LAKESHORE DR                                                                            SHREVEPORT       LA    71119‐4005
GABRIELE GUADAGNOLI                                   1361 CONCORD ST                                                                                FRAMINGHAM       MA    01701‐7702
GABRIELE M WOLF                                       53 CEDAR DRIVE                                                                                 HUNTINGTON       NY    11743‐7101
GABRIELE POLZIN                                       GRABENSTRASSE 37A                    D‐12209              BERLIN             GERMANY
GABRIELLA DULA SIEGEL                                 2123 DAME SHIRLEY WY                                                                           GOLD RIVER       CA    95670‐7662
GABRIELLA MAJOR                                       40 E 84TH ST                         APT 12B                                                   NEW YORK         NY    10028‐1105
GABRIELLE GOODMAN                                     528 QUEEN ST                                                                                   PHILADELPHIA     PA    19147‐3023
GABRIELLE KING                                        1478 RIVERPLACE BLVD                 1206                                                      JACKSONVILLE     FL    32207
GABRIELLE L TESARZ & RUSSELL E TESARZ JT TEN          205 COLONIAL AVE SE                                                                            CONCORD          NC    28025‐7415
                                                 09-50026-mg              Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
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GABRIELLE M MORRIS                                 5663 DEPAUW                                                                                      AUSTINTOWN        OH    44515‐4111
GABRIELLE M SCHLAK & MARILLA J REITER JT TEN       7790 CHARLTON RD                                                                                 JOHANNESBURG      MI    49751‐9616
GABRIELLE MADDEN SEYKA                             13227 HIDE‐AWAY LANE                                                                             DEWITT            MI    48820‐8093
GABRIELLE MARIE PALADINO                           179 NIBLICK RD #307                                                                              PASO ROBLES       CA    93446‐4845
GABY EDDE                                          1ST FLOOR EDDE BLDG                  AL BUSTAN STR BEIT MERY   EL‐METN       LEBANON
GABY S JOUBRAN                                     2431 HOWALD AVE                                                                                  FLINT             MI    48504‐2363
GABY S KRESSLY TR GABY S KRESSLY REV TRUST UA      16408 BRIDGE END RD                                                                              MIAMI LAKES       FL    33014‐6096
01/24/02
GADDY REAL ESTATE CO                               PO BOX 19307                                                                                     RALEIGH           NC    27619‐9307
GAE RAE ROSEVEARE CUST DANIEL CLARK ROSEVEARE      325 DIVISION STREET #206                                                                         LEAVENWORTH       WA    98826‐1471
UTMA WA
GAEL BORDEN                                        BOX 1293 FDR STATION                                                                             NEW YORK          NY    10150‐1293
GAERTNER HOLDING CO                                246 S ALBERT ST                                                                                  ST PAUL           MN    55105‐2458
GAETAN P ROCHEFORT                                 109 DALY RD                                                                                      MASSENA           NY    13662
GAETANA M CAMARATA                                 162 SILVER AVE                                                                                   HILLSIDE          NJ    07205‐2343
GAETANA VETRI                                      132 EMILIA CIR                                                                                   ROCHESTER         NY    14606‐4612
GAETANA WALECKI                                    37 WENONAH AVE                                                                                   LAKE HIAWATHA     NJ    07034‐2720
GAETANE M WATSON                                   10105 W LINCOLN                                                                                  HUNTINGTON        MI    48070‐1540
                                                                                                                                                    WOODS
GAETANE R VILLENEUVE                               8224‐4 KARAM BLVD                                                                                WARREN            MI    48093‐2132
GAETANO A CURRAO                                   32151 HAYES                                                                                      WARREN            MI    48093‐7362
GAETANO BRUNETTI                                   4 MANCHESTER RD                      APT 2R                                                      EASTCHESTER       NY    10709‐1336
GAETANO BRUNETTI FU ALDO                           VIA REGINA MARGHERITA 34             ORATINO CAMPOBASO                       ITALY
GAETANO COLLETTI                                   439 NILES ST                                                                                     ELIZABETH         NJ    07202‐3717
GAETANO DI LIBERTO CUST CARL DI LIBERTO UGMA NY    508 ROBINDALE DR                                                                                 WEBSTER           NY    14580‐4082

GAETANO DI LIBERTO CUST RUSSELL DI LIBERTO UGMA    48 HAMPSTEAD DR                                                                                  WEBSTER           NY    14580‐7102
NY
GAETANO DILIBERTO                                  508 ROBINDALE DR                                                                                 WEBSTER           NY    14580‐4082
GAETANO IANNAGGI                                   9347 GETTYSBURG DR                                                                               TWINSBURG         OH    44087‐1511
GAETANO INTRAVAIA & JOANNE INTRAVAIA JT TEN        21 MEADOW LAKE CIRCLE NORTH                                                                      LAKE PLACID       FL    33852‐7076

GAETANO J DI VITA                                  9157 DREAMWAY                                                                                    LARGO             FL    33773‐4749
GAETANO J POLIZZI ADM EST ELIZABETH M POLIZZI      5820 MAIN ST                         STE 605                                                     BUFFALO           NY    14221

GAETANO LONGO                                      STRUCTURAL STONE                     323 US HWY 46                                               FAIRFIELD         NJ    07004‐2415
GAETANO MACERONI                                   7720 BRAMBLEWOOD DR                  APT 1A                                                      LANSING           MI    48917
GAETANO MIRABELLA                                  46732 BEN FRANKLIN                                                                               UTICA             MI    48315‐5218
GAETANO PRAVETTONE                                 15834 CAMDEN                                                                                     EASTPOINTE        MI    48021‐1688
GAETANO T BUSACCO & JOSEPHINE BUSACCO JT TEN       309 RUDYARD STREET                                                                               STATEN ISLAND     NY    10306

GAETANO T MANGANO                                  P O BOX 220                                                                                      MONTVALE          NJ    07645
GAETANO T URSO                                     21770 EASTLAND COURT                                                                             EASTPOINTE        MI    48021‐2701
GAETANO TINNIRELLO                                 1933 MANNING RD                                                                                  DARIEN            IL    60561‐4309
GAETANO VITALE                                     14222 BARTON                                                                                     SHELBY TOWNSHIP   MI    48315‐5415

GAETANO VITANZA                                    7527 MADORA AVE                                                                                  CANOGA PARK       CA    91306‐3032
GAGE WILSON ALLAM                                  948 LIBERTY ST                                                                                   FRANKLIN          PA    16323‐1136
GAIL A ALVESTEFFER                                 5466 HARVEST COURT                                                                               BAY CITY          MI    48706‐3024
GAIL A ANDERSON                                    2207 WILLOW OAK DR                                                                               EDGEWATER         FL    32141‐4413
GAIL A BENDALL                                     4148 N OAK RD                                                                                    DAVISON           MI    48423‐9301
GAIL A BENINCASA                                   50 CORSON RD                                                                                     CONSHOHOCKEN      PA    19428‐2133
GAIL A BOZARK                                      812 W LOCUST ST                                                                                  PARAGOULD         AR    72450‐5058
GAIL A BRADLEY                                     24806 COOKE                                                                                      DEARBORN          MI    48124‐2472
GAIL A BRUN                                        339 E DIXON AVE                                                                                  DAYTON            OH    45419‐3547
GAIL A BUICK CUST MARJORIE N BUICK UGMA AZ         661 W CARTER DR                                                                                  TEMPE             AZ    85282‐6590
GAIL A BUSHGENS JR TR GAIL A BUSHGENS JR TR UA     1707 OJEDA RD                                                                                    VISTA             CA    92084‐2753
9/26/80
GAIL A CARRASCO                                    22625 HAYES RD                                                                                   BIG RAPIDS        MI    49307‐9437
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GAIL A CLEMENTS                                  3769 HWY 27                                                                                     BUCHANAN           GA    30113‐4355
GAIL A COOKINGHAM & HELEN L COOKINGHAM JT TEN    1950 COLCHESTER RD                                                                              FLINT              MI    48503‐4630

GAIL A DARNELL                                   1604 S DILLIE                                                                                   EL RENO            OK    73036‐5417
GAIL A DECAIRE                                   1714 DELAWARE                                                                                   SAGINAW            MI    48602‐4925
GAIL A FLEURY                                    4966 STONELEIGH                                                                                 BLOOMFIELD HILLS   MI    48302‐2172

GAIL A HARVATH                                   826 LINDENWOOD DRIVE                                                                            PITTSBURGH         PA    15234‐2537
GAIL A HELMKAY‐PASTUE                            13100 COUNTRY CLUB DRIVE                                                                        CLIO               MI    48420‐8216
GAIL A HEWITT                                    8677 NAGLE STREET                                                                               MANASSAS           VA    20110‐7004
GAIL A HOWARD                                    21 E HOWELL AVE                                                                                 ALEXANDRIA         VA    22301‐1407
GAIL A HUNGER                                    1453 AVONDALE                                                                                   SYLVAN LAKE        MI    48320‐1703
GAIL A JENKINS                                   PO BOX 120                                                                                      KINGSTON           MA    02364‐0120
GAIL A LEMKE TR GAIL A LEMKE 1999 TRUST UA       720 W LINCOLN                                                                                   DES PLAINES        IL    60018‐5551
10/26/99
GAIL A LEVINE & MANUEL LEVINE JT TEN             10676 SAN BERNARDINO WAY                                                                        BOCA RATON         FL    33428‐1203
GAIL A LOWNES                                    3348 VIA LA SELVA                                                                               PALOS VERDES       CA    90274‐1002
                                                                                                                                                 ESTAT
GAIL A MATTHEWS                                  18500 NORBORNE                                                                                  DETROIT            MI    48240‐1833
GAIL A NASTERNAK                                 336 30TH ST NW                                                                                  CEDAR RAPIDS       IA    52405‐3620
GAIL A NOVACK                                    215 W SHORE DR                                                                                  MARBLEHEAD         MA    01945‐1364
GAIL A PELLERIN                                  325 SPEEN ST                          APT 110                                                   NATICK             MA    01760‐1564
GAIL A PETRICH & BARTHOLOMEW J PETRICH JT TEN    105 MEADOW LANE                                                                                 EAST JORDON        MI    49727‐8611

GAIL A POPP                                      7834 EAKER CT                                                                                   BROWNSBURG         IN    46112‐8435
GAIL A REGETZ                                    501 DINAH RD                                                                                    LANDING            NJ    07850‐1713
GAIL A ROSKOWSKI                                 36138 PAYNE                                                                                     CLINTON TWP        MI    48035‐1340
GAIL A SATTLER                                   1104 LAVONA LN                                                                                  SILOAM SPGS        AR    72761‐2545
GAIL A SPOHN                                     357 HOWLAND WILSON NE                                                                           WARREN             OH    44484‐2026
GAIL A STEENSEN CUST ASHLEY D STEENSEN UTMA IA   1300 SECOND AVE SOUTH                                                                           CLINTON            IA    52732‐5463

GAIL A STUDNICKA                                 7208 COUNTRYWOOD LANE                                                                           PARKVILLE          MO    64152‐1100
GAIL A TECHLOW                                   PO BOX 471                                                                                      BEL TIBURON        CA    94920
GAIL A WALTON                                    15232 E VALVERDE DR                                                                             FOUNTAIN HLS       AZ    85268‐3342
GAIL A WOZENSKI                                  775 MOTT HILL ROAD                                                                              SOUTH              CT    06073‐3625
                                                                                                                                                 GLASTONBURY
GAIL A ZEIGLER                                   9628 BOYER RD                                                                                   CHARLOTTE          MI    48813‐8633
GAIL ABRAMS                                      4123 NEW BERN PLACE                                                                             DURHAM             NC    27707
GAIL ACOU‐KOENIGSKNECHT                          935 ROBINSON LAKE RD                                                                            TROUT CREEK        MI    49967‐9516
GAIL ADAMS                                       15505 LINDSAY ST                                                                                DETROIT            MI    48227‐1502
GAIL ALSOBROOK MC CLENDON                        4550 W HIGHWAY 98                                                                               PORT ST JOE        FL    32456‐4823
GAIL AMSON                                       61 QUEEN ST                           PO BOX 5             BROOKLIN ON        L0B 1C0 CANADA
GAIL ANITA FLAGLER                               C/O MRS J FLAGLER                     30 LE MOYNE PKWY                                          OAK PARK        IL       60302‐1155
GAIL ANN BIRCH                                   7261 HYANNIS DRIVE                                                                              OAKWOOD VILLAGE OH       44146‐5806

GAIL ANN CHUN                                   1289 HICKORY HILL                                                                                ROCHESTER HILLS    MI    48309‐1709
GAIL ANN JOHNSON                                7541 CARLISLE WAY                                                                                GOLETA             CA    93117‐1941
GAIL ANN JOHNSON & DAVID RICHARD JOHNSON JT TEN 7541 CARLISLE WAY                                                                                GOLETA             CA    93117‐1941

GAIL ANN LEMKE                                   PO BOX 103                                                                                      HANOVER            MA    02339‐0103
GAIL ANN PERROTT                                 16300 BIRWOOD                                                                                   BIRMINGHAM         MI    48025‐3344
GAIL ANN SMITH‐SEELEY                            1691 WEATHERSTONE DR                                                                            ANN ARBOR          MI    48108‐3373
GAIL ANN THOMPSON CUST JEFFREY W THOMPSON        402 W KILBUCK ST                                                                                TECUMSEH           MI    49286‐1804
UGMA MI
GAIL B BRADSHAW TR STACIE A BRADSHAW TRUST UA    141 E 820 S                                                                                     CEDAR CITY         UT    84720‐3579
01/25/90
GAIL B COTTA                                     3 PALMER ST                                                                                     PORTSMOUTH         RI    02871‐2446
GAIL B COTTA & RAYMOND A COTTA JT TEN            3 PALMER ST                                                                                     PORTSMOUTH         RI    02871‐2446
GAIL B HOOD & BETTIE HOOD JT TEN                 1041 FIELDSTONE TRAIL                                                                           ALPHARETTA         GA    30004‐0904
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GAIL B SICA                                      2501 RIO PLATO DRIVE                                                                           PUNTA GORDA        FL    33950‐6321
GAIL B THOMPSON & WILLIAM T THOMPSON JT TEN      29 HURST AVE                                                                                   BELLE VERNON       PA    15012‐1957

GAIL B WIEMER                                    5278 HERON WA                        APT 202                                                   SARASOTA           FL    34231‐9107
GAIL BALLARD                                     1253 DYEMEADOW LANE                                                                            FLINT              MI    48532‐2319
GAIL BARBARA SCHNEPP                             15 OROWOC DR W                                                                                 ISLIP              NY    11751‐4215
GAIL BARTLEY                                     1603 N MERIDIAN RD                                                                             TIPTON             IN    46072‐8859
GAIL BERRY‐TRIPP                                 960 E TIENKEN                                                                                  ROCHESTER HILLS    MI    48306
GAIL BETH KAMENS                                 19 N GRANBY ST                                                                                 RICHMOND           VA    23220‐4517
GAIL BISHOP                                      36 MCKAY AVE #1                                                                                EAST ORANGE        NJ    07018‐1004
GAIL BRADLEY & DARWIN BRADLEY JT TEN             80 HORSESHOE BLVD                                                                              ANNEVILLE          PA    17003‐9774
GAIL BROWNE                                      3715 E COMANCHE DR                                                                             COTTONWOOD         AZ    86326‐5704
GAIL BRYCE                                       R5                                   WATFORD ON                              N0M 2S0 CANADA
GAIL C FLANAGAN                                  41 VASSAR CIRCLE                                                                               HOLYOKE            MA    01040‐2632
GAIL C SCHWENDINGER                              1 BLOOMINGDALE PLACE APT 601                                                                   BLOOMINGDALE       IL    60108
GAIL C SINICK                                    4390 EXETER DR UNIT 208                                                                        LONGBOAT KEY       FL    34228
GAIL C STERWERF                                  1147 MAGRATH WAY                                                                               THE VILLAGES       FL    32162‐4035
GAIL CHAPMAN COCHE                               15623 SYCAMORE LA                                                                              ROCKVILLE          MD    20853‐1452
GAIL CHIVLLI                                     105 BUSHNELL AVE                                                                               CATSKILL           NY    12414‐1246
GAIL CHOW                                        1551 AVION DR                                                                                  MONTEREY PARK      CA    91754‐2357
GAIL COBEN CUST BENNA ALLISON COBEN UGMA PA      17 ARTHUR RD                                                                                   BRYN MAWR          PA    19010‐1502

GAIL CONLEY                                      18260 AVON AVE                                                                                 DETROIT            MI    48219‐2954
GAIL COTTA & RAYMOND COTTA JT TEN                3 PALMER ST                                                                                    PORTSMOUTH         RI    02871‐2446
GAIL CURTIN                                      PO BOX 676                                                                                     WHITEHOUSE         TX    75791‐0676
GAIL D BONNER                                    36 S HEWITT RD #103                                                                            YPSILANTI          MI    48197‐4428
GAIL D COREY                                     ATT GAIL HALL                        48228 WADEBRIDGE DRN                                      CANTON             MI    48187‐1224
GAIL D HATTON                                    37 VIOLET LANE                                                                                 WEST GROVE         PA    19390‐9530
GAIL D KUTA                                      18563 BLAKELY                                                                                  WOODHAVEN          MI    48183‐4403
GAIL D MITCHELL                                  9738 RIDGE HGHTS                                                                               FAIRVIEW HEIGHTS   IL    62208‐2321

GAIL D NESTOR                                    PO BOX 324                                                                                     PULASKI            PA    16143‐0324
GAIL DEE                                         6300 W HOLBROOK ST                   #1                                                        CHICAGO            IL    60646‐4607
GAIL DIBUONO TOD JOSEPH DIBUONO SUBJECT TO STA   21 N CHATSWORTH AVE                                                                            LARCHMONT          NY    10538
TOD RULES
GAIL DUVALL                                      149 CHENANGO ST                                                                                BUFFALO            NY    14213‐2338
GAIL E AIRINGTON                                 6104 SE 3RD ST                                                                                 MIDWEST CITY       OK    73110‐2214
GAIL E AUGUSTINE                                 7402 S SHEPHERD ROAD                                                                           SHEPHERD           MI    48883‐8002
GAIL E BACHMAN                                   57 C WATERFORD                       KINGS HWY & PARK BLVD                                     CHERRY HILL        NJ    08034‐3497
GAIL E BAILEY                                    308 MDWDALE CT PO BOX 511                                                                      PERRY              MI    48872‐0511
GAIL E BARKER                                    9036 W RIDGE RD                                                                                ELYRIA             OH    44035‐4525
GAIL E BOYLE & LAWRENCE BREEN JT TEN             5651 VICTORIA REGINA AVE                                                                       LAS VEGAS          NV    89139
GAIL E BURKE & JOHN P BURKE JT TEN               5570 WHEATMORE COURT                                                                           MASON              OH    45040
GAIL E CASEY                                     823 LE GARE ROAD                                                                               AIKEN              SC    29801
GAIL E COUCH                                     121 JONES BISHOP RD                                                                            HARTWELL           GA    30643‐2636
GAIL E CUNNINGHAM                                13 BARNSDALE DR                                                                                MIDDLETOWN         DE    19709‐7833
GAIL E FRAZIER                                   235 STEPHENSON AVE                                                                             BRIDGETON          NJ    08302‐3177
GAIL E JOHNSON                                   C/O GAIL J SPEARES                   51 W BUFFALO ST                                           CHURCHVILLE        NY    14428‐9526
GAIL E KINSEY                                    2910 BURLINGAME                                                                                DETROIT            MI    48206‐1434
GAIL E KUHNS                                     7701 S SUN MOR DR                                                                              MUNCIE             IN    47302‐9504
GAIL E MC NERTNEY                                25822 DOVER ST                                                                                 REDFORD TWNSP      MI    48239‐1819
GAIL E PANKAS                                    5418 CHILTERN HILLS TRAIL                                                                      CHARLOTTE          NC    28215‐5306
GAIL E PHIPPS                                    145 GROSS POINT DRIVE                                                                          HUDDLESTON         VA    24104‐2823
GAIL E POWELL                                    2880 TALLAHASSE                                                                                ROCHESTER          MI    48306‐3861
GAIL E POWER                                     14 MAGNOLIA AVE                                                                                MANCHESTER         MA    01944‐1638
GAIL E SLAMAR & CHARLES SLAMAR JT TEN            903 GLENDALE RD                                                                                GLENVIEW           IL    60025‐4007
GAIL E TUCKER & ROBERT JAMES TUCKER JR JT TEN    1309 W 20TH ST                                                                                 YUMA               AZ    85364‐5321

GAIL E WAGNER                                    320 SAINT ANDREWS TRAIL                                                                        MIAMISBURG         OH    45342‐2799
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GAIL E WEBB                                      2181 E 200 S                                                                                 ANDERSON         IN    46017‐2011
GAIL E WILCOX                                    1934 CERRILLOS RD                                                                            SANTA FE         NM    87505‐3383
GAIL E WITSCHEY                                  70 BETTS VIEW LANE                                                                           BURGESS          VA    22432‐2116
GAIL E YOUNG                                     12 WALNUT ST                                                                                 KEYPORT          NJ    07735‐1725
GAIL EDWARDS                                     240 VIA LA CIRCULA                                                                           REDONDO BEACH    CA    90277‐6406
GAIL EHLING                                      736 FAIRBANKS AVE                                                                            CINCINNATI       OH    45205‐2252
GAIL EISENBURG & JERRY EISENBURG JT TEN          16512 GOODVALE RD                                                                            CANYON COUNTRY   CA    91351‐1709

GAIL ELAINE WAGNER                               133 COURTLAND QUAD                                                                           CHAPIN           SC    29036
GAIL ELLSWORTH CUST DUSTIN D CONKLIN UTMA NY     4979 DEVLEN RD                                                                               GROTON           NY    13073‐5412

GAIL EVANS BURPEE                                397 RTE 26                                                                                   GEORGETOWN       NY    13072
GAIL F BLACK                                     ATTN GAIL F PETERS                 12322 W BRISTOL RD                                        LENNON           MI    48449‐9417
GAIL F CHURCH                                    5276 CRAIG AVE N W                                                                           WARREN           OH    44483‐1238
GAIL F CURCIO                                    62 FREDERICK ST                                                                              BALLSTON SPA     NY    12020‐2431
GAIL F HILTON                                    5207 E RD 200 S                                                                              AVON             IN    46123
GAIL F ISENEGGER                                 58966 TRAVIS RD                                                                              NEW HUDSON       MI    48165‐9578
GAIL F KATZER ANDERSON                           RR BOX 5620                                                                                  SAYLORSBURG      PA    18353‐9756
GAIL F LARGE                                     2001 WEATHERSTONE DRIVE                                                                      PAOLI            PA    19301‐1947
GAIL F MC DIVITT                                 1572 CAPRI LN                                                                                RICHMOND         IN    47374‐1549
GAIL F MCARTHUR                                  107 ARBUTUS ST                                                                               ROCHESTER        NY    14609‐3502
GAIL F OLIVER                                    2446 PHILLIPS                                                                                BERKLEY          MI    48072‐1057
GAIL FISHER                                      14 TROTTERS TRL                                                                              NEW CITY         NY    10956‐6645
GAIL FLORENCE MC INTYRE                          1658 9TH AVE N                                                                               FORT DODGE       IA    50501‐2720
GAIL FLOYD                                       8975 GRIGGS                                                                                  DETROIT          MI    48204‐2643
GAIL FRANCES ADDY                                142 NUTTAL BRANCH                                                                            FENTON           MI    48430‐8798
GAIL FREDERICKS & DOUGLAS FREDERICKS JT TEN      14010 N BUCKINGHAM DR                                                                        TUCSON           AZ    85737‐5854
GAIL G BRASWELL                                  2828 CANOE BROOK CIR                                                                         BIRMINGHAM       AL    35243‐5903
GAIL G CICCARELLI                                2900 WOODCHUCK TRIAL                                                                         PINCKNEY         MI    48169
GAIL G HARLACH                                   796 SOUTH PLANK RD                                                                           SLATE HILL       NY    10973‐4024
GAIL G SIMEONE                                   724 JOHNSTON DRIVE                                                                           WATCHUNG         NJ    07060‐6468
GAIL G TONER CUST CHRISTOPHER PAUL TONER UNDER   125 CASMIR DRIVE                   VAN DYKE VILLAGE                                          NEW CASTLE       DE    19720‐4520
THE DE U‐T‐M‐A
GAIL G TONER CUST TIMOTHY JOHN TONER UNDER THE   125 CASMIR DRIVE                   VAN DYKE VILLAGE                                          NEW CASTLE       DE    19720‐4520
DE U‐T‐M‐A
GAIL G VAN DAELE                                 524 E WOODFIELD TRAIL                                                                        ROSELLE          IL    60172‐1053
GAIL GARRETT SLOCUM                              3425 FIFTH STREET                                                                            PORT ARTHUR      TX    77642‐3380
GAIL GEE‐BAILEY                                  3818 WILLIAMS RIDGE CT                                                                       VA BEACH         VA    23457‐1587
GAIL GODAR PETRY                                 1009 WALZ AVE                                                                                GLENWOOD SPGS    CO    81601‐3268
GAIL GRISKOWITZ & JOSEPH GRISKOWITZ JT TEN       211 HULLIHEN DRIVE                                                                           NEWARK           DE    19711‐3650
GAIL H ALLENDER                                  7212 QUEEN ISABELLA CT                                                                       VALLEJO          CA    94591‐8554
GAIL H FLANAGAN                                  49 BARTLETT ST                                                                               BEVERLY          MA    01915‐5033
GAIL H HARTIGAN                                  43 KINDERHOOK LANE                                                                           BRAINARD         NY    12024
GAIL H HOPKINS                                   49467 JACKSON LN                                                                             CANTON           MI    48188‐6686
GAIL HART                                        2405 HARBOR LN                                                                               ROSWELL          GA    30076‐3108
GAIL HARUMI NAKAMURA                             1241 ALA PILI LOOP                                                                           HONOLULU         HI    96818
GAIL HAZAN                                       4601 SAXONBURY WAY                                                                           CHARLOTTE        NC    28269‐9401
GAIL HOECKER & PAUL HOECKER JT TEN               S 97 W 13126 CHAMPIONS DR                                                                    MUSKEGO          WI    53150‐5236
GAIL HOWARD                                      105 BALMIERE RD S                                                                            CRANFORD         NJ    07016‐1803
GAIL HUDDLESTON                                  1230 S 41ST ST                                                                               KANSAS CITY      KS    66106‐1926
GAIL I CHUCK                                     10425 VALLEY CREEK DR                                                                        HARRISON         OH    45030‐1623
GAIL I MILLER                                    6220 W 1000 NORTH                                                                            HUNTINGTON       IN    46750‐9748
GAIL I WALTERS                                   3321 HACKETT AVE                                                                             LONG BEACH       CA    90808‐4119
GAIL J BOCK                                      711 N ELIZABETH                                                                              DEARBORN         MI    48128‐1764
GAIL J BOCK & GLENN L BOCK JT TEN                711 NORTH ELIZABETH                                                                          DEARBORN         MI    48128‐1764
GAIL J FLEMING CUST MEGAN E FLEMING UGMA MI      2374 KNOLLVIEW SW                                                                            WYOMING          MI    49509‐4802

GAIL J HORSCH U/GDNSHIP OF JUNE H HORSCH         121 DIANA ST                                                                                 PLACERVILLE      CA    95667‐3313
GAIL J NAKAMURA & CLARK S NAKAMURA JT TEN        1756 OAK AVENUE                                                                              LOS ALTOS        CA    94024‐5836
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GAIL J ODONNELL                                 721 MONUMENT RD                                                                              MALVERN          PA    19355‐2863
GAIL J SCHAAR                                   551 N FAIRFIELD RD                                                                           DAYTON           OH    45430‐1739
GAIL J SIMPSON DONALDSON                        1213 LAKE RISE PL                                                                            GALLATIN         TN    37066
GAIL J ZIELINSKI                                N2973 E LITTLE GREEN RD                                                                      MARKESAN         WI    53946‐8824
GAIL JANE FRALICK                               3627 OAKWOOD DRIVE                                                                           ANDERSON         IN    46011‐3834
GAIL JEAN MEISELMAN                             PO BOX 10683                                                                                 ROCKVILLE        MD    20849‐0683
GAIL JOAN COURT                                 28 WELLINGTON RD                   PAEKAKARIKI                             NEW ZEALAND
GAIL JOHNSON PRICE                              SEVEN HICKORY LANE                                                                           NORTHBROOK       IL    60062‐3805
GAIL K KING                                     4935 NORTH PERRY DRIVE                                                                       BEVERLY HILLS    FL    34465‐2966
GAIL K LOGAN                                    427 WELLINGTON AVE                                                                           HADDONFIELD      NJ    08033‐1325
GAIL K MARCH                                    4229 COUNTRY CLUB CIRCLE                                                                     VIRGINIA BEACH   VA    23455‐4413
GAIL K VISCONSI                                 17361 HAWKSVIEW LANE                                                                         CHAGRIN FALLS    OH    44023‐2112
GAIL KATHRYN LOGAN                              427 WELLINGTON AVE                                                                           HADDENFIELD      NJ    08033‐1325
GAIL KELLEY                                     1331 D ST NE                                                                                 WASHINGTON       DC    20002‐5427
GAIL KROHN                                      2951 BERTHIAUME                                                                              BAY CITY         MI    48706‐1503
GAIL KURMAN CUST JOHN DAVID KURMAN UTMA NJ      15 SNOWDEN LN                                                                                PRINCETON        NJ    08540‐3952

GAIL L CHILCOTE                                 2754 HADLEY RD                                                                               LAPEER           MI    48446‐9743
GAIL L COLLMANN                                 5606 MCLEAN DR                                                                               BETHESDA         MD    20814‐1022
GAIL L CRAIG                                    1690 ATTRIDGE RD                                                                             CHURCHVILLE      NY    14428‐9411
GAIL L CUCCHI                                   C/O GAIL L LYNCH                   26018 BALSAWOOD CT                                        WESTLEY CHAPEL   FL    33544‐2007
GAIL L GARRETT                                  6 HORIZON DR                                                                                 GOFFSTOWN        NH    03045‐3007
GAIL L GONZALEZ                                 1510 N FRANKLIN                                                                              DEARBORN         MI    48128‐1026
GAIL L HALSEY                                   127 HALSEY LANE                                                                              WATER MILL       NY    11976
GAIL L HARIG                                    8980 66TH ST LOT 2                                                                           ALTO             MI    49302‐9519
GAIL L HOGARD                                   1380 W JUDD ROAD                                                                             FLINT            MI    48507‐3674
GAIL L HUNTER                                   1464 TUTTLE AVE                                                                              WALLINGFORD      CT    06492‐3321
GAIL L LEWIS                                    1152 SHEFFIELD PL                                                                            LEXINGTON        KY    40509‐2017
GAIL L MARKS CUST DANIEL BARBARY UGMA CT        64 JANE ST                                                                                   STRATFORD        CT    06615‐6523
GAIL L OLSON                                    PO BOX 1122                                                                                  BRIGHTON         MI    48116‐2722
GAIL L PEURA                                    3094 BAZETTA RD                                                                              CORTLAND         OH    44410‐9317
GAIL L RYAN CUST MICHAEL P RYAN UGMA OH         202 ELLIS AVE                                                                                IOWA CITY        IA    52246‐3702
GAIL L SCOTT CUST SARA ELIZABETH SCOTT UTMA     25112 LANKFORD HWY                                                                           CAPE CHARLES     VA    23310‐5454
GAIL L SHELTON                                  7811 SURREYWOOD PLACE                                                                        CHARLOTTE        NC    28270‐2161
GAIL L SPEGAL                                   6902 NORTH 400 WEST                                                                          FAIRLAND         IN    46126‐9753
GAIL L THOMAS                                   5202 N CENTER RD                                                                             FLINT            MI    48506‐1031
GAIL L VAN OSDELL                               38W755 CLOVERFIELD DR                                                                        ST CHARLES       IL    60175‐6856
GAIL L WAINWRIGHT & ROGER G OLSON JT TEN        PO BOX 1122                                                                                  BRIGHTON         MI    48116‐2722
GAIL L WANDKE                                   363 BRYANT AVE                                                                               GLEN ELLYN       IL    60137‐5231
GAIL L WOERNER CUST JASON WOERNER UGMA NJ       139 DUNELLEN AVE                                                                             DUNELLEN         NJ    08812‐1229

GAIL LANDON TR GAIL LANDON LIVING TRUST UA      15 E JANICE AVENUE                 APT 201                                                   YUKON            OK    73099‐5621
10/29/01
GAIL LENZI                                      C/O BUCKLEY                        PO BOX 15493                                              FT LAUDERDALE    FL    33318‐5493
GAIL LOCKE                                      578 SMITHBRIDGE RD                                                                           GLEN MILLS       PA    19342‐1559
GAIL LUKAVIC                                    2841 SEARIDGE ST                                                                             MALIBU           CA    90265‐2967
GAIL LYNN WOERNER CUST JEFFREY M WOERNER JR     139 DUNELLEN AVE                                                                             DUNELLEN         NJ    08812‐1229
UGMA NJ
GAIL M ARCHER                                   46567 PALOMINO CT                                                                            MACOMB           MI    48044‐5436
GAIL M BACKALUKAS                               7251 E LOMITA AVE                                                                            MESA             AZ    85209‐4916
GAIL M BERGER                                   907 STANLEY BLVD                                                                             BIRMINGHAM       MI    48009‐1672
GAIL M BERRY                                    ATTN GAIL M BERRY O'CONNOR         6743 POTTSBURG CREEK TRL                                  JACKSONVILLE     FL    32216‐2856
GAIL M BOROWICZ                                 11316 ERDMAN DRIVE                                                                           STERLING HGTS    MI    48314‐2640
GAIL M CHARLEBOIS                               15 SYMPHONY RD                                                                               WEST PEABODY     MA    01960‐2023
GAIL M COOK                                     243 WELLINGTON AVE                                                                           BUFFALO          NY    14223‐2515
GAIL M DAVIS                                    15024 FERGUSON                                                                               DETROIT          MI    48227‐1415
GAIL M DI MARCO                                 8410 BROOKSIDE RD                                                                            INDEPENDENCE     OH    44131‐6443
GAIL M ELSTON                                   G 5203 WOODHAVEN CT                                                                          FLINT            MI    48532
GAIL M ENOS                                     54 WASHINGTON ST                                                                             NOVATO           CA    94947‐4461
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GAIL M FELDMAN                                    1676 LIEGE DR                                                                                HENDERSON          NV    89012‐7246
GAIL M HAMPE                                      206 S CHESTER LANE                                                                           PROSPECT HGTS      IL    60070‐2512
GAIL M HAYES                                      1977 SHADYSIDE DR                                                                            HERMITAGE          PA    16148‐4135
GAIL M JASPER                                     6231 MCCALLUM STREET                                                                         PHILADELPHIA       PA    19144‐2605
GAIL M JOHNS                                      2987 BONAVENTURE CIRCLE            P102                                                      PALM HARBOR        FL    34684‐4734
GAIL M LANGEVIN & WILLIAM E LANGEVIN JR JT TEN    1012 OLD COLONY RD # 37                                                                      MERIDEN            CT    06451‐6371

GAIL M LAZZARO                                    696 N GRAHAM RD                                                                              SAGINAW            MI    48609‐9801
GAIL M LUDTKA                                     105 CRESTVIEW                                                                                OAK RIDGE          TN    37830‐7673
GAIL M MAROCCO                                    8980 PLEASANTVIEW                                                                            NORTHVILLE         MI    48167‐9485
GAIL M MONTAGNA                                   101 AUCILA ROAD                                                                              COCOA BEACH        FL    32931‐2765
GAIL M RITTENHOUSE                                2067 RANA PARK                                                                               FLINT              TX    75762‐8824
GAIL M SANZA & ROBERT C SANZA JT TEN              1N416 SCHRADER RD                                                                            MAPLE PARK         IL    60151‐9191
GAIL M SCHULTE CUST BRENDAN ANDREW CRAVEN         43360 CREEK DRIVE                                                                            CLINTON TWP        MI    48038‐4851
UTMA MI
GAIL M SEYMOUR                                    16 TOWNSEND BLVD                                                                             POUGHKEEPSIE       NY    12603‐1135
GAIL M SKEBE                                      10455 FLAT ROCK DR                                                                           CHARDON            OH    44024‐8752
GAIL M SMITH                                      85 PARK AVE                        UNIT 405                                                  GLEN RIDGE         NJ    07028‐2327
GAIL M STAMPER                                    5525 AUBURN AVE                                                                              PORTSMOUTH         OH    45662
GAIL M TOMA & THORNTON K TOMA JT TEN              1522 LAUKAHI ST                                                                              HONOLULU           HI    96821‐1432
GAIL M WELCH & ROY D WELCH JT TEN                 15 HOLLAND AVE                                                                               DEMAREST           NJ    07627‐2607
GAIL M WOJCIK                                     12711 GRANNIS RD                                                                             GARFIELD HEIGHTS   OH    44125‐4407

GAIL M WRIGHT                                     BOX 153                                                                                      AVON               NY    14414
GAIL M YUST                                       5103 RYBOLT RD                                                                               CINCINNATI         OH    45248‐1016
GAIL MARIE GOURGOTT BYRD                          630 WYCLIFF WAY                                                                              ALEXANDRIA         LA    71303‐2900
GAIL MARIE MADRID                                 2200 ALKI AVE SW                   CONDO 103                                                 SEATTLE            WA    98116‐4811
GAIL MARY STINER                                  ATTN GAIL M CHRISTOFFERSEN         2702 EAST LIBBY ST                                        PHOENIX            AZ    85032‐1637
GAIL MC GOUGH                                     393 AMWELL ROAD                    ROOM 212                                                  HILLSBOROUGH       NJ    08844
GAIL MCCORMICK BANFIELD                           812 SW FOURTH AVE                                                                            FT LAUDERDALE      FL    33315‐3804
GAIL MUMFORD KIRWAN                               PO BOX 603                                                                                   MIDLOTHIAN         IL    60445‐0603
GAIL N DUNDAS TR GAIL N DUNDAS LIVING TRUST UA    5107 MORET COURT                                                                             BRIGHTON           MI    48116‐4789
12/21/04
GAIL N SPIESS                                     3924 AUBURN DR                                                                               ROYAL OAK          MI    48073‐6335
GAIL NKOWCHA & OGUCHI H NKOWCHA JT TEN            1118 WILDCAT CANYON RD                                                                       PEBBLE BEACH       CA    93953
GAIL O PAPPAS                                     200 JAMESTOWN DR                                                                             GUILFORD           CT    06437‐1320
GAIL P BAYES                                      ATTN GAIL P FRAZIER                1682 MANDARIN COURT                                       CINCINNATI         OH    45240‐2138
GAIL P BROWN                                      ATTN GAIL P BROWN FOREST           4820 WILLOW MIST DR                                       DAYTON             OH    45424‐4404
GAIL P CALABRESE                                  5925 OAKLAND PARK DR                                                                         BURKE              VA    22015‐2442
GAIL P CARDAROPOLI                                1041 CRINELLA DRIVE                                                                          PETALUMA           CA    94954‐5441
GAIL P CRACHIOLA & JENNIFER R CRACHIOLA JT TEN    1931 HANDLEY ST                                                                              SAGINAW            MI    48602‐3666

GAIL P DODGE                                      1300 REECE ROAD                    APT 406                                                   CHARLOTTE          NC    28209‐2164
GAIL P DYKAS                                      6267 NASH RD                                                                                 SANBORN            NY    14132‐9218
GAIL P JAKUBIEC                                   19642 AQUEDUCT CT                                                                            NORTHVILLE         MI    48167‐1950
GAIL P JONES & RONALD V JONES TR JONES FAMILY     6201 MEYERS                                                                                  BRIGHTON           MI    48116‐2010
TRUST UA 5/13/94
GAIL P KARBOWNIK                                  3721 CATHERINE ST                  DORCHESTER ON                           N0L 1G1 CANADA
GAIL P MULLEN                                     2141 MARY CATHERINE ST                                                                       YPSILANTI          MI    48198‐6295
GAIL P SCHNEIDER                                  117 CRETE ST                                                                                 WAVERLY            TN    37185‐1203
GAIL P STEVENSON                                  162 VOORHIS AVENUE                                                                           ROCKVILLE CENTRE   NY    11570‐2747

GAIL P TIMMONS                                    3230 HAZELWOOD                                                                               DETROIT         MI       48206‐2156
GAIL PARISER CUST ALAN D PARISER UGMA NY          204 AVILA RD                                                                                 WEST PALM BEACH FL       33405‐1659

GAIL PATRICIA OBRIEN                              895 CARINA LANE                                                                              FOSTER CITY        CA    94404‐2866
GAIL PATRICK ASHCRAFT                             2410 SUNUP DR                                                                                CLINTON            OK    73601‐2905
GAIL PESSINA & TRACEY KROL JT TEN                 24805 PRINCETON                                                                              ST CLAIR SHORES    MI    48080‐3166
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GAIL PIRO CARSON & MICHELLE M HOMESTEAD JT TEN     C/O ANGELINE C PIRO                    28 IRVING PLACE                                           NUTLEY             NJ    07110‐1807

GAIL POLLICK LOTTER                                4720 S BLOCK                                                                                     FRANKENMUTH        MI    48734‐9760
GAIL R BIEHLER                                     BOX 277                                                                                          STRASBURG          IL    62465‐0277
GAIL R BLACKMAN                                    1954 FERRY DRIVE                                                                                 MARIETTA           GA    30066‐6251
GAIL R DRAWBAUGH                                   10 WINDSOR DR                                                                                    LITTLE SILVER      NJ    07739‐1311
GAIL R HATFIELD                                    250 SW AIRVIEW AVE                                                                               PORT ST LUCIE      FL    34984‐4903
GAIL R JENSEN & NORMAN S JENSEN JT TEN             200 SKYLARK DRIVE                                                                                BOISE              ID    83702‐2923
GAIL R MASON                                       40577 PICKETT RIDGE RD                                                                           STERLING HEIGHTS   MI    48313‐3959

GAIL R NIVER                                       1008 CENTER RD                                                                                   CONNEAUT           OH    44030‐9725
GAIL R NIVER & ESTHER M NIVER JT TEN               1008 CENTER RD                                                                                   CONNEAUT           OH    44030
GAIL R STECK & PATRICIA STECK JT TEN               11551 S WOLF CREEK PIKE                                                                          BROOKVILLE         OH    45309‐8317
GAIL REARDON & MRS MARIAN O REARDON JT TEN         10125 SPRING ARBOR RD                                                                            SPRING ARBOR       MI    49283‐9621

GAIL RICHMAN LANDERER                              545 OGDEN AVE                                                                                    TEANECK            NJ    07666‐2935
GAIL ROBINSON DOIG                                 ATTN GAIL ROBINSON MCNEE               29333 STATE HIGHWAY 10                                    WALTON             NY    13856‐2185
GAIL ROGERS MAKOWSKY                               4801 HILDA DR                                                                                    LAS CRUCES         NM    88007‐0822
GAIL ROLLER                                        1120 TAPP WOOD RD                                                                                HOSCHTON           GA    30548‐2850
GAIL S BOOMER TR GAIL S BOOMER LIVING TRUST UA     1500 NORMANDY APT 216                                                                            ROYAL OAK          MI    48073‐2484
7/20/99
GAIL S CORBIN                                      5839 MASON RD                                                                                    FOWLERVILLE        MI    48836‐8993
GAIL S CORONADO                                    1940 LAKEVILLE RD LOT 91                                                                         OXFORD             MI    48371‐5272
GAIL S ELDRED                                      203 OLD LANDING ROAD                                                                             YORKTOWN           VA    23692‐4314
GAIL S ESSLINGER                                   70 BRIDLE PATH                                                                                   ORCHARD PARK       NY    14127‐3031
GAIL S LADD                                        3505 WESTVIEW RD                                                                                 WESTMINSTER        MD    21157‐7734
GAIL S LEVEE                                       1231 3RD ST                                                                                      MANHATTAN          CA    90266‐6840
                                                                                                                                                    BEACH
GAIL S NICHOLSON                                   1722 MAXWELL COURT                                                                               YORKTOWN           NY    10598‐4805
                                                                                                                                                    HEIGHTS
GAIL S POSEDENTI                                   504 FREELAND RD                                                                                  FREELAND           MD    21053‐9669
GAIL S RITZ                                        249 N BRAND BLVD 612                                                                             GLENDALE           CA    91203‐2609
GAIL S SAYLOR                                      372 SOUTH DR                                                                                     KILMARNOCK         VA    22482‐3618
GAIL S VITALE                                      9012 77TH AVE E                                                                                  PUY                WA    98371‐6593
GAIL S WEISBERG                                    2730 HAMPTON PKWY                      A2                                                        EVANSTON           IL    60201‐1640
GAIL SAYLORS                                       1120 TAPP WOOD RD                                                                                HOSCHTON           GA    30548‐2850
GAIL SAYLORS & BOBBY M SAYLORS JT TEN              1120 TAPP WOOD RD                                                                                HOSCHTON           GA    30548‐2850
GAIL SCHAFFNER                                     420 CLAVEY LANE                                                                                  HIGHLAND PARK      IL    60035‐4531
GAIL SCIAMETTA                                     219 WEST END AVE                                                                                 GREENBROOK         NJ    08812
GAIL SHILLING BARBOUR                              61 ELK RIVER ROAD                                                                                W HENRIETTA        NY    14586
GAIL SHUMAN                                        10231 W2OOD WORK LANE                                                                            LAS VEGAS          NV    89135
GAIL SIMS                                          5535 NW 25TH LOOP                                                                                OCALA              FL    34482‐4266
GAIL STOICK TOD LISA STOICK SUBJECT TO STA TOD     3133 CROMWELL PL                                                                                 HAYWARD            CA    94542‐1209
RULES
GAIL SUSAN PACKER                                  19 COMMONWEALTH PARK                                                                             NEWTON CENTRE      MA    02159‐1023
GAIL SUZANNE SEELYE                                C/O GAIL S SCHWOEBEL                   1810 HAMILTON LANE                                        CARMEL             IN    46032‐3519
GAIL T HAZEN JR                                    1200 BEHSHEL HEIGHTS ROAD                                                                        KELSO              WA    98626‐5233
GAIL T KLIPSIC                                     3546 NW 3RD AVENUE                                                                               BOCA RATON         FL    33431
GAIL T MEISSNER                                    1831 E LUDLOW                                                                                    PHOENIX            AZ    85022‐4524
GAIL TALBOT                                        176 FAIR OAK ST                                                                                  SALAMANCA          NY    14779‐9703
GAIL TALICH                                        6212 E ORCHARD DR                                                                                CENTENNIAL         CO    80111‐4451
GAIL THEIS PHILABAUM                               9 BIRCHWOOD DRIVE                                                                                DERBY              VT    05829‐9665
GAIL V ARNOLD                                      4205 MINSTEAD RD                                                                                 MARION             NY    14505‐9533
GAIL W GORE                                        305 W SPRING ST                                                                                  LAGRANGE           IN    46761‐1727
GAIL W NICHOLSON                                   520 LUNDY RD                                                                                     SYLVESTER          GA    31791‐7448
GAIL W RUSSELL                                     7151 WARNER ST                                                                                   ALLENDALE          MI    49401‐9740
GAIL W VANREYENDAM                                 9110 MARSH RD                                                                                    ALGONAC            MI    48001‐4508
GAIL WALKER MILLS                                  11221 LOOKOUT ROAD                                                                               LONGMONT           CO    80501‐8455
GAIL WISLOCKY                                      3 JODI LANE                                                                                      CHATHAM            NJ    07928‐1051
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GAIL WOLIN                                      7408 MAYBROOK CT                                                                                  PLANO              TX    75024‐4827
GAIL Y MAKIDON & YVONNE P MAKIDON & KATHERINE L 921 E RIVER RD                                                                                    FLUSHING           MI    48433‐2260
ARROWOOD JT TEN
GAILA D MOSELEY                                 601 SW 112TH                                                                                      OKLAHOMA CITY   OK       73170‐5807
GAILA LASHUNN SAMPSON                           3517 OLYMPIAD DR                                                                                  LOS ANGELES     CA       90043
GAILARD T KETCHAM                               2435 KING AVE                                                                                     DAYTON          OH       45420‐2365
GAILE C BARTLETT                                4805 HALEY LANE                                                                                   COLUMBIA        TN       38401‐8420
GAILE M SWIATOWY                                170 WILLARDS WY                                                                                   WHITE LAKE      MI       48386‐2468
GAILEN G HATHCOCK                               9100 DAVISBURG RD                                                                                 CLARKSTON       MI       48348‐4122
GAILEN K GRESETH                                708 TURNBERRY LANE                                                                                LADY LAKE       FL       32159‐1335
GAILEN WADDELL                                  4543 HARBISON STREET                                                                              DAYTON          OH       45439‐2751
GAILLARD F WATERFALL                            1600 HIGGINS CIRCLE                                                                               NEWBERRY        SC       29108‐3934
GAILY J WAGERS                                  5775 CASSTOWN‐CLARK RD                                                                            CASSTOWN        OH       45312‐9746
GAILYA R FAIRCLOTH                              560 HOLLANDTOWN RD                                                                                SALEMBURG       NC       28385‐9222
GAILYNNE POWELL                                 7425 LAKEVIEW DR                                                                                  BLANCHARD       OK       73010‐4504
GAINELL TEASLEY                                 149 WILLARD                                                                                       PONTIAC         MI       48342‐3075
GAINES E EASTERLING JR                          61 CHANTICLEER CIR                                                                                CLAYTON         NC       27527‐4555
GAINES E NORMAN                                 39046 GARDENSIDE DR                                                                               WILLOUGHBY      OH       44094‐7910
GAINES N PICKETT                                3494 SOUTH PARK AVE                                                                               DOTHAN          AL       36301‐5534
GAINES N PICKETT                                3494 S PARK AVE                                                                                   DOTHAN          AL       36301
GAINES S LOCKLEAR                               6821 JADE POINTE                                                                                  TUSCALOOSA      AL       35406‐2635
GAING W CHAN & LILLY CHAN JT TEN                1144 PARK CIRCLE                                                                                  WEST SACRAMENTO CA       95691‐3744

GAINS A MCMILLION                                  10107 CROCUSLAWN                                                                               DETROIT            MI    48204‐2594
GAIR GILL BETTS                                    PO BOX 296                                                                                     REMSENBURG         NY    11960‐0296
GAIREL A OSBORN                                    225 SWAN CT                                                                                    FORTVILLE          IN    46040‐1451
GALAWAY HENTON                                     BOX 224                                                                                        BETSY LAYNE        KY    41605‐0224
GALE A TODD                                        4 N 278 KAELIN RD                                                                              WEST CHICAGO       IL    60185
GALE ANN TREGO & TIMOTHY TREGO JT TEN              44 HOLLY LANE                                                                                  NEWARK             DE    19711
GALE ARDITH WEISBERG                               550 BATTERY ST #2017                                                                           SAN FRANCISCO      CA    94111‐2334
GALE B HIKADE                                      223 N SYCAMORE ST                                                                              FAIRMOUNT          IN    46928‐1730
GALE B PENDERGAST & DONNA J PENDERGAST JT TEN      951 CAMDEN HILL CT                                                                             LAWRENCEVILLE      GA    30045‐7450

GALE CRAWFORD                                      1233 MOUNTAIN VIEW ROAD                                                                        ROGERSVILLE        TN    37897
GALE D BENNETT                                     2110 HAMELON                                                                                   LANSING            MI    48910‐4866
GALE D BROYLES                                     108 OAKFERN COURT                                                                              SIMPSONVILLE       SC    29681‐5711
GALE D JOHNSON                                     836 KAY ST                                                                                     DAVISON            MI    48423
GALE D SANDERS                                     1940 CATHEY CEMETERY RD                                                                        LEWISBURG          TN    37091‐6261
GALE D SPRAGUE                                     164 SUNFLOWER DR                                                                               BRUNSWICK          OH    44212‐1553
GALE D VANDERVORT                                  265 N 4TH ST                                                                                   EVANSVILLE         WI    53536‐1003
GALE D WITTEN                                      1144 MILLERS CRK                                                                               VAN LEAR           KY    41265‐8421
GALE E BANISTER                                    169 STARDUST DR                                                                                SHERMAN            IL    62684‐9718
GALE E DAVIS                                       6760 N AIRPORT RD                                                                              ST JOHNS           MI    48879‐9481
GALE E JOHNSON                                     14321 OUFFIELD ROAD                                                                            MONTROSE           MI    48457
GALE E MERRIHEW                                    11336 N JENNINGS ROAD                                                                          CLIO               MI    48420‐1514
GALE E OREM                                        5034 QUAIL RIDGE DR                                                                            CHARLOTTE          NC    28227‐8242
GALE E THOMASON                                    5475 AYLESBURY                                                                                 WATERFORD          MI    48327‐2703
GALE E TWITCHELL                                   8653 HERBISON RD                                                                               EAGLE              MI    48822‐9524
GALE F PAYNE                                       11550 BARNES                                                                                   EATON RAPIDS       MI    48827‐9232
GALE F PAYNE TR GALE F PAYNE REV LIVING TRUST UA   11550 BARNES RD                                                                                EATON RAPIDS       MI    48827‐9232
09/16/02
GALE G GORDON                                      1415 EPPING                                                                                    BLOOMFIELD HILLS   MI    48304‐2609

GALE G TYRRELL                                     BOX 1909                                                                                       FLAGSTAFF          AZ    86002‐1909
GALE GRAY JR                                       7673 VERMONTVILLE HWY                                                                          DIMONDALE          MI    48821‐8745
GALE H BRITTEN                                     1716 KENTFIELD DRIVE S W                                                                       GRAND RAPIDS       MI    49509‐3341
GALE H POTTER                                      937 N SUMAC DR                                                                                 JANESVILLE         WI    53545‐2148
GALE K PURNHAGEN                                   1579 JOSELIN ROAD                                                                              DAYTON             OH    45432‐3645
GALE KAPLAN                                        47 UPLAND RD                                                                                   GREAT NECK         NY    11020‐1133
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GALE KRIETZ                                      15403 AZALEA COURT                                                                              EMMITSBURG        MD    21727
GALE L BABINEAU                                  1 BRIDLE PATH                                                                                   ASHBURNHAM        MA    01430‐1059
GALE L CHAPMAN                                   PO BOX 576                                                                                      CARROLLTON        MI    48724‐0576
GALE L CONARTON                                  4280 PRESIDENTS WAY                                                                             DEWITT            MI    48820‐7876
GALE L GRIDLEY                                   9 CRIMSON BRAMBLE RD                                                                            ROCHESTER         NY    14623‐4225
GALE L JARVIS                                    1492 E COUNTY ROAD 900 N                                                                        BRAZIL            IN    47834‐8303
GALE L KING                                      4361 COUNTRY CLUB DRIVE                                                                         SHELBY TOWNSHIP   MI    48316‐3903

GALE L LAPEER & VIRGINIA LAPEER JT TEN           327 W MAPLE                                                                                     CLAWSON           MI    48017‐1183
GALE L MCBRIDE                                   205‐10 115TH AVE                                                                                ST ALBANS         NY    11412‐2904
GALE L MCINTYRE & MARK W ROBACK JT TEN           66 TIMBER LN                                                                                    BRISTOL           CT    06010‐2743
GALE L NICHOLS                                   5764 OAKWOOD ROAD                                                                               ORTONVILLE        MI    48462‐9777
GALE L RUNNING                                   9800 FIRST AVE SO                                                                               BLOOMINGTON       MN    55420‐4902
GALE M BEVILACQUA                                ATTN GALE LIVACCARI                   1442 MANATUCK BLVD                                        BAY SHORE         NY    11706‐4957
GALE M HAINS                                     95 EDENDALE LN                                                                                  PARKERSBURG       WV    26101‐8514
GALE M MINGES & ALLEN MINGES JT TEN              6151 JOHNSON FORK ROAD                                                                          CEDAR GROVE       IN    47016‐9789
GALE M TURNER                                    1446 NE INDEPENDANCE AVENUE                                                                     LAWTON            OK    73507‐3438
GALE M TURNER & MICHAEL E TURNER JT TEN          1446 NE INDEPENDANCE AVENUE                                                                     LAWTON            OK    73507‐3438
GALE O HUMPHREYS                                 410 BOEHLE ST                                                                                   PEARL             MS    39208‐5028
GALE O TRAVIS                                    206 N MAIN                                                                                      CLAY CITY         IN    47841‐1013
GALE P DONOVAN                                   2964 CHATSWORTH DR                                                                              BELOIT            WI    53511‐1941
GALE PRINCE                                      7875 WOODSTONE DRIVE                                                                            CINCINNATI        OH    45244‐2834
GALE R NELSON & JOYCE B NELSON TR                NELSON LIVING TRUST UA6/10/99         8406 WINDSOR HWY                                          DIMONDALE         MI    48821‐9721
GALE RITA                                        58 CASTLE DR                                                                                    MERIDEN           CT    06451‐2606
GALE ROUSE THACKER                               1261 OLD COLLARDVALLEY RD                                                                       ARAGON            GA    30104‐2047
GALE S CRANDALL                                  1871 PHILLIPS AVE                                                                               HOLT              MI    48842
GALE S DICKINSON                                 2300 ISLAND LAKE RD                                                                             COMINS            MI    48619‐9732
GALE S LYNCH                                     1456 ST LAWRENCE CT                                                                             FENTON            MI    48430‐1245
GALE S RINKER                                    2122 SPRINGWATER LANE                                                                           DAYTONA BEACH     FL    32128‐7403
GALE THIEL                                       1326 RD 23                                                                                      STRYKER           OH    43557
GALE W COX                                       5005 GREENVILLE AVE                   STE 147                                                   DALLAS            TX    75206‐4049
GALE WALKER                                      848 E 14TH ST                                                                                   BROOKLYN          NY    11230‐2918
GALEN B BUNCE                                    2171 BRIAR CT                                                                                   COMMERCE TWP      MI    48382‐1761
GALEN D SHARPE                                   2030 3ND AVE                                                                                    MORROW            GA    30260‐3626
GALEN E DETTMER                                  4503 YODER ROAD                                                                                 YODER             IN    46798‐9783
GALEN E HEARN                                    RD1                                                                                             WILLIAMSBURG      PA    16693‐9801
GALEN H MOORE 3RD                                PO BOX 2206                                                                                     NEWPORT NEWS      VA    23609‐0206
GALEN HECKMAN                                    PO BOX 463                                                                                      CERRO GORDO       IL    61818‐0463
GALEN L DEMING                                   121 NORTHWOOD RD                                                                                NEWINGTON         CT    06111‐3153
GALEN L DOWLER                                   7270 JOSE LAKE RD                                                                               SOUTH BRANCH      MI    48761‐9655
GALEN L MCCARTY                                  8095 MUSKINGUM RIVER RD                                                                         LOWELL            OH    45744‐7085
GALEN LANGE                                      3710 OAKGREEN AVE S                                                                             AFTON             MN    55001‐9641
GALEN M CHRISTNER                                8257 FOREST LAKE DRIVE                                                                          CONWAY            SC    29526‐9001
GALEN M FRANZ                                    16312 FINCH WAY                                                                                 ROSEMOUNT         MN    55068‐1445
GALEN MC GLASSON                                 2586 NORTH BEND ROAD                                                                            HEBRON            KY    41048‐9657
GALEN OSBURN                                     4711 RIDGEWAY PL                                                                                NORMAN            OK    73072‐1720
GALEN R FISHER                                   2910 FOREST AVE                                                                                 BERKELEY          CA    94705‐1311
GALEN R GARDNER                                  401 W 6TH ST                                                                                    WILMINGTON        DE    19801‐8110
GALEN STARKWEATHER & MRS GERALDINE               4312 RIVER DR                                                                                   MOLINE            IL    61265‐1733
STARKWEATHER JT TEN
GALETON ROTARY CLUB                              PO BOX 73                                                                                       GALETON           PA    16922‐0073
GALILEO LEONE DEASCANIS CUST COLM CILLE          322 EAST 14TH ST                      VAN DYKE VILLAGE                                          NEW CASTLE        DE    19720‐4561
DEASCANIS UGMA DE
GALINA BENCOWITZ                                 11570 KIRKWOOD                                                                                  STAFFORD          TX    77477‐1304
GALINA GALPERIN & ALEKSANDR GALPERIN & IAN B     601‐B SURF AVE APT 2P                                                                           BROOKLYN          NY    11224‐3427
GALPERIN JT TEN
GALINA TARTAGLIA                                 40D MEADOW PLACE                                                                                STATEN ISLAND     NY    10306‐5268
GALLES MOTOR CO                                  1601 LOMAS BLVD NE                                                                              ALBUQUERQUE       NM    87102‐2710
GALLIE HAROUTUNIAN                               4080 RAMSEY RD                                                                                  OXFORD            MI    48371‐3941
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GALLOWAY C MORRIS IV                            210 BUCKWALTER RD                                                                                PHOENIXVILLE     PA    19460‐2350
GALON R ROSS                                    3660 MANN                                                                                        CLARKSTON        MI    48346‐4037
GALVESTER DAVIS                                 15321 ARCHDALE                         APT 302                                                   DETROIT          MI    48227‐1594
GALVESTER GORDON                                14581 PRAIRIE                                                                                    DETROIT          MI    48238‐1912
GALVEZ ELEMENTARY                               16093 HENDERSON BAYOU RD                                                                         PRAIRIEVILLE     LA    70769‐6210
GAM SET & MRS MARY ANN SET JT TEN               134 WILTON ST                                                                                    NEW HYDE PARK    NY    11040‐3832
GAM VAN TRAN                                    1404 SAYLES AVE                                                                                  ARLINGTON        TX    76018‐2005
GAMAL SHEHAB & SHADIA SHEHAB JT TEN             2761 MIGLIARA LANE                                                                               OCOEE            FL    34761
GAMALIEL C AVILA                                26 REDDER AVE                                                                                    DAYTON           OH    45405‐2222
GAMPER M LINGE JR                               30643 ADAMS                                                                                      GIBRALTAR        MI    48173‐9531
GAN C CHIN & WOON H CHIN JT TEN                 516 WEST CHESTNUT ST                                                                             BROCKTON         MA    02301‐6233
GANNON B RANDOLPH                               3521 SE STARK ST                                                                                 PORTLAND         OR    97214‐3153
GAR H PETTIT                                    2224 N SMITH RD                                                                                  EATON RAPIDS     MI    48827‐9323
GARABET KALOUSTIAN                              355 W LUTGE AVENUE                                                                               BURBANK          CA    91506‐3321
GARATH LEE TUBBS                                230 DESMOND AVE                                                                                  TONAWANDA        NY    14150‐7837
GARCIE LEE WEBB                                 503 FALMORE LANE                                                                                 BOLINGBROOK      IL    60440‐1420
GARDA A WRIGHT & MARTA G WRIGHT JT TEN          417 FRANKLIN STREET                                                                              LINDEN           MI    48451‐8910
GARDA A WRIGHT & MARTA G WRIGHT JT TEN          417 FRANKLIN ST                                                                                  LINDEN           MI    48451‐8910
GARDELL FLOYD                                   25823 FORESTVIEW                                                                                 SOUTHFIELD       MI    48034‐2813
GARDIE LEE JOHNSON                              9802 CLEARCREEK‐FRANKLINRD                                                                       MIAMISBURG       OH    45342‐5004
GARDINIA COBAS                                  937 SALEM ROAD                                                                                   UNION            NJ    07083‐7574
GARDNER B LORIMER                               820 VILLAGE DRIVE                                                                                DAVISON          MI    48423‐1049
GARDNER C COOK                                  6935 CARLISLE CT                       APT 328                                                   NAPLES           FL    34109‐8909
GARDNER COWLES 3RD                              PO BOX 1704                                                                                      SAG HARBOR       NY    11963‐0062
GARDNER E SHELDON JR                            640 SHELDON RD                                                                                   PALMYRA          NY    14522‐9413
GARDNER L KIBLER & EDITH KIBLER JT TEN          7 RECTORY LANE                                                                                   WELLSBORO        PA    16901‐1806
GARDNER N HATCH                                 5700 W DEER PARK DR                                                                              PEORIA           IL    61615‐2275
GARDNER P JAMISON JR                            339 GREEN AVE                                                                                    CARNEYS POINT    NJ    08069‐2454
GARDNER R LEE                                   6633 53RD AVE EAST APT D 65                                                                      BRADENTON        FL    34203‐6874
GARDNER R WHITNEY & WANDA LEE WHITNEY JT TEN    509 8TH ST                                                                                       NEW CUMBERLAND   PA    17070‐1506

GARDNER WETENHALL TR UA 10/03/1991 BERNIECE H   1200 GULF BLVD #306                                                                              CLEARWATER       FL    33767
WETENHALL TRUST
GARED G SCHERMERHORN                            56 RASPBERRY PATCH DR                                                                            ROCHESTER        NY    14612‐2871
GAREL W RICE JR                                 814 S WASHINGTON                                                                                 ROYAL OAK        MI    48067‐3214
GARELD H BENJAMIN                               120 GENTRY FARMS PLACE                                                                           KING             NC    27021
GARELD R WAITE                                  46350 MERRIAM RD                                                                                 WELLINGTON       OH    44090‐9409
GARELL W TOLLE                                  ROUTE 2                                BOX 163                                                   ADRIAN           MO    64720‐9559
GAREN E JONES                                   405 CHERRYVIEW DR                                                                                MIDLAND          MI    48640‐5914
GARETH D SIMON                                  10001 E GOODALL RD                     UNIT C4                                                   DURAND           MI    48429‐9752
GARETH D WEAVER                                 5351 E 350 N                                                                                     MARION           IN    46952‐6846
GARETH E MEARS                                  10720 EAST COUNTY ROAD                 200 NORTH                                                 INDIANAPOLIS     IN    46234
GARETH E MEARS & MARY J MEARS JT TEN            10720 EAST COUNTY ROAD                 200 NORTH                                                 INDIANAPOLIS     IN    46234
GARETH E SMALLEY                                583 BROADWAY ST                        # 106                                                     ANDERSON         IN    46012‐2919
GARETH G HARTE                                  15911 N TURNER RD                                                                                LANSING          MI    48906‐1143
GARETH V JONES VAUXHALL MOTORS LTD              GRIFFIN HOUSE OSBORNE RD               LUTON BEDS LU1                          GREAT BRITAIN
GARETT W PATTERSON & BARBARA A PATTERSON JT     1002 ARLINGTON DR                                                                                HARVESTER        MO    63303‐6606
TEN
GAREY L DELANEY                                 530 N KIRBY RD RT 1                                                                              CORUNNA          MI    48817‐9705
GAREY P MAZUR                                   PO BOX 81                                                                                        WAPITI           WY    82450‐0081
GARFIELD ANDERSON                               596 OLD CORBIN RD                                                                                CORBIN           KY    40701‐7918
GARFIELD BROWN                                  2750 GLEN VALLEY DRIVE                                                                           DECATUR          GA    30032‐4206
GARFIELD GILREATH                               2512 CASPIAN DR                                                                                  KNOXVILLE        TN    37932‐1816
GARFIELD HEATH                                  117 YELLOW POPLAR LN                                                                             HARVEST          AL    35749‐4806
GARFIELD R LUCAS                                925 DUNLOP ST E                        WHITBY ON                               L1N 1T1 CANADA
GARFIELD R LUCAS                                925 DUNLOP ST E                        WHITBY ON                               L1N 1T1 CANADA
GARICK MC NEAL                                  14235 WOODMONT                                                                                   DETROIT          MI    48227‐1325
GARIE LINN BATES                                105 STEELE CREEK DR                                                                              MIDLAND          GA    31820
GARL ALBER                                      7523 HAVILAND DR                                                                                 LINDEN           MI    48451
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GARLAN MANN                                   PO BOX 1545                                                                                   BEATTYVILLE      KY    41311‐1545
GARLAND A HOYLMAN                             3517 E 1100 N                                                                                 ALEXANDRIA       IN    46001‐9048
GARLAND A WILLIAMS                            8208 VALLEY ESTATES DR                                                                        INDIANAPOLIS     IN    46227‐2674
GARLAND B FULTON                              2753 BERKSHIRE                                                                                TROY             MI    48083‐2604
GARLAND C BARBER                              1311 HIGHFIELD CT                                                                             OKLAHOMA CITY    OK    73159‐7721
GARLAND C ROBERTS                             2231 BURTON AVE                                                                               FORT MYERS       FL    33907‐4119
GARLAND CHARLES DRAPER                        6715 S VASSAR RD                                                                              VASSAR           MI    48768‐9698
GARLAND D DOUGLAS                             6621 TWIN RIDGE LN                                                                            CINCINNATI       OH    45224‐1752
GARLAND E BOND                                495 MILLER 104                                                                                ROCHESTER        MI    48307‐2253
GARLAND EDWARDS                               641 BORRIE AVE                                                                                BRIELLE          NJ    08730‐1832
GARLAND F DEAN                                27 COLFAX ST                                                                                  JAMESTOWN        NY    14701
GARLAND F EDMUNDSON                           11310 FURBUSH                                                                                 HOLLY            MI    48442‐9438
GARLAND F FRYE                                PO BOX 430                                                                                    HOLDEN           WV    25625‐0430
GARLAND F HUMPHRIES                           1315 PENNINGTON DR                                                                            LAPEER           MI    48446‐1535
GARLAND G GOODEN SR                           303 W SPRING GROVE AVE                                                                        NORTH AUGUSTA    SC    29841‐3740
GARLAND GILLARD                               2492 RAM CROSSING WAY                                                                         HENDERSON        NV    89014‐8308
GARLAND GRESHAM                               610 LILAC ST                                                                                  ORANGE           TX    77630‐4228
GARLAND GUERNA DELLINGER                      5266 E100 S 2                                                                                 TIPTON           IN    46072‐9654
GARLAND H BAYLESS                             403 S SWEETBRIAR AV                                                                           CHATTANOOGA      TN    37411‐5241
GARLAND H EDWARDS                             6536 N SEPULVEDA BLVD #7                                                                      VAN NUYS         CA    91411‐1309
GARLAND HUNT                                  48 LYNN DRIVE                                                                                 MANSFIELD        OH    44906‐2341
GARLAND JENE CABINE                           1217 BARBARA DR                                                                               FLINT            MI    48505‐2547
GARLAND K JACKSON                             2635 GATSBY ST                                                                                HENDERSON        NV    89052‐2827
GARLAND L DRAKE                               12094 CLOVERLAWN                                                                              DETROIT          MI    48204‐1013
GARLAND L GOWEN                               4718 BETH‐ANN DR                                                                              INDIANAPOLIS     IN    46221‐3417
GARLAND L REID                                121 ELMWOOD RD                                                                                WINCHESTER       VA    22602‐4406
GARLAND M CURLES & GERTRUDE W CURLES JT TEN   12904 MONROE AVE                                                                              FT WASHINGTON    MD    20744‐2853
                                                                                                                                            FORE
GARLAND M JONES                               3518 N LAKE SHORE DR                                                                          CLEMMONS         NC    27012‐8410
GARLAND MARK SMITH                            PO BOX 1064                                                                                   PILOT MOUNTAIN   NC    27041‐1064
GARLAND MORRIS                                1809 BRUCE ST                                                                                 MORRIS           IL    60450‐1118
GARLAND O WEBER & MERCEDES WEBER JT TEN       1226 NE 89TH                                                                                  SEATTLE          WA    98115‐3129
GARLAND R BUCK                                235 DANBURY RD                                                                                W JEFFERSON      OH    43162‐1033
GARLAND R ROACH                               42 CLAY TILLMAN RD                                                                            HILLSBORO        GA    31038‐3720
GARLAND R SEXTON                              10011 W COLDWATER RD                                                                          FLUSHING         MI    48433‐9701
GARLAND R WALKER                              1003 BRYNEWOOD PARK RD                                                                        CHATTANOOGA      TN    37415‐2343
GARLAND SANDERS                               PO BOX 5332                                                                                   FLINT            MI    48505‐0332
GARLAND SHELTON                               6075 N AKRON DR                                                                               ALEXANDRIA       IN    46001
GARLAND T EDMONDS                             PO BOX 895                                                                                    WEST POINT       VA    23181‐0895
GARLAND W LITTLEFIELD                         ROUTE 3                             BOX 3235‐P                                                TOWNSEND         GA    31331‐9421
GARLANDRIA J LEWIS                            2420 FULLER AVE NE                                                                            GRAND RAPIDS     MI    49505‐3834
GARLON MOORE                                  5125 RADNOR RD                                                                                INDIANAPOLIS     IN    46226‐2245
GARLON O BOGGESS                              11308 E 48TH TERRACE                                                                          KANSAS CITY      MO    64133‐2418
GARNA N ZAWACKI                               5377 E BALDWIN ROAD                                                                           GRAND BLANC      MI    48439‐9532
GARNER L HIGGINS                              5822 LOCH LEVEN DR                                                                            WATERFORD        MI    48327‐1842
GARNER LESTAGE                                39 NEWELL DR                                                                                  CUMBERLAND       RI    02864‐4208
GARNER MIRACLE & BETTY J MIRACLE JT TEN       23 OAKWOOD AVE                                                                                SUMMERTOWN       TN    38483‐7604
GARNER T HAUPERT JR                           512 GREAT ROAD                                                                                LITTLETON        MA    01460‐1222
GARNET A WHITE                                6625 N PARAQUA CIR                                                                            CRYSTAL RIVER    FL    34428‐6664
GARNET COGAR                                  6 STRUT CT                                                                                    BALTIMORE        MD    21220‐3539
GARNET D MC FARLAND                           144 HOLLYWOOD DR                                                                              JEFFERSON HLS    PA    15025
GARNET E BRUNSBERG                            9707 W NATIONAL AVE                 APT 22                                                    WEST ALLIS       WI    53227‐2255
GARNET ELOISE NYE                             2412 WICKHAM ROAD                                                                             KERNERSVILLE     NC    27284‐4353
GARNET G MAYS                                 6097 ROAD 177                                                                                 OAKWOOD          OH    45873‐9424
GARNET HARRINGTON VANDER LEEK                 1729 SOUTH SHORE DR                                                                           HOLLAND          MI    49423‐4338
GARNET L CHESEBROUGH                          396 CENTRAL PARK N                  OSHAWA ON                               L1G 5Z8 CANADA
GARNET L EHLENBACH                            945 ADAMS AVE                                                                                 SALEM            OH    44460‐4062
GARNET M BARRON                               7318 E LANSING RD                                                                             DURAND           MI    48429‐9725
GARNET O MEES                                 5303 IVAN                           APT 209                                                   LANSING          MI    48917‐3341
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GARNET R BRANKLE                               3615 W JUDSON RD                                                                                            KOKOMO            IN    46901‐1781
GARNET V CROYLE                                217 VAUGHN ST                                                                                               JOHNSTOWN         PA    15906‐1533
GARNET W BLOWER JR                             RD 1                                                                                                        FAYETTE CITY      PA    15438‐9801
GARNETT C KINCAID                              702 EAGLE BEND RD                                                                                           CLINTON           TN    37716‐3827
GARNETT L DUVALL                               1805 ROBIN HOOD DRIVE                                                                                       FAIRBORN          OH    45324‐3925
GARNETT M VANCE                                12350 TOWNSEND RD                                                                                           MILAN             MI    48160‐9167
GARNETT R HOUGHTON JR                          1251 COOPER DR                                                                                              MANTECA           CA    95336‐4118
GARNETT TUSS                                   9630 SW KILLARNEY LANE                                                                                      TUALATIN          OR    97062‐7514
GARNETTE M GARTEN                              2656 NEWBERRY ROAD                                                                                          WATERFORD         MI    48329‐2346
GARNETTE M MORRISON                            43 HALF MOON                                                                                                EL PASO           TX    79915‐2666
GARNEY R MANN                                  2449 W FARRAND RD                                                                                           CLIO              MI    48420‐1013
GARNIK HAYRAPETIAN                             1610 PINECHASE DR                                                                                           HOUSTON           TX    77055
GAROLD E PARKER                                7908 PARKER ROAD                                                                                            LAINGSBURG        MI    48848
GAROLD E SMITH                                 106 MAY ST                                                                                                  BATH              NY    14810‐9753
GAROLD E SNYDER                                1669 EAST GODDARD                                                                                           MIKADO            MI    48745‐9748
GAROLD G POMEROY                               6512 KNIGHTS WAY                                                                                            KALAMAZOO         MI    49009‐7016
GAROLD L KENNEDY II                            8988 N VINCENT RD                                                                                           ELSIE             MI    48831‐9457
GAROLD L LOTHAMER                              7128 TERNET ROAD                                                                                            MONROEVILLE       IN    46773‐9770
GAROLD R MC MILLEN JR                          11464 MC CRUMB RD                                                                                           PORTLAND          MI    48875‐9413
GAROLD VAN SICKLE                              12751 FROST RD                                                                                              HEMLOCK           MI    48626‐9480
GARRELL DAVIS TIPTON                           35 DONNA JANE CT                                                                                            WEST MILTON       OH    45383‐1931
GARRET HOOGERHYDE & MRS RADIA HOOGERHYDE JT    74 NORTH 17TH ST                                                                                            PATERSON          NJ    07508‐1828
TEN
GARRET J HOOGERHYDE JR                         45 N 17TH ST                                                                                                PROSPECT PARK     NJ    07508‐1811
GARRET W SERN                                  2728 ORDWAY STREET NW                  APARTMENT 5                                                          WASHINGTON        DC    20008‐5051
GARRETH M GANEKO                               908 ELMSFORD DRIVE                                                                                          CLAWSON           MI    48017‐1017
GARRETT A ROOT                                 1246 BRANDY WINE                                                                                            CROWN POINT       IN    46307‐9304
GARRETT A SAUNDERS                             311 GREEN ST                                                                                                FAIRBORN          OH    45324
GARRETT B KUYKENDALL JR                        PO BOX 1035                                                                                                 ROMNEY            WV    26757‐4035
GARRETT CROSBY                                 9961 CR 2422                                                                                                ROYSE CITY        TX    75189
GARRETT D CRISPELL                             PO BOX 808                                                                                                  EL GRANADA        CA    94018‐0808
GARRETT DIAS                                   203 SUSANNAH PL                                                                                             COSTA MASA        CA    92627‐1322
GARRETT E JACKSON & CATHERINE JACKSON JT TEN   33 MIDDLETON RD                                                                                             SAVANNAH          GA    31411‐1420

GARRETT FINGERLE                               12 LAMBOURN SQUARE                     VALLEY PARK          CHANDLERS FORD HANTS   50534 AA GREAT BRITAIN
GARRETT H GAINER & ERNESTINE GAINER JT TEN     HC 65 BOX 34B                                                                                               GRANTSVILLE       WV    26147‐9792
GARRETT J PHELAN                               66 COLLINGWOOD DR                                                                                           ROCHESTER         NY    14621‐1001
GARRETT JAMES REYNOLDS                         5310 ST ANDREWS                                                                                             CRP CHRISTI       TX    78413‐2811
GARRETT KALMAN WARSHAW                         708 POWDERMILL LN                                                                                           WYNNEWOOD         PA    19096‐4035
GARRETT LIONEL LEFEVRE DUNCAN                  2661 4TH AVE SE                        SALMON ARM BC                               V1E 1K7 CANADA
GARRETT M GELIA                                1292 COLVIN BLVD                                                                                            KENMORE           NY    14223‐1402
GARRETT M MILLER                               372 GOLFVIEW DR                                                                                             MIRAMAR BEACH     FL    32550
GARRETT PRICE                                  17 VAN BUREN DRIVE                                                                                          HAMILTON          OH    45011‐4657
GARRETT R LAURA                                76 MYRA DRIVE                                                                                               CROSSVILLE        TN    38572‐7602
GARRETT RUSSELL LEMMONS                        6443 FAWN LN                                                                                                NEW HOPE          PA    18938‐9642
GARRETT SANDERSON III                          41 CORTE DE ROSA                                                                                            MORAGA            CA    94556‐1649
GARRETT V RACZKOWSKI                           12010 SECOR ROAD                                                                                            PETERSBURG        MI    49270‐9795
GARRETT W BASSETT                              PO BOX 881                                                                                                  SUTTONS BAY       MI    49682‐0881
GARRETT WILLIS III                             13300 N NORFOLK                                                                                             DETROIT           MI    48235‐1034
GARRETT WILLIS JR                              17423 FLEMING                                                                                               DETROIT           MI    48212‐1051
GARRIE V HANKINS                               1315 DIANA                                                                                                  MADISON HEIGHTS   MI    48071‐2916

GARRIS MC ELVEEN                               2001 BRICK HOUSE RD                                                                                         RANDOLPH          VA    23962‐3428
GARRISON E FINCH                               6450 W GRAND BLANC RD                                                                                       SWARTZ CREEK      MI    48473‐9403
GARRISON KLUECK & CHERRI KLUECK JT TEN         9836 BONNIE VISTA DRIVE                                                                                     LA MESA           CA    91941‐6965
GARRISON L KILDOW                              4366 PONDVIEW DR                                                                                            SWARTZ CREEK      MI    48473‐9197
GARRISON S LANE                                145 WAMPHASSUC ROAD                                                                                         STONINGTON        CT    06378
GARRISON T BARCOMB                             8 LINCOLN ST                                                                                                CANTON            NY    13617‐1311
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GARRISON W JOHNSON & ESTHER M JOHNSON JT TEN     1913 ROCKCREEK LANE                                                                            FLINT              MI    48507‐2274

GARRON ROBINSON                                  10935 FULTONWELLS AVE APT 716                                                                  SANTA FE SPRINGS   CA    90670‐5930

GARRY A CLEVENGER & PATRICIA VOLK CLEVENGER JT   10870 LAWNDALE DR                                                                              PARMA HEIGHTS      OH    44130‐4439
TEN
GARRY A STARR                                    928 HARRISON ST                                                                                KENNEDALE          TX    76060
GARRY A VANCE                                    4101 RAY RD                                                                                    GRAND BLANC        MI    48439‐9309
GARRY BALDUFF                                    96 NORWOOD AVE                                                                                 NORWALK            OH    44857‐2337
GARRY C CRYER                                    4712 W OKLAHOMA AVE                                                                            TAMPA              FL    33616‐1017
GARRY C LE FEVER                                 380 LAKE MEADE DRIVE                                                                           EAST BERLIN        PA    17316‐9369
GARRY C STEELE & LORETTA A STEELEJT TEN COM      12349 VALLEY HOME RD                                                                           OAKDALE            CA    95361
GARRY C SWEENEY                                  3701 KENT                                                                                      FLINT              MI    48503‐4580
GARRY CHAN                                       66 CONISTAN RD                       MARKHAM ON                              L3R 8K5 CANADA
GARRY D DENNEY                                   610 QUEENSGATE RD                                                                              SPRINGBORO         OH    45066‐8735
GARRY D HESHELMAN & JANET A HESHELMAN JT TEN     ROUTE 4 BOX 438                                                                                BLOOMFIELD         IN    47424‐9504

GARRY D KEEFER                                  1136 LANTERN LN                                                                                 NILES              OH    44446‐3506
GARRY D OSBURN                                  158 CAROLINA RIDGE RD                                                                           PITTSBORO          NC    27312
GARRY D WEBB                                    19053 HARRISON ST                                                                               LIVONIA            MI    48152‐3573
GARRY D WILHELM                                 244 BYRON RD                                                                                    LENNON             MI    48449
GARRY E MC KITTRICK                             PO BOX 3764                                                                                     SPARKS             NV    89432‐3764
GARRY GATES                                     743 JUANITA AVE                                                                                 SANTA BARBARA      CA    93109‐1615
GARRY GIAMMARINO                                1085 US HWY 9                                                                                   HOWELL             NJ    07731‐3700
GARRY H GLASS                                   200 WAYNE WATT ROAD                                                                             BOWLING GREEN      KY    42101‐8579
GARRY J BUCHANAN                                2817 OLD YELLOW SPRINGS RD                                                                      FAIRBORN           OH    45324‐2123
GARRY J CLARK                                   5830 N CARRIAGE LANE                                                                            ALEXANDRIA         IN    46001‐8618
GARRY J HALL                                    64 LILAC LN                                                                                     BONNER SPRINGS     KS    66012‐1334
GARRY J HASSELBUSCH                             7507 VERMONT                                                                                    ST LOUIS           MO    63111‐3246
GARRY J TAYLOR                                  114 PLANTATION DR                                                                               FINCASTLE          VA    24090‐5272
GARRY J TAYLOR & JANICE M TAYLOR JT TEN         114 PLANTATION DR                                                                               FINCASTLE          VA    24090‐5272
GARRY K BROWN                                   127 MARENGO                                                                                     TEMPERANCE         MI    48182‐9334
GARRY L CHURCH & SARAH M CHURCH JT TEN          PO BOX 79078                                                                                    HOUSTON            TX    77279‐9078
GARRY L DIETELBACH                              216 HIGHLAND AVE                                                                                NILES              OH    44446‐1117
GARRY L EBRIGHT                                 219 N JEFFREY                                                                                   ITACA              MI    48847‐1145
GARRY L HARNESS                                 6401 COOK HILL RD                                                                               BURLESON           TX    76028‐1141
GARRY L HARTMAN                                 4199 SHERATON                                                                                   FLINT              MI    48532‐3556
GARRY L HELLMAN                                 659 NORTH LST STREET                                                                            BREESE             IL    62230
GARRY L HENDERSON                               151 WEST HILLTOP LANE                                                                           NASHVILLE          IN    47448
GARRY L KIEFT                                   17804 CHANNEL VIEW                                                                              SPRING LAKE        MI    49456‐1503
GARRY L KITTER                                  2134 TITTABAWASSEE RD                                                                           HEMLOCK            MI    48626‐9501
GARRY L KUIPERS                                 2559 8TH ROUTE 2                                                                                BYRON CENTER       MI    49315‐8909
GARRY L KUIPERS & MAXINE K KUIPERS JT TEN       2559 8TH AVE                                                                                    BYRON CENTER       MI    49315‐8909
GARRY L LICKFELT                                5685 BIRCH RUN RD                                                                               MILLINGTON         MI    48746‐9710
GARRY L MILLER                                  338 BRONCO WAY                                                                                  LANSING            MI    48917‐2728
GARRY L MORRISON                                1224 N UNION AVE                                                                                SALEM              OH    44460‐1355
GARRY L SANSOTE                                 13575 CENTER RD                                                                                 BATH               MI    48808‐9448
GARRY L SHIVELY & PATRICIA A SHIVELY JT TEN     104 EDGELEA DRIVE                                                                               CHAMBERSBURG       PA    17201‐1397
GARRY L SPANGLER                                13534 DAISY CT                                                                                  ROSEMOUNT          MN    55068‐4708
GARRY L STANDISH                                7151 N DURAND RD                                                                                NEW LOTHROP        MI    48460‐9764
GARRY L STREDNEY                                903 NORTH KUNEY                                                                                 ABILENE            KS    67410‐2238
GARRY L VANDER VLUCHT                           1791 N WHITE BIRCH DR                                                                           MEARS              MI    49436‐9432
GARRY L VANDERVLUCHT & PATRICIA J VANDER VLUCHT 1791 N WHITE BIRCH DR                                                                           MEARS              MI    49436‐9432
JT TEN
GARRY L WATTERSON                               11200 E HILLS AND DALES DR                                                                      SELMA              IN    47383‐9638
GARRY LEE CREMER & PAMELLA M CREMER JT TEN      19435 YARRUP LN                                                                                 MILLERSBURG        MI    49759
GARRY LEWIS                                     PO BOX 655                                                                                      SPENCER            IN    47460‐0655
GARRY M QUALLS & DANA K QUALLS JT TEN           1173 BROOKWAY DR                                                                                AVON               IN    46123‐5606
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GARRY MARVIN SLONE & DEBRA ROSE SLONE JT TEN     16299 SAN CARLOS BLVD                                                                            FORT MYERS        FL    33908‐3330

GARRY N LEGAARD                                  5011 NW MERRIMAC                                                                                 RIVERSIDE         MO    64150
GARRY O HENDRICKSON                              ATTN KLIPPEL                           633 E HWY 62                                              BOONVILLE         IN    47601‐9608
GARRY P CLIEFF                                   49 MICHAEL SNOW CRT                    SARNIA ON                               N7W 1B8 CANADA
GARRY P SCHROYER                                 44540 PARSONS RD                                                                                 OBERLIN           OH    44074‐9610
GARRY PAUL NIEMIEC                               30138 ANN ARBOR TRAIL                                                                            WESTLAND          MI    48185
GARRY PELMEAR                                    22161 MINTDALE RD                                                                                STURGIS           MI    49091
GARRY R BRADSHAW                                 3249 OLD FARM RD                                                                                 FLINT             MI    48507‐1248
GARRY R CHANDLER                                 PO BOX 88133                                                                                     INDIANAPOLIS      IN    46208‐0133
GARRY R DURHAM                                   13910 EAST CENTER ST                                                                             BURTON            OH    44021‐9651
GARRY R MACLEAN                                  132 ROYAL PALM RD                                                                                WEST PALM BEACH   FL    33405‐1631

GARRY R SMITH                                    PO BOX 232                                                                                       CISNE             IL    62823‐0232
GARRY R SMITH & JANICE M SMITH JT TEN            896 GRAND TERRACE AVE                                                                            BALDWIN           NY    11510‐1423
GARRY ROBERT SMITH                               896 GRAND TERRACE AVE                                                                            BALDWIN           NY    11510‐1423
GARRY ROWE                                       149 BELLFLOWER ST                                                                                MOUNT HOPE        WV    25880
GARRY S KASTELAN                                 37683 MARIA                                                                                      MT CLEMENS        MI    48036‐2166
GARRY SARGENT                                    C14 NASSAU PA                                                                                    LEWES             DE    19958‐9777
GARRY SEVERN                                     961 TROMBLEY RD                                                                                  GROSSE POINTE     MI    48230‐1836
GARRY T WARBLE                                   3108 CORNWALL RD                                                                                 BALTIMORE         MD    21222‐5316
GARRY V LAURSEN                                  2480 SUNRISE RIM                                                                                 BOISE             ID    83705‐5150
GARRY V TODY                                     115 FALLING LEAF DR                                                                              LAPEER            MI    48446‐3140
GARRY W FERRIS & ROBIN FERRIS JT TEN             6371 ANDERSONVILLE                                                                               WATERFORD         MI    48329‐1409
GARRY W HISSOM                                   16485 COWLEY RD                                                                                  GRAFTON           OH    44044‐9209
GARRY W NEWBURY                                  1437 SMITH RD                                                                                    TEMPERANCE        MI    48182‐1038
GARRY W RUTLEDGE                                 6225 JEFF DR                                                                                     FRANKLIN          OH    45005‐5108
GARRY W SHROYER                                  3335 E 400S                                                                                      HARTFORD CITY     IN    47348‐9721
GARRY W WOODROW                                  8500 N CRYSTAL ROAD                                                                              VESTABURG         MI    48891‐9455
GARSLIE L MC ALLISTER                            43485 ABBEY CIR APT 52                                                                           CANTON            MI    48187
GARTH B SCHWARTZ                                 4105 OCONNOR                                                                                     FLINT             MI    48504‐6922
GARTH BAKER FLETCHER                             3056 MCFARLIN BLVD                                                                               DALLAS            TX    75205‐1921
GARTH COREY                                      5150 ERICKSON BLF                                                                                SAN ANTONIO       TX    78247‐5921
GARTH D LARNER                                   2294 COY RD                                                                                      MASON             MI    48854‐9205
GARTH D MOTSCHENBACHER                           4453 HICKORYWOOD DR                                                                              OKEMOS            MI    48864‐3077
GARTH E PROSSER                                  5549 ASHFORD RD                                                                                  DUBLIN            OH    43017
GARTH E RYMER                                    12 WYCLIFFE CRESCENT                   ELTHAM               VICTORIA           3095 AUSTRALIA
GARTH F HAMILTON                                 4505 MERIDAN                                                                                     LESLIE            MI    49251
GARTH F MAREAU                                   5162 HOMESTEAD LN                                                                                CLIO              MI    48420‐8286
GARTH F NAEBECK                                  11105 PLATT RD                                                                                   MILAN             MI    48160‐9541
GARTH F STELTENPOHL & DORETHA M STELTENPOHL JT   5508 W MAGNOLIA CT                                                                               PASCO             WA    99301‐2263
TEN
GARTH GREGORY BIGBEE                             1522 BROADWAY                                                                                    PELLA             IA    50219‐1009
GARTH H BALLARD                                  362 MONTEBELLO SE                                                                                KENTWOOD          MI    49548‐4318
GARTH HAWKINS & BARBARA G HAWKINS JT TEN         315 STONY POINT RD                                                                               KINS MOUNTAIN     NC    28086‐8563
GARTH L SEVERN                                   11480 COLONIAL WOODS DR                                                                          CLIO              MI    48420‐1594
GARTH L WILLETT                                  6860 TROWBRIDGE CT                                                                               SAGINAW           MI    48603‐8631
GARTH M GORDON                                   70 MC GREGOR                                                                                     LAKE ORION        MI    48362
GARTH MCPHERSON                                  357 MAGNOLIA VALE DR                                                                             CHATTANOOGA       TN    37419‐2164
GARTH O BUTTON                                   1329 WHITE BRIDGE RD                                                                             CHITTENANGO       NY    13037‐9453
GARTH R RUMBLE                                   454 OLD TECUMSEH RD E                  TECUMSEH ON                             N8N 3S8 CANADA
GARTH ROBERTSON                                  6829 NICHOLSON ROAD                    DELTA BC                                V4E 1Z8 CANADA
GARTH SIMEON JACKSON                             4001 WAINWRIGHT                                                                                  LANSING           MI    48911‐2257
GARTH SIMPSON                                    2970 HARPER ST                                                                                   DELTONA           FL    32738‐1435
GARTH V BOSWELL                                  17900 CLIFF                                                                                      DETROIT           MI    48212‐1421
GARTH W ANGELL                                   12145 BALDWIN RD                                                                                 GAINES            MI    48436‐9702
GARTH W CAMP                                     316 WITCHES ROCK RD                                                                              BRISTOL           CT    06010‐7194
GARTHA L PATTON                                  5114 UNDERWOOD                                                                                   DETROIT           MI    48204‐4808
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GARVEL R KINDRICK & KIMBERLEY F KINDRICK JT TEN   1036 GALLOWAY RD                                                                             STAMPING GRD      KY    40379‐9746

GARVEY PRICE JR                                   PO BOX 297                         BARRON DRIVE                                              INSTITUTE         WV    25112‐0297
GARVIE G YOUNG                                    1581 ARROWWOOD ROAD                                                                          DAYTON            OH    45432‐2701
GARVIN A MARTINDALE                               399 LIVE OAK DR                                                                              ATWATER           CA    95301‐2278
GARVIN A RICH & NELLIE JO RICH JT TEN             381 REYNOLDS RD                                                                              HUNTINGDON        TN    38344‐5151
GARVIN E MUNN                                     239 LAKE SCENE ROAD                                                                          KINGSTON          TN    37763‐6619
GARVIN R JENSEN                                   4621 SOTH LONG LAKE DR                                                                       PORTAGE           MI    49002
GARVIN T REEVES                                   C/O MARTH REEVES                   3716 SECTION RD                                           CINCINNATI        OH    45236‐3843
GARWOOD L LOCHNER                                 1790 STICHTER RD                                                                             LUDLOW FALLS      OH    45339‐9722
GARY A ALMAND                                     1121 FORT PARK                                                                               LINCOLN PARK      MI    48146‐1519
GARY A ANDERSEN CUST BIRGIT C ANDERSEN UGMA CA    2100 SURREY LANE                                                                             MCKINNEY          TX    75070‐7132

GARY A ARDELAN                                    56 PARK ST                                                                                   OXFORD            MI    48371‐4840
GARY A ARNOLD                                     13647 LAPLAISANCE                                                                            MONROE            MI    48161‐4758
GARY A BACON                                      7604 PLUMWOOD DR                                                                             JACKSONVILLE      FL    32256‐1530
GARY A BARBER                                     1204 BASSETT                                                                                 DETROIT           MI    48217‐1602
GARY A BEHMLANDER                                 6044 MAPLE RIDGE DR                                                                          BAY CITY          MI    48706‐9064
GARY A BEHRENS                                    3 HUNTINGTON FOREST DRIVE                                                                    SAINT CHARLES     MO    63301‐0488
GARY A BELL                                       118 SPRUCE AV                                                                                CLEVER            MO    65631‐6786
GARY A BERGERON                                   3159 TOWNLINE RD                                                                             OMER              MI    48749‐9741
GARY A BOCKELMAN                                  26171 FLORY RD                                                                               DEFIANCE          OH    43512‐9022
GARY A BONCELLA                                   2297 LAMBERTON ROAD                                                                          CLEVELAND         OH    44118‐3517
                                                                                                                                               HEIGHTS
GARY A BOTT                                       52639 TURNBURY CT                                                                            SHELBY TOWNSHIP   MI    48315‐2443

GARY A BOWERS                                     34190 FOREST ST APT 6                                                                        WAYNE             MI    48184‐1754
GARY A BOYER                                      27768 N RON RIDGE DR                                                                         SAUGUS            CA    91350‐4334
GARY A BREGE                                      15134 GERANIUM LN                                                                            MILLERSBURG       MI    49759‐9500
GARY A BUCHSEN & DIANA M BUCHSEN JT TEN           195 TOLES HOLLOW RD                                                                          COUDERSPORT       PA    16915‐8406
GARY A BUGHER                                     2663 N 200 W                                                                                 TIPTON            IN    46072‐8841
GARY A BUSH                                       930 GREENGATE DR                                                                             LEBANON           OH    45036‐7943
GARY A CARPENTER                                  10770 HOLLAND RD                                                                             FRANKENMUTH       MI    48734‐9123
GARY A CARR                                       525 W BRENTWOOD DRIVE                                                                        PLAINFIELD        IN    46168‐2159
GARY A CARTWRIGHT                                 2690 OUTER DRIVE SOUTH                                                                       EAST LEROY        MI    49051
GARY A CHADARANEK & ERWIN A CHADARANEK JT TEN     1955 CONCORD DR                                                                              DOWNERS GROVE     IL    60516

GARY A CORBIN                                     16 GREYHOUND PASS                                                                            CARMEL            IN    46032
GARY A COTHERN                                    220 MONTGOMERY ST                                                                            BOGALUSA          LA    70427‐3928
GARY A CUMMINGS                                   PO BOX 9022                                                                                  WARREN            MI    48090‐9022
GARY A CURTIS                                     334 ELLENWOOD DR                                                                             W CARROLLTON      OH    45449‐2127
GARY A DAKOLIOS                                   1304 SHADOW CANYON PLACE                                                                     EL PASO           TX    79912‐7695
GARY A DONAHUE                                    1228 E BROOKS ROAD                                                                           MIDLAND           MI    48640‐9587
GARY A DRAKE                                      3337 S 50 W                                                                                  GREENFIELD        IN    46140‐9248
GARY A DUBESTER                                   1724 HICKORY ST                                                                              OSHKOSH           WI    54901‐2509
GARY A EICHLER                                    HC 72 BOX 55E                                                                                KINGSTON          OK    73439‐1078
GARY A ERFOURTH                                   5221 WESTON CT                                                                               COMMERCE TWP      MI    48382‐2864
GARY A EXMEYER                                    117 MONTCELLO CT                                                                             KOKOMO            IN    46902‐9319
GARY A FAIRES                                     6638 FOXFIRE DR                                                                              INDIANAPOLIS      IN    46214‐2034
GARY A FERRARA                                    1589 PEBBLE CREEK DRIVE                                                                      ROCHESTER         MI    48307‐1766
GARY A FERRARA & DOROTHY M FERRARA JT TEN         1589 PEBBLE CREEK DRIVE                                                                      ROCHESTER         MI    48307‐1766
GARY A FIELDS & MALANIE S MASON‐FIELDS JT TEN     4731 HUFF DR                                                                                 ANDERSON          IN    46012‐1054

GARY A FISH                                       18 W BEACH RD                                                                                HILTON            NY    14468‐9505
GARY A FOSTER                                     509 N OAK STREET                                                                             DURAND            MI    48429‐1225
GARY A FRANKOWSKI                                 6602 ALDEN DR                                                                                W BLOOMFIELD      MI    48324‐2008
GARY A FRISELL                                    1402 KINNEVILLE RD                                                                           LESLIE            MI    49251‐9469
GARY A FUSERO                                     117 UILAMA ST                                                                                KAILUA            HI    96734‐1962
GARY A GIBSON                                     PO BOX 25242                                                                                 KANSAS CITY       MO    64119‐0542
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GARY A GLOVER                                  429 WALKER ST                                                                                  AUGUSTA         GA    30901‐5819
GARY A GOSS                                    9013 N GENESEE RD                                                                              MT MORRIS       MI    48458‐9729
GARY A GOUGH & PATSY A SMITH JT TEN            606 S PARK LN                                                                                  DEXTER          MO    63841
GARY A GRAHAM                                  25 GRAMPIAN DR                                                                                 OXFORD          MI    48371‐5212
GARY A GRANT                                   802 MASON ST                                                                                   DURAND          MI    48429‐1147
GARY A GREEN                                   11650 CASCADE ST                                                                               DETROIT         MI    48204‐1489
GARY A GRONAU                                  1111 CABOT DRIVE                                                                               FLINT           MI    48532‐2672
GARY A GRUDZINSKAS                             PO BOX 1                                                                                       BELLEVILLE      MI    48112‐0001
GARY A HACKWORTH                               9196 IDLE HOUR CT                                                                              GRAND BLANC     MI    48439‐9516
GARY A HALE & SHARON HALE JT TEN               2900 S UNION ST                                                                                ROCHESTER       NY    14624‐1044
GARY A HAUSSIN & TERRI L HAUSSIN JT TEN        1231 W COUNTY ROAD 100 N                                                                       GREENCASTLE     IN    46135‐9278
GARY A HIATT                                   1863 N 750 E                                                                                   LAGRO           IN    46941‐9424
GARY A HINDS                                   15029 OLD TOWN DR                                                                              RIVERVIEW       MI    48192‐7714
GARY A HOEKSTRA                                3253 ELWOOD                                                                                    GRANDVILLE      MI    49418‐1622
GARY A HOLLAND                                 2 OKLAHOMA AVE                                                                                 WILMINGTON      DE    19803‐3234
GARY A HORNE                                   14018 GARFIELD                                                                                 REDFORD         MI    48239‐2887
GARY A HOWD                                    3914 ZIMMERMAN                                                                                 FLINT           MI    48532‐5084
GARY A HUFFER                                  1102 HARGROVE ST                                                                               MARSHALL        TX    75670‐1210
GARY A JOHNSON                                 4121 GRESHAM HWY                                                                               POTTERVILLE     MI    48876‐8763
GARY A JOHNSON                                 204 POPLAR ST                                                                                  CARLSBAD        NM    88220‐6333
GARY A KENTON                                  1820 NW LOCUST ST                                                                              CORVALLIS       OR    97330
GARY A KING                                    1203 MALS WAY                                                                                  MIAMISBURG      OH    45342‐6364
GARY A KINGREY                                 8063 ARCANUMPAINTER CREEK RD                                                                   ARCANUM         OH    45304‐9760
GARY A KOON                                    3012 JUDYTH STREET SE                                                                          WARREN          OH    44484‐4036
GARY A KOTLARK                                 10457 W PIERSON RD                                                                             FLUSHING        MI    48433‐9767
GARY A LANDER                                  50367 AUSTIN RD                                                                                WELLINGTON      OH    44090‐9755
GARY A LEEBY                                   1329 1ST ST N                                                                                  FARGO           ND    58102‐2720
GARY A LIPPERT                                 8164 DUCK CREEK RD                                                                             BERLIN CENTER   OH    44401‐9623
GARY A LOEFFLER                                7223 HUNTERS CHASE                                                                             MAUMEE          OH    43537‐9249
GARY A LUTZ                                    520 CAROLYN DRIVE                                                                              MIAMISBURG      OH    45342‐2616
GARY A MALONE                                  4679 SUCKER CREEK RD                                                                           BLACK RIVER     MI    48721‐9719
GARY A MALONE & JEANENE MARIE MALONE JT TEN    4679 SUCKER CREEK RD                                                                           BLACK RIVER     MI    48721‐9719

GARY A MANTZ                                   11 EVANS TERR                                                                                  CLARK           NJ    07066‐2009
GARY A MARCUM                                  4402 MCKINLEY AV                                                                               ANDERSON        IN    46013‐5059
GARY A MARPLE                                  3330 BOXWOOD DR                                                                                FAIRBORN        OH    45324‐2204
GARY A MARSHALL                                2815 S CANAL RD                                                                                EATON RAPIDS    MI    48827‐9392
GARY A MATHIS                                  937 DOC COX RD                                                                                 HUMBOLDT        TN    38343‐7607
GARY A MCDONOUGH                               17791 PINEAPPLE PALM COURT                                                                     NORHT FORT      FL    33917‐2047
                                                                                                                                              MEYERS
GARY A MEISTER                                  1640 SOMERSET                                                                                 HUDSON          MI    49247
GARY A MENDELSOHN                               20 ANASVILLE RD                                                                               SOMERS          NY    10589
GARY A MICHEL                                   12 CHINABERRY CT                                                                              NORTH POTOMAC   MD    20878‐4703
GARY A MILLER                                   9806 MEADOWFERN DR                                                                            ST LOUIS        MO    63126‐2418
GARY A MORTON                                   1525 KARLE                                                                                    WESTLAND        MI    48186‐4122
GARY A MULLINS                                  7059 W COUNTY RD 950 N                                                                        MIDDLETOWN      IN    47356‐9328
GARY A NICKOLOFF TR GARY A NICKOLOFF TRUST UA   11415 TE FT RD                                                                                ST CHARLES      MI    48655
05/19/95
GARY A OLDS & MARIE A OLDS JT TEN               16847 SW STEELHEAD CRR                                                                        TERREBONNE      OR    97760‐8535
GARY A OROSCO                                   319 N HIGHWAY 1                     SPC 75                                                    GROVER BEACH    CA    93433‐3555
GARY A PAJAK                                    4306 CLINTON ST                                                                               WEST SENECA     NY    14224‐1647
GARY A PASCHAL                                  975W                                5644 N CO RD                                              MIDDLETOWN      IN    47356‐9760
GARY A PETERSON                                 5600 LEWIS WAY                                                                                CONCORD         CA    94521‐4747
GARY A RICHARDSON                               5050 E EVERGREEN                                                                              MESA            AZ    85205
GARY A RICHARDSON & DEBORAH L RICHARDSON JT TEN 5050 E EVERGREEN                                                                              MESA            AZ    85205

GARY A ROTH                                    3473 S DONNINGTON PL                                                                           EAGLE           ID    83616‐5248
GARY A ROUSE                                   5230 JENNIE ST                                                                                 WHITE LAKE      MI    48383‐2618
GARY A SANDERS                                 10805 PARKVIEW AVE                                                                             CLEVELAND       OH    44104‐4915
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GARY A SCHIRTZINGER                             181 OVERLOOK RD                                                                                GLASTONBURY      CT    06033‐3615
GARY A SCHMIEDECKE                              123 MORNINGSIDE DR                                                                             BUTLER           PA    16002‐3515
GARY A SCHMIEDER                                3313 S STATE RD                                                                                DAVISON          MI    48423‐8751
GARY A SCHWARTZ & SUSAN K SCHWARTZ JT TEN       6541 E BIRCH RUN RD                                                                            BIRCH RUN        MI    48415‐8510
GARY A SHUMWAY                                  2 ABBINGTON WAY                                                                                DOUGLASVILLE     GA    30134‐4474
GARY A SICARD                                   3460 S VASSAR RD                                                                               BURTON           MI    48519‐1679
GARY A SMITH                                    1706 PEGGY PL                                                                                  LANSING          MI    48910‐2551
GARY A SNYDER                                   PO BOX 81027                         DAVAO CITY                             8000 PHILIPPINES
GARY A SORICE                                   1708 AUSTIN AVE                                                                                LINCOLN PARK     MI    48146‐2158
GARY A SOWARDS                                  7617 TURN BROOK DRIVE                                                                          GLEN BURNIE      MD    21060‐8445
GARY A SWANK                                    11430 COLLINGWOOD COURT                                                                        CLIO             MI    48420‐1719
GARY A TAKACS                                   1514 BERRYWOOD LN                                                                              FLINT            MI    48507‐5354
GARY A TALAGA                                   1123 PARK AVE                                                                                  BAY CITY         MI    48708‐6338
GARY A THOMPSON                                 274 ROCKY BRANCH RD                                                                            CHAPMANVILLE     WV    25508‐9794
GARY A TIEPPO                                   33532 AVONDALE                                                                                 WESTLAND         MI    48186‐7838
GARY A TILSON                                   PO BOX 9022                                                                                    WARREN           MI    48090‐9022
GARY A TIMM & SANDRA J TIMM JT TEN              3936 HONEYBROOK SW                                                                             GRANDVILLE       MI    49418‐2016
GARY A TRIACA                                   9377 BALDWIN RD                                                                                GAINES           MI    48436‐9719
GARY A VAUGHN                                   3537 LESLEY AVE                                                                                INDIANAPOLIS     IN    46218‐1853
GARY A VETTRAINO                                148 HOLMES RD                                                                                  ALLENTON         MI    48002‐4112
GARY A WARREN                                   2556 MOLLER RD                                                                                 INDIANAPOLIS     IN    46224‐3380
GARY A WERNER                                   336 BEECHWOOD PLACE                                                                            FRANKLIN LAKES   NJ    07417‐2003
GARY A WHITE & MARY KAY WHITE JT TEN            14647 DIXON LANE                                                                               HOMER GLEN       IL    60491
GARY A WILHITE                                  11606 BASKET CROSSING                                                                          SAN ANTONIO      TX    78245‐3375
GARY A WILLIAMS                                 2436 ENDSLEY DR                                                                                INDIANAPOLIS     IN    46227‐4407
GARY A WILSON                                   6842 WHITE OAK DR                                                                              DANVILLE         IN    46122‐9297
GARY A WOOD                                     7600 EAST 49TH TERR                                                                            KANSAS CITY      MO    64129‐2049
GARY AIN                                        58 SANDY HILL RD                                                                               OYSTER BAY       NY    11771
GARY ALAN WEIR                                  2314 W SHERMAN DR                                                                              MUNCIE           IN    47304‐2174
GARY ALDRICH                                    12470 HARRIET LAKE RD                                                                          HIBBING          MN    55746‐8571
GARY ALLEN FERRARA & RUDOLPH A FERRARA JT TEN   1589 PEBBLE CREEK DRIVE                                                                        ROCHESTER        MI    48307‐1766

GARY ALLEN MCKINNEY                             333 W MARKET ST                                                                                JEFFERSONVILLE   IN    47130‐3343
GARY ALLEN SCHACHTERLE                          2038 LANDER CIRCLE                                                                             COLORADO SPGS    CO    80909
GARY ARMSTRONG                                  16286 RD 149                                                                                   DEFIANCE         OH    43512‐9314
GARY B AASEN                                    6 KATHERINE RD                                                                                 REHOBOTH         MA    02769‐1937
GARY B ABBRING                                  2223 ALDEN NASH NE                                                                             LOWELL           MI    49331‐9759
GARY B ADAMCZYK                                 891 HOTCHKISS RD                                                                               BAY CITY         MI    48706‐9707
GARY B BENNETT                                  1377 CIRCLE DR WEST                                                                            MANSFIELD        OH    44905‐1814
GARY B BENTFELD                                 PO BOX 205 MIDDLETOWN RD                                                                       NEW MIDDLETOW    OH    44442‐0205

GARY B BOND                                     8229 W 875 S                                                                                   PENDLETON        IN    46064‐9794
GARY B BROWNING                                 3759 STONE RIDGE DR                                                                            JANESVILLE       WI    53548‐5827
GARY B CANTIN & LEONETTE E CANTIN JT TEN        2917 STONELEIGH DR                                                                             LANSING          MI    48910‐3705
GARY B ENGEL                                    5441 W M 76                                                                                    WEST BRANCH      MI    48661‐9156
GARY B ENGLISH                                  226 FAIRGROUND DR                                                                              PAULDING         OH    45879‐9258
GARY B GRIGGS                                   1312 HUNT                                                                                      RICHLAND         WA    99352‐3438
GARY B HANNA                                    13 N JOHN ST                                                                                   NEWPORT          DE    19804‐3126
GARY B HANSEL                                   5002 BRIGHT BALDWIN RD                                                                         NEWTON FALLS     OH    44444‐9460
GARY B HANSEN                                   2483 N DORCHESTER AVE                HARRISVILLE                                               OGDEN            UT    84414
GARY B HEPLER                                   1371 EDGEORGE                                                                                  WATERFORD        MI    48327‐2014
GARY B HIBBS                                    12863 ISLE ROYALE DRIVE                                                                        DEWITT           MI    48820‐8671
GARY B JOHNSON                                  2160 STAHLHEBER RD                                                                             HAMILTON         OH    45013‐1930
GARY B LESSER                                   756 RUTH DRIVE                                                                                 ELGIN            IL    60123‐1930
GARY B LINDELL                                  639 INDIAN LAKE ROAD                                                                           OXFORD           MI    48371‐6219
GARY B MIKOLAJCZYK                              2319 W BRIDGE STREET                                                                           MILWAUKEE        WI    53221‐4947
GARY B NUNNERY                                  19875 WINDWOOD CIR                                                                             RIVERSIDE        CA    92508‐3268
GARY B OLITO                                    4233 MASON LANE                                                                                SACRAMENTO       CA    95821‐3026
GARY B PETERSON SR                              5510 BERKLEY                                                                                   WATERFORD        MI    48327‐2706
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GARY B SMITH                                       3157 WYATT DR                                                                                    BOWLING GREEN     KY    42101‐0765
GARY B THOMPSON                                    1584 KILLEEN DR                                                                                  PASADENA          MD    21122
GARY B WEBBER                                      5789 KLAM ROAD                                                                                   COLUMBIAVILLE     MI    48421‐9342
GARY BACH CUST CODY BACH UTMA IL                   430 KOLBERG                                                                                      VILLA PARK        IL    60181‐3423
GARY BAKER                                         860 UNITED NATIONS PLZ                                                                           NEW YORK          NY    10017‐1810
GARY BAKER                                         BOX 144                                                                                          MOOSE PASS        AK    99631‐0144
GARY BEAUCHEMIN                                    1052 INTERLAKE DRIVE                    OSHAWA ON                              L1K 2M5 CANADA
GARY BEE JR                                        316 W CENTRAL AVE                                                                                FEDERALSBURG      MD    21632‐1245
GARY BEEHLER                                       2972 CHURCH RD                                                                                   HAMLIN            NY    14464‐9758
GARY BEER & MARY BEER JT TEN                       601 TIMOTHY LN                                                                                   CARTERVILLE       IL    62918‐5048
GARY BELL CUST NICOLE LYNN BELL UTMA MN            6109 MEDICINE LAKE RD                                                                            CYRSTAL           MN    55422‐3331
GARY BENWITZ                                       15723 KNAPP SHORE                                                                                KENT              NY    14477
GARY BLOCHOWSKI                                    3472 SHADYWOOD CIRCLE                                                                            LAMBERTVILLE      MI    48144‐9648
GARY BOLYARD & NANCY BOLYARD JT TEN                795 LAKE PARK                                                                                    BIRMINGHAM        MI    48009‐1203
GARY BOND                                          614 N PENDLETON AVE                                                                              PENDLETON         IN    46064‐8976
GARY BRADDOCK MARY ELIZABETH BRADDOCK &            1104 GLEN PARK LN                                                                                VALRICO           FL    33594
ROBERT BRADDOCK JT TEN
GARY BRAND                                         229 MT VIEW DR                                                                                   MONROE           NH     03771
GARY BRANDENBURG                                   617 LA FARGE AVE                                                                                 LOUISVILLE       CO     80027‐1819
GARY BROOKS                                        39426 OLD DOMINION                                                                               CLINTON TWP      MI     48038‐2647
GARY BROWN & ROBERTA BROWN JT TEN                  153 LOCUST GROVE ROAD                                                                            DILLSBURG        PA     17019‐9614
GARY C ARMSTRONG                                   12681 SLEEPY HOLLOW ROAD                                                                         THREE RIVERS     MI     49093‐9545
GARY C BAILEY                                      4201 W DODGE RD                                                                                  CLIO             MI     48420‐8555
GARY C BEZAL                                       254 LAKEVIEW CIR                                                                                 MOUNT JULIET     TN     37122‐2048
GARY C BONER                                       4311 N BANTA RD                                                                                  BARGERSVILLE     IN     46106‐8818
GARY C BOROWSKI                                    4267 TWIN OAKS LANE                                                                              HOLLY            MI     48442‐9127
GARY C BREMER                                      25241 RIDGEWOOD                                                                                  FARMINGTON HILLS MI     48336‐1053

GARY C BROWN                                       2676 CARPENTER RD                                                                                LAPEER            MI    48446‐9008
GARY C COCHRAN                                     14705 CREED RD                                                                                   DIAMOND           OH    44412‐9605
GARY C COLLINS                                     2901 STEEPLECHASE TRL                                                                            ARLINGTON         TX    76016‐2316
GARY C CUROLE                                      295 WILTON RD                                                                                    SAREPTA           LA    71071‐3267
GARY C EICHMAN                                     13266 ENID                                                                                       FENTON            MI    48430‐1152
GARY C GIESSEL                                     3548 COCKATOO DRIVE                                                                              NEW PORT RICHIE   FL    34652‐6456
GARY C GIESSEL & CATHERINE M GIESSEL JT TEN        3548 COCKATOO DRIVE                                                                              NEW PORT RICHIE   FL    34652‐6456
GARY C HAGEN                                       21635 US HIGHWAY 23 S                                                                            PRESQUE ISLE      MI    49777‐9076
GARY C HUTCHCRAFT                                  809 N RIVER DR                                                                                   PORT BYRON        IL    61275‐9006
GARY C HUTTON                                      PO BOX 1930                                                                                      WEATHERFORD       TX    76086‐0239
GARY C JOSLIN                                      4141 TRIWOOD                                                                                     BRIDGEPORT        MI    48722‐9550
GARY C LYBROOK                                     9183 GREEN RIDGE LN                                                                              BLOOMINGTON       IN    47401‐9013
GARY C LYNCH                                       201 MARRYWOOD LN                                                                                 HENDERSONVILLE    NC    28791‐3853
GARY C MC RATH                                     5460 AVEBURY WAY                                                                                 GALDWIN           MI    48624‐8214
GARY C MCKEE                                       8365 W MCCLURE RD                                                                                MONROVIA          IN    46157‐9222
GARY C MITCHELL                                    4374 E 6RD 850 S                                                                                 MOORESVILLE       IN    46158‐7406
GARY C MOBLEY                                      1629 RIDGE ROAD                                                                                  HIGHLAND          MI    48356‐2852
GARY C MONBERG & MRS LINDA M MONBERG JT TEN        22637 E ELEVEN MILE RD                                                                           ST CLAIR SHORES   MI    48081‐2536

GARY C MORIN                                       1212 E FRONT ST                         APT B                                                    FALLON            NV    89406‐6124
GARY C MOYSES                                      203 SCENIC VIEW LN                                                                               CARROLLTON        GA    30116‐1838
GARY C NEGULICI                                    1632 MABRY MILL SW DR                                                                            NORTH CANTON      OH    44709‐4217
GARY C OHARA                                       831 GENESEE AVE                                                                                  SABASTIAN         FL    32958‐6037
GARY C POLICASTRO                                  3800 ELEANOR DRIVE                                                                               MOHEGAN LAKE      NY    10547‐1025
GARY C RIDLEY                                      12083 WEBSTER RD                                                                                 CLIO              MI    48420‐8226
GARY C SAMPLER                                     840 HOLLONVILLE ROAD                                                                             BROOKS            GA    30205
GARY C SCHLICHT                                    29 ENSLEY                                                                                        OXFORD            MI    48371‐4949
GARY C SCHLICHT & MRS LORRAINE M SCHLICHT JT TEN   29 ENSLEY                                                                                        OXFORD            MI    48371‐4949

GARY C SCHULTZ                                     441 N MARIAS                                                                                     CLAWSON           MI    48017‐1481
GARY C SHOWALTER                                   BOX 275                                                                                          VERNAL            UT    84078‐0275
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GARY C SMITH                                    5774 BIRCHMONT PLACE DR                                                                        SAINT LOUIS       MO    63129‐2987
GARY C ST PIERRE & VICKI S ST PIERRE JT TEN     1955 CORBI LANE                       TECUMSEH ON                            N8N 5C8 CANADA
GARY C TACKETT                                  25093 ST RT 124                                                                                PIKETON           OH    45661
GARY C THORPE CUST MICHELLE E THORPE UGMA MI    2475 ASHFORD                                                                                   ROCHESTER HLS     MI    48306‐3150

GARY C WAGNER & SUSAN WAGNER JT TEN             380 STARLIGHT CT                                                                               PARADISE          CA    95969‐5762
GARY C WAHL & JOANN M WAHL JT TEN               9267 BRENO DR                                                                                  FORT MYERS        FL    33913‐2005
GARY C WHITE                                    4563 INDIANWOOD RD                                                                             CLARKSTON         MI    48348‐2235
GARY C WIDEMAN                                  22704 VIOLET                                                                                   ST CLAIR SHRS     MI    48082‐2751
GARY C WILES                                    7373 S ADRIAN HWY                                                                              ADRIAN            MI    49221‐9662
GARY C WILLIAMS                                 4713 PRIMROSE LN                                                                               MIDDLETOWN        OH    45044‐5335
GARY C WILLIAMS                                 1505 HWY N                                                                                     FORISTELL         MO    63348‐1606
GARY C WORKMAN                                  2811 SUNRIDGE                                                                                  TROY              MI    48084‐1026
GARY CALDWELL & ELEANOR CALDWELL JT TEN         519 AZURE AVE                                                                                  WEST PALM BEACH   FL    33414‐8127

GARY CALNEK                                     3959 SAXON AVE                                                                                 BRONX             NY    10463‐3101
GARY CAMPBELL & MRS MAUREEN CAMPBELL JT TEN     274 HEMLOCK GROVE LN                  RR3                                                      WILLIAMSPORT      PA    17702‐8757

GARY CARL WESTERHOFF                            6515 WINDFLOWER RD                                                                             LINCOLN           NE    68521‐9007
GARY CARRIGAN & MARY CARIGAN CO CONSEVATORS     6351 RANDALL RD                                                                                LAKE CITY         MI    49651‐9321
OF NICOLE CARRIGAN
GARY CHRISTIE CUST ALLISON L CHRISTIE UGMA PA   3816 CLAVERTON RD                                                                              MECHANICSBURG     PA    17055‐7600

GARY CLEVENGER                                  37763 LAGOON LN                                                                                OCEAN VIEW        DE    19970‐3628
GARY CLIFFORD CHRISTIE                          8946 N OLD HAGGARD RD                                                                          MORGANTOWN        IN    46160‐8948
GARY CLINTON A MINOR UNDER GUARDIANSHIP OF      1026 ANDRUS ST                                                                                 LANSING           MI    48917‐2213
DOROTHY M CLINTON
GARY COHEN CUST NICHOLAS COHEN UGMA NY          1816 MONTE CARLO WAY                                                                           CORAL SPRINGS     FL    33071‐7829
GARY COKER                                      1780 RIKSAN CV                                                                                 BEAUMONT          TX    77706‐2516
GARY COLE & JUDY A COLE JT TEN                  3129 ELMWOOD DR                                                                                ERLANGER          KY    41018‐2204
GARY COLLIGAN                                   903 HIRE CIR                                                                                   OCOEE             FL    34761
GARY COOPER                                     18 BEVERLY LANE                                                                                PEEKSKILL         NY    10566‐4717
GARY CRIMI                                      1123 CHINABERRY LANE                                                                           CROWNSVILLE       MD    21032
GARY CROMES                                     3073 COUNTY RD 25 A S                                                                          SIDNEY            OH    45365
GARY D BALL                                     3152 WILLIAMSBURG                                                                              ANN ARBOR         MI    48104
GARY D BANTA                                    4248 S WYCK DR                                                                                 JANESVILLE        WI    53546‐2119
GARY D BAYLOR & MRS J SUZANNE BAYLOR JT TEN     40 COMMODORE PARKWAY                                                                           ROCHESTER         NY    14625‐2065
GARY D BLAKESLEE                                15861 GEDDES RD                                                                                HEMLOCK           MI    48626‐9603
GARY D BODARY                                   420 W WILKINSON RD                                                                             OWOSSO            MI    48867‐1257
GARY D BOWLING                                  14704 S R 111                                                                                  DEFIANCE          OH    43512‐8615
GARY D BURKETT                                  2317 MATTIE LU DR                                                                              AUBURN HILLS      MI    48326‐2430
GARY D CALTRIDER                                4719 FERRIS RD                                                                                 ONONDAGA          MI    49264‐9729
GARY D CANNON                                   PO BOX 2906                                                                                    THOMASVILLE       GA    31799‐2906
GARY D CHILDERS                                 4404 ROLLAND DR                                                                                KOKOMO            IN    46902‐4728
GARY D CLEASBY                                  1531 SO CHATHAM                                                                                JANESVILLE        WI    53546‐5819
GARY D CLINTON                                  1026 ANDRUS STREET                                                                             LANSING           MI    48917‐2213
GARY D CONLAN                                   375 DAVIS RD                                                                                   MANSFIELD         OH    44907‐1119
GARY D CRAWFORD                                 111 GRASSLAND DR                                                                               GALLATIN          TN    37066‐5708
GARY D CRAWFORD                                 PO BOX 901                                                                                     ROYAL OAK         MI    48068‐0901
GARY D CREED                                    9801 E JUDDVILLE RD                                                                            CORUNNA           MI    48817‐9796
GARY D CULBERSON                                4155 S BEECHGROVE RD                                                                           WILMINGTON        OH    45177‐9124
GARY D DEGOLYER                                 6733 NO CO ROAD 50 W                                                                           LIZTON            IN    46149‐9488
GARY D DEW                                      10444 WILLOW RD                                                                                WILLIS            MI    48191‐9787
GARY D DUMAS & JANE M DUMAS JT TEN              1353 COUNTY RTE 25                                                                             MALONE            NY    12953‐6025
GARY D ELSTEN                                   PO BOX 338                                                                                     FRANKTON          IN    46044‐0338
GARY D FRENCH                                   2087 ROCK SPRINGS RD                                                                           COLUMBIA          TN    38401‐7424
GARY D FRIEND                                   3778 DURST CLAGG RD                                                                            CORTLAND          OH    44410‐9546
GARY D GAFF                                     727 BOSCO DR                                                                                   LAKE ORION        MI    48362‐2101
GARY D GATLIN                                   286 OLD CEDAR LOOP                                                                             PAWLEYS ISLAND    SC    29585‐8017
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Name                                              Address1                             Address2             Address3          Address4          City              State Zip

GARY D GAULKE                                     5141 OAK LAWN DR NE                                                                           REMER             MN    56672‐3136
GARY D GERARD & JACQUELINE A GERARD JT TEN        11619 SCHRAM ST                                                                               GRAND BLANC       MI    48439‐1317
GARY D GIBBONS                                    711 WEST 11TH STREET                                                                          NEW CASTLE        DE    19720‐4915
GARY D GIBSON                                     5725 INDEPENDANCE PLACE                                                                       FAIRFIELD         OH    45014‐3849
GARY D GLENN                                      322 NORMANDY                                                                                  ROYAL OAK         MI    48073‐5109
GARY D GLOVER                                     1108 CINDERELLA DR                                                                            PAMPA             TX    79065‐2602
GARY D GRAHAM                                     213 DAVID DRIVE                                                                               LEXINGTON         KY    40503‐2443
GARY D GRAHAM                                     412 LINDENWOOD                                                                                LINDEN            MI    48451‐8943
GARY D GRAY & CAROL S GRAY JT TEN                 1140 MT MCKINLEY DR                                                                           GRAYSON           GA    30017‐2938
GARY D GREER                                      PO BOX 263                                                                                    ALEXANDRIA        IN    46001‐0263
GARY D GUDAKUNST                                  RT 2 BOX 23169 ROAD O‐22                                                                      FT JENNINGS       OH    45844‐9802
GARY D GUNNELS                                    3213 E FRANCES RD                                                                             CLIO              MI    48420‐9760
GARY D HALUN                                      7510 ZONA LANE                                                                                PARMA             OH    44130‐5855
GARY D HARGROVE                                   2808 LINDA LN                                                                                 DEL CITY          OK    73115‐5012
GARY D HARRISON                                   PO BOX 455                                                                                    RANDOLPH          OH    44265‐0455
GARY D HART                                       1645 LULU ST                                                                                  WICHITA           KS    67211‐4544
GARY D HART TR WILLIAM HART JR UNIFIED CREDIT     23144 23RD AVE W                                                                              BRIER             WA    98036‐8383
TRUST UA 01/17/00
GARY D HEACOX                                     6479 COLONIAL DRIVE                                                                           LOCKPORT          NY    14094‐6122
GARY D HENSON & MRS JANE R HENSON JT TEN          510 HILLSIDE DR                                                                               AUBURNDALE        FL    33823‐9465
GARY D HORN                                       PO BOX 328                                                                                    LINCOLN           MI    48742‐0328
GARY D JACKSON JR                                 3441 RIDGE RD                                                                                 COLUMBIA          TN    38401
GARY D JAMES                                      PO BOX 1190                                                                                   CRESCENT CITY     CA    95531‐1190
GARY D JENKINS                                    2157 ACADEMY DRIVE                                                                            CLEARWATER        FL    33764‐4801
GARY D JOHNSON                                    2222 ADDALEEN                                                                                 HIGHLAND          MI    48357‐3014
GARY D KEPLER                                     852 RIDGEWOOD BLVD                                                                            HUDSON            OH    44236‐1686
GARY D KRUPA                                      3614 DARCEY LN                                                                                FLINT             MI    48506‐2648
GARY D LECLAIR                                    11 BURLWOOD DR                                                                                BURLINGTON        CT    06013‐2502
GARY D LOCKWOOD                                   22125 STUDIO                                                                                  TAYLOR            MI    48180‐2473
GARY D MAHAFFEE                                   3647 GOOSANDER ST                                                                             KITTY HAWK        NC    27949‐4266
GARY D MALESKY                                    340 W CLARKSTON RD                                                                            LAKE ORION        MI    48362‐2882
GARY D MATHIAS                                    600 MILL RACE RD                                                                              MARTINSBURG       WV    25401‐9279
GARY D MC CONNAUGHHAY                             10238 PRIMROSE DR                                                                             DAVISON           MI    48423‐7908
GARY D MCMULLIN                                   180 OXFORD AVE                                                                                PENDLETON         IN    46064‐8722
GARY D MILLER                                     10594 BARNES RD                                                                               EATON RAPIDS      MI    48827‐9233
GARY D MILLS                                      4157 EAST M71                                                                                 CORUNNA           MI    48817‐9509
GARY D MINNICH                                    561 RIVERVIEW DR                                                                              MILLERSBURG       PA    17061‐1569
GARY D NELSON                                     661 EAST 266                                                                                  EUCLID            OH    44132‐1953
GARY D NEUMANN                                    24034 ROBINWOOD ST                                                                            LEESBURG          FL    34748‐7890
GARY D OLIVER                                     915 ORMSBY STREET                                                                             VISTA             CA    92084‐1435
GARY D OWENS                                      30754 WOODMONT                                                                                MADISON HEIGHTS   MI    48071‐5236

GARY D PEOPLES                                    10963 ROCKAWAY GLEN RD                                                                        APPLE VALLEY      CA    92308‐3660
GARY D PETERS                                     8677 BRAY RD                                                                                  VASSER            MI    48768‐9647
GARY D PHILLIPS                                   1740 FOREST DR                                                                                MEDINA            OH    44256‐8644
GARY D PICKERELL                                  103 S ELBA RD                                                                                 LAPEER            MI    48446‐2782
GARY D PICKETT                                    1400 ENGLEWOOD RD                                                                             GLADSTONE         MO    64118
GARY D PLUMB                                      PO BOX 337                                                                                    COLUMBIAVILLE     MI    48421‐0337
GARY D PRESSELL                                   1453 TRIPODI CIR                                                                              NILES             OH    44446‐3564
GARY D ROBINSON                                   10321 W LOMA LN                                                                               PEORIA            AZ    85345‐7528
GARY D ROBINSON                                   8094 MAXWELL AVE                                                                              WARREN            MI    48089‐2318
GARY D ROGERS                                     3471 N 650 E                                                                                  MONTPELIER        IN    47359‐9739
GARY D SCHUG                                      10660 FOREST ROAD                                                                             GLADWIN           MI    48624‐8842
GARY D SCHWERTNER                                 819 HUBBARD ST                                                                                FLINT             MI    48503‐4984
GARY D SELL                                       19104 E 30TH TER S                                                                            INDEPENDENCE      MO    64057‐1916
GARY D SELLERS                                    7388 GRANDWOOD DR                                                                             SWARTZ CREEK      MI    48473‐9416
GARY D SERGENT & KATHLEEN K SERGENT JT TEN        11370 TRAILS END N                                                                            WILLIAMSBURG      MI    49690‐9205
GARY D SHARP                                      4969 STONEY RIDGE RD                                                                          N RIDGEVILLE      OH    44039‐1129
GARY D SHEPHERD                                   6788 HEATHER MOOR TRL                                                                         HILLSBORO         OH    45133‐9365
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GARY D SIMMONS                                    915 BLANCHARD AVE                                                                               FLINT            MI    48503‐5368
GARY D SMITH                                      5577 COACHMANS LN                                                                               HAMBURG          NY    14075‐5854
GARY D SMITH                                      8008 MAYWOOD LN                                                                                 OKLAHOMA CITY    OK    73150‐7205
GARY D SMITH                                      434 MADISON AVE                                                                                 ROSCOMMON        MI    48653‐9222
GARY D SNYDER                                     513 SCOTT PARK DR                                                                               IOWA CITY        IA    52245‐5144
GARY D SPRADLEY                                   206 E LAMINE ST                                                                                 LINCOLN          MO    65338‐1034
GARY D STACHOWIAK                                 17211 MAYFIELD                                                                                  ROSEVILLE        MI    48066‐3320
GARY D STEELE                                     5267 N GALE                                                                                     DAVISON          MI    48423‐8956
GARY D STOCKTON & MRS JANICE R STOCKTON JT TEN    8624 PUTTYGUT RD                                                                                RICHMOND         MI    48064‐1908

GARY D STUDNICKI & JUDITH ANN STUDNICKI JT TEN    21920 GOLDEN STAR BLVD                                                                          TEHACHAPI        CA    93561‐9428

GARY D TEAGUE                                     706 DENSON DR                          APT 207                                                  AUSTIN            TX   78752‐4074
GARY D TEMPALSKI                                  1253 OAKWOOD DIRVE                                                                              CLAIRTON          PA   15025
GARY D THIBO                                      PO BOX 525                                                                                      MILLINGTON        MI   48746‐0525
GARY D THRIFT                                     324 WINDY RIDGE DR                                                                              RUTHERFARDTON     NC   28139‐6604
GARY D TOOLES                                     2618 LILLIAN RD                                                                                 ANN ARBOR         MI   48104‐5318
GARY D TOWNSEND                                   756 VIRGINIA                                                                                    BELLEVILLE        MI   48111‐9084
GARY D TUTLE                                      4001 COUNTY ROAD 1110                                                                           RIO VISTA         TX   76093‐3235
GARY D UNDERWOOD                                  4924 MATTHEWS RD                                                                                CHARLOTTE         MI   48813‐9180
GARY D VICCARO                                    133 ALPINE RIDGE LOOP                                                                           DAVENPORT         FL   33897‐3574
GARY D WAHL & GORDON S WAHL JT TEN                ATTN GORDON T WAHL                     167 LONG POND ROAD                                       ROCHESTER         NY   14612‐1140
GARY D WHITFORD                                   7596 S CHANDLER RD                                                                              ST JOHNS          MI   48879‐9165
GARY D WITHERS                                    15 PARK ST                                                                                      DANVILLE          IL   61832‐6337
GARY D WOLLE                                      1125 E LEONARD ROAD                    BOX 736                                                  LEONARD           MI   48367‐0736
GARY D WOOTEN                                     3617 CROSS CREEK RD                                                                             EDMOND            OK   73003‐3511
GARY D YARBER                                     5 CHIPPEWA RUN                                                                                  PANA              IL   62557‐9718
GARY D ZITTEL                                     117 E GRAND BLANC RD                                                                            GRAND BLANC       MI   48439‐1301
GARY D ZITTEL & APRIL ZITTEL JT TEN               17051 MARK DR                                                                                   MACOMB            MI   48044‐5582
GARY DAVID GROFF                                  13212 INGLESIDE DR                                                                              BELTSVILLE        MD   20705
GARY DAVID LEVIN                                  7810 CROWN TOP                                                                                  LOUISVILLE        KY   40241‐2702
GARY DAVIS                                        500 EAGLE DRIVE #303                                                                            ELK GROVE VILLAGE IL   60007‐4719

GARY DAVIS                                        35 BLUE CANYON CIRCLE                                                                           SEDONA           AZ    86351‐7637
GARY DAVIS                                        600 SCENIC AVE                                                                                  BLOOMSBURG       PA    17815‐8201
GARY DEAN FITZWATER & LOIS E FITZWATER JT TEN     1309 W 1ST                                                                                      ABILENE          KS    67410‐3823

GARY DEMAR & CAROL J DEMAR JT TEN                 129 MIDWAY RD                                                                                   MARIETTA         GA    30064‐1553
GARY DILLON                                       5226 AVONDALE DRIVE                                                                             SUGAR LAND       TX    77479‐3811
GARY DIR & MRS JUDY DIR JT TEN                    16 GATEWAY RD                                                                                   FAIRPORT         NY    14450‐2236
GARY DOBRINSKY                                    RR 3 BOX 3388                                                                                   SAYLORSBURG      PA    18353‐9646
GARY DON GIBSON                                   PO BOX 218                                                                                      SINTON           TX    78387‐0218
GARY DONLEY JR                                    809 RAMAGE ST                                                                                   HONOLULU         HI    96818
GARY DOYLE                                        13870 S SEMINOLE DRIVE                                                                          OLATHE           KS    66062
GARY E ABERNETHY                                  PO BOX 471                                                                                      CLAREMONT        NC    28610‐0471
GARY E ANDREJAK & CATHERINE RUTH ANDREJAK JT      5140 FOREST VIEW COURT                                                                          ANN ARBOR        MI    48108‐8602
TEN
GARY E BAKER                                      808 WESTGATE DR                                                                                 ANDERSON         IN    46012‐9376
GARY E BARNES                                     121 IRONWOOD DR                                                                                 WEST CARROLLT    OH    45449‐1652
GARY E BASHORE                                    2614 DARTFORD TER                                                                               THE VILLAGES     FL    32162‐5024
GARY E BATTA                                      27 K STREET                                                                                     AVENEL           NJ    07001‐1929
GARY E BONESTEEL                                  5841 MERTZ RD                                                                                   MAYVILLE         MI    48744‐9790
GARY E BOWLING                                    403 SPANN AVE                                                                                   CRAWFORDSVLLE    IN    47933‐3055
GARY E BOYCE & CHRISTINE BOYCE JT TEN             17230 OYSTER BAY RD                                                                             GULF SHORES      AL    36542‐2946
GARY E BRANDIMORE & SHERRY L BRANDIMORE JT TEN    1169 BRISSETTE BEACH RD                                                                         KAWKAWLIN        MI    48631‐9415

GARY E BREEZE                                     5260 O'NEAL                                                                                     WAYNESVILLE      OH    45068‐9451
GARY E BREWSTER                                   7709 CO ROAD #301                                                                               GRANDVIEW        TX    76050‐4128
GARY E BYERS                                      11840 CAPE COD                                                                                  TAYLOR           MI    48180‐6205
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GARY E CHAPMAN                                   2528 A PRESTON DR                                                                              TRAVERSE CITY   MI    49684‐8022
GARY E CHAPMAN & MRS SHARON CHAPMAN JT TEN       2528‐A PRESTON DR                                                                              TRAVERSE CITY   MI    49684‐8022

GARY E CHEEK                                     8621 HAHN                                                                                      UTICA           MI    48317‐5734
GARY E COEN                                      16211 LARKFIELD DR                                                                             HOUSTON         TX    77059‐5422
GARY E COLLINS                                   1101 FUSELAGE AVE                                                                              BALTIMORE       MD    21220‐4516
GARY E COSTANTE                                  3011 E PERKINS AVE                                                                             SANDUSKY        OH    44870‐5932
GARY E COTTET                                    24 CHALIN                                                                                      ST PETERS       MO    63376‐1942
GARY E COTTET & DIANE C COTTET JT TEN            24 CHALIN                                                                                      ST PETERS       MO    63376‐1942
GARY E DEMAND                                    6150 EAST TOWNLINE ROAD                                                                        BIRCH RUN       MI    48415‐9070
GARY E DICKERSON                                 10270 SCENIC BLVD                                                                              CUPERTINO       CA    95014‐2726
GARY E DINSMORE                                  21937 WALNUT ST                                                                                KEOSAUQUA       IA    52565‐8372
GARY E DIRKER & JERE J DIRKER JT TEN             8820 SANDY CREST CT                                                                            WHITE LAKE      MI    48386‐2449
GARY E DOWD & LOIS M DOWD JT TEN                 3631 E LANSING RD                                                                              BANCROFT        MI    48414‐9428
GARY E EDWARDS                                   413 N LINCOLN ST                                                                               STANTON         MI    48888‐9390
GARY E FELLHAUER                                 1000 ELDRIDGE                                                                                  WASHINGTON      IL    61571‐2824
GARY E FORD                                      PO BOX 1212                                                                                    LINCOLNTON      NC    28093‐1212
GARY E FORD & HAZELENE H FORD JT TEN             PO BOC 1212                                                                                    LINCOLNTON      NC    28093‐1212
GARY E GEBOLYS                                   864 LEBLANC STREET                                                                             LINCOLN PARK    MI    48146‐4361
GARY E GEISLER                                   5511 E CALLE REDOSDA                                                                           PHOENIX         AZ    85018
GARY E GLOBISH                                   20101 PURLINGBROOK                                                                             LIVONIA         MI    48152‐1848
GARY E GRANROTH                                  1640 LONE TREE                                                                                 MILFORD         MI    48380‐2100
GARY E GRUBER                                    13204 CLEAR SPRING RD                                                                          CLEARSPRING     MD    21722‐1935
GARY E HALEY                                     712 SILVERHEDGE DR                                                                             CINCINNATI      OH    45231‐3932
GARY E HOLE                                      5421 SANDSTONE DR                                                                              FAIRFIELD       OH    45014‐2441
GARY E ISCO                                      7291 OAKWOOD DR #C                                                                             BRROKFIELD      OH    44403‐9769
GARY E JOHNSON CUST ERIK J JOHNSON UTMA WA       15221 NE 257TH                                                                                 BATTLE GROUND   WA    98604‐5706

GARY E KINNIARD                                  2010 HYATTS RD                                                                                 DELAWARE        OH    43015‐7988
GARY E KOLB                                      903 LAKEVIEW DR                                                                                BAY MINETTE     AL    36507
GARY E KREITZER SR                               3909 SUNAIR CT                                                                                 MIAMISBURG      OH    45342‐6777
GARY E KUKOWSKI                                  5303 WEST SIERRA STREET                                                                        GLENDALE        AZ    85304‐3422
GARY E LASKA                                     45 DANIA DR                                                                                    CHEEKTOWAGA     NY    14225‐1617
GARY E LAWSON                                    PO BOX 12383                                                                                   KANSAS CITY     MO    64116‐0383
GARY E LEE                                       PO BOX 2135                                                                                    FULTON          TX    78358‐2135
GARY E MACHINSKI                                 4800 MILLIS RD                                                                                 NORTH BRANCH    MI    48461‐9603
GARY E MARSA                                     APT 2‐S                               320 TERRACE DR                                           FLUSHING        MI    48433‐1972
GARY E MARSH & HARRIET I MARSH TR UA 2/18/94     518 N PALM DRIVE                                                                               BEVERLY HILLS   CA    90210
MARSH FAMILY TRUST
GARY E MASON                                     3527 STATE RD 104                                                                              BRODHEAD        WI    53520‐9751
GARY E MASSEY                                    665 SE 550TH RD                                                                                CLINTON         MO    64735‐9413
GARY E MCGINNIS                                  220 FORT CHERRY RD                                                                             MCDONALD        PA    15057‐3039
GARY E MCKEE                                     1431 SPRUCE AVENUE                                                                             WILMINGTON      DE    19805‐1337
GARY E MCQUAID                                   11536 QUAIL VILLAGE WAY                                                                        NAPLES          FL    34119‐8927
GARY E MEALOR                                    PO BOX 74                                                                                      GUILFORD        IN    47022‐0074
GARY E MILLER                                    117 W SOUTH ST                                                                                 HILLSBORO       OH    45133‐1440
GARY E PARSONS                                   1597 LYNCH RD                                                                                  BALTO           MD    21222‐3328
GARY E PIERCE A MINOR UNDER GUARDIANSHIP OF      WHITE FISH LAKE                       3007 ELMWOOD DR                                          PIERSON         MI    49339‐9789
WATSON B PIERCE
GARY E ROBERTS                                   474 KIRKWOOD DR                                                                                FAIRBORN        OH    45324‐4430
GARY E ROBERTS                                   11033 HASTINGS POINT                                                                           MIDDLEVILLE     MI    49333‐9220
GARY E ROBERTS                                   8495 SAND BCH RD                                                                               HARBOR BCH      MI    48441‐9437
GARY E ROUSH                                     5085 N OLD 102                                                                                 COLUMBIA CITY   IN    46725‐9387
GARY E SHANKS                                    8952 CROSSLEY RD                                                                               SPRINGBORO      OH    45066‐9367
GARY E SHERMAN                                   BOX 204                                                                                        MCCLURE         OH    43534‐0204
GARY E SIMMONS                                   16253 CODO DRIVE                                                                               LOCKPORT        IL    60441‐8778
GARY E SMITH                                     6815 BALMORAL RD                                                                               INDIANAPOLIS    IN    46241‐1746
GARY E SPECHER & AMY SPRECHER JT TEN             2488 DEERFIELD DR                                                                              AVON            OH    44011‐1782
GARY E SPEIDELL                                  28554 HOFFMAN RD                                                                               DEFIANCE        OH    43512‐6994
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GARY E SPENCER                                    8354 CHAMBERSBURG ROAD                                                                         DAYTON            OH    45424‐3940
GARY E SPIVEY CUST LAUREN E SPIVEY UTMA CA        240 EL MESITA COURT                                                                            CAMERON PARK      CA    95682
GARY E SPIVEY CUST MICHAEL A SPIVEY UTMA CA       240 EL MESITA COURT                                                                            CAMERON PARK      CA    95682
GARY E STAHL                                      913 WOODLYNN RD                                                                                BALTIMORE         MD    21221‐5239
GARY E STEWART                                    140 CAROL LN                                                                                   ELMA              NY    14059‐9749
GARY E STOCKER                                    1049 N OMAHA CIR                                                                               MESA              AZ    85205‐5023
GARY E STONE                                      201 CORK DRIVE                                                                                 BLACKSBURG        VA    24060
GARY E STONE                                      4912 CARRY BACK LANE                                                                           INDIANAPOLIS      IN    46237‐2183
GARY E TAYLOR                                     351 N LOWDER ST                       APT 101                                                  MACCLENNY         FL    32063‐2803
GARY E TOMBLESON                                  1495 GOLDEN GATE #302                                                                          SAN FRANCISCO     CA    94115‐4647
GARY E TREGEA & DIANE TREGEA JT TEN               2 IVAN COMMON                                                                                  ROCHESTER         NY    14624‐4367
GARY E TUCKER                                     1468 OAKBROOK                                                                                  ROCHESTER HILLS   MI    48307‐1126
GARY E VERRIEST                                   37384 CLUBHOUSE DR                                                                             STERLING HTS      MI    48312
GARY E VOLLAND                                    PO BOX 93                                                                                      BILLINGS          MO    65610‐0093
GARY E WENDLANDT                                  45 GRAMERCY PARK NORTH                APT 2 B                                                  NEW YORK          NY    10010‐6308
GARY E WILLIAMS                                   5138 NORTH WEST 19TH PLACE                                                                     OCALA             FL    34482‐3228
GARY E WRIGHT                                     5152 WYMAN                                                                                     TIPTON            MI    49287‐9759
GARY E WRIGHT                                     3622 W VERMONTVILLE                                                                            CHARLOTTE         MI    48813‐8815
GARY E ZIRWES                                     6370 WALDON WOODS DR                                                                           CLARKSTON         MI    48346‐2480
GARY EARL PENDLEY TR GARY EARL PENDLEY TRUST UA   4520 NW 26TH ST                                                                                OKLAHOMA CITY     OK    73127‐1904
05/13/92
GARY ECK CUST ALANNA ECK UTMA NJ                  61 DEER PARK RD                                                                                FAIRFIELD         NJ    07004‐1410
GARY ECK CUST CAITLYN ECK UTMA NJ                 61 DEER PARK RD                                                                                FAIRFIELD         NJ    07004‐1410
GARY ECK CUST GARY ANDREW ECK UTMA NJ             61 DEER PARK RD                                                                                FAIRFIELD         NJ    07004‐1410
GARY ECK CUST JACLYN ECK UTMA NJ                  61 DEER PARK RD                                                                                FAIRFIELD         NJ    07004‐1410
GARY EDGAR GASSIN                                 5044 GALWAY DR                                                                                 DUBLIN            OH    43017‐8464
GARY EDINGER                                      2300 NW 29TH ST                                                                                GAINESVILLE       FL    32605‐2723
GARY EDWARD HAYWORTH                              4181 EAST SPRINGFIELD STREET                                                                   SIMI VALLEY       CA    93063‐1616
GARY EISENBERGER                                  1131 SOMERSET AVE                                                                              LAKEWOOD          NJ    08701
GARY EUGENE MILLER                                323 SHADY ACRES                                                                                LUCAS             KY    42156‐9306
GARY EVAN SHAPIRO                                 CHURCH STREET STATION                 P O BOX 3198                                             NEW YORK          NY    10008‐3198
GARY F ADAIR                                      726 TAMARAC                                                                                    DAVISON           MI    48423‐1943
GARY F BECK                                       5517 ROLAND DR                                                                                 PLANO             TX    75093‐7626
GARY F BRAUN                                      7039 CAMPBELL BLVD                                                                             NORTH             NY    14120‐9606
                                                                                                                                                 TONAWANDA
GARY F BRENNAN                                    365A FAIRMOUNT AVE                                                                             SANTA CRUZ        CA    95062‐1152
GARY F BROCK                                      2645 W CLEAR LAKE RD                                                                           WEST BRANCH       MI    48661‐8412
GARY F CHASE                                      1675 S BIRCH STREET #1203                                                                      DENVER            CO    80222‐4154
GARY F CRAIG                                      240 WELLMEN LINE                                                                               MELVIN            MI    48454‐9789
GARY F DEMAR                                      1445 SUNRISE CT                                                                                TRACY             CA    95377‐8213
GARY F HARRIS                                     109 S MORTON ST                                                                                ST JOHNS          MI    48879‐1747
GARY F HOPKINS                                    14151 SWANEE BEACH                                                                             FENTON            MI    48430‐3249
GARY F JACISIN                                    8327 BONNIE CT                                                                                 GRAND BLANC       MI    48439‐1872
GARY F JAMIESON                                   266 HARBOUR POINTE DR                                                                          BELLEVILLE        MI    48111‐4443
GARY F KOBUS                                      123 N VINE STREET                                                                              HINSDALE          IL    60521‐3316
GARY F KOSKO                                      41 WOODSHIRE LANE                                                                              ROCHESTER         NY    14606‐4629
GARY F KRAUSE                                     105 SOUTHVIEW                                                                                  HOUGHTON LAKE     MI    48629‐8993
GARY F KROHN                                      1990 MARSH DR                                                                                  MANITOU BEACH     MI    49253
GARY F LACLAIR                                    3801 KINGSWOOD                                                                                 DRYDEN            MI    48428‐9707
GARY F LAND                                       1902 S AUSTRIAN PINES ST                                                                       LOCKPORT          IL    60041‐3877
GARY F MARTINEZ                                   2001 SHORELINE DR 109                                                                          ALAMEDA           CA    94501‐6154
GARY F MORTORO & JOAN S MORTORO JT TEN            12424 SW 108TH PLACE                                                                           MIAMI             FL    33176‐4648
GARY F MURPHY                                     4484 BUCKINGHAM                                                                                WARREN            MI    48092‐3084
GARY F MUSTER                                     49900 WHITE MILL                                                                               SHELBY TOWNSHIP   MI    48317‐1642

GARY F OBARSKI                                    4834 BURNHAM STREET                                                                            TOLEDO            OH    43612‐2460
GARY F QUAAS                                      97 MONTROSS AVE                                                                                RUTHERFORD        NJ    07070‐1149
GARY F RACKOWSKI                                  1165 RIDGE ROAD                                                                                BROADALBIN        NY    12025‐2754
GARY F RUPERT                                     3444 HURON VIEW CT                                                                             DEXTER            MI    48130‐9385
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GARY F SKELDING & KATHLEEN A SKELDING JT TEN     121 MILL STREAM LANE                                                                             ANDERSON        IN    46011‐1914

GARY F STEWART                                   PO BOX 1744                                                                                      STILLWATER      OK    74076
GARY F STEWART & FAYENELLE STEWART JT TEN        P O BOX 1744                                                                                     STILLWATER      OK    74076
GARY F SUPER                                     7121 AITKEN RD                                                                                   LEXINGTON       MI    48450
GARY F ZIGMAN                                    21 TIMBER MILL RD                                                                                SANDY HOOK      CT    06482‐1247
GARY FAUBION                                     5611 STATE RD 58 EAST                                                                            HELTONVILLE     IN    47436‐8696
GARY FENSTERMACHER                               21925 PAINT BRUSH LN                                                                             DIAMOND BAR     CA    91765‐2836
GARY FISHKIND CUST ZACHARY FISHKIND UGMA NY      17 ADELA COURT                                                                                   YORKTOWN        NY    10598‐2505
                                                                                                                                                  HEIGHTS
GARY FRALEY                                     127 NOTTINGHAM DR                                                                                 BROOKLYN        MI    49230‐8467
GARY FRANCES BROCK                              PO BOX 323                                                                                        WEST BRANCH     MI    48661‐0323
GARY FRANCIS ANTOSH                             401 CULBERTSON AVE                                                                                GREENSBURG      PA    15601‐1932
GARY FRANK GLEASON                              110 BANK ST SE APT 2004                                                                           MINNEAPOLIS     MN    55414‐3905
GARY FRIEDENBERG & MRS CAROL FRIEDENBERG JT TEN 52 WOODMONT RD                                                                                    MELVILLE        NY    11747‐3319

GARY G BARKER                                    5201 PACKARD DRIVE                                                                               DAYTON          OH    45424‐6038
GARY G BERNARD                                   2488 ZIMMERMAN                                                                                   FLINT           MI    48503‐3148
GARY G BISKNER                                   144 CROSS TIMBERS ST                                                                             OXFORD          MI    48371‐4702
GARY G BORGEMENKE CUST BRIAN M MYSONHIMER        3613 TOP FLITE LANE                                                                              MASON           OH    45040‐4715
UTMA OH
GARY G BOSEN                                     BOX 113                                                                                          GOODRICH        MI    48438‐0113
GARY G BRACKEEN CUST REBECCA JANICE BRACKEEN     6604 NW 135TH                                                                                    OKLAHOMA CITY   OK    73142‐5905
UGMA OK
GARY G CLARK                                     2199 RICHWOOD                                                                                    PONTIAC         MI    48326‐2527
GARY G DALTON                                    1143 MARVIN ST                                                                                   MILAN           MI    48160‐1145
GARY G DENNIS                                    1577 OSBORN                                                                                      SAGINAW         MI    48602‐2831
GARY G DINGER                                    3085 ALGONQUIN DR                                                                                POLAND          OH    44514‐1815
GARY G ELROD                                     1531 S CROSBY                                                                                    JANESVILLE      WI    53546‐5444
GARY G FERGUSON                                  1981 ST CLAIR DR                                                                                 HIGHLAND        MI    48357‐3333
GARY G FISHER                                    8072 LARK LN                                                                                     GRAND BLANC     MI    48439‐7254
GARY G HAMPTON                                   3858 JONES RD                                                                                    NORTH BRANCH    MI    48461‐8930
GARY G HATHCOCK                                  8736 UNION HILL RD                                                                               CANTON          GA    30115‐5733
GARY G HAYWARD                                   68 CHASE RD                                                                                      FALMOUTH        MA    02540‐2151
GARY G HENRY & THERESA B HENRY JT TEN            335 BROOKSBORO DRIVE                                                                             WEBSTER         NY    14580
GARY G HOLLIDAY                                  175 BLUCHER COURT                                                                                VANDALIA        OH    45377‐2901
GARY G HOOVER                                    PO BOX 844                                                                                       KEKAHA          HI    96752‐0844
GARY G LEWIS                                     W1783 BROOKLYN‐ALBANY RD                                                                         BROOKLYN        WI    53521‐9734
GARY G LINCE                                     9512 SERGENT RD                                                                                  BIRCH RUN       MI    48415‐9604
GARY G MCKENZIE & LUCAS MCKENZIE JT TEN          G6476 N DORT HWY                                                                                 MT MORRIS       MI    48458
GARY G MCPHERSON                                 122 DOWNING ST                                                                                   DALTON          GA    30720
GARY G NEEDHAM                                   PO BOX 53                                                                                        NEW ROSS        IN    47968‐0053
GARY G NOON                                      111 S GREENFIELD RD SPACE 101                                                                    MESA            AZ    85206
GARY G O'HAGEN TR UA 12/08/88 CHARLOTTE AMELIA   2 PEACOCK LANE                                                                                   LATTINGTON      NY    11560‐1019
DAGHER
GARY G O'HAGEN TR UA 12/08/88 PETER GREENE       2 PEACOCK LANE                                                                                   LATTINGTOWN     NY    11560‐1019
DAGHER JR
GARY G PAVLIK                                    2033 E RIVER RD #42                                                                              NEWTON FALLS    OH    44444‐8779
GARY G PAYNE                                     4780 SUNDALE                                                                                     CLARKSTON       MI    48346‐3689
GARY G PERSON                                    32 BARBERRY LANE                                                                                 O'FALLON        MO    63366‐3305
GARY G PETERSON                                  8801 27TH STREET W                      APT 15B                                                  TACOMA          WA    98466
GARY G PRUITT                                    194 ALFRED DR                                                                                    GEORGETOWN      KY    40324‐9470
GARY G RICHEY                                    1709 JOYCE                                                                                       ARLINGTON       TX    76010‐2023
GARY G RINARD                                    553 OAKCREST S W                                                                                 WYOMING         MI    49509‐4058
GARY G RUSSELL & BARBARA J RUSSELL JT TEN        914 EMERALD DRIVE                                                                                ALEXANDRIA      VA    22308‐2624
GARY G SCHULTZ & CATHY R SCHULTZ JT TEN          PO BOX 14                                                                                        LEXINGTON       NE    68850‐0014
GARY G SMITH                                     276 ORCHARD PARK RD                                                                              BUFFALO         NY    14224‐2633
GARY G SMOLAR                                    455 RIVER BANK                                                                                   WYANDOTTE       MI    48192‐2627
GARY G SPILLETTE & SANDRA K SPILLETTE JT TEN     3880 CANAL RD                                                                                    DIMONDALE       MI    48821‐8737
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GARY G WANDTKE                                    5618 BEAR CREEK DR                                                                             LANSING           MI    48917‐1425
GARY G WHITMAN                                    4926 SPRING MEADOW DRIVE                                                                       CLARKSTON         MI    48348‐5156
GARY G WROBLEWSKI                                 30004 HOLLY CT                                                                                 WARREN            MI    48092‐1801
GARY G ZAKENS SR                                  757 BEACH DR                                                                                   PASADENA          MD    21122
GARY G ZAYAC                                      4975 PINEMORE LN                                                                               LAKE WORTH        FL    33463‐6996
GARY GABBARD                                      2134 PARKAMO AVE                                                                               HAMILTON          OH    45015‐1275
GARY GARRISON                                     5794 MORRICE                                                                                   PERRY             MI    48872‐8742
GARY GASTINEAU                                    1530 E BUENA VISTA DR                                                                          CHANDLER          AZ    85249‐4311
GARY GERSTENBLATT & PHYLLIS GERSTENBLATT JT TEN   180 REDWOOD DRIVE                                                                              EAST HILLS        NY    11576‐2228

GARY GILREATH                                     1125 STEEPLECHASE DRIVE                                                                        CHATTANOOGA       TN    37421‐4400
GARY GORALSKI                                     8133 SAWYER RD                                                                                 DARIEN            IL    60561‐5228
GARY GRATES                                       12 RIDGE COURT                                                                                 CARMEL            NY    10512‐1024
GARY GREENBLATT                                   503 E 13TH ST #D2                                                                              NEW YORK          NY    10009‐3501
GARY GUDZIK                                       PO BOX 626                                                                                     PORT JEFFERSON    NY    11777‐0626
GARY H ALDRIDGE                                   209 STONEVIEW LN                                                                               MOORESVILLE       IN    46158‐2747
GARY H BANASZAK                                   213 CAROLINE                                                                                   ESSEXVILLE        MI    48732‐1142
GARY H BLISS                                      3222 HICKOX RD                                                                                 CANANDAIGUA       NY    14424‐9303
GARY H BOGGESS                                    28053 WEDDEL                                                                                   TRENTON           MI    48183‐4841
GARY H CHAMPINE                                   55 N 8 MILE                                                                                    LINWOOD           MI    48634‐9770
GARY H DAVISON                                    7101 SYLVAN GLEN LANE                                                                          FAIRFAX STATION   VA    22039‐1705
GARY H DODA                                       522 EMERY RD                                                                                   LOUISVILLE        KY    40206‐1406
GARY H ERB                                        10018 BUDDY FUNK LN                                                                            MASCOUTAH         IL    62258‐5100
GARY H FRAZIER                                    3667 BROOKVIEW COURT                                                                           CANFIELD          OH    44406‐9205
GARY H GERLITZ                                    1121 ASCOT                                                                                     EDMOND            OK    73034
GARY H GILPIN                                     3812 BIDDISON LANE                                                                             BALTIMORE         MD    21206‐4139
GARY H HAEBLER                                    1710 HAWKINS ST                                                                                DEFORD            MI    48729‐9753
GARY H HARRISON                                   521 S NEW LOTHROP RD                                                                           LENNON            MI    48449‐9648
GARY H HEDSTROM                                   455 BEAM CT NE                                                                                 SPARTA            MI    49345‐8130
GARY H HUIZENGA & JENNIFER J HUIZENGA JT TEN      14758 S ARBORETUM DR                                                                           LOCKPORT          IL    60441‐9332

GARY H KOVIACK                                    7357 IRONWOOD                                                                                  SWARTZ CREEK      MI    48473‐9450
GARY H LINDELL                                    900 VIENNA RD                                                                                  WINCHESTER        KY    40391‐8399
GARY H LUCK                                       6011 CUIVRE FORD RD                                                                            TROY              MO    63379‐5019
GARY H MANDELBLATT                                730 LAWRENCE AVE                                                                               WESTFIELD         NJ    07090‐3802
GARY H MOSES & MARILYN L PETERS JT TEN            10126 CHERRY HILLS AVE CIR                                                                     BRADENTON         FL    34202‐4064
GARY H O'SHIELDS & CHERYL J O'SHIELDS JT TEN      4956 GLENN DR                                                                                  NEW PORT RICHEY   FL    34652‐4459

GARY H OAKES                                      3901 CREEKSIDE CT                                                                              BURLESON          TX    76028‐1273
GARY H OLAFF                                      740 MORRIS COURT                                                                               FLORENCE          NJ    08518‐2622
GARY H OSHIELDS                                   4956 GLENN DR                                                                                  NEW PORT RICHEY   FL    34652‐4459

GARY H PHILBURN                                   9393 MABLEY RD                                                                                 FENTON           MI     48430‐9401
GARY H PIERCE                                     52954 TR 170                                                                                   FRESNO           OH     43824‐9730
GARY H RADUE & DIANE L RADUE JT TEN               14123 APRIL LANE                                                                               WARREN           MI     48093‐5810
GARY H RUSH                                       2453 CARRINGTON RD NE                                                                          GRAND RAPIDS     MI     49525‐3092
GARY H STONE                                      832 BUNKE RD                                                                                   FURISTELL        MO     63348
GARY H STRAWBRIDGE                                9421 OWLS NEST DR                                                                              RALEIGH          NC     27613‐7526
GARY H WOOD & LINDA MORGAN WOOD JT TEN            8703 PRUDENCE DR                                                                               ANNANDALE        VA     22003‐4153
GARY HALL                                         991 JULIUS CT                                                                                  MERRICK          NY     11566‐1013
GARY HARDESTY                                     1122 N 32ND ST APT 16                                                                          MELROSE PARK     IL     60160‐2843
GARY HARTLEY                                      113 SHANNON LAKE CIRCLE                                                                        GREENVILLE       SC     29615
GARY HERBSTER                                     248 SPRAGUE AVE                                                                                S PLAINFIELD     NJ     07080
GARY HERMAN & MRS LISA HERMAN JT TEN              153‐32 77TH AVE                                                                                FLUSHING         NY     11367‐3128
GARY HERNDON & LINDA HERNDON JT TEN               8473 NW 16TH ST                                                                                CORAL SPRINGS    FL     33071‐6218
GARY HILL                                         PO BOX 6361                                                                                    CLEVELAND        OH     44101‐1361
GARY HILTY & MARSHA HILTY JT TEN                  1431 MONTEAGLE ST                                                                              COLORADO SPRINGS CO     80909‐2929
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GARY HILTY & MARSHA HILTY JT TEN                  1431 MONTEAGLE                                                                                COLORADO SPRINGS CO      80909‐2929

GARY HOFFMAN                                      9762 W VAN BUREN RD                                                                           RIVERDALE          MI    48877‐9790
GARY HOGREBE CUST GARRICK HOGREBE UTMA CA         2910 PARKWOOD CT                                                                              FULLERTON          CA    92835‐2335

GARY HOMA                                      3243 SW ESPERANTO STREET                                                                         PORT ST LUCIE      FL    34953
GARY HOTTE CUST STEVEN J HOTTE UGMA CT         2803 CARNEGIE STREET                                                                             HOUSTON            TX    77005‐3909
GARY HOUSEMAN                                  203 CHUCHILL FARMS RD                                                                            MURFREESBORO       TN    37127
GARY HUTTON                                    2101 KITCHEN DR                                                                                  ANDERSON           IN    46017‐9658
GARY IACOBUCCI                                 7575 VERBENA RD                                                                                  OAK HILLS          CA    92344‐0639
GARY INNOCENTI CUST CHRISTOPHER CAMISCOLI UTMA C/O DEPAOLA 48 ROCK ROAD                                                                         WAYNE              NJ    07470‐1917
NJ
GARY IVES TAPNER                               57 WILLIAM HENRY ROAD                                                                            NORTH SCITUATE     RI    02857‐2040
GARY J ARMSTRONG                               388 MANG AVE                                                                                     KENMORE            NY    14217‐2510
GARY J ARNOLD & CAROL S ARNOLD JT TEN          26414 INKSTER RD                                                                                 FLAT ROCK          MI    48134‐9458
GARY J BAKER & KATHLEEN R BAKER JT TEN         990 W DEXTER TRAIL                                                                               MASON              MI    48854‐9615
GARY J BANDROW                                 41834 GAINSLEY                                                                                   STERLING HEIGHTS   MI    48313‐2552

GARY J BARRON                                     701 NE AARON DR                                                                               LEES SUMMIT        MO    64086‐4905
GARY J BASILEU                                    3515 MILFORD CIRCLE                                                                           EL DORADO HLS      CA    95762
GARY J BENAC                                      21780 COLONIAL LN                                                                             HILLMAN            MI    49746‐7951
GARY J BIGLIN                                     5331 STATE ROUTE 61 SOUTH                                                                     SHELBY             OH    44875‐9089
GARY J BLASER                                     1436 LAKE DR                                                                                  NATIONAL CITY      MI    48748‐9569
GARY J BOWMAN                                     871 DOLPHIN SW                                                                                WYOMING            MI    49509‐5123
GARY J BRAND                                      229 MT VIEW DR                                                                                MONROE             NH    03771
GARY J BRONNENBERG                                3262 N 200 E                                                                                  ANDERSON           IN    46012‐9612
GARY J BUNTING                                    1592 ELROD ROAD                                                                               BOWLING GREEN      KY    42104‐8535
GARY J CARNAHAN                                   601 W HIGH ST                                                                                 DEFIANCE           OH    43512‐1402
                                                                                                                                                JUNCTION
GARY J CHRISTENSEN & SUSAN M CHRISTENSEN JT TEN   606 SONNET DR                                                                                 SAN ANTONIO        TX    78216‐3416

GARY J CONNELL                                    2 STRATFORD DR                                                                                CLIFTON PARK       NY    12065‐1735
GARY J CONVERY                                    996 NEW YORK                                                                                  LINCOLN PARK       MI    48146‐4243
GARY J CORPORA                                    2923 ERICH DR                                                                                 WILL BY HILLS      OH    44092‐1417
GARY J CORPORA & LENORE H CORPORA JT TEN          2923 ERICH DRIVE                                                                              WILLOUGHBY HILLS   OH    44092‐1417

GARY J CRIDDLE                                    401 COVILLAUD PL                                                                              MARYSVILLE         CA    95901‐3220
GARY J DE BROEKERT TR GARY DE BROEKERT LIVING     1177 86TH TER N                                                                               ST PETERSBURG      FL    33702‐2917
TRUST UA 03/07/66
GARY J DINOLA & SUSAN L DINOLA JT TEN             1022 HATLEE RD                                                                                BALLSTON LAKE      NY    12019‐1602
GARY J DOLNEY                                     990 FIFTH STREET                     NORTH HUNTINGDON                                         IRWIN              PA    15642
GARY J DOMINISH                                   9838 GULFSTREAM BLVD                                                                          ENGLEWOOD          FL    34224‐9259
GARY J DOMKE                                      15046 PINEWOOD TRL                                                                            LINDEN             MI    48451
GARY J DRANGO                                     5200 DEERWOOD CT                                                                              AUSTIN             TX    78730‐3528
GARY J DURHAM                                     514 N 70TH AVE                                                                                PENSACOLA          FL    32506‐5183
GARY J EDWARDS                                    29419 OLD SCHOOL HOUSE RD                                                                     ARDMORE            AL    35739‐8449
GARY J FAERBER                                    5612 MEADOW LANE                                                                              ANN ARBOR          MI    48105‐9369
GARY J FAERBER & JO ANN FAERBER JT TEN            5612 MEADOW LANE                                                                              ANN ARBOR          MI    48105‐9369
GARY J FLANNERY                                   1733 GANNON DR                                                                                INDIAN RIVER       MI    49749‐9551
GARY J FULLMAN                                    32 FERN COURT                                                                                 SAYREVILLE         NJ    08872‐2103
GARY J GAGLIARDI & ELEANOR C GAGLIARDI JT TEN     505 SADDLE LANE                                                                               GROSSE POINTE      MI    48236‐2727
                                                                                                                                                WOOD
GARY J GERLACH                                    333 FOLKSTONE COURT                                                                           TROY               MI    48085
GARY J GRABOWSKI                                  13513 WEBSTER RD                                                                              CLIO               MI    48420‐8262
GARY J GRESKOWIAK                                 2060 CENTENNIAL N W                                                                           GRAND RAPIDS       MI    49504‐5929
GARY J GROSS                                      11811 PORTAGE ROAD                                                                            MEDINA             NY    14103‐9615
GARY J GROSS                                      PO BOX 338                                                                                    WILLIS             MI    48191‐0338
GARY J GUDES                                      141 CHALMETTE CIR                                                                             MONROE             MI    48162‐3588
GARY J GUSTWILLER                                 15514 CULLEN                                                                                  DEFIANCE           OH    43512‐8835
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GARY J HAHN                                       120 KEHRS MILL TRL                                                                              BALLWIN            MO    63011‐3278
GARY J HAMMOND                                    3370 N PASS DR                                                                                  CLIO               MI    48420‐1543
GARY J HART                                       79 LAKEWOOD ROAD                                                                                NEW EGYPT          NJ    08533‐1307
GARY J HAUG TOD DIANE E HAUG SUBJECT TO STA TOD   PO BOX 325                                                                                      SOUTH SALEM        NY    10590‐0325
RULES
GARY J HERRING                                    4936 N 1300 E 34                                                                                CONVERSE           IN    46919‐9630
GARY J HILL                                       119 AMELIA ST                          TORONTO ON                             M4X 1E5 CANADA
GARY J HILL                                       119 AMELIA ST                          TORONTO ON                             M4X 1E5 CANADA
GARY J HILL                                       119 AMELIA ST                          TORONTO ON                             M4X 1E5 CANADA
GARY J HODGDON                                    50303 PARADISE CT                                                                               MACOMB             MI    48044‐6107
GARY J HULSBRINK                                  6455 HAVEN DR                                                                                   GRAND BLANC        MI    48439‐9781
GARY J INMAN                                      3115 W DAVISON LAKE RD                                                                          ORTONVILLE         MI    48462‐9518
GARY J ISYK                                       948 COUNTRYSIDE WEST BOULEVARD                                                                  PORT ORANGE        FL    32127‐7988
GARY J JACOBS                                     2570 SHADLOW TR                                                                                 ADA                MI    49301‐9315
GARY J JARVIS & NANCY L JARVIS JT TEN             9309 STATE HWY #37                                                                              OGDENSBURG         NY    13669‐4461
GARY J JUSTIN                                     22026 RIDGEWAY                                                                                  ST CLAIR SHRS      MI    48080‐4084
GARY J KALMES & RITA E KALMES JT TEN              6517 S ROBB WAY                                                                                 LITTLETON          CO    80127‐5849
GARY J KARAS                                      12390 VOIPE DRIVE                                                                               STERLING HEIGHTS   MI    48312‐5328

GARY J KELLER                                     8255 LOCHDALE                                                                                   DEARBORN HEIGHTS MI      48127‐1234

GARY J KENDALL                                    3370 WHEELER RD                                                                                 BAY CITY           MI    48706‐1646
GARY J KLOPATEK                                   6815 S ASH ST                                                                                   OAKCREEK           WI    53154‐1603
GARY J KROHN                                      18909 PARKWAY LN                                                                                MOKENA             IL    60448‐9102
GARY J LAKE                                       6098 GRANGER HWY                                                                                MULLIKEN           MI    48861‐9742
GARY J LIESE                                      38 NANTUCKET ROAD                                                                               ROCHESTER          NY    14626‐2323
GARY J LOEBER                                     4152 J IDLE HOUR CIRCLE                                                                         DAYTON             OH    45415‐3332
GARY J MADDOX & SHARON S MADDOX JT TEN            123 E CIRCLE DR                                                                                 NEW CASTLE         IN    47362‐9200
GARY J MANTHEY                                    804 W TUSCOLA ST                                                                                FRANKENMUTH        MI    48734‐1438
GARY J MASCHING                                   20477 STAFFORD                                                                                  CLINTON TWP        MI    48035‐4065
GARY J MC KENNA                                   12 SPINDLE HILL RD                     APT 8C                                                   WOLCOTT            CT    06716‐1743
GARY J MCWAIN                                     2789 TWIN TOWNSHIP RD                                                                           LEWISBURG          OH    45338‐9764
GARY J MELOVICH                                   2637 LIBERTY ST                                                                                 TRENTON            NJ    08629‐2014
GARY J MICHALOWSKI                                166 S E CRESTWOOD CIR                                                                           STUART             FL    34997‐7430
GARY J MOORE                                      259 LAKEVIEW PLAZA                                                                              STOCKBRIDGE        GA    30281‐6271
GARY J MOORE                                      847 IRVIN RD                                                                                    BLANCHESTER        OH    45107‐9708
GARY J NICHOLS                                    3345 N LAKE PLEASANT RD                                                                         ATTICA             MI    48412‐9381
GARY J OBRIEN                                     751 OSTRANDER ROAD                                                                              EAST AURORA        NY    14052‐1201
GARY J OVERTON                                    2871 NO STEWART RD                                                                              CHARLOTTE          MI    48813‐9775
GARY J PAJA                                       9225 CAPRICE DR                                                                                 PLYMOUTH           MI    48170‐4705
GARY J PHIPPS CUST BRINCETON M PHIPPS UGMA TX     1884 W SURF DR                                                                                  ANAHEIM            CA    92801‐1716

GARY J PICKENS                                    5459 SPRINGRIDGE RD                                                                             RAYMOND            MS    39154‐9677
GARY J PLUNK                                      513 GRANTS PKWY                                                                                 ARLINGTON          TX    76014‐1122
GARY J PRCHLIK                                    1214 KRUST DR                                                                                   OWOSSO             MI    48867‐1924
GARY J RICKSGERS                                  9280 EATON ROAD                                                                                 DAVISBURG          MI    48350‐1520
GARY J ROSS                                       9409 FM 2621                                                                                    BRENHAM            TX    77833‐7218
GARY J SCHWARTZMAN                                1513 CALIFORNIA N E                                                                             ALBUQUERQUE        NM    87110‐6829
GARY J SCRAMLING                                  26740 KATHY                                                                                     ROSEVILLE          MI    48066‐3267
GARY J SCULL                                      1715 SCULL RD                                                                                   RAEFORD            NC    28376‐5591
GARY J SKEELS                                     69042 N TERRACE DRIVE                                                                           WHITE PIGEON       MI    49099‐9007
GARY J SMITH                                      295 GLENN LANE                                                                                  DURANGO            CO    81301‐8338
GARY J SMYTH                                      39491 CLEARVIEW                                                                                 MT CLEMENS         MI    48045‐1826
GARY J SPINELLA                                   313 ZAGORA DR                                                                                   DANVILLE           CA    94506‐1303
GARY J SPURLOCK                                   819 SHADYBROOK LANE                                                                             RED OAK            TX    75154‐5407
GARY J STANFORD                                   8355 MARLOWE ST                                                                                 DETROIT            MI    48228‐2490
GARY J STAROPOLI                                  49 HILLCREST RD                                                                                 MARTINSVILLE       NJ    08836‐2335
GARY J TOMPA                                      6080 SHATTUCK RD                                                                                SAGINAW            MI    48603‐2614
GARY J TUCKER                                     4128 LITTLE DOTHAN RD                                                                           SNEADS             FL    32460‐3567
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GARY J VAN WAGONER                                5328 PEBBLE BEACH DR                                                                           METAMORA        MI    48455‐8778
GARY J VOSS                                       317 W ANDERSON RD                                                                              LINWOOD         MI    48634‐9771
GARY J WAKLEY                                     936 DEGROFF ST                                                                                 GRAND LEDGE     MI    48837‐2155
GARY J WALCK                                      170 BLVD                                                                                       KENILWORTH      NJ    07033‐1423
GARY J WALLO & ROSALIND WALLO JT TEN              886 GOLDEN                                                                                     WHITE LAKE      MI    48386
GARY J WARDOSKY                                   12386 EBELING RD                                                                               BRUCE           MI    48065‐2649
GARY J WHITEHAIR                                  1363 SALT RD                                                                                   WEBSTER         NY    14580‐9329
GARY JACKSON                                      19329 ARCHDALE ST                                                                              DETROIT         MI    48235‐2226
GARY JAMES MACKIN                                 C/O SHANE MACKIN                      5619 W NORTH LANE                                        GLENDALE        AZ    85302
GARY JAY MALVERN                                  22 STONE HOLLOW                                                                                GREENVILLE      SC    29605‐1058
GARY JAY SHAPIRA                                  118 W 42ND ST                                                                                  ERIE            PA    16508‐3111
GARY JEPSEN                                       648 SPAULDING AVE SE                                                                           ADA             MI    49301‐7820
GARY JOHN KARDYS                                  3 ALPINE COURT                                                                                 NORTH GREENBUSH NY    12198‐8645

GARY JOHNSON                                      7501 ARUNDEL RD                                                                                TROTWOOD         OH   45426‐3801
GARY JOHNSON                                      2442 28TH ST SW                                                                                WYOMING          MI   49509‐2158
GARY JON HUGHES                                   7402 SAN CARPINO DRIVE                                                                         GOLETA           CA   93117‐1213
GARY JOSEPH SLABY                                 4595 SILVER CREEK                                                                              BRECKSVILLE      OH   44141‐2930
GARY JOSEPH STANFORD                              200 N BRADY                                                                                    DEARBORN         MI   48124‐1158
GARY JOSHUA KATZ                                  49 BUNGANUC RD                                                                                 BRUNSWICK        ME   04011‐7322
GARY K BLOW                                       3529 LAKEVIEW DRIVE                                                                            ORTONVILLE       MI   48462‐9278
GARY K BRIGHT                                     3433 STINGLEY ROAD                                                                             GREENVILLE       OH   45331‐9569
GARY K DEMPSEY                                    30910 STATE HIGHWAY 100LOT 169                                                                 SAN BENITO       TX   78586
GARY K DENT & JOYCE L DENT JT TEN                 360 ASHLEY LN                                                                                  CINCINNATI       OH   45215‐2077
GARY K DOUGLAS                                    567 W NORTHVIEW ST                                                                             OLATHE           KS   66061‐6322
GARY K FELL & KRISTINE M FELL JT TEN              BOX 8002                                                                                       ELBURN           IL   60119‐8002
GARY K JACKSON                                    31 BLACK CEDAR RD                                                                              ROCHESTER        NY   14624
GARY K LIEBSCHNER                                 5642 RAUCH RD                                                                                  CARROLL          OH   43112‐9666
GARY K MCCOWAN                                    13096 MACNEIL CT                                                                               MILFORD          MI   48380‐3082
GARY K MEASEL                                     26524 HOLLYHILL                                                                                FARMINGTON HILLS MI   48334‐4521

GARY K MOLLER                                      127 WILD TIGER RD                                                                             BOULDER         CO    80302‐9263
GARY K MUNDY                                       7386 SMITH RD                                                                                 GAINS           MI    48436‐9728
GARY K SCHERSCHEL                                  RR #11 BOX 1528                                                                               BEDFORD         IN    47421‐9724
GARY K SHIBATA                                     11627 SE 62ND ST                                                                              BELLEVUE        WA    98006‐6347
GARY K SVEOM                                       BOX 266                                                                                       FOOTVILLE       WI    53537‐0266
GARY K TYLER                                       212 EAST 4TH STREET                                                                           TILTON          IL    61833‐7417
GARY KEENER                                        109 HEMPLE RD                                                                                 FARMERSVILLE    OH    45325‐1207
GARY KEITH PILLERS & PAULETTE PEEL PILLERS TEN COM 3303 58TH ST                                                                                  LUBBOCK         TX    79413‐5506

GARY KENDALL ANDERSON                             9431 HOLLY BEND LN                                                                             HUNTERVILLE     NC    28078‐6869
GARY KENNEDY                                      10686 S ST RD 5                                                                                SOUTH WHITLEY   IN    46787‐9218
GARY KENNETH AUSTIN                               640 GLEN IRIS DR                      UNIT 311                                                 ATLANTA         GA    30308‐2759
GARY KEPNISS CUST MATHEW KEPNISS UGMA NJ          24 BONNYVIEW DR                                                                                LIVINGSTON      NJ    07039‐2035
GARY KICINSKI                                     815 CRESCENT DR                                                                                ALEXANDRIA      VA    22302‐2214
GARY KING                                         467 ST JOSEPH STREET                                                                           ROCHESTER       NY    14617‐2465
GARY KLAPOW & MRS ARLENE H KLAPOW JT TEN          12409 MCLENNAN AV                                                                              GRANADA HILLS   CA    91344‐1723
GARY KNOWLE CUST EMILY KNOWLE UGMA NY             22 ALYS DR E                                                                                   DEPEW           NY    14043‐1403
GARY KORZENIEWSKI                                 9080 ST ANTHONY RD                                                                             KING GEORGE     VA    22485
GARY KRAUS & MARILYN KRAUS JT TEN                 504 VIOLET CT                                                                                  MOUNT LAUREL    NJ    08054‐4925
GARY KUIPER & LINDA KUIPER JT TEN                 318 BOUTELL DRIVE                                                                              GRAND BLANC     MI    48439‐1513
GARY L ABBOTT                                     2013 W LAWRENCE CIR                                                                            S JORDAN        UT    84095‐9309
GARY L ABEL                                       3011 FM 151                                                                                    WHITE WRIGHT    TX    75491‐8670
GARY L ACKERMAN                                   2423 WILLOWDALE DR                                                                             BURTON          MI    48509‐1317
GARY L ADAMS                                      4440 N COUNTY ROAD 1000 W             APT 1000                                                 ALEXANDRIA      IN    46001‐9343
GARY L ADAMS                                      RT 1                                                                                           MINERAL POINT   MO    63660‐9801
GARY L AHRENS & LEONA C AHRENS JT TEN             7926 SO 87TH CT                                                                                JUSTICE         IL    60458‐1451
GARY L ALLEN                                      525 DAVIS AVE                                                                                  ROCHESTER       PA    15074‐1223
GARY L ALLENDER                                   12302 READ RD                                                                                  FENTON          MI    48430‐9541
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GARY L AMLOTTE                                  144 LAKESHORE DR                                                                                LACHINE        MI    49753‐9431
GARY L ANASTASOFF                               7349 DOUGLAS RD                                                                                 IDA            MI    48140‐9727
GARY L ANDREWS                                  8465 MARGARET                                                                                   TAYLOR         MI    48180‐2760
GARY L AVERY                                    4117 FORSYTH AVE                                                                                TROY           MI    48098‐3771
GARY L BACKS                                    21312 N OAKVIEW DR                                                                              NOBELSVILLE    IN    46060‐9407
GARY L BAILEY                                   1383 OAKWOOD DR                                                                                 SAINT CLAIR    MO    63077‐2051
GARY L BAILEY                                   BOX 3133                                                                                        CHERRY HILL    NJ    08034‐0288
GARY L BAKER                                    11079 SHARON MEADOWS DR                                                                         CINCINNATI     OH    45241‐1850
GARY L BAKER                                    1105 GLENWOOD DRIVE                                                                             COLUMBIA       TN    38401‐6705
GARY L BALL                                     10566 BRIERBUSH                                                                                 DOWNEY         CA    90241‐2821
GARY L BARGER                                   3366 CYPRESS LAKE DR S                                                                          OLIVE BRANCH   MS    38654‐6864
GARY L BARKER                                   115 W MAIN ST                                                                                   NEW LONDON     OH    44851‐1018
GARY L BARRETT                                  3895 MINTON                                                                                     ORION          MI    48055
GARY L BATES                                    7102 STATE RD                                                                                   MILLINGTON     MI    48746‐9408
GARY L BAUER                                    3507 WORCHESTER PLACE                                                                           FORT WAYNE     IN    46815‐6201
GARY L BEADLE                                   4975 FREEMAN RD                                                                                 EATON RAPIDS   MI    48827‐8025
GARY L BEAM                                     PO BOX 494                                                                                      CEDARVILLE     OH    45314‐0494
GARY L BECKER                                   708 W MONTEREY LANE                                                                             MEQUON         WI    53092‐5820
GARY L BEHE                                     15588 CARTWRIGHT RD                                                                             HUNT           NY    14846‐9275
GARY L BELKA                                    111 CHURCH ST                                                                                   WAYLAND        MI    49348‐1201
GARY L BELL                                     3152 LEGENDS CIR                                                                                LAKELAND       FL    33803‐5432
GARY L BENNETT                                  550 RIVERSTONE PK C                                                                             CANTON         GA    30114‐5661
GARY L BESAW                                    5086 LAPEER RD                                                                                  BURTON         MI    48509‐2033
GARY L BEUCHEL                                  2115 CAPESTONE ST                                                                               LAS VEGAS      NV    89134
GARY L BIRCHMEIER                               722 E GARRISON RD                                                                               OWOSSO         MI    48867‐9760
GARY L BOES                                     4200 SHETLAND DRIVE                                                                             ANN ARBOR      MI    48105‐9536
GARY L BONHAM                                   9523 CUTLERS TRACE                                                                              CENTERVILLE    OH    45458‐9161
GARY L BORNEMAN CUST G M BORNEMAN UGMA PA       251 OLD CLAIRTON RD                                                                             CLAIRTON       PA    15025‐3091

GARY L BORTER                                   8385 SW CONNEMARA PLACE                                                                         BEAVERTON      OR    97008‐6973
GARY L BOTHAM                                   270 ADAM ST                                                                                     TONAWANDA      NY    14150‐2038
GARY L BOURCIER & JOAN S BOURCIER JT TEN        15853 SW 16TH AVE RD                                                                            OCALA          FL    34473
GARY L BOWMAN                                   909 E STINER RD                                                                                 CRESTON        OH    44217‐9789
GARY L BOYD                                     19781 MAHON ST                                                                                  SOUTHFIELD     MI    48075‐3941
GARY L BRANDON                                  PO BOX 338                                                                                      COLEMAN        MI    48618‐0338
GARY L BREMER                                   BOX 47                                                                                          OKOLONA        OH    43550
GARY L BRININSTOOL                              6954 S IONIA RD                                                                                 BELLEVUE       MI    49021‐8433
GARY L BROW                                     6433 MURPHY LAKE RD                                                                             MILLINGTON     MI    48746‐9552
GARY L BROWN                                    247 HICKORY DR                                                                                  GREENVILLE     OH    45331‐2853
GARY L BRUNT                                    136 EAST WALNUT                                                                                 PETERSBURG     MI    49270‐9565
GARY L BULEMORE                                 1604 W HIBBARD RD                                                                               OWOSSO         MI    48867‐9222
GARY L BURGESS                                  13820 BARCROFT WAY                                                                              WARREN         MI    48088‐5106
GARY L CADIEUX                                  2570 LOLA LN                                                                                    AU GRES        MI    48703
GARY L CARLISLE                                 131 SANDSTONE LN                                                                                CANFIELD       OH    44406‐7616
GARY L CARPER                                   PO BOX 82                                                                                       SANTE FE       TN    38482‐0032
GARY L CHAMBERS CUST BRENDAN KYLE CHAMBERS      515 VIA DELFIN                                                                                  SAN CLEMENTE   CA    92672‐2467
UTMA FL
GARY L CHILDERS                                 379 STUMP RD                                                                                    LAPEER         MI    48446‐8763
GARY L CLARK                                    RD1                                                                                             MAPLEWOOD      OH    45340‐9801
GARY L CLARKE                                   16652 CLINTON RD                                                                                SPRINGPORT     MI    49284‐9791
GARY L CODELUPPI & DEBORAH A CODELUPPI JT TEN   2032 WINDING BROOKWAY                                                                           XENIA          OH    45385‐9381

GARY L COLE                                     3229 STARBOARD DR                                                                               LANTANA        FL    33462‐3767
GARY L COLLETT                                  5920 ORCHARD CT                                                                                 LANSING        MI    48911‐5221
GARY L COOPER                                   197 EAST STATE STREET                  PO BOX 517                                               MONTROSE       MI    48457‐0517
GARY L CRAMER                                   15806 LEAVENWORTH RD                                                                            BASEHOR        KS    66007‐9770
GARY L CREECH                                   6885 TALBOT DR                                                                                  ALMONT         MI    48003‐7911
GARY L CROCKETT                                 3013 TROYER RD                                                                                  WHITE HALL     MD    21161
GARY L CROSSEN                                  11026 GALE RD                                                                                   OTISVILLE      MI    48463‐9435
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GARY L CUMMINS                                44299 FRANCISCAN DRIVE                                                                         CANTON          MI    48187‐3252
GARY L CURRANT                                44 BRIDGEPORT DR                                                                               ST CHARLES      MO    63304‐7966
GARY L CURTIS                                 3947 SCHMIDT RD                                                                                GLADWIN         MI    48624‐8135
GARY L DAENZER                                736 ZEHNDER DR                                                                                 FRANKENMUTH     MI    48734‐9798
GARY L DALTON                                 101 DAYTON OXFORD RD                                                                           FRANKLIN        OH    45005‐3580
GARY L DALTON                                 4316 MICHAELS DR                                                                               FRANKLIN        OH    45005‐1928
GARY L DAVENPORT                              264 S FOREST HILL                                                                              YOUNGSTOWN      OH    44515‐3151
GARY L DAVIS                                  25868 DUNBAR STREET                                                                            SOUTHFIELD      MI    48034‐5860
GARY L DE GOOD                                631 GREENBRIER DR SE                                                                           GRAND RAPIDS    MI    49546‐2239
GARY L DENNIS                                 5497 RUHL GARDEN                                                                               KOKOMO          IN    46902‐9722
GARY L DETRO                                  433 POPLAR ST                                                                                  BROOKVILLE      OH    45309‐1725
GARY L DIBBLE                                 2310 NEWBERRY                                                                                  WATERFORD       MI    48329‐2340
GARY L DICKERSON                              4585 SERUM PLANT RD                                                                            THORNTOWN       IN    46071‐9264
GARY L DIETRICH                               18095 COLVIN RD                                                                                ST CHARLES      MI    48655‐9715
GARY L DIETRICH                               7815 BASS RD                                                                                   PORT HOPE       MI    48468‐9617
GARY L DIXON                                  17719 MOSS POINT DR                                                                            SPRING          TX    77379‐7935
GARY L DOTSON                                 280 RIVER ROAD                                                                                 ELKTON          MD    21921‐7935
GARY L DUNN                                   744 N JENISON ST                                                                               LANSING         MI    48915‐1309
GARY L EAGLETON                               2365 LEIGHTON WAY                                                                              ROSEVILLE       CA    95747
GARY L EAST                                   212 SMALL STREET                                                                               WESTPORT        IN    47283‐9322
GARY L EDGECOMBE                              47 WOODSTONE LANE                                                                              ROCHESTER       NY    14626‐1755
GARY L EDGECOMBE & TERRY A EDGECOMBE JT TEN   47 WOODSTONE LANE                                                                              ROCHESTER       NY    14626‐1755

GARY L EDWARDS                                4141 ATHENS                                                                                    WATERFORD       MI    48329‐2005
GARY L ELLERMEIER                             2160 S WABASH AVE                                                                              HASTINGS        NE    68901‐8321
GARY L ELYA                                   2009 HADAGORN RD                                                                               MASON           MI    48854‐9414
GARY L ERICKSON                               6846 MEADOW VIEW                                                                               RUDOLPH         WI    54475‐9302
GARY L FALKNER                                5136 SCHULLER DRIVE N E                                                                        CANTON          OH    44705‐3055
GARY L FIEBELKORN                             331 HARRINGTON                                                                                 MOUNT CLEMENS   MI    48043‐2942
GARY L FOWLER                                 1437 SILVER LN                                                                                 EAST HARTFORD   CT    06118‐1342
GARY L FRANTZ                                 308 ROYER ST                          PO BOX 76                                                NEW RINGGOLD    PA    17960‐0076
GARY L FREITAG                                350 GROVER RD                                                                                  E AURORA        NY    14052‐2106
GARY L FROELICH                               2310 FAR HILLS AVE                    STE 1812                                                 DAYTON          OH    45419‐1571
GARY L GALBAVI                                639 N WATKINS                                                                                  PERRY           MI    48872‐9103
GARY L GALLEGOS                               55 AYERS DR                                                                                    JACKSON         TN    38301‐3327
GARY L GALLIEN                                628 ARBOLADO DR                                                                                FULLERTON       CA    92835‐1806
GARY L GARVER                                 4309 MCCLAY RD                                                                                 SAINT CHARLES   MO    63304‐7921
GARY L GASS                                   540 PARKWAY ESTATES DRIVE                                                                      OAK CREEK       WI    53154‐4527
GARY L GASS & MARILYN L GASS JT TEN           540 PARKWAY ESTATES DRIVE                                                                      OAK CREEK       WI    53154‐4527
GARY L GIBSON                                 8801 CROSLEY RD                                                                                SPRINGBORO      OH    45066‐9608
GARY L GIBSON                                 2610 BRAHMS DRIVE                                                                              W CARROLLTON    OH    45449‐3203
GARY L GOODRIDGE                              35 COLONY LANE                                                                                 ROCHESTER       NY    14623‐5411
GARY L GRANTHAM                               209 HIDDEN VALLEY CIRCLE                                                                       SHEPHERDSTOWN   WV    25443‐3511

GARY L GREEN                                  4143 RANCH DRIVE                                                                               BEAVERCREEK     OH    45432‐1864
GARY L GREENE                                 4202 CAYUGA TRL                                                                                FLINT           MI    48532‐3580
GARY L GRIDER                                 208 BUENA VISTA DR                                                                             COLUMBIA        TN    38401
GARY L GRIFFITHS                              1635 RUTHERFORD AVE                                                                            PITTSBURGH      PA    15216‐3238
GARY L GRIMES                                 5550 PLANET DR                                                                                 FAIRFIELD       OH    45014‐5015
GARY L GRONER                                 1274 W RIVER RD                                                                                OSCODA          MI    48750‐1264
GARY L GUTELIUS                               830 LOVERS LANE N W                                                                            WARREN          OH    44485‐2201
GARY L HAGER                                  209 MILLS PLACE                                                                                NEW LEBANON     OH    45345‐1517
GARY L HAMBY                                  808 SIGLER ST                         PO BOX 636                                               FRANKTON        IN    46044‐0636
GARY L HAMILTON                               671 JOSLYN                                                                                     LAKE ORION      MI    48362‐2119
GARY L HAMMOND                                PO BOX 162                                                                                     HAMPSHIRE       TN    38461‐0162
GARY L HANDSCHUMACHER JR                      335 WOODLAWN AVE                                                                               COLUMBUS        OH    43228‐2244
GARY L HARAKAY                                614 MORNING GLORY LA                                                                           UNION           OH    45322‐3020
GARY L HARKAI                                 305 ANN CROCKETT CT                                                                            FRANKLIN        TN    37064‐6735
GARY L HARPER                                 4200 HARBORTOWNE DR                   APT 3                                                    SAGINAW         MI    48603‐1436
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GARY L HARRINGTON                               3200 SCHOOLHOUSE DRIVE                                                                        WATERFORD          MI    48329‐4331
GARY L HAYES                                    3045 WOLFE DR                                                                                 FAIRBORN           OH    45324‐2139
GARY L HEATH                                    6721 HAMPTON DR                                                                               CINCINNATI         OH    45236‐3934
GARY L HEGEDUS                                  413 W BROWNING AVE                                                                            HAZEL PARK         MI    48030‐1014
GARY L HELBERT                                  1956 S R 511 R 6                                                                              ASHLAND            OH    44805‐9234
GARY L HELBERT & JEANNETTE L HELBERT JT TEN     1956 STE RTE 511 RTE 6                                                                        ASHLAND            OH    44805‐9234
GARY L HEMPHILL                                 10921 KIRK RD                                                                                 NORTH JACKSON      OH    44451‐9742
GARY L HENSON                                   499 S HURD                                                                                    OXFORD             MI    48371‐2831
GARY L HESS & RUTH A HESS JT TEN                11127W TWINLAKE RD                                                                            HAYWARD            WI    54843‐5253
GARY L HIMES                                    107 DRY FORK DR                                                                               HENRIETTA          TX    76365‐2522
GARY L HITTLE                                   7817 ALT ST RT 49 EAST                                                                        ARCANUM            OH    45304‐9503
GARY L HOBSON                                   5751 DEFIANCE                                                                                 BROOKPARK          OH    44142‐2518
GARY L HOCHSTETLER                              1001 SHADY LANE                                                                               ASHLAND            OH    44805‐4555
GARY L HOFFMAN                                  PO BOX 328                                                                                    RAVENNA            OH    44266
GARY L HORNING                                  9277 E VIENNA RD                                                                              OTISVILLE          MI    48463‐9783
GARY L HORTON                                   1212 DEVONSHIRE CT                                                                            OWOSSO             MI    48867‐1802
GARY L HOWARD & LINDA L HOWARD JT TEN           3488 ROCHFORT BRIDGE DR                                                                       COLUMBUS           OH    43221‐4579
GARY L HUBBARD                                  14606 LONGVIEW DRIVE                                                                          STERLING HEIGHTS   MI    48313‐5338

GARY L HUDGENS                                  25615 N 152ND DR                                                                              SURPRISE           AZ    85387‐6010
GARY L HUNT                                     313 BRECKENRIDGE DR                                                                           HOUGHTON LAKE      MI    48629‐9342
GARY L HUSS                                     12185 GLENN MARK TRL                                                                          MONTROSE           MI    48457‐9767
GARY L IRVING                                   75 CARTER ROAD                                                                                ELKTON             MD    21921‐3311
GARY L IRWIN                                    3350 SEYMOUR RD                                                                               SWARTZ CREEK       MI    48473‐9746
GARY L JACKSON & TORY D JACKSON JT TEN          1972 N MERIDIAN ROAD                                                                          MASON              MI    48854‐9441
GARY L JACOBS                                   2809 SOMME ST                                                                                 JOLIET             IL    60435‐0647
GARY L JENSON                                   9245 JORDAN DR                                                                                MENTOR             OH    44060‐1061
GARY L JESTICE                                  1045 SPRING VALLEY PAINTERS RD                                                                SPRING VALLEY      OH    45370‐8792
GARY L JOHNSON                                  2245 REGENCY CIR                                                                              MORRISTOWN         TN    37814‐2772
GARY L JOHNSON                                  1001 S DAYTON ST                                                                              DAVISON            MI    48423‐1741
GARY L JONES                                    14538 STATE ROUTE 986                                                                         OLIVE HILL         KY    41164
GARY L KAMER & NANCI J KAMER JT TEN             578W20060 BURNINGWOOD CT                                                                      MUSKEGO            WI    53150
GARY L KEEN                                     103 DEBBIE LANE                                                                               MT MORRIS          MI    48458‐1248
GARY L KEIRSEY                                  714 CARSON SALT SPRINGS ROAD                                                                  MINERAL RIDGE      OH    44440‐9749
GARY L KENLEY                                   19451 STEPHENS DR                                                                             EASTPOINTE         MI    48021‐3412
GARY L KEPLEY                                   371 MILTON ST                                                                                 WICHITA FALLS      TX    76310‐8128
GARY L KERSHNER                                 63 SWAN LAKE DR                                                                               ADRIAN             MI    49221‐9313
GARY L KESSLER                                  2442 SIR DOUGLAS DR                                                                           HAMILTON           OH    45013‐4221
GARY L KEYES                                    4822 SO CENTERLINE                                                                            NEWAYGO            MI    49337‐9747
GARY L KIESEL                                   2025 FAIRWAY LAKES DR                                                                         FRANKLIN           IN    46131‐8319
GARY L KNAPP                                    14328 TUSCOLA ROAD                                                                            CLIO               MI    48420‐8849
GARY L KNODE                                    5927 SAMPACHE DRIVE                                                                           SHIPPENSBURG       PA    17257‐9348
GARY L KNOP                                     6994 GOOCH HILL RD                                                                            BOZEMAN            MT    59718‐6913
GARY L KNOTTS                                   14217 COUNTRY BREEZE LN                                                                       FISHERS            IN    46038‐6656
GARY L KRAUS                                    12014 SPEAKER RD                                                                              YALE               MI    48097‐3214
GARY L KUBE                                     7400 GOLF CLUB                                                                                HOWELL             MI    48843‐8043
GARY L KUMPF                                    7675 E NEW MARKET RD                                                                          HILLSBORO          OH    45133‐9577
GARY L LADD                                     4015 S STATE ST                                                                               INDIANAPOLIS       IN    46227‐3676
GARY L LAMB                                     PO BOX 251                                                                                    ST LOUIS           MI    48880‐0251
GARY L LAMB & CHARLOTTE E LAMB JT TEN           127 DAVIS STREET                                                                              ST LOUIS           MI    48880‐9274
GARY L LANDON                                   214 HIGH ST                                                                                   GRAND LEDGE        MI    48837‐1654
GARY L LATUNSKI                                 1941 VICTOR                                                                                   LANSING            MI    48910‐8749
GARY L LEMONS                                   4380 WALLINGTON                                                                               KETTERING          OH    45440‐1245
GARY L LESTER                                   6557 SADLER                                                                                   DECKER             MI    48426‐9706
GARY L LITTLEPAGE                               2885 MALIBU CT                                                                                CINCINNATI         OH    45251‐2235
GARY L LOSTER & ALLENE LOSTER JT TEN            2502 VANETTEN ST                                                                              SAGINAW            MI    48601‐3376
GARY L MAKARWICH                                5433 OAK RIDGE RD                                                                             JOSHUA             TX    76058‐5226
GARY L MALCOLM                                  707 HODUNK RD                                                                                 COLDWATER          MI    49036‐9237
GARY L MANSFIELD                                3458 FALL CREEK PKWY                                                                          INDIANAPOLIS       IN    46205‐3693
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GARY L MARDYLA & VIOLA L MARDYLA JT TEN           40363 KRAFT                                                                                  STERLING HTS      MI    48310‐1758
GARY L MARTIN                                     PO BOX 43                                                                                    IONIA             MI    48846‐0043
GARY L MAXTON                                     6940 BEJAY DR                                                                                TIPP CITY         OH    45371‐2306
GARY L MC CALL                                    2552 MT LEBANON RD                                                                           LEWISBURG         TN    37091‐6341
GARY L MCGOWAN                                    5029 WINSTON DR                                                                              SWARTZ CREEK      MI    48473‐1224
GARY L MCMEANS                                    212 WINSLOW DR                                                                               ATHENS            AL    35613‐2722
GARY L MELTZER                                    7878 WALNUT DRIVE                                                                            AVON              IN    46123‐8412
GARY L MENSINGER                                  116 LAUREL LANE                                                                              WILMINGTON        DE    19804‐2326
GARY L MERWIN                                     258 HEIGHTS                                                                                  LAKE ORION        MI    48362‐2725
GARY L MERWIN & MARY K MERWIN JT TEN              258 HEIGHTS                                                                                  LAKE ORION        MI    48362‐2725
GARY L MEYERS                                     7290 GRAND RIVER TRAIL                                                                       PORTLAND          MI    48875‐9705
GARY L MOORE                                      529 E 300 N                                                                                  ANDERSON          IN    46012‐1213
GARY L MORIN                                      317 WISLER STREET                                                                            DAVISON           MI    48423‐1630
GARY L MUNOZ                                      12747 S BYRON RD                                                                             BYRON             MI    48418‐9753
GARY L MUOIO                                      1280 SAGEBROOK WAY                                                                           WEBSTER           NY    14580‐9414
GARY L NEARHOOF                                   7413 BERKSHIRE RD                                                                            BALTIMORE         MD    21224‐3311
GARY L NELSON                                     8164 TIMBER TRL                                                                              WHITE LAKE        MI    48386‐3597
GARY L NEPHEW                                     323 FRANCONIAN N                                                                             FRANKENMUTH       MI    48734‐1007
GARY L NEWMAN                                     401 SOUTHLAWN                                                                                AUBURN            MI    48611‐9451
GARY L NEWTON                                     8825 ORTONVILLE RD                                                                           CLARKSTON         MI    48348‐2842
GARY L NEWTON                                     2699 LAKE WOOD DRIVE                                                                         ALPENA            MI    49707‐8945
GARY L NICHOLS                                    10258 COUNTY ROAD 1006                                                                       AUXVASSE          MO    65231‐3404
GARY L NIEDERLEHNER                               6640 KANAUGUA                                                                                MIDDLETOWN        OH    45044‐9716
GARY L NOFFSINGER                                 4728 TURNER RD                                                                               TURNER            MI    48765‐9726
GARY L NYGARD                                     PO BOX 1202                                                                                  BROOKHAVEN        PA    19015‐0202
GARY L NYMAN                                      2492 LANNING DRIVE                                                                           BURTON            MI    48509‐1029
GARY L OAK & CONNIE S OAK JT TEN                  142 PLEASANT MANOR DR                                                                        WATERFORD         MI    48327‐3695
GARY L OBEY                                       4337 MORAWA TRAIL                                                                            HALE              MI    48739‐9040
GARY L OCHS                                       106 EDGEWOOD DR                                                                              BEDFORD           IN    47421‐3977
GARY L OCHS & MARSHA A OCHS JT TEN                106 EDGEWOOD DRIVE                                                                           BEDFORD           IN    47421‐3977
GARY L OGROSKY                                    13643 LANGFORD DR                                                                            MIDLOTHIAN        VA    23113‐2686
GARY L ORLOFF & PEGGY L ORLOFF JT TEN             6640 HEISLEY RD                                                                              MENTOR            OH    44060‐4504
GARY L OROCK                                      524 WILES RD                                                                                 MANSFIELD         OH    44903‐8642
GARY L ORSINI                                     1511 SAM MASON RD                                                                            BUNKER HILL       WV    25413‐3255
GARY L OWENS                                      27416 SELKIRK                                                                                SOUTHFIELD        MI    48076‐5145
GARY L OZMINA                                     5881 W GUNNISON ST                                                                           CHICAGO           IL    60630‐3224
GARY L PACHECO                                    67 S CRAGMONT                                                                                SAN JOSE          CA    95127‐2441
GARY L PARK SR                                    15729 LABRADOR ST                                                                            NORTH HILLS       CA    91343‐2024
GARY L PARKS                                      12750 VALIMAR RD                                                                             NEW PORT RICHEY   FL    34654‐4837

GARY L PATRICK                                    240 S 7TH AVE                       APT 4E                                                   MOUNT VERNON      NY    10550‐3824
GARY L PEABODY & ALFORD E PEABODY JT TEN          611 PRINCETON ST                                                                             BRANDON           FL    33511‐7129
GARY L PERGANDE                                   2121 EAST MEMORIAL                                                                           JANESVILLE        WI    53545‐2048
GARY L PERLEY                                     PO BOX 336                                                                                   MANASSA           CO    81141‐0336
GARY L PETERS & PATRICIA K PETERS JT TEN          409 KINGSWAY CT                                                                              MOORESVILLE       IN    46158‐2007
GARY L PETERSON                                   201 S MAIN ST                       BOX 507                                                  OLIVET            MI    49076‐0507
GARY L PETERSON & SYLVIA JEAN PETERSON JT TEN     440 OHIO AVE                                                                                 HARRISONBURG      VA    22801‐1743

GARY L PETTIT                                     6262 APACHE ST                                                                               DAYTON           OH     45424‐2808
GARY L PETTY                                      5176 ESTELLA LN                                                                              SHELBY TWP       MI     48316‐4112
GARY L PLACE                                      22667 VACRI LN                                                                               FARMINGTON HILLS MI     48335‐3858

GARY L POOLE                                      65 ALEXANDER ST                                                                              EDISON            NJ    08820‐2434
GARY L PORTER                                     1033 N DAYBREAK DR                                                                           WASHINGTON        UT    84780‐8491
GARY L PORTER & MARY E PORTER JT TEN              1033 N DAYBREAK DR                                                                           WASHINGTON        UT    84780‐8491
GARY L PRICE                                      7600 NW BELVIDERE PKWY                                                                       KANSAS CITY       MO    64152‐2298
GARY L PRICE & JOLENE S PRICE JT TEN              7600 NW BELVIDERE PKWY                                                                       KANSAS CITY       MO    64152‐2298
GARY L PUCKETT                                    783 GREENLAND DR                                                                             EATON             OH    45320‐2510
GARY L PUCKETT                                    1328 AUDUBON DR                                                                              BOWLING GREEN     KY    42101‐2724
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GARY L QUERFELD                                  550 PENINSULAR ST                                                                             CEMENT CITY        MI    49233‐9742
GARY L RAYL                                      327 ELLENHURST                                                                                ANDERSON           IN    46012‐3742
GARY L REESE                                     5740 BOOTH                                                                                    KANSAS CITY        MO    64129‐2737
GARY L RICHARDS                                  4578 LONGMEADOW BLVD W                                                                        SAGINAW            MI    48603‐1027
GARY L RIEGEL                                    9986 E BASELINE RD                                                                            BATTLE CREEK       MI    49017‐9765
GARY L ROBERTS                                   1655 WOODWAY RD                                                                               KENT               OH    44240‐5915
GARY L ROBINSON                                  4360 HAYNES RD                                                                                STOCKBRIDGE        MI    49285‐9436
GARY L ROBINSON                                  885 LONG ROAD                                                                                 XENIA              OH    45385‐8421
GARY L ROCK                                      150 MELODY SPRINGS DR                                                                         HURT               VA    24563‐3877
GARY L ROEPER                                    11785 E PITTSBURG RD                                                                          DURAND             MI    48429‐9449
GARY L ROLAND                                    236 SEQUOIA DR                                                                                TWIN LAKES         CO    81251‐9707
GARY L ROLLAND                                   24 DUCK HOLLOW LANE                                                                           NEW RINGGOLD       PA    17960‐9005
GARY L RONSHAUSEN JR                             40209 SR 558                                                                                  LEETONIA           OH    44431
GARY L ROTHE & JULIA E ROTHE JT TEN              818 SNOWMASS DR                                                                               ROCHESTER HILLS    MI    48309‐1320
GARY L SABO                                      3714 OUTVILLE RD S/W                                                                          GRANVILLE          OH    43023‐9625
GARY L SANFORD                                   1090 N GENESEE ROAD                                                                           BURTON             MI    48509‐1433
GARY L SAVILLE                                   1213 GARY DR                                                                                  BALTIMORE          MD    21228‐5125
GARY L SCHLAUD                                   5060 HASLICK RD                                                                               NORTH BRANCH       MI    48461‐8959
GARY L SCHRADER                                  1821 CHERRYWOOD LN                                                                            DUNEDIN            FL    34698‐2937
GARY L SCHULTHEISS                               4915 SCHNEIDER ST                                                                             SAGINAW            MI    48638
GARY L SCHULZ                                    575 E COTTAGE GROVE RD                                                                        KAWKAWLIN          MI    48631‐9746
GARY L SCOTT                                     5933 ARCOLA                                                                                   GARDEN CITY        MI    48135‐2524
GARY L SEAMAN                                    3030 MCKINNEY AVE                    APT 801                                                  DALLAS             TX    75204‐2448
GARY L SEEBON                                    530 WILKSHIRE DRIVE                                                                           WATERVILLE         OH    43566‐1231
GARY L SHAFER                                    484 BALDWIN                                                                                   OXFORD             MI    48371
GARY L SHOCK                                     W17720 US HIGHWAY 2                                                                           GOULD CITY         MI    49838‐9007
GARY L SIMONS                                    S72W24905 WILDWOOD DR                                                                         WAUKESHA           WI    53189‐9090
GARY L SLOCUM                                    371 RISSMAN LANE                                                                              ORTONVILLE         MI    48462‐8455
GARY L SMITH                                     3717 LA BREA AVE                     APT 339                                                  LOS ANGELES        CA    90016‐5300
GARY L SMITH                                     4008 SILVERGLADE CT                                                                           GAHANNA            OH    43230‐6317
GARY L SMITH                                     513 W 3RD ST                                                                                  ALEXANDRIA         IN    46001‐2230
GARY L SMITH                                     1701 IRWIN DR                                                                                 WATERFORD          MI    48327‐1934
GARY L SMITH                                     500 W COURT STREET                                                                            FLINT              MI    48503‐5010
GARY L SMITH & KAREN L SMITH JT TEN              6207 CEDAR LAKE RD                                                                            OSCODA             MI    48750‐9458
GARY L SODERBERG                                 2364 BUTLIN DR                                                                                BELOIT             WI    53511‐2608
GARY L SOUKUP                                    16542 SORENTO DRIVE                                                                           CHESANING          MI    48616‐9745
GARY L SPENCER                                   8188 FOSTORIA RD                                                                              FOSTORIA           MI    48435‐9730
GARY L STANLEY                                   34155 PARKINSON RD                                                                            MIDDLEPORT         OH    45760‐9749
GARY L STANLEY                                   5411 S NICHOLS RD                                                                             SWARTZ CREEK       MI    48473‐8524
GARY L STANTON                                   212 WESTERN AVE                                                                               LANSING            MI    48917‐3712
GARY L STARKEY                                   211 ALPHA RD                                                                                  NEWPORT            TN    37821‐9403
GARY L STEIB                                     27 SADDLEBROOK TRL                                                                            GREENSBURG         PA    15601‐9789
GARY L STENZEL                                   4712 HWY 511                                                                                  ROCKHOLDS          KY    40759‐9504
GARY L STEPHENS                                  11964 BURTLEY                                                                                 STERLING HEIGHTS   MI    48313‐1714

GARY L STEVENSON                                 6886 W MEADOW LANE                                                                            ST JOHNS           MI    48879
GARY L STEWART                                   104 CAYCE LANE                                                                                COLUMBIA           TN    38401‐5606
GARY L STORK                                     22184 BOWMAN RD                                                                               DEFIANCE           OH    43512‐8991
                                                                                                                                               JUNCTION
GARY L STOTTS                                    2333 FEATHER SOUND DR                APT A510                                                 CLEARWATER         FL    33762‐3057
GARY L SWANSON & AUDREY M SWANSON TR             PO BOX 461                                                                                    MOUNTAINAIR        NM    87036‐0461
SWANSON FAMILY TRUST UA 02/17/04
GARY L SWARTZ                                    5694 HURD RD                                                                                  ORTONVILLE         MI    48462‐9738
GARY L SWIFT                                     217 W SUNSET DR                                                                               ELLIJAY            GA    30540‐4379
GARY L SWINEHART                                 94 RIDGEVIEW CIRCLE                                                                           MILAN              OH    44846‐9519
GARY L SWINEHART & EVELYN S SWINEHART JT TEN     94 RIDGEVIEW CIRCLE                                                                           MILAN              OH    44846‐9519

GARY L SWINK                                     5740 S BRISTOL TERR                                                                           INVERNESS          FL    34452‐8469
GARY L SYX                                       614 TIDESRIDGE CT                                                                             MURFREESBORO       TN    37128‐7613
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GARY L TANNEHILL                                2652 KNOB CREEK RD                                                                           COLUMBIA        TN    38401‐1428
GARY L TEETS                                    7029 EYLER DRIVE                                                                             SPRINGBORO      OH    45066‐1484
GARY L TEETS                                    7029 EYLER DR                                                                                SPRINGBORO      OH    45066‐1484
GARY L TEWKSBURY                                104 KING STR                                                                                 BAY CITY        MI    48706‐4824
GARY L THOMAS                                   3775 VERMONTVILLE HWY                                                                        POTTERVILLE     MI    48876‐9766
GARY L THOMAS                                   42848 STRATFORD DR                                                                           BELLEVILLE      MI    48111‐1723
GARY L THOMPSON                                 1325 ROYAL OAK LANE                                                                          GLENVIEW        IL    60025‐3160
GARY L THOMPSON                                 537 CANDLESTICK DR                                                                           WATERFORD       MI    48328‐2105
GARY L THOMPSON & JAYNE E THOMPSON JT TEN       4620 LEXINGTON RIDGE                                                                         MEDINA          OH    44256‐6321
GARY L TINCHER                                  14989 S SHORE DR                                                                             ADDISON         MI    49220‐9200
GARY L TONG                                     42 BART DR                                                                                   CANTON          CT    06019
GARY L TOTTY                                    488 VAN CAMP SQ                                                                              GREENWOOD       IN    46143‐1615
GARY L UPTGRAFT                                 4514 CEDARCREST AVENUE                                                                       PORTAGE         MI    49024‐9523
GARY L VANCE                                    8794 WATERMAN RD                                                                             VASSAR          MI    48768‐9457
GARY L VARNER & CAROL J VARNER JT TEN           4120 SMITH RD                                                                                LAMBERTVILLE    MI    48144‐9478
GARY L VEST & JUDITH R VEST JT TEN              RURAL ROUTE 1                                                                                MORTON          IL    61550‐9801
GARY L VISI                                     2575 HOMEWORTH ROAD                                                                          ALLIANCE        OH    44601‐9088
GARY L VOELKER & MARILYN A VOELKER JT TEN       12168 CARRIAGE TRAIL CR                                                                      DAVISBURG       MI    48350‐1688
GARY L WAGNER                                   167 LOCKER RD                                                                                SUMMERTOWN      TN    38483‐7201
GARY L WALCK                                    PO BOX 494                                                                                   SANBORN         NY    14132‐0494
GARY L WALKER & BONNIE R WALKER JT TEN          3668 BEEBE RD                                                                                NEWFANE         NY    14108‐9619
GARY L WALKUP                                   BOX 59                              1127 COLUMBUS ST                                         HARRISBURG      OH    43126‐0059
GARY L WARD                                     1496 WINEGER RD                                                                              MORRICE         MI    48857‐9749
GARY L WELLS                                    5610 BLISS DR                                                                                OXFORD          MI    48371‐2143
GARY L WESTLUND                                 14092 ALLEN ROAD                                                                             ALBION          NY    14411‐9254
GARY L WESTLUND & ELIZABETH P WESTLUND JT TEN   14092 ALLEN ROAD                                                                             ALBION          NY    14411‐9254

GARY L WHITTED                                 1539 BETHANY RD                                                                               ANDERSON        IN    46012‐9101
GARY L WHITTEMORE & CAROLE A WHITTEMORE JT TEN 7824 JANEL DR                                                                                 INDIANAPOLIS    IN    46237‐9325

GARY L WIECK                                  2910 52ND ST SW                                                                                GRANDVILLE      MI    49418‐9705
GARY L WILKINS & DOROTHEA E WILKINS JT TEN    PO BOX 1071                                                                                    LAKESIDE        MT    59922‐1071
GARY L WILLER                                 38068 KIMBRO ST                                                                                FREMONT         CA    94536‐5923
GARY L WILLIAMS                               2026 ROSEWOOD DR                                                                               ABILENE         TX    79603‐3236
GARY L WILLIAMS                               1261 TINSMAN RD                                                                                FENTON          MI    48430‐1651
GARY L WILLIAMS                               7640 JAMES A REED RD                                                                           KANSAS CITY     MO    64138‐1267
GARY L WILSON                                 6515 15ST EAST                        LOT L 21                                                 SARASOTA        FL    34243‐3289
GARY L WINDER                                 1615 E 200 S                                                                                   HARTFORD CITY   IN    47348‐9788
GARY L WINTERS                                2339 PATTERSON                                                                                 SHELBYVILLE     MI    49344‐9752
GARY L YARGER                                 230 MARIAH                                                                                     ABILENE         TX    79602‐6366
GARY L ZAISER                                 501 MEADOWLARK TERRACE                                                                         GLEN MILLS      PA    19342‐3341
GARY L ZAWOL & LINDA K ZAWOL JT TEN           4340 OAKDALE ST                                                                                GENESEE         MI    48437
GARY L ZEHNER                                 2696 E 100 N                                                                                   ANDERSON        IN    46012‐9684
GARY L ZEMESKI                                8046 BALFOUR                                                                                   ALLEN PARK      MI    48101‐2206
GARY L ZIMPLEMAN                              1701 GREENACRES DR                                                                             KOKOMO          IN    46901‐9549
GARY LAMPH TR COMPUTER LOGISTICS INC PROFIT   2101 MARINA RAY COURT                                                                          LAS VEGAS       NV    89117‐1923
SHARING PLAN
GARY LATTER                                   1101 FARMINGTON DR APT 262                                                                     VACAVILLE       CA    95687
GARY LAZOR                                    26227 OCALA CIR                                                                                SOUTH RIDING    VA    20152
GARY LEE ANDERSEN & SUZANNE JOHNSTON ANDERSEN 520 UNIVERSITY PL                                                                              GROSSE POINTE   MI    48230‐1640
JT TEN
GARY LEE AYRES                                3632 CROW NEST PT                                                                              TRIANGLE        VA    22172‐1050
GARY LEE CARR                                 9078 STATE RD                                                                                  OTISVILLE       MI    48463‐9407
GARY LEE GIBBS & KATHLEEN GIBBS JT TEN        7920 S 36                                                                                      SCOTTS          MI    49088‐9302
GARY LEE HIRE                                 5024 CROFTSHIRE DR                                                                             KETTERING       OH    45440‐2402
GARY LEE LONG                                 2241 W LASKEY RD                      APT 36                                                   TOLEDO          OH    43613‐3562
GARY LEE MARKMAN                              N3819 WOODFIELD LN                                                                             NEW LONDON      WI    54961‐8644
GARY LEE MIER                                 5524 DILL COURT                                                                                INDIANAPOLIS    IN    46237‐9448
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GARY LEE MORGAN & STEPHANIE J MORGAN JT TEN      3226 PYRITE CIR                                                                                ATLANTA         GA    30331‐2810

GARY LEE PORTER                                  6121 S COWAN RD                                                                                MUNCIE           IN   47302‐8777
GARY LEE SMITH                                   PO BOX 1774                                                                                    ANADARKO         OK   73005‐1774
GARY LEE TAPPER & CYNTHIA ROSE TAPPER JT TEN     350 N HEATHERSTONE DR                                                                          SUN PRAIRIE      WI   53590‐4335
GARY LEE WHITT                                   14262 SHORLE RD                                                                                STERLING         OH   44276
GARY LEEMAN                                      28915 NOTTOWAY                                                                                 FARMINGTON HILLS MI   48331‐2581

GARY LEN STAMPER                                 1415 SWARTHMOOR DR                                                                             NEW CASTLE      IN    47362‐1241
GARY LEON MYMO                                   131 MILL CREEK                                                                                 NILES           OH    44446‐3209
GARY LEON RENDZ                                  5643 RIDGE RD                                                                                  WILLIAMSBURG    MI    49690
GARY LEONARD GARDELLA                            2152 N WATER VIEW CT                                                                           TUCSON          AZ    85749‐7900
GARY LEROY COPP                                  4975 HATCHERY RD                                                                               WATERFORD       MI    48329‐3431
GARY LESTER ABERNETHY                            253‐32ND ST S W                                                                                HICKORY         NC    28602‐1707
GARY LEVINE CUST ZACHARY EVAN LEVINE UGMA NY     37 ACORN PONDS DR                                                                              ROSLYN          NY    11576‐2817

GARY LEWIS SHANNON                               9007 WATERBURY CT                                                                              MIAMISBURG      OH    45342‐5486
GARY LINENGER                                    4502 COOPER AVE                                                                                ROYAL OAK       MI    48073‐1512
GARY LOPEZ & VICKIE L LOPEZ JT TEN               2667 HOLLAND                                                                                   LAKE ORION      MI    48360‐2344
GARY LOUIS BIRCH                                 1081 TITHING HILL PLACE                                                                        RIVERTON        UT    84065
GARY LOWELL ALDRIDGE                             106 COURT ST                                                                                   ANDERSON        IN    46012‐2932
GARY LOWELL RUDEEN                               7502 IDEAL AVE                                                                                 COTTAGE GROVE   MN    55016‐2062
GARY LYNN ALLEN                                  615 AUSTIN SMITH DR                                                                            MONROE          OH    45050‐1405
GARY M AHMED                                     PO BOX 297                                                                                     BATH            OH    44210‐0297
GARY M BAETENS & KATHRYN A BAETENS JT TEN        PO BOX 118                                                                                     CLINTON         MI    49236‐0118
GARY M BALLIET                                   3908 CHENEY RD                                                                                 LEWISTON        MI    49756‐7556
GARY M BEEBE                                     1335 E CLINTON TR                                                                              CHARLOTTE       MI    48813‐9387
GARY M BEISER                                    9073 GRAND BLANC RD                                                                            GAINES          MI    48436‐9713
GARY M BERTMAN                                   600 MERIDIAN ST EXT 1110                                                                       GROTON          CT    06340‐4158
GARY M BROCK                                     217 SE 4TH AVE                                                                                 CAPE CORAL      FL    33990‐1098
GARY M BUCKINGHAM                                813 VICTORIA DRIVE                                                                             FRANKLIN        OH    45005‐1551
GARY M BUTLER                                    879 WESTHILLS DR                                                                               SOUTH LYONS     MI    48178‐2533
GARY M CALLENDAR                                 3536 RIVERSIDE RD                                                                              BENTON HARBOR   MI    49022‐9525
GARY M CALLENDAR & BARBARA I CALLENDAR JT TEN    3536 RIVERSIDE RD                                                                              BENTON HARBOR   MI    49022‐9525

GARY M CASSIDY                                   515 THAMES ST                         #1                                                       NEWPORT         RI    02840‐6717
GARY M CASTOR                                    1758 MOEIKER SW                                                                                WALKER          MI    49544‐6523
GARY M CHATHAM                                   4225 CONSERVANCY CT                                                                            BROOKFIELD      WI    53005‐1579
GARY M CLARK & MARY M CLARK TEN ENT              9834 N STARK DR                                                                                SAGINAW         MI    48609‐9463
GARY M COE                                       1754 WHITEWOOD DRIVE SW                                                                        WYOMING         MI    49509‐6540
GARY M COLE                                      932 W MAIN                                                                                     MOORE           OK    73160‐2247
GARY M COLEMAN                                   1219 KURTZ RD                                                                                  HOLLY           MI    48442‐8314
GARY M CROUCH & JANE B CROUCH TEN ENT            203 CARA COVE RD                                                                               NORTH EAST      MD    21901‐5406
GARY M DAY                                       514 E UNION ST                                                                                 FENTON          MI    48430‐2922
GARY M DORITY                                    2056 BEVERLY ST NW                                                                             WARREN          OH    44485‐1712
GARY M DOWD                                      17305 PURLINGBROOK                                                                             IVONIA          MI    48152‐3494
GARY M EWELL                                     PO BOX 198                                                                                     ONANCOCK        VA    23417‐0198
GARY M FARRELL                                   420 W BELMONT AVE                     APT 9H                                                   CHICAGO         IL    60657‐4722
GARY M FIELDS                                    89 BRIDGE STREET                                                                               PHOENIX         NY    13135‐1918
GARY M FITZGERALD                                217 MARION AVE                                                                                 WATERFORD       MI    48328‐3229
GARY M FLETCHER                                  6452 BOB O LINK DR                                                                             DALLAS          TX    75214‐3133
GARY M FLORKOWSKI                                14311 DUFFIELD RD                                                                              BYRON           MI    48418‐9037
GARY M FOY                                       1515 RIDGE ROAD LOT 81                                                                         YPSILANTI       MI    48198‐3350
GARY M GARBARINO                                 PO BOX 125                                                                                     BYRON           MI    48418‐0125
GARY M GAZO                                      6 MULLORD AVE                         AJAX ON                                L1Z 1K7 CANADA
GARY M GROTH                                     4598 E LAKE RD                                                                                 LIVONIA         NY    14487‐9756
GARY M GUNSELL                                   6705 SHERIDAN AVE                                                                              DURAND          MI    48429‐9307
GARY M HAAS                                      PO BOX 174                                                                                     MOSCOW MILLS    MO    63362‐0174
GARY M HALM                                      6541 SCHMEID RD                                                                                LAKEVIEW        MI    48850‐9742
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GARY M HARPER                                    PO BOX 1116                                                                                    BANDERA             TX    78003‐1116
GARY M HARTSON                                   PO BOX 279                                                                                     MADRID              NY    13660‐0279
GARY M HILTZ                                     11619 STEVEN                                                                                   STERLING HTS        MI    48312‐3057
GARY M HURLEY                                    407 ROSETTA STREET                                                                             NEW LEBANON         OH    45345‐1519
GARY M INO                                       337 BELLEVUE                                                                                   DALY CITY           CA    94014‐1307
GARY M JOYCE                                     249 N WINDING DRIVE                                                                            WATERFORD           MI    48328‐3072
GARY M KAHNT                                     25739 MELODY ST                                                                                TAYLOR              MI    48180
GARY M KIEKHAEFER                                936 S 122ND ST                                                                                 MILWAUKEE           WI    53214‐2013
GARY M KLEE & TERRY L PETERS JT TEN              6 JODOAN DRIVE                                                                                 EAST GREENBUSH      NY    12061‐2039
GARY M KLEIFIELD                                 1151 S WALNUT #201                                                                             LA HABRA            CA    90631‐7164
GARY M LEE                                       38 BRIGHTWOOD DR                                                                               COLDSPRING          KY    41076‐1718
GARY M LEWIS & MARGARET A LEWIS JT TEN           14190 AMBERWOOD CRCLE                                                                          LAKE OSWEGO         OR    97035‐8759
GARY M LYNCH                                     8682 STATE RD                                                                                  MILLINGTON          MI    48746‐9447
GARY M MACIK & NANCY J MACIK JT TEN              6040 BOULDER CREEK DR                                                                          YOUNGSTOWN          OH    44515‐4270
GARY M MACKS                                     4202 N FULTON PL                                                                               ROYAL OAK           MI    48073‐6354
GARY M MANN & MARY J MANN TR UA 04/18/2006       3195 EMERY LN                                                                                  METAMORA            MI    48455
MANN FAMILY TRUST
GARY M MEYERS                                    5597 POINTE DRIVE                                                                              EAST CHINA          MI    48054‐4163
GARY M MINGS & KIM A MINGS JT TEN                19 MARILYN COURT                                                                               TONAWANDA           NY    14150‐4615
GARY M MITZNER TOD KATHLEEN MITZNER SUBJECT TO   30935 BRAMLEY CIRCLE                                                                           NEW HUDSON          MI    48165‐9646
STA TOD RULES
GARY M NATH & JUDITH K NATH JT TEN               PO BOX 528                                                                                     CABIN JOHN          MD    20818‐0528
GARY M NEWTON                                    4219 LONGTREE CV                                                                               LITTLE ROCK         AR    72212‐1909
GARY M NIENALTOWSKI & DEBRA L NIENALTOWSKI JT    39837 CRYSTAL                                                                                  STERLING HEIGHTS    MI    48310‐2309
TEN
GARY M NOWLING                                   5144 MERRITT RD                                                                                YPSILANTI           MI    48197‐6601
GARY M OWENS & JUDITH I OWENS JT TEN             1415 HIRA ST                                                                                   WATERFORD           MI    48328
GARY M PATTERSON & AMY G ANDERSON JT TEN         608 VAN DYKE ST                                                                                CHATTANOOGA         TN    37405‐3234
GARY M PHILLIPS                                  11714 RAINBOW BRIDGE LN                                                                        HUMBLE              TX    77346‐8073
GARY M PLAGENS & JILL L PLAGENS JT TEN           2729 STEAMBOAT SPRINGS                                                                         ROCHESTER HILLS     MI    48309‐1345
GARY M PUSATERI                                  111 PATRICE TER                                                                                BUFFALO             NY    14221‐4703
GARY M RAY                                       4231 CHARTER OAK                                                                               FLINT               MI    48507‐5511
GARY M REISER                                    6041 MERWIN CHASE DR                                                                           BROOKFIELD          OH    44403‐9781
GARY M RICHETTO                                  9711 S SANDUSKY AVE                                                                            TULSA               OK    74137‐4824
GARY M RITZ                                      187 STRAFFORD RD                                                                               BUFFALO             NY    14216‐1714
GARY M ROGOWSKI                                  15938 IMLAY CITY RD                                                                            MUSSEY              MI    48014‐2302
GARY M ROYSTER                                   122 ROYSTER RD                                                                                 SILEX               MO    63377‐2104
GARY M SALISBURY                                 1090 VINEWOOD                                                                                  AUBURN HILLS        MI    48326‐1643
GARY M SAMYN                                     215 W BORTON                                                                                   ESSEXVILLE          MI    48732‐9748
GARY M SCHMANDT                                  7952 CAMPTON CT                                                                                REYNOLDSBURG        OH    43068‐8139
GARY M SCHWEITZERHOF                             19111 PORTOS DRIVE                                                                             SARATOGA            CA    95070‐5161
GARY M SHORTELL                                  207 SCHERER BLVD                                                                               FRANKLIN SQUARE     NY    11010‐1414

GARY M SORRENTINO & ELSA SORRENTINO JT TEN     5330 CHURCH HILL DR                                                                              TROY             MI       48098‐3472
GARY M TANNAHILL                               342 STATE RT 11                                                                                  MOIRA            NY       12957‐2006
GARY M TOMKIEWICZ & MARCIA A TOMKIEWICZ JT TEN 6225 ARDMORE PARK CIR                                                                            DEARBORN HEIGHTS MI       48127‐3976

GARY M UNGAR                                     732 EL MEDIO AVE                                                                               PACIFIC PALISADES   CA    90272‐3451

GARY M WELDON                                    3431 KRAFFT                                                                                    FORT GRATIOT     MI       48059‐3833
GARY M WILLIS                                    15650 BAK                                                                                      BELLEVILLE       MI       48111‐3500
GARY MAHER                                       495 WALDROP RD                                                                                 CAMPOBELLO       SC       29322‐8744
GARY MAKI CUST BRYNN ROSE MAKI UGMA MI           34860 OLD HOMESTEAD                                                                            FARMINGTON HILLS MI       48335‐1332

GARY MANNS                                       10 EDINBOROUGH AVE                    PORT PERRY ON                          L9L 1N8 CANADA
GARY MANNS                                       10 EDINBOROUGH                        PORT PERRY ON                          L9L 1N8 CANADA
GARY MARCUS                                      2750 DREW ST                          APT 234                                                  CLEARWATER          FL    33759
GARY MARK LUDINGTON & MARGARET DIANE             310 N LAKESHORE DR                                                                             LUDINGTON           MI    49431‐1631
LUDINGTON JT TEN
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GARY MARTIN KAISER & MELVA J KAISER JT TEN      2643 N GENESEE ROAD                                                                            BURTON             MI    48509
GARY MC CLELLAN                                 325 GREENBRAIR DR                                                                              CORTLAND           OH    44410‐1614
GARY MCGEE IN TRUST FOR MISS CASIE BARBARA      7162 GALLAGHER RD                     RR2                  NORTH GOWER ON    K0A 2T0 CANADA
MCGEE
GARY MCNELLEY                                   2393 VENUS DR                                                                                  LOS ANGELES        CA    90046
GARY MICHAEL ANDERSEN CUST BROCK M ANDERSON     4220 SUMMERWOOD DR                                                                             BOUNTIFUL          UT    84010‐5866
UTMA UT
GARY MICHAEL BACH                               11 IMPERIAL CT                                                                                 WESTBOROUGH        MA    01581‐3673
GARY MICHAEL LATHAM                             24010 ELIZABETH LANE                                                                           NOVI               MI    48374‐3775
GARY MICHAEL MILLER                             6921‐K 186TH LANE                     22 CROYDEN COURT                                         ALBERTSON          NY    11507‐2208
GARY MICHAEL SMITH                              214 S CHILDRENS HOME RD                                                                        TROY               OH    45373‐9650
GARY MILLER                                     11050 TURFGRASS WAY                                                                            INDIANAPOLIS       IN    46236
GARY MILLER BLUM                                PO BOX 1689                                                                                    KEY WEST           FL    33041‐1689
GARY MINTZ CUST RUSSELL PHILLIP MINTZ UGMA CA   10650 HOLMAN AVE 110                                                                           LA                 CA    90024‐5947

GARY MITCHELL CHASE                             67 FOX HILL DRIVE                                                                              HOLDEN             MA    01520‐1132
GARY MIXSON & MRS LILLIAN M CHASE JT TEN        4771 E MONROE AVE                                                                              LAS VEGAS          NV    89110‐1509
GARY MOGIL                                      11018 AQUA VISTA STREET               APT 15                                                   NORTH              CA    91602‐3137
                                                                                                                                               HOLLYWOOD
GARY MONGER                                     4707 GROVELAND AVE                                                                             ROYAL OAK          MI    48073‐1554
GARY MONTEMAGNI & GLORIA MONTEMAGNI JT TEN      29806 RD 52                                                                                    VISALIA            CA    93291‐9594

GARY MONTY MCGRATH                              7332 HOLLOWAY DR OAK BROOK                                                                     DAVISON            MI    48423‐9315
GARY MORGAN                                     PO BOX 187                                                                                     BEAVER ISLAND      MI    49782‐0187
GARY MOY CUST KRYSTA M MOY UTMA WI              1220 GARFIELD AVE                                                                              WAUKESHA           WI    53186
GARY MUCHOW                                     5272 CRITTENDEN RD                                                                             AKRON              NY    14001‐9506
GARY MURPHY                                     1136 OAK GROVE                                                                                 LEAF RIVER         IL    61047‐9430
GARY N ANDERSON                                 3551 CHAPEL DR                                                                                 STERLING HTS       MI    48310‐4318
GARY N ANDERSON & MARIE ANDERSON JT TEN         3551 CHAPEL DRIVE                                                                              STERLING HTS       MI    48310‐4318
GARY N BASS                                     1265 SIMMS HEIGHTS RD                                                                          KINGSTON SPGS      TN    37082‐8109
GARY N BELL                                     174 CHURCH AVE                                                                                 BRISTOL            CT    06010‐6752
GARY N BRADLEY                                  2749 PASO PASS RD                                                                              MARIPOSA           CA    95338‐9382
GARY N CLARK                                    1317 ASH OVER DRIVE                                                                            BLOOMFIELD HILLS   MI    48304‐1214

GARY N DICKY                                    636 FAIRMONT AVE                                                                               N TONAWANDA        NY    14120‐2939
GARY N GARNETT                                  5168 E COURT ST S                                                                              BURTON             MI    48509‐1946
GARY N GREEN & JYMMIE J GREEN JT TEN            5370 N GLEN OAK                                                                                SAGINAW            MI    48603‐1728
GARY N HUFFMAN                                  1168 PEBBLE BROOK DR                                                                           NOBLESVILLE        IN    46060‐8443
GARY N HUGHES                                   PO BOX 203                                                                                     SWARTZ             LA    71281‐0203
GARY N JACOBS                                   722 N CRESCENT DR                                                                              BEVERLY HILLS      CA    90210‐3332
GARY N JAMES                                    PO BOX 1133                                                                                    HARTSELLE          AL    35640‐1133
GARY N LEHR                                     11331 CAVELL ST                                                                                LIVONIA            MI    48150
GARY N MOORE                                    1064 MYRTLE DR                                                                                 WATERFORD          MI    48328
GARY N PHELEY                                   3662 HONORS WAY                                                                                HOWELL             MI    48843‐7498
GARY N QUEEN CUST EMILY N QUEEN UGMA MI         5186 BLOSS DR                                                                                  SWARTZ CREEK       MI    48473‐8875
GARY N QUEEN CUST EMILY N QUEEN UTMA MI         5186 BLOSS DR                                                                                  SWARTZ CREEK       MI    48473‐8875
GARY N SHAW                                     3300 BOOKER FARM RD                                                                            MOUNT PLEASANT     TN    38474‐3018

GARY N STARK                                    181 GEORGETOWN PLACE                                                                           YOUNGSTOWN         OH    44515‐2220
GARY N STRANGE                                  2331 SHOWALTER CT                                                                              DAYTON             OH    45459‐1150
GARY N SWANSON                                  3899 ASH DR                                                                                    ALLISON PARK       PA    15101‐3102
GARY N TIEDEMAN                                 8695 HARRISON AVE                                                                              FARWELL            MI    48622‐9409
GARY N WELLS                                    3230 PEPPERKORN DR                                                                             GRAND LEDGE        MI    48837‐9452
GARY N WESTFALL                                 3056 DURST CLAGG RD                                                                            WARREN             OH    44481‐9358
GARY N WHITE                                    2749 SPRINGWELLS                                                                               DETROIT            MI    48209‐1123
GARY N WILEY                                    PO BOX 12604                                                                                   TALLAHASSEE        FL    32317‐2604
GARY NELSON                                     39336 LADRONE AVE                                                                              STERLING HEIGHTS   MI    48313‐5598

GARY O BRIEN                                    911 HERITAGE HLS                      #A                                                       SOMERS             NY    10589‐3121
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GARY O GRANT                                   R#16 BOX 246                                                                                   BEDFORD          IN   47421‐9320
GARY O LAMBERTON                               PO BOX 26                                                                                      NORTH CHILI      NY   14514‐0026
GARY O PRYOR                                   48771 S INTERSTATE 94 SERVICE DR      APT 211                                                  BELLEVILLE       MI   48111‐1805
GARY O RICHARDSON                              4522 SYDENHAM RD                                                                               ENGLEWOOD        OH   45322‐3750
GARY O SEAY                                    3536 SUMPTER STREET                                                                            LANSING          MI   48911‐2619
GARY OBERDORF                                  2423 W DEWISE                                                                                  BAY CITY         MI   48708‐9125
GARY OPALK                                     695 BURWELL RD                                                                                 LEAVITTSBURG     OH   44430‐9651
GARY P BARANEK                                 1000 N CHILSON                                                                                 BAY CITY         MI   48706‐3588
GARY P BOSZAK & SHERYL A BOSZAK JT TEN         3796 VICEROY DR                                                                                OKEMOS           MI   48864‐3843
GARY P BRAINARD                                5199 NASHUA DR                                                                                 YOUNGSTOWN       OH   44515‐5165
GARY P CAMP                                    1770 BELLVIEW RD                                                                               ROCKMART         GA   30153‐3451
GARY P COWAN                                   710 EAST PARK                                                                                  COLUMBIANCE      OH   44408‐1448
GARY P DIAZ                                    28313 MAXINE LN                                                                                SAUGUS           CA   91350‐3920
GARY P ERNEY                                   1114 BUCKINGHAM STREET                                                                         SANDUSKY         OH   44870‐4014
GARY P FORD                                    7571 GLENHURST DRIVE                                                                           DAYTON           OH   45414‐2225
GARY P FRASER                                  20503 CALIFORNIA                                                                               ST CLAIR SHS     MI   48080‐1720
GARY P GARRAMONE                               1120 OAK CREEK LANE                                                                            NOLENSVILLE      TN   37135‐9784
GARY P GERGEL                                  16709 S 93RD AVE                                                                               TINLEY PARK      IL   60487
GARY P GILLER                                  BOX 283                                                                                        BROOKFIELD       MA   01506‐0283
GARY P GLACKIN                                 617 N CURTIS AVE                                                                               ALHAMBRA         CA   91801
GARY P HEARN                                   1210 E GREENVILLE ST                                                                           ANDERSON         SC   29621‐3934
GARY P JASKOWIAK                               225 PARTRIDGE LANE                                                                             VARNVILLE        SC   29944
GARY P JOHNSON                                 111 SEA ISLAND BLVD                                                                            FORT MILL        SC   29708‐8385
GARY P KELLY                                   38497 HIDDEN LN                                                                                CLINTON TOWNSHIP MI   48036‐1828

GARY P KISER                                   6840 STONEHURST DR                                                                             HUBER HEIGHTS   OH    45424‐2260
GARY P KUNZE                                   PO BOX 2336                                                                                    VISTA           CA    92085‐2336
GARY P LAYNE                                   5430 GERALD DR                                                                                 OWENSBORO       KY    42301
GARY P MANDAK                                  7678 MARTIN RD                                                                                 LIMA            NY    14485‐9620
GARY P MAYER                                   PO BOX 259                                                                                     REMUS           MI    49340‐0259
GARY P MELE                                    207 LAKE DOCKERY DR                                                                            JACKSON         MS    39272‐9792
GARY P PAINE                                   7134 SHERWOOD LANE                                                                             DAVISON         MI    48423‐2370
GARY P PARLIER                                 2619 TRANSIT RD                                                                                NEWFANE         NY    14108‐9502
GARY P PREHAUSER                               PO BOX 64                                                                                      DEFIANCE        OH    43512‐0064
GARY P PUROL                                   2525 PEARSON                                                                                   MILFORD         MI    48380‐4325
GARY P QUIRION                                 45 DEERFIELD RD                                                                                BRISTOL         CT    06010‐3236
GARY P SPALL                                   2903 PATRICIA LANE                                                                             MARION          IN    46952‐1041
GARY P THOMAS                                  107 VILLA CIR                         APT 2                                                    DICKSON         TN    37055‐7405
GARY P TRAIL                                   23 CHARLES ST                                                                                  BRISTOL         CT    06010‐5549
GARY P WILLIAMS                                3805 BUCKINGHAM DR                                                                             JANESVILLE      WI    53546‐8852
GARY P ZELLER TR ZELLER REVOCABLE TRUST UA     2676 WOODLAWN DR                                                                               ANDERSON        IN    46013‐9628
11/17/00
GARY PARAGONE                                  92 RIDGECREST RD                                                                               GLASTONBURY     CT    06033‐1666
GARY PARKER                                    2128 SPRING HILL CIR                                                                           SPRING HILL     TN    37174‐9272
GARY PATES                                     114 29TH ST W                                                                                  BILLINGS        MT    59102‐6628
GARY PATTERSON                                 65 CARDINAL LN                                                                                 WINCHENDON      MA    01475‐1886
GARY PEDERSON                                  897 ASHLAND AVE                                                                                SAINT PAUL      MN    55104‐7012
GARY PHILLIPS                                  1740 FOREST DR                                                                                 MEDINA          OH    44256‐8644
GARY PIERCE                                    7251 S LOWELL PARK RD                                                                          DIXON           IL    61021‐9462
GARY PODOLSKY                                  33961 TREELINE CT                                                                              GRAYSLAKE       IL    60030‐2870
GARY POLLACK & BARBARA F POLLACK JT TEN        3211 WINCHESTER                                                                                W BLOOMFIELD    MI    48322
GARY PRITCHARD                                 5600 YERKES RD                                                                                 CANANDAIGUA     NY    14424‐7979
GARY PRUEHS & MATTHEW PRUEHS JT TEN            17165 27 MILE                                                                                  RAY             MI    48096‐3543
GARY PUMMILL                                   4759 GOODISON PLACE DR                                                                         OAKLAND         MI    48306‐1673
                                                                                                                                              TOWNSHIP
GARY PURVIS                                    1651 CUNNINGHAM RD                                                                             SPEEDWAY        IN    46224‐5334
GARY Q DE YOUNG                                2200 DELANGE S E                                                                               GRAND RAPIDS    MI    49506‐5305
GARY Q WILSON                                  PO BOX 243                                                                                     PEDRICKTOWN     NJ    08067‐0243
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GARY R ALDRIDGE & MARGARET L ALDRIDGE JT TEN     7112 SOUTH 45                                                                                  LINCOLN           NE    68516‐3016

GARY R ARMSTRONG                                 1753 BAKER RD                                                                                  HOME             PA     15747‐6800
GARY R BAN                                       18436 WOODBINE                                                                                 FRASER           MI     48026‐2183
GARY R BASKINS                                   RR 1                                                                                           WATHENA          KS     66090‐9801
GARY R BEACHY                                    2220 SALT SPRING RD                                                                            WARREN           OH     44481‐9766
GARY R BICKEL                                    428 CHAMPION ST E                                                                              WARREN           OH     44483‐1505
GARY R BLAIR                                     37374 CASA BELLA CT                                                                            CLINTON TOWNSHIP MI     48036‐3655

GARY R BLAIR                                     37374 CASA BELLA                                                                               CLINTON TWP       MI    48036‐3655
GARY R BLOCKINGER                                130 EDGEWATER DR                                                                               YOUNGSTOWN        OH    44515‐2166
GARY R BOUGHNER                                  1172 MILLER ROAD                                                                               LAKE ORION        MI    48362‐1942
GARY R BOYCE                                     2020 VICTOR AVE                                                                                LANSING           MI    48910‐8744
GARY R BRYAN                                     6511 NORTHVIEW                                                                                 CLARKSTON         MI    48346‐1529
GARY R BUCKHOUT                                  4919 N 5TH ST EXT                                                                              LEWISTON          NY    14092‐1373
GARY R BUECHLER                                  1740 W RIVER RD ROUTE #4                                                                       MIDLAND           MI    48642‐9266
GARY R BURLINGAME                                8194 KENSINGTON BLVD                  APT 734                                                  DAVISON           MI    48423‐3158
GARY R CARPENTER                                 8320 SPANISH MEADOWS AVE                                                                       LAS VEGAS         NV    89131‐1448
GARY R CHAIN                                     538 HICKORY HOLLOW ROAD                                                                        TULLAHOMA         TN    37388‐6148
GARY R CLARK                                     568 ORCHARD STREET                                                                             RAHWAY            NJ    07065‐2242
GARY R CLELAND                                   17605 SE 14TH ST                                                                               SILVER SPRING     FL    34488‐5619
GARY R CLEMONS                                   25450 E 2150TH RD                                                                              FAIR PLAY         MO    65649‐7288
GARY R CLOUD                                     BLD 8 #134                            110 CAMBRIDGE DRIVE                                      DAVISON           MI    48423‐1787
GARY R COFFEE                                    5798 LOUISE AVE                                                                                WARREN            OH    44483‐1126
GARY R COLEMAN                                   3848 CASTLE RD                                                                                 FOSTORIA          MI    48435‐9739
GARY R COLL & MRS ELAINE M COLL JT TEN           2725 ELO RD                                                                                    OSHKOSH           WI    54904‐9239
GARY R COOPER                                    4922 GEORGE AVE                                                                                KANSAS CITY       MO    64133‐2646
GARY R CRUCE                                     3544 LIPPINCOTT RD                                                                             LAPEER            MI    48446‐9638
GARY R CULLENEN                                  449 COUNTRY MEADOWS DR                                                                         OAKS HARBOR       OH    43449‐1550
GARY R DAVENPORT                                 480 VAN DYKE RD                                                                                PARIS             TN    38242‐6147
GARY R DEMAYO                                    46 MILLER RD                                                                                   NORTH WINDHAM     CT    06256‐2732

GARY R DEW                                       2467 HENN HYDE RD                                                                              WARREN            OH    44484‐1247
GARY R DEZUR                                     4396 MULBERRY LN                                                                               GAYLORD           MI    49735‐8965
GARY R DZIEDZIC                                  5922 JUNIPER AA LN                                                                             RAPID RIVER       MI    49878‐9267
GARY R ELWELL                                    4353 W CO RD 1275N                                                                             BRAZIL            IN    47834‐6888
GARY R ENGEN CUST DAVIN H ENGEN UTMA MN          9930 GARRISON WAY                                                                              EDEN PRAIRIE      MN    55347‐3043
GARY R ERDMAN                                    707 N MEYERS RD                                                                                LUDINGTON         MI    49431‐9613
GARY R EVERHART                                  4453 US ROUTE 42 E                                                                             CEDARVILLE        OH    45314‐9707
GARY R FARMER                                    #18650 GARFIELD                                                                                REDFORD           MI    48240‐1718
GARY R FERRIES                                   1899 ALLENWAY COURT                                                                            ROCHESTER HILLS   MI    48309‐3315
GARY R FISCHER                                   29241 MEADOWLARK                                                                               LIVONIA           MI    48154‐4529
GARY R FRENCH                                    3554 ATKINSON CIR                                                                              NORTH VERNON      IN    47265‐8703
GARY R GALOVICS                                  1605 S SHERMAN ST                                                                              BAY CITY          MI    48708‐8131
GARY R GERRISH & JUDITH E GERRISH JT TEN         4282 LYNNDALE                                                                                  SAGINAW           MI    48603
GARY R GOCHENOUR                                 7723 BACK RD                                                                                   MAURERTOWN        VA    22644
GARY R GOEBEL                                    318 MONTGOMERY CT                                                                              MOUND CITY        KS    66056‐5231
GARY R GOFORTH                                   5761 NASHVILLE HWY                                                                             CHAPEL HILL       TN    37034‐2521
GARY R GRANCHELLI                                PO BOX 15774                                                                                   SURFSIDE BEACH    SC    29587‐5774
GARY R GREENLEE                                  7250 ARGYLE RD                                                                                 CALEDONIA         IL    61011‐9608
GARY R HALL                                      115 JEAN ST SW                                                                                 GRAND RAPIDS      MI    49548‐4250
GARY R HALL                                      381 WITT RD                                                                                    BOWLING GREEN     KY    42101‐9636
GARY R HANGER                                    9301 CEDAR ISLAND RD                                                                           WHITE LAKE        MI    48386‐3211
GARY R HANNA & NANCY W HANNA JT TEN              5329 GREENVIEW DR                                                                              CLARKSTON         MI    48348‐3718
GARY R HANSON                                    9474 CRESTFIELD DR                                                                             WEST CHESTER      OH    45069‐4245
GARY R HARDER                                    PO BOX 424                                                                                     CORDOVA           TN    38088‐0424
GARY R HATHAWAY & SONJA J HATHAWAY JT TEN        BOX 27                                                                                         ULYSSES           KS    67880‐0027
GARY R HAYTON                                    2606 MUIRFIELD DR                                                                              WESTLAND          MI    48186‐5491
GARY R HOLZ                                      82 FOREST PL                                                                                   ROCHELLE PARK     NJ    07662‐3720
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GARY R HOWARD                                    PO BOX 513                                                                                   KINGMAN          IN    47952‐0513
GARY R JAMES                                     5005 LOSEE RD                       APT 1010                                                 N LAS VEGAS      NV    89081‐2480
GARY R JOHNSON                                   323 RIVER DRIVE                                                                              BAY CITY         MI    48706‐1447
GARY R KACKLEY                                   3422 DEIR AVE NE                                                                             FORT PAYNE       AL    35967‐7369
GARY R KALWAYTIS                                 9319 ZINCOE LN                                                                               LAND O LAKES     FL    34638‐2549
GARY R KEITHLEY                                  3406 GARIANNE DRIVE                                                                          DAYTON           OH    45414‐2222
GARY R KOKE                                      5412 CYPRESS CT                                                                              LAS CRUCES       NM    88012‐7033
GARY R KOPASZ                                    7166 MENTOR AVE                     TRLR 79                                                  WILLOUGHBY       OH    44094‐7977
GARY R KOSIBA                                    6093 SNOW APPLE DRIVE                                                                        CLARKSTOWN       MI    48346‐2447
GARY R KRAUSE                                    N28 W29803 SHOREWOOD RD                                                                      PEWAUKEE         WI    53072‐4214
GARY R KRUPP & ELAINE R KRUPP JT TEN             19308 LINCOLN RD                                                                             NEW LOTHROP      MI    48460‐9623
GARY R KUHFAL                                    10561 BIRCH ST                                                                               TAYLOR           MI    48180‐7315
GARY R LANDON                                    2406 EAGLE VIEW DR                                                                           BEL AIR          MD    21015‐1225
GARY R LANGER                                    8 LITTLE PLAINS COURT                                                                        HUNTINGTON       NY    11743‐4861
GARY R LARSON                                    1713 EUCLID AVE                                                                              BOWLING GREEN    KY    42103‐2469
GARY R LAUSE                                     26640 SIMONE ST                                                                              DEARBORN HTS     MI    48127‐3338
GARY R LAXTON & MARIE F LAXTON JT TEN            410 W MAPLE ST                                                                               MASON            MI    48854‐1520
GARY R LAY                                       4243 SUGARCREEK DR                                                                           BELLBROOK        OH    45305‐1330
GARY R LIPPERT                                   2866 GARDEN STREET                                                                           AVON             NY    14414‐9615
GARY R LOCKER                                    1132 GLENAPPLE ST                                                                            VANDALIA         OH    45377‐2721
GARY R LODER                                     1434 S VAN VLEET                                                                             SWARTZ CREEK     MI    48473‐9708
GARY R MACKRIS                                   18881 COMMON ROAD                                                                            ROSEVILLE        MI    48066‐2159
GARY R MASON                                     4478 SOUTH GRIFFIN AVE                                                                       MILWAUKEE        WI    53207‐5028
GARY R MAVAR                                     2237 EAST 32 ST                                                                              LORAIN           OH    44055‐2017
GARY R MCCONLOGUE                                19 STANDIFORD CT                                                                             WILMINGTON       DE    19804‐2933
GARY R METEER                                    4373 BENDER CT                                                                               TROY             MI    48098‐4475
GARY R MILLER                                    3121 FAIR                                                                                    ST LOUIS         MO    63115‐3200
GARY R MONTGOMERY                                105 NORFOLK                                                                                  ALEXANDRIA       IN    46001‐1225
GARY R MOORE                                     10122 LORAIN AVE                    APT 1                                                    CLEVELAND        OH    44111‐5449
GARY R MORGANS                                   809 TEPEE DR                                                                                 INDEPENDENCE     MO    64056‐2146
GARY R MUSTONEN                                  2080 EUNA                                                                                    WIXOM            MI    48393‐1334
GARY R NEWHART                                   8615 EDITH ST                                                                                MARTINSVILLE     IN    46151‐7777
GARY R PARELLA                                   5369 S SARATOGA AVE                                                                          YOUNGSTOWN       OH    44515‐4073
GARY R PARSONS                                   15334 FAYETTE BLVD                                                                           BROOKPARK        OH    44142‐2803
GARY R PENTECOST                                 PO BOX 17076                                                                                 CLEARWATER       FL    33762‐0076
GARY R PIKE                                      4015 CAMBROOK LANE                                                                           WATERFORD        MI    48329‐1606
GARY R PLUSHANSKI                                10315 W PALMER AVE                  APT 113F                                                 MELROSE PARK     IL    60164‐1977
GARY R POWER                                     12469 PALMER DR                                                                              SAINT JOSEPH     MO    64505‐8563
GARY R PTASZNIK                                  1348 ELMHURST DR                                                                             HOWELL           MI    48843‐9139
GARY R RADCA                                     6001 BAUMHART RD                                                                             CORAIN           OH    44053‐2082
GARY R RADER                                     65166 CAMPGROUND                                                                             WASHINGTON       MI    48095‐1824
GARY R RAIMONDO                                  22 CORTLAND AVE                                                                              BUFFALO          NY    14223‐1931
GARY R RANAGAN                                   PO BOX 432                                                                                   MILLERSBURG      OH    44654
GARY R RAWLINGS                                  916 CHIPPEWA LN                                                                              WILMETTE         IL    60091‐1210
GARY R REISBIG & CAROLE L REISBIG JT TEN         10272 PEAKE RD                                                                               PORTLAND         MI    48875‐9434
GARY R RICHARDS                                  31251 GLADYS                                                                                 WESTLAND         MI    48185‐1631
GARY R RINEHART & MRS SHARON A RINEHART JT TEN   438 WILDWOOD AVE                                                                             PIEDMONT         CA    94611‐3820

GARY R ROACH                                     501 W MAIN ST                                                                                WESTPHALIA        MI   48894
GARY R ROBERSON                                  2839 PORTER SW                                                                               GRANDVILLE        MI   49418‐1144
GARY R ROBINSON                                  822 STATE ROUTE 503 NORTH                                                                    W ALEXANDRIA      OH   45381‐9729
GARY R ROSS                                      269 SEIG HILL RD                                                                             W MIDDLESEX       PA   16159‐2115
GARY R ROTH                                      412 68 AVE DR W                                                                              BRADENTON         FL   34207‐6062
GARY R RUTLEDGE                                  38 MATHEW SCHOOL RD                                                                          WINDER            GA   30680‐3941
GARY R SABO                                      28 RAMROCK LN                                                                                PALM COAST        FL   32164‐6827
GARY R SAGEAR                                    908 ROBERT ST                                                                                EDGERTON          WI   53534‐1330
GARY R SCHIMMEL & MARGO C SCHIMMEL JT TEN        4630 FLOSSMOOR RD                                                                            COUNTRY CLUB HILL IL   60478‐5435

GARY R SCHNELL                                   16540 WHITEHEAD RD                                                                           LAGRANGE         OH    44050‐9583
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GARY R SCHOPFER                                  7552 MOCCASIN PATH                                                                              LIVERPOOL          NY    13090‐2832
GARY R SELDEN                                    482 RIVERSIDE DR                                                                                INDEPENDENCE       VA    24348‐3750
GARY R SIMON                                     6530 PAUL REVERE LANE                                                                           CANTON             MI    48187‐3054
GARY R SMITH                                     5014 KELLY RD                                                                                   FLINT              MI    48504‐1012
GARY R STARK                                     546 BLAIRMOOR COURT                                                                             GROSSEPOINTE       MI    48236‐1241
                                                                                                                                                 WODDS
GARY R STORINGE                                  3275 ROGERS ROAD                                                                                CANASTOTA          NY    13032
GARY R STURTZ                                    1707 OVERHILL                                                                                   FLINT              MI    48503‐4654
GARY R SWANSON                                   PO BOX 2702                                                                                     SPOKANE            WA    99220‐2702
GARY R SWEENEY                                   630 DRAKE RD                                                                                    HAMLIN             NY    14464‐9524
GARY R VINCELLI                                  2100 IROQUOIS CT                                                                                THOMPSON           TN    37179‐5025
                                                                                                                                                 STATION
GARY R VIRANT                                    136 BRANDY DR                                                                                   MARIETTA           OH    45750
GARY R WATERS                                    1873 RESOR RD                                                                                   FAIRFIELD          OH    45014‐3771
GARY R WATSON                                    7022 QUARTERHORSE DR                                                                            SPRINGBORO         OH    45066‐7783
GARY R WILSON                                    2139 ST RT 534                                                                                  SOUTHINGTON        OH    44470‐9513
GARY R WOODS                                     3177 MORGAN COUNTY HWY                                                                          WARTBURG           TN    37887‐3818
GARY R WRIGHT                                    562 LEWISVILLE ROAD                                                                             ELKTON             MD    21921‐1945
GARY RANDOLPH KNIGHT                             5525 E NITHSDALE DR                                                                             SALISBURY          MD    21801‐2464
GARY RASK CUST GREGORY BROOKS UTMA CA            1505 HELENA LN                                                                                  REDLANDS           CA    92373‐7132
GARY RECH                                        1399 MONROE AVE                                                                                 ROCHESTER          NY    14618‐1005
GARY RECH & JACQUELINE B RECH JT TEN             1399 MONROE AVE                                                                                 ROCHESTER          NY    14618‐1005
GARY REITZAS CUST DANIEL GARY REITZAS UGMA MA    200 HIGHCREST RD                                                                                FALL RIVER         MA    02720‐6625

GARY REITZAS CUST LISA REITZAS UGMA MA           200 HIGHCREST RD                                                                                FALL RIVER         MA    02720‐6625
GARY REITZAS CUST LORI ELLEN REITZAS UGMA MA     ATTN ELIAS                             50 BOW ST                                                EAST GREENWICH     RI    02818‐2219

GARY REYNOLDS                                    39 CHURCH AVE                                                                                   BALLSTON SPA       NY    12020
GARY RICH                                        3902 MANN HALL AVE                                                                              FLINT              MI    48532‐5040
GARY RICHARD                                     64 GARNER LN                                                                                    BAY SHORE          NY    11706‐8620
GARY RICHARD BEEBE                               1179 DOEBLEN DR                                                                                 NORTH              NY    14120‐2838
                                                                                                                                                 TONAWANDA
GARY RICHARD HERTERT MCCOLLOUGH                  2198 CALABAZAS BLVD                                                                             SANTA CLARA        CA    95051‐1652
GARY RICLEY & KAREN RICLEY JT TEN                242 E HAVELY RD                                                                                 WHEATLAND          WY    82201‐8337
GARY RISBRIDGER                                  8439 SANDBAR                                                                                    CEDAR              MI    49621‐9549
GARY ROBERT GOSSETT                              8741 ADAMS                                                                                      HUNTINGTON         CA    92646‐3901
                                                                                                                                                 BEACH
GARY ROBERT GUNN CUST CORY ROBERT GUNN UGMA      4 WAVERLY CT                                                                                    MENLO PARK         CA    94025‐3548
CA
GARY ROBERT GUTH                                 857 WOODBINE                                                                                    HIGHLAND PARK      IL    60035‐3733
GARY ROBERT MURPHY                               PO BOX 460                                                                                      DAWSON             TX    76639‐0460
GARY RUSS                                        9 TAYLOR TRAIL                                                                                  CARRIERE           MS    39426‐3511
GARY RUSSELL WALTER                              325 PETERS RUN RD                                                                               WHEELING           WV    26003‐7828
GARY S BALDYGA                                   43061 AVON CT                                                                                   STERLING HEIGHTS   MI    48313‐1901

GARY S BONKOWSKI                                 35978 LYNDON ST                                                                                 LIVONIA            MI    48154‐5125
GARY S CARTER                                    801 CATRINA LN                                                                                  CHESAPEAKE         VA    23322‐6859
GARY S COOPER                                    719 SMITHERMAN RD                                                                               WASHINGTON         WV    26181
GARY S CROSBY                                    10321 KREPPS RD                                                                                 DEWITT             MI    48820‐8447
GARY S DAVIS                                     308 BURNS ST                                                                                    FOREST HILLS       NY    11375
GARY S DOTTERER                                  21185 MANCHESTER                                                                                HARPER WOODS       MI    48225‐1809
GARY S EDINGER CUST JOSHUA M EDINGER UTMA FL     2300 NW 29TH ST                                                                                 GAINESVILLE        FL    32605‐2723

GARY S EDINGER CUST MARIE R EDINGER UTMA FL      2300 NW 29TH ST                                                                                 GAINESVILLE        FL    32605‐2723
GARY S ELLENSON                                  29390 STELLAMAR                                                                                 SOUTHFIELD         MI    48076‐1633
GARY S GOLDMAN CUST DANIEL BENJAMIN GOLDMAN      1802 ELMWOOD DRIVE                                                                              HIGHLAND PARK      IL    60035‐2303
UGMA IL
GARY S HAMILTON                                  6671 HIPP                                                                                       TAYLOR             MI    48180‐1911
GARY S HEFNER                                    3634 RADNOR AVE                                                                                 LONG BEACH         CA    90808‐2757
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GARY S HICKS                                   308 STONER ROAD                                                                                 LANSING           MI    48917‐3782
GARY S JENNINGS & MARTHA L JENNINGS JT TEN     135 LAUREN DRIVE                                                                                SEEKONK           MA    02771‐5037
GARY S KENNEDY                                 500 BUXTON ROAD                                                                                 TOMS RIVER        NJ    08755‐3268
GARY S KEYES                                   2758 TIMBER LANE DR                                                                             FLUSHING          MI    48433‐3509
GARY S KREISSMAN                               200 EAST 66TH STREET                   C1904                                                    NEW YORK          NY    10021‐6728
GARY S KUEBLER CUST DILLON H KUEBLER UTMA VA   2984 BRUCE STATION RD                                                                           CHESAPEAKE        VA    23321‐4256

GARY S LEWANDOWSKI                            501 PLEASANT VIEW DR                                                                             LANCASTER         NY    14086
GARY S LOOMIS                                 824 SW NAUTICA CT                                                                                LEES SUMMIT       MO    64082‐2329
GARY S LOUDERBACK                             3710 E 400 S                                                                                     ANDERSON          IN    46017‐9708
GARY S LUSTIG                                 35026 RED PINE DR                                                                                FARMINGTON        MI    48335‐4687
GARY S MC CULLOUGH                            857 SUNDANCE CIR                        OSHAWA ON                              L1J 8B5 CANADA
GARY S MC CULLOUGH                            857 SUNDANCE CIRCLE                     OSHAWA ON                              L1J 8B5 CANADA
GARY S MC CULLOUGH                            857 SUNDANCE CIRCLE                     OSHAWA ON                              L1J 8B5 CANADA
GARY S MCCULLOUGH                             857 SUNDANCE CIRCLE                     OSHAWA ON                              L1J 8B5 CANADA
GARY S MCCULLOUGH                             857 SUNDANCE CIRCLE                     OSHAWA ON                              L1J 8B5 CANADA
GARY S MCCULLOUGH                             857 SUNDANCE CIR                        OSHAWA ON                              L1J 8B5 CANADA
GARY S MCLAUGHLIN                             3627 MADISON                                                                                     DEARBORN          MI    48124‐3388
GARY S MILLER                                 6150 BAY CT                                                                                      WATERFORD         MI    48327‐2900
GARY S MULLIN                                 6850 SLAYTON SETTLEMENT RD                                                                       LOCKPORT          NY    14094‐9414
GARY S PETTIT                                 102 CASEWOOD DR                                                                                  WILSON            NY    14172‐9770
GARY S PIGGOTT                                20 BETTS ROAD                                                                                    STAFFORD          VA    22554‐5815
GARY S PLATT                                  120 E 34TH ST                                                                                    NEW YORK          NY    10016‐4609
GARY S PROCK                                  162 WINDSOR CIR                                                                                  OCEAN ISLE        NC    28469‐5562
GARY S PROFFITT                               5325 CHICORY CIR                                                                                 MIDDLEBURG        FL    32068‐6214
GARY S RORRER                                 4821 WESTCHESTER DR APT 316                                                                      AUSTINTOWN        OH    44515
GARY S SINICK                                 1218 MILLER AVE                         STE 106                                                  OAKLAND           CA    94601‐1057
GARY S SMOCK                                  5853 QUEEN STREET                                                                                ARVADA            CO    80004‐4264
GARY S SNOW                                   8227 DALE                                                                                        DEARBORN HTS      MI    48127‐1423
GARY S SOMERFIELD                             4622 WILLIAMSPORT RD                                                                             MONONGAHELA       PA    15063‐4613
GARY S STREEPY                                336 NORTH OLD MANOR                                                                              WICHITA           KS    67208‐4139
GARY S THOMPSON CUST MATTHEW ALLEN THOMPSON 2020 BRENTWOOD DR                                                                                  MIDLAND           TX    79707
UGMA TX
GARY S TIMKO                                  2423 WESTWOOD DRIVE                                                                              ROCHESTER HILLS   MI    48306‐3173
GARY S TOSADORI                               10604 OAK TREE CIR                                                                               WILLIAMSPORT      MD    21795‐1128
GARY S TRENT                                  8801 E 700 S                                                                                     LADOGA            IN    47954‐8111
GARY S WARDOSKY                               10075 W COLDWATER RD                                                                             FLUSHING          MI    48433‐9701
GARY S WARDOSKY & KATHERINE F WARDOSKY JT TEN 10075 W COLDWATER RD                                                                             FLUSHING          MI    48433‐9701

GARY S WARINNER                                3360 MISSION BLVD                                                                               SAN DIEGO         CA    92109‐7649
GARY S WASSERMAN                               21 CELESTE CT                                                                                   BROOKLYN          NY    11229‐5937
GARY S WEBER                                   227 RIDGE CREEK DR                                                                              JANESVILLE        WI    53548‐5825
GARY S WRONKER                                 28 MAPLEWOOD DR                                                                                 NEW MILFORD       CT    06776‐3827
GARY S YUHASZ                                  33004 PEBBLEBROOK DR                                                                            N RIDGEVILLE      OH    44039‐6343
GARY S ZUK                                     36483 ALMONT CT                                                                                 STERLING HTS      MI    48310‐4612
GARY SAMUEL POTTS                              17 S ADELAIDE AVE                                                                               HIGHLAND PK       NJ    08904‐1601
GARY SCLAR                                     9801 67TH AVE                          APT 6C                                                   REGO PARK         NY    11374‐4903
GARY SCOTT                                     729 S PLATE ST                                                                                  KOKOMO            IN    46901‐5638
GARY SCOTT CAMPBELL                            160 DARLING DR                                                                                  LAKE ORION        MI    48362‐3028
GARY SCOTT LITTLEFIELD                         1165 MELANIE STREET                                                                             BATON ROUGE       LA    70815‐4743
GARY SHAKER                                    11150 RIDGE VIEW TRAIL                                                                          FENTON            MI    48430‐4001
GARY SHEFFER                                   10 MAYFLOWER LN                                                                                 SHELTON           CT    06484
GARY SIEBERT                                   1116 CARPENTER'S TRACE                                                                          VILLA HILLS       KY    41017
GARY SKINNER & COLLEEN SKINNER JT TEN          26874 GREENLEAF CT                                                                              VALENCIA          CA    91381‐0608
GARY SLOTKIN                                   5 BRENTWOOD DR                                                                                  MANALAPAN         NJ    07726‐4326
GARY SPRING                                    823 N BRODIE ST                        THUNDER BAY ON                         P7C 3V1 CANADA
GARY STANLEY                                   99 NORTH ST                                                                                     MIDDLEBORO        MA    02346‐1631
GARY STANLEY WORTH                             2493 SUMMERLAND DR                                                                              JOHNS ISLAND      SC    29455‐4607
GARY STARK                                     64 PROSPECT AVE                                                                                 ARDSLEM           NY    10502‐2318
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GARY STEMPIN                                    BOX 325                                                                                       COLUMBIA FALLS   MT    59912
GARY STEPHEN LEWIS                              5787 TUXEDO TER                                                                               LOS ANGELES      CA    90068‐2457
GARY STEPHEN PERAKOVIC                          3413 BRENTHILL DRIVE                                                                          GRAND BLANC      MI    48439‐7995
GARY STERMAN                                    100 ROBIE ST                         #3                                                       BUFFALO          NY    14214‐2622
GARY STEVEN FOODIM                              774 BARDINI DR                                                                                MELVILLE         NY    11747
GARY STEVEN PATRIK                              APT 12‐H                             141 E 3RD ST                                             NY               NY    10009‐7309
GARY STEVEN PATTEE                              5110 E LITTLE TURTLE TRL                                                                      COLUMBIA CITY    IN    46725‐8831
GARY STEVEN PRATER                              6609 W JACKSON ST                                                                             MUNCIE           IN    47304‐9679
GARY STIVER                                     35 ROOSEVELT DR                                                                               HUBBARD          OH    44425‐2666
GARY STONE CUST ANDREW STONE UTMA CA            61 BARNES RD                                                                                  STAMFORD         CT    06902‐1201
GARY SWANEY                                     2716 RAMBLING RD                                                                              MARYVILLE        TN    37801
GARY T AINSWORTH                                101 DOGWOOD DR S                                                                              FLORENCE         MS    39073‐8115
GARY T ANDREWS                                  3287 HUNT ROAD                                                                                ADRIAN           MI    49221‐9233
GARY T ASKREN                                   7170 KIRKCALDY                                                                                WEST CHESTER     OH    45069‐4002
GARY T BARMAN                                   12 CHRISTIE AVENUE                                                                            NORWALK          OH    44857‐2304
GARY T BERKOMPAS                                3844 DEIBEL DR                                                                                SAGINAW          MI    48603‐7229
GARY T BRANDOW                                  457 CLAYBURN                                                                                  WATERFORD        MI    48327‐2619
GARY T BRESCILLI                                22535 BROOK PARK RD                                                                           FAIRVIEW PARK    OH    44126‐3129
GARY T GARDNER                                  4199 HARTLAND RD                                                                              GASPORT          NY    14067‐9301
GARY T GOEBEL                                   10047 WHIPPLE TREE LN                                                                         CLARKSTON        MI    48348‐2055
GARY T GOSS                                     PO BOX 231                                                                                    SUWANEE          GA    30024‐0231
GARY T HACK                                     1615 STANTON ST                                                                               BAY CITY         MI    48708‐8613
GARY T HARTMAN                                  PO BOX 55591                                                                                  DEL CITY         OK    73155‐0591
GARY T HENRY                                    182 HOLLAND ROAD                                                                              ORMOND BEACH     FL    32176‐3205
GARY T HULL                                     BOX 54                                                                                        REELSVILLE       IN    46171‐0054
GARY T KANE                                     7607 KITTERY LN                                                                               MENTOR           OH    44060‐5165
GARY T LA FLECHE                                19960 CARTER RD                                                                               HILLMAN          MI    49746‐8726
GARY T MCGINTY                                  124 BELL GROVE DR                                                                             COLUMBIA         TN    38401‐5286
GARY T SELLERS                                  PO BOX 21393                                                                                  DETROIT          MI    48221
GARY T SHORTER                                  2821 REVERE AVENUE                                                                            DAYTON           OH    45420‐1723
GARY T TABER                                    621 POWELL CHAPEL ROAD                                                                        PULASKI          TN    38478‐6861
GARY T WALSH                                    23 S LOCUST AVE                                                                               SALEM            NJ    08079‐9622
GARY THOMAS HERPEL & MARY LYNN HERPEL JT TEN    40479 LAIOLO ROAD                                                                             FREMONT          CA    94538

GARY THOMAS HUZZARD                             35960 LEON                                                                                    LIVONIA          MI    48150‐2551
GARY THOMAS LICO CUST GREGORY THOMAS BERGH      34 LAKE DRIVE SOUTH                                                                           RIVERSIDE        CT    06878‐2024
LICO UGMA NY
GARY THOMAS PROTO                               177 US HIGHWAY 46                    #5                                                       BUDD LAKE        NJ    07828‐2512
GARY THOMAS TUCKER                              5519 U S ROUTE 62                                                                             HILLSBORO        OH    45133‐9515
GARY TITE & FRANCES TITE JT TEN                 1353 BISCAY DR                                                                                EDWARDSVILLE     IL    62025‐5102
GARY TRIMBER                                    R D 3 102 ROBERTS DR                                                                          CORAOPOLIS       PA    15108‐9659
GARY TROTTER                                    2714 EMMET RD                                                                                 SILVER SPRING    MD    20902‐4832
GARY TRUMP                                      4949 N HIGHWAY A1A                   APT 93                                                   FORT PIERCE      FL    34949‐8234
GARY TUTTLE                                     266 WARNER RD                                                                                 MILFORD          DE    19963‐5833
GARY UNGER CUST SCOTT UNGER UTMA FL             687 NW 107TH LN                                                                               CORAL SPRINGS    FL    33071‐7942
GARY V BAYS                                     7629 PARK AVE                                                                                 ALLEN PARK       MI    48101‐1914
GARY V BEASLEY                                  13474 NO EASTSHORE DRIVE                                                                      SYRACUSE         IN    46567‐8455
GARY V BESLAER                                  756 NOLET RD                                                                                  ESSEXVILLE       MI    48732‐9787
GARY V BIRCH                                    3351 OLD BELDEN CIRCLE                                                                        BELDEN           MS    38826‐9745
GARY V BRASSEUR & ELIZABETH R BRASSEUR JT TEN   2790 DUNMORE DR                                                                               SAGINAW          MI    48603‐3211

GARY V BROWN                                    3335 ROAD 15                                                                                  CONTINENTAL      OH    45831‐9534
GARY V DUDIS                                    12060 ANDERSONVILLE RD                                                                        DAVISBURG        MI    48350‐3028
GARY V GERWOLDS                                 946 WOODLAWN DR                                                                               COLUMBIAVILLE    MI    48421‐9768
GARY V HAMMONS                                  4508 NW 44TH ST                                                                               WARR ACRES       OK    73122‐4511
GARY V LAMKIN                                   4546 HAYNES RD                                                                                STOCKBRIDGE      MI    49285‐9522
GARY V MARR                                     10200 SE 120TH ST                                                                             LEXINGTON        OK    73051‐7500
GARY V POLETTE                                  14595 ANSONBOROUGH CT                                                                         CHESTERFIELD     MO    63017‐5609
GARY V RICKER                                   45 E SHARPSTEEN ST                                                                            SEBEWAING        MI    48759‐1020
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GARY V SCOTT                                   2774 OLD THOMPSON MILL RD                                                                         BUFORD             GA    30519‐5479
GARY V STEVENSON                               276 SHADY ACRES RD                                                                                LUCAS              KY    42156‐9306
GARY V SVOMA                                   120 S 6TH ST                                                                                      CORNELL            WI    54732‐8277
GARY V WAGNER                                  4252 GARDNER ROAD                                                                                 METAMORA           MI    48455‐9782
GARY VAN GENDEREN PER REP EST EVA VAN GENDEREN 203 AMELIA                                                                                        ROYAL OAK          MI    48073

GARY VANWAGONER                                  1560 HARDING RD                                                                                 BLACKSBURG         VA    24060‐9118
GARY VETTER                                      320 LINN ST                                                                                     WESTSIDE           IA    51467‐7544
GARY VOGT                                        3 MALLARD POND CIRCLE                                                                           NEWTOWN            PA    18940‐2924
GARY W ALRED                                     15132 VINCENT DRIVE                                                                             STERLING HEIGHTS   MI    48313‐5382

GARY W ARNOLD                                    12088 WILLARD RD                                                                                MILLINGTON         MI    48746‐9106
GARY W BAILEY TR BAILEY CHILDREN'S IRREV TR UA   4531 BEKINSHIRE DR NW                                                                           COMSTOCK PARK      MI    49321
10/31/80
GARY W BAILEY TR UA F‐B‐O BAILEY CHILDREN        4531 BEKINSHIRE DR NW                                                                           COMSTOCK PARK      MI    49321
IRREVOCABLE TRUST 10/31/80
GARY W BEHM                                      15 NATHANIEL ROCHESTER HALL                                                                     ROCHESTER          NY    14623‐5699
GARY W BENNETT                                   6281 ROBERTA DR                                                                                 ENGLEWOOD          FL    34224‐7888
GARY W BIVINS                                    3399 RTE 20                                                                                     SLOANSVILLE        NY    12160
GARY W BOYCE                                     27549 GRAYS SHOP ROAD                                                                           NEWSOMS            VA    23874
GARY W BRAID                                     666 PINE TREE                                                                                   LAKE ORION         MI    48362‐2551
GARY W BRIGHT                                    15102 DENMAN RD                                                                                 WAKEMAN            OH    44889‐9038
GARY W BRIGHT                                    8520 SHERWOOD DRIVE                                                                             LIBERTY            MO    64068‐8329
GARY W BROWN                                     1572 STONE RD                                                                                   XENIA              OH    45385‐8439
GARY W BROWN & KAREN SUE BROWN JT TEN            1572 STONE ROAD                                                                                 XENIA              OH    45385‐8439
GARY W BULTEMEIER                                157 WATERSHIP DOWN LN                                                                           LAMPE              MO    65681‐8129
GARY W BURLAND                                   20295 THORNWOOD CT                                                                              SOUTHFIELD         MI    48076‐4917
GARY W CAMERON                                   1373 EAST WILSON ROAD                                                                           CLIO               MI    48420‐7940
GARY W CARMACK                                   78 N HILLCREST DR BOX 267                                                                       GERMANTOWN         OH    45327‐9365
GARY W CARYER                                    8153 HICKSVILLE EDGERTON RD                                                                     HICKSVILLE         OH    43526‐9376
GARY W CHICK                                     PO BOX 237                                                                                      HUBBARD            OH    44425‐0237
GARY W CRAWFORD                                  7563 OAKVIEW DR                                                                                 OWOSSO             MI    48867‐9298
GARY W CUNNINGHAM                                2904 MAJESTIC CIR                                                                               LANSING            MI    48912‐5050
GARY W CUNNINGHAM & DONNA J CUNNINGHAM JT        2904 MAJESTIC CIRCLE                                                                            LANSING            MI    48912‐5050
TEN
GARY W DEAN                                      19001 E 22ND TERR NORTH                                                                         INDEPENDENCE       MO    64058‐1375
GARY W DEVEREAUX                                 4800 FEHN                                                                                       HEMLOCK            MI    48626‐8602
GARY W DICUS                                     190 E BROADWAY ST                                                                               DANVILLE           IN    46122‐1804
GARY W DRAPER                                    1644 RIVERMONT HEIGHTS                                                                          MARTINSVILLE       VA    24112
GARY W ELLIOTT                                   267 VICTOR HILL RD                                                                              GREER              SC    29651‐6434
GARY W EMMICK                                    8914 E 400 S                                                                                    MARION             IN    46953‐9532
GARY W ENGLAND                                   1830 COUNTY ROAD 84                                                                             DANVILLE           AL    35619‐5036
GARY W FALL                                      PO BOX 214                                                                                      CHESANING          MI    48616‐0214
GARY W FISHBURN                                  5235 S HARDING                                                                                  INDIANAPOLIS       IN    46217‐9571
GARY W FLATT                                     2577 MCKNIGHT RD                                                                                CULLEOKA           TN    38451‐2601
GARY W FLOYD                                     121 SUNLIGHT CIRCLE                                                                             GLEN BURNIE        MD    21061‐2476
GARY W FOREMAN                                   113 CHESTNUT CROSSING DR J                                                                      NEWARK             DE    19713‐2653
GARY W GARDNER & MARICOR P GARDNER JT TEN        1409 SEDALIA CT                                                                                 FLOWER MOUND       TX    75028‐2136

GARY W GEE                                       PO BOX 567                                                                                      MOUNTAIN VIEW      WY    82939‐0567
GARY W GLEIM                                     3428 SECRET COVE PL                                                                             JACKSONVILLE       FL    32216‐6343
GARY W GOIN                                      4573 KEENELAND CT                                                                               DAYTON             OH    45424‐3776
GARY W GOOSMANN                                  1061 BUCKINGHAM ST SW                                                                           WYOMING            MI    49509‐2830
GARY W GRIEBEL                                   19 FOREST PL                                                                                    BLANCHARD          ID    83804‐9599
GARY W GRIFFITH                                  14 WOODHALL DR                                                                                  WILLOWSTREET       PA    17584‐9620
GARY W GROSS                                     3740 TYMBER RIDGE                                                                               STERLING HEIGHTS   MI    48314‐4321

GARY W GUTTRY & MERRILL D GUTTRY JT TEN          23 IRON CLAD DR                                                                                 SALEM              SC    29676‐4124
GARY W HAGENS                                    817 AMARYLLIS LN                                                                                VENICE             FL    34292‐6642
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GARY W HART                                     15 PEMBERTON PLACE                                                                            SHARPSBURG      GA    30277
GARY W HENDERSON                                16925 SE 84TH COLERAIN CIRCLE                                                                 THE VILLAGES    FL    32162‐2832
GARY W HOFFMASTER                               4498 N 100 E                                                                                  BLUFFTON        IN    46714‐9218
GARY W HOGUE                                    2458 CHARLIE MORAN HW                                                                         HORSE CAVE      KY    42749‐8078
GARY W HUTCHINSON                               1623 MUTZ DRIVE                                                                               INDIANAPOLIS    IN    46229‐2254
GARY W INDGJER SR                               1908 RANDOLPH RD                                                                              JANESVILLE      WI    53545‐0928
GARY W IRELAND                                  41 MAPLE AVE                                                                                  PLYMOUTH        CT    06782‐2311
GARY W JOBE & MARCIA C JOBE JT TEN              239 HERITAGE DR                                                                               MILFORD         MI    48381‐2826
GARY W JONES                                    318 W GARRISON                                                                                ELECTRA         TX    76360‐2102
GARY W KAWALL                                   2301 HAWTHORNE ROAD                                                                           MARENGO         IL    60152‐9677
GARY W KELLER                                   6682 SCHOLL RD                                                                                MANCELONA       MI    49659‐9191
GARY W KINER                                    97 BEECH STREET                                                                               HOMOSASSA       FL    34446‐5715
GARY W KOCHISH                                  7861 ROOKERY BLVD                                                                             WATERFORD       MI    48327‐4331
GARY W KUCK                                     3316 ELBOB LN                                                                                 MAYVILLE        MI    48744‐9523
GARY W LANGDON & MARY J LANGDON JT TEN          5246 FIELD RD                                                                                 CLIO            MI    48420‐8220
GARY W LARGE                                    817 CRESTVIEW DR                                                                              BEDFORD         TX    76021‐3364
GARY W LARSEN                                   1209 S W 126 ST                                                                               OKLAHOMA CITY   OK    73170‐6945
GARY W LEHMAN                                   201 S MORRISON RD                    APT 5C                                                   MUNCIE          IN    47304‐3444
GARY W LENGER                                   240 BRANDT                                                                                    ORTONVILLE      MI    48462
GARY W LESSNER SR & MARY ANN LESSNER JT TEN     1 DUNDEE COURT                                                                                BALTIMORE       MD    21220
GARY W LIERMAN                                  26 N HICKORY COURT                                                                            ANDERSON        IN    46011‐1503
GARY W LONG                                     PO BOX 458                                                                                    STOVER          MO    65078
GARY W LOVIK                                    5129 BERNEDA DR                                                                               FLINT           MI    48506‐1589
GARY W MADEWELL                                 2511 MEADOWCREST DR                                                                           NEWBURGH        IN    47630‐8426
GARY W MAIER                                    37442 RADDE                                                                                   MT CLEMENS      MI    48036‐2933
GARY W MC NALLY                                 12208 E 52ND TERRACE                                                                          INDEPENDENCE    MO    64055‐5648
GARY W MCDONALD                                 1757 S 600 E                                                                                  MARION          IN    46953‐9594
GARY W MCKAMEY & JANNICE E MCKAMEY JT TEN       2822 GLENVIEW                                                                                 ROYAL OAK       MI    48073‐3119
GARY W MCKILLIP                                 W6470 CO C                                                                                    MONTICELLO      WI    53570
GARY W MELIN & VICTORIA A MELIN JT TEN          21805 ARNOLD DR                                                                               SONOMA          CA    95476‐9286
GARY W MYERS                                    4849 CHEROKEE DR                                                                              CONCORD         CA    94521‐2119
GARY W NEVIEW                                   6345 RUSHVIEW DR                                                                              HUDSONVILLE     MI    49426‐9085
GARY W OAKLEY JR                                PRINCESS GREEN                       CRUMITIE RD                                              LOUDONVILLE     NY    12211
GARY W OGLE                                     3648 SHADDICK ROAD                                                                            WATERFORD       MI    48328‐2351
GARY W OWENS                                    13120 GRANT CIRCLE                                                                            CLIO            MI    48420‐8100
GARY W PATTERSON                                1660 WARNER AVENUE                                                                            MINERAL RIDGE   OH    44440‐9526
GARY W PETERS                                   11695 MILFORD RD                                                                              HOLLY           MI    48442‐8901
GARY W PFUND                                    3890 S MACKINAW                                                                               BAY CITY        MI    48706‐9433
GARY W PHILLIPS                                 8302 ELM ST                                                                                   TAYLOR          MI    48180‐2200
GARY W POTTER                                   370LAKE AVE                                                                                   BRISTOL         CT    06010‐7328
GARY W POTTER                                   5685 ORMOND RD                                                                                WHITE LAKE      MI    48383‐1229
GARY W RICE                                     4495 BOULDER RIDGE DR                APT 305                                                  DAYTON          OH    45440‐3119
GARY W RICHARDSON                               677 DELLWOOD DR                                                                               ANN ARBOR       MI    48103‐2812
GARY W RIEDL TR UA 11/16/93 GARY W RIEDL        302 E 5TH AVENUE                                                                              CHEYENNE        WY    82001‐1420
REVOCABLE TRUST
GARY W ROCCO                                    14646 UREKA AVE                                                                               SOUTHGATE       MI    48195
GARY W ROSENBERGER                              553 WICKHAM DR                                                                                GRANITEVILLE    SC    29829‐3951
GARY W SAUDER                                   2538 KERR ROAD                                                                                LUCAS           OH    44843‐9705
GARY W SCHIPRITT                                14 NARROW LANE                                                                                CHARLESTOWN     RI    02813
GARY W SHEPHERD                                 55 MAIN ST                                                                                    TOWNSEND        MA    01469‐1355
GARY W SIMPSON                                  18674 REVERE ST                                                                               DETROIT         MI    48234‐1730
GARY W SIMPSON                                  11 SALEM CT                                                                                   FAIRPORT        NY    14450‐3125
GARY W SITKO                                    3993 W CEDAR LAKE RD                                                                          GREENBUSH       MI    48738‐9710
GARY W SLATER                                   2120 CASCADE DRIVE                                                                            JACKSON         MI    49203‐3812
GARY W SPEAR                                    543 APPLE ORCHARD LANE                                                                        WEBSTER         NY    14580‐1248
GARY W SPRINGSTEEN                              2075 WEST RIDGE DRIVE                                                                         DAVISON         MI    48423‐2128
GARY W STANTON                                  14392 WINSTON                                                                                 RDFORD          MI    48239‐3317
GARY W STEGE                                    1147 GUTHRIE RD                                                                               WENTZVILLE      MO    63385‐3108
GARY W STEPHENS                                 12395 SHERIDAN RD                                                                             MONTROSE        MI    48457‐9302
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GARY W STOVER                                    814 LYONS RD                                                                                 PORTLAND         MI    48875
GARY W SUTHERLAND                                837 NORTH ST                                                                                 MORENCI          MI    49256‐1117
GARY W SWIFT                                     304 S 400 E                                                                                  ANDERSON         IN    46017‐9621
GARY W TATU                                      3992 MIDLAND                                                                                 WATERFORD        MI    48329‐2034
GARY W TYSON                                     91 E MORRIS ST                                                                               BUFFALO          NY    14214‐1826
GARY W UHRHAN                                    17907 N E 12TH ST                                                                            CHOCTAW          OK    73020‐7451
GARY W VINCHKOSKI                                5700 JENNIFER DR E                                                                           LOCKPORT         NY    14094‐6008
GARY W WARD                                      2651 LITTLE HICKORY DR                                                                       LANSING          MI    48911‐8438
GARY W WESCOTT                                   1808 TEXAS AVE                                                                               STEVENS POINT    WI    54481‐4259
GARY W WEST                                      19601 E 11TH TERR N                                                                          INDEPENDENCE     MO    64056‐2729
GARY W WEST & TERRI L WEST JT TEN                19601 E 11TH TERR N                                                                          INDEPENDENCE     MO    64056‐2729
GARY W WINKLER                                   28 LAWN ST                                                                                   TOMS RIVER       NJ    08753‐6622
GARY W WYATT                                     18010 EAST 26TH TERRACE COURT SO                                                             INDEPENDENCE     MO    64057‐2407
GARY W ZUEFLE                                    42 WARDMAN                                                                                   KENMORE          NY    14217‐2728
GARY WAHL & ELIZABETH WAHL JT TEN                1109 AMBLING WAY                                                                             MOUNT PLEASANT   SC    29464‐9048

GARY WAYNE DURHAM                                33 E BROCKTON AVE                                                                            MADISON HTS      MI    48071‐4003
GARY WAYNE ESSIG                                 PO BOX 3050                                                                                  LAREDO           TX    78044‐3050
GARY WAYNE JONES                                 2013 N LYNCH ST                                                                              FLINT            MI    48506‐3634
GARY WAYNE OSTLER                                307 STANTON AVE                                                                              SALT LAKE CTY    UT    84111‐3519
GARY WAYNE SCHONE                                2075 ALPINE DR                                                                               BOULDER          CO    80304‐3607
GARY WEISENBERG TR UA 01/17/2004 DOROTHY         3245 STEVEN DR                                                                               ENCINO           CA    91436
SEBULSKY TRUST
GARY WHITE & LYNN WHITE JT TEN                   390 WAUKEWAN RD                                                                              CENTER HARBOR    NH    03226‐3237
GARY WICKISER                                    3618 E RIVER STREET                                                                          ANDERSON         SC    29621‐7334
GARY WILLIAM CLICK & TERESA A CLICK JT TEN       926 LASALLE AVENUE                                                                           ORLANDO          FL    32803
GARY WILLIAM GUNDELL                             638 LINDERO CANYON RD#348                                                                    AGOURA           CA    91377‐5457
GARY WILLIAMS CUST JASON ERIC WILLIAMS UGMA PA   116 E LAUREL AVE                                                                             PEN ARGYL        PA    18072‐1104

GARY WYBENGA                                 6233 BECKER                                                                                      CEDAR SPRINGS    MI    49319‐9513
GARY YERMAN                                  9886 MILLER ROAD                                                                                 DURAND           MI    48429‐9453
GARY YOUNG                                   1524 BERRYMAN AVE                                                                                SOUTH PARK       PA    15129
GARY ZIURAITIS                               10406 FORK CREEK                                                                                 SAN ANTONIO      TX    78245‐2734
GASPAR B CERQUIERA                           45 BEECH ST                                                                                      MILFORD          MA    01757‐3409
GASPAR REYES                                 202 CLAIRE DRIVE                                                                                 SEFFNER          FL    33584‐5318
GASPAR S CAMPISE                             11226 DEBRA AV                                                                                   GRANADA HILLS    CA    91344‐3701
GASPARE DESIMONE                             2124 DARTHMOUTH                                                                                  DARIEN           IL    60561‐4362
GASPARE F LEONE                              46296 COACHWOOD DR                                                                               SHELBY TWP       MI    48315‐5602
GASPARE J LENTINE                            16 ELIZABETH ROAD                                                                                BILLERICA        MA    01821‐4406
GASPARE J SPANO                              23766 ALMOND                                                                                     EASTPOINT        MI    48021‐1907
GASPARE PARRINELLO                           68176 FRAMPTON CT                                                                                WASHINGTON       MI    48095‐1229
GASPARE R ABATE                              544 MCLEOD CRES                         PICKERING ON                           L1W 3M5 CANADA
GASPER BOLOGNA & THERESA BOLOGNA JT TEN      430 BIRCHWOOD RD                                                                                 MEDFORD          NY    11763‐1230
GASPER G NOVARA KEOUGH MONEY PURCHASE PLAN & 15762 LAMONT DR                                                                                  MACOMB           MI    48042‐5727
TRUST DTD 03‐10‐88
GASPER J VIOLA & MARY M VIOLA TR UA VIOLA    2871 SHIRLEY                                                                                     TROY             MI    48098‐3972
REVOCABLE TRUST 07/21/92
GASTON CHAMPAGNE                             5665 LEOPOLD POULIOT                    MONTREAL QC                            H1G 1G8 CANADA
GASTON J LANOIS                              249 HILLSDALE AVE                                                                                SYRACUSE         NY    13206‐2953
GASTON JAMES TOMEO                           13101 HILL RD                                                                                    RILEY            MI    48041
GASTON W GREEN                               19 WILLOW LANE                                                                                   NEWNAN           GA    30263‐3355
GATE DONG                                    5178 PAUL SCARLET DR                                                                             CONCORD          CA    94521
GATES FORMED FIBRE PRODUCTS INC              ATTN DANIELLE M BOISVERT                PO BOX 1300          WASHINGTON ST                       AUBURN           ME    04211‐1300
GATESWAY FOUNDATION INC                      116 W COMMERCIAL ST                                                                              BROKEN ARROW     OK    74012‐4011
GATEWOOD H STONEMAN                          3151 VARINA ON THE JAMES                                                                         RICHMOND         VA    23231‐8432
GATHA LAVELLA LIMING                         RTE 1 BOX 198                                                                                    FALKNER          MS    38629‐9610
GATHEL G SMITH & ALICE T SMITH JT TEN        708 14TH AVE S E                                                                                 DECATUR          AL    35601‐3314
GATLIN BEARD                                 14948 CAROL DR                                                                                   MAPLE HEIGHTS    OH    44137‐4457
GAUDALUPE CHAPA                              575 LAKESHORE CIR                       APT 104                                                  AUBURN HILLS     MI    48326‐4514
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GAUDENCIA SAAVEDRA                                1671 E LONG LAKE RD                                                                           TROY              MI    48098‐5049
GAUDENCIO L DURAN                                 15619 ELMCROFT AVE                                                                            NORWALK           CA    90650‐6246
GAUTAM J PATEL & LATA G PATEL JT TEN              3677 CEDAR BROOK DR                                                                           ROCHESTER HILLS   MI    48309‐4075
GAUTAM VORA & NISHA VORA JT TEN                   3120 CAMINO DE LA SIERRA N E                                                                  ALBUQUERQUE       NM    87111‐5604
GAVERT A DAVIS                                    1622 PRIMM DRIVE                                                                              BRENTWOOD         TN    37027‐7380
GAVIN D LEWIS & AUDREY J LEWIS JT TEN             500 ARDUSSI AVE                                                                               SAGINAW           MI    48602‐2786
GAVIN G BENEDICT                                  1982 LITTLESTONE RD                                                                           GROSSE POINTE     MI    48236‐1995
                                                                                                                                                WOOD
GAVIN M MOMBERG & MICHELE M MOMBERG JT TEN        ATTN JOHN MOMBERG                    151 WILDEMERE DR                                         MASON             MI    48854‐1359

GAVIN R KERR                                      717 GULPIT RD                                                                                 WAYNE             PA    19087‐1400
GAVINO A SEU                                      10606 KEATING CRESCENT               WINDSOR ON                             N8R 1T5 CANADA
GAVINO A SEU                                      10606 KEATING CRESCENT               WINDSOR ON                             N8R 1T5 CANADA
GAVINO GONZALES                                   1353 FRY LN                                                                                   HAYWARD           CA    94545‐2533
GAY ANN COOPER & ALEXANDER A COOPER JT TEN        354 ROUTE 156                                                                                 YARDVILLE         NJ    08620‐1729

GAY COLLETTE VICCELLIO                            622 CHADBOURNE CT                                                                             HOUSTON           TX    77079‐6428
GAY E COOPER                                      4000 HIGHWAY 62 E                                                                             MOUNTAIN HOME     AR    72653‐6659

GAY E WARREN                                      2031 FIELDVIEW DR                                                                             NAZERETH          PA    18064‐8407
GAY E WHIELDON                                    21832 COTTONWOOD DRIVE                                                                        ROCKY RIVER       OH    44116‐2327
GAY EDER                                          2 GOODMAN RD                                                                                  CAMBRIDGE         MA    02139‐1609
GAY H BURKE                                       1426 PLUMTREE AVE                                                                             PORTAGE           MI    49002‐5644
GAY L CARLSON                                     5729 DAVIS CIRCLE                                                                             ROHNERT PARK      CA    94928‐1740
GAY MEYER                                         6 RUE GRAND DUCAL                                                                             NEWPORT BEACH     CA    92660‐5906
GAY N BROWN & MRS GAY BROWN MC GLONE JT TEN       528 EAST BRANCH RD                                                                            PATTERSON         NY    12563‐2180

GAY N DAWSON                                      237 FAIRVIEW CIRCLE                                                                           MONTEVALLO        AL    35115‐7504
GAY N HUTCHINSON EX EST LARRY R HUTCHINSON        723 STRAWBERRY VALLEY AVE NW                                                                  COMSTOCK PARK     MI    49321‐9600

GAY N PAGE                                        320 W MAIN ST                        APT 419                                                  WARSAW            IN    46580‐2718
GAY NELL JORDAN & DAWN RENEE NIEMEYER JT TEN      4771 MT MORRIS                                                                                COLUMBIAVILLE     MI    48421‐8714

GAY P DENHAM                                      1757 ANGELQUE DRIVE                                                                           DECATUR           GA    30033‐1201
GAY P KENT                                        5195 HOSNER RD                                                                                OXFORD            MI    48370‐1003
GAY R VAN HAVEREN                                 11431 W ROXBURY PLACE                                                                         LITTLETON         CO    80127‐2837
GAY S LONG TR GAY S RITCHEY TRUST UA 08/28/00     PO BOX 308                                                                                    WINONA LAKE       IN    46590‐0308

GAY V HINTON                                      30570 COLINA VERDE                                                                            TEMECULA          CA    92592
GAYANN HAMILTON & JOHN M HAMILTON JT TEN          13341 BIRCH ST                       APT 918                                                  LEAWOOD           KS    66209
GAYBRIELLE G GOLSEN                               11209 THORN RIDGE RD                                                                          OKLAHOMA CITY     OK    73120‐5312
GAYDRA A CHAPULIS                                 11 HALSTEAD PL                                                                                PRINCETON         NJ    08540
GAYE D WASHINGTON                                 4151 CREEK HOLLOW WAY                                                                         DULUTH            GA    30096‐4372
GAYE E UDELL                                      4290 DAY RD                                                                                   LOCKPORT          NY    14094‐9412
GAYE ELLEN MILLER                                 1641 BEECHWOOD AVENUE                                                                         LOUISVILLE        KY    40204‐1321
GAYE M GONATAS                                    391 COUNTY ROAD 415                                                                           NEW SMYRNA        FL    32168‐8941
GAYE N BLEVINS                                    12772 HWY 38                                                                                  EVARTS            KY    40828‐6340
GAYE N SOMERS & BRIAN K SOMERS JT TEN             3288 ORRSTOWN RD                                                                              ORRSTOWN          PA    17244‐9683
GAYE S MAKO                                       6410 MUSQUASH TRAIL                                                                           CLARKSTON         MI    48348‐4608
GAYFORD M WILLIAMS                                146 LAKEVIEW AVE                                                                              PARKERSBURG       WV    26101‐7612
GAYL K SMITH                                      1905 STANFORD DR                                                                              NAPERVILLE        IL    60565
GAYL Y LEWIS                                      3 COLONIAL RD                                                                                 STONY POINT       NY    10980‐1305
GAYLA D HILLIN                                    8721 RAINTREE WOODS DR                                                                        FAIR OAKS RANCH   TX    78015‐4414
GAYLA EDWARDS OKEKE                               315 CRESTWOOD DR                                                                              SELMA             AL    36701‐6046
GAYLA J GERON                                     319 HIDDEN OAKS DR                                                                            WEATHERFORD       TX    76087‐8652
GAYLA J LIPTACK                                   319 HIDDEN OAKS DR                                                                            WEATHERFORD       TX    76087‐8652
GAYLA SANBORN                                     1143 INDIANPIPE CT                                                                            LAKE ORION        MI    48360‐2613
GAYLE A ALCANTARA CUST MICAH E ALCANTARA UTMA     30816 PRIMROSE DR                                                                             WARREN            MI    48088‐5944
MI
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GAYLE A ALCANTARA CUST SIENA DEBORAH ALCANTARA 30816 PRIMROSE DR                                                                                WARREN          MI    48088‐5944
UGMA MI
GAYLE A BARNETT                                8296 59TH ST                                                                                     TINELLAS PARK   FL    33781‐1406
GAYLE A BREAKIE                                4970 N ELGIN RD                                                                                  GOLDEN VALLEY   AZ    85413‐8590
GAYLE A BROWN                                  2206 S WILLARD AVE                                                                               JANESVILLE      WI    53546‐5954
GAYLE A FREY                                   23376 ARGYLE                                                                                     NOVI            MI    48374‐3696
GAYLE A GILLIS                                 10887 E DOVER RD                                                                                 CLARE           MI    48617‐9633
GAYLE A GROSHKO                                15498 FOX BLVD                                                                                   REDFORD         MI    48239‐3934
GAYLE A JORDAN                                 32851 CALLE MIGUEL                                                                               SAN JUAN        CA    92675‐4430
                                                                                                                                                CAPISTRAN
GAYLE A KALL EX UW ANNA KALL                     2303 WINTERBRIDGE LN                                                                           WEST CHESTER    PA    19382‐6658
GAYLE A MC CLELLAND & REBECCA I ELDER JT TEN     510 BRYNFORD AVE                                                                               LANSING         MI    48917‐2926
GAYLE A MURPHY TR UA 12/07/2004 GAYLE A MURPHY   32144 AVONDALE ST                                                                              WESTLAND        MI    48186
REVOCABLE LIVING TRUST
GAYLE A OLMSTEAD                                 4324 ILLINOIS AVE                                                                              KENNER          LA    70065‐2252
GAYLE A THOMPSON                                 ATTN GAYLE A FREY                     23376 ARGULE                                             NOVI            MI    48374‐3696
GAYLE ALCANTARA CUST TYLER ALCANTARA UTMA MI     30816 PRIMROSE DRIVE                                                                           WARREN          MI    48088‐5944

GAYLE B CARNAHAN                               10371 DUNN DR                                                                                    BATON ROUGE     LA    70810‐4754
GAYLE B HEISKELL                               10654 E RAVENSWOOD STREET                                                                        TUCSON          AZ    85747
GAYLE B HEISKELL & MICHAEL P HEISKELL JT TEN   10654 E RAVENSWOOD STREET                                                                        TUCSON          AZ    85747
GAYLE B KORFONTA                               8802 S SHINGLE BAY RD                                                                            SAULT S MARIE   MI    49783‐8869
GAYLE B SOLAR                                  531 W WILLIAM DAVID PARKWAY                                                                      METAIRIE        LA    70005‐2822
GAYLE BALZER                                   213 KEY DR                                                                                       PITTSBURGH      PA    15235‐3710
GAYLE C KEAY                                   790 ARDEN COURT                         OSHAWA ON                              L1G 1X7 CANADA
GAYLE C KIRMA                                  141 CALLE MAYOR                                                                                  REDONDO BEACH   CA    90277‐6509
GAYLE C NORRIS & MRS ETHEL M NORRIS JT TEN     1825 PARADISE RD APT 1102                                                                        ORRVILLE        OH    44667‐9403
GAYLE C SHANLEVER                              1103 WILKINS AVE                                                                                 JONESBORO       AR    72401‐5138
GAYLE D BENTON                                 1291 CALZADA AVENUE                                                                              SANTA YNEZ      CA    93460‐9746
GAYLE D CAMDEN                                 6569 PONTIAC TRAIL                                                                               SOUTH LYON      MI    48178‐7084
GAYLE D CAMDEN & ROLAND J CAMDEN JT TEN        6569 PONTIAC TRAIL                                                                               SOUTH LION      MI    48178‐7084
GAYLE D INSCHO                                 1735 CHESTNUT MTN RD SW                                                                          DECATUR         AL    35603‐3333
GAYLE D MUSSELMAN                              1911 49TH ST W                                                                                   BRADENTON       FL    34209‐5156
GAYLE D NIEBURGER CUST BRADEN C NIEBURGER UTMA 35 CANTERBURY ST                                                                                 ANDOVER         MA    01810‐2802
MA
GAYLE D QUIRK CUST ROBERT E QUIRK UTMA MA      80 WITCHWOOD RD                                                                                  SOUTH YARMOUTH MA     02664‐2911

GAYLE D SNELL                                    7316 WETHERSFIELD DR                                                                           WEST CHESTER    OH    45069
GAYLE D STARK                                    7878 COPPER GULCH RD                                                                           TEXAS CREEK     CO    81223
GAYLE DEVECHT                                    2957 FLAMINGO DR                                                                               MIAMI BEACH     FL    33140
GAYLE DOROTHY HANNAGAN                           579 NASSAU AV                                                                                  PAULSBORO       NJ    08066‐1142
GAYLE E BYRD                                     2650 98TH AVE                                                                                  OAKLAND         CA    94605‐4706
GAYLE E COOK                                     5679 N TERESA DR                                                                               ALEXANDRIA      IN    46001‐8609
GAYLE E MCMANUS                                  6908 HEIDELBURG ROAD                                                                           LANHAM          MD    20706‐4603
GAYLE E RAMSEY                                   THE LEGAL BUILDING                    1 NORTH GASTON STREET                                    BREVARD         NC    28712‐3437
GAYLE E SETTERINGTON                             2370 CAMP FIRE TRAIL                  #21                                                      ALGER           MI    48610‐9112
GAYLE EILEEN EWALD                               3762 HARVARD ACRES                                                                             CINCINNATI      OH    45227‐4202
GAYLE ELLEN GOLDMAN                              1504 MONMOUTH DR                                                                               RICHMOND        VA    23238‐4828
GAYLE ELLSWORTH WHITE & JEFFREY JAMES BERTRAND   8110 RAVENSWOOD RD                                                                             GRANBURY        TX    76049‐4613
JT TEN
GAYLE FERGUSON                                   11308 MIDBURY COURT                                                                            AUSTIN          TX    78748
GAYLE FLYN CONSERVATOR FOR GWENDOLYN N           802 E RUTH ST                                                                                  FLINT           MI    48505‐2251
SANDERS
GAYLE G LINN                                     7454 MARIGOLD AVE                                                                              HIGHLAND        CA    92346
GAYLE GRAHAM MORIN                               339 WHITWORTH WAY                                                                              NASHVILLE       TN    37205‐5017
GAYLE GROSS                                      500 PINEY NARROWS RD                  SLIP 12                                                  CHESTER         MD    21619‐2431
GAYLE H PAWLUS                                   9818 W LAMPE RD                                                                                HAYWARD         WI    54843‐7695
GAYLE H WHITE                                    295 VILLAGE LN                        APT 169                                                  GREENWOOD       IN    46143
GAYLE HAUG CUST ZACHARY HAUG UTMA NJ             260 HARPER AVE                                                                                 MORRISVILLE     PA    19067‐1115
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GAYLE HELDMANN CUST AMANDA HELDMANN UTMA IL 1204 HIDDEN SPRING DR                                                                                NAPERVILLE         IL    60540‐4114

GAYLE HELDMANN CUST LAUREN HELDMANN UTMA IL      1204 HIDDEN SPRING DR                                                                           NAPERVILLE         IL    60540‐4114

GAYLE I ARRAND & SHERRY A PIDWINSKI JT TEN       1385 LESTER COURT                                                                               MERRITT IS         FL    32952
GAYLE J GUTHRIE                                  1717 LAKEWOOD BLVD                                                                              EULESS             TX    76039‐2340
GAYLE J MITCHELL                                 3749 CASTLE CT                                                                                  YOUNGSTOWN         OH    44511‐2979
GAYLE J T PAUER                                  308 WEST BAGLEY ROAD                                                                            BEREA              OH    44017‐1343
GAYLE JENZEN                                     3668 HIGHGROVE WAY                                                                              LAKE ORION         MI    48360‐1570
GAYLE K PEYTON                                   178 GLENVIEW RD                                                                                 SOUTH ORANGE       NJ    07079
GAYLE L ANDREWS                                  20114 PINEHAVEN LN                                                                              SPRING             TX    77379‐2470
GAYLE L DAWS                                     4856 HARBOR DRIVE                                                                               DAYTON             OH    45432
GAYLE L EIKER                                    5921 BEECH AVE                                                                                  BETHESDA           MD    20817‐3422
GAYLE L HILDEBRAND                               2674 GETTYSBURGH‐PITSBURG RD                                                                    ARCANUM            OH    45304‐9696
GAYLE L RIDDLE                                   ROUTE 1 BOX 114                                                                                 MOUNTAIN PARK      OK    73559‐9741
GAYLE L ROOSE                                    12716 MADISON AVE                                                                               URBANDALE          IA    50323‐2369
GAYLE L SARDEN                                   3454 OLD COURSE ST                                                                              LAS VEGAS          NV    89122‐4114
GAYLE L SMITH                                    2867 W 116TH ST                                                                                 GRANT              MI    49327‐8901
GAYLE M BARRICKMAN                               6 PALM LANE                                                                                     PINEHURST          NC    28374‐9445
GAYLE M HENKE                                    ATTN GAYLE M BASSI                     23 CALEB BREWSTER ROAD                                   EAST SETAUKET      NY    11733‐3703
GAYLE M PIETRYGA & SUSAN K GANDY JT TEN          294 TUNBRIDGE DR                                                                                ROCKLEDGE          FL    32955‐4762
GAYLE M SHERMAN                                  5807 11TH AVE SE                                                                                MINOT              ND    58701
GAYLE M UMAN                                     14 LOUISE RD                                                                                    EDISON             NJ    08817
GAYLE MARLENE WOLKE                              34 FIELDSTONE ESTATE CRT                                                                        WENTZVILLE         MO    63385
GAYLE P ALDERSON                                 4996 LAKESHORE RD                                                                               LEXINGTON          MI    48450‐9379
GAYLE P DOUGLAS                                  7676 FRITH                                                                                      COLUMBUS           MI    48063‐1501
GAYLE P EVERETT                                  1511 SUWANNEE DRIVE                                                                             WAYCROSS           GA    31501‐5048
GAYLE P MILLER                                   1807 SHERWOOD ROAD                                                                              SILVER SPRING      MD    20902‐4030
GAYLE P MINTER                                   4150 E SAHUARO DR                                                                               PHOENIX            AZ    85028‐3575
GAYLE PIONTEK                                    35011 BRIGHTON DR                                                                               STERLING HEIGHTS   MI    48310‐7408

GAYLE PISERCHIA                                  PO BOX 4582                                                                                     BURLINGTON         VT    05406‐4582
GAYLE R KINNEY                                   1520 E OAKLAND AVE                                                                              LANSING            MI    48906‐5546
GAYLE R WALTON                                   104 WINTERSET SE PK                                                                             MARIETTA           GA    30067‐6542
GAYLE R WHITTAKER & KEITH G WHITTAKER JT TEN     10403 BLACKSMITH PL                                                                             FLORENCE           KY    41042‐4774

GAYLE RUSKIN‐WHITE                               406 E 13TH ST 2ND                                                                               NEW YORK           NY    10009‐3735
GAYLE S HITCHCOCK                                5231 PINE GROVE CT                                                                              TOLEDO             OH    43615‐2975
GAYLE S HURT EX EST LORRAINE L CRAIK             7112 CERMAK RD                         SECOND FL                                                BERWYN             IL    60402‐1570
GAYLE S OLMSTEAD                                 4324 ILLINOIS AVE                                                                               KENNER             LA    70065‐2252
GAYLE S SMITH                                    HC 71 BOX 720                                                                                   AUGUSTA            WV    26704‐9528
GAYLE S ZFASS                                    1600 WESTBROOK AVE CYA 1127                                                                     RICHMOND           VA    23227
GAYLE SASNETT REED                               11132 N CR 475                                                                                  OXFORD             FL    34484‐3127
GAYLE SCHLESSEL                                  6115 BRANCHWOOD DR                                                                              LAKE WORTH         FL    33467‐7390
GAYLE SMITH                                      1800 ARROWHEAD DR                                                                               OPELIKA            AL    36801‐3504
GAYLE TACKER CUST JASON DANIEL TACKER UGMA TN    44 CHIPPEWA COVE                                                                                JACKSON            TN    38301

GAYLE THOMAS                                     C/O GAYLE FRAZER                       1100 W ALBUQUERQUE                                       BROKEN ARROW       OK    74011
GAYLE TOWNS                                      2900 PALMER PL                                                                                  LUDINGTON          MI    49451
GAYLE V DONOVAN                                  9201 TOPEKA STREET                                                                              BETHESDA           MD    20817‐3307
GAYLE V STAHL                                    10327                                  LAFOLLETT DR                                             BRIGHTON           MI    48114‐9625
GAYLE WOODS POLK                                 3722 BELVEDERE                                                                                  LAKE CHARLES       LA    70605‐2573
GAYLE Y GREEN CUST GAYLAN GREEN UTMA LA          PO BOX 3222                                                                                     GRETNA             LA    70056
GAYLE Y WHITE                                    673 HENDERSON                                                                                   SUMPTER            SC    29150‐3167
GAYLEEN V CARMICHAEL                             8 JANICE RD                                                                                     WILMINGTON         DE    19810‐3016
GAYLEN M TEIGEN                                  3212 VALMONT AVE                                                                                ALTOONA            WI    54720‐1158
GAYLETA L LITTLE                                 2714 BROOKFIELD                                                                                 DENTON             TX    76201‐1334
GAYLIN D HARRIS                                  ATTN GAYLIN D HARRIS FAGAN             6302 HIDDEN CREST WAY                                    SUGARLAND          TX    77479‐5583
GAYLON D STEPP                                   5675 W MICHIGAN RD                                                                              SAGINAW            MI    48603‐6375
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GAYLON H WRIGHT                                   516 LOCUST ST                                                                                 STERLING          MI    48659‐9794
GAYLON N MCDANIEL                                 57 HIGH ST                                                                                    AGAWAM            MA    01001‐1244
GAYLOR A WALDEN                                   990 S BRIDGEPORT ROAD                                                                         INDIANAPOLIS      IN    46231‐2510
GAYLORD A KRON & JEANETTE E KRON JT TEN           28600 BOSTON                                                                                  ST CLAIR SHORES   MI    48081‐1091
GAYLORD E MANTOOTH                                5977 LAFAYETTE ST                                                                             CLAYTON           IN    46118‐9487
GAYLORD F CAIN                                    385 BERLIN RD                                                                                 BOLTON            MA    01740‐1320
GAYLORD F TETER                                   1707 SQUAW CREEK DRIVE                                                                        GIRARD            OH    44420‐3655
GAYLORD G GAISER                                  320 WILLOW WAY                                                                                LYNN HAVEN        FL    32444‐4905
GAYLORD L AUSTIN                                  8563 DOYLE RD                                                                                 LAINGSBURG        MI    48848‐9683
GAYLORD L DAVIS                                   01607 ST RT 15                                                                                BRYAN             OH    43506‐9633
GAYLORD L GIDLEY                                  1034 CROWNPOINT DRIVE                                                                         LAKE ISABELLA     MI    48893‐9374
GAYLORD L LEMISH                                  7612 ANGLIN DR                                                                                FORT WORTH        TX    76140‐2302
GAYLORD L MANNOR                                  8136 WEBSTER RD                                                                               MT MORRIS         MI    48458‐9432
GAYLORD L MCFARLAND                               3413 INDEPENDENCE                                                                             LANSING           MI    48911‐4419
GAYLORD L ROBBINS                                 508 W BALDWIN ST                                                                              SAINT JOHNS       MI    48879‐1704
GAYLORD L TYGESEN                                 749 COVELL N W                                                                                GRAND RAPIDS      MI    49504‐4845
GAYLORD L WOLBERS                                 314 S MAIN ST                                                                                 CLARKSVILLE       MI    48815‐9733
GAYLORD N DAY                                     1255 S VANVLEET                                                                               SWARTZ CREEK      MI    48473‐9708
GAYLORD P FRANKOVICH                              700 SPOKANE AVE                                                                               LANSING           MI    48910‐5664
GAYLORD P HAYDEN                                  4628 E 175 ST                                                                                 CLEVELAND         OH    44128‐3930
GAYLORD R KELLY                                   9285 BLUE HORIZON RD                                                                          PRESQUE ISLE      MI    49777‐9083
GAYLORD R M FORREST                               PMB 168                             9802 BAYMEADOWS RD STE 12                                 JACKSONVILLE      FL    32256‐7987
GAYLORD S KNOX                                    6708 OREM DR                                                                                  LAUREL            MD    20707‐3238
GAYLORD S TAYLOR                                  9635 E BAYSHORE RD                                                                            MARBLEHEAD        OH    43440‐2421
GAYLORD V TICE                                    6674 N CLUB DRIVE                                                                             SHREVEPORT        LA    71107‐9640
GAYLYN M FEIST PER REP EST SAMUEL LAIRD MERRELL   2643 SE PINE LN                                                                               PORTLAND          OR    97267

GAYLYN R DANNER                                  1144 BONNABEL BLVD                                                                             METAIRIE          LA    70005‐1538
GAYNEL O MEGLEMRE SUCC TR ROBERT W MEGLEMRE 10102 W 99TH TER                                                                                    OVERLAND PARK     KS    66212‐5204
TRUST UA 06/12/86
GAYNELL A HILL                                   21 JORDAN STREET                                                                               BEVERLY           MA    01915‐2639
GAYNELL W WHITEHEAD                              400 MERGANSER TRL                                                                              CLINTON           MS    39056‐6221
GAYNELLE SELF                                    RT I BOX 1537 A                                                                                WAYNE             WV    25570
GAZA KOVACH                                      8331 DODGE RD                                                                                  OTISVILLE         MI    48463‐9485
GAZETTA MORGAN                                   177 SANDERS RD 15                                                                              BUFFALO           NY    14216‐1370
GE0RGE T ANDERSON                                184 WANA CIR SE                                                                                MABLETON          GA    30126‐1939
GEANNETTE LEACH                                  22 EAST 18TH ST                                                                                LINDEN            NJ    07036‐3404
GEARLDINE B GRIFFIN                              7570 HAZELCREST DR                                                                             HAZELWOOD         MO    63042‐2204
GEARLDINE L POLAN                                4070 WESTERN DR                                                                                CROSWELL          MI    48422‐9400
GEARLDINE S MOONEY                               1095 LOU CHARLES                                                                               MT MORRIS         MI    48458‐2114
GEARLDINE VANDERSLICE                            400 CR 2775                                                                                    MINEOLA           TX    75773‐5046
GEARLINE J BEAL                                  309 REGENTS RD                                                                                 GAHANNA           OH    43230‐2496
GEBHARD RATZ GMAC BANK GMBH                      STAHLSTRASSE 34                      RUSSELSHEIM GERMAN                      GERMANY
GEELIN LUE WONG                                  111 MEYER ROAD                                                                                 AMHERST           NY    14226‐5107
GEERT VAN HECKE                                  OPEL BELGIUM NV                      NRDERLAAN 401 HAVEN 500     ANTWERPEN   BELGIUM
GEIR SVERDRUP                                    1008 COLORADO AVE                    APT 2                                                     GLENWOOD SPGS     CO    81601‐3372
GELENA A SMITH                                   6180 PHIFER MOUNTAIN RD                                                                        COOKEVILLE        TN    38506‐6943
GELIA ESTES COLEMAN                              12 PARK ROW CT                                                                                 PANTEGO           TX    76013‐3200
GELSINA COLAROSSI                                33863 JAMES COURT                                                                              FARMINGTON        MI    48335‐4147
GELSOMINO DI SARRO                               223 MYRTLE AVENUE                                                                              GARWOOD           NJ    07027‐1313
GEM & CO                                         ATT W S ALT                          SCOTTDALE SVGS & TR CO                                    SCOTTDALE         PA    15683
GEMMA A MIELE TR GEMMA A MIELE REVOCABLE         751‐B CEDAR CREST DR                                                                           WARRENTON         VA    20186‐2141
TRUST UA 09/15/99
GEMMA D MARAYAG                                  835 PARK RD                                                                                    MORRIS PLAINS     NJ    07950‐2848
GEMMA M ORSI & SILVANO D ORSI JT TEN             9 BRU‐MAR DR                                                                                   ROCHESTER         NY    14606‐5317
GEMMA SCOCCI TR 1991 REVOCABLE TRUST 12/15/91 U‐ 1746‐21ST AVE                                                                                  SAN FRANCISCO     CA    94122‐4416
A GEMMA SCOCCI
GENA D LEONARD                                   18 CLEAVELAND AVE                                                                              CANTON            NY    13617‐1104
GENA DINEVSKA                                    9200 PINEVIEW DR                                                                               PLYMOUTH          MI    48170‐5706
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GENA F OZANIC & HARRY W OZANIC JT TEN              535 KINGS HWY                                                                                 LINCOLN PARK      MI    48146‐4611
GENA HAAS                                          1345 SINGLETARY AVE                                                                           SAN JOSE          CA    95126‐2136
GENA J GABLE & STEPHEN L GABLE JT TEN              1027 PARK PLACE CT                                                                            TERRE HAUTE       IN    47802‐7876
GENA L SMITH                                       307 78TH AVE                                                                                  ST PETE BEACH     FL    33706‐1709
GENA M COOPER                                      166 MADDOX ROAD                                                                               DANVILLE          AL    35619‐6534
GENA M TURNER                                      2928 KNOX SCHOOL RD                                                                           ALLIANCE          OH    44601‐9021
GENA S GOODFRIEND                                  506 N POST OAK LANE                                                                           HOUSTON           TX    77024‐4621
GENA T CORDARO                                     158 COASTAL PIER CT                                                                           HENDERSON         NV    89015‐9187
GENARD H RODRIGUEZ                                 211 LAFAYETTE AVE                                                                             HAYWARD           CA    94544‐8157
GENARO CARABALLO                                   2303 W 38TH ST                                                                                CLEVELAND         OH    44113‐3867
GENARO GARZA                                       1962 CLARK                                                                                    DETROIT           MI    48209‐1602
GENARO L PASTORE                                   PO BOX 6833                                                                                   HARRISBURG        PA    17112‐0833
GENARO M TELAN                                     2781 HARTWICK PINES DR                                                                        HENDERSON         NV    89052‐7003
GENE A BOLSTER                                     5804 MCPHERSONS POINT                                                                         LIVONIA           NY    14487‐9212
GENE A COWART                                      2153 WERON LN                                                                                 CINCINNATI        OH    45225‐1233
GENE A CROSS                                       22802 LAKE RAVINE DR                                                                          SOUTHEFIELD       MI    48034‐3456
GENE A ENGLE                                       9879 N PINK MOSS PT                                                                           CRYSTAL RIVER     FL    34428‐7434
GENE A ESCH                                        5048 W JORDAN RD                                                                              WEIDMAN           MI    48893‐9637
GENE A GRAVES                                      719 SEBEK BLVD                                                                                OXFORD            MI    48371‐4457
GENE A HOLMES                                      115 FENNER ROAD                                                                               OVID              MI    48866‐9546
GENE A KRAACK                                      230 MASSACHUSETTS LN                                                                          PLACENTIA         CA    92870‐5035
GENE A KUSZMAUL                                    1436 DEFOREST RD                                                                              WARREN            OH    44484‐3530
GENE A LAWLER                                      2825 BURDEN RD                                                                                STOCKBRIDGE       MI    49285
GENE A LEE                                         156 W CENTRAL WAY                                                                             PENDLETON         IN    46064‐9041
GENE A MCGOWAN                                     12020 LONG LAKE                                                                               SPARTA            MI    49345‐8594
GENE A MILLER                                      1523 MAPLE RD                                                                                 JOLIET            IL    60432‐1468
GENE A MOLTBIA                                     3710 METRO PKWY #1426                                                                         FT MYERS          FL    33916‐9425
GENE A MORSCHING                                   1511 17TH AVE SE                                                                              ABERDEEN          SD    57401‐7761
GENE A PACELLI                                     1015 MARYLAND AVE                                                                             NEW CASTLE        PA    16101‐4305
GENE A PARSONS                                     123 MEADOWVIEW DR                                                                             FAIRFIELD GLADE   TN    38558‐9015
GENE A REASONER & GENE R REASONER JT TEN           269 E 17TH                                                                                    DES MOINES        IA    50316‐3601
GENE A SPRINKLE                                    11193 DOSTER RD                                                                               PLAINWELL         MI    49080‐9316
GENE A TAGGETT                                     817 W SHERMAN                                                                                 CARO              MI    48723‐1493
GENE A TAGGETT & JANET L TAGGETT JT TEN            817 W SHERMAN ST                                                                              CARO              MI    48723‐1493
GENE A TIPTON                                      1587 CONGRESS HILL LN                                                                         FAIRFIELD         OH    45014‐4603
GENE A WILKINSON                                   PO BOX 942                                                                                    MADISON           MS    39130‐0942
GENE ANTOINETTE NEWMAN                             188 SIMPSON CIRCLE NE                                                                         CARTERSVILLE      GA    30121
GENE AUBREY LAWRENCE                               19 WEST SIMPSON                                                                               LANGDON           KS    67583‐9020
GENE B GUNTERMAN                                   8763 DOUGLAS RD                                                                               TEMPERANCE        MI    48182‐9445
GENE B HOBEL                                       741 S MORNINGSTAR DRIVE                                                                       ANAHEIM           CA    92808‐1633
GENE B MCELROY & DOROTHY A MCELROY TEN COM         5316 BELLO VISTA DRIVE                                                                        SHERMAN           TX    75090‐9284

GENE B RICHARDSON                                  4634 E 700N                                                                                   ALEXANDRIA        IN    46001‐8724
GENE BINDER & KENT BINDER & JOLENE BINDER JT TEN   500 14TH AVE APT 34                                                                           DEVILS LAKE       ND    58301‐2819

GENE C ALISTER & LINDA L ALISTER JT TEN            PO BOX 23                            11620 OLEAN RD                                           CHAFFEE          NY     14030
GENE C DAVIS                                       7882 GLENWOOD AVE                                                                             YOUNGSTOWN       OH     44512‐5825
GENE C GLASGOW                                     12101 HEATHER CT                                                                              DAVISBURG        MI     48350‐1656
GENE C HENSLEY                                     RR 1 BOX 4176                                                                                 DORA             MO     65637‐9419
GENE C HENSLEY & FRANCES L HENSLEY JT TEN          RR 1 BOX 4176                                                                                 DORA             MO     65637‐9419
GENE C HOOKS                                       909 GLENCREST LN                                                                              LONGVIEW         TX     75601‐4424
GENE C HOWE                                        34146 ICKLER AVE N                                                                            LILLIAN          AL     36549‐4037
GENE C JACKSON                                     20000 DEQUINDRE ST                   APT 213                                                  DETROIT          MI     48234‐1241
GENE C KEYS & MARGERY S KEYS JT TEN                1303 RUNNYMEAD AVE SW                                                                         DECATUR          AL     35601‐3651
GENE C LIM                                         1121 DERICK WAY                                                                               SACRAMENTO       CA     95822‐1034
GENE C SWOPE & SHIRLEY J SWOPE JT TEN              2504 W PORT                                                                                   ST CHARLES       MO     63301‐4759
GENE C WESLEY                                      146 MONTGOMERY ST                                                                             SANTA ROSA BEACH FL     32459‐6356

GENE COSTELLO                                      34980 LAKELAND BLVD                  STE 3                                                    EASTLAKE          OH    44095‐5241
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GENE CRESENT                                      7015 LAFAYETTE                                                                               DEARBORN HTS      MI    48127‐2124
GENE CZAJKA & TANYA CZAJKA JT TEN                 3 BETHGLEN CT                                                                                MAULDIN           SC    29662‐3328
GENE D GUBBINS JR                                 1485 W SLOAN ROAD                                                                            BURT              MI    48417‐9607
GENE D LANE & PHILIP C LANE & BEVERLY A GOLLER JT 895 WOODBOURNE DR                                                                            NEW ALBANY        IN    47150‐2372
TEN
GENE D MC CALLON                                  PO BOX 16                                                                                    BIRCH RUN         MI    48415‐0016
GENE D MOORE                                      25 TERRACE DR                                                                                ALEXANDRIA        KY    41001‐1129
GENE D VENABLE                                    454 MESSER HILL RD                                                                           NEW LONDON        NH    03257‐6502
GENE DROZD                                        29233 GILBERT                                                                                WARREN            MI    48093‐6418
GENE DROZD & ROSALIE A DROZD JT TEN               29233 GILBERT DR                                                                             WARREN            MI    48093‐6418
GENE E BUTCHER & IDA MAE BUTCHER JT TEN           614 PORTER                                                                                   DANVILLE          IL    61832‐4152
GENE E COLE                                       113 W SUMMIT ST                                                                              ADRIAN            MI    49221‐3840
GENE E DOLLAR                                     1600 MORRISON DR                                                                             RAYMOND           MS    39154‐8904
GENE E GALLEY & PATRICIA A GALLEY JT TEN          747 TARRY LN                                                                                 AMHERST           OH    44001
GENE E HERCHELROTH                                PO BOX 464                                                                                   MARIETTA          PA    17547‐0464
GENE E INGLE & VIRGINIA C INGLE JT TEN            13820 METCALF AVE                   APT 11219                                                OVERLAND PARK     KS    66223‐7870
GENE E MULLINS                                    531 S GREYFRIAR STREET                                                                       DETROIT           MI    48217‐1405
GENE E SZUFNAR                                    51149 SANDSHORE DR                                                                           SHELBY TWP        MI    48316‐3838
GENE E VOIGTS & LINDA E VOIGTS JT TEN             427 E 55TH ST                                                                                KANSAS CITY       MO    64110‐2453
GENE E WEAVER                                     PO BOX 238                                                                                   WALDRON           IN    46182‐0238
GENE ELI                                          PO BOX 188                                                                                   WHEELER           IN    46393‐0188
GENE F AMMIRATA                                   19 OLDEN TERR                                                                                TRENTON           NJ    08610‐2516
GENE F BARNES                                     1156 BOCKEY RD                                                                               GROVER HILL       OH    45849‐9766
GENE F BROWN                                      3450 W 62ND STREET                                                                           INDIANAPOLIS      IN    46268‐2757
GENE F HARRINGTON                                 1190 ADAMS RD                                                                                BURTON            MI    48509‐2300
GENE F HENRY                                      3550 CENTERVILLE HW 107‐1                                                                    SNELLVILLE        GA    30039‐4133
GENE F HUSTON                                     3403 CANADAY DR                                                                              ANDERSON          IN    46013‐2216
GENE F LENZ & MRS W JOAN LENZ JT TEN              PO BOX 1200                                                                                  LUSK              WY    82225‐1200
GENE F STIGALL                                    5417 MARY SUE                                                                                CLARKSTON         MI    48346‐3931
GENE G BRIGGS                                     194 ROSS RIDGE RD                                                                            LITTLETON         ME    04730‐6145
GENE G CEVAER                                     303 SW MEMORIAL DR                                                                           FORT WHITE        FL    32038‐4945
GENE G HAWKINS                                    2393 CRESCENT PARK DRIVE                                                                     HOUSTON           TX    77077‐6756
GENE G MCNITT                                     C/O ANN E MCNITT                    304 SOUTH BITTERSWEET                                    MUNCIE            IN    47304
GENE G TRISOLIERE                                 1506 HIGH RIDGE PKWY                                                                         WESTCHESTER       IL    60154‐3429
GENE GARBARINO                                    PO BOX 4184                                                                                  SOUTH COLBY       WA    98384‐0184
GENE GRATZ                                        207 AZALEA GARDENS DR                                                                        OXFORD            MS    38655‐8145
GENE H ADAMS & DORIS L ADMAS TR GENE H ADAMS & 6624 MASTIN DR                                                                                  SHAWNEE MISSION   KS    66203‐3631
DORIS L ADAMS TRUST
GENE H ANGUIL                                     869 E BIRCH AVE                                                                              MILWAUKEE         WI    53217‐5360
GENE H CARLSEN                                    HC 1 BOX 4023                                                                                SHELL KNOB        MO    65747‐9406
GENE H COLEMAN                                    4600 MIDDLETON PARK CIRCLE E        APT D‐157                                                JACKSONVILLE      FL    32224‐4683
GENE H COPP                                       1445 GRACETON RD                                                                             FAWN GROVE        PA    17321‐9566
GENE H TOM & BARBARA TOM JT TEN                   1466 WEST HIGHWAY 12                                                                         WALLA WALLA       WA    99362‐8546
GENE HUA SUN                                      12321 MOSEL TER                                                                              GAITHERSBURG      MD    20878‐4714
GENE I MERCHANT                                   1700 LENORE AVE                                                                              LANSING           MI    48910‐2681
GENE I MOON                                       22 UNIVERSITY AVE                                                                            ATLANTA           NY    14808‐9716
GENE IRWIN & BETTY IRWIN JT TEN                   1416 MONTGOMERY AVENUE                                                                       ASHLAND           KY    41101‐2635
GENE J BRIDEAU                                    30A POPE ST                                                                                  HUDSON            MA    01749‐2143
GENE J CUNIAL & MRS ELIZABETH L CUNIAL JT TEN     1142 CRESCENT AVE                                                                            KLAMATH FALLS     OR    97601‐2516
GENE J DEPILLO                                    64 MORRIS AVE                                                                                GIRARD            OH    44420‐2934
GENE J DUNCAN                                     219 DRESDEN AVE                                                                              PONTIAC           MI    48340‐2520
GENE J HULLEZA                                    5536 FOX CHASE LN                                                                            CLARKSTON         MI    48346‐3914
GENE J KOESTER                                    4075 WEASEL TRAIL                                                                            LINCOLN           MI    48742‐9650
GENE J KUROSKY                                    6242 KNOB BEND DR                                                                            GRAND BLANC       MI    48439‐7459
GENE J TSCHIDA                                    2525 JEFFERY BLVD                                                                            CUMBERLAND        WI    54829‐9263
GENE J TSCHIDA & SANDRA L TSCHIDA JT TEN          2525 JEFFERY BLVD                                                                            CUMBERLAND        WI    54829‐9263
GENE J WILLIAMS                                   P O BOX203                                                                                   PERRINTON         MI    48871‐0203
GENE J WOZCIK                                     6051 WEDGEWOOD DR                                                                            GRAND BLANC       MI    48439‐4873
GENE JONAS & GLORIA L JONAS JT TEN                7920 MEADOW DR                                                                               WATERFORD         MI    48329‐4619
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GENE JORGENSON                                  11160 FREEDOM ROAD                                                                             KIMBOLTON       OH    43749‐9739
GENE JOSEY                                      10146 W KL AVE                                                                                 KALAMAZOO       MI    49009‐7990
GENE K BRYANT                                   RR 2 BOX 127                                                                                   LAKELAND        GA    31635‐9228
GENE K LEGG                                     4518 STILLBROOK                                                                                HOUSTON         TX    77035‐5026
GENE K PETERSON                                 2601 OLD VINES DR                                                                              WESTFIELD       IN    46074‐8533
GENE K SMITH & PAULETTE A SMITH TR GENE K &     4901 WOODFORD DR                                                                               FORT WAYNE      IN    46835‐1403
PAULETTE A SMITH REVOCABLE
GENE KELLY                                      4124 BRUHN CT                                                                                  SACRAMENTO      CA    95821‐4208
GENE KELLY CUST SHEILA KELLY UGMA NY            214‐C LARCHMONT ACRES                                                                          LARCHMONT       NY    10538‐3337
GENE L BONTRAGER                                50926 CR43                                                                                     MIDDLEBURY      IN    46540‐9405
GENE L CHARETTE                                 27 CHURCH ST                                                                                   PLAINVILLE      CT    06062‐2205
GENE L DAGGETT                                  1276 E 2575TH ST                                                                               CLAYTON         IL    62324‐2716
GENE L DERRINGER                                2750 SWANEY RD                                                                                 HARROD          OH    45850‐9476
GENE L EAGLE                                    1140 ORCHARD RD                                                                                RICHFIELD       NC    28137‐6726
GENE L FOX                                      24840 LITTLE MACK AVE                                                                          ST CLR SHORES   MI    48080‐1119
GENE L GYGER CUST JOHN GYGER UGMA AZ            181 E SILVER BUGLE DR                                                                          CAMP VERDE      AZ    86322‐7323
GENE L MACK                                     15924 LAWNHILL DR                                                                              LA MIRADA       CA    90638‐2653
GENE L MCDOUGLE                                 6471 CRESTLINE ROAD                                                                            GALION          OH    44833‐9725
GENE L PEOPLES JR                               PO BOX 562                                                                                     FORTSON         GA    31808‐0562
GENE L SCHUYLER                                 16 W JEFFERSON RD                                                                              PITTSFORD       NY    14534‐1902
GENE L VIOLA                                    1771 IRWIN RD                                                                                  STANDISH        MI    48658‐9746
GENE L WOOD                                     9891 S 600 W                                                                                   FAIRMOUNT       IN    46928‐9786
GENE LANZONI JR                                 8 MOUNTAIN VIEW COURT                                                                          WEST TRENTON    NJ    08628‐1846
GENE LOCKE                                      17 SHADY OAK DR                                                                                ENFIELD         CT    06082‐2310
GENE M COOK                                     5216 HWY V                                                                                     FRANKSVILLE     WI    53126‐9516
GENE M GEBER                                    266 ROESCH                                                                                     BUFFALO         NY    14207‐1240
GENE M HARSHBARGER & MRS SUE A HARSHBARGER JT   1632 NEUHAUS RD                                                                                FT WAYNE        IN    46808‐1788
TEN
GENE M KIESEL                                   1426 KENNEBEC                                                                                  GRAND BLANC     MI    48439‐4978
GENE M PATTERSON                                3402 SANTA CRUZ DR                                                                             FLINT           MI    48504‐3236
GENE M PETTINGILL                               107 SAVANNAH DR W                                                                              BEAR            DE    19701‐1635
GENE M RICE & DOROTHY A RICE JT TEN             610 GRAND AVENUE                      PO BOX 340                                               DONIPHAN        MO    63935‐0340
GENE M VALERIO                                  420 RIDGEWAY AVE                                                                               ROCHESTER       NY    14615‐3902
GENE M YOUNGBLOOD                               41 WOODLAND PARK DR                                                                            PARKERSBURG     WV    26104‐8052
GENE MASTA                                      407 WOODSIDE                                                                                   ROYAL OAK       MI    48073‐2651
GENE MC FADDEN                                  19610 MAGNOLIA                                                                                 SOUTHFIELD      MI    48075‐7310
GENE N FAUVER                                   676 OAKHILL                                                                                    BROOKLYN        MI    49230‐9032
GENE O BOND CUST TODD STEPHEN BOND UGMA MI      3671 MONTGOMERY RD                                                                             MARLETTE        MI    48453‐9119

GENE O GOOCH                                    8452 BLANK RD                                                                                  BROOKVILLE      OH    45309‐9634
GENE O SMITH                                    3004 W 175TH ST                                                                                HAZEL CREST     IL    60429‐1707
GENE O STUART                                   1009 BURLINGTON DRIVE                                                                          FLINT           MI    48503‐2978
GENE P BARBOUR                                  27721 BEACH BLVD EAST                                                                          ORANGE BEACH    AL    36561‐3980
GENE P BOLDUC                                   2361 LINCOLN MANOR DR                                                                          FLINT           MI    48507‐4415
GENE P BROOKS                                   PO BOX 13255                                                                                   DETROIT         MI    48213‐0255
GENE P CHAPUT                                   APT M‐14                              5330 SARA LN                                             WATERFORD       MI    48327‐3170
GENE P CUDE                                     2064 LORRAINE AVE SW                                                                           AIKEN           SC    29801‐2849
GENE P DUCKER                                   3320 BRIGGS RD                                                                                 OTTER LAKE      MI    48464‐9711
GENE P KELLY                                    PO BOX 6752                                                                                    YOUNGSTOWN      OH    44501‐6752
GENE P MIXON                                    600 FRANCES STREET                                                                             NOKOMIS         FL    34275‐2736
GENE P SACCO                                    2119 21ST LANE                                                                                 PALM BCH GDNS   FL    33418‐3574
GENE P SACCO & DOROTHY SACCO JT TEN             2119 21ST LANE                                                                                 PALM BCH GDNS   FL    33418‐3574
GENE P SACCO & JEAN LANSDOWNE JT TEN            2119 21ST LANE                                                                                 PALM BCH GDNS   FL    33418‐3574
GENE P SACCO & WILLIAM SACCO JT TEN             2119 21ST LANE                                                                                 PALM BCH GDNS   FL    33418‐3574
GENE PHILLIP CHRISLER                           17511 LURAY TERR                                                                               NATOMA          KS    67651‐9401
GENE POPE                                       2400 ANCHOR WAY                                                                                ANCHORAGE       KY    40223‐1602
GENE R BARNARD                                  1219 51ST AVE EAST LOT 124                                                                     BRADENTON       FL    34203‐4842
GENE R BLIVEN                                   16175 JOHN MORRIS RD                  # 104                                                    FORT MYERS      FL    33908‐3030
GENE R BREWER                                   15271 WALDEN CT                                                                                MACOMB          MI    48044‐5003
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GENE R CAPILLA                                   39100 VENETIAN DRIVE               HARRISON                                                 TOWNSHIP         MI    48045‐5713
GENE R DRAA                                      5896 STATE RT 7                                                                             KINSMAN          OH    44428‐9784
GENE R DRAA & MONA E DRAA JT TEN                 5896 STATE RT 7                                                                             KINSMAN          OH    44428‐9784
GENE R GAUTHIER & MARY C GAUTHIER JT TEN         456A WYLDEWOOD DR                                                                           OSHKOSH          WI    54904‐8609
GENE R JONES SR                                  1785 JUDITH RD                                                                              HARTLY           DE    19953‐2717
GENE R LAUER                                     1322 FOX FARM                                                                               ALPENA           MI    49707‐4346
GENE R LYONS                                     6475 S MORRISH ROAD                                                                         SWARTZ CREEK     MI    48473
GENE R MILLER                                    3755 COVERT                                                                                 WATERFORD        MI    48328‐1323
GENE R MILLER & JOYCE E MILLER JT TEN            4838 SOUTH COUNTY ROAD 200 WEST                                                             KOKOMO           IN    46902‐9101
GENE R MILLER & JOYCE E MILLER JT TEN            4838 SOUTH COUNTY ROAD 200 WEST                                                             KOKOMO           IN    46902‐9101
GENE R MOLNAR                                    1455 S OAKMONT                                                                              SPRINGFIELD      MO    65809‐2231
GENE R PINSKY & MISS MARCIA E PINSKY JT TEN      7423 CARTA VALLEY DR                                                                        DALLAS           TX    75248‐3015
GENE R REVIEA                                    ROUTE 1 BOX 189                                                                             MC FARLAND       CA    93250‐9724
GENE R STARK                                     41 DUCHESS COURT                                                                            CHEEKTOWAGA      NY    14225‐1772
GENE R WILSON                                    356 E RIDGEWOOD AVE                UNIT 1                                                   RIDGEWOOD        NJ    07450‐3358
GENE R WINNIE                                    4062 STANLEY RD                                                                             COLUMBIAVILLE    MI    48421‐9313
GENE RECKFORD                                    640 WEST END AVENUE                                                                         NEW YORK         NY    10024‐1019
GENE RICE                                        565 N NELSON AVE                                                                            WILMINGTON       OH    45177‐9041
GENE RICHARD KNIGHT                              2868 DUBLIN RD                                                                              STREET           MD    21154‐1704
GENE ROBERT BARTH                                10450 TWIN OAKS DR                                                                          DILLSBORO        IN    47018
GENE ROGER SPENCER                               4217 DELHI DR                                                                               DAYTON           OH    45432‐3409
GENE ROVANE REVIEA                               ROUTE 1 BOX 189                                                                             MCFARLAND        CA    93250‐9724
GENE S CROOK                                     1538 WAGONTRAIN SE                                                                          ALBUQUERQUE      NM    87123‐5115
GENE S DILLARD & KAREN J DILLARD JT TEN          1837 ROSEMONT                                                                               BERKLEY          MI    48072‐1845
GENE S DUNMYER                                   1202 DEERFIELD CIR                                                                          HAMILTON         OH    45013
GENE S FERRY                                     11578 FARMHILL DR                                                                           FENTON           MI    48430‐2532
GENE S RAPER & WADE DOUGLAS RAPER JT TEN         8306 BRONWOOD RD                                                                            RICHMOND         VA    23229‐3245
GENE S SWARTZ & JANET M SWARTZ JT TEN            14495 N 1800 EAST ROAD                                                                      PONTIAC          IL    61764
GENE S WEBSTER                                   7632 GARDEN LANE                                                                            KALAMAZOO        MI    49002‐4468
GENE SARAZEN JR                                  5064 ALENCIA CT                                                                             DELRAY BEACH     FL    33484‐6666
GENE SMALLWOOD JR                                PO BOX 786                                                                                  WHITESBURG       KY    41858‐0786
GENE SPRANDO & ROSE SPRANDO JT TEN               19 LINCOLN AVE                                                                              BURGETTSTOWN     PA    15021‐1128
GENE SROKA                                       1435 SILVER LINDEN CT                                                                       FORT WAYNE       IN    46804‐5213
GENE THOMAS ADAMIC                               7752 DEBONAIRE DR                                                                           MENTOR           OH    44060‐5339
GENE TUTTLE GAVIN                                APT 6‐H                            57 W 75TH ST                                             NEW YORK         NY    10023‐2008
GENE V FABER                                     1751 W MASON RD                                                                             OWOSSO           MI    48867‐1364
GENE VERNON QUINN                                6637 RIDGE RD                                                                               SYKERSVILLE      MD    21784‐5953
GENE W ARNOLD                                    4080 GEORGE HAWK RD                                                                         SHELBY           OH    44875‐9000
GENE W BRYANT                                    5120 MCDOWELL ROAD                                                                          LAPEER           MI    48446‐8057
GENE W CASE                                      4087 WILLANDALE CIRCLE                                                                      ELMIRA           MI    49730
GENE W CRONENWETT                                PO BOX 505                                                                                  GALION           OH    44833‐0505
GENE W CROUCH                                    PO BOX 43                                                                                   PROSPERITY       PA    15329‐0043
GENE W GRACE                                     970 RIBAUT ROAD                                                                             BEAUFORT         SC    29902‐5486
GENE W HENSSLER & PATRICIA T HENSSLER JT TEN     1420 MASTERS COURT NW                                                                       KENNESAW         GA    30144
GENE W HUNT                                      2096 W LAKEVIEW                                                                             STANDISH         MI    48658‐9616
GENE W LAND                                      7500 E BRADSHAW RD                 PO BOX 238                                               WALHALLA         MI    49458‐0238
GENE W MOESSNER                                  5456 PINE ST                                                                                ANDERSON         CA    96007‐8272
GENE W REEK                                      3243 W JONES LAKE RD                                                                        GRAYLING         MI    49738‐8604
GENE W SMITH & SHARON SMITH JT TEN               6330 E 400 S                                                                                LAOTTO           IN    46763‐9772
GENE W STROBEHN                                  6124 BURNSIDE CIRCLE                                                                        ORLANDO          FL    32822‐4032
GENE W SZWAJKOS                                  1431 STOLLE RD                                                                              ELMA             NY    14059‐9732
GENE W TRAXLER                                   6209 N 800 W                                                                                SHARPSVILLE      IN    46068‐9236
GENE W VEASEY                                    3250 REGAL PL                                                                               SAINT LOUIS      MO    63139‐1520
GENE WADE & CHERYL WADE JT TEN                   BOX 3327                                                                                    CHINO VALLEY     AZ    86323‐2711
GENE WALLACE & SANDRA WALLACE JT TEN             PO BOX 84                                                                                   BINGHAM          ME    04920‐0084
GENEEN ISAACS                                    405 AURORA AVE #2                                                                           CLIFFSIDE PARK   NJ    07010‐2101
GENEEN M BRANDT                                  PO BOX 851                                                                                  ARLINGTON        TN    38002‐0851
GENEFI FRATTEROLO                                140 STAFFORD ROAD                                                                           COLONIA          NJ    07067‐3223
GENEIEVE L MURPHY                                PO BOX 1123                                                                                 MT VERNON        KY    40456‐1123
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GENEIVA L ZUNDEL                                 7531 N FARMINGTON RD                                                                            WESTLAND          MI    48185‐9411
GENELLE MARIE DOLAN MC MAHON                     405 DENMAN ROAD                                                                                 CRANFORD          NJ    07016‐2707
GENELLE TIMPERLAKE                               2001 OCEAN DR                                                                                   CORPUS CHRISTI    TX    78404‐1868
GENERAL BAILEY JR                                320 S 20TH ST                                                                                   SAGINAW           MI    48601‐1525
GENERAL BATTERY CORP                             PO BOX 14205                                                                                    READING           PA    19612‐4205
GENERAL INVESTMENT INC                           822 LAKEWOOD DR                                                                                 MONETT            MO    65708‐9300
GENERAL J LAMPLEY                                2891 MERRIWEATHER N W                                                                           WARREN            OH    44485‐2510
GENERAL L BRYANT                                 PO BX 3436                                                                                      BALTO             MD    21225‐0436
GENERAL L CARTER                                 2836 SANGSTER AVE                                                                               INDIANAPOLIS      IN    46218‐2618
GENERAL L KING                                   PO BOX 104                                                                                      LENOIR            NC    28645‐0104
GENERAL L REID                                   370 JENNINGS RD                                                                                 SEVERNA PARK      MD    21146
GENERAL R GREENFIELD                             20532 BURT RD                                                                                   DETROIT           MI    48219‐1305
GENERAL TREASURER STATE OF RHODE ISLAND          UNCLAIMED PROPERTY                  40 FOUNTAIN STREET 7TH FLOOR                                PROVIDENCE        RI    02903‐1800
GENEROSO S VILLEGAS                              8225 GOLDEN CYPRESS AVE                                                                         LAS VEGAS         NV    89117‐9135
GENESIS R COLLINS                                3835 COTTAGE AVE                                                                                BALTIMORE         MD    21215‐7642
GENET C SOULE                                    3400 W RIGGIN RD                    UNIT 44                                                     MUNCIE            IN    47304‐6216
GENETTA SPRINGFIELD                              1121 DOGWOOD LN                                                                                 ASHVILLE          AL    35953‐4017
GENETTE BYRD                                     221 BRADFORD                                                                                    BENTON HARBOR     MI    49022‐6003
GENEVA A BRYANT                                  227 CEMETERY RD                     #2                                                          WILLIAMSBURG      KY    40769‐1511
GENEVA A BURNS                                   13554 KANSAS AVE                                                                                ASTATULA          FL    34705‐9300
GENEVA A COLE                                    15700 PROVIDENCE DR                 APT 607                                                     SOUTHFIELD        MI    48075‐3128
GENEVA A GRAY                                    7847 LOIS CIR                       APT 323                                                     DAYTON            OH    45459‐3696
GENEVA A JACOBSON                                PO BOX 189                                                                                      FIFE LAKE         MI    49633‐0189
GENEVA A MOTT                                    1401 MCKEE ROAD                                                                                 BAKERSFIELD       CA    93307‐5991
GENEVA A PRUITT                                  4890 SPOT RD                                                                                    CUMMING           GA    30040
GENEVA A VAUGHAN                                 1704 S HARRISON ST                                                                              ALEXANDRIA        IN    46001‐2818
GENEVA ALLEN                                     PO BOX 6083                                                                                     CINCINNATI        OH    45206‐0083
GENEVA B BROWN                                   4140 PONALA LAKE CIR                                                                            LITHONIA          GA    30038‐3843
GENEVA B CLEMMONS                                2458 ANNANDALE DR                                                                               MARIETTA          GA    30066‐5710
GENEVA B CLEMMONS & JACK CLEMMONS JT TEN         2458 ANNANDALE DR                                                                               MARIETTA          GA    30066‐5710
GENEVA B POLLOCK TR UA 11/23/83 GENEVA B POLLOCK 1061 S W SKYLINE BLVD                                                                           PORTLAND          OR    97221‐1544
TRUST
GENEVA BALL                                      4930 BETHEL RD                                                                                  WILLIAMSBURG      KY    40769‐5513
GENEVA C WADDLE                                  7306 FOXHILL ROAD                                                                               PANAMA CITY       FL    32404‐4583
GENEVA CARTER                                    705 BIRCHWOOD DR                                                                                SANDUSKY          OH    44870‐7324
GENEVA CULLERS                                   212 S JENISON AVE                                                                               LANSING           MI    48915‐1758
GENEVA D LYONS                                   5056 BIRCHWOOD FARMS DR                                                                         MASON             OH    45040‐3620
GENEVA DENT                                      207 ODETTE                                                                                      FLINT             MI    48503‐1074
GENEVA E OBERLE                                  2577 HAVERKNOLL DR                                                                              CINCINNATI        OH    45231‐1001
GENEVA E WISE                                    PO BOX 46064                                                                                    BATON ROUGE       LA    70895‐6064
GENEVA E WISE                                    PO BOX 46064                                                                                    BATON ROUGE       LA    70895‐6064
GENEVA EDWARDS                                   19 EARL ST                                                                                      ROCHESTER         NY    14611‐3727
GENEVA F ROWE                                    2286 FALLEN TIMBER DR #B                                                                        SANDUSKY          OH    44870‐5168
GENEVA F RYNARD                                  17710 VILLAGE BROOKE DR W           APT C                                                       NOBLESVILLE       IN    46062‐7743
GENEVA F STUHLREYER                              7476 TIMBERDALE DR                                                                              WEST CHESTER      OH    45069‐1170
GENEVA FAIRLEY                                   44 JUANITA BLACKWELL DR                                                                         BEAUMONT          MS    39423‐2008
GENEVA FAYE PACE                                 10813 25 1/2 MILE RD                                                                            ALBION            MI    49224‐9752
GENEVA GILBERT‐CURTIS                            231 LATHROP ST                                                                                  LANSING           MI    48912‐2203
GENEVA GIVENS                                    915 WASHINGTON AVE                  #1                                                          LINDEN            NJ    07036‐2949
GENEVA H HOLLAND                                 903 FAIRWAY AVE                                                                                 NORTH AUGUSTA     SC    29841‐3332
GENEVA H VANNOY                                  4014 JUNIPER CT                                                                                 BEDFORD HEIGHTS   OH    44146‐2364

GENEVA HAGAN DAVIS                            1740 N ENSIGN PT                                                                                   CRYSTAL RIVER     FL    34429‐7589
GENEVA HANEY                                  259 GRAND VISTA DR                                                                                 DAYTON            OH    45440‐3303
GENEVA HERRON                                 15240 FORDHAM                                                                                      DETROIT           MI    48205‐2956
GENEVA HOLLER & PEGGY ANN ADAMS TR UW OSCAR C 1559 MCDOWELL RD                                                                                   EVANSVILLE        IN    47712
HOLLER
GENEVA I ANDERSON TR GENEVA WHITECOTTON TRUST 659 S KENTWOOD                                                                                     SPRINGFIELD       MO    65802‐3229
UA 05/14/91
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GENEVA I METCALF                                    2854 SUGARTREE RD                                                                                BETHEL             OH    45106‐9509
GENEVA J EULISS                                     864 W LOIS ST                                                                                    SPRINGFIELD        MO    65807‐2513
GENEVA J EULISS & C L EULISS JT TEN                 864 W LOIS ST                                                                                    SPRINGFIELD        MO    65807‐2513
GENEVA J ZISSEL                                     450 LINCOLN AVE                                                                                  UNION              NJ    07083‐8226
GENEVA K ADAMS                                      14978 SOMERS CHURCH RD                                                                           THOMPSONVILLE      IL    62890‐4822
GENEVA K HUMMEL                                     ATTN GENEVA K HUMMEL MCVICKER           1406 EAST MAIN ST                                        BERLIN             PA    15530‐1435
GENEVA L BOLLNAK                                    PO BOX 538                                                                                       SEARCY             AR    72145‐0538
GENEVA L DAVIS TOD JULIANNE BURKE SUBJECT TO STA    1400 N WOODLAWN APT 8A                                                                           WICHITA            KS    67208
TOD RULES
GENEVA L DAVIS TOD SUSAN ARNOLD SUBJECT TO STA      1400 NORTH WOODLAWN STAPT 8A                                                                     WICHITA            KS    67208
TOD RULES
GENEVA L DISHON                                     499 DELRAY STREET                                                                                KOKOMO             IN    46901‐7065
GENEVA L JONES                                      6 WILLIE JONES LOOP DR                                                                           WAYNESBORO         MS    39367‐8085
GENEVA L LIVERMORE                                  1618 HENRY RUFF RD                                                                               GARDEN CITY        MI    48135‐1406
GENEVA L REGIER                                     16352 REDLANDS LANE                                                                              HUNTINGTON         CA    92647‐4041
                                                                                                                                                     BEACH
GENEVA L TERRY & JESSE E TERRY III JT TEN           4112 ASCOT LN                                                                                    WARRENSVILLE HTS   OH    44122‐6922

GENEVA LOILAND                                      895 8TH ST NE                                                                                    THOMPSON           ND    58278‐9338
GENEVA LUCKETT GDN BRENDA LUCKETT & JOSEPH B        STERK AVE                                                                                        LEBANON            KY    40033
LUCKETT
GENEVA M BALL                                       1375 M‐15 NORTH                                                                                  ORTONVILLE         MI    48462‐8563
GENEVA M BYMASTER                                   2607 RYCROFT CT                                                                                  CHESTERFIELD       MO    63017‐7108
GENEVA M EALY                                       1012 LAKEVIEW PKWY                                                                               LOCUS GROVE        VA    22508‐5257
GENEVA M POWELL                                     4246 PHILADELPHIA DR                                                                             DAYTON             OH    45405‐1926
GENEVA M SISSON                                     17031 US HIGHWAY 301                    # 119                                                    DADE CITY          FL    33523
GENEVA MACK                                         31 INVERNESS CIRCLE                                                                              E AMHERST          NY    14051‐1228
GENEVA MARKS                                        9855 E IRVINGTON RD                     UNIT 151                                                 TUCSON             AZ    85730‐5232
GENEVA MCALEXANDER                                  BOX 123                                                                                          ORE CITY           TX    75683‐0123
GENEVA MCCARTHY                                     2402 E 12TH                                                                                      MUNCIE             IN    47302‐4676
GENEVA P SHIVLEY                                    619 GROVE ST                                                                                     EDEN               NC    27288‐3254
GENEVA R HALL & BRETT A TIRRELL & SCOTT G TIRRELL   1 PENNY LN APT 231                                                                               KENNEBUNK          ME    04043
JT TEN
GENEVA R SMITH                                      18 QUINWOOD                                                                                      JACKSON            TN    38305‐9454
GENEVA R SMITH & RAY L SMITH JT TEN                 18 QUINWOOD                                                                                      JACKSON            TN    38305‐9454
GENEVA S WRIGHT TR GENEVA WRIGHT TRUST UA           1615 KEN KLARE DR                                                                                BEAVERCREEK        OH    45432‐1911
04/13/99
GENEVA SCOTT                                        PO BOX 343                                                                                       BIBURNUM           MO    65566‐0343
GENEVA SIAS BERRY                                   1632 WAVERLY                                                                                     MEMPHIS            TN    38106‐2424
GENEVA SMITH                                        5719 STILLWELL‐BECKETT ROAD                                                                      OXFORD             OH    45056‐8931
GENEVA SOWDER                                       100 WELLER AVE                                                                                   CENTERVILLE        OH    45458‐2405
GENEVA T SMART                                      4136 GEORGE TAYLOR RD                                                                            SPENCER            VA    24615
GENEVA T WILLIAMS                                   600 W ARAPAHO RD                        APT 221                                                  RICHARDSON         TX    75080‐4437
GENEVA TATRO                                        500 10 MILE RD NE                                                                                COMSTOCK PARK      MI    49321‐9660
GENEVA THOMAS                                       3070 COUNTRY GREEN CT APT E                                                                      FLORISSANT         MO    63033‐3833
GENEVA WEST CUST CHAUNCY D WEST UGMA KY             700 ST ANTHONY LANE                                                                              FLORISSANT         MO    63033
GENEVIA M FONTENETTE                                11248 WOODCOCK                                                                                   PACOIMA            CA    91331‐2345
GENEVIA NASSIF                                      1491 VAN WAGONER DRIVE                                                                           SAGINAW            MI    48638
GENEVIA TAYLOR                                      562 E WITHERBEE ST                                                                               FLINT              MI    48505‐4703
GENEVIEV M MASON                                    3362 SASHABAW ROAD                                                                               WATERFORD          MI    48329‐4050
GENEVIEVE A GAGNE                                   135 DEE AVE                                                                                      MERIDEN            CT    06451‐5035
GENEVIEVE A GRECO                                   3332 WINDGATE DR                                                                                 MURRYSVILLE        PA    15668‐9253
GENEVIEVE A MERCADO                                 1187 WEAVER FARM LANE                                                                            SPRING HILL        TN    37174‐2186
GENEVIEVE A SKARUPA                                 1290 W 115 ST                                                                                    CLEVELAND          OH    44102‐1339
GENEVIEVE ANN SCHILLER TOD JOHN P SCHILLER          6430 S 64TH AVE                                                                                  MONTAGUE           MI    49437
SUBJECT TO STA TOD RULES
GENEVIEVE B MURPHY                                  409 HIAWATHA TRAIL                                                                               PINEVILLE          LA    71360‐4406
GENEVIEVE B MURPHY USUFRUCTUARY CYRIL JOHN          409 HIAWATHA TRAIL                                                                               PINEVILLE          LA    71360‐4406
MURPHY III NAKED OWNER
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GENEVIEVE B MURPHY USUFRUCTUARY MICHAEL PAUL 409 HIAWATHA TRAIL                                                                                PINEVILLE       LA    71360‐4406
MURPHY NAKED OWNER
GENEVIEVE B MURPHY USUFRUCTUARY PHILIP DAVID      409 HIAWATHA TRAIL                                                                           PINEVILLE       LA    71360‐4406
MURPHY NAKED OWNER
GENEVIEVE C CADMAN                                PO BOX 65                                                                                    BURR OAK        MI    49030‐0065
GENEVIEVE C COLBY                                 10373 BRIAR CREEK PL                                                                         CARMEL          IN    46033‐4111
GENEVIEVE C GENGLER                               731 W RIDGEVIEW DR                  APT 1                                                    APPLETON        WI    54914‐1486
GENEVIEVE C ROSINSKI                              31402 BRETZ                                                                                  WARREN          MI    48093‐1639
GENEVIEVE C SHAVER                                507 W RIVERSIDE HARBOR DR                                                                    POST FALLS      ID    83854‐7747
GENEVIEVE CAMPBELL                                6910 SPRINGTREE LA                                                                           LANSING         MI    48917‐9670
GENEVIEVE CHYWSKI                                 1222 HARCROSS LN                                                                             DELTONA         FL    32738‐6922
GENEVIEVE CURTIS                                  44 MOUNTAIN CIRCLE NORTH                                                                     WEST MILFORD    NJ    07480‐3218
GENEVIEVE D MILLER TR GENEVIEVE D MILLER TRUST UA 3364 CARDINAL LANE                                                                           MARATHON        WI    54448‐9316
11/09/01
GENEVIEVE E HESS                                  7271 PLEASANTS VALLEY ROAD                                                                   VACAVILLE       CA    95688‐9713
GENEVIEVE E SHARP                                 10 HEWLETT AVE                                                                               NEW CASTLE      DE    19720‐3626
GENEVIEVE E SNOW & DEBORAH SNOW VALDIVIEZ JT      11348 KNGSLEY DRIVE                                                                          GRAND BLANC     MI    48439‐1226
TEN
GENEVIEVE EUGENIA PORTER LIFE TENANT U‐W EVA L    2750 E DEL MAR BLVD                                                                          PASADENA        CA    91107‐4373
KESTER
GENEVIEVE F BAILLARGEON                           277 PALMER ST                                                                                NEW BEDFORD     MA    02740‐2558
GENEVIEVE F SCHRYVER                              957 BUCK RUN RD                                                                              WILLINGTON      OH    45177‐9443
GENEVIEVE FRANCES WATERS                          775 TANGLEWOOD DR                                                                            PENSACOLA       FL    32503‐3230
GENEVIEVE G FAHEY                                 84 FAUN BAR AVE                                                                              WINTHROP        MA    02152‐2525
GENEVIEVE G KRAUS & DIANE A FLOWERS & BARBARA J 620 HOLLYWOOD DR                                                                               MONROE          MI    48162
DIVIZIO JT TEN
GENEVIEVE GATTERMAN & DAVID E GATTERMAN JT TEN 2875 PARKWAY DR                                                                                 RENO            NV    89502‐9506

GENEVIEVE GLISZCZYNSKI                           344 MADISON STREET                                                                            LINDEN          NJ    07036‐3532
GENEVIEVE GREENWELL                              16764 BEAVERLAND                                                                              DETROIT         MI    48219‐3757
GENEVIEVE GUTIERREZ                              8050 SOUTH MELVINA AVE                                                                        BURBANK         IL    60459‐1843
GENEVIEVE H BRYLINSKI                            48 N EDWARD ST                                                                                SAYREVILLE      NJ    08872‐1567
GENEVIEVE H DOTSON                               6773 7 MILE ROAD                                                                              SOUTH LYON      MI    48178‐9651
GENEVIEVE HETTRICK                               48 RIVER RD                                                                                   RIVERHEAD       NY    11901‐2413
GENEVIEVE HODGES                                 PO BOX 11326                                                                                  WATERBURY       CT    06703‐0326
GENEVIEVE I ANDERSON                             3060 MAHAFFEY LANE                                                                            PARIS           TX    75460‐6358
GENEVIEVE I HEALEY                               220 ST IVES NORTH                                                                             LANSING         MI    48906
GENEVIEVE J DAILY                                108 STONEY BROOK DR                                                                           EATON           OH    45320‐1368
GENEVIEVE J DRAFT                                26424 STOLLMAN DR                                                                             INKSTER         MI    48141‐1338
GENEVIEVE J HAYES                                12600 CALPINE ROAD                                                                            PHILADELPHIA    PA    19154‐1434
GENEVIEVE J JAKUBEK                              PO BOX 489                                                                                    RANSOMVILLE     NY    14131‐0489
GENEVIEVE J JOSEFOVIC                            14511 REDDINGTON                                                                              MAPLE HEIGHTS   OH    44137
GENEVIEVE J MCKIBBEN                             2925 ROANOKE AVE                                                                              KETTERING       OH    45419
GENEVIEVE JOAN LAROTONDA                         2109 HOLBORN ROAD                                                                             WILMINGTON      DE    19808
GENEVIEVE JOHNSON                                40 WILLOWICK COURT                                                                            LITHONIA        GA    30038‐1720
GENEVIEVE K KRAUS                                247 BROOKS AVE                                                                                ROCHESTER       NY    14619‐2457
GENEVIEVE KARCHER                                1018 KARCHER DR                                                                               ALLISON PARK    PA    15101‐4174
GENEVIEVE KEHL                                   PO BOX 81                                                                                     NORTHPORT       MI    49670‐0081
GENEVIEVE KOZUCHOWSKI                            9170 SHERIDAN DR                                                                              CLARENCE        NY    14031‐1447
GENEVIEVE KRUSZEWSKI                             51429 ACE DR                                                                                  MACOMB          MI    48042‐4358
GENEVIEVE KUKLENSKI STANLEY                      6611 BLUEGRASS DR                                                                             ANDERSON        IN    46013‐9575
GENEVIEVE L HARTLIEB                             2906 CROOKED CREEK DR                                                                         CARROLLTON      TX    75007‐5007
GENEVIEVE L KRUPA                                11211 E 12 MILE RD                                                                            WARREN          MI    48093‐6443
GENEVIEVE L LYNCH & CAROLE C PENNINGTON &        9125 N CENTER RD                                                                              CLIO            MI    48420‐9759
RICHARD G LYNCH JT TEN
GENEVIEVE LEFEVRE                                4971 GUENETTE ST                     LAVAL QC                               H7T 2V7 CANADA
GENEVIEVE LINK FRYE                              1705 PIPER LN 102                                                                             DAYTON          OH    45440‐5093
GENEVIEVE LISHOK                                 117 CLARK ST                                                                                  CLARKS GREEN    PA    18411‐1275
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GENEVIEVE LITOGOT & LAWRENCE LITOGOT JT TEN      15026 FAIRFIELD                                                                               LIVONIA            MI    48154‐3064

GENEVIEVE M BAK                                  52 ANDRES PLACE                                                                               CHEEKTOWAGA        NY    14225‐3204
GENEVIEVE M BERNARD                              2924 HAZEL AVE                                                                                DAYTON             OH    45420‐3011
GENEVIEVE M CASE                                 329 COLD SPRING RD                                                                            MONTICELLO         NY    12701‐4201
GENEVIEVE M CIOCHON                              526 AUTUMN DRIVE                                                                              FLUSHING           MI    48433
GENEVIEVE M CZUPICH                              8628 BUERK DR                                                                                 TEMPERANCE         MI    48182‐9415
GENEVIEVE M HOARD                                9230 BRAY RD                                                                                  MILLINGTON         MI    48746‐9521
GENEVIEVE M JOHNSON                              10205 COGGINS AVE                                                                             SUN CITY           AZ    85351
GENEVIEVE M LEONARD                              6217 MONROE VILLAGE                                                                           MONROE             NJ    08831‐1944
                                                                                                                                               TOWNSHIP
GENEVIEVE M MATULA                               515 NORTH PARK DR                                                                             ROCHESTER          NY    14609‐1019
GENEVIEVE M RAPP & CARL S RAPP & SUSAN A RAPP JT 1111 ROCKY ROAD                                                                               LAWRENCEVILLE      GA    30044‐6211
TEN
GENEVIEVE M RATKOWSKI & EUGENE RATKOWSKI JT      PO BOX 6065                                                                                   EUREKA             CA    95502‐6065
TEN
GENEVIEVE M RATKOWSKI & MICHELLE CARLISLE JT TEN 10550 STATELINE RD                                                                            SUMMERS            AR    72769

GENEVIEVE M RUSSELL                              125 LAKEWOOD AVE                                                                              CRYSTAL LAKE       IL    60014‐5233
GENEVIEVE M SZADO                                10355 ELIZABETH DRIVE                                                                         PINCKNEY           MI    48169‐9767
GENEVIEVE M SZADO & RICHARD SZADO JT TEN         10355 ELIZABETH DR                                                                            PINCKNEY           MI    48169‐9767
GENEVIEVE M WIGDA                                10836 CALLE VERDE APT 204                                                                     LA MESA            CA    91941
GENEVIEVE MARIE KESTER & EDWINA KESTER JT TEN    37 E FORT LEE RD                                                                              BOGOTA             NJ    07603‐1328

GENEVIEVE MOORE & DORIS MOORE NORBURY JT TEN     ROUTE 2                              BOX 118                                                  MARLINTON          WV    24954‐9613

GENEVIEVE NORUS                                  1121 VINEWOOD                                                                                 DETROIT            MI    48216‐1497
GENEVIEVE P NORTH & GERALD B NORTH TR UA 10‐17‐ 3060 VALLEY FARMS RD APT 221                                                                   INDIANAPOLIS       IN    46214‐1593
79
GENEVIEVE PEAVY PAUL P PEAVY & PAULA J PEAVY JT  9303 COMMONWEALTH AVE                                                                         JACKSONVILLE       FL    32220‐1246
TEN
GENEVIEVE PHILLIPS                               10760 WORDEN                                                                                  DETROIT            MI    48224‐1164
GENEVIEVE PONKE RICHARD PONKE & WILLIAM PONKE 33231 GROTH DR                                                                                   STERLING HEIGHTS   MI    48312‐6709
JT TEN
GENEVIEVE PRUSACK TOD PAUL S RYAN SUBJECT TO STA 8857 HEADLEY                                                                                  STERLING HGTS      MI    48314‐2662
TOD RULES
GENEVIEVE R DIXON & ROBERTA L BONA JT TEN        8825 NEBRASKA                                                                                 LIVONIA            MI    48150‐3843
GENEVIEVE R MCKINNIS                             GARVEY MANOR                         128 LOGAN BLVD APT A 109                                 HOLLIDAYSBURG      PA    16648
GENEVIEVE R MOHR                                 1256 MESA JUNCTION DR SW                                                                      BYRON CENTER       MI    49315‐8073
GENEVIEVE ROGASKY                                59 EVERETT ST                                                                                 BRISTOL            CT    06010‐2986
GENEVIEVE ROOT                                   604 S 300 WEST                                                                                KOKOMO             IN    46902‐5842
GENEVIEVE S FRAZIER                              BOX 134 SOUTH 4TH STREET                                                                      FRANKTON           IN    46044‐0134
GENEVIEVE S HULBROCK                             6221 E MARITA ST                                                                              LONG BEACH         CA    90815‐4535
GENEVIEVE S OCHENKOWSKI & WALTER OCHENKOWSKI 26235 TALLMAN                                                                                     WARREN             MI    48089‐1064
JT TEN
GENEVIEVE SCHIPRITT                              355 COOK AVE                                                                                  MERIDEN            CT    06451‐6259
GENEVIEVE T GRAVES TR GENEVIEVE T GRAVES LIVING 6441 TARA HILL                                                                                 WASHINGTON         MI    48095
TRUST UA 05/16/00
GENEVIEVE T HAJDUK                               5941 ST HEDWIG                                                                                DETROIT            MI    48210‐3226
GENEVIEVE T MORLANDO                             3585 MILLER ST                                                                                PHILADELPHIA       PA    19134‐5406
GENEVIEVE T NOMER                                424 EAST LANE                                                                                 KERRVILLE          TX    78028‐2812
GENEVIEVE T PLESZ                                23281 DEANHURST                                                                               CLINTON TWP        MI    48035‐4301
GENEVIEVE TABOR                                  40 WINTERGREEN AVE E                                                                          EDISON             NJ    08820‐4111
GENEVIEVE TILLER                                 855 ADDISON DRIVE NE                                                                          ST PETERSBURG      FL    33716‐3443
GENEVIEVE URQUHART & ADAM JAMES URQUHART JR 13015 STAMFORD AVE                                                                                 WARREN             MI    48089‐1350
JT TEN
GENEVIEVE V LA BONDE TR GENEVIEVE V LA BONDE     19403 E TUFTS CIR                                                                             AURORA             CO    80015‐5821
TRUST UA 02/20/80
GENEVIEVE W MANOGUE                              402 ELM ST                                                                                    MILTON             WI    53563
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GENEVIEVE WROBLESKI                             406 MEADOW CIRCLE                                                                             VALLEY STREAM    NY     11580‐7005
GENEVIEVE ZIEBA                                 16164 NOTRE DAME                                                                              CLINTON TOWNSHIP MI     48038‐3343

GENEVIEVE ZINTECK                               2186 PICTURE ROCK AVE                                                                         HENDERSON         NV    89012‐2535
GENEVRA E KYLE                                  5710 ST ALBANS WAY                                                                            BALTIMORE         MD    21212
GENI P EVANS                                    15 THORNGATE DR                                                                               BRANDON           MS    39042‐2314
GENIA K BROWN                                   62 AVENUE B                                                                                   BAYONNE           NJ    07002‐2007
GENIA MELISSA SPERO                             C/O GENIA MELISSA TELKAMP            1045 VISTA GRANDE PVT                                    BERBANK           CA    91501‐1014
GENIE L CORWIN                                  PO BOX 3022                                                                                   LAWTON            OK    73502‐3022
GENIEL A POND CUST RYAN N POND UTMA UT          466 RIVER HEIGHTS BLVD                                                                        LOGAN             UT    84321‐5664
GENIEL A POND CUST STEVEN S POND UTMA UT        466 RIVER HEIGHTS BLVD                                                                        LOGAN             UT    84321‐5664
GENILDA JEAN KINNEY                             HC 86 BOX 272                                                                                 MATTAWAMKEAG      ME    04459‐9704
GENNARD CRAPIS                                  27541 W CHICAGO                                                                               LIVONIA           MI    48150‐3227
GENNARO CRAPIS & SAVERIA A CRAPIS JT TEN        27541 W CHICAGO                                                                               LIVONIA           MI    48150‐3227
GENNARO E IRACE ADM EST RAFAELE A IRACE         432 MILE SQUARE RD                                                                            YONKERS           NY    10701‐6331
GENNIE A MANN                                   2387 OLT RD                                                                                   DAYTON            OH    45418‐1751
GENNIE ANN MANN                                 2233 GARNET PL                                                                                COLUMBUS          OH    43232‐3904
GENNIE PRUDE JR                                 1123 MORNINGSIDE DR                                                                           ANDERSON          IN    46011‐2451
GENOIA SMITH                                    12880 IROQUOIS DRIVE                                                                          GRAND LEDGE       MI    48837‐8977
GENOLA FAYE JONES                               1459 S PACKARD AVE                                                                            BURTON            MI    48509‐2411
GENORA H GREENE                                 9676 SEVEN PATHS ROAD                                                                         SPRING HOPE       NC    27882‐8966
GENTLE WILLIAM CLEMONS                          1206 W 5TH AVE                                                                                FLINT             MI    48504‐4969
GENUS THOMAS                                    3500 WAINWRIGHT                                                                               LANSING           MI    48910
GEO M KEIM                                      9034 CALLAWAY DR                                                                              NEW PORT RICHEY   FL    34655‐4612

GEOFF BAILEY                                     10818 FERN TERRACE DR                                                                        HOUSTON           TX    77075‐5052
GEOFF WRIGHT                                     AC 2                                20965 TANYARD ESTATES DR                                 PRESTON           MD    21655‐1452
GEOFF WRIGHT I                                   20965 TANYARD ESTATES DR                                                                     PRESTON           MD    21655‐1452
GEOFFERY ROSKE                                   1501 CENTENNIAL PKWY                                                                         WAUNAKEE          WI    53597‐3019
GEOFFREY A BLAIR                                 8929 ROBEY DR                                                                                INDIANAPOLIS      IN    46234‐1614
GEOFFREY A HICKOK                                15550 26TH ST                                                                                GOBLES            MI    49055‐9213
GEOFFREY A LEVAND                                470 BELLAIRE                                                                                 DES PLAINES       IL    60016‐4808
GEOFFREY A O'MEARA & ALICE E HOLMES JT TEN       4419 NW 22ND ST                                                                              GAINESVILLE       FL    32605‐1744
GEOFFREY A WIEGMAN                               14 CAPTAIN TODD WAY                                                                          HARWICH           MA    02645‐1245
GEOFFREY A WRIGHT                                5828 VALLET DR                                                                               CLARKSTON         MI    48348‐3062
GEOFFREY ALAN SCHLENDER                          12516 ROSEWOOD DR                                                                            HOMER GLEN        IL    60441‐6883
GEOFFREY ALLEN CRIM                              4415 E COYOTE WASH DR                                                                        CAVE CREEK        AZ    85331‐4025
GEOFFREY B EMSLIE                                372 HARRISON AVE                                                                             BERLIN            NJ    08091‐2137
GEOFFREY B LAURENZO                              2612 54TH ST                                                                                 DES MOINES        IA    50315
GEOFFREY B LULL                                  123 SUMMER ST                                                                                ACTON             MA    01720‐2258
GEOFFREY CLEVELAND                               31 CENTENNIAL NW                                                                             GRAND RAPIDS      MI    49504‐5921
GEOFFREY COOK & PAULINE J COOK JT TEN            1300 7TH AVE                                                                                 SACRAMENTO        CA    95818‐3747
GEOFFREY D BATTEN                                140 GLENVALE                        TORONTO ON                             M4G 2V9 CANADA
GEOFFREY D BROWN                                 464 PETERPAN RD                                                                              BRIDGEWATER       NJ    08807‐2228
GEOFFREY D EATON                                 121 YORKSHIRE DR                                                                             BELLVILLE         OH    44813‐1166
GEOFFREY D HANSEN                                4333 KRAFT AVE                                                                               STUDIO CITY       CA    91604‐2742
GEOFFREY D RIESER CUST GEOFFREY RYAN RIESER UTMA 8513 CABIN GROVE DRIVE                                                                       LEWISVILLE        NC    27023
NC
GEOFFREY E JAY                                   809 KNOLL DR                                                                                 LITTLE RIVER      SC    29566‐8437
GEOFFREY E MEYER                                 120 LONG POINT DR                                                                            AMELIA IS         FL    32034‐6406
GEOFFREY E WILLIAMS                              1584 THORNLEY ST ON                                                        N6K 0A9 CANADA
GEOFFREY ELTERICH                                76 BROOKMOOR RD                                                                              WEST HARTFORD     CT    06107‐3103
GEOFFREY F GITTLESON                             85 VISCOUNT DRIVE                   APT A‐42                                                 MILFORD           CT    06460‐5738
GEOFFREY FULLEN                                  10040 E HAPPY VALLEY RD             UNIT 364                                                 SCOTTSDALE        AZ    85255‐2381
GEOFFREY G GRUBBS                                13353 SCHOOLCRAFT                                                                            DETROIT           MI    48227‐3542
GEOFFREY G HALL                                  13960 S MAPLE ISLAND RD                                                                      TWIN LAKE         MI    49457
GEOFFREY G MARTIN CUST DOUGLAS BENN MARTIN       200 FARM HILL DR                                                                             GEORGETOWN        TX    78628‐5199
UGMA VA
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GEOFFREY G MARTIN CUST JENNIFER J MARTIN UGMA    200 FARM HILL DR                                                                               GEORGETOWN      TX    78628‐5199
VA
GEOFFREY G WHITE                                 1275 CABALLERO CT                                                                              SPRING HILL     FL    34608‐7448
GEOFFREY GUND                                    40 EAST 94TH STREET 31‐D                                                                       NEW YORK        NY    10128‐0759
GEOFFREY H DOBSON                                868 SHARPLESS RD                                                                               HOCKESSIN       DE    19707‐9668
GEOFFREY H WALSER & PEARLENNA R WALSER JT TEN    41 CHESNEY DR                                                                                  HENDERSON       NV    89074‐2707

GEOFFREY H WARD                                  1042 YOUNG WAY                                                                                 RICHMOND HILL   GA    31324‐7246
GEOFFREY HARRISON HAWKINS                        1251 N MAIN ST                                                                                 ANN ARBOR       MI    48104‐1040
GEOFFREY J FUNSTON                               1 PRINCE STREET                                                                                FARMINGDALE     NY    11735
GEOFFREY J MELUCCI                               2049 WASHINGTON RD                                                                             PITTSBURGH      PA    15241‐1555
GEOFFREY J PELKOWSKI                             35057 SUNSET DRIVE                                                                             OCONOMOWOC      WI    53066‐8734
GEOFFREY K BENTLEY                               282 AUTUMN LANE                                                                                CARLISLE        MA    01741‐1736
GEOFFREY K DUVAL                                 52 LORENA ROAD                                                                                 WINCHESTER      MA    01890‐3125
GEOFFREY KING NANCE                              4 SHELLEY PL                                                                                   HUNTINGTON      NY    11746
                                                                                                                                                STATION
GEOFFREY L HEWITT                                446 PASSIAC STREET APT 4B                                                                      HACKENSACK      NJ    07601‐1559
GEOFFREY L KNIGHT                                77 JEFFERSON DR                                                                                HUDSON          OH    44236‐2120
GEOFFREY L MOSER                                 7296 ANGEL RD NW                                                                               DUNDEE          OH    44624‐8843
GEOFFREY L SMITH                                 607 RIVERVIEW                                                                                  BOISE           ID    83712‐8242
GEOFFREY N GILES CUST ALEXANDER CR GILES UTMA    274 BALD EAGLE WAY                                                                             WILILAMSBURG    VA    23188‐4022
MD
GEOFFREY P CAVE CUST AMY P CAVE UTMA OH          1238 QUILLIAMS AVE                                                                             CLEVELAND HTS   OH    44121‐1838
GEOFFREY P CAVE CUST MATTHEW D CAVE UTMA OH      1238 QUILLIAMS AVE                                                                             CLEVELAND HTS   OH    44121‐1838

GEOFFREY P CHAMBERLAIN                           4 VALLEY VIEW CRT                     BULLEEN VICTORIA                       AUSTRALIA
GEOFFREY P STENZEL                               71 MARLBORO ST                        APT 6                                                    QUINCY          MA    02170‐2832
GEOFFREY R LEWELLEN                              1104 HERITAGE CT                                                                               WAUNAKEE        WI    53597‐2274
GEOFFREY R LEWELLEN & KIMBERLY D LEWELLEN JT TEN 1104 HERITAGE CT                                                                               WAUNAKEE        WI    53597‐2274

GEOFFREY R LEWELLEN & KIMBERLY D LEWELLEN JT TEN 1104 HERITAGE CT                                                                               WAUNAKEE        WI    53597‐2274

GEOFFREY R LEWELLEN & KIMBERLY D LEWELLEN JT TEN 1104 HERITAGE CT                                                                               WAUNAKEE        WI    53597‐2274

GEOFFREY R WELLER                            4681 DUNMORROW                                                                                     OKEMOS          MI    48864‐1252
GEOFFREY REILLY                              217 PAULISON AVE                                                                                   PT PLEASANT     NJ    08742‐2033
GEOFFREY RICHARD LARKIN                      PSC 37 BOX 419                                                                                     APO             AE    09459‐0005
GEOFFREY S ASHTON                            43510 RD 406                                                                                       COARSEGOLD      CA    93614‐9528
GEOFFREY S SHAVER                            1946 W BRADLEY PL UNIT 1E                                                                          CHICAGO         IL    60613
GEOFFREY STEPHEN POLL                        PO BOX 70164                                                                                       HOUSTON         TX    77270‐0164
GEOFFREY T GLASS                             3401 SANTA FE DR                                                                                   AUSTIN          TX    78741‐7013
GEOFFREY T SMITH                             BOX 261                                                                                            STATE LINE      PA    17263‐0261
GEOFFREY T TWETTEN                           1934 WOODED TRCE                                                                                   OWINGS          MD    20736‐9347
GEOFFREY W JENKINS                           2270 WOOD LENHART RD                                                                               LEAVITTSBURG    OH    44430‐9736
GEOFFREY W MISSAD                            1551 S OGDEN DR                                                                                    LOS ANGELES     CA    90019‐4902
GEOFFREY W TURNER                            129 IDA AVE                                                                                        DERBY           CT    06418‐2323
GEOFFREY WOLF CUST GAGE MATTHEW WOLF UTMA CT 61 SUNNYBROOK DR                                                                                   AVON            CT    06001‐2529

GEOFFRY LEADS CUST JORDAN ASHLEY LEADS UTMA CA 3780 BLUEBIRD CANYON RD                                                                          VISTA           CA    92083

GEOFFRY P BRADLEY & JUNE E BRADLEY JT TEN        5029 HOUSERS MILL RD                                                                           BYRON           GA    31008‐5553
GEOFREY D WIKLUND                                3951 STARSHINE TRAIL                                                                           BRIGHTON        MI    48114‐9286
GEOGE P RUSSAK TR UA 12/04/91 LIVING TRUST       1731 OAKLAND                                                                                   MADISON HEIGHTS MI    48071‐2254
GEORGE P RUSSAK
GEORDA E WILLIAMS                                527 SIR ARTHUR COURT                                                                           APOPKA          FL    32712‐3618
GEORDIE MCINNES                                  7 LANTERN LN                                                                                   CUMBERLAND      ME    04110‐1410
                                                                                                                                                FORESID
GEORG BUECHELE                                   HAUPTSTR 15                           D 86825 BAD          WOERISHOFEN       GERMANY
GEORG EHLERS                                     ALLGAEUERSTR 8                        65428 RUESSELSHEIM                     GERMANY
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GEORG PETER SCHAFFNER                           FRIEDRICH‐EBERT‐STR 81                  D‐64347 GRIESHEIM                      GERMANY
GEORG'ANN BINNEY FLETCHER AS HER SOLE &         PO BOX 936                                                                                       RANCHO SANTA FE   CA    92067‐0936
SEPERATE PROPERTY
GEORGANA M LAKE                                 467 DRIER ROAD                                                                                   WAKEFIELD         MI    49968‐9577
GEORGANN BANNER & PAULA COLE JT TEN             1877 WRIGHT MOUNTAIN RD                                                                          ROCK              WV    24747
GEORGANN E CUCICH                               1 EAST 14TH PL APT 1508                                                                          CHICAGO           IL    60605‐2785
GEORGANN JACOBS                                 38510 STAFFORD DR                                                                                ZEPHYRHILLS       FL    33540‐6531
GEORGANNE PATTERSON                             13360 BRANDON MILL DR NW                                                                         PATASKALA         OH    43062‐7078
GEORGE & JENNIE COLLINS FOUNDATION              2627 E 21ST ST STE 200                                                                           TULSA             OK    74114‐1728
GEORGE A ALBANY & RUTH G ALBANY JT TEN          221 ENGLE DRIVE                                                                                  WALLINGFORD       PA    19086‐6322
GEORGE A BAKER                                  7127 STATE RD                                                                                    E LANSING         MI    48823‐9302
GEORGE A BALLISH                                27 LORING PL                                                                                     ROCHESTER         NY    14624‐3712
GEORGE A BARDAR JR                              42200 SARATOGA CIRCLE                                                                            CANTON            MI    48187‐3596
GEORGE A BARRERA JR                             1734 CHELSEA CIR                                                                                 HOWELL            MI    48843‐7103
GEORGE A BARSKI                                 4 ST THOMAS CRT                                                                                  WILMINGTON        DE    19808‐4053
GEORGE A BATTS                                  338 MAIN ST                                                                                      WHITE PLAINS      NY    10601‐3659
GEORGE A BAUER                                  4782 TRI PAR DRIVE                                                                               SARASOTA          FL    34234
GEORGE A BELL                                   814 N PINE RIDGE COURT                                                                           BEL AIR           MD    21014‐5584
GEORGE A BENNETT                                PO BOX 554                                                                                       VERONA            OH    45378‐0554
GEORGE A BENZING & ELLEN BENZING JT TEN         140 MOUNTAIN AVE                                                                                 WARREN            NJ    07059‐5260
GEORGE A BESKO & BARBARA JEAN BESKO JT TEN      10224 N ELMS RD                                                                                  MONTROSE          MI    48457‐9194
GEORGE A BILLINGSLEY                            2337 CHICAGO BLVD                                                                                DETROIT           MI    48206‐3002
GEORGE A BOECKER                                ROUTE 1 ROAD J                                                                                   CLOVERDALE        OH    45827‐9801
GEORGE A BONILLIA                               3575 CHAUCER DR                                                                                  FREMONT           CA    94555‐2367
GEORGE A BOYER                                  3124 LAKE RD                                                                                     BROCKPORT         NY    14420‐9402
GEORGE A BRADLEY                                14 TALL PINE DR                                                                                  SUDBURY           MA    01776‐2256
GEORGE A BREHME                                 12 BIRCH TREE LANE                                                                               SPARTA            NJ    07871‐2323
GEORGE A BRINKHAUS                              1109 BROAD FIELDS DRIVE                                                                          LOUISVILLE        KY    40207‐4318
GEORGE A BRINKLEY                               PO BOX 625                                                                                       PIEDMONT          MO    63957‐0625
GEORGE A BROOKS                                 PO BOX 26                                                                                        FRANKLIN          OH    45005‐0026
GEORGE A BROOKS & JANE R BROOKS JT TEN          165 GEORGE ST                                                                                    LEE               MA    01238‐9339
GEORGE A BROOKS JR                              50 VIA FRANKO                                                                                    LEE               MA    01238‐9464
GEORGE A BROWN                                  5328 HELENSBURGH PL                                                                              ANTELOPE          CA    95843‐5914
GEORGE A BROWN                                  5690 W WEBSTER RD                                                                                MONTAGUE          MI    49437‐9492
GEORGE A BRUCE & B ALBERTA BRUCE JT TEN         57                                      5636 S WOODS TRL DR                                      COLUMBIA CITY     IN    46725‐9456
GEORGE A BRUNER                                 303 HARDEE ST                                                                                    DALLAS            GA    30132‐4257
GEORGE A BULLUSS JR                             200 ROYAL GRANT DR                                                                               WILLIAMSBURG      VA    23185‐4964
GEORGE A BUNDZA                                 22315 YALE                                                                                       ST CLAIR SHS      MI    48081‐2039
GEORGE A BUNK JR                                26 LADY DIANA CI                                                                                 MARLTON           NJ    08053‐3705
GEORGE A BURCHETT                               1416 MITSON BLVD                                                                                 FLINT             MI    48504‐4205
GEORGE A BUSH                                   8396 STILL MEADOWS DR                                                                            SHREVEPORT        LA    71129‐9751
GEORGE A BUSZKA TR GEORGE A BUSZKA TRUST UA     14722 WHEATFIELD LN                                                                              CARMEL            IN    46032‐5014
7/8/99
GEORGE A C KELLER & AILEEN N KELLER JT TEN      587 LAKE WASHINGTON DR                                                                           CHEPACHET         RI    02814‐1720
GEORGE A CAPPUCCI                               SUNSET ROAD                                                                                      GROTON            MA    01450
GEORGE A CARDEIRO                               1846 MISSION HILLS DR                                                                            WILMINGTON        NC    28405‐7700
GEORGE A CARROLL                                2550 HWY 39                                                                                      WILLISTON         SC    29853
GEORGE A CHALMERS                               2 SAND ROAD FLITION                     NR FLITWICK           MK 455DT         GREAT BRITAIN
GEORGE A CHALMERS                               2 SAND ROAD FLITION                     NR FLITWICK           ENGLANDMK455DT   GREAT BRITAIN
GEORGE A CHRISTOFF                              4955 GOLF VILLAGE DR                                                                             POWELL            OH    43065‐8049
GEORGE A COOK                                   529 HELEN ST                                                                                     MT MORRIS         MI    48458‐1922
GEORGE A CORWIN JR                              1604 KEYSTONE DR                                                                                 FRIENDSWOOD       TX    77546‐5844
GEORGE A CORWIN JR & VICTORIA W CORWIN JT TEN   1604 KEYSTONE DR                                                                                 FRIENDSWOOD       TX    77546‐5844

GEORGE A COURY & LILY K COURY JT TEN            805 PEMBERTON RD                                                                                 GROSSE POINTE     MI    48230‐1729
                                                                                                                                                 PARK
GEORGE A CRAIG                                  6021 COUNTRY CLUB RD                                                                             OSHKOSH           WI    54901‐9152
GEORGE A CROTHERS                               53 CITADEL DRIVE                                                                                 JACKSON           NJ    08527‐1813
GEORGE A CUARIO                                 1201 W EL MONTE ST                                                                               STOCKTON          CA    95207‐6917
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GEORGE A DANN                                   G5086 N BELSAY RD                                                                          FLINT            MI    48506
GEORGE A DAVIS                                  2929 ROCKWOOD PLACE                                                                        TOLEDO           OH    43610‐1620
GEORGE A DEAL & DOROTHY D DEAL TR GEORGE A DEAL 6415 S EDGEWATER DR                                                                        BELOIT           WI    53511‐9054
& DOROTHY D DEAL TRUST
GEORGE A DEDIE                                  27 GATEWAY RD                                                                              ROCHESTER        NY    14624‐4430
GEORGE A DELLI SANTI                            70 HIDDEN LAKE CIR                                                                         BARNEGAT         NJ    08005‐5595
GEORGE A DESHANO & MARGARET V DESHANO TR        1956 ALHAMBRA DR                                                                           ANN ARBOR        MI    48103‐5009
DESHANO FAM TRUST UA 12/09/96
GEORGE A DIMITROFF                              8231 PRAIRIE AVE                                                                           FLUSHING         MI    48433‐8861
GEORGE A DOOHAN                                 225 W CRAIG HILL DR                                                                        ROCHESTER        NY    14626‐3425
GEORGE A DORKO JR                               86 LIGHTCAP RD                                                                             LATROBE          PA    15650‐4111
GEORGE A DOUGLAS                                398 LOTSMITH RD NE                                                                         BROOKHAVEN       MS    39601‐9016
GEORGE A DOUGLASS JR                            7550 N PENN                                                                                INDIANAPOLIS     IN    46240‐2802
GEORGE A DOVAS                                  500 W 111TH ST APT 3F                                                                      NEW YORK         NY    10025‐1972
GEORGE A DOVAS                                  1046 NORTH KELLOGG AVE                                                                     SANTA BARBARA    CA    93111‐1025
GEORGE A DRAGAN JR                              PO BOX 60                         503 HALCOMB AVE                                          CLAIRTON         PA    15025‐1404
GEORGE A DRAKE & MARY A GREEN JT TEN            20699 HIDDEN LAKES DR                                                                      CHELSEA          MI    48118‐9533
GEORGE A DREW                                   1995 CELESTIAL DR NE                                                                       WARREN           OH    44484‐3982
GEORGE A EBERHARD                               47 AVE C                                                                                   SPRINGFIELD      MI    49015‐1934
GEORGE A EDGAR                                  33 WAYNE LANE                                                                              MERIDEN          CT    06450‐4721
GEORGE A ENDERS                                 2236 SAN REMO DR                                                                           BIG PINE KEY     FL    33043‐5105
GEORGE A EYLER                                  132 VANN DR                                                                                ASHFORD          AL    36312‐3406
GEORGE A FASSBINDER                             PO BOX 155                                                                                 FREEDOM          NY    14065‐0155
GEORGE A FELISKY & RONALD J FELISKY JT TEN      3350 HILLVIEW AVE                                                                          FLINT            MI    48504
GEORGE A FERCH                                  13461 SHAKAMAC DR                                                                          CARMEL           IN    46032‐9595
GEORGE A FINCH                                  5527 MAGNOLIA DR                                                                           RAVENNA          OH    44266‐9026
GEORGE A FINDLAY                                3347 NIXON RD                                                                              HOLIDAY          FL    34691‐3145
GEORGE A FLOHE & KATHRYN L FLOHE JT TEN         275 PARK FORREST BLVD                                                                      ENGLEWOOD        FL    34223‐6552
GEORGE A FOX                                    8009 DAVIS BLVD                   APT 5302                                                 N RICHLND HLS    TX    76180‐1940
GEORGE A FOY & GERALDINE A FOY JT TEN           PO BOX 492                                                                                 TALLMAN          NY    10982‐0492
GEORGE A FRALICK                                10389 DENTON HILL                                                                          FENTON           MI    48430‐2509
GEORGE A FRANZ TR UA 06/05/90 GEORGE A FRANZ    3158 GRACEFIELD ROAD              APT 623                                                  SILVER SPRING    MD    20904
TRUST
GEORGE A GALACHIUK                              54 LAFAYETTE AVE                                                                           BUFFALO          NY    14213‐1347
GEORGE A GALLION                                WEIHERALLEE 17                    D‐65388 SCHLANGENBAD                   GERMANY
GEORGE A GALLION                                21 AVE OF CHAMPIONS                                                                        NICHOLASVILLE    KY    40356‐9720
GEORGE A GLAUBIGER                              2447 NEW BERN AVE                                                                          RALEIGH          NC    27610‐1816
GEORGE A GOSNELL JR                             62 SPRING KNOLL COURT                                                                      COLORA           MD    21917‐1433
GEORGE A GROVE                                  5321 SODOM‐HUTCHINGS ROAD                                                                  FARMDALE         OH    44417‐9789
GEORGE A GRYSZOWKA                              3350 MAC ARTHUR LANE                                                                       INDIANAPOLIS     IN    46224‐2166
GEORGE A GUNDY                                  1125 ROCKPORT LN                                                                           COLUMBUS         OH    43235‐4040
GEORGE A HAMMOND                                172 SCOTT DR                                                                               WINDER           GA    30680‐7827
GEORGE A HARRIS                                 3195 LYLE ROAD                                                                             LEWISTON         MI    49756‐8500
GEORGE A HAVERSTICK                             2303 WEST BLACKMORE                                                                        MAYVILLE         MI    48744‐9766
GEORGE A HAYES                                  4274 CLARENCE AVE                                                                          SAINT LOUIS      MO    63115‐3001
GEORGE A HECKMAN                                5535 S HINMAN RD                                                                           FOWLER           MI    48835‐9232
GEORGE A HELM                                   5111 WILMINGTON PIKE                                                                       DAYTON           OH    45440‐2248
GEORGE A HOFFMAN & JOAN J HOFFMAN JT TEN        217 CR 830                                                                                 HENDERSON        AR    72544‐9062
GEORGE A HOLLODICK                              152 WARWICKE PLACE                                                                         ADVANCE          NC    27006‐8506
GEORGE A HOOVER                                 232 GLENMORE DR                                                                            CORAOPOLIS       PA    15108‐9653
GEORGE A HOOVER & MARILOU TRIMBER JT TEN        232 GLEN MOORE DR                                                                          CORAOPOLIS       PA    15108‐9653
GEORGE A HOVATTER                               16035 JONES ROAD                                                                           BROOKSVILLE      FL    34601‐4115
GEORGE A HUDSON                                 APT HR335                         719 MAIDEN CHOICE LN                                     CATONSVILLE      MD    21228‐6247
GEORGE A INGHAM & MARGARET M INGHAM JT TEN      5593 WOODWIND DR                                                                           BLOOMFIELD TWP   MI    48301‐1065

GEORGE A JAJUGA                               35319 UNIVERSITY                                                                             WESTLAND         MI    48185‐3639
GEORGE A JANCARIK                             8503 SHIPMAN RD                                                                              CORUNNA          MI    48817‐9733
GEORGE A JOHNSTON                             1565 S MAIN ST                                                                               CLYDE            OH    43410‐2043
GEORGE A JOHNSTON JR                          PO BOX 2026                                                                                  HOWELL           MI    48844‐2026
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GEORGE A KAPPAZ & MRS JESSIE F KAPPAZ JT TEN   603 BILBY STREET                                                                                      NEWTON            TX    75966‐1368
GEORGE A KENNEY                                23 GATES POND RD                                                                                      BERLIN            MA    01503‐1310
GEORGE A KENNEY JR                             6 WILKINS ST                                                                                          HUDSON            MA    01749‐1802
GEORGE A KISER JR                              5254 FIVE FORKS                                                                                       LILBURN           GA    30047‐6714
GEORGE A KOTJARAPOGLUS & JOAN H KOTJARAPOGLUS 4435 OLD WILLIAM PENN HWY                                                                              MURRYSVILLE       PA    15668‐1923
JT TEN
GEORGE A KRALOVICH CUST KRISTEN R KRALOVICH    1408 CHESTNUT LANE                                                                                    ROCHESTER HILLS   MI    48309‐1719
UGMA MI
GEORGE A KRIEGER                               11343 ROOSEVELT ROAD                                                                                  SAGINAW           MI    48609‐9774
GEORGE A KRISAN & MRS LORRAINE A KRISAN JT TEN 2606 S KENSINGTON AVE                                                                                 WESTCHESTER       IL    60154‐5131

GEORGE A LAMBERT                                    131 N RIVER ST                                                                                   EATON RAPIDS      MI    48827‐1326
GEORGE A LANE                                       9408 ENGLISH OAK DRIVE                                                                           INDIANAPOLIS      IN    46235‐1148
GEORGE A LEACH                                      2705 W BROWN RD                                                                                  MILLINGTON        MI    48746‐9636
GEORGE A LEFLEUR                                    BOX 48 FRANKLIN RD                                                                               WADDINGTON        NY    13694‐0048
GEORGE A LEWIS                                      PO BOX 7467                                                                                      PHILADELPHIA      PA    19101‐7467
GEORGE A LEWIS                                      7902 STURGEOM AVE                                                                                MIDLAND           MI    48642‐8308
GEORGE A LIVINGSTONE III & BETTY I LIVINGSTONE JT   2405 NW HIGHLAND DR                                                                              CORVALLIS         OR    97330‐1543
TEN
GEORGE A LOHR & LAURA B LOHR JT TEN                 4241 BUCKHEAD RD                                                                                 MADISON         GA      30650‐4349
GEORGE A LUCAS                                      190 W SPEAKER ST                                                                                 SANDUSKY        MI      48471‐1264
GEORGE A LUNDIN & BARBARA A LUNDIN JT TEN           28328 LORENZ                                                                                     MADISON HEIGHTS MI      48071‐2840

GEORGE A LUTZ                                    448 LOCUST RD                                                                                       HARWINTON         CT    06791‐2802
GEORGE A LYTLE                                   15548 W CATALINA DR                                                                                 GOODYEAR          AZ    85338‐8160
GEORGE A MARCINKO & MRS MARY O MARCINKO JT       1801 DRAKE DR                                                                                       RICHARDSON        TX    75081‐3210
TEN
GEORGE A MARINELLI                               1361 E BOOT RD                                                                                      WEST CHESTER      PA    19380‐5988
GEORGE A MASLYAR                                 P O BOX 48310                                                                                       WASHINGTON        DC    20002‐0310
GEORGE A MATHES                                  12 HASSAKE RD                                                                                       OLD GREENWICH     CT    06870‐1317
GEORGE A MELNICK                                 16511 SHILLINE RD                                                                                   BERLIN CENTER     OH    44401‐8708
GEORGE A METZLER                                 8 SCHAROUN DR                                                                                       PULASKI           NY    13142
GEORGE A MILLER JR                               306 3RD AVE                                                                                         TAWAS CITY        MI    48763‐9202
GEORGE A MILLS                                   1980 LEHNER RD                                                                                      COLUMBUS          OH    43224‐2233
GEORGE A MIXTER JR                               7720 DRESDEN AVE                                                                                    PARMA             OH    44129‐2806
GEORGE A MIZER TR GEORGE A MIZER LIVING TRUST UA 4 MOHAWK LN                                                                                         HAGUE             NY    12836
06/15/96
GEORGE A MONTGOMERY                              1133 BLOUIN DRIVE                                                                                   DOLTON            IL    60419‐2704
GEORGE A MORGAN & VIRGINIA O MORGAN TEN ENT      1207 MOUNT VERNON AVE                                                                               HUNTINGDON        PA    16652‐1147

GEORGE A MORVEY                                48‐24 194TH ST                                                                                        FLUSHING          NY    11365‐1222
GEORGE A MORVEY & MARY ANNE MORVEY JT TEN      48‐24 194 ST                                                                                          FLUSHING          NY    11365‐1222
GEORGE A MOTEN                                 1913 BARKS ST                                                                                         FLINT             MI    48503‐4303
GEORGE A MURRAY                                BOX 2176                                                                                              KALISPELL         MT    59903‐2176
GEORGE A NANO                                  2088 LIMEWOOD DR                                                                                      SAN JOSE          CA    95132‐1233
GEORGE A NATZEL                                11910 ORCHARD ST                                                                                      LENNON            MI    48449‐9684
GEORGE A NEMET & LEILA K NEMET JT TEN          2570 RANFIELD ROAD                                                                                    MOGADORE          OH    44260
GEORGE A NOWACEK                               1052 CROSS GATE RD                                                                                    WINSTON SALEM     NC    27106‐6323
GEORGE A OLSON                                 1623 LESLIE                                                                                           WESTLAND          MI    48186‐4472
GEORGE A OSHEA A MINOR UNDER GUARDIANSHIP OF 14 VARADY DR                                                                                            FORDS             NJ    08863‐1213
ROBERT J OSHEA
GEORGE A PAUWELS                               70 TIERNEY RD                                                                                         BAY CITY          MI    48708‐9123
GEORGE A PEABOBY TR GEORGE A PEABODY REVOCABLE 41120 FOX RUN RD APT 308                                                                              NOVI              MI    48377‐4804
TRUSTUA 04/17/00
GEORGE A PEEHLER                               157 WYNNWOOD AVE                                                                                      TONAWANDA         NY    14150
GEORGE A PETERS & FRANCES PETERS & THOMAS G    45895 MEADOWS CIR EAST                                                                                MACOMB TWP        MI    48044
PETERS JT TEN
GEORGE A POLYMENEAS                            17051 PLUMMER #240                                                                                    NORTHBRIDGE       CA    91325‐2555
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GEORGE A PRESTON CUST CHRISTINE JACQUELINE       4 COACH LANE                                                                                                           MUTTONTOWN       NY    11791‐3056
PRESTON UGMA NY
GEORGE A PRIESTER                                BOX 496                                                                                                                CLARK            PA    16113‐0496
GEORGE A PRIESTER & EDNA M PRIESTER JT TEN       3750 NORA STREET                                                                                                       CLARK            PA    16113
GEORGE A PRIESTER & EDNA M PRIESTER JT TEN       BOX 496                                                                                                                CLARK            PA    16113‐0496
GEORGE A PRUNTY                                  1221 N LIVINGSTON ST                                                                                                   INDIANAPOLIS     IN    46222‐2926
GEORGE A PUGH                                    1515 W ALLEGHENY AVE                    APT 408                                                                        PHILADELPHIA     PA    19132‐1754
GEORGE A RAGO                                    6 DARK LEAF DRIVE                                                                                                      TRENTON          NJ    08610‐1310
GEORGE A RAISELIS & REGINA T RAISELIS JT TEN     311 COLONESE RD                                                                                                        FAIRFIELD        CT    06432‐1113
GEORGE A REA                                     440 ALEXIAN WAY APT 45                                                                                                 SIGNAL MTN       TN    37377
GEORGE A READER                                  812 SOFT PINE COURT                                                                                                    NEW SMYRNA       FL    32168‐6167
                                                                                                                                                                        BEACH
GEORGE A RICH                                    PO BOX 44                                                                                                              SWEET SPRINGS    MO    65351‐0044
GEORGE A RICKSGERS & MARY LOU RICKSGERS JT TEN   7092 E HOLLY RD                                                                                                        HOLLY            MI    48442

GEORGE A RIEHLE                                  924 GRAVEL ROAD                                                                                                        WEBSTER          NY    14580‐1720
GEORGE A RISCUTTA                                23468 LORAI RD #311                                                                                                    NORTH OLMSTED    OH    44070‐2214
GEORGE A ROACHE                                  ATTN ROACH'S EXTERMINATING              503 FERRIS ST                                                                  YPSILANTI        MI    48197‐5303
GEORGE A ROBINSON                                9617 EASTON AVE                                                                                                        CLEVELAND        OH    44104‐5421
GEORGE A RODRIGUEZ                               851 LINCOLN LN                          APT 1206                                                                       DEARBORN         MI    48126‐2992
GEORGE A RODRIGUEZ JR                            96 GARVEY ST                                                                                                           BUFFALO          NY    14220‐1408
GEORGE A ROSE                                    PO BOX 48                                                                                                              NAPOLEON         MI    49261‐0048
GEORGE A ROSS                                    88 SILVERWOOD CIRCLE                                                                                                   CINCINNATI       OH    45246‐2455
GEORGE A ROWE TR UA 01/12/2009 GEORGE ALLEN      9907 MULBERRY PARK LN                                                                                                  TOMBALL          TX    77375
ROWE EXEMPT LIFETIME TRUST
GEORGE A ROY                                     8923 SENEY DR                                                                                                          DIMONDALE        MI    48821‐9633
GEORGE A RUBAL TR RUBAL FAMILY TRUST UA 1/5/04   29414 PARKWOOD                                                                                                         WICKCLIFF        OH    44072

GEORGE A RYNO                                    16 FOUNTAIN VIEW BL                                                                                                    NORTH FORT MYERS FL    33903‐7322

GEORGE A SCHMIDT                                 7705 GATEWOOD TERRACE                                                                                                  LAS VEGAS        NV    89129‐5405
GEORGE A SCHUBERT                                521 NEBRASKA ST                         PO BOX 113                                                                     STURGEON BAY     WI    54235‐0113
GEORGE A SEKERAK                                 2597 REEVES RD NE                                                                                                      WARREN           OH    44483‐4358
GEORGE A SHADE                                   C/O J RUSSELL LEBARGE                   JOHNSON ROSATI                   24825 LITTLE MACK STE 200                     ST CLR SHORES    MI    48080
GEORGE A SIRKO                                   1769 WARNER RD                                                                                                         VIENNA           OH    44473‐9718
GEORGE A SISINO                                  13237 FENTON AVE                                                                                                       SYLMAR           CA    91342‐4412
GEORGE A SKENE                                   724 HYACINTH CIR                                                                                                       SEBASTIAN        FL    32976‐7665
GEORGE A SMITH & KATHLEEN L SMITH JT TEN         5156 MAYBEE ROAD                                                                                                       CLARKSTON        MI    48346‐4339
GEORGE A SOMERVILLE                              POST OFFICE BOX 1122                                                                                                   RICHMOND         VA    23218‐1122
GEORGE A SOTO                                    1206 RIDGE CIR                          APT D                                                                          TONGANOXIE       KS    66086‐9302
GEORGE A STANLEY                                 3200 SW 153RD ST                                                                                                       OKLAHOMA CITY    OK    73170‐8608
GEORGE A STONER                                  308 MULBERRY RD                                                                                                        CHESTERFIELD     IN    46017‐1723
GEORGE A STOUT JR                                786 HICKORY PINE DR                                                                                                    WHITELAND        IN    46184‐9200
GEORGE A STURTEVANT                              C/O STANLEY A JOHNSON                   2175 N CALIFORNIA BLVD STE 715                                                 WALNUT CREEK     CA    94596‐3579
GEORGE A STYLE & BARBARA A STYLE JT TEN          5 RIDGE RD                                                                                                             COLD SPG HBR     NY    11724‐1809
GEORGE A SURO & PATRICIA E SURO JT TEN           7251 WEMBLEY PL                                                                                                        CASTLE ROCK      CO    80104‐9269
GEORGE A SYRKO                                   1429 WHITE OAK DRIVE NE                                                                                                WARREN           OH    44484‐1651
GEORGE A TEAMER                                  487 VALENCIA                                                                                                           PONTIAC          MI    48342‐1770
GEORGE A TEITZ                                   3214 ROLLING RD                                                                                                        CHEVY CHASE      MD    20815‐4036
GEORGE A THATCHER                                6391 JAMESFIELD CT                                                                                                     FAIRFIELD        OH    45014‐4533
GEORGE A UBERTI & MRS MARIAN E UBERTI JT TEN     10143 CARRETA DRIVE                                                                                                    SANTEE           CA    92071‐4917

GEORGE A VALENTINE                               217 OLD COLONY WAY                                                                                                     ROCKY MOUNT      NC    27804‐3568
GEORGE A VORIS                                   9 SAINT JAMES PLACE                     APT 307                                                                        ONEONTA          NY    13820‐3254
GEORGE A WALDROP                                 409 DORCAS LN                                                                                                          ARLINGTON        TX    76013‐1792
GEORGE A WALKER                                  1708 VIRGINIA ST                                                                                                       BERKELEY         CA    94703‐1323
GEORGE A WATERHOUSE                              1884 TANGLEWOOD DRIVE S                                                                                                MANSFIELD        OH    44906‐1733
GEORGE A WATKINS                                 7415 CAINE RD RT 3                                                                                                     VASSAR           MI    48768‐9285
GEORGE A WATKINS & BETTY E WATKINS JT TEN        7415 CAINE RD                                                                                                          VASSAR           MI    48768‐9285
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GEORGE A WEST                                   8646 MANN RD                                                                                        TIPP CITY        OH    45371‐8770
GEORGE A WEST & MRS REECE B WEST JT TEN         141 PEMBROKE ROAD                                                                                   OAK RIDGE        TN    37830‐7516
GEORGE A WEVER TR GEORGE A WEVER LIVING TRUST   7061 WARWICK RD                                                                                     INDIANAPOLIS     IN    46220‐1050
UA 10/24/05
GEORGE A WHITE                                  645 LOUISE COURT                                                                                    CAMPBELL         CA    95008‐4530
GEORGE A WHITEHEAD                              769 DALKEITH AVENUE                     LONDON ON                                 N5X 1R7 CANADA
GEORGE A WILCOX JR                              3277 SE 2ND PL                                                                                      KEYSTONE HEIGHTS FL    32656‐6105

GEORGE A WISNIEWSKI                             145 FRANCONIAN DR S                                                                                 FRANKENMUTH      MI    48734‐1040
GEORGE A WYDO                                   4502 ANN COURT                                                                                      MANSFIELD        TX    76063
GEORGE A YAGER & CAROL RAE YAGER JT TEN         6587 PINE VALLEY DR                                                                                 SANTA ROSA       CA    95409‐5888
GEORGE A ZAZOPOULOS                             4727 BROOKVILLE RD                                                                                  INDIANAPOLIS     IN    46201‐4707
GEORGE ADAM WANASKI                             12520 NE 145TH ST #E31                                                                              KIRKLAND         WA    98034‐1278
GEORGE ADAMS                                    2811 COTTAGE ST                                                                                     HUNTINGTON       WV    25705
GEORGE AJJAN                                    352 16TH ST                                                                                         BROOKLYN         NY    11215‐5614
GEORGE ALAN NEWBEGIN & ELIZABETH NEWBEGIN JT    1035 LEONARD RD                                                                                     LEONARD          MI    48367
TEN
GEORGE ALBERT ALBANY                            221 ENGLE DR                                                                                        WALLINGFORD      PA    19086‐6322
GEORGE ALBERT HUNTINGTON                        6998 PEPPER TREE CT                                                                                 LOCKPORT         NY    14094‐9668
GEORGE ALLAN & DIANE M ALLAN JT TEN             7 STONEHEDGE DR                                                                                     WILMINGTON       MA    01887‐3189
GEORGE ALLEN & DORIS ALLEN JT TEN               36 KENNETH PLACE                                                                                    CLARK            NJ    07066‐1721
GEORGE ALLEN NEEDHAM                            4257 PEACE DR                                                                                       MORRISTOWN       TN    37814
GEORGE ALLEN NEELY                              2316 TREMONT                                                                                        FORT WORTH       TX    76107‐4337
GEORGE ALLSOPP                                  62 E CORAL DR                                                                                       BRICKTOWN        NJ    08723‐7636
GEORGE ANAGNOS & HOLLY ANAGNOS JT TEN           10801 S W 93 AVE                                                                                    MIAMI            FL    33176‐3632
GEORGE ANASTAS CUST GREGG STEPHEN ANASTAS       11021 BRIDGEPOINTE NE                                                                               ALBUQUERQUE      NM    87111‐7413
U/THE NYU‐G‐M‐A
GEORGE ANDERSON & PHYLLIS ANDERSON JT TEN       8211 7TH AVE                                                                                        BROOKLYN         NY    11228‐2806
GEORGE ANDERSON TR ERIK ANDERSON U‐W FOSTER B   2778 BASELINE RD                                                                                    GRAND ISLAND     NY    14072‐1307
SALGOT
GEORGE ANDREK                                   417 HILDA ST                                                                                        EAST MEADOW      NY    11554‐4246
GEORGE ANDREW MILLER JR                         1626 FEDERAL AVE E                                                                                  SEATTLE          WA    98102‐4235
GEORGE ANDREW PRICE                             1545 LOCUST                                                                                         DENVER           CO    80220‐1627
GEORGE ANGANIS                                  9599 DAVISBURG RD                                                                                   CLARKSTON        MI    48348‐4132
GEORGE ANN BARKLEY                              2001 HELMSDALE LANE                                                                                 AUGUSTA          GA    30909‐0116
GEORGE ANN HARDING EX UW WILLIAM N STOKES JR    C/O MORGAN STANLEY                      2200 WEST LOOP SOUTH STE 100                                HOUSTON          TX    77027‐3531

GEORGE ANN KALLIO                               PO BOX 526                                                                                          MOUNT MORRIS     MI    48458‐0526
GEORGE ANN KEENER                               4785 ARLINGTON DRIVE                                                                                SYKESVILLE       MD    21784‐8303
GEORGE ANTHONY DAVIS                            110 THISTLEDOWN COURT                                                                               FOREST HILL      MD    21050‐3265
GEORGE ANTHONY NOLAN & MARY KAY NOLAN JT TEN    NBR 17                                  10444 CANOGA AVE                                            CHATSWORTH       CA    91311‐2249

GEORGE ANTHONY OLSEY                            6443 SUMMIT ST                                                                                      MT MORRIS        MI    48458‐2318
GEORGE ARRAF                                    41392 HIDDEN OAKS DR                                                                                CLINTON TWP      MI    48038‐4533
GEORGE ARTHUR BOOKER                            1402 CHATHAM DR                                                                                     FLINT            MI    48505‐2584
GEORGE ARTHUR HALFPAP JR                        6307 CHEW RD                                                                                        UPPER MARLBORO   MD    20772‐9705

GEORGE ARTHUR SPALDING JR                       C/O MABLE L PERRY                       811 LAKESIDE DRIVE                                          OWOSSO           MI    48867‐9447
GEORGE ASSAF                                    5359 JAMIE LANE                                                                                     FLUSHING         MI    48433‐2907
GEORGE ATHANASOPOULOS                           212 VESPER AVE                                                                                      MIDDLESEX        NJ    08846‐1242
GEORGE AUSTIN                                   1656 S WALNUT ST                                                                                    JANESVILLE       WI    53546‐5852
GEORGE AUSTIN LOTT                              BOX 313                                                                                             MC COMB          MS    39649‐0313
GEORGE AUTMAN                                   3803 S 1500 EAST ROAD                                                                               ST ANNE          IL    60964‐9347
GEORGE B ADAMS III                              329 CHEROKEE PL                                                                                     CHARLOTTE        NC    28207‐2301
GEORGE B ARCHER                                 17823 N 169 HWY                                                                                     SMITHVILLE       MO    64089‐8608
GEORGE B BAYLESS                                3716 E COUNTY RD 300 N                                                                              GREENSBURG       IN    47240‐8563
GEORGE B BEARD                                  17106 MAGNOLIA PKWY                                                                                 SOUTHFIELD       MI    48075‐4271
GEORGE B BENTON III                             1415 CHIPPENHAM DR                                                                                  BATON ROUGE      LA    70808‐5628
GEORGE B BETTYS                                 6658 W DEWEY RD R 1                                                                                 OVID             MI    48866‐9533
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GEORGE B BLAKE SR                                 319 WOODALE AVENUE                                                                              NEW CASTLE        DE    19720‐4737
GEORGE B BRILL JR                                 1409 N HACKER RD                                                                                HOWELL            MI    48843‐9029
GEORGE B BROTHERS                                 5229 W MICHIGAN #182                                                                            YPSILANTI         MI    48197‐9178
GEORGE B CALLAN                                   34 COLLINGWOOD DRIVE                                                                            ROCHESTER         NY    14621‐1013
GEORGE B CALLAN & JOANNE M CALLAN JT TEN          34 COLLINGWOOD DR                                                                               ROCHESTER         NY    14621‐1013
GEORGE B CARR                                     1509 PARK LN                                                                                    HILLSBOROUGH      NC    27278‐9454
GEORGE B DAMOUR                                   620 CYLER RD                                                                                    GRAY              GA    31032
GEORGE B DOBBINS                                  20639 ST LAWRENCE PARK RD                                                                       ALEXANDRIA BAY    NY    13607‐2117
GEORGE B DYSART                                   3426 BREVARD RD                                                                                 HENDERSONVILLE    NC    28791‐4000
GEORGE B FULLER                                   16036 WEST SANDIA PARK DR                                                                       SURPRISE          AZ    85374‐6420
GEORGE B GIERACH                                  1913 PARKER RD                                                                                  GOSHEN            OH    45122‐9221
GEORGE B GRANDINETTI                              107 ELMWOOD DR                                                                                  FLORENCE          AL    35633‐1213
GEORGE B HALL                                     2085 DAWSON DR                                                                                  HAYNESVILLE       LA    71038‐5211
GEORGE B HARRIS III                               205 LEE AVENUE                                                                                  MARIETTA          OH    45750
GEORGE B JACK JR & JOYCE E JACK JT TEN            406 NICHOLS AVE                        MCDANIEL CREST                                           TALLEYVILLE       DE    19803‐5234
GEORGE B JOHNSON                                  455 ROAD 1093                                                                                   PLANTERSVILLE     MS    38862‐4912
GEORGE B KAZMIERCZAK                              42584 PLYMOUTH HOLLOW DR                                                                        PLYMOUTH          MI    48170‐2566
GEORGE B KEMPSON JR                               P0 BOX 821                                                                                      REX               GA    30273‐0821
GEORGE B KINSELLA                                 14 DIBBLE RD                                                                                    OLD SAYBROOK      CT    06475‐4014
GEORGE B LAVINDER JR                              9050 TWELVESTONES DR                                                                            ROSWELL           GA    30076‐3403
GEORGE B LESPERANCE                               22316 YALE                                                                                      ST CLAIR SHORES   MI    48081‐2038
GEORGE B MC FEATERS JR                            PO BOX 219                                                                                      HANOVER           PA    17331‐0219
GEORGE B MCCALL JR                                522 ALLISON WATTS RD                                                                            FRANKLIN          NC    28734‐9178
GEORGE B MCCALL JR & EVA M MCCALL JT TEN          522 ALLISON WATTS RD                                                                            FRANKLIN          NC    28734‐9178
GEORGE B MCPHEE                                   1172 STAFFORD AVE                                                                               BRISTOL           CT    06010‐2868
GEORGE B MORRIS                                   128 SOUTH 5TH EAST                                                                              MISSOULA          MT    59801
GEORGE B NEKOLNY JR & PATRICIA M NEKOLNY JT TEN   279 CALLE DEL SOL                                                                               FLORISSANT        CO    80816‐9012

GEORGE B OCONNELL JR                               1101 WILLOW LANE                                                                               NORTHBROOK        IL    60062‐3813
GEORGE B OTTLEY III                                239 GRANGER VIEW CIR                                                                           FRANKLIN          TN    37064‐2973
GEORGE B PENNINGTON                                5460 GILSTRAP ROAD                                                                             GAINESVILLE       GA    30506
GEORGE B PHIPPS                                    285 MOSBY WOODS DR                                                                             NEWMAN            GA    30265‐2257
GEORGE B SCHREPPLER JR & EDITH S SCHREPPLER JT TEN 60 W MAIN ST                                                                                   MIDDLETOWN        DE    19709‐1039

GEORGE B SLOAN JR CUST GEORGE B SLOAN III UGMA    425 GARRICK PT                                                                                  ALPHARETTA        GA    30022‐3797
MI
GEORGE B SLOAN JR CUST MATTHEW A SLOAN UGMA       8701 S SHORE DR                        APT 14                                                   CLARKSTON         MI    48348‐2679
MI
GEORGE B SLOAN JR CUST ROBERT M SLOAN UGMA MI     8470 INNSBROOK LANE                                                                             SPRINGBORO        OH    45066‐9629

GEORGE B SOVERNS                                  435 W MAPLE RD                                                                                  LINTHICUM         MD    21090‐2329
GEORGE B STEBBINS                                                                                                                                 BAKERTON          WV    25410
GEORGE B STERN                                    PO BOX 366                                                                                      NEWTON FALLS      OH    44444‐0366
GEORGE B STEVENS & CHRISTINE A STEVENS JT TEN     PO BOX 962                                                                                      BALDWIN           MI    49304‐0962

GEORGE B VEAL                                 14103 ZAMORA AVE                                                                                    COMPTON           CA    90222‐3631
GEORGE B VIEWEG CUST CHRISTIAN VIEWEG UTMA WA 10512 66TH AVE NE                                                                                   MARYSVILLE        WA    98270

GEORGE B VIEWEG CUST KIMBERLY R VIEWEG UTMA       10512 66TH AVE NE                                                                               MARYSVILLE        WA    98270
WA
GEORGE B VIEWEG CUST STEPHANIE M VIEWEG UTMA      10512 66TH AVE NE                                                                               MARYSVILLE        WA    98270
WA
GEORGE B WILLIAMS                                 310 N 13TH ST                                                                                   WEST MEMPHIS      AR    72301‐4034
GEORGE B WROE & JEAN R WROE JT TEN                4802 BUTLER ROAD                                                                                GLYNDON           MD    21071‐5343
GEORGE B YOUNG JR                                 1015 GREELEY                                                                                    KANSAS CITY       KS    66104‐5624
GEORGE BABCOCK                                    PO BOX 2993                                                                                     JOLIET            IL    60434‐2993
GEORGE BABICS TOD LUANNA DEMARCO SUBJECT TO       308 EAST MARKET ST                                                                              MERCER            PA    16137‐1321
STA TOD RULES
                                             09-50026-mg                  Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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GEORGE BABICS TOD SHERYL MILLER SUBJECT TO STA   308 EAST MARKET ST                                                                               MERCER             PA    16137‐1321
TOD RULES
GEORGE BACALIS                                   4118 STUART AVE                                                                                  RICHMOND           VA    23221‐1941
GEORGE BADANAI                                   340 FAIRBROOKE CRES                     THUNDER BAY ON                         P7B 6Z7 CANADA
GEORGE BADGER UNDERWOOD III                      PO BOX 857                                                                                       NEWLAND            NC    28657‐0857
GEORGE BALDEROSE                                 9 WEST RD                                                                                        MAHWAH             NJ    07430‐2917
GEORGE BALOGH DUNCAN                             PO BOX 450                                                                                       OLD LYME           CT    06371
GEORGE BANACH                                    508 ENSIGN AVE                                                                                   BEACHWOOD          NJ    08722
GEORGE BANCHIU TR GEORGE BANCHIU TRUST UA        509 ESSEX                                                                                        CLAWSON            MI    48017‐1782
06/01/00
GEORGE BARCLAY                                   APT 12‐B                                150 W 174TH ST                                           BRONX              NY    10453‐7535
GEORGE BARDOS                                    3455 W MILLBROOK RD                                                                              MOUNT PLEASANT     MI    48858‐8538

GEORGE BARNETT PERS REP EST DOROTHY LEE LAYTON 5260 SPRING TRAIL DR                                                                               BLACK JACK         MO    63033‐4417

GEORGE BEATTIE                                   157 BRIDGE STREET                       PORT MELBOURNE       VICTORIA          3207 AUSTRALIA
GEORGE BEDRO & BILLIE BEDRO TR GEORGE & BILLIE   32864 MACKENZIE                                                                                  WESTLAND           MI    48185‐1552
BEDRO TRUST UA 02/27/98
GEORGE BEGGS III & DEBORAH B MONCRIEF TR U‐A     621 FT WORTH CLUB BLDG                                                                           FORT WORTH         TX    76102
WITH GEORGE BEGGS 3/16/34
GEORGE BELETSIS                                  3950 BLACKSTONE AV 3L                                                                            BRONX              NY    10471‐3726
GEORGE BENJAMIN BAUM                             19 MARTIN PL                                                                                     NORTHPORT          NY    11768‐1223
GEORGE BENNITT                                   2482 STONEGATE DR NW                                                                             ACWORTH            GA    30101‐8866
GEORGE BENZ                                      1915 CATHAY ST                                                                                   GLENDALE           CA    91208‐2505
GEORGE BERNARD ANDERSON JR                       25 BROOKSIDE DR                                                                                  BURLINGTON         CT    06013‐1901
GEORGE BERNREUTHER                               PO BOX 637                                                                                       ARLINGTON          TX    76004
GEORGE BERRIEN & JACQUELINE BERRIEN JT TEN       156 ROCKTOWN LAMBERTVILLE RD                                                                     LAMBERTVILLE       NJ    08530‐3203
GEORGE BEYLERIAN                                 36841 RHEA COURT                                                                                 STERLING HEIGHTS   MI    48310‐4372

GEORGE BILLUPS                                   107 DAISY MEADOW TRL                                                                             LAWRENCEVILLE      GA    30044‐4686
GEORGE BINKS                                     4803 BELMONT ROAD                                                                                DOWNERS GROVE      IL    60515‐3219
GEORGE BITTING                                   3007 BROOKVALLEY RUN                                                                             MONROE             NC    28110
GEORGE BLACK                                     377 BELLE RIVE                          HAWKESBURY ON                          K6A 3L8 CANADA
GEORGE BLAIR                                     1306 HOLLY AVE                                                                                   DAYTON             OH    45410‐2629
GEORGE BLAND                                     12836 TERRACE LANE                                                                               CRESTWOOD          IL    60445‐1115
GEORGE BLONSKI & JOAN BLONSKI JT TEN             378 LARCHMONT CT                                                                                 RIDGE              NY    11961‐2001
GEORGE BLUM CUST SUSAN BLUM U/THE MICHIGAN       1305 RIDGEDALE ROAD                                                                              SOUTH BEND         IN    46614‐2109
UNIFORM GIFTS TO MINORS ACT
GEORGE BOHN                                      29831 BROWN CT                                                                                   GARDEN CITY        MI    48135‐2325
GEORGE BOLDEN                                    6029 CADDY CIR                                                                                   WILMINGTON         NC    28405‐3888
GEORGE BOTTORFF                                  843 JUNE DR                                                                                      XENIA              OH    45385‐3709
GEORGE BOUCHEK                                   29029 SHERIDAN                                                                                   GARDEN CITY        MI    48135‐2723
GEORGE BOWIE                                     742 BOUTELL DR                                                                                   GRAND BLANC        MI    48439
GEORGE BOWLIN JR                                 2735 OLD TROY PIKE #2                                                                            DAYTON             OH    45404‐2173
GEORGE BRADACS                                   36437 WEIDEMAN                                                                                   MT CLEMENS         MI    48035‐1663
GEORGE BRADFORD                                  4305 W 66TH STREET                                                                               CLEVELAND          OH    44144‐2841
GEORGE BRADY & MARY BRADY JT TEN                 46 HILLSIDE AVE                                                                                  BEDFORD            MA    01730‐1616
GEORGE BRANDT                                    5174 BLACKLICK EASTERN RD NW                                                                     BALTIMORE          OH    43105‐9671
GEORGE BRECHER                                   201 EAST 21ST ST                        APT 18 F                                                 NEW YORK           NY    10010‐6423
GEORGE BRINKHAUS & MILDRED BRINKHAUS JT TEN      1109 BROADFIELD DRIVE                                                                            LOUISVILLE         KY    40207‐4318

GEORGE BRINKHAUS & MILDRED W BRINKHAUS JT TEN    1109 BROAD FIELDS DRIVE                                                                          LOUISVILLEE        KY    40207‐4318

GEORGE BRINKLEY                                  20400 PRAIRIE                                                                                    DETROIT            MI    48221‐1221
GEORGE BROIKOS                                   94 WHITE VILLAGE DRIVE                                                                           ROCHESTER          NY    14625‐1430
GEORGE BROSS & ELEANOR BROSS JT TEN              PO BOX 183                                                                                       HIGHLAND LAKES     NJ    07422‐0183
GEORGE BROSTOSKI                                 16104 FEICHNER ROAD                                                                              ROANOKE            IN    46783‐9615
GEORGE BROWN                                     17134 RUNYON STREET                                                                              DETROIT            MI    48234‐3819
GEORGE BRUCE                                     1308 WINCHESTER AVE                                                                              MIDDLESBORO        KY    40965‐2352
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GEORGE BRUCE GILLIE JR                          1480 GOLF ST                                                                                   SCOTCH PLAINS     NJ    07076‐2638
GEORGE BRUGH                                    PO BOX 522                                                                                     YORK              NE    68467
GEORGE BUONACCORSI & MRS VICKI J BUONACCORSI JT 2505 RIGDON STREET                                                                             NAPA              CA    94558‐2641
TEN
GEORGE BURCHFIELD III                           20360 THORNWOOD                                                                                SOUTHFIELD        MI    48076‐4900
GEORGE BURGESS PASSANO                          PO BOX 27                                                                                      OXFORD            MD    21654‐0027
GEORGE BURNETT                                  318 W 20TH ST                                                                                  DEER PARK         NY    11729‐6318
GEORGE BUSBY                                    823 GREENHEDGE DR                                                                              STONE MOUNTAIN    GA    30088‐2254

GEORGE BUSHEK                                    43 REGGIE DR                                                                                  WAPPNGER FALL     NY    12590‐4228
GEORGE BUSONY                                    31082 HUNTLEY SQ W                   APT 314                                                  BEVERLY HILLS     MI    48025‐5361
GEORGE BUTMAN & MRS JOSEPHINE BUTMAN JT TEN      18 CHATHAM TERRACE                                                                            CLIFTON           NJ    07013‐3904

GEORGE C ARAPOGIANNIS                            22700 CORTEVILLE                                                                              ST CLAIR SHRS     MI    48081‐2560
GEORGE C ATKINSON                                73 DAMSEN RD                                                                                  ROCHESTER         NY    14612‐3637
GEORGE C AVERY                                   8266 N GLEANER                                                                                FREELAND          MI    48623‐9510
GEORGE C AVERY & CAROLYN A AVERY JT TEN          8266 N GLEANER                                                                                FREELAND          MI    48623‐9510
GEORGE C BAGATTA                                 2060 EDGEWATER CT                                                                             GRAFTON           WI    53024‐9642
GEORGE C BARNES & LOLA A BARNES TEN ENT          2904 TAYLOR AVE                                                                               BALTIMORE         MD    21234‐6310
GEORGE C BEASLEY                                 198 PELFREY DR                                                                                CAMPTON           KY    41301‐8502
GEORGE C BEAVIS                                  PO BOX 304                                                                                    SOUTHWORTH        WA    98386‐0304
GEORGE C BEAVIS & HELEN V BEAVIS JT TEN          PO BOX 304                                                                                    SOUTHWORTH        WA    98386‐0304
GEORGE C BEST                                    7130 EASTWICK LANE                                                                            INDIANAPOLIS      IN    46256‐2312
GEORGE C BINGHAM                                 208 LEWIS RD                                                                                  BELMONT           MA    02478‐3833
GEORGE C BINGHAM & CAROLYN S BINGHAM JT TEN      208 LEWIS RD                                                                                  BELMONT           MA    02478‐3833

GEORGE C BRAUCH & CORRINGTON F FIKE TEN COM      828 EASTERN AVE                                                                               MARENGO           IA    52301‐1710

GEORGE C BREYMAIER                               15818 W AKRON‐CANFIELD RD                                                                     BERLIN CENTER     OH    44401‐9786
GEORGE C BUCHANAN                                5551 HICKS GAP RD                                                                             BLAIRSVILLE       GA    30512‐5333
GEORGE C CHRENKA                                 14900 COUNTY ROAD H UNIT 29                                                                   WAUSEON           OH    43567‐8828
GEORGE C COLE                                    421 PEARL ST                         PO BOX 71                                                POTTERVILLE       MI    48876‐0071
GEORGE C COLLIER & MARGARET G COLLIER JT TEN     8943 GREENSPOINTE LANE                                                                        HIGHLANDS RANCH   CO    80126‐3326

GEORGE C CONDERN                                 4510 GORC WAY                                                                                 RENO              NV    89502‐6308
GEORGE C CONDERN TR GEORGE C CONDERN 2004        4510 GORC WAY                                                                                 RENO              NV    89502‐6308
TRUST UA 4/30/04
GEORGE C CONRAD                                  11910 NE 1137 PRIVATE ROAD                                                                    DEEPWATER         MO    64740
GEORGE C CORCORAN                                525 BELMONT AVE E 9‐E                                                                         SEATTLE           WA    98102‐4867
GEORGE C CROMER                                  29720 WILDBROOK DRIVE                                                                         SOUTHFIELD        MI    48034‐7615
GEORGE C CROOK                                   249 CAHABA OAKS TRL                                                                           INDIAN SPGS       AL    35124
GEORGE C CROOK & BETTY P CROOK JT TEN            1721 RIVER RO DR                                                                              TUSCALOOSA        AL    35406
GEORGE C CROPSEY                                 19273 MARCELLUS HWY                                                                           MARCELLUS         MI    49067‐9727
GEORGE C DAVIS                                   13720 ENGLEMAN DR                                                                             LAUREL            MD    20708‐1326
GEORGE C DEMBEYIOTIS                             13 GROVEWOOD LN                                                                               ROCHESTER         NY    14624‐4775
GEORGE C DOWNARD                                 942 R G CURTISS ST                                                                            LANSING           MI    48910
GEORGE C ELLIS CUST JOHN P ELLIS UGMA OH         914 HOWARD ST                                                                                 MT VERNON         OH    43050‐3729
GEORGE C FAARUP                                  1898 BURNING BUSH CT                                                                          ROCHESTER HILLS   MI    48309‐3321
GEORGE C FILBY JR                                30 18 MOSS                                                                                    KEEGO HARBOR      MI    48320‐1067
GEORGE C FLYNN                                   34 HATCHETTS PT RD                   PO BOX 227                                               SOUTH LYME        CT    06376‐0227
GEORGE C FULTON TR G & L TRUST 05/05/92          1050 34TH ST                                                                                  ASTORIA           OR    97103‐2636
GEORGE C GOLL                                    1102 HUNTER COURT                                                                             MILFORD           MI    48381‐3180
GEORGE C GROSSMAN                                15987 S GARDNER PL                                                                            GARDNER           KS    66030‐9670
GEORGE C HAGERTY                                 RR 1 BOX 264                                                                                  LESAGE            WV    25537‐9728
GEORGE C HAMMER JR & MRS ELIZABETH TRENT         4336 ASHFORD LANE                                                                             FAIRFAX           VA    22032‐1435
HAMMER JT TEN
GEORGE C HASSALL JR                              209 E COULTER AVE                                                                             COLLINGSWOOD      NJ    08108‐1212
GEORGE C HASTINGS                                1691 WEST BLVD                                                                                BERKLEY           MI    48072‐2088
GEORGE C HAW                                     4495 CALKINS RD                      APT 222                                                  FLINT             MI    48532‐3576
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GEORGE C HEARD                                  PO BOX 421                                                                                       DAPHNE           AL    36526
GEORGE C HEARD & JANE L HEARD JT TEN            PO BOX 8521                                                                                      MANDEVILLE       LA    70470‐8521
GEORGE C HICKMAN & LUCILLE R HICKMAN JT TEN     18 BLOOMINGDALE AVE                                                                              CRANFORD         NJ    07016‐2457

GEORGE C HOLLOWAY & DRIA R BRAY HOLLOWAY TEN    104‐B INTREPID COURT                                                                             KODIAK           AK    99619
COM
GEORGE C IRONS                                  6636 BAILEY LAKE AVE                                                                             HARRISON         MI    48625‐9673
GEORGE C ISOM                                   2531 SANDY HOOK RD                                                                               FOREST HILL      MD    21050‐1915
GEORGE C JOACHIM                                3476 STELLHORN ROAD                                                                              FORT WAYNE       IN    46815‐4630
GEORGE C JOHNSON                                1840 MCTAGGART DR                                                                                AKRON            OH    44320‐3920
GEORGE C JOHNSON & GREG C JOHNSON & LAURA A     2136 SOUTH WEBSTER ST                                                                            KOKOMO           IN    46902‐3378
DENNY JT TEN
GEORGE C JONES                                  47 ANDRESEN CT                                                                                   HAZEL PARK       MI    48030‐1117
GEORGE C KNOLL                                  ATTN LINDA J KNOLL                      197 MANG AVE                                             KENMORE          NY    14217‐2633
GEORGE C KOUKEDIS                               20 SHORT DR                                                                                      WILMINGTON       DE    19810‐2818
GEORGE C KUNG & LETITIA H KUNG JT TEN           39 NORTH RIVER ROAD                                                                              LEE              NH    03824‐6407
GEORGE C LAMOTTE & MRS HELYN L LAMOTTE JT TEN   10 COMSTOCK CT                                                                                   RIDGEFIELD       CT    06877‐5826

GEORGE C LANDER JR                              6855 E COUNTY RD 150 S                                                                           AVON             IN    46123‐8282
GEORGE C LEDBETTER                              1009 AVONDALE STREET                                                                             ALBEMARLE        NC    28001‐3560
GEORGE C LEDBETTER & NANCY E LEDBETTER JT TEN   1009 AVONDALE ST                                                                                 ALBEMARLE        NC    28001‐3560

GEORGE C LEE JR & PATRICIA A LEE JT TEN           218 SKYLINE DR                                                                                 BELLE VERNON     PA    15012‐4318
GEORGE C LOOKABILL                                1221 ROSEGARDEN RD                                                                             BALTO            MD    21221‐6322
GEORGE C LOVE JR                                  1906 THISTLEWOOD DR                                                                            FT WASHINGTON    MD    20744‐3903
GEORGE C LUEDKE JR & MRS SHARYN LEE LUEDKE JT TEN 2038 ALBY ST                                                                                   ALTON            IL    62002‐6814

GEORGE C LYDA                                  1091 PAULIN RD                                                                                    POLAND           OH    44514‐3238
GEORGE C MARTZ                                 RD1                                                                                               MATAWAN          NJ    07747‐9801
GEORGE C MAUCH                                 3663 58TH AVE                            LOT# 343                                                 ST PETERSBURG    FL    33714‐1241
GEORGE C MAUGER & LYDIA C MAUGER JT TEN        ATTN DEB MAUGER                          38 LIBERTY AVE                                           LEXINGTON        MA    02420‐3445
GEORGE C MAUPIN                                3906 SUZAN DR                                                                                     ANDERSON         IN    46013‐2633
GEORGE C MC CABE & MARY S MC CABE JT TEN       9343 CHURCH ST                                                                                    CUCAMONGA        CA    91730‐2219
GEORGE C MC CULLOGH JR CUST G BRIAN MC CULLOGH 1707 GRANDVIEW AVE                                                                                GLENDALE         CA    91201‐1207
UGMA CA
GEORGE C MCCABE                                9343 CHURCH ST                                                                                    RANCHO           CA    91730‐2219
                                                                                                                                                 CUCAMONGA
GEORGE C MCCULLOUGH JR CUST G BRIAN MCCULOUGH 1707 GRANDVIEW AVE                                                                                 GLENDALE         CA    91201‐1207
UTMA CA
GEORGE C MCDANIEL                             PO BOX 482                                                                                         BRYANT           AR    72089‐0482
GEORGE C MCMAHON                              1870 EASTWOOD COURT                                                                                SAGINAW          MI    48601‐9789
GEORGE C MCNEELY                              686 BIG CREEK RD                                                                                   LAFOLLETTE       TN    37766
GEORGE C MEHALKO & MILDRED M MEHALKO JT TEN   130 LILMONT DR                                                                                     SWISSVALE        PA    15218‐2209

GEORGE C MITROKA & MARY A MITROKA TR MITROKA    3210 PINE ST CEDAR POINT                                                                         HOWELL           MI    48843
LIVING TRUST UA 10/07/99
GEORGE C MONTGOMERY                             401 SOUTH ST E                                                                                   TALLADEGA        AL    35160
GEORGE C NASH                                   4682 THOMAS ROAD                                                                                 METAMORA         MI    48455‐9342
GEORGE C NEBLETT                                FISCHERGASSE 6                          D‐OESTRICH‐WINKEL                      GERMANY
GEORGE C NEWLANDS                               217 WELLESLEY S E                                                                                ALBUQUERQUE      NM    87106‐1419
GEORGE C NORMAN                                 4044 PARKWOOD COURT                                                                              BLOOMFIELD TWP   MI    48301‐3967

GEORGE C PAUL                                   1282 PITKIN AVENUE                                                                               AKRON            OH    44310‐1123
GEORGE C PECK                                   5807 JIM CROW ROAD                                                                               FLOWERY BRANCH   GA    30542‐2502

GEORGE C PHILLIPS SR                            692 MANNERING RD                                                                                 EASTLAKE         OH    44095‐2556
GEORGE C PIFER                                  3455 W MILLBROOK RD                                                                              MOUNT PLEASANT   MI    48858‐8538
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GEORGE C PIFER                                   3455 W MILLBROOK RD                                                                           MOUNT PLEASANT   MI    48858‐8538

GEORGE C PIFER                                   3455 W MILLBROOK RD                                                                           MOUNT PLEASANT   MI    48858‐8538

GEORGE C PLOCK & CHRISTINE P PLOCK JT TEN        74 GLENMERE AVE                                                                               FLORIDA          NY    10921‐1211
GEORGE C POEDTKE                                 3967 LEGACY DR                                                                                MASON            OH    45040‐7642
GEORGE C POPRAVSKY                               62301 SILVER LAKE RD                                                                          SOUTH LYON       MI    48178‐9255
GEORGE C RAFFO                                   1408 WATER MILL CIRCLE                                                                        VIRGINIA BEACH   VA    23454‐1359
GEORGE C RAY                                     13618 MAPLEROW AVE                                                                            GARFIED HTS      OH    44105‐6802
GEORGE C READDING JR                             26 E CROTON DRIVE                                                                             CARMEL           NY    10512‐9804
GEORGE C REBEIRO                                 PO BOX 51803                                                                                  SPARKS           NV    89435
GEORGE C RICHMOND                                5450 DUFFIELD RD                                                                              FLUSHING         MI    48433‐9766
GEORGE C ROBERTS                                 14840 EAST BLUFF ROAD                                                                         ALPHARETTA       GA    30004‐3156
GEORGE C ROBERTS JR                              5408 N HIGHLEY                                                                                OKLAHOMA CITY    OK    73111‐6847
GEORGE C ROSS & JOANNE S ROSS JT TEN             4322 DUNCAN DR                                                                                ANNANDALE        VA    22003‐3729
GEORGE C S YU & SHIRLEY K C YU JT TEN            18159 COLONNADES PLACE                                                                        SAN DIEGO        CA    92128‐1266
GEORGE C SCHMIDT & LORRAINE T SCHMIDT JT TEN     196 NORTH 6 ST                                                                                LINDENHURST      NY    11757‐3734

GEORGE C SEIPEL                                  2515 CLE ELUM DRIVE                                                                           FORT WAYNE       IN    46809‐2111
GEORGE C SINGLETON                               2205 SUANNE                                                                                   TYLER            TX    75701‐4803
GEORGE C SMITH                                   820 JOHN LOVELACE RD                                                                          LAGRANGE         GA    30241‐9795
GEORGE C SMITH                                   2631 GREEN 602 RD                                                                             BEECH GROVE      AR    72412
GEORGE C SPRANG                                  654 N ROCK RD                                                                                 ONTARIO          OH    44903
GEORGE C STANLEY                                 ATTN DAVID O STANLEY                 161 UNION RD                                             BELMONT          NH    03220‐5175
GEORGE C STAPLES                                 17352 SANTA BARBARA DR                                                                        DETROIT          MI    48221‐2527
GEORGE C STOCKIN TR GEORGE C STOCKIN TRUST UA    25 SOUTH ST B50                                                                               MARCELLUS        NY    13108‐1327
06/06/96
GEORGE C STRATFORD                               1003 REED RD                                                                                  CHURCHVILLE      NY    14428‐9356
GEORGE C SUMLER                                  1086 HIGHGATE DR                                                                              FLINT            MI    48507‐3740
GEORGE C TARRANT                                 14368 ASBURY PK                                                                               DETROIT          MI    48227‐1369
GEORGE C TAYLOR & GERALDINE P TAYLOR TR TAYLOR   4250 A1A SOUTH UNIT H 15                                                                      ST AUGUSTINE     FL    32080‐7433
LIVING TRUST UA 6/04/02
GEORGE C TILYOU                                  319 W 48TH ST 920W                                                                            NEW YORK         NY    10036‐1331
GEORGE C VERONSKI JR                             10 LILLE LANE                                                                                 BUFFALO          NY    14227‐2402
GEORGE C WALLACE                                 2800 TRUDY LN                        UNIT 21                                                  LANSING          MI    48910‐3828
GEORGE C WEAVER                                  29 UNCLE PETE CIR                                                                             HAINES CITY      FL    33844‐2027
GEORGE C WEBER                                   PO BOX 55                                                                                     SAN ANTONIO      TX    78291
GEORGE C WENTZEL II                              PO BOX 15317                                                                                  CHEVY CHASE      MD    20825‐5317
GEORGE C WILLIS                                  8064 STONY CT                                                                                 WHITE LAKE       MI    48386‐4545
GEORGE C WILLMAN                                 1414 SECOND ST NW                    CALGARY AB                             T2M 2W1 CANADA
GEORGE C ZENTZ & DOLORES N ZENTZ JT TEN          2940 PERTHWOOD DR                                                                             CINCINNATI       OH    45244‐3566
GEORGE C ZOELLICK & DOROTHY ZOELLICK JT TEN      11710 IMPERIAL LN                                                                             ORLAND PARK      IL    60467
GEORGE CACAVAS                                   39506 BELLA VISTA DR                                                                          STERLING HTS     MI    48313‐5218
GEORGE CALDES                                    1225 E SUNSET DR                     APT 563                                                  BELLINGHAM       WA    98226‐3597
GEORGE CALDWELL JR                               284 CALDWELL RD                                                                               PASADENA         MD    21122‐1022
GEORGE CAMARDELLA                                8911 KIRKVILLE RD N                                                                           KIRKVILLE        NY    13082‐9452
GEORGE CANNON                                    12896 SADIE D DRIVE                                                                           NEVADA CITY      CA    95959‐9526
GEORGE CARLISLE GATJE                            1221 BOTETOURT GARDENS                                                                        NORFOLK          VA    23517‐2201
GEORGE CARTER                                    9071 MILLCLIFF DR                                                                             CINCINNATI       OH    45231
GEORGE CARY GRIGG JR                             2561 LITTLE CREEK LANE                                                                        AURORA           IL    60506‐8834
GEORGE CEDRIC BUTLER                             6 LE PARC CT                                                                                  WEST WINDSOR     NJ    08550‐5130
GEORGE CHAMPANE                                  262 VENDOME COURT                                                                             GROSSE POINTE    MI    48236‐3326
                                                                                                                                               FRMS
GEORGE CHEE‐CHUN WAN & YING‐BEE WAN JT TEN       3120 VINTAGE WAY                                                                              BEDFORD          TX    76021‐3950

GEORGE CHERPELIS                                 9202 N 83RD PLACE                                                                             SCOTTSDALE       AZ    85258‐1812
GEORGE CHIARAMELLO JR                            301 WISCONSIN                                                                                 WESTVILLE        IL    61883‐1833
GEORGE CHRISTIE STOOTS II                        3539 BALTIMORE PIKE                                                                           LITTLESTOWN      PA    17340‐9797
GEORGE CHRISTOPHER HURST                         28 MARSHWOOD DRIVE                                                                            COLLEGEVILLE     PA    19426
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GEORGE CHRISTOPHER HURST & MRS GILDA C HURST JT 28 MARSHWOOD DR                                                                                    COLLEGEVILLE   PA    19426‐3857
TEN
GEORGE CHRISTOPHERE & LENA M CHRISTOPHERE JT    48A SCHOOL ST                                                                                      SOMERVILLE     MA    02143‐1736
TEN
GEORGE CLARK CUST ROBERT THOMAS CLARK UTMA OH 526 PALISADES DR                                                                                     AKRON          OH    44303‐1704

GEORGE CLARK TOD GARY B CLARK SUBJECT TO STA TOD 2300 GRAND HAVEN                        #227                                                      TROY           MI    48083
RULES
GEORGE CLIFFORD WESTFALL JR                      3136 PINE ACRES RD                                                                                GLENNIE        MI    48737‐9401
GEORGE COLQUITT DEAN                             225 E 36TH ST APT 11R                                                                             NEW YORK       NY    10016‐3620
GEORGE CONSTANTINE ALIKES & MRS NOULA D G        33 PEPPERMINT DR                                                                                  ROCHESTER      NY    14615‐1242
ALIKES JT TEN
GEORGE CONTRINO                                  CROSSBROOK DR                           RD 3                                                      CALIFON        NJ    07830‐9803
GEORGE CORBETT MOUSER TR GEORGE CORBETT          6553 CLARK RD                                                                                     PARADISE       CA    95969‐3503
MOUSER REV TRUST UA 03/30/99
GEORGE COSTANTINI                                8 LINDEN AVE                                                                                      BORDENTOWN     NJ    08505‐1912
GEORGE COULMAN & ROSE MARIE COULMAN JT TEN       9522 HEDDY DR                                                                                     FLUSHING       MI    48433‐1054

GEORGE COUZENS & JEANNE COUZENS JT TEN            109 N LAKE PLEASANT RD                                                                           ATTICA         MI    48412‐9228
GEORGE CRUZ                                       4101 S SHERIDAN RD                     APT 508                                                   LENNON         MI    48449‐9428
GEORGE CUNNINGHAM                                 6301 HERITAGE CT                                                                                 MOORESVILLE    IN    46158‐7139
GEORGE CVORAK                                     4 26029 TWP 512                        SPRUCE GROVE AB                        T7Y 1B2 CANADA
GEORGE D ANDERSON                                 4765 HUNSBERGER NE                                                                               GRAND RAPIDS   MI    49525‐1252
GEORGE D ARMOUR                                   403 MELROSE ST                                                                                   TOLEDO         OH    43610‐1426
GEORGE D ARMSTRONG                                101 DAVIDSON PRIVATE DR                                                                          SOMERVILLE     AL    35670
GEORGE D ARTIS                                    6061 FOXWOOD LANE                                                                                INDIANAPOLIS   IN    46228‐1312
GEORGE D ASBURY                                   PO BOX 67                                                                                        MAXWELTON      WV    24957‐0067
GEORGE D BALDWIN                                  3203 WESSYNTON WAY                                                                               ALEXANDRIA     VA    22309‐2226
GEORGE D BENTLEY & SHIRLEY J BENTLEY JT TEN       506 DE VILLEN AVE                                                                                ROYAL OAK      MI    48073
GEORGE D BROWN JR                                 1581 PORT AUSTIN RD                                                                              PORT AUSTIN    MI    48467‐9634
GEORGE D BRUBAKER                                 70 STOTELMYER LANE                                                                               MARTINSBURG    WV    25405‐6809
GEORGE D BRYANT                                   471 COMMERCIAL ST                                                                                PROVINCETOWN   MA    02657
GEORGE D BUCHANAN JR                              647 BARBARA DR                                                                                   NORRISTOWN     PA    19403‐4102
GEORGE D CAMPBELL & DORIS A CAMPBELL JT TEN       711 AMSTERDAM AVE APT 21N                                                                        NEW YORK       NY    10025‐6916

GEORGE D CAREY CUST GEORGE F G CAREY UGMA ID      3447 S MILLSPUR WAY                                                                              BOISE          ID    83716

GEORGE D CARON                                    86 SHARON ST                                                                                     BRISTOL        CT    06010‐3653
GEORGE D CAUPP                                    520 DAVID DR                                                                                     MIAMISBURG     OH    45342‐2620
GEORGE D CHUNN                                    521 N 800 W‐27                                                                                   CONVERSE       IN    46919‐9325
GEORGE D CHURCHILL                                9325 MEADOWVIEW PL                                                                               PEVELY         MO    63070‐2724
GEORGE D CRAWFORD                                 P O BOX644                                                                                       HANCOCK        NY    13783‐0644
GEORGE D CUNDRA & MRS CAROL V CUNDRA JT TEN       7625 ONYX AVENUE NW                                                                              MASSILLON      OH    44646‐9073

GEORGE D DANDALIDES & SUSAN F DANDALIDES JT TEN 1668 SNOWDEN CIRCLE                                                                                ROCHESTER      MI    48306‐3658

GEORGE D DAVISON                                  2253 NICHOLS RD                                                                                  LENNON         MI    48449‐9321
GEORGE D DAVY & WENDY R DAVY JT TEN               PO BOX 41                                                                                        CHANNING       MI    49815‐0041
GEORGE D DEL BARRIO                               3066 CLEAR COAST COURT                                                                           VALLEJO        CA    94591‐8384
GEORGE D DOUGLAS & MILDRED M DOUGLAS JT TEN       14855 OAK LANE                                                                                   BROOKLYN       MI    49230‐8702

GEORGE D EVANS                                    150 ENTERPRISE DR                      APT 2329                                                  MC KINNEY      TX    75069‐7341
GEORGE D EWELL                                    246 LINCOLN AVE                                                                                  NEW ROCHELLE   NY    10801‐3718
GEORGE D FALLOW                                   SONNEGGSTRAUSSE 86                     ZURICH                                 8006 SWITZERLAND
GEORGE D FALLOW JR                                SONNEGGSTRAUSSE 86                     ZURICH                                 8006 SWITZERLAND
GEORGE D FERGUSON                                 5600 S SAYRE                                                                                     CHICAGO        IL    60638‐3121
GEORGE D FERGUSON & NANCY J FERGUSON JT TEN       5600 S SAYRE                                                                                     CHICAGO        IL    60638‐3121

GEORGE D GAMSBY                                   5201 E US HIGHWAY 224                                                                            OSSIAN         IN    46777‐8911
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GEORGE D GOEHRING JR                           592 WICKHAM WAY                                                                                  GAHANNA           OH    43230‐2267
GEORGE D GORE                                  7508 FAIRFIELD CT                                                                                FAIRVIEW          TN    37062‐7232
GEORGE D GORRIE                                ROUTE 1 BOX 180A                                                                                 GERMFASK          MI    49836‐9626
GEORGE D HALE                                  40 GRAMPIAN                                                                                      OXFORD            MI    48371‐5211
GEORGE D HARDIN JR                             6639 PASCO LANE                                                                                  PLAINFIELD        IN    46168‐7511
GEORGE D HARDNETT                              5265 HALCYON DR                                                                                  COLLEGE PARK      GA    30349‐1502
GEORGE D HARDY                                 101 BAJART PLACE                                                                                 YONKERS           NY    10705‐2724
GEORGE D HARELICK HERTZBERG CUST JARED BARNEY 24 CARTER ST                                                                                      NORWOOD           NJ    07648‐1518
HERTZBERG UGMA NJ
GEORGE D HECKMAN                               4285 KESSLER FRED RD                                                                             WEST MILTON       OH    45383‐9793
GEORGE D HEDGEPETH                             274 COUNTY ROAD 611                                                                              LAWLEY            AL    36793‐4106
GEORGE D HOFFERT                               7213 REGAL AVE SE                                                                                GRAND RAPIDS      MI    49548‐7749
GEORGE D HOGIE                                 4797 TIFFANY AVE                                                                                 PORTAGE           MI    49002‐9023
GEORGE D HOGIE & MAUREEN E HOGIE JT TEN        4797 TIFFANY AVE                                                                                 PORTAGE           MI    49002‐9023
GEORGE D HOLLAND                               3440 CORINTH PKWY                     APT 2001                                                   CORINTH           TX    76208‐1304
GEORGE D HOTTON & BEVERLEY JEAN HOTTON TEN ENT 560 CONESTOGA DR                                                                                 COATESVILLE       PA    19320

GEORGE D HUNTLEY                                 10 NORTH PLEASANT                                                                              FOWLER            OH    44418‐9737
GEORGE D KNIGHT                                  3280 NORTHSIDE PKWY                 APT 106                                                    ATLANTA           GA    30327
GEORGE D KOLENO                                  26914 SOUTHWOOD LANE                                                                           OLMSTED FALLS     OH    44138‐1157
GEORGE D LOWE                                    3526 S SHORE DR                                                                                LAPEER            MI    48446‐9755
GEORGE D MARKER                                  310 E WENGER ROAD                                                                              ENGLEWOOD         OH    45322‐2828
GEORGE D MARLOW                                  8 VOLINO                                                                                       POUGHKEEPSIE      NY    12603‐5025
GEORGE D MARONIC & ANNA MARONIC JT TEN           5580 WOLF ROAD #202                                                                            WESTERN SPRINGS   IL    60558‐2236

GEORGE D MCGEACHIE                               12155 DANFORTH                                                                                 STERLING HGTS     MI    48312‐2134
GEORGE D MCHENRY JR                              PO BOX 276                                                                                     GREAT CACAPON     WV    25422‐0276
GEORGE D MCMILLAN III                            3321 SPRINGHILL RD                                                                             BIRMINGHAM        AL    35223‐2008
GEORGE D MCPHEETERS                              387 LEISURE LANE                                                                               GREENWOOD         IN    46142‐8531
GEORGE D MILLER                                  802 HIGHLAND AVE                                                                               CARROLLTON        KY    41008‐1038
GEORGE D MORRIS                                  14410 VIEW DR                                                                                  NEWBURY           OH    44065‐9658
GEORGE D MORRIS                                  PO BOX 905                                                                                     COLEMAN           TX    76834‐0905
GEORGE D MORTON JR                               444 PENNSYLVANIA AVE                                                                           NORFOLK           VA    23508‐2833
GEORGE D MOSES                                   806 VIVIAN                                                                                     COLLINSVILLE      IL    62234‐3737
GEORGE D MYERS                                   9087 WILLARD RD                                                                                MILLINGTON        MI    48746‐9329
GEORGE D NOBLE III                               1130 MAIN ST                                                                                   WALTHAM           MA    02451‐7430
GEORGE D ODENCRANTZ                              386 DANVILLE CORNER RD                                                                         AUBURN            ME    04210‐8677
GEORGE D PHILLIPS JR                             RR 2 BOX 100 A                                                                                 ROCKVILLE         IN    47872‐9508
GEORGE D PRESTON JR                              1328 ACAPULCO                                                                                  DALLAS            TX    75232‐3002
GEORGE D RAINIER II & BETTY B RAINIER JT TEN     114 TRADITIONS WAY                                                                             LAWRENCEVILLE     NJ    08648
GEORGE D RHODES TR UA 01/18/2006 RHODES LIVING   5405 S GARFIELD ST                                                                             SPOKANE           WA    99223
TRUST
GEORGE D RIFFLE                                  7559 GEORGETOWN                                                                                HAZELWOOD         MO    63042‐1362
GEORGE D ROBY                                    737 HARVEYD DR                                                                                 WESTLAND          MI    48185‐3405
GEORGE D ROLLINGER                               37475 FIORE TRAIL                                                                              CLINTON TWP       MI    48036‐2038
GEORGE D ROWE JR                                                                                                                                WYCOMBE           PA    18980
GEORGE D SCHNEITER                               8968 S 1300 E                                                                                  SANDY             UT    84094‐1388
GEORGE D SCHWERIN                                1678 W MOUNT FOREST RD                                                                         PINCONNING        MI    48650‐8949
GEORGE D SEBURN                                  R ROUTE 1                           BOX #H‐289           JORDAN STATION ON   L0R 1S0 CANADA
GEORGE D SLUGGETT                                # 91 CATALINA CIRCLE NE             CALGARY AB                               T1Y 7B7 CANADA
GEORGE D SMEDE                                   359 FERRIS RD                                                                                  SCHENECTADY       NY    12304‐2479
GEORGE D TERLECKI                                8377 STONEY CREEK CT                                                                           DAVISON           MI    48423‐2102
GEORGE D TURNER                                  124 ROLLINGWOOD CIR                                                                            ROME              GA    30165‐1732
GEORGE D VALENTI                                 24189 GRAND TRAVERSE AVE                                                                       BROWNSTOWN        MI    48134
GEORGE D VOSS & BRUCE D VOSS & MARY C NIXON JT   11000 COUNTY LINE RD                PO BOX 392                                                 ORTONVILLE        MI    48462‐0392
TEN
GEORGE D WALDRUP II                              1585 JENIFER                                                                                   MADISON HEIGHTS MI      48071‐3006

GEORGE D WEBB JR                                 411 9TH ST N E                                                                                 ATLANTA           GA    30309‐4210
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GEORGE D WELCH                                  5230 LIVERMORE                                                                                  CLIFFORD           MI    48727‐9512
GEORGE D WEST                                   5420 SHERWOOD                                                                                   ROELAND PARK       KS    66205‐2235
GEORGE D WILD                                   3918 N NEW JERSEY                                                                               INDIANAPOLIS       IN    46205‐2635
GEORGE D WILKINSON                              41529 TWAIN PL                                                                                  NOVI               MI    48377‐2860
GEORGE D WOODS                                  5101 S ELMS RD                                                                                  SWARTZ CREEK       MI    48473‐1601
GEORGE D WORMLEY                                33160 SOLON RD                                                                                  SOLON              OH    44139‐2812
GEORGE D WRIGHT JR                              939 PAULDING ST                                                                                 PEEKSKILL          NY    10566‐2708
GEORGE DAICHENDT                                3838 N LAWNDALE AVE                                                                             CHICAGO            IL    60618‐4115
GEORGE DAIGLE & LUJUANNA W DAIGLE JT TEN        4200 KELLY ST                                                                                   VERNON             TX    76380
GEORGE DAILEY                                   72 ELMDORF AVE                                                                                  ROCHESTER          NY    14619‐1818
GEORGE DAKURAS                                  717 UNION                                                                                       ROMEOVILLE         IL    60446‐1431
GEORGE DALLAS                                   194 S MARIE                                                                                     WESTLAND           MI    48186‐3812
GEORGE DANIEL RICHARDS                          46482 SHARON DRIVE                                                                              EAST LIVERPOOL     OH    43920‐3997
GEORGE DANIEL WILD                              3918 N NEW JERSEY                                                                               INDIANAPOLIS       IN    46205‐2635
GEORGE DAVID BROWN                              9500 DENTON HILL                                                                                FENTON             MI    48430‐8416
GEORGE DAVID FERGUSON TOD JO ANN CAROL DUDEK    5600 SO SAYRE AVE                                                                               CHICAGO            IL    60638
SUBJECT TO STA TOD RULES
GEORGE DAVID PROSSER                            4480 URBANA RD                                                                                  SPRINGFIELD        OH    45502‐9503
GEORGE DAVID STALLINGS                          PO BOX 507                                                                                      GARNER             NC    27529
GEORGE DAVIDSON MEIER JR                        4921 EGYPT VALLEY N E                                                                           BELMONT            MI    49306‐9639
GEORGE DAVIS VAN ARSDALE                        7 BROWNING LANE                                                                                 PITTSFORD          NY    14534‐4007
GEORGE DE FELICE                                812 WHISTLERS COVE LN                                                                           ROCHESTER          NY    14612‐1464
GEORGE DE HELIAN                                46498 SUGAR BUSH RD                                                                             CHESTERFIELD TWP   MI    48047‐5236

GEORGE DEAN MELVIN                              RD 2 BOX 208                                                                                    GREENWOOD          DE    19950‐9447
GEORGE DEGNAN                                   39 WASHINGTON AVE                                                                               KEARNEY            NJ    07032‐1718
GEORGE DEJESUS & EVA DEJESUS JT TEN             6915 W WEDGEWOOD AVE                                                                            DAVIE              FL    33331‐2948
GEORGE DELGADO                                  14 GERANIUM ROAD                                                                                LEVITTOWN          PA    19057‐3316
GEORGE DEMELLO JR & MICHELE DEMELLO JT TEN      932 COLONIAL DR                                                                                 MORRISTOWN         TN    37814‐2563

GEORGE DENNIS LEAHY                             13831 MIDDLEBURY                                                                                SHELBY TOWNSHIP    MI    48315‐2832

GEORGE DEVERICH                                 6236 HYDE PARK                                                                                  ROMULUS            MI    48174‐4202
GEORGE DOBBINS JR & RUBY DOBBINS JT TEN         415 BURNS DR                           APT N802                                                 DETROIT            MI    48214‐3077
GEORGE DOBROWOLSKY                              1702 GOLDENROD                                                                                  SAGINAW            MI    48609‐8829
GEORGE DODSON JR                                6424 W 62ND ST                                                                                  INDIANAPOLIS       IN    46278‐1907
GEORGE DOMINQUEZ                                79 MAPLE STREET                                                                                 KEARNEY            NJ    07032‐1915
GEORGE DONALL                                   1423 MASSACHUSETTS AVENUE                                                                       LANSING            MI    48906‐4931
GEORGE DONOHUE                                  2500 CENTRE AVE                                                                                 BELLMORE           NY    11710‐3451
GEORGE DOUGLAS CONSAGRA                         163 5TH AVE                                                                                     SAN FRANCISCO      CA    94118
GEORGE DRYER                                    833 NEWMAN ST                                                                                   EAST TAWAS         MI    48730‐9747
GEORGE DUNN                                     6036 GOLF T SEA                                                                                 APOLLO BEACH       FL    33572‐2628
GEORGE DUNN JR                                  3408 ROYALTON AVE                                                                               ST LOUIS           MO    63114‐2822
GEORGE E ABBEY CUST MICHAEL E ABBEY UTMA WI     W 3284 INDIAN ROAD                                                                              NEOSHO             WI    53059‐9707

GEORGE E ALDERMAN                               2806 W SUNSET DR                                                                                ROGERS             AR    72756‐2089
GEORGE E ANTHOU & JOAN MARIE ANTHOU JT TEN      202 MCGREGOR DR                                                                                 CANONSBURG         PA    15317‐2265

GEORGE E ARNOTT                                 5974 BARNES RD                                                                                  MILLINGTON         MI    48746‐9436
GEORGE E BANTA                                  ONE HORNBECK RIDGE                                                                              POUGHKEEPSIE       NY    12603‐4205
GEORGE E BECK & LEAH F BECK JT TEN              8885 N SR 9                                                                                     ALEXANDRIA         IN    46001‐8843
GEORGE E BECK & LEAH F BECK JT TEN              8885 N SR 9                                                                                     ALEXANDRIA         IN    46001‐8843
GEORGE E BLOOM & ROSALYN F BLOOM JT TEN         4337 MARINA CITY DR UNIT 849                                                                    MARINA DEL REY     CA    90292‐5847
GEORGE E BORASKY                                8741 MAPLE FLATS RD                                                                             CLEVELAND          NY    13042‐2165
GEORGE E BOSCO                                  3281 REVLON DRIVE                                                                               KETTERING          OH    45420‐1246
GEORGE E BOSY                                   22560 SKYVIEW LN                                                                                BEND               OR    97702‐9676
GEORGE E BOWEN & JOYCE FAITH BOWEN JT TEN       239 LAKE ST                                                                                     GIRARD             PA    16417‐1314
GEORGE E BOWREN                                 6415 HOLDRIDGE RD                                                                               HOLLY              MI    48442‐9719
GEORGE E BRENNAN                                2300 GRAND HAVEN DR                    APT 143                                                  TROY               MI    48083‐4423
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GEORGE E BRINGMAN                                  1371 U S RT 42 RD 1                                                                              ASHLAND           OH    44805
GEORGE E BRINGMAN & SONJA S BRINGMAN JT TEN        RFD 1 1371 US ROUTE 42                                                                           ASHLAND           OH    44805‐9733

GEORGE E BRINTON                                   7 COBLENTZ COURT                                                                                 MIDDLETOWN        MD    21769‐7857
GEORGE E BROGMUS CUST ERIC BROGMUS UTMA MA         516 E FAIRMOUNT RD                                                                               BURBANK           CA    91501‐1708

GEORGE E BROWN                                     15 DOWNING DR                                                                                    WHITE PLAINS      NY    10607
GEORGE E BRUCE                                     1047 ALGONQUIN DR                                                                                BOONE             NC    28607‐6478
GEORGE E BRUNO                                     R R 2 BOX 397                                                                                    PINCKNEYVILLE     IL    62274‐9650
GEORGE E BURIN JR                                  1124 ROSEWAY AVE SE                                                                              WARREN            OH    44484‐2809
GEORGE E BUSH                                      3215 S WAITE ST                                                                                  MARION            IN    46953‐4112
GEORGE E C BROWN                                   26 COVINGTON WAY                        HALIFAX NS                             B3M 3K2 CANADA
GEORGE E CAMERON & GRACE E CAMERON JT TEN          1633 EAST LAKESIDE DR UNIT1                                                                      GILBERT           AZ    85234
GEORGE E CARPENTER                                 1627 WAGONER RD                                                                                  PATRIOT           OH    45658‐9243
GEORGE E CARTER                                    4320 GREEN HILL ROAD                                                                             GAINESVILLE       GA    30506‐3573
GEORGE E CHAMBERLAIN                               PO BOX 352                                                                                       LINWOOD           NJ    08221‐0352
GEORGE E CHANDLEE                                  3495 PEBBLE RIDGE DR                                                                             YORK              PA    17402‐4349
GEORGE E CHURCHIN                                  PRESIDENTE MAZARYK 152‐1                MEXICO D F                             11560 MEXICO
GEORGE E CISCO JR                                  4423 CARTA LUNA ST                                                                               LAS VEGAS         NV    89135‐2429
GEORGE E COMBS                                     7939 SWEET POTATO RIDGE RD                                                                       BROOKVILLE        OH    45309‐9221
GEORGE E COPELAND                                  511 BARCLAY AVE                                                                                  DEWEY             OK    74029‐2803
GEORGE E CORSO                                     30909 IROQUOIS                                                                                   WARREN            MI    48093‐5025
GEORGE E CURTIS CUST TREVOR HARRISON CURTIS        PO BOX 60                                                                                        ATTICA            IN    47918‐0060
UGMA IN
GEORGE E DAVIS                                     844 GOLF DR                             APT 201                                                  PONTIAC           MI    48341‐2386
GEORGE E DAVIS                                     PO BOX 481                                                                                       LINDEN            MI    48451‐0481
GEORGE E DE JONG & NELLIE G DE JONG JT TEN         142 CLARK RD                            GOSHEN NEWYORK                                           GOSHEN            NY    10924
GEORGE E DEACON                                    6880 SCOTCH LK RD                                                                                W BLOOMFIELD      MI    48324‐3983
GEORGE E DERMER                                    3361 BALTIC SEA BLVD                                                                             TAVARES           FL    32778
GEORGE E DILL                                      768 RIVERS EDGE LN                                                                               PAINESVILLE       OH    44077‐3767
GEORGE E DIXIE                                     PO BOX 13155                                                                                     LANSING           MI    48901‐3155
GEORGE E DODD                                      4702 PORTSMOUTH BLVD                                                                             PORTSMOUTH        VA    23701‐2308
GEORGE E DONNER & BERNARD P DONNER EX UW           986 COCOPAH DR                                                                                   SANTA BARBARA     CA    93110‐1263
GEORGE B DONNER
GEORGE E DUNN                                      PO BOX 5473                                                                                      SUN CITY CENTER   FL    33571‐5473
GEORGE E EDDLESTON                                 28 AMBER CT                                                                                      HOMOSASSA         FL    34446‐4300
GEORGE E ELLIOTT                                   4708 SHANNAMARA DR                                                                               MATTHEWS          NC    28104‐2978
GEORGE E ELLIS                                     6988 MC KEAN LOT 120                                                                             YPSILANTI         MI    48197‐9799
GEORGE E ENCINAS                                   9660 COLUMBUS AVE                                                                                SEPULVEDA         CA    91343‐2210
GEORGE E ERNST                                     75 S WOODHILL AVE                                                                                BINGHAMTON        NY    13904‐2728
GEORGE E ESTES                                     4115 OLD PORTMAN RD                                                                              ANDERSON          SC    29626‐5346
GEORGE E FIEGEHEN JR                               7835 RITZ                                                                                        WESTLAND          MI    48185‐1415
GEORGE E FLANDERS JR                               BOX 51                                                                                           SAN GERONIMO      CA    94963‐0051
GEORGE E FORCE JR                                  417 BRIGHT WATER LANE                                                                            GREENVILLE        SC    29609‐6007
GEORGE E FRANKS                                    100 LAKE PL                                                                                      CONTINENTAL       OH    45831‐9567
GEORGE E FRIEDRICH & MARGARET T FRIEDRICH JT TEN   15101 GLADE DR #10‐3D                                                                            SILVER SPRING     MD    20906‐1541

GEORGE E FRIES                                     PO BOX 896                                                                                       CHARLESTOWN       WV    25414‐0896
GEORGE E FRYMYER JR                                7337 DABEL CT                                                                                    DAYTON            OH    45459‐3540
GEORGE E GAGE CUST JESSICA A GAGE UGMA NY          5401 COLLINS AVENUE                                                                              MIAMI BEACH       FL    33140‐2573
GEORGE E GALLINGER                                 42 HILL AIR ROAD                                                                                 LAKE PEEKSKILL    NY    10537‐1011
GEORGE E GATEWOOD & CONSUELO P GATEWOOD JT         11519 LAKE CYPRESS LOOP                                                                          FORT MYERS        FL    33913‐7826
TEN
GEORGE E GATLIN & JEAN K GATLIN JT TEN             709 MILLER ST                                                                                    LEESBURG          FL    34748‐4314
GEORGE E GILMORE JR                                557 LINDA VISTA                                                                                  PONTIAC           MI    48342‐1652
GEORGE E GLAZE                                     120 NORTH MC DONOUGH ST                                                                          JONESBORO         GA    30236‐3675
GEORGE E GORSKI                                    102 CREEKSIDE DR                                                                                 COLUMBIA          TN    38401‐6524
GEORGE E GRAHAM                                    4161 BELLWOOD DR SE                                                                              WARREN            OH    44484‐2947
GEORGE E GRANT                                     100 PARKRIDGE                                                                                    BUFFALO           NY    14215‐2210
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GEORGE E GREULICH                                6366 JUNIPER DR                                                                                  AMHERST          OH   44001‐1812
GEORGE E HAAMID & ALBERTA A HAAMID JT TEN        618 E BALTIMORE BLVD                                                                             FLINT            MI   48505‐6403
GEORGE E HANSON                                  1015 DIEGO COURT                                                                                 LADY LAKE        FL   32159‐5670
GEORGE E HARRIS                                  2551 6TH ST                                                                                      CUYAHOGA FALL    OH   44221‐2429
GEORGE E HASSEL & LORETTA A HASSEL JT TEN        311 S RIDGEWAY AVE                                                                               GLENOLDEN        PA   19036‐2305
GEORGE E HAWKINS                                 RT 1 BOX 254‐B                                                                                   PIEDMONT         MO   63957‐9801
GEORGE E HENRY                                   2817 N GRAND AVE                                                                                 TYLER            TX   75702‐1842
GEORGE E HERDON                                  8699 YALE RD                                                                                     ROOTSTOWN        OH   44272‐9734
GEORGE E HESTER                                  4670 JULIUS BLVD                                                                                 WESTLAND         MI   48186‐5127
GEORGE E HILL                                    895 B ST #154                                                                                    HAYWARD          CA   94541‐5107
GEORGE E HIPP                                    1802 PINE LOG RD                                                                                 AIKEN            SC   29803‐5727
GEORGE E HOBSON                                  615 S 13TH ST                                                                                    SAINT JOSEPH     MO   64501‐2844
GEORGE E HODGE                                   616 W FUNDERBURG RD                                                                              FAIRBORN         OH   45324‐2345
GEORGE E HONGACH                                 25 PINE CLOSE                                                                                    N TARRYTOWN      NY   10591‐1710
GEORGE E HORNER & ARNEDA N HORNER JT TEN         2009 GRACE AVE                                                                                   NEW BERN         NC   28560‐5363
GEORGE E HOWARD                                  47 MARY DAY                                                                                      PONTIAC          MI   48341‐1730
GEORGE E HUNT                                    12595 REED RD                                                                                    GRAFTON          OH   44044‐9573
GEORGE E HUNTER                                  39225 SUNDERLAND                                                                                 CLINTON TWP      MI   48038‐2680
GEORGE E HUNTER & VIOLET A HUNTER JT TEN         39225 SUNDERLAND DR                                                                              CLINTON TOWNSHIP MI   48038‐2680

GEORGE E IADAROLA JR                             22 LINDEN HTSD UNIT D4                                                                           NORWALK         CT    06850‐1329
GEORGE E JACKSON JR                              29318 TOWER RD                                                                                   SALEM           OH    44460‐9523
GEORGE E JAMES                                   40205 W SIX MILE RD                                                                              NORTHVILLE      MI    48167‐2369
GEORGE E JANETOS & MRS MARJORIE S JANETOS JT TEN 299 ROLLINS ROAD                                                                                 ROLLINSFORD     NH    03869‐5109

GEORGE E JONES                                   207 VALLEY RIDGE DR                                                                              JACKSON         MS    39206‐3158
GEORGE E JONES                                   234 HOWARD ST                                                                                    GREENFIELD      IN    46140‐2132
GEORGE E JONES                                   1748 RENEE DR                                                                                    HURST           TX    76054‐3728
GEORGE E KERNS                                   13588 STATE RTE 15                                                                               OTTAWA          OH    45875‐9687
GEORGE E KESLER                                  PO BOX 132                                                                                       WHEATCROFT      KY    42463‐0132
GEORGE E KING                                    10885 DEHMEL RD                                                                                  BIRCH RUN       MI    48415‐9706
GEORGE E KIRKMAN                                 681 N PIKE RD                                                                                    SPRINGVILLE     IN    47462‐5072
GEORGE E KIRKMAN & BETTY J KIRKMAN JT TEN        681 N PIKE RD                                                                                    SPRINGVILLE     IN    47462‐5072
GEORGE E KISSELBACH & MRS BARBARA A KISSELBACH   1710 STONES CROSSING                                                                             EASTON          PA    18045‐5738
JT TEN
GEORGE E KNAPP                                   5800 MARINE PKWY                                                                                 MENTOR ON THE   OH    44060‐2530
GEORGE E KOTTKAMP                                2870 MAPLETON LN                                                                                 MOUNT DORA      FL    32757‐9524
GEORGE E LA ROQUE                                5601 MEADOWBROOK CT                                                                              CLARKSTON       MI    48346‐3933
GEORGE E LAMARRE                                 41 SIGOURNEY ST                                                                                  BRISTOL         CT    06010‐6883
GEORGE E LEER                                    PO BOX 26786                                                                                     SAN JOSE        CA    95159‐6786
GEORGE E LEONARD JR                              200 MEYER FARM DRIVE                    13 CHESTERTOWN                                           PINEHURST       NC    28374
GEORGE E LITTLE                                  2058 W 108TH PL                                                                                  CHICAGO         IL    60643‐3305
GEORGE E LITTLE & CONCHITA A LITTLE JT TEN       2058 W 108TH PL                                                                                  CHICAGO         IL    60643‐3305
GEORGE E LLOYD                                   4920 KIMBALL                                                                                     KANSAS CITY     KS    66104‐2340
GEORGE E LOMBARD TR UA 05/08/74 GEORGE E         14300 LONG AVE                                                                                   MIDLOTHIAN      IL    60445
LOMBARD EST TRUST
GEORGE E MACPHERSON                              3716 BRAINBRIDGE DRIVE                                                                           BLOOMINGTON     IN    47401‐8721
GEORGE E MACVEIGH TR GEORGE E MACVEIGH TRUST     7040 UPLAND RIDGE DRIVE                                                                          ADAMSTOWN       MD    21710‐9615
UA 07/06/94
GEORGE E MALARNEY & MRS JEWEL K MALARNEY JT      711 N MAIN STREET                                                                                ADRIAN          MI    49221‐2151
TEN
GEORGE E MANNING                                 148 WIANNO AVE                                                                                   OSTERVILLE      MA    02655‐1947
GEORGE E MATHIS                                  5228 PICKETT DR                                                                                  JACKSONVILLE    FL    32219‐5317
GEORGE E MATHIS                                  4175 OLD SUWANEE RD                                                                              BUFORD          GA    30518‐4973
GEORGE E MATTHEWS                                5012 TOWERS ST                                                                                   TORRANCE        CA    90503‐1452
GEORGE E MC DOWELL                               29 GREY DAPPLE WAY                                                                               ORMOND BEACH    FL    32174‐1414
GEORGE E MCCLAIN & CLARA E MCCLAIN JT TEN        330 FLOCKTOWN RD                                                                                 LONG VALLEY     NJ    07853‐3834
GEORGE E MCCOY                                   606 OSTRANDER DR                                                                                 DAYTON          OH    45403‐3257
GEORGE E MCNEIL                                  2229 HASLETT ROAD                                                                                EAST LANSING    MI    48823‐2914
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GEORGE E MERRITT                                  107 SLATE LANE                                                                                 LEVITTOWN       NY    11756‐3936
GEORGE E MEYER                                    266 FAIRFIELD LANE                                                                             HILLSBOROUGH    NJ    08844‐1714
GEORGE E MICHEL                                   10649 W HINSDALE ST                                                                            BOISE           ID    83713‐3857
GEORGE E MILLER                                   11882 WELSH RUN RD                                                                             MERCERSBURG     PA    17236‐9506
GEORGE E MILLER                                   532 HARRIS AVENUE                                                                              BRIELLE         NJ    08730
GEORGE E MOELLER & ALICE E MOELLER JT TEN         3673 SHADY BLUFF DRIVE                                                                         LARGO           FL    33770‐4519
GEORGE E MOORE                                    2371 STONEGATE DRIVE                                                                           LAPEER          MI    48446‐9003
GEORGE E MOOREHOUSE                               2276 CATHERINE ST                     # 212                                                    CORTLANDT MNR   NY    10567‐7260
GEORGE E NACE                                     735 WILFERT DR                                                                                 CINCINNATI      OH    45245‐2026
GEORGE E ODELL                                    814 E KEARSLEY ST APT 515                                                                      FLINT           MI    48503‐1959
GEORGE E OLIVER CUST BRYAN E OLIVER UGMA AL       3538 BURNTLEAF LANE                                                                            BIRMINGHAM      AL    35226‐2024
GEORGE E OLSON                                    1449 BOSTON POST RD UNIT 22                                                                    WESTBROOK       CT    06498‐2074
GEORGE E ONEILL                                   106 HIAWATHA BLVD                                                                              OAKLAND         NJ    07436‐2917
GEORGE E PAPPA & MARY T PAPPA JT TEN              3826 WEST 109TH STREET                                                                         CHICAGO         IL    60655‐3947
GEORGE E PARK                                     6138 GUEMES ISLAND ROAD                                                                        ANACORTES       WA    98221
GEORGE E PETERSON                                 PO BOX 536                                                                                     MOUNT JEWETT    PA    16740‐0536
GEORGE E PHILPOT                                  712 SO FULS RD                                                                                 NEW LEBANON     OH    45345‐9114
GEORGE E PIERCE                                   34 WILLOUGHBY ST                                                                               SOMERVILLE      MA    02143‐1203
GEORGE E POLLITT & ESTHER POLLITT JT TEN          APT B‐1                               9832 TERRACE COURT E                                     PALOS PARK      IL    60464‐2658
GEORGE E PUCKETT                                  13767 N SHEPHERD LN                                                                            MT VERNON       IL    62864‐2056
GEORGE E R HERVEY JR                              3602 BRIAR ROSE COURT                                                                          GREENSBORO      NC    27410‐8297
GEORGE E RITTER JR                                58 HURLBURT ROAD                                                                               GREAT           MA    01230‐1552
                                                                                                                                                 BARRINGTON
GEORGE E ROBBINS                                  61 KIES COURT                                                                                  NIAGARA FALLS   NY    14304‐3249
GEORGE E ROBINSON                                 1014 LESLIE STREET                                                                             LANSING         MI    48912‐2508
GEORGE E ROLLINGER                                28290 KAUFMAN                                                                                  ROSEVILLE       MI    48066‐2670
GEORGE E ROMY                                     3322 GOSPORT CT                                                                                BLOOMINGTON     IN    47401‐4421
GEORGE E ROREX                                    601 ADA STREET                                                                                 KALAMAZOO       MI    49007‐2472
GEORGE E ROSE                                     3921 CATHERINE AVE                                                                             NORWOOD         OH    45212‐4027
GEORGE E RUNKEL                                   7624 W 600 N                                                                                   ANDREWS         IN    46702‐9507
GEORGE E RUNKLE                                   25824 SHOEMAKER                                                                                CIRCLEVILLE     OH    43113‐9423
GEORGE E RUSSELL                                  2515 STRATFORD RD SE                                                                           DECATUR         AL    35601‐6153
GEORGE E SANDERS                                  9431 CLOVERLAWN                                                                                DETROIT         MI    48204‐2759
GEORGE E SANDERS                                  629 SW DERBY DR                                                                                LEES SUMMIT     MO    64081‐3275
GEORGE E SAYLOR 3RD & CHERYL M SAYLOR JT TEN      152 GREENRIDGE RD                                                                              CLOVER          SC    29710‐8940

GEORGE E SAYLOR III                               152 GREENRIDGE RD                                                                              CLOVER          SC    29710‐8940
GEORGE E SCHELLHAASS                              W5925 COUNTY ROAD A N                                                                          ELKHART LAKE    WI    53020‐2033
GEORGE E SCHLAGEL & LINDA L SCHLAGEL JT TEN       2655 TURNER RD                                                                                 TURNER          MI    48765‐9714
GEORGE E SCHLAGEL & LINDA L SCHLAGEL JT TEN       2655 TURNER RD                                                                                 TURNER          MI    48765‐9714
GEORGE E SCHMIDT JR                               16292 WEST ROBIN RD                                                                            POLO            IL    61064‐9727
GEORGE E SCHNAIDT JR                              2574 GENES                                                                                     AUBURN HILLS    MI    48326‐1900
GEORGE E SCHNEIDER                                10576 SO AUSTIN ST                                                                             OAK CREEK       WI    53154‐6402
GEORGE E SCOTT                                    2786 WEST NORTH AVE                                                                            BALTIMORE       MD    21216‐3141
GEORGE E SHAFFER                                  PO BOX 765                                                                                     GRANTSVILLE     WV    26147‐0765
GEORGE E SHEPPARD                                 2922 N ROGERS AVE                                                                              BALTIMORE       MD    21207‐6774
GEORGE E SICKEN JR                                54710 ARROWHEAD                                                                                SHELBY TWSP     MI    48315‐1219
GEORGE E SILVA                                    PO BOX 1126                                                                                    ANGELS CAMP     CA    95222‐1126
GEORGE E SKAGGS                                   RT7 BOX 440                                                                                    OLIVE HILL      KY    41164‐9809
GEORGE E SKOGLUND                                 ATTN SHIRLEY SKOGLUND                 409 EAST READER STREET                                   ELBURN          IL    60119‐8938
GEORGE E SMITH                                    400 PLEASANT VALLEY DR                                                                         VICKSBURG       MS    39180‐9163
GEORGE E SNOVER                                   8547 EAST ST PO BOX 383                                                                        MILLINGTON      MI    48746‐0383
GEORGE E SPARKS SPARKS FAMILY TRUST UA 05/21/04   597 MARIETTA RD                                                                                CHILLICOTHE     OH    45601‐8437

GEORGE E SPARROW                                  111 DOLLENA AVE                                                                                PRUDENVILLE     MI    48651‐9762
GEORGE E SPENCER & BEVERLY SPENCER JT TEN         6641 CHAMPIONSHIP DR                                                                           CHANDLER        AZ    85249‐4307
GEORGE E STATEN                                   6766 VERNMOOR                                                                                  TROY            MI    48098‐1787
GEORGE E STATHIS                                  154 BEACH 121 ST                                                                               ROCKAWAY PARK   NY    11694‐1961
GEORGE E STEWARD                                  2761 TREFOIL RD NE                                                                             WAVERLY         KS    66871‐9301
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GEORGE E STEWART                                 RD 2 BOX 227                                                                                  MARTINSBURG        PA    16662‐9118
GEORGE E STRIZAK                                 7087 BIG CREEK PKWY                                                                           MIDDLEBERG         OH    44130‐4904
                                                                                                                                               HEIGHTS
GEORGE E STUART                                  15151 RUNNYMEDE                                                                               VAN NUYS           CA    91405‐1611
GEORGE E SUHR                                    13466 WEST BARRE RD R D 2                                                                     ALBION             NY    14411‐9406
GEORGE E TABER & GEORGE E TABER JR JT TEN        34 W WARWICK AVE                                                                              WEST WARWICK       RI    02893‐3829
GEORGE E TAYLOR                                  609 MAPLE ST                                                                                  CLIO               MI    48420‐1224
GEORGE E TAYLOR                                  335 NW 6TH ST                                                                                 WILLISTON          FL    32696‐1615
GEORGE E TAYLOR                                  364 SECOND ST                                                                                 MORROW             OH    45152‐1240
GEORGE E TAYLOR & RUTH A TAYLOR JT TEN           364 SECOND ST                                                                                 MORROW             OH    45152‐1240
GEORGE E TAYLOR JR                               5431 PRICE AVE                                                                                BALTIMORE          MD    21215‐4532
GEORGE E TEAGUE & EILEEN TEAGUE TR TEAGUE LIVING 9778 STATE ROUTE 22                                                                           MDL GRANVILLE      NY    12849
TRUST UA 2/3/00
GEORGE E TESKE                                   1437 SEQUOIA LN                                                                               DARIEN             IL    60561‐4423
GEORGE E TESKE & MARY T TESKE JT TEN             1437 SEQUOIA LN                                                                               DARIEN             IL    60561‐4423
GEORGE E THOMAS                                  2 KERNEL LANE                                                                                 LEVITTOWN          PA    19055‐2419
GEORGE E TODD                                    1101 WEAVER FARM LANE                                                                         SPRING HILL        TN    37174‐2186
GEORGE E TOROK                                   3473 HURON VIEW CT                                                                            DEXTER             MI    48130‐9385
GEORGE E TOWNSEND                                506 BROAD ST                                                                                  HOLLY              MI    48442‐1603
GEORGE E TOWNSVILLE                              C/O BARBARA J TOWNSVILLE             8120 E OUTER DRIVE                                       DETROIT            MI    48213‐1383
GEORGE E VALESKO                                 6728 PECK ROAD                                                                                RAVENNA            OH    44266‐9186
GEORGE E VANPELT                                 163 EAST FRANKLIN ST                                                                          TRETON             NJ    08610‐5838
GEORGE E VICKERMAN                               41929 N EMERALD LAKE DR                                                                       ANTHEM             AZ    85086‐1047
GEORGE E WALDO                                   1113 HUDSON DR                                                                                HOWELL             MI    48843‐6837
GEORGE E WALKER JR                               313 MAPLE ST                                                                                  HOWELL             MI    48843‐2125
GEORGE E WALLACE                                 467 DEERING RD NW                                                                             ATLANTA            GA    30309‐2244
GEORGE E WALTERS                                 7412 WASHBURN RD                                                                              GOODRICH           MI    48438‐9749
GEORGE E WARFIELD                                PO BOX 3293                                                                                   DURANGO            CO    81302‐3293
GEORGE E WATKINS                                 448 PIERCE LANE                                                                               KENNETT SQUARE     PA    19348‐1511
GEORGE E WEIMER                                  PO BOX 544                                                                                    BRUCETON MLS       WV    26525‐0544
GEORGE E WHITE                                   415 FOX ST                                                                                    BUFFALO            NY    14211‐2950
GEORGE E WHITFIELD JR                            PO BOX 13184                                                                                  LANSING            MI    48901‐3184
GEORGE E WHITTLES & MRS JEAN N WHITTLES JT TEN   795 WITMER RD                                                                                 YORK               PA    17402‐9371

GEORGE E WILSON                                  GENERAL DELIVERY JACKS LAKE          APSLEY ON                              K0L 1A0 CANADA
GEORGE E WOODS                                   PO BOX 299                                                                                    ARCADIA            LA    71001‐0299
GEORGE E WOODYARD                                3171 WARREN RAVENNA RD                                                                        NEWTON FALLS       OH    44444‐8734
GEORGE E ZORGO & LUCY ZORGO JT TEN               316 BALTIMORE AVE                                                                             WEST PITTSTON      PA    18643‐2021
GEORGE EAST                                      325 WOODLAND WAY                                                                              DUBLIN             GA    31021
GEORGE EATMON                                    16170 STANSBURY                                                                               DETROIT            MI    48235‐4013
GEORGE EDGAR YELVERTON                           BOX 425                                                                                       FREMONT            NC    27830‐0425
GEORGE EDWARD BIRDSEYE                           348 BELVIDERE                                                                                 EL PASO            TX    79912‐2157
GEORGE EDWARD BOWDEN                             624 SAFFRON CT                                                                                MYRTLE BEACH       SC    29579‐7077
GEORGE EDWARD GAMBILL                            240 SE 72ND ST                                                                                GAINESVILLE        FL    32641‐7754
GEORGE EDWARD HAYNES                             40432 ORANGELAWN AVE                                                                          PLYMOUTH           MI    48170‐6604
GEORGE EDWARD HYATT                              301 E CHARLESTOWN AVE                                                                         JEFFERSONVLLE      IN    47130‐4741
GEORGE EDWARD KRIESE                             41 CLAIRVIEW RD                                                                               GROSSE POINTE      MI    48236‐2645
                                                                                                                                               SHOR
GEORGE EDWARD LOCKE                              1105 E SILVERBELL                                                                             LAKE ORION         MI    48360‐2336
GEORGE EDWARD SHILALA JR                         3801 TAHIRIAN DR                                                                              LAKE HAVASU CITY   AZ    86406

GEORGE EDWARDS                                   PO BOX 247                                                                                    MODENA             NY    12548‐0247
GEORGE ELANJIAN                                  2151 MONROE BLVD                                                                              DEARBORN           MI    48124‐2922
GEORGE ELIAS GHATTAS                             2174 CRESTLINE DR                                                                             BURTON             MI    48509
GEORGE ELLIS MAYES                               302 W 5TH AV                                                                                  FLINT              MI    48503‐2447
GEORGE ELLIS SELMSER                             14819 CROXTON                                                                                 HOUSTON            TX    77015‐1911
GEORGE ELLISTON                                  28262 NORWOOD                                                                                 WARREN             MI    48092‐5626
GEORGE EMERY LITTLE                              5953 CARLTON AVENUE                  NIAGARA FALLS ON                       L2G 5J6 CANADA
GEORGE ENGLEBRAKE                                7705 NEW JERSEY AVE                                                                           KANSAS CITY        KS    66112‐2239
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GEORGE ENRIQUEZ                              RELIABLE EXTERMINATORS                 1639 SULLIVANDRIVE                                       SAGINAW           MI    48603‐4674
GEORGE ERNEST LE BLANC                       10311 COULEE KINNEY RD                                                                          ABBEVILLE         LA    70510‐2192
GEORGE ERNEST RINKER                         PO BOX 1089                                                                                     BURLINGTON        NC    27216‐1089
GEORGE EUGENE ARMBRECHT & ANN W ARMBRECHT JT 22 PARK HILL RD                                                                                 WASHINGTON        NJ    07882‐2353
TEN
GEORGE EUGENE TOMKINS                        1957 DOGWOOD LAKE RD                                                                            MERIDIAN          MS    39305‐9277
GEORGE F ARMSTRONG                           3631 EAST WORTH                                                                                 PINCONNING        MI    48650‐8311
GEORGE F BAGLEY                              PO BOX 343                                                                                      ORONO             ME    04473
GEORGE F BAKER                               N2577 COUNTY ROAD J                                                                             FORT ATKINSON     WI    53538‐9548
GEORGE F BALL                                13 TIERRAVISTA                                                                                  LAGUNA HILLS      CA    92653‐5325
GEORGE F BARRON & ALBERTA J BARRON JT TEN    4016 S ELMS ROAD                                                                                SWARTZ CREEK      MI    48473‐1501
GEORGE F BARTKO                              908 NORTH BROADWAY APT 62W                                                                      YONKERS           NY    10701‐1235
GEORGE F BARTKO & RITA T BARTKO JT TEN       908 NORTH BROADWAY APT 62W                                                                      YONKERS           NY    10701‐1235
GEORGE F BARTLETT                            10480 W 900 S                                                                                   REDKEY            IN    47373‐9366
GEORGE F BATESON & ANN L BATESON JT TEN      6196 HEATHER PL                                                                                 FRIDLEY           MN    55432‐5253
GEORGE F BEVANS                              POST HOUSE ROAD                                                                                 MORRISTOWN        NJ    07960
GEORGE F BICKFORD                            1280 HAWLEY RD                         PO BOX 435                                               ASHFIELD          MA    01330‐0435
GEORGE F BITTNER & MARGARET M BITTNER JT TEN 19983 LOCHMOOR                                                                                  HARPER WOODS      MI    48225‐1745

GEORGE F BLASS & HELEN J BLASS JT TEN           921 N DREXEL                                                                                 DEARBORN        MI      48128‐1613
GEORGE F BOOTH                                  311 SOUTH TOWNE DR                  APT 104                                                  SOUTH MILWAUKEE WI      53172‐4108

GEORGE F BRACEY JR                              11 LATCHMERE CT                                                                              PITTSFORD         NY    14534‐1616
GEORGE F BRESLIN JR                             420 EAST RAHN ROAD                                                                           DAYTON            OH    45429‐5949
GEORGE F BRINTON & JOAN C BRINTON JT TEN        4166 EASTWOOD DRIVE                                                                          SARASOTA          FL    34232‐3406
GEORGE F BRUECK                                 630 PERRY CREEK DR                                                                           GRAND BLANC       MI    48439‐1474
GEORGE F BUNKER                                 5852 LYONS RD                                                                                IMLAY CITY        MI    48444‐8825
GEORGE F CLARK & JOSEPHINE S CLARK JT TEN       420 DUNHAMS CORNEY RD                                                                        EAST BRUNSWICK    NJ    08816
GEORGE F CLARK JR                               15 CHESTNUT DRIVE                                                                            EAST WINDSOR      NJ    08520‐2108
GEORGE F COLE JR                                4975 STENTZ                                                                                  SHELBY            OH    44875‐9071
GEORGE F CONRADI                                12 PLEASANT AVE                                                                              FANWOOD           NJ    07023‐1152
GEORGE F CORSE & NANCY R CORSE JT TEN           WHITEHORSE VILLAGE                  535 GRADYVILLE RD    W117                                NEWTOWN SQ        PA    19073‐2815
GEORGE F CORSE JR                               WHITEHORSE VILLAGE                  535 GRADYVILLE RD    W117                                NEWTOWN SQ        PA    19073‐2815
GEORGE F CORSO                                  30909 IROQUOIS                                                                               WARREN            MI    48093‐5025
GEORGE F CRONIN & DIXIE L CRONIN JT TEN         6560 BAYWOODS DR                                                                             ELK RAPIDS        MI    49629‐9539
GEORGE F DECKER                                 8461 LIGHTNER LN                                                                             SWARTZ CREEK      MI    48473‐9182
GEORGE F DOWNS & LILLIAN E DOWNS JT TEN         2 MINERVA LANE                                                                               MAHOPAC           NY    10541‐4224
GEORGE F FANTA                                  33 DIAMOND PT                                                                                MORTON            IL    61550‐1186
GEORGE F FANTINI                                3724 PHILADELPHIA PIKE                                                                       CLAYMONT          DE    19703‐3412
GEORGE F FORD & KAY L FORD JT TEN               PO BOX 143                                                                                   LINWOOD           MI    48634‐0143
GEORGE F FORT                                   4933 PERIDIA BLVD                                                                            BRADENTON         FL    34203‐4010
GEORGE F FRANCIS III                            19333 GREENWALD DRIVE                                                                        SOUTHFIELD        MI    48075‐5831
GEORGE F GALBRECHT                              541 COUNTY TRK X                                                                             EDGERTON          WI    53534
GEORGE F GANDENBERGER CUST JANE C               376GB ROLLING KNOLLS WAY                                                                     BRIDGEWATER       NJ    08807‐1900
GANDENBERGER UTMA NJ
GEORGE F GILMARTIN                              103 WOODSTOCK GARDENS                                                                        BATAVIA           NY    14020‐1760
GEORGE F GOTTLER                                6608 IMLAY CITY RD                                                                           IMLAY CITY        MI    48444‐8502
GEORGE F GRANT                                  1820 MARLOWE DR                                                                              FLINT             MI    48504‐7090
GEORGE F HEBERT & ANNAMARIA C HEBERT JT TEN     19897 SW PROSPECT ST                                                                         BEAVERTON         OR    97007‐4302

GEORGE F HELM JR                                4 OLD QUARRY ROAD                                                                            CEDAR GROVE       NJ    07009‐1603
GEORGE F HOUSLEY                                34430 GLEN                                                                                   WESTLAND          MI    48186‐4350
GEORGE F HVIZDAK                                7118 BLACKHAWK LN                                                                            FORT WAYNE        IN    46815‐6450
GEORGE F KAISER                                 5141 ARDEN                                                                                   WARREN            MI    48092‐1187
GEORGE F KAYACKAS JR                            282 HALE RD                                                                                  PAWELSVILLE TWP   OH    44027

GEORGE F KELSCHENBACH                           122 DORCHESTER RD                                                                            BUFFALO           NY    14213
GEORGE F KERNER JR                              7010 N WYOMING AVE                                                                           KANSAS CITY       MO    64118‐8361
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GEORGE F KERRIGAN                                  971 FOX MEADOW ROAD                                                                             YORKTOWN           NY    10598‐2905
                                                                                                                                                   HEIGHTS
GEORGE F KREMLICK                                  2520 SUNHILL DR                                                                                 WATERFORD          MI    48329‐4426
GEORGE F LANDON RACHEL D LANDON & RODNEY F         3428 W CARPENTER RD                                                                             FLINT              MI    48504‐1287
LANDON JT TEN
GEORGE F LANDON RACHEL D LANDON & SHEILA D         3428 W CARPENTER RD                                                                             FLINT              MI    48504‐1287
HILLIER JT TEN
GEORGE F LANNING                                   5561 AMBLER ST                                                                                  LANSING            MI    48911‐7201
GEORGE F MAGUIRE                                   41 MECHANIC                                                                                     OXFORD             MI    48371‐4952
GEORGE F MANLEY                                    3375 EAST D AVENUE                                                                              KALAMAZOO          MI    49009‐5601
GEORGE F MARCO                                     9979 STATE ROUTE 700                                                                            MANTUA             OH    44255‐9730
GEORGE F MARUCCI                                   1407 FOURTH AVENUE                                                                              SPRING LAKE        NJ    07762‐1404
GEORGE F MAYER                                     3731 ROBERTSON DR                                                                               WARREN             MI    48092‐2503
GEORGE F MC CRACKEN                                316 MILL VILLAGE BLVD                                                                           LONGMONT           CO    80501‐9707
GEORGE F MC TAVISH                                 3487 CLIFFROSE TRL                                                                              PALM SPRINGS       CA    92262‐9756
GEORGE F MCCLEARY JR                               2514 HARVARD RD                                                                                 LAWRENCE           KS    66049‐2617
GEORGE F MCOSKER & MARILYN J MCOSKER JT TEN        7413 OAK RD                                                                                     ROGERS CITY        MI    49779‐9506

GEORGE F MINARD                                    6155 LUCAS ROAD                                                                                 FLINT              MI    48506‐1228
GEORGE F MORGAN JR                                 1942 HARBINS RD                                                                                 BACULA             GA    30019‐1844
GEORGE F NICHOLS                                   12350 GRAHAM DR                                                                                 ORIENT             OH    43146‐9113
GEORGE F NISHIDA & JAMES E NISHIDA JT TEN          1010 PUUOPAE ROAD                                                                               KAPAA KAUAI        HI    96746‐8608
GEORGE F NORRIS                                    601 EAST DAYTON DRIVE                                                                           FAIRBORN           OH    45324‐5121
GEORGE F ORMROD                                    17923 DARYL LANE SW                                                                             ROCHESTER          WA    98579
GEORGE F PALMATEER                                 4212 ROOSEVELT HWY                                                                              HOLLEY             NY    14470‐9203
GEORGE F PAWL & MARY COLEMAN PAWL JT TEN           1200 S COURTENAY PKWY                  APT 408                                                  MERRITT IS         FL    32952‐3813
GEORGE F PEKALA & JOHN M PEKALA JT TEN & 128 E                                                                                                     ALTOONA            PA    16601‐3944
WOPSY AVE
GEORGE F PETRIELLA                                 9397 SPRUCEDALE DR                                                                              FLUSHING           MI    48433‐1040
GEORGE F PFEIFFER & EVELYN D PFEIFFER JT TEN       34 FAHNESTOCK RD                                                                                MALVERN            PA    19355‐2105
GEORGE F POWERS JR & CATHERINE G POWERS JT TEN     747 MT CUBA RD                                                                                  YORKLYN            DE    19736‐9711

GEORGE F RIZIK II CUST DAVID T PAVLOVICH UGMA MI   5443 PROVINCIAL RD                                                                              GRAND BLANC        MI    48439

GEORGE F ROSS                                      1109 HILO GLN                                                                                   ESCONDIDO          CA    92026‐3325
GEORGE F RUNNER                                    4561 WESTBOURNE DR                                                                              TOLEDO             OH    43623‐2015
GEORGE F SEXTON                                    80 DE SABLA RD                                                                                  HILLSBOROUGH       CA    94010‐6802
GEORGE F SIEFERT                                   35 JUNIPER AVE                                                                                  RONKONKOMA         NY    11779‐5925
GEORGE F SIPPLE                                    29011 GRIX RD                                                                                   NEW BOSTON         MI    48164‐9495
GEORGE F SKALA                                     8434 ELY ROAD                                                                                   GARRETTSVILLE      OH    44231‐9613
GEORGE F STEARNS                                   8283 W POTTER ROAD                                                                              FLUSHING           MI    48433‐9413
GEORGE F STEARNS & MRS VIRGINIA M STEARNS JT TEN   8283 POTTER RD                                                                                  FLUSHING           MI    48433‐9413

GEORGE F STOUT                                     215 FAIRVIEW RD                                                                                 ELKTON             MD    21921‐1702
GEORGE F SURIK                                     4811 MOHICAN TR                                                                                 OWOSSO             MI    48867‐9731
GEORGE F TAYLOR                                    37050 PUEBLO DRIVE                                                                              SELBYVILLE         DE    19975‐4042
GEORGE F TEMPLE                                    604 ALMOND                                                                                      WESTLAND           MI    48186‐6800
GEORGE F THIERS JR                                 135 WOODLAND DR                                                                                 PITTSBURGH         PA    15236‐4115
GEORGE F TREON                                     539 CHESTNUT                                                                                    VERSAILLES         OH    45380‐1307
GEORGE F UNWER                                     1050 OZMENT DR                                                                                  FLORISSANT         MO    63033‐6004
GEORGE F VANDERSLICE & DORIS M VANDERSLICE JT      368 NAHANT RD                                                                                   NAHANT             MA    01908‐1612
TEN
GEORGE F WARD JR                                   6830 ORINOCO CIRCLE                                                                             BLOOMFIELD HILLS   MI    48301‐2935

GEORGE F WARNER                                    116 WOOD RD                                                                                     SOMERS             CT    06071‐1252
GEORGE F WEBB                                      90 TOWNSHIP ROAD 1340                                                                           SOUTH POINT        OH    45680‐7903
GEORGE F WELLS JR                                  16612 MYRTLE                                                                                    CLEVELAND          OH    44128‐3859
GEORGE F WILLIAMS                                  128 CLEARVIEW RD                                                                                ROCHESTER          NY    14616‐2708
GEORGE F WOODS JR TOD GEORGE F WOODS               8968 QUANDT                                                                                     ALLEN PARK         MI    48101‐1529
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GEORGE F WOOLEY JR                               2614 GLEN ROSE DR                                                                                  AUBURN HILLS       MI    48057
GEORGE F ZELTNER                                 8311 HERON COURT                                                                                   INDIANAPOLIS       IN    46256‐1707
GEORGE FISHER                                    5594 S 1ST ST                                                                                      KALAMAZOO          MI    49009‐9429
GEORGE FLEAGANE                                  42555 FRONTIER DR                                                                                  BELMONT            OH    43718‐9549
GEORGE FLESSAS                                   17033 CANVAS STREET                                                                                CANYON CNTRY       CA    91351‐3120
GEORGE FLOOD JR                                  RFD 1                                  BOX 1850                                                    CLINTON            ME    04927‐9700
GEORGE FLOYD                                     142 FLORENCE                                                                                       HIGHLAND PK        MI    48203‐2768
GEORGE FOGEL                                     802 DELMA DR                                                                                       BRYAN              TX    77802‐3707
GEORGE FOJAN                                     26639 KAREN AVENUE                                                                                 WARREN             MI    48091‐1015
GEORGE FONTANA JR                                170 WESTMINSTER RD                                                                                 WEST HEMPSTEAD     NY    11552

GEORGE FORAY                                     185 HOLDEN BLVD                                                                                    STATEN ISLAND      NY    10314‐5160
GEORGE FORGO                                     25 HOLCOMBE LN                                                                                     BELLA VISTA        AR    72714‐4223
GEORGE FRANCIS MONTGOMERY                        716 BRANTLY AVE                                                                                    DAYTON             OH    45404‐1432
GEORGE FRANK & JUDITH FRANK JT TEN               72 WEST AVENUE                                                                                     HICKSVILLE         NY    11801‐4636
GEORGE FRANKLIN KIDD                             2150 PINE LOG ROAD                                                                                 AIKEN              SC    29803‐5755
GEORGE FRAZIER JR                                81 INCHES                                                                                          MT CLEMENS         MI    48043‐2451
GEORGE FREEDMAN & BETTI FREEDMAN JT TEN          ARVOT HANACHAL 11/7                    RAMAT BEIT SHEMESH                     ISRAEL
GEORGE FRIEDMAN CUST MIKKI A FRIEDMAN UGMA NJ    194 CARLTON TERRACE                                                                                TEANECK            NJ    07666‐4650

GEORGE FROCZILA JR & DOROTHY M FROCZILA JT TEN   8765 BRUCE COLLINS                                                                                 STERLING HEIGHTS   MI    48314‐2401

GEORGE FULGENCIO                                 4330 E LAPORT RD                                                                                   FREELAND           MI    48623‐9445
GEORGE G ARMSTRONG                               2121 W COUNTY ROAD 750 S                                                                           SPICELAND          IN    47385‐9722
GEORGE G BRANNON                                 21 W SUNNYDALE DR                                                                                  HUNTINGTON         IN    46750‐3951
GEORGE G CARMAN                                  3075 E LYDIUS ST                                                                                   SCHENECTADY        NY    12303‐5057
GEORGE G CHAMBERS                                1523 HENNEY STREET                                                                                 ANGOLA             IN    46703‐6520
GEORGE G CHITESTER                               921 EAST 36 ST                                                                                     ERIE               PA    16504‐1801
GEORGE G EBER & EDNA E EBER TR GEORGE G EBER &   21 RAINFLOWER PATH #203                                                                            SPARKS             MD    21152‐8756
EDNA E EBER REVOCABLE
GEORGE G FLORES                                  39 PALA AVE                                                                                        SAN JOSE           CA    95127‐2338
GEORGE G FOUCART                                 32253 CAMBRIDGE DR                                                                                 WARREN             MI    48093‐6181
GEORGE G FOWLER & MARY K FOWLER JT TEN           304 EUNICE ST                                                                                      SEQUIM             WA    98382‐3932
GEORGE G FUNCK                                   4710 INDEPENDENCE DR                                                                               CLARKSTON          MI    48346‐3732
GEORGE G GLOVER                                  13 ROY PL                                                                                          EASTCHESTER        NY    10709‐1451
GEORGE G GONDA                                   15625 EASTBOURN DRIVE                                                                              ODESSA             FL    33556‐2851
GEORGE G GOODRICH                                3320 W BATH RD                                                                                     AKRON              OH    44333‐2106
GEORGE G HELSEL                                  13361 WEBSTER RD                                                                                   CLIO               MI    48420‐8262
GEORGE G IRONS & CAROLE E IRONS JT TEN           344 BAY AVE                                                                                        TUCKERTON          NJ    08087‐2506
GEORGE G KIEFER TR GEORGE G KIEFER DEFINED       3415 SPRING VIEW DR                                                                                SEVIERVILLE        TN    37862‐8415
BENEFIT & TRUST
GEORGE G KINNEY & MRS PRISCILLA KINNEY JT TEN    72 FORGEDALE RD                                                                                    FLEETWOOD          PA    19522‐9610

GEORGE G KNOX                                    4462 ASHBERRY DR                                                                                   MILTON             WI    53563‐8897
GEORGE G KOVACS                                  19618 GUDITH                                                                                       TRENTON            MI    48183‐1036
GEORGE G LANG                                    415 WATERGATE WAY                                                                                  ROSWELL            GA    30076‐3251
GEORGE G MAGANA                                  9109 EGLISE AVE                                                                                    DOWNEY             CA    90240‐3029
GEORGE G MARNOCH                                 351 BALLYDUFF RD                       PONTYPOOL ON                           L0A 1K0 CANADA
GEORGE G MARTIN TR GEORGE G MARTIN TRUST UA      209 E LIBERTY                                                                                      MILFORD            MI    48381‐1949
01/18/94
GEORGE G MONTGOMERY                              14161 BANGOR DR                                                                                    STERLING HEIGHTS   MI    48313‐5405

GEORGE G POLOVICH                                32 MILL ST                                                                                         OXFORD             MI    48371‐4960
GEORGE G POTE & MRS DORIS W POTE JT TEN          706 MIDDLE LN                                                                                      CAMP HILL          PA    17011
GEORGE G PROBST                                  20 PARK LANE                           BOX 184                                                     WELLSVILLE         NY    14895‐0184
GEORGE G RALSTON                                 4005 WEST 93RD ST 3E                                                                               OAK LAWN           IL    60453‐1993
GEORGE G RHODES JR                               91 S MAIN ST                                                                                       MIDDLEPORT         NY    14105‐1313
GEORGE G ROBINSON TR UA 03/23/90 BERTHA F MYHR   14 KING FISHER RD                                                                                  NOTTINGHAM         NH    03290‐5608
TRUST
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GEORGE G ROMAS TOD JOHN E ROMAS                 5917 INDEPENDENCE LN                                                                            W BLOOMFIELD     MI    48322
GEORGE G SANER                                  400 WILLOW VALLEY SQ #GA205                                                                     LANCASTER        PA    17602‐4882
GEORGE G SAUTTER                                5381 CALAMONDIN AVENUE                                                                          COCOA            FL    32926
GEORGE G SCOTT JR                               317 N MAIN ST                                                                                   CRESTVIEW        FL    32536
GEORGE G SMITH JR                               4503 GREENVIEW RD                                                                               NEW BERN         NC    28562‐7633
GEORGE G SPEIR III                              327 SOUTH CATHERINE AVE                                                                         LAGRANGE         IL    60525‐6301
GEORGE G SPROWLS                                216 E PIKE ST                                                                                   HOUSTON          PA    15342‐1713
GEORGE G STIEFEL                                364 FARVIEW AVE                                                                                 PARAMUS          NJ    07652‐4630
GEORGE G STRAUSS                                PO BOX 2157                                                                                     SANDWICH         MA    02563‐8157
GEORGE G STREETER                               56 DUNUEGAN RD                         ST CATHARINES ON                       L2P 1H6 CANADA
GEORGE G STREETER                               56 DUNVEGAN ROAD                       ST CATHARINES ON                       L2P 1H6 CANADA
GEORGE G SYLVESTER                              104 ROSE HILL COURT                                                                             FRANKLIN         TN    37069‐1855
GEORGE G THOMPSON                               953 ELK ST                                                                                      FRANKLIN         PA    16323‐1158
GEORGE G WEDDELL                                349 DALE ROAD                                                                                   BETHEL PARK      PA    15102‐1205
GEORGE G WEIMER                                 580 WILLARDSHIRE ROAD                                                                           ORCHARD PARK     NY    14127‐2037
GEORGE G YEARSICH                               8315 E BOULEVARD DR                                                                             ALEXANDRIA       VA    22308‐1316
GEORGE GALE MARKS                               1071 COOK RD                           GATINEAU QUEBEC QC                     J9J 3P8 CANADA
GEORGE GARTH MILLER & DIXIE L MILLER JT TEN     1163 COUNTY RD #2240                                                                            SALEM            MO    65560
GEORGE GARZA                                    28019 GRANT                                                                                     ST CLAIR SHRS    MI    48081‐1420
GEORGE GASPAR                                   12260 CHURCH ST                                                                                 BIRCH RUN        MI    48415‐9288
GEORGE GASPAR & BONNIE J GASPAR JT TEN          12260 CHURCH ST                                                                                 BIRCH RUN        MI    48415
GEORGE GATI                                     11 ROCK DOVE LN                                                                                 SAVANNAH         GA    31405‐8160
GEORGE GATI CUST ADAM NICHOLAS GATI A UGMA OH   11 ROCK DOVE LN                                                                                 SAVANNAH         GA    31405‐8160

GEORGE GEE                                      973 JAMAICA BLVD                                                                                TOMS RIVER        NJ   08757‐3702
GEORGE GENES                                    71 BEVERLY RD                                                                                   WELLESLEY         MA   02481‐1121
GEORGE GENTIS                                   1217 MCKINLEY ST                                                                                WARREN            OH   44483‐5139
GEORGE GERDTS CUST CAITLIN GERDTS UTMA WA       14175 HENDERSON RD NE                                                                           BAINBRIDGE ISLAND WA   98110‐3007

GEORGE GERLE                                    LINDENSTRASSE 6                        D 86833 ETTRINGEN                      GERMANY
GEORGE GHIURCAN                                 8927 CAMELOT DRIVE                                                                              CHESTERLAND      OH    44026‐3109
GEORGE GIBRAN                                   1 LAKESIDE DRIVE                                                                                WOLCOTT          CT    06716‐3215
GEORGE GIBSON                                   1705 W COLE RD                                                                                  FREMONT          OH    43420‐8564
GEORGE GILBERT                                  38 SOUTH PIERSON RD                                                                             MAPLEWOOD        NJ    07040‐3409
GEORGE GILES & MARGARET GILES JT TEN            53 GODFREY DRIVE                       LONDON ON                              N5V 2E8 CANADA
GEORGE GIUCHICI                                 3622 STRATTON LANE                                                                              HOWELL           MI    48843‐8659
GEORGE GLYNN                                    4706 LAKE RD S                                                                                  BROCKPORT        NY    14420‐2311
GEORGE GODFREY WATKINS                          24 FRENCH ST                                                                                    BUFFALO          NY    14211‐1313
GEORGE GOLDSWORTHY                              26 BARBARA                                                                                      BLOOMFIELD       NJ    07003
GEORGE GONOS TOD DAVID GONOS                    45 1/2 PIERREPONT AVE                                                                           POTSDAM          NY    13676
GEORGE GOODWIN                                  1251 LONGFELLOW AVE                                                                             TEANECK          NJ    07666‐4911
GEORGE GORDON OGG JR                            3935 W AVE 43                                                                                   LA               CA    90041‐3203
GEORGE GORDON ROBINSON                          14 KING FISHER RD                                                                               NOTTINGHAM       NH    03290‐5608
GEORGE GOURDINE JR                              2833 WELLMAN AVENUE                                                                             NEW YORK         NY    10461‐5424
GEORGE GRABSKI                                  23305 WILMOT                                                                                    EASTPOINTE       MI    48021‐1859
GEORGE GRANBERRY JR                             6914 PARKBELT DR                                                                                FLINT            MI    48505‐1987
GEORGE GRAY JR                                  3240 MCKELVEY RD                                                                                BRIDGETON        MO    63044‐2532
GEORGE GREEN JR                                 264 DELLWOOD                                                                                    PONTIAC          MI    48341‐2737
GEORGE GREGORY                                  480 MOLLIE LANE                                                                                 MARSHALL         TX    75692
GEORGE GREGORY ABBOTT                           308 PENROSE DR W                                                                                SAVANNAH         GA    31410‐1234
GEORGE GUARRELLA                                155‐58 COHANCY STREET                                                                           QUEENS           NY    11414‐2849
GEORGE GUIE                                     80 CARRIZAL ST                                                                                  SAN FRANCISCO    CA    94134‐3102
GEORGE GUNN JR                                  3523 RED MAPLE CT                                                                               DOUGLASVILLE     GA    30135‐2671
GEORGE GUSHANAS & MARIA GUSHANAS TEN ENT        170 BRADHEAD ST                                                                                 SUGARNOTCH       PA    18706‐2602

GEORGE GUTHRIE                                  3911 WHITE HOUSE RD                                                                             JASPER           AL    35501‐9131
GEORGE GUY JR                                   BOX 209                                                                                         WEST POINT       VA    23181‐0209
GEORGE H ABT                                    115 CEDAR ROAD                                                                                  BANGOR           PA    18013‐9526
GEORGE H ADAMS                                  14781 MEMORIAL DRIVE                   APT 2631                                                 HOUSTON          TX    77079
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GEORGE H ANTONAK JR                              1131 IVYGLEN CIRCLE                                                                            BLOOMFIELD HILLS   MI    48304‐1236

GEORGE H ANTONAK JR & JUDITH E ANTONAK JT TEN    1131 IVYGLEN CIRCLE                                                                            BLOOMFIELD HILLS   MI    48304‐1236

GEORGE H AUBREY & IRENE M AUBREY JT TEN          206 RAYNOR ST                                                                                  ISELIN             NJ    08830‐2436
GEORGE H BAGWELL                                 PO BOX 696                                                                                     HALIFAX            VA    24558‐0696
GEORGE H BAKER                                   340 DOGTOWN RD                                                                                 TOWNSEND           DE    19734‐9690
GEORGE H BALLARD & FRANCES JEAN BALLARD JT TEN   2819 JAMES LOUIS DR                                                                            AMARILLO           TX    79110‐2305

GEORGE H BARBER & SHARON KOVACH JT TEN       5710 GRASS LAKE RD                        RT 2                                                     WHITE LAKE         MI    48383‐2301
GEORGE H BARKER                              152 RIVER TRAIL                                                                                    BAY CITY           MI    48706‐1805
GEORGE H BAUMAN & MRS MARTHA J BAUMAN JT TEN C/O LINDA J TOTH                          2909 HILLCREST AVE                                       CLEVELAND          OH    44109‐4912

GEORGE H BEARD                                   8606 N 46TH ST                                                                                 OMAHA              NE    68152‐1906
GEORGE H BEAVERS                                 14659 HURON RIVER DRIVE                                                                        ROMULUS            MI    48174‐3624
GEORGE H BELCHER JR                              30 BELCHER AVE                                                                                 SLATERSVILLE       RI    02876
GEORGE H BELLOWS                                 RT 3 10100 KINGSLAND HWY                                                                       EATON RAPIDS       MI    48827‐9325
GEORGE H BENSON                                  8874 OLD TULLAHOMA RD                                                                          ESTILL SPRINGS     TN    37330‐4210
GEORGE H BLOOM JR & CATHERINE N BLOOM JT TEN     210 HIGHLAND AVE                                                                               NORTH WALES        PA    19454‐3406

GEORGE H BLOOM JR & CATHERINE N BLOOM TEN ENT    210 HIGHLAND AVE                                                                               NORTH WALES        PA    19454‐3406

GEORGE H BRAMBLE                                 352 COURTNEY ROUND                                                                             SUMMERVILLE        SC    29483‐5305
GEORGE H BROWN JR                                3857 W FREELAND RD                                                                             SAGINAW            MI    48604‐9774
GEORGE H CAIN                                    4742 SOUTH BAILEY ROAD                                                                         NORTH JACKSON      OH    44451‐9732
GEORGE H CALKINS                                 PALMER ROAD                                                                                    MONSON             MA    01057
GEORGE H CARMINE                                 1802 S PLAZA DRIVE 21                                                                          ELWOOD             IN    46036‐3243
GEORGE H CASKEY                                  2 5TH ST                                                                                       NORWALK            OH    44857‐1209
GEORGE H CHRISTIAN & CONSTANCE M CHRISTIAN JT    659 LONGVIEW DR                                                                                TOMS RIVER         NJ    08753‐5509
TEN
GEORGE H COATS III                               3 VISTA COURT                                                                                  CLAYTON            NC    27520‐6615
GEORGE H COFFMAN JR                              7561 N STATE ROUTE 42                                                                          WAYNESVILLE        OH    45068‐8841
GEORGE H COLEMAN                                 4 EDGAR CIR                                                                                    ORCHARD PARK       NY    14127‐1602
GEORGE H CONLEY JR                               1712 PETRI DR                                                                                  AMELIA             OH    45102‐2403
GEORGE H CONWAY                                  572 SEXTON ST                                                                                  STRUTHERS          OH    44471‐1147
GEORGE H COOK                                    1794 LINNEMAN                                                                                  CINCINNATI         OH    45238‐1946
GEORGE H COOK                                    17530 MADISON AVE                                                                              SOUTHFIELD         MI    48076‐1279
GEORGE H CREEL II                                124 MISSISSIPPI RIVER BLVD SO                                                                  ST PAUL            MN    55105‐1110
GEORGE H CROFUTT                                 8340 BRYCE DRIVE                                                                               SANDY              UT    84070‐0450
GEORGE H CULLER JR                               382 ORANGEPARK DR                                                                              ORANGEBURG         SC    29115‐2200
GEORGE H DAVIS                                   7979 EASTON RD                                                                                 NEW LOTHROP        MI    48460‐9787
GEORGE H DEWHIRST                                2606 MCCHESNEY LN                                                                              BEAUFORT           SC    29902‐5980
GEORGE H DOEGE II                                1170 SHOEMAKER                                                                                 WESTLAND           MI    48185‐3595
GEORGE H DOLL & EVELYN M DOLL JT TEN             5940 E TERRITORY AVE                                                                           TUCSON             AZ    85750‐1804
GEORGE H DORSEY                                  2837 BRIARWOOD                                                                                 SAGINAW            MI    48601
GEORGE H DUNKELBERG                              4629 STRAITS VIEW DR                                                                           CARP LAKE          MI    49718‐9521
GEORGE H DURHAM                                  1406 N ALTON AVE                                                                               INDIANAPOLIS       IN    46222‐2969
GEORGE H EBNER                                   4220 WILLIAMSBURG DR #F                                                                        HARRISBURG         PA    17109‐2367
GEORGE H EDMONDS                                 10200 CLARK ROAD                                                                               RICHMOND           IL    60071‐9620
GEORGE H EDWARDS                                 250 E YORK AVENUE                                                                              FLINT              MI    48505‐2147
GEORGE H EFIRD                                   6405 OLD ORCHARD COVE                                                                          MEMPHIS            TN    38119‐6421
GEORGE H EHLL & GLORIA J EHLL JT TEN             602 MICHAEL                                                                                    WENTZVILLE         MO    63385‐1012
GEORGE H ELMER JR                                101 WARWICK GLEN                                                                               VICTORIA           TX    77904‐2263
GEORGE H ESLER                                   10 PINE VIEW RDAD                                                                              PLATTE CITY        MO    64079
GEORGE H FERNANDEZ                               2503 HONORAH                                                                                   DETROIT            MI    48209‐1117
GEORGE H FITZPATRICK                             9175 SW 104TH LN                                                                               OCALA              FL    34481‐9015
GEORGE H FOLEY & LUCILLE E FOLEY JT TEN          27 DRY HOLLOW LANE                                                                             MASHPEE            MA    02649‐3651
GEORGE H FORSTER                                 824 HARRISON ST                                                                                NEW CASTLE         PA    16101‐4869
GEORGE H GADD                                    12083 GENESEE ST                                                                               ALDEN              NY    14004‐9714
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GEORGE H GESLIEN                                  HEARTHSTONE DRIVE                                                                              HUNTINGTON        CT    06484
GEORGE H GLADYSZ                                  5100 JONES ROAD                                                                                NORTH BRANCH      MI    48461‐9705
GEORGE H GOCHANOUR                                PO BOX 317                                                                                     LITCHFIELD        MI    49252‐0317
GEORGE H GOODRUM                                  BOX 183                                                                                        ADAMSVILLE        RI    02801
GEORGE H GRAVEL                                   101 ROOK RD                                                                                    CROMWELL          CT    06416‐2150
GEORGE H GRAVES JR CUST BRIAN E HINE UGMA IN      5485 WEST 106 STREET                                                                           ZIONSVILLE        IN    46077‐9265

GEORGE H GREENWALD                                2951 ARRENDONDA DR                                                                             DELTONA           FL    32738‐2293
GEORGE H GRINDSTAFF                               PO BOX 43                                                                                      NEW DOUGLAS       IL    62074‐0043
GEORGE H HALL & DIANNA M HALL JT TEN              565 BOYD RD                                                                                    PLEASANT HILL     CA    94523‐3243
GEORGE H HANKEY JR                                7807 SWAMP RD                                                                                  BERGEN            NY    14416‐9353
GEORGE H HANNAH & EDNA U HANNAH JT TEN            10118 CHICKADEE LANE                                                                           ADELPHI           MD    20783
GEORGE H HARLAN & MARGARET R HARLAN & LINDA       1700 CASTLEMAN CT                                                                              KELLER            TX    76248‐4303
DIANE HARLAN JT TEN
GEORGE H HELPAP                                   523 ELM ST                                                                                     SAGINAW           MI    48602‐1759
GEORGE H HENSLEY                                  7580 QUAKER TRACE RD                                                                           CAMDEN            OH    45311‐9718
GEORGE H HILL                                     BOX 4                                                                                          BARRYTON          MI    49305‐0004
GEORGE H HUBER JR                                 284 WASHINGTON ST                                                                              PERTH AMBOY       NJ    08861‐3336
GEORGE H HUBERT                                   380 OSBORNE DR                                                                                 BRIDGE CITY       TX    77611‐3028
GEORGE H HUFFMAN & MABLE M HUFFMAN JT TEN         8605 ROBISON COURT                                                                             FORT WAYNE        IN    46825‐7140

GEORGE H HUMENIK                                  32 ASTON CIRCLE                                                                                ORMOND BEACH      FL    32174‐9006
GEORGE H JAMISON                                  231 VILLA CREEK PKWY                                                                           CANTON            GA    30114‐7018
GEORGE H JOHNSON & SHIRLEY J JOHNSON JT TEN       921 ATTERBURY DR                                                                               PRESCOTT          AZ    86305‐4038

GEORGE H JOHNSTON                                 3619 MARINER                                                                                   WATERFORD         MI    48329‐2272
GEORGE H JONES JR TR UA 08/03/84 GEORGE H JONES   1810 STRATFORD RD SE                                                                           DECATUR           AL    35601‐6636
IV TRUST
GEORGE H KEMP                                     21398 JACKSONVILLE                                                                             FARMINGTON HILL   MI    48336‐5842

GEORGE H KESSLER & ANNE M KESSLER JT TEN          107 HIDDEN VALLEY DR                                                                           CLARKS SUMMIT     PA    18411‐9692
GEORGE H KISHMAN                                  5003 CLEVELAND RD E                   APT 5B                                                   HURON             OH    44839‐9729
GEORGE H KRAMER                                   2654 HENVILLE RD                                                                               XENIA             OH    45385‐9733
GEORGE H LANDIS                                   2938 CARTER AVE                                                                                CHESTER           PA    19013‐1407
GEORGE H LAWS                                     13000 W STATE RD 32                                                                            YORKTOWN          IN    47396
GEORGE H LAYRE & CAROL R LAYRE TEN ENT            17 MCCANN DR                                                                                   OTTSVILLE         PA    18942‐1767
GEORGE H LESLIE & MARGARET G LESLIE JT TEN        18 SHERWOOD DRIVE                                                                              NEW PROVIDENCE    NJ    07974‐2435

GEORGE H LETNESS                                  121 WASHINGTON AVE S APT 1317                                                                  MINNEAPOLIS       MN    55401‐2131
GEORGE H LINDSEY                                  4441 PACE LN                                                                                   PACE              FL    32571‐2726
GEORGE H MACK                                     1721 DIAMOND AVE                                                                               SOUTH PASADENA    CA    91030‐4402

GEORGE H MARSHALL                                 56777 KISMET                                                                                   YUCCA VALLEY      CA    92284‐4304
GEORGE H MASSINGER                                8302 SW 167TH PL                                                                               BEAVERTON         OR    97007‐6523
GEORGE H MCCARGISH                                3900 ROBERTANN DR                                                                              KETTERING         OH    45420‐1055
GEORGE H MCDANIEL                                 2985 LESLIE ST 1                                                                               DETROIT           MI    48238‐3305
GEORGE H MCQUARTERS                               19797 SANTA ROSA                                                                               DETROIT           MI    48221‐1737
GEORGE H MEESE                                    1416 SUNNY DR                                                                                  GIRARD            OH    44420‐1450
GEORGE H MILLER                                   606 HARVEY ROAD                                                                                CLAYMONT          DE    19703‐1948
GEORGE H MOONEY                                   1893 GLEN HAVEN CIR                                                                            DECATUR           GA    30035‐1714
GEORGE H MOONEY & ELIZABETH V MOONEY JT TEN       1893 GLEN HAVEN CIR                                                                            DECATUR           GA    30035‐1714

GEORGE H MURA & AUDREY C MURA JT TEN              5 RANCH VILLAGE LANE                                                                           ROCHESTER         NY    14624‐2824
GEORGE H NENNSTIEL & MAXINE S NENNSTIEL JT TEN    5857 PUEBLO TRAIL                                                                              GAYLORD           MI    49735‐7917

GEORGE H NOLAND                                   144 HOLLY PINES CT                                                                             HOLLY             MI    48442‐1470
GEORGE H PAPASTRAT                                10 SPRUCE ST                                                                                   SIDNEY            NY    13838‐1627
GEORGE H PETRENA JR                               29412 81ST RD                                                                                  BRANFORD          FL    32008‐2544
GEORGE H PFEIFER                                  14004 METHODIST CHURCH RD                                                                      DOVER             FL    33527‐4631
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GEORGE H PHILE                                    632 CAMPBELL                                                                                   FLINT             MI    48507‐2421
GEORGE H RADFORD                                  2601 BOULEVARD PL                                                                              INDIANAPOLIS      IN    46208‐5623
GEORGE H REDD CUST MISS MARY KATE DODGE UGMA      2912 N PROSPECT AVE                                                                            MILWAUKEE         WI    53211‐3344
WI
GEORGE H REEDER                                   990 HIDEAWAY CT                                                                                GREENWOOD         IN    46142‐5212
GEORGE H RERIG & ROSE MARY RERIG TEN ENT          3008 OAK HILL RD                                                                               CLEARWATER        FL    33759‐1319
GEORGE H RERIG CUST ANN LOUISE RERIG UTMA MD      1824 ORIOLE WAY                                                                                ST LEONARD        MD    20685‐2119

GEORGE H RERIG CUST CHRISTOPHER DANIEL RERIG   1824 ORIOLE WAY                                                                                   ST LEONARD        MD    20685‐2119
UTMA MD
GEORGE H RERIG CUST MATTHEW ALEXANDER RERIG    1824 ORIOLE WAY                                                                                   ST LEONARD        MD    20685‐2119
UTMA NJ
GEORGE H RERIG CUST SAMANTHA MARY‐NICOLE RERIG 1824 ORIOLE WAY                                                                                   ST LEONARD        MD    20685‐2119
UTMA NJ
GEORGE H RERIG JR & CINDY L RERIG JT TEN       1824 ORIOLE WAY                                                                                   ST LEONARD        MD    20685‐2119
GEORGE H RESEIGH                               4290 OLD CARRIAGE ROAD                                                                            FLINT             MI    48507‐5618
GEORGE H REUTER                                30 WILSON ST                                                                                      GLEN ROCK         NJ    07452‐2108
GEORGE H RICE JR                               6112 E OSR                                                                                        BRYAN             TX    77808‐5893
GEORGE H RICHARDSON                            4079 PULLASKI HY                                                                                  CULLOOKA          TN    38451‐2029
GEORGE H RIECK                                 4251 MANKE ROAD                                                                                   FAIRGROVE         MI    48733‐9746
GEORGE H ROTHLESBERG                           120 COTTAGE ST                                                                                    MERRILL           WI    54452‐2232
GEORGE H SCHAEFF                               229 RIDGECREST DR                                                                                 WEST CARROLLTON   OH    45449‐2237

GEORGE H SCHAEFF & BETTY A SCHAEFF JT TEN         229 RIDGECREST DR                                                                              WEST CARROLLTON OH      45449‐2237

GEORGE H SCHAEFFER III                            201 E 17TH STREET #9C                                                                          NEW YORK          NY    10003‐3611
GEORGE H SCHMALSTIG                               10337 W PAMONDEHO CIR                                                                          CRYSTAL RIVER     FL    34428‐6479
GEORGE H SEIBOLD                                  1313 MAPLE AVENUE                                                                              HADDON HEGHTS     NJ    08035‐1821
GEORGE H SHIVELY & DELORES S SHIVELY JT TEN       314 TER DR                                                                                     FAYETTEVILLE      PA    17222‐1166
GEORGE H SHOOK JR                                 2580 LORIS DR                                                                                  W CARROLLTON      OH    45449‐3223
GEORGE H SMITH                                    4565 N W 3RD DRIVE                                                                             DELRAY BEACH      FL    33445‐2780
GEORGE H STANTURF                                 2024 BUNKER AVE                                                                                KANSIS CITY       KS    66102‐5613
GEORGE H STEELE                                   8410 E CHARLES VALLEY CT                                                                       BALTIMORE         MD    21204‐2031
GEORGE H SWANSON & AGNES C SWANSON JT TEN         304 EAST MAPLE ROAD                                                                            LINTHICUM         MD    21090‐2505

GEORGE H TATE CUST JAMES P TATE UGMA NJ           6 ERNST PL                                                                                     TENAFLY           NJ    07670‐1104
GEORGE H TIMOFIUK                                 26682 SIMONE                                                                                   DEARBORN HTS      MI    48127‐3338
GEORGE H TIMPF JR                                 9800 CEDAR ISLAND RD                                                                           WHITE LAKE        MI    48386‐3801
GEORGE H TRIPP & MARY D TRIPP TR TRIPP FAMILY     1720 MORRIS RD                                                                                 LAPEER            MI    48446‐9420
TRUST NO 1 UA 2/4/00
GEORGE H TURNER 3RD                               613 PERFECT MOMENT DR                                                                          DURHAM            NC    27713‐9617
GEORGE H TURNVALL & HELEN M TURNVALL JT TEN       246 DANDELION CT                                                                               SPRING HILL       FL    34606‐5349

GEORGE H WACHTEL II                               1807 VIA CARRETA                                                                               SAN LORENZO       CA    94580‐2621
GEORGE H WAHN                                     450 WESTERN AVE                                                                                BOSTON            MA    02135‐1016
GEORGE H WARD                                     331 E BERNHARD                                                                                 HAZEL PARK        MI    48030‐2200
GEORGE H WAY JR & GENEVIEVE WAY JT TEN            1015 ST GEORGE BARBER RD                                                                       DAVIDSONVILLE     MD    21035‐1225
GEORGE H WEBER                                    7853 N 425TH ST                                                                                OBLONG            IL    62449‐3704
GEORGE H WEHRHEIM                                 5150 RAINEY AVE S                                                                              ORANGE PARK       FL    32065‐7218
GEORGE H WEISS                                    4097 ROCHDALE DRIVE                                                                            FLINT             MI    48504‐1131
GEORGE H WEISS & MARGARET M WEISS JT TEN          4097 ROCHDALE DR                                                                               FLINT             MI    48504‐1131
GEORGE H WHITCOMB                                 PO BOX 646                                                                                     SUDBURY           MA    01776‐0646
GEORGE H WHITE & PHYLLIS M WHITE JT TEN           1600 OLD MILL LANE                                                                             SALISBURY         MD    21801‐7021
GEORGE H WHITE JR                                 9229 RUST ROAD                                                                                 SAN ANGELO        TX    76905‐8849
GEORGE H WHITTAKER                                6750 RITCHIE RD                                                                                MARCY             NY    13403‐3130
GEORGE H WICKS JR                                 396 SUNNYSIDE RD                                                                               SMYRNA            DE    19977‐1741
GEORGE H WILDI                                    5009 AUTUMN LANE S W                                                                           SEATTLE           WA    98136‐1023
GEORGE H WINCHESTER                               4579 TEALTOWN RD                                                                               BATAVIA           OH    45103‐1023
GEORGE H WISE                                     20520 FENMORE                                                                                  DETROIT           MI    48235‐2263
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GEORGE H WISE                                    BOX 166                                                                                       ASTORIA            IL    61501‐0166
GEORGE H WITZEL                                  35 CEDARBROOK CIRCLE                                                                          PENFIELD           NY    14526‐9569
GEORGE H WOOD                                    12803 CIMARRON                                                                                BIRCH RUN          MI    48415‐9315
GEORGE HABEGGER                                  538 N LIPKEY RD                                                                               NORTH JACKSON      OH    44451‐9768
GEORGE HABERSETZER                               1140 NEUSE RIDGE DR                                                                           CLAYTON            NC    27527‐5332
GEORGE HABERSETZER                               7160 TWIN BRANCH RD NE                                                                        ATLANTA            GA    30328‐1744
GEORGE HABERSETZER & ANNE HABERSETZER JT TEN     7160 TWIN BRANCH RD NE                                                                        ATLANTA            GA    30328‐1744

GEORGE HACKEN & TANA HACKEN JT TEN               7 WHEELER ROAD                                                                                WAYNE              NJ    07470‐8209
GEORGE HADDAD                                    49032 SHENADOAH DR                                                                            MACHMB             MI    48044‐1826
                                                                                                                                               TOWNSHIP
GEORGE HADDAD & MRS VIRGINIA S HADDAD JT TEN     850 ROBIN HOOD DR                                                                             ALLENTOWN          PA    18103‐2937

GEORGE HADJIAN                                   6420 VICTORIA SHORE                                                                           LAINGSBURG         MI    48848‐9448
GEORGE HADJIAN JR                                6420 VICTORIA SHORE                                                                           LAINGSBURG         MI    48240
GEORGE HAGAN                                     8020 FM 973 SOUTH                                                                             AUSTIN             TX    78719‐9736
GEORGE HARDEE & GLORIA M HARDEE JT TEN           PO BOX 24009                                                                                  ST SIMONS ISLAND   GA    31522‐7009

GEORGE HAROLD SEXTON                             PO BOX 646                                                                                    HELENWOOD          TN    37755‐0646
GEORGE HAYSLER JARVIS                            2730 KENSINGTON                                                                               KALAMAZOO          MI    49008‐2121
GEORGE HAYWOOD                                   8915 MAPLEWOOD AVE                                                                            CLARKSTON          MI    48348‐3433
GEORGE HEBERT                                    17895 AVENIDA CORDILLERA                                                                      SAN DIEGO          CA    92128‐1501
GEORGE HEBLING III                               506 JUNIPER PLACE DR                                                                          FOLEY              AL    36535‐2516
GEORGE HECHLER & MELVA HECHLER JT TEN            1402 KENSINGTON CRT                                                                           WARRENSBURG        MO    64093
GEORGE HELLEIS                                   2305 MELLOWOOD DRIVE                                                                          STERLING HTS       MI    48310‐2344
GEORGE HENDERSON                                 2011 N 123RD DR                                                                               AVONDALE           AZ    85392
GEORGE HENDERSON & LENA HENDERSON JT TEN         2011 N 123RD DR                                                                               AVONDALE           AZ    85392
GEORGE HENRY GALE HALL & JO NELL M HALL JT TEN   5040 ORTEGA FOREST DR                                                                         JACKSONVILLE       FL    32210‐8114

GEORGE HENRY PERKINS                             C/O MARY BROOKMAN                    5366 WINSHALL DR                                         SWARTZ CREEK       MI    48473‐1108
GEORGE HENRY TUCKER JR                           PO BOX 3641                                                                                   BLUE JAY           CA    92317‐3641
GEORGE HERNANDEZ                                 7206 SUN VALLEY DR                                                                            CORPUS CHRISTI     TX    78413‐5723
GEORGE HETZEL                                    14343 N BRAY RD                                                                               CLIO               MI    48420‐7929
GEORGE HOLLENDERSKY JR                           2 TILLER LN                                                                                   OCEAN PINES        MD    21811‐1828
GEORGE HOLLIS                                    4016 W RUE DE LA MOUR AVE                                                                     PHOENIX            AZ    85029‐1051
GEORGE HOLOD                                     2415 STEARNLEE AVE                                                                            LONG BEACH         CA    90815
GEORGE HOOKS                                     5221 HICORY VALLEY RD                                                                         HEISKELL           TN    37754‐3413
GEORGE HOOP FAIRBANKS                            2445 7TH ST                                                                                   BOULDER            CO    80304
GEORGE HOPKINS                                   2007 ESTATE VIEW WAY                                                                          SAN JOSE           CA    95148‐1909
GEORGE HOPPE                                     5703 BELLEVIEW ST                                                                             E CHINA            MI    48054‐4112
GEORGE HOWARAH & MARY HOWARAH JT TEN             22729 HARPER LAKE                                                                             ST CLAIR SHORES    MI    48080‐1415
GEORGE HOWARD                                    1498 LOUIS AVE                                                                                FLINT              MI    48505‐1080
GEORGE HOY & BARBARA HOY JT TEN                  1241 N 640 EAST RD                                                                            ONARGA             IL    60955‐7629
GEORGE HRUSTIC                                   74 S HARRISON AVE                                                                             ISELIN             NJ    08830‐2253
GEORGE HUNTER & SHARON HUNTER JT TEN             7344 MEADOWRIDGE CIRCLE                                                                       WEST BLOOMFIELD    MI    48322

GEORGE HUNTER ROBERTS & LINDA CARMODY‐          PO BOX 409                                                                                     WACCABUC           NY    10597‐0409
ROBERTS JT TEN
GEORGE HUTTER & AUDREY HUTTER JT TEN            10933 EGRET POINTE LANE                                                                        WEST PALM BCH      FL    33412
GEORGE I BLACK JR                               17 SKYLINE DR                                                                                  CANTON             NC    28716‐4922
GEORGE I JABLOKOV                               PO BOZ 176                                                                                     SKIPPACK           PA    19474‐0176
GEORGE I JABLOKOV CUST ALEXANDER G JABLOKOV     PO BOX 176                                                                                     SKIPPACK           PA    19474‐0176
UGMA PA
GEORGE I JABLOKOV CUST ANASTASIA M JABLOKOV     PO BOX 176                                                                                     SKIPPACK           PA    19474‐0176
UGMA PA
GEORGE I JABLOKOV CUST NICKOLAI G JABLOKOV UGMA PO BOX 176                                                                                     SKIPPACK           PA    19474‐0176
PA
GEORGE I JABLOKOV CUST VALERIE SHILENOK UGMA PA 313 WALKER AVE                                                                                 PENNDEL            PA    19047‐5121
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GEORGE I JABLOKOV CUST VICTORIA STEWARD UGMA       15570 MEADOW WOOD DRIVE                                                                         WELLINGTON       FL    33414‐9009
PA
GEORGE I MC LELLAN                                 4500 LARCHMONT DR NE                                                                            ALBUQUERQUE      NM    87111‐3043
GEORGE I RAMIREZ                                   11921 PUEBLO AMABLE WAY                                                                         EL PASO          TX    79936‐4431
GEORGE I RODRIGUEZ TR UA 05/14/92 GEORGE I         521 CAPE BLANCO COURT                                                                           SUNNYVALE        CA    94087‐3247
RODRIGUEZ REV LIVING TRUST
GEORGE I SANDERS                                   1494 S CROWN                                                                                    WESTLAND         MI    48186‐4100
GEORGE I SCRIMGER                                  140 S MAPLE LEAF RD                                                                             LAPEER           MI    48446‐3512
GEORGE I TABATA & TOSHIKO TABATA JT TEN            3940 WESTSIDE AVENUE                                                                            LOS ANGELES      CA    90008‐2630
GEORGE I TRIPLETT & CLARISA R TRIPLETT JT TEN      1426 S MILLARD                                                                                  CHICAGO          IL    60623‐1548
GEORGE I WIGHTMAN                                  200 LAUREL LAKE DR                     REAR                                                     HUDSON           OH    44236‐2160
GEORGE I WYSOCKI & REBECCA H WYSOCKI JT TEN        1101 S SAN REMO AVE                                                                             CLEARWATER       FL    33756‐4329

GEORGE INGRAM & MRS ELIZABETH A INGRAM JT TEN      113 N BRYANT AVE                                                                                VENTNOR CITY     NJ    08406‐2120

GEORGE ISKERKA                                     15730 MC CANN                                                                                   SOUTHGATE        MI    48195‐3449
GEORGE IZAK                                        18797 IRWIN RD                                                                                  ARMADA           MI    48005‐1804
GEORGE J ADELMAN                                   4966 TALLMADGE AVE                                                                              ROOTSTOWN        OH    44272‐9714
GEORGE J ALEXANDER                                 414 BUCHANAN ST                                                                                 FT WAYNE         IN    46803‐4024
GEORGE J ALLEN                                     3306 WEST 11TH                                                                                  LITTLE ROCK      AR    72204‐2117
GEORGE J ANDERSON                                  3550 RANDOLPH RD                                                                                CLEVELAND        OH    44121‐1365
                                                                                                                                                   HEIGHTS
GEORGE J ANDRADE                                   21469 RIZZO AVE                                                                                 CASTRO VALLEY    CA    94546‐6223
GEORGE J ANDREWS                                   95 TRINNELL BOULEVARD                  SCARBOROUGH ON                         M1L 1S6 CANADA
GEORGE J AVENDT                                    60502 WERDERMAN RD                                                                              NEW HAVEN        MI    48048‐1636
GEORGE J BADOWSKI                                  17479 HANS DR                                                                                   FRASER           MI    48026‐4340
GEORGE J BAILEY CUST VICTORIA BAILEY UGMA MA       202 W 14TH ST 2F                                                                                NEW YORK         NY    10011‐7219

GEORGE J BALOG JR                                  BOX 354                                                                                         NORTH EAST       MD    21901‐0354
GEORGE J BASL JR & MRS WILMA M BASL JT TEN         19407 N 8TH STREET                                                                              PHOENIX          AZ    85024‐1743
GEORGE J BAXTER & JUDITH M BAXTER TR UA 12/30/92   24 WOODCREST CIRCLE                                                                             FAIRPORT         NY    14450‐2918
GEORGE J BAXTER TRUST
GEORGE J BENSON                                    PO BOX 431                                                                                      BUDD LAKE        NJ    07828‐0431
GEORGE J BIELIS III & LOUISE M BIELIS JT TEN       14051 RICHFIELD                                                                                 LIVONIA          MI    48154‐4936
GEORGE J BOORUJY                                   80 ELM ST                                                                                       NEW PROVIDENCE   NJ    07974‐2335

GEORGE J BORRELLI                                  581 PECK ROAD                                                                                   SPENCERPORT      NY    14559‐9549
GEORGE J BOUCHARD                                  1927 72ND ST SW                                                                                 BYRON CENTER     MI    49315‐8675
GEORGE J BRANTLEY                                  5928 ST CLAIR RD                                                                                ST JOHNS         MI    48879‐8132
GEORGE J BRODA JR                                  18 RUSSELL ROAD LANDERS PARK                                                                    NEW CASTLE       DE    19720‐2033
GEORGE J BUNDER                                    PO BOX 235                                                                                      WINCHENDON       MA    01475‐0235
GEORGE J BURAZIN                                   W10315 KONSTAD LN                                                                               CRIVITZ          WI    54114‐8513
GEORGE J BURGESS                                   8362 E COLDWATER ROAD                                                                           DAVISON          MI    48423‐8966
GEORGE J BURKE                                     12693 SLEEPY HOLLOW RD                                                                          THREE RIVERS     MI    49093‐9545
GEORGE J BURLAGER                                  11035 BUNO RD                                                                                   BRIGHTON         MI    48114‐9202
GEORGE J CARDONE & DAWN M CARDONE JT TEN           131 HAWTHORNE ST                                                                                VESTAL           NY    13850‐2461
GEORGE J CARNEY                                    213 FAWN LN                                                                                     CORTLAND         OH    44410‐2608
GEORGE J CASELLI & ANNETTA CASELLI TR CASELLI      5516 SPILMAN AVE                                                                                SACRAMENTO       CA    95819‐1822
FAMILY TRUST UA 03/13/98
GEORGE J CHARRETTE TR U‐DECL OF TRUST 12/26/91     3822 STARFIELD LN                                                                               LAS VEGAS        NV    89147‐8031

GEORGE J CICCHETTI                                 56 NACHILLY DR                                                                                  NEW BRITAIN      CT    06053‐1450
GEORGE J CICCHETTI CUST KURT D NEWELL UGMA CT      56 NACHILLY DR                                                                                  NEW BRITAIN      CT    06053‐1450

GEORGE J COMAN                                     425 LEXINGTON DR                                                                                CINCINNATI       OH    45241‐1442
GEORGE J COWAN                                     1119 PLAZA DR                                                                                   JOLIET           IL    60435‐3844
GEORGE J DANCO JR                                  1113 SUN VALLEY WAY                                                                             FLORHAM PARK     NJ    07932‐3049
GEORGE J DE SARRO                                  12 RILDAM WAY                          PO BOX 65                                                BRADFORD         RI    02808‐0065
GEORGE J DELORETO                                  34 POND ST                                                                                      FRAMINGHAM       MA    01702‐6439
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GEORGE J DIANA                                     201 ALLEN ST                                                                                    HACKENSACK       NJ    07601‐1612
GEORGE J DOHM                                      959 SE 2ND AVE                         APT 145                                                  DEERFIELD BCH    FL    33441‐5524
GEORGE J DUER                                      514 WINDEMERE RD                                                                                WILMINGTON       NC    28405‐3928
GEORGE J DURICA JR                                 10044 SOUTH MORRISH RD                                                                          SWARTZ CREEK     MI    48473‐9127
GEORGE J DWYER & BARBARA E DWYER JT TEN            13643 HERON CIRCLE                                                                              CLEARWATER       FL    33762‐5503
GEORGE J EDEN                                      23 EMS B6B LN                                                                                   LEESBURG         IN    46538‐8967
GEORGE J ELWELL                                    3465 MILL CREEK DR                                                                              LAKE ORION       MI    48360‐1566
GEORGE J ERINJERI                                  2191 NANDI HILLS                                                                                SWARTZ CREEK     MI    48473‐7903
GEORGE J ERINJERI & VALSA G ERINJERI JT TEN        2191 NANDI HILLS                                                                                SWARTZ CREEK     MI    48473‐7903
GEORGE J EVERTSON                                  11232 SOUTH BAY LN                                                                              AUSTIN           TX    78739
GEORGE J FADELY                                    1218 LOCUST ST                                                                                  MIDDLETOWN       IN    47356‐1734
GEORGE J FAIRMAN                                   6464 NORTON RD                                                                                  TROY             MI    48098‐1655
GEORGE J FALLOT                                    56 BRAHAM AVE                                                                                   AMITYVILLE       NY    11701‐4220
GEORGE J FEDERSPIEL                                444 HICKORY ST PO BOX 157                                                                       CARROLLTON       MI    48724‐0157
GEORGE J FEDOR                                     2802 LINDEN LN                                                                                  SILVER SPRING    MD    20910
GEORGE J FERRO                                     62 MARKIE DRIVE E                                                                               ROCHESTER        NY    14606‐4554
GEORGE J FISHER                                    410 MILL ST                                                                                     BUFFALO          NY    14221‐5149
GEORGE J FLORIAN & MRS BEATRICE F FLORIAN JT TEN   8 KENNEDY DR                                                                                    CLARK            NJ    07066‐2908

GEORGE J FORTSON                                   18829 BLOOM                                                                                     DETROIT          MI    48234‐2426
GEORGE J FOUSER                                    19 LITTLE BAY LN                                                                                BRANFORD         CT    06405‐4818
GEORGE J FRENCH                                    103 N LANSING ST                                                                                ST JOHNS         MI    48879‐1419
GEORGE J GARY                                      1708 E 223 PL ST                                                                                SAUK VILLAGE     IL    60411‐5669
GEORGE J GAVRELL & ELAINE B GAVRELL TR GAVRELL     1433 EMMONS CANYON DR                                                                           ALAMO            CA    94507‐2856
FAMILY TRUST 03/27/86
GEORGE J GEISEL & CONRAD J GEISEL JT TEN           843 W TUTTLE RD                                                                                 IONIA            MI    48846‐9496
GEORGE J GENTITHES CUST JOHN GENTITHES II UGMA     556 FAIRWAY DR                                                                                  WARREN           OH    44483‐5632
OH
GEORGE J GENTITHES CUST KATHERINE GENTITHES        556 FAIRWAY DR                                                                                  WARREN           OH    44483‐5632
UGMA OH
GEORGE J GENTITHES CUST PAMELA GENTITHES UGMA      556 FAIRWAY DR                                                                                  WARREN           OH    44483‐5632
OH
GEORGE J GILBERT JR                                910 BRIDGE ST                                                                                   ELK RAPIDS       MI    49629‐9577
GEORGE J GILCHRIST SR                              2008 N THOMAS RD                                                                                SAGINAW          MI    48609‐9321
GEORGE J GILMORE                                   5205 LOS SANTOS                                                                                 LAS VEGAS        NV    89130‐2068
GEORGE J GIROUX TR GEORGE J GIROUX TRUST UA        1180 KNOLLWOOD DR                                                                               BUFFALO GROVE    IL    60089‐1010
02/09/01
GEORGE J GOODMAN & MARCIA M GOODMAN TR             1104 WHISPERING PINES                                                                           NORMAN           OK    73072‐6913
GOODMAN FAM TRUST UA 09/02/93
GEORGE J GRAF                                      9 LINDEN COURT                                                                                  FREDRICKSBURG    VA    22406‐7493
GEORGE J GRONDSKI                                  39 MARSHALL AVENUE                                                                              TRENTON          NJ    08619‐1735
GEORGE J GUAY                                      1112 MAGNOLIA DR                                                                                AUGUSTA          GA    30904‐5924
GEORGE J HADLEY & LOIS N HADLEY JT TEN             24240 FORSYTE ST                                                                                MORENO VALLEY    CA    92557‐5004
GEORGE J HALKOVIC & KRISTIN J HALKOVIC JT TEN      2755 RAINTREE LAKE CIRCLE                                                                       MERRITT ISLAND   FL    32953‐2946

GEORGE J HALL & BETTY J HALL JT TEN                1034 BEAVERTRAIL                                                                                LAWRENCEBURG     KY    40342‐8536
GEORGE J HANNA JR & CAROLYN J HANNA JT TEN         24651 WESTWOOD RD                                                                               CLEVELAND        OH    44145‐4846
GEORGE J HARTMAN II & DENISE R HARTMAN JT TEN      370 FIRST AVE                                                                                   NORTHVILLE       MI    48167‐1511

GEORGE J HARVEY                                    1292 DAVIS ST                                                                                   YPSILANTI        MI    48198‐5910
GEORGE J HEIM                                      4301 BEACH RIDGE RD                                                                             N TONAWANDA      NY    14120‐9576
GEORGE J HEMBDT SR & BARBARA E HEMBDT JT TEN       BOX 501                                                                                         NAPONOCH         NY    12458‐0501

GEORGE J HILLENBRAND & MURIEL L HILLENBRAND JT     110 NORTHWOOD DR                                                                                TIMONIUM         MD    21093‐4303
TEN
GEORGE J HOHWART                                   87‐127 KULALA PLACE                                                                             WAIANAE          HI    96792
GEORGE J HUNTER & KAREN L HUNTER JT TEN            8026 E DEL JOYA DR                                                                              SCOTTSDALE       AZ    85258
GEORGE J JOHNSON                                   1980 HESSEN                                                                                     COLUMBUS         MI    48063‐3216
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GEORGE J KALANQUIN & PATRICIA M KALANQUIN JT    445 ANTIETAM BLVD                                                                                 MAINEVILLE        OH    45039‐8244
TEN
GEORGE J KALLIMANI                              8500 OAK AVENUE                                                                                   GARY              IN    46403‐1429
GEORGE J KANTAKIS & MRS CONSTANCE M KANTAKIS JT 78 HIGH VIEW TERR                                                                                 HAWTHORNE         NJ    07506‐3110
TEN
GEORGE J KAPLER                                 10038 GRAND VIEW COURT                                                                            TRAVERSE CITY     MI    49684‐5308
GEORGE J KAPPES                                 28 RAINBOW CREST                                                                                  HOPEWELL JCT      NY    12533‐6545
GEORGE J KIEFER JR                              365 SUNNY LANE                                                                                    FRANKLIN SQUARE   NY    11010‐3932

GEORGE J KOENIG & MAXINE KOENIG TEN ENT           1108 ASHTON RD                                                                                  WYNNEWOOD         PA    19096‐2307
GEORGE J KOPCIAL & JOAN H KOPCIAL JT TEN          111 SOUTH SHORE DRIVE                                                                           YOUNGSTOWN        OH    44512‐5930
GEORGE J KOPCIAL JR                               111 SOUTH SHORE DR                                                                              YOUNGSTOWN        OH    44512‐5930
GEORGE J KOPROWICZ                                1972 BROOKFIELD                                                                                 CANTON            MI    48188‐1817
GEORGE J KOVAC                                    9328 DEER RIDGE DR                                                                              ZIONSVILLE        IN    46077‐9091
GEORGE J KRAUSE                                   15129 KELLY CT                                                                                  SHELBY TWP        MI    48315‐2847
GEORGE J KUBALA JR                                683 W LANSING RD                                                                                MORRICE           MI    48857‐9649
GEORGE J KUEBEL                                   2664 LAKESIDE DRIVE                                                                             ERIE              PA    16511‐1252
GEORGE J LA ROSA & BARBARA M LA ROSA JT TEN       356 MELONDY HILL RD                                                                             AFTON             NY    13730‐1028
GEORGE J LEE                                      G‐3414 BARTH ST                                                                                 FLINT             MI    48504‐2439
GEORGE J LEWIS                                    221 STATE ST                                                                                    EATON RAPIDS      MI    48827‐1544
GEORGE J LOGAN                                    8 GLEN AVE                                                                                      COOPERSTOWN       NY    13326‐1104
GEORGE J LYMAN JR                                 87FALLS BROOK ROAD                                                                              BRISTOL           CT    06010‐2661
GEORGE J LYNCH                                    3100 N CALIFORNIA AVE                                                                           CHICAGO           IL    60618‐7008
GEORGE J MADDEN & ROSEANNE COHEN JT TEN           2146 GLORIA DR                                                                                  FAIRPORTE         NY    14450‐9136
GEORGE J MALOOLY                                  3900 FLAMINGO                                                                                   EL PASO           TX    79902‐1727
GEORGE J MANOVICH                                 304 EAGLES RIDGE                                                                                TAZEWELL          TN    37879
GEORGE J MARR                                     8009 FOX FERN RD                                                                                GERMANTOWN        TN    38138‐2424
GEORGE J MC CARTY & MRS PIERRETTE L MC CARTY JT   7312 NORTH 5TH EAST                                                                             IDAHO FALLS       ID    83401‐5632
TEN
GEORGE J MC KEEL                                  120 CANTERBURY DR                                                                               CROSSVILLE       TN     38558‐7094
GEORGE J MEJALY                                   27211 ARMADA RIDGE                                                                              RICHMOND         MI     48062‐3816
GEORGE J MELICHAR                                 3840 ARTMAR DR                                                                                  YOUNGSTOWN       OH     44515‐3301
GEORGE J MIKO                                     40198 SARA ROSE                                                                                 CLINTON TOWNSHIP MI     48038‐4054

GEORGE J MIKULSKI                                 3406 NORTHWAY DR                                                                                BALTIMORE         MD    21234‐7923
GEORGE J MILLIGAN JR                              9 INDIAN SPRING LN                                                                              HIGH BRIDGE       NJ    08829‐2418
GEORGE J MORRISON                                 12 LEXINGTON ST POB 2123                                                                        FRAMINGHAM        MA    01702‐6642
GEORGE J MOURATOFF & MARIA V MOURATOFF JT TEN     10 ACACIA                                                                                       BERKELEY          CA    94708‐1202

GEORGE J MOURATOFF CUST JOHN GEORGE               10 ACACIA                                                                                       BERKELEY          CA    94708‐1202
MOURATOFF UGMA CA
GEORGE J MUENCH JR                                82 PITTSFORD WAY                                                                                NEW PROVIDENCE    NJ    07974‐2429

GEORGE J MURRAY                                   178 MIDLAND AVE                                                                                 KENMORE           NY    14223‐2539
GEORGE J MURRAY & COLLEEN B MURRAY JT TEN         178 MIDLAND AVE                                                                                 KENMORE           NY    14223‐2539
GEORGE J NEECE                                    903 DAISY                                                                                       SWEET SPRINGS     MO    65351‐1508
GEORGE J NEECE & LINDA DEE NEECE JT TEN           903 DAISY                                                                                       SWEET SPRINGS     MO    65351‐1508
GEORGE J NEFF SR                                  16218 HUNTMERE AVE                                                                              CLEVELAND         OH    44110‐1547
GEORGE J NIEMIEC                                  615 CAMPBELL DR                                                                                 OWOSSO            MI    48867‐1611
GEORGE J NOHE III EX EST LORETTA M NOHE           88 COVINGTON DRIVE                                                                              SHREWSBURY        PA    17361
GEORGE J NOVAK                                    1005 DOWNEY ST                                                                                  FLINT             MI    48503
GEORGE J NOVAK                                    PO BOX 42458                                                                                    LAS VEGAS         NV    89116‐0458
GEORGE J NOVAK                                    100 HARVARD ST                                                                                  ROCHESTER         NY    14607‐3115
GEORGE J NOVAK TR UA 02/01/79 GEORGE 80 TRUST     PO BOX 89116                                                                                    LAS VEGAS         NV    89116

GEORGE J ODOWD                                    9 NORTHWOOD ROAD                                                                                NEWTOWN SQUARE PA       19073‐4322

GEORGE J OLNEY III                                201 WEST PINE STREET                                                                            ROME              NY    13440‐3437
GEORGE J PADERMOS                                 5400 J R HAWKINS ROAD                                                                           KENNEDALE         TX    76060‐6424
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GEORGE J PALMER & JANE A PALMER JT TEN             218 ALIDA RD                                                                                    BRAINTREE          MA    02184‐7642
GEORGE J PASTIRIK                                  4559 WEST 154TH                                                                                 CLEVELAND          OH    44135‐2757
GEORGE J PAUL & MRS FLORENCE K PAUL JT TEN         82 HAMDEN ROAD                                                                                  ROCHESTER          NY    14610‐1035
GEORGE J PELICK & JEANETTE PELICK JT TEN           115 PARKWOOD DRIVE                                                                              CLARKS SUMMIT      PA    18411‐2215
GEORGE J PELKE                                     2610 S CLINTON AVE                                                                              TRENTON            NJ    08610‐5027
GEORGE J PETO JR                                   3824 N LAKE BLVD                                                                                DANVILLE           IL    61832‐1016
GEORGE J PETRIE                                    3500 E MUSGROVE                                                                                 LAKE ODESSA        MI    48849‐9528
GEORGE J PHILLIPS & SUSAN M PHILLIPS JT TEN        2168 SOMERVILLE                                                                                 ROCHESTER          MI    48307‐4291
GEORGE J POLLI & MRS MARIANNE W POLLI JT TEN       4817 CENTRAL AVE                                                                                WESTERN SPRINGS    IL    60558‐1704

GEORGE J POSNER                                    212 BUNDY RD                                                                                    ITHACA             NY    14850‐9249
GEORGE J POWERS                                    2021 LINMAR DRIVE NE                                                                            CEDAR RAPIDS       IA    52402‐3734
GEORGE J RAAB                                      APT 25A                                1 JACOBUS PL                                             NEW YORK           NY    10463‐6818
GEORGE J REED                                      476JEROME AVE                                                                                   BRISTOL            CT    06010‐3148
GEORGE J REYNOLDS TR UA 05/18/05 GEORGE J          807‐68TH STREET WEST                                                                            BRADENTON          FL    34209‐3545
REYNOLDS REVOCABLE TRUST
GEORGE J RHEA & KAREN RHEA JT TEN                  4004 NICOLE EILEEN LN                                                                           CHARLOTTE          NC    28216‐6751
GEORGE J RODENKIRCH & HELEN S RODENKIRCH JT TEN    603 N GREEN ST                                                                                  MC HENRY           IL    60050‐5502

GEORGE J ROLLESTON                            RR 2 BOX 1260                                                                                        DOVER FOXCROFT     ME    04426‐9612
GEORGE J ROMANOWSKI & SALLY ROMANOWSKI JT TEN 2716 FLORIAN                                                                                         HAMTRAMCK          MI    48212‐3428

GEORGE J RUWE                                      5750 SUGARUN LN                                                                                 CINCINNATI         OH    45243‐3645
GEORGE J SAWYER                                    2730 PRITCHARD OHLTOWN RD                                                                       WARREN             OH    44481‐9689
GEORGE J SCHIPSKE                                  2285 OLD YORK RD                                                                                BORDENTOWN         NJ    08505‐4617
GEORGE J SCHMIDT & HELGA W SCHMIDT JT TEN          15244 MIDDLEBELT RD                                                                             LIVONIA            MI    48154‐4035
GEORGE J SCHROEDER                                 2815 SIEBER                                                                                     ARLINGTON          TX    76016‐2415
GEORGE J SCHUSTER                                  1240 TALL OAKS LAKE DR                                                                          ARNOLD             MO    63010‐4230
GEORGE J SCOTT                                     PO BOX 1574                                                                                     NATCHEZ            MS    39121‐1574
GEORGE J SENOPOLE & BEVERLY SENOPOLE JT TEN        8215 LAKESIDE DR                                                                                ENGLEWOOD          FL    34224‐7680

GEORGE J SEPESI JR                                 24132 DEFIANCE PIKE                                                                             CUSTAR             OH    43511‐9736
GEORGE J SHELLY                                    9746 ROCHESTER RD                                                                               MIDDLEPORT         NY    14105‐9637
GEORGE J SILVESTRI & MRS RAMONA SILVESTRI JT TEN   19328 SOLANO CT                                                                                 SONOMA             CA    95476‐6342

GEORGE J SKOTZKE                                   25754 LORETTA                                                                                   WARREN             MI    48091‐5013
GEORGE J SKOTZKE & MARY JANE SKOTZKE JT TEN        25754 LORETTA                                                                                   WARREN             MI    48091‐5013
GEORGE J SLOWIAK & GERRY I SLOWIAK JT TEN          14739 POPLAR RD                                                                                 ORLAND PARK        IL    60462
GEORGE J SODERMAN                                  C/O MARGUERITE H SODERMAN              1314 QUAIL RUN DR                                        SAVOY              IL    61874‐9680
GEORGE J SPAHICH                                   5995 BEDELL RD                                                                                  BERLIN CENTER      OH    44401‐9713
GEORGE J SPEARY                                    PO BOX 302                                                                                      BEAVERTON          MI    48612‐0302
GEORGE J SPERRY                                    5824 ROCKINGHAM DR                                                                              DAYTON             OH    45429‐6130
GEORGE J STANTON & BARBARA G STANTON JT TEN        1620 EBBOTS PLACE                                                                               CROFTON            MD    21114‐1503

GEORGE J STASO & PHYLLIS J STASO TEN ENT           930 WINDRIVER DR                                                                                SYKESVILLE         MD    21784‐5528
GEORGE J STONE                                     42884 BLOOMINGDALE                                                                              STERLING HEIGHTS   MI    48314‐2843

GEORGE J STOVICEK                                  2600 KENSINGTON AVENUE                                                                          WESTCHESTER        IL    60154‐5131
GEORGE J STRAKA JR                                 178 BOST DR                                                                                     WEST MIFFLIN       PA    15122‐2509
GEORGE J STRAUSHEIM                                1435 BRICKELL AVE                                                                               MIAMI              FL    33131‐3407
GEORGE J SWEENEY                                   6554 DUCKETTS LANE                                                                              ELKRIDGE           MD    21075‐6151
GEORGE J SWENSON                                   112 WOODMONT DRIVE                                                                              CRANSTON           RI    02920‐3343
GEORGE J TATORIS                                   39500 UTICA ROAD                                                                                STERLING HGTS      MI    48313‐5262
GEORGE J THOMAS                                    2215 BUSCH RD                                                                                   BIRCH RUN          MI    48415‐9038
GEORGE J TOMIDY                                    7955 16TH MNR                          APT A113                                                 VERO BEACH         FL    32966‐1539
GEORGE J TOTTEN & PEGGY TOTTEN STRUTZ JT TEN       6200 PINEWOOD DR                                                                                CLARKSTON          MI    48346‐2232

GEORGE J TRACY & JACQUELINE TRACY JT TEN           14800 KING RD                          APT 140                                                  RIVERVIEW          MI    48193
GEORGE J TREZEK                                    2210 CANYON OAK LN                                                                              DANVILLE           CA    94506‐2014
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GEORGE J VETTER                                  1822 BAIRD AVE                                                                                PORTSMOUTH       OH    45662‐3155
GEORGE J VIRAG                                   C/O CHRISTINE J KRILEY               6288 AIRMONT DR                                          SPRING HILL      FL    34606
GEORGE J VISHNER JR                              75 SUNSET AVE                                                                                 FARMINGDALE      NY    11735
GEORGE J VOELKE                                  16351 HOWARD ST                                                                               PLAINFIELD       IL    60544‐8053
GEORGE J VOGLER & MARY E VOGLER JT TEN           11101 BEL AIR PL                                                                              OKLAHOMA CITY    OK    73120‐7905
GEORGE J VOULGARIS                               M‐52                                 3187 NORTH                                               OWOSSO           MI    48867‐1039
GEORGE J WALKER                                  9 MAPLE LANE                                                                                  WHITE HSE STA    NJ    08889‐3624
GEORGE J WALMSLEY III                            29 SOUTH LONGPOINT LANE                                                                       ROSE VALLEY      PA    19063‐4947
GEORGE J WIERS                                   5511 WEST ROAD                                                                                WASHINGTON       MI    48094‐2664
GEORGE J ZELLER                                  RR 2 RR2 BOX 238A                                                                             HIGGINSVILLE     MO    64037‐9557
GEORGE J ZEMAITIS                                821 CONRAD LN                                                                                 NEW LENOX        IL    60451‐3906
GEORGE J ZUKOVS                                  2912 EASTWIND DR                                                                              FERNANDINA BEACH FL    32034‐8959

GEORGE J ZULAS                                   628 S ROSELLE RD                                                                              ROSELLE          IL    60172‐2928
GEORGE JACK GROGEN                               34‐37 201ST ST                                                                                BAYSIDE          NY    11361‐1141
GEORGE JAMES MORGAN JR                           17 WOODCOCK LANE                                                                              ETNA             NH    03750‐4403
GEORGE JAROS                                     UNIT J                               6545 W ADDISON                                           CHICAGO          IL    60634‐3847
GEORGE JEFFREY PINTER                            2315 THIGPEN RD                                                                               RAYMOND          MS    39154‐8758
GEORGE JEFFRIES                                  40 BROOKDALE CIRCLE                                                                           NEW ROCHELLE     NY    10801‐2041
GEORGE JENETOPULOS                               7300 SW 105 TERR                                                                              MIAMI            FL    33156‐3841
GEORGE JENSEN                                                                                                                                  FRIENDSHIP       WI    53934
GEORGE JIMENEZ                                   2214 TIMBERWOOD CT                                                                            DAVISON          MI    48423‐9532
GEORGE JOHN                                      18847 ALEXANDER AVE                                                                           CERRITOS         CA    90703
GEORGE JOHN MURFEY CUST RUSSEL COLLINS MURFEY    1311 LAW ST                                                                                   SAN DIEGO        CA    92109‐2132
UNDER VAU‐T‐M‐A
GEORGE JOHN MURFEY CUST SCOTT BIORN MURFEY       5419 BEAUMONT AVE                                                                             LA JOLLA         CA    92037
UNDER CA U‐T‐M‐A
GEORGE JOHN POPOVICE                             PO BOX 205                                                                                    PIKE             NY    14130‐0205
GEORGE JOHNSON                                   715 EAST CHOUINARD LANE                                                                       WINAMAC          IN    46996‐8710
GEORGE JON MASCIO                                740 CREEKSIDE DRIVE                  UNIT 307                                                 MOUNT PROSPECT   IL    60056‐6371

GEORGE JOSEPH BURES JR                           7131 CAENEN                                                                                   SHAWNEE          KS    66216‐3605
GEORGE JOSEPH CUST SARAH VICTORIA JOSEPH U/THE   ATTN SARAH VICTORIA KRONBERG         878 VALLEY RD                                            NEW CANAAN       CT    06840‐2813
CALIF U‐G‐M‐A
GEORGE JOSEPH MAGNUS JR                          239 ROBANNA SHORES DR                                                                         SEAFORD          VA    23696‐2426
GEORGE JOSEPH MURPHY JR                          237 EAST RIDGE ROAD                                                                           SPRING CITY      TN    37381
GEORGE K AKAMINE & MRS JOYCE K AKAMINE JT TEN    555 PHEASANT COURT                                                                            PASADENA         MD    21122‐5150

GEORGE K BEARD                                    3541 SE CLAYBOURNE                                                                           PORTLAND         OR    97202‐8246
GEORGE K BROWN                                    PO BOX 603                                                                                   AU GRES          MI    48703‐0603
GEORGE K EBERWINE JR                              PO BOX 6041                                                                                  PORTSMOUTH       VA    23703‐0041
GEORGE K EBERWINE JR & BETTY‐JO EARLY EBERWINE JT 4245 HATTON POINT RD                                                                         PORTSMOUTH       VA    23703‐4041
TEN
GEORGE K EMREY                                    135 COUNCIL CIRCLE                                                                           NEWARK           DE    19702‐4167
GEORGE K FEJEDELEM                                2130 W NORTH BARD                                                                            GLADWIN          MI    48624
GEORGE K HENRY                                    3813 TIMBERWOOD DRIVE                                                                        NACOGDOCHES      TX    75961‐6553
GEORGE K JULIAS & JAMES F JULIAS JT TEN           2480 UPPER MT RD                                                                             SANBORN          NY    14132
GEORGE K JULIAS & MICHAEL G JULIAS JT TEN         2480 UPPER MOUNTAIN RD                                                                       SANBORN          NY    14132‐9389
GEORGE K KAMBOURIS & JOAN T KAMBOURIS JT TEN      43 ADAMS ST                                                                                  FLORAL PARK      NY    11001‐2809

GEORGE K KIDMAN & CAROL A KIDMAN JT TEN          543 ISLEWORTH CLOSE                                                                           TARPON SPRINGS   FL    34688‐8418
GEORGE K KILLEN                                  3549 NOSTRAND AVE 6D                                                                          BROOKLYN         NY    11229
GEORGE K KNOX                                    PO BOX 40643                                                                                  JACKSONVILLE     FL    32203‐0643
GEORGE K MINTON                                  1335 E PARK RD                                                                                GRAND ISLAND     NY    14072‐2314
GEORGE K MITCHELL CUST DEBORAH MITCHELL U/THE    C/O DEBORAH M JACKSON                PO BOX 605                                               GOOLETTSVILLE    TN    37072
MICHIGAN U‐G‐M‐A
GEORGE K MOLOCEA                                 53 PARKGATE AVE                                                                               YOUNGSTOWN       OH    44515‐3237
GEORGE K POLLOCK                                 8855 VENTURA DR                                                                               NAPLES           FL    34109‐4338
GEORGE K RADIN                                   1318 EAST 2350 RD                                                                             EUDORA           KS    66025‐9278
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GEORGE K RILEY & LINDA J RILEY JT TEN           1547 MILLECOQUINS CT                                                                            ROCHESTER         MI    48307‐6032
GEORGE K SCHUSTER                               4403 HILLCREST AVE                                                                              ROYAL OAK         MI    48073‐1701
GEORGE K TANNUS                                 7419 LAKE PLANTATION LN                                                                         JACKSONVILLE      FL    32244‐5158
GEORGE K THEOPHANOUS                            851 SQUIRREL HILL DR                                                                            BOARDMAN          OH    44512‐5341
GEORGE K TYLER & MRS SHERRY B TYLER JT TEN      14201 JOHN TYLER MEMORIAL HWY                                                                   CHARLES CITY      VA    23030‐3642
GEORGE K WRIGHT                                 C/O BESSIE F WRIGHT                 1742 US HWY 1                                               CARY PLANTATION   ME    04471‐3004

GEORGE KACHMAR                                 59 PARK AVENUE                                                                                   BAYVILLE          NJ    08721‐1741
GEORGE KALINSKI                                13248 MINDANAO WAY                                                                               MARINA DEL REY    CA    90292‐6310
GEORGE KAMINSKY                                470FALL MT RD                                                                                    BRISTOL           CT    06010
GEORGE KAMITS                                  614 S E 18TH STREET                                                                              CAPE CORAL        FL    33990‐2340
GEORGE KAPITELLI                               HOLDEN LTD 261 SALMON ST             PORT MELBOURNE       VICTORIA AUSTRALI   AUSTRIA
GEORGE KAPL                                    243 MANDARIN RD                                                                                  BRICK             NJ    08723‐6652
GEORGE KARR III                                5935 HIGHFIELD                       ST LOUIS                                                    SAINT LOUIS       MO    63109‐3373
GEORGE KARVOUNAKIS & CONNIE KARVOUNAKIS JT TEN 35 HEALY STREET                                                                                  HUNTINGTON        NY    11743‐5323

GEORGE KAZARIAN                                 165 S OPDYKE RD                     LOT 224                                                     AUBURN HILLS      MI    48326‐3179
GEORGE KEENAN & FLORENCE D KEENAN JT TEN        1350 SILVER LAKE BLVD                                                                           NAPLES            FL    34114‐9233
GEORGE KEKHOUA                                  35776 KOENIG                                                                                    NEW BALT          MI    48047‐2421
GEORGE KELLER BUMGARDNER                        440 HAMPDON CREEK COURT                                                                         COLUMBIA          SC    29209‐1974
GEORGE KEMP FRISCHKORN                          185 HIGHLAND LANE                                                                               LOTTSBURG         VA    22511‐2115
GEORGE KEPCHER SR & VIOLA KEPCHER JT TEN        11 OLINDA AVE                                                                                   HASTINGS‐ON‐      NY    10706‐2311
                                                                                                                                                HUDSON
GEORGE KEYKO                                    30 BLUE RIDGE CIR                                                                               PLAINFIELD        NJ    07060
GEORGE KILAJY                                   209 PARK AVE                                                                                    LYNDHURST         NJ    07071‐1713
GEORGE KING JR                                  19417 EUREKA ST                                                                                 DETROIT           MI    48234‐4208
GEORGE KINSEY                                   6031 ELM LANE                                                                                   MATTESON          IL    60443‐1319
GEORGE KIOULTZOPOULOS                           14707 HERON LAKE CROSSING                                                                       FORT WAYNE        IN    46814‐7588
GEORGE KIRKPATRICK HESS                         24250 W 83RD ST                                                                                 LENEXA            KS    66227‐3223
GEORGE KOHNKE                                   4939 N CUMBERLAND AVE                                                                           NORRIDGE          IL    60656‐2915
GEORGE KOLLIS                                   1109 ESTATES BLVD                                                                               HAMILTON          NJ    08690‐2204
GEORGE KOLUPSKI                                 38 LUDDINGTON LANE                                                                              ROCHESTER         NY    14612‐3330
GEORGE KONIECY & MARYANN KONIECY JT TEN         1548 BEVERLY RD                                                                                 CLEARWATER        FL    33764‐2502
GEORGE KONSTANTINOW                             2716 PATRICIA LANE                                                                              WINSTON SALEM     NC    27103‐3430
GEORGE KOSAN & BETTY JO KOSAN JT TEN            1519 SEFFNER VALRICO RD                                                                         SEFFNER           FL    33584‐6149
GEORGE KOSTIN                                   5475 MAYBEE RD                                                                                  CLARKSTON         MI    48346‐3271
GEORGE KOUPIARIS                                2819 CITADEL N E                                                                                WARREN            OH    44483‐4303
GEORGE KOUTSOS                                  6 PURU CRES                         LYALL BAY            WELLINGTON          6022 NEW ZEALAND
GEORGE KOZAR                                    1114 VINEWOOD                                                                                   WILLOW SPGS       IL    60480‐1358
GEORGE KRAHL                                    6037 E BILLINGS ST                                                                              MESA              AZ    85205‐8311
GEORGE KRANZLER & MRS TRUDE KRANZLER TEN ENT    6701 PARK HEIGHTS AVE                                                                           BALT              MD    21215‐2433

GEORGE KRAUSE                                   10745 MARLBORO AVE NE                                                                           ALLIANCE          OH    44601‐9718
GEORGE KREKELER & BEATRICE KREKELER JT TEN      2054 HENRY ST                                                                                   BELLMORE          NY    11710‐3216
GEORGE KRIVDA                                   5525 HWY 95                                                                                     NEW MEADOWS       ID    83654‐5057
GEORGE KRUPA & PHYLLIS KRUPA JT TEN             14039 MADISON RD                                                                                MIDDLEFIELD       OH    44062‐9762
GEORGE KSENYAK                                  7690 KINSMAN RD                                                                                 NOVELTY           OH    44072‐9518
GEORGE KUEY                                     BOX 575                                                                                         MANORVILLE        NY    11949‐0575
GEORGE KURTA                                    27 FOURTH STREET                                                                                PORT READING      NJ    07064‐1416
GEORGE KYLE                                     3655 NE 32ND AVE                    APT 210                                                     FT LAUDERDALE     FL    33308‐6714
GEORGE L ALWARD & FRANCIS V ALWARD JT TEN       1440 E SCOTTWOOD AVE                                                                            BURTON            MI    48529‐1626
GEORGE L BAER                                   8273 NICHOLS RD                                                                                 FLUSHING          MI    48433‐9223
GEORGE L BAER & DORIS BAER JT TEN               8273 NICHOLS RD                                                                                 FLUSHING          MI    48433‐9223
GEORGE L BAIRD                                  W11560 ISLAND VIEW COURT                                                                        LODI              WI    53555‐9675
GEORGE L BAKER                                  1113 HAMPSTEAD                                                                                  ESSEXVILLE        MI    48732‐1907
GEORGE L BAKER                                  516 50TH AVENUE TERRANCE W                                                                      BRADENTON         FL    34207‐2674
GEORGE L BAKER JR CUST MORGAN T BAKER UTMA FL   2608 PEMBROKE DRIVE                                                                             PANAMA CITY       FL    32405‐4371

GEORGE L BARNES                                 2027 HOWLAND WILSON RD                                                                          CORTLAND          OH    44410‐9485
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GEORGE L BAUGH                                    16531 GREENLAWN ST                                                                              DETROIT          MI    48221‐2936
GEORGE L BEARD                                    1216 LIND STREET                                                                                MIDDLETOWN       OH    45044‐5748
GEORGE L BEARD                                    PO BOX 706                                                                                      MIDDLETOWN       OH    45042
GEORGE L BECKMAN                                  10121 UPPER 205TH ST                                                                            WEST LAKEVILLE   MN    55044‐8847
GEORGE L BEEMSTERBOER & MRS MARTHA                1219 NORTON AVE                                                                                 DAYTON           OH    45420‐3333
BEEMSTERBOER JT TEN
GEORGE L BENNETT                                  120 SUNSET DR                                                                                   PIEDMONT         MO    63957‐1021
GEORGE L BERG & MIKYONG BERG JT TEN               4610 PICKERAL ST                                                                                WHITE PLAINS     MD    20695‐2835
GEORGE L BOBO                                     607 RACOVE DR                                                                                   TUPELO           MS    38801‐3301
GEORGE L BOBO & PATRICIA M BOBO JT TEN            607 RACOVE DR                                                                                   TUPELO           MS    38801‐3301
GEORGE L BONDATTI & LUCY BONDATTI JT TEN                                                                                                          CROTON FALLS     NY    10519
GEORGE L BOWMAN                                   1406 SPRINGVIEW DRIVE                                                                           AUGUSTA          GA    30909‐2809
GEORGE L BOWMAN                                   1406 SPRINGVIEW DR                                                                              AUGUSTA          GA    30909‐2809
GEORGE L BRAXTON                                  16614 MONTE VISTA                                                                               DETROIT          MI    48221‐2862
GEORGE L BREECHER                                 508 S BIRNEY ST                                                                                 BAY CITY         MI    48708‐7581
GEORGE L BROWN                                    2305 RANCOCAS RD                                                                                BURLINGTON       NJ    08016‐4113
GEORGE L BROWN & THELMA A BROWN JT TEN            5500 KARL RD                           APT 113                                                  COLUMBUS         OH    43229‐3664
GEORGE L BUTLER                                   205 BOX AVE                                                                                     BUFFALO          NY    14211‐1417
GEORGE L CAMPANELLA                               620 BETH DRIVE                                                                                  GREAT FALLS      MT    59405‐3710
GEORGE L CANNON JR                                5629 REMINGTON WAY                                                                              LANSING          MI    48917‐3991
GEORGE L CARTER                                   783 ARCHIE RD                                                                                   CHUNKY           MS    39323‐9606
GEORGE L CLEMENT REVOCABLE TRUST U‐A DTD 11‐17‐   686 POLK 40                                                                                     HATFIELD         AR    71945‐7076
89
GEORGE L COBB                                     1118 THIRD STREET                                                                               SANDUSKY         OH    44870‐3840
GEORGE L COHEN                                    PO BOX 1363                                                                                     VARNVILLE        SC    29944‐1363
GEORGE L COIL                                     885 PICCADILLY                                                                                  HIGHLAND PARK    IL    60035‐3723
GEORGE L COLE                                     820 N NURSEY R 2                                                                                LAWTON           MI    49065‐9729
GEORGE L COTTONGIM                                6043 ARLENE WAY                                                                                 BRADENTON        FL    34207‐4520
GEORGE L CROWTHER & JUANITA CROWTHER TEN ENT      224 OAKLAND PL                                                                                  NORTH WALES      PA    19454‐2462

GEORGE L CULLEY                                 14269 INKSTER                                                                                     LIVONIA          MI    48154‐4647
GEORGE L DALE                                   PO BOX 231                                                                                        JAMESTOWN        IN    46147‐0231
GEORGE L DANICH                                 553 SOUTHWEST 93RD ST #203                                                                        OKLAHOMA CITY    OK    73139‐4809
GEORGE L DAVIS JR                               249 HOSS RD                                                                                       INDIANAPOLIS     IN    46217‐3425
GEORGE L DEFENTHALER CUST GEORGE L DEFENTHALER 9563 ARCOLA                                                                                        LIVONIA          MI    48150‐3201
UGMA MI
GEORGE L DI CIRO                                1002 MEADOW VIEW                                                                                  OLNEY            IL    62450‐2460
GEORGE L DIAS                                   PO BOX 54004                                                                                      SAN JOSE         CA    95154‐0004
GEORGE L DICKERSON                              39910 WILLIS RD                                                                                   BELLEVILLE       MI    48111‐8710
GEORGE L DICKIE                                 163 SUSSEX AVE                           RIVERVIEW NB                           E1B 3A8 CANADA
GEORGE L FAULK                                  1520 KAPPES                                                                                       INDIANAPOLIS     IN    46221‐1804
GEORGE L FERRIS                                 15064 SWENSON ST                                                                                  SAN LEANDRO      CA    94579‐1746
GEORGE L FLEMING JR                             1032 E CORAL GABLES DRIVE                                                                         PHOENIX          AZ    85022‐3726
GEORGE L FRANKLIN & MARY E FRANKLIN JT TEN      579 E FERRY ST                                                                                    BUFFALO          NY    14211‐1109
GEORGE L FREDERICK                              7486 SALINAS TRAIL                                                                                YOUNGSTOWN       OH    44512‐5512
GEORGE L FRICK                                  39 N TURNBERRY DR                                                                                 DOVER            DE    19904‐2346
GEORGE L GAWINEK                                1535 E HAMLIN RD                                                                                  ROCHESTER        MI    48307‐3623
GEORGE L GEORGEVICH & LOUISE GEORGEVICH TEN ENT 226 RUSS LN                                                                                       ST MARYS         PA    15857‐1232

GEORGE L GRAVES                                   144 W HOPKINS AVE                                                                               PONTIAC          MI    48340‐1820
GEORGE L GRAVES                                   9511 MANILA CT                                                                                  LAKELAND         FL    33810‐4320
GEORGE L GREENLEE                                 11868 N 33RD STREET                                                                             ELWOOD           IN    46036‐8631
GEORGE L GROVER                                   25121 JEFFERSON CT                                                                              SOUTH LYON       MI    48178‐1171
GEORGE L HANNON                                   56 BLAINE DR                                                                                    BARNET           VT    05821‐9698
GEORGE L HARGROVE                                 113 INDIAN RIVER DR N                                                                           EDGEWATER        FL    32141‐7372
GEORGE L HARPER JR                                1045 SPADE DR                                                                                   ROCHESTER        IN    46975‐7124
GEORGE L HEAD                                     6824 WOODHURST                                                                                  ST LOUIS         MO    63134‐1114
GEORGE L HESSERT JR & ROBERTA A HESSERT TEN ENT   104 CHAS RD                                                                                     PENNSDALE        PA    17756
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GEORGE L HIDALGO                                  PO BOX 76                                                                                      MARION           IN    46952‐0076
GEORGE L HOCK & BARBARA J HOCK TEN COM            10897 FOSTER RD                                                                                SAN ANTONIO      TX    78223‐4424
GEORGE L HOLLENBAUGH                              17 FORREST AVE                                                                                 RUNNEMEDE        NJ    08078‐1821
GEORGE L HOWITT TR GEORGE L HOWITT TRUST UA       6257 BRANDON ST                                                                                PALM BEACH       FL    33418‐1490
04/15/05                                                                                                                                         GARDENS
GEORGE L HUDDLESTON                               6057 N JENNINGS RD                                                                             MT MORRIS        MI    48458‐9439
GEORGE L HUNDLEY                                  244 LYNN COURT                                                                                 MARTINSVILLE     VA    24112‐8219
GEORGE L HUTSON & RUTH V HUTSON JT TEN            12574 PINE DR                         FORT MEYERS                                              FORT MYERS       FL    33908
GEORGE L IZYDOREK                                 4675 DIEHL RD                                                                                  METAMORA         MI    48455‐9617
GEORGE L JOLLY                                    6241 GRAND BLANC RD                                                                            SWARTZ CREEK     MI    48473‐9443
GEORGE L JORGENSEN & LEATHA V JORGENSEN JT TEN    21560 CINDY                                                                                    SPRINGDALE       AR    72764‐9055

GEORGE L KARAGIAS                                 23 BRUNS RD                                                                                    WEST ALLENHURST NJ     07711‐1437

GEORGE L KASHELLA                                 12041 LARSON LN                                                                                PARRISH          FL    34219‐7523
GEORGE L KELLEY & JO ANN KELLEY JT TEN            159 CEMETERY RD                                                                                WAYNESBURG       PA    15370‐2775
GEORGE L KIRK                                     BOX 59                                                                                         NORTH BAY        NY    13123‐0059
GEORGE L LAFFERTY JR                              150 FREEDOM BLVD                                                                               W BRANDYWINE     PA    19320
GEORGE L LAFRAMBOISE                              1168 N ELBA RD                                                                                 LAPEER           MI    48446‐8009
GEORGE L LEBEAU III                               14035 WOODS OPOSSUM RUN RD                                                                     MT STERLING      OH    43143‐9175
GEORGE L LEMMING                                  11744 ALEXANDER HAYS RD                                                                        BRISTOW          VA    20136‐2807
GEORGE L LITTLE                                   1746 REMINGTON DR                                                                              INDIANAPOLIS     IN    46227
GEORGE L MALHALAB                                 8451 APPLETON                                                                                  DEARBORN HEIGHTS MI    48127‐1405

GEORGE L MALLEY                                   19 PROSPECT ST                                                                                 TERRYVILLE       CT    06786‐5407
GEORGE L MALLEY & ANN E MALLEY JT TEN             19 PROSPECT ST                                                                                 TERRYVILLE       CT    06786‐5407
GEORGE L MARSH & RUNEZ MARSH JT TEN               11838 S JUSTINE AVE                                                                            CHICAGO          IL    60643‐5016
GEORGE L MCCLAIN                                  229 KELLY CT 477                                                                               HIGHLAND         MI    48357‐3695
GEORGE L MCNEAL                                   4032 W COURT ST                                                                                FLINT            MI    48532‐5021
GEORGE L MELBY                                    38963 LAKESHORE                                                                                MT CLEMENS       MI    48045‐2876
GEORGE L MILLER                                   137 LYNCH FARM DR                                                                              NEWARK           DE    19713‐2812
GEORGE L MORSE                                    BOX 89                                                                                         UNION SPRINGS    NY    13160‐0089
GEORGE L OSTRUM                                   4631 BROUSSEAU RD                                                                              OSSINEKE         MI    49766‐9753
GEORGE L PARODI & MRS MARGARET M PARODI JT TEN    PO BOX 97                                                                                      AUBURN           NH    03032‐0097

GEORGE L PASS                                     3077 HEATHERBROOK TRCE                                                                         CANTON           GA    30114‐6607
GEORGE L PEDIGO                                   4825 KINGSHILL DRIVE APT 216                                                                   COLUMBUS         OH    43229‐6243
GEORGE L PIERSON                                  12278 E HILL RD                                                                                GOODRICH         MI    48438‐9783
GEORGE L PIGGOTT                                  2004 REID RD                                                                                   FLINT            MI    48507‐4645
GEORGE L PLUDE & MARIAN L PLUDE JT TEN            ATTN EBELING                          3 HOBART CT                                              ROCHELLE PARK    NJ    07662‐3610
GEORGE L PRICE JR                                 1205 MIXON AVE                                                                                 BAY MINETTE      AL    36507‐5112
GEORGE L ROSEBERRY                                6218 HIGHWAY 111                                                                               SELLERSBURG      IN    47172‐9231
GEORGE L RUDLOFF & RUTH L RUDLOFF JT TEN          401 BECKER AVE                                                                                 WILMINGTON       DE    19804‐2101
GEORGE L SANSING                                  23368 LAWSON AVE                                                                               WARREN           MI    48089‐4475
GEORGE L SELL                                     5401 LIPP HWY                                                                                  BLISSFIELD       MI    49228‐9523
GEORGE L SLATER                                   PO BOX 362                                                                                     WARNER           OK    74469‐0362
GEORGE L SMITH                                    5 KENSINGTON                                                                                   PLEASANT RIDGE   MI    48069‐1219
GEORGE L SMITH TOD HELEN M DUTCHER BRAYMAN        655 DIVINE HWY                                                                                 PORTLAND         MI    48875

GEORGE L SPEARS                                   3958 JASPER PK                                                                                 JAMESTOWN        OH    45335‐1316
GEORGE L SPRAGUE JR & CHERRILL L SPRAGUE JT TEN   ROUTE 3                                                                                        TONGANOXIE       KS    66086‐9803

GEORGE L STOFIRA                                  630 PERKINSWOOD BLVD NE                                                                        WARREN           OH    44483‐4410
GEORGE L SUKES                                    4916 GRAY BARK CRT                                                                             SANDSTON         VA    23150
GEORGE L TABRAHAM                                 119 OUTWATER DR                                                                                LOCKPORT         NY    14094‐2146
GEORGE L TABRAHAM & LINDA C TABRAHAM JT TEN       119 OUTWATER DRIVE                                                                             LOCKPORT         NY    14094‐2146

GEORGE L THOMPSON                                 6675 FOXSHIRE DR                                                                               FLORISSANT       MO    63033‐8001
GEORGE L TONATHY                                  585 VINEYARD WAY                                                                               DOYLESTOWN       OH    44230‐1492
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GEORGE L WAGNER                                 408 13TH ST APT 1                                                                             BAY CITY        MI    48708
GEORGE L WEAVER                                 418 WILLIAMSBURG ST N E                                                                       AIKEN           SC    29801‐4373
GEORGE L WHITE JR                               6309 SWORDS WAY                                                                               BETHESDA        MD    20817‐3350
GEORGE L WHITFIELD                              111 LYON STREET NW SUITE 900                                                                  GRAND RAPIDS    MI    49503‐2413
GEORGE L WHITNEY JR & PAULA WHITNEY JT TEN      416 WEXFORD DR                                                                                HURON           OH    44839‐1463
GEORGE L WHITT                                  1033 HILES RD                                                                                 LUCASVILLE      OH    45648‐8403
GEORGE L WILLIAMS                               23725 BEACON DR                                                                               FARMINGTON      MI    48336‐2509
GEORGE L WILLIAMS                               18457 GLASTONBURY RD                                                                          DETROIT         MI    48219‐2914
GEORGE L WILLIAMSON 122 WHISPERING PINES LP                                                                                                   LEESVILLE       LA    71446‐3048

GEORGE L WILLSON                                 13 PLEASANT ST                                                                               MEDFIELD        MA    02052‐2603
GEORGE L ZAHA                                    4900 GREEN HOLLOW                                                                            ORION           MI    48359‐2062
GEORGE L ZANNOTH                                 ATTN JUNE E ZANNOTH                 3550 WATKINS LK RD                                       WATERFORD       MI    48328‐1446
GEORGE LA SALLE                                  3720 RIDGEWAY ROAD #3                                                                        MANCHESTER      NJ    08759‐5137
GEORGE LACEY BILES JR CUST STEPHEN CHRISTOPHER   10747 BUSHIRE                                                                                DALLAS          TX    75229‐5330
BILES UGMA MS
GEORGE LACY DICKINSON                            8228 STATE ROAD 32 WEST                                                                      FARMLAND        IN    47340‐9056
GEORGE LALONDE                                   531‐23RD ST                                                                                  NIAGARA FALLS   NY    14301‐2501
GEORGE LANGE                                     3811 MEANDER DR                                                                              MINERAL RIDGE   OH    44440‐9011
GEORGE LANGE JR                                  5335 CHAPELFORD LN                                                                           ST LOUIS        MO    63119
GEORGE LANGFORD                                  11417 TUSCORA AVE                                                                            CLEVELAND       OH    44108‐3151
GEORGE LAWRENCE FINEGAN                          796 WARE CIRCLE                                                                              WEST CHESTER    PA    19382‐4603
GEORGE LAWRENCE FISHER                           78‐37 MAIN ST                                                                                FLUSHING        NY    11367‐3502
GEORGE LAY                                       1468 N 400 W                                                                                 PERU            IN    46970‐7575
GEORGE LEE                                       2319 CORONADO AVE                                                                            YOUNGSTOWN      OH    44504‐1310
GEORGE LEE YOUNG                                 1409 SUN TERRACE DR                                                                          FLINT           MI    48532
GEORGE LEMONAKIS                                 8927 CUCKOLD POINT RD                                                                        SPARROWS PT     MD    21219‐1633
GEORGE LEON SALAME                               1 PARTRIDGE HILL RD                                                                          WESTMINSTER     MA    01473‐1400
GEORGE LESER & DOLORES C LESER JT TEN            608 N DEWEY ST                                                                               EAU CLAIRE      WI    54703‐3142
GEORGE LESTER FRY                                4019 COLTER CT                                                                               KOKOMO          IN    46902‐4485
GEORGE LETUS & JULIA A LETUS JT TEN              669 PLAINFIELD STREET                                                                        KINGSTON        NY    12401‐1925
GEORGE LEWIS                                     316 WOODLAND ST                                                                              DETROIT         MI    48202‐1125
GEORGE LEWIS                                     3819 BLUFFVIEW DR                                                                            MARIETTA        GA    30062‐7102
GEORGE LEWIS & MURIEL LEWIS JT TEN               4685 CYRUS WAY                                                                               OCEANSIDE       CA    92056‐5169
GEORGE LEWIS MELTON EST VIRGINIA MELTON          253 HIGHTOWER RD                                                                             COVINGTON       GA    30014
GEORGE LEWIS SOUTH                               12121 N 575 W                                                                                GASTON          IN    47342
GEORGE LIMBURG CUST LAUREN NIKOLE POWELL UTMA 108 BROWNS VALLEY                                                                               WATSONVILLE     CA    95076‐0307
CA UNTIL AGE 25
GEORGE LINDSEY                                   5138 E TAMBLU DR                                                                             PHOENIX         AZ    85044‐2332
GEORGE LIPSTREUER & JEAN LIPSTREUER JT TEN       1231 LANCE DR                                                                                TWIN LAKES      WI    53181‐9651
GEORGE LIPSTREUER CUST JARRETT T LIPSTREUER UTMA 1231 LANCE DRIVE                                                                             TWIN LAKES      WI    53181‐9651
WI
GEORGE LIPSTREUER CUST MEGAN LIPSTREUER UTMA 1231 LANCE DRIVE                                                                                 TWIN LAKES      WI    53181‐9651
WI
GEORGE LOGDON                                    825 HILLAIRE RD                                                                              LANCASTER       PA    17601‐2259
GEORGE LONG                                      400 BLACK ROAD                                                                               HARRISVILLE     PA    16038
GEORGE LORENZE                                   160 SUMMIT AVE                      APT 21                                                   SUMMIT          NJ    07901‐2933
GEORGE LORTON BERRY                              4005 FIRETOWER ROAD                                                                          LUTTS           TN    38471‐5206
GEORGE LOUIS SCHONHOFF                           3223 SMALLHOUSE RD                                                                           BOWLING GREEN   KY    42104‐4605
GEORGE LOUIS VINCENT RAK                         7660 COON CLUB ROAD                                                                          MEDINA          OH    44256‐9178
GEORGE LUP YUEN WONG                             111 MONTAGUE ST                                                                              BROOKLYN        NY    11201‐3458
GEORGE LYON CUST BRUCE KINGSTON LYON UGMA MI 13603 SAMPLE COURT                                                                               LOUISVILLE      KY    40245‐7452

GEORGE LYON CUST GEORGE CHRISTOPHER LYON        1317 SMITH                                                                                    ROYAL OAK       MI    48073‐3148
UGMA MI
GEORGE LYON CUST PETER MITCHELL LYON UGMA MI    1498 YOSEMITE                                                                                 BIRMINGHAM      MI    48009‐6538

GEORGE M ALBANI                                 6 SUMMER ST                                                                                   LUBEC           ME    04652‐1131
GEORGE M ANDERSON                               PO BOX 2916                                                                                   RALEIGH         NC    27602‐2916
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GEORGE M ARTIS                                    2807 ROCKROSE AVENUE                                                                            BALTIMORE       MD    21215‐7703
GEORGE M ATHITAKIS                                104 N RIVER RD                                                                                  NAPERVILLE      IL    60540‐4023
GEORGE M AUSTIN                                   38280 TAM A RAC BLVD APT 105I                                                                   WILLOUGHBY      OH    44094‐8164
GEORGE M AYALA                                    1905 S KIESEL STREET                                                                            BAY CITY        MI    48706‐5243
GEORGE M BANKO JR                                 17417 LUCILLE CIRCLE N                                                                          NEW BOSTON      MI    48164
GEORGE M BARRETT                                  PO BOX 194                                                                                      SPENCER         OH    44275‐0194
GEORGE M BASS JR                                  104 HEMPSTEAD RD                                                                                WILLIAMSBURG    VA    23188‐1521
GEORGE M BECKER CUST MEGAN M BECKER UTMA CA       3738 BARRY AVE                                                                                  LOS ANGELES     CA    90066‐3204

GEORGE M BECKER CUST MELISSA M BECKER UTMA CA     3738 BARRY AVE                                                                                  LOS ANGELES     CA    90066‐3204

GEORGE M BEDROSS & HILTRAUD H BEDROSS JT TEN      24020 EDINBURGH                                                                                 SOUTHFIELD      MI    48034‐4895

GEORGE M BENNETT                                  19503 ST RTE #18                                                                                DEFIANCE        OH    43512‐9776
GEORGE M BEVERIDGE                                21340 BALL AVENUE                                                                               EUCLID          OH    44123‐2744
GEORGE M BORMANN JR & MILDRED M BORMANN JT        PO BOX 464                                                                                      RICHMOND        VT    05477‐0464
TEN
GEORGE M BRADLEY                                  849 SONGO POND RD                                                                               ALBANY TWP      ME    04217‐6108
GEORGE M BRADSHAW                                 174 OSWEGO ST                                                                                   HANNIBAL        NY    13074‐2154
GEORGE M BRAYTON                                  311 CALVERT CT                                                                                  ANTIOCH         CA    94509‐6113
GEORGE M BRUNER JR                                18200 PARKSIDE GREENS DR                                                                        FORT MYERS      FL    33908
GEORGE M BRYAN                                    BOX 1124                                                                                        PASCAGOULA      MS    39568‐1124
GEORGE M CAMLIN & M JOYCE CAMLIN JT TEN           65 MULBERRY HILL RD                                                                             WASHINGTON      PA    15301‐9327
GEORGE M CARIGLIO                                 2935 NEWTON TOMLINSON RD                                                                        NEWTON FALLS    OH    44444‐9772
GEORGE M CASTILLO                                 2203 WABASH RD                                                                                  LANSING         MI    48910‐4849
GEORGE M CHEMBAKASSERY & MARIA G                  1223 40TH AVE                                                                                   KENOSHA         WI    53144‐2901
CHEMBAKASSERY JT TEN
GEORGE M CHERRY                                   26300 HUNTINGTON ST                                                                             ROSEVILLE       MI    48066‐3494
GEORGE M COLE                                     295 MACLEAY RD                                                                                  SEQUIM          WA    98382‐9460
GEORGE M CONNEEN & MRS CARYL R CONNEEN JT TEN     1708 FRANKLIN AVE                                                                               MORTON          PA    19070‐1702

GEORGE M CORBIN                                   51470 BEDFORD ST                                                                                NEW BALTIMORE   MI    48047‐3210
GEORGE M DANIEL                                   9110 E TURNER CAMP RD                                                                           INVERNESS       FL    34453‐1148
GEORGE M DICKIE JR                                153 WARREN AVENUE                                                                               HAWTHORNE       NY    10532‐2516
GEORGE M DILL & MARY JANE DILL JT TEN             13610 PINEROCK                                                                                  HOUSTON         TX    77079‐5914
GEORGE M DOERING & DOROTHY M DOERING JT TEN       3709 S PLEASANT                                                                                 INDEPENDENCE    MO    64055‐3215

GEORGE M DOW JR                                   19415 CLUSTER OAKES                                                                             HUMBLE          TX    77346‐2918
GEORGE M FAIRCHILD & SHIRLEY B FAIRCHILD JT TEN   5419 FIFE LN                                                                                    BOYNTON BEACH   FL    33472‐1239

GEORGE M FARAGO                                   852 MIDDLE ST                                                                                   BRISTOL         CT    06010‐7444
GEORGE M FLOREZ                                   2100 HOLLY                                                                                      KANSAS CITY     MO    64108‐2223
GEORGE M FOOTE                                    3241 TOTH ROAD                                                                                  SAGINAW         MI    48601‐5767
GEORGE M FOX                                      5275 WYNTERCREEK COURT                                                                          DUNWOODY        GA    30338‐3812
GEORGE M FRANCIS                                  PO BOX 2675                                                                                     BAKERSFIELD     CA    93303
GEORGE M GENOW                                    7203 E CURTIS ROAD                                                                              FRANKENMUTH     MI    48734‐9545
GEORGE M GONZALEZ                                 PO BOX 517                             VILLALBA                               PUERTO RICO
GEORGE M GRAVES & NANCY B GRAVES JT TEN           321 TERLYN DR                                                                                   JOHNSTON        PA    15904‐3621
GEORGE M GUERIN                                   2888 SUMMIT CREST CT                                                                            SNELLVILLE      GA    30078‐6638
GEORGE M HALL                                     2924 WESTMINSTER AVE                                                                            DALLAS          TX    75205‐1509
GEORGE M HANNAH JR                                7 TIMBER TRCE                                                                                   BALLSTON SPA    NY    12020‐3721
GEORGE M HAWKINS                                  1701 HOME DRIVE                                                                                 FAIRVIEW        MI    48621‐9767
GEORGE M HAZARD SR & MARY LORRAINE HAZARD JT      RR 2 BOX 659                                                                                    MIFFLINTOWN     PA    17059‐9656
TEN
GEORGE M HENNEN                                   3983 S MCCARRAN BLVD                   # 132                                                    RENO            NV    89502‐7510
GEORGE M HERMAN                                   17600 NORTHLAWN                                                                                 DETROIT         MI    48221‐2512
GEORGE M HIGGINS                                  11745 KAEDING RD                                                                                ROMEO           MI    48065‐4411
GEORGE M HOOGERHEIDE                              C/O GARY HOOGERHEIDE                   22705 LAKE DR                                            PIERSON         MI    49339‐9612
GEORGE M HUGHES                                   814 LORRAINE DR                                                                                 MEDIA           PA    19064‐1040
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GEORGE M JENNINGS JR                             BOX 181                                                                                        NEWARK           TX    76071‐0181
GEORGE M JIMENEZ                                 3318 DENTON WAY                                                                                SAN JOSE         CA    95121‐1334
GEORGE M JONES                                   2349 ARLINGTON WALK LN                                                                         GRAYSON          GA    30017‐7885
GEORGE M KISELICA                                507 SUNSET DRIVE                                                                               DICKSON CITY     PA    18447‐1323
GEORGE M KUBANY                                  3705 CASCADES BLVD                    APT 103                                                  KENT             OH    44240‐8052
GEORGE M LASKA & ROBERT J BOULE JT TEN           45 MABELLE ST                                                                                  WORCESTER        MA    01602‐2048
GEORGE M LAUCIK                                  8 OLD DUTCH RD                                                                                 WARREN           NJ    07059‐7163
GEORGE M LAWSON JR                               5625 BRAMPTON ROAD                                                                             DAYTON           OH    45429‐6003
GEORGE M LEE                                     3232 S 870 W                                                                                   RUSSIAVILLE      IN    46979‐9772
GEORGE M LEWIS                                   233 HEATHER LN                                                                                 FAIRBORN         OH    45324‐2737
GEORGE M LIPMAN CUST ROBERT G LIPMAN UTMA MD     3414 GUILFORD TERR                                                                             BALTIMORE        MD    21218‐2826

GEORGE M LOGAN TR UA 10/22/76 THE GEOGE LOGAN 16 W 668 FERN ST                                                                                  HINSDALE         IL    60521‐7011
LIVING TRUST
GEORGE M LOKEY                                1023 CLAREMONT DRIVE                                                                              COLUMBIA         TN    38401‐6200
GEORGE M LONGLAND & MRS CAROLYN J LONGLAND JT 9868 TREASURE CAY LN                                                                              BONITA SPRINGS   FL    34135‐6809
TEN
GEORGE M LUNDIN CUST GEORGE T LUNDIN UGMA MI 5615 BEARD RD                                                                                      CLYDE            MI    48049

GEORGE M LUNDIN CUST ISABELLA M LUNDIN UGMA MI 5615 BEARD RD                                                                                    CLYDE            MI    48049

GEORGE M MAYERNIK                                C/O GEORGEANN PORACH                  10941 GABRIELLA DRIVE                                    PARMA            OH    44130‐1467
GEORGE M MCCANN                                  7714 SUNNY LN                                                                                  FORT WAYNE       IN    46835‐1167
GEORGE M MERCER                                  149 WAYNESVILLE RD                                                                             LEBANON          OH    45036‐9329
GEORGE M MERKLE                                  71 SHIRECREEK COURT                                                                            ST CHARLES       MO    63303‐5432
GEORGE M MILLER                                  355 SOMERSHIRE DR                                                                              ROCHESTER        NY    14617‐5649
GEORGE M MOLNAR                                  3877 PALISADES DR                                                                              WEIRTON          WV    26062‐4325
GEORGE M MOWELL                                  140 DEER FIELD DR                                                                              CHESTERTOWN      MD    21620
GEORGE M NELSON & MARION A NELSON JT TEN         5000 REDROCK ST                       UNIT 149                                                 LAS VEGAS        NV    89118‐1277
GEORGE M NEMES CUST JULIANN K NEMES UGMA MI      9107 MORRISH ROAD                                                                              SWARTZ CREEK     MI    48473‐9126

GEORGE M OCHS                                    1141 HUS DR                           APT 105                                                  WATERTOWN        WI    53098‐3236
GEORGE M PATTERSON                               400 LANDSDALE AVE                                                                              SAN FRANCISCO    CA    94127‐1617
GEORGE M PAVLIK                                  126 SLEEPY HOLLOW RD                                                                           PITTSBURGH       PA    15216
GEORGE M PIRES                                   189 ELM ST                                                                                     YONKERS          NY    10701‐3931
GEORGE M PRODAN                                  25225 HALL DR                                                                                  WESTLAKE         OH    44145‐4925
GEORGE M QUEEN & JACQUELINE F QUEEN JT TEN       657 WEST 550 NORTH ROAD                                                                        KOKOMO           IN    46901‐8538
GEORGE M RAINES & JEAN M RAINES JT TEN           43 CRESTWOOD DR                                                                                MIDDLETOWN       IN    47356‐9317
GEORGE M RATLIFF                                 9897 FLEMING ROAD                                                                              DEXTER           MI    48130‐9541
GEORGE M REDDING                                 RURAL ROUTE 1                         BOX 1056                                                 FRYEBURG         ME    04037‐9743
GEORGE M REED                                    7739 BRACE                                                                                     DETROIT          MI    48228‐3473
GEORGE M REED                                    18319 N SALEM ROW                                                                              CLEVELAND        OH    44136‐7075
GEORGE M RESNICK & KATHLEEN M RESNICK JT TEN     10 PARADISE LANE                                                                               JOHNSTON         RI    02919‐2872

GEORGE M RICHARDS JR                             4106 WAKEFIELD DR                                                                              ANNANDALE        VA    22003‐3642
GEORGE M RILEY                                   17531 MADISON                                                                                  SOUTHFIELD       MI    48076‐1283
GEORGE M RODRIGUEZ                               869 TREVINO TER                                                                                LADY LAKE        FL    32159‐9190
GEORGE M ROUCHARD                                5541 AMMONS RD                                                                                 EAST BEND        NC    27018‐7001
GEORGE M RUFF                                    3505 WEST WILSON RD                                                                            CLIO             MI    48420‐1955
GEORGE M SAARE                                   620 BEAVER ST                                                                                  GIRARD           OH    44420‐2064
GEORGE M SAKOWSKI & LORRAINE A SAKOWSKI &        636 N MAIN ST                                                                                  BRISTOL          CT    06010‐4131
DAVID MILVAE JT TEN
GEORGE M SALNAVE & TERRY S SALNAVE JT TEN        PO BOX 339                                                                                     MONTEZUMA        IA    50171‐0339
GEORGE M SAWERS                                  295 FAREWAY LANE                                                                               GRAND ISLAND     NY    14072‐2530
GEORGE M SCHMIDT                                 312 3RD ST                                                                                     OSCODA           MI    48750‐1250
GEORGE M SCHWARTZ JR TR UNDER THE WILL OF        6107 COVINGTON TERRACE                                                                         MINNETONKA       MN    55345‐6223
GEORGE M SCHWARTZ
GEORGE M SEDGEMAN                                4446 CEDAR ISLAND DR                                                                           EVELETH          MN    55734‐4034
GEORGE M SIFFERT & SUSAN A SIFFERT JT TEN        1201 TWINBERRY CT                                                                              FT COLLINS       CO    80525‐6201
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GEORGE M SIZICK                                2244 TRENTON ST                                                                                  SAGINAW         MI    48602‐3556
GEORGE M SMERK JR                              1507 SOUTHDOWNS DR                                                                               BLOOMINGTON     IN    47401‐5162
GEORGE M SOUTHERN                              4220 COUENTRY DR                                                                                 KOKOMO          IN    46902
GEORGE M STOFAN & IRENE M STOFAN JT TEN        400 TIMBERLINE DRIVE                                                                             JOLIET          IL    60431‐4829
GEORGE M TOURIGNY & MRS RACHEL Y TOURIGNY JT   2 JUSTINES WAY                                                                                   BIDDEFORD       ME    04005‐4038
TEN
GEORGE M TROELL                                29581 MAPLEWOOD                                                                                  GARDEN CITY     MI    48145
GEORGE M VARGHESE                              29 PLEASANT ST                                                                                   FRAMINGHAM      MA    01701‐4752
GEORGE M VAVALIDES                             148 CALIOPE ST                                                                                   OLOEE           FL    34761‐4614
GEORGE M WALPATICH                             18515 W‐H40                                                                                      FIGRE           MI    49780‐9764
GEORGE M WATKINS                               50 11TH ST                                                                                       APALACHICOLA    FL    32320‐1906
GEORGE M WILL                                  4268 WELLINGTON HILLS LN                                                                         SNELLVILLE      GA    30039‐4275
GEORGE M WOLFF                                 1217 DE BAY ST                                                                                   RALEIGH         NC    27606‐1717
GEORGE M YUHAS                                 11269 GLADSTONE ROAD                                                                             WARREN          OH    44481‐9500
GEORGE MACHADO                                 2970 BIG SKY BLVD                                                                                KISSIMMEE       FL    34744‐5612
GEORGE MADDEN JR                               5191 WESTLAKE                                                                                    DEARBORN HTS    MI    48125‐1848
GEORGE MAESTAS                                 6021 NW EL REY                                                                                   CAMAS           WA    98607‐9123
GEORGE MAGATS & LETIZIA MAGATS JT TEN          2 ROSS ST EXT                                                                                    AUBURN          NY    13021‐2924
GEORGE MANHARDT                                81 CLINTON ST                                                                                    TONAWANDA       NY    14150‐2034
GEORGE MANUEL                                  6241 S RHODES                                                                                    CHICAGO         IL    60637‐3308
GEORGE MARCUS & MRS PEGGY MARCUS JT TEN        13 HOBART RD                                                                                     STAMFORD        NY    12167‐1206
GEORGE MARES                                   8009 FARMINGDALE DRIVE                                                                           DARIEN          IL    60561‐5217
GEORGE MARK & MRS NANCY MARK JT TEN            358 68TH STREET 1ST FLOOR                                                                        BROOKLYN        NY    11220
GEORGE MARKHAM MARCH                           3104 BAY FRONT RD                                                                                MOBILE          AL    36605‐3629
GEORGE MARKIEWICZ & OPAL A MARKIEWICZ JT TEN   2039 POPPYWOOD AVE                                                                               HENDERSON       NV    89012‐4581

GEORGE MARTIN & JAESOON MARTIN JT TEN          8360 STELLHORN ROAD                                                                              FORT WAYNE      IN    46815‐4403
GEORGE MATSUNAGA & MRS REIKO MATSUNAGA JT      426 S PALAMA DR                                                                                  KAHULUI         HI    96732‐1525
TEN
GEORGE MATTEI CUST KENNETH JOHN MATTEI UGMA    36331 DUKE CT                                                                                    CLINTON TWP     MI    48035‐1035
MI
GEORGE MATTHEW MILLER JR                       13458 COBRA DR                                                                                   HERNDON         VA    20171‐4045
GEORGE MAUS                                    35488 HATHAWAY                                                                                   LIVONIA         MI    48150‐2514
GEORGE MC ARTHUR                               9935 DARROW PARK DR                     APT 101L                                                 TWINSBURG       OH    44087‐2638
GEORGE MC CLELLAN EWING JR                     5205 EMERSON RD                                                                                  CANANDAIGUA     NY    14424‐8090
GEORGE MC DONOUGH                              724 HARDEN DR                                                                                    PITTSBURGH      PA    15229‐1107
GEORGE MC GREGOR JR                            154 LAKEVIEW AVE                                                                                 HAVERHILL       MA    01830‐2716
GEORGE MC MURDO                                PO BOX 97                                                                                        NIAGARA FALLS   NY    14304‐0097
GEORGE MC NAIR                                 1590 HILLCREST TERRACE                                                                           UNION           NJ    07083‐5222
GEORGE MC OSKER & MARILYN MC OSKER JT TEN      7413 OAK RD                                                                                      ROGERS CITY     MI    49779‐9506
GEORGE MCCLAIN                                 6045 BELMONT COURT                                                                               GRAND BLANC     MI    48439‐8683
GEORGE MCHUGH                                  33027 DONNELLY                                                                                   GARDEN CITY     MI    48135‐3701
GEORGE MEGAS                                   12 MELIKIAN DR                                                                                   WILBRAHAM       MA    01095‐1322
GEORGE MELTZER & MRS EVELYN M MELTZER JT TEN   11436 OSTROM AVE                                                                                 GRANADA HILLS   CA    91344‐3521

GEORGE MEMO PILIOURAS                          4237 CLAUMET                                                                                     ROCHESTER       MI    48306‐1462
GEORGE METRAKOS                                3456 MELROSE AVE                        MONTREAL QC                            H4A 2S1 CANADA
GEORGE METRAKOS                                3456 MELROSE AVE                        MONTREAL QC                            H4A 2S1 CANADA
GEORGE MICHAUD                                 291 KENNEBUNK POND RD                                                                            LYMAN           ME    04002‐7731
GEORGE MIKULAK                                 5370 SHERWOOD RD                                                                                 OXFORD          MI    48371‐3926
GEORGE MILAM                                   4605 W MCNEIL ST                                                                                 LAVEEN          AZ    85339‐2072
GEORGE MILLER                                  347 HARVARD AVENUE                                                                               WENONAH         NJ    08090‐1422
GEORGE MILLER & LOIS JEAN MILLER JT TEN        476 E PERE CHENEY RD                                                                             ROSCOMMON       MI    48653‐7504
GEORGE MINNIEFIELD JR                          61 MINNIEFIELD DR                                                                                WETUMPKA        AL    36093‐3522
GEORGE MITCHELL                                200 BIRNEY                                                                                       ESSEXVILLE      MI    48732‐1675
GEORGE MITCHELL MOWELL & PATRICIA F MOWELL TEN 140 DEERFIELD DR                                                                                 CHESTERTOWN     MD    21620‐2482
ENT
GEORGE MOBRAY EYLER                            PO BOX 21473                                                                                     BALTIMORE       MD    21282‐1473
GEORGE MOHR                                    11963 HERITAGE CIRCLE                                                                            DOWNEY          CA    90241‐4326
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GEORGE MOLLIS                                 3503 JONES RD                                                                                     DIAMOND           OH    44412‐8738
GEORGE MON                                    1170 SPLIT TREE CIRCLE                                                                            POTOMAC           MD    20854
GEORGE MOORE                                  19941 GILCHRIST                                                                                   DETROIT           MI    48235‐2436
GEORGE MOORE & HELEN P MOORE JT TEN           1404 N DECATUR RD NE                                                                              ATLANTA           GA    30306‐2423
GEORGE MORAN                                  97 MILL ST                                                                                        ROCHESTER         MI    48307‐2037
GEORGE MORENO JR                              PO BOX 3474                                                                                       HARLINGEN         TX    78551
GEORGE MORRIS                                 2310 SANTA BARBARA DRIVE                                                                          FLINT             MI    48504‐2020
GEORGE MORVEY JR                              11 ST CHARLES AVE                                                                                 WEST CALDWELL     NJ    07006‐7222
GEORGE MOSOLGO JR                             19 W WIND DR                                                                                      CROSSVILLE        TN    38555‐1480
GEORGE MOWL                                   4509 E 11TH ST                                                                                    CHEYENNE          WY    82001‐6710
GEORGE MULLAN                                 6124 CONNEMARA CT                                                                                 MAUMEE            OH    43537‐1384
GEORGE MUNKELT                                50 ELMVIEW DR                                                                                     TONAWANDA         NY    14150‐7806
GEORGE MURTLAND & MILDRED MURTLAND JT TEN     BOX 325                                                                                           CRABTREE          PA    15624‐0325

GEORGE MUSSALLEM                              PO BOX 116                               WHONNOCK BC                            V2W 1V9 CANADA
GEORGE N BOULUKOS                             862 GUY LOMBARDO AV                                                                               FREEPORT          NY    11520‐6215
GEORGE N CANADAY                              187 SAINT MARK DR                                                                                 WEST COLUMBIA     SC    29170‐2330
GEORGE N CHAMMAS                              777 CHATEAU DRIVE                                                                                 HILLSBOROUGH      CA    94010‐6504
GEORGE N COLE                                 57 RESERVOIR LANE                                                                                 CHESTNUT HILL     MA    02467‐1454
GEORGE N DREISCH                              52 COLUMBUS AVE                                                                                   STATEN ISLAND     NY    10304‐4305
GEORGE N FRAM                                 4806 EAST ASHELFORD DR                                                                            BYRON             IL    61010‐9357
GEORGE N GOSHEFF                              2714 NORTH HAVEN CT                                                                               FORT WAYNE        IN    46825
GEORGE N GRBA & JANE E GRBA JT TEN            7408 REXFORD ST                                                                                   NAVARRE           FL    32566‐6758
GEORGE N HATZIGEORGIOU                        3851 W JEFFERSON AVE                                                                              ECORSE            MI    48229‐1701
GEORGE N KILMER                               331 EVANS RUN DRIVE                                                                               MARTINSBURG       WV    25401‐5206
GEORGE N KING                                 106 INDIAN PAINTBRUSH                                                                             LAKE JACKSON      TX    77566‐3249
GEORGE N KOKANOVICH                           137 FIRESTONE ST                                                                                  BUFFALO           NY    14218‐3678
GEORGE N KRSTEVICH                            5808 MORTIMER LINE RD                                                                             CROSWELL          MI    48422‐9191
GEORGE N LAFLEUR & FLORA G LAFLEUR JT TEN     2327 E BROOKSIDE AVE                                                                              ORANGE            CA    92867‐4003
GEORGE N LOPANO & DEBRA E LOPANO JT TEN       13 RADNOR AVE                                                                                     CROTON            NY    10520‐2621
GEORGE N MC MARTIN                            1422 E 30TH AVE                                                                                   APACHE JUNCTION   AZ    85219‐9551

GEORGE N MILLER                               4637 STEVEN LANE                                                                                  WALNUTPORT        PA    18088‐9622
GEORGE N NEWBERRY                             5806 STONELEIGH DR                                                                                TYLER             TX    75703
GEORGE N PEET                                 107 PARK AVE                                                                                      ARLINGTON         MA    02476‐5815
GEORGE N PIGG                                 5110 ATTICA RD                                                                                    ATTICA            MI    48412‐9638
GEORGE N PROSSER                              1089 SHADY CIR                                                                                    URBANA            OH    43078‐9774
GEORGE N SPARKMAN                             6644 BUCK                                                                                         TAYLOR            MI    48180‐1625
GEORGE NEAL KITE JR                           15505 EAST FAIRFIELD RD                                                                           MOUNT VERNON      IL    62864‐7790
GEORGE NEALY                                  6163 STEM LANE                                                                                    MT MORRIS         MI    48458‐2653
GEORGE NEEDHAM                                1146 BEECHWOOD LN                                                                                 CEDAR HILL        TX    75104‐2979
GEORGE NEWTON NEWBERRY & MRS KAY FRANCIS      5806 STONELEIGH DR                                                                                TYLER             TX    75703‐5642
NEWBERRY TEN COM
GEORGE NICHOLA                                35994 SCONE                                                                                       LIVONIA           MI    48154‐5264
GEORGE NICHOLAS                               3506 CLUBLAND DRIVE                                                                               MARIETTA          GA    30068‐2510
GEORGE NICHOLAS MAZZA                         1901 EDWARDS LN                                                                                   TOMS RIVER        NJ    08753‐3367
GEORGE NICHOLS ALLPORT                        1741 BLACK RIVER RD                                                                               FAR HILLS         NJ    07931‐2703
GEORGE NICKOLAS KOSTUROS                      214 LOMITAS AVE                                                                                   S SAN FRAN        CA    94080‐4142
GEORGE NIKOLAIDIS                             111 FULLERTON CRESCENT                   MARKHAM ON                             L3R 3G4 CANADA
GEORGE NONESTIED                              10 GREENBRAE CT                                                                                   EAST BRUNSWICK    NJ    08816‐4104
GEORGE NORWOOD ANDERSON                       1604 CRAIG STREET                                                                                 RALEIGH           NC    27608‐2202
GEORGE O BURPEAU 3RD                          213 FOREST HILLS DR                                                                               WILMINGTON        NC    28403‐1121
GEORGE O BURTON                               704 VALHALLA DRIVE                                                                                ALBION            MI    49224‐9402
GEORGE O DAVIS III                            600 LONGPOINTE DR                                                                                 LAKE ORION        MI    48362‐2343
GEORGE O DUNKERLEY                            435 BRADFORD DRIVE                                                                                CANFIELD          OH    44406‐1006
GEORGE O FRAME                                1398 ST RT #183                                                                                   ATWATER           OH    44201‐9528
GEORGE O HENSON                               415P SHERIDAN DR                                                                                  CPE GIRARDEAU     MO    63703‐6411
GEORGE O HUTTON                               10121 JASPER RD                                                                                   CLEVELAND         OH    44111‐3829
GEORGE O MAPLES                               PO BOX 158                                                                                        LAKE              MI    48632‐0158
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GEORGE O MC MILLAN JR                             311 HOON AVENUE                                                                                  FARRELL            PA    16121‐1837
GEORGE O MIRACLE                                  3355 REILLY ROAD                                                                                 LUPTON             MI    48635‐9784
GEORGE O OWEN                                     PO BOX 116                                                                                       FELICITY           OH    45120‐0116
GEORGE O PALMER                                   206 N GREGG DR                                                                                   MARION             IN    46952‐3108
GEORGE O REEVE                                    202 FORT HOUSTON DR                                                                              PALESTINE          TX    75801‐0651
GEORGE O RIGBY & DONNA E RIGBY JT TEN             4607 PICKETT RD                                                                                  FAIRFAX            VA    22032‐2024
GEORGE O STENZEL JR                               9215 HAVELOCK                                                                                    SAN ANTONIO        TX    78254‐2229
GEORGE O WEST                                     1085 WILES LN                                                                                    LEWISBURG          TN    37091‐6626
GEORGE O'CONNELL                                  18 WATERFORD WAY                                                                                 BUTTE              MT    59701‐4375
GEORGE OCHOA                                      1233 N PENNSYLVANIA AVE                                                                          SAN BERNARDINO     CA    92410
GEORGE OKEEFE                                     5 ELYSE DRIVE                                                                                    NEW CITY           NY    10956‐3307
GEORGE OLSHAVSKY JR                               14772 RICHMOND                                                                                   SOUTHGATE          MI    48195‐3706
GEORGE ORBASH                                     253 PARKVIEW DR                                                                                  AVON LAKE          OH    44012‐1516
GEORGE ORBASH & JOAN M ORBASH JT TEN              253 PARKVIEW DRIVE                                                                               AVON LAKE          OH    44012‐1516
GEORGE OTIS PALMER                                124 4TH ST                                                                                       TIPTON             IN    46072‐1851
GEORGE P ALBA                                     218 DIVISADERO ST                                                                                SAN FRANCISCO      CA    94117
GEORGE P ANDERSON III                             9105 WIPKEY CT                                                                                   BOWIE              MD    20720‐3268
GEORGE P ANDREWS                                  104 RIDGE LN                                                                                     CLINTON            TN    37716‐7910
GEORGE P BERG                                     9 INGRAM DR                                                                                      HICKSVILLE         NY    11801‐2010
GEORGE P BETTY                                    31845 SCHOONER DRIVE                    RIVER VILLAGE                                            MILLSBORO          DE    19966‐9131
GEORGE P BOORAS                                   PO BOX 596                                                                                       MASSENA            NY    13662‐0596
GEORGE P BOSY                                     1893 CLINTON AVE NO                                                                              ROCHESTER          NY    14621‐1451
GEORGE P BRANDETSAS CUST PATRICIA ANNE            1101 LAUREL PARK LANE                                                                            CHARLOTTE          NC    28270‐9786
BRANDETSAS UGMA NC
GEORGE P BREWSTER                                 271 S THIRD AVE APT W                                                                            FRUITPORT          MI    49415‐9630
GEORGE P BRINKLIS & MRS IRMA BRINKLIS TEN ENT     9612 BIRWOOD                                                                                     PHILADELPHIA       PA    19115‐3809

GEORGE P BUHARIN                                  3951 OAK PARK CIRCLE                                                                             ROCHESTER          MN    55904‐6190
GEORGE P CHARNLEY JR                              1824 BLANTON AVE                                                                                 NORTHPORT          FL    34288‐7356
GEORGE P CONGRAM                                  3308 VALLEY HEIGHTS DR                                                                           SALT LAKE CTY      UT    84118‐3019
GEORGE P COX                                      316 E BRECKINRIDGE                                                                               MACON              GA    31210‐2189
GEORGE P DEL DUCA JR                              23 ROGERS PLACE                                                                                  BERKELEY HEIGHTS   NJ    07922‐1910

GEORGE P DIXON & VERONICA DIXON JT TEN            204 LINCOLN ST                                                                                   ELMONT             NY    11003‐2327
GEORGE P DODD                                     99 CANNONBALL DR                                                                                 WINFIELD           MO    63389‐3234
GEORGE P DOMANSKI JR                              30244 DAWSON                                                                                     GARDEN CITY        MI    48135‐2357
GEORGE P DOONAN & MRS VIRGINIA DOONAN JT TEN      196 LOCUST ST                           APT 2‐204                                                LYNN               MA    01904‐2946

GEORGE P FALLON                                   BOX 507                                                                                          BURBANK            CA    91503‐0507
GEORGE P FLOWERS                                  24655 THICKET LN                                                                                 OLMSTED FALL       OH    44138‐2351
GEORGE P GLEFFE                                   3333 WILLARD RD                                                                                  CLIO               MI    48420
GEORGE P GRAHAM JR                                3323 N LIMBERLOST LN                                                                             TERRE HAUTE        IN    47803‐9696
GEORGE P HALEY                                    1825 MARIN AVE                                                                                   BERKELEY           CA    94707‐2414
GEORGE P HANLEY & ANASTASIA P HANLEY JT TEN       1103 S SCOTT RD                         APT 311                                                  SAINT JOHNS        MI    48879‐9318
GEORGE P HENDRIX                                  PO BOX 128                                                                                       PIEDMONT           AL    36272‐0128
GEORGE P HESS                                     17330 MARGATE STREET                                                                             ENCINO             CA    91316
GEORGE P HILLA                                    1753 E EVELYN AV                                                                                 HAZEL PARK         MI    48030‐2307
GEORGE P HUMBOLDT                                 100 E WISCONSIN AVE                     STE 1010                                                 MILWAUKEE          WI    53202‐4107
GEORGE P JONES                                    2257 BELLE MEADE DR                                                                              DAVISON            MI    48423‐2071
GEORGE P KERNS                                    523 MAPLE ST                                                                                     CELINA             OH    45822‐1501
GEORGE P KONTOMENAS                               4444 WEST LAWRENCE AVE                  APT 616                                                  CHICAGO            IL    60630‐2596
GEORGE P KOONEY                                   1733 CHESTNUT                                                                                    WYANDOTTE          MI    48192‐4804
GEORGE P LEARY                                    401 PEARL ST                                                                                     FORTVILLE          IN    46040‐1536
GEORGE P LITAVEC                                  4283 MAYFIELD RD #6                                                                              SOUTH EUCLID       OH    44121‐3038
GEORGE P LOSH                                     12794 LOCKSLEY PL                                                                                FISHERS            IN    46038‐8394
GEORGE P LOSIO & DONNA M HANC JT TEN              1 3RD AVE                                                                                        FARMINGDALE        NY    11735‐5715
GEORGE P MAKRANYI                                 6111 TRENTON DRIVE                                                                               FLINT              MI    48532‐3242
GEORGE P MARTIN                                   5899 SE CHIEFS RD                                                                                COWGILL            MO    64637‐8778
GEORGE P MATHIS                                   3138 ESTHER DR                                                                                   GAINESVILLE        GA    30504‐5531
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GEORGE P MERRILL JR                              2198 LAGUNA ROAD                                                                               SANTA ROSA      CA      95401‐3725
GEORGE P MILEY                                   N80W13385 RIVER PARK DR                                                                        MENOMONEE FALLS WI      53051‐3990

GEORGE P PARKER                                  6132 NORTH RIDGE HILLS DRIVE                                                                   BRIGHTON          MI    48116‐3754
GEORGE P PFAHLER                                 3615 SOUTH CREEK RD                                                                            HAMBURG           NY    14075‐6152
GEORGE P SCHVARCKOPF                             27390 WOODMONT                                                                                 ROSEVILLE         MI    48066‐2736
GEORGE P SMITH                                   13815 HORSESHOE DR                    APT 7                                                    STERLING HTS      MI    48313
GEORGE P TOMKO                                   5130 SARAH CIR                                                                                 WOOSTER           OH    44691‐5508
GEORGE P WERNER                                  804 WOODLAND AVE                      MARSHALLTON HEIGHTS                                      WILMINGTON        DE    19808‐5752
GEORGE P WERNER & HELEN M WERNER JT TEN          804 WOODLAND AVE                                                                               WILMINGTON        DE    19808‐5752
GEORGE P WRIGHT                                  9365 RAWSONVILLE                                                                               BELLEVILLE        MI    48111‐9367
GEORGE P ZAMPEDRO                                1034 MERCER                                                                                    WARREN            OH    44483‐3854
GEORGE PADOVICH                                  18788 JAMESTOWN CIR                   # 14                                                     NORTHVILLE        MI    48167‐3530
GEORGE PAGE MARKEY                               19 MT. DASHAN LN                                                                               TOMS RIVER        NJ    08753
GEORGE PAH                                       9165 STEEP HOLLOW DR                                                                           WHITE LAKE        MI    48386‐2072
GEORGE PALO                                      850 N MERIDIAN RD                     APT 208                                                  YOUNGSTOWN        OH    44509‐1010
GEORGE PANAS                                     225 ELBERON BLVD                                                                               OAKHURST          NJ    07755‐1764
GEORGE PAPPAS                                    7906 UNA                                                                                       SAGINAW           MI    48609‐4994
GEORGE PARKS                                     PO BOX 881                                                                                     TROY              MI    48099
GEORGE PASLARU                                   28444 JAMES DRIVE                                                                              WARREN            MI    48092‐5612
GEORGE PATRICK GARLAND                           3642 DOUBLE S RD                                                                               DAYTON            TN    37321‐5343
GEORGE PATRICK JENSEN JR                         7 WESTCHESTER CT                                                                               MIDDLE ISLAND     NY    11953‐1928
GEORGE PAVLICEK                                  9180 BUSCH RD                                                                                  BIRCH RUN         MI    48415‐8441
GEORGE PECHIE TOD JOANNE M PECHIE SUBJECT TO STA 160 HICKORY MANOR DR                                                                           ROCHESTER         NY    14606
TOD RULES
GEORGE PERKINS                                   5415 ALLEN DR                                                                                  ANDERSON          IN    46013‐1601
GEORGE PERRY & JANE PERRY JT TEN                 116 ROBIN ROAD                                                                                 BRISTOL           TN    37620‐2743
GEORGE PETER GOODWIN                             1671 TIMBER HILLS DR                                                                           DELAND            FL    32724‐7979
GEORGE PETER SOPCZAK                             6 INDIANA ST                                                                                   WORCESTER         MA    01604‐3359
GEORGE PETRISKO                                  81 HONEYFLOWER DR                                                                              YARVILLE          NJ    08620‐9687
GEORGE PHILLIPS JR                               20817 ORANGELAWN                                                                               DETROIT           MI    48228‐1575
GEORGE PIGOTT TOD DUNCAN PIGOTT SUBJECT TO STA 300 RIVERFRONT DR STE 11E                                                                        DETROIT           MI    48226
TOD RULES
GEORGE PIONTEK                                   13107 WOODLAND DR                                                                              HOMER GLEN        IL    60491‐8725
GEORGE PIZZIMENTI JR                             31721 PALOMINO                                                                                 WARREN            MI    48093‐1730
GEORGE PLESCHAKOW                                9212 SPRING VEIW LOOP                                                                          ESTERO            FL    33928‐3405
GEORGE POLOIS                                    571 FORSYTHE AV                                                                                GIRARD            OH    44420‐2212
GEORGE PONG TR GEORGE PONG FAM TRUST UA          15168 MOIR COURT                                                                               TUSTIN            CA    92780‐4048
08/25/97
GEORGE POTIRIS                                   53767 CHERRYWOOD DR                                                                            SHELBY TOWNSHIP   MI    48315‐1351

GEORGE POTTER & TANDA L REYNOLDS JT TEN          354 ACKERSON LAKE DR                                                                           JACKSON           MI    49201
GEORGE PRECHTEL                                  8898 AVE B                                                                                     BALTIMORE         MD    21219
GEORGE PRICE JR                                  34 LORRAINE CT                                                                                 PONTIAC           MI    48341‐1727
GEORGE PRUITT JR                                 3100 S CREYTS RD                                                                               LANSING           MI    48917‐9533
GEORGE PRZYCHODZEN                               169 WESTERLY TERR                                                                              EAST HARTFORD     CT    06118‐3459
GEORGE PRZYGODA                                  65 SMULLEN ST                                                                                  SAYREVILLE        NJ    08872‐1552
GEORGE PSIHOS TR G PSIHOS TRUST UA 07/26/99      1001 BEGONIA DR                                                                                ALAMEDA           CA    94502‐6933
GEORGE Q WILLIAMS & BERNICE WILLIAMS JT TEN      22609 GLASTONBURY GATE                                                                         SOUTHFIELD        MI    48034‐5171

GEORGE R ABBOTT                                  153 HOLLYVALE DR                                                                               ROCHESTER         NY    14618‐2817
GEORGE R ABEL CUST ALLEN L ABEL UGMA WI          N4607 C T H V                                                                                  EDEN              WI    53019
GEORGE R ACHENBACH SR                            272 S SHERMAN DR                                                                               INDIANAPOLIS      IN    46201‐4458
GEORGE R ARNOLD JR                               18647 GRUEBNER ST                                                                              DETROIT           MI    48234‐3721
GEORGE R BANNECKER TR GEORGE R BANNECKER UA      5371 S MILFORD RD 59                                                                           MILFORD           OH    45150‐9504
06/18/97
GEORGE R BARNES                                  9227 S 50 E                                                                                    LAFONTAINE        IN    46940‐9492
GEORGE R BENCHECK JR                             1124 GAGE RD                                                                                   HOLLY             MI    48442‐8334
GEORGE R BENNETT                                 PO BOX 1424                                                                                    BLUE RIDGE        GA    30513‐0025
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GEORGE R BLACKMAN                                   1920 WEAVER ST                                                                                  DAYTON          OH    45408‐2562
GEORGE R BOWLES                                     6428 STONE CREEK TRL                                                                            FORT WORTH      TX    76137‐1923
GEORGE R BOWLES & BENNIE B BOWLES JT TEN            6428 STONE CREEK TRAIL                                                                          FORT WORTH      TX    76137
GEORGE R BRIGHT & OLLIE M BRIGHT JT TEN             12906 BRIXHAM DR                                                                                WARREN          MI    48093‐1359
GEORGE R BROCK                                      1174 W FRANCIS RD                                                                               MT MORRIS       MI    48458‐1043
GEORGE R BUNDY & ZACHARY BUNDY JT TEN               13 FRANCIS                                                                                      PLATTE CITY     MO    64079
GEORGE R BURDEN & BETTY J BURDEN JT TEN             808 SARATOGA DR                                                                                 WOODLAND        CA    95695‐5025
GEORGE R BUTELA                                     631 JENNE DR                                                                                    PITTSBURGH      PA    15236‐2426
GEORGE R CHAPMAN                                    ROUTE 1 BOX 28                                                                                  HAMPSHIRE       TN    38461‐9703
GEORGE R CHENEY & DEBORAH L SHEEHAN JT TEN          8229 S MASON                                                                                    BURBANK         IL    60459‐1955
GEORGE R CLARK & EVELYN T CLARK JT TEN              1162 JEANNETTE AVE                                                                              UNION           NJ    07083‐5850
GEORGE R CLARKE & JEAN CLARKE JT TEN                26710 BARBARA                                                                                   ROSEVILLE       MI    48066‐3402
GEORGE R CLEERE                                     210 E HARMON DR                                                                                 GREENVILLE      OH    45331‐2329
GEORGE R CLEMENS JR                                 17483 ROAD 108                                                                                  PAULDING        OH    45879‐9735
GEORGE R COCHRAN                                    1151 OLD WESTMINSTER PIKE                                                                       WESTMINSTER     MD    21157‐7014
GEORGE R CRAWFORD                                   2777 DEL PRADO DR                                                                               INDIANAPOLIS    IN    46227‐6109
GEORGE R CYNCEWICZ                                  18658 INKSTER                                                                                   REDFORD         MI    48240‐2044
GEORGE R DAVIS & KAREN W DAVIS JT TEN               314 DOUGLAS HWY                                                                                 OCILLA          GA    31774‐4040
GEORGE R DAWSON 3RD                                 1119 DUNVEGAN RD                                                                                FLORENCE        SC    29501‐5625
GEORGE R DEBNAM IV                                  13499 STILL POND RD                                                                             STILL POND      MD    21667‐1322
GEORGE R DELISLE                                    9284 NICHOLS RD                                                                                 GAINES          MI    48436‐9708
GEORGE R DEMINGS                                    PO BOX 746                                                                                      BAYARD          NM    88023‐0746
GEORGE R DI CRISTINA TR UA 11/02/89 SURVIVORS       1 HAYWARD CRT                                                                                   BURLINGAME      CA    94010
TRUST
GEORGE R DI FELICE & FRANCES A DI FELICE JT TEN     3048 KEYSTONE ST                                                                                BETHLEHEM       PA    18020‐5521

GEORGE R DI FELICE & FRANCES A DI FELICE JT TEN     3048 KEYSTONE ST                                                                                BETHLEHEM       PA    18020‐5521

GEORGE R DICKERSON                                  34311 BRANCH SCHOOL ROAD                                                                        LAUREL           DE   19956‐4193
GEORGE R DICKERSON JR                               1553 BRIERY RD                                                                                  FARMVILLE        VA   23901‐2551
GEORGE R DUTCHER                                    4318 VISTA ST                                                                                   PHILADELPHIA     PA   19136
GEORGE R DUTTON                                     10698 E RICHVIEW RD                                                                             MOUNT VERNON     IL   62864‐8263
GEORGE R ENLOE                                      204 TERRY PL                                                                                    WILMINGTON       DE   19804‐2036
GEORGE R FAILING                                    212 MILLER STREET                                                                               WESTERNPORT      MD   21562‐1711
GEORGE R FELDER                                     PO BOX 281                                                                                      BUFFALO          NY   14209‐0281
GEORGE R FIES                                       380 OLEY LINE RD                                                                                DOUGLASSVILLE    PA   19518‐8822
GEORGE R FORTIN                                     32459 WASHINGTON                                                                                LIVONIA          MI   48150‐3715
GEORGE R FORTIN & JUDITH A FORTIN JT TEN            32459 WASHINGTON                                                                                LIVONIA          MI   48150‐3715
GEORGE R FRANKE                                     137 MOULTON AVE                                                                                 BUFFALO          NY   14223‐2019
GEORGE R FREEMAN                                    6888 ILLINOIS RD                                                                                LUDINGTON        MI   49431‐9503
GEORGE R GOYNES                                     17666 BECK ST                                                                                   LAKE MILTON      OH   44429‐9529
GEORGE R GREENE                                     175 MAIN AVE APT 161                                                                            WHEATLEY HEIGHTS NY   11798

GEORGE R HANEY                                      PO BOX 576                                                                                      NORTH JACKSON   OH    44451‐0576
GEORGE R HANLEY                                     860 ISLAND POINTE                                                                               LAKE ORION      MI    48362‐2581
GEORGE R HARRIS                                     46 CLOVERLAND DR                                                                                ROCHESTER       NY    14610‐2709
GEORGE R HART                                       21 ELBRIDGE STREET                                                                              JORDAN          NY    13080
GEORGE R HAYMAKER JR                                4758 GRACE CHURCH RD                                                                            NEWTON          NC    28658‐8834
GEORGE R HENDERSON                                  2771 BARCLAY MESSERLY                                                                           SOUTHINGTON     OH    44470‐9735
GEORGE R HICKS                                      7012 FAIRPARK AVE                                                                               CINCINNATI      OH    45216‐1929
GEORGE R HOOVER CUST MATTHEW G KYTE UGMA AZ         3348 E VILLAGE DR                                                                               SIERRA VISTA    AZ    85635‐4254

GEORGE R HOOVER CUST MATTHEW G KYTE UTMA AZ         3348 E VILLAGE DR                                                                               SIERRA VISTA    AZ    85635‐4254

GEORGE R HOOVER SR                                  1610 SKYLINE DR                                                                                 DANVILLE        IL    61832‐2034
GEORGE R HOUSE                                      25839 GLEN EAGLE DR                                                                             LEESBURG        FL    34748‐7823
GEORGE R HUBINGER & EUNICE A HUBINGER JT TEN        5051 N IDLEWILD AVE                                                                             MILWAUKEE       WI    53217‐5632

GEORGE R HULL JR                                    10160 N KELLER LN                                                                               MOORESVILLE     IN    46158‐6459
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GEORGE R HUNYADI                                 500 E DECKER DR                                                                                SEVEN HILLS       OH    44131‐2644
GEORGE R JIVATODE                                6309 GORMLEY PLACE                                                                             SPRINGFIELD       VA    22152‐1939
GEORGE R KASCSAK                                 5542 PALMYRA RD SW                                                                             WARREN            OH    44481
GEORGE R KENWORTHY & MRS BETTY N KENWORTHY JT 3210 KINGS BROOK DR                                                                               FLUSHING          MI    48433‐2484
TEN
GEORGE R KULBETH                                 2713 GLEN OAKS DR                                                                              NORMAN            OK    73071‐4347
GEORGE R LATIMER                                 606 MAPLE AVENUE                                                                               FALMOUTH          KY    41040‐1424
GEORGE R LEBLANC                                 RR2 BOX 133                                                                                    WOODSVILLE        NH    03785‐9419
GEORGE R LEDERER & JUNE A LEDERER JT TEN         3232 ALLISON DR                                                                                YOUNG HARRIS      GA    30582‐1991
GEORGE R LELLIS CUST JACQUELIN DIANE LELLIS UGMA 8 GERANIUM DR                                                                                  HOMOSASSA         FL    34446‐6122
MI
GEORGE R LELLIS CUST JASON E LELLIS UGMA MI      8 GERANIUM DR                                                                                  HOMOSASSA         FL    34446‐6122
GEORGE R LIPSTREUER CUST CODY A LIPSTREUER UTMA 1231 LANCE DR                                                                                   TWIN LAKES        WI    53181‐9651
WI
GEORGE R LIPSTREUER CUST KRYSTYNIA L LIPSTREUER 1231 LANCE DR                                                                                   TWIN LAKES        WI    53181‐9651
UTMA WI
GEORGE R LIPSTREUER CUST RYAN A LIPSTREUER UTMA 1231 LANCE DR                                                                                   TWIN LAKES        WI    53181‐9651
WI
GEORGE R LYON                                    1317 SMITH AVE                                                                                 ROYAL OAK         MI    48073‐3148
GEORGE R LYON & GEORGE C LYON & PETER M LYON & 13603 SAMPLE CT                                                                                  LOUISVILLE        KY    40245‐7452
BRUCE K LYON JT TEN
GEORGE R MAC CALLEN & ROGER B MAC CALLEN JT TEN 2813 ROBERT CT                                                                                  PINOLE            CA    94564‐1337

GEORGE R MAPES                                  RR 2 BOX 191                                                                                    FARMLAND          IN    47340‐9635
GEORGE R MC CLOUD                               2 WOOD ACRES DRIVE                                                                              N BRUNSWICK       NJ    08902‐2526
GEORGE R MC NEISH                               PO BOX 734                                                                                      WINFIELD          KS    67156‐0734
GEORGE R MCCOY JR                               14493 WOODFIELD CIR W                                                                           JACKSONVILLE      FL    32258
GEORGE R MCCULLOUGH                             305 SCHENLEY RD                                                                                 PITTBURGH         PA    15217‐1174
GEORGE R MCNEES JR                              10541 GYPSY LN NE                                                                               ROCKFORD          MI    49341‐8242
GEORGE R MERIANOS                               1290 FLINT RD                                                                                   MURRAY            KY    42071‐9575
GEORGE R MEYER JR & SHIRLEY F MEYER JT TEN      432B COOLIAGE AVE                                                                               ORTLEY BEACH      NJ    08751‐1310
GEORGE R MILLER                                 2237 PINNACLE RD                                                                                RUSH              NY    14543‐9456
GEORGE R MILLIGAN JR                            173 SUNSET DRIVE                                                                                PALMYRA           NY    14522‐1317
GEORGE R MORAITIS & KAREN K MORAITIS JT TEN     631 MIDDLE RIVER DR                                                                             FORT LAUDERDALE   FL    33304‐3509

GEORGE R MORGAN                                 10721 AIRVIEW DR                                                                                NO HUNTINGDON     PA    15642‐4283
GEORGE R MORRIS                                 32511 PALMER ROAD                                                                               WESTLAND          MI    48186‐4771
GEORGE R MOUNTAIN                               6225 OGBURN STREET                                                                              BROOKSVILLE       FL    34602‐7908
GEORGE R MUNDELL                                6409 BITTERSWEET LAKES RUN                                                                      FORT WAYNE        IN    46804‐8210
GEORGE R MYERS                                  6108 CAROLYN DRIVE                                                                              MUNCIE            IN    47303‐4455
GEORGE R NASH                                   4659 LOWER RIVER ROAD                                                                           LEWISTON          NY    14092‐1054
GEORGE R NASH & PEGGY A NASH JT TEN             4659 LOWER RIVER ROAD                                                                           LEWISTON          NY    14092‐1054
GEORGE R NASON & DEANNA LEE NASON JT TEN        111 EAST BAKER                                                                                  CLAWSON           MI    48017‐1667
GEORGE R NELSON                                 120 CAROLYN                                                                                     CORTLAND          OH    44410‐1320
GEORGE R NELSON & JENNIFER H NELSON JT TEN      120 CAROLYN                                                                                     CORTLAND          OH    44410‐1320
GEORGE R OTTERMAN & SUZAN A OTTERMAN JT TEN     2850 HENRY HUSKEY LN                                                                            SEVIERVILLE       TN    37862‐8542

GEORGE R PAJTAS                                 3254 N DUFFIELD RD                                                                              FLUSHING          MI    48433‐9709
GEORGE R PARKER                                 2446 E TOON                                                                                     ALEXANDRIA        IN    46001
GEORGE R PEMBERTON                              409 TOPIARY LN                                                                                  MIDDLETOWN        DE    19709‐4615
GEORGE R PFENDLER                               16830 ASHBRIDGE CT                                                                              SPRING            TX    77379‐4400
GEORGE R PITTARD                                7533 GRAND RIVER RD                    STE 101                                                  BRIGHTON          MI    48114‐7380
GEORGE R POLEN                                  6809 BYRON ROAD                                                                                 DURAND            MI    48429‐9471
GEORGE R POORE                                  1130 E CLARK STE 150 PMB 171                                                                    SANTA MARIA       CA    93455‐5178
GEORGE R PORTORS & EDITH M PORTORS JT TEN       51 FERNWOOD AVE                                                                                 HAVERHILL         MA    01835
GEORGE R POWERS                                 202 FURNACE ST                                                                                  ELYRIA            OH    44035‐5026
GEORGE R QUEEN JR & DONNA JEAN OSMAN JT TEN     156 2ND ST                                                                                      VANCEBURG         KY    41179

GEORGE R QUEEN JR TOD MILLICENT OSMAN           608 SECOND STREET                                                                               VANCEBURG         KY    41179‐1011
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GEORGE R QUEENS JR TOD MARISSA OSMAN SUBJECT     156 SECOND ST                                                                                  VANCEBURG        KY    41179‐1011
TO STA TOD RULES
GEORGE R RALPH                                   1024 TENTH ST                                                                                  IRWIN            PA    15642‐3747
GEORGE R RICE & GAYLE W RICE JT TEN              3980 N 150 W                                                                                   ANDERSON         IN    46011‐9220
GEORGE R ROSKO                                   789 HULSES CORNER RD                                                                           HOWELL           NJ    07731‐8545
GEORGE R RUBLE                                   PO BOX 251                                                                                     LAKE MILTON      OH    44429‐0251
GEORGE R RUDDICK                                 PO BOX 2336                                                                                    MUNCIE           IN    47307‐0336
GEORGE R RUHL III CUST ANN D RUHL UGMA MD        4718 DEVON                                                                                     HOUSTON          TX    77027‐6204
GEORGE R RUIZ & JOHN M RUIZ & ANTHONY N RUIZ JT PO BOX 463                                                                                      MANNSVILLE       OK    73447‐0463
TEN
GEORGE R SAVANI JR                               BOX 1285                                                                                       SEVERNA PARK     MD    21146
GEORGE R SCHOEFFEL TOD KEITH A SCHOEFFEL SUBJECT 3560 W 213TH ST                                                                                FAIRVIEW PARK    OH    44126‐1213
TO STA TOD RULES
GEORGE R SCHOEFFEL TOD KIRK A SCHOEFFEL SUBJECT 3560 W213 STREET                                                                                FAIRVIEW PARK    OH    44126‐1213
TO STA TOD RULES
GEORGE R SCHOEFFEL TOD MICHELLE W MCMAHAN        3560 W213 STREET                                                                               FAIRVIEW PARK    OH    44126‐1213
SUBJECT TO STA TOD RULES
GEORGE R SCHULTES                                172 HILLARY DR                                                                                 ROCHESTER        NY    14624‐5224
GEORGE R SCIAMANNA                               1711 HWY 17 SOUTH UNIT 518                                                                     SURFSIDE BCH     SC    29575
GEORGE R SELVEK                                  82 DONNA RD                                                                                    ROCHESTER        NY    14606‐3237
GEORGE R SHERMAN                                 13389 SETTLEMENT ACRE                                                                          BROOKPARK        OH    44142‐3948
GEORGE R SHILLING                                8947 TACKELS                                                                                   WHITE LAKE       MI    48386‐1570
GEORGE R SILVERNELL                              BOX 665                                                                                        UNADILLA         NY    13849‐0665
GEORGE R SIMPSON JR & JUDITH T SIMPSON JT TEN    101 W MAIN ST                                                                                  LA GRANGE        KY    40031‐1115

GEORGE R SLOVINSKY                               6013 HANNA RD                                                                                  RAVENNA          OH    44266‐8534
GEORGE R SMITH                                   12509 S MICHIGAN AVE                                                                           CHICAGO          IL    60628‐7368
GEORGE R SMITH                                   7409 PENINSULA DR                                                                              TRAVERSE CITY    MI    49686‐1777
GEORGE R SOUTHARD                                14417 FAIRWAY DR                                                                               CORPUS CHRISTI   TX    78410‐5690
GEORGE R SPENCER & MRS JUDITH B SPENCER JT TEN   1820 TUPELO TRAIL                                                                              HOLT             MI    48842‐1555

GEORGE R STEBBINS                                3799 HALF MOON LAKE DRIVE                                                                      HARRISON         MI    48625‐8840
GEORGE R STEVENS                                 10240 CONVERSE RD                                                                              FOWLERVILLE      MI    48836‐9614
GEORGE R STITELER                                72 BETHEL ROAD                                                                                 GLEN MILLS       PA    19342‐1514
GEORGE R STITT                                   9428 SASHABAW RD                                                                               CLARKSTON        MI    48348‐2026
GEORGE R STITT & PATRICIA A STITT JT TEN         9428 SASHABAW RD                                                                               CLARKSTON        MI    48348‐2026
GEORGE R STONER                                  382 HARWIN DRIVE                                                                               SEVERNA PARK     MD    21146‐2013
GEORGE R STOUT                                   9321 N LAPEER RD                                                                               MAYVILLE         MI    48744‐9306
GEORGE R SWEENEY                                 8007 S MEADE AVE                                                                               OAK LAWN         IL    60459‐1940
GEORGE R SWILLEY                                 4325 GOLDFINCH ST                                                                              HOUSTON          TX    77035‐5101
GEORGE R SYRING                                  4059 JUDITH AVE                                                                                MERRITT IS       FL    32953
GEORGE R T BEAVER                                1914 REYNOLDS RD                                                                               FRANKLIN GRV     IL    61031‐9502
GEORGE R TABELING JR                             417 LAKE AVE NE                                                                                MASSILLON        OH    44646‐4351
GEORGE R TATE                                    23774 SPY GLASS HL N                                                                           SOUTH LYON       MI    48178‐9478
GEORGE R TAYLOR                                  1011 W CORRINGTON ST                                                                           MASCOUTAH        IL    62258‐1021
GEORGE R TAYLOR & PATRICIA A TAYLOR JT TEN       1011 W CORRINGTON ST                                                                           MASCOUTAH        IL    62258‐1021
GEORGE R THOMAS                                  2905 MONTELL CT                                                                                PLANO            TX    75025‐6041
GEORGE R TIMKO                                   608 WESTLAKE DR                                                                                AMHERST          OH    44001‐1357
GEORGE R TINKA                                   1041 TIMBERLANE                                                                                LAKE ORION       MI    48360‐1105
GEORGE R TOLLAS                                  6944 BREMENTOWNE DR                                                                            TINLEY PARK      IL    60477‐1641
GEORGE R TORRES                                  9201 MACON HWY                                                                                 TECUMSEH         MI    49286‐9672
GEORGE R TRABUE                                  5109 THORNLEIGH DR                                                                             INDIANAPOLIS     IN    46226‐2257
GEORGE R TRASK & MRS COLLEEN J TRASK JT TEN      PO BOX 807                                                                                     ANDERSON         SC    29622‐0807
GEORGE R TRAVIS II                               12535 SEYMOUR RD                                                                               BURT             MI    48417‐9775
GEORGE R TROOST                                  41360 FOX RUN RD APT #FP213                                                                    NOVI             MI    48377
GEORGE R TUCKER                                  3481 SQUIRREL COURT                                                                            AUBURN HILLS     MI    48326‐4007
GEORGE R TURLEY                                  P O BOX205                                                                                     NEW LEBANON      OH    45345‐0205
GEORGE R TUTTLE & SUSAN L TUTTLE JT TEN          5510 LEISEL CT                                                                                 COMMERCE TWP     MI    48382‐4813
GEORGE R VALLERAND                               31 NOTTINGHAM TER APT 506                                                                      WATERBURY        CT    06704‐1961
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GEORGE R VENNIE                                   PO BOX 22126                                                                                     BALTIMORE         MD    21203‐4126
GEORGE R VIRCIK                                   511 PRINCETON RD                                                                                 LINDEN            NJ    07036‐5903
GEORGE R VRABLIK & CHARLOTTE E VRABLIK JT TEN     149 SHENANDOAH                                                                                   FAIRBANKS         AK    99712‐2407

GEORGE R WALDROP JR                               728 BELL CREEK RD                                                                                HIAWASSEE         GA    30546‐2331
GEORGE R WALKER                                   405 ALBERT AVENUE                                                                                LAKEWOOD          NJ    08701‐5408
GEORGE R WALT                                     204 E MOUNT HOPE AVE                                                                             LANSING           MI    48910‐9158
GEORGE R WALTZ JR                                 34918 KEELSON ST POT‐NETS                                                                        MILLSBORO         DE    19966‐6106
GEORGE R WARE                                     18870 FENELON                                                                                    DETROIT           MI    48234‐2221
GEORGE R WAUFORD                                  4051 OLD HICKORY BLVD                                                                            OLD HICKORY       TN    37138‐2029
GEORGE R WESTERBEKE                               APT 302                                 102 MORRIS DRIVE                                         LAUREL            MD    20707‐4519
GEORGE R WILLIAMS                                 175 POUND ST                                                                                     LOCKPORT          NY    14094‐3923
GEORGE R WILLIAMS TR GEORGE R WILLIMAS            1898 E LINCOLN                                                                                   BIRMINGHAM        MI    48009‐7113
REVOCABLE TRUST UA 6/14/04
GEORGE R WOLFANGLE                                1137 COUNTY HWY 13                                                                               NEW BERLIN        NY    13411‐4701
GEORGE R ZEEB                                     21 AUSTIN RD                                                                                     DURHAM            CT    06422‐1502
GEORGE RACH                                       12410 UNION AVENUE NE                                                                            ALLIANCE          OH    44601‐9340
GEORGE RADIK                                      1616 CLERMONT                                                                                    WARREN            OH    44483‐3945
GEORGE RAINEY                                     17809 TEPPERT                                                                                    DETROIT           MI    48234‐3847
GEORGE RALPH HATCHER III                          50 PARKER RD                                                                                     LONG VALLEY       NJ    07853‐3051
GEORGE RAMBOUR III TR UA 04/18/83 BY DOROTHY E    PO BOX 6                                                                                         COLUMBUS          NE    68602‐0006
COLLINS
GEORGE RANDLE                                     R ROUTE 1                               BLACKIE AB                             T0L 0J0 CANADA
GEORGE RANDOLPH                                   911 HENDERSON LN                                                                                 THE VILLAGES      FL    32162‐6672
GEORGE RANDOLPH BEARDSLEE                         18260 E ST RD                                                                                    NEW LOTHROP       MI    48460‐9612
GEORGE RAYKO                                      8412 GOREWAY DR                         BRAMPTON ON                            L6T 0A9 CANADA
GEORGE RAYMOND BLOM TR UA 01/23/80 MABLE C        1720 PEARL ST                                                                                    ALAMEDA           CA    94501‐1646
BLOM TR
GEORGE REDBURN JR CUST KIM A REDBURN UGMA MI      2645 PALOMINO DR                                                                                 ALLEN             TX    75002‐1026

GEORGE REED DUTTON                                1017 WESTSIDE RD                                                                                 HEALDSBURG        CA    95448‐9434
GEORGE REIMER                                     180 BERNARD ST                                                                                   CLAYTON           NJ    08312
GEORGE RIBET                                      1121 BRASSIE AVE                                                                                 FLOSSMOOR         IL    60422‐1503
GEORGE RICHARD BUCK                               17269 CREEKSIDE DR                                                                               BRANDYWINE        MD    20613‐7003
GEORGE RICHARD PUENING                            7960 EGLINGTON CT                                                                                CINCINNATI        OH    45255‐2414
GEORGE RICHIE                                     PO BOX 477                                                                                       CANFIELD          OH    44406‐0477
GEORGE RILEY JR                                   5068 COLUMBIA RD                                                                                 MASON             OH    45040‐9630
GEORGE RINK                                       3783 INNISFREE RD                                                                                HOWELL            MI    48855
GEORGE RITTER FAMILY LIMITED PARTNERSHIP          28420 SUNSET BLVD W                                                                              LATHROP VILLAGE   MI    48076‐2659

GEORGE ROBERT BELL                                112 CIRCLE R CT                                                                                  HOT SPRINGS       AR    71901‐9553
GEORGE ROBERT GALLAGHER                           701 S 5TH ST                                                                                     FAIRFIELD         IA    52556‐3524
GEORGE ROBERT GLASSFORD                           BOX 87                                                                                           CHARLES TOWN      WV    25414‐0087
GEORGE ROBERT GREEN                               123 STONEY POINT DR                                                                              HARVEST           AL    35749‐9603
GEORGE ROBERT LEOPOLD & PATSY CLEYONE LEOPOLD     8566 NOTTINGHAM PLACE                                                                            LA JOLLA          CA    92037‐2124
TR UA 08/08/89
GEORGE ROBERT SCHECHTER                           19 CALVIN CT                                                                                     ORINDA            CA    94563‐3604
GEORGE ROBERT WOOTEN JR                           1528 OLD KEITH RD                                                                                WAKE FOREST       NC    27587‐6216
GEORGE ROBERTS JR                                 3400 CLAIR CIRCLE                                                                                MARIETTA          GA    30066‐3924
GEORGE ROBINSON JR                                6477 EVERGREEN                                                                                   ST LOUIS          MO    63134‐1327
GEORGE ROGER JAMES                                PSC 517 BOX RS                                                                                   FPO               AP    96517‐1000
GEORGE ROKSANDIC                                  8470 CONGRESS ROAD                                                                               LODI              OH    44254‐9772
GEORGE ROMANOWSKI & SALLY ROMANOWSKI &            2716 FLORIAN                                                                                     HAMTRAMCK         MI    48212‐3428
RALPH ROMANOWSKI JT TEN
GEORGE ROMAS                                      5917 INDEPENDENCE                                                                                W BLOOMFIELD      MI    48322‐1854
GEORGE ROSENBERG CUST STEVEN ROSENBERG U/THE      C/O GAHLER                              50 WEST 72ND STREET #902                                 NEW YORK          NY    10023‐4132
NEW YORK U‐G‐M‐A
GEORGE ROY JACKSON JR                             655 RAY STREET                                                                                   PRAIRIE DU SAC    WI    53578‐2511
GEORGE RUGE                                       6706 60TH STREET CIR E                                                                           PALMETTO          FL    34221‐8204
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GEORGE RUSHTON ROUNDS                               2735 PARK PLACE                                                                                           EVANSTON         IL    60201‐1336
GEORGE RUSSELL STORY & ERNEST E STORY JT TEN        STORY FARMS INC                       HWY 77 S                                                            WOLF ISLAND      MO    63881
GEORGE RUSSELL VARIAN                               7 HAWKVIEW STREET                                                                                         PORTOLA VALLEY   CA    94028‐8037
GEORGE RUSSIN                                       32 ROYAL AVE                                                                                              BUFFALO          NY    14207‐1409
GEORGE S ATEBARA & MRS JUNE K ATEBARA JT TEN        275 PONAHAWAI ST                                                                                          HILO             HI    96720‐3074

GEORGE S BALUNEK                                      PO BOX 389                                                                                              AVON             OH    44011‐0389
GEORGE S BAREFOOT TOD CAROL J PALANGIO SUBJECT 204 SUNSET DR                                                                                                  PITTSBURGH       PA    15235‐5234
TO STA TOD RULES
GEORGE S BARTELL                                      337 N MAIN ST                                                                                           WEST MILTON      OH    45383‐1903
GEORGE S BELL                                         323 CEDER LANDING RD                                                                                    WINDSOR          NC    27983
GEORGE S BUNIACK                                      1517 S HURDS CORNER RD                                                                                  CARO             MI    48723‐9458
GEORGE S BURT                                         7282 COUNTY ROAD 234                APT 234                                                             NACOGDOCHES      TX    75961‐1097
GEORGE S CALHOUN                                      4872 SPOKANE                                                                                            DETROIT          MI    48204‐3666
GEORGE S COOPER JR                                    6681 LITTLE CREEK RD                                                                                    BANGOR           PA    18013
GEORGE S CRONK III                                    569 SOUTH 100 WEST                                                                                      FRANKLIN         IN    46131‐8433
GEORGE S DUNCAN                                       32346 KELLY ROAD                                                                                        ROSEVILLE        MI    48066‐6921
GEORGE S DUNLOP                                       2816 SO JOYCE STREET                                                                                    ARLINGTON        VA    22202‐2249
GEORGE S FEAD JR & JUDITH ANN FEAD JT TEN             328 INDIAN HILLS TRAIL                                                                                  MARIETTA         GA    30068‐4052
GEORGE S FILOS & LILLIAN J FILOS TR UA 04/20/92 FILOS 1125 LOYOLA DR                                                                                          LIBERTYVILLE     IL    60048‐1277
FAMILY TRUST
GEORGE S FILOS & LILLIAN J FILOS TR UA FILOS FAMILY 1125 LOYOLA DR                                                                                            LIBERTYVILLE     IL    60048‐1277
TRUST 04/20/92
GEORGE S FRIEDMAN                                     28 THELMA COURT                                                                                         COLONIA          NJ    07067‐1518
GEORGE S GADDA                                        2060 ROCKHAVEN DR                                                                                       RENO             NV    89511‐8619
GEORGE S GIBBS                                        RR 4                                BOWMANVILLE ON                         L1C 3K5 CANADA
GEORGE S GILES                                        310 STILLCREEK DR                                                                                       FRANKLIN         TN    37064‐6154
GEORGE S GIOURGAS & PEGGY GIOURGAS JT TEN             7740 SW 175TH ST                                                                                        PALMETTO BAY     FL    33157‐6205
GEORGE S GROFF                                        132 TARA BLVD                                                                                           LOGANVILLE       GA    30052‐4044
GEORGE S HEARON                                       2662 MONTEREY                                                                                           DETROIT          MI    48206‐1113
GEORGE S HERR & MILDRED E HERR JT TEN                 779 GENEVA ROAD                                                                                         WATERFORD        MI    48328‐2127
GEORGE S HOLLIES JR                                   912 W 54TH ST                                                                                           MARION           IN    46953‐5728
GEORGE S JOSLIN                                       PO BOX 3                                                                                                MC MINNVILLE     TN    37111‐0003
GEORGE S LEE & PENNY W LEE JT TEN                     218 LONG HILL DR                                                                                        SHORT HILLS      NJ    07078‐1519
GEORGE S LUBRANO                                      35 PLYMOUTH                                                                                             MINEOLA          NY    11501‐3423
GEORGE S MCCULLOM                                     407 JOHNSTONE CT                                                                                        RAYMORE          MO    64083‐9246
GEORGE S NASH & MARY E NASH JT TEN                    200 BURNSIDE DR                                                                                         TONAWANDA        NY    14150‐4424
GEORGE S NEUMANN                                      7979 RIVERCREST CT                                                                                      FREELAND         MI    48623‐8725
GEORGE S OLSZYK                                       501 EAST MARYLAND AVE                                                                                   CREWE            VA    23930
GEORGE S OWENS                                        9080 OPOSSUM RUN RD                                                                                     LONDON           OH    43140‐8628
GEORGE S PANZOFF                                      7861 TERRI                                                                                              WESTLAND         MI    48185‐9449
GEORGE S PAPACOSTAS                                   C/O SAUDI ARAMCO                    PO BOX 12902         DHAKRAU 31311     SSAUDI ARABIA SAUDI ARABIA

GEORGE S PAPROCKI                                   5429 SOUTH 20TH ST                                                                                        MILWAUKEE        WI    53221‐4369
GEORGE S PAPROCKI & CAROLINE A PAPROCKI JT TEN      5429 SO 20TH ST                                                                                           MILWAUKEE        WI    53221‐4369

GEORGE S PELTON                                     5016 WATERSITE CIR                                                                                        INDIANAPOLIS     IN    46254‐9616
GEORGE S PETROF                                     11104 BRUNSWICK AVE                                                                                       CLEVELAND        OH    44125‐3119
GEORGE S RAMSINI                                    5455 WHITE OAK AVE                    APT 203                                                             ENCINO           CA    91316
GEORGE S REA & JEAN PREVOST JT TEN                  14156 BELSAY RD                                                                                           MILLINGTON       MI    48746‐9217
GEORGE S SALZMANN                                   29 MT AUBURN ST                                                                                           CAMBRIDGE        MA    02138‐6031
GEORGE S SCHWARTZ                                   305 FAIRHAVEN ST                                                                                          FLORENCE         SC    29501‐8728
GEORGE S SCOTT & SUE ANN SCOTT JT TEN               8150 E 10T ST                                                                                             INDIANAPOLIS     IN    46219‐5327
GEORGE S STEFAN                                     1730 PALMA RD                                                                                             BULHEAD          AZ    86442‐5937
GEORGE S STEPHENS SR TR UA 07/01/1991 GEORGE S      4958 COUNTRY DR                                                                                           OKEMOS           MI    48864
STEPHENS SR TRUST
GEORGE S STIRLING JR                                19 BRITTON LANE                                                                                           MADISON          CT    06443‐2921
GEORGE S STIRLING TR UW PHYLLIS H STIRLING          19 BRITTON LANE                                                                                           MADISON          CT    06443‐2921
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GEORGE S STURGES & GERALDINE M STURGES JT TEN     11377 SCHOONER PT                                                                             WILLIS             TX    77318‐6139

GEORGE S TAMLYN                                   1652 YARDLEY CT                                                                               WEST CHESTER       PA    19380‐5796
GEORGE S THOMAS & CYNTHIA THOMAS JT TEN           47550 FORTON                                                                                  NEW BALTIMORE      MI    48047‐3443
GEORGE S TRACY                                    1912 CONDE                                                                                    JANESVILLE         WI    53546‐5738
GEORGE S UNDERWOOD                                9665 N POND CIR                                                                               ROSWELL            GA    30076‐2914
GEORGE S VERNATCHI & ELIZABETH M VERNATCHI JT     1941 65TH AVE                                                                                 SACRAMENTO         CA    95822‐4806
TEN
GEORGE S VOGEL                                    702 SW 201 RD                                                                                 DEEPWATER          MO    64735
GEORGE S WALSH                                    600 NORFOLK AVE                                                                               VIRGINIA BEACH     VA    23451‐4419
GEORGE S WELLER                                   1640 BAUST CHURCH RD                                                                          UNION BRIDGE       MD    21791‐9728
GEORGE S WOJCICKI                                 82 HILLARY DR                                                                                 ROCHESTER          NY    14624‐5245
GEORGE S YOUNG                                    8241 PINECOVE CT                                                                              CINCINNATI         OH    45249‐1211
GEORGE SADVARY                                    30 EVANS RD                                                                                   CHARLEROI          PA    15022‐3450
GEORGE SALIBA CUST MICHAEL G SALIBA UGMA PA       311 EAST 92ND STREET APT 4W                                                                   NEW YORK           NY    10128‐5455

GEORGE SAMPAR & MARY ANN K SAMPAR TOD SUBJECT 18516 BONNIE LANE                                                                                 STRONGSVILLE       OH    44136‐4222
TO STA TOD RULES
GEORGE SANKY & BERTHA A SANKY JT TEN          27 FOREST VIEW DR                                                                                 NORTH              RI    02904‐3030
                                                                                                                                                PROVIDENCE
GEORGE SATTERFIELD                                2048 E HURD                                                                                   MONROE             MI    48162‐9353
GEORGE SATTERTHWAITE JR                           39 WEST AVE                                                                                   OLD BRIDGE         NJ    08857‐3823
GEORGE SAULNIER & MRS ELIZABETH SAULNIER JT TEN   7 GARDNER CIR                                                                                 LONDONDERRY        NH    03053‐3382

GEORGE SAVVA                                     57 COLONIAL ST                                                                                 HARTFORD           CT    06106‐3304
GEORGE SCHALK JR CUST GEORGE SCHALK III UNDER WI 7926 S 66TH ST                                                                                 FRANKLIN           WI    53132‐9281
TO MINORS ACT
GEORGE SCHEIPNER                                 4416 BOULDER                                                                                   STERLING HEIGHTS   MI    48310‐3121

GEORGE SCHMIDT                                    1029 OAKDALE DRIVE                                                                            MANSFIELD          OH    44905‐1649
GEORGE SCHMIDT TR GEORGE W SCHMIDT JR LIVING      W11135 LAKEVIEW DR                                                                            MERRIMAC           WI    53561‐9618
TRUSTUA 10/08/98
GEORGE SCHOBER                                    344 WARREN AVENUE                                                                             CINCINNATI         OH    45220‐1135
GEORGE SCHOLLIAN JR                               8943 ISHERWOOD LN                                                                             KNOXVILLE          TN    37922‐8511
GEORGE SCHWIND                                    1700 S SURF ROAD                                                                              HOLLYWOOD          FL    33019‐2448
GEORGE SCOTCH                                     2633 WAKEFIELD DR                                                                             BELMONT            CA    94002‐2931
GEORGE SCOTT                                      105 CHADWICK DR                                                                               ROCHESTER          NY    14618‐4441
GEORGE SCURRY JR                                  19957 BENTLER                                                                                 DETROIT            MI    48219‐1322
GEORGE SEBAK                                      103 BARRY LANE                                                                                NORTHFIELD         OH    44067‐2747
GEORGE SENWOO CHING & ROSALINE J CHING JT TEN     415 WATERBURY CIR                                                                             CINCINNATI         OH    45231‐2729

GEORGE SHACK                                    20022 GRIGGS ST                                                                                 DETROIT            MI    48221‐1063
GEORGE SHANKLE                                  67 N HURON AVE                                                                                  COLUMBUS           OH    43204‐2662
GEORGE SHAVER                                   11260 COUNTY RD 4                                                                               SWANTON            OH    43558‐9507
GEORGE SHEMKO JR                                22622 CHIPPEWA                                                                                  DETROIT            MI    48219‐1178
GEORGE SHERROD                                  453 RIDGEWOOD AVE                                                                               FAIRFIELD          AL    35064‐1745
GEORGE SHEWCHUK                                 200 KIDD CASTLE WAY                    # 141                                                    WEBSTER            NY    14580‐1968
GEORGE SIKORSKY                                 2 ROCKINGHAM RD                                                                                 SPRING VALLEY      NY    10977‐1114
GEORGE SKUDRE                                   3386 DEVONWOOD HILLS APT B                                                                      GRAND RAPIDS       MI    49525‐6826
GEORGE SMALLOWITZ & MRS ROSALYN SMALLOWITZ JT 40 CUTTERMILL RD                         STE 305                                                  GREAT NECK         NY    11021‐3213
TEN
GEORGE SMITH                                    1975 BROOKSIDE BLVD                    WINNIPEG MB                            R3C 2E6 CANADA
GEORGE SMITH                                    3824 HIGH POINT DR                                                                              HEPHZIBAH          GA    30815
GEORGE SMITH                                    19162 MONTROSE                                                                                  DETROIT            MI    48235‐2309
GEORGE SMITH TR GEORGE & FLORIDA M SMITH FAMILY 2805 VIA AVANTI ST                                                                              HENDERSON          NV    89074‐1419
TRUST UA 6/27/97
GEORGE SNODGRASS CUST RICHARD F SNODGRASS       PO BOX 2413                                                                                     EDINBURG           TX    78540‐2413
UGMA TX
GEORGE SOFOS                                    5117 FAIT AVE                                                                                   BALTO              MD    21224‐4601
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GEORGE SOLNICK                                278 RIDGEVIEW DR                                                                                SEVEN HILLS      OH    44131‐5618
GEORGE SOLOMON & MAE L SOLOMON JT TEN         6230 WILLOWDALE CT                                                                              BURTON           MI    48509‐2603
GEORGE SOLOVAY & MRS DOROTHY M SOLOVAY JT TEN 709 WOOD AVE                                                                                    EDISON           NJ    08820‐1929

GEORGE SPARACINO & MARY SPARACINO JT TEN       1973 OAKDALE                                                                                   WARREN           OH    44485‐1435
GEORGE SPENCER LUCAS                           PO BOX 3154                                                                                    PINEHURST        NC    28374‐3154
GEORGE STECHEL TR REVOCABLE TRUST AGMT FBO     100 LAKESHORE DR APT 954                                                                       NORTH PALM BCH   FL    33408‐3655
GEORGE STECHEL UA 11/22/00
GEORGE STEEVES JR                              3082 EXETER DRIVE                                                                              MILFORD          MI    48380‐3237
GEORGE STENCEL JR                              303 MCMILLAN RD                                                                                GROSSE POINTE    MI    48236‐3417
GEORGE STEPHEN ARGIRIS                         2208 EUCALYPTUS AVE                                                                            ESCONDIDO        CA    92029‐5548
GEORGE STOCKBURGER IV & NANCY J STOCKBURGER JT 8 TEMPLE DR                                                                                    RICHBORO         PA    18954‐1932
TEN
GEORGE STOCKBURGER V                           393 STOOPVILLE ROAD                                                                            NEWTOWN          PA    18940‐9212
GEORGE STRATOUDAKES & GEORGIA STRATOUDAKES JT 789 TERESITA BLVD                                                                               SAN FRANCISCO    CA    94127‐2366
TEN
GEORGE STUART THOMPSON                         14650 CLAYTON ROAD                                                                             BALLWIN          MO    63011‐2657
GEORGE STYLE & BARBARA A STYLE JT TEN          5 RIDGE RD                                                                                     COLD SPG HBR     NY    11724‐1809
GEORGE SUJAK                                   3741 RENAS RD                                                                                  GLADWIN          MI    48624‐8959
GEORGE SUKEENA                                 102 LARKSPUR RD                       MEADOWOOD                                                NEWARK           DE    19711‐6820
GEORGE SULLIVAN                                3525 SILSBY RD                                                                                 UNIVERSITY HT    OH    44118‐3619
GEORGE SUSTMANN JR & MRS ROSE MARIE SUSTMANN PO BOX 268                                                                                       BLOOMING GROVE   NY    10914‐0268
JT TEN
GEORGE SWOFFORD MUSSER                         60 BROADWAY RD                                                                                 WARREN           NJ    07059‐5002
GEORGE SZPUNAR & DOLORES D SZPUNAR JT TEN      26730 HASS                                                                                     DEARBORN HEIGHTS MI    48127‐3932

GEORGE T ALEXANDER                              3551 TYLERSVILLE RD                  LOT 6                                                    HAMILTON         OH    45011‐5570
GEORGE T BIITTNER & LINDA BIITTNER JT TEN       16550 W DESERT LN                                                                             SURPRISE         AZ    85388‐1151
GEORGE T BRIERLEY                               87 HIGH RD                                                                                    KENSINGTON       CT    06037‐1235
GEORGE T BRUNNER & LORETTA F BRUNNER JT TEN     35 ETON ROAD                                                                                  TOMS RIVER       NJ    08757‐4354

GEORGE T CALLAHAN & LUCILLE G CALLAHAN JT TEN   2084 JEFFREY LANE                                                                             ELGIN            IL    60123‐5721

GEORGE T CANAVAN                              47 WELLINGTON LANE                                                                              DUXBURY          MA    02332‐4251
GEORGE T CARPENTER CUST GEORGE EDWARD         290 NORTHFIELD RD                                                                               LITCHFIELD       CT    06759‐3715
CARPENTER UGMA CT
GEORGE T CHARBONNEAU & THERESA P CHARBONNEAU 1130 MACKINAW RD                                                                                 LINWOOD          MI    48634‐9457
JT TEN
GEORGE T CLEMENCE & FRANCES R CLEMENCE JT TEN 6 SHADOW LN                                                                                     AMHERST          NH    03031‐2524

GEORGE T COCHRAN                                 10518 STORMHAVEN WAY                                                                         INDIANAPOLIS     IN    46256‐9558
GEORGE T COX                                     811 SHADOWLAWN AVE                                                                           GREENCASTLE      IN    46135‐1363
GEORGE T CRAWFORD                                PO BOX 1445                                                                                  BARBOURVILLE     KY    40906‐5445
GEORGE T DAILY                                   2741 S BENHAM RD                                                                             VERSAILLES       IN    47042‐8416
GEORGE T DAUGHTRY                                705 LEES MILL ROAD                                                                           FAYETTEVILLE     GA    30214‐3519
GEORGE T DE LONG                                 6064 TORRINGTON DRIVE                                                                        RENO             NV    89511‐8518
GEORGE T DE PLAUNTY                              3756 CEDAR LOOP                                                                              CLARKSTON        MI    48348‐1328
GEORGE T DELLI‐SANT III CUST JACK EDWARD DELLI‐  397 NORTHRIDGE DRIVE                                                                         SCOTTS VALLEY    CA    95066‐2676
SANT UTMA CA
GEORGE T DEVERTER                                3632 EDGEMONT DR                                                                             TROY             MI    48084‐1439
GEORGE T DICK                                    BOX 1906                            HC 79                                                    PITTSBURG        MO    65724‐9734
GEORGE T DUEFRENE                                4493 CYPRESS CREEK DR                                                                        PRINCE GEORGE    VA    23875‐2530
GEORGE T DUFFY                                   189 WEST WYOMING AVENUE APT 24                                                               MELROSE          MA    02176
GEORGE T ENGLISH                                 4126 ASHMORE ROAD                                                                            COLUMBUS         OH    43220‐4610
GEORGE T ENGLISH TOD JAMES H COSS SUBJECT TO STA 4126 ASHMORE ROAD                                                                            COLUMBUS         OH    43220‐4610
TOD RULES
GEORGE T ESHERICK                                8224 BURNING TREE ROAD                                                                       BETHESDA         MD    20817‐2906
GEORGE T ESHERICK CUST ANDREW CLINTON ESHERICK 214 INDIAN SPRINGS DR                                                                          SILVER SPRING    MD    20901‐3114
UTMA MD
                                             09-50026-mg                   Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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GEORGE T ESSY JR                                 6079 N VASSAR RD                                                                                  FLINT           MI    48506‐1235
GEORGE T FAGLEY TR RUTH L FAGLEY IRREVOCABLE     671 LAKESIDE CIR APT 1007                                                                         POMPANO BEACH   FL    33060‐3716
TRUST UA 05/10/99
GEORGE T FERREE                                  64 MOUNTAIN CREEK CT                                                                              JONESBOROUGH    TN    37659‐4488
GEORGE T HEDGLEY & SHIRLEY A HEDGLEY JT TEN      21470 WINCHESTER DR                                                                               SOUTHFIELD      MI    48076‐4838
GEORGE T HENRETTY                                3968 ROBINA                                                                                       BERKLEY         MI    48072‐3432
GEORGE T HEPBURN JR                              325 GARDEN RD                                                                                     PALM BEACH      FL    33480‐3221
GEORGE T HIXSON                                  8640 DEER TRL                                                                                     KALAMAZOO       MI    49009‐6453
GEORGE T HODAKOWSKI                              30 EAST 7TH ST NE                                                                                 HINSDALE        IL    60521‐4409
GEORGE T HOLLINS II                              4176 ASPEN PL                                                                                     WEST SALEM      OH    44287‐9654
GEORGE T HOOKS & JUNE L HOOKS JT TEN             5122 SUMMERELL AVE                                                                                GASTONIA        NC    28056‐8582
GEORGE T HOUDE                                   181 BOSTON POST RD E                     LOT 17                                                   MARLBOROUGH     MA    01752‐3522
GEORGE T JACOB & MRS EDNA S JACOB JT TEN         7040 NORTH 1ST AVE                                                                                TUCSON          AZ    85718‐1006
GEORGE T KENNEDY & MICHELLE L SODERBERG JT TEN   9820 E SHORE DR                                                                                   WILLIS          TX    77318‐6632

GEORGE T KENNEY                                  8900 OAK LN                                                                                       FORT WASHINGTON MD    20744‐4854

GEORGE T KING                                    4203 CLOUGH LN                                                                                    CINCINNATI      OH    45245‐1710
GEORGE T KITCHEN                                 43310 VISTA SIERRA DRIV                                                                           LANCASTER       CA    93536‐6614
GEORGE T KLINE                                   715 LAYTON RD                                                                                     ANDERSON        IN    46011‐1523
GEORGE T KREBS                                   5821 E SYLVIA                                                                                     SCOTTSDALE      AZ    85254‐4365
GEORGE T LAMBERT & MRS MARY S LAMBERT            4100 JACKSON VALLEY RD                                                                            IONE            CA    95640‐9742
COMMUNITY PROPERTY
GEORGE T LEACH                                   6226 DERBTSHIRE                                                                                   INDIANAPOLIS    IN    46227‐4742
GEORGE T LEWIS                                   11126 SOUTH PARNELL AVE                                                                           CHICAGO         IL    60628
GEORGE T LOKER JR                                5610 S SHORE DR                                                                                   WHITE HALL      MI    49461‐9439
GEORGE T LOWE                                    RT 2 BOX 223                                                                                      CLINTWOOD       VA    24228‐9642
GEORGE T MACDONALD II                            11325 EAST CLEMENTS CIR                                                                           LIVONIA         MI    48150‐3236
GEORGE T MARCH & E OPAL MARCH JT TEN             432 FLORENCE AVE                                                                                  FAIRBORN        OH    45324‐4351
GEORGE T MARCH JR                                432 FLORENCE AVE                                                                                  FAIRBORN        OH    45324‐4351
GEORGE T MELTON                                  214 ODELL                                                                                         CLEBURNE        TX    76033‐7300
GEORGE T MICHAELS                                132 MAIN STREET                                                                                   CHESTER         NY    10918‐1325
GEORGE T MIHALOW                                 50 CATHEY LN                                                                                      BURLINGTON      NJ    08016‐9720
GEORGE T MITCHELL                                2516 MAPLEWOOD ST                                                                                 SAGINAW         MI    48601‐3940
GEORGE T MITCHELL & MRS LOIS K MITCHELL JT TEN   BOX 861                                                                                           ABINGDON        VA    24212‐0861

GEORGE T MIZE                               795 SULPHUR HOLLOW RD                                                                                  TAZEWELL        TN    37879‐5186
GEORGE T MOODY                              213 FALLS BROOK RD                                                                                     BRISTOL         CT    06010‐2663
GEORGE T MOORMAN & FRANCES W MOORMAN JT TEN 11412 DEERING RD                                                                                       LOUISVILLE      KY    40272‐4360

GEORGE T MULLANEY                                448 EVERGREEN DR                                                                                  LOCKPORT        NY    14094‐9175
GEORGE T MURPHY CUST JANE MURPHY U/THE NEW       BOX 6025                                 PEACE RIVER AB                         T8S 1S1 CANADA
YORK U‐G‐M‐A
GEORGE T MYERS TR UA 11/17/06 GEORGE T MYERS     202 GROVE BLVD                                                                                    FREDERICK       MD    21701
REVOCABLE TRUST
GEORGE T PASLEY                                  44 AFTON STREET                                                                                   ROCHESTER       NY    14612‐5102
GEORGE T PAWELCZYK                               2OLD TURNPIKE RD                                                                                  BRISTOL         CT    06010‐2811
GEORGE T PLUNKETT                                260 WILLIAMSBURG WAY                                                                              FAYETTEVILLE    GA    30214‐2104
GEORGE T POPOVICE                                1202 SWEENEY STREET                                                                               NO TONAWANDA    NY    14120‐4855
GEORGE T REICHARD                                9230 TERRY LN                                                                                     RIVERSIDE       CA    92503‐4335
GEORGE T RIGGS                                   2020 W FRENCHLINE RD                                                                              SANDUSKY        MI    48471‐9438
GEORGE T RUPERT & ARLENE M RUPERT JT TEN         11 DAVISON DR                                                                                     E BRUNSWICK     NJ    08816‐2372
GEORGE T SLADETZ                                 13291 LUCY LAKE LANE                                                                              MINOCQUA        WI    54548‐9659
GEORGE T SNYDER                                  PO BOX 335                                                                                        CANVAS          WV    26662‐0335
GEORGE T STRICKO                                 678 MAHAN DENMAN RD N E                                                                           BRISTOLVILLE    OH    44402‐9750
GEORGE T STRIMENOS CUST AUSTIN T STRIMENOS       14263 TRUE MOUNTAIN DR                                                                            LARKSPUR        CO    80118‐5728
UTMA CO
GEORGE T TANGALAKIS                              47595 BECKENHAM BLVD                                                                              NOVI            MI    48374‐3528
GEORGE T THORNE                                  1215 ELMIRA AVE                                                                                   DURHAM          NC    27707
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GEORGE T TROLLINGER                            1692 KEN LEE COURT                                                                               ASHEBORO           NC    27203‐7850
GEORGE T VALAORAS CUST NICHOLAS PETER VALAORAS 2631 SOUTHPOINT LN                                                                               NEW LONDON         NC    28127‐9142
UGMA NY
GEORGE T VAN BUSKIRK IV                        1518 VALIANT DR                                                                                  GREENVILLE         TN    37745‐6446
GEORGE T VANCE & MRS NORMA J VANCE JT TEN      283 DUTCH LANE                                                                                   PITTSBURGH         PA    15236‐4342
GEORGE T WHITE JR                              635 NW SAN CANDIDO WA                                                                            PORT SAINT LUCIE   FL    34986‐1741
GEORGE T WHITEMAN                              3054 E CURTIS RD                                                                                 BIRCHRUM           MI    48415‐9021
GEORGE T WILEY                                 6115 ARNSBY PLACE                                                                                CINCINNATI         OH    45227‐2901
GEORGE T WRIGHT                                3034 RATTALEE LAKE RD                                                                            HOLLY              MI    48442
GEORGE T WRIGHT                                4516 BURTON                                                                                      INKSTER            MI    48141‐2838
GEORGE T WRIGHT                                109 SAWMILL BEND                                                                                 CHARDON            OH    44024‐1447
GEORGE T YATSKO JR                             2035 MATTINGLY RD                                                                                HINCKLEY           OH    44233‐9428
GEORGE TASICH                                  1628 HIGH STREET                                                                                 CUYAHOGA FALLS     OH    44221‐4002
GEORGE TATOOLE & MRS SHIRLEY M TATOOLE JT TEN  PO BOX 146                                                                                       PALOS PARK         IL    60464‐0146

GEORGE TELEPAN                                  38 ASH TERRACE                                                                                  PARLIN           NJ      08859‐1102
GEORGE TEREK                                    401 GATEWAY BLVD                                                                                HURON            OH      44839‐1954
GEORGE TEREM                                    731 HARASEK                                                                                     LEMONT           IL      60439‐4377
GEORGE THEODORE SMELTZER                        1100 BELLOWS AVE PO BOX 142                                                                     FRANKFORT        MI      49635‐0142
GEORGE THOMAS DAVIS JR                          PO BOX 277                                                                                      SWAN QUARTER     NC      27885‐0277
GEORGE THOMAS SLATER                            11492 N 750 W                                                                                   ELWOOD           IN      46036‐9026
GEORGE THOMPSON                                 4345 GLENCAIRN LN                                                                               INDIANAPOLIS     IN      46226‐3054
GEORGE THORNTON                                 5028 BELLCREEK LN                                                                               DAYTON           OH      45426‐4713
GEORGE THURBER SCOTT JR                         13 SEDGE FERN DR                                                                                HILTON HEAD      SC      29926‐2791
GEORGE TIMOFIUK                                 26682 SIMONE                                                                                    DEARBORN HEIGHTS MI      48127‐3338

GEORGE TOLLIVER                                 1813 BARKINS AVE                                                                                ORANGE             TX    77630‐2339
GEORGE TOMSKY                                   45 TIMBERWICK DR                                                                                FLEMINGTON         NJ    08822‐5518
GEORGE TOUMAZOS                                 50 W 9TH ST                                                                                     NEWTON FALLS       OH    44444‐1552
GEORGE TRUSTY                                   1905 AISQUITH ST                                                                                BALTIMORE          MD    21218‐6318
GEORGE TUCKER                                   PO BOX 1416                                                                                     LEWISBURG          WV    24901‐4416
GEORGE TUHACEK                                  3394 31ST ST SW                                                                                 GRANDVILLE         MI    49418‐1486
GEORGE TURNER                                   401 PROSPECT                                                                                    LIMA               OH    45804‐1453
GEORGE TURNER                                   19330 FLEMING AVENUE                                                                            DETROIT            MI    48234‐1315
GEORGE V BRUNDAGE                               3890 KELLER RD                                                                                  HOLT               MI    48842
GEORGE V ELLISON                                44 DEVILLE DR                                                                                   DEFIANCE           OH    43512‐3706
GEORGE V FIELDS                                 2092 CULBREATH RD                                                                               BROOKSVILLE        FL    34602‐6121
GEORGE V GIBSON                                 2467 N AINGER RD                                                                                CHARLOTTE          MI    48813‐8848
GEORGE V HILDERBRANDT                           9310 SE 164TH PL                                                                                SUMMERFIELD        FL    34491‐5896
GEORGE V HOWELL                                 7764 MEADOW VIEW CIR                                                                            UNION              MO    63084‐2430
GEORGE V HUGHES TR GEORGE V HUGHES TRUST UA     C/O VINCENT HUGHES                     7 YORKTOWN CT                                            PRINCETON JCT      NJ    08550‐1511
4/18/95
GEORGE V KELLER 3RD                             843 E MEADOW LARK ST                                                                            SPRINGFIELD        MO    65810‐2955
GEORGE V KONDAS                                 1880 PAISLEY ST                                                                                 AUSTINTOWN         OH    44511‐1051
GEORGE V KRYSA                                  826 SCHOOL ST                                                                                   CLAWSON            MI    48017‐1278
GEORGE V LABOON & NANNIE JOY LABOON JT TEN      1016 GORDON DRIVE S E                                                                           DECATUR            AL    35601‐3216
GEORGE V LETSCH                                 5 MADISON AVENUE                                                                                AVENEL             NJ    07001‐1418
GEORGE V MCGREW                                 RTE 1 BOX 66                                                                                    SENATH             MO    63876‐9701
GEORGE V NELSON                                 2006 WALSH DR                                                                                   WESTMINSTER        MD    21157‐3474
GEORGE V PALERMO & SALLY ANN PALERMO JT TEN     8 BRIELLE RD                                                                                    N GRAFTON          MA    01536‐1167

GEORGE V PARKER TR PARKER RESIDUAL TRUST UA     6904 DAISY LN                                                                                   CITRUS HGTS        CA    95621‐8315
10/13/92
GEORGE V SCHABOWSKI JR                          227 CLARK ST                                                                                    WESTVILLE          IL    61883‐1307
GEORGE V SHAFFER                                PO BOX 487                                                                                      WOODSTOCK          VA    22664‐0487
GEORGE V STAUFFER                               7818 PINES RD                                                                                   SHREEVEPORT        LA    71129‐4402
GEORGE V THEODORE                               135 WEAVERVILLE RD                                                                              DOYLESTOWN         OH    44230‐9605
GEORGE VASQUEZ                                  6010 S MOODY                                                                                    CHICAGO            IL    60638‐4310
GEORGE VASS                                     7927 DAVIS ST                                                                                   MORTON GROVE       IL    60053‐1822
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GEORGE VASSILIADES & ALICE VASSILIADES JT TEN     7 COURTNEY LANE                                                                                  COLONIA            NJ    07067‐2120
GEORGE VENETTIS                                   14459 MERCI LANE                                                                                 STERLING HEIGHTS   MI    48313‐5629

GEORGE VILLEGAS JR                                1483 MT PALOMAR DR                                                                               SAN JOSE           CA    95127‐4724
GEORGE VOROBEL & MRS MARY ANN VOROBEL JT TEN      5110 N W 48 AVENUE                                                                               COCONUT CREEK      FL    33073‐4905

GEORGE VUCKOVICH                                  129 SIMILO DR                                                                                    ELIZABETH          PA    15037‐1847
GEORGE W ABRAHAM & MRS PAULETTE A ABRAHAM JT      4143 BARTON DR                                                                                   LANSING            MI    48917‐1609
TEN
GEORGE W ADAMS                                    11868 CURWOOD DR                                                                                 GRAND BLANC        MI    48439‐1158
GEORGE W ADAMS & DOLORES ADAMS JT TEN             S‐4828 LAKE SHORE RD                                                                             HAMBURG            NY    14075‐5550
GEORGE W AINSCOW & ELIZABETH C AINSCOW TR UA      1508 VERMEER DR                                                                                  NOKOMIS            FL    34275‐4472
10/01/92 AINSCOW TRUST
GEORGE W ALLEN                                    PO BOX 27                                                                                        BOWLING GREEN    FL      33834‐0027
GEORGE W AMERMAN JR                               PO BOX 606                                                                                       NESHANIC STATION NJ      08853‐0606

GEORGE W ANDERSON                                 731 ELEANOR AVE                                                                                  DAYTON         OH        45408‐1226
GEORGE W BABCOCK                                  2712 N WEST RIVER DR                                                                             JANESVILLE     WI        53545‐8334
GEORGE W BAER JR                                  4051 MCCLURE EAST RD                                                                             NEWTON FALLS   OH        44444‐9722
GEORGE W BAILEY JR                                213 SOUTH ST                                                                                     CAMDEN WYOMING DE        19934‐1322

GEORGE W BALLANTYNE JR                            163 FIRESIDE LANE                                                                                HOLDEN             MA    01520
GEORGE W BARNETT                                  16528 WESTMORELAND RD                                                                            DETROIT            MI    48219‐4041
GEORGE W BEAN III                                 2016 WINDSOR PL                                                                                  FORT WORTH         TX    76110‐1758
GEORGE W BECK II & MARIAN BECK EDWARDS &          PO BOX 2071                                                                                      GRAPEVINE          TX    76099‐2071
GEORGE W BECK IV JT TEN
GEORGE W BELL                                     1951 S ELECTRIC ST                                                                               DETROIT            MI    48217‐1180
GEORGE W BIEBER & NICOLE BIEBER JT TEN            674 LAVA FALLS DRIVE                                                                             LAS VEGAS          NV    89110‐4005
GEORGE W BLASEN                                   5095 WABASH CT NE                                                                                GRAND RAPIDS       MI    49525‐1143
GEORGE W BOATRIGHT                                1601 PINELOG RD                                                                                  AIKEN              SC    29803‐5722
GEORGE W BOLLENBACH                               239 E UPLAND AVE                                                                                 GALLOWAY           NJ    08205‐9530
GEORGE W BOWLING                                  14980 MANOR RIDGE DR                                                                             CHESTERFIELD       MO    63017‐7712
GEORGE W BOWMAN & MRS MARY ANN BOWMAN JT          9174 GILLMAN                                                                                     LIVONIA            MI    48150‐4147
TEN
GEORGE W BREWER                                   620 S 1ST                                                                                        VAN BUREN        IN      46991‐9701
GEORGE W BRIGGS                                   7932 PHLOX ST                                                                                    DOWNEY           CA      90241‐4506
GEORGE W BRINKMAN JR                              598 DEAN RD                                                                                      TEMPERANCE       MI      48182
GEORGE W BUNCE                                    203 HAZELTON RD                                                                                  OWOSSO           MI      48867‐9027
GEORGE W CARMINER                                 5844 DUTTON AVE                                                                                  BATON ROUGE      LA      70805‐2309
GEORGE W CARTELL                                  4786 ROCKY RIVER DRIVE                                                                           CLEVELAND        OH      44135‐3262
GEORGE W CHRISTMANN JR                            5900 BABCOCK BLVD                       APT 24                                                   PITTSBURGH       PA      15237‐2554
GEORGE W CLARK                                    1311 LAKE PARK                                                                                   BIRMINGHAM       MI      48009‐1089
GEORGE W CLARKE JR                                85263 CLAXTON ROAD                                                                               YULEE            FL      32097
GEORGE W CLARKSON                                 2924 E CROSS ST                                                                                  ANDERSON         IN      46012‐9597
GEORGE W CLAYBORN                                 PO BOX 4                                730 E 500S                                               BLANDING         UT      84511
GEORGE W COLE & VIVIAN E COLE JT TEN              7073 ROSEMARY                                                                                    DEARBORN HEIGHTS MI      48127‐4608

GEORGE W COLEMAN                                  PO BOX 187                                                                                       CLIO               MI    48420‐0187
GEORGE W COLLINS                                  2402 DAUGHERTY LANE                                                                              CHATTANOOGA        TN    37421‐1309
GEORGE W COLLINS & SANDRA S COLLINS JT TEN        2402 DAUGHERTY LANE                                                                              CHATTANOOGA        TN    37421‐1309
GEORGE W COLTON                                   718 DEARBORN AVE                                                                                 DAYTON             OH    45408‐1266
GEORGE W COOKUS                                   185 JACOBS ROAD                                                                                  MARTINSBURG        WV    25401‐0340
GEORGE W COTTON                                   58 PEACHTREE MEMORIAL DR 2                                                                       ATLANTA            GA    30309‐1068
GEORGE W CRATER JR                                15 GALLANT LANE                                                                                  WILLINGBORO        NJ    08046‐3327
GEORGE W CROLL                                    PO BOX 142                                                                                       NORTH STREET       MI    48049‐0142
GEORGE W CROW JR & SHIRLEY J CROW JT TEN          6202 S ELMS ROAD                                                                                 SWART CREEK        MI    48473‐9400
GEORGE W CRUM                                     2805 HAMMAN DR                                                                                   YOUNGSTOWN         OH    44511‐1829
GEORGE W CURRY & MARTHA J CURRY JT TEN            201 CARTER                                                                                       TROY               MI    48098‐4656
GEORGE W DAVIDSON JR                              850 DOBBIN DR                                                                                    KALAMAZOO          MI    49006‐5508
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GEORGE W DAVIDSON JR & DOLORES E DAVIDSON JT      850 DOBBIN DR                                                                                  KALAMAZOO         MI    49006‐5508
TEN
GEORGE W DAVIS                                    PO BOX 60221                                                                                   DAYTON            OH    45406‐0221
GEORGE W DAVIS & MRS JEAN M DAVIS JT TEN          6551 FINCHLEY DR                                                                               INDPLS            IN    46250‐2827
GEORGE W DIPKA TR GEORGE W DIPKA TRUST UA         6190 SILVER BEACH RD                                                                           CHEBOYGAN         MI    49721‐9049
2/22/99
GEORGE W DOHERTY                                  PO BOX 786                                                                                     LARAMIE           WY    82073‐0786
GEORGE W DUNN                                     15 COVEY LN                                                                                    COVINGTON         GA    30016‐7513
GEORGE W DURKEE & HONOR L DURKEE JT TEN           218 ASHTON COURT                                                                               CLIFTON SPRINGS   NY    14432‐9783
GEORGE W DUVALL                                   161 MABEL LANE                                                                                 SEVERNA PARK      MD    21146‐1123
GEORGE W DYBALL                                   2462 CRANEWOOD DR                                                                              FENTON            MI    48430‐1049
GEORGE W EASH JR                                  2300 AUTUMN CREEK PATH                                                                         VALLEY CITY       OH    44280‐9431
GEORGE W EICHMAN                                  10 TROPICANA DR                                                                                PUNTA GORDA       FL    33950‐5049
GEORGE W ELBON & CREOLA N ELBON JT TEN            3721 HOLLY GROVE RD                                                                            BALTIMORE         MD    21220‐3040
GEORGE W ELLIOTT & JOSEPHINE ELLIOTT JT TEN       BOX 475                                                                                        EARLETON          FL    32631‐0475
GEORGE W EVANS JR                                 1612 MYER AVENUE                                                                               MCKEESPORT        PA    15133‐3338
GEORGE W EVERETT & MRS EDITH H EVERETT JT TEN     267 PINEWOOD CIRCLE                                                                            GULFPORT          MS    39507‐1909

GEORGE W FISHER                                   BOX 36                                                                                         MT PLEASANT       NC    28124‐0036
GEORGE W FOSTER                                   1406 W VAN TREES ST                                                                            WASHINGTON        IN    47501‐2310
GEORGE W FOWLSTON                                 101 AIRLIE COURT                                                                               CARY              NC    27513
GEORGE W FRIEND                                   130 REDBUD CIRCLE                                                                              ANDERSON          IN    46013‐1035
GEORGE W FRYE & GENEVIEVE E FRYE JT TEN           126 CREST ST                          SPEERS HILL                                              CHARLEROI         PA    15022‐1009
GEORGE W FULP                                     1017 SHADY REST RD                                                                             MCMINNVILLE       TN    37110‐4866
GEORGE W G STONER                                 2475 VIRGINIA AVE NW #821                                                                      WASHINGTON        DC    20037‐2639
GEORGE W GAINES                                   5400 WABASH AVE                                                                                BALTIMORE         MD    21215‐4811
GEORGE W GEARHART & MARLA B GEARHART JT TEN       4 ROCKCLIFF RD                                                                                 MARBLEHEAD        MA    01945

GEORGE W GEARHART TR W & L GEARHART TRUST UA      1200 MIRAMAR AVE                      APT 111                                                  MEDFORD           OR    97504‐8560
7/18/90
GEORGE W GEESLIN                                  PO BOX 248                                                                                     XENIA             OH    45385‐0248
GEORGE W GENTRY                                   4022 HIGHWAY 53 N                                                                              OKOLONA           AR    71962‐9645
GEORGE W GILCHRIST & MARIE GILCHRIST JT TEN       265 NO ELM ST                                                                                  NO MASSAPEQUA     NY    11758‐2524
GEORGE W GILES III                                52 LONGVIEW DRIVE                                                                              CANONSBURG        PA    15317
GEORGE W GILLEMOT TR UA 12/14/84 GEORGE W         4814 OLD US 395                                                                                FRANKTOWN         NV    89704
GILLEMOT FAMILY TRUST
GEORGE W GLOSTER JR                               53645 LAMBETH CT                                                                               SHELBY TOWNSHIP   MI    48316‐2136

GEORGE W GOLDBERG                                 6109 RICHMOND ROAD                                                                             WEST MILFORD      NJ    07480‐5117
GEORGE W GRAMER                                   307 GOLDFINCH DR                                                                               BRIDGEWATER       NJ    08807‐1107
GEORGE W GRAMER & ESTHER GRAMER JT TEN            307 GOLDFINCH DR                                                                               BRIDGEWATER       NJ    08807‐1107
GEORGE W GRAPES & DOROTHY J GRAPES JT TEN         4636 ALABAMA RD                                                                                MEDINA            NY    14103‐9751
GEORGE W GREEN                                    3421 DETROIT ST                                                                                DEARBORN          MI    48124‐4169
GEORGE W GREENE & DOROTHY J GREENE JT TEN         4289 E MERCER WAY                                                                              MERCER ISLAND     WA    98040‐3823
GEORGE W GRIFFITH                                 300 BARTON SHORE DRIVE                                                                         ANN ARBOR         MI    48105‐1026
GEORGE W GRIFFITH CUST CHARLES MICHAEL GRIFFITH   15 NORWOOD AVENUE                                                                              MONTCLAIR         NJ    07043‐1921
UGMA MI
GEORGE W GROW                                     340 WINDSOR CT                                                                                 W CARROLLTON      OH    45449‐2048
GEORGE W HAMMITT                                  4316 PARK FOREST                                                                               FLINT             MI    48507‐2269
GEORGE W HARNICHAR                                5170 SABRINA LANE N W                                                                          WARREN            OH    44483‐1278
GEORGE W HART                                     61 TURKEY CREEK RD                                                                             CARNESVILLE       GA    30521‐3649
GEORGE W HAZELBAKER                               7633 WASHINGTON PK DR                                                                          DAYTON            OH    45459‐3620
GEORGE W HEATHMAN                                 2315 N W RAMSEY DR                                                                             PORTLAND          OR    97229‐4206
GEORGE W HENNESSY                                 LAUREL OAK ESTATES                    3267 DICK WILSON DR                                      SARASOTA          FL    34240‐8739
GEORGE W HENNINGS                                 2033 E COUNTY LINE RD                                                                          MINERAL RIDGE     OH    44440‐9595
GEORGE W HERRICK                                  5532 RT 21                                                                                     ALFRED STATION    NY    14803‐9728
GEORGE W HILL                                     1610 PINGREE AVE                                                                               LINCOLN PARK      MI    48146‐2147
GEORGE W HITCHENS                                 120 DUNBARTON DR                      HIGHLAND WEST                                            WILMINGTON        DE    19808‐1356
GEORGE W HOLLIBAUGH                               229 COLLEGE PARK DR                                                                            MONROEVILLE       PA    15146‐1531
                                            09-50026-mg                    Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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GEORGE W HOPE                                     10 MARILYN TERRACE                                                                               MILLVILLE       NJ    08332
GEORGE W HOPKINS                                  17579 SWEET BRIAR ROAD                                                                           LEWES           DE    19958‐3939
GEORGE W HORNER                                   2712 N VAN BUREN                                                                                 BAY CITY        MI    48708‐5449
GEORGE W HOWES                                    7188 NICKETT DRIVE                                                                               N TONAWANDA     NY    14120‐1441
GEORGE W HUTTON                                   25871 CURIE                                                                                      WARREN          MI    48091‐3831
GEORGE W IDE                                      35100 EASTERLING RD                                                                              DADE CITY       FL    33525‐8172
GEORGE W INGRAM                                   125 LAKE DR                                                                                      FAYETTEVILLE    GA    30215‐2142
GEORGE W IVINS & JEANNE A IVINS JT TEN            141 W PATRICIA RD                                                                                HOLLAND         PA    18966‐1828
GEORGE W JACKSON JR                               7223 S RIDGELAND                                                                                 CHICAGO         IL    60649‐2808
GEORGE W JAMISON III                              211 WINDRIDGE PARKWAY                                                                            HARDY           VA    24101‐3319
GEORGE W JOHNSON                                  1331 STAFFORD AVE                                                                                BRISTOL         CT    06010‐2871
GEORGE W JOHNSTON                                 6203 WESTLAKE AVE                                                                                PARMA           OH    44129‐2353
GEORGE W JOHNSTON & MRS M JANE JOHNSTON JT        10 INDEPENDENCE DRIVE                                                                            WHIPPANY        NJ    07981‐2219
TEN
GEORGE W JONES                                    6220 PARKVIEW                                                                                    KANSAS CITY     KS    66104‐1449
GEORGE W JONES III                                1408 CONNELL ROAD                                                                                CHARLESTON      WV    25314‐1924
GEORGE W KANARR II                                2410 LAKE BRANDT PL                     APT T                                                    GREENSBORO      NC    27455‐2086
GEORGE W KING                                     5455 SEVERENCE RD                                                                                CASS CITY       MI    48726‐9399
GEORGE W KINGSTON III                             584 BOUTELL DR                                                                                   GRAND BLANC     MI    48439‐1534
GEORGE W KITCHEN                                  187 N WATERWAY DR                                                                                FORT CHERLOTT   FL    33952‐7946
GEORGE W KOCH JR                                  527 CO ROAD 2302 R 1                                                                             LOUDONVILLE     OH    44842‐9316
GEORGE W KOSTECKI                                 286 GETTYBURG WAY                                                                                LINCOLN PARK    NJ    07035‐1833
GEORGE W KROENER                                  RFD 6‐A 7 EAST POND RD                                                                           NARRAGANSETT    RI    02882
GEORGE W KUKULECH                                                                                                                                  NEW BERLIN      NY    13411
GEORGE W LACOUTURE                                117 MT PLEASANT STREET                                                                           MARLBORO        MA    01752‐5103
GEORGE W LAINHART                                 11362 N IOWA AV                                                                                  ALEXANDRIA      IN    46001‐8148
GEORGE W LAURENDEAU                               10 WHITNEY ST                                                                                    BURLINGTON      MA    01803‐1028
GEORGE W LAWSON & EILEEN M LAWSON JT TEN          11941 TOWN LINE RD                                                                               GRAND BLANC     MI    48439‐1628
GEORGE W LEWIS & ANN GEFFEN JT TEN                2814 28TH ST N W                                                                                 WASHINGTON      DC    20008‐4110
GEORGE W LIEBER & TEESHA M LIEBER JT TEN          5746 ISLAND DRIVE                                                                                GOODRICH        MI    48438‐9614
GEORGE W LINDSAY JR                               121 COLUMBUS DR                                                                                  SAVANNAH        GA    31405‐4103
GEORGE W LINIMAN CUST COURTNEY LEE HUEBNER        3723 GAIRLOCK DR                                                                                 COLUMBUS        OH    43228‐3716
UTMA OH
GEORGE W LOWE JR                                  26 N SEEBERT ST                                                                                  CARY            IL    60013‐2032
GEORGE W LUKOVSKY & ELIZABETH L LUKOVSKY JT TEN   5620 HUNTINGTON ST                                                                               DULUTH          MN    55807‐1353

GEORGE W LYONS                                    ATTN JEAN L BANFF                       168 POINTERS‐AUBURN RD                                   PEDRICKTOWN     NJ    08067‐3020
GEORGE W MACK                                     915 W LENAWEE                                                                                    LANSING         MI    48915‐1654
GEORGE W MADDRELL & VIRGINIA S MADDRELL JT TEN    320 CEDARWOOD DRIVE                                                                              FLUSHING        MI    48433‐1873

GEORGE W MAHER                                  3210 GREENWOOD LN                                                                                  GODFREY         IL    62035‐1815
GEORGE W MANIA                                  617 CHERRY ST                                                                                      TRENTON         NJ    08638‐3318
GEORGE W MARCH                                  365 APPLE BLOSSOM DR                                                                               OTISVILLE       MI    48463‐9614
GEORGE W MARCUS                                 4750 BUFORD HWY                                                                                    NORCROSS        GA    30071‐2730
GEORGE W MARVEL                                 27305 DOGWOOD LN                                                                                   MILLSBORO       DE    19966‐1666
GEORGE W MASON                                  519 MAPLE ST                                                                                       CINT            OH    45216‐2129
GEORGE W MAXWELL JR & PATRICIA T MAXWELL JT TEN 229 HUNTERS RIDGE WAY                                                                              MAGNOLIA        DE    19962‐1544

GEORGE W MAY JR                               ROUTE 590                                   BOX 500                                                  HAMLIN          PA    18427
GEORGE W MC CLURE & DEBORAH M MC CLURE JT TEN 15 HEMLOCK AVE                                                                                       KINGSTON        NY    12401‐4013

GEORGE W MC DOWELL                                2691 NEW RD.                            REAR                                                     RANSOMVILLE     NY    14131
GEORGE W MCALPINE                                 6460 WAYWIND DR                                                                                  TROTWOOD        OH    45426‐1114
GEORGE W MCCAGG JR & MIRIAM C MCCAGG JT TEN       15201 OLIVE 490                                                                                  CHESTERFIELD    MO    63017‐1819

GEORGE W MCCANTS                                  PO BOX 93302                                                                                     ATLANTA         GA    30377‐0302
GEORGE W MCCLOUD                                  3633 S YORK HWY                                                                                  JAMESTOWN       TN    38556‐5338
GEORGE W MCGURK                                   236 PINE HURST RD                                                                                MUNROE FALLS    OH    44262‐1134
GEORGE W MCKINNEY                                 PO BOX 118                                                                                       GEORGETOWN      IL    61846‐0118
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GEORGE W MCSHERRY JR                            6142 FALKLAND DR                                                                             DAYTON          OH    45424‐3820
GEORGE W MEDVED SR TR GEORGE W MEDVED SR        14102 BLUE SKIES                                                                             LIVONIA         MI    48154‐4995
TRUST UA 03/06/03
GEORGE W MEEKER                                 527 N MASON                                                                                  SAGINAW         MI    48602‐4470
GEORGE W MITCHELL                               2000 OAKGLEN DR                                                                              AUSTIN          TX    78745‐2760
GEORGE W MITCHELL                               158 PLUMTREE RD                                                                              DEERFIELD       IL    60015‐4831
GEORGE W MOHLER SR & ROSE M MOHLER JT TEN       819 DAISY ST                                                                                 LOGANSPORT      IN    46947
GEORGE W MOORER                                 1616 E 79TH ST                                                                               CLEVELAND       OH    44103‐3454
GEORGE W MORAN JR                               1809 THORNBURY RD                                                                            BALTIMORE       MD    21209‐3638
GEORGE W MORGAN                                 336 DOYLE AVE                                                                                PROVIDENCE      RI    02906‐4202
GEORGE W MORLEY                                 4199 US 23                                                                                   OSCODA          MI    48750‐9539
GEORGE W MORRIS JR                              2906 PLYMOUTH                                                                                ROCKY RIVER     OH    44116‐3230
GEORGE W MORTE JR                               3113 ENCINO                                                                                  BAY CITY        TX    77414‐2749
GEORGE W MOSS                                   19668 MARX ST                                                                                HIGHLAND PARK   MI    48203‐1340
GEORGE W MOWAT                                  115 KNOWLES ST                      WOODSTOCK ON                           N4S 8T7 CANADA
GEORGE W MOWAT                                  115 KNOWLES DRIVE                   WOODSTOCK ON                           N4S 8T7 CANADA
GEORGE W MUCKLEROY                              8865 LUCAS AND HUNT RD                                                                       SAINT LOUIS     MO    63136‐2821
GEORGE W MULLER                                 3590 FOWLER ROAD                                                                             SPRINGFIELD     OH    45502‐9764
GEORGE W MURPHY                                 180 MAPLELAWN                                                                                BEREA           OH    44017‐2817
GEORGE W NELSON                                 5809 GLOUCESTER CT                                                                           ARLINGTON       TX    76018‐2384
GEORGE W NEWLANDS & BARBARA NEWLANDS JT TEN     1005 RAMBLEWOOD DR                                                                           O FALLON        IL    62269‐3152

GEORGE W NEWMAN & MARGARET R NEWMAN JT TEN 1781 KING HENRY DR                                                                                KISSIMMEE       FL    34744

GEORGE W NICOLETTI & JUNE E NICOLETTI JT TEN    1714 BASSETT RD                                                                              ROYAL OAK       MI    48067‐1048
GEORGE W NORWOOD                                12170 STRINGHAM CT                                                                           DETROIT         MI    48213‐3522
GEORGE W NOWATKA                                3301 HADDON RD                                                                               LOUISVILLE      KY    40241‐2711
GEORGE W NUTTER & MRS ELEANOR L NUTTER JT TEN   23816 WOODHAVEN PL                                                                           AUBURN          CA    95602‐8172

GEORGE W PAGE                                   105 HOLLY LN                                                                                 ROSCOMMON       MI    48653‐8116
GEORGE W PARKER                                 PO BOX 201                                                                                   QUITMAN         AR    72131
GEORGE W PECK                                   6885 CLINTON ST RD                                                                           BERGEN          NY    14416‐9740
GEORGE W PENA                                   1408 IMPERIAL DR                                                                             KOKOMO          IN    46902‐5618
GEORGE W PERRY & EVELYN J PERRY JT TEN          9595 NBR US 31                                                                               PENTWATER       MI    49449
GEORGE W PETRY                                  3794 MERDIN‐10 MILE RD                                                                       CINCINNATI      OH    45245‐3026
GEORGE W PHELPS                                 PO BOX 141                                                                                   KINGSLEY        IA    51028‐0141
GEORGE W PITCHER                                18 COLLEGE RD W                                                                              PRINCETON       NJ    08540‐5050
GEORGE W PROCTOR                                6610 W ANGELA CRT                                                                            DUNNELLON       FL    34433
GEORGE W PUGH                                   167 SUNSET BLVD                                                                              BATON ROUGE     LA    70808‐5073
GEORGE W QUILLEN 3RD                            9 EATON PL                                                                                   BEAR            DE    19701‐2372
GEORGE W RAGAN                                  345 MOUNTAIN VIEW LN                                                                         CLARKESVILLE    GA    30523‐1710
GEORGE W RAYNER JR                              38 PLANTATION RD NW                                                                          ADAIRSVILLE     GA    30103‐5112
GEORGE W REDMON                                 2430 LAKE RIDGE CT                                                                           LOCK PORT       IL    60441‐3951
GEORGE W REDMON & MRS VALERIE L REDMON JT TEN   2430 LAKE RIDGE COURT                                                                        LOCK PORT       IL    60441‐3951

GEORGE W REED JR                                2709 SOUTH GLEN HAVEN                                                                        HOUSTON         TX    77025‐2179
GEORGE W REICHENBACH & MRS PATRICIA M           440 HAZELWOOD                                                                                LINCOLN         NE    68510‐4320
REICHENBACH JT TEN
GEORGE W ROGERS JR                              2560 RED LION RD                                                                             BEAR            DE    19701‐2429
GEORGE W ROMER                                  PO BOX 5294                                                                                  MILFORD         CT    06460
GEORGE W ROTHERY                                112 CRAMER AVE                                                                               GREENBROOK      NJ    08812‐2202
GEORGE W RUSBRIDGE                              354 MANG AVE                                                                                 KENMORE         NY    14217‐2510
GEORGE W RUTKOWSKI                              P.O. BOX 811                                                                                 BIRMINGHAM      MI    48012
GEORGE W RYDER                                  16153 PAULING BLVD                                                                           BROOKPARK       OH    44142‐2741
GEORGE W SARGENT III                            12927 WESTELLA                                                                               HOUSTON         TX    77077‐3703
GEORGE W SCALJON & ANGELA SCALJON JT TEN        709 CONCORD PT DR                                                                            PERRYVILLE      MD    21903‐2535
GEORGE W SCHRAGE                                304 VICTORIA                                                                                 HALE            MI    48739
GEORGE W SEANOR & ANN G SEANOR JT TEN           338 ROSE LN SW                                                                               N CANTON        OH    44720‐3556
GEORGE W SHERWOOD                               6 PADDOCK RD                                                                                 EAST LYME       CT    06333‐1560
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GEORGE W SHORKEY                                16122 LONG LAKE HWY                                                                            ALPENA            MI    49707‐9126
GEORGE W SHORKEY & JANET L SHORKEY JT TEN       16122 LONG LAKE HWY                                                                            ALPENA            MI    49707‐9126
GEORGE W SIMPSON JR                             7003 BENT OAK CIRCLE                                                                           AUSTIN            TX    78749‐2301
GEORGE W SMITH TR GEORGE W SMITH DECLARATION    INDIAN RD                                                                                      SHABBONA          IL    60550
TRUST UA 04/2/82
GEORGE W SOBIERAJSKI                            69 HAZELTON RD                                                                                 YONKERS           NY    10710‐3505
GEORGE W SOMMERHALTER                           148 RIDGE RD                                                                                   CEDAR GROVE       NJ    07009‐2000
GEORGE W SPATAR                                 963 LINCOLN AVE                                                                                GIRARD            OH    44420‐1947
GEORGE W SPIERS                                 8148 AUGUST                                                                                    WESTLAND          MI    48185‐1742
GEORGE W STOUGH                                 3537 COAL FORK DR                                                                              CHARLESTON        WV    25306‐6851
GEORGE W STRAIGHT & VIOLET STRAIGHT JT TEN      220 VARSITY CIRCLE                                                                             ARLINGTON         TX    76013‐2430
GEORGE W SYDENSTRICKER                          7049 SHAWNEE DR                                                                                ROMULUS           MI    48174‐4080
GEORGE W SZOR JR                                2041 GRINDLEY PARK                                                                             DEARBORN          MI    48124‐2536
GEORGE W T LOO                                  755 MCNEILL ST                        APT B202                                                 HONOLULU          HI    96817‐4210
GEORGE W TACKER                                 4280 SPRINGBROOK DR                                                                            SWARTZ CREEK      MI    48473‐1706
GEORGE W TALIAFERRO JR                          5600 PALMICO LANE                                                                              CINCINNATI        OH    45243‐3641
GEORGE W TATE                                   5100 SHARON ROAD 1204 N                                                                        CHARLOTTE         NC    28210‐4766
GEORGE W TENNILLE                               714 OVERLOOK DR                                                                                FLAT ROCK         NC    28731‐9742
GEORGE W TOMLIN                                 1961 W 700 S                                                                                   JONESBORO         IN    46938‐9767
GEORGE W UR                                     132 HALL AVE                                                                                   MERIDEN           CT    06450‐7715
GEORGE W VITT                                   14395 PAWNEE TRAIL                                                                             MIDDLEBURG HT     OH    44130‐6629
GEORGE W VOLAND II                              8971 SOUTH 700 EAST                                                                            FAIRMOUNT         IN    46928‐9594
GEORGE W VOORHIS                                345 FERDON AVE                                                                                 PIERMONT          NY    10968‐1203
GEORGE W VUCELICH                               710 HILLBORN AVE                                                                               SWARTHMORE        PA    19081
GEORGE W WADE & LYOLA W WADE JT TEN             161 CHAPIN ST                                                                                  CANANDAIGUA       NY    14424‐1629
GEORGE W WAGGONER JR                            212 CARTER'S CREEK PIKE                                                                        COLUMBIA          TN    38401‐7254
GEORGE W WALKER                                 7441 CANAL ROAD                                                                                LOCKPORT          NY    14094‐9405
GEORGE W WALKER                                 C/O PATSY S WALKER                    5061 NAILS CREEK                                         ROCKFORD          TN    37853‐3715
GEORGE W WALLACE                                18 RIDGEFIELD DR                                                                               CHURCHVILLE       NY    14428‐9703
GEORGE W WATERS                                 323 APRIL CT                                                                                   CHARLESTOWN       IN    47111‐1812
GEORGE W WATKINS                                2471 DOVER DR                                                                                  ROCHESTER HILLS   MI    48309‐3765
GEORGE W WATSON JR                              7833 STANSBURY AVE                                                                             PANORAMA CITY     CA    91402‐5214
GEORGE W WEBB                                   125 8TH ST                                                                                     OOLITIC           IN    47451‐9747
GEORGE W WEBER                                  5085 POFF RD                                                                                   MARTINSVILLE      IN    46151‐9636
GEORGE W WEISENBACH                             1299 ALLEN DALE                                                                                SAGINAW           MI    48603‐5411
GEORGE W WHITE CUST GEORGE W WHITE II UGMA OH   17045 MUMFORD RD                                                                               BURTON            OH    44021‐9640

GEORGE W WILDER                                 1131 CUSTER AVE                                                                                ATLANTA           GA    30316‐3111
GEORGE W WILLIAMS                               9634 DORNOCH DR                                                                                SPRING            TX    77379‐4313
GEORGE W WILLIAMS                               1994 BROWNS GAP TYPK                                                                           CHARLOTTESVL      VA    22901‐6314
GEORGE W WINTERS                                PO BOX 90560                                                                                   ANCHORAGE         AK    99509‐0560
GEORGE W WOOD                                   430 4TH ST                                                                                     IMLAY CITY        MI    48444
GEORGE W WOODWARD                               158 RANCHLAND DR                                                                               MOYOCK            NC    27958‐9461
GEORGE W YEOKUM                                 3679 TYRCONNEL CT                                                                              WEST BLOOMFIELD   MI    48323‐2858

GEORGE W YONTZ                                  52851 BELLE VERNON                                                                             SHELBY TOWNSHIP   MI    48316‐2926

GEORGE W ZAHN                                   P O BOX 340                                                                                    EULESS            TX    76039
GEORGE W ZINK                                   5878 S SKINNER RD                                                                              MORGANTOWN        IN    46160‐9310
GEORGE WAKIM CUST DANIEL WILF UGMA PA           1106 MORRIS RD                                                                                 WYNNEWOOD         PA    19096‐2337
GEORGE WALKER                                   4487 TOWNSEND                                                                                  DETROIT           MI    48214‐1031
GEORGE WARNER THOMPSON                          320 HAMDON KELLS                                                                               PEACHTREE CTY     GA    30269‐2448
GEORGE WARREN STEGER                            93 STELLING AVE                                                                                MAYWOOD           NJ    07607‐2135
GEORGE WASHINGTON                               10565 CLOVDALE                                                                                 FERNDALE          MI    48220‐2128
GEORGE WASHINGTON BROWN                         173 BUTLER                                                                                     BUFFALO           NY    14208‐1620
GEORGE WASILKO                                  371 KAREN DR                                                                                   CHARDON           OH    44024‐1425
GEORGE WAYNE BROCKINGTON                        6708 WESTBROOK                                                                                 COLUMBIA          SC    29206‐2228
GEORGE WEBB JR                                  3520 SOUTHFIELD DR                                                                             SAGINAW           MI    48601‐5649
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GEORGE WEDDELL & MARY ANN WEDDELL TEN ENT     349 DALE RD                                                                                   BETHEL PARK     PA    15102‐1205

GEORGE WESLEY FOGLEMAN II                     736 GENERAL MOULTRIE DR                                                                       BONNEAU         SC    29431‐8510
GEORGE WESLYN MARTIN                          117 N ELMA ST                                                                                 ANDERSON        IN    46012‐3137
GEORGE WHEELER LOWRY                          PO BOX 521                                                                                    CLINTON         OK    73601
GEORGE WHITHAM & DOLLY H R WHITHAM JT TEN     99 BIRCHWOOD HEIGHTS                                                                          STORRS          CT    06268‐2501

GEORGE WHITNEY                                416 WEXFORD DR                                                                                HURON           OH    44839‐1463
GEORGE WILEY LACKEY                           212 BOHANNON ST                                                                               SIKESTON        MO    63801‐9027
GEORGE WILLARD SUGDEN                         56 SKYLINE DR                                                                                 MANKATO         MN    56001‐1925
GEORGE WILLIAM CADY                           9161 N BERTIN CIRTUS SPRNGS                                                                   DUNNELLON       FL    32630
GEORGE WILLIAM CARPENTER                      105 BATES AVENUE                                                                              CHERRYVILLE     NC    28021‐3433
GEORGE WILLIAM HEITZMAN JR                    312 TIMBERLAKE AVE                                                                            ERLANGER        KY    41018‐2238
GEORGE WILLIAM HENDERS                        882 OBERLAND DRIVE                   OSHAWA ON                              L1K 2M3 CANADA
GEORGE WILLIAM MASLEN                         84 HENDRICKS BLVD                                                                             BUFFALO         NY    14226‐3217
GEORGE WILLIAM ROE                            1906 HANDLEY                                                                                  SAGINAW         MI    48602‐3665
GEORGE WILLIAM SCHNEIDER                      3203 SAPPHIRE CT                                                                              WILM            DE    19810‐2242
GEORGE WILLIAM STRATTON                       11535 PLAZA DR                       APT 115E                                                 CLIO            MI    48420‐2132
GEORGE WILLIAM WARE CUST MARIA LUISA WARE     12801 HALLSHOP RD                                                                             HIGHLAND        MD    20777‐9546
UGMA MD
GEORGE WILLIAMS                               474 YELLOW RIVER WALK                                                                         LAWRENCEVILLE    GA   30043‐8704
GEORGE WILLIAMSON                             150 RUTLAND ROAD                                                                              BROOKLYN         NY   11225‐5373
GEORGE WILLIE TUCKER                          18612 BILTMORE ST                                                                             DETROIT          MI   48235‐3029
GEORGE WILSON                                 1218 ASBURY CT                                                                                SAGINAW          MI   48602‐5768
GEORGE WINTLE                                 713 DRAPER AVENUE                                                                             SCHENECTADY      NY   12306‐3015
GEORGE WISE                                   BLDG 13B APT 1 SHRERIDAN             VILLAGE                                                  SCHENECTADY      NY   12308
GEORGE WISHART                                PO BOX 1093                                                                                   CAMARILLO        CA   93011‐1093
GEORGE WISKUP                                 13021 GARY RD                                                                                 CHESANING        MI   48616
GEORGE WM BOZE                                304 E 38TH ST                                                                                 ANDERSON         IN   46013‐4648
GEORGE XIROMERITIS                            4491 BAYBEACH LANE                   APT 122                                                  FORT MYERS BEACH FL   33931‐5907

GEORGE Y SHING                                36 THORNTON TRAIL                    DUNDAS ON                              L9H 6Y2 CANADA
GEORGE YANCHO                                 7402 E BALDWIN RD                                                                             GRAND BLANC     MI    48439‐9438
GEORGE YANOCK                                 8850 BEACH RD                                                                                 BREWERTON       NY    13029‐8632
GEORGE YORK JR & MARYGRACE YORK JT TEN        221 ST LAWRENCE BLVD                                                                          NORTHVILLE      MI    48167‐1557
GEORGE YOUNG                                  75 HOAGLAND ROAD                                                                              BLAIRSTOWN      NJ    07825‐9707
GEORGE YOUNG                                  1675 FROMM                                                                                    SAGINAW         MI    48603‐4486
GEORGE Z BUSHEY                               1057 FERNWOOD DR                                                                              LOCKPORT        NY    14094‐7113
GEORGE ZABIRZEWSKI                            135 BAYBERRY LANE                                                                             ROCHESTER       NY    14616‐3720
GEORGE ZAINEA                                 1634 BROOKES AVE                                                                              SAN DIEGO       CA    92103‐5111
GEORGE ZAJACZ & HELGA ZAJACZ JT TEN           4960 HURON CHURCH ROAD               LASALLE ON                             N9H 1H4 CANADA
GEORGE ZELONY                                 3813 W WIDEWATER RD                                                                           LUTHER          MI    49656‐9508
GEORGE ZERAFA                                 LE NID TRIQ MATTAEOLO                SALIBA ZURRIEQ                         MALTA
GEORGEA M CLEVER                              604 BUTTERCUP LN                                                                              PROPHETSTOWN    IL    61277
GEORGEAN E ARSONS                             6 SUNRISE WAY                                                                                 SEA BRIGHT      NJ    07760‐2249
GEORGEAN LAZZARA                              5999 GLENRIDGE DR                                                                             BOARDMAN        OH    44512‐3106
GEORGEANA M ASTERIOU CUST JAMES J ASTERIOU    11248 KENNEBEC                                                                                ALLEN PARK      MI    48101‐1008
UGMA MI
GEORGEANA M ASTERIOU CUST JOSEPH A ASTERIOU   11248 KENNEBEC                                                                                ALLEN PARK      MI    48101‐1008
UGMA MI
GEORGEANN F WHITE                             7655 OAK HILL RD                                                                              CLARKSTON       MI    48348‐1219
GEORGEANN GEE                                 1129 W ROWLAND                                                                                FLINT           MI    48507
GEORGEANN M ANDERSON                          1113 WEST AVENUE                                                                              BROCKPORT       NY    14420
GEORGEANN M MEDVED                            PO BOX 1356                                                                                   LAPEER          MI    48446‐5356
GEORGEANN SMITH                               193 J ST                                                                                      CAYUCOS         CA    93430‐1168
GEORGEANN WOLF                                1222 E CAMPBELL AVE                                                                           CAMPBELL        CA    95008‐2422
GEORGEANNA NASH BOOTH                         1550 YORK AVE                                                                                 NEW YORK        NY    10028‐5970
GEORGEANNE R GILPIN                           601 WORTHINGTON DR                                                                            EXTON           PA    19341‐1646
GEORGEENE MC CLELLAN                          ATTN GEORGEENE MC CLELLAN HALE       7634 OLD STAGE ROAD                                      WAYNESVILLE     OH    45068‐8912
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GEORGEKUTTY P ABRAHAM                           6252 ARCHITRAVE SE                                                                                                      GRAND RAPIDS    MI    49546‐7106
GEORGENE E ANDERSON TR GEORGENE E ANDERSON      14425 HAWKINS RD                                                                                                        HUBBARD LAKE    MI    49747‐9712
TRUST UA 10/08/97
GEORGENE HORNING                                5059 BOONE RD NE                                                                                                        DOVER           OH    44622‐7547
GEORGES M MAKHOUL                               1730 WOOD ST                                                                                                            LANSING         MI    48912‐3412
GEORGES R MOCZALLA                              2308 KILLARNEY DR                                                                                                       MCKINNEY        TX    75070‐9111
GEORGES SMITH                                   3701 RUE POLLACK                     STE FOY QC                                                       G1X 4Z3 CANADA
GEORGETOWN HAPPY HUSTLERS                       C/O BECKY COOPER ADM                 740 MOUNT ORAB PIKE                                                                GEORGETOWN      OH    45121‐1182
GEORGETTA AUKER                                 1058 E HILL RD                                                                                                          GRAND BLANC     MI    48439‐4803
GEORGETTA M LUCAS                               624 N 450 E                                                                                                             AVON            IN    46123
GEORGETTA SPRUNGER                              9650 RIVERVIEW DR                                                                                                       HURON           OH    44839‐9763
GEORGETTE A EGBERT                              1704 W UNION BLVD                                                                                                       BETHLEHEM       PA    18018‐3322
GEORGETTE A MEER                                BOX 274                                                                                                                 WYCKOFF         NJ    07481‐0274
GEORGETTE BRUZEWSKI & JAMES S GRAY & JANET GRAY 6491 FLUSHING RD                                                                                                        FLUSHING        MI    48433‐2550
JT TEN
GEORGETTE COSTELLO                              1255 46TH AVE                                                                                                           SAN FRANCISCO   CA    94122‐1110
GEORGETTE DEFEO & DAWN MARIE DEFEO JT TEN       581 WOOD RD                                                                                                             MAHOPAC         NY    10541‐3358
GEORGETTE E ORTEGA                              4498 COCHRAN                                                                                                            SIMI VALLEY     CA    93063‐3066
GEORGETTE JOHNSON                               2106 BOEGER AVE                                                                                                         WESTCHESTER     IL    60154‐4108
GEORGETTE KIMBROUGH                             2349 FLAGSTONE DRIVE                                                                                                    FLUSHING        MI    48433‐2583
GEORGETTE KINNEY & DELMORE KINNEY JR JT TEN     22C TACONIC LN                                                                                                          GT BARRINGTON   MA    01230‐9727
GEORGETTE LOCKWOOD                              1 GEORGIA AVE                                                                                                           BRONXVILLE      NY    10708‐6222
GEORGETTE M CORKE                               12430 CITATION RD                                                                                                       BROOKSVILLE     FL    34610‐4822
GEORGETTE P THOMAS                              244 MAIN ST                                                                                                             CHESTER         VT    05143‐9358
GEORGETTE PHALEN                                23414 JUSTICE ST                                                                                                        WEST HILLS      CA    91304‐4403
GEORGETTE POLASTRE                              1338 ENGLISH TOWN RD                                                                                                    OLD BRIDGE      NJ    08857‐2917
GEORGETTE SIRHAN & JOSHUA R SIRHAN JT TEN       248 ECKFORD DR                                                                                                          TROY            MI    48085‐4746
GEORGETTE V PETERSON                            512 WESLEY RD                                                                                                           NW KNOXVILLE    TN    37909‐2655
GEORGIA A DRENNING                              1840 RANSBURG AVE                                                                                                       COLUMBUS        OH    43223‐2546
GEORGIA A GIANNOULIAS                           9843 FLAHERTY ST                                                                                                        TEMPLE CITY     CA    91780‐1711
GEORGIA A GRUMMON                               1009 S HAMLIN                                                                                                           PARK RIDGE      IL    60068‐4319
GEORGIA A LAMONICA                              7140 MEADOWBROOK LANE                                                                                                   HANOVER PARK    IL    60103‐6460
GEORGIA A LANGDON                               4307 CARTERSBURG RD                                                                                                     CARTERSBURG     IN    46168‐8705
GEORGIA A MITCHELL                              PO BOX 2912                                                                                                             GLENDALE        AZ    85311‐2912
GEORGIA ANDERSON                                3708 BUTTERFIELD RD                                                                                                     BELLWOOD        IL    60104‐1414
GEORGIA ANN CONNELL CUST LOREN THOMAS CONNELL 422 INVERNESS                                                                                                             HOWELL          MI    48843‐1150
UGMA MI
GEORGIA ANN CONNELL CUST REBECCA ANN CONNELL 422 INVERNESS                                                                                                              HOWELL          MI    48843‐1150
UGMA MI
GEORGIA ANN SHAFT                               12490 RUPPERT RD                                                                                                        PERRY           MI    48872‐8527
GEORGIA B DERENGOWSKI                           6099 TREE LINE DR                                                                                                       GRAND BLANC     MI    48439‐9789
GEORGIA B HARRINGTON & RONALD E HARRINGTON JT 27 CANEBRAKE BLVD                                                                                                         HATTIESBURG     MS    39402‐8706
TEN
GEORGIA B SMALL                                 120 E WASHINGTON ST                                                                                                     ALEXANDRIA      IN    46001‐2042
GEORGIA B SNOW                                  1400 PLYMOUTH AVE S                  APT 216                                                                            ROCHESTER       NY    14611‐3906
GEORGIA B TRAHEY                                57 ROSSITER RD                                                                                                          ROCHESTER       NY    14620‐4125
GEORGIA CHRISTOPHER & PAUL CHRISTOPHER JT TEN   13663 SHENANDOAH WAY                                                                                                    MOORPARK        CA    93021

GEORGIA COLLINS                               12095 MAIDEN                                                                                                              DETROIT         MI    48213‐1711
GEORGIA COLTON                                6919 EMORY CT                                                                                                             DAYTON          OH    45424‐1860
GEORGIA D BIANE                               8561 N ROWELL                                                                                                             FRESNO          CA    93720‐1920
GEORGIA D BRANTLEY                            422 FLEENOR LN                                                                                                            NEWCASTLE       OK    73065‐4315
GEORGIA D FABAC & GARY D FABAC JT TEN         219 W BROADWAY ST                                                                                                         KINGSTON        MO    64650‐9187
GEORGIA D LANDERGOTT & SHARON DURTKA & DENNIS 806 EMERSON AVENUE                                                                                                        SOUTH MILWAUKEE WI    53172‐1706
LANDERGOTT JT TEN
GEORGIA DEPARTMENT OF REVENUE                 PROPERTY TAX DIVISION                  UNCLAIMED PROPERTY PROGRAM       4245 INTERNATIONAL PKWY STE A                     HAPEVILLE       GA    30354‐3918

GEORGIA DEPARTMENT OF REVENUE                  PROPERTY TAX DIVISION                 UNCLAIMED PROPERTY PROGRAM       4245 INTERNATIONAL PARKWAY      SUITE A           HAPEVILLE       GA    30354‐3918
GEORGIA DEPARTMENT OF REVENUE                  UNCLAIMED PROPERTY DIVISION           4245 INTERNATIONAL PKY SUITE A                                                     HAPEVILLE       GA    30354‐3918
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GEORGIA DILL                                   1614 N FRANKLIN                                                                                  FLINT              MI    48506‐3751
GEORGIA DOUROS                                 2119 WAYNE AVE                                                                                   DAYTON             OH    45410‐2136
GEORGIA E BADGETT                              8 COE PLACE                                                                                      LEXINGTON          VA    24450‐1859
GEORGIA E BLAKER                               3409 SE 17TH AVE                                                                                 CAPE CORAL         FL    33904‐4463
GEORGIA E BRYANT                               7354 HAPPY VALLEY RD                                                                             TALLAHASSEE        TN    37882‐2123
GEORGIA E JESTINGS                             32 OAKMONT DR                                                                                    DAWSONVILLE        GA    30534
GEORGIA E MALAK                                304 HILLCREST LANE                                                                               BRENHAM            TX    77833‐5526
GEORGIA E SLONE                                6101 ST RT 335                                                                                   BEAVER             OH    45613‐9761
GEORGIA E TURBYFILL                            G5437 SHAMROCK LANE                                                                              FLINT              MI    48506
GEORGIA E VANCAMP                              512 APPLE ST                                                                                     WESTLAND           MI    48186
GEORGIA EVANS                                  4687 MATTHEW PLACE                                                                               FAIRFIELD          OH    45014‐1420
GEORGIA EVANS CUST DELBERT SAVAS EVANS UGMA NJ 512 N 10TH ST                                                                                    COTTAGE GROVE      OR    97424‐1370

GEORGIA F DIXON CUST JEROME A DIXON UGMA MI      3532 HALLA LANE                                                                                BLOOMFIELD HILLS   MI    48301‐2127

GEORGIA G FISHEL & DONALD L FISHEL JR JT TEN     6415 GREENSTONE LOOP                                                                           DUBLIN             OH    43016‐6064
GEORGIA G ULCH                                   19112 CALYPSO DR                                                                               MACOMB             MI    48044‐1218
GEORGIA GRAFFIUS                                 19507 ARROWHEAD AVE                                                                            CLEVELAND          OH    44119‐2246
GEORGIA H MARTIN                                 2612 GALAXY LANE                                                                               INDIANAPOLIS       IN    46229‐1126
GEORGIA H MILLER & ELMA L HAZELTON JT TEN        5620 N 11TH AVE                                                                                PHOENIX            AZ    85013‐1760
GEORGIA H PAPDOR TR PAPADOR FAMILY 1998 TRUST    5852 MARSTONE LN                                                                               GOLETA             CA    93117‐2120
UA 10/12/98
GEORGIA H STRICKLAND                             8670 HIGHWAY 94                                                                                RAMER              AL    36069
GEORGIA HART                                     836 FITCHLAND DR                                                                               VANDALIA           OH    45377‐1326
GEORGIA HENRY                                    3185 MARTHA ROSE CT                                                                            FLINT              MI    48504‐1233
GEORGIA I STEPHEN TR STEPHEN FAM TRUST UA        14279 ELMS RD                                                                                  MONTROSE           MI    48457‐9720
12/20/94
GEORGIA J PECENIAK & GEORGE A PECENIAK JT TEN    1121 NEEDHAM RD                                                                                NAPERVILLE         IL    60563‐3314

GEORGIA J WENDLAND                               130 DENI DR                                                                                    WATERFORD          MI    48327‐4300
GEORGIA JEAN FRANTZ ADAMS                        1754 CLOISTER DRIVE                                                                            INDIANAPOLIS       IN    46260‐1068
GEORGIA JEAN MERRITT                             16720 WASHINGTON BLDG 4A              APT J                                                    CLINTON TWP        MI    48035‐5512
GEORGIA JEAN TABBERT & GEORGE F TABBERT JT TEN   5054 ROBERTS DRIVE                                                                             FLINT              MI    48506‐1556

GEORGIA JONES                                   717 TUSCOLA ST                                                                                  SAGINAW            MI    48607‐1584
GEORGIA K KOHLMEIER                             5261 MOUNT ALIFAN DR                                                                            SAN DIEGO          CA    92111‐2620
GEORGIA K LINDSTROM                             3704 PEACOCK CT                                                                                 SPRING HILL        TN    37174‐2193
GEORGIA KAY DAHLBERG ANTHONE                    9978 WELLINGTON BAY                                                                             WOODBURY           MN    55125‐8460
GEORGIA KEENEY                                  185 SW 1025TH RD                                                                                CHILHOWEE          MO    64733‐9111
GEORGIA KUFFEL COLLIMORE                        2710 LEEWARD LANE                                                                               NAPLES             FL    34103‐4034
GEORGIA KUTZ                                    202 HILLTOP TRAIL                                                                               FORT ATKINSON      WI    53538
GEORGIA L ANDERSON                              1871 NW 100 RD                                                                                  KINGSVILLE         MO    64061‐9267
GEORGIA L BOHLMAN                               ATTN ELIZABETH ANN YOUNGBLOOD          4344 N COUNTY RD     200 E                               ORLEANS            IN    47452
GEORGIA L DAVIDSON                              2604 NEVA DRIVE                                                                                 DAYTON             OH    45414
GEORGIA L HAMBLETON                             31710 E OAKLAND SCHOOL RD                                                                       BUCKNER            MO    64016‐8292
GEORGIA L JANICKI                               11722 HAMILTON PLACE                                                                            WHITE MARSH        MD    21162‐1116
GEORGIA L KLING PER REP EST PATRICK R KLING     1472 WESTBURY DRIVE                                                                             DAVISON            MI    48423
GEORGIA L MATHENEY                              216 BRICKER AVE                                                                                 DAYTON             OH    45427‐1709
GEORGIA L MONCRIEF                              2727 FIELDSTONE ST                                                                              SUGAR LAND         TX    77478
GEORGIA L PARKER                                4022 E123 TER #A                                                                                GRANDVIEW          MO    64030
GEORGIA LEE HASTINGS TR HASTINGS FAM DECEDANT'S 17354 SUNBURST ST                                                                               NORTHRIDGE         CA    91325‐2925
TRUST UA 04/20/90
GEORGIA LEE JONES                               6405 F 41                                                                                       SPRUCE             MI    48762‐9720
GEORGIA LEEDS                                   145 E BILLS MILL RD                                                                             PHILADELPHIA       PA    19118‐2616
GEORGIA LEISURE                                 3900 CLARK RD SUITE F 1                                                                         SARASOTA           FL    34233
GEORGIA LETT & CLIFTON BOWLES JR JT TEN         PO BOX 1452                            2544 TRIMBLE ST                                          PADUCAH            KY    42001‐3765
GEORGIA LINTHICUM                               4800 WARDS CHAPEL RD                                                                            OWINGS MILLS       MD    21117‐4618
GEORGIA M BLACK                                 264 BRUCE ST                                                                                    SYRACUSE           NY    13224‐1011
GEORGIA M CHRISTIAN                             508 OKLAND DR                                                                                   SHELLBY            NC    28150‐4524
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GEORGIA M DAVIS                                10660 PREBLE CO LINE RD                                                                       BROOKVILLE         OH    45309‐9613
GEORGIA M DUNN                                 27320 MARK BARRY AVE                                                                          EUCLID             OH    44132‐2110
GEORGIA M FORE                                 BOX 144                                                                                       MC HENRY           MS    39561‐0144
GEORGIA M HAYDEN                               680 RUSTIC HILLS DR                                                                           UNION CITY         MI    49094‐9727
GEORGIA M HEPWORTH                             1802 S 7TH ST                                                                                 SPRINGFIELD        IL    62703‐3128
GEORGIA M LEWIS                                4846 FRANCIS RD                                                                               HALE               MI    48739‐9145
GEORGIA M MAIETTA                              8807 TAYLORSVILLE ROAD                                                                        DAYTON             OH    45424
GEORGIA M OBRIEN & JOHN B OBRIEN JT TEN        2950 ST RT CC                                                                                 WEST PLAINS        MO    65775‐5123
GEORGIA MAE CALLAWAY                           P 0 BOX 612                                                                                   SMITHVILLE         MO    64089‐0612
GEORGIA MAE GAMMON                             5231 ZELZAH AVE                      APT 7                                                    ENCINO             CA    91316‐2120
GEORGIA MARIE STILLEY                          2602 STATE ST                                                                                 NEW ORLEANS        LA    70118‐6330
GEORGIA MASSENGILL                             8759 WEDDEL                                                                                   TAYLOR             MI    48180‐2915
GEORGIA MC BRIDE                               3650 DESERT ROSE DR                                                                           LAKE HAVASU CITY   AZ    86404‐1750

GEORGIA MELFI                                  25131 SAN ROSA                                                                                ST CLAIR SHRS      MI    48081‐2141
GEORGIA MOSHER                                 345 FOREST RD                                                                                 WOLFEBORO          NH    03894‐4014
GEORGIA N ELDER                                124 THE WOODLANDS                                                                             GLADSTONE          MO    64119
GEORGIA N LEWIS                                2915 ANDOVER DRIVE                   ST LOUIS                                                 SAINT LOUIS        MO    63121
GEORGIA P KELLY                                3365 LAWSON DR                                                                                DAYTON             OH    45432‐2735
GEORGIA P RIDDLE                               1256 E MORGAN ST                                                                              KOKOMO             IN    46901‐2558
GEORGIA PARKS                                  9160 COBBLECHASE                                                                              CINCINNATI         OH    45251‐2908
GEORGIA R COYNE                                PO BOX 1676                                                                                   CLARKSTON          MI    48347‐1676
GEORGIA R LOPEZ                                38076 CANYON HEIGHTS DR                                                                       IVEMONT            CA    94536‐1810
GEORGIA R TATE                                 3107 E 11TH ST APT 6                                                                          SIOUX FALLS        SD    57103‐2127
GEORGIA R WILSON                               289 W RAYMOND AVE                                                                             TRAFALGAR          IN    46181‐9314
GEORGIA S HUSSEY                               3728 JOYCE ANN LANE                                                                           ALEXANDRIA         KY    41001
GEORGIA SABBAUGH                               8403 GOLFLANE DR                                                                              COMMERCE TWP       MI    48085
GEORGIA STAHL                                  1840 WAVERLY                                                                                  TRENTON            MI    48183‐1831
GEORGIA STATE BANK CUST CHARLES D GOLDEN       6018 RIDGE DR SE                                                                              MABLETON           GA    30126‐3527
GEORGIA STONE & TAMMY FERREIRA JT TEN          1641 ADAMS CIRCLE DR                                                                          LARGO              FL    33771‐5411
GEORGIA T CHANDLER                             192 N 13TH AVE                                                                                BEECH GROVE        IN    46107‐1247
GEORGIA T CHUNG                                C/O GEORGIA CHUNG LU                 6223 BELLWOOD DR                                         SAN ANTONIO        TX    78249‐3000
GEORGIA T KAHL TR 02/01/95 THE GEORGIA T KAHL  5435 S AVE                                                                                    VICKSBURG          MI    49097‐8476
TRUST
GEORGIA THOMAS PARKS                           535 CHURCHVIEW CT                                                                             DELAWARE           OH    43015‐4101
GEORGIA VANCLEAVE & GAIL AMSTER & RONALD       9062 DIAMOND POINTE DR                                                                        INDIANAPOLIS       IN    46236‐9051
AMSTER JT TEN
GEORGIA W GLYNN TR UA 09/10/92 GEORGIA W GLYNN 1241 FAIRLAWN                                                                                 ROYAL OAK          MI    48067‐1006
TRUST
GEORGIA W REEDER                               561 REMORA DR                                                                                 FRIPP ISLAND       SC    29920‐7246
GEORGIA WILLIAMS HUMPHREYS                     HC 66                                BOX 735                                                  FAUBUSH            KY    42532‐9503
GEORGIA WORTHHAM                               524 KAMMER AVE                                                                                DAYTON             OH    45417‐2308
GEORGIAN C CHAPPELL                            37 EAST VALLEY VIEW DRIVE                                                                     INDIANAPOLIS       IN    46227‐2679
GEORGIAN LA ROSA TOD MICHELE MUSSHORN SUBJECT 94 SYCAMORE ST                                                                                 BRISTOL            CT    06010‐7643
TO STA TOD RULES
GEORGIANA ABBOTT WEAVER & CLARE RAYMOND        106 EAST MONUMENT STREET                                                                      PLEASANT HILL      OH    45359
WEAVER JT TEN
GEORGIANA FENNEMORE                            1 BARNSDALE DR                                                                                MIDDLETOWN         DE    19709‐7833
GEORGIANA GONZALEZ MC SHANE                    18 VILLAGE COURT                                                                              LITTLETON          CO    80123‐6641
GEORGIANA GUZIATEK                             14146 LENORE                                                                                  REDFORD            MI    48239‐2852
GEORGIANA L WALKER                             23487 WEISBURG RD                                                                             SUNMAN             IN    47041‐9088
GEORGIANA M MASSA                              PO BOX 185                                                                                    COHASSET           MA    02025‐0185
GEORGIANA MINNES & EDWARD MINNES JT TEN        709 HILLSIDE AVE                                                                              PINE BEACH         NJ    08741‐1601
GEORGIANA S NICHOLAS                           10351 NEWPORT RD                                                                              BOWLING GREEN      IN    47833‐8262
GEORGIANA SILVA                                65 FRANKLIN ST                                                                                CONCORD            NH    03301‐4560
GEORGIANA V PAINE                              2370 N SUMMIT                                                                                 DECATUR            IL    62526‐3110
GEORGIANA W VAN ARSDALE                        15 PARK ROAD WEST                                                                             CASTILE            NY    14427‐9641
GEORGIANA YAHN                                 6507 S ROSOLIND LN                                                                            ANDERSON           IN    46013‐9536
GEORGIANN CURRY                                3250 W PRINCETON DRIVE                                                                        TERRE HAUTE        IN    47802‐8716
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GEORGIANN M JACKSON & WAYNE A JACKSON JT TEN     5780 UHLMAN RD                                                                              FAIRVIEW          PA    16415‐2105

GEORGIANN M STASIK                               14267 HAMILTON RD                                                                           RIVERVIEW         MI    48193‐7845
GEORGIANNA A VELEV                               20W071 97TH ST                                                                              LEMONT            IL    60439‐9683
GEORGIANNA ARNETT BONDS                          BOX 768                                                                                     BEREA             OH    44017‐0768
GEORGIANNA COUNTERMAN                            1572 12TH AVE                                                                               KENOSHA           WI    53140
GEORGIANNA DRAPER & JAMES LEONARD DRAPER JT      325 FOREST ST                                                                               OSCODA            MI    48750‐1208
TEN
GEORGIANNA G COLE                                25281 REMESA                                                                                MISSION VIEJO     CA    92691‐5458
GEORGIANNA J REED                                PO BOX 615                                                                                  VINEMONT          AL    35179
GEORGIANNA JACOBY & CHARLINE JACOBY JT TEN       100 RUSTY LN                                                                                WAXAHACHIE        TX    75165‐1330
GEORGIANNA SHAVER                                5 QUEENS CT                                                                                 LITTLE ROCK       AR    72211‐2427
GEORGIANNA TUTLER                                77 SUNNYSIDE TERRACE                                                                        EAST ORANGE       NJ    07018‐2375
GEORGIANNA W LEASURE                             6728 S BIRCH WAY                                                                            LITTLETON         CO    80122‐2127
GEORGIANNE SKINNER                               2571 WESTMORELAND DRIVE                                                                     GRANITE CITY      IL    62040‐5239
GEORGIANNE WALBERGER                             73 ENNIS AVE                                                                                PENNELLVILLE      NY    13132‐3310
GEORGIE E BAKER                                  311 E 2ND AVE                                                                               LATROBE           PA    15650‐1208
GEORGIE E BUNCH                                  9630 SW SUMMERFIELD DR                                                                      PORTLAND          OR    97224‐5657
GEORGIE HARDIN                                   PO BOX 296                                                                                  LA PORTE          TX    77572‐0296
GEORGIE J PETERSON                               2356 6TH STREET                                                                             WHITE BEAR LAKE   MN    55110‐2801
GEORGIE JOSEPHSON                                2320 POLY DR                                                                                BILLINGS          MT    59102‐1535
GEORGIE M BAXTER                                 1435 SE 40TH                                                                                OKLAHOMA CITY     OK    73129‐6930
GEORGIE R NORRIS                                 2910 E 360 N                                                                                ANDERSON          IN    46012‐9240
GEORGIE SPICOLA                                  3153 LAKE ELLEN DR                                                                          TAMPA             FL    33618‐3600
GEORGIENE C MALINE                               1230 THOREAU RD                                                                             LAKEWOOD          OH    44107‐2844
GEORGINA A SHEPHARD                              1431 BRAND AVE                                                                              CLARE             MI    48617‐9779
GEORGINA B HAGEMEYER                             1271 RUFFNER AVE                                                                            BIRMINGHAM        MI    48009‐7173
GEORGINA KADEN                                   43 MAXWELL RD                                                                               GARDEN CITY       NY    11530‐1844
GEORGINA M BINDER                                302 HAMILTON ST                                                                             DELAWARE CITY     DE    19706
GEORGINA MARIA WALKER                            #PHB                               330 WEST END AVE                                         NEW YORK          NY    10023‐8171
GEORGINA OLIVE HOPPE                             11460 COLONIAL WOODS DR                                                                     CLIO              MI    48420‐1594
GEORGINA RUFFLES                                 50 STAHL RD APT 117                                                                         GETZVILLE         NY    14068‐1551
GEORGINE A FORSYTH                               20 DAILEY DRIVE                                                                             YARDVILLE         NJ    08620‐2602
GEORGINE CORNUTA                                 145 DONNA MARIE CIR N                                                                       ROCHESTER         NY    14606‐3477
GEORGINE E WILLIS                                THE STERLING APT 2112              1815 J F K BLVD                                          PHILADELPHIA      PA    19103
GEORGINIA N SIGLER                               7643 DOUGLAS RD                                                                             LAMBERTVILLE      MI    48144‐8659
GEORGINIA SIGLER & RACHEL SIGLER JT TEN          7643 DOUGLAS ROAD                                                                           LAMBERTVILLE      MI    48144‐8659
GEORGIO CICCIARELLA                              59 OVERHILL RD                                                                              YORKTOWN HTS      NY    10598‐6520
GEORGIOS G GIAVRIS                               1414 RIVERA ST                                                                              SAN FRANCISCO     CA    94116‐1754
GEORGIOS KLIFOUNIS                               144 YORKTOWN DR                                                                             WEBSTER           NY    14580‐2234
GEORGJEAN ADRIENNE VINSON                        GEORJEAN A LIPOVSKY                607 W RICHWOODS BLVD                                     PEORIA            IL    61604‐1554
GERALD A ABITZ                                   13050 W CHERRY TREE LN                                                                      NEW BERLIN        WI    53151‐7610
GERALD A ANDERSON & DORIS M PHILLIPS JT TEN      14869 16TH AVE                     PO BOX 114                                               MARNE             MI    49435‐0114
GERALD A ANGELICHIO CUST VALERIE A ANGELICHIO    13 WAYNE ST                                                                                 ILION             NY    13357‐4327
UGMA NY
GERALD A ANNIS                                   3 HIGH GATE TRL                    APT 3                                                    FAIRPORT          NY    14450‐2712
GERALD A ANSCHUETZ                               7400 E POTTER RD                                                                            DAVISON           MI    48423‐9520
GERALD A ATTEBERRY                               1348 OCEAN PARKWAY                                                                          BERLIN            MD    21811‐1683
GERALD A BARNO                                   ATTN DIANA BARNO                   2212 GRAND ST                                            SCHEREVILLE       IN    46375‐2177
GERALD A BAUM & VICTORIA D BAUM JT TEN           5285 AUGUSTA CT                                                                             ONSTEAD           MI    49265‐9756
GERALD A BAZEMORE                                1513 STUART ROAD                                                                            RESTON            VA    20194‐2710
GERALD A BEDARD                                  469 BESSERER                       OTTAWA ON                              K1N 6C2 CANADA
GERALD A BENJAMIN                                60 JIONZO ROAD                                                                              MILFORD           MA    01757‐1833
GERALD A BERNIER                                 6 OVERLOOK LN                                                                               SOUTHINGTON       CT    06489‐1429
GERALD A BLACK & RUBY L BLACK TEN ENT            5155 20TH AVENUE NORTH                                                                      ST PETERSBURG     FL    33710‐5217
GERALD A BLAKE                                   1694 CACTUS WREN CT                                                                         BEAUMONT          CA    92223‐8579
GERALD A BOPP                                    54809 WALNUT DRIVE                                                                          NEW HUDSON        MI    48165‐9500
GERALD A BORRIS & MRS ANNA MARIE BORRIS JT TEN   5230 CHICAGO AVE S                                                                          MINNEAPOLIS       MN    55417‐1732
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GERALD A BOSCHEN                                647 RANCHO TRAILS                                                                               RAMONA           CA    92065‐7626
GERALD A BRAYTON & SHARON L BRAYTON JT TEN      10289 BLUE LAKE DR                                                                              MECOSTA          MI    49332‐9405
GERALD A BRODIE                                 676 N RIDGE COURT                                                                               COLGATE          WI    53017
GERALD A BROWN & BETTY J BROWN JT TEN           3317 ELLENBORO                                                                                  TROY             MI    48083‐5071
GERALD A BUSSELL                                1568 WADE BROWN RD                                                                              LEWISBURG        TN    37091‐6236
GERALD A CHEFALO                                3470 MANNION RD                                                                                 SAGINAW          MI    48603‐1612
GERALD A CLINE                                  297 FIELDCREST RD                                                                               SOUTHERN PNES    NC    28387‐2343
GERALD A CLOR                                   6416 TERRIE DR                                                                                  CASEVILLE        MI    48725‐9547
GERALD A COLLINS & MARY B COLLINS JT TEN        7646 SILVERWOOD CT                                                                              LAKEWOOD RCH     FL    34202‐7921
GERALD A COOPER                                 3523 TIPLADY ROAD                                                                               PINCKNEY         MI    48169‐9023
GERALD A CRAWFORD                               1112 MILLSTON RD #44                                                                            ABERDEEN         OH    45101‐9561
GERALD A DALEY & PATRICIA G DALEY JT TEN        7 FAIRWAY DRIVE                                                                                 DOVER            NH    03820‐5103
GERALD A DAVID                                  14730 PIONEER PLACE                    LOT #326                                                 NORTH FORT MYERS FL    33917‐9051

GERALD A DESMOND                                4247 E STANLEY RD                                                                               MT MORRIS        MI    48458‐8980
GERALD A DIMOFF                                 76 OMAR STREET                                                                                  STRUTHERS        OH    44471‐1563
GERALD A DUGAR                                  1414 WAGON WHEEL                                                                                CANTON           MI    48188‐1197
GERALD A ENGLERT                                422 FARM LN                                                                                     CADILLAC         MI    49601‐2671
GERALD A FERRARI                                30 PALO ALTO DR                                                                                 HAMPTON BAYS     NY    11946‐2841
GERALD A FIELDS                                 4731 HUFF DR                                                                                    ANDERSON         IN    46012‐1054
GERALD A FROMHOLZ & ANNA FROMHOLZ JT TEN        7420 DEEP WATER POINT                                                                           WILLIAMSBURG     MI    49690‐9549
GERALD A GAETH                                  12160 BAKER RD                                                                                  FRANKENMUTH      MI    48734
GERALD A GALBRAITH                              PO BOX 997                                                                                      HOT SPRINGS      SD    57747‐0997
GERALD A GORDON                                 15260 BUCK                                                                                      TAYLOR           MI    48180‐5127
GERALD A GROSS                                  212 HAWTHORNE                                                                                   LAPEER           MI    48446‐3725
GERALD A GUARINO                                725 RIDGE RD                                                                                    MIDDLETOWN       CT    06457‐5438
GERALD A GUENTHER                               12069 COLDWATER RD                                                                              FLUSHING         MI    48433‐9703
GERALD A HADDRILL & DOROTHY J HADDRILL JT TEN   311 UNIVERSITY DR                                                                               ROCHESTER        MI    48307

GERALD A HAGEMEISTER                            3875 PLEASANT ST                                                                                DRYDEN           MI    48428
GERALD A HENAULT                                BLACKSTONE ST                                                                                   WILKENSONVILLE   MA    01590
GERALD A JACQUIN TR GERALD A JACQUIN LIVING     14252 KAY LN                                                                                    PT CHARLOTTE     FL    33981
TRUST UA 01/23/03
GERALD A JANUCHOWSKI                            6088 CROWN POINT                                                                                FLINT            MI    48506‐1647
GERALD A KAMINSKI                               1840 BIRCH RD                                                                                   HOMEWOOD         IL    60430‐3329
GERALD A KANSIER & WILLIAM E KANSIER JT TEN     1400 OLD BARTOW EAGLE LAKE RD          APT 2311                                                 BARTOW           FL    33830‐2924
GERALD A KATZMAN                                1247 HIGHLAND AVE                                                                               FALL RIVER       MA    02720‐5709
GERALD A KAYE                                   11610 W COLDSPRING RD                                                                           GREENFIELD       WI    53228‐2425
GERALD A KIEFER                                 10803 N ESSEX DR                                                                                MEQUON           WI    53092‐8534
GERALD A KING                                   68 BRIARLEIGH DR                                                                                BRUNSWICK        OH    44212‐1429
GERALD A KLAVINGER                              907 LANE NW RD G5                                                                               HARTSELLE        AL    35640‐4462
GERALD A KRUEGER                                6255 GRASS LAKE ROAD                                                                            WHITE LAKE       MI    48383‐2316
GERALD A LA PORTE                               1271 OAK ST                                                                                     HARRISON         MI    48625‐9462
GERALD A LAYTON                                 483 EAST ST                            PO BOX 241                                               LITCHFIELD       CT    06759‐0241
GERALD A LEMIEUX                                163 N MAIN ST                                                                                   TERRYVILLE       CT    06786‐5315
GERALD A LIENING                                15725 WINDMILL POINTE                                                                           GROSSE POINTE    MI    48230‐1839
                                                                                                                                                PARK
GERALD A MAGOCHY                                1740 LIBERTY PIKE                                                                               FRANKLIN         TN    37067‐8501
GERALD A MARLETTE                               1103 SEMIWOLE DR                                                                                LINCOLNTON       GA    30817‐3719
GERALD A MARSHALL                               1000 KINGS HWY                         UNIT 339                                                 PT CHARLOTTE     FL    33980
GERALD A MARTIN                                 9643 MELVILLE                          WINDSOR ON                             N8R 1B4 CANADA
GERALD A MCKEE                                  435 S SQUIRREL RD                                                                               AUBURN HILLS     MI    48326‐3859
GERALD A MIKES & THERESA MIKES JT TEN           2278 KETTINGTON CT                                                                              CHESTERFIELD     MO    63017‐7324
GERALD A MIZE                                   39785 DEEPWOOD                                                                                  CANTON           MI    48188‐1529
GERALD A MOORE TR GERALD A MOORE REVOCABLE      2365 SILVERDAWN DR                                                                              WATERFORD        MI    48328‐1759
LIVING TRUST UA 01/06/93
GERALD A MOSLEY JR                              738 NORTH ST                                                                                    GOSHEN           CT    06756‐1013
GERALD A NAVE                                   PO BOX 690                                                                                      WASKOM           TX    75692‐0690
GERALD A NERBER                                 873 DOBELL TER NW                                                                               PT CHARLOTTE     FL    33948‐3714
                                          09-50026-mg                Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                            Address1                            Address2             Address3          Address4          City            State Zip

GERALD A OSBORN                                 1948 SADDLE HORN DRIVE                                                                       CANANDAIGUA     NY    14424
GERALD A OSBORN & SUSAN M OSBORN JT TEN         1948 SADDLE HORN DR                                                                          CANANDAIGUA     NY    14424
GERALD A OUILLETTE                              9614A MISSOURI STREET                                                                        OSCODA          MI    48750‐1919
GERALD A PAHL                                   1952 WENTWORTH DR                                                                            CANTON          MI    48188‐3132
GERALD A PAHL & GREGORY W PAHL JT TEN           1952 WENTWORTH DR                                                                            CANTON          MI    48188‐3132
GERALD A PETKAU & ANDREA G PETKAU JT TEN        402 TROYCOTT PLACE                                                                           CARY            NC    27519‐7177
GERALD A PHILLION                               297 KNORRWOOD DR                                                                             ROCHESTER       MI    48306‐1760
GERALD A PIWOWAR & PRISCILLA M PIWOWAR JT TEN   45560 ANN ARBOR TRAIL                                                                        PLYMOUTH        MI    48170‐3624

GERALD A PLOEGER                                106 INAGEHI WAY                                                                              LOUDON          TN    37774‐6846
GERALD A PUCKETT                                PO BOX 292                                                                                   KAW KAW LIN     MI    48631‐0292
GERALD A REED                                   19 PINE ST                                                                                   NORWOOD         NY    13668‐1212
GERALD A RICHMOND                               88181 OLD HWY                       APT A32                                                  ISLAMORADA      FL    33036‐3099
GERALD A RINGRELSKI                             336 HARMONY CT                                                                               ANDERSON        IN    46013‐1053
GERALD A ROBERTS                                22618 CANDACE                                                                                ROCKWOOD        MI    48173‐1022
GERALD A ROSE                                   2810 IROQUOIS DR                                                                             THOMPSONS STN   TN    37179‐5003
GERALD A SCHAFER                                1204 HAWKSRIDGE CT                                                                           EAST LANSING    MI    48823‐6326
GERALD A SCHOEN                                 1945 BIRCH BLUFF DR                                                                          OKEMOS          MI    48864‐5915
GERALD A SCHULTZ                                7314 CARLISLE HWY RT 2                                                                       VERMONTVILLE    MI    49096‐9531
GERALD A SCHULTZ                                RR 1 SITE 3 BOX 15                  ONOWAY AB                              T0E 1V0 CANADA
GERALD A SCHULZE                                611 HOUGHTON VIEW DR                                                                         PRUDENVILLE     MI    48651‐9764
GERALD A SHARP                                  2122 MTHOPE HWY                                                                              MULLIKEN        MI    48861
GERALD A SHARPE                                 647 CLINTON ST                                                                               FLINT           MI    48507‐2538
GERALD A SIEMERS                                6037 S LOCUST ST                                                                             ENGLEWOOD       CO    80111‐4418
GERALD A SIEMERS & EDNA M SIEMERS JT TEN        6037 S LOCUST STREET                                                                         ENGLEWOOD       CO    80111‐4418
GERALD A SIMANOWITH                             378 BLUE RIDGE DR                                                                            LEVITTOWN       PA    19057‐3024
GERALD A SIMONE & CAROL T SIMONE JT TEN         16 PADDOCK LN                                                                                MIDDLETOWN      RI    02842
GERALD A SKINNER                                2521 NE GLENWOOD ROAD                                                                        MAYSVILLE       MO    64469‐9381
GERALD A SULLIVAN                               1702 NWELCOME AVE                                                                            NATIONAL CITY   MI    48748
GERALD A SURMAN                                 2020 KNAPP ST NE                                                                             GRAND RAPIDS    MI    49505‐4410
GERALD A THIES & CINDY M THIES JT TEN           RT 2 BOX 14 A                                                                                CLIFTON         TX    76634‐9603
GERALD A THOMPSON SR & PATRICIA A THOMPSON JT 4 WYCK LANE                                                                                    TROY            NY    12180‐7020
TEN
GERALD A TORREY & MADGE MARIE TORREY FAMILY     837 APPLE BLOSSOM LN                                                                         HOLLAND         MI    49423‐7347
TRUST 12‐3‐92
GERALD A TOTH                                   1137 S FOREST DR                                                                             CONCORD TWP     OH    44077
GERALD A VANSLYKE                               20 HUNTERS LANE                                                                              WINFIELD        MO    63389
GERALD A VAUGHN                                 1826 STATE HIGHWAY F                                                                         CARDWELL        MO    63829‐7102
GERALD A WAHLGREN                               10106 PARKVIEW                                                                               PALOS PARK      IL    60464‐1691
GERALD A WALL                                   5931 MAYBE RD                                                                                CLARKSTON       MI    48346‐3143
GERALD A WARD                                   5973 FARMERSVL W CARROLLTN RD                                                                MIAMISBURG      OH    45342‐1223
GERALD A WAZNY                                  6456 BAKER ROAD                                                                              BRIDGEPORT      MI    48722‐9788
GERALD A WEEKS CUST ANNA F WEEKS UTMA TN        4000 POE RD                                                                                  SODDY DAISY     TN    37379‐7328
GERALD A WEST                                   45220 S E DEVERELL ROAD                                                                      CORBETT         OR    97019‐9772
GERALD A WISE                                   11370 ROOKSBY                                                                                SAND LAKE       MI    49343‐9443
GERALD A WOOD                                   201 E HOLBROOK                                                                               FLINT           MI    48505‐2128
GERALD A WRIGHT                                 1009 CALMER ERNST BLVD                                                                       BROOKVILLE      OH    45309‐8610
GERALD A ZUPPO                                  2914 CHESTER HWY                                                                             YORK            SC    29745‐2147
GERALD ABEND TR ABEND REVOCABLE LIVING TRUST UA 12805 PATRICIA DR                                                                            N ROYALTON      OH    44133‐1023
12/18/98
GERALD AIDEN MC HUGH                            PO BOX 1643                                                                                  KNOXVILLE       TN    37901‐1643
GERALD ALAN BOETTCHER                           5215 HANSEN DR                                                                               SWARTZ CREEK    MI    48473‐8221
GERALD ALENA                                    7 GRACE MOORE RD                                                                             SANDY HOOK      CT    06482‐1603
GERALD ALTON HILL                               2227 BEARANGER RD                                                                            LAPEER          MI    48446‐8341
GERALD AMANN                                    PO BOX 6904                                                                                  HILTON HEAD     SC    29938‐6904
                                                                                                                                             ISLAND
GERALD ANDRAS & BARBARA A ANDRAS JT TEN         49825 HIDDEN VALLEY DR                                                                       MACOMB          MI    48044‐6124
GERALD ANDREW REOTT JR                          8803 ELKINS PARK DR                                                                          MATTHEWS        NC    28105‐7457
GERALD ANDREWS                                  8856 LONGWORTH                                                                               DETROIT         MI    48209‐4421
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GERALD AREY MILLER & BETTY KNIGHT MILLER JT TEN   2009 MCCARTHY RD                                                                                AMES               IA    50014‐7821

GERALD B AUCOMPAUGH & EDITH D AUCOMPAUGH JT       6387 BRIAN CIR LN                                                                               BURTON             MI    48509‐1374
TEN
GERALD B BATEMAN                                  1400 NORTON ST                                                                                  BURTON             MI    48529‐1259
GERALD B BUFFEY                                   1231 WILLOWOOD DR                                                                               FLINT              MI    48507‐3708
GERALD B BUMP                                     606 NORTHLAWN AVE                                                                               EAST LANSING       MI    48823‐3123
GERALD B CAMPBELL                                 555 PALISADES                                                                                   ORTONVILLE         MI    48462‐8533
GERALD B CARLSON                                  PO BOX 5651                                                                                     GRANTS PASS        OR    97527‐0651
GERALD B COAXUM                                   11566 HARTS ROAD                                                                                JACKSONVILLE       FL    32218‐3710
GERALD B COHEN                                    12 WAVERLY RD                                                                                   CHERRY HILL        NJ    08003‐1327
GERALD B COHEN CUST JAKE JOSEPH COHEN UGMA NY     3021 CRADLE MOUNTAIN DR                                                                         LAS VEGAS          NV    89134‐7518

GERALD B COPPERBERG JR                            8655 TONAWANDA CREEK ROAD                                                                       CLARENCE CENTER    NY    14032‐9637

GERALD B D AGOSTINO                               608 S 400 E                                                                                     KOKOMO             IN    46902‐9321
GERALD B DAY & AUDREY C DAY JT TEN                1598 EVALIE DR                                                                                  FAIRFIELD          OH    45014‐3517
GERALD B DOYLE & JUDITH DOYLE JT TEN              1923 E JOYCE BLVD                      APT 214                                                  FAYETTEVILLE       AR    72703‐5170
GERALD B ELLIOTT & JAMES L PICKETT JT TEN         12235 CARDOVA COURT                                                                             STERLING HEIGHTS   MI    48312‐3114

GERALD B GURIAN                                   8249 KENNEDY CIRCLE                    UNIT #3                                                  WARREN             MI    48093‐2148
GERALD B HANNA & JOAN C HANNA JT TEN              171 IDLEWOOD RD                                                                                 ROCHESTER          NY    14618‐3942
GERALD B HART & EDNA K HART JT TEN                36726 27 MILE RD                                                                                LENOX TWSP         MI    48048‐2306
GERALD B HAUPT & HILDA M HAUPT JT TEN             150 FARMSTEAD LN                       APT 310                                                  STATE COLLEGE      PA    16803‐3369
GERALD B HECK & ANN LIST HECK JT TEN              12687 HUNTERS RIDGE DR                                                                          BONITA SPGS        FL    34135‐3430
GERALD B HOOKER & SHARON L HOOKER JT TEN          12520 TALLMADGE NW                                                                              GRAND RAPIDS       MI    49544‐9513
GERALD B HOPPER                                   165 STEELE LN                                                                                   CORBIN             KY    40701‐4939
GERALD B JONES & MRS ANNE W JONES JT TEN          4625 E BRIDGEWATER LN                                                                           FAYETTEVILLE       AR    72703‐4670
GERALD B KRUPP TR GERALD B KRUPP REVOCABLE        1199 S SHELDON RD M‐93                                                                          PLYMOUTH           MI    48170‐2192
LIFETIME TRUST UA 02/09/98
GERALD B MEYER & LOIS K MEYER JT TEN              5170 CANDLEWOOD DR                                                                              FAYETTEVILLE       NY    13066‐1710
GERALD B MOONEY & KATHRYN S MOONEY JT TEN         4120 LORENE DR #102                                                                             ESTERO             FL    33920
GERALD B MROWCZYNSKI                              4970 BEDFORD                                                                                    DEARBORN HTS       MI    48125‐3404
GERALD B PETERS & BARBARA A PETERS JT TEN         8781 SW 54TH CT                                                                                 OCALA              FL    34476‐9446
GERALD B SMITH                                    5760 FOREST AVE                        PO BOX 206                                               OTTER LAKE         MI    48464‐0206
GERALD B SMITH JR                                 2777 SHARON COPLEY RD                                                                           MEDINA             OH    44256‐9718
GERALD BARIDA                                     352 BETTY DRIVE                        WINDSOR ON                             N8S 3W8 CANADA
GERALD BARRETT                                    490 BLOOMFIELD AVE                                                                              BLOOMFIELD         CT    06002‐2905
GERALD BEERS & JANE BEERS JT TEN                  233 WIND CHASE DR                                                                               MADISONVILLE       TN    37354
GERALD BENNETT MEYERS JR                          12923 CRICKET HOLLOW LANE                                                                       CYPRESS            TX    77429‐2263
GERALD BERCHOK & SHIRLEY ANN BERCHOK JT TEN       401 COWAN DR                                                                                    ELIZABETH          PA    15037‐2231

GERALD BERGER                                     C/O MR HARRY BERGER                    39 LOCUST RD                                             WINNETKA           IL    60093‐3725
GERALD BIERMANN CUST JEFF BIERMANN UNDER THE      1912 WILDFLOWER LN NE                                                                           ALEXANDRIA         MN    56308‐4714
UNIF GIFT TO MINOR MN
GERALD BILLUPS                                    C/O MRS PEARL LESTER                   1728 OAK ST                                              KENOVA             WV    25530‐1120
GERALD BODENMILLER                                1694 WOODBRIDGE CT                                                                              CANTON             MI    48188‐1251
GERALD BOGNER                                     215 RIVER ST                                                                                    SPRING LAKE        MI    49456‐2050
GERALD BONCHEK                                    43 HEMMINGWAY DR                       COURTICE ON                            L1E 2C7 CANADA
GERALD BONNER                                     431 GREEN MEADOWS                                                                               LANSING            MI    48917‐3032
GERALD BOTTOMS                                    16750 WINTHROP                                                                                  DETROIT            MI    48235‐3622
GERALD BOWIE                                      5202 FORESTHAVEN DRIVE                                                                          HOUSTON            TX    77066
GERALD BRADLEY                                    2760 INTERNATIONAL DR                  APT 624‐C                                                YPSILANTI          MI    48197‐3427
GERALD BRONIKOWSKI                                155 HAZELWOOD DRIVE                                                                             PRUDENVILLE        MI    48651‐9579
GERALD BRUECKNER                                  3774 BEACON WOODS DR                                                                            CLEVES             OH    45002‐2336
GERALD BRYANT                                     4942 MONTEREY MAPLE GROVE RD                                                                    BATAVIA            OH    45103‐8444
GERALD BRZEZINSKI                                 7171 GOLDEN EAGLE CT                   APT 1113                                                 FORT MYERS         FL    33912‐1749
GERALD BUNG KIN CHUNG                             3860 POKAPAHU PL                                                                                HONOLULU           HI    96816‐4411
GERALD BURNS                                      6370 BLACK WOLF POINT LANE                                                                      OSHKOSH            WI    54901‐7631
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Name                                              Address1                              Address2             Address3          Address4          City            State Zip

GERALD BURT SILBERMAN                             1365 YORK AVE                         APT 17C                                                  NEW YORK        NY    10021‐4050
GERALD C ANDERSEN                                 3560 GORDON                                                                                    STERLING HTS    MI    48310‐4345
GERALD C ANDERSON                                 5089 SABRINA LANE                                                                              WARREN          OH    44483‐1268
GERALD C APPOLD                                   6433 S EUCLID                                                                                  BAY CITY        MI    48706‐9302
GERALD C BARNES                                   1809 SNYDER AVE                                                                                BALTIMORE       MD    21222‐1711
GERALD C BAUGHMAN                                 3825 WEST HARPER RD                                                                            MASON           MI    48854‐9534
GERALD C BECKER & JOANNE M BECKER JT TEN          406 CRESTWOOD DR                                                                               EBENSBURG       PA    15931‐4331
GERALD C BLACK                                    8217 N SPLIT OAK                                                                               N CHARLESTON    SC    29420‐8569
GERALD C BOURNS & ELLA J BOURNS JT TEN            500 HELEN ST                                                                                   HIGHLAND        MI    48357‐4708
GERALD C BOURNS & ELLA JOANN BOURNS JT TEN        500 HELEN ST                                                                                   HIGHLAND        MI    48357‐4708
GERALD C BRAZIER                                  28365 BRUSH                                                                                    MADISON HTGS    MI    48071‐2803
GERALD C BRUNNER                                  1712 11TH ST                                                                                   BAY CITY        MI    48708‐6759
GERALD C BURNS                                    3816 VAN VLECK                                                                                 FENWICK         MI    48834‐9624
GERALD C CHRISTIE & CHRISTIE L FORBES JT TEN      315 LEXINGTON BLVD                                                                             ROYAL OAK       MI    48073‐2598
GERALD C COSENS                                   2113 SCHMIDT                                                                                   KAWKAWLIN       MI    48631‐9200
GERALD C DORRIS                                   5327 SOUTH COUNTY RD                  400 E                                                    CLAYTON         IN    46118‐9380
GERALD C FAIVER                                   79 S VALLEY DR                                                                                 SWARTZ CREEK    MI    48473‐8291
GERALD C FINNEY                                   3712 SMITHTOWN RD                                                                              EAST BEND       NC    27018‐8264
GERALD C FOX                                      11600 WOOD RD                                                                                  DEWITT          MI    48820‐9342
GERALD C GREEN                                    8 SHANLYN DR                                                                                   WILMINGTON      DE    19807‐1746
GERALD C HODGES                                   300 CEDAR STREET                                                                               MONTICELLO      FL    32344‐1502
GERALD C JACKSON                                  10901 NE 59                                                                                    SPENCER         OK    73084‐5019
GERALD C JENKINS                                  11050 PRESBYTERIAN DR                                                                          INDIANAPOLIS    IN    46236‐2997
GERALD C KLING & MAJORIE A KLING JT TEN           121 BUCK HILL DR                                                                               HOLLAND         PA    18966‐2822
GERALD C KLING & MARJORIE A KLING TEN ENT         121 BUCK HILL DR                                                                               HOLLAND         PA    18966‐2822
GERALD C MAAR                                     7590 4TH SECTION ROAD                                                                          BROCKPORT       NY    14420‐9606
GERALD C MAAR & SANDRA K MAAR JT TEN              7590 FOURTH SEC RD                                                                             BROCKPORT       NY    14420‐9606
GERALD C MAAR CUST HOLLY C MAAR UGMA NY           7590 FOURTH SECTION ROAD                                                                       BROCKPORT       NY    14420‐9606
GERALD C MAAR CUST HOLLY C MAAR UGMA NY           7590 FOURTH SECTION RD                                                                         BROCKPORT       NY    14420‐9606
GERALD C MAAR CUST SCOTT E MAAR UGMA NY           7590 FOURTH SECTION RD                                                                         BROCKPORT       NY    14420‐9606
GERALD C MACINTOSH                                6275 BARKER DR                                                                                 WATERFORD       MI    48329‐3109
GERALD C MANSFIELD                                60 1ST AVE                                                                                     OSINING         NY    10562‐2622
GERALD C MASTERS                                  10241 E RICHFIELD RD                                                                           DAVISON         MI    48423‐8404
GERALD C MATHIS                                   25660 SOUTHFIELD RD APT 205                                                                    SOUTHFIELD      MI    48075‐1840
GERALD C MEDER                                    PO BOX 1122                                                                                    PAULDEN         AZ    86334‐1122
GERALD C MEIRTHEW                                 PO BOX 34                                                                                      MOORESBURG      TN    37811‐0034
GERALD C MILLARD                                  1155 TRESSA COURT                                                                              DUBUQUE         IA    52003‐8725
GERALD C NELSON & DONNA J NELSON TR NELSON        7215 SOUTH FORK DR                                                                             SWARTZ CREEK    MI    48473‐9759
LIVING TRUST 02/22/01
GERALD C PRIMM                                    1307 SUMMIT AVE                                                                                GREENSBORO      NC    27405‐6751
GERALD C RAMALIA & NANCY J RAMALIA JT TEN         8165 28 RD                                                                                     HARRIETTA       MI    49638‐8708
GERALD C ROERSMA                                  890 ALPINE CHURCH RD                                                                           COMSTOCK PARK   MI    49321‐8355
GERALD C SABLOSKY                                 3815 MANAYUNK AVE                                                                              PHILADELPHIA    PA    19128‐5109
GERALD C SILVAS                                   1815 PUG RD                                                                                    SAINT CLAIR     MI    48079
GERALD C SOHN                                     1130 W TUSCOLA ST                                                                              FRANKENMUTH     MI    48734‐9202
GERALD C WEEKS                                    3699 RTE 81                                                                                    GREENVILLE      NY    12083
GERALD C WILLIAMS                                 1008 PALMERA DR N                                                                              LA FERIA        TX    78559‐6234
GERALD C WOOLSTON                                 3720 JOSEPHINE LANE                                                                            MASON           MI    48854‐9540
GERALD C WRIGHT                                   8111 W 50TH RD                                                                                 CADILLAC        MI    49601‐9360
GERALD C ZEBROWSKI & NANCY LEE ZEBROWSKI JT TEN   10 DICKMAN DR                                                                                  LAVALLETTE      NJ    08735‐2805

GERALD C ZETS                                     3544 WESTERN RESERVE RD                                                                        CANFIELD        OH    44406‐8110
GERALD CANN & MICHELE CANN JT TEN                 1027 WOODMERE DR                                                                               BETHLEHEM       PA    18017‐2339
GERALD CAPOZZI                                    2011 NEW LONDON TURNPIKE                                                                       COVENTRY        RI    02816‐4410
GERALD CHAIFETZ                                   102C OVERLOOK PASS                                                                             CLIFTON PARK    NY    12065‐4203
GERALD CHANCE                                     47452 PUTNEY CT                                                                                CANTON          MI    48188‐6266
GERALD CHANCE & MARIAN CHANCE JT TEN              47452 PUTNEY CT                                                                                CANTON          MI    48188‐6266
GERALD CHARLES SULLIVAN                           6531 LAKESIDE ROAD                                                                             ONTARIO         NY    14519‐9354
GERALD CINICOLA                                   330 WESTVIEW AVE                                                                               HUBBARD         OH    44425‐1965
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GERALD COLER & SHIRLEY COLER JT TEN              14 HUNTER RIDGE                         APMT # 2                                                 UNIONVILLE         CT    06085‐1040
GERALD CRISS                                     14249 35TH ST                                                                                    PERRY              KS    66073
GERALD CUPER & DIANE CUPER JT TEN                50020 HANCOCK ST                                                                                 CANTON             MI    48188‐6660
GERALD CYMBALSKY                                 522 SHORE RD                            APT 3WW                                                  LONG BEACH         NY    11561‐4567
GERALD D ANDERSON                                PO BOX 341                                                                                       FREELAND           MI    48623‐0341
GERALD D BAHR                                    11417 HERRINGTON RD                                                                              BYRON              MI    48418‐9508
GERALD D BAKER                                   5896 MARY SUE                                                                                    CLARKSTON          MI    48346‐3254
GERALD D BIRDSONG                                R R 1 BOX 3385                                                                                   DORA               MO    65637‐9411
GERALD D BORNMAN                                 2403 N SHADY FOREST LN                                                                           ORANGE             CA    92867‐1920
GERALD D BRAY                                    3335 WEIGL RD                                                                                    SAGINAW            MI    48609‐9792
GERALD D BROWN                                   10503 LEANN DR                                                                                   CLIO               MI    48420‐1960
GERALD D BUTLER                                  1112 ABERDEEN CIR                                                                                STOW               OH    44224‐2287
GERALD D CAMPBELL & JUDY R CAMPBELL JT TEN       4400 SPENCER LEE DRIVE                                                                           MILFORD            MI    48380‐1406
GERALD D CHAPMAN                                 8068 HARTLAND RD                                                                                 FENTON             MI    48430‐9514
GERALD D CLARK                                   605 WARREN AVE                                                                                   FLUSHING           MI    48433‐1458
GERALD D COOROUGH                                1021 S 14TH ST                                                                                   PRAIRIE DU CHIEN   WI    53821‐2317

GERALD D COOROUGH & ELDORA E COOROUGH JT TEN 1021 S 14TH ST                                                                                       PRAIRIE DU CHIEN   WI    53821‐2317

GERALD D COREY                                   9291 SHELLWAY DRIVE                                                                              RAPID CITY         MI    49676
GERALD D COSTELLO                                10335 E BIRCH RUN RD                                                                             BIRCH RUN          MI    48415‐9440
GERALD D COX                                     365 MORSE LANDING DR                                                                             CICERO             IN    46034‐9522
GERALD D DELANE                                  28 DRAKE LN                                                                                      LEDGEWOOD          NJ    07852‐9677
GERALD D DEROSSETT                               RT 3 BOX 306                                                                                     DUFFIELD           VA    24244‐9367
GERALD D EMLICH                                  105 E CRESCENT ST                                                                                MARQUETTE          MI    49855‐3614
GERALD D ENGEN                                   5495 EAST POTTER ROAD                                                                            FLINT              MI    48506‐2239
GERALD D FLANNERY                                PO BOX 591                                                                                       MANCELONA          MI    49659‐0591
GERALD D FRANCOUR                                417 N CHERRYWOOD                                                                                 MUNCIE             IN    47304‐9353
GERALD D GILLEY                                  24 PAUL RD                                                                                       NEW CASTLE         DE    19720‐1728
GERALD D GOODMAN                                 401 S 5TH ST                                                                                     CONTINENTAL        OH    45831
GERALD D GRAETZ & MARLENE DELEO‐GRAETZ JT TEN    7252 HEATHER HEATH LANE                                                                          WEST BLOOMFIELD    MI    48322‐3642

GERALD D GRIFFIN                                 402 SOUTH LINCOLN                                                                                CHARLOTTE          MI    48813‐1714
GERALD D HAGMAN                                  1054 CURZON ST                                                                                   HOWELL             MI    48843‐4177
GERALD D HAGMAN & KATHRYN J HAGMAN JT TEN        1054 CURZON ST                                                                                   HOWELL             MI    48843‐4177

GERALD D HINTON                                  4916 PAGE AVE                                                                                    MICHIGAN CENTER    MI    49254‐1157

GERALD D HUTCHISON                               3901 MIDNIGHT PATH                                                                               SAGINAW            MI    48603‐8504
GERALD D JAWORSKI                                215 WILLOW GREEN DR                                                                              AMHERST            NY    14228‐3470
GERALD D KERNER                                  1345 HOMESTEAD CREEK DR                                                                          BROADVIEW          OH    44147‐2580
                                                                                                                                                  HEIGHTS
GERALD D LACKEY                                  560 STOVER ROAD                                                                                  W ALEXANDRIA       OH    45381‐9302
GERALD D LARKIN TR UA 06/22/93 GERALD D LARKIN   37533 LYONS WOODS CT                                                                             BEACH PARK         IL    60087‐2317
PRIMARY TRUST
GERALD D LARSON & MRS JULIANN LARSON JT TEN      8815 32ND PL N                                                                                   MINNEAPOLIS        MN    55427‐2456

GERALD D LAURAIN                                 6239 LAFAYETTE                                                                                   DETROIT            MI    48209‐2310
GERALD D LIVERS                                  1386 CAMINO MELENO                                                                               SANTA BARBARA      CA    93111‐1009
GERALD D MARTINI                                 1515 EDGEWOOD ST NE                                                                              WARREN             OH    44483‐4123
GERALD D MAXWELL                                 1807 EASTCLIFF DR                                                                                DALLAS             TX    75217‐1260
GERALD D MC ELLISTREM                            443 E HASKELL ST                                                                                 WEST ST PAUL       MN    55118‐1600
GERALD D MC ELLISTREM & MRS MARJORIE S MC        443 E HASKELL ST                                                                                 WEST ST PAUL       MN    55118‐1600
ELLISTREM JT TEN
GERALD D MC MUNCHY                               1609 BELVO RD                                                                                    MIAMISBURG         OH    45342‐3817
GERALD D MCKINSTRY                               PO BOX 1077                                                                                      BALDWIN            MI    49304
GERALD D MCLINDEN & JOAN B MCLINDEN JT TEN       83 SPRING LAKE DR                                                                                STAFFORD           VA    22556‐6558

GERALD D MCNAIR & IRENE F MCNAIR JT TEN          2371 DENBY DR                                                                                    WATERFORD          MI    48329‐3810
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GERALD D MELAND                                 2323 HARVARD DR AP#37                                                                           JANESVILLE         WI    53545‐2769
GERALD D MILLER                                 1997 INDIAN ROAD                                                                                LAPEER             MI    48446‐8048
GERALD D MISEKOW                                2400 STARLITE DR                                                                                SAGINAW            MI    48603‐2537
GERALD D O'CALLAGHAN                            7 BRIGHAM CIR                          APT 10                                                   HUDSON             MA    01749
GERALD D OUTMAN                                 2337 ST HWY 184                                                                                 HEUVELTON          NY    13654‐3133
GERALD D OWENS                                  2200 ADAMS AVE                                                                                  NORWOOD            OH    45212‐3209
GERALD D PARSONS                                260 STEEPLECHASE LANE                                                                           MONROE             OH    45050‐2441
GERALD D PAYNE                                  2614 NE 307TH ST                                                                                TURNEY             MO    64493
GERALD D PERKINS                                3891 CAPE ROYAL ST                                                                              LAS VEGAS          NV    89147‐6578
GERALD D PETERSON                               46 WOOTEN COURT                                                                                 DOVER              DE    19904‐3863
GERALD D PHELPS                                 1218 KENSINGTON AV                                                                              FLINT              MI    48503‐5377
GERALD D PIGGOTT                                PO BOX 105                             210 NORTH HEYER ST                                       WESTPHALIA         MI    48894‐0105
GERALD D PLASKY                                 155 LAKESHORE VISTA                                                                             HOWELL             MI    48843‐7558
GERALD D RAFFA                                  5986 STONE HILL RD                                                                              LAKEVILLE          NY    14480‐9705
GERALD D RATAJCZAK                              1446 N VAN VLEET ROAD                                                                           FLUSHING           MI    48433‐9732
GERALD D RICHARDS                               6056 SUPERIOR                                                                                   BRIGHTON           MI    48116‐9518
GERALD D RICHMOND                               PO BOX 11                                                                                       SWARTZ CREEK       MI    48473‐0011
GERALD D SARNO                                  30 STILES RD                                                                                    BOYLSTON           MA    01505‐1508
GERALD D SCHLOBOHM                              1115 INDIAN LANE                                                                                INDEPENDENCE       MO    64056‐1130
GERALD D SEBASTIAN                              250 ELKVIEW RD                                                                                  LINCOLN            PA    19352‐9732
                                                                                                                                                UNIVERSITY
GERALD D SELTZ                                  895 SAINT BERNARD ST                                                                            MARYSVILLE         MI    48040‐1353
GERALD D SHINSKE                                6834 FOX LN                                                                                     WATERFORD          MI    48327‐3520
GERALD D SPENCE & PEGGY M SPENCE JT TEN         924 MEADOW HILL DR                                                                              LAVON              TX    75166‐1249
GERALD D SPROUSE                                RT 2 BOX 114AC                                                                                  POLO               MO    64671‐9802
GERALD D STEGALL & JUANITA STEGALL JT TEN       309 IRISH CIR                                                                                   HOPKINSVILLE       KY    42240‐1779
GERALD D STEWART CUST DAVID STEWART UGMA MI     12080 AMBER CT                                                                                  STERLING HEIGHTS   MI    48312‐2100

GERALD D STOVER                                 2163 GRANDVIEW RD                                                                               BEAVER          WV       25813‐9253
GERALD D SWARSENSKY TR SWARSENSKY TRUST UA      2058 THERESA STREET                                                                             MENDOTA HEIGHTS MN       55120‐1306
02/01/85
GERALD D SWOISH & GRAYCE ANN SWOISH JT TEN      4235 SKELTON RD                                                                                 COLUMBIAVILLE      MI    48421‐9753

GERALD D TAYLOR                                 2775 N STINE RD                                                                                 CHARLOTTE          MI    48813‐8832
GERALD D TEGENKAMP                              100 LAKE PLACE                                                                                  CONTINENTAL        OH    45831‐9567
GERALD D TILLMAN                                5007 NE 42ND ST                                                                                 KANSAS CITY        MO    64117‐2011
GERALD D TOMEY                                  61644 WINDRIDGE                                                                                 CENTREVILLE        MI    49032
GERALD D VESS                                   3256 59TH AVE                                                                                   VERO BEACH         FL    32966‐6470
GERALD D W DOBELL                               239 BALWYN RD                          NTH BALWYN           VICTORIA          3104 AUSTRALIA
GERALD D WARD                                   6995 LOUD DRIVE                                                                                 OSCODA             MI    48750‐9672
GERALD D WATROS                                 2089 WILLOW BEACH ST                                                                            KEEGO HARBOR       MI    48320‐1212
GERALD D WHIPPLE                                PO BOX 896                                                                                      HARRISON           MI    48625‐0896
GERALD D WISEMAN                                1661 JEFFERSON                                                                                  MONTEZUMA          IN    47862‐8001
GERALD D WOOD                                   5235 MISSION OAKS BLVD #375                                                                     CAMARILLO          CA    93012‐5400
GERALD DAMSKY CUST DAVID JASON DAMSKY UTMA FL   3110 EQUESTRIAN DR                                                                              BOCA RATON         FL    33434‐3358

GERALD DEAN                                     7234 BROOKS ROAD                                                                                BROWN CITY         MI    48416‐9016
GERALD DEE HAMILTON & JOANNE HAMILTON JT TEN    9074 BRENTWOOD ST                                                                               LIVONIA            MI    48150‐4082

GERALD DESCUTNER ADM EST JOSEPHINE STOSIC       17983 GLENWOOD DR                                                                               ABINGDON           VA    24211
GERALD DICKENS                                  2 FARNELL LANE                                                                                  PALM COAST         FL    32137
GERALD DITTO                                    349 HOPE RD                                                                                     HELENA             MT    59602‐9416
GERALD DORROS CUST ISA ILANA DORROS UTMA WI     25933 N 108TH PL                                                                                SCOTTSDALE         AZ    85255‐8110

GERALD DUANE BUTLER                             5354 SPICERVILLE HWY                                                                            EATON RAPIDS       MI    48827‐9035
GERALD DURAND                                   136 LARCH ST                                                                                    WOONSOCKET         RI    02895‐6712
GERALD E BAGDY                                  716 INDIAN WELLS RD                                                                             ALAMOGORDO         NM    88310‐6228
GERALD E BATES                                  1304 MARRA DRIVE                                                                                WATERTOWN          NY    13601‐4434
GERALD E BAUMGRAS                               2690 INDIAN TRAIL                                                                               PINCKNEY           MI    48169‐9567
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GERALD E BEAGLE & ANNA M BEAGLE JT TEN          8583 BAYBERRY NE                                                                                 WARREN             OH    44484‐1610
GERALD E BEHYMER                                459 GLINROSE LANE                                                                                CINCINNATI         OH    45244‐2238
GERALD E BELL & ANN L BELL JT TEN               14 FISHKILL HOOK RD                                                                              HOPEWELL JCT       NY    12533‐6412
GERALD E BENJAMIN                               1540 BRIDGEWATER WAY S                                                                           MANSFIELD          OH    44906
GERALD E BILBREY                                3407 E MAPLE AVE                                                                                 BURTON             MI    48529‐1815
GERALD E BRENT                                  1303 LEATHERWOOD RD                                                                              BEDFORD            IN    47421‐8758
GERALD E BRONDER                                216 N W BIRCH                                                                                    LEES SUMMIT        MO    64064‐1460
GERALD E BRYNN & BETTY J BRYNN JT TEN           511 RIMINI VISTA WAY                                                                             SUN CITY CTR       FL    33573
GERALD E BURNETT                                2350 RIDGE ROAD                                                                                  RANSOMVILLE        NY    14131‐9766
GERALD E BUSHART II                             16 BAILEY HOLLOW ROAD                                                                            STONY BROOK        NY    11790
GERALD E BYRD                                   4340 SQUIRREL ROAD                                                                               BLOOMFIELD HILLS   MI    48304‐3062

GERALD E CAMPBELL                               468 N GRANT AVE                                                                                  JANESVILLE         WI    53545‐3468
GERALD E CLARK                                  769 HOLDEN AVE                                                                                   SEBASTIAN          FL    32958
GERALD E CLARK & ELEANORE L CLARK JT TEN        769 HOLDEN AVE                                                                                   SEBASTIAN          FL    32958
GERALD E COLADO                                 275 N FRANKLIN ST                                                                                HOLBROOK           MA    02343‐1113
GERALD E COONEY                                 1906 PARKVIEW TER                                                                                SPRING LAKE        NJ    07762‐2222
                                                                                                                                                 HEIGHT
GERALD E CORDELL                                5662 KINGMAN AVE                                                                                 BUENA PARK         CA    90621‐1920
GERALD E COWEN                                  2432 HOLLYWOOD BLVD                                                                              HOLLYWOOD          FL    33020‐6607
GERALD E COWHY                                  7768 LAKE CREST DR                                                                               YPSILANTI          MI    48197‐8393
GERALD E COX & MRS ELEANOR J COX JT TEN         8942 LOST VALLEY DR                                                                              MARS               PA    16046
GERALD E DANNER                                 13950 BACKBONE RD                                                                                EDEN               MD    21822‐2319
GERALD E DEAKIN JR & PATRICIA K DEAKIN JT TEN   1430 YALE AVENUE                                                                                 SHREVEPORT         LA    71103
GERALD E DEHN & MRS JOANNE L DEHN JT TEN        26241 HUNTINGTON                                                                                 ROSEVILLE          MI    48066‐3415
GERALD E DEMARIA                                5365 HOLLENBECK RD                                                                               COLUMBIAVILLE      MI    48421‐9391
GERALD E DEVILLERS                              1339 AVENIDA DE APRISA                                                                           CAMARILLO          CA    93010‐7453
GERALD E DOBMEIER                               12219 REVERE AV                                                                                  MEDWAY             OH    45341‐9607
GERALD E EDSON & MARY L HUNT JT TEN             10462 S MILL ST                                                                                  TERRE HAUTE        IN    47802‐8559
GERALD E EUCKER                                 6538 SR 305 N E                                                                                  FOWLER             OH    44418‐9717
GERALD E FARR JR                                8974 RIDGE RD                                                                                    GASPORT            NY    14067‐9406
GERALD E FORD                                   1338 3RD AVE NW #124                                                                             FORT DODGE         IA    50501‐2272
GERALD E FRAWLEY & JOYCE Y FRAWLEY JT TEN       2211 WOODTHRUSH DR                                                                               DAVISON            MI    48423‐2061
GERALD E GNATKOWSKI                             936 W BROWN ST                                                                                   WANPUN             WI    53963‐1664
GERALD E GNATKOWSKI & MARILYN L GNATKOWSKI JT   936 W BROWN ST                                                                                   WAUPUN             WI    53963‐1664
TEN
GERALD E HEATH & LUCY J HARVILLE JT TEN         11743 DIXIE RD                                                                                   CENTRAL POINT      OR    97502‐9303
GERALD E HENDRIXSON                             995 GARVER ROAD                                                                                  MIDDLETOWN         OH    45044‐8929
GERALD E HOEFLING & LITSA HOEFLING JT TEN       14 COBBLESTONE PL                                                                                SAGINAW            MI    48603‐3545
GERALD E HOFFMAN                                11202 PINE COURT                                                                                 WASHINGTON TWP     MI    48094‐3723

GERALD E HOFFMAN & JOANNE E HOFFMAN JT TEN      11202 PINE COURT                                                                                 WASHINGTON TWP MI        48094‐3723

GERALD E HOLDEN                                 4104 WESTMOUNT DR                                                                                GREENSBORO         NC    27410‐2173
GERALD E HOOVER JR                              24 CABIN CREEK CT                                                                                BURTONSVILLE       MD    20866‐1841
GERALD E HOPSON                                 3070 E STANLEY ROAD                                                                              MT MORRIS          MI    48458‐8805
GERALD E HOSKINS                                ROUTE #1                                BOX 65C                                                  MACKS CREEK        MO    65786‐9612
GERALD E HUGHES                                 6035 S TRANSIT RD LOT 320                                                                        LOCKPORT           NY    14094‐6327
GERALD E JELLISON                               2575 SHAFFER RD                                                                                  BEAVERTON          MI    48612‐9423
GERALD E JONES                                  1009 MAPLE RD                                                                                    BALTIMORE          MD    21221‐6114
GERALD E JONES & SUSAN M JONES JT TEN           2206 GRAVENHURST DR                                                                              BLOOMINGTON        IL    61704‐4159
GERALD E KASPER                                 1443 CEDAR POINT RD                                                                              SANDUSKY           OH    44870‐5242
GERALD E KASTING & BELLE KASTING JT TEN         1640 RITTERSKAMP AVE                                                                             VINCENNES          IN    47591‐4934
GERALD E KEES                                   PO BOX 556                                                                                       BROOKHAVEN         MS    39602‐0556
GERALD E KLINE                                  271 COLONIAL DRIVE                                                                               MANSFIELD          OH    44903‐9103
GERALD E LAMALE                                 1106 PARK DR                                                                                     COOKEVILLE         TN    38501‐1943
GERALD E LAPP                                   2619 ANDERSON RD                                                                                 LINWOOD            NY    14486‐9708
GERALD E LOWE                                   3903 COLONIAL AVE                                                                                SAINT LOUIS        MO    63121‐2905
GERALD E MANSKER                                PO BOX 5176                                                                                      SAINT LOUIS        MO    63139‐0176
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GERALD E MCLACHLAN                              3541 F0REST ROAD                                                                                LAKE CITY          MI    49651‐9612
GERALD E MENSING & JEAN E MENSING JT TEN        11401 ORCHARD DR                                                                                RAPID CITY         MI    49676‐9604
GERALD E MICHALAK                               24476 WALTER DR                                                                                 FLAT ROCK          MI    48134‐9153
GERALD E MILLS                                  410 KATYDID DR                                                                                  WINCHESTER         VA    22603‐4035
GERALD E MONAHAN & VIVIAN J MONAHAN TR          1012 RIDGECLIFF LN                                                                              LA CA FLINTRIDGE   CA    91011‐1852
MONAHAN TRUST UA 07/23/93
GERALD E MONZO                                  5434 DUNBAR DR                                                                                  GRAND BLANC        MI    48439‐9152
GERALD E MUSGROVE                               2721 CR 429                                                                                     CLEBURNE           TX    76031
GERALD E OMEARA & H ANN OMEARA JT TEN           867 AUGUSTA DR                                                                                  ROHCESTER HILLS    MI    48309‐1533
GERALD E OVERBAUGH                              116 W FAIRMOUNT                                                                                 PONTIAC            MI    48340‐2736
GERALD E PROUSE & MAYBELLE PROUSE JT TEN        17684 SOUTWEST FREDERICK LANE                                                                   SHERWOOD           OR    97140
GERALD E REDDAWAY                               763 NORTH LONG LAKE BLVD                                                                        LAKE ORION         MI    48362‐1661
GERALD E REYNOLDS                               1508 EVERGREEN CT                                                                               ADAMS              WI    53910‐9594
GERALD E RIDER                                  845 LAMB RD                                                                                     MASON              MI    48854‐9445
GERALD E RINKE                                  12200 WHITE LAKE RD                                                                             FENTON             MI    48430‐2571
GERALD E RINKE & JANET B RINKE JT TEN           12200 WHITE LAKE RD                                                                             FENTON             MI    48430‐2571
GERALD E RINKE & JANET B RINKE JT TEN           12200 WHITE LAKE RD                                                                             FENTON             MI    48430‐2571
GERALD E RUTHERFORD                             612 VAUGHANS GAP RD                                                                             SPRING HILL        TN    37174‐2582
GERALD E SANDERS                                1744 BERNAY BLVD                                                                                TALLAHASSEE        FL    32303‐3101
GERALD E SEELEY JR CUST JOSHUA SEELEY UGMA NY   16 MOUNTAIN VIEW AVE                                                                            E GREENBUSH        NY    12061‐2106

GERALD E SKINNER                                2067 HAMILTON ROAD                                                                              OKEMOS             MI    48864‐2104
GERALD E SNEARY                                 11119 RIDGEHAVEN DR                                                                             KEITHVILLE         LA    71047‐8703
GERALD E STARTEK                                71 BRUNSWICK AVENUE                    OSHAWA ON                              L1H 6P2 CANADA
GERALD E SYGIT                                  14618 RIVERSIDE ST                                                                              LIVONIA            MI    48154‐5131
GERALD E TELLIER                                45 PEMBERS PASS                        WOODSTOCK ON                           N4S 8Z5 CANADA
GERALD E THOMAS                                 900 N CASS LAKE RD                     APT 306                                                  WATERFORD          MI    48328‐2388
GERALD E THORNTON                               27165 MARSHALL ST                                                                               SOUTHFIELD         MI    48076‐5140
GERALD E THURMOND                               3548 LOLLAR BRANCH RD                                                                           SULLIVAN           MO    63080‐4058
GERALD E TITUS                                  7840 N TROY ROAD                                                                                GREENFIELD         IN    46140‐9028
GERALD E TOBBE                                  18987 PIERPORT CT                                                                               CLINTON TWP        MI    48038‐5521
GERALD E TOMSCHIN                               512 ANNET STREET                                                                                HENDERSON          NV    89052‐2618
GERALD E TREGEA                                 120 WESTMAR DRIVE                                                                               ROCHESTER          NY    14624‐2542
GERALD E VOECKS                                 2408 JANET LEE DR                                                                               LA CRESCENTA       CA    91214‐2234
GERALD E WALBORN                                223 CAPISTRANO                                                                                  TOLEDO             OH    43612‐3400
GERALD E WALKER                                 7209 AUBURN LANE                                                                                NEW PORT RICHEY    FL    34654‐5806

GERALD E WHEELER                                14205 FAGAN ROAD                                                                                HOLLY              MI    48442‐9793
GERALD E WHITTEN & CHERYL L WHITTEN JT TEN      967 ST ANDREWS CIRCLE                                                                           GENEVA             IL    60134‐2995
GERALD E WIESE                                  2419 BENEDICT LN                                                                                SHELBY TWP         MI    48316‐2007
GERALD E WILLMAN & BEVERLY A WILLMAN JT TEN     2084 W MAPLE AVE                                                                                FLINT              MI    48507‐3502

GERALD E YEASTER & JOANNE M YEASTER JT TEN      13234 N MORRISH RD                                                                              MONTROSE           MI    48457‐9724
GERALD E ZIMMERMAN                              5154 LAKE ST                                                                                    GLENNIE            MI    48737‐9331
GERALD EDISON BELCHER                           2326 GARLAND                                                                                    SYLVAN LAKE        MI    48320‐1621
GERALD ENZWEILER & BARBARA ENZWEILER JT TEN     3 THACKER CT                                                                                    ALEXANDRIA         KY    41001‐1108

GERALD F ASH                                    257 PROSPECT RDG                                                                                N CLARENDON        VT    05759
GERALD F BINS                                   PO BOX 2132                                                                                     WAUSAU             WI    54402‐2132
GERALD F BINS & MARILYN C BINS JT TEN           PO BOX 2132                                                                                     WAUSAU             WI    54402‐2132
GERALD F BLOYE                                  7160 OLD RIVER RD                                                                               PHILO              OH    43771‐9774
GERALD F BOWERMAN                               4210 8TH AVE NE                                                                                 NAPLES             FL    34120‐9000
GERALD F BROSKI & DONNA M BROSKI JT TEN         7080 ASHLAWN DR                                                                                 BRECKSVILLE        OH    44141‐1067
GERALD F CHESTNUT                               7558 STATE ROUTE 164                   APT 164                                                  LISBON             OH    44432‐9382
GERALD F CROSSLEY                               1477 HILLSIDE LANE                                                                              HOWELL             MI    48843‐9464
GERALD F DELANEY                                4504 KENWOOD                                                                                    WICHITA FALLS      TX    76310‐2032
GERALD F DITTENBER                              1950 MAPLE SHADE DRIVE                                                                          WILLIAMSTON        MI    48895‐9345
GERALD F EHLERT                                 1025 BROOKHILL DR                                                                               KILLEN             AL    35645‐8805
GERALD F FOZO                                   274 LAUREL DR                                                                                   ANDERSON           IN    46017‐9311
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GERALD F GALLO                                      20 IMPERIAL RD                                                                                 WORCESTER          MA    01604‐1648
GERALD F GEORGE                                     51 ASBURY TERRACE                                                                              SAN FRANCISCO      CA    94117‐4501
GERALD F GILLAND                                    PO BOX 811                                                                                     FRENCH CAMP        CA    95231‐0811
GERALD F HARCEK                                     3301 NORTH LINDEN RD                                                                           FLINT              MI    48504‐1752
GERALD F HAUSE & SHIRLEY J HAUSE JT TEN             773 COOLIDGE RD                                                                                BIRMINGHAM         MI    48009‐5852
GERALD F HENDRICKSON                                3625 LA CASITA AVE                    APT 101                                                  TRAVERSE CITY      MI    49684‐4653
GERALD F HENSCHEL                                   826 W 14TH AVE                                                                                 APACHE JCT         AZ    85220
GERALD F HORTON                                     72 HOMESTEAD LANE                                                                              TROY               MO    63379
GERALD F KING                                       7209 TIMBER PASS                                                                               FORT WAYNE         IN    46804‐7425
GERALD F KINSEL & GAIL A KINSEL JT TEN              34732 EAST LAKE DR                                                                             HARRISON           MI    48045
                                                                                                                                                   TOWNSHIP
GERALD F KLUCK & MRS SALLY A KLUCK JT TEN    1020 VAN WORMER ROAD                                                                                  SAGINAW            MI    48609‐9559
GERALD F KROMER                              8642 E OTERO PL                                                                                       CENTENNIAL         CO    80112‐3317
GERALD F KRUCHTEN                            197 LOWELL ROAD                                                                                       KENMORE            NY    14217‐1254
GERALD F KRYSZAK & MARY L KRYSZAK JT TEN     5982 RED FEATHER DR                                                                                   BAY CITY           MI    48706‐3490
GERALD F KUHN                                1059 N WUTHERING HILLS DR                                                                             JANESVILLE         WI    53546‐1745
GERALD F LENHART                             14206 HIGHLAND CENTE RD                                                                               DEFIANCE           OH    43512
GERALD F LEPPEK                              2196 REPPUHN DR                                                                                       BAY CITY           MI    48706‐9465
GERALD F MARRA                               300 BANBURY LN                                                                                        NATRONA            PA    15065‐2828
GERALD F MARTINEK                            123 JOSEPH STREET                                                                                     HAWK POINT         MO    63349‐2204
GERALD F MATHEWSON                           1336 N COLLING RD                                                                                     CARO               MI    48723‐9799
GERALD F MC GOVERN                           8 LEGION ROAD                                                                                         WESTON             MA    02493‐2153
GERALD F MC MASTER                           844 WOODRIDGE HILLS DR                                                                                BRIGHTON           MI    48116‐2402
GERALD F MCCARTEN                            1195 SUTTON AVE                              OSHAWA ON                              L1H 8G2 CANADA
GERALD F MCKOWN                              RD 1                                                                                                  PLYMOUTH           OH    44865‐9801
GERALD F MEIER                               682 CASS AVE                                                                                          BAY CITY           MI    48708‐8522
GERALD F MEYERS JR                           1013 SUMMERFIELD DR                                                                                   MARYVILLE          TN    37801‐8995
GERALD F MEYERS JR & MARIE E MEYERS JT TEN   1013 SUMMERFIELD DR                                                                                   MARYVILLE          TN    37801‐8995
GERALD F MURPHY                              204 NORA ST                                                                                           FARMERSVILLE       IL    62533‐7839
GERALD F NEUMANN CUST ERIC S NEUMANN UGMA OH 6934 STAGECOACH TRL                                                                                   VALLEY CITY        OH    44280‐9455

GERALD F NICHOLS                                    3854 RANDOLPH RD                                                                               MOGADORE           OH    44260‐9456
GERALD F NORTH                                      8932 BRAIRWOOD                                                                                 PLYMOUTH           MI    48170‐4702
GERALD F NORTH & KATHRYN F NORTH JT TEN             8932 BRIARWOOD                                                                                 PLYMOUTH           MI    48170‐4702
GERALD F NYE & DONALD A NYE JT TEN                  10895 N SHORE DR                                                                               NORTHPORT          MI    49670‐9752
GERALD F PASTUSZKA                                  28180 LORRAINE                                                                                 WARREN             MI    48093‐4947
GERALD F PUROL                                      7759 WEST SAGINAW HGWY                                                                         LANSING            MI    48917‐9711
GERALD F QUINN                                      4949 LONE RD                                                                                   FREELAND           MI    48623‐9276
GERALD F RAASCH JR                                  6852 PENRIDGE DR                                                                               DAYTON             OH    45459‐6603
GERALD F RICKARD CUST ROBERT G RICKARD UNDER        PO BOX 84                                                                                      WAYMART            PA    18472‐0084
THE PENNSYLVANIA U‐G‐M‐A
GERALD F ROBERTSON                                  121 WILD ROSE WAY                                                                              STATE COLLEGE      PA    16801‐8903
GERALD F SCHROEDER & MARILYN J SCHROEDER JT TEN     17145 FIFTH ST                        PO BOX 226                                               ARCADIA            MI    49613‐0226

GERALD F SHREVE & ARLOA A SHREVE JT TEN             4243 BROCKWAY RD                                                                               SAGINAW            MI    48638‐4778
GERALD F SLABIENSKI                                 39877 BAKER DRIVE                                                                              STERLING HEIGHTS   MI    48310‐1906

GERALD F SLABIENSKI & CAROL A SLABIENSKI JT TEN     39877 BAKER DRIVE                                                                              STERLING HEIGHTS   MI    48310‐1906

GERALD F SMAGACZ                                    8838 HUNTING TRL                                                                               INDIANAPOLIS       IN    46217‐4617
GERALD F SZAAL                                      187 S LHS DR                          APT 208                                                  LUMBERTON          TX    77657
GERALD F SZUKALA & JOANNE E SZUKALA JT TEN          1535 MARCUS COURT WEST                                                                         PARK RIDGE         IL    60068‐1575
GERALD F WILKINSON TR UA 06/05/82 F/B/O GERALD F    3231 WHITEHORSE RD                                                                             RICHMOND           VA    23235‐1319
WILKINSON
GERALD F WILSON                                     6217 BLACKJACK RD                                                                              FLOWERY BRANCH     GA    30542‐5506

GERALD F X CRUMLISH                                 1723 DELANCEY ST                                                                               PHILADELPHIA       PA    19103‐6714
GERALD FLEMING                                      PO BOX 2726                                                                                    DETROIT            MI    48202‐0726
GERALD FRANCIS SHEEHAN                              20619 VISTA DR                                                                                 TORRANCE           CA    90503‐3119
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GERALD FRIESNER                                   RT 2                                                                                           OAKWOOD          OH    45873‐9802
GERALD G BLOMQUIST & CAROL J BLOMQUIST JT TEN     4805 EAGER ROAD                                                                                HOWELL           MI    48843‐9727

GERALD G BROWN                                    244 SE 31 TERRACE                                                                              CAPE CORAL       FL    33904
GERALD G CLUNY                                    1715 CHRISTINE                                                                                 ST CHARLES       MO    63303‐4013
GERALD G DAVIS & MRS ERNESTEENE DAVIS JT TEN      6546 WINONA AVENUE                                                                             ALLEN PARK       MI    48101‐2324

GERALD G DENT                                     1 SOUTH 615 WEST                                                                               BLACKFOOT        ID    83221‐6160
GERALD G DRESSLAER & OLIVE MAURINE DRESSLAER JT   856 NORTH CC HIGHWAY                                                                           LAMAR            MO    64759‐9358
TEN
GERALD G EBENHOEH                                 10231 SILVERCREEK DR                                                                           FRANKENMUTH      MI    48734‐9122
GERALD G EKLUND                                   4582 CRESTA VERDE LANE                                                                         BONITA           CA    91902‐1404
GERALD G FODOR                                    8325 HIGHWAY 305                                                                               COLDWATER        MS    38618‐7978
GERALD G FOSTER                                   5227 KUSZMAUL N W                                                                              WARREN           OH    44483‐1258
GERALD G FREER JR                                 PO BOX 613                                                                                     ALLEN PARK       MI    48101‐0613
GERALD G GOFF                                     201 W JACKSON ST                                                                               LANSING          MI    48906‐4022
GERALD G GOGUEN II                                652 TULARE ST                                                                                  PETALUMA         CA    94954‐8537
GERALD G GRANGER                                  224 LELAND PL                                                                                  LANSING          MI    48917‐3523
GERALD G GURSKE & SHARON L GURSKE JT TEN          2434 HENRY ST                                                                                  PORT HURON       MI    48060‐7350
GERALD G HAMROCK                                  6245 FARMINGTON CIR                                                                            CANFIELD         OH    44406‐9533
GERALD G IANTOMASI                                221 SOUTHCREST DRIVE                  SEAGRAVE ON                            L0C 1G0 CANADA
GERALD G JAHN                                     APT 2                                 1421 STATE ST                                            EAU CLAIRE       WI    54701‐4821
GERALD G KARSKY                                   10418 94TH ST NE                                                                               LANGDON          ND    58249‐9089
GERALD G MARTINO                                  81 LINDEN AVE                         APT 212                                                  ROCHESTER        NY    14610‐3555
GERALD G MATTISON                                 PO BOX 1421                                                                                    SARATOGA SPRINGS NY    12866‐0885

GERALD G MC INNES                                 APT E‐11                              5940 21ST ST N                                           SAINT PETERSBURG FL    33714‐4760

GERALD G MCCORMICK                                14620 CLARK STREET                                                                             ATLANTA          MI    49709‐9527
GERALD G MCINNES & DARREN J MCINNES JT TEN        APT E‐11                              5940 21ST STREET N                                       SAINT PETERSBURG FL    33714‐4760

GERALD G MILLER                                   PO BOX 695                                                                                     COOKEVILLE       TN    38503‐0695
GERALD G MOORE                                    1710 FLAJOLE RD                                                                                MIDLAND          MI    48642‐9220
GERALD G MORSE & MRS PATRICIA A MORSE JT TEN      239 DILLAWAY ST                                                                                MUSCATINE        IA    52761‐3014

GERALD G MROZ                                     9235 NORTH KLUG RD                                                                             MILTON           WI    53563‐9327
GERALD G NEUMANN                                  732 S MADISON AVE                                                                              BAY CITY         MI    48708‐7257
GERALD G O'BOYLE                                  PO 238                                                                                         OMER             MI    48749
GERALD G PECK & BARBARA G PECK JT TEN             10154 BORGMAN AVE                                                                              HUNTINGTN WDS    MI    48070‐1145
GERALD G REED                                     1864 MANNING RD                       WHITBY ON                              L1N 3M3 CANADA
GERALD G ROBERSON & JEANETTE A ROBERSON JT TEN    12043 BARBARA ANN DRIVE                                                                        ROMEO            MI    48065

GERALD G RUSSELL & THOMAS M RUSSELL JT TEN        712 GREEN VALLEY RD NW                                                                         ALBUQUERQUE      NM    87107‐6234
GERALD G SCHWEMMIN & BARBARA S SCHWEMMIN          5425 CHANTILLY                                                                                 SARASOTA         FL    34235‐4629
TEN ENT
GERALD G STEPHENS                                 2892 VAN WORMER ROAD                                                                           SAGINAW          MI    48609‐9789
GERALD G TAYLOR                                   28 N CNUDDE DR                                                                                 BAY CITY         MI    48708‐9108
GERALD G WEBERG                                   27 PHEASANT DR                                                                                 FOND DU LAC      WI    54935‐5328
GERALD G WILSON                                   16409 GEORGE DR                                                                                OAKFOREST        IL    60452‐4209
GERALD GALAMBOS                                   3518 COOK RD                                                                                   ROOTSTOWN        OH    44272‐9652
GERALD GARDNER                                    124 SW 69TH STREET                                                                             LAWTON           OK    73505‐6732
GERALD GARSTON                                    47 HALL RD                                                                                     EASTFORD         CT    06242‐9303
GERALD GEORGE GUANCI                              6630 W WRIGHTWOOD                                                                              CHICAGO          IL    60707‐2228
GERALD GOODMAN TOD PAMELA REEVES SUBJECT TO       317 ARILEEN AVE                                                                                GRAND BLANC      MI    48439‐1110
STA TOD RULES
GERALD GRAY CUST ANNELISE GRAY UGMA MI            7557 CHURCH HWY                                                                                ROGERS CITY      MI    49779‐9721
GERALD GROSSMAN & MRS FLORENCE GROSSMAN JT        226‐43 76TH RD                                                                                 BAYSIDE          NY    11364‐3139
TEN
GERALD GULICK                                     224 W CENTER ST                                                                                NAZARETH         PA    18064‐1901
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GERALD H ALFREDSON                           8715 34TH AVE                                                                                         KENOSHA            WI    53142‐2530
GERALD H BLOODGOOD & ANNA R BLOODGOOD JT TEN 39C SEAFOAM AVE                                                                                       WINFIELD           NJ    07036‐6620

GERALD H BLUM                                22750 FREDERICK                                                                                       FARMINGTON       MI      48336‐3925
GERALD H DICKINSON                           721 ROOSEVELT ST                                                                                      MASON            MI      48854‐1829
GERALD H FISHER & MARCIA K FISHER JT TEN     1100 S ST MARYS                                                                                       SIOUX CITY       IA      51106‐1313
GERALD H GRAVES                              24732 ARROWHEAD DR                                                                                    MACOMB           MI      48042
GERALD H GUNST                               10265 ARNOLD RD                                                                                       FAIR HAVEN       MI      48023‐1001
GERALD H HEFLIN                              3161 MADISON RD                                                                                       CINCINNATI       OH      45209‐1335
GERALD H HOSKINS                             5302 AMSDEN                                                                                           TOLEDO           OH      43613‐2633
GERALD H INCH                                10 CHERRY HILL CT                                                                                     DEARBORN         MI      48124‐1115
GERALD H JOHNSON & MONA M JOHNSON JT TEN     PO BOX 1083                                                                                           ANGEL FIRE       NM      87710‐1083
GERALD H KASCHNER                            5694 CROSWELL ROAD                                                                                    WATERFORD        MI      48327‐1319
GERALD H KATZ                                12 SALEM STREET                                                                                       CAMBRIDGE        MA      02139‐4026
GERALD H KRUG                                5404 EAST COUNTY ROAD 350 S                                                                           PLAINFIELD       IN      46168‐8340
GERALD H LEVIN                               3509 OVERBROOK ROAD                                                                                   BALTIMORE        MD      21208‐4318
GERALD H MAKOWSKI & MARGARET E MAKOWSKI JT   21993 CRESCENT CT                                                                                     FARMINGTON HILLS MI      48335‐4201
TEN
GERALD H MORRISSETTE                         107 E SAINT JOHNS WAY                                                                                 APOLLO BEACH       FL    33572‐2218
GERALD H RANDALL                             200 OAKWOOD AVE                                                                                       TROY               NY    12182‐1623
GERALD H ROLLEN                              2400 N IVANHOE                                                                                        MUNCIE             IN    47304‐2426
GERALD H RUSSELL                             3446 SANDY SHORE DR                                                                                   METAMORA           MI    48455‐8974
GERALD H SECKEL                              3999 HERBEY                                                                                           CANTON             MI    48188‐2421
GERALD H SMITH                               10141 JENNINGS RD                                                                                     CLIO               MI    48420‐1985
GERALD H SMITH                               5215 E LINDSTROM LN                                                                                   MESA               AZ    85215‐2623
GERALD H SMITH & SUSAN K SMITH JT TEN        5215 E LINDSTROM LN                                                                                   MESA               AZ    85215‐2623
GERALD H SPRAGUE & MARLA J SPRAGUE TR UA     12488 N HOLLY RD                                                                                      HOLLY              MI    48442
10/27/94 GERALD H &
GERALD H VERUS & CORALYN VERUS JT TEN        5255 E VIENNA RD                                                                                      CLIO               MI    48420‐9770
GERALD HARDACRE & HELLEN HARDACRE JT TEN     2912 THISTLE DRIVE                                                                                    LAKE HAVASU CITY   AZ    86406‐6116

GERALD HARDMAN & BETTY H HARDMAN JT TEN      1501 SUTTON DR                                                                                        KINSTON            NC    28501‐2611
GERALD HAUSLER                               37 COVINGTON COURT                                                                                    SCHENECTADY        NY    12309‐1323
GERALD HELTON & CAROL N HELTON JT TEN        3690 DARRAH WAY SW                                                                                    ATLANTA            GA    30331‐5333
GERALD HENCKEL                               3451 HWY NN                                                                                           WEST BEND          WI    53095‐8722
GERALD HENRY CARROLL                         4534 ALABAMA HIGHWAY 51                                                                               OPELIKA            AL    36804‐8218
GERALD HENRY NIESTER                         248 ORANGE TREE DR                                                                                    LAKE WORTH         FL    33462‐1130
GERALD HILE                                  120 BAYSHORE DR                                                                                       CICERO             IN    46034
GERALD HILL & DELLA M HILL JT TEN            410 GEORGIA AVE                                                                                       CHESTER            WV    26034‐1512
GERALD HOUSIER                               149 THE WOODS                                                                                         BEDFORD            IN    47421‐9300
GERALD HUBERT                                603 LINDA LN                           APT A                                                          WENTZVILLE         MO    63385‐1080
GERALD HURD                                  3621 FENLEY RD                                                                                        CLEVE HTS          OH    44121‐1347
GERALD I BEHYMER                             942 CAMBRIDGE                                                                                         MASON              OH    45040‐1007
GERALD I NELSON                              7071 SEYMOUR RD                                                                                       SWARTZ CREEK       MI    48473‐7608
GERALD I RADER                               1806 STONE HILL DR                                                                                    FINDLEY            OH    45840‐7322
GERALD I SCHER                               ONE MARINE VIEW PLAZA                  BOX 25‐D                                                       HOBOKEN            NJ    07030‐0025
GERALD I YUDELL                              12 CANTERBURY RD S                                                                                    HARRISON           NY    10528‐2316
GERALD J ABER                                6057 STEELE RD                                                                                        MURRYSVILLE        PA    15668‐9351
GERALD J BABBITT                             2629 HESTON RD                                                                                        VIRGINIA BEACH     VA    23451‐1705
GERALD J BAUER                               905 WORCHESTER DR                                                                                     FENTON             MI    48430‐1816
GERALD J BEST & TERI L BEST JT TEN           4591 PATTERSON LAKE RD                                                                                PINCKNEY           MI    48169‐8727
GERALD J BEYER                               3245 VASSAR RD                                                                                        REESE              MI    48757‐9335
GERALD J BIESZK                              10640 BUNTON RD                                                                                       WILLIS             MI    48191‐9718
GERALD J BILA                                #63                                    5152 S MORRISH RD                                              SWARTZ CREEK       MI    48473‐1355
GERALD J BILLOW                              161 BUCKMINSTER RD                                                                                    BROOKLINE          MA    02445‐5805
GERALD J BISHOFF & JOAN E BISHOFF JT TEN     3462 WOODRIDGE DRIVE                                                                                  FLUSHING           MI    48433‐9789
GERALD J BLAKE                               9965 GODDARD                                                                                          OVERLAND PARK      KS    66214‐2349
GERALD J BOYLE & JOAN M BOYLE JT TEN         1811 WINDERMERE AVE                                                                                   WILM               DE    19804‐4044
GERALD J BRILEY                              UNIT 140                               4444 EAST PARADISE   VILLAGE PARKWAY NORTH                     PHOENIX            AZ    85032‐6835
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GERALD J CARAHER JR                              8918 W 102ND ST                                                                               OVERLAND PARK      KS    66212‐4233
GERALD J CARLSON                                 1146 KRA‐MUR DR                                                                               BURTON             MI    48509‐1629
GERALD J CEJER                                   14071 JAMES AVE                                                                               MAPLE HEIGHTS      OH    44137‐4103
GERALD J CHARBONEAU                              5995 CHICKADEE                                                                                CLARKSTON          MI    48346‐2912
GERALD J COLEMAN                                 8249 RICHFIELD RD                                                                             DAVISON            MI    48423‐8582
GERALD J COLEMAN & CAROL L COLEMAN JT TEN        8249 RICHFIELD RD                                                                             DAVISON            MI    48423‐8582
GERALD J CONNORS JR & MRS SUSAN JEAN CONNORS JT 3667 MOUNT VERNON AVE                                                                          LAS VEGAS          NV    89121‐4441
TEN
GERALD J CORLEW                                  7219 N CLIO RD                                                                                MOUNT MORRIS       MI    48458‐8227
GERALD J CROGHAN                                 472 E GRAND BLVD                                                                              YPSILANTI          MI    48198‐4129
GERALD J CUNNINGHAM                              PO BOX 336                                                                                    HARRISON           MI    48625‐0336
GERALD J DANEK                                   211 STATE STREET                                                                              LESLIE             MI    49251‐9448
GERALD J DANIELS                                 15901 HEYDEN                                                                                  DETROIT            MI    48223‐1242
GERALD J DESALVO                                 3742 DEVON DRIVE S E                                                                          WARREN             OH    44484‐2628
GERALD J DESIMPELAERE                            5657 N KIRK RD                                                                                UNIONVILLE         MI    48767‐9415
GERALD J DOSTAL                                  PO BOX 7613                                                                                   FLINT              MI    48507‐0613
GERALD J DOVE                                    3245 RUDDOCK RD                                                                               AVOCA              MI    48006‐4520
GERALD J DYBAS                                   2443 W GERMAN ROAD                                                                            BAY CITY           MI    48708‐9652
GERALD J EMKE                                    403 LAC ST CLAIRE                                                                             ST CLAIRE SHORES   MI    48082
GERALD J ENGEL TR GERALD J ENGEL REVOCABLE TRUST 20410 HILLSBORO DR                                                                            MACOMB             MI    48044‐3548
UA 07/14/98                                                                                                                                    TOWNSHIP
GERALD J ESMACHER                                19430 LEXINGTON                                                                               DETROIT            MI    48240‐1514
GERALD J ESSER                                   6715 GOODRICH                                                                                 FORT WAYNE         IN    46804‐7201
GERALD J FERENCY                                 170 PONDVIEW DR                                                                               SOUTHINGTON        CT    06489‐3937
GERALD J FONGER                                  2630 S CAMP 10 RD                                                                             ELMIRA             MI    49730‐9707
GERALD J FORTIN & RITA T FORTIN JT TEN           86 TOBICO BEACH                                                                               BAY CITY           MI    48706‐1197
GERALD J FREUND                                  9436 MURPHY RD                                                                                LYONS              MI    48851‐9777
GERALD J GABEL CUST NICHOLS ANTON GABEL UGMA     1374 CAYTON RD                                                                                FLORENCE           KY    41042
CA
GERALD J GALLO & NORMA L GALLO JT TEN            47898 SANDY RIDGE DR                                                                          MACOMB             MI    48044‐5921
GERALD J GIAMMARCO                               4150 EVANS RD                                                                                 HOLLY              MI    48442‐9467
GERALD J GONCALO JR CUST JONATHAN F GONCALO      PO BOX 535                                                                                    DERRY              NH    03038‐0535
UTMA MA
GERALD J GONSECKI                                4 COHANSEY CR                                                                                 NEWARK             DE    19702‐2701
GERALD J GREMBOWSKI                              1714 GARFIELD AVE                                                                             BAY CITY           MI    48708‐7841
GERALD J GRIFFIN                                 1782 GRIFFITH                                                                                 BERKLEY            MI    48072‐1223
GERALD J GROSSI & EDWARD A DUDGEON JT TEN        PO BOX 25125                                                                                  LANSING            MI    48911
GERALD J GROSSO                                  902 E ST JAMES AVE                                                                            ORANGE             CA    92865‐2429
GERALD J HAEFFEL                                 26012 WINDERMERE DR                                                                           WIND LAKE          WI    53185‐2746
GERALD J HALGAS & CAROLYN HALGAS JT TEN          1174 BAGDAD RD                                                                                LEECHBURG          PA    15656‐9513
GERALD J HEIDER                                  236 E 30TH ST                                                                                 KANSAS CITY        MO    64108‐3213
GERALD J HUDGINS                                 1620 DEVONSHIRE LN                                                                            SHOREWOOD          IL    60431‐8181
GERALD J HUDSON                                  6641 PIERCE                                                                                   FREELAND           MI    48623‐8624
GERALD J IGNASH                                  1168 E BUCKHORN CIR                                                                           SANFORD            MI    48657‐9241
GERALD J JOHNSON                                 2565 W N UNION RD                                                                             BAY CITY           MI    48706‐9268
GERALD J JOHNSON & LORRAINE A JOHNSON TEN ENT 2565 W N UNION RD                                                                                BAY CITY           MI    48706‐9204

GERALD J KANIA                                   3319 GREENFIELD RD                   #504                                                     DEARBORN           MI    48120
GERALD J KLIKA                                   7670 W PARKSIDE                                                                               BOARDMAN           OH    44512‐5319
GERALD J KLOTZMAN                                3300 WOODVALLEY DR                                                                            BALTIMORE          MD    21208‐1955
GERALD J KOCIEMBA                                4380 MCKEACHIE ROAD                                                                           WHITE LAKE         MI    48383‐1622
GERALD J KOZLOWSKI                               38553 COVINGTON                                                                               STERLING HTS       MI    48312‐1311
GERALD J KRAJEWSKI                               3049 ATLANTIS DR                                                                              HOLIDAY            FL    34691‐4811
GERALD J KROSKA & CAROL A KROSKA JT TEN          5135 N SEYMOUR                                                                                FLUSHING           MI    48433‐1064
GERALD J KULAS                                   APT 410                              10315 W GREENFIELD                                       WEST ALLIS         WI    53214‐3919
GERALD J LA FOUNTAIN & EDNA LA FOUNTAIN JT TEN   2203 W FORK RD                                                                                LAPEER             MI    48446‐8039

GERALD J LABIAK                                  8252 MARIAN                                                                                   WARREN             MI    48093‐2765
GERALD J LAFNEAR                                 PO BOX 21                                                                                     PRESCOTT           MI    48756‐0021
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GERALD J LAGACE                                    27 MINE RD                                                                                       BRISTOL           CT    06010‐2410
GERALD J LANGE                                     1439 SHIPMAN BLVD                                                                                BIRMINGHAM        MI    48009‐1933
GERALD J LIPSINSKY & SHARON E LIPSINSKY JT TEN     5912 TELEGRAPH RD                                                                                SAINT LOUIS       MO    63129‐4716

GERALD J LOCASCIO                                  5210 OAKVIEW DR                                                                                  SWARTZ CREEK      MI    48473‐1284
GERALD J LUSTILA                                   2800 BLANCHE                                                                                     MELVINDALE        MI    48122‐1802
GERALD J MALASZECKI & MRS JEAN M MALASZECKI JT     9048 BROUS AVE                                                                                   PHILADELPHIA      PA    19152‐1406
TEN
GERALD J MANKOSKI                                  10110 MAJO CT                                                                                    RANCHO CORDOVA CA       95670‐3142

GERALD J MANTYK                                    7276 AQUA ISLES DR                                                                               ALGONAC           MI    48001‐4200
GERALD J MASSOTH                                   8210 COBBLESTONE DR #D1                                                                          PALOS HILLS       IL    60465‐3204
GERALD J MC CONOMY                                 315 KEITHWOOD ROAD                                                                               WYNNEWOOD         PA    19096‐1213
GERALD J MC CORMICK                                3996 BAISCH DR                                                                                   N TONAWANDA       NY    14120‐1336
GERALD J MC INTYRE                                 2903 BUNGALOW LN                                                                                 HENDERSON         NV    89074‐5757
GERALD J MCBRIDE & OLIVIA R MCBRIDE JT TEN         140 DEGUY AVENUE                                                                                 HANOVER           PA    17331‐1329
GERALD J MCCOY                                     17127 HWY 81                                                                                     BRODHEAD          WI    53520‐9358
GERALD J MCPHILLIPS                                5600 FERRET DR                                                                                   FORT MOHAVE       AZ    86426‐8849
GERALD J MERKE                                     509 N YORK                                                                                       DEARBORN          MI    48128‐1782
GERALD J MIKOSZ & DESIREE G GOODALE‐MIKOSZ JT      20913 W SNOWBERRY LANE                                                                           PLAINFIELD        IL    60544
TEN
GERALD J MILLER                                    14206 EASTVIEW DR                                                                                FENTON            MI    48430‐1306
GERALD J MINTER                                    2627 W 21ST PL                                                                                   CHICAGO           IL    60608‐3512
GERALD J MONTGOMERY                                275 MIDLAND RD                                                                                   PINEHURST         NC    28374‐8743
GERALD J MOORE & KATHLEEN A MOORE JT TEN           5155 ONA LAKE DR                                                                                 WHITE LAKE        MI    48383‐3255
GERALD J NAGY & PAMELA G NAGY JT TEN               2230 TIMBERWOOD CT                                                                               DAVISON           MI    48423‐9532
GERALD J NAGY & PAMELA G NAGY JT TEN               2230 TIMBERWOOD CT                                                                               DAVISON           MI    48423‐9532
GERALD J NINDORF                                   86 S LAKESHORE DR                                                                                BROOKFIELD        CT    06804‐1429
GERALD J O HALLORAN                                7065 SOUTH GRAY COURT                                                                            LITTLETON         CO    80128
GERALD J O'NEILL                                   2505 SAN JOAQUIN CT                                                                              SAN DIEGO         CA    92109‐2316
GERALD J OBERSKI & ROSE H OBERSKI JT TEN           36338 CLIFFORD                                                                                   STERLING HGTS     MI    48312‐3116
GERALD J PANOCH                                    5201 S TORREY PINES DR #1241                                                                     LAS VEGAS         NV    89118‐0611
GERALD J PAQUETTE                                  97 CHESTER ST                                                                                    WOONSOCKET        RI    02895‐1311
GERALD J PARTICKA & NANCY J PARTICKA JT TEN        18926 S BISHOP RD                                                                                CHESANING         MI    48616‐9717
GERALD J PERROU                                    1078 E TOBIAS RD                                                                                 CLIO              MI    48420‐1767
GERALD J PESCARA                                   13930 WATERPORT CARLTON RD                                                                       ALBION            NY    14411‐9167
GERALD J PORCZAK TR GERALD J PORCZAK TRUST UA      1590 EMMETT DR                                                                                   FREMONT           OH    43420‐3602
09/07/90
GERALD J POTTER                                    2496 SUE ANN LANE                                                                                FLINT             MI    48507‐3553
GERALD J REZAB                                     5509 GONDLIER DR                                                                                 NEW BERN          NC    28560‐9002
GERALD J RIVARD                                    1149 N MACKINAW                                                                                  LINWOOD           MI    48634‐9457
GERALD J ROWE                                      10177 W MT MORRIS ROAD                                                                           FLUSHING          MI    48433‐9260
GERALD J RYAN                                      2856 GLENWOOD SPRINGS DR                                                                         GLENWOOD          MD    21738‐9700
GERALD J RYAN CUST MEGAN ELIZABETH RYAN UGMA       2856 GLENWOOD SPRINGS DRIVE                                                                      GLENWOOD          MD    21738‐9700
MD
GERALD J SABIN                                     10774 BIVENS RD                                                                                  NASHVILLE         MI    49073‐9504
GERALD J SCARMUZZI JR                              304 N BENTLEY                                                                                    NILES             OH    44446‐5206
GERALD J SCHMITT                                   11841 R 2 W PRICE ROAD                                                                           WESTPHALIA        MI    48894
GERALD J SCHROCK                                   3185 AARON LN                                                                                    TRAVERSE CITY     MI    49684‐7987
GERALD J SCHUTTER                                  24331 CONDON                                                                                     OAK PARK          MI    48237‐1670
GERALD J SHEPARD & LORRAINE R SHEPARD JT TEN       3422 POPLAR BCH                                                                                  CANANDAIGUA       NY    14424‐2360

GERALD J SHINE & ELEANOR A SHINE JT TEN            916 HIGHLAND                                                                                     CHICAGO HEIGHTS   IL    60411‐2022

GERALD J SOETE                                     1712 STEVENS AVE                                                                                 LOUISVILLE        KY    40205‐1045
GERALD J STADLER & JAMES P STADLER JT TEN          513 S BLACKHAWK ST                                                                               JANESVILLE        WI    53525
GERALD J STEWART                                   5500 HESSLER RD                                                                                  MUNCIE            IN    47304‐8965
GERALD J STRELICK                                  2212 FLAT CREEK DR                                                                               RICHARDSON        TX    75080‐2332
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GERALD J SULLIVAN CUST CHARLES J SULLIVAN UNDER   1079 BRIGHT STREAM WAY                                                                         WEBSTER          NY    14580‐8747
GIFTS TO MINORS ACT NY
GERALD J SUPINA                                   1046 PUEBLO PASS                                                                               LAKE ISABELLA    MI    48893‐9322
GERALD J SWITZER                                  17866 BEVERLY RD                                                                               BIRMINGHAM       MI    48025‐5542
GERALD J THEIS                                    N11530 MUSKELLUNGE LAKE RD                                                                     TOMAHAWK         WI    54487‐9709
GERALD J THOMPSON                                 3362 NORTHWOOD DR                                                                              FLINT            MI    48504‐6549
GERALD J VEERKAMP                                 4712 N 300 E                                                                                   SHELBYVILLE      IN    46176‐9437
GERALD J VOGEL                                    5763 DEFIANCE AVE                                                                              BROOK PARK       OH    44142‐2518
GERALD J WADE                                     1710 BROADWAY                                                                                  NILES            OH    44446‐2058
GERALD J WALWORTH & BEVERLY WALWORTH JT TEN       82 CANTERBURY LN                                                                               KENMORE          NY    14217‐1102

GERALD J WILDEY                                   8901 OAKMONT DRIVE                                                                             OKLAHOMA CITY    OK    73131‐7235
GERALD J WILLIAMS                                 5150 PLATT SPRINGS RD                 LOT 25                                                   LEXINGTON        SC    29073‐9609
GERALD J WISNEWSKI                                106 MICHAEL LANE                                                                               BEAR             DE    19701‐2052
GERALD J WISZOWATY                                19947 EAST CLAIRVIEW CT                                                                        GROSSE PTE WOODS MI    48236‐2303

GERALD JAMES MCBRIDE JR                           140 DE GUY AVE                                                                                 HANOVER          PA    17331‐1329
GERALD JAMES REBER                                69 WELDRICK RD                        RICHMOND HILL ON                       L4C 3T9 CANADA
GERALD JAY LINDMAN TR GERALD JAY LINDMAN TRUST    RR 2 BOX 4054                                                                                  PAHOA            HI    96778‐9750
UA 09/18/96
GERALD JEWELL                                     1209 GLENAIRE NW                                                                               GRAND RAPIDS     MI    49544‐1725
GERALD JONES                                      3776 ROCKPORT PLACE SW                                                                         ATLANTA          GA    30331‐3731
GERALD K ANDERS                                   6201 MANCHESTER DRIVE                                                                          FORT WAYNE       IN    46835‐3777
GERALD K ANDREWS                                  9938 W 121ST ST                                                                                OVERLAND PARK    KS    66213‐1640
GERALD K AUTH & NANCY J AUTH JT TEN               4117 BROOKVIEW COURT                                                                           ANN ARBOR        MI    48108‐2768
GERALD K BUCHHOLZ                                 9005 ROBINDALE                                                                                 REDFORD          MI    48239‐1578
GERALD K BUCHHOLZ & SHIRLEY L BUCHHOLZ JT TEN     9005 ROBINDALE ST                                                                              REDFORD          MI    48239‐1578

GERALD K BYROADE                               3015 SALISBURY AVE                                                                                BALTIMORE        MD    21219‐1234
GERALD K DRUMMER                               1947 VOLNEY RD                                                                                    YOUNGSTOWN       OH    44511‐1430
GERALD K FORD & MARILYN A FORD JT TEN          1300 TOMMY LANE                                                                                   ATHENS           AL    35611‐4757
GERALD K GEECK                                 3798 CRESTWOOD DR                                                                                 OXFORD           MI    48371
GERALD K HALL                                  9350 BASS RIVER RD                                                                                WEST OLIVE       MI    49460‐9638
GERALD K JOHNSON CUST GERALD K JOHNSON JR UGMA 4266 VALLEY TRAIL DR SE                                                                           ATLANTA          GA    30339‐4643
AR
GERALD K KUISTBERG & KARL D KUISTBERG JT TEN   837 23RD AVE N                                                                                    SAINT CLOUD      MN    56303‐2510

GERALD K LARABY                               8693 BRADLEY RD                                                                                    SAGINAW          MI    48601‐9436
GERALD K MCKEITH & PATSY L MCKEITH JT TEN     8601 WOOD ST                              PO BOX 366                                               MECOFTA          MI    49332‐0366
GERALD K MORTON                               737 QUATERSTAFF ROAD                                                                               WINSTON SALEM    NC    27104‐1640
GERALD K NAKATA & KATHY M NAKATA TR GKN & KMN 4136 94TH PL SE                                                                                    MERCER ISLAND    WA    98040‐4255
LIVING TRUST UA 08/28/91
GERALD K W WONG                               2876 KOMAIA PL                                                                                     HONOLULU         HI    96822‐1745
GERALD KAATZ                                  N7081 H‐15                                                                                         SHINGLETON       MI    49884
GERALD KAHL                                   12986 MT VIEW RD                                                                                   SONORA           CA    95370
GERALD KAMICKA                                102 WILDRIDGE TRAIL                                                                                UNIVERSAL CITY   TX    78148‐5506
GERALD KEDZIERSKI                             8131 RACINE ST                                                                                     WARREN           MI    48093‐6745
GERALD KING                                   8025 CASPIAN MOON DR                                                                               LAS VEGAS        NV    89166‐3710
GERALD KLASKO TOD DOAK KLASKO SUBJECT TO STA  1054 NORTHCREST RD                                                                                 LANSING          MI    48906‐1200
TOD RULES
GERALD KONKOL                                 1050 WETTERS ROAD                                                                                  KAWKAWLIN        MI    48631‐9468
GERALD KRAJNOVIC                              12647 E HUGHTON LK DR                                                                              HOUGHTON LAKE    MI    48629‐9690
GERALD KRIER                                                                                                                                     REMSEN           IA    51050
GERALD KRUPNIKOFF CUST HENERY KRUPNIKOFF UGMA 20 VILLAGE VIEW LN                                                                                 UNIONVILLE       CT    06085‐1568
CT
GERALD KUBRICK & SANDRA KUBRICK JT TEN        240‐16 65TH AVE                                                                                    DOUGLASTON       NY    11362‐1921
GERALD KUESSNER                               77‐6383 HALAWAI STREET                                                                             KAILUA‐KONA      HI    96740‐2296
GERALD L ALSVIG                               815 S PRESIDENT                                                                                    WHEATON          IL    60187‐6607
GERALD L ALVESTEFFER                          2615 SUNVALLEY                                                                                     JENISON          MI    49428‐8715
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GERALD L ARING                                      15 SHAWNEE LN                                                                                      FT MYERS BCH    FL    33931‐2513
GERALD L ATKINS SR                                  3822 HILLCREST EAST                                                                                HILLIARD        OH    43026‐1604
GERALD L BAGLEY                                     4461 MCCLURE RD                                                                                    ACWORTH         GA    30101‐3964
GERALD L BALLARD                                    300 EDGEWOOD DRIVE                                                                                 BELLEVILLE      IL    62223‐4005
GERALD L BARBER & MRS JANICE M BARBER JT TEN        5400 WYNDEMERE COMMON SQ                                                                           SWARTZ CREEK    MI    48473‐8918

GERALD L BAUER                                      8006 RIVERSIDE RD                                                                                  BROOKLYN        MI    49230‐8957
GERALD L BELL                                       6320 DORWOOD RD                                                                                    SAGINAW         MI    48601‐9322
GERALD L BENSON                                     5608 HYLAND COURTS DR                                                                              BLOOMINGTON     MN    55437‐1931
GERALD L BENSON & SANDRA L BENSON JT TEN            5608 HYLAND COURTS DR                                                                              BLOOMINGTON     MN    55437‐1931
GERALD L BERTKE                                     4052 GEO HAWK ROAD                                                                                 SHELBY          OH    44875‐9000
GERALD L BETTES                                     1843 LATHRUP AVE                                                                                   SAGINAW         MI    48603‐4752
GERALD L BONIKOSKI                                  3233 NE 34TH ST                         APT 1208                                                   FT LAUDERDALE   FL    33308‐6946
GERALD L BONIKOWSKI & KATHRYN E BONIKOWSKI JT       3233 NE 34TH ST                         APT 1208                                                   FT LAUDERDALE   FL    33308‐6946
TEN
GERALD L BOWE                                       106 SUMMIT PLACE                                                                                   LANSDALE        PA    19446‐6716
GERALD L BRYAN                                      10239 DAR LN                                                                                       GOODRICH        MI    48438‐9034
GERALD L BUMGARNER                                  1735 S OSBORNE AVE                                                                                 JANESVILLE      WI    53546‐5719
GERALD L BUNGARD                                    188 STATE RD                                                                                       WARREN          OH    44483‐1620
GERALD L CARPIGNANO TOD GERTRUDE M                  743 GREENWOOD RD                                                                                   UNION           NJ    07083
CARPIGNANO SUBJECT TO STA TOD RULES
GERALD L CRAWFORD                                   2296 N IRISH RD                                                                                    DAVISON         MI    48423‐9562
GERALD L CRAWFORD                                   0654 LEBARON ST                                                                                    PONTIAC         MI    48340‐3010
GERALD L CRIST                                      17723 PRINCESS AV                                                                                  ROMULUS         MI    48174‐9508
GERALD L CROWE                                      39945 PARADA ST                                                                                    NEWARK          CA    94560‐5313
GERALD L DILLON                                     217 E HOWARD                                                                                       SEDALIA         MO    65301‐3441
GERALD L DOEBLER                                    3200 RIFLE RIVER TRAIL                                                                             PRESCOTT        MI    48756‐9249
GERALD L DORSEY                                     5150 SAINT PAUL BL                                                                                 ROCHESTER       NY    14617‐1117
GERALD L DOVERSPIKE & SHIRLEY R DOVERSPIKE JT TEN   6 STEWART ST                                                                                       WATERLOO        NY    13165‐1621

GERALD L DYKSTRA                                    13845 36TH ST                                                                                      LOWELL          MI    49331‐9359
GERALD L EBERHARDT                                  19709 AVALON                                                                                       ST CLAIR SHRS   MI    48080‐3342
GERALD L ELLEMAN                                    5533 LE FEVER RD                                                                                   CASSTOWN        OH    45312‐9749
GERALD L FERRONE                                    177 GARDEN AVE                                                                                     BELLEVILLE      NJ    07109‐1770
GERALD L FINLEY                                     14310 RIDGE ROAD                                                                                   N HUNTINGDON    PA    15642‐6103
GERALD L FLEWELLING                                 200 VALLEY DR                                                                                      FENTON          MI    48430‐2950
GERALD L FORST TOD CATHERINE A FORST SUBJECT TO     1930 S WALNUT ST                                                                                   JANESVILLE      WI    53546
STA TOD RULES
GERALD L FORST TOD KAREN A FORST SUBJECT TO STA     1930 S WALNUT ST                                                                                   JANESVILLE      WI    53546
TOD RULES
GERALD L FOUCHER & MARIA ELENA FOUCHER JT TEN       CASILLA 228                             CORREO 35 TOBALABA   SANTIAGO          CHILE

GERALD L GAGNON SR                                  9223 S LINDEN RD                                                                                   SWARTZ CREEK    MI    48473‐9143
GERALD L GARDNER                                    20089 KEYSTONE                                                                                     DETROIT         MI    48234‐2312
GERALD L GARTEE                                     152 HAZEY MORN CT                                                                                  ORTONVILLE      MI    48462‐9466
GERALD L GAUNT                                      1889 MERIDIAN ST                                                                                   REESE           MI    48757‐9456
GERALD L GIRARDOT                                   4813 BISMARC DRIVE                                                                                 DEL CITY        OK    73115‐4413
GERALD L GLISSON                                    1830 CULVER HILL DR                                                                                WILLIAMSTON     MI    48895‐9780
GERALD L GUINN                                      3716 SUWANEE CREEK CT                                                                              SUWANEE         GA    30024‐2435
GERALD L GUSEK                                      3865 S HURDS                                                                                       MAYVILLE        MI    48744‐9720
GERALD L HALL & MRS JUDITH A HALL JT TEN            2914 WHITFIELD DR                                                                                  SAGINAW         MI    48603‐3279
GERALD L HALLQUIST & MARY F HALLQUIST JT TEN        263 LAWRENCE CORNER ROAD                                                                           ELMER           NJ    08318‐2562

GERALD L HANSEN                                     PO BOX 373                                                                                         ROCHESTER       WI    53167‐0373
GERALD L HARRIS                                     PO BOX 13198                                                                                       FAIRLAWN        OH    44334‐8598
GERALD L HARRIS                                     4670 JAYCOX RD                                                                                     AVON            OH    44011‐2437
GERALD L HASSELL JR                                 17621 MATTHEWS                                                                                     RIVERVIEW       MI    48192‐4745
GERALD L HENGENIUS                                  35980 TIMBER RIDGE LN                                                                              WILLOUGHBY      OH    44094‐4170
GERALD L HOCKENBERRY                                145 57TH ST                                                                                        NIAGARA FALLS   NY    14304‐3807
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GERALD L HOLLINGSWORTH                             611 W HOWARD                                                                                    MUNCIE           IN    47305‐2247
GERALD L HOWARD                                    1920 ARTHUR ST                         APT 33                                                   KLAMATH FALLS    OR    97603‐4632
GERALD L HUNT                                      6022 GAINES FERRY RD                                                                            FLOWERY BRANCH   GA    30542‐5303

GERALD L HURST JR                                  5904 SILVERBIRCH                                                                                ORTONVILLE       MI    48462‐9520
GERALD L HYNSON                                    703 COBBLE CREEK CU                                                                             NEWARK           DE    19702‐2421
GERALD L JASPER                                    1449 BOWERS ROAD                                                                                LAPEER           MI    48446‐3124
GERALD L JOHNSON                                   461 E SOUTH STREET                                                                              KENNETT SQR      PA    19348‐3618
GERALD L JOHNSON                                   8090 OHERN RD                                                                                   SAGINAW          MI    48609‐5113
GERALD L KAMRATH                                   1470 KETTERING                                                                                  BURTON           MI    48509‐2406
GERALD L KAMRATH & JANYCE J KAMRATH JT TEN         1470 KETTERING                                                                                  BURTONN          MI    48509‐2406
GERALD L KELLEY                                    5997 MCCOMB ST                                                                                  DEFORD           MI    48729‐9754
GERALD L KELLY                                     611 PERRIEN PL                                                                                  GROSSE POINTE    MI    48236‐1132
GERALD L KOVL & EVELYN M KOVL JT TEN               8083 W FARRAND RD                                                                               MONTROSE         MI    48457‐9725
GERALD L KUPRES                                    569 HELEN                                                                                       MT MORRIS        MI    48458‐1922
GERALD L LANNING                                   12420 TORREY RD                                                                                 FENTON           MI    48430‐9621
GERALD L LEACH                                     4821 HENRY ROAD                                                                                 JACKSON          MI    49201‐7425
GERALD L LEGG                                      2950 BEDFORD                                                                                    DELTONA          FL    32738‐1380
GERALD L LEPAGE                                    1825 HAYNES                                                                                     BIRMINGHAM       MI    48009‐6822
GERALD L LOUKES                                    11470 HERRINGTON                                                                                BYRON            MI    48418‐9508
GERALD L MASTBAUM                                  3720 LISBON ST                                                                                  KETTERING        OH    45429‐4247
GERALD L MC CLURE JR                               10852 LAMBS RD                                                                                  RILEY            MI    48041‐3311
GERALD L MC KEEVER                                 3207 NASHVILLE HWY                                                                              LEWISBURG        TN    37091‐6234
GERALD L MCDONNELL                                 840 KIRKWOOD DR                                                                                 MIDDLEVILLE      MI    49333‐8870
GERALD L MCNARY                                    11661 E EATON‐ALBANY PIKE                                                                       DUNKIRK          IN    47336‐9112
GERALD L MERCIER                                   34036 TAWAS TRAIL                                                                               WESTLAND         MI    48185‐2320
GERALD L MEYER                                     28451 MUKLKEY STATION RD                                                                        CONCORDIA        MO    64020‐9201
GERALD L MEYERS CUST CORY BROERSMA UGMA MI         17780 MAPLEWOOD                                                                                 GRAND HAVEN      MI    49417‐9365

GERALD L MICHALIK                                  2567 LUCINDA                                                                                    PRESCOTT         MI    48756‐9339
GERALD L MILLER JR                                 11985 STATE ROUTE 106                                                                           KINGSLEY         PA    18826
GERALD L ONTJES & CAROLINE L ONTJES JT TEN         3369 S ROCK CITY RD                                                                             RIDOTT           IL    61067
GERALD L OWENS                                     805 N W OXFORD                                                                                  BLUE SPRINGS     MO    64015‐2866
GERALD L PARSONS                                   836 THOMAS L PARKWAY                                                                            LANSING          MI    48917
GERALD L PFAFF & PATRICIA R PFAFF JT TEN           6732 CORY DR                                                                                    HUNTINGTON       CA    92647‐5613
                                                                                                                                                   BEACH
GERALD L PRICE                                     510 ELIZABETH DR                                                                                OWOSSO           MI    48867‐9152
GERALD L QUELLET                                   249 S HAAS ST                                                                                   FRANKENMUTH      MI    48734‐1721
GERALD L READY                                     331 S 1ST ST                                                                                    CLEARWATER       KS    67026‐9452
GERALD L REED & MRS KATHLYN J REED JT TEN          3517 COSEYBAURN DR                                                                              WATERFORD        MI    48329‐4205
GERALD L RINTAMAKI                                 1216 PINERIDGE TRL                                                                              CHEBOYGAN        MI    49721‐8848
GERALD L RINTAMAKI & MRS PATRICIA S RINTAMAKI JT   1216 PINERIDGE TRL                                                                              CHEBOYGAN        MI    49721‐8848
TEN
GERALD L RIVARD                                    8736 W HUNT ST                                                                                  MEARS            MI    49436‐9335
GERALD L ROBERTS                                   5515 SHAMROCK LANE                                                                              FLINT            MI    48506‐2237
GERALD L ROMENESKO & PATRICIA A ROMENESKO JT       3616 N WINTERSET DR                                                                             APPLETON         WI    54911
TEN
GERALD L ROY                                       1303 BRADY AVE                                                                                  BURTON           MI    48529‐2007
GERALD L ROY JR                                    1303 BRADY AVE                                                                                  BURTON           MI    48529‐2007
GERALD L RUSS & JANET M RUSS JT TEN                1813 LINCOLN AVE                                                                                CREST HILL       IL    60435‐1929
GERALD L RUSSELL                                   5885 PUEBLO TRL                                                                                 GAYLORD          MI    49735
GERALD L SANDERS                                   4449 SWEETBAY ST                                                                                PORT CHARLOTTE   FL    33948‐2449
GERALD L SAYLOR                                    145 W RIDGEWAY DR                                                                               CENTERVILLE      OH    45459‐4709
GERALD L SCHAFER                                   233 ANDOVERHILLS                                                                                FAIRLESS HILLS   PA    19030‐2201
GERALD L SCHILLING                                 2932 W 100 N                                                                                    GREENFIELD       IN    46140‐8314
GERALD L SHOWALTER                                 2203 WEST 250 NORTH                                                                             ANDERSON         IN    46011‐9258
GERALD L SMITH                                     4399 WILLOUGHBY RD                                                                              HOLT             MI    48842‐9725
GERALD L SMITH                                     12721 S HOMESTEAD RD                                                                            SAULT S MARIE    MI    49783‐8886
GERALD L SPAULDING                                 8400 RIDGE RD                                                                                   GOODRICH         MI    48438‐8840
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GERALD L SPOTTS                                     10 SOUTH 25TH ST                                                                             POTTSVILLE       PA    17901‐3133
GERALD L ST PIERRE                                  360 STATE ST                        LASALLE ON                             N9J 3H1 CANADA
GERALD L STANLEY & PATRICIA M STANLEY JT TEN        PO BOX 626                                                                                   INDIAN RIVER     MI    49749‐0626
GERALD L STATELER & ELIZABETH J STATELER JT TEN     30011 MOULIN                                                                                 WARREN           MI    48088‐3151

GERALD L STEPHENSON                                 1181 GUILDERWOOD BLVD               LONDON ON                              N6H 4G8 CANADA
GERALD L STEVEN                                     10451 NW ROYAL ROSE ST                                                                       PORTLAND         OR    97229‐5269
GERALD L SULLIVAN                                   346 HOPEWELL ST                                                                              GRAND PRAIRIE    TX    75052‐3328
GERALD L TATTERSALL                                 1989 MORRICE RD                                                                              OWOSSO           MI    48867‐8913
GERALD L THARP                                      1344 PAMELA DR                                                                               FRANKLIN         IN    46131
GERALD L TUMBUSH                                    1867 HICKORY RIDGE DR                                                                        DAYTON           OH    45432‐4035
GERALD L UHRIG & CAROL A UHRIG JT TEN               3226 ARIZONA AVE                                                                             FLINT            MI    48506‐2551
GERALD L VAN SOLKEMA                                5510 IVANREST SW                                                                             GRANDVILLE       MI    49418‐9100
GERALD L VANVLEET                                   BROOKFIELD RD R 4                                                                            CHARLOTTE        MI    48813
GERALD L WALSH & ANN T WALSH TR WALSH FAMILY        650 FOXENWOOD DR                                                                             SANTA MARIA      CA    93455‐4223
TRUST UA 07/27/99
GERALD L WENSINK                                    7309 COCONUT DR                                                                              JENISON          MI    49428‐8722
GERALD L WENSINK & KATHLEEN J WENSINK JT TEN        7309 COCONUT DR                                                                              JENISON          MI    49428‐8722

GERALD L WHITE                                    18 DIMONDI CT                                                                                  DOVER            DE    19901‐6259
GERALD L WILCOX                                   10052 HOGAN RD                                                                                 SWARTZ CREEK     MI    48473‐9119
GERALD L WILLOUGHBY                               31 JEWEL DR                                                                                    MULBERRY         AR    72947‐9144
GERALD L WOLFE                                    12656 W PINE LAKE RD                                                                           SALEM            OH    44460‐9119
GERALD L WOOD                                     50 GOLDENWOOD AVE                                                                              MANSFIELD        OH    44904‐8906
GERALD L WOOD & VERA M WOOD JT TEN                172 STATE PARK DR                                                                              BAY CITY         MI    48706‐2152
GERALD L WORDEN                                   6363 MOCKINGBIRD                                                                               CLARKSTON        MI    48346‐3042
GERALD L YOUNGLOVE                                10050 BOND RD                                                                                  DE WITT          MI    48820‐9780
GERALD L ZERBST & LINDA ZERBST JT TEN             11545 PARDEE                                                                                   TAYLOR           MI    48180‐4228
GERALD L ZIETLIN UNION ANESTHESIA ASSOCIATES PROF UNION HOSPITAL                        500 LYNFIELD ST                                          LYNN             MA    01904‐1424
SHAR TR DTD 10/10/69
GERALD LANDER TR GERALD LANDER TRUST UA           2202 ACACIA PARK DR APT 2615                                                                   LYNDHURST        OH    44124
09/29/87
GERALD LEE IRBY                                   371 WOODSON LANE                                                                               LAFOLLETTE       TN    37766‐4957
GERALD LEE SCHORG                                 21764 TAMARACK AVE                                                                             REMSEN           IA    51050‐8720
GERALD LENDZION SR CUST GERALD LENDZION JR UTMA 15103 N 100 WAY                                                                                  SCOTTSDALE       AZ    85260‐9218
AZ
GERALD LEON MOORE                                 #9                                    2409 SUNCREST                                            FLINT            MI    48504‐8415
GERALD LEROY ARRAND JR                            5811 14TH ST WEST                     LOT 67                                                   BRADENTON        FL    34207‐4019
GERALD LEVINE & MONIQUE LEVINE JT TEN             35 BUNKER HILL DR                                                                              ENGLISHTOWN      NJ    07726‐3318
GERALD M AUBIN                                    5 COTTAGE CT                                                                                   NORFOLK          MA    02056‐1269
GERALD M BIGGERS JR                               5305 LIGHTNING VIEW ROAD                                                                       COLUMBIA         MD    21045‐2267
GERALD M BLOXHAM                                  333 DONALDSON RD                                                                               CALHOUN          LA    71225
GERALD M BOJANOWSKI                               61176 MIRIAM DR                                                                                WASHINGTON       MI    48094‐1415
                                                                                                                                                 TWNSHIP
GERALD M BRADY & EMILY G BRADY JT TEN               17 PENNY WHISTLE RD                                                                          EAST GRANBY      CT    06026‐9758
GERALD M BROANDER                                   2036 CRENCOR DR                                                                              GOODLETTSVILLE   TN    37072‐4320
GERALD M BYERS                                      171 G W WILSON RD                                                                            NICHOLSON        GA    30565‐1832
GERALD M CARR                                       2232 SOUTH STATE ROAD                                                                        DAVISON          MI    48423‐8799
GERALD M CATLETT                                    285 CLOHAN AVE                                                                               MARTINSBURG      WV    25401‐0736
GERALD M COLE                                       11062 SEYMOUR ROAD                                                                           MONTROSE         MI    48457‐9065
GERALD M COPENHAVER                                 668 E PREDA DR                                                                               WATERFORD        MI    48328‐2025
GERALD M CROW                                       316 W PARK AVE                                                                               TRENTON          NJ    08610
GERALD M CUBBIN                                     203 W 81ST ST APT 8B                                                                         NEW YORK         NY    10024‐5819
GERALD M CUNNINGHAM                                 614 LIME ROCK DR                                                                             ST CHARLES       MO    63304‐7914
GERALD M DAVIS                                      9334 HAMBURG RD                                                                              BRIGHTON         MI    48116‐8821
GERALD M DRAPINSKI                                  10112 BUHL DR                                                                                PINCKNEY         MI    48169‐8414
GERALD M FAIN                                       133 RIDGECREST RD                                                                            HARRIMAN         TN    37748‐4339
GERALD M FLURY & ELIZABETH J FLURY JT TEN           31419 SLEEPY HOLLOW LANE                                                                     BIRMINGHAM       MI    48025‐3625
GERALD M FRANZEL                                    96 DETROIT BLVD                                                                              LAKE ORION       MI    48362
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GERALD M FRIDLINE JR                              3152 N IRISH RD                                                                               DAVISON          MI     48423‐9582
GERALD M GIEBLER & MONICA F GIEBLER JT TEN        721 BISHOP AVENUE                                                                             PLYMOUTH         WI     53073‐1409
GERALD M GWIZDALA                                 1808 PRAIRIE ST                                                                               ESSEXVILLE       MI     48732‐1450
GERALD M HALL                                     5048 GREEN ARBOR DR                                                                           GENESEE          MI     48437
GERALD M HANLEY                                   7734 W 173RD PL                                                                               TINLEY PARK      IL     60477‐3210
GERALD M JOHNSON                                  PO BOX 13                                                                                     NEY              OH     43549‐0013
GERALD M KARL                                     50115 MONROE ST                                                                               CANTON           MI     48188‐6734
GERALD M KETCHMARK                                9246 OUTING PL                                                                                GRAYLING         MI     49738‐8471
GERALD M KOBETIC                                  4642 8 MILE RD                                                                                AUBURN           MI     48611‐9750
GERALD M KRSNICH                                  221 N 6TH AVE                                                                                 WINNECONNE       WI     54986
GERALD M KRSNICH & KAREN R KRSNICH JT TEN         221 N 6TH AVE                                                                                 WINNECONNE       WI     54986‐9707
GERALD M LENNOX TR GERALD M LENNOX REV LVG        6233 AMBOY RD                                                                                 DEARBORN HEIGHTS MI     48127‐2865
TRUST UA 10/4/98
GERALD M LUCIO                                    3950 S GLEANER ROAD                                                                           SAGINAW           MI    48609‐9762
GERALD M MALEN                                    1105 BYRON DRIVE                                                                              TROY              MI    48098‐4483
GERALD M MAUTHE                                   8 OVERLOOK DRIVE                                                                              WILMINGTON        DE    19808‐5828
GERALD M MC DONOUGH                               2151 ALBERT AVE                                                                               S LAKE TAHOE      CA    96150‐4413
GERALD M MITCHELL & MRS JOYCE A MITCHELL JT TEN   3085 GLENWAY PLACE                                                                            BAY CITY          MI    48706‐2351

GERALD M ORMON                                    6811 RR 620 N                                                                                 AUSTIN            TX    78732
GERALD M PHOENIX                                  21298 HARVARD ROAD                                                                            SOUTHFIELD        MI    48076‐5650
GERALD M REED                                     PO BOX 55                                                                                     OAKWOOD           GA    30566‐0001
GERALD M REED & HIRO REED TR REED FAMILY TRUST    255 VALLEY OAK PL                                                                             WOODBRIDGE        CA    95258‐9320
UA 04/04/94
GERALD M ROMPEL                                   15941 BENTLEY CIR N #BLD12U46                                                                 MACOMB            MI    48044‐3918
                                                                                                                                                TOWNSHIP
GERALD M ROSS                                  63 GINGER                                                                                        WESTLAND          MI    48186‐6808
GERALD M ROWELL                                961 HAMLIN CENTER RD                                                                             HAMLIN            NY    14464‐9372
GERALD M SALERNO CUST ALEXANDER G SALERNO UNIF 1812 HAVERHILL DR                                                                                ROCHESTER HILLS   MI    48306‐3238
GIF MIN ACT MI
GERALD M SALERNO CUST ELISE R SALERNO UNIF GIF 1812 HAVERHILL DR                                                                                ROCHESTER HILLS   MI    48306‐3238
MIN ACT MI
GERALD M SCHMID & MRS BERNARDINE A SCHMID TEN 3302 RHAWN ST                                                                                     PHILADELPHIA      PA    19136‐2206
ENT
GERALD M SCHROEDER & CAROLENE D SCHROEDER JT 2371 LAKESIDE DRIVE                                                                                HARBOR BEACH      MI    48441‐8954
TEN
GERALD M SERMERSHEIM                           4825 W HAMILTON RD S                                                                             FORT WAYNE      IN      46814
GERALD M SIMON                                 2324 KEYLON DR                                                                                   WEST BLOOMFIELD MI      48324‐1333

GERALD M SLOMINSKI & MARIE A SLOMINSKI JT TEN     8466 HARDER DRIVE                                                                             WARREN            MI    48093‐2728

GERALD M SLOMINSKI CUST SUSAN SLOMINSKI U/THE     ATTN SUSAN SLOMINSKI BERNYS          30673 VIRE CT                                            NOUI              MI    48377
MICHIGANU‐G‐M‐A
GERALD M SMITH                                    4760 ROBINWOOD DR                                                                             MENTOR            OH    44060‐1149
GERALD M SONNENLITTER                             1067 SOUTH MERIDIAN ROAD                                                                      YOUNGSTOWN        OH    44511‐1131
GERALD M SUDICK & ROBERT P SUDICK JT TEN          2264 FOREST HILLS DR                                                                          HARRISBURG        PA    17112
GERALD M THOMPSON                                 5785 W JACKSON ST                                                                             LOCKPORT          NY    14094‐1723
GERALD M WALSH                                    765 SOUTH GROSVENOR RD                                                                        ROCHESTER         NY    14618‐2501
GERALD M WARD                                     301 S MAIN ST                                                                                 KIRKLIN           IN    46050‐9735
GERALD M WENTA                                    11301 MCENRUE RD                                                                              SWARTZ CREEK      MI    48473‐8506
GERALD M WIENEKE                                  2255 WEIGL                                                                                    SAGINAW           MI    48609‐7081
GERALD M WILLIAMS & ALICE M WILLIAMS JT TEN       PO BOX 198                                                                                    NICHOLSON         PA    18446‐0198

GERALD M WINSTON                                  640 BELVIDERE AVE                                                                             PLAINFIELD        NJ    07062‐2006
GERALD M WINSTON & ROSA L WINSTON JT TEN          640 BELVIDERE AVE                                                                             PLAINFIELD        NJ    07062‐2006
GERALD M WISNER                                   2901 DOUGLAS                                                                                  RIVERDALE         MI    48877‐9547
GERALD M WOODS                                    586 DIRLAM LANE                                                                               MANSFIELD         OH    44904‐1721
GERALD M ZEMORE                                   807 AU GRES RIVER DRIVE                                                                       AU GRES           MI    48703
GERALD MACK DAVIS                                 8877 OLD CHAPPELL HILL RD                                                                     CHAPPELL HILL     TX    77426‐6215
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GERALD MACKIE                                    129 FOXDEN RD                                                                                   BRISTOL           CT    06010‐9007
GERALD MAES                                      110 FOUR SEASONS DR                                                                             LAKE ORION        MI    48360‐2645
GERALD MARCHIONI                                 292 SHADY OAKS                                                                                  LAKE ORION        MI    48362‐2577
GERALD MARTIN MERRIOTT                           1692 BEVERLY BLVD                                                                               BERKLEY           MI    48072‐2125
GERALD MAURICE SAMSON TR GERALD MAURICE          127 VANTAGE VIEW                                                                                PETOSKY           MI    49770‐9211
SAMSON TRUST UA 11/16/00
GERALD MAY                                       6340 BEAR RDG RD                                                                                LOCKPORT          NY    14094‐9220
GERALD MEECH                                     985 MULVEY AVE                         WINNIPEG MB                            R3M 1G8 CANADA
GERALD MEIER                                     3101 CAMBERLEY LN                                                                               MIDLAND           MI    48640‐2481
GERALD MIDDENDORF                                6310 SHELDON DR                                                                                 HUDSONVILLE       MI    49426‐7816
GERALD MORREALE & KAREN MORREALE TR UA           2367 CAROL PL                                                                                   SCOTCH PLAINS     NJ    07076‐1928
01/09/96 MORREALE LIVING TRUST
GERALD MUNDY                                     128 SIDNEY ST                                                                                   BANGOR            ME    04401
GERALD MURDOCK BADGETT                           1404 ASHLAND                                                                                    DETROIT           MI    48215‐2857
GERALD N BREWER                                  2422 WESTERN HILLS DR E                                                                         SOUTHSIDE         AL    35907‐7022
GERALD N COZZI & KRISTINE M COZZI JT TEN         3409 WOODRIDGE DR                                                                               WOODRIDGE         IL    60517‐1201
GERALD N CUNNINGHAM                              30 BIG RIDGE RD                                                                                 SPENCERPORT       NY    14559‐1219
GERALD N DIGIOVANNI                              1733 APOLLO                                                                                     HIGHLAND          MI    48356‐1703
GERALD N DIGIOVANNI & JO ANN DIGIOVANNI JT TEN   1733 APOLLO                                                                                     HIGHLAND          MI    48356‐1703

GERALD N HOGARD                                  8808 QUINAULT LOOP NE                                                                           OLYMPIA           WA    98516‐5913
GERALD N HOHLA CUST ANDREW EDWARD HOHLA          12519 CHAPELWOOD PL                                                                             FORT WAYNE        IN    46845‐6930
UGMA IN
GERALD N HOHLA CUST BRADLEY ALLEN HOHLA UGMA 12519 CHAPELWOOD PL                                                                                 FORT WAYNE        IN    46845‐6930
IN
GERALD N JACZYNSKI CUST JOSHUA JACZYNSKI UTMA WI 3205 S 70TH STREET                                                                              MILWAUKEE         WI    53219‐4011

GERALD N LYONS & BARBARA A LYONS TR UA            28020 ELBA ISLAND                                                                              GROSSE ILE        MI    48138
09/16/2006 GERALD N LYONS AND
GERALD N PERRY                                    21830 CHALON                                                                                   ST CLAIR SHORES   MI    48080‐3514
GERALD N PILLEN & MRS HELEN L PILLEN JT TEN       770 GLOUCESTER DR                                                                              ELK GROVE VLG     IL    60007‐3318
GERALD N SANDBERG                                 2928 GRAYBURN ST                                                                               POMONA            CA    91767‐1822
GERALD N SCHULTHEISS & LINDA M SCHULTHEISS JT TEN 4467 E LUSE RD                                                                                 MONTICELLO        IN    47960‐7646

GERALD N WELLS                                   8081 MARSALLE RD                                                                                PORTLAND          MI    48875‐9612
GERALD NASKI                                     49585 REGATTA ST                                                                                NEW BALTIMORE     MI    48047‐4341
GERALD NEUMARK                                   702 CEDAR CHASE CIRCLE N E                                                                      ATLANTA           GA    30324‐4292
GERALD NORMAN                                    1677 SOUTHERN BLVD NW                                                                           WARREN            OH    44485‐2051
GERALD NORTE                                     11625 LAWS ROAD                                                                                 BANNING           CA    92220‐2882
GERALD NORTHINGTON                               12736 COUWLIER AVE                                                                              WARREN            MI    48089‐3226
GERALD O HANLEY                                  536 EMERSON                                                                                     PONTIAC           MI    48342‐1826
GERALD O HOFFMAN & KATHLEEN HOFFMAN JT TEN       2029 N 200 RD                                                                                   WELLSVILLE        KS    66092‐4003

GERALD O JOHNSTON                               265 MOBUS AVE                                                                                    N PLAINFIELD      NJ    07060‐4462
GERALD O NICKOLI                                12501 RIVER RD                                                                                   MILAN             OH    44846‐9410
GERALD O PEZZI                                  722 SHERMAN AVE                                                                                  S MILWAUKEE       WI    53172‐3804
GERALD OLEARY                                   2535 APPLEGATE RD                                                                                APPLEGATE         MI    48401‐9752
GERALD OLNEY HERNDON                            6224 WASHINGTON AVE                                                                              UNIVERSITY CY     MO    63130‐4846
GERALD OLSZEWSKI                                6520 COLE RD                                                                                     SAGINAW           MI    48601‐9718
GERALD P AGNEW                                  1934 HARVEST LN                                                                                  WAUKESHA          WI    53186‐2665
GERALD P ALLEN                                  2246 W COLDWATER                                                                                 FLINT             MI    48505‐4806
GERALD P DUNDAS TR GERALD P DUNDAS LIVING TRUST 5107 MORET CT                                                                                    BRIGHTON          MI    48116‐4789
UA 12/21/04
GERALD P FEDEWA & MARY KATHERINE FEDEWA JT TEN 2750 N BAUER RD                                                                                   SAINT JOHNS       MI    48879‐9535

GERALD P FRANKLIN                                915 NW 1ST AVE                         APT H2402                                                MIAMI             FL    33136‐3563
GERALD P GORSKI                                  4135 HIGHWAY B                                                                                  BLAND             MO    65014‐2260
GERALD P HARAN & MAUREEN A HARAN JT TEN          41208 VILLAGE LAKE ROAD                                                                         NOVI              MI    48375‐4357
GERALD P IRVINE                                  110 IROGUOIS AVE                                                                                ESSEX JUNCTION    VT    05452‐3573
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GERALD P MALTA                                   47586 FALCON DR                                                                                 SHELBY TOWNSHIP   MI    48315‐5010

GERALD P MILANOWSKI                              386 MEADOWBROOK CIRC                                                                            LIVINGSTON        TN    38570‐6018
GERALD P OWCZARCZAK                              12172 CREEKRIDGE DRIVE                                                                          EAST AURORA       NY    14052‐9531
GERALD P PLSEK                                   7463 MONTROSE AVE                                                                               BROOKSVILLE       FL    34613‐5746
GERALD P QUINN JR                                24890 WILMOT AVE                                                                                EASTPOINTE        MI    48021‐1354
GERALD P RESPONDEK                               29501 CURTIS                                                                                    LIVONIA           MI    48152‐3431
GERALD P RIGGLE                                  1534CR 310                                                                                      CLYDE             OH    43410‐9733
GERALD P ROSE                                    1367 NANCYWOOD                                                                                  WATERFORD         MI    48327
GERALD P SCHROTH                                 2 BRAVER DR                                                                                     TRENTON           NJ    08610‐1308
GERALD P VAGEDES                                 2038 NORTHERN DRIVE                                                                             DAYTON            OH    45431‐3123
GERALD P WAGENSON CUST MARY JANE WAGENSON        N8258 COUNTY ROAD F                                                                             SHIOCTON          WI    54170‐8725
UGMA WI
GERALD P WILDER                                  275 HIGH RIDGE COURT                                                                            MIDDLEVILLE       MI    49333
GERALD P WILLIAMS                                6415 DUNCAN DR                                                                                  POLAND            OH    44514‐1877
GERALD P WRIGHT                                  32800 EASTLADY DR                                                                               BEVERLY HILLS     MI    48025‐2712
GERALD PAGE                                      1237 BLACK OAK DR                                                                               DAYTON            OH    45459‐5408
GERALD PARKER                                    12008 KALNOR AVE                                                                                NORWALK           CA    90650‐2462
GERALD PATTI                                     80 TOBEY COURT                                                                                  PITTSFORD         NY    14534‐1861
GERALD PAWLYK JR                                 484 LAKESIDE RD                                                                                 HEWITT            NJ    07421
GERALD PERILLO                                   91 BUCKINGHAM RD                                                                                YONKERS           NY    10701‐6749
GERALD PIERSON & MAUREEN PIERSON JT TEN          4665 GARDEN ST N                       RR 2                 WHITBY ON         L1R 3K4 CANADA
GERALD PREZKOP & ROSE MARIE PREZKOP TR PREZKOP   35680 DEVILLE DR                                                                                STERLING HGTS     MI    48312‐3913
FAM TRUST UA 04/21/93
GERALD R ALEXANDER                               136 W BLUEBRIAR DR                                                                              MARBLE FALLS      TX    78654
GERALD R BAILEY                                  2041 ARENAC STATE RD                                                                            STANDISH          MI    48658‐9139
GERALD R BAKER                                   1108 24TH ST                                                                                    BEDFORD           IN    47421‐5008
GERALD R BATES                                   10350 PARADISE SHORES                                                                           ATHENS            AL    35611
GERALD R BILYEA                                  7921 E PARIS AVE SE                                                                             CALEDONIA         MI    49316‐9713
GERALD R BOOTH                                   399 PROSPECT AVE                                                                                AVENEL            NJ    07001‐1133
GERALD R BUTTERFIELD                             3462 MARATHON RD                                                                                COLUMBIAVILLE     MI    48421‐8975
GERALD R CARMODY                                 5189 SANDALWOOD CIR                                                                             GRAND BLANC       MI    48439‐4267
GERALD R CHAPPEL                                 107 INDIAN KNOLLS DR                                                                            OXFORD            MI    48371‐4745
GERALD R CLARK                                   10217 DUFFIELD RD                                                                               MONTROSE          MI    48457‐9117
GERALD R COLLIER                                 33 E SHEFFIELD                                                                                  PONTIAC           MI    48340‐1964
GERALD R COLLINS                                 2751 HESS ROAD                                                                                  APPLETON          NY    14008‐9656
GERALD R COOK                                    3511 W RAY RD                                                                                   GRAND BLANC       MI    48439‐9321
GERALD R CRENSHAW SR & JOANNA F CRENSHAW JT      9517 FAIRGROUND RD                                                                              LOUISVILLE        KY    40291‐1458
TEN
GERALD R DUBIEL                                  13162 HIGHWAY 8 BUSINESS               SPC 29                                                   EL CAJON          CA    92021‐1853
GERALD R GATZEMEYER                              5148 E STANLEY RD                                                                               FLINT             MI    48506‐1188
GERALD R GATZEMEYER II                           1031 WALDMAN AVE                                                                                FLINT             MI    48507‐1546
GERALD R GUTZKE                                  8356 FRANCES RD                                                                                 FLUSHING          MI    48433‐8810
GERALD R HAECK                                   11065 HARTEL RD                                                                                 GRAND LEDGE       MI    48837‐9115
GERALD R HANNI & W KAYE HANNI JT TEN             6837 SW ASHDALE DR                                                                              PORTLAND          OR    97223‐1345
GERALD R HARKLESS                                4255 HOLYOKE DR SE                                                                              GRAND RAPIDS      MI    49508‐3758
GERALD R HARNETT                                 1728 DAVIS AVE                                                                                  LANSING           MI    48910‐1427
GERALD R JACKSON                                 335 VALPARASIO                                                                                  SPARKS            NV    89436‐8587
GERALD R JANKOWSKI                               440 ELM GROVE                                                                                   LAPEER            MI    48446‐3547
GERALD R JENKINSON                               690 HAMPTON ST                                                                                  ELLOREE           SC    29047‐9377
GERALD R JEWSON                                  1250 LEAF TREE LN                                                                               VANDALIA          OH    45377‐1744
GERALD R JOHNSON                                 3317 FIELD RD                                                                                   CLIO              MI    48420‐1162
GERALD R JOHNSON                                 1322 KINGSWAY LANE                                                                              TARPON SPRINGS    FL    34689‐7636
GERALD R KEYES                                   179 RIVERBANK                                                                                   WYANDOTTE         MI    48192
GERALD R KIRK                                    650 THORNLOE DRIVE                     THUNDER BAY ON                         P7C 5L5 CANADA
GERALD R KLINE                                   5801 SUMMER SET DR                                                                              MIDLAND           MI    48640‐2932
GERALD R KROUSE                                  1001 STARKEY RD                        LOT 619                                                  LARGO             FL    33771‐5423
GERALD R LAHO                                    2020 ALEXANDER DR                                                                               WESTLAND          MI    48186‐9354
GERALD R LAMPTON                                 3028 HENRIETTA AVE                                                                              LA CRESCENTA      CA    91214‐1911
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Name                                             Address1                               Address2             Address3          Address4          City             State Zip

GERALD R LAPAN                                   4807 S TWO MILE RD                                                                              BAY CITY         MI    48706‐2771
GERALD R LEWIS                                   8365 ODOM RD                                                                                    GREENWOOD        LA    71033‐3362
GERALD R LIDDELL                                 8012 SAWGRASS CT                                                                                ORLAND PARK      IL    60462‐4980
GERALD R LOMKER & DOROTHY L LOMKER JT TEN        12064 LISBON ROAD                      PO BOX 84                                                GREENFORD        OH    44422‐0084
GERALD R LUCAS                                   BOX 7311                                                                                        SOUTH LAKE TAHOE CA    96158‐0311

GERALD R LYNCH                                   1003 N OSBORNE AVE                                                                              JANESVILLE       WI    53545‐2349
GERALD R MC DONNELL & MRS LORRAINE A MC          1546 WHITEFIELD ST                                                                              DEARBORN HTS     MI    48127‐3419
DONNELL JT TEN
GERALD R MC NEILLY                               16770 BAUER ROAD                                                                                GRAND LEDGE      MI    48837‐9170
GERALD R MCGRAIN                                 1859 W CLARENCE RD                                                                              HARRISON         MI    48625
GERALD R MEEKER                                  1513 SE 43RD ST                                                                                 CAPE CORAL       FL    33904‐7358
GERALD R MILLER                                  2205 N LEXINGTON                                                                                JANESVILLE       WI    53545‐0537
GERALD R MILLER                                  8105 N SANTA BARBARA DRIVE                                                                      MUNCIE           IN    47303‐9365
GERALD R MILLER & CAROL A MILLER JT TEN          2205 N LEXINGTON                                                                                JANESVILLE       WI    53545‐0537
GERALD R MUETZEL & BARBARA M MUETZEL JT TEN      4532 WOODGATE DR                                                                                JANESVILLE       WI    53546‐8204

GERALD R MUNSEY                                  7025 CECIL DR                                                                                   FLINT            MI    48505‐5710
GERALD R NAUGLE                                  4179 E ROLSTON ROAD                                                                             LINDEN           MI    48451‐8437
GERALD R OWENS                                   HC 37 BOX 26                                                                                    MAXWELTON        WV    24957‐9560
GERALD R PANAK & JANE M PANAK JT TEN             20 E SIMMONS ROAD                                                                               EIGHTY FOUR      PA    15330
GERALD R PARKER                                  3830 CAUSEWAY DR                                                                                LOWELL           MI    49331‐9407
GERALD R PATTERSON                               8430 SETTLERS PASSAGE                                                                           BRECKSVILLE      OH    44141‐1732
GERALD R POIRIER & BARBARA J POIRIER JT TEN      49334 BRIAR POINTE DR                                                                           MACOMB           MI    48044‐1844
GERALD R PORTER                                  15721 KNAPP SHR                                                                                 KENT             NY    14477‐9731
GERALD R RAU & KELLY RAU JT TEN                  16 MADISON AVE                                                                                  GARNERVILLE      NY    10923‐1307
GERALD R RAYHILL                                 3500 NORTH DELAWARE                                                                             INDEPENDANCE     MO    64050‐1119
GERALD R ROBERTS                                 PO BOX 151                                                                                      GRAND LEDGE      MI    48837‐0151
GERALD R ROOT                                    0‐11136 MOUNTAIN ASH                                                                            GRAND RAPIDS     MI    49544‐6710
GERALD R RUDNICK & JACQUELINE J RUDNICK JT TEN   3102 GERONIMO                                                                                   PRESCOTT         AZ    86305‐3916

GERALD R RYBAK                                 31127 MAPLEWOOD STREET                                                                            GARDEN CITY      MI    48135‐2086
GERALD R SCHLAK                                23899 CO RD 451                                                                                   HILLMAN          MI    49746‐9542
GERALD R SCHMOTZER TR GERALD R SCHMOTZER TRUST 8750 MOSSWOOD CIRCLE                     NORH RIDGEVILLE                                          N RIDGEVILLE     OH    44039
UA 10/05/00
GERALD R SCHULTZ                               36‐695 LOS ALAMOS RD                                                                              RANCHO MIRAGE    CA    92270‐1943
GERALD R SMITH                                 2025 MAINE ST                                                                                     SAGINAW          MI    48602‐1913
GERALD R SMITH                                 333 PREDMORE                                                                                      OAKLAND          MI    48363
GERALD R SMITH & MAE P SMITH JT TEN            333 PREDMORE                                                                                      OAKLAND          MI    48363
GERALD R SNELL                                 1177 KINGSLEY LANE                                                                                AURORA           IL    60505
GERALD R STARR                                 4763 COTTAGE RD                                                                                   ROYALTON         NY    14067‐9259
GERALD R STOHLMAN                              G13318 DIXIE HWY LT 25                                                                            HOLLY            MI    48442
GERALD R STUTZMAN & MRS ANN E STUTZMAN JT TEN 5810 OLD FARM LANE                                                                                 SYLVANIA         OH    43560‐1024

GERALD R SWEET                                   1610 WEST BARNES ROAD                                                                           FOSTORIA         MI    48435‐9751
GERALD R SZOSTAK & HELEN K SZOSTAK JT TEN        6644 ABI LANE                                                                                   PLYMOUTH         MI    48170‐5800
GERALD R TAYLOR                                  6823 PIERCE RD                                                                                  FREELAND         MI    48623‐8624
GERALD R TILSON                                  138 ASHLEY CIRCLE                                                                               SWARTZ CREEK     MI    48473‐1176
GERALD R TIPTON                                  PO BOX 1205                                                                                     DALLAS           OR    97338
GERALD R TURNER                                  2650 W SUPERSTITION BLVD               LOT 21                                                   APACHE JCT       AZ    85120‐2976
GERALD R UNKEL                                   137 W MASON RD                                                                                  TWINING          MI    48766‐9645
GERALD R WALTER & JANE C WALTER TR WALTER FAM    3101 AUDUBON DR                                                                                 KALAMAZOO        MI    49008‐1604
TRUST UA 12/16/99
GERALD R WITZMAN                                 6132 RANGER LAKE RD                                                                             GAYLORD          MI    49735‐8573
GERALD RECKINGER                                 329 CALLE PESCADOR                                                                              SAN CLEMENTE     CA    92672‐2206
GERALD REISS & DEBRA REISS JT TEN                56 WHITNEY DRIVE                                                                                BERKELEY HTS     NJ    07922‐2516
GERALD ROGER LINNEROOTH                          4758 ASHLEY RD                                                                                  BAXTER           MN    56425‐9708
GERALD ROSENBLUM                                 C/O GERALD ROSS                        PO BOX 289                                               SHELTER ISLAND   NY    11964‐0289
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GERALD ROSS SHANNON & CAROL A SHANNON JT TEN   7517 HIGHLAND DR                                                                                BALDWINSVILLE     NY    13027‐9426

GERALD RUNIONS                                 7415 HALL RD                                                                                    DAVISBURG         MI    48350
GERALD RUSS                                    3595 OBSERVATORY LN                                                                             HOLT              MI    48842‐9429
GERALD RUSSELL                                 C/O MIRANDA PASTER                     3948 S NORTON AVE                                        LOS ANGELES       CA    90008‐2624
GERALD RUSSELL & DEANZA RUSSELL JT TEN         934 STATE RTE 2205                                                                              MAYFIELD          KY    42066
GERALD RUTKOWSKI                               APT 3                                  8213 KENNEDY CIR                                         WARREN            MI    48093‐2134
GERALD S ALTERIO JR                            18 GOULD ST 2                                                                                   WAKEFIELD         MA    01880‐2719
GERALD S ATKINSON                              6699 W CO RD 90 SOUTH                                                                           KOKOMO            IN    46902
GERALD S BRYCE                                 52675 BUTTERNUT DR                                                                              SHELBY TOWNSHIP   MI    48316‐2951

GERALD S BUGAI                                 7301 E PRAIRIE ROAD                                                                             LINCOLNWOOD       IL    60645‐1009
GERALD S BUGAI & PATRICIA A BUGAI JT TEN       7301 E PRAIRIE RD                                                                               LINCOLNWOOD       IL    60645‐1009
GERALD S CAMP                                  8509 BREWER RD                                                                                  DOUGLASVILLE      GA    30134‐3104
GERALD S DAVIS                                 PO BOX 640                                                                                      BOGALUSA          LA    70429‐0640
GERALD S FREEMAN                               355 BOARD RD                                                                                    SAINT PAUL        MN    55115‐1489
GERALD S GARDNER                               3319 WEST PRATT ROAD                                                                            DEWITT            MI    48820‐8026
GERALD S JONES                                 31172 ARTESIAN DR                                                                               MILFORD           MI    48381‐4381
GERALD S LEONARD                               3308 STONE BROOK CIR                                                                            HUNTSVILLE        AL    35810‐3700
GERALD S LOECHER                               #8 ADMOR M'BOYAN                       JERUSAEM                               95403 ISRAEL
GERALD S LONGBERRY                             12044 SOUL ROAD                                                                                 SWANTON           OH    43558‐9422
GERALD S MATSUNAGA                             2786 MOKOI ST                                                                                   LIHUE             HI    96766‐1526
GERALD S MROZEK                                81 KAREN LANE                                                                                   DEPEW             NY    14043‐1911
GERALD S NAGY                                  9519 ELM STREET                                                                                 TAYLOR            MI    48180‐3494
GERALD S NARBUT                                4865 WARWICK S                                                                                  CANFIELD          OH    44406‐9242
GERALD S PETROCK                               6240 S RACCOON ROAD                                                                             CANFIELD          OH    44406‐9270
GERALD S POWERS                                1617 BECKER LN                                                                                  SAN ANGELO        TX    76904
GERALD S SANDS                                 2 BRIAR CT N                                                                                    COLUMBIA          SC    29223
GERALD S SCHUR & MRS SANDRA SCHUR JT TEN       300 N CANAL ST                         APT 3314                                                 CHICAGO           IL    60606‐1310
GERALD S SMITH                                 1916 BARTONS CV                                                                                 LEBANON           TN    37087‐9050
GERALD S SMOLENSKI                             307 PATCHETT WAY                                                                                MONTGOMERY        NY    12549‐1208
GERALD S URICEK                                7072 DONELSON TR                                                                                DAVISON           MI    48423‐2320
GERALD S WYSOCKI                               8328 DECOY RUN                                                                                  MANLIUS           NY    13104‐9323
GERALD SABELL                                  6835 WEDDEL                                                                                     TAYLOR            MI    48180‐1983
GERALD SAMUEL PLUMB                            33 E BRICKLEY                                                                                   HAZEL PARK        MI    48030‐1137
GERALD SCHAFFSTALL                             321 N 48TH ST                                                                                   HARRISBURG        PA    17111‐3422
GERALD SCHARF & MARILYN SCHARF JT TEN          224 TOWER LANE                                                                                  NARBERTH          PA    19072‐1128
GERALD SCHILL                                  245 FOREST ST                                                                                   CAMPBELLSPORT     WI    53010‐2734
GERALD SCHIMELFENING                           14150 BOURNEMUTH DR                                                                             SHELBY TWP        MI    48315‐2809
GERALD SCHLOEMER CUST JAY RYSER SCHLOEMER      BOX 307                                                                                         ROUND LAKE        IL    60073‐0307
UGMA IL
GERALD SCHMIDT                                 BOX 1                                                                                           FAIRFIELD         WA    99012‐0001
GERALD SCHWARTZ                                1658 MILROY PL                                                                                  SAN JOSE          CA    95124‐4722
GERALD SCOTT GRAHAM                            PO BOX 74901                           MC 481‐ CHN 009                                          ROMULUS           MI    48174
GERALD SKIERSKI                                21900 AUDREY                                                                                    WARREN            MI    48091‐2587
GERALD SLIPKO                                  441 MORGAN DR                                                                                   LEWISTON          NY    14092‐1012
GERALD SMOLEN & MRS LETA SMOLEN JT TEN         105 DOGWOOD DRIVE                                                                               OAKLAND           NJ    07436‐2627
GERALD SPECTOR                                 61 ROCKWOOD DR APT 23C                                                                          MIDDLETOWN        NY    10941‐5944
GERALD SPERO                                   228 COOL SPRINGS DR                                                                             VALPARAISO        IN    46385‐7724
GERALD SPILLANE                                6193 SHERIDAN RD                                                                                DURAND            MI    48429
GERALD STRAHS & MRS SUSAN L STRAHS JT TEN      100 EAST MARTHART AVENUE                                                                        HAVERTOWN         PA    19083‐2413
GERALD STROMME                                 204 FOREST DRIVE                                                                                GOLETA            CA    93117‐1109
GERALD SUDIMICK                                742 BRIGHTON DR                                                                                 DAVENPORT         FL    33837‐7313
GERALD SWARTHOUT                               77 CLINTON STREET                      APT F‐8                                                  NEW YORK MILLS    NY    13417‐1551
GERALD T AMADEI                                2245 HENN‐HYDE N E                                                                              WARREN            OH    44484‐1243
GERALD T BIELIS                                14038 CRANBROOK                                                                                 RIVERVIEW         MI    48192‐7526
GERALD T BULAT                                 120 MIDDLEBORO ROAD                                                                             WILMINGTON        DE    19804‐1603
GERALD T CROSSLAND                             38 GREENDALE                                                                                    NORMANDY          MO    63121‐4701
GERALD T DENNIS                                3805 FABER                                                                                      WATERFORD         MI    48328‐4031
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GERALD T DETKOWSKI                                  17241 N ZUNI TRL                                                                                SURPRISE          AZ    85374‐9623
GERALD T DUNNE JR                                   9636 S MOZART                                                                                   EVERGREEN PARK    IL    60805‐2747
GERALD T ENGELI                                     1065 RIDGEWOOD DR                                                                               MILLBRAE          CA    94030‐1024
GERALD T FLOM                                       3434 ZENITH AVE SOUTH                                                                           MINNEAPOLIS       MN    55416‐4663
GERALD T GIBSON & JUDITH J GIBSON JT TEN            659 CEDAR POINT DR                                                                              BUFFALO SPRINGS   VA    24529‐1511

GERALD T GRIGG & JUDITH A GRIGG JT TEN          1753 WEYMOUTH                                                                                       W BLOOMFIELD      MI    48324‐3861
GERALD T HALL                                   16 CANYON DR                                                                                        DURANGO           CO    81301‐8473
GERALD T HAVERSTICK                             PO BOX 414                                                                                          SMITHS GROVE      KY    42171‐0414
GERALD T IGLEHEART                              1197 FRIENDSHIP RD                                                                                  PRINCETON         KY    42445‐7028
GERALD T IRACKI & DOREEN C IRACKI JT TEN        176 WINWOOD CT                                                                                      HOLLAND           MI    49424
GERALD T JENNINGS                               244 WESTLAKE CIRCLE                                                                                 MADISON           AL    35758‐7920
GERALD T KAMINSKI                               8545 BROADMOOR DR                                                                                   PALOS HILLS       IL    60465‐1721
GERALD T LAFRANCE & MRS DOROTHY LAFRANCE JT TEN PO BOX 62                                                                                           WYALUSING         PA    18853‐0062

GERALD T LAMBOURN                                   9901 PINE KNOB                                                                                  CLARKSTON         MI    48348‐2147
GERALD T LUTHER                                     3503 JOSEPHINE LANE                                                                             MASON             MI    48854‐9568
GERALD T MAHER                                      13112 OAKDALE                                                                                   SOUTHGATE         MI    48195‐1072
GERALD T MAYNE                                      3582 COLBORNE DRIVE                                                                             DAYTON            OH    45430‐1308
GERALD T MC BRIDE                                   7150 NICHOLE DRIVE                                                                              SOUTH BRANCH      MI    48761‐9619
GERALD T NEARY                                      1621 NORTH WOOD AVE                                                                             LINDEN            NJ    07036‐3847
GERALD T OLENICZAK                                  C/O CYNTHIA J OLENECZAK                310 EAST EVANDALE DR                                     OAK CREEK         WI    53154‐3016
GERALD T PREISS & REBECCA WELLS PREISS JT TEN       2186 SANTA FE TRAIL                                                                             SIERRA VISTA      AZ    85635‐4906

GERALD T PRUITT                                     230 RAYMER DR                                                                                   PARIS             TN    38242‐8212
GERALD T REVARD                                     115 JANA DR                                                                                     HOHENWALD         TN    38462‐2278
GERALD T RINKE                                      37638 SUSAN                                                                                     STERLING HGTS     MI    48310‐3828
GERALD T ROSENLUND                                  12684 OAK PARK AVE                     UNIT 17                                                  SAWYER            MI    49125‐9335
GERALD T RUSSELL                                    4409 SANTE FE COURT                                                                             INDIANAPOLIS      IN    46241‐6523
GERALD T SCHEIDT                                    1509 MERILINE AVE                                                                               DAYTON            OH    45410‐3329
GERALD T SENTER                                     621 MARICLAIRE AVE                                                                              VANDALIA          OH    45377‐1621
GERALD T SMITH                                      820 IRIS DRIVE                                                                                  N HUNTINGDON      PA    15642‐4360
GERALD T STACK                                      PO BOX 144                                                                                      CASPER            WY    82602‐0144
GERALD T STOREY                                     933 REMINGTON AVE                                                                               FLINT             MI    48507‐1625
GERALD T WASHINGTON                                 1060 W 130 STREET                                                                               GARDENIA          CA    90247‐1807
GERALD T YOTSUYA & ELAYNE H YOTSUYA COMMUNITY       1100 CORTA VISTA                                                                                TURLOCK           CA    95380‐2718
PROPERTY
GERALD TANNENBAUM CUST TODD ALAN                    1005 E GLENCOE PL                                                                               MILWAUKEE         WI    53217‐1926
TANNENBAUM UGMA WI
GERALD TARACK                                       133 W 94TH ST                                                                                   NEW YORK          NY    10025‐7016
GERALD THERIAULT                                    15 GROSBOIS                            VILLE LORRAINE QC                      J6Z 2X9 CANADA
GERALD THIELMEIER & PRISCILLA L THIELMEIER JT TEN   320 SOUTH ELLYN RD                                                                              GLEN ELLYN        IL    60137‐6838

GERALD THOMAS GAMBILL                               PO BOX 1332                            OTTAWA ON                              K1P 5R4 CANADA
GERALD THOMAS MILLER                                48052 AMANDA DR                                                                                 MACOMB            MI    48044‐4955
GERALD THOMPSON                                     410 E CHADICK                                                                                   MCALESTER         OK    74501‐5844
GERALD THOMPSON & BRIAN THOMPSON JT TEN             13761 PLANK RD                                                                                  MILAN             MI    48160‐9125
GERALD THOMPSON & DIANE THOMSPON SCHOEL JT          13761 PLANK RD                                                                                  MILAN             MI    48160‐9125
TEN
GERALD TIETJEN CUST KATHLEEN TIETJEN UGMA NY        PO BOX 3691                                                                                     CRESTLINE         CA    92325‐3691

GERALD TROY & MRS LYNDA R TROY JT TEN               PO BOX 836                                                                                      XENIA             OH    45385
GERALD TURNER                                       1310 TROGDON LN                                                                                 BEDFORD           IN    47421‐8153
GERALD TUTTLE                                       2159 BAY ST                                                                                     SAN FRANCISCO     CA    94123‐1903
GERALD V BURTON                                     19467 LESURE                                                                                    DETROIT           MI    48235‐1727
GERALD V FLOWERS                                    8422 RENA COURT                                                                                 HAZELWOOD         MO    63042‐3051
GERALD V HALSTEAD SR                                977 N 16TH ST                                                                                   OTSEGO            MI    49078‐9788
GERALD V KELLY & BARBARA MARTHA KELLY JT TEN        499 AMITY                              PO BOX 159                                               DOUGLAS           MI    49406‐0159
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GERALD V KORAL                                   4455‐23 MILE RD                                                                                 SHELBY TOWNSHIP   MI    48316

GERALD V MC DANIEL & MRS MARY LOUISE MC DANIEL   2801 TIMBER PARK DR                                                                             EVANSVILLE        IN    47715‐7526
JT TEN
GERALD V ROWE                                    8415 LA SALLE BLVD                                                                              DETROIT           MI    48206‐2445
GERALD VALLANCE                                  6399 LESOURDSVILLE RD                                                                           HAMILTON          OH    45011‐8416
GERALD VANE PILLEN                               1408 AVOLENCIA DR                                                                               FULLERTON         CA    92835‐3705
GERALD VASSILATOS & DONNA VASSILATOS JT TEN      214 RIDGE RD                                                                                    NEW CITY          NY    10956‐6911

GERALD W ABERNATHY                               3950 COKESBURY RD                                                                               FUQUAY VARINA     NC    27526‐9194
GERALD W ALPORT & MRS SANDRA ALPORT JT TEN       99 CHADWICK PL                                                                                  GLEN ROCK         NJ    07452‐3113

GERALD W ATHORP & VERNA E ATHORP JT TEN          W1999 CTY MM                                                                                    CLEVELAND         WI    53015‐1727
GERALD W BARTNIK                                 4060 S AVON DR                                                                                  NEW BERLIN        WI    53151‐6213
GERALD W BAUER                                   2160 W SANILAC RD                                                                               CARO              MI    48723‐9543
GERALD W BREHM                                   5211 NORTH FOX RD                                                                               JANESVILLE        WI    53548
GERALD W BURGHDORF                               10385 E POTTER RD                                                                               DAVISON           MI    48423‐8163
GERALD W BURLEIGH                                PO BOX 414                                                                                      GORMAN            TX    76454‐0414
GERALD W CALLAHAN                                923 EAST PINE ST                                                                                BUTLER            MO    64730‐1764
GERALD W CARDINAL                                23390 40TH AVE                                                                                  RAVENNA           MI    49451‐9751
GERALD W COOPER                                  6570 TRANSPARENT                                                                                CLARKSTON         MI    48346‐2164
GERALD W COX                                     1052 SHIELDS ROAD                                                                               YOUNGSTOWN        OH    44511‐3718
GERALD W COZAD                                   1820 MCKINLEY                                                                                   BAY CITY          MI    48708‐6736
GERALD W DARR                                    3014 FALLS DR                                                                                   DALLAS            TX    75211‐8805
GERALD W DAVIS & PEGGY JO DAVIS JT TEN           8825 CRYSLER AVE                                                                                KANSAS CITY       MO    64138‐5147
GERALD W EBY                                     6836 GREENBRIAR DR                                                                              PARMA HTS         OH    44130‐4661
GERALD W FINGAR                                  22 CANNON HILL RD                                                                               ROCHESTER         NY    14624‐4223
GERALD W FISCHER                                 1943 BURTON                                                                                     BELOIT            WI    53511‐2802
GERALD W FISHER JR                               1935 MAKIKI STREET                                                                              HONOLULU          HI    96822‐2033
GERALD W FOX                                     1141 MISSION LN                                                                                 ARGYLE            TX    76226‐6521
GERALD W FREEMAN                                 5290 DANIELS DR                                                                                 TROY              MI    48098‐3004
GERALD W FUOSS                                   16593 OAKLY ROAD                                                                                CHESANING         MI    48616‐9575
GERALD W GARDNER                                 11010 WHITE LAKE RD                                                                             FENTON            MI    48430‐2476
GERALD W GARETY                                  186 S ALLEN RD                                                                                  ST CLAIR          MI    48079‐1405
GERALD W GARRITY                                 110 BITTERSWEET DR                                                                              COLUMBIANA        OH    44408‐1620
GERALD W GIBREE CUST KERRIN GIBREE UGMA RI       616 JONES RD                                                                                    ROSWELL           GA    30075‐2840
GERALD W GRAFTON & ANNE E GRAFTON JT TEN         14 LEDGEWOOD DR                                                                                 CANTON            MA    02021‐2428
GERALD W GRAJEK                                  2928 STONEWALL                                                                                  WOODRIDGE         IL    60517‐1010
GERALD W GRAJEK & KATHLEEN M GRAJEK JT TEN       2928 STONEWALL                                                                                  WOODRIDGE         IL    60517‐1010
GERALD W GREENLEE                                1508 EAST CADILLAC DR                                                                           KOKOMO            IN    46902‐2540
GERALD W HECKENDORN                              1788 LOW WOOD TRAIL                                                                             LEONARD           MI    48367
GERALD W HELBIG CUST DOUGLAS G HELBIG UTMA MA    11 ALLEN RD                                                                                     STURBRIDGE        MA    01566‐1379

GERALD W HELBIG CUST SARAH JANE HELBIG UTMA MA 11 ALLEN RD                                                                                       STURBRIDGE        MA    01566‐1379

GERALD W HIDER JR                                10950 NASSAU AVE                       SUN LAND                                                 SUNLAND           CA    91040
GERALD W HOAG                                    PO BOX 6022                                                                                     SAGINAW           MI    48608‐6022
GERALD W HOFACKER                                10254 PREBLE LINE RD                                                                            BROOKVILLE        OH    45309
GERALD W HOPPER & MRS RACHEL T HOPPER JT TEN     302 HIGHBURY DR                                                                                 FLORENCE          AL    35633‐1701

GERALD W HYSLOP                                  60 ELLIS CRESCENT                      LINDSAY ON                             K9V 0A5 CANADA
GERALD W JACKSON & SHERYL D JACKSON JT TEN       5212 N ST CLAIR ST                                                                              WICHITA           KS    67204‐2527
GERALD W JUDGE                                   24231 YOSEMITE DR                                                                               EUCLID            OH    44117‐1864
GERALD W KAUTZMAN JR                             1640 NEEB RD                                                                                    CINCINNATI        OH    45233‐1912
GERALD W KAY                                     2756 RIDGE RD                                                                                   CORTLAND          OH    44410‐9419
GERALD W KENNEY                                  415 GARFIELD ST                                                                                 CHELSEA           MI    48118‐1209
GERALD W KOWALEWSKI CUST ALAN J KOWALEWSKI       9550 CHINAVARE RD                                                                               NEWPORT           MI    48166‐9772
UGMA MI
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GERALD W KOWALEWSKI CUST DAVID G KOWALEWSKI     39121 PENNSYLVANIA RD                                                                            NEW BOSTON        MI    48164‐9503
UGMA MI
GERALD W KOWALEWSKI CUST HILARY F KOWALEWSKI    22125 CHERRYWOOD DRIVE                                                                           WOODHAVEN         MI    48183
UGMA MI
GERALD W KOWALEWSKI CUST JERROD A KOWALEWSKI    75 WEST STREET #15H                                                                              NEW YORK          NY    10006‐1798
UGMA MI
GERALD W KOWALEWSKI CUST LUCINDA M              104 B MCNABB DR                                                                                  ELKVIEW           WV    25071‐9443
KOWALEWSKI UGMA MI
GERALD W KRAUSE & MRS SYLVIA J KRAUSE JT TEN    3312 MOORGATE                                                                                    SPRINGFIELD       IL    62703‐5049

GERALD W KRYSIAK                                5094 GLENVELLE ROAD                                                                              GLEN ROCK         PA    17327
GERALD W LAROSE                                 14423 ARLEE AVE                                                                                  NORWALK           CA    90650‐4904
GERALD W LIPPERT                                20397 BALLANTRAE                                                                                 MACOMB            MI    48044‐5908
GERALD W MARTIN                                 4050 PROSPECT ROAD                                                                               PULASKI           TN    38478‐6627
GERALD W MC DANIEL                              570 BEAVER CREEK ROAD                                                                            BRIGHTON          TN    38011‐6858
GERALD W MCGHEE                                 6358 STERLING MAPLE CT                                                                           CLAYTON           OH    45315‐8980
GERALD W MCKENZIE                               PO BOX 823                                                                                       ARIZONA CITY      AZ    85223‐0823
GERALD W MESSER                                 7413 BEUNA VISTA DR                                                                              CLEVES            OH    45002‐8712
GERALD W MITCHELL                               5244 W KELLY ST                                                                                  INDIANAPOLIS      IN    46241‐4712
GERALD W MOSEBERTH                              5750 LANNIE RD                                                                                   JACKSONVILLE      FL    32218‐1140
GERALD W MURPHY                                 10345 NORTHBRIDGE DR                                                                             MANCELONA         MI    49659
GERALD W MYERS                                  1516 DIXIE DR                                                                                    MONROE            MI    48162‐2570
GERALD W NEUBERG                                91 HIGHLAND AVE                                                                                  IRVINGTON         NY    10533‐1845
GERALD W NIEDERQUELL                            6910 TROWBRIDGE CIR                                                                              SAGINAW           MI    48603‐8637
GERALD W PATTERSON                              9593 THREE SPRINGS RD                                                                            BOWLING GREEN     KY    42104‐8748
GERALD W PATTERSON CUST JEFFERY LEE PATTERSON   2231 DUNKELBERG RD                                                                               FORT WAYNE        IN    46819‐2128
UGMA WI
GERALD W PHELPS                                 4973 NC HWY 581                                                                                  SIMS              NC    27880‐9449
GERALD W ROBERTS                                2609 GEIBERGER DR                                                                                PLANO             TX    75025
GERALD W ROBINSON                               10463 LAKE ROAD                                                                                  MONTROSE          MI    48457‐9709
GERALD W RUTHRUFF                               1526 AURELIUS RD                                                                                 HOLT              MI    48842‐1962
GERALD W SANDOW                                 213 W PARK                                                                                       VICKSBURG         MI    49097‐1331
GERALD W SCHAFFNER                              22980 CANAL RD                                                                                   PORT LEYDEN       NY    13433
GERALD W SCHELL JR                              908 CEDARGATE COURT                                                                              WATERFORD         MI    48328‐2611
GERALD W SCHWARTZ & GERALDINE SCHWARTZ JT TEN   11369 GREENWICH DR                                                                               SPARTA            MI    49345‐8523

GERALD W SMITH                                 473 LINCOLN AVE                                                                                   MOUNT MORRIS      MI    48458
GERALD W SMITH & NANCY J SMITH JT TEN          1227 FRANCISCAN CT EAST                                                                           CANTON            MI    48187‐3249
GERALD W SMITH & NANCY J SMITH JT TEN          1227 FRANCISCAN CT EAST                                                                           CANTON            MI    48187‐3249
GERALD W STEVENS                               5321 ZENITH AVENUE SOUTH                                                                          MINNEAPOLIS       MN    55410‐2138
GERALD W SWIFT & EMILIA R SWIFT JT TEN         15 AVOCADO LANE                                                                                   ROLLING HLS EST   CA    90274‐3411
GERALD W TAYLOR                                3397 S COUNTY RD 449                                                                              OSCEOLA           AR    72370‐7201
GERALD W THOMAS                                17630 DELORES                                                                                     LIVONIA           MI    48152‐3810
GERALD W TOLBERT                               1438 SILVERTHORN DR                                                                               ORLANDO           FL    32825‐5883
GERALD W VON MAYER & FRANCOISE G VON MAYER JT 10384 BARCAN CIRCLE                                                                                COLUMBIA          MD    21044‐2504
TEN
GERALD W VON MAYER & FRANCOISE G VON MAYER     10384 BARCAN CIRCLE                                                                               COLUMBIA          MD    21044‐2504
TEN ENT
GERALD W WADE                                  232 MONTICELLO DRIVE                                                                              GREENWOOD         IN    46142‐1858
GERALD W WELBURN                               12705 BUTLER RD                                                                                   WAKEMAN           OH    44889‐9021
GERALD W WENNER                                10942 MUSIC ST                                                                                    NEWBURY           OH    44065‐9561
GERALD W WILSON                                306 VISTA TRUCHA                                                                                  NEWPORT BEACH     CA    92660‐3519
GERALD W WORDLAW JR                            18442 WESTMORELAND ST                                                                             DETROIT           MI    48219‐2842
GERALD W WORTHINGTON                           3078 LAKE CHARLES DR                                                                              MAYSVILLE         KY    41056‐8332
GERALD W YOUNG                                 627 W LAKE ST                                                                                     TAWAS CITY        MI    48763‐8213
GERALD W ZAWISTOWSKI & MARCIA C ZAWISTOWSKI JT 1323 LANCASTER                                                                                    GRAND RAPIDS      MI    49504‐2419
TEN
GERALD WALLACE COOPER                          4412 ALHAMBA DRIVE                                                                                ANDERSON          IN    46013‐2541
GERALD WAYNE FIVECOATE                         55‐W 480 S                                                                                        CUTLER            IN    46920‐9352
                                            09-50026-mg                  Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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GERALD WAYNE FLETCHER                            1937 EFFIE CIRCLE                                                                               PORT NECHES        TX    77651‐3402
GERALD WELLS                                     RR 1 BOX 2295                                                                                   PATTON             MO    63662‐9728
GERALD WILLIAM APELGREN                          60 FREDERICK ST                                                                                 NEWINGTON          CT    06111‐3707
GERALD WILLIAM LOOMIS                            1702 FLINT DRIVE                                                                                AUBURNDALE         FL    33823‐9419
GERALD WILLIAM WECKLER                           7199 GLIDDEN                                                                                    GENESEE            MI    48437
GERALD WILSON WHITE                              1315 PRUDEN ST                                                                                  ROANOKE RAPIDS     NC    27870‐3118
GERALD WODZISZ                                   36640 CENTER RIDGE RD                                                                           NORTH RIDGEVILLE   OH    44039‐2845

GERALD WORKMAN EX EST GENEVIEVE C RODGERS        4009 ELLWOOD RD                                                                                 NEW CASTLE         PA    16101

GERALD YOSELEVICH                                459 CARPENTER PLACE                                                                             UNION              NJ    07083‐7413
GERALD ZEBROWSKI                                 10 DICKMAN DR                                                                                   LAVALLETTE         NJ    08735‐2805
GERALDEAN G ODOMS                                5717 PORTSMOUTH DR                                                                              MONTGOMERY         AL    36116‐5278
GERALDENE RILEY                                  C/O MRS G WODETZKI                     133 OAK KNOLES CIRCLE                                    SEBRING            FL    33870
GERALDINA MAJOR                                  2827 SUNNY DR                                                                                   MIMS               FL    32754‐2905
GERALDINE A BANKS                                2118 ROBBINS AVE #512                                                                           NILES              OH    44446‐3966
GERALDINE A DICKINSON                            5195 DONALD ST                                                                                  EUGENE             OR    97405‐4818
GERALDINE A FORD‐BROWN                           46558 DARWOOD COURT                                                                             PLYMOUTH           MI    48170‐3473
                                                                                                                                                 TOWNSHIP
GERALDINE A GENTILOTTI                           186 CONSTITUTION AVE                                                                            JESSUP             PA    18434‐1223
GERALDINE A GORRILL                              77 LAKE HINSDALE DR APT 205                                                                     WILLOWBROOK        IL    60514‐2229
GERALDINE A GUZIK                                1574 COPELAND CIR                                                                               CANTON             MI    48187‐3446
GERALDINE A HASMAN                               439 LAURELWOOD DR                                                                               ROCHESTER          NY    14626‐3743
GERALDINE A HUDSON                               610 RAVENNA RD                                                                                  NEWTON FALLS       OH    44444‐1527
GERALDINE A HUMPHREY                             7583 S IVANHOE CIRCLE                                                                           ENGLEWOOD          CO    80112‐6522
GERALDINE A HUSFELT & VICKI L HUSFELT JT TEN     16 KELLER RD BROOKSIDE                                                                          NEWARK             DE    19713‐2402
GERALDINE A IRONS & JERRY G IRONS II JT TEN      2490 DURANT HEIGHTS                                                                             FLINT              MI    48507‐4511
GERALDINE A IRONS & MARY L COOPER JT TEN         2490 DURANT HEIGHTS                                                                             FLINT              MI    48507‐4511
GERALDINE A JACKSON                              23100 MARLOW ST                                                                                 OAK PARK           MI    48237‐2475
GERALDINE A KURKIE                               9042 PINE COVE DRIVE                                                                            WHITMORE LAKE      MI    48189
GERALDINE A MACK                                 254 EAST BANK ST                                                                                ALBION             NY    14411‐1214
GERALDINE A MILLER                               19310 HICKORY RIDGE RD                                                                          FENTON             MI    48430‐8529
GERALDINE A MORITZ TR GERALDINE A MORITZ TRUST   2090 EAGLE POINTE                                                                               BLOOMFIELD HILLS   MI    48304‐3806
UA 09/01/98
GERALDINE A MURPHY                               1209 ARVILLA NW                                                                                 ALBUQUERQUE        NM    87107‐2707
GERALDINE A NELLIS                               550 ROTONDA BLVD W                     APT 101                                                  ROTONDA WEST       FL    33947‐2540
GERALDINE A PAFFORD                              212 BERTMIN STREET                                                                              JOHNSTOWN          PA    15904‐1806
GERALDINE A PRIOR & JO ANN D'ANGELO JT TEN       35 ANDREWS AVE                                                                                  BINGHAMTON         NY    13904‐1307
GERALDINE A PRIOR & PENNY SCOTT JT TEN           35 ANDREWS AVE                                                                                  BINGHAMTON         NY    13904‐1307
GERALDINE A PROMER                               1735 BUSHWOOD LN                                                                                LANSING            MI    48917‐7812
GERALDINE A QUINN                                815 MALZAHN                                                                                     SAGINAW            MI    48602‐2936
GERALDINE A SEIP                                 5297 STANDISH                                                                                   TROY               MI    48098‐4089
GERALDINE A SMITH                                466 RICK RD                                                                                     SOUTHAMPTON        PA    18966‐3101
GERALDINE A SMITH TR GERALDINE A SMITH UA        662 SUMMIT RIDGE DR                                                                             MILFORD            MI    48381‐1679
3/15/78
GERALDINE A VONSPRECKELSEN                       7809 BROOKDALE DRIVE                                                                            RALEIGH            NC    27616‐9719
GERALDINE A WALDEN & CAROLYN J GEORGE JT TEN     2028 HUNTINGTON AVE                                                                             FLINT              MI    48507‐3517

GERALDINE A WALDEN & KENNETH M HOPSON JT TEN     7481 WISE ST                                                                                    SWARTZ CREEK       MI    48473

GERALDINE A WHITE                                220 OLD PIEDMONT GADSDEN HWY                                                                    PIEDMONT           AL    36272
GERALDINE A WRIGHT                               120 HAYSTACK CT                                                                                 BRENTWOOD          CA    94513‐2500
GERALDINE ABBENGA                                1718 WINDSOR WAY                                                                                TAMPA              FL    33619‐5740
GERALDINE ALLEN                                  C/O GERALDINE A FINLEY                 14 BILLING PL                                            PALM COAST         FL    32137‐9345
GERALDINE ANNE ATTEBERY                          4119 E NISBET RD                                                                                PHOENIX            AZ    85032‐4750
GERALDINE AULT & ROBERT AULT & BARBARA           7205 CHADWICK DR                                                                                FORT WAYNE         IN    46816
BITZINGER JT TEN
GERALDINE B BELISLE                              34601 ELMWOOD ST                       APT 143                                                  WESTLAND           MI    48185‐3078
GERALDINE B JOHNSON                              3465 CASA GRANDA CIRCLE                                                                         JACKSON            MS    39209‐6104
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GERALDINE B JOHNSON                                3907 S UNION AVE                                                                                  TULSA            OK    74107‐5615
GERALDINE B SCHUCK                                 5832 E CASPER RD                                                                                  MESA             AZ    85205
GERALDINE B STREGEVSKY TOD TAMI ANN THOMAS         274 SE WALLACE TER                                                                                PORT ST LUCIE    FL    34983‐3727
SUBJECT TO STA TOD RULES
GERALDINE BALBONI                                  37 SHERWOOD AVE                                                                                   W SPRINGFIELD    MA    01089
GERALDINE BANKS                                    2927 E LARNED                                                                                     DETROIT          MI    48207‐3905
GERALDINE BARR                                     16 LEO PLACE                                                                                      NEWARK           NJ    07108‐1406
GERALDINE BELTON                                   PO BOX 37153                                                                                      MAPLE HGTS       OH    44137‐0153
GERALDINE BIVENS                                   1355 DEBDEN PL                                                                                    STONE MTN        GA    30083‐1212
GERALDINE BLACKWELL                                11301 LAKEPOINTE                                                                                  DETROIT          MI    48224‐1684
GERALDINE BLANCHARD                                114 ESPERO DR                                                                                     NATCHEZ          MS    39120
GERALDINE BROTHERTON                               11460 READING RD                         APT 2                                                    CINCINNATI       OH    45241‐2292
GERALDINE BROWN                                    9560 SAINT MARYS                                                                                  DETROIT          MI    48227‐1642
GERALDINE BROWNE                                   2 EDWARDS ST APT 2C                                                                               ROSLYN HEIGHTS   NY    11577
GERALDINE BUTLER                                   12976 PAWNEE RD                                                                                   APPLE VALLEY     CA    92308‐6512
GERALDINE BUTTRAM                                  3245 CARRIER AVENUE                                                                               KETTERING        OH    45429‐3509
GERALDINE C COLLINS & GERALDINE M COLLINS JT TEN   116 WEST ALVORD ST                                                                                SPRINGFIELD      MA    01108‐2224

GERALDINE C GOODNEY                                W8429 COUNTY ROAD W                                                                               PHILLIPS         WI    54555‐6510
GERALDINE C GRAYSON                                2130 CHARLES                                                                                      PAMPA            TX    79065‐3616
GERALDINE C HAUCK                                  8205 S CLIPPINGER DRIVE                                                                           CINCINNATI       OH    45243‐3243
GERALDINE C HOVER                                  11558 FARMHILL DR                                                                                 FENTON           MI    48430‐2532
GERALDINE C KANE                                   18 ARROW HEAD DRIVE                                                                               WEST SIMSBURY    CT    06092‐2800
GERALDINE C KNODE & JOHN H KNODE JT TEN            428 MILLER ST                                                                                     WINCHESTER       VA    22601‐3218
GERALDINE C MCDONALD                               PO BOX 4998                                                                                       ONEIDA           TN    37841‐4998
GERALDINE C MURRAY                                 1857 ROBERTS LN NE                                                                                WARREN           OH    44483‐3623
GERALDINE C STANGE                                 7051 S LINDEN RD                                                                                  SWARTZ CREEK     MI    48473‐9432
GERALDINE C STINSON & SCOTT F STINSON JT TEN       ROUTE 2 BOX 79                                                                                    ONA              WV    25545‐9603
GERALDINE C TANSEY                                 16565 GRACE CT                           APT 107                                                  SOUTHGATE        MI    48195‐3630
GERALDINE C WOODS TR UA 09/21/2007 GERALDINE C     1964 IDLEWILD LANE                                                                                HOMEWOOD         IL    60430
WOODS TRUST
GERALDINE CLARK                                    16600 FENMORE                                                                                     DETROIT          MI    48235
GERALDINE CLARK                                    907 HAZELWOOD AVE                                                                                 SYRACUSE         NY    13224‐1314
GERALDINE CLARK & MOSES MITCHELL CLARK JR JT TEN   907 HAZELWOOD AVE                                                                                 SYRACUSE         NY    13224‐1314

GERALDINE CLARK & TODD M CLARK JT TEN              907 HAZELWOOD AVE                                                                                 SYRACUSE         NY    13224‐1314
GERALDINE COLLOSKY & WILLIAM A COLLOSKY JT TEN     5S040 PEBBLEWOOD LN                      APT E304                                                 NAPERVILLE       IL    60563‐9090

GERALDINE CUNEGIN                                  18508 SHIELDS                                                                                     DETROIT          MI    48234‐2086
GERALDINE D BARRETT                                1205 DIVISION ST                                                                                  METAIRIE         LA    70001‐3943
GERALDINE D BUTTERFIELD                            7656 CLEAR LAKE ROAD                                                                              BROWN CITY       MI    48416‐9659
GERALDINE D GIBSON                                 836 PARKERSVILLE ROAD                                                                             WESTCHESTER      PA    19382‐7033
GERALDINE D GRANT                                  PO BOX 206                                                                                        ESSEXVILLE       MI    48732‐0206
GERALDINE D LAMPKIN                                128 RUTHERFORD PLACE                                                                              JACKSON          MS    39206‐2141
GERALDINE D LUPA TR UA 09/27/2007 GERALDINE D      32938 BROOKSIDE CIRCLE                                                                            LIVONIA          MI    48152
LUPA LIVING TRUST
GERALDINE D MC PHEE                                102 EDGELL DR                                                                                     FRAMINGHAM       MA    01701‐3180
GERALDINE D RUSSELL                                PO BOX 56                                                                                         EUSTACE          TX    75124‐0056
GERALDINE D SMOLA                                  PO BOX 700                                                                                        STANLEY          ND    58784
GERALDINE DANIELS                                  332 WALDEN AVENUE                                                                                 BUFFALO          NY    14211‐2354
GERALDINE DANIELS & BUWAYNE DANIELS &              136 HEDLEY PL                                                                                     BUFFALO          NY    14208‐1015
ANTONELLA DANIELS JT TEN
GERALDINE DANKO                                    39 STORMYTOWN RD                                                                                  OSSINING         NY    10562‐2522
GERALDINE DAVIS                                    PO BOX 593                                                                                        FLINT            MI    48501‐0593
GERALDINE DAVIS                                    525 SO ANAHEIM HILLS RD                  C‐412                                                    ANAHEIM          CA    92807
GERALDINE DE BRUCE                                 6925 SELKIRK DR                                                                                   FORT WAYNE       IN    46816‐4154
GERALDINE DICE                                     535 ROUND LAKE DR                                                                                 CALEDONIA        MI    49316‐9225
GERALDINE DOTSON                                   17412 WANDA                                                                                       DETROIT          MI    48203‐2370
GERALDINE DOWNS                                    6248 BLACKHAWK                                                                                    OLIVE BRANCH     MS    38654‐8541
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GERALDINE DUVALIER                               5100 CLEVELAND AVE                    APT 311                                                  KANSAS CITY     MO     64130‐3089
GERALDINE E FRANK                                10 JOEL PL                                                                                     PORT WASHINGTON NY     11050‐3412

GERALDINE E KANNO                                617 HOOMOANA ST                                                                                PEARL CITY       HI    96782‐1659
GERALDINE E LUDWICK                              2460 LIVINGSTON ROAD S W                                                                       ROANOKE          VA    24015‐4137
GERALDINE E MILLER                               743 LOUISIANA                                                                                  LAWRENCE         KS    66044‐2339
GERALDINE E MURPHY                               4302 SOUTH GRAND TRAVERSE                                                                      FLINT            MI    48507‐2503
GERALDINE E RILEY & JOHN J RILEY JT TEN          4 SEMINOLE AVE                                                                                 CLAYMONT         DE    19703‐2040
GERALDINE E ROOD & PAUL J ROOD JR JT TEN         72723 CR 378                                                                                   COVERT           MI    49043‐9502
GERALDINE E ROSE                                 786 NORTH ROAD                                                                                 NORTH YARMOUTH   ME    04097‐6941

GERALDINE E RUDDY                                82 JAMES ST                                                                                    KINGSTON         PA    18704‐4730
GERALDINE E SCHERER                              4665 BLACKMORE RD                                                                              LESLIE           MI    49251‐9727
GERALDINE E SHUE & SIDNEY A SHUE JT TEN          5191 WOODHAVEN CT                     APT 804                                                  FLINT            MI    48532‐4192
GERALDINE E WILKS                                523 REDMOND PLACE NE                                                                           RENTON           WA    98056‐3988
GERALDINE EARLS                                  16 IVY LANE                                                                                    SETAUKET         NY    11733‐3114
GERALDINE EFRAM TR UA 01/24/94 GERALDINE EFRAM   405 N LA PATERA LN                                                                             GOLETA           CA    93117‐1509
TRUST
GERALDINE ELLIOTT                                1477 LONG POND RD APT 113                                                                      ROCHESTER        NY    14626‐4147
GERALDINE ESTES                                  725 JOHN ST #3                                                                                 CRESTLINE        OH    44827‐1300
GERALDINE F BAKER                                5430 KITRIDGE RD                                                                               DAYTON           OH    45424‐4442
GERALDINE F BALDWIN                              47 IROQUOIS RD                                                                                 YONKERS          NY    10710‐5031
GERALDINE F BODNAR                               115 YOUNGSTOWN RD                                                                              LEMONT FURNACE   PA    15456‐1021

GERALDINE F CAUGHELL                             1889 N CR 300 E                                                                                LOGANSPORT       IN    46947‐7310
GERALDINE F D'AMORE                              1 ALLEN DR                                                                                     KINNELON         NJ    07405‐2925
GERALDINE F DEPALMA                              130 SHEAROUSE SPUR                                                                             SPRINGFIELD      GA    31329‐4839
GERALDINE F GRAVNING                             1201 N LINCOLN AVE                                                                             SIOUX FALLS      SD    57104‐1722
GERALDINE F JEWETT                               4112 LAKESPUR DR                                                                               DAYTON           OH    45406
GERALDINE F LANDRUM & HEATHER L ANDERSON JT      4782 HARDING                                                                                   CLARKSTON        MI    48346
TEN
GERALDINE F MC KEON                              PO BOX 5824                                                                                    ARLINGTON        VA    22205‐0824
GERALDINE F MEYERS                               123 CAROL AVE                                                                                  BELLEVUE         OH    44811‐1120
GERALDINE F MRSNIK & JOHN MRSNIK JT TEN          15020 SHORE ACRES DR                                                                           CLEVELAND        OH    44110‐1240
GERALDINE F NEFF                                 109 KONNER AVE                                                                                 PINE BROOK       NJ    07058‐9525
GERALDINE F PATTERSON                            406 LOCUST AVE                                                                                 OAKDALE          NY    11769‐1603
GERALDINE F SCHESSLER                            31 SHALLOW BROOK LANE                                                                          BELGRADE         MT    59714‐9517
GERALDINE F TUSHIM                               220 NEWRY ST                          FRIENDSHIP HALL APT 2                                    HOLLIDAYSBURG    PA    16648‐1626
GERALDINE FEASTER                                5618 OXLEY DR                                                                                  FLINT            MI    48504‐7038
GERALDINE FIORELLO                               98 DAWSON CIR                                                                                  STATEN ISLAND    NY    10314‐3825
GERALDINE FLETCHER                               2540 TILLMAN                                                                                   ARCANUM          OH    45304‐9212
GERALDINE FRANKLIN                               204 MARENGO AVE                       APT 4F                                                   FOREST PARK      IL    60130‐1648
GERALDINE FRANKLIN                               12908 E CANFIELD                                                                               DETROIT          MI    48215‐3303
GERALDINE FRECHTLING                             761 BEELER BLVD                                                                                HAMILTON         OH    45013‐6057
GERALDINE G ALLEN                                1026 DRAKE COURT                                                                               MIAMISBURGTON    OH    45342‐2079
GERALDINE G BIALAS                               30208 AUSTIN DR                                                                                WARREN           MI    48092‐1898
GERALDINE G GIBSON                               2901 CENTER RD                                                                                 KOKOMO           IN    46902‐9795
GERALDINE G HAYES                                1195 ROSE CENTER RD                                                                            FENTON           MI    48430‐8528
GERALDINE G JAMES                                1325 CHENE ST                                                                                  DETROIT          MI    48207‐4977
GERALDINE G KAHSE                                49 MITCHELL AVE                                                                                EAST BRUNSWICK   NJ    08816‐1235
GERALDINE G MATHEWS                              628 CARPENTER RD                                                                               FLUSHING         MI    48433‐1359
GERALDINE G MATTHEWS                             205‐45 LEVEQUE ST                     WINNIPEG MB                            R2J 1N3 CANADA
GERALDINE G MATTHEWS                             205‐45 LEVEQUE ST                     WINNIPEG MB                            R2J 1N3 CANADA
GERALDINE G SCHNEIDER                            PO BOX 207                                                                                     GANSEVOORT       NY    12831‐0207
GERALDINE GILCHREST SAVOURY                      44 RICHARD HILL RD                                                                             CRARYVILLE       NY    12521‐5125
GERALDINE GILLARM                                6387 TURNER ROAD                                                                               FLUSHING         MI    48433‐9251
GERALDINE GROVES                                 1623 S COURTLAND                                                                               KOKOMO           IN    46902‐2055
GERALDINE H BOYLE & J MISCHEL OSTOVICH JT TEN    4461 STACK BLVD                       APT E224                                                 MELBOURNE        FL    32901‐8570
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Name                                                Address1                               Address2                       Address3   Address4          City               State Zip

GERALDINE H FARLOW                                  404 WOODARD STREET                                                                                 OAKLEY             MI    48649‐9778
GERALDINE H GUERINOT                                100 MCAULEY DR                         APT 355                                                     ROCHESTER          NY    14610‐2353
GERALDINE H MITCHELL                                2606 NEWPORT DRIVE                                                                                 DURHAM             NC    27705‐2750
GERALDINE H PILKINGTON                              85 WERKLEY ROAD                                                                                    TONAWANDA          NY    14150‐9125
GERALDINE HALL                                      112 SCHREIBER DR                                                                                   HASLET             TX    76052‐4020
GERALDINE HARDY                                     19707 MACK AVE                                                                                     GROSSE POINTE      MI    48236‐2501
                                                                                                                                                       WOOD
GERALDINE HARRINGTON                                22353 LERHONE ST                       APT 719                                                     SOUTHFIELD         MI    48075
GERALDINE HENDERSON                                 1187 JOHNSON RD                                                                                    CONYERS            GA    30094‐5819
GERALDINE HENNEN                                    429 WITHWORTH AVE                                                                                  KINGSFORD          MI    49802‐5639
GERALDINE HENRY‐SMITH                               13441 TRACY ST #7                                                                                  BALDWIN PARK       CA    91706‐4791
GERALDINE HERRMANN                                  11614 S KIRKWOOD                                                                                   STAFFORD           TX    77477‐1306
GERALDINE HICKEY                                    PO BOX 72                                                                                          ST PAUL            IN    47272‐0072
GERALDINE HINKLE                                    1618 GAP CREEK RD                                                                                  ELIZABETHTON       TN    37643‐5702
GERALDINE HOOPER                                    15818 RUTHERFORD                                                                                   DETROIT            MI    48227‐1972
GERALDINE HORGER                                    4330 FIVE LAKES RD                                                                                 NORTH BRANCH       MI    48461‐8975
GERALDINE HOWARD                                    210 WOODLAWN AVE                                                                                   RICHMOND           IN    47374‐4733
GERALDINE IANIERO                                   3 MARSHALL PLACE                                                                                   MIDDLESEX          NJ    08846‐1415
GERALDINE IRENE KEATING & PHILIP JAMES KEATING JT   709 NORTH HAYES AVENUE                                                                             OAK PARK           IL    60302‐1705
TEN
GERALDINE J COLEMAN & DON E COLEMAN JT TEN          424 MCPHERSON                                                                                      LANSING            MI    48915‐1158

GERALDINE J FELAX                                   2236 SHORE RD                                                                                      ROGERS CITY      MI      49779
GERALDINE J LOTT                                    209 BREADEN STREET                                                                                 YOUNGSTOWN       OH      44502‐1833
GERALDINE J LOVE                                    PO BOX 82                                                                                          GILLESPIE        IL      62033‐0082
GERALDINE J LUNA                                    4447 ELMWOOD AVE                                                                                   ROYAL OAK        MI      48073‐1519
GERALDINE J NIEMI                                   PO BOX 545                                                                                         CAPAC            MI      48014‐0545
GERALDINE J REKOWSKI                                30350 PALOMINO                                                                                     WARREN           MI      48093‐5047
GERALDINE J ROESNER & NELS R OLSON JT TEN           862 DUNEDIN DR                                                                                     ROCHESTER HLS    MI      48309
GERALDINE J RUMSFIELD                               224 DEVON AVE                                                                                      PARK RIDGE       IL      60068‐5514
GERALDINE J WEAVER                                  5424 WEST 'O N' AVE                                                                                KALAMAZOO        MI      49009‐8124
GERALDINE J YOUNT                                   1081‐16TH AVE NW                                                                                   HICKORY          NC      28601‐2266
GERALDINE JABLONSKI & LAURIE JABLONSKI JT TEN       24988 POWERS                                                                                       DEARBORN HEIGHTS MI      48125‐1860

GERALDINE JOAN PATRY                                105 AVERY AVE                                                                                      MERIDEN            CT    06450‐5964
GERALDINE JOHNSON                                   C/O RODNEY JOHNSON                     PO BOX 87 LINCOLNTON STATION                                NEW YORK           NY    10037
GERALDINE JONES                                     8444 COGHILL LANE                                                                                  CINCINNATI         OH    45239‐3810
GERALDINE K ELEAM                                   1510 COLGIN ST                                                                                     MOBILE             AL    36605‐4804
GERALDINE K GENTRY                                  11821 AINTREE COURT                                                                                TRINITY            FL    34655‐7161
GERALDINE K GLYNN                                   3618 CURRY LN                                                                                      JANESVILLE         WI    53546‐3449
GERALDINE K GREENE                                  C/O GERALDINE K ELEAM                  1510 COLGIN ST                                              MOBILE             AL    36605‐4804
GERALDINE K MORSE                                   1510 COLGIN ST                                                                                     MOBILE             AL    36605‐4804
GERALDINE KEIFER                                    1918 MAPLE TREE                                                                                    ST PETERS          MO    63376‐6615
GERALDINE KLEPEK                                    3745 BROWNHELM STATION                                                                             VERMILION          OH    44089
GERALDINE KNOWLES                                   17888 ANGLIN                                                                                       DETROIT            MI    48212‐1006
GERALDINE L BORDNER                                 5100 N TWIN LAKES RD                                                                               CHEBOYGAN          MI    49721‐9553
GERALDINE L BUCHANAN                                1634 PETTIBONE                                                                                     FLINT              MI    48507‐1516
GERALDINE L BUTCHER ADM EST JAMES F BUTCHER         1251 KINGSTON ROAD                                                                                 UNIONTOWN          OH    44685‐6908

GERALDINE L CAPLINGER                               288 S CLAYTON ROAD                                                                                 NEW LEBANON        OH    45345‐1606
GERALDINE L GALLAGHER                               1308 BOSTON AVE                                                                                    JOLIET             IL    60435‐4098
GERALDINE L GARRISON                                8282 W DELPHI PIKE                                                                                 CONVERSE           IN    46919‐9317
GERALDINE L JELSONE                                 24703 LEXINGTON                                                                                    EAST POINTE        MI    48021‐1390
GERALDINE L JOHANINGMEYER                           17881 SUZANNE RIDGE DR                                                                             WILDWOOD           MO    63038‐1474
GERALDINE L LABELT & WALTER G LABELT JT TEN         37316 HACKER DR                                                                                    STERLING HEIGHTS   MI    48310‐4055

GERALDINE L LACY                                    15618 RIVER MAPLE LN                                                                               HOUSTON            TX    77062‐4766
GERALDINE L LEET                                    337 S CHURCH ST APT 2                                                                              NEW CARLISLE       OH    45344
GERALDINE L LEWIS                                   2621 CHEROKEE CIR                                                                                  TUSCALOOSA         AL    35404‐4970
                                             09-50026-mg                  Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit E
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GERALDINE L MCCONNELL                            RD 1 BOX 1062                                                                                                 PULASKI           PA    16143‐9705
GERALDINE L MENOSKY                              3385 W WESTERN RESERVE                                                                                        CANFIELD          OH    44406‐9127
GERALDINE L OLINGER‐GRANT                        1446 AMBERLEY DR                                                                                              DAYTON            OH    45406‐4722
GERALDINE L PFEIL                                1821 HOVE RD                                                                                                  COLUMBUS          OH    43221‐1355
GERALDINE L ROHRBACK                             342 N WEST ST                                                                                                 XENIA             OH    45385‐2332
GERALDINE L RUSSAU                               1132 SHERMAN S E                                                                                              GRAND RAPIDS      MI    49506‐2610
GERALDINE L SANTACRUZ                            302 WILLOWBROOK RD                                                                                            BOOTHWYN          PA    19061‐2827
GERALDINE L SCHULTZ                              3694 BALFOUR ROAD                                                                                             DETROIT           MI    48224‐3436
GERALDINE L WASHINGTON                           5947 FOUNDERS HILL DR UNIT 203                                                                                ALEXANDRIA        VA    22310‐5502
GERALDINE L WEST                                 1281 WILD GOOSE WAY                                                                                           DAYTON            OH    45458‐2776
GERALDINE LANGSCHWAGER                           310 S SPRUCE ST                                                                                               TRAVERSE CITY     MI    49684‐2468
GERALDINE LARSON                                 PO BOX 1745                                                                                                   FRANKFORT         MI    49635‐1745
GERALDINE LAVINIA JAMES                          156 BEASONSFIELD PARADE                 APT 8                       ALBERT PARK VICTORIA    3206 AUSTRALIA
GERALDINE LOCHER                                 22359 HERITAGE PASS                                                                                           CHATSWORTH        CA    91311‐1263
GERALDINE M ACKERLY                              5379 E MCKENZIE                                                                                               FRESNO            CA    93727‐3229
GERALDINE M ACOX                                 14088 EASTVIEW DR                                                                                             FENTON            MI    48430‐1302
GERALDINE M ADAMS                                721 S HILL ISLAND RD                                                                                          CEDARVILLE        MI    49719‐9781
GERALDINE M AGNES                                6383 BROOKS DR                                                                                                ARVADA            CO    80004‐5150
GERALDINE M BALES                                354 HARTFORD DR                                                                                               HAMILTON          OH    45013‐2129
GERALDINE M BARTLETT                             1627 STONYBROOK                                                                                               ROCHESTER HILLS   MI    48309‐2706
GERALDINE M BENNETT                              557 FOREST VIEW RD                                                                                            LINTHICUM         MD    21090
GERALDINE M BESSLER                              8507 KNIGHTS KNOLL                                                                                            SAN ANTONIO       TX    78250‐5650
GERALDINE M BONNELL                              22901 MARTER RD                                                                                               ST CLAIR SHORES   MI    48080‐2724
GERALDINE M BRODERICK & JOSEPH C BRODERICK JT    26 HEARTHSTONE CIRCLE                                                                                         NATICK            MA    01760‐1341
TEN
GERALDINE M BURKE                                5728 W EASTWOOD                                                                                               CHICAGO           IL    60630‐3310
GERALDINE M CARROLL                              361 D BROAD ST                                                                                                CANFIELD          OH    44406
GERALDINE M CONNIFF & WILLIAM P CONNIFF JT TEN   524 PEAR ST                                                                                                   SCRANTON          PA    18505‐4032

GERALDINE M CRITCHLEY                            3907 HUNTINGTON ST NW                                                                                         WASHINGTON        DC    20015‐1913
GERALDINE M DARE                                 3315 ROCK VALLEY RD                                                                                           METAMORA          MI    48455‐9322
GERALDINE M DELGADO                              40325 CORTE CAMPEON                                                                                           MURRIETA          CA    92562‐3834
GERALDINE M DICKSON                              1205 DIVISION ST                                                                                              METAIRIE          LA    70001‐3943
GERALDINE M ELLIOTT & GERALD F HATCH JT TEN      3020 HEATHER WAY                                                                                              LAKELAND          FL    33801‐7032
GERALDINE M FORTH                                152 SHORELINE DR E                                                                                            PORT SANILAC      MI    48469‐9767
GERALDINE M GAGYE                                ATTN SCHREIBER                          42 TIMBER CIR                                                         HUBBARD           OH    44425‐8733
GERALDINE M GIFFORD TR UA 06/15/94 GERALDINE M   31940 WALKER RD                                                                                               AVON LAKE         OH    44012‐2045
GIFFORD TRUST
GERALDINE M HARRISON                             PO BOX 90553                                                                                                  BURTON            MI    48509‐0553
GERALDINE M HOLLOWAY                             224 RIVERFOREST DR                                                                                            FREEPORT          PA    16229‐1523
GERALDINE M JONES                                2235 LEHIGH PLACE                                                                                             DAYTON            OH    45439‐3015
GERALDINE M JONES                                4528 S GREEN RIDGE CIR                                                                                        GREENFIELD        WI    53220‐3375
GERALDINE M KAY                                  4024 SHENANDOAH                                                                                               DAYTON            OH    45417‐1102
GERALDINE M LYDEN                                109 WOODLAND ST                                                                                               HOLLISTON         MA    01746‐1821
GERALDINE M OCONNOR & SUSAN A OCONNOR JT TEN     8615 N MERRILL ST                                                                                             NILES             IL    60714‐1920

GERALDINE M PASEK TR GERALDINE M PASEK REV       4039 ALLENWOOD SE                                                                                             WARREN            OH    44484‐2927
TRUST UA 1/29/01
GERALDINE M PATTON                               11 TERRY LANE                                                                                                 E BRUNSWICK       NJ    08816‐3744
GERALDINE M PENDER                               247 STONY LAKE DR                                                                                             OXFORD            MI    48371‐6740
GERALDINE M RAMOS & GEORGE M RAMOS JT TEN        1012 W OLIVER ST                                                                                              OWOSSO            MI    48867‐2113

GERALDINE M RINGOLD CUST PETER GEORGE RINGOLD    11855 THUNDERBIRD AVE                                                                                         NORTHRIDGE        CA    91326‐1451
UGMA CA
GERALDINE M SAILUS                               C/O EDWARD JONES                        ATTN STACY SAILUS DOWNING   140 WEST CHICAGO BLVD                     TECUMSEH          MI    49286‐1553
GERALDINE M SALIOLA & CHERYL L VITO JT TEN       20 BASSET DR                                                                                                  TOMS RIVER        NJ    08757
GERALDINE M STEIMLOSK                            10075 DEERPATH                                                                                                TRAVERSE CITY     MI    49684
GERALDINE M TOBIAS                               34 MELCOR DE CANONCITO                                                                                        CEDAR CREST       NM    87008‐9429
GERALDINE M WALSH                                C/O GERALDINE BARTLETT                  1627 STONYBROOK                                                       ROCHESTER HILLS   MI    48309‐2706
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GERALDINE M WATTS                                 161 GRAMONT AVENUE                                                                               DAYTON            OH    45417‐2217
GERALDINE M WILLARD                               705 WATERVIEW CT SW                                                                              GRANDVILLE        MI    49418‐9460
GERALDINE M WILSON                                748 MCCALLISTER AVE                                                                              SUN CITY CENTER   FL    33573‐7023
GERALDINE M ZAHRADNIK                             22 ROCKROSE DR                                                                                   NEWARK            DE    19711‐6853
GERALDINE MACEVOY                                 4430 DAY ROAD                                                                                    LOCKPORT          NY    14094‐9403
GERALDINE MARIE BARTRUM                           68 SCHOOL ST                                                                                     WASHINGTON        NJ    07882‐1444
GERALDINE MARSHALL                                6769 AMBERLY ST                                                                                  SAN DIEGO         CA    92120
GERALDINE MARTIN                                  5383 HUNT MASTER LN                     HUNTER RIDGE                                             FONTANA           CA    92336‐0115
GERALDINE MAY WHITE‐HASKINS                       1339 TAYLOR ST                                                                                   JENISON           MI    49428‐9570
GERALDINE MC CRACKEN                              65 ABERDEEN ST                                                                                   ROCHESTER         NY    14619‐1211
GERALDINE MC KENNA                                237 MORRIS AVE                                                                                   MALVERNE PARK     NY    11565‐1214
GERALDINE MCGUIRE                                 1 COUNTRY LN RM 211                                                                              BROOKVILLE        OH    45309‐7212
GERALDINE MELODY OLDENKAMP                        13122 ROSSELO                                                                                    WARREN            MI    48093‐3145
GERALDINE MENDRYKOWSKI                            47 LOU DR                                                                                        DEPEW             NY    14043‐4747
GERALDINE METRAS & CHARLES R METRAS JT TEN        15659 FITZGERALD                                                                                 LIVONIA           MI    48154‐1807
GERALDINE MILBRY                                  401 RENDALE PLACE                                                                                TROTWOOD          OH    45426‐2827
GERALDINE MITCHELL                                1467 HAMPSHIRE RD                                                                                CANTON            MI    48188‐1211
GERALDINE MONZIONE & FREDERICK L MONZIONE JT      282 BERKELEY AVE                                                                                 BLOOMFIELD        NJ    07003‐4946
TEN
GERALDINE MOODY & BETTY MOODY WHITE JT TEN        196 BATH ST                                                                                      ELYRIA            OH    44035‐3502

GERALDINE MOORE                                   16929 BIRWOOD                                                                                    DETROIT           MI    48221‐2876
GERALDINE MORGAN                                  2533‐2ND PL SW                                                                                   VERO BEACH        FL    32962‐3327
GERALDINE MOROWITZ                                1225 JASMINE CIR                                                                                 WESTON            FL    33326‐2826
GERALDINE MOSS                                    804 ALCOVY WAY                                                                                   LAWRENCEVILLE     GA    30043‐4708
GERALDINE N WILLIAMS                              44831 N HILLS DR                        APT J146                                                 NORTHVILLE        MI    48167‐2185
GERALDINE NEWMAN                                  3539 CHERRY RIDGE TRAIL                                                                          DECATUR           GA    30034‐5020
GERALDINE NOLAN TR GERALDINE NOLAN TRUST UA       6400 YORK AVE SOUTH                                                                              EDINA             MN    55435‐2343
08/21/03
GERALDINE OLIVE LUCILLE JAMES MOONACRES           156 BEACONSFIELD RDE APT 8              ALBERT PARK          VICTORIA          3206 AUSTRALIA
GERALDINE P ANGELASTRO                            11 TREDWELL AVENUE                                                                               LYNNBROOK         NY    11563‐3429
GERALDINE P MESSERSMITH                           4404 PHALANX MILLS HERNER ROAD                                                                   SOUTHINGTON       OH    44470
GERALDINE P PETERSON                              7790 LEWIS ROAD                                                                                  HOLLAND           NY    14080‐9679
GERALDINE P WEBB                                  2619 WINDSOR AVE                                                                                 ROANOKE           VA    24015‐2643
GERALDINE PERRY                                   14823 LESURE ST                                                                                  DETROIT           MI    48227‐3244
GERALDINE PHILLIPS                                1915 34TH AVENUE                                                                                 MERIDIAN          MS    39301‐2818
GERALDINE PRUSSEY                                 2078 TIMBER WAY                                                                                  CORTLAND          OH    44410‐1811
GERALDINE QUART                                   10333 N SCOTTSDALE RD                   STE 2                                                    PARADISE VLY      AZ    85253‐1438
GERALDINE R BOPP                                  200 BEACON HILL DR                                                                               DOBBS FERRY       NY    10522‐2404
GERALDINE R EIDSON                                6320 FIRTH RD                                                                                    FT WORTH          TX    76116‐2043
GERALDINE R FOLEY                                 3334 LOCKWOOD                                                                                    DETROIT           MI    48210‐3255
GERALDINE R GAROFALO                              12311 MARTHA ANN DRIVE                                                                           LOS ALAMITOS      CA    90720‐4726
GERALDINE R NEWMAN                                333 LEE DR APT 212                                                                               BATON ROUGE       LA    70808‐4982
GERALDINE R PANYKO TR UA 06/24/94 THE GERALDINE   109 TIMBERLODGE COURT                                                                            ROSEVILLE         CA    95747‐8714
R PANYKO TRUST
GERALDINE R SAUNDERS                              27201 CLAIRVIEW STREET                                                                           DEARBORN HEIGHTS MI     48127‐1681

GERALDINE R WATSON                                3409 BARDSHAR RD                                                                                 SANDUSKY          OH    44870‐9681
GERALDINE RAE LUNDSBERG                           1216 COOK STREET                                                                                 DENVER            CO    80206‐3406
GERALDINE REDMOND                                 6074 DETROIT ST                                                                                  MT MORRIS         MI    48458‐2752
GERALDINE REDMOND & BERTHA M SANDERS JT TEN       3502 ROBIN STREET                                                                                FLINT             MI    48458

GERALDINE ROBBINS                                 112 ENON RD                                                                                      MIDWAY            AL    36053‐6320
GERALDINE ROBINSON                                19374 WHITCOMB                                                                                   DETROIT           MI    48235‐2057
GERALDINE RUSHING                                 1818 MCPHAIL ST                                                                                  FLINT             MI    48503‐4367
GERALDINE S AQUINO                                PO BOX 734                                                                                       SWORMVILLE        NY    14051‐0734
GERALDINE S DONAHOO TR GERALDINE S DONAHOO        4829 APPIAN WAY                                                                                  CHATANOOGA        TN    37415‐2334
TRUST UA 09/06/06
GERALDINE SAFRAN                                  3144 GRACEFIELD RD                                                                               SILVER SPRING     MD    20904‐5877
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GERALDINE SANDERS                                 3606 DEQUINCY                                                                                 INDIANAPOLIS    IN    46218‐1639
GERALDINE SCHAEFFER                               APT 115                              1101 S ARLINGTON RIDGE RD                                ARLINGTON       VA    22202‐1922
GERALDINE SCHRIMSHER                              204 W 16TH ST                                                                                 HOLDEN          MO    64040‐1668
GERALDINE SCUDDER                                 5812 AUSTRALIAN PINE DRIVE                                                                    TAMARAC         FL    33319‐3002
GERALDINE SEACH ROSE                              38899 ANDREWS PLACE                                                                           WILLOUGHBY      OH    44094‐7828
GERALDINE SENIOR                                  333 LAFAYETTE AVE #12A                                                                        BROOKLYN        NY    11238‐1338
GERALDINE SHARP                                   68 LULL ST                                                                                    PONTIAC         MI    48341‐2133
GERALDINE SHAW                                    4151 FLORA AVE                                                                                NORWOOD         OH    45212‐3632
GERALDINE SHIPLET TR GERALDINE SHIPLET REVOCABLE 611 N DOUGLAS ST                                                                               JENKS           OK    74037‐3800
TRUST UA 09/21/01
GERALDINE SIGMORE                                 1806 DIANE DR                                                                                 TITUSVILLE      FL    32780‐3977
GERALDINE SKAGGS                                  1412 POPLAR DR                                                                                FAIRBORN        OH    45324‐3531
GERALDINE SLAWINOWSKI                             77 METACOMET DRIVE                                                                            MERIDEN         CT    06450‐3579
GERALDINE SPINKS ALLIGOOD                         2250 RAVENHILL DR #201                                                                        FAYETTEVILLE    NC    28303‐5452
GERALDINE STANAFORD                               1030 CREDE WAY                                                                                WAYNESVILLE     OH    45068‐9224
GERALDINE SWANSON                                 31 MAPLEVIEW AVE                                                                              LAKEWOOD        NY    14750‐1621
GERALDINE T CUNY & JACK CUNY JT TEN               1637 BISCHOFF ROAD                                                                            EAST TAWAS      MI    48730‐9741
GERALDINE T PAGELS TR GERALDINE T PAGELS TRUST UA 15819 BLUE SKIES DR                                                                           N FT MYERS      FL    33917‐5472
02/12/97
GERALDINE T RICKEY                                PO BOX 275                                                                                    OREGONIA        OH    45054‐0275
GERALDINE THOME                                   756 KORNOELJE DR                                                                              COMSTOCK PARK   MI    49321‐9537
GERALDINE TROY                                    192 BUTLER ST                                                                                 KINGSTON        PA    18704‐5212
GERALDINE V ARNOLD                                3163 THRASHER CIRCLE                                                                          DECATUR         GA    30032‐6731
GERALDINE V IOVINO                                171 CAMPBELL ROAD                                                                             FAR HILLS       NJ    07931‐2304
GERALDINE V NORMAN                                19326 MARLOWE                                                                                 DETROIT         MI    48235‐1947
GERALDINE V PARKER                                8501 GOLF LANE DRIVE                                                                          COMMERCE        MI    48382‐3420
                                                                                                                                                TOWNSHIP
GERALDINE V SIMONCINI                            4 ROMAN DRIVE                                                                                  SHREWSBURY      MA    01545‐5806
GERALDINE V SMITH                                19326 MARLOWE                                                                                  DETROIT         MI    48235‐1947
GERALDINE VERONESI                               BOX 328                                                                                        CANAAN          CT    06018‐0328
GERALDINE W ARTHUN                               25021 LAKE WILDERNESS CC DR SE                                                                 MAPLE VALLEY    WA    98038‐6085
GERALDINE W BIBB                                 121 MAE AVENUE                                                                                 CANTON          MS    39046‐9425
GERALDINE W BROWN                                936 HURON AVENUE                                                                               DAYTON          OH    45407‐1326
GERALDINE W HAMILTON                             23231 REPUBLIC                                                                                 OAK PARK        MI    48237‐2355
GERALDINE W HENNING TR HENNING FAM TRUST UA      1442 MERION WAY                       APT 29K                                                  SEAL BEACH      CA    90740‐4836
07/20/87
GERALDINE W TORLEY TR GERALDINE W TORLEY         41815 WAYSIDE DR                                                                               CANTON          MI    48187‐3941
REVOCABLE TRUST UA 07/23/97
GERALDINE WADE & MONIQUE HOLIDAY & EARL          16929 BIRWOOD                                                                                  DETROIT         MI    48221‐2876
MOORE JT TEN
GERALDINE WHYTE                                  1641 CAROLYN DR                                                                                MIAMISBURG      OH    45342‐2617
GERALDINE WILKERSON                              35692 GOLDSMITH DR                                                                             FREMONT         CA    94536‐2519
GERALDINE WILLIAMS                               ATTN GERALDINE THOMPSON               2085 TUDOR CASTLE DR                                     DECATUR         GA    30035‐2161
GERALDINE WILLIAMS                               4409 AVE M                                                                                     BROOKLYN        NY    11234‐3608
GERALDINE WILLIAMS                               981 DEIS DRIVE                                                                                 FAIRFIELD       OH    45014‐8130
GERALDINE WINTERS                                10852 AKRON‐CANFIELD RD                                                                        CANFIELD        OH    44406‐9772
GERALDINE WITKOWSKI                              12699 BRYCE RD                                                                                 EMMETT          MI    48022‐2900
GERALDINE WITKOWSKI & ANN M KARADJOFF & JAMES    18717 JAMESTOWN CIRCLE                                                                         NORTHVILLE      MI    48167‐3532
G WITKOWSKI JT TEN
GERALDINE YAEKO UESUGI                           703 HANCOCK WAY                                                                                EL CERRITO      CA    94530‐3005
GERALDINE Z BURGER TR UA 04/19/1993 BURGER       10330 FIDELITY AVE                                                                             CLEVELAND       OH    44111
LIVING TRUST
GERALDINEH FARLOW & ROBERT C FARLOW JT TEN       404 WOODARD STREET                                                                             OAKLEY          MI    48649‐9778

GERALDO TORIBIO                                  913 S W 56TH ST                                                                                CAPE CORAL      FL    33914‐7224
GERALDO Y PINO                                   1230 CAMPBELL ST                                                                               DETROIT         MI    48209‐2330
GERALDYNE R HENKEL TR UA 12/29/88                C/O GERALDYNE R HENKEL SETTLOR        27 PRESTON PLACE                                         GROSSE POINTE   MI    48236‐3035
                                                                                                                                                FARM
GERALEAN RATCLIFF                                631 SHEFFIELD RD                                                                               AUBURN HILLS    MI    48326‐3528
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Name                                             Address1                              Address2             Address3          Address4          City             State Zip

GERALEN M SCALIA                                 665 HORSE PEN LA                                                                               VASS             NC    28394
GERALENE J LA BARRE                              33 WESTOVER DR                                                                                 POQUOSON         VA    23662‐1432
GERALENE O TONEY                                 7022 BENTON DR                                                                                 PANAMA CITY      FL    32404‐4912
GERALINE COLEMAN                                 15516 MURRAY HILL                                                                              DETROIT          MI    48227‐1938
GERALYN A WOODY CUST GREGORY M WOODY UTMA        505 RUTH ST                                                                                    AUBURN           MI    48611‐9452
MI
GERALYN A WOODY CUST JANAE M WOODY UGMA MI       505 RUTH ST                                                                                    AUBURN           MI    48611‐9452

GERALYN A WOODY CUST JULIE A WOODY UGMA MI       505 RUTH ST                                                                                    AUBURN           MI    48611‐9452

GERALYN COGAN                                   17 STEVEN ROAD                                                                                  KENDALL PARK     NJ    08824
GERALYN M RYAN                                  530 E 72ND STREET APT 11A                                                                       NEW YORK         NY    10021‐4848
GERALYN R CIMINO                                814 FAIRMONT CT                                                                                 DES PLAINES      IL    60018‐1485
GERALYN R SURIANO CUST ANTHONY G SURIANO UTMA 14N178 GUNPOWDER LN                                                                               ELGIN            IL    60123‐7982
IL
GERANE W BLAN                                   222 MCNABB ST                                                                                   RECTOR           AK    72461‐1822
GERARD A BROSS                                  3020 NICHOLS CANYON RD                                                                          LOS ANGELES      CA    90046‐1243
GERARD A CHEFALO                                3470 MANNION RD                                                                                 SAGINAW          MI    48603‐1612
GERARD A GARCIA & LOUISE M GARCIA JT TEN        2618 WOODOLIFF TR                                                                               HARTLAND         MI    48353‐9629
GERARD A KALINOWSKI                             8027 BALDWIN RD                                                                                 SWARTZ CREEK     MI    48473‐9128
GERARD A KNATZ & KATHLEEN R KNATZ JT TEN        3685 HICKORY PARK DR                                                                            TITUSVILLE       FL    32780‐5191
GERARD A KRONENBERGER                           3790 W SALINAS CIRCLE                                                                           DAYTON           OH    45440‐3960
GERARD A LAPOINTE                               57 LIBRARY PL                                                                                   METUCHEN         NJ    08840‐1415
GERARD A LOUGHRAN JR                            4197 BELLEMEAD DR                                                                               BELLBROOK        OH    45305‐1404
GERARD A MAGGIO                                 340 PECK RD                                                                                     HILTON           NY    14468‐9318
GERARD A OATES & DOLORES M OATES JT TEN         3 RIDGE ROAD                                                                                    EMERSON          NJ    07630‐1329
GERARD A ROTH                                   3410 ST CLAUDE AVE                                                                              NEW ORLEANS      LA    70117‐6145
GERARD A WEHNER                                 1908 SOUTHRIDGE DR                                                                              EDGEWOOD         MD    21040‐3137
GERARD ARENA                                    82 HARPER DR                                                                                    PITTSFORD        NY    14534‐3154
GERARD B BYRNES                                 103 RIDINGS BLVD                                                                                CHADDS FORD      PA    19317‐9139
GERARD BELVISO JR                               350 SE 2ND ST                          APT 2470                                                 FT LAUDERDALE    FL    33301‐1983
GERARD BREAULT                                  1255 PUTNAM PIKE                       PO BOX 487                                               CHEPACHET        RI    02814‐0487
GERARD BROESLER                                 92‐19 92ND STREET                                                                               WOODHAVEN        NY    11421‐3006
GERARD C BLOOMQUIST                             11115 LONG POINT RD                                                                             PLAINWELL        MI    49080‐9264
GERARD C BOGART                                 PO BOX 633                                                                                      CRANBERRY LAKE   NY    12927‐0633
GERARD C BOGART & JEANNE R BOGART JT TEN        PO BOX 633                                                                                      CRANBERRY LAKE   NY    12927‐0633
GERARD C CAREY ADM EST LORRAINE CAREY           4818 KIPPER DR                                                                                  MOSELEY          VA    23120‐2221
GERARD C DONIN                                  22601 GORE ORPHANAGE RD                                                                         NEW LONDON       OH    44851‐9602
GERARD C GLASSMEYER                             3547 W GALBRAITH ROAD                  APT#3                                                    CINCINNATI       OH    45239‐4051
GERARD C STANELY                                4 HOCKANUM WAY                                                                                  WORCESTER        MA    01606‐2606
GERARD CAPECE                                   3 BELMOHR ST                                                                                    BELLEVILLE       NJ    07109‐2224
GERARD CAYER                                    25 CAPTAIN WATCH                                                                                SHELTON          CT    06484‐5915
GERARD CICALESE & MRS LILLIAN M CICALESE JT TEN 22 HARVARD PLACE                                                                                BELLEVILLE       NJ    07109‐1809

GERARD D SCHULTZ                                 108 ELM AVE                                                                                    NEWARK           DE    19711‐5509
GERARD D TROILO & CHRISTINE E TROILO JT TEN      541 E BALTIMORE PIKE                                                                           WEST GROVE       PA    19390‐9253
GERARD DESANTIS                                  14 HERITAGE LANE                                                                               SAUGUS           MA    01906‐3187
GERARD E MONTAGNE                                17723 W OUTER DR                                                                               DEARBORN HEIGHTS MI    48127‐2566

GERARD F HAWLEY                                  1458 ROOSEVELT                                                                                 YPSILANTI        MI    48197‐2035
GERARD F LETOURNEAU                              1005 LAFAYETTE                                                                                 MIDDLETOWN       OH    45044‐5709
GERARD F MCNULTY                                 2954 CHURCH ROAD                                                                               HAMLIN           NY    14464‐9758
GERARD F OBRIEN CUST GERARD P OBRIEN UTMA IL     15712 SOUTH LA PAZ COURT                                                                       OAK FOREST       IL    60452‐2925

GERARD F SARB & PATRICIA M SARB JT TEN           19310 W OUTER DR                                                                               DEARBORN         MI    48124‐1405
GERARD F SCHMITT                                 200 ALPINE DRIVE                                                                               ROCHESTER        NY    14618‐3747
GERARD FITZPATRICK CUST DENNIS P FITZPATRICK     1061 SILVERHILL DR                                                                             LAFAYETTE        CA    94549‐1734
UGMA CA
GERARD FOGARTY                                   52 ARBOUR ST                                                                                   WEST ISLIP       NY    11795‐1015
                                              09-50026-mg                Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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GERARD G WASHCO                                 24521 COUNTY RD 460                                                                              TRINITY            AL    35673‐4424
GERARD H MC GOWAN                               1715 BERTHA DR                                                                                   BEAVERTON          MI    48612‐9437
GERARD H TAKIGUCHI                              11411 DILLON WAY                                                                                 DUBLIN             CA    94568
GERARD HEISER                                   419 RIDGEWOOD AVE                                                                                GLEN RIDGE         NJ    07028‐1617
GERARD HIGGINS CUST CHRISTOPHER HIGGINS UGMA    2095 S CORONA ST                                                                                 DENVER             CO    80210‐4122
NY
GERARD I BEUKERS & DONALD I BEUKERS TR UNDER    2292 S 1520W                                                                                     SYRACUSE           UT    84075‐8600
WILL OF GERARD A BEUKERS
GERARD I CANAVAN                                620 DERSTINE AVE                                                                                 LANSDALE           PA    19446
GERARD J BELANGER                               184 HOLLYBERRY RD                                                                                BRISTOL            CT    06010‐2971
GERARD J BOYLE & ENID L BOYLE JT TEN            31802 ISLE ROYAL DRIVE                                                                           LAGUNA NIGUEL      CA    92677‐2826
GERARD J FENNELLY & JOSEPHINE FENNELLY JT TEN   48 LEONA AVE                                                                                     NEW CITY           NY    10956‐2940

GERARD J GOYETTE                                17521 LAUREL DR                                                                                  LIVONIA            MI    48152‐2962
GERARD J JOHNSON                                180 NORWOOD AVE                                                                                  BUFFALO            NY    14222‐1921
GERARD J MOON                                   4383 STELLO ROAD                                                                                 SAGINAW            MI    48609‐9726
GERARD J ROCHE & MARY F ROCHE JT TEN            20 FOREST PARK DR                                                                                LAKEVILLE          MA    02347‐1626
GERARD J SCARINGE                               12 MAPLE LN SOUTH                                                                                ALBANY             NY    12211
GERARD J SENDKER                                6255 SARATOGA CIRCLE                                                                             DALLAS             TX    75214‐2326
GERARD J SIROSKEY                               2110 CLYDE                                                                                       HOWELL             MI    48843‐9714
GERARD J SMITS & SHARON HUGHES SMITS JT TEN     60444 RAINTREE DRIVE                                                                             WASHINGTON         MI    48094‐2160

GERARD J SOMMERS                                29 VAN BREEMAN DR                                                                                CLIFTON            NJ    07013‐1711
GERARD J SULLIVAN                               34 30 208TH ST                                                                                   BAYSIDE            NY    11361‐1321
GERARD JOSEPH GRACEY & DOROTHY MARGARET         9130 EVERTS ST                                                                                   DETROIT            MI    48224‐1917
GRACEY JT TEN
GERARD KENNEDY & ARLENE RUFALO JT TEN           1364 N MIDDLETON DR NW                                                                           CALABASH           NC    28467‐2127
GERARD KENNEDY & BARBARA KENNEDY JT TEN         17 VELIKAN PL                                                                                    EDISON             NJ    08817‐3913
GERARD KENNEDY & DANIEL KENNEDY JT TEN          1364 N MIDDLETON DR NW                                                                           CALABASH           NC    28467‐2127
GERARD KENNEDY & MICHAEL KENNEDY JT TEN         17 VELIKAN PL                                                                                    EDISON             NJ    08817‐3913
GERARD L ANDRACKE & LUANNE M ANDRACKE JT TEN    41742 EHRKE                                                                                      MOUNT CLEMENS      MI    48038‐1857

GERARD L FIORELLINO                             2206 XANADU LANE                                                                                 WALL TOWNSHIP      NJ    07719
GERARD L GUIDICI                                37241 MARIANO DR                                                                                 STERLING HEIGHTS   MI    48312‐2055

GERARD L JORDAN                                 1012 11TH AVE                           MURRY MONOR TWO                                          WILMINGTON         DE    19808‐4969
GERARD L JORDAN & MRS CECILIA M JORDAN JT TEN   1012 11TH AVE                           MURRY MANOR TWO                                          WILIMGTON          DE    19808‐4969

GERARD LANG & PATRICIA LANG JT TEN              2823 RIFLE RIDGE ROAD                                                                            OAKTON             VA    22124‐1204
GERARD M ALTSCHUL                               10672 ZURICH ST                                                                                  COOPER CITY        FL    33026‐4830
GERARD M CURRAN                                 50 BAILEY RD                                                                                     HILTON             NY    14468‐9352
GERARD M DAVIO                                  115 POTTER                                                                                       ROYAL OAK          MI    48067‐1919
GERARD M LUDTKA                                 105 CRESTVIEW LANE                                                                               OAK RIDGE          TN    37830‐7673
GERARD M RODMAKER                               702 NORTH MILLER AVE                                                                             MARION             IN    46952‐2340
GERARD M SMALL                                  PO BOX 156                                                                                       HOPEDALE           MA    01747‐0156
GERARD M ST‐CYR & CHRISTINE NENES JT TEN        102 BUTTONWOOD DR                                                                                FAIR HAVEN         NJ    07704‐3632
GERARD M VAN ROSSEN                             3706 ARBOR DR # 706                                                                              FENTON             MI    48430‐3120
GERARD M VISCO                                  54 TIMBER RIDGE DR                                                                               HOLTSVILLE         NY    11742‐1653
GERARD M WILLENBRINK                            1272 COLBY DR                                                                                    ST PETERS          MO    63376‐5515
GERARD MALPIEDI                                 2135 HOYT AVE W                                                                                  FALCON HEIGHTS     MN    55108‐1314
GERARD MANNING CUST CHRISTINE MANNING UGMA      5814 VININGS RETREAT CT SW                                                                       MABLETON           GA    30126‐2548
NJ
GERARD MORANO                                   219 PAWNEE RD                                                                                    CRANFORD           NJ    07016‐1517
GERARD O WARMAN                                 1 CARMODY LANE                          UXBRIDGE ON                            L9P 1A5 CANADA
GERARD O WARMAN                                 1 CARMODY LANE                          UXBRIDGE ON                            L9P 1A5 CANADA
GERARD O WARMAN                                 1 CARMODY LANE                          UXBRIDGE ON                            L9P 1A5 CANADA
GERARD P MORAN                                  45 EVERGREEN AVE                                                                                 NEW PROVIDENCE     NJ    07974‐1314

GERARD P PEREZ                                  7863 DEBORA DRIVE                                                                                BRIGHTON           MI    48114‐9462
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GERARD PEPLOWSKI & DIANE PEPLOWSKI JT TEN        1915 LENNON ST                                                                                      GROSSE POINTE      MI    48236
GERARD R LILLY                                   948 BROOKWOOD LN E                                                                                  ROCHESTER HILLS    MI    48309‐1546
GERARD R POISSON                                 26 LEGION AVE                                                                                       CUMBERLAND         RI    02864‐2047
GERARD R SZYDLOWSKI                              170 VILLAGE RD                                                                                      SOUTH ORANGE       NJ    07079‐2142
GERARD R VOGT                                    6425 RUTHERFORD PL                                                                                  SUWANEE            GA    30024‐4214
GERARD R WESTFALL & PATRICIA M WESTFALL JT TEN   780 CRITSER LOOP                                                                                    TOLEDO             OR    97391‐9527

GERARD RZEMIENIEWSKI                             4851 PYLES RD                                                                                       CHAPEL HILL        TN    37034‐2657
GERARD S GRZYMKOWSKI                             13684 HARTILL                                                                                       WARREN             MI    48089‐1407
GERARD S SWANTEK JR                              2593 EMERSON N W                                                                                    WALKER             MI    49544‐1717
GERARD S WYZYWANY                                24522 ANN ARBOR TRAIL                                                                               DEARBORN HTS       MI    48127‐1780
GERARD T COLEMAN                                 5501 SWAN DRIVE                                                                                     GALVESTON          TX    77551‐5853
GERARD T GOLDEN                                  166 FERNDALE AVE                                                                                    KENMORE            NY    14217‐1018
GERARD V BURKE & JANE ANN BURKE JT TEN           717 HEMLOCK ST                                                                                      SCRANTON           PA    18505‐2019
GERARD V LOPEZ                                   14945 LAKEWOOD HEIGHTS BLVD                                                                         LAKEWOOD           OH    44107‐5504
GERARD W HOGAN CUST SHANNON HOGAN UTMA NJ        86 SHELL ST                                                                                         BEACHWOOD          NJ    08722‐2747

GERARD W LANG                                    2823 RIFLE RIDGE RD                                                                                 OAKTON             VA    22124‐1204
GERARD W MERKLE & LOIS P MERKLE JT TEN           107 TRAM CT                                                                                         COLUMBIA           SC    29210‐4411
GERARD W SCHNEIDER                               2114 E LAWRENCE ROAD                                                                                PHOENIX            AZ    85016‐1118
GERARD W WOLTER                                  3304 LAPIDARY LANE                                                                                  JANESVILLE         WI    53545‐9191
GERARD WATSON & MAUREEN WATSON JT TEN            9102 RIDGE BLVD                                                                                     BROOKLYN           NY    11209‐5704
GERARD ZOELLER & GERTRUDE F ZOELLER JT TEN       161 MARIETTA AVE                                                                                    HAWTHORNE          NY    10532‐2342
GERARDO C DAMATO                                 20 NEWBERRY AVENUE                                                                                  STATEN ISLAND      NY    10304‐4111
GERARDO F CALDERON                               505 PINEWOOD RD                                                                                     MARSHALL           TX    75676
GERARDO FEZZUOGLIO                               540 KETTLE POND DR                                                                                  S KINGTOWN         RI    02879‐5485
GERARDO GARZA                                    1920 COSTA DEL SOL DR                                                                               LAREDO             TX    78046‐6139
GERARDO J TADDEO EX EST MARIO A TADDEO           1 KENDAL DR                                                                                         TOMS RIVER         NJ    08757
GERARDO LARA                                     9423 NORTHERN                                                                                       PLYMOUTH           MI    48170‐4047
GERARDO M ALEJO                                  731 SAN JUAN BLVD                                                                                   ORLANDO            FL    32807‐1528
GERARDO MINSAL                                   1479 SUNSET WAY                                                                                     WESTON             FL    33327
GERARDO PORTALATIN                               1568 A BOGART AVE                                                                                   BRONX              NY    10462‐4002
GERARDUS VISSER                                  4 ARROWHEAD TRAIL                                                                                   IPSWICH            MA    01938‐2414
GERD C KLUNDER                                   7035 LAPEER ROAD                                                                                    DAVISON            MI    48423‐2534
GERD E FISHER                                    1414 ERIE ROAD                                                                                      ERIE               MI    48133‐9781
GERD G SCHAEFER                                  2893 OAK HILL TRL                                                                                   COMMERCE TWP       MI    48382‐1160
GERD G SCHAEFER & DOLORES C SCHAEFER JT TEN      2893 OAK HILL TRL                                                                                   COMMERCE           MI    48382‐1160
                                                                                                                                                     TOWNSHIP
GERD GOBLE                                       1375 LUTHER LN                                                                                      ARLINGTON          IL    60004‐4693
                                                                                                                                                     HEIGHTS
GERD H KEUFFEL                                   1329 INDIAN MOUND WEST                                                                              BLOOMFIELD HILLS   MI    48301‐2263

GERD KLINK                                       FALKENBLICK 10                         36251 BAD HERSFELD                         GERMANY
GERD O KROHN                                     3017 TOOLES BEND RD                                                                                 KNOXVILLE          TN    37922‐6445
GERD ROTH                                        ADAM OPEL AG                           IPC C2‐03             RUSSELSHEIM GERMAN   GERMANY
GERD T BECHT                                     SCHILLERSTR 37                         D‐61350 BAD HOMBURG                        GERMANY
GERD T BECHT                                     SCHILLERSTR 37                         D‐61350 BAD HOMBURG                        GERMANY
GERDA A LEMBKE                                   4285 RIVER RD                                                                                       EAST CHINA         MI    48054‐2912
GERDA A OTOOLE                                   2155 V ADDINGTON RD                                                                                 BLAIRSVILLE        GA    30512‐6259
GERDA HONIGMANN                                  18452 WILLOW LN                                                                                     LANSING            IL    60438‐3372
GERDA K JOHNSON                                  6833 ASWAN                                                                                          CORPUS CHRISTI     TX    78412‐4142
GERDA LANDMAN                                    9523 SOUTH HOLLYBROOK LAKE DR          APT 110                                                      PEMBROKE PINES     FL    33025‐1612
GERDA M CUMBOW TR GERDA M CUMBOW TRUST UA        1868 SHORE DRIVE SOUTH #403                                                                         SOUTH PASADENA     FL    33707‐4636
07/07/00
GERDA M STROM & WILLIAM G STROM JT TEN           3143 CELIA DR                                                                                       WATERFORD          MI    48329
GERDA M WEILANDT                                 138 COLDSTREAM RD RR1                  FENELON FALLS ON                           K0M 1N0 CANADA
GERDA MAVIS GUISHARD                             188‐65 120TH RD                                                                                     ST ALBANS          NY    11412‐3616
GERDA MC NALLY                                   11627 CAVES RD                                                                                      CHESTERLAND        OH    44026‐1705
GERDA TARANTINO                                  2719 SAM ELIJO CRT                                                                                  ANTIOCH            CA    94531‐6615
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GERDA W MARCHESE                             10860 S W 52 DR                                                                                      MIAMI            FL    33165‐6965
GERELDENE FIELDER                            4893 MINK LIVSEY RD                                                                                  SNELLVILLE       GA    30039
GERELDINE HARDEN                             4893 MINK LIVSEY RD                                                                                  SNELLVILLE       GA    30039‐6767
GEREMIA S DI‐LUZIO                           1135 HARVARD RD                                                                                      MONROEVILLE      PA    15146‐4347
GERENA CHRISTIAN                             MCKENDREE VILLAGE                    4343 LEBANON RD APT T 521                                       HERMITAGE        TN    37076‐1269
GERG TISSBERGER                              SCHWANNSTR 32                        4040 NUESS                                    GERMANY
GERHARD A KREMBS II                          86 2ND AVE S                                                                                         NAPLES           FL    34102‐5937
GERHARD A LANG                               PO BOX 714                                                                                           BUFFALO          NY    14213‐0714
GERHARD B DREXEL                             PO BOX 516                                                                                           RAILROAD FLAT    CA    95248‐0516
GERHARD E MAUTE                              327 ASBURY AVE                                                                                       MELROSE PARK     PA    19027‐3415
GERHARD E STONUS                             GOETHESTRASSE 2                      SCHORNSHEIM                                   GERMANY
GERHARD ERWIN STONUS                         BUCHHOLZERNOOR 5                     25712 BUCHHOLZ                                GERMANY
GERHARD FIRME                                NORTH 1480 HGWAY 28                                                                                  ADELL            WI    53001
GERHARD G HAENDEL                            25 N MCCORD RD                                                                                       TOLEDO           OH    43615‐4826
GERHARD GEDENK & MONIQUE GEDENK JT TEN       19111 COLLINS AVE APT 802                                                                            SUNNY ISL BCH    FL    33160‐2379
GERHARD GEORG                                KRANICHSTRASSE 26                    D‐64569                            NAUHEIM    GERMANY
GERHARD H HAUSCHILDT                         3369 MARISMA ST                                                                                      SAN MATEO        CA    94403‐3008
GERHARD HEIDEMANN                            6145 IDLEWYLE RD                                                                                     BLOOMFIELD       MI    48301‐1452
GERHARD ILLE & AGNES ILLE TEN COM            4609 ARCHER DRIVE                                                                                    WILMINGTON       NC    28409‐6606
GERHARD J BAUMANN                            309 HOLLAND RD                                                                                       ARCADE           NY    14009‐9728
GERHARD J SIEGERT                            APT 146                              8411 SHERIDAN DR                                                WILLIAMSVILLE    NY    14221‐4133
GERHARD N LAUN                               17722 NORTH 79TH AVE APT 2149                                                                        GLENDALE         AZ    85308‐0811
GERHARD SCHRAML & MRS MARIANNE SCHRAML JT    319 ST ANDREWS LANE                                                                                  MYRTLE BEACH     SC    29588‐5366
TEN
GERHARD SCHWAB                               6416 BAY VALLEY RD                                                                                   BAY CITY         MI    48706‐9701
GERHARDT L MOCK                              4314 CLOTHIER RD R #1                                                                                KINGSTON         MI    48741‐9731
GERHARDT O RICHTER                           741 PRESTON RD                                                                                       ANTIOCH          TN    37013‐4312
GERHARDT P ENGELMANN & MARY ANN ENGELMANN 1165 NW 90TH TERRACE                                                                                    PEMBROKE PINES   FL    33024‐4642
JT TEN
GERHART A QUECK                              40 E NORTHWOOD AVENUE                                                                                COLUMBUS         OH    43201‐1202
GERHOLD WILLS                                6800 CREEKSIDE LN                                                                                    PLANO            TX    75023‐1484
GERI ANDERSON                                50 STEEPLECHASE DR                                                                                   SPRINGBORO       OH    45066
GERI I BURKE                                 MILTON ROAD                          PO BOX 280                                                      GOSHEN           CT    06756‐0280
GERI L KORTAS                                6065 ADAMS AVE                                                                                       WARREN           MI    48092
GERI L MONROE                                32103 TERRA COTTA ST                                                                                 LAKE ELSINORE    CA    92530‐7328
GERI M DENNIS                                28510 SELKIRK STREET                                                                                 SOUTHFIELD       MI    48076‐7134
GERIA L FLEMING                              1227 GRANDVIEW DRIVE                                                                                 ROCHESTER        MI    48306‐4032
GERIANNE JORDAN SCHMIDT & ROGER EARL SCHMIDT 320 PRICE STREET                                                                                     AUBURN           MI    48611‐9457
JT TEN
GERIANNE RICH                                1488 COVINA HILLS RD                                                                                 COVINA           CA    91724‐3622
GERILYN SAUCEDO CUST BRANDEN SAUCEDO UTMA MN 1062 STRYKER                                                                                         W ST PAUL        MN    55118

GERILYNN J LOHNES                               402 MOUNT GILEAD RD                                                                               KELLER           TX    76248‐3932
GERLINE BURNETT                                 2029 WINDSONG DRIVE               APT 1C                                                          HAGERSTOWN       MD    21740‐2729
GERMAINE BARRETT & THOMAS R BARRETT JT TEN      32260 AVONDALE                                                                                    WESTLAND         MI    48186‐4904
GERMAINE D KAMINSKI                             4148 MIRAMAR AVE NE                                                                               GRAND RAPIDS     MI    49525‐1526
GERMAINE F PENGAL TR GERMAINE F PENGAL TRUST UA 22543 WATERBURY ST                                                                                WOODLAND HILLS   CA    91364‐4924
06/16/93
GERMAINE KINNEAR & ROBERT L KINNEAR JT TEN      6639 BRECKENRIDGE RD                                                                              LISLE            IL    60532
GERMAINE L COUPAL                               61057 GREENWOOD                                                                                   S LYON           MI    48178‐1722
GERMAINE L MERDZINSKI                           6125 STOCKTON HILL RD                                                                             KINGMAN          AZ    86401‐9304
GERMAINE L MULLIGAN & ROBERT H MULLIGAN &       MCLAREN HOMEWOOD VILLAGE          G4444 WEST COURT STREET APT 1213                                FLINT            MI    48532
RONALD K MULLIGAN JT TEN
GERMAINE M ROSETTI                              PO BOX 8446                                                                                       FREMONT          CA    94537‐8446
GERMAINE MALICK & GEORGETTE KULWIN JT TEN       8340 CALLIE AVENUE                APT 303‐E                                                       MORTON GROVE     IL    60053‐3717
GERMAINE P MAY                                  443 GRAPE ST                                                                                      PORTLAND         MI    48875‐1022
GERMAINE PRYBYS                                 PO BOX 424                                                                                        DULUTH           GA    30096‐0009
GERMAINE SMEETON                                4245 MCNEIL ROAD                                                                                  CAMERON PARK     CA    95682‐9649
GERMAINE THOMPSON                               2682 BERWICK BLVD                                                                                 COLUMBUS         OH    43209
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Name                                              Address1                               Address2                Address3       Address4          City              State Zip

GERMAN A ESPARZA                                  15533 COLBALT ST                                                                                SYLMAR            CA    91342‐3563
GERMAN CARTER                                     5184 TROWBRIDGE                                                                                 HAMTRAMCK         MI    48212‐3123
GERMAN DIAZ                                       2378 HARBOR TOWN DR                                                                             KISSIMMEE         FL    34744‐5137
GERMAN F RENDO                                    MOM 3052                               BUENOS AIRES C1437AKH                  ARGENTINA
GERMAN M ABREU                                    4660 FREEMAN                           LAKE CT                                                  NORCOOSS          GA    30093
GERMANIA A FLORES                                 2080 CHAMPIONS PKWY                                                                             LAWRENCEVILLE     GA    30044‐6924
GERMANIA CEMETERY ASSOCIATION                     C/O MARY YONKIN                        239 GERMANIA RD                                          GALETON           PA    16922‐9402
GERMANIA TOWN & COUNTRY CLUB                      C/O GARY MINARD                        ONE GERMANIA PLATZ                                       SAGINAW           MI    48602‐1072
GERMANO DI ROCCO                                  261 RICHMOND RD                        APT 122                                                  CLEVELAND         OH    44143‐4418
GERMANO V REIS                                    225 DORSETT DR                                                                                  CLARK             NJ    07066‐3022
GERMANTE M BONCALDO                               5 FILLMORE DR                                                                                   STONY POINT       NY    10980‐3704
GERMANTOWN UNITED METHODIST CHURCH                PO BOX 1                                                                                        GERMANTOWN        OH    45327‐0001
GERMON R WILLIAMS                                 4079 ROOSEVELT                                                                                  DETROIT           MI    48208‐2326
GERNELL JACKSON                                   6033 PINE FORGE CIR                                                                             INDIANAPOLIS      IN    46254‐1284
GERNITH KNAPP                                     15886 DASHER                                                                                    ALLEN PARK        MI    48101‐2734
GEROLD H MARANKA                                  704 E COLUMBIA ST                                                                               MASON             MI    48854‐1306
GEROLD I NETTLES                                  6777 RASBERRY LN 2124                                                                           SHREVEPORT        LA    71129‐2653
GEROLD L HARRELL JR                               10300 WOODVIEW DR                                                                               OKLAHOMA CITY     OK    73165‐9147
GEROLD M MAURO                                    17186 RIDGE RD                                                                                  HOLLEY            NY    14470‐9353
GEROLD O RUPPERT & MARSHA RUPPERT JT TEN          53598 FRANKLIN                                                                                  UTICA             MI    48316‐2304
GEROLONA FATICANTI & JOSEPH F VINDIGNI JT TEN     36 HARBOR WAY                                                                                   PALM HARBOR       FL    34684‐1410

GERON L KING                                   BOX 410 COUNTY RD 2364                                                                             DETROIT           TX    75436‐9763
GERONE M LUEHRS                                1925 W SKYVIEW DR                                                                                  DAYTON            OH    45432‐2438
GERONIA F MCMANNIS                             3420 E 100 S                                                                                       KOKOMO            IN    46902‐2837
GERONIMO LUIS                                  1523 ILLINOIS ST                                                                                   LANSING           MI    48906‐4602
GERONIMO YANEZ                                 4504 PALACE                                                                                        VON ORMY          TX    78073‐5364
GERRARD RUTTER CUST CHRISTOPHER RUTTER UTMA CA 4825 DISCOVERY PT                                                                                  DISCOVERY BAY     CA    94505‐9519

GERREN M WAGNER                                   1210 HIGHSPIRE RD                                                                               HARRISBURG        PA    17111‐2331
GERRI A WILHELMI                                  C/O MARGARET MANNER                    1121 NORTH ORLEANS                                       CHICAGO           IL    60610‐2511
GERRI J ARENA                                     574 BENNINGTON DR                                                                               ROCHESTER         NY    14616‐3958
GERRIT DABLAING III CUST ERIC PIETER DABLAING     34122 CAPISTRANO BY THE SEA                                                                     DANA POINT        CA    92629‐2940
UGMA CA
GERRIT DEROO                                      1957 8TH AVE                                                                                    BYRON CENTER      MI    49315‐9515
GERRIT J VOOGD                                    136 FRONTENAC ST SE                                                                             WYOMING           MI    49548‐2238
GERRY A HILL & BOBBY J HILL JT TEN                1016 MARABON AVE                                                                                ORLANDO           FL    32806‐1808
GERRY A MCCALLUM CUST KEVIN ANDREW MCCALLUM       8575 NEWPORT DR                                                                                 WHITE LAKE        MI    48386‐3489
UGMA MI
GERRY ALLEN DORSEY                                PO BOX 1014                                                                                     DILLON          CO      80435‐1014
GERRY D GANN                                      679 CO RD 320                                                                                   TRINITY         AL      35673‐3914
GERRY D SHOOK                                     22061 GARES RD                                                                                  DEFIANCE        OH      43512‐9628
GERRY E MAYLE                                     44694 DIONNE                                                                                    CANTON TOWNSHIP MI      48188‐2410

GERRY E ORDWAY                                    1094 BREYMAN HWY                                                                                TIPTON            MI    49287‐9740
GERRY F REIERSON                                  1712 PLUM CIRCLE                                                                                WACO              TX    76706‐1629
GERRY H CABANISS & JUDITH M CABANISS JT TEN       917 TRAMWAY LANE NE                                                                             ALBUQUERQUE       NM    87122‐1309
GERRY H GREYERBIEHL                               1740 E CODY ESTEY RD                                                                            PINCONNING        MI    48650‐8437
GERRY J ALBERS & NINA J ALBERS JT TEN             4727 DIAMOND DR                                                                                 HAMILTON          MI    49419‐9707
GERRY J ROBEY                                     1203 W 550S                                                                                     ANDERSON          IN    46013‐9775
GERRY L CLEASBY                                   2918 SHAWNEE LANE                                                                               WATERFORD         MI    48329‐4336
GERRY L COX                                       10512 BURGOYNE RD                                                                               BERRIEN SPRINGS   MI    49103‐9128
GERRY L CRIST                                     1074 OLD NIAGARA RD                                                                             LOCKPORT          NY    14094‐1304
GERRY L HARGROVE                                  (ADAM OPEL) P O BOX 9022                                                                        WARREN            MI    48090‐9022
GERRY L SULLIVAN                                  4024 W LANSING RD                                                                               ROSCOMMON         MI    48653‐8738
GERRY L ZIMMER                                    1461 LINCOLN AVE                                                                                MOUNT MORRIS      MI    48458‐1306
GERRY OLMSTED                                     3025 N HIGHPOINT                                                                                WICHITA           KS    67205
GERRY S MROSS                                     3422 S HANSON AVE                                                                               MILWAUKEE         WI    53207‐3530
                                              09-50026-mg                 Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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GERRY SCHILLING CUST LEAH MARIE SCHILLING UGMA   850 BEDFORD                                                                                      GROSSE POINTE      MI    48230‐1805
MI                                                                                                                                                PARK
GERRY SIMOENS                                    315 HAMEL AVE                           WINNIPEG MB                            R2H 0L2 CANADA
GERRY VINK                                       1831 N LAFAYETTE                                                                                 DEARBORN           MI    48128‐1166
GERRY W GARNETT                                  1479 SETTLERS LINE                      RR 1 KEENE ON                          K0L 2G0 CANADA
GERRY W RAMSEY                                   6267 KINCAID AVE                                                                                 CINCINNATI         OH    45213‐1415
GERRY WIXSON & GENI WEXSON JT TEN                22601 RIDGE RD                                                                                   GERMANTOWN         MD    20876‐4333
GERRY WOODBERRY                                  2004 ABINGDON DR                                                                                 LA VERGNE          TN    37086‐3080
GERRYANN N BALDWIN                               ROUTE 2 8606 CAMELLIA                                                                            LANSING            MI    48917‐8803
GERSHON GREENBERG                                APT 617                                 4200 CATHEDRAL AVE N W                                   WASHINGTON         DC    20016‐4912
GERSHON SEPTIMUS CUST CIREL SEPTIMUS UGMA NJ     1421 OAKWOOD AVE                                                                                 LAKEWOOD           NJ    08701‐1736

GERSON A PERSSELIN                               3435 VINTON AVE APT 7                                                                            LOS ANGELES        CA    90034‐4754
GERSON MAY & JUDY MAY JT TEN                     1200 ORCHARD CIRCLE                                                                              JASPER             AL    35501‐4049
GERST W WEAVER & JOHN W WEAVER JT TEN            355 ROCHDALE DR                                                                                  ROCHESTER HILLS    MI    48309
GERT G SCHAUTT                                   11027 DILL CT                                                                                    STERLING HEIGHTS   MI    48312‐1234

GERT W FREUND & ALLEGRA FREUND JT TEN            6261 CELESTE RD                                                                                  W BLOOMFIELD       MI    48322‐1318
GERTHA E EALY & PAMELA EALY JT TEN               18921 GREELEY ST                                                                                 DETROIT            MI    48203‐2190
GERTIE B WRIGHT                                  6380 E MT MORRIS RD                                                                              MT MORRIS          MI    48458‐9704
GERTIE M HICKSON                                 110 E IROQUOIS                                                                                   PONTIAC            MI    48341‐2017
GERTIE M QUICK                                   4738 N CE RD 500 E                                                                               MICHIGANTOWN       IN    46057‐9643
GERTIE ROSE WHITE                                11719 JOHNSTONE RD                                                                               NEW LOTHROP        MI    48460‐9624
GERTRAUD JETER & CHRISTINE JETER JT TEN          491 S W 55TH TERRACE                                                                             PLANTATION         FL    33317‐3507
GERTRUD I WOLDT TR 03/16/99 REVOCABLE TRUST      534 KENYON AVE                                                                                   KENSINGTON         CA    94708‐1128

GERTRUD KAFFL                                    3B                                      600 SQUIRE LN                                            BEL AIR            MD    21014‐6201
GERTRUD LEWIS                                    2804 67TH ST                                                                                     NEWHALL            IA    52315‐9608
GERTRUD M PATROCINIO                             39 HULSART CT                                                                                    MARLBORO           NJ    07746‐2471
GERTRUD SEMRAD                                   KARTNERSTR 28                           A‐9900 LIENZ                           AUSTRIA
GERTRUD WACHE                                    APT 137                                 45 OAKVILLE AVE          LONDON ON     N5V 2R9 CANADA
GERTRUDE A BALINT & DAVID J KMETZ JT TEN         82 PRESTON AVE                                                                                   WEST HARRISON      NY    10604‐2737
GERTRUDE A BURGER                                1759 WALKER RD                                                                                   PAVILION           NY    14525‐9212
GERTRUDE A FURGUSON                              4545 ENNISMORE                                                                                   CLARKSTON          MI    48346‐3614
GERTRUDE A HEROLD                                101 CHESTER DR                                                                                   SYRACUSE           NY    13208‐1931
GERTRUDE A HUDAK                                 27315 SYLVAN AVENUE                                                                              WARREN             MI    48093‐7534
GERTRUDE A LOCHNER                               2569 W STATE ROUTE 41                                                                            TROY               OH    45373‐8444
GERTRUDE A STROBEL                               223 FORESTWOOD AVE                                                                               VANDALIA           OH    45377‐1907
GERTRUDE A TARDIF                                474 NW READING LN                                                                                PORT ST LUCIE      FL    34983‐1134
GERTRUDE A TODY                                  115 FALLING LEAF DRIVE                                                                           LAPEER             MI    48446‐3140
GERTRUDE A WARREN                                218 BENTLEY AVE                                                                                  GREENVILLE         PA    16125‐1423
GERTRUDE ARONOW                                  147‐25 78TH AVE                                                                                  FLUSHING           NY    11367‐3432
GERTRUDE B CHAPMAN                               SUNRISE                                 3520 DUKE ST             RM225                           ALEXANDRIA         VA    22304‐6303
GERTRUDE B PROKOP                                16 WASHINGTON ST                                                                                 PLAINVILLE         CT    06062‐2115
GERTRUDE B SCHRODER                              7 S HOLLOW RD                                                                                    BALLSTON LAKE      NY    12019‐1307
GERTRUDE B STERN TR GERTRUDE B STERN FAMILY      6001 W 61 TERR                                                                                   MISSION            KS    66202‐3520
LIVING TRUST UA 0908/04
GERTRUDE BAADEN                                  7 ALPINE DR                                                                                      HOPEWELL JCT       NY    12533‐5327
GERTRUDE BAGG                                    7720 WYNBROOK RD                                                                                 BALTIMORE          MD    21224‐2006
GERTRUDE BLALOCK                                 2037 ED BENNETT RD                                                                               NICHOLSON          GA    30565‐3342
GERTRUDE BROZEK                                  412 STATE ST                                                                                     MEDINA             NY    14103‐1342
GERTRUDE BUZALSKI & MARGARET ANN LA MARR &       1816 18TH ST                                                                                     BAY CITY           MI    48708‐7405
FLORIAN FRANK JT TEN
GERTRUDE C BEHRENS                               3212 CHAUCER AVE                                                                                 ST ANN             MO    63074‐3619
GERTRUDE C HENDRIX & LAWRENCE D HENDRIX JT TEN   20615 NW YONCALLA CT                                                                             PORTLAND           OR    97229‐7135

GERTRUDE C SAMPLE & THOMAS N SAMPLE JT TEN       320 E WATROUS AVE                                                                                DES MOINES         IA    50315‐2809

GERTRUDE CHAFEE PIERCE                           5976 STATE ROUTE 14A                                                                             DUNDEE             NY    14837‐9456
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GERTRUDE CHRISTIAN                               1041 SEVEN SPRINGS CIRCLE                                                                       MARIETTA          GA    30068
GERTRUDE CORNILS                                 321 W 4TH ST                                                                                    DIXON             IL    61021‐2961
GERTRUDE CULVER                                  1843 DEVONSHIRE DR                                                                              WIXOM             MI    48393‐4410
GERTRUDE D LICKLIDER TR UA 08/31/92 GERTRUDE D   117 W WINDSOR RD                                                                                JUPITER           FL    33469‐2941
LICKLIDER TRUST
GERTRUDE D MCNUTT                                2202 S WATERSTONE RD                                                                            MUNCIE            IN    47302‐6925
GERTRUDE DELFINO                                 4101 CATHEDRAL AVE N W                                                                          WASHINGTON        DC    20016‐3585
GERTRUDE DUNHAM                                  17 OLD NORTH ROAD                                                                               WORTHINGTON       MA    01098‐9753
GERTRUDE E CAMMARATA                             504 PIN OAK DR                                                                                  GLENSHAW          PA    15116‐1126
GERTRUDE E FLOETKE TR GERTRUDE E FLOETKE TRUST   15191 FORD RD APT BG‐514                                                                        DEARBORN          MI    48126‐4699
UA 01/27/93
GERTRUDE E O'NEAL                                394 EGYPT RUN                                                                                   LANDENBERG        PA    19350‐9332
GERTRUDE E THIEM                                 2973 CLAYBURN RD                                                                                SAGINAW           MI    48603‐3191
GERTRUDE E TUCKER                                75036 MC KAY ROAD                                                                               ROMEO             MI    48065‐2705
GERTRUDE EARLEEN MEYER & JOSEPH H MEYER JT TEN   142 WESTGATE DR                                                                                 SAINT PETERS      MO    63376‐4266

GERTRUDE ELLMER LEYLAND                          C/O JAMES PATRICK LEYLAND             410 S GRACE STREET                                        LOMBARD           IL    60148‐2841
GERTRUDE ETTS & ANTHONY ETTS JT TEN              31 CLAFLIN BLVD                                                                                 FRANKLIN SQUARE   NY    11010‐4314

GERTRUDE F SUCHORSKI                             429 GORDON ST                                                                                   SOUTH AMBOY       NJ    08879‐1513
GERTRUDE FORD                                    18280 INDIANA                                                                                   DETROIT           MI    48221‐2024
GERTRUDE G PETROSKA                              33860 LYNDON ST                                                                                 LIVONIA           MI    48154‐5445
GERTRUDE GIROD                                   113 SW 64TH TERR                                                                                OKLAHOMA CITY     OK    73139‐7303
GERTRUDE GOULD                                   49 LANARK AVENUE                                                                                NEWARK            NJ    07106‐1021
GERTRUDE GYORKOS & SUSAN E DUCHARME JT TEN       ATTN SUSAN E DUCHARME‐ASARO           10239 TRAILS END CIR                                      SAN DIEGO         CA    92126‐3517

GERTRUDE H GEORGE                                  194 RUDY RD                         RT #13                                                    MANSFIELD         OH    44903‐8035
GERTRUDE H HORSELL                                 46289 WEST BRIAR CT                                                                           PLYMOUTH          MI    48170‐3535
GERTRUDE HAMMOND TR DANA D & GERTRUDE              1307 SHADY LN TURK LAKE                                                                       GREENVILLE        MI    48838‐9297
HAMMOND LIVING TRUST UA 7/8/94
GERTRUDE HANKINS                                   10606 E 1150 AVE                                                                              EFFINGHAM         IL    62401‐6592
GERTRUDE HANZEY                                    35755 HUNTER                                                                                  WESTLAND          MI    48185‐6663
GERTRUDE I FRICKO & JOHN J FRICKO & ANNE FRICKO JT 1305 BUTTERFLY CRT                                                                            HERMITAGE         TN    37076‐4721
TEN
GERTRUDE I MARTELL                                 28706 GRANDON ST                                                                              LIVONIA          MI     48150‐4044
GERTRUDE I NEARY & KATHLEEN M NEARY JT TEN         35250 FREEDOM RD APT 201                                                                      FARMINGTON HILLS MI     48335‐4056

GERTRUDE I NELSON                               2370 OLDE FARM DR                                                                                JENISON           MI    49428‐8147
GERTRUDE J CORBETT TR ROBERT E CORBETT TRUST UA 2138 MEADOW OAKS LN                                                                              WASHINGTON        MO    63090
02/24/00
GERTRUDE J HARDEN                               450 SUNWEST DR APT 6                                                                             CASA GRANDE       AZ    85222‐2373
GERTRUDE J JONES                                3095 BERKSHIRE MANOR DR                                                                          ALPHARETTA        GA    30022‐5022
GERTRUDE J THIEDA                               C/O KIMBERLY A MANN                    36092 UNION LAKE RD                                       HARRISON TWP      MI    48045
GERTRUDE JANET SHERWOOD                         358 ORANGE GROVE CT                                                                              OTISVILLE         MI    48463‐9605
GERTRUDE JONES CUST NYOZETTA V STUPART UGMA NY 3235 CAMBRIDGE AVE UNIT4F                                                                         RIVERDALE         NY    10463

GERTRUDE JOYCE JOHNSON RIDGELY ELDERLY LIMITED   PARTNERSHIP RIDGLEY MEADOWS           100 STRAWBERRY CT APT 701                                 RIDGELY           MD    21660‐1300

GERTRUDE K SCHOR CUST DAVID ISAAC SOFFER UGMA    3669 BALDWIN DR                                                                                 EASTON            PA    18045‐5701
PA
GERTRUDE KELLAM                                  49 LANARK AVENUE                                                                                NEWARK            NJ    07106‐1021
GERTRUDE KING                                    ATTN HALTON CENTENNIAL MANOR          185 ONTARIO STREET S        MILTON ON   L9T 2M4 CANADA
GERTRUDE L BENNETT & MICHAEL A BENNETT JT TEN    1217 N W 46TH                                                                                   OKLAHOMA CITY     OK    73118‐5228

GERTRUDE L CODY                                  PO BOX 5                                                                                        NASHUA            NH    03061‐0005
GERTRUDE L GOLD TR GERTRUDE L GOLD TRUST UA      136 CHESTNUT ST                                                                                 PARK FOREST       IL    60466‐2169
05/06/92
GERTRUDE L KUDRAK TR GERTRUDE L KUDRAK TRUST     1210 DEVON CT                                                                                   KOKOMO            IN    46901‐3949
UA 03/25/99
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GERTRUDE L LEEGE TR GERTRUDE L LEEGE LIVING TRUST E8251 N REEDSBURG RD                                                                           REEDSBURG          WI    53959‐9003
UA 07/11/00
GERTRUDE L MASTHAY TR UA 05/30/90 GERTRUDE L      1385 BASSWOOD AVE                                                                              CARLSBAD           CA    92008‐1904
MASTHAY TRUST 1990
GERTRUDE LORETA                                   225 GREENBRIAR DR                                                                              AURORA             OH    44202‐9207
GERTRUDE LUCILLE JUNE                             13419 N STATE RD                                                                               OTISVILLE          MI    48463‐9796
GERTRUDE M ARMSTRONG                              199 TALLY HO RD                                                                                MIDDLETOWN         NY    10940‐7328
GERTRUDE M BRILL & CAROLYN J BERSCHE & VINCENT 36550 GRAND RIVER AVE                    APT 221                                                  FARMINGTON         MI    48335‐3065
W BRILL JT TEN
GERTRUDE M CHAMBERS                               316 E 280TH ST                                                                                 EUCLID             OH    44132‐1310
GERTRUDE M COX                                    415 HUMP RD                                                                                    MEADOWBRIDGE       WV    25976‐9581
GERTRUDE M CRISSMAN & H RAY CRISSMAN JT TEN       WEDGEWOOD HOMES                       505 HURFFVILLE RD                                        TURNERSVILLE       NJ    08012‐1825

GERTRUDE M FISHER                               18550 AUTUMN LANE                                                                                SOUTHFIELD         MI    48076‐1049
GERTRUDE M GAIZE                                531 N OCEAN BLVD APT 1011                                                                        POMPANO BEACH      FL    33062
GERTRUDE M GRAMMATICA                           3 TREELINE DR                           APT 606                                                  ROCHESTER          NY    14612‐3454
GERTRUDE M HENRY                                49 BLACK ROCK RD                                                                                 YARDLEY            PA    19067
GERTRUDE M JOHNSON & ELMER L JOHNSON JT TEN     1426 EASTWIND CIR                                                                                WESTLAKE VILLAGE   CA    91361‐3411

GERTRUDE M JOHNSON & ELMER L JOHNSON TRUST U‐A 1426 EASTWIND CIR                                                                                 WESTLAKE VLG       CA    91361‐3411
12‐23‐80 JOHNSON TRUST
GERTRUDE M KING                                3306 W 200 N CO RD                                                                                KOKOMO             IN    46901‐8373
GERTRUDE M KOVALIK & GAYLE M DEMETER JT TEN    860 LOWER FERRY RD                       APT 1‐M                                                  W TRENTON          NJ    08628‐3525

GERTRUDE M KUPEC                               31008 RED ARROW RD                                                                                ROCKY MOUNT        MO    65072‐2907
GERTRUDE M LENHART TR FRANCIS G LENHART FAMILY 1016 EAST RIVER DR                       PO BOX 383                                               DEFIANCE           OH    43512‐0383
TRUST UA 11/22/93
GERTRUDE M NATELLI                             8600 RAPLEY GATE TERRACE                                                                          POTOMAC            MD    20854
GERTRUDE M PHILLIPS                            62 CHESTERFIELD DR                                                                                NEW CASTLE         DE    19720‐1249
GERTRUDE M REHAGEN                             908 KINSALE DR                                                                                    BALLWIN            MO    63021
GERTRUDE M SEAMAN                              73 MOSELEY CIR                                                                                    FAIRPORT           NY    14450‐3350
GERTRUDE M STEWART                             309 E 68TH ST                                                                                     KANSAS CITY        MO    64113‐2438
GERTRUDE M THOMPSON                            1209 FEATHER DR                                                                                   DELTONA            FL    32725
GERTRUDE M WENTZ                               340 S FORNEY AVE                                                                                  HANOVER            PA    17331‐3716
GERTRUDE M WHITE CUST ROBERT ROY BONNEY U/THE 63 SUSAN DR                                                                                        NEWBURGH           NY    12550‐1410
NY U‐G‐M‐A
GERTRUDE M WILHELM                             327 EGE AVE                                                                                       JERSEY CITY        NJ    07304‐1001
GERTRUDE MAE HARVELL                           17115 PARKDALE RD                                                                                 PETERSBURG         VA    23805‐8708
GERTRUDE MARCUSON                              542 MEEHAN AVE                                                                                    FAR ROCKAWAY       NY    11691
GERTRUDE MARQUAY                               55 FOURTH ST                                                                                      DOVER              NH    03820‐2952
GERTRUDE MEISINGER CUST ELEANOR MEISINGER      2446 W DAVIES AVE                                                                                 LITTLETON          CO    80120‐3530
UTMA CO
GERTRUDE MEISINGER CUST KATE MEISINGER UTMA CO 2446 W DAVIES AVE                                                                                 LITTLETON          CO    80120‐3530

GERTRUDE MIDDLESWORTH                           413 RUSSELL PLACE                                                                                ELIZABETH          NJ    07202‐2419
GERTRUDE MOORE SWAN                             2400 E BASELINE AVE LOT 270                                                                      APACHE JUNCTION    AZ    85219‐5720

GERTRUDE N HAYES                                PO BOX 2656                                                                                      ARIZONA CITY       AZ    85223
GERTRUDE NOBLE                                  144 WARDEN AVENUE                                                                                ELYRIA             OH    44035‐2558
GERTRUDE O GANO                                 263 WASHINGTON AVE                                                                               SUNBURY            PA    17801‐2430
GERTRUDE P AGOGLIATI                            17 WOLCOTT DR                                                                                    GRANBY             CT    06035‐1320
GERTRUDE P O'CONNOR                             7 ROYAL DR                                                                                       EUSTIS             FL    32726‐6747
GERTRUDE PATTON                                 12 BELGRADE TER                                                                                  WEST ORANGE        NJ    07052‐3902
GERTRUDE R BELVEAL                              36596 ALDER BRANCH RD                                                                            SPRINGFIELD        OR    97478‐9715
GERTRUDE R JANETT                               135 COCCIO DRIVE                                                                                 WEST ORANGE        NJ    07052‐4120
GERTRUDE R ONEILL                               506 KENTUCKY AVE                                                                                 ALEXANDRIA         VA    22305‐1740
GERTRUDE R YOUNGBLOOD                           18181 FLEUR DE LIS                                                                               CLINTON TWP        MI    48038
GERTRUDE RILLSTONE SCHUPP                       110 NAVESINK AV                                                                                  HIGHLANDS          NJ    07732‐1801
GERTRUDE ROSE PALCHO                            29 REGENT AVE                                                                                    BLUFFTON           SC    29910‐8822
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GERTRUDE S BONINI                                 531 MONTMARC BLVD                                                                             ERIE              PA    16504‐2684
GERTRUDE S DONNELLY & JAMES GORDON DONNELLY       7 WOLFEBORO                                                                                   WOLFEBORO         NH    03894‐4028
JT TEN
GERTRUDE S METZGER                                5018 PRIDES CT                                                                                MURRYSVILLE       PA    15668‐2628
GERTRUDE S MILLER                                 ATTN JANE A LEUKMAS                  98 SHADYWOOD                                             ROCHESTER         MI    48307‐5047
GERTRUDE S SHROUT                                 514 WEST ALEX BELL RD                                                                         DAYTON            OH    45459‐3050
GERTRUDE S THOMPSON                               4801 BUFFWOOD WAY                                                                             SACRAMENTO        CA    95841‐2216
GERTRUDE SACHS                                    3 HUTCHINSON BLVD                                                                             SCARSDHLE         NY    10583‐6508
GERTRUDE SAFRAN                                   5 FOX HILL RD                                                                                 EDISON            NJ    08820‐2825
GERTRUDE SAKOWSKI                                 247 ELM                                                                                       CARTERET          NJ    07008‐1734
GERTRUDE SALINSKY & ROBERT SALINSKY JT TEN        PARK 24111 CIVIC CENTER DRIVE                                                                 SOUTHFIELD        MI    48034‐1266
GERTRUDE SAMBORSKI                                9401 S 52ND AVE                                                                               OAK LAWN          IL    60453‐2421
GERTRUDE SANFORD                                  11755 E CORUNNA RD                                                                            LENNON            MI    48449‐9654
GERTRUDE SCHLENER & DIETER WIELAND JT TEN         405 WAKEFIELD DR                                                                              LOCUST GROVE      VA    22508‐5140
GERTRUDE SCHLIESSKE & HAROLD SCHLIESSKE JT TEN    406 BLVD                                                                                      WESTFIELD         NJ    07090‐3228

GERTRUDE SCHWARTZ TR GERTRUDE SCHWARTZ            440 WEST END AVE APT 8C                                                                       NEW YORK          NY    10024‐5358
REVOCABLE TRUST UA 10/13/03
GERTRUDE SHOGREN POPPLETON & ROBERT GLENN         12276 CHARING CROSS RD                                                                        CARMEL            IN    46033‐3158
POPPLETON JT TEN
GERTRUDE SHOWALTER & JEANMARIE DAHM JT TEN        14176 BROWN BRIDGE ROAD                                                                       COVINGTON         GA    30016

GERTRUDE SMITH                                    6188 YUCCA DR                                                                                 DOUGLASVILLE      GA    30135‐2268
GERTRUDE STADNIKA                                 4850 GRATIOT RD                                                                               SAGINAW           MI    48638‐6202
GERTRUDE SYLVIA SOLTAN & SARAH BETH SOLTAN JT     3820 BOWNE ST                        APT 302                                                  FLUSHING          NY    11354‐5626
TEN
GERTRUDE T PRZYBYLSKI                             505 S MONROE                                                                                  BAY CITY          MI    48708‐7274
GERTRUDE TECK                                     1030 JAMESVILLE AVE                                                                           SYRACUSE          NY    13210‐4218
GERTRUDE WEAVER & LAWRENCE WEAVER JT TEN          323 S WHEELER ST                                                                              SAGINAW           MI    48602‐1862
GERTRUDE WELLIK                                   945 STATE ST                                                                                  GARNER            IA    50438‐1735
GERTRUDE WESTLEY                                  20 KAUFFMAN LN                                                                                HAMBURG           PA    19526‐7950
GERTRUDE YUHAS                                    6539 IRELAND RD                                                                               WINDSOR           OH    44099
GERTRUDE ZABAN & MARK ZABAN JT TEN                9374 LANDINGS LANE #404‐G                                                                     DES PLAINES       IL    60016‐5233
GERTRUDE ZAVISA & EDWIN J ZAVISA JT TEN           24071 CHICAGO                                                                                 DEARBORN          MI    48124‐3205
GERTRUDE ZWICK & WILLIAM ZWICK JT TEN             289 FORDHAM PLACE                                                                             BRONX             NY    10464‐1404
GERTRUDIS ARROYO                                  5639 MCMILLAN                                                                                 DETROIT           MI    48209‐1626
GERTRUIDA C JONES                                 1390 CRESCENT LN                                                                              ROCHESTER HILLS   MI    48306‐4279
GERTUDE M STEVENS                                 8‐C BEECH CT                                                                                  BRIELLE           NJ    08730‐1310
GERVAIS RICHARD BRAND                             15603 N 65TH ST                                                                               SCOTTSDALE        AZ    85254‐2000
GERVAISE L WAKAR                                  28359 MACKENZIE                                                                               WESTLAND          MI    48185‐1847
GERVASE E SCHLEPER                                155 N 5TH ST                                                                                  BREESE            IL    62230‐1403
GERVASE H NEALON                                  3310 LONGBOW DR                                                                               PITTSBURGH        PA    15235‐5135
GERVIN P POPPLEWELL                               COUNTRY ESTATE                       HEMLOCK DR                                               RUSSELL SPGS      KY    42642
GERY MARMADUKE                                    5420 HILLSBORO HEMATITE RD                                                                    DE SOTO           MO    63020‐3108
GERYL GLASER                                      27 EVERGREEN CIR                                                                              MANHASSET         NY    11030‐3934
GESUALE L SCAGLIONE                               3206 NORTH ROME AVE                                                                           TAMPA             FL    33607‐2037
GET TEUNG YEE & MEI LIN WONG JT TEN               43754 BRANDYWYNE ROAD                                                                         CANTON            MI    48187‐2242
GEY CONROE & KIMBERLY CONROE JT TEN               9987 S GREEVILLE RD                                                                           GREENVILLE        MI    48838‐9447
GEZA EGERSDORFER                                  520 MEREDITH LN                      APT 502                                                  CUYAHOGA FLS      OH    44223‐2576
GEZA J MAGUSIN                                    1684 WINCHESTER                                                                               LINCOLN PK        MI    48146‐3845
GEZA JANOS KOGLER & PAMELA EVELIN KOGLER JT TEN   32649 JAMES AVE                                                                               GARDEN CITY       MI    48135‐1688

GEZA S KOVACS                                     PO BOX 825                                                                                    JAMESTOWN         KY    42629‐0825
GHALEB MOUBARAK                                   43950 PALISADES CT                                                                            CANTON            MI    48187
GHANASHYAM PATEL & JAYSHREE PATEL COMMUNITY       513 LYNNMEADE DR                                                                              GRETNA            LA    70056‐7238
PROPERTY
GHANSHYAM V PATEL & JAMINI G PATEL JT TEN         8607 HARRISON WAY                                                                             BUENA PARK       CA     90620‐3812
GHATTAS I FAKHOURI                                6857 NIGHTING GALE                                                                            DEAR BORN HIGHTS MI     48127‐2132
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GHERMON L LANE                                     PO BOX 207                                                                                                DOVER             NC    28526‐0207
GHESSAN N YOUNAN                                   5869 PATTERSON                                                                                            TROY              MI    48098‐3968
GHISLAINE S KASS                                   25983 MADDEN                                                                                              TAYLOR            MI    48180‐3127
GHULAM H RAZ                                       1269 LAKESIDE DR                                                                                          EAST LANSING      MI    48823‐2426
GHULEM R KALWAR                                    1503 LYNDALE DR                                                                                           CHARLESTON        WV    25314‐2139
GIACINTO SALVINO                                   1847 PORTSHIP RD                                                                                          BALTIMORE         MD    21222‐3026
GIACOMO A DE LARIA & KAREN GRAFF DE LARIA JT TEN   PO BOX 9755                                                                                               RANCHO SANTA FE   CA    92067‐4755

GIACOMO AURORA                                     4027 MCLAUGHLIN AVE                    APT 3                                                              LOS ANGELES       CA    90066‐5491
GIACOMO CAMILLERI & PAULETTE CAMILLERI JT TEN      22700 FREDRICK RD                                                                                         STEGER            IL    60475‐5914

GIACOMO DI COSTANZO                                VIA VADO MICHELE 57 BUONOPANE          80070 BARANO                   DISHIA NAPOLI   ITALY
GIACOMO MERLO                                      326 SPENCER ST #1                                                                                         ELIZABETH         NJ    07202‐3926
GIACONO E CORADETTI                                220 S SCHOOL ST                                                                                           GIBBSTOWN         NJ    08027‐1336
GIANCARLO CARERE                                   5843 CORNELL CRESENT                   MISSISSAUGA ON                                 L5M 5R6 CANADA
GIANCARLO CARERE                                   5843 CORNELL CRESCENT                  MISSISSAUGA ON                                 L5M 5R6 CANADA
GIANCARLO CARERE                                   5843 CORNELL CRESCENT                  MISSISSAUGA ON                                 L5M 5R6 CANADA
GIANCARLO CARERE                                   5843 CORNELL CRES                      MISSISSAUGA ON                                 L5M 5R6 CANADA
GIANFRANCO FANCIULLI                               528 SANDALWOOD CT                      OSHAWA ON                                      L1G 7X9 CANADA
GIANLUCA GALUZZI CUST ERICA GALUZZI UTMA           VIA BOTTICELLI 8                       BOLONGA 40133 ITAL                             ITALY
GIANNI COSTANTINI                                  VIA CARLO SIGONIO 410/6                41100 MODENA                                   ITALY
GIANNI MACOR                                       1381 GILES BLVD                        WINDSOR ON                                     N9A 4G9 CANADA
GIANNI TORRE & MARIA TORRE JT TEN                  4 SAINT ANDREWS DR                                                                                        LAUREL SPRINGS    NJ    08021‐4852
GIANT CHEVROLET COMPANY                            PO BOX 2576                                                                                               VISALIA           CA    93279‐2576
GIBSON HAZARD JR CUST GIBSON DE KALB HAZARD III    1223 LA VETA WAY                                                                                          COLORADO SPGS     CO    80906‐1735
UGMACO
GIDEON J MACKAY                                    340 E RANDOLPH ST                      APT 4904                                                           CHICAGO           IL    60601‐7922
GIDEON KANTOR TR UA 05/09/1997 GIDEON KANTOR       PO BOX 553                             10702 KENILWORTH AVE                                               GARRETT PARK      MD    20896
REVOCABLE TRUST
GIDEON W MCKNIGHT                                  1468 MARK ST                                                                                              FLINT             MI    48507‐5530
GIFFORD FINANCIAL PARTNERS                         C/O DOUGLAS J GIFFORD                  PO BOX 144                     14364 MAIN ST                       WATTSBURG         PA    16442
GIFFORD LEU                                        STAR RTE BOX 66                                                                                           SUTHERLAND        NE    69165
GIFFORD R MOSHER                                   134 FROGIER ST                                                                                            BROCKPORT         NY    14420
GIFFORD S WEST U/GDNSHIP OF RICHARD S WEST         79 DODGE'S ROW                                                                                            WENHAM            MA    01984‐1648
GIFFORD W WEBSTER & CHRISTINE S WEBSTER JT TEN     CURRIERS TRAILER PARK                  695 DARMOUTH COLLEGE HIGHWAY   LOT 11                              LEBANON           NH    03766‐2038

GIHAD ODEH HASAN                                 7421 S W 18TH ST                                                                                            PLANTATION        FL    33317‐4914
GIL A KAMINSKI                                   8435 PEACEFUL VALLEY                                                                                        CLARKSTON         MI    48348‐2671
GIL A RHODES                                     11701 FARM RD 2331                                                                                          GODLEY            TX    76044
GIL AGASSI                                       1242 E 22ND ST                                                                                              BROOKLYN          NY    11210
GIL DRAKE TOLAN                                  88 NORTH STAG TRAIL                                                                                         FREDERICKSBRG     TX    78624‐7562
GIL FLOWERS                                      13521 CROSLEY STREET                                                                                        REDFORD           MI    48239
GIL J MIRANDA                                    900 E PITTSBURGH ST APT F23                                                                                 GREENSBURG        PA    15601‐3537
GIL KEITH FLOWERS JR                             13521 CROSLEY STREET                                                                                        REDFORD           MI    48239
GIL P GUGLIELMI                                  524 W PINE ST                                                                                               TREVOSE           PA    19053‐4530
GIL R SUDOL                                      24324 CALVIN ST                                                                                             DEARBORN          MI    48124‐3120
GIL SAAVEDRA                                     1926 AVONDALE PL NW                                                                                         ALBUQUERQUE       NM    87120‐8004
GILBERT A & JOANN WALRATH TR UA 01/28/03 GILBERT 3755 ACKLEY RD                                                                                              LAKEPORT          CA    95453
WALRATH &
GILBERT A BELLEROSE & IRENE BELLEROSE JT TEN     3 FOLLY LANE                                                                                                WESTBORO         MA     01581‐2504
GILBERT A CROLEY                                 3367 MONTICELLO BLVD                                                                                        CLEVELAND HTS    OH     44118‐1331
GILBERT A DAVIDSON JR                            8197 S ST RT 122                                                                                            EATON            OH     45320‐9438
GILBERT A DUENEZ                                 7012 INDEPENDENCE ST                                                                                        CANOGA PARK      CA     91303‐2227
GILBERT A HAWKINS JR                             7390 OLD MORGANTOWN RD                                                                                      MARTINSVILLE     IN     46151‐7181
GILBERT A HENRY                                  2651 NW 84TH AVE                                                                                            CORAL SPRINGS    FL     33065‐5333
GILBERT A HESS TR GILBERT A HESS TRUST 3/15/00   25613 ANDOVER ST                                                                                            DEARBORN HEIGHTS MI     48125‐1542

GILBERT A HOWARD & MARCELLE HOWARD JT TEN          62 HORBINE RD                                                                                             SWANSEA           MA    02777‐3618
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GILBERT A KONOW                                  5612 S MONITOR AVE                                                                            CHICAGO           IL    60638‐3620
GILBERT A LEIB CUST SHANNON LEIB UTMA NY         18 HARP LN                                                                                    SAYVILLE          NY    11782
GILBERT A MARTZ                                  21100 YALE                                                                                    ST CLAIR SHRS     MI    48081‐1869
GILBERT A MC CUE                                 294 EASTERN PROM                                                                              PORTLAND          ME    04101‐2702
GILBERT A MILLER                                 8081 SUPERIOR                                                                                 CENTERLINE        MI    48015‐1309
GILBERT A PALM                                   1337 BEVERLY RD                                                                               MC KEESPORT       PA    15133‐3607
GILBERT A RECKLING                               #159 SOUTH ADAMS                                                                              ROCHESTER HILLS   MI    48309‐1443
GILBERT A RECKLING & MARILYN H RECKLING JT TEN   159 SOUTH ADAMS                                                                               ROCHESTER HILLS   MI    48309‐1443

GILBERT A RENNHACK & FRANCES L RENNHACK JT TEN   104 LEONARD CIR                                                                               CAMDEN            SC    29020‐1506

GILBERT A SPEAR JR                            419 TOPSFIELD RD                                                                                 HOCKESSIN         DE    19707‐9716
GILBERT A THOMPSON & FLORENCE ELAINE THOMPSON 4307 WEBSTER RD                                                                                  FLUSHING          MI    48433‐9054
JT TEN
GILBERT ACHILLES HALL                         849 WILLOW GROVE RD                                                                              ALLONS            TN    38541
GILBERT AMSHOFF                               191 GIBRALTAR DR                                                                                 SHEPHERDSVILLE    KY    40165‐6241
GILBERT ARTHUR ALBANICE                       31544 LONNIE DRIVE                                                                               WESTLAND          MI    48185‐1669
GILBERT B AGOSTINI                            6838 DENNISON RD                                                                                 PLAINWELL         MI    49080‐9244
GILBERT BECERRA                               175 LAKE VALLEY ST                                                                               SAN ANTONIO       TX    78227‐4543
GILBERT BROWN                                 3831 VAILE AVE                                                                                   FLORISSANT        MO    63034‐2227
GILBERT BROWN                                 12200 E RIO GRANDE AVE                                                                           BRAZIL            IN    47834‐9279
GILBERT C EBNER                               1494 DUNSTER LANE                                                                                ROCKVILLE         MD    20854‐6119
GILBERT C EBNER & MRS VIRGINIA L EBNER JT TEN 1494 DUNSTER LANE                                                                                ROCKVILLE         MD    20854‐6119
GILBERT C JIMENEZ CUST GILBERT DALLAS JIMENEZ 3301 WATFORD WAY                                                                                 PALMDALE          CA    93551‐3548
UTMA CA
GILBERT C JONES & WILENDA A JONES JT TEN      4602 COLLBRAN CT                                                                                 FT WAYNE          IN    46835‐4325
GILBERT C MILLS SR                            22520 HWY 964                                                                                    ZACHARY           LA    70791‐9114
GILBERT C ROBINSON                            1541 MAIN RD                                                                                     PHIPPSBURG        ME    04562‐4905
GILBERT CABELLO                               6680 FORT RD                                                                                     BIRCH RUN         MI    48415‐9089
GILBERT CARPENTER                             1380 E 13TH ST 903                                                                               CLEVELAND         OH    44114‐1830
GILBERT CLARK                                 8013 E DEVONSHIRE ROAD                                                                           MUNCIE            IN    47302‐9047
GILBERT COLGATE III                           291 SANDPIPERS                                                                                   FOSTER CITY       CA    94404‐1320
GILBERT COPE                                  45 S ORCHARD CIRCL                                                                               BLANCHESTER       OH    45107‐1027
GILBERT CORRIVEAU                             PO BOX 70                               103 SINCLAIR RD                                          SINCCLAIR         ME    04779‐4002
GILBERT CUELLAR                               3741 FOXPOINTE SOUTH                                                                             LANSING           MI    48910
GILBERT CULBRETH INVESTMENTS INC              PO BOX 848                                                                                       OKEECHOBEE        FL    34973‐0848
GILBERT D JOHNSON                             418 LASALLE ST                                                                                   BAY CITY          MI    48706‐3948
GILBERT D JOHNSON JR                          2621 SIMON ST                                                                                    BAY CITY          MI    48708‐7661
GILBERT D JOHNSON JR & JEANETTE M JOHNSON TEN 2621 SIMONS STREET                                                                               BAY CITY          MI    48708‐7661
ENT
GILBERT D MARA                                14804 KEPPEN AVENUE                                                                              ALLEN PARK        MI    48101‐2910
GILBERT D MARKLE & MARGARET R MARKLE JT TEN   516 HEMLOCK DR                                                                                   GREENSBURG        PA    15601‐4513

GILBERT D MARQUEZ                                PO BOX 41                                                                                     OLD STATION       CA    96071‐0041
GILBERT D SMITH                                  2617 DANHAVEN DR                                                                              BOWLING GREEN     KY    42104‐4751
GILBERT D VEZINA                                 474 PRESWICK LN                                                                               NAPLES            FL    34120‐1659
GILBERT D WASSERZIEHER                           1800 OTTER                                                                                    ANCHORAGE         AK    99504‐2636
GILBERT DAVIDOFF & MRS SANDRA DAVIDOFF JT TEN    587 ISLAND AVE                                                                                WOODMERE          NY    11598‐2330

GILBERT E CHAVEZ                                 31642 AVENUE E                                                                                YUCAIPA           CA    92399‐1611
GILBERT E ELLIS                                  20509 CLARK RD                                                                                BELLEVILLE        MI    48111‐9173
GILBERT E JOHNSON JR                             3008 57TH ST E                                                                                BRADENTON         FL    34208‐6530
GILBERT E MORGAN                                 2974 W LENTZ TREE FARM RD                                                                     MONROVIA          IN    46157‐9011
GILBERT E MURPHY & SHARON SUE MURPHY JT TEN      3495S 200 E                                                                                   KNOX              IN    46534‐9214

GILBERT E NARANJO                                G8042 RICHFIELD RD                                                                            DAVISON           MI    48423
GILBERT E NORTH                                  11564 MASSMAN LN                                                                              WRIGHT CITY       MO    63390‐4042
GILBERT E SAUL                                   10232 OLD DAYTON RD                                                                           NEW LEBANON       OH    45345‐9694
GILBERT E SCHUMACHER                             424 MCKINLEY                                                                                  GROSSE POINTE     MI    48236‐3240
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GILBERT E SHANNON                                  3745 DAVISON ROAD                                                                             LAPEER          MI    48446‐2804
GILBERT E SHIRK                                    PO BOX 5                                                                                      CHESTERFIELD    IN    46017‐0005
GILBERT EDWARDS                                    1819 N 800 W 27                                                                               CONVERSE        IN    46919‐9516
GILBERT F BLANKENSHIP                              614 COLLEGE ST                                                                                MADISONVILLE    TN    37354‐1106
GILBERT F CRESOV & MRS ROCHELLE CRESOV JT TEN      1600 ELMWOOD AVE APT 4                                                                        ROCHESTER       NY    14620‐3816

GILBERT F DONALDSON                                1648 D ST                                                                                     HAYWARD         CA    94541‐4321
GILBERT F JACOBS                                   204 HOGAN DR                                                                                  LADY LAKE       FL    32159‐5523
GILBERT F LOPEZ                                    1817 INDIANA AVE                                                                              LANSING         MI    48906‐4660
GILBERT F MENDEZ                                   2104 DUNNIGAN ST                                                                              CAMARILLO       CA    93010‐3232
GILBERT F NAUMANN                                  200 DEMAREST DR #812                                                                          VACAVILLE       CA    95687‐6470
GILBERT F NEWMAN                                   403 GILBERT                                                                                   OWOSSO          MI    48867‐2433
GILBERT F SABURNY JR                               6669 BURRIER HILL ROAD SW                                                                     PORT WASHINGTON OH    43837‐9117

GILBERT F WINTER JR & MRS LINDA P WINTER JT TEN    75 BECKWITH DRIVE                                                                             COLORADO SPRINGS CO   80906‐5930

GILBERT FIELD                                      6216 W COUNTY RD 200 N                                                                        FRANKFORT       IN    46041
GILBERT G BARTZ                                    4857 MONICA                                                                                   AUBURN          MI    48611‐9430
GILBERT G DAYE                                     2443 ROCHELL CANNON RD                                                                        BELLS           TX    75414‐2781
GILBERT G FENNIMORE                                BOX 10                                                                                        PARMA           MI    49269‐0010
GILBERT G GARCIA                                   HC 2 BOX 529                                                                                  EAGLE PASS      TX    78852
GILBERT G HENNINGSEN                               PO BOX 851                                                                                    WHEATON         IL    60187‐0851
GILBERT G LAFAVE                                   4747 LACLAIR RD                                                                               STANDISH        MI    48658‐9754
GILBERT G LEAL                                     530 N SAN MARCOS STREET                                                                       EAGLE PASS      TX    78852‐4745
GILBERT GEORGE                                     43763 ROYAL SAINT GEORGE DR                                                                   INDIO           CA    92201‐8903
GILBERT GEORGE FULLERTON                           PO BOX 30431                         SMB GRAND CAYMAN     GRAND FN          CAYMAN ISLANDS
GILBERT GIAMMARCO                                  118 PORT ROBINSON RD                 FONTHILL ON                            L0S 1E0 CANADA
GILBERT GOLDENBERG & GWENDOLYN GOLDENBERG JT       12‐68 12TH ST                                                                                 FAIR LAWN       NJ    07410‐2230
TEN
GILBERT GONZALEZ                                   750 OAK ST                                                                                    ADRIAN          MI    49221‐3918
GILBERT GRANGER                                    5152 SHIRLEY DR                                                                               LAPALMA         CA    90623
GILBERT H CAMPBELL                                 8375 DEXTER CHELSEA ROAD                                                                      DEXTER          MI    48130‐9786
GILBERT H HIMELHOCH & DENISE E HIMELHOCH JT TEN    3895 WHIPPOORWILL DR                                                                          SPRUCE          MI    48762‐9305

GILBERT H KEMPINGER & KATHLEEN C KEMPINGER JT      1236 BLAKELY DR                                                                               GREENWOOD       IN    46143
TEN
GILBERT H KIRCHNER                                 3754 CANTERBURY RD                                                                            WESTLAKE        OH    44145‐5410
GILBERT H KIRCHNER & MARY M J KIRCHNER JT TEN      3754 CANTERBURY RD                                                                            WESTLAKE        OH    44145‐5410

GILBERT H MAIDEN                                   38726 WYOMING DR                                                                              ROMULUS         MI    48174‐5006
GILBERT H MILLER                                   3606 MENLO DR                                                                                 BALTIMORE       MD    21215‐3678
GILBERT H ROLLINS II                               11700 ANDERSONVILLE ROAD                                                                      DAVISBURG       MI    48350‐3025
GILBERT H SENN                                     2205 AMBOY DRIVE                                                                              LOUISVILLE      KY    40216‐4334
GILBERT J BISKUPSKI & KAY E BISKUPSKI JT TEN       E7967 QUAIL MEADOW LN                                                                         REEDSBURG       WI    53959‐9816
GILBERT J HOFFMAN                                  4105 N STEPHANIE DR                                                                           BRANCH          MI    49402‐9659
GILBERT J HOFFMAN SR & CATHERINE H HOFFMAN JT      3741 S ADAMS RD                      #4                                                       ROCHESTER HLS   MI    48309‐3907
TEN
GILBERT J LINDKE                                   8987 LAKE COURT                                                                               LEXINGTON       MI    48450‐9712
GILBERT J MEISNER & MRS DOROTHY A MEISNER JT TEN   633 N 109TH ST                                                                                WAUWATOSA       WI    53226

GILBERT J RADER                                    PO BOX 823                                                                                    PRUDENVILLE     MI    48651‐0823
GILBERT J RUFO                                     12075 ST RT 88                                                                                GARRETTSVILLE   OH    44231‐9117
GILBERT J RUITENBEEK                               683 DUNBOYNE CRESCENT                LONDON ON                              N5X 1X9 CANADA
GILBERT J TANNER                                   8173 STUB HIGHWAY                                                                             EATON RAPIDS    MI    48827‐9319
GILBERT J TRAVERS JR & EVELYN TRAVERS JT TEN       35 FORGE DRIVE                                                                                TAUNTON         MA    02780‐1213
GILBERT J WIRKNER & JOAN M WIRKNER JT TEN          8454 WIGGINS ROAD                                                                             HOWELL          MI    48855‐9837
GILBERT L ADAMS                                    43 COURT OF GREENWAY                                                                          NORTHBROOK      IL    60062‐3204
GILBERT L ATHA JR                                  2754 WEST 900 NORTH                                                                           ALEXANDRIA      IN    46001‐8255
GILBERT L BARNUM                                   601 ANDEROSA DR E                                                                             LAKELAND        FL    33810
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GILBERT L BRANSFORD                                 1602 PONTIAC ST                                                                                 FLINT            MI    48503‐5107
GILBERT L BRASWELL                                  4955 WEST CO RD 750 S                                                                           SPICELAND        IN    47385‐9716
GILBERT L EDWARDS                                   906 SOUTH SHORE DRIVE                                                                           PARKVILLE        MO    64151‐1444
GILBERT L ERICSON & MRS PEARL J ERICSON JT TEN      2255 FOREST HILLS DR                                                                            LAKE ORION       MI    48359‐1167

GILBERT L HARLAN & MRS MARY M HARLAN JT TEN         4633 RT 37                                                                                      MARION           IL    62959‐6532

GILBERT L JOHNSON                                   PO BOX 158                                                                                      PHILLIPSBURG     OH    45354‐0158
GILBERT L KIMSEL                                    9155 GREENWAY CT APT N215                                                                       SAGINAW          MI    48609‐6762
GILBERT L LITTLE JR                                 1154 MANOR LANE                                                                                 MOUNT PLEASANT   SC    29464‐5126

GILBERT L MC KEE & ROSA S MC KEE TR MC KEE LIVING   5081 BUCK RD                                                                                    SHINGLE SPGS     CA    95682‐8430
TRUST UA 11/06/96
GILBERT L MOORE                                     4024 GLADSTONE                                                                                  DETROIT          MI    48204‐2408
GILBERT L REBAR                                     PO BOX 406                                                                                      FENTON           MI    48430‐0406
GILBERT L RICH JR                                   111 LUTON SE                                                                                    GRAND RAPIDS     MI    49506‐1571
GILBERT L SNOOKS                                    7247 NORTH ST ROAD 37                                                                           BLOOMINGTON      IN    47404‐9439
GILBERT LEHMAN                                      3752 N PARK AVENUE EXT                                                                          WARREN           OH    44481‐9370
GILBERT M ANTOKAL                                   1137 COUNTRY LANE                                                                               DEERFIELD        IL    60015‐4857
GILBERT M ARANDA                                    14300 STORY RD                                                                                  SAN JOSE         CA    95127‐3826
GILBERT M BERRY                                     23004 E COUNTY ROAD 1474                                                                        HAWTHORNE        FL    32640‐3206
GILBERT M BORBOA                                    7826 SATSUMA AVE                                                                                SUN VALLEY       CA    91352‐4532
GILBERT M CASTANEDA                                 4075 STATE ST                                                                                   SAGINAW          MI    48603‐4023
GILBERT M COHEN & ZENA COHEN TEN ENT                190 BIRKDALE DR                                                                                 BLUE BELL        PA    19422‐3270
GILBERT M DONOHO                                    708 MAPLE DR                                                                                    FRANKFORT        IN    46041‐2648
GILBERT M HAAS JR                                   7575 JERICHO NE                                                                                 ROCKFORD         MI    49341‐8698
GILBERT M RANEY                                     28930 NEW LANCASTER RD                                                                          LOUISBURG        KS    66053‐8241
GILBERT M SHELLEY                                   1252 PRICE RD                                                                                   AVON             IN    46123‐9549
GILBERT M TURNER                                    29825 JACKSON ROAD                                                                              SALISBURY        MD    21804‐2502
GILBERT MARK ELIZONDO                               7621 CLEARBROOK DR                                                                              CORPUS CHRISTI   TX    78413
GILBERT MILLIARD                                    327 RR 285                             ST CYRILLE‐DE‐LISLET QC                G0R 2W0 CANADA
GILBERT N FOUS & LARRY L FOUS JT TEN                1230 ALVORD                                                                                     FLINT            MI    48507‐2312
GILBERT O CLAMPITT                                  236 EAST NORTH STREET                                                                           SMYRNA           DE    19977‐1534
GILBERT O EBNER                                     1494 DUNSTER LANE                                                                               ROCKVILLE        MD    20854‐6119
GILBERT O ESCHELBACH & ELIZABETH L ESCHELBACH JT    6650 ODELL STREET                                                                               ST LOUIS         MO    63139‐2518
TEN
GILBERT OSWALD                                      795 SKYNOB DR                                                                                   ANN ARBOR        MI    48105‐2512
GILBERT P ORTEGA                                    3637 GREENS MILL RD                                                                             SPRING HILL      TN    37174‐2127
GILBERT PAISNER CUST JONATHAN PAISNER UGMA NY       26910 GRAND CENTRAL PKWY               APT 32G                                                  FLORAL PARK      NY    11005‐1006

GILBERT PARLOR                                      20161 COOLEY ST                                                                                 DETROIT          MI    48219‐1273
GILBERT PROFFITT                                    1565 ORCHARD VALLEY DR                                                                          MILFORD          OH    45150‐9407
GILBERT R COSTELLO                                  35608 SAXONY DR                                                                                 STERLING HTS     MI    48310‐5187
GILBERT R HALL & TEENIE JEAN HALL JT TEN            4460 KING ST                                                                                    DENVER           CO    80211‐1326
GILBERT R MAXWELL & CORALEE K MAXWELL JT TEN        2129 N KACHINA                                                                                  MESA             AZ    85203‐2156

GILBERT R OUTEN                                     124 BROOKGATE DRIVE                                                                             MYRTLE BEACH     SC    29579‐7809
GILBERT R SALKELD                                   1658 PINEWOOD DR                                                                                CLEARWATER       FL    33756‐3658
GILBERT RAMIREZ                                     10816 VARIEL AVE                                                                                CHATSWORTH       CA    91311‐1462
GILBERT RAPP                                        1002 CHELTENHAM CT                                                                              BALLSTON SPA     NY    12020‐3251
GILBERT RIVERA JR                                   1752 DAWSON ST                                                                                  INDIANAPOLIS     IN    46203‐2909
GILBERT S CASHION                                   7650 S VILLAGE SQ                                                                               VERO BEACH       FL    32966‐1257
GILBERT S MANN                                      4316 SPRINGDALE RD                                                                              LOUISVILLE       KY    40241‐1144
GILBERT S MC CUTCHEON                               7110 MARINE DRIVE                                                                               ALEXANDRIA       VA    22307‐1905
GILBERT S OBRADOR                                   701 FLOUNDER DR                                                                                 BURLESON         TX    76028
GILBERT S SCARBOROUGH III                           PO BOX 2287                                                                                     WILMINGTON       DE    19899‐2287
GILBERT SHAVER & MRS FRANCES J SHAVER TEN ENT                                                                                                       NEW FREEDOM      PA    17349

GILBERT STERN                                       41 NEWPORT PIKE                        HARRISON HOUSE                                           CHISTIANA        PA    17509‐1305
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GILBERT SUVEGES                                  27233 LAROSE DRIVE                                                                             WARREN             MI    48093‐7545
GILBERT T BENNETT                                10662 MOCKINGBIRD DR                                                                           OMAHA              NE    68127‐1927
GILBERT T BRANDT                                 2636 FOREST MEAD DR                                                                            STERLING HEIGHTS   MI    48314‐2736

GILBERT T FICK                                     3096 W BIRCH DRIVE                                                                           BAY CITY           MI    48706‐1206
GILBERT T FICK & JOAN V FICK JT TEN                3096 W BIRCH DR                                                                              BAY CITY           MI    48706‐1206
GILBERT T GRAHAM                                   3143 LEWISTON                                                                                BERKELEY           CA    94705‐2716
GILBERT T MANLEY                                   910 DUTCH CHAPEL RD                                                                          CYNTHIANA          KY    41031‐9040
GILBERT T WILLIAMS                                 523 S LAKEWOOD AVE                                                                           BALTIMORE          MD    21224‐3823
GILBERT TRASKOS                                    9226 MONTANA ST                                                                              LIVONIA            MI    48150‐3776
GILBERT TRITCH                                     3129 HWY 34E                                                                                 MARMADUKE          AR    72443‐9775
GILBERT TUTTLE                                     14910 GAINER ROAD                                                                            YOUNGSTOWN         FL    32466‐2502
GILBERT U KELLEY                                   3185 CARRICK GREEN CT                                                                        PORT SAINT LUCIE   FL    34952‐6043
GILBERT U KELLEY CUST CRYSTAL LYNN BURNETTE UTMA 6633 PAUL SCHADT LANE                                                                          CHARLOTTE          NC    28227‐0455
FL
GILBERT V LOPEZ                                    1210 WAYNESBORO HIGHWAY                                                                      HOHENWALD          TN    38462‐2228
GILBERT V MIRANDA                                  9004 THURBER LN                                                                              BAKERSFIELD        CA    93311‐1412
GILBERT V RODRIGUEZ                                13925 FIDLER AVE                                                                             BELLFLOWER         CA    90706‐2235
GILBERT VELASQUEZ JR                               3161 SUGAR BEET WAY                                                                          UNION CITY         CA    94587‐1655
GILBERT W BOYCE                                    BOX 744                                                                                      TEANECK            NJ    07666‐0744
GILBERT W BRENTON                                  2000 BITTERSWEET LANE                                                                        KOKOMO             IN    46902‐4503
GILBERT W HAMMOND                                  2210 TWELFTH                                                                                 PORT HURON         MI    48060
GILBERT W HAZELWOOD                                35 HELMAN DR                                                                                 CUMBERLAND         MD    21502‐7452
GILBERT W LOVELL & JANET E LOVELL TR LOVELL LIVING 1871 SUBSTATION RD                                                                           BRUNSWICK          OH    44212‐3233
TRUST UA 01/23/97
GILBERT W MURPHY & JOY H MURPHY JT TEN             5065 SANDPIPER DRIVE 535                                                                     SALT LAKE CTY      UT    84117
GILBERT W RONCO & MRS FLORENCE C RONCO JT TEN 1914 PEALE TER                                                                                    GREENSBORO         NC    27407‐4528

GILBERT WILLIAM VANSON                           74 CLARKSON ST NORTH                  THUNDER BAY ON                         P7A 6E6 CANADA
GILBERTE F KLUG                                  3337 S 78 ST                                                                                   MILWAUKEE          WI    53219‐3822
GILBERTO BONILLA                                 4 LEEDOM ROAD                                                                                  ELKTON             MD    21921‐6505
GILBERTO CAFARELLI                               13885 LAKE RD                                                                                  LAKEWOOD           OH    44107‐1465
GILBERTO CARDEC                                  1050 NW 48TH ST                                                                                FT LAUDERDALE      FL    33309‐3831
GILBERTO CHAVEZ                                  20048 LEZOTTE DR                                                                               ROCKWOOD           MI    48173‐8621
GILBERTO CRESPO                                  2501 CANA CIRCLE                                                                               HINCKLEY           OH    44233‐9744
GILBERTO GARZA                                   13037 ORCHARD                                                                                  SOUTHGATE          MI    48195‐1619
GILBERTO GONZALES                                PO BOX 362                                                                                     HAMLER             OH    43524‐0362
GILBERTO L VASQUEZ                               1905 W 42ND ST                                                                                 LORAIN             OH    44053‐2652
GILBERTO ROSADO                                  189 GRAND CANAL DR                                                                             KISSIMMEE          FL    34759‐4347
GILBERTO TALAMANTEZ                              821 S STATE ST                                                                                 OWOSSO             MI    48867‐4246
GILBERTO V GARIBAY                               3412 FLEET LN                                                                                  SAINT CHARLES      MO    63301‐1031
GILBERTO V JAIMES                                25 STERLING                                                                                    ADRIAN             MI    49221‐4262
GILBERTO Z YSLAS                                 3740 COLLIS AVE                                                                                LOS ANGELES        CA    90032‐1505
GILDA A GRILLO                                   229 URBAN LANE                                                                                 WILLIAMSTOWN       NJ    08094‐9757
GILDA C HURST & GEORGE C HURST JT TEN            28 MARSHWOOD DR                                                                                COLLEGEVILLE       PA    19426
GILDA CICCARELLI & JAMES A CICCARELLI JT TEN     25932 MIDWAY                                                                                   DEARBORN HTS       MI    48127‐2972
GILDA E MITCHELL                                 3241 BITTEL RD                                                                                 OWENSBORO          KY    42301‐9464
GILDA FURNARI                                    100 FOREST                            MEADOW TRAIL                                             ROCHESTER          NY    14624‐1137
GILDA H PEGRAM                                   2917 BRIERWOOD RD                                                                              PETERSBURG         VA    23805‐2946
GILDA J THOMAS                                   9630 S EUCLID                                                                                  CHICAGO            IL    60617‐4726
GILDA M HIMEL                                    16419 TONEY ROAD                                                                               FOLSOM             LA    70437‐5217
GILDA M MIRNDA                                   10294 NW 9ST #204                                                                              MIAMI              FL    33172‐6626
GILDA R HOLLAND                                  160 FLOWING WELL RD                                                                            WAGENER            SC    29164‐9010
GILDA R THOMPSON                                 1349 AUTRY LN                                                                                  CROWLEY            TX    76036‐5745
GILDA SNYDER                                     4701 WILLARD AVE #1006                                                                         CHEVY CHASE        MD    20815‐4622
GILDA T CARTLEDGE & JUVENAL L MARCHISIO JT TEN   PO BOX 283                                                                                     MARSHALLBERG       NC    28553‐0283

GILDA TENNENBAUM CHODOSH TR LISA S CHODOSH       140 W 86TH ST                                                                                  NEW YORK           NY    10024‐4034
TRUST UA 05/09/02
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GILDA TENNENBAUM CHODOSH TR REGINA K CHODOSH 140 W 86TH ST                                                                                      NEW YORK        NY    10024‐4034
TRUST UA 05/09/02
GILDARDO GUERRERO                            1141 ALPINE AVE                                                                                    CHULA VISTA     CA    91911‐3302
GILDARDO H DIAZ                              1146 S GRAND AVE                                                                                   LANSING         MI    48910‐1614
GILDARDO MARTINEZ                            12257 SATICOY ST                                                                                   NO HOLLYWOOD    CA    91605‐3027
GILDARDO O MENDEZ                            2705 KOBE DR                                                                                       SAN DIEGO       CA    92123‐3002
GILDO J ASCENZI                              16 NAYLOR AVE                                                                                      PENNS GROVE     NJ    08069‐1608
GILES A GOFORTH MARY I GOFORTH & GILES ALAN  2866 LEACH RD                                                                                      ROCHESTER HLS   MI    48309‐3561
GOFORTH JT TEN
GILES A GOFORTH MARY I GOFORTH & ROSEMARY    2866 LEACH RD                                                                                      ROCHESTER HLS   MI    48309‐3561
ALENE GOFORTH JT TEN
GILES A GOFORTH MARY I GOFORTH & WILLIAM RAY 2866 LEACH RD                                                                                      ROCHESTER HLS   MI    48309‐3561
GOFORTH JT TEN
GILES B CROPSEY & MARIE L CROPSEY JT TEN     6041 MARGARIDO DRIVE                                                                               OAKLAND         CA    94618‐1836
GILES CNTY 4‐H & FFA                         C/O NATL 4‐H COUNCIL                 7100 CONN AVE                                                 CHEVY CHASE     MD    20815‐4934
GILES D BEAL III                             P O BOX 848                                                                                        LOWELL          NC    28098
GILES D DWYER                                11839 ROBINWOOD BLVD                                                                               WARREN          MI    48093‐3063
GILES D DWYER & MARCELLA DWYER JT TEN        11839 ROBINWOOD BLVD                                                                               WARREN          MI    48093‐3063
GILES MIZOCK TR G MIZOCK MD LTD EMPLOYEES    2587 FAIRFORD LANE                                                                                 NORTHBROOK      IL    60062‐8101
PENSION PLAN UA 4/1/79
GILES R BROCKMAN                             3106 SUMMERFIELD DRIVE                                                                             PETERSBURG      MI    49270‐9539
GILES W BRANSTON                             83 LAUDERDALE MANSIONS               LAUDERDALE RD        LONDON            W9 1LX GREAT BRITAIN
GILFORD C HINDS                              PO BOX 1683                                                                                        RAHWAY          NJ    07065‐7683
GILFORD G RAYMER                             PO BOX 1630                                                                                        BRACKETTVILLE   TX    78832‐1630
GILFORD MYERS & MARILYN MYERS JT TEN         6045 TERRA MERE CIR                                                                                BOYNTON BEACH   FL    33437
GILL P YEE & WAI F YEE JT TEN                435 23RD AVE                                                                                       SAN FRANCISO    CA    94121‐3017
GILLARD MORRISSETTE                          17839 MAINE                                                                                        DETROIT         MI    48212‐1019
GILLES A LUSSIER                             1952 STE‐ANNE RD                     L'ORIGNAL ON                           K0B 1K0 CANADA
GILLES BOUDREAU                              9500 74TH ST                                                                                       KENOSHA         WI    53142‐8191
GILLES BOUDRIAU                              4437 LAC SEPT ILES                   ST RAYMOND QC                          G3L 2S6 CANADA
GILLES CORRIVEAU                             18 ARCHAMBAULT                       STE ROSE LAVAL QC                      H7L 2H1 CANADA
GILLESPIE CO                                 PO BOX 675                                                                                         TAZEWELL        VA    24651‐0675
GILLETTE MULLINS                             PO BOX 554                                                                                         BRIGHTON        MI    48116‐0554
GILLIAM CLARK JR                             117 E CHURCH ST                                                                                    LAKE ORION      MI    48362‐3214
GILLIAM HAYWOOD III                          1314 HANCOCK                                                                                       SAGINAW         MI    48602‐4148
GILLIAN C HIGGENS                            1077 ERIE CLIFF                                                                                    LAKEWOOD        OH    44107‐1213
GILLIAN ESTRADA CUST STEPHEN ESTRADA UGMA NY 949 WEST END AVE                                                                                   NEW YORK        NY    10025‐3571

GILLIAN MCPHEE                                22 SILVER ST                                                                                      MIDDLETOWN      CT    06457‐3827
GILLIE S PARKER                               4538 SEEBALDT                                                                                     DETROIT         MI    48204‐3755
GILLIS H CHRISTIAN                            14178 N CLIO RD                                                                                   CLIO            MI    48420‐8804
GILMAN B DUNCAN SR                            7300 NEFF RD                                                                                      VALLEY CITY     OH    44280‐9464
GILMAN E FOSHEIM                              2027 ADEL                                                                                         JANESVILLE      WI    53546‐3241
GILMAN J GORNEAULT                            97 MT VIEW AVE                                                                                    BRISTOL         CT    06010‐4830
GILMAN R WALTS                                RT 264 BOX 466                                                                                    PHOENIX         NY    13135
GILMORE C GULBRANSON                          216 BEVERLY RD                                                                                    BARRINGTON      IL    60010‐3406
GILMORE WELFORD JR                            900 DUNHAM SE                                                                                     GRAND RAPIDS    MI    49506‐2628
GILMOUR K GRAHAM                              871 JUNIPER ST                      OSHAWA ON                              L1G 3E3 CANADA
GILNOR G DALRYMPLE                            1034 CORONADO PKWY                                                                                DENVER          CO    80229
GINA A NELL                                   1812 E CANAL RD                                                                                   DOVER           PA    17315‐3608
GINA ANDERSON CUST AARON G ANDERSON UGMA TX   2727 E VISTA DR                                                                                   PHOENIX         AZ    85032‐4957

GINA ANDERSON CUST JOSHUA T ANDERSON UGMA AZ 408 BRIDLE LN                                                                                      WHEATON         IL    60187

GINA BELFIORE                                 152 MIDLAND AVE                                                                                   KEARNY          NJ    07032‐2741
GINA C ANDERSON CUST CALEB C ANDERSON UGMA AZ 2727 E VISTA DR                                                                                   PHOENIX         AZ    85032

GINA C PACHOLL                                2747 KNOLLWOOD DR                                                                                 CAMERON PARK    CA    95682
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GINA CANON CUST FRANCESCA M CANON UTMA IL         2840 W 99TH ST                                                                                 EVERGREEN PARK   IL    60805

GINA CORRADO CUST PETER CORRADO UTMA NJ           212 FRANKLIN ST                                                                                NORTHVALE        NJ    07647
GINA DIFEO                                        92 SOUTH MANOR COURT                                                                           WALL             NJ    07762‐1604
GINA F BURESCH                                    2015 THORNWOOD CIR                                                                             SAINT CHARLES    IL    60174‐5015
GINA F GHIO                                       4167 BALBOA WAY                                                                                SAN DIEGO        CA    92117‐6911
GINA GATTI BOULWARE                               301 REDCLIFFE RD                                                                               GREENVILLE       SC    29615‐3635
GINA GRANDE CUST SARINA N GRANDE UTMA IL          1N545 GOODRICH AVE                                                                             GLEN ELLYN       IL    60137‐3542
GINA HARMON                                       7061 COLESBROOK DR                                                                             HUDSON           OH    44236‐1168
GINA I SCHNEIDER                                  1044 S WESTWOOD                                                                                LAPORTE          IN    46350‐9481
GINA J KOVALCIK                                   C/O GINA J KOVALCIK FAITH             3 VALERIE CT                                             PORTAGE          IN    46368‐8722
GINA KAY LONSTRON                                 6010 MILLWICK DR                                                                               ALPHARATTA       GA    30005‐6742
GINA L GUGLIELMELLO                               557 SHERWOOD DR                                                                                AUBURN           AL    36830‐6034
GINA L JONES & BARBARA A CAMPBELL JT TEN          2385 SOUTH 30TH AVE                                                                            SEARS            MI    49679
GINA L KRUPER                                     215 EDGEHILL RD                                                                                YORK             PA    17403‐4703
GINA L MOORE                                      7447 YINGER                                                                                    DEARBORN         MI    48126‐1338
GINA L POLACK & THERESA P GIZZI JT TEN            178‐12TH STREET                                                                                LEOMINSTER       MA    01453‐3789
GINA L SEATON                                     3019 S LIDDESDALE ST                                                                           DETROIT          MI    48217‐1172
GINA L SHIRLEY                                    ATTN GINA S MARTIN                    116 BRYAN RD                                             OTTUMWA          IA    52501‐1101
GINA L SIMS                                       608 GOOSEBERRY LN                                                                              GREENWOOD        IN    46143
GINA L TASS                                       769 ALBERT STREET                     OSHAWA ON                              L1H 4T8 CANADA
GINA L TASS                                       769 ALBERT STREET                     OSHAWA ON                              L1H 4T8 CANADA
GINA LAPERUTO CUST MARY ROSE RADICE UTMA IL       828 9TH AV                                                                                     LA GRANGE        IL    60525‐2953

GINA LYN MCLAREN                                  29 W 444 RAY AVE                                                                               WEST CHICAGO     IL    60185
GINA LYNN BOLDEN                                  3055 DUKE OF GLOUCESTER                                                                        EAST POINT       GA    30344‐5845
GINA M DIPONIO & MARINO DIPONIO & SANDRA K        1391 BAY RIDGE DR                                                                              HIGHLAND         MI    48356‐1109
DIPONIO JT TEN
GINA M ELLIS                                      1613 BARTON DR                                                                                 NORMAL           IL    61761‐2357
GINA M FINNEY                                     8805 OLD OAK DR                                                                                PLYMOUTH         MI    48170‐6365
GINA M FRITZ CUST ANNA C FRITZ UTMA IL            1613 BARTON DR                                                                                 NORMAL           IL    61761‐2357
GINA M FRITZ CUST MICHAEL J FRITZ UTMA IL         1613 BARTON DR                                                                                 NORMAL           IL    61761‐2357
GINA M GEORGE                                     802 1ST AVENUE                                                                                 SEA GIRT         NJ    08750‐3203
GINA M LANTZ & PAULA M MILLER TR WILBUR B CLARK   800 E LINFOOT                                                                                  WAUSEON          OH    43567‐1832
TRUST A UA 12/28/00
GINA M MAKSYM                                     1685 GRANDVIEW DR                                                                              HEBRON           KY    41048‐8607
GINA M REYNA                                      4410 TOPHILL LN                                                                                IRVING           TX    75038
GINA M VANVALKENBURG                              1621 S NEWPORT AVE                                                                             TULSA            OK    74120‐6219
GINA MARIE CRONIN                                 337 KINGS HWY WEST                                                                             HADDONFIELD      NJ    08033‐2103
GINA MARIE MC KIBBEN                              ATTN GINA MARIE MEAGHER               55665 PLACID DR                                          MACOMB           MI    48042‐6176
GINA MICHELLE PRIEM MILLARD                       5S661 RIDGEVIEW LN                                                                             NAPERVILLE       IL    60540‐3852
GINA N THOMAS                                     8601 ROSEWOOD LN                                                                               MAPLE GROVE      MN    55369‐9137
GINA PARHAM CUST KATHRYN PARHAM UTMA NC           1140 ALEXANDER RD                                                                              LEICESTER        NC    28748‐9448
GINA PIERCE HOLMES                                RT 1                                                                                           WAKITA           OK    73771‐9801
GINA R BLUMENSTOCK                                4413B 99TH ST W                                                                                BRADENTON        FL    34210‐1818
GINA R GALT                                       3766 LEACH CIRCLE                                                                              GAINESVILLE      GA    30506‐3591
GINA R HARRISON & ETTA MAE ASSUMAN JT TEN         2019 WERON LN                                                                                  CINCINNATI       OH    45225‐1231
GINA R SEARCH CUST TANNER C SEARCH UTMA IL        390 NORTHRIDGE RD                                                                              COLUMBIA         IL    62236‐1960
GINA S DAVIS                                      PO BOX 172                                                                                     CASTALIA         OH    44824‐0172
GINA W UFERT                                      5663 POWDER MILL RD                                                                            KENT             OH    44240‐7117
GINELL K NEITZKE PER REP EST LOIS G NEITZKE       P O BOX 7849                                                                                   FLINT            MI    48507
GINENE Y GRIGGS                                   PO BOX 15191                                                                                   DETROIT          MI    48215‐0191
GINERVA ATWATER & SANDRA ATWATER JT TEN           RD #2 BOX 2058                                                                                 SALEM            NY    12865‐9605
GINETTE ABDO                                      1609 WHITMAN AVE                                                                               BUTTE            MT    59701‐5380
GINETTE M TRENHOLM                                1417 E ROWLAND AVE                                                                             WEST COVINA      CA    91791‐1246
GINGER ANN IVERSON                                518 EAST FULTON ST                                                                             EDGERTON         WI    53534‐1926
GINGER BARTHOLOMEW                                1053 RADFORD DR                                                                                DELTONA          FL    32738‐6633
GINGER BENNETT & GARY L BENNETT JT TEN            3249 HARVARD                                                                                   ROYAL OAK        MI    48073‐6608
GINGER BRANDON                                    1585 HORACE BARNES RD                                                                          CALVERT CITY     KY    42029‐8522
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GINGER C REEVES & WILLARD P REEVES JR JT TEN   6869 BRAIRWOOD DR                                                                                PINSON             AL    35126‐2938
GINGER CLARK                                   1613 S 10TH AVE                                                                                  MAYWOOD            IL    60153‐1958
GINGER H SEGEL                                 1133 MICHIGAN AVE                                                                                WILMETTE           IL    60091‐1975
GINGER HENDEE CUST SAMUEL CHARLES GARCIA UTMA 516 SKUNK VALLEY RD                                                                               PANAMA CITY        FL    32409
FL
GINGER JETT SMITH CUST MADISON ELAINE SMITH    2649 HAVERSTRAW AVE                                                                              DAYTON             OH    45414‐2238
UGMA OH
GINGER K COTTER                                ATTN GINGER OHL                         2458 PETERSON RD                                         MANSFIELD          OH    44903‐9664
GINGER L PROUDLOVE                             12 BUTTONWOOD AVE                                                                                NEW CASTLE         DE    19720‐3604
GINGER R SERNA                                 19858 WILLIAMSON                                                                                 CLINTON TWP        MI    48035‐4087
GINGER R SERNA                                 19858 WILLIAMSON                                                                                 CLINTON TWP        MI    48035‐4087
GINGER S SHAFNER CUST KAYLEY M SHAFNER UTMA OH 959 MCBEE RD                                                                                     BELLBROOK          OH    45305‐9718

GINGER Y HWALEK CUST JOSEPH Y HWALEK UTMA MA      234 KENDUSKEAG                                                                                BANGOR             ME    04401‐3810

GINNA GAYLE GAMMON                                3643 E 575 ST                                                                                 MARKLEVILLE        IN    46056‐9793
GINNA HELEN DALOISIO & MARY DALOISIO JT TEN       ATTN GINA HELEN DALOISIO BANK        7733 WAR RD                                              NEWPORT            MI    48166‐9354
GINNA M RAMSEY                                    1136 FRAWLEY DR                                                                               WEBSTER            NY    14580‐9613
GINNIE C LEOPPARD                                 PO BOX 3262                                                                                   TRUCKEE            CA    96160‐3262
GINNY J JOHNSON                                   PO BOX 3101                                                                                   KIRKLAND           WA    98083‐3101
GINO CENTOFANTI                                   1016 STANTON RD                                                                               WILMINGTON         DE    19808‐5831
GINO CICCARELLI                                   42 MARLBANK DR                                                                                ROCHESTER          NY    14612‐3318
GINO D MORDOCCO                                   6184 PAWNEE PL                                                                                POLAND             OH    44514‐1856
GINO DALOISIO                                     4626 LUISA DR                                                                                 TROY               MI    48085‐6808
GINO DI NARDI & MRS CONSTANCE DI NARDI JT TEN     7 SUNRISE RD                                                                                  CRANSTON           RI    02920‐1528

GINO F COLACE                                     4422 BARRON RD                                                                                PERRYSVILLE        OH    44864‐9655
GINO GANIO                                        128 ARSENAL DR                                                                                FRANKLIN           TN    37064‐2303
GINO GANIO JR                                     128 ARSENAL DR                                                                                FRANKLIN           TN    37064‐2303
GINO J GENTILE TR GINO J GENTILE 1997 REVOCABLE   9239 PEBBLE CREEK DRIVE                                                                       TAMPA              FL    33647‐2455
TRUST UA 09/23/97
GINO L CAPONI & SHIRLEY J CAPONI JT TEN           13554 LILLIAN LANE                                                                            STERLING HEIGHTS   MI    48313‐2644

GINO L WILLIAMS                                   491 COLUMBIA AVE E                   STE 4                                                    BATTLE CREEK       MI    49014‐5468
GINO M LE DONNE                                   2466 CORRELL DR                                                                               LAKE ORION         MI    48360‐2258
GINO OTTAVIANO                                    26 REGINA DR                                                                                  ROCHESTER          NY    14606‐3508
GINO PETER BARTOLOMEO & SUZAN BARTOLOMEO JT       71 WOODS RD                                                                                   PINE PLAINS        NY    12567‐5458
TEN
GINO REA & BRUNA MARIA REA JT TEN                 4349 SEYMOUR ST                                                                               DEARBORN           MI    48126‐2927
GINO STOCCHERO & NANCY STOCCHERO JT TEN           4736 W ALTGELD ST                                                                             CHICAGO            IL    60639‐1810
GIOANNI TINERVIA                                  609 LAMOREAUX                                                                                 COMSTOCK PARK      MI    49321‐9123
GIOCONDA SEQUEIRA                                 5577 COONEY PL                                                                                SAN JOSE           CA    95123‐1356
GIOIELLA GODOY                                    88 JOHANNA LN                                                                                 STATEN ISLAND      NY    10309
GIORDANO D ROSSINI                                1007 MANGO AVE                                                                                SUNNYVALE          CA    94087‐1729
GIORGIO MERCONE                                   6 SIMONE TERR                                                                                 WEBSTER            NY    14580‐2232
GIORGIO OCCHIPINTI & MRS ROSE OCCHIPINTI JT TEN   24 HAMILTON PL                                                                                TARRYTOWN          NY    10591‐3404

GIOVAMBATT P PEREZ                              5815 GRIN KLAW                                                                                  SIMI VALLEY        CA    93063
GIOVANINNA SCRIVANICH & GUIDO SCRIVANICH JT TEN PO BOX 3119                                                                                     FORT LEE           NJ    07024‐9119

GIOVANNI AGOSTINO & CATERINA AGOSTINO JT TEN      673 NW 133 WAY                                                                                PLANTATION         FL    33325‐6152

GIOVANNI BARBATO                                 PO BOX 3786                                                                                    FULLERTON          CA    92834‐3786
GIOVANNI DELLOSTRITTO                            25 KENILWORTH RD                                                                               WORCESTER          MA    01602‐1840
GIOVANNI DESANTIS                                14540 AUBURNDALE                                                                               LIVONIA            MI    48154‐3542
GIOVANNI DOLFATO GM OF CANADA LTD                5000 TRANS CANADA HWY                 PTE‐CLAIRE QC                          H9R 4R2 CANADA
GIOVANNI F CERASUOLO & ROSE LEE CERASUOLO JT TEN 25380 VAN HORN                                                                                 FLAT ROCK          MI    48134‐9100

GIOVANNI GIROLAMO                                 25 FAIRGATE ST                                                                                ROCHESTER          NY    14606‐1403
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GIOVANNI LOIACONO                                  46253 JACKSON DR                                                                                MACOMB           MI    48044‐3175
GIOVANNI LUISI                                     31 RASPBERRY PATCH DRIVE                                                                        ROCHESTER        NY    14612‐2868
GIOVANNI MIGALDI                                   10475 HARTLAND DR                                                                               DIMONDALE        MI    48821‐9522
GIOVANNI MIGALDI & NELLA A MIGALDI JT TEN          10475 HARTLAND DR                                                                               DIMONDALE        MI    48821‐9522
GIOVANNI PALMIERI                                  40 REGINA DRIVE                                                                                 ROCHESTER        NY    14606‐3526
GIOVANNI T LEONE                                   10008 LAKEVIEW ROAD                                                                             TRAVERSE CITY    MI    49684‐9571
GIOVANNI TUSO                                      17 ERIN LANE                                                                                    OLD BRIDGE       NJ    08857
GIOVANNINA TRIPI                                   123 LISA ANN DR                                                                                 ROCHESTER        NY    14606‐5619
GIOVINA C MANCINELLI                               1483 SHERIDAN AVE N E                                                                           WARREN           OH    44483‐3967
GIRARD G ETHERIDGE JR & RUTH F ETHERIDGE TEN ENT   2643 COLLINS AVE                                                                                LAKELAND         FL    33803‐3301

GIRARD H RODGERS JR                                505 EAST 82ND ST                     APT 1‐D                                                    NEW YORK         NY    10028‐7142
GIRARD SIMPSON TR UA 08/16/96                      7 HEATHER LANE R D 2                                                                            HACKETTSTOWN     NJ    07840
GIRDA T BUSH                                       701 11TH ST NE                                                                                  JACKSONVILLE     AL    36265‐1131
GIRDIELENE BEA SNYDER                              PO BOX 252                                                                                      MONROEVILLE      AL    36461‐0252
GIRGIS F WISSA                                     421 SPRINGVIEW DR                                                                               ROCHESTER        MI    48307‐1736
GIRGIS F WISSA & MARY Y WISSA JT TEN               421 SPRINGVIEW DR                                                                               ROCHESTER        MI    48307‐1736
GIRISH A PATEL & VIBHA G PATEL JT TEN              7537 W FREMONT DR                                                                               LITTLETON        CO    80128‐4314
GIRISH MATHUR & ALPA MATHUR JT TEN                 7710 HUNTERS POINT DR                                                                           SUGAR LAND       TX    77479‐6438
GIRISH VYAS & MRS DEVI G VYAS JT TEN               2135 14TH AVE                                                                                   SAN FRANCISCO    CA    94116‐1840
GIRLAND LEE                                        644 W 117TH PL                                                                                  CHICAGO          IL    60628‐5845
GIRLEE SIMPSON                                     934 EDDY RD                                                                                     CLEVELAND        OH    44108‐2362
GISELA E CASEY                                     13435 BASS ROAD                                                                                 FORT WAYNE       IN    46818‐9609
GISELA G JUDY                                      1685 E CARLETON RD                                                                              ADRIAN           MI    49221‐8734
GISELA I TIETZ                                     5938 NW CAREFREE ST                                                                             PORT ST LUCIE    FL    34986‐4220
GISELA KULARTZ                                     KAARSTER‐STR 117                     41462 NEUSS          REPL OF           GERMANY
GISELA MURRAY                                      9134 W ST MARTINS ROAD                                                                          FRANKLIN         WI    53132‐9508
GISELA R BROOMFIELD                                18413 N SCENIC COURT                                                                            SUN CITY         AZ    85373
GISELA THORMEYER                                   4323 MOFFET ST                                                                                  PORT CHARLOTTE   FL    33948‐2459
GISELA WOOD                                        1523 KATHY COURT                                                                                LAWRENCEBURG     IN    47025‐9208
GISELE BOULAIS                                     1908 STATE ROUTE 95 PO BOX 215                                                                  BOMBAY           NY    12914‐0215
GISELE M SMITH                                     2841 BOTANY DR                                                                                  JONESBORO        GA    30236‐6801
GISELE MATHEWS                                     13124 MANOR DR                                                                                  MOUNT AIRY       MD    21771‐4506
GISELE S DELISLE CUST RENEE C DELISLE UGMA MA      53 RUSTIC DR                                                                                    LEOMINSTER       MA    01453‐2650

GITLA DOPPELT                                      8338 RUSSELL ST                                                                                 OVERLAND         KS    66212‐1138
GITTA GREENBERG                                    59 SCARBOROUGH PLACE                                                                            TOMS RIVER       NJ    08757‐4616
GIUFFRE BUICK INC                                  C/O ROGER C SABLES                   1030 S 31ST ST                                             SPRINGFIELD      IL    62703
GIULIA R KENNEDY                                   22819 17TH AVE S                                                                                DES MOINES       WA    98198‐7602
GIULIANA GIUFFRE                                   VIA VITTORIO EMANUELE 200            98100 LIPARI ME                        ITALY
GIULIANO NIERI                                     77 LANDERS ST                                                                                   SAN FRANCISCO    CA    94114‐1312
GIULIANO O ARQUILLA                                7340 W TULIP TREE                                                                               PUNTA GORDA      FL    33955
GIUSEPPA COSTABILE                                 169 KURKSTONE PASS                                                                              ROCHESTER        NY    14626‐1741
GIUSEPPE ALASTRA                                   1149 LINCOLN                                                                                    WYANDOTTE        MI    48192‐3232
GIUSEPPE ALVARO                                    713 HANOVER AVE                                                                                 LIVERPOOL        NY    13088‐6434
GIUSEPPE BASIRICO                                  3700 ROHR RD                                                                                    ORION            MI    48359‐1433
GIUSEPPE BASIRICO & JOSEPHINE BASIRICO JT TEN      3700 ROHR RD                                                                                    ORION            MI    48359‐1433

GIUSEPPE CAIRA                                     27 DREXEL DR                                                                                    ROCHESTER        NY    14606‐5305
GIUSEPPE CRINCOLI                                  29 FRIEND ST                                                                                    PORT READING     NJ    07064‐1211
GIUSEPPE CROCCO                                    56 JENSEN RD                                                                                    SAYREVILLE       NJ    07512
GIUSEPPE DEL BALSO                                 30198 WHITE RD                                                                                  WICKLIFFE        OH    44092‐1375
GIUSEPPE DEMILIO                                   18998 MILBURN                                                                                   LIVONIA          MI    48152‐3350
GIUSEPPE DIGRANDE                                  1012 SE 17TH PL                                                                                 CAPE CORAL       FL    33990‐1837
GIUSEPPE DIPRIZIO                                  PO BOX 5 HANOVER ST STA                                                                         BOSTON           MA    02113‐0001
GIUSEPPE GAGLIARDI                                 37 VILLAGE CT                                                                                   BKLYN            NY    11223‐4728
GIUSEPPE N TOZZI                                   419 TRIMMER RD                                                                                  SPENCERPORT      NY    14559‐1015
GIUSEPPE PENNISI                                   204 SLEEPY HOLLOW COURT                                                                         NEWARK           DE    19711
GIUSEPPE PICCICHE & ROSINA PICCICHE JT TEN         37698 JEROME                                                                                    STERLING HTS     MI    48312‐2036
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GIUSEPPE QUATTROCCHI                               24614 CUSHING                                                                                   EASTPOINT         MI    48021‐1235
GIUSEPPE ROVIDA CUST DAVIDE PICCIONE UTMA NY       89 CAYUGA RD                                                                                    YONKERS           NY    10710‐5145

GIUSEPPE ROVIDA CUST ELISSA PICCIONE UTMA NY       89 CAYUGA RD                                                                                    YONKERS           NY    10710‐5145

GIUSEPPE RUBER                                     34 CADILLAC AVE N                      OSHAWA ON                              L1G 6B7 CANADA
GIUSEPPE SCALICI                                   214 MILFORD DR                                                                                  MIDDLETOWN        DE    19709‐9417
GIUSEPPE VELLA                                     103‐50 104TH ST                                                                                 OZONE PARK        NY    11416
GIUSEPPINA GUZZO                                   2 RIDGE ST                                                                                      TARRYTOWN         NY    10591
GIUSEPPINO CICCIARELLI                             60 ROCHESTER ST                                                                                 LOCKPORT          NY    14094‐3242
GIVEASHARE COM                                     14266 NW SPRUCERIDGE LN                                                                         PORTLAND          OR    97229
GIZELLA D BAKER & ANNA BAKER JT TEN                1 EAMES ST #2                                                                                   PROVIDENCE        RI    02906‐3303
GJEMAL S LULANAJ                                   21224 RENSELAER                                                                                 FARMINGTON        MI    48336‐6220
GJERGJ KALAJ                                       619 SILVER RIDGE DR                                                                             MURPHY            TX    75094‐2608
GLADES LILLARD FALKER                              1628 W 14 STREET                                                                                ANDERSON          IN    46016‐3202
GLADIOLA MAXINE CARPENTER                          353 SNEAD DRIVE                                                                                 FAIRFIELD GLADE   TN    38558‐8041
GLADSTON A SUDDERTH                                5824 SUWANEE DAM RD                                                                             BUFORD            GA    30518‐5646
GLADSTONE D MACLEAN                                PO BOX 289                                                                                      BETHEL ISLAND     CA    94511
GLADSTONE F CROSDALE                               150 VARIAN LANE                                                                                 ROCHESTER         NY    14624‐1741
GLADSTONE F CROSDALE & IONIE O CROSDALE JT TEN     150 VARIAN LANE                                                                                 ROCHESTER         NY    14624‐1741

GLADUS L WASHINGTON                                4807 CAMELBACK CT                                                                               WALDORF           MD    20602‐3172
GLADWIN R GEROU & HARRIET R GEROU JT TEN           1310 W CEDAR                                                                                    GLADWIN           MI    48624‐1820
GLADYCE IDZIOREK                                   4444 43RD AVE S                                                                                 MINNEAPOLIS       MN    55406‐4051
GLADYNE M MITCHELL                                 1003 PERSHING                                                                                   COLLEGE STATION   TX    77840‐3083
GLADYS A BRINSON & CHRISTOPHER A GRIFFITH JT TEN   2808 60TH AVE W                        APT 1203                                                 BRADENTON         FL    34207‐4310

GLADYS A BUSCH                                     1221 BOWERS ST                                                                                  BIRMINGHAM        MI    48012‐9991
GLADYS A BUSCHE TR UA 12/13/93 GLADYS A BUSCHE     PO BOX 1567                                                                                     MCHENRY           IL    60051‐1567
LIVING TRUST
GLADYS A MULLER                                    68 BEVERLY RD                                                                                   MULLAND           PA    18966‐2102
GLADYS A SCHEER                                    8413 W 104TH ST                                                                                 MINNEAPOLIS       MN    55438‐1933
GLADYS A SIEVERT                                   BOX 383                                                                                         CARLTON           MN    55718‐0383
GLADYS A STARZYK                                   27 LAFFIN LANE                                                                                  POUGHKEEPSIE      NY    12603‐4903
GLADYS A TRICK                                     744 WAGON TRAIN DR SE                                                                           RIO RANCHO        NM    87124‐2357
GLADYS A WING                                      3033 BARDIN RD                         APT 214                                                  GRAND PRAIRIE     TX    75052‐3871
GLADYS ANNE JOHNS                                  3235 BRYAN STREET                                                                               RENO              NV    89503‐2007
GLADYS B ARTHUR                                    102 COLLIER ST                                                                                  AIKEN             SC    29803‐5420
GLADYS B ELIASON                                   210 LOVERS LANE                                                                                 HAMILTON          AL    35570‐4769
GLADYS B JACKSON                                   503 MAPLE ST                                                                                    ASHLAND           VA    23005‐2125
GLADYS B KERN                                      8 SHADOW LANE                                                                                   CAPE MAY COURT    NJ    08210‐1948
                                                                                                                                                   HSE
GLADYS B KERN & WILLIAM R KERN JT TEN              10 SHADOW LANE                         CAPE MAY COURTHSE                                        CAPE MAY CH       NJ    08210‐1948
GLADYS B LIPKIN                                    2751 S OCEAN DR APT 1502N                                                                       HOLLYWOOD         FL    33019‐2740
GLADYS B LUTTRULL                                  PO BOX 1251                                                                                     THONOTOSASSA      FL    33592‐1251
GLADYS B NORRIS                                    240 UPPERVILLE ROAD                                                                             VIRGINIA BEACH    VA    23462‐5941
GLADYS B TYRONE                                    549 ALSTON PARK DRIVE                                                                           VESTIVIA HILLS    AL    35242‐7425
GLADYS BAMBROUGH                                   413 N 7TH ST                                                                                    ELWOOD            IN    46036‐1408
GLADYS BARR                                        97 GUMP PLACE                                                                                   TROTWOOD          OH    45426‐3006
GLADYS BAUER FINE                                  4807 WILLOWICK BLVD                                                                             ALEXANDRIA        LA    71303‐2540
GLADYS BECKER                                      1301 HURLBURT WAY                                                                               MINNEOLA          FL    34715
GLADYS BERNICE JOZWIK                              4805 CUTHBERT RD                                                                                WHITE LAKE        MI    48386‐1305
GLADYS BINNS & TERRY LEO BINNS JT TEN              PO BOX 30591                                                                                    KANSAS CITY       MO    64112
GLADYS BLAIR                                       301 KRISTINA COURT                                                                              DAYTON            OH    45458‐4127
GLADYS BORNT                                       1419 TROPIC ST                                                                                  TITUSVILLE        FL    32796‐7677
GLADYS BORST                                       27 BENNETT ROAD                                                                                 POUGHKEEPSIE      NY    12601‐6418
GLADYS C ALBERTS                                   C/O HUBBS                              1410 PARK MEADOW WAY                                     BEECH GROVE       IN    46107‐1970
GLADYS C BAERGA                                    2492 DEVOE TERRACE APT 2D                                                                       BRONX             NY    10468‐4939
GLADYS C CHATMAN                                   408 HOWLAND                                                                                     PONTIAC           MI    48341‐2844
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GLADYS C JONES                                         PO BOX 372                             3634 FAUST ST                                            BAMBERG          SC    29003
GLADYS C MIXON                                         295 PROMINENT LOOP                                                                              MCDONOUGH        GA    30253
GLADYS C ROSKOWSKI                                     12‐04 SCRIBNER RD                                                                               FAIR LAWN        NJ    07410‐4204
GLADYS C STARR & RICHARD W STARR JT TEN                755 OAK PARK CIRCLE                                                                             MERRITT ISLAND   FL    32953‐4157
GLADYS CAUDILL                                         770 COOPER RD                                                                                   WEST UNION       OH    45693‐9741
GLADYS CHRISTERFIELD                                   30552 SANDHURST DR                     APT 104                                                  ROSEVILLE        MI    48066‐7715
GLADYS CSERENYI                                        175 LODER RD                                                                                    YORKTOWN         NY    10598‐3910
                                                                                                                                                       HEIGHTS
GLADYS D ELKINS                                        1229 FREEMONT ST SW                                                                             DECATUR          AL    35601‐3763
GLADYS D GRAUES                                        C/O JACKIE DAVIS                       615 EARLES RD                                            THOMASTON        GA    30286‐3255
GLADYS D GUNN                                          9576 MILLCROFT RD                                                                               PERRYSBURG       OH    43551‐2687
GLADYS D HICKS                                         2407 HOOVER AVE                                                                                 DAYTON           OH    45402‐5529
GLADYS D HUGHES                                        909 MIAMI BLVD                                                                                  KOKOMO           IN    46902‐5342
GLADYS DAVIS                                           19654 DRAKE RD                                                                                  STRONGSVILLE     OH    44136‐6830
GLADYS DAWKINS                                         744 E GILLESPIE                                                                                 FLINT            MI    48505‐3927
GLADYS DICKERSON                                       8827 MENDATA ST                                                                                 DETROIT          MI    48235‐3652
GLADYS E BILL                                          PO BOX 164                                                                                      GENESEE          MI    48437‐0164
GLADYS E FERRANTE                                      743 FIFTH ST                                                                                    OAKMONT          PA    15139‐1524
GLADYS E GARRETT                                       4 QUINTYNE CT                                                                                   SEABROOK         SC    29940
GLADYS E HANCOCK TR GLADYS E HANCOCK TRUST UA          18426 MANORWOOD EAST                                                                            CLINTON TOWNSHIP MI    48038‐4855
5/16/97
GLADYS E JACOBS                                        1494‐SIMPSON FERRY RD                                                                           NEW CUMBERLAND PA      17070‐1567

GLADYS E JONES                                    411 BETHUNE DR                                                                                       WILMINGTON       DE    19801‐5720
GLADYS E KROHN                                    3480 OUELLETTE AVE                          WINDSOR ON                             N9E 3L9 CANADA
GLADYS E KYLE                                     C/O MRS THOMAS K DOBBINS                    150 DONNALEA BLVD                                        WILLIAMSVILLE    NY    14221‐3172
GLADYS E SMITH                                    5937 CHARLESGATE RD                                                                                  DAYTON           OH    45424‐1120
GLADYS ELIZABETH FLUHARTY                         ATTN ELIZABETH LAUBER                       109 1/2 WAYLAND RD                                       GREENVILLE       DE    19807‐2529
GLADYS ELIZABETH TUCKER & LINDA ELIZABETH BENN JT 638 O'DELL ST                               SARNIA ON                              N7V 4H9 CANADA
TEN
GLADYS EVANS                                      2460 BRIER ST S E                                                                                    WARREN           OH    44484‐5201
GLADYS F CASE                                     PO BOX 433                                                                                           THREE BRIDGES    NJ    08887‐0433
GLADYS F COMMAILLE                                PO BOX 624                                                                                           BETHEL           CT    06801‐0624
GLADYS F DRURY & JEAN E BURNS & DONNA GUY JT TEN 19 ALYSSA DR                                                                                          WAKEFIELD        MA    01880

GLADYS F FABIANO                                       112 FRANKLIN AVE                                                                                LONG BRANCH      NJ    07740‐6617
GLADYS F MAC GEE & TRACEY LEE MONTAGINO JT TEN         92 WEST HAMPTON DRIVE                                                                           PALM COAST       FL    32164‐4011

GLADYS FRIEDMAN                                        4483 GEANO ROAD                                                                                 LITTLE SUAMICO   WI    54141
GLADYS G BLESSING                                      276 HOWLAND‐WILSON RD NE                                                                        WARREN           OH    44484‐2074
GLADYS GASSEL CUST SAMUEL L GASSEL UGMA PA             220 BUTTONWOOD WAY                                                                              GLENSIDE         PA    19038‐3306

GLADYS GOTTLIEB                                        BOX 962 EAST                                                                                    HAMPTON          NY    11937‐0801
GLADYS GRAY                                            348 E 108TH ST                         APT 1W                                                   CHICAGO          IL    60628‐3661
GLADYS H HENIGSMITH                                    1204 EMERICK DR                                                                                 WALKERTON        IN    46574‐9543
GLADYS H RIDGELL                                       PO BOX 2056                                                                                     LEESVILLE        SC    29070‐0056
GLADYS H ROHATYNSKI                                    39201 JOY RD 215                                                                                WESTLAND         MI    48185‐4791
GLADYS H ROSE TR GLADYS H ROSE LIVING TRUST UA         3104 SOUTHWIND DR                                                                               COMMERCE         MI    48390‐1263
12/13/94                                                                                                                                               TOWNSHIP
GLADYS H SWANSON                                       5508 E BUSS RD                                                                                  CLINTON          WI    53525
GLADYS H WRAIGHT                                       ATTN GLADYS H WILLIAMS                 2041 LOCHNAYNE LANE                                      DAVISON          MI    48423‐8375
GLADYS HELING SMITH                                    2737 FARNSWORTH RD                                                                              LAPEER           MI    48446‐8717
GLADYS HERRELL                                         1902 ROSEMONT RD                                                                                EAST CLEVELAND   OH    44112‐3911
GLADYS HOGAN TR UA 12/19/2008 GLAD HOGAN               1164 LINKSIDE DR                                                                                ATLANTIC BCH     FL    32233
REVOCABLE TRUST
GLADYS I BAILEY                                        2153 S COUNTY TRAIL                                                                             EAST GREENWICH   RI    02818‐1529
GLADYS I FROSSARD & JOHN E FROSSARD JT TEN             1807 FLETCHER ST                                                                                ANDERSON         IN    46016‐2007
GLADYS I LARY & JOSEPH N LARY II & RUSSELL V LARY JT   13412 BALDWIN RD                                                                                CHESANING        MI    48616‐9593
TEN
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GLADYS I MAHN & HERBERT E MAHN JT TEN             96 DANBURY RD                                                                               WILTON           CT    06897‐4409
GLADYS I NOBLES TR UA 10/28/91 GLADYS I NOBLES    2427 FINLANDIA LN                  APT 17                                                   CLEARWATER       FL    33763‐3346
TRUST
GLADYS I PITTMAN                                  993 BRISTOL CHAMPION TOWNLINE      ROAD                                                     BRISTOLVILLE     OH    44402
GLADYS I STILL                                    RURAL ROUTE #4                     BOX 142                                                  MOUNT STERLING   IL    62353‐9457
GLADYS I TATE                                     377 CLARENCE BLVD                                                                           BATTLE CREEK     MI    49014‐8442
GLADYS I WRIGHT & JUDITH A WRIGHT JT TEN          1041 CURZON                                                                                 HOWELL           MI    48843
GLADYS IRENE EASTON                               7008 WEST COUNTY LINE RD                                                                    KNIGHTSTOWN      IN    46148‐9306
GLADYS J AMERT                                    609 N LIBERTY                                                                               MADISON          SD    57042‐1435
GLADYS J BEDDARD                                  460 1ST ST                                                                                  AYDEN            NC    28513‐7235
GLADYS J BUZZARD                                  17677 BAUZZARD RD                                                                           WELLSVILLE       OH    43968‐9724
GLADYS J GERHARDT                                 1320‐3 HOLLOW RUN                                                                           CENTERVILLE      OH    45459‐5875
GLADYS J MC HUGH                                  850 SNOWMOON                                                                                GAYLORD          MI    49735‐9000
GLADYS J MORRIS                                   18089 SORRENTO                                                                              DETROIT          MI    48235‐1439
GLADYS JONES                                      724 WARREN ST                                                                               WILLIAMSTON      NC    27892‐2748
GLADYS JONES                                      10282 BROOK RD                     APT 103                                                  GLEN ALLEN       VA    23059‐6544
GLADYS K BAKER TR JOSEPH A & GLADYS K BAKER TRUST 11710 HAWTHORNE GLEN DR                                                                     GRAND BLANC      MI    48439‐1381
UA 01/21/86
GLADYS K COSTANTINI                               10 SUNNYSIDE LANE                                                                           YARDLEY          PA    19067‐2616
GLADYS K FETCH                                    6 SYLVAN WAY                                                                                WEST CALDWELL    NJ    07006‐7004
GLADYS K FICKE                                    4017 TREBOR                                                                                 CINCINNATI       OH    45236
GLADYS K KENYON                                   1017 FAIRVIEW RD                                                                            AURORA           OH    44202
GLADYS K MARLEY                                   74 OLD HOLLOW RD                                                                            SHORT HILLS      NJ    07078‐2145
GLADYS K OMURA                                    1860 BRIGHTWOOD ST                                                                          MONTEREY PARK    CA    91754‐4402
GLADYS K WEBSTER                                  5105 W MADISON ST                  APT 503                                                  SKOKIE           IL    60077‐5230
GLADYS KATHRYN CROSSNOE                           3263 PERRY COURT                                                                            GRAND BLANC      MI    48439‐8151
GLADYS KESSLER & EMANUEL KESSLER JT TEN           4512 DELAFIELD AVENUE              RIVERDALE                                                BRONX            NY    10471
GLADYS L AINGER & MARY L KYNELL JT TEN            16803 STATE LINE RD                                                                         HARVARD          IL    60033‐9446
GLADYS L AINGER & NANCY C WEIGLE JT TEN           16803 STATE LINE RD                                                                         HARVARD          IL    60033‐9446
GLADYS L BLACK                                    12800 W 9 MILE RD                  APT 5                                                    OAK PARK         MI    48237
GLADYS L BRAND                                    3228 11TH ST S W                                                                            MINOT            ND    58701‐7209
GLADYS L COLE                                     10050 LITTLE RICHMOND RD                                                                    BROOKVILLE       OH    45309‐9393
GLADYS L DALTON                                   2029 RHODE ST                                                                               SANDUSKY         OH    44870‐5056
GLADYS L GILES                                    1227 PINE CREEK DR                                                                          WOODSTOCK        GA    30188‐4010
GLADYS L HANSEN                                   PO BOX 1839                                                                                 GLENWOOD SPGS    CO    81602‐1839
GLADYS L LEHENBAUER                               PO BOX 297                                                                                  LIMERICK         ME    04048‐0297
GLADYS L PARRY TR GLADYS L PARRY TRUST UA         260 E BUTTERFIELD APT 313                                                                   ELMHURST         IL    60126‐4564
10/22/92
GLADYS L POWELL                                   3224 BEGOLE                                                                                 FLINT            MI    48504‐2918
GLADYS L RIPPEL                                   102 PLACID ST #C                                                                            ROANOKE          IL    61561‐7799
GLADYS L STEVENS                                  PO BOX 573                                                                                  NORTH JACKSON    OH    44451‐0573
GLADYS L STORTS                                   18299 MONMOUTT AVE                                                                          PORT CHARLOTTE   FL    33948‐3321
GLADYS L STRASZHEIM                               641 STATE ROUTE 121 N                                                                       NEW PARIS        OH    45347‐9128
GLADYS LAMPKINS                                   3254 BERKSHIRE RD                                                                           CLEVELAND        OH    44118
GLADYS M ALLEN                                    915 WINDING WAY                                                                             SALISBURY        MD    21804‐9226
GLADYS M BLAIR                                    3333 E FLORIDA AVE                 UNIT 46                                                  DENVER           CO    80210‐2518
GLADYS M BLAIR & JOHN C BLAIR JT TEN              3333 E FLORIDA AVE #46                                                                      DENVER           CO    80210‐2518
GLADYS M BUTLER                                   5320 S 116TH ST                                                                             HALES CORNERS    WI    53130‐1005
GLADYS M CARTER                                   241 AMESTERDAM DRIVE               SOUTH WEST                                               LILBURN          GA    30047‐5196
GLADYS M CONLEY                                   11923 NATIONAL RD                                                                           BROOKVILLE       OH    45309‐8757
GLADYS M CONWELL & MARK L CONWELL JT TEN          4899 SE ASKEW AVE                                                                           STUART           FL    34997‐1501
GLADYS M COOK                                     43 MILL CREEK                                                                               LA PEER          MI    48446‐2689
GLADYS M CRANE & RONALD L CRANE JT TEN            1302 PINTO LN                                                                               THE VILLAGES     FL    32159‐0037
GLADYS M FIELDS                                   862 N MAIN ST                                                                               MILFORD          MI    48381‐1529
GLADYS M GINGELL                                  162 HOOVER RD                                                                               TROUTMAN         NC    28166
GLADYS M HUNTER                                   PO BOX 754                                                                                  LEBANON          OH    45036‐0754
GLADYS M KENNY & DONALD KENNY JT TEN              3501 HYLAN BLVD                                                                             STATEN ISLAND    NY    10306‐3650
GLADYS M LANGLEY                                  4005 ROUTE 9 S                                                                              RIO GRANDE       NJ    08242‐1911
GLADYS M MANLEY                                   29602 JUDITH                                                                                INKSTER          MI    48141‐3415
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GLADYS M MERRILL TR GLADYS M MERRILL LIVING      C/O CHRISTY PILLARS                    156 BRANDI WAY                                           WINCHESTER        TN    37398
TRUST UA 07/30/98
GLADYS M MONNETTE                                1607 ALGRE AVE                                                                                  CODY              WY    82414‐3913
GLADYS M MUNSON                                  736 HILGARD AVE                                                                                 LOS ANGELES       CA    90024‐3226
GLADYS M PARKHURST                               4175 GREEN BRIAR BLVD                                                                           BURTON            MI    48529‐2263
GLADYS M PINE TR GLADYS M PINE REV LIV TR UA     818 NYLON STREET                                                                                SAGINAW           MI    48604‐2125
07/26/00
GLADYS M SCHOLTEN                                1001 HYDE OAKFIELD RAOD                                                                         N BLOOMFIELD      OH    44450‐9720
GLADYS M SEABORN                                 45 E ELMIRA ST                                                                                  MANSFIELD         PA    16933‐1016
GLADYS M SMART & DIANA M SMART JT TEN            2938 SYLVAN LN                                                                                  ST CHARLES        MO    63301‐0359
GLADYS M ST JAMES                                2465 M 33                                                                                       COMINS            MI    48619‐9620
GLADYS M STRUBLE & KATHRYN M HUNT JT TEN         G‐4203 CARMANWOOD DR                                                                            FLINT             MI    48507
GLADYS M TAYLOR                                  264 EAST CIRCLE                                                                                 BRISTOL           PA    19007‐4415
GLADYS M WUERDEMAN                               1882 FORESTVIEW COURT                                                                           CINCINNATI        OH    45233‐4959
GLADYS MAE MADDOX                                8635 GARFIELD                                                                                   MUNSTER           IN    46321‐2317
GLADYS MAIER                                     3302 STATE ROUTE 209                                                                            WURTSBORO         NY    12790‐4034
GLADYS MALE HAWTHORNE                            1455 DORWALDT BLVD                     APT B7A2                                                 SCHENECTADY       NY    12308‐1567
GLADYS MCKINNEY                                  564 N 25TH ST                                                                                   E SAINT LOUIS     IL    62205
GLADYS N PRICE                                   105 BEULAH LAND WAY                                                                             PICKENS           SC    29671‐8778
GLADYS N RONYAK                                  2840 NE 32ND ST #29                                                                             FT LAUDERDALE     FL    33306‐2001
GLADYS NOOCHA                                    8796 SARATOGA                                                                                   OAK PARK          MI    48237‐2313
GLADYS NORHEIM                                   308 HILLVIEW BLVD                                                                               HENDERSONVILLE    NC    28792‐5338
GLADYS NORMA ARMSTRONG                           4721 WOODBINE AVE                                                                               DAYTON            OH    45432‐3213
GLADYS NORMA ARMSTRONG                           4721 WOODBINE AVE                                                                               DAYTON            OH    45432‐3213
GLADYS O CONNOR                                  10205 A ST                                                                                      LINCOLN           NE    68520‐9462
GLADYS O MOORE                                   15828 BELDEN                                                                                    DETROIT           MI    48238‐4116
GLADYS OATWAY                                    278 HUMBER AVE                         OSHAWA ON                              L1J 2T2 CANADA
GLADYS P SKOLEK                                  213 17TH AVE                                                                                    OTTAWA            IL    61350
GLADYS PERMUTT                                   22055 46TH AVE APT 7H                                                                           BAYSIDE           NY    11361‐3612
GLADYS PHIPPS                                    313 WINDING WAY                                                                                 FRANKTON          IN    46044‐9600
GLADYS POYMA                                     7605 CLARK AVE                                                                                  CLEVELAND         OH    44102
GLADYS PUTTKAMER                                 1439 WILLOW ST                                                                                  WESTERN SPRINGS   IL    60558‐1362

GLADYS R CHEAL & WILLIAM J CHEAL SR JT TEN       14175 TIMBERWYCK DR                                                                             SHELBY TWP        MI    48315
GLADYS R PETTY                                   3029 ZEDNA DR                                                                                   OKLAHOMA CITY     OK    73107‐1333
GLADYS R PINSON                                  PO BOX 1774                                                                                     VERONA            MS    38879‐1774
GLADYS R TEEMS                                   31 HICKORY HOLLOW ST                                                                            CARTERSVILLE      GA    30120‐5639
GLADYS ROSS                                      4561 CEPEDA ST                                                                                  ORLANDO           FL    32811‐4819
GLADYS S BACKES                                  256 SOUTH MAIN ST                                                                               BURLINGTON        CT    06013‐2209
GLADYS S BALDWIN                                 10542 LIBERTY ST                                                                                GARRETTSVILLE     OH    44231‐9495
GLADYS S FUGLEBERG & LAVON FUGLEBERG JT TEN      RR #1 BOX 167                                                                                   PORTLAND          ND    58274‐9754

GLADYS S WILLIAMS                                PO BOX 1142                                                                                     YOUNGSTOWN        OH    44501‐1142
GLADYS SCHROEDER                                 3811 W HIGHWAY G                                                                                CALEDONIA         WI    53108‐9717
GLADYS SMITH                                     8 GATES AVE                                                                                     MARLBOROUGH       MA    01752‐2615
GLADYS STEVENS                                   22817‐24 MI ROAD                                                                                OLIVET            MI    49076
GLADYS STONEBERG                                 91 BRIARCLIFF ROAD                                                                              WESTBURY          NY    11590‐1636
GLADYS T BOURN & ROBERT E BOURN & TAMAR C        2932 LAKEHILL DR                                                                                CURRAN            MI    48728‐9743
JOSEPH JT TEN
GLADYS TAYLOR                                    18404 WASHBURN                                                                                  DETROIT           MI    48221‐1930
GLADYS THOMAS                                    2364 WINTHROP                                                                                   INDIANPOLIS       IN    46205‐4532
GLADYS THORNTON                                  1439 ROLLINS DR                                                                                 ALLEN             TX    75013‐2930
GLADYS TOUNG                                     1146 WAVERLY PLACE                                                                              SCHENECTADY       NY    12308‐2612
GLADYS TOWNSEND                                  310 ELRUTH CT APT 114                                                                           GIRARD            OH    44420‐3027
GLADYS TYLER                                     PO BOX 622                                                                                      MILFORD           MA    01757‐0622
GLADYS UNGER                                     28 EMERSON ST                                                                                   BELMONT           MA    02478‐3921
GLADYS V BONNER                                  118 W FRONT STREET                                                                              BUCHANAN          MI    49107‐1200
GLADYS V CHAPDELAINE                             1380 TAYLOR ROAD                                                                                AUBURN HILLS      MI    48326‐1555
GLADYS V KITCHEN                                 211 FIRST STREET                                                                                HOLLY             MI    48447
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GLADYS V SMITH                                     2500 HOLMES RD LOT 413                                                                          YPSILANTI        MI    48198‐6088
GLADYS VISSER                                      5712 NEELY LANE                                                                                 MONTGOMERY       AL    36116‐5200
GLADYS W KUCK                                      400 W EVESHAM AVE                                                                               MAGNOLIA         NJ    08049‐1725
GLADYS W MC GRATH                                  4001 TRAYLOR DR                                                                                 RICHMOND         VA    23235‐1032
GLADYS W STREEPER                                  508 FAIRMONT RD                                                                                 HAVERTOWN        PA    19083
GLADYS WASSENAAR & ELAINE LUKASAVITZ JT TEN        801 W MIDDLE ST                        APT 506                                                  CHELSEA          MI    48118‐1388

GLADYS WASSENAAR & LYNN P WASSENAAR JT TEN         801 W MIDDLE ST                        APT 506                                                  CHELSEA          MI    48118‐1388

GLADYS WASSENAAR & TERESA RITSEMA JT TEN           801 W MIDDLE ST                        APT 506                                                  CHELSEA          MI    48118‐1388
GLADYS WATT                                        50 HADLEIGH RD                                                                                  WINDHAM          NH    03087
GLADYS WHITE                                       2573 CREEK STATION DR                                                                           DUFORD           GA    30519‐4189
GLADYS WINSTANLEY                                  30245 W 13 MILE RD                     APT 242                                                  FARMINGTN HLS    MI    48334‐2234
GLADYS WOLLENSCHLAGER                              31750 7TH STREET                                                                                WARREN           MI    48092‐1445
GLADYS Y HENKRICKS                                 9811 HOLMUR ST                         APT 1                                                    DETROIT          MI    48204‐6403
GLADYS Y HOLLIDAY                                  19351 CORAL GABLES ST                                                                           SOUTHFIELD       MI    48076‐4432
GLADYS Y LEE & HENRY K LEE JT TEN                  8036 WARD                                                                                       DETROIT          MI    48228‐2714
GLADYS Y LEE EDWARD K LEE & HENRY K LEE JT TEN     8036 WARD                                                                                       DETROIT          MI    48228‐2714

GLADYS Y NORTHCOTT & JAMES A NORTHCOTT JT TEN      412 CLOUGH AVENUE                                                                               SUPERIOR         WI    54880‐1326

GLADYS ZAMOS                                       7265 SPANGHURST DR                                                                              WALTON HILLS     OH    44146‐4319
GLADYS ZICKLER                                     762 DUANESBURG ROAD                                                                             SCHENECTADY      NY    12306‐1032
GLAFIRO R HURTADO                                  935 PLYMOUTH ST                                                                                 GLENDORM         CA    91740‐6122
GLANCIE R SMITH                                    5334 BROOKSTONE LANE                                                                            GREENWOOD        IN    46142‐7706
GLAUDINE A RICHARDS                                589 BARRINGTON ROAD                                                                             GROSSE POINTE    MI    48230‐1721
GLAYDELLE RICE                                     11624 WOODBURN ALLEN SPRINGS RD                                                                 ALVATON          KY    42122‐9516
GLEB A JELNIO & MRS PHYLLIS M JELNIO JT TEN        5608 E KELTON LN                                                                                SCOTTSDALE       AZ    85254‐9233
GLEB JELNIO                                        5608 E KELTON LN                                                                                SCOTTSDALE       AZ    85254‐9233
GLEE R BENGEL                                      7135 N WACOUSTA RD                                                                              FOWLER           MI    48835‐9739
GLEENWOOD RICH                                     1135 PIERCE AVENUE                                                                              NIAGARA FALLS    NY    14301‐1253
GLEMON ALLMON                                      2326 BASSETT PL                                                                                 FLINT            MI    48504‐7113
GLEN A BOYCE                                       3580 S WILLOW GLEN DR                                                                           NEW BERLIN       WI    53151‐5366
GLEN A ECKSTRAND                                   131 OAK CIR S                                                                                   STOCKBRIDGE      GA    30281‐3346
GLEN A FORMAN JR                                   10 MARTHA RD # 1                                                                                COLUMBIA FALLS   MT    59912‐4452
GLEN A HALL                                        25 SOUTHPOINT DRIVE                                                                             MECHANICSBURG    PA    17055‐4252
GLEN A HALL & KATHLEEN HALL TEN ENT                25 SOUTHPOINT DRIVE                                                                             MECHANICSBURG    PA    17055‐4252
GLEN A HILL & CAROLYN A HILL JT TEN                1970 CONLEY                                                                                     ATTICA           MI    48412‐9772
GLEN A HITCHCOCK                                   2751 HIBBARD RD                                                                                 CORUNNA          MI    48817‐9561
GLEN A KOGELSCHATZ                                 34073 STELLWAGON                                                                                WAYNE            MI    48184‐2449
GLEN A LATHERS & JOANN C LATHERS JT TEN            7701 LAKE CYPRESS DRIVE                                                                         ODESSA           FL    33556
GLEN A MASSEY JR                                   7349 W COLDWATER RD                                                                             FLUSHING         MI    48433‐9061
GLEN A MC DONNOUGH TR GLEN R MC DONNOUGH           45026 GEDDES RD                                                                                 CANTON           MI    48188‐2414
TRUST UA 10/27/95
GLEN A MORRIS                                      2320 GARLAND DR                                                                                 MISSOULA         MT    59803‐1102
GLEN A POWELL & JANET M POWELL JT TEN              4300 RIVERSIDE DR                      LOT 145                                                  PUNTA GORDA      FL    33982‐1722
GLEN A STIMSON                                     5034 E STANLEY RD                                                                               FLINT            MI    48506‐1147
GLEN A STOREY                                      RR1                                    HALIBOUTON ON                          K0M 1S0 CANADA
GLEN A THORDARSON & PAULA D JOINER JT TEN          145 DONLANDS AVE                       TORONTO ON                             M4J 3P3 CANADA
GLEN A VOIT & KATHY B VOIT JT TEN                  308‐C HEDGEROW LANE                                                                             SIMI VALLEY      CA    93065‐7087
GLEN A WITHROW                                     11 TERESA COURT                                                                                 HAMILTON         OH    45013
GLEN A ZUCHNIEWICZ                                 45737 BRISTOL CIRCLE                                                                            NOVI             MI    48377‐3891
GLEN ALAN LONG                                     909 BROOKSIDE DR                                                                                GREENSBORO       NC    27408‐5515
GLEN ALLEN HOCK                                    10897 S FOSTER RD                                                                               SAN ANTONIO      TX    78223‐4424
GLEN AMOS                                          6 WINDCREST LN                                                                                  MILLIS           MA    02054
GLEN B INMAN                                       25121 S COWZER RD                                                                               PECULIAR         MO    64078‐9306
GLEN B JONES                                       6058 IRONWOOD CT                                                                                HARRISBURG       NC    28075‐3917
GLEN B SHANDS                                      9327 N STATE RD                                                                                 OTISVILLE        MI    48463‐9457
GLEN BROOKSHIRE                                    4220 ENGLAND BEACH                                                                              WHITE LAKE       MI    48383‐1721
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GLEN BUNTROCK                                    411 N MITCHELL ST                                                                            SAINT ANSGAR      IA    50472
GLEN C BEDSWORTH                                 32506 OAKLEAF LN                                                                             WARRENTON         MO    63383‐4512
GLEN C DAVIS                                     2509 ERSKINE ROAD                                                                            JOLIET            IL    60433‐1613
GLEN C DEBACK                                    1841 CLARK RD                                                                                ROCHESTER         NY    14625‐1615
GLEN C DINGMAN                                   1100 WHISPERING PN                                                                           LAKE ORION        MI    48360‐1417
GLEN C GAGNON CUST ANTHONY J GAGNON UTMA WI      WEST 142 NORTH 10483 MAGNOLIA DR                                                             GERMANTOWN        WI    53022

GLEN C HAMREN                                    429 SOUTH 950 EAST                                                                           GREENTOWN         IN    46936‐1367
GLEN C HINEMAN                                   10358 TOPHILL DR                                                                             HARTLAND          MI    48353‐2541
GLEN C LOWREY                                    27407 WEATHERSFIELD DR                                                                       VALENCIA          CA    91354‐1902
GLEN C MOORE TR UA 11/04/08 GLEN C MOORE         5807 MISTY HILL COVE                                                                         AUSTIN            TX    78759
REVOCABLE TRUST
GLEN C PERRY                                     C/O TINA M LAMB                     7704 SHASTA DR                                           INDIANPOLIS       IN    46217‐9138
GLEN C ROWDEN TOD KAE SCHORLING SUBJECT TO STA   23007 ROXANA AVE                                                                             EASTPOINTE        MI    48021
TOD RULES
GLEN C WELCH & ADELAIDE B WELCH JT TEN           1552 MAPLEGROVE ST                                                                           WEST COVINA      CA     91792‐1214
GLEN CLARK                                       25544 BROOKVIEW                                                                              FARMINGTON HILLS MI     48336‐1327

GLEN COLLINS                                     3690 MONTEVIDEO DR                                                                           DAYTON            OH    45414
GLEN CRAIG PICKLE                                4206 PARK AVE                                                                                NASHVILLE         TN    37209‐3650
GLEN D EDGAR                                     RR 1 BOX 60                                                                                  EMINENCE          MO    65466
GLEN D FANGMAN                                   10417 S OUTER BELT RD                                                                        OAK GROVE         MO    64075‐9085
GLEN D FINLEY                                    9819 HOLLY                                                                                   KANSAS CITY       MO    64114‐3842
GLEN D FROBOSE                                   1829 VIA PALOMARES                                                                           SAN DIMAS         CA    91773‐4236
GLEN D GUTHRIE                                   2712 SEATTLE ST                                                                              NEDERLAND         TX    77627‐6527
GLEN D HILL                                      9308 NORTH MANOR DRIVE                                                                       ZEBULON           NC    27597‐9142
GLEN D HILL                                      29 E ANTLER DR                                                                               TERRE HAUTE       IN    47802‐4801
GLEN D LITTLE                                    5735 E 400 S                                                                                 KOKOMO            IN    46902‐9219
GLEN D MCELWAIN                                  RR 1                                                                                         BUTLER            MO    64730‐9801
GLEN D MCKNIGHT                                  3470 TOBE ROBERTSON                                                                          COLUMBIA          TN    38401‐7501
GLEN D MINOR                                     120 SOUTH 6TH ST                                                                             LEXINGTON         MO    64067‐1266
GLEN D RUNYON                                    206 PEMBROKE PLACE                                                                           THOMASVILLE       GA    31792‐6749
GLEN D SMITH                                     5218 GUTERMUTH RD                                                                            ST CHARLES        MO    63304‐7618
GLEN D WALKER & MRS JACKIE F WALKER JT TEN       4312 FAIRWOOD                                                                                BURTON            MI    48529‐1914
GLEN DOUGLAS                                     2111 WARRINGTON                                                                              ROCHESTER HILLS   MI    48307‐3774
GLEN E ALEXANDER                                 3252 N BOGAN ROAD                                                                            BUFORD            GA    30519‐3753
GLEN E APPLE                                     659 RIDGEWAY DRIVE                                                                           CARTHAGE          TN    37030‐1123
GLEN E ATWOOD                                    110 POLAND RD                                                                                DANVILLE          IL    61834‐7464
GLEN E BABULA                                    531 EVERGREEN LANE                                                                           PORT HUENEME      CA    93041‐2828
GLEN E BLACKBURN                                 17572 DEERHORN ROAD                                                                          TIPPIECANOE       OH    44699‐9676
GLEN E BOADWAY                                   7912 DRIVER RD                                                                               ZEBULON           NC    27597‐6483
GLEN E CLARK                                     214 LLOYDMONT DRIVE                                                                          WEXFORD           PA    15090‐8773
GLEN E DUFFETT                                   2425 PEALE                                                                                   SAGINAW           MI    48602‐3466
GLEN E GARNER                                    1111 HASLETT ROAD RFD 2                                                                      WILLIAMSTON       MI    48895‐9310
GLEN E GONEA                                     5441 EASY ST                                                                                 BAY CITY          MI    48706‐3052
GLEN E GREEN TR GREEN FAM TRUST UA 04/19/00      1180 S ALEX RD                                                                               WEST CARROLLTON   OH    45449‐2112

GLEN E HORNBACK                                  825 LILLY RD                                                                                 CANTON            MI    48188‐1105
GLEN E INMAN                                     325 ALDER SPRINGS RD                                                                         LA FOLLETTE       TN    37766‐6429
GLEN E JOHNSON                                   PO BOX 202                                                                                   TECUMSEH          OK    74873‐0202
GLEN E KNOPP                                     G 2177 MONACO                                                                                FLINT             MI    48532
GLEN E KOLLMORGEN JR                             3677 MAYER RD                                                                                ST CLAIR          MI    48054‐1601
GLEN E LATIMER                                   3674 CADWALLADER‐SONK                                                                        CORTLAND          OH    44410‐9412
GLEN E MCKAY TOD KEITH D MCKAY SUBJECT TO STA    1629 ALTON RD                                                                                PT CHARLOTTE      FL    33952
RULES
GLEN E MCKINNRY & WILMA E MCKINNEY JT TEN        2802 SOUTHBROOK RD                                                                           BALTIMORE         MD    21222‐2238
GLEN E MILLER                                    2025 ASHMORE                                                                                 AMES              IA    50014‐7804
GLEN E MYERS                                     4733 LAFAYETTE DR                                                                            MADISON           WI    53705‐4827
GLEN E NOVAK & EDWARD J NOVAK JT TEN             78350 PEARL DRIVE                                                                            ROMEO             MI    48065‐1612
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GLEN E NOVAK & LYNELLE D JACKSON JT TEN            78350 PEARL DRIVE                                                                              ROMEO             MI    48065‐1612
GLEN E O BRYAN                                     6105 NE MEADOW LANE                                                                            KANSAS CITY       MO    64118‐5108
GLEN E OLNEY                                       3325 ZION ROAD                                                                                 JACKSON           MI    49201‐9599
GLEN E SANDERS                                     7313 US 127 NORTH                                                                              VAN WERT          OH    45891‐9364
GLEN E SCHAEFER & SHERRY W SCHAEFER JT TEN         4249 SUNBEAM DRIVE                                                                             KETTERING         OH    45440‐3337
GLEN E SEWELL                                      PO BOX 2314                                                                                    MUNCIE            IN    47307‐0314
GLEN E SHEETS                                      2115 E COUNTY ROAD 1025 N                                                                      PITTSBORO         IN    46167‐9461
GLEN E SLADE                                       2151 W FAIR AVE                       UNIT 187                                                 LANCASTER         OH    43130‐7861
GLEN E SPENCER                                     1115 N STATE                                                                                   OWOSSO            MI    48867‐9607
GLEN E TANNER & ERMA I TANNER JT TEN               PO BOX 237                                                                                     BIRCH RUN         MI    48415‐0237
GLEN E VARNER                                      RT 2 BOX 97                                                                                    ORMA              WV    25268
GLEN E VERDOUX                                     5077 WALKER ROAD                                                                               DAVISON           MI    48423‐8795
GLEN EDMOND TANSLEY                                2500 ADAMS RD                                                                                  OAKLAND TWP       MI    48363‐1910
GLEN EDWARD CHRISTIAN                              440 STARR DRIVE                                                                                TROY              MI    48083‐1652
GLEN EDWARD YANCY CUST GREGGORY ALAN YANCY         10307 SEAGRAVE DR                                                                              FISHERS           IN    46037
UGMA IN
GLEN ELIOT SMITH CUST BRIAN PATRICK SMITH UGMA     3176 HIGHWAY 80 E                                                                              BRANDON           MS    39042‐7788
MS
GLEN EMMENDORFER                                   10025 WEBSTER RD                                                                               FREELAND          MI    48623
GLEN ERIC RODGERS                                  1821 LAWNDALE                                                                                  FLINT             MI    48504‐7206
GLEN F CRAIG                                       4320 21ST ST RR1                      VINELAND STATION ON                    L0R 2E0 CANADA
GLEN F GUBITOSE & FRANK J GUBITOSE JT TEN          134 CEDARWOOD DR                                                                               WILKES BARRE      PA    18702‐7331
GLEN G BAILEY                                      951 HEBRON RD                                                                                  ST MARYS          WV    26170‐7003
GLEN G DERRY                                       18171 LILLIAN DR                                                                               LAKE MILTON       OH    44429‐9506
GLEN G LUNDGREN                                    14562 STONEHOUSE                                                                               LIVONIA           MI    48154‐4971
GLEN GRAY                                          755 BAYLOR RD                                                                                  ROCHESTER HILLS   MI    48309‐2512
GLEN GURWIT                                        46 FIRST STREET                                                                                SWANTON           VT    05488‐1241
GLEN H AINSCOUGH                                   11921 CAPE COD                                                                                 TAYLOR            MI    48180‐6207
GLEN H COTTMAN & MARYKE P COTTMAN JT TEN           207 BEVERLY PL                                                                                 WILM              DE    19809‐2905
GLEN H ENGEL & VIRGINIA M ENGEL JT TEN             11740 MARION AVE                                                                               REDFORD           MI    48239‐2474
GLEN H GATTIS                                      1155 WEST 27TH AVE                                                                             EUGENE            OR    97405‐2234
GLEN H SVACHA                                      705 N 2ND ST                                                                                   COPPERAS COVE     TX    76522‐1817
GLEN H TRESLAR                                     BOX 288                                                                                        MONKTON           MD    21111‐0288
GLEN HENNER & WILLIAM COLEMAN JT TEN               9811 S NEWCOMB AVE                                                                             WHITTIER          CA    90603‐1610
GLEN HUGHES                                        40 SEDGEBROOK CRESCENT                ISLINGTON ON                           M9B 2X1 CANADA
GLEN I BRADOW                                      11190 PHYLLIS DR                                                                               CLIO              MI    48420‐1563
GLEN I MISEK & LAUREL W KILPATRICK JT TEN          2014 HENLEY                                                                                    GLENVIEW          IL    60025‐4245
GLEN J BALLARD                                     530 ANTIOCH ROAD                                                                               CAVE CITY         AR    72521‐9242
GLEN J CAMPBELL                                    8882 CROWN ST                                                                                  LIVONIA           MI    48150‐3502
GLEN J DAUSMAN                                     8940 PRINE RD                                                                                  BALDWINSVILLE     NY    13027‐9627
GLEN J DRELLISHAK                                  760 WILWOOD ROAD                                                                               ROCHESTER HILLS   MI    48309‐2429
GLEN J HARKER                                      207 SIERRA STREET APT B 10                                                                     EL SEGUNDO        CA    90245‐4155
GLEN J LEE & MURIEL B LEE JT TEN                   12505 WALLACE DRIVE                                                                            CLIO              MI    48420‐1844
GLEN J MAYNARD                                     RR 2 BOX 2499X                                                                                 WAYNE             WV    25570‐9762
GLEN J O'DELL                                      739 S WEBSTER ST                                                                               OTTUMWA           IA    52501‐5357
GLEN J WEMPLE                                      PO BOX 42                                                                                      DANSVILLE         MI    48819‐0042
GLEN KOLIDES                                       18 CHEYENNE DR                                                                                 MONTVILLE         NJ    07045‐9703
GLEN L BURRINGTON JR & JOYCE E BURRINGTON JT TEN   107 B SPRING STREET                                                                            BELTON            MO    64012‐2356

GLEN L CANNON                                      PO BOX 2331                                                                                    NEPTUNE           NJ    07754‐2331
GLEN L CONRAD                                      BOX 185                                                                                        NEW ROSS          IN    47968‐0185
GLEN L DEPEW                                       10344 BARNES RD                                                                                EATON RAPIDS      MI    48827‐9298
GLEN L GABEL II                                    10825 4TH ST                                                                                   ROSCOE            IL    61073‐9529
GLEN L MORRIS                                      1302 W COURT ST                                                                                JANESVILLE        WI    53545‐3539
GLEN L WEGMANN & DIANA E WEGMANN JT TEN            5170 W DESERT CHICORY PLACE                                                                    MARANA            AZ    85653‐4045
GLEN LAFOY HOUSTON                                 RR 2 BOX 40A                                                                                   SUMMITVILLE       IN    46070‐9411
GLEN LESLIE BELL                                   HERITAGE GREENS                       801 MEADOWOOD ST #230                                    GREENSBORO        NC    27409‐2832
GLEN M BALLOU                                      1 RIVERSIDE CT                                                                                 GUILFORD          CT    06437‐1949
GLEN M DROUIN                                      729 CLEOPHUS PKWY                                                                              LINCOLN PARK      MI    48146‐2656
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GLEN M FAUNTLEROY                             PO BOX 1955                                                                                  PEORIA           IL    61656‐1955
GLEN M GOY                                    821 SOUTH CLAY STREET                                                                        HINSDALE         IL    60521‐4541
GLEN M MICHAEL                                1336 N WALNUT ST                    APT 1                                                    IOLA             KS    66749‐1676
GLEN M SORRELL                                207 AWOHILI CIR                                                                              LOUDON           TN    37774‐2822
GLEN M THOMAS SR                              1913 WOOD ST #2                                                                              LANSING          MI    48912‐3463
GLEN M WHITTAKER                              1455 COVERED BRIDGE DR                                                                       DELAND           FL    32724‐7931
GLEN MAYFIELD                                 14762 JENNY DRIVE                                                                            WARREN           MI    48093‐1512
GLEN MCAFEE                                   258 GREENCE COURT                                                                            WOOD DALE        IL    60191
GLEN MEISEL                                   19820 FRY                                                                                    NORTHVILLE       MI    48167
GLEN N BARTON & MARY K BARTON JT TEN          4001 LAKE RIDGE WAY                                                                          CRESTWOOD        KY    40014‐7762
GLEN N HENDERSON                              4902 DOVE DR C‐4                                                                             ZEPHYRHILLS      FL    33541‐7184
GLEN O DAWSON & BARBARA DAWSON JT TEN         PO BOX 11                                                                                    PLEASANT HILL    MO    64080‐0011
GLEN O MEILI & JOANNE G MEILI JT TEN          21271 LARKSPUR                                                                               FARMINGTON       MI    48336‐5047
GLEN P ALLEN                                  700 S 18TH AVE                                                                               WEST BEND        WI    53095‐3759
GLEN P CHAVEZ                                 4840 WEST BRYCE LANE                                                                         GLENDALE         AZ    85301‐1528
GLEN P CISSELL                                2904 CENTRE CT                                                                               INDIANAPOLIS     IN    46203‐5517
GLEN P CLIEFF                                 1 ROBERT ADAMS DRIVE                COURTICE ON                            L1E 2W5 CANADA
GLEN P DEATON                                 120 COACHMAN CT APT C                                                                        BOWLING GREEN    KY    42103‐8529
GLEN P JUBACK                                 2421 CAMDEN LAKE VW NW                                                                       ACWORTH          GA    30101‐8086
GLEN P SCHMIDT                                45 SHERIDAN DRIVE                                                                            ALEXANDRIA       KY    41001‐1336
GLEN P SITEK                                  1955 COMMON                                                                                  WARREN           MI    48092‐2164
GLEN P SPENCER                                16199 WHITEHEAD DR                                                                           LINDEN           MI    48451‐8773
GLEN R ABBOTT                                 111 CENTER                                                                                   MONTICELLO       KY    42633‐1102
GLEN R BLACKBURN JR                           1218 S BETHLEHEM RD                                                                          MARION           IN    46953‐2712
GLEN R CORY JR                                109 SYCAMORE ST                                                                              NEPTUNE          NJ    07753‐3933
GLEN R DUKE                                   3273 S HURST CEMETARY RD                                                                     RUSHVILLE        IN    46173‐9119
GLEN R ELSASSER                               319 C ST NE                                                                                  WASH             DC    20002‐5709
GLEN R GALLAWAY & TERESA GALLAWAY JT TEN      1637 FORESTDALE AVENUE                                                                       BEAVERCREEK      OH    45432
GLEN R GAMBLIN                                4376 S OO EW                                                                                 KOKOMO           IN    46902‐5207
GLEN R GRAHAM                                 3612 S CHRISTINE LANE                                                                        SAND SPRINGS     OK    74063
GLEN R HOWARD                                 9405 CHAMBERLAIN                                                                             ROMULUS          MI    48174‐1535
GLEN R KELLER                                 370 E 1 N                                                                                    PROVIDENCE       UT    84332‐9621
GLEN R LAMB                                   8850 BEL AIR COURT                                                                           INDIANAPOLIS     IN    46226‐5522
GLEN R MCGINNIS                               1075 GREARS CORNER ROAD                                                                      TOWNSEND         DE    19734‐9535
GLEN R MCGINNIS & JEAN H MCGINNIS JT TEN      1075 GREARS CORNER ROAD                                                                      TOWNSEND         DE    19734‐9535
GLEN R MORRIS JR                              8697 ASPEN CIR                                                                               PARKER           CO    80134‐8915
GLEN R NELSEN & LINDA S NELSEN JT TEN         565 PRAIRIE HOME DRIVE                                                                       ST PETERS        MO    63376‐5013
GLEN R PAEGE                                  2777 INGERSOLL STREET SW                                                                     WYOMING          MI    49519
GLEN R ROBLE                                  63 22 NW 47 CT                                                                               CORAL SPRINGS    FL    33067‐2146
GLEN R SCHELL                                 2124 CRITTENDON ST                                                                           YPSILANTI        MI    48198‐6608
GLEN R SMITH                                  7902 CEDAR DR                                                                                AVON             IN    46123‐8528
GLEN R STARBUCK                               PO BOX 3                                                                                     KENNARD          IN    47351‐0003
GLEN R TUROW & KATHRYN M TUROW JT TEN         5166 S 9 MILE RD                                                                             AUBURN           MI    48611‐9573
GLEN R WELSH & NANCY S DOW JT TEN             13237 OSTERPORT DR                                                                           SILVER SPRINGS   MD    20906‐5912
GLEN RAY GREEN                                4439 HILLBROOK                                                                               ORANGE           TX    77632‐9002
GLEN RICHARD WILEY TR UW EDWARD F WILEY       4 MEADOW GLEN DR                                                                             GRANBY           MA    01033‐9567
GLEN S BROWN                                  PO BOX 55                                                                                    CEDAR HILL       TN    37032‐0055
GLEN S COCHRAN & SHIRLEY R COCHRAN JT TEN     4146 MUNSON STREET                                                                           PORT CHARLOTTE   FL    33948‐7630
GLEN S WALDROP                                9600 S OCEAN DR 1202                                                                         JENSEN BEACH     FL    34957‐2341
GLEN SMITH                                    3317 S E 13TH ST                                                                             OCALA            FL    34471‐2945
GLEN STAFFORD CUST LOGAN STAFFORD UTMA IL     14642 ARBORETUM DR                                                                           HOMER GLEN       IL    60491
GLEN STEPHENS                                 1301 DUCK CREEK LANE                                                                         ORTONVILLE       MI    48462‐9049
GLEN T BROWN                                  1911 BASELINE ROAD                                                                           LA VERNE         CA    91750‐2149
GLEN T HIED & BETTY R HIED JT TEN             5814 FERBER ST                                                                               SAN DIEGO        CA    92122‐3838
GLEN T TRAUGHBER                              539 J FOSTER RD                                                                              SCOTTSVILLE      KY    42164‐6213
GLEN V ADAMS                                  19804 HOOVER ROAD                                                                            PLEASANT HILL    MO    64080‐8234
GLEN V MONROE                                 14114 KATHLEEN                                                                               BROOKPARK        OH    44142‐4038
GLEN V REA & MRS MARGARET L REA JT TEN        4025 MARGALO AVE                                                                             BAKERSFIELD      CA    93313‐3048
                                             09-50026-mg                Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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GLEN W CSORDOS & KATHLEEN M CSORDOS JT TEN      76 CALVIN ST                                                                                    SEWAREN          NJ    07077‐1231

GLEN W HAYS JR & BETTY J HAYS JT TEN            2393 WAVERLY DRIVE                                                                              LOVELAND         CO    80538‐5371
GLEN W KOENIG                                   RT #1                                  5692 RD 16‐C                                             CONTINENTAL      OH    45831‐8732
GLEN W KOOKER & RUTH L KOOKER JT TEN            515 HILLCREST DR                                                                                PERKASIE         PA    18944‐2459
GLEN W MARTIN                                   4089 ELIZABETH DR                                                                               INDEPENDENCE     KY    41051‐9678
GLEN W RUCH                                     7525 HONNNEN NORTH DR                                                                           INDIANAPOLIS     IN    46256
GLEN W STOCKTON & FORENCE P STOCKTON JT TEN     9450 E LURLENE DR                                                                               TUCSON           AZ    85730‐2140

GLEN W STONE                                    7110 FOREST HILLS ROAD                                                                          ROCKFORD         IL    61111‐4373
GLEN W WARNER                                   3519 WOODLAND DR                                                                                HIGHLAND         MI    48356‐2366
GLEN WILLIAM GRAVES JR                          3875 CAMEBRIDGE ST APT 1027                                                                     LAS VEGAS        NV    89119
GLEN WINFREY JR                                 6451 E 125 S                                                                                    KNOX             IN    46534‐8407
GLENADINE FREDRICKSON                           3770 SCIO CHURCH RD                                                                             ANN ARBOR        MI    48103‐9635
GLENDA A DEWEY                                  138 TERRIANNE DR                                                                                TAUNTON          MA    02780‐6810
GLENDA A GRIGGS                                 294 SARDIS LOOP RD                                                                              MADISON          NC    27025‐7301
GLENDA A LECHLER & JOSEPH H LECHLER JT TEN      4208 MIAMITRAIL LN                                                                              CINCINNATI       OH    45252‐1869
GLENDA A MCGUIRE                                C/O MS ADAMS                           36 DRUES RD                                              BOWDON           GA    30108‐2394
GLENDA A SHIRLEY                                3745 BLUE TRACE                                                                                 DALLAS           TX    75244
GLENDA A WILLIAMS                               4322 KLAIS DR                                                                                   CLARKSTON        MI    48348‐2370
GLENDA A WOLFE                                  3361 MARSHALL WOLFE RD                                                                          KINGS MOUNTAIN   NC    28086‐9497

GLENDA B CHAMBERS                               6642 N MONTEBELLA RD                                                                            TUCSON           AZ    85704
GLENDA B DAVIS                                  301 ROBERSON DR                                                                                 WILLIAMSTON      NC    27892‐7808
GLENDA B LITTLE                                 183 SPARTA RD                                                                                   HOLCOMB          MS    38940‐9760
GLENDA B ROUSE                                  709 N ARNOLD AVE                                                                                MOORE            OK    73160‐1908
GLENDA B WILLIAMS                               26204 CORNWALL CT                                                                               SOUTHFIELD       MI    48076‐4785
GLENDA C JOHNSON                                318 SKIDMORE LN                                                                                 PICKTON          TX    75471‐4304
GLENDA COUCH                                    1200 BRECKINRIDGE TRAIL                                                                         WINDER           GA    30080
GLENDA D DALY                                   18200 K BRANCH RD                                                                               ELKMONT          AL    35620
GLENDA D HUMPHREY CUST MARCO S HUMPHREY JR      20 COUNTY ROAD 5005                                                                             BOONEVILLE       MS    38829‐9075
UTMA MS
GLENDA DANIELS                                  2164 SAINT JOHN AVE                                                                             DYERSBURG        TN    38024‐2212
GLENDA E GAYLOR                                 285 CROOKED STICK DR                                                                            ALPHARETTA       GA    30004‐3438
GLENDA F BAKER                                  1733 W LAKEAIRE DR                                                                              MUSTANG          OK    73064‐1116
GLENDA F BIGGS                                  6516 ALMOND LANE                                                                                CLARKSTON        MI    48346‐2207
GLENDA F CALDWELL                               411 TIMBER RD                                                                                   ASHLAND CITY     TN    37015‐3002
GLENDA F DAVIS                                  343 COLE AVE                                                                                    ROCKFORD         IL    61102‐3539
GLENDA F DOETZE                                 3331 MERRILL                                                                                    ROYAL OAK        MI    48073‐6816
GLENDA F FREEMAN                                PMB 3752                               137 RAINBOW DRIVE                                        LIVINGSTON       TX    77399‐1037
GLENDA F WELLS                                  91 W BRUCE RD                                                                                   FAWN GROVE       PA    17321‐9344
GLENDA G BALDWIN                                13154 GLENHURST CT                                                                              SAVAGE           MN    55378‐2531
GLENDA G PICHETTE EX UW FERN L MONROE           1370 PARKER BLVD                                                                                KENMORE          NY    14223‐1654
GLENDA G REIBER                                 721 VALLEY VIEW AVE                                                                             RED OAK          TX    75154‐2722
GLENDA H BAILEY                                 5201 FAIRWAY AVE                       APT 29                                                   N LITTLE ROCK    AR    72116‐6967
GLENDA H SNITKOFF & MICHAEL H SNITKOFF JT TEN   18624 MERRIDY ST                                                                                NORTHRIDGE       CA    91324‐1503

GLENDA H WOODLING                               2840 RUTHERFORD RD                                                                              POWELL           OH    43065‐9734
GLENDA HAILEY                                   13306 W 113TH                                                                                   OVERLAND PARK    KS    66210‐3316
GLENDA J CHAPMAN                                106 TURTLE BANK COURT                                                                           HUNTSVILLE       AL    35806‐1593
GLENDA J CUSTER                                 9635 STATE RD                                                                                   MILLINGTON       MI    48746‐9482
GLENDA J FLAUGHER                               PO BOX 730                                                                                      GOSHEN           OH    45122
GLENDA J JOHNS                                  4816 EDWARDS AVE                                                                                FLINT            MI    48505‐3146
GLENDA J KIRT                                   37 BLAIR ST                                                                                     MOUNT MORRIS     MI    48458‐8845
GLENDA J WARGACKI                               C/O GLENDA J CULP                      8485 HERBERT RD                                          CANFIELD         OH    44406‐9782
GLENDA K BECKWITH                               417 W BELOIT ST                                                                                 ORFORDVILLE      WI    53576‐9790
GLENDA K KOTTER                                 ATTN GLENDA K K TOFT                   PO BOX 193                                               WINDTHORST       TX    76389‐0193
GLENDA K WINTER                                 1404 HOLMES RD                                                                                  YPSILANTI        MI    48198‐4134
GLENDA L CLARK                                  10123 EDGEFEILD                                                                                 ST LOUIS         MO    63136‐5619
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GLENDA L JEFFRIES                              1612 PLEASANT DR                                                                                KOKOMO          IN    46902‐5852
GLENDA L MASON 2650 HIGHLAND PA                                                                                                                ALPHARETTA      GA    30004‐7889
GLENDA L MOORE                                 1222 CHRISTINE                                                                                  WICHITA FALLS   TX    76302‐2116
GLENDA L OSTER & REUBEN J OSTER JR JT TEN      109 PLEASANT VIEW DRIVE                                                                         LAFAYETTE       LA    70503‐5950
GLENDA LEE VETTER                              1503 ROSEMONT AVE                                                                               GRAND ISLAND    NE    68801‐7557
GLENDA LEIGH RELICH                            615 OAK AVE                                                                                     CANON CITY      CO    81212‐2046
GLENDA M ALLEN                                 1420 HWY 492                                                                                    COLFAX          LA    71417‐5428
GLENDA M CABLE                                 ATTN GLENDA M NIMMO                    2477 S 400 E                                             KOKOMO          IN    46902‐9343
GLENDA M DOUGLAS                               3871 BRIMFIELD                                                                                  AUBURN HILLS    MI    48326‐3342
GLENDA M KATCHKA                               3062 BEACHAM DRIVE                                                                              WATERFORD       MI    48329‐4502
GLENDA M KATCHKA & MARSHALL A KATCHKA JT TEN   3062 BEACHAM DRIVE                                                                              WATERFORD       MI    48329‐4502

GLENDA M MILLER                                2711 MINERVA                                                                                    WARREN          MI    48091‐3267
GLENDA M PARKER                                PO BOX 701                                                                                      INWOOD          WV    25428‐0701
GLENDA M SHAFFER                               4265 CANNON ST                                                                                  BATON ROUGE     LA    70805‐1418
GLENDA M SMALL                                 30208 GLENDALE AVE                                                                              DURHAM          NC    27704
GLENDA M ZANG                                  57559 HANOVER RD                                                                                WASHINGTON      MI    48094‐3027
GLENDA MINORA                                  APT 8                                  26217 REGENCY CLUB DR                                    WARREN          MI    48089‐6244
GLENDA O LOHRI                                 3218 INDIAN RIPPLE RD                                                                           DAYTON          OH    45440‐3637
GLENDA PRIOR                                   R D # 1 BOX 403                                                                                 VALATIE         NY    12184‐9801
GLENDA R AUSTIN                                ATTN GLENDA WILLIAMS                   PO BOX 412                                               NEWALLA         OK    74857‐0412
GLENDA R BAILEY                                7000 ROBEY DRIVE                                                                                EDMOND          OK    73034‐8978
GLENDA R FACKLER                               6480 BUELL RD                                                                                   VASSAR          MI    48768‐9677
GLENDA R MC CULLUM                             PO BOX 1668                                                                                     BAY SPRINGS     MS    39422‐1668
GLENDA R PETERSON                              2525 GLADSTONE                                                                                  DETROIT         MI    48206‐2289
GLENDA R SCHWARZ                               3811 RANDOM RD                                                                                  KINSTON         NC    28504‐8469
GLENDA R WILLIS                                2035 S RIDGE RD                                                                                 BYRAM           MS    39272‐9358
GLENDA S CRAWFORD                              PO BOX 1168                                                                                     LAKE SHERWOOD   MO    63357‐1168
GLENDA S DELILLO                               44 SHEA DR                                                                                      MOHNTON         PA    19540
GLENDA S DOTTS                                 401 JACKSON ST                                                                                  MARTIN          TN    38237‐2115
GLENDA S KELLEY                                3116 SPRINGDALE DR                                                                              KOKOMO          IN    46902‐9571
GLENDA S SHULTS                                1018 KAY LYNN                                                                                   MANSFIELD       TX    76063‐2006
GLENDA S SMITH                                 14630 FRANKFORT ST                                                                              DETROIT         MI    48224‐2917
GLENDA S SPOHN                                 7693 E HOLLAND RD                                                                               SAGINAW         MI    48601‐9497
GLENDA S TURNER                                4157 MOYER ROAD                                                                                 WILIAMSTON      MI    48895‐9545
GLENDA SMITH                                   3222 MOONLIGHT CT                                                                               CHINO HILLS     CA    91709‐4209
GLENDA T TERRANCE                              36 MCGEE RD                                                                                     HOGANSBURG      NY    13655‐2104
GLENDA W EATON                                 3485 JOHNSON FERRY ROAD                                                                         ROSWELL         GA    30075‐5267
GLENDA W FEIER HARKINS                         10980 THE DOCK                                                                                  ROSWELL         GA    30075‐2918
GLENDA WARREN                                  5968 FISHER                                                                                     DETROIT         MI    48213‐2666
GLENDA WHEELER                                 19641 SUNSET                                                                                    DETROIT         MI    48234‐2066
GLENDALE BROWN                                 200 EAST ALLENHURST AVENUE                                                                      OKLAHOMA CITY   OK    73114‐7606
GLENDALE JAMES TR GLENDALE JAMES REVOCABLE     783 WILLOWDALE AVE                                                                              KETTERING       OH    45429‐3141
LIVING TRUST UA 05/13/99
GLENDELL E FUWELL                              13141 STATE RD CC                                                                               FESTUS          MO    63028‐3842
GLENDELL L BROOMBAUGH                          6215 WATER ROAD                                                                                 IMPERIAL        MO    63052‐2540
GLENDELL W PANKEY                              920 SEBEK ST                                                                                    OXFORD          MI    48371‐4455
GLENDER J JOHNSON                              PO BOX 24113                                                                                    FT WORTH        TX    76124‐1113
GLENDOLA LENELL MCCOY                          718 E 5TH                                                                                       MUNCIE          IN    47302‐3412
GLENDOLYN D COPPIN                             1331 E 48TH ST                                                                                  BROOKLYN        NY    11234‐2101
GLENDON B BAGLEY                               5 STONEHEDGE DR                                                                                 BUFORD          GA    30518‐2547
GLENDON B CROCKER                              4260 LOUISE ST                         # 4610                                                   SAGINAW         MI    48603‐4160
GLENDON MOORE                                  10390 CARLISLE PIKE                                                                             GERMANTOWN      OH    45327‐8736
GLENDON W LODGE SR                             19 BORTON DR                                                                                    WOODSTOWN       NJ    08098‐1264
GLENDORA D GARDEA                              8057 WHITNEY LANE                                                                               FORT WORTH      TX    76120
GLENDORA L RAPER                               3141 WAVERLY DR                                                                                 RICHMOND        IN    47374‐7156
GLENDORA M TREMPER                             63 E PALOMAR DR                                                                                 CHULA VISTA     CA    91911‐1507
GLENDYL R TRAVIS                               2508 CHICAGO RD                                                                                 WARREN          MI    48092‐1041
GLENEVA WARREN                                 1759 SAUNDERSVILLE RD                                                                           HENDERSONVLLE   TN    37075‐8554
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GLENFORD T GREEN                                 15932 JEDDO RD                                                                                  BROWN CITY      MI    48416‐9515
GLENICE A CHU                                    1504 AUPUPU ST                                                                                  KAILUA          HI    96734‐4146
GLENN A AYOTTE & MARY K AYOTTE & ELAINE Y AYOTTE 265 OBERLIN ROAD                                                                                VENICE          FL    34293‐6529
JT TEN
GLENN A BARBOUR                                  3260 CLAPHAM RD                                                                                 ANTIOCH         TN    37013‐1886
GLENN A BOYCE & JANE E BOYCE JT TEN              3580 S WILLOW GLEN DR                                                                           NEW BERLIN      WI    53151‐5366
GLENN A BROWN                                    16852 CORAL LN                                                                                  MACOMB          MI    48042
GLENN A COOK                                     PO BOX 439                                                                                      OXFORD          MD    21654
GLENN A COOK & LEOLYNE B COOK TR UA 06/02/94 M‐B PO BOX 439                                                                                      OXFORD          MD    21654‐0439
GLENN A COOK
GLENN A CORNE                                    151 BANK AVE                           WINNIPEG MB                            R2M 0N5 CANADA
GLENN A CORNE                                    151 BANK AVE                           WINNIPEG MB                            R2M 0N5 CANADA
GLENN A CULBERTSON                               6524 CHANNEL RD                                                                                 WATERFORD       WI    53185
GLENN A GILTNER                                  12031 E SCOTT RD                                                                                MEDINA          NY    14103‐9619
GLENN A GUILDS & SYLVIA D GUILDS JT TEN          4924 S MT TOM RD                                                                                ROSE CITY       MI    48654‐9663
GLENN A HAZEN                                    15 BRIARWOOD DR                                                                                 ATHENS          OH    45701‐1302
GLENN A HELLER & EVELYN L HELLER JT TEN          13 MARIE LANE                          PO BOX 203                                               BIGLERVILLE     PA    17307‐0203
GLENN A HIGH & KATHRYN JOAN HIGH TR HIGH FAM     7078 COUNTRY RD 47                                                                              LEXINGTON       OH    44904
TRUST UA 2/12/01
GLENN A HILL TR GLENN A HILL REVOCABLE LIVING    1970 CONLEY                                                                                     ATTICA          MI    48412‐9772
TRUST UA 7/12/01
GLENN A HOWARD & EDNA B HOWARD JT TEN            1899 HWY W                                                                                      STOUGHTON       WI    53589
GLENN A JULIUS                                   4210 W MORRIS ST                                                                                INDIANAPOLIS    IN    46241‐2502
GLENN A KERN                                     1126 CHEMUNG DR                                                                                 HOWELL          MI    48843‐7159
GLENN A LESSENDEN                                412 BRANCH ST                                                                                   PLATTE CITY     MO    64079‐9705
GLENN A MALLORY                                  12107 OLD LINDEN ROAD                                                                           LINDEN          MI    48451‐9459
GLENN A MC CAFFREY                               101 WENDOVER ROAD                                                                               GREENWOOD       SC    29649‐8994
GLENN A MCNAMARA                                 504 S GREENVILLE                                                                                RECTOR          AR    72461
GLENN A MOORE                                    5511 SO PROSPECT ST                                                                             RAVENNA         OH    44266‐3622
GLENN A MORTIMER                                 R #2                                   7170 TUCKER RD                                           EATON RAPIDS    MI    48827‐9723
GLENN A OWENS                                    20 CLEARTOMA DR                                                                                 MILFORD         OH    45150‐1606
GLENN A PERRY                                    942 FAIRLAWN AVE                                                                                NEWARK          OH    43055‐2620
GLENN A PINCKNEY & JENNIFER D PINCKNEY JT TEN    22 CLAYBAR DR                                                                                   WEST HARTFORD   CT    06117‐3014

GLENN A PLASTER                                 6160 BROADWAY                                                                                    INDIANAPOLIS    IN    46220‐1835
GLENN A POKORZYNSKI                             10311 CATHRO ROAD                                                                                POSEN           MI    49776‐9623
GLENN A PRIESMEYER EX EST MARIAN B PRIESMEYER   68 SMITHFIELD COURT                                                                              BASKING RIDGE   NJ    07920

GLENN A RAY                                     PO BOX 357                                                                                       BROWNSVILLE     KY    42210‐0357
GLENN A REED                                    8314 RICHARDS ROAD                                                                               LENEXA          KS    66215‐2832
GLENN A RICE                                    3070 SAND ROAD                                                                                   PORT AUSTIN     MI    48467‐9789
GLENN A SAMPSON                                 3801 E WINSTON ST                                                                                BLOOMINGTON     IN    47401‐4292
GLENN A SEXTON                                  4720 CLENDENIN RD                                                                                NASHVILLE       TN    37220‐1004
GLENN A SEXTON & ROSEMARY D SEXTON JT TEN       4720 CLENDENIN RD                                                                                NASHVILLE       TN    37220‐1004
GLENN A SLOTHOWER                               18 DICKS LANE                                                                                    SCHROON LAKE    NY    12870‐2320
GLENN A SLOTHOWER CUST TIMOTHY A SLOTHOWER      18 DICKS LANE                                                                                    SCHROON LAKE    NY    12870‐2320
UGMA NY
GLENN A STEELE & MRS JOAN STEELE JT TEN         950 LAUREL CIRCLE                                                                                SEBASTIAN       FL    32976
GLENN A SYPERDA & VIRGINIA A SYPERDA JT TEN     233 RUE DES LACS                                                                                 TARPON SPGS     FL    34688‐8608
GLENN A TIMMER                                  293 WESTMONT AVE                                                                                 HOLLAND         MI    49424‐2134
GLENN A TURNER                                  2230 DROXFORD DR                                                                                 HOUSTON         TX    77008‐3011
GLENN A WALTHER                                 G 10471 BRAY ROAD                                                                                CLIO            MI    48420
GLENN A WALTHER & LINDA L WALTHER JT TEN        10471 BRAY RD                                                                                    CLIO            MI    48420
GLENN A WARDERS                                 10655 NEW BIDDINGER RD                                                                           HARRISON        OH    45030‐9522
GLENN A WATSON                                  1301 MCGRAW ST                                                                                   BAY CITY        MI    48708‐4911
GLENN A WEYDECK & MARY K WEYDECK & PATRICIA A   2104 CEDAR DRIVE                                                                                 HIGH RIDGE      MO    63049
PETERS JT TEN
GLENN A WHITMILL II                             876 BAYSIDE DR                                                                                   GREENWOOD       IN    46143‐3000
GLENN A YATES                                   736 GILLIAM ST NE                       APT 105                                                  WISE            VA    24293‐5508
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GLENN ALEXANDER MARTIN                          3181 ARROWHEAD DRIVE                                                                       GAINESVILLE       GA    30506‐1025
GLENN ALLRED                                    2635 MARTIN MILL RD                                                                        NEWNAN            GA    30263
GLENN ANDERSON                                  1242 E 346 STREET                                                                          EASTLAKE          OH    44095‐3028
GLENN ARTHUR GRAY                               4625 E RATHBUN                                                                             BIRCH RUN         MI    48415‐8728
GLENN AUGER                                     406 E MCKAMEY ST                                                                           PAYSON            AZ    85541‐5123
GLENN B CRISLER                                 1555 ZETUS RD NWD                                                                          BROOKHAVEN        MS    39601‐9480
GLENN B CROOP                                   43 DOLPHANN DR                                                                             TONAWANDA         NY    14150‐4607
GLENN B MARTINEAU TR UA 08/14/81 GLENN B        SUITE #325                        2001 WILSHIRE BLVD                                       SANTA MONICA      CA    90403‐5685
MARTINEAU TRUST
GLENN BAKER & JUDY K BAKER JT TEN               2804 NORMAND                                                                               COLLEGE STATION   TX    77845‐5734
GLENN BARNARD                                   2647 MONOCACY FORD RD                                                                      FREDERICK         MD    21701‐6808
GLENN BEYER & MARION BEYER JT TEN               200 WINSTON DR                                                                             CLIFFSIDE PARK    NJ    07010‐3235
GLENN BRUNING & BETTY BRUNING JT TEN            1917 MUER DR                                                                               TROY              MI    48084‐1511
GLENN BUTLER CUST KIMBERLY PAIGE BUTLER UTMA TX 6236 TRAIL LAKE DR                                                                         FT WORTH          TX    76133‐3406

GLENN C BERNOR & RENA B BERNOR JT TEN          713 ROSE ST LOT 107                                                                         AUBURNDALE        FL    33823‐4668
GLENN C BLAND                                  15639 S STATE ROUTE 66                                                                      DEFIANCE          OH    43512‐8804
GLENN C BUNDY                                  BOX 1649                                                                                    PALMETTO          FL    34220‐1649
GLENN C BUSH & ELIZABETH M BUSH JT TEN         1024 E ORANGEWOOD AVE                                                                       PHOENIX           AZ    85020‐5027
GLENN C CATER                                  442 11TH AVE NW                                                                             DECATUR           AL    35601‐1502
GLENN C GRINER                                 42 SHADY VISTA RD                                                                           RLLNG HLS EST     CA    90274‐3748
GLENN C HOFFMANN & CYNTHIA HOFFMANN HAZY TEN PO BOX 1506                                                                                   ADDISON           IL    60101‐8506
COM
GLENN C LIGHT                                  3327 MOORE ST                                                                               LOS ANGELES       CA    90066‐1703
GLENN C LOVATO                                 PO BOX 744                                                                                  SAGUACHE          CO    81149‐0744
GLENN C MARKLE CUST KELLY ELIZABETH MARKLE     7666 PINEGLEN DR                                                                            CINCINNATI        OH    45224‐1229
UGMA OH
GLENN C ROSS                                   924 CLOVERLAWN                                                                              LINCOLN PARK      MI    48146‐4214
GLENN C SELLERS                                22333 KINYON ST                                                                             TAYLOR            MI    48180‐3626
GLENN C SMITH                                  111 BELL RD                                                                                 FREDERICKSBURG    VA    22405‐3028
GLENN C TAMURA & LORETTA Y J TAMURA JT TEN     286 VALLARTE DR                                                                             HENDERSON         NV    89014
GLENN C VAN HORN                               3544 MEADOW VIEW                                                                            OXFORD            MI    48371‐4140
GLENN C WILLIAMS                               3437 3RD ST                        APT H                                                    TRENTON           MI    48183‐2955
GLENN C WINSTON                                107 OAKWOOD DRIVE                                                                           BREVARD           NC    28712‐3023
GLENN C WOLANEK                                BOX 892                                                                                     WESTPOINT         MS    39773‐0892
GLENN CAMP                                     11642 OAK VALLEY DRIVE                                                                      HOUSTON           TX    77065
GLENN CHADWELL                                 8949 CANDY LANE                                                                             WEST CHESTER      OH    45069‐3755
GLENN CHARLES                                  2120 W 70TH PLACE                                                                           CHICAGO           IL    60636‐3124
GLENN COLLIGAN                                 89 BRANDYWINE PL                                                                            SOUTHINGTON       CT    06489‐4364
GLENN CORSO                                    41 BROOKSITE DRIVE                                                                          SMITHTOWN         NY    11787‐3473
GLENN CRIMMINGS                                417 COKER VALLEY DR                                                                         KENNEDALE         TX    76060‐6021
GLENN D BARNHART                               8231 TERRACE CT                                                                             PINCKNEY          MI    48169‐8205
GLENN D BINGHAM                                4678 THREE SPRINGS CT                                                                       MARIETTA          GA    30062‐6351
GLENN D BRITTAIN                               11652 E LYTLE RD                                                                            LENNON            MI    48449‐9516
GLENN D CHIN                                   979 SKYLINE DR                                                                              CORAM             NY    11727‐3670
GLENN D COTTRELL & CHERYL A COTTRELL JT TEN    10218 EDGEWOOD DR                                                                           GRAND BLANC       MI    48439‐9481
GLENN D ESSEBAGGERS CUST JEFFREY D ESSEBAGGERS 6483 PARKVIEW                                                                               TROY              MI    48098‐2243
UGMA MI
GLENN D FAZENBAKER                             BOX#102                                                                                     DAVISBURG         MI    48350‐0102
GLENN D FEDOREK                                16 RYDER CT                                                                                 STONY POINT       NY    10980‐3027
GLENN D HEITZMAN                               PO BOX 416                         301 MAIN ST                                              COLD SPRING       MN    56320‐2534
GLENN D JUSTICE                                7509 S PALMYRA ROAD                                                                         CANFIELD          OH    44406‐9796
GLENN D KIECKER                                13311 MORGAN AVE S                                                                          BURNSVILLE        MN    55337‐2095
GLENN D MEYER                                  29 KITTY HAWK DR                                                                            PITTSFORD         NY    14534‐1620
GLENN D MULLINS                                PO BOX 23                                                                                   GRATIS            OH    45330
GLENN D POLAND                                 1302 BLAKEWOOD CT                                                                           BALTIMORE         MD    21222‐2868
GLENN D RICHMOND                               4322 ANDERSON DR                                                                            BEAVERTON         MI    48612‐8710
GLENN D SCHAEFER                               1123 W LOVERS LN                                                                            ARLINGTON         TX    76013‐3821
GLENN D SEVERT                                 140 DUTCHMAN SHORES CIR                                                                     CHAPIN            SC    29036‐9439
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GLENN D SHEFFIELD CUST GRAHAM EDWARD SHEFFIELD 848 SALEM DR                                                                                                           FREDERICKSBRG     VA    22407‐6912
UGMA PA
GLENN D SMETHWICK                              3284 SOUTHGATE DRIVE                                                                                                   FLINT             MI    48507‐3219
GLENN D SMITH & E LOUISE SMITH JT TEN          1051 TREELINE CT                                                                                                       MANCHESTER        MO    63021‐5533
GLENN D STEELE                                 3746 GRINDLEY PARK ST                                                                                                  DEARBORN          MI    48124‐3340
GLENN D TACKETT                                225 BUCKEYE DRIVE                                                                                                      GALION            OH    44833‐1411
GLENN D VANDERSON                              303 BARRET AVE                                                                                                         MADISON HEIGHTS   MI    48071‐3924

GLENN D WARNICK & ISABELL J WARNICK JT TEN         RT #1‐2566                              WARREN‐BURTON RD                                                           SOUTHINGTON       OH    44470
GLENN D WESTFALL                                   2320 MYERS RD                                                                                                      SHELBY            OH    44875‐9345
GLENN DALE SWAN                                    102 CHEROKEE TRL                                                                                                   CLINTON           MS    39056‐3161
GLENN DANIEL BELLITTO                              94 HURON ROAD                                                                                                      YONKERS           NY    10710‐5034
GLENN DELESTON                                     1808 CLEMENT AVE                                                                                                   N CHARLESTON      SC    29405‐8061
GLENN DUBIN                                        117 DUNDEE MEWS                                                                                                    MEDIA             PA    19063‐1183
GLENN E ADKINS                                     5336 TINCHER RD                                                                                                    INDIANAPOLIS      IN    46221‐4210
GLENN E BABB & DENISE Y BABB JT TEN                312 CREEKSTONE COURT                                                                                               INDIANAPOLIS      IN    46239‐9172
GLENN E BAUER                                      400 HOON N MAIN ST                                                                                                 HICKSVILLE        OH    43526
GLENN E BORTH TR GLENN E BORTH REVOCABLE TRUST     32100 HEES                                                                                                         LIVONIA           MI    48150‐3885
UA2/21/97
GLENN E BRAND & JANET C BRAND JT TEN               2510 SOUTH 74TH ST                                                                                                 LINCOLN           NE    68506‐2934
GLENN E BROOKS                                     70 GOULD AVE                                                                                                       BRIDGETON         NJ    08302‐7261
GLENN E CARRENDER & BEVERLY A CARRENDER & BRET     2608 SEMINOLE COURT                                                                                                INDEPENDENCE      MO    64057‐2426
A CARRENDER JT TEN
GLENN E COBB                                       161 GRACE VILLAGE DR                                                                                               WINONA LAKE       IN    46590‐5768
GLENN E COFFEY                                     6700 RUSH‐LIMA RD                                                                                                  HONEOYE FALLS     NY    14472‐9005
GLENN E COLLINS                                    7233 SHULL ROAD                                                                                                    HUBER HEIGHTS     OH    45424‐1234
GLENN E COOK                                       C/O DANITA EARTLY                       CATHOLIC CHARITIES OF ASHTABULA   4200 PARK AVE 3RD FL                     ASHTABULA         OH    44004‐6887
GLENN E DAVIES                                     29375 MERRICK                                                                                                      WARREN            MI    48092‐5418
GLENN E DAVIS & LINDA K DAVIS JT TEN               1401 MOUNTAIN RD                                                                                                   BARTLESVILLE      OK    74003‐6934
GLENN E DAVIS JR                                   13517 WARNER ROAD                                                                                                  MANITOU BEACH     MI    49253‐9789
GLENN E FARVER                                     8217 BARDEN RD                                                                                                     DAVISON           MI    48423‐2417
GLENN E FINCHAM                                    8380 SHERMAN RD                                                                                                    CHARLOTTE         MI    48813‐9117
GLENN E FINKENBINDER                               APT 3                                   2261 SWEDISH DRIVE                                                         CLEARWATER        FL    33763‐2607
GLENN E FLETCHER                                   11190 SCHROEDER RD LOT 16                                                                                          SAINT MARYS       OH    45885‐9579
GLENN E FULLER                                     11726 CLARK DR                                                                                                     BALTIMORE         OH    43105‐9304
GLENN E GARDNER                                    37351 SUSAN DRIVE                       STERLING HEIGHT                                                            STERLING HTS      MI    48310
GLENN E GARDNER                                    3012 S E 22ND CIR                                                                                                  DEL CITY          OK    73115‐1548
GLENN E GILBERT                                    9266 TARA DRIVE                                                                                                    NEW PORT RICHEY   FL    34654‐3432

GLENN E GREGORY & BRENDA G GREGORY JT TEN          9191 N COUNTY RD 550 E                                                                                             PITTSBORO         IN    46167‐9127
GLENN E HARTSOE                                    11 SHERWOOD DR                                                                                                     NORTH HAVEN       CT    06473‐2129
GLENN E HELLER                                     PO BOX 9022                                                                                                        WARREN            MI    48090‐9022
GLENN E HIGGINS                                    4 HARWOOD AVE                                                                                                      NORTH             NY    10591‐1309
                                                                                                                                                                      TARRYTOWN
GLENN E HOPKINS                                    1451 SIERK RD                                                                                                      ATTICA            NY    14011‐9553
GLENN E HOUSTON                                    1965 COLE CT                                                                                                       YUBA CITY         CA    95993‐1429
GLENN E HOWARTH                                    403 CUMBERLAND                                                                                                     WESTBROOK         ME    04092‐2414
GLENN E HUXTABLE                                   1700 GREENYARD COURT                                                                                               BRENTWOOD         CA    94513
GLENN E JEFFRIES SR & MARGARET B JEFFRIES JT TEN   1111 CHILHOWEE DR                                                                                                  KNOXVILLE         TN    37914‐5014

GLENN E JONES                                      16 WILBUR RD                                                                                                       NEW HARTFORD      NY    13413‐2130
GLENN E LAWS & MRS RUTH M LAWS JT TEN              29859 KINGSBRIDGE DR                                                                                               GIBRALTAR         MI    48173‐9402
GLENN E LUDWIG                                     317 WALTER AVE                                                                                                     HASBROUCK HTS     NJ    07604‐1818
GLENN E MACKEY & MRS DOLORES D MACKEY JT TEN       225 BLUEFIELD                                                                                                      NEWBURY PARK      CA    91320‐4251

GLENN E MANGUM                                     6916 PLOUGH DR                                                                                                     CHARLOTTE         NC    28227‐3808
GLENN E MARTIN                                     7033 CEDAR LAKE ROAD                                                                                               PINCKNEY          MI    48169‐8823
GLENN E MASTERS & JO ANN W MASTERS JT TEN          3420 EAGLE                                                                                                         TROY              MI    48083‐5633
GLENN E MUSEN                                      790 SLAYTON DR                                                                                                     BETHLEHEM         GA    30620‐3235
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GLENN E ROACH                                    2399 HOME RD                                                                                    GROVE CITY       OH    43123‐1597
GLENN E SCHOENLING                               6700 MILLBRIDGE CT                                                                              RALEIGH          NC    27615‐6509
GLENN E SCHOLZ                                   143 SKOKIAAN DR APT 6                                                                           FRANKLIN         OH    45005‐1555
GLENN E SHELLNUT                                 49360 YALE DR                                                                                   MACOMB           MI    48044‐1784
GLENN E STEVENSON & DORIS A STEVENSON JT TEN     2325 COUNTRY CLUB DR                                                                            PORT HURON       MI    48060‐1772

GLENN E THOMAS                                  2133 KESSLER COURT                                                                               DALLAS           TX    75208‐2951
GLENN E THOMAS                                  6562 FRANKENLUST RD                                                                              BAY CITY         MI    48706‐9338
GLENN E WATKINS                                 1831 N CO RD 300 E                                                                               KOKOMO           IN    46901
GLENN E WEBER                                   C/O DAVID E WEBER                       320 WEST WASHINGTON                                      MEDINA           OH    44256‐2237
GLENN E WILSON & AVIS WILSON & CONNIE CHRISTIAN 4404 NE 32ND AVE                                                                                 PORTLAND         OR    97211
JT TEN
GLENN E WOODY                                   7806 W 82ND PL                                                                                   BRIDGEVIEW       IL    60455‐1644
GLENN E YOUNGE                                  1815 MORMANDY RD                                                                                 ROYAL OAK        MI    48073‐1968
GLENN EDWARD WEST                               168 SNIDER ROAD                                                                                  NEW CARLISLE     OH    45344‐9272
GLENN F BLACK                                   372 FRYE ROAD                                                                                    FORT COVINGTON   NY    12937‐2715
GLENN F BUBENHEIMER                             27851 TERRENCE                                                                                   LIVONIA          MI    48154‐3498
GLENN F KANN                                    1701 HANNIS BURG PIKE                                                                            CARLISLE         PA    17013
GLENN F KELLEY                                  376 SPINKS RD                                                                                    TEMPLE           GA    30179‐9775
GLENN F NEAL                                    226 FOOTHILL DR                                                                                  WOODSTOCK        GA    30188‐2808
GLENN F PATSCH & MRS HELEN J PATSCH JT TEN      5425 RIDGELINE DRIVE                                                                             MEDINA           OH    44256‐6485
GLENN F PAUL                                    2148 STOCKTON WALK WAY                                                                           SNELLVILLE       GA    30078‐2387
GLENN F PAUL & MRS EVELYN G PAUL JT TEN         2148 STOCKTON WALKWAY                                                                            SNELLVILLE       GA    30078‐2387
GLENN F PUGH                                    4292 PLATT RD                                                                                    CAMDEN           OH    45311‐8669
GLENN G BARNEY                                  100 HARRISON AVE                                                                                 RED BANK         NJ    07704‐3156
GLENN G BOUNDY III                              2413 TAMARIND DR                                                                                 FORT PIERCE      FL    34949‐1544
GLENN G GASCOYNE                                12100 SEMINOLE BLVD                     LOT 221                                                  LARGO            FL    33778‐2825
GLENN G GRATTO                                  33 LAKE DR                                                                                       ENFIELD          CT    06082‐2336
GLENN G MCDOUGALD                               3496 BELL RD                                                                                     GAINESVILLE      GA    30507‐8623
GLENN G PETERS                                  468 CENTER ST W                                                                                  CHAMPION         OH    44481‐9383
GLENN GURNEY                                    111 STANPHYL RD                                                                                  UXBRIDGE         MA    01569‐2076
GLENN H BLACKBURN                               14001 CRANBROOK ST                                                                               RIVERVIEW        MI    48193
GLENN H BLACKSTON JR                            120 CARRIAGE CHASE                                                                               FAYETTEVILLE     GA    30214‐6912
GLENN H COQUIGNE                                7340 JENNINGS ROAD                                                                               SWARTZ CREEK     MI    48473‐8873
GLENN H DROSKA                                  36732 MAPLE LEAF DR                                                                              NEW BALTIMORE    MI    48047‐5582
GLENN H EASTMAN TR UA 11/01/93 GLENN H EASTMAN 1174 JUANITA CIR                                                                                  VENICE           FL    34285‐6322

GLENN H FREEMAN III                              435 S STOLL RD                                                                                  LANSING          MI    48917‐3420
GLENN H FRESE JR                                 1335 GHENT HILLS RD                                                                             AKRON            OH    44333
GLENN H HAMPTON                                  2324 ROSEMONT BLVD                                                                              DAYTON           OH    45420‐2539
GLENN H HARDING                                  2803 BEATTY ST                                                                                  PISCATAWAY       NJ    08854‐4402
GLENN H KNAPP                                    14034 TUSCOLA RD                                                                                CLIO             MI    48420‐8808
GLENN H KRESIN                                   1385 BIRCH DR                                                                                   NORTH            NY    14120‐2235
                                                                                                                                                 TONAWANDA
GLENN H KUES                                     268 CAMP PORTER RD                                                                              NEW BRAUNFELS    TX    78130‐1801
GLENN H MAPLES JR & LILLIAN R MAPLES JT TEN      1224 MOHAWK                                                                                     ROYAL OAK        MI    48067‐4508
GLENN H RICE & MILDRED A RICE JT TEN             8090 AFTON RD                                                                                   WOODBURY         MN    55125‐5007
GLENN H ROACH                                    RR 4 BOX 121A                                                                                   DUFFIELD         VA    24244‐9214
GLENN H ROSS JR                                  4330 WEST 23RD ST                                                                               CLEVELAND        OH    44109‐4131
GLENN H ROTH                                     314 JOREE LN                                                                                    SAN RAMON        CA    94582‐3265
GLENN H THOLE                                    6 LANTERN LANE                                                                                  EXETER           RI    02822‐3600
GLENN H VAN DOREN & PHYLLIS E VAN DOREN TR VAN   2751 REGINCY OAKS BLVD.                APT. R301                                                CLEARWATER       FL    33759
DOREN TRUST UA 09/21/94
GLENN H WALIZER JR & SUE WALIZER TEN ENT         3295 ST ANDREWS DR                                                                              CHAMBERSBURG     PA    17202
GLENN HAROLD                                     3125 CRITES ST                                                                                  RICHLAND HILLS   TX    76118‐6234
GLENN I GUNTER                                   533 STENNING DR                                                                                 HOCKESSIN        DE    19707‐9220
GLENN I SIVILS                                   21301 EAST 175TH ST                                                                             PLEASANT HILL    MO    64080‐7549
GLENN J AMENT & JANE S AMENT JT TEN              1015 MACE ST                                                                                    GREENSBURG       PA    15601‐4822
GLENN J DEARTH                                   349 BELVEDERE N E                                                                               WARREN           OH    44483‐5442
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GLENN J FARMER                                    R ROUTE #6                            2429 MAPLEGROVE RD   BOWMANVILLE ON    L1C 3K7 CANADA
GLENN J GEE                                       PO BOX 982                                                                                     ELKTON          MD    21922‐0982
GLENN J GOSSICK                                   164 DIMISH DR                                                                                  NEWARK          DE    19713‐1922
GLENN J HARRISON                                  6929 INKSTER ROAD                                                                              GARDEN CITY     MI    48135‐2297
GLENN J MILLER                                    305 B STREET                                                                                   DOUGLAS         AK    99824‐5440
GLENN J PAYNE                                     565 SW 139TH                                                                                   BEAVERTON       OR    97006‐5840
GLENN J PFANN                                     109 W MIAMI TR                                                                                 SANDUSKY        OH    44870‐6156
GLENN J PHILLIPS & BRENDA J PHILLIPS JT TEN       1776 GALE ST                                                                                   ENGLEWOOD       FL    34223‐6422
GLENN J SEFL                                      5727 BAVARIA                                                                                   PARMA           OH    44129‐2835
GLENN J SMITH                                     14747 WEST TAFT RD                                                                             WESTPHALIA      MI    48894
GLENN J SNIDER                                    3166 SHAW ST                                                                                   FLINT           MI    48529‐1027
GLENN J SPATA & EMELIA B SPATA JT TEN             9 SHERWOOD CT                                                                                  JACKSON         NJ    08527‐4548
GLENN J ZIMMER                                    335 OLIN CT                                                                                    ALGONQUIN       IL    60102‐3122
GLENN JACKSON                                     4516 GREENLAWN                                                                                 FLINT           MI    48504‐2046
GLENN JAWITZ                                      797 HELENE ST                                                                                  WANTAGH         NY    11793‐1621
GLENN K DAVIES                                    16093 DUGAN                                                                                    ROSEVILLE       MI    48066‐1480
GLENN K HAVICE                                    118 48TH ST                                                                                    SANDUSKY        OH    44870‐4897
GLENN K HOOD                                      23 MAPLEWOOD DRIVE                                                                             NEW MILFORD     CT    06776‐3830
GLENN K JONES                                     5776 BARNES RD                                                                                 MILLINGTON      MI    48746‐8712
GLENN K MILLER                                    2688 GLYNN                                                                                     DETROIT         MI    48206‐1618
GLENN KAHN                                        1919 W EVERGREEN AVE                  #1                                                       CHICAGO         IL    60622‐1933
GLENN KEELING                                     28‐88 LAKEPORT RD                     ST CATHARINES ON                       L2N 4P8 CANADA
GLENN KELLY GRADY                                 201 TUTHILL LN                                                                                 MOBILE          AL    36608‐1404
GLENN KOUGH CUST NOAH JAMES KOUGH UNDER THE       5500 JASE BRANCH RD                                                                            BLAIRSVILLE     GA    30512‐7523
FL GIFTS TO MINORS ACT
GLENN L ARNOLD                                    PO BOX 2371                                                                                    MADISON         MS    39130‐2371
GLENN L CLINGENPEEL                               1333 BETHLEHEM RD                                                                              BOONES MILL     VA    24065‐3727
GLENN L DAUGHERTY JR & DIAN P DAUGHERTY JT TEN    210 EUCALYPTUS CT                                                                              MUNCIE          IN    47304‐9321

GLENN L HAVSKJOLD                                 1344 HARMONY COURT                                                                             THOUSAND OAKS    CA   91362‐2014
GLENN L HODGE                                     10 GLENHURST DRIVE                                                                             OBERLIN          OH   44074‐1424
GLENN L HULVEY                                    816 GREENWAY CIRCLE                                                                            WAYNESBORO       VA   22980‐3414
GLENN L JONES                                     270 CREEKSIDE DR                                                                               MCDONONGH        GA   30252‐7052
GLENN L LEWIS                                     7120 SUNRISE CIR                                                                               FRANKLIN         TN   37067‐8301
GLENN L LIPMAN                                    10 PHIPPS AVE                                                                                  EAST ROCKAWAY    NY   11518‐1403
GLENN L MANLEY                                    1801 S MILL TERR                                                                               KANSAS CITY      KS   66103‐1115
GLENN L MATHIS                                    950 SHERWOOD CIR                                                                               FOREST PARK      GA   30297‐3060
GLENN L MCAVOY & BEVERLY B MCAVOY JT TEN          3095 EAGLE BEND RD                                                                             SPRING HILL      FL   34606‐3164
GLENN L MOONEY                                    19 COYOTE LN                                                                                   SHERIDAN         WY   82801‐9731
GLENN L PIERRE & MRS ELSABETH P PIERRE JT TEN     232 COBBLESTONE DR                                                                             COLORADO SPRINGS CO   80906‐7624

GLENN L PLACUCCI                                2207 HARRISON                                                                                    INKSTER         MI    48141‐1610
GLENN L RASH & EULA A RASH JT TEN               2887 W 50 S                                                                                      KOKOMO          IN    46902‐5969
GLENN L ROBLIN                                  2110 N 44TH AVE                                                                                  HOLLYWOOD       FL    33021‐4210
GLENN L SPEARS                                  1272 PERU HOLLOW ROAD                                                                            NORWALK         OH    44857‐9196
GLENN L SPROAT                                  2959 WAYNESVILLE JAMESTOWN RD                                                                    XENIA           OH    45385
GLENN L SPROAT TOD JOANNE AUSTIN‐SPROAT SUBJECT 2959 WAYNESVILLE‐JAMESTOWN RD                                                                    XENIA           OH    45385
TO STA TOD RULES
GLENN L TENNELL III                             4000 INMAN PARK LANE                                                                             BUFORD          GA    30519‐8908
GLENN L VICORY                                  C/O EDITH M VICORY                      318 W WHIPP RD                                           DAYTON          OH    45459‐1844
GLENN L WALLACE                                 5104 EAST COUNTY RD 600 SOUTH                                                                    PLAINFIELD      IN    46168‐9793
GLENN L WILLE                                                                                                                                    GARNER          IA    50438
GLENN LEANDER                                   3800 SW BLVD                                                                                     FORT WORTH      TX    76116
GLENN LEE DAVIS                                 34418 FLEET ST                                                                                   MILLSBORO       DE    19966‐6715
GLENN LEE DAVIS & WILLIAM L CLOUSER JT TEN      34418 FLEET ST                                                                                   MILLSBORO       DE    19966‐6715
GLENN LESLIE STRALEY                            23775 PARK CENTER DR                                                                             LIVE OAK        FL    32064‐8249
GLENN LOUIS PEW                                 40174 SAND POINT WAY                                                                             NOVI            MI    48375‐5340
GLENN LYON                                      590 HARCOURT PL                                                                                  MARIETTA        GA    30067‐7163
GLENN M ANDERSEN & JOAN R ANDERSEN JT TEN       4627 N ANTHON AVE                                                                                CHICAGO         IL    60656‐4155
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Name                                             Address1                               Address2                Address3       Address4          City             State Zip

GLENN M BAUGH                                    11331 S KINGMAN AVE                                                                             YUMA             AZ    85365‐6870
GLENN M CHIARAMONTE                              301 SUNSET DR                                                                                   HOLLEY           NY    14470‐9784
GLENN M CHURCH                                   11415 E POTTER RD                                                                               DAVISON          MI    48423‐8158
GLENN M DAVIS                                    707 E LINCOLN ST                                                                                GREENTOWN        IN    46936‐1563
GLENN M FIKE                                     43 SHADOW TRACE CT                                                                              WENTZVILLE       MO    63385‐3692
GLENN M GILBERT                                  442 CUNNINGHAM AVE                     OSHAWA ON                              L1J 3C2 CANADA
GLENN M HILLMAN                                  #C                                     2841 E WHITE STAR AVE                                    ANAHEIM          CA    92806‐2521
GLENN M HOWARTH                                  6406 CARRIAGE HILL                                                                              GRAND BLANC      MI    48439‐9536
GLENN M HULL                                     21478 GILL RD                                                                                   FARMINGTON       MI    48335‐4637
GLENN M MACDONALD                                17568 THUNDER MOUNTAIN RD                                                                       EUREKA           MO    63025‐2214
GLENN M PICKHOVER                                702 DAVIS STREET                                                                                FENTON           MI    48430‐2040
GLENN M RICHARDS                                 1094 IRWIN DR                                                                                   WATERFORD        MI    48327‐2017
GLENN M ROGGEMAN                                 402 DEWEY ST                                                                                    SANDUSKY         OH    44870‐3744
GLENN M SCHUTT & RUTH SCHUTT JT TEN              905 B FLORENCE LN                                                                               STERLING         IL    61081
GLENN M SLIDER                                   1827 MIDVALE AVE                                                                                YPSILANTI        MI    48197‐4422
GLENN M T MACDONALD                              17568 THUNDER MOUNTAIN RD                                                                       EUREKA           MO    63025‐2214
GLENN M TAPTICH                                  5818 OLDE MEADOW LANE                                                                           SYLVINIA         OH    43560‐1757
GLENN M VALENTINE & ANNE D VALENTINE JT TEN      13 COURT ST                                                                                     DELHI            NY    13753‐1045
GLENN M ZARR                                     11125 HARDCASTLE                                                                                BROOKLYN         MI    49230‐8406
GLENN MARIE S LANGE TR GLENN MARIE S LANGE       72 HARBOUR ISLAND ROAD                                                                          NARRAGANSETT     RI    02882‐4322
TRUST UA 11/30/00
GLENN MAUDER & MRS BARBARA MAUDER TEN ENT        427 CONNISTON ST                                                                                PITTSBURGH       PA    15210‐3233

GLENN MCCARTHY                                   24 GOODALE RD                                                                                   NEWTON           NJ    07860‐2782
GLENN MCDONALD                                   4321 E MITCHELL DR                                                                              PHOENIX          AZ    85018‐5933
GLENN MISTLER & ANDREA MISTLER JT TEN            PO BOX 199                                                                                      BOHEMIA          NY    11716‐0199
GLENN MITCHELL FOX                               6052 N W 32ND AVE                                                                               BOCA RATON       FL    33496‐3368
GLENN MURRAY                                     PO BOX 681                                                                                      WAUNA            WA    98395‐0681
GLENN N MIYASAKI & CHISENO E MIYASAKI JT TEN     1369 KAWELOKA ST                                                                                PEARL CITY       HI    96782‐1940
GLENN N O HARROW                                 636 EMMONS BLVD                                                                                 WYANDOTTE        MI    48192‐2406
GLENN N PRICE                                    3512 LEWISBURG‐WESTERN RD                                                                       LEWISBURG        OH    45338‐9546
GLENN N SHORES                                   522 SELKIRK DR                                                                                  MOUNT MORRIS     MI    48458‐8919
GLENN N WOOD                                     8008 FRAILEY RD                                                                                 VERMILION        OH    44089‐9289
GLENN NICHOLS                                    APT 219                                4000 GYPSY LANE                                          PHILADELPHIA     PA    19144‐5508
GLENN O PORCHE                                   335 E 264TH ST                                                                                  CLEVELAND        OH    44132‐1442
GLENN OLNEY RASMUSSEN JR                         12128 MISSISSIPPI DR                                                                            CHAMPLIN         MN    55316‐2112
GLENN P CURLIN                                   25 SPICWOOD CV                                                                                  JACKSON          TN    38305‐1522
GLENN P JASTER                                   502 W SCHAFER                                                                                   HOWELL           MI    48843‐8951
GLENN P MAC NEAL                                 6436 GEORGIA AVE                                                                                BRADENTON        FL    34207‐5632
GLENN P NIEMI                                    5851 CROOKED LAKE RD                                                                            HOWELL           MI    48843‐8878
GLENN PHILLIPS GROFF                             1927 QUEENSWOOD DR                     APT E104                                                 YORK             PA    17403‐4232
GLENN QUANBECK                                   CMR 450 BOX 772                                                                                 APO              AE    09705
GLENN R ANTHONY                                  49303 AU LAC DR E                                                                               CHESTERFIELD     MI    48051‐2417
GLENN R BEERNINK                                 7 CHURCHILL ROAD                                                                                NORFOLK          MA    02056‐1033
GLENN R BERG                                     16 WESSEL LANE                                                                                  MEDFORD          NY    11763‐3510
GLENN R BRADBURN                                 9263 SYLVIA                                                                                     TAYLOR           MI    48180‐3011
GLENN R BURGESS                                  3257 SLATTERY RD                                                                                ATTICA           MI    48412‐9219
GLENN R BUTLER                                   116 HEMLOCK CV                                                                                  MILFORD          PA    18337‐9477
GLENN R CUMMINGS                                 11300 SW 1ST                                                                                    CORAL SPRINGS    FL    33071‐8176
GLENN R DOCKERY & HELEN R DOCKERY JT TEN         8747 M88                                                                                        MARCELONA        MI    49659‐7815
GLENN R DUSING                                   26820 ELM                                                                                       ROSEVILLE        MI    48066‐5526
GLENN R ETHRIDGE                                 7313 BAYBERRY LN                                                                                DARIEN           IL    60561‐3709
GLENN R FOLLWEILER & MRS ALICE N FOLLWEILER JT   1881 E 5150 S                                                                                   SALT LAKE CITY   UT    84117‐6910
TEN
GLENN R FRANCISCO                                3684 SHADDICK                                                                                   WATERFORD        MI    48328‐2351
GLENN R FRANCISCO & HELEN FRANCISCO JT TEN       3684 SHADDICK ROAD                                                                              WATERFORD        MI    48328‐2351
GLENN R FREEBORN                                 6788 HAZARD ROAD                                                                                FENTON           MI    48430‐9219
GLENN R FREETHY                                  16648 COHASSET STREET                                                                           VAN NUYS         CA    91406‐2809
GLENN R GEIST CUST SARAH K GEIST UGMA IL         8022 SE OSPREY ST                                                                               HOBE SOUND       FL    33455‐3958
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GLENN R GROSSMAN & ROBERTA A GROSSMAN JT TEN     6700 PINCH HWY                                                                                   POTTERVILLE      MI    48876‐8727

GLENN R LAWRENCE                                 1546 W 29TH ST                                                                                   LOVELAND         CO    80538‐2492
GLENN R LOVE                                     RR1 BOX 206                                                                                      EAST WATERFORD   PA    17021‐9717
GLENN R MACEY                                    2478 FOX DRIVE                                                                                   AURORA           IL    60506‐6414
GLENN R MCKELVEY                                 2412 MOORE LANE                                                                                  JACKSONVILLE     TX    75766‐8814
GLENN R MORRIS                                   1513 PHILOMENE AVE                                                                               LINCOLN PARK     MI    48146‐2316
GLENN R NEWVILLE                                 3831 W CYPRESS LN                                                                                FRANKLIN         WI    53132‐8790
GLENN R NORRIS                                   PO BOX 393                                                                                       WHITE SULPHUR    NY    12787‐0393
GLENN R PERNICE                                  PO BOX 48                                                                                        NORFOLK          NY    13667‐0048
GLENN R RICHTER                                  400 FARRINGTON DR                                                                                LINCOLNSHIRE     IL    60069‐2502
GLENN R RUPERT & BETTY LOU RUPERT JT TEN         116 NORTHERN AVE                                                                                 KITTANNING       PA    16201‐2191
GLENN R RUSSELL                                  11017 OAK GROVE RD S                                                                             BURLESON         TX    76028‐6967
GLENN R SCHMITT                                  5105 WHITE OAK LN                                                                                TAMARAC          FL    33319‐3054
GLENN R SHELTON                                  310 CHERRY LANE                                                                                  CARYVILLE        TN    37714‐3616
GLENN R SILKENSEN & LEOTTA SILKENSEN JT TEN      3885 S BANNOCK                                                                                   ENGLEWOOD        CO    80110‐3608
GLENN R SLAGELL                                  5244 S CHANDLER RD                                                                               ST JOHNS         MI    48879‐9126
GLENN R SMITH                                    1119 S AUDREY LN                                                                                 LAKE CITY        MI    49651‐7935
GLENN R SMITH                                    3205 SNOWY LN                                                                                    ANDERSON         IN    46012‐9562
GLENN R SMITH                                    4200 REDWOOD DR                                                                                  ROSCOMMON        MI    48653‐8727
GLENN R STROH & DELORES A STROH JT TEN           250 N PIONEER AVE                                                                                SHAVERTOWN       PA    18708‐1032
GLENN R TARN                                     RD # 2 BOX 137A                                                                                  PALMERTON        PA    18071‐9802
GLENN R TUCKER                                   79 ROYCEBROOK RD                                                                                 HILLSBORO        NJ    08844‐1235
GLENN R WILKINSON & JANET H WILKINSON JT TEN     BOX 172                                                                                          KEMBLESVILLE     PA    19347‐0172

GLENN R WILLE                                    2680 N BRITT RD                                                                                  JANESVILLE       WI    53548‐9328
GLENN RAY NORDSTROM                              2350 BEAR LANDING LN                                                                             POCOMOKE CITY    MD    21851‐2748
GLENN RAY NORDSTROM                              BOX 268                                                                                          POCOMOKE CITY    MD    21851‐0268
GLENN ROLAND CARTER                              725 PRESCOTT WAY                                                                                 DACULA           GA    30019‐1270
GLENN RUNGE JR CUST JACOB RUNGE UTMA IL          6322 KNOLLWOOD DR                                                                                OAK FOREST       IL    60452‐1750
GLENN S BAIR & SANDRA J MOORE‐BAIR JT TEN        607 MELISSA LN                                                                                   MOUNT JOY        PA    17552‐5002
GLENN S MITCHELL                                 125 ARROWHEAD LN                                                                                 BOLINGBROOK      IL    60440‐1901
GLENN S WOODS                                    2312 NE LAKE BREEZE LN                                                                           LEES SUMMIT      MO    64086‐7065
GLENN SCHENDEL                                   1 WILBUR TERR                                                                                    SAYREVILLE       NJ    08872‐1441
GLENN SCOTT TRYON                                2309 GREEN HILLS DR                                                                              KILGORE          TX    75662
GLENN SHELTON & BONNIE SHELTON JT TEN            310 CHERRY LANE                                                                                  CARYVILLE        TN    37714‐3616
GLENN T MILLER                                   12502 ROCKY RIVER DR                    MEDLOTHIAN                                               MIDLOTHIAN       VA    23114‐7141
GLENN T PARKER                                   1864 ORTONVILLE RD                                                                               ORTONVILLE       MI    48462
GLENN T RICHARDS TOD CATHERINE A YATES SUBJECT   2113 WESTBURY RD                                                                                 LANSING          MI    48906
TO STA TOD RULES
GLENN T SHICKEL                                  2652 LEE JACKSON HWY                                                                             STAUNTON         VA    24401‐5603
GLENN T WRIGHT                                   2023 POND MEADOW RD                                                                              SOMERSET         KY    42503‐2802
GLENN THOMPSON                                   1145 KATHERINE ST                                                                                TEANECK          NJ    07666‐4811
GLENN THOMPSON MILLER                            1404 N MAIN ST EXT                                                                               BUTLER           PA    16001‐1510
GLENN THORNBURGH                                 6105 S CHARLTON PK RD                                                                            HASTINGS         MI    49058‐9337
GLENN THURNES                                    46 FOREST DRIVE                                                                                  SUCCASUNNA       NJ    07876‐1937
GLENN TURNER & LAURIE JAFFE‐TURNER JT TEN        5705 HOLLOW HILL RD                                                                              LIBERTY          NC    27298
GLENN V WILKINS                                  BOX 224                                                                                          LA CARNE         OH    43439‐0224
GLENN W DOUGLAS                                  7190 E 800 NORTH                                                                                 BROWNSBURG       IN    46112
GLENN W DOUGLAS & GAIL F DOUGLAS JT TEN          7190 E 800N                                                                                      BROWNSBURG       IN    46112
GLENN W DOUGLAS & HEATHER K SMITH JT TEN         7190 E 800 N                                                                                     BROWNSBURG       IN    46112
GLENN W ERICKSON                                 2390 OWL                                                                                         CANYON LAKE      TX    78133‐2722
GLENN W FELDHAUS                                 3409 MONTANA                                                                                     ST LOUIS         MO    63118‐4209
GLENN W HARVEY                                   1 VICTORIA RISE                                                                                  FAIRPORT         NY    14450‐2623
GLENN W JARVIS                                   4220 TIMBERLANE DR                                                                               ALLISON PARK     PA    15101‐2934
GLENN W KING & MATILDA P KING JT TEN             4099 N PARK AVE                                                                                  WARREN           OH    44483‐1527
GLENN W LARRY                                    3 MARISSA COURT                                                                                  TEXARKANA        TX    75501
GLENN W LOGAN                                    9415 LAKESIDE WAY                                                                                GAINESVILLE      GA    30506‐6236
GLENN W MC KENZIE                                6085 LINCOLN DRIVE #224                                                                          EDINA            MN    55436‐1634
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GLENN W MCGUIRE                               3271 SILVER PINE TRAIL                                                                           COLORADO SPRINGS CO     80920‐1495

GLENN W MEISE                                 1263 DAYTON ST                                                                                   AKRON             OH    44310‐1156
GLENN W MODESITT                              424 LAWNDALE DR                                                                                  PLAINFIELD        IN    46168‐2022
GLENN W THOMPSON JR                           2950 EAST RAHN ROAD                                                                              KETTERING         OH    45440‐2141
GLENN W WHITE                                 1736 LAFAYETTE AVE APAT 64                                                                       NIAGARA FALLS     NY    14305‐1263
GLENN Y MIYASHIRO & LOIS C MIYASHIRO JT TEN   99‐670 HULUMANU ST                                                                               AIEA              HI    96701‐3226
GLENNA A MILLER                               797 WESTDALE ST                         OSHAWA ON                              L1J 5C1 CANADA
GLENNA B CATHERS                              7812 DAN LN                                                                                      KNOXVILLE         TN    37938‐4560
GLENNA D TURNER                               480 LAKEVIEW DR                                                                                  WYTHEVILLE        VA    24382‐1442
GLENNA EWING                                  14 GEORGE ST                            BROOKLIN POST OFFICE   BROOKLIN ON     L1M 1A7 CANADA
GLENNA G HATH                                 PO BOX 406                                                                                       HAMBURG           MI    48139‐0406
GLENNA J BAIRD                                ATTN GLENNA MARKS TUCKER                PO BOX 364                                               EATON             OH    45320‐0364
GLENNA J BLACKLOCK                            95 WELDRICK RD EAST UNIT 65             RICHMOND HILL ON                       L4C 0H6 CANADA
GLENNA J CAMPBELL                             155 NEELY DR                                                                                     NEW TAZEWELL      TN    37825‐2222
GLENNA J CLARK                                RR 5 BOX 1435                                                                                    SANDY HOOK        KY    41171‐9201
GLENNA J CUNNINGHAM                           8213 GREENBUSH RD                                                                                SOMERVILLE        OH    45064‐9667
GLENNA J DAUGHERTY                            922 BETHABARA HILLS CT                                                                           WINSTON SALEM     NC    27106‐3195
GLENNA J KERSHNER                             8430 COUNTY ROAD #17                                                                             WAUSEON           OH    43567‐9711
GLENNA K PIPER                                590 QUAKER VILLAGE RD                                                                            WEYBRIDGE         VT    05753‐9659
GLENNA K SENAK                                15035 WIND WHISPER DRIVE                                                                         ODESSA            FL    33556‐1799
GLENNA KATHERINE STANILAND                    1 TREWINCRT BOX 67                      BLACKSTOCK ON                          L0B 1B0 CANADA
GLENNA L HARRISON                             3631 GREENBAY DR                                                                                 DAYTON            OH    45415
GLENNA L KYLE                                 30731 GALE ROAD                                                                                  PUEBLO            CO    81006‐9560
GLENNA L MURDZIA                              800 W CHURCH ST                                                                                  ELIZABETH CTY     NC    27909‐4628
GLENNA LUCILLE THORNHILL                      520 BAILEY ST                                                                                    HAMILTON          OH    45011‐2626
GLENNA LYNCH CUST BRAD EDWARD LYNCH UGMA NY   #3 283 HIGH ST                                                                                   LOCKPORT          NY    14094‐4517

GLENNA M CARROLL                              ATTN GLENNA M WEBB                      4448 HWY 9                                               SPRINGFIELD       AR    72157‐9641
GLENNA M CARTER                               3205 W MINNESOTA                                                                                 INDIANAPOLIS      IN    46241‐4561
GLENNA M KIMMEL                               101 ESTATE LANE                                                                                  BROOKVILLE        OH    45309‐8289
GLENNA M PERRY                                105 S EVERETT ST B                                                                               BENNETTSVILLE     SC    29512‐3245
GLENNA MARTIN                                 24815 HIGHWAY                           37 N                                                     NEWPORT           AR    72112
GLENNA MAY PORTER                             5860 RED LION 5 PTS RD                                                                           SPRINGBORO        OH    45066‐7418
GLENNA MOOSE CUST JAMES D MOOSE UTMA MI       16277 SEYMOUR RD                                                                                 LINDEN            MI    48451
GLENNA R BISSEY                               445 ROCHDALE DR                                                                                  ROCHESTER HILLS   MI    48309
GLENNA R BURNS                                691 KIDDSVILLE RD                                                                                WAYNESBORO        VA    22980‐6439
GLENNA R DAUGHERTY                            2924 ECKLEY BLVD                                                                                 W CARROLLTON      OH    45449‐3375
GLENNA R MAXWELL                              5507 BROBECK ST                                                                                  FLINT             MI    48532‐4061
GLENNESE ROGERS                               43 COLLEGE ST                                                                                    CALHOUN           GA    30701‐1767
GLENNETTE DORIS PUGH                          11750 3 1/2 MILE ROAD                                                                            BATTLE CREEK      MI    49015‐9322
GLENNEVA JOHNSON & MELANIE JOHNSON JT TEN     222 GUY JONES RD                                                                                 OLIVER SPRINGS    TN    37840‐3338

GLENNIS A DRAKE                               ROUTE #1 BOX 123                                                                                 DEKALB            MS    39328‐9761
GLENNIS CHINN                                 717 CHURCH STREET                                                                                MEDINA            NY    14103‐1618
GLENNIS E EARLY                               3082 NORTH 50 EAST                                                                               GREENFIELD        IN    46140‐8626
GLENNIS F SWIDER                              342 FORT DEARBORN                                                                                DEARBORN          MI    48124‐1031
GLENNIS G BECK                                2928 SNOWMASS CREEK RD                                                                           SNOMASS           CO    81654‐9117
GLENNIS M COUCHMAN                            1601 CELIA LANE                                                                                  STILLWATER        OK    74074‐1863
GLENNIS PERKINS                               764 ANDERSON FERRY RD                                                                            CINCINNATI        OH    45238‐4742
GLENNIS T CLARK                               112 EAGLE VIEW WAY                                                                               CINCINATI         OH    45215‐3688
GLENNIS THOMPSON                              PO BOX 244                                                                                       CARLISLE          OH    45005‐0244
GLENNON D GEILE                               59 PCR 716                                                                                       PERRYVILLE        MO    63775‐8520
GLENNON J BUCHHEIT                            704 DELANEY RT #2                                                                                PERRYVILLE        MO    63775‐1412
GLENORA A PRESCOTT                            226 WHEATFIELD ST                                                                                N TONAWANDA       NY    14120‐6940
GLENORA R WARREN TR GLENORA R WARREN TRUST UA 2786 LOCHMOOR BLUD                                                                               LAKE ORION        MI    48360‐1984
06/22/83
GLENVILLE H FRANKENBERRY                      817 CENTRAL AVE                                                                                  MARTINSBURG       WV    25401‐4612
GLENWOOD A BEEGLE                             7 WILBUR RD                                                                                      BALTIMORE         MD    21221‐1445
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GLENWOOD A GUENTHER                                12033 CEDAR HOLLOW RD                                                                        FLETCHER           MO    63030‐1138
GLENWOOD F DUNBRACK                                #4803                               2301 REDWOOD ST                                          LAS VEGAS          NV    89146‐0841
GLENWOOD GIBSON                                    18 ATTERBURY AVE                                                                             TRENTON            NJ    08618‐5612
GLENWOOD L ELAM JR CUST KIRA LA'SAYNE ELAM         2312 NEES LANE                                                                               SILVER SPRING      MD    20905
UTMA MD
GLENWOOD L ELAM JR CUST LEAH FRANCES ELAM          2312 NEES LANE                                                                               SILVER SPRING      MD    20905
UTMA MD
GLENWOOD L ELAM JR CUST SOLOMON T ELAM UTMA        2312 NEES LANE                                                                               SILVER SPRING      MD    20905‐4542
NJ
GLENWOOD LEE ELAM JR & DENEEN L ELAM JT TEN        2312 NEES LANE                                                                               SILVER SPRING      MD    20905‐4542

GLENWOOD STATE BANK TR UW HAZEL I BLOOM            PO BOX 431                                                                                   GLENWOOD           IA    51534‐0431
TESTAMENTARY TRUST
GLENWOOD W ALLEY TOD JESSICA L ALLEY SUBJECT TO    201 VALLEY VIEW DR                                                                           HAWK POINT         MO    63349
STA TOD RULES
GLENYS B LAYNE                                     2056 RECCOON RD                                                                              RECCOON            KY    41557‐8308
GLENYS M BRAUN                                     35 SHADOWBROOK DRIVE                                                                         ROCHESTER          NY    14616‐1518
GLENYS MAE PRASUHN                                 12811 PLUM CREEK BLVD                                                                        CARMEL             IN    46033‐8373
GLENZO BROUGHTON                                   HC 83 BOX 2401                                                                               BARBOURVILLE       KY    40906‐9101
GLEO T WADE                                        24840 THORNDYKE ST                                                                           SOUTHFIELD         MI    48033‐7033
GLERAINA R SCHWARZ                                 6568 HARVEST COURT                                                                           BURTON             MI    48509‐9311
GLICK LEONARD JR                                   209 GEORGIAN DR                                                                              CINNAMINSON        NJ    08077‐3820
GLIGOR SUBONJ                                      1310 NORTH 28 AVENUE                                                                         HOLYWOOD           FL    33020‐2921
GLINDA G RAULSTON                                  BOX 1033                                                                                     VAN                TX    75790‐1033
GLOCUS H BAYES                                     109 N CLINTON ST                    APT 1D                                                   MIDDLETOWN         OH    45042‐2090
GLOIS O SYMON & KATHLEEN BANKS DEZELAH JT TEN      4585 BERRYWOOD DRIVE W                                                                       SAGINAW            MI    48603‐1007

GLOIS O SYMON & MAUREEN L MCGREGOR JT TEN          4585 BERRYWOOD DRIVE W                                                                       SAGINAW            MI    48603‐1007
GLOIS O SYMON & SUSAN L FISHER JT TEN              4585 BERRYWOOD DRIVE W                                                                       SAGINAW            MI    48603‐1007
GLOREL MARKETS                                     1 LINCOLN STREET                                                                             BOSTON             MA    02111‐2999
GLORIA A BAILEY                                    PO BOX 348                                                                                   AVOCA              IN    47420
GLORIA A BOOZER                                    144 BRISTOL                                                                                  ADRIAN             MI    49221‐2126
GLORIA A BROOKS                                    4835 ARBOR HILL RD                                                                           CANTON             GA    30115‐8162
GLORIA A BURCHAM                                   8730 WARREN RD                                                                               PLYMOUTH           MI    48170‐5137
GLORIA A CLAYTON                                   11420 COLLEGE                                                                                DETROIT            MI    48205‐3206
GLORIA A CLOPTON                                   7410 CALENDER RD                                                                             ARLINGTON          TX    76001‐6964
GLORIA A COVERT                                    7311 W 500 S                                                                                 DELPHI             IN    46923
GLORIA A DOLLAHON                                  1469 WAGON TRAIN LN SE                                                                       ALBUQUERQUE        NM    87123
GLORIA A GENCO                                     10616 ROBERT E LEE DR                                                                        SPOTSYLVANIA       VA    22553‐4511
GLORIA A GILLETTE                                  720 GREENRIDGE RD                                                                            BATTLE CREEK       MI    49015‐4608
GLORIA A GIOIA                                     74 BULLARD RD                                                                                PRINCETON          MA    01541‐1213
GLORIA A GOMEZ                                     5026 FRANKWILL                                                                               CLARKSTON          MI    48346‐3716
GLORIA A GRIFFIN                                   5745 CAMPBELLTON ROAD S W                                                                    ATLANTA            GA    30331‐7642
GLORIA A HENSLEY & DONNA S YOUNG JT TEN            3824 SEEBER DR                                                                               KNOXVILLE          TN    37918‐5729
GLORIA A JENKINS TR UA 03/29/01 LLOYD L & GLORIA   38518 CONE DR                                                                                ZEPHYRHILLS        FL    33540
JENKINS LIV TRUST
GLORIA A KILMER & DENNIS E KILMER JT TEN           3763 W 153RD ST                                                                              MIDLOTHIAN         IL    60445‐3713
GLORIA A KRAWCZYK                                  2157 KEYSTONE DR                                                                             STERLING HEIGHTS   MI    48310‐2851

GLORIA A KRAWCZYK & KENNETH C KRAWCZYK JT TEN      2157 KEYSTONE DR                                                                             STERLING HEIGHTS   MI    48310‐2851

GLORIA A LEON                                      32680 BRIARCREST KNOLL                                                                       FARMINGTON         MI    48018
GLORIA A LEROUX                                    1314 NORTH HIGH SCHOOL RD                                                                    INDIANAPOLIS       IN    46224‐6108
GLORIA A LOWERY                                    PO BOX 257                                                                                   SPENCER            OH    44275
GLORIA A LUNDGREN                                  2303 SOUTH 58TH COURT                                                                        CICERO             IL    60804‐2634
GLORIA A MATTER                                    4131 W MICHIGAN AVE                 APT 7                                                    LANSING            MI    48917‐2878
GLORIA A MCNICHOLS                                 317 HUNTSFORD PLACE                                                                          TROTWOOD           OH    45426‐2735
GLORIA A MEANS                                     23070 BRANDYWYNE ST                                                                          SOUTHFIELD         MI    48034‐2917
GLORIA A MOULIN                                    88558 CHUKAR LN                                                                              VENETA             OR    97487‐9618
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GLORIA A MYSZEWSKI                                  2122 EDGEWOOD DR                                                                              GRAFTON         WI    53024‐9637
GLORIA A PARCETICH                                  309 PERSHING DR                                                                               FARRELL         PA    16121‐1520
GLORIA A PAYNE                                      292 SMITH ST                         APT 304                                                  CLIO            MI    48420‐2050
GLORIA A PFLUGER                                    220 W PRINCETON                                                                               PONTIAC         MI    48340‐1844
GLORIA A RHODES TEIXEIRA                            PO BOX 1136                                                                                   AUBURN          WA    98071‐1136
GLORIA A SAGARSEE                                   903 CRESCENT DRIVE                                                                            KOKOMO          IN    46901‐3660
GLORIA A TENNEY                                     30 CEDAR ROAD                                                                                 CHESTNUT HILL   MA    02467‐2206
GLORIA A WEBER                                      1018 JANCEY ST                                                                                PITTSBURGH      PA    15206‐1339
GLORIA A WOJACZYK                                   9 PARKVIEW BOULEVARD                                                                          PARLIN          NJ    08859‐2056
GLORIA ABOUSSIE                                     7007 BROOKSHIRE                                                                               DALLAS          TX    75230‐4248
GLORIA ALICE CALCAGNO                               2500 LANNING DR                                                                               BURTON          MI    48509‐1029
GLORIA ALLYN LACY                                   3432 LOON LAKE SHORES                                                                         WATERFORD       MI    48329‐4231
GLORIA AMERAL                                       PO BOX 2111                                                                                   SEBASTOPOL      CA    95473‐2111
GLORIA ANN BOORUJY                                  42 LEWIS AVENUE                                                                               SUMMIT          NJ    07901‐1420
GLORIA ANN CELACKS & BERNARD B CELACKS JT TEN       3304 WEST PINEWOOD DR                                                                         ROSCOMMON       MI    48653‐9320

GLORIA ANN CRANDALL                                 519 PARKVIEW AVE                                                                              BRYAN           OH    43506‐1637
GLORIA ANN ESSMA                                    6670 CORTLAWN CIR N                                                                           MINNEAPOLIS     MN    55426‐1567
GLORIA ANN SHAUNESEY                                7 NEW ACRES RD                                                                                KEENE           NH    03431‐1848
GLORIA ANN THOMPSON                                 83 HARMON AVENUE                                                                              PELHAM          NY    10803‐1709
GLORIA APPLEBY                                      4841 TREELINE DR                                                                              BRUNSWICK       OH    44212
GLORIA AUGUST                                       1030 PILGRIM AVE                                                                              BIRMINGHAM      MI    48009‐4613
GLORIA B COLBERT CUST KELVIN J COLBERT JR A MINOR   1409 BETHAVEN RD                                                                              RIVERDALE       GA    30296‐2150
UNDER THE LAWS OF GA
GLORIA B COLE                                       339 LAFAYETTE AVE                                                                             WESTWOOD        NJ    07675‐2826
GLORIA B CORBETT CUST CYNTHIA ANN BLISS UGMA FL     3049 BRANDYWINE DR                                                                            ORLANDO         FL    32806‐5603

GLORIA B FUST EX EST MARGUERITE C BOHNE             40221 FEATHERBED LN                                                                           LOVETTSVILLE    VA    20180‐3528
GLORIA B HARVEY                                     16 RIVERSIDE DR                                                                               AFTON           NY    13730‐3231
GLORIA B MC COY                                     PO BOX 19894                                                                                  ASHEVILLE       NC    28815‐1894
GLORIA B WORTHUM                                    1577 VINEWOOD ROAD                                                                            AUBURN HILLS    MI    48326‐1658
GLORIA BACHMAN CUST NICOLE BACHMAN UTMA VA          15565 EAGLE TAVERN LANE                                                                       CENTERVILLE     VA    20120‐3703

GLORIA BARNUM                                   194 MUNN AVE                                                                                      IRVINGTON       NJ    07111‐2728
GLORIA BERRIN                                   239 ST MARKS AVE                                                                                  FREEPORT        NY    11520‐6020
GLORIA BESS WIDMANN                             219 ESPLANADE                                                                                     SAN CLEMENTE    CA    92672‐5416
GLORIA BILIUNAS                                 323 EDINBURGH RD                                                                                  CHADDS FORD     PA    19317‐9297
GLORIA BLACKMON                                 250 BEACHWOOD DR                                                                                  YOUNGSTOWN      OH    44505‐4282
GLORIA BOEDICKER                                935 MULHOLLEN DR                                                                                  MONROE          MI    48161‐1889
GLORIA BORNHOEFT                                32‐20 169 ST                                                                                      FLUSHING        NY    11358‐1532
GLORIA BRANDT‐KELLY                             1401 WOODLAND DR                         APT 18                                                   JEFFERSON       IA    50129
GLORIA C BRADY                                  423 TUCSON STREET                                                                                 AURORA          CO    80011‐8442
GLORIA C DAHLGREN                               210 HILLSDALE ESTATES LN                                                                          DIXON SPRINGS   TN    37057‐5050
GLORIA C DAVIS & WALLACE N DAVIS JT TEN         252 EAST STEWART ROAD                                                                             CADIZ           KY    42211‐9783
GLORIA C EPPS                                   1410 GAMBREL DR                                                                                   SANDSTON        VA    23150‐1004
GLORIA C MITCHELL CUST MARK LEON MITCHELL UGMA ATT L METZENBAUM                          9271 ROBIN AVE                                           LA              CA    90069‐1146
CA
GLORIA C MOSSBERG                               107 CRANE CIRCLE                                                                                  NEW PROVIDNCE   NJ    07974
GLORIA C NORTON TR GLORIA NORTON REVOCABLE      20409 BEAUFAIT                                                                                    HARPER WOODS    MI    48225‐1617
TRUST UA 11/25/98
GLORIA C PARK                                   4589 BIRCHBARK TRAIL N                                                                            LAKE ELMO       MN    55042‐9527
GLORIA C WARFEL                                 1605 CANAL RD EXT                                                                                 MANCHESTER      PA    17345
GLORIA C ZENDRI                                 25058 MARILYN                                                                                     WARREN          MI    48089‐1304
GLORIA C ZIPAY                                  9130 RIDGELAND DR                                                                                 MIAMI           FL    33157‐8859
GLORIA CAPPUCCIO CUST JEFFREY CAPPUCCIO UGMA PA 644 ROOSEVELT DR                                                                                  HORSHAM         PA    19044‐1124

GLORIA CARLONE CUST LAURA E CARLONE UGMA CA         17020 BURBANK BLVD                                                                            ENCINO          CA    91316‐1805

GLORIA CHERRY                                       PO BOX 543                                                                                    SHELBY          MS    38774‐0543
                                             09-50026-mg               Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                           Address1                               Address2                 Address3      Address4          City            State Zip

GLORIA CONWAY                                  3664 QUEEN ANNE WAY                                                                             COLORADO SPRINGS CO   80917‐5491

GLORIA COTTON                                  1204 CATALPA AVE                                                                                LIMA            OH    45804‐2618
GLORIA CRATER                                  461 WESTFIELD AVE                                                                               CLARK           NJ    07066‐1733
GLORIA CUNNINGHAM WOOD                         465 WARRIOR DR UNIT #5                                                                          MARFREESBORO    TN    37128‐5951
GLORIA D BARKLEY                               445 VOORHEE ST                                                                                  BUFFALO         NY    14216‐2117
GLORIA D BURNS                                 5245 MOCERI LN                                                                                  GRAND BLANC     MI    48439‐4375
GLORIA D CAMPBELL                              685 LILLIAN DR                                                                                  HERMITAGE       PA    16148‐1532
GLORIA D DIXON                                 10226 YALE AVE                                                                                  CLEVELAND       OH    44108‐2164
GLORIA D EWER                                  7690 E ROGGY RD                                                                                 ITHACA          MI    48847‐9422
GLORIA D FRANKLIN                              163 DAWSON CT                                                                                   WESTLAND        MI    48186‐8636
GLORIA D HAHN                                  8525 HICKORY HILL DR                                                                            POLAND          OH    44514‐3285
GLORIA D HALL                                  52 IRVING ST                           APT 17                                                   BRISTOL         CT    06010‐4178
GLORIA D HART                                  1725 WENTWORHT DR                                                                               CANTON          MI    48188‐3502
GLORIA D KEITH                                 1518 STRATFORD DR                                                                               MANSFIELD       TX    76063‐3352
GLORIA D MORGAN                                41 GREENFIELD DRIVE                                                                             MONROE          LA    71202‐5914
GLORIA D PARKER                                1605SW A AVE                                                                                    LAWTON          OK    73501‐4128
GLORIA D VANEK                                 2201 S WASHINGTON                                                                               LANSING         MI    48910‐2864
GLORIA D WIMBERLY                              3524 AMARANTHUS CT                                                                              CHARLOTTE       NC    28269‐1318
GLORIA DELANEY & MARTIN DELANEY JT TEN         3077 CROSS BRONX EXPRESSWAY            APT 6A                                                   BRONX           NY    10465‐2542
GLORIA DIABO CUST JENNIFER T DIABO UTMA NJ     45 E SHORE TRL                                                                                  SPARTA          NJ    07871‐2247
GLORIA E BISOGNI                               731 THIRD ST                                                                                    PONTIAC         MI    48340‐2013
GLORIA E BISOGNI PER REP EST BORIS BISOGNI     731 THIRD ST                                                                                    PONTIAC         MI    48340‐2013
GLORIA E CHARLES                               2926 CAPTIVA GARDENS DR                                                                         SARASOTA        FL    34231‐7905
GLORIA E CRITES                                8430 WEST 500 NORTH                                                                             KOKOMO          IN    46901‐9618
GLORIA E FREDERICK TR UA 06/27/89              8559 N W 28TH COURT                                                                             CORAL SPRINGS   FL    33065‐5319
GLORIA E GARRETT                               3747 PEACHTREE ROAD NE 602                                                                      ATLANTA         GA    30319
GLORIA E ITEM                                  22670 SAN JUAN RD                                                                               CUPERTINO       CA    95014‐3933
GLORIA E LEVITT & BARTON G LEVITT JT TEN       973 CHIPPENDALE                                                                                 BARTLETT        IL    60103‐5030
GLORIA E MATOS                                 5631 W COLTER ST                       APT 1112                                                 GLENDALE        AZ    85301‐6848
GLORIA E NELSON                                15 EAST ACRES DR                                                                                HAMILTON TWP    NJ    08620‐9734
GLORIA E NELSON & EDWARD L NELSON JT TEN       15 E ACRES DR                                                                                   HAMILTON        NJ    08620‐9734
                                                                                                                                               TOWNSHIP
GLORIA E OLSEN                                 4465 OCEAN BLVD                        APT#47                                                   SAN DIEGO       CA    92109‐3934
GLORIA E ONEILL                                7510 MILBANK DR                                                                                 PORT RICHEY     FL    34668‐3930
GLORIA E PETERSON                              10 CHARLIE DR                                                                                   HOLLISTER       CA    95023‐9065
GLORIA E POLLAK                                ATTN GLORIA E COBB                     10700 41ST COURT NORTH                                   CLEAREWATER     FL    33762‐5490
GLORIA E THOMPSON & ROBERT D THOMPSON JT TEN   132 MASTERS RD                                                                                  CHATTANOOGA     TN    37343‐3014

GLORIA E WALKER                                2517 LEXINGTON DRIVE                                                                            JANESVILLE      WI    53545‐0541
GLORIA EBERLE                                  136 COSTA RICA AVE                                                                              BURLINGAME      CA    94010‐5212
GLORIA EBERT                                   322 E OREGON RD                                                                                 LITITZ          PA    17543
GLORIA ELAINE DUNHAM                           158 MERRYMAN TRL                                                                                LONSDALE        AR    72087‐9661
GLORIA ELAINE MITCHELL                         1631 N STEWART RD                                                                               MANSFIELD       OH    44903
GLORIA ELLEN GRIDER                            4049 ALSACE PL                                                                                  INDIANAPOLIS    IN    46226‐5414
GLORIA F AMENSON                               8693 MALTBY ROAD                                                                                BRIGHTON        MI    48116‐8214
GLORIA F AMENSON & GLEN A AMENSON JT TEN       8693 MALTBY ROAD                                                                                BRIGHTON        MI    48116‐8214
GLORIA F CLOUD                                 2570 CHESTERTON DR                                                                              LIMA            OH    45805‐1453
GLORIA F GALLOWAY                              APT 9‐C                                1630 SHERIDAN RD                                         WILMETTE        IL    60091‐1888
GLORIA F GARRISON                              1440 LINVILLE ST                                                                                WESTLAND        MI    48186‐4156
GLORIA F GOSSELIN                              577 BAYLOR AVE                                                                                  RIVER VALE      NJ    07675‐5928
GLORIA F LOSSOS & EDWARD J LOSSOS JT TEN       3825 PRIMM                                                                                      AFFTON          MO    63123‐7730
GLORIA FAYE DOLAN                              2732 DRENNEN CIRCLE                                                                             BURMINGHAM      AL    35242‐4621
GLORIA FINGERHUT                               129 BAY AVE                                                                                     EAST MORICHES   NY    11940‐1212
GLORIA FISH WAGMAN                             1527 UPLAND HILL DR N                                                                           UPLAND          CA    91784‐9170
GLORIA FLORA NICOLICH                          464 45TH ST                                                                                     BROOKLYN        NY    11220‐1202
GLORIA FORLANO LINDINE                         321 HORNIDGE RD                                                                                 MAMARONECK      NY    10543‐3805
GLORIA FRANCES KANTOR                          4230 BEVERLY LN NE                                                                              ATLANTA         GA    30342‐3442
GLORIA G ASHBY                                 10990 LARKIN RD                                                                                 LIVE OAK        CA    95953‐9640
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GLORIA G AYERS                                      1853 CRANSTON RD APT 204B                                                                       BELOIT           WI    53511‐2503
GLORIA G EISENBERG                                  33 DERBY CT                                                                                     OYSTER BAY       NY    11771‐2804
GLORIA G GONZALEZ                                   2278 BRENTNELL AVE                                                                              COLUMBUS         OH    43211‐1914
GLORIA G HOAG                                       11355 SUNSET DR                                                                                 CLIO             MI    48420‐1516
GLORIA G PHILLIP                                    605 BENTON AVE                                                                                  MISSOULA         MT    59801‐8633
GLORIA G PLESS                                      700 W COOL DR                                                                                   TUCSON           AZ    85704‐4614
GLORIA G RIPPETOE                                   2111 BRENTGATE                                                                                  ARLINGTON        TX    76017
GLORIA G RZUCIDLO                                   4502 CANDLEWOOD DR                                                                              LOCKPORT         NY    14094‐1249
GLORIA G VALLARINO                                  6 FARVIEW CT                                                                                    SAN FRANCISCO    CA    94131‐1212
GLORIA GHIBAUDI                                     12 EAST 8TH ST                                                                                  CLIFTON          NJ    07011‐1102
GLORIA GHIO                                         11 SOUTHRIDGE WAY                                                                               DALY CITY        CA    94014‐1421
GLORIA GIBB                                         535 WEST 7TH AVE                                                                                ROSELLE          NJ    07203‐2444
GLORIA GOELLNER                                     130 PRAIRIE HAUTE                                                                               SAINT CHARLES    MO    63301‐1623
GLORIA GORDON                                       19983 ILENE                                                                                     DETROIT          MI    48221‐1013
GLORIA GORI                                         9727 CLAYBOURNE CT                                                                              LAS VEGAS        NV    89148‐4654
GLORIA GRANT BYRD SR                                2875 WOODLAND ST NE                                                                             WARREN           OH    44483‐4419
GLORIA GRAVES DE SILVA                              4602 STATE ST                                                                                   RIVERDALE        IA    52722
GLORIA GUBERNICK                                    FLORAL LAKES VILLAS                    6213 PETUNIA RD                                          DELL RAY BEACH   FL    33484‐4683
GLORIA H CRUSE                                      7289 NICKETT DR                                                                                 NORTH            NY    14120‐1452
                                                                                                                                                    TONAWANDA
GLORIA H DAWSON TR GLORIA H DAWSON FAM TRUST        14736 BLACK ST                                                                                  BENNINGTON       NE    68007‐1503
UA 04/27/96
GLORIA H ENGLER                                     398 S LEAVITT RD                                                                                LEAVITTSBURG     OH    44430‐9714
GLORIA H GILLESPIE                                  23861 LONGACRE                                                                                  FARMINGTON       MI    48335‐3327
GLORIA H MICHAELS                                   4031 GREENMONT DR S E                                                                           WARREN           OH    44484‐2613
GLORIA H RUSH                                       4146 ALLEN ST                                                                                   INKSTER          MI    48141‐3039
GLORIA HAMILTON                                     444 E SARATOGA ST                                                                               FERNDALE         MI    48220‐3325
GLORIA HAMMON                                       17248 W AVON RD                                                                                 BRODHEAD         WI    53520‐9316
GLORIA HANSCH                                       4070 OLIVE KNOLL PL                                                                             CLAREMONT        CA    91711‐1411
GLORIA HARRINGTON                                   11822 N WALROND AVE                                                                             KANSAS CITY      MO    64156‐1022
GLORIA HARTMAN & GILBERT KOPERA JT TEN              4361 N BACALL LOOP                                                                              BEVERLY HILLS    FL    34465‐4745
GLORIA HAVENDER                                     16 HARDING DRIVE                                                                                NEW ROCHELLE     NY    10801‐4610
GLORIA HEIDENREICH LAMMY                            PO BOX 246                                                                                      CLIO             MI    48420‐0246
GLORIA HILLMAN & ROXANNE HILLMAN JT TEN             APT 3‐D                                315 7TH AVE                                              NY               NY    10001‐6014
GLORIA HOFFMAN                                      9364 SESSIONS                          PO BOX 278                                               WASHINGTON       NY    13479‐0278
                                                                                                                                                    MILLS
GLORIA HOGGARD                                      851 RAMBLING OAKS DR                                                                            NORMAN           OK    73072‐4186
GLORIA HOLT TR UA 08/24/2000 GLORIA BOYER           2475 W CLARK RD                                                                                 LANSING          MI    48906
REVOCABLE LIVING TRUST
GLORIA HORSTMANN PIETSCH                            8912 MORELAND LANE                                                                              ANNANDALE        VA    22003‐3915
GLORIA HUNTER                                       PO BOX 757                                                                                      MORRO BAY        CA    93443‐0757
GLORIA J ACKER                                      2937 CONCORD ST                                                                                 FLINT            MI    48504‐3039
GLORIA J ADKINS & CRAIG R ADKINS JT TEN             6415 W 81ST PL                                                                                  BURBANK          IL    60459‐1708
GLORIA J ALEXANDER                                  PO BOX 685                                                                                      INKSTER          MI    48141‐0685
GLORIA J ANDERSON                                   3043 LAKE RD WEST                                                                               ASHTABULA        OH    44004‐2309
GLORIA J BARKER                                     225 BEAUPRE MI                                                                                  GROSSE POINTE    MI    48236‐3443
                                                                                                                                                    FRMS
GLORIA J BASS                                       2709 BRADY RD                                                                                   LUPTON           MI    48635‐9610
GLORIA J BEARD                                      8814 BEL AIR COURT                                                                              INDIANAPOLIS     IN    46226‐5522
GLORIA J BELL TR GLORIA J BELL REVOCABEL LIVING     7835 EXETER BLVD E                                                                              FT LAUDERDALE    FL    33321
TRUST US 09/22/97
GLORIA J BENSON                                     1811 LINCOLN DR                                                                                 FLINT            MI    48503‐4717
GLORIA J BONESTEEL                                  1571 PLANK RD                                                                                   PETERSBURGH      NY    12138‐5633
GLORIA J BORDERS                                    14 BAYTOWNE ROW                                                                                 MADISON          MS    39110
GLORIA J BOYLE                                      10620 S KENTON AVE                                                                              OAK LAWN         IL    60453‐5271
GLORIA J BRIGGS                                     1628 LATHROP AVE                                                                                RACINE           WI    53405‐3245
GLORIA J BROOKS                                     4826 FAIRFAX AVE                                                                                OAKLAND          CA    94601‐4812
GLORIA J BROOME                                     8392 CLARENCE LANE COURT                                                                        EAST AMHERST     NY    14051‐2001
GLORIA J BROWDER                                    4550 W 116TH ST                                                                                 ZIONSVILLE       IN    46077‐9258
                                             09-50026-mg                  Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                               Address2             Address3          Address4          City             State Zip

GLORIA J BROWN                                    2254 BLACKTHORN DR                                                                              BURTON           MI    48509‐1238
GLORIA J CAPPELLI                                 1531 MCKINLEY AVE                                                                               SAN ANTONIO      TX    78210‐4346
GLORIA J CARTER                                   8431 E 56TH TERR                                                                                KANSAS CITY      MO    64129‐2629
GLORIA J CEELEY                                   715 TEAL COURT                                                                                  NAPLES           FL    34108‐3436
GLORIA J COOPER                                   5114 N 49TH ST                                                                                  OMAHA            NE    68104‐2308
GLORIA J CORNELISON & HENRY CORNELISON JT TEN     1508 E BRADY ST                        APT 8                                                    MILWAUKEE        WI    53202‐1835

GLORIA J CROCKETT                                 3471 MARDAN DRIVE                                                                               ADRIAN           MI    49221‐1028
GLORIA J DAVIS                                    18511 JOY RD APT 206                                                                            DETROIT          MI    48228
GLORIA J DELCOURT                                 34624 33 MILES RD                                                                               RICHMOND         MI    48062
GLORIA J DUNN TR GLORIA J DUNN TRUST UA 4/07/00   15714 HELEN ST                                                                                  SOUTHGATE        MI    48195‐2070

GLORIA J GARNER                                   4919 HOOPER STREET                                                                              MERIDIAN         MS    39307‐6770
GLORIA J GAY TOD DARRELL S KING                   173 SCHLOSS LANE                                                                                DAYTON           OH    45418‐2931
GLORIA J GEPHART                                  411 LINDELL DR                                                                                  GERMANTOWN       OH    45327‐1608
GLORIA J GILCHRIST                                23057 BRITTANY AVE                                                                              EASTPOINTE       MI    48021‐1849
GLORIA J GLASS                                    8732 MILLER‐BRUMBAUGH RD                                                                        ARCANUM          OH    45304‐9613
GLORIA J GLASS                                    R R 1 BOX 1394                                                                                  READSTOWN        WI    54652‐9779
GLORIA J GRIFFIN                                  1881 SEDGWICK AVE #1C                                                                           BRONX            NY    10453‐5053
GLORIA J GRIFFIN & BENNIE GRIFFIN JT TEN          21320 GARDNER                                                                                   OAK PARK         MI    48237‐2736
GLORIA J GUNTHER                                  840 N SLEIGHT ST                                                                                NAPERVILLE       IL    60563‐3244
GLORIA J HALL PERS REP EST OLLIE TILLMAN          5009 GREENLAWN DR                                                                               FLINT            MI    48504‐2049
GLORIA J HARRIS                                   15999 W 11MILE RD APT 19                                                                        SOUTHFIELD       MI    48076‐3627
GLORIA J HARTMAN                                  R R 1 BOX 120A                                                                                  CAMDEN           IN    46917‐9735
GLORIA J HOSEK TR GLORIA JEAN HOSEK REVOCABLE     3547 LAUREL LN                                                                                  ANDERSON         IN    46011‐3031
TRUST UA 12/28/04
GLORIA J HULL                                     49041 PINE BLUFF CT                                                                             PLYMOUTH         MI    48170‐6916
GLORIA J JENKINS                                  55 WILLIS AVENUE                                                                                YOUNGSTOWN       OH    44507‐1140
GLORIA J JONES                                    133 MAYFLOWER CIRCLE                                                                            CARTERSVILLE     GA    30120‐2576
GLORIA J JONES                                    6056 N MANNING RD                                                                               INDIANAPOLIS     IN    46228‐1048
GLORIA J KEEZER                                   357 DRAKE WOODS RD                                                                              DANIELSVILLE     GA    30633‐2713
GLORIA J KILGORE                                  12620 WARD                                                                                      DETROIT          MI    48227‐3568
GLORIA J KRONENBERGER                             8 BIANCO COURT                         SMITHTTOWN                                               SMITHTOWN        NY    11787
GLORIA J LEAPHEART                                1500 WASHINGTON BLVD                                                                            KANSAS CITY      KS    66102‐2840
GLORIA J LOGAN                                    928 SUNSET DR                                                                                   ENGLEWOOD        OH    45322
GLORIA J LONDON                                   607 ST LOUIS AVE                                                                                YOUNGSTOWN       OH    44511‐1712
GLORIA J MAGUIRE                                  5 DUNN ST                              BOBCAYGEON ON                          K0M 1A0 CANADA
GLORIA J MARTIN                                   70 RIDGEWOOD DR                                                                                 HARWINTON        CT    06791‐1314
GLORIA J MATHEWS                                  880 STARWICK DRIVE                                                                              ANN ARBOR        MI    48105‐1226
GLORIA J MC INTOSH                                6658 ROBIN RIDGE                                                                                BRIGHTON         MI    48116‐2018
GLORIA J MC NAIR                                  1811 PARKHILL DRIVE                                                                             DAYTON           OH    45406‐4027
GLORIA J MCNAMER                                  4991 MEADOW RUN DR                                                                              HILLIARD         OH    43026‐7163
GLORIA J MEYERS                                   3018 YALE ST                                                                                    FLINT            MI    48503‐6800
GLORIA J MILLS                                    ATTN GLORIA J ELLIOTT                  34603 C HOPE PLACE                                       CLINTON TOWNSHIP MI    48035‐3325

GLORIA J MORSE                                    13486 ELMS RD                                                                                   BIRCH RUN        MI    48415‐8516
GLORIA J MURPHY                                   1500 CADILLAC DRIVE EAST                                                                        KOKOMO           IN    46902‐2540
GLORIA J MURPHY TR UA MURPHY FAMILY TRUST         20027 FORTUNA DEL ESTE                 ELFIN FOREST                                             ESCONDIDO        CA    92029‐5919
01/04/90
GLORIA J ORR                                      1628 LATHROP AVE                                                                                RACINE           WI    53405‐3245
GLORIA J PATTERSON                                6410 OAK HILL ROAD                                                                              ORTONVILLE       MI    48462‐9247
GLORIA J POTTS                                    7208 DOGWOOD DR                                                                                 SHINGLETOWN      CA    96088‐9604
GLORIA J PUCKETT                                  1940 FARMER ROAD                                                                                CONYERS          GA    30012‐3202
GLORIA J REID                                     2889 GRETCHEN DR NE                                                                             WARREN           OH    44483‐2925
GLORIA J RICCI                                    1208 TABOR CT                                                                                   BROOKLYN         NY    11219‐5341
GLORIA J SCHMALTZ                                 5224 STODDARD ROAD                                                                              PORT HOPE        MI    48468
GLORIA J SCOTT                                    5445 TODD ST                                                                                    VIRGINIA BEACH   VA    23464‐2340
GLORIA J SMITH                                    PO BOX 264                                                                                      FITZGERALD       GA    31750‐0264
GLORIA J SMITH                                    4410 KILLARNEY PARK DRIVE                                                                       BURTON           MI    48529‐1823
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GLORIA J SMITH CUST STEPHANIE R SMITH UGMA MI    4750 N ROCHESTER RD                                                                            ROCHESTER        MI    48306‐1833

GLORIA J SOBCZAK                                 4815 WEST GLEN PLACE                                                                           RAPID CITY       SD    57702‐6833
GLORIA J STAFFORD                                1841 N RILEY AVE                                                                               INDIANAPOLIS     IN    46218‐4652
GLORIA J STAFFORD CUST JEFFREY P MATTHEWS UTMA 1841 N RILEY AVE                                                                                 INDIANAPOLIS     IN    46218‐4652
IN
GLORIA J STUCKEY CUST CHRISTOPHER R STUCKEY UTMA G 5084 JUDITH ANN DRIVE                                                                        FLINT            MI    48504
MI
GLORIA J WARNIMONT                               135 RICHMOND CT                                                                                ROSELLE          IL    60172‐1919
GLORIA J WELCH‐HIGHTOWER                         2524 VOLNEY ROAD                                                                               YOUNGSTOWN       OH    44511
GLORIA J WILSON                                  928 SUNSET DR                                                                                  ENGLEWOOD        OH    45322
GLORIA J WORTHINGTON & PAULA J ENGLE JT TEN      2200 SHIRLEY DR                                                                                PRESCOTT         MI    48756‐9357

GLORIA J YOUNG                                   131 RIVERTON PL                                                                                EDGEWATER        MD    21037‐1803
GLORIA JACKSON                                   PO BOX 1111                                                                                    BRIDGE CITY      TX    77611‐1111
GLORIA JEAN BENWAY                               316 BAKER AVENUE                                                                               VENTURA          CA    93004‐1559
GLORIA JEAN GRIPARIS                             605 HOMESTEAD PLACE                                                                            JOLIET           IL    60435
GLORIA JEAN MISION & RONALD GEORGE MISION JT     6642 BAM BAM CT                                                                                OSAGE BEACH      MO    65065‐3473
TEN
GLORIA JEAN TOUPIN                               PO BOX 876                                                                                     MARSHALL         MI    49068‐0876
GLORIA JIMENEZ CUST BIANCA LOREN NINO UTMA IL    4718 S LEAMINGTON AVENUE                                                                       CHICAGO          IL    60638‐2016

GLORIA JOHNSEN                                   PO BOX 73                                                                                      MALDEN HUDSON    NY    12453‐0073

GLORIA JOHNSON                                   20111 PRAIRIE                                                                                  DETROIT          MI    48221‐1218
GLORIA JOYCE DAWSON                              112 WILSON AVE                        TORONTO ON                             M5M 3A1 CANADA
GLORIA K LEE                                     4022 BIRCHDELL NE                                                                              CANTON           OH    44705‐2712
GLORIA K SCHUSTER & DENNIS D SCHUSTER JT TEN     2504 BRADLEY RD                                                                                CLEVELAND        OH    44145‐1703

GLORIA K TAYLOR                                  115 ROGER AVE                                                                                  WESTFIELD        NJ    07090‐1773
GLORIA K TOWNS                                   855 OAKHURST RD                                                                                FOWLERVILLE      MI    48836‐9299
GLORIA K TOWNS & GARY L TOWNS JT TEN             855 OAKHURST                                                                                   FOWLERVILLE      MI    48836‐9299
GLORIA KAHAN                                     3486 ROLLING HILLS                                                                             PEPPER PIKE      OH    44124‐5803
GLORIA KARGMAN                                   21 HILL LANE                                                                                   ROSLYN HTS       NY    11577‐2611
GLORIA KARP                                      4725 INDEPENDENCE AVE                                                                          RIVERDALE        NY    10471‐3209
GLORIA KARPAS                                    40 E 9TH ST                                                                                    NY               NY    10003‐6421
GLORIA KASIAN                                    ATTN GLORIA FOX VEDRINE               12280 WOODRIDGE DR                                       NORTH ROYALTON   OH    44133‐2411

GLORIA KAZAROSIAN TOD DOUGLAS W KAZAROSIAN       194 OELLA RIDGE CT                                                                             HENDERSON        NV    89012‐2443

GLORIA KELLY MCMILLAN                            407 W 25 TH ST NBR D                  28789 COPPER COURT                                       HIGHLAND         CA    92346
GLORIA KELLY MCMILLIAN                           28789 COPPER COURT                                                                             HIGHLAND         CA    92346
GLORIA KIEFER                                    1264 E SIENA HTS DR                   #319                                                     ADRIAN           MI    49221‐1756
GLORIA KORN                                      1316 LATHAM COURT                                                                              LIVINGSTON       NJ    07039
GLORIA L ANDERSON & RANDY G ANDERSON JT TEN      1868 RIDGE RD                                                                                  JEANNETTE        PA    15644‐4404

GLORIA L ANGEVINE                                2425 WOODLAWN                                                                                  WALLED LAKE      MI    48390‐1969
GLORIA L AUGHENBAUGH                             2308 GEESEY COURT                                                                              YORK             PA    17404‐1762
GLORIA L BARRY                                   37 OAK DR                                                                                      ELIZABETHTOWN    PA    17022‐9213
GLORIA L BELL                                    744 CARTON ST                                                                                  FLINT            MI    48505‐3915
GLORIA L BLOOM                                   7 BENTANA COURT                                                                                ROCKVILLE        MD    20850‐2725
GLORIA L DUNN                                    5409 RADFORD AVE #5                                                                            NORTH            CA    91607‐2233
                                                                                                                                                HOLLYWOOD
GLORIA L FALK                                    23 NAGEL DR                                                                                    CHEEKTOWAGA      NY    14225‐3819
GLORIA L FREDETTE                                PO BOX 185                                                                                     ORTONVILLE       MI    48462‐0185
GLORIA L GOETTEL                                 1494 TOWNLINE RD                                                                               LANCASTER        NY    14086‐9774
GLORIA L LOVELESS                                3472 WILLOW MEADOW LN                                                                          DOUGLASVILLE     GA    30135‐7918
GLORIA L MACKEY                                  2404 NATHANIEL PL                                                                              EVANSTON         IL    60202‐1044
                                              09-50026-mg                  Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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GLORIA L NAPIER & CHARLEY B NAPIER JT TEN          2622 MONACO TERR                                                                                PALM BEACH      FL    33410‐1409
                                                                                                                                                   GARDENS
GLORIA L PARMLEY                                   11008 E BORSON ST                                                                               NORWALK         CA    90650‐2603
GLORIA L RICH TR UA 11/08/91 THE GLORIA L RICH     2644 KNIGHTSBRIDGE SE                                                                           GRAND RAPIDS    MI    49546‐6774
TRUST
GLORIA L ROBINSON                                  630 MOSELLE ST                                                                                  BUFFALO         NY    14215‐3706
GLORIA L ROWLAND                                   650 DUVALL AVE N.E.                    APT P1213                                                RENTON          WA    98059‐5736
GLORIA L SHERMAN‐TYSZKA & DANIEL A TYSZKA JT TEN   402 VFW PKWY                                                                                    CHESTNUT HILL   MA    02467‐3716

GLORIA L STEWART                                   469 GLENBROOK DRIVE                                                                             ATLANTIS        FL    33462‐1007
GLORIA L TINKA CUST RANDALL B TINKA UGMA MI        1041 TIMBLERLANE                                                                                LAKE ORION      MI    48360‐1105

GLORIA L WOODY                                   3613 COMSTOCK                                                                                     FLINT           MI    48504‐3722
GLORIA LEHMANN                                   21391 SNOWFLOWER DR                                                                               ROCKY RIVER     OH    44116
GLORIA LINDSEY ALIBARUHO                         125 SILVER SPRINGS DRIVE                                                                          FAYETTEVILLE    GA    30214‐7212
GLORIA LOIS KANDER                               827 E 36TH                                                                                        LONG BEACH      CA    90807‐4635
GLORIA LOPEZ & JACINTO LOPEZ JT TEN              9022 MOON BEAM AVE                                                                                FLAGSTAFF       AZ    86004‐1482
GLORIA LOUISE HILL                               1627 GLENFIELD                                                                                    DALLAS          TX    75224‐2423
GLORIA LYNN MURRAY                               13900 LAKEFIELD RD                                                                                HEMLOCK         MI    48626‐8710
GLORIA M BARCLAY                                 600 E 4TH ST                             APT 405                                                  LONG BEACH      CA    90802‐2682
GLORIA M BIGELOW                                 8150 N DORT HWY                                                                                   MT MORRIS       MI    48458‐1207
GLORIA M BRUBAKER                                3920 3RD AVE                                                                                      SAN DIEGO       CA    92103‐3003
GLORIA M BURNHAM                                 110 SOUTH WHITE                                                                                   KANSAS CITY     MO    64123‐1936
GLORIA M CASWELL                                 459 EAST BAY AVENUE                      PO BOX 366                                               BARNEGAT        NJ    08005‐0366
GLORIA M CEFALY                                  22 ROSSITER ST                                                                                    DEPEW           NY    14043‐2716
GLORIA M CHASE & CHARLES L CHASE & KAREN J SMITH 57886 WOODCREEK                                                                                   LENOX           MI    48048‐2971
& KARL J CHASE JT TEN
GLORIA M COOK TR GOLRIA M COOK REVOCABLE LIVING 4963 EGRET PLACE                                                                                   COCONUT CREEK   FL    33073‐2418
TRUST UA 08/07/98
GLORIA M COSTA                                   59825 GLACIER BEND                                                                                WASHINGTON TWP MI     48094‐2286

GLORIA M DE LABIO                                  1145 GYPSY LANE E                                                                               TOWSON          MD    21286‐1445
GLORIA M DIAZ                                      103 DEERFIELD DR                                                                                MANAHAWKIN      NJ    08050
GLORIA M DRIVER                                    820 PINE AVE                                                                                    LK ORION        MI    48362‐2442
GLORIA M FERRI                                     19 WINGATE DR                                                                                   ROCHESTER       NY    14624
GLORIA M FREDERICK                                 2390 SHERINGHAM RD                                                                              COLUMBUS        OH    43220‐4368
GLORIA M FULLER                                    337 CHICAGON MINE RD                                                                            IRON RIVER      MI    49935‐8689
GLORIA M FULLER & THOMAS E FULLER JT TEN           337 CHICAGON MINE RD                                                                            IRON RIVER      MI    49935‐8689
GLORIA M GALLOWAY                                  6700 VILAMOURA WAY                                                                              ELK GROVE       CA    95757‐3418
GLORIA M HAMILTON                                  PO BOX 276                                                                                      ARCANUM         OH    45304‐0276
GLORIA M HARRISON                                  1235 EAST D ST                         APT 8                                                    ONTARIO         CA    91764‐4366
GLORIA M HORNING                                   24370 HEDGEWOOD AVE                                                                             WESTLAKE        OH    44145‐4313
GLORIA M JACKSON                                   3610 RED BUD LN                                                                                 SHREVEPORT      LA    71108‐5110
GLORIA M JAVOR                                     123 HARBOR PKY                                                                                  CLINTON         CT    06413‐2607
GLORIA M JOHNSON                                   3322 W 200 N                                                                                    PERU            IN    46970‐7541
GLORIA M KASSAN                                    2335 LYNTZ‐TOWNLINE ROAD                                                                        WARREN          OH    44481‐9760
GLORIA M KEHOE                                     12532 PAGELS DR                                                                                 GRAND BLANC     MI    48439‐2425
GLORIA M KOZAK                                     12532 PAGELS DR                                                                                 GRAND BLANC     MI    48439‐2425
GLORIA M KROLAK                                    3 MICHELE XING                                                                                  FLEMINGTON      NJ    08822‐4115
GLORIA M KURCZI                                    28575 WESTLAKE VILLAGE DR A2                                                                    WESTLAKE        OH    44145‐3883
GLORIA M LA PONTNEY                                31217 SARATOGA DR                                                                               WARREN          MI    48093‐1661
GLORIA M LESZCZYNSKI                               5414 N US HIGHWAY 23                                                                            BLACK RIVER     MI    48721‐9763
GLORIA M MITCHELL                                  27 ST LAWRENCE DRIVE                   ST CATHARINES ON                       L2M 2T7 CANADA
GLORIA M NICOLAR                                   244 SAMUEL CAMP RD                                                                              ANDERSON         SC   29624‐7347
GLORIA M PIPPEN                                    39 ESTHER                                                                                       PONTIAC          MI   48341‐2177
GLORIA M SALTER                                    34330 KENTUCKY                                                                                  CLINTON TOWNSHIP MI   48035

GLORIA M SARGOLOGOS                                15409 PRESTANCIA DR                                                                             AUSTIN          TX    78717‐3922
GLORIA M SCHNEIDER                                 120 PINE VIEW DR                                                                                WEXFORD         PA    15090‐8544
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GLORIA M SMITH TR UNDER THE WILL OF HARRY R     C/O GLORIA M SMITH                       79‐22 270TH STREET                                       NEW HYDE PARK     NY    11040‐1530
MEHLER
GLORIA M SONTAG & RUSSELL J SONTAG JT TEN       47 PARKER ST                                                                                      FITCHBURG         MA    01420‐6143
GLORIA M VINEY                                  PO BOX 14406                                                                                      TUCSON            AZ    85732‐4406
GLORIA M YEOMANS                                1779 E BROCKER RD                                                                                 METAMORA          MI    48455‐9789
GLORIA MAE EDEN                                 6894 TOBIK TRAIL                                                                                  PARMA HEIGHTS     OH    44130‐4513
GLORIA MAE HAVLIN                               31 TREE TOP CIRCLE                                                                                ORMOND BEACH      FL    32174‐9206
GLORIA MAE MC KELVEY                            1052 ENTRADA RD                                                                                   SACRAMENTO        CA    95864‐5367
GLORIA MALATESTA TR GLORIA MALATESTA TRUST UA 3619 KENMORE RD                                                                                     BERKLEY           MI    48072‐3503
11/19/99
GLORIA MANDIA                                   6 TRADEWINDS LN                                                                                   RUMSON            NJ    07760‐2288
GLORIA MAR                                      2353 E LOS ALTOS                                                                                  FRESNO            CA    93710‐4619
GLORIA MARSHALL                                 PO BOX 11                                                                                         WARREN            MI    48090‐0011
GLORIA MATHIASCH                                7214 SOUTH WESTERN                                                                                DARIEN            IL    60561‐4156
GLORIA MILLER                                   9 VAN WYCK DR                                                                                     POUGHKEEPSIE      NY    12601‐1537
GLORIA MILLER                                   2611 ROYAL LIVERPOOL DR                                                                           TARPON SPRINGS    FL    34689‐6337
GLORIA MONACO MONTGOMERY                        PO BOX 310                                                                                        KADOKA            SD    57543
GLORIA N MUNNS TR UA 06/10/09 GLORIA N MUNNS    11165 CHAMBERS CT UNIT E                                                                          WOODSTOCK         MD    21163
REVOCABLE TRUST
GLORIA N MUNNS TR UA 06/10/2009 GLORIA N MUNNS 2245 BALLARD WAY                                                                                   ELLICOTT CITY     MD    21042
REVOC TRUST
GLORIA N ROSENBERG & HERBERT W ROSENBERG JT     1210 LATHAM COURT                                                                                 LIVINGSTON        NJ    07039‐6003
TEN
GLORIA N VINZANT                                818 GROVELAND                            AVENUE                                                   DAYTON            OH    45408‐1651
GLORIA NELMS                                    2664 NELMS CT                                                                                     DECATUR           GA    30033‐2209
GLORIA O BAILEY                                 11078 W HOLT RD                                                                                   DIMONDALE         MI    48821‐9704
GLORIA O ROTE                                   136 SARONA CIRCLE                                                                                 RYL PALM BCH      FL    33411‐4320
GLORIA O SALLENGER & KENNETH C SALLENGER JT TEN 1125 COOPERHILL RD                                                                                WINDSOR           NC    27983‐8525

GLORIA O TOLOPKA                                    293 WEST 5TH ST                                                                               DEER PARK         NY    11729‐6538
GLORIA OLSEN BECK                                   ATTN GLORIA O BOWER                  24255 SUNCOAST BLVD                                      PORT CHARLOTTE    FL    33980‐2720
GLORIA ORTIZ ROTE & CHARLES ROBERT ROTE JT TEN      136 SARONA CIRCLE                                                                             RYL PALM BCH      FL    33411‐4320

GLORIA OSTENDORF                                    25921 E RIVER RD                                                                              OTIS ORCHARDS     WA    99027‐9448
GLORIA OWEN                                         3933 PLATTE DR                                                                                FORT COLLINS      CO    80526‐5369
GLORIA P CAUIGLIA                                   39 TANNEN DRIVE                                                                               PLEASANT VALLEY   NY    12569‐7043
GLORIA P EHREWBERG                                  107 COCKS LANE                                                                                LOCUST VALLEY     NY    11560‐2348
GLORIA P JOHNSON                                    1637 SMITH RD C                                                                               COLUMBUS          OH    43207‐1667
GLORIA P MONSEES                                    44 E 45TH ST                                                                                  SAVANNAH          GA    31405‐2113
GLORIA P NELSON                                     15701 HAZELTON ST                                                                             DETROIT           MI    48223‐1020
GLORIA P STAMPLEY                                   555 W 107TH ST                                                                                CHICAGO           IL    60628‐3239
GLORIA PARKS                                        418 EMERSON AVE                                                                               FARRELL           PA    16121‐1830
GLORIA PAYNE                                        521 COLBERN ST                                                                                BELTON            MO    64012
GLORIA PENNINGTON                                   1305 REPUBLIC AVE                                                                             YOUNGSTOWN        OH    44505‐3244
GLORIA PETERSEN                                     3405 BOXELDER DR                                                                              LONGMONT          CO    80503‐7586
GLORIA PETRA BUONOCORE                              197 TOWNSEND AVE                                                                              NEW HAVEN         CT    06512‐3965
GLORIA R BECK                                       4022 GREEN MEADOW DR                 APT 1808                                                 SAN ANGELO        TX    76904‐9773
GLORIA R C POST & JOHN EVERETT POST JT TEN          COVENANT VILLAGE OF CROMWELL         52 MISSIONARY RD         APT 4310                        CROMWELL          CT    06416‐2134
GLORIA R GONEK                                      APT B                                19439 NORTHRIDGE DRIVE                                   NORTHVILLE        MI    48167‐1972
GLORIA R KELESHIAN                                  224 WARREN BLVD                                                                               BROOMALL          PA    19008‐3730
GLORIA R NOBLE                                      125 CLEARVIEW RD                                                                              SYRACUSE          NY    13214
GLORIA R PEZZUTI                                    36 KNOX TERRACE                      UNIT 2A                                                  WAYNE             NJ    07470‐8044
GLORIA R RAYMOND                                    473 LILLIAN AVE                                                                               SYRACUSE          NY    13206‐2160
GLORIA R RODGERS                                    8805 ALTURA DR NE                                                                             WARREN            OH    44484‐1729
GLORIA RAPP                                         224 ASHLEY LN                                                                                 LUMBERTON         NJ    08048‐4601
GLORIA REBIEJO TR REBIEJO FAMILY TRUST UA 3/10/95   36629 FLINTWOOD DR                                                                            NEWARK            CA    94560

GLORIA RHODES                                       7408 WEST SOMERSET ROAD                                                                       APPLETON          NY    14008‐9683
GLORIA RIDDLE                                       610 N BIRNEY ST                                                                               BAY CITY          MI    48708‐6676
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GLORIA ROCKWELL INGRAHAM                          111 PILGRIM ROAD                      PO BOX 253                                               BRISTOL           CT    06010‐3131
GLORIA RODRIGUEZ                                  C/O GLORIA RODRIGUEZ DI MES           303 FILLMORE AVE                                         TONAWANDA         NY    14150‐2411
GLORIA ROGOSKY & WILLIAM ROGOSKY JT TEN           6450 CHERRY STREET EXT                                                                         ERIE              PA    16509‐6504
GLORIA ROSENBERG & LOUIS ROSENBERG & GARY         7179 LORENZO LANE                                                                              DELRAY BEACH      FL    33446‐3192
ROSENBERG JT TEN
GLORIA RUTH CALLIS                                ATTN GLORIA RUTH GRIFFITH             1303 GINGER CRT                                          MT JULIET         TN    37122‐2833
GLORIA S HAMMOND                                  763 CLARKS LN                                                                                  WINONA            MN    55987
GLORIA S LIM CUST DOMINIC LIM UTMA CA             18961 GRANADA CIRCLE                                                                           NORTHRIDGE        CA    91326‐1505
GLORIA S LIM CUST SAMANTHA LIM UTMA CA            18961 GRANADA CIRCLE                                                                           NORTHRIDGE        CA    91326‐1505
GLORIA S MC COY                                   6422 FAA TOWER ROAD                                                                            TOOMSUBA          MS    39364‐9568
GLORIA S MC COY & GRADY MCCOY JT TEN              6422 FAA TOWER ROAD                                                                            TOOMSUBA          MS    39364‐9568
GLORIA S MOYERS                                   188 P O BOX 13                                                                                 CORTLAND          OH    44410‐0013
GLORIA S NEUHAUS                                  4021 FLORAL AVE                                                                                CINCINNATI        OH    45212‐3926
GLORIA S PHILLIPS                                 5455 LA SIERRA DR                     APT 802                                                  DALLAS            TX    75231‐4119
GLORIA S SCHOTT & HANS SCHOTT JT TEN              BEAVER HILL APTS                      APT 801W             100 WEST AVENUE                     JENKINTOWN        PA    19046‐2672
GLORIA S TATUM                                    703 HUNTINGTON CT                                                                              WINDER            GA    30680
GLORIA S WHITE                                    1399 BRUNSWICK ST                                                                              DALY CITY         CA    94014‐1871
GLORIA SANTIAGO                                   PO BOX 4444                                                                                    WINTER PARK       FL    32793‐4444
GLORIA SCHRADER                                   3865 BREMEN PASS                                                                               CLEVES            OH    45002
GLORIA SCHULTE CONWAY                             1339 GREENFIELD DR                                                                             ERIE              PA    16509‐2910
GLORIA SEGUINE                                    9 LEGION PLACE                                                                                 WOODBRIDGE        NJ    07095‐3319
GLORIA SEMENUK                                    6412 DUNGAN ST NE                                                                              ALBUQUERQUE       NM    87109‐3616
GLORIA SERN                                       38 TIBURY CT                                                                                   SCOTTS PLAIN      NJ    07076‐3155
GLORIA SHANABERG CUST TY SHANABERG UTMA FL        1563 NORTH ST                                                                                  GRANVILLE         OH    43023‐9748

GLORIA SHAW LAWSON                                2826 PITT ST                                                                                   ANDERSON          IN    46016‐5558
GLORIA SHIRELINE PRIDDY                           2500 PAGE PLACE                                                                                MANSFIELD         TX    76063‐5160
GLORIA SHUMAN                                     WESTERLEIGH ROAD                                                                               PURCHASE          NY    10577
GLORIA SIRAGUSA MACH TR GLORIA SIRAGUSA MACH      2431 NW 41ST STREET                   APT 2303                                                 GAINESVILLE       FL    32606‐7405
TRUST UA 11/30/77
GLORIA SMITH                                      79‐22 270 ST                                                                                   NEW HYDE PARK     NY    11040‐1530
GLORIA SMITH & STEVEN SMITH JT TEN                4750 N ROCHESTER RD                                                                            ROCHESTER         MI    48306‐1833
GLORIA SMITH CUST JEREMY E SMITH UGMA MI          4750 N ROCHESTER RD                                                                            ROCHESTER         MI    48306
GLORIA SMITH CUST NICHOLAS L SMITH UGMA MI        4750 N ROCHESTER RD                                                                            ROCHESTER         MI    48306‐1833

GLORIA STEADMAN GARRETT                           3747 PEACHTREE RD NE                  602                                                      ATLANTA           GA    30319
GLORIA STELLA GARAVENTA                           1920 VINE ST                                                                                   BERKELEY          CA    94709‐2014
GLORIA STRANG SELANDER                            22 VINEYARD REACH                                                                              MASHPEE           MA    02649‐4179
GLORIA STROHBECK KLOCK                            87 CANFIELD AVENUE                                                                             MINE HILL         NJ    07803‐3007
GLORIA SUKUP                                      21130 THIELE ST                                                                                ST CLAIR SHORES   MI    48081‐3057
GLORIA T BROWN                                    1303 OAK TREE DRIVE                                                                            CHAPEL HILL       NC    27514‐4078
GLORIA T HAJJ                                     7186 HOLIDAY DR                                                                                STANWOOD          MI    49346‐9739
GLORIA T HAN & MARK C HAN JT TEN                  16 COMPASS ROSE WAY                                                                            NEWARK            DE    19702
GLORIA T LEWANDOWSKI                              5863 MARSHWOOD                                                                                 SYLVANIA          OH    43560‐1017
GLORIA T ROGERS                                   7186 HOLIDAY DR                                                                                STANWOOD          MI    49346‐9739
GLORIA THOMAS                                     1220 AMHERST PLACE                                                                             DAYTON            OH    45406‐5032
GLORIA V DYNDUR                                   PO BOX 535                                                                                     WOONSOCKET        RI    02895‐0535
GLORIA V FARRELL                                  266 TAYLOR AVE                                                                                 CHESHIRE          CT    06410‐2132
GLORIA V GORMAN                                   1008 RIVIERA RD                                                                                WARMINSTER        PA    18974‐4042
GLORIA V MATTIUCCI & ANTHONY J MATTIUCCI JT TEN   2002 ROBINSON DR N                                                                             ST PETERSBURG     FL    33710‐3820

GLORIA V NESTOR                                   395 ROCHESTER RD                                                                               OAKLAND           MI    48363‐1558
GLORIA V WATSON                                   PO BOX 608                                                                                     ALABASTER         AL    35007‐0608
GLORIA VAN DIERENDONCK                            645 GLENWOOD CUTOFF                                                                            SCOTTS VALLEY     CA    95066‐2602
GLORIA VIERLING                                   1560 EIFERT RD                        LOT 30                                                   HOLT              MI    48842‐1970
GLORIA VILLAR                                     7358 SW 106TH CT                                                                               MIAMI             FL    33173‐2974
GLORIA VOGLIOTTI                                  PO BOX 502                                                                                     CHARLEROI         PA    15022‐0502
GLORIA W BROWN                                    16430 BRANDT ST                                                                                ROMULUS           MI    48174‐3213
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GLORIA W COLGROVE & DALE R COLGROVE JT TEN        8754 GLEN VIEW DR                                                                                          HOWELL           MI    48843‐8112

GLORIA W DANIELS                                  4020 K BLUE BONNET BLVD                                                                                    HOUSTON          TX    77025‐1739
GLORIA W LARRIEU                                  204 EAST WILLIAM DAVID PKWY                                                                                METAIRIE         LA    70005‐3308
GLORIA W M ROBBERS                                6114 BEAVER RIDGE ROAD                                                                                     KNOXVILLE        TN    37931‐3401
GLORIA W MOORE                                    ATTN GLORIA W M ROBBERS              6114 BEAVER RIDGE RD                                                  KNOXVILLE        TN    37931‐3401
GLORIA W NOWLIN                                   1020 PROGRESS ST APT M208                                                                                  PITTSBURGH       PA    15212
GLORIA WALSH                                      54 INDIAN TRAIL                                                                                            BRONX            NY    10465‐3931
GLORIA WEBER TR UA 08/26/93 GLORIA WEBER LIVING   7882 SAILBOAT KEY BLVD S APT         206                                                                   SOUTH PASADENA   FL    33707‐4409
TRUST
GLORIA WEISS                                      750 NORTHFIELD AVE #434                                                                                    WEST ORANGE      NJ    07052‐1110
GLORIA WILLIAMS                                   29441 GRANDON ST                                                                                           LIVONIA          MI    48150‐4055
GLORIA Y WILFONG                                  1116 LEXINGTON PKWY                                                                                        YPSILANTI        MI    48198‐3134
GLORIA ZETTEK TR GLORIA ZETTEK LIVING TRUST UA    103 REDBUD CROSSING                  APT 230                                                               HOUSTON          TX    77077‐5371
11/15/96
GLORIANN KIRKPATRICK                              23 SPALDING ST                                                                                             LOCKPORT         NY    14094‐4507
GLORIDINE MCNAIR CUST RONALD H HILLS JR UTMA FL   4321 GREEN STREET                                                                                          TAMPA            FL    33607‐4103

GLORY E GAY                                       1003 MANN RD                         POB 759                                                               SHILOH           GA    31826‐2649
GLORY OF THE WEST & CO                            C/O ACS UNCLAIMED PROPERTY           CLEARINGHOUSE INC      260 FRANKLIN ST 11TH FLOOR                     BOSTON           MA    02110
GLOVENIA A COYLE                                  10925 JOHNSON DR                                                                                           POLAND           IN    47868‐7429
GLOVER EARNEST                                    3810 VIRGINIA PARK                                                                                         DETROIT          MI    48206‐2365
GLOY B GREATHOUSE                                 540 AUBURN                                                                                                 PONTIAC          MI    48342‐3220
GLYN PICKUP                                       996 4 MILE NW RD 1A                                                                                        GRAND RAPIDS     MI    49544‐1547
GLYNDA FRITTS POLLARD                             8308 SOUTH QUEBEC                                                                                          TULSA            OK    74137‐1827
GLYNDEAN A LUTTRELL & DONNA G MUSSEN JT TEN       1302 W CLIFF DR                                                                                            SANTA CRUZ       CA    95060‐6356

GLYNDELL C JOHNSON                             852 WELLMEIER AVENUE                                                                                          DAYTON           OH    45410‐2907
GLYNIS GARDNER JONES                           3401 WESTBURY PL                                                                                              BIRMINGHAM       AL    35223‐2105
GLYNIS L DEFORD                                3409 VINSON DR                                                                                                LEWIS CENTER     OH    43035
GLYNN A DUNN                                   140 MALLARD RD                                                                                                FITZGERALD       GA    31750‐9405
GLYNN ABNEY                                    PO BOX 187                                                                                                    HAMILTON         OH    45012‐0187
GLYNN C WILLS                                  HC 02 BOX 103                                                                                                 MC GEE           MO    63763‐9712
GLYNN D SAMPLE                                 345 WARREN MOUNTAIN RD                                                                                        FLORAL           AR    72534‐9600
GLYNN E PALMER                                 96 MANNING ST                                                                                                 NEWARK           OH    43055‐5818
GLYNN H FRANK & DAGMAR E FRANK JT TEN          1414 LINDEN DR                                                                                                AMES             IA    50010‐5532
GLYNN M BREWER & KAROL A BREWER JT TEN         1419 CROOKED STICK LOOP                                                                                       LAKELAND         FL    33801‐0594
GLYNN MORGAN JR                                600 EAST DALLAS                                                                                               MCALLEN          TX    78501‐8957
GLYNN R WHITTEN JR CUST EMMA SCOTT WHITTEN     5212 RIVERS EDGE PL                                                                                           GLEN ALLEN       VA    23059‐5657
UTMA VA
GLYNN R WHITTEN JR CUST HARRISON GLYNN WHITTEN 5212 RIVERS EDGE PL                                                                                           GLEN ALLEN       VA    23059‐5657
UTMA VA
GNA TR FBO ALBERT J ELLIOTT IRA UA 09/22/95    6784 MCCARTY RD                                                                                               SAGINAW          MI    48603‐9605
GOBEL POE JR & PEGGY I POE JT TEN              1316 8 BARBEE RD                                                                                              SHELBY           NC    28150
GODFREY AUGUSTINE                              10213 DEEP SKIES DRIVE                                                                                        LAUREL           MD    20723‐5775
GODFREY C TULL                                 870 COLUMBUS AVE #3H                                                                                          NEW YORK         NY    10025‐4523
GODFREY M BONAMY                               9250 BISHOP                                                                                                   DETROIT          MI    48224‐1913
GODFREY MADKIN                                 12901 NORTHFIELD BLVD                                                                                         OAK PARK         MI    48237‐1667
GODFREY W SANDIFER                             19960 BURGESS                                                                                                 DETROIT          MI    48219‐1327
GODFREY W SCHROTH                              261 LOOKOUT AVE                                                                                               HACKENSACK       NJ    07601‐3606
GODLESKI FAMILY LTD                            C/O PETER GODLESKI                      9728 WYLAND COURT                                                     WINDERMERE       FL    34786‐5610
GOEBEL B PERCIVAL JR                           105 LIONS CLUB ROAD                                                                                           JACKSON          SC    29831‐3328
GOEBEL C POTTER                                1166 CHERRYLAWN                                                                                               PONTIAC          MI    48340‐1704
GOEBEL L MULLINS                               PO BOX 384                                                                                                    ELKHORN CITY     KY    41522‐0384
GOEFF OSMAND                                   6183 S PRAIRIE VIEW DR STE 1                                                                                  SALT LAKE CITY   UT    84118
GOJKO MARKOVIC                                 2226 W WILSON                                                                                                 CHICAGO          IL    60625‐2108
GOLDA BASCH                                    30 LINCOLN CT                                                                                                 FRANKLIN         IN    46131‐1003
GOLDA M UMSTATTD                               RT#1 BOX 420                                                                                                  BUTLER           MO    64730‐9801
                                             09-50026-mg                Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                           Address1                                Address2             Address3          Address4          City              State Zip

GOLDEN AMERICAN LIFE INSURANCE COMPANY FBO     1475 DUNWOODY DR                                                                                 W CHESTER         PA    19380‐1478
FRANCIS J BIGLIN
GOLDEN FINKLEA JR                              18475 ADRIAN DR                                                                                  SOUTHFIELD        MI    48075‐1803
GOLDEN R CARLIER                               543 S PENDLETON AVENUE                                                                           PENDLETON         IN    46064‐1329
GOLDEN RAY BAREFOOT                            3829 VESTA DR                                                                                    RALEIGH           NC    27603‐3843
GOLDEN STAR LODGE NO 09‐AF & AM                809 W MAIN ST                                                                                    LEAD              SD    57754‐1517
GOLDEN TOLBERT                                 10638 PINE ST                                                                                    TAYLOR            MI    48180‐3441
GOLDIE A MEADOWS                               921 SCHUETTER RD                                                                                 JASPER            IN    47546‐9059
GOLDIE BOUTS                                   1111 WILD TURKEY LN                                                                              LANSING           MI    48906
GOLDIE DICKERSON                               PO BOX 772 CRESTVIEW S                                                                           SANDY HOOK        KY    41171‐0772
GOLDIE E SAMPLES                               16975 IDA CENTER RD                                                                              PETERSBURG        MI    49270‐9745
GOLDIE G HOLLINGSWORTH                         124 E MAPLE COURT                                                                                CLARKSVILLE       IN    47129‐1852
GOLDIE I BENNETT                               1548 MAYO DRIVE                                                                                  DEFIANCE          OH    43512‐3320
GOLDIE I MIRON & MICHELE K RIEMAN JT TEN       2090 E WHITTEMORE AVE                                                                            BURTON            MI    48529‐1724
GOLDIE L CARLOZZI                              20375 CENTER RIDGE RD                   APT 159                                                  ROCKY RIVER       OH    44116‐3561
GOLDIE M ALLEN                                 836 MECHANIC ST                                                                                  GRAFTON           OH    44044‐9426
GOLDIE M CARSON                                933 W VINE ST                                                                                    ALBANY            IN    47320‐1526
GOLDIE M WARDEN                                10411 W 250 S                                                                                    RUSSIAVILLE       IN    46979‐9726
GOLDIE P STEWART                               1415 EAST MADISON AVE                                                                            ARKANSAS CITY     KS    67005‐8966
GOLDIE R DEAN                                  4325 LAKE AVE                                                                                    LOCKPORT          NY    14094‐1180
GOLDIE SMOLEK                                  35‐53 77TH ST                                                                                    JACKSON HEIGHTS   NY    11372‐4551

GOLDIE T BURBAGE                               11 MONROE AVE                                                                                    EAST ORANGE       NJ    07017‐4645
GOLDIE T MOORE & NORMAN E TOWNSEND JT TEN      3720 S ADAMS RD                                                                                  AUBURN HILLS      MI    48326‐3309

GOLDMAN D FREELAND                             114 BRITTAN ST                                                                                   HENDERSONVILLE    TN    37075‐2693
GOLDMAN ECKLES                                 536 S WEADOCK AV                                                                                 SAGINAW           MI    48601‐1680
GOLDMAN R DONATO                               14446 LONGACRE                                                                                   DETROIT           MI    48227‐4703
GOLDMON SHRABLE                                3095 CASHIN                                                                                      FLINT             MI    48506‐2020
GOLDYE S FLIEDER                               C/O DR WILLIAM FLIEDER                  16 OAKMONT AVE                                           EAST BRUNSWICK    NJ    08816‐2463
GOLMAN SCOTT JR                                7700 CANFIELD                                                                                    DETROIT           MI    48214‐1012
GONDA L SHOWS                                  1432 BATES COURT                                                                                 ATLANTA           GA    30319‐3506
GONIFASIO S FIERROS                            2841 HAMPSTEAD DR                                                                                FLINT             MI    48506‐1317
GONUL SAYGILIGUL                               6126 SAVOY CIR                                                                                   LUTZ              FL    33558‐2813
GONZALO GAMEZ                                  6333 WHITEHEAD                                                                                   DETROIT           MI    48210‐2376
GONZALO J RAMIREZ JR                           411 HAWTHORNE ST                                                                                 ALMA              MI    48801‐2744
GONZALO QUESADA                                1 CLINTON LN                                                                                     SCOTCH PLAINS     NJ    07076‐2828
GONZALO SANTA CRUZ                             29517 FLANDERS AVE                                                                               WARREN            MI    48088‐3704
GOOD SHEPHERD LUTHERAN CHURCH                  4257 GULF BREEZE PKWY                                                                            GULF BREEZE       FL    32563
GOODELL C HILL                                 6930 BEADLE RD                                                                                   CASEVILLE         MI    48725‐9404
GOPAL REDDY & TULASI REDDY JT TEN              1604 AUTUMN RIDGE CT                                                                             SPRINGFIELD       IL    62707‐4593
GORA GENTRY                                    7737 CANFORD ST A                                                                                CAMBY             IN    46113‐8298
GORAN EJBYFELDT                                BJORKHOLMSGATAN 15B                     VANERSBORG                             SWEDEN
GORAN TORSTEN ROSVALL                          FJARDINGSMANSV 134                      S‐19170 SOLLENTUNA                     SWEDEN
GORDA SHAMBAUGH WALKER                         1909 64TH ST                                                                                     WINDSOR HTS       IA    50322‐5903
GORDAN A FOUTS                                 889 OBERLIN DR                                                                                   FAIRFIELD         OH    45014‐2834
GORDAN I SKUKAN                                1500 E 3RD ST APT A                                                                              LONG BEACH        CA    90802‐3622
GORDANA KOVACEVIC                              8530 MANSION BLVD                                                                                MENTOR            OH    44060‐4145
GORDANA MATIC                                  6246 MCCANDLISH RD                                                                               GRAND BLANC       MI    48439‐9555
GORDEN DENT COLLINS                            PO BOX 934                                                                                       LOS ALTOS         CA    94023‐0934
GORDEN H DYER                                  1054 LANIER AV                                                                                   GAINESVILLE       GA    30501‐1730
GORDON A ALLEN                                 10467 DEERTRAIL DR                                                                               HARRISON          OH    45030
GORDON A APPEL & MRS SUSAN C APPEL JT TEN      203 WEST PRAIRIE                                                                                 LANARK            IL    61046‐1237
GORDON A COLLIER                               4223 RIVERWOOD DR                                                                                NEW PRT RCHY      FL    34653‐6622
GORDON A DORNICK & ANTHONY J DORNICK JT TEN    PO BOX 28                                                                                        KOLEEN            IN    47439

GORDON A DORNICK & DAVID G DORNICK JT TEN      PO BOX 28                                                                                        KOLEEN            IN    47439
GORDON A DORNICK & DONALD M DORNICK JT TEN     PO BOX 28                                                                                        KOLEEN            IN    47439
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GORDON A DUNSMORE                                3401 W PRICE RD                                                                                  ST JOHNS        MI    48879‐9268
GORDON A FRANCE                                  1070 W JEFFERSON ST                                                                              FRANKLIN        IN    46131‐2179
GORDON A FRANCE & MADELYN W FRANCE JT TEN        1070 W JEFFERSON ST                                                                              FRANKLIN        IN    46131‐2179

GORDON A FRANCE & MADELYN W FRANCE JT TEN        C/O FRANKLIN U M COMMONITY              1070 W JEFFERSON ST                                      FRANKLIN        IN    46131‐2179

GORDON A GREEN                                140 GLENMOOR DR                                                                                     CONWAY          SC    29526‐2645
GORDON A GREEN & SANDRA K GREEN JT TEN        140 GLENMOOR DR                                                                                     CONWAY          SC    29526‐2645
GORDON A HOKE                                 1725 HOLLINS ST                                                                                     BALTO           MD    21223‐2310
GORDON A HOLZLE                               8405 W RIVERSHORE DRIVE                                                                             NIAGARA FALLS   NY    14304‐4301
GORDON A LANG                                 4289 N HENDERSON RD                                                                                 DAVISON         MI    48423‐8401
GORDON A MACK                                 3079 ROLLING GREEN CT                                                                               MILFORD         MI    48380‐4470
GORDON A MC CLIMANS TR UA 10/01/81 GORDON A   9384 VARODELL DR                                                                                    DAVISON         MI    48423‐8608
MC CLIMANS
GORDON A MORELAND                             10731 NE CHURCH RD                                                                                  RIVERDALE       MI    48877‐9532
GORDON A NELSON                               42948 N JANETTE ST                                                                                  ANTIOCH         IL    60002‐8921
GORDON A PLEUTHNER JR                         114 CHADDUCK AVE                                                                                    BUFFALO         NY    14207‐1532
GORDON A POLOMCZAK                            63739 ENGLE RD                                                                                      CONSTANTINE     MI    49042‐9729
GORDON A SAMRAH                               407 PARK AVE SOUTH APT 26B                                                                          NEW YORK        NY    10016‐8414
GORDON A SANFORD                              2581 FISH LAKE RD                                                                                   LAPEER          MI    48446‐8354
GORDON A SCHULTE                              1185 FAIRVIEW DR                                                                                    WHITE LAKE      MI    48386‐4124
GORDON A SCHULTZ                              PO BOX 701                                                                                          OSCODA          MI    48750‐0701
GORDON A SCHULTZ                              8560 BLUMKE RD                                                                                      ALANSON         MI    49706‐9405
GORDON A SCHULTZ & MARY JO SCHULTZ JT TEN     PO BOX 701                                 7227 LAKEWOOD DR                                         OSCODA          MI    48750‐8712
GORDON A SCHWIND                              2424 S IRISH RD                                                                                     DAVISON         MI    48423‐8362
GORDON A SNODGRASS JR                         409 HOSPITAL RD                                                                                     WATERFORD       MI    48327
GORDON A STARKS                               11346 N STATE ROAD 138                                                                              EVANSVILLE      WI    53536‐8927
GORDON A TACHON & MRS DELORES M TACHON JT TEN 1425 SAYLES TRAIL                                                                                   BELLEVILLE      WI    53508‐9785

GORDON A VALENTINE                               13859 E WHITAKER DR                                                                              AURORA          CO    80015‐3913
GORDON ALASDAIR ROLAND                           6617 DAKOTA TRL                                                                                  EDINA           MN    55439‐1118
GORDON ALEXANDER & BERNICE R ALEXANDER JT TEN    496 CERRO PARK COURT                                                                             FOLSOM          CA    95630

GORDON ALLEN BARRON                              5855 SW 65TH AVE                                                                                 SOUTH MIAMI     FL    33143‐2060
GORDON B CROUCH                                  43 CLIFDON DR                                                                                    SIMSBURY        CT    06070‐1222
GORDON B FLINT JR                                40 DE WALT AVENUE                                                                                NEWPORT         NH    03773‐5409
GORDON B FLINT TR UA 06/04/93 GORDON B FLINT     169 SUMMER ST                           UNIT 14                                                  NEWPORT         NH    03773‐1283
REVOCABLE TRUST
GORDON B HYLER                                   15704 MAYFIELD DR                                                                                LANSING         MI    48906‐1419
GORDON B JAY                                     PO BOX 1964                                                                                      LITTLE RIVER    SC    29566‐1964
GORDON B KENNINGTON                              BOX 606                                                                                          WOLFEBORO       NH    03894‐0606
GORDON B MC KECHNIE                              5424 SEYMOUR LAKE RD                                                                             OXFORD          MI    48371‐4142
GORDON B PULLINS                                 5063 ROLLING ROCK CT                                                                             COLUMBUS        OH    43229‐4783
GORDON B WILSON                                  15216 CHAMPAIGN RD                                                                               ALLEN PARK      MI    48101‐1726
GORDON B WRIGHT                                  1442 WATER ST                                                                                    EATON RAPIDS    MI    48827‐1860
GORDON BARRATT                                   21 S SHIRLEY AVE                                                                                 MOORESTOWN      NJ    08057‐2247
GORDON BAUMBACH & SHERRIE CALAWAY JT TEN         350 FREDRICK CT                                                                                  LONGVIEW        TX    75605‐8280

GORDON BETTIOL                                   3736 FOREST ST                          BURNABY BC                             V5G 1W6 CANADA
GORDON BISHOP                                    595 BRIGGS ROAD                                                                                  LEAVITTSBURG    OH    44430‐9664
GORDON BROWN                                     10778 MITCHELL HILL DR                                                                           DRESDEN         OH    43821
GORDON BRUCE FRANDSEN                            6105 CHOWEN AVE SO                                                                               EDINA           MN    55410‐2725
GORDON BURNET FISHER                             255 GLENN AVE                                                                                    LAWRENCEVILLE   NJ    08648‐3755
GORDON C BAUSCHKE                                6538 JOHNSON RD                                                                                  COLOMA          MI    49038‐8621
GORDON C BRENNER & G DIANE BRENNER JT TEN        2731 W HUNT                                                                                      DECATUR         IL    62526‐3360
GORDON C CAMPBELL JR                             1810 SALEM CHURCH RD                                                                             IRMO            SC    29063‐9125
GORDON C CAMPBELL JR & MRS BETTY H CAMPBELL JT   1810 SALEM CHURCH RD                                                                             IRMO            SC    29063‐9125
TEN
GORDON C DUMONT                                  102 LIVINGSTON PLACE                                                                             METAIRIE        LA    70005‐3968
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GORDON C GAINER TR GORDON C GAINER TRUST UA   1507 CLEVELAND RD E #433                                                                        HURON           OH    44839‐9505
01/18/95
GORDON C GRAVELINE                            1344 DENWOOD                                                                                    DEARBORN         MI   48128‐1100
GORDON C HOFMEISTER                           272 KILLARNEY BEACH                                                                             BAY CITY         MI   48706‐8110
GORDON C JACOBSON                             1700 S RIVER RD                        APT 277                                                  JANESVILLE       WI   53546‐4504
GORDON C KALUSCHE                             N 40 W 22957 HATTIE CT                                                                          PEWAUKEE         WI   53072‐2721
GORDON C KATZ                                 4260 PLACIDA RD UNIT 22D                                                                        ENGLEWOOD        FL   34224
GORDON C KILTS & BEVERLY KILTS JT TEN         R D 2 W MOUNTAIN RD                                                                             GLENS FALLS      NY   12801‐9802
GORDON C LARZELERE                            29703 STOCKTON                                                                                  FARMINGTON HILLS MI   48336‐2762

GORDON C MANNOR                               3655 PERCY KING DRIVE                                                                           WATERFORD       MI    48329‐1360
GORDON C MANNOR & FRANCES M MANNOR JT TEN     3655 PERCY KING DRIVE                                                                           WATERFORD       MI    48329‐1360

GORDON C MILLER                               818 MARYWOOD CHASE                                                                              HOUSTON         TX    77079‐4217
GORDON C MILLER & SHARRI ANN MILLER JT TEN    818 MARYWOOD CHASE                                                                              HOUSTON         TX    77079‐4217
GORDON C PHILLIPS                             34 LYNN WAY                                                                                     INDIANA         PA    15701‐3646
GORDON C RAINS                                3375 TOWNSHIP LINE RD                  C/O FLONNIE MILDRED RAINS                                LEBANON         OH    45036‐9730
GORDON C SQUIER JR                            6465 NEWS ROAD                                                                                  CHARLOTTE       MI    48813‐9330
GORDON C THEISEN                              5790 STATE ROUTE 56                                                                             POTSDAM         NY    13676
GORDON C TODD & BARBARA D TODD JT TEN         44 MC KINLEY ST                                                                                 MANCHESTER      CT    06040‐4845
GORDON CAMERON MAC DONALD                     RR 4                                   CAMBRIDGE ON                           N1R 5S5 CANADA
GORDON CHARLES SHAMLEY CUST CODI CELESTE      10321 E 206TH ST                                                                                NOBLESVILLE     IN    46060‐8809
SHAMLEY UTMA IN
GORDON COLLINS BARRY                          19 MIDLAND AVE                                                                                  FRANKLIN        MA    02038‐1649
GORDON COOPER & MARY NELL COOPER JT TEN       30 PERSHING AVE                                                                                 RIDGEWOOD       NJ    07450‐3909
GORDON CRAIG BACON                            8495 ANDORA ROAD                                                                                E ROCHESTER     OH    44625‐9603
GORDON D BLOUGH                               1179 NASH HWY                                                                                   CLARKSVILLE     MI    48815
GORDON D BOWMAN II                            BOX 817                                                                                         MT JACKSON      VA    22842‐0817
GORDON D BOWMAN III                           BOX 817                                                                                         MT JACKSON      VA    22842‐0817
GORDON D BUSHA                                743 BOUNDLINE ROAD                                                                              WOLCOTT         CT    06716‐1541
GORDON D CHALMERS                             1430 HIGHBUSH TR                       PICKERING ON                           L1V 1N5 CANADA
GORDON D CROOM                                51 OAKRIDGE COURT                                                                               ELKTON          MD    21921‐3927
GORDON D DANFORTH                             PO BOX 308                                                                                      WALHALLA        MI    49458‐0308
GORDON D ENNIS                                ATTN LESLIE ENNIS                      3003 NE 95TH ST                                          VANCOUVER       WA    98665‐9420
GORDON D GALLAGHER & JACQUELINE M GALLAGHER   6318 E POTTER ROAD                                                                              BURTON          MI    48509‐1389
JT TEN
GORDON D HAACKE                               132 PILGRIM AVE                        WINNIPEG MB                            R2M 0L6 CANADA
GORDON D HARRIS                               1292 KRA NUR DR                                                                                 BURTON          MI    48509‐1631
GORDON D KRAATZ                               19132 HANNA                                                                                     MELVINDALE      MI    48122‐1686
GORDON D LANE JR                              390 W RAHN ROAD                                                                                 DAYTON          OH    45429‐2064
GORDON D LAUZON & LILY L LAUZON JT TEN        PSC 103 BOX 1407                                                                                APO             AE    09603‐0015
GORDON D LEWIS                                13314 CRANE RIDGE DRIVE                                                                         FENTON          MI    48430
GORDON D LINDSAY                              460 SOUTH OHIO AVENUE                                                                           COLUMBUS        OH    43205‐2752
GORDON D MANUEL                               411 N 6TH ST 2202                                                                               EMERY           SD    57332‐2124
GORDON D NEWMAN                               320 W CHERYL AVENUE                                                                             HURST           TX    76053‐4540
GORDON D PRINSTER                             545 JEFFERSON                                                                                   ST CHARLES      MO    63301‐2702
GORDON D ROACH JR                             11730 STRASBUG RD                                                                               ERIE            MI    48133‐9798
GORDON D ROBARTS                              6233 WILSON DR                                                                                  WATERFORD       MI    48329‐3172
GORDON D ROSS                                 4892 JEANETTE ST                       FAIRMONT HOT SPR BC                    V0B 1L1 CANADA
GORDON D RYCKMAN                              8638 E BURSHAGE CIR                                                                             GOLD CANYON     AZ    85219‐3332
GORDON D RYCKMAN & PHYLLIS RYCKMAN JT TEN     8638 E BURSAGE CIR                                                                              GOLD CANYON     AZ    85219‐3332

GORDON D SCHOPIERAY                           5152 MORRISH RD                        APT 4                                                    SWARTZ CREEK    MI    48473‐1800
GORDON D SIMMONS & MARTHA ANN SIMMONS JT      RD #4 BOX 302                                                                                   GREENSBURG      PA    15601‐9473
TEN
GORDON D SPEIR                                7 FARMHOUSE RD                                                                                  NEWARK          DE    19711‐7458
GORDON D WARTENBEE                            RR 2 BOX 140                                                                                    LINCOLN         MO    65338‐9589
GORDON D WILSON                               1635 N W MADRONA CT                                                                             MINNVILLE       OR    97128‐5133
GORDON DAVID FOURMAN                          1556 STATE ROUTE 49                                                                             ARCANUM         OH    45304‐9614
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Name                                            Address1                            Address2                    Address3   Address4          City            State Zip

GORDON DENNIS SPLATT                          10 ASHLEIGH CT                                                                                 LANSING         MI    48906‐1540
GORDON DENNIS TERRY                           BOX 534                                                                                        MANOMET         MA    02345‐0534
GORDON E BROWN                                210 WEST HAMILTON ST                                                                           OBERLIN         OH    44074‐1806
GORDON E COOL                                 8508 MELTRICA AVE                                                                              GRAND BLANC     MI    48439‐8305
GORDON E CORNELL                              23855 HOLLANDER                                                                                DEARBORN        MI    48128‐1211
GORDON E FINNEGAN                             3378 OLIAN AVE                                                                                 WARREN          OH    44485‐1317
GORDON E HENDRIX                              4170 HOWE RD                                                                                   GRAND BLANC     MI    48439‐7957
GORDON E HISTED                               5433 N HOPE RD                                                                                 HOPE            MI    48628‐9701
GORDON E KEEF JR & PATRICIA G GLENN JT TEN    23 MASON RD                                                                                    YERINGTON       NV    89447‐3111
GORDON E KLOHA                                20606 N 142ND AVE                                                                              SUN CITY WEST   AZ    85375‐5541
GORDON E LARSEN                               814 FERNVIEW DR                                                                                ST LOUIS        MO    63141‐6113
GORDON E LARSEN                               21056 CARIBOU AVE                                                                              APPLE VALLEY    CA    92308‐7898
GORDON E LEE                                  C/O JOHN S LEE                        919 N GRANDVIEW AVE APT 9                                DAYTONA BEACH   FL    32118‐6628
GORDON E LINCE                                4105 E STANLEY ROAD                                                                            MT MORRIS       MI    48458‐8806
GORDON E MARKS JR                             1404 FRONT ST                                                                                  VALRICO         FL    33594‐2918
GORDON E MC LAUGHLIN                          PO BOX 676                                                                                     GREENSBURG      IN    47240‐0676
GORDON E NOON                                 401 E BEVAN DR                                                                                 JOLIET          IL    60435‐5608
GORDON E PAKKALA                              2040 PLEASANT VIEW                                                                             LANSING         MI    48910‐0348
GORDON E PARKE                                2720 HERON POND LN N E                                                                         POULSBO         WA    98370‐8619
GORDON E RUTKOWSKI & BARBARA ANN RUTKOWSKI JT 2605 RILEY CENTER ROAD                                                                         MEMPHIS         MI    48041‐1110
TEN
GORDON E SHEPARD & LORETTA M SHEPARD JT TEN   1375 W NEEDMORE HWY                                                                            CHARLOTTE       MI    48813‐8628

GORDON E SMITH                                 11107 OLD MILL RD                                                                             SPENCER         OH    44275‐9536
GORDON E TEGNELL CUST MICHAEL E TEGNELL U/THE  25 WEST 84 APT 3B                                                                             NEW YORK        NY    10024‐4717
NY U‐G‐M‐A
GORDON E TIDMORE                               PO BOX 1797                                                                                   VERNON          TX    76385‐1797
GORDON E TRENT                                 288 HASTY TRAIL                                                                               CANTON          GA    30115‐5827
GORDON E TURNER                                34 CONCORD DRIVE                                                                              PITTSFORD       NY    14534‐4036
GORDON E WESTRAY                               500 PATE ST                                                                                   ALBANY          TX    76430‐3201
GORDON E WHITE TR UA 11/18/1999 GORDON E WHITE 3233 S QUEBEC                                                                                 TULSA           OK    74135
REVOCABLE TRUST
GORDON E WOOTTON                               2203 EUCALYPTUS AVE                                                                           ESCONDIDO       CA    92029‐5549
GORDON E WRIGHT                                713 SURREY PLACE                                                                              LEESBURG        FL    34748‐6243
GORDON E YERKE                                 2100 E HUDSON                                                                                 ROYAL OAK       MI    48067‐3531
GORDON EARL WILLIAMS                           4417 OLD COLONY DRIVE                                                                         FLINT           MI    48507‐3537
GORDON EARLE COSSABOOM JR                      24470 WILLOWBROOK                                                                             NOVI            MI    48375‐3571
GORDON EDWARD KING                             PO BOX 176                                                                                    FAIRFIELD       OH    45018
GORDON EVANS                                   38 BILLINGSGATE DRIVE                                                                         DENNIS          MA    02638‐2233
GORDON EVENDER CRAWLEY                         233 PLEASANT AVE RR 2 BOX 69         RIDGEWAY LOSINO                        ZZZZ CANADA
GORDON F BROOKS                                125 BAYSIDE DRIVE                                                                             BALTIMORE       MD    21222‐4915
GORDON F CALDWELL & DOROTHY CALDWELL JT TEN    611 GOLF COURSE DR NE                                                                         FT WALTON BEACH FL    32547‐1709

GORDON F COX                                    58097 ALDER DR                                                                               LOGANVILLE      WI    53943
GORDON F EVERLY                                 121 KRONOS LOOP                                                                              CENTERTOWN      KY    42328‐9747
GORDON F KASEL                                  142 SKYLINE DR                                                                               GRANITE FALLS   MN    56241‐1805
GORDON F KELLEY                                 BOX R GARMISCH UNIT 24514           BOX R48                                                  APO             AE    09053
GORDON F LARSON                                 301 E 63RD STAPT 17‐B                                                                        NEW YORK        NY    10065
GORDON F MELVIN                                 4143 KLEPINGER RD                                                                            DAYTON          OH    45416‐2140
GORDON F STUCK                                  2001 SXXX RD                                                                                 CHOCTAW         OK    73020
GORDON FINKELSON                                W7211 OAK RD                                                                                 WITHEE          WI    54498‐9037
GORDON G BANKS & ARLENE C BANKS JT TEN          6093 W STANLEY ROAD                                                                          MT MORRIS       MI    48458‐9429
GORDON G BRIGGS                                 4978 CLUBVIEW CT E                                                                           BRADENTON       FL    34203‐4075
GORDON G CHINN                                  76 SCENIC DRIVE                                                                              MANSFIELD       OH    44907‐2843
GORDON G GLOVER                                 552 HILL ST                                                                                  SUFFIELD        CT    06078‐1514
GORDON G GRIEVER                                4665 POWELL RD                                                                               HUBER HEIGHTS   OH    45424‐5862
GORDON G HAWLEY & LOUISE M HAWLEY TR UA         2146 CLUB HOUSE DRIVE                                                                        LILLIAN         AL    36549
05/05/2008 HAWLEY LIVING TRUST
GORDON G PENNELL                                9417 DARYL                                                                                   PORTAGE         MI    49024‐6023
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GORDON G PLAGGEMARS                             5636 BETHANNE DR SW                                                                             GRANDVILLE       MI    49418‐9786
GORDON G PLAGGEMARS & RUTH L PLAGGEMARS JT      5636 BETHANNE DR SW                                                                             GRANDVILLE       MI    49418‐9786
TEN
GORDON G WOLFGANG CUST KRISTEN K WOLFGANG       7862 W 155TH TER                                                                                OVERLAND PARK    KS    66223‐3082
UTMA CO
GORDON G WOLFGANG CUST WILLIAM D WOLFGANG       7862 W 155TH TER                                                                                OVERLAND PARK    KS    66223‐3082
UTMA CO
GORDON GERBER                                   460 FRENE DR                                                                                    HERMANN          MO    65041‐1534
GORDON GIBBONS & BRENDA GIBBONS JT TEN          1065 CR 1948                                                                                    SALTILLO         MO    38866‐6835
GORDON GOLDSMITH                                45 E SHORE ROAD                                                                                 HALESITE         NY    11743‐1127
GORDON GOLDSMITH & SONYA GOLDSMITH JT TEN       45 E SHORE ROAD                                                                                 HALESITE         NY    11743‐1127

GORDON GRIMM                                    1528 W HARBOUR TOWNE CIRCLE                                                                     MUSKEGON         MI    49441
GORDON H HALE                                   3412 AMBLESIDE DRIVE                                                                            FLUSHING         MI    48433‐9775
GORDON H HALE & ADA B HALE JT TEN               3412 AMBLESIDE DRIVE                                                                            FLUSHING         MI    48433‐9775
GORDON H HANSON & MARILYN J HANSON JT TEN       23W168 SHERBROOKE LN                                                                            GLEN ELLYN       IL    60137‐6921

GORDON H LEAHY SR & MARGARET SUE LEAHY JT TEN   5N539 JENS‐JENSON LN                                                                            ST CHARLES       IL    60175‐8205

GORDON H MARTIN                                 15819 28 MILE RD                                                                                ALBION           MI    49224‐9495
GORDON H MOORE                                  6000 RIVERSIDE DR APT A234                                                                      DUBLIN           OH    43017‐1494
GORDON H MURRAY                                 114 DUNCAN STREET                                                                               EAST BREWTON     AL    36426
GORDON H PALNAU                                 54547 MEADOW CREST CIR                                                                          NEW BALTIMORE    MI    48047‐6303
GORDON H RICHARDSON & ANNE RICHARDSON JT TEN    5728 BENT TREE DR                                                                               GAYLORD          MI    49735‐7604

GORDON H SAGE                                   10379 FLAT STONE LOOP                                                                           BONITA SPGS      FL    34135‐5033
GORDON H SCUDAMORE TR UA 10/29/96 VIRGINIA S    455 CARLISLE LANE NW                                                                            ROCHESTER        MN    55901
HENDERSON TRUST
GORDON H SMITH                                  1 ELM STREET                           BOX 427                                                  NASSAU           NY    12123‐0427
GORDON H SOUTTER                                R ROUTE 3                              ST MARYS ON                            N4X 1C6 CANADA
GORDON H WESLEY & KAREN K WESLEY JT TEN         1052 TROON                                                                                      HIGHLAND         MI    48357‐4769
GORDON H WILLIAMSON                             10394 SHAHAPTIAN AVE                                                                            HESPERIA         CA    92345‐7703
GORDON HINRICHS                                 9639 N ARROWWOOD ROAD                                                                           MEQUON           WI    53092‐4701
GORDON J AITKEN & LORRAINE C AITKEN JT TEN      2805 JOHN COFFEE CT                                                                             WOODBRIDGE       VA    22192‐1221
GORDON J BISCHOFF                               8100 WHITEFORD CENTER RD                                                                        OTTAWA LAKE      MI    49267‐9541
GORDON J CARR                                   270 ROXFORD RD N                                                                                SYRACUSE         NY    13208‐1944
GORDON J CHAPEL                                 BOX 58                                                                                          MALDEN           MO    63863‐0058
GORDON J CHEW                                   3743 N SHANDIN DR                                                                               SAN BERNARDINO   CA    92407‐5849
GORDON J DONN                                   4284 W RILEY RD                                                                                 GLADWIN          MI    48624‐8723
GORDON J HEWITT                                 208 MCKENDREE AVE                                                                               ANNAPOLIS        MD    21401‐3624
GORDON J JANES & BILLIE RAE JANES JT TEN        9224 HALF ACRE DR                                                                               WHITE LAKE       MI    48386‐3326
GORDON J KATZ                                   5995 BIRCH DRIVE                                                                                BARRYTON         MI    49305‐9508
GORDON J KIDA                                   39799 CHEVIOT                                                                                   CANTON           MI    48188‐1523
GORDON J KRAUSE & MARY P KRAUSE JT TEN          3425 WARDS POINTE                                                                               ORCHARD LAKE     MI    48324‐1656
GORDON J LYLE                                   5300 CONIFER DR                                                                                 COLUMBIAVILLE    MI    48421‐8988
GORDON J MADILL                                 5433 SHERIDAN RD                                                                                DURAND           MI    48429
GORDON J MC DOUGALL                             412 CHANDLER ST                                                                                 FLINT            MI    48503‐2142
GORDON J MC GINNIS JR                           5415 STURBRIDGE RD                                                                              GRAND BLANC      MI    48439‐8782
GORDON J MICHAELS                               10584 WALIS RUN RD                                                                              TROUT RUN        PA    17771
GORDON J RUPP                                   621 WILTON RD                                                                                   TOWSON           MD    21286‐7615
GORDON J SMITH                                  8708 WILLOW GROVE DR                                                                            FORT WAYNE       IN    46804‐2651
GORDON J SWIGGUM                                105 1/2 FRONT ST                                                                                MILTON           WI    53563‐1128
GORDON J WALTERS                                7270 WEBSTER RD                                                                                 MOUNT MORRIS     MI    48458‐9430
GORDON JAMES MC MULLEN JR                       21724 E VALLEY WOODS                                                                            BIRMINGHAM       MI    48025‐2637
GORDON JAMES WHITNEY                            510 DIEPPE AVE                         OSHAWA ON                              L1H 3H2 CANADA
GORDON JOHNSON SR                               3232 W LYDIA AVE                                                                                ROBBINS          IL    60472‐2235
GORDON JR WRAY                                  5415 WADSWORTH RD                                                                               DAYTON           OH    45414
GORDON K FUNK JR                                21055 LAWRENCE 1167                                                                             VERONA           MO    65769
GORDON K JONES                                  5151 BUFFALO SPEEDWAY                  APT 4310                                                 HOUSTON          TX    77005‐4298
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GORDON K NORWOOD & MRS CONSTANCE G               12704 ENCINO                                                                                   MANCHACA       TX    78652‐5611
NORWOOD JT TEN
GORDON K ROBERSON & LINDA C ROBERSON JT TEN      203 PARK DR                                                                                    UNION          SC    29379‐1918

GORDON K ROBERSON & LINDA C ROBERSON TEN ENT     203 PARK DRIVE                                                                                 UNION          SC    29379‐1918

GORDON K YOUNG                                   712 WALLINGTON CT NW                                                                           LILBURN        GA    30047‐2697
GORDON KOLBERG                                   207 PROSPECT DRIVE                                                                             GLENDIVE       MT    59330‐1942
GORDON L ANDERSON & PAULETTE ANDERSON JT TEN     4621 VICTORIA RD                                                                               CHARLESTON     WV    25313‐2039

GORDON L BARD                                    562 MELROSE LANE                                                                               MOUNT MORRIS   MI    48458‐8926
GORDON L BARD & BARBARA J BARD JT TEN            562 MELROSE LANE                                                                               MOUNT MORRIS   MI    48458‐8926
GORDON L BRAVERMAN                               484 SOUTH PARKWAY                                                                              CLIFTON        NJ    07014‐1243
GORDON L BURTON                                  1053 CHRISTINA CT                                                                              DAVISON        MI    48423‐3414
GORDON L COOK                                    9823 N LAKE POINT DR                                                                           OTTER LAKE     MI    48464
GORDON L CRAWFORD                                1022 PARK ST                                                                                   HIGHLAND       MI    48031
GORDON L DAVIS                                   1955 HART DRIVE                                                                                HEBRON         KY    41048‐9386
GORDON L DUBRUL & MRS LUCILLE A DUBRUL JT TEN    24315 MASCH                                                                                    WARREN         MI    48091‐4482

GORDON L FOURNIER & BARBARA A FOURNIER JT TEN    3203 IRELAND RD                                                                                MORROW         OH    45152

GORDON L GILMORE                                  4802 MONAC                                                                                    TOLEDO         OH    43623‐3751
GORDON L HAGGARD & LOUISE C HAGGARD & DAVID M 2219 SKP WAY                                                                                      WAUCHULA       FL    33873‐4870
HAGGARD JT TEN
GORDON L HANKS                                    3301 S CANFIELD RD                                                                            EATON RAPIDS   MI    48827‐8029
GORDON L HARMAN JR                                2631 ORCHARD LANE                                                                             FLINT          MI    48504‐4501
GORDON L HAYWARD                                  12521 RAILROAD ST                                                                             CLIO           MI    48420‐8231
GORDON L HAYWARD                                  9650 KELLER ROAD                                                                              DELTON         MI    49046‐9719
GORDON L HILL                                     30204 S LITTLE RD                                                                             GARDEN CITY    MO    64747‐9000
GORDON L JACOBS                                   23633 WEST TEN MILLE RD                                                                       REED CITY      MI    49677
GORDON L JOST                                     2014 HWY 28                                                                                   OWENSVILLE     MO    65066‐2814
GORDON L JOST & SANDRA L JOST JT TEN              2014 HIGHWAY 28                                                                               OWENSVILLE     MO    65066‐2814
GORDON L KEILLOR TR GORDON L KEILLOR LIVING TRUST 3540 SHELBY ST                                                                                WATERFORD      MI    48328‐1374
UA 06/22/93
GORDON L KNAUSS                                   61117 SHOREWOOD DR                                                                            THREE RIVERS   MI    49093‐9308
GORDON L KRUPP & MARTHA KRUPP JT TEN              12109 DODGE RD                                                                                MONTROSE       MI    48457‐9119
GORDON L LA GANKE                                 11234 STANLEY LANE                                                                            TWINSBURG      OH    44087‐2672
GORDON L LE PAGE                                  95 DREAHOOK RD                                                                                LEBANON        NJ    08833‐5014
GORDON L LEVINE                                   4309 OAK KNOLL COURT                                                                          NORTHBROOK     IL    60062‐1052
GORDON L LOHR                                     9177 YALE RD                                                                                  GREENWOOD      MI    48006‐1410
GORDON L MC INTOSH                                3152 SCHOOLHOUSE DR                                                                           WATERFORD      MI    48329‐4330
GORDON L MYERS                                    10486 DAR LN                                                                                  GOODRICH       MI    48438‐9466
GORDON L NIXON CUST PETER T NIXON UGMA CA         810 CORONADO BLVD                                                                             SACRAMENTO     CA    95864‐5212
GORDON L NIXON CUST STEVEN M NIXON UGMA CA        810 CORONADO BLVD                                                                             SACRAMENTO     CA    95864‐5212

GORDON L PARKER                                 3801 BLACKINGTON AVE                                                                            FLINT          MI    48532‐5002
GORDON L PUCKETT                                5217 LENNON ROAD                                                                                FLINT          MI    48507‐1045
GORDON L REEVES                                 8250 WOLVERINE TRAIL                                                                            ATLANTA        MI    49709‐8705
GORDON L REEVES & JAMESINA M REEVES JT TEN      8250 WOLVERINE TRAIL                                                                            ATLANTA        MI    49709‐8705
GORDON L RICHIE                                 1482 E HIGHWOOD RD                                                                              BEAVERTON      MI    48612‐9432
GORDON L ROBINSON                               661 DARWIN ST                                                                                   WESTLAND       MI    48186‐9204
GORDON L SILVER                                 8058 RED FOX RD                                                                                 STANWOOD       MI    49346‐9641
GORDON L STUART TR UA 02/08/96 STUART REVOCABLE PO BOX 3557                                                                                     CORRALES       NM    87048‐3557
LIVING TRUST B
GORDON L TALLMAN                                11520 BROADBENT RD                                                                              LANSING        MI    48917‐9697
GORDON L TAYLOR                                 1690 KILLARNEY DR                                                                               HOLT           MI    48842‐2906
GORDON L TAYLOR CUST MARTY LYNN TAYLOR UGMA 1690 KILLARNEY DR                                                                                   HOLT           MI    48842‐2906
NJ
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GORDON L TAYLOR CUST ROBERT WESLEY TAYLOR       1690 KILLARNEY DR                                                                                HOLT              MI    48842‐2906
UGMA MI
GORDON L WAGNER                                 3043 PLEASANT DR                                                                                 GREENFIELD       IN     46140‐9294
GORDON L WATEROUS                               2314 ARDMORE AVE                                                                                 MANHATTAN BCH CA        90266‐2528
GORDON LANG & MAJORIE LANG JT TEN               335 CANDLEWOOD RD                                                                                BROOMALL         PA     19008‐2217
GORDON LEONG & JEAN A LEONG JT TEN              1389 ALA HOKU PLACE                                                                              HONOLULU         HI     96819‐1430
GORDON LLOYD GEORGE                             965 WILTSCHIRE COURT                                                                             SALINE           MI     48176‐1086
GORDON M ARMS                                   2540 VERNOR RD                                                                                   LAPEER           MI     48446‐8329
GORDON M AULA                                   804 FLORENCE AVE                                                                                 RACINE           WI     53402‐4045
GORDON M BISHOP & LOU JEAN BISHOP JT TEN        333 CIRCLE DR                                                                                    DELMONT          PA     15626
GORDON M BOSSE                                  224 BACK RIVER NECK RD                                                                           BALTIMORE        MD     21221‐3928
GORDON M CAYLOR                                 43514 RIVERPOINT DR                                                                              LEESBURG         VA     20176‐3800
GORDON M COUTTS                                 33953 HARVEST WAY                                                                                WILDOMAR         CA     92595‐9123
GORDON M GAMMELL                                PO BOX 2657                                                                                      KETCHUM          ID     83340‐2657
GORDON M GLIMM & IRENE A GLIMM JT TEN           1064 S RIATA STREET                                                                              GILBERT          AZ     85296‐3692
GORDON M HORAK & KATHLEEN L HORAK JT TEN        27161 CALLE JUANITA                                                                              CAPISTRANO BEACH CA     92624‐1063

GORDON M KEECH                                  1896 W SPICERVILLE                                                                               CHARLOTTE         MI    48813‐8513
GORDON M MCKILLOP                               PO BOX 114                                                                                       GAYLORD           MI    49734‐0114
GORDON MARK GARLICK JR & GORDON MARK GARLICK    952 CARMEL ROAD                                                                                  MILLVILLE         NJ    08332‐9755
SR JT TEN
GORDON MARK GARLICK SR CUST MARGARET LYANN      909 S MADISON ST                                                                                 LUDINGTON         MI    49431‐2531
GARLICK UGMA MI
GORDON MARKS                                    214 SNOWDALE DR                                                                                  SYRACUSE          NY    13209‐1931
GORDON MARSHALL                                 60 CHESTNUT ST                                                                                   RIDGEFIELD PARK   NJ    07660‐2246
GORDON MAX DENNINGS                             1094 VAN VLEET RD                                                                                SWARTZ CREEK      MI    48473‐9751
GORDON MEGIBOW                                  12B BEN FRANKLIN DR                                                                              MONROE TWP        NJ    08831
GORDON MUFSON                                   C/O STUART MUFSON                       4316 BEACON COURT                                        BLOOMINGTON       IN    47408‐3001
GORDON N CRAIGIE                                160 COTTAGE ST                                                                                   LITTLETON         NH    03561‐4203
GORDON N DIXON                                  PO BOX 272                                                                                       CLARKSVILLE       OH    45113‐0272
GORDON N FIDURA                                 PO BOX 7155                                                                                      RICHMOND          VA    23221‐0155
GORDON N JONES                                  50 DOCKHAM RD                                                                                    COLUMBIAVILLE     MI    48421‐9747
GORDON N MONROE                                 288 RECTOR RD                                                                                    VIENNA            WV    26105‐8257
GORDON N MONROE & MRS MARGARET MONROE JT        288 RECTOR RD                                                                                    VIENNA            WV    26105‐8257
TEN
GORDON N PANKEY                                 383 COVE VIEW DR                                                                                 WATERFORD         MI    48327‐3785
GORDON N ROBSON                                 18 PRINCEWAY DRIVE                      ST CATHARINES ON                       L2N 2X6 CANADA
GORDON N SANTOS                                 1036 CYPRESS POINT                                                                               MANSFIELD         TX    76063‐2639
GORDON N SCHULTZ CUST CARRIE SUSAN SCHULTZ      SIX SPENCER CIR                                                                                  WAYLAND           MA    01778‐4551
UGMA MA
GORDON OATWAY                                   286 PRINCESS AVE                        WILLOWDALE ON                          M2N 3S4 CANADA
GORDON P BUZBY JR                               77 E PRINCETON ROAD                                                                              BALA CYNWYD       PA    19004‐2240
GORDON P CAMPBELL                               GENERAL DELIVERY                                                                                 FORT MYERS        FL    33902‐9999
GORDON P CLAVIN                                 PO BOX 1294                                                                                      ABITA SPRINGS     LA    70420‐1294
GORDON P COHEN CUST RACHEL COHEN UGMA MA        12226 CALLAWAY GARDENS RD                                                                        BOYNTON BEACH     FL    33437‐6011

GORDON P DEMELLO                                5652 BUTANO PARK DRIVE                                                                           FREMONT           CA    94538‐3211
GORDON P DENLEY & MRS HELEN G DENLEY JT TEN     PO BOX 7582                                                                                      GILFORD           NH    03247‐7582

GORDON P HANCOCK JR                             1719 GLENDON ROAD                                                                                SALEM             VA    24153‐5454
GORDON P HUMBRACHT & LINETTE M HUMBRACHT JT     111 HILLSIDE DR                                                                                  NEW BADEN         IL    62265‐2010
TEN
GORDON P KENN & LINDA KENN JT TEN               770 CENTRAL AVE APT 11                                                                           DOVER             NH    03820‐3437
GORDON P KUJAWA                                 21709 BON BRAE                                                                                   ST CLAIR SHORES   MI    48081‐2239
GORDON P SCHROEDER II                           1110 BALDWIN ROAD                                                                                OXFORD            MI    48371
GORDON PATRICK GOTTSCHE                         457 EL ARROYO RD                                                                                 HILLSBOROUGH      CA    94010‐6670
GORDON PERRY EMERSON                            154 GRANDVIEW DR                                                                                 COBLESKILL        NY    12043
GORDON PHILPOT                                  600 CHERRY TRACE DR                                                                              RICHMOND          KY    40475‐8478
GORDON R BARRY                                  1752 N FILBERT ST                                                                                ALLENTOWN         PA    18104‐1316
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GORDON R CARR                                    13702 FERN TRAIL DR                                                                              NORTH FORT MYERS FL     33903‐7202

GORDON R CORNELIUS                               520 SE 2ND APT 904                                                                               WASHINGTON        IN    47501‐4008
GORDON R EARL                                    854 VOLANTE PL                                                                                   GOLETA            CA    93117‐1701
GORDON R FRANKLIN                                207 CRUTCHER CI                                                                                  ATHENS            AL    35611‐4774
GORDON R GRAYBEHL                                12635 WIXOM ST                                                                                   NORTH             CA    91605‐2146
                                                                                                                                                  HOLLYWOOD
GORDON R GRIFFIN                                 2167 ATKINS                                                                                      LAKEWOOD          OH    44107‐5405
GORDON R HINCKLE                                 3840 AMBER COURT                                                                                 PLAINFIELD        IL    60586
GORDON R JAMES                                   7321 RIVIERA DR                                                                                  FORT WORTH        TX    76180‐8215
GORDON R KOCH                                    10337 S HIGHMEADOW CT                                                                            TRAVERSE CITY     MI    49684‐7675
GORDON R LOGAN                                   6286 PHAETON DR                                                                                  ROCKFORD          IL    61108
GORDON R MAITLAND CUST GORDON WALLACE            262 STEPHENS RD                                                                                  GROSSE POINTE     MI    48236‐3410
MAITLAND UGMA MI
GORDON R PAYNE & ANN K PAYNE JT TEN              1391 STRATTON PL                                                                                 MT PLEASANT       SC    29466‐8936
GORDON R PRIBEK                                  505 MILL ST                                                                                      SHEBOYGAN FLS     WI    53085
GORDON R SHARP & DELORES M SHARP JT TEN          305 64TH STREET                                                                                  NEWAYGO           MI    49337‐9051
GORDON R SMITH                                   1238 HARTFORD TPKE                      APT 97                                                   VERNON ROCKVL     CT    06066‐4547
GORDON R STUCK                                   9950 TECUMSEH RD                                                                                 NORMAN            OK    73026‐5980
GORDON R THOMASON                                9616 SIL                                                                                         TAYLOR            MI    48180‐3027
GORDON R WELCH                                   G‐4065 TOWNVIEW DR                                                                               FLINT             MI    48532
GORDON R WELCH                                   7739 COONHILL RD                        PO BOX 83                                                MUNITH            MI    49259‐0083
GORDON R WEST                                    8263 E STATE ROUTE 40                                                                            NEW CARLISLE      OH    45344‐9681
GORDON R WHITE JR                                503 EDGEHILL RD                                                                                  NEW BERN          NC    28562‐7547
GORDON RUSSELL KODAT                             1167 WELLS ST                                                                                    BURTON            MI    48529‐1111
GORDON RYDMAN & STELLA RYDMAN JT TEN             2507 NORTH LINCOLN                                                                               ROSEBUSH          MI    48878‐9712
GORDON S BAILEY JR                               112 GRAND CENTRAL                                                                                SHAUMBURG         IL    60193‐1368
GORDON S BROWN & MAXINE H BROWN JT TEN           841 E MAIN ST                                                                                    FLUSHING          MI    48433‐2235
GORDON S GRAY                                    18 SPRUCE ROAD                                                                                   WESTFORD          MA    01886‐1876
GORDON S HEARD                                   4723 E 5TH PL                                                                                    TULSA             OK    74112‐2722
GORDON S HEIMBACH                                1095 CHURCH RD                                                                                   EAST GREENVILLE   PA    18041‐2214
GORDON S HOLDER & MRS PATRICIA T HOLDER JT TEN   3403 SILVER MAPLE PLACE                                                                          FALLS CHURCH      VA    22042‐3545

GORDON S ITAMI                                   295 OAK HILL RD                                                                                  BARRINGTON        IL    60010‐1642
GORDON S ITAMI                                   295 OAK HILL RD                                                                                  BARRINGTON        IL    60010‐1642
GORDON S ITAMI & RICHARD J ITAMI JT TEN          295 OAK HILL RD                                                                                  BARRINGTON        IL    60010‐1642
GORDON S KAISER JR                               2237 DELAMERE DRIVE                                                                              CLEVELAND         OH    44106‐3203
                                                                                                                                                  HEIGHTS
GORDON S MARBLE                                  9478 PATRICIA DRIVE                                                                              OTISVILLE         MI    48463‐9401
GORDON S MATHIS & MARGARET A MATHIS TR MATHIS    953 S CAPITOL AVE                                                                                SAN JOSE          CA    95127‐3916
FAM TRUST UA 02/26/90
GORDON S NELSON                                  923 WILDER CHAPEL LANE                                                                           MARYVILLE         TN    37804‐3687
GORDON S NELSON                                  3782 WINDING PINE DR                                                                             METAMORA          MI    48455‐8969
GORDON S SAKAMOTO                                4949 AMERICANA DR #T‐3                                                                           ANNANDALE         VA    22003‐5035
GORDON S SCHRAM                                  301 S HENRY ST                                                                                   BAY CITY          MI    48706‐4714
GORDON SCHILL                                    258 SPRING ST                                                                                    CAMPBELLSPORT     WI    53010‐2747
GORDON SHEARER                                   5757 PREBLE COUNTY LINE RD                                                                       LEWISBURG         OH    45338‐9301
GORDON SHELDON                                   412 LAKESHORE RD                                                                                 FULTON            NY    13069‐4776
GORDON SMITH                                     1043 BLACKBURN CLOSE SW                 EDMONTON AB                            T6W 1C7 CANADA
GORDON STANKAVAGE                                288 STELTON RD                                                                                   PISCATAWAY        NJ    08854‐3809
GORDON STEPHEN WRIGHT                            13156 WEDDINGTON ST                                                                              SHERMAN OAKS      CA    91401‐6048
GORDON T BRUCE                                   8006 RIVERVIEW                                                                                   KANSAS CITY       KS    66112‐2730
GORDON T BRYANT & M CONSTANCE BRYANT JT TEN      7 MARIE ST                                                                                       TEWKSBURY         MA    01876‐3921

GORDON T EDER                                   23440 CROSSLEY                                                                                    HAZEL PARK        MI    48030‐1669
GORDON T GIBSON & MRS KATHERINE B GIBSON JT TEN G‐6055 E CARPENTER                                                                                FLINT             MI    48506

GORDON T JACOBSON                                PO BOX 357                                                                                       CURTIS            MI    49820‐0357
GORDON T LATHAM                                  600 SUNNY HILL TERRACE                                                                           RIVER VALE        NJ    07675‐5918
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GORDON T M CASE & JEANNE W CASE JT TEN          330 CASITAS BULEVAR                                                                                   LOSGATOS           CA    95032‐1120
GORDON T WHITHAM & EDITH D WHITMAN JT TEN       300 WESTMINSTER CANTERBURY DR          APT 202                                                        WINCHESTER         VA    22603‐4275

GORDON TORRAVILLE & MARIE E TORRAVILLE JT TEN   5 ASHLON LANE                                                                                         COMMACK            NY    11725‐1606

GORDON TOWNSON WILLIAMS                         31 RIDGEBROOK RD                                                                                      GREENWICH          CT    06830‐4747
GORDON W ALGER                                  6200 ORIOLE DR                                                                                        FLINT              MI    48506‐1738
GORDON W ARNOLD                                 253 WEST SEYMOUR LAKE                                                                                 ORTONVILLE         MI    48462‐8587
GORDON W BINKERD & FRANCES P BINKERD & JOHN W   RR2                                    1705 HIGH CROSS ROAD                                           URBANA             IL    61802‐7720
GUTOWSKI JT TEN
GORDON W BREMER                                 219 FLINT ST                                                                                          ST CHARLES         MI    48655‐1713
GORDON W BURKE                                  2520 LAKE MICHIGAN DR NW #215                                                                         GRAND RAPIDS       MI    49504‐4696
GORDON W BURKE & ANN L BURKE TR UA 12/27/2007   6610 OLIVETREE COURT                                                                                  REYNOLDSBURG       OH    43068
BURKE FAMILY TRUST
GORDON W CRAVER & PATRICIA CRAVER JT TEN        2656 COOL‐LEA CAMP RD                                                                                 ALPINE             NY    14805
GORDON W FOUCHE                                 7848 23RD ST                                                                                          ZEPHYRHILLS        FL    33540‐1913
GORDON W KRAFT II                               1047 KUNZE RD                                                                                         EAST TAWAS         MI    48730
GORDON W LEAVIS & MRS LINDA W LEAVIS JT TEN     23 PENTECOST RD                                                                                       NORTHFIELD         MA    01360‐1002

GORDON W LEONARD                                7760 KEYES RD                                                                                         BELLEUVE           MI    49021‐8214
GORDON W LOUEY                                  116 ASPEN WAY                                                                                         ROLLING HILLS      CA    0ZZZZ
                                                                                                                                                      ESTATES
GORDON W MC NETT                                14087 SHERWOOD LN                                                                                     FORNEY             TX    75126‐8149
GORDON W RAY                                    429 COUNTY RD 227                                                                                     MOULTON            AL    35650‐6474
GORDON W RENN                                   2124 PIGEON COURT                                                                                     DEPERE             WI    54115‐4143
GORDON W SHIECK & ADRIENNE L SHIECK TR SHIECK   13514 HYACINTH                                                                                        SUN CITY WEST      AZ    85375‐4957
FAMILY TRUST UA 4/4/01
GORDON W SIVLEY ESQ CUST ANNE MARIE SIVLEY UTMA 9816 41ST AVE N E                                                                                     SEATTLE            WA    98115‐2518
WA
GORDON W TAYLOR                                 PO BOX 54523                                                                                          ATLANTA            GA    30308‐0523
GORDON W URBECK                                 2143 TROPIC AVE                                                                                       FORT MYERS         FL    33905‐1833
GORDON WALKER & LORRAINE WALKER JT TEN          1100 TRYALL LN                                                                                        DYER               IN    46311‐1271
GORDON WILLIAM BRATTAIN                         4701 GLENEAGLE DR                                                                                     ANDERSON           IN    46013‐4767
GORDON WILLIAM COCHRAN                          207 N COVENTRY                                                                                        ANDERSON           IN    46012‐3220
GORDON WILLIAMS SR                              1580 SUNNY POINT DR                    PO BOX 91                 SMITHERS BC        V0J 2N0 CANADA
GORDON WILLIS BADER                             8651 N 55TH PL                                                                                        PARADISE VALLEY    AZ    85253‐2112
GORDON WILSON HOLSINGER                         1400 20TH ST SOUTH                                                                                    ARLINGTON          VA    22202‐1504
GORDON Y DAVIS & MARION M DAVIS JT TEN          81 COTTAGE PL                                                                                         RIVERDALE          NJ    07457‐1601
GORDON YOUNG                                    400 HALES STREET                                                                                      PALO ALTO          CA    94301‐2207
GOREE L JAMES                                   3332 N E 16TH STREET                                                                                  OKLAHOMA CITY      OK    73117‐6236
GOREM R BAYSINGER                               1660 CORTEZ ST                                                                                        MILPITAS           CA    95035‐2868
GORGI DIMITRIJEVSKI                             22185 WORCESTER DR                                                                                    NOVI               MI    48374‐3959
GORGIA V DIXON CUST BRUCE M DIXON UGMA MI       3532 HALLA LANE                                                                                       BLOOMFIELD HILLS   MI    48301‐2127

GORMAN BALL                                     1466 FAIRWAY DRIVE                                                                                    LAWRENCEBURG       IN    47025‐9521
GORMAN BOLLING & EULA BOLLING JT TEN            446 OAK ST                                                                                            MORRISTOWN         TN    37813‐1855
GORMAN DUFFY                                    191 VIAU                               CHATEAUGUAY QC                               J6K 2M4 CANADA
GORNELIA J LITTEL & H THOMAS LITTEL JT TEN      22 N WOODWARD AVE                                                                                     WILMINGTON         DE    19805‐2281
GORY G WOLFORD                                  1711 SOUTH GROVE ROAD                                                                                 YPSILANTI          MI    48198‐6645
GOTA LEJON LODGE NO 251 VASA ORDER OF AMERICA   C/O ROBERT ANDERSON                    726 LAURA LANE CIRCLE                                          TWO HARBORS        MN    55616‐0016

GOTTFRIED EXNER                                 PO BOX 1091                                                                                           YARNELL            AZ    85362‐1091
GOTTFRIED LORENZ                                KARL MARX STR 15A                      D‐65428 RUESSELSHEIM                         GERMANY
GOTTFRIED MULLER                                1945 CUMBERLAND                                                                                       LANSING            MI    48906‐3717
GOTTFRIEDA LOPEZ                                9315 CHERRY AVE                                                                                       RAPID CITY         MI    49676‐9696
GOTTLIEB G NICK & CATHERINE A NICK JT TEN       19‐18 202 ST                                                                                          BAYSIDE            NY    11360‐1023
GOULD T PATCHIN                                 3032 CHURCH ST                                                                                        PINE PLAINS        NY    12567‐5400
GOV D L CLEMENTS                                5005 GEORGI LN APT 162                                                                                HOUSTON            TX    77092‐5549
GOVERNMENT & COMPANY                            OFFICE OF FINANCE & TREASURY           UNCLAIMED PROPERTY UNIT   1275 K STREET NW   SUITE 500B        WASHINGTON         DC    20005‐4083
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GOVERNMENT & COMPANY                            1275 K STREET NW                      SUITE 500B                                               WASHINGTON         DC    20005
GOVERNOR G ROBINSON                             10101 CADIEUX RD F                                                                             DETROIT            MI    48224‐1868
GOVINDBHAI D PATEL                              BOX‐127                               1209 VINING TRAIL SE   SMYRNAGA30080                     SMYRNA             GA    30080
GOY A LOVELL & FEDELIA F LOVELL JT TEN          45 NASSAU PKY                                                                                  HEMPSTEAD          NY    11550‐7341
GRACANNE BRENTS                                 52 BOE LANE                                                                                    WHITEHALL          MT    59759‐9702
GRACE A ALLEN & TERRY W SOJOURNER JT TEN        1805 CORNWALL ROAD                                                                             BIRMINGHAM         AL    35226‐2611
GRACE A BECKWITH                                PO BOX 9647                                                                                    FORT WORTH         TX    76147‐2647
GRACE A BOC                                     38315 WALNUT DR                                                                                ROMULUS            MI    48174‐1071
GRACE A BOOKER                                  45264 NORTHPORT DR                    APT 6206                                                 MACOMB             MI    48044‐5301
GRACE A DANIELS                                 1065 FLAGSTONE DR                                                                              DYER               IN    46311‐2183
GRACE A FORTMAN                                 3670 WESTON LANE N                                                                             PLYMOUTH           MN    55446
GRACE A GODERE                                  45 COES HILL RD                                                                                SOUTHWICK          MA    01077‐9772
GRACE A GREEN                                   17630 ROSELAND BLVD                                                                            LATHRUP VLG        MI    48076‐2737
GRACE A HUNTER                                  APT 8H                                401 EAST 80TH STREET                                     NEW YORK           NY    10021‐0685
GRACE A KEMPTON                                 1313 ROCKLAND TERRACE                                                                          MC LEAN            VA    22101‐2334
GRACE A KENNEDY                                 1515 ELDER                                                                                     BOULDER            CO    80304‐2629
GRACE A REYNAUD GARON                           BOX 271                                                                                        DONALDSONVILLE     LA    70346‐0271

GRACE A SPRAIN                                  31898 BREEZEWAY DR                                                                             CHESTERFIELD       MI    48047‐3045
GRACE A WALTERS                                 115 NORTH 17TH ST                                                                              ALLENTOWN          PA    18104‐5603
GRACE A WITTCOP                                 1946 HARTLAND RD                                                                               APPLETON           NY    14008‐9621
GRACE A WOODS                                   837 GLENWOOD AVE                                                                               BUFFALO            NY    14211‐1357
GRACE A WOOLFORD                                10 JACKSON ST                                                                                  BRENTWOOD          NY    11717‐3002
GRACE ADAMS                                     2314 GIBSON ST                                                                                 FLINT              MI    48503‐3164
GRACE ANN BEATTY                                2129 WINTHROP RD                                                                               HUNTINGDON         PA    19006‐6730
                                                                                                                                               VALLEY
GRACE ANN FALSTER                               52 HAWKS SCHOOL HOUSE RD                                                                       BLOOMSBURY         NJ    08804‐2017
GRACE ANN LOMBARDI                              555 CARLISLE LANE                                                                              SMITHVILLE         NJ    08201
GRACE ANN SPEARS                                341 TENNYSON AVENUE                                                                            SYRACUSE           NY    13204‐2616
GRACE APOLLO                                    3 HEATHER CT                                                                                   CENTEREACH         NY    11720‐3077
GRACE AUDREY CORDIMA                            PO BOX 151                                                                                     MERIDEN            NH    03770‐0151
GRACE B GIBBS                                   4681 WARREN SHARON ROAD                                                                        VIENNA             OH    44473‐9667
GRACE B JOHNSON                                 361 OAK GROVE ROAD                                                                             PITTSTOWN          NJ    08867‐4057
GRACE B LYONS                                   3997 CORDGRASS WAY                                                                             NAPLES             FL    34112‐3371
GRACE B SHANKS                                  43 MAYLAN DRIVE                                                                                DAYTON             OH    45405‐2737
GRACE B SOMMERFELD                              24 N DE BAUN AVE                      # 206                                                    SUFFERN            NY    10901‐5123
GRACE B TEMPLE & BRUCE A TEMPLE JT TEN          403 LOWELL AVE                                                                                 NEW HYDE PARK      NY    11040‐2918
GRACE BAPTIST CHURCH                            191 N CNTRL AVE                                                                                RAMSEY             NJ    07446‐1464
GRACE BAPTIST CHURCH                            5785 MULBERRY AVE                                                                              PORTAGE            IN    46368‐2954
GRACE BEAKES & EILEEN BEAKES GIBBONS JT TEN     4700 BROADWAY APT 5B                                                                           NEW YORK           NY    10040‐1546
GRACE BEDNAR                                    1312 BRIGHTON NE                                                                               WARREN             OH    44483‐3935
GRACE BENWAY                                    53‐151 63RD ST                                                                                 MASPETH            NY    11378‐1224
GRACE BLANK CUST MARK BLANK JR U/THE PA         21 LONGECORSE LANE                                                                             PAOLI              PA    19301‐1525
UNIFORM GIFTS TO MINORS ACT
GRACE BRADSHAW                                  271 BURTON ST                                                                                  BRISTOL            CT    06010‐4810
GRACE BYLER                                     1237 ROUND LAKE ROAD                  R #2                                                     BURR OAK           MI    49030‐9501
GRACE C CORNELL                                 1021 BROAD AVENUE                                                                              BELLE VERNON       PA    15012‐1703
GRACE C FINLEY                                  2820 BURDETTE ST                      APT 717                                                  NEW ORLEANS        LA    70125‐2543
GRACE C GAY                                     63 GLENWOOD ST                                                                                 MOBILE             AL    36606‐1946
GRACE C GRAVER TR GRACE C GRAVER TRUST UA       41255 PONDVIEW DRIVE                  APT 267                                                  STERLING HEIGHTS   MI    48314‐3851
02/04/98
GRACE C HAMELINK                                2689 GRACE AVE                                                                                 NEW FANE           NY    14108‐1123
GRACE C HOESEL                                  71 SHADY GROVE DR                                                                              E AMHERST          NY    14051‐1609
GRACE C STEWART                                 8173 S KOSTNER AVE                                                                             CHICAGO            IL    60652‐2128
GRACE C WEISS                                   9300 CASTLE CRT                                                                                OTISVILLE          MI    48463‐9408
GRACE CATHERINE PEOPLES                         102 MEADOW LANE                                                                                MARIETTA           OH    45750‐1344
GRACE CAUDILL                                   194 WESTBROOK DR                      APT 18                                                   HAMILTON           OH    45013‐6111
GRACE CHEN TR GRACE CHEN LIVING TRUST UA        406 VENADO DR                                                                                  SANTA BARBARA      CA    93111‐1546
03/03/92
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GRACE COKER                                       240 W GRAND                                                                                    HIGHLAND PARK   MI    48203‐3059
GRACE COURTNEY                                    203 N BROADWAY ST                                                                              MEDINA          OH    44256‐1903
GRACE COWIT CUST JASON HENRY COWIT UGMA NY        153 FAIRFIELD DR                                                                               HOLBROOK        NY    11741‐2859

GRACE COWIT CUST RACHEL ANNE COWIT UGMA NY        101 WOODBINE AV                                                                                MERRICK         NY    11566‐3132

GRACE D BARZART                                   14017 COYLE ST                                                                                 DETROIT         MI    48227‐2500
GRACE D DAVIS                                     4466 PALMYRA RD S W                                                                            WARREN          OH    44481‐9746
GRACE D ENNIS                                     522 SMYRNA CLAYTON RD                                                                          SMYRNA          DE    19977‐1209
GRACE D GERRARD & LE ROY GERRARD JT TEN           PO BOX 108                                                                                     STROMSBURG      NE    68666‐0108
GRACE D RICKERT & FRANCIS M RICKERT TEN ENT       4357 CURLY HILL ROAD                                                                           DOYLESTOWN      PA    18902‐9111
GRACE D RICKERT MOYER                             4357 CURLY HILL RD                                                                             DOYLESTOWN      PA    18902‐9111
GRACE D SMITH                                     5056 EMERTON PLACE                                                                             INDIANAPOLIS    IN    46203‐3648
GRACE D TRAPP TR GRACE D TRAPP REVOCABLE LIVING   5574 OSTER DR                                                                                  WATERFORD       MI    48327‐2759
TRUST UA 2/8/01
GRACE DAI                                         121 S KNOLLWOOD DRIVE                                                                          SCHAUMBURG      IL    60193‐1023
GRACE DAILEY                                      8 ROUND TREE NW TE                                                                             ROME            GA    30165‐1232
GRACE DAMICO                                      6413 OCONNOR DR                                                                                LOCKPORT        NY    14094‐6515
GRACE DAVIS                                       81 TANAGER RD                                                                                  ATTLEBORO       MA    02703‐1722
GRACE DEGEN MCCREARY                              3232 MATILDA ST                                                                                MIAMI           FL    33133‐5136
GRACE E BOLDT                                     570 DORCHESTER RD                                                                              AKRON           OH    44320‐1945
GRACE E CARNES & RAYMOND L CARNES JT TEN          PO BOX 113                                                                                     BELLAIRE        MI    49615‐0113
GRACE E CASTOR                                    25 WILSON AVE                                                                                  GLASSBORO       NJ    08028‐1614
GRACE E CATES                                     704 S ROCKFIELD RD                                                                             VEEDERSBURG     IN    47987‐8108
GRACE E DIROCCO                                   7715 TWIN OAKS RD                                                                              SEVERN          MD    21144‐1134
GRACE E FREEMAN TR UA 12/20/93 M‐B GRACE E        842 ISLAND WAY                                                                                 CLEARWATER      FL    33767‐1825
FREEMAN
GRACE E GARDNER                                   1308 MILLER RD                                                                                 LANSING         MI    48911
GRACE E GARVEY                                    3550 COUNTRY SQUARE DR APT 211                                                                 CARROLLTON      TX    75006‐8727
GRACE E GUENTENSBERGER                            5112 4TH ST E                                                                                  BRADENTON       FL    34203‐4504
GRACE E HART                                      2013 DAKOTA                                                                                    FLINT           MI    48506‐2801
GRACE E HARTMAN                                   702 S CAMPBELL                                                                                 MACOMB          IL    61455‐2912
GRACE E HOYLE TR ERIC EFIRD HOYLE TRUST UA        496 STONEGATE LANE                                                                             WINSTON SALEM   NC    27104‐1825
02/18/83
GRACE E LARSON                                    1611 EARLMOOR BLVD                                                                             FLINT            MI   48506‐3954
GRACE E LARSON & WALTER S LARSON JT TEN           1611 EARLMOORE BLVD                                                                            FLINT            MI   48506‐3954
GRACE E LENTZ                                     26245 SIMS DRIVE                                                                               DEARBORN HEIGHTS MI   48127‐4122

GRACE E LOWE & CAROLYN NAVOY JT TEN               14901 DASHER                                                                                   ALLEN PARK      MI    48101‐2672
GRACE E MARTIN & REBECCA H ECKHARDT JT TEN        300 WILLOW VALLEY LAKE DR             # B313                                                   WILLOW STREET   PA    17584‐9442
GRACE E MATTSON                                   128 FEDERAL ST                                                                                 SALEM           MA    01970‐3222
GRACE E ODELL                                     APT 3                                 222 MORRIS AVE                                           LINDEN          NJ    07036‐4321
GRACE E OLIVER                                    7439 WILSON RD                                                                                 MONTROSE        MI    48457‐9171
GRACE E PEABODY                                   2540 SANTIAGO ST                                                                               SANTA ANA       CA    92706‐1727
GRACE E PILATO                                    100 MCAULEY DR                        APT 213                                                  ROCHESTER       NY    14610‐2300
GRACE E SAUNDERS                                  5061 ROSE LANE                                                                                 FLINT           MI    48506‐1552
GRACE E SAVOIE                                    95 GLENDALE ST                                                                                 EVERETT         MA    02149‐2339
GRACE E SEYMOUR                                   35 S WESTMOOR AVE                                                                              COLUMBUS        OH    43204‐2569
GRACE E SHEPPARD                                  17121 CHISWELL RD                                                                              POOLESVILLE     MD    20837‐2239
GRACE E TARANDA                                   49415 WILLOWOOD DR                                                                             MACOMB          MI    48044‐1653
GRACE E TERRELL                                   421 J STREET                                                                                   BEDFORD         IN    47421‐2220
GRACE E WALTER                                    126 CLEARVIEW AVE                                                                              HUNTINGDON      PA    19006‐2433
                                                                                                                                                 VALLEY
GRACE E WILLIAMS                                   1212 GRAY HWY                        APT 814                                                  MACON           GA    31211‐1930
GRACE EFIRD HOYLE                                  496 STONEGATE LN                                                                              WINSTON SALEM   NC    27104‐1825
GRACE EFIRD HOYLE TR IRREVOCABLE TRUST 02/15/90 U‐ 496 STONEGATE LN                                                                              WINSTON SALEM   NC    27104‐1825
A JOHN DOUGLAS HOYLE
GRACE EFIRD HOYLE TR UW OF A BAHNSON EFIRD         496 STONEGATE LANE                                                                            WINSTON‐SALEM   NC    27104‐1825
GRACE EVANS EARDLEY & SAM E EARDLEY JT TEN         5266 LAUREL VIEW CIRCLE                                                                       YORBA LINDA     CA    92886‐4028
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Name                                               Address1                               Address2             Address3          Address4          City             State Zip

GRACE F BOZMOFF                                    736 HOMEWOOD AVENUE SE                                                                          WARREN           OH    44484‐4223
GRACE F BROWN                                      1 ATLANTIC TERR                                                                                 LYNN             MA    01902‐3116
GRACE F FIEGEL                                     670 NORTHRIDGE DR #102                                                                          LEWISTON         NY    14092‐2387
GRACE F LINDEEN & SHIRLEY L HARRIS JT TEN          11655 SW ALLEN BLVD APT 11                                                                      BEAVERTON        OR    97005‐8807
GRACE F MYERS TR UA 07/27/90 GRACE MYERS TRUST     NBR 1                                  401 E JACKSON                                            IOLA             KS    66749‐2914

GRACE F RICCIARDI                              18 WAYSIDE DR                                                                                       ROCHESTER        NY    14625‐2633
GRACE F WARHOLIC                               7381 HILLENDALE RD                                                                                  CHESTERLAND      OH    44026‐1227
GRACE FALKO                                    45704 GREEN VALLEY                                                                                  PLYMOUTH         MI    48170‐3636
GRACE FARNEN TR UA 12/12/91 THE GRACE FARNEN   1562 HUNTINGTON                                                                                     GROSSE POINT     MI    48236‐2533
TRUST                                                                                                                                              WOODS
GRACE FLEMING STELLA                           26 CORNELL DRIVE                                                                                    GREAT NECK       NY    11020‐1127
GRACE FLESCH                                   266 YORKSHIRE RD                                                                                    FAIRLESS HILLS   PA    19030‐3230
GRACE FRICKE                                   2641 N BRANCH RD                                                                                    NORTH BRANCH     MI    48461‐9344
GRACE G CONWAY TOD VIRGINIA A CONWAY SUBJECT 708 PROSPECT DR                                                                                       STRATFORD        CT    06615‐7943
TO STA TOD RULES
GRACE G FOX & WILLIAM D FOX JT TEN             19555 LEMARSH STREET                                                                                NORTHRIDGE       CA    91324‐1010
GRACE GARTSIDE MOORE                           BOX 4522 ANDERSEN AFB                      YIGO                                   96929 GUAM                               ‐4522
GRACE GERBSTADT MINNICKS                       5425 CALIFORNIA AVE                                                                                 BETHEL PARK      PA    15102‐3823
GRACE GEREPKA                                  1103 SILVER CT                                                                                      TRENTON          NJ    08690‐3523
GRACE GEREPKA & CUST MARYELLEN G GEREPKA UGAM 14 PARKSIDE DR                                                                                       PARSIPPANY       NJ    07054‐4355
NJ
GRACE GERRESHEIM                               HILLSIDE DRIVE                                                                                      WEST SHOKAN      NY    12494
GRACE GIGANDET                                 2305 BLAKE RD                                                                                       WADSWORTH        OH    44281‐9592
GRACE H ARANDA                                 4625 W WALNUT ST APT 1007                                                                           GARLAND          TX    75042‐5146
GRACE H DOBRAVEC TR UA 09/20/2004 GRACE H      4503 LAWNDALE AVE                                                                                   LYONS            IL    60534
DOBRAVEC DECLARATION TRUST
GRACE H ENSOR & LORIE L QUIMBY‐STEPHENS JT TEN 3778 CADET CT                                                                                       SAINT CHARLES    MO    63301‐4306

GRACE H KELLY                                      180 MARBLEHEAD ST                                                                               NORTH READING    MA    01864‐1526
GRACE H LAMB                                       34 KNAPP AVE                                                                                    EDISON           NJ    08817‐3427
GRACE H MC BRAYER                                  2113 PAWNEE DRIVE S E                                                                           MARIETTA         GA    30067‐7311
GRACE H MCBRIDE                                    1138 E 100 N                                                                                    DANVILLE         IN    46122
GRACE H MOORE                                      415 COUNTRY WAY                                                                                 MICKLETON        NJ    08056‐1251
GRACE H PHELPS                                     3649 LUM AVE                                                                                    KINGMAN          AZ    86409
GRACE HAGERMAN                                     34 CHICJON LANE                                                                                 EAST HANOVER     NJ    07936‐1612
GRACE HALLAHAN                                     2 JOHNSON CT                                                                                    PARAMUS          NJ    07652‐1308
GRACE HANSEN CHILDS                                348 COCKER HAM RD                                                                               DENHAM SPRINGS   LA    70726‐2515

GRACE HARRIS                                       BOX 1469 GPO                                                                                    BROOKLYN         NY    11202‐1469
GRACE HEIDRICH RUTHIG                              300 JOHNSON FERRY RD NE                UNIT B112                                                ATLANTA          GA    30328‐4184
GRACE HIGGINBOTH FELZIEN                           15591 N SR9                                                                                     SUMMITVILLE      IN    46070
GRACE I INGRAM                                     2802 W 35TH AV APT 124                                                                          KENNEWICK        WA    99337‐2582
GRACE I LARKIN                                     PO BOX 231                                                                                      CALEDONIA        OH    43314‐0231
GRACE I NARUSE & JAMES K NARUSE COMMUNITY          17861 CARDINAL CIR                                                                              VILLA PARK       CA    92861‐4103
PROPERTY
GRACE IRVINE GIAMMARCO                             3701 OAK GLEN CIRCLE N W                                                                        NORTH CANTON     OH    44720‐6967
GRACE J DE BITETTO & BARBARA DE BITETTO JT TEN     42 CLUBHOUSE DR                        APT 108                                                  PALM COAST       FL    32137

GRACE J EWART                                      31170 COUNTRY BLUFF                                                                             FARMINGTON HILLS MI    48331‐1012

GRACE J FARISH                                   400 EATON STREET                                                                                  LONDON           OH    43140‐8957
GRACE J MASSUCCI                                 10331 ENDICOTT                                                                                    BELLEVILLE       MI    48111‐1249
GRACE J MULLENNIX PERS REP EST ROGER K MULLENNIX 7191 CRESTWOOD                                                                                    JENISON          MI    49428‐8933

GRACE J ROWIN                                      510 BARBERRY LANE                                                                               EDGERTON         WI    53534‐1107
GRACE J STACK                                      69 MEADOW LANE                                                                                  WEST HARTFORD    CT    06107‐1514
GRACE J TODRUS & JAMES ROSENTHAL TR UW THELKA      ROOM 1111                              271 NORTH AVE                                            NEW ROCHELLE     NY    10801‐5119
TODRUS
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GRACE JONES                                      40 SOUTH ST                                                                                    CATTARAUGUS     NY    14719‐1221
GRACE K BENFER & JAMES P BENFER JT TEN           5843 HUDSON WHARF RD                                                                           CAMBRIDGE       MD    21613‐3226
GRACE KALKANIS                                   644 PEAR TREE LN                                                                               GROSSE POINTE   MI    48236‐2723
GRACE KASTNING                                   C/O GRAY RENE                         PO BOX 32                                                RAMAH           CO    80832‐0032
GRACE KECHIAN TR GRACE KECHIAN TRUST UA 11/07/00 82 SHORE RD                                                                                    MANHASSET       NY    11030‐1353

GRACE L BRYANT                                   6516 NORTHAM ROAD                                                                              TEMPLE HILLS    MD    20748‐5219
GRACE L BUCHMAN & CLYDE E BUCHMAN JR JT TEN      2675 TERRWOOD DR WEST                                                                          MACUNGIE        PA    18062

GRACE L GILLILAND                                456 CENTER HILL RD                                                                             GAINESVILLE     TX    76240‐7202
GRACE L GREGORY                                  355 ARTHUR ST                                                                                  DE LEON SPGS    FL    32130
GRACE L KARES                                    6860 W GRAND RIVE                     PO BOX 482                                               LAINGSBURG      MI    48848‐0482
GRACE L LENK                                     79 HOLLY RIBBONS CIR                                                                           BLUFFTON        SC    29909
GRACE L MARINO & MARY LOU MARINO JT TEN          1727 FAIRVIEW AVE                                                                              MANHATTAN       KS    66502
GRACE L SHIRILLA & JANIS L ESTRADA JT TEN        4041 LOVERS LN                                                                                 DALLAS          TX    75225
GRACE L TOWNER                                   2541 RUSHTON RD                                                                                CENTRAL LAKE    MI    49622‐9687
GRACE L TOWNER & MARY G ROMACKY & KEITH A        2541 RUSHTON RD                                                                                CENTRAL LAKE    MI    49622
TOWNER JT TEN
GRACE L VANDERGOOT                               18 LARSEN DRIVE                                                                                SUCCASUNNA      NJ    07876‐1233
GRACE L VOSS                                     ROUTE 1 BOX 38‐A                                                                               CHENOA          IL    61726‐9721
GRACE L WHITENIGHT                               233 SOUTH ST                                                                                   LOCKPORT        NY    14094‐4651
GRACE L YEE                                      240 28 66TH AVENUE                                                                             DOUGLASTON      NY    11362‐1925
GRACE LAVERNE ADAMS                              2314 GIBSON ST                                                                                 FLINT           MI    48503‐3164
GRACE LEIGH BRIGGS                               RT 1 965 GOODE DR                                                                              WHITE CLOUD     MI    49349‐9730
GRACE LORRAINE GERBSTADT                         C/O G G MINNICKS                      5425 CALIFORNIA AVE                                      BETHEL PARK     PA    15102‐3823
GRACE M ALLAN OR HOWARD B ALLAN TR UA 10/18/90   1834 LACKLAND DR                                                                               ALAMO           CA    94507
ALLAN TRUST
GRACE M BAILEY                                   1211 SW SHORELINE DR                  APT 1101                                                 PALM CITY       FL    34990‐4551
GRACE M BAKER & CAROL BAKER LUTGENS JT TEN       663 LAKE FOREST RD                                                                             ROCHESTER HLS   MI    48309
GRACE M BEARDSLEY                                4747 SYLVESTER ST                                                                              DRAYTON PLAIN   MI    48020
GRACE M BISCOE                                   115 HUNTON DR                                                                                  FREDERICKSBRG   VA    22405‐2160
GRACE M BROWN                                    13107 VILLAGE 13                                                                               CAMARILLO       CA    93012‐7007
GRACE M BUHLER TR UA 08/07/86 WALTER W BUHLER    6490 LUANNE DRIVE                                                                              FLUSHING        MI    48433‐2320
& GRACE M BUHLER TRUST
GRACE M CLAYTON TR UA 01/03/92 GRACE M CLAYTON   7922 W STAGECOACH TRAIL                                                                        GALENA          IL    61036‐9661

GRACE M COLE & CATHERINE A WOODLAND JT TEN       3978 KENMORE                                                                                   BERKLEY         MI    48072‐3505

GRACE M DAVIS                                    1417 BOROUGHBRIDGE                                                                             RICHMOND        VA    23225‐2944
GRACE M ERICKSON                                 1320 VINEWOOD ST                                                                               AUBURN HILLS    MI    48326‐1651
GRACE M GARRETT & KATHY HUDSON JT TEN            306 CHUMBLEY ROAD                                                                              SAWSONVILLE     GA    30534‐2137
GRACE M GIBSON TR GRACE M GIBSON REVOCABLE       3441 JULIO AVE                                                                                 SAN JOSE        CA    95124‐3123
TRUST UA 02/29/00
GRACE M GRIGG                                    5830 VENOY RD                                                                                  SAGINAW         MI    48604‐1132
GRACE M HENDRY                                   1900 S BRIGGS                                                                                  JOLIET          IL    60433‐9590
GRACE M HUDGINS                                  3302 SUDLERSVILLE S                                                                            MARYLAND CITY   MD    20724‐2451
GRACE M HYDER & LOIS J HYDER JT TEN              651 PROSPECT ST                                                                                METHUEN         MA    01844‐4059
GRACE M ISAACSON                                 406 W SWON AVE                                                                                 ST LOUIS        MO    63119‐3637
GRACE M JACKSON                                  5467 LATROBE ST                                                                                WESTERVILLE     OH    43081‐8625
GRACE M JUZWIAK                                  9251 CENTRAL PARK DR                  UNIT F205                                                FT MYERS        FL    33919‐4839
GRACE M MATTALIANO                               9501 WEST OAK RIDGE DRIVE                                                                      SUN CITY        AZ    85351
GRACE M MORGAN TOD DANIELLE M AUSTIN             BOX 876                                                                                        EAST OLYMPIA    WA    98540‐0876
GRACE M MORGAN TOD LD E OLSON                    BOX 876                                                                                        EAST OLYMPIA    WA    98540‐0876
GRACE M MURPHY                                   3648 STONECREEK DR                                                                             SPRING HILL     TN    37174‐2197
GRACE M NORTON & JEAN M JONES JT TEN             8034 MOUNTAINVIEW DRIVE EAT                                                                    NORTHHAMPTON    PA    18067‐8938
GRACE M PAYNE                                    160 E BACON ST                                                                                 WATERVILLE      NY    13480‐1208
GRACE M PRINCE                                   380 FOWLER ST                                                                                  CORTLAND        OH    44410‐1350
GRACE M ROONEY & CAROL ROBERTO JT TEN            94 OAKLAND ST                                                                                  BRIGHTON        MA    02135‐2625
GRACE M SCULL                                    28 CRESCENT HOLLOW DR                                                                          SEWELL          NJ    08080‐9655
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GRACE M SHOEBRIDGE & ALFRED H SHOEBRIDGE JT TEN 703 WEST HERBERT AVE                                                                           REEDLEY          CA    93654‐3941

GRACE M SIWIERKA & WALTER A SIWIERKA JT TEN      507 EASTWAY DR                                                                                SPARTANBURG      SC    29307‐2576
GRACE M STEPHANOFF                               26379 CECILE ST                                                                               DEARBORN HEIGHTS MI    48127‐3390

GRACE M STERN & LAEL JANSON JT TEN               27081 COUNTY LINE RD                                                                          PELKIE           MI    49958‐9201
GRACE M TRIPONE                                  45 HAMILTON ST                                                                                MADISON          NJ    07940‐1733
GRACE M VEDDER                                   PO BOX 142                                                                                    MULLIKEN         MI    48861‐0142
GRACE M WALDMAN                                  109‐10 QUEENS BLVD                   APT 9C                                                   FOREST HILLS     NY    11375‐5318
GRACE M WHEELER                                  1532 BERRY BROOK RD                                                                           ROSCOE           NY    12776‐6603
GRACE M YOCCABEL                                 49 LINWOOD AVENUE                                                                             GLEN BURNIE      MD    21061‐1957
GRACE MALLORY RIVES                              3300 WARSAW AVE                                                                               HOPEWELL         VA    23860‐1753
GRACE MAN CHUNG KING                             19701 AUBURN CRT                                                                              CUPERTINO        CA    95014‐2403
GRACE MARIE CHRISTOPHERSEN                       1736 26TH AVE S                                                                               SEATTLE          WA    98144‐4728
GRACE MARIE FOURNIER                             9155 WAYNE DRIVE                                                                              SAINT LOUIS      MO    63123‐5643
GRACE MASCARO                                    80 MANDON DR                                                                                  WAYNE            NJ    07470‐3824
GRACE MAURA LONG HARRIS                          3930 ZUCK RD                                                                                  ERIE             PA    16506
GRACE MC GEORGE                                  4069 STATE ROUTE 18                                                                           WAMPUM           PA    16157‐2137
GRACE MC GRAW PARR                               BOX 463                                                                                       TAOS             NM    87571‐0463
GRACE MCELROY & MARTIN MCELROY JT TEN            29 CARLETON DR                                                                                FREEHOLD         NJ    07728
GRACE MEEKS HART                                 60 NORTH MICHIGAN ST                                                                          REDLANDS         CA    92373‐4630
GRACE MILLER                                     2824 THORNAPPLE RIVER DR SE                                                                   GRAND RAPIDS     MI    49546
GRACE MORGAN                                     1518 SIXTH AVENUE                                                                             SAINT JOSEPH     MO    64505
GRACE MOY‐NG                                     357 STEARNS RD                                                                                MARBOROUGH       MA    01752‐6047
GRACE N BARHAM TR GRACE N BARHAM TRUST UA        4 LONGVIEW ESTATE DRIVE                                                                       OFALLON          MO    63366‐6931
08/15/00
GRACE N CODDINGTON                               70 WELSH ROAD                                                                                 LEBANON          NJ    08833‐4316
GRACE N DIAS                                     150 ROYAL PINE CIRCLE WEST                                                                    ROYAL PALM BEACH FL    33411‐8670

GRACE N LITZENBERG                               163 HAWTHORNE DRIVE                                                                           DANVILLE         VA    24541‐3639
GRACE N SAILER                                   6674 SANDYWELL DRIVE                                                                          TEMPERANCE       MI    48182‐1335
GRACE N STANLEY                                  PITMAN MANOR #85                     535 N OAK AVE                                            PITMAN           NJ    08071‐1025
GRACE NABERS LONG                                4144 SHARPSBURG DR                                                                            BIRMINGHAM       AL    35213‐3233
GRACE NESTI & JOHN NESTI JT TEN                  15021 NOLA                                                                                    LIVONIA          MI    48154‐4848
GRACE O BINGHAM                                  4141 S BRAESWOOD BLVD APT 111                                                                 HOUSTON          TX    77025‐3328
GRACE O DRISCOLL                                 10 RIPLEY LANE                                                                                SOUTH BELMAR     NJ    07719‐2922
GRACE O MC DONOUGH                               C/O MRS CHARLES ARLIN                11 BALDIN DR                                             MIDLAND PARK     NJ    07432‐1509
GRACE ODRISCOLL & ELLEN ODRISCOLL JT TEN         10 RIPLEY LANE                                                                                SOUTH BELMAR     NJ    07719‐2922
GRACE OROURKE                                    30 GREEN PASTURE ROAD                                                                         BETHEL           CT    06801‐1258
GRACE P FRANK                                    1704 OWEN AVE                                                                                 COLUMBIA         TN    38401‐3507
GRACE P HOPKINS                                  29124 BELCHESTER RD                                                                           KENNEDYVILLE     MD    21645
GRACE P LUNEAU                                   1219 WILSHIRE DR                                                                              ALEX             LA    71303‐3141
GRACE P MATTHEWS                                 123 HILLS CREEK DR                                                                            WELLSBORO        PA    16901
GRACE P VELTMAN TR GRACE P VELTMAN SEPARATE      1508 UNO VERDE COURT                                                                          SOLANA BEACH     CA    92075‐2129
PROPERTY TRUST UA 01/19/00
GRACE P WAY                                      105 OLGA RD                                                                                   WILM             DE    19805‐2041
GRACE PETITTE                                    213 STONEBRIAR LN                                                                             ROCHESTER        NY    14626‐5406
GRACE R CALVA TR UA 09/02/04 GRACE R CALVA REV   PO BOX 88                                                                                     BLUE MOUNTAIN    AR    72826
TRUST
GRACE R CONWAY                                   58 MONADNOCK DRIVE                                                                            WESTFORD         MA    01886‐3022
GRACE R DAY                                      7037 SUNRISE CIR                                                                              FRANKLIN         TN    37067‐8300
GRACE R PETERS                                   137 COUNTY LINE RD                                                                            SOMERVILLE       NJ    08876‐3400
GRACE R PICARD                                   132 ROCKLEDGE DRIVE                                                                           WALLINGFORD      CT    06492‐1814
GRACE R SAYERS & SHIRLEY L WISE JT TEN           320 LEWIS ROAD                                                                                BROOMALL         PA    19008
GRACE R SULAKA                                   2031 KRISTIN                                                                                  TROY             MI    48084‐1133
GRACE RUSS                                       C/O KENTUCKY BANK TRUST DEPT         PO BOX 157                                               PARIS            KY    40362‐0157
GRACE RUTH ROSENBERG                             3410 OLD COURT ROAD                                                                           BALTIMORE        MD    21208‐3121
GRACE S BUTLER                                   1043 OBERLIN AVENUE                                                                           LORAIN           OH    44052‐1553
GRACE S HOUGHTON                                 6504 E BARATARIA BLVD                                                                         SIERRA VISTA     AZ    85650‐9109
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GRACE S SCHEU                                     2918 VISTA COURT                                                                             COVINGTON         KY    41017‐3687
GRACE S SHIH & WU‐KAI HSU JT TEN                  20 CONFUCIUS PLZ                    UNIT 32B                                                 NEW YORK          NY    10002
GRACE S SMITH & DEAN R SMITH JT TEN               PO BOX 1418                                                                                  SARASOTA          FL    34230‐1418
GRACE SACKS WILLER & REBECCA SCHWARTZ JT TEN      705 ARBUCKLE AVE                                                                             WOODMERE          NY    11598‐2703

GRACE SANDAL TR GRACE SANDAL 2000 TRUST UA        5804A WOLF ROAD                                                                              WESTERN SPRINGS   IL    60558‐2256
04/19/00
GRACE SCHRUM & BARBARA JEAN SCHRUM JT TEN         549 W WASHINGTON                                                                             SUNNYVALE         CA    94086‐6070

GRACE SHIELDS                                     215 ST JAMES WAY                                                                             ANDERSON         IN     46013‐4444
GRACE STEPHENS RILEY                              P O DRAWER 40                                                                                PINE MNTN VALLEY GA     31823‐0040

GRACE STRIZACK                                    2775 EAST NORTH TERRITORIAL                                                                  WHITMORE LAKE     MI    48189‐9550
GRACE T BEHMLANDER                                608 24TH STREET                                                                              BAY CITY          MI    48708‐7807
GRACE T HAMILTON                                  41583 HEARTHSIDE LN                                                                          CLINTON TWP       MI    48038‐2159
GRACE T OCONNOR CUST MARGARET OCONNOR UGMA PO BOX 389                                                                                          OXFORD            NY    13830‐0389
NY
GRACE T SOWA & LINDA M WILKINS & RONALD S SOWA 8245 KINMORE                                                                                    DEARBORN HTS      MI    48127
TR UA 04/13/2009
GRACE T VALENTINE                                 3 KIMBERLY LANE                                                                              NEWARK            DE    19711‐2446
GRACE TARANDAGATES                                49415 WILLOWOOD DR                                                                           MACOMB            MI    48044‐1653
GRACE THOMAS MILLIGAN                             15925 VAN AKEN BLVD                 APT 201                                                  CLEVELAND         OH    44120‐5382
GRACE THOMPSON TR JOAN ROSENTHAL TRUST UA         310 1/2 W MAIN                                                                               OAKLAND           IL    61943‐7157
11/02/92
GRACE THOMPSON‐BRUNSON                            1717 WINTHROP DR                                                                             FLORENCE          SC    29501‐6543
GRACE V FURMAN                                    CLAYTON WING RM 165                 1500 SAWMILL RD                                          RALEIGH           NC    27615‐4320
GRACE V IVAZIAN GRACE V IVAZIAN TRUST UA 07/17/04 1833 1ST AVE                                                                                 SACRAMENTO        CA    95818

GRACE V MURRAY TR GRACE V MURRAY LIVING TRUST     13901 E MARINA DR                   APT 303                                                  AURORA            CO    80014‐5505
UA 01/04/95
GRACE VARGA                                       61 CEDAR ROAD                                                                                SOUTHPORT         CT    06490‐1087
GRACE W BOULTON                                   1701 NE 63RD                                                                                 OKLAHOMA CITY     OK    73111‐7905
GRACE W MCKIDDIE TR GRACE W MCKIDDIE LIVING       138 SHEFFIELD                                                                                TROY              MI    48083‐1070
TRUST UA05/03/94
GRACE W PERSON & MARJORIE L FORD JT TEN           7 SURREY DR                                                                                  MANSFIELD         MA    02048‐2656
GRACE W TURNER                                    2680 N FOREST RD                    # 131                                                    GETZVILLE         NY    14068‐1556
GRACE WILLETT                                     1820 WOODPINE CT                                                                             LOWELL            MI    49331‐9635
GRACE Y ALLRED                                    PO BOX 1662                                                                                  JACKSON           MS    39215‐1662
GRACE Y ROBERTS TR GRACE Y ROBERTS LIVING TRUST   PO BOX 326                                                                                   PALISADE          CO    81526‐0326
UA 04/11/02
GRACE YUN‐CHING WONG                              564 AMBER ISLE                                                                               ALAMEDA           CA    94501‐5660
GRACEANNE GIUNTA                                  157 SECOND ST                                                                                SOUTH AMBOY       NJ    08879
GRACELLA M KODMAN & ALBERT J KODMAN TEN ENT       535 CHURCH STREET                                                                            INDIANA           PA    15701‐2728

GRACIE A FERRELL                                  3 BRICK ROW BOX 290                                                                          RAGLAND           WV    25690‐0290
GRACIE A JOHNSON                                  2021 HENDRICKS ST                   APT 1                                                    PADUCAH           KY    42003
GRACIE A JOHNSON & ALFRED E JOHNSON JT TEN        2021 HENDRICKS ST                   APT 1                                                    PADUCAH           KY    42003
GRACIE CLINE                                      PO BOX 98                                                                                    LILBURN           GA    30048‐0098
GRACIE G YORK                                     2175 N SNYDER RD                                                                             DAYTON            OH    45426‐4423
GRACIE J BELCHER                                  1341 ELM ST                                                                                  WEST CARROLLT     OH    45449‐2339
GRACIE M BURNETT                                  1683 FALKE DR                                                                                DAYTON            OH    45432‐3313
GRACIE M IVY                                      1417 S EBRIGHT ST                                                                            MUNCIE            IN    47302‐3545
GRACIE R TINKIS                                   13333 NORTH COTTONWOOD AVE                                                                   REED CITY         MI    49677‐9405
GRACIE SHUCK                                      2212 SHADY VIEW CT                                                                           ARLINGTON         TX    76013‐5707
GRACIE V GUILD & CLYDE W GUILD JT TEN             4320 CORDOBA CIRCLE E                                                                        GEORGETOWN        TX    78628‐1612
GRACIELA SANDOVAL                                 5424 PORTER                                                                                  DETROIT           MI    48209‐2423
GRACIJELA GALLELLI                                33 DUNDEE DR                                                                                 ROCHESTER         NY    14626‐3621
GRACINDA R RASCOE                                 21 CHURCH DRIVE                                                                              WOLCOTT           CT    06716‐1910
GRADA G DEBELL                                    6002 ESTES ST                                                                                ARVADA            CO    80004‐5444
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GRADEN ADDISON                                   6946 MULBERRY                                                                                   CINCINNATI     OH    45239‐4421
GRADIE MCDUFFIE                                  461 EMSLIE ST                                                                                   BUFFALO        NY    14212‐1015
GRADY A BAILEY                                   111 BAILEY RD I                                                                                 FLAG POND      TN    37657‐2078
GRADY A WILLIAMS & SUSAN K WILLIAMS JT TEN       3232 MARGARET WALLACE RD                                                                        MATTHEWS       NC    28105‐4434
GRADY BERT                                       26 SCENIC DR                          APT F                                                     CROTON HDSN    NY    10520‐1827
GRADY BUICK COMPANY                              7260 THEODORE DAWES RD                                                                          THEODORE       AL    36582‐4028
GRADY COPELAND                                   4055 W STUBBS RD                                                                                COLLEGE PARK   GA    30349‐1368
GRADY D GOSSETT                                  1425 PROPER ST                                                                                  BURTON         MI    48529‐2043
GRADY E CLAY 3RD                                 215 SAINT PAUL ST 206                                                                           DENVER         CO    80206‐5116
GRADY E ERVIN                                    2455 DANIEL CEM RD NW                                                                           MONROE         GA    30656‐4149
GRADY E JACKSON                                  38547 LAWRENCE CT                                                                               WESTLAND       MI    48186‐3887
GRADY E JONES                                    87 FLINT ST                                                                                     ROCHESTER      NY    14608‐2820
GRADY ELDER                                      5849 CEDARSTONE CT                                                                              INDIANAPOLIS   IN    46226‐1117
GRADY F AKRIDGE                                  894 HICKORY DR                                                                                  MONROE         GA    30656‐1581
GRADY G STANDRIDGE                               41 DREW COURT                                                                                   JONESBORO      GA    30238‐4610
GRADY JEFFERSON EUDY                             422 COOLIDGE AVE                                                                                STATESVILLE    NC    28677‐3302
GRADY K DICK                                     297 OLD ANTIOCH RD                                                                              GAINESBORO     TN    38562‐5024
GRADY L BARTLETT                                 16517 AL HWY 157                                                                                VINEMONT       AL    35179‐9096
GRADY L DAVIS                                    3311 SEQUOIA AVE                                                                                ATLANTA        GA    30349‐8712
GRADY L DAVIS                                    5117 MALIBU COURT                                                                               DAYTON         OH    45426‐2353
GRADY L KIRKLAND                                 10211 ROAD 1525                                                                                 PHILIDEPHIA    MS    39350‐3898
GRADY L TURNER                                   3055 FLAT SHOALS RD                                                                             COLLEGE PARK   GA    30349‐4000
GRADY LONG                                       10360 BUNTON RD                                                                                 WILLIS         MI    48191‐9738
GRADY M BURTON                                   1340 FLAMINGO                                                                                   MOUNT MORRIS   MI    48458‐2774
GRADY M MCDONALD                                 1829 N MCRAVEN RD                                                                               CLINTON        MS    39056‐9614
GRADY N EVANS                                    4317 SANDY HILL RD                                                                              BUFORD         GA    30519‐3730
GRADY NUTT JR                                    243 COUNTY RD 106                                                                               CARTHAGE       TX    75633‐5516
GRADY R ALLEN                                    7493 MT ZION BLVD                     #14                                                       JONESBORO      GA    30236
GRADY R HOBGOOD                                  259 RIDGE PINE DR                                                                               CANTON         GA    30114‐3968
GRADY R MCDONALD                                 413 LORWOOD DRIVE                                                                               SHELBY         OH    44875
GRADY S ELERSON                                  515 COPEMAN BLVD                                                                                FLINT          MI    48503‐1115
GRADY S HARMON                                   3906 CARDINAL DRIVE                                                                             TUCKER         GA    30084‐3334
GRADY SMITH                                      4080 KENDALL                                                                                    DETROIT        MI    48238‐2655
GRADY W RASNIC                                   685 SANITARY DAIRY RD                                                                           ASHFORD        AL    36312‐4252
GRAEME A LANE                                    114 MIMOSA RD                         CARNEGIE             MELBOURNE VIC     3163 AUSTRALIA
GRAEME C COXON                                   THE CROFT                             GEURIE               NSW               ‐ 2831 AUSTRALIA
GRAEME GRIFFITHS                                 21 LANGLO ST                          4074 RIVERHILLS                        AUSTRALIA
GRAEME HAMMOND                                   37 OLD ORCHARD ROAD                                                                             NORTH HAVEN    CT    06473‐3023
GRAEME JAMES MARSH                               408‐HIGHGATE                          MAORI HILL           DUNEDIN           NEW ZEALAND
GRAEME S B STRACHAN                              105 CAREYS RD                         3351 SCARSDALE                         AUSTRALIA
GRAFFIOUS RINARD                                 345 E JOHN ST                                                                                   BEDFORD        PA    15522‐1428
GRAFTON BAPTIST CHURCH                           BOX 8                                                                                           HARTFIELD      VA    23071‐0008
GRAFTON STANLEY                                  42499 E HURON RIVER DR                                                                          BELLEVILLE     MI    48111‐2839
GRAHAM A CROSSWHITE                              5303 HAZELWOOD AVENUE                                                                           BALTIMORE      MD    21206‐2233
GRAHAM A FISHWILD & BRENDA L FISHWILD JT TEN     740 LEDYARD                                                                                     WATERFORD      MI    48328‐4137

GRAHAM C NELMS                                   5504 GILLING ROAD ROUTE 10                                                                      RICHMOND       VA    23234‐5240
GRAHAM D DOCKER                                  31 SURREY RD                          N DANDENONG AUSTR                      AUSTRIA
GRAHAM D LAW & MRS PAULA L TURNBAUGH LAW JT      2418 SOUTH QUEEN ST                                                                             ARLINGTON      VA    22202‐1554
TEN
GRAHAM E PACKER                                  25 BROWN ST                           SEMAPHORE            SA                5019 AUSTRALIA
GRAHAM FAMILY ASSOCIATES                         211 W RUSSELL ST                                                                                WEATHERFORD    TX    76086‐5333
GRAHAM G ALLAN CUST GEORGE GRAHAM ALLAN II       18411 60TH PL NE                                                                                KENMORE        WA    98028‐8907
UGMA WA
GRAHAM HUMPHRIES & ROSALINE HUMPHRIES JT TEN     4098 BLUE HERON DR                                                                              AUBURN HILLS   MI    48326‐1875

GRAHAM J BELL                                    CH DE LA LACUNE ST                    BARTHELEMY           CHAMBOURCY        78240 FRANCE
GRAHAM JAROS & MARY JAROS JT TEN                 555 ASPEN WAY                                                                                   EAST CHINA     MI    48054‐4703
GRAHAM JEANINE BERGEN                            1707 WINDINGRIDGE CT                                                                            RICHMOND       VA    23238‐4181
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GRAHAM M BROWN JR                               19 DRAYCOACH DR                                                                                   CHELMSFORD       MA    01824‐1023
GRAHAM M JOHNSTON                               8501 WATEKA DR                                                                                    HOUSTON          TX    77074‐4011
GRAHAM M JOHNSTON & JANIS K JOHNSTON JT TEN     8501 WATEKA DRIVE                                                                                 HOUSTON          TX    77074‐4011

GRAHAM M YUILL                                  2069 LAKEVIEW BLVD                                                                                PORT CHARLOTTE   FL    33948‐2009
GRAHAM P WOOD                                   222 NICHOLSON RD                                                                                  ETHEL            WA    98542‐9707
GRAHAM R LYLE & ESTELLE LYLE JT TEN             403 PITTS AVE                                                                                     OLD HICKORY      TN    37138‐2221
GRAHAM R SHORTLAND MILLBROOK PRVG GRD LTD       GRIFFIN HOUSE OSBORNE RD               LUTON BEDS LU1                         GREAT BRITAIN

GRAHAM ROBINSON                                 28 SCARBOROUGH CIRCUIT                 ALBION PARK NSW                        2527 AUSTRALIA
GRAHAM S CAMPBELL                               36063 DOVER ST                                                                                    LIVONIA          MI    48150‐3500
GRAHAM SHANE HAACK                              3331 DAISY AVE                                                                                    LONG BEACH       CA    90806‐1229
GRAHAM W HENDERSON                              241 SAUK DRIVE                                                                                    BATAVIA          IL    60510‐8660
GRAHAM WASH                                     3708 KENT ST                                                                                      FLINT            MI    48503‐4560
GRAHAM WESLEY BULLARD                           18501 PENINSULA COVE LN                                                                           CORNELIUS        NC    28031‐7750
GRAIG D BOUGHTON & DORIS L BOUGHTON JT TEN      2415 JALICE CIRCLE                                                                                STATE COLLEGE    PA    16801‐7429

GRAIGORY GEORGE DAVIS                           777 WALTER DRIVE                                                                                  HEBRON           IN    46341‐7207
GRAINGER COUNTY                                 ATTN ANTHONY CARVER                    PO BOX 68                                                  RUTLEDGE         TN    37861‐0068
GRANADA KENNEBREW                               1902 CHENEY ST                                                                                    SAGINAW          MI    48601‐4637
GRAND TRAVERSE REGIONAL LAND CONSERVANCY        3860 N LONG LAKE RD STE D                                                                         TRAVERSE CITY    MI    49684

GRANFUL W REEDER                                307 SOUTH HICKORY                                                                                 SALLISAW         OK    74955‐5617
GRANITE CORINTHIAN LODGE                        NO 34 A F & A M                        PO BOX 7036                                                WILMINGTON       DE    19803‐0036
GRANT A COURCHAINE                              17 SOUTH STREET                                                                                   PLAINFIELD       CT    06374‐1937
GRANT A PATTISON & PAULA S PATTISON JT TEN      155 HIGH STREET                                                                                   HINGHAM          MA    02043‐3338
GRANT A ROGERS                                  11 RADBURN PLACE                       WINNIPEG MB                            R2J 3C8 CANADA
GRANT A ROGERS                                  11 RADBURN PLACE                       WINNIPEG MB                            R2J 3C8 CANADA
GRANT A TURNER                                  6810 WILLOW SPRINGS RD                                                                            COUNTRYSIDE      IL    60525‐4724
GRANT B GARDNER                                 W66 OAKWOOD DR                                                                                    DELAFIELD        WI    53018‐1141
GRANT BERRY                                     139 ASHLEY WAY                                                                                    BANNER ELK       NC    28604
GRANT C BURGON & NANCY G BURGON JT TEN          355 S 530 EAST                                                                                    OREM             UT    84097‐6415
GRANT C HELMIC & MARGUERITE E HELMIC JT TEN     222 HARRIET                                                                                       LANSING          MI    48917‐3428

GRANT C RICKARD & LOUISE RICKARD JT TEN         3074 GEORGETOWN GREENVILLE RD                                                                     GEORGETOWN       IN    47122‐8883
GRANT C WADDINGHAM                              2437 PALMERSTON RD                     OAKVILLE ON                            L6H 7L5 CANADA
GRANT CROCKETT JR                               523 N 25TH ST                                                                                     SAGINAW          MI    48601‐6208
GRANT D KALSON                                  976 LEHIGH DRIVE                                                                                  YARDLEY          PA    19067‐2906
GRANT D MEADE & NANCY C MEADE JT TEN            212 LYMAN HALL RD                                                                                 SAVANNAH         GA    31410
GRANT E FITZ                                    VIA IDIGE 17                           21100 VARESE                           ITALY
GRANT E HOUCK                                   ATTN ELEANDRE L HOWCK                  5231 CYPRESS CIR                                           GRAND BLANC      MI    48439‐8692
GRANT E MILES                                   4703 MERMAID BLVD                                                                                 WILMINGTON       DE    19808‐1803
GRANT E MILLIRON                                2384 SPRINGMILL RD                                                                                MANSFIELD        OH    44903‐8009
GRANT E SWIFT                                   360 SCHOOL ST                                                                                     N KINGSTOWN      RI    02852‐1849
GRANT F MERVINE                                 230 MARION DR                                                                                     SEAFORD          DE    19973‐1834
GRANT FRANK TELLERI                             391 N MAIN ST 1                                                                                   MILLTOWN         NJ    08850‐1021
GRANT G MCKEE                                   221 W HOPKINS                                                                                     PONTIAC          MI    48340‐1825
GRANT GILLIAM & GWENDOLYN M GILLIAM JT TEN      3604 TEMPLAR ROAD                                                                                 RANDALLSTOWN     MD    21133‐2430

GRANT GILLIAM & RUBY C GILLIAM JT TEN           3604 TEMPLAR ROAD                                                                                 RANDALLSTOWN     MD    21133‐2430
GRANT H BURNS                                   7101 W 188 TH ST                                                                                  STILWELL         KS    66085‐9424
GRANT INNOCENZI CUST CODY R HOUSE UTMA OH       2672 WATERVALE DR                                                                                 UNIONTOWN        OH    44685‐8354

GRANT ISSAC ZUCKER                              108 FRAN DR                                                                                       NEW SMYRNA       FL    32168‐1713
                                                                                                                                                  BEACH
GRANT J BRITTON                                 1744 INDIAN WOODS DR                                                                              TRAVERSE CITY    MI    49686‐3032
GRANT J BROWNING                                14090 SW 89TH AVE                                                                                 TIGARD           OR    97224‐5971
GRANT J GEORGE                                  2642 SOUH 75TH STREET                                                                             WEST ALLIS       WI    53219
GRANT J LAY                                     3214 BURGESS                                                                                      FLINT            MI    48504‐2508
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GRANT J YINGER                                     1254 LEWISBERRY ROAD                                                                           LEWISBERRY     PA    17339‐9710
GRANT JACKSON                                      4320 PINE LAKE DR                                                                              MEDINA         OH    44256‐7620
GRANT JOHNSON                                      BOX 04226                                                                                      DETROIT        MI    48204‐0226
GRANT KNIGHT                                       18469 LAKESIDE DR                                                                              COURTLAND      VA    23837‐2629
GRANT L GARLOCK                                    197 BROWNING AVE                                                                               VENTURA        CA    93003‐5502
GRANT L MERCHANT                                   6839 HURON LINE                                                                                GAGETOWN       MI    48735‐9709
GRANT M HAIST & PHYLLIS M HAIST JT TEN             PO BOX 805                                                                                     OKEMOS         MI    48805‐0805
GRANT M NEWBURY                                    234 WHISPERING PINES LANE                                                                      BIRDSBORO      PA    19508‐7933
GRANT M NEWBURY                                    234 WHISPERING PINES LN                                                                        BIRDSBORO      PA    19508‐7933
GRANT M SCHARNHORST                                221 EL PESCADO                                                                                 ST PETERS      MO    63376‐5929
GRANT M SCHREIER                                   17987 LAKE ESTATES DRIVE                                                                       BOCA RATON     FL    33496
GRANT MAC LAUGHLIN                                 212 TANTALLON CRESCENT                UPPER TANTALLON NS                     B3Z 1C7 CANADA
GRANT MCLAUGHLIN & JILL‐ANNE MCLAUGHLIN JT TEN     222 HICKORY HILL RD                                                                            WOODSTOCK      NY    12498

GRANT MORGAN                                       2638 VIA OESTE DR                                                                              FALLBROOK      CA    92028‐9266
GRANT MORSE                                        BOX 176                                                                                        TWO DOT        MT    59085‐0176
GRANT R BASEMAN & LINDA V BASEMAN JT TEN           74‐4932 KIWI ST                                                                                KAILUA KONA    HI    96740‐9669
GRANT R BLUE                                       222 E MAIN ST                                                                                  GIRARD         OH    44420‐2605
GRANT R DELBECQ CUST DILLON M DELBECQ UGMA TX      124 MORNING DOVE COURT                                                                         ARGYLE         TX    76226‐5132

GRANT R GREENWOOD                               6543 HENRY RD                            KENDAL ON                              L0A 1E0 CANADA
GRANT R SLUTE                                   825 MOUNT HOOD COURT                     OSHAWA ON                              L1J 7M8 CANADA
GRANT ROUSER JR                                 1113 SHARLENE DR                                                                                  YOUNGSTOWN     OH    44511‐1207
GRANT S DULGARIAN & FLORENCE A DULGARIAN JT TEN 58 SUMMIT DR                                                                                      CRANSTON       RI    02920‐4520

GRANT S GALBRAITH & DARLENE K TINIK JT TEN     10076 WEST CARPENTER ROAD                                                                          FLUSHING       MI    48433‐1046
GRANT SEXTON                                   132 CHAMPLAIN AVE                                                                                  WILMINGTON     DE    19804‐1749
GRANT SIZEMORE CUST JEFFREY P SIZEMORE UGMA MI 717 E GRAND BLVD                                                                                   YPSILANTI      MI    48198‐4132

GRANT T BROOKS & SCOTT P BROOKS JT TEN             10013 GRAYFIELD                                                                                REDFORD        MI    48239‐1425
GRANT T GOLBERG                                    3707 GRAND WAY                        APT 206                                                  MINNEAPOLIS    MN    55416‐2729
GRANT T OSBORNE                                    338 N BRINKER AVE                                                                              COLUMBUS       OH    43204‐2036
GRANT V RODKEY                                     24 MARCIA RD                                                                                   WATERTOWN      MA    02472
GRANT W BRADY                                      3566 CURDY RD                                                                                  HOWELL         MI    48843‐9773
GRANT W GARLINGHOUSE                               9420 W ONTARIO DR                                                                              LITTLETON      CO    80128‐4034
GRANT W KENT JR & BARBARA A KENT TEN ENT           16 BECKER DRIVE                                                                                LITITZ         PA    17543‐9311
GRANT W MILLER III & KORLISS K MILLER JT TEN       101 LAKE FOREST                                                                                ST LOUIS       MO    63117‐1361
GRANT WILLIAM BUTLER & GRAHAM WILLIAM BUTLER       9159 NORM CRESCENT                    DELTA BC                               V4C 7B4 CANADA
JT TEN
GRANTHAM WOOD                                      2352 BRUCE AVE                                                                                 SPARTANBURG    SC    29302‐3448
GRANVILLE B CANTRELL JR EX EST MAYSIE M HENROTIN   2206 VALLEY HILL RD                                                                            MALVERN        PA    19355

GRANVILLE C CRAWFORD JR                            7574 W PIERCE DR                                                                               TALBOTT        TN    37877‐8805
GRANVILLE DEE SHOOK                                BOX 158                                                                                        HAMILTON       MT    59840‐0158
GRANVILLE E BURKE                                  PO BOX # 710                                                                                   JENKINS        KY    41537‐0710
GRANVILLE M ROBISON                                3829 FERNWOOD DRIVE                                                                            BRUNSWICK      OH    44212
GRANVILLE N HAMBRICK                               803 LOUISE AVE                                                                                 FAIRFIELD      OH    45014‐2724
GRANVILLE NICHOLSON                                4055 TROUSDALE LANE                                                                            COLUMBIA       TN    38401‐8971
GRANVILLE THURMAN                                  6300 RANGEVIEW DRIVE                                                                           DAYTON         OH    45415‐1928
GRANVILLE V SQUIRES & MARY AN SQUIRES JT TEN       3445 N OLNEY ST                                                                                INDIANAPOLIS   IN    46218‐1338

GRATHO HOBBS                                       12118 WATTERSON ST                                                                             HUDSON         FL    34667‐3119
GRAY ELLRODT                                       15 CLIFFWOOD ST                                                                                LENOX          MA    01240‐2026
GRAYCE M CORRIGAN                                  29 HILLTOP DRIVE                                                                               MORRISVILLE    PA    19067‐5977
GRAYCE M SHEPHARD                                  1406 JEANNE DR                                                                                 MIO            MI    48647‐9777
GRAYDON BOYD LEAKE JR & MRS VINITA THERRELL        409 KING ROAD N W                                                                              ATLANTA        GA    30342‐4008
LEAKE JT TEN
GRAYDON K BROADWATER                               6265 GRACE K DR                                                                                WATERFORD      MI    48329‐1330
GRAYDON R PATRICK                                  8479 WEST US 40                                                                                KNIGHTSTOWN    IN    46148‐9501
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GRAYDON W DIMKOFF & JENNIE B DIMKOFF TEN ENT   338 EAST MAIN STREET                                                                                      FREMONT          MI    49412‐1324

GRAYLAND T LARSEN                              4326 APACHE DR                                                                                            BURTON           MI    48509‐1414
GRAYLING L HOPSON                              17 HAMPTON AVE                                                                                            TRENTON          NJ    08609
GRAYSON F CARTER                               12612 DRINGENBERG DR                                                                                      AUSTIN           TX    78729‐7784
GRAYSON G SNURR                                415 DUTROW RD                                                                                             WESTMINSTER      MD    21157‐7138
GRAYSON GILMORE                                4506 CONNIES COURT LN                                                                                     MISSOURI CITY    TX    77459‐2936
GRAZZIELLA L PATERSON                          609 CHELSEA CIRCLE                                                                                        DAVISON          MI    48423
GREAT NORTHERN INSURED ANNUITY CORP CUST       6024 LONG AVE                                                                                             BETHEL PARK      PA    15102‐3435
STEPHEN E MOLLNER IRA
GREEGORY M SERWATKA                            6115 ESCONDIDO APT 23C                                                                                    EL PASO          TX    79912
GREEK MAGLINE NAVE                             2586 HIGHLAND                                                                                             DETROIT          MI    48206‐3606
GREEK ORTHODOX CHURCH OF MISSOULA A MONTANA    C/O A GEORGE                           210 N HIGGINS AVE SUITE 234                                        MISSOULA         MT    59802‐4497
CORPORATION
GREEK ORTHODOX CHURCH OF THE ANNUNCIATION      962 EAST AVE                                                                                              ROCHESTER        NY    14607‐2241

GREEN B MIDDLETON JR                           4531 S TONYA TER                                                                                          HOMOSASSA        FL    34446
GREEN D WILSON                                 6917 LATHERS                                                                                              GARDEN CITY      MI    48135‐2266
GREEN H WADLEY                                 1001 JEFFERSON AVE                                                                                        EAST POINT       GA    30344‐2846
GREEN W HARPER                                 8614 MARLOWE                                                                                              DETROIT          MI    48228‐2495
GREENBAUM GENERAL PARTNERSHIP                  737 PONCE DE LEON AVE                                                                                     ATLANTA          GA    30306‐4329
GREENBRIER COUNTY 4‐H CLUB                     ATTN HELEN C GRAVES                    BOX 586                                                            LEWISBURG        WV    24901‐0586
GREENBRIER COUNTY 4‐H CLUBS                    ATTN HELEN C GRAVES                    BOX 586                                                            LEWISBURG        WV    24901‐0586
GREENE ALBRITTON JR                            1857 MAYNARDS MILL RD                                                                                     FORSYTH          GA    31029‐8043
GREENE ROTARY CLUB                             BOX 384                                                                                                   GREENE           NY    13778‐0384
GREENE W CLARKE                                875 E GRAND BLVD                                                                                          DETROIT          MI    48207‐2551
GREENSBORO CHINESE CHRISTIAN CHRUCH            ATTN: JOHN WONG                        2432 HIGH POINT ROAD                                               GREENSBORO       NC    27403
GREENVILLE B PERKINS                           49 NORDALE AVE                                                                                            DAYTON           OH    45420‐1735
GREER A PETERS                                 128 BLUE JAY LN                                                                                           MERRITT IS       FL    32953‐8501
GREER C PARKER                                 1617 GRANDADDY RD                                                                                         LAWRENCEBURG     TN    38464‐4311
GREETA M KING                                  1020 MEIDA ST                                                                                             FLINT            MI    48532‐5046
GREG A ANDERSON                                PO BOX 16343                                                                                              LANSING          MI    48901‐6343
GREG A ARNEY                                   631 JEFFERSON VALLEY                                                                                      COATESVILLE      IN    46121‐8941
GREG A HICKLIN                                 3012 PATRICIA                                                                                             DES MOINES       IA    50322‐6804
GREG A JOHNSON                                 4042 N SULLIVAN RD                                                                                        LEESBURG         IN    46538‐8809
GREG A MALICK                                  977 KYLEMORE DR                                                                                           BALLWIN          MO    63021‐7935
GREG A MARTIN                                  1685 SAPPHIRE DR                                                                                          GROVE CITY       OH    43123
GREG A MOEGGENBERG                             1359 N ISABELLA                                                                                           MOUNT PLEASANT   MI    48858‐9221

GREG A PROCTOR                                 C/O DELORIS WEBER                      9720 SOUTH PULASKI RD         #204                                 OAK LAWN         IL    60453‐3323
GREG A REKART                                  603 CHANCELLOR LN                                                                                         FENTON           MO    63026‐5466
GREG A SVOBODA & LORI A SVOBODA JT TEN         4606 S TAMPA DR                                                                                           SPOKANE          WA    99223‐7875
GREG A ZEMBRODT                                965 S SUNNYVALE                                                                                           MESA             AZ    85206‐2983
GREG ALLEN ARNEY & DEBRA JO ARNEY JT TEN       631 JEFFERSON VALLEY                                                                                      COATSVILLE       IN    46121‐8941
GREG BEER                                      204 LARAY DRIVE                                                                                           BUTLER           PA    16001
GREG BEHME                                     22744 HARVEST ROAD                                                                                        CARLINVILLE      IL    62626‐3700
GREG BUTLER                                    475 LAURIER AVE WEST                   APT 107                       OTTAWA ON CAN ON   K1R 7X1 CANADA
GREG CHRISTENSEN                               616A GLYNBURN ROAD                     BEAUMONT SOUTH AUSTRALIA                         AUSTRALIA
GREG E MCFADDEN                                1967 TEANECK CIRCLE                                                                                       WIXOM            MI    48393‐1856
GREG ERICKSON                                  209 MEADOW DR                                                                                             CARY             NC    27511‐3925
GREG GARTNER CUST MORGAN LASHORNE UGMA CT      343 STONEYBROOK GROVE DR                                                                                  GREENWOOD        IN    46142‐2114

GREG GROMANN                                    912 21ST ST                                                                                              MENDOTA          IL    61342
GREG H RIBAKOVE CUST RACHEL HOPE RIBAKOVE UGMA 1155 PARK AVE #11NE                                                                                       NEW YORK         NY    10128‐1209
NY
GREG HENDERSHOTT                                1 DEVONSHIRE PL                       APT 4003                                                           BOSTON           MA    02109
GREG HESSLER                                    13200 84TH AVENUE                                                                                        COOPERSVILLE     MI    49404‐9733
GREG J BISSONETTE & JANETTE L BISSONETTE JT TEN 12056 W PIERSON RD                                                                                       FLUSHING         MI    48433‐9716
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GREG J CASANOVA                                  89 MOUNTAIN EDGE DRIVE                                                                       SOUTHINGTON       CT    06489‐4651
GREG JOHNSON                                     516 W 19TH ST                                                                                RICHMOND          VA    23225‐3816
GREG JONES                                       4702 SW 8TH ST                                                                               BLUE SPRINGS      MO    64015‐8763
GREG K STEPHENSON                                3425 STONY FARM DRIVE                                                                        LOUISVILLE        KY    40299
GREG KASTRAVECKAS                                43 WEST ST O                                                                                 NEW LONDON        CT    06320‐5351
GREG KNIGHT CUST KAZ KNIGHT UGMA MI              3343 GATESHEAD NE                                                                            ROCKFORD          MI    49341‐9217
GREG L COCKROFT                                  7133 N RIVER HWY                                                                             GRAND LEDGE       MI    48837
GREG L MCCOMBS                                   2203 E NC 10 HWY                                                                             CONOVER           NC    28613‐8370
GREG M DAVIS                                     1966 N COVE BL                                                                               TOLEDO            OH    43606‐3912
GREG M JULIAN                                    2403 BOYDS CREEK HWY                                                                         SEVIERVILLE       TN    37876‐0239
GREG M MCGREGOR                                  PO BOX 209                                                                                   MOULTON           AL    35650‐0209
GREG MAHN                                        4235 PARK AVE                                                                                BROOKFIELD        IL    60513‐1909
GREG MAYHORN                                     3010 JUDITH RD                                                                               HARTLY            DE    19953‐3010
GREG MICKELSON                                   16 VERMONT                                                                                   IRVINE            CA    92606‐1700
GREG MORRISON                                    6710 WADE PARK DRIVE                                                                         WADESVILLE        IN    47638
GREG MORYC CUST MEGAN VALERIE MORYC UGMA MI      7600 NOBLE RD                                                                                SALINE            MI    48176

GREG NIELSON                                     PO BOX 23553                                                                                 VENTURA           CA    93002‐3553
GREG NOKES                                       19930 NICHOLAS CT                                                                            WEST LINN         OR    97068‐4910
GREG O LANCASTER                                 3506 CARLA DR                                                                                AUSTIN            TX    78754
GREG P RUYBAL                                    302 CRYERS CAMP RD                                                                           ELM GROVE         LA    71051‐8614
GREG PALLO & THERESA PALLO JT TEN                22 HOLLYWOOD AVE                                                                             MILFORD           CT    06460‐4213
GREG POLERECKY CUST CAMDEN POLERECKY UTMA IL     1111 CAREY                                                                                   MCHENRY           IL    60050‐8373

GREG POLERECKY CUST GAVIN POLOERECKY UTMA IL     1111 CAREY                                                                                   MCHENRY           IL    60050‐8373

GREG POLERECKY CUST JADYN POLOERECKY UTMA IL     1111 CAREY                                                                                   MCHENRY           IL    60050‐8373

GREG POLERECKY CUST LAINEY POLERECKY UTMA IL     1111 CAREY                                                                                   MCHENRY           IL    60050‐8373

GREG PRESLAR                                     9251 DAWN RIDGE DR                                                                           SHREVEPORT        LA    71118‐2837
GREG R PAHNKE                                    108 FAIRFAX BLVD                                                                             WILMINGTON        DE    19803‐3025
GREG R SWIFT                                     5640 E 100 S                                                                                 MARION            IN    46953‐9675
GREG R WARMUTH                                   410 PARKCREST DR                                                                             BOONE             NC    28607‐5194
GREG RAETZ                                       OVERBROOK                                                                                    LEXINGTON         VA    24450
GREG RING CUST CORY BISE RING UTMA NC            2041 E 5TH ST                                                                                CHARLOTTE         NC    28204‐3301
GREG S DAVIDSON CUST BENJAMIN HARRIS DAVIDSON    3210 W 71ST TER                                                                              SHAWNEE MISSION   KS    66208‐3135
UTMA KS
GREG S LYNCH                                     7087B E HIGH ST                                                                              LOCKPORT        NY      14094‐9399
GREG S WRIGHT                                    5979 JAMES HEAD CT                                                                           WEST BLOOMFIELD MI      48324‐3108

GREG SHARPE                                      5941 HILLSIDE WEST DR                                                                        INDIANAPOLIS      IN    46220
GREG SHRIDER                                     9104 GUILFORD RD                                                                             COLUMBIA          MD    21046
GREG STRATOS                                     194 WINTHROP STREET                                                                          NEW BRITAIN       CT    06052‐1733
GREG T JANKE                                     N1674 LOTUS RD                                                                               GENOA CITY        WI    53128‐1572
GREG T PEZDA                                     3663 CHERRYWOOD LANE                                                                         ANN ARBOR         MI    48103‐1655
GREG TOPEL                                       PO BOX 231                                                                                   HIBBING           MN    55746‐0231
GREG V CORNER                                    12907 W COUNTY LINE RD                                                                       MOORES HILL       IN    47032‐9543
GREG W CROSS & HUGH E CROSS JT TEN               702 E WEBSTER                                                                                SAINT POLO        IL    61064‐1919
GREG W JOHNSON                                   6230 HESS ST                                                                                 SAGINAW           MI    48601‐9428
GREG W ROSS                                      82 PLANTATION DR                                                                             JEFFERSON         GA    30549‐6965
GREG WOLPERT                                     966 HIGHLAND AVE                                                                             HAMILTON          OH    45013‐4612
GREGG A BALLINGER                                PO BOX 276                                                                                   UPLAND            IN    46989‐0276
GREGG A BERK                                     2933 SUMMERS ROAD NORTH                                                                      IMLAY CITY        MI    48444‐8926
GREGG A PANE                                     PO BOX 8207                                                                                  MCLEAN            VA    22106‐8207
GREGG A PAPPAS                                   7405 N MICHIGAN RD                                                                           BAY CITY          MI    48706‐9313
GREGG A TREGO                                    403 SUWANNEE CT                                                                              BEAR              DE    19701‐4806
GREGG A TROYANOWSKI                              12699 EAGLE TRACE BLVD N                                                                     CORAL SPRINGS     FL    33071‐7768
GREGG A WIDAMAN                                  3025 MAPLE                                                                                   BERWYN            IL    60402
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GREGG ALAN HALEY                                 2129 PHILPOT RD                                                                               WEST MONROE      LA    71292‐2614
GREGG BANYON                                     3141 WILDWOOD DR                                                                              MCDONALD         OH    44437‐1354
GREGG CONLEY                                     310 N DANERN DR                                                                               DAYTON           OH    45430‐2005
GREGG COOPER                                     330 W VALENCIA #B                                                                             BURBANK          CA    91506‐3310
GREGG D GOTTSHALL                                997 WEIBLE DR                                                                                 ROMANSVILLE      PA    19320
GREGG D WOOD & ELIZABETH Y WOOD JT TEN           1118 ANDREWS ROAD                                                                             LAKE OSWEGO      OR    97034‐1718
GREGG DAVIS CUST BEN DAVIS UTMA IL               8054 HARDING AVE                                                                              SKOKIE           IL    60076‐3332
GREGG DUNCAN                                     221 E EDGEWOOD BLVD                  APT G                                                    LANSING          MI    48911‐5805
GREGG E DAUM & SOPHALA DAUM JT TEN               15015 TRICIA LN                                                                               LA MIRADA        CA    90638‐5316
GREGG E KINCAID CUST SCOTT A KINCAID UTMA IN     94 BEAUVOIR CIRCLE                                                                            ANDERSON         IN    46011‐1907

GREGG HAKALMAZIAN                               12948 S 78TH CT                                                                                PALOS HEIGHTS    IL    60463‐1903
GREGG HENDERSON                                 201 W VANDERBILT ST                                                                            ATHENS           PA    18810‐1436
GREGG J TAYLOR                                  443 CAMBRIDGE AVE                                                                              BUFFALO          NY    14215‐3157
GREGG K MCGINLEY CUST COLLEEN M MCGINLEY UTMA 4 LA MORADA PL                                                                                   POMONA           CA    91766‐4881
CA
GREGG KATZ & MRS WENDY KATZ JT TEN              2 HAWTHORNE CT                                                                                 BUFFALO GROVE    IL    60089‐3541
GREGG KINCAID CUST JILL KINCAID UTMA IN         94 BEAUVOIR CIR                                                                                ANDERSON         IN    46011‐1907
GREGG KRIEGER & JOAN KRIEGER JT TEN             585 RESERVOIR DRIVE                                                                            FRANKLIN LAKES   NJ    07417‐2818
GREGG L ALDRICH                                 2090 ROCK SPRINGS ROAD                                                                         COLUMBIA         TN    38401‐7421
GREGG L CUBEL                                   307 CHARLESTON CT                                                                              TUSCALOOSA       AL    35405‐8749
GREGG L DUNLAP                                  2049 EDGEWOOD BLVD                                                                             BERKLEY          MI    48072‐1884
GREGG L MARK                                    9011 NORTH VASSAR ROAD                                                                         MOUNT MORRIS     MI    48458‐9765
GREGG L ROMINSKY                                701 ELKINFORD BLVD                                                                             WHITE LAKE       MI    48383‐2931
GREGG L SAYDELL                                 26862 KINGSTON CIRCLE                                                                          NORTH OLMSTED    OH    44070
GREGG M BOSON                                   5312 MANSEL LN                                                                                 FT WORTH         TX    76134‐1614
GREGG M HOWE                                    27221 WESTRIDGE LN                                                                             LAGUNA HILLS     CA    92653‐5889
GREGG M JANOWSKI                                3886 VILLAGE CENTER DR                                                                         BIRMINGHAM       AL    35226‐6263
GREGG MARTIN                                    551 FREDRICKS AV 257                                                                           OCEANSIDE        CA    92058‐1536
GREGG MC KENZIE                                 BOX 1604                                                                                       FORT STOCKTON    TX    79735‐1604
GREGG N WAGAR                                   10155 W COLDWATER                                                                              FLUSHING         MI    48433‐9761
GREGG NIMS MC DERMONT                           4479 STONECANYON CT                                                                            CONCORD          CA    94521‐4403
GREGG NIMS MC DERMONT CUST STEVEN GREGORY MC 4479 STONE CANYON CT                                                                              CONCORD          CA    94521‐4403
DERMONT UGMA CA
GREGG O EDELBROCK                               207 RILEY STREET                                                                               DUNDEE           MI    48131‐1026
GREGG R BAUMANN                                 12530 SHAMROCK RD                                                                              OMAHA            NE    68154‐3524
GREGG R FRAME                                   4 DERMOT DR                                                                                    CAPE ELIZ        ME    04107‐9621
GREGG R WOELKE                                  13449 ARNOLD                                                                                   REDFORD          MI    48239‐2672
GREGG ROBERT NIELSEN                            6577 MADEIRA HILLS DR                                                                          CINCINNATI       OH    45243
GREGG S BRINDAMOUR                              6540 BELLMYER HWY                                                                              TECUMSEH         MI    49286‐9530
GREGG T BARBERIO                                24 BENTLEY ROAD                                                                                COTO DE CAZA     CA    92679
GREGG THOMAS PIOSZAK                            21801 TROMBLY                                                                                  ST CLAIR SHRS    MI    48080‐3978
GREGG W FISHER                                  9126 16TH AVENUE CIR NW                                                                        BRADENTON        FL    34209‐8133
GREGG WHITMAN                                   482 FRONTIER VILLAGE RD                                                                        NAPLES           ID    83847
GREGG WILLIAM PATTERSON                         5114 SYCAMORE DR                                                                               MISSION          KS    66205‐2179
GREGOR ATHLENE                                  2529 GREENHAVEN DR                                                                             BURLESON         TX    76028‐6391
GREGOR W BLIX TR GREGOR W BLIX TRUST UA 9/14/92 4002 LAKESIDE DR                                                                               KALAMAZOO        MI    49008‐2812

GREGOR WHEELWRIGHT LECKIE                        1142 WAYNE AVE                                                                                DEERFIELD        IL    60015
GREGOREY J LEIER                                 3330 18TH AVE S                                                                               MINNEAPOLIS      MN    55407
GREGORIA M QUEZON                                114 STANLEY LANE                                                                              NEW CASTLE       DE    19720‐2740
GREGORIO C CABOT                                 13312 CROSSBURN AVE                                                                           CLEVELAND        OH    44135‐5024
GREGORIO G GARCIA                                3103 W GENESEE AVE                                                                            SAGINAW          MI    48602‐3609
GREGORIO G GONZALEZ                              6730 S TRIPP AVE                                                                              CHICAGO          IL    60629‐5744
GREGORIO GONZALES                                2212 JENNI AVE                                                                                SANGER           CA    93657‐2003
GREGORIO HERNANDEZ                               11218 W SUNFLOWER PL                                                                          AVONDALE         AZ    85323‐3626
GREGORIO LUNA JR                                 1097 W BUDER                                                                                  FLINT            MI    48507‐3611
GREGORIO M AVILES JR                             4740 SOUTHERN PACIFIC DR                                                                      JACKSONVILLE     FL    32257‐3305
GREGORIO ORTA & SANDRA M ORTA JT TEN             5220 S JACKSON RD                                                                             JACKSON          MI    49201‐8385
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GREGORIO R MARTINEZ                                 3143 N JENNINGS RD                                                                            FLINT           MI    48504‐1766
GREGORIO R RODRIQUEZ                                3259 DREXEL DRIVE                                                                             SAGINAW         MI    48601‐4511
GREGORIO R SOLIS                                    1529 E 77 ST                                                                                  LOS ANGELES     CA    90001‐2603
GREGORIOS S KARAGIORGIS                             3836 TANGLE OAK DR                                                                            CLEMMONS        NC    27012‐9260
GREGORY A ABERNATHY                                 25 HICKORY LN                                                                                 BUMPASS         VA    23024‐4506
GREGORY A ANDES & LINETTE S ANDES JT TEN            136 COOKS CREEK RD                                                                            HARRISONBURG    VA    22802‐0801
GREGORY A APPLEGATE CUST CHADWICK TAYLOR            453 FORESTDALE AVE                                                                            ASHLAND         OH    44805‐4126
APPLEGATE UTMA OH
GREGORY A AVERY                                     PO BOX 247                                                                                    HOLLY            MI   48442‐0247
GREGORY A BAUMANN                                   29049 MERRIMADE LN                                                                            CHESTERFIELD TWP MI   48047‐6013

GREGORY A BENNETT                                   4115 FENMORE AVE                                                                              WATERFORD       MI    48328‐3082
GREGORY A BLOUNT                                    3 ASPENWOOD CT                                                                                ST PETERS       MO    63376‐7000
GREGORY A BROWN                                     2020 PRENTISS DR                     APT 207                                                  DOWNERS GROVE   IL    60516‐2342
GREGORY A BROWN                                     1205 LANDINGS COVE                                                                            ALPHARETTA      GA    30005‐7850
GREGORY A CALFIN                                    7 FOX MEADOW LN                                                                               MERRIMACK       NH    03054‐3837
GREGORY A CARTER                                    14450 STATE ROUTE 64                                                                          METAMORA        OH    43540‐9710
GREGORY A CARTHAN                                   348 STRATFORD LANE                                                                            WILLOWBROOK     IL    60521‐5434
GREGORY A CATTO                                     3104 ALEXANDRIA PIKE                                                                          ANDERSON        IN    46012‐9207
GREGORY A CLARK                                     5554 N 150 WEST                                                                               KOKOMO          IN    46901‐8293
GREGORY A CLARK                                     5143 GREEN ARBOR DRIVE                                                                        GENESEE         MI    48437
GREGORY A CLIFTON                                   870 ST JOHNS BLVD                                                                             LINCOLN PARK    MI    48146‐4319
GREGORY A COLE                                      4914 CHIPPEWA PATH                                                                            OWOSSO          MI    48867‐9735
GREGORY A COOK                                      PO BOX 13795                                                                                  CHESAPEAKE      VA    23325‐0795
GREGORY A COX                                       427 EAST 53RD ST                                                                              ANDERSON        IN    46013‐1722
GREGORY A DAVENPORT                                 691 WILLOW RIDGE DR NE                                                                        MARIETTA        GA    30068‐5204
GREGORY A DAVIS                                     6912 JONETTA ST                                                                               DAYTON          OH    45424‐3350
GREGORY A DEWALL                                    HWY 73 #2276                                                                                  CAMBRIDGE       WI    53523‐9463
GREGORY A DICARLO                                   1525 DALE ST                                                                                  AKRON           OH    44313‐6415
GREGORY A DIETZEN                                   4407 GUN BARN RD                                                                              ANDERSON        IN    46011‐8795
GREGORY A DROBNY                                    PO BOX 78                                                                                     WAYLAND         MI    49348‐0078
GREGORY A ENSZER                                    12375 WENDOVER DR                                                                             PLYMOUTH        MI    48170‐1292
GREGORY A GOLD                                      3901 S ELKHART ST                                                                             AURORA          CO    80014‐4112
GREGORY A GRAYSON                                   RD #12 4411 FLOWERS ROAD                                                                      MANSFIELD       OH    44903‐8617
GREGORY A GREENE                                    1735 DEER RIDGE WAY                                                                           NEW MARKET      TN    37820‐5259
GREGORY A GRESSA                                    4941 SHORELINE BLVD                                                                           WATERFORD       MI    48329‐1663
GREGORY A HACHTEL                                   1196 S CZECH CT                                                                               FRIENDSHIP      WI    53934‐9541
GREGORY A HAYES                                     243 WEST GRANVILLE ROAD                                                                       WORTHINGTON     OH    43085‐3525
GREGORY A HENRY                                     3418 CHEROKEE AVE                                                                             FLINT           MI    48507‐1936
GREGORY A HOECK                                     555 SUNSET RD                                                                                 LOUISVILLE      KY    40206‐2926
GREGORY A HOOPS                                     10191 SOUTH BAY STREET                                                                        LAINGSBURG      MI    48848‐9785
GREGORY A HUBER                                     100 CEDAR PINE LANE                                                                           MADISON         MS    39110‐8867
GREGORY A HUFF                                      20545 VIA TENORIO                                                                             YORBA LINDA     CA    92887‐3239
GREGORY A HYNES                                     10385 W PIERSON ROAD                                                                          FLUSHING        MI    48433‐9767
GREGORY A JASINSKI                                  1895 LEX‐ONTARIO ROAD RT #8                                                                   MANSFIELD       OH    44904‐9762
GREGORY A JOHNSON                                   7336 LEA PLACE                                                                                FT WORTH        TX    76140‐2427
GREGORY A KANE                                      717 LYMAN AVE                                                                                 OAK PARK        IL    60304‐1613
GREGORY A KNOTT                                     7608 DEVINS RDG                                                                               CLARKSTON       MI    48348‐4351
GREGORY A KOLLAR                                    4419 MURIEL DRIVE                                                                             FLINT           MI    48506‐1450
GREGORY A KORYTKOWSKI                               3677 RAWHIDE CIR                                                                              CASTLE ROCK     CO    80104‐7865
GREGORY A KOSARIN                                   PO BOX 6                                                                                      BASYE           VA    22810‐0006
GREGORY A KRAMPE                                    15360 WACOUSTA                                                                                GRAND LEDGE     MI    48837‐9256
GREGORY A KRUSZEWSKI                                208 BALDWIN AVE                                                                               ROYAL OAK       MI    48067‐1873
GREGORY A KUTCHER & DIANE KUTCHER JT TEN            8407 OLD MILL DR                                                                              PINCKNEY        MI    48169‐8931
GREGORY A LATIMER                                   4001 BLAINE ST                                                                                DETROIT         MI    48204‐2401
GREGORY A LEN                                       8679 ROSARIO CT                                                                               WHITE LAKE      MI    48386‐4403
GREGORY A LIEBER & LORENA G LIEBER TEN ENT          8093 SOUTH RAUCHOLZ ROAD                                                                      ST CHARLES      MI    48655‐9744
GREGORY A LUCKENBILL & EVELYN L LUCKENBILL JT TEN   7931 MEADOW RIDGE DR                                                                          JUSTIN          TX    76247‐4111
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GREGORY A MAIKE                              9451 CHESANING RD                                                                               CHESANING          MI    48616‐9485
GREGORY A MAJOR                              26120 VALHALLA DR                                                                               FARMINGTN HILS     MI    48331‐3782
GREGORY A MANGA                              14033 HUMBUG ISLAND CT                                                                          ROCKWOOD           MI    48173‐9581
GREGORY A MARKWAY & JANET W MARKWAY JT TEN   2004 MEYER BLVD                                                                                 BLUE SPRINGS       MO    64015‐6736

GREGORY A MCDONALD                           46701 WEST RIDGE DRIVE                                                                          MACOMB             MI    48044‐3582
GREGORY A MENTELE                            2809 S RUTGERS AVE                                                                              SIOUX FALLS        SD    57106‐4424
GREGORY A MICHNAY                            1323 STRAWBERRY HILL ROAD                                                                       AFTON              MN    55001‐9666
GREGORY A MILLER                             4787 ARDMORE AVE                                                                                OKEMOS             MI    48864‐1628
GREGORY A MILLER                             113 STREAMVIEW                                                                                  TROY               MI    48098‐4763
GREGORY A MILLER JR                          10324 DIMPLE DELL RD                                                                            SANDY              UT    84092‐4535
GREGORY A MOE                                22 GOOSEBERRY LANE                                                                              LIVERPOOL          NY    13090‐3011
GREGORY A MOLYNEUX                           1179 CALIFON COKESBORY                                                                          LEBANON            NJ    08833‐4542
GREGORY A MONZO                              1348 DONOVAN ST                                                                                 BURTON             MI    48529‐1235
GREGORY A NESS                               5 BELLE PLAINE AVE                                                                              PARK RIDGE         IL    60068‐4913
GREGORY A NOLEN                              1515 W 1350 N                                                                                   PERRYSVILLE        IN    47974‐8109
GREGORY A NORKIEWICZ                         12053 AVERILL DR                                                                                STERLING HEIGHTS   MI    48313‐1701

GREGORY A NOWAK                              4534 D OAK GLEN DR                                                                              SANTA BARBARA      CA    93110‐1361
GREGORY A OBSINCS & ANN O OBSINCS JT TEN     182 WINDERMERE WAY                                                                              AIKEN              SC    29803‐3750
GREGORY A PARKS                              714 WILLOW WAY                                                                                  HEBER              UT    84032‐1024
GREGORY A PEARSE                             2888 CAMBRIDGE DRIVE                                                                            SAN JOSE           CA    95125‐4219
GREGORY A PIERCE                             509 CHARNWOOD CT                       PICKERING ON                           L1V 4Y1 CANADA
GREGORY A POHODICH CUST BRIANNA M POHODICH   5789 HAPPY HILLS DR                                                                             BETHEL PARK        PA    15102‐2353
UTMA PA
GREGORY A POHODICH CUST GREGORY EDWARD       5789 HAPPY HILLS DR                                                                             BETHEL PARK        PA    15102‐2353
POHODICH UTMA PA
GREGORY A POHODICH CUST JOSHUA H POHODICH    5789 HAPPY HILLS DR                                                                             BETHEL PARK        PA    15102‐2353
UTMA PA
GREGORY A PORADA                             3685 FARNSWORTH                                                                                 DETROIT            MI    48211‐3165
GREGORY A PRICHARD                           5404 S FLOYD DR                                                                                 MUNCIE             IN    47302‐8882
GREGORY A RANDALL                            534 CADIEUX RD                                                                                  GROSSE POINTE      MI    48230‐1509
GREGORY A RUF                                7826 KATE BROWN DR                                                                              DUBLIN             OH    43017‐8330
GREGORY A SABAK & TINA M SABAK JT TEN        115 BIRDS EYE VIEW DR                                                                           MORGANTOWN         WV    26501‐2297
GREGORY A SANSIVERI                          186 OLD RIVER ROAD                     UNIT 9                                                   LINCOLN            RI    02865‐1178
GREGORY A SCHAEFFER                          3725 MT VERNON DR                                                                               LAKE ORION         MI    48360‐2713
GREGORY A SCHAFFER                           11364 BRIARWOOD LN                                                                              WHITEHOUSE         OH    43571‐9532
GREGORY A SCHWERING                          14242 SHORLE RD                                                                                 STERLING           OH    44276‐9766
GREGORY A SMILEY                             6384 DALE RD                                                                                    NEWFANE            NY    14108
GREGORY A SMITH                              2169 PARK LANE                                                                                  HOLT               MI    48842‐1220
GREGORY A SMITH                              7545 ST RTE 121 S                                                                               MAYFIELD           KY    42066
GREGORY A SPINNEY                            333 NORTHBROOK DR                                                                               SHREVEPORT         LA    71106‐8145
GREGORY A SPRIET                             20930 THIELE DR                                                                                 ST CLAIR SHORES    MI    48080
GREGORY A SPRIET & PAMELA M SPRIET JT TEN    20930 THIELE DR                                                                                 ST CLAIR SHORES    MI    48081‐1130
GREGORY A STEPHENS                           PO BOX 45                                                                                       OTSEGO             MI    49078‐0045
GREGORY A TAYLOR                             1105 WOODBURN RD                                                                                DURHAM             NC    27705‐5749
GREGORY A THORN                              PO BOX 303                                                                                      ELIZABETH          WV    26143‐0303
GREGORY A TYSON                              55 BARRETT ROAD                        APT 429                                                  BEREA              OH    44017
GREGORY A VAN OVERSTRAETEN                   7830 NE 147TH ST                                                                                KENMORE            WA    98028‐4698
GREGORY A WADE                               16366 MELROSE ST                                                                                SOUTHFIELD         MI    48075‐4226
GREGORY A WELLS                              43432 MCLEAN CT                                                                                 NOVI               MI    48375‐4017
GREGORY A WOLFENBARGER                       249 PATTON DR                                                                                   SPRINGBORO         OH    45066‐8818
GREGORY A WOODS                              2625 BACON AVE                                                                                  E PALESTINE        OH    44413‐1401
GREGORY A WRIGHT                             28556 COUNTY RD 24                                                                              WARSAW             OH    43844
GREGORY A YASSICK                            669 BENDING BRK                                                                                 FLUSHING           MI    48433
GREGORY A YOUNG                              PO BOX 894                                                                                      BOYNE CITY         MI    49712‐0894
GREGORY AHEE                                 20766 MORNINGSIDE                                                                               GROSSE POINTE      MI    48236‐1463
                                                                                                                                             WOOD
GREGORY AIST                                 1720 E DAVA DR                                                                                  TEMPE              AZ    85283
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GREGORY ALAN AUSTIN                            3150 LUKE MOSER RD                                                                            COLUMBIA         TN    38401‐8230
GREGORY ALAN DEMUTH                            214 HENDERSON RD                                                                              YOUNG HARRIS     GA    30582
GREGORY ALAN HAASE                             1516 E 2ND ST                                                                                 DUARTE           CA    91010‐1808
GREGORY ALAN HALFAST                           329 W 12TH STREET                                                                             ROCHESTER        IN    46975‐2020
GREGORY ALAN JACKSON                           122 MAPLECROFT ST                                                                             LIBERTY          SC    29657
GREGORY ALAN WOLFE                             214 ELLSWORTH DR                                                                              NEWARK           DE    19711‐6936
GREGORY ALBERT FERRELL                         5518 LANGFORD CT                                                                              CONCORD          CA    94521
GREGORY ALLEN                                  2 APPLE MILL LN                                                                               N SALEM          NY    10560‐9758
GREGORY ALLEN                                  2 APPLE MILL LN                                                                               NORTH SALEM      NY    10560‐9758
GREGORY ALLEN BENTON                           1250 AMARILLO ST                                                                              WOLVERINE LK     MI    48390
GREGORY ALLEN HARRIS                           919 TASCOSA DR                                                                                HUNTSVILLE       AL    35802‐2624
GREGORY ALLEN MARINO                           745 INDUSTRIAL DR                                                                             ELMHURST         IL    60126‐1525
GREGORY ALLEN MYERS                            1318 S 825 W                                                                                  LAPEL            IN    46051‐9629
GREGORY ALLEN POWELL                           15058 W 351ST ST                                                                              PAOLA            KS    66071‐6286
GREGORY ANDREICHUK JR                          1112 E BUCKNELL AVE                                                                           INVERNESS        FL    34450‐6801
GREGORY ARROYO & MARGARITA WEEKS JT TEN        3324 WALNUT STREET                                                                            DEARBORN         MI    48124‐4376
GREGORY ASPACHER                               14034 LIMA RD                                                                                 FORT WAYNE       IN    46818‐8900
GREGORY B CRAIG                                3607 NORTHDALE PL                    APT 2                                                    CINCINNATI       OH    45213‐2244
GREGORY B ELLIS                                PO BOX 303                                                                                    FLINT            MI    48501‐0303
GREGORY B FOLAND                               600 JEFF DRIVE                                                                                KOKOMO           IN    46901‐3768
GREGORY B HERRMANN                             1220 REELFOOT CIR                                                                             NASHVILLE        TN    37214‐4044
GREGORY B KELL                                 8 OVERLOOK CIRCLE                                                                             NEW CUMBERLAND   WV    26047‐4031

GREGORY B ROBERTSON                            8908 NORWICK RD                                                                               RICHMOND         VA    23229‐7716
GREGORY B ROOT                                 17865 BRIGGS ROAD                                                                             CHESANING        MI    48616‐9761
GREGORY B ROWLES & LINDA K ROWLES JT TEN       10025 SW 135TH                                                                                BEAVERTON        OR    97008‐8028
GREGORY B SMITH                                6390 WHITE OAKS DRIVE                                                                         ANDERSON         IN    46013‐9768
GREGORY B SUMMERS                              12121 MASTIN                                                                                  OVERLAND PARK    KS    66213‐1668
GREGORY B WESTFALL                             415 HAZELWOOD DR W                                                                            FT WORTH         TX    76107‐1579
GREGORY BAILEY                                 49864 POINTE XING                                                                             PLYMOUTH         MI    48170‐6435
GREGORY BASTIAN                                1212 VYSE AV                                                                                  BRONX            NY    10459‐1961
GREGORY BATCHELOR                              3124 CHESTNUT CT                                                                              WATERFORD        MI    48329‐2279
GREGORY BATZOHA                                43715 DONLEY DR                                                                               STERLING HTS     MI    48314‐2634
GREGORY BENNETT                                2709 W CARTER ST                                                                              KOKOMO           IN    46901‐4063
GREGORY BENYON JR                              38 LAKE DR                                                                                    PLAINFIELD       IL    60544‐8914
GREGORY BIEN                                   5500 GARRETSON                                                                                OXFORD           MI    48371‐2800
GREGORY BJORNDAHL                              10560 COSTELLO DR                                                                             TUSTIN           CA    92782‐1400
GREGORY BLACK                                  135 ROCKLAND DR                                                                               SHARPSBURG       GA    30277‐2120
GREGORY BOUCHARD                               PO BOX 75                            117 S MAIN ST                                            TERRYVILLE       CT    06786‐6200
GREGORY BROUS                                  293 CURTIS RD                                                                                 ITHACA           NY    14850‐8620
GREGORY BROWN                                  402 INDIAN ELM LN                                                                             CARY             NC    27519‐7017
GREGORY BRUCE BERNARD                          11853 17TH AVE                                                                                LEMOORE          CA    93245‐9519
GREGORY BURTON                                 1356 BRADFORD DR                                                                              ST LOUIS         MO    63304‐6701
GREGORY C CHANN                                90 TWIN OAK LANE                                                                              WILTON           CT    06897‐2738
GREGORY C EDWARDS                              4898 S ATLANTIC AVENUE                                                                        PONCE INLET      FL    32127
GREGORY C FOREMAN                              8 VIBURNUM LN                                                                                 GREENSBORO       NC    27455‐2768
GREGORY C GILLES                               655 AMBERTON CLOSE                                                                            SUWANEE          GA    30024‐3065
GREGORY C HOLMES                               14634 ROSELAWN                                                                                DETROIT          MI    48238‐1892
GREGORY C JOHNSON                              20855 LAHSER RD                      509 #                                                    SOUTHFIELD       MI    48034‐4437
GREGORY C KIMMER                               6050 NEW LOTHROP RD                                                                           DURAND           MI    48429‐1774
GREGORY C LOVE                                 3332 CROTON DR                                                                                NEWAYGO          MI    49337‐8366
GREGORY C MELUCCI                              203 ELMHURST CIR                                                                              CRANBERRY TWP    PA    16066‐2819
GREGORY C METZGAR                              2750 MCCONNELL HWY                                                                            CHARLOTTE        MI    48813‐8700
GREGORY C MITCHELL                             4664 HWY 16 WEST                     DEKALB                                                   DE KALB          MS    39328
GREGORY C NICOLAIDIS                           VAS PAVLOU 34A                       VOULA                                  16673 GREECE
GREGORY C NICOLAIDIS                           VAS PAVLOS 34A                       VOULA                                  16673 GREECE
GREGORY C PASQUALE CUST CHRISTINE M PASQUALE   53‐102 63RD ST                                                                                MASPETH          NY    11378‐1225
UGMA NY
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GREGORY C PASQUALE CUST GREGORY A PASQUALE       53‐102 63RD ST                                                                               MASPETH           NY    11378‐1225
UGMA NY
GREGORY C REYNOLDS                               3813 BAYVIEW DRIVE                                                                           LANSING           MI    48911‐2509
GREGORY C SCHOTTMILLER                           38 BRIGHT OAKS DR                                                                            ROCHESTER         NY    14624‐4736
GREGORY C SHAW                                   1363 N BAY DR                                                                                ANN ARBOR         MI    48103‐8304
GREGORY C WALKER                                 PO BOX 323                                                                                   COLUMBIAVILLE     MI    48421‐0323
GREGORY CANIGLIA                                 5610 GOODMAN DR                                                                              NORTH ROYALTON    OH    44133‐3904

GREGORY CANIGLIA CUST PATRICIA LYNN CANIGLIA     5610 GOODMAN DR                                                                              N ROYALTON        OH    44133‐3904
UTMA OH
GREGORY CASTREY                                  20406 IL HWY 26                                                                              PRINCETON         IL    61356‐9079
GREGORY CHANN                                    90 TWIN OAK LANE                                                                             WILTON            CT    06897‐2738
GREGORY CHARLES SMITH & JANINE LOUISE SMITH JT   8810 COCHISE LANE                                                                            PORT RICHEY       FL    34668‐5601
TEN
GREGORY CHELLINO                                 1409 MILLS ROAD                                                                              JOLIET            IL    60433‐9561
GREGORY CHRISTIE CUST CLAYTON CHRISTIE UTMA CT   PO BOX 1523                                                                                  ANTIOCH           TN    37013

GREGORY CLARK HAMMOND                       32 GROVE PLACE                                                                                    WHIPPANY          NJ    07981‐1312
GREGORY CRABILL                             2536 GULF GATE DR                                                                                 SARASOTA          FL    34231‐5731
GREGORY CROCKETT                            130 ROCKY HILL RD                                                                                 ESSEX             MA    01929‐1261
GREGORY D ATWELL                            ATTN ATWELLS AUTO BODY                   2328 HUCKABY                                             COLUMBIA          TN    38401‐7400
GREGORY D BREFKA                            9941 BENDER ROAD                                                                                  FRANKENMUTH       MI    48734‐9118
GREGORY D BUNN                              6108 N HARDING AVE                                                                                CHICAGO           IL    60659‐3108
GREGORY D BUNN                              6108 N HARDING AVE                                                                                CHICAGO           IL    60659‐3108
GREGORY D CONYERS                           116 PLEASANT ST                          APT 27                                                   EASTHAMPTON       MA    01027‐2747
GREGORY D DENZER & SUSAN H DENZER TEN COM   436 SHEFFIELD                                                                                     RICHARDSON        TX    75081‐5540
GREGORY D DOSS                              PO BOX 464                                                                                        DAVISBURG         MI    48350‐0464
GREGORY D EARNEST                           1725 CREEKSTONE DR                                                                                COLUMBIA          TN    38401‐6718
GREGORY D GLEASON                           14654 N HAWTHORNE CT                                                                              LOCKPORT          IL    60441‐9352
GREGORY D GOOLSBY                           535 RUCKER RD                                                                                     ALPHARETTA        GA    30004
GREGORY D HARBER                            5129 E 46TH ST                                                                                    INDIANAPOLIS      IN    46226‐3222
GREGORY D KELLY                             PO BOX 24058                                                                                      COLUMBUS          OH    43224‐0058
GREGORY D KRIEGER                           2785 LUPINE CT                                                                                    ROCKLIN           CA    95677‐2107
GREGORY D LANDIS                            BOX 443                                                                                           PARKER CITY       IN    47368‐0443
GREGORY D LEUZZI                            93 GILBERT ST                                                                                     MALDEN            MA    02148‐1720
GREGORY D LEWIS                             3183 E MILLER RD                                                                                  MIDLAND           MI    48640‐8591
GREGORY D M MALETTA & MRS RUTH B MALETTA JT 9707 OLD GEORGETOWN RD APT 2222                                                                   BETHESDA          MD    20814‐1756
TEN
GREGORY D MENZEL                            537 77TH ST W                                                                                     EAGAN             MN    55121‐2332
GREGORY D NORRIS                            126 ELVA ST                                                                                       ANDERSON          IN    46013‐4659
GREGORY D PHILLIPS                          G3277 MILLER RD                                                                                   FLINT             MI    48507‐1358
GREGORY D PHILLIPS                          417 FLORENCE AVE                                                                                  ONEIDA            NY    13421‐2228
GREGORY D RENN                              1628 DELTON AVE NW                                                                                BEMIDJI           MN    56601‐2513
GREGORY D SCHEUERMANN & ALIDA M SCHEUERMANN 501 MERCER AVE                                                                                    SPRING LAKE       NJ    07762‐1242
JT TEN
GREGORY D SCHROTH                           9465 RIDGE RD                                                                                     GOODRICH          MI    48438‐9480
GREGORY D SCHULZ                            4980 BELL RIVER ROAD                                                                              ATTICA            MI    48412
GREGORY D SOLOKO                            22347 LANCASTER CT                                                                                NOVI              MI    48374‐3974
GREGORY D SPRATT                            8047 E FACTORY RD                                                                                 W ALEXANDRIA      OH    45381‐9504
GREGORY D THARP                             14344 WILLOW TREE LANE                                                                            WEST FRANKFORT    IL    62896‐4277
GREGORY D WARD                              156 ERIS RD                                                                                       URBANA            OH    43078‐8622
GREGORY D WELSH CUST TYLER E WELSH UGMA NY  BOX 62                                                                                            PATTERESONVILLE   NY    12137‐0062

GREGORY D WHITE                                  343 NORTH MAIN STREET                                                                        NATICK            MA    01760‐1121
GREGORY D WHITE                                  2460 W ZION HILL RD                                                                          QUAKERTOWN        PA    18951‐4028
GREGORY D WHITE                                  3621 LAMA AVE                                                                                LONG BEACH        CA    90808‐3119
GREGORY D WILSON                                 12230 EAGLE RD                                                                               NEW LEBANON       OH    45345‐9122
GREGORY DALLAS YOUNG                             12145 DALHART DRIVE                                                                          FENTON            MI    48430‐8858
GREGORY DE WAYNE MORGAN                          7463 TOWNSHIP ROAD 150                                                                       WEST LIBERTY      OH    43357‐9727
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GREGORY DEAN FERRARI‐HEATH                       2835 ECHO SPRINGS DR                                                                               CORONA           CA    92883‐5919
GREGORY DEAN HAVLOVITZ CUST DEAN ADAM            N3065 CHURCH RD                                                                                    KEWAUNEE         WI    54216‐9206
HAVLOVITZ UTMA WI
GREGORY DEANDA                                   5015 NANCY LN                                                                                      MANSFIELD        TX    76063‐5275
GREGORY DEFREYTAS & ANN DEFREYTAS JT TEN         614 BRIERWOOD CT                                                                                   ANN ARBOR        MI    48103‐3656
GREGORY DOUGLAS                                  36204 EATON DR                                                                                     CLINTON TWP      MI    48035‐1444
GREGORY E ALWIN                                  8500 S BEARDSLEE RD                                                                                OWOSSO           MI    48867‐9289
GREGORY E BARRERA                                330 SCOTTY DR                                                                                      SAN ANTONIO      TX    78227‐3912
GREGORY E CESSNA                                 4069 VALLEY OF LKS                                                                                 HAZLETON         PA    18202‐4000
GREGORY E CHADARANEK & ERWIN A CHADARANEK JT     PO BOX 260                                                                                         LYONS            IL    60534
TEN
GREGORY E DAVIS                                  5151 WOODCLIFF DR                                                                                  FLINT            MI    48504‐1256
GREGORY E GIVENS                                 1176 E COUNTY ROAD 400 S                                                                           NEW CASTLE       IN    47362‐8726
GREGORY E GOLDSBORO                              604 W LEA BLVD APT A2                                                                              WILMINGTON       DE    19802‐2045
GREGORY E GURSKY                                 16204 SWATHMORE LN                                                                                 LIVONIA          MI    48154‐1053
GREGORY E HINDLE & PATRICIA E HINDLE JT TEN      11315 QUIGLEY LN                                                                                   CONNEAUT LAKE    PA    16316‐3747
GREGORY E HOWZE                                  1516 FOUNTAINHEAD LN                                                                               SAINT LOUIS      MO    63138‐3339
GREGORY E HUBER                                  1724 NW DANUBE DRIVE                                                                               BLUE SPRINGS     MO    64015‐6406
GREGORY E JOHNSON                                1001 JEROME WAY                                                                                    APOPKA           FL    32703
GREGORY E KLINE                                  PO BOX 542                                                                                         GREENTOWN        PA    18426‐0542
GREGORY E MARK & CYNTHIA ANN MARK JT TEN         27602 ASHBY CT                                                                                     SAUGUS           CA    91384‐3518
GREGORY E MILLER                                 PO BOX 804                                                                                         DRAPER           UT    84020‐0804
GREGORY E MOLZON                                 5000 E GRANT RD                       LOT 60                                                       TUCSON           AZ    85712
GREGORY E PUGH                                   1208 FRANKLIN AV                                                                                   ALIQUIPPA        PA    15001‐3311
GREGORY E PUGNETTI & R ANNETTE PUGNETTI JT TEN   4606 DEMBY DR                                                                                      FAIRFAX          VA    22032‐1707

GREGORY E SCHARDING                              60 BLENHEIM CT NE                                                                                  CONCORD          NC    28025‐9566
GREGORY E SCHARDING & ROBIN L SCHARDING JT TEN   60 BLENHEIM CT NE                                                                                  CONCORD          NC    28025‐9566

GREGORY E SCHMIDLI                               1448 COUNTY RD JJ                                                                                  NEENAH           WI    54956‐3544
GREGORY E SIGLER                                 18388 SCHUBERT RD                                                                                  DEFIANCE         OH    43512‐8947
GREGORY E STANSIFER                              11801 PAINTED PEAK WAY                                                                             FORT WAYNE       IN    46845‐2069
GREGORY E THOMPSON                               35800 BAL CLAIR ST                                                                                 NEW BALTIMORE    MI    48047‐2476
GREGORY E TRAGESSER                              3625S 500W                                                                                         TIPTON           IN    46072‐8993
GREGORY E TYLER                                  7588 S COLBY LAKE RD                                                                               LAINGSBURG       MI    48848‐9790
GREGORY E WILSON                                 4225 RED BUD AVE                                                                                   ST LOUIS         MO    63115‐3020
GREGORY E WRIGHT                                 5552 FAWNBROOK LANE                                                                                DUBLIN           OH    43017‐8251
GREGORY E ZALEWSKI                               9 ARDMORE ROAD                                                                                     NEW BRITAIN      CT    06053‐3401
GREGORY EARL ROGERS                              9389 PRESERVE TRL                                                                                  SAINT PAUL       MN    55125‐7504
GREGORY EDWARD LEWIS                             17 MYRTLE AV                                                                                       HAVERTOWN        PA    19083‐5730
GREGORY F BERG                                   4300 SPRINGWOOD AVE                                                                                BALTIMORE        MD    21206‐1935
GREGORY F BOULANGER & ELIZABETH A BOULANGER JT   1041 OLD TURNPIKE RD                                                                               PLANTSVILLE      CT    06479‐1717
TEN
GREGORY F CERNOS                                 2719 FAWKES DR                                                                                     WILMINGTON       DE    19808‐2109
GREGORY F DORGAN                                 119 NICHOLS ST                                                                                     SPENCERPORT      NY    14559‐2161
GREGORY F DRAXLER TR UA 02/27/01 DRAXLER         3641 REAGAN ST                                                                                     DALLAS           TX    75219
REVOCABLE LIVING TRUST
GREGORY F GRUSKA                                 35380 BLUE SPRUCE DR                                                                               FARMINGTON       MI    48335‐4618
GREGORY F MANN                                   5193 FAIRLAWN DRIVE                                                                                FAYETTEVILLE     NY    13066‐1800
GREGORY F OSLER                                  1283 RECORD CROSSING                                                                               DALLAS           TX    75235‐6001
GREGORY F PECK                                   WATER MEADOW HOUSE                    OULTON NORFOLK                         NR116 GREAT BRITAIN                          ‐T UK
GREGORY F POMPOS                                 10921 N W 18TH PLACE                                                                               PEMBROKE PINES   FL    33026‐2213
GREGORY F RILEY                                  13105 CRESTVIEW LN                                                                                 CULPEPPER        VA    22701‐4834
GREGORY F STACHOW                                601 HORST AVENUE                                                                                   LEBANON          PA    17042‐7751
GREGORY F STANFEL & HOLLY J STANFEL JT TEN       6303 SEMINOLE DR                                                                                   TROY             MI    48098‐1129
GREGORY F STEFANIK                               11171 WHISPERING RIDGE TRL                                                                         FENTON           MI    48430‐3410
GREGORY F WARD                                   1410 DIFFORD                                                                                       NILES            OH    44446‐2843
GREGORY F WILLIAMS                               301 E 18TH AVE                        APT 76                                                       ELLENSBURG       WA    98926‐2104
GREGORY F WIRTZ                                  2290 HILLCREST ROAD                                                                                QUAKERTOWN       PA    18951‐2231
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GREGORY F ZACKOWSKI                          2013 CHALCEDONY ST                                                                              SAN DIEGO          CA    92109‐3412
GREGORY F ZINK                               2827 STONEWALL AVE                                                                              WOODRIDGE          IL    60517‐1013
GREGORY F ZINK & GAIL M ZINK JT TEN          2827 STONEWALL                                                                                  WOODRIDGE          IL    60517‐1013
GREGORY FERNEBOK                             6931 ARLINGTON RD SUITE 500                                                                     BETHESDA           MD    20814
GREGORY FLOYD                                4031 GLENDALE ST                                                                                DETROIT            MI    48238‐3209
GREGORY FORCE                                729 GLENRIDGE RD                                                                                SPARTANBURG        SC    29301‐5307
GREGORY G ADAMS CUST MATTHEW AARON ADAMS     8425 COLONIAL DR                                                                                LONE TREE          CO    80124‐9711
UGMA MI
GREGORY G BROUGHMAN                          7365 E PITTSBURG RD                                                                             DURAND             MI    48429‐9139
GREGORY G CEBULA & LINDA A CEBULA JT TEN     1180 BALDWIN                                                                                    JENISON            MI    49428‐9758
GREGORY G CLATWORTHY                         4122 E MILWAUKEE                                                                                JANESVILLE         WI    53546‐3720
GREGORY G EVANS                              6704 W FENRICK RD                                                                               EVANSVILLE         WI    53536‐9526
GREGORY G FEKIN & DARLENE T FEKIN JT TEN     1359 THREE MILE DRIVE                                                                           GROSSE POINTE      MI    48230‐1123
                                                                                                                                             PARK
GREGORY G GLASSER                            1340 BROOKPARK DR                                                                               MANSFIELD          OH    44906‐3502
GREGORY G GOLDSMITH                          310 ALICE DR                                                                                    LAFAYETTE          LA    70503‐4807
GREGORY G GRESH                              411 OCEAN RD                                                                                    SPRING LAKE        NJ    07762‐1027
GREGORY G KENAST                             32729 SUNBURST CT                                                                               EAST TROY          WI    53120‐9605
GREGORY G MAY                                5784 OGILBY DRIVE                                                                               HUDSON             OH    44236‐3958
GREGORY G MAY & JANIS E MAY JT TEN           5784 OGILBY DR                                                                                  HUDSON             OH    44236‐3958
GREGORY G MIROW                              PO BOX 159                                                                                      BLOOMVILLE         OH    44818‐0159
GREGORY G MIROW & DEBORAH D MIROW JT TEN     PO BOX 159                                                                                      BLOOMVILLE         OH    44818‐0159

GREGORY G MONARDO U/GDNSHIP OF GEORGE D      946 JUPITER DR                                                                                  INCLINE VLG        NV    89451‐8701
MONARDO
GREGORY G MUTHLEB                            3760 CORTLAND                                                                                   DETROIT            MI    48206‐1006
GREGORY G POTTER                             550 OAK DALE                                                                                    MILFORD            MI    48380‐3442
GREGORY G PREGENT                            6 MORSE ROAD                                                                                    LEBANON            NH    03766‐2324
GREGORY G SHARKEY                            35437 GRISWALD                                                                                  MT CLEMENS         MI    48035‐2621
GREGORY G SHOOK                              8416 N GENESEE RD                                                                               MT MORRIS          MI    48458‐8945
GREGORY G SMITH                              2235 W MILLER RD                                                                                MORRICE            MI    48857‐9765
GREGORY G SULLIVAN                           110 GARLAND WAY                                                                                 WATERFORD          MI    48327‐3687
GREGORY G TANNER                             486 NEWBERRY LN                                                                                 HOWELL             MI    48843‐9560
GREGORY G TYE                                14 LUDLOW COURT                                                                                 BRISTOL            CT    06010‐2684
GREGORY G VAN ZWEDEN                         456 S GLEN DRIVE                                                                                FRUIT HEIGHTS      UT    84037‐2341
GREGORY G VENELL                             14200 GREEN VIEW COURT                                                                          EDEN PRAIRIE       MN    55346‐3042
GREGORY GARBER                               30 UNION ST                                                                                     NEWTOWN            PA    18940‐1461
GREGORY GAYDOS                               312 RANDOLPH AVE                                                                                S PLAINFIELD       NJ    07080
GREGORY GEE                                  9612 W 143RD ST                                                                                 ORLAND PARK        IL    60462‐2002
GREGORY GIBBONS CUST BRYAN GIBBONS UTMA PA   2742 TILLIA DR                                                                                  ALLISON PARK       PA    15101‐4025

GREGORY GLENN                                11645 WASHBURN                                                                                  DETROIT            MI    48204‐1947
GREGORY GOODALL                              570 DAHLIA CRES                        PICKERING ON                           L1W 3G5 CANADA
GREGORY GRAY                                 C/O JOHNIE GRAY                        700 E COURT ST APT 203                                   FLINT              MI    48503
GREGORY GREEN                                33340 MC COY                                                                                    STERLING HEIGHTS   MI    48312‐6542

GREGORY GREEN & EILEEN GREEN JT TEN          33340 MCCOY                                                                                     STERLING HEIGHTS   MI    48312‐6542

GREGORY GRISH                                1411 CYPRESS LANE                                                                               MT PROSPECT        IL    60056
GREGORY GROMEK                               19900 CHELSEA PL                                                                                BEVERLY HILLS      MI    48025‐2902
GREGORY GULISH                               5035 E 12TH AVE                                                                                 APACHE JCT         AZ    85219‐7817
GREGORY H CHUN                               1238 LAKESHORE BLVARD                                                                           LAKE ORION         MI    48362
GREGORY H CULLIMORE                          9361 E BENNINGTON RD                                                                            DURAND             MI    48429‐9703
GREGORY H EDWARDS                            535 SUN MANOR                                                                                   FLUSHING           MI    48433
GREGORY H FORSYTHE                           23 MERRILLS CHASE                                                                               ASHEVILLE          NC    28803‐9579
GREGORY H FULLER                             37 GLEN CT                                                                                      SAUSALITO          CA    94965‐2064
GREGORY H HENDERSON                          13501 E 114TH ST                                                                                FISHERS            IN    46038‐9711
GREGORY H KIRK                               7130 HOLIDAY DR                                                                                 BLOOMFIELD TWP     MI    48301‐3757
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GREGORY H MACCLAREN & RHONDA A MACCLAREN JT 32645 BARKLEY ST                                                                                   LIVONIA         MI    48154‐3516
TEN
GREGORY H NAZARIAN CUST ANDREW H NAZARIAN       10 HIGHLAND AVE                                                                                MATAWAN         NJ    07747‐2641
UGMA NY
GREGORY H NAZARIAN CUST CHRISTINE E NAZARIAN    10 HIGHLAND AVE                                                                                MATAWAN         NJ    07747‐2641
UGMA NY
GREGORY H NYE                                   5757 FARAGHER RD                                                                               OVID            MI    48866‐9620
GREGORY H SEYMOURIAN & MRS D DEANNA             507 PLEASANT ST                                                                                MILTON          MA    02186‐4834
SEYMOURIAN JT TEN
GREGORY H WATSON                                C/O RHONDA WATSON                     6362 KEMPTON RD                                          CENTERVILLE     IN    47330‐9612
GREGORY HAEFNER & JANE HAEFNER JT TEN           3243 LIN‐TEL RD                                                                                ST LOUIS        MO    63125
GREGORY HARTNELL & MRS JOAN MARIE HARTNELL JT 7264 W CLARENCE                                                                                  CHICAGO         IL    60631‐1925
TEN
GREGORY HARVARD                                 14561 LESLIE                                                                                   OAK PARK        MI    48237‐1908
GREGORY HEITHAUS                                9300 BAREFOOT TRL                                                                              CHESTERFIELD    VA    23832‐7587
GREGORY HIBBS & PATRICIA HIBBS JT TEN           32007 LANCASTER                                                                                WARREN          MI    48093‐1350
GREGORY HILL                                    21101 GREENVIEW RD                                                                             SOUTHFIELD      MI    48075‐7119
GREGORY HOEFER                                  388 SW 176TH PL                                                                                NORMANDY PARK   WA    98166‐3762
GREGORY HUDSON                                  2314 GOLDCREST                                                                                 ONTARIO         CA    91761‐5811
GREGORY HYLTON                                  200 MACK RD                                                                                    MARTINSVILLE    VA    24112
GREGORY I GALLIHER                              8200 N BOUNDRY RD                                                                              BALTIMORE       MD    21222‐3412
GREGORY J ALEE                                  16207 DALE STREET                                                                              DETROIT         MI    48219‐4906
GREGORY J BAKER                                 PO BOX 345                                                                                     COLUMBIAVILLE   MI    48421‐0345
GREGORY J BARTMAN                               4057 DOWDALL                                                                                   FLINT           MI    48506‐2037
GREGORY J BEAUDRY                               19173 NORWICH                                                                                  LIVINIA         MI    48152‐1222
GREGORY J BOROWSKI                              18788 DARGANTZ                                                                                 PETERSBURG      MI    49270‐9354
GREGORY J BOROWSKI & VIRGINIA M BOROWSKI JT TEN 18788 DARGANTZ                                                                                 PETERSBURG      MI    49270‐9354

GREGORY J BRANDELL                               2575 HICKORY HEIGHTS CT                                                                       MILFORD         MI    48381‐3279
GREGORY J BROWN & ANGELA W BROWN JT TEN          932 HARRINGTON LN                                                                             EAST LANSING    MI    48823‐7375
GREGORY J BURDA SR                               15145 HUBBARD                                                                                 LIVONIA         MI    48154
GREGORY J BURDA SR                               15145 HUBBARD                                                                                 LIVONIA         MI    48154
GREGORY J BUSSE                                  2337 FOX RIVER PKY                                                                            WAUKESHA        WI    53189‐7754
GREGORY J CHANCEY                                900 HARCOURT RD                                                                               GROSSE POINTE   MI    48230‐1874
                                                                                                                                               PARK
GREGORY J CHANDLER                               14 GERRARD ST                        LONDON ON                              N6C 4C5 CANADA
GREGORY J COLLIER                                3617 TWINING ST                                                                               TOLEDO          OH    43608‐1344
GREGORY J COLLIN                                 14207 JANE CT                                                                                 WARREN          MI    48093‐3732
GREGORY J COMPTON                                2858 MANN RD                                                                                  CLARKSTON       MI    48346‐4238
GREGORY J CONKLING EX EST MART T CONKLING        415 OLD YORK RD                                                                               JENKINTOWN      PA    19046
GREGORY J DANGELO                                4613 S GRAVEL RD                                                                              MEDINA          NY    14103‐9551
GREGORY J DANTE & TAYLOR A DANTE JT TEN          1301 ROSS LN                                                                                  ROCHESTER       MI    48306‐4813
GREGORY J DECKER & CELESTE M DECKER JT TEN       34204 JEWELL DRIVE                                                                            STERLING HTS    MI    48312
GREGORY J DIERKERS                               1652 IRVING ST NW                    APT 3                                                    WASHINGTON      DC    20010‐2864
GREGORY J DYSON                                  26902 LAKE RD                                                                                 BAY VILLAGE     OH    44140‐2267
GREGORY J ELLIOTT                                1641 JACKSON ST S W                                                                           WARREN          OH    44485‐3549
GREGORY J FARLEY                                 19359 LAMONT                                                                                  DETROIT         MI    48234‐2264
GREGORY J FAUST                                  3831 GAINESBOROUGH                                                                            ORION           MI    48359‐1621
GREGORY J FEDAK                                  20295 BOURASSA                                                                                TRENTON         MI    48183‐5001
GREGORY J FUHS                                   2021 AMWELL ROAD                                                                              SOMERSET        NJ    08873‐5216
GREGORY J GALLAGHER & GRETCHEN E MAGERMAN JT     382 S MIRALESTE DR #456                                                                       SAN PEDRO       CA    90732‐6064
TEN
GREGORY J GALLIGAN                               797 BROCKER                                                                                   METAMORA        MI    48455
GREGORY J GARGULINSKI                            1862 STONEY COVE                                                                              TROY            MI    48098‐3452
GREGORY J GARGULINSKI & MARCELLA H GARGULINSKI   1862 STONEY COVE                                                                              TROY            MI    48098‐3452
JT TEN
GREGORY J GASPAR                                 309 LAUREL AVE                                                                                HAMILTON        OH    45015‐1449
GREGORY J GEISERT & LOIS E JOHNSON JT TEN        3407 BENMARK PL                                                                               FLINT           MI    48506‐1945
GREGORY J HELD                                   1620 WEST COLE                                                                                FREMONT         OH    43420‐8991
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GREGORY J HUNTER                                  2675 SOUTH LAKE PLEASANT ROAD                                                                   METAMORA          MI    48455‐9372
GREGORY J IGNASZAK                                166 NORTH PARK AVE                                                                              BUFFALO           NY    14216‐2420
GREGORY J JANOWAK                                 3164 DORAL COURT                                                                                ROCHESTER HILLS   MI    48309‐1237
GREGORY J JANOWAK & LAURIE A JANOWAK JT TEN       3164 DORAL COURT                                                                                ROCHESTER HILLS   MI    48309‐1237

GREGORY J JONES                                   1717 TURTLE RIDGE WY                                                                            RALEIGH           NC    27614‐7722
GREGORY J KEMP                                    549 W COOK ROAD                                                                                 MANSFIELD         OH    44907‐2213
GREGORY J KLINGLER & DONNA B KLINGLER JT TEN      4354 GALE RD                                                                                    DAVISON           MI    48423‐8912

GREGORY J KOSTIUK                                 13957 SUNSET                                                                                    LIVONIA           MI    48154‐4337
GREGORY J LINT & DOREEN D LINT JT TEN             13450 LONGSPUR CT                                                                               VALLEYVIEW        OH    44125‐5450
GREGORY J LOCKE                                   4469 S 100 W                                                                                    ANDERSON          IN    46013‐3635
GREGORY J MACK                                    3210 WATERS MILL DR                                                                             ALPHARETTA        GA    30022‐4490
GREGORY J MARTIN                                  3592 BRIARBROOKE LN                                                                             ROCHESTER         MI    48306‐4704
GREGORY J MCCOY                                   492 S 4TH ST                                                                                    ORLEANS           IN    47452‐1922
GREGORY J MELASECCA                               110 TOUCAN RD                                                                                   WILMINGTON        DE    19808‐1623
GREGORY J MERICA                                  6481 S 6TH STREET                                                                               KALAMAZOO         MI    49009‐8441
GREGORY J NOVAK                                   783 E BONANZA DRIVE                                                                             CARSON CITY       NV    89706‐0205
GREGORY J ODETTE & OWEN ODETTE JR JT TEN          6357 QUEENS CT                                                                                  FLUSHING          MI    48433‐3523
GREGORY J ODETTE & OWEN ODETTE JT TEN             6357 QUEENS CT                                                                                  FLUSHING          MI    48433‐3523
GREGORY J OLAN                                    70 INGOMAR DR                                                                                   ROCHESTER         NY    14612‐1730
GREGORY J OLSON                                   508 84TH NE                                                                                     BELLEVUE          WA    98004‐5353
GREGORY J PEARSON                                 5845 CHICKADEE LN                                                                               CLARKSTON         MI    48346‐2910
GREGORY J POHUTSKI                                9311 WILDWOOD LAKE DR                                                                           WHITMORE LAKE     MI    48189‐9432
GREGORY J POROPAT & DEBORAH Z POROPAT JT TEN      14553 SHETLAND DR                                                                               HOMER GLEN        IL    60491‐8807

GREGORY J PYCH                                    145 FOURTH ST                                                                                   CLIFTON           NJ    07011‐3237
GREGORY J RAFT                                    PO BOX 294                                                                                      BIRMINGHAM        MI    48012‐0294
GREGORY J RAPHEL JR                               19 ARDSLEIGH DR                                                                                 MADISON           NJ    07940‐1416
GREGORY J ROMERO                                  11735 S AVE J                                                                                   CHICAGO           IL    60617‐7429
GREGORY J SCOTT                                   9819 NORTHBROOK CT                                                                              ELLIOT CITY       MD    21042‐6258
GREGORY J SEDLACEK                                6143 MILLINGTON RD                                                                              MILLINGTON        MI    48746‐9539
GREGORY J SKINDZIER TOD DONNA M SKINDZIER         16600 WEATHERFIELD DR                                                                           NORTHVILLE        MI    48168
GREGORY J STACH                                   1306 AIRWAY DRIVE                                                                               WATERFORD         MI    48327‐1814
GREGORY J SUTLIFF                                 1104 BRADY ST                                                                                   CHESANING         MI    48616‐1019
GREGORY J SUTTON                                  17141 WASHBURN                                                                                  DETROIT           MI    48221‐2438
GREGORY J SWIFT                                   1738 WIKINS RD                                                                                  ERIE              PA    16505‐2940
GREGORY J SWINK                                   1336 N STINE                                                                                    CHARLOTTE         MI    48813‐8876
GREGORY J TAGAREL & DEBORAH F TAGAREL JT TEN      41744 BROWNSTONE DR                                                                             NOVI              MI    48377‐2505

GREGORY J TEKLINSKI                             2349 KEYLON DR                                                                                    W BLOOMFIELD      MI    48324‐1334
GREGORY J THRASH                                13908 CHRYS CV                                                                                    ALEXANDER         AR    72002
GREGORY J TOMKIEWICZ & KATHLEEN A TOMKIEWICZ JT 2845 KATIE LN                                                                                     MILFORD           MI    48380‐2023
TEN
GREGORY J VAN LERBERGHE                         593 BLAIRMOOR CT                                                                                  GROSSE POINTE    MI     48236‐1240
                                                                                                                                                  WDS
GREGORY J VAN LERBERGHE & DORIS E POTVIN JT TEN   593 BLAIRMOOR CT                                                                                GROSSE PTE WOODS MI     48236‐1240

GREGORY J WARNER                                  PO BOX 5903                                                                                     CAREFREE          AZ    85377‐5903
GREGORY J ZOCCALI                                 2861 HEATHER LN NW                                                                              WARREN            OH    44485‐1241
GREGORY JAMES ARTES                               20862 N MILES ST                                                                                CLINTON TWSP      MI    48036‐1942
GREGORY JAMES MORAN                               15 JUNIPER ROAD                                                                                 FITCHBURG         MA    01420‐2037
GREGORY JOHN BOIKE                                2 HAWKS VW                                                                                      HONEOYE FALLS     NY    14472‐9350
GREGORY JOHN BUSH CUST MARK EDWARD BUSH           4232 E 59TH ST                                                                                  DAVENPORT         IA    52807‐2901
UTMA IA
GREGORY JOHN KALB                                 4976 RIVER VISTA CT                                                                             DUBUQUE           IA    52001
GREGORY JOHN WOZENA                               296 WOODS HOLE RD                                                                               FALMOUTH          MA    02540‐1676
GREGORY JOSEPH GRAHAM                             2211 SE SPRUCE AVE                                                                              PORTLAND          OR    97214‐5361
GREGORY JOSEPH PELON                              4090 HOMESTEAD                         APT 19                                                   BURTON            MI    48529‐1657
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GREGORY JOSEPH PERONA                           13308 FAIRWAY POINT DR                                                                                    ORLANDO            FL    32828
GREGORY JOSEPH RAU                              2309 MAPLEROW NW                                                                                          WALKER             MI    49534
GREGORY JOSEPH SOLAK                            37529 BRISTOL COURT                                                                                       LIVONIA            MI    48154‐1260
GREGORY JOSEPH ZEPKA                            52 HARRIS HILL RD                                                                                         WETHERSFIELD       CT    06109‐3337
GREGORY K BEAM                                  13401 S ANDERSON RD                                                                                       OKLAHOMA CITY      OK    73165‐7909
GREGORY K BROWN                                 220 PARK FOREST DRIVE EAST                                                                                WHITELAND          IN    46184‐9700
GREGORY K CAMPBELL                              2875 BERKSHIRE                                                                                            TROY               MI    48083‐2606
GREGORY K FLOWERS                               2353 PALMYRA RD SW                                                                                        WARREN             OH    44481‐9148
GREGORY K HARTZ                                 100 WIDGEDON LANDING                                                                                      HILTON             NY    14468‐8953
GREGORY K MERCER                                53520 BAYWATER PL                                                                                         BRISTOL            IN    46507‐8608
GREGORY K SANDERFER                             1889 LES ROBINSON RD                                                                                      COLUMBIA           TN    38401‐1329
GREGORY K SCHARENBROCH                          1726 TALL OAKS DR                                                                                         KOKOMO             IN    46901‐7706
GREGORY K WITZMAN                               11428 W DANA LN                                                                                           AVONDALE           AZ    85323‐3439
GREGORY KACZYNSKI & SHARRON KACZYNSKI JT TEN    42362 NIAGARA DR                                                                                          STERLING HEIGHTS   MI    48313‐2927

GREGORY KAMINSKI                                661 5TH PL S                                                                                              GARDEN CITY        NY    11530
GREGORY KEITH GARDNER GDN CHRISTOPHER KEITH     2636 RHUM & EIGG DRIVE                 BOX 3479             GARIBALDI HIGHLANDS   VON 1TO GREAT BRITAIN
GAUDRY GARDNER
GREGORY KEYES                                   7124 LINDALE DRIVE                                                                                        MT MORRIS          MI    48458‐9738
GREGORY KIPPING                                 7 NORTH RAILROAD ST                                                                                       LENZBURG           IL    62255‐2075
GREGORY KWAN EX UW MAE S KWAN                   450 RIDGE RD                                                                                              WATCHUNG           NJ    07069‐5434
GREGORY KWOK & MRS MICHIKO KWOK JT TEN          2‐19‐6 KITA ASAGAYA                    SUGINAMI‐KU          TOKYO 166             JAPAN
GREGORY L ARNDTS                                6837 HOMESTRETCH RD                                                                                       DAYTON             OH    45414‐2517
GREGORY L BAKER                                 2612 CAYUGA RD                                                                                            WILMINGTON         DE    19810
GREGORY L BARBER                                4465 DUFFIELD RD                                                                                          FLUSHING           MI    48433‐9710
GREGORY L BARBER                                134 PLEASANTVIEW                                                                                          GRAND BLANC        MI    48439‐1043
GREGORY L BORCHERT                              937 HELENE COURT                                                                                          ROHNERT PARK       CA    94928‐1460
GREGORY L BOYD                                  53 BLUFF AVE                                                                                              LAGRANGE           IL    60525‐2507
GREGORY L BREWER                                PO BOX 1574                                                                                               LEWISBURG          TN    37091‐0574
GREGORY L BROOKS                                2175 GRANGOR RD                                                                                           OXFORD             MI    48371‐3123
GREGORY L CHEE                                  21121 COUNTRY PARK RD                                                                                     SALINAS            CA    93908‐1407
GREGORY L CHUGRANIS CUST LOUIS DEAN CHUGRANIS   30 BRIARWOOD DR                                                                                           NEW CITY           NY    10956‐6110
UGMA NY
GREGORY L CLARK                                 1517 LAKE METAMORA                                                                                        METAMORA           MI    48455‐8944
GREGORY L CLEMENTZ                              3546 CHARTWELL RD                                                                                         PEORIA             IL    61614‐2326
GREGORY L CRAVEN                                13411 POMONA DR                                                                                           FENTON             MI    48430‐1225
GREGORY L DAVIES                                4601 WHITE HILL ROAD                                                                                      BOWLING GREEN      IN    47833‐8208
GREGORY L DILLEY                                5982 TIPPERARY DRIVE                                                                                      GALLOWAY           OH    43119‐9342
GREGORY L DOTSON                                19049 BAILEY DRIVE                                                                                        MACOMB             MI    48044‐1282
GREGORY L DOUTE                                 8515 MARGARET                                                                                             TAYLOR             MI    48180‐2701
GREGORY L FINCH & THERESE A FINCH JT TEN        34 QUARRY RD                                                                                              WATERFORD          CT    06385‐3711
GREGORY L FLOOD & DELORES M FLOOD JT TEN        130 MEDICI LOOP                                                                                           KISSIMMEE          FL    34759‐4048
GREGORY L FOSTER                                19556 MCINTYRE                                                                                            DETROIT            MI    48219‐5510
GREGORY L GONIEA                                2348 VENTURA                                                                                              WALLED LAKE        MI    48390‐2461
GREGORY L GRIGSBY                               8817 BLACK OAK ST                                                                                         AUSTIN             TX    78729
GREGORY L HODGES                                8193 GRAND BLANC RD                                                                                       SWARTZ CREEK       MI    48473‐7609
GREGORY L HOLMES                                1115 WARREN STREET                                                                                        ROSELLE            NJ    07203‐2735
GREGORY L HOLMES                                259 E PIKE RD                                                                                             FALKVILLE          AL    35622‐5104
GREGORY L HOVSEPIAN CUST DANIELLE R HOVSEPIAN   PO BOX 727                                                                                                ALACHUA            FL    32616‐0727
UTMA‐FL
GREGORY L HOVSEPIAN CUST NICOLE S HOVSEPIAN     PO BOX 727                                                                                                ALACHUA            FL    32616‐0727
UTMA‐FL
GREGORY L HUTCHINSON                            221 W NORTHRUP                                                                                            LANSING            MI    48911‐3704
GREGORY L JOHNSON                               25690 SHIAWASSEE RD                    APT 131                                                            SOUTHFIELD         MI    48033‐3739
GREGORY L JOHNSON                               2112 SOUTH STATE RD                    APT 3                                                              HARTFORD CITY      IN    47348‐1655
GREGORY L KAIN                                  4340 WILMINGTON PIKE                                                                                      DAYTON             OH    45440‐1609
GREGORY L KING                                  C/O MARY L KING                        PO BOX 27231                                                       LAS VEGAS          NV    89126‐1231
GREGORY L KOCHERSPERGER                         7245 S JAY ROAD                                                                                           WEST MILTON        OH    45383‐7713
GREGORY L LAMMING                               11264 VFW RD                                                                                              EATON RAPIDS       MI    48827‐9716
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GREGORY L LEMASTERS & REBECCA J LEMASTERS JT TEN RD 2                                                                                            WEST ALEXANDER     PA    15376‐9802

GREGORY L LITMER                                 9629 E BASE RD                                                                                  GREENSBURG       IN      47240‐8826
GREGORY L LITTLE                                 452 S CO RD 400 EAST                                                                            KOKOMO           IN      46902
GREGORY L MCKINNEY                               PO BOX 87702                                                                                    CANTON           MI      48187‐0702
GREGORY L NOYES                                  710 FULMER DR                                                                                   DAYTON           OH      45403
GREGORY L PALMER                                 1310 PALLISTER                                                                                  DETROIT          MI      48202‐2630
GREGORY L PATTERSON                              8024 LYTLE TRAILS RD                                                                            WAYNESVILLE      OH      45068‐9226
GREGORY L PATTERSON                              21013 REIMANVILLIE                                                                              FERNDALE         MI      48220‐2229
GREGORY L PECK                                   3426 INDIAN CREEK RD                                                                            OXFORD           OH      45056‐9216
GREGORY L PROBERT                                1440 SAINT ALBANS RD                                                                            SAN MARINO       CA      91108‐1861
GREGORY L REYNOLDS                               6248 KINGS POINTE RD                                                                            GRAND BLANC      MI      48439‐8793
GREGORY L RICHARDS                               788 CHESTNUT ST                                                                                 MEADVILLE        PA      16335‐2309
GREGORY L SCHNEIDER                              387 ISLANDER STREET                                                                             OCEAN SIDE       CA      92054‐4771
GREGORY L SCHNETTGOECKE                          RR3 BOX 412                                                                                     CARROLLTON       IL      62016‐9803
GREGORY L SMITH                                  2549 SUMMER OAKS CIR                                                                            SUMMERTOWN       TN      38483‐9206
GREGORY L SMITH                                  4620 PEBBLEPOINT PA                                                                             ZIONSVILLE       IN      46077‐8988
GREGORY L SUTLIFF                                BOX 1307                                                                                        HARRISBURG       PA      17105‐1307
GREGORY L TAFFE                                  22560 BRADY LANE                                                                                FARMINGTON HILLS MI      48335‐2716

GREGORY L THOMAS                                 105 W NC HIGHWAY 54 STE 265                                                                     DURHAM             NC    27713
GREGORY L THOMAS                                 637 ARTHUR ST                                                                                   PONTIAC            MI    48053
GREGORY L TOBIAS                                 10973 DEVILS LAKE HWY                                                                           ADDISON            MI    49220‐9539
GREGORY L VAUGHN                                 PO BOX 386                                                                                      RANCHO SANTA FE    CA    92067‐0386

GREGORY L VOLIVA                                 2103 DR ROBERTSON ROAD                                                                          SPRINGHILL         TN    37174
GREGORY L WALLACE                                3525 SANDHURST                                                                                  LANSING            MI    48911‐1548
GREGORY L WEBB & REGIS V WEBB TEN COM            161 HWY 160                                                                                     BENTON             LA    71006‐8606
GREGORY L WILLIAMSON                             PO BOX 7415                                                                                     BLOOMFIELD HILLS   MI    48302‐7415

GREGORY L WITALEC                                412 LONGSHORE AVE                                                                               PHILADELPHIA       PA    19111‐3913
GREGORY L WRIGHT                                 9707 CROTTINGER RD                                                                              PLAIN CITY         OH    43064‐8892
GREGORY LAWRENCE GARNER                          899 SOUTH SHORE DRIVE                                                                           GLEN BURNIE        MD    21060
GREGORY LEE FREDERICKSON                         N1405 FOREST GLEN DR                                                                            GREENVILLE         WI    54942‐8760
GREGORY LEE PITT                                 14 OVERLOOK PASS                                                                                ENTERPRISE         AL    36330
GREGORY LINDGREN                                 413 COTTON ST                                                                                   SOUTH PLAINFIELD   NJ    07080

GREGORY LOAN                                     144 COUNTY ROUTE 67                                                                             STILLWATER         NY    12170‐1802
GREGORY LOREDO                                   5327 S BISHOP                                                                                   CHICAGO            IL    60609‐5833
GREGORY LOTT                                     155 BAILEY ST                                                                                   LAWRENCEVILLE      GA    30045‐5819
GREGORY LOUIS GRIESWELL                          1900 N MADDOX                                                                                   MUNCIE             IN    47304‐2692
GREGORY LOVELL                                   PO BOX 16176                                                                                    NEWPORT BEACH      CA    92659
GREGORY LOZYNSKYJ & VERA IWANYCKY JT TEN         2300 W SUPERIOR ST #2E                                                                          CHICAGO            IL    60612‐1212
GREGORY M ALEXIOU & JANET P ALEXIOU JT TEN       4346 JAMI COURT                                                                                 FORT MYERS         FL    33901‐8809
GREGORY M ARCINIAGA & ROSALIE K ARCINIAGA JT TEN 42873 WEST MAGIC MOMENT DR                                                                      MARICOPA           AZ    85238

GREGORY M BELIN                                  9437 WHITTIER CT                                                                                LAS VEGAS          NV    89117‐0640
GREGORY M BEUKEMA                                3830 W 115TH PL                                                                                 ALSIP              IL    60803
GREGORY M BUSSELL                                7271 TWIN CANYON DR                                                                             LAMBERTVILLE       MI    48144‐9542
GREGORY M CALACI                                 6525 COUNTY HIGHWAY 16                                                                          DELHI              NY    13753‐3160
GREGORY M CARGES                                 39 W 610 DEERHAVEN TR                                                                           ST CHARLES         IL    60175‐6903
GREGORY M CLINE                                  410 COLONIAL DRIVE                                                                              BEAVER CREEK       OH    45434‐5808
GREGORY M CUNNIFF                                99 WILDWOOD DR                                                                                  TROYE              MI    48098‐1585
GREGORY M DAVIS                                  PO BOX 364                                                                                      KINSMAN            OH    44428‐0364
GREGORY M DOCHYCH                                8149 BUNTON ROAD                                                                                WILLIS             MI    48191‐9799
GREGORY M DOCHYCH & VALERIE A DOCHYCH JT TEN     8149 BUNTON RD                                                                                  WILLIS             MI    48491

GREGORY M DUBOS                                  4821 FAIRPORT ROAD SW                                                                           NEWTON FALLS       OH    44444‐9589
GREGORY M FORSTER                                20960 SANTIA CT                                                                                 CLINTON TWP        MI    48038
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GREGORY M GATES                                  1553 E KEISER RD                                                                                  COLUMBIA CITY      IN    46725‐8447
GREGORY M GEORGE                                 2554 BRECKENRIDGE DR                                                                              ANN ARBOR          MI    48103‐6513
GREGORY M HAYWARD                                849 S LINCOLN RD                                                                                  BAY CITY           MI    48708‐9667
GREGORY M HICKERSON                              14539 5 POINT RD                                                                                  PERRYSBURG         OH    43551‐8817
GREGORY M KERWIN & BEATRICE M KERWIN JT TEN      200 IRISH ROAD                                                                                    LYKENS             PA    17048

GREGORY M KOBA                                   48 EAST VIEW TERRACE                                                                              MERIDEN            CT    06450‐6609
GREGORY M KOZLOWSKI                              9503 FAWN RIDGE RD                                                                                CANADIAN LAKES     MI    49346‐9419
GREGORY M LASKOWSKI & NANCY J LASKOWSKI JT TEN   PO BOX 522                                                                                        ALPENA             MI    49707

GREGORY M LAZOR                                  179 ASPEN DRIVE NW                                                                                WARREN             OH    44483‐1182
GREGORY M LAZOR & CATHERINE W LAZOR JT TEN       179 ASPEN DRIVE N W                                                                               WARREN             OH    44483‐1182
GREGORY M LETENDRE & LINELL A LETENDRE JT TEN    2209 GOLDENTREE WAY                                                                               VIENNA             VA    22182‐5173

GREGORY M LOWE                                   2730 RIVERSIDE DR                                                                                 TRENTON            MI    48183‐2809
GREGORY M MANIKOWSKI                             7 COBBLESTONE CT                                                                                  LANCASTER          NY    14086‐9326
GREGORY M MASSEY                                 15 DUSTIN COVE                                                                                    JACKSON            TN    38301‐7687
GREGORY M MATTHEWS                               1400 COVE LN                                                                                      ST LOUIS           MO    63138‐2408
GREGORY M NUNN                                   10 KENNEDY RD                                                                                     ANDOVER            NJ    07821‐2312
GREGORY M OGLE & CAROLE D OGLE JT TEN            2363 W 800 S                                                                                      BUNKER HILL        IN    46914‐9430
GREGORY M PATTERSON                              20527 HOLLY BARR LN                                                                               CYPRESS            TX    77433‐1747
GREGORY M PAUL                                   26863 25TH AVENUE                      ALDERGROVE BC                            V4W 2Y5 CANADA
GREGORY M PENTIAK                                1193 NORTHOVER DR                                                                                 BLOOMFIELD HILLS   MI    48304‐2036

GREGORY M PUTNEY                                 220 W LINCOLN ST                                                                                  GRAND LEDGE        MI    48837‐1512
GREGORY M ROBERTS                                17465 PROSPECT ST                                                                                 MELVINDALE         MI    48122‐1129
GREGORY M RUSSO & DELORAS J RUSSO JT TEN         9240 JAMES RICHARD DR                                                                             GOODRICH           MI    48438‐9425
GREGORY M SANTOS                                 917 DAN AVE                                                                                       CANAL FULTON       OH    44614‐8877
GREGORY M SCHULZ                                 115 RICHARDS RD                                                                                   CHENONY FORKS      NY    13746‐1629
GREGORY M SENGILLO                               525 SHERBORNE RD                                                                                  WEBSTER            NY    14580‐8752
GREGORY M STEARN                                 50473 EDITH ST                                                                                    CHESTERFIELD       MI    48047
GREGORY M WITTERS                                6666 S STATE RD                                                                                   BANCROFT           MI    48414‐9450
GREGORY M YU CUST JASON TZE KAI YU UGMA NY       318 31ST AVE                                                                                      SAN MATEO          CA    94403‐3311
GREGORY M ZERILLI                                51669 LILLIAN RD                                                                                  NEW BALTIMORE      MI    48047‐3114
GREGORY MABE GDN STEPHANIE LEE MABE              291 E MAIN ST                                                                                     MADISON            OH    44057‐3227
GREGORY MAGEE                                    PO BOX 214                             EAST KEW             VICTORIA AUSTRALI   AUSTRIA
GREGORY MAGRUDER                                 2410 VESTA DR                                                                                     JOLIET             IL    60431‐1243
GREGORY MANASTERSKI                              1805 MADISON DR                                                                                   CORAOPOLIS         PA    15108‐1198
GREGORY MARK FRY & DORINE W FRY JT TEN           #310                                   19111 VISTA BAY DR                                         INDIAN SHORES      FL    33785‐2128
GREGORY MARK SMITH                               1131 MOUNT LANE                                                                                   RHOME              TX    76078‐5414
GREGORY MARK VICKERS                             604 ALTA CUMBE PL                                                                                 EL PASO            TX    79912‐2535
GREGORY MARKEL                                   50 SUTTON PLACE S                                                                                 NEW YORK           NY    10022‐4167
GREGORY MARKHAM LIEBRMAN CUST HANNAH ELOISE      5190 FOREST OAKS DR                                                                               HOLLYWOOD          SC    29449
LIEBERMAN UTMA SC
GREGORY MARSHAL CRAWFORD                         5258 E S AVE                                                                                      VICKSBURG          MI    49097‐8474
GREGORY MARTIN ADM EST ILA MAE ISABELLA MARTIN   203 N LINCOLN ST                                                                                  BURBANK            CA    91506

GREGORY MATTHEW VARGO                            5844 EAST VIEW DR                                                                                 INDPLS             IN    46250‐1847
GREGORY MAURICE ROGERS                           4207 COMSTOCK AVE                                                                                 FLINT              MI    48504‐2171
GREGORY MAZUR CUST PATRICK D MAZUR UGMA MI       39343 LEDGATE DR                                                                                  STERLING HTS       MI    48310‐2339

GREGORY MC HALE & ANN D MC HALE JT TEN           10 LYNN FELLS PKWY                                                                                MELROSE            MA    02176‐2610
GREGORY MCDOUGAL                                 444 FOREST HILL RD                     APT 1202                                                   MACON              GA    31210‐4846
GREGORY MCINTOSH                                 1626 COLEMAN STREET                                                                               WILMINGTON         DE    19805‐4638
GREGORY MICHAEL SERWATKA                         705 POST OAK CT                                                                                   EL PASO            TX    79932‐2511
GREGORY MICHAELS CUST WILLIAM JOSEPH MICHAELS    21 GALE                                                                                           RIVER FOREST       IL    60305‐2009
UTMA IL
GREGORY MULHALL                                  11215 CHESTNUT RIDGE                                                                              FORT WAYNE         IN    46814
GREGORY N BRODY                                  1660 N LASALLE DR                      UNIT 1906                                                  CHICAGO            IL    60614
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GREGORY N DALTON                                   08175 ST RT 15                                                                                 BRYAN          OH    43506‐9762
GREGORY N HILLS CUST BRYAN G HILLS UGMA DE         5410 CRESTLINE ROAD                                                                            WILMINGTON     DE    19808‐3654
GREGORY N RAMBAT & REGINA RAMBAT JT TEN            1518 PEPPERHILL                                                                                LANSING        MI    48917‐1646
GREGORY N SINCLITICO & NANCY B SINCLITICO JT TEN   7807 CHERRY ORCHARD CT                                                                         SPRINGFIELD    VA    22153‐2125

GREGORY N TAPP CUST CASSIE L TAPP UTMA KY          2171 SHADY GROVE‐KNOBLICK ROAD                                                                 SEBREE         KY    42455‐9540
GREGORY N TAPP CUST KELBY N TAPP UTMA KY           2171 SHADY GROVE‐KNOBLICK ROAD                                                                 SEBREE         KY    42455‐9540
GREGORY NAHIGIAN                                   118 LACONIA ST                                                                                 LEXINGTON      MA    02420‐2230
GREGORY NEIL CONWELL                               107 WEST CHIPAWAY DRIVE                                                                        ALEXANDRIA     IN    46001‐2807
GREGORY NICHOLAS SEREVETAS                         651 TENNENT RD                                                                                 MANALAPAN      NJ    07726‐3141
GREGORY NOEL                                       618 WINCHESTER RIDGE CT                                                                        FORT WAYNE     IN    46819‐2269
GREGORY NOWOSATKO                                  32039 JOY ROAD                                                                                 WESTLAND       MI    48185‐1542
GREGORY NOWOSATKO & DARLENE S NOWOSATKO JT         32039 JOY ROAD                                                                                 WESTLAND       MI    48185‐1542
TEN
GREGORY O DEWITT                                   10710 JASPER AVE                                                                               CLEVELAND      OH    44111‐5346
GREGORY O MARTIN                                   16230 PRINCETON                                                                                DETROIT        MI    48221‐3318
GREGORY O SCRUGGS                                  1201 RUNNMEADE AVE SW                                                                          DECATUR        AL    35601‐3649
GREGORY OATES                                      120 W 3RD AVE                         APT 309                                                  SAN MATEO      CA    94402‐1542
GREGORY ONEY                                       10141 MEADOW VIEW CIR                                                                          SALINAS        CA    93907
GREGORY P ALFORD                                   86 MARBLE HILL CT                     UNIT D2                                                  SCHAUMBURG     IL    60193‐1860
GREGORY P BARNES                                   3925 S CHAPEL HILL RD                                                                          DECATUR        AL    35603‐3341
GREGORY P BRIN                                     2270 TRENTON                                                                                   SAGINAW        MI    48602‐3556
GREGORY P DAY                                      293 MONTROSE PL                                                                                BOSSIER CITY   LA    71111‐7126
GREGORY P DUNN                                     PO BOX 326                                                                                     PINCONNING     MI    48650‐0326
GREGORY P FREESE                                   38564 ALBERT BLVD                                                                              MT CLEMENS     MI    48036‐3200
GREGORY P FRIES                                    1929 PALMER DR                                                                                 WIXOM          MI    48393‐1220
GREGORY P GOGUEN                                   1732 FARMINGTON AVE                                                                            UNIONVILLE     CT    06085‐1223
GREGORY P GUITERAS                                 800 TRENTON RD #A8                                                                             LANGHORNE      PA    19047‐5674
GREGORY P HANS                                     4209 COMMONWEALTH                                                                              DETROIT        MI    48208‐2910
GREGORY P HUDACKO                                  22 W 17TH ST                                                                                   BAYONNE        NJ    07002‐3604
GREGORY P JENNINGS & VIRGINIA JENNINGS JT TEN      518 LADYBELL COURT                                                                             ACWORTH        GA    30102‐8138

GREGORY P KARPINSKI                                9655 FOREST RIDGE DR                                                                           CLARKSTON      MI    48348‐4156
GREGORY P KING                                     7674 ROXBURY DR                                                                                YPSILANTI      MI    48197‐2954
GREGORY P LANCASTER                                3051 AULD TATTY DR                                                                             SPRING HILL    TN    37174
GREGORY P LANDERS                                  #100                                  2239 MOORPARK AVE                                        SAN JOSE       CA    95128‐2614
GREGORY P LANG                                     46 SCHOLFIELD RD                                                                               ROCHESTER      NY    14617‐4209
GREGORY P LEAVY                                    PO BOX 945                                                                                     ITASCA         IL    60143‐0945
GREGORY P MC LEAR CUST MEAGAN A MC LEAR UTMA       8218 CARLOWAY ROAD                                                                             INDIANAPOLIS   IN    46236‐7305
IN
GREGORY P MC VANNEL                                5439 SKYLARK PASS                                                                              GRAND BLANC    MI    48439‐9147
GREGORY P MC WHITE                                 15803 ARCHDALE ST                                                                              DETROIT        MI    48227‐1509
GREGORY P MCLEAR CUST KATHERINE ELIZABETH          8218 CARLOWAY RD                                                                               INDIANAPOLIS   IN    46236‐7305
MCLEAR UTMA IN
GREGORY P MULARONI                                 3103 HIDDEN COVE CT                                                                            BRIGHTON       MI    48114‐4947
GREGORY P NEUMEYER                                 13067 FRANDSCHE RD                                                                             CHESANING      MI    48616‐9440
GREGORY P NINI                                     3604 HAYSTACK LANE                                                                             CORNWELLS      PA    19020‐4659
                                                                                                                                                  HEIGHTS
GREGORY P RASMUSSEN                                23 SURREY LN                                                                                   TORRINGTON     CT    06790‐2823
GREGORY P RUSINKO                                  6230 MARTIN DRIVE                                                                              DURAND         MI    48429‐1748
GREGORY P SCHNESK                                  9119 MCWAIN ROAD                                                                               GRAND BLANC    MI    48439‐8005
GREGORY P SEMPLICE                                 4 SOUCY DRIVE                                                                                  BRISTOL        CT    06010‐2579
GREGORY P SHEETS                                   3 CHANDELLE RD                                                                                 BALTIMORE      MD    21220‐3507
GREGORY P SNYDER                                   2503 OAK SHADOWS DR                                                                            CHATTANOOGA    TN    37421‐2048
GREGORY P SPENCER                                  PO BOX 897                                                                                     AUGRES         MI    48703‐0897
GREGORY P STOEBICK                                 13413 LUBECK DR                                                                                FISHERS        IN    46037‐6243
GREGORY P WADSWORTH                                566 BETHEL HILL SCHOOL RD                                                                      ROXBORO        NC    27573‐7509
GREGORY P WEILNAU & PATRICIA A WEILNAU JT TEN      5699 BUFFALO ROAD                                                                              CHURCHVILLE    NY    14428‐9755
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GREGORY P WELLS                                 16217 MUSKET DR                                                                                 MACOMB            MI    48044‐5649
GREGORY P WILLIAMS                              143 COLE ROAD                                                                                   FARMINGTON        PA    15437‐9705
GREGORY PAGONIS                                 14448 BLACK WALNUT CT                                                                           SARATOGA          CA    95070
GREGORY PAUL HAGGERTY                           34712 UNIVERSITY ST                                                                             WESTLAND          MI    48185‐3669
GREGORY PEDERZANI & MRS MARGARET PEDERZANI JT   99 CLINTON ST APT 513                                                                           CONCORD           NH    03301‐2286
TEN
GREGORY PELLAND                                 2793 GATEWOOD DR                                                                                WATERFORD         MI    48329‐3137
GREGORY PERKINS                                 16848 STRATHMOOR                                                                                DETROIT           MI    48235‐4071
GREGORY PETER FISCHETTI                         13112 CHALKSTONE WY                                                                             SILVER SPRING     MD    20904‐5316
GREGORY PETERSON                                7020 IDLEWOOD CT                                                                                WATERFORD         WI    53185‐1842
GREGORY PETRAK                                  12317 ROSEWOOD                                                                                  OVERLAND PARK     KS    66208
GREGORY PHILIP WASELOFF                         640 DECATUR AVE                                                                                 CLOVIS            CA    93611‐7014
GREGORY PIEPMEYER                               3051 TERRA DR                                                                                   BOISE             ID    83709‐3830
GREGORY Q NAVARRO                               APT 205                                6080 FOREST HIL BLVD                                     WEST PALM BEACH   FL    33415‐6233

GREGORY Q NAVARRO & LOUISE S NAVARRO JT TEN     APT 205                                6080 FOREST HILL BLVD                                    WEST PALM BEACH FL      33415‐6233

GREGORY QUAIVER                                 5636 N MEADE AVE                                                                                CHICAGO           IL    60646‐6107
GREGORY R BACH                                  433 TROTTERS LN                                                                                 GREENACRES        FL    33413‐2131
GREGORY R BELLOPATRICK                          PO BOX 1114                                                                                     CLARKSTON         MI    48347‐1114
GREGORY R BLODGETT                              8888 PETERSON ST NE                                                                             ROCKFORD          MI    49341‐8447
GREGORY R BUDNICK                               1606 DERBY CT                                                                                   NAPERVILLE        IL    60563‐2070
GREGORY R CATENA                                PO BOX 44                                                                                       RIVERSIDE         IL    60546
GREGORY R DEMERS                                416 LINDA LN                                                                                    MELBOURNE         FL    32935‐3326
GREGORY R EDINGTON                              13899 THORNAPPLE DR                                                                             PERRY             MI    48872‐9116
GREGORY R GONDA                                 23820 BONNY BANK DRIVE                                                                          WESTLAKE          OH    44145‐3535
GREGORY R GRAHAM                                PO BOX 28392                                                                                    GLADSTONE         MO    64118‐2065
GREGORY R GREMPLER & KIMBERLY K GREMPLER JT TEN 13348 EAST LANE                                                                                 SAINT LOUIS       MO    63128

GREGORY R HILL                                  5766 COUNTY RD 434                                                                              TRINITY           AL    35673
GREGORY R HOLBROOK                              1846 W HUNTSVILLE RD                                                                            PENDLETON         IN    46064‐9095
GREGORY R JAMES                                 4710 MOUNDS ROAD                                                                                ANDERSON          IN    46017‐1845
GREGORY R JOHNSON                               3 WEST POTOMAC DRIVE                                                                            LITTLE EGG HARBOR NJ    08087‐1125

GREGORY R LOUKS                                 1724 VANCOUVER                                                                                  SAGINAW           MI    48603‐6702
GREGORY R MADILL                                5833 HILLIARD                                                                                   LANSING           MI    48911‐4925
GREGORY R MARVIN SR CUST GREGORY R MARVIN JR    14821 N BARTON LAKE DR                                                                          VICKSBURG         MI    49097‐9792
UGMA MI
GREGORY R MC CAULEY                             629 E COLUMBUNE LN                                                                              WESTFIELD         IN    46074‐8733
GREGORY R MCCRUMB                               826 WESTWOOD                                                                                    ANN ARBOR         MI    48103‐3561
GREGORY R MELLO                                 3968 WILDFLOWER COMMON                                                                          FREMONT           CA    94538‐5571
GREGORY R METZGER                               19 CAM COURT                                                                                    WEST SENECA       NY    14224‐2401
GREGORY R MEYER                                 15489 SHADYFORD CT                                                                              CHESTERFIELD      MO    63017‐7424
GREGORY R MILLER                                4108 S TRACEY RD                                                                                JANESVILLE        WI    53548‐9714
GREGORY R NORTON                                3357 HERTFORDSHIRE RD                                                                           FURLONG           PA    18925‐1257
GREGORY R OLSON                                 4190 ORION RD                                                                                   ROCHESTER         MI    48306‐1651
GREGORY R OTTEN                                 110 PAYTON CT                                                                                   ROCKINGHAM        NC    28379‐7885
GREGORY R PAPP                                  10 MAIN STREET CIR                                                                              SYLVANIA          OH    43560‐2892
GREGORY R POWERS CUST REBECCA ANN POWERS        15 BEACH PARK RD                                                                                CLINTON           CT    06413‐2706
UGMA CT
GREGORY R RHOADS & SUZANNE M RHOADS JT TEN      208 CENTER CIRCLE                                                                               BRYAN             OH    43506

GREGORY R RONEWICZ                              740 KNOLLS LANDING DR                                                                           MILFORD           MI    48381
GREGORY R SMITH                                 176 AKRON ST                                                                                    LOCKPORT          NY    14094‐5147
GREGORY R STILES                                8005 E 150 S                                                                                    LAFAYETTE         IN    47905
GREGORY R STRICK                                380 E MACARTHUR RD                                                                              MILWAUKEE         WI    53217
GREGORY R SWIFT                                 110 SHEFFIELD HILL RD                                                                           EXETER            RI    02822‐2908
GREGORY R ZARNICK                               113 COTTONWOOD DR                                                                               FRANKLIN          TN    37069‐4155
GREGORY R ZIEGLER                               16200 PINE LAKE FOREST DR                                                                       LINDEN            MI    48451‐9092
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GREGORY RAMBO & CAROL RAMBO JT TEN              620 VALLEY DR                                                                                MAUMEE             OH    43537‐3754
GREGORY RANIERI                                 205 CHARLES ST                                                                               GARFIELD           NJ    07026
GREGORY RICHMOND                                7222 CITRUS VALLEY DR                                                                        CORPUS CHRISTI     TX    78414‐6238
GREGORY RIGAS                                   1063‐85 ST                                                                                   BROOKLYN           NY    11228
GREGORY ROBERT KOLP                             885 WATERSIDE LN                                                                             BRADENTON          FL    34209‐7737
GREGORY ROBINSON HOLLAND                        3722 AVE SAUSALITO                                                                           IRVINE             CA    92714
GREGORY ROGERS & YU‐HUI ROGERS JT TEN           11100 POTOMAC CREST DR.                                                                      POTOMAC            MD    20854‐2733
GREGORY ROSINSKI & DELPHINE ROSINSKI JT TEN     970 STEPH LN                                                                                 BRIGHTON           MI    48116‐3796
GREGORY ROTH                                    1048 ROOSEVELT                                                                               CONKLIN            MI    49403‐9714
GREGORY ROYE                                    942 PINE TREE WAY                                                                            LANCASTER          PA    17601
GREGORY S ALLEN                                 2523 SE 30TH PL                                                                              OCALA              FL    34471
GREGORY S BAILEY                                103 CANDLE WOODS CRT                                                                         HENDERSONVLLE      TN    37075
GREGORY S BINGHAM                               15143 HIGHWAY M                                                                              RAYVILLE           MO    64084‐9064
GREGORY S BRANZ                                 6590 MARSH ROAD                     COTTRELLVILLE TOWNSHIP                                   MARINE CITY        MI    48039
GREGORY S COLE & JOAN H COLE JT TEN             5235 NORA DR                                                                                 DOUGLASVILLE       GA    30135‐5371
GREGORY S DAWSON                                123 VAN BOMEL BLVD                                                                           OAKDALE            NY    11769
GREGORY S ELY & KAREN D ELY JT TEN              1862 ROBIN MILLS CT                                                                          MARYVILLE          IL    62062
GREGORY S ESPER                                 8094 PARK RD                                                                                 WHITMORE LAKE      MI    48189‐9413
GREGORY S FEDER                                 6826 N 19TH ROAD                                                                             ARLINGTON          VA    22205‐1810
GREGORY S FREED CUST ETHAN J FREED UTMA NJ      24 VISTA RD                                                                                  MONTVILLE          NJ    07045‐9206
GREGORY S GREENLEAF                             693 INLAND WAY NW                                                                            LILBURN            GA    30047‐5855
GREGORY S HEIST                                 45212 BROWNELL ST                                                                            UTICA              MI    48317
GREGORY S HOFFMAN                               7 WHITE OAK RD                                                                               REHOBOTH           DE    19971‐1305
GREGORY S HUNTER                                6922 SHEPHERD RD                                                                             ADRIAN             MI    49221‐9534
GREGORY S JANSSENS                              1617 E MCMILLAN ST                  APT 406                                                  CINCINNATI         OH    45206‐2139
GREGORY S JONES                                 604 N SANTA ANITA AVE               APT A                                                    ARCADIA            CA    90016‐0277
GREGORY S KITER                                 431 MORLEY ST                                                                                GRAND LEDGE        MI    48837‐1231
GREGORY S LAUMAN                                908 STONELEIGH ROAD                                                                          DALTON             GA    30720‐5278
GREGORY S LEHMAN                                12054 NELSON RD                                                                              MORRISON           IL    61270‐9125
GREGORY S MCKOWN                                3640 TROY MILLS ROAD                RD 3                                                     WILLARD            OH    44890‐9599
GREGORY S MCKOWN & SUSAN M MCKOWN JT TEN        3640 TROY MILLS RD RD#3                                                                      WILLARD            OH    44890‐9599

GREGORY S NOWAK & KATHLEEN A NOWAK JT TEN       9 SILVERS LANE                                                                               PLAINSBORO         NJ    08536‐1114

GREGORY S OLNEY                                 2222 N RIVER ROAD WEST                                                                       WARREN             OH    44483
GREGORY S PLATTE CUST ELIZABETH ANN PLATTE UGMA 1150 FOURTH AVE                                                                              ELIZABETH          PA    15037‐1018
PA
GREGORY S PLATTE CUST KATHLEEN MARIE PLATTE     1150 FOURTH AVE                                                                              ELIZABETH          PA    15037‐1018
UGMA PA
GREGORY S PLAYTER                               11319 BAY PINES CT                                                                           FORT WAYNE         IN    46804‐9041
GREGORY S PRIOR                                 390 PASTUREGATELN                                                                            STANARDSVILLE      VA    22973‐3243
GREGORY S RHOADS                                200 W CARTERTOWN RD                                                                          SCOTTSVILLE        KY    42164‐8942
GREGORY S ROGERS                                PO BOX 87                                                                                    WARREN             MI    48090
GREGORY S SEXTON                                9711 CONCORD RD                                                                              BRENTWOOD          TN    37027‐8904
GREGORY S SMITH                                 PO BOX 175                                                                                   DAVISBURG          MI    48350‐0175
GREGORY S SMITH CUST GREGORY STEVEN SMITH II    5417 TINCUP DR                                                                               LAS VEGAS          NV    89130‐1951
UTMA NV
GREGORY S ST CLAIR SR                           1645 WHITLEY DRIVE                                                                           HARRISBURG         PA    17111‐6952
GREGORY S STELMACK                              1783 LEDBURY                                                                                 BLOOMFIELD HILLS   MI    48304‐1251

GREGORY S TARR                                  64527 KILDARE RD                                                                             WASHINGTON         MI    48095
GREGORY S TYNER & DEBORAH N TYNER JT TEN        3089 NW 26TH AVE                                                                             BOCA RATON         FL    33434‐3645
GREGORY S WARDEN                                11360 BIGELOW RD                                                                             DAVISBURG          MI    48350‐1807
GREGORY S WINCHELL                              1549 E ATHERTON RD                  LOT 14                                                   FLINT              MI    48507‐9101
GREGORY S ZIMMERMAN & SUZANNE ZIMMERMAN JT      485 SHETLAND DRIVE                                                                           WILLIAMSVILLE      NY    14221‐3919
TEN
GREGORY SCOTT NOLL                              2017 OLD SHEPHERDSTOWN ROAD                                                                  MARTINSBURG        WV    25401‐9112
GREGORY SCOTT OGLESBY                           5337 TIDWELL HOLLOW RD                                                                       NASHVILLE          TN    37218‐4028
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GREGORY SEFERLIS & MRS SOPHIE SEFERLIS JT TEN     39 AUBURN ST                                                                                  HAVERHILL        MA    01830‐5003

GREGORY SHAW                                      782 PINERIDGE BENDE                                                                           STONE MOUNTAIN   GA    30087

GREGORY SIMPSON                                   17676 W SURREY DR                                                                             SURPRISE         AZ    85388
GREGORY SMITH & LAURA SMITH JT TEN                5940 FORSYTH CRES                    RICHMOND BC                            V7C 2C3 CANADA
GREGORY SPENCER                                   5392 IVANHOE                                                                                  DETROIT          MI    48204‐3680
GREGORY STALLER                                   118 FAIRMOUNT RD W                                                                            CALIFON          NJ    07830‐3331
GREGORY STANKEWICZ CUST KURT MITCHEL              1756 ALLEN ST                                                                                 FORT CAMPBELL    KY    42223
STANKEWICZ UTMA KY
GREGORY STANKEWICZ CUST MEGAN LEE STANKEWICZ      1756 ALLEN ST                                                                                 FORT CAMPBELL    KY    42223
UTMA KY
GREGORY STARTZELL                                 3868 MOREHEAD LN                                                                              PULASKI          VA    24301
GREGORY STELZER                                   619 GALLOWAY DR                                                                               FAYETTEVILLE     NC    28303‐2112
GREGORY STOUT                                     2276 RESERVOIR RD                                                                             CLAYVILLE        NY    13322‐1008
GREGORY STRONG & APRIL A STRONG JT TEN            193 AUTUMN WOODS DRIVE                                                                        CHILLICOTHE      OH    45601‐7055
GREGORY STROUP & KAREN STROUP JT TEN              1752 ATLANTIC NE                                                                              WARREN           OH    44483‐4112
GREGORY SWEATT                                    957 GULL AVE                                                                                  FOSTER CITY      CA    94404‐1456
GREGORY SWICK                                     8280 ST MARY'S LN                                                                             MANASSAS         VA    0ZZZZ
GREGORY T ARMSTRONG                               1015 N KENWOOD AVE                                                                            ROYAL OAK        MI    48067‐1505
GREGORY T BORK                                    2359 OAKNOLL ST                                                                               AUBURN HILLS     MI    48326‐3132
GREGORY T BUCHAR                                  17180 HAMPTON CHASE                                                                           STRONGSVILLE     OH    44136‐6207
GREGORY T BUCKLEY                                 3160 JANES STREET                                                                             SAGINAW          MI    48601‐6316
GREGORY T COWCHOK                                 PO BOX 5807                                                                                   NEWARK           DE    19714‐5807
GREGORY T COYLE                                   27901 WRENSON                                                                                 MADISON HTS      MI    48071‐2746
GREGORY T DELANEY                                 8121 N DOCKSIDE DR                                                                            FAIR HAVEN       MI    48023‐1825
GREGORY T FREITAG                                 6897 STATE HWY 56                                                                             POTSDAM          NY    13676‐3506
GREGORY T GUERRA                                  12516 OSBORNE ST                                                                              PACOIMA          CA    91331‐2126
GREGORY T HALL & LINDA S HALL JT TEN              6208 VALLEY RIDGE DR                                                                          EDMOND           OK    73034‐9536
GREGORY T HITCHINGHAM                             13051 TURNER RD                                                                               DEWITT           MI    48820‐9061
GREGORY T JACKS                                   14978 CADILLAC DRIVE                                                                          SHELBY TWP       MI    48315‐2513
GREGORY T KROSNOWSKI                              2566 MUNGER RD                                                                                TECUMESH         MI    49286
GREGORY T LACY                                    185 WILLIAMTON DR                                                                             WINFIELD         MO    63389‐2318
GREGORY T PRANDO                                  PO BOX 1369                                                                                   HOPEWELL JCT     NY    12533
GREGORY T SANDVIG SR                              6000 NOTTINGHAM DR                                                                            JOHNSTON         IA    50131‐8744
GREGORY T STRIETELMEIER                           3505 RIVER BLUFF RD                                                                           PROSPECT         KY    40059‐9005
GREGORY T SZUKALA                                 2623 DALEY ROAD                                                                               LAPEER           MI    48446
GREGORY T WARE                                    3011 EARLHAM DRIVE                                                                            DAYTON           OH    45406‐4210
GREGORY T ZERBER                                  504 PENNY LAKE RD                                                                             WALLED LAKE      MI    48390‐2341
GREGORY THAXTON                                   3101 H STREET                                                                                 MC KEESPORT      PA    15133‐2306
GREGORY THOMAS                                    19371 DWYER ST                                                                                DETROIT          MI    48234‐2619
GREGORY THOMAS                                    439 BUTTERCUP                                                                                 ROCHESTER HILLS  MI    48307‐5212
GREGORY THOMAS FLANDERS                           220 LEASIA ST                                                                                 WILLIAMSTON      MI    48895‐1422
GREGORY TODD HOLLAR                               RR 1 BOX 2056                                                                                 THACKERVILLE     OK    73459‐9748
GREGORY TORNATORE                                 2217 N 78TH AVE                                                                               ELMWOOD PARK     IL    60707‐3023
GREGORY TRAUB                                     65 GREY FOX CI                                                                                GRAND BLANC      MI    48439‐8176
GREGORY V CAPOBIANCO                              PO BOX 7661                                                                                   CHANDLER         AZ    85246‐7661
GREGORY V COOK                                    51228 NORTH RIDGE ROAD                                                                        VERMILION        OH    44089‐9400
GREGORY V GOODRIDGE                               330 W MONTGOMERY AVE                                                                          NORTH WALES      PA    19454‐3416
GREGORY V GOODRIEGE                               330 W MONTGOMERY AVE                                                                          NORTH WALES      PA    19454‐3416
GREGORY V HINES & GWENDOLYN D HINES JT TEN        29 W 246 PINE AVENUE                                                                          WEST CHICAGO     IL    60185‐2029
GREGORY V KELLER                                  2108 CLOVE RD                                                                                 MISHAWAKA        IN    46544
GREGORY V MCGOWAN                                 7926 FOX RUN PATH                                                                             PLAINFIELD       IN    46168‐9391
GREGORY V MOORE                                   25276 SKYE DR                                                                                 FARMINGTON HILLS MI    48336‐1672

GREGORY V ORNAZIAN CUST GREGORY V ORNAZIAN        5776 ROCHESTER RD                                                                             ROCHESTER        MI    48306‐2743
UTMA MI
GREGORY V ORNAZIAN CUST KRISTINA V ORNAZIAN       5776 ROCHESTER RD                                                                             ROCHESTER        MI    48306‐2743
UTMA MI
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GREGORY V ORNAZIAN CUST LAUREN E ORNAZIAN     5776 ROCHESTER RD                                                                                 ROCHESTER       MI    48306‐2743
UTMA MI
GREGORY V ORNAZIAN CUST MAGGIE J ORNAZIAN     5776 ROCHESTER RD                                                                                 ROCHESTER       MI    48306‐2743
UTMA MI
GREGORY V ORNAZIAN CUST SARA K ORNAZIAN UTMA 5776 ROCHESTER RD                                                                                  ROCHESTER       MI    48306‐2743
MI
GREGORY V STEVENS                             12601 RATTALEE LAKE RD                                                                            DAVISBURG       MI    48350‐1228
GREGORY VANSON                                1781 NORTH JANTZEN                                                                                PORTLAND        OR    97217‐7820
GREGORY W ALFANO                              7489 DENTON HILL RD                                                                               FENTON          MI    48430‐9484
GREGORY W ARMBRUSTER                          8241 SHADY BROOK LANE                                                                             FLUSHING        MI    48433‐3011
GREGORY W ARMBRUSTER & JOAN ARMBRUSTER JT TEN 8241 SHADY BROOK LANE                                                                             FLUSHING        MI    48433‐3011

GREGORY W BADER                                  1174 HINSON RD                                                                                 MARTINSVILLE    IN    46151‐9437
GREGORY W BALTER                                 1901 ECHO WOODS CT                                                                             KETTERING       OH    45429‐4311
GREGORY W BENNETT                                65 MAGNOLIA ST                                                                                 ROCHESTER       NY    14608‐2932
GREGORY W BLUM                                   46 SMITH PL                                                                                    COLUMBUS        OH    43201‐3233
GREGORY W BOHANNON                               203 SLACK STREET                                                                               SPRING HILL     LA    71075‐4313
GREGORY W CAMPANELLA                             620 BETH DR                                                                                    GREAT FALLS     MT    59405‐3710
GREGORY W CAPLES                                 229 BRIARWOOD LN                                                                               ROGERSVILLE     MO    65742‐9774
GREGORY W CAPLES CUST COLIN J CAPLES UTMA MO     229 BRIARWOOD LN                                                                               ROGERSVILLE     MO    65742‐9774

GREGORY W CAUDILL                                5188 JASON DRIVE                                                                               FLINT           MI    48507‐4570
GREGORY W DUNCAN                                 4725 EAST STATE BLVD                                                                           FORT WAYNE      IN    46815‐6922
GREGORY W EARHART CONS GORDON L EARHART          PO BOX 3009                                                                                    SHAWNEE         KS    66203
GREGORY W EMSWILLER                              1611 CHARLES ST                                                                                ANDERSON        IN    46013‐2719
GREGORY W ERVIN                                  625 HAMILTON NEW LONDON RD                                                                     HAMILTON        OH    45013‐3639
GREGORY W GALE                                   4812 LUTZ DRIVE                                                                                WARREN          MI    48092‐4407
GREGORY W GILBERT                                6451 S FORDNEY                                                                                 ST CHARLES      MI    48655‐9765
GREGORY W GOODE                                  649 VICTORIA ST W                     PORT PERRY ON                          L9L 1C5 CANADA
GREGORY W HAYGOOD                                4617 VILLAGE DR                                                                                JACKSON         MS    39206‐3350
GREGORY W HUSBY CUST JEFFREY W HUSBY UGMA MI     6810 W EATON HW                                                                                LANSING         MI    48906‐9059

GREGORY W KAUFMANN                               405 OLD TIPPECANOE DRIVE                                                                       SPRINGFIELD     IL    62707‐8223
GREGORY W KNOWLES                                46 VILLAGE GATE WAY                                                                            NYACK           NY    10960‐1441
GREGORY W LAUB                                   19 CHARTER AVE                                                                                 DIX HILLS       NY    11746‐6417
GREGORY W LEFLER                                 100 WILLS LANE                                                                                 ALPHARETTA      GA    30009
GREGORY W LOCRAFT & MRS LINDA P LOCRAFT JT TEN   12000 PINEY GLEN LANE                                                                          POTOMAC         MD    20854‐1417

GREGORY W LONG                                   114 WALDEN FARM CIR                                                                            UNION           OH    45322‐3421
GREGORY W MANDEVILLE JR                          PO BOX 893                                                                                     WILSON          NY    14172‐0893
GREGORY W MORROW                                 4945 JUNIPER DR                                                                                COMMERCE TWP    MI    48382‐1545
GREGORY W NOLAND                                 836 CHARLENE LANE                                                                              ANDERSON        IN    46011‐1809
GREGORY W PATRICK                                2416 WESTBURY RD                                                                               LANSING         MI    48906‐3731
GREGORY W SOCHIN                                 BOX 42                                                                                         JAMAICA         VT    05343‐0042
GREGORY W STROH                                  100 RIVER PLACE DR                                                                             DETROIT         MI    48207‐4295
GREGORY W UNGAR                                  2000 PARSONS ST                       APT 41                                                   COSTA MESA      CA    92627‐2066
GREGORY W WILLIAMS                               15725 AUBURN ST                                                                                DETROIT         MI    48223‐1216
GREGORY W WONG & MRS JANE Y WONG JT TEN          6321 LAKE PARK DR                                                                              SACRAMENTO      CA    95831‐1718
GREGORY WARD FABRICK                             30902 CLUBHOUSE DR                    UNIT 7E                                                  LAGUNA NIGUEL   CA    92677
GREGORY WEATHERFORD & DEBORA WEATHERFORD JT      2953 U S HWY 51S                                                                               ARLINGTON       KY    42021
TEN
GREGORY WELLS                                    2664 NETHERTON                                                                                 ST LOUIS        MO    63136‐4671
GREGORY WILKINSON                                                                                                                               BLOOMINGTON     WI    53804
GREGORY WINSLOW MORRIS                           5943 WATERVIEW DRIVE                                                                           HILLIARD        OH    43026‐8531
GREGORY WRIGHT                                   1101 QUENTIN AVE                                                                               MONTICELLO      IN    47960
GREGORY YURICK                                   2349 WHITTIER ST                                                                               RAHWAY          NJ    07065‐3735
GREGREY S ADE                                    305 DRUSCILLA LANE                                                                             WATERLOO        IL    62298
GREGROY SCOTT TEITEL                             49 FARA DR                                                                                     STAMFORD        CT    06905‐3216
GREGSON L COBB                                   32 MAIN BLVD                                                                                   SHREWSBURY      MA    01545‐3142
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GRELMA L STALLWORTH                             590 RAYMOND DR                                                                                   HUBBARD           OH    44425‐1249
GREOGORY FRANK DESSEL                           150 EL BOSQUE DRIVE                                                                              SAN JOSE          CA    95134‐1609
GRESTON T MCCOY JR                              920 W 4TH ST                                                                                     ALEXANDRIA        IN    46001‐2212
GRETA B MILLER                                  741 WILLIAMS DR                                                                                  LAKE CHARLES      LA    70607‐7407
GRETA E CARLSON                                 2129 CAROL DR                                                                                    ANN ARBOR         MI    48103‐5023
GRETA E HARNEY                                  1101 OAK VALLEY DR                                                                               PONTIAC           MI    48341‐2358
GRETA E HOWIE                                   43 KRISTEN ROAD                                                                                  PLYMOUTH          MA    02360‐4941
GRETA E NISSER                                  1291 N SHAWS FLAT ROAD                                                                           SONORA            CA    95370‐5405
GRETA F MEMMINGER CUST ERIC M MEMMINGER         21117 VAN ANTWERP AVE                                                                            HARPER WOODS      MI    48225‐1433
UTMA MI
GRETA H HENSON                                  6535 HYTHE RD                                                                                    INDIANAPOLIS      IN    46220‐4271
GRETA HUTCHINSON                                556 BEAR CREEK RD                                                                                QUITMAN           LA    71268
GRETA J MCFARLAND                               1205 E ALMA AVE                                                                                  FLINT             MI    48505‐2315
GRETA L BONAPARTE                               C/O RODNEY A COLEMAN                    1364 L SE ST NA                                          WASHINGTON        DC    20003‐4410
GRETA L CASEY                                   57 NEVADA AVE                                                                                    ASHEVILLE         NC    28806‐3316
GRETA L GEIGER                                  6124 OVERLOOK DR                                                                                 CLARKSTON         MI    48016
GRETA POLING                                    5335 BUFFHAM RD                                                                                  SEVILLE           OH    44273‐9541
GRETA R RUSSELL                                 507 EAST FRONT ST                                                                                NEW BERN          NC    28560‐4918
GRETA R STERLACE                                3473 TUPELO ST                                                                                   CHINO MILLS       CA    91709‐2059
GRETA WHITTENBURG                               579 MCALPIN AVE                                                                                  CINCINNATI        OH    45220‐1533
GRETCHEN A ARRANT                               2504 FREEDOM LN                                                                                  DENTON            TX    76209‐1538
GRETCHEN A GHENT                                1616 SUMMIT ST                          CALGARY AB                             T3C 2M1 CANADA
GRETCHEN A JENSEN BEHNKE                        6220 N VIA TES PATOS                                                                             TUCSON            AZ    85750‐0896
GRETCHEN ANN BOBST                              826 PEACEFUL PATH                                                                                MANSFIELD         OH    44907‐2022
GRETCHEN B BELL                                 804 BRIARFIELD RD                                                                                JACKSON           MS    39211‐4115
GRETCHEN BURLEIGH JOHNSON EST PHILIP W BURLEIGH 98 FORT RD                                                                                       EDGECOMB          ME    04556‐3007
JR
GRETCHEN BURMASTER WILLIAMSON                   PO BOX 80398                                                                                     SIMPSONVILLE      SC    29680‐0007
GRETCHEN C TRAME                                5249 POLEN DR                                                                                    KETTERING         OH    45440‐2559
GRETCHEN CHRISTINE FRANCKOWIAK                  944 WIND DRIFT DR                                                                                CARLSBAD          CA    92011
GRETCHEN CHRISTMAN S CHRISTMAN & ROBERT P       4 BOULDER DRIVE                                                                                  DANVILLE          NH    03819‐3014
CHIRSTMAN JT TEN
GRETCHEN CLOAK PERS REP EST RICHARD F CLOAK III 17278 STATE ROUTE 554                                                                            BIDWELL           OH    45614‐9384

GRETCHEN CUPPLES DEAN                           117 ALDERWOOD DR                                                                                 CHAGRIN FALLS     OH    44022‐4501
GRETCHEN DORN MOSHER                            2080 REDDING                                                                                     BERINGHAM         MI    48009‐1052
GRETCHEN E BEARUP                               119 E KIMBERLY DR                                                                                SYRACUSE          NY    13219‐2135
GRETCHEN E BROWN                                1019 LAKESHORE DR                                                                                SAINT CHARLES     MO    63303‐2124
GRETCHEN E ENOCH                                C/O MARVIN MILLER                       2447 CARRAIGE HILL BLVD                                  BELLEFONTAINE     OH    43311‐9430
GRETCHEN E GREENWALD                            3725 W BATH RD                                                                                   AKRON             OH    44333‐2113
GRETCHEN E SHERRILL                             5815 NW DANA CIR                                                                                 PORT ST LUCIE     FL    34986‐4124
GRETCHEN E SMITH                                413 JORDAN                                                                                       PONTIAC           MI    48342‐1738
GRETCHEN F MANTER & LISA HARRIS TR THOMAS B     176 HICKORY STICK LANE                                                                           LACONIA           NH    03246‐2386
MANTER TRUST UA 05/19/98
GRETCHEN FOLTZ ENSELEIT                         3176 LOCKPORT‐OLCOTT ROAD                                                                        NEWFANE           NY    14108‐9603
GRETCHEN G CORNISH                              220 BIGELOW ST                          PORT PERRY ON                          L9L 1M2 CANADA
GRETCHEN G ROSEN                                87 CONANT AVE                                                                                    AUBURN            ME    04210‐4409
GRETCHEN GRAY CUST TAYLOR LEIGH DOYLE UTMA MO   1208 NE COUNTRY LANE                                                                             LEE'S SUMMIT      MO    64086‐3510

GRETCHEN GREEN                                  204 E ARBOR AVENUE                                                                               PORT ST LUCIE     FL    34952
GRETCHEN H MACLEAN                              38 PRESTON ST                                                                                    DEDHAM            MA    02026‐6311
GRETCHEN I BARNES                               515 JUDSON AVE                                                                                   MYSTIC            CT    06355‐2165
GRETCHEN J MCKELL                               7618 FRONTIER DR                                                                                 GREENWELL         LA    70739‐3031
                                                                                                                                                 SPRINGS
GRETCHEN K BAUGH                                322 SECOND ST                                                                                    LIBERTYVILLE      IL    60048‐2212
GRETCHEN K GIUMARRO & GINO H GIUMARRO JT TEN    47 RICHARDS LANE                                                                                 FREEPORT          ME    04032‐6712

GRETCHEN K MERTZ                                315 SOMERSET ST                                                                                  FLEETWOOD         PA    19522‐1013
GRETCHEN KLEES LA BELLE                         7355 DORSET                                                                                      UNIVERSITY CITY   MO    63130‐2205
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GRETCHEN KNUDTSON                                2070 S MONACO PK 305                                                                           DENVER            CO    80224‐2346
GRETCHEN KRISOR                                  7749 W OLIVE                                                                                   CHICAGO           IL    60631‐3327
GRETCHEN L BRENNER                               3050 RIDGEWAY RD                                                                               DAYTON            OH    45419‐1330
GRETCHEN L HAWKINS                               2304 BUNKER HILL CIRCLE                                                                        PLANO             TX    75075‐2924
GRETCHEN L HULL CUST PATRICK A HULL UTMA OH      4200 LEETONIA RD                                                                               LEETONIA          OH    44431‐9635

GRETCHEN L LEITH                                 30 LACONIA ROAD                                                                                WORCESTER         MA    01609‐1538
GRETCHEN LEE CLARK                               28311 LIVE OAK CANYON RD                                                                       REDLANDS          CA    92373‐7975
GRETCHEN LITTLE                                  8240 ELIZABETH ANN                                                                             UTICA             MI    48317‐4320
GRETCHEN LYS ELMENDORF                           1016 MOUNT HOPE ST                                                                             NORTH ATTLEBORO   MA    02760‐1910

GRETCHEN M EMERY TR GRETCHEN M EMERY REV         1317 EDGEHILL                                                                                  ASHLAND           OH    44805‐4151
TRUST UA 04/03/98
GRETCHEN M MIKULA                                4207 KNOLLS CIRCLE                                                                             LANSING           MI    48917‐2103
GRETCHEN M VARGA                                 8 PUDDINGSTONE RD                                                                              MORRIS PLAINS     NJ    07950‐1114
GRETCHEN MEAD GARBER                             1677 GRAHAM                                                                                    SAGINAW           MI    48609‐8823
GRETCHEN MEEKS                                   4519 RED BUD                                                                                   ST LOUIS          MO    63115‐3136
GRETCHEN N BRIGHT                                121 UNDERWOOD ST                                                                               HOLLISTON         MA    01746‐1660
GRETCHEN O BURGESS                               164 JACI DRIVE NORTHEAST                                                                       BROOKHAVEN        MS    39601‐9637
GRETCHEN PACHAN                                  4801 RTE 353                                                                                   SALMANCA          NY    14779‐9709
GRETCHEN S CREGO                                 36 ARTILLERY LANE                                                                              BALDWINSVILLE     NY    13027‐1146
GRETCHEN S JACKSON                               1562 MICHIGAN AVE                                                                              SALT LAKE CITY    UT    84105‐1710
GRETCHEN S SIMPSON                               PO BOX 242                                                                                     BOXFORD           MA    01921‐0242
GRETCHEN SCHROEDER                               ATTN GRETCHEN LITTLE                  8240 ELIZABETH ANN                                       UTICA             MI    48317‐4320
GRETCHEN SHIPLEY                                 2238 N VERMONT ST                                                                              ARLINGTON         VA    22207‐4033
GRETCHEN SMITH TRUSLOW                           224 S LAURENS ST                      UNIT 406                                                 GREENVILLE        SC    29601‐2684
GRETCHEN W BUSSMANN                              1030 JACKSON ST                       # SW                                                     LARGO             FL    33770‐4318
GRETCHEN WAITE TR UA 03/16/89 GRETCHEN WAITE     1018 OUTER DR                                                                                  FENTON            MI    48430‐2257
TRUST
GRETE R KAHN                                     C/O DOROTHY KAHN                      401 E 81ST STREET    APT 6 H                             NEW YORK          NY    10028‐5816
GRETELL C MASON                                  133 EXTON AVE                                                                                  TRENTON           NJ    08618‐4113
GRETHO BENTLEY                                   2299 UPPER LONG BRANCH                                                                         EZEL              KY    41425‐8676
GRETTA B HAHN                                    718 DOEPKE LN                                                                                  CINCINNATI        OH    45231‐5047
GRETTA B PUGH                                    5117 MAHER AVE                                                                                 MADISON           WI    53716‐2821
GREY HAMER & KATHRINE P HAMER JT TEN             3004 S LK STEVENS RD                                                                           EVERETT           WA    98205‐2918
GREY LEWIS                                       3011 21ST STREET                                                                               LUBBOCK           TX    79410‐1425
GREYSON TROUTMAN FRANKLIN                        207 E FRONT ST                                                                                 MEDIA             PA    19063‐3035
GRIER R GRAFF                                    94 RAMONA AVE                                                                                  PIEDMONT          CA    94611‐3910
GRIFFIN C STEGALL JR & MARIAN L STEGALL JT TEN   3347 HOGARTH STREET                                                                            FLINT             MI    48532

GRIFFIN ELLIS                                    1404 SOUTHERN BLVD                                                                             CLEBURNE          TX    76033
GRIFFIN L ROGERS                                 122 STATE ST                                                                                   FITZGERALD        GA    31750‐8446
GRIFFIN L ROGERS                                 122 STATE STREET                                                                               FITZGERALD        GA    31750‐8446
GRIFFIN MOORE                                    223 A CRANFORD AVE                                                                             CRANFORD          NJ    07016‐2501
GRIFFITH E DAVIS                                 PO BOX 564                                                                                     MIDDLEFIELD       OH    44062
GRIGORI JANUSIK                                  1307 W 89 ST                                                                                   CLEVELAND         OH    44102‐1827
GRISEL ORTEGA                                    1421 COCHRAN DR                                                                                LAKE WORTH        FL    33461‐6011
GRISELDA E IGNOWSKI                              182 NEW ENGLAND AVE                                                                            PALM HARBOR       FL    34684‐1312
GRISELDA M ACOSTA                                215 E 11TH ST                                                                                  ANDERSON          IN    46016
GRISELLE ALICIA UFRET MUNIZ                      4010 EAGLES NEST DR                                                                            HERNANDO BEACH    FL    34607‐2710

GRISSEL REYES                                    1445 PLAZA ROJA CT                                                                             EL PASO           TX    79912‐8449
GRO THORVALDSEN                                  SVART TROST VN 15                     0788 OSLO                              NORWAY
GROSS L DOWNS                                    1107 N PINE RIVER RD                                                                           KIMBALL           MI    48074‐3100
GROSSE POINTE BAPTIST CHURCH                     21336 MACK AVENUE                                                                              GROSSE POINTE     MI    48236‐1047
                                                                                                                                                WOOD
GROSSIE REALTY CO                                155 BELLE FOREST CIRCLE                                                                        NASHVILLE         TN    37221‐2103
GROVE C WOMACK                                   6033 BEAR CREEK DR APT 326                                                                     CLEVELAND         OH    44146‐2917
GROVER B REED                                    6569 HANSBRINKER DRIVE                                                                         MIDDLETOWN        OH    45044‐9157
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GROVER C KIMMEL                                 1 LOCKERBIE DR                                                                               BELLA VISTA     AR    72715‐3509
GROVER C KIRKLAND                               1616 BROOKSIDE DR                                                                            FLINT           MI    48503‐2745
GROVER C KIRKLAND & MYRNA Y KIRKLAND JT TEN     1616 BROOKSIDE DR                                                                            FLINT           MI    48503‐2745

GROVER C PHILLIPS                               1917 E 11 1/2 MILE RD                                                                        IRONS           MI    49644‐8724
GROVER C RAWSON                                 183 ALLEN AVE                                                                                PORTLAND        ME    04103
GROVER C SAYLOR JR                              PO BOX 176                                                                                   WALLINS CREEK   KY    40873‐0176
GROVER C SMART                                  2534 CRANE                                                                                   DETROIT         MI    48214‐1911
GROVER C SMITH                                  8182 AUTUMN FOREST DR                                                                        JONESBORO       GA    30236‐3971
GROVER C SMITH                                  36089 ROUTE 303                                                                              GRAFTON         OH    44044‐9634
GROVER CARLTON MC CALL                          3036 SPIRIT LAKE RD SW                                                                       WINTER HAVEN    FL    33880‐1548
GROVER CLIFTON PARKER                           207 KING                                                                                     DETROIT         MI    48202‐2128
GROVER D JOHNSON                                1691 GROVELAND AVE                                                                           YOUNGSTOWN      NY    14174‐9751
GROVER E JOHNSTON                               3807 BERTIE ROAD                    STEVENSVILLE ON                        L0S 1S0 CANADA
GROVER E SMITH                                  401 N MAIN ST                                                                                SALEM           IN    47167‐2017
GROVER F LOHMAN & BEATRICE E LOHMAN JT TEN      5684 STONEHAVEN LN                                                                           NEW PALESTINE   IN    46163‐9450

GROVER HOFSTETTER                               4031 ALDERBROOK SE                                                                           SALEM           OR    97302‐3819
GROVER L DEGLER                                 903 COLORADO DR                                                                              XENIA           OH    45385‐4804
GROVER L EADS JR                                1924 WEST 375 NORTH                                                                          ANDERSON        IN    46011‐9221
GROVER L FREEMAN                                3440 ELMPORT RD                                                                              BRIDGEPORT      MI    48722‐9502
GROVER LEE DAVIS JR                             2312 WHITTIER                                                                                SAGINAW         MI    48601‐2449
GROVER LEROY DAUGHERTY                          1242 COLVIN BLVD                                                                             BUFFALO         NY    14223‐1434
GROVER MEEKS JR                                 6828 HATCHERY                                                                                WATERFORD       MI    48327‐1122
GROVER P GIBBS                                  1097 SHADOWLAWN DR                                                                           INKSTER         MI    48141‐1930
GROVER P GIBBS & IDA JANE GIBBS JT TEN          1097 SHADOWLAWN DRIVE                                                                        INKSTER         MI    48141‐1930
GROVER P IRELAND                                RT 1 BOX 462                                                                                 BUTLER          MO    64730‐9725
GROVER R GARVIN                                 PO BOX 115                                                                                   COUER D'ALENE   ID    83814
GROVER S CANNON                                 BOX 10457                                                                                    GOLDSBORO       NC    27532‐0457
GROVER T MCCLOUD                                4102 WEBBER ST                                                                               SAGINAW         MI    48601‐4147
GROVER T RILEY                                  821 COTTAGE AVE                                                                              MIAMISBURG      OH    45342‐1803
GROVER W CLEAVELAND                             414 VIEWMONT DRIVE                                                                           HENDERSON       NV    89015‐6819
GROVER W ZEGLIN                                 1508 IRVING LN                                                                               BURNSVILLE      MN    55337‐4370
GROVER W ZEGLIN & SHIRLEY M ZEGLIN JT TEN       1508 IRVING LN                                                                               BURNSVILLE      MN    55337‐4370
GROVER WILLIAM LAVERY CUST ERIN K LAVERY UTMA   208 SANDALWOOD                                                                               HUNTINGTON      WV    25705‐3751
WV
GROVER WILLIAM LAVERY CUST PATRICK R LAVERY     208 SANDALWOOD                                                                               HUNTINGTON      WV    25705‐3751
UTMA WV
GROVERT H MONTGOMERY                            708 LINWOOD AVE                                                                              BUFFALO         NY    14209‐1210
GRUNDE R HAUGETO                                53 SHARON CT                                                                                 NEWTON          NJ    07860‐6204
GRZEGORZ BOBER                                  2729 OAKWOOD PLACE                                                                           LINDEN          NJ    07036‐4821
GRZEGORZ PORZYCKI                               350 WOODRUFF ST                                                                              SOUTHINGTON     CT    06489‐3324
GSG SUPPLY CO INC                               ATTN DAVID GORDON                   40 LEWIS ST                                              HAVERHILL       MA    01830‐4812
GUADALUPE AGUAYO                                28217 MERRITT                                                                                WESTLAND        MI    48185‐1827
GUADALUPE AGUILAR JR                            4204 E 124TH                                                                                 GRANT           MI    49327‐9347
GUADALUPE ALBERTO                               1202 COPEMAN BLVD                                                                            FLINT           MI    48504‐7351
GUADALUPE B CARLOS                              211 N BRAYER ST                                                                              HOLGATE         OH    43527‐9573
GUADALUPE F ALAFA                               221 S SQUIRE ST                                                                              HOLGATE         OH    43527‐9500
GUADALUPE F VASQUEZ                             3620 HARDING ST                                                                              LONG BEACH      CA    90805‐3933
GUADALUPE G CONTRERAS                           539 LINCOLNSHIRE DR                                                                          SAN ANTONIO     TX    78220‐3213
GUADALUPE GILLESPIE                             5237 REGIMENTAL BANNER DR                                                                    GRAND BLANC     MI    48439‐8700
GUADALUPE GONZALES                              3044 SIMMONS CT                                                                              AUBURN          MI    48326‐1635
GUADALUPE GONZALES                              3130 N DETROIT AVE                                                                           TOLEDO          OH    43610‐1015
GUADALUPE GONZALEZ                              49 COUNTRY FORESTS DR                                                                        FORT WAYNE      IN    46818‐1403
GUADALUPE H LIMON                               1437 MABEL AVE                                                                               FLINT           MI    48506‐3342
GUADALUPE H SANCHEZ                             304 SAINT VERAN CT                                                                           LAREDO          TX    78041‐9139
GUADALUPE L NUNEZ                               7792 WATERHOUSE DR                                                                           EL PASO         TX    79912‐6909
GUADALUPE LOZANO JR                             11459 ASHLEY WOODS DR                                                                        WESTCHESTER     IL    60154‐5924
GUADALUPE M LOPEZ                               43218 CHARLESTON WAY                                                                         FREMONT         CA    94538‐6103
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GUADALUPE M MENCHACA                              2326 WHITTIER                                                                                       SAGINAW            MI    48601‐2449
GUADALUPE M NUNEZ                                 133 N ALEXANDRIA                                                                                    LOS ANGELES        CA    90004‐4518
GUADALUPE M ORTEGA‐CORRAL                         6505 HUMMINGBIRD STREET                                                                             VENTURA            CA    93003‐6908
GUADALUPE M SOLIS                                 1555 HEATHER HILL RD                                                                                HACIENDA HEIGHTS   CA    91745‐3721

GUADALUPE MENDOZA                            414 CAMERON                                                                                              PONTIAC            MI    48342‐1807
GUADALUPE QUESADA                            4029 W JOLLY RD                              APT 13                                                      LANSING            MI    48911‐3144
GUADALUPE R MENDOZA & SUSAN M MENDOZA JT TEN 1113 WHEATLAND AVE                           APT F8                                                      LANCASTER          PA    17603‐2535

GUADALUPE REYNA JR                                11614 WILDWOOD                                                                                      SHELBYVILLE        MI    49344‐9646
GUADALUPE S DIAZ                                  627 HEWITT ST                                                                                       SAN FERNANDO       CA    91340‐4014
GUADALUPE SALAZAR                                 23055 WATT DR                                                                                       FARMINGTN HLS      MI    48336‐3757
GUADALUPE SANCHEZ                                 320 LAKE FOREST DR                                                                                  WATERFORD          MI    48327‐1778
GUADALUPE SANTIBANEZ                              3319 CHRISTINE DRIVE                                                                                LANSING            MI    48911‐1562
GUADALUPE SOLIS                                   3658 JIM WARREN RD                                                                                  SPRING HILL        TN    37174‐2819
GUADALUPE VARGAS                                  2261 ROLLING GREEN PL                                                                               SAGINAW            MI    48603‐3741
GUALTUDOSA B0ESE                                  21018 MILLBURY                                                                                      WOODHAVEN          MI    48183‐1612
GUAN B SAW                                        #09‐02                                  53 CAIRN HILL RD         SINGAPORE        922 SINGAPORE
GUANN‐IH E JAN & SURINA T JAN JT TEN              57 OAK HILLS DR                                                                                     HANOVER            PA    17331‐9738
GUDRUN E LYONS                                    5869 WILMER ST                                                                                      WESTLAND           MI    48185‐2234
GUDRUN FAKUNDINY                                  AM FLURGRABEN 8                         RUESSELSHEIM 65428       D‐               GERMANY
GUDRUN L IRWIN                                    731 BRINTON'S WOOD RD                                                                               WEST CHESTER       PA    19382‐6905
GUENDALLE T HILL                                  1109 N SAYBROOK LN                                                                                  MUNCIE             IN    47304‐5058
GUENTER ERNST THUR                                AUF DER PLATT 13                        D‐61479 GLASHUETTEN      UNITED           GERMANY
GUENTER H GEISSLER                                IPC R1‐05 LOCATION N20                  AN DEN PLATZAECKERN 20   MAINZ            55127 GERMANY
GUENTER HACHTEL                                   PO BOX 1301                                                                                         SAN CARLOS         CA    94070‐7301
GUENTER MARKOWSKI                                 MARKERBENHOEHE 56                       D‐58453 WITTEN                            GERMANY
GUENTER W HERRMANN                                2210 ARLENE DRIVE #3                                                                                EFFORT             PA    18330‐9413
GUENTER W ROEHRS & INGRID ROEHRS SCHOENBORN       LEHARSTR 10                             38442 WOLFSBURG                           GERMANY
JT TEN
GUENTHER A NUERNBERGER & BARBARA M                13118 TUPELO PL                                                                                     JACKSONVILLE       FL    32246‐7015
NUERNBERGER JT TEN
GUENTHER MANFRED ZECH                             PLATANENSTR 9                           65474 BISCHOFSHEIM                        GERMANY
GUENTHER SOMMERLAD CHEVROLET DEUTSCHLAND          GUNTHER SOMMERLAD                       LINDENSTRASSE 110        D‐28755 BREMEN   GERMANY
GMBH
GUERDON M MONK                                    17704 DRAYTON ST                                                                                    SPRING HILL        FL    34610‐7306
GUERIN MICHAEL WALSH                              7713 SPRING DRIVE                                                                                   NAMPA              ID    83687‐8821
GUERINO J ABBONIZIO & PAULINE A ABBONIZIO TEN     1721 SHERWOOD CIRCLE                                                                                VILLANOVA          PA    19085‐1909
ENT
GUERINO RIGHI & EMMA F RIGHI JT TEN               1234 CHALET DR                                                                                      SANDUSKY           OH    44870‐5019
GUERRERO ORESTES                                  5055 S W 101 AVE                                                                                    MIAMI              FL    33165‐6375
GUERRINO J VIRGILI & IRENE D VIRGILI TEN ENT      1155 WOODLAWN ST                                                                                    BETHEL PARK        PA    15102‐3655
GUESTEL W COFFMAN                                 8421 NW 165TH LN                                                                                    FANNIN SPRINGS     FL    32693‐9234
GUESTUS B MACK                                    2715 WESTPORT LN                                                                                    CONYERS            GA    30094‐3394
GUGLIELMO MANISCALCO                              81 WEBWOOD DR                                                                                       ROCHESTER          NY    14626‐4036
GUIDA FOSTER & GEORGE S CARPENTER TR GUIDA        124 WEST ROSS                                                                                       PALMYRA            MO    63461‐1515
FOSTER U‐TRUST 04/10/84
GUIDO A LOYOLA                                    226 UNION ST                                                                                        SCHENECTADY        NY    12305‐1406
GUIDO A SALTARELLI                                5544 LIBERTY ST BOX 13                                                                              DRYDEN             MI    48428
GUIDO BURCHARTS                                   305 E DELAWAR ST                                                                                    SUMMITVILLE        IN    46070‐9728
GUIDO J DI CARLO                                  6 SANDELWOOD COURT                                                                                  GETZVILLE          NY    14068‐1342
GUIDO J DI LORETO & MRS MARY M DI LORETO JT TEN   610 WEDGEWOOD DR                                                                                    ERIE               PA    16505‐1150

GUIDO J PATERNOSTER TR GUIDO J PATERNOSTER        3901 GRINDLEY PARK                                                                                  DEARBORN HGTS      MI    48125‐2219
TRUST UA 11/28/02
GUIDO KUESTERS                                    AN DER ALTEN BURG 17                    HUELS B KREFELD                           47839 GERMANY
GUIDO L VANHOOYDONCK                              ATTN GM CONTINENTAL                     ROZENLAAN 8              2970 SCHILDE     BELGIUM
GUIDO L VANHOOYDONCK                              OPEL BELGIUM NV                         ROZENLAAN 8              BE970 SCHILDE    BELGIUM
GUIDO MEROLA                                      23 BOWLING GREEN PL                                                                                 STATEN ILSAND      NY    10314‐3701
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Name                                               Address1                              Address2               Address3        Address4          City               State Zip

GUIDO N LUCCI                                      38645 TRISTRAM DR                                                                              STERLING HEIGHTS   MI    48310‐1778

GUIDO VENTURA & UMBERTO VENTURA JT TEN             11119 LAKE RD                                                                                  OTISVILLE          MI    48463‐9716
GUIDO VIGLIZZO & MARGARET L VIGLIZZO JT TEN        1947 STOCKTON ST                                                                               SAN FRANCISCO      CA    94133‐2423
GUILD J BOUCHER                                    1304 WORTHINGTON PL                                                                            HURON              OH    44839‐1479
GUILE ATKINSON                                     7611 E IMLAY CITY RD                                                                           IMLAY CITY         MI    48444‐9449
GUILHERME P COELHO & MARIA R COELHO JT TEN         81 BROTHERS ROAD                                                                               WAPPINGERS FALLS   NY    12590‐3638

GUILLERMIA M SALINAS                               2135 ROYAL PALM AVE                                                                            DEFIANCE           OH    43512‐3533
GUILLERMO ANAYA                                    PO BOX 2235                                                                                    ARLINGTON          TX    76004‐2235
GUILLERMO BETANCOURT                               1319 DOROTHY LANE                                                                              FULLERTON          CA    92831‐2815
GUILLERMO E RODRIGUEZ                              33052 HAMPSHIRE                                                                                WESTLAND           MI    48185‐2880
GUILLERMO ESCANUELAS                               11267 HEWIH AVE                                                                                SAN FERNANDO       CA    91340‐3809
GUILLERMO ESCOBAR                                  8532 WAVE CIR                                                                                  HUNTINGTON         CA    92646‐2118
                                                                                                                                                  BEACH
GUILLERMO GUTIERREZ                                6791 FATHER JOHN COURT                                                                         MCLEAN             VA    22101‐2905
GUILLERMO H AGUIRRE                                4958 RED CREEK DR                                                                              SAN JOSE           CA    95136‐3427
GUILLERMO J URTEAGA                                1112 CLAIRE DRIVE                                                                              SPRING HILL        TN    37174‐7349
GUILLERMO L ARMSTRONG                              PO BOX 125                                                                                     MERCEDITA          PR    00715‐0125
GUILLERMO N GONZALEZ                               538 TACOMA AVE                                                                                 BUFFALO            NY    14216‐2405
GUILLERMO O CARRASCO                               5695 STOW RD                                                                                   HUDSON             OH    44236‐3529
GUILLERMO P GARCIA                                 12650 SW 6TH ST                       APT 211                                                  PEMBROKE PNES      FL    33027‐6786
GUILLERMO PANIAGUA                                 BOX 28                                                                                         BELMORE            OH    45815‐0028
GUILLERMO PASSAMENT                                27304 KELLY COURT NORTH                                                                        LA FERIA           TX    78559‐4567
GUILLERMO SARMIENTO REGUERA                        JUAN JOSE PASO 8325 BIS               ROSARIO STA FE                         ARGENTINA
GUILLIAM S NIXON & LINDA T NIXON JT TEN            4225 N MARTIN WAY                                                                              LITHIA SPRINGS   GA      30122‐2022
GUINEVERE RICHARDSON                               18642 KEYSTONE                                                                                 DETROIT          MI      48234‐2331
GUINN RAMSAY                                       PO BOX 585                                                                                     COLORADO SPRINGS CO      80901‐0585

GUION T DE LOACH TR UA 07/10/92 GUION T DE LOACH   2532 HARRIMAN CIR                                                                              TALLAHASSEE        FL    32308‐0920
LIVING TRUST
GUISEPPE MODUGNO                                   24 SAINT JOHN ST                                                                               LITTLE FERRY       NJ    07643
GUISEPPE PADALINO                                  141 PENDRAGON WAY                                                                              MANTUA             NJ    08051‐2223
GUISEPPI BONGIOVANNI & ROSE BONGIOVANNI JT TEN     1300 BROOK LN                                                                                  ROCHESTER HILLS    MI    48306‐4209

GUISEPPI GENCARELLI                                48 CASSON LN                                                                                   WEST PATERSON      NJ    07424‐2751
GUITO G COVICI                                     515 DEMOCRAT RD                                                                                GIBBSTOWN          NJ    08027‐1209
GUL S OCHANEY                                      7318 WINTHROP WAY APT 4                                                                        DOWNERS GROVE      IL    60516‐4075
GULWANT R VIJH                                     31 N MELODY TRAIL UNIT 4              ST CATHARINES ON                       L2M 1C3 CANADA
GUMECINDO P GONZALEZ                               3600 ANNCHESTER DR                                                                             SAGINAW            MI    48603‐2500
GUMERSINDO PICOS                                   630 ELTON ST                                                                                   HOUSTON            TX    77034‐1305
GUNARS NORKUS                                      4068 PEACEFUL PL                                                                               GREENWOOD          IN    46142‐8546
GUNARS NORKUS & MRS MARGARET M NORKUS JT TEN       4068 PEACEFUL PL                                                                               GREENWOOD          IN    46142‐8546

GUNDEGA VILKS                                      267 HOLLYWOOD AVE                     WILLOWDALE ON                          M2N 3K8 CANADA
GUNILLA HEDSTROM                                   BOX 8031                              SE 151 08 SODERTALJE                   SWEDEN
GUNNAM RAMACHANDRAN & SURYAKVMARI                  10445 MAST BLVD                       APT 68                                                   SANTEE             CA    92071‐5311
RAMACHANDRAN JT TEN
GUNNAR A SVENSSON CUST ROLF SVENSSON UGMA NY       215 JUDSON AVE                                                                                 DOBBS FERRY        NY    10522‐3030

GUNNAR I HEDLUND                                   323 E ELLIOTT                                                                                  WHITEHALL          MI    49461‐1318
GUNNAR J LANZENBERGER & MRS IRMGARD                25633 NORMANDY WEST                                                                            PERRYSBURG         OH    43551‐9784
LANZENBERGER JT TEN
GUNNARD A ISRAELSON & DOROTHY G ISRAELSON JT       1953 TOWNER LN                                                                                 GLENDALE HTS       IL    60139‐2175
TEN
GUNNARS BRANDTS                                    1229 EDGEMOOR AVE                                                                              KALAMAZOO          MI    49008‐2342
GUNNER A TORELL                                    1777 CLOVER AVE                       WINDSOR ON                             N8P 1W6 CANADA
GUNNER D BAATRUP                                   1751 OHIO SW                                                                                   HURON              SD    57350‐3829
GUNTER A FISHER                                    2406 CARSON ST                                                                                 MCKEESPORT         PA    15132‐7808
                                             09-50026-mg             Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
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Name                                            Address1                            Address2                 Address3          Address4          City              State Zip

GUNTER C KNIPS                                  314 DICK                                                                                         PONTIAC           MI    48341‐1804
GUNTER OLLERS                                   TACKHUTTE 65                        4050 MONCEHNBLADBACH 2                     GERMANY
GUNTER W ZEDLER                                 12292 SPRUCE ST                                                                                  DES HOT SPRINGS   CA    92240‐4356
GUNTER WICKEL GUNTER WICKEL TRUST UA 05/12/00   7809 BROADMOOR PINES BLVD                                                                        SARASOTA          FL    34243‐4619

GUNTHER BAUMBLATT                               2200 NORTH CENTRAL RD 11P                                                                        FORT LEE          NJ    07024‐7539
GUNTHER DANNHEIM                                17 WHITEWOOD DRIVE                                                                               BRANFORD          CT    06405‐3356
GUNTHER F WEIS                                  1403 RONALD ST                                                                                   NORTH PORT        FL    34286‐5223
GUNTHER H VOGLER & LOTTE H VOGLER JT TEN        24341 WOODLAND DR                                                                                FLAT ROCK         MI    48134‐9259
GUNTHER K OHRT                                  60 LOVELAND DR                                                                                   ELKTON            MD    21921‐2439
GUNTHER KIRCHHEIMER & ILSE KIRCHHEIMER JT TEN   940 HENRIETTA AVE                                                                                HUNTINGDON        PA    19006‐8502
                                                                                                                                                 VALLEY
GUNTHER LEHMWALD                                812 CHERRY LN                                                                                    THORNTON          IL    60476‐1306
GUNTHER LUNAU                                   NELKENWEG 10                        61381 FRIEDRICHSDORF                       GERMANY
GUNTHER LUNAU                                   NELKENWEG 10                        61 381 FRIEDRICHSDORF                      GERMANY
GUNTHER SOMMERLAD                               C/O CHEVROLET DEUTSCHLAND GMBH      LINDENSTR 110            D‐28755 BREMEN    GERMANY
GUNTHER SPRECHER                                1135 PELHAM PKWY N #3E                                                                           BRONX             NY    10469‐5445
GUNTHER STACHE                                  PO BOX 3871                         TEGUCIPALPA DC           CENTRAL AMERICA   HONDURAS (REP)
GUNTHER W MUNCH                                 2009 GREENBRIAR DRIVE                                                                            MANSFIELD         OH    44907‐3017
GUNTIS BUDA CUST BRITTANY ROSE BUDA UGMA MI     179 PROSPECT ST                                                                                  ROCKFORD          MI    49341‐1138

GUODONG XU & NENGYUAN XU JT TEN                 240 NORTH BAYSHORE BLVD             APT 318                                                      SANMATEO          CA    94401‐1272
GURDON F BORES                                  BOX 28 BROOKLYN HTS                                                                              MONROEVILLE       OH    44847‐0028
GURDON S HOBSON                                 9315 E MAPLE AVE                                                                                 DAVISON           MI    48423‐8739
GUREHARAN L GAGNEJA CUST SHARAN D GAGNEJA       615 NORTH PALM AVE                                                                               HEMET             CA    92543‐8851
UGMA MI
GURGA G MCINTOSH                                7306 WARNER STREET                                                                               ALLENDALE       MI      49401‐9742
GURI S JAISINGHANI                              28710 BROOKS LANE                                                                                SOUTHFIELD      MI      48034‐5160
GURMOND WEEKLEY                                 3163 NEWTON TOMLINSON RD                                                                         WARREN          OH      44481
GURMUKH S DOSANJH                               42289 GREENWOOD DR                                                                               CANTON TOWNSHIP MI      48187‐3665

GURNETH E SMITH                                 21331 COLLINGHAM                                                                                 FARMINGTON HILLS MI     48336‐5813

GURNEY M RICHARDSON                             1871 PADS RD                                                                                     NORTH             NC    28659‐8430
                                                                                                                                                 WILKESBORO
GURNEY T MATTINGLY III                          3602 COLUMBUS AVE                                                                                ANDERSON          IN    46013‐5361
GURNIE R HOPPER                                 223 LANCELOT WAY S W                                                                             LAWRENCEVILLE     GA    30045‐4758
GURNIE R HOPPER & NETTIE S HOPPER JT TEN        223 LANCELOT WAY S W                                                                             LAWRENCEVILLE     GA    30045‐4758
GURSHALL A MAY                                  6906 S WABASH AVENUE                                                                             CHICAGO           IL    60637‐4515
GURTRUE LOGGINS                                 14422 S INDIANA AVE                 APT 117                                                      RIVERDALE         IL    60827
GURU UMASANKAR                                  87 BROOKSIDE ROAD                   RICHMOND HILL            ONTARIO CAN ON    L4C 9W5 CANADA
GURVIS A HINSEN & DORIS HINSEN TEN ENT          663 DAMASCUS DR                                                                                  ST LOUIS          MO    63125‐5415
GUS A CATANZARO & BETTY A CATANZARO JT TEN      1764 BLAKEFIELD TERRACE                                                                          MANCHESTER        MO    63021
GUS A PEPPES                                    7132 PERSHING                                                                                    UNIVERSITY CI     MO    63130‐4321
GUS C MARCOTTE                                  7321 CAMELBACK DR                                                                                SHREVEPORT        LA    71105‐5007
GUS CHANCEY                                     PO BOX 6043                                                                                      MAYWOOD           IL    60155‐6043
GUS D MARTINKA                                  7269 BARKLEY RD                                                                                  VASSAR            MI    48768‐9633
GUS E NASIOPOULOS                               14615 HUNGRY HOLLOW RD                                                                           DANVILLE          IL    61834‐5143
GUS G BASELEON                                  16108 CARLOW CIR                                                                                 MANHATTAN         IL    60442‐6109
GUS GEORGE BOLON & SUE BOLON JT TEN             4022 N E LADDINGTON COURT                                                                        PORTLAND          OR    97232‐2645
GUS GRIAS & MARY GRIAS JT TEN                   3743 ROGER                                                                                       ALLEN PARK        MI    48101‐3059
GUS GUTTENPLAN CUST WILLIAM M GUTTENPLAN        1352 E 15TH ST                                                                                   BROOKLYN          NY    11230‐6026
UGMA NY
GUS J HUBA                                      28872 WARNER                                                                                     WARREN            MI    48092‐2423
GUS K SCHIEVE                                   30495 N ALICE CT                                                                                 ATHOL             ID    83801‐9144
GUS MERTIKAS                                    221 OPTIMISTIC CT                                                                                HENDERSON         NV    89052‐5671
GUS P SANDERS                                   501 SO 5TH                                                                                       ODESSA            MO    64076
GUS PAPPAS                                      146 BIDDLE ST                                                                                    WYANDOTTE         MI    48192‐2513
GUS PARAS & KATHRYN PARAS JT TEN                416 SKOKIE CT                                                                                    WILMETTE          IL    60091‐3005
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GUS PATSIS                                          24‐38 78TH ST                                                                                             JACKSON HEIGHTS   NY    11370‐1530

GUS PERKINS JR                                 C/O ROBERT MOORE                           430 W FOSS                                                          FLINT             MI    48505‐2006
GUS PEYTON                                     5529 CAPERS                                                                                                    FT WORTH          TX    76112‐7607
GUS POTEKIN & RICHARD S POTEKIN JT TEN         809 WOODLEIGH AVE                                                                                              HIGHLAND PARK     IL    60035‐1338
GUS REVELAS                                    6 MEADOWBROOK DR                                                                                               ALBION            NY    14411‐1623
GUS RUSSELL                                    7955 S WENTWORTH                                                                                               CHICAGO           IL    60620‐1153
GUS S GLICAS                                   3172 SHAKESPEARE RD                                                                                            BETHLEHEM         PA    18017‐2730
GUS ZIOGOS & LILLIAN ZIOGOS TEN COM            70 LINDEN AVE                                                                                                  BETHPAGE          NY    11714‐2232
GUSS ALSTON & MRS THELMA ATWATER ALSTON JT TEN 1034 OLD LYSTRA RD                                                                                             CHAPEL HILL       NC    27514‐9168

GUSS C DOBBINS                                      1422 67TH AVENUE                                                                                          OAKLAND           CA    94621‐3662
GUSS U CHILDRESS                                    2130 HOUSER RD                                                                                            HOLLY             MI    48442‐8355
GUSSIE BOWER THRIFT & MISS LUCILLE THRIFT JT TEN    101 NORTH MINNISOTA                                                                                       MITCHELL          SD    57301‐2441

GUSSIE JACKSON                                      549 WILLA STREET                                                                                          OZARK             AL    36360‐1337
GUSSIE M EDWARDS                                    18852 ORLEANS                                                                                             DETROIT           MI    48203‐2152
GUSSIE M WOODS                                      1533 WEAVER ST                                                                                            DAYTON            OH    45408‐1855
GUSSIE MALC                                         81‐36 189TH STREET                                                                                        JAMAICA           NY    11423‐1037
GUST ACHLADIS & SEVASTIE S ACHLADIS JT TEN          2401 WILLOW BROOK DR                                                                                      WARREN            OH    44483
GUSTA V THAYER                                      C/O GUSTA V THIEL                     1726 CRANBERRY LAKE CIRCLE                                          SAGINAW           MI    48609‐9239
GUSTAAF GOMMEREN                                    ST LUCASLAAN 55                       B 2070 EKEREN                                     BELGIUM
GUSTAV A WENZEL & FLORENCE WENZEL JT TEN            68 MILLERS LANE                                                                                           MILLTOWN          NJ    08850‐1914
GUSTAV H SCHINDLER & BETTY S SCHINDLER JT TEN       18071 FAIRWOOD DR                                                                                         CLINTON TWP       MI    48035‐2435

GUSTAV INGMAR JOHNSON                               ADILSVAGEN 4                          16853 BROMMA                                      SWEDEN
GUSTAV J HEISE & GERDA H HEISE TR GUSTAV J HEISE    4606 WAYNICK DR                                                                                           BRITTON           MI    49229‐9431
TRUST UA 10/31/96
GUSTAV LACHNIT III                                  3702 E JOPPA RD                                                                                           BALTO             MD    21236‐2201
GUSTAV M PLINE                                      BOX 123                                                                                                   WESTPHALIA        MI    48894‐0123
GUSTAV MESAROS                                      9472 W COLDWATER RD                                                                                       FLUSHING          MI    48433‐1023
GUSTAV POLAK                                        196 HIGHLAND AVENUE                                                                                       TONAWANDA         NY    14150‐5360
GUSTAV SCHINDLER                                    18071 FAIRWOOD DR                                                                                         CLINTON TWP       MI    48035‐2435
GUSTAV T HOLTMAN JR                                 PO BOX 5002                                                                                               LAFAYETTE         IN    47903‐5002
GUSTAV W SELLERS                                    8600 CHEYENNE                                                                                             DETROIT           MI    48228‐2604
GUSTAVE A DOERFLINGER                               4671 MALDEN DR                        LIFTWOOD ESTATES                                                    WILMINGTON        DE    19803‐4817
GUSTAVE A TAUBE JR                                  4044 SKELTON RD                                                                                           COLUMBIAVILLE     MI    48421‐9753
GUSTAVE A WIEGARDT JR                               BOX 305                                                                                                   OCEAN PARK        WA    98640‐0305
GUSTAVE ALBERT JOHNSON                              7304 BLACKHAWK TRL                                                                                        SPRING HILL       FL    34606‐2520
GUSTAVE BINDEWALD                                   4 SHADY RIDGE COURT                                                                                       COLOMBUS          NJ    08022‐1130
GUSTAVE C WELLINGER JR & PATSY J WELLINGER JT TEN   15312 KENNEBEC ST                                                                                         SOUTHGATE         MI    48195‐3813

GUSTAVE J RICHTER                                   719 OLD POST RD                                                                                           BEDFORD           NY    10506‐1219
GUSTAVE J YAKI                                      420 BRUNSWICK AVE SW                  CALGARY AB                                        T2S 1N8 CANADA
GUSTAVE L CARPENTIER                                FRUIT HOFLAAN 124 BUS 51              2600 BERCHEM                                      BELGIUM
GUSTAVE L NICHOLS                                   1321 WORCESTER RD APT 502                                                                                 FRAMINGHAM        MA    01701‐8920
GUSTAVE POULOS                                      16 JOYCE PLACE                                                                                            PARLIN            NJ    08859‐1902
GUSTAVE SCHLISKE & MARGARET R SCHLISKE JT TEN       758 CR 1085                                                                                               MOUNTAIN HOME     AR    72653

GUSTAVE VERHELLE                                    20749 VESPER DR                                                                                           MACOMB            MI    48044‐6805
GUSTAVIA LUDORF                                     215 W SOUTH ST #D 27                                                                                      DAVISON           MI    48423‐1522
GUSTAVO A GOMEZ                                     12266 W LENNON RD                                                                                         LENNON            MI    48449‐9736
GUSTAVO AVELAR GUIMARAES                            47 RUE GREFFULHE                      LEVALLOIS‐PERRET                                  92300 FRANCE
GUSTAVO CESPEDES ARCOS                              GM DE MEXICO AVE EJERCITO             NACL 843 COL GRANADA         MEXICO DF MEXICO     MEXICO
GUSTAVO D ROLOTTI                                   846 RICHARDS RD                                                                                           WAYNE             PA    19087‐1044
GUSTAVO DELGADO                                     IXTLAHUACE 602 COL SORJUANA           INES DE LA CRUZ              TOLUCA EDO DE MEXI   MEXICO
GUSTAVO J HERNANDEZ & RITA L HERNANDEZ JT TEN       9243 TIFFANY DR                                                                                           MIAMI             FL    33157‐7939

GUSTAVO L DIAZ                                      15 SYCAMORE RIDGE DR                                                                                      SIMPSONVILLE      SC    29681‐4065
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GUSTAVO ROCA                                   2225 STONEHENGE DR                   APT 1                                                    RALEIGH          NC    27615‐4367
GUSTAVO SANCHEZ                                10687 CR 35                                                                                   TYLER            TX    75706
GUSTAVUS W CENTER & LUCILLE B CENTER TR CENTER 2020 S MONROE ST                     APT 506                                                  DENVER           CO    80210‐3770
TRUST UA 09/13/94
GUSTEN LUTTER                                  984 DEERFIELD LANE                   HOLLIDAY FARMS                                           KENNETT SQUARE   PA    19348‐2508
GUSTIN A GOVAERTS TR GUS & NORMA GOVAERTS 2003 285 W CENTRAL AVE                    APT 110                                                  BREA             CA    92821‐7508
LIVING TRUST 11/30/03
GUTHERIA JONES                                 36425 TOWNSHIP ROAD 68A                                                                       DRESDEN          OH    43821‐9612
GUTHERIA JONES                                 36425 TOWNSHIP ROAD 68A                                                                       DRESDEN          OH    43821‐9612
GUY A BAILEY & MRS JACQUE LYN BAILEY JT TEN    7022 E BLUELAKE DR                                                                            TUCSON           AZ    85715
GUY A BUTTERWORTH                              12 A STATION RD                                                                               CRANBURY         NJ    08512
GUY A CRAWFORD                                 608 W CRAWFORD ST                                                                             NOGALES          AZ    85621‐2512
GUY A GUENTHER                                 19334 KNOWLTON PKWY                  APT 103                                                  STRONGSVILLE     OH    44149‐9041
GUY A MC WREATH JR                             PO BOX 304                                                                                    MIDWAY           PA    15060‐0304
GUY ACCIVATTI                                  7263 FLAMINGO ST                                                                              CLAY             MI    48001‐4131
GUY ATKINS                                     1510 HARDING LANE                                                                             SILVER SPRINGS   MD    20905‐4010
GUY B MCINERNY                                 9524 KEOKUK AVE                                                                               CHATSWORTH       CA    91311‐5429
GUY B MURDOCK TR FRANK K MURDOCK TRUST UA      106 MEDINAH LANE                                                                              BARRINGTON       IL    60010‐1350
08/04/87
GUY BELT JR                                    1431 S OSAGE AVE                                                                              BARTLESVILLE     OK    74003‐5937
GUY BOSTIC                                     2291 EAST KENNETH ST                                                                          BURTON           MI    48529‐1349
GUY BRISSETTE                                  5103 BRAZIER ST                      ST LEONARD QC                          H1R 1G5 CANADA
GUY BROWN                                      13205 CLAYTON RD                                                                              SAN JOSE         CA    95127‐5101
GUY C MELLICK                                  2519 MORAY LN                                                                                 CEDAR PARK       TX    78613‐4339
GUY C NEWELL                                   125 COUNTRYSIDE LANE                                                                          GRAND ISLAND     NY    14072‐2517
GUY C POSEY                                    5240 FRANKFORT RD                                                                             TUSCUMBIA        AL    35674‐6354
GUY C RUBLE & HEATHER N RUBLE JT TEN           7526 PERILLA CT                                                                               INDIANAPOLIS     IN    46237‐3692
GUY C SATTERLEE                                7610 DAYHILL DR                                                                               SPRING           TX    77379
GUY CAMERON WALKER                             2598 MC CLEW RD                                                                               BURT             NY    14028‐9740
GUY COOKE                                      19638 SOUTH MITKOF LOOP                                                                       EAGLE RIVER      AK    99577
GUY CORDIVANO & ELIZABETH CORDIVANO TEN ENT    46 HIGHLAND RD                                                                                PARKESBURG       PA    19365‐9508

GUY D CHAPMAN                                  5360 RIVER RIDGE                                                                              FLUSHING         MI    48433‐1060
GUY D CORBIN                                   14560 LEROY                                                                                   SOUTHGATE        MI    48195‐2067
GUY D CORBIN                                   14560 LE ROY                                                                                  SOUTHGATE        MI    48195‐2067
GUY D DE CORBIAC                               854 WHISPERWOOD TRAIL                                                                         FENTON           MI    48430‐2276
GUY D FAULKNER                                 1714 NEW BETHEL RD                                                                            CARNESVILLE      GA    30521‐7314
GUY D HILL                                     587 WOODSIDE LANE                                                                             GAYLORD          MI    49735
GUY D MANGUS                                   PO BOX 130                                                                                    MOUNTAIN HOME    ID    83647‐0130

GUY D RAUSCH                                   670 BOLLINGER RD                                                                              BELLVILLE        OH    44813‐9060
GUY DAOUST                                     247 DE LA JEMMERAIS                  BOUCHERVILLE QC                        J4B 1G9 CANADA
GUY DENARDO                                    309 28TH AVE                                                                                  ALTOONA          PA    16601‐3641
GUY DOO DER & MRS KATHLEEN E DER JT TEN        748 WHALOM LN                                                                                 SCHAUMBURG       IL    60173‐5926
GUY E GRINDSTAFF JR                            156 PECKS MILL CREEK RD                                                                       DAHLONEGA        GA    30533‐4919
GUY E HENSLEY                                  33500 SCOTLAND DR                                                                             LINCOLN          MO    65338‐2987
GUY E KLENDER & EDNA E KLENDER JT TEN          2952 WILLIAMS LAKE RD                                                                         WATERFORD        MI    48329‐2675
GUY E SEEFELD                                  612 WESTLAWN                                                                                  BAY CITY         MI    48706‐3246
GUY E WILLIAMSON                               31376 SCHOENHERR RD #7                                                                        WARREN           MI    48093‐1957
GUY E WOOD                                     515 SAN REMO CT                                                                               COLLEGE PARK     GA    30349‐4051
GUY EVANS RUSSELL                              624 W 40TH ST                                                                                 INDPLS           IN    46208‐3937
GUY F HAMILTON                                 2133 COOLIDGE                                                                                 SAGINAW          MI    48603‐4008
GUY F LEACH                                    2787 BERRY RD                                                                                 LOGANVILLE       GA    30052‐2112
GUY F MCCRACKEN & EARLEEN R MCCRACKEN JT TEN   1576 JUNIPER COURT                                                                            HERMITAGE        PA    16148‐5608

GUY F WOODS & ROSE M WOODS TR G & R WOODS      16182 TYEE LANE                                                                               HUNTINGTON       CA    92647‐3440
FAMILY TRUST UA 06/10/04                                                                                                                     BEACH
GUY FERMAUD                                    8 RUE DE COTTAGE                     92410 VILLE D'AURAY                    FRANCE
GUY G ELLER                                    7187 MCCURLEY RD                                                                              ACWORTH          GA    30102‐1335
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Name                                          Address1                               Address2                    Address3   Address4            City             State Zip

GUY G GOLOMB & MERRY LYNN GOLOMB JT TEN       11008 E HIGLEY CIRCLE                                                                             SCHOOLCRAFT      MI    49087‐8470
GUY G HARRIS                                  23000 HIGHWAY 5                                                                                   MOUNTAIN VIEW    AR    72560‐8995
GUY G NORMANDIN                               4778 REMBRANDT LN                                                                                 LAKE OSWEGO      OR    97035‐1356
GUY GIUFFRE                                   VIA VITTORIO EMANUELE 200              98100 LIPARI ME                        ITALY
GUY H COLEMAN                                 2201 HARTFORD                                                                                     WATERFORD        MI    48327‐1116
GUY H HOGAN                                   4900 NEOSHO                                                                                       SHAWNEE MSN      KS    66205‐1475
GUY H NOERR                                   3313 BRADDOCK ST                                                                                  KETTERING        OH    45420‐1202
GUY H O'REILLY                                PO BOX 524                                                                                        LELAND           MS    38756‐0524
GUY HICKSON                                   14223 S HICKORY PL                                                                                GLENPOOL         OK    74033‐3641
GUY HIDDEN LAWRENCE III                       DRAWER RR                                                                                         PINE MOUNTAIN    CA    93222‐0040
                                                                                                                                                CLUB
GUY HOPPE                                     4814 ADELL COURT                                                                                  WOODLAND HILLS   CA    91364‐4758

GUY J CAPITO                                 1739 BELLETERRE AVE                                                                                NILES            OH    44446
GUY J LAPLANTE                               950 RUE ROYAL                           CP‐1356 TROIS‐RIVIERES QC              G9A 5L2 CANADA
GUY J OSBORNE                                15785 ORCHARD ST                                                                                   HOMULUS          MI    48174‐2933
GUY J OVERMAN                                PO BOX 721                                                                                         OZARK            AR    72949‐0721
GUY J OVERMAN & PEGGY N OVERMAN JT TEN       PO BOX 721                                                                                         OZARK            AR    72949‐0721
GUY J PARKS                                  1416 WESTBURY DR                                                                                   DAVISON          MI    48423‐8308
GUY J PIERSON                                241 FISHER PL                                                                                      PRINCETON        NJ    08540‐6443
GUY J PUTMAN & JACQUELYN R PUTMAN JT TEN     318 E LANCASTER ST                                                                                 LECANTO          FL    34461‐8162
GUY J SCAVONE & CATHERINE G SCAVONE JT TEN   3883 FAIRFAX DRIVE                                                                                 TROY             MI    48083‐6411
GUY J STEVENS & JOY L STEVENS TR STEVENS FAM 1739 E 1080 N                                                                                      LOGAN            UT    84321
TRUST UA 12/07/90
GUY JAMES PRONOVICH & WILLIAM J PRONOVICH JT 1129 NICKLAUS DRIVE                                                                                TROY             MI    48098‐3368
TEN
GUY KEITH GILLESPIE                          15920 SHERIDAN RD                                                                                  CLINTON          MI    49236‐9673
GUY KNOWLE CUST CHRISTOPHER S KNOWLE UTMA MD 2553 ASHBROOK DR                                                                                   ELLICOTT CITY    MD    21042‐1756

GUY KNOWLE CUST SUZANNE KNOWLE UTMA MD        2553 ASHBROOK DR                                                                                  ELLICOTT CITY    MD    21042‐1756
GUY L HARTMAN                                 6425 CLEMATIS DR                                                                                  DAYTON           OH    45449‐3011
GUY L LLOYD                                   2860 MANN RD                                                                                      CLARKSTON        MI    48346‐4238
GUY L PASSMORE                                5465 WINELL                                                                                       CLARSTON         MI    48346‐3566
GUY L POOLE                                   7005 FOX ROAD                                                                                     OAKFIELD         NY    14125‐9740
GUY L TAYLOR                                  362 CIRCLE HEIGHTS RD                                                                             WESTON           WV    26452‐8347
GUY LAPOLLO                                   1 YORK RD                                                                                         COLRAIN          MA    01340‐9516
GUY LEE & KATHLEEN C LEE JT TEN               10602 N 37TH ST                                                                                   PHOENIX          AZ    85028‐3407
GUY LEE STOPHER JR                            4716 SOUTHVIEW DRIVE                                                                              ANDERSON         IN    46013‐4757
GUY LEROY HARTMAN                             457 WINTON PL                                                                                     CASTLE ROCK      CO    80108‐8362
GUY LONG JR & MARTHA J LONG JT TEN            539 S LEX‐ONTARIO RD                                                                              MANSFIELD        OH    44903‐8792
GUY LONGOBARDO & ANNA G K LONGOBARDO JT TEN   15 CROWS NEST RD                                                                                  BRONXVILLE       NY    10708‐4816

GUY M GRIMES                                 1330 DRAKE RD                                                                                      BROCKPORT        NY    14420‐9646
GUY M LYNN                                   4008 INNSBROOK CT                                                                                  NORMAN           OK    73072‐4233
GUY M THOMPSON                               1508 LAKE BREEZE CT                                                                                ORANGE PARK      FL    32003‐8667
GUY M VOLPONI                                6209 N KENSINGTON CT                                                                               KANSAS CITY      MO    64119‐5048
GUY M VOLPONI & CANDICE D VOLPONI JT TEN     6209 N KENSINGTON CT                                                                               KANSAS CITY      MO    64119‐5048
GUY MARINO                                   1243 SOUTH ST S E                                                                                  WARREN           OH    44483‐5940
GUY MARTIN GARROW A MINOR U/GDNSHP OF ROBERT 5 JAN ST                                                                                           MORRISONVILLE    NY    12962‐9516
GARROW
GUY MC WREATH & M LOIS MC WREATH TEN ENT     104 W DICKSON ST                        PO BOX 304                                                 MIDWAY           PA    15060‐0304
GUY MCCOMBS                                  8310 LYNN DR                                                                                       INDIANAPOLIS     IN    46237
GUY MCMILLIAN BIBBEE JR                      219 SUNSET DR                                                                                      CHARLESTON       WV    25301‐1032
GUY METROCAVICH                              7 ABERDEEN RD                                                                                      CHATHAM          NJ    07928
GUY MP FITZGERALD                            14683 LINDEN DR                                                                                    SPRING HILL      FL    34609
GUY O BOUCHER                                40 DARTMOUTH ST                                                                                    WALTHAM          MA    02453‐3514
GUY OREFICE & MRS CHRISTINE OREFICE JT TEN   58‐12 183RD ST                                                                                     FLUSHING         NY    11365‐2212
GUY P RANDOLPH                               11 PORTER ST                            APT 406                                                    DANVERS          MA    01192‐3053
GUY PARKER                                   4484 LISA WAY                                                                                      LILBURN          GA    30047‐3622
                                             09-50026-mg                  Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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GUY R BOLINGER                                   10701 N 99TH AVE                        LOT 15                                                   PEORIA             AZ    85345‐5417
GUY R ESHELMAN                                   289 DONERVILLE RD                                                                                LANCASTER          PA    17603‐9725
GUY R FLEMING                                    PO BOX 194                                                                                       OVID               MI    48866‐0194
GUY R LITTLESON & PATSY A LITTLESON JT TEN       941 DURSLEY                                                                                      BLOOMFIELD HILLS   MI    48304‐2013

GUY R STEPHENSON                                 17562 TUSCANY LN                                                                                 GORNELIUS          NC    28031‐8052
GUY R STURGIS                                    60 LAKE AVE                                                                                      MELROSE            MA    02176‐2702
GUY R SULLIVAN                                   53 THE COMMONS                                                                                   GRAND ISLAND       NY    14072
GUY R WIRSIG & LINDA M WIRSIG JT TEN             3452 PROSPECT AVE                                                                                LA CRESCENTA       CA    91214‐2550
GUY RICOU BROWNING                               6758 CIRCLE J DRIVE                                                                              TALLAHASSEE        FL    32312‐3504
GUY ROPER JR                                     1447 HARDING ST                                                                                  HOLLYWOOD          FL    33020‐2560
GUY S DIMMICK                                    2000 BROADWAY ST                                                                                 BLUE ISLAND        IL    60406‐3005
GUY S FRAGOLA                                    121 BLUE STONE CIR                                                                               MILFORD            PA    18337‐9635
GUY SALERNO                                      2530 18TH ST                            APT 7                                                    KENOSHA            WI    53140‐4648
GUY SINCLAIR                                     507 N MAIN ST                                                                                    GRAHAM             NC    27253‐2250
GUY T DZIDO                                      14142 EASTVIEW DR                                                                                FENTON             MI    48430‐1304
GUY T MARCUS                                     7304 TURTLE CREEK BLVD                                                                           DALLAS             TX    75225‐7430
GUY TODD ALONSO                                  2850 BELLEFONTAINE ST                                                                            HOUSTON            TX    77025
GUY V HOOVER                                     245 LINCOLN WAY W                                                                                CHAMBERSBURG       PA    17201‐2013
GUY V WITHEY & GUY DAVID WITHEY JT TEN           3196 CORALENE DR                                                                                 FLINT              MI    48504‐1212
GUY W BOWMAN JR                                  234 RIVERSHORE DRIVE                                                                             ELK RAPIDS         MI    49629‐9753
GUY W ENGER                                      PO BOX 13464                                                                                     GREEN BAY          WI    54307‐3464
GUY W JACKSON                                    8578 STATE ST                                                                                    KINSMAN            OH    44428‐9705
GUY W OWEN & MARY E OWEN JT TEN                  2841 MARATHON RD                                                                                 COLUMBIAVILLE      MI    48421‐8992
GUY W REID                                       3139 POPLAR HILL ROAD                                                                            LIVONIA            NY    14487‐9321
GUY WESTFALL                                     1707 TIFFIN DR                                                                                   DEFIANCE           OH    43512‐3435
GUY WYLIE                                        31657 FLYNN                                                                                      WARREN             MI    48092‐1623
GUY WYLIE & SHIRLEY L WYLIE JT TEN               31657 FLYNN                                                                                      WARREN             MI    48092‐1623
GWANG HOON CHUNG & YAUNG SOO KIM CHUNG JT        PO BOX 3607                                                                                      BARRINGTON         IL    60011‐3607
TEN
GWEN A HARVEY TR GWEN A HARVEY LIVING TRUST UA   445 SAN NICOLAS WAY                                                                              ST AUGUSTINE       FL    32080‐7719
09/23/02
GWEN A HENDRICKSON TOD JUDSON C WILLSON          PO BOX 17011                                                                                     FOUNTAIN HLS       AZ    85269
SUBJECT TO STA TOD RULES
GWEN A HENDRICKSON TOD LIONEL C WILLSON          PO BOX 17011                                                                                     FOUNTAIN HLS       AZ    85269
SUBJECT TO STA TOD RULES
GWEN BALANCE                                     813 PEMBERTON                                                                                    GROSSE POINTE      MI    48230‐1729
                                                                                                                                                  PARK
GWEN C MAES & LAWRENCE C MAES JT TEN       5168 PLEASANT HILL DR                                                                                  FENTON             MI    48430‐9336
GWEN C REYNOLDS                            72 EAST MOUNT AVE                                                                                      ATLANTIC HLDS      NJ    07716
GWEN COOPMAN CUST ZACHARY SIMONSON UTMA/WI 409 S BROWN AVE                                                                                        PESHTIGO           WI    54157‐1521

GWEN D MILLER                                    3322 FRESHOUR ROAD                                                                               CANANDAIGUA        NY    14424‐8829
GWEN DETULLIO CUST HEATHER DAWN DETULLIO         C/O HEATHER D LENGYEL                   53 BALL PARK ROAD                                        SHARPSVILLE        PA    16150‐3001
UGMA FL
GWEN E HAGG                                      737 BLOOMFIELD DR                                                                                MOUNT PLEASANT     SC    29464‐7745

GWEN ELLIS DEELY                                 APT 4‐E                                 440 E 20TH ST                                            NY                 NY    10009‐8211
GWEN G GREGORY                                   PO BOX 1034                                                                                      WESTPORT           WA    98595
GWEN G NOLAN                                     275 22ND AVE                                                                                     BRICK              NJ    08724‐1750
GWEN H TAYLOR CUST DANA M TAYLOR UGMA TX         2717 SHAUNTEL                                                                                    PEARLAND           TX    77581‐6357
GWEN H TAYLOR CUST KAREN L TAYLOR UGMA TX        UNIT 14                                 2744 BRIARHURST DR                                       HOUSTON            TX    77057‐5317
GWEN H TAYLOR CUST TERRI A TAYLOR UGMA TX        9521 ARBORHILL                                                                                   DALLAS             TX    75243‐6003
GWEN HARGROVE                                    116 S PLEASANT                                                                                   INDEPENDENCE       MO    64050‐3605
GWEN J PROHL                                     3133 STRONG ST                                                                                   HIGHLAND           IN    46322‐1445
GWEN KIDD                                        2503 PARKVIEW ST SW                                                                              WYOMING            MI    49519
GWEN L BAILEY & BRUCE E BAILEY JT TEN            1 WHEATSTONE CT                                                                                  GREENVILLE         SC    29617‐7054
GWEN L STUDSTILL                                 708 N SPURLIN ST                                                                                 OPP                AL    36467‐1734
GWEN L WRIGHT                                    14232 PIKEMINNOW PL                                                                              BROOMFIELD         CO    80020‐3966
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GWEN LAURIE WRIGHT                             14232 PIKEMINNOW PL                                                                                                  BROOMFIELD         CO    80020‐3966
GWEN M CASTEEL                                 16409 OAK MANOR DR                                                                                                   WESTFIELD          IN    46074‐8787
GWEN M CHRISTENSON                             PO BOX 423                           203 COBBLESTONE COURT                                                           LYONS              CO    80540‐0423
GWEN M EPPENAUER & JOHN M EPPENAUER SR &       2206 W 3RD STREET                                                                                                    SEDALIA            MO    65301‐2408
TIMOTHY B EPPENAUER JT TEN
GWEN M JORDAN                                  PO BOX 3008                                                                                                          JANESVILLE         WI    53547‐3008
GWEN M NANCE                                   5321 CONIFER DR                                                                                                      COLUMBIAVILLE      MI    48421‐8988
GWEN M PERKO                                   C/O HANGARTNER                       1416 QUAKER RD                                                                  BARKER             NY    14012‐9604
GWEN MARIE MODLENAAR                           PO BOX 3701                          ST THOMAS 00803                U S VIRGIN ISLANDS   VIRGIN ISLANDS OF THE USA

GWEN MARIE SHEPPARD                            9593 OMEGA CT                                                                                                        MENTOR             OH    44060‐4530
GWEN NYE‐FOSTER                                13276 NORTHWEST 93RD LANE                                                                                            ALACHUA            FL    32615‐6756
GWEN OKELLEY                                   1427 SHERIDAN DRIVE                                                                                                  SAINT LOUIS        MO    63132‐2629
GWEN PARMELEE HILL                             20250 MOCABEE RD                                                                                                     SONOMA             CA    95476‐7819
GWEN ROY                                       129 INTRACOASTAL CIRCLE                                                                                              TEQUESTA           FL    33469
GWEN V WALTS TR WALTS TRUST UA 03/28/01        151 ZIMMERMAN RD                                                                                                     INMAN              SC    29349‐7978
GWENA L BRIDEN & COLETTE A BRIDEN JT TEN       BOX 92                                                                                                               VALIER             MT    59486‐0092
GWENDA R GNADT                                 40 CLUBHOUSE CT                                                                                                      PORT JEFFERSON     NY    11777‐2251
GWENDLYN E OTTAVIANO EX EST FERNE G MAUST      230 MARKER DR                                                                                                        SOMERSET           PA    15501
GWENDLYN MCCLAIN                               4600 E KENTUCKY #205                                                                                                 DENVER             CO    80246‐2632
GWENDOLA M LARRANCE                            1976 EAST 1700 NORTH                                                                                                 SUMMITVILLE        IN    46070‐9167
GWENDOLYN A ESTELL                             68 FALMOUTH WAY                                                                                                      BLUFFTON           SC    29910‐5005
GWENDOLYN A JOHNSON                            PO BOX 493                                                                                                           DOUGLASVILLE       GA    30133‐0493
GWENDOLYN A MOORE TR GWENDOLYN A MOORE         1790 SOUTH HILLS BLVD                                                                                                BLOOMFIELD HILLS   MI    48304‐1141
TRUST UA 2/03/99
GWENDOLYN A PERCIVAL                           2530 ROYAL FARM COURT                                                                                                DECATUR            GA    30034‐7106
GWENDOLYN A PULLEN TR UW OF WILLIAM W PULLEN   5601 KNOB RD                                                                                                         NASHVILLE          TN    37209‐4521
JR
GWENDOLYN A WATRING                            3480 INDIAN HILL DR                                                                                                  KETTERING          OH    45429‐1506
GWENDOLYN ARZEL FRANK                          718 MIDDLESWORTH DR                                                                                                  LINDEN             MI    48451‐8604
GWENDOLYN B COCHRAN                            2927 KNOLLRIDGE DR                   APT D                                                                           DAYTON             OH    45449‐3436
GWENDOLYN B GEETING                            248 BRONWOOD ST                                                                                                      NEW LEBANON        OH    45345‐1304
GWENDOLYN B WEST                               4500 COOPER                                                                                                          DETROIT            MI    48214‐1467
GWENDOLYN BALLARD                              202 BAKER STREET                                                                                                     HOPKINS            MI    49328
GWENDOLYN BERRY                                PO BOX 8238                                                                                                          FREDERICKSBURG     VA    22404‐8238
GWENDOLYN BOYD                                 18250 CATHEDRAL                                                                                                      DETROIT            MI    48228‐1808
GWENDOLYN BRANDON                              32111 WILLOW WAY                                                                                                     CHESTERFIELD TWP   MI    48047‐4538

GWENDOLYN C BUTLER                             ATTN GWENDLYN C B LEATHLEY           26 PEREGRINE CROSSING                                                           SAVANNAH           GA    31411‐2819
GWENDOLYN CARTER YOUNG                         2400 OXFORD DRIVE                                                                                                    GAUTIER            MS    39553‐6924
GWENDOLYN COLEMAN                              6028 WOODHAVEN RD                                                                                                    JACKSON            MS    39206‐2527
GWENDOLYN CORAM                                8199 TERRACE GARDEN DRIVE            NORTH #411                                                                      SAINT PETERSBURG   FL    33709‐7076

GWENDOLYN CORAM TR UA 04/26/93 GWENDOLYN       APT 411                              8199 TERRACE GARDEN DRIVE NO                                                    ST PETERSBURG      FL    33709‐1054
CORAM TRUST
GWENDOLYN D ANDERSON                           4716 N RITTER AVE                                                                                                    INDIANAPOLIS       IN    46226‐2216
GWENDOLYN D GAMBLE                             1564 CRESTWOOD ROAD                                                                                                  TOLEDO             OH    43612‐2066
GWENDOLYN D SULUKI                             207 WEST PHILADELPHIA                                                                                                FLINT              MI    48505‐3264
GWENDOLYN DAVIS                                19344 BURGESS                                                                                                        DETROIT            MI    48219‐1887
GWENDOLYN E HUNTER                             3605 WARBLER DRIVE                                                                                                   DECATUR            GA    30034‐4450
GWENDOLYN E MANLY                              113 S CASTLE RD                                                                                                      DALTON             GA    30720‐8012
GWENDOLYN ESTHER FLIPPEN                       368 EAST JACKSON AVENUE                                                                                              FLINT              MI    48505‐4964
GWENDOLYN F BUTTERMORE                         944 WYANDOTTE TRAIL                                                                                                  WESTFIEL           NJ    07090‐3733
GWENDOLYN F COLLINS                            1175 E 13TH ST                                                                                                       JACKSONVILLE       FL    32206‐3105
GWENDOLYN F MC NEAL                            BOX 91                                                                                                               BRASELTON          GA    30517‐0002
GWENDOLYN F PRINCE                             C/O GWENDOLYN DAVIS                  1237 BRETT CT                                                                   RIVERDALE          GA    30296
GWENDOLYN FASIG                                13874 N RIDGELAWN RDD                                                                                                MARTINSVILLE       IL    62442‐2512
GWENDOLYN FAYE JACKSON                         1677 DEVON ST                                                                                                        YPSILANTI          MI    48198‐3212
GWENDOLYN G INMAN                              4159 DECOSTE RD                                                                                                      GLENNIE            MI    48737‐9770
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GWENDOLYN GAIL SMITH                              6315 DIAMOND HEAD DR                                                                           MONROE             LA    71203‐3200
GWENDOLYN GIBSON                                  249 CEDARDALE                                                                                  PONTIAC            MI    48341‐2727
GWENDOLYN H BAILEY & EARL RANDALL BAILEY JT TEN   3455 POPLAR DRIVE                                                                              LAWRENCEVILLE      GA    30044‐4136

GWENDOLYN H BAILEY & NANCY J BAILEY JT TEN      3455 POPLAR DRIVE                                                                                LAWRENCE VILLE     GA    30044‐4136
GWENDOLYN H BOCCIO TR REVOCABLE TRUST 06/19/92 1208 ALOMAR WAY                                                                                   BELMONT            CA    94002‐3604
U‐A GWENDOLYN H BOCCIO
GWENDOLYN H COLLIER & MARJORIE G COLLIER JT TEN 2805 E CALIF BLVD                                                                                PASA DENA          CA    91107‐5346

GWENDOLYN H LEONARD                            110 MANCHESTER RD                                                                                 SAVANNAH           GA    31410‐4119
GWENDOLYN H WILSON                             69 HOLDER ST                                                                                      TEMPLE             GA    30179‐3840
GWENDOLYN H WILSON                             1700 FALCONER CIR # 21104                                                                         ARLINGTON          TX    76006
GWENDOLYN HARPER                               1325 UPLAND DR                                                                                    KALAMAZOO          MI    49048‐1202
GWENDOLYN HENDRICKS                            1703 OAKHILL RD                                                                                   KOKOMO             IN    46902‐3148
GWENDOLYN HILL & CARLOS T HILL JT TEN          29450 MCDONNELL CT                                                                                SOUTHFIELD         MI    48076‐1707
GWENDOLYN HOMICKI CUST JULIETTE C HOMICKI UGMA 111 FILLEY RD                                                                                     HADDAM             CT    06438
CT
GWENDOLYN HOMICKI CUST NORA C HOMICKI UGMA 111 FILLEY RD                                                                                         HADDAM             CT    06438
CT
GWENDOLYN I ARNOLD                             884 JOHNSON PLANK RD                                                                              WARREN             OH    44481‐9361
GWENDOLYN IRENE PAGNIER                        5314 MAIN STREET RD                                                                               STERLING           MI    48659‐9775
GWENDOLYN J ALLEN                              3583 COUNTY ROUTE 6                                                                               HAMNOND            NY    13646‐4136
GWENDOLYN J BRADLEY                            4354 E OUTER DR                                                                                   DETROIT            MI    48234‐3182
GWENDOLYN J CAMPBELL                           426 WEST WOOD ST                                                                                  FLINT              MI    48503‐1142
GWENDOLYN J DAVIS                              15361 SUMNER                                                                                      REDFORD            MI    48239‐3853
GWENDOLYN J HARDEN & MARK W HARDEN JT TEN      22429 BAYVIEW                                                                                     ST CLR SHORES      MI    48081

GWENDOLYN J LONIEWSKI                             42881 ASHBURY DR                                                                               NOVI               MI    48375‐4726
GWENDOLYN J MICHAELS                              4302 E ALTAMESA AVE                                                                            PHOENIX            AZ    85044‐1312
GWENDOLYN J OLSEN                                 9351 15 MI ROAD                                                                                RODNEY             MI    49342‐9784
GWENDOLYN J RAY                                   10032 WELLINGTON DR                                                                            PLYMOUTH           MI    48170‐3429
GWENDOLYN JAMES                                   200 FORD                                                                                       HIGHLAND PARK      MI    48203‐3043
GWENDOLYN JUNGE                                   303 MCDONALD DR                                                                                VERSAILLES         KY    40383
GWENDOLYN K BENNETT                               525 MARICK DRIVE                                                                               ROCK HILL          MO    63119‐1539
GWENDOLYN K MITCHELL                              ATTN GWENDOLYN MITCHELL‐SMITH         10135 TRADEWINDS                                         HOUSTON            TX    77086‐2812
GWENDOLYN K SHINABERY                             793 CHIPPEWA DR                       DEFIENCE                                                 DEFIANCE           OH    43512
GWENDOLYN KAY SHIPPY                              6 DOGWOOD LN                                                                                   BUFORD             GA    30518‐5033
GWENDOLYN L LONDON                                13431 CHESTNUT LN                                                                              TAYLOR             MI    48180‐6349
GWENDOLYN L WASHINGTON                            32520 STONYBROOK LANE                                                                          SOLON              OH    44139‐1937
GWENDOLYN LUISA PANZARELLA                        2637 PERSA ST                         #2                                                       HOUSTON            TX    77098‐1409
GWENDOLYN M CLAYTON                               7480 HICKORY RIDGE DR                                                                          YPSILANTI          MI    48197‐9488
GWENDOLYN M HALES                                 639 FISHER AVE                                                                                 EAST LIVERPOOL     OH    43920‐1316
GWENDOLYN M HAMM                                  3900 LEROY STEVENS RD                                                                          MOBILE             AL    36619‐4409
GWENDOLYN M HESTER                                1395 ST NICHOLAS BOULEVARD                                                                     PLAINFIELD         NJ    07062‐1730
GWENDOLYN M JEFFORDS                              PO BOX 601                                                                                     LAKE BLUFF         IL    60044‐0601
GWENDOLYN M JOHNSON                               4384 EAST 15 MILE ROAD                                                                         STERLING HGTS      MI    48310‐5411
GWENDOLYN M JOHNSON & LISA R JOHNSON JT TEN       4384 E 15 MILE ROAD                                                                            STERLING HEIGHTS   MI    48310‐5411

GWENDOLYN M JONES & RENEE L JONES & KIM Y         4687 LAKEWOOD                                                                                  DETROIT            MI    48215‐2102
GOODWILL JT TEN
GWENDOLYN M MACIAS                                2221 ISABELLA                                                                                  HOUSTON            TX    77004‐4329
GWENDOLYN M MELVIN & HARLAN F MELVIN TEN ENT      16410 BOWDITCH RD                                                                              ONANCOCK           VA    23417‐4012

GWENDOLYN M MILLER                                12951 S INDIAN RIVER DRIVE                                                                     JENSEN BEACH       FL    34957‐2225
GWENDOLYN M MOORE TR UA 05/17/90 GWENDOLYN        JOHN KNOX VILLAGE LEES                6288 NW PRYOR CIR                                        SUMMIT             MO    64081
M MOORE LIVING TRUST
GWENDOLYN M SMITH                                 1409 E CANTEY ST                                                                               FORT WORTH         TX    76104‐7002
GWENDOLYN M VROOMAN                               7801 GOODWIN RD                                                                                LYONS              MI    48851‐9667
GWENDOLYN M WRAY                                  3392 NOTTINGHILL DRIVE W.                                                                      PLAINFIELD         IN    46168‐8305
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Name                                              Address1                              Address2             Address3          Address4          City              State Zip

GWENDOLYN MCCLAIN                                 4600 E KENTUCKY #205                                                                           DENVER            CO    80246‐2632
GWENDOLYN MIHIN                                   1275 80TH AVE                                                                                  HADLEY            MN    56151‐2034
GWENDOLYN O MALLETTE & JOHNNY W MAULTSBY JR       109 N 25TH ST                                                                                  WILMINGTON        NC    28405‐2942
JT TEN
GWENDOLYN OREAIR RUSSOM                           3624 OSO ST                                                                                    SAN MATEO         CA    94403‐3518
GWENDOLYN P KNOTTS                                2364 MACGRUDER COVE                                                                            MEMPHIS           TN    38119‐7522
GWENDOLYN P TALMADGE                              ATTN GWENDOLYN P SMITH                2058 BARON                                               ROCHESTER HILLS   MI    48307‐4322
GWENDOLYN PHINISEE                                2007 CROOKED LN                                                                                FLINT             MI    48503‐4673
GWENDOLYN POWELL                                  3597 E 114 ST                                                                                  CLEVELAND         OH    44105‐2563
GWENDOLYN PUCKETT                                 3224 GREYFRIARS                                                                                DETROIT           MI    48217‐2408
GWENDOLYN R CAIN                                  3100 W SPRAGUE RD                                                                              PARMA             OH    44134‐6376
GWENDOLYN R JOHNSON                               9109 CLOVERLAWN                                                                                DETROIT           MI    48204‐2730
GWENDOLYN R MC DONALD                             2808 E TANAGER TR                                                                              ORANGE            TX    77632
GWENDOLYN ROGERS                                  17135 SAN JUAN                                                                                 DETROIT           MI    48221‐2622
GWENDOLYN ROSELIUS                                1816 SW 30TH ST                                                                                MOORE             OK    73160‐2811
GWENDOLYN S HUNTER                                24821 GERMAN RD                                                                                SEAFORD           DE    19973‐7334
GWENDOLYN S KONANTZ RAND                          7 DOGWOOD CT                                                                                   CANDLER           NC    28715‐9488
GWENDOLYN S PARKER                                4491 HOMINY RIDGE RD                                                                           SPRINGFIELD       OH    45502‐8029
GWENDOLYN SITTARO TR GWENDOLYN SITTARO TRUST      12930 MASONIC                                                                                  WARREN            MI    48093‐6143
UA 09/08/99
GWENDOLYN T TURNER                                18445 HELEN                                                                                    DETROIT           MI    48234‐3068
GWENDOLYN THOMAS                                  20004 SNOWDEN ST                                                                               DETROIT           MI    48235
GWENDOLYN V ASKIM                                 PO BOX 636                                                                                     PARK RIVER        ND    58270‐0636
GWENDOLYN V HORTON                                356 E DAYTON ST                                                                                FLINT             MI    48505‐4340
GWENDOLYN VIERS & CHARLES D VIERS JT TEN          PO BOX 195                                                                                     DAVISON           MI    48423‐0195
GWENDOLYN W BOWMAN                                PO BOX 1874                                                                                    SAGINAW           MI    48605‐1874
GWENDOLYN WICKER                                  8174 HOUSE                                                                                     DETROIT           MI    48234‐3344
GWENDOLYN WOODRUFF                                5753 SPRUCE KNOLL COURT                                                                        INDIANAPOLIS      IN    46220‐6322
GWENDOLYN Y SINGLETON & LARRY T SINGLETON JT      3883 RAINTREE DRIVE                                                                            TROY              MI    48083‐5348
TEN
GWENDOLYN YARBROUGH                               1944 PARKSIDE BLVD                                                                             TOLEDO            OH    43607‐1553
GWENETT ORINTHEA LONDON                           10500 SW 160TH STREET                                                                          MIAMI             FL    33157
GWENLON K LOTT                                    5916 CEDAR SHORES DR LOT 59                                                                    HARRISON          MI    48625‐8969
GWENN B DRUM                                      60 GARLAND DR                                                                                  CARLISLE          PA    17013‐4223
GWENN M JENNINGS                                  3239 OCOTILLO DR                                                                               LAUGHLIN          NV    89029‐0841
GWENNETH MARGARET HAMMOND                         11/564 ANZAC HIGHWAY                  GLENELG EAST S A                       5045 AUSTRALIA
GWENNIE BUBB                                      570 ALLWOOD RD                        #5                                                       CLIFTON           NJ    07012‐2137
GWENYTH D KROEKER COLLINS TR THE COLLINS LIVING   226 S E ST                                                                                     EXETER            CA    93221‐1733
TRUST UA 08/17/98
GWINDA B JEFFERSON                                1301 PICKWICK PLACE                                                                            FLINT             MI    48507
GWINDOLYN PANNELL                                 ATTN GWINDOLYN PANNELL GWIN           171 SCHOOL RD                                            JACKSBORO         TN    37757‐2105
GWINN L DUGGER                                    6100 N AKRON DR                                                                                ALEXANDRIA        IN    46001‐8638
GWYN CONDON & ROBERT L CONDON JT TEN              543 PARTRIDGE RUN                                                                              BARRYTON          MI    49305
GWYN DOWNEY & FRANKLIN DOWNEY JT TEN              38W358 MCDONALD RD                                                                             ELGIN             IL    60123‐8854
GWYNETH M HOTALING                                309 WEST 104TH ST APT 2D                                                                       NEW YORK          NY    10025‐4145
GWYNN H HUBBELL                                   PO BOX 780                                                                                     PINE PLAINS       NY    12567‐0780
GWYNNE L GROSSMAN                                 7507 THOMPSON RD                                                                               SYRACUSE          NY    13212‐2538
GYL L LANTZ                                       10520 BYRON RD                                                                                 BYRON             MI    48418‐9114
GYNEZE WILLIAMS                                   100 RIVERFRONT DRIVE                  APT 2302                                                 DETROIT           MI    48226‐4541
GYNON ROWE CUST AMY DAWN DUGHETTI UGMA IL         5505 PARKER CITY ROAD                                                                          CREAL SPRINGS     IL    62922‐1217

GYPSY ROWE                                        7044 E ST RT 101                                                                               CLYDE             OH    43410‐9731
GYULA DANCS                                       8426 MANCHESTER                                                                                GROSSE ILE        MI    48138‐1851
GYULA KADLECZ                                     7824 PARADEE RD                                                                                TAYLOR            MI    48180‐2351
H & F FAMILY LIMITED PARTNERSHIP                  79 REYNOLD DRIVE                                                                               LIDO BEACH        NY    11561‐4927
H & W TRADING CO                                  607 RIDGEVIEW DR                                                                               MESQUITE          NV    89027
H A GARBAR                                        4241 PARK HILL DRIVE                                                                           EL PASO           TX    79902‐1355
H A HOBGOOD                                       PO BOX 55                                                                                      HOLLY SPRINGS     GA    30142‐0001
H A MC GRATH                                      3335 BELSHIRE COURT                                                                            ROANOKE           VA    24014‐1371
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H A PIWOWAR                                        5438 S NEENAH                                                                                    CHICAGO           IL    60638‐2404
H A WADE                                           31852 CHARLEVOIX                                                                                 WAYNE             MI    48184
H A WILLIAMS                                       105 TOM MORRIS LN                                                                                ENTERPRISE        AL    36330‐2309
H ALLEN CURTIS                                     172 DENNIS DRIVE                                                                                 WILLIAMSBURG      VA    23185‐4935
H ANTHONY MEDLEY                                   13900 TAHITI WAY #224                                                                            MARINA DEL REY    CA    90292‐6576
H AUSTIN OLMSTEAD & KAREN A OLMSTEAD JT TEN        PO BOX 717                                                                                       CHARLEVOIX        MI    49720‐0717

H AUSTIN SPANG 3RD                                 2525 HILLTOP RD                                                                                  SCHENECTADY       NY    12309‐2406
H B CHENAULT JR & MARILYN CHENAULT JT TEN          5601 N A 1‐1                            APT 104 S                                                VERO BEACH        FL    32963
H B WRAY                                           121 STATE HWY 11C                                                                                WINTHROP          NY    13697‐3228
H BARNES MOWELL CUST JOSEPH PATRICK MOWELL         1317 GLENCOE RD                                                                                  SPARKS            MD    21152‐9353
UTMA MD
H BARNES THOMPSON                                  2203 SULGRAVE DR                                                                                 WILSON            NC    27896‐1351
H BERNARD TZORFAS & MRS BARBARA TZORFAS JT TEN     212 EAST PITTSBURG                                                                               WILDWOOD CREST    NJ    08260‐3439

H BLAIR MINICK                                     1488 STRATFIELD CIR NE                                                                           ATLANTA           GA    30319‐2523
H BOYLE & MISCHEL OSTOVICH JT TEN                  4461 STACK BLVD                         APT E224                                                 MELBOURNE         FL    32901‐8843
H BRANTLEY MC NEEL TR H BRANTLEY MC NEEL MDPA      12200 FIRST ST WEST                     #201                                                     TREASURE ISLAND   FL    33706‐5163
PROF SHAR TR 7/30/76
H BRITT THOMPSON JR                                1916 WISTERWOOD DRIVE                                                                            BIRMINGHAM        AL    35226‐3331
H BRUCE AYARS                                      6350 WINTER PARK DR                     STE 102                                                  N RICHLND HLS     TX    76180‐5367
H BRUCE HAGER                                      2956 S GREENWOOD                                                                                 MESA              AZ    85212‐1539
H BURTON EATON JR CUST CYNTHIA EATON U/THE         C/O MRS CYNTHIA BROWN                   20 LITTLE FOX LN                                         WESTON            CT    06883‐1504
MICHIGAN U‐G‐M‐A
H BURTON EATON JR CUST CYNTHIA EATON U/THE U‐G‐    C/O MRS CYNTHIA BROWN                   20 LITTLE FOX LN                                         WESTON            CT    06883‐1504
M‐A
H C CRESS                                          PO BOX 511                                                                                       SPEEDWELL         TN    37870‐0511
H C CROSS                                          4901 W CR 500 S                                                                                  MUNCIE            IN    47302‐8953
H C CROSS & SHERRY E CROSS JT TEN                  4901 W CR 500 S                                                                                  MUNCIE            IN    47302‐8953
H C LYAS                                           2419 IVA CT                                                                                      BELOIT            WI    53511‐2613
H CARLISLE BEAN & ROBERT M CARLISLE TR UW LOUISA   PO BOX 81                                                                                        SPARTANBURG       SC    29304‐0081
BOBO CARLISLE
H CARLISLE MCCROCKLIN                              625 E WATER ST                                                                                   PENDLETON         IN    46064‐9378
H CARTER CHURCHILL                                 305 E ROCKWELL ST                                                                                FENTON            MI    48430‐2342
H CLAY DORMINEY                                    1201 PRINCE AVE                                                                                  TIFTON            GA    31794‐4055
H CLAY WARNICK IV                                  2637 RIVER ROAD                                                                                  MANASQUAN         NJ    08736‐2436
H CLYDE DUPUY                                      10514 SAGEWILLOW                                                                                 HOUSTON           TX    77089‐3014
H CORY WEITZNER                                    1321 VISTA DR                                                                                    SARASOTA          FL    34239‐2045
H CURTIS BROWN                                     145 TEAGUE RD                                                                                    ROCKWOOD          TN    37854‐5245
H D BIER                                           316 ALTAVIEW DR                                                                                  MONROEVILLE       PA    15146‐3715
H D DOW                                            1511 TERRA CEIA BAY CIR                                                                          PALMETTO          FL    34221‐5949
H DAVID MEGAW                                      111 TALL TIMBERS LANE                                                                            GLASTONBURY       CT    06033‐3339
H DAVID ROSENBLOOM                                 2948 GARFIELD TERRACE N W                                                                        WASHINGTON        DC    20008‐3507
H DAVID ROTH                                       7652 CAMDEN HARBOUR DR                                                                           BRADENTON         FL    34212‐9310
H DAVIDSON SHANTZ                                  357 GRANGE RD                                                                                    GREENFIELD CTR    NY    12833‐1602
H DAVIS                                            890 TRINITY AVE                                                                                  BRONX             NY    10456‐7415
H DAVIS YEUELL                                     1204 WILKINSON ROAD                                                                              RICHMOND          VA    23227‐1455
H DEAN BIER                                        316 ALTAVIEW DRIVE                                                                               MONROEVILLE       PA    15146‐3715
H DEAN BIER & JANE B BIER JT TEN                   316 ALTAVIEW DR                                                                                  MONROEVILLE       PA    15146‐3715
H DEAN WHIPPLE & MRS JEANETTE E WHIPPLE JT TEN     8462 U S COUNTHOUSE                     400 E 9TH ST                                             KANSAS CITY       MO    64106‐2607

H DOUGLAS CHRISTIANSEN                             540 SOUTH PARK                                                                                   LA GRANGE         IL    60525‐6113
H DOUGLAS CONLIN                                   6133 REGER DR                                                                                    LOCKPORT          NY    14094‐6303
H DOUGLAS FONTAINE & JEANNE ELLIS JT TEN           3940 AUBURN DR                                                                                   MINNEAPOLIS       MN    55305‐5178
H DOUGLAS PETER                                    15 HERON TRAIL                          RR 3 NEWMARKET ON                      L3Y 4W1 CANADA
H E PURSLEY JR & MRS LINDA S PURSLEY JT TEN        RD3 BOX 470A                                                                                     MILL HALL         PA    17751‐9513
H E STRANGE                                        40 WALNUT RIDGE CRT                                                                              COVINGTON         GA    30014
H EDWARD JOHANSEN                                  6704 POINTE W BLVD                                                                               BRADENTON         FL    34209‐5421
H ELLEN KOCH                                       2724 KNOLLWOOD DR                                                                                INDPLS            IN    46228‐2166
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H ELLISON                                      19700 MONICA                                                                                         DETROIT           MI    48221‐1726
H ERNEST HEMPHILL                              4628 PROVIDENCE RD                                                                                   JAMESVILLE        NY    13078‐9578
H EUGENE BARKER                                249 EAST MARKET ST                                                                                   SPENCER           IN    47460‐1848
H EUGENE SHERRY                                6 WHISPERING PINES DR                                                                                TUTTLE            OK    73089‐8525
H EUGENE WALDNER & MRS ELIZABETH WALDNER JT    2114 PRINCETON AVE                                                                                   CAMP HILL         PA    17011‐5444
TEN
H EVELYN M MAC RITCHIE                         3 STANLEY OVAL                                                                                       WESTFIELD         NJ    07090‐2424
H F AMERAU JR CUST BRITTANY NICOLE AMERAU UTMA 3006 CUNNINGHAM                                                                                      ALEXANDRIA        VA    22309‐2207
VA
H F OMATSU                                     625 E ROCKAWAY DR                                                                                    PLACENTIA         CA    92870‐3517
H FLETCHER BROWN                               3 SPRING HOLLOW                                                                                      HOUSTON           TX    77024‐5601
H FRANK ZARAS CUST ANITA K ZARAS UGMA TX       19 STRETFORD CT                                                                                      SUGAR LAND        TX    77479‐2916
H FREDRICK CLOUGH                              8690 RUSH SIDE DR                                                                                    PINCKNEY          MI    48169
H G H CONSTRUCTION CORP                        PO BOX 687                                  88 CORTLAND ST                                           NORWICH           NY    13815‐1356
H GENEVIEVE RYAN                               18 REDTAIL DR                                                                                        BLUFFTON          SC    29909‐6023
H GERALDINE ARTHUN                             25021 LAKE WILDERNESS CC DR SE                                                                       MAPLE VALLEY      WA    98038‐6085
H GILMER WHITE                                 15744 POINTER RIDGE DR                                                                               BOWIE             MD    20716‐1705
H GORDON DE POYSTER                            PO BOX 432                                                                                           GREENVILLE        KY    42345‐0432
H H LANE                                       ATTN EVELYN LANE                            1011 ADAMS STREET                                        WEST PALM BEACH   FL    33407‐6206

H HARWELL HERRIN                                    BOX 130                                                                                         GALLIANO          LA    70354‐0130
H HOPE ELICK                                        2008 AUGUSTA DRIVE                                                                              JEFFERSONVILLE    IN    47130‐6731
H HOWE CLAPPER                                      7582 PARK BEND CT                                                                               WESTERVILLE       OH    43082‐9796
H I MATTHEWS & SARAH A MATTHEWS JT TEN              109 KENSTON COURT                                                                               GENEVA            IL    60134
H J ERTLMAIER                                       45 WATCHUNG BLVD                                                                                NEW PROVIDENCE    NJ    07974‐2755

H J GUTOWSKI JR                                     526 MAPLE AVENUE                                                                                LINDEN            NJ    07036‐2808
H J KONCEWICZ                                       7704 GREENHILL ROAD                                                                             HARRISBURG        PA    17112‐9746
H J SHANKS                                          5198 ELMER                                                                                      DETROIT           MI    48210‐2151
H J WALANDER & MARJORIE WALANDER JT TEN             8714 HARNEY ST                                                                                  OMAHA             NE    68114‐4008
H JAMES FLICKINGER & MARIANNE L FLICKINGER JT TEN   604 RIDGEWAY AVE                                                                                GREENSBURG        PA    15601‐3419

H JAMES HUMPHRIES                                RR 1 THE WILDWOOD                         CAMPBELLCROFT ON                       L0A 1B0 CANADA
H JANE BLACKMAN MD                               3924 BALTIMORE ST                                                                                  KENSINGTON        MD    20895‐3906
H JANICE THELEN & KENNETH A THELEN TR THELEN FAM 11352 BLUE SPRUCE DR                                                                               FOWLER            MI    48835‐9122
TRUST UA 11/14/97
H JAY ANDERSON                                   1065 CAMINO DEL RETIRO                                                                             SANTA BARBARA     CA    93110‐1006
H JAY SCHNEIDERMAN                               PO BOX 2543                                                                                        MONTAUK           NY    11954‐0937
H JEAN FARLEY TR H JEAN FARLEY REV TRUST UA      8155 S PARK                                                                                        GARRETTSVILLE     OH    44231‐1125
02/28/92
H JEAN GLASSCOCK & THOMAS C GLASSCOCK JT TEN     1412 ACADEMY RD                                                                                    PONCA CITY        OK    74604‐4403

H JEAN KLEMSEN                                      6534 SE 42ND ST                                                                                 PORTLAND          OR    97206‐7702
H JOANNE FREEMAN                                    388 MONTROSE DR                                                                                 SAN LUIS OBISPO   CA    93405‐1087
H JOE NELSON III                                    1519 MILFORD ST                                                                                 HOUSTON           TX    77006‐6321
H JOHN MICHEL JR                                    BEAVER BROOK FARM                      138 BEAVER VALLEY ROAD                                   CHADDS FORD       PA    19317‐9107
H JOSEPH DYKES CUST STEPHANIE LEIGHT DYKES UGMA     3712 LIBAL STREET                                                                               GREEN BAY         WI    54301‐1253
WI
H JUNE BIGELOW                                      ATTN HELEN JUNE WILEY                  1076 BUFFINGTON ST                                       DECATUR           AR    72722
H KEITH DUBOIS                                      4340 LAKESIDE DRIVE                                                                             WEST BRANCH       MI    48661‐9144
H KEITH HADAWAY                                     503 E MASON                                                                                     OWOSSO            MI    48867‐3035
H KENNETH DETLOFF                                   38814 LAKESHORE DR                                                                              HARRISON          MI    48045‐2873
                                                                                                                                                    TOWNSHIP
H KENNETH FREELAND                                  1512 HARMON AVE                                                                                 DANVILLE          IL    61833
H KENNETH PETERSEN                                  4035 BUNKER LANE                                                                                WILMETTE          IL    60091‐1001
H KENNETH WINTERSTEEN & DARLENE D WINTERSTEEN       1240 FOSTER VALLEY ROAD                                                                         OWEGO             NY    13827‐5925
JT TEN
H KIM CLARK                                         PO BOX 235                                                                                      BERLIN HEIGHTS    OH    44814‐0235
H KURT K PLESCHKE                                   16 LAKESHORE RD                        FT ERIE ON                             L2A 1B1 CANADA
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H L CONLEY                                         PO BOX 61                                                                                           MONTALBA        TX    75853‐0061
H L HERRINGTON                                     49 LOWER MYRICK RD                                                                                  LAUREL          MS    39443‐9559
H L LEVINGTON                                      155 NOBSCOT RD                                                                                      SUDBURY         MA    01776‐3339
H L REED                                           PO BOX 524                                                                                          WESTVILLE       MO    63385‐0524
H L SLOAN                                          1676 E CR 900 S                                                                                     CLAYTON         IN    46118‐9131
H L VAN DE WALKER & MRS DOLORES A VAN DE WALKER BOX 47                                                                                                 SAN JACINTO     CA    92581‐0047
JT TEN
H LANNIE CRAGG                                     12101 HILLOWAY RD WEST                                                                              MINNETONKA      MN    55305‐2434
H LEE                                              2810 MERCER WEST MIDDLESEX RD                                                                       W MIDDLESEX     PA    16159‐3130
H LEE TURNER & ELIZABETH L TURNER TEN COM          PO BOX 460                                                                                          GREAT BEND      KS    67530‐0460
H LESLEY MARSHALL                                  37 KINGS LYNN RD                     ETOBICOKE ON                            M8X 2N3 CANADA
H LESTER KIRKPATRICK TR H LESTER KIRKPATRICK TRUST 14 MOSELEY AVE                                                                                      NEWBURYPORT     MA    01950‐1835
UA 06/20/97
H LESTER SCHURR TR UA 03/07/96                     206 JEFFERSON BLVD                                                                                  READING         PA    19609‐2480
H LEWIS                                            539 S 17TH ST                                                                                       SAGINAW         MI    48601‐2059
H LLOYD WAGES                                      300 PALMYRA RD                                                                                      LEESBURG        GA    31763‐4264
H LORRAINE JAKOBOWSKI & JEROME J JAKOBOWSKI JT 2007 CRAVENS DR                                                                                         CROSSVILLE      TN    38555‐6410
TEN
H LOUISE LEMMON                                    860 WELDON ST                                                                                       LATROBE         PA    15650‐1609
H LOUISE MARTIN & WILLIAM B MARTIN 3RD JT TEN      11 HANSCOM AVE                                                                                      POUGHKEEPSIE    NY    12601‐4633

H LOWREY STULB                                   619 REGENT ROAD                                                                                       AUGUSTA         GA    30909‐3116
H M ANSARI                                       2701 PARK RIDGE BLVD                                                                                  ROCK HILL       SC    29732‐9806
H M PETTI                                        9837 SOUTH 230TH EAST AVE                                                                             BROKEN ARROW    OK    74014‐6852
H M SHIELDS                                      3345 BROOK GATE DR                                                                                    FLINT           MI    48507‐3210
H M WEST                                         104 FRENCH WAY                                                                                        ATHENS          AL    35611‐3612
H MADELYN BROWN                                  1 SIGNATURE POINT DR APT 1510                                                                         LEAGUE CITY     TX    77573‐6524
H MADISON ELDRIDGE                               2440 YUMA DR                                                                                          LITTLE ELM      TX    75068‐6654
H MANFRED RAY                                    309 PARK AVE                                                                                          HIGHLAND PARK   IL    60035‐2523
H MANLEY CLARK & FRANCES C CLARK JT TEN          BOX 339                                                                                               ELIZABETHTOWN   NC    28337‐0339
H MARION TYSON                                   ATTN H MARION GRAHAM                   R ROUTE 2            1215 CARMEL LINE   MILLBROOK ON L0A 1G0
                                                                                                                                CANADA
H MARK LUEKE                                     3217 BROECK POINTE CIRCLE                                                                             LOUISVILLE      KY    40241
H MARTIN JAYNE                                   PO BOX 301                                                                                            KIRKSVILLE      MO    63501‐0301
H MARVIN DOUGLASS                                8374 E HARRY CT                                                                                       WICHITA         KS    67207‐3323
H MAXWELL MITCHELL JR                            PO BOX 722                                                                                            LA PLATA        MD    20646‐0722
H MERRITT HUGHES JR                              451 N MAIN ST                                                                                         WILKES BARRE    PA    18705‐1613
H MERRITT WOODWARD                               1 LYMAN ST APT 452                                                                                    WESTBOROUGH     MA    01581‐1400
H MIDDLEBROOKS                                   466 KOONS AVE                                                                                         BUFFALO         NY    14211‐2318
H MORRIS MOODY                                   12078 SCHONBORN PLACE                                                                                 CLIO            MI    48420‐2145
H MOULTRIE SESSIONS                              207 WILLOW DR                                                                                         ENTERPRISE      AL    36330‐1238
H MOULTRIE SESSIONS SR                           207 WILLOW DR                                                                                         ENTERPRISE      AL    36330‐1238
H NADINE ASHBY                                   ROUTE 1 BOX 236                                                                                       CHARLESTON      WV    25312‐9711
H NASH                                           17528 AVON AV                                                                                         DETROIT         MI    48219‐3559
H NEIL LEYDIG                                    4031 CRABAPPLE DRIVE                                                                                  MCKEES ROCKS    PA    15136‐1521
H NEIL REICHARD                                  8833 ISLAND LAKE RD                                                                                   DEXTER          MI    48130‐9516
H NELSON GUTHRIE JR & RETTALOU GUTHRIE JT TEN    7172 YORKSHIRE DR                                                                                     DAYTON          OH    45414‐2153

H NELSON LONG IV                                 7525 SAWYER PIKE                                                                                      SIGNAL MT       TN    37377‐1617
H O BOORD                                        4 WAYS RUN                                                                                            LANDENBERG      PA    19350‐1240
H O WOLFF                                        5808 BROOKSTOWN                                                                                       DALLAS          TX    75230‐2618
H OKANE CUST HUGH OKANE JR U/THE NEW YORK        190 PIPING ROCK RD                                                                                    LOCUST VALLEY   NY    11560‐2507
UNIFORM GIFTS TO MINORS ACT
H P BLUM                                         808 WASHINGTON AVE                                                                                    FAIRBORN        OH    45324‐3840
H P FARNETH                                      1 WEDGEWOOD DR                                                                                        PENFIELD        NY    14526‐1311
H PATRICK CARR                                   5632 S KRAMERIA COURT                                                                                 GREENWOOD       CO    80111‐1532
                                                                                                                                                       VILLAGE
H PATRICK CARR 2ND                               5632 S KRAMERIA COURT                                                                                 GREENWOOD       CO    80111‐1532
                                                                                                                                                       VILLAGE
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Name                                                  Address1                               Address2             Address3          Address4          City              State Zip

H PAUL HARPER                                         221 TINKLING SPRING RD                                                                          FISHERSVILLE      VA    22939‐2202
H PHILLIPS JESUP                                      183 FOX DEN ROAD                                                                                BRISTOL           CT    06010‐9007
H QUIGG FLETCHER III                                  830 E MORNINGSIDE DRIVE N E                                                                     ATLANTA           GA    30324‐5223
H R ANDERSON                                          14253 S SANFORD RD                                                                              MILAN             MI    48160‐9790
H R CONN                                              1221 ELLISTON ST                                                                                OLD HICKORY       TN    37138‐3020
H R HUMPHRIES                                         3707 ASHBURY MILL RD                                                                            CLEVELAND         GA    30528‐4210
H R SWAILS                                            1700 N PHILLIPS                                                                                 KOKOMO            IN    46901‐2050
H R TURNER                                            3005 FOX LANE                                                                                   MORGANTOWN        WV    26508‐3635
H RHETT PINSKY                                        2106 E SHIAWASSEE S E                                                                           GRAND RAPIDS      MI    49506‐5339
H RICHARD ELMQUIST                                    10065 VERNON                                                                                    HUNTINGTON WD     MI    48070‐1521

H RICK KLINE                                          PO BOX 1075                                                                                     HIGHTSTOWN        NJ    08520‐1075
H RIGEL BARBER & BONNIE A BARBER TR BARBER            900 N MICHIGAN AVE STE 1400                                                                     CHICAGO           IL    60611‐6522
EXTENDED TRUSTS UA 11/28/95
H RONALD TAYLOR & CHARLOTTE K TAYLOR JT TEN           4846 BEECHMONT DR                                                                               ANDERSON          IN    46012‐9541

H RONALD WEISSMAN                                     30 WHITLAW CLOSE                                                                                CHAPPAQUA         NY    10514‐1012
H ROSE KORUP                                          1603 MARYLAND AVE                                                                               WILMINGTON        DE    19805‐4601
H ROYCE MITCHELL                                      1901 N ELGIN ST                                                                                 MUNCIE            IN    47303‐2301
H RUDY EHRAT & MRS EVELYN EHRAT JT TEN                9910 HANNA                                                                                      CHATSWORTH        CA    91311‐3610
H RUSSELL BECKER JR                                   540 FRANKLIN WAY                                                                                WEST CHESTER      PA    19380‐5709
H RUTH BELILES                                        9829 MEADOW WOOD DR                                                                             PICKERINGTON      OH    43147‐8969
H S FENGER                                            2859 KEATS AVE                                                                                  THOUSAND OAKS     CA    91360‐1714
H S GRACIA                                            1824 POST OFFICE BOX                                                                            ELIZABETH         NJ    07207
H S KEMP                                              629 W MILWAUKEE ST APT 310                                                                      DETROIT           MI    48202‐2964
H S SANFORD                                           6545 CHERIE LANE                                                                                ATLANTA           GA    30349‐1113
H SAMUDA                                              1922 GARDNER AVE                                                                                LEHIGH ACRES      FL    33972‐5353
H SCHWARTZ                                            12880 ROCK CREST LANE                                                                           CHINO HILLS       CA    91709‐1142
H SCOTT MC CANN                                       160 SHIELDS LN                                                                                  QUEENSTOWN        MD    21658‐1278
H SCOTT SANDERS                                       5610 COACH HOUSE CIR                                                                            BOCA RATON        FL    33486‐8623
H SHERMAN RUNDLES                                     2998 KINGSVIEW LN                                                                               SHELBY TOWNSHIP   MI    48316‐2133

H STANTON CHEYNEY                                     707 POTOMAC AVE                                                                                 BUFFALO           NY    14222‐1240
H STEPHEN HAMLIN                                      26 SPRING ST                                                                                    BROCKPORT         NY    14420‐2024
H STEPHEN KOTT                                        139 CLIFF RD                                                                                    WELLESLEY         MA    02481‐2712
H STEWART COON                                        965 CHERRY RIDGE BLVD                  APT 307                                                  WEBSTER           NY    14580‐4819
H STUART WILLIAMS CUST LUKE STUART WILLIAMS           7761 MACLEAN RD                                                                                 TALLAHASSEE       FL    32312‐8019
UTMA FL
H SUMNER                                              191 RAINTREE CIRCLE                                                                             JACKSONVILLE      NC    28540‐9150
H T CZAKO                                             2506‐7 CONCORDE PLACE                  DON MILLS ON                           M3C 3N4 CANADA
H T FITZPATRICK III CUST H T FITZPATRICK IV UTMA AL   2320 HAWTHORNE DR                                                                               MONTGOMERY        AL    36111‐1616

H T PANCHER JR                                        5732 MILCREEK BLVD                                                                              BOARDMAN          OH    44512‐2716
H T SULLIVAN III                                      937 HILL PL                                                                                     MACON             GA    31210‐3328
H T SULLIVAN JR & JEAN C SULLIVAN JT TEN              937 HILL PL                                                                                     MACON             GA    31210‐3328
H THEODORE HALLMAN JR                                 PO BOX 281                                                                                      LEDERACH          PA    19450‐0281
H THOMAS BINGHAM                                      86 WOODLINE DRIVE                                                                               PENFIELD          NY    14526‐2416
H THOMAS HANNA & NANCY B HANNA JT TEN                 112 VICTORIA FALLS LN                                                                           WILMINGTON        DE    19808‐1658
H THOMAS KAY JR                                       1516 KAMOLE ST                                                                                  HONOLULU          HI    96821
H THOMAS REX JR                                       7215 BIRDLAND DR                                                                                CHARLEVOIX        MI    49720‐9358
H THOMAS RITTMAN III                                  8794 CHATEAU DR NW                                                                              PICKERINGTON      OH    43147‐8680
H THOMAS WALTHER CUST ROBERT ALAN WALTHER             1047 AVOCADO DR                                                                                 VISTA             CA    92083
UGMA OH
H TOLBERT RIGGS JR & ELISABETH B RIGGS JT TEN         6302 SHADOW WOOD DR                                                                             PROSPECT          KY    40059‐9626
H VERNON SMITH JR                                     18 W ELIZABETH LN                                                                               RICHBORO          PA    18954‐1015
H W COFFER                                            37170 WILDWOOD VIEW DRIVE                                                                       YUCAIPA           CA    92399
H W ELLISON                                           1635 FORD COURT                                                                                 GROSSE POINTE     MI    48236‐2370
H W HOOVER & LYNETTE HOOVER TR HOOVER FAMILY          1576 N 18TH ST                                                                                  LARAMIE           WY    82072‐2337
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Name                                              Address1                              Address2             Address3          Address4          City               State Zip

H W SPENCER                                       49 JAMES ST                                                                                    OSSINING           NY    10562‐5514
H WALKER                                          13848 VASSAR DRIVE                                                                             DETROIT            MI    48235‐1746
H WAYNE TAUL CUST WENDY V TAUL A UGMA CA          3017 ANZA AVE                                                                                  DAVIS              CA    95616‐0217
H WESLEY HANDY                                    1817 IMPERIAL RIDGE                                                                            LAS CRUCES         NM    88011‐4811
H WILLIAM BAKER TR H WILLIAM BAKER LIVING TRUST   1464 WOODBERRY AVENUE                                                                          SAN MATEO          CA    94403‐3765
UA 10/27/05
H WILLIAM BAKER TR H WILLIAM BAKER LIVING TRUST   1464 WOODBERRY AVE                                                                             SAN MATEO          CA    94403‐3765
UA 12/29/95
H WILLIAM DIENER                                  249 MYRTLE AVE                                                                                 ELMHURST           IL    60126‐2651
H WILLIAM HARRIS & BEATRICE L HARRIS JT TEN       19 CANFIELD CT                                                                                 WARWICK            RI    02886‐5852
H WILLS                                           2809 TIEMAN AVE                                                                                BRONX              NY    10469‐3413
H WINIFRED BRINKMANN                              5029 47TH AVE SW                                                                               SEATTLE            WA    98136‐1118
H WISNER MILLER CUST ELIZABETH A MILLER U/THE     ATTN ELIZABETH M HALABY               234 CATALPA DR                                           ATHERTON           CA    94027‐2001
NEW YORK U‐G‐M‐A
H&R BLOCK FINANCIAL ADVISORS FBO CLETUS STOWE     2331 W THOMPSON RD                                                                             FENTON             MI    48430‐9768

H‐KIN CHEONG                                      8 MARLEY CLOSE                        ROWVILLE VICTORIA                      AUSTRALIA
HAAG E SCOTT                                      1304 LAKEVIEW PKWY                                                                             LOCUST GROVE       VA    22508‐5310
HABBLEY WEBSTER CLARKE                            495 FRONTENAC                                                                                  ST PAUL            MN    55104‐4924
HABCO                                             C/O HASTINGS CITY BANK                TRUST DEPARTMENT     150 W COURT                         HASTINGS           MI    49058‐1823
HABCO & CO C/O HASTING CITY BANK TRUST            DEPARTMENT                            150 W COURT ST                                           HASTING            MI    49058‐1823
HABCO & COMPANY                                   C/O HASTINGS CITY BANK                150 W COURT ST                                           HASTINGS           MI    49058‐1823
HABEEB SALEH                                      196 HADLEIGH                                                                                   BOLINGBROOK        IL    60440‐2308
HABEEBALLA B MUHAMMAD                             16333 HARPER ST                                                                                DETROIT            MI    48224‐2682
HACIK GAMITYAN                                    15206 HENRY WAY                                                                                TUSTIN             CA    92782‐1766
HACKLEY WOODFORD                                  951 S FAIR OAKS AVE                   # 230                                                    PASADENA           CA    91105‐2631
HACKLEY WOODFORD & MARY S WOODFORD JT TEN         951 S FAIR OAKS AVE #230                                                                       PASADENA           CA    91105

HADDON E MC CARTHY                                55 MILTON ST                          SYDNEY NS                              B1P 4L9 CANADA
HADEN R FRANK                                     718 MIDDLESWORTH DR                                                                            LINDEN             MI    48451‐8604
HADI B EL‐KHOURI                                  PO BOX 9022                                                                                    WARREN             MI    48090
HADLEY JOHNSON                                    1173 IDAHO                                                                                     ESCONDIDO          CA    92027‐4302
HADLEY JOHNSON JR                                 1173 IDAHO AVE                                                                                 ESCONDIDO          CA    92027‐4302
HADLEY R FAULK                                    1205 WOODLAND DRIVE                                                                            KINGSTREE          SC    29556‐2641
HAEKWAN HWANG                                     2101 OAKBRANCH CIR                                                                             FRANKLIN           TN    37064‐7403
HAFIZA MOHAMMED                                   13950 GREEN VALLEY DR                                                                          ORLAND PARK        IL    60467‐7488
HAGAN JONES                                       1310 DAFLER RD                                                                                 W ALEXANDRIA       OH    45381‐8328
HAGAR INC                                         403 WOOD TRAIL                                                                                 PANAMA CITY        FL    32405
HAGER BORDERS                                     415 W FUNDERBURG RD                                                                            FAIRBORN           OH    45324‐2340
HAGER HOWELL                                      1269 ELMORE ST                                                                                 COLUMBUS           OH    43224‐2720
HAGERSTOWN TRUST TR JACK E GARVIN                 20705 EMERALD DR                                                                               HAGERSTOWN         MD    21742‐4496
HAGO PRODUCTS INC                                 1120 GLOBE AVE                                                                                 MOUNTAINSIDE       NJ    07092‐2904
HAGOP HAIG DIDIZIAN                               45 MICHALAKOPOULOU STR                ATHENS                                 11528 GREECE
HAGOP PAPAZIAN                                    2025 E LIVE OAK DR                                                                             LOS ANGELES        CA    90068‐3636
HAI HOANG CUST SON HOANG UGMA TX                  8526 SWEET CHERRY DR                                                                           AUSTIN             TX    78750‐3644
HAI HOANG CUST THIEN HOANG UGMA TX                8526 SWEET CHERRY DR                                                                           AUSTIN             TX    78750‐3644
HAI N DANG                                        12738 WINDSOR COURT                                                                            STERLING HEIGHTS   MI    48313‐4173

HAI N PHAM                                        1172 PESCADERO ST                                                                              MILPITAS           CA    95035‐3013
HAI Q TA                                          1291 CHEWPON AVE                                                                               MILPITAS           CA    95035‐6967
HAI V BUI                                         4545 OAK POINTE CT                                                                             OKEMOS             MI    48864‐0312
HAI‐LUNG TSAI                                     10300 COUNTY RD 8130                                                                           ROLLE              MO    65401‐5218
HAIDAR M ELRAY‐CHOUNI                             6932 MEAD                                                                                      DEARBORN           MI    48126‐1785
HAIDAR M HAMKA                                    7308 ANTHONY                                                                                   DEARBORN           MI    48126‐1385
HAIDI JOANNA HAISS                                359 PORTER RD                                                                                  ATWATER            OH    44201‐9554
HAILE SELASSIE GRIFFIN                            104 HUMBER                                                                                     BUFFALO            NY    14215‐3117
HAIPING Z TANG                                    3 JERYL ST                                                                                     EATONTOWN          NJ    07724‐1908
HAITAMA SHAREF                                    9277 BIG LAKE RD                                                                               CLARKSTON          MI    48346‐1051
HAJIME L UTSUROGI                                 1483 OLD PIEDMONT ROAD                                                                         SAN JOSE           CA    95132‐2417
                                            09-50026-mg                 Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
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HAJRA H POONAWALLA                               1110 OAKWOOD DR                                                                                 MT PROSPECT        IL    60056‐4407
HAK Y KIM                                        PO BOX 346                                                                                      CHAPIN             SC    29036‐0346
HAL A AIRTH & JANET A AIRTH TEN ENT              PO BOX 448                                                                                      LIVE OAK           FL    32064‐0448
HAL A SAIN & HENRIETTA H SAIN JT TEN             BOX 145                                                                                         DANA               NC    28724‐0145
HAL C YARBROUGH                                  12941 WHITFIELD                                                                                 STERLING HEIGHTS   MI    48312‐1547

HAL DENMAN & HILDA DENMAN JT TEN                   855 DOBBS FERRY ROAD                                                                          WHITE PLAINS       NY    10607‐1752
HAL E AKYUZ                                        335 ORCHARD CREEK LANE                                                                        ROCHESTER          NY    14612‐3535
HAL FRANKLIN WARDROP & PATRICIA ANN WARDROP JT 1719 MACKIN RD                                                                                    FLINT              MI    48504‐3461
TEN
HAL FROST                                          2351 PANORAMA DR                                                                              LA CRESCENTA       CA    91214‐3044
HAL G GALLIMORE                                    14393 DAN PATCH CT                                                                            GREEN OAKS         IL    60048‐4809
HAL G SCHEIE                                       PO BOX 30367                                                                                  LONG BEACH         CA    90853‐0367
HAL G TUCKER                                       1718 LYNBROOK DR                                                                              FLINT              MI    48507‐2230
HAL GELB & PAT GELB JT TEN                         431 HANOVER AVE                                                                               OAKLAND            CA    94604
HAL H RICE TR HAL H RICE REVOCABLE LIVING TRUST UA 451 VINEWOOD AVE                                                                              BIRMINGHAM         MI    48009‐1307
03/12/93
HAL H RICE TR UA 03/12/93 HAL H RICE REV LIVING    451 VINEWOOD AVE                                                                              BIRMINGHAM         MI    48009‐1307
TRUST
HAL HEARD JR                                       49122 ANDOVER CT                                                                              CANTON             MI    48187‐1120
HAL J SARKEES & JEAN M SARKEES JT TEN              4802 WYOMING WAY                                                                              CRYSTAL LAKE       IL    60012‐2037
HAL L HAVERSTICK                                   9512 CEDAR GROVE RD                                                                           CLARKSTON          MI    48348‐2108
HAL L JONES JR                                     427 HAL JONES ROAD                                                                            NEWNAN             GA    30263‐3324
HAL LEDERMAN                                       4 ROSEMONT CT                                                                                 WEST ORANGE        NJ    07052‐2212
HAL MARC UNGERLEIDER                               15415 35TH AVE W                    APT I201                                                  LYNNWOOD           WA    98087‐8475
HAL N HAGADORN & BARBARA J HAGADORN JT TEN         77 GREENSIDE                                                                                  YPSILANTI          MI    48197‐3775

HAL P SIKES                                      1104 SUNNYHILL DR                                                                               CAMDEN             SC    29020‐1516
HAL PEE BOLDEN                                   3104 HALSELL ST                                                                                 MONROE             LA    71201‐8229
HAL R NORRIS                                     3197 CAROLINE                                                                                   AUBURN HILLS       MI    48326‐3616
HAL ROSS                                         PO BOX 1741                                                                                     WALDPORT           OR    97394
HAL S HARRIS                                     PO BOX 869                                                                                      LOUISVILLE         MS    39339‐0869
HAL T GILBERT                                    70 BARNAGE RD                                                                                   BRASHER FALLS      NY    13613
HAL THOMAS CUST ALEX THOMAS UTMA PA              769 STONE HILL DR                                                                               WALNUTPORT         PA    18088
HAL WATT                                         105 KAREN HALL PL                                                                               MANCHACA           TX    78652
HALBERT GLEN KUYKENDALL JR                       4101 NW EXPRESSWAY ST                                                                           OKLAHOMA CITY      OK    73116‐1632
HALBERT J HALL                                   9625 SKIP JACK COVE                                                                             FT WAYNE           IN    46835‐9601
HALBROOKS CUYLER                                 77 ERNST ST                                                                                     ROCHESTER          NY    14621‐3733
HALDEN C TOTTEN                                  9473 RED RD                                                                                     KEMPTON            PA    19529
HALDON R MILLIKAN                                1189 S PERU ST                        #B                                                        CICERO             IN    46034‐9601
HALE ASSEMBLY OF GOD CHURCH                      ATTN REV V J HIPWOOD                  1836 WHITE RD                                             TURNER             MI    48765‐9744
HALEY DAWKINS                                    3120 LEXINGTON                                                                                  SAGINAW            MI    48601‐4522
HALEY MCKENZIE GARRISON                          C/O KEN GREATHOUSE                    11306 HARBORSIDE CLUSTER                                  RESTON             VA    22091
HALEY WEST & KERRI WEST JT TEN                   16633 WEST 147TH ST                                                                             OLATHE             KS    66062‐2539
HALFORD R WING & SHIRLEY A WING TR WING FAMILY   8440 MAYBELLE DR                                                                                WEEKI WACHEE       FL    34613‐4016
TRUST UA 01/30/03
HALINA B KOSELA                                  598 ADELAIDE SE                                                                                 WARREN             OH    44483‐6116
HALINA BRODT                                     1659 52ND ST                                                                                    BROOKLYN           NY    11204‐1419
HALINA DZIK                                      5720 GLEN EAGLES                                                                                W BLOOMFIELD       MI    48323‐2202
HALINA E FLOREK                                  PO BOX 132                                                                                      VIENNA             OH    44473‐0132
HALL DIANNA                                      4724 FISCHER                                                                                    DETROIT            MI    48214
HALL E PACKARD & AHMAY E PACKARD JT TEN          7510 UPPER CAMBRIDGE WAY                                                                        WESTERVILLE        OH    43082‐7038
HALL FAMILY 1996 TRUST UA 04/05/1996             2177 SINGLETREE LANE                                                                            REDDING            CA    96002
HALLE CZECHOWSKI                                 1119 1/2 D SE ST                                                                                WASHINGTON         DC    20003‐2231
HALLET W LAMBRIGHT                               1263 BACON AVE                                                                                  EAST PALESTIN      OH    44413‐1431
HALLEY KOVALSKY                                  8499 CONGRESSIONAL DRIVE                                                                        TALLAHASSEE        FL    32312
HALLIE BARBARA TAYLOR                            RR4                                   WOODSTOCK ON                            N4S 7V8 CANADA
HALLIE C BROWN                                   821 KEEL ST                                                                                     MARTINSVILLE       VA    24112‐4311
HALLIE D COHEN                                   C/O UNTRACHT EARLY FAMILY OFFICE      SERVICES                   PO BOX 238                     FLORHAM PARK       NJ    07932
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HALLIE E BENEFIELD                               12217 QUINCY LANE                                                                             DALLAS             TX    75230‐2123
HALLIE E BRADDOCK & ERIN BRADDOCK JT TEN         50 LOCUST ST                                                                                  BRISTOL            CT    06010‐6248
HALLIE E ROEBUCK                                 8727 BROOK CT                                                                                 INDIANAPOLIS       IN    46256‐1505
HALLIE HAMPTON SCOTT CUST MARIAH ESTILLE SCOTT   PO BOX 621                                                                                    ANAHEIM            CA    92815‐0621
UTMA WA
HALLIE J KINTNER                                 2220 WASHTENAW AVE                                                                            ANN ARBOR          MI    48104‐4556
HALLIE JANE BURKE & ROBERT G BURKE JT TEN        710 N WILCREST DR                                                                             HOUSTON            TX    77079‐3524
HALLIE M WOOD                                    135 BELAIR ROAD                                                                               BELVEDERE          SC    29841
HALLIE S ARRINGTON                               126 NORTH AVE                                                                                 WAKE FOREST        NC    27587‐2328
HALLIE V F WINGO                                 5117 MELODY ROAD                                                                              RICHMOND           VA    23234‐4229
HALOVE HADLEY                                    33885 GATES ST                                                                                CLINTON TWP        MI    48035‐4210
HALSEY E GRISWOLD & NANCY A GRISWOLD TR UA       1480 SUNCREST ROAD                                                                            PAWLET             VT    05761
11/20/89 HALSEY E GRISWOLD
HALSEY G KNAPP                                   1102 BAY AVE                                                                                  LEWES              DE    19958‐1008
HALSEY G KNAPP JR                                1829 WEST WESLEY ROAD NW                                                                      ATLANTA            GA    30327‐2019
HALTIE A KNISELY                                 760 N CANAL RD                                                                                EATON RAPIDS       MI    48827
HALTON R MCPEAK                                  PO BOX 35                                                                                     BROWNSVILLE        KY    42210‐0035
HALVOR PARRIS JR                                 PO BOX 3228                                                                                   ALBANY             GA    31706‐3228
HAMID FOROUGH                                    15004 TERRA VERDE DR                                                                          AUSTIN             TX    78717‐4643
HAMID GHANIAN                                    678 INVERNESS ST                                                                              OREGON             WI    53575‐3848
HAMID SHADARAM                                   10208 SHADOWVIEW DR                                                                           OKLAHOMA CITY      OK    73159‐7568
HAMID VAHABZADEH                                 2949 SHANNON DR                                                                               OAKLAND            MI    48363‐2853
HAMIDA VAKA                                      1941 WALNUT ST                                                                                DEARBORN           MI    48124‐4027
HAMILL B CAREY                                   633 FORT HILL                                                                                 LOUDON             TN    37774‐6642
HAMILTON E HURST                                 237 W SHEFFIELD ST                                                                            PONTIAC            MI    48340‐1855
HAMILTON E HURST & ELEANOR HURST JT TEN          237 W SHEFFIELD ST                                                                            PONTIAC            MI    48340‐1855
HAMILTON H SRIGLEY                               1409 HAPSBURG                                                                                 HOLT               MI    48842‐9616
HAMILTON L WEBB                                  6023 FOX CHASE TR                                                                             SHREVEPORT         LA    71129‐3504
HAMILTON LIBRARY BOARD                           C/O SOUTH TR BK OF MARION COU                                                                 HAMILTON           AL    35570
HAMILTON MC GAREY                                291 W RANDALL                                                                                 COOPERSVILLE       MI    49404‐1293
HAMILTON SMITH & RUTH L SMITH JT TEN             5500 FRIENDSHIP BLVD                                                                          CHEVY CHASE        MD    20815‐7219
HAMLET DALE WILKINS                              1629 W 20TH ST                                                                                ANDERSON           IN    46016‐3818
HAMP DARDEN                                      814 EAST WALL ST                                                                              GRIFFIN            GA    30223‐3701
HAMP JONES                                       4165 ABBOTT RD                                                                                LYNWOOD            CA    90262‐2162
HAMPTON A PHILLIPS                               16075 HOPEWELL RD                                                                             ALPHARETTA         GA    30004‐2812
HAMPTON ALMASIAN                                 10080 BUCKINGHAM                                                                              ALLEN PARK         MI    48101‐1208
HAMPTON GREEN                                    4243 W CULLERTON                                                                              CHICAGO            IL    60623‐2716
HAMPTON H GILL                                   549 W 123RD ST                       APT 8 G                                                  NEW YORK           NY    10027‐5038
HAMPTON INSTITUTE                                DIRECTOR OF FISCAL AFFAIRS &         TREAS                                                    HAMPTON            VA    23668
HAMZA MUNIB                                      9612 LAKEWOOD DR                                                                              WINDSOR            CA    95492‐8604
HAN D NGUYEN                                     4016 OAK PARK DR                                                                              FLOWER MOUND       TX    75028‐1372
HAN MU KANG CUST TARINA L KANG UNDER THE MO      P O BOX 4627                                                                                  EDWARDS            CO    81632
UNIF TRF TO MINORS LAW
HANA WHITNEY                                     42470 SYCAMORE                                                                                STERLING HEIGHTS   MI    48313‐2858

HANAKO NAKAMOTO TR UA 03/07/06 HANAKO            253 REDWOOD DR                                                                                PASADENA           CA    91105‐1338
NAKAMOTO 2006 TRUST
HANCEL GLENN LYON                                590 HARCOURT PLACE                                                                            MARIETTA           GA    30067‐7163
HANCLE HENSON                                    155 CALLE OJO FELIZ                  APT Q                                                    SANTA FE           NM    87505‐5783
HANDY SLADE JR                                   4562 BRITTANY LN                                                                              GRAND PRAIRIE      TX    75052‐8368
HANEESHA DESAI                                   1006 N ENTRADA WAY                                                                            GLENDORA           CA    91741‐2226
HANEESHA TAILOR                                  2860 BUCKHAVEN RD                                                                             CHINO HILLS        CA    91709‐5104
HANIF UDDIN                                      107 19 75 ST                                                                                  OZONE PARK         NY    11417‐1123
HANK BUSLER                                      PO BOX 907                                                                                    CRESCENT CITY      FL    32112‐0907
HANK W KUMMERLE                                  8125 BENTWOOD PL                                                                              RALEIGH            NC    27615‐3506
HANLEY S WARREN                                  610 FARLOOK DR                                                                                MARION             IN    46952‐2421
HANNA J JAGIELLO                                 1615 WOOD AVE                        #1                                                       ROSELLE            NJ    07203‐3085
HANNA V JANOUSKOVEC                              2120 LAKELAND AVE                                                                             LAKEWOOD           OH    44107‐5736
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Name                                            Address1                               Address2               Address3        Address4          City             State Zip

HANNAH A MOORE TOD ROBERTA M KUNTZ SUBJECT TO 5905 BACK FORTY DRIVE                                                                             BELMONT          MI    49306
STA TOD RULES
HANNAH ANDRITZ                                BOX 132                                  517 INDIANA AVE                                          AVONMORE         PA    15618‐0132
HANNAH B SAPIN & DAN PAUL SAPIN JT TEN        1635 QUIET HILLS DR                                                                               OCEANSIDE        CA    92056‐2920
HANNAH DARDEN                                 118 STRAUSS                                                                                       BUFFALO          NY    14212‐1250
HANNAH E FLYNN                                886 BACON AVE                                                                                     EAST PALESTINE   OH    44413‐1400
HANNAH EMERICK                                22911 BAY SHORE RD                                                                                CHESTERTOWN      MD    21620‐4418
HANNAH G DAVIS & FRANCES B BIRGE JT TEN       1110 TARA STREET                                                                                  SAVANNAH         GA    31410‐1840
HANNAH GURTOV                                 195 N PONDVIEW BLVD                                                                               MONROE TWP       NJ    08831‐5511
HANNAH H BAKER                                1739 WOOD NYMPH TRAIL                                                                             LOOKOUT          GA    30750‐2640
                                                                                                                                                MOUNTAIN
HANNAH HALL ALICANDRO                           PO BOX 413                                                                                      PRINCETON        MA    01541‐0413
HANNAH J THOMASON & WILLIAM LEE THOMASON JT     303 JOHN ST                                                                                     CARMEL           IN    46032‐1214
TEN
HANNAH L SHMERLER                               5016 THEALL RD                                                                                  RYE              NY    10580‐1445
HANNAH LIORA KROHN                              563 HIGHLAND PARK DR                                                                            TRAVERSE CITY    MI    49686‐2863
HANNAH M A'HEARN & JACQUELINE A'HEARN JT TEN    88‐32 RUTLEDGE AVENUE                                                                           GLENDALE         NY    11385‐7934

HANNAH M DIERMYER                               98 PALACE CT                                                                                    INWOOD           WV    25428‐4357
HANNAH M LANIER                                 152 DOWNING ST                                                                                  LAKEWOOD         NJ    08701‐1456
HANNAH PARKER                                   2132 E 97TH ST                                                                                  CHICAGO          IL    60617‐4825
HANNAH POLOW                                    BOX 130                                                                                         HYDE PARK        VT    05655‐0130
HANNAH R BETTIS                                 13727 BIRCHWOOD PIKE                                                                            BIRCHWOOD        TN    37308‐5302
HANNAH R TIMM                                   12 WARWICK LN                                                                                   BASKING RIDGE    NJ    07920‐2243
HANNAH R WAYNE & DAN H WAYNE JT TEN             3912 S OCEAN BLVD                      APT 409                                                  HIGHLAND BCH     FL    33487‐3313
HANNAH SHAY JUHEL                               18 I U WILLETS RD                                                                               ROSLYN           NY    11576‐3003
HANNELORE ESQUENAZI                             8132 CRAWFORD AVE                                                                               SKOKIE           IL    60076
HANNELORE HENNIG                                12263 WOODIEBROOK RD                                                                            CHARDON          OH    44024
HANNELORE LEACH                                 21012 LINWOOD RD                                                                                LINWOOD          KS    66052‐4019
HANNELORE Z KROGER TR HANNELORE Z KROGER INTER 3841 SW 2ND AVE                                                                                  GAINESVILLE      FL    32607‐2782
VIVOS TRUST UA 08/27/96
HANNI A BERGER                                  408 MAPLE DR                                                                                    CRESTLINE        OH    44827‐1337
HANNIA A LUJAN UPTON                            163‐08 15TH DRIVE                                                                               WHITESTONE       NY    11357‐2935
HANNIBAL P PIERCE                               213 WATSON MILL RD                                                                              ELMER            NJ    08318‐2907
HANNIBAL WEATHERLY IV TR ELLE RIVERS TRUST UA   C/O RIBERT N SAVERANCE                 POST OFFICE BOX 283                                      LAMAR            SC    29069‐0283
12/29/98
HANS A BARTH                                    KLEEWEG 6                              D‐65428 RUESSELSHEM                    GERMANY
HANS A BARTH                                    KLEEWEG 6                              D‐65428 RUESSELSHEIM                   GERMANY
HANS A BARTH                                    KEEWEG 6                               D‐65428 RUSSELSHEIM                    GERMANY
HANS A FLUECK                                   236 JANE BRIGGS AVENUE                                                                          LEXINGTON        KY    40509
HANS BARTH                                      KLEEWEG 6                              D‐65428 RUESSELSHEIM                   GERMANY
HANS BERNHARDT                                  965 REED AVE                                                                                    SUNNYVALE        CA    94086‐6734
HANS C JACOBSSON                                8400 DALE                                                                                       DEARBORN HGTS    MI    48127‐1427
HANS C SONDEREGGER                              SONNHALDENSTR 9                        8413 NEFTENBACH                        SWITZERLAND
HANS D BRANDT & MRS RENATE BRANDT JT TEN        209 BUSHER AVE                                                                                  VALLEY STREAM    NY    11580‐5227
HANS DIETER SIEBERT & MRS BIRGIT SIEBERT JT TEN 2829 FILLMORE ST                                                                                ALAMEDA          CA    94501‐5420

HANS G GRUPP TR UA 01/30/92 HANS GOOTLIEB GRUPP 34012 SPRING VALLEY DR                                                                          WESTLAND         MI    48185‐1448
TRUST
HANS G PONSE                                    14979 WOODSMAN LANE                                                                             WOODBRIDGE       VA    22193‐1843
HANS GEORG KAUTH                                D‐85551 KIRCHEIM BEI MUNCHEN           AKAZIENWEG 4           REPL OF         GERMANY
HANS GULICK                                     12340 JULIA PLACE                                                                               KING GEORGE      VA    22485‐5431
HANS H KROEGER                                  49163 BOHMTE                           WEIDENSTR 9                            GERMANY
HANS H STENNER                                  909 PARK ST                                                                                     SYRACUSE         NY    13208‐2725
HANS H STOCK                                    69 ROBERTS ACRES DR                                                                             TROY             MO    63379‐5616
HANS HAFNER                                     40 BELMONT TERR                                                                                 YONKERS          NY    10703‐2123
HANS J DUUS                                     962 N BRYS DR                                                                                   GROSSE POINTE    MI    48236‐1288
                                                                                                                                                WOOD
HANS J GREEN                                    484 CENTRAL ST                                                                                  HOLLISTON        MA    01746‐2409
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Name                                              Address1                             Address2              Address3                 Address4           City               State Zip

HANS J KAISER                                     246 PARK LN                                                                                            HENDERSONVILLE     NC    28791‐8614
HANS J KAISER & EDITH L KAISER JT TEN             246 PARK LN                                                                                            HENDERSONVILLE     NC    28791‐8614
HANS LINKE                                        HOSPITALSTRABE 47                    D68623                LAMPERTHEIM              GERMANY
HANS LORICCO                                      206 UPPER STATE STREET                                                                                 NORTH HAVEN        CT    06473‐1235
HANS M LETTANG & ELIZABETH LETTANG JT TEN         11266 MEADOWBROOK ST                                                                                   WARREN             MI    48093‐6552
HANS M OTT                                        10459 AUDIE BROOK DR                                                                                   SPRING HILL        FL    34608‐8462
HANS M PETERSEN                                   1803 SUNBURST DRIVE                                                                                    TROY               MI    48098‐6612
HANS MARTIN WISNEWSKI                             39137 CHANTILLY DR                                                                                     STERLING HEIGHTS   MI    48313‐5109

HANS O THORUP                                     R R NO 2                             THORNDALE ON                                   N0M 2P0 CANADA
HANS R DE VRIESE                                  GM EUROPE                            STELZENSTRASSE 4      GLATTBRUGG SWITZER       SWEDEN
HANS SIGURD PETERSEN                              472 INDIAN PT RD                     GLEN HAVEN NS                                  B3Z 2T9 CANADA
HANS STEILBERGER & JANET F STEILBERGER JT TEN     1077 FAIRLANE COURT                                                                                    FRANKLIN           IN    46131‐7499

HANS W FRIEDRICHS                                 2105 HALL AVE                                                                                          ANN ARBOR          MI    48104‐4817
HANS W M SONDERGAARD                              230 NORTH EAST 65TH AVE                                                                                PORTLAND           OR    97213‐5012
HANS W SCHNITTGER                                 AM BUCHWALDSKOPF 4                   65527 NIEDERNHAUSEN                            GERMANY
HANS W SCHWEIGHOEFER                              1649 MCILVAINE CT                                                                                      MARCO ISLAND       FL    34145‐6626
HANS WALTER                                       1030 BURKWOOD RD                                                                                       MANSFIELD          OH    44907‐2410
HANS WALTER SCHNITTGER                            AM BUCHWALDSKOPF 4                   65527 NIEDERNHAUSEN                            GERMANY
HANS ZONNEVELD GND ROOSE ZONNEVELD A MINOR        HUGO DE GROOT                        OOSTSINGEL 58         2614 HD DELFT            NETHERLANDS

HANS‐GEORG MUDRICH                                BERNHARD MAY STR 34                  65203 WIESBADEN                                GERMANY
HANS‐GUENT RIEMANN                                OSTHOLZSTRASSE 5                     D‐44388 DORTMUND                               GERMANY
HANS‐HERMANN WIRTH                                LESSINGSTRASSE 24                    64625 BENSHEIM                                 GERMANY
HANS‐JUERG MICHEL                                 TRIENENDORFER STR 133                WETTER                                         GERMANY
HANS‐JUERGEN MICHEL                               WILHELM‐LEUSCHNER‐STRASSE 6          D 64347 GRIESHEIM                              GERMANY
HANS‐PETER H GIEBEN                               182 ELIZABETH CRESCENT N             WHITBY ON                                      L1N 3R7 CANADA
HANSEL D CRAWFORD                                 220 WESTERN SKIES DRIVE SE           APT 1001                                                          ALBUQUERQUE        NM    87123‐4905
HANSEL L WHITMAN                                  1404 3RD AVE S                                                                                         JASPER             AL    35501‐4744
HANSFORD BENGE                                    61 HADLEY ST                                                                                           MOORESVILLE        IN    46158‐1425
HANSFORD BURNEY JR                                2529 ATKINSON STREET                                                                                   DETROIT            MI    48206‐2057
HANSFORD HANCOCK & MRS LUCILLE HANCOCK JT TEN     21271 OUTER DRIVE                                                                                      DEARBORN           MI    48124‐3031

HANSFORD W DICKEN                                 PO BOX 2434                                                                                            DANVILLE           IL    61834‐2434
HANSJORG PFEFFERKORN                              DIPL ING                             SCHELLNAUS            A4463 GROSZRAMING        AUSTRIA
HANSON M LEE                                      5896 FAIRCASTLE                                                                                        TROY               MI    48098‐2546
HANSON M LEE & CHRISTIANA LEE JT TEN              5896 FAIRCASTLE                                                                                        TROY               MI    48098‐2546
HANSPETER RYSER                                   GM EUROPE AG                         SALZHAUSSTR 21 CH     BIENNE                   2501 SWITZERLAND
HARALD A PELS                                     12 MEADOW LN                                                                                           GLEN HEAD          NY    11545‐1123
HARALD EGERS TR ROY LARSEN U‐W SIGNE STUBERUD     C/O MOSS PUBLIC TRUSTEE ROY          LARSON                1146 EDINGTON LN                            CAROL STREAM       IL    60188‐4322

HARALD EMHARDT                                    21703 W 47TH TER                                                                                       SHAWNEE            KS    66226‐9765
HARALD H FALK                                     6187 BOROWY DR                                                                                         COMMERCE TWP       MI    48382‐3612
HARALD JUNG                                       C/O HAROLD WALTER JUNG               KAPELLENBERSTR 83     D‐61389 OBERREIFENBERG   GERMANY
HARALD JUNG                                       KAPELLENBERGSTR 83                   OBERREIFENBERG        D                        61389 GERMANY
HARALD R WALLICZEK                                10411 DAVENPORT ROAD                                                                                   WOODLAND           MI    48897‐9737
HARAND E CHILDS                                   1582 SENSENY RD                                                                                        WINCHESTER         VA    22602‐6424
HARBOR BEACH STUDENT LOAN ASSOCIATION             HARBOR BEACH HIGH SCHOOL                                                                               HARBOR BEACH       MI    48441
HARBORMASTER MARINE INC                           C/O WILLIAM BRADFORD                 31777 INDUSTRIAL RD                                               LIVONIA            MI    48150‐1821
HARDDIS BURCH                                     139 HUDSON ST                                                                                          SYRACUSE           NY    13204‐4113
HARDEMAN R JONES JR                               258 CHARLES LANE                                                                                       PONTIAC            MI    48341‐2929
HARDEN POWELL                                     3237 BUENA VISTA                                                                                       DETROIT            MI    48238‐3322
HARDIE MAYS                                       1644 N MELVINA                                                                                         CHICAGO            IL    60639‐3918
HARDIE T LLOYD                                    PO BOX 652                                                                                             BERRYVILLE         VA    22611‐0652
HARDISTINE T GRIFFIN                              5267 COLE                                                                                              OAKLAND            CA    94601‐5509
HARDWICK GANEY                                    22777 TEN MILE RD                                                                                      SOUTHFIELD         MI    48034‐3211
HARDY D MC MASTERS                                PO BOX 1772                                                                                            TULLAHOMA          TN    37388‐1772
HARDY L BARKSDALE                                 40 MOSELLE                                                                                             BUFFALO            NY    14211‐2322
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HARDY M GRAHAM TR UW OF DAISYE POINDEXTER          PO BOX 39                                                                                           UNION CITY      TN    38281‐0039

HARDY R MC CLELLAN III                             87 CALVERT                                                                                          DETROIT         MI    48202‐1203
HARDY WEBSTER                                      3432 TECUMSEH RIVER DRIVE                                                                           LANSING         MI    48906‐3559
HARDY WEBSTER & LINDA A WEBSTER JT TEN             3432 TECUMSEH RIVER DRIVE                                                                           LANSING         MI    48906‐3559
HARE & CO                                          C/O THE BANK OF NEW YORK                PO BOX 11203                                                NEW YORK        NY    10249
HARE & CO                                          C/O THE BANK OF NEW YORK                TRANSFER SEC 3RD FL   1 WALL ST        ATT; CLAIRE WILSON   NEW YORK        NY    10286
HAREA K BATES & RHEA ARVANITES JT TEN              5804 WALTERS WAY                                                                                    LANSING         MI    48917‐5139
HARELD E ROBERSON                                  5549 N 350 E                                                                                        ANDERSON        IN    46012‐9531
HARENDRA KUMAR CUST RAJEN N KUMAR UGMA MI          5097 LONGVIEW DR                                                                                    TROY            MI    48098‐2350
UNIF GIFT MIN ACT MI
HARFORD VOLUNTEER FIRE CO                          BOX 206                                 MARKET ST                                                   HARFORD         PA    18823‐0206
HARGIS T TERRY                                     665 PRESTON DRIVE                                                                                   WAYNESVILLE     OH    45068‐8457
HARGOBIND J MULCHANDANI                            6303 GULFTON ST UNIT 512                                                                            HOUSTON         TX    77081‐1113
HARI K PATHAK & SANGEETA PATHAK JT TEN             3668 BATES DR                                                                                       STERLING HTS    MI    0ZZZZ
HARI N NAIR                                        500 N FIELD DRIVE                                                                                   LAKE FOREST     IL    60045‐2595
HARILAL P PRAJAPATI & NIRMALA H PRAJAPATI JT TEN   1505 MICHAEL DR                                                                                     BEDFORD         TX    76022‐7249

HARILAOS T SAKELLARIDES & MRS LUCY H SAKELLARIDES 3 HAWTHORN PLACE                                                                                     BOSTON          MA    02114‐2334
JT TEN
HARINDER S LAMBA                                  6921 CREEKSIDE                                                                                       DOWNERS GROVE   IL    60516‐3434
HARISH N NAGARSHETH & VEENA N NAGARSHETH JT       1 AMERICAN WAY                                                                                       MARLBORO        NJ    07746
TEN
HARISH N NAGARSHETH CUST KHANJAN H NAGARSHETH 1 AMERICAN WAY                                                                                           MARLBORO        NJ    07746‐2172
UTMA NJ
HARLAN A CHAMP                                    618 DORSEY AVE                                                                                       BALTIMORE        MD   21221‐4927
HARLAN A VIEL                                     10210 SANDUSKY RD                                                                                    HARRISON         OH   45030‐1231
HARLAN BERGSIEKER JR                              2841 BEECH DR                                                                                        COLUMBUS         IN   47203‐3124
HARLAN BRYAN                                      2340 NORTH CENTER RD                                                                                 BURTON           MI   48509‐1004
HARLAN CHARLES WEGNER                             28639 BANNOCKBURN ST                                                                                 FARMINGTON HILLS MI   48334‐2701

HARLAN D LUNDBERG & CAROLYN M LUNDBERG JT TEN BOX 337                                                                                                  RICHVALE        CA    95974‐0337

HARLAN E BLAKE & MARGARET L BLAKE JT TEN           3694 WEST GROVE ROAD                                                                                LEAF RIVER       IL   61047‐9765
HARLAN E JOSE                                      PO BOX 263                                                                                          WARRIORMINE      WV   24894‐0263
HARLAN E MONTIS                                    257 BROOKLANDS ST                                                                                   AKRON            OH   44305‐3671
HARLAN F BEHEYDT                                   4200 PRESTWICK CT                                                                                   NORTH FORT MYERS FL   33903‐4943

HARLAN F HOLT                                      239 SPRING BEACH DR                                                                                 ROME CITY       IN    46784‐9703
HARLAN F WARE                                      586 PARKWAY AVE                                                                                     ANTIOCH         IL    60002‐1354
HARLAN G MC VAY SR                                 19690 KLINGER                                                                                       DETROIT         MI    48234‐1740
HARLAN GALVIN & MICHAEL GALVIN JT TEN              BOX 3081                                                                                            KAILUA          HI    96740
HARLAN GRIZZELL                                    PO BOX 135                                                                                          GRAYSON         KY    41143‐0135
HARLAN H BELL                                      4671 GREEN PINE LANE                                                                                PASO ROBLES     CA    93446‐4100
HARLAN H KAYLOR                                    8904 DENISON AVE                                                                                    CLEVELAND       OH    44102‐4870
HARLAN H MILLER                                    PO BOX 324                                                                                          MEDINA          OH    44258‐0324
HARLAN J BEARDEN JR                                214 REED ST P O BOX 35                                                                              ASHLEY          MI    48806‐0035
HARLAN J RYPMA & JEANNE RYPMA JT TEN               5534 SIMONELLI ROAD                                                                                 WHITEHALL       MI    49461‐9631
HARLAN JACKSON                                     2001 BEGOLE ST                                                                                      FLINT           MI    48504‐3197
HARLAN JOHNSON JR                                  C/O DONNA BROWN                         12 VICKI LN                                                 MIAMISBURG      OH    45343
HARLAN L BAGGETT                                   29037 BOCK                                                                                          GARDEN CITY     MI    48135‐2806
HARLAN L GOODWIN JR                                548 BULL CREEK RD E                                                                                 DAHLONEGA       GA    30533‐2611
HARLAN L HANSON & MRS MARJORIE E HANSON JT TEN     5500 CALLE REAL                         APT C116                                                    SANTA BARBARA   CA    93111‐3617

HARLAN L HORTON                                    6845 LANCASTER LAKE CT                  APT 139                                                     CLARKSTON       MI    48346‐4429
HARLAN M SHERWIN                                   69 WHEELER CIR                          APT 132                                                     STOUGHTON       MA    02072‐1351
HARLAN MARTIN                                      10 GENESEE TRAIL                                                                                    WESTFIELD       NJ    07090‐2706
HARLAN N HUITT                                     13817 LLANO DR                                                                                      WEATHERFORD     TX    76087‐9700
HARLAN P YOUNG                                     PO BOX 44075                                                                                        WEST ALLIS      WI    53214
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HARLAN PRESCOTT                                 25444 W SCOTT RD                                                                              BARRINGTON        IL    60010‐2423
HARLAN T BOYNTON & ELEANOR K BOYNTON JT TEN     21 USHER ROAD                                                                                 WEST MEDFORD      MA    02155‐2201

HARLAN V SOUTHWICK                              8 BISCAY CT                                                                                   BALTIMORE         MD    21234‐1869
HARLAN W HORTON                                 1680 N BUSH AVE                                                                               CLOVIS            CA    93619‐3723
HARLAN W WELLNITZ                               50440 OUTLET BAY RD                                                                           SOLON SPRINGS     WI    54873‐4468
HARLAND A GRINNELL & EMMA M GRINNELL JT TEN     5335 GOODAR RD                                                                                SOUTH BRANCH      MI    48761‐9519

HARLAND F KRUMHEUER & JUDIE A KRUMHEUER JT TEN BOX 127                                                                                        DARFUR            MN    56022‐0127

HARLAND G FROST                                 5424 GD BLANC RD                                                                              SWARTZ CREEK      MI    48473
HARLAND J KAUL                                  7652 HILLSHIRE CT                                                                             SAGINAW           MI    48609‐4217
HARLAND JOHN WICKHAM JR                         1484 CAIRN CT                                                                                 PALM HARBOR       FL    34683‐6365
HARLAND KRUMHEUER CUST JOHN LOUIS KRUMHEUER     BOX 127                                                                                       DARFUR            MN    56022‐0127
UTMA MN
HARLAND WESLEY SANDERS 3RD & HARLAND WESLEY     7 CIRCLE DRIVE                                                                                WILMINGTON        DE    19804‐2925
SANDERS 2ND JT TEN
HARLEN C HUNTER                                 3030 PAPIN RD                                                                                 DE SOTO           MO    63020‐4915
HARLEN E ZIEGENHAGEN                            589 W RANDALL ST                                                                              COOPERSVILLE      MI    49404‐1359
HARLEN JAY MALLIS                               156 MEADOWCROFT                                                                               SAN ANSELMO       CA    94960‐1507
HARLEN STINNETT                                 2225 MALLERY ST                                                                               FLINT             MI    48504‐3133
HARLENA P HARRINGTON                            2205 S ETHEL                                                                                  DETROIT           MI    48217‐1654
HARLENE F BRADLEY                               1600 GREENWOOD RD                                                                             GREENWOOD         DE    19950‐2015
HARLENE F STRAUSS                               28966 NOTTINGHAM                                                                              HAYWARD           CA    94544‐6344
HARLENE HORN CUST JEFFRE R HORN UGMA VT         28 STILL DR                                                                                   HUDSON            MA    01749‐1918
HARLES L PARISH                                 4215 MEADOW LANE                                                                              GLENNIE           MI    48737‐9764
HARLESS H MAYNARD                               1022 CAMP CREEK RD                                                                            WAYNESVILLE       OH    45068‐9214
HARLESS P SHAFER                                4191 MANCHESTER AVE                                                                           PERRY             OH    44081‐9647
HARLEY A TODD                                   13955 WATERLOO RD                                                                             WELLINGTON        MO    64097
HARLEY B SWANTON                                223 N HAMPTON                                                                                 BAY CITY          MI    48708‐6765
HARLEY BRUCE YODER                              4970 RIDGE                                                                                    GURNEE            IL    60031‐1820
HARLEY D BURKHARD                               3156 SUNDOWN LN                                                                               SAGINAW           MI    48603‐6198
HARLEY D DORMAN                                 1112 VALLEY DR                                                                                CARO              MI    48723‐9510
HARLEY D JACKSON                                9054 SEYMOUR RD                                                                               SWARTZ CREEK      MI    48473‐9161
HARLEY DOUGLAS KAUFMAN                          441 E 20TH ST #7D                                                                             NEW YORK          NY    10010‐7520
HARLEY DUNCAN                                   2576 QUINCY RD                                                                                QUINCY            IN    47456‐8618
HARLEY E FULLER & KATHLEEN E FULLER JT TEN      328 SPRINGFIELD RD                                                                            SOMERS            CT    06071‐1651
HARLEY E JOHNSTON & ALAN JAMES RYFF JT TEN      20201 E 10 MILE RD                                                                            ST CLAIR SHORES   MI    48080‐1016
HARLEY E MARTIN                                 2434 YOSEMITE                                                                                 SAGINAW           MI    48603‐3355
HARLEY E SCHROEDER                              7324 W STANLEY ROAD                                                                           FLUSHING          MI    48433‐9062
HARLEY E SHEPARD                                3304 PRESCOTT AVE                                                                             BLUE SPRINGS      MO    64015‐1123
HARLEY E SPARKS                                 14620 GREENWOOD                                                                               OLATHE            KS    66062‐9700
HARLEY EUGENE MAY & JUDITH ANN MAY TR MAY FAM   1907 FULLERTON DR                                                                             CINCINNATI        OH    45240‐1025
LIVING TRUST UA 04/19/95
HARLEY F SHOOK                                  606 CARTHAGE DR                                                                               BEAVERCREEK       OH    45434‐5804
HARLEY G PYLES                                  204 WINDSOR FOREST CIR                                                                        FLETCHER          NC    28732‐9691
HARLEY H BRANCH                                 6383 BADGER DRIVE                                                                             LOCKPORT          NY    14094‐5947
HARLEY H EDMONDS JR                             1997 BOULDER DR                      APT D11                                                  INDIANAPOLIS      IN    46260‐3035
HARLEY J ALLEN                                  432 E OAK ST                                                                                  MASON             MI    48854‐1781
HARLEY J HORNBECK                               1814 SO ABBE                                                                                  ELYRIA            OH    44035‐8204
HARLEY J MILLER                                 14833 PECAN RD                                                                                KEITHVILLE        LA    71047‐9129
HARLEY J PETERSON                               62 APRIL AVE                                                                                  STOCKBRIDGE       GA    30281‐5037
HARLEY JAY ALLEN & JOYCE MARIE ALLEN JT TEN     432 E OAK ST                                                                                  MASON             MI    48854‐1781
HARLEY M SHERMAN CUST AARON N SHERMAN UGMA      14071 MANHATTAN                                                                               OAK PARK          MI    48237‐1103
MI
HARLEY M WILLIAMS SR                            4089 ADRIAN ST                                                                                TUCKER            GA    30084‐4405
HARLEY NEAL GOLDBERG                            1 BOATSWAINS WAY                                                                              CHELSEA           MA    02150‐4017
HARLEY R HALL                                   705 BRUSHWOOD                                                                                 WALLED LAKE       MI    48390‐3001
HARLEY R SPIEKERMAN                             7651 NORTH MASON ROAD                                                                         MERRILL           MI    48637‐9620
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HARLEY REICHART                                 C/O CENTRAL P&H                         207 S MAIN ST                                            ELKADER          IA    52043
HARLEY RUSSELL STIMMEL                          3602 CARDINAL LANE                                                                               MIDLAND          TX    79707‐1817
HARLEY S LEACH & REO J LEACH JT TEN             6517 KINGS POINTE RD                                                                             GRAND BLANC      MI    48439‐8606
HARLEY SELLING                                  48148 COLONY FARMS CIR                                                                           PLYMOUTH         MI    48170‐3305
HARLEY W WATTS                                  11218 N PENNSYLVANIA AVE                                                                         KANSAS CITY      MO    64155‐1894
HARLEY WHITEHEAD JR                             109 STADIUM RD                          APT 13                                                   AUBURNDALE       FL    33826
HARLIE C HAMMER                                 2146 WEST MAIN                                                                                   BEECH GROVE      IN    46107‐1424
HARLIN A DAVIS                                  342 N PERRY STREET                                                                               LAWRENCEVILLE    GA    30045‐4824
HARLIN E STOCKTON                               1061 E COUNTY RD 425 NORTH                                                                       GREENCASTLE      IN    46135‐8518
HARLIN G COBB                                   1780 HEATHERLAN LN                                                                               NORTH VERNON     IN    47265‐9043
HARLIN JOBE                                     44730 CHRISTIE AVE                                                                               LANCASTER        CA    93535‐3426
HARLIN N WOODS                                  1178 S STATE RD 235                                                                              MEDORA           IN    47260‐9562
HARLIN PRATT                                    1662 LADERA TRL                                                                                  DAYTON           OH    45459‐1402
HARLIN W MILLER                                 123 N 5TH ST                                                                                     EVANSVILLE       WI    53536‐1043
HARLON D ROBINSON & NOREEN R ROBINSON JT TEN    65 FOUNTAIN ST                                                                                   GARDINER         ME    04345‐1943

HARLON L POTTER                                 9110 SPIETH RD                                                                                   LITCHFIELD       OH    44253‐9788
HARLOND J RICE                                  3103 ROSEBUD RD                                                                                  ROSEBUD          MO    63091‐1401
HARLOW E HECKO                                  261 GLENBRIAR CIR                                                                                DAYTONA BEACH    FL    32114‐7150
HARLOW WESLEY REESE                             2470 CO RD 117                                                                                   CEDARBLUFF       AL    35959‐3003
HARLY M HARTY & JUDY A HARTY JT TEN             13675 MT ECHO DR                                                                                 IONE             CA    95640‐9556
HARM LEROY                                      982 16TH ST                                                                                      OTSEGO           MI    49078‐9788
HARM WILLEM DE GROOT & PATRICIA DE GROOT JT TEN 90966 HILL RD                                                                                    SPRINGFIELS      OR    97478‐9794

HARMAHENDAR SINGH & VIRINDER K SINGH JT TEN     775 TIMBERLINE DR                                                                                ROCHESTER        MI    48309‐1316

HARMAN SPENCE                                   55 WINDING DR                                                                                    GETTYSBURG       PA    17325‐6943
HARMAN W EARGOOD JR & MRS GRETA I EARGOOD JT    4139 SEIDEL PLACE                                                                                SAGINAW          MI    48603‐5634
TEN
HARMON A BALDWIN & ADA BALDWIN JT TEN           800 BELL TRACE CIRCLE                   #203                                                     BLOOMINGTON      IN    47408‐4401
HARMON BRUCE BEATES JR                          15372 CONAWAY DR                                                                                 LINESVILLE       PA    16424‐6615
HARMON C GRUBBS                                 1418 DARWIN DRIVE                                                                                OCEANSIDE        CA    92056‐3043
HARMON CARTER JR                                PO BOX 25                                                                                        CUMBERLAND       OH    43732‐0025
HARMON EDGAR DAVIS                              3702 E 650 N                                                                                     ALEXANDRIA       IN    46001‐8880
HARMON J JONES                                  208 OLIVE BRANCH RD                                                                              ELLABELL         GA    31308‐6000
HARMON J KARASICK                               4105 62ND ST E                                                                                   BRADENTON        FL    34208‐6659
HARMON MITCHELL JR                              13358 S HURON RIVER DR                                                                           ROMULUS          MI    48174‐3612
HARMON R CAREY                                  64 OAKMONT DRIVE                        OAKMONT                                                  NEW CASTLE       DE    19720‐1321
HARMON RIFKIN CUST JOEL D RIFKIN UGMA MA        23015 OXNARD ST                                                                                  WOODLAND HILLS   CA    91367‐3232

HARMON S DAWSON                                 PO BOX 786                                                                                       MAGDALENA        NM    87825
HAROLD A ALDERFER & MRS FERNE C ALDERFER TEN    263 WOODS DR                                                                                     LANSDALE         PA    19446‐6235
ENT
HAROLD A BARNES                                 35 NEWPORT DR                                                                                    WATERBURY        CT    06705‐2511
HAROLD A BLASKY                                 1533 US 50                                                                                       MILFORD          OH    45150‐9769
HAROLD A BOWERS                                 925 W 8TH ST                                                                                     ANDERSON         IN    46016‐1271
HAROLD A BRIDGES                                PO BOX 1765                                                                                      VILLA RICA       GA    30180‐6427
HAROLD A BROWNFIELD JR                          1 ANDREW PEARSON DR                                                                              MOUNT AIRY       NC    27030‐2124
HAROLD A CLIFTON                                1809 ROBIN HOOD DRIVE                                                                            FAIRBORN         OH    45324‐3925
HAROLD A CLOSE                                  1458 BONNER RD                                                                                   DEERFIELD        OH    44411‐9742
HAROLD A COOK                                   73 DAVIS ROAD                                                                                    CARROLLTON       GA    30116‐9246
HAROLD A CUTSHAW TOD ALLEN A CUTSHAW            11027 FAIRFIELD ST                                                                               LIVONIA          MI    48150‐2775
HAROLD A DAVIDSON JR                            235 BUFFALO                                                                                      BAD AXE          MI    48413‐1406
HAROLD A DAVIS                                  1154 BRUNES BLVD                                                                                 BROWNSBURG       IN    46112
HAROLD A DUDLEY & MEREDITH L DUDLEY JT TEN      5128 ISABELLE AVE                                                                                PORT ORANGE      FL    32127‐5412
HAROLD A EARLER                                 3217 WESTSHORE DR                                                                                BAY CITY         MI    48706‐5364
HAROLD A ENGELKE SR                             46 DALEWOOD RD                                                                                   WEST CALDWELL    NJ    07006‐8240
HAROLD A FISHER                                 2138 FISHER RIDGE ROAD                                                                           KENNA            WV    25248‐9626
HAROLD A GOOS                                   217 OAKS AVE                                                                                     MONROVIA         CA    91016‐2114
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HAROLD A GRAY                                     5840 MEADOW VALLEY DRIVE                                                                       CLEVES            OH    45002‐9517
HAROLD A GRIMES                                   2456 WAILEA BEACH DR                                                                           BANNING           CA    92220‐7503
HAROLD A HARRIS                                   18581 RT 83                                                                                    GRAFTON           OH    44044
HAROLD A HOGAN TR HAROLD A HOGAN TRUST UA         15422 E HILLSIDE DR                                                                            FOUNTAIN HLS      AZ    85268‐5806
03/02/04
HAROLD A HORNE                                    3981 WOODLAND DR                                                                               HIGHLAND          MI    48356‐2362
HAROLD A JACKSON                                  832 WESTWOOD DR                                                                                FENTON            MI    48430‐1421
HAROLD A JANES & MRS DORIS M JANES JT TEN         1623 STAFFORD AVE                                                                              LOUISVILLE        KY    40216‐2774
HAROLD A JOHNSON                                  2436 SOUTH EDGEWOOD                                                                            SEASIDE           OR    97138‐5024
HAROLD A JOHNSON & MARY ANN JOHNSON JT TEN        27856 DURANT ST NE                                                                             ISANTI            MN    55040‐6200

HAROLD A KAAP                                     18890 SCHWANDT RD                                                                              WELLSTON          MI    49689‐9400
HAROLD A KAUTZ JR & BETTY S KAUTZ JT TEN          125 EAGLES NEST RD                                                                             BYRDSTOWN         TN    38549‐4663
HAROLD A KLEES                                    3453 HUMPHREY                                                                                  SAINT LOUIS       MO    63118‐2720
HAROLD A KNOX                                     2015 10TH ST                                                                                   PORT HURON        MI    48060‐6216
HAROLD A LEE                                      3802 ASHTON RD                                                                                 COLUMBUS          OH    43227‐1202
HAROLD A LINDSEY                                  4256 TOLEDO AVE                                                                                LORAIN            OH    44055‐3066
HAROLD A LINS TR HAROLD A LINS TRUST 05/23/92     818 CATINO                                                                                     ARLINGTON         IL    60005‐2316
                                                                                                                                                 HEIGHTS
HAROLD A LUTER                                    1412 FORSYTHIA AVE                                                                             OZARK             MO    65721‐6722
HAROLD A MAGNUS                                   3331 BOYD AVENUE                                                                               GROVES            TX    77619‐3508
HAROLD A MARQUARDT TR HAROLD A MARQUARDT          108 STUART PL                                                                                  GRAYLING          MI    49738‐7024
INTER‐VIVOS TRUST UA 08/19/97
HAROLD A MARTIN                                   2293 WALNUT ROAD                                                                               AUBURN HILLS      MI    48326‐2553
HAROLD A MERTEN III                               716 LEXINGTON AVENUE                                                                           TERRACE PARK      OH    45174‐1218
HAROLD A MICKELSON                                9756 S RUTHERFORD                                                                              OAK LAWN          IL    60453‐2146
HAROLD A NOMER JR                                 2717 P PERRY HIGHWAY                                                                           WAKEFIELD         RI    02879
HAROLD A OSBORNE                                  25 LAMAR AVE                                                                                   EDISON            NJ    08820‐2046
HAROLD A PHILLIPS                                 706 HOWARD RD                                                                                  STARKVILLE        MS    39759‐3712
HAROLD A POLAN & DORIS POLAN JT TEN               1001 CITY AVE APT EE‐922                                                                       WYNNEWOOD         PA    19096‐3927
HAROLD A RICKETTS & IRENE M RICKETTS JT TEN       52200 SHELBY RD                                                                                SHELBY TOWNSHIP   MI    48316‐3159

HAROLD A RIPLEY JR                                4708 QUINWOOD LANE                                                                             VIRGINIA BEACH    VA    23455‐5412
HAROLD A ROSS                                     PO BOX 1741                                                                                    WALDPORT          OR    97394
HAROLD A SCHLEGEL & BETH ANN SCHLEGEL JT TEN      1132 BELLERIVE BLVD                                                                            SAINT LOUIS       MO    63111

HAROLD A SCHNEIDER                                5807 W GARY RD                                                                                 CHESANING         MI    48616‐9468
HAROLD A SHAW JR                                  10 CEDAR HEIGHTS CT                                                                            CAMANCHE          IA    52730‐1724
HAROLD A SMITH                                    1469 WHITTIER ST                                                                               WATERFORD         MI    48327
HAROLD A SMITH                                    88 WOOD LN                                                                                     FAIRFAX           CA    94930‐2016
HAROLD A SPLAIN CUST BRIAN A SPLAIN UGMA CA       9323 EAST LAKE DR                                                                              ELK GROVE         CA    95758‐4533

HAROLD A TATGENHORST                              14732 ST RT 45                                                                                 LISBON            OH    44432‐9635
HAROLD A THEMM                                    G3194 AUGUSTA ST                                                                               FLINT             MI    48532‐5105
HAROLD A THOMPSON                                 151 CLIFTON PL                                                                                 SYRACUSE          NY    13206‐3236
HAROLD A ULRICH TR THE URLICH LIVING TRUST UA     525 CONSTITUTION SQ                                                                            CINCINNATI        OH    45255‐3304
06/22/93
HAROLD A WALKER                                   5412 PALMYRA ST                                                                                NEWTON FALLS      OH    44444‐1848
HAROLD A WEHRLE & BERNADETTE P WEHRLE JT TEN      15317 AUBRIETA LANE                                                                            ORLAND PARK       IL    60462‐4313

HAROLD A WILLIAMS & MARY D WILLIAMS JT TEN        PO BOX 30                                                                                      WASHINGTON        PA    17582‐0030
                                                                                                                                                 BORO
HAROLD A WITTKOPP                                 900 JENNISON                                                                                   BAY CITY          MI    48708‐8645
HAROLD ADAMS                                      393 REDONDO RD                                                                                 YOUNGSTOWN        OH    44504‐1451
HAROLD ANTHONY DAVIS                              BOX 102                                                                                        WHITE OAK         WV    25989‐0102
HAROLD ARTHUR CANTORE JR                          56 CASTLE ROCK LANE                                                                            BLOOMINGDALE      IL    60108‐1268
HAROLD ARTIS                                      3236 TECUMSEH RIVER ROAD                                                                       LANSING           MI    48906‐3555
HAROLD AUGUSTUS SCHLEGEL                          6014 VISTAMAR ROAD                                                                             TOLEDO            OH    43611‐1046
HAROLD B ATKINSON JR                              15198 STILLFIELD PLACE                                                                         CENTREVILLE       VA    20120
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HAROLD B BAKER                                   PO BOX 463                                                                                      FORT WORTH      TX    76101‐0463
HAROLD B BRUMETT                                 PO BOX 284                                                                                      SALEM           MO    65560‐0284
HAROLD B CAMPBELL                                PO BOX 125                                                                                      NELLYSFORD      VA    22958‐0125
HAROLD B DAVIS                                   11304 E 39TH TER S                                                                              INDEPENDENCE    MO    64052‐2402
HAROLD B DENNISON                                104 HICKORY DR                                                                                  SPRINGFIELD     OH    45503‐5414
HAROLD B EMERY                                   3801 WEDGEWOOD CT                                                                               ARLINGTON       TX    76013‐1063
HAROLD B EMERY TR CRAIG H EMERY A MINOR U/DEC    5919 BEVERLY LANE                                                                               EVERETT         WA    98203‐3434
OF TRUST 4/16/58
HAROLD B FODOR & ALICE M FODOR JT TEN            66 MAIN BLVD                                                                                    TRENTON         NJ    08618‐1543
HAROLD B GRAY                                    480 BETTER RD                                                                                   NEWPORT         TN    37821‐7130
HAROLD B HENLEY                                  907 SAN CLEMENTE WAY                                                                            MOUNTAIN VIEW   CA    94043‐3122
HAROLD B HUNTER                                  1909 LAUREL OAK DRIVE                                                                           FLINT           MI    48507‐6038
HAROLD B KERSHNER                                2181 MALLARD RD                                                                                 CAMDEN          SC    29020‐9142
HAROLD B KIRKHUFF & MRS MYRNA S KIRKHUFF TEN     1971 PINEHURST ROAD                                                                             BETHLEHEM       PA    18018‐1528
COM
HAROLD B LANCOUR                                 27433 SHIAWASSEE                                                                                FARMINGTON      MI    48336‐6055
HAROLD B NEWTON & DONNA J NEWTON JT TEN          187 FULTNER RD                                                                                  MC DONOUGH      NY    13801‐2144
HAROLD B RHOADES                                 1629 WEST MC KAIG RD                                                                            TROY            OH    45373‐9414
HAROLD B SEILER & EVE SEILER JT TEN              883 W PADDINGTON                                                                                NIXA            MO    65714‐8817
HAROLD B TANALSKI                                23301 PORT                                                                                      ST CLAIR SH     MI    48082‐3001
HAROLD B THOMPSON                                7729 E 14TH ST                                                                                  INDIANAPOLIS    IN    46219‐3803
HAROLD B VANCE                                   3468 HAMBURG RD                                                                                 ELDORADO        OH    45321‐9718
HAROLD B WATSON                                  6299 BUNKER HILL ROAD                                                                           DELLROSE        TN    38453‐5106
HAROLD BAIRD                                     3385 E HIGHWAY 1470                                                                             STRUNK          KY    42649‐9336
HAROLD BARKER                                    4480 CHICHESTER RD                                                                              EDWARDS         MS    39066‐9448
HAROLD BECKOM                                    PO BOX 6081                                                                                     KOKOMO          IN    46904‐6081
HAROLD BENTON MAHAN & ANNA M MAHAN JT TEN        BOX 66                                                                                          CHESTERVILLE    OH    43317‐0066

HAROLD BERGMANN & ARDELL M BERGMANN JT TEN       1412 SOUTH PARK                                                                                 SEDALIA         MO    65301‐7002

HAROLD BERNARD LAKOSKY                           5282 DELAND RD                                                                                  FLUSHING        MI    48433‐2903
HAROLD BROOKS                                    C/O E SUSAN KIRCHEN                    1156 PORTER                                              CHARLOTTE       MI    48813‐3101
HAROLD BROSE                                     30911 CREST FRST                                                                                FARMINGTON      MI    48331
HAROLD BURDETTE                                  HC60 BOX 15                                                                                     PROCIOUS        WV    25164‐9702
HAROLD BUSTER BRADSHAW                           525 E MCCLELLAN ST                                                                              FLINT           MI    48505‐4231
HAROLD BUTTRELL & DIANE W BUTTRELL JT TEN        6602 7 PINES DR                                                                                 BRADENTON       FL    34203‐7870
HAROLD C ANDREWS                                 5742 CARROLL LK RD                                                                              COMERSE         MI    48382‐3128
                                                                                                                                                 TOWNSHIP
HAROLD C AUGUSTIN                                1074 HERITAGE PARK DR                  APT E                                                    WEBSTER         NY    14580‐2374
HAROLD C AVEN                                    3350 MIDLAND ROAD                                                                               SAGINAW         MI    48603‐9634
HAROLD C AVEN & AUDREY A AVEN JT TEN             3350 MIDLAND ROAD                                                                               SAGINAW         MI    48603‐9634
HAROLD C BAYLESS                                 3422 BEDFORD FALLS DR                                                                           WENTZVILLE      MO    63385‐2664
HAROLD C BAYS                                    3366 BELLEVUE PLACE                                                                             BELLINGHAM      WA    98226‐3867
HAROLD C BOYER JR                                6929 ENFIELD AVE                                                                                RESEDA          CA    91335‐4715
HAROLD C CHASTAIN                                1509 ASH DRIVE W                                                                                ELKHART         IN    46514‐4306
HAROLD C COCHRAN                                 1593 COBBS CREEK CV                                                                             DECATUR         GA    30032‐3073
HAROLD C DINGEL & MRS WINIFRED C DINGEL JT TEN   10336 COOLIDGE RD                                                                               GOODRICH        MI    48438‐9707

HAROLD C DODD                                    DODD'S ADDITION                        20584 FISHER ST      REHOBOTH                            REHOBOTH BCH    DE    19971
HAROLD C EVENSEN & MRS STELLA EVENSEN JT TEN     5402 DARNELL                                                                                    HOUSTON         TX    77096‐1222

HAROLD C FAULKNER III                            508 S RUNNYMEADE AVE                                                                            EVANSVILLE      IN    47714‐1553
HAROLD C FIRL                                    6 E SILVER SAGE RD                                                                              TOWNSEND        MT    59644‐9687
HAROLD C FOX & MRS MARY A FOX JT TEN             1223 W GREEN SPRINGS HGTS N DR                                                                  WASHINGTON      UT    84780‐8461
HAROLD C FRIEDEMAN                               630 MABIE STREET                                                                                NEW MILFORD     NJ    07646‐2062
HAROLD C FUE TR FUE FAM RESIDUAL TRUST UA        916 ROBLE LA                                                                                    SANTA BARBARA   CA    93103‐2044
06/19/92
HAROLD C GAINES                                  34 MAY ST                                                                                       CAMBRIDGE       MA    02138‐4425
HAROLD C GRABER                                  18865 30TH AVE                                                                                  MARION          MI    49665‐8108
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HAROLD C GROSS                                    315 RIVERSIDE DRIVE #4A                                                                           NEW YORK          NY    10025‐4113
HAROLD C HANKINSON & GENEVIEVE J HANKINSON JT     RT #13                                   8552 FIRE                                                BATH              NY    14810
TEN
HAROLD C HIXSON & DOROTHY A HIXSON TEN ENT        3775 LEAH DRIVE                                                                                   EMMONS            PA    18049‐1543

HAROLD C KAUFMAN                                  7127 NORTHHAMPTON                                                                                 HOUSTON           TX    77055‐7624
HAROLD C KRYDER & MRS DOROTHY J KRYDER JT TEN     18835 PAWNEE LANE                                                                                 SOUTH BEND        IN    46637‐4519

HAROLD C LAYMAN & PATRICIA E LAYMAN JT TEN        30 S MASTERS DRIVE SMW                                                                            HOMOSASSA         FL    34446‐4651
HAROLD C MAHON & MILDRED S MAHON JT TEN           4 COLORADO CT                                                                                     MERIDEN           CT    06450‐8305
HAROLD C MC ARTHUR                                45109 HARRIS RD                                                                                   BELLEVILLE        MI    48111‐8939
HAROLD C MC KENNA CUST SEAN M MC KENNA UGMA       249 ELM ST                                                                                        NORTH READING     MA    01864‐2531
MA
HAROLD C MOORE                                    27015 GATLIN DR                                                                                   ARDMORE           AL    35739‐8230
HAROLD C NICHOLS & WANDA M NICHOLS JT TEN         22706 LEMON GROVE                                                                                 SPRING            TX    77373‐6532
HAROLD C PACE TR PACE REVOCABLE LIVING TRUST UA   PO BOX 40                                                                                         BURNS             TN    37029‐0040
02/13/97
HAROLD C PARKER & JUNE S PARKER JT TEN            5 LEICESTER ST                                                                                    PERRY             NY    14530‐1136
HAROLD C PFAFFENBERGER                            3630 HELENE                                                                                       TOLEDO            OH    43623‐1829
HAROLD C RARICK                                   160 HEMLOCK ST                                                                                    BROOMFIELD        CO    80020‐2207
HAROLD C ROHRS & MRS DAWN B ROHRS JT TEN          7090 COVENANT WOODS DRIVE                APT I301                                                 MECHANICSVLLE     VA    23111
HAROLD C RUDOLPH JR                               PO BOX 19194                                                                                      COLORADO CITY     CO    81019‐0194
HAROLD C SCHINDLER                                802 GEDDES BLUFF                                                                                  SAGAMORE HILLS    OH    44067‐2308
HAROLD C SILLS                                    5043 ARROWHEAD ROAD                                                                               ORCHARD LAKE      MI    48323‐2312
HAROLD C SLATER                                   2117 BARRITT                                                                                      LANSING           MI    48912‐3631
HAROLD C SMITH                                    7554 RED OAK VALLEY DR                                                                            CLARKATON         MI    48348‐4177
HAROLD C THOMPSON                                 30 SUTTON PLACE                                                                                   SOCIAL CIRCLE     GA    30025‐4936
HAROLD C WRIGHT                                   1865 CHRISTINE                                                                                    WESTLAND          MI    48186‐4454
HAROLD C YOUNG                                    1848 OXLEY ST                                                                                     SOUTH PASADENA    CA    91030‐3441

HAROLD CARDWELL                                   222 N BROADWAY                                                                                    YONKERS           NY    10701‐2606
HAROLD CAREY & SHIRLEY CAREY JT TEN               578 SHARPS GAP RD                                                                                 BARBOURVILLE      KY    40906‐7479
HAROLD CHANDLER                                   111 WHISPERING WOODS                                                                              ALEXANDRIA        KY    41001‐9226
HAROLD CHASE LOVERN                               RR 1                                                                                              YORKTOWN          IN    47396‐9801
HAROLD CLEM BAILEY                                1044 HURON ST                                                                                     FLINT             MI    48507‐2326
HAROLD CLIFFORD HAMILTON                          2044 JACKSON LN                                                                                   ANDERSON          IN    46011‐9260
HAROLD COLLINS                                    2810 QUILLIANS CT                                                                                 GAINESVILLE       GA    30506‐2883
HAROLD CONLEY                                     14718 PETOSKEY                                                                                    DETROIT           MI    48238‐2017
HAROLD CONNER                                     3743 BRIAR PLACE                                                                                  DAYTON            OH    45405‐1803
HAROLD COUNTS                                     209 BUTTONWOOD DR 8                                                                               TRENTON           NJ    08638‐2603
HAROLD COX                                        410 RISLEY DRIVE                                                                                  WEST CARROLLTON   OH    45449‐1367

HAROLD CROWDER                                    212 WEST ARUNDEL RD                                                                               BALTIMORE         MD    21225‐2623
HAROLD CUMMINGS                                   APT 1501                                 5350 MAC DONALD AVE   MONTREAL QC      H3X 3V2 CANADA
HAROLD CURRAN CUST STEPHEN P CURRAN UGMA VA       3910 UPLAND WAY                                                                                   MARIETTA          GA    30066‐3057

HAROLD D A MARTIN JR                              180 CARNATION AVE                                                                                 FLORAL PARK       NY    11001‐2732
HAROLD D ALEXANDER                                9283 MARKANNE                                                                                     DALLAS            TX    75243‐6542
HAROLD D ALLEN                                    616 OXHILL DR E                                                                                   WHITE LAKE        MI    48386‐2338
HAROLD D APPLEBY                                  26857 DUNN RD                                                                                     SOUTH BEND        IN    46628‐4502
HAROLD D BAILEY                                   4919 E DIANA DR                                                                                   INDIANAPOLIS      IN    46203‐1628
HAROLD D BALL                                     3475 RIDGEWOOD DRIVE                                                                              COLUMBUS          OH    43026‐2455
HAROLD D BALLENGER                                2506 HIGHLAND TRL                                                                                 LEANDER           TX    78641‐8679
HAROLD D BANKS                                    515 GRANDE TRL                                                                                    RED OAK           TX    75154‐8321
HAROLD D BARKER                                   109 W 113TH ST                                                                                    CHICAGO           IL    60628‐4827
HAROLD D BARTLEY                                  3920 MONTEREY AVE                                                                                 SPRINGFIELD       OH    45504‐3513
HAROLD D BEEBE                                    12544 S LINDEN RD                                                                                 LINDEN            MI    48451‐9455
HAROLD D BEEBE & MRS ANN L BEEBE JT TEN           12544 S LINDEN ROAD                                                                               LINDEN            MI    48451‐9455
HAROLD D BENNETT                                  1105 N LIMA CENTER                                                                                DEXTER            MI    48130‐9771
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HAROLD D BREWSTER JR & NAOMI G MCDANIEL JT TEN BOX 529                                                                                        BLUEFIELD       WV    24701‐0529

HAROLD D BURKET                                  2343 S 300 W                                                                                 KOKOMO          IN    46902‐4675
HAROLD D BURNS & LUCILLE BURNS JT TEN            3714 SWANN ROAD                                                                              SUITLAND        MD    20746‐2234
HAROLD D CARDER                                  113 W ROYLE ST                                                                               RICHMOND        MO    64085‐1728
HAROLD D CLAYPOOL                                5023 WINSTON DRIVE                                                                           SWARTZ CREEK    MI    48473‐1224
HAROLD D COLEY                                   458 ANNIS ROAD                                                                               SO AMHERST      OH    44001‐3026
HAROLD D COOK                                    7530 PRESIDENT COURT                                                                         DAYTON          OH    45414‐1747
HAROLD D CRABTREE                                700 N BROADWAY ST                   LOT D12                                                  LOUISBURG       KS    66053‐3568
HAROLD D CRAIG                                   736 JACKSON ST                                                                               HOPE            IN    47246‐1112
HAROLD D DAVIS                                   6074 COUNTY ROAD 76 76                                                                       ROGERSVILLE     AL    35652‐2443
HAROLD D DEBRULER                                807 TIPPY DR                                                                                 MARION          IN    46952‐2912
HAROLD D DELANEY                                 22635 MEDOWLARK EAST                                                                         WARRENTON       MO    63383‐4378
HAROLD D DENNIS                                  330 OLD PENCIL MILL RD                                                                       CHAPEL HILL     TN    37034‐7005
HAROLD D DICKERSON                               215 N MORRICE RD                                                                             MORRICE         MI    48857‐9702
HAROLD D DODDS & JERRY D DODDS JT TEN            342 NIPPIGON DRIVE                                                                           OXFORD          MI    48371‐5057
HAROLD D EASTERLA                                1802 W MAIN STREET                                                                           GREENWOOD       MO    64034‐9651
HAROLD D FETHERSTON                              438 SOUTH PLAINFIELD AVENUE                                                                  S PLAINFIELD    NJ    07080‐5036
HAROLD D FLEMING & RUTH S FLEMING TR FLEMING LIV 1253 LENAPE AVE                                                                              FORD CITY       PA    16226‐1408
TRUST UA 06/02/99
HAROLD D GATRELL                                 11588 ROLLER COASTER RD                                                                      LIBSON          OH    44432‐9510
HAROLD D GILREATH                                4005 REIMER ROAD                                                                             NORTON          OH    44203‐4953
HAROLD D GILREATH & GWEDNOLYN R GILREATH JT TEN 4005 REIMER ROAD                                                                              NORTON          OH    44203‐4953

HAROLD D GRINDSTAFF                             5719 GATEWAY LN                                                                               BROOK PARK       OH   44142‐2000
HAROLD D HALE                                   402 MT SEQUOIA CT                                                                             CLAYTON          CA   94517‐1612
HAROLD D HALL                                   1395 N CHIPMAN ST                                                                             OWOSSO           MI   48867‐4801
HAROLD D HAYS                                   PO BOX 341                                                                                    ARDMORE          TN   38449‐0341
HAROLD D HERSHBERGER                            68735 MOTT ST                                                                                 WHITE PIGEON     MI   49099‐9427
HAROLD D HUGHES                                 PO BOX 764                                                                                    CLARKSTON        MI   48347‐0764
HAROLD D INGLE                                  903 SALEM ST                                                                                  ROCKTON          IL   61072‐2157
HAROLD D JENKINS                                4315 VERA CRUZ RD                                                                             CENTER VALLEY    PA   18034‐8623
HAROLD D JOHNSON                                3115 JIM WARREN RD                                                                            SPRING HILL      TN   37174‐2224
HAROLD D KING                                   80 ANGLIN RD                                                                                  GRIFFIN          GA   30223‐6731
HAROLD D KING & CELINA S KING JT TEN            383 MACKINAW AVE                                                                              AKRON            OH   44333‐3875
HAROLD D LEDLOW                                 3101 W HERMANS RD                                                                             TUCSON           AZ   85746‐9621
HAROLD D LEWIS                                  15442 ORCHARD RIDGE DR                                                                        CLINTON TOWNSHIP MI   48038‐1691

HAROLD D MCCLURE & JUDITH MCCLURE JT TEN        2349 BENDING WILLOW DR                                                                        KETTERING       OH    45440‐1105
HAROLD D MILLER                                 414 S MADISON                                                                                 EVANSVILLE      WI    53536‐1326
HAROLD D MOORE                                  4108 NELSON MOSIER RD                                                                         LEAVITTSBURG    OH    44430‐9425
HAROLD D MORGAN                                 RR #2                                3649 16TH ST                                             WAYLAND         MI    49348‐9560
HAROLD D MORGAN & ROBERTA A MORGAN JT TEN       RR #2                                3649 16TH ST                                             WAYLAND         MI    49348‐9560

HAROLD D MORSE JR                               34 HYACINTH DR                                                                                COVINGTON       LA    70433‐9108
HAROLD D NACE                                   43 STUBBS DR                                                                                  TROTWOOD        OH    45426‐3018
HAROLD D OWSLEY                                 6363 TRENTON FRANKLIN RD                                                                      MIDDLETOWN      OH    45042‐1747
HAROLD D OWSLEY & NANCY J OWSLEY JT TEN         6363 TRENTON FRANKLIN RD                                                                      MIDDLETOWN      OH    45042‐1747
HAROLD D PARTIN JR                              8298 SW 79TH CIRCLE                                                                           OCALA           FL    34476
HAROLD D PRESLEY                                311 TURRELL LANE                                                                              MIDLAND         MI    48640‐9040
HAROLD D RAUBUCH                                1038 E PINCKLEY ST                                                                            BRAZIL          IN    47834‐8206
HAROLD D REED                                   PO BOX 25                                                                                     OAKWOOD         GA    30566‐0001
HAROLD D SCHARICH                               2000 RAMAR RD                        LOT 263                                                  BULLHEAD CITY   AZ    86442‐9329
HAROLD D SHORT                                  7373 N STATE ROAD 9                                                                           ALEXANDRIA      IN    46001‐9235
HAROLD D SIMPSON                                821 SOMERSET AVE                     WINNIPEG MB                            R3T 1E5 CANADA
HAROLD D SMITH                                  2617 CORAL RIDGE CT                                                                           WEST CARROLLTON OH    45449‐2833

HAROLD D SNYDER                                 151 GRAHAM AVE                       RM 250                                                   NORTH HALEDON   NJ    07508
HAROLD D STRAM                                  2282 FITKIN ST                                                                                TOLEDO          OH    43613‐3514
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HAROLD D STRANGE                                 2116N 400E                                                                                        LAGRO           IN    46941‐9655
HAROLD D SUDDARTH                                2349 E WATER WHEEL DR                                                                             GREENFIELD      IN    46140‐7414
HAROLD D TABIT                                   1385 ALLEN ST                                                                                     BURTON          MI    48529‐1203
HAROLD D THORNBURG                               901 S WARFIELD DR                                                                                 MT AIRY         MD    21771‐5314
HAROLD D TOOMEY                                  4310 HUCKLEBERRY                                                                                  FLINT           MI    48507‐2358
HAROLD D VERSTEN & MRS JANET S VERSTEN JT TEN    6035 N CENTRAL PARK                                                                               CHICAGO         IL    60659‐3204

HAROLD D WEBER                                   5264 SPINNING WHEEL DR                                                                            GRAND BLANC    MI     48439‐4230
HAROLD D WHEELER                                 7443 N STATE RD                                                                                   DAVISON        MI     48423‐9368
HAROLD D WILBUR                                  11 GARDEN LANE                           SWANWYCK GARDENS                                         NEW CASTLE     DE     19720‐2019
HAROLD D WILLIAMS                                4 KIPLING DR                                                                                      NEWARK         DE     19702‐4505
HAROLD D WILSON                                  5001 TROPICAL CLIFF AVE                                                                           LAS VEGAS      NV     89131
HAROLD D YATES                                   1122 N 38TH STREET                                                                                FT SMITH       AR     72904‐6911
HAROLD D ZIEGLER JR                              208 SQUAW BROOK RD                                                                                N HALEDON      NJ     07508‐2761
HAROLD D ZIESSE                                  23909 WINIFRED                                                                                    WARREN         MI     48091‐3297
HAROLD DALE EVANS                                3781 QUAIL FOREST DR                                                                              TARPON SPRINGS FL     34689‐9041
HAROLD DALTON                                    1506 N WEDGEWOOD                                                                                  ALEXANDRIA     IN     46001‐2824
HAROLD DAVID COHN                                5920 SHADY GROVE RD                                                                               MEMPHIS        TN     38120‐2302
HAROLD DAVID PARKER & MRS SANDRA PARKER JT TEN   790 DANIEL ST                                                                                     NORTH WOODMERE NY     11581‐3502

HAROLD DAVID WHIELDON                            51 DOGWOOD LANE                                                                                   EMERSON         NJ    07630‐1305
HAROLD DAVID WILLIAMSON                          24 E TAYLOR ST                                                                                    SAVANNAH        GA    31401‐4928
HAROLD DAVIS & MRS BERNICE DAVIS JT TEN          136 AVIS AVE                                                                                      LAKEWOOD        NJ    08701‐1103
HAROLD DEAN LEDLOW                               PO BOX 426                                                                                        BERRY           AL    35546‐0426
HAROLD DOKKEN & KRISTINE DOKKEN JT TEN           142 HIWAY LN                                                                                      INTERNATIONAL   MN    56649
                                                                                                                                                   FALLS
HAROLD DUANE ZARR JR                             834 SE MICHAEL DR                                                                                 ANKENY          IA    50021
HAROLD DUNNING & ANDREA DUNNING TEN COM          2727 KNIGHT AVENUE                                                                                TROY            MI    48098‐4067

HAROLD DUNNING & LAURA DUNNING TEN COM           1005 E SILVER BELL LAKE                                                                           ORION           MI    48360‐2334
HAROLD DUNNING & MICHAEL DUNNING TEN COM         1005 E SILVER BELL LAKE                                                                           ORION           MI    48360‐2334

HAROLD DWIGHT HALDERMAN JR                       7 MASONIC DR APT 3D                                                                               SPRINGFIELD     OH    45504‐3680
HAROLD E AARDEMA                                                                                                                                   DOON            IA    51235
HAROLD E ALLEN                                   129 CHRISTIAN HILL ROAD                                                                           BROOKLYN        CT    06234‐2511
HAROLD E ANGRICK                                 1104 BEAL CT                                                                                      INDIANAPOLIS    IN    46217‐5360
HAROLD E ARMSTRONG                               483 LAUREN AVE                                                                                    BOWLING GREEN   KY    42104‐6442
HAROLD E BAKER                                   118 MADISON ST                                                                                    WATERBURY       CT    06706‐1811
HAROLD E BALDWIN                                 905 OAK DR                                                                                        WOODSTOCK       GA    30189‐1450
HAROLD E BEAUBIEN                                2667 SOUTH WEST 79TH ST                                                                           REDMOND         OR    97756‐8246
HAROLD E BENKE                                   1212 RINGWALT DR                                                                                  DAYTON          OH    45432‐1739
HAROLD E BENSON                                  4615 MISER STATION RD                                                                             FRIENDSVILLE    TN    37737‐2339
HAROLD E BERGLAN                                 71 N 700 W                                                                                        SWAYZEE         IN    46986‐9763
HAROLD E BETTS                                   9525 E COOPER RD                                                                                  MORGANTOWN      IN    46160‐8339
HAROLD E BOETTGER                                2848 CATERHAM                                                                                     WATERFORD       MI    48329‐2616
HAROLD E BOETTGER & AMANDA J BOETTGER JT TEN     2848 CATERHAM                                                                                     WATERFORD       MI    48329‐2616

HAROLD E BUCHANAN                                2936 HIGHWAY 29 SOUTH                                                                             LAWRENCEVILLE   GA    30244‐4318
HAROLD E BUCKLER                                 C/O VINCENT POLITO                       576 MAIN ST                                              WOBURN          MA    01801‐2997
HAROLD E BURGIN                                  5511 BIRCH DR                                                                                     DAVISBURG       MI    48350‐3349
HAROLD E BYER TR HAROLD E BYER REVOCABLE TRUST   209 BEAVER ST                                                                                     MARIETTA        OH    45750‐2503
UA 11/9/99
HAROLD E CALLAHAN                                1515 WOODLOW ST                                                                                   WATERFORD        MI   48328‐1369
HAROLD E CAPLINGER                               8160 STATE ROUTE 73                                                                               HILLSBORO        OH   45133‐7973
HAROLD E CASS                                    10188 N 675 E                                                                                     PENDLETON        IN   46064‐9203
HAROLD E CHARLES                                 15 31ST FIRE RD                                                                                   CHINA            ME   04358‐4349
HAROLD E COOLEY                                  30414 ORCHARD LAKE RD UNIT 17                                                                     FARMINGTON HILLS MI   48334‐1363

HAROLD E CROSSLEY                                2834 YALE ST                                                                                      FLINT           MI    48503‐4606
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HAROLD E D BARCEY                                1288 W PERRY                                                                                   SALEM             OH   44460‐3550
HAROLD E DAVIS                                   2107 ELSWORTH RD R2                                                                            PERRY             MI   48872‐8528
HAROLD E DICKERSON                               15512 E ACACIA WAY                                                                             FOUNTAIN HLS      AZ   85268
HAROLD E DOHERTY                                 3175 MAIN ST                                                                                   BRIDGEPORT        CT   06606‐4225
HAROLD E DOLLISON                                1325 GAVIN ST                                                                                  MUNCIE            IN   47303‐3320
HAROLD E EPLER JR                                PO BOX 16395                                                                                   COLUMBUS          OH   43216‐6395
HAROLD E FREY & VIVIAN L FREY JT TEN             925 N WHITE DOVE DR                                                                            SANTA MARIA       CA   93455
HAROLD E FREYBURGER                              172 BRENTWOOD DR                                                                               N TONAWANDA       NY   14120‐4821
HAROLD E GOLDEN                                  799 HAROLD AVE SE                                                                              ATLANTA           GA   30316‐1217
HAROLD E HARDY                                   11576 GARRICK ST                                                                               LAKE VIEW TERRACE CA   91342‐7351

HAROLD E HARDY & RUBY L HARDY JT TEN             11576 GARRICK ST                                                                               LAKEVIEW TER     CA    91342‐7351
HAROLD E HOFFMAN                                 3315 BARDSHAR RD                                                                               SANDUSKY         OH    44870‐9632
HAROLD E HOFFMAN                                 4409 BELLEVUE‐CASTALIA RD                                                                      CASTALIA         OH    44824‐9355
HAROLD E HOSIER                                  2584 E 500S                                                                                    ANDERSON         IN    46017‐9505
HAROLD E JOY                                     2007 EDGEWOOD DRIVE                                                                            ANDERSON         IN    46011‐3817
HAROLD E KERBYSON                                6087 W CARPENTER ROAD                                                                          FLUSHING         MI    48433‐9020
HAROLD E KERBYSON & SYLVIA A KERBYSON JT TEN     6087 W CARPENTER RD                                                                            FLUSHING         MI    48433‐9020

HAROLD E KEY                                    510 HILL ST                                                                                     BUFORD           GA    30518‐3222
HAROLD E KIMMEL                                 2406 RADCLIFF AVENUE                                                                            INDIANAPOLIS     IN    46227‐8655
HAROLD E KONKEL & BEVERLY L KONKEL JT TEN       11914 WEST BELOIT ROAD                                                                          GREENFIELD       WI    53228‐1934
HAROLD E LAWTON JR                              476 BURTON AVE                                                                                  HIGHLAND PARK    IL    60035‐4939
HAROLD E MC CARTY JR                            2510 W PARRISH AVE                                                                              OWENSBORO        KY    42301‐2662
HAROLD E MC MICHAEL                             161 BEAR CREEK LAKE DR                                                                          JIM THORPE       PA    18229‐2815
HAROLD E MCELFRESH                              238 MOONLITE AVE                                                                                BOWLING GREEN    KY    42101‐5206
HAROLD E MELOY                                  1617 WILLAMET                                                                                   KETTERING        OH    45429‐4248
HAROLD E MEREDITH & BLONDEANA J MEREDITH JT TEN 154 SOMBER WAY                                                                                  SHEPHERDSVLLE    KY    40165‐6362

HAROLD E MILLER                                 7340 E ROSS ROAD                                                                                NEW CARLISLE     OH    45344‐8645
HAROLD E MOORE                                  1178 COOL SPRINGS DR                                                                            KENNESAWILLE     GA    30144‐5068
HAROLD E MOORE                                  174 BELLAMY RD                                                                                  IONIA            MI    48846‐9525
HAROLD E MOORES & KAY D MOORES JT TEN           P O BOX 3416                                                                                    BAYTOWN          TX    77522‐3416
HAROLD E MORSE                                  3490 KENNEDY RD                                                                                 NORTH BRANCH     MI    48461‐9303
HAROLD E MORSE & DONNA L MORSE JT TEN           3490 KENNEDY RD                                                                                 NORTH BRANCH     MI    48461‐9303
HAROLD E NICHOLSON                              101 S OHIO ST                                                                                   SHERIDAN         IN    46069‐1017
HAROLD E OLSZEWSKI                              18094 VENTURA CT                                                                                LIVONIA          MI    48152‐3128
HAROLD E PARKS                                  9806 WOODLAND CT                                                                                YPSILANTI        MI    48197‐9739
HAROLD E PATON                                  2892 CENTENNIAL                                                                                 INDIANAPOLIS     IN    46222‐2235
HAROLD E PAYNE JR TOD CHERYL G SANDROCK SUBJECT 4721 ALMONT DR                                                                                  COLUMBUS         OH    43229‐6303
TO STA TOD RULES
HAROLD E PELLOW                                 242 WYKERTOWN RD                                                                                BRANCHVILLE      NJ    07826‐4432
HAROLD E PIERCE                                 23170 MAPLERIDGE                                                                                SOUTHFIELD       MI    48075‐3385
HAROLD E QUILLIN                                2420 RANDY RD                                                                                   JACKSONVILLE     FL    32216‐5045
HAROLD E RADFORD                                64 MASON AVE                                                                                    ROCHESTER        NY    14626‐3326
HAROLD E RAMEY                                  PO BOX 103                                                                                      NINEVEH          IN    46164‐0103
HAROLD E RIDDELL                                1074 SW TIBURON WAY                                                                             PALM CITY        FL    34990‐3868
HAROLD E RIDEOUT                                914 N O ST                                                                                      LAKE WORTH       FL    33460‐2746
HAROLD E ROBERTSON                              1029 DEER VALLEY                                                                                MANCHESTER       MI    48158‐9482
HAROLD E ROBINSON                               820 CHESTNUT ST                        NEW WESTMINSTER BC                     V3L 4N2 CANADA
HAROLD E RORABAUGH & JOHANNA A RORABAUGH JT 11523 VERSAILLES LANE                                                                               PORT RICHEY      FL    34668‐1147
TEN
HAROLD E SAXTON                                 724 GENEVA                                                                                      WATERFORD        MI    48328‐2126
HAROLD E SCHEFDORE                              470 S NORTHWEST HWY                                                                             PARK RIDGE       IL    60068‐4965
HAROLD E SCHLICKER                              6105 DACOLA SHORES RD                                                                           CONESUS          NY    14435‐9756
HAROLD E SCHLICKER III                          408 COUNTESS DR                                                                                 WEST HENRIETTA   NY    14586‐9423
HAROLD E SCHROEDER & SUSAN L SCHROEDER JT TEN   9330 FROST RD                                                                                   SAGINAW          MI    48609‐9643

HAROLD E SEVER                                   2215 BASS LAKE RD                                                                              COMMERCE TWP     MI    48382‐1714
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HAROLD E SHAULIS                                   124 POTOMAC ROAD                                                                              NILES            OH    44446‐2120
HAROLD E SHELNUTT                                  626 PLEASANT HILL RD                                                                          LILBURN          GA    30047‐2738
HAROLD E SLOAN                                     5857 W COUNTY ROAD 500 N                                                                      MULBERRY         IN    46058‐9428
HAROLD E SOPER                                     14515 EAST ST RD                                                                              MONTROSE         MI    48457‐9327
HAROLD E SOWDERS                                   1683 LOGAN DONICA RD                                                                          BEDFORD          IN    47421‐6999
HAROLD E STEBBINS & PATRICIA A STEBBINS JT TEN     1130 PARK PLACE                                                                               ALBANY           OR    97321‐3601

HAROLD E SUTTON                                    1821 CRYSTAL BAY EAST DR                                                                      PLAINFIELD       IN    46168‐9308
HAROLD E TATUM JR                                  4605 SAINT RITA DR                                                                            LOUISVILLE       KY    40219‐3935
HAROLD E THUROW & LOUISE G THUROW JT TEN           3335 N 93RD ST                                                                                MILWAUKEE        WI    53222‐3512
HAROLD E WAGNER                                    C/O BENJAMIN KITZLER                 3 NORTH MAIN ST STE 703                                  MANSFIELD        OH    44902‐1740
HAROLD E WAISNER                                   33512 LAKE TRAIL RD                                                                           GRAVOIS MILLS    MO    65037‐6017
HAROLD E WATROS                                    857 EASTLAND AVE S E                                                                          WARREN           OH    44484‐4507
HAROLD E WHITLOW                                   1085 LEWIS SCHOOL RD                                                                          DAHLONEGA        GA    30533‐2984
HAROLD E WILLIAMS JR                               148 CLEARVIEW DR                                                                              HOUGHTON LAKE    MI    48629‐9659
HAROLD E WOLFE                                     389 LAKEVIEW RD                                                                               ROCKMART         GA    30153‐4354
HAROLD E WOLFE & JUDITH A WOLFE JT TEN             3882 KLAIS DRIVE                                                                              CLARKSTON        MI    48348‐2360
HAROLD E WORLEY                                    7584 LSRDSVLLE‐WSTCHSTR                                                                       WESTCHESTER      OH    45069
HAROLD E YEAGER                                    5720 WEST BOGART ROAD                                                                         CASTALIA         OH    44824‐9723
HAROLD E YETTAW                                    4809 CEDAR LAKE DR                                                                            GREENBUSH        MI    48738‐9730
HAROLD E YOUNG                                     17801 TRUMAN ROAD                                                                             INDEPENDENCE     MO    64056‐2349
HAROLD EDWARD BURTIS                               2328 EHRLER LN                                                                                WINTER PARK      FL    32792‐1190
HAROLD ELLIOTT                                     1741 LINDEN BLVD                                                                              BROOKLYN         NY    11207‐6622
HAROLD ELLIOTT LANCE & BETTY R G LANCE JT TEN      1562 SPRUCE DR                                                                                KALAMAZOO        MI    49008‐2227

HAROLD ELMER SHEARS                                11435 N BELSAY RD                                                                             CLIO             MI    48420‐9756
HAROLD ERNEST ROBINSON                             2634 LEE HWY                         APT 304                                                  ARLINGTON        VA    22201
HAROLD ERWIN                                       3524 STONE CREEK CIRCLE                                                                       JEFFERSONVILLE   IN    47130‐8049
HAROLD EUGENE BRANNON                              2456 UTLEY RD                                                                                 FLINT            MI    48532‐4964
HAROLD EUGENE CASS                                 10188 NORTH 675 E                                                                             PENDLETON        IN    46064‐9203
HAROLD EUGENE SINGER                               711 EAST 27 ST                                                                                ANDERSON         IN    46016‐5403
HAROLD EUGENE WHITE                                ATTN PHILLIP E WHITE                 1491 W PAULA DR                                          COLUMBUS         IN    47201‐9577
HAROLD F ARMSTRONG                                 PO BOX 169                                                                                    EAST BALDWIN     ME    04024‐0169
HAROLD F BELCHER                                   1820 GLEN COVE ROAD                                                                           DARLINGTON       MD    21034‐1336
HAROLD F BENNETT                                   16363 HI LAND TRL                                                                             LINDEN           MI    48451‐9025
HAROLD F BORMAN                                    736 NORTHBOROUGH                                                                              LINCOLN          NE    68505‐2554
HAROLD F BROWN & DONNA L BROWN JT TEN              374 ALBANY ST                                                                                 SADDLE BROOK     NJ    07663‐4655
HAROLD F CASE                                      808 EAST 30TH ST                                                                              MARION           IN    46953‐3774
HAROLD F CLARK                                     426 TIKTIN DRIVE                                                                              CHATTANOOGA      TN    37415‐5115
HAROLD F FIFIELD                                   251 PIERSON ROAD                                                                              PIERSON          MI    49339‐9636
HAROLD F FREEBY                                    4950 CUTLER RD NE                                                                             EDMORE           MI    48829‐8703
HAROLD F GOODELL JR                                217 ISLAND HARBOR CI CI                                                                       PONTE VEDRA      FL    32082‐1217
                                                                                                                                                 BEACH
HAROLD F GREEN                                   3332 CR 310                                                                                     CLEBURNE         TX    76031‐0733
HAROLD F GRIES & KENNETH H GRIES JT TEN          30 MCINTIRE DRIVE                                                                               HILLSBOROUGH     NJ    08844‐2243
HAROLD F GRIES CUST EMILY ELIZABETH DUNN UTMA NJ 402 HAZEL AVE                                                                                   GARWOOD          NJ    07027‐1427

HAROLD F GRIES CUST KALI ELIZABETH GRIES UTMA NJ   402 HAZEL AVE                                                                                 GARWOOD          NJ    07027‐1427

HAROLD F GRIES CUST KATLYN MAE DUNN UTMA NJ        402 HAZEL AVE                                                                                 GARWOOD          NJ    07027‐1427

HAROLD F GRIES CUST KRISTOFER S GRIES UTMA NJ      402 HAZEL AVE                                                                                 GARWOOD          NJ    07027‐1427

HAROLD F GRIES CUST MARGARET CAREY GRIES UTMA 402 HAZEL AVE                                                                                      GARWOOD          NJ    07027‐1427
NJ
HAROLD F GRIES CUST MEGAN LINDSAY DUNN UTMA NJ 402 HAZEL AVE                                                                                     GARWOOD          NJ    07027‐1427

HAROLD F GRIES CUST MICHAEL F GRIES UTMA NJ        402 HAZEL AVE                                                                                 GARWOOD          NJ    07027‐1427
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HAROLD F GRIES CUST SARAH MARGARET GRIES UTMA      402 HAZEL AVE                                                                                  GARWOOS           NJ    07027‐1427
NJ
HAROLD F HATHAWAY                                  5775 PARK RD                                                                                   LEAVITTSBURG      OH    44430‐9450
HAROLD F HEAD & NITA J HEAD TR UA 12/29/92         48095 POWELL RD                                                                                PLYMOUTH          MI    48170‐2811
HAROLD F HEAD TRUST
HAROLD F HEAD & NITA J HEAD TR UA 12/29/92 NITA    48095 POWELL RD                                                                                PLYMOUTH          MI    48170‐2811
LARKINS HEAD TRUST
HAROLD F HOLCOMBE                                  RT 179                                BOX 1385                                                 LAMBERTVILLE      NJ    08530
HAROLD F JOHNSON                                   1358 STEBBINS RD                                                                               SILVER CREEK      NY    14136‐9713
HAROLD F KENYON & DOROTHY R KENYON JT TEN          8316PAINTED ROCK ROAD                                                                          COLUMBIA          MD    21045
HAROLD F MONAHAN & GLORIA MONAHAN JT TEN           TOWN HOME #3                          2886 FERNLEY DRIVE EAST                                  WEST PALM BEACH   FL    33415‐8303

HAROLD F MONROE                                    428 CHRISTIANS BEND RD                                                                         CHURCH HILL       TN    37642‐5133
HAROLD F OPITZ                                     39201 JOY ROAD A‐204                                                                           WESTLAND          MI    48185‐7543
HAROLD F PREMO JR                                  158 PLEASANT VIEW DRIVE                                                                        MITCHELL          IN    47446‐1250
HAROLD F RIDLEY                                    2458 OLD JACKSON ROAD                                                                          LOCUST GROVE      GA    30248‐2754
HAROLD F RIDLEY JR                                 1728 CREEKSTONE                                                                                COLUMBIA          TN    38401‐6715
HAROLD F RUTENBAR & MARJORIE A RUTENBAR JT TEN     4615 CRESTWICRE DRIVE                                                                          LAKELAND          FL    33801‐0583

HAROLD F SEITZ                                     5 MORRIS STREET                                                                                WEBSTER           MA    01570‐1811
HAROLD F SOBKA                                     360 GOLF VIEW DRIVE                                                                            LITTLE EGG HORBOR NJ    08087‐4230

HAROLD F WEBB                                      4613 WAYMIRE DR                                                                                DAYTON            OH    45406‐2445
HAROLD F WRIGHT JR                                 507 E SOUTH ST                                                                                 JEFFERSON         WI    53549‐2001
HAROLD F WYANT                                     C/O IRMA WYANT                        12959 NEWBURG CT                                         DAYTON            OH    45458‐6086
HAROLD F YOUNKIN                                   1665 RIVERSIDE DR 11                                                                           ROCHESTER HLS     MI    48309‐2714
HAROLD FERRELL JR                                  3831 GLOUCHESTER ST                                                                            FLINT             MI    48503‐7001
HAROLD FINEGOOD                                    25800 W 11 MILE RD                    APT 264                                                  SOUTHFIELD        MI    48034‐6199
HAROLD FINKELMAN                                   114 WETHERILL RD                                                                               CHELTENHAM        PA    19012‐1215
HAROLD FRANCIS WILSON                              6839 SHERIDAN ST                                                                               ANDERSON          IN    46013‐3609
HAROLD FRANK GEORGE                                124 JEFFERSON AVE                                                                              VANDERGRIFT       PA    15690‐1107
HAROLD FREDERICK LILLEY                            5320 CLEARLAKE RD                                                                              NORTH BRANCH      MI    48461‐8944
HAROLD FREDERICK LUSKIN & ROBERT S LUSKIN JT TEN   5006 KEOKUK STR                                                                                BETHESDA          MD    20816‐3008

HAROLD FREEMON TR THE FREEMON 2005 TRUST UA   BOX 967                                                                                             TIBURON           CA    94920‐0967
07/08/05
HAROLD FRIEDMAN & MRS BARBARA FRIEDMAN JT TEN 21 BAYOWSKI RD                                                                                      WEST ORANGE       NJ    07052‐2152

HAROLD FRIIS                                       801 SPRING VALLEY COURT                                                                        SCHAUMBURG        IL    60193‐4300
HAROLD FULMER                                      999 S MAIN ST                                                                                  MANSFIELD         OH    44907‐2507
HAROLD FUMANTI & ANN FUMANTI JT TEN                208 ALICIA ST                                                                                  OLD FORGE         PA    18518‐1907
HAROLD FUMANTI & MRS ANN FUMANTI TEN ENT           208 ALICIA ST                                                                                  OLD FORGE         PA    18518‐1907
HAROLD G ANDREWS                                   8650 SANDY CREST DR                                                                            WHITE LAKE        MI    48386‐2453
HAROLD G AUSTIN                                    400 S LA GRANGE RD                                                                             LA GRANGE         IL    60525‐2448
HAROLD G BENTLEY                                   1147 S SALISBURY BLVD UNIT 8                                                                   SALISBURY         MD    21801‐6865
HAROLD G CLEVENGER                                 7537 CHRISTINE DR                                                                              CINCINNATI        OH    45241‐1103
HAROLD G DOWLER                                    PO BOX 171                                                                                     LAFE              AR    72436‐0171
HAROLD G ENGLERT                                   10202 STONE FALLS ROAD                                                                         DANSVILLE         NY    14437‐9596
HAROLD G ERICHS                                    716 CHEESE SPRING RD                                                                           NEW CANAAN        CT    06840‐2922
HAROLD G FLINN & SHIRLEY S FLINN JT TEN            1624 NW 145TH ST                                                                               EDMOND            OK    73013‐1741
HAROLD G GEARINGER                                 7417 CHASE ROAD                                                                                LIMA              NY    14485‐9404
HAROLD G GOGERT & GRACE P GOGERT JT TEN            723 LAKESHORE DRIVE #188                                                                       BEAVER DAM        WI    53916‐1433
HAROLD G GRIFFIN                                   4253 E 176TH STREET                                                                            CLEVELAND         OH    44128‐2639
HAROLD G GUSTAFSON & MRS BETTY J GUSTAFSON JT      115 MILLWOOD LANE                                                                              TONAWANDA         NY    14151
TEN
HAROLD G HARRISON                                  38298 W US HIGHWAY 210                                                                         RICHMOND          MO    64085‐2203
HAROLD G HAWKINS                                   1451 HARRISON POND DR                                                                          NEW ALBANY        OH    43054‐8503
HAROLD G HAYES                                     102 E 50TH ST                                                                                  LAGRANGE          IL    60525‐2926
HAROLD G HILL                                      PO BOX 2040                                                                                    ROSEBURGE         OR    97470‐0413
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HAROLD G HOFFMAN                                  12998 OXBRIDGE PLACE                                                                            FISHERS         IN    46037‐7293
HAROLD G JENKINS & VERNANDO M JENKINS JT TEN      11305 SHIRL CT                                                                                  CLINTON         MD    20735‐4142

HAROLD G KLENKE                                   1637 COUNTY RD 221                                                                              SCHULENBURG     TX    78956‐6015
HAROLD G LARR                                     2480 E 1000 S                                                                                   WARREN          IN    46792‐9411
HAROLD G LLOYD                                    8 CIRCLE STREET                                                                                 PERRYOPOLIS     PA    15473‐9802
HAROLD G LUELLEN                                  BOX 167                                112 E B ST                                               WILKINSON       IN    46186‐9671
HAROLD G MARCUM                                   931 NOVAL NW                                                                                    ALBUQUERQUE     NM    87114‐1727
HAROLD G MARTIN                                   5207 BLACKJACK CIRCLE                                                                           PUNTA GORDA     FL    33982‐9602
HAROLD G MARTIN JR                                8612 HEMLOCK COURT                                                                              YPSILANTI       MI    48198‐3219
HAROLD G OSBORNE                                  195 W 17TH ST                                                                                   OCEAN CITY      NJ    08226‐2925
HAROLD G OURS                                     248 DEER DR                                                                                     CHARDON         OH    44024‐9663
HAROLD G PARKER                                   127 MEADOW LANE                                                                                 CALHOUN         GA    30701‐2041
HAROLD G PIERCE                                   DAVID HWY 9412                                                                                  LYONS           MI    48851‐9768
HAROLD G PIERCE JR                                5340 BADGER ROAD                                                                                LYONS           MI    48851‐9759
HAROLD G PITTMAN                                  17032 SWAN CREEK RD                                                                             HEMLOCK         MI    48626‐8768
HAROLD G SCHUTZMAN & JUDITH SCHUTZMAN JT TEN      22 STEVEN STREET                                                                                PLAINVIEW       NY    11803‐3007

HAROLD G SOMMERFELDT                              1640 HEMMINGWAY CT                                                                              JANESVILLE      WI    53545‐8845
HAROLD G ULMER JR                                 468 KILDARE ST                                                                                  GILBERTS        IL    60136‐8915
HAROLD G WADE                                     5416 WALNUT ST                                                                                  OAKLAND         CA    94619‐3236
HAROLD G WELLS                                    6630 ANDERSON RD                                                                                HALE            MI    48739‐9073
HAROLD G WILSON                                   2604 CHEVY CHASE DR                                                                             JOLIET          IL    60435‐1212
HAROLD GALLICK & MARY C GALLICK JT TEN            1230 DOWNER ST                                                                                  LANSING         MI    48912‐4432
HAROLD GARSON & MRS MARGARET GARSON JT TEN        3425 CRESCENT ST                                                                                ASTORIA         NY    11106‐3917

HAROLD GEORGE GUSTAFSON                           115 MILLWOOD DR                                                                                 TONAWANDA       NY    14150‐5513
HAROLD GETZAN & DAISY B GETZAN JT TEN             16210 N ORCHARD HILLS DR                                                                        SUN CITY        AZ    85351‐1720
HAROLD GILBERT JONES JR                           818 HARBOR ISLAND DRIVE                                                                         NEWPORT BEACH   CA    92660‐7228
HAROLD GINGOLD CUST PETER MARKSON UGMA NY         1534 BROADWAY APT 208                                                                           HEWLETT         NY    11557‐1445

HAROLD GOLDSMITH                                  7873 HEATHERTON LN                                                                              POTOMAC         MD    20854‐3215
HAROLD GOODWIN                                    496 WEST COLONG RD                                                                              HAWLEY          PA    18428‐9722
HAROLD GORDON CROSBY                              165 FIG AVENUE                                                                                  AKRON           CO    80720‐1751
HAROLD GORDON WEBER                               11210 STATE ROUTE 108                                                                           WAUSEON         OH    43567‐9514
HAROLD GRAUBERGER & MRS VICTORIA GRAUBERGER       5384 N SYCAMORE                                                                                 BURTON          MI    48509‐1351
JT TEN
HAROLD GREENWALT & ELIZABETH GREENWALT JT TEN     166 DILWORTHTOWN RD                                                                             WEST CHESTER    PA    19382‐8369

HAROLD GRUNE                                      33 DE HALVE MAEN DR                                                                             STONY POINT     NY    10980‐2634
HAROLD GUTHRIE                                    2952 VINEGAR HILL RD                                                                            BEDFORD         IN    47421‐7925
HAROLD H BARNETT & ELEANOR S BARNETT JT TEN       610 ROGERS                                                                                      DOWNERS GROVE   IL    60515‐3757

HAROLD H BRAKHAGE                               9677 PEER RD                                                                                      SOUTH LYON      MI    48178‐8121
HAROLD H BRAYMAN JR                             8302 LORD FAIRFAX CT                                                                              VIENNA          VA    22182‐3761
HAROLD H BURTON                                 638 N TOMAHAWK RD                                                                                 APACHE JCT      AZ    85219‐4268
HAROLD H DVORAK                                 2005 TELEMARK LANE NW                                                                             ROCHESTER       MN    55901‐2496
HAROLD H EMMONS III                             520 MCPHERSON                                                                                     LANSING         MI    48915‐1160
HAROLD H GEERLING                               587 PINEVIEW DR                                                                                   HOLLAND         MI    49424‐2760
HAROLD H HARRINGTON & JULIA R HARRINGTON JT TEN 511 WESTVALE RD                                                                                   KANSAS CITY     KS    66102‐3952

HAROLD H HARTER                                   8356 COLEMAN RD                                                                                 HASLETT         MI    48840‐9317
HAROLD H HENRY                                    26551 MISTY WAY                                                                                 MATTAWAN        MI    49071‐8605
HAROLD H HIGGINS                                  6616 SHILOH WAY                                                                                 LANSING         MI    48917
HAROLD H KRINKE & HELEN J KRINKE TR UA 08/26/86   897 BRENNER AVE                                                                                 ST PAUL         MN    55113‐1905
HAROLD H KRINKE TRUST
HAROLD H KRUEGER                                  1511 KERN RD                                                                                    REESE           MI    48757‐9439
HAROLD H L RINKER & BONNIE C RINKER JT TEN        3118 WOODLAND HEIGHTS CIR                                                                       COLLEYVILLE     TX    76034‐4662
HAROLD H LACY                                     4330 DELHI DR                                                                                   DAYTON          OH    45432‐3412
                                            09-50026-mg                  Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit E
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HAROLD H MC GUIRE                                16838 ROBSON ST                                                                                                 DETROIT           MI    48235‐4047
HAROLD H MCCLAIN                                 2994 OLD STATE RD #37                                                                                           GREENWOOD         IN    46143‐9187
HAROLD H MORRIS III                              18 HEATHER LANE                                                                                                 WILLISTON         VT    05495‐8020
HAROLD H NIELSEN & MRS MABEL C NIELSEN JT TEN    1580 HORSESHOE DR                                                                                               FLORISSANT        MO    63033‐2524

HAROLD H RILEY JR                                809 SEYMOUR ROAD                                                                                                BEAR              DE    19701‐1121
HAROLD H SANOR & MARGARET M SANOR JT TEN         5271 ROCHESTER RD                                                                                               HOMEWORTH         OH    44634‐9515
HAROLD H SPEED JR                                110 KIMBALL LANE                                                                                                CHRISTIANSBURG    VA    24073‐4426
HAROLD H TIPOLT                                  2838 ORANGEGROVE                                                                                                WATERFORD         MI    48329‐2965
HAROLD H VANDERLIND                              2973 W BRANDON RIDGE DR NW                                                                                      GRAND RAPIDS      MI    49544‐7409
HAROLD H WADE                                    10335 CEMETERY RD                                                                                               BURBANK           OH    44214‐9621
HAROLD H WHORMS                                  3225 GREENBURN PL                      LOCUST HILL ON                                         L0H 1J0 CANADA
HAROLD H WYMBS                                   8802 FRAN DEL DR                                                                                                FT WASHINGTON     MD    20744‐3604
HAROLD H YACKEY & SUZANNE M YACKEY TR YACKEY     7647 CAPRICORN DR                                                                                               CITRUS HEIGHTS    CA    95610‐7553
FAM TRUST UA 07/06/95
HAROLD HABERMAN                                  13670 VIA FLORA                        APT A                                                                    DELRAY BEACH      FL    33484‐1649
HAROLD HAMME                                     106C FAITH DR                                                                                                   NEW OXFORD        PA    17350‐8522
HAROLD HAYNES                                    239 W COLUMBIA AVE                                                                                              BELLEVILLE        MI    48111‐2766
HAROLD HEADY                                     515 N ST                                                                                                        BEDFORD           IN    47421‐2121
HAROLD HECHT                                     1368 WARNER AVE                                                                                                 LOS ANGELES       CA    90024‐5126
HAROLD HIGGERSON JR                              1305 SCOTT ST                                                                                                   NEW MADRID        MO    63869‐1636
HAROLD HOWARD                                    1220 N TRUMBULL                                                                                                 BAY CITY          MI    48708‐6361
HAROLD I ALLEN                                   223 E MUSKEGON ST                                                                                               WHITEHALL         MI    49461‐1525
HAROLD I GACH & ROCHELLE D GACH JT TEN           10525 KINGSTON                                                                                                  HUNTINGTON        MI    48070‐1159
                                                                                                                                                                 WOODS
HAROLD I GLAZER & LYNN B GLAZER TEN ENT          2417 TANEY RD                                                                                                   BALTIMORE         MD    21209
HAROLD I MC KEE                                  845 DEER RUN BLVD                                                                                               PRUDENVILLE       MI    48651‐9201
HAROLD I TYLER & JEWEL D TYLER JT TEN            1250 MARGINA AVENUE                                                                                             DAYTON BEACH      FL    32114‐5946
HAROLD IGNATIUS WILLIAMS                         C/O F W HOLST & CO                     BOX 44 COLLINS ST W POST OFFICE   MELBOURNE VICTORIA   8007 AUSTRALIA
HAROLD IGNATIUS WILLIAMS EX UW HAROLD GEORGE     C/O F W HOLST & CO                     BOX 44 COLLINS ST W POST OFFICE   MELBOURNE VICTORIA   8007 AUSTRALIA
WILLIAMS
HAROLD ISADORE BENNETT & MARJORIE L BENNETT JT   900 CENTRAL ST                                                                                                  FRANKLIN          NH    03235‐2017
TEN
HAROLD J ABRAMS                                  2867 ASHLEY W DR                       APT B                                                                    WEST PALM BEACH FL      33415‐9307

HAROLD J APPLEGATE                               1204 COPPER CREEK DRIVE                                                                                         MECHANICSBURG     PA    17055‐1963
HAROLD J AUTEN                                   12038 6TH STREET                                                                                                BEAR LAKE         MI    49614‐9762
HAROLD J AVILA                                   3562 ARBORETUM CIRCLE                                                                                           CORONA            CA    91719‐3972
HAROLD J BAKER JR                                3139 ALEXANDRIA PIKE                                                                                            ANDERSON          IN    46012‐9207
HAROLD J BALL                                    1923 OAKFIELD                                                                                                   ORTONVILLE        MI    48462‐8875
HAROLD J BAUGHMAN                                1439 WOFFINGTON AVENUE                                                                                          DELTONA           FL    32725‐4634
HAROLD J BEACHNAU                                9416 BENROCK RD                                                                                                 SPRING HILL       FL    34608‐5617
HAROLD J BERK                                    PO BOX 173                                                                                                      DEAL              NJ    07723‐0173
HAROLD J BICKERS                                 447 BOBO RD                                                                                                     DALLAS            GA    30132‐3051
HAROLD J BRETHAUER                               4369‐C TAHITIAN GARDEN CIR                                                                                      HOLIDAY           FL    34691‐3748
HAROLD J CARSON                                  17 ALDON LANE                                                                                                   CINCINNATI        OH    45236‐3933
HAROLD J DAMBROGIA CUST DOUGLAS B DAMBROGIA      3128 SANDALWOOD CT                                                                                              LAFAYETTE         CA    94549‐5556
UGMA CA
HAROLD J DAMBROGIA CUST JEFFREY P DAMBROGIA      3128 SANDALWOOD CT                                                                                              LAFAYETTE         CA    94549‐5556
UGMA CA
HAROLD J DE LANGE                                PO BOX 172                                                                                                      GRANDMOUND        IA    52751‐0172
HAROLD J DEFEVER JR                              7606 SOUTH JEROME RD                                                                                            ASHLEY            MI    48806
HAROLD J DEGENHART JR                            17‐23 PUTNAM AVENUE                                                                                             RIDGEWOOD         NY    11385‐4119
HAROLD J EBERSOLE & MRS BEULAH B EBERSOLE TEN    119 LAFIYA DR                                                                                                   PALMYRA           PA    17078‐3639
ENT
HAROLD J ESKURI                                  19873 SILVER SPRING                                                                                             NORTHVILLE        MI    48167‐2508
HAROLD J FERGUSON                                PO BOX 78                                                                                                       HILTON            NY    14468‐0078
HAROLD J FIELDS                                  5102 WEST 72ND TERRACE                                                                                          PRAIRIE VILLAGE   KS    66208‐2419
HAROLD J FOLDENAUER                              8448 BERGIN ROAD                                                                                                HOWELL            MI    48843‐9032
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HAROLD J FRASER                             PO BOX 1209                                                                                            OAKWOOD           GA    30566‐0021
HAROLD J GAW                                1708 FOUNTAIN VIEW CIR                                                                                 VENICE            FL    34292‐2359
HAROLD J GORDON CUST EMMA COHEN GORDON      1001 DREXEL AVE                                                                                        DREXEL HILL       PA    19026
UTMA PA
HAROLD J GORDON CUST SARAH MALDONADO GORDON 1001 DREXEL AVE                                                                                        DREXEL HILL       PA    19026
UTMA PA
HAROLD J GRANT                              2020 CRESTAS AVE                                                                                       NORTH VERSAILLES PA     15137‐1305

HAROLD J GRANT SR & JOAN L GRANT JT TEN             2020 CRESTAS AVENUE                                                                            NORTH VERSAILLES PA     15137‐1305

HAROLD J HAYWOOD JR                                 12354 GREEN ROAD                      PO BOX 92                                                GOODRICH          MI    48438‐0092
HAROLD J HEFFELFINGER                               43 FISHER MILL STREAM RD                                                                       BERNVILLE         PA    19506‐8228
HAROLD J HENRY & IRENE L HENRY TR UA 04/02/92 THE   9507 HIDDEN VALLEY CIRCLE                                                                      SUN CITY          AZ    85351
HENRY TRUST
HAROLD J HERMAN                                     5201 TOMAHAWK RD                                                                               LOUISVILLE        KY    40207‐1687
HAROLD J HERSAM & EVELYN S HERSAM JT TEN            31 HIGH HILL DR                                                                                PITTSFORD         NY    14534‐2955
HAROLD J HESLOP                                     3173 ROTTERDAM DR                                                                              CLIO              MI    48420‐2318
HAROLD J HESLOP & BETTY B HESLOP JT TEN             3173 ROTTERDAM DR                                                                              CLIO              MI    48420‐2318
HAROLD J HEXIMER                                    349 EVANS ST APT 3                                                                             BUFFALO           NY    14221‐5638
HAROLD J HOOVER                                     PO BOX 783                                                                                     WORTHINGTON       OH    43085‐0783
HAROLD J HUFFMAN                                    3407 FOSTER AVE                                                                                BALTIMORE         MD    21224‐4106
HAROLD J JOHNSON                                    124 JERMAINE                                                                                   JONESVILLE        MI    49250‐9660
HAROLD J KELLEY                                     16 INTERVALE FARM LN                                                                           NORTHBOROUGH      MA    01532‐2746
HAROLD J KING                                       6530 W 634 HWY                                                                                 HAWKS             MI    49743
HAROLD J KLOEPPEL & MRS SHERRY A KLOEPPEL JT TEN    3725 LINDENWOOD LANE                                                                           GLENVIEW          IL    60025‐2508

HAROLD J KLOEPPEL TR HAROLD J KLOEPPEL TRUST UA     3725 LINDENWOOD LANE                                                                           GLENVIEW          IL    60025‐2508
04/29/97
HAROLD J KRAWCZAK & PATRICIA J KRAWCZAK JT TEN      82 E LINWOOD RD                                                                                LINWOOD           MI    48634‐9767

HAROLD J LANGSCHWAGER                               409 CROSBY LN                                                                                  ROCHESTER         NY    14612‐3149
HAROLD J LAUGHTER                                   PO BOX 955                                                                                     WASKOM            TX    75692
HAROLD J LITTLETON & MARIAN C LITTLETON JT TEN      2723 SHIPLEY RD                       APT 410                                                  WILMINGTON        DE    19810‐3246

HAROLD J MAAS                                   W224 N2791 STONEWOOD COURT                                                                         WAUKESHA          WI    53186‐1042
HAROLD J MAGEE                                  654 MADISON AVE                                                                                    ALBANY            NY    12208‐3604
HAROLD J MALAFF                                 44 CARRIAGE ROAD                                                                                   ROSLYN            NY    11576‐3118
HAROLD J MARCANO                                16 HORMAN ST                                                                                       NORTH BILLERICA   MA    01862‐2337
HAROLD J MCCONNELL & SHIRLEY A MCCONNELL JT TEN 36225 DRIVE 712                                                                                    TRENTON           NE    69044‐1781

HAROLD J MERTZ JR                                   19767 WOODSIDE                                                                                 HARPER WOODS      MI    48225‐2205
HAROLD J MERTZ JR & DIANE K MERTZ JT TEN            19767 WOODSIDE                                                                                 HARPER WOODS      MI    48225‐2205
HAROLD J MILLER                                     13120 NORTH LINDEN RD                                                                          CLIO              MI    48420‐8233
HAROLD J NUTT & ELIZABETH A NUTT JT TEN             5666 FIRETHORNE DR                                                                             BAY CITY          MI    48706‐5636
HAROLD J OLIVER                                     3146 N 60TH                                                                                    FAIRMONT CITY     IL    62201‐2404
HAROLD J PETERSEN & ANITA A PETERSEN JT TEN         603 SOUTH VERMONT                                                                              ROYAL OAK         MI    48067‐2940
HAROLD J PHILLIPS                                   4017 ENGLISH OAK DRIVE                                                                         DORAVILLE         GA    30340‐1312
HAROLD J PLISKA                                     10745 SE 240TH                                                                                 GRESHAM           OR    97080‐8710
HAROLD J POWERS JR                                  429 JEROME AVENUE                                                                              BURLINGTON        CT    06013‐2313
HAROLD J REED                                       5211 STRAWBERRY LAKE RD                                                                        WHITMORE LAKE     MI    48189‐9726
HAROLD J ROBERTS & MRS ROSE ANN ROBERTS JT TEN      410 CHERRY POINT DRIVE                                                                         LOUISVILLE        KY    40243‐1866

HAROLD J ROTZOLL                                    464 N PINE ST                                                                                  JANESVILLE        WI    53545‐3518
HAROLD J RUPRIGHT                                   8709 PINE CT                                                                                   CLIO              MI    48420‐7716
HAROLD J RYDAHL                                     6662 FENWICK RD                                                                                GREENVILLE        MI    48838‐9737
HAROLD J SAUNDERS FELICIA H SAUNDERS & ANDREA       324 MARLINSPIKE DR                                                                             SEVERNA PARK      MD    21146‐3309
SAUNDERS JT TEN
HAROLD J SCHARICH                                   3702 CHEROKEE ST                                                                               FLINT             MI    48507‐1913
HAROLD J SEDAM                                      6436 LUPINE DRIVE MEADOWOOD           III                                                      INDIANAPOLIS      IN    46224‐2045
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HAROLD J SKINNER                                  1212 BARNEY AV                                                                                 FLINT             MI    48503‐3203
HAROLD J SOLOMON                                  257 NORTH AVE                                                                                  ROCHESTER         NY    14626‐1053
HAROLD J SPEARS                                   6415 HUBBARD                                                                                   GARDEN CITY       MI    48135‐1700
HAROLD J STUART                                   191 MYSTIC LANE                                                                                ROCHESTER         NY    14623‐5424
HAROLD J TERNES & LORRAINE L TERNES JT TEN        7281 METZ DRIVE                                                                                SHELBY TWP        MI    48316‐1837
HAROLD J TIPPET & FRANCES M TIPPET JT TEN         RR 8 53453 CR‐1N                                                                               ELKHART           IN    46514‐9808
HAROLD J TRUMPY                                   8131 W STATELINE ROAD                                                                          WINSLOW           IL    61089‐9403
HAROLD J VAN VLIET & HELEN J VAN VLIET JT TEN     3934 MONTE CARLO DRIVE                                                                         KENTWOOD          MI    49512‐1831
HAROLD J WEISS TR UA 05/20/91 HAROLD J WEISS      144 BAXTER HEIGHTS CT                                                                          BALLWIN           MO    63011‐3893
TRUST
HAROLD J WHITE                                    24 BASS ROCKS ROAD                                                                             GLOUCESTER        MA    01930‐3276
HAROLD J WHITEMAN                                 1786 STABLE TRAIL                                                                              PALM HARBOR       FL    34685‐3304
HAROLD J WILLIAMS & HELEN M WILLIAMS JT TEN       1414 ENSENADA AVE                                                                              ORLANDO           FL    32825‐8312

HAROLD J WILSON                                   5401 COUNCIL RING BLVD                                                                         KOKOMO            IN    46902‐5487
HAROLD J WOLFORD                                  8452 IRISH RD                                                                                  GRAND BLANC       MI    48439‐7423
HAROLD JAMES                                      1100 PARK AVE                         APT 8C                                                   NY                NY    10128‐1202
HAROLD JENNINGS                                   PO BOX 13085                                                                                   FLINT             MI    48501‐3085
HAROLD JETT                                       1040 BRYN MAWR                                                                                 YOUNGSTOWN        OH    44505‐4204
HAROLD JOE TULL                                   1336 BRETTA ST                                                                                 JACKSONVILLE      FL    32211‐5241
HAROLD JOHN ROSENBROOK                            16708 CO RD 73                                                                                 ANTWERA           OH    45813
HAROLD JOHN WALLACE                               2537 68TH ST                                                                                   FENNVILLE         MI    49408‐8622
HAROLD JOHNSON                                    178 WHITE ROSE CT                                                                              LOGANVILLE        GA    30052‐8646
HAROLD JOHNSON                                    4212 W 91ST PL                                                                                 OAK LAWN          IL    60453‐1962
HAROLD JONES                                      1123 WEST 22ND STREET                                                                          LORAIN            OH    44052‐4613
HAROLD JORDAN                                     1024 COTTONWOOD CT                                                                             TROY              MO    63379‐2256
HAROLD JORGENSON                                  427 STAFFORD RD                                                                                JANESVILLE        WI    53546‐1921
HAROLD JOSEPH FRAZIER III                         35 NAUSET LN                                                                                   CENTERVILLE       MA    02632‐2823
HAROLD JOSEPH HEMINGWAY                           834 LELAND ST                                                                                  FLINT             MI    48507‐2434
HAROLD JOSEPH PETERSON                            2601 65TH AVE N                                                                                BROOKLYN CENTER   MN    55430‐2014

HAROLD JOSEPH SCHNEIDER                           1601 HYLAND ST                                                                                 LANSING           MI    48915‐1334
HAROLD K ACKER                                    36 W HURLEY RD                                                                                 WOODSTOCK         NY    12498‐1823
HAROLD K BARKDULL                                 4638 VILLAGE DR                                                                                ANDERSON          IN    46012‐9720
HAROLD K BUSH                                     5205 WINDRIDGE DR                                                                              INDPLS            IN    46226‐1447
HAROLD K BUTLER                                   2460 KETZLER DRIVE                                                                             FLINT             MI    48507‐1036
HAROLD K C HU & MRS ANNA M HU JT TEN              1438 ALA IOLANI ST                                                                             HONOLULU          HI    96819‐1435
HAROLD K CARMACK JR                               709 HOLIDAY DR                                                                                 FORTVILLE         IN    46040‐1138
HAROLD K COHEN CUST ALEXANDRA COHEN UGMA NY       181 E 65TH ST 21 B                                                                             NEW YORK          NY    10065

HAROLD K COHEN CUST JENNIFER COHEN UGMA NY        181 E 65TH ST #21B                                                                             NEW YORK          NY    10021‐6607

HAROLD K COLE                                     5853 LIVINGSTON DR                                                                             TOLEDO            OH    43613‐1707
HAROLD K ELMS                                     18700 5 FRANCY RD                                                                              PLEASANT HILL     MO    64080‐9512
HAROLD K FEARS JR CUST MAURA C FEARS UTMA AL      14047 CAMDEN CIRCLE                                                                            HUNTSVILLE        AL    35803‐3108

HAROLD K GAINER                                   ROUTE 2                                                                                        MONTROSE          WV    26283‐9802
HAROLD K GRIFFIN                                  17930 OAKDALE RD                                                                               ATHENS            AL    35613‐5925
HAROLD K KEHLENBACH & SUZANNE H KEHLENBACH JT     303 SWEETBRIAR DRIVE                                                                           CHILLICOTHE       IL    61523‐2225
TEN
HAROLD K MARPLE                                   242 ADAMS AVE                                                                                  PITMAN            NJ    08071‐2312
HAROLD K SIMPSON                                  7528 MAROON PEAK DR                                                                            RUSKIN            FL    33573‐0102
HAROLD K STAHL                                    5553 OSTER                                                                                     WATERFORD         MI    48327‐2760
HAROLD K STOCKMAN                                 4199 UNROE AVENUE                                                                              GROVE CITY        OH    43123‐1025
HAROLD KALB & FELICIA KALB JT TEN                 25 DOGWOOD AVE                                                                                 ROSLYN HARBOR     NY    11576‐1203
HAROLD KAM CHONG HU & ANNA MASAKO HU JT TEN       1438 ALA IOLANI ST                                                                             HONOLULU          HI    96819‐1435

HAROLD KARUN                                      16196 BRIDLEWOOD CIR                                                                           DELRAY BEACH      FL    33445‐6672
HAROLD KASSAB                                     BOX 279                                                                                        ROYAL OAK         MI    48068‐0279
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Name                                               Address1                              Address2             Address3          Address4          City            State Zip

HAROLD KENNETH BERG                             317 STEPHENSON ST                                                                                 SHREVEPORT      LA    71104‐4519
HAROLD KENT BAKER                               5816 EDSON LANE                                                                                   ROCKVILLE       MD    20852‐2933
HAROLD KIRKPATRICK                              400 W PALM ST                                                                                     COULTERVILLE    IL    62237‐1541
HAROLD KLEISS JR                                2735 HILLCREST                                                                                    WIXOM           MI    48393‐1232
HAROLD KUNESH JR                                09763 ASHPACHER RD                                                                                DEFIANCE        OH    43512‐9703
HAROLD L ADAMS                                  1155 ABERDEEN ST                                                                                  JACKSON         MS    39209‐7457
HAROLD L ADAMS                                  138 GOENS RD                                                                                      JACKSON         GA    30233
HAROLD L ALLEN                                  2764 SHAKERTOWN RD                                                                                BEAVERCREEK     OH    45434‐6114
HAROLD L ALLEN                                  3185 URSULA ST                                                                                    AURORA          CO    80011‐2010
HAROLD L ANDERSON                               9409 ALTA MONTE AVE N E                                                                           ALBUQUERQUE     NM    87111‐4712
HAROLD L ANDREWS                                6071 BETTCHER                                                                                     INDIANAPOLIS    IN    46228‐1217
HAROLD L ARTERBERRIE                            4048 CALKINS RD                                                                                   FLINT           MI    48532‐3508
HAROLD L ASHTON                                 26624 KIRKWAY CIR                                                                                 TRENTON         MI    48183‐1967
HAROLD L BANNISTER                              3310 NEVADA DR                                                                                    ANDERSON        IN    46012‐5521
HAROLD L BARRETT                                4391 CHATUGE DR                                                                                   BUFORD          GA    30519‐1865
HAROLD L BATES TOD KAREN L BATES SUBJECT TO STA 4126 GARDENIA DR                                                                                  STERLING HTS    MI    48314
TOD RULES
HAROLD L BATES TOD LINDA M BROWN SUBJECT TO STA 4126 GARDENIA DR                                                                                  STERLING HTS    MI    48314‐1233
TOD RULES
HAROLD L BATES TOD MICHAEL H BATES SUBJECT TO   4126 GARDENIA DR                                                                                  STERLING HTS    MI    48314‐1233
STA TOD RULES
HAROLD L BEEMAN                                 1449 WELLESLEY                                                                                    INKSTER         MI    48141‐1521
HAROLD L BELL JR                                654 E RANCH RD                           SPC 13                                                   QUEEN CREEK     AZ    85240‐9605
HAROLD L BOULTON                                11530 N HARDING                                                                                   HARRISON        MI    48625‐8677
HAROLD L BOULTON & MARTHA J BOULTON JT TEN      11530 W HARDING                                                                                   HARRISON        MI    48625‐8677

HAROLD L BOYLES                                    9B SPRING CREEK                                                                                CORTLAND        OH    44410‐1662
HAROLD L CLARK                                     12906 W BASE RD                                                                                NORMAN          IN    47264‐9762
HAROLD L COMBS                                     1517 EVERGREEN DR                                                                              JANESVILLE      WI    53546‐6175
HAROLD L COUNSELL                                  8537 SAGAMORE DR                                                                               CEDAR HILL      MO    63016
HAROLD L COURSON                                   263 E MENNONITE RD                                                                             AURORA          OH    44202‐7500
HAROLD L CROSS                                     1270 AIRPORT RD                                                                                WATERFORD       MI    48327‐1802
HAROLD L DENSON                                    921 N E 21ST                                                                                   OKLAHOMA CITY   OK    73105‐8225
HAROLD L DICKEY                                    1331 P AVENUE                                                                                  NEW CASTLE      IN    47362‐2376
HAROLD L DUHADWAY & GLORIA V DUHADWAY JT TEN       115 GRAMPIAN RD                                                                                ST LOUIS        MO    63137‐3802

HAROLD L EAKES                                     6657 TEMPLEHURST PL                                                                            ENGLEWOOD       OH    45322‐3769
HAROLD L EITNIEAR & HARRIETT L EITNIEAR JT TEN     203 VERMONTVILLE HWY                  BOX 561                                                  POTTERVILLE     MI    48876‐0561

HAROLD L FAULCONER JR                           PO BOX 3477                                                                                       WARRENTON       VA    20188‐8077
HAROLD L FAULCONER JR & DEBORAH W FAULCONER JT PO BOX 3477                                                                                        WARRENTON       VA    20188‐8077
TEN
HAROLD L FIELDS                                 3415 WALTON WY                                                                                    KOKOMO          IN    46902‐4121
HAROLD L FIELDS & JOYCE M FIELDS JT TEN         3415 WALTON WY                                                                                    KOKOMO          IN    46902‐4121
HAROLD L FIFIELD                                337 TURRIL AVE                                                                                    LAPEER          MI    48446‐2542
HAROLD L FIGI                                   1508 SHERMAN AVE                                                                                  JANESVILLE      WI    53545‐1970
HAROLD L FOLLEN                                 4121 S STATE RD                                                                                   DURAND          MI    48429‐9121
HAROLD L FOWLER                                 5330 CLARKS CREEK RD                                                                              MARTIN          GA    30557‐3915
HAROLD L FULLER TR HAROLD L FULLER LIVING TRUST 4649 AURAND RD                                                                                    OTTER LAKE      MI    48464‐9727
UA 11/18/04
HAROLD L GUY                                    902 N JENISON                                                                                     LANSING         MI    48915‐1313
HAROLD L HAHN                                   512 PLUM ST                                                                                       FRANKTON        IN    46044
HAROLD L HEADRICK II                            3357 GERMAN RD                                                                                    COLUMBIAVILLE   MI    48421‐8990
HAROLD L HENDRICKS JR                           1026 SLATER ST                                                                                    TOLEDO          OH    43612‐2804
HAROLD L HERVEY                                 2954 SEYMOUR DR                                                                                   DALLAS          TX    75229‐4931
HAROLD L HISAW JR                               54 GREEN PINES CIR                                                                                ST PETERS       MO    63376‐1998
HAROLD L HODSON                                 14301 MAIN ST                                                                                     DALEVILLE       IN    47334‐9362
HAROLD L HOLT                                   954 SALISBURY RD                                                                                  COLUMBUS        OH    43204‐1765
HAROLD L HOWARD                                 8538 WHITCOMB                                                                                     DETROIT         MI    48228‐2256
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HAROLD L HUBBARD                                79W KINNEY STREET                                                                            NEWARK          NJ    07102‐1126
HAROLD L HUGO                                   1594 S KNIGHT RD                                                                             MUNGER          MI    48747‐9703
HAROLD L HUNTER                                 3225 MEADOW RD                                                                               LEAVENWORTH     KS    66048‐4764
HAROLD L JOHNSON                                2252 WALNUT ST                                                                               WHITE PINE      TN    37890‐3708
HAROLD L JOHNSON & THELMA I JOHNSON JT TEN      3429 PINNACLE RD                                                                             DAYTON          OH    45418‐2918

HAROLD L KERMODE                                3027 EAST CURTICE LANE                                                                       PRINCETON       IN    47670
HAROLD L KNOPP                                  5177 CRESCENT RIDGE DR                                                                       CLAYTON         OH    45315‐9679
HAROLD L LEVY                                   APT E‐1                             2830 OCEAN AVE                                           BROOKLYN        NY    11235‐3121
HAROLD L LOCKWOOD JR                            4700 WEST VW AVE                                                                             SCHOOLCRAFT     MI    49087‐8762
HAROLD L LONG                                   2120 NORTH D ST                                                                              ELWOOD          IN    46036‐1635
HAROLD L LONG & FRIEDA M LONG JT TEN            8472 WOODRIDGE DR                                                                            DAVISON         MI    48423
HAROLD L LUCE                                   2102 GREENGOLD ST                                                                            JOLIET          IL    60435‐1730
HAROLD L MANNING JR                             BOX 442                                                                                      BETHEL          NC    27812‐0442
HAROLD L MARKS                                  600 W POPLAR AVE                    APT 345                                                  CARRBORO        NC    27510‐1647
HAROLD L MARSH                                  1530 ROXIE AVE                                                                               FAYETTEVILLE    NC    28304‐1616
HAROLD L MAYER                                  126 WILWOOD AVE                                                                              NEWARK          OH    43055‐4925
HAROLD L MC CLENDON                             2611 BLUEBERRY DR                                                                            AUGUSTA         GA    30906‐3639
HAROLD L MC ELWAIN                              312 JOHNSON DRIVE                                                                            ELLWOOD CITY    PA    16117
HAROLD L MC ELWAIN & HELEN B MC ELWAIN JT TEN   312 JOHNSON DRIVE                                                                            ELLWOOD CITY    PA    16117

HAROLD L MCCOY                                  643 S W BELMONT CIRCLE                                                                       PORT ST LUCIE   FL    34953‐6333
HAROLD L MERRIWETHER                            3481 BROOKSTREAM                                                                             BURTON          MI    48519‐2806
HAROLD L MINNE CUST SHEENA M MINNE UGMA NE      RR 3 BOX 180                                                                                 BROKEN BOW      NE    68822‐9561

HAROLD L MITCHELL                               426 MCBEE RD                                                                                 BELLBROOK      OH     45305‐8794
HAROLD L MOON JR                                BOX 55 RD 1 PEARSON DR                                                                       NEW WILMINGTON PA     16142‐0055

HAROLD L MORGAN                                 P O BOX 209                                                                                  WALNUT CREEK    OH    44687
HAROLD L MORRIS                                 5964 HIGHWAY 36 E                                                                            SOMERVILLE      AL    35670‐5337
HAROLD L NEWBERG                                819 2ND AVE CT BOX 35                                                                        HAMPTON         IL    61256‐0035
HAROLD L PEARSON                                5366 JOHNNY RD                                                                               BLACKSHEAR      GA    31516‐8171
HAROLD L PEASE                                  2448 MONTICELLO AVE N W                                                                      WARREN          OH    44485‐1813
HAROLD L PEASE                                  2448 MONTICELLO AVE NW                                                                       WARREN          OH    44485‐1813
HAROLD L POLLOCK                                725 RIDGE ROAD                                                                               GREENWOOD       IN    46142‐7361
HAROLD L RAYL & HELEN A RAYL TR RAYL TRUST      6138 LAKEVIEW LN                                                                             CASS CITY       MI    48726‐9012
12/12/94
HAROLD L RICHMAN                                APT 5 E                             317 WEST 89TH STREET                                     NEW YORK        NY    10024‐2143
HAROLD L RODARMER                               807 W OREGON ST                                                                              LAPEER          MI    48446‐1422
HAROLD L RUFF                                   3801 SCHLEE                                                                                  LANSING         MI    48910‐4434
HAROLD L RUGGLES                                234 JACKSON AVE                                                                              DEFIANCE        OH    43512‐2159
HAROLD L RUNKLE                                 3206 DRUCK VALLEY RD                                                                         YORK            PA    17406‐6927
HAROLD L RUSSELL                                1201 HORIZON COURT                                                                           GRANBURY        TX    76049‐1821
HAROLD L SAMMS                                  3245 LAKE RIDGE DR                                                                           MURRYSVILLE     PA    15668‐1572
HAROLD L SARNER CUST MICHAEL SARNER UNDER MO    312 N BRENTWOOD BLVD UNIT 10                                                                 SAINT LOUIS     MO    63105‐3775
TRANSFERS TO MINORS LAW
HAROLD L SCHMIDT                                418 OLD ORCHARD RD                                                                           CHERRY HILL     NJ    08003
HAROLD L SCHOTT                                 9038 N 100 EAST                                                                              ALEXANDRIA      IN    46001‐8339
HAROLD L SCOTT                                  609 CHRISTINA COURT                                                                          VENICE          FL    34285‐6015
HAROLD L SCOTT & MARGARET J SCOTT JT TEN        609 CHRISTINA COURT                                                                          VENICE          FL    34285‐6015
HAROLD L SEGERS                                 3013 PONDEROSA LANE NE                                                                       THOMSON         GA    30824
HAROLD L SHARP                                  451 OLIVET DRIVE                                                                             ELYRIA          OH    44035‐2931
HAROLD L SLETTEN                                8426 RATHBURN AVE                                                                            NORTHRIDGE      CA    91325‐3716
HAROLD L SLOPPY                                 56 MAYER AVE                                                                                 BUFFALO         NY    14207‐2129
HAROLD L SMITH                                  3093 BESSIE                                                                                  AUBURN HILLS    MI    48326‐3601
HAROLD L STOUT                                  PO BOX 1201                                                                                  MANSFIELD       OH    44901‐1201
HAROLD L STRICKLAND                             1213 HIGHPOINT ROAD                                                                          ALBERTVILLE     AL    35950‐2519
HAROLD L TROUT                                  1241 ROCKY BRANCH ROAD                                                                       HARRISBURG      IL    62946‐5158
HAROLD L TUFFORD                                3390 E LAKE RD                                                                               CLIO            MI    48420‐7931
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HAROLD L VANN                                  599 ABERDEEN CT                                                                                 ORANGE PARK       FL    32073‐4230
HAROLD L WIENKE JR                             59 CHAPEL ST                                                                                    LOCKPORT          NY    14094‐3071
HAROLD L WILLMAN                               11441 TERRY AVE                                                                                 BRIDGTON          MO    63044‐3337
HAROLD L WRIGHT                                520 E SILVER ST                                                                                 KNIGHTSTOWN       IN    46148‐1061
HAROLD L ZETTLER                               7373 FLAMINGO                                                                                   ALGONAC           MI    48001‐4133
HAROLD L ZIBELL                                1320 SW 27TH STREET                    G‐48                                                     TOPEKA            KS    66611‐2611
HAROLD LANSMAN CUST SYDNEY LANSMAN U/THE       ATTN SYDNEY LANSMAN BRYAN              5335 SHARPS POINT RD                                     SALISBURY         MD    21801‐9600
MARYLAND U‐G‐M‐A
HAROLD LATHROP TR HAROLD LATHROP TRUST UA UA 160 SANTA FE LANE                                                                                 WILLOW SPRINGS    IL    60480‐1199
02/18/03
HAROLD LAVERNE WORKMAN                         470 ASHLEY DR                                                                                   GRAND BLANC       MI    48439‐1553
HAROLD LAWRENCE FELDMAN                        14902 PRESTON RD                       STE 404                                                  DALLAS            TX    75254‐9105
HAROLD LEGG SR                                 1676 ELM DR                                                                                     AVON              OH    44011‐1473
HAROLD LEO NAU                                 1116 BOATFIELD                                                                                  FLINT             MI    48507‐3608
HAROLD LEROY MCCARTY                           2516 W CONLEY AV                                                                                ANAHEIM           CA    92804‐3311
HAROLD LEVINE & MRS ADELINE LEVINE JT TEN      99 BRAKETT ST APT 622                                                                           QUINCY            MA    02169
HAROLD LEVINSON                                11 EVANS CIR                                                                                    POQUOSON          VA    23662‐1605
HAROLD LINDAMOOD JR                            5900 49TH AVE N                                                                                 KENNETH CITY      FL    33709‐3503
HAROLD LITT                                    19 HUTTON LN                                                                                    MARCUS HOOK       PA    19061‐1337
HAROLD LLOYD ANDREWS                           2650 PARMENTER RD                                                                               CORUNNA           MI    48817‐9568
HAROLD LLOYD GAGNON                            24910 MINNETONKA                                                                                KANSASVILLE       WI    53139‐9539
HAROLD LLOYD MC CUTCHEON                       1460 SPENCER AVE                                                                                CORYDON           IN    47112‐2224
HAROLD LOOMIS                                  STN A BOX 1854                                                                                  RUTLAND           VT    05701‐1854
HAROLD LYONS                                   1265 VELTRE CIR SW                                                                              ATLANTA           GA    30311‐3129
HAROLD M ADAMS                                 5151 BURNSIDE RD                                                                                NORTH BRANCH      MI    48461‐8947
HAROLD M BAKER                                 3821 GRIMWOOD DR                                                                                SHELBY            OH    44875‐1738
HAROLD M CALDWELL                              504 WW 22TH ST                                                                                  SEMINOLE          TX    79360
HAROLD M COOK & ELIZABETH E COOK JT TEN        6429 S STRAITS HWY                                                                              INDIAN RIVER      MI    49749‐9337
HAROLD M CURRY                                 7657 VAMOCO DRIVE                                                                               WATERFORD         MI    48327‐3699
HAROLD M GEORGE CUST JONATHAN M GEORGE UTMA 17951 ALTA DR                                                                                      VILLA PARK        CA    92861‐1201
CA
HAROLD M GIBBS                                 4416 BROOKHAVEN AVE                                                                             LOUISVILLE        KY    40220‐3619
HAROLD M GREEN                                 PO BOX 534                                                                                      ELSIE             MI    48831‐0534
HAROLD M HALLMAN III                           1600 PIKELAND RD                                                                                CHESTER SPRINGS   PA    19425‐1010
HAROLD M HALLMAN JR                            1600 PIKELAND RD                                                                                CHESTER SPRINGS   PA    19425‐1010
HAROLD M HALLMAN JR & CYNTHIA B HALLMAN JT TEN 1600 PIKELAND RD                                                                                CHESTER SPRINGS   PA    19425‐1010

HAROLD M JANKE                                  6927 COLT CIRCLE                                                                               WEST BEND         WI    53090‐9326
HAROLD M JOHNSON                                31907 DONNELLY                                                                                 GARDEN CITY       MI    48135‐1407
HAROLD M KAPLAN                                 PO BOX 536                                                                                     LA GRANGE         GA    30241‐0009
HAROLD M KEATON                                 5997 STATE ROUTE 656                                                                           MARENGO           OH    43334‐9720
HAROLD M KRUEGER                                10745 N MILFORD RD                                                                             HOLLY             MI    48442‐9167
HAROLD M LAVRAR & KAY M LAVRAR JT TEN           3707 TALL OAKS                                                                                 TOLEDO            OH    43614‐5017
HAROLD M LEE & MILDRED C LEE JT TEN             2424 SEDGEFIELD LANE                                                                           MONTGOMERY        AL    36106‐3319
HAROLD M LEWIS SR                               411 WALNUT ST UNIT 3599                                                                        GREEN COVE        FL    32043‐3443
                                                                                                                                               SPRINGS
HAROLD M MARTIN                                 23648 PLUMBROOKE DR                                                                            SOUTHFIELD        MI    48075‐3242
HAROLD M MEYERS                                 2120 SAVANNA DR                                                                                JANESVILLE        WI    53546‐1151
HAROLD M NELSON JR                              1142 JARRETT DR                                                                                LEWISTON          NY    14092‐2027
HAROLD M SCHAPERKOTTER                          2031 TEKONSHA ST SE                                                                            GRAND RAPIDS      MI    49506‐5352
HAROLD M SCHAPERKOTTER                          2031 TEKONSHA DR SE                                                                            GRAND RAPIDS      MI    49506‐5352
HAROLD M WALL                                   9278 JEROME ST                                                                                 RAVENNA           OH    44266‐9440
HAROLD M WALSH                                  980 7TH ST NW                         LOT 26                                                   LARGO             FL    33770‐1152
HAROLD M WELBES                                 15429 OPORTO ST                                                                                LAVONIA           MI    48154‐3244
HAROLD M ZWISLER JR                             6712 BROADWAY                                                                                  GUTTENBERG        NJ    07093‐3216
HAROLD MALAKINIAN & BETTY MALAKINIAN JT TEN     2345 FOREST TRAIL DR                                                                           TROY              MI    48098‐3670

HAROLD MANDEL                                   665 NE 178TH TERR                                                                              N MIAMI BEACH     FL    33162‐1128
HAROLD MANION                                   416 FOREST VIEW DR                                                                             BEDFORD           IN    47421‐5219
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HAROLD MC CREARY                                    202 MEADOW BROOK DR                                                                             CORBIN           KY    40701‐6521
HAROLD MCCLANAHAN                                   592 99TH AVE N                                                                                  NAPLES           FL    34108‐2228
HAROLD MCCRACKEN                                    4918 MERLOT XING                                                                                FORT WAYNE       IN    46845‐8816
HAROLD MCKENZIE                                     5538 SAND HILL RD                                                                               POLAND           IN    47868‐7011
HAROLD MILDENBERGER                                 BOX 630                                                                                         HAMILTON         MT    59840‐0630
HAROLD MILLER                                       1612 S ADAMS ST                                                                                 PEORIA           IL    61602‐1712
HAROLD MILLER & PEGGY MILLER JT TEN                 1443 AVON ST                                                                                    SAGINAW          MI    48602
HAROLD MILLER & VIRGINIA MILLER JT TEN              3745 9TH PL                                                                                     VERO BEACH       FL    32960‐6136
HAROLD MOHRLOK                                      1018 EAST 44TH ST                                                                               AUSTIN           TX    78751‐4420
HAROLD MONROE SCHAFF                                309 LAMONT DR                                                                                   BUFFALO          NY    14226‐2249
HAROLD MORISETT                                     23448 MICHELE CT                                                                                CLINTON TWP      MI    48036‐2925
HAROLD MULHERIN JR                                  RT 6 BOX 274F                                                                                   SAVANNAH         GA    31410‐3604
HAROLD MUNROW & GLADYS MUNROW JT TEN                118 JASPER BRAGG RD                                                                             EDMONTON         KY    42129
HAROLD MURPHY                                       2 KAY TERR                                                                                      ROCHESTER        NY    14613‐2409
HAROLD N BOWEN                                      37W171 WINHAVEN DR                                                                              ELGIN            IL    60124
HAROLD N CLEMENS JR CUST DAVID P CLEMENS UGMA       402 S TURBOT AVE                                                                                MILTON           PA    17847‐2221
PA
HAROLD N GARNER                                     517 PARK AVE                                                                                    SALISBURY        NC    28144‐4537
HAROLD N LIBERMAN TR HAROLD LIBERMAN TRUST UA       7748 W BRUNS RD                                                                                 MONEE            IL    60449‐9583
05/17/00
HAROLD N ROOKE & BARBARA S ROOKE JT TEN             3709 SUMMER PLACE                                                                               VIRGINIA BEACH   VA    23456‐2112
HAROLD N WALTON                                     14909 HOLMUR ST                                                                                 DETROIT          MI    48238‐2141
HAROLD N ZELTT & MARILYN H ZELTT JT TEN             1303 MOON DR                                                                                    YARDLEY          PA    19067‐3228
HAROLD NEERENBERG                                   6389 REFECTION POINT CIRCLE                                                                     BOYNTON BEACH    FL    33437‐4163
HAROLD NELSON & WANDA L NELSON JT TEN               3261 MC KINLEY                                                                                  DEARBORN         MI    48124‐3678
HAROLD NICHOLSON                                    761 CLAUDE RD                                                                                   HIAWASSEE        GA    30546‐3009
HAROLD NICHOLSON JR                                 6203 W 30TH ST                                                                                  SPEEDWAY         IN    46224‐3025
HAROLD NOBILE                                       1026 GARDEN ST                                                                                  HOBOKEN          NJ    07030‐4303
HAROLD O BECK                                       704 S SCHOOL                                                                                    DESLOGE          MO    63601‐3636
HAROLD O BURT                                       BOX 2196 N HWY 113                                                                              CARROLLTON       GA    30117‐7304
HAROLD O FELLOWS                                    109 N TERRACE ST                                                                                JANESVILLE       WI    53548‐3567
HAROLD O JOITKE                                     3241 W FISHER                                                                                   BAY CITY         MI    48706‐3225
HAROLD O KUNDE & CAROL A KUNDE TR UA 08/24/89       2270 C R 15                                                                                     MOUNTAIN HOME    AR    72653
HAROLD O KUNDE TRUST
HAROLD O MC DANIEL JR                               8960 E CTY RD 16                                                                                HARTFORD         AL    36344‐9569
HAROLD O NIEDERJOHN                                 4201 HOLT RD                                                                                    WENTZVILLE       MO    63385‐6145
HAROLD O PHILLIPS & MRS REBECCA G PHILLIPS JT TEN   153 WHIPPOORWILL DRIVE                                                                          OAK RIDGE        TN    37830‐8646

HAROLD O PHILLIPS & NORMA J PHILLIPS JT TEN         14203 N SEYMOUR ROAD                                                                            MONTROSE         MI    48457‐9711
HAROLD O WILSON                                     30 E 5TH ST                                                                                     SHELBY           MI    49455‐1106
HAROLD O WRIGHT JR                                  9127 S WALL LAKE ROAD                                                                           DELTON           MI    49046‐9684
HAROLD OSCAR PHILLIPS                               14203 N SEYMOUR                                                                                 MONTROSE         MI    48457‐9711
HAROLD OTTO GLASSLEE                                974 ROBINHOOD LANE                                                                              GRAYLING         MI    49738‐9189
HAROLD OVERTON & STEPHANIE CLINTON JT TEN           435 2ND AVE W                                                                                   E NORTHPORT      NY    11731‐3403
HAROLD P CLARK                                      1601 SPRING GATE DR                    UNIT 1410                                                MC LEAN          VA    22102‐3462
HAROLD P DOYLE                                      4447 ELMWOOD                                                                                    ROYAL OAK        MI    48073‐1519
HAROLD P FESSLER & MRS DORIS M FESSLER TEN ENT      602 N BROAD ST                         APT B504                                                 LANSDALE         PA    19446‐2372

HAROLD P JENSON                                     720 KNIGHT DRIVE                                                                                MILFORD          MI    48381‐1114
HAROLD P LEWIS                                      3364 ARDEN NOLLOILLE ROAD                                                                       INWOOD           WV    25428
HAROLD P MCKEEHAN                                   7360 TOWNSHIPLINE RD                                                                            WAYNESVILLE      OH    45068‐9527
HAROLD P MESCHI JR                                  133 HUTCHINSON BLVD                                                                             SCARSDALE        NY    10583‐5742
HAROLD P NITCH                                      47 WOODLAWN TERRACE                                                                             CEDAR GROVE      NJ    07009‐1519
HAROLD P PORTER & ANN S CAREY JT TEN                232 LAKE ST                                                                                     WALTHAM          MA    02451‐0835
HAROLD P QUINLAN                                    2447 HADLEY RD                                                                                  LAPEER           MI    48446‐9789
HAROLD P RADKE                                      17024 TREMLETT                                                                                  CLINTON TWP      MI    48035‐2384
HAROLD P REMPERT JR                                 3006 WOODBERRY LN                                                                               ELLICOTT CITY    MD    21042‐2577
HAROLD P STOIBER                                    12810 CHERRY TREE LANE                                                                          NEW BERLIN       WI    53151‐7606
HAROLD P STOIBER & ROBERTA J STOIBER JT TEN         12810 W CHERRYTREE LN                                                                           NEW BERLIN       WI    53151‐7606
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HAROLD P SULLIVAN                               4 DORIAN DRIVE                                                                                  BRADFORD         MA    01835
HAROLD PARNES                                   30 OAK RIDGE RD                                                                                 MONTAGUE         NJ    07827‐3432
HAROLD PERRY                                    3705 S 57TH AVE                                                                                 CICERO           IL    60804‐4317
HAROLD PHILLIPS                                 5407 LITCHFIELD DR                                                                              FLINT            MI    48532‐4040
HAROLD PROUTY & RUTH M PROUTY JT TEN            8008 W 400N                                                                                     PENNVILLE        IN    47369‐9564
HAROLD PRUNTY                                   1929 SOUTHERNWOOD LN                                                                            INDIANAPOLIS     IN    46231‐5215
HAROLD PUCKETT JR & FRANCES M PUCKETT & ROBERT 5 SPRUCE ST                                                                                      BARRINGTON       RI    02806‐1520
T PUCKETT JT TEN
HAROLD Q BROTHERS                               3331 WESTWARD RD                                                                                SPENCER          IN    47460‐7505
HAROLD R ANDERSEN                               PO BOX 431                                                                                      BEMUS POINT      NY    14712‐0431
HAROLD R ARMSTRONG                              207 PENNSYLVANIA AVE                   PO BOX 397                                               AVONDALE         PA    19311‐0397
HAROLD R BIRK                                   5995 DU BOIS                                                                                    VASSAR           MI    48768‐9608
HAROLD R BLEYLE                                 PO BOX 64                                                                                       DRYDEN           MI    48428‐0064
HAROLD R BRACEFUL                               17130 AVON AVE                                                                                  DETROIT          MI    48219‐4129
HAROLD R BRICKMAN                               6053 W 59TH ST                                                                                  CHICAGO          IL    60638‐3553
HAROLD R BRUECHERT & THERESA A BRUECHERT JT TEN 3380 MAPLEWOOD DR N                                                                             WANTAGH          NY    11793‐3421

HAROLD R BURDETT TR UA 07/20/93 HAROLD R         2105 WASATCH DR                                                                                SALT LAKE CITY   UT    84109‐1440
BURDETT TRUST
HAROLD R CARLBERT                                9031 COLLINSVILLE RD                                                                           COLLINSVILLE     MS    39325‐9123
HAROLD R CHOWN                                   2878 SUNSET CIR                                                                                METAMORA         MI    48455‐9725
HAROLD R CLARK                                   11117 FRANCIS RD                                                                               FLUSHING         MI    48433‐9224
HAROLD R CLARK                                   PO BOX 541                                                                                     HEDGESVILLE      WV    25427‐0541
HAROLD R CLARK & MRS MARGARET J CLARK JT TEN     11117 W FRANCES RD                                                                             FLUSHING         MI    48433‐9224

HAROLD R CLARKE                                  75 SOLEE RD                                                                                    PALM COAST       FL    32137‐2759
HAROLD R COLE                                    1707 SHERIDAN NE                                                                               WARREN           OH    44483‐3537
HAROLD R COLEMAN                                 9145 PINE HILL CT                                                                              SALINE           MI    48176‐9459
HAROLD R COUGHENOUR                              1069 MISSISSIPPI AVE                                                                           PITTSBURGH       PA    15216‐1721
HAROLD R COURT & PATRICIA B COURT TEN ENT        R D 1 310 HIGHLAND RD                                                                          WEST CHESTER     PA    19382‐1939
HAROLD R COX                                     2711 HILTON DR                                                                                 DAYTON           OH    45409‐1754
HAROLD R DAVIS & JOYCE P DAVIS JT TEN            350 CHAPMAN WAY                                                                                LEXINGTON        OH    44904‐1080
HAROLD R DEPLAE                                  68667 STOECKER LN                                                                              RICHMOND         MI    48062‐7002
HAROLD R DUKES                                   ROYAL PALMS                           200 LAKE AVE NE APT 421                                  LARGO            FL    33771
HAROLD R EBRIGHT III                             BOX 10147                                                                                      S LAKE TAHOE     CA    96158‐3147
HAROLD R EDDY                                    1815 LAKE CIRCLE DR E                                                                          SAGINAW          MI    48609‐9480
HAROLD R EVERSON                                 6036 LUCAS RD                                                                                  FLINT            MI    48506‐1218
HAROLD R FAULKNER                                542 MELROSE DR                                                                                 NEW WHITELAND    IN    46184‐1217
HAROLD R FELDMAN                                 7563 S SAULSBURY COURT                                                                         LITTLETON        CO    80128‐5455
HAROLD R FERGUSON & KAREN L FERGUSON JT TEN      1793 CARTERS CREEK PIKE                                                                        COLUMBIA         TN    38401‐1320

HAROLD R FIKE                                     204 KINGS GRANT RD                                                                            LUGOFF           SC    29078‐9422
HAROLD R FLANIGAN                                 4115 OLD HOG MT RD                                                                            HOSCHTON         GA    30548
HAROLD R FREELAND                                 812 HYACINTH LANE                                                                             PEACHTREE CITY   GA    30269‐3954
HAROLD R FREEMAN & EMMA H FREEMAN JT TEN          793 MAYJO CT                                                                                  CINCINNATI       OH    45224‐1753
HAROLD R GABIANELLI & MRS BARBARA F GABIANELLI JT 1086 HUNTINGTON TPKE                                                                          BRIDGEPORT       CT    06610‐1033
TEN
HAROLD R GRAY                                     20827 NORWALK BLVD UNIT 35                                                                    LAKEWOOD         CA    90715‐1597
HAROLD R GRIFFITH & KAREN A GRIFFITH & HAROLD R 257 W RAILROAD AVE                                                                              COTATI           CA    94931‐9609
GRIFFITH JR JT TEN
HAROLD R HALE & RITA L HALE JT TEN                1627 OHIO AVE                                                                                 MCKEESPORT       PA    15131‐2113
HAROLD R HALEY                                    4908 38 WAY S#401                                                                             ST PETERSBURG    FL    33711‐4844
HAROLD R HAND & MRS GRETA G HAND JT TEN           1888 ROYAL LYTHAM CT                                                                          PORTORANGE       FL    32128‐6700
HAROLD R HAYES                                    14940 NE 214 CT                                                                               SALT SPRINGS     FL    32134‐7124
HAROLD R KELLEY                                   3555 GUTHRIE RD                                                                               DAYTON           OH    45418‐2611
HAROLD R KERBER                                   979 COLLINS AVE                                                                               YOUNGSTOWN       OH    44515‐3310
HAROLD R KOOPS                                    1660 MONTEREY RD                     APT 9E                                                   SEAL BEACH       CA    90740‐5228
HAROLD R KORTE                                    7A121 APACHE DR                                                                               APPLE RIVER      IL    61001‐9730
HAROLD R LOCKE                                    304 W ELIZABETH ST                                                                            EATON RAPIDS     MI    48827‐1744
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HAROLD R LYDICK                                7017 FREDA ST                       APT 15                                                   DEARBORN        MI    48126‐1964
HAROLD R MANBECK JR                            7200 S E WOODSTOCK                  APT 24                                                   PORTLAND        OR    97206‐5883
HAROLD R MARSHALL                              5755 GROVE PLAACE XING SW                                                                    LILBURN         GA    30047‐8601
HAROLD R MCCOY                                 1826 MAPLETON DRIVE                                                                          DALLAS          TX    75228‐3743
HAROLD R MCKAY                                 1409 MILL CREEK DR                                                                           WATERFORD       MI    48327‐3091
HAROLD R MENSIOR                               PO BOX 1141                                                                                  MORFREESBORO    TN    37133‐1141
HAROLD R MEREDITH                              PO BOX 606                                                                                   MASON           MI    48854‐0606
HAROLD R MILLER                                712 AIRPORT RD                                                                               BROWNSBURG      IN    46112‐1904
HAROLD R NEELEY                                1401 S BYRON ROAD                                                                            LENNON          MI    48449‐9621
HAROLD R PATRICK                               15825 GROVE RD                                                                               LANSING         MI    48906‐9355
HAROLD R PERKINS                               8416 JENINGS RD                                                                              OLMSTED TWP     OH    44138‐1006
HAROLD R POOLE                                 6514 SAGE ST                                                                                 DORAVILLE       GA    30340‐1737
HAROLD R PROVINS & JUDITH M PROVINS JT TEN     8850 NW 173RD ST                                                                             FANNING SPGS    FL    32693‐9219
HAROLD R PROVOLT                               4036 WOODWORTH                                                                               DEARBORN        MI    48126‐3448
HAROLD R REID                                  3271 JOHNSON ROAD                                                                            MOORESTOWN      MI    49651‐9736
HAROLD R SANDERCOCK                            ATTN ROBIN MCDONALD                 1840 FRANKLIN WY                                         QUAKERTOWN      PA    18951‐2059
HAROLD R SHIMP                                 7263 BRIDLESPUR LN                                                                           DELAWARE        OH    43015‐7992
HAROLD R SMETHILLS JR                          2450 EAST ALAMEDA AVE #9                                                                     DENVER          CO    80209‐3346
HAROLD R SPERLING                              5091 M SPLENDIDO CT                                                                          BOYNTON BEACH   FL    33437‐2196
HAROLD R STEWART                               2400 E BASELINE AVE 142                                                                      APACHE JCT      AZ    85219
HAROLD R STRELING                              2329 FOX HILL DRIVE                                                                          STERLING HGTS   MI    48310‐3553
HAROLD R VANNATTA                              270 N 500 W                                                                                  ANDERSON        IN    46011‐1462
HAROLD R VOWELL                                1778 GLASGOW ROAD                                                                            BOWLING GREEN   KY    42101‐9519
HAROLD R WAHL                                  135 QUEEN AVE                                                                                PENNSVILLE      NJ    08070‐1536
HAROLD R WESTFALL                              2545 TRANSIT ROAD                                                                            NEWFANE         NY    14108‐9506
HAROLD R WISEMAN                               171 SOUTH ST                                                                                 LOCKPORT        NY    14094‐4637
HAROLD R WOEHLECKE                             5018 E CENTENARY RD                                                                          MOORESVILLE     IN    46158‐6861
HAROLD R YURK                                  3386 ANDREA                                                                                  CLIO            MI    48420‐1903
HAROLD RABIN & MRS NANCY RABIN JT TEN          3124 NINA                                                                                    WILMETTE        IL    60091‐2941
HAROLD REDDING EMO                             APT 7                               3274 SENECA ST                                           WEST SENECA     NY    14224‐4901
HAROLD REED OGROSKY                            5402 MIDDLETON RD                                                                            DURHAM          NC    27713‐1743
HAROLD REYNOLDS                                16366 SHELBY DR                                                                              BROOKPARK       OH    44142‐1969
HAROLD ROBERT GRONNERUD                        BOX 25                              LEWVAN SASKATEWAN                      S0G 2Z0 CANADA
HAROLD ROBERT MERTZ                            1035 LEISURE DRIVE                                                                           FLINT           MI    48507‐4058
HAROLD RODRIGUEZ                               35 FENELEY CT                                                                                PONTIAC         MI    48342‐2021
HAROLD ROSSMOORE CUST ERICA ROSSMOORE UGMA 6548 PLEASANT LAKE CT                                                                            W BLOOMFIELD    MI    48322‐4708
MI
HAROLD ROSSMOORE CUST ERICA ROSSMOORE UTMA 1850 ORION RD                                                                                    OAKLAND         MI    48363‐1833
MI
HAROLD ROSSMOORE CUST MATTHEW RODGERS UGMA 6548 PLEASANT LAKE CT                                                                            W BLOOMFIELD    MI    48322‐4708
MI
HAROLD ROSSMOORE CUST MATTHEW RODGERS UTMA 1850 ORION RD                                                                                    OAKLAND         MI    48363‐1833
MI
HAROLD ROWE AUSTIN JR TR HAROLD ROWE AUSTIN JR 64 BATES RD                                                                                  SWAMPSCOTT      MA    01907‐2659
TRUST UA 08/02/95
HAROLD S BRECKENRIDGE TR UA 02/27/92 HAROLD S  4228 MARCY ST                                                                                OMAHA           NE    68105‐1036
BRECKENRIDGE TRUST
HAROLD S CLARK                                 1640 MAHONING AVE NW                                                                         WARREN          OH    44483‐2007
HAROLD S COHEN                                 11 RIVERWOOD ROAD                                                                            KINGSTON        NH    03848‐3125
HAROLD S COHEN & A RHODA COHEN JT TEN          11 RIVERWOOD ROAD                                                                            KINGSTON        NH    03848‐3125
HAROLD S GREEN                                 PO BOX 54248                                                                                 JACKSONVILLE    FL    32245‐4248
HAROLD S GRIFFIN                               28285 TAVISTOCK TRL                                                                          SOUTHFIELD      MI    48034‐5184
HAROLD S HOFFMAN                               231 CLARE ROAD                                                                               MANSFIELD       OH    44906‐1363
HAROLD S HOFFMAN & ANN M HOFFMAN TR HOFFMAN 907 FOUR HILLS RD SE                                                                            ALBUQUERQUE     NM    87123‐4337
LIV TRUST UA 01/30/97
HAROLD S JACKSON & MRS LOIS B JACKSON JT TEN   808 SIXTH AVE                       APT 1                                                    WATERVLIET      NY    12189‐3617

HAROLD S JOHNSEN                               45692 CATALPA BLVD                                                                           MACOMH          MI    48044‐6005
HAROLD S JONES                                 BOX 303                                                                                      RAYMOND         ME    04071‐0303
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HAROLD S KEMP TR UA 01/10/92 HAROLD S KEMP         1811 SOUTH HARLAN CIRCLE              UNIT 205                                                 LAKEWOOD         CO    80232‐7093
REVOCABLE TRUST
HAROLD S MADDOX                                    1780 WEST CARIBAEA TRAIL                                                                       SE ATLANTA       GA    30316‐4442
HAROLD S MC FARLAND & AILEEN MC FARLAND JT TEN     310 AVALON DR                                                                                  MANSFIELD        OH    44906‐2730

HAROLD S MEYERS                                    6901 W STOLL RD                                                                                LANSING          MI    48906‐9376
HAROLD S MOWL                                      5120 SOUTH VASSAR RD                                                                           GRAND BLANC      MI    48439‐9176
HAROLD S MURPHY & MARIAN L MURPHY TR MURPHY        1105 RACHEL CIR                                                                                ESCODIDO         CA    92026‐2150
FAM TRUST UA 09/20/94
HAROLD S OBRIEN & MRS ARLENE V OBRIEN JT TEN       5532 DUFFIELD ROAD                                                                             SWARTZ CREEK     MI    48473‐8604

HAROLD S ROGERS JR                                 20311 N LARKMOOR DR                                                                            SOUTHFIELD       MI    48076
HAROLD S ROSS CUST BRADLEY J ROSS UGMA NY          23 LAKE LACOMA DRIVE                                                                           PITTSFORD        NY    14534‐3954
HAROLD S STAFFORD                                  1983 MIAMI TRL                                                                                 HUNTINGTON       IN    46750‐4181
HAROLD S WEST                                      711 HAINES AVE                                                                                 ALLIANCE         OH    44601‐2815
HAROLD S WILLETT                                   4955 E HARVARD AVE                                                                             CLARKSTON        MI    48348‐2233
HAROLD S WINN                                      18 BEDFORD DR                                                                                  WILIMINGTON      DE    19809‐3302
HAROLD SCHEFDORE TR UA 01/15/94 HAROLD             470 S NORTHWEST HIGHWAY                                                                        PARKRIDGE        IL    60068‐4965
SCHEFDORE 1994 TRUST
HAROLD SCHLEGEL                                    1132 BELLERIVE BLVD                                                                            ST LOUIS         MO    63111‐2133
HAROLD SCHMECK & LOIS SCHMECK JT TEN               32 SEAPINE RD                                                                                  N CHATHAM        MA    02650‐1014
HAROLD SCHOCK                                      27 COPPERFIELD RD                                                                              SCOTCH PLAINS    NJ    07076‐1531
HAROLD SCOTT DUNLOP JR                             604 HURON ST                                                                                   SHREVEPORT       LA    71106‐1652
HAROLD SHOPE                                       4435 LESTON AVE                                                                                HUBER HEIGHTS    OH    45424‐5946
HAROLD SIEGEL & MONA SIEGEL JT TEN                 242 E 72ND ST                                                                                  NEW YORK         NY    10021‐4574
HAROLD SIEGEL CUST DENNIS E SIEGEL A MINOR U/THE   10563 N W 3RD PL                                                                               CORAL SPRINGS    FL    33071‐7907
LAWS OF GEORGIA
HAROLD SIMINGTON & JOANNE SIMINGTON JT TEN         1219 ALDER TREE WAY                                                                            SACRAMENTO       CA    95831‐3957

HAROLD SONODA                                      1147 PARAKEET PLACE                                                                            VISTA            CA    92083‐3028
HAROLD STEVENS LAMM                                113 HOWARD DR                                                                                  SCHERTZ          TX    78154‐1009
HAROLD STROBEL                                     15228 FISH POINT ROAD SE                                                                       PRIOR LAKE       MN    55372‐1945
HAROLD T BILLINGS                                  PO BOX 83                                                                                      INDEPENDENCE     VA    24348‐0083
HAROLD T BLAIR                                     1121 CLAYBERG RD                      LOT 54                                                   GREENWICH        OH    44837‐9640
HAROLD T CALVERT                                   1786 TODDS CHAPEL ROAD                                                                         GREENWOOD        DE    19950‐1908
HAROLD T COX                                       2958 BOLD SPRINGS ROAD                                                                         DACULA           GA    30019‐1640
HAROLD T DRAKE                                     8061 BOULDER DR                                                                                DAVISON          MI    48423‐8641
HAROLD T DUBE                                      283 E PUCE RD #1                      BELLE RIVER ON                         N0R 1A0 CANADA
HAROLD T ECKERT                                    20 HI‐POINT DR                                                                                 LOCKPORT         NY    14094‐5009
HAROLD T FERNANDEZ                                 2719 GREENACRE DR                                                                              SEBRING          FL    33872‐4328
HAROLD T HARMON & ELIZABETH K HARMON JT TEN        19100 WOODHILL ROAD                                                                            FREDERRICKTOWN   OH    43019‐8603

HAROLD T JOHNSON                                  11575 FREMANTLE DR                                                                              CINCINNATI       OH    45240‐2635
HAROLD T KING & LILLIE M KING JT TEN              5400 BARLEY CT                                                                                  MUNCIE           IN    47304‐5925
HAROLD T KOEBEL                                   12599 BARNES RD                                                                                 BYRON            MI    48418‐8945
HAROLD T KOLHAGEN                                 591 SOUTH 2ND AVE                                                                               CLARION          PA    16214‐1429
HAROLD T KUEHNEMUND                               1437 S FINN                                                                                     MUNGER           MI    48747‐9301
HAROLD T LAWSON                                   22 LOXLEY LN                           # 6B                                                     HARTLY           DE    19953‐3023
HAROLD T POLLARD                                  21335 LOS PALMOS ST                                                                             SOUTHFIELD       MI    48076‐5554
HAROLD T RANKIN & IRENE H RANKIN TR RANKIN LIVING 214 MAIN STREET                        PO BOX 217                                               ELDERTON         PA    15736‐0217
TRUST UA 7/20/01
HAROLD T RONEY                                    280 MT OLIVET RD                                                                                OXFORD           PA    19363‐2051
HAROLD T SPEARS JR TR UA 11‐01‐06 HAROLD T SPEARS P O BOX 1528                                                                                    LAKELAND         FL    33802
JR LIVING TRUST
HAROLD T STEWART JR & IRENE S STEWART TEN ENT     413 SOUTH KAYWOOD DRIVE                                                                         SALISBURY        MD    21804‐8763

HAROLD T WELCH                                     3970 BRONSON LAKE RD                                                                           LAPEER           MI    48446‐9092
HAROLD T YOUNCE & RUTH M YOUNCE JT TEN             33854 AUSABLE DR                                                                               CHESTERFIELD     MI    48047
HAROLD THILL                                       231 SUMMIT DR                                                                                  FREDONIA         WI    53021‐9448
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HAROLD V CHALMERS                                2051 PIONEER TRL                      LOT 39                                                   NEW SMYRNA       FL     32168‐8078
                                                                                                                                                BEACH
HAROLD V HAMMETT                                 2287 S CENTER RD                      APT 207                                                  BURTON           MI     48519‐1137
HAROLD V JONES                                   4401 BOOT BAY RD                                                                               PLANT CITY       FL     33567‐1311
HAROLD V PRICE                                   707 WILLOWCREST LANE                                                                           GALION           OH     44833‐3170
HAROLD V RUFER                                   2950 AIRPORT ROAD SPACE 25                                                                     CARSON CITY      NV     89706‐1122
HAROLD V SCHWARTZ                                5805 WILLIAMSBURG DRIVE                                                                        HIGHLAND HEIGHTS OH     44143‐2021

HAROLD V SCOLLIN JR CUST WAYNE F SCOLLIN UGMA CA 825 KENTIA AVE                                                                                 SANTA BARBARA     CA    93101‐3910

HAROLD V SILVER                                  11 RITCHFIELD CT                                                                               ROCKVILLE         MD    20850‐3028
HAROLD V WININGER                                2318 OLD FELKER RD                                                                             ENGLISH           IN    47118‐6524
HAROLD VANHOOSER                                 3613 ROOSEVELT                                                                                 DEARBORN          MI    48124‐3681
HAROLD VICTOR GILL                               687 HICKORY PINE DR                                                                            WHITELAND         IN    46184‐9399
HAROLD W APPLEGATE                               8490 KINGBIRD LOOP                    APT 920                                                  FORT MYERS        FL    33967‐5778
HAROLD W ATTRIDGE                                459 PROSPECT ST                                                                                NEW HAVEN         CT    06511‐2101
HAROLD W BABCOCK JR                              PO BOX 125                                                                                     MADISON HEIGHTS   VA    24572‐0125

HAROLD W BABCOCK JR                              WEBB'S SPORTING SHOP                  PO BOX 125                                               MADISON HEIGHTS VA      24572‐0125

HAROLD W BENSON                                  11675 BEACONSFIELD X                                                                           DETROIT           MI    48224‐1134
HAROLD W BLISS                                   10724 WOODLAND DRIVE                                                                           HOUGHTON LAKE     MI    48629‐9179
HAROLD W BRITTING                                10465 KITCHEN RD                                                                               DAVISON           MI    48423‐9110
HAROLD W BRONDUM                                 144 EDGEMONT AVE                                                                               VALLEJO           CA    94590‐3508
HAROLD W BULGER JR                               17706 STONEBROOK DR                                                                            NORTHVILLE        MI    48167‐4329
HAROLD W BYRD                                    117 QUAIL CV                                                                                   SEARCY            AR    72143‐8000
HAROLD W CLARK JR                                1692 TIVOLI ST                                                                                 REDLANDS          CA    92374‐4744
HAROLD W DUMAS                                   3506 IMPERIAL                                                                                  MIDLAND           TX    79707‐5709
HAROLD W DUNCKLE                                 607 W BARNES AV                                                                                LANSING           MI    48910‐1420
HAROLD W ELLIS                                   322 MIRALESTE DR 188                                                                           SAN PEDRO         CA    90732‐6040
HAROLD W EVANS JR & ROBERTA E EVANS JT TEN       7415 LEIGH ROAD                                                                                WARRENTON         VA    20186‐7621
HAROLD W FAY & IRENE F FAY JT TEN                9820 51ST AVE                                                                                  OAKLAWN           IL    60453‐3053
HAROLD W FERRELL                                 3070 RADCLIFF RD                                                                               GADSDEN           AL    35907‐7935
HAROLD W FITZWATER                               111 LOUISE RD                                                                                  NEW CASTLE        DE    19720‐1721
HAROLD W FURLONG                                 2315 NEWBERRY                                                                                  WATERFORD         MI    48329‐2341
HAROLD W FUSON                                   7431 HALF CIRCLE CT                                                                            CINCINNATI        OH    45230‐2111
HAROLD W GREGORY                                 11494 MOORE AVE                                                                                ROMULUS           MI    48174‐3823
HAROLD W GRUSCHOW                                2681 OSAKA DRIVE                                                                               CLEARWATER        FL    33764‐1010
HAROLD W HARPER                                  180 MUSE ST                                                                                    FALLING WATERS    WV    25419‐3644
HAROLD W HARRISON                                PO BOX 1237                                                                                    BARNSIDE          KY    42519‐1237
HAROLD W HARVIE                                  2107 DURBAN CT                                                                                 VIERA             FL    32955‐6502
HAROLD W HAWKS                                   342 PALISADE DR                                                                                CAMDEN            AR    71701‐3126
HAROLD W HESELTON                                2209 GLEGHORN                                                                                  WEST PLAINS       MO    65775‐1714
HAROLD W HOUCK                                   PO BOX 1676                                                                                    CLAYTON           GA    30525‐1676
HAROLD W HOWELL                                  253 RICHTER ST                                                                                 RIVER ROUGE       MI    48218‐1667
HAROLD W HUGHES                                  1121 FASHION AVE                                                                               CINCINNATI        OH    45238‐4208
HAROLD W HULETT                                  870 OAKWOOD DR 211                                                                             ROCHESTER         MI    48307‐1368
HAROLD W JEWELL                                  5592 BROOKS HWY                                                                                ONSTED            MI    49265‐9558
HAROLD W JONES & ELINOR J JONES JT TEN           128 E KELLER ST                                                                                TOPTON            PA    19562‐1212
HAROLD W KING                                    9157 ANN‐MARIA BOULEVARD                                                                       GRAND BLANC       MI    48439‐8015
HAROLD W LEAVITT JR                              11834 N 31ST                                                                                   ELWOOD            IN    46036‐9765
HAROLD W LEE                                     236 OAKEN BUCKET DR                                                                            TEMPLE            GA    30179‐5603
HAROLD W LEMLEY                                  604 WYOMING AVE                                                                                NILES             OH    44446‐1054
HAROLD W LUKKARI                                 51677 HICKORY LN                                                                               MACOMB            MI    48042‐3525
HAROLD W MAGILL                                  2432 MALVERN AVE                                                                               DAYTON            OH    45406‐1946
HAROLD W MEDLEY                                  17411 NORTH LAWN                                                                               DETROIT           MI    48221‐2550
HAROLD W MILLS                                   2007 FAIRVIEW WAY                                                                              GREENVILLE        NC    27858‐5326
HAROLD W MITCHELL                                4404 WOODRIDGE DR                                                                              SANDUSKY          OH    44870‐7341
HAROLD W NELSON                                  4723 N HARTEL RD                      LOT 61                                                   POTTERVILLE       MI    48876‐9751
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HAROLD W ORTWINE & AUDREY ORTWINE JT TEN       44100 STASSEN ST                                                                                   NOVI               MI    48375‐1656
HAROLD W PIATT                                 490 MAPLE DR                                                                                       NEWTON FALLS       OH    44444‐9717
HAROLD W PLUMMER CUST VALERIE C PLUMMER UGMA 2625 CHESAPEAKE BLVD                                                                                 NORFOLK            VA    23509‐1761
VA
HAROLD W POLHAMUS TR HAROLD W POLHAMUS         4090 BLUE HERON DR                                                                                 AUBURN HILLS       MI    48326
LIVING TRUST 10/21/92
HAROLD W RECTOR                                8018 PARKVIEW                                                                                      KANSAS CITY        KS    66109‐1157
HAROLD W RECTOR                                615 STONER DRIVE                                                                                   ANDERSON           IN    46013‐3623
HAROLD W REUTER                                4364 HADLEY RD                                                                                     METAMORA           MI    48455‐9636
HAROLD W ROARK                                 1301 KANSAS AVE                                                                                    SAINT CLOUD        FL    34769‐5921
HAROLD W ROETH & MONIQUE W ROETH TR HAROLD W 36 HICKORY DR                                                                                        SLINGERLANDS       NY    12159‐9352
ROETH TRUST UA 10/16/96
HAROLD W RUTAN                                 1191 MIDNIGHT RD                                                                                   INMAN              SC    29349
HAROLD W SCHMIDT                               C/O HAROLD D SCHMIDT                      8748 TIMBER TRL                                          FAPPLANO           MI    48623‐9542
HAROLD W SCHNEIDER & SANDRA J SCHNEIDER JT TEN 632 CRAWFORD ST                                                                                    FLINT              MI    48507‐2459

HAROLD W SCHWARTZ                                 2379 OCEAN AVE                                                                                  RONKONKOMA         NY    11779‐6539
HAROLD W SIEGMAN                                  2720 ALDER CREEK DR S                  APT 1                                                    N TONAWANDA        NY    14120‐1051
HAROLD W SIMPSON                                  2806 HWY 31 NORTH                                                                               MARBURY            AL    36051‐3003
HAROLD W STEWART                                  135 FORREST DR                                                                                  MARION             AR    72364‐2143
HAROLD W STEWART & AELCIDEAN L STEWART JT TEN     135 FORREST DR                                                                                  MARION             AR    72364‐2143

HAROLD W STREITENBERGER & MRS PATRICIA L          27 TECUMSEH DR                                                                                  CHILLICOTHE        OH    45601‐1154
STREITENBERGER JT TEN
HAROLD W STURKEY JR & MARY STURKEY JT TEN         17336 SNOWDEN                                                                                   DETROIT            MI    48235‐4150
HAROLD W SYLVA JR & CARLA J SYLVA JT TEN          3598 LAKESHORE                                                                                  GLADWIN            MI    48624
HAROLD W THOMPSON                                 2415 HARTSUFF                                                                                   SAGINAW            MI    48601‐1570
HAROLD W TRENCH                                   C/O 1218 KENSINGT AVE                                                                           FLINT              MI    48503‐5377
HAROLD W VANDENBOSS                               3290 GRAFTON ST                                                                                 LAKE ORION         MI    48359‐1121
HAROLD W WAHLERS III                              5293 FM 306                                                                                     NEW BRAUNFELS      TX    78132‐3502
HAROLD W WHITT                                    208 HILLSIDE LN                                                                                 NEW TAZEWELL       TN    37825‐2553
HAROLD WADE CAIN                                  717 HOLLAN CT                                                                                   MOREHEAD           KY    40351‐1435
HAROLD WAYNE MCPEAKE & CHRISTIE GAIL CLARK JT     55 MCPEAKE RD                                                                                   REAGAN             TN    38368‐6252
TEN
HAROLD WAYNE RATH                                 33495 FOLLMAN WAY                                                                               LAKE ELSINORE      CA    92530‐6103
HAROLD WEBER                                      PO BOX 944                                                                                      GREENFIELD         IN    46140‐0944
HAROLD WEHRHAGEN JR                               12 WINTON ROAD                                                                                  EAST BRUNSWICK     NJ    08816‐4195
HAROLD WEISS CUST MARC WEISS UGMA NY              APT 870                                1 BALINT DRIVE                                           YONKERS            NY    10710‐3912
HAROLD WHEELER AMAN JR                            PO BOX 118                                                                                      KIMBERTON          PA    19442‐0118
HAROLD WHEELER AMAN JR & PATRICIA J AMAN JT TEN   PO BOX 118                                                                                      KIMBERTON          PA    19442‐0118

HAROLD WHITEHEAD                                  1318 MAYAPPLE AVE                                                                               DAYTON             OH    45432‐1510
HAROLD WIESSGERBER                                1561 3RD ST                                                                                     WEST BABYLON       NY    11704
HAROLD WILLIAM SMITH JR                           26 LANDOVER LN                                                                                  WEYERS CAVE        VA    24486‐2451
HAROLD WINIFRED HEMBREE                           941 EASTERN AVE                                                                                 SUNMAN             IN    47041‐7121
HAROLD WOODS                                      4102 N ARLINGTON                                                                                INDIANAPOLIS       IN    46226‐4821
HAROLD Z WOLFE JR                                 1076 WOODBURN RD                                                                                SPARTANBURG        SC    29302‐2864
HAROLD ZUNK                                       53 LAKE SHORE ROAD                                                                              GORDONVILLE        TX    76245‐3309
HAROLDINE HOLLY HESS                              1237 SAN FERNANDO DR                                                                            SALINAS            CA    93901‐3802
HAROLYN R GUMESON                                 3740 DORAL DR                                                                                   LONGMONT           CO    80503‐3665
HAROOTUNE MANOIAN                                 36954 MUNGER                                                                                    LIVONIA            MI    48154‐1636
HAROUTOUN EMRIKIAN & LOUCINE EMRIKIAN JT TEN      9322 PARK HEIGHTS BLVD                                                                          GARFIELD HEIGHTS   OH    44125‐2343

HARRELDEAN OREN                                   1012 N MILL                                                                                     FAIRMOUNT          IN    46928‐1044
HARRELL D POST                                    59151 EAST 100 RD                                                                               MIAMI              OK    74354‐4538
HARRELL E GREEN                                   405 NW WOODLAND RD                                                                              RIVERSIDE          MO    64150‐9445
HARRELL L BALCH                                   30736 QUINKERT                                                                                  ROSEVILLE          MI    48066‐1649
HARRELL LEE WIDENER                               711 CAMELLIA ST                                                                                 BAINBRIDGE         GA    39819‐4727
HARRELL R HICKS                                   3334 WINTERFIELD DR                                                                             WARREN             MI    48092‐2216
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HARRIET A AARHUS                                  4740 WOODVIEW DR N E                                                                            CEDAR RAPIDS       IA    52411‐6735
HARRIET A BABCOCK & MILDRED B WOLFE JT TEN        167 DARLING RD                                                                                  KEENE              NH    03431‐4940
HARRIET A BECKHAM‐LEE                             12865 FOLLY QUARTER RD                                                                          ELLICOTT CITY      MD    21042‐1273
HARRIET A DAVISON                                 251 LENORA AVE NW                                                                               GRAND RAPIDS       MI    49504‐4940
HARRIET A GUILLAUME                               508 E WALNUT ST                                                                                 AKRON              IN    46910‐9483
HARRIET A HOUCK TR UA 7/18/91 HARRIET A HOUCK     316 GRAPE ST                                                                                    VACAVILLE          CA    95688‐2612

HARRIET A OTTO                                    158 SKY MEADOW DRIVE                                                                            STAMFORD           CT    06903‐3406
HARRIET A REMEZ & STANLEY M REMEZ JT TEN          143 VILLA STREET                                                                                MOUNT VERNON       NY    10552‐3042
HARRIET AGNES BIENIECKI & VALERIAN JOHN BIENIECKI 841 N PLACITA DUQUESA                  APT B                                                    VAIL               AZ    85641‐2009
JT TEN
HARRIET ANNE HAYNES                               132 VIRGINIA ST                                                                                 WATERLOO           NY    14052
HARRIET AUSTIN                                    8045 HARTWELL                                                                                   DETROIT            MI    48228‐2740
HARRIET B HABEL                                   3110 BEAUFORT ST                                                                                RALEIGH            NC    27609‐6908
HARRIET B HEDLEY & ROBERT O HEDLEY TR UA 06/03/88 1111 AVONDALE RD                                                                                SAN MARINO         CA    91108‐1137
HEDLEY FAMILY TRUST
HARRIET B MESTREZAT                               810 PARADISE WAY                                                                                SARASOTA           FL    34242‐1827
HARRIET B MILLARD                                 454 DOUGLAS CT                                                                                  WHITEWATER         WI    53190‐1627
HARRIET B WAY CUST EMILY ELIZABETH WAY UGMA NY 10 COOLIDGE AVE                                                                                    GLENS FALLS        NY    12801‐2604

HARRIET BARTLETT                                  20403 REVERE ST                                                                                 DETROIT          MI      48234‐1751
HARRIET BLOODWORTH                                735 PELHAM PARKWAY N                                                                            BRONX            NY      10467‐9507
HARRIET BOWIE                                     242 MAIN RD                                                                                     PHIPPSBURG       ME      04562‐4146
HARRIET BRANDT                                    25209 ARDEN PARK DRIVE                                                                          FARMINGTON HILLS MI      48336‐1617

HARRIET BROTMAN                                   859 JEFFREY ST #508                                                                             BOCA RATON         FL    33487‐4136
HARRIET BROWN TOD JARED WICK                      715 MAIDEN CHOICE LANE                 HARBOR VIEW 317                                          CATONSVILLE        MD    21228‐5999
HARRIET BUCKBEE & KEVINBUCKBEE & STEVE BUCKBEE    28160 COUNTY ROAD 33                                                                            UTICA              MN    55979‐4124
JT TEN
HARRIET C DICKLER TR HARRIET C DICKLER TRUST UA   10100 CYPRESS COVE DR                  APT 204                                                  FT MEYERS          FL    33908‐7651
7/07/99
HARRIET C DINEGAR                                 PO BOX 21734                                                                                    JUNEAU             AK    99802‐1734
HARRIET C HORVATH                                 599 MEADOW LAKE                                                                                 CANTON             MI    48188
HARRIET CHAMBERLAIN                               365 N MAIN ST UNIT111                  W LEBANON                                                WEST LEBANON       NH    03784
HARRIET D FULLER                                  1563 MT HAPE RD                                                                                 LEWISTON           NY    14092‐9720
HARRIET D GOLDMAN                                 150 BROWNING AVE                                                                                ELIZABETH          NJ    07208
HARRIET D LEWANDOWSKI & RONALD J LEWANDOWSKI      701 WALKER DR                                                                                   LEWISTON           NY    14092‐1847
JT TEN
HARRIET D SPARKS                                  262 WHITE SCHOOL ROAD                                                                           GREENSBURG         PA    15601
HARRIET D SYKES                                   34 S ELBA RD                                                                                    LAPEER             MI    48446‐2739
HARRIET DAVIDSON EX UW FLORENCE R DAVIDSON        8709 LOWELL ST                                                                                  BETHESDA           MD    20817‐3217

HARRIET DAY JETT                                  802 WESLEY DR NW                                                                                ATLANTA            GA    30305‐3925
HARRIET DOWLER & PHYLLIS LAJEUNESSE JT TEN        61 HIGHLAND CIRCLE                                                                              HAMPDEN            MA    01036
HARRIET E BAUM SILVERMAN                          1914 DEEP VALLEY DR                                                                             RICHARDSON         TX    75080‐3108
HARRIET E BROWN                                   734 EMORY VALLEY RD                    RM 159                                                   OAK RIDGE          TN    37830
HARRIET E BUECHNER                                43 ROSELYN DRIVE #179                                                                           PITTSFIELD         MA    01201‐5937
HARRIET E CAULFIELD                               364 GROVE ST                                                                                    RAHWAY             NJ    07065‐2526
HARRIET E GAGNON                                  10721 MT VERNON                                                                                 TAYLOR             MI    48180‐3160
HARRIET E KRACHT TR HARRIET E KRACHT REVOCABLE    42509 MAYHEM                                                                                    STERLING HEIGHTS   MI    48314‐3640
TRUSTUA 11/14/96
HARRIET E LEW                                     49 LAKEVIEW PL                                                                                  IOWA CITY          IA    52240‐9162
HARRIET E RYAN                                    1380 SHARP ST                                                                                   LAKE ORION         MI    48362
HARRIET ELIZABETH BENNETT                         6956 LAKEVIEW DRIVE                                                                             HUBBARD LAKE       MI    49747‐9629
HARRIET F R JENSEN                                SNERLEVEJ 11                           4180 SORO                              DENMARK
HARRIET FERGUSON                                  HADDO RANCH                            3571 KINNEY CREEK RD                                     JACKSONVILLE       OR    97530‐9309
HARRIET FLESHER CUST CHERYL FLESHER UGMA MN       1463 WINDSOR LANE                                                                               SHAKOPEE           MN    55379‐8069
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HARRIET FLESHER CUST GREGORY FLESHER UGMA MN      14185 CHERRYWOOD DRIVE                                                                         BAXTER             MN    56425

HARRIET FREEMAN CUST MARSHALL C FREEMAN UGMA 1109 MAPLEKREST DR                                                                                  FLINT              MI    48532‐2229
MI
HARRIET FRIEDMAN TR UA 09/27/1994 HARRIETFRI       5471 DEERFIELD VILLAGE DR                                                                     W BLOOMFIELD       MI    48322
EDMAN TRUST
HARRIET G CHINN                                    PO BOX 1236                                                                                   WASAW              VA    22572‐1236
HARRIET G HOWELL                                   50137 HELFER BLVD                                                                             WIXOM              MI    48393‐3227
HARRIET H BYRNE                                    129 AYERS POINT RD                                                                            OLD SAYBROOK       CT    06475
HARRIET H CAWLEY                                   1601 ANCROFT CT                                                                               TRINITY            FL    34655‐7201
HARRIET H GRAZIADIO                                24 LEEWOOD CIRCLE                    APT 6L                                                   EASTCHESTER        NY    10707‐1910
HARRIET H HANZAKOS TR HARRIET H HANZAKOS TR UA 804 MICHAUX LANE                                                                                  GROSSE POINTE      MI    48236‐1404
4/26/72                                                                                                                                          SHRS
HARRIET H KENDRICK                                 4291 RIVER CHASE                                                                              TALLAHASSEE        FL    32308‐2718
HARRIET H RITTENHOUSE MARSH & WILLIAM C            76 E CARDINAL STREET                                                                          WHEELING           WV    26003‐2665
RITTENHOUSE JT TEN
HARRIET HENDERSON                                  C/O HARRIET PATERSON                 1 INDIGO PLACE                                           ENTERPRISE         AL    36330‐8110
HARRIET J ALBERTSON                                9612 ADELINE AVE                                                                              GARDEN GROVE       CA    92841‐3803
HARRIET J BOISVERT TR HARRIET J BOISVERT REVOCABLE 4022 SW 35TH ST                                                                               TOPEKA             KS    66614‐3623
TRUST UA 03/21/02
HARRIET J GREEN                                    16540 EVERGREEN RD                                                                            DETROIT            MI    48219‐3353
HARRIET J KUDER & THOMAS J KUDER JT TEN            11406 STONEY FALLS DRIVE                                                                      HOUSTON            TX    77095‐4885
HARRIET J MEARS TR UA 09/28/94 1994 MEARS FAMILY 1016 ANDOVER ST                                                                                 LAWRENCE           KS    66049
LIVING TRUST
HARRIET J PACE & JOHN F PACE JT TEN                387 E 3RD STREET                                                                              LOVELL             WY    82431‐2112
HARRIET J PIATASIK                                 342 WESTGATE ROAD                                                                             KENMORE            NY    14217‐2212
HARRIET J PORTZ & H CRAIG PORTZ TR HARRIET J PORTZ 107 WINDINGS LANE                                                                             FORT THOMAS        KY    41075‐2163
TRUST UA 03/13/91
HARRIET J SHEAR & L NEAL FREEMAN M D & MARSHALL 1109 MAPLE KREST DRIVE                                                                           FLINT              MI    48235
C FREEMAN JT TEN
HARRIET J YORKE                                    51 W CABIN HOLLOW RD                 UNIT 6                                                   DILLSBURG          PA    17019‐9777
HARRIET JACKSON                                    2469 NAVARRE RD                                                                               COLUMBUS           OH    43207‐2111
HARRIET JOANN WILSON                               20090 ANKENTOWN RD                                                                            FREDERICKTOW       OH    43019‐9729
HARRIET JOHANSEN                                   APT 302                              1506 NORTHBROOK DR                                       NORMAL             IL    61761‐1127
HARRIET K ORTLUND & LEANNE J TILTON JT TEN         1065 TURKINGTON TERRACE                                                                       ROCHELLE           IL    61068‐1731
HARRIET KONARZEWSKI                                12242 CANTERBURY DRIVE                                                                        STERLING HEIGHTS   MI    48312‐3106

HARRIET KRIVIT                                    3 1/2 FRANKLIN ST                                                                              NANTUCKET          MA    02554‐2114
HARRIET L BARRICK                                 57 TOAD LANE                                                                                   RINGOES            NJ    08551‐1022
HARRIET L BRILLIANT                               37 BEECHAM COURT                                                                               OWINGS MILLS       MD    21117
HARRIET L CONNOLLY & SHARON L FREENY JT TEN       2100 NE 140TH STREET APT 305E                                                                  EDMOND             OK    73013‐5529
HARRIET L DAVEY TR HARRIET L DAVEY REVOCABLE      6260 N FARMINGTON                                                                              WESTLAND           MI    48185‐2884
TRUST UA 8/10/00
HARRIET L DEARDEN                                 4 SKAARLAND DR                                                                                 BURNT HILLS        NY    12027‐9730
HARRIET L JOHNSON                                 38039 BUTTERNUT RDGE                                                                           ELYRIA             OH    44035‐8457
HARRIET L REICHL                                  3742 SOUTH 950 WEST                                                                            LAPEL              IN    46051‐9705
HARRIET L WAGNER TR UA 04/26/90 HARRIET L         151 S BISHOP AVE APT 16A                                                                       SECANE             PA    19018‐1903
WAGNER LIVING TRUST
HARRIET L WEEMS                                   263 COUNTY RD #1740                                                                            TUPELO             MS    38804
HARRIET LEVINE TOD MICHAEL A LEVINE SUBJECT TO    16‐83 212TH ST                                                                                 BAYSIDE            NY    11360‐1526
STA TOD RULES
HARRIET LODHOLZ & HARRY LODHOLZ JT TEN            21 WAVERLY LN                                                                                  GROSSE POINTE    MI      48236‐3039
                                                                                                                                                 FARM
HARRIET LOPATA                                    86 CONGERS RD                                                                                  NEW CITY         NY      10956‐6260
HARRIET M BALLARD                                 530 ANTIOCH ROAD                                                                               CAVE CITY        AR      72521‐9242
HARRIET M BALLARD & GLEN J BALLARD JT TEN         530 ANTIOCH ROAD                                                                               CAVE CITY        AR      72521‐9242
HARRIET M BARNES                                  2514 STANOLIND                                                                                 MIDLAND          TX      79705‐8426
HARRIET M GREEN                                   PO BOX 711                                                                                     WHEATLEY HEIGHTS NY      11798‐0711
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HARRIET M KRALL                                   111 2ND ST SOUTH                         APT 223                                                  SHELBY             MT    59474‐1992
HARRIET M TEPEL                                   21 WAVERLY LN                                                                                     GROSSE PT FARMS    MI    48236‐3039

HARRIET M VERBRYKE                                357 HURON ST                                                                                      ELMORE             OH    43416
HARRIET MARIE PALMIERI                            6231 NW 4TH AVE                                                                                   BOCA RATON         FL    33487‐2907
HARRIET MARY STABER & WALTER H STABER JR JT TEN   2202 GRANDVIEW                                                                                    SPRINGFIELD        IL    62702‐4306

HARRIET MC CARRELL CAWLEY                         1601 ANNCROFT COURT                                                                               TRINITY            FL    34655‐7201
HARRIET MENDELSON IGNOZZI                         1315 ANDERSON AVENUE                     APT 1                                                    FORT LEE           NJ    07024‐1732
HARRIET MERKOWITZ                                 134 N MAIN ST                                                                                     NATICK             MA    01760‐2719
HARRIET N BLIEK                                   409 SYCAMORE TRAIL                                                                                NEWARK             NY    14513‐9745
HARRIET N DENNEN                                  BOX 234                                                                                           PORT CLYDE         ME    04855‐0234
HARRIET NIELSEN                                   9 ETON RD                                                                                         TOMS RIVER         NJ    08757‐4446
HARRIET O'NEIL                                    2233 GROSSE AVENUE                                                                                SANTA ROSA         CA    95404‐3124
HARRIET OVERBY                                    11188 HWY 42                                                                                      SISTER BAY         WI    54234‐9613
HARRIET P AGUIAR                                  5813 CYNTHIA DR                                                                                   METAIRIE           LA    70003‐3835
HARRIET POOLEY TR HARRIET POOLEY REVOCABLE        913 AUTUMN CIRCLE                                                                                 COLUMBIA           SC    29206
TRUST UA 12/10/96
HARRIET R COARI & EDWARD V COARI JT TEN           18 SPICY POND RD                                                                                  HOWELL             NJ    07731‐1358
HARRIET R CURRY                                   3075 BASELINE RD                                                                                  GRAND ISLAND       NY    14072‐1382
HARRIET R FRIEDMAN                                162 CLEAVAND ROAD                                                                                 NEW HAVEN          CT    06515‐2225
HARRIET R JAMES                                   1001 N INDIANA                                                                                    KOKOMO             IN    46901‐2721
HARRIET ROSENBAUM TR THE ROSENBAUM LIV TR UA      5381 N VIA FRASSINO                                                                               TUCSON             AZ    85750‐7118
11/07/85
HARRIET S BOHN                                    152 MANOR ST                                                                                      PLAINVIEW          NY    11803‐4715
HARRIET S WOODRUM                                 128 N SHALE PIT RD                                                                                VEEDERSBURG        IN    47987‐8523
HARRIET SILVERBERG                                188 GEORGIAN COURT RD                                                                             ROCHESTER          NY    14610‐3420
HARRIET SOSNA TR UA 09/25/2007 HARRIET SOSNA      1011 NOBLEMAN DR                                                                                  SAINT LOUIS        MO    63146
LIVING TRUST
HARRIET T HOSKINSON                               52 OLD FARM RD                                                                                    WILTON             CT    06897‐2902
HARRIET T THOMPSON                                99 NORUMBEGA RD                          APT 228                                                  WESTON             MA    02493‐2485
HARRIET T ZUKAS                                   760 RIVER ROCK RD                                                                                 SANTA BARBARA      CA    93108‐1123
HARRIET V LLOYD & ROBERT R LLOYD JT TEN           12 BRIDLE RD                                                                                      SHREWSBURY         PA    17361‐1338
HARRIET V SANDERS TR HARRIET V SANDERS TRUST UA   1069 SYLVAN AVE                                                                                   LAKEWOOD           OH    44107‐1233
01/13/95
HARRIET VLNA                                      80 S 7TH                                                                                          LA GRANGE          IL    60525‐2503
HARRIET W COOK                                    319 LINCOLN AVE                                                                                   GLENCOE            IL    60022‐1559
HARRIET W MILLER                                  581 WOODLAWN DRIVE                                                                                LANSDALE           PA    19446‐4509
HARRIET W ZIMBOUSKI                               72 E MAIN ST                                                                                      BRANFORD           CT    06405‐3706
HARRIET WALTERS TR UA 08/14/2007 HARRIET          22777 ARLINGTON                                                                                   DEARBORN           MI    48128
WALTERS REVOCABLE TRUST
HARRIET WINNICK                                   38 MICHAEL DR                                                                                     OLD BETHPAGE       NY    11804‐1524
HARRIETA ALISA PRESTON                            17208 ANNCHESTER                                                                                  DETROIT            MI    48219‐3560
HARRIETT A MILLIES                                1666 HIGH ST                                                                                      WESTWOOD           MA    02090‐3035
HARRIETT B WALKER                                 10347 CEDARCREEK ROAD                                                                             LINCOLN            DE    19960
HARRIETT C MOHR                                   51 CALIFORNIA DR                                                                                  WILLIAMSVILLE      NY    14221‐6650
HARRIETT C WELCH                                  4354 MOUNT HOPE RD                       APT 218                                                  WILLIAMSBURG       MI    49690‐9212
HARRIETT D YEO                                    2531 HILL NE CI                                                                                   CONYERS            GA    30012‐2417
HARRIETT F PEARSON & ZACHARY T PEARSON JT TEN     2044 IDLEWILD DR                                                                                  LIMA               OH    45805‐2358

HARRIETT FULLER TR HARRIETT FULLER LIVING TRUST UA 4540 WALNUT LAKE RD                                                                              BLOOMFIELD HILLS   MI    48301‐1400
06/30/79
HARRIETT HOLMES                                    4467 S STATE ROUTE 729                                                                           SABINA             OH    45169‐9426
HARRIETT HUTCHINSON                                546 NORTHGATE                                                                                    TOLEDO             OH    43612‐3320
HARRIETT K SCHLESSMAN                              R1                                                                                               MONROEVILLE        OH    44847‐9801
HARRIETT L JOYNER                                  2601 COLLEEN LANE                                                                                DACULA             GA    30019
HARRIETT L TURNER                                  3384 S ST RD 13                                                                                  LAPEL              IN    46051‐9737
HARRIETT M DILLEY                                  363 TAMPICO DR                                                                                   PALMETTO           FL    34221‐3453
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HARRIETT MC CREEDY                                531 ELM AVE                                                                                   SOUTH MILWAUKEE WI      53172‐1301

HARRIETT R LIBENSON & JEROME M LIBENSON JT TEN    1710 AVENIDA DEL MUNDO 708                                                                    CORONADO          CA    92118‐3066

HARRIETT SOLOMON                                  2475 CASTLEWOOD RD                                                                            MAITLAND          FL    32751‐3630
HARRIETT V LLOYD & ROBERT R LLOYD JT TEN          12 BRIDLE RD                                                                                  SHREWSBURY        PA    17361‐1338
HARRIETT WAGMAN CUST PHILLIP ROY WAGMAN           300 CENTRAL PARK W                   APT 2B                                                   NEW YORK          NY    10024
UGMA NY
HARRIETT WERSTINE                                 1940 FAIRWAY GLEN LANE                                                                        ST CLAIR          MI    48079‐3584
HARRIETT WILLIS                                   PO BOX 1076                                                                                   FLINT             MI    48501‐1076
HARRIETTE B FINK CUST LOUIS B FINK UGMA NY        ATTN RUTH BLUVER                     9 PATRICIA DR                                            NEW CITY          NY    10956‐2010
HARRIETTE C DORF & ILENE A DORF MANAHAN JT TEN    41 MT KEMBLE AVE                     UNIT 208                                                 MORRISTOWN        NJ    07960‐5118

HARRIETTE D SMITH                                 405 ST JOHNS CIRCLE                                                                           PHOENIXVILLE     PA     19460‐2554
HARRIETTE E SMITH                                 3198 LOTZ DR                                                                                  GROVE CITY       OH     43123‐2745
HARRIETTE H GEORGE OGAN                           14999 WUNDERLICH DR                  UNIT 112                                                 HOUSTON          TX     77069‐2048
HARRIETTE J BECKER                                3820 17TH AVE                                                                                 KENOSHA          WI     53140‐2453
HARRIETTE JEAN UNGER                              441 DAY ST                                                                                    SF               CA     94131‐2228
HARRIETTE KAPLAN                                  910 SUMMIT RD                                                                                 PENN VALLEY      PA     19072‐1325
HARRIETTE M ROBERTS                               1724 SHERWOOD ROAD                                                                            WILLIAMSTON      MI     48895‐9371
HARRIETTE ROEMER HAMILTON                         PO BOX 362                                                                                    WILMINGTON       VT     05363‐0362
HARRIETTE S SCRINOPSKIE                           5964 SW 31ST ST                                                                               TOPEKA           KS     66614‐4021
HARRIOTTE W HURLEY & ROBERT W HURLEY JT TEN       4067 S FLETCHER AVE                                                                           FERNANDINA BEACH FL     32034‐4341

HARRIS A OEHLER                                   PO BOX 79323                                                                                  HOUSTON           TX    77279‐9323
HARRIS A RUDERMAN                                 41 LAGUNA WOODS DR                                                                            LAGUNA NIGUEL     CA    92677‐2829
HARRIS B PATE                                     1029 MORTON AVE                                                                               CHESTER           PA    19013‐6328
HARRIS B WESTON & LORRAINE C WESTON JT TEN        72 CROWE'S PURCHASE RD                                                                        WEST YARMOUTH     MA    02673‐5004
HARRIS BANK OF BARRINGTON TR DAVID A BINNER IRA   5110 NW 66TH AVE                                                                              JOHNSTON          IA    50131‐1127
UA 12/03/98
HARRIS CLEAVELAND MILLER                          322 WESTVIEW CT                                                                               VIENNA            VA    22180‐4730
HARRIS E FISCHER                                  621 HIGH STREET                                                                               PORT JEFFERSON    NY    11777‐1718
HARRIS E GORDON & MRS WILMA F GORDON JT TEN       2500 DOE RUN LANE                                                                             BARTLETT          TN    38134‐5474

HARRIS GIBBS                                      310 CHEEKWOOD LN                                                                              MONTGOMERY        AL    36116‐3716
HARRIS H KENLEY                                   250 W POPLAR                                                                                  COLLIERVILLE      TN    38017‐2649
HARRIS H MANKIN                                   1032 IRVING ST #409                                                                           SAN FRANCISCO     CA    94122‐2200
HARRIS J ZIDEL CUST SOPHIA M ZIDEL UTMA CA        BOX 933                              529 ORCHARD LANE                                         REDWAY            CA    95560‐0933
HARRIS JONES                                      5971 CHRISTOPHER LN                                                                           LITHONIA          GA    30058‐5617
HARRIS L LANKSTER                                 70 LAVINA DR                                                                                  MANY              LA    71449
HARRIS NOZOMU MURABAYASHI & MRS MIWAKO SUDA 1925 NEHOA PLACE                                                                                    HONOLULU          HI    96822‐3069
MURABAYASHI JT TEN
HARRIS PRYOR                                      160 WINONA ST                                                                                 PACIFICA          CA    94044‐3019
HARRIS PRYOR & CLAIRE PRYOR JT TEN                160 WINONA ST                                                                                 PACIFICA          CA    94044‐3019
HARRIS R JACOBS                                   13 ROLAND DRIVE                                                                               WHITE PLAINS      NY    10605‐5434
HARRIS SANDS & PHYLLIS SANDS & SHERRY BORRELLI JT 1108 BAHAMA BEND                                                                              COCONUT CREEK     FL    33066‐3106
TEN
HARRIS SOUVLIS & ELLI H SOUVLIS JT TEN            1500 BROOKSIDE DR                                                                             FAIRFIELD         CT    06430‐2119
HARRIS W EARHEART                                 205 SHEPARD HILLS DRIVE                                                                       MADISON           TN    37115
HARRISON A MOODY                                  600 E CAROLINA AVE                                                                            CREWE             VA    23930‐2116
HARRISON C MCKEEHAN JR                            381 RINEHART RD                                                                               UNION             OH    45322‐2968
HARRISON D GOEHRING JR                            1140 7TH STREET                                                                               WEST DES MOINES   IA    50265‐2615

HARRISON D HOLTON                                 1757 N KINGSLEY DR                   APT 106                                                  LOS ANGELES       CA    90027‐3711
HARRISON E LACKEY                                 1514 N RIDGEVIEW DR                                                                           INDIANAPOLIS      IN    46219‐3318
HARRISON F BOYLL                                  C/O HELEN G BOYLL                    13 THAYER ST                                             MILFORD           MA    01757‐3107
HARRISON H STEYERT                                YOUNG RD                                                                                      ORWELL            VT    05760
HARRISON JAY SVERSKY                              89 GREY RD                           TORONTO ON                             M5M 4E7 CANADA
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HARRISON JENKINS                                   12576 51ST N CT                                                                                 WEST PALM BEACH FL       33411‐9029

HARRISON JENKINS & SANDRA JENKINS JT TEN           4484 BISHOP STREET                                                                              DETROIT            MI    48224‐2312
HARRISON L FOWLER                                  195 SEATTLE SLEW LN                                                                             BOWLING GREEN      KY    42101‐6348
HARRISON L MESSER                                  13015 TOPHITH RD                                                                                GRASS LAKE         MI    49240‐9599
HARRISON L MORTON                                  PO BOX 1768                                                                                     EAST LANSING       MI    48826
HARRISON LAYNE                                     7618 PRAIRIE DR                                                                                 GREENWELL          LA    70739‐3059
                                                                                                                                                   SPRINGS
HARRISON M KISNER                                  120 PIMLICO ROAD                                                                                GREENVILLE         SC    29607
HARRISON MINK                                      PO BOX 272                                                                                      GOSHEN             OH    45122‐0272
HARRISON MULLEN                                    58 HILLCREST DRIVE                                                                              BUFFALO            NY    14226‐1403
HARRISON N KENNER                                  51 FREEMAN STREET                                                                               BUFFALO            NY    14215‐2704
HARRISON P PITCOCK                                 1505 S MAISH RD                                                                                 FRANKFORT          IN    46041‐3220
HARRISON S FORRESTER JR                            107 ASHFORD PL                                                                                  GREENWOOD          SC    29646‐9268
HARRISON S FRANCIS JR                              413 N CARTER LANE                                                                               SWAYZEE            IN    46986‐9620
HARRISON S HALSELL                                 18956 SANTA ROSA                                                                                DETROIT            MI    48221‐2249
HARRISON SAMS                                      6248 TESSON PARK DR                                                                             HAZELWOOD          MO    63042
HARRISON THOMAS WELLS                              4868 E SHORELINE DR                                                                             POST FALLS         ID    83854
HARRISON V PITTMAN JR                              276 LAKE SHORE DR                                                                               YAZOO CITY         MS    39194‐8521
HARRISON W EMERSON                                 461 BRITTON ROAD                                                                                ROCHESTER          NY    14616‐3210
HARRISON W MARBLE                                  29 OAKMOUNT AVENUE                                                                              BLOOMFIELD         NY    14469
HARRISON W SIGWORTH JR                             9701 BLUE MOUND DR                                                                              SAN RAMON          CA    94583‐3631
HARRISON WILLIAMS JR                               14360 SAINT MARYS ST                                                                            DETROIT            MI    48227‐1839
HARROD P HOSEY                                     319 FRANKLIN ST                                                                                 GRAND LEDGE        MI    48837‐1941
HARROD P HOSEY & PHYLLIS D HOSEY JT TEN            319 FRANKLIN ST                                                                                 GRAND LEDGE        MI    48837‐1941
HARROLD F MACMURRAY                                874 MAPLEWOOD AVE                                                                               NEWBURY PARK       CA    91320‐5563
HARRY A ABPLANALP JR                               101 GAEWOOD AVE                                                                                 WHEELING           WV    26003‐5033
HARRY A AMATO JR                                   4333 FERNMONT ST                                                                                KETTERING          OH    45440‐1522
HARRY A BAUERS                                     415 NORTHFIELD                                                                                  PONTIAC            MI    48340‐1324
HARRY A BONES                                      12075 TAYLOR WELLS RD                                                                           CHARDON            OH    44024‐7901
HARRY A BROOKS                                     363 PR 1784                                                                                     SUNSET             TX    76270‐9523
HARRY A BYRD & SANDRA L BYRD JT TEN                4038 TACOMA AVE S                                                                               TACOMA             WA    98418‐6643
HARRY A DAWSON                                     6675 BIRCH DR NE                                                                                KALKASKA           MI    49646‐9199
HARRY A DAWSON & MAYRIE L DAWSON JT TEN            6675 BIRCH DR NE                                                                                KALKASKA           MI    49646‐9199
HARRY A DU BELL                                    427 W 3RD ST                                                                                    FLORENCE           NJ    08518‐1812
HARRY A ERLANDSON & JOANNE E ERLANDSON JT TEN      4 CHRISTINE CT                                                                                  DEARBORN           MI    48124‐4003

HARRY A FIELD TR HARRY A FIELD TRUST UA 05/31/00   10309 CARDINAL AVE                                                                              FOUNTAIN VALLEY    CA    92708‐7405

HARRY A FILIPP & MARILYN J FILIPP JT TEN           36423 TRAVIS DR                                                                                 STERLING HEIGHTS   MI    48312‐2954

HARRY A FONG                                       PO BOX 17933                                                                                    SHREVEPORT         LA    71138‐0933
HARRY A GRAHAM & LOIS H GRAHAM JT TEN              1728 PLANK RD                          BOX 372                                                  CARROLLTOWN        PA    15722‐6310
HARRY A HERTZEL                                    32 REDDING GLEN RD                                                                              WEST REDDING       CT    06896
HARRY A JANISKI                                    2182 W MAPLE RD                                                                                 FLINT              MI    48507‐3504
HARRY A JOHNSON                                    7288 MANLIUS CENTER RD                                                                          EAST SYRACUSE      NY    13057‐9565
HARRY A KELLER JR                                  406 BURT ST                                                                                     TECUMSEH           MI    49286‐1109
HARRY A LANDSIEDEL                                 5723 TRAYMORE DR                                                                                DAYTON             OH    45424‐5339
HARRY A LANGER                                     7658 W COUNTY                                                                                   EDGERTON           WI    53534‐9802
HARRY A LINMAN & BLAKE A LINMAN JT TEN             11161 LANGDON DRIVE                                                                             CLIO               MI    48420‐1566
HARRY A LONCZYNSKI                                 3083 WESTMAN CT                                                                                 BLOOMFIELD         MI    48304‐2063
HARRY A MASUDA & LEATRICE C MASUDA JT TEN          196 HOOMALU ST                                                                                  PEARL CITY         HI    96782‐2216
HARRY A MC KNIGHT                                  909 BROOKSIDE DRIVE                                                                             PLAINFIELD         IN    46168‐2107
HARRY A MELLINGER                                  12 PAGEANT LANE                                                                                 OLMSTED            OH    44138‐2945
                                                                                                                                                   TOWNSHIP
HARRY A MITCHELL                                   502 SLACK DRIVE                                                                                 ANDERSON           IN    46013‐3735
HARRY A MUDRY                                      89 HARNESS DRIVE                                                                                MERIDEN            CT    06450‐6922
HARRY A MURDOCK JR                                 2202 SURREY DRIVE                                                                               MORGANTOWN         WV    26508
HARRY A NEFF                                       446 W DANVILLE                                                                                  CHICORA            PA    16025‐3314
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HARRY A OHLENDORF JR                            3544 CROWNDUN DRIVE                                                                                SAINT LOUIS       MO    63129‐2302
HARRY A OHLENDORF JR & COROL A OHLENDORF JT TEN 3544 CROUNDUN DRIVE                                                                                ST LOUIS          MO    63129‐2302

HARRY A PARKELL III                                641 SALEM‐QUINTON RD                                                                            SALEM             NJ    08079‐1213
HARRY A PEARL                                      2201 KINBERLEE CT                                                                               NORMAN            OK    73026‐9681
HARRY A PRICE                                      264 OSBORNE AVE                                                                                 MADISON           WV    25130‐1332
HARRY A RAPP                                       3324 S OAKLEY                                                                                   CHICAGO           IL    60608‐6025
HARRY A RAYMOND                                    12302 CREEKSIDE DRIVE                                                                           CLIO              MI    48420‐8227
HARRY A READSHAW JR & ELLEN J READSHAW JT TEN      1503 BROWNSVILLE RD                                                                             PITTSBURGH        PA    15210‐3971

HARRY A REYNOLDS & MARJORIE M REYNOLDS JT TEN      680 RAVENNA RD                                                                                  NEWTON FALLS      OH    44444‐1527

HARRY A ROEBUCK                                    APT 5                                  3242 FAIRESTA ST                                         LA CRESCENTA      CA    91214‐2684
HARRY A SALLE                                      161 HILLCREST DR                                                                                DENVILLE          NJ    07834‐1413
HARRY A SALSBERRY                                  7818 MAPLE                                                                                      DEARBORN          MI    48126‐1137
HARRY A SCOGIN III                                 PO BOX 211                                                                                      JACKSON           AL    36545‐0211
HARRY A STERLING & JUDITH C STERLING JT TEN        22311 HAIG                                                                                      TAYLOR            MI    48180‐3668
HARRY A STUCKEY                                    294 ROGERS AVE                                                                                  TONAWANDA         NY    14150‐5239
HARRY A STUCKEY & MARIE C STUCKEY JT TEN           294 ROGERS AVE                                                                                  TONAWANDA         NY    14150‐5239
HARRY A THOMPSON                                   7112 CREEKS CROSSING                                                                            WEST BLOOMFIELD   MI    48322

HARRY A TILLSON                                    PO BOX 104                                                                                      VERNON            AZ    85940‐0104
HARRY A TIPPING                                    2598 ABINGTON ROAD                                                                              FAIRLAWN          OH    44333‐4040
HARRY A TOLLEY JR                                  5259 W 49TH ST                                                                                  PARMA             OH    44134‐1019
HARRY A TUBBIN & ELIZABETH A TUBBIN JT TEN         W6631 THE CLEARING                                                                              MERRILL           WI    54452‐8564
HARRY A VEGA                                       1896 BAILEYS TRACE DR                                                                           SPRING HILL       TN    37174‐6171
HARRY A WAGNER                                     13100 NORTH MORRISH ROAD                                                                        MONTROSE          MI    48457
HARRY A WEISS & PATRICIA R WEISS JT TEN            4761 SHERINGHAM LANE                                                                            SYLVANIA          OH    43560‐2918
HARRY A WILLIAMSON & NANCY J WILLIAMSON JT TEN     6920 SHERIDAN ST                                                                                ANDERSON          IN    46013‐3612

HARRY A WILSON                                     1004 E GRANT                                                                                    MARION            IN    46952‐3020
HARRY A WILSON JR                                  12735 PROMISE RD                                                                                FISHERS           IN    46038‐9606
HARRY AARON & ELAINE J AARON JT TEN                4445 LYONS                                                                                      SKOKIE            IL    60076‐1343
HARRY ADELMAN CUST GERALD ADELMAN U/THE            STE 2000                               150 N WACKER DR                                          CHICAGO           IL    60606‐1608
ILLINOIS U‐G‐M‐A
HARRY ADWAR & JUDITH ADWAR JT TEN                  4740 S OCEAN BLVD                      PH 11                                                    HIGHLAND BCH      FL    33487‐5385
HARRY ALAN LANDO                                   492 MONTROSE LANE                                                                               SAINT PAUL        MN    55116‐1133
HARRY ALLEN MELOENY JR                             114 SIXTH STREET                                                                                STEILACOOM        WA    98388‐1202
HARRY ANDREOU & MARGARET C ANDREOU JT TEN          800 SALEM RD                                                                                    YORKTOWN          NY    10598‐2314
                                                                                                                                                   HEIGHTS
HARRY ANTROBUS JR                                  2320 AUBREY LANE                                                                                SARASOTA          FL    34231‐4645
HARRY ARTHUR HULS JR & JOAN L HULS JT TEN          327 PRESBYTERIAN HILL                                                                           STEPHENTOWN       NY    12168‐3024
HARRY ARTHUR YOUNG                                 6 WOODSTOCK CT                                                                                  NEW HARTFORD      NY    13413‐2711
HARRY B BECKMAN                                    11 IVY RD                                                                                       NEEDHAM           MA    02492‐3731
HARRY B CARPENTER JR                               7438 BOULDER BLUFF DR                                                                           JENISON           MI    49428‐8938
HARRY B COTTER                                     PO BOX 992                             LUNENBURG NS                           B0J 2C0 CANADA
HARRY B HAMBURGER CUST STEPHEN L HAMBURGER         6537 BOTICELLI DR                                                                               LAKE WORTH        FL    33467‐7037
UGMA MI
HARRY B KLAUSE III CUST HOLLY ANN KLAUSE UGMA NJ   1120 ASBURY AVE                                                                                 OCEAN CITY        NJ    08226‐3332

HARRY B MC OUAT                                    4 WALTON LANE                                                                                   WAKEFIELD         MA    01880‐1036
HARRY B MOWELL                                     1317 GLENCOE RD                                                                                 SPARKS            MD    21152
HARRY B SCHWARTZ                                   2542 OLD SCHOOL ROAD                                                                            INDIAN RIVER      MI    49749‐9564
HARRY B WHITE                                      758 RUBENS RD                                                                                   CONCORD           NC    28027‐7088
HARRY B WOLF                                       16725 ON PAR BLVD                                                                               FORT MYERS        FL    33908‐2875
HARRY BACHNER CUST CHRISTOPHER BACHNER UGMA        9320 HILLS COVE DR                                                                              GOODRICH          MI    48438‐9407
MI
HARRY BALDUCCI                                     7585 S MADISON ST                                                                               HINSDALE          IL    60521‐7598
HARRY BARINGER                                     1050 MAIN STREET B57                                                                            HELLERTOWN        PA    18055‐1538
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HARRY BATEMAN SCOTT                                20 FORT MEADOW DR                                                                               HUDSON           MA      01749‐3142
HARRY BEAL & SHIRLEY BEAL JT TEN                   1673 METROPOLITAN DR                                                                            LONGMONT         CO      80501
HARRY BENNETT DAVIS                                7725 SW MAPLE DR                                                                                PORTLAND         OR      97225‐2126
HARRY BILL SELVY                                   6300 PARK RETIRO                                                                                PAHRUMP          NV      89060‐1228
HARRY BLOCK                                        114‐74‐114TH STREET                                                                             SOUTH OZONE PARK NY      11420‐1932

HARRY BLOWERS & CYNTHIA ANN BLOWERS JT TEN         1609 E WEDGEWOOD                                                                                ALEXANDERIA        IN    46001‐2825

HARRY BOWERS JR                                    425 HAWTHORNE ST                                                                                ELYRIA             OH    44035‐3736
HARRY BOWMAN GERARD                                3127 MARYLAND AVE                                                                               FLINT              MI    48506‐3030
HARRY BRAUN                                        1845 HOWE LANE                                                                                  MAPLE GLEN         PA    19002‐2941
HARRY BRAUN                                        9680 E KELLYVILLE RD                                                                            ATLANTA            MI    49709‐0521
HARRY BULLOCK & BETTY BULLOCK JT TEN               2991 CHARNWOOD                                                                                  TROY               MI    48098‐2164
HARRY C ASBURY                                     APT 2                                  11604 FIDLITY                                            CLEVELAND          OH    44111‐3652
HARRY C BARBER                                     9 CHEROKEE ROAD                                                                                 MIDDLEFIELD        CT    06455‐1314
HARRY C BARBIN                                     1605 SHEPARD DR                                                                                 MAPLE GLEN         PA    19002‐3011
HARRY C BATCHELDER JR                              75 SAINT NICHOLAS PL                   APT 4A                                                   NEW YORK           NY    10032‐8033
HARRY C BEGAY & PAULINE C BEGAY JT TEN             12 ROAD 6358                                                                                    KIRTLAND           NM    87417‐9647
HARRY C BEIDEMAN                                   11 PENNDREW COURT                                                                               WILMINGTON         DE    19808‐5217
HARRY C BOWEN                                      241 43RD ST SW                                                                                  WYOMING            MI    49548‐3036
HARRY C BROWN                                      604 MARAN DRIVE                                                                                 SAINT CHARLES      MO    63301‐0492
HARRY C BROWN                                      629 W MURPHY LAKE RD                                                                            MAYVILLE           MI    48744‐9571
HARRY C BURCHETT                                   6314 BARNES ROAD                                                                                MILLINGTON         MI    48746‐9553
HARRY C CAMPBELL & ELIZABETH A CAMPBELL JT TEN     1322 DOGWOOD VILLAGE LN                                                                         LAMPE              MO    65681‐8192

HARRY C CAYLOR                                     8835 BIRKHILL DRIVE                                                                             STERLING HEIGHTS   MI    48314‐2506

HARRY C D ALOIA CUST KIMBERLY D ALOIA UTMA NJ      21 CLEVELAND ROAD                                                                               CALDWELL           NJ    07006‐5706

HARRY C DAVIS JR                                   6439 ANITA                                                                                      DALLAS             TX    75214‐2705
HARRY C FROUNFELTER                                468 WEST ELDRIDGE AVE                                                                           ROSEVILLE          MN    55113
HARRY C GASKILL                                    5071 OLD ALMA RD                                                                                BLACKSHEAR         GA    31516‐5719
HARRY C GEISSLER                                   2006 ATTAWAY DR                                                                                 BRANDON            FL    33511‐2100
HARRY C GOPLERUD                                   5113 HOMER ST                                                                                   TAMPA              FL    33629
HARRY C GRANT                                      1404 DULANEY TOWERS                                                                             TOWSON             MD    21204
HARRY C HARDY                                      PO BOX 644                                                                                      IRVINGTON          VA    22480
HARRY C HARPST & BRIAN E HARPST & LAURA L HARPST   87 DONATION RD                                                                                  GREENVILLE         PA    16125‐9772
JT TEN
HARRY C HAWCROFT                                   1612 BOSWELL LANE                                                                               NEW PORT RICHEY    FL    34655‐4701

HARRY C HOUSE                                      115 QUAIL DRIVE                                                                                 PLYMOUTH           NC    27962‐2309
HARRY C J HIMES & MARGARET P M HIMES TEN ENT       1532 STOCTON RD                                                                                 MEADOWBROOK        PA    19046‐1153

HARRY C JOHNSON                                    124 KINEMAN AVE                                                                                 BATTLE CREEK       MI    49017‐5146
HARRY C LEE & MYRTLE A LEE & MICHAEL D LEE SR JT   4506 CHEYENNE AVE                                                                               FLINT              MI    48507‐2832
TEN
HARRY C LEONARD JR & SARA J LEONARD JT TEN         5442 NORTHWAY RD                                                                                PLEASANTON         CA    94566‐5447
HARRY C LUEBBE JR & MRS SARAH J LUEBBE JT TEN      ASBURY HEIGHTS APT 7203                700 BOWER HILL RD                                        PITTSBURGH         PA    15243‐2040

HARRY C MADSEN                                     2400 ANN TERR                                                                                   BELMAR             NJ    07719‐3836
HARRY C MARBERRY & BETTY G MARBERRY TEN COM        2455 MANCHESTER DR UNIT 80                                                                      OKLAHOMA CITY      OK    73120‐3773

HARRY C MEYERS JR                                  3334 6TH ST DB                                                                                  MONROE             MI    48162
HARRY C MOYER                                      7101 MORRISON LAKE RD                                                                           SARANAC            MI    48881‐9610
HARRY C OBERHOLZER JR                              358 NOVA DR                                                                                     GREENCASTLE        PA    17225‐1546
HARRY C SHAYHORN                                   9620 HAYDEN ST                                                                                  PHILADELPHIA       PA    19115‐3119
HARRY C SHOAF                                      PO BOX 642                                                                                      PORT ORCHARD       WA    98366‐0642
HARRY C SHRIVER JR                                 5230 TABOR ST                                                                                   ARVADA             CO    80002‐1910
HARRY C THOMPSON                                   7710 PRINCESS PL                                                                                PASADENA           MD    21122‐1921
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HARRY C TRODICK & MRS ELIZABETH J TRODICK JT TEN   2410 ARAGON BLVD                                                                               SUNRISE         FL    33322‐3111

HARRY C WIMBERLEY JR                               2619 TANGLEWOOD LANE                                                                           CHARLOTTE       NC    28211‐1644
HARRY C WISCH III                                  3376 S SHERMAN ST                     APT 10                                                   ENGLEWOOD       CO    80113‐2633
HARRY CAMERON JOHNSON                              4980 SHASTA WAY                                                                                SANTA MARIA     CA    93455‐5772
HARRY CHATMAN                                      458 HAMILTON ROAD                                                                              BOSSIER CITY    LA    71111‐4662
HARRY CHESTER GOUDY III                            28233 FOREST LANDING RD                                                                        EASTON          MD    21601‐5909
HARRY CLINKSCALE                                   186 W PRINCETON AVE                                                                            YOUNGSTOWN      OH    44507‐1449
HARRY CLUBB                                        8034 CAMPBELL                                                                                  TAYLOR          MI    48180‐2555
HARRY COHEN & HARRIET COHEN JT TEN                 7360 FAIRFAX DRIVE                                                                             TAMARAC         FL    33321‐4317
HARRY COLEMAN & MRS ROSE F COLEMAN JT TEN          21 DARWIN DR                                                                                   SNYDER          NY    14226‐4508
HARRY COSMA & MRS CHRISTINE COSMA JT TEN           305 N WILLE                                                                                    MT PROSPECT     IL    60056‐2454
HARRY CRAIG TR HARRY CRAIG TRUST UA 08/17/94       10250 N COUNTY LINE HWY                                                                        MILAN           MI    48160‐9246

HARRY CRAWFORD MCQUEEN                             5214 ROANOAK STREET                                                                            SEBRING         FL    33870‐8600
HARRY CURTIS CUST NICHOLAS ANDAMASARIS UTMA        2794 GRAHAM RD                                                                                 STOW            OH    44224
OH
HARRY D ALIFF                                      872 E 139TH STREET                                                                             CLEVELAND       OH    44110‐2203
HARRY D ALOIA CUST JOSEPH D ALOIA UTMA NJ          21 CLEVELAND ROAD                                                                              CALDWELL        NJ    07006‐5706
HARRY D BAKER JR & MRS JOANNE E BAKER TEN ENT      8933 CHAPEL AVE                                                                                ELLICOTT CITY   MD    21043‐1905

HARRY D BALCH                                      1208 CAPSHAW                                                                                   HARVEST         AL    35749‐9012
HARRY D BARRETT                                    1902 LYNBROOK DR                                                                               FLINT           MI    48507‐6036
HARRY D BECKIUS                                    6514 4TH ST                                                                                    LUBBOCK         TX    79416‐3728
HARRY D CALLAHAN                                   913 N HOMEREST AVE                                                                             COVINA          CA    91722‐2528
HARRY D CARNES & MARTHA J CARNES & DIANE HOVEY     1601 RIDGEWAY AVE                                                                              ROUND LAKE      IL    60073‐2163
JT TEN
HARRY D COMBS                                      2228 CHAPIN ST                                                                                 GRAND BLANC     MI    48439‐4204
HARRY D COTTERMAN                                  1674 BUENA VISTA AVE                                                                           NATIONAL CITY   MI    48748‐9565
HARRY D CRONE JR                                   11 WHALEN LN                                                                                   NATICK          MA    01760‐4832
HARRY D CROWE & MARY L CROWE JT TEN                1613 E WINDEMERE                                                                               ROYAL OAKS      MI    48073‐5616
HARRY D DILLOW                                     4982 GREENTREE RD                                                                              LEBANON         OH    45036‐9150
HARRY D DOVE                                       1949 SANTIAGO AVE                                                                              SAN JOSE        CA    95122‐1246
HARRY D ELDRED                                     18W771 16TH STREET                                                                             LOMBARD         IL    60148
HARRY D EVERHART & ARLENE B EVERHART JT TEN        360 FERRELS RIDGE RD                                                                           HEDGESVILLE     WV    25427‐5009
HARRY D FREDRYK                                    11392 WORMER                                                                                   REDFORD         MI    48239‐1625
HARRY D HAMMOND JR & SALLY FACKLER HAMMOND         BOX 481                                                                                        UNIONVILLE      PA    19375‐0481
TEN ENT
HARRY D HICKS                                      433 COLWELL RD                                                                                 JACKSON         GA    30233‐5329
HARRY D JUSTUS                                     PO BOX 304                                                                                     MORRISTOWN      IN    46161‐0304
HARRY D KEARNS                                     2906 OLDE FALLS RD                                                                             ZANESVILLE      OH    43701‐9665
HARRY D LEVYSSOHN                                  1519 E SHAMWOOD STREET                                                                         WEST COVINA     CA    91791‐1319
HARRY D LINGENFELTER                               226 LEXINGTON AVE                                                                              ELYRIA          OH    44035‐6220
HARRY D MISNER JR                                  5521 HERRINGTON RD                                                                             WEBBERVILLE     MI    48892‐9775
HARRY D MONK & MRS MARY K MONK JT TEN              1942 OLYMPIC DR                                                                                VERNON HILLS    IL    60061‐4549
HARRY D MOORE                                      990 KITCHEN RD                                                                                 NORTHPORT       MI    49670
HARRY D NOLTE & JOYCE L COAN JT TEN                5539 S WOODSIDE TER                                                                            HOMOSASSA       FL    34446‐2160
HARRY D PRICE                                      5 CENTER CIRCLE                                                                                WILMINGTON      DE    19808‐5705
HARRY D ROGERS JR & ROSE V ROGERS JT TEN           411 WEAVER ST                                                                                  LARCHMONT       NY    10538‐1301
HARRY D SCALF                                      1390 MERRY ROAD                                                                                WATERFORD       MI    48328‐1239
HARRY D SCHWARZ III                                BOX 535                                                                                        HEMPSTEAD       TX    77445‐0535
HARRY D SCOTT                                      2575 CRITTENDEN MT ZION ROAD                                                                   DRY RIDGE       KY    41035‐8501
HARRY D STEWART                                    8 LAWN AVE                                                                                     GORHAM          ME    04038‐1119
HARRY D WASHINGTON                                 1435 E 66TH TER                                                                                KANSAS CITY     MO    64131‐1427
HARRY D WOOD JR                                    612 HIGHLAND ST                                                                                NEW ALBANY      MS    38652‐5524
HARRY DANIELS & JANET S BORDERS JT TEN             12750 E MICHIGAN AVE                                                                           BATTLE CREEK    MI    49014‐8962
HARRY DANIELS GENEVIEVE DANIELS & JANET DANIELS    12750 E MICHIGAN AVE                                                                           BATTLE CREEK    MI    49014‐8962
JT TEN
HARRY DAUPHINAIS                                   COLEBROOK RD                                                                                   WINSTED         CT    06098
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HARRY DAVID MILES                               415 E SECRETARIAT DRIVE                                                                        TEMPE              AZ    85284‐1450
HARRY DAVIS JR                                  5766 WATERMAN                                                                                  SAINT LOUIS        MO    63112‐1602
HARRY DEAN GOFF                                 1428 N MAPLELEAF ROAD                                                                          LAPEER             MI    48446‐8085
HARRY DEGLOPPER                                 10545 SHANER                                                                                   ROCKFORD           MI    49341‐8461
HARRY DELBERT HARRINGTON                        7722 DOVE DR                                                                                   RIVERDALE          GA    30274‐4014
HARRY DONALD THEMM                              BOX 84                                91 OTTER COURT                                           ROSCOMMON          MI    48653‐0084
HARRY DRAKE                                     2425 LEXINGTON CIRCLE SO                                                                       CANTON             MI    48188‐5909
HARRY DUBICK & MRS HARRIET DUBICK TEN ENT       13162 TOUCHSTONE PLACE                                                                         PALM BCH GDNS      FL    33418
HARRY E ADAMS                                   144 INDEPENDECE ST                                                                             PERRYOPOLIS        PA    15473‐5384
HARRY E ARNOLD TR ARNOLD EXEMPTION TRUST UA     3 PURSUIT #208                        THE COVINGTON                                            ALISO VIEJO        CA    92656‐4213
08/25/88
HARRY E BAILEY & KATHARINE LEWIS BAILEY TR UA   836 WARREN WAY                                                                                 PALO ALTO          CA    94303‐3627
06/18/93
HARRY E BAKER                                   230 ROBERTS RIDGE RD                                                                           EAST WATERBORO     ME    04030‐5425

HARRY E BAKER                                 1583 SHERIDAN                                                                                    STANTON            MI    48888
HARRY E BURR                                  5061 SEYMOUR LAKE ROAD                                                                           OXFORD             MI    48371‐4045
HARRY E CONN & LILLIAN M CONN TR CONN LIVING  268 LONGFORD AVE                                                                                 ELYRIA             OH    44035‐4036
TRUST UA 03/18/97
HARRY E COPARE & BARBARA C COPARE JT TEN      3700 N CAPITOL NW ST                                                                             WASHINGTON         DC    20011‐8400
HARRY E CRITES                                3518 HOLDER ST                                                                                   FORT WORTH         TX    76118‐7201
HARRY E DONALDSON                             PO BOX 256                                                                                       ROME               GA    30162‐0256
HARRY E DOUGLAS                               147 ABERNATHY RD                                                                                 FLORA              MS    39071‐9496
HARRY E EKLUND                                5591 FOREST DRIVE                                                                                OSCODA             MI    48750‐9420
HARRY E ESQUIBEL                              5289 HEAVENLY RIDGE LANE                                                                         RICHMOND           CA    94803‐2628
HARRY E EVANS                                 14388 BROOKFIELD                                                                                 LIVONIA            MI    48154‐4116
HARRY E EVANS                                 3414 BERKELEY ROAD                                                                               ANDERSON           IN    46011‐3810
HARRY E FRANTZ & MARIE D FRANTZ JT TEN        5046 SHORE DR                                                                                    ST AUGUSTINE       FL    32086
HARRY E GARDNER & JEAN P GARDNER JT TEN       4411 PLANTERS DR                                                                                 MALDEN             WV    25306‐6449
HARRY E GAWRONSKI                             746 RATHBUN ST                                                                                   BLACKSTONE         MA    01504‐2063
HARRY E GILLESPIE                             17 MAGNOLIA DR                                                                                   MILLSBORO          DE    19966‐1247
HARRY E GIVENS                                105 HELMS DR                                                                                     MADISONVILLE       TN    37354‐7655
HARRY E GOSTYLA                               1153 LAKE VALLEY DR                                                                              FENTON             MI    48430‐1229
HARRY E GOSTYLA & JANE C GOSTYLA JT TEN       1153 LAKE VALLEY DR                                                                              FENTON             MI    48430‐1229
HARRY E GRABER                                1663 W LINWOOD RD                                                                                LINWOOD            MI    48634‐9734
HARRY E HABERMAN                              101 GRANT STREET                                                                                 NO HUNTINGDON      PA    15642‐2531
HARRY E HEAD JR                               PO BOX 465                                                                                       HALE               MI    48739‐0465
HARRY E HELCHER                               4475 MARKET PLACE                                                                                FLINT              MI    48506
HARRY E HINKSTON                              1071 PELICAN PLACE                                                                               MASON              MI    48854‐9651
HARRY E HINKSTON & ELLEN J HINKSTON JT TEN    1071 PELICAN PLACE                                                                               MASON              MI    48854‐9651
HARRY E HODGE                                 17817 S E 84TH SHELDON TERR                                                                      THE VILLAGES       FL    32162‐2895
HARRY E HODGE & BARBARA T HODGE JT TEN        17817 SE 84TH SHELDON TERRACE                                                                    THE VILLAGES       FL    32162‐2895
HARRY E HODGE BARBARA T HODGE & HARRY G HODGE 17817 SE 84TH SHELDON TERRACE                                                                    THE VILLAGES       FL    32162‐2895
JT TEN
HARRY E JONES                                 1629 CARL BETHLEHEM RD                                                                           AUBURN             GA    30011‐3524
HARRY E KELLY                                 192 SW SNAPDRAGON CIR                                                                            PORT SAINT LUCIE   FL    34953‐8213
HARRY E KEYS                                  3149 POPLAR                                                                                      WARREN             MI    48091‐2343
HARRY E KNAUFF JR                             1154 WEST 800 NORTH                                                                              DENVER             IN    46926‐9051
HARRY E KRUMLAUF JR                           4021 PIONEER RD                                                                                  MEDFORD            OR    97501‐9686
HARRY E KURTZ                                 PO BOX 6712                                                                                      FREEHOLD           NJ    07728‐6712
HARRY E LARKIN                                18461 JACARANDA ST                                                                               FOUNTAIN VALLEY    CA    92708‐6611

HARRY E LINSENBIGLER                            C O DOTTIE LINSENBIGLER               500 HARRISON AVE                                         PENN               PA    15675‐9723
HARRY E MOSSBURG JR                             419 CARTER ST                                                                                  GREENTOWN          IN    46936‐1030
HARRY E MURRAY JR & CHARLOTTE L MURRAY JT TEN   300 N SEYMOUR ROAD                                                                             FLUSHING           MI    48433‐1535

HARRY E NEFF                                    318 HARDING AVE                                                                                BALTIMORE          MD    21220‐3705
HARRY E NETHERO                                 853 SAVANNAH DR                                                                                COLUMBUS           OH    43228‐2944
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HARRY E NORRIS CUST HARRY EDWARD NORRIS JR      1313 6TH ST                                                                                     BAY CITY         TX    77414‐4908
UGMA TX
HARRY E PARKIN                                  1705 HOPKINS ROAD                                                                               GETZVILLE        NY    14068‐1106
HARRY E POWELL                                  8031 MORRISH RD                                                                                 FLUSHING         MI    48433‐8813
HARRY E PULLY                                   606 SUNSET AVE                                                                                  ELKHART          IN    46514‐3448
HARRY E REW & ANNA REW JT TEN                   760 PARK AVE                                                                                    NORTH            NY    14120‐4719
                                                                                                                                                TONAWANDA
HARRY E SCHMIDT                                 5208 ALEXANDER DRIVE                                                                            FLOWER MOUND     TX    75028‐1071
HARRY E SCHMIDT JR                              2034 VIEWPOINT DR                                                                               NAPLES           FL    34110‐7934
HARRY E STOREMSKI                               6912 FAUST                                                                                      DETROIT          MI    48228‐3495
HARRY E SWEENEY                                 7128 GUILFORD RD                                                                                CLARKSVILLE      MD    21029‐1628
HARRY E WALLACE                                 510 JORDAN RD                                                                                   PONTIAC          MI    48342‐1736
HARRY E WHITE & SHIRLEY M WHITE JT TEN          37215 OAK LANE                                                                                  UMATILLA         FL    32784‐7525
HARRY E WHITE CUST WYATT EDWARD FELT UNDER THE 172 RICE MILL                                                                                    ST SIMONS IS     GA    31522‐5447
GA TRAN MIN ACT
HARRY E WOODBECK                                320 W SEVENTH AVE                                                                               FLINT            MI    48503‐1354
HARRY E WORL JR                                 2217 S HILLCREST DR                                                                             PERU             IN    46970‐7306
HARRY E WORL JR & NEVA M WORL JT TEN            2217 S HILLCREST DR                                                                             PERU             IN    46970‐7306
HARRY E YARNELL                                 BOX 7 512 MICHAELSVILLE RD                                                                      PERRYMAN         MD    21130‐0007
HARRY E YEIDE JR & ELIZABETH HOUCK YEIDE JT TEN 2015 GLEN ROSS RD                                                                               SILVER SPRING    MD    20910‐2124

HARRY E ZUMBRUN                                 1130 WYNDSONG DR                                                                                YORK             PA    17403‐4492
HARRY EARL LA ROCK                              1023 HINMAN                                                                                     EVANSTON         IL    60202‐1318
HARRY EHM                                       FLOHMANN ST 70                         D 44625 HERNE                          GERMANY
HARRY EIL & LOIS EIL TR UA EIL REVOCABLE LIVING 25 ROCKLEDGE AVE APT 903W                                                                       WHITE PLAINS     NY    10601‐1213
TRUST 05/23/91
HARRY ELSBY CARNIGHAN                           1505 ADAMS ST                                                                                   NEW ALBANY       IN    47150‐5211
HARRY ERNEST HARSHMAN                           1319 MAPLEWOOD DR                                                                               PIQUA            OH    45356‐4225
HARRY ERWIN WISNER                              2517 PLAINFIELD                                                                                 FLINT            MI    48506‐1862
HARRY F BIGELOW                                 7062 SOUTHFORK DRIVE                                                                            SWARTZ CREEK     MI    48473‐9737
HARRY F BUTCHER & ANN BUTCHER TR UA 02/22/07 UA 136 CENTENNIAL AVE APT 101                                                                      SEWICKLEY        PA    15143
BUTCHER FAMILY TRUST
HARRY F CRAGEL                                  43 COLLEGE ST                          ROUTE #6                                                 ASHLAND          OH    44805‐9382
HARRY F CRAGEL & ELIZABETH J CRAGEL JT TEN      43 COLLEGE ST                          ROUTE #6                                                 ASHLAND          OH    44805‐9382
HARRY F ELLIS                                   7945 ZUPANCIC DR                                                                                GARRETTSVILLE    OH    44231‐1028
HARRY F FRANKLIN                                2719 TALLOWTREE RD                                                                              WOODSTOCK        MD    21163‐1461
HARRY F HAMLIN                                  44680 TELEGRAPH RD                                                                              ELYRIA           OH    44035‐4329
HARRY F HENSEL                                  10996 HERRING ST                                                                                MARCELLUS        MI    49067‐9412
HARRY F HUNT                                    7522 PLAINFIELD                                                                                 BROOKLYN         OH    44144‐1336
HARRY F IRWIN JR                                731 BRINTONS WOOD RD                                                                            WEST CHESTER     PA    19382‐6905
HARRY F KELLY JR                                4712 ADMIRALTY WAY                     #166                                                     MARINA DEL REY   CA    90292‐6998
HARRY F KLIMECKI                                15671 CLINTON AVE                                                                               MACOMB           MI    48042‐6152
HARRY F LOESER                                  630 SPRINGFIELD AVE                                                                             CRANFORD         NJ    07016‐1813
HARRY F MAGOON                                  301 E WATER ST                                                                                  CARL JUNCTION    MO    64834‐9483
HARRY F MARTIN & MARIE R MARTIN JT TEN          240 WEST SPRING LAKE DR                                                                         ALTAMONTE        FL    32714‐3436
                                                                                                                                                SPRINGS
HARRY F MC CLOSKEY                              301 WASHINGTON AVE                                                                              JERMYN           PA    18433‐1325
HARRY F MC GRUDER                               UNIT 12                                1750 EAST OCEAN AVE                                      LONG BEACH       CA    90802‐6017
HARRY F MCAVOY                                  4487 HERMAN AVE SW                                                                              GRAND RAPIDS     MI    49509‐5135
HARRY F REED CUST DAN MARK REED U/T FLA GIFTS   3701 86TH ST                                                                                    URBANDALE        IA    50322
TOMINORS ACT
HARRY F ROCKWELL                                BOX 266                                                                                         NORTH TRURO      MA    02652‐0266
HARRY F RUTH                                    1736 RENOIR DR                                                                                  O'FALLON         MO    63366‐6964
HARRY F SOLOMON                                 2775 S WHITNEY BEACH                                                                            BEAVERTON        MI    48612‐9499
HARRY F SPALL                                   PO BOX 174                                                                                      MILTON           IN    47357‐0174
HARRY F THOMPSON                                21 WEST AVE                                                                                     LIVONIA          NY    14487‐9611
HARRY F WENDZIK                                 9311 W LAKE                                                                                     MONTROSE         MI    48457‐9715
HARRY F WOLF JR                                 431 BOSTON TURNPIKE                                                                             SHREWSBURY       MA    01545‐3416
HARRY F WOOSTER                                 2855 FARM BROOK TRAIL                                                                           OXFORD           MI    48370‐2311
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HARRY FELLMER JR                                2331 BELLEAIR RD LOT 237                                                                        CLEARWATER         FL    33764‐2769
HARRY FINK TR UA 06/19/90 HARRY FINK TRUST      1160 NW 90 WAY                                                                                  PLANTATION         FL    33322‐5012
HARRY FONG & SARAH F FONG JT TEN                2330 HASTINGS DRIVE                                                                             BELMONT            CA    94002‐3318
HARRY FOSDICK                                   705 BEMIS ROAD                                                                                  SALINE             MI    48176‐9526
HARRY FRANKLIN NOLES                            6047 SELMA AVE                                                                                  LOS ANGELES        CA    90028‐6414
HARRY FREEMAN & MRS NORMA L FREEMAN JT TEN      3518 FRAZIER RD                                                                                 HARTFORD           AR    72938‐9036

HARRY FREVERT & GLORIA FREVERT JT TEN           73 STATION RD                                                                                   BRANCHBURG         NJ    08876
HARRY G BELLA JR                                BOX 6                                                                                           MERRITTSTOWN       PA    15463‐0006
HARRY G BOWENS                                  5987 SEMINARY DR                                                                                MEMPHIS            TN    38115‐2611
HARRY G CLELFORD                                ATTN EILEEN M CLELFORD                 RR 5                 BLENHEIM ON       N0P 1A0 CANADA
HARRY G COPELAND                                294 JACK PICKLE RD                                                                              LEWISBURG          TN    37091‐4919
HARRY G CZAJKOWSKI                              BOX 405                                318 HANOVER                                              PENTWATER          MI    49449‐9429
HARRY G EDWARDS                                 3051 BIGELOW DR                                                                                 HOLIDAY            FL    34691‐3172
HARRY G ENSLEY                                  10941 LONDON LN                                                                                 APISON             TN    37302‐9572
HARRY G HODGE                                   813 RICHARD                                                                                     HOLLY              MI    48442‐1286
HARRY G LEW                                     11 MOTTS ST APT 4                                                                               NEW YORK           NY    10013‐5056
HARRY G PAPASTRAT                               17 SUNSET AVE                                                                                   SIDNEY             NY    13838‐1635
HARRY G REED                                    17 CLOVER LANE                                                                                  LEVITTOWN          PA    19055‐1607
HARRY G SHARP 3RD                               214 KRAMER DR                                                                                   SIKESTON           MO    63801‐4749
HARRY G SMITH                                   10010 NW HWY 27                                                                                 OCALA              FL    34482‐1849
HARRY G SOLBACH JR                              110 GARDEN DR APT D                                                                             PITTSBURG          PA    15236‐4550
HARRY G ZANDER                                  907 LAWRENCE AVE                                                                                GIRARD             OH    44420‐1911
HARRY GAGE                                      14218 W EVANS CIRCLE                                                                            LAKEWOOD           CO    80228‐5991
HARRY GALANSKY & MRS RENA GALANSKY JT TEN       25 BEEKMAN PL                                                                                   ROCHESTER          NY    14620‐3331
HARRY GARDE                                     2422 PIONEER DR                                                                                 BELOIT             WI    53511‐2551
HARRY GELMAN & EDNA GELMAN JT TEN               25 COLLINS AVE                                                                                  READING            MA    01867‐1018
HARRY GEORGE SEIDELL III                        62 EMILY LN                                                                                     NEWBURY            NH    03255‐5300
HARRY GINGOLD                                   1270 NORTH AVE APT 3H                                                                           NEW ROCHELLE       NY    10804‐2601
HARRY GOLDSON & LILLIAN B GOLDSON JT TEN        121 VILLAGE HILL DRIVE                                                                          DIX HILLS          NY    11746‐8335
HARRY GOODMAN TOD EVELYN COSTELLO SUBJECT TO    31980 PARTRIDGE LANE                   APT 3                                                    FARMINGTN HLS      MI    48334
STA TOD RULES
HARRY GORDON                                    1828 MICHELLE LANE                                                                              LAKELAND           FL    33813‐3238
HARRY GORDON CUST ERIC GORDON UTMA FL           1828 MICHELLE LANE                                                                              LAKELAND           FL    33813‐3238
HARRY GREEN                                     15777 PREST ST                                                                                  DETROIT            MI    48227‐2324
HARRY GRIBKOFF                                  2304 HARDING ST 1                                                                               HOLLYWOOD          FL    33020‐2347
HARRY GRIFFIN                                   326 WALLEN OAKS CT                                                                              FORT WAYNE         IN    46825‐7016
HARRY GROSPITCH                                 52 TOLLAND FARMS ROAD                                                                           TOLLAND            CT    06084‐3231
HARRY H BENNETT TR BENNETT LIVING TRUST UA      17 HEMENWAY RD                                                                                  FRAMINGHAM         MA    01701‐3132
11/05/97
HARRY H BERG JR                                 1715 SYLVAN WAY                                                                                 WEST BEND          WI    53095‐5025
HARRY H COHEN                                   515 MEADOW HALL DR                                                                              ROCKVILLE          MD    20851‐1557
HARRY H CROSS                                   128 WALNUT LN                          # 137                                                    NORTH AUGUSTA      SC    29860‐9206
HARRY H CURTIS                                  780 IRON BRIDGE RD                                                                              CICERO             IN    46034‐9434
HARRY H GILMORE & MRS MARY LOU GILMORE JT TEN   6410 ALAMEDA ST                                                                                 NORMAN             OK    73026‐0838

HARRY H HALL                                    2175 NORTHAMPTON DR                                                                             SAN JOSE           CA    95124‐1257
HARRY H HERNDON III                             13073 TUSCARORA DR                                                                              POWAY              CA    92064
HARRY H HESSLING                                579 VALLEY MISSION LN                                                                           BEDFORD            IN    47421
HARRY H HOLLAND & DOROTHY V HOLLAND JT TEN      20450 HUEBNER RD                       APT 408                                                  SAN ANTONIO        TX    78258

HARRY H LANGER                                  420 FORT DUQUESNE BLVD                 STE 800                                                  PITTSBURGH         PA    15222‐1416
HARRY H LYON                                    4738 N CHIPPING GLEN                                                                            BLOOMFIELD HILLS   MI    48302‐2390

HARRY H MC KEE                                  401 N BEAVER ST                                                                                 LISBON             OH    44432‐1001
HARRY H MCKEE & PAULINE J MCKEE JT TEN          401 N BEAVER ST                                                                                 LISBON             OH    44432‐1001
HARRY H MESSINA                                 324 CLAYTON RD                                                                                  SCHENECTADY        NY    12304‐3819
HARRY H NORRIS                                  4888 MILDRED CT                                                                                 COCOA              FL    32927‐3721
HARRY H ROAN III & CAROL ROAN JT TEN            164 HILLVIEW AVE                                                                                STATE COLLEGE      PA    16801‐7061
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HARRY H TAYLOR & GLADYS C TAYLOR JT TEN        3834 ROOSEVELT                                                                                 DEARBORN        MI    48124‐3683
HARRY H TIPTON                                 16 MEADOWDALE                                                                                  BEVERLY HILLS   FL    34465‐4153
HARRY H WHITE                                  3279 STILLWAGON RD                                                                             WEST BRANCH     MI    48661‐9648
HARRY H WISE JR                                701 ROSAMOND ST                                                                                DAYTON          OH    45427‐2745
HARRY HAKE 3RD                                 11000 PLACIDA RD #801                                                                          PLACIDA         FL    33946‐2117
HARRY HAMMER                                   4552 ROUTE 305                                                                                 CUBA            NY    14727‐9724
HARRY HANSEN                                   1502 MILLBANK ST SE                                                                            GRAND RAPIDS    MI    49508‐2573
HARRY HASTEN                                   1710 TAM OSHANTER ROAD APT 12D                                                                 SEAL BEACHOS    CA    90740‐4733
HARRY HAYNES                                   311 E TAYLOR ST                                                                                SIMS            IN    46986‐9656
HARRY HORN & MRS SALLY HORN JT TEN             5961 PALISADE AVE                     APT 715                                                  BRONX           NY    10471‐1257
HARRY HORNER                                   C/O CAROL L ROBERTS                   140 S VILLAGE DR                                         CENTERVILLE     OH    45459‐2152
HARRY HUTTON & SUSAN L HUTTON JT TEN           3151 MARNA AVE                                                                                 LONG BEACH      CA    90808‐3247
HARRY I GALEN                                  6151 SW MILL ST                                                                                PORTLAND        OR    97221‐1451
HARRY I SPENCER JR                             79 BIRCHWOOD DR                                                                                HOLDEN          MA    01520‐1939
HARRY J ACKERMAN                               3676 ASHLAND ST                                                                                SPALDING        MI    49886
HARRY J ADAMS                                  17459 ELLSWORTH ROAD                                                                           LAKE MILTON     OH    44429‐9564
HARRY J ADAMS & MARILYN D ADAMS JT TEN         1741 RICHBURG PARK DR                                                                          BRENTWOOD       TN    37027‐4701
HARRY J BALULIS                                7369 LUPINE AVE                                                                                JENISON         MI    49428‐9721
HARRY J BAUER                                  1209 S STONEYBROOK CIR                                                                         WICHITA         KS    67207‐3907
HARRY J BECHER                                 3150 50TH AVENUE S E                                                                           ROCHESTER       MN    55904‐6137
HARRY J BECKER                                 320 E 42ND ST                                                                                  NEW YORK        NY    10017‐5900
HARRY J BIELAS                                 1365 GREGORY                                                                                   LINCOLN PARK    MI    48146‐3321
HARRY J BIGHAM                                 74345 KANIE                                                                                    ROMEO           MI    48065‐3318
HARRY J BISSONTZ                               618 PLEASANT HILL RD                                                                           DOVER           TN    37058‐5838
HARRY J BRENNER                                9803 N C R 850 W                                                                               DALEVILLE       IN    47334‐9501
HARRY J CALLIER                                1312 FOREST CREEK DR                                                                           ST CHARLES      MO    63303‐5811
HARRY J CAMPBELL & CAROLE R CAMPBELL HABERKORN 16968 PROGRESS SCHOOL RD                                                                       BRIDGEVILLE     DE    19933‐3401
JT TEN
HARRY J CAMPBELL & HARRY C CAMPBELL JT TEN     16968 PROGRESS SCHOOL RD                                                                       BRIDGEVILLE     DE    19933‐3401
HARRY J CARNEY                                 7513 COOK JONES ROAD                                                                           WAYNESVILLE     OH    45068‐8818
HARRY J CATTS                                  146 DELAWARE AVE                                                                               MILLSBORO       DE    19966‐1726
HARRY J COWAN                                  7571 S FENMORE RD                                                                              MERRILL         MI    48637‐9732
HARRY J COYLE JR & MAUREEN K COYLE JT TEN      46 PLEASANT ST                                                                                 EAST            MA    01028‐2437
                                                                                                                                              LONGMEADOW
HARRY J CROUT                                    9640 WASHINGTON                                                                              ROMULUS         MI    48174‐1553
HARRY J CUSHMAN                                  1403 CYPRESS                                                                                 SAGINAW         MI    48602‐2827
HARRY J CZUBEK JR & MARTHA L CZUBEK JT TEN       PO BOX 235                                                                                   UNION HALL      VA    24176‐0235
HARRY J DEEL                                     1123 CASE COURT                                                                              MIAMISBURG      OH    45342‐2544
HARRY J DELOSH                                   1486 LA SALLE                                                                                BURTON          MI    48509‐2408
HARRY J DOCKERY & MRS SHIRLEY M DOCKERY JT TEN   1608 OLD RIVER RD                                                                            BROXTON         GA    31519‐3938

HARRY J DUBY & JADINE S DUBY JT TEN              911 N SHORE DR                                                                               SPRINGPORT      MI    49284‐9414
HARRY J EBACH                                    1807 BURNHAM                                                                                 SAGINAW         MI    48602‐1116
HARRY J EDWARDS                                  16010 JENNINGS ROAD                                                                          FENTON          MI    48430‐9125
HARRY J EWARD                                    125 BROOKS GLEN                                                                              ROSWELL         GA    30075‐1206
HARRY J FIORILLO JR                              302 SUMMER ST                                                                                BRISTOL         CT    06010‐5063
HARRY J FURMAN                                   200 ST LUKE DRIVE #117                                                                       LITITZ          PA    17543‐2218
HARRY J GARFIELD & MARY A GARFIELD JT TEN        W265 S7525 CRESTVIEW DRIVE                                                                   WAUKESHA        WI    53189‐9639
HARRY J GAVITA                                   128 WOODLAND TRCE                                                                            CORTLAND        OH    44410‐1903
HARRY J GROCHOWSKI                               607 ORCHARD AVE LOT 95                                                                       HEBRON          IN    46341‐9359
HARRY J HALLAS & MRS HELEN R HALLAS JT TEN       44 HICKORY DR                                                                                GREENWICH       CT    06831‐4916
HARRY J HARRIS                                   310 EDWIN AVE                                                                                FLINT           MI    48505
HARRY J HOWELL                                   1272 RELIANCE CT                                                                             INDEPENDENCE    KY    41051‐8521
HARRY J HUDSON & JEANNE ANNE HUDSON JT TEN       4883 GRENADIER DRIVE SW                                                                      WYOMING         MI    49509‐5021

HARRY J HUNG & MARIAN F HUNG TR UA 10/06/92      2423 ASHBY AVE                                                                               BERKELEY        CA    94705‐2001
HARRY J HUNG & MARIAN F
HARRY J JOHNSTON                                 47 DARLINGTON RD                                                                             BEAVER FALLS    PA    15010‐3021
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HARRY J JOHNSTON & MARIE L JOHNSTON TEN ENT      47 DARLINGTON RD                                                                              BEAVER FALLS       PA    15010‐3021

HARRY J JOHNSTON & MRS MARIE L JOHNSTON JT TEN   47 DARLINGTON RD                                                                              BEAVER FALLS       PA    15010‐3021

HARRY J KENNEDY                                  1130 MORRIS RD                                                                                ALPENA             MI    49707‐9368
HARRY J KIMBLE                                   5008 HILLARD AVE                                                                              LA CANADA          CA    91011‐1507
HARRY J KOONTZ OR SANDRA P KOONTZ TR UA          27 SUSSEX COURT W                                                                             LEXINGTON          OH    44904
07/22/2008 KOONTZ FAMILY TRUST
HARRY J LAMBETH & FLORENCE LAMBETH JT TEN        5605 GROSVENOR LANE                                                                           BETHESDA           MD    20814‐2125
HARRY J LANSU & BETTY J LANSU JT TEN             6538 SILVIO DR                                                                                GARDEN CITY        MI    48135‐1631
HARRY J LAYTON JR                                1425 GOLF ST                                                                                  SCOTCH PLAINS      NJ    07076‐2609
HARRY J LEONARD                                  61 MUD LAKE RD                                                                                WEST BRANCH        MI    48661
HARRY J LEVINSON                                 12508 RADOYKA DR                                                                              SARATOGA           CA    95070‐3527
HARRY J LORD                                     5252 TAHQUAMENON                                                                              FLUSHING           MI    48433‐1242
HARRY J LOWTHER                                  PO BOX 7010                                                                                   EUREKA             CA    95502‐7010
HARRY J MANLEY JR                                1230 BAY POINTE TER                                                                           ALPHARETTA         GA    30005‐6954
HARRY J MCELDOWNEY                               95 COSHWAY PL                                                                                 TONAWANDA          NY    14150‐5214
HARRY J MERO                                     1462 MEDINAH LANE                                                                             MURRELLS INLET     SC    29576‐8640
HARRY J MERVIS                                   PO BOX 863                                                                                    WINTER PARK        FL    32790‐0863
HARRY J NOGE JR                                  2405 NANCY ST                                                                                 ORLANDO            FL    32806‐1647
HARRY J PEACOCK & HELEN L PEACOCK JT TEN         7670 WRIGHT RD                                                                                WESTPHALIA         MI    48894
HARRY J PEARCE                                   455 WISHBONE                                                                                  BLOOMFIELD HILLS   MI    48304‐2352

HARRY J SHAW                                     2409 ANNGLEN ST                                                                               FT WORTH           TX    76119‐2714
HARRY J STENGEL & LORETTA A STENGEL TR STENGEL   503 THORN ST                                                                                  NORTH BABYLON      NY    11703‐4415
FAMILY TRUST UA 10/8/92
HARRY J STIDHAM                                  631 ASHBY DRIVE                                                                               WAYNESBORO         VA    22980‐3537
HARRY J SWARTZ CUST LAUREN EMILY SWARTZ UTMA     4965 GORMAN RD                                                                                OAKLAND            MD    21550‐6551
MD
HARRY J TICHACEK                                 3843 UTAH                                                                                     SAINT LOUIS        MO    63116‐4832
HARRY J TRIHAS                                   17868 LYON LN                                                                                 STRONGSVILLE       OH    44149‐6886
HARRY J VON MALDER JR                            PO BOX 51                                                                                     CATAUMET           MA    02534‐0051
HARRY J WANSITLER                                PO BOX 67                                                                                     OAK HARBOR         OH    43449‐0067
HARRY J WARD                                     11384 SOUTH 34TH STREET                                                                       VICKSBURG          MI    49097‐9523
HARRY J WATSON 3RD                               3141 W 33RD ST                                                                                INDIANAPOLIS       IN    46222‐1801
HARRY J WATSON IV                                3677 BELLERIVE BOULEVARD                                                                      SAINT LOUIS        MO    63116
HARRY J WELSH                                    1642 NANTUCKET DR                                                                             MANSFIELD          OH    44904‐2150
HARRY J WEST                                     948 DIVISION ST                                                                               ADRIAN             MI    49221‐4024
HARRY J WILSON                                   3208 HUNTER COVE DR                                                                           ARLINGTON          TX    76001‐6636
HARRY J WITKOP JR                                164 ALLEN ST                                                                                  MASSENA            NY    13662‐1845
HARRY JACK BEGG                                  5050 NORTH TUPELO TURN                                                                        WILMINGTON         DE    19808‐1024
HARRY JAMISON JR                                 4117 LAWNDALE AVE                                                                             FLINT              MI    48504‐3505
HARRY JOE CHUCK CUST SARAH ELIZABETH CHUCK       1775 42ND AVENUE                                                                              SAN FRANCISCO      CA    94122‐4005
UGMA CA
HARRY JOE CHUCK CUST TIMOTHY ANDREW CHUCK        782 10TH AVENUE                                                                               SF                 CA    94108‐2015
UGMA CA
HARRY JOHN LUCE & BARBARA LOU LUCE JT TEN        PO BOX 746                                                                                    PORT AUSTIN        MI    48467‐0746
HARRY JONES                                      103 COMPASS RD                                                                                BALTIMORE          MD    21220‐4503
HARRY JONES JR & MRS EMMA JONES JT TEN           14780 WINDERMERE                                                                              SOUTHGATE          MI    48195‐3710
HARRY JOSEPH                                     1713 N GENESEE DR                                                                             LANSING            MI    48915‐1225
HARRY JOSEPH KACZMAREK                           180 WENDEL AVE                                                                                BUFFALO            NY    14223‐2927
HARRY JOSEPH KULIGOWSKI                          160 SIXTH AVE                                                                                 NO TONAWANDA       NY    14120‐4016
HARRY K BRADY                                    107 LAFAYETTE                                                                                 NILES              OH    44446‐3106
HARRY K BUCK JR                                  605W MANOR RD                                                                                 COATESVILLE        PA    19320‐1903
HARRY K CARACOSTIS                               8411 CORTELAND DR                                                                             KNOXVILLE          TN    37909‐2120
HARRY K KRAPE                                    649 N BRENNAN                                                                                 HEMLOCK            MI    48626‐9638
HARRY K LOVEN                                    9135 GALENA ST                                                                                RIVERSIDE          CA    92509‐3041
HARRY K NEAL                                     BOX 68                                                                                        MADISON            GA    30650‐0068
HARRY K NEWQUIST                                 10543 HAWTHORN CT                                                                             SAINT PAUL         MN    55129‐8799
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HARRY K PICK                                    253 SIMSBURY RD                                                                                WEST HARTFORD    CT     06117‐1453
HARRY K SCHOFF                                  2129 KENDALL AVE                                                                               MADISON          WI     53705‐3915
HARRY K TINSON                                  11531 PRIOR ROAD                                                                               GAINES           MI     48436‐8810
HARRY KAREBIAN & EUGENIE KAREBIAN JT TEN        30752 TANGLEWOOD TRAIL                                                                         FARMINGTON HILLS MI     48331‐1208

HARRY KARNOWSKI                                 16364 HILLTOP DR                                                                               LINDEN            MI    48451‐8781
HARRY KELLER JR                                 850 BLUE CRANE DRIVE                                                                           VENICE            FL    34285
HARRY KELLY THOMSON JR                          7053 MANDY LANE                                                                                NEW PORT RICHEY   FL    34652‐1337

HARRY KESSLER                                   60 VICTORIA DRIVE                                                                              ROCHESTER         NY    14618‐2757
HARRY KOWALCHECK                                105 HOME ST                                                                                    WEST NEWTON       PA    15089‐1427
HARRY KREMIN & MRS RUTH KREMIN JT TEN           90 TENNYSON DR                                                                                 NANUET            NY    10954‐1040
HARRY L ARTHUR                                  9376 FOREST CT S W                                                                             SEATTLE           WA    98136‐2829
HARRY L BEARD                                   1507 N DELPHOS                                                                                 KOKOMO            IN    46901‐2535
HARRY L BELL JR                                 236 BONITA CIR                                                                                 PANAMA CITY       FL    32408‐4635
HARRY L BENNETT                                 1435 FLUSHING RD                                                                               FLUSHING          MI    48433‐2245
HARRY L BIVENS JR                               PO BOX 86                                                                                      MT STERLING       OH    43143‐0086
HARRY L BOCK                                    3810 HENDREE LANE                                                                              MECHANICSVLLE     VA    23111
HARRY L BOLT                                    1308 NOKOMIS                                                                                   WATERFORD         MI    48328‐4254
HARRY L BOURNE                                  216 CORONA AVE                                                                                 DAYTON            OH    45419‐2601
HARRY L BRUNER                                  HC 86 BOX 515                                                                                  KETTLE ISLAND     KY    40958‐9702
HARRY L BRYANT                                  RIDDLE VILLAGE 511 ARLINGTON                                                                   MEDIA             PA    19063
HARRY L CAIN                                    3586 SANTA FE TRAIL                                                                            DORAVILLE         GA    30340‐2714
HARRY L CHAMBERS                                RR 1 BOX 48                                                                                    BETHANY           WV    26032‐9410
HARRY L CHANDLER                                5987 COUNTY RD 437                                                                             CULLMAN           AL    35057‐3840
HARRY L CHANDLER & WYNELL M CHANDLER JT TEN     5987 COUNTY RD 437                                                                             CULLMAN           AL    35057‐3840

HARRY L COOPER                                  2021 HIGHWAY 124                                                                               GREENFIELD        TN    38230‐3611
HARRY L CROYLE                                  30086 TRAILWOOD DR                                                                             WARREN            MI    48092
HARRY L DAVIDSON                                2050 N COLLING RD                                                                              CARO              MI    48723‐9705
HARRY L DOMINOWSKI                              211 S FARRAGUT                                                                                 BAY CITY          MI    48708‐7352
HARRY L DRISKILL                                RR 3 BOX L 309                                                                                 LACYGNE           KS    66040
HARRY L EDWARDS JR & MRS BONNIE J EDWARDS JT    3901 BROWN ST                                                                                  FLINT             MI    48532‐5278
TEN
HARRY L ELLOUT                                  411 LYNCH                                                                                      PONTIAC           MI    48342‐1954
HARRY L EVANS                                   30308 BARJODE RD                                                                               WILLOWICK         OH    44095‐4947
HARRY L FIELDS                                  12420 SILVER LK RD                                                                             BRIGHTON          MI    48116‐8321
HARRY L GREER III & CONNIE GREER JT TEN         ATTN CONNIE A MURRAY                  178 BEACHY ST                                            SALISBURY         PA    15558‐9008
HARRY L GREGG                                   15255 W BARTON LAKE DR                                                                         VICKSBURG         MI    49097‐9775
HARRY L HARRIS                                  2805 WEST EIGHT MILE                                                                           DETROIT           MI    48203‐1071
HARRY L HENRY                                   216 E 99TH ST                                                                                  LOS ANGELES       CA    90003‐4227
HARRY L HICKS                                   1064 BRADLEY MILL ROAD                                                                         AIKEN             SC    29805‐9378
HARRY L HICKS                                   228 GREENLAWN DR                                                                               AMHERST           OH    44001‐1020
HARRY L HOARD                                   121 E LITLE BEAR LN                                                                            SHELTON           WA    98584‐9655
HARRY L HOWARD                                  47259 JEFFREY                                                                                  UTICA             MI    48317‐2922
HARRY L HUSSEY & LOIS M HUSSEY JT TEN           6003 E FLEMING SPRINGS RD                                                                      CAVE CREEK        AZ    85331‐8105
HARRY L HUTT                                    250 MERCER ST                         CHATHAM ON                             N7M 4B7 CANADA
HARRY L JAMES & MICHELLE G JAMES JT TEN         733 RIVER RIDGE RD                                                                             FRANKFORT         KY    40601
HARRY L JONES                                   24040 BERKLEY                                                                                  OAK PARK          MI    48237‐2027
HARRY L KREPP                                   BOX 125                                                                                        COOPERSTOWN       PA    16317‐0125
HARRY L LEDGERWOOD                              3313 GREENWOOD DR                                                                              NORMAN            OK    73072‐3395
HARRY L MCKINLEY                                2672 GREGORY ST SW                                                                             JENISON           MI    49428‐8752
HARRY L MCQUEEN                                 3541 MARYS RD                                                                                  MARION            SC    29571‐7920
HARRY L MORTON                                  567 B CAMPBELLS CK DR                                                                          CHARLESTON        WV    25306‐6863
HARRY L MURRISON                                2996 FAIR OAK RD                                                                               AMELIA            OH    45102‐9791
HARRY L MYERS JR                                59 GREENVIEW DRIVE                                                                             STAUNTON          VA    24401‐9311
HARRY L OLIVER                                  891 MT MORIAH ROAD                                                                             AUBURN            GA    30011‐2202
HARRY L PACKARD                                 740 BISHOP RD                                                                                  LEAVITTSBURG      OH    44430‐9682
HARRY L POTTS                                   PO BOX 420                                                                                     SELMA             IN    47383‐0420
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HARRY L SEEGER                                     114 EAST JOHN FITCH AVE                                                                       BARDSTOWN       KY    40004‐1012
HARRY L SHAUL                                      10607 E 700 N                                                                                 WILKINSON       IN    46186‐9794
HARRY L SHAUL & MRS MARY ETTA M SHAUL JT TEN       10607 E 700 N                                                                                 WILKINSON       IN    46186‐9794

HARRY L SHIPP                                      1940 MERCER AVE                                                                               COLLEGE PARK    GA    30337‐1114
HARRY L SHROPSHIRE                                 339 ALABAMA ST                       APT 5                                                    BUFFALO         NY    14204‐2343
HARRY L SKOGLUND & LAURA SKOGLUND JT TEN           519 CENTRAL AVE                                                                               FALCONER        NY    14733‐1241
HARRY L SMITH & JOAN M SMITH JT TEN                BOX 15                               SOUTH GOOD SPRING RD                                     HEGINS          PA    17938‐0015
HARRY L SNYDER                                     783 PRENTICE ROAD NW                                                                          WARREN          OH    44481‐9473
HARRY L STACHOWIAK & ALFREDA STACHOWIAK JT TEN     25345 VILLAGEWOOD COURT                                                                       SOUTH LYON      MI    48178

HARRY L THOMASON                                  1120 THOMAS ROAD                                                                               CLEVELAND       GA    30528‐4745
HARRY L THOMASSON                                 7003 JANES FARM DR                                                                             LOUISVILLE      KY    40228‐2193
HARRY L THORNTON JR                               95 CLIPPER WAY                                                                                 NEWBURYPORT     MA    01950‐3554
HARRY L TOON                                      4117 S EATON ST                                                                                INDIANAPOLIS    IN    46239‐1576
HARRY L VIDRICKSEN CUST KARL L VIDRICKSEN UGMA CA 250 EVERGREEN DRIVE                                                                            PROSPECT        OR    97536‐8910

HARRY L WALKER                                     900 LONG BLVD                        APT 411                                                  LANSING         MI    48911‐6736
HARRY LA VERN HOVER                                5943 DEARY WAY                                                                                ORANGEVALE      CA    95662‐5012
HARRY LAMBERT JR                                   300 BROADWAY                                                                                  DOBBS FERRY     NY    10522‐2138
HARRY LAMPMAN                                      3050 GLENCREST RD 1010               BURLINGTON ON                          L7N 2H3 CANADA
HARRY LE ROY HASKILL                               13829 SANTA RITA DR                                                                           NAMPA           ID    83686‐9354
HARRY LEE BROGDEN JR                               1505 HOLGATE DRIVE                                                                            GREENSBORO      NC    27410‐2835
HARRY LEE GARRITY                                  PO BOX 26                                                                                     DEWITT          IA    52742‐0026
HARRY LENYO                                        230 MC CONKEY DRIVE                                                                           KENMORE         NY    14223‐1032
HARRY LEWIS JOHNSON                                170 CLINTON RIVER DR                                                                          MT CLEMENS      MI    48043
HARRY LITTLE TR HARRY LITTLE GRANTOR TRUST UA      1048 N ALAMO RD #415                                                                          ALAMO           TX    78516‐6953
03/22/04
HARRY LURTON BELL JR                               236 BONITA CIR                                                                                PANAMA CITY     FL    32408‐4635
HARRY LUSS                                         382 DIVISION ST                                                                               SOUTH AMBOY     NJ    08879‐1932
HARRY M ANDERSON                                   2095 N ASH ST APT 301                                                                         NEVADA          MO    64772‐2253
HARRY M BACHMAN JR                                 7205 SHAWNEE RD                                                                               N TONAWANDA     NY    14120‐1352
HARRY M BEGUELIN                                   PO BOX 476                                                                                    HIGHLAND        CA    92346‐0476
HARRY M BUNDREN & RUTH C BUNDREN JT TEN            616 NORMANS LN LAMBETH RDNG                                                                   NEWARK          DE    19711‐3045
HARRY M BURTON JR                                  917 NORTH MEADOWVIEW DRIVE                                                                    CHESTERTOWN     MD    21620
HARRY M GRAVES                                     2905 WYOMING                                                                                  FLINT           MI    48506‐2463
HARRY M HATAWAY                                    217 BONANZA DRIVE                                                                             SULA            MT    59871‐9702
HARRY M HENNESY                                    910 POTOMAC AVE                                                                               HAGERSTOWN      MD    21742‐3926
HARRY M HUSON                                      1916 NEWTON DRIVE                                                                             CHEYENNE        WY    82001‐1654
HARRY M JARRETT & SHIRLEY S JARRETT JT TEN         126 W REYNOLDS AVE                                                                            BELLE           WV    25015‐1536
HARRY M JENNINGS JR                                C/O JEFFREY JENNINGS                 3042 DELAWARE ST                                         OAKLAND         CA    94602‐3220
HARRY M JOINER                                     22670 VILLAGE LANE                                                                            ATHENS          AL    35613‐2871
HARRY M KARICKHOFF                                 10001 GOODALL RD BOX E10                                                                      DURAND          MI    48429‐9744
HARRY M MC ALLISTER                                267 N BROAD ST                                                                                PENNSGROVE      NJ    08069‐1024
HARRY M MICENSKY                                   161 PEPPERELL AVE                                                                             HOUGHTON LAKE   MI    48629‐8900
HARRY M MILLIKEN III & CAROL L MILLIKEN JT TEN     6 JUDITH STREET                                                                               LEWISTON        ME    04240‐2008

HARRY M MONTGOMERY JR                              610 WATER ST                                                                                  WILLIAMSTOWN    MA    01267‐2872
HARRY M MOOREFIELD                                 1029 31ST TERRACE NE                                                                          ST PETERSBURG   FL    33704‐2332
HARRY M O DONNELL                                  7 MURDOCK CT                                                                                  FORDS           NJ    08863‐1227
HARRY M PYLE                                       4902 BAYSHORE BLVD                   APT 318                                                  TAMPA           FL    33611‐3863
HARRY M ROBERTS                                    503 NEVADA                                                                                    PONTIAC         MI    48341‐2552
HARRY M SHARBNOW                                   3564 16TH ST                                                                                  WYANDOTTE       MI    48192‐6422
HARRY M SHIVELY                                    467 MONTEREY DRIVE                                                                            APTOS           CA    95003‐4809
HARRY M STORMER                                    3568 BAYBROOK DRIVE                                                                           WATERFORD       MI    48329‐3900
HARRY M TORBERT                                    1700 YARDLEY‐NEWTOWN ROAD                                                                     YARDLEY         PA    19067‐4102
HARRY M TREBING TR HARRY M TREBING LIVING TRUST    6912 BELLONA AVE                                                                              BALTIMORE       MD    21212
UA 09/25/97
HARRY M WEBER                                      255 RANDAL CRESENT                   SCARBOROUGH ON                         M1M 3K5 CANADA
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HARRY M WILLS                                    41715 MCBRIDE AVE                                                                              BELLEVILLE        MI    48111‐3411
HARRY M YAREMCHUK                                8147 ST JOHNS DR                                                                               WESTLAND          MI    48185‐4615
HARRY M YEANY                                    18070 WESTERN RESERVE RD                                                                       N BENTON          OH    44449‐9620
HARRY MALINOWSKI & LUCILLE MALINOWSKI JT TEN     1342 BONEFISH CT                                                                               FORT PIERCE       FL    34949‐2903

HARRY MANDEL TR LLOYD B MANDEL U/DECL OF TR DAT 4 LEICESTER RD                                                                                  CHARLESTON        SC    29407‐3430
3/9/56
HARRY MARTIN                                       12515 EARLY MORNING DR                                                                       FLORISSANT        MO    63033‐8518
HARRY MARX                                         PO BOX 14                                                                                    GILROY            CA    95021‐0014
HARRY MARX CUST MELVIN MARX U/THE NEW YORK         65‐09 99TH ST                                                                                REGO PARK         NY    11374‐3570
UNIFORM GIFTS TO MINORS ACT
HARRY MATIAS                                       1830 E YOSEMITE AVE                 SPC 239                                                  MANTECA           CA    95336‐5016
HARRY MAY                                          195 BENNETT AV #6D                                                                           NEW YORK          NY    10040‐4065
HARRY MILLER                                       44 LAXFIELD ROAD                                                                             WESTON            MA    02493
HARRY MINNICH & MARIE A MINNICH JT TEN             6051 SHELRICH ST                                                                             CINCINNATI        OH    45247‐5836
HARRY MITCHELL                                     3823 CRESCENT DRIVE                                                                          CINCINNATI        OH    45245‐2703
HARRY MIZERAK                                      BOX 497                                                                                      WEIRSDALE         FL    32195‐0497
HARRY MOBLEY                                       PO BOX 334                                                                                   CROYDON           PA    19021‐0334
HARRY MOEBS JR                                     41 OSWEGO RIVER RD                                                                           PHOENIX           NY    13135
HARRY MONTGOMERY WAUGH III                         2904 TANTALLON DR SE                                                                         OWENS X RDS       AL    35763
HARRY N BROWN                                      149 PRINCETON AVE                                                                            PALMERTON         PA    18071‐1213
HARRY N BUMP                                       4323 STOLLACKER RD                                                                           JEFFERSON         OH    44047‐8491
HARRY N HATCHER                                    22413 MILLENBACH ST                                                                          ST CLR SHORES     MI    48081‐1305
HARRY N HOGGATT                                    1636 S 50TH ST                                                                               KANSAS CITY       KS    66106‐2327
HARRY N OWENS                                      1184 BRIAR PATCH LN                                                                          BURTON            MI    48529‐2272
HARRY N PHILLIPS                                   7 LUMAR RD                                                                                   TRENTON           NJ    08648‐3127
HARRY N PLOTYCIA & ELAINE F PLOTYCIA JT TEN        5301 CHESTNUT RIDGE RD              APT F                                                    ORCHARD PARK      NY    14127‐3274
HARRY NEMINSKI                                     2501 CLAYWARD DR                                                                             BURTON            MI    48509‐1057
HARRY NEMINSKI & MARSHA K NEMINSKI JT TEN          2501 CLAYWARD DR                                                                             BURTON            MI    48509‐1057
HARRY O COLLINS                                    5741 PARVIEW DR                     APT 1                                                    CLARKSTON         MI    48346‐2858
HARRY O DEFFENBAUGH JR                             3300 NW 51ST TER                                                                             BLUE SPRINGS      MO    64015‐3906
HARRY O DOTY                                       4914 CONNELL DR                                                                              RALEIGH           NC    27612‐3006
HARRY O FORD                                       13206 CLEAR RIDGE RD                                                                         KNOXVILLE         TN    37922‐5359
HARRY O SWAN                                       349 PORTER ST N E                                                                            WARREN            OH    44483‐5020
HARRY O THOMAS                                     345 OLIVER RD                                                                                BARNESVILLE       GA    30204‐3537
HARRY P DENSTEN                                    734 BRIDGETON PIKE                  TRLR 182                                                 MULLICA HILL      NJ    08062‐3836
HARRY P FITZMAURICE & SHIRLEY L FITZMAURICE JT TEN 3135 EDWARD PLACE                                                                            SAGINAW           MI    48603‐2307

HARRY P FULLER                                   2740 CAMBRIDGE RD                                                                              YORK              PA    17402‐3933
HARRY P JONES                                    3790 E COVE PARK TRL                                                                           HERNANDO          FL    34442‐5520
HARRY P KEATING                                  41 PINEWOOD DR SW                                                                              CAROLINA SHORES   NC    28467‐2317

HARRY P KEPER & GLORIA L KEPER JT TEN            11481 WINDSOR DR                                                                               HUNTLEY           IL    60142‐6211
HARRY P LARSON                                   PO BOX 8322                                                                                    JANESVILLE        WI    53547‐8322
HARRY P MCDONALD                                 4630 MARTON ROAD                                                                               KINGSTON          MI    48741‐9780
HARRY P MILLER                                   7140 SPRINGDALE DR                                                                             BROOKFIELD        OH    44403‐9621
HARRY P MILLINGHAUSEN                            MASONIC VILLAGE                       801 RIDGE PIKE APT 38                                    LAFAYETTE HL      PA    19444
HARRY P MOORE                                    C/O JAMES MOORE                       7 LEDGEWOOD DR                                           FARMINGTON        CT    06032‐1015
HARRY P RYBA                                     520 AUSTIN ST                                                                                  HILLMAN           MI    49746‐9056
HARRY P RYBA                                     520 AUSTIN ST                                                                                  HILLMAN           MI    49746‐9056
HARRY P SCHALLER TR HARRY P SCHALLER TRUST UA    PO DRAWER 1227                                                                                 STORM LAKE        IA    50588‐1227
10/18/93
HARRY P SEUHBETIAN                               13731 45TH AVE                                                                                 FLUSHING          NY    11355‐4048
HARRY PALLER                                     8203 WALSH                                                                                     RIVER GROVE       IL    60171‐1115
HARRY PAPAZIAN & MRS ROSE PAPAZIAN JT TEN        29430 LEEMOOR DR                                                                               SOUTHFIELD        MI    48076‐1693
HARRY PAPPAS                                     26441 KINYON                                                                                   TAYLOR            MI    48180‐3090
HARRY PAUL PATTON                                1011 CIRCLE DR                                                                                 JAMESTOWN         TN    38556‐5513
HARRY PENHASI & MRS KAREN J PENHASI JT TEN       PO BOX 297                                                                                     NEVADA CITY       CA    95959‐0297
HARRY PILARSKI                                   460 CHAIRFACTORY RD                                                                            ELMA              NY    14059‐9312
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HARRY POARCH JR                                4221 E PINE                                                                                    TULSA            OK     74115‐5141
HARRY POMERANZ & BEVERLY A POMERANZ JT TEN     32204 LAKEPORT DR                                                                              WESTLAKE VILLAGE CA     91361‐4230

HARRY PRICE                                    615 ROSEMONT RD                                                                                NORTH JACKSON     OH    44451‐9717
HARRY R ARMSTRONG                              421 GREEN VISTA DR                                                                             ENON              OH    45323‐1340
HARRY R BASKERVILLE                            220 ROCK HOUSE WAY                                                                             CADIZ             KY    42211‐8870
HARRY R BOLING                                 7786 FOXHILL DRIVE                                                                             CAMBY             IN    46113‐8679
HARRY R CHADWICK                               3910 GULF BLVD                        # 400                                                    ST PETE BEACH     FL    33706‐3817
HARRY R CLAY                                   208 CHRISTOPHER CT                                                                             HEBRON            OH    43025‐9552
HARRY R COATES                                 73 PENNY LN                                                                                    STANTON           MI    48888‐8940
HARRY R COLLVER                                12422 HAWKINS RD                                                                               BURT              MI    48417‐9750
HARRY R CRAIN                                  715 ROUTE 539                                                                                  NEW EGYPT         NJ    08533‐2107
HARRY R CRAWFORD & WAYNE E CRAWFORD JT TEN     23599 DAVIS LAKE RD                                                                            EDWARDSBURG       MI    49112‐9540

HARRY R CUMMINGS                               11221 MCKINLEY ROAD                                                                            MONTROSE          MI    48457‐9006
HARRY R DURANT JR                              102 MOUNTAIN HILL RD                                                                           NORTH             CT    06255‐1605
                                                                                                                                              GROSVENORDALE
HARRY R EISENHUTH                              PO BOX 172                                                                                     HINSDALE          NY    14743‐0172
HARRY R FRAZIER                                2515 BURNET AVE                       APT 605                                                  CINCINNATI        OH    45219‐2513
HARRY R GOOD & FRANCES PATRICIA GOOD TR UA     9734 EDWARD DR                                                                                 SUN CITY          AZ    85351‐3633
03/05/92 THE GOOD TRUST
HARRY R HACKLER                                709 HURON HILL                                                                                 MADISON           WI    53711‐2905
HARRY R HARDING JR                             1212 DECKER RD                                                                                 WALLED LAKE       MI    48390
HARRY R HASTEDT                                2327 HARMONY DR                                                                                BURTON            MI    48509‐1163
HARRY R HENMAN                                 3110 WEST PETTY ROAD                                                                           MUNCIE            IN    47304‐3266
HARRY R HILTNER                                18445 PELLETT CT                                                                               FENTON            MI    48430‐8509
HARRY R HOLMES                                 249 REGINA AVE                                                                                 TRENTON           NJ    08619‐2205
HARRY R HOLTHAUSEN                             303 WEATHERBURN DR                                                                             POWELL            OH    43065‐9112
HARRY R HORNE                                  2901 STATE HIGHWAY 107 WEST           LOT 345                                                  MCALLEN           TX    78504‐9408
HARRY R HOWARD CUST KENNETH HOWARD UGMA NJ     3590 21ST ST APT 101                                                                           SAN FRANCISCO     CA    94114‐3017

HARRY R JACKSON                                29531 KATHRYN                                                                                  GARDEN CITY       MI    48135‐2663
HARRY R JACOBS JR & MARJORIE R JACOBS JT TEN   11 KILDEE RD                                                                                   BELLE MEAD        NJ    08502‐5708
HARRY R KELCH                                  6517 BETH ANNE CT                                                                              MIDDLETOWN        OH    45044‐8639
HARRY R KERR & JANICE KERR JT TEN              695 BURDETT DR                                                                                 ASTON             PA    19014‐2505
HARRY R KNOX & ELIZABETH J KNOX JT TEN         204 VIRGINIA AVE                                                                               WILMINGTON        DE    19805‐1141
HARRY R LAWRENCE                               730 WESTDALE ST                       OSHAWA ON                              L1J 5B7 CANADA
HARRY R LEE                                    1212 BEAVER RUN RD                                                                             ANDERSON          SC    29625‐6707
HARRY R MEYER                                  6910 OREGON AVE                                                                                LA MESA           CA    91942‐1206
HARRY R QUINE & MARGARET J QUINE JT TEN        6940 DEADSTREAM RD                                                                             HONOR             MI    49640‐9799
HARRY R SATNESS                                1861 SUN VALLEY                                                                                BELOIT            WI    53511‐3264
HARRY R SHAFFER                                1085 PRENTICE ROAD                                                                             WARREN            OH    44481‐9415
HARRY R STEWART                                8411 KAVANAGH RD                                                                               BALTIMORE         MD    21222‐5626
HARRY R SWALLOW                                3932 E RIVER RD                                                                                GRAND ISLAND      NY    14072‐1447
HARRY R SWEENY                                 112 POSSUM HOLLOW RD                                                                           NEWARK            DE    19711‐3910
HARRY R TYSON                                  PO BOX 337                                                                                     SCIENCE HILL      KY    42553‐0337
HARRY R VANDYKE                                7167 BROCKWAY SHARON RD                                                                        BURGHILL          OH    44404‐9773
HARRY R VICKERS                                6 GREENWICH DR                                                                                 DOVER             DE    19901‐1597
HARRY R WEHRINGER JR                           740 E PHILADELPHIA AVE                                                                         YOUNGSTOWN        OH    44502‐2454
HARRY R WHITNEY                                4562 FOREST WOOD TRAIL                                                                         SARASOTA          FL    34241‐6253
HARRY R WINANS                                 6912 N CARLAND RD                                                                              ELSIE             MI    48831‐9407
HARRY R ZARADNY                                2136 LINCOLN ST                       PO BOX 459                                               MAYVILLE          MI    48744‐0459
HARRY RADEMAKER JR                             28012 GLADSTONE AVE                                                                            ST CLAIR SHORES   MI    48080
HARRY RATES                                    1971 PAGEL                                                                                     LINCOLN PARK      MI    48146‐3440
HARRY RAYMOND EATON & CAROLINE EATON JT TEN    1924 S PRAIRIE DUNES CT                                                                        OVIEDO            FL    32765

HARRY REED CUST SHAROLYN SUE REED UGMA IA      10105 APPLE CREEK                                                                              DALLAS            TX    75243‐4803
HARRY RICH CALVIRD & GINA C CALVIRO JT TEN     PO BOX 2215                                                                                    CUMMING           GA    30028
HARRY RICHARD TULLIS                           400 JOELLEN PL                                                                                 UNION             OH    45322‐3112
                                                09-50026-mg              Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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HARRY ROBINSON                                    590 AVALON AVE                                                                                 AKRON            OH    44320
HARRY ROSENBERG                                   2039 N LINCOLN                        J                                                        CHICAGO          IL    60614‐4531
HARRY S DUNLAP                                    3101 HALLOCK YOUNG RD                                                                          WARREN           OH    44481‐9216
HARRY S FREEMAN                                   137 WILD WOOD LANE                                                                             LUGOFF           SC    29078‐9252
HARRY S GRIM CUST JESSICA MARGARET HERRING        202 WILTSHIRE COURT                                                                            EASLEY           SC    29642‐3342
UGMA SC
HARRY S GRIM CUST NATHANIEL STUART HERRING        202 WILTSHIRE COURT                                                                            EASLEY           SC    29642‐3342
UTMA SC
HARRY S JONES III                                 232 E MAIN ST                                                                                  ELLSWORTH         ME   04605‐1612
HARRY S KOLODZIEJSKI                              31305 ANITA DR                                                                                 WARREN            MI   48093‐1645
HARRY S LINELL JR & ELIZABETH D LINELL JT TEN     8103 OAKTON COURT                     APT D                                                    LAKE CLARK SHORES FL   33406‐8454

HARRY S LYONS                                     2228 WALKER DR                                                                                 LAWRENCEVILLE    GA    30043‐2472
HARRY S MCLLVAINE & SARAH L MCLLVAINE JT TEN      HC 83 BOX 704                                                                                  MEADOW BLUFF     WV    24958‐9701

HARRY S MILLIOS & JEANNE M MILLIOS TR MILLIOS     1918 CATHERINE COURT                                                                           GAERDNERVILLE    NV    89410‐6665
LIVING TRUST UA 07/20/06
HARRY S MITCHELL                                  1139 TOWN RD                                                                                   MAHAFFEY         PA    15757‐9013
HARRY S PURNELL III                               121 YORKSHIRE DR                                                                               BIRMINGHAM       AL    35209‐4305
HARRY S RUSSELL JR                                853 W CHASTAIN LN 1                                                                            SAFFORD          AZ    85546‐9127
HARRY S SCALING TR HARRY S SCALING TRUST U‐W      C/O THOMAS SCALING                    4528 POTOMAC AVE                                         DALLAS           TX    75205
GLADYS SCALING MARTIN
HARRY S WILBUR                                    10033 HOBBY HILL ROAD                                                                          RICHMOND         VA    23235‐1869
HARRY S WOJTSECK                                  20981 DANVILLE JELLOWAY RD                                                                     DANVILLE         OH    43014‐9622
HARRY SAHAGIAN                                    143 JUNE ST                                                                                    WORCESTER        MA    01602‐2953
HARRY SAMARAS                                     PO BOX 47905                                                                                   INDIANAPOLIS     IN    46247‐0905
HARRY SARVIS & ELLEN SARVIS JT TEN                2565 ADDYSTON RD                                                                               AKRON            OH    44313‐4203
HARRY SCHMIDT                                     15 PIERSON GRN                                                                                 CROMWELL         CT    06416‐2729
HARRY SCHNEIDER                                   1858 79 ST                                                                                     BROOKLYN         NY    11214‐1712
HARRY SCHWARZ & PENNY G SCHWARZ JT TEN            5435 FLINTLOCK LN                                                                              ROANOKE          VA    24018
HARRY SEARCY                                      5506 EDLOU PL                                                                                  INDIANAPOLIS     IN    46226‐1911
HARRY SHAPIRO & DOROTHY SHAPIRO JT TEN            60 HAMILTON DRIVE                                                                              ROSLYN           NY    11576‐3129
HARRY SITFF & MARION HINKLE JT TEN                407 SECOND STREET                                                                              WEST EASTON      PA    18042‐6103
HARRY SMITH                                       240 CRYSTAL LAKE DR                                                                            PONTIAC          MI    48341‐2407
HARRY SOBOLEWSKI                                  8930 MYSTIC LANE                                                                               WARREN           MI    48093‐1189
HARRY SPERLING                                    123 FLOYD ST                                                                                   EDISON           NJ    08820
HARRY SPERLING & MIRIAM G SPERLING JT TEN         123 FLOYD ST                                                                                   EDISON           NJ    08820‐2101
HARRY STEVENS                                     PO BOX 202                                                                                     TUCKAHOE         NY    10707‐0202
HARRY STEWART HOCHHEISER                          6322 PHILLIPS AVE                                                                              PITTSBURGH       PA    15217‐1808
HARRY STONE                                       905 N 11TH ST                                                                                  ELWOOD           IN    46036‐1265
HARRY SYLVESTER                                   1421 LENWOOD DR                                                                                SAGINAW          MI    48603‐6310
HARRY T BAKER                                     PO BOX 445                                                                                     SPRING VALLEY    CA    91976‐0445
HARRY T CHUDY & COLOMBE B CHUDY & RICHARD T       2249 BENJAMIN                                                                                  ROYAL OAK        MI    48073‐3710
CHUDY JT TEN
HARRY T CHUDY & COLOMBE B CHUDY & SHARON R        2249 BENJAMIN                                                                                  ROYAL OAK        MI    48073‐3710
CHUDY JT TEN
HARRY T DERMODY                                   3766 BUTTERFIELD DR                                                                            WINNEBAGO        IL    61088
HARRY T HARDER                                    4307 HILLDALE                                                                                  MEMPHIS          TN    38117‐1629
HARRY T JONES                                     8 PLASTIC COURT                                                                                BALTIMORE        MD    21220‐3418
HARRY T JOSE                                      2 TALLWOOD RD                                                                                  AUGUSTA          ME    04330‐4928
HARRY T LASECKI                                   22 PINEWOODS DR                                                                                TROUT CREEK      MT    59874‐9559
HARRY T MONTEL & PATRICIA J MONTEL JT TEN         463 PARK TRACE BLVD                                                                            OSPREY           FL    34229‐8893
HARRY T MOSS CUST HAROLD T MOSS U/THE MASS        10 GREENBRIAR LN                                                                               PAPLI            PA    19301‐1908
UNIFORM GIFTS TO MINORS ACT
HARRY T PLANCK                                    1952 SUPERIOR DR                                                                               NASHVILLE        MI    49073‐8768
HARRY T ROSS                                      2 LA LUZ CYN RD                                                                                LA LUZ           NM    88337‐9352
HARRY T SCHARFENBERG                              6684 N 35TH ST                                                                                 RICHLAND         MI    49083‐9626
HARRY T SHELL                                     87 CARLTON DRIVE                                                                               HAMILTON         OH    45015‐2180
HARRY T SIMONICK                                  25715 LINE RD                                                                                  SEAFORD          DE    19973‐5076
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HARRY T SMITH                                    131 BANNER WAY                                                                                 BOALSBURG          PA    16827‐1813
HARRY T STARKS                                   164 W 174TH ST                        APT 4C                                                   BRONX              NY    10453‐7528
HARRY T STORER                                   21 COLONIAL LN                                                                                 REHOBOTH BEACH     DE    19971‐9723

HARRY T THOMPSON JR                              2336 SOUTH CENTER ROAD                                                                         BURTON             MI    48519‐1166
HARRY T WALLACE                                  9087 HARPER ST                        APT 205                                                  LINDEN             MI    48451‐9735
HARRY T WESTCOTT                                 313 WASHITA LN                                                                                 LOUDON             TN    37774‐2161
HARRY T WILLIAMS                                 2300 STALLINGS DRIVE                                                                           KINSTON            NC    28504‐1448
HARRY T WILLIAMS & MRS BETTY J WILLIAMS JT TEN   2300 STALLINGS DRIVE                                                                           KINSTON            NC    28504‐1448

HARRY T WITMER TR HARRY THOMAS WITMER          147 LAKE DRIVE                                                                                   LEESVILLE          SC    29070
REVOCABLE TRUST UA 12/15/00
HARRY TEMPLE                                   1306 GLENWOOD BLVD                                                                               SCHENECTADY        NY    12308‐2508
HARRY TERRIS                                   339 S LINCOLN AVE                                                                                OAKHURST           NJ    07755‐1638
HARRY TROBAUGH                                 ATTN MARSHA TROBAUGH                    8880 IRIS COURT                                          WESTMINSTER        CO    80021‐4454
HARRY TRUMBLE TR UA 02/01/93 THE HARRY TRUMBLE C/O JUDY K MATUREN                      3322 PASADENA PL                                         SAGINAW            MI    48603‐2343
TRUST
HARRY V ANDERSON & MRS CATHERINE B ANDERSON JT 80 LANGDALE DR                                                                                   HAMPTON            NH    03842‐1925
TEN
HARRY V ELLIS                                  PO BOX 2214                                                                                      ST ALBANS          WV    25177‐6446
HARRY V GORMAN                                 3640 JEWELL RD                                                                                   HOWELL             MI    48843‐8697
HARRY V GRAY                                   2690 VALLEY RD                                                                                   BERKELEY SPRINGS   WV    25411‐4225

HARRY V HOSMER                                   5338 UPPER MOUNTAIN RD                                                                         LOCKPORT           NY    14094‐1810
HARRY V MOSS                                     4519 BEWICK                                                                                    DETROIT            MI    48214‐1584
HARRY V THOMPSON                                 465 TIMOTHY LN                                                                                 MANSFIELD          OH    44905‐2230
HARRY V WEBSTER & BARBARA C WEBSTER JT TEN       3414 WALNUT RD                                                                                 ABERDEEN           MD    21001‐1028
HARRY W ANDERSON                                 93 PINE STREET                                                                                 HOMOSASSA          FL    34446‐5200
HARRY W APPS                                     3022 HARDING ST                       REGINA SK                              S4V 0Y4 CANADA
HARRY W BEDARD III                               6311 PORTERIDGE LANE                                                                           CANTON             MI    48187‐2630
HARRY W BEHLING                                  1210 TURNBERRY DR                                                                              PITTSBURGH         PA    15241‐2943
HARRY W BUCKLEY                                  PO BOX 341                                                                                     GLASGOW            WV    25086‐0341
HARRY W BUCKLEY SR                               BOX 341                                                                                        GLASGOW            WV    25086‐0341
HARRY W BURKE                                    PO BOX 5328                           MIRA VISTA STATION                                       RICHMOND           CA    94805‐0328
HARRY W BUSHWAY                                  41467 FIVE MILE                                                                                PLYMOUTH           MI    48170‐2666
HARRY W COUNTS                                   2644 GRAND AVE                                                                                 GRANITE CITY       IL    62040‐4825
HARRY W DOMIN                                    3894 CATALPA                                                                                   BERKLEY            MI    48072‐1042
HARRY W FENTON & RUTH ANN FENTON JT TEN          1524 ELM STREET                                                                                LEBANON            PA    17042‐6529
HARRY W FRAZIER                                  PO BOX 7544                                                                                    TIFTON             GA    31793‐7544
HARRY W GABRIEL JR                               11101 SE MARKET ST                                                                             PORTLAND           OR    97216‐3553
HARRY W GREENBERGER                              PO BOX 350                                                                                     PALENVILLE         NY    12463
HARRY W HANSON & MARY L HANSON JT TEN            PO BOX 469                                                                                     WASHINGTON         IN    47501‐0469
HARRY W HO                                       2360 CASEY CT                                                                                  BELOIT             WI    53511‐9563
HARRY W HUBER JR                                 18580 GAUCHE RD                                                                                FAYETTEVILLE       OH    45118‐9090
HARRY W HUDGINS                                  12849 24TH AVE SOUTH                                                                           SEATTLE            WA    98168‐3007
HARRY W HUNTER & ROSE A HUNTER TR HUNTER FAM     36 CADORET DR                                                                                  CUMBERLAND         RI    02864‐3402
TRUST UA 12/12/94
HARRY W LOOSE JR                                 13402 PERTHSHIRE                                                                               HOUSTON            TX    77079‐6028
HARRY W LOOSE JR & ELEANOR W LOOSE JT TEN        13402 PERTHSHIRE                                                                               HOUSTON            TX    77079‐6028
HARRY W MAILLET                                  4601 PIERCE BLVD                                                                               RACINE             WI    53405‐4357
HARRY W MARTIN & MRS LOIS W MARTIN JT TEN        711 COLLEGE CREST RD                                                                           WESTERVILLE        OH    43081‐1304
HARRY W MATCHETT                                 R R #4 BOX 282                                                                                 PORTLAND           IN    47371‐9372
HARRY W MC ANINCH                                2019 FIRST ST N                                                                                TEXAS CITY         TX    77590‐6103
HARRY W MC ANINCH CUST HARRY W MC ANINCH JR      ATTN H W MC ANINCH                    1913 TICKNER                                             CONROE             TX    77301‐1338
U/THE TEXAS U‐G‐M‐A
HARRY W MCDONALD                                 81 PURITAN                                                                                     HIGHLAND PARK      MI    48203‐3711
HARRY W MILLER & MARGARET M THOMPSON &           2853 MARTINTOWN RD                                                                             EDGEFIELD          SC    29824‐3123
RICHARD A MILLER JT TEN
HARRY W MURRAY                                   C/O HUDDLESTON                        5145 EAST BAY DR APT 220                                 CLEARWATER         FL    33764‐6881
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Name                                             Address1                             Address2                     Address3                      Address4          City            State Zip

HARRY W NICOLET                                  1416 OTTER ST                                                                                                     ANCHORAGE       AK    99504‐2539
HARRY W PALMER                                   255 E OLD LIMESTONE ROAD                                                                                          YORK            SC    29745‐8323
HARRY W PRESSELL                                 811 SEYMOUR RD                                                                                                    BEAR            DE    19701‐1121
HARRY W RAY & VIVIAN G RAY TEN ENT               440 NORTH 3RD STREET                                                                                              INDIANA         PA    15701‐2011
HARRY W REDIC                                    PO BOX 7                                                                                                          DALEVILLE       IN    47334‐0007
HARRY W ROBINSON                                 C/O MAMIE R ROBINSON                 751 VALLEY VIEW DR APT 108                                                   IONIA           MI    48846‐1091
HARRY W SCHULTZ JR                               255‐09 75TH AVE                                                                                                   GLEN OAKS       NY    11004‐1116
HARRY W SIMONS                                   2324 LINCOLN MANOR DR                                                                                             FLINT           MI    48507‐4416
HARRY W SIZEMORE TR HARRY W SIZEMORE TRUST UA    4900 WEXFORD RD                                                                                                   WINSTON SALEM   NC    27103‐5234
08/20/97
HARRY W SMITH                                    642 N HICKORY ST                                                                                                  OWOSSO          MI    48867‐2330
HARRY W SMITH JR                                 PO BOX 476                                                                                                        HEBRON          MD    21830‐0476
HARRY W STOMBERSKI                               840 STARDUST DRIVE                                                                                                HERRIN          IL    62948‐2436
HARRY W TACKABERY JR & RUTH L TACKABERY JT TEN   22747 CRANBROOKE DR                                                                                               NOVI            MI    48375‐4505

HARRY W TALIAFERRO JR                          476 GREEN HILL LN                                                                                                   CHURCHVILLE     VA    24421‐2516
HARRY W TURNER                                 1500 OLIVER BLDG                                                                                                    PITTSBURGH      PA    15222‐2300
HARRY W WATKINS JR                             1680 WARREN LANE                                                                                                    BIRMINGHAM      AL    35243‐2822
HARRY W WOOLARD                                580 MARTIN DRIVE                                                                                                    XENIA           OH    45385‐1616
HARRY WAYS                                     36 E SHERRY DR                                                                                                      DAYTON          OH    45426‐2853
HARRY WELLS JR                                 3828 W STATE RD #38                                                                                                 NEW CASTLE      IN    47362‐9159
HARRY WHITE                                    58 ANNA ST                                                                                                          DAYTON          OH    45417‐2253
HARRY WILLEY                                   2076 KINGSWOOD DRIVE                                                                                                FLINT           MI    48507‐3523
HARRY WILLIAM BRANDT                           2344 S W 13TH ST                                                                                                    BOYNTON BEACH   FL    33426‐7408
HARRY WILLIAM HENTHORN                         5910 POWELL AVENUE                                                                                                  DUBLIN          VA    24084‐2707
HARRY WILLIAM TRIMMER                          285 CLIFF VIEW CT                                                                                                   RENO            NV    89523‐9634
HARRY WILLIAM YUNGSCHLAGER                     904 N 5TH ST                                                                                                        CHARITON        IA    50049‐1239
HARRY WILSON ELFORD                            2305 W RUTHRAUFF RD                    UNIT B5                                                                      TUCSON          AZ    85705‐1956
HARRY WILSON SPEEDY & JANET PATRICIA SPEEDY JT 1406 CLEARVIEW DR                                                                                                   GREENSBURG      PA    15601‐3704
TEN
HARRY WINN                                     238 E MC CLELLAN ST                                                                                                 FLINT           MI    48505‐4224
HARRY WOLESHIN                                 4467 WEST 57 ST                                                                                                     CLEVELAND       OH    44144‐2919
HARRY WOLF                                     38 EDWARD DRIVE                                                                                                     WINCHESTER      MA    01890‐3601
HARRY WRIGHT                                   923 FAIRVIEW                                                                                                        PONTIAC         MI    48340‐2522
HARRY Y N MAU & BARBARA A H MAU JT TEN         2503 MANOA ROAD                                                                                                     HONOLULU        HI    96822‐1702
HARRY Y TAKETA                                 2198 W 104TH STREET                                                                                                 CLEVELAND       OH    44102‐3533
HARRY YAU                                      3952 3RD CONCESSION                    R ROUTE 4                    AMHERSTBURG ON                N9V 2Y9 CANADA
HARRY ZEHNWIRTH                                1919 BOYC ST                                                                                                        SARASOTA        FL    34239
HARRY ZEKELMAN                                 ATTN ALAN ZEKELMAN EXEC                BOX 970                      HARROW ON                     N0R 1G0 CANADA
HARRY ZWAGER JR                                8234 FRANKDALE CT                                                                                                   INDIANAPOLIS    IN    46259‐5754
HARSHAVARD HAN AGADI                           3157 E ADDISON DR                                                                                                   ALPHARETTA      GA    30022‐1821
HART COUNTY 4‐H SAFETY CLUB                    200 ARTHUR STREET                                                                                                   HARTWELL        GA    30643‐1804
HART SECURITIES LTD                            C/O ANTHONY BONANNO                    GIBSON DUNN & CRUTCHER       1050 CONNECTICUT AVE NW 900                     WASHINGTON      DC    20036‐5320
HART SECURITIES LTD C/O ANTHONY BONANNO GIBSON 1050 CONNECTICUT AVE NW 900                                                                                         WASHINGTON      DC    20036‐5320
DUNN & CRUTCHER
HARTEL A HANSEN                                2488 E COOK RD                                                                                                      GRAND BLANC     MI    48439‐8374
HARTER H THOMPSON                              1399 CRANBROOK                                                                                                      SAGINAW         MI    48603‐5470
HARTERT HARDWARE                               C/O DICK & LEE HARTERT                 PO BOX 88                                                                    KELLOGG         MN    55945‐0088
HARTFORD AVENUE BAPTIST CHURCH                 18700 JAMES COUZENS                                                                                                 DETROUT         MI    48235‐2573
HARTFORD CUST FBO GERALDINE CRAIG IRA          36220 GLASGOW RD                                                                                                    SALINEVILLE     OH    43945
HARTFORD MEMORIAL BAPTIST CHURCH               18700 JAMES COUZENS                                                                                                 DETROIT         MI    48235‐2573
HARTFORD R MURPHY                              1221 W NORTH ST                                                                                                     MUNCIE          IN    47303‐3620
HARTLAND GEE                                   4215 DEWDNEY AVE                       REGINA SK                                                  S4T 1A9 CANADA
HARTLEY E JONES                                8934 PETERS PIKE                                                                                                    VANDALIA        OH    45377‐9710
HARTLEY MEAD                                   384 NORTH STREET                                                                                                    NORFOLK         CT    06058‐1016
HARTMUT BAUMGART                               ADAM OPEL AG                           IPC A5‐02 D‐65423            RUSSELSHEIM                   GERMANY
HARTMUT BAUMGART                               1 BAHNHOFSPLATZ R2‐50                  RUSSELSHEIM                                                65423 GERMANY
HARTMUT BEHRENDT                               SCHLIEPER STRASSE 13                   13507 BERLIN                                               GERMANY
HARTMUT F SCHNEIDER                            1118 3RD ST                                                                                                         HERMOSA BEACH   CA    90254‐4901
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HARTSEL LEE MONTGOMERY                               2900 SHARIDAN STREET                                                                              ANDERSON          IN    46016‐5986
HARTSFIELD & CAUSSEAUX INC                           C/O O L CAUSSEAUX                        1008 LIVING WATERS                                       BALSAM GROVE      NC    28708‐9609
HARTSON A SHAW                                       375 G CANNON GREEN                                                                                GOLETA            CA    93117‐5806
HARTSVILLE DIXON                                     18315 GREYDALE AVE                                                                                DETROIT           MI    48219‐2492
HARTWELL S MALONE                                    2509 JACQUELINE CIR                                                                               MOULTRIE          GA    31768‐6739
HARTY C MILLER TR HARTY C MILLER & PATRICIA A        1436 MAGNOLIA DR                                                                                  CLEARWATER        FL    33756‐6166
MILLER TRUST UA 10/10/83
HARTY L ABRAMS                                       C/O LEALIA ABRAMS                        605 NEBRASKA                                             PONTIAC           MI    48341‐2548
HARTZEL E BRANHAM                                    1324 THOMPSON RD                                                                                  FENTON            MI    48430‐9792
HARTZEL S WEBB                                       RT 1 BOX 25                                                                                       MILLSTONE         WV    25261
HARVE E AMIGH                                        16070 HOLZ DR #94                                                                                 SOUTHGATE         MI    48195‐2995
HARVEST CARTER                                       2916 RAY ST                                                                                       SAGINAW           MI    48601‐4623
HARVEY A ALPERT                                      2960 MANDEVILLE CANYON RD                                                                         LOS ANGELES       CA    90049‐1010
HARVEY A BARKLEY TR HARVEY A BARKLEY REVOCABLE       4420 WEEKS BAY DR                                                                                 HUBBARD LAKE      MI    49747‐9413
TRUSTUA 06/27/96
HARVEY A CASE                                        12070 SEYMOUR RD                                                                                  MONTROSE          MI    48457‐9782
HARVEY A DAY                                         7607 VALLEY VILLAS DR                                                                             PARMA             OH    44130‐6169
HARVEY A ECKHARDT                                    8616 NOBLE LARK DR                                                                                BOERNE            TX    78015‐4444
HARVEY A HYVONEN                                     17459 W 636 HWY                                                                                   ONAWAY            MI    49765‐9631
HARVEY A LITZ TOD DANIEL A LITZ SUBJECT TO STA TOD   17114 MAYFIELD                                                                                    ROSEVILLE         MI    48066
RULES
HARVEY A OLDS                                        6232 SIERRA PASS                                                                                  FLINT             MI    48532‐2136
HARVEY A OLDS CUST JEFFREY A OLDS UGMA KAN           6610 PERIWINKLE LANE                                                                              EAST LANSING      MI    48823
HARVEY A OLDS CUST JEFFREY A OLDS UGMA MI            6610 PERIWINKLE LANE                                                                              EAST LANSING      MI    48823
HARVEY A OLDS CUST MICHELLE C OLDS UGMA MI           4400 LIDELL BLVD APT 5B                                                                           ST LOUIS          MO    63108
HARVEY A WIGAL                                       10105 HARRIS HWY                                                                                  BELLEVILLE        WV    26133‐8258
HARVEY ANDREW VESTER                                 4900 S PROCTOR RD                                                                                 MUNCIE            IN    47302‐8968
HARVEY AYERS                                         1760 ORION RD                                                                                     OAKLAND           MI    48363‐1828
HARVEY B BROUGHTON JR & ERNESTINE L BROUGHTON        187 GLEN GARY DR                                                                                  MOUNT MORRIS      MI    48458
JT TEN
HARVEY B GARBER & MARLENE D GARBER JT TEN            7301 PALMA LANE                                                                                   MORTON GROVE      IL    60053‐1136
HARVEY B HARRIS                                      4471 RAINBOW LN                                                                                   FLINT             MI    48507‐6228
HARVEY B LEFTON                                      559 LONG LANE                                                                                     HUNTINGDON        PA    19006‐2935
                                                                                                                                                       VALLEY
HARVEY B LEFTON CUST ALLISON RACHEL LEFTON UGMA 559 LONG LANE                                                                                          HUNTINGDON        PA    19006‐2935
IL                                                                                                                                                     VALLEY
HARVEY BAILEY                                   HC 86 BOX 648                                                                                          KETTLE ISLAND     KY    40958‐9707
HARVEY BERLIN                                   200 CORNELL DR                                                                                         BREYN MAWR        PA    19010‐2116
HARVEY BRADT                                    245 WILDWOOD DR                                                                                        SAINT AUGUSTINE   FL    32086
HARVEY C BALL                                   16809 FENMORE                                                                                          DETROIT           MI    48235‐3339
HARVEY C BLANCK & JANICE I BLANCK JT TEN        5007 E COOK RD                                                                                         GRAND BLANC       MI    48439‐8028
HARVEY C CAIN                                   3205 SE 54 ST                                                                                          OKLAHOMA CITY     OK    73135‐1443
HARVEY C CHASTAIN                               1680 E CHOCTAW DRIVE                                                                                   LONDON            OH    43140‐8730
HARVEY C COLLINS                                8943 SW 196TH COURT                                                                                    DUNNELLON         FL    34432‐2668
HARVEY C DAVIS & ROBERT LEBANG DAVIS COMMUNITY 4322 A 17TH ST                                                                                          SAN FRANCISCO     CA    94114‐1805
PROPERTY
HARVEY C MACLEOD                                511 GAINSBOROUGH RD                           UNIT 416             LONDON ON         N6G 4Z5 CANADA
HARVEY C ROTH                                   9593 PARKVIEW AVENUE                                                                                   BOCA RATON        FL    33428‐2918
HARVEY C SHAUGHENCY & ELAINE SHAUGHENCY JT TEN 166 ESSEX RD                                                                                            LEXINGTON         OH    44904‐1008

HARVEY C STINCHCOMB & NELLIE S HOLLIS JT TEN         662 N CHEROKEE RD                        BOX 394                                                  SOCIAL CIRCLE     GA    30025‐0394
HARVEY C STORY                                       823 N ALBERTSON                                                                                   COMPTON           CA    90220‐1438
HARVEY C STORY & PARA L STORY JT TEN                 823 N ALBERTSON AVE                                                                               COMPTON           CA    90220‐1438
HARVEY C WALTON                                      2901 BRUTON ROAD                                                                                  PLANT CITY        FL    33565‐7003
HARVEY C ZERBE & GLORIA H ZERBE TEN ENT              2428 DICKINSON AVE                                                                                CAMP HILL         PA    17011‐5325
HARVEY CHARLES MILLER                                93 STONEY HILL CT                                                                                 ASHEVILLE         NC    28804‐1118
HARVEY COHEN & MRS ADRIENNE R COHEN JT TEN           10 WEST BROADWAY APT 7C                                                                           LONG BEACH        NY    11561

HARVEY D BRUNER                                      11183 E BRADENROAD                                                                                BYRON             MI    48418‐9742
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HARVEY D CARPENTER                               13420 E P AVE                                                                                 CLIMAX           MI    49034‐9727
HARVEY D CARR                                    791 SECOND                                                                                    PONTIAC          MI    48340‐2838
HARVEY D GIBSON & MARY E GIBSON JT TEN           608 SECOND ST                                                                                 HARBOR SPRINGS   MI    49740‐1420
HARVEY D HARRIS                                  4541 FOREST AVE                      #2                                                       CINCINNATI       OH    45212‐3347
HARVEY D ROGERS                                  18111 DUNOON BAY POINT COURT                                                                  CYPRESS          TX    77429
HARVEY D SHAFFER                                 4583 BARRINGTON DR                                                                            AUSTINTOWN       OH    44515‐5233
HARVEY E BURKE                                   1444 HURON                                                                                    ST HELEN         MI    48656‐9711
HARVEY E HENRICHS                                5621 SWEET BIRCH LN                                                                           MILTON           FL    32583‐1824
HARVEY E JORDAN                                  1607 EAST RD 3                                                                                EDGERTON         WI    53534‐8754
HARVEY E KNESEK                                  7901 REDONDO LANE                                                                             ORLAND PARK      IL    60462‐1823
HARVEY E L ESPERANCE                             6002 ALAN DR                                                                                  BRIGHTON         MI    48116
HARVEY E MENSINGER                               22 THOMAS PLACE                                                                               LEVITTOWN        PA    19057‐3820
HARVEY E MEYERS & ANNA A MEYERS JT TEN           735 DIAMOND ST                                                                                SELLERSVILLE     PA    18960‐2801
HARVEY E MILLER                                  399 PARKWAY DR                                                                                SCOTTSVILLE      KY    42164‐9432
HARVEY E POWELL III                              16203 OAKLAND AVE                                                                             BELTON           MO    64012‐4622
HARVEY E POWELL JR                               15500 STARTIMES DR                                                                            BELTON           MO    64012‐1451
HARVEY E RANARD                                  2150 S SMITH RD                                                                               BLOOMINGTON      IN    47401‐8916
HARVEY E SOKOLOW & JUDITH A SOKOLOW JT TEN       4030 CHEROKEE DR                                                                              MADISON          WI    53711‐3059

HARVEY E WHITMAN II                              6847 MULDERSTRAAT                                                                             GRANG LEDGE      MI    48837‐8429
HARVEY E YOUNG & MURIEL YOUNG JT TEN             5023 LISTER AVE                                                                               KC               MO    64130‐3154
HARVEY EDWARD GOLDEN                             APT 314                              1587 MALLARD DRIVE                                       MAYFIELD HEIGHTS OH    44124‐3073

HARVEY ENGELMAN & HOLLY S ENGELMAN JT TEN        69‐60 108TH STREET APT 305                                                                    FOREST HILLS     NY    11375‐4357
HARVEY F GROH                                    1721 WHITEFEATHER RD RT #4                                                                    PINCONNING       MI    48650‐8416
HARVEY F NIEDRICH                                6402 STALEY ST                                                                                UNIONVILLE       MI    48767‐9782
HARVEY FRANKLE & JUDITH FRANKLE JT TEN           32‐07 SOUTHERN DR                                                                             FAIRLAWN         NJ    07410‐4734
HARVEY G ALEXANDER                               10117 US STATE RT 62 #11                                                                      ORIENT           OH    43146
HARVEY G BOGGS                                   1158 RIPLEY ROAD                                                                              SPENCER          WV    25276‐7820
HARVEY G HAMSTRA                                 3449 PERRY AVE SW                                                                             WYOMING          MI    49519‐3235
HARVEY G PEDDYCORD JR                            8806 HARWICK COURT                                                                            LEWISVILLE       NC    27023‐7737
HARVEY G PEDDYCORD SR                            8806 HARWICK C                                                                                CLEMMONS         NC    27012‐9737
HARVEY G SHORTLIDGE III                          7 NOVA LANE                                                                                   WEST GROVE       PA    19390‐9207
HARVEY G THOMAS                                  7491 CANEY FORK RD                                                                            FAIRVIEW         TN    37062
HARVEY G THOMPSON                                279 TIMBER CREEK CIR NW                                                                       COMSTOCK PARK    MI    49321‐8569
HARVEY G TROMBLEY                                17750 LONG JUDSON                                                                             BOWLING GREEN    OH    43402‐9719
HARVEY GILBERT CUST RICHARD GILBERT UGMA NJ      155 E 38TH ST #5A                                                                             NEW YORK         NY    10016‐2666

HARVEY GILL & ADELE GILL JT TEN                  923 LIMA COURT NE                                                                             ALBUQUERQUE     NM     87123‐4704
HARVEY GITLIN                                    270 NEW JERSEY AVE                                                                            FORT WASHINGTON PA     19034‐2604

HARVEY GITLIN CUST AMY E GITLIN UGMA PA          270 NEW JERSEY DR                                                                             FORT WASHINGTON PA     19034‐2604

HARVEY GITLIN CUST MICHELLE J GITLIN UGMA PA     270 NEW JERSEY DR                                                                             FORT WASHINGTON PA     19034‐2604

HARVEY GLASSMAN & AUDREY GLASSMAN JT TEN         2 PROVINCETOWN CRT                                                                            LINCOLNSHIRE     IL    60069‐2124
HARVEY GULER CUST MICHELLE GULER UGMA CA         1943 STONESGATE ST                                                                            WESTLAKE VILLAGE CA    91361‐1615

HARVEY H AGEE                                    PO BOX 662                                                                                    LESLIE           WV    25972‐0662
HARVEY H HARKINS                                 196 CR 418                                                                                    WHITSETT         TX    78075
HARVEY H HARKINS & EDWINA C HARKINS JT TEN       HCO1 BOX 8C                                                                                   WHITSETT         TX    78075
HARVEY H KLEIS                                   160 SORRENTO DR                                                                               HOLLAND          MI    49423‐6618
HARVEY H RYNARD                                  GENERAL DELIVERY                                                                              NOBLESVILLE      IN    46060‐9999
HARVEY H SCHEUER                                 5 RIVIERA DR                                                                                  PINEHURST        NC    28374‐6817
HARVEY H WHITE JR                                964 OLIVER                                                                                    HAUGHTON         LA    71037‐8947
HARVEY HERSHEY & LOIS G HERSHEY JT TEN           21249 PARKLANE ROAD                                                                           FARMINGTON HILLS MI    48335‐4422

HARVEY I WATSON & MARY MCDONALD WATSON JT        1225 WICKFORD RD                                                                              BIRMINGHAM       AL    35216‐2320
TEN
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HARVEY IRA UNION                                905 PAINTED POST ROAD                                                                                 PIKESVILLE      MD    21208‐3515
HARVEY ISAAC HELLMAN & MRS JANET HELLMAN JT TEN 10739 ASHTON AVE #201                                                                                 LOS ANGELES     CA    90024‐5079

HARVEY J ANDERSON                                 1190 PALO BLANCO DR                                                                                 PORT ISABEL     TX    78578‐2736
HARVEY J CARTER                                   10905 TRILLIUM                                                                                      SOUTH LYON      MI    48178‐9384
HARVEY J COOK & MRS MARY M COOK JT TEN            325 WILKINSON ST APT 227                                                                            CHELSEA         MI    48118‐1524
HARVEY J EIKENBARY                                725 COLUMBUS AVE                                                                                    FOSTORIA        OH    44830‐3255
HARVEY J FLETCHER                                 124 PARKWAY                                                                                         PROVO           UT    84604‐4427
HARVEY J HELLER CUST STACY HELLER UTMA FL         12 CHRISTOPHER MILLS DR                                                                             MT LAUREN       NJ    08054‐3359
HARVEY J HESS TR LAWRENCE ALAN HESS UA 5/9/60     115 BRIDGEWATER DR                                                                                  OCEANPORT       NJ    07757‐1357

HARVEY J HINTZE JR                                9511 HEDDY DR                                                                                       FLUSHING        MI    48433‐1088
HARVEY J MATLOF & LINDA A MATLOF TR HARVEY J      1626 DEL DAYO DR                                                                                    CARMICHAEL      CA    95608‐6052
MATLOF FAMILY TR 4/25/78
HARVEY J MERCHANT                                 616 N 5TH                                                                                           WEATHERFORD     OK    73096‐2818
HARVEY J MICHAELS & ARTHUR E MICHAELS JT TEN      14 SEVINOR RD                                                                                       MARBLEHEAD      MA    01945‐2023

HARVEY J MICHAELS & SHELLEY M KAMIN JT TEN        14 SEVINOR RD                                                                                       MARBLEHEAD      MA    01945‐2023
HARVEY J MICHAELS & STEVEN N MICHAELS JT TEN      14 SEVINOR RD                                                                                       MARBLEHEAD      MA    01945‐2023

HARVEY J MUSSELMAN                                3350 N BELSAY RD                                                                                    FLINT           MI    48506‐2271
HARVEY J SCHOOF                                   19756 ELKHART                                                                                       HARPER WOODS    MI    48225‐2232
HARVEY J WALTERS II & REBECCA S COCHRANE JT TEN   124 NORTH HARVEY                                                                                    JACKSON         MI    49201‐8415

HARVEY J ZEHNDER & ANDREW J ZEHNDER JT TEN        10325 E TEAKWOOD CT                                                                                 SUN LAKES       AZ    85248‐6180
HARVEY JAMES STINE JR                             PO BOX 118                                                                                          ISSUE           MD    20645
HARVEY JEAN ELWOOD                                13305 TAYLOR RD                                                                                     MILLINGTON      MI    48746‐9214
HARVEY JONES                                      1752 BRIDGEWATER DR                                                                                 YPSILANTI       MI    48198‐3280
HARVEY K HOWARD                                   5717 HUNTER ST                                                                                      RAYTOWN         MO    64133‐3251
HARVEY KALT CUST DAVID KALT U/THE NEW YORK        62 25 WOODHAVEN BOULEVARD                                                                           REGO PARK       NY    11374‐2709
UNIFORM GIFTS TO MINORS ACT
HARVEY KENNETH LINLEY                             15 BEXLEIGH GARDENS                  ASPLEY NOTTINGHAM    ENGLAND           NG8 3EL GREAT BRITAIN
HARVEY KUPFERBERG & MITZI KUPFERBERG JT TEN       41 CRYSTAL HILL DR                                                                                  POMONA          NY    10970‐2602

HARVEY L ANGLIN                                   135 VINTAGE DR                                                                                      COVINGTON       GA    30014‐7041
HARVEY L AUSTIN                                   2003 GAYLANN DR                                                                                     BRUNSWICK       OH    44212‐4021
HARVEY L BACON                                    9775 PLANK RD                                                                                       CLAYTON         MI    49235‐9664
HARVEY L BOONE                                    C/O REVA L BOONE                     2400 STINE RD                                                  BAKERSFIELD     CA    93313
HARVEY L BRYAN                                    27563 VIA MONTOYA                                                                                   SAN JUAN CAPO   CA    92675‐5366
HARVEY L CARTER                                   8563 ELLSWORTH                                                                                      DETROIT         MI    48238‐1740
HARVEY L COBB & ELIZABETH G COBB TR UA 04/23/94   12613 NANTUCKET CT                                                                                  SARATOGA        CA    95070‐3929
COBB REVOCABLE TR
HARVEY L DOYLE                                    PO BOX 170                                                                                          FINLEY          TN    38030‐0170
HARVEY L GOO                                      4313 VISTA CREEK DRIVE                                                                              ROWLETT         TX    75088‐1817
HARVEY L HOLLOWAY                                 703 S HOLLY ST                                                                                      MONTEREY        TN    38574
HARVEY L JOHNSON                                  1040 CARLO WOODS DR S W                                                                             ATLANTA         GA    30331‐7342
HARVEY L JOURNEY                                  179 HOWELLMOORE RD                                                                                  WEST GROVE      PA    19390‐8721
HARVEY L KNAUSS                                   14383 SW MCFARLAND BLVD                                                                             TIGARD          OR    97224‐2786
HARVEY L MALONE CUST ADAM DILLARD UTMA LA         5132 FOLSE DR                                                                                       METAIRIE        LA    70006‐1048

HARVEY L MALONE CUST BRANDON SHELBY UTMA LA       5132 FOLSE DR                                                                                       METAIRIE        LA    70006‐1048

HARVEY L MALONE CUST CHARLES DILLARD UTMA LA      5132 FOLSE DR                                                                                       METAIRIE        LA    70006‐1048

HARVEY L MALONE CUST DEMARCUS M MOTLEY UTMA 5132 FOLSE DR                                                                                             METAIRIE        LA    70006‐1048
LA
HARVEY L MALONE CUST JULIAN MALONE UTMA LA  5132 FOLSE DR                                                                                             METAIRIE        LA    70006‐1048

HARVEY L MALONE CUST KAI C WALKER UTMA LA         5132 FOLSE DR                                                                                       METAIRIE        LA    70006‐1048
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HARVEY L MALONE CUST LAUREN N STRICKLAND UTMA 5132 FOLSE DR                                                                                        METAIRIE         LA    70006‐1048
LA
HARVEY L MALONE CUST MARCUS STANFORD UTMA LA 5132 FOLSE DR                                                                                         METAIRIE         LA    70006‐1048

HARVEY L MALONE CUST MATHEW STANFORD UTMA LA 5132 FOLSE DR                                                                                         METAIRIE         LA    70006‐1048

HARVEY L MALONE CUST MONIEKA MALONE UTMA LA        5132 FOLSE DR                                                                                   METAIRIE         LA    70006‐1048

HARVEY L MALONE CUST ONDRA JOSEPH MALONE           5132 FOLSE DR                                                                                   METAIRIE         LA    70006‐1048
UTMA LA
HARVEY L MALONE CUST TONI EVONNE CHAPMAN           5132 FOLSE DR                                                                                   METAIRIE         LA    70006‐1048
UTMA LA
HARVEY L MARSHALL                                  2030 E 171ST PL                                                                                 SOUTH HOLLAND    IL    60473‐3718
HARVEY L MC CLAIN                                  2750 CHURCH DR                                                                                  DENTON           TX    76210‐3520
HARVEY L NOFFSINGER & MURIEL T NOFFSINGER JT TEN   1528 GOLDEN PALM CIRCLE                                                                         TAVARES          FL    32778‐4319

HARVEY L PRATER                                    691 S MCLOUD RD                                                                                 MC LOUD          OK    74851‐8123
HARVEY L QUINCE                                    20466 MARLOWE                                                                                   DETROIT          MI    48235‐1645
HARVEY L RUSSELL                                   31891 CHICAGO TRL                      APT 42                                                   NEW CARLISLE     IN    46552‐8117
HARVEY L SCHULMAN                                  800 ADAIR AVENUE N E                                                                            ATLANTA          GA    30306‐3706
HARVEY L SHAFER & MRS HELEN L B SHAFER TEN COM     1536 BILCO ST                                                                                   DALLAS           TX    75232‐1902

HARVEY L SKAGGS                                    4209 WILLIAMS SCHOOL RD                                                                         VALDOSTA         GA    31601‐8628
HARVEY L THORNTON                                  71 BENNINGTON DR                                                                                DAYTON           OH    45405‐1702
HARVEY LEE                                         PO BOX 23472                                                                                    SAN JOSE         CA    95153‐3472
HARVEY LEONG & MRS VIVIEN LEONG JT TEN             1 AVERY STREET                         UNIT 21A                                                 BOSTON           MA    02111‐1025
HARVEY LESTER                                      410 EAST COLUMBUS DRIVE                                                                         TAMPA            FL    33602‐1609
HARVEY M BEAL                                      1109 SADDLE VIEW WAY                                                                            FOREST HILL      MD    21050‐2574
HARVEY M BEAL JR                                   6100 N OCEAN BLVD #808                                                                          N MYRTLE BEACH   SC    29582‐1164
HARVEY M COON                                      6725 COLLINS RD                                                                                 HENDERSON        MI    48841‐9742
HARVEY M LANGWORTHY                                4508 WILCOX RD                                                                                  HOLT             MI    48842‐1648
HARVEY M PEDDLE                                    2 PARRY ROAD                           AJAX ON                                L1S 1R2 CANADA
HARVEY M PEDDLE                                    2 PARRY RD                             AJAX ON                                L1S 1R2 CANADA
HARVEY M PEDDLE                                    2 PARRY RD                             AJAX ON                                L1S 1R2 CANADA
HARVEY MCBRIDE JR                                  2218 WEST STEWART                                                                               FLINT            MI    48504‐3725
HARVEY MENSINGER                                   2874 S DOCKSIDE DR                                                                              AVON PARK        FL    33825‐6008
HARVEY MEYERS                                      3 CULLENS RUN                                                                                   PITTSFORD        NY    14534‐3335
HARVEY MILTON EDWARDS                              PO BOX 183                                                                                      PELHAM           GA    31779‐0183
HARVEY N GORSUCH                                   1200 SOUTH FORTH ST                                                                             DESOTO           MO    63020
HARVEY N MCMILLEN & JEANNE M MCMILLEN JT TEN       1386 ADRIEL DR                                                                                  FT COLLINS       CO    80524‐2208

HARVEY N MOONEY                                    1437 OLD PEACHTREE RD                                                                           SUWANEE          GA    30024‐2014
HARVEY N PIERSON                                   4523 SHARON DRIVE                      KLAIR ESTATES                                            WILMINGTON       DE    19808‐5611
HARVEY O BLUNDELL                                  410 WILLIAMS BR ROAD                                                                            MOREHEAD         KY    40351‐8514
HARVEY O FEATHERLY & ELEANORE J FEATHERLY TR UA    13446 FALLOW DR                                                                                 HUNTLEY          IL    60142‐7786
11/17/80
HARVEY O MILLS                                     3413 S 740                                                                                      BRINGHURST       IN    46913‐9674
HARVEY O PETERS & JANICE I PETERS JT TEN           13563 SHARON HOLLOW                                                                             MANCHESTER       MI    48158‐8638
HARVEY P HABER & RITA M HABER JT TEN               4625 FIFTH AVENUE                      APT 312              PITTSBURG                           PITTSBURGH       PA    15213
HARVEY P WHITE                                     63 SIMMERS ROAD                                                                                 RISING SUN       MD    21911‐2304
HARVEY PHILLIP SORDYL                              6358 E POTTER RD                                                                                BURTON           MI    48509‐1389
HARVEY R BUNN                                      1675 PIEDMONT ROAD                                                                              GRIFFIN          GA    30224‐3954
HARVEY R CASTNER                                   9474 SHAWNEE TRAIL                                                                              POWELL           OH    43065‐5038
HARVEY R COLLINS                                   2106 UNION ST                                                                                   MONROE           NC    28110‐3765
HARVEY R GROVES                                    2417 PINE TREE RD                                                                               HOLT             MI    48842‐9709
HARVEY R HORNE                                     2401 S FLYING Q LN                                                                              TUCSON           AZ    85713‐6784
HARVEY R JOHNSON                                   1059 APOLLO DR                                                                                  XENIA            OH    45385‐1401
HARVEY R MOHLER                                    3245 AVON LAKE RD R1                                                                            LITCHFIELD       OH    44253‐9511
HARVEY R MOHLER & DOROTHY P MOHLER JT TEN          3245 AVON LAKE RD R 1                                                                           LITCHFIELD       OH    44253‐9511
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HARVEY R PETERS & FRANCES M PETERS JT TEN         110 VICTORIA RD                                                                                 SUDBURY           MA    01776‐3140
HARVEY R PRICE                                    555 N HOWARD AVE                                                                                SALEM             OH    44460‐2127
HARVEY R SIGLER & MARGARET D SIGLER JT TEN        17315 SUPERIOR ST                                                                               NORTHRIDGE        CA    91325‐1834
HARVEY R TUCK                                     3018 WINTER HAVEN AVE                                                                           DAYTON            OH    45415‐3220
HARVEY R TUCK & MRS SONNA TUCK JT TEN             3018 WINTER HAVEN AVE                                                                           DAYTON            OH    45415‐3220
HARVEY RAY SWEET                                  PO BOX 816                                                                                      MONROE            LA    71210‐0816
HARVEY ROBINSON III                               4544 MIDWAY AVE                                                                                 DAYTON            OH    45417‐1352
HARVEY S GROSS                                    9161 SHERIDAN RD                                                                                NEW LOTHROP       MI    48460
HARVEY S JARRETT                                  6469 E 650 N                                                                                    WILKINSON         IN    46186‐9746
HARVEY S MINTON                                   6641 NORTH HIGH ST                                                                              WORTHINGTON       OH    43085‐4038
HARVEY S NISSELSON & ANNE NISSELSON JT TEN        17 ALPINE DR                                                                                    DENVILLE          NJ    07834‐1416
HARVEY S NISSELSON & ANNE NISSELSON JT TEN        17 ALPINE DR                                                                                    DENVILLE          NJ    07834‐1416
HARVEY S SUTTER                                   8273 SHERIDAN RD                                                                                DURAND            MI    48429‐9305
HARVEY SCHWARTZ                                   97 WINDSOR GATE DR                                                                              NORTH HILLS       NY    11040‐1066
HARVEY SHAFFER HOLDINGS INC                       4150 SHERBROOKE W                      3RD FLOOR             WESTMOUNT QC     H3Z 1C2 CANADA
HARVEY SHAMES                                     10459 KINNARD AVE                                                                               LOS ANGELES       CA    90024‐6015
HARVEY SHUI HONG LEE                              100 PAUL REVERE RD                                                                              ARLINGTON         MA    02476‐5748
HARVEY SINGER                                     PMB 322                                10026 S MINGO RD #A                                      TULSA             OK    74133‐5700
HARVEY SNYDER                                     210 W ATLANTIC AVE                                                                              HADDON HEIGHTS    NJ    08035‐1715

HARVEY STEPHEN MILLER                             535 W 23RD ST APT N9E                                                                           NEW YORK          NY    10011‐1130
HARVEY STEVENS                                    10700 HALSEY RD                                                                                 GRAND BLANC       MI    48439‐8201
HARVEY STRINE JR                                  14144 MITIGATION COURT                                                                          HUDSON            FL    34667‐8481
HARVEY T GOODIN                                   395 LAUREL LAKE RESORT RD                                                                       CORBIN            KY    40701‐7850
HARVEY T LYNCH                                    1400 S NOVA RD APT 383                                                                          DAYTONA BEACH     FL    32114‐5851
HARVEY T SMILEY                                   ATTN AZONIA SANDERS                    2013 EAST LARNED                                         DETROIT           MI    48207‐3974
HARVEY TAFFEL                                     1395 DALEWOOD DR NE                                                                             ATLANTA           GA    30329‐3405
HARVEY V NEWKIRT                                  17300 SHAFTSBURY                                                                                DETROIT           MI    48219‐3591
HARVEY V REEVES                                   640 E WHEELER                                                                                   MIDLAND           MI    48640‐8619
HARVEY W DUTCHER                                  3357 W DOUBLE ADOBE RD                                                                          DOUGLAS           AZ    85607‐6200
HARVEY W EDSON                                    7583 BARNSBURY                                                                                  WEST BLOOMFIELD   MI    48324‐3609

HARVEY W FISHER                                   21119 S BRIAR RD                                                                                PECULIAR          MO    64078‐9537
HARVEY W GWYN                                     4150 TERRACE DR                                                                                 AYDEN             NC    28513‐7088
HARVEY W GWYN & GENEVIEVE E GWYN JT TEN           4150 TERRACE DRIVE                                                                              AYDEN             NC    28513‐2027
HARVEY W JOHNSON                                  100 CAMELLIA LN                        APT 126                                                  LITHONIA          GA    30058‐4946
HARVEY W KALTZ JR                                 4345 WELCH RD                                                                                   ATTICA            MI    48412‐9394
HARVEY W KUBE                                     14905 LATA VIST DR                                                                              ELM GROVE         WI    53122‐2012
HARVEY W LANPHEAR & VIRGINIA M LANPHEAR JT TEN    2038 NEW BOSTON ST                                                                              CHITT             NY    13037‐9565

HARVEY W MCMURRAY                                 700 GREGORY AVE                                                                                 NEW LEBANON       OH    45345‐1629
HARVEY W PAUL                                     PO BOX 237                                                                                      WEST GREEN        GA    31567‐0237
HARVEY W PRATT                                    5027 N E 44TH TERRACE                                                                           KANSAS CITY       MO    64117‐1977
HARVEY W PRATT & HELEN R PRATT JT TEN             5027 N E 44TH TERRACE                                                                           KANSAS CITY       MO    64117‐1977
HARVEY W REYNOLDS & KATHLEEN V REYNOLDS JT TEN    32300 VALLEYVIEW CIR                                                                            FARMINGTON        MI    48336‐3136

HARVEY W RHODES                                   145 MASSIE DR                                                                                   FALLING WTRS      WV    25419‐4535
HARVEY W RIGGS                                    3301 VERACRUZ DR                                                                                SAN RAMON         CA    94583‐2622
HARVEY W VAN VLEET III                            12250 T DR NORTH                                                                                BATTLE CREEK      MI    49014‐8197
HARVEY W WIRTZ III                                2316 ORSBURN LA                                                                                 JOPPA             MD    21085
HARVEY WEXELMAN                                   17 CARILLON CIRCLE                                                                              LIVINGSTON        NJ    07039‐2605
HARVEY WILLIAMS                                   927 SOMERSET LANE                                                                               FLINT             MI    48503‐2941
HARVEY YARIS CUST GLEN H YARIS UNIF THE NY UNIF   27 HOLIDAY POND RD                                                                              JERICHO           NY    11753‐1154
GIFTS TO MINORS ACT
HARVEY YOUNG                                      267 VALLEY BLVD                                                                                 WOODRIDGE         NJ    07075‐1201
HARVEY YOUNG JR                                   282 ALLENHURST RD                                                                               AMHERST           NY    14226‐3006
HARVEY Z HISAW                                    3201 1ST AVE                           APT A421                                                 COLUMBUS          GA    31904‐9324
HARVIE TAYLOR JR                                  3138 BERKLEY ST                                                                                 FLINT             MI    48504‐3206
HARVIL LOUIS CREEKMORE                            4408 COUNTY RD 136                                                                              LEXINGTON         AL    35648‐3420
                                               09-50026-mg                 Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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HARY K COLE & BARBARA J COLE JT TEN               39332 DELLA ROSA DRIVE                                                                           STERLING HEIGHTS   MI    48313‐5224

HASAN A NASSER                                    4902 LANGLEY RD                                                                                  ROCKY MOUNT        NC    27803
HASAN OZEL                                        625 WATERVIEW TRL                                                                                ALPHARETTA         GA    30022‐7015
HASANH H GHANIM                                   4030 CHARLES ST                                                                                  DEARBORN           MI    48126‐3427
HASHIM HABIB                                      215 SMITHVILLE ST                       APT 13A                                                  SUGAR LAND         TX    77478‐4759
HASKEL A COOPER                                   11085 SIERRA PALM CT                                                                             FT MYERS           FL    33912‐5752
HASKELL FROSTIG                                   1145 NORWICH CIRCLE NE                                                                           ATLANTA            GA    30324‐2900
HASKELL WRIGHT FOX JR                             410 NORTH MAIN ST                                                                                GREENVILLE         TN    37745‐3840
HASMIK E BETROSIAN TR UA 12/04/2000 HASMIK E      6988 PEBBLE CREEK WOODS DR                                                                       W BLOOMFIELD       MI    48322
BETROSIAN LIVING TRUST
HASMUKH SHAH                                      101 AMBERLY DR SW                                                                                GRANVILLE        OH      43023‐9654
HASSAN A BAZZI                                    5445 NECKEL STREET                                                                               DEARBORN         MI      48126‐3218
HASSAN A FAWAZ                                    1405 TENNYSON                                                                                    TROY             MI      48083‐6304
HASSAN A MASHHOUR                                 575 ROSEMARY                                                                                     DEARBORN HEIGHTS MI      48127‐3627

HASSAN A MASHHOUR & HALA A MASHHOUR TEN ENT       575 ROSEMARY ST                                                                                  DEARBORN HEIGHTS MI      48127‐3627

HASSAN EID                                        7747 HART WELL                                                                                   DEARBORN           MI    48126‐1119
HASSAN HASSAN CUST TYLER J HASSAN UTMA NY         14 CRANE RD                                                                                      MIDDLETOWN         NY    10941‐1806
HASSAN K KAIS                                     4954 OAKWAY CT                                                                                   GRAND RAPIDS       MI    49525‐6836
HASSAN M ABDALLAH                                 6233 WHITE FIELD HEIGHTS                                                                         DEARBORN HTS       MI    48127
HASUMATI J PATEL                                  7322 BAYBERRY LANE                                                                               DARIEN             IL    60561‐3710
HATCHER SAMARIAN                                  11058 HILLCREST                                                                                  LIVONIA            MI    48150‐2922
HATCHER W WOOD                                    5778 DREXEL ST                                                                                   DETROIT            MI    48213‐3649
HATTIE B MAY                                      17123 DOBSON AVE                                                                                 SOUTH HOLLAND      IL    60473‐3533
HATTIE BONANNO                                    92 POPLAR ST                                                                                     GARDEN CITY        NY    11530‐6517
HATTIE COLEMAN                                    2235 SO TAYLOR RD                                                                                UNIVERSITY HT      OH    44118‐3006
HATTIE E FELDBUSH                                 7761 N LAPEER RD                                                                                 FOSTORIA           MI    48435‐9692
HATTIE FAILS                                      14230 PEMBROKE                                                                                   DETROIT            MI    48235‐1574
HATTIE G HAUSER                                   2701 SAWGRASS COURT                                                                              WINSTON‐SALEM      NC    27103‐6672
HATTIE GUNN                                       1103 E BRISTOL RD                                                                                BURTON             MI    48529‐1126
HATTIE H CRISLER                                  1555 ZETUS RD NW                                                                                 BROOKHAVEN         MS    39601‐9480
HATTIE H STAPLES                                  2240 N 400 W                                                                                     ANDERSON           IN    46011‐8721
HATTIE HARDNETT                                   12075 APPOLINE                                                                                   DETROIT            MI    48227‐3814
HATTIE HARRIS                                     C/O HATTIE M DOXIE                      PO BOX 14790                                             SAGINAW            MI    48601‐0790
HATTIE HOZA                                       20910 PARKLANE DR                                                                                CLEVELAND          OH    44126‐2013
HATTIE J GENTRY                                   31939 DOVER                                                                                      GARDEN CITY        MI    48135‐1747
HATTIE K ZIMA                                     276 FOREST DR                                                                                    BUFFALO            NY    14224‐1513
HATTIE L BROWN                                    3710 MT LAUREL ROAD                                                                              CLEVE HTS          OH    44121‐1331
HATTIE L COLEY                                    247 CEDARWOOD TERR                                                                               ROCHESTER          NY    14609‐6405
HATTIE L ELLISON                                  32 WORCESTER PL                                                                                  BUFFALO            NY    14215‐2132
HATTIE L ENGRAM                                   521 EAST 114 STREET                                                                              CLEVELAND          OH    44108‐1473
HATTIE L GREENE                                   2525 W HOLMES RD                                                                                 LANSING            MI    48911‐2409
HATTIE L SHELTON                                  PO BOX 74692                                                                                     ROMULUS            MI    48174‐0692
HATTIE M ALBERTSON & MARGARET M ALBERTSON JT      15019 E 12 MILE RD                                                                               WARREN             MI    48088‐5314
TEN
HATTIE M BLACKWELL                                199 BROWN RD                                                                                     VESTAL             NY    13850‐6304
HATTIE M DOXIE                                    PO BOX 14790                                                                                     SAGINAW            MI    48601‐0790
HATTIE M PETERSON                                 3917 KELLAR AVE                                                                                  FLINT              MI    48504‐3744
HATTIE MIMS COXWELL                               ATTN HATTIE M LAWSON                    PO BOX 67                                                REPTON             AL    36475‐0067
HATTIE P COLLINS                                  PO BOX 241                                                                                       EXMORE             VA    23350‐0241
HATTIE P DUKES                                    178 HAMLIN RD                                                                                    BUFFALO            NY    14208‐1617
HATTIE P WALLER                                   1190 US HIGHWAY 258 NORTH                                                                        KINSTON            NC    28504‐8274
HATTIE R FROST                                    PO BOX 439                                                                                       FLORA              MS    39071‐0439
HATTIE ROSE GRODECKI & JUDITH ANN SEDLAK JT TEN   23131 MARLBORO ST                                                                                DEARBORN           MI    48128‐1887

HATTIE S SPENCER                                  C/O PANSY S TAVENNER                    275 RIVERBEND DR                                         ROCKY MOUNT        VA    24151‐2910
HATTIE THOMAS                                     925 LA PORTE AVE                                                                                 MELROSE PARK       IL    60164‐1108
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HATTIE WRIGHT                                   339 BRITTON DR                                                                                   GENEVA          OH    44041‐1201
HATTON C BEARD                                  3033 OSAGE AVE                                                                                   CAMDEN          AR    71701‐6736
HAVARD J COPELAND                               11461 SW 82ND CT RD                                                                              OCALA           FL    34481‐3566
HAVEL HUMMEL                                    2883 ROCK ROAD                                                                                   SHELBY          OH    44875‐8707
HAVEN C REQUA                                   PO BOX 46                                                                                        PHELPS          WI    54554‐0046
HAVEN G AHERN                                   3749 HURDS CORNER                                                                                MAYVILLE        MI    48744‐9720
HAVLYN K MARTIN                                 3177 MOON ROAD                                                                                   AVON            OH    44011‐1743
HAWES N ADAMS & NORMA B ADAMS JT TEN            2028 SW 102 TERRACE                                                                              GAINESVILLE     FL    32607‐3253
HAWLEY A HALE                                   G 5313 VAN SLYKE                                                                                 FLINT           MI    48507
HAWLEY D THOMAS CUST CHRISTOPHER S THOMAS       5 SUGAR HOLLOW LN                                                                                WEST SIMSBURY   CT    06092‐2312
UGMA MA
HAWTHORNE WILLIAMS                              2221 HOLTON ST                                                                                   TALLAHASSEE     FL    32310‐6298
HAYAT H ABDULLAH                                1045 ROYALCREST DR                                                                               FLINT           MI    48532‐3244
HAYBOY MYLES                                    20477 MARLOWE ST                                                                                 DETROIT         MI    48235‐1646
HAYDEE KREPPS                                   1889 BADEN STRASSE                                                                               GAYLORD         MI    49735‐9354
HAYDEE NIEVES                                   12679 ENCLAVE DR                                                                                 ORLANDO         FL    32837‐6203
HAYDEE S TOEDTMAN                               2604 GENEVA HILL CT                                                                              OAKTON          VA    22124‐1534
HAYDEE SOTO                                     5441 POINTE VISTA CIR                   APT 302                                                  ORLANDO         FL    32839‐8415
HAYDEN A TAYLOR                                 1765 BUSSING AVE                                                                                 BRONX           NY    10466‐2049
HAYDEN COMBS                                    C/O ROSE COMBS                          R R #2 BOX 191                                           BONNEVILLE      KY    41314‐9341
HAYDEN E LANCASTER                              1201 GREENMONT CIR                                                                               VIENNA          WV    26105‐3501
HAYDEN J COOPER                                 PO BOX 234                                                                                       CONCORD         AR    72523‐0234
HAYDEN O HAYS                                   46180 SENTINEL DRIVE                                                                             FREEMONT        CA    94539‐6952
HAYDEN O HAYS & ALLIE L HAYS JT TEN             46180 SENTINEL DR                                                                                FREMONT         CA    94539‐6952
HAYDER HAYDIN                                   6285 WESTLAND DR                                                                                 WESTLAND        MI    48185‐3031
HAYES C BURTON                                  26 WILLOUGHBY STREET                                                                             NEWARK          NJ    07112
HAYES C STOVER & JAMES G STOVER JT TEN          2 HIGHLAND COURT                                                                                 CARNEGIE        PA    15106‐1044
HAYES EDWARD                                    3310 W MONROE                           APT 2‐B                                                  CHICAGO         IL    60624‐2921
HAYES EDWARD                                    14806 GRANT ST                                                                                   DOLTON          IL    60419‐2658
HAYES SCOTT III                                 1758 GALES NE ST                                                                                 WASHINGTON      DC    20002‐7206
HAYES SHEPARD                                   908 FRIZELL AVE                                                                                  DAYTON          OH    45408‐1316
HAYES SHEPARD & CARRESSA L SHEPARD JT TEN       908 FRIZELL AVE                                                                                  DAYTON          OH    45408‐1316
HAYES VANDERPOOL                                ST RT 122 BOX 135‐E                                                                              LEBANON         OH    45036
HAYLEY A YOUNG CUST MARLEY E YOUNG UTMA KY      1424 PLEASANT RIDGE                                                                              LEXINGTON       KY    40509

HAYLEY CAPLAN                                   6855 CROIS KORCZAK                      COTE SAINT‐LUC QC                      H4W 2V3 CANADA
HAYLEY GROVES                                   25 HAWKSWOOD TRAIL                      HAMILTON ON                            L9B 2T1 CANADA
HAYMON L FIELDS                                 7818 HOOVER RD                                                                                   INDIANAPOLIS    IN    46260‐3550
HAYMOND G MOORE                                 PO BOX 704                                                                                       RIPLEY          WV    25271‐0704
HAYNE D MCMEEKIN                                2732 RIVER RIDGE PLACE                                                                           FORT MILL       SC    29708‐8273
HAYNE Y KELADA                                  5733 VIA MONTECITO                                                                               GRANITE BAY     CA    95746‐5838
HAYNESWORTH V EPPS                              PO BOX 133                                                                                       UNION           SC    29379‐0133
HAYNIE SIDNEY ROBERTSON JR CUST MARY SIDNEY     411 BRUNSWICK AVE                                                                                BLACKSTONE      VA    23824‐2033
ROBERTSON UGMA VI
HAYWARD E LITTLE JR                             16615 SHAFTSBURY AVE                                                                             DETROIT         MI    48219‐4073
HAYWARD FARLEY                                  31650 MADISON                                                                                    WAYNE           MI    48184‐1934
HAYWARD H DAVIS                                 3109 PLACID VIEW DR                                                                              LAKE PLACID     FL    33852
HAYWARD L GREGG                                 34 BALBACH AVE                                                                                   NEW CASTLE      DE    19720
HAYWARD MARSHALL SEYMORE JR                     1818 VALLEY LN                                                                                   FLINT           MI    48503‐4517
HAYWARD P FAIRLEIGH                             C/O MARIE G FAIRLEIGH                   7538 MANOR CIR APT 103                                   WESTLAND        MI    48185‐2072
HAYWARD P SUMMERS JR                            3905 DETROIT BLVD                                                                                W BLOOMFIELD    MI    48323
HAYWOOD E JOHNSON JR                            200 ALLIANCE WAY                        UNIT 210                                                 MANCHESTER      NH    03102‐8415
HAYWOOD PATTON                                  610 ALTON ST                                                                                     PONTIAC         MI    48053
HAYWOOD R HOPSON                                908 HANCOCK AVE                                                                                  PORTSMOUTH      VA    23701‐3211
HAYWOOD R HOPSON & IRA J HOPSON JT TEN          908 HANCOCK AVE                                                                                  PORTSMOUTH      VA    23701‐3211
HAYWORD MC KENZIE JR                            59 EVANS AVE                                                                                     TRENTON         NJ    08638‐4209
HAZEL A BAILEY & SUZAN K NUNNINK JT TEN         1702 AIRPORT RD # 230                                                                            STAPLES         MN    56479
HAZEL A BILKA                                   216 SUNRISE CT                                                                                   ALTOONA         PA    16601‐9423
HAZEL A CONRAD                                  31502 HARTFORD                                                                                   WARREN          MI    48088‐7309
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HAZEL A HART                                       2122 VERMONTVILLE                                                                                 CHARLOTTE         MI    48813
HAZEL A JOHNSON                                    5170 S STATE RD 39                                                                                LEBANON           IN    46052‐9722
HAZEL A SABIN                                      3238 DAKOTA AVE                                                                                   FLINT             MI    48506‐3041
HAZEL ANN JOHNSON                                  5170 S STATE RD #39                                                                               LEBANON           IN    46052‐9722
HAZEL ARNETT STUDEBAKER                            5401 NEWELL DR                                                                                    DAYTON            OH    45440‐2850
HAZEL B ENGEL                                      43022 21ST ST W                                                                                   LANCASTER         CA    93536‐4690
HAZEL B HUSCHKA & DONALD A HUSCHKA JT TEN          R ROUTE BOX 113A                                                                                  BRODHEAD          WI    53520‐0113
HAZEL B MITCHELL                                   5 SUGAR HILL DR                                                                                   WOOLWICH          ME    04579‐4440
HAZEL B REISER                                     25 MAPLE DRIVE                                                                                    CALDWELL          NJ    07006‐4548
HAZEL B ROY                                        BOX 42                                                                                            RAYMONDVILLE      NY    13678‐0042
HAZEL B VANCIL TR HAZEL B VANCIL LIVING TRUST UA   8649 ANDERSONVILLE RD                                                                             CLARKSTON         MI    48346‐2521
10/03/97
HAZEL B WISSEL                                     203 CHENAULT RD                                                                                   LEXINGTON         KY    40502‐2306
HAZEL BISSELL                                      2142 CHERRY TREE LN                                                                               PEACHTREE CITY    GA    30269‐2978
HAZEL BUJOLD                                       904 WEXFORD WAY                                                                                   ROCHESTER HILLS   MI    48307‐2972
HAZEL C BENNETT                                    PO BOX 21                                                                                         RICHMOND          VA    23218‐0021
HAZEL C CHAPIN TR UA 11/19/1982 HAZEL C CHAPIN     17894 RIVER ROAD                                                                                  ARGYLE            WI    53504
TRUST
HAZEL C CLEFFMAN TR HAZEL C CLEFFMAN REV LIV       PO BOX 675                                                                                        LAPEER            MI    48446‐0675
TRUST UA 02/16/05
HAZEL C CLEFFMAN TR HAZEL C CLEFFMAN REVOCABLE     PO BOX 675                                                                                        LAPEER            MI    48446‐0675
TRUSTUA 2/16/05
HAZEL C FLOOD                                      PO BOX 631                                                                                        GLENNS FERRY      ID    83623‐0631
HAZEL C GANDER                                     360 GREENBRIAR LN                                                                                 WEST GROVE        PA    19390‐9490
HAZEL C LEPPAN                                     2401 ALPINE MEADOWS CT                                                                            WASCO             CA    93280‐2915
HAZEL C LYNCH & JEFFERY ROGER SMITH JT TEN         22526 W OUTER DR                                                                                  DEARBORN          MI    48124‐4229
HAZEL C STULTZ                                     374 YEATTS RD                                                                                     MARTINSVILLE      VA    24112‐0434
HAZEL CAMPBELL                                     104 BALDWIN AVE                                                                                   WINCHESTER        KY    40391‐2208
HAZEL COLEMAN                                      2728 I ST                                                                                         BEDFORD           IN    47421‐5134
HAZEL D BOERSMA & TRISHA A KNACK JT TEN            5968 PARK LANE ROAD APT 321                                                                       EAST LANSING      MI    48823
HAZEL D BROWN                                      3170 MEADOW LANE N E                                                                              WARREN            OH    44483‐2634
HAZEL D BURKE                                      8422 BUTTER ST                                                                                    GERMANTOWN        OH    45327‐8749
HAZEL D CHIPMAN & ARLENE B COSTELLO JT TEN         112 SOUTH RIVER DRIVE                                                                             CLARKSTON         MI    48346‐4150
HAZEL D HOLMES‐HICKS                               16667 COYLE                                                                                       DETROIT           MI    48235‐3864
HAZEL D ISBELL                                     1720 W MAIN                                                                                       HENDERSON         TX    75652‐2842
HAZEL D PERRY                                      18452 WILDWOOD AVE                                                                                LANSING           IL    60438‐2924
HAZEL D ROTH                                       C/O GERALD E ROTH                      1360 SHANNON RD                                            GIRARD            OH    44420‐1412
HAZEL DERBY TR UA 11/01/2006 HAZEL DERBY TRUST     237 E LASALLE                                                                                     ROYAL OAK         MI    48073‐3445

HAZEL DOTSON                                       881 SHADY LN                                                                                      FAIRFIELD         OH    45014‐2743
HAZEL E COCHRAN TR HAZEL E COCHRAN REVOCABLE       C/O JOHN R EZELL                       5050 EL CAMINO REAL STE 114                                LOS ALTOS         CA    94022‐1531
TRUST UA 04/24/79
HAZEL E HUDGINS                                    14601 MEETING CAMP RD                                                                             CENTREVILLE       VA    20121‐2579
HAZEL E MANNIX                                     2031 GRANITE HILLS DRIVE                                                                          EL CAJON          CA    92019‐2047
HAZEL E MASSEY                                     3944 CHURCH ST                                                                                    WILLOUGHBY        OH    44094‐6204
HAZEL E ROUSE                                      435 IRISHTOWN RD                                                                                  GROVE CITY        PA    16127‐4411
HAZEL E SCHERER                                    PO BOX 254                                                                                        CHESTERFIELD      IN    46017‐0254
HAZEL E STEVENS                                    10406 CENTERLINE RD                                                                               ONAWAY            MI    49765‐8755
HAZEL F GRIFFITH                                   6770 PABLO DR                                                                                     DAYTON            OH    45424‐2221
HAZEL F JONES                                      P O DRAWER 149                                                                                    ATHENS            TX    75751‐0149
HAZEL F MARTINDALE                                 6051 GORDON RD                                                                                    WATERFORD         MI    48327‐1739
HAZEL F POHLMANN                                   139 LAWNVIEW CIRCLE                                                                               DANVILLE          CA    94526‐5107
HAZEL F ROGERS & RALPH L ROGERS JT TEN             13130 STATE HGWY 43N                                                                              KARNACK           TX    75661‐3068
HAZEL F ROGERS CUST JOHN H BERRY V UTMA TX         13130 STATE HGWY 43N                                                                              KARNACK           TX    75661‐3068
HAZEL FRIZZELL CROSS                               131 CHURCH ROAD                                                                                   ARNOLD            MD    21012‐2308
HAZEL G AMBROSE                                    4530 SE BRIDGETOWN CT                                                                             STUART            FL    34997‐5594
HAZEL G HELMS                                      45 PATRIOTS CROOK                                                                                 MARTINSVILLE      VA    24112
HAZEL G LEWIS TR HAZEL G LEWIS TRUST UA 1/12/99    15228 BURTON ST                                                                                   VAN NUYS          CA    91402‐4439
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HAZEL G STEWART                                  422 FELIX ST                         APT 1006                                                       SAINT JOSEPH    MO    64501‐2179
HAZEL GASS                                       2404 HACKER DRIVE                                                                                   JOLIET          IL    60435
HAZEL GODWIN & SHARON J SCRONCE JT TEN           1885 VIOLET DR                                                                                      FLORISSANT      MO    63031‐3129
HAZEL GORDON                                     7 TORRINGTON AVENUE GIFFNOCK         GLASGOW                                G46 7LH GREAT BRITAIN
HAZEL H ATKIN                                    396 MELROSE LANE                                                                                    MT MORRIS       MI    48458‐8924
HAZEL H COHEN & CHESTER COHEN TR HAZEL H COHEN   200 COUNTRY BROOK DRIVE # 2426                                                                      KELLER          TX    76248‐2146
REV TRUST UA 6/24/02
HAZEL H GRAY                                     5912 KRISTEN DR                                                                                     JACKSON         MS    39211‐2832
HAZEL H NUCKOLS                                  7328 HERMITAGE ROAD                                                                                 RICHMOND        VA    23228‐4309
HAZEL HERALD                                     1006 AKESIDE DRIVE                                                                                  JACKSON         KY    41339‐9678
HAZEL HOWARD SWEENEY & U LEROY SWEENEY JT TEN    10262 ROCKYTOP CT                                                                                   MECHANICSVLLE   VA    23116

HAZEL I ABEL                                     158 CLIFFORD                                                                                        PONTIAC         MI    48342‐3317
HAZEL I ANDERSON & DALLAS W ANDERSON JT TEN      6861 BLACK MOUNTAIN RD                                                                              ONAWAY          MI    49765‐9669

HAZEL I FRASA & WARREN C FRASA JT TEN             702 COUNTY ROAD 630A LOT 374                                                                       FROSTPROOF      FL    33843
HAZEL I FRENCH                                    7646 CARTER RD                                                                                     BENTLEY         MI    48613‐9618
HAZEL I LILLY                                     PO BOX 98                                                                                          CLEAR CREEK     WV    25044‐0098
HAZEL I MC ELHANY                                 3471 VALLEY ST                                                                                     CARLSBAD        CA    92008‐2636
HAZEL I MEYER                                     8835 N HALL RD                                                                                     MONROVIA        IN    46157‐9319
HAZEL I SCARBRO                                   C/O DEBORAH ANN SCARBRO O'NEAL      1010 MABEL LN                                                  PINNACLE        NC    27043‐8654
HAZEL J BARTO                                     5007 STATE ROUTE 46 NE                                                                             CORTLAND        OH    44410
HAZEL J BENNETT                                   PO BOX 2091                                                                                        CUMMING         GA    30028‐6091
HAZEL J MOJET                                     4228 SANDFORD LANE                                                                                 FORT WAYNE      IN    46816
HAZEL JUANITA WALTER                              7404 OAKMONT DRIVE                                                                                 LAKE WORTH      FL    33467‐1337
HAZEL KENNEDY                                     19611 CAMERON                                                                                      DETROIT         MI    48203‐1306
HAZEL L BLOOM                                     530 MILLER DRIVE                                                                                   MEDINA          OH    44256‐1624
HAZEL L BURNS                                     7304 FOREST ROAD/ROUTE 6            FOREST ON                              N0N 1J0 CANADA
HAZEL L CARRIER                                   12343 ADAMS STREET                                                                                 MT MORRIS       MI    48458‐3208
HAZEL L COLVIN                                    289 LA COSTA AVE                                                                                   DAYTON          NV    89403‐8774
HAZEL L COOK TOD GREENVILLE BAPTIST CHURCH        12144 CANTERBURY COURT                                                                             KING GEORGE     VA    22485
SUBJECT TO STA TOD RULES
HAZEL L DAVIS                                     36 SIXTH AVE                                                                                       AUGUSTA         ME    04330‐6648
HAZEL L FORDYCE & SANDRA LEE FORDYCE JACKSON JT PO BOX 51                                                                                            WHITE SALMON    WA    98672‐0051
TEN
HAZEL L HAMILTON TR HAZEL L HAMILTON LIVING       249 20TH ST S                                                                                      BATTLE CREEK    MI    49015‐3046
TRUST UA 09/09/95
HAZEL L JENKINS                                   10245 KRAMER                                                                                       DETROIT         MI    48204‐2645
HAZEL L MONTGOMERY                                101 JEFFERSON AVE                                                                                  ALLEGANY        NY    14706‐1147
HAZEL L PHILLIPS                                  331 OAKLAND ST                                                                                     TRENTON         NJ    08618‐3511
HAZEL L ROWE                                      35750 BETTEN CT ST #27                                                                             NEWARK          CA    94560‐1049
HAZEL L SIMMONS                                   2030 RICHMOND RD                                                                                   TOLEDO          OH    43607‐1572
HAZEL L WOODS                                     1814 FACTORY AVE                                                                                   MARION          IN    46952‐2423
HAZEL LEE C RICHARD CUST ALANNA JOELLE RICHARD    61 DURRELLS WOOD RD                                                                                ARUNDEL         ME    04046‐7503
UTMA ME
HAZEL LEE DOVE                                    14625 PENNOCK AVE                   APT C4                                                         SAINT PAUL      MN    55124‐3505
HAZEL LEON STINSON                                1125 FAIRFAX ST                                                                                    FLINT           MI    48505‐2905
HAZEL LIESKE CUST JASON ARTHUR ZNOY UTMA IL       3011 S LLOYD                                                                                       CHICAGO         IL    60608‐5522
HAZEL LOCKWOOD FRIZZELL                           131 CHURCH ROAD                                                                                    ARNOLD          MD    21012‐2308
HAZEL M ABEL TR UA 08/27/92 HAZEL M ABEL & FAMILY 16529 SE HAMPSHIRE LANE                                                                            MILWAUKIE       OR    97267‐5133

HAZEL M BELL                                     235 S GREEN MEADOW ST SE                                                                            GRAND RAPIDS    MI    49548‐6849
HAZEL M BENEDUM                                  808 NORTH 1ST ST                                                                                    DENNISON        OH    44621‐1004
HAZEL M BOBBITT                                  1712 ROSS RD                                                                                        FOREST HILL     MD    21050‐2853
HAZEL M BODA                                     2450 OLD MACKINAW ROAD                                                                              CHEBOYGAN       MI    49721‐9310
HAZEL M BOTTO                                    3532 WOODCLIFF DR                                                                                   INDIANAPOLIS    IN    46203‐4756
HAZEL M BROWN                                    4437 AVERY                                                                                          DETROIT         MI    48208‐2743
HAZEL M BROWN                                    420 LOOKEY'S RIDGE RD                                                                               BETHLEHEM       GA    30620
HAZEL M COUNSEL                                  575 SYCAMORE CT                                                                                     FLINT           MI    48506‐5210
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HAZEL M DAVIDSON                                  42600 CHERRY HILL RD                 APT 305                                                  CANTON           MI    48187‐3788
HAZEL M DAVIS                                     5060 ESTA DR                                                                                  FLINT            MI    48506‐1573
HAZEL M DRAKE                                     1184 US ROUTE 68 SOUTH                                                                        XENIA            OH    45385‐7629
HAZEL M HARRISON                                  1301 E FULTON ST #234                                                                         NEWBERG          OR    97132‐1870
HAZEL M HUNT                                      2370 W AMBER PLACE                                                                            CITRUS SPRINGS   FL    34434‐4005
HAZEL M KEMMERY                                   2210 W MADISON ST                                                                             SANDUSKY         OH    44870‐2024
HAZEL M KERR                                      80 MOUNT PLEASANT ST                                                                          FROSTBURG        MD    21532‐1318
HAZEL M LEDERHOUSE                                2058 YOUNGSTOWN‐WILSON                                                                        RANSOMVILLE      NY    14131‐9633
HAZEL M LIESKE & DEBBORH A ZNOY & NICOLETTE C     3011 S LLOYD AVE                                                                              CHICAGO          IL    60608‐5522
ORZECH JT TEN
HAZEL M MENDOZA                                   5295 AUSTIN HWY                                                                               FALLON           NV    89406‐9701
HAZEL M MORGAN                                    1336 EVERGREEN                                                                                FULLERTON        CA    92835‐2025
HAZEL M PACHECO                                   678 HARLAN STREET                                                                             PLAINFIELD       IN    46168‐1318
HAZEL M PICKENS                                   4567 HUNT RD                                                                                  ADRIAN           MI    49221‐9241
HAZEL M ROBINSON                                  19330 HUNTINGTON RD                                                                           DETROIT          MI    48219‐2744
HAZEL M ROBINSON                                  9190 YORKSHIRE                                                                                DETROIT          MI    48224‐1929
HAZEL M SAUVAGE TR HAZEL M SAUVAGE TRUST UA       1032 ANGELA AVE                                                                               AUBURN           IN    46706‐3743
03/25/97
HAZEL M SLATON                                    12246 EAGLE RD                                                                                NEW LEBANON      OH    45345
HAZEL M SUMMERS                                   4290 BEECHGROVE DR                                                                            GROVE CITY       OH    43123‐3504
HAZEL M TREECE                                    625 SE 651                                                                                    KNOB NOSTER      MO    65336‐2206
HAZEL M VAN PELT                                  1513 GEIGER RD                                                                                STARKE           FL    32091‐4312
HAZEL MCCLURE SMITH                               271 NEW PROSPECT RD                                                                           ARAGON           GA    30104
HAZEL MILLER                                      1222 ELDORADO DRIVE                                                                           FLINT            MI    48504‐3218
HAZEL MILLER & FRANK H MILLER JT TEN              1222 ELDORADO DRIVE                                                                           FLINT            MI    48504‐3218
HAZEL N CROWE                                     2751 REGENCY OAKS BLVD               APT M211                                                 CLEARWATER       FL    33759‐1540
HAZEL N RHODEN                                    4572 SYLVAN OAK DR                                                                            TROTWOOD         OH    45426‐2122
HAZEL N SMITH                                     506 TRAILWOOD DRIVE                                                                           CLINTON          MS    39056‐5434
HAZEL NC MORGAN                                   5819 DORIS DR                                                                                 BROOK PARK       OH    44142‐2111
HAZEL OSTERHOUT                                   PO BOX 301                                                                                    JACKSONVILLE     NY    14854‐0301
HAZEL P GARWICK                                   4838 APPLETREE LANE                                                                           BAY CITY         MI    48706‐9260
HAZEL P POSTON                                    6217 WHETSTONE DR                                                                             MCKINNEY         TX    75070‐7815
HAZEL P SAYLOR                                    789 HARVEST MEADOW WAY                                                                        WHITELAND        IN    46184‐9396
HAZEL PHYLLIS KAGAN & KENNETH G KAGAN JT TEN      2496 COLLEGE PARK CIR                                                                         SANTA ROSA       CA    95401‐9150

HAZEL R COOPER & ROBERT LOSEY JT TEN              C/O ROBERT L LOSEY                   PSC 78 BOX 1301                                          APO              AP    96326
HAZEL R DOUGLAS                                   130 LARKSPUR LN                                                                               LOCUST GROVE     VA    22508‐5161
HAZEL R MADDEN                                    2380 NORTON RD                                                                                GALLOWAY         OH    43119‐9584
HAZEL R WARD                                      321 MAPLE DR                                                                                  NEWTON FALLS     OH    44444‐1910
HAZEL RABY                                        3424 PIPESTONE DR                                                                             BATON ROUGE      LA    70814‐5237
HAZEL RIFFEL                                      937 STATE RT 302                                                                              ASHLAND          OH    44805‐9577
HAZEL ROMAN                                       19 ERIE STREET                                                                                TONAWANDA        NY    14150‐3803
HAZEL S DEHAVEN                                   2251 VIENNA PKWY                                                                              DAYTON           OH    45459‐1380
HAZEL S FERNAND TR UA 05/14/1992 FERNAND FAMILY   1215 WILLOW ST                                                                                GRAND LEDGE      MI    48837
TRUST
HAZEL S HART                                      635 PLEASANT RIDGE                                                                            LAKE ORION       MI    48362‐3822
HAZEL S HEWITT                                    282CROSS ST                                                                                   MIDDLETOWN       CT    06457‐3146
HAZEL S MARTIN                                    30 JULIO DR                          APT 616                                                  SHREWSBURY       MA    01545‐3047
HAZEL S THOMPSON                                  N6309 HIGHWAY 107                                                                             TOMAHAWK         WI    54487
HAZEL S TROTT                                     29018 WARNICK RD                                                                              RANCHO PALOS     CA    90275‐4611
                                                                                                                                                VERDE
HAZEL SNYDER BECKMAN                              17212 SE 240TH ST                                                                             KENT             WA    98042‐5286
HAZEL STEUSSY                                     9308 PIONEER                                                                                  WACO             TX    76712‐7719
HAZEL T RANSOM                                    2050 6TH ST                                                                                   LIMON            CO    80828
HAZEL V BEIGHLEY                                  28262 POST HOLLOW                                                                             LONE ROCK        WI    53556‐5065
HAZEL VAN PELT EX EST GERALD VAN PELT             1513 GEIGER RD                                                                                STARKE           FL    32091‐4312
HAZEL W CLARK                                     8737 LOVERS LANE RD                                                                           CORFU            NY    14036‐9704
HAZEL W GILMER                                    3005 WRIGHTSBORO RD                                                                           AUGUSTA          GA    30909‐3074
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HAZEL WADDELL TR HAZEL WADDELL LIVING TRUST UA    BOX 1435 COUNTY RD 770                NACOGDOCHERS                                             NACOGDOCHES      TX    75964
8/7/96
HAZEL WALLACE                                     ROUTE#33 BOX#19                                                                                GEORGIANA        AL    36033‐9151
HAZEL WHITE                                       10375 FARY'S MILL RD                                                                           GLOUCESTER       VA    23061‐2918
HAZEL WILLIAMS                                    501 E FLINT PARK BL                                                                            FLINT            MI    48505‐3203
HAZEL WINDHORST                                   6212 LEXINGTON RD                                                                              METROPOLIS       IL    62960‐4506
HAZELENE M MOORE                                  3518 FLORETTA                                                                                  CLARKSTON        MI    48346‐4016
HAZELLEE C MARTIN & MATTHEW E MARTIN JT TEN       5682 OAKVILLE RD                                                                               APPOMATTOX       VA    24522

HAZEN G SCHMITT                                   445 LAKESHORE DR                                                                               COLUMBIAVILLE    MI    48421‐9728
HAZEN J WARNER JR                                 10801 W DITCH RD                                                                               CHESANING        MI    48616‐9746
HAZIM GHALLOZI                                    5871 BALFOUR AVE                                                                               ALLEN PARK       MI    48101‐2801
HAZLE C HANNA                                     5390 TRUMPETER BLVD                                                                            NORTH ROYALTON   OH    44133‐5280

HD VEST CUST CHARLES ANDREWS IRA              28684 BAYBERRY CT E                                                                                LIVONIA          MI    48154
HEARSEL A WHITED                              2018 S ARLINGTON RD                                                                                AKRON            OH    44306‐4206
HEARTHA DRAKE                                 ROUTE #1OSS ST BOX 123                                                                             DEKALB           MS    39328‐9761
HEATH A NEAL & JESSICA R NEAL JT TEN          16303 E 47TH PLACE                                                                                 TULSA            OK    74134
HEATH BRADLEY DANKERT                         14754 BRIGGS RD                                                                                    CHESANING        MI    48616‐8430
HEATH EUGENE BOWMAN                           2683 BAYSHORE HEIGHTS DR                                                                           DECATUR          IL    62521‐5409
HEATH LEBLANC CUST CHANDLER C LEBLANC UTMA LA 8556 HIGHWAY 955 E                                                                                 ETHEL            LA    70730‐4200
UNIF TRAN MIN ACT
HEATH LEBLANC CUST WILLIAM G LEBLANC UTMA LA  8556 HIGHWAY 955 E                                                                                 ETHEL            LA    70730‐4200
UNIF TRAN MIN ACT
HEATH M BAUMAN                                8099 WHITNEYWOOD CT SE                                                                             ALTO             MI    49302‐8903
HEATH M PROPER                                12628 NW 8TH CT                                                                                    CORAL SPRINGS    FL    33071‐4410
HEATH SCOTT HAGA                              158 MAIN STREET                           PO BOX 67                                                WOODBURY         PA    16695
HEATHER A BECKSTROM                           609 S MONROE ST                                                                                    STOUGHTON        WI    53589‐2437
HEATHER A CARLETON                            81 HAVERFORD ST                                                                                    HAMDEN           CT    06517‐1906
HEATHER A LANE                                11080 WOODFIELD PKWY                                                                               GRAND BLANC      MI    48439‐9450
HEATHER A MC GEOCH                            8093 MILLER RD                                                                                     SWARTZ CREEK     MI    48473‐1381
HEATHER ACKERMAN CUST KAILEE N ACKERMAN UGMA RR 2 BOX 209                                                                                        THOMPSONTOWN     PA    17094‐9740
NY
HEATHER ALISSA THOMPSON                       6816 STONEYBROOKE LN                                                                               ALEXANDRIA       VA    22306‐1342
HEATHER ANN SNYDER CUST BARBARA MARY SNYDER ROUTE 37                                                                                             MALONE           NY    12953
UGMA NY
HEATHER ASHTON CUST CORY THOMAS ASHTON UTMA 35353 WHETSTONE CT                                                                                   ELIZABETH        CO    80107‐7713
ME
HEATHER B COURTNEY CUST BLAISE MITCHELL       41 ASNEBUMSKIT RD                                                                                  PAXTON           MA    01612‐1350
COURTNEY UTMA MA
HEATHER B COURTNEY CUST JORY PETER COURTNEY   41 ASNEBUMSKIT RD                                                                                  PAXTON           MA    01612‐1350
UTMA MA
HEATHER BESS COURTNEY                         41 ASNEBUMSKIT RD                                                                                  PAXTON           MA    01612‐1350
HEATHER C BARTON                              3026 RED FOX RD                                                                                    NEW BERN         NC    28562‐6638
HEATHER C BEREL                               131 JORALEMON ST                                                                                   BROOKLYN HEIGHTS NY    11201‐4069

HEATHER CHRISTIE CUST JESLYN CHRISTIE UTMA NV     1460 ZEPHYR WAY                                                                                SPARKS           NV    89431‐2045

HEATHER D INNES                                   217 LYTTON BLVD                       TORONTO ON                             M4R 1L6 CANADA
HEATHER D LENGYEL                                 53 BALL PARK RD                                                                                SHARPSVILLE      PA    16150‐3001
HEATHER DAVIS BUDMAN                              11635 WOODBRIDGE ST UNIT 5                                                                     STUDIO CITY      CA    91604
HEATHER DEIS                                      2223 WADE CRT                                                                                  HAMILTON         OH    45013‐9506
HEATHER DENIESE BOTTUM                            9423 SPENCER ROAD                                                                              BRIGHTON         MI    48114‐8651
HEATHER DRYSDALE                                  ATTN HEATHER DRYSDALE DIONNE          294 MYLO ROAD                                            HARVEST          AL    35749‐9288
HEATHER E BROWN & DALE S BROWN JR JT TEN          1048 W HILL RD                                                                                 NORTHFIELD       VT    05663‐6388
HEATHER E WYSE                                    410 BOYD ST                                                                                    BOONTON          NJ    07005‐2002
HEATHER ENGLAND                                   11417 E 191ST STREET                                                                           BIXBY            OK    74008‐6650
HEATHER F ADKINS                                  135 SPERLING AVE                                                                               DAYTON           OH    45403
HEATHER FRAZIER & KIMBERLY FRAZIER JT TEN         1239 W TOBIAS RD                                                                               CLIO             MI    48420‐1764
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HEATHER G ABRAMS                                 171 PROCTOR BLVD                                                                                UTICA            NY    13501‐6132
HEATHER G MONAGHAN                               945 BUCKRUN RD                                                                                  E FALLOWFIELD    PA    19320
HEATHER GIBBS                                    9501 MANNING AVE APT 414               FORT MCMURRAY AB                       T9H 2M3 CANADA
HEATHER GOODWIN & BRANDON GOODWIN JT TEN         5 S CRIMSON CIRCLE                                                                              SAINT GEORGE     UT    84790‐6432

HEATHER HART                                     1264 WILLISTON DR                                                                               LAWRENCEVILLE    GA    30044‐8156
HEATHER I YEE                                    43097 STONECOTTAGE PL                                                                           ASHBURN          VA    20147
HEATHER J COMBS CUST JENNIFER R COMBS UGMA MI    220 BEECHWOOD CT                                                                                FLUSHING         MI    48433‐1802

HEATHER J FEARSON CUST DANIEL JOHN FEARSON       220 BEECHWOOD CT                                                                                FLUSHING         MI    48433‐1802
UGMA ME
HEATHER J FEARSON CUST JOSHUA LEE FEARSON UGMA 220 BEECHWOOD CT                                                                                  FLUSHING         MI    48433‐1802
MI
HEATHER J ROSS                                   1315 HERMAN COURT                                                                               ONALASKA         WI    54650‐2423
HEATHER J STURGIS                                25584 GRIM RD                                                                                   STURGIS          MI    49091‐9306
HEATHER JEAN BERINGER                            266 RIDGE AVENUE                                                                                FREEDOM          PA    15042‐9508
HEATHER JO ZAHORA                                2466 SPRINGMILL ROAD                                                                            KETTERING        OH    45440‐2544
HEATHER K GILLIGAN                               C/O C CAROLE GILLIGAN                  7855 WILDERNES DR                                        MENTOR           OH    44060‐7173
HEATHER K MCCALLISTER                            1930 EAST 68TH STREET                                                                           INDIANAPOLIS     IN    46220‐1222
HEATHER L COFFEY                                 1339 OVERLAND PARK DR                                                                           BRASELTON        GA    30519
HEATHER L GOLDEN                                 681 GREENBERRY DR                                                                               CANTONMENT       FL    32533‐1432
HEATHER L KALIN                                  3815 E EDNA AVE                                                                                 PHOENIX          AZ    85032‐2101
HEATHER L KEMMERLY                               112 SANCTUARY COVE                                                                              YORKTOWN         VA    23693‐2635
HEATHER L LICCARDI CUST KEITH M LICCARDI UGMA OH PO BOX 165                                                                                      HINCKLEY         OH    44233

HEATHER L MC CORMICK                             419 LUGONIA ST                                                                                  NEW PORT BEACH   CA    92663‐1817
HEATHER L MIDOCK                                 RD 3 BOX 388                                                                                    HOMER CITY       PA    15748‐9201
HEATHER L MIDOCK & CAROLE A MIDOCK JT TEN        RD 3 BOX 388                                                                                    HOMER CITY       PA    15748‐9201
HEATHER L PAULSON                                3050 EWING AVE S APT 203                                                                        MINNEAPOLIS      MN    55416‐4249
HEATHER L SIRGANY CUST BENJAMIN C SIRGANY UTMA   3909 AVON BROOK LANE                                                                            DURHAM           NC    27705
NC
HEATHER L SIRGANY CUST MADISON R SIRGANY UTMA    3909 AVON BROOK LANE                                                                            DURHAM           NC    27705
NC
HEATHER L THOMPSON                               71 PARK STREET                                                                                  SOMERVILLE       MA    02143
HEATHER L YAKSTA                                 11 S ARLINGTON AVE                                                                              BERLIN           NJ    08009
HEATHER LEA BURNS                                322 BOUNTY WAY                                                                                  AVON LAKE        OH    44012‐2429
HEATHER LEE TURNER                               PO BOX 156                                                                                      KANEVILLE        IL    60144
HEATHER LEIGH IWANICKI                           5460 HORSESHOE LAKE RD                                                                          BATAVIA          NY    14020‐9611
HEATHER LINDA RALLEY                             ATTN HEATHER LYNDA BLANE               3 AUTUMN BLVD        BRAMALEA ON       L6T 2V3 CANADA
HEATHER LYNN LURIE                               153 DUXBURY RD                                                                                  PURCHASE         NY    10577‐1524
HEATHER M BLADY                                  3682 GREEN RIDGE ROAD                                                                           FURLONG          PA    18925‐1186
HEATHER M GUITH & MARK G GUITH JT TEN            9349 BRNING TREE DR                                                                             GRAND BLANC      MI    48439‐9539
HEATHER M MATHOUS                                529 IRISH SETTLEMENT RD                                                                         WADDINGTON       NY    13694‐3122
HEATHER M PISLE                                  1205 SHOREVIEW DR                                                                               LIMA             OH    45805‐3682
HEATHER MARIE CELMER & LORI LYNN CELMER JT TEN   20937 AGNES DR                                                                                  MC CALLA         AL    35111‐1306

HEATHER MARY WENTWORTH TR U/T/D 11/29/83 F/B/O HEARTS RETREAT RANCH                     BOX 18369                                                STEAMBOAT        NV    89511‐0369
ALEXANDER STUART WALKER
HEATHER MCSPEDON                               355 RUSHMORE AVE                                                                                  MAMARONECK       NY    10543‐3943
HEATHER MEGAW MURPHY                           627 GLENMARY RD                                                                                   RADNOR           PA    19087
HEATHER MICHELLE BOWMAN                        2507 BURGENER DR                                                                                  DECATUR          IL    62521‐4804
HEATHER N WARD                                 420 S CRANBROOK RD                                                                                BLOOMFIELD       MI    48301‐3418
HEATHER POPPE CUST ISAIAH POPPE UTMA NJ        299 NATHAN CT                                                                                     CLIFFWOOD        NJ    07721‐1174
HEATHER PRYOR MCKEE                            134 N MAGNOLIA ST                                                                                 SUMMERVILLE      SC    29483‐6836
HEATHER R MESCHER                              306 19TH ST SE                                                                                    CEDAR RAPIDS     IA    52403‐2331
HEATHER R PARRY                                273 BRISCOE BLVD                                                                                  WATERFORD        MI    48327
HEATHER R WHITAKER                             3185 SPARKS RD                                                                                    JACKSON          MI    49203‐2246
HEATHER RAE CARSON                             20000 PLUM CANYON                                                                                 SANTA CLARITA    CA    91350
HEATHER RENE LUMPKIN                           11789 MARSH ELDER DR                                                                              JACKSONVILLE     FL    32226‐2052
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HEATHER RUSSELL ROBERTS BIOLA                   12 PROSPECT ST                                                                                            ELKINS          WV    26241‐3925
HEATHER SHANKS                                  80 N ELLICOTT ST                                                                                          WILLIAMSVILLE   NY    14221‐5535
HEATHER SMITH                                   11 CEDARCREST CT                                                                                          THOUSAND OAKS   CA    91362
HEATHER SUE SCHULTE                             3738 E N TERRITORIAL                                                                                      ANN ARBOR       MI    48105‐9320
HEATHER T DUBINSKY                              1941 W OAKDALE AVE                                                                                        CHICAGO         IL    60657‐4025
HEATHER THAMAN                                  115 E LYNN ST                          BOX 306                                                            BOTKINS         OH    45306‐0306
HEATHER V CLARKE                                1911 SEQUOIA STREET                                                                                       TRAVERSE CITY   MI    49686‐3045
HEATHER V HICKEN CUST DEVON K HICKEN UTMA NJ    13905 STATE ROUTE 374                                                                                     UNION DALE      PA    18470‐7373

HEATHER V HICKEN CUST MARCUS L HICKEN UTMA NJ   13905 STATE ROUTE 374                                                                                     UNION DALE      PA    18470‐7373

HEATHER V RUSSELL & JOY E RUSSELL JT TEN        7114 E POTTER RD                                                                                          DAVISON         MI    48423‐9527
HEATHER W BULLER                                PO BOX 95                                                                                                 GREAT MEADOWS   NJ    07838
HEATHER W CASS                                  7 MAGNOLIA PKWY                                                                                           CHEVY CHASE     MD    20815‐4206
HEATHER WILKINSON‐HAYNES & SIDNEY HAYNES JT TEN 6141 NW 122ND TER                                                                                         CORAL SPRINGS   FL    33076‐1914

HEATHER WILLIAMS                                7482 ROXBURY DR                                                                                           YPSILANTI       MI    48197‐2936
HEATHER WOOD                                    238 LAMARE DR                                                                                             PORTAGE         MI    49024
HEATHER YOUNG                                   3245 MIRALESTE AV                                                                                         PARKER          AZ    85344‐8600
HEBER LEROY JOHNSON                             2808 GHENT AVE                                                                                            DAYTON          OH    45420‐3868
HEBER M BROWN                                   2600 LAKEVIEW CT                                                                                          CHURCHVILLE     MD    21028‐1515
HEBER RICE & EVA RICE JT TEN                    709 SCOTT DR                                                                                              MANSFIELD       OH    44906‐4003
HEBREW KINDERGARTEN & INFANTS HOME              310‐B 20TH ST                                                                                             FAR ROCKAWAY    NY    11691
INCORPORATED
HECTOR A MCKINNON                               N 10153 1‐3 RD                                                                                            STEPHENSON      MI    49887
HECTOR A SOTO                                   6011 PENNSYLVANIA AVE                                                                                     ARLINGTON       TX    76017‐1931
HECTOR ANDRADE                                  1616 FOLKSTONE RD N.E.                                                                                    ATLANTA         GA    30329
HECTOR AROCHO                                   30223 FOX RUN                                                                                             BIRMINGHAM      MI    48025‐4724
HECTOR B MORI                                   1128 PARK HILL AVE                                                                                        SAGINAW         TX    76179‐3412
HECTOR BORRERO                                  438 LIVINGSTON RD                                                                                         LINDEN          NJ    07036‐5223
HECTOR C SHAW                                   6098 COUNTRY WAY SOUTH                                                                                    SAGINAW         MI    48603‐1063
HECTOR CABILDO                                  35536 OAKWOOD LN                                                                                          WESTLAND        MI    48186‐4102
HECTOR D COLON                                  6854 BROOKHOLLOW DR SW                                                                                    WARREN          OH    44481‐8634
HECTOR ESTEVES                                  113 CARMEL DR                                                                                             CIBOLO          TX    78108‐3327
HECTOR G HERNANDEZ                              URD MONTEREY CALLE BORIQUEN            543 MAYAGUEZ                              680 PUERTO RICO
HECTOR G SIMS                                   1820 E MAPLE RD                                                                                           BIRMINGHAM      MI    48009‐6506
HECTOR GARCIA                                   6098 HABOR GREEN DRIVE                                                                                    LAKE WORTH      FL    33467
HECTOR GOMEZ                                    1160 COVINGTON DRIVE                                                                                      LEMONT          IL    60439‐8551
HECTOR J DE HOYOS MUNOZ                         GM DE MEXICO CARTERA MONETRY           SALTLO KM 7 5 RAMOS   ARZPE COAHUILA ME   MEXICO
HECTOR J ORTIZ                                  124 N CATHERINE ST                                                                                        LANSING         MI    48917‐2928
HECTOR J RIVERA                                 73 SANDER ST                                                                                              ROCHESTER       NY    14605‐1667
HECTOR J VASQUEZ                                26723 VAN BUREN                                                                                           DEARBORN HGTS   MI    48127‐1016
HECTOR JOSE DE HOYOS MUNOZ                      ATTN HECTOR DE HOYOS GM DE MEXICO      LAGO VICTORIA         #74                 11520 MEXICO DF MEXICO
HECTOR JOSE DE HOYOS MUNOZ                      CARRETERA MONTERREY SALTILLO           KM 7 5 RAMOS ARIZPE   COAHUILA            25900 MEXICO
HECTOR L COLLADO                                1304 CHARRINGTON WAY                                                                                      LAWRENCEVILLE   GA    30044‐6071
HECTOR L NIEVES                                 27503 BAHAMA AVE                                                                                          HAYWARD         CA    94545‐4018
HECTOR L SANTIAGO                               H‐L‐7 CALLE AMALIA PAOLI               LEVITTOWN STATION     TOA BAJA            949 PUERTO RICO
HECTOR L SERRANO                                84 WILKES ST                                                                                              BEACON          NY    12508‐2010
HECTOR L TODD                                   129 WOODWARD AVE                                                                                          BUFFALO         NY    14214‐2311
HECTOR LUIS QUINTERO                            3602 CYPRESS FERN WAY                                                                                     CORAL SPRINGS   FL    33065‐6051
HECTOR M DURAN                                  2650 PAGANINI AVE                                                                                         SAN JOSE        CA    95122‐1323
HECTOR M GONZALEZ                               PO BOX 1119                                                                                               YONKERS         NY    10701
HECTOR M HERNANDEZ                              1474 PEBBLE BEACH DR                                                                                      PONTIAC         MI    48340‐1366
HECTOR M MARTINEZ & ANTHONY MARTINEZ & JAMES    3401 EILEEN DR                                                                                            EL PASO         TX    79904‐4504
E MARTINEZ JT TEN
HECTOR MANDUJANO                                744 N VERLINDEN                                                                                           LANSING         MI    48906
HECTOR R BUENO                                  6813 CRANVILLE CT                                                                                         CLARKSTON       MI    48348‐4578
HECTOR R CRESPO                                 CALLE 27 K‐25                          TURABO GARDENS        CAGUAS              PUERTO RICO
HECTOR R ORLANDI                                EXT PARKVILLE                          A1 AVE MEJICO         GUAYNABO PR         969 PUERTO RICO
                                               09-50026-mg              Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit E
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HECTOR R ORTIZ                                   37 LEXINGTON                                                                                           PONTIAC            MI    48342‐2316
HECTOR RAMIREZ                                   939 CLEVELAND ST                                                                                       LINCOLN PARK       MI    48146‐2726
HECTOR ROMO                                      1520 LA SALLE CT                                                                                       JANESVILLE         WI    53546‐2455
HECTOR VILLARREAL                                GM MEXICO AV EJERCITO NACIONAL 843    COL GRANADA CP 11520   DELEG MIGUEL HIDALGO   MEXICO DF MEXICO
HECTOR X HERNANDEZ                               1262 FLICKINGER AVE                                                                                    SAN JOSE           CA    95131‐2813
HEDDY M THEIMER                                  132 CUSHING AVENUE                                                                                     WILLISTON PARK     NY    11596‐1638
HEDGEMON INVESTMENTS INC                         2721 ‐ 47TH AVENUE EAST                                                                                TUSCALOOSA         AL    35404
HEDWIG A RADUN                                   184 E CHIPPENS HILL RD                                                                                 BURLINGTON         CT    06013‐2111
HEDWIG C ZYWCZYK                                 7246 WOODMONT                                                                                          DETROIT            MI    48228‐3631
HEDWIG D WILTON                                  25020 GLENBROOKE DR #27                                                                                SOUTHFIELD         MI    48034‐2514
HEDWIG DUROCHER                                  1680 LAURIER DR                       LA SALLE ON                                   N9J 1N5 CANADA
HEDWIG J SULLIVAN                                428 CHESTNUT ST                       APT 9B                                                           ROSELLE PARK       NJ    07204‐1933
HEDWIG L HALL                                    63‐66 77TH PL                                                                                          MIDDLE VILLAGE     NY    11379‐1306
HEDWIG M HOLMBERG                                4604 MERILANE                                                                                          EDINA              MN    55436‐1338
HEDWIG MAYHACK & DAVID C LUTZ JT TEN             1365 TURRILL RD                                                                                        LAPER              MI    48446‐3727
HEDWIG SCHWARTZ                                  58‐50 69TH AVE                                                                                         RIDGEWOOD          NY    11385‐5038
HEDWIG TICICH                                    18699 CLEARVIEW TER                                                                                    MINNETONKA         MN    55345‐6084
HEDWIG WITKOWSKI                                 10181 CLARKSHIRE CT                                                                                    SOUTH LYON         MI    48178‐9824
HEDY L SMITH                                     5815 LEMAY                                                                                             DETROIT            MI    48213‐3426
HEDY M FENNELL & JEROME L FENNELL JT TEN         53150 BAKER RD                                                                                         CHESTERFIELD       MI    48047‐2715
                                                                                                                                                        TOWNS
HEDY M SCHULTE & MICHAEL J SCHULTE JT TEN        53150 BAKER ROAD                                                                                       CHESTERFIELD TWP   MI    48047‐2715

HEDY SILEO                                       6 GLEN VIEW COURT                                                                                      DOVER              NJ    07801‐1640
HEE SUK CHE                                      195 BRADLEY AVE                                                                                        HADDONFIELD        NJ    08033‐2900
HEERALAL SHARMA                                  2021 BEECHER                                                                                           ORLANDO            FL    32808‐5540
HEEYUL L CHO                                     517 SENTINEL RD                                                                                        MOORESTOWN         NJ    08057‐2112
HEIDE LOMBARDO                                   301 NEW FREEDOM RD                                                                                     SOUTHAMPTON        NJ    08088‐2843
HEIDE LYNNE PURCELL                              2941 TRAILWOOD LANE                                                                                    ANN ARBOR          MI    48105‐9743
HEIDE URCHYK                                     3193 HATHERLY                                                                                          FLINT              MI    48504‐4314
HEIDI A LUNDBERG                                 9110 NICHOLS ROAD                                                                                      GAINES             MI    48436‐9790
HEIDI A OLIVAS                                   2317 W FINLEY RD                                                                                       BELOIT             WI    53511‐8735
HEIDI A SCHROYER                                 2799 SPARLING                                                                                          SAGINAW            MI    48609
HEIDI A STOVER                                   2227 E MANNSIDING RD                                                                                   HARRISON           MI    48625‐8157
HEIDI A WEAVER                                   4526 MIRROR LIGHT PLACE                                                                                FORT WAYNE         IN    46804‐6587
HEIDI AMSLER PHILLIPS                            229 S MILTON STREET                                                                                    RENSSELAER         IN    47978‐2926
HEIDI ANN RAPOPORT                               232 HENLEY RD                                                                                          WOODMERE           NY    11598‐2523
HEIDI ANNE BROWN                                 16655 MT ERIN CIRCLE                                                                                   FOUNTAIN VALLEY    CA    92708‐2434

HEIDI ANNE REIHANSPERGER                         216 VIRGINIA AVENUE                                                                                    ALEXANDRIA         VA    22302‐2906
HEIDI BALL                                       2807 MICKELSON PKWY                   APT 205                                                          FITCHBURG          WI    53711‐6463
HEIDI CULBERTSON                                 3535 EAST SECOND                                                                                       DENVER             CO    80206‐5557
HEIDI D FISHER CUST ZACKARY M FISHER UTMA CA     10991 MARYGOLD WAY                                                                                     CORONA             CA    92883

HEIDI DEXHEIMER DULANY                           1007 SHERMAN COURT                                                                                     GREAT FALLS        VA    22066‐1362
HEIDI E MERKLER & MICHAEL MERKLER JT TEN         8490 GOLFLANE DRIVE                                                                                    COMMERCE TWP       MI    48382‐3491
HEIDI E WESP                                     4 BUCKINGHAM CRT                                                                                       LANCASTER          NY    14086‐9452
HEIDI G GRESHAM & DUSTIN T GRESHAM JT TEN        3027 56TH ST                                                                                           LUBBOCK            TX    79413
HEIDI GIORDULLO                                  4049 GREATUS LN                                                                                        HAMILTON           OH    45011‐8105
HEIDI H BRIGGS                                   12 FOREST GLEN DRIVE                                                                                   IMPERIAL           PA    15126‐9673
HEIDI HAZLETT                                    PO BOX 2362                                                                                            NORCROSS           GA    30091‐2362
HEIDI HILLIG ROLEDER CUST ZACKARY OTTO ROLEDER   730 BENSON WAY                                                                                         THOUSAND OAKS      CA    91360‐5916
UTMA CA
HEIDI J CRIST                                    8858 ORCHARD LAKE RD                                                                                   HOLLAND            OH    43528‐9200
HEIDI J HOUGHTON & TIMOTHY L FRANCE II JT TEN    3710 WOODCHIPS RD                                                                                      PAHRUMP            NV    89048‐5349

HEIDI J JOUBERT                                  7691 BARSFIELD LN                                                                                      GRAND LEDGE        MI    48837‐8197
HEIDI J PERRY                                    C/O HEIDI J BUDGE                     9797 W M‐21                                                      OVID               MI    48866‐9555
HEIDI J WRIEDT                                   251‐49 THEBES AVE                                                                                      DOUGLASTON         NY    11362‐1301
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HEIDI JENNIFER CENTERS                             2724 ROMENCE RD                                                                                   PORTAGE           MI    49024‐4072
HEIDI K APOL                                       4375 LAKE SHORE DR                                                                                CHARLEVOIX        MI    49720‐8932
HEIDI KLEES DOWGWILLO                              7343 NORTHMOOR DR                                                                                 ST LOUIS          MO    63105‐2111
HEIDI KNUTH                                        7321 SHELFORD DR                                                                                  SOLON             OH    44139
HEIDI KUHN & GERALD O KUHN TR UA 02/28/91 THE      3684 SW 133RD LOOP                                                                                OCALA             FL    34473‐7937
HEIDI KUHN TRUST
HEIDI L BAKER                                      2750 CHAMPA STREET                                                                                DENVER            CO    80205
HEIDI L BLACK                                      PO BOX 38                              21123 TWIN SPRINGS DR                                      CHEWSVILLE        MD    21721‐0038
HEIDI L DELFOSSE                                   3110 BRIARWOOD LANE                                                                               STURGEON BAY      WI    54235‐8421
HEIDI L LEDERER                                    ATTN HEIDI L YORK                      5505 CRESTLAND COURT                                       STONE MOUNTAIN    GA    30087‐2910

HEIDI LEWIS CUST ZACHARY DAVID LEWIS UTMA NY       153 TODD RD                                                                                       KATONAH           NY    10536‐2512

HEIDI LYNN ENSZER                                  1358 VANCOUVER DR                                                                                 SAGINAW           MI    48603‐4770
HEIDI LYNN HELLAUER                                1092 JOHNSON ROAD                                                                                 WOODBRIDGE        CT    06525‐2632
HEIDI LYNN WESSELS                                 PO BOX 12165                                                                                      DES MOINES        IA    50312‐9403
HEIDI M LOWE                                       1164 OLYMPIA DR                                                                                   ROCHESTER HLS     MI    48306‐3733
HEIDI MACKAY                                       LEIBNIZSTRASSE 95                      D‐10625                 BERLIN           GERMANY
HEIDI MACKAY                                       LEIBNIZSTR 95 D‐10625                  BERLIN                                   GERMANY
HEIDI P WOEHLCK                                    22099 LAWNSDALE RD                                                                                WAUKESHA          WI    53189
HEIDI R JACKSON SONNY R JACKSON JT                 2209 SWEDE AV                                                                                     MIDLAND           MI    48642‐6415
HEIDI ROCKENBACH                                   11 BAKER LN                                                                                       GOLETA            CA    93117‐1359
HEIDI STUMP & JANET STUMP JT TEN                   4950 MEREDITH WAY                      APT 301                                                    BOULDER           CO    80303‐9121
HEIDI SUE ABBOTT                                   6976 LANGLE                                                                                       CLARKSTON         MI    48346‐1447
HEIDI SUE SONN                                     385 FARRAGUT AVE                                                                                  HASTING ON        NY    10706‐4037
                                                                                                                                                     HUDSON
HEIDI WALLACE                                     259 WHITE PINE WAY NW                                                                              MARIETTA          GA    30064‐5601
HEIDI WILLIAMS                                    4623 N BEACON ST APT 1                                                                             CHICAGO           IL    60640‐4698
HEIDRUN CURRAN                                    20 MALDEN TER                                                                                      ELIZABETH         NJ    07208‐2116
HEIKE P WILLIAMS                                  7 KIMBERLY DR                                                                                      MILLINGTON        MI    48746‐9624
HEIKI AUS                                         DURHAM ROAD NUMBER 42                   RR4                     BOWMANVILLE ON   L1C 3K5 CANADA
HEIKI AUS                                         2472 DURHAM REGION RD #42               BOWMANVILLE ON                           L1C 3K5 CANADA
HEIMAN VAN DAM & BARBARA S VAN DAM TR VAN         2864 MCCONNELL DRIVE                                                                               LOS ANGELES       CA    90064‐4658
DAM REV TRUST UA 03/11/83
HEITOR CARNEIRO                                   9 PLEASANT ST                                                                                      MILFORD           MA    01757‐2412
HELAINE E FRASER                                  163 HIDDEN RIDGE DR                                                                                SYOSSET           NY    11791‐4316
HELAINE P SEGAL                                   60 DIETZ ST                                                                                        ONEONTA           NY    13820‐1804
HELAINE SHUSTER & MICHAEL SHUSTER JT TEN          4795 OLD TIMBER RIDGE ROAD                                                                         MARIETTA          GA    30068‐1685
HELANE D LEVY                                     2139 ST DEVILLE                                                                                    NE ATLANTA        GA    30345‐3471
HELDER R FREITAS                                  6061 COLLINS AVE APT 160                                                                           MIAMI BEACH       FL    33141‐2269
HELEN A ARNOLD                                    13956 SAN PABLO AV                      APT 335                                                    SAN PABLO         CA    94806‐5304
HELEN A BROWN & HELEN E BROWN JT TEN              PO BOX 710                                                                                         HARRISON          MI    48625‐0710
HELEN A BROWN TR HELEN A BROWN TRUST UA           3201 FALCON LN                          APT 205                                                    WILMINGTON        DE    19808‐1900
10/26/95
HELEN A BROWNING                                  3866 CONCORD RD                                                                                    HAVANA            FL    32333‐4006
HELEN A BUTLER TR BUTLER FAMILY TRUST UA 10/16/97 400 S FLORIDA AVE                       APT 608                                                    LAKELAND          FL    33801‐5263

HELEN A CAREY                                      2129 E 85TH ST NORTH                                                                              VALLEY CENTER     KS    67147‐8703
HELEN A CHAVORA                                    11180 GERA RD                                                                                     BIRCH RUN         MI    48415‐9435
HELEN A CLARK                                      3417 LOGAN ST                                                                                     CAMP HILL         PA    17011‐2730
HELEN A COLE                                       1600 24TH ST                                                                                      BAY CITY          MI    48708‐8003
HELEN A CURRIE                                     1109 MICHELLE AVE SW                                                                              WARREN            OH    44485‐3324
HELEN A DORAIS                                     1150 CROSSPOINTE CT                                                                               WABASH            IN    46992‐1572
HELEN A EGGLESTON                                  C/O BELLAS                             1095 PARK AVE                                              NY                NY    10028‐1302
HELEN A EVANS TR HELEN A EVANS TRUST UA 11/06/01   18 STONEWYEK PLACE                                                                                MONROE TWP        NJ    08831‐2670

HELEN A FISCHER                                    4420 WOODLAND ST                                                                                  NEWTON FALLS       OH   44444‐9742
HELEN A FLANAGAN                                   440 RIVIERA DR                                                                                    SAINT CLAIR SHORES MI   48080‐3015
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HELEN A FRANKLIN                                 367 W DELASON                                                                                   YOUNGSTOWN        OH    44511‐1665
HELEN A HARNER                                   13750 W NATIONAL AVE                   APT 106                                                  NEW BERLIN        WI    53151‐4547
HELEN A HART TR HELEN A HART TRUST UA 04/15/95   19734 E KINGS CT                                                                                GROSSE POINTE     MI    48236‐2541
                                                                                                                                                 WOOD
HELEN A J LIMA                                   4105 TAPADERO DRIVE                                                                             COLORADO SPRING   CO    80921‐2334

HELEN A KING                                     532 N 7TH AVE                                                                                   SEQUIM           WA     98382‐3247
HELEN A KOPINSKY                                 1141 WASHINGTON BLVD                                                                            MAYFIELD HEIGHTS OH     44124‐1623

HELEN A KOPPI                                    9015 E POINSETTIA DR                                                                            SCOTTSDALE        AZ    85260‐6821
HELEN A KORYCINSKI & GAIL RATKEWICZ JT TEN       15161 FORD RD APT 209                                                                           DEARBORN          MI    48126‐4697
HELEN A KORYCINSKI & GERALD RATKEWICZ JT TEN     15161 FORD RD APT 209                                                                           DEARBORN          MI    48126‐4697

HELEN A KORYCINSKI & GLENN RATKEWICZ JT TEN      15161 FORD RD 209                      APT 209                                                  DEARBORN          MI    48126‐4697
HELEN A KOWALSKI                                 310 DELAPLANE AVE                                                                               NEWARK            DE    19711‐4715
HELEN A LUBER & JOHN G LUBER & ANN RICKTOR &     7298 S W 102ND PLACE                                                                            OCALA             FL    34476‐9129
JAMES F LUBER SR JT TEN
HELEN A MALLOY                                   213 SUNSET DRIVE                                                                                WHITE OAK         PA    15131‐1933
HELEN A MAUER                                    1795 INTERLAKE DR                                                                               WANTAGH           NY    11793
HELEN A MCINTYRE                                 1023 21ST ST                                                                                    BAY CITY          MI    48708‐7282
HELEN A MILLARD TR HELEN A MILLARD TRUST UA      3910 N MIELKE WAY                                                                               LEWISTON          MI    49756‐7903
10/14/99
HELEN A MILLER                                   4030 FRIEGEL RD #1                                                                              LAINGESBURG       MI    48848‐8767
HELEN A MULHERN                                  31 RIVERBROOK AVE                                                                               LINCROFT          NJ    07738
HELEN A MURODA                                   5288 KILAUEA AVE                                                                                HONOLULU          HI    96816‐5613
HELEN A OPPEL                                    201 SO NEPTUNE BLVD                                                                             NEPTUNE           NJ    07753‐4824
HELEN A POWELL TR POWELL TRUST UA 08/13/93       1654 ONYX RIDGE                                                                                 FORT MILL         SC    29708‐8926

HELEN A REDMOND                                   1274 SIGNATURE DR                                                                              AUSTINTOWN        OH    44515‐3867
HELEN A REHFELD TR HELEN REHFELD TRUST NO 1 UA    2901 TILDON DR                                                                                 SAGINAW           MI    48603‐3022
01/08/02
HELEN A REICHMAN                                  437 NORTH HANLEY ROAD                                                                          ST LOUIS          MO    63130‐4006
HELEN A REID                                      400 BAINBRIDGE                                                                                 OKLAHOMA CITY     OK    73114‐7632
HELEN A RIES & WAYNE C RIES JT TEN                28340 ALINE                                                                                    WARREN            MI    48093‐2658
HELEN A SMALL                                     103 UNION ST                                                                                   BRUNSWICK         ME    04011‐2425
HELEN A SPIRES & SAMUEL H SPIRES & CONNIE WINDISH 5519 CEDAR RIVER RD                                                                            MANCELONA         MI    49659‐9784
JT TEN
HELEN A STALEY                                    157 OLD WHARF RD                                                                               OCEAN CITY        MD    21842‐4815
HELEN A STANAWAY                                  PO BOX 1306                                                                                    GOODLETTSVLLE     TN    37070
HELEN A STEVENS CUST BRIAN JOSEPH NORMAN UGMA 1600 RICCI LN                                                                                      FERNLEY           NV    89408
NV
HELEN A SULLIVAN                                  C/O DANIEL J SULLIVAN                 112 LANEY ROAD                                           ROCHESTER         NY    14620‐3016
HELEN A SWEARENGIN                                1820 PINE AVENUE                                                                               WEATHERFORD       OK    73096‐2740
HELEN A SZYCHOWSKI                                28 COURT ST                                                                                    HANOVER           PA    18706‐6014
                                                                                                                                                 TOWNSHIP
HELEN A SZYMANSKI                                8 RUTHERFORD PL                                                                                 NORTH ARLINGTON   NJ    07031‐6341

HELEN A TARAS                                    1786 NEMET DRIVE                                                                                SEVEN HILLS       OH    44131‐4230
HELEN A TAYLOR                                   383 ARKANSAS DR                                                                                 VALLEY STREAM     NY    11580‐1834
HELEN A TIMM TR LOUISE M TIMM U‐A WITH ROBERT A 404 BENEDICT ST                                                                                  ST MARYS          PA    15857‐1158
TIMM 12/9/63
HELEN A TURNER                                   1023 DOBBIN DR                                                                                  KALAMAZOO         MI    49006‐5509
HELEN A VERRETT                                  16300 N PARK DR                        APT 315                                                  SOUTHFIELD        MI    48075‐4721
HELEN A VIGO                                     3508 N WOODLAWN                                                                                 METAIRIE          LA    70006‐4140
HELEN ADELLE DENNIS                              APT A‐6                                1765 PEACHTREE RD NE                                     ATLANTA           GA    30309‐2316
HELEN ALAYNE FAITH                               102 E MULLAN AVE                                                                                KELLOGG           ID    83837‐2342
HELEN ALICE PETERS                               608 ONONDAGA                                                                                    ANN ARBOR         MI    48104
HELEN ALRUTZ MILLER TR HELEN ALRUTZ MILLER TRUST 4809 W 122ND TERR                                                                               OVERLAND PARK     KS    66209‐1574
UA 11/22/94
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HELEN AMY KRUGER                                11571 HEMINGWAY DR                                                                              RESTON             VA    20194‐1246
HELEN ANN GEORGALAS                             PO BOX 616                                                                                      HIGHLAND MLS       NY    10930
HELEN ANN GRIBBONS                              460 SASSAFRAS LANE                                                                              ROSWELL            GA    30076‐3624
HELEN ANN HIPPLER                               85 BRIARWOOD LN                                                                                 EAST HARTFORD      CT    06118‐1606
HELEN ANN KIRKER TR UA 04/26/90 F‐B‐0 HELEN ANN 647 S BRUCE ST                                                                                  ANAHEIM            CA    92804‐3473
KIRKER LIVING TRUST
HELEN ANN KNISELEY TR HELEN ANN KNISELEY TRUST  807 SCHULZE DR                                                                                  NORMAN             OK    73071‐4841
UA 05/02/97
HELEN ANN LAREW                                 47 EASTLAKE DR                                                                                  PALM COAST         FL    32137‐1521
HELEN ANN MATUSIK & SONIA MULVIHILL & JEANETTE 4449 51ST ST                                                                                     DETROIT            MI    48210‐2722
PULLEYBLANK JT TEN
HELEN ANN MC DANIEL                             PO BOX 1435                                                                                     MONAHANS           TX    79756‐1435
HELEN ANN W FUNK                                7927 GRIMSBY CIRCLE                                                                             HARRISBURG         NC    28075‐7301
HELEN ANNE KAISER                               5555 MONTGOMERY DR APT D205                                                                     SANTA ROSA         CA    95409‐8811
HELEN ANNE KELEMEN                              643 WARSAW                                                                                      HITCHCOCK          TX    77563‐2607
HELEN ANTCZAK                                   83 DOVE TREE LA                                                                                 ROCHESTER          NY    14626‐4714
HELEN ARDAN ADAMS & JAY RANDALL ARDAN SR TEN    PO BOX 1283                                                                                     COLDSPRING         TX    77331‐1283
ENT
HELEN ARDAN ADAMS & JUDITH ARDAN SWANSON TEN PO BOX 1283                                                                                        COLDSPRING         TX    77331‐1283
ENT
HELEN ARMBRISTER VAUGHAN                        913 MOCKINGBIRD LANE                                                                            AIKEN              SC    29803‐6148
HELEN B ABNEY TOD ROBERT STEVEN ABNEY SUBJECT   6570 PLANTATION PINES BLVD                                                                      FORT MYERS         FL    33966
TO STA TOD RULES
HELEN B ALU CUST CONOR THOMAS ALU UTMA MO       14 ENFIELD                                                                                      SAINT LOUIS        MO    63132‐4318

HELEN B ALU CUST MORGAN BRYAN ALU UTMA MO         14 ENFIELD                                                                                    SAINT LOUIS        MO    63132‐4318

HELEN B ASHYK TR HELEN B ASHYK REV LIVING TRUST   225 WESTWIND DR #28                                                                           AVON LAKE          OH    44012‐2418
UA 04/22/02
HELEN B BARENS                                    800 W 30TH ST                                                                                 RICHMOND           VA    23225‐3515
HELEN B BISS                                      LUMESTONE HILLS W                    6 ADDICKS CT                                             WILMINGTON         DE    19808‐1112
HELEN B BLANDOWSKI                                10695 TALLADAY ROAD                                                                           WILLIS             MI    48191‐9734
HELEN B DEES                                      17408 STOCKBRIDGE                                                                             CLEVELAND          OH    44128‐1729
HELEN B DEPNER                                    C/O LAURA OR GREGORY FOX             138 PINE HILL WAY                                        ELLWOOD CITY       PA    16117
HELEN B GAEDE                                     686 YUCCA DR                                                                                  EL CENTRO          CA    92243‐4436
HELEN B GORSKI                                    8010 W WATERFORD AVE                                                                          MILWAUKEE          WI    53220‐2243
HELEN B HALL                                      25 STAGE ROAD                                                                                 NEWARK             DE    19711‐4001
HELEN B HEMPHILL                                  1762 ALDERBROOK ROAD N E                                                                      ATLANTA            GA    30345‐4110
HELEN B HICKS                                     12256 KNAPP RD                                                                                BROOKLYN           MI    49230‐9251
HELEN B KOENIG TR WELDON W KOENIG TRUST UA        4008 MORAVIA RD                                                                               BALTIMORE          MD    21206‐5547
07/01/95
HELEN B KUSHLAK                                   530 NORTH ROCKY RIVER DR                                                                      BEREA              OH    44017‐1613
HELEN B MASOPUST                                  218 HIGH ST                                                                                   THOMASTON          CT    06787‐1520
HELEN B MC GLASHAN TR HELEN B MC GLASHAN TRUST    25 FAIRLANE DR                                                                                WARSAW             IN    46580‐4609
UA 06/05/95
HELEN B MCWEENEY & F J BRICHTER JT TEN            1820 S WOODHOUSE RD                                                                           VIRGINIA BCH       VA    23454‐1536
HELEN B MILLER                                    770 REDSTONE RD                                                                               WASHINGTON         PA    15301‐6271
HELEN B MOORE                                     52 BLISS AVE                                                                                  TENAFLY            NJ    07670‐3034
HELEN B NEALON & CAROL O NEALON JT TEN            5900 DELHI RD                                                                                 MT ST JOSEPH       OH    45051‐1500
HELEN B PRICE                                     58501 12 MILE RD                                                                              NEW HUDSON         MI    48165‐9551
HELEN B REYNOLDS                                  1394 HOUSEL CRAFT RD N E                                                                      CORTLAND           OH    44410‐9512
HELEN B ROBERTSON                                 1825 MARLOWE DR                                                                               FLINT              MI    48504‐7097
HELEN B RODOWSKI                                  8010 NEIGHBORS AVE                                                                            BALTIMORE          MD    21237‐1624
HELEN B ROGERS                                    4366 AVONDALE ST                                                                              MINNETONKA         MN    55345‐2701
HELEN B ROSE                                      531 CHAUCER RD                                                                                DAYTON             OH    45431‐2010
HELEN B SING & EDWARD Y SING JT TEN               1962 FOX RIVER DRIVE                                                                          BLOOMFIELD HILLS   MI    48304‐1022

HELEN B SOCHA                                     1233 MONTEREY LANE                                                                            JANESVILLE         WI    53546‐5378
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HELEN B STANTON & PRUDENCE H SAROWSKI JT TEN     23122 ARTHUR CT                                                                                  ST CLAIR SHORES   MI    48080‐2705

HELEN B SUBACH                                   9 READ AVE BOXWOOD                                                                               WILMINGTON        DE    19804‐2033
HELEN B VANTINE                                  860 EDGEWATER DR                                                                                 ATLANTA           GA    30328‐3508
HELEN B WALDRON                                  6230 BRAEBURN CIRCLE                                                                             EDINA             MN    55439‐2548
HELEN B WIESMAN                                  65 CRISFIELD ST                                                                                  YONKERS           NY    10710‐1205
HELEN B WIK & DENIS P WIK JT TEN                 4949 RIO VERDE DR                                                                                SAN JOSE          CA    95118‐2333
HELEN BACHOREK & MARGARET J CELSKI JT TEN        35600 HAMER                                                                                      NEW BALTIMORE     MI    48047‐2463
HELEN BAKER BORNEMAN                             7333 WEST ROUTE 72                                                                               LEAF RIVER        IL    61047‐9756
HELEN BALIKO                                     5457 LEWARD LANE                                                                                 NEW PORT RICHEY   FL    34652‐3057

HELEN BANAS TR UA 11/02/93 HELEN BANAS TRUST     699 AVENIDA SEVILLE #C                                                                           LAGUNA HILLS      CA    92653‐8041

HELEN BAS                                        587 CHASSEUR DR                                                                                  GRAND BLANC       MI    48439‐2310
HELEN BATOR                                      100 RIDGE RD                                                                                     NUTLEY            NJ    07110
HELEN BELANGEE BRAMMER                           3701 BAYNARD DR                                                                                  PUNTA GORDA       FL    33950‐7517
HELEN BENINCASA                                  7 GALE CRESCENT APT 602                 ST CATHERINES ON                       L2R 7M8 CANADA
HELEN BEZWUSZCZAK                                4223 MARTIN                                                                                      WARREN            MI    48092‐2572
HELEN BIGOS                                      45741 SPINNING WHEEL DRIVE                                                                       CANTON            MI    48187‐1569
HELEN BISHOP                                     925 BYRD ROAD                                                                                    SALISBURY         NC    28146‐1396
HELEN BISHOP                                     2 BARRINGTON LANE                                                                                WILLINGBORO       NJ    08046‐3915
HELEN BLAKENEY                                   56 GUILFORD ST                                                                                   BUFFALO           NY    14212‐1134
HELEN BLIZINSKI & GARY S BLIZINSKI JT TEN        1906 WESTGATE                                                                                    ROYAL OAK         MI    48073‐4192
HELEN BLIZINSKI & PATTI A FROEBER JT TEN         1906 WESTGATE                                                                                    ROYAL OAK         MI    48073‐4192
HELEN BOERNER & KAREN LYNNE MROZEK JT TEN        16346 BENMAR DRIVE                                                                               ROSEVILLE         MI    48066‐2002
HELEN BONA                                       145 ANDERSON AVE                                                                                 SCARSDALE         NY    10583‐5539
HELEN BOND JEFFERSON                             112 SECRET OAK CT                                                                                INWOOD            WV    25428‐4622
HELEN BONDS                                      1331 CLAUDINE DRIVE                                                                              SAINT LOUIS       MO    63138‐2327
HELEN BORSOS                                     101 PARKER PL                                                                                    TRENTON           NJ    08609‐1809
HELEN BOUCHARD                                   676 RIDGE RD                                                                                     LEWISTON          NY    14092‐2358
HELEN BOULAHANIS                                 21550 WOODVIEW DRIVE                                                                             WOODHAVEN         MI    48183‐1653
HELEN BRANCHICK                                  1606 COHASSETT                                                                                   LAKEWOOD          OH    44107‐4906
HELEN BRANDES & DOROTHY BRANDES JT TEN           932 WHITCOMB                                                                                     ROYAL OAK         MI    48073‐2048
HELEN BRANDSHAFT                                 454 WEST 46TH ST                                                                                 NEW YORK          NY    10036‐9016
HELEN BRENNAN                                    4415 SW OREGON ST #302                                                                           SEATTLE           WA    98116‐4919
HELEN BROWN                                      5155 VICTORY LN                                                                                  BASTROP           LA    71220‐7270
HELEN BROWN                                      PO BOX 104                                                                                       GREENVILLE        NY    12083‐0104
HELEN BRYAN ALU CUST COLLEEN MARIE KENNEDY       17 GATES ROAD                                                                                    SHREWSBURY        MA    01545‐2328
UTMA MO
HELEN BRYANT                                     10415 CORNFLOWER DR                                                                              OSCEOLA           IN    46561‐9340
HELEN BRYANT                                     10415 CORNFLOWER DR                                                                              OSCEOLA           IN    46561‐9340
HELEN BUCHANAN                                   4522 GREENSBORO DR                                                                               CRP CHRISTI       TX    78413‐2126
HELEN BUJAK                                      14727 BRISTOL CT                                                                                 SHELBY TOWNSHIP   MI    48315‐4410

HELEN BURKE                                      476 SECOND AVE                                                                                   STRATFORD         CT    06615‐7728
HELEN BURTON                                     23669 EAST OTERO DRIVE                                                                           AURORA            CO    80016‐7064
HELEN BUTKIEWICZ & DONALD BUTKIEWICZ JT TEN      29 HAITI CT                                                                                      TOMS RIVER        NJ    08757‐6448

HELEN C ANZALONE                                 7109 RIDGEWOOD DRIVE                                                                             LOCKPORT          NY    14094
HELEN C BARBER                                   3489 LEXINGTON                                                                                   WATERFORD         MI    48328‐1402
HELEN C BERGNER                                  4 WESTWIND RD                                                                                    DANVERS           MA    01923‐1658
HELEN C BIRCH                                    111 ROBBINWOOD TERR                                                                              LINDEN            NJ    07036
HELEN C BLACKBURN                                1203 OAKWOOD TRAIL                                                                               INDIANAPOLIS      IN    46260‐4024
HELEN C BORISOFF                                 8 PARADISE CV                                                                                    LAGUNA NIGUEL     CA    92677‐4254
HELEN C BRENNAN                                  5 E HARTSHORN DR                                                                                 SHORT HILLS       NJ    07078‐1629
HELEN C BULLOCK                                  C/O JUDY RUST                           4412 W PETTY RD                                          MUNCIE            IN    47304‐2490
HELEN C BURDETTE                                 22701 MOUNT EPHRAIM RD                                                                           DICKERSON         MD    20842‐9716
HELEN C CALAMRI                                  8 WHEELER HILL DR                                                                                DURHAM            CT    06422‐1605
HELEN C CHAPPELL                                 27629 WAGNER DR                                                                                  WARREN            MI    48093
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HELEN C COLE                                    151 PENN AVE                                                                                        MANSFIELD         OH    44903‐1581
HELEN C CREED                                   PO BOX 1015                                                                                         JACKSON           LA    70748‐1015
HELEN C FOX                                     354 ADELAIDE AVE SE                                                                                 WARREN            OH    44483‐6112
HELEN C FRAZER & JAMES C FRAZER JT TEN          1 GRAND HALL                           ENGLISH VILLAGE                                              DOVER             DE    19904‐2621
HELEN C FRAZER & JOSEPH H FRAZER III JT TEN     1 GRAND HALL                           ENGLISH VILLAGE                                              DOVER             DE    19904‐2621
HELEN C FUNK                                    6587 E KNOLLWOOD CIR                                                                                W BLOOMFIELD      MI    48322‐3946
HELEN C GOLDEN TR HELEN C GOLDEN TRUST UA       5017 N NEWLAND AVE                                                                                  CHICAGO           IL    60656‐3706
09/02/94
HELEN C HALL                                    2015 ANDERSON AVE                                                                                   ANN ARBOR         MI    48104‐4749
HELEN C HAN & ANTHONY J HAN JT TEN              415 WASHINGTON AVE                                                                                  IRON RIVER        MI    49935
HELEN C HAN & OLIVIA M HAN JT TEN               415 WASHINGTON AVE                                                                                  IRON RIVER        MI    49935
HELEN C HAYES                                   22920 MARYSVILLE RD                                                                                 MARYSVILLE        IN    47141
HELEN C HEATH                                   716 S MAIN ST                                                                                       NEWARK            NY    14513‐1953
HELEN C HUMBLES                                 1667 SHERIDAN RD APT 36                                                                             NOBLESVILLE       IN    46062
HELEN C HUNT                                    28028 UNIVERSAL DRIVE                                                                               WARREN            MI    48092‐2428
HELEN C HUNT & VALERIE M DURMISEVICH JT TEN     28028 UNIVERSAL DR                                                                                  WARREN            MI    48092‐2428
HELEN C KANE                                    411 NINTH AVE                                                                                       MUNHALL           PA    15120‐1913
HELEN C KONECKI                                 6 LANDVIEW LN                                                                                       COLUMBUS          NJ    08022‐2259
HELEN C LODGE TR UA LODGE REVOCABLE TRUST A     6232 AURA AVE                                                                                       RESEDA            CA    91335‐6517
11/20/85
HELEN C LONG & MARY MARGARET LONG JT TEN        370 FIRST AVE                                                                                       NEW YORK          NY    10010
HELEN C MANTENFEL                               6736 S 20TH ST                                                                                      MILWAUKEE         WI    53221‐5227
HELEN C MAYER                                   5747 KIRKRIDGE TRAIL                                                                                ROCHESTER HILLS   MI    48306‐2262
HELEN C MILLER                                  34 MCCAVITY DR                                                                                      TURNER            ME    04282‐4244
HELEN C MURRAY                                  16473 DAWNLIGHT DR                                                                                  FENTON            MI    48430‐8956
HELEN C NEUNER & JOHN G R NEUNER JT TEN         ATTN ROBERT NEUNER EXECUTOR            30 ROCKERFELLER PLAZA 44TH FL                                NEW YORK          NY    10112
HELEN C ODELL                                   268 HANOVER PLACE                                                                                   RIDGEWAY          VA    24148‐3095
HELEN C OLISH                                   521 LOUIS ST                                                                                        MANVILLE          NJ    08835‐1227
HELEN C ORLANDO                                 4642 MAIDEN LANE                                                                                    CANANDAIGUA       NY    14424‐9729
HELEN C ORLOWSKI CUST ADAM M ORLOWSKI UTMA IL   533 E HIGHLAND AVE                                                                                  VILLA PARK        IL    60181‐2706

HELEN C ORLOWSKI CUST JENNIFER L ORLOWSKI UTMA 533 E HIGHLAND AVE                                                                                   VILLA PARK        IL    60181‐2706
IL
HELEN C PICKELL TR HELEN C PICKELL REV LIVING   10475 SW KABLE                                                                                      TIGARD            OR    97224‐4623
TRUSTUA 05/17/02
HELEN C RADKE TR RADKE FAMILY TRUST UA 07/16/99 1524 BIANCA WAY                                                                                     GILROY            CA    95020‐2617

HELEN C ROGERS EX EST JAMES E ROGERS            5 GROVELAND RD                                                                                      ROLHESTER         NY    14616‐2735
HELEN C SCHUMPERT                               2143 OAK ST                                                                                         COLUMBIA          SC    29204‐1173
HELEN C STIEG                                   24 EDGEWOOD LN                                                                                      AGAWAM            MA    01001‐2314
HELEN C STINSON                                 16010 GREENTREE TRAIL                                                                               HUNTSVILLE        AL    35803‐3645
HELEN C STOUT                                   2518 E 149TH AVE                                                                                    LUTZ              FL    33549‐3157
HELEN C TIFFANY                                 191 SCENIC DRIVE                                                                                    GILFORD           NH    03246‐6200
HELEN C TRACE                                   236 CAMARO WAY                                                                                      SAN MARCOS        TX    78666‐3034
HELEN C TRACZYK                                 8807 DIXIE                                                                                          DETROIT           MI    48239‐1537
HELEN C USHER & JAMES LEE USHER JT TEN          6210 SCANLAN AVE                                                                                    ST LOUIS          MO    63139‐2311
HELEN C VAFIOPOULOS                             APT 305                                90 MEYER RD                                                  BUFFALO           NY    14226‐1003
HELEN C VOGE                                    1828 SR 503 N                                                                                       WEST ALEXANDRIA   OH    45381‐9701

HELEN C WALSER                                  BOX 533                                                                                             SOMERSET          OH    43783‐0533
HELEN CALDWELL                                  PO BOX 355                                                                                          PORT BYRON        NY    13140‐0355
HELEN CARROUSOS                                 60 HALL ST                                                                                          ROCHESTER         NY    14609‐7149
HELEN CARUSO                                    64‐83 84TH PLACE                                                                                    MIDDLE VILLAGE    NY    11379‐2439
HELEN CHEESEBOUROUGH                            8327 CLARIDGE RD                                                                                    INDIANAPOLIS      IN    46260‐4915
HELEN CIEGOTURA & CASS CIEGOTURA JT TEN         28326 CAMPBELL                                                                                      WARREN            MI    48093‐4958
HELEN CLAIRE EHERNBERGER                        520 W 10TH ST                                                                                       SCHUYLER          NE    68661‐2022
HELEN CONSTANTINE CASANOVA                      254 CEDARTRAIL DR                                                                                   BALLWIN           MO    63011‐2655
HELEN COOK LAUGHLIN                             127 VERDE COURT                                                                                     GEORGETOWN        TX    78628‐1401
HELEN COX                                       1817 E 1275 S                                                                                       KOKOMO            IN    46901‐7741
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HELEN COX BRYCE                                   5406 NEW KENT ROAD                                                                             RICHMOND        VA    23225‐3034
HELEN CRONMILLER                                  603 DORCASTER DRIVE                   SHERWOOD PARK 1                                          WILMINGTON      DE    19808‐2211
HELEN CYR                                         221 HILLCREST AVE                                                                              NEWINGTON       CT    06111‐3521
HELEN D BARTLETT & RUSSELL C BARTLETT JT TEN      5 ST CLAIRE ST                                                                                 BRAINTREE       MA    02184‐8239
HELEN D BREMMER                                   105 WALGREN RD                                                                                 PEARL CITY      IL    61062
HELEN D CAULEY                                    2317 TOMPKINS AVE                                                                              ALBANY          GA    31705‐3325
HELEN D CLARKE                                    15 REYNOLDS ST                                                                                 ALFRED          NY    14802‐1111
HELEN D CLEARY                                    71 KIP AVE                            PO BOX 127                                               RUTHERFORD      NJ    07070‐0127
HELEN D CLENDANIEL TR HELEN D CLENDANIEL TRUST    2627 SARASOTA ST                                                                               MYRTLE BEACH    SC    29577‐4740
UA 07/31/00
HELEN D HUDSON                                    1612 TOWER DR                                                                                  ARLINGTON       TX    76010‐8233
HELEN D HUGHES                                    913 E JM LINDSAY BLVD                                                                          GAINESVILLE     TX    76240‐1777
HELEN D JOHNSON                                   5340 SANDALWOOD CT                                                                             GRAND BLANC     MI    48439‐4270
HELEN D JOHNSON                                   11300 NORTH VALLEY DR                                                                          MEQUON          WI    53092‐3239
HELEN D KALLOS & GEORGE S KALLOS JT TEN           3 FORSHEE CIR                                                                                  MONTVALE        NJ    07645‐1781
HELEN D KASTNER                                   5270K COBBLEGATE DR                                                                            DAYTON          OH    45439
HELEN D MURPHY                                    107 E RUSSELL STREET                                                                           RIDLEY PARK     PA    19078‐3315
HELEN D MURPHY                                    107 E RUSSELL STREET                                                                           RIDLEY PARK     PA    19078‐3315
HELEN D PARRIS                                    153 GREENMEADOW DRIVE                                                                          TIMONIUM        MD    21093‐3410
HELEN D RAINEY & KATHLEEN A KRUPP JT TEN          11403 W WILSON RD                                                                              MONTROSE        MI    48457‐9115
HELEN D ROBERSON                                  711 W 12TH ST                                                                                  ANDERSON        IN    46016
HELEN D SIES TR UNDER SELF DECLARATION TRUST UA   12733 E COUNTY LINE RD                                                                         LITCHFIELD      IL    62056‐5153
08/27/98
HELEN D STEVENSON & ROBERT D STEVENSON & CRAIG    44 ALKAMONT AVE                                                                                SCARSDALE       NY    10583‐5109
D STEVENSON JT TEN
HELEN D SWERN                                     3 CHARLESTON RD                                                                                HINSDALE        IL    60521‐5003
HELEN D TESTA                                     109 MEADOWLARK DR                                                                              HAMILTON SQUARE NJ    08690‐3559

HELEN D THOMAS & DENNIS G THOMAS JT TEN           15 ABERFIELD LN                                                                                MIAMISBURG      OH    45342‐6615
HELEN DALI                                        188 WATERTREE DR                                                                               EAST SYRACUSE   NY    13057‐1925
HELEN DANELIUK                                    BOX 80036 RPO COTTRELLE               BRAMPTON ON                            L6P 2W7 CANADA
HELEN DAURIO                                      630 SWEET DONNA PLACE                                                                          NIPOMO          CA    93444‐9364
HELEN DAVIS                                       14218 ILENE AVE                                                                                DETROIT         MI    48238‐2216
HELEN DAVIS                                       1311 ROCKDALE DR                                                                               JACKSON         MS    39213‐4837
HELEN DAVIS                                       3777 SAINT CLAIR ST                                                                            DETROIT         MI    48214‐1538
HELEN DE LEVIE                                    1085 THORNTON WAY                                                                              SAN JOSE        CA    95128
HELEN DELIGEORGE                                  7825 FOURTH AVE                       APT B5                                                   BROOKLYN        NY    11209‐3718
HELEN DELORES BENSON STOKES                       123 N CAPITOL                                                                                  GUTHRIE         OK    73044‐3711
HELEN DEMOSS CUST JEFFREY A HARDESTY UGMA IN      1234 S INGOMAR ST                                                                              INDIANAPOLIS    IN    46241‐3305

HELEN DEMOSS CUST MARLENE E HARDESTY UGMA IN      624 ROOSEVELT STREET                                                                           PLAINFIELD      IN    46168‐1463

HELEN DENNEHY                                     145 RECTOR CT                                                                                  BERGENFIELD     NJ    07621‐4225
HELEN DERENIAK & MARTHA ZANG JT TEN               11335 BEECHER RD                                                                               FLUSHING        MI    48433‐9751
HELEN DESGRANGES                                  4681 ALDOVIN AVE                                                                               NORTH PORT      FL    34287‐7315
HELEN DEWEY & DENNIS ROY DEWEY JT TEN             718 VICTORIA AVE                                                                               FLINT           MI    48507‐1733
HELEN DEWEY & RICHARD LEE DEWEY JT TEN            718 VICTORIA AVE                                                                               FLINT           MI    48507‐1733
HELEN DEWEY & THOMAS MICHAEL DEWEY JT TEN         718 VICTORIA AVE                                                                               FLINT           MI    48507‐1733

HELEN DIXON KUNZELMANN                            709 COUNTY ST                                                                                  BENNINGTON      VT    05201‐1912
HELEN DOLE GRIFFITH                               5633 19TH ST N                                                                                 ARLINGTON       VA    22205‐3151
HELEN DORINE FROST                                3165 NORTH BALL AVENUE                                                                         HARRISON        MI    48625‐9002
HELEN DOWNS FULTON                                2950 E ILIFF AVE                                                                               DENVER          CO    80210‐5507
HELEN DREW CRANE TR LIVING TRUST 06/26/92 U‐A     21 DWYER PLACE                                                                                 ST LOUIS        MO    63124‐1625
HELEN DREW CRANE
HELEN DUNHAM                                      262 OLD FURNACE RD                                                                             RIEGELSVILLE    PA    18077‐9550
HELEN DZIENISZEWSKI & WALTER DZIENISZEWSKI TEN    7 GEORGE ST                                                                                    AUBURN          MA    01501‐2713
ENT
HELEN E BANNIER                                   356 STELLE AVE                                                                                 MILLTOWN        NJ    08850‐2012
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Name                                              Address1                               Address2             Address3          Address4          City             State Zip

HELEN E BEDNARZ                                   298 BLOOMFIELD AVE                                                                              WINDSOR          CT    06095‐2709
HELEN E BOWLES                                    8669 LAKESHORE ROAD                                                                             LEXINGTON        MI    48450‐9715
HELEN E BRAUCHLA                                  802 HERITAGE LANE                                                                               ANDERSON         IN    46013‐1421
HELEN E BROMARK                                   7020 DURHAM RD                                                                                  WHITEHALL        MI    49461‐9238
HELEN E BROWN                                     30136 GLOEDE                                                                                    WARREN           MI    48093‐5923
HELEN E BRYANT                                    2879 S LIMA RD                                                                                  KENDALLVILLE     IN    46755‐3433
HELEN E BRYANT & PATRICIA BRYANT AUTHIER JT TEN   2879 S LIMA RD                                                                                  KENDALLVILLE     IN    46755‐3433

HELEN E CLAPPER                                   135 HILLMAN DRIVE                                                                               ELMWOOD PARK     NJ    07407‐1346
HELEN E CLUFF                                     1411 CASS STREET                                                                                TRAVERSE CITY    MI    49684‐4147
HELEN E CROTTY & MARY M CROTTY JT TEN             226 ARCHER ST                                                                                   FALL RIVER       MA    02720‐6504
HELEN E DAVID TR HELEN E DAVID REV LIV TRUST UA   165 NAVAJO                                                                                      PONTIAC          MI    48341‐2028
06/08/00
HELEN E DREISTADT EX UW WILLIAM NEWINGHAM         1124 FRANK AVE                                                                                  JEANETTE         PA    15644‐1536

HELEN E DUNADO                                    45 CHRISTOPHER STREET                                                                           DOVER            NJ    07801‐2244
HELEN E ECONOMIDIS                                2161 DURHAM CT                                                                                  MOUNT DORA       FL    32757‐2303
HELEN E GAIRNS & ROBERT A GAIRNS JT TEN           1005 STAGE COACH LANE                                                                           FRIENDSVILLE     TN    37737‐2009
HELEN E GILBERTSON                                442 E MAGNOLIA CT                                                                               EDGERTON         WI    53534‐8617
HELEN E GRAHAM                                    246B LANTANA LN                                                                                 HAMPTON          VA    23669‐2568
HELEN E GRAY                                      2910 S WENTWARD COURT                                                                           HUDSONVILLE      MI    49426‐9244
HELEN E HARRIS                                    3701 NE CATAWBA RD                     APT R1                                                   PORT CLINTON     OH    43452‐9120
HELEN E HARTMAN                                   2151 GARDNER ROAD                                                                               GALLOWAY         OH    43119‐8737
HELEN E HAWKES                                    327 HIGH ST                            # 119                                                    LOCKPORT         NY    14094‐4601
HELEN E HAY                                       BOX 84                                                                                          EAST BUTLER      PA    16029‐0084
HELEN E IMES                                      19 JOHN ST                                                                                      NEWPORT          RI    02840‐3105
HELEN E JONES                                     PO BOX 621                                                                                      WAYNER           MI    48184‐0621
HELEN E JOYCE                                     19 LEISURE LANE                                                                                 SEWELL           NJ    08080‐2193
HELEN E KAMMERDIENER                              RD 1                                                                                            TEMPLETON        PA    16259‐9801
HELEN E KNIGHT                                    9711 CENTER DR                                                                                  VILLA PARK       CA    92861‐2736
HELEN E KRAUS                                     439 E FOURTH ST                                                                                 GREENVILLE       OH    45331‐2042
HELEN E LE BLANC                                  1154 1ST ST                                                                                     WYANDOTTE        MI    48192‐3210
HELEN E LEACH & ANDREW J LEACH JR JT TEN          2344 BUSCH RD                                                                                   BIRCH RUN        MI    48415‐8916
HELEN E LOCKHART                                  110‐20 173RD STREET                                                                             SAINT ALBANS     NY    11433‐3439
HELEN E LUSTI                                     636 LONG HILL RD                                                                                RIVER VALE       NJ    07675‐6506
HELEN E MADAK                                     8329 LOON LN                                                                                    GRAND BLANC      MI    48439‐7236
HELEN E MARION                                    30630 RIDGE RD AL‐10                                                                            WICKLIFFE        OH    44092‐1166
HELEN E MARTZ                                     7304 STAFFORD ROAD                                                                              ALEXANDRIA       VA    22307‐1807
HELEN E MC HUGH                                   4919 PRIMROSE                                                                                   WAYNE            MI    48184‐2527
HELEN E MCCOSKEY TR HELEN E MCCOSKEY LIVING       3613 DURHAM                                                                                     ROYAL OAK        MI    48073‐2333
TRUST UA 06/01/95
HELEN E MILNER & JOEL S MILNER JT TEN             BARB CITY MANOR #244                   680 HAISH BLVD                                           DEKALB           IL    60115
HELEN E MITCHELL                                  2654 HOLLYWOOD                                                                                  DEARBORN         MI    48124
HELEN E MYRONEK                                   1876 SMALLBROOK DR                                                                              TROY             MI    48098‐1424
HELEN E NOFZ                                      15962 Y AVE E                                                                                   FULTON           MI    49052‐9770
HELEN E NUTINI                                    3711 CYPRESS CREEK DR                                                                           COLUMBUS         OH    43228‐9636
HELEN E OBERSTAR                                  512 BELDEN HILL RD                                                                              WILTON           CT    06897‐4221
HELEN E POMEROY                                   25 CAMPBELL AVE                                                                                 HAVERTOWN        PA    19083
HELEN E RIGGS                                     148 SHADOWMORE DR                                                                               ZEBULON          GA    30295‐3214
HELEN E SAUNDERS & DEBORAH E SAUNDERS JT TEN      6419 PONTIAC LK RD                                                                              WATERFORD        MI    48327‐1752

HELEN E SCALISE                                   170 ELMWOOD DRIVE                                                                               GLENSHAW         PA    15116‐1254
HELEN E STEED                                     625 RIDGEDALE RD                                                                                DAYTON           OH    45406‐4855
HELEN E STRICK                                    15061 FORD RD                          H S 313                                                  DEARBORN         MI    48126‐4691
HELEN E THOMAS                                    12595 KLATKA DR                                                                                 CHARDON          OH    44024‐9327
HELEN E UNDERWOOD                                 1353 SHAWVIEW AVE                                                                               EAST CLEVELAND   OH    44112‐2719
HELEN E VALADE                                    48804 PARK PLACE DR                                                                             MACOMB           MI    48044‐2241
HELEN E VISCO & ANTHONY F VISCO JR & HELEN L      211 CLEARVIEW AVE                                                                               HUNTINGDON       PA    19006‐2444
BERKENSTOCK JT TEN                                                                                                                                VALLEY
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HELEN E WARNS & THOMAS O WARNS JT TEN              9311 MANDELL ROAD                                                                                 PERRYSBURG       OH    43551‐3916
HELEN E WEAVER & PATRICIA ANN BOEDECKER JT TEN     3622 AURORA COURT                                                                                 FLINT            MI    48504‐6553

HELEN E WICK                                       307 HOLLYCREST LANE                                                                               UNION            OH    45322‐3218
HELEN E ZEMECKAS                                   3208 BABSON COURT                                                                                 INDIANAPOLIS     IN    46268‐1326
HELEN EAMES SHAW                                   9 BUSH STREET                                                                                     SKOWHEGAN        ME    04976‐1806
HELEN EILEEN BROWN TR HELEN EILEEN BROWN           PO BOX 710                                                                                        HARRISON         MI    48625‐0710
REVOCABLE TRUST UA 10/29/02
HELEN ELAINE TAYLOR                                ROUTE 1                                 BOX 1808             214 COOKE STREET                     ROSCOMMON        MI    48653‐8822
HELEN ELIZABETH FOLTZ                              6005 COLONIAL TERRACE                                                                             CAMP SPRINGS     MD    20748‐2405
HELEN ELIZABETH GLIONNA                            1140 BLOOR ST WEST #1008                TORONTO ON                              M6H 4E6 CANADA
HELEN ELIZABETH IVEY TR UA 11/26/2007 HELEN        2235 REXFORD ROAD UNIT C                                                                          CHARLOTTE        NC    28211
ELIZABETH IVEY REV TRUST
HELEN ELIZABETH OSWALT                             ROUTE 2 10144 E XY AVE                                                                            VICKSBURG        MI    49097‐9500
HELEN ELIZABETH SUTHERLAND                         1295 SEALE DR                                                                                     ALPHARETTA       GA    30022‐3400
HELEN ELOWSON                                      2515 BURNHAM RD                                                                                   MINNEAPOLIS      MN    55416‐4333
HELEN EVANS & ARTHUR R BOOTHE JT TEN               221 BELLEWOOD DR                                                                                  FLUSHING         MI    48433‐1841
HELEN EVANS CUST MATTHEW EVANS UGMA NJ             13 EDGEWOOD ST                                                                                    DERRY            NH    03038‐4208
HELEN F AKAKI TR HELEN F AKAKI TRUST UA 05/18/99   11911 22ND ST SE                                                                                  EVERETT          WA    98205‐7617

HELEN F ALLEN                                      3300 W 44TH ST                                                                                    CLEVELAND        OH    44109‐1074
HELEN F AVIGNE                                     6421 CADILLAC                                                                                     GARDEN CITY      MI    48135‐1604
HELEN F BECKER & DAVID W BECKER JT TEN             121 5TH AVE                                                                                       PLEASANT GROVE   AL    35127‐1119
HELEN F BEDNAR & JOSEPH A BEDNAR JT TEN            5145 LUCYDALE AVE                                                                                 N OLMSTED        OH    44070‐4308
HELEN F BORKOSKI                                   1506 NOYES DR                                                                                     SILVER SPRING    MD    20910‐2222
HELEN F BRIDGES                                    4351 IRWIN STREET                                                                                 INDIANAPOLIS     IN    46226‐3647
HELEN F BURKES                                     20301 EVERGREEN                                                                                   DETROIT          MI    48219‐1468
HELEN F BURT PYTLINSKI                             5443 WHITEFORD ROAD                                                                               SYLVANIA         OH    43560‐2523
HELEN F COTTRELL                                   4936 BAFFIN BAY LANE                                                                              ROCKVILLE        MD    20853‐2203
HELEN F CROCKETT TR UA 06/15/90 HELEN F CROCKETT   3601 OHIO BLVD                                                                                    TERRE HAUTE      IN    47803‐1940
TRUST
HELEN F DOWELL                                     6889 S BLACKBERRY PT                                                                              HOMOSASSA        FL    34446‐3645
HELEN F GLOVER                                     1735 RIDGE AVE                                                                                    SHARPSVILLE      PA    16150‐1070
HELEN F HOGLE                                      21 MONTCLAIR DR                                                                                   DELRAN           NJ    08075‐1313
HELEN F JEANES                                     1000 CHERRY GROVE ROAD                                                                            EARLEVILLE       MD    21919‐1011
HELEN F MCCULLOCH                                  4248 MADISON AVE                                                                                  WILLOUGHBY       OH    44094
HELEN F MITCHELL                                   438 E COLUMBIA                                                                                    DANVILLE         IN    46122‐1308
HELEN F NIX                                        PO BOX 68 STATE RD 343                                                                            SHILOH           NC    27974‐0068
HELEN F O DONNELL TR HELEN F O DONNELL             8 JERSEY CITY AVENUE                                                                              LAVALLETTE       NJ    08735‐2518
REVOCABLE TRUST UA 04/11/02
HELEN F PITONAK                                    21 WEST FIRST ST                                                                                  KEYPORT          NJ    07735‐1010
HELEN F RITTER                                     1750 S DELANEY RD                                                                                 OWOSSO           MI    48867‐9113
HELEN F RUNDLE                                     PO BOX 978                              PORT PERRY ON                           L9L 1A8 CANADA
HELEN F SCHMIDT                                    5371 S MILFORD RD                       APT 73                                                    MILFORD          OH    45150
HELEN F SNOHA                                      5091 PANTHER DR                                                                                   SPRINGHILL       FL    34607‐2486
HELEN F TOMASKO                                    PO BOX 164                                                                                        BETHEL           CT    06801‐0164
HELEN F WILLIAMS & WINIFRED C WILLIAMS JT TEN      BOX 87                                                                                            LUVERNE          AL    36049‐0087

HELEN F WINGFIELD & PATRICIA W OTERI JT TEN        20 ENCANTADO CIRCLE                                                                               SANTA FE         NM    87508‐8390
HELEN F WORRELL EVANS                              428 GENETTA DR                                                                                    MIAMISBURG       OH    45342‐3322
HELEN FANER & MARY GRANT JT TEN                    51744 SHADYWOOD DR                                                                                MACOMB           MI    48042‐4294
HELEN FARRY JANKOWSKI                              2377‐21ST AVENUE                                                                                  SAN FRANCISCO    CA    94116‐2431
HELEN FECKO                                        1623 HILTON HEAD BLVD                                                                             LADY LAKE        FL    32159‐2226
HELEN FELT                                         3301 SPANISH TRAIL APT 304A                                                                       DELRAY BEACH     FL    33483‐4747
HELEN FISCHER DEVLIN                               100 WILLIAMS ST                                                                                   EDWARDSVILLE     PA    18704‐1705
HELEN FISHER                                       3147 E 250 N                                                                                      ANDERSON         IN    46012‐9433
HELEN FITZGERALD GALIME                            19 LOWELL DRIVE                                                                                   NEW HARTFORD     NY    13413‐2231
HELEN FLORINE MILLS                                95 BRIARCREST PL                                                                                  COLORADO SPRINGS CO    80906‐4425
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HELEN FOGARTY                                    31340 BROWN                                                                                     GARDEN CITY      MI    48135‐1470
HELEN FOWLER WHITE                               123 2ND AVE 812                                                                                 SALT LAKE CITY   UT    84103‐4759
HELEN FRANCES WILKERSON                          PO BOX 534                                                                                      STOCKBRIDGE      GA    30281‐0534
HELEN FREDERICK                                  5435 COLD WATER ROAD                                                                            LAPEER           MI    48446‐8026
HELEN FREDERICKS                                 8214 RENWOOD                                                                                    PARMA            OH    44129‐3528
HELEN FURLONG                                    107 WILDHORSE RD                                                                                FARMINGTON       MO    63640‐9776
HELEN G BECKERMAN                                PO BOX 83                                                                                       ALLENDALE        IL    62410‐0083
HELEN G DEMOSS                                   202 CROSSON ST                                                                                  GREENCASTLE      IN    46135‐1808
HELEN G DOTY                                     2340 CRAFTSMAN PL                                                                               MISSOULA         MT    59801‐1340
HELEN G FOGARTY                                  427 CANNELLA WAY                                                                                RIVERDALE        NJ    07457‐1441
HELEN G GOELLNER                                 PO BOX 215                                                                                      PALMYRA          NY    14522‐0215
HELEN G GORDON                                   1875 WINDERMERE RD                     WINDSOR ON                             N8W 2S3 CANADA
HELEN G HARER TR HELEN G HARER TRUST 08/26/86    4425 FALCON AVE                                                                                 LONG BEACH       CA    90807‐2504

HELEN G HEALEY TR DONALD E HEALEY TRUST UA       1717 ROCKEFELLER APT 103                                                                        EVERETT          WA    98201‐2089
04/22/96
HELEN G HOYT                                     2713 SARAH LANE                                                                                 BALT             MD    21234‐1024
HELEN G JONES                                    4001 RODNEY PARHAM RD #7120                                                                     LITTLE ROCK      AR    72212‐2442
HELEN G KANARAS & ELIZABETH G KANARAS JT TEN     847 CONCORD AVE                                                                                 DREXEL HILL      PA    19026‐2602

HELEN G MACINO                                   5620 E STATE RD 205                                                                             COLUMBIA CITY    IN    46725‐9070
HELEN G MARKOVICH                                29 POUND RIDGE RD                                                                               PLAINVIEW        NY    11803‐1818
HELEN G MATTSON                                  15104 CANDYTUFT LN                                                                              ROCKVILLE        MD    20853‐1539
HELEN G MC GUFFIN                                9308 CAMPO RD                                                                                   SPRING VALLEY    CA    91977‐1201
HELEN G MORRIS                                   120 WHIPPORWILL LN                                                                              MANSFIELD        OH    44906
HELEN G NOEL CUST MICHELLE D NOEL UGMA NJ        4836 JELA WAY                                                                                   NORTH HIGHLANS   CA    95660‐5608

HELEN G PAPROCKI                                86‐48 SANCHO ST                                                                                  HOLLISWOOD       NY    11423‐1224
HELEN G PATTWELL                                30 WESTERN REACH                                                                                 RED BANK         NJ    07701‐5439
HELEN G PRISBY                                  32105 SAINT VINCENT AVE                                                                          WARREN           MI    48092‐1177
HELEN G QUEALE                                  7 CAZENOVE ST                                                                                    BOSTON           MA    02116‐6204
HELEN G RILEY                                   209 ORINOCO ST                                                                                   DAYTON           OH    45431‐2071
HELEN G ROBIDEAUX TR ROBIDEAUX REV LVG TRUST UA N 301 1ST STREET # 520                                                                           COEURD'ALENE     ID    83814‐2846
12/17/91
HELEN G SHEEHE                                  C/O MARIA G KLYZA                       PO BOX 168                                               PARIS            KY    40362‐0168
HELEN G STAUER                                  PO BOX 3506                                                                                      PRINCEVILLE      HI    96722‐3506
HELEN G ZURSCHMIEDE                             10 STRATTON PL                                                                                   GROSSE POINTE    MI    48236‐1755
HELEN GAFFNEY TR HELEN GAFFNEY REVOCABLE TRUST 107 BAY RIDGE PKWY                                                                                BROOKLYN         NY    11209‐2301
UA 01/26/06
HELEN GARABRANT & KENNETH GARABRANT JT TEN      115 DE HAVEN DRIVE                                                                               YONKERS          NY    10703

HELEN GARDE CUST PATRICK J COYNE UTMA MA        97 BRIDLE PATH ROAD                                                                              SPRINGFIELD      MA    01118
HELEN GARTHWAITE                                1338 JEROME                                                                                      JANESVILLE       WI    53546‐2507
HELEN GEORGOULIAS TR GEORGOULIAS FAMILY TRUST 533 OCEANVIEW AVE                                                                                  PALM HARBOR      FL    34683‐1833
UA 01/31/85
HELEN GERNER                                    31169 WELLSTON                                                                                   WARREN           MI    48093‐1753
HELEN GLOECKLER                                 124 CANNON ST                                                                                    HAMDEN           CT    06518‐2513
HELEN GLYNN                                     281 GARTH ROAD #A3A                                                                              SCARSDALE        NY    10583‐4029
HELEN GNIAZDOWSKI & STEVEN H GNIAZDOWSKI JT TEN 119 CLARK LN                                                                                     CAMILLUS         NY    13031‐2303

HELEN GOLD                                       3535 KINGS COLLEGE PL                                                                           BRONX            NY    10467‐1540
HELEN GOLDBERG                                   38 CASTLE RIDGE DRIVE                                                                           EAST HANOVER     NJ    07936‐3546
HELEN GOLK LALLY TOD JAMES RICHARD LALLY         206 ROEHL N.W.                                                                                  ALBUQUERQUE      NM    87107
HELEN GOVER & RANDALL GOVER JT TEN               610 E HARRISON                                                                                  SPRINGFIELD      MO    65806‐3406
HELEN GRAHAM                                     1608 DODGE NW                                                                                   WARREN           OH    44485‐1821
HELEN GRANT                                      218 NICHOLSON AVENUE                                                                            EDISON           NJ    08820‐1758
HELEN GRISWOLD                                   855 SOUTHFIELD DR                      # 216                                                    PLAINFIELD       IN    46168‐2455
HELEN GUBKIN                                     C/O HARRIET HARRIS                     9714 ARBOR VIEW DR NORTH                                 BOYNTON BEACH    FL    33437
HELEN GUTIERREZ                                  6422 GREEN APPLE DR                                                                             SAN ANTONIO      TX    78233‐3901
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HELEN H ABBOTT & WILLIAM K ABBOTT JT TEN           10 PERKINS AVE                                                                                   WILMINGTON        DE    19809‐1722
HELEN H ADAMS & DONALD J ADAMS & NANCY L           5108 THEODORE ST                                                                                 MAPLE HEIGHTS     OH    44137
MARKUS JT TEN
HELEN H BRAME                                      BOX Y                                                                                            EL DORADO         TX    76936‐1249
HELEN H CHAN                                       3108 ROSSMOOR PKWY #4                                                                            WALNUT CREEK      CA    94595‐3337
HELEN H EGGLESTON                                  2930 BLENDWEL RD                                                                                 RICHMOND          VA    23224‐5946
HELEN H GIRARD                                     21881 LAKE ROAD                                                                                  ROCKY RIVER       OH    44116‐1144
HELEN H HARRISON                                   1144 STERLING AVE                                                                                BERKELEY          CA    94708‐1757
HELEN H HEROLD                                     160 STEELE AVE                                                                                   PAINESVILLE       OH    44077‐3838
HELEN H HOLLEY                                     6585 AMELIA DR                                                                                   CINCINNATI        OH    45241‐1315
HELEN H JOHNS                                      5601 DELTA RIVER DR                                                                              LANSING           MI    48906‐9050
HELEN H KENNEY                                     716 GILFILLAND RD                                                                                WHITE BEAR LAKE   MN    55127
HELEN H KUGLAR                                     3581 STEVENS WAY                                                                                 MARTINEZ          GA    30907‐9560
HELEN H LAVELLE                                    412 ILLINOIS AVENUE                                                                              GIRARD            OH    44420‐3051
HELEN H MCGILL                                     607 GIPSY TRAIL RD                                                                               CARMEL            NY    10512
HELEN H MURPHY                                     14 RUTH STREET                                                                                   BRISTOL           CT    06010‐3252
HELEN H MURPHY & DAVID W MURPHY JT TEN             14 RUTH STREET                                                                                   BRISTOL           CT    06010‐3252
HELEN H NEFF                                       1811 LOCH FOREST DR                                                                              MACON             MO    63552
HELEN H NELSON                                     1052 THE OLD DRIVE                                                                               PEBBLE BEACH      CA    93953‐2509
HELEN H PHILLIPS                                   PO BOX 571                                                                                       CLINTON           TN    37716
HELEN H REYNOLDS                                   ATTN THOMAS H REYNOLDS                C/O CONNIE PARE      913 CRYSTAL COURT                     THE VILLAGES      FL    32162‐3338
HELEN H ROBINSON TR UA 03/05/93 HELEN H            18438 HOOD AVE                                                                                   HOMEWOOD          IL    60430‐3455
ROBINSON TRUST
HELEN H SAMPSON                                    621 E BALTIMORE                                                                                  FLINT             MI    48505‐6404
HELEN H TAYLOR                                     1 CHURCH ST                                                                                      ADDISON           NY    14801‐1031
HELEN H THWAITS                                    4080 QUILLEN AV                                                                                  WATERFORD         MI    48329‐2052
HELEN H TOMS                                       2520 WILSON BLVD                      APT 104                                                    WINCHESTER        VA    22601‐3516
HELEN H VAN DERVEER                                633 DUNDEE CIRCLE                                                                                MELBOURNE         FL    32904‐2149
HELEN H WOOD                                       2026 CLEARY RD                                                                                   FLORENCE          MS    39073‐9224
HELEN HACKNEY                                      R‐16 BOX 722                                                                                     BEDFORD           IN    47421‐9434
HELEN HACKNEY                                      17 YARDLEY RD                                                                                    MENDHAM           NJ    07945‐3222
HELEN HAMMER                                       602 MAYDELLE LANE                                                                                GARLAND           TX    75042‐6435
HELEN HANDSY                                       54080 SURFSIDE DR                                                                                SHELBY TWP        MI    48316
HELEN HAWKINS                                      213 SOUTH GARFIELD STREET                                                                        MONTICELLO        WI    53570‐9635
HELEN HEFKO                                        1148 SCOVILLE NORTH ROAD                                                                         VIENNA            OH    44473‐9540
HELEN HIEBEL GREENE                                6105 DABNEY CT                                                                                   SPRINGFIELD       VA    22152‐1828
HELEN HOFFER                                       11919 40TH AVE                                                                                   ALLENDALE         MI    49401‐9167
HELEN HOLCOMB & MARGARET POBOCIK JT TEN            10480 E HENDERSON ROAD                                                                           CORUNNA           MI    48817‐9791
HELEN HOLCOMB & PATRICK HOLCOMB JT TEN             10480 E HENDERSON ROAD                                                                           CORUNNA           MI    48817‐9791
HELEN HOLCOMB & THERESA LOVE JT TEN                10480 E HENDERSON ROAD                                                                           CORUNNA           MI    48817‐9791
HELEN HOLINSKI & ADAM L HOLINSKI JT TEN            6649 WINONA AVE                                                                                  ALLEN PARK        MI    48101‐2323
HELEN HOLINSKI & APRIL ANN G TALAGA JT TEN         6649 WINONA AVE                                                                                  ALLEN PARK        MI    48101‐2323
HELEN HOLINSKI & ELIZABETH J MERCHBERGER JT TEN    6649 WINONA AVE                                                                                  ALLEN PARK        MI    48101‐2323

HELEN HOLINSKI & MARIA H DOTSON JT TEN             6649 WINONA AVE                                                                                  ALLEN PARK        MI    48101‐2323
HELEN HOLLOM                                       18443 LESURE                                                                                     DETROIT           MI    48235‐2523
HELEN HOPPER                                       3733 KITTYHAWK DR                                                                                FORT MYERS        FL    33905‐7728
HELEN HOUSE                                        4308 BLUEGRASS DRIVE                                                                             MUNCIE            IN    47303‐9177
HELEN HUDAK                                        6671 GLENALLEN AVE                                                                               SOLON             OH    44139‐4054
HELEN HUMPHREYS                                    148 FORT LEE RD                                                                                  TEANECK           NJ    07666‐3901
HELEN I BARE & HAROLD C BARE JT TEN                9790 66TH ST #280                                                                                PINELLAS PARK     FL    33782‐2814
HELEN I DOLAN TR HELEN I DOLAN TRUST UA 01/06/86   1418 CEDARWOOD DR                                                                                FLUSHING          MI    48433‐1809

HELEN I DUNHAM                                     1418 CEDARWOOD DR                                                                                FLUSHING          MI    48433
HELEN I ENGLEKING                                  703 E WARREN ST                                                                                  ROCKTON           IL    61072‐2258
HELEN I HEARING & DEBORAH A TOTH JT TEN            14921 E HEROY AVE                                                                                SPOKANE VALLEY    WA    99216‐1322
HELEN I KOHANSKI & JOHN F KOHANSKI JT TEN          6 QUAIL HOLLOW COURT # 2                                                                         TERRYVILLE        CT    06786‐5332
HELEN I LEITNER                                    490 2ND                                                                                          PONTIAC           MI    48340‐2825
HELEN I LUKUC & DEBORAH A GUSKOVICT JT TEN         25545 WEST HILLS DR                                                                              DEARBORN HTS      MI    48125‐1071
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HELEN I LUKUC & DIANNE M TOMAINE JT TEN         25545 WEST HILLS DR                                                                             DEARBORN HTS      MI    48125‐1071
HELEN I MOORMAN                                 4718 EL SALVADOR                                                                                HOUSTON           TX    77066‐2605
HELEN I MOTTA                                   39738 BANKS ROAD                                                                                GRAFTON           OH    44044‐9739
HELEN I RISK                                    PO BOX 1357                            ST CATHARINES ON                       L2R 7J8 CANADA
HELEN I RUDISILL                                GIVENS ESTATES                         600 BARRETT LANE # 305                                   ASHEVILLE         NC    28803
HELEN I THOMAS                                  5001 COQUINA CIR #221                                                                           NEW PORT RICHEY   FL    34653‐4954

HELEN I TIERNEY                                   1815 OTLEY AVE                                                                                PERRY             IA    50220‐2102
HELEN I VESPE TOD COURTNEY N ADAMS SUBJECT TO     29526 EUCLID AVENUE                                                                           WICKLIFFE         OH    44092‐1967
STA TOD RULES
HELEN I VESPE TOD MICHELE A SUTCH                 29526 EUCLID AVE                                                                              WICKLIFFE         OH    44092
HELEN I WETMORE & ALLISON K WETMORE JT TEN        1263 ASPEN ST                                                                                 BUNNELL           FL    32110‐4817
HELEN INFUSINO                                    77A ROSSMOOR DRIVE                                                                            JAMESBURG         NJ    08831‐1504
HELEN IRENE JANSEN                                402 N 5TH ST                                                                                  ALBION            IL    62806‐1028
HELEN ISABEL LUCAS                                #5‐6031 FRANCIS ROAD                 RICHMOND BC                            V7C 1K4 CANADA
HELEN J AARON                                     2144 N DELPHOS                                                                                KOKOMO            IN    46901‐1665
HELEN J ARAND                                     3962 MERMOOR DR                                                                               PALM HARBOR       FL    34685‐1134
HELEN J BEAL                                      549 WASHINGTON STREET                                                                         GLOUCESTER        MA    01930‐1751
HELEN J BELDECOS & MARY BELDECOS JT TEN           493 BARKER RD                                                                                 SPRINGFIELD       PA    19064‐2907
HELEN J BENNETT                                   203 81ST AVE N                                                                                MYRTLE BEACH      SC    29572‐4341
HELEN J BIBBY                                     170 FOREST VIEW CIRCLE                                                                        COLUMBIA          SC    29212‐2470
HELEN J BONANNO                                   30 BIRCH LN                                                                                   ROCHESTER         NY    14622‐2102
HELEN J BOYD                                      PO BOX 482                                                                                    GRAND BLANC       MI    48480‐0482
HELEN J BRANDT                                    873 COUNTY RD 270                                                                             MICO              TX    78056
HELEN J BRYNE                                     1788 HANOVER                                                                                  LINCOLN PK        MI    48146‐1420
HELEN J CARLSON & RUTH ANN SMITH JT TEN           814 VIA DEL SOL                                                                               N FT MYERS        FL    33903
HELEN J CORNETT                                   12526 W HONEYSUCKLE ST                                                                        LITCHFIELD PK     AZ    85340‐5152
HELEN J COULTER                                   2554 HIGHWAY 26 W                                                                             NASHVILLE         AR    71852‐7454
HELEN J CZAPIGA & JANICE MORSE & EDWARD CZAPIGA 808 W GENESEE ST                                                                                IRON RIVER        MI    49935‐1227
JR JT TEN
HELEN J DABILIS & PHILLIP A DABILIS JT TEN        47 VINE ST                                                                                    NASHUA            NH    03060
HELEN J DABILIS & SOTERIOS A DABILIS JT TEN       47 VINE ST                                                                                    NASHUA            NH    03060
HELEN J DABILIS & THOMAS P DABILIS JT TEN         47 VINE ST                                                                                    NASHUA            NH    03060
HELEN J DAVIS                                     5THIRD ST                                                                                     TOWOUDA           PA    18848‐1342
HELEN J EARGLE                                    2920 PRENTICE AVE                                                                             COLUMBIA          SC    29205‐3851
HELEN J EDMONDSON                                 3701 GRANTS AVENUE                                                                            INDIANAPOLIS      IN    46218‐1429
HELEN J ERICKSON                                  1332 NORFOLK AVE                                                                              GRAND BLANC       MI    48439‐5168
HELEN J FIELDS                                    PO BOX 67                                                                                     SWARTZ CREEK      MI    48473‐0067
HELEN J FINNEY                                    7402 LAKEBREEZE                      BLDG 22 ‐ 409                                            FORT MYERS        FL    33907‐8048
HELEN J FISCHER                                   1716 FEDERAL AVE S W                                                                          WYOMING           MI    49509‐1343
HELEN J GARLACZ & DIANE M BAKER TR UA 10/27/05    4372 ST MARTINS DR                                                                            FLINT             MI    48507
HELEN J GARLACZ TRUST
HELEN J GRAY                                      2 EAGLE ST                                                                                    ISELIN            NJ    08830
HELEN J HARMON                                    ATTN HELEN J CARTERMAN               3817 PARKWOOD LANE                                       MIDWEST CITY      OK    73110‐7434
HELEN J HIER & JOHN PETER GANDINO JT TEN          164 FISCOE AVE                                                                                SYRACUSE          NY    13205‐3007
HELEN J HOLL & CRAIG W DELAPP & GREGORY A HOLL JT 4111 WOODRIDGE DRIVE                                                                          SANDUSKY          OH    44870‐7055
TEN
HELEN J HOWARD                                    204 CEDAR ST                         PO BOX 17                                                DUPONT            OH    45837‐0017
HELEN J IGNATOWSKI                                3241 W LYNNDALE AVE                                                                           GREENFIELD        WI    53221‐1131
HELEN J JACKSON                                   84 BLYTHEDALE RD                                                                              PERRYVILLE        MD    21903‐2216
HELEN J KRAMER                                    110 TARRYTON CT E                                                                             COLUMBUS          OH    43228‐6501
HELEN J LEWANOWICZ                                342 ELLIS AVE                                                                                 TRENTON           NJ    08638‐3948
HELEN J MARIN                                     9633 HOWLAND‐SPRINGS RD                                                                       WARRENQ           OH    44484‐3140
HELEN J MEYER & JERRY LEE ANDREW JT TEN           1921 KNAPKE COURT                                                                             CELINA            OH    45822
HELEN J MILLER                                    13750 TREELAND DR                                                                             SHELBY TWP        MI    48315‐6055
HELEN J MYERS                                     46170 BLOOMCREST                                                                              NORTHVILLE        MI    48167‐3033
HELEN J PETERSON                                  525 S ARMSTRONG                                                                               KOKOMO            IN    46901‐5370
HELEN J PIATTONI                                  706 W MAIN ST                                                                                 CARY              IL    60013‐1919
HELEN J PRENTICE                                  1477 LONG POND RD                    APT 341                                                  ROCHESTER         NY    14626‐4154
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Name                                               Address1                               Address2               Address3        Address4          City             State Zip

HELEN J RENWICK                                    1305 WEST MOUNT DRIVE                                                                           TACOMA           WA    98466‐6544
HELEN J REYNOLDS                                   12274 E 400 SOUTH                                                                               GREENTOWN        IN    46936‐9777
HELEN J ROBEY                                      13092 PULLEN LOOP                                                                               KING GEORGE      VA    22485‐4819
HELEN J ROSS                                       8624 FORT HAMILTON PKWY                                                                         BROOKLYN         NY    11209‐5304
HELEN J SCHLESINGER CUST CUST ERICA FELICE         51 S PRESTNICK COURT                                                                            DOVER            DE    19901‐2334
SCHLESINGER UGMA DE
HELEN J SCHLESINGER CUST JASON D SCHLESINGER       51 S PRESTWICK COURT                                                                            DOVER            DE    19904‐2334
UGMA DE
HELEN J SCHUITMAKER                                PO BOX 3114                                                                                     ST CHARLES       IL    60174‐9098
HELEN J SHEARS                                     3235 CYPRESS GLEN WAY APT 303                                                                   NAPLES           FL    34109‐3842
HELEN J WALSH CUST ELIZABETH HELEN WALSH UTMA      PO BOX 4044                                                                                     CHEYENNE         WY    82003‐4044
WY
HELEN J WELSH                                      610 BRIARSTONE DR #19                                                                           MASON CITY       IA    50401‐4676
HELEN J WESTFALL                                   2323 16TH AVE S                                                                                 SEATTLE          WA    98144‐5101
HELEN J ZICK & RICHARD J ZICK JT TEN               14 CORTEZ LN                                                                                    KINGS PARK       NY    11754
HELEN JACKSON LIPSCOMB                             BOX 1364                                                                                        MILLEDGEVILLE    GA    31061‐1364
HELEN JAKABUCZ                                     279 FEDERAL CITY RD                                                                             TENNINGTON       NJ    08534‐5111
HELEN JAMES                                        1420 CHATHAM DR                                                                                 FLINT            MI    48505‐2584
HELEN JAMES                                        40626 HARRIS                                                                                    BELLEVILLE       MI    48111‐9179
HELEN JANKY                                        2333 PITTSTON BLVD                                                                              BEAR CREEK TW    PA    18702‐9534
HELEN JARMAKOWICZ & TOD WARREN JARMAKOWICZ         201 BROWERTOWN RD                                                                               WEST PATERSON    NJ    07424‐2609
& KAREN JARMAKOWICZ JT TEN
HELEN JEAN CORRIGAN CUST STEPHANIE ANN             4215 S DAHLIA ST                                                                                ENGLEWOOD        CO    80113‐5003
CORRIGAN UTMA IL
HELEN JEAN EAMAN                                   132 WOODBRIDGE LN                                                                               BATTLE CREEK     MI    49015‐4392
HELEN JEAN LAUDERDALE                              1418 MAPLE ST                                                                                   S PASADENA       CA    91030‐4644
HELEN JEAN MEYER                                   1921 KNAPKE CTT                                                                                 CELINA           OH    45822‐8303
HELEN JO PAINTER TR UA 06/30/92 HELEN JO PAINTER   PO BOX 1287                                                                                     MIAMI            OK    74355‐1287
TRUST
HELEN JOAN HELCK                                   2205 N JACKSON ST                                                                               DANVILLE         IL    61832‐1564
HELEN JOAN LOWE                                    1788 HANOVER                                                                                    LINCOLN PARK     MI    48146‐1420
HELEN JOANNE GOLDEN                                7713 WYNLAKES BLVD                                                                              MONTGOMERY       AL    36117‐5162
HELEN JOHNSTON                                     1501 PATTERSON RD #109                                                                          GRAND JUNCTION   CO    81506‐4020

HELEN JONES                                        9409 CHAPARRAL LN                                                                               SHREVEPORT       LA    71118‐4337
HELEN JONES TOMAZIN                                43287 EAST SUGAR PIME DR                                                                        OAKHURST         CA    93644‐9618
HELEN JOY WILLIS RAY                               4949 MONTEVALLO RD APT 432                                                                      BIRMINGHAM       AL    35210‐2418
HELEN JULIET RUST                                  5535 MIAMI ROAD                                                                                 CINCINNATI       OH    45243‐3601
HELEN JUNE DOLENGOWSKI & THADDEUS Z                1520 TAITWOOD                                                                                   CENTERVILLE      OH    45459‐5438
DOLENGOWSKI JT TEN
HELEN JUNE WHEELER & B J SIMMONS JT TEN            PO BOX 2366                                                                                     SANTA FE         NM    87504‐2366
HELEN JUNG TR UA 10/11/91 ALBERT W JUNG & HELEN    2007 ELMSTEAD LANE                                                                              GROVETOWN        GA    30813
JUNG TRUST
HELEN JURCZYK TR UA 05/10/88 HELEN JURCZYK         6907 BROOKSIDE DRIVE                                                                            CLEVELAND        OH    44144‐1648
HELEN K CASH                                       910 LEE ST                                                                                      SUMMERSVILLE     WV    26651‐1136
HELEN K CONGDON LIFE TENANT U/W WILLIAM M          3530 W 93RD ST N                                                                                VALLEY CENTER    KS    67147‐9141
CONGDON
HELEN K CONRAD                                     202 CONRAD ST                                                                                   BENTON           AR    72015
HELEN K DEMILIA                                    168 BEEKMAN AVENUE                                                                              SLEEPY HOLLOW    NY    10591‐2444
HELEN K FITZGERALD                                 ATTN HELEN K TRUPIANO                  2644 STONEY CREEK RD                                     OAKLAND          MI    48363‐2056
HELEN K HARRADINE TR HELEN K HARRADINE TRUST UA    115 CAMINO CABO                                                                                 SANTA FE         NM    87508
12/12/95
HELEN K KRUKOWSKI                                  10212 FORESTWOOD LN                                                                             CLEVELAND        OH    44133‐3372
HELEN K LYNCH                                      34 FRENCH ST                                                                                    HINGHAM          MA    02043‐3031
HELEN K MATSUSHIMA                                 737 20TH AVE                                                                                    HONOLULU         HI    96816‐4526
HELEN K MCCAULEY                                   219 AZALEA LANE                                                                                 WEST GROVE       PA    19390‐9479
HELEN K MOHNEY                                     204 ALLEGHENY AVE                                                                               KITTANNING       PA    16201‐1812
HELEN K PHILBIN                                    231 OLEANDER DRIVE                                                                              TAVERNIER        FL    33070‐2744
HELEN K PHILLIPS                                   13580 HWY 27                                                                                    HAMILTON         GA    31833
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HELEN K SHANE                                   808 E 161ST ST                                                                                   WESTFIELD          IN    46074‐9621
HELEN K SKOVRAN                                 2075 ATLANTIC ST N E                                                                             WARREN             OH    44483‐4245
HELEN K SPAHR                                   BOX 495                                                                                          HASTINGS           PA    16646‐0495
HELEN K STICKEL                                 84 TEE RD                                                                                        ORELAND            PA    19075‐1119
HELEN K TALLEY                                  216 FARMINGTON RD                                                                                DELRAN             NJ    08075‐1535
HELEN K TERPENING                               221 BANK ST                                                                                      BROWNSVILLE        PA    15417‐2003
HELEN K TUCK                                    416 REDMOND RD                                                                                   COLUMBUS           OH    43228‐2201
HELEN K VOLLTAIRE                               739 STUART AVE                                                                                   KALAMAZOO          MI    49007‐2344
HELEN K WROBLEWSKI & JOSEPH R WROBLEWSKI JT TEN 11645 RT 89                                                                                      WATTSBURG          PA    16442‐9331

HELEN KAMINSKI                                    5127 VALLEY FORGE DR                                                                           TOLEDO             OH    43613‐2826
HELEN KARNS                                       9102 MCGREGOR ROAD                                                                             PICKNEY            MI    48169‐9444
HELEN KARNS & BRENDA A HUBER JT TEN               425 E WALTON BLVD                                                                              PONTIAC            MI    48340‐1354
HELEN KAY RILEY‐SHORT & JOHN EDWARD SHORT JT      6624 SUNFIELD SW                                                                               BYRON CENTER       MI    49315‐9451
TEN
HELEN KEDZIERSKI                                  8131 RACINE ST                                                                                 WARREN             MI    48093‐6745
HELEN KELLY BRUUN                                 5236 SE 32ND AVE                                                                               PORTLAND           OR    97202‐4310
HELEN KELSALL‐WILSON & ALVIN C WILSON JT TEN      6862 FRYING PAN RD                                                                             BOULDER            CO    80301‐3605

HELEN KESLER                                      27117 HASS                                                                                     DEARBORN HEIGHTS MI      48127‐2809

HELEN KILLEN                                      19443 STANSBURY                                                                                DETROIT            MI    48235‐1735
HELEN KILLOCH                                     904 BERGEN PL                                                                                  SEA GIRT           NJ    08750‐1923
HELEN KOCUR & MATTHEW KOCUR JT TEN                1533 VERNON AVE                                                                                PARK RIDGE         IL    60068‐1565
HELEN KORYCINSKI & DEBRA PARKOMA JT TEN           15161 FORD RD APT 209                                                                          DEARBORN           MI    48126‐4697
HELEN KOZA & ANN C KOZA JT TEN                    G‐3164 W CARPENTER RD                                                                          FLINT              MI    48504
HELEN KRAMSKY                                     13155 SW 7TH COURT                    APT E 314                                                PEMBROKE PINES     FL    33027‐1882
HELEN KREBEL                                      11584 ILLINOIS HWY 26                                                                          PRINCETON          IL    61356
HELEN KREEGER & VICKY L SCHIRMER JT TEN           BOX 885                                                                                        HANOVER            IN    47243‐0885
HELEN KRIZ TR HELEN KRIZ TRUST UA 08/20/91        2033 SE ALLAMANDA DR                                                                           PORT ST LUCIE      FL    34952‐5803
HELEN KUFEL                                       911 W 19TH ST                                                                                  LORAIN             OH    44052‐3829
HELEN KUMPER                                      211 KILARNEY DRIVE                                                                             WEXFORD            PA    15090‐8435
HELEN L ADAMS TR HELEN L ADAMS TRUST UA 4/11/01   1201 N HARRISON ST APT418                                                                      WILMINGTON         DE    19806

HELEN L ANDERSON TR UA 09/21/89 HELEN L            1811 CREEK RD                                                                                 MORRIS             IL    60450‐3333
ANDERSON TRUST
HELEN L ARRINGTON                                  1741 LUCCA PL                                                                                 SAN JOSE           CA    95138‐2115
HELEN L B GARLINGTON                               420 BAYBERRY LN                                                                               WEST GROVE         PA    19390‐9491
HELEN L BALLARD                                    33935 MIDDLETON CIRCLE UNIT 2                                                                 LEWES              DE    19958
HELEN L BEAUDIN TR HELEN L BEAUDIN IN VIV TRUST UA 204 VILLAGE LN                                                                                CHESTERFIELD       MI    48047‐2076
05/26/00
HELEN L BELL                                       51 S 12TH AVE                                                                                 COATESVILLE        PA    19320‐3529
HELEN L BENNETT                                    36 OLIVE AVE                                                                                  PIEDMONT           CA    94611‐4428
HELEN L BEVERIDGE                                  PO BOX 704                                                                                    DALLAS             OR    97338‐0704
HELEN L BIBBEE                                     36195 AURENSEN RD                                                                             NORTH RIDGEVILLE   OH    44039‐3742

HELEN L BOND                                      539 OAK ISLAND CIR                                                                             PLANT CITY         FL    33565‐9299
HELEN L BOYD                                      13209 E 49TH TERR                                                                              KANSAS CITY        MO    64133‐2617
HELEN L BRANDT                                    119 KANSAS ST                                                                                  INDIANAPOLIS       IN    46225‐1521
HELEN L BROWNLEE                                  4271 MORGANTOWN RD                                                                             BROWNSVILLE        KY    42210‐8208
HELEN L BURGESS                                   PO BOX 1087                                                                                    KEKAHA             HI    96752
HELEN L CLARK                                     2607 ALGONQUIN PK                                                                              LOUISVILLE         KY    40210‐2027
HELEN L CLAY                                      1080 YARMOUTH                                                                                  GRAFTON            OH    44044‐1239
HELEN L COLE                                      12833 CROSLEY                                                                                  REDFORD            MI    48239
HELEN L COOKINGHAM TR HELEN L COOKINGHAM          2630 PEWANGA PLACE                                                                             FLINT              MI    48507‐1841
TRUST UA 05/25/93
HELEN L COTE & RICHARD C ZAMBISKI JT TEN          22049 TANGLEWOOD ST                   ST CLAIR SHORES                                          ST CLR SHORES      MI    48082
HELEN L CRAMER                                    1281 GULF OF MEXICO DR                UNIT 206                                                 LONGBOAT KEY       FL    34228‐4631
HELEN L CROUSE                                    174 GORDON AVE                                                                                 GETTYSBURG         PA    17325
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HELEN L DECKER                                   250 STEWART ST                                                                              WELCH           WV    24801
HELEN L DEVERS                                   2622 BONANZA RD                                                                             LAKE ODESSA     MI    48849‐9556
HELEN L DILLENBECK & DEBORAH L WALKER JT TEN     2265 BARRY RD                                                                               WILLIAMSTON     MI    48895‐9640

HELEN L DOYLE                                  7232 S R 45 N W                                                                               N BLOOMFIELD    OH    44450‐9719
HELEN L DYER                                   10790 68TH ST SE                                                                              ALTO            MI    49302‐8972
HELEN L FELDPAUSCH & MICHAEL J FELDPAUSCH &    16882 BAUER                                                                                   GRAND LEDGE     MI    48837‐9170
SUSAN T DEBOR JT TEN
HELEN L FELDSCHER                              9268 SINSONTE LANE                                                                            LAKESIDE         CA   92040‐4629
HELEN L FITZGERALD                             2182 CAMBRIDGE ROAD                                                                           COSHOCTON        OH   43812‐9132
HELEN L FOSTER                                 1099 WAKEFIELD                                                                                BIRMINGHAM       MI   48009‐3086
HELEN L GABERT                                 128 ARTHUR LANE                                                                               HENDERSONVILLE NC     28791‐9701
HELEN L GRIFFITH                               3315 STATE RTE 5                                                                              FRANKFORT        NY   13340‐5503
HELEN L HANLON                                 31 SPRINGVALE AVE                                                                             CHELSEA          MA   02150‐1129
HELEN L HARSHMAN                               PO BOX 33                                                                                     CHRISTIANSBRG    OH   45389‐0033
HELEN L HATCHER                                2607 ALGONQUIN PARKWAY                                                                        LOUISVILLE       KY   40210
HELEN L HAYDEN                                 2 CIRCLE C                           ROSELAWN                                                 ORANGE           TX   77630‐4639
HELEN L HEISER                                 3754 DAY ROAD                                                                                 LOCKPORT         NY   14094‐9433
HELEN L HENRY                                  9080 PRESTIGE LN                                                                              GAINESVILLE      GA   30506‐5921
HELEN L HESSLER & DIANNE LOUISE SKIVER JT TEN  4900 11 MILE RD NE                                                                            ROCKFORD         MI   49341‐8477
HELEN L HOWELL                                 P O BOX#57                                                                                    LOAMI            IL   62661‐0057
HELEN L HUFFMAN                                3630 6TH AVE                         APT 101                                                  SAN DIEGO        CA   92103‐4362
HELEN L JENKINS                                715 PINEDALE COURT                                                                            VANDALIA         OH   45377‐1702
HELEN L JETT                                   804 WICKHAM LANE                                                                              COLUMBIA         SC   29229‐6807
HELEN L JOHNSON & EPPIE M JOHNSON JT TEN       91 MARSHALL LANE                                                                              SMITHFIELD       NC   27577‐7957
HELEN L JONES                                  PO BOX 293                                                                                    CLARENCE         NY   14031‐0293
HELEN L JURSCH                                 1414 PERKINS WAY                                                                              SACRAMENTO       CA   95818‐3733
HELEN L KARNS & TED L KARNS JT TEN             9102 MCGREGOR ROAD                                                                            PINCKNEY         MI   48169‐9444
HELEN L KERSTEN                                109 N WALNUT                                                                                  JANESVILLE       WI   53545‐6501
HELEN L KUBICO                                 PO BOX 68                                                                                     REHOBOTH BCH     DE   19971‐0068
HELEN L LAWRENCE                               14974 W ARROWHEAD LN                                                                          NEW BERLIN       WI   53151‐7479
HELEN L LIBECAP                                33 S HILLCREST ROAD                                                                           GERMANTOWN       OH   45327
HELEN L LOVE                                   8801 PRINCE AVE                                                                               LOS ANGELES      CA   90002‐1260
HELEN L MARZ & BARBARA L ROM JT TEN            90 ASTOR AVE                                                                                  ST JAMES         NY   11780‐3022
HELEN L MAYERAN TOD FRANCIS J MAYERAN SUBJECT 6627 COLONIAL                                                                                  DEARBORN HEIGHTS MI   48127‐2150
TO STA TOD RULES
HELEN L MC RAE                                 4460 FAIRWAYS BLVD APT 102                                                                    BRADENTON       FL    34209‐8025
HELEN L MCDERMOTT CUST KATHERINE D MCDERMOTT 2023 KINGSPOINTE DR                                                                             CHESTERFIELD    MO    63005‐4484
UGMA MO
HELEN L MOEHLMAN                               529 TOWNLINE ROAD 151                                                                         NORWALK         OH    44857‐9254
HELEN L MOORE                                  327 COCHRANE ST                      PORT PERRY ON                          L9L 1N1 CANADA
HELEN L MOORE                                  327 COCHRANE STREET                  PORT PERRY ON                          L9L 1N1 CANADA
HELEN L MOTTLA                                 334 SPENCER DRIVE                                                                             AMHERST         MA    01002‐3367
HELEN L MULLIGAN CUST CAMILE F RUTKOWSKY UTMA 2734 STATE HIGHWAY 38                                                                          DRAIN           OR    97435‐9600
CA
HELEN L MULLIGAN CUST JAMIE LEE RUTKOWSKY UTMA 2734 STATE HIGHWAY 38                                                                         DRAIN           OR    97435‐9600
CA
HELEN L NETHERTON                              3119 PORTSMOUTH DR W                                                                          LAFAYETTE       IN    47909‐3235
HELEN L NICOL TR UW IDA A POTZ                 7827 KENTUCKY                                                                                 DEARBORN        MI    48126
HELEN L PATTON                                 8279 WAHRMAN                                                                                  ROMULUS         MI    48174
HELEN L PERRINE & NIKKI L MUNDELL JT TEN       63 CRESTWOOD DR                                                                               MIDDLETOWN      IN    47356‐9318
HELEN L PHILLIPS                               17 GREENLEAF DR                                                                               EXETER          NH    03833‐4532
HELEN L PUTNAM & KATHRYN L REYNOLDS JT TEN     G‐6305 BREWER RD                                                                              FLINT           MI    48507
HELEN L REESE                                  1921 GLENDALE AVE                                                                             SAGINAW         MI    48638‐4063
HELEN L RHOTON                                 770 NE 98TH ST                                                                                MIAMI SHORES    FL    33138‐2531
HELEN L RICHMOND                               2039 STILLMAN ST                                                                              SELMA           CA    93662‐3023
HELEN L RIGIERO                                30005 APPLEWOOD DR                                                                            BAY VILLAGE     OH    44140‐1252
HELEN L RODGERS                                159 PEAR TREE POINT ROAD                                                                      DARIEN          CT    06820‐5820
HELEN L ROLLINS                                3309 S JENKINS DR                                                                             SHEPHERD        MI    48883‐9673
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HELEN L ROYAL                                      6077 WEST WILSON ROAD                                                                         CLIO             MI    48420‐9417
HELEN L SANCHEZ                                    6401 WALROND                                                                                  KANSAS CITY      MO    64132‐1259
HELEN L SCHOCH TOD STEPHANIE L ROBINSON SUBJECT 8285 S M‐52 R#5                                                                                  OWOSSO           MI    48867
TO STA TOD RULES
HELEN L SCOTT                                      1739 PLEASANT VALLEY PLACE                                                                    VAN BUREN        AR    72956‐9300
HELEN L SCOTT                                      2350 N DEWEY AVE                     UNIT 6                                                   REEDSBURG        WI    53959
HELEN L SIDWELL                                    1211 FAVORITE                                                                                 ANDERSON         IN    46013‐1314
HELEN L SMITH                                      HC 73 BOX 930                                                                                 VANCEBURG        KY    41179‐9407
HELEN L SMITH                                      3710 N W 104TH AVE                                                                            CORAL SPRINGS    FL    33065‐2850
HELEN L STATZER                                    908 N STATE HIGHWAY 121                                                                       MT ZION          IL    62549
HELEN L STEIGERWALT                                3417 CHURCH RD                                                                                CHERRY HILL      NJ    08002‐1043
HELEN L STOKES TR UA 09/30/93 HELEN L STOKES TRUST 114 WESTMORE                                                                                  JEFFERSON CITY   MO    65109‐0808

HELEN L SWADLING & BONNIE R BECKWITH JT TEN       6153 OLIVER RD                                                                                 FOSTORIA         MI    48435‐9629

HELEN L TANNENBAUM                                240‐05 WELLER AVENUE                                                                           ROSEDALE         NY    11422
HELEN L TAYLOR & JIMMY B TAYLOR TEN ENT           6434 COLGATE RD                                                                                JACKSONVILLE     FL    32217‐2449
HELEN L TEMPLE                                    6028 PAWNEE DR                                                                                 CINCINNATI       OH    45224‐2312
HELEN L THOMAS                                    2730 GREENLAWN DR                                                                              SEBRING          FL    33872‐4331
HELEN L THOMPSON                                  700 E FAIRPLAINS ST                   APT 16                                                   GREENVILLE       MI    48838‐2813
HELEN L TODD                                      215 HATCHER RD                                                                                 WARNER ROBINS    GA    31088‐2822
HELEN L TOMES                                     6944 E MILAGRO AVE                                                                             MESA             AZ    85209‐6653
HELEN L VEROCK TR UA 11/11/92 HELEN L VEROCK      3825 COUNTY RD #183                                                                            CLYDE            OH    43410‐9512
LIVING TRUST
HELEN L VYHNALEK TR VYHNALEK LIVING TRUST UA      201 PIMLICO PL                                                                                 LYNCHBURG        VA    24503‐3844
02/09/98
HELEN L WAGNER & PHILIP S WAGNER JT TEN           929 MEADOWCREST RD                                                                             LA GRANGE PK     IL    60526‐1530
HELEN L WALTON                                    2216 CARLETON AVENUE                                                                           FORT WORTH       TX    76107‐4264
HELEN L WARNKE                                    1073 GLENDALE AVE NW                                                                           PALM BAY         FL    32907‐9203
HELEN L WELCH & PATRICIA J STIRES JT TEN          22336 VAUGHN RD                                                                                VENETA           OR    97487‐9423
HELEN L WHITAKER                                  PO BOX 851                                                                                     HILLSIDE         IL    60162‐0851
HELEN L WHITE TOD DEBRA A ALEXANDER               9 BROOKHAVEN DR                                                                                TROTWOOD         OH    45426‐3156
HELEN L WILLIAMS & JAMES O WILLIAMS JT TEN        4533 HIDDEN ORCHARD LANE                                                                       INDIANAPOLIS     IN    46228‐3024
HELEN L WRIGHT & GEORGE T WRIGHT JT TEN           3034 RATTALEE LAKE RD                                                                          HOLLY            MI    48442
HELEN L WUTKA                                     C/O STANLEY T WUTKA SR                12058 ROYAL GRAND                                        REDFORD          MI    48239‐2441
HELEN L YOUNG                                     4117 HYLAND DRIVE                                                                              DAYTON           OH    45424
HELEN L ZANIEWSKI                                 7 LONGVIEW TRL                                                                                 CREAM RIDGE      NJ    08514‐2418
HELEN LANDRUM                                     10340 VISCOUNT DR                                                                              ST LOUIS         MO    63136‐5642
HELEN LASKA                                       137 BRUSHY PLAIN RD                                                                            BRANFORD         CT    06405‐6033
HELEN LAZAR & KATHLEEN A LAZAR JT TEN             8220 NORMILE ST                                                                                DETROIT          MI    48204‐3142
HELEN LEATHERWOOD                                 937 S 45TH ST                                                                                  SAN DIEGO        CA    92113‐3458
HELEN LEAVITT & STEPHEN LEAVITT JT TEN            2 QUINT RD                                                                                     REHOBOTH         MA    02769‐2645
HELEN LEE CHRISTENSON                             BOX 547                                                                                        PAWHUSKA         OK    74056‐0547
HELEN LEFKOWITZ                                   2100 N OCEAN BLVD                     APT 1401                                                 FT LAUDERDALE    FL    33305‐1944
HELEN LEITZ TR HELEN LEITZ TRUST UA 12/27/99      23446 FORDSON DR                                                                               DEARBORN         MI    48124‐1401
HELEN LIMBEROPULOS TR UA 02/03/93 THE HELEN       1205 GREEN ACRES LANE                                                                          MOUNT PROSPECT   IL    60056‐4016
LIMBEROPULOS TRUST
HELEN LONG                                        95 BEEKMAN AVE APT 347‐V                                                                       SLEEPY HOLLOW    NY    10591‐2518
HELEN LOUISE BARNETT                              5873 MILLAY COURT                                                                              NORTH FORT MYERS FL    33903‐4524

HELEN LOUISE CONWELL                              3565 BEECHWOOD PL                                                                              RIVERSIDE        CA    92506‐1210
HELEN LOUISE CUTMAN MATEER                        7226 TRICIA LANE                                                                               BOSTON           NY    14025‐9641
HELEN LOUISE LIBERTI                              C/O KAREN L COLE                      2952 SOUTHFIELD DR                                       COLUMBUS         OH    43207‐3228
HELEN LOUISE OLIVER TR HELEN B OLIVER 2004        5 FLEETWOOD CT                                                                                 ORINDA           CA    94563‐4003
REVOCABLE TRUST UA 06/04/04
HELEN LOUISE SMITH                                5637 SE 190TH ST                                                                               ATLANTA          KS    67008‐9327
HELEN LOUISE WISEHART                             538 S STATE RD 234                                                                             SHIRLEY          IN    47384‐9624
HELEN LUCILE PANCHULA                             824 MEADOW DR                                                                                  DAVISON          MI    48423‐1030
HELEN LUCILLE HOPPES                              4744 LAKE ROAD 13 W                                                                            MONTICELLO       IN    47960‐8705
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HELEN LUCILLE KEMPER TR UA 08/16/83 HELEN LUCILLE   6300 W 101ST PL                                                                                 OVERLAND PARK    KS    66212‐1702
KEMPER TRUST
HELEN LYNCH                                         28 COUNTRY CLUB SHORES W                                                                        OGDEN            NY    13669‐5254
HELEN M ADKINS                                      3094 HAROLD DR                                                                                  COLUMBIAVILLE    MI    48421‐8915
HELEN M ALEXANDER                                   PO BOX 9664                                                                                     OAKLAND          CA    94613‐0664
HELEN M ALLEN                                       4369 ISABELLE                                                                                   INKSTER          MI    48141‐2147
HELEN M ALLEN & LIEUTENANT ALLEN JT TEN             4369 ISABELLE                                                                                   INKSTER          MI    48141‐2147
HELEN M ANDERSON TR UA 02/04/91 HELEN M             6229 LA JOLLA MESA DR                                                                           LA JOLLA         CA    92037‐6332
ANDERSON 1991 REVOCABLE TRUST
HELEN M ARNWINE                                     5622 UNIVERSITY AV                     APT 16                                                   SAN DIEGO        CA    92105‐2324
HELEN M AUGELLO                                     22 EAST CREST DRIVE                                                                             ROCHESTER        NY    14606‐4738
HELEN M AZEVEDO                                     2275 HILLSBURY RD                                                                               WESTLAKE VILLAGE CA    91361‐3533

HELEN M BACON TR HELEN M BACON TRUST UA             1500 DOVER HILL S                                                                               WALLED LAKE      MI    48390‐3123
12/10/03
HELEN M BAKER                                       207 CADILLAC CV                                                                                 CEDAR PARK       TX    78613‐3868
HELEN M BALUCK                                      1665 EVERETT ST                                                                                 YOUNGSTOWN       OH    44514‐1019
HELEN M BEACH                                       8140 TOWNSHIP LINE ROAD                APT 5105                                                 INDIANAPOLIS     IN    46260‐5831
HELEN M BEAUSOLEIL                                  2506 GOLD RUSH AVENUE                                                                           HELENA           MT    59601‐5674
HELEN M BENTON                                      211 PAMPAS GRASS COURT                                                                          LAKE MARY        FL    32746‐2511
HELEN M BEVERLY                                     3100 NORTHSIDE PKWY NW                 APT 408                                                  ATLANTA          GA    30327‐1566
HELEN M BINGHAM                                     149 GAGE ST                                                                                     PONTIAC          MI    48342‐1634
HELEN M BLAIR TR HELEN M BLAIR REVOCABLE TRUST      609 WEST QUINCY                                                                                 PITTSBURG        KS    66762‐5691
UA07/09/99
HELEN M BONKOWSKI                                   13849 5TH AVE                                                                                   MARION           MI    49665‐8368
HELEN M BRADLEY                                     2684 BURNHAM RD                                                                                 ROYAL OAK        MI    48073‐3715
HELEN M BRAY                                        851 DOROTHY LN                                                                                  BROOKVILLE       OH    45309‐8689
HELEN M BRENNAN                                     5 EAST HARTSHORN DRIVE                                                                          SHORT HILLS      NJ    07078‐1629
HELEN M BRENNAN & CATHERINE M BRENNAN JT TEN        96 ASSUMPTION AVE                                                                               WORCESTER        MA    01606‐2001

HELEN M BRITTIN TR HELEN MARGARET BRITTIN           333 THOMPSON ST #307                                                                            HENDERSONVILLE   NC    28792‐4805
REVOCABLE TRUST UA 2/16/99
HELEN M BROWN & NANCY JEAN BROWN JT TEN             27 COOLIDGE AVE                                                                                 LEXINGTON        MA    02420‐1803
HELEN M BURDICK                                     10987 RIDGE ROAD                                                                                MEDINA           NY    14103‐9695
HELEN M BUSSARD                                     36650 ROMULUS AVE                                                                               ROMULUS          MI    48174‐3912
HELEN M BUTLER                                      1240 REIDS FERRY RD                                                                             BUCKHEAD         GA    30625‐2401
HELEN M BYRD                                        118 HINTON DR                                                                                   HATTIESBURG      MS    39401‐8405
HELEN M CANFIELD                                    581 PLAZA DEL SOL                                                                               N FT MYERS       FL    33917‐2979
HELEN M CAPUTO & MICHAEL K CAPUTO JT TEN            320 PHEASANT DRIVE                                                                              MIDDLETOWN       DE    19709
HELEN M CARRILLO                                    6912 GRIMES AVE NORTH                                                                           MINNEAPOLIS      MN    55429‐1450
HELEN M CARUSO TR HELEN M CARUSO LIVING TRUST       210 DELAWARE AVE                       APT A                                                    OAKMONT          PA    15139
UA 08/13/03
HELEN M CHESKIEWICZ                                 60 PARK AVE                                                                                     TONAWANDA        NY    14150‐5315
HELEN M CIAL TOD DAVID B CIAL                       9173 VALLEY VIEW RD                                                                             MACEDONIA        OH    44067
HELEN M CLARK                                       50763 CARMEL ACHOR RD                                                                           NEGLEY           OH    44441‐9708
HELEN M COBBS                                       703 REED STREET                                                                                 KALAMAZOO        MI    49001‐2972
HELEN M COLLINS                                     10646 FAULKBER RIDGE CIR                                                                        COLUMBIA         MD    21044‐2233
HELEN M COPELAND                                    10955 E AIRPORT RD                     PO BOX 357                                               ST HELEN         MI    48656‐0357
HELEN M DAUGHERTY                                   242 E 35TH ST                                                                                   ERIE             PA    16504‐1554
HELEN M DAUWALTER                                   186 WOODWARD ST                                                                                 NEWTON           MA    02461‐1341
                                                                                                                                                    HIGHLANDS
HELEN M DAVIS                                  268 S PADDOCK                                                                                        PONTIAC          MI    48342‐3135
HELEN M DECARA                                 2175 SCOTTINGHAM DR                                                                                  DUBLIN           OH    43016‐9083
HELEN M DELAWARE TR DELAWARE TRUST UA 04/28/82 7736 PALM AIRE LN                                                                                    SARASOTA         FL    34243‐3729

HELEN M DILL                                        PO BOX 133                                                                                      HOMOSASSA        FL    34447‐0133
                                                                                                                                                    SPRINGS
HELEN M DUDLEK                                      141 WARFUL DR                                                                                   DELAWARE CITY    DE    19706
HELEN M DUNHAM                                      1000 45TH ST                                                                                    WDM              IA    50266‐4934
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HELEN M DURLAK                                    128 S WOODSTOCK DR                                                                            CHERRY HILL     NJ    08034‐3718
HELEN M EATON TR HELEN M EATON REV TRUST UA       2600 BARRACKS RD                     APT 385                                                  CHARLOTTESVLE   VA    22901‐4219
4/10/00
HELEN M ELLIOTT & JOHN M ELLIOTT JT TEN           3645 N BRODIE STA                                                                             FAYETTEVILLE    AR    72703
HELEN M FAGAN                                     17 PARK PL                                                                                    HERKIMER        NY    13350
HELEN M FIORINA & MORRIS P FIORINA JT TEN         STAR ROUTE BOX 10                                                                             LATROBE         PA    15650
HELEN M FLINT                                     4406 N ELMS RD                                                                                FLUSHING        MI    48433‐1449
HELEN M FLINT TR U‐A WITH HELEN M FLINT 11/3/75   BOX 1960                                                                                      GILLETTE        WY    82717‐1960

HELEN M FORMA                                     248 FLINN RD                                                                                  CORNWALLVILLE   NY    12418‐1705
HELEN M FRANCIS & ROBERT J ERWIN JT TEN           7315 HARRIS                          RAYTON                                                   KANSAS CITY     MO    64133‐6843
HELEN M FREDERICK & ARTHUR C FREDERICK JT TEN     328 LARAMIE DR                                                                                ST CHARLES      MO    63304‐7104

HELEN M FRENCH & MURIEL B FRENCH JT TEN         1220 PARK AVE                                                                                   NEW YORK        NY    10028‐1304
HELEN M GALLEGOS                                39535 LOGAN DR                                                                                  FREMONT         CA    94538‐1214
HELEN M GAYNOR                                  239 ESCOTT ROAD                                                                                 OWOSSO          MI    48867‐9610
HELEN M GENTRY                                  2207 COLFAX                                                                                     EVANSTON        IL    60201‐2501
HELEN M GETTY TOD THOMAS P GETTY SUBJECT TO STA 509 E BIDDLE ST BOX 376                                                                         GORDON          PA    17936
TOD RULES
HELEN M GIANOUDIS & ANNE‐MARIE P GIANOUDIS JT   5561 HEATH ROW DR                                                                               BIRMINGHAM      AL    35242‐3142
TEN
HELEN M GIBA                                    98 UPPER FERRY ROAD                                                                             TRENTON         NJ    08628‐1542
HELEN M GIFFORD & SUSAN B WESTCOTT JT TEN       6669 BIXLER RD                                                                                  BEULAH          MI    49617‐9225
HELEN M GILLARD                                 112 NATIONAL DRIVE                                                                              PITTSBURGH      PA    15236‐4435
HELEN M GODIOS                                  1025 W ERIE ST                                                                                  IRVING          NY    14081
HELEN M GORDON                                  C/O H M BROMLEY                        7009 LARRYLYN DRIVE                                      SPRINGFIELD     VA    22151‐3315
HELEN M GRAGAN                                  PO BOX 154                                                                                      BEL ALTON       MD    20611‐0154
HELEN M GRAY                                    232 CARL                                                                                        BUFFALO         NY    14215‐3733
HELEN M GRAY                                    8230 ELMWOOD AV 408                                                                             SKOKIE          IL    60077‐2996
HELEN M HARGISS & JACK M HARGISS JT TEN         15115 S ELK CREEK ACRES RD                                                                      PINE            CO    80470‐8923
HELEN M HARPER                                  104 OXFORD DRIVE                                                                                GREENVILLE      OH    45331‐2921
HELEN M HILL                                    64 ESSLA DR                                                                                     ROCHESTER       NY    14612‐2208
HELEN M HISS                                    483 MARION ST                                                                                   DENVER          CO    80218‐3929
HELEN M HORRIGAN                                14 DANIEL ST                                                                                    MARSHFIELD      MA    02050‐4230
HELEN M HOUSE                                   4308 E BLUEGRASS DRIVE                                                                          MUNCIE          IN    47303‐9177
HELEN M HUDDLESTON                              PO BOX 1095                                                                                     CRAIGSVILLE     WV    26205‐1095
HELEN M HUESSER                                 18 DELAWARE AVE                                                                                 PENNSVILLE      NJ    08070‐1704
HELEN M HYRNS                                   16700 SHANER AVE                                                                                SAND LAKE       MI    49343‐9460
HELEN M JACKSON                                 33748 S CHICAGO ROAD                                                                            WILMINGTON      IL    60481‐9644
HELEN M JACKSON & GREGORY D JACKSON JT TEN      132 CRESCENT DR                                                                                 DOVER           DE    19904‐4330
HELEN M JANISZEWSKI                             12081 KLINGER                                                                                   HAMTRAMCK       MI    48212‐2754
HELEN M JOHNSON & IRENE NAASKO JT TEN           1551 HOLLAND                                                                                    BIRMINGHAM      MI    48009‐7802
HELEN M JOHNSON & LYN ANN JOHNSON JT TEN        1551 HOLLAND                                                                                    BIRMINGHAM      MI    48009‐7802
HELEN M JONES                                   12900 GUARDIAN BLVD                                                                             CLEVELAND       OH    44135‐2262
HELEN M JONES RHEA                              873 COUNTY ROAD 270                                                                             MICO            TX    78056‐5303
HELEN M KEARNS                                  C/O LYNNE KEARNS                       2540 CHAGRIN DR                                          WILLOUGHBY      OH    44094‐9632
HELEN M KEECK                                   306 SUTTON PLACE                                                                                NORWOOD         NJ    07648‐1547
HELEN M KELSEY                                  30 ROSE ST APT 308                                                                              BRANFORD        CT    06405
HELEN M KERN                                    4522 SEAGULL DR                        APT 812                                                  NEW PRT RCHY    FL    34652‐2089
HELEN M KNOTT                                   2300 E GRAND RIVER AVE                 STE 107                                                  HOWELL          MI    48843‐7584
HELEN M KNOX TR HELEN M KNOX FAM TRUST UA       4113 NW 62ND ST                                                                                 OKLAHOMA CITY   OK    73112‐1350
04/26/95
HELEN M KOESY & JASON D KOESY JT TEN            8425 S W 107 ST                                                                                 MIAMI           FL    33156‐3580
HELEN M KOS & JOSEPH MILAN KOS JT TEN           64 PARISH HILL RD                                                                               NORTH WINDHAM   CT    06256‐1224

HELEN M KRZYWONOS                                 15044 COVENTRY DR                                                                             SOUTHGATE       MI    48195‐2362
HELEN M LANDFEAR                                  105 HIGHRIDGE PLACE                                                                           SYRACUSE        NY    13215‐1519
HELEN M LAWRENCE                                  1600 OAKLAND DR                                                                               MADISON HEIGHTS MI    48071‐2240
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HELEN M LEACH                                     18 W 6TH ST                                                                                   NEW CASTLE      DE    19720‐5069
HELEN M LEDTKE & FREDERICK G LEDTKE JR JT TEN     11823 67TH AVE                                                                                SEMINOLE        FL    33772‐6114

HELEN M LENZ                                      705 W 9TH ST                                                                                  KAUKAUNA        WI    54130‐2653
HELEN M LINNEMAN                                  1104 ORIOLE DR N FRANKLIN AP                                                                  BENSALEM        PA    19020‐4410
HELEN M LIVESEY                                   840 NORTH AVENUE W                                                                            WESTFIELD       NJ    07090‐1436
HELEN M MAGERS                                    7400 YORK AVE S                      APT 304                                                  MINNEAPOLIS     MN    55435‐5631
HELEN M MANCINI                                   117 FAIRFAX BLVD                                                                              WILMINGTON      DE    19803‐3024
HELEN M MARKOWSKI                                 232 N EDWARDS                                                                                 SYRACUSE        NY    13206‐2222
HELEN M MAUK                                      606 MOORSIDE DRIVE                                                                            SAN ANTONIO     TX    78239
HELEN M MC FARLAND                                PO BOX 596                                                                                    LONG LAKE       NY    12847‐0596
HELEN M MC WHIRTER                                260 CAMEO WAY                                                                                 JENSEN BEACH    FL    34957‐5483
HELEN M MCCOOL                                    410 D ISABEL COURT                                                                            EDWARDSVILLE    PA    18704
HELEN M MCDONNELL                                 2290 CATTLEMEN ROAD APT 200                                                                   SARASOTA        FL    34232
HELEN M MCELWAIN                                  1006 N FULTON ST                                                                              BUTLER          MO    64730‐1118
HELEN M MCGARRY                                   PO BOX 366                                                                                    NESKOWIN        OR    97149‐0366
HELEN M MEADOWS                                   15425 MEYER AVE                                                                               ALLEN PARK      MI    48101‐2690
HELEN M MOEHLE                                    1059 BROOKFIELD DRIVE                                                                         MEDINA          OH    44256‐2881
HELEN M MORRISON                                  1168 RAMBIN RD                                                                                STONEWALL       LA    71078‐9303
HELEN M MYNAR TR HELEN M MYNAR TRUST UA           2407 COUNTRY CLUB CT                                                                          DAVISON         MI    48423‐8366
7/24/00
HELEN M NEAR                                      21563 BOURNEMOUTH                                                                             HARPER WOOD     MI    48225‐2328
HELEN M NICHOLS                                   7616 MAPLE DR                                                                                 FLORENCE        WI    54121‐8193
HELEN M NIELSEN & ROBERT K NIELSEN JT TEN         1756 MARLIN RIDGE                                                                             CAMP HILL       PA    17011‐8480
HELEN M NUELLE CUST DEAN V NUELLE UGMA MO         4357 POTOMAC ST                                                                               SAINT LOUIS     MO    63116‐1723

HELEN M OJA                                      1814 TIBURON LN                                                                                BILLINGS        MT    59102‐6571
HELEN M OMANS                                    6311 GRACE K CT                                                                                WATERFORD       MI    48329‐1323
HELEN M OSTER                                    393 ENCHANTED DRIVE                                                                            ANDERSON        IN    46013‐1072
HELEN M OWENS                                    245 HEMPSTEAD RD                                                                               SPRING VALLEY   NY    10977‐1823
HELEN M PARIS                                    10595 NW HIGHWAY A                                                                             APPLETON CITY   MO    64724‐3167
HELEN M PASIONEK                                 2260 SANTA FE ARCH                                                                             VIRGINIA BCH    VA    23456‐6743
HELEN M PETERNELL                                806 BRIDLEWOOD DR                                                                              AKRON           OH    44321‐1502
HELEN M PFEIFFER TOD DOROTHY A BARGER            3670 BELLERIVE BLVD                                                                            ST LOUIS        MO    63116‐3231
HELEN M PIERCE                                   109 LONGVUE RD                                                                                 HARMONY         PA    16037‐9727
HELEN M POECHMAN                                 APT 518                               200 WESTFIELD DRIVE   LONDON ON        N6H 2M4 CANADA
HELEN M POOLE                                    1500 WESTBROOK CT                     APT 4132                                                 RICHMOND        VA    23227‐3376
HELEN M PRENDERGAST                              3768 UPTON ST                                                                                  ST LOUIS        MO    63116‐4039
HELEN M RAMSEY TR HELEN M RAMSEY TRUST UA        4299 LAHRING RD                                                                                LINDEN          MI    48451‐9473
07/18/78
HELEN M RANDLE                                   10621 POLYCRATES PL                                                                            EL PASO         TX    79924‐1816
HELEN M RATALSKY TOD DAVID G RATALSKY SUBJECT TO 27219 NORMA DRIVE                                                                              WARREN          MI    48093‐8318
STA TOD RULES
HELEN M RATHBURN TR HELEN M RATHBURN TRUST UA 6001 S HUSON ST                                                                                   TACOMA          WA    98409‐1225
02/10/95
HELEN M REDIC & SANDRA LEE REDIC ASHBROOK JT TEN 8256 LAMOR ROAD                                                                                MERCER          PA    16137‐3116

HELEN M RODRIGUEZ                                 1130 S WILLIAMS LAKE RD                                                                       WHITE LAKE      MI    48386‐3532
HELEN M ROUSSEL & MICHAEL CROSKEY JT TEN          4101 VASSAR                                                                                   DEARBORN HTS    MI    48125
HELEN M RUCKMAR                                   2520 CORONADO PLACE                                                                           VISTA           CA    92083‐8714
HELEN M RUSH                                      10408 MAUMEE DRIVE                                                                            INDIANAPOLIS    IN    46235‐3407
HELEN M RUSSELL                                   480 S MEADOWBROOK RD                                                                          SPRINGFIELD     IL    62711
HELEN M SCHAEFER                                  13970 EMMA RD                                                                                 HINCKLEY        MN    55037‐4789
HELEN M SCHNITZLER                                6 RUSSELL DR                                                                                  WADING RIVER    NY    11792‐9516
HELEN M SCOTT                                     BOX 26                                                                                        HOOKSTOWN       PA    15050‐0026
HELEN M SCOTT                                     119 DENNIS DR                                                                                 BRICK           NJ    08724‐3705
HELEN M SEIBERT                                   6910 WILLOW TREE LANE                                                                         HUBER HEIGHTS   OH    45424‐2477
HELEN M SHAWLER                                   363 OTTER HAVEN DRIVE                                                                         BRANDENBURG     KY    40108
HELEN M SHEEDLO & TERRENCE M MILLER JT TEN        15641 OPORTO                                                                                  LIVONIA         MI    48154‐6227
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HELEN M SHEPARD                                 8602 VIRGIL ST                                                                                  DEARBORN HEIGHTS MI     48127‐1524

HELEN M SMITH                                   1013 1/2 GROVE AVE                                                                              NIAGARA FALLS     NY    14305‐2456
HELEN M SMITH                                   29654 BARTON                                                                                    GARDEN CITY       MI    48135‐2687
HELEN M SOLOMON                                 8026 S MISSION DRIVE                                                                            FRANKLIN          WI    53132‐2351
HELEN M SPARKS & SANDRA J LAJEUNESSE JT TEN     3085 NORTH GENESEE ROAD                APT 122                                                  FLINT             MI    48506‐2190
HELEN M STAFFORD                                12215 W 63RD TER                                                                                SHAWNEE           KS    66216‐3760
HELEN M STONE                                   12 COTTAGE ST                                                                                   SPENCERPORT       NY    14559‐1208
HELEN M STORER                                  11510 BROOKS RD                                                                                 LENNON            MI    48449‐9642
HELEN M STOTTLEMYER                             125 SARATOGA WAY                                                                                ANDERSON          IN    46013‐4771
HELEN M SUCHNICKI                               506 OAK RD                                                                                      SEAFORD           DE    19973‐2034
HELEN M SWEENEY                                 130 VILLAGE COURT                                                                               WINTER HAVEN      FL    33884‐2618
HELEN M TAGG                                    9130 SLYKER RD                                                                                  OTISVILLE         MI    48463‐9415
HELEN M TAMBE                                   1471 OAKMONTE BLVD                                                                              WEBSTER           NY    14580‐7230
HELEN M THOMAS                                  20962 NORTH MILES                                                                               CLINTON TWSP      MI    48036‐1944
HELEN M TINKER                                  810 W RAILROAD AVE                                                                              PRINCETON         IL    61356‐1162
HELEN M TOBEY                                   7335 BRIDGE WAY W                                                                               WEST BLOOMFIELD   MI    48322‐3531

HELEN M TOTH                                    368 KOERBER DR                                                                                  DEFIANCE          OH    43512‐3318
HELEN M TRACY                                   1118 W CROSS ST APT 211                                                                         ANDERSON          IN    46011
HELEN M VIDMAR TR HELEN M VIDMAR TRUST UA       349 CIRCLEWOOD DR                                                                               VENICE            FL    34293‐7027
10/25/99
HELEN M WAGGONER                                12142 BIRCH RUN RD                                                                              BIRCH RUN        MI     48415‐9428
HELEN M WAGNER                                  69 PIGOTT ROAD                                                                                  MAHOPAC          NY     10541
HELEN M WALLISCH CARREL                         725 SUTHERLAND AVE                                                                              JANESVILLE       WI     53545‐1627
HELEN M WEBB                                    2918 PALESTINE CHURCH RD                                                                        DEXTER           KY     42036‐9449
HELEN M WEBER                                   13 S MARS DR                                                                                    SEWELL           NJ     08080‐2402
HELEN M WEST                                    119 2ND AVE                                                                                     GALLIPOLIS       OH     45631‐1019
HELEN M WHIPPS                                  6213 WATERLOO RD                                                                                ELLICOTT CITY    MD     21043‐7928
HELEN M WHITE                                   1153 LEMPI DR                                                                                   DAVISON          MI     48423‐2880
HELEN M WIGGS                                   3 RICHFIELD WAY                                                                                 HILTON HEAD      SC     29926‐2232
                                                                                                                                                ISLAND
HELEN M WILSON                                  11 W BOULDER ST                                                                                 COLORADO SPRINGS CO     80903‐3368

HELEN M WILSON                                  3015 VINING STREET                                                                              BELLENGHAM       WA     98226‐4276
HELEN M WIMER                                   716 EMERALD WAY W                                                                               DEERFIELD BCH    FL     33442‐8621
HELEN M WIRPSZA                                 1206 OCEAN AVE                                                                                  OCEAN CITY       NJ     08226‐3252
HELEN M WOODS                                   1800 SW OLD SHERIDAN RD B105                                                                    MCMINNVILLE      OR     97128‐8783
HELEN M ZAIDAIN                                 4470 CROSS BOW DR                                                                               DAYTON           OH     45432‐4009
HELEN MAC DERMOTT                               1022 FARMERSVILLE RD                                                                            MT VERNON        IN     47620‐8023
HELEN MAISE                                     4053 FULTON AVE                                                                                 KETTERING        OH     45439‐2119
HELEN MAJOR                                     33470 LONGWOOD DRIVE                                                                            FARMINGTON HILLS MI     48335‐4767

HELEN MAKRIS                                    10840 S KENNETH AVE                                                                             OAK LAWN          IL    60453‐5772
HELEN MANGO COLLINS                             1353 PEACH PL                                                                                   CONCORD           CA    94518‐3723
HELEN MANTZ & CARL R MANTZ JT TEN               319 4TH ST                                                                                      ELLWOOD CITY      PA    16117‐1901
HELEN MANTZ & JAMES A MANTZ & KIMBERLY S        319 4TH ST                                                                                      ELLWOOD CITY      PA    16117‐1901
GIBBONS JT TEN
HELEN MARGUERITE HAMMOND                        UNIT 2                                 173 HANCOCK STREET                                       CAMBRIDGE         MA    02139‐1736
HELEN MARIE BARRETT TR HELEN MARIE BARRETT      24 RUSFIELD DR                                                                                  GLENMONT          NY    12077‐3234
REVOCABLE TRUST UA 09/29/00
HELEN MARIE BONIFACE DUNCAN                     2213 EDGEFIELD RD                                                                               SPARTANBURG       SC    29302‐3422
HELEN MARIE FETTE                               24520 ELDRIDGE BLVD                                                                             BEDFORD HEIGHTS   OH    44146‐4014

HELEN MARIE HARRIS ROSSNEY & JOSEPH B ROSSNEY JR 4007 SLOANWOOD DRIVE                                                                           MURRAYSVILLE      PA    15668‐1043
JT TEN
HELEN MARIE KINSEY EX UW MARY ELLEN TRAINOR      184 HIGHLAND ST                                                                                MILFORD           MA    01757

HELEN MARIE KROMER                              PSC 103 BOX 3043                                                                                APO               AE    09603
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HELEN MARIE LASKER                                 20 LONGWOOD DR                        APT 174                                                  WESTWOOD          MA    02090‐1149
HELEN MARIE MACKEY                                 6000 HOLT RD                          UNIT 4                                                   WILLIAMSBURG      MI    49690‐9302
HELEN MARIE PLESHER                                9 CREAMER DR                                                                                   SAYREVILLE        NJ    08872‐1955
HELEN MARIE STASZAK TR HELEN M STASZAK TRUST       16001 ALEXANDRIA DR                                                                            TINLEY PARK       IL    60477‐6336
09/18/85
HELEN MARIE ZELEK                                  1301 HEATHER RD                                                                                HOMEWOOD          IL    60430‐3840
HELEN MARIELANTZ                                   5782 ANDREWS RD                       APT H 108                                                MENTOR ON THE     OH    44060‐2678
                                                                                                                                                  LAKE
HELEN MARY SELECKY                                 C/O JULIANA SEMPLE                    28 W MAIN ST                                             GLEN LYON         PA    18617‐1227
HELEN MATILDA AULT                                 11217 DONKEY FLAT                                                                              HELOTES           TX    78023‐4229
HELEN MATTES                                       441 EAST 20TH STREET                  APT 10H                                                  NEW YORK          NY    10010‐7515
HELEN MAURELLA                                     612 ROSE INN AVE                                                                               NAZARETH          PA    18064‐9155
HELEN MAURIELLO TR UA 05/23/86 HELEN MAURIELLO     15521 HORNELL ST                                                                               WHITTIER          CA    90604
LIVING FAMILY TRUST
HELEN MAXINE MILLER                                414 CHESTER                                                                                    DANVILLE          IL    61832‐1547
HELEN MAY HAMS                                     135 OAK STREET                                                                                 WEEHAWKEN         NJ    07086‐5609
HELEN MAYBERGER & DANIEL C MAYBERGER JT TEN        259‐07 148 RD                                                                                  ROSEDALE          NY    11422‐2903

HELEN MC CONNELL CUST MARK MC CONNELL UGMA         67 PINE ST                                                                                     PRESQUE ISLE      ME    04769‐2939
ME
HELEN MC GREGOR                                    1278 STATE HWY 67                                                                              JOHNSTOWN         NY    12095‐4317
HELEN MC INTOSH                                    848 HAWTHORNE DR                                                                               CINCINNATI        OH    45245‐1830
HELEN MC K SPROAT                                  PO BOX 185                                                                                     SPRINGBORO        OH    45066‐0185
HELEN MC NABB                                      1417 MAYER RD                                                                                  SAINT CLAIR       MI    48079‐2215
HELEN MCBRIDE‐LAWSON                               1274 S 700W                                                                                    SWAYZEE           IN    46986‐9765
HELEN MCCLELLAN                                    253 MEADOW CIRCLE N                                                                            WIXOM             MI    48393‐4019
HELEN MCCONER                                      1621 OLD TOWN S E                                                                              GRAND RAPIDS      MI    49508‐2644
HELEN MCGUIGAN & REGINALD AL MCGUIGAN JT TEN       188 PARKDALE                                                                                   PONTIAC           MI    48340‐2550

HELEN MCKEE                                        46038 PICKFORD COURT                                                                           NORTHVILLE        MI    48167‐3536
HELEN MELVIN & MARTHA JEAN PATTON JT TEN           245 W OAKS CIRCLE                                                                              SULPHUR SPRINGS   TX    75482‐3725

HELEN MENARIK TR HELEN MENARIK TRUST UA            6729 N JEAN AVE                                                                                CHICAGO           IL    60646‐1302
12/01/94
HELEN MILDRED HUNGATE                              PO BOX 1                                                                                       CAVETOWN          MD    21720‐0001
HELEN MILDRED SOPOLIGA                             130 BLOSSOM HEATH BLVD                                                                         ST CLAIR SHORES   MI    48080‐1369
HELEN MILLER                                       12182 GARNET CIRCLE                                                                            GARDEN GROVE      CA    92845
HELEN MILLER & JAMES C MILLER & DEBORAH L MILLER   2851 OMAR ST                                                                                   PORT HURON        MI    48060‐2960
JT TEN
HELEN MIROWSKI                                     23110 OAK                                                                                      DEARBORN          MI    48128‐1382
HELEN MOORE CUST JONAH FRANK MOORE UTMA CA         9011 SKYLINE BLVD                                                                              OAKLAND           CA    94611‐1750

HELEN MORLEY WOODRUFF                              103 N DIVISION ST                                                                              FLORA           IN      46929‐1014
HELEN MOROZ                                        100 ROCKVIEW TERRACE                                                                           ROCHESTER       NY      14606‐1915
HELEN MOSCZYNSKI & SHARON WORYN JT TEN             1767 ELECTRIC                                                                                  WYANDOTTE       MI      48192‐7219
HELEN MOY                                          6534 W GUNNISON                                                                                HARWOOD HEIGHTS IL      60706‐4056

HELEN MUDEL                                        27420 PARKVIEW APT 0311                                                                        WARREN            MI    48092‐2913
HELEN MUHLFELDER MANN                              BEVERWYCK                             1 HICKORY DRIVE                                          SLINGERLANDS      NY    12159‐9350
HELEN N BOSKOVICH & EDWARD C BOSKOVICH JT TEN      49707 JEFFERSON COURT                                                                          SHELBY TOWNSHIP   MI    48315‐3951

HELEN N DRAKE TR HELEN N DRAKE TRUST UA 03/07/96 122 ARGALL TOWN LANE                                                                             WILLIAMSBURG      VA    23185‐1402

HELEN N GOTHAM                                     2711 CHURCHHILL LN                                                                             SAGINAW           MI    48603‐2677
HELEN N HARPER                                     3722 CRAVEN CIRCLE                                                                             NORFOLK           VA    23513‐3434
HELEN N KALAKIS                                    3321 N OSAGE                                                                                   CHICAGO           IL    60634‐2952
HELEN N KNOX                                       4320 W 100TH ST                                                                                OAK LAWN          IL    60453‐3520
HELEN N MURRAY                                     2800 E HILL DR                                                                                 ROCK FALLS        IL    61071‐2064
HELEN N PERRY                                      BOX 306                                                                                        ROCKDALE          TX    76567‐0306
                                            09-50026-mg                   Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                                Address2             Address3          Address4          City              State Zip

HELEN N SMITH                                    100 ROWELAND AVE                                                                                 DELMAR            NY    12054‐3913
HELEN N TURNEY                                   1300 PHILADELPHIA DRIVE                                                                          DAYTON            OH    45406‐4641
HELEN N WASHBURN                                 213 VALE RD                                                                                      BEL AIR           MD    21014‐2305
HELEN N YOUNG TR HELEN N YOUNG LIVING TRUST UA   843 YOUNG AVE                                                                                    ROCK SPRINGS      WY    82901‐7264
01/14/97
HELEN NAYLOR TR HELEN NAYLOR TRUST UA 01/05/96   439 SOUTH ST                                                                                     HYANNIS           MA    02601‐5430

HELEN NIGHTINGALE                                5 DAVIS PLACE                                                                                    LATHAM            NY    12110‐1181
HELEN NOWLIN MCKEE                               2880 VIA NAPOLI                                                                                  DEERFIELD BEACH   FL    33442‐8630
HELEN O DARNELL TR HELEN O DARNELL REVOCABLE     8404 LOLA AVE                                                                                    STANTON           CA    90680‐1713
TRUST UA 04/13/00
HELEN O HOLMES & JOANNE C NALL JT TEN            37708 HOLLYHEAD                                                                                  FARMINGTON HILLS MI     48331‐1716

HELEN O MCBRIDE                                  7150 NICOLE DR                                                                                   SOUTH BRANCH      MI    48761‐9619
HELEN O VALLAD                                   4935 HADLEY RD                                                                                   GOODRICH          MI    48438‐9606
HELEN O WIEDERHOLD                               602 MCLENDON                                                                                     SOMERVILLE        TX    77879
HELEN O'SHAUGHNESSY                              742 COCHRAN ST                                                                                   SEWICKLEY         PA    15143‐1623
HELEN OLA                                        12991 SE 75TH ST                                                                                 MORRISTON         FL    32668‐5077
HELEN OPALEWSKI TR UA 03/22/2006 HELEN           48415 BINGHAMPTON DR                                                                             NORTHVILLE        MI    48168‐9649
OPALEWSKI LIVING TRUST
HELEN ORR DALEY                                  13 DOUGLAS TERRACE                                                                               N PROVIDENCE      RI    02904
HELEN OSULLIVAN                                  99 SEMINOLE AVE                                                                                  LAKE HIAWATHA     NJ    07034‐2804
HELEN P ABBOTT & WILLIAM L ABBOTT JT TEN         1400 N RIO AROS                                                                                  GREEN VALLEY      AZ    85614‐3924
HELEN P ARKIN                                    10 BUNDY PARK DRIVE                                                                              SAVANNAH          GA    31406‐4830
HELEN P BENIC TR THOMAS BENIC FAMILY TRUST UA    3701 NORTHAMPTON ROAD                                                                            CUYAHOGA FALLS    OH    44223‐2931
09/18/00
HELEN P BOMMER                                   421 LEYDECKER RD                                                                                 BUFFALO           NY    14224‐3753
HELEN P CIACH                                    306 CLEVELAND AVE                                                                                WILMINGTON        DE    19803‐2571
HELEN P DAVIS                                    7313 THORN HILL DRIVE                                                                            O FALLON          MO    63366‐8246
HELEN P DOTY                                     151 CHANNEL CT                                                                                   HOUGHTON LAKE     MI    48629‐9318
HELEN P FERRADINO                                1353 CHURCHILL HUBBARD RD               APT 319                                                  YOUNGSTOWN        OH    44505‐1384
HELEN P GRUBER                                   2400 HALLIE MILL RD                                                                              COLLEGE PARK      GA    30349‐4908
HELEN P JOLY                                     2807 CADMUS COURT                                                                                WESTLAND          MI    48186‐5401
HELEN P JOLY & GUSTAVE D JOLY JT TEN             2807 CADMUS COURT                                                                                WESTLAND          MI    48186‐5401
HELEN P LYSTRA                                   527 LAFAYETTE                                                                                    GRAND HAVEN       MI    49417‐1450
HELEN P MACKEY                                   3250 CHANATE RD                         APT 303                                                  SANTA ROSA        CA    95404‐1760
HELEN P MARQUEZ                                  800 THOMAS ST                                                                                    WOODLAND          CA    95776‐4253
HELEN P MOCKEY                                   199 MEADOWOOD CT                                                                                 SANTA ROSA        CA    95409‐2723
HELEN P NICKISON                                 111 W 41 ST                                                                                      HIALEAH           FL    33012‐4435
HELEN P NOWOTARSKI & MARK L NOWOTARSKI JT TEN    5096 PRESCOTT                                                                                    DETROIT           MI    48212‐3118

HELEN P ORANDER                                    165 MURPHY ROAD                                                                                COLLINSVILLE      VA    24078‐1909
HELEN P POPP                                       2692 BARTHAS PL                                                                                CINCINNATI        OH    45234
HELEN P SHELEY                                     42 CLAY TILLMAN RD                                                                             HILLSBORO         GA    31038‐3720
HELEN P SINGER TR UA 03/31/92 HELEN P SINGER INTER PO BOX 2250                                                                                    BAY CITY          MI    48707
VIVOS TRUST
HELEN P STOJANOVIC                                 3852 HENLEY DR                                                                                 PITTSBURGH        PA    15235
HELEN P STRIFFLER                                  816 E HIGH ST                         APT H                                                    LOCKPORT          NY    14094‐4797
HELEN P WIENER & ROSA D WIENER JT TEN              204 6TH ST SE                                                                                  WASHINGTON        DC    20003‐1134
HELEN PALICA TR JOSEPH & HELEN PALICA TRUST UA     3621 MONO PL                                                                                   DAVIS             CA    95618‐6046
11/2/92
HELEN PANTAZAKOS                                   2164 BROAD HEAD PL                                                                             LEXINGTON         KY    40515‐1124
HELEN PAPROCKI                                     1232 WATERBROOK XING                                                                           WEBSTER           NY    14580‐9486
HELEN PARAS                                        633 ROBINSON TERRACE                                                                           UNION             NJ    07083‐7320
HELEN PARIZA                                       1935 TAMARA TRAIL                     #2D                                                      VERO BEACH        FL    32966
HELEN PARKER                                       51 E IROQUOIS RD                                                                               PONTIAC           MI    48341‐2016
HELEN PATAKY CUST CHRISTOPHER PATAKY UTMA NY       62 27 60TH AVE                                                                                 MASPETH           NY    11378‐3424

HELEN PATRICIA JACKSON                           8328 BLOWING ROCK RD                                                                             ALEXANDRIA        VA    22309‐2112
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HELEN PATRONIS CUST JENNIFER E PATRONIS UTMA OH 8209 BAYTHORNE DR                                                                                       MENTOR          OH    44060

HELEN PECK                                        3063 OLD FARM RD                                                                                      FLINT           MI    48507‐1209
HELEN PICKERING                                   3026 S RITA WY                                                                                        SANTA ANA       CA    92704‐6735
HELEN PIDOTO                                      23 MINNEWASKA TRL                                                                                     KERHONKSON      NY    12446‐3648
HELEN PIRRAMI                                     109 S TRANSIT HILL DRIVE                                                                              DEPEW           NY    14043‐4809
HELEN PLACE POWELL                                86 BURDICK AVE                                                                                        JOHNSON CITY    NY    13790‐2839
HELEN PLISEK                                      C/O CROOK                             3506 UTOPIA PARKWAY APT E3                                      FLUSHING        NY    11358‐2340
HELEN PODGORSKI                                   22526 HILL                                                                                            WARREN          MI    48091‐3698
HELEN POLITOWSKI                                  39475 BELLA VISTA                                                                                     STERLING HGTS   MI    48313‐5217
HELEN PORTEOUS & CHRISTINE A CLARY & LAURA I SAID 1902 COLCHESTER                                                                                       FLINT           MI    48503‐4630
JT TEN
HELEN POWELL                                      86 BURDICK AVE                                                                                        JOHNSON CITY    NY    13790‐2839
HELEN POWERS & ROBERT POWERS JT TEN               26 CRANE AVE                                                                                          SLEEPY HOLLOW   NY    10591‐1904
HELEN PURSE                                       20148 NORTHROP                                                                                        DETROIT         MI    48219‐1291
HELEN PURVIS VIATOR                               804 OAK GROVE RD                                                                                      TUPELO          MS    38804
HELEN PUSCHMAN                                    87 HOBART AVE                                                                                         RUTHERFORD      NJ    07070‐1427
HELEN QUICKSELL                                   1413 WILLIAMSBURG LN                                                                                  MONROE          NC    28110‐8103
HELEN R AGNELLO                                   4800 LIBERTY SCHOOL ROAD                                                                              HILLSBORO       MO    63050‐4805
HELEN R BENNETT                                   3 MARION LANE                                                                                         EAST HAMPTON    NY    11937‐5193
HELEN R BRETT                                     18864 MILLAR                                                                                          CLINTON TWSP    MI    48036‐2097
HELEN R BROWN & ARTHEL BROWN III JT TEN           317 CORNING DRIVE                                                                                     BRATENAHL       OH    44108‐1013
HELEN R CANZONETTA                                3912 BELLWOOD DR S E                                                                                  WARREN          OH    44484‐2941
HELEN R CLAY & DARRELL K CLAY JT TEN              29412 LINDSAY DR                                                                                      PERRYSBURG      OH    43551‐6405
HELEN R CLEMENT                                   1140 N CASS LAKE ROAD                                                                                 WATERFORD       MI    48328‐1312
HELEN R DE NOYER                                  1707 WEST BROOKSIDE DR                                                                                WEST BRANCH     MI    48661‐9502
HELEN R DODERER                                   539 B 2 BEACONS COURT                                                                                 BENSALEM        PA    19022
HELEN R DOSS                                      8801 ROBERTS RD                                                                                       GREGORY         MI    48137‐9528
HELEN R DOSS & ARDYTH L DAVISON JT TEN            8801 ROBERTS ROAD                                                                                     GREGORY         MI    48137
HELEN R DVORAK TR HELEN R DVORAK TRUST UA         137 SOUTH HILLS DR                    TOWER LAKES                                                     BARRINGTON      IL    60010‐1300
9/14/82
HELEN R FORBES                                    341 WILBUR ST SE                                                                                      WYOMING         MI    49548‐3330
HELEN R GERNER                                    31169 WELLSTON                                                                                        WARREN          MI    48093‐1753
HELEN R HAHN & LINDA L ARCH JT TEN                931 TURNER QUAY                                                                                       JUPITER         FL    33458‐4339
HELEN R HAYES                                     4800 LIBERTY SCHOOL ROAD                                                                              HILLSBORO       MO    63050‐4805
HELEN R HILL                                      APT 117                               4740 BRADLEY BLVD                                               CHEVY CHASE     MD    20815‐6337
HELEN R HORNE                                     304 RENNIE DRIVE                                                                                      PITTSBURGH      PA    15236‐4112
HELEN R HOWE                                      33 GROVE ST RD 1                                                                                      RENSSELAER      NY    12144‐9709
HELEN R HYMORE                                    2050 WILSHIRE                                                                                         TOLEDO          OH    43614‐3844
HELEN R KENT TR HELEN KENT TRUST UA 03/11/99      9906 EMIL AVE                                                                                         ST LOUIS        MO    63126‐3209

HELEN R KIBLER                                   1515 ‐ 170 CHERRYHILL CIR              LONDON ON                               N6H 2M1 CANADA
HELEN R LA FOLLETTE SCOTT CUST IAN EDWARD LA     P O BOX 202                                                                                            OYSTERVILLE     WA    98641‐0202
FOLLETTE UGMA SC
HELEN R LAZAR & MISS JUNE H LAZAR JT TEN         5445 FERNWOOD DR                                                                                       FLINT           MI    48532‐2117
HELEN R LEITCH                                   61 TREFOIL AVENUE                      SHAWLANDS                    GLASGOW    G41 3PB GREAT BRITAIN
HELEN R LOUGHREY TOD DEBBIE L CONNELLY SUBJECT   202 WOODINGHAM TR                                                                                      VENICE          FL    34292
TO STA TOD RULES
HELEN R MCCOURY                                  276 OLD WATAUGA RD                                                                                     ELIZABETHON     TN    37643‐6681
HELEN R MILES                                    PO BOX 7514                                                                                            LONGVIEW        TX    75607‐7514
HELEN R MITCHELL                                 PO BOX 80155                                                                                           ROCHESTER       MI    48308‐0155
HELEN R OKON                                     2017 MICHIGAN AVE                                                                                      BAY CITY        MI    48708‐8456
HELEN R PATHE & JOHN J PATHE JT TEN              7323 HERITAGE CT                                                                                       FRANKFORT       IL    60423‐9532
HELEN R PETERSON & JUDITH A HOGAN JT TEN         104 MALTON RD                          # 19                                                            NEGAUNEE        MI    49866‐2000
HELEN R PETERSON & MARCIA L SCHULTZ JT TEN       104 MALTON RD                          # 19                                                            NEGAUNEE        MI    49866‐2000
HELEN R PETERSON & MARYELLEN FLADT JT TEN        104 MALTON RD                          # 19                                                            NEGAUNEE        MI    49866‐2000
HELEN R SCHATOW                                  2136 S LONG LAKE ROAD                                                                                  FENTON          MI    48430
HELEN R SCHIRADO TR HELEN R SCHIRADO TRUST UA    2338 LYONS AVE                                                                                         LANSING         MI    48910‐3362
06/20/00
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HELEN R SMITH                                      380 LILY STREET                                                                                 N HUNTINGDON    PA    15642
HELEN R STELLMACH                                  55 WALDO                                                                                        PONTIAC         MI    48341‐1227
HELEN R STEVENS & SHEILA K HOYT & R DENEEN         12089 SCHONBORN                                                                                 CLIO            MI    48420‐2145
MUNERANCE JT TEN
HELEN R STOKAS TOD JAMES C STOKAS SUBJECT TO STA   4292 PINEWOOD DR                                                                                ROSCOMMON       MI    48653
TOD RULES
HELEN R STREU                                      4299 KINDE RD                                                                                   PORT HOPE       MI    48468‐9736
HELEN R SUMAN TR HELEN R SUMAN FAM TRUST UA        1084 E RITZ CT                                                                                  ORO VALLEY      AZ    85755
05/26/99
HELEN R SUPONCIC                                   137 VINE ST                                                                                     FOREST CITY     PA    18421‐1263
HELEN R SURACE                                     14214 PRESTEIGN LN                                                                              SPRING HILL     FL    34609‐0855
HELEN R TURNER                                     G1353 E DOWNEY AVE                                                                              FLINT           MI    48505
HELEN R WALTERHOUSE TR UA 08/27/85 THE HELEN R     9358 VARODELL DR                                                                                DAVISON         MI    48423‐8608
WALTERHOUSE TRUST
HELEN R WILK                                       15909 DREXEL                                                                                    SOUTH HOLLAND   IL    60473‐1637
HELEN R WILLIAMS                                   413 OLD MILL DR                                                                                 FLUSHING        MI    48433‐2133
HELEN R WYNN                                       3186 BIG RIDGE RD                                                                               SPENCERPORT     NY    14559‐9509
HELEN R ZELENUK                                    2411 CLOVERDALE                                                                                 ARLINGTON       TX    76010
HELEN RAMSEY                                       2836 FOREST RD                                                                                  LANSING         MI    48910‐3783
HELEN REESE                                        373 CANNERY RD                                                                                  SOMERSET        PA    15501‐2809
HELEN RENEE PUCHALL                                170 PEACH DRIVE                                                                                 ROSLYN          NY    11576‐2219
HELEN RIGO                                         1406 WEST ST                                                                                    UNION CITY      NJ    07087‐3203
HELEN ROBERTS                                      18 FENTON AVE                                                                                   WOLCOTT         CT    06716‐3204
HELEN ROBERTSON                                    102 JESTEOS LN                                                                                  WILLIAMSBURG    VA    23188‐7800
HELEN RODRIGUEZ                                    15271 THOMAS AVE                                                                                ALLEN PARK      MI    48101
HELEN ROGERS                                       1671 NC HIGHWAY 11 55                                                                           KINSTON         NC    28504‐4754
HELEN ROSS & RONALD J ROSS JT TEN                  6346 ATTICA RD                                                                                  IMLAY CITY      MI    48444‐9639
HELEN ROWE                                         123 N 10TH ST                                                                                   OLEAN           NY    14760‐2101
HELEN RUNCHEY DE LUDE & DOROTHY ANN STORCH JT      3970 KLAIS DR                                                                                   CLARKSTON       MI    48348‐2362
TEN
HELEN RUNDELL PRICHARD                             333 W MAIN ST APT 108                                                                           MADISON         WI    53703‐2778
HELEN RUSCH                                        1738 TIFFEN RD                                                                                  FREMONT         OH    43420‐3630
HELEN RUSCHAU                                      3627 CLEVELAND AVE                                                                              DAYTON          OH    45410‐3203
HELEN RUTH MADISON                                 7119 E PIERSON RD                                                                               DAVISON         MI    48423‐8977
HELEN RYKTARSYK                                    6911 AMBOY ST                                                                                   DEARBORN HTS    MI    48127‐1993
HELEN S AUSTIN                                     PO BOX 719                                                                                      WILLIAMSBURG    KY    40769‐0719
HELEN S BAGINSKI                                   119 LYDELL ST                                                                                   SYRACUSE        NY    13204‐3443
HELEN S BAILEY                                     C/O HULL                               9624 LADINO LANE                                         RICHMOND        VA    23236‐1404
HELEN S BALLIET                                    227 PARISH AVENUE                                                                               HUBBARD         OH    44425‐1956
HELEN S BARKALOW                                   12 E VERNON AVE                                                                                 NORTHFIELD      NJ    08225‐2460
HELEN S BATES                                      PO BOX 103                                                                                      KENTWOOD        LA    70444‐0103
HELEN S BINGHAM                                    107 HEMLOCK DR                                                                                  LEXINGTON       NC    27292‐4855
HELEN S BLADE & CONSTANCE B SCHLESINGER JT TEN     425 DAVIS ST                           UNIT 817                                                 EVANSTON        IL    60201‐4823

HELEN S BLADE & KENNETH A BLADE JT TEN        425 DAVIS ST                                UNIT 817                                                 EVANSTON        IL    60201‐4823
HELEN S BRENSINGER                            28 S LINCOLN ST                                                                                      CLEONA          PA    17042‐3244
HELEN S BRODEUR CUST MARIA ELENA BRODEUR UTMA PO BOX 80010                                                                                         ALBUQUERQUE     NM    87198‐0010
NM
HELEN S DAGATI                                1313 SURREY POINT DR SE                                                                              WARREN          OH    44484‐2856
HELEN S DIXON                                 PO BOX 48                                                                                            HEATERS         WV    26627‐0048
HELEN S FONG                                  4070 BACON AVENUE                                                                                    BERKLEY         MI    48072‐1106
HELEN S FORREY                                325 WESLEY DR 3330                                                                                   MECHANICSBURG   PA    17055
HELEN S FOSTER                                118 FLORA MCDONALD LANE                                                                              CARY            NC    27511‐5412
HELEN S FREDERICK                             918 NORTH GREECE RD                                                                                  ROCHESTER       NY    14626‐1030
HELEN S GAZDA                                 514 PARK ST                                                                                          TAYLOR          PA    18517‐1830
HELEN S GREGOSKY                              424 N MARSHALL RD                                                                                    MIDDLETOWN      OH    45042‐3828
HELEN S HOUK                                  4903 FURY WAY                                                                                        LOUISVILLE      KY    40258‐1441
HELEN S JOHNSTON                              211 GLENDALE RD                                                                                      WALLINGFORD     PA    19086
HELEN S KALIVAS                               93 FAIRWAY DR                                                                                        WEST NEWTON     MA    02465‐1737
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Name                                                Address1                               Address2             Address3          Address4          City               State Zip

HELEN S KAUFFMAN                                    PO BOX 46047                                                                                    MIDDLE BASS        OH    43446‐0047
HELEN S KOPECHNY                                    15000 SW FARMINGTON RD APT 37                                                                   BEAVERTON          OR    97007‐2767
HELEN S KOVALCIK                                    23137 BROOKDALE                                                                                 ST CLAIR SHORES    MI    48082‐1135
HELEN S LESARTRE                                    11900 BARRYKNOLL LN                    APT 8205                                                 HOUSTON            TX    77024‐4374
HELEN S LUKAS                                       3655 W LAKE MARY BLVD                  # 122                                                    LAKE MARY          FL    32746‐3497
HELEN S MIDLER EX EST JOSEPH M MIDLER               ONE NORTH BROADWAY 1004                                                                         WHITE PLAINS       NY    10601
HELEN S MINISSALE                                   51 CHESTNUT ST                                                                                  RAMSEY             NJ    07446‐1503
HELEN S MOORADKANIAN                                54 3RD ST                              N ANDOVER                                                NORTH ANDOVER      MA    01845
HELEN S OSIADLO                                     66 GROTE STREET                                                                                 BUFFALO            NY    14207‐2418
HELEN S PATRIK                                      8717 S FRANCISCO AV                                                                             EVERGREEN PARK     IL    60805‐1045
HELEN S RAFANIELLO                                  815 STAFFORD AVE                       APT C10                                                  BRISTOL            CT    06010‐3854
HELEN S ROBINSON                                    3328 UNIVERSITY BLVD E                                                                          TUSCALOOSA         AL    35404‐4340
HELEN S SADLER TR HELEN S SADLER TRUST UA 8/19/97   1718 EDWARDS DR                                                                                 WOOSTER            OH    44691‐1923

HELEN S SCHMIDT                                     4269 SEVEN HILLS RD                                                                             CASTRO VALLEY      CA    94546
HELEN S SISKOSKY & JAMES A SISKOSKY JT TEN          74 HAMPSHIRE DR                                                                                 TROY               MI    48085‐3227
HELEN S STAHLEY                                     8510 MOHR LANE                                                                                  FOGLESVILLE        PA    18051‐1923
HELEN S STANCZAK                                    5145 LEWIS DR                                                                                   STERLING HEIGHTS   MI    48310‐4662

HELEN S STROLLE                                     531 BARRY DRIVE                                                                                 SPRINGFIELD        PA    19064‐1501
HELEN S STYLIANOU                                   7337 BURGUNDY DR                                                                                CANTON TWP         MI    48187‐1413
HELEN S SUBLETT                                     135 N HUNTER FORGE RD                                                                           NEWARK             DE    19713‐1108
HELEN S SUM CUST MICHAEL J SUM UTMA IL              6244 W EASTWOOD                                                                                 CHICAGO            IL    60630‐3032
HELEN S TIVERS TR UA 06/27/1996 HELEN S TIVERS      4024 MILLER DR                                                                                  GLENVIEW           IL    60026
REVOCABLE TRUST
HELEN S WALLACE                                     701 W CHICAGO AVE                                                                               HINSDALE           IL    60521‐3034
HELEN S YONAN & MARGARET A YONAN JT TEN             3206 GREENLEAF BLVD                                                                             KALAMAZOO          MI    49008‐2515
HELEN S ZIELKE                                      1687 FLINT RD                                                                                   SAINT HELEN        MI    48656‐9423
HELEN SANFILIPPO                                    314 WOODLAND TRL                                                                                E STROUDSBURG      PA    18302‐9414
HELEN SARASKY                                       7395 N DEVON DR                                                                                 TAMARAC            FL    33321
HELEN SARRA                                         315 EAST 24TH STREET                                                                            PATERSON           NJ    07514‐2205
HELEN SARRAT SCHINDLER                              110 IVY DRIVE                                                                                   COVINGTON          LA    70433‐5309
HELEN SCHAEDEL & JOHN KHOMA JT TEN                  1970 W RIDGEWOOD DR                                                                             PARMA              OH    44134‐4823
HELEN SCHULMAN CUST MICHAEL SCHULMAN UGMA           267 SCHOOL ST                                                                                   WEST HEMPSTEAD     NY    11552‐2438
NY
HELEN SCHULTZ                                       3095 BIRCHWOOD TRAIL                                                                            ROGERS CITY        MI    49779‐9550
HELEN SCHULTZ                                       18 LAKEWOOD DRIVE                                                                               DALY CITY          CA    94015‐3447
HELEN SEARS                                         27 N COOK ST                                                                                    PLANO              IL    60545‐1462
HELEN SEKULA                                        2281 LINDA DRIVE                                                                                WARREN             OH    44485‐1704
HELEN SEVILLA                                       19350 MARTINSVILLE RD                                                                           BELLEVILLE         MI    48111‐8704
HELEN SHAUGHNESSY                                   ATTN HELEN E WAGNER                    744 OAKVIEW DR                                           BRADENTON          FL    34210‐4612
HELEN SHEKO                                         36500 MARQUETTE ST APT 503                                                                      WESTLAND           MI    48185‐3244
HELEN SHER TR UA 07/21/92 HELEN SHER TRUST          6301 N SHERIDAN                        APT 8M                                                   CHICAGO            IL    60660‐1719
HELEN SHIBUYA                                       PO BOX 276                                                                                      WAILUKU            HI    96793‐0276
HELEN SHUPENKO                                      C/O H S LOWRY                          427 PINE LAKE        EAST 8                              PEMBROKE           NC    28372‐9664
HELEN SIKORSKAS HITCHCOCK                           PO BOX 359                                                                                      ALLEGAN            MI    49010‐0359
HELEN SLINKARD                                      542 LANDER ST                                                                                   RENO               NV    89509‐1511
HELEN SOLOBAY                                       184 HANNAHSTOWN ROAD                                                                            BUTLER             PA    16002‐9028
HELEN SOLOMINSKY                                    607 CENTER AVE                                                                                  CARNEGIE           PA    15106‐1803
HELEN SOSIC & JANICE ST JOHN & ALAN SOSIC & MIKE    28801 JOHNSON DRIVE                                                                             WICKLIFFE          OH    44092‐2653
SOSIC JT TEN
HELEN SOSINSKI                                      34L GOODALE RD                                                                                  NEWTON             NJ    07860‐2783
HELEN SPIEGEL                                       41 WEST 83RD ST                                                                                 NEW YORK           NY    10024‐5246
HELEN SPIEGEL                                       220 W 4TH ST                                                                                    PORT CLINTON       OH    43452‐1818
HELEN SPIRIDON PHILLIOU                             1 SACHEM ROAD                                                                                   WINCHESTER         MA    01890‐3439
HELEN STAIF                                         32457 NEWCASTLE DR                                                                              WARREN             MI    48093‐6152
HELEN STERN                                         2636 HIGHWAY 155                                                                                SAYNER             WI    54560
HELEN STEVENS                                       3030 PURPLE SAGE LN                                                                             PALMDALE           CA    93550‐7972
HELEN STEVENS KIDD                                  10119 MORROW ROSSBURG RD                                                                        PLEASANT PLN       OH    45162
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HELEN STOJIC & MARY STOJIC JT TEN                28 ELM PARK                                                                                   PLEASANT RIDGE    MI    48069‐1105
HELEN STONE                                      19459 STOEPEL                                                                                 DETROIT           MI    48221‐1743
HELEN STRODTBECK                                 118 RAINBOW DR                                                                                LIVINGSTON        TX    77399‐1018
HELEN STRONG FRASER                              167‐B VENTRY COURT                                                                            RIDGE             NY    11961‐1254
HELEN STUCZYNSKI                                 2515 PARK DR                                                                                  PARMA             OH    44134‐4713
HELEN SUCHY                                      2977 E FILION RD                                                                              FILION            MI    48432‐9705
HELEN SUE SMITH KENNEDY                          107 HARWOOD AVE                                                                               SLEEPY HOLLOW     NY    10591‐1310
HELEN SWART                                      4570 VAN NUYS BLVD #215                                                                       SHERMAN OAKS      CA    91403‐2913
HELEN SZENTGYORGYI                               426 CEDAR AVE                                                                                 HIGHLAND PARK     NJ    08904‐2146
HELEN SZPER                                      325 34 SYLVAN AVE                                                                             MOUNTAINVIEW      CA    94041‐1656
HELEN T BIERYLA                                  RR 7 BOX 7558                                                                                 E STROUDSBURG     PA    18301‐8902
HELEN T BROWN & MARYELLEN SERAFIN JT TEN         330 ATLANTIC AVE                                                                              WEST PITTSTON     PA    18643‐2010
HELEN T DEMANDO                                  4564 BENTWOOD DR                                                                              BROOKLYN          OH    44144‐2636
HELEN T DUFFY & FRANK B DUFFY JT TEN             87 CHERRYWOOD DR                                                                              WILLIAMSVILLE     NY    14221‐1606
HELEN T DULIAN                                   296 COLERIDGE AVE                                                                             SYRACUSE          NY    13204‐2605
HELEN T EDWARDS TR EDWARDS FAMILY TRUST UA       502 S BUCKINGHAM COURT                                                                        ANDERSON          IN    46013‐4474
12/11/01
HELEN T EVANS                                    221 BELLEWOOD DR                                                                              FLUSHING          MI    48433‐1841
HELEN T FIUTAK                                   2742 E LAKE RD                                                                                SKANEATELES       NY    13152‐9043
HELEN T MAHAR                                    3835 ORANGEPORT RD                                                                            GASPORT           NY    14067‐9311
HELEN T MAZZO TR UA 10/31/86 HELEN T MAZZO TRUST 2712 BURTON DRIVE                                                                             WESTCHESTER       IL    60154‐5918

HELEN T OZARSKI                                17170 ANNOTT ST                                                                                 DETROIT           MI    48205‐3102
HELEN T SIMMONS TOD ROBERT T SIMMONS SUBJECT PO BOX 179                                                                                        ST INIGOES        MD    20684‐0179
TO STA TOD RULES
HELEN T STEVENS                                18116 EDGEWATER DR                                                                              PT CHARLOTTE      FL    33948
HELEN T TOROK & MIKE R TOROK JT TEN            15178 KEPPEN                                                                                    ALLEN PARK        MI    48101‐2912
HELEN T VINCZE                                 14045 ELWELL RD                                                                                 BELLEVILLE        MI    48111‐2548
HELEN T WANDEL                                 1854 26TH AVE                                                                                   VERO BEACH        FL    32960‐3065
HELEN TALLEY                                   1616 PAINTERS CROSSING                                                                          CHADDS FORD       PA    19317‐9659
HELEN TAMBURRO                                 PO BOX 29117                                                                                    PARMA             OH    44129‐0117
HELEN TAYLOR                                   86 CATSKILL CT                                                                                  BELLE MEAD        NJ    08502‐4527
HELEN TERESA KUSNIERCZYK & FRANK T KUSNIERCZYK PO BOX 9                                                                                        BRANDAMORE        PA    19316‐0009
TEN ENT
HELEN TERTEL                                   45627 TURTLEHEAD CT S                                                                           PLYMOUTH          MI    48170‐3649
HELEN THEODOULOU MARIA THEODOULOU & EURIDEKE 30‐54 72ND ST                                                                                     JACKSON HEIGHTS   NY    11370‐1417
KRYONERIS JT TEN
HELEN THEOHARIS                                900 WEST 190TH STREET 2D                                                                        NEW YORK          NY    10040‐3634
HELEN THERESA BABITS TR BABITS FAMILY TRUST UA 4303 E CACTUS ROAD 203B                                                                         PHOENIX           AZ    85032‐7683
10/20/03
HELEN THOMAS & MICHELLE THOMAS JT TEN          48723 CHESTNUT DR                                                                               MACOMB            MI    48044‐2093
HELEN TKACZYK                                  RTE 1 15985 RIDGE                                                                               OAKLEY            MI    48649‐9801
HELEN TOTH                                     148 MINNA AVE                                                                                   AVENEL            NJ    07001‐1208
HELEN TUK                                      ATTN GAIL MULL                         208 SLEEPY HOLLOW RD                                     SOMERSET          PA    15501‐8983
HELEN TURNER                                   1415 SUNNYSIDE AVE                                                                              FLINT             MI    48503‐2718
HELEN U NEWBY                                  1293 N TRIPLE X                                                                                 CHOCTAW           OK    73020‐7916
HELEN V BOOR                                   46 INLET TERRACE                                                                                BELMAR            NJ    07719‐2150
HELEN V BROWN                                  11881W CO RD 650 S                                                                              DALEVILLE         IN    47334‐9404
HELEN V BRUCE                                  1909 SO 9TH STREET                                                                              IRONTON           OH    45638‐2454
HELEN V CASH                                   2372 GRACE LANE                                                                                 ORANGE PARK       FL    32073‐5216
HELEN V CONNEEN TR HELEN V CONNEEN REVOCABLE 5 GATESHEAD DR APT 216                                                                            DUNEDIN           FL    34698‐8536
LIVING TRUDT UA 06/10/04
HELEN V GRANEY                                 56 MURRAY RD                                                                                    GREENWOOD LAKE NY       10925‐2119

HELEN V GREEVER                                   100 FOX DRIVE                                                                                LANDENBERG        PA    19350‐1156
HELEN V HEFT TR HELEN V HEFT REVOCABLE LIVING     1680 EDSEL DR                                                                                TRENTON           MI    48183‐1893
TRUST UA 12/07/98
HELEN V HILBURN                                   50 AUGUSTINE COURT                                                                           ODESSA            TX    79765‐8513
HELEN V KNOWLES                                   4739 LUCERNE DR                                                                              STERLING HTS      MI    48310
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HELEN V KUHN                                      3811 FOX RUN DR                        APT 1116                                                        CINCINNATI       OH    45236‐1150
HELEN V LOPEZ                                     6 FIFTH AVENUE                                                                                         LINDEN           NJ    07036‐3604
HELEN V LUNA                                      3721 63RD DRIVE                                                                                        LUBBOCK          TX    79413‐5309
HELEN V MC GARRY                                  5901 MOUNT EAGLE DR APT 815                                                                            ALEXANDRIA       VA    22303‐2508
HELEN V PRUS                                      32 FIELDSTON RD                                                                                        PRINCETON        NJ    08540‐6453
HELEN V SULLIVAN                                  76 VOYAGERS LANE                                                                                       ASHLAND          MA    01721‐1451
HELEN V TARRO                                     1801 CAMPGROUND RD                                                                                     PARAGOULD        AR    72450
HELEN V WELLS TOD THOMAS A WELLS SUBJECT TO STA   747 IRONWOOD DR                                                                                        BOWLING GREEN    KY    42103‐1411
TOD RULES
HELEN VALENTA                                     570 FRANKLIN LAKES RD                                                                                  FRANKLIN LAKES   NJ    07417‐3003
HELEN VALERIA SILSETH                             708 11TH ST N W                                                                                        MINOT            ND    58703‐2179
HELEN VAN GOSEN                                   8033 N BOUNDARY RD                                                                                     BALTIMORE        MD    21222‐3464
HELEN VAN HEUVEN & JAY VAN HEUVEN JT TEN          RUBEN DARIO 30                         COLONIA POLANCO       MEXICO D F       11580 MEXICO
HELEN VANDER WILT TR HELEN VANDER WILT FAM        7458 BRIDGEWATER DR                                                                                    SALT LAKE CITY   UT    84121‐5210
TRUST UA 02/07/96
HELEN VAUGHN                                      1018 S RIDGE TRL                                                                                       CLARKSVILLE      TN    37043‐5522
HELEN VERONICA LEE                                1442 CASCADE DR                                                                                        GROVE CITY       OH    43123‐8063
HELEN VIOLA HIGHTOWER                             1616 GLENEAGLES DR                                                                                     KOKOMO           IN    46902‐3181
HELEN VOGEL                                       1212 SOUTH STATE                                                                                       NEW ULM          MN    56073‐3509
HELEN W ALLEN                                     PO BOX 1311                                                                                            SAND SPRINGS     OK    74063‐1311
HELEN W BAIER & CHARLES H BAIER TEN ENT           705 WOODLAND AVE                                                                                       WILLIAMSPORT     PA    17701‐2453
HELEN W BALDWIN                                   2773 IRA HILL                                                                                          CATO             NY    13033‐9782
HELEN W BALDWIN CUST LINDA L BALDWIN UGMA NY      12399 BRADT ROAD                                                                                       CATO             NY    13033‐3322

HELEN W BARBERY                                   PO BOX 673                                                                                             LAURENS          SC    29360‐0673
HELEN W CULLER                                    1071 HUNTINGTON DR                                                                                     ORANGEBURG       SC    29118‐3101
HELEN W HILL                                      7615 BELLE PLAIN                                                                                       DAYTON           OH    45424‐3230
HELEN W HURST & JAMES S HURST JT TEN              34421 BAINBRIDGE RD                                                                                    N RIDGEVILLE     OH    44039
HELEN W HUTCHINSON                                4 OREBED RD                                                                                            CANTON           NY    13617‐3465
HELEN W KIELTSCH                                  2057 SODOM HUTCHINGS NE RD                                                                             VIENNA           OH    44473‐9751
HELEN W KILLMER                                   1404 MAIN ST                                                                                           INDIANAPOLIS     IN    46224‐6526
HELEN W KIRKLEY                                   METHODIST MANOR                        2100 TWIN CHURCH RD   UNIT 59                                   FLORENCE         SC    29501
HELEN W MARCHUT                                   1337 KING ST W                         TORONTO ON                             M6K 1H2 CANADA
HELEN W MC LEISH                                  10111 TOWHEE AVE                                                                                       ADELPHI          MD    20783‐1209
HELEN W OSTERMAN                                  17420 CLOVER RD                                                                                        BOTHELL          WA    98012‐9125
HELEN W PARHAM                                    7421 BRADFORD CT                                                                                       MOBILE           AL    36695‐4423
HELEN W SHEA                                      2708 W LIBERTY ST                                                                                      GIRARD           OH    44420‐3116
HELEN W UMBER                                     721 GLENVIEW DR                                                                                        MADISON          WI    53716
HELEN W WOLFE & SUSAN D BLAZEVSKI & JANE K        17190 NORBORNE                                                                                         REDFORD          MI    48240
FLEEMAN JT TEN
HELEN WAIDE HILLMAN                               127 FAIRMONT AVE                                                                                       JACKSON          TN    38301‐4181
HELEN WARREN                                      1319 11TH ST                                                                                           CLERMONT         FL    34711‐2814
HELEN WEIDELE                                     163 WILSON AVE                                                                                         KEARNY           NJ    07032‐3339
HELEN WESTOVER                                    HOLLENBECK HOME                        573 S BOYLE AVE                                                 LOS ANGELES      CA    90033‐3897
HELEN WHITE                                       181 EAST 93RD                          APT 6F                                                          NEW YORK         NY    10128
HELEN WILKINS SCHLOSS                             2001 LAUDERDALE DR                     APT 117                                                         HENRICO          VA    23238‐3935
HELEN WILLCOXSON                                  115 GREENE 704 RD                                                                                      PARAGOULD        AR    72450‐9650
HELEN WINELAND                                    518 CHESTNUT ST                                                                                        LATROBE          PA    15650‐1907
HELEN WIST                                        3108 BRIGHTON 5TH ST APT 1C                                                                            BROOKLYN         NY    11235‐7042
HELEN WOOD                                        14870 BONAIRE CIR                                                                                      FORT MEYERS      FL    33908‐1801
HELEN WOODCOCK                                    229 CHICAGO AVE                                                                                        VALPARAISO       FL    32580‐1367
HELEN Y BUCHMANN                                  1050 W NORTH WY                                                                                        DINUBA           CA    93618‐3622
HELEN YERMAN                                      19431 FRAZIER DR                                                                                       ROCKY RIVER      OH    44116‐1759
HELEN YTUARTE                                     34 WILTON CRESCENT                     FLAT 2                LONDON           SW1X 8RX GREAT BRITAIN
HELEN ZABEL STEARNS                               9 NORTHWEST 16TH ST                                                                                    FARIBAULT        MN    55021‐3038
HELEN ZAJAC & CONSTANCE M DELLINGER JT TEN        5436 S LAREDO ST                                                                                       CENTENNIAL       CO    80015‐4065
HELEN ZANINOVICH                                  2426 WILLOW AVE                                                                                        NIAGARA FALLS    NY    14305‐3108
HELEN ZAVACK & GARY ZAVACK JT TEN                 4226 COLBATH AVE                                                                                       SHERMAN OAKS     CA    91423‐4210
HELEN ZAWISZA                                     7273 WEST 130TH STREET                                                                                 PARMA            OH    44130‐7814
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Name                                               Address1                                Address2               Address3             Address4          City              State Zip

HELEN ZICKA                                        5255 CASE AVE                                                                                         LYNDHURST         OH    44124‐1013
HELEN ZINDEL                                       1164 JEFFERSON WAY                                                                                    FOREST            VA    24551‐4582
HELEN ZIOBER & GERTRUDE H ZIOBER JT TEN            9100 KNOLSON                                                                                          LIVONIA           MI    48150‐3343
HELEN ZYNGIER                                      6230 TIMBER VIEW DRIVE                                                                                EAST LANSING      MI    48823
HELENA A TACY TR UA 02/28/84 F/B/O HELENA A TACY   PO BOX 1744                                                                                           LENOX             MA    01240‐1744

HELENA ABUTINEH                                    2158 LANSING                                                                                          DETROIT           MI    48209‐1673
HELENA B DIEHL                                     6 ALISON RD                                                                                           ROSELLE           NJ    07203‐2903
HELENA BADGER                                      PO BOX 1902                                                                                           SAGINAW           MI    48605‐1902
HELENA BARBARA CARPENTER                           2711 DALTON                                                                                           ANN ARBOR         MI    48108‐1225
HELENA C MACINTIRE                                 4 BARDEEN COURT                                                                                       BALTIMORE         MD    21204‐2715
HELENA DILWORTH                                    BOX 82                                                                                                WALHALLA          SC    29691‐0082
HELENA E HATTEN & JESSE W HATTEN JT TEN            11026 BERWICK                                                                                         LIVONIA           MI    48150‐2860
HELENA E MILLER                                    2042 LANSING ST                                                                                       PHILADELPHIA      PA    19152‐3610
HELENA ELIZABETH FLICKINGER                        3500 N LAKE SHORE DR                    APT 1B                                                        CHICAGO           IL    60657‐1928
HELENA F DAVIS                                     422 MCKINLEY BLVD                                                                                     MC DONALD         OH    44437‐1928
HELENA F DAVIS & DONNA J NEZBETH JT TEN            422 MCKINLEY BLVD                                                                                     MC DONALD         OH    44437‐1928
HELENA HARRIS                                      2104 LAMB AVE                                                                                         RICHMOND          VA    23222‐4406
HELENA LAMOS                                       37020 WILLOW LN                                                                                       CLINTON TWP       MI    48036‐3665
HELENA LIAUKUS                                     3 JACZENKO TERR                         HAMILTON ON                                 L9B 1T8 CANADA
HELENA M JACKSON                                   1705 ADEE AVE                                                                                         BRONX             NY    10469‐3207
HELENA M MROZIK & EDWARD J MROZIK JT TEN           455 ELEVENTH ST                                                                                       BROOKLYN          NY    11215‐4307
HELENA M PIEROTTI                                  C/O SHERYL L HERNDON ESQ                WHITE & MCCARTHY LLP   15871 CITY VIEW DR   SUITE 220         MIDLOTHIAN        VA    23113
HELENA M REYNOLDS                                  226 EVERGREEN AVE                                                                                     MANTUA            NJ    08051‐1043
HELENA M SUMNER                                    433 DEWEY                                                                                             JACKSON           MI    49202‐2209
HELENA P WOODRUFF                                  42 BLUEBERRY COVE                                                                                     YARMOUTH          ME    04096‐6526
HELENA PEERA                                       9435 HARRISON                                                                                         DES PLAINES       IL    60016‐1542
HELENA S DUNN CUST DEIRDRE DUNN U/THE RHODE        C/O DEIRDRE LOPES                       206 SUMMIT STREET                                             EAST PROVIDENCE   RI    02914‐4422
ISLAND U‐G‐M‐A
HELENA SZARMACH                                    5645 CLINGAN RD                         UNIT 20D                                                      STRUTHERS         OH    44471‐3140
HELENA T MELNIK                                    88 SUMMIT                                                                                             PONTIAC           MI    48342‐1164
HELENANN ADAMS CUST MOLLY ADAMS UGMA MA            1213 W SAND DUNE                                                                                      GILBERT           AZ    85233‐5616

HELENE A TYMINSKI                                  13‐11 GEORGE ST                                                                                       FAIR LAWN         NJ    07410‐1832
HELENE A TYMINSKI & JAMES R TYMINSKI JT TEN        13‐11 GEORGE ST                                                                                       FAIR LAWN         NJ    07410‐1832
HELENE AUBE TR HELENE AUBE TRUST UA 3/28/00        33781 RICHLAND                                                                                        LOVONIA           MI    48150‐2637
HELENE BELAS                                       28 BROOKLANE RD                                                                                       PLANTSVILLE       CT    06479‐1902
HELENE C DENNY                                     19506 SANTA ROSA                                                                                      DETROIT           MI    48221‐1736
HELENE C DOLAND                                    3601 SW 39TH AVE                                                                                      HOLLYWOOD         FL    33023‐6258
HELENE D ELLIOTT                                   1012 ROOSEVELT WAY                                                                                    NEW ALEXANDRI     PA    15670
HELENE D LA SALLE                                  1050 SW 24TH AVE                                                                                      DEERFIELD BCH     FL    33442‐7601
HELENE D NELSON                                    754 BRIGHTON DR                                                                                       WHEATON           IL    60189
HELENE DZIERWA & ROBERT STOJAK JT TEN              18225 MICHIGAN CT                                                                                     ORLAND PARK       IL    60467‐8833
HELENE E REDELL                                    71 HORTON RD                                                                                          VALLEY STREAM     NY    11581‐3424
HELENE F SILFEN CUST MATHEW SILFEN UTMA MD         3829 JANBROOK RD                                                                                      RANDALLSTOWN      MD    21133‐2705

HELENE FORTIN                                      2441 AVENUE DU VIADUC APT 47            CHARNY QC                                   G6X 2V1 CANADA
HELENE FREEDMAN                                    241 HAMILTON RD                                                                                       MERION PARK STAT PA     19066‐1102

HELENE GOLDBERG CUST ROSS GOLDBERG UTMA NJ         182 FERN RD                                                                                           E BRUNSWICK       NJ    08816‐3222

HELENE HOPKINS                                     1030 N CRESCENT DRIVE                                                                                 CRYSTAL RIVER     FL    34429‐9209
HELENE HULSER                                      9455 PINCKNEY LANE                                                                                    MURRELLS INLT     SC    29576
HELENE J BIELMAN                                   1731 ROUTE 9                            UNIT 33                                                       OCEAN VIEW        NJ    08230‐1383
HELENE K WURMLINGER TR HELENE K WURMLINGER         1375 DESERT MEADOWS CIRCLE                                                                            GREEN VALLEY      AZ    85614‐1835
REVOCABLE TRUST UA 10/02/03
HELENE KABOT                                       12608 TIBOLI CHASE CT                                                                                 BOCA RATON        FL    33496‐1955
HELENE KONIG                                       59‐25 XENIA ST                                                                                        CORONA            NY    11368‐3925
HELENE KRAMER                                      5600 W 95TH 110                                                                                       OVERLAND PARK     KS    66207‐2968
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Name                                            Address1                               Address2              Address3                      Address4          City               State Zip

HELENE L ESKER                                  15513 IVY HILL DR                                                                                            OKLAHOMA CITY      OK    73170‐9343
HELENE L NICHOLS                                34 CHARLES STREET                                                                                            NATICK             MA    01760‐2828
HELENE L VALADE                                 1285 CALL ST                                                                                                 BOYNE CITY         MI    49712‐9043
HELENE LACHMAN TR UA 09/02/1997 HELEN LACHMAN   1414 DANIEL                                                                                                  NORTHBROOK         IL    60062
REV TRUST
HELENE LAMPARELLO                               93 CARNEER AVE                                                                                               RUTHERFORD         NJ    07070
HELENE M CORNISH                                C/O JOYCE M EIDSON                     1205 1ST AVE SW                                                       CULLMAN            AL    35055‐5391
HELENE M HAMILTON                               62‐57 80 STREET                                                                                              MIDDLE VLG         NY    11379
HELENE M SAUNDERS                               6306 KENHOWE DR                                                                                              BETHESDA           MD    20817‐5420
HELENE M STOCUM                                 507 ROCKVIEW DRIVE                                                                                           HOLLY              NY    14470‐9407
HELENE M SZYPULSKI                              463 E PLAINFIELD                                                                                             MILW               WI    53207‐5054
HELENE M TYRRELL                                522 TRIVISTA LEFT                                                                                            HOT SPRINGS NTL    AR    71901‐7427
                                                                                                                                                             PA
HELENE M WILSON                                 1751 BROADMOOR ST                                                                                            SARASOTA           FL    34234‐3012
HELENE MALEK CUST JULIE MALEK UGMA CO           7929 E 5TH AVE                                                                                               DENVER             CO    80230‐6490
HELENE MC NICHOL CUST POLLY MC NICHOL UGMA MI   7024 NOLLAR                                                                                                  WHITMORE LAKE      MI    48189‐9289

HELENE PALMISANI                                APT C8                                 63 W HUDSON AVE                                                       ENGLEWOOD          NJ    07631‐1783
HELENE POLSTER CUST DANIEL POLSTER UTMA OH      2060 CAMPUS DR                                                                                               CLEVELAND          OH    44121‐4252

HELENE POZARYCKI                                44 LEBER AVE                                                                                                 CATERET          NJ      07008‐2442
HELENE R COHEN                                  29801 WERTHAN COURT                                                                                          FARMINGTON HILLS MI      48331‐1774

HELENE R KORMAN                                 230 W 79TH ST                                                                                                NY                 NY    10024‐6210
HELENE R LUCKER TR HELENE R LUCKER TRUST UA     1958 VALLEY VIEW DR                                                                                          ST JOSEPH          MI    49085
07/08/96
HELENE RITTER                                   ATTN HELENE R FRANKO                   6760 FARMINGDALE LN                                                   MENTOR          OH       44060‐3990
HELENE S BARNER                                 546 KENNERLY RD                                                                                              SPRINGFIELD     PA       19064‐2021
HELENE SILVERMAN                                65 CHIMNEY RIDGE DR                                                                                          CONVENT STATION NJ       07960‐4722

HELENE T MILLER                                 5255 BELLE PLAINE AVE                                                                                        CHICAGO            IL    60641‐1460
HELENE THOMPSON & ROBERT THOMPSON JT TEN        17 MARUEEN DR                                                                                                SIMSBURY           CT    06070‐2904

HELENE V FIRTHA                                 6900 N INKSTER RD                      APT 103E                                                              DEARBORN HTS       MI    48127‐1815
HELENE ZIMMERMAN                                3230 WEST DONATELLO DRIVE                                                                                    PHOENIX            AZ    85086‐2200
HELENICA CAPITAL INC                            5/F VALDERRAMA BLDG                    107 ESTEBAN ST        LEGASPI VILLAGE MAKATI CITY   PHILIPPINES
HELENJANE HINTERLACH                            914 E HIGHWAY                                                                                                FREDERICKSBURG     TX    78624‐5244
HELENMARIE HOFMAN                               5101 WIGVILLE RD                                                                                             THURMONT           MD    21788‐1417
HELGA A JUENGER                                 4156 N AMECHE TERR                                                                                           BEVERLY HILLS      FL    34465‐4772
HELGA B SENO & FREDERICK M SENO JT TEN          1140 VALLEY VIEW DRIVE                                                                                       DOWNERS GROVE      IL    60516‐3402
HELGA BURGESS                                   4244DAMSON DR                                                                                                STERLING HEIGHTS   MI    48314‐3756

HELGA CERNICEK                                  4920 ACADEMY DR                                                                                              METAIRIE           LA    70003‐2633
HELGA CHASTEEN CUST NAOMI CHASTEEN UTMA OR      PO BOX 1668                                                                                                  ROSEBURG           OR    97470‐0408

HELGA E KROTCHKO                                6558 S LOGAN                                                                                                 CENTENNIAL         CO    80121‐2330
HELGA EHRLICH                                   RHINSTRASSE 6                          12307 BERLIN 49                                     GERMANY
HELGA F KRAINZ                                  203 W IVES ST                                                                                                MARSHFIELD         WI    54449‐1420
HELGA H DUNLOP                                  3439 CONCORD CORNERS                                                                                         CONYERS            GA    30013
HELGA H MUDER                                   810 STRATFORD AVE                                                                                            SOUTH PASADENA     CA    91030‐2805

HELGA H PETERSON                               211 MARIAN DRIVE                                                                                              SYRACUSE           NY    13219‐2449
HELGA H WITTOSCH & GEORGE S RIEG VI JT TEN     14561 MORNING SIDE RD                                                                                         ORLIND PARK        IL    60462‐7414
HELGA HEIDRICH                                 975 N RIVERSIDE AVE                                                                                           ST CLAIR           MI    48079‐4267
HELGA I ALBRECHT                               914 ST RT 95                            R1                                                                    PERRYSVILLE        OH    44864‐9708
HELGA KISS                                     7550 GREENFIELD TRL                                                                                           CHESTERLAND        OH    44026‐3005
HELGA L FRANKENHEIMER TR HELGA L FRANKENHEIMER 2960 N LAKESHORE DR APT 1601C/O         HALLMARK                                                              CHICAGO            IL    60657
TRUST UA 04/10/02
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HELGA M BAZO TR HELGA M BAZO REVOCABLE LIVING     1215 16TH TERRACE                                                                                                   KEY WEST        FL    33040‐4281
TRUST UA 12/02/04
HELGA M BROSNAN & JOSEPH P BROSNAN JT TEN         49 KING PHILLIPS RD BOX 495                                                                                         POCASSET        MA    02559‐1721
HELGA M PENDALL                                   25 LYNDALE CT                                                                                                       E SYRACUSE      NY    13057‐1619
HELGA OGILVIE                                     816 N LAS PALMAS AVE                                                                                                LA              CA    90038‐3551
HELGA S GIERING                                   751 LIMEBERRY PLACE                                                                                                 VENICE          FL    34292‐2028
HELGA SINER TOD JOHN H SINER SUBJECT TO STA TOD   274 BONDALE                                                                                                         PONTIAC         MI    48341‐2720
RULES
HELGA SINER TOD MARCEE E SIEMENS SUBJECT TO STA   PO BOX 1363                                                                                                         GRANTS PASS     OR    97528‐0113
TOD RULES
HELGA WILLE TR UA 03/04/83 HELGA WILLE            620 S KASPAR AVE                                                                                                    ARLINGTON HTS   IL    60005‐2320
HELGE MORTENSEN                                   308 WAVERLEY ST                       APT 4                                                                         MENLO PARK      CA    94025‐3516
HELGE SWEE                                        84 CHATTERTON PKWY                                                                                                  WHITE PLAINS    NY    10606‐1801
HELGI K SHUFORD                                   820 9TH AVE NW                                                                                                      HICKORY         NC    28601‐3569
HELGI P CREIGHTON                                 154‐2 CREAM STREET                                                                                                  POUGHKEEPSIE    NY    12601‐6602
HELGI P CREIGHTON & JAMES CREIGHTON JR JT TEN     154‐2 CREAM STREET                                                                                                  POUGHKEEPSIE    NY    12601‐6602

HELIA GILLASPY                                    9032 RANDALL                                                                                                        LA HABRA        CA    90631‐3433
HELIDA VILLANUEVA                                 20 RONNIE DRIVE                                                                                                     MANAHAWKIN      NJ    08050
HELIER E SOSA                                     117 38TH STREET                                                                                                     UNION CITY      NJ    07087‐6017
HELINDA J LASSIE                                  21741 COMPTON RD                                                                                                    ATHENS          AL    35613‐5154
HELLA ATKINS                                      360 CLUBHOUSE COURT                                                                                                 CORAM           NY    11727‐3624
HELLEN D TOWER & BETTY A TOWER & KELLY G TOWER    28615 BROOKS LN                                                                                                     SOUTHFIELD      MI    48034‐2004
JT TEN
HELLEN H DEVLIN                                   12142 AMBER HILL TRL                                                                                                MORENO VALLEY   CA    92557‐7547
HELMI J FREEH                                     126 CLEMONS ST                                                                                                      LKSID MARBLHD   OH    43440‐2211
HELMUT A KOEHLER                                  1485 FAIRVIEW AVE                                                                                                   BRENTWOOD       CA    94513‐5344
HELMUT DAVID PRAGER                               22 FALMOUTH RD                                                                                                      YONKERS         NY    10710‐1304
HELMUT FECHT                                      4947 STONE CASTLE DR                  AT SOUTHWOOD                                                                  VENICE          FL    34293‐8202
HELMUT FECHT & MARIANNE FECHT JT TEN              4947 STONE CASTLE DR                  AT SOUTHWOOD                                                                  VENICE          FL    34293‐8202
HELMUT FROMMANN                                   ADAM OPEL AG                          IPC A5‐02 D‐65423             RUSSELSHEIM                   GERMANY
HELMUT FROMMANN                                   SOMMER‐WINTER‐HOHL 2                  NIEDER‐OLM                    GERMANYD                      55268 GERMANY
HELMUT G FUHRMANN                                 PO BOX 717                            SUNBURY VICTORIA                                            3429 AUSTRALIA
HELMUT HAMMERLING                                 435 REGENT ST                         BOX #25                       NIAGARA ON THE LAKE ONTARIO   L0S 1J0 CANADA
HELMUT HAMMERLING                                 435 REGENT ST BOX 25                  NIAGARA ON THE LAKE ONTARIO                                 L0S 1J0 CANADA
HELMUT J HUBERT                                   4929 DOWNIDGTON                                                                                                     DECKERVILLE     MI    48427
HELMUT K VONOETINGER                              5203 BLAIR                                                                                                          TROY            MI    48098‐4034
HELMUT KITTLER                                    LORCHER STR 3                         65719 HOFHEIM                                               GERMANY
HELMUT KUKOWSKI                                   73 BURT                                                                                                             PONTIAC         MI    48342‐1104
HELMUT L WANNINGER & MRS HELENE WANNINGER JT      4521 E VALMEYER DR                                                                                                  ST LOUIS        MO    63128‐2457
TEN
HELMUT R WEISS                                    3054 BROWN RD                                                                                                       NEWFANE         NY    14108‐9714
HELMUT R WOEHRLE                                  2775 SHADY LAKE DRIVE                                                                                               VERMILION       OH    44089‐2538
HELMUT RIEDRICH                                   AM FALLTOR 5‐7                        D‐64850 SCHAAFHEIM                                          GERMANY
HELMUT ROHLEDER                                   16300 SILVER PKWY                     APT 331                                                                       FENTON          MI    48430‐4422
HELMUT RUFF                                       ADAM OPEL AG                          IPC A5‐02 D‐65423             RUSSELSHEIM                   GERMANY
HELMUT RUFF                                       ADAM OPEL AG                          POST CODE 85‐10               RUESSELSHEIM GERM             GERMANY
HELMUT SCHOBER                                    LUISENSTR 32                          D 44575 CASTROP‐RAUXEL                                      GERMANY
HELMUT SEIBERT                                    LINDENFELSER STRASSE 17               65428 RUSSELSHEIM‐MAIN                                      GERMANY
HELMUT STOLL                                      SCHWANENSTR 22                        D 64569 NAUHEIM                                             GERMANY
HELMUT STOLL                                      SCHWANENSTR 22                        D‐64569 NAUHEIM                                             GERMANY
HELMUT STRICKER                                   MECHTENBERG STR 24                    D‐44866 BOCHUM                                              GERMANY
HELMUT VETHAKE                                    SCHLOSSALLEE 28 A                     D 65388 SCHLANGENBAD                                        GERMANY
HELMUT VETHAKE                                    SCHLOSSALLEE 28 A                     D‐65388 SCHLANGENBAD                                        GERMANY
HELMUT WEBER                                      1245 ARROWWOOD LANE                                                                                                 GRAND BLANC     MI    48439‐4861
HELMUT WODRICH                                    1092 BLUE RIDGE DR                                                                                                  CLARKSTON       MI    48348‐4091
HELMUT ZUMKLEY                                    SCHWALBENFELDSTR 16                   D‐84137 VILSBIBURG                                          GERMANY
HELMUTH F SOELLNER                                2819 NORTH 81ST ST                                                                                                  MILWAUKEE       WI    53222‐4852
HELMUTH GOERING                                   5402 W 31ST ST                                                                                                      CICERO          IL    60804‐3901
                                            09-50026-mg                  Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit E
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Name                                              Address1                              Address2                      Address3               Address4          City              State Zip

HELMUTH X GEIGER & JOYCE E GEIGER TR GEIGER FAM   6218 WEHNER WAY                                                                                              SAN JOSE          CA    95135‐1445
TRUST UA 04/21/97
HELVI ELAINE TOIVONEN HERD                        1681 IRON HILL RD                                                                                            NEWARK            DE    19702‐1103
HELYN R STONER                                    5122 GLEN COVE                                                                                               FLINT             MI    48507‐4519
HELYNMARIE DUPELLE                                28 ROOSEVELT AVE                                                                                             FEEDING HILLS     MA    01030‐1513
HELYNN R KARR                                     ATTN HELYNN R HOFFMAN                 1205 POORMAN ROAD                                                      BELLEVILLE        OH    44813‐9019
HEM TUNG YIP & WAN LI YIP JT TEN                  51 WASHINGTON AVE                                                                                            NORTH ADAMS       MA    01247‐4071
HEMAN W STANNARD                                  3 ROUTE 22A                                                                                                  FAIR HAVEN        VT    05743‐9203
HEMANT V BHONDE                                   1412 PENN LN                                                                                                 MOORE             OK    73160‐2638
HEMET HOSPICE INC                                 890 W STETSON AVE #B                                                                                         HEMET             CA    92543‐7049
HEMLATA Y PATEL                                   5139 COLD SPRINGS DR                                                                                         LILBURN           GA    30047‐3792
HENDERIKA SMITH                                   ATTN HENDERICA POTOSKY                651 GRAND MANOR DR                                                     WRIGHTSVILLE      PA    17368‐9356
HENDERSON COUNTY PUBLIC LIBRARY                   301 NORTH WASHINGTON ST                                                                                      HENDERSONVILLE    NC    28739‐4311
HENDERSON DINGESS                                 10325 S R 665                                                                                                LONDON            OH    43140‐9424
HENDERSON H SCOTT JR                              3800 DORSET DRIVE                                                                                            DAYTON            OH    45405‐1939
HENDERSON RUFFIN                                  2645 PONTIAC RD                                                                                              AUBURN HILLS      MI    48326‐2516
HENDEY HOSTETTER                                  C/O HENDEY HOSTETTER BUCKLEY          3710 STONEYCREEK RD                                                    CHAPEL HILL       NC    27514‐9648
HENDRIK C BETKE                                   2461 ANCIENT SW                                                                                              WYOMING           MI    49509‐4504
HENDRIK PARSON                                    PMB# 1595                             115 RAINBOW DR                                                         LIVINGSTON        TX    77399‐1015
HENDRIKA H J MEES & MADELON E VAN RUYVEN JT TEN   169 ELSE MAUNS IAAN                   2597 THE HAGUE                                       NETHERLANDS

HENDRIX M LONG                                    PO BOX 821                                                                                                   CAMPTON           KY    41301‐0821
HENERY J WOOLLEY                                  1737 DODGEVILLE RD                                                                                           ROME              OH    44085
HENEY ANGELL LA VOIE TR HENRY ANGELL LA VOIE      1125 HWY A1A APT 605                                                                                         SATELLITE BEACH   FL    32937‐2424
TRUST UA 11/17/94
HENLEY D SMITH                                    PO BOX 121                            20 TWIN OAK DR                                                         RIDGEWAY          VA    24148‐8000
HENNA N LINDSEY & JEOFFREY MICHAEL LINDSEY JT TEN 6151 OAK ST                                                                                                  KANSAS CITY       MO    64113‐2238

HENNI PADAWER & ARTHUR PADAWER JT TEN             1338 EAST 10TH ST                                                                                            BROOKLYN          NY    11230‐5710
HENNING METZGER JR                                PO BOX 785                                                                                                   LOS GATOS         CA    95031‐0785
HENNSON O BOX                                     3071 STIRLING AVE                                                                                            AUBURN HILLS      MI    48326‐1638
HENNY P LASLEY                                    5110 S LOGAN DR                                                                                              GREENWOOD VLG     CO    80121‐1212

HENOCH D GETZ                                     14 ST MARKS AVE                       APT 3                                                                  BROOKLYN          NY    11217‐2404
HENREAN PRATER                                    21410 KIPLING                                                                                                OAK PARK          MI    48237‐3818
HENRI A BELFON                                    790 CONCOURSE VILLAGE W                                                                                      BRONX             NY    10451‐3804
HENRI ANGERS                                      2695 W HIAWATHA DR                                                                                           APPLETON          WI    54914‐6705
HENRI BUI                                         10904 WINELAKE DR                                                                                            OKLAHOMA CITY     OK    73170‐2514
HENRI J SCHIRES                                   12091 BREWSTER                                                                                               LIVONIA           MI    48150‐1445
HENRI LUCIEN AUGUSTE PATOUT                       ATTN MADAME PATOUT CHEZ MAITRE        PIERRE AURIAU 65 GRANDE‐RUE   JAVRON PES CHAPELLES   53250 FRANCE
HENRI M HAMMONDS                                  1257 LAFFER                                                                                                  AKRON             OH    44305‐3317
HENRI P RACINE                                    2968 MATAPEDIA                        STE‐FOY QC                                           G1W 1X9 CANADA
HENRI R EVANS                                     8607 REEDY BRANCH DRIVE                                                                                      JACKSONVILLE      FL    32256‐9095
HENRI R MC LAUGHLIN                               PO BOX 202                                                                                                   PITTSBORO         IN    46167‐0202
HENRI TH VAN LOOIJ                                VALCKENIERSHOF 12                     DOORWERTH                     GLD 6865 VM            NETHERLANDS
HENRIETTA A BRANTLEY                              19268 SUNSET                                                                                                 DETROIT           MI    48234‐2080
HENRIETTA A CESAREO                               26356 STANDWOOD AVE                                                                                          HAYWARD           CA    94544‐3139
HENRIETTA A PORTER & ANGELA M ROSE JT TEN         2100 E MOSHERVILLE RD                                                                                        JONESVILLE        MI    49250‐9545
HENRIETTA B KOZURKIEWICZ & DONNA M KING JT TEN    2611 WINDALE RD                                                                                              TAVARES           FL    32778

HENRIETTA B MARSHALL                              18301 W 13 MILE RD APT B1                                                                                    SOUTHFIELD        MI    48076‐1112
HENRIETTA BAIRD CUST VIRGINIA A BAIRD U/THE NEW   C/O CHRIS KELLY                       BOX 237 MAIN ST                                                        HOLLAND PATENT    NY    13354‐0237
YORK U‐G‐M‐A
HENRIETTA BIERLY                                  8213 MONTEEL RD                                                                                              LOS ANGELES       CA    90069‐1625
HENRIETTA CASTILLO‐NIETO                          4505 N MUELLER AVE                                                                                           BETHANY           OK    73008‐2540
HENRIETTA DEMBSKI                                 1324 HARBOR HILLS DR                                                                                         LARGO             FL    33770‐4027
HENRIETTA DICKSON                                 10916 LEXINGTON AVE NE                                                                                       ALBUQUERQUE       NM    87112‐1715
HENRIETTA DOMANSKI                                29610 TAYLOR                                                                                                 ST CLR SHORES     MI    48082
HENRIETTA E BARNEY                                12136 MENDOTA                                                                                                DETROIT           MI    48204‐1859
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Name                                             Address1                               Address2             Address3          Address4          City             State Zip

HENRIETTA E BURKLE                               102 BELCHER RD                                                                                  WETHERSFIELD     CT    06109‐3003
HENRIETTA E SULIK                                25 FAIRMONT AVE                                                                                 MERIDEN          CT    06451‐5320
HENRIETTA GOUVAS                                 1246 CENTER ST                                                                                  BOWLING GREEN    KY    42101‐3427
HENRIETTA HAZEL NAYLOR                           C/O MRS HENRIETTA H N TININGER         1745 STAHLWOOD                                           TOLEDO           OH    43613‐5237
HENRIETTA J BECKENHAUER                          PO BOX 116                                                                                      MANILLA          IA    51454‐0116
HENRIETTA J HEWITT                               928 W CENTER ST                                                                                 ROCHESTER        MN    55902‐6230
HENRIETTA J KAWCZAK                              5900 BRIGIS CLOSE DR                                                                            DUBLIN           OH    43017
HENRIETTA JETER                                  988 SUNNY BEACH BLVD                                                                            WHITE LAKE       MI    48386‐2083
HENRIETTA JOYCE HARLEY                           BOX 644                                                                                         MUNCIE           IN    47308‐0644
HENRIETTA KLINKERCH                              SCOTT SWAMP ROAD                                                                                FARMINGTON       CT    06032
HENRIETTA L LARISON                              7701 MARY LN                                                                                    INDIANAPOLIS     IN    46217‐4112
HENRIETTA L SUTTON & DEBORAH J THRKE JT TEN      143 SCHORN RD                                                                                   LAKE ORION       MI    48362‐3677
HENRIETTA M RICH                                 332 S WILLARD ST                                                                                BURLINGTON       VT    05401‐3908
HENRIETTA M SCHRANK & PATRICIA TRACANNA JT TEN   143 E TURNBULL AVE                                                                              HAVERTOWN        PA    19083‐2418

HENRIETTA M WILLIS                              19935 KEYSTONE                                                                                   DETROIT          MI    48234‐2363
HENRIETTA MADRINA POLLARD                       1864 ANJACO RD NW                                                                                ATLANTA          GA    30309‐1808
HENRIETTA P WEBB                                7519 E GRAYSON RD                                                                                HUGHSON          CA    95326‐9707
HENRIETTA S HUTCHINSON                          PO BOX 504                                                                                       ATLANTIC BEACH   FL    32233
HENRIETTA S REZMER                              1318 S MONROE                                                                                    BAY CITY         MI    48708‐8072
HENRIETTA S TRIPP                               17989 EVANS RD                                                                                   TONGANOXIE       KS    66086‐5151
HENRIETTA SVATOS                                3626 SUNNYSIDE                                                                                   BROOKFIELD       IL    60513‐1630
HENRIETTA SZYNKOWSKI                            2064 KENNETH                                                                                     BAY CITY         MI    48706‐9735
HENRIETTA SZYNKOWSKI CUST ROBERT POTEREK UGMA PO BOX 2168                                                                                        BIRMINGHAM       MI    48012‐2168
MI
HENRIETTA T STEBBINS                            1523 BOYNTON DR                                                                                  LANSING          MI    48917‐1707
HENRIETTA WILSON                                1124 E OUTER DRIVE                                                                               SAGINAW          MI    48601
HENRIETTE RICHARD                               PO BOX 601                              ONE WEST 22ND ST                                         BARNEGAT LIGHT   NJ    08006‐0601
HENRIK A SCHUTZ & FRANCES P SCHUTZ JT TEN       1685 UNION MILLS ROAD                                                                            TROY             VA    22974‐3815
HENRIK FREITAG TR UA 03/31/1990 HENRIK FREITAG  470 E HIAWATHA TRAIL                                                                             WOOD DALE        IL    60191
TRUST
HENRIQUE SOUSA                                  1813 STILL POND WAY                                                                              BEL AIR          MD    21015‐8314
HENRY A AUSTIN JR                               112 #5 PARK WEST DR BLDG 2‐F                                                                     LANSING          MI    48917
HENRY A BARTH & ALMA A BARTH TR BARTH FAMILY    769 JUSTO LANE                                                                                   SEVEN HILLS      OH    44131‐3816
TRUST UA 06/09/05
HENRY A BARTON                                  51 POMEROY MEADOW RD                                                                             SOUTHAMPTON      MA    01073‐9411
HENRY A BENT TR HENRY A BENT REVOCABLE TRUST UA 5816 SOLWAY ST                                                                                   PITTSBURGH       PA    15217‐1229
02/24/95
HENRY A BIELAK                                  1698 LEXINGTON ST                                                                                PLYMOUTH         MI    48170‐1053
HENRY A BLOCK JR                                950 EAST 5TH ST                                                                                  BROOKLYN         NY    11230‐2110
HENRY A BRIELE JR                               2307 MAPLE                                                                                       NORTHBROOK       IL    60062‐5209
HENRY A BUONO SR                                103 PROVIDENCE ST                                                                                STATEN ISLAND    NY    10304‐4213
HENRY A CONWAY                                  9 DAWNWINDS CT                                                                                   LAKEWOOD         NJ    08701‐7517
HENRY A COX                                     4985 SPRING MEADOW DR 65                                                                         CLARKSTON        MI    48348‐5158
HENRY A DUDEK                                   29703 BROWN CT                                                                                   GARDEN CITY      MI    48135‐2325
HENRY A EDLER                                   6337 E LONG CIRCLE NO                                                                            ENGLEWOOD        CO    80112‐2431
HENRY A GEISENHONER JR                          110 GREENBROOK CT                                                                                NEW HOPE         PA    18938‐1074
HENRY A GENNETTI JR                             13 FITCH CT                                                                                      WAKEFIELD        MA    01880
HENRY A GIVENS                                  128 LARCH ST                                                                                     SAGINAW          MI    48602‐1811
HENRY A GLUCKSTERN                              41 PARK ROAD                                                                                     MAPLEWOOD        NJ    07040‐2215
HENRY A GOLOW                                   8722 WINSTON CHURCHILL BLVD             NORVAL ON                              L0P 1K0 CANADA
HENRY A GOTTSCHALK & JUNE GOTTSCHALK JT TEN     N325 COUNTY HIGHWAY I                                                                            WATERLOO         WI    53594‐9654

HENRY A GRAHAM & JANICE D GRAHAM JT TEN          104 RIDGEVIEW RD                                                                                POUGHKEEPSIE     NY    12603‐4238
HENRY A HAINER & ELLA MARIE HAINER JT TEN        16475 29 MILE RD                                                                                RAY              MI    48096‐2215
HENRY A HEPFNER                                  3577 SOUTH M‐52                                                                                 OWOSSO           MI    48867‐8211
HENRY A HOLMES                                   153 RIVERVIEW DR                                                                                DECATUR          AL    35603‐7001
HENRY A HYZER                                    5905 OGDEN                                                                                      DETROIT          MI    48210‐3706
HENRY A JANTOSZ                                  18951 CARMELO DRIVE N                                                                           CLINTON TWP      MI    48038‐2208
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Name                                                Address1                            Address2             Address3          Address4          City            State Zip

HENRY A JOHNSON                                     10708 PARDEE                                                                                 TAYLOR          MI    48180‐3555
HENRY A JOHNSON III                                 32949 FOREST STREET                                                                          WAYNE           MI    48184‐1847
HENRY A KEYES                                       8722 BUNKER HILL RD                                                                          GASPORT         NY    14067‐9367
HENRY A KOZODY                                      11295 SLADE RD                                                                               MEDINA          NY    14103‐9455
HENRY A KRAWCZAK & VICKI R KRAWCZAK JT TEN          4920 EAST BOMBAY ROUTE #1                                                                    MIDLAND         MI    48640
HENRY A KRUEGER                                     16300 W 9 MILE RD                   APT 903                                                  SOUTHFIELD      MI    48075‐5983
HENRY A LEE                                         108 LA SALLE AVE                                                                             HAMPTON         VA    23661‐3533
HENRY A LEON                                        1396 JANES WAY                                                                               COLTON          CA    92324‐1670
HENRY A LIPINSKI & GERALDINE T LIPINSKI JT TEN      17089 REAGAN LN                                                                              LAKEWOOD        WI    54138‐9547
HENRY A MC NEIL                                     19254 REVERE                                                                                 DETROIT         MI    48234‐1708
HENRY A MEAGHER & MRS MARGARET G MEAGHER JT         4848 COLUMBIAVILLE ROAD                                                                      COLUMBIAVILLE   MI    48421‐9761
TEN
HENRY A MORGAN                                      710 NORTHPOINT DR                                                                            SCHAUMBURG      IL    60193‐4363
HENRY A MOSKAL                                      29 KELLY PKWY                                                                                BAYONNE         NJ    07002‐3411
HENRY A NOVAK                                       8272 PRIVATE LANE                                                                            ANNANDALE       VA    22003‐4470
HENRY A PARKHURST JR                                5733 CHOWEN AVE S                                                                            EDINA           MN    55410‐2347
HENRY A PASSMAN                                     806 DALEVIEW DR                                                                              SILVER SPRING   MD    20901‐3602
HENRY A PATCH JR & AUSTIN PATCH JT TEN              642 E BENNETT ST                                                                             SIMI VALLEY     CA    93065‐4202
HENRY A PATCH JR & CLAIRE PATCH JT TEN              642 E BENNETT ST                                                                             SIMI VALLEY     CA    93065‐4202
HENRY A PATCH JR & EDWARD PATCH JT TEN              642 E BENNETT ST                                                                             SIMI VALLEY     CA    93065‐4202
HENRY A PATCH JR & ERIC PATCH JT TEN                642 E BENNETT ST                                                                             SIMI VALLEY     CA    93065‐4202
HENRY A PATCH JR & HARRY PATCH JT TEN               642 E BENNETT ST                                                                             SIMI VALLEY     CA    93065‐4202
HENRY A PATCH JR & IRMA PATCH JT TEN                642 E BENNETT ST                                                                             SIMI VALLEY     CA    93065‐4202
HENRY A PATCH JR & LEON PATCH JT TEN                642 E BENNETT ST                                                                             SIMI VALLEY     CA    93065‐4202
HENRY A POTTER                                      8043 WILSON                                                                                  BYRON CENTER    MI    49315‐8839
HENRY A RADDATZ                                     8320 SANDPIPER                                                                               CANTON          MI    48187‐1707
HENRY A RHODES                                      4036 MEADOWVIEW HILLS DR                                                                     CHARLOTTE       NC    28269‐1480
HENRY A ROBERTS JR                                  84 MAPLERIDGE AVE                                                                            BUFFALO         NY    14215‐3130
HENRY A RUSSELL                                     32 GARFIELD STREET                                                                           YOUNGSTOWN      OH    44502‐1842
HENRY A SPRADLIN                                    3700 S WESTPORT AVE                 PMB 2224                                                 SIOUX FALLS     SD    57106‐6360
HENRY A STEBBINS                                    1121 PINE RD                                                                                 VENICE          FL    34285‐3722
HENRY A SZLACHETKA                                  3965 JEFFERSON AVENUE                                                                        HAMBURG         NY    14075‐2939
HENRY A SZYSZKOWSKI                                 15 FAIRWAY VIEW DR                                                                           BRISTOL         CT    06010‐2803
HENRY A VANDER POEL & PETE J VANDER POEL JT TEN     13604 SAN SIMEON AVE                                                                         BAKERSFIELD     CA    93314

HENRY A VYSMA                                       4331 HOWARD ST                                                                               MONTCLAIR       CA    91763‐6327
HENRY A WHITE JR                                    404 HOCKADAY ST                                                                              COUNCIL GROVE   KS    66846‐1809
HENRY A WILHELM & BETTY J WILHELM JT TEN            104 LAURA AVE                                                                                DAYTON          OH    45405‐3102
HENRY A WRIGHT                                      1606 HOUSTONIA                                                                               ROYAL OAK       MI    48073
HENRY A WRIGHT & BARBARA J WRIGHT JT TEN            1606 HOUSTONIA                                                                               ROYAL OAK       MI    48073
HENRY A YEATS                                       200 DAY MIAR RD                                                                              ALVARADO        TX    76009‐6331
HENRY ADAMS                                         4504 S LACROSS                                                                               CHICAGO         IL    60638‐1956
HENRY ADAMS III                                     4518 S LA CROSSE                                                                             CHICAGO         IL    60638‐1956
HENRY AKINS                                         3600 COLCHESTER RD                                                                           LANSING         MI    48906‐3416
HENRY ALEXANDER & BESSIE ALEXANDER JT TEN           207 CHESTER ST                                                                               BROOKLYN        NY    11212‐5622
HENRY ALLEN JR                                      6101 WYNDHAM WAY                                                                             MUNCIE          IN    47304‐5787
HENRY ALLEN PRIEST                                  715 AXFORD ST                                                                                FLINT           MI    48503‐3765
HENRY ALVARO JR                                     3904 STERNS ROAD                                                                             LAMBERTVILLE    MI    48144‐9723
HENRY ARNBERG & LYNDA S ARNBERG JT TEN              342 ALTESSA BLVD                                                                             MELVILLE        NY    11747‐5223
HENRY ASHWORTH                                      PO BOX 3615                                                                                  WESTPORT        MA    02790‐0744
HENRY AUSTON                                        20068 WINTHROP                                                                               DETROIT         MI    48235‐1813
HENRY AYIK                                          29 WINDHAM ST                                                                                WORCESTER       MA    01610‐2125
HENRY B ADAMS                                       BOX 482                                                                                      MARSHFIELD      MA    02050‐0482
HENRY B BROWN                                       21 RIVERDALE AVE                                                                             WHITE PLAINS    NY    10607‐1419
HENRY B CANNON                                      745 W 110TH ST                                                                               LOS ANGELES     CA    90044‐4321
HENRY B HAM                                         1439 GROVECREST DR                                                                           ARLINGTON       TX    76018‐1265
HENRY B HART & CLAIRE B HART TR HART LIVING TRUST   156 TARA COURT                                                                               DALEVILLE       VA    24083‐3236
UA 05/08/97
HENRY B HIGHTOWER                                   7750 NAPOLEON RD                                                                             JACKSON         MI    49201‐8528
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Name                                            Address1                            Address2                  Address3     Address4          City             State Zip

HENRY B HOFF                                  101 MAGNOLIA AVE                                                                               ENGLEWOOD        OH    45322‐1258
HENRY B JOHNSON TR UA 12/15/1995 ISABELLE P   105 CANTERBURY ROAD                                                                            DANVILLE         VA    24541
JOHNSON TRUST
HENRY B LAIDLAW III                           41 HARMONY HILLS ROAD                                                                          READFIELD        ME    04355‐4141
HENRY B MARSHALL                              39 VINCENT CT                                                                                  SMYRNA           DE    19977‐7721
HENRY B MIDDENDORF CUST KRISTEN L LAWSON UTMA PO BOX 41                                                                                      SOUTH LEBANON    OH    45065‐0041
OH
HENRY B OGINSKY                               2800 BYRON RD                                                                                  LENNON           MI    48449
HENRY B PASSENGER & MARGARET A PASSENGER JT   44 E ELM                                                                                       MONROE           MI    48162‐2649
TEN
HENRY B PINHEIRO                              1640 SNOWBERRY RD                                                                              BEAUMONT         CA    92223‐8605
HENRY B ROBERTS                               2309 PARK RIDGE CT                                                                             GROVE CITY       OH    43123‐1818
HENRY B SCHAFFER                              19747 US 23 S                                                                                  PRESQUE ISLE     MI    49777‐9057
HENRY B SCHLENKE                              8900 GAUNT RD                                                                                  EAST JORDAN      MI    49727‐8646
HENRY B SHANNON                               PO BOX 793                                                                                     MARS HILL        NC    28754‐0793
HENRY B SIMM & MRS FRANCES B SIMM JT TEN      345 WEST ROAD                                                                                  WESTFIELD        MA    01085‐9749
HENRY B SOBUTEK                               9054 ROBINDALE                                                                                 DETROIT          MI    48239‐1577
HENRY B SUHR JR                               PO BOX 416                                                                                     OIL CITY         PA    16301‐0416
HENRY B WEIS 3RD                              3044 SPENCER HILL DR                                                                           CINCINNATI       OH    45226‐1985
HENRY BANGUIL JR                              201 PROSPECT ST                                                                                PONTIAC          MI    48341‐3039
HENRY BARTLETT & CARMEN BARTLETT JT TEN       666 MILLER AVENUE                                                                              BROOKLYN         NY    11207‐6002
HENRY BERG CUST STEPHANIE M BERG UTMA CA      1423 COTTAGE ST                                                                                ALAMEDA          CA    94501‐2427
HENRY BERKOWITZ                               456 PONCE DELEON DR                                                                            WINTER SPRINGS   FL    32708
HENRY BLUM                                    25224 60TH AVE                                                                                 FLUSHING         NY    11362‐2441
HENRY BLUMENTHAL CUST ALEXANDER CARLTON       APT 13‐A                              290 RIVERSIDE DRIVE                                      NEW YORK         NY    10025‐5247
BLUMENTHAL UGMA NY
HENRY BLUSH & EDITH C BLUSH JT TEN            1114 LAKEVIEW RD                                                                               COPAKE           NY    12516‐1104
HENRY BOLLINGER U/GDNSHP OF NORMA B BOLLINGER 13 SMOKEY RIDGE CT                                                                             ST CHARLES       MO    63304‐7280

HENRY BOLT                                      12 SAMSTAG AVE                                                                               OSSINING         NY    10562‐1923
HENRY BORKOWSKI                                 ATTN MRS J BIEHUNIK                 56 OLD STONE RD                                          DEPEW            NY    14043‐4231
HENRY BOYKINS III                               9752 WOODLAND VISTA DR                                                                       CORDOVA          TN    38018‐3623
HENRY BRACCO & IRENE BRACCO JT TEN              9312 LAKE ABBY LN                                                                            BONITA SPRINGS   FL    34135‐8881
HENRY BRESSMAN & BERNICE BRESSMAN JT TEN        38 EDGEMONT RD                                                                               WEST ORANGE      NJ    07052‐2038
HENRY BREWER                                    3900 CONE COURT                                                                              DAYTON           OH    45408
HENRY BRODY                                     11756 MANITOU DR                                                                             ALDEN            NY    14004‐9408
HENRY BROPHY OTTO 3RD & LEAH MARGARET OTTO JT   77 WATERGATE RD                                                                              SOUTH            IL    60010‐9590
TEN                                                                                                                                          BARRINGTON
HENRY BROWN JR                                  RR 6 355AA                                                                                   SELMA            AL    36701‐9541
HENRY BROWN JR                                  5137 WALLINGFORD                                                                             ST LOUIS         MO    63121‐1014
HENRY BUMPERS                                   8637 ABERDEEN ST                                                                             CHICAGO          IL    60620
HENRY BURAWSKI                                  358 HAZEL AVE                                                                                GARWOOD          NJ    07027
HENRY BURGESS                                   108 PARKINSON AVE APT 1A                                                                     STATEN ISLAND    NY    10305‐1461
HENRY BURNS JR                                  2045 BARKS ST                                                                                FLINT            MI    48503‐4305
HENRY BYRON SPERRY                              205 LINDEN DR                                                                                DAYTON           OH    45459‐4533
HENRY C AMEEL                                   2614 W SHERIDAN RD                                                                           PETOSKEY         MI    49770‐9705
HENRY C ARNDT                                   13841 S MANDARIAN CT                                                                         PLAINFIELD       IL    60544‐9353
HENRY C BOSS II                                 5334 E 48TH ST N                                                                             BEL AIRE         KS    67220‐1473
HENRY C BOYCE                                   420 S LAUREL AVE                                                                             W KEANSBURG      NJ    07734‐3148
HENRY C BROWN                                   C/O ZELMA M BROWN                   12288 CARROLL MILL ROAD                                  ELLICOTT CITY    MD    21042
HENRY C BRYANT & INEZ G BRYANT JT TEN           4 RANDOLPH DR                                                                                WINDSOR          VA    23487‐9633
HENRY C CARTER                                  2338 HINE STREET S                                                                           ATHENS           AL    35611‐5749
HENRY C CHINSKI SR                              1030 KENDALL ROAD                                                                            WILMINGTON       DE    19805‐1151
HENRY C COAN                                    131 LAKESIDE DR                                                                              DANVILLE         IL    61832‐1374
HENRY C COLEMAN                                 1192 NEAFIE                                                                                  PONTIAC          MI    48342‐1965
HENRY C CRESCIBENE                              20 CHRISTOPHER DR                                                                            COLTS NECK       NJ    07722‐1055
HENRY C CURRIER                                 41966 BAINTREE CIR                                                                           NORTHVILLE       MI    48168
HENRY C DE KRUYFF                               5712 CALMOR AVE                                                                              SAN JOSE         CA    95123‐5738
HENRY C DESEGUIRANT                             7647 LONG PINE DR                                                                            SPRINGFIELD      VA    22151‐2826
                                            09-50026-mg                Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                             Address2             Address3          Address4          City              State Zip

HENRY C DEWES & SALLY V DEWES JT TEN              P O BOX 512                                                                                  NEW HARMONY       IN    47631
HENRY C ESTERLY                                   4183 TUCKERSHAM LN                                                                           TUCKER            GA    30081
HENRY C FIELDS                                    285 MYERS AVENUE                                                                             MANSFIELD         OH    44902‐1418
HENRY C FLEMING JR                                4308 SHAMROCK AVENUE                                                                         BALTIMORE         MD    21206‐6433
HENRY C FURCHES JR                                19800 CALLAWAY HILLS LANE                                                                    DAVIDSON          NC    28036‐7001
HENRY C GAST                                      PO BOX 240                                                                                   LONGS             SC    29568‐0240
HENRY C GROSSO                                    16622 PINECONE                                                                               WOODHAVEN         MI    48183‐1645
HENRY C GUARINI & GRACE A GUARINI JT TEN          23 S LERISA ST                                                                               BETHPAGE          NY    11714‐5542
HENRY C HALEY                                     4265 SCHRUBB DR                                                                              DAYTON            OH    45429‐1346
HENRY C HEDBERG & ALMA L HEDBERG JT TEN           W3212 COUNTY K                                                                               MARKESAN          WI    53946
HENRY C HENTZEL & SUE ANN HENTZEL JT TEN          #50 OAK DR                                                                                   FORT MADISON      IA    52627‐2123
HENRY C HOUSE                                     PO BOX 40                                                                                    GILLSVILLE        GA    30543‐0040
HENRY C JERLA                                     121 HARBOR ST                                                                                WILSON            NY    14172‐9797
HENRY C KOWALSKI                                  5384 TERRITORIAL                                                                             GRAND BLANC       MI    48439‐1917
HENRY C KREY                                      3178 W RIVER DR                                                                              GLADWIN           MI    48624‐7923
HENRY C KUEHL & MRS BERNICE W KUEHL JT TEN        6302 ORCHARD RD                                                                              LINTHICUM         MD    21090‐2627
HENRY C LAGG & DONNA D LAGG & JENNIFER D SMITH 9022 FENTON                                                                                     REDFORD           MI    48239‐1276
JT TEN
HENRY C LANG TR THE LANG LIVING TRUST UA 06/30/97 2506 LAKESIDE DR                                                                             BALDWIN           NY    11510‐3516

HENRY C LEONARD                                  6758 WEST WILLOW GROVE DR                                                                     NEW PALESTINE     IN    46163‐9039
HENRY C MARSHALL JR                              181 ROMANA DRIVE                                                                              RIDGEWAY          VA    24148‐3439
HENRY C MAY                                      7944 BRYCE RD                                                                                 AVOCA             MI    48006‐3906
HENRY C MCCLOUD                                  8667 WILLOW HWY                                                                               GRAND LEDGE       MI    48837‐8932
HENRY C MILLER                                   5030 HOLLISTER AVE                                                                            GOLETA            CA    93111‐2638
HENRY C MINES                                    2601 HOWLAND‐WILSON RD                                                                        CORTLAND          OH    44410‐9449
HENRY C MOLINARO                                 510 HUDDERFORD RD                                                                             PITTSBURGH        PA    15237‐3705
HENRY C MORRIS                                   2103 ALGONAC                                                                                  FLINT             MI    48532‐4507
HENRY C MOSES CUST JAMES B MOSES UGMA MA         40 PETER TUFTS RD                                                                             ARLINGTON         MA    02474‐1414
HENRY C MULLINS                                  SUGAR CAMP ROAD                      1297                                                     WHEELERSBURG      OH    45694‐8419
HENRY C PARTIN                                   890 BAGLEY AVE                                                                                YPSILANTI         MI    48198‐3851
HENRY C PIERCE TR HENRY C PIERCE REVOCABLE TRUST 6520 RAINBOW AVE                                                                              MISSION HILLS     KS    66208‐1966
UA 09/12/96
HENRY C POPE                                     4210 WEST 32ND ST                                                                             ANDERSON          IN    46011‐4523
HENRY C PROFFITT                                 1653 EVALIE DRIVE                                                                             FAIRFIELD         OH    45014‐3514
HENRY C PUFFENBERGER                             4200 SMITHVILLE RD                                                                            EATON RAPIDS      MI    48827‐9732
HENRY C RAY                                      23671 COYLE                                                                                   OAK PARK          MI    48237‐1929
HENRY C RUDI                                     5278 MOCERI LANE                                                                              GRAND BLANC       MI    48439‐4339
HENRY C SCHMIDT & LAURIE B SCHMIDT JT TEN        1222 KENSINGTON                                                                               GROSSE PTE PARK   MI    48230‐1102
HENRY C SCHRAMM & BETTY M SCHRAMM JT TEN         9907 KEYSTONE AVE                                                                             SKOKIE            IL    60076‐1140
HENRY C SHANKWEILER & JOYCE E SHANKWEILER JT TEN 3740 SAND SPRING RD                                                                           SCHNECKSVILLE     PA    18078‐3049

HENRY C STARNES JR                             PO BOX 332                                                                                      GREAT FALLS       SC    29055‐0332
HENRY C STUMP                                  71‐04 72ND PLACE                                                                                GLENDALE          NY    11385‐7337
HENRY C SUMMEIER                               1100 WEST MAPLE ST                                                                              GREENWOOD         IN    46142‐3829
HENRY C SUMPTER III                            127 PECOS AVE                                                                                   MODESTO           CA    95351‐5327
HENRY C TAYLOR                                 2446 FREDERICK AVE                                                                              BALTIMORE         MD    21223‐2839
HENRY C TRIESCHMANN & CINDERINE TRIESCHMANN JT 333 MEADE TERRACE                                                                               UNION             NJ    07083‐7833
TEN
HENRY C TUCK TR HENRY C TUCK TRUST UA 04/14/95 5907 WILLOW CREEK CT                                                                            NEW PRT RCHY      FL    34655‐1162

HENRY C WALEGA TR HENRY C WALEGA REVOCABLE       6887 WALDO                                                                                    DETROIT           MI    48210‐2818
LIVING TRUST UA 07/23/99
HENRY C WARMBIER                                 546 SALZBURG                                                                                  AUBURN            MI    48611‐8509
HENRY CALLAWAY                                   3022 VETERANS MEMORIAL PK                                                                     TUSCALOOSA        AL    35404‐4281
HENRY CAVAZOS                                    1727 S WASHINGTON ST                                                                          KOKOMO            IN    46902‐2006
HENRY CHARLES                                    7459 WINDING WAY                                                                              BRECKSVILLE       OH    44141‐1923
HENRY CHARLES GLINA                              6 NOMAD CRESCENT                     TORONTO ON                             M3B 1S6 CANADA
HENRY CHOW                                       8484 E GARVEY AVE                                                                             ROSEMEAD          CA    91770‐2674
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HENRY CHRISTOPHE GUTCHAK                           4161 E DODGE RD                                                                                CLIO               MI    48420‐9729
HENRY CLAY WARD                                    76 CLIVE ST                                                                                    METUCHEN           NJ    08840‐1038
HENRY CLAY WARD & HARRIETTE C WARD TR WARD         76 CLIVE ST                                                                                    METUCHEN           NJ    08840‐1038
LVING TRUST UA 08/09/94
HENRY CLAYTON JR                                   1350 WASHINGTON STREET                                                                         FAIRFIELD          CA    94533‐5137
HENRY CLEVELAND SCHREIBER                          8539 MANOR BLVD                                                                                DETROIT            MI    48204‐3026
HENRY COCHRAN                                      618 BRYNFORD ST                                                                                LANSING            MI    48917‐4900
HENRY COLELLA                                      540 CHICKEN VALLEY RD                                                                          LOCUST VALLEY      NY    11560‐2613
HENRY D BROWN                                      RT 3 MEKUS RD                                                                                  DEFIANCE           OH    43512‐9803
HENRY D CALAM                                      251 FURNACE DOCK RD                                                                            CORTLANDT          NY    10567‐6536
                                                                                                                                                  MANOR
HENRY D COLEMAN                                    13605 MANSFIELD                                                                                DETROIT            MI    48227‐1729
HENRY D CRANE                                      1420 RIDLEY DR                                                                                 FRANKLIN           TN    37064‐9614
HENRY D ENLOW & SHIRLEY A ENLOW JT TEN             23660 MARLOW                                                                                   OAK PARK           MI    48237‐1959
HENRY D GORDON                                     209 W ALLEN ST                                                                                 KALAMAZOO          MI    49004
HENRY D INGRAM                                     2423 MOUNDS RD                                                                                 ANDERSON           IN    46016‐5852
HENRY D KAINE                                      5136 WOODLANDS TRAIL                                                                           BLOOMFIELD         MI    48302‐2871
HENRY D KAINE & MRS SUZANNE D KAINE JT TEN         5136 WOODLANDS TRL                                                                             BLOOMFIELD HILLS   MI    48302‐2871

HENRY D KETELS                                     2360 S WILDER RD                                                                               METANIORA          MI    48455‐9353
HENRY D KIMPEL & LUCILLE KIMPEL JT TEN             15920 GARY LANE                                                                                LIVONIA            MI    48154‐2332
HENRY D KINCER                                     408 RINEHART RD                                                                                UNION              OH    45322‐2940
HENRY D LANDES JR                                  206 ROBIN DR                                                                                   SOUDERTON          PA    18964‐2160
HENRY D MARTIN                                     1602 KING DRIVE                                                                                NEW ORLEANS        LA    70122‐2502
HENRY D MC BRYDE                                   2253 S KENNETH AVE                                                                             CHICAGO            IL    60623‐2909
HENRY D ROHON & CLAIRE B ROHON JT TEN              96 TRUMBULL AVE                                                                                PLAINVILLE         CT    06062‐1721
HENRY D SHALLOWHORN                                11625 TARRON AVE                                                                               HAWTHORNE          CA    90250
HENRY D SMITH                                      4900 SCOTTEN ST                                                                                DETROIT            MI    48210‐2681
HENRY D STRICKLAND                                 6313 RUFFIN RD                                                                                 RUFFIN             SC    29475‐5146
HENRY D THOMPSON                                   849 W JEFFERSON ST                                                                             FRANKLIN           IN    46131‐2119
HENRY DAVID SKINNER                                PO BOX 195                                                                                     MONTROSE           AL    36559‐0195
HENRY DAVIS JR                                     47 WILLIAMSTOWNE CT                   APT 8                                                    BUFFALO            NY    14227‐2045
HENRY DEMIDENKO                                    PO BOX 298                                                                                     MANCHESTER         MD    21102‐0298
HENRY DZIEDZIC & GERALDINE M DZIEDZIC JT TEN       19354 COVENTRY DRIVE                                                                           RIVERVIEW          MI    48192‐7887
HENRY E ABDERHALDEN                                15 ALIZE DR                                                                                    KINNELON           NJ    07405‐3215
HENRY E ARDEN JR                                   130 PHINNEY'S LANE                                                                             CENTERVILLE        MA    02632‐2924
HENRY E BROWN                                      BOX 1103                                                                                       GLEN ROCK          NJ    07452‐1103
HENRY E CAHILL & PETER J CAHILL TR CAHILL FAMILY   409 WASHINGTON ST                                                                              ABINGTON           MA    02351‐2417
TRUST UA 03/03/95
HENRY E CAMPBELL & RANDALL KRISKI JT TEN           PO BOX 3111                                                                                    OMAHA              NE    68103‐0111
HENRY E CHEESEMAN                                  6251 GROVEBURG RD                                                                              LANSING            MI    48911‐5409
HENRY E COHOON                                     PO BOX 7422                                                                                    FLINT              MI    48507‐0422
HENRY E CONNELL                                    37338 INGLESIDE                                                                                CLINTON TWSP       MI    48036‐2616
HENRY E DANIEL                                     305 BAY SHORE DR                                                                               PANAMA CITY        FL    32407‐5456
HENRY E DAVIS                                      1925 BASIL LANE                                                                                FLINT              MI    48504‐7069
HENRY E DIERINGER JR                               1818 RAINTREE LANE                                                                             VENICE             FL    34293
HENRY E EISENHOUR                                  2111 BOGATTO ST                                                                                LA MARQUE          TX    77568
HENRY E FLYNT JR                                   3407 BRANGUS RD                                                                                GEORGETOWN         TX    78628‐1812
HENRY E FOX                                        1611 SALT SPRINGS ROAD                                                                         MINERAL RIDGE      OH    44440‐9528
HENRY E GEHRKE                                     21920 ELMWAY                                                                                   CLINTON TWP        MI    48035‐1710
HENRY E GOOCH                                      3328 LINCOLN RD 120                                                                            INDIANAPOLIS       IN    46222‐1881
HENRY E GREEN                                      17336 TIMBER OAK LN SW                                                                         FORT MYERS         FL    33908‐6174
HENRY E HARDIN                                     2040 N BIG BEND DR                                                                             MEMPHIS            TN    38116
HENRY E HAULCY                                     2254 SEMINARY AVE                                                                              OAKLAND            CA    94605‐1318
HENRY E HOLMES & MRS ELINOR J HOLMES JT TEN        7103 SHADY ARBOR LN                                                                            HOUSTON            TX    77040‐4726
HENRY E KENNEDY JR                                 8380 BLISS ST                                                                                  DETROIT            MI    48234‐3334
HENRY E KIDD                                       3344 PASEO                                                                                     KANSAS CITY        MO    64109‐1937
HENRY E KIDD & SHIRLEY A KIDD JT TEN               3344 PASEO                                                                                     KANSAS CITY        MO    64109‐1937
HENRY E KIRSCHNER                                  6002 N W WESTWOOD LANE                                                                         KANSAS CITY        MO    64151‐2743
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Name                                              Address1                               Address2             Address3          Address4          City             State Zip

HENRY E KRZEMINSKI                                3613 BADGER S W                                                                                 WYOMING          MI    49509‐4008
HENRY E LEE JR                                    3906 CARRIAGE LANE                                                                              CONYERS          GA    30094‐4063
HENRY E LOKAY                                     7051 DUMBARTON PL                                                                               BETHEL PARK      PA    15102‐3715
HENRY E LUNN                                      302 HOLLY AVE                                                                                   WOODBURY         NJ    08097‐1117
                                                                                                                                                  HEIGHTS
HENRY E MEYER & MRS JUDITH A MEYER JT TEN         PO BOX 925                                                                                      RIALTO           CA    92377‐0925
HENRY E MILLS JR                                  20180 WEXFORD                                                                                   DETROIT          MI    48234‐1810
HENRY E MONROE                                    BOX 163                                                                                         BRASHER FALLS    NY    13613‐0163
HENRY E MOORE                                     14 ROBIN RD                            GUELPH ON                              N1L 1A7 CANADA
HENRY E ONEY                                      113 E RT #1 BOX 2503                                                                            MILAN            OH    44846
HENRY E PHILLIPS                                  1042 CLAREMONT DR                                                                               COLUMBIA         TN    38401‐6207
HENRY E PICKENS                                   8537 ACADIA DRIVE                                                                               SAGAMORE HLS     OH    44067‐3216
HENRY E POLAK                                     1860 TICE CREEK DR #1104                                                                        WALNUT CREEK     CA    94595‐2447
HENRY E REDMOND                                   142 CLEARVIEW DR                                                                                ROCKWOOD         TN    37854‐5257
HENRY E REISNER                                   69‐39 YELLOWSTONE BLVD                                                                          FOREST HILLS     NY    11375‐3760
HENRY E RICHARDSON JR                             7248 DEERHILL DRIVE                                                                             CLARKSTON        MI    48346‐1232
HENRY E ROHLAND & MRS GRETCHEN K ROHLAND JT       384 OAKLYN ROAD                                                                                 LEBANON          PA    17042‐5851
TEN
HENRY E RUBIN & MRS SANDRA RUBIN JT TEN           27 FIREBRICK RD                                                                                 SHARON           MA    02067
HENRY E SPENCER                                   350 W HUDSON                                                                                    MADISON HGTS     MI    48071‐3946
HENRY E STAWICKI III & KIM M STAWICKI JT TEN      87 WEDGEMONT DR                                                                                 ELKTON           MD    21921
HENRY E STONE                                     210 WILSON ST NE                       APT 1102                                                 DECATUR          AL    35601‐1854
HENRY E THOMPSON                                  4702 GREENLAWN                                                                                  FLINT            MI    48504‐5408
HENRY E VINCENTY                                  7562 BRINMORE RD                                                                                SAGAMORE HILLS   OH    44067‐2914
HENRY E WALLACE SR TOD LAURALEE MELE SUBJECT TO   13 RESERVOIR RD                                                                                 HIGHLAND         NY    12528
STA TOD RULES
HENRY E WERNER                                    10323 W CLAIR DR                                                                                SUN CITY         AZ    85351‐4442
HENRY E WESTENDORF & THERESE E WESTENDORF JT      1790 HUNTERS COVE CIR                                                                           KOKOMO           IN    46902‐5180
TEN
HENRY E WESTENDORF & THERESE E WESTENDORF JT      1790 HUNTERS COVE CIR                                                                           KOKOMO           IN    46902‐5180
TEN
HENRY E WILKINSON                                 246 BRIDGE CREEK CIR                                                                            REEDVILLE        VA    22539‐3549
HENRY E WOLFF JR                                  5500 COLLINS AVE UNIT #1003                                                                     MIAMI            FL    33140
HENRY E ZAWADZKI                                  5100 HIGHBRIDGE ST                     APT 20A                                                  FAYETTEVILLE     NY    13066‐2434
HENRY E ZYDEL                                     44 CABLE ST                                                                                     BUFFALO          NY    14223‐2006
HENRY ELBERT HARDEN                               945 LOMITA AVE                                                                                  FLINT            MI    48505‐3579
HENRY ERNEST BLAGDEN JR                           58 JEFFERSON AVE                                                                                SHORT HILLS      NJ    07078‐3233
HENRY F ADDINGTON & SANDRA J ADDINGTON JT TEN     4812 VARIATION ROAD                                                                             BALTIMORE        MD    21236‐2034

HENRY F BAILEY                                    5605 OLD CUMMING HWY                                                                            BUFORD           GA    30518‐4507
HENRY F BAILEY                                    4207 DOBBIN CIR                                                                                 DAYTON           OH    45424
HENRY F BARTOLO                                   30 NAIRN LN                                                                                     BEAR             DE    19701‐4758
HENRY F BROWER & THEA J BROWER JT TEN             329 FIRST AVE                                                                                   TWO HARBOR       MN    55616‐1611
HENRY F BULLOCK                                   3221 WOOD VALLEY DR                                                                             FLUSHING         MI    48433‐2265
HENRY F BULLOCK & VERNA JOAN BULLOCK JT TEN       3221 WOODVALLEY DR                                                                              FLUSHING         MI    48433‐2265

HENRY F CUZYDLO                                1681 LINDEN AVENUE                                                                                 N TONAWANDA      NY    14120‐3021
HENRY F DOERGE                                 MIDDLEFORT RD                                                                                      MIDDLEBURGH      NY    12122
HENRY F DUBNER & NORMAN F DUBNER JT TEN        1434 HALLWOOD RD                                                                                   BALTIMORE        MD    21228‐1141
HENRY F DZIUBA & MRS STELLA M DZIUBA JT TEN    250 CLAREMONT                                                                                      DEARBORN         MI    48124‐1368
HENRY F GASEK & BEATRICE A GASEK JT TEN        9133 POTTER RD                                                                                     FLUSHING         MI    48433‐1912
HENRY F GIEWAT                                 350 HERITAGE HL D                                                                                  SOMERS           NY    10589‐1722
HENRY F HATFIELD                               8866 E COUNTY RD 100N                                                                              AVON             IN    46234‐9185
HENRY F HEBERT & BARBARA ANN HEBERT MARKEY TEN 7716 LEW HOAD AVE                                                                                  BATON ROUGE      LA    70810‐1745
COM
HENRY F HENSLEY                                8525 CRACKERNECK RD                                                                                WASHBURN         TN    37888‐4220
HENRY F HOFFMAN JR                             692 YALE AVE                                                                                       MERIDEN          CT    06450‐6804
HENRY F HOFFMEIER JR                           257 HAMBURG TPKE                                                                                   RIVERDALE        NJ    07457‐1024
HENRY F JANUCHOWSKI                            8821 HILLSIDE DRIVE                                                                                HICKORY HILLS    IL    60457‐1357
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HENRY F JOHNSON & JUDITH L JOHNSON JT TEN          19518 FRENCH LACE DR                                                                            LUTZ             FL    33558
HENRY F JUDGE & EDNA B JUDGE TR JUDGE FAMILY       18371 JAMESTOWN CIRCLE                                                                          NORTHVILLE       MI    48168
LIVING TRUST UA 06/11/97
HENRY F KENKEL                                     7631 CHEVIOT RD 2B                                                                              CINCINNATI       OH    45247‐4012
HENRY F KOHUT & BARBRA J KOHUT JT TEN              12023 MACKINAC RD                                                                               HOMER GLEN       IL    60491
HENRY F KORMOS                                     600 E LABO RD                                                                                   CARLETON         MI    48117‐9032
HENRY F KRAUS TR UA 11/18/99 KRAUS FAMILY TRUST    1094 SUNFLOWER LANE                                                                             PALM BAY         FL    32907‐2128

HENRY F KRUP                                       6264 W FARRAND RD                                                                               CLIO             MI    48420‐8214
HENRY F LAMBERT                                    6611 HAZEN                                                                                      ST LOUIS         MO    63121‐3210
HENRY F LEMBECK                                    503 EAST 4TH ST                                                                                 WATKINS GLEN     NY    14891‐1218
HENRY F MASON                                      38344 JAMES DR                                                                                  CLINTON TWP      MI    48036‐1836
HENRY F NOWAK TR VIRGINIA NOWAK TRUST UA           5134 W FARWELL AVE                                                                              SKOKIE           IL    60077‐3407
12/12/91
HENRY F REHFELD                                    8435 IMPERIAL CIR                                                                               PALMETTO         FL    34221‐9510
HENRY F SORDYL & HENRIETTA W SORDYL JT TEN         2239 WINONA                                                                                     FLINT            MI    48504‐7106
HENRY F WARD                                       12441 W 550 N                                                                                   FLORA            IN    46929‐9570
HENRY F WILSON                                     2305 W 80TH PLACE                                                                               CHICAGO          IL    60620‐5914
HENRY FAY                                          62‐51 82ND ST                                                                                   MIDDLE VILLAGE   NY    11379‐1426
HENRY FIORILLO                                     157 GLENWOOD DR                                                                                 NORTH HALEDON    NJ    07508‐3020
HENRY FIORILLO EX EST HELEN M FIORILLO             157 GLENWOOD DR                                                                                 HALEDON          NJ    07508
HENRY FIORVANTI                                    43B PARK RD                                                                                     ASHLAND          MA    01721‐1506
HENRY FOON WONG & HELEN Y WONG JT TEN              981 JACKSON ST                                                                                  SAN FRANCISCO    CA    94133‐4815
HENRY FORD HEALTH SYSTEMS RSPT TR REBECCA L        12238 FORDLINE ST                                                                               SOUTHGATE        MI    48195‐2304
REICHEL
HENRY FRANK JR                                     218 LAUREL AVE                                                                                  KEARNY          NJ     07032‐2954
HENRY FRANKLIN YOUNG                               1598 DOCKHAM RD                                                                                 COLUMBIAVILLE   MI     48421‐9748
HENRY FRED SCHAEFER                                7716 BELLEWOOD                                                                                  HOUSTON         TX     77055‐6804
HENRY FRIEDRICH                                    95 FRANTZEN TERRACE                                                                             BUFFALO         NY     14227‐3203
HENRY FRONDA                                       3225 SAN MIGUEL STREET                                                                          WEST SACRAMENTO CA     95691‐5856

HENRY FROST                                        24241 ELLIOT RD                                                                                 DEFIANCE         OH    43512‐6828
HENRY FULOP                                        2150 CENTER AVE                                                                                 FORT LEE         NJ    07024‐5806
HENRY FURLOW                                       4010 LAGUNA RD                                                                                  PROTWOOD         OH    45426‐3862
HENRY G ASBURY                                     30400 ROYALVIEW DRIVE                                                                           WILLOWICK        OH    44095‐4812
HENRY G BARROW                                     8224 DUNDALK AVE                                                                                BALTIMORE        MD    21222‐6013
HENRY G BENSON                                     12352 NORTHLAWN                                                                                 DETROIT          MI    48204‐1020
HENRY G BROOME JR                                  1701 NEW RD                                                                                     NORTHFIELD       NJ    08225‐1151
HENRY G CANIGLIA                                   32 HIBISCUS DR                                                                                  CRANSTON         RI    02920‐3108
HENRY G CANIGLIA & MRS LILLIAN A CANIGLIA JT TEN   32 HIBISCUS DRIVE                                                                               CRANSTON         RI    02920‐3108

HENRY G CASE                                    3092 SHENK RD                             APT C                                                    SANBORN          NY    14132‐9476
HENRY G COORS & DOROTHY E COORS TR FAMILY TRUST 67 ALEGRE CT                                                                                       DANVILLE         CA    94526‐4909
04/06/90 U‐A HENRY &
HENRY G GEILING III                             56 CHATSWORTH CT                                                                                   EDISON           NJ    08820‐4048
HENRY G HAASE CUST JEFFREY P REIMERS UTMA CA    138 NORTH FRANKLIN AVE                                                                             SAN GABRIEL      CA    91775‐2842

HENRY G HAASE CUST RYAN ALAN HAASE UTMA CA         1516 EAST 2ND STREET                                                                            TUARTE           CA    91010‐1808

HENRY G HAASE CUST TIMOTHY J REIMERS UTMA CA       138 NORTH FRANKLIN AVE                                                                          SAN GABRIEL      CA    91775‐2842

HENRY G HANSARD                                  4618 PITTMAN ROAD                                                                                 CUMMING          GA    30040‐5108
HENRY G LAUN & YVONNE L LAUN TR LAUN JOINT TRUST 14052 STAMPHER RD                                                                                 LAKE OSWEGO      OR    97034‐2414
UA 09/21/00
HENRY G MCMAHON JR                               2610 BERKLEY AVE                                                                                  AUSTIN           TX    78745‐4827
HENRY G MONTGOMERY                               2211 EASTBROOK SE                                                                                 DECATUR          AL    35601‐3467
HENRY G OGONOWSKI                                120 GLEN BERNE DRIVE                                                                              WILMINGTON       DE    19804‐3408
HENRY G OJIDA                                    1680 STATE RT 95                         PO BOX 73                                                BOMBAY           NY    12914‐0073
HENRY G OVELGONE & ADELEC OVELGONE JT TEN        8157 KAVANAGH RD                                                                                  BALTIMORE        MD    21222‐4716
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HENRY G PETERSON                                 4830 ST LAWRENCE                                                                                CHICAGO            IL    60615‐1510
HENRY G PFANNER JR                               5511 CAMPELL ST                                                                                 SANDUSKY           OH    44870‐9304
HENRY G PRATT III                                17 HERITAGE RD                                                                                  HILTON HEAD        SC    29928‐4226
HENRY G S SCHIERL & ROSE M SCHIERL JT TEN        1808 ASHMEADOW COVE                                                                             PALMYRA            PA    17078
HENRY G STANOSZEK                                896 WEATHERWOOD LN                     APT 102                                                  GREENSBURG         PA    15601‐5781
HENRY G TAYLOR                                   5517 CAVALRY POST DR                                                                            ARLINGTON          TX    76017‐4516
HENRY G TORRES                                   19317 ANZA AVE                                                                                  TORRANCE           CA    90503‐1404
HENRY G WRIGHT                                   926 WEST VIEW                                                                                   HORSESHOR BEND     AR    72512

HENRY G WRIGHT JR                                11111 TRACY CIR                                                                                 NORMAN             OK    73026‐8052
HENRY GALVIN                                     792 TROUT RUN DRIVE                                                                             MALVERN            PA    19355‐3145
HENRY GARLAND COGHILL JR                         PO BOX 249                                                                                      OPHELIA            VA    22530‐0249
HENRY GEORGE                                     110 E YORK                                                                                      FLINT              MI    48505‐2145
HENRY GEORGE                                     368 GINA CIRCLE                                                                                 GRANBURY           TX    76049
HENRY GEORGE                                     342 DEKALB RD                                                                                   GRANVILLE          NY    12832‐9609
HENRY GEORGE CROSS                               6622 LAKEVIEW BLVD                                                                              ST HELEN           MI    48656‐9552
HENRY GHARAKHANIAN                               3022 SANDY POINT CT                                                                             LAKE SAINT LOUIS   MO    63367‐3007
HENRY GIRON                                      1188 STONEBROOKE DR                                                                             HOWELL             MI    48843
HENRY GLOWACKI                                   6511 W 41ST ST                                                                                  STICKNEY           IL    60402‐4137
HENRY GOLDEN                                     618 CHILI AVE                                                                                   ROCHESTER          NY    14611‐2902
HENRY GRABER                                     4 WREN DR                                                                                       WOODBURY           NY    11797‐3209
HENRY GRADDY                                     406 MILL RD PL                                                                                  MIDWAY             KY    40347‐1009
HENRY GRANT MERITHEW JR                          882 N RACQUETTE RIVER RD                                                                        MASSENA            NY    13662‐3248
HENRY GRAY WILLIAMS 3RD                          166 YAUPON TRAIL                                                                                SAN ANTONIO        TX    78256
HENRY GREEN                                      405 AMHERST ST                                                                                  EAST ORANGE        NJ    07018‐1804
HENRY GREEN JR                                   12200 ROSELAWN                                                                                  DETROIT            MI    48204‐5415
HENRY GROTH JR                                   4217 KENNEDY CIR N                                                                              COLGATE            WI    53017‐9748
HENRY GRZYBOWSKI & VALERIE GRZYBOWSKI JT TEN     292 CELIE DRIVE                                                                                 WOLCOTT            CT    06705‐3111

HENRY GUENTHER                                   36 E WOODLAND AVE                                                                               PITMAN          NJ       08071‐1122
HENRY GURULE                                     14100 W 87TH TERR                                                                               SHAWNEE MISSION KS       66215‐2455

HENRY H ALLEN                                    13852 WAKLEY CT                                                                                 CENTREVILLE        VA    20121‐3074
HENRY H ANDERSON                                 23‐1900 WAVELL STREET                  LONDON ON                              N5V 4N5 CANADA
HENRY H BROWER                                   41 THERESA CIR                                                                                  EATON              OH    45320‐1051
HENRY H CRANDALL JR                              MAIN ST PO BOX 163                                                                              MIDDLEFIELD        CT    06455‐0163
HENRY H FULLER JR                                PO BOX 203                                                                                      FAIRVIEW           PA    16415
HENRY H GINGLES JR & JANET P GINGLES JT TEN      9625 WILDWOOD DR                                                                                RIVERRIDGE         LA    70123‐2036
HENRY H GUNTHER 3RD                              2204 W 18TH ST                                                                                  WILMINGTON         DE    19805
HENRY H GYLLENBLAD & NANCY C GYLLENBLAD JT TEN   17298 TILIA RDG                                                                                 EDEN PRAIRIE       MN    55347

HENRY H GYLLENBLAD CUST KEVIN H GYLLENBLAD       17298 TILIA RDG                                                                                 EDEN PRARIE        MN    55347‐0001
UGMA MN
HENRY H HOFFA                                    7459 N RIVERVIEW DR                                                                             KALAMAZOO          MI    49004‐9685
HENRY H JABS                                     3707 INDIAN CREEK TRL                                                                           GRANBURY           TX    76049‐6214
HENRY H JAYNES                                   2509 KEYSTONE AVE                                                                               N RIVERSIDE        IL    60546‐1529
HENRY H JENSEN & MRS DOROTHY M JENSEN JT TEN     3140 OGDEN COURT                                                                                COLO SPRINGS       CO    80920‐7250

HENRY H LUNDY                                    4630 ROOSEVELT                                                                                  DEARBORN HEIGHTS MI      48125‐2537

HENRY H MCINTOSH & DONNA MCINTOSH JT TEN         PO BOX 470                             311 WARREN ST                                            FAYETTEVILLE       NY    13066‐2034
HENRY H MCKAY                                    1402 PIKEVIEW TER                                                                               ARLINGTON          TX    76011‐4730
HENRY H MEYER                                    4203 HICKORY NUT COURT                                                                          MIDLOTHIAN         VA    23112‐4944
HENRY H MIZE CUST JAMES A MIZE UGMA AL           2014 GLENDALE GARDENS                                                                           TUSCALOOSA         AL    35401‐5824
HENRY H MURRAY & MRS MARY ANN MURRAY JT TEN      406 ALBINE DR                                                                                   GLENSHAW           PA    15116‐1106

HENRY H MYAR                                     311 31ST ST                                                                                     MANHATTAN          CA    90266‐3911
                                                                                                                                                 BEACH
HENRY H NOBLE                                    270 TAYLOR RD                                                                                   JACKSON            GA    30233‐2240
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HENRY H PAVONY                                     215 THORNWOOD RD                                                                                STAMFORD        CT    06903‐2614
HENRY H PEREZ                                      24946 THOMAS AVE                                                                                HAYWARD         CA    94544‐2315
HENRY H SIMPSON JR                                 1594 COUNTY LINE ROAD                                                                           HUNTINGDON      PA    19006‐1802
                                                                                                                                                   VALLEY
HENRY H SIMPSON JR & MRS PATRICIA H SIMPSON JT     1594 COUNTY LINE RD                                                                             HUNTINGDON      PA    19006‐1802
TEN                                                                                                                                                VALLEY
HENRY HAJDAS                                       19730 WESTCHESTER DR                                                                            CLINTON TWP     MI    48038‐2387
HENRY HALCOMB                                      1524 PINE LOG RD                                                                                AIKEN           SC    29803‐5721
HENRY HANZ SITZ                                    9 WESTBURY LN                                                                                   LANCASTER       NY    14086‐1427
HENRY HARRISON HADLEY JR                           73 OLD COUNTY RD                                                                                LINCOLN         MA    01773‐2907
HENRY HAWKINS JR                                   PO BOX 1364                                                                                     ROCHESTER       NY    14603‐1364
HENRY HAYWARD DINNEEN JR                           5117 E 77TH ST                                                                                  TULSA           OK    74136‐8273
HENRY HECKART & MRS DONNA M HECKART JT TEN         1029 DEAN DR                                                                                    NORTHGLENN      CO    80233‐1291

HENRY HERZBERGER                                   11138 60TH AVE                                                                                  SEMINOLE        FL    33772‐6803
HENRY HEYWARD                                      31 BEECH ST                            APT 203                                                  EAST ORANGE     NJ    07018
HENRY HODGES JR                                    19410 MAGNOLIA                                                                                  SOUTHFIELD      MI    48075‐7131
HENRY HOEFELT CUST H JAMES HOEFELT UGMA NY         PO BOX 6651                                                                                     BRIDGEPORT      CT    06606‐0651

HENRY HOM                                          17 COVENTRY ROAD                                                                                SYOSSET         NY    11791‐6602
HENRY HOMKA                                        102 S IRWINWOOD                                                                                 LANCASTER       NY    14086‐2822
HENRY HORTON                                       504 N FAIRVIEW AVE                                                                              LANSING         MI    48912‐3114
HENRY HOWARD                                       84 WOLCOTT STREET                                                                               LEROY           NY    14482‐1436
HENRY HUGELHEIM JR & MRS CLAIRE HUGELHEIM JT       7931 CAMBRIDGE MANOR                                                                            VERO BEACH      FL    32966‐5115
TEN
HENRY HUMR & JOAN L HUMR JT TEN                    6409 NIGHT VISTA DRIVE                                                                          PARMA           OH    44129‐6368
HENRY I BUSH JR                                    2109 GRAYTHORN RD                                                                               BALTIMORE       MD    21220‐4928
HENRY I CATES                                      130 E CENTER COLLEGE ST                                                                         YELLOW SPRING   OH    45387‐1637
HENRY I HARRIS JR                                  27861 MIDDLE POINTE DR                 UNIT 105U                                                HARRISON TWP    MI    48045‐5391
HENRY I ROTHMAN                                    209 W 86TH ST                                                                                   NEW YORK        NY    10024‐3336
HENRY I SINSZ & DOLORES M SINSZ JT TEN             4715 WALTHER BLVD                                                                               BALTIMORE       MD    21214‐3045
HENRY I WATANABE & CAROLYN S WATANABE JT TEN       8526 E SILVER RIDGE DR                                                                          ROSEMEAD        CA    91770‐4354

HENRY IDEMA III                                    13562 REDBIRD LN                                                                                GRAND HAVEN     MI    49417‐9468
HENRY IWANOWSKI & ANNA IWANOWSKI JT TEN            8 BLUEBIRD CROSSING                                                                             GLEN MILLS      PA    19342‐3358
HENRY J ANDERSON                                   3200 NE 36TH STREET                    APT 1509                                                 FT LAUDERDALE   FL    33308‐6768
HENRY J ASCH III                                   132 HILLTOP DRIVE                                                                               BRICKTOWN       NJ    08724‐1358
HENRY J BALL                                       6433 SOHN RD                                                                                    VASSAR          MI    48768‐9489
HENRY J BARRAL JR                                  1022 OCEAN AVE                                                                                  BAY SHORE       NY    11706‐3511
HENRY J BAUGH                                      1115 RIVERSIDE                                                                                  DEARBORN        MI    48120‐1719
HENRY J BEULIGMANN & MRS VIRGINIA L BEULIGMANN     5620 HWY 68                                                                                     POSEYVILLE      IN    47633‐8838
JT TEN
HENRY J BLEY & NANCY L BLEY TR BLEY FAMILY TRUST   214 ROSS ST                                                                                     SANTA CRUZ      CA    95060‐2022
UA 05/06/02
HENRY J BOLANOWSKI & STEPHANIE V BOLANOWSKI JT     9164 DUFFIELD RD                                                                                MONTROSE        MI    48457‐9116
TEN
HENRY J BONNABEL 3RD                               BOX 141                                                                                         ALPINE          NJ    07620‐0141
HENRY J BOWER                                      1060 PRESCOTT BLVD                                                                              DELTONA         FL    32738‐6716
HENRY J BOWMAN                                     754 OXFORD AVE                                                                                  NILES           OH    44446‐1334
HENRY J BRADLEY JR                                 1624 NORRIS                                                                                     WESTLAND        MI    48186‐8951
HENRY J BUSZTA & MRS PAULINE BUSZTA JT TEN         4930 KINGSWOOD DRIVE                                                                            ROSWELL         GA    30075‐5400
HENRY J BUTKO                                      367 HUNTER FORGE ROAD                                                                           MACUNGIE        PA    18062‐8511
HENRY J CAMP                                       6803 BRASWELL MT ROAD                                                                           ROCKMART        GA    30153‐3800
HENRY J CARSON                                     18674 GABLE ST                                                                                  DETROIT         MI    48234
HENRY J CARTER                                     3271 CASA LINDA                                                                                 DECATUR         GA    30032‐7151
HENRY J CIAK JR & MRS GENEVIEVE CIAK JT TEN        56 HOLYOKE ST                                                                                   EASTHAMPTON     MA    01027‐2422
HENRY J CIBOROWSKI                                 135 MILLBURY ST                                                                                 WORCESTER       MA    01610‐2821
HENRY J CORNELL                                    2719 BOTSFORD RD                                                                                HOWELL          MI    48843‐8059
HENRY J COX                                        209 CHARLOE CIRCLE                                                                              OTTAWA          OH    45875‐1007
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Name                                             Address1                               Address2              Address3         Address4          City              State Zip

HENRY J CROSS & MRS NANCY S CROSS JT TEN         4630 S BALDWIN                                                                                  LAINGSBURG      MI      48848‐9718
HENRY J CUTTING                                  3606 COMPSON CIR                                                                                RUSKIN          FL      33570‐5934
HENRY J DAILEY                                   12 OAKWOOD PL                                                                                   NORTH BRUNSWICK NJ      08902‐2353

HENRY J DE VRIES                                 2504 FOREST BLUFF COURT SE                                                                      GRAND RAPIDS      MI    49546‐7595
HENRY J DEEKEN JR & MARY C DEEKEN JT TEN         844 SEMINOLE WAY                                                                                REDWOOD CITY      CA    94062‐3423
HENRY J DOWNING                                  245 MIDWAY AVE                                                                                  FANWOOD           NJ    07023‐1038
HENRY J DUFFIN                                   378 S MAIN ST                          APT 4                                                    AMHERST           OH    44001‐2149
HENRY J EDLER JR                                 29 LOMBARDY DR                                                                                  BALTIMORE         MD    21222‐2309
HENRY J EYL                                      5851 ALLISON AVENUE                                                                             INDIAN SPRINGS    OH    45011‐2024
HENRY J FULLMER                                  6988 US RT 40E                                                                                  LEWISBURG         OH    45338
HENRY J GEROLA                                   BOX 55                                                                                          UPLAND            CA    91785‐0055
HENRY J GILDE                                    304 GARFIELD                                                                                    MARNE             MI    49435‐9608
HENRY J GORAK                                    11337 W 55TH LN                                                                                 ARVADA            CO    80002‐4914
HENRY J GOSZTYLA & MARY A GOSZTYLA JT TEN        27207 WELSH DRIVE                                                                               WARREN            MI    48092‐2611
HENRY J GRAF                                     115 W 197TH ST C‐22                                                                             BRONX             NY    10468‐2335
HENRY J GRAYSON                                  1741 WHITE GATE L                                                                               KALAMAZOO         MI    49009‐1816
HENRY J GUZEL & RENEE C GUZEL JT TEN             790 ALAMEDA AVE                                                                                 SHEFFIELD LAKE    OH    44054‐1313
HENRY J HAAS                                     7079 SHELL BRIDGE RD                                                                            LAUREL            DE    19956‐3960
HENRY J HAKANEN TR HENRY J HAKANEN TRUST UA      AMBER LIGHTS SUITE 117                 6231 N MONTEBELLA                                        TUCSON            AZ    85704
10/3/91
HENRY J HEMPHILL JR                              1762 ALDERBROOK ROAD N E                                                                        ATLANTA           GA    30345‐4110
HENRY J HOEFELT                                  39 HILLHOUSE AVE                                                                                BRIDGEPORT        CT    06606‐3736
HENRY J HUNTER                                   5012 DANIELL MILL RD                                                                            WINSTON           GA    30187‐1326
HENRY J JAYNES                                   226 NOBLE                                                                                       MILFORD           MI    48381‐2059
HENRY J JEFFERS                                  4939 HICKORY WOOD TRAIL                                                                         DAYTON            OH    45432‐3223
HENRY J JONES                                    112 MILL POND                                                                                   DENTON            TX    76201‐1540
HENRY J KNOLL                                    236 DRIFTWOOD CIRCLE                                                                            PRUDENVILLE       MI    48651‐9405
HENRY J KOWAL                                    1410 D'ANGELO DRIVE                                                                             NORTH             NY    14120‐3072
                                                                                                                                                 TONAWANDA
HENRY J KRESS                                    2301 ABBEY COURT                                                                                CANTON            MI    48188‐1801
HENRY J KRUPA                                    25NEWTON ST                                                                                     MERIDEN           CT    06450‐4414
HENRY J LACOUR                                   PO BOX 4464                                                                                     PINEVILLE         LA    71361‐4464
HENRY J LANDER                                   4050 ARQUETTE DR                                                                                INDIANAPOLIS      IN    46235‐1505
HENRY J LIGHTNER                                 107 CYRUS AVE                                                                                   PITMAN            NJ    08071‐1107
HENRY J MAGALSKI                                 812 S SCOTT                                                                                     FARWELL           MI    48622‐9699
HENRY J MANSON JR                                2344 N PARKER DR                                                                                JANESVILLE        WI    53545‐0716
HENRY J MAR                                      676 RIDGEWOOD RD                                                                                ROCHESTER HILLS   MI    48306‐2648
HENRY J MATTSON & BETTY J MATTSON JT TEN         1215 NORTH ELM                                                                                  THREE RIVERS      MI    49093
HENRY J MAZUR                                    3366 CARSON SALT SPRGS RD SW                                                                    WARREN            OH    44481
HENRY J MC GHEE                                  356 43RD ST SE                                                                                  GRAND RAPIDS      MI    49548‐3358
HENRY J MC GHEE JR                               1405 ANDREW ST                                                                                  KENTWOOD          MI    49508‐4813
HENRY J MCCOY                                    2915 F ST                                                                                       TOLEDO            OH    43608‐2219
HENRY J MILLIAN & MARY P MILLIAN JT TEN          N 7683 PINE KNOLLS DR                                                                           WHITEWATER        WI    53190‐4228
HENRY J NENGELKEN                                616 ESSEX AVE                                                                                   LINDEN            NJ    07036‐2664
HENRY J O'CONNOR                                 APT 205                                1155 W BLACKHAWK DR                                      WHITEWATER        WI    53190‐1670
HENRY J OCONNELL                                 605 BRAD CT                                                                                     WEBSTER           TX    77598‐4078
HENRY J OLAYNACK CUST MISS LESLIE ANN OLAYNACK   24 KAY BLVD                                                                                     NEWPORT           RI    02840‐2317
UGMA RI
HENRY J OLIVAS                                   2395 KEITH                                                                                      WEST BLOOMFIELD MI      48324‐3645

HENRY J ORTH 4TH                                 3462 N PARADISE LN                                                                              WASILLA           AK    99654‐9262
HENRY J ORTH IV & MARCI L ORTH JT TEN            3462 N PARADISE LANE                                                                            WASILLA           AK    99654‐9262
HENRY J OSOWIECKI                                17 RENWICK AVE                                                                                  STATEN ISLAND     NY    10301‐4215
HENRY J OWEN                                     4940 PUFFER RD                                                                                  DOWNERS GROVE     IL    60515‐3203
HENRY J PARKER                                   12810 LAUDER                                                                                    DETROIT           MI    48227‐2577
HENRY J PEDZICH                                  4782 W SENECA TNPK                                                                              SYRACUSE          NY    13215‐2127
HENRY J PIERZ                                    385 PARK AVE                                                                                    YONKERS           NY    10703‐2111
HENRY J POSTHUMUS                                15936 RIVER FOREST DR                                                                           HERSEY            MI    49639‐8547
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Name                                              Address1                              Address2             Address3          Address4          City              State Zip

HENRY J RAPONE                                     5349 LEEWARD LANE                                                                             NEW PORT RICHIE FL      34652‐3079
HENRY J RAPONE TOD JANET L PULLICIN SUBJECT TO STA 5349 LEEWARD LN                                                                               NEW PORT RITCHIE FL     34652‐3079
TOD RULES
HENRY J RIGELHOF TR HENRY J RIGELHOF TRUST UA      20 JEWEL LN N                                                                                 PLYMOUTH          MN    55447‐3565
01/03/91
HENRY J ROGERS JR                                  2320 WEST 113TH PLACE                UNIT 2308                                                CHICAGO           IL    60643‐4171
HENRY J RUSH                                       212 S 11TH ST                                                                                 LINDENHURST       NY    11757‐4510
HENRY J SCHLAK                                     3000 W CREEK DR                                                                               MEDINA            OH    44256‐5314
HENRY J SCHWEITER                                  5400 ALBIA RD                                                                                 BETHESDA          MD    20816‐1338
HENRY J SKWIERA                                    4006 HAZEL                                                                                    LINCOLN PK        MI    48146
HENRY J SMEETS                                     19219 N 130TH AVE                                                                             SUN CITY WEST     AZ    85375‐4549
HENRY J SOARES & DOLORES L SOARES JT TEN           1023 VIA BREGANI                                                                              SAN LORENZO       CA    94580‐1413
HENRY J SOAVE                                      21836 BEDFORD DR                                                                              NORTHVILLE        MI    48167
HENRY J STAWARZ                                    6766 HEYDEN                                                                                   DETROIT           MI    48228‐3970
HENRY J STINGER                                    214 WILLIAMSBURG RD                                                                           ARDMORE           PA    19003‐3104
HENRY J SUELL                                      21457 SEVERN RD                                                                               HARPER WOODS      MI    48225‐2369
HENRY J TATE                                       13305 TUCKER DR                                                                               DEWITT            MI    48820‐9354
HENRY J THIJSSEN                                   10713 WOODLEY AVE                                                                             GRANADA HILLS     CA    91344‐5344
HENRY J THOMAS                                     815 RT 7 N E                                                                                  BROOKFIELD        OH    44403‐9648
HENRY J TOUNGETT JR                                187 CAMPBELLSVILLE PIKE                                                                       ETHRIDGE          TN    38456‐5011
HENRY J TURNER                                     3016 SUMMER LAKE DR                                                                           GAINESVILLE       GA    30506‐1114
HENRY J VANBOURGONDIEN                             9824 SANDRINGHAM DR                                                                           CLARENCE          NY    14031‐2504
HENRY J VYSKOCIL                                   901 HUNTINGTON DR                                                                             OWOSSO            MI    48867‐1907
HENRY J WALSH & DEANNA F WALSH JT TEN              2276 PALOMAR AVE                                                                              VENTURA           CA    93001‐2464
HENRY J WEZNER & HELEN A WEZNER JT TEN             292 ACADIA DR                                                                                 POINCIANA         FL    34759
HENRY J WRUBLEWSKI                                 934 KENNETH AVE                                                                               ELIZABETH         NJ    07202‐3114
HENRY J WYATT & DEBRA U WYATT JT TEN               1939 RAYMOND                                                                                  DEARBORN          MI    48124‐4339
HENRY J ZALEWSKI & DONELLA A ZALEWSKI JT TEN       34248 FOUNTAIN BLVD                                                                           WESTLAND          MI    48185‐9426

HENRY J ZERAFA                                    7563 HIPP ST                                                                                   TAYLOR            MI    48180‐2615
HENRY JACKSON JR                                  436 VALENCIA                                                                                   PONTIAC           MI    48342‐1769
HENRY JACKSON SR                                  436 VALENCIA                                                                                   PONTIAC           MI    48342‐1769
HENRY JAMES                                       3797 E 155TH ST                                                                                CLEVELAND         OH    44128‐1238
HENRY JAMES AIREY                                 BOX 728                                                                                        STINSON BCH       CA    94970‐0728
HENRY JAMES COCOZZOLI                             14460 STONEHOUSE AVE                                                                           LIVONIA           MI    48154
HENRY JAMES FIORILLO                              437 RIVER ST                                                                                   OCEANPORT         NJ    07757‐1514
HENRY JAMES HERPEL & MARY RITA HERPEL & DIANE     31932 INGLEWOOD                                                                                BEVERLY HILLS     MI    48025‐3954
CECILE WELCH JT TEN
HENRY JAMES HERPEL MARY RITA HERPEL & THOMAS      31932 INGLEWOOD                                                                                BEVERLY HILLS     MI    48025‐3954
EDWARD HERPEL JT TEN
HENRY JAMES HERPEL SR MARY RITA HERPEL & HENRY    31932 INGLEWOOD                                                                                BEVERLY HILLS     MI    48025‐3954
JAMES HERPEL JT TEN
HENRY JAMES JACKSON JR                            PO BOX 232                                                                                     DERRICK CITY    PA      16727‐0232
HENRY JAMES SINGER                                10915 SEAVIEW DR                                                                               ANDERSON ISLAND WA      98303‐8615

HENRY JAROSZ                                      455 SPRINGVILLE AVE                                                                            EGGERTSVILLE      NY    14226‐2859
HENRY JEFFERSON                                   8020 ST PAUL                                                                                   DETROIT           MI    48214‐2608
HENRY JEFFERSON III                               21325 GREENVIEW                                                                                SOUTHFIELD        MI    48075‐4134
HENRY JOHN BRUNEA                                 RFD1                                                                                           BASOM             NY    14013
HENRY JOHN LIN                                    1241 VIA CORONEL                                                                               PALOS VERDES      CA    90274‐1952
                                                                                                                                                 ESTAT
HENRY JOHNSON                                     10494 KENNEDY ST                                                                               COFFEEVILLE       MS    38922‐2231
HENRY JOHNSON & VOLA M JOHNSON JT TEN             3751 MARYDELL PLACE APT 2                                                                      CINCINNATI        OH    45211
HENRY JOHNSON JR                                  PO BOX 2431                                                                                    ANDERSON          IN    46018‐2431
HENRY JONES                                       420 DUCHESS AV                                                                                 NORTH LAS VEGAS   NV    89030‐3859

HENRY JOSEPH BUCHALA                              400 MILL ST                           APT 308                                                  WILIAMSVILLE      NY    14221‐5157
HENRY JOSEPH SHARLAN JR                           18 BURNEY AVE                                                                                  MASSENA           NY    13662‐2342
HENRY JUNIOR DREUTH                               1095 LINDA DR                                                                                  DAVISON           MI    48423‐2835
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HENRY K GEORGE                                  EST OF HENRY K GEORGE                  611 PINEWOOD ST                                          YPSILANTI        MI   48198‐8017
HENRY K IHNKEN                                  5850 GOLFVIEW                                                                                   DEARBORN HEIGHTS MI   48127‐2483

HENRY K KAWAMOTO JR                             20136 PACIFIC COAST HWY                                                                         MALIBU          CA    90265‐5421
HENRY K LEDFORD                                 PO BOX 801                                                                                      STANTON         KY    40380‐0801
HENRY K LEE TR LEE FAM TRUST UA 07/22/94        3850 CATAMARCA DR                                                                               SAN DIEGO       CA    92124‐3404
HENRY K MORAN & MRS MARGARET L MORAN JT TEN     32441 KNAPP AVE                                                                                 WARREN          MI    48093

HENRY K MUELLER & CAROLINE MUELLER JT TEN    38 OLD SMALLEYTOWN RD                                                                              WARREN          NJ    07059‐5446
HENRY K WOODBURY & KATHERINE WOODBURY JT TEN 302 BROOKLINE RD                                                                                   ATHENS          VT    05143‐8591

HENRY KING & LORRAINE M KING TR KING FAM TRUST 227 MAIN ST                                                                                      MEDWAY          MA    02053‐1625
UA 02/22/99
HENRY KIRKWOOD & CAROLYN E KIRKWOOD TR           8100 E CAMELBACK RD #55                                                                        SCOTTSDALE      AZ    85251‐2729
KIRKWOOD FAM TRUST UA 01/28/98
HENRY KOSCHLAND                                  119 WILLIAMSBURG LANE                                                                          LAKEWOOD        NJ    08701‐1476
HENRY KREUTZTRAGER                               PO BOX 282                                                                                     WOOD RIVER      IL    62095‐0282
HENRY KUNKLER JR                                 BOX 29                                87 WASHINGTON ST                                         BURKETTSVILLE   OH    45310‐0029
HENRY L ANTWINE                                  249 DECATUR RD                                                                                 MCDONOUGH       GA    30253‐2027
HENRY L ASH                                      816 EAST 194TH STREET                                                                          GLENWOOD        IL    60425‐2112
HENRY L BLACK & ROSE A BLACK JT TEN              8806 WINDING RIDGE RD                                                                          INDIANAPOLIS    IN    46217‐4687
HENRY L BLUME & MRS MARGIE BLUME JT TEN          14417 DELAWARE                                                                                 LAKEWOOD        OH    44107‐5938
HENRY L BOTTELMAN                                W15337 HILL ST                                                                                 TIGERTON        WI    54486‐8528
HENRY L BURKERT                                  668 MIDWAY RD SE                                                                               BOLIVIA         NC    28422‐7508
HENRY L CARR                                     47 HEIGHTS ROAD                                                                                LAKE ORION      MI    48362‐2720
HENRY L CARRON                                   790 NORTH 4TH                                                                                  ST GENEVIEVE    MO    63670‐1010
HENRY L CASON                                    120 BOOKERDALE RD                                                                              WAYNESBORO      VA    22980‐1606
HENRY L CHANDLER                                 6708 PEPPERWOOD CT                                                                             WICHITA         KS    67226‐1609
HENRY L COBB                                     1640 DOGWOOD DRIVE                                                                             GREENSBORO      GA    30642‐3952
HENRY L FRANKLIN                                 2434 WHITTIER                                                                                  SAGINAW         MI    48601‐2449
HENRY L GIRE & JANET S GIRE JT TEN               428 KAWAIHAE STREET C13                                                                        HONOLULU        HI    96825‐1292
HENRY L GIRE CUST DAVID E GIRE UGMA HI           5628 HALEKAMANI ST                                                                             HONOLULU        HI    96821
HENRY L HALL SR                                  8615 DOWNING RD                                                                                BIRCH RUN       MI    48415‐9201
HENRY L HARDWICK                                 11123 NOTTINGHAM RD                                                                            DETROIT         MI    48224‐1788
HENRY L HARRIS JR                                2007 WAGON WHEEL COURT                                                                         ANDERSON        IN    46017‐9696
HENRY L HAUREZ                                   14374 N 300 E                                                                                  COVINGTON       IN    47932‐7058
HENRY L HAWTHORNE                                BOX 91639                                                                                      LOS ANGELES     CA    90009‐1639
HENRY L HELMINK                                  145 COLUMBIA AVE                      APT 570                                                  HOLLAND         MI    49423‐2980
HENRY L HENDERSON                                575 SILVER COURSE PASS                                                                         OCALA           FL    34472‐2232
HENRY L HOLLAND                                  90 CENTER ST                                                                                   ROCKY MOUNT     VA    24151‐1100
HENRY L HUBBARD                                  203 N WOODLAKE DR                                                                              CHOCTAW         OK    73020‐7313
HENRY L HULBERT TR PHILIP E POTTER FOUNDATION UA 6 FORD AVE                                                                                     ONEONTA         NY    13820‐1818
11/08/73
HENRY L JACKSON                                  PO BOX 1291                                                                                    GREENSBURG      LA    70441
HENRY L JARVIS                                   HC 75 BOX 125B                                                                                 NEBO            WV    25141‐9603
HENRY L JONES                                    6706 MYRON AVE                                                                                 ST LOUIS        MO    63121‐5348
HENRY L JONES                                    PO BOX 2474                                                                                    SAGINAW         MI    48605‐2474
HENRY L KROLIKOWSKI                              3450 N HURON RD                                                                                PINCONNING      MI    48650‐9487
HENRY L LEWIS                                    28 SYCAMORE DRIVE                                                                              OLMSTED         OH    44138‐2980
                                                                                                                                                TOWNSHIP
HENRY L LOUGH                                   10410 CRESSEY ROAD                                                                              PLAINWELL       MI    49080‐9044
HENRY L LOWENTRITT TR BENJAMIN HUGH             102 MULBERRY DR                                                                                 METAIRIE        LA    70005‐4015
LOWENTRITT UA 12/23/85
HENRY L MAZZA JR & DARLENE MAZZA JT TEN         2342 S SCOVILLE                                                                                 BERWYN          IL    60402‐2441
HENRY L MCINTOSH                                206 E RANKIN                                                                                    FLINT           MI    48505‐4977
HENRY L MOORE                                   PO BOX 1297                                                                                     ELKHORN CITY    KY    41522‐1297
HENRY L MOORE JR                                45 OAKWOOD AVE                                                                                  DANVILLE        IL    61832‐5423
HENRY L MORALES                                 471 LAKE CREEK DRIVE                                                                            NEW BRAUNFELS   TX    78130‐8228
HENRY L MORRIS JR & ROBERTA S MORRIS JT TEN     8084 COUNTY RD 131                                                                              OVID            NY    14521‐9522
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Name                                            Address1                             Address2                    Address3   Address4          City           State Zip

HENRY L MOTLEY                                  28478 ROSEWOOD                                                                                INKSTER        MI    48141‐1674
HENRY L NELSON JR                               1382 SEWARD ST 1 WEST                                                                         DETROIT        MI    48202
HENRY L O'CONNOR                                11505 CLEVELAND                                                                               NUNICA         MI    49448‐9619
HENRY L OATES                                   9951 CHATHAM                                                                                  DETROIT        MI    48239‐1307
HENRY L ODOMS                                   8154 MOLENA                                                                                   DETROIT        MI    48234‐4086
HENRY L PARENT                                  3345 CAMINO DEL SOL DR                                                                        WILLIAMSTON    MI    48895‐9100
HENRY L ROBERSON                                19016 NADOL                                                                                   SOUTHFIELD     MI    48075‐5819
HENRY L SHELTON                                 2805 QUESTEND N DR                   APT N                                                    INDIANAPOLIS   IN    46222‐2255
HENRY L SHEPPARD                                501 CHARLES STREET                                                                            MILFORD        DE    19963‐2029
HENRY L STEPHENS JR                             912 GARFIELD PL                                                                               DANVILLE       IL    61832‐3333
HENRY L SULKOWSKI                               13348 NORMAN CIR                                                                              HUDSON         FL    34669‐2451
HENRY L VAUGHT                                  9009 S CLAREMONT AVE                                                                          CHICAGO        IL    60620‐6123
HENRY L WALTERS & MRS LOTTIE M WALTERS JT TEN   2149 CRANE AVE                                                                                CINCINNATI     OH    45207‐1320

HENRY L WEIDNER                                 330 N 11TH ST                                                                                 MIAMISBURG     OH    45342‐2508
HENRY L WELLS                                   19143 WESTBROOK ST                                                                            DETROIT        MI    48219‐1941
HENRY L WELLS & RICHARD A WELLS JT TEN          3 COVE LANE                                                                                   FAYETTEVILLE   NY    13066‐1714
HENRY L WEST                                    6208 WILLOW                                                                                   RAYTOWN        MO    64133‐4118
HENRY L WILCOX                                  314 EDGEWATER DR                                                                              KOKOMO         IN    46902‐3528
HENRY L WILLIAMS                                120 JOST MANOR DR                                                                             FLORISSANT     MO    63034‐2269
HENRY L WILLIAMS                                5410 N KINGSHIGHWAY                                                                           ST LOUIS       MO    63115‐1425
HENRY L WONG                                    499 CASSELINO DR                                                                              SAN JOSE       CA    95136‐4812
HENRY L WOODFORK                                15843 ADDISON ST                                                                              SOUTHFIELD     MI    48075‐3053
HENRY LADD APFELBACH                            332 INGRAM ST                                                                                 NORTHFIELD     IL    60093‐3139
HENRY LANDRY JR                                 1223 CHRISTIANBURG LN                                                                         SWEETWATER     TN    37874‐6285
HENRY LAURINO JR                                C/O HENRY LAURINO SR                 20 BIRCHWOOD DRIVE                                       SHORT HILLS    NJ    07078‐3311
HENRY LEE ANTHONY JR                            133 E MCCLELLAN                                                                               FLINT          MI    48505‐4223
HENRY LEE FULLER JR                             2620 PEWANAGA PL                                                                              FLINT          MI    48507‐1841
HENRY LEE JONES                                 C/O TOMMY MCCLURE                    1211 BAZZELL CEMENTARY RD                                MURRAY         KY    42071‐8059
HENRY LIMBACH & JEAN LIMBACH JT TEN             151 POWERHOUSE RD                                                                             ROSLYN HTS     NY    11577‐1915
HENRY LOESER & THEA LOESER JT TEN               2100 LINWOOD AV                      APT 6G                                                   FT LEE         NJ    07024‐3121
HENRY LONDON                                    1713 CARMANBROOK PKWY                                                                         FLINT          MI    48507‐1441
HENRY LOREL PREWETT JR                          306 SUBURBAN DR                                                                               ANDERSON       IN    46017‐9692
HENRY LOUIE & MRS MUYA O LOUIE JT TEN           834 VIEWRIDGE DRIVE                                                                           SAN MATEO      CA    94403‐4040
HENRY LOW & FELA V LOW JT TEN                   212 LOS CERROS AVE                                                                            WALNUT CREEK   CA    94598‐3105
HENRY LOW & MRS MARGARET P LOW JT TEN           1047 JEFFERSON ST                                                                             LOS BANOS      CA    93635‐4818
HENRY LUM JR & MRS BETTY Y LUM JT TEN           4202 SUZANNE DR                                                                               PALO ALTO      CA    94306‐4335
HENRY LYNN HOOK                                 101 STARE RD                                                                                  NEWARK         OH    43055‐4722
HENRY M ADAMS                                   RTE 1 BOX 623                                                                                 SOD            WV    25564‐9738
HENRY M ALBRIGHT & OURANIA J ALBRIGHT TEN COM   4607 COVENTRY ROAD                                                                            HARRISBURG     PA    17109‐1639

HENRY M BENNETT                                 962 STACY PLACE                                                                               RAHWAY         NJ    07065‐2144
HENRY M BIGLAN                                  ATTN D THOMAS                        415 WYOMING AVE                                          SCRANTON       PA    18503‐1227
HENRY M CHIN                                    50‐18 OCEANIA ST                                                                              BAYSIDE        NY    11364‐1123
HENRY M FLEIG                                   151 PATH LANE                                                                                 BLUEFIELD      WV    24701
HENRY M J NAEF TR FREDERICK E NAEF TRUST UA     9 OAKWOOD ST                                                                                  E GREENBUSH    NY    12061‐2505
03/03/95
HENRY M JASKOLSKI                               124 ROSS DUST DRIVE                                                                           ROCHESTER      NY    14626‐1087
HENRY M JENNINGS                                3042 DELAWARE ST                                                                              OAKLAND        CA    94602‐3220
HENRY M JUNGMAN                                 PO BOX 33188                                                                                  AUSTIN         TX    78764‐0188
HENRY M KOSLOWSKI                               318 FOURTH AVE                                                                                BALTIMORE      MD    21227‐3208
HENRY M LOKEY JR                                1207 N FOSTER AVE                                                                             LANSING        MI    48912
HENRY M MARTIN                                  1330 LAKEMONT DR                                                                              ARNOLD         MO    63010‐4622
HENRY M MAUTNER                                 1113 FAIRWAY LANE                                                                             NORTHBROOK     IL    60062‐2710
HENRY M MC COURY                                671 GREY RD                                                                                   AUBURN HILLS   MI    48326‐3815
HENRY M MITCHELL                                144 LAKEVIEW LANE                                                                             S RUSELL       OH    44022‐4227
HENRY M MORGAN & MRS JOY MORGAN JT TEN          768 CASAD AVE                                                                                 COVINA         CA    91723‐3224
HENRY M MORGAN JR & JOY C MORGAN JT TEN         768 CASAD ST                                                                                  COVINA         CA    91723‐3224
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HENRY M MORYCZ & MRS ANNA M MORYCZ JT TEN            5620 KOEFFER DR                                                                                PITTSBURGH        PA    15236‐3349

HENRY M MUSAL JR & CAROLYN J MUSAL TR MUSAL          19865 BRAEMAR DR                                                                               SARATOGA          CA    95070‐5027
LIVING TRUST UA 11/27/95
HENRY M NIIZAWA & LILLIAN V NIIZAWA JT TEN           716 S CANYON MIST LANE                                                                         ANAHEIM HILLS     CA    92808‐1432
HENRY M O'BRYAN & JOAN M O'BRYAN TEN COM             1600 CHARLOTTE RD                                                                              PLAINFIELD        NJ    07060‐1943
HENRY M OSWALD                                       4 MILFORD ST                                                                                   HAWTHORNE         NY    10532‐1822
HENRY M PALEJCZYK JR                                 870 PROVINCE LINE RD                                                                           ALLENTOWN         NJ    08501‐1209
HENRY M PALUS                                        4206 NATHAN W                                                                                  STEARLING HEIGHTS MI    48310‐2651

HENRY M ROSKWITALSKI JR                              259 ROSEMONT AVE                                                                               BUFFALO           NY    14217‐1052
HENRY M ROWSEY                                       5944 CRANE DRIVE                                                                               LAKELAND          FL    33809‐7618
HENRY M SZPAK                                        14238 GLENWOOD DRIVE                                                                           SHELBY TOWNSHIP   MI    48315‐5448

HENRY M TYSON                                        3771 CARROLLTON ROAD                                                                           SAGINAW           MI    48604‐2001
HENRY M VILLARREAL                                   13531 REMINGTON ST                                                                             PACOIMA           CA    91331‐3821
HENRY M VISICK & BEVERLY M VISICK TR VISICK FAMILY   2272 W CANTERBURY ST                                                                           SPRINGFIELD       MO    65810‐2375
TRUST UA 04/01/93
HENRY M WILLIAMS                                     6822 FOX LAKE DR N                                                                             INDIANAPOLIS      IN    46278‐1220
HENRY M WILLIAMSON                                   48 SUMMIT ST                                                                                   ELMSFORD          NY    10523‐3410
HENRY M WRIGHT                                       1816 PINGREE AVE                                                                               FLINT             MI    48503‐4324
HENRY M WYSOCKI                                      1088 SUDDEN VALLEY                                                                             BELLINGHAM        WA    98229‐4828
HENRY MADKIN JR                                      10100 HARPER AVE                      ROOM 325                                                 DETROIT           MI    48213‐3112
HENRY MAGIERA & REGINA MAGIERA JT TEN                1514 N MONROE AVE                                                                              RIVER FOREST      IL    60305‐1130
HENRY MAR & BETTY MAR TR MAR LIVING TRUST UA         1970 CERCO ALTA DR                                                                             MONTEREY PARK     CA    91754‐2215
05/02/91
HENRY MARCZAK                                        60 JERSEY ST                                                                                   TRENTON            NJ   08611‐2424
HENRY MARSHALL                                       22804 AVON ST                                                                                  SAINT CLAIR SHORES MI   48082‐2014

HENRY MARSHALL JR                                    1713 ARIZONA AVE                                                                               FLINT             MI    48506‐4628
HENRY MC LEOD JR                                     815 W COVINGTON ST                                                                             LAURINBURG        NC    28352‐3508
HENRY MC SHAN JR                                     3830 W OUTER DR                                                                                DETROIT           MI    48221‐1508
HENRY MERTOWSKI                                      71 EDMUND ST                                                                                   BUFFALO           NY    14227‐1803
HENRY MEYER & NORMAN H MEYER JT TEN                  4059 OBERLIN ROAD                                                                              GLADWIN           MI    48624‐8954
HENRY MILLER                                         1511 VANDYKE GREENSPRING RD                                                                    SMYRNA            DE    19977‐9489
HENRY MINOR DENT 3RD                                 6531 WESTMINSTER ROAD                                                                          KNOXVILLE         TN    37919‐8641
HENRY MISIALOWSKI                                    14707 NORTHVILLE RD                   APT 408                                                  PLYMOUTH          MI    48170‐6075
HENRY MOORE                                          6009 S W 63RD BLVD                                                                             GAINESVILLE       FL    32608‐4856
HENRY MUNFORD                                        3666 COCHISE DRIVE N W                                                                         ATLANTA           GA    30339‐4331
HENRY N BLOUNT III                                   3234 VALLEY LANE                                                                               FALLS CHURCH      VA    22044‐1739
HENRY N CALDERON                                     2355 N ELMDALE AVE                                                                             SIMI              CA    93065‐2509
HENRY N DUIGOU                                       2945 POND LN SW                                                                                WARREN            OH    44481‐9279
HENRY N GIGUERE                                      115 E KINGS HWY                       UNIT 445                                                 MAPLE SHADE       NJ    08052‐3498
HENRY N HAUXWELL                                     1686 HAYDEN RD                                                                                 ATTICA            MI    48412‐9308
HENRY N ODGERS                                       RD2                                                                                            AVOCA             PA    18641
HENRY N PARSLEY JR                                   4133 CRESCENT ROAD                                                                             BIRMINGHAM        AL    35222‐4332
HENRY N RECHKEMMER                                   3126 MODRED DRIVE                                                                              SAN JOSE          CA    95127‐1434
HENRY N THORP JR                                     5676 OLD ROXBORO RD                                                                            OXFORD            NC    27565‐8284
HENRY N TIFFT JR & SUZANNE MC C TIFFT JT TEN         2149 VIA FUENTES                                                                               VERO BEACH        FL    32963‐4302
HENRY NAHOUM                                         24055 PASEO DEL LAGO                  UNIT 1306                                                LAGUNA WOODS      CA    92637‐7318
HENRY NEAL BOCCIO                                    7217 FAIR VALLEY WAY                                                                           PLANO             TX    75024‐3487
HENRY NICHOLAS                                       12175 POWDER HORN TRAIL                                                                        OTISVILLE         MI    48463‐9718
HENRY NORFLEET                                       570 CHELSEA DR                                                                                 CYNTHIANA         KY    41031‐5918
HENRY NORTHINGTON                                    3115 WASH BLVD                                                                                 INDIANAPOLIS      IN    46205‐3932
HENRY O GOODMAN                                      BX 77                                                                                          CONVERSE          IN    46919‐0077
HENRY O HATCHER                                      4293 SUGAR HARRIS RD                                                                           MIDWAY            AL    36053‐8700
HENRY O MC NALLY                                     22246 EDGEWATER                                                                                NOVI              MI    48375‐5015
HENRY O MURRAY                                       606 E BEVERLY                                                                                  PONTIAC           MI    48340‐2908
HENRY O PERRY                                        10 MANCHESTER DR                                                                               NORWALK           OH    44857‐2483
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HENRY O TIDWELL                                  504 LIVE OAK DR                                                                                   EULESS           TX    76040‐3929
HENRY O WAGLEY JR & MRS RUTH E WAGLEY JT TEN     112 COUSLEY DRIVE S E                                                                             PORT CHARLOTTE   FL    33952‐9111

HENRY ORBACH                                     55 CALICOONECK RD                                                                                 SOUTH            NJ    07606‐1612
                                                                                                                                                   HACKENSACK
HENRY ORTEGON                                    5400 JEPPSON DRIVE                                                                                SALIDA           CA    95368‐9334
HENRY OSTROWSKI                                  5930 CHIPPEWA RD                                                                                  TOLEDO           OH    43613‐1120
HENRY OTTO METZGER                               61‐12 GROVE ST                                                                                    RIDGEWOOD        NY    11385‐2639
HENRY OUIMET                                     2010 ALHAMBRA CIR                                                                                 CORAL GABLES     FL    33134‐2103
HENRY P ASZKLAR                                  34 HOBART ST                           APT 303                                                    SOUTHINGTON      CT    06489
HENRY P BERDEN                                   22466 CURIE AVE                                                                                   WARREN           MI    48091‐2575
HENRY P HALL                                     659 CHELSEA LN                                                                                    ALLENTOWN        PA    18104‐4410
HENRY P HILL                                     1002 BERWICK ST                                                                                   PONTIAC          MI    48341‐2317
HENRY P JENNINGS JR                              6903 FULTON AVE                                                                                   LUBBOCK          TX    79424
HENRY P KNOLLE FARMS                             PO BOX 90                                                                                         SANDIA           TX    78383‐0090
HENRY P LANCASTER                                2118 SALEM DRIVE                                                                                  INDEPENDENCE     MO    64058‐1355
HENRY P PORTER JR                                DEPT OF HISTORY                        WASHINGTON & LEE UNIVERSITY                                LEXINGTON        VA    24450
HENRY P SIKORSKI                                 226‐A SOUTH TRAIL                                                                                 STRATFORD        CT    06614‐8189
HENRY P SMOLICH TR UA 12/07/88 HENRY P SMOLICH   326 N CALIFORNIA ST                                                                               BURBANK          CA    91505‐3507
TRUST
HENRY PACHECO                                    235 GREY PLACE                                                                                    BELEN            NM    87002‐6006
HENRY PALMER JR & MARION PALMER JT TEN           64 RIDGE DRIVE                                                                                    LIVINGSTON       NJ    07039‐3745
HENRY PASCHAL BUFFALOE                           PO BOX 44                                                                                         PALACIOS         TX    77465
HENRY PAUL SCHOLTE                               1403 PEACHTREE BLVD                                                                               RICHMOND         VA    23226‐1141
HENRY PETER BURROWS III                          102 JORDAN XING                                                                                   PRATTVILLE       AL    36067‐1751
HENRY PIERCE                                     34 WILLOUGHBY ST                                                                                  SOMERVILLE       MA    02143‐1203
HENRY PINKNEY JR                                 PO BOX 12902                                                                                      WILMINGTON       DE    19850‐2902
HENRY PIZANA                                     1509 W OTTAWA ST                                                                                  LANSING          MI    48915‐1780
HENRY POPLAR JR                                  2109 CASTLE LANE                                                                                  FLINT            MI    48504‐2026
HENRY POWELL & LORRAINE A POWELL JT TEN          17555 TIFFANY TRACE                                                                               BOCA RATON       FL    33487‐1297
HENRY PRASTIEN                                   7 MARK DR                                                                                         SPRING VALLEY    NY    10977‐1009
HENRY PRAYLO                                     2827 BELLAIRE ST                                                                                  DENVER           CO    80207‐3024
HENRY Q JONES                                    2208 W DAYTON                                                                                     FLINT            MI    48504‐2713
HENRY R ALKER SR                                 700 MILLS ST                                                                                      SCOTT            LA    70583‐5236
HENRY R BEKTA                                    5308 OAKDALE DR                                                                                   OAKLAWN          IL    60453‐4611
HENRY R BELKO JR                                 2570 VAN WORMER RD                                                                                SAGINAW          MI    48609‐9787
HENRY R BENDER TR UA 02/02/2002 HENRY R BENDER   6434 EDGEWATER DR                                                                                 ERIE             MI    48133
TRUST
HENRY R BOLLACK                                  9223 GREENHOUSE CIR                                                                               NOTTINGHAM       MD    21236‐1760
HENRY R BORKOWSKI                                27 OLD FARM RD                                                                                    DEPEW            NY    14043‐4133
HENRY R BROWN                                    C/O LAWRENCE A BROWN EX                3250 HEATHERFIELD DR                                       HACIENDA HTS     CA    91745‐6135
HENRY R BUCKWALTER II                            7116 ATLANTIC AVE                                                                                 VIRGINIA BCH     VA    23451‐2027
HENRY R BURAWSKI                                 358 HAZEL AVE                                                                                     GARWOOD          NJ    07027
HENRY R CARMONA                                  3207 DENNIS AVE                                                                                   CLOVIS           CA    93619‐5104
HENRY R CASTILLO                                 1976 BRIDGEWATER ST                                                                               ATWATER          CA    95301‐4818
HENRY R CONNOR & CHRISTOPHER S CONNOR JT TEN     2315 ORTEGA RANCH RD                                                                              SANTA BARBARA    CA    93108‐2265

HENRY R DINNOCENZO                               65 SO NIAGARA ST                                                                                  LOCKPORT         NY    14094‐2612
HENRY R FICK & CORRINE L FICK JT TEN             1430 CAMBRIA DR                                                                                   DE KALB          IL    60115‐1000
HENRY R FLORES                                   2014 IRVING AVE                                                                                   SAGINAW          MI    48602‐4836
HENRY R GAN & MARANDA L GAN JT TEN               1066 MOUNTAIN SHADOWS ROAD                                                                        SAN JOSE         CA    95120‐3341
HENRY R GESICKI                                  69 FOOTHILLS DR                                                                                   SOUTH RIVER      NJ    08882‐2506
HENRY R GUTIERREZ                                3932 OAK GROVE RD                                                                                 NORTH BRANCH     MI    48461‐8910
HENRY R JILES & MARJORIE M JILES JT TEN          1770 REDWOOD TERR NW                                                                              WASHINGTON       DC    20012‐1055
HENRY R MARTIN JR & DOROTHY M MARTIN JT TEN      42834 RAVENSBOURNE PARK ST                                                                        FREMONT          CA    94538‐3984

HENRY R MC NEAL                                  8289 E STATE HWY 52                                                                               HARTFORD         AL    36344‐9778
HENRY R MERRILL                                  405 WESTERN HEIGHTS BLVD                                                                          ENDICOOTT        NY    13760‐3763
HENRY R MORISON                                  4722 PLEASANT GROVE RD                                                                            LANSING          MI    48910‐5037
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HENRY R NEWMAN JR                                8620 W 44TH PLACE                                                                                 LYONS             IL    60534‐1611
HENRY R OLENDER SR                               326 CANTERBURY TNPKE                                                                              NORWICH           CT    06360‐1710
HENRY R OPPENHEIMER                              PO BOX 588                                                                                        WYOMING           RI    02898‐0588
HENRY R OSBORN                                   571 HICKON RD                                                                                     QUAKERTOWN        PA    18951‐4601
HENRY R OSENTOSKI                                3409 WYNNS MILL ROAD                                                                              METAMORA          MI    48455‐9628
HENRY R PANTONI                                  70 CHURCHVILLE LANE                                                                               CHURCHVILLE       PA    18966‐1502
HENRY R RAMIREZ                                  12121 BEVERLY DR                                                                                  WHITTIER          CA    90601‐2702
HENRY R ROGERS                                   4947 GARFIELD                                                                                     KANSAS CITY       MO    64130‐2544
HENRY R SCHULER JR & KATHLEEN T SCHULER JT TEN   1269 FOURTH AVE                                                                                   SAN FRANCISCO     CA    94122‐2647

HENRY R SCHULMAIER JR & GERALD T SCHULMAIER &    464 OAK WOODS ROAD                                                                                NORTH BERWICK     ME    03906‐5907
ELEANOR P PHINNEY JT TEN
HENRY R SCHULMAIER JR GERALD I SCHULMAIER &      464 OAK WOODS ROAD                                                                                NORTH BERWICK     ME    03906‐5907
ELEANOR P PHINNEY JT TEN
HENRY R SMEDLEY JR                               205 WEST END AVE #26L                                                                             NEW YORK          NY    10023‐4826
HENRY R SNYDER                                   2422 SENECA                                                                                       FLINT             MI    48504‐7105
HENRY R THACKER & BETTYE B THACKER JT TEN        100 POWHATAN CIRCLE                                                                               CHARLOTTESVILLE   VA    22901‐1032

HENRY R WILLIAMS                                 168 NEW HAMPSHIRE CT                                                                              MOCKSVILLE        NC    27028‐4265
HENRY R WOJNAROWICZ                              17387 BIRCH TREE LN                                                                               MACOMB            MI    48044‐1689
HENRY RALSTON                                    239 MIDLAND AVENUE                                                                                BUFFALO           NY    14223‐2540
HENRY REAL                                       5736 DIM STARS CT                                                                                 N LAS VEGAS       NV    89031‐1374
HENRY RHODES                                     5703 PEARTON CT                                                                                   CINCINNATI        OH    45224‐2715
HENRY RICE                                       4280 E 175TH ST                                                                                   CLEVELAND         OH    44128‐3537
HENRY RICHARD DANCONA                            C/O DANCONA & COMPANY                  111 W JACKSON BLVD STE 1044                                CHICAGO           IL    60604‐3502
HENRY RILEY JR                                   15466 LAUDER                                                                                      DETROIT           MI    48227‐2629
HENRY RIVET & ELIZABETH J RIVET JT TEN           19 FAIRLAWN AVE                                                                                   RENSSELAER        NY    12144‐3103
HENRY ROBERT EDWARD RHODA                        104 MECCA ST                                                                                      CAIRO             NE    68824‐9606
HENRY ROBERT WOOD & BETTY WOOD JT TEN            690 RUTGERS                                                                                       ROCHESTER HILLS   MI    48309‐2543
HENRY ROLLIN                                     121 PROCTOR                                                                                       BUFFALO           NY    14215‐3528
HENRY ROSS                                       9034 S BIRDLONG AVE                                                                               LOS ANGELS        CA    90044
HENRY ROSS                                       8276 WHITCOMB                                                                                     DETROIT           MI    48228‐2254
HENRY RUPPEL MILDRED RUPPEL & GREGORY MARK       2595 LUELLA                                                                                       SAGINAW           MI    48603‐3039
RUPPEL JT TEN
HENRY S ALLEN & DORIS L ALLEN JT TEN             307 HYLAN AVE                                                                                     HAMLET            NC    28345‐2427
HENRY S BALE JR                                  509 E CROSS ST                                                                                    WILMINGTON        IL    60481‐1018
HENRY S COX                                      3939 OLD ATLANTA RD                                                                               GRIFFEN           GA    30223‐5702
HENRY S DELCAMP                                  3701 BAYNARD DR                                                                                   PUNTA GORDA       FL    33950‐7517
HENRY S DRAKE JR                                 PO BOX 1123                                                                                       DILLWYN           VA    23936‐1123
HENRY S GAJDA & DAGMAR G GAJDA JT TEN            743 79TH PLACE                                                                                    DOWNERS GROVE     IL    60516‐4347
HENRY S HUDSON & BEVERLY Y HUDSON JT TEN         64 HARRIS HILL RD                                                                                 FULTON            NY    13069‐4723
HENRY S KAMINSKI                                 1123 PENNSYLVANIA AVENUE                                                                          TRENTON           NJ    08638‐3346
HENRY S KAMINSKI & JEANNETTE KAMINSKI JT TEN     1123 PENNYSLANIA AVENUE                                                                           TRENTON           NJ    08638‐3346

HENRY S MOBLEY                                   11634 CLEAR CREEK DRIVE                                                                           PENSACOLA         FL    32514‐9705
HENRY S MOSS                                     3123 KEMP DRIVE                                                                                   NORMANDY          MO    63121‐5311
HENRY S PETERSON & IRENE PETERSON JT TEN         6421 CLUB COURT WEST                                                                              GRAND BLANC       MI    48439‐9457
HENRY S ROBBINS                                  3518 EUCLID DR                                                                                    TROY              MI    48083‐5707
HENRY S SPYKER & LINDA K SPYKER JT TEN           3405 RADFORD DR                                                                                   LANSING           MI    48911‐4400
HENRY S STANGER                                  7280 DEMEDICI CIRCLE                                                                              DELRAY BEACH      FL    33446‐3188
HENRY S STEARNS                                  2825 S 600 E                                                                                      FRANKLIN          IN    46131‐8050
HENRY S STIFF & MARGUERITE B STIFF JT TEN        10500 BEARD RD                                                                                    BYRON             MI    48418‐9737
HENRY SANCHEZ                                    960 JEAN WAY                                                                                      HAYWARD           CA    94545‐1504
HENRY SANNELLA                                   61 GLEN ROAD                                                                                      YONKERS           NY    10704‐3617
HENRY SCHANK                                     40 CHARLES TERRACE                                                                                WALDWICK          NJ    07463‐2015
HENRY SCHANK & HELEN R SCHANK JT TEN             40 CHARLES TERRACE                                                                                WALDWICK          NJ    07463‐2015
HENRY SCHEFTER CUST CARLO SCHEFTER UGMA CT       39 DUPONT ST                           TORONTO ON                               M5R 1V3 CANADA

HENRY SEABROOK SCHANCK JR                        23 ST GEORGE PL                                                                                   KEYPORT           NJ    07735‐1438
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HENRY SHIPLEY FORD                                 813 COLT DR                                                                                      WAKE FOREST     NC    27587‐4609
HENRY SHOUSE & BELLA SHOUSE JT TEN                 BOX 483 GOOSE BAY                      LABRADOR NL                            A0P 1C0 CANADA
HENRY SIMM                                         345 WEST RD                                                                                      WESTFIELD       MA    01085‐9749
HENRY SIMON JR                                     3801 CANTERBURY RD                     UNIT 718                                                  BALTIMORE       MD    21218‐2381
HENRY SIMON JR & BETSY D SIMON JT TEN              3801 CANTERBURY RD                     UNIT 718                                                  BALTIMORE       MD    21218‐2381
HENRY SMITH                                        19200 STRASBURG ST                                                                               DETROIT         MI    48205‐2131
HENRY SMITH                                        174 E LORAIN ST                                                                                  OBERLIN         OH    44074‐1212
HENRY SMITH JR                                     702 CHATEAU DRIVE                                                                                ROGERS          AR    72758‐3938
HENRY SOBCZYK TR UA SOBCZYK FAMILY LIVING TRUST    4848 N NATOMA AVE                                                                                CHICAGO         IL    60656‐4014
08/27/91
HENRY SOLOMON RICE                                 PMB 543                                1270 N MARINE DR STE 101   TAMUNING    96913 GUAM                               ‐4313
HENRY SPARKS                                       915 W MAPLE AVE                                                                                  ADRIAN          MI    49221‐1414
HENRY SPERLING                                     ATTN PAULINE SPERLING                  14 CRENSHAW CT                                            MONROE          NJ    08831‐2993
HENRY SPROTT LONG JR                               3016 CLAIRMONT AVE S                                                                             BIRMINGHAM      AL    35205‐1113
HENRY STANKOWSKI & MARION H STANKOWSKI JT TEN      3612 WASHINGTON PIKE                                                                             BRIDGEVILLE     PA    15017‐1052

HENRY STANLEY DLUGOKINSKI                          10909 MATTESON CORNERS ROAD                                                                      HOLLAND         NY    14080‐9310
HENRY STELLING                                     2176 PROSPECT AVE                                                                                EAST MEADOW     NY    11554‐1944
HENRY STEPHEN BOYARS                               5445 N CORTONA WAY                                                                               MERIDIAN        ID    83642‐3248
HENRY STEPHEN SZYMANSKI                            5693 NEWHOUSE RD                                                                                 EAST AMHERST    NY    14051‐1923
HENRY STUPECKI JR & LORRAINE L STUPECKI JT TEN     29759 TROPEA DR                                                                                  WARREN          MI    48092‐3332

HENRY T BETTS                                      1329 GENESEE AVENUE                                                                              LOS ANGELES     CA    90019‐2409
HENRY T BIZOE                                      5437 MURRAY COURT                                                                                WATERFORD       MI    48327‐1775
HENRY T BOWEN                                      12190 W LAKESHORE DR                                                                             BRIMLEY         MI    49715‐9319
HENRY T CLAIBORNE III                              428 BEAR CUB WAY                                                                                 BOGART          GA    30622
HENRY T DOZIER                                     PO BOX 125                                                                                       EDWARDS         MS    39066‐0125
HENRY T EASON                                      49 GODFREY ST                                                                                    BUFFALO         NY    14215‐2313
HENRY T FOXX                                       PO BOX 398                                                                                       AVON            OH    44011‐0398
HENRY T FURUSHIMA & MRS CHIYEKO FURUSHIMA JT       22 CHARLES AVE                                                                                   BRIDGETON       NJ    08302‐3647
TEN
HENRY T HALL                                       51 DECATUR ST                                                                                    BINGHAMTON      NY    13903
HENRY T HANSON                                     53495 EMERALD AVE                                                                                RUSH CITY       MN    55069‐2736
HENRY T HEAL                                       6391 RICHFIELD RD                                                                                FLINT           MI    48506‐2209
HENRY T KREMER                                     11031 LONGSHORE WAY EAST                                                                         NAPLES          FL    34119‐7977
HENRY T LENCICKI & DAVID LENCICKI JT TEN           1215 DARTMOUTH STREET                                                                            SCRANTON        PA    18504‐2721
HENRY T LENCICKI & RICHARD LENCICKI JT TEN         1215 DARTMOUTH STREET                                                                            SCRANTON        PA    18504‐2721
HENRY T LOWENDICK                                  3751 CHATTAHOOCHEE SUMMIT DR SE                                                                  ATLANTA         GA    30339‐3246
HENRY T O'SULLIVAN JR                              3 STUYVESANT OVAL                      APT 8 G                                                   NEW YORK        NY    10009‐2128
HENRY T ROSE                                       2 HENDRICKSON WAY                                                                                ALLENTOWN       NJ    08501‐1641
HENRY T STOKES & THOMAS J STOKES JT TEN            439 VICTOR DR                                                                                    SAGINAW         MI    48609‐5185
HENRY T WINDSOR                                    106 SHAWN CT                                                                                     GRANVILLE       OH    43023‐9578
HENRY TERREL CAMPBELL & KATHRYN S CAMPBELL JT      412 5TH STREET                                                                                   LANDIS          NC    28088‐2104
TEN
HENRY THACKER 100 POWHATAN CIRCLE                  100 POWHATAN CIRCLE                                                                              CHARLOTTESVLE   VA    22901
HENRY THIEL & FRANCES THIEL JT TEN                 2467 CLYDIA ST                                                                                   PORTAGE         IN    46368
HENRY THOMAS                                       3634 N TAMARISK AVE                                                                              BEVERLY HILLS   FL    34465‐3365
HENRY THOMAS                                       2122 S 20TH AVE                                                                                  BROADVIEW       IL    60153‐2954
HENRY TIGER                                        4316 N LAWRENCE STREET                                                                           PHILADELPHIA    PA    19140‐2442
HENRY TSANG                                        BOX 7856                                                                      HONG KONG, CHINA
HENRY ULLOA SR & JUANITA ULLOA JT TEN              1208 N ROWAN ST                                                                                  ANAHEIM         CA    92801‐5944
HENRY V BOROVITZ                                   1‐C SPRAY TERRACE                                                                                WINFIELD PARK   NJ    07036‐6618
HENRY V HARMAN & MAXINE K HARMAN JT TEN            1717 BELLEVUE AVE                      APT A615                                                  RICHMOND        VA    23227‐3984
HENRY V KITCHENS                                   PO BOX 4                                                                                         EULESS          TX    76039‐0004
HENRY V KLECZKA                                    7271 S 35TH ST                                                                                   FRANKLIN        WI    53132‐9468
HENRY V KLINT & PATRICIA A KLINT JT TEN            415 GARNET COURT                                                                                 FORT MILL       SC    29708‐7892
HENRY V MOBBS                                      420 TAYLOR CIR                                                                                   ETHRIDGE        TN    38456‐5630
HENRY V REESE                                      PO BOX 147                                                                                       UNION PIER      MI    49129‐0147
HENRY V YOUNG                                      102 MORNING ECHO DR                                                                              COLUMBIA        SC    29229‐8954
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HENRY VALDEZ                                      PO BOX 934                                                                                      SNYDER            TX    79550
HENRY VANBODEN & KATHLEEN A VANBODEN JT TEN       181 SEARLWYN RD                                                                                 SYRACUSE          NY    13205‐3126

HENRY VANDEN BROOK III                            7195 LEYTON DR SE                                                                               GRAND RAPIDS      MI    49546‐7338
HENRY VELASQUES & ANTOINETTE VELASQUES JT TEN     6 MCDONALD WAY                                                                                  ENGLISHTOWN       NJ    07726‐3759

HENRY VICKERS EGGERS ATTN THE VICKERS GROUP       1515 W 190TH ST SUITE 540                                                                       GARDENA           CA    90248‐4927

HENRY VOGEL & ANNA VOGEL JT TEN                   1448 PINEWAY DR NE                                                                              ATLANTA           GA    30329‐3419
HENRY W ARENTS                                    10430 ZOCALO DR                                                                                 CINCINNATI        OH    45251‐1011
HENRY W AXFORD JR                                 4355 WHITE HOUSE TRAIL                                                                          GAYLORD           MI    49735‐9733
HENRY W BERRY TR HENRY W BERY TRUST UA 4/5/00     958 WEST COUNTY RD                                                                              SAINT PAUL        MN    55126

HENRY W BORDT                                     241 LYNNWOOD AVE                                                                                GLENSIDE          PA    19038‐4006
HENRY W BOSWELL JR                                1208 EVERETT AVE                                                                                KANSAS CITY       KS    66102‐2949
HENRY W BOYLE                                     693 WESTERN HWY                                                                                 BLAUVELT          NY    10913‐1345
HENRY W BRELJE PERS REP                           EST HENRY W BRELJE                     1380 NE CHARLES COURT                                    FAIRVIEW          OR    97024‐2654
HENRY W BROIDO JR                                 1900 CONSULATE PL 506                                                                           WEST PALM BEACH   FL    33401‐1818

HENRY W BUTTS                                     BOX 608                                                                                         COCHRAN           GA    31014‐0608
HENRY W CANNON & MRS CAROL H CANNON JT TEN        7713 18TH AVE N W                                                                               SEATTLE           WA    98117‐5432

HENRY W CASEY & MARIBEL H CASEY JT TEN            12 MACARTHUR CIR                                                                                SWAMPSCOTT        MA    01907‐1030
HENRY W EDGAR CUST RICHARD D EDGAR UGMA CA        2900 CANADA BLVD                                                                                GLENDALE          CA    91208‐2006

HENRY W EELLS                                     11513 POPLAR RIDGE RD                                                                           RICHMOND          VA    23236‐2423
HENRY W FONG & SUEAN O FONG JT TEN                2122 GREEN ST                                                                                   SAN FRANCISCO     CA    94123‐4708
HENRY W FUSELER JR                                1734 CAMP RD                                                                                    CHARLESTON        SC    29412‐3505
HENRY W GEIER                                     11800 BROOKPARK RD                     TRLR C25                                                 CLEVELAND         OH    44130‐1184
HENRY W GILL                                      2231 ALAMANCE CHURCH RD                                                                         GREENSBORO        NC    27406‐9497
HENRY W GRIFFIN                                   330 HARLAN DR                                                                                   FRANKENMUTH       MI    48734‐1451
HENRY W HANNAN                                    7 MAPLEWOOD DR B                                                                                MANCHESTER TW     NJ    08759
HENRY W HOLT                                      1374 HOLIDAY LANE E                                                                             BROWNSBURG        IN    46112‐2017
HENRY W HUELETT                                   508 BRIARWOOD RD                                                                                DOUGLAS           GA    31533‐2616
HENRY W IBA TR HENRY W IBA M TRUST UA 3/17/98     7313 BRAMBLEWOOD RD                                                                             FORT WORTH        TX    76133‐7004

HENRY W IBA TR HENRY W IBA REV TRUST UA 3/17/98   7313 BRAMBLEWOOD RD                                                                             FORT WORTH        TX    76133‐7004

HENRY W KERN & RACHEL M KERN JT TEN               2192 ST 72                                                                                      LEBANON           PA    17046
HENRY W KOZLOWSKI                                 8204 CHATHAM ROAD                                                                               MEDINA            OH    44256‐9173
HENRY W KROECKER JR                               9605 RAVINIA DR                                                                                 OLMSTED FALLS     OH    44138
HENRY W LAWSON                                    R F D 6 BOX 374                                                                                 GATE CITY         VA    24251‐8610
HENRY W LINS                                      3848 MESQUITE DR                                                                                BEAVERCREEK       OH    45440‐3498
HENRY W MANGOLD                                   243 LOW BRIDGE COURT                                                                            PASADENA          MD    21122‐4145
HENRY W MCCOMBS                                   2203 E NC 10HWY                                                                                 CONOVER           NC    28613‐8370
HENRY W MILBURN                                   5940 S 600 E                                                                                    CUTLER            IN    46920‐9445
HENRY W MILLER & PHYLLIS R MILLER JT TEN          809 CHIPPEWA ST                                                                                 MT CLEMENS        MI    48043‐3033
HENRY W MILLER 2ND                                809 CHIPPAWA                                                                                    MT CLEMENS        MI    48043‐3033
HENRY W MONCURE                                   7170 WELLFORD LN                                                                                GLOUCESTER        VA    23061‐5111
HENRY W ROEHLER & SALLEY ROEHLER JT TEN           600 CARDINAL ST                                                                                 FAIRMONT          MN    56031‐4546
HENRY W SPONKOWSKI & JUDITH A SPONKOWSKI JT       21936 LAKELAND                                                                                  ST CLR SHORES     MI    48081
TEN
HENRY W SWADLING                                  4162 BRIGGS RD                                                                                  OTTER LAKE        MI    48464‐9617
HENRY W SWYRTEK                                   6484 S ELMS RD                                                                                  SWARTZ CREEK      MI    48473‐9439
HENRY W THEW & ANN H THEW JT TEN                  BOX 846                                                                                         CRANE             OR    97732‐0846
HENRY W WARNING & PEARL WARNING TR HENRY W        6961 MILESTRIP RD                                                                               ORCHARD PARK      NY    14127‐1640
WARNING UA 05/11/91
HENRY W WASIK & ELIZABETH M WASIK JT TEN          5 CARL DR                                                                                       FAIRFIELD         NJ    07004‐1507
HENRY W ZIMMER JR                                 329 W 6TH ST                                                                                    EMPORIUM          PA    15834
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HENRY WALTER COOK                             8453 GRANT AVE                                                                                      OVERLAND PARK     KS    66212‐3548
HENRY WARD & MAUD WARD JT TEN                 384 BEACON HILL DR                                                                                  CHESHIRE          CT    06410‐1701
HENRY WARD MARTIN JR                          7195 S GEECK RD                                                                                     DURAND            MI    48429‐9102
HENRY WATSON                                  1500 PEPPER AVE                            110                                                      WISC RAPIDS       WI    54494
HENRY WEIBLER JR                              3077 OWENS CT                                                                                       LAKEWOOD          CO    80215‐7166
HENRY WERNER JUNG                             P O BOX 81                                                                                          LANGLEY           WA    98260
HENRY WIESZCZEK                               1725 PALMLAND DR 11‐A                                                                               BOYNTON BEACH     FL    33436‐6024
HENRY WILLIAMS JR                             612 S RADEMACHER                                                                                    DETROIT           MI    48209‐3095
HENRY WOINSKI                                 3670 SENTINEL HGHTS RD                                                                              LA FAYETTE        NY    13084‐9613
HENRY WOODS                                   472 MORGANDOLLAR RD                                                                                 RIDGELAND         SC    29936‐3932
HENRY WORRALL                                 1134 ELLIOTT RD                            RR8                  NEWCASTLE ON      L1B 1L9 CANADA
HENRY ZAK & STEPHEN H ZAK JT TEN 11175 SW                                                                                                         BEAVERTON         OR    97007‐8151
PARTRIDGE LP
HENRY ZALEWSKI                                994 WILWOOD ROAD                                                                                    ROCHESTER HILLS   MI    48309‐2433
HENRY ZIEGLER JR                              1731 CRYSTAL GROVE DR                                                                               LAKELAND          FL    33801‐8022
HENRY ZIEMINSKI & ROSE M ZIEMINSKI JT TEN     10633 BACK PLAINS DRIVE                                                                             LAS VEGAS         NV    89134‐7413
HENRY ZOELLER                                 2305 ECTON LANE                                                                                     LOUISVILLE        KY    40216‐4311
HENRY ZUCHNIEWICZ CUST GLENN ZUCHNIEWICZ UGMA 2 SUSQUEHANNA TRL                                                                                   BRANCHBURG        NJ    08876‐5403
NJ
HENRY ZUCHOWSKI                               712 PEMBERTON                                                                                       GROSSE PTE PK     MI    48230‐1716
HENRY ZUCHOWSKI & JOANN P ZUCHOWSKI JT TEN    712 PEMBERTON                                                                                       GROSSE POINTE     MI    48230‐1716
                                                                                                                                                  PARK
HENRYK FURMAN                                      811 N GAINSBOROUGH AVE                                                                         ROYAL OAK         MI    48067‐3603
HENRYK MYNC                                        11379 COVERED BRIDGE LN                                                                        ROMEO             MI    48065‐3826
HENRYK T BOGDANOWICZ                               7615 PARKWOOD DRIVE                                                                            FENTON            MI    48430‐9321
HENRYKA WOLPIUK                                    62 VIA PINTO DR                                                                                BUFFALO           NY    14221‐2755
HENSLEY C SPARKS JR                                PO BOX 34                                                                                      BUCKHORN          KY    41721‐0034
HERAIR H JERMAKIAN                                 15952 DUNDALK LANE                                                                             HUNTINGTON        CA    92647‐3121
                                                                                                                                                  BEACH
HERALD E SEE & LETTIE C SEE JT TEN                 #461                                  1070 E LAUREL                                            NOKOMIS           FL    34275‐4508
HERALD L JONES                                     5625 S PROSPECT                                                                                RAVENNA           OH    44266‐3624
HERALD P ARNT III & SHIRLEY J ARNT JT TEN          PO BOX 3287                                                                                    WICKENBURG        AZ    85358‐3287
HERALD S SULAHIAN & MRS LOIS R SULAHIAN JT TEN     200 BROADWAY                                                                                   ARLINGTON         MA    02474‐5421

HERALD W WINKLER & PEGGY ANNE WINKLER JT TEN       6807 NORFOLK AVE                                                                               LUBBOCK           TX    79413‐5904

HERARD P LONGCHAMP                                 670 HEMLOCK ST                                                                                 BROOKLYN          NY    11208‐3940
HERB DANCZYK                                       9412 SW 71ST LOOP                                                                              OCALA             FL    34481
HERB HOEKSTRA & CATHERINE HOEKSTRA JT TEN          850 STONEBROOK BLVD                                                                            NOLENSVILLE       TN    37135‐9710
HERB SEVERNS                                       2465 SHORELINE DR                     APT 217                                                  ALAMEDA           CA    94501‐6217
HERBER RENO PATTON                                 12501 ELMS ROAD                                                                                BIRCH RUN         MI    48415‐8768
HERBERT A BIRCHENOUGH JR                           PO BOX 183                                                                                     STILLWATER        NJ    07875‐0183
HERBERT A BLAKE & CHRISTINE A BLAKE JT TEN         1260 ARLINGTON AVE                                                                             WEST CHESTER      PA    19380‐4019
HERBERT A BOTT JR                                  210 COLUMBIA HEIGHTS                                                                           BROOKLYN          NY    11201‐2138
HERBERT A BREGMAN                                  51 BRANDYWINE RD                                                                               STAMFORD          CT    06905‐2101
HERBERT A BRESSLAUER                               4170 WOODEDGE BLVD                                                                             AKRON             OH    44319‐2752
HERBERT A CHAMBERLAIN JR                           7579 CHURCH ST                                                                                 SWARTZ CREEK      MI    48473‐1401
HERBERT A DEUSSEN                                  3200 HICKORY DR                                                                                WESLEY CHAPEL     FL    33543‐5266
HERBERT A DEVEAU                                   2640 HASSLER RD                                                                                CAMINO            CA    95709‐9716
HERBERT A DIETZ                                    5758 BOWMILLER RD                                                                              LOCKPORT          NY    14094‐9051
HERBERT A FLEISCHMAN & HARRIET S FLEISCHMAN JT     74 ROBERT DRIVE                                                                                NEW ROCHELLE      NY    10804‐1719
TEN
HERBERT A GAN                                      788 EASTWOOD WY                                                                                HAYWARD           CA    94544‐5828
HERBERT A GEISLER & MARY IRENE GEISLER & CHARLES   3532 DAWSON DR                                                                                 WARREN            MI    48092‐3259
L GEISLER JT TEN
HERBERT A GEISLER & MARY IRENE GEISLER &           3532 DAWSON DR                                                                                 WARREN            MI    48092‐3259
CONSTANCE M SHRAW JT TEN
HERBERT A GEISLER & MARY IRENE GEISLER & HERBERT   3532 DAWSON DR                                                                                 WARREN            MI    48092‐3259
G GEISLER JT TEN
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HERBERT A GEISLER & MARY IRENE GEISLER & JOHN E    3532 DAWSON DR                                                                                 WARREN            MI    48092‐3259
GIESLER JT TEN
HERBERT A GEISLER & MARY IRENE GEISLER JT TEN      3532 DAWSON DR                                                                                 WARREN            MI    48092‐3259
HERBERT A GENTHE & RUTH D GENTHE JT TEN            6771 S 68TH ST                        # 24                                                     FRANKLIN          WI    53132‐8264
HERBERT A GERSH & ROBERTA GERSH JT TEN             307 ALDEN RD                                                                                   SPRINGFIELD       NJ    07081‐2502
HERBERT A GIESLER & MARY IRENE GEISLER & CYNTHIA   3532 DAWSON DR                                                                                 WARREN            MI    48092‐3259
BERG JT TEN
HERBERT A HANEMAN & MARY H HANEMAN JT TEN          402 SUSSEX DRIVE                                                                               PORTSMOUTH        VA    23707‐2331

HERBERT A HEMPHILL JR                              7500 GANSKE ROAD                      PO BOX 219                                               BURTON            TX    77835‐0219
HERBERT A HINDS                                    121 FIESTA RD                                                                                  ROCHESTER         NY    14626‐3840
HERBERT A HORNING                                  259 PINE ACRES DR                                                                              HUNTINGTON        TX    75949‐7062
HERBERT A HUDSON                                   3415 E 150 N                                                                                   ANDERSON          IN    46012‐9747
HERBERT A INSEL & ELYSE M INSEL JT TEN             15 CHERRY LAWN BLVD                                                                            NEW ROCHELLE      NY    10804‐1944
HERBERT A JOHNSON TR JOHNSON LIVING TRUST UA       5733 WESTMINSTER PL                                                                            ST LOUIS          MO    63112‐1625
04/17/98
HERBERT A KUEHNE                                   8423 WINTERBERRY WAY                                                                           LIVERPOOL         NY    13090‐1210
HERBERT A LEESE                                    5690 LAWITZKE RD                                                                               PORT HOPE         MI    48468‐9756
HERBERT A LINDERMAN                                9189 SOMERSET DR                                                                               BARKER            NY    14012‐9654
HERBERT A LOREE                                    1639 PORTAL DR                                                                                 NE WARREN         OH    44484‐1134
HERBERT A LYALL & MARGARET E LYALL JT TEN          2960 LAKEWOOD DR                                                                               TRENTON           MI    48183‐3468
HERBERT A MCGEORGE                                 4866 FRANLOU AVE                                                                               DAYTON            OH    45432‐3118
HERBERT A MILLER                                   3 MADISON AVE                                                                                  WEST HAZLETON     PA    18202‐2101
HERBERT A MOELLER & JEAN K MOELLER JT TEN          3065 MARION ST                                                                                 LEWISTON          MI    49756
HERBERT A SMYERS & JOYCE M SMYERS JT TEN           5100 WOODLANE AVENUE                                                                           WESTERN SPRINGS   IL    60558‐1830

HERBERT A TABOR JR                                 19782 FORREN                                                                                   DETROIT           MI    48235‐2135
HERBERT A THOMA & JANE E THOMA TR THOMA TRUST      1052 LASALLE RD                                                                                MONROE            MI    48162‐4250
UA 07/17/98
HERBERT A TRIPP                                    9363 RICHTER                                                                                   DETROIT           MI    48214‐1440
HERBERT A VANDIVER                                 BOX 316                                                                                        HELEN             GA    30545‐0316
HERBERT A VAVRA                                    420 LINCOLN DR                                                                                 PLANO             TX    75023‐4750
HERBERT A WARD                                     1004 HWY 587                                                                                   OAK GROVE         LA    71263‐8265
HERBERT A WILLIAMS                                 6090 STRAWBERRY CIR                                                                            COMMERCE TWP      MI    48382‐5510
HERBERT A WILLIAMS TR HERBERT A WILLIAMS TRUST     22961 RECREATION ST                                                                            CLAIR SHORES      MI    48082‐3006
UA 3/12/99
HERBERT ALLEN                                      637 S ST                                                                                       BEDFORD           IN    47421
HERBERT ALLEN BLACK III                            512 POINT FIELD DR                                                                             MILLERSVILLE      MD    21108‐2008
HERBERT B LEWIS                                    2845 CARAWAY DRIVE                                                                             TUCKER            GA    30084‐2338
HERBERT B LINDSEY                                  616 CREPE MYRTLE                                                                               ORANGE            TX    77630‐4536
HERBERT B MCBEE                                    24 W WALNUT STREET                    PO BOX 314                                               PHILLIPSBURG      OH    45354‐0314
HERBERT B MOORE & MARTHA M MOORE JT TEN            WINONA ROAD                           69 SKYVIEW CIRCLE                                        MEREDITH          NH    03253‐5204
HERBERT B PARKES                                   16 POND VIEW DR                                                                                HOPE VALLEY       RI    02832‐2530
HERBERT B RICHARDSON JR                            403 NORDALE AVENUE                                                                             DAYTON            OH    45420‐2331
HERBERT B STOCKINGER                               3407 HUXLEY ST                        APT 20                                                   LOS ANGELES       CA    90027‐1494
HERBERT B TOBY                                     4204 HIGH STAR LANE                                                                            DALLAS            TX    75287‐6624
HERBERT B YOUNG                                    655 GOVERNORS RD SE                                                                            WINNABOW          NC    28479‐5121
HERBERT BARTMAN                                    4189 BLACKFOOT DRIVE                                                                           GRANDVILLE        MI    49418‐1767
HERBERT BARTMAN TR UA 11/26/2007 HERBERT           4189 BLACKFOOT DR SW                                                                           GRANDVILLE        MI    49418
BARTMAN TRUST
HERBERT BEDDOW                                     15426 WILLIAMS ST                                                                              LIVONIA           MI    48154
HERBERT BENDER                                     14 MOUNTAIN AVE                                                                                WARREN            NJ    07059‐5316
HERBERT BENNETT                                    1797 DAVE CREEK RD                                                                             CUMMING           GA    30041‐6507
HERBERT BESEN                                      76 PROSPECT AVE                                                                                HAWORTH           NJ    07641
HERBERT BILBREY                                    5749 S WALNUT                                                                                  MUNCIE            IN    47302‐8783
HERBERT BRADSHAW JR                                613 DOVER DR                                                                                   WAVERLY           GA    31565‐2407
HERBERT BRAMWELL SHAW 3RD                          29 OLD HOMESTEAD HIGHWAY                                                                       RICHMOND          NH    03470‐4708
HERBERT BRIDGES                                    80 E LAWN CT                                                                                   COVINGTON         GA    30016‐6823
HERBERT BRIGHAM                                    264 E ASBURY ANDERSON ROAD                                                                     WASHINGTON        NJ    07882‐2445
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HERBERT BROWN                                       20 ROSEWOOD TERRACE                                                                            MIDDLETOWN        NJ    07748‐2724
HERBERT BRUMFIELD                                   2564 GRANT AVE                                                                                 DAYTON            OH    45406‐1727
HERBERT C ABBOTT JR & HERBERT C ABBOTT III JT TEN   17400 S KEDZIE AVE APT 125                                                                     HAZEL CREST       IL    60429

HERBERT C BUCHHOLZ & ANN M BUCHHOLZ JT TEN          3632 W 216 PLACE                                                                               MATTESON          IL    60443‐2721

HERBERT C COOK                                      15286 PENNSYLVANIA                                                                             SOUTHGATE         MI    48195‐2136
HERBERT C COOLEY                                    2720 E WALNUT AVE #38                                                                          ORANGE            CA    92867‐7384
HERBERT C DAVIS                                     3934 FRIENDSHIP CT                                                                             CATLETTSBURG      KY    41129‐8760
HERBERT C DEAN                                      422 KELLING LANE                                                                               GLENCOE           IL    60022‐1113
HERBERT C DOUGLAS                                   1385 SPAULDING ROAD                                                                            DAYTON            OH    45432‐3714
HERBERT C DRUMMOND                                  1150 OLD NORCROSS TUCKER RD                                                                    TUCKER            GA    30084‐1311
HERBERT C FEASTER                                   5618 OXLEY DRIVE                                                                               FLINT             MI    48504‐7038
HERBERT C HARPER                                    3316 PARKSIDE TERRACE                                                                          FAIRFAX           VA    22031‐2715
HERBERT C HARRELL                                   406 GLENWOOD DRIVE SW                                                                          DECATUR           AL    35601‐3932
HERBERT C HARTWIG                                   3400 S HARRISON                                                                                ROCHESTER HILLS   MI    48307‐5628
HERBERT C HATTON                                    7 CANTERBURY LN                                                                                LEBANON           NJ    08833‐3217
HERBERT C HEATH JR                                  18432 LAKEVIEW CIRCLE W                                                                        TINLEY PARK       IL    60477‐4812
HERBERT C HELMIG JR                                 1350 GROUPER LANE                                                                              EUSTIS            FL    32726‐7525
HERBERT C HELMIG JR & LOIS J HELMIG JT TEN          1350 GROUPER LANE                                                                              EUSTIS            FL    32726‐7525
HERBERT C HESS                                      670 S CANFIELD‐NILES                                                                           YOUNGSTOWN        OH    44515‐4026
HERBERT C HORTON                                    1485 E LANSING RD                                                                              MORRICE           MI    48857‐9637
HERBERT C JONES & OLIVE H JONES JT TEN              PO BOX 563                                                                                     JESUP             IA    50648‐0563
HERBERT C LORICK III                                429 DOVER CT                                                                                   AUGUSTA           GA    30909‐3507
HERBERT C MIDKIFF                                   PO BOX 2348                                                                                    CHARLESTON        WV    25328
HERBERT C MOXLEY                                    1334 PLEASANT VIEW CR                                                                          LINCOLNTON        GA    30817‐2543
HERBERT C MULL JR                                   1083 MIKES WAY                                                                                 GREENWOOD         IN    46143‐1060
HERBERT C NICHOLS                                   829 BEACH BUGGY LANE                                                                           LINDEN            MI    48451‐9680
HERBERT C REESE                                     717 TEASEL DR                                                                                  KINGSPORT         TN    37660‐3297
HERBERT C REISTER                                   8151 WINDING DR SW                                                                             BYRON CENTER      MI    49315‐8946
HERBERT C ROGERS                                    32079 NOTTINGWOOD                                                                              FARMINGTON        MI    48334‐2875
HERBERT C SMITH                                     611 ELIZABETH LN                                                                               LAKELAND          FL    33809‐3720
HERBERT C STALNAKER                                 808 34TH STREET                                                                                VIENNA            WV    26105‐2552
HERBERT C STOHR & EVA M STOHR JT TEN                61 CAMBRIDGE COURT                                                                             FAIRPORT          NY    14450‐9175
HERBERT C WARE                                      2189 MITCHELL LAKE RD                                                                          LUM               MI    48412‐9232
HERBERT CARTER                                      2905 STONELEIGH DR                                                                             LANSING           MI    48910‐3705
HERBERT CHARLES KNELLER CUST GRANT MATTHEW          30 PEN‐Y‐BRYN DR                                                                               SCRANTON          PA    18505‐2220
KNELLER UGMA PA
HERBERT CHARLES MILLER                              14335 BAINBRIDGE                                                                               LIVONIA           MI    48154‐4358
HERBERT CLARK NASH                                  122 4TH ST                                                                                     TIPTON            IN    46072‐1851
HERBERT COMBS                                       9687 OAKLAND ST                                                                                ANGOLA            NY    14006‐9487
HERBERT CREUTZBURG & IDA CREUTZBURG JT TEN          1918 WINDERMERE AVE                                                                            WILMINGTON        DE    19804‐4055

HERBERT D ASHER                                     14757 MAYWOOD ST                                                                               SOUTHGATE      MI       48195‐2539
HERBERT D BRODY & PHYLLIS R BRODY JT TEN            851 W ROXBURY PKWY                                                                             CHESTNUT HILL  MA       02467‐3725
HERBERT D BRUCE                                     11451 E HAZEL PRAIRIE RD                                                                       LAKE NEBAGAMON WI       54849‐9011

HERBERT D BURKE                                     307 PORTER AVE                        # 904                                                    BUFFALO           NY    14201‐1031
HERBERT D CHASTEEN JR                               1124 PRICE CT                                                                                  AVON              IN    46123‐9545
HERBERT D HARSHBARGER                               791 W PARKWOOD ST                                                                              SIDNEY            OH    45365‐3628
HERBERT D HARTBARGER                                C/O BETTY HARTBARGER                  405 MARY LANE                                            LEXINGTON         VA    24450‐2911
HERBERT D HOLLANDER & ADRIAN HOLLANDER JT TEN       908 RIVA RIDGE DR                                                                              GREAT FALLS       VA    22066‐1619

HERBERT D MALOTT                                   1309 N CLARK ST                                                                                 MEXICO            MO    65265‐1722
HERBERT D NORMAN                                   3594 MEADOW VIEW                                                                                OXFORD            MI    48371‐4140
HERBERT D SITTON JR                                PO BOX 129                                                                                      ALBANY            OH    45710‐0129
HERBERT D STRAUSS JR & HERBERT D STRAUSS III TR UW 1150 8TH AVE SW APT 2802                                                                        LARGO             FL    33770
ROSE A HERZ
HERBERT D SWANSON                                  723 MAPLEGROVE                                                                                  ROYAL OAK         MI    48067‐1647
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HERBERT D THORNLEY & MARGUERITE D THORNLEY JT   901 LIFTWOOD RD                                                                                  WILMINGTON      DE    19803‐4809
TEN
HERBERT D WILSON & MARILYN C WILSON JT TEN      15021 SPERRY RD                                                                                  NOVELTY         OH    44072‐9650
HERBERT D WILSON & MARILYN J WILSON JT TEN      881 HEMINGWAY                                                                                    LAKE ORION      MI    48362‐2636
HERBERT D WINTERLEE                             9611 BARKLEY RD                                                                                  MILLINGTON      MI    48746‐9761
HERBERT DUCKSWORTH                              472 LUTHER AVE                                                                                   PONTIAC         MI    48341‐2570
HERBERT E BOENICK                               3070 MAYBEE ROAD                                                                                 ORION           MI    48359‐1135
HERBERT E CLENDANIEL                            3118 HARTLY RD                                                                                   HARTLY          DE    19953‐2740
HERBERT E COLE                                  3181 S STATE RD                                                                                  DAVISON         MI    48423‐8705
HERBERT E DAILEY                                2212 E 109TH AVE                                                                                 TAMPA           FL    33612‐6229
HERBERT E DAOUST                                G‐8385 W POTTER RD                                                                               FLUSHING        MI    48433
HERBERT E DOUGLAS & MRS LORRAINE M DOUGLAS JT   199 BEECHWOOD DRIVE                                                                              SOUTHINGTON     CT    06489‐4004
TEN
HERBERT E EDLUND                                1410 GRAYTON ST                                                                                  GROSSE POINTE   MI    48230‐1130
HERBERT E GOELZ & GLORIA CHILD GOELZ JT TEN     77 PONTE VEDRA BLVD                                                                              PONTE VEDRA     FL    32082‐1311
HERBERT E GOSSER                                4608 GREENHILL WAY                                                                               ANDERSON        IN    46012‐9744
HERBERT E HOFFMAN & BARBARA HOFFMAN JT TEN      1842 PAGE PLACE                                                                                  MALVERN         PA    19355‐9719

HERBERT E HOOVER                              3563 PINECREST DRIVE                                                                               IDIANAPOLIS     IN    46234‐1417
HERBERT E HUDSON                              ATTN HARSHA                            PO BOX 421                                                  COLUMBUS        MT    59019‐0421
HERBERT E LINN                                2509 HOLLYWOOD                                                                                     ARLINGTON       TX    76013‐1219
HERBERT E MC VEY                              10621 ELTZROTH ROAD                                                                                GOSHEN          OH    45122‐9641
HERBERT E NIPSON & MARIA F NIPSON TR NIPSON   210 SOLANO DR NE                                                                                   ALBUQUERQUE     NM    87108‐1042
FAMILY TRUST UA 4/17/02
HERBERT E POPPE                               512 WILDERNESS CT                                                                                  SCHERERVILLE    IN    46375‐2934
HERBERT E RATLIFF                             10 SOUTH COURT                                                                                     DECATUR         AL    35603‐7401
HERBERT E RATLIFF & CAROLYN C RATLIFF JT TEN  10 SOUTH COURT                                                                                     DECATUR         AL    35603‐7401
HERBERT E SAUERHAGE                           126 SUNSET DR                                                                                      PIEDMONT        MO    63957‐1021
HERBERT E SCHOMBERG                           3885 BREAKER                                                                                       WATERFORD       MI    48329‐2219
HERBERT E SIZEMORE                            PO BOX 1930                                                                                        AIKEN           SC    29802‐1930
HERBERT EBERTS                                WALDWEG 27                             D‐65428 RUESSELSHEIM                      GERMANY
HERBERT ENG                                   3051 BRIGHTON 14TH ST                                                                              BROOKLYN        NY    11235‐5501
HERBERT ENG & CHRISTINA ENG JT TEN            1516 W 9TH ST                                                                                      BROOKLYN        NY    11204
HERBERT ERNST JR                              564 ELDERWOOD RD                                                                                   DAYTON          OH    45429‐1816
HERBERT EUGENE HILDEBRAND                     2674 GETTYSBURG‐PITTSBURGH                                                                         ARCANUM         OH    45304‐9696
HERBERT F ARMOCK                              19885 EIGHTH AVENUE                                                                                CONKLIN         MI    49403‐9520
HERBERT F BOECK                               800 ONEIDA ST                                                                                      LEWISTON        NY    14092‐1419
HERBERT F CAREY & MARY LOUISE CAREY JT TEN    11000 FORRER CT                                                                                    STERLING HTS    MI    48312‐4612
HERBERT F COATES                              2601 E RIDING DR                                                                                   WILMINGTON      DE    19808‐3640
HERBERT F DAVIS JR                            4742 LOOKOUT LN                                                                                    WATERFORD       WI    53185‐3372
HERBERT F GLENN JR                            2069 E RAINES                                                                                      MEMPHIS         TN    38116‐6150
HERBERT F HAMES                               31708 SCONE                                                                                        LIVONIA         MI    48154‐4283
HERBERT F HUTH & MARY E HUTH JT TEN           5301 GALLEY WAY                                                                                    FORT PIERCE     FL    34949‐8429
HERBERT F HUTH & MARY E HUTH JT TEN           5301 GALLEY WAY                                                                                    FORT PIERCE     FL    34949‐8429
HERBERT F JOHNSON                             22 HILL SIDE PLACE                                                                                 BRISTOL         CT    06010‐6214
HERBERT F MC LEAN                             2350 NICHOLS                                                                                       TRENTON         MI    48183‐2458
HERBERT F MELKERT                             36880 MAIN STREET                                                                                  NEW BALTIMORE   MI    48047‐1617
HERBERT F MOELLER CUST CHARLES W MOELLER UGMA 6330 EDGEWOOD DRIVE                                                                                ANN ARBOR       MI    48108‐2500
IL
HERBERT F MONTAGUE                            3337 W FIELD ROAD                      APT 11                                                      CLIO            MI    48420‐1177
HERBERT F WHITEAKER                           106 W FRANKLIN ST                                                                                  YOUNGSVILLE     NC    27596‐7781
HERBERT F WILLIAMS JR                         1905 MADALINE DR                                                                                   AVENEL          NJ    07001‐1376
HERBERT F WYANT                               ATTN FLAT TOP NATL BK                  EXEC OF THE ESTATE OF   HERBERT F WYANT   PO BOX 950        BLUEFIELD       WV    24701‐0950
HERBERT FRANK                                 6714 DALE RD                                                                                       DARIEN          IL    60561‐3947
HERBERT FREEMAN                               229 W SELDEN ST                                                                                    MATTAPAN        MA    02126‐2377
HERBERT FREILICH & MRS MYRA FREILICH JT TEN   1701 GERRITSEN AVE                                                                                 BROOKLYN        NY    11229‐2610
HERBERT G ALEXANDER                           87 WILLIS DRIVE                                                                                    TRENTON         NJ    08628‐2019
HERBERT G BROUGHTON                           3882 FULTON GROVE RD                                                                               CINCINNATI      OH    45245‐2505
HERBERT G CREECY                              604 SANDRALEE DR                                                                                   TOLEDO          OH    43612‐3347
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HERBERT G MAIN                                    3019 MAYFAIR DRIVE                                                                             KOKOMO           IN    46902‐3932
HERBERT G MAIN & BETTY R MAIN JT TEN              3019 MAYFAIR DR                                                                                KOKOMO           IN    46902‐3932
HERBERT G MILLS JR                                5501 COUNTRY LANE                                                                              GREENSBORO       NC    27410‐1909
HERBERT G NELSON                                  5535 HARVARD RD                                                                                DETROIT          MI    48224‐2163
HERBERT G NIEBURGER CUST TODD LEROY NIEBURGER     21 FORE DRIVE                                                                                  NEW SMYRNA       FL    32168‐6149
UGMA MI                                                                                                                                          BEACH
HERBERT G RECKART                                 ROUTE 4 BOX 242‐E                                                                              BRUCETON MILLS   WV    26525‐9554
HERBERT G SMITH                                   902 JEFFERSON CIRCLE                                                                           MARTINSVILLE     VA    24112‐3913
HERBERT G STARNES                                 4492 RIVES EATON RD                                                                            RIVES JCT        MI    49277‐9402
HERBERT G TOMASHOT                                3660 BLYTHEWOOD DRIVE                                                                          DAYTON           OH    45430‐1604
HERBERT GAINES                                    20124 SNOWDEN                                                                                  DETROIT          MI    48235‐1170
HERBERT GEORGE NIEBURGER JR CUST HERBERT          21 FORE DRIVE                                                                                  NEW SMYRNA       FL    32168‐6149
GEORGE NIEBURGER III UGMA FL                                                                                                                     BEACH
HERBERT GIBSON                                    435 S 11TH ST                                                                                  SAGINAW          MI    48601‐1946
HERBERT GIERSCHKE                                 59 GREEN HILL TER                                                                              WEST SENECA      NY    14224‐4118
HERBERT GIMPEL                                    240‐55 66 AVE                                                                                  DOUGLASTON       NY    11362‐1924
HERBERT GIMPEL & MARCIA GIMPEL JT TEN             240‐55 66 AVENUE                                                                               DOUGLASTON       NY    11362‐1924
HERBERT GLADWILL JR & LESLIE GLADWILL JT TEN      6408 N KINGS HWY                                                                               DOUGLAS          AZ    85607‐6122

HERBERT GLASSMEYER                             144 PINDO PALM W                                                                                  LARGO            FL    33770‐7434
HERBERT GLASSMEYER & LORETTA GLASSMEYER JT TEN 144 PINDO PALM ST W                                                                               LARGO            FL    33770‐7434

HERBERT GOMEZ & INEZ ROMERO GOMEZ & ROBERT        9257 EUGENIA AVE                                                                               FONTANA          CA    92335‐4429
SCOTT GOMEZ JT TEN
HERBERT GREEN & ROBERTA GREEN JT TEN              22 W DARTMOUTH RD                                                                              BALA CYNWYD      PA    19004‐2530
HERBERT H BECKER                                  1690 KINGSWAY DR                                                                               XENIA            OH    45385‐9526
HERBERT H BLACK TR HERBERT H BLACK TRUST UA       645 STATE ST                                                                                   HOLLAND          MI    49423‐5158
03/14/85
HERBERT H BUCHANAN                                5 ST MATTHEWS DR                                                                               EDISON           NJ    08817‐3814
HERBERT H BURRIS                                  6733 N RICK JAMES DR                                                                           MIDDLETOWN       IN    47356‐9498
HERBERT H BURSLEY                                 2068 BUTLE RD                                                                                  WAKEMAN          OH    44889‐9789
HERBERT H CAMPBELL & PATRICIA D CAMPBELL JT TEN   1641 DENNIS DR                                                                                 WICKLIFFE        OH    44092‐1035

HERBERT H CHESTON CUST NORMAN FREEDMAN U/THE 10 DUDLEY RD                                                                                        SUDBURY          MA    01776‐3317
MASS U‐G‐M‐A
HERBERT H CHU                                5505 WILSON LN                                                                                      BETHESDA         MD    20814‐1103
HERBERT H CRUMB                              112 CHERRY LANE                                                                                     NEW CASTLE       DE    19720‐2761
HERBERT H EDWARDS JR CUST MARGARET L EDWARDS 3857 PEAKLAND PL                                                                                    LYNCHBURG        VA    24503‐2011
UTMA VA
HERBERT H FRANCISCO                          271 NORTH AVE                                                                                       ROCHESTER        NY    14626‐1053
HERBERT H FROMMER & MRS ELEANOR G FROMMER JT 60 EAST 96TH ST                                                                                     NEW YORK         NY    10028‐1350
TEN
HERBERT H GROSS & INGRID W GROSS JT TEN      818 TIMBER LN                                                                                       DARIEN           IL    60561‐4126
HERBERT H HOLMES & CAROL A HOLMES JT TEN     45302 DRIFTWOOD DR                                                                                  PALM DESERT      CA    92260‐4558
HERBERT H JONES                              9521 ARMOUR RD                                                                                      MILLINGTON       TN    38053‐4717
HERBERT H LEHMANN                            10535 COLLETT AVE                                                                                   GRANADA HILLS    CA    91344‐7013
HERBERT H LYNN                               993 HUSTONVILLE ST                                                                                  LIBERTY          KY    42539‐3291
HERBERT H MIELKE                             6460 SWAN CREEK RD                                                                                  SAGINAW          MI    48609‐7035
HERBERT H MORGAN                             1513 CAPELLA LANE                                                                                   MYRTLE BEACH     SC    29575‐5711
HERBERT H NIKOLAI                            1709 VENUS CIR                                                                                      RACINE           WI    53404‐2258
HERBERT H PHILLIPS                           237 WOODSIDE                                                                                        ROYAL OAK        MI    48073‐2687
HERBERT H RICHMOND & MRS HELEN RICHMOND JT   35 CHRISTY PL                                                                                       BROCKTON         MA    02301‐1848
TEN
HERBERT H ROOSA JR                           759 CROOKED RUN ROAD                                                                                RURAL HALL       NC    27045‐9555
HERBERT H SCHMIDT JR                         11275 WESTWOOD ROAD                                                                                 ALDEN            NY    14004‐9659
HERBERT H SHELLEY & DORIS R SHELLEY JT TEN   20483 POINT EASTERN DRIVE                                                                           RUTHER GLEN      VA    22546‐4441
HERBERT H SIHNER TR UA 10/12/94              225 TAPPAN LN                                                                                       ORINDA           CA    94563‐1018
HERBERT H STREET & KATHY J STREET JT TEN     115 W K STREET                                                                                      ELIZEBETHTON     TN    37643‐3105
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HERBERT H TOWERS & MARY JEAN TOWERS JT TEN        C/O GARY D TOWERS                     75 RIVER CREEK CROSSING                                  KINGSTON         GA    30145

HERBERT H VAN DYKE & MRS ALICE M VAN DYKE JT TEN 8172 MOBILE HIGHWAY                                                                             PENSACOLA        FL    32526‐4267

HERBERT H WALTERS                                 3506 TRINDLE ROAD                                                                              CAMP HILL        PA    17011‐4439
HERBERT H WESTON                                  742 KNIGHT RD                                                                                  BAY CITY         MI    48708
HERBERT HAMILTON JONES JR EX EST HERBERT          735 GARLAND ST                                                                                 MEMPHIS          TN    38107
HAMILTON JONES SR
HERBERT HAMMONS                                   PO BOX 413                                                                                     BARBOURVILLE     KY    40906‐0413
HERBERT HAMMONS & WANDA FAY HAMMONS JT TEN        PO BOX 413                                                                                     BARBOURVILLE     KY    40906‐0413

HERBERT HEDBERG                                   167 S WASHINGTON ST                                                                            NO ATTLEBORO     MA    02760‐2235
HERBERT HOLLINGER                                 PO BOX 375                                                                                     STRATHMERE       NJ    08248‐0375
HERBERT HOLLIS III                                18399 COCHRAN BL                                                                               PORT CHARLOTTE   FL    33948‐3329
HERBERT HOLMES                                    1917 S SUNNYRIDGE RD                                                                           DAYTON           OH    45414‐2334
HERBERT HOOPER                                    18031 DELAWARE                                                                                 ROSEVILLE        MI    48066‐4680
HERBERT HOUSTON SR                                245 S PADDOCK ST                      UNIT 21                                                  PONTIAC          MI    48342‐3181
HERBERT HUMPHREY JR                               23477 SHURMER DR                                                                               WARRENSVIL HT    OH    44128‐4931
HERBERT HUNTER                                    490 GRANADA                                                                                    PONTIAC          MI    48342‐1725
HERBERT HYMAN CUST JASON HYMAN UNIFORM GITS       11001 SANDISTAN DR                                                                             SAINT LOUIS      MO    63146
TO MINORS ACT TEXAS
HERBERT I BROWN & NANCY R BROWN JT TEN            644 OLD BALTIMORE PIKE                                                                         NEWARK           DE    19702‐1311
HERBERT J BEIGEL & WILMA E BEIGEL TEN COM         323 E 2ND ST #402                                                                              COVINGTON        KY    41011‐1779
HERBERT J BENEDICT                                3401 PERRY AVE SW                                                                              WYOMING          MI    49519‐3235
HERBERT J CADLE JR                                410 PARKER AVE                                                                                 BUFFALO          NY    14216‐2107
HERBERT J CLAY                                    785 WILKEY RD                                                                                  BLAIRSVILLE      GA    30512
HERBERT J DENNY JR                                1464 WRIGHTS MILL ROAD                                                                         CANTON           GA    30115
HERBERT J EDGAR                                   224 W YPSILANTI AVE                                                                            PONTIAC          MI    48340‐1877
HERBERT J GRAMSE                                  126 HORSESHOE LN                                                                               ROCKAWAY BEACH   MO    65740‐9316

HERBERT J HOENING & GERALDINE HOENING JT TEN      1048 N LOMBARD AVE                                                                             OAK PARK         IL    60302‐1435

HERBERT J JOHNSON 3RD                           11812 RANDY LANE                                                                                 LAUREL           MD    20708‐2830
HERBERT J KLOTZ JR                              6809 MOSLEY ST                                                                                   AMARILLO         TX    79119‐6201
HERBERT J KRAPF & MARGARET C KRAPF JT TEN       360 VINCENT AVE                                                                                  LYNBROOK         NY    11563‐1723
HERBERT J LAKE & CHARLOTTE M LAKE JT TEN        16580 SCHMALLERS RD                                                                              ATLANTA          MI    49709‐8974
HERBERT J LAKE JR                               5278 E FRANCES RD                                                                                MOUNT MORRIS     MI    48458‐9751
HERBERT J LARSEN                                5725 CLINTON RIVER DR                                                                            WATERFORD        MI    48327‐2530
HERBERT J LEVINE & RUTH LEVINE JT TEN           440‐2 N BROADWAY                                                                                 YONKERS          NY    10701‐1939
HERBERT J MOHLENHOFF JR                         4960 GULF OF MEXICO DR PH2                                                                       LONGBOAT KEY     FL    34228
HERBERT J MUIRHEAD & MRS ANNA S MUIRHEAD JT TEN 7160 SW 5TH CT                                                                                   PEMBROKE PINES   FL    33023‐1009

HERBERT J POLL                                    88‐15 SHORE PRKY                                                                               HOWARD BEACH     NY    11414‐2413
HERBERT J RAMMEL                                  8539 SWEET POTATO RIDGE RD                                                                     BROOKVILLE       OH    45309‐9609
HERBERT J ROCKWELL III & RITA B ROCKWELL JT TEN   36245 OAKWOOD LN                                                                               WESTLAND         MI    48186‐8235

HERBERT J RUTHER SR                               814 N WILCREST DT                                                                              HOUSTON          TX    77079‐3502
HERBERT J RUTKOSKI                                7440 SEVERANCE ROAD                                                                            CASS CITY        MI    48726‐9368
HERBERT J SCHERRER III                            412 DARTMOUTH LN                                                                               WEST GROVE       PA    19390‐8828
HERBERT J SCHUSTER JR                             303 CLUB DRIVE                                                                                 WALL TOWNSHIP    NJ    07719‐9458
HERBERT J SEGARS                                  6082 HWY 52                                                                                    GILLSVILLE       GA    30543‐2123
HERBERT J SEMLER CUST U/THE LAWS OF OREGON FOR    4625 FIELDSTON RD                                                                              BRONX            NY    10471‐3313
ERIC SEMLER
HERBERT J STUHLER                                 146 LAMSON RD                                                                                  BUFFALO          NY    14223‐2537
HERBERT J TOWLE JR CUST HERBERT J TOWLE 3RD       13636 SW 4TH LANE                                                                              NEWBERRY         FL    32669‐5411
UGMA MD
HERBERT J ULRICH & SANDRA H ULRICH TR ULRICH      1126 W CRESCENT AVE                                                                            PARK RIDGE       IL    60068‐3957
LIVING TRUST UA 05/06/99
HERBERT J VANHURK                                 811 S SCOTT DR                                                                                 FARWELL          MI    48622‐9699
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HERBERT J VON DERAU                              354 RIDGE RD                                                                                     ZELIENOPLE         PA    16063‐3026
HERBERT J VONHAGEN                               711 WYOMING AVE                                                                                  FAIRFIELD          OH    45014‐1733
HERBERT J WELCH                                  1601 N RANDALL AVE APT 32                                                                        JANESVILLE         WI    53545‐1139
HERBERT J ZIMMERMAN                              75 ATHOL ST                                                                                      SPRINGFIELD        MA    01107‐1312
HERBERT JAY MANDL                                10123 HARDY                                                                                      OVERLAND PARK      KS    66212‐3438
HERBERT JOHNSTON & IRENE JOHNSTON JT TEN         23444 MARION RD                                                                                  N HOMESTEAD        OH    44070‐1145
HERBERT JURY JR                                  231 HAZEL ST                                                                                     CLEARFIELD         PA    16830‐2903
HERBERT K JOHNSON & SARA E JOHNSON JT TEN        1572 HARLAN DR                                                                                   DANVILLE           CA    94526‐5349
HERBERT K LEWIS                                  109 TINA ISLAND DR                                                                               OSPREY             FL    34229‐9611
HERBERT K MCMURTRY                               PO BOX 2729                                                                                      LAGUNA HILLS       CA    92654‐2729
HERBERT K TAYLOR                                 94 98 CHESTER ST #27                                                                             ALLSTON            MA    02134‐2255
HERBERT KAHN JR & OLGA K KAHN TR UA 02/29/84     14371 LINDEN DR                                                                                  SPRING HILL        FL    34609‐6143
HERBERT & OLGA KAHN TRUST
HERBERT KOLB TR UW LAURE KOLB                    354 JANET AVE                                                                                    PARAMUS            NJ    07652‐5537
HERBERT L BAKER                                  151 GEORGETOWN PLACE                                                                             YOUNGSTOWN         OH    44515‐2220
HERBERT L BLOMSTROM JR & BRIGITTE S BLOMSTROM    530 GLENDORA RD                                                                                  POINCANA           FL    34759‐3236
JT TEN
HERBERT L CHAPMAN                                2109 WELCH BLVD                                                                                  FLINT              MI    48504‐2911
HERBERT L COOMER                                 GENERAL DELIVERY                                                                                 CANE VALLEY        KY    42720‐9999
HERBERT L COOPER                                 605 BOXELDER DR                                                                                  EDGEWOOD           MD    21040‐2518
HERBERT L DANIELS                                7226 MISSOURI ST                                                                                 FONTANA            CA    92336‐0834
HERBERT L DAUGHERTY                              872 EASTLAND AVE SE                                                                              WARREN             OH    44484‐4506
HERBERT L DUNCAN                                 8931 CROSS CHASE CIR                                                                             LORTON             VA    22079‐3246
HERBERT L ECKERT                                 2115 1ST AVE SE APT 1311                                                                         CEDAR RAPIDS       IA    52402‐6383
HERBERT L FALKINBURG JR                          9176 NEW ROAD                                                                                    NORTH JACKSON      OH    44451‐9707
HERBERT L FAUNDEZ                                4915 GLENLODGE ROAD                                                                              MENTOR             OH    44060‐1364
HERBERT L FORD & MATTIE J FORD JT TEN            24 HOME ST                              APT 505                                                  ATHENS             OH    45701‐2070
HERBERT L FORMELLA                               29453 ORVYLLE                                                                                    WARREN             MI    48092‐2256
HERBERT L FULTON                                 6507 VALLEY RIDGE DRIVE                                                                          FORT WORTH         TX    76140‐9515
HERBERT L GRAVES                                 58 WALKER TR                                                                                     PRENTISS           MS    39474‐2820
HERBERT L HICKS                                  2201 FLEMING DR                                                                                  BLUE SPRINGS       MO    64015‐7118
HERBERT L HOBBS                                  1003 N CENTRAL                                                                                   ALEXANDRIA         IN    46001‐9488
HERBERT L HODGES                                 1005 EDGEHILL DR                                                                                 LAWRENCEBURG       KY    40342‐9470
HERBERT L JOHNSON                                1742 ARROWHEAD DR                                                                                BELOIT             WI    53511‐3808
HERBERT L JOHNSON                                18123 HEREFORD LANE                                                                              HOUSTON            TX    77058‐3432
HERBERT L KEELER                                 4700 VOLKMER RD                                                                                  CHESANING          MI    48616‐9775
HERBERT L LEACH                                  PO BOX 28                                                                                        LENNON             MI    48449
HERBERT L LENK                                   9445 OLD DAYTON RD                                                                               DAYTON             OH    45427
HERBERT L LOWN                                   5614 WILLOWBEND                                                                                  HOUSTON            TX    77096‐4933
HERBERT L MERTZ                                  ATTN BILL H ARNOLD                      4711 CAMBRIDGE DR                                        TYLER              TX    75703‐1506
HERBERT L MILLER & SUSAN LYNN MILLER JT TEN      7649 EAST SIERRA VISTA DRIVE                                                                     SCOTTSDALE         AZ    85250‐4643
HERBERT L NELSON & ROSE NELSON TR UA 09/13/93    KITTAY HOUSE 2550 WEBB AVE APT 2‐Y                                                               BRONX              NY    10468
THE NELSON FAMILY TRUST
HERBERT L OBRIEN                                 224 CRESCENT PARKWAY                                                                             SOUTH PLAINFIELD   NJ    07080

HERBERT L PALMER & BETHANY M PALMER JT TEN       1606 HUNTERS LN                                                                                  NASHVILLE          TN    37207‐1012
HERBERT L PERLMAN & BERNICE S PERLMAN JT TEN     208 OAK MEADOW LN                                                                                CEDAR HILL         TX    75104‐3282

HERBERT L PICK JR                                2261 FOLWELL ST                                                                                  ST PAUL         MN       55108‐1307
HERBERT L PICKETT                                7122 SPRINGRIDGE RD                                                                              WEST BLOOMFIELD MI       48322‐4158

HERBERT L POLING                                 10701 ALPINE NW                                                                                  SPARTA             MI    49345‐9359
HERBERT L RABJOHN                                128 LAFAYETTE ST                                                                                 ELYRIA             OH    44035‐3923
HERBERT L SCHAAF JR                              3402 S ROCKFIELD DRIVE                                                                           WILMINGTON         DE    19810‐3229
HERBERT L SEDITA                                 164 RENWOOD AVE                                                                                  KENMORE            NY    14217‐1024
HERBERT L SEDITA & JEAN F SEDITA JT TEN          164 RENWOOD AVE                                                                                  KENMORE            NY    14217‐1024
HERBERT L SENNHENN                               5950 COUNTY ROAD 283                                                                             VICKERY            OH    43464‐9747
HERBERT L SHEPPARD                               2200 BEVERLY STREET                                                                              PARKERSBURG        WV    26101‐6815
HERBERT L SIBBITT                                8863 MARTZ ROAD                                                                                  YPSILANTI          MI    48197‐9420
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HERBERT L SMITH III                             116 HORSESHOE RD                                                                                 MILL NECK          NY   11765‐1004
HERBERT L TACKETT                               28970 GRIX ROAD                                                                                  NEW BOSTON         MI   48164‐9494
HERBERT L THOMAS                                4960 STRATHAVEN DR                                                                               DAYTON             OH   45424‐4666
HERBERT L THOMPSON                              13448 ALABAMA AVENUE S                                                                           SAVAGE             MN   55378‐2491
HERBERT L TSCHIGGFREY                           20904 FRAZHO                                                                                     SAINT CLAIR SHORES MI   48081‐3123

HERBERT L WADE                                  21 SO SHAMROCK ROAD                                                                              HARTFORD CITY    IN     47348‐9795
HERBERT L WALKER & SALLY WALKER JT TEN          81 JEFFERSON DRIVE                                                                               SPOTSWOOD        NJ     08884‐1264
HERBERT L WHITE                                 12063 NORTHLAWN                                                                                  DETROIT          MI     48204‐1017
HERBERT L WILLIAMS                              5310 LONGMEADOW LANE SW                                                                          COLLEGE PARK     GA     30349‐3126
HERBERT L YASSKY                                155 GIRARD ST                                                                                    BROOKLYN         NY     11235‐3009
HERBERT L ZAMPINI III                           749 FULBROOK RD                                                                                  BALTIMORE        MD     21222‐1315
HERBERT L ZIMMER                                319 HARTFORD AVE                                                                                 BUFFALO          NY     14223‐2314
HERBERT LAKEMACHER & MRS ANN LAKEMACHER JT      APT 622                                 COVENANT VLG         2625 TECHNY RD                      NORTHBROOK       IL     60062‐5962
TEN
HERBERT LANGFORD TR ESTATE OF MARGARET          409 WALKER ST SW                                                                                 VIENNA           VA     22180‐6532
LANGFORD
HERBERT LAU                                     M636 COUNTY TRUNK E                                                                              STRATFORD        WI     54484‐9549
HERBERT LAVERNE NEEB                            175 HIGHLAND LAKES RD                                                                            HIGHLAND LKS     NJ     07422‐1865
HERBERT LEE BADGETT                             5 KANSAS AVE                                                                                     BELLEVILLE       IL     62221‐5417
HERBERT LEE SILVEY                              1206 FACTORY ST                                                                                  FRANKTON         IN     46044‐9632
HERBERT LEON & SANDRA I LEON JT TEN             2111 OAK TERRACE                                                                                 ORTONVILLE       MI     48462‐8487
HERBERT LEOPOLD CUST MARC P LEOPOLD UGMA PA     4725 MOTORWAY                                                                                    WATERFORD        MI     48328‐3460

HERBERT LUM                                     9026 HAZEN ST                                                                                    HOUSTON          TX     77036‐6750
HERBERT M BOOTH                                 54 BURGETT DR                                                                                    HOMER            NY     13077‐1018
HERBERT M CUP & LORETTA J CUP JT TEN            N102 W15358 VENUS COURT                                                                          GERMANTOWN       WI     53022‐5225
HERBERT M ENGLEHARDT                            75 TOTTENHAM RD                                                                                  ROCHESTER        NY     14610‐2244
HERBERT M GANN CUST ELISA MAE GANN UTMA MA      62 LOVETT RD                                                                                     NEWTON CENTRE    MA     02459‐3106

HERBERT M GAYRING                               515 RHODES DR                                                                                    PALO ALTO        CA     94303‐3028
HERBERT M GOEBEL                                711 DOGWOOD CIR                                                                                  WILDWOOD         FL     34785‐5325
HERBERT M GOTSCH JR & MARILYN GOTSCH JT TEN     930 ONTARIO ST                          APT 3A                                                   OAK PARK         IL     60302‐1949

HERBERT M JOHNSON                               22 N VALLEY RD BOX 462                                                                           ROOSEVELT        NJ     08555‐0462
HERBERT M KEY                                   581 LONEHAWK TRL                                                                                 WEST BRANCH      MI     48661‐9487
HERBERT M KOHN                                  5049 WORNALL #6B                                                                                 KC               MO     64112‐2423
HERBERT M LEHMAN                                11 VON DEBEN LANE                                                                                ROCHESTER        NY     14617‐2625
HERBERT M NELSON & SANDRA K CARPENTER JT TEN    1385 W BIENNA ROAD                                                                               CLIO             MI     48420

HERBERT M PERRIN                                4737 BOKAY DR                                                                                    DAYTON           OH     45440‐2024
HERBERT M PRESTON                               1983 CLYDE RD                                                                                    HIGHLAND         MI     48357‐2101
HERBERT M RETZKY TR HERBERT M RETZKY TRUST UA   1310 FRANKLIN ST                                                                                 RIVER FOREST     IL     60305‐1039
11/17/00
HERBERT M ROBINSON                              1308 N HAYFORD AVE                                                                               LANSING          MI     48912‐3318
HERBERT M ROWLAND JR CUST MICHAEL ROMATZICK     5495 REDWOOD HIGHWAY                                                                             IGNACIO          CA     94947
UGMA CA
HERBERT M SILBERMAN CUST SAMUEL SILBERMAN       48547 HIGHWAY 290 BUS                                                                            HEMPSTEAD        TX     77445‐6866
UTMA TX
HERBERT M STEWART                               1061 N GENESEE ROAD                                                                              BURTON           MI     48509‐1432
HERBERT M STRULOWITZ                            121 CENTER GROVE RD                                                                              RANDOLPH         NJ     07869‐4453
HERBERT M STRULOWITZ CUST JASON B STRULOWITZ    121 CENTER GROVE RD                                                                              RANDOLPH         NJ     07869‐4453
UGMA NJ
HERBERT M STRULOWITZ CUST MICHAEL STRULOWITZ    121 CENTER GROVE RD                                                                              RANDOLPH         NJ     07869‐4453
UGMA NJ
HERBERT M THURMAN                               3781 NORTHWOOD RD                                                                                CLEVELAND        OH     44118‐3737
HERBERT M ZUKERKORN                             24 RED HILL CIRCLE                                                                               TIBURON          CA     94920‐1709
HERBERT MAIER & MRS KARIN MAIER JT TEN          339 ALLISON WAY                                                                                  WYCKOFF          NJ     07481‐2301
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HERBERT MECKL                                      37235 HANCOCK                                                                                   CLINTON TOWNSHIP MI    48036‐2549

HERBERT MICHALS & MRS JOAN FISHEL MICHALS JT TEN 2202 ACACIA PARK DR APT 2601                                                                      LYNDHURST        OH    44124

HERBERT MILLER                                     11585 BALTIMORE ST NE                  UNIT A                                                   MINNEAPOLIS      MN    55449‐4646
HERBERT MOORE                                      1119 PERSHING ST                                                                                BAKERSFIELD      CA    93304‐1638
HERBERT MUHAMMAD                                   128 FLAMINGO DR                                                                                 NEWARK           DE    19702‐4147
HERBERT N BERRY                                    6801 QUEENS WAY                                                                                 N ROYALTON       OH    44133
HERBERT N BERRY & ELEANOR BERRY JT TEN             6801 QUEENS WAY                                                                                 N ROYALTON       OH    44133
HERBERT N BREHMER & SHARON L BREHMER JT TEN        13765 HAMERSLEY DR                                                                              BATH             MI    48808‐9410

HERBERT N FOX JR                                   2221 BUHLMAN DR                                                                                 WEST BRANCH      MI    48661‐9581
HERBERT N HEAVENRIDGE                              18714 COMSTOCK                                                                                  LIVONIA          MI    48152‐2858
HERBERT N MESSICK 3RD                              8989 CORTONA DRIVE                                                                              WHITTIER         CA    90603‐1104
HERBERT N OSBORNE JR & LINDA S OSBORNE JT TEN      12401 PARCHMENT DR                                                                              HUDSON           FL    34667‐2572

HERBERT N STONE                                    BOX 181                                                                                         ST MATTHEWS      SC    29135‐0181
HERBERT N TURNER                                   9260 TURNER RD                                                                                  JONESBORO        GA    30236‐6002
HERBERT NASH                                       3325 HAMPSHIRE AV                                                                               FLINT            MI    48504‐1217
HERBERT NELSON                                     5167 COLLINGWOOD                                                                                DETROIT          MI    48204‐1707
HERBERT NG                                         1599 KILDARE WAY                                                                                PINOLE           CA    94564‐2713
HERBERT NOWAK JR CUST CHELSEA NOWAK UGMA NY        9201 ZERMATT CT                                                                                 RALEIGH          NC    27617‐7715

HERBERT O KUEPFER                                  15128 INDIAN HOLLOW ROAD                                                                        GRAFTON          OH    44044‐9596
HERBERT O MONTS                                    28775 MONTEREY DR                                                                               SOUTHFIELD       MI    48076‐5557
HERBERT OBERHAUS                                   366 MONIUA PLACE                                                                                ST AUGUSTINE     FL    32080
HERBERT P FOX                                      3821 S 380E                                                                                     ANDERSON         IN    46017‐9753
HERBERT P GIFFORD                                  31567 MCKAIG RD                                                                                 HANOVERTON       OH    44423‐9785
HERBERT P RUTTERS                                  220 N STEPHEN PL                                                                                HANOVER          PA    17331‐1941
HERBERT PEETE                                      110 SIR GEORGE DR                                                                               LAS VEGAS        NV    89110‐4818
HERBERT PETERSON                                   747 TALLDEER DRIVE                                                                              FAIRBURN         GA    30213‐1023
HERBERT PIKEN                                      13063 BLAIRWOOD DR                                                                              STUDIO CITY      CA    91604‐4033
HERBERT PRESTON HARRISON                           6905 PARK AVE                                                                                   RICHMOND         VA    23226‐3621
HERBERT Q WRIGHT                                   188 EARLMOOR                                                                                    PONTIAC          MI    48341‐2746
HERBERT R ARTHUR & DOROTHY M ARTHUR JT TEN         PO BOX 1763                                                                                     ROYAL OAKS       MI    48068‐1763

HERBERT R BELLER TR UA 02/24/78 HERBERT R BELLER   49626 GOULETTE POINTE DR                                                                        NEW BALTIMORE    MI    48047‐2353
TRUST
HERBERT R BROOKS                                   1573 MARY FRANCES COURT                                                                         MIAMISBURG       OH    45342‐2642
HERBERT R BUTTERFIELD                              9126 BENNETT LAKE RD                                                                            FENTON           MI    48430‐9053
HERBERT R CONFER & HELEN A CONFER JT TEN           6006 GODFREY RD                                                                                 BURT             NY    14028‐9722
HERBERT R DAVIS                                    1271 W GALBRAITH RD                                                                             CINCINNATI       OH    45231‐5555
HERBERT R DEWEESE                                  1264 90TH STREET                                                                                NIAGARA FALLS    NY    14304‐2621
HERBERT R DILLON                                   5810 ROGERS RD                                                                                  JAMESTOWN        OH    45335‐9718
HERBERT R FERGUSON                                 C/O MARJORIE FERGUSON                  677 DEWEY ST APT 216                                     LAPEER           MI    48446‐1732
HERBERT R FLINDT & JODEE FLINDT JT TEN             710 NORTHCREST DR                                                                               SALT LAKE CITY   UT    84103‐3317
HERBERT R HARTEL SR                                566‐44TH ST APT 1‐A                                                                             BROOKLYN         NY    11220‐1355
HERBERT R HOWARD                                   410 ALEXANDER BLVD                                                                              SPRINGHILL       TN    37174‐2441
HERBERT R HUG                                      PO BOX 424                                                                                      LAKE WINOLA      PA    18625‐0424
HERBERT R KAHN                                     1300 N 12TH ST #510                                                                             PHOENIX          AZ    85006‐2849
HERBERT R KELLY                                    2643 ZESIGER AVE                                                                                AKRON            OH    44312‐1605
HERBERT R MASON                                    3405 CREEK ROAD                                                                                 SUNBURY          OH    43074‐8383
HERBERT R METOYER JR & GERALDINE METOYER JT TEN    25785 CATALINA DRIVE                                                                            SOUTH FIELD      MI    48075‐1742

HERBERT R MILLER & LINDA L MILLER JT TEN           PO BOX 364                                                                                      LINTHICUM        MD    21090‐0364
HERBERT R MYERS                                    9412 W LONE BEECH DR                                                                            MUNCIE           IN    47304‐8930
HERBERT R REED                                     39025 W 319 ST                                                                                  PAOLA            KS    66071‐4678
HERBERT R ROESER                                   7483 DYSINGER ROAD                                                                              LOCKPORT         NY    14094‐9053
HERBERT R SODERSTON                                1721 HUDSON ST                                                                                  ENGLEWOOD        FL    34223‐6425
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HERBERT R WHARTON                                3663 SOUTH DIAMOND MIL                                                                                             GERMANTOWN       OH    45327‐9515
HERBERT RANNEY                                   382 JEFFERSON HILL RD                                                                                              NASSAU           NY    12123‐9336
HERBERT REICHEL                                  985 HILLSIDE DR                      NO BRUNSWICK                                                                  N BRUNSWICK      NJ    08902‐3212
HERBERT REICHEL & DOROTHY REICHEL JT TEN         985 HILLSIDE DR                      NO BRUNSWICK                                                                  N BRUNSWICK      NJ    08902‐3212
HERBERT REID                                     271 SCHUELE                                                                                                        BUFFALO          NY    14215‐3732
HERBERT RIBNER CUST EYTAN R RIBNER UGMA NY       2426 CASTLE HEIGHTS AVE                                                                                            LOS ANGELES      CA    90034‐1052
HERBERT RIBNER CUST HILLEL RIBNER UGMA NY        1274 PENNINGTON RD                                                                                                 TEANECK          NJ    07666‐2802
HERBERT RICHARD SUDEROV                          84 SUN SET LANE                                                                                                    PATCHOGUE        NY    11772‐3418
HERBERT ROBINSON                                 211 E70TH ST                         APT 32A                                                                       NEW YORK         NY    10021‐5210
HERBERT ROGERS                                   19156 BRADFORD ST                                                                                                  DETROIT          MI    48205‐2108
HERBERT ROTHMAN & IRENE ROTHMAN JT TEN           39 PAERDEGAT 2ND ST                                                                                                BROOKLYN         NY    11236‐4131
HERBERT ROY LAMBERT                              1019 WELLINGTON TER                                                                                                ALLENTOWN        PA    18103‐9797
HERBERT ROY WELLS CUST SANDRA LYNN WELLS UGMA    4890 ROSS DR                                                                                                       WATERFORD        MI    48328‐1044
MI
HERBERT RUBIN & ROSE RUBIN JT TEN                11 FIFTH AVE                                                                                                       NEW YORK         NY    10003‐4342
HERBERT S ATWELL                                 UNIT 3/15 DOREEN ST                  OAKLANDS PARK                    POST CODE 5046   SOUTH AUSTRALIA AUSTRALIA

HERBERT S BOTSFORD                               885 S ORANGE GROVE BLVD APT 37                                                                                     PASADENA         CA    91105‐1729
HERBERT S BOTSFORD CUST BRAD S BOTSFORD UGMA     530 S MADISON AVE                    APT 7                                                                         PASADENA         CA    91101‐3431
CA
HERBERT S HERRMANN & PEARL L HERRMANN JT TEN     5900 NW 44TH STREET                  APT 205                                                                       LAUDERHILL       FL    33319‐6145

HERBERT S JOHNSON                                  204 MEGAN CT                                                                                                     NEWARK           DE    19702‐2814
HERBERT S RICHMOND                                 677 NUTT RD                                                                                                      DAYTON           OH    45458‐9368
HERBERT S TILDEN                                   48 WYCKOFF ST                                                                                                    GREENLAWN        NY    11740‐1204
HERBERT SCHRAGA & MINNIE SCHRAGA JT TEN            9433 BYRON AVE                                                                                                   SURFSIDE         FL    33154‐2439
HERBERT SHAPIRO & FLORETTE SHAPIRO JT TEN          6602 NORTHUMBERLAND ST                                                                                           PITTSBURGH       PA    15217‐1313
HERBERT SHORER                                     588 WEST LAKESHORE RD              NATIKOTE ON                                       N0A 1A0 CANADA
HERBERT SIES & MRS JOELLEN SIES JT TEN             10057 MC CAULY RD                                                                                                CINCINNATI       OH    45241‐1350
HERBERT SIMON & HARRIET SIMON                      18163 KINGSPORT                                                                                                  MALIBU           CA    90265‐5633
HERBERT SIMPSON YARUS                              114 GREENBRIAR DR                                                                                                KALISPELL        MT    59901‐3378
HERBERT SLOAN JR & JEANETTE SLOAN JT TEN           372 HERMITAGE AVE                                                                                                COOKEVILLE       TN    38501‐4501
HERBERT SOLLOD                                     9402 CENTENNIAL STATION                                                                                          WARMINSTER       PA    18974‐5486
HERBERT SOLLOD AS EXECUTOR U‐T‐W BESSIE L SOLLOD 9402 CENTENNIAL STATION                                                                                            WARMINSTER       PA    18974‐5486
GOODMAN
HERBERT SPASSER                                    2660 PEACHTREE RD NW                                                                                             ATLANTA          GA    30305‐3673
HERBERT SPEIDEL                                    ELBINGERSTRASSE 2B                 76139 KARLSRUHE                  REPL OF          GERMANY
HERBERT SPENCER WEICHSEL                           6435 NORTHWOOD RD                                                                                                DALLAS           TX    75225‐2610
HERBERT SPITZER CUST MICHAEL ELLIOTT SPITZER U/THE 41 MAPLE AVE APT 1B                                                                                              HASTINGS ON      NY    10706‐1420
NY U‐G‐M‐A                                                                                                                                                          HUDSON
HERBERT STEELE                                     608 RALEIGH DRIVE                                                                                                COLUMBUS         OH    43228‐2915
HERBERT STEELE & ANNA M STEELE JT TEN              608 RALEIGH DRIVE                                                                                                COLUMBUS         OH    43228‐2915
HERBERT STEVE SMITH                                539 PINE RANCH E RD                                                                                              OSPREY           FL    34229‐8970
HERBERT STRICKLAND                                 5486 MENDELBERGER                                                                                                FLINT            MI    48505‐1059
HERBERT STRIESFIELD                                ATTN LOUIS STRIESFIELD             3156 HOWELL MILL RD NW APT 217                                                ATLANTA          GA    30327‐2125
HERBERT T AMOS & DORIS JEAN AMOS JT TEN            4701 INDEPENDENCE DRIVE                                                                                          CLARKSTON        MI    48346‐3733
HERBERT T BOTT                                     1035 WEST SUPERIOR                                                                                               ALMA             MI    48801‐1417
HERBERT T CROWE                                    3935 BILTMORE DR                                                                                                 COLUMBUS         GA    31909‐3705
HERBERT T GREEN                                    16830 MONTE VISTA                                                                                                DETROIT          MI    48221‐2835
HERBERT T MEYER                                    14 RANDOLPH PL                                                                                                   VERONA           NJ    07044‐2314
HERBERT T MULLEN JR                                BOX 365                                                                                                          ELIZABETH CITY   NC    27907‐0365
HERBERT T MURRELL                                  2900 MINTON ROAD                                                                                                 HAMILTON         OH    45013‐4344
HERBERT T PFLUG                                    15 RAINBOW LANE                                                                                                  SPOTSWOOD        NJ    08884‐1422
HERBERT T SCHULER                                  7700 ARLINGTON BLVD MS N304                                                                                      FALLS CHURCH     VA    22042‐2902
HERBERT TEEL                                       PO BOX 1236                                                                                                      GREENVILLE       NC    27835‐1236
HERBERT TUCKER & MIRIAM TUCKER JT TEN              3200 PARK AVE 10F2                                                                                               BRIDGEPORT       CT    06604
HERBERT V BOHL                                     687 BARE BRIDGE DR                                                                                               BURNSVILLE       NC    28714‐8696
HERBERT V CAMP JR CUST WHITNEY LEE CAMP UGMA 33 HOWARD LN                                                                                                           NORTH SCITUATE   RI    02857‐2912
CT
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HERBERT V FERGUSON                             1936 ZIMMERMAN RD                                                                                FAIRBORN          OH    45324‐2261
HERBERT VAN DYKE                               8172 MOBILE HIGHWAY                                                                              PENSACOLA         FL    32526‐4267
HERBERT W BANFIELD                             9610 N 34TH ST                                                                                   PHOENIX           AZ    85028
HERBERT W BOGER                                109 S MAIN ST                                                                                    GRANITE FALLS     NC    28630‐1912
HERBERT W BURNHAM                              PO BOX 18                                                                                        NORTH WINDHAM     CT    06256‐0018

HERBERT W BUTLER & RHODA G BUTLER JT TEN       420 S RANDOLPH                                                                                   MACOMB            IL    61455‐2960
HERBERT W COTEY                                3739 GAVIOTA AVE                                                                                 LONG BEACH        CA    90807‐4328
HERBERT W CULLERS JR                           15 OAK BRANCH LANE                                                                               GREERS FERRY      AR    72067
HERBERT W FLOYD                                234 W WYOMING ST                                                                                 INDIANAPOLIS      IN    46225‐1467
HERBERT W FREDLUND                             22 SAN MATEO AVE                                                                                 GOLETA            CA    93117‐1404
HERBERT W GOODWIN III                          700 PINEVIEW PLACE                                                                               BALTIMORE         MD    21220‐1805
HERBERT W HAGSTROM                             4 MIDDLESEX PL                                                                                   NORTHPORT         NY    11768‐1029
HERBERT W HARRISON                             1312 MARSHALLDALE                                                                                ARLINGTON         TX    76013‐3662
HERBERT W HOOVER                               11464 BERKSHIRE DR                                                                               CLIO              MI    48420‐1783
HERBERT W JAHR                                 216 W SEBEWAING ST                                                                               SEBEWAING         MI    48759‐1315
HERBERT W JORDAN                               7064 STONE MILL DR                                                                               COLUMBUS          GA    31909‐4902
HERBERT W KIMBALL                              916 BRINTON ROAD                                                                                 LAKE ISABELLA     MI    48893‐7601
HERBERT W KRANZE                               2347 DOWNEY TERRACE DR                                                                           ELLISVILLE        MO    63011‐1989
HERBERT W MC KINLEY JR                         10 MORDEN CLOSE                                                                                  FREEHOLD          NJ    07728‐3808
HERBERT W MERRIAM                              3 CRANE AVE                                                                                      MAYNARD           MA    01754‐1405
HERBERT W MUNK                                 160 SOUTH BAY ROAD                      BIG MOOSE LAKE                                           EAGLE BAY         NY    13331‐1821
HERBERT W N NG & WENDY NG JT TEN               1599 KILDARE WAY                                                                                 PINOLE            CA    94564‐2713
HERBERT W NASH                                 3325 HAMPSHIRE                                                                                   FLINT             MI    48504‐1217
HERBERT W OLSON                                ATTN H OLSON                            RD 1 BOX 1140                                            STARKSBORO        VT    05487‐9709
HERBERT W PHILLIPS                             2611 SUTTON PLACE                                                                                HATTIESBURG       MS    39402‐2744
HERBERT W ROSSON                               6131 XAVIER CT                                                                                   ARVADA            CO    80003‐6837
HERBERT W SCHULZE                              1316 APACHE                                                                                      ARLINGTON         TX    76012‐4358
HERBERT W WACHSTETTER                          79 COUNTY ROAD 3350 N                                                                            FOOSLAND          IL    61845‐9743
HERBERT W WELCH                                95 RUSSELL RD                                                                                    ELKTON            MD    21921‐2801
HERBERT W WELLER                               1716 RUSTIC LN                                                                                   KEEGO HARBOR      MI    48320‐1127
HERBERT W YARNALL                              BOX 2159                                                                                         ALTOONA           PA    16603‐2159
HERBERT WALKER COWELL                          10346 CHEVY CHASE                                                                                HOUSTON           TX    77042
HERBERT WEISER & SYLVIA WEISER JT TEN          127 COUNTRY VILLAGE LANE                                                                         MANHASSET HILLS   NY    11040‐1009

HERBERT WILLIAM CROYSDALE II                   606 MAGNOLIA DR                                                                                  DESTIN            FL    32541‐3158
HERBERT WILLIAMS                               3190 ANNABELLE                                                                                   DETROIT           MI    48217‐1104
HERBERT WOLFF                                  360 CAUTERSKILL RD                                                                               CATSKILL          NY    12414‐5708
HERBERT WYATT                                  4430 N E 42ND STREET                                                                             OKLAHOMA CITY     OK    73121‐6226
HERBERT Y HENRY                                3193 MORROW DR                                                                                   CORTLAND          OH    44410‐9340
HERBIE E DAVIS & RENAJOAN DAVIS JT TEN         4885 FAIRVIEW AVE S W                                                                            NEWTON FALLS      OH    44444‐9419
HERBY L SHARPE                                 1472 BEATRICE                                                                                    DETROIT           MI    48217‐1607
HERBY SALKEY                                   4733 SPANIEL ST                                                                                  ORLANDO           FL    32818‐8730
HERCHEL C HADDIX                               7792 ST RT 48                                                                                    WAYNESVILLE       OH    45068‐9513
HERCHEL D PEAVLER                              5354 W 62ND ST APT 281                                                                           INDIANAPOLIS      IN    46268
HERCHEL DAVID THOMAS                           20 HEDLEY PL                                                                                     BUFFALO           NY    14208‐1061
HERIBERT R BOSSUNG & GERLINDE BOSSUNG JT TEN   27269 SHACKETT                                                                                   WARREN            MI    48093‐8345

HERIBERTO DAVILA                               4310 S WHIPPLE                                                                                   CHICAGO           IL    60632‐2517
HERIBERTO GABRIEL LATIGO                       2227 TEXANA WAY                                                                                  RICHMOND          TX    77406
HERIBERTO LOPEZ                                4000 SW 134 AVE                                                                                  MIAMI             FL    33175‐3227
HERIBERTO PINEDA                               P O 790                                                                                          VEGA ALTA         PR    00692‐0790
HERIBERTO SEGARRA                              BLVD DEL CARMEN #88                     MAYAGUEZ                               608 PUERTO RICO
HERIBERTO TAVALEZ                              136 OAK VALLEY DR                                                                                SPRINGHILL        TN    37174‐2590
HERLEY D SMITH                                 122 CR 367                                                                                       TRINITY           AL    35673‐4614
HERLINDA ESTRADA                               170 WEBSTER PL                                                                                   VERNON HILLS      IL    60061‐1413
HERMA J ADDISON & EARL V ADDISON JT TEN        3230 CIRCLE DRIVE                                                                                SAGINAW           MI    48601
HERMA MARTIN                                   PO BOX 1539 HWY KENTUCKY SOUTH                                                                   DEMA              KY    41617
HERMAN A ANDERSON                              844 WHITMORE AVE                                                                                 BALTIMORE         MD    21216‐4736
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HERMAN A BARNES                                    5238 FONTANA                                                                                    SHAWNEE MISSI     KS    66205‐2349
HERMAN A BECKER                                    12163 BROUGHAM                                                                                  STERLING HTS      MI    48312‐4075
HERMAN A ERHART SR CUST DAVID WATHEN ERHART        1862 FINDLEY DRIVE                                                                              MILPITAS          CA    95035‐6018
U/THE U‐G‐M‐A
HERMAN A HOLZAPFEL                                 706 TOWNSEND ST                                                                                 CAMBRIDGE         WI    53523‐9206
HERMAN A MCCOMBS                                   1400 IMPERIAL DR                                                                                KOKOMO            IN    46902‐5618
HERMAN A MCCOY                                     1654 N LAURENTIAN AVE                                                                           SAULT SAINT MARIE MI    49783

HERMAN A RINGLER JR                                316 PONDS EDGE RD                                                                               WEST CHESTER      PA    19382‐7760
HERMAN A ROZELL                                    1823 LYNDALE DR                                                                                 ODESSA            TX    79762‐5313
HERMAN A SMITH                                     7855 HWY 73                                                                                     BRYANT            AL    35958‐0153
HERMAN A VOYLES                                    3016 NOTTING HILLS CT                                                                           CONYERS           GA    30094‐5039
HERMAN A WILEY                                     820 BURGESS ROAD                                                                                SUWANEE           GA    30024
HERMAN ALVAREZ & ADELENE ALVAREZ JT TEN            384 HELEN AVE                                                                                   MONESSEN          PA    15062‐2411
HERMAN ANDERSON & HAZEL ANDERSON JT TEN            6802 SHADY LANE                                                                                 RICHMOND          TX    77469‐8774
HERMAN B MONTGOMERY                                1608 LANGLEY DR                                                                                 LONGS             SC    29568‐5719
HERMAN B NICHOLS                                   7691 NW 140 STREET                                                                              CHIEFLAND         FL    32626‐7990
HERMAN B PACKER                                    13‐39 COMERFORD PLACE                                                                           FAIR LAWN         NJ    07410‐5103
HERMAN BAUMGARTNER                                 1280 PARRISH AVE                                                                                HAMILTON          OH    45011‐4534
HERMAN BELL                                        PO BOX 252                                                                                      EPPS              LA    71237‐0252
HERMAN BOBAK JR & LANA BOBAK JT TEN                1051 GRANDVIEW DRIVE                                                                            ROCHESTER HILLS   MI    48306‐4028
HERMAN BOND                                        1934 WHITTLESEY                                                                                 FLINT             MI    48503‐4347
HERMAN BOTTEON                                     1402 S BONSAL ST                                                                                BALTIMORE         MD    21224‐5933
HERMAN BRADFORD                                    310 W 7TH ST                                                                                    MANCHESTER        OH    45144‐1120
HERMAN C C CUMMING JR                              3501 CHATTERTON DR                                                                              SAN ANGELO        TX    76904‐6056
HERMAN C HINMAN                                    1208 APPLE GROVE RD                                                                             MELBOURNE         FL    32901‐2804
HERMAN C HOWELL                                    3164 KNOB CREEK RD                                                                              COLUMBIA          TN    38401‐1433
HERMAN C JENSEN JR                                 423 PETERS BLVD                                                                                 BRIGHTWATERS      NY    11718‐1709
HERMAN C OSBORNE JR                                10843 MATTHIAS DR                                                                               SAINT JOHN        IN    46373‐8402
HERMAN C RAMSEY                                    29588 BRITTANY CT E                                                                             ROSEVILLE         MI    48066‐2042
HERMAN C REYNOLDS JR                               7 MEADOW VALLEY DR                                                                              RISING SUN        MD    21911‐1833
HERMAN C SPICER                                    2410 ADAMS RD                                                                                   OAKLAND           MI    48363‐1908
HERMAN C VICKNAIR TR VICKNAIR FAMILY TRUST UA      3626 CONCORD BLVD                                                                               CONCORD           CA    94519‐1807
09/30/87
HERMAN CASTLE                                      14730 DANE CT                                                                                   STERLING HTS      MI    48312‐4414
HERMAN CLIFTON                                     1209 THORNWOOD CT                                                                               FLINT             MI    48532‐2365
HERMAN CUEVAS                                      3673 W 325 N                                                                                    MARION            IN    46952‐9787
HERMAN D ALLSHOUSE & RITA M ALLSHOUSE JT TEN       3 RIVERWAY                             STE 1420                                                 HOUSTON           TX    77056‐1848

HERMAN D ARNETT JR                                 17102 PALDA RD                                                                                  CLEVELAND         OH    44128‐3335
HERMAN D JACKSON                                   122 JONATHAN LN                                                                                 MANSON            NC    27553‐9048
HERMAN D KAUFFMAN                                  PO BOX 46047                                                                                    MIDDLE BASS       OH    43446‐0047
HERMAN D RASS & PATRICIA L RASS & ERIC M RASS JT   37254 BRISTOL                                                                                   LIVONIA           MI    48154‐1764
TEN
HERMAN D TIERI                                     268 HIGHLAND DR                                                                                 CHICAGO HEIGHTS   IL    60411‐2006

HERMAN D TURNEY & LAURA B TURNEY JT TEN            5635 S NEWPORT AVE                                                                              TULSA             OK    74105‐7842
HERMAN DAILEY                                      6425 WOODACRE CT                                                                                ENGLEWOOD         OH    45322‐3641
HERMAN DEVERN YOUNG                                124 S WEST ST                                                                                   FENTON            MI    48430‐2832
HERMAN DORSEY                                      2137 KNOPF ST                                                                                   COMPTON           CA    90222‐2507
HERMAN DOZIER                                      110 LADY CAROLYN CT                    #1                                                       FAYETTEVILLE      GA    30214‐1092
HERMAN DUNN                                        1108 PREMONT AVE                                                                                WATERFORD         MI    48328‐3852
HERMAN DYAS                                        11411 YOSEMITE                                                                                  DETROIT           MI    48204‐1497
HERMAN E BAKER                                     1471 E MARKET ST                       APT B                                                    GERMANTOWN        OH    45327‐9322
HERMAN E CRESS                                     10089 RENO LANE                                                                                 HILLSBORO         OH    45133‐8684
HERMAN E CURTIS JR                                 429 COLDBROOK NE                                                                                GRAND RAPIDS      MI    49503‐1113
HERMAN E ERLING & ELEONORA S ERLING JT TEN         267 HULL ST                                                                                     BRISTOL           CT    06010‐7236
HERMAN E FOX                                       1616 S BRADFORD ST                                                                              ALLENTOWN         PA    18103‐8259
HERMAN E GARDNER                                   6503 PARK HEIGHTS AVE                  APT 2J                                                   BALTIMORE         MD    21215‐3001
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HERMAN E GREENWOOD & YOLANDA GREENWOOD JT        1102 N LYNHURST                                                                                 SPEEDWAY           IN    46224‐6811
TEN
HERMAN E GROSS                                   9197 SHERIDAN RD                                                                                NEW LOTHROP        MI    48460
HERMAN E HARKE                                   11309 YORKSHIRE CT                                                                              FREDERICKSBURG     VA    22407‐7625
HERMAN E HARMELINK & BARBARA M HARMELINK JT      34 SHELDON DR                                                                                   POUGHKEEPSIE       NY    12603‐4818
TEN
HERMAN E KELLER                                  3519 CASEY RD                                                                                   METAMORA           MI    48455‐9216
HERMAN E LOYD                                    1603 FAMA DRIVE N E                                                                             ATLANTA            GA    30329‐3311
HERMAN E MILLER & CONSTANCE COE MILLER JT TEN    6353 THORNHILLS CT SE                                                                           GRAND RAPIDS       MI    49546‐7115

HERMAN E MUESEGAES JR & JUNE M MUESEGAES JT      2705 TWP RD 220                                                                                 BLOOMINGDALE       OH    43910‐7840
TEN
HERMAN E THOMPSON                                1485 OLD FARMINGTON ROAD                                                                        LEWISBURG          TN    37091‐2201
HERMAN E WELLS                                   14090 14 MILE ROAD NE                                                                           GREENVILLE         MI    48838‐9380
HERMAN ELLISON                                   913 E GILLESPIE ST                                                                              FLINT              MI    48505‐5518
HERMAN EUGENE LEWIS SR                           BOX 51687                                                                                       FORT BENNING       GA    31995‐1687
HERMAN F BRUGGER                                 4176 PARDEE                                                                                     DEARBORN HTS       MI    48125‐2410
HERMAN F DYER                                    912 MARYLAND AVE                                                                                WILMINGTON         DE    19805‐4837
HERMAN F HAISCH JR & MRS ANN C HAISCH JT TEN     PO BOX 3705                                                                                     ALPHA RETTA        GA    30023‐3705

HERMAN F RUNDE                                   PO BOX 83                                                                                       TEUTOPOLIS         IL    62467‐0083
HERMAN F WILLIAMS                                8039 KIMLOUGH DR                                                                                INDIANAPOLIS       IN    46240‐2676
HERMAN F WILLIAMS JR                             232 GALE ST                                                                                     MOORESVILLE        IN    46158‐8010
HERMAN FINS                                      22 BUCKINGHAM ROAD                                                                              ROCKVILLE CENTRE   NY    11570‐2218

HERMAN FINSTERWALD II & JANET K FINSTERWALD JT   9339 GREEN TREE                                                                                 GRAND BLANC        MI    48439‐9504
TEN
HERMAN FOWLER JR                                 12410 OSCEOLA AVE                                                                               CLEVELAND          OH    44108‐4065
HERMAN FRAEDRICH                                 4954 47TH ST                           BARRHEAD AB                            T7N 1H6 CANADA
HERMAN G CANADY JR                               212 OAKWOOD ROAD                                                                                CHARLESTON         WV    25314‐2303
HERMAN G CLANCY                                  PO BOX 10397                                                                                    GLENDALE           AZ    85318‐0397
HERMAN G KLEIBOER & SUSAN M KLEIBOER JT TEN      11103 CO RT 77                                                                                  ADAMS              NY    13605‐2135

HERMAN G KRATZ                                   297 EAST FAIRGROVE RD                                                                           CARO               MI    48723‐9748
HERMAN G PITTS JR                                347 BETHLEHEM CHURCH RD                                                                         FITZGERALD         GA    31750‐7338
HERMAN GARCIA                                    4235 SIEDEL PL                                                                                  SAGINAW            MI    48603‐5635
HERMAN GASKELL                                   5383 PENNSYLVANIA LN                                                                            LA MESA            CA    91942‐1100
HERMAN GOMEZ                                     PO BOX 213                                                                                      CARROLLTON         MI    48724‐0213
HERMAN GOODYKE                                   4615 W DAPHNE LN                                                                                TUCSON             AZ    85742‐4173
HERMAN GORDON                                    390 TEURHUNE AVE                                                                                PARAMUS            NJ    07652‐5726
HERMAN GRAUBERGER & REBA GRAUBERGER JT TEN       31088 CHIPMAN'S CHASE DR                                                                        LAUREL             DE    19956‐3529

HERMAN GRAY & JANET GRAY JT TEN                  4176 HARPER RD                                                                                  CORINTH            MS    38834‐2908
HERMAN H BLUM                                    10327 ELLENDALE ROAD                                                                            EDGERTON           WI    53534‐8405
HERMAN H BOWE                                    1729 ILLINOIS AVE                                                                               FLINT              MI    48506‐4338
HERMAN H BROOKS                                  CDR SYSTEMS                            4655 RUFFNER ST STE 220                                  SAN DIEGO          CA    92111‐2226
HERMAN H CHANG                                   611 WOODWARD AV 3                                                                               DETROIT            MI    48226‐3408
HERMAN H DEGEYTER                                450 JAMES ST                           DELHI ON                               N4B 2C1 CANADA
HERMAN H EVANS                                   BOX 79                                                                                          BAINBRIDGE         IN    46105‐0079
HERMAN H GRIFFIN                                 2735 HAYDEN DR                                                                                  EAST POINT         GA    30344‐1055
HERMAN H HEBERLING & KATHLEEN R HEBERLING JT     1542 MOUNT ZION RD                                                                              LEBANON            PA    17046‐7808
TEN
HERMAN H SMITH                                   1155 NORTHWEST RIVER RD                                                                         ELYRIA             OH    44035‐2813
HERMAN H SMITH & MARY E SMITH JT TEN             1155 NORTHWEST RIVER RD                                                                         ELYRIA             OH    44035‐2813
HERMAN H STEELE                                  1302 S COLUMBIA AVE                                                                             SHEFFIELD          AL    35660‐6314
HERMAN HARVEY DISHAROON JR                       4742 ATTERBURY STREET                                                                           NORFOLK            VA    23513‐3806
HERMAN HOFF & MRS ALLIS HOFF JT TEN              1903 GAN                                                                      NORWAY
HERMAN HRIBAR CUST MARK S HRIBAR UGMA PA         RD 5 BOX 148                           PINE LANE                                                SELINSGROVE        PA    17870‐9631
HERMAN HULST                                     130 S ZEELAND PARKWAY                                                                           ZEELAND            MI    49464
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HERMAN I HAZARD                                2225 KANSAS ST                                                                                    SAGINAW            MI    48601‐5530
HERMAN J BOWLER                                5521 PINE NEEDLE DR                                                                               ORANGE             TX    77632‐1132
HERMAN J C DYKES CUST KATHRYN MARIE DYKES UGMA 3712 LIBAL STREET                                                                                 GREEN BAY          WI    54301‐1253
WI
HERMAN J JETER                                 1934 SOUTH M‐13                                                                                   LENNON             MI    48449‐9318
HERMAN J MAIGRET                               8544 WARREN ST                                                                                    OTTAWA LAKE        MI    49267‐9511
HERMAN J PENNARTZ                              1298 ALHI                                                                                         WATERFORD          MI    48328‐1504
HERMAN J PERRINE                               4731 VILLAGE OAK DR                                                                               ARLINGTON          TX    76017‐2534
HERMAN J REDLAWSKI                             3639 KIDDER ROAD                                                                                  ALMONT             MI    48003
HERMAN J SASSE                                 4403 RUDY LN                                                                                      LOUISVILLE         KY    40207‐2339
HERMAN J SCHEELE                               228 N STATE ST                                                                                    ZEELAND            MI    49464‐1215
HERMAN J SCHULTE JR                            423 ABERDEEN AVE                                                                                  DAYTON             OH    45419‐3207
HERMAN J THOMAS                                RT 5 BOX 1120                                                                                     DONALSONVILLE      GA    31745‐9322
HERMAN J VINCKE                                4760 W CHESANING RD                                                                               CHESANING          MI    48616‐8423
HERMAN JACKSON                                 927 SO 4TH                                                                                        SAGINAW            MI    48601‐2139
HERMAN JACKSON                                 351 N SQUIRREL RD                        LOT 7                                                    AUBURN HILLS       MI    48326‐4000
HERMAN JONES                                   6102 BOOTHWAY DR                                                                                  TOLEDO             OH    43615‐4334
HERMAN JOSEPH WEISS                            4850 WIKIUP BRIDGE WAY                                                                            SANTA ROSA         CA    95404‐1119
HERMAN K BROWN                                 3483 JONATHAN DR                                                                                  BEAVERCREEK        OH    45434‐5911
HERMAN K FOSTER                                1402 WILLOW WOOD                                                                                  GRAHAM             TX    76450
HERMAN K HARRINGTON                            820 HEMINGWAY                                                                                     LAKE ORION         MI    48362‐2635
HERMAN K SUHR & MARILYN R SUHR JT TEN          26713 DAVIS RD                                                                                    CONCORDIA          MO    64020‐7121
HERMAN KELLEY                                  PO BOX 152                                                                                        LOGANVILLE         GA    30052‐0152
HERMAN KUEHN & BETTY J KUEHN JT TEN            15 E PELICAN ST                                                                                   NAPLES             FL    34113‐4019
HERMAN L CARMASSI                              1371 OAKLAND BLVD 301                                                                             WALNUT CREEK       CA    94596‐4357
HERMAN L CARROLL                               PO BOX 58293                                                                                      PHILADELPHIA       PA    19102‐8293
HERMAN L DE KRUYFF                             908 SAPPHIRE COURT                                                                                SAN JOSE           CA    95136‐2666
HERMAN L DESHAZO                               13 DELL CT                                                                                        BALTO              MD    21244‐2848
HERMAN L FUCHS                                 1189 MIDWOOD DRIVE                                                                                RAHWAY             NJ    07065‐1730
HERMAN L HASSELBRING CUST LORI R HASSELBRING   ATTN LORI R YOUNG                        4573 WOODRIDGE RD                                        MINNETONKA         MN    55345‐3936
UGMA MN
HERMAN L HITCHCOCK                             1142 CLEBURNE PKWY                                                                                HIRAM              GA    30141‐4058
HERMAN L IMEL                                  3211 E 200 N                                                                                      ANDERSON           IN    46012‐9437
HERMAN L JACKSON JR                            2432 RIDGE RD                                                                                     VIENNA             OH    44473‐9706
HERMAN L LARSON JR                             6657 SE YORKTOWN DR                                                                               HOBE SOUND         FL    33455‐7304
HERMAN L LEVINE & EVELYN LEVINE JT TEN         27 ABBEY LANE APT 207                                                                             DELRAY BEACH       FL    33446‐1736
HERMAN L MARTLAGE                              204 WOODLAND DR                                                                                   NEW WHITELAND      IN    46184‐1428
HERMAN L MICKENS                               2075 SPINNINGWHEEL E                                                                              BLOOMFIELD HILLS   MI    48304‐1064

HERMAN L NICHOLS                                 9134 DEL RIO DR                                                                                 GRAND BLANC        MI    48439‐8016
HERMAN L POTTS                                   7 FLAMINGO DR                                                                                   HAZELWOOD          MO    63042‐2118
HERMAN L ROACH                                   2910 N EASTMAN RD                      APT 315                                                  LONGVIEW           TX    75605‐5037
HERMAN L STEPP                                   29 BARTHMAN AVENUE                                                                              COLUMBUS           OH    43207‐1882
HERMAN L STONE                                   124 DEERHAVEN ROAD                                                                              WEARE              NH    03281‐5511
HERMAN L SUMMERS                                 3474 W GRAND BLANC RD                                                                           SWARTZ CREEK       MI    48473‐8831
HERMAN LACEY                                     2344 COPEMAN BLVD                                                                               FLINT              MI    48504‐2904
HERMAN LAU & JEANNIE LAU JT TEN                  2234‐45TH AVE                                                                                   SAN FRANCISCO      CA    94116‐1503
HERMAN LEBERSFELD CUST DANIEL RYAN SILVER UTMA   17688 LAKE ESTATES DR                                                                           BOCA RATON         FL    33496‐1414
NJ
HERMAN LEBERSFELD CUST JACOB M SILVER UTMA NJ    17688 LAKE ESTATES DR                                                                           BOCA RATON         FL    33496

HERMAN LEBERSFELD CUST JENNA BROOKE LEBERSFELD 17688 LAKE ESTATES DR                                                                             BOCA RATON         FL    33496‐1414
UTMA NJ
HERMAN LENGEL                                  7132 CLEMENTS                                                                                     W BLOOMFIELD       MI    48322‐2628
HERMAN LOVE                                    7918 S PAULINA ST #1                                                                              CHICAGO            IL    60620‐4523
HERMAN LUSANE                                  1360 N BALLENGER                                                                                  FLINT              MI    48504‐7533
HERMAN M EHLERS                                #6 VILLA DONNA CT                                                                                 HAZELWOOD          MO    63042
HERMAN M LESTER                                6642 FOX HOLLOW CT                                                                                CLEVELAND          OH    44130‐8236
HERMAN M RUSSELL                               12158 HWY 494                                                                                     COLLINSVILLE       MS    39325‐9159
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HERMAN M WESTSTRATE                             888 BOWES ROAD                                                                                LOWELL          MI    49331
HERMAN MOSKOWITZ                                21711 FALL RIVER DR                                                                           BOCA RATON      FL    33428‐4821
HERMAN MOSKOWITZ                                6702 E FARM ACRES                                                                             CINCINNATI      OH    45237‐3614
HERMAN MUESEGAES & JUNE M MUESEGAES JT TEN      2705 TWP RD 220                                                                               BLOOMINGDALE    OH    43910‐7840

HERMAN MUETER                                   PO BOX 694                                                                                    LEONARD         MI    48367‐0694
HERMAN MURPHY                                   3019 GENA DR                                                                                  DECATUR         GA    30032‐5708
HERMAN N MORGAN JR                              210 W HOLBROOK                                                                                FLINT           MI    48505‐5905
HERMAN NICHOLSON JR                             630 HANCOCK STREET                                                                            SO PLAINFIELD   NJ    07080‐2716
HERMAN P BARBERIS                               444 VIA COCHES                                                                                SAN LORENZO     CA    94580‐3112
HERMAN P WALLMAN                                521 CARDIGAN PLACE                   LONDON ON                              N6M 1J6 CANADA
HERMAN PAUL BENECKE                             920 LANSMERE LN                                                                               COLUMBUS        OH    43220‐4127
HERMAN POST                                     5081 BAUER RD                                                                                 HUDSONVILLE     MI    49426‐8631
HERMAN R BOWERS                                 10911 TOURNAMENT LANE                                                                         INDIANAPOLIS    IN    46229‐4325
HERMAN R LATTA & SHIRLEY M LATTA JT TEN         900 S MILLER RD                                                                               SAGINAW         MI    48609‐5180
HERMAN R MEYERS                                 15370 KILBIRNIE DR                                                                            FORT MYERS      FL    33912
HERMAN R RUPPRECHT                              9501 WATERMAN                                                                                 FRANKENMUTH     MI    48734‐9605
HERMAN R STERN                                  3531 GREEN SPRING DR                                                                          SAN ANTONIO     TX    78247‐2908
HERMAN RESNICK & MRS DE VERA M RESNICK JT TEN   7420 ROCKRIDGE RD                                                                             BALTIMORE       MD    21208‐5736

HERMAN ROBINSON                                 2515 SAMANTHA DR                                                                              BURLINGTON      KY    41005‐8390
HERMAN ROCK                                     120‐25 DEBS PL                                                                                BRONX           NY    10475‐2526
HERMAN ROCKMAN & MRS BELLA ROCKMAN JT TEN       175 MUSH DAHL DR                                                                              NEW RINGGOLD    PA    17960‐9077

HERMAN S BUSH                                   80 GATH TERR                                                                                  TONAWANDA       NY    14150‐5292
HERMAN S BUSH & MRS MARGARET A BUSH JT TEN      80 GATH TERRACE                                                                               TONAWANDA       NY    14150‐5292

HERMAN S CAMERON                                RT 7                                                                                          HARTFORD        OH    44424
HERMAN S DAVIS                                  ROUTE 3 BOX 82                                                                                PROCIOUS        WV    25164
HERMAN S LINTNER                                338 E PULASKI HWY                                                                             ELKTON          MD    21921‐6435
HERMAN S LOVE                                   1925 S AVERILL AV                                                                             FLINT           MI    48503‐4403
HERMAN S SIMMS JR                               6591 FIREWOOD                                                                                 DETROIT         MI    48210‐1304
HERMAN S SMITH                                  23171 A1 HWY 71                                                                               FLAT ROCK       AL    35966
HERMAN SAXON                                    3396 COOPERS TRL                                                                              LORAIN          OH    44053‐4423
HERMAN SCHAFFER                                 1419 WOODLAND TRL                                                                             ABILENE         TX    79605‐4705
HERMAN SCHWARTZ & MRS SYLVIA SCHWARTZ JT TEN    25 KEVIN PL                                                                                   WAYNE           NJ    07470‐5950

HERMAN SCHWARZ & MRS S SUZANNE SCHWARZ JT TEN 1630 RED MILL DRIVE                                                                             PITTSBURGH      PA    15241‐2826

HERMAN SHEFFIELD JR                           PO BOX 174                                                                                      BELLAMY         AL    36901‐0174
HERMAN SKLARIN CUST DAVID ANDREW SKLARIN UGMA 1 SPENCER CIR                                                                                   MARLBORO        NJ    07746‐1508
NY
HERMAN SLATON                                 2480 CORONADO WA                                                                                DUNEDIN         FL    34698‐2033
HERMAN SNYDER                                 3226 4TH ST                                                                                     WAYLAND         MI    49348‐9515
HERMAN STONE & LEAH S STONE TR THE STONE FAM  2588 OLD CORRAL RD                                                                              HENDERSON       NV    89052
TRUST UA 04/24/96
HERMAN STRAUSBAUGH                            1887 NORTH HILLS RD                                                                             YORK            PA    17402‐1829
HERMAN T DAVIS                                14512 BIRCHWOOD AVE                                                                             CLEVELAND       OH    44111‐1314
HERMAN T POSEY                                629 E MCAINTOSH RD                                                                              GRIFFIN         GA    30223‐1248
HERMAN TIGGETT                                4474 OAKLAND ST                                                                                 NEWTON FALLS    OH    44444‐9535
HERMAN TILLMAN JR                             28081 HIGHWAY 28                                                                                HAZLEHURST      MS    39083‐2240
HERMAN TOLBERT                                4977 MOSES DR                                                                                   LIVERPOOL       NY    13090‐2570
HERMAN TROUSER                                3602 WORCHESTER DR                                                                              FLINT           MI    48503
HERMAN TURNDORF                               PO BOX 412                                                                                      EAST BOOTHBAY   ME    04544
HERMAN VEASLEY                                3741 FRAZIER CT                                                                                 INKSTER         MI    48141‐2724
HERMAN W BLEHM TR HERMAN W BLEHM INTERVIVOS 2655 DIVISION ST                                                                                  ALGER           MI    48610
TRUST UA 03/12/96
HERMAN W BONNEY                               5 SOUTHWAY                                                                                      HARTSDALE       NY    10530‐2111
HERMAN W HALTER                               6680 NANAFIELD DR                                                                               TEMPERANCE      MI    48182‐1235
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HERMAN W MC NEAL                                 300 W COMMERCE ST                                                                             HARTFORD        AL    36344‐1112
HERMAN W MEUSEL TOD HERMAN W MEUSEL SUBJECT      6910 NORTH POINT RD                                                                           EDGMERE         MD    21222
TO STA TOD RULES
HERMAN W OEHRING                                 701 NYLON                                                                                     SAGINAW         MI    48604‐2122
HERMAN W OEHRING & AGNES I OEHRING JT TEN        701 NYLON ST                                                                                  SAGINAW         MI    48604‐2122
HERMAN W SUTHERLAND & WILMA J SUTHERLAND JT      2498 EDWARDS STREET                                                                           GRAND BLANC     MI    48439‐8515
TEN
HERMAN W WATTS & BEVERLEY J WATTS JT TEN         35243 RUTHERFORD                                                                              CLINTON TWP     MI    48035‐2666
HERMAN WARRIOR                                   6004 RAINTREE DR                                                                              OKLAHOMA CITY   OK    73150‐6100
HERMAN WHITE & LOIS WHITE JT TEN                 25805 ANNIE CT                                                                                CASTRO VALLEY   CA    94552
HERMAN WILLIAMS                                  1945 QUEEN ROAD AVE                                                                           JACKSON         MS    39213‐4735
HERMAN YOBSKI                                    4044 N TAYLOR AVE                                                                             DECATUR         IL    62526‐9309
HERMANETTE SHEPHERD                              PO BOX 6336                                                                                   SHERVEPORT      LA    71136‐6336
HERMANN ERNST SAUER                              DONAUSTR 50                          RUSSELSHEIM                            GERMANY
HERMANN F GROSS                                  1900 CLINTON AVE S                   STE 13                                                   ROCHESTER       NY    14618‐5621
HERMANN FRIEDSAM                                 ALTSIEDLERGASSE 15                   WEIDLING                               3411 AUSTRIA
HERMANN GRIMM                                    97 MONTROSS AVE                                                                               RUTHERFORD      NJ    07070‐1149
HERMANN K BLEIBTREU                              PO BOX 85666                                                                                  TUCSON          AZ    85754‐5666
HERMANN M CAMERON                                5233 KENDAL                                                                                   DEARBORN        MI    48126‐3189
HERMANN STATZ                                    10 BARNEY HILL RD                                                                             WAYLAND         MA    01778‐3602
HERMANN STATZ & MRS ILSE STATZ JT TEN            10 BARNEY HILL ROAD                                                                           WAYLAND         MA    01778‐3602
HERMELINDO RAMIREZ                               PO BOX 63                                                                                     FALCON HTS      TX    78545‐0063
HERMENEGIL P GUERRERO                            7559 W 61ST PL                                                                                SUMMIT ARGO     IL    60501‐1617
HERMEZ S SALEM                                   6689 TORYBROOKE CIRCLE                                                                        W BLOOMFIELD    MI    48323
HERMILO MORENO                                   10044 SHADYHILL LANE                                                                          GRAND BLANC     MI    48439‐8319
HERMIN B DENNY                                   103 WILDEWOOD DOWNS WAY                                                                       COLUMBIA        SC    29223‐4468
HERMINA B CARSON                                 900 LAWRENCE AVE                                                                              GIRARD          OH    44420
HERMINA GERMANIS                                 307 HIGHLAND AVE                     OSHAWA ON                              L1H 6B1 CANADA
HERMINA GOLDFARB                                 6920 W 33RD AVE                                                                               WHEAT RIDGE     CO    80033‐6304
HERMINA T ARENTZ TR UA 05/06/82 HERMINA T        4120 E KERESAN ST                                                                             PHOENIX         AZ    85044
ARENTZ TRUST
HERMINE HERRING BRADEN                           12419 OLD OAKS DR                                                                             HOUSTON         TX    77024‐4911
HERMINIA A SYCIP                                 20132 FLALLON AVE                                                                             LAKEWOOD        CA    90715‐1036
HERMINIA D KUNDE TR UA 11/30/2007 KUNDE LIVING   HC 1 BOX 2                                                                                    ELGIN           AZ    85611
TRUST
HERMINIA S ARCENAS                               C/O HERMINIA A SYCIP                 20132 FLALLON AVE                                        LAKEWOOD        CA    90715‐1036
HERMINIO B BALLADO                               3240 EUCLID HTS BLVD                                                                          CLEVELAND       OH    44118‐1860
HERMINIO M SANTIANO                              2484 EGGERT ROAD                                                                              TONAWANDA       NY    14150‐9215
HERMINIO MARIA                                   #35 EASTVIEW AVE                                                                              YONKERS         NY    10703‐2201
HERMINIO R CORTEZ                                910 N HICKS ST                                                                                LOS ANGELES     CA    90063‐2704
HERMITT D WHITE                                  65 COUNTY ROAD 1566                                                                           VINEMONT        AL    35179‐7811
HERMOGENE FLOYD STEFANSKI                        422 E STENZIL ST                                                                              NO TONAWANDA    NY    14120‐1757
HERMOGENES P AGUIGAM                             19989 STEEL ST                                                                                DETROIT         MI    48235‐1134
HERMON LEE EVERHART                              PO BOX 95                                                                                     MOHAWK          TN    37810‐0095
HERMUT STOLL                                     SCHWANENSU 22                        D 64569 NAUHEIM                        GERMANY
HERNAN ARIAS                                     1116 DUTCH                                                                                    DEER PARK       TX    77536‐3130
HERNANDO J ROSANIA                               19531 ROANOKE RD                                                                              APPLE VALLEY    CA    92307‐2420
HERNDON C ADERHOLD III                           3225 DOVE HOLLOW LANE                                                                         NORMAN          OK    73072‐2956
HERNDON D LACKEY                                 APT 6‐F                              68‐10 108 STREET                                         FOREST HILLS    NY    11375‐3374
HERNTON B HARRIS                                 11433 LYNCROSS DR                                                                             CINCINNATI      OH    45240‐2257
HERNY D BIELEC & SAMANTHA LYNN BIELEC JT TEN     3115 BERTHA AVE                                                                               FLINT           MI    48504

HEROL A BALENTINE                                10505 OAKLAND                                                                                 KANSAS CITY     MO    64134‐1945
HERPHON B RUTHERFORD                             2919 BONBRIGHT                                                                                FLINT           MI    48505‐4921
HERRICK C LEUNG                                  5325 HERITAGE HILLS BLVD             MISSISSAUGA ON                         L5R 2J8 CANADA
HERRICK MEMORIAL LIBRARY                         101 WILLARD MEMORIAL SQUARE                                                                   WELLINGTON      OH    44090‐1342
HERRN WOLFGANG HEMMELRATH                        UNTERLANDSTRABE 44                   63911 KLINGENBERG                      GERMANY
HERSCHEL A ROLLINS                               407 29TH ST W                                                                                 CHARLESTON      WV    25312‐1702
HERSCHEL BARRON                                  714 UNDERCLIFF DR                                                                             HAZELWOOD       MO    63042‐1720
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Name                                               Address1                            Address2             Address3          Address4          City             State Zip

HERSCHEL C LAMPTON                                 8315 DELIDO RD                                                                               LOUISVILLE       KY    40219‐5209
HERSCHEL C PARRISH SR                              412 1ST ST                                                                                   FREEBURG         IL    62243‐1609
HERSCHEL D TAYLOR JR                               120 MOUNTAIN LAUREL TRAIL                                                                    MONTEREY         TN    38574‐5046
HERSCHEL E WELLS                                   7905 PLAINFIELD                                                                              CINCINNATI       OH    45236‐2503
HERSCHEL J ROPER                                   1810 KINGSWOOD DR                                                                            LANSING          MI    48912‐5142
HERSCHEL L CAUBLE & MRS VIRGINIA R CAUBLE JT TEN   1569 SOLANO AVE                     # BONE                                                   BERKELEY         CA    94707‐2116

HERSCHEL LUCAS & JANET LUCAS JT TEN                10 TIMBERLINE CIR                                                                            SAVANNAH         GA    31404
HERSCHEL R HARRIS                                  4603 BROTT RD                                                                                RUBY             MI    48049‐2911
HERSCHEL RADFORD                                   PO BOX 1651                                                                                  SOMERSET         KY    42502‐1651
HERSCHEL T HINKLE                                  PO BOX 397                                                                                   LAPEL            IN    46051‐0397
HERSCHEL W COX                                     2634 CR 240                                                                                  WEDOWEE          AL    36278‐7322
HERSCHEL W WELLS & JEWELL A WELLS JT TEN           7905 PLAINFIELD                                                                              CINCINNATI       OH    45236‐2503
HERSCHELL C TURNER                                 1706 LAMBERTON CREEK CT NE                                                                   GRAND RAPIDS     MI    49505‐7702
HERSCHELL DOUGLAS RUSSELL                          G 4450 RADCLIFF ST                                                                           FLINT            MI    48507
HERSCHELL E TEETERS                                PO BOX 758                                                                                   LAPEL            IN    46051‐0758
HERSCHELL GLENN DRAKE                              2488 W 700 N                                                                                 ANDERSON         IN    46011‐9234
HERSCHELL L SCOTT                                  PO BOX 172                                                                                   LEBANON          OH    45036‐0172
HERSCHELL W ELAM                                   513 PEARSAIL                                                                                 PONTIAC          MI    48341‐2662
HERSEL R PITTS                                     103 CATAWBA AVE                     #7                                                       NEWFIELD         NJ    08344‐9511
HERSHAL L PRITCHARD JR                             2601 PEWANAGA PL                                                                             FLINT            MI    48507‐1841
HERSHAL M GRAUBART                                 1130 HIGHLAND PARK RD                                                                        SCHENECTADY      NY    12309‐5410
HERSHALL L HUNHOLZ                                 RR 2 BOX 297                                                                                 ARCHIE           MO    64725‐9358
HERSHEL C ARMOUR                                   PO BOX 31 230 CAROLINE ST                                                                    CHARLESTOWN      MD    21914‐0031
HERSHEL C GRAY                                     29 DIXONS CT                                                                                 OFALLON          MO    63366‐2123
HERSHEL COX                                        265 CARDIGAN RD                                                                              DAYTON           OH    45459‐1711
HERSHEL D FLOYD                                    1512 CONNIE DRIVE                                                                            ARNOLD           MO    63010‐2849
HERSHEL DALE WOODRUFF                              G3324 MCKEIGHAN                                                                              BURTON           MI    48529
HERSHEL E BREWER                                   1099 DRY VALLEY RD                                                                           FORESTBURG       TX    76239‐3408
HERSHEL E BREWER & IMOGENE BREWER JT TEN           1099 DRY VALLEY RD                                                                           FORESTBURG       TX    76239‐3408
HERSHEL E WHITE                                    12850 ROBSON                                                                                 DETROIT          MI    48227‐2519
HERSHEL J WILSON                                   13663 CO RD 747                                                                              HANCEVILLE       AL    35077‐6306
HERSHEL KEETON                                     7069 S R 350                                                                                 OREGONIA         OH    45054‐9790
HERSHEL L CARR                                     800 EMERSON ST                                                                               KENNETT          MO    63857
HERSHEL L FRYMAN                                   737 WALNUT ST                                                                                LEAVENWORTH      KS    66048‐2567
HERSHEL L HALE                                     9250 HARRISON                                                                                LIVONIA          MI    48150‐4124
HERSHEL L LANDERS                                  6975 COUNTY ROAD 236                                                                         TOWN CREEK       AL    35672‐6725
HERSHEL L LOVE                                     4328 W HORTON ROAD                                                                           SAND CREEK       MI    49279‐9708
HERSHEL L PUCKETT                                  5381 ORMAND ROAD                                                                             WEST CARROLLT    OH    45449‐2707
HERSHEL L PUCKETT & ALENE PUCKETT JT TEN           5381 ORMAND ROAD                                                                             W CARROLLTON     OH    45449‐2707
HERSHEL L ROBINSON                                 454 SHENANDOAH                                                                               FARMINGTON       MO    63640‐2164
HERSHEL L SIMPSON                                  43 ISBON RD                                                                                  ROCKY MOUNT      MO    65072‐3006
HERSHEL MILLION                                    12416 OLD DAYTON RD                                                                          BROOKVILLE       OH    45309‐8379
HERSHEL N HARP                                     845 HEMLOCK ST                                                                               WAUSEON          OH    43567‐1855
HERSHEL SMITH                                      1511 CO RD 369                                                                               TRINITY          AL    35673‐3227
HERSHEL V WILLIAMS                                 1127 WOOD AVE                                                                                KANSAS CITY      KS    66104‐5949
HERSHEL W BIZZLE                                   9614 HAROLD                                                                                  ST LOUIS         MO    63134‐4215
HERSHELL H WINBURN                                 PO BOX 833                                                                                   YELLOW SPGS      OH    45387‐0833
HERSHELL J COTTON                                  1194 COOLRIDGE DR                                                                            GRAND BLANC      MI    48439‐4972
HERSHELL LANG                                      PO BOX 2293                                                                                  KANSAS CITY      KS    66110‐0293
HERSHELL R PRUITT                                  2312 SKY PINES CT                                                                            SALT LAKE CITY   UT    84117‐4403
HERTA K CONNOP                                     935 CHAPIN AVE                                                                               BIRMINGHAM       MI    48009‐4722
HERTA P PAUL                                       40 HOFFMAN CT                       B‐6                                                      WALLINGFORD      CT    06492
HERTHA HAMMER                                      4137 BALDWIN RD                                                                              METAMORA         MI    48455‐8925
HERTHA HEMEL & NORA BAURER TEN COM                 10743 BROOKWELL                                                                              CUPERTINO        CA    95014‐4608
HERTHA M FRANKS                                    4851 MOUNT HOPE HIGHWAY                                                                      MULLIKEN         MI    48861‐9726
HERTHA WALTON                                      21605 INDIANA ST                                                                             WILDOMAR         CA    92595‐9773
HERVE E TELLIER                                    408 LUCILLE STREET                                                                           WOONSOCKET       RI    02895‐6764
HERVEY A TAYLOR JR                                 424 LOVELY ST                                                                                AVON             CT    06001‐2332
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HERVEY LAVALLEE & MRS ELIZABETH LAVALLEE JT TEN   21 YOUNG ST                                                                                   NORTH              RI    02904‐3234
                                                                                                                                                PROVIDENCE
HERVEY MEMORIAL LIBRARY                           ATTN DAVID L HITE                    964‐D N 21ST STREET                                      NEWARK             OH    43055‐7230
HERVEY PARSONS                                    33 PROVENCHER                        BOISBRIAND QC                          J7G 1M6 CANADA
HERVEY R EHRET TR H R EHRET TRUST UA 11/21/94     1341 BROOKSIDE DR                                                                             LANSING            MI    48917‐9282

HESHAM ALNOAIMI                                   1 LEIGHTON STREET                                                                             CAMBRIDGE          MA    02141
HESSEL D DE JONG                                  161 SUMMIT                                                                                    ROCKFORD           MI    49341‐1149
HESSEL KOOISTRA                                   10148 PALERMO COURT                                                                           YUCAIPA            CA    92399‐6000
HESSIELEE GAY                                     205 ROSS CEMETARY RD                                                                          LAKE CITY          TN    37769
HESTER A BLEVINS                                  3330 SCHROEDERD                      RFD2                  BOX 145                            HAUBSTADT          IN    47639‐9804
HESTER C SIMMS EX EST CHARLES E SIMS              677 MEADOW BRANCH RD                                                                          BEAN STATION       TN    37708
HESTER CREED ROSE                                 PO BOX 422                                                                                    ATHENS             OH    45701‐0422
HESTER F DUNCAN & LAWRENCE DUNCAN TR DUNCAN       1505 EATON DR                                                                                 LAS VEGAS          NV    89102‐6112
1990 TRUST UA 12/5/90
HESTER L HILL & RICHARD M HILL JT TEN             631 MAIN ST                                                                                   CONCORD            MA    01742‐3303
HESTER M VALENTINE                                1059 CEDAR GROVE RD                                                                           PARKERSBURG        WV    26104‐7163
HESTER S MANNING                                  200 N DELAWARE AVE                                                                            MARTINSBURG        WV    25401‐2051
HESTER S WOLTERS                                  PO BOX 577                                                                                    WILSON             NY    14172‐0577
HESTER WELCH                                      37626 WALNUT DR                                                                               ROMULUS            MI    48174‐4714
HETLEY C MILLER                                   924 N HAMPTON RD                     APT 1214                                                 DESOTO             TX    75115‐3980
HETTIE JANE OSBORNE                               730 MCKINLEY AVENUE                                                                           WASHINGTON         PA    15301‐3848
HETTIE WARD                                       2807 N LUTHERAN CHURCH                                                                        DAYTON             OH    45426‐4317
HETTY MAY BURNETT                                 1446 KINGS CARRIAGE                                                                           GRAND BLANC        MI    48439
HEULAND GAMBILL                                   4262 ROBINSON‐VAIL RD                                                                         FRANKLIN           OH    45005‐4745
HEUNG‐MING WONG & LI‐FANG YI JT TEN               515 N YNEZ AVE                       B                                                        MONTEREY PARK      CA    91754‐1023
HEWART R TILLETT                                  4841 N W FISK                                                                                 RIVERSIDE          MO    64152
HEWITT HERD                                       6805 DANA LANE                                                                                FLINT              MI    48504‐3614
HEYDRICH J TYNER                                  89 ZELMER ST                                                                                  BUFFALO            NY    14211‐2140
HEYWARD L EASTERLING                              2229 REGINSONVIEW RD                                                                          HARTSVILLE         SC    29550‐9805
HEYWARD L MARTIN & CORETHA A MARTIN JT TEN        6639 SOUTH BISHOP                                                                             CHICAGO            IL    60636‐2805

HEYWARD M TIBBS & MRS EMMABEL TIBBS JT TEN        3184 TABAGO CT                                                                                LEXINGTON          KY    40509‐9505
HEYWOOD E BALLARD                                 21899 MAHON DRIVE                                                                             SOUTHFIELD         MI    48075‐3824
HEYWOOD L BROWN JR                                4034 MYRON AVE                                                                                TROTWOOD           OH    45416‐1659
HEZAM M AHMED                                     5445 CHASE RD                                                                                 DEARBORN           MI    48126‐3127
HEZEKIAH JOHNSON                                  506 DR MARTIN LUTHER KING JR DR                                                               LELAND             MS    38756
HEZEKIAH JOHNSON                                  163 TUDOR RD                                                                                  CHEEKTOWAGA        NY    14215‐2923
HEZEKIAH PARKER                                   3790 WEBB                                                                                     DETROIT            MI    48206‐1430
HEZEKIAH S BIBBS JR                               2113 CHATEAU DR                                                                               FLINT              MI    48504
HEZEKIAH T HARMON III                             1605 NEWPORT ROAD                                                                             WILMINGTON         DE    19808‐6017
HEZEKIAH T HARMON JR                              1605 NEWPORT ROAD                                                                             WILMINGTON         DE    19808‐6017
HEZEKIAH WILLIAMS                                 16162 MONTEVISTA                                                                              DETROIT            MI    48221‐2831
HEZI LEVY CUST ARI LEVY UTMA IL                   238 WOODLAND                                                                                  HIGHLAND PARK      IL    60035‐5053
HIANG T TAN                                       215 PRESIDENTS LANE                                                                           QUINCY             MA    02169‐1919
HIAWATHA J PEAVLEY                                4053 IRENE                                                                                    INKSTER            MI    48141‐2130
HIBBERD SHELDON                                   3264 WEST MT KIRK AVE                                                                         EAGLEVILLE         PA    19403‐1724
HIBBERT A LOWELL                                  650 WOODLAWN                                                                                  YPSILANTI          MI    48198‐8029
HICKEN PERRY                                      2532 CHICAGO BLVD                                                                             DETROIT            MI    48206
HICKORY GROVE CEMETERY COMPANY                    ATTN JEWEL BLANSFIELD                PO BOX 66                                                PORTTENN           DE    19731‐0066
HIDEKO NORIYUKI TR HIDEKO NORIYUKI TRUST UA       4404 VIA VALMONTE                                                                             PALOS VERDES EST   CA    90274‐1415
10/09/02
HIDEO KODAMA                                      AM HUHLCHEN FA                       55130 MAINZ                            GERMANY
HIDEO KODAMA                                      ADAM OPEL AG                         IPC A5‐02 D‐65423     RUSSELSHEIM      GERMANY
HIDEO KODAMA                                      AM HUHLCHEN 7 A                      MAINZ                                  GERMANY
HIDEO KOMO TR HIDEO KOMO TRUST UA 12/26/78        75 5324 MAMALAHOA HGWY                                                                        HOLUALOA           HI    96725

HIDEO MORIMOTO & BERTHA MORIMOTO JT TEN           5540 FAIR OAKS ST                                                                             PITTSBURGH         PA    15217‐1032
HIDEO NAKANISHI                                   14205 MONCLOVA RD                                                                             SWANTON            OH    43558‐8711
                                             09-50026-mg                Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
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Name                                              Address1                             Address2                   Address3      Address4                 City            State Zip

HIEN T BROWN                                      9670 MOHICAN CT                                                                                        PINCKNEY        MI    48169
HIEN V TRAN                                       1480 AUDUBON DR                                                                                        BROWNSBURG      IN    46112‐8321
HIEN V TRAN & DIEP DAO TRAN JT TEN                708 KINGSTON CIR                                                                                       BROWNSBURG      IN    46112‐8337
HIENZ D FRIESE                                    HD FRIESE                            HAMALANDWEG 5              D45770 MARL   GERMANY
HIEP V NGO                                        #2                                   111 BELLEVUE ST SW                                                WYOMING PARK    MI    49548‐3145
HIGHLAND UNITED METHODIST CHURCH                  1140 CHEROKEE RD                                                                                       LOUISVILLE      KY    40204‐1202
HIGHLIGHTS & LOWLIGHTS OF ANNUAL MEETINGS         C/O EVELYN Y DAVIS                   WATERGATE OFFICE BLDG      SUITE 215                              WASHINGTON      DC    20037

HIGHSTOWN EAST WINDSOR HISTORICAL SOCIETY         164 NORTH MAIN ST                                                                                      HIGHTSTOWN      NJ    08520‐3220

HIKMAT BESHI                                       6818 TORYBROOKE CIR                                                                                   W BLOOMFIELD    MI    48323‐2165
HILA MAE KERNEN                                    3325 GRANGE NALL RD APT 214                                                                           HOLLY           MI    48442
HILAH C PIKE                                       5325 OAKHURST DR                                                                                      CAMBRIA         CA    93428‐2920
HILAIRE J THOMPSON                                 8552A MIDVALE AVE N                                                                                   SEATTLE         WA    98103
HILARIO D CRUZ                                     333 CHERRY ST                                                                                         BLISSFIELD      MI    49228
HILARY A BOOKER DCSD                               2616 S KING DR 407                                                                                    CHICAGO         IL    60616‐2940
HILARY A BURKE                                     16 ABEY DRIVE                                                                                         PENNINGTON      NJ    08534‐2901
HILARY A ROHELIER TR UA 09/26/2002 ROHELIER        2813 N CONNECTICUT                                                                                    ROYAL OAK       MI    48073
FAMILY TRUST
HILARY ANNE STOCK                                  PO BOX 29443                        FENDALTON CHRISTCHRUCH                   NEW ZEALAND
HILARY BROWN JR                                    2541 WESSEX LN                                                                                        CHATTANOOGA     TN    37421‐1540
HILARY C SUMMERS                                   112 N 7TH ST                                                                                          MILES CITY      MT    59301‐3112
HILARY F SNELL                                     1065 PLYMOUTH SE                                                                                      GRAND RAPIDS    MI    49506‐6525
HILARY I ZARROW & SCOTT F ZARROW TR HILARY I       2120 E 30 PL                                                                                          TULSA           OK    74114‐5430
ZARROW TRUST UA 09/29/95
HILARY J KOLB                                      572 SUNLIGHT DR                                                                                       ROCHESTER HLS   MI    48309‐1330
HILARY J STACHURA                                  9884 CEDAR ISLAND RD                                                                                  WHITE LAKE      MI    48386‐3801
HILARY JANET GOLDSMITH                             CHURCH FARM                         56 HIGH STREET OAKINGTON   CAMBRIDGE     CB24 3AG GREAT BRITAIN
HILARY JOAN HOOVER                                 5450 VICKERY BLVD                                                                                     DALLAS           TX   75206‐6231
HILARY K HEYNIGER TOD CATHY A HUFNAGEL SUBJECT 26451 MIDWAY                                                                                              DEARBORN HEIGHTS MI   48127‐2971
TO STA TOD RULES
HILARY MARA BOWERS                                 10025 TREEHAVEN CT                                                                                    SAN DIEGO       CA    92131‐1448
HILARY R SPITTLE                                   2624 WELLINGTON RD                                                                                    CLEVELAND       OH    44118‐4121
HILARY SCOTT AXLER                                 85 E ARTISAN AVE                                                                                      HUNTINGTON      NY    11743‐6420
HILBERT H HUFFSTETLER JR & CONNIE S HUFFSTETLER JT 636 BURTONWOOD DR                                                                                     GASTONIA        NC    28054‐4007
TEN
HILBERT K CAMPBELL                                 1660 DILLON'S FORK RD                                                                                 FIELDALE        VA    24089‐3065
HILDA A BRADFIELD                                  1935 SW 24 TERRACE                                                                                    MIAMI           FL    33145‐3728
HILDA A KENNEDY                                    PO BOX 03871                                                                                          HIGHLAND PARK   MI    48203‐0871
HILDA A LUNSFORD                                   C/O LORI D LUNSFORD PENDLEY         720 GROVANIA RD                                                   HAWKINSVILLE    GA    31036‐9605
HILDA A PICKELL & RUTHANN GEISS JT TEN             PO BOX 4                                                                                              NAPOLEON        MI    49261‐0004
HILDA AMELIA BROWN TR UA 04/19/94 THE HILDA        430 LAKESHORE DRIVE SO                                                                                HOLLAND         MI    49424‐2223
AMELIA BROWN TRUST
HILDA B MORRIS                                     411 BOXWOOD ROAD                                                                                      WILMINGTON      DE    19804‐2008
HILDA BARON                                        40 GLEN EAGLE DR                                                                                      WATCHUNG        NJ    07069
HILDA BLANCHARD POWELL                             17710 INDIAN HEAD HWY                                                                                 ACCOKEEK        MD    20607‐2508
HILDA BUSS                                         ATTN HILDA BUSS WALKER              2800 N CHOCTAW RD                                                 CHOCTAW         OK    73020‐8597
HILDA C WALSH                                      2123 MIRIAM LANE                                                                                      ARLINGTON       TX    76010‐8012
HILDA C WEST KOPPE & CATHERINE LYNN EMERSON JT 725 EAST 3RD STREET                                                                                       WAVERLY         OH    45690‐1502
TEN
HILDA DAILEY                                       1524 ALAMO DR                                                                                         ORANGE          TX    77630‐6034
HILDA DELK CUST BROOKE EMILY DELK UTMA CA          841 SALISBURY ST                                                                                      PORTERVILLE     CA    93257
HILDA E KASTNER                                    12 JUNIPIR LN                                                                                         WILLIAMSON      NY    14589‐9773
HILDA ELISE ROELANT                                39135 EARLY DR                                                                                        STERLING HTS    MI    48313‐5595
HILDA F CALLAHAN                                   2 CARMEN AVE                                                                                          HAMILTON        OH    45013‐1612
HILDA F LINZEY                                     6138 COVENTRY DR                                                                                      FWARTZ CREEK    MI    48473‐8851
HILDA F MOSS                                       7738 PARTLO RD                                                                                        WHITTEMORE      MI    48770‐9205
HILDA FAISON                                       303 SOLLERS PT RD                                                                                     BALTIMORE       MD    21222‐6169
HILDA G HAMPTON                                    4154 ARDERY DR                                                                                        DAYTON          OH    45406‐1405
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Name                                               Address1                              Address2             Address3          Address4          City              State Zip

HILDA H SAYRE                                      5210 WCR 350 N                                                                                 MUNCIE            IN    47304
HILDA HERBERT                                      2689 RENSHAW                                                                                   TROY              MI    48098‐3720
HILDA HERSHKOWITZ & ROBIN FRIES JT TEN             144 BURGUNDY C                                                                                 DELRAY BEACH      FL    33484‐5431
HILDA J LAWRENCE                                   8403 PLANO RD                                                                                  BOWLING GREEN     KY    42104‐6434
HILDA K DAVIS TOD LISA MCINTOSH SUBJECT TO STA     4432 NEW MARKET BANTA RD                                                                       LEWISBURG         OH    45338‐9744
TOD RULES
HILDA K DAVIS TOD LORI HELMAN SUBJECT TO STA TOD   4432 NEW MARKET BANTA RD                                                                       LEWISBURG         OH    45338‐9744
RULES
HILDA L BARRETT & JEAN L HARBER JT TEN             5318 W FRANCES RD                                                                              CLIO            MI      48420‐8570
HILDA L BARRETT & KENN W BARRETT JT TEN            5318 W FRANCES RD                                                                              CLIO            MI      48420‐8570
HILDA L BARRETT & MARILYN D THOMAS JT TEN          5318 W FRANCES RD                                                                              CLIO            MI      48420‐8570
HILDA L FINDLEY                                    1303 POST ROAD                                                                                 CLINTON         MS      39056‐4047
HILDA L HOFWEBER & JOAN M TREPPA JT TEN            28015 RED CEDAR LANE                                                                           HARRISON TWNSHP MI      48045

HILDA L MIGNONE                                    30385 CHANNEL WAY DR                                                                           CANYON LAKE       CA    92587‐7987
HILDA L ROBINSON                                   5227 N 46TH ST                                                                                 MILWAUKEE         WI    53218‐3422
HILDA M BOEHLER                                    2476 PINE RD                                                                                   HUNTINGDON VY     PA    19006‐6620
HILDA M DE LEO & MARLENE GRAETZ JT TEN             7489 FRANKLIN RIDGE LANE                                                                       WEST BLOOMFIELD   MI    48322‐4126

HILDA M DEEM                                       5607 4TH AVENUE                                                                                VIENNA            WV    26105‐2009
HILDA M DESCHRYVER                                 2301 TURNER                                                                                    LANSING           MI    48906‐4060
HILDA M GAUTHIER                                   6969 STATE RD                                                                                  EAST LANSING      MI    48823‐9440
HILDA M GENTILE                                    105 BIRCHWOOD WAY                                                                              IRWIN             PA    15642‐4709
HILDA M HOUSE                                      36332 BROOKVIEW                                                                                LIVONIA           MI    48152‐2772
HILDA M JOHNS & PAUL E JOHNS JT TEN                2441 WILLISTON RD                                                                              AIKEN             SC    29803‐1102
HILDA M JUDAH                                      933 HAZEL PL                                                                                   RAHWAY            NJ    07065‐4910
HILDA M KISELLA                                    6156 KELSEY RD                                                                                 PARMA             OH    44129‐4530
HILDA M LAWRENCE & MARY L HITCHCOCK JT TEN         3651 LAKEVIEW DR                                                                               HIGHLAND          MI    48356‐2379

HILDA M LAWRENCE & ROBERT A LAWRENCE JT TEN        3651 LAKEVIEW DR                                                                               HIGHLAND          MI    48356‐2379

HILDA M LAWRENCE & SALLY J ROHDY JT TEN            3651 LAKEVIEW DR                                                                               HIGHLAND          MI    48356‐2379
HILDA M LAWRENCE & SHERRY A STARICHA JT TEN        3651 LAKEVIEW DR                                                                               HIGHLAND          MI    48356‐2379

HILDA M OUSLEY                                     6220 APPLE STREET                                                                              LOUISVILLE        OH    44641‐9470
HILDA M PRINGLE                                    115 WILKINS AVE                                                                                E PITTSBURGH      PA    15112‐1524
HILDA M QUIJANO                                    5457 MAURA DRIVE                                                                               FLUSHING          MI    48433‐1057
HILDA M QUIJANO                                    5457 MAURA DR                                                                                  FLUSHING          MI    48433
HILDA MAXWELL                                      1966 RIDGEVIEW                                                                                 YPSILANTI         MI    48198‐9511
HILDA MESSINA                                      660 NE 78TH ST 302                                                                             MIAMI             FL    33138‐4738
HILDA MEYER                                        10 COTTONTAIL RD                                                                               MELVILLE          NY    11747‐2306
HILDA MOSER                                        28167 STATE HIGHWAY 190                                                                        JAMESPORT         MO    64648
HILDA MULLANEY                                     826 DORSEY AVENUE                                                                              ESSEX             MD    21221‐3506
HILDA O ZUCKERMAN TR UA 01/29/87 HILDA O           537 RIVERDALE AVE                                                                              YONKERS           NY    10705‐5501
ZUCKERMAN TRUST
HILDA P BOYLER‐MATHUS                              451 VALENCIA DRIVE                                                                             PONTIAC           MI    48342‐1770
HILDA P PARSONS                                    5608 E MICHIGAN ST                                                                             INDIANAPOLIS      IN    46219‐5815
HILDA PANKOK                                       43 MORNINGSIDE DR                                                                              SALEM             NJ    08079‐1616
HILDA POLK                                         C/O CARLA POLK PITA                   9225 STEEL ST                                            DETROIT           MI    48228‐2693
HILDA ROTOLA                                       HC 1 1616                                                                                      BLAKESLEE         PA    18610‐9458
HILDA S HARDIN                                     516 PRESTON BAGGETT RD                                                                         TENNESSEE RIDGE   TN    37178‐6002
HILDA S HUNKEAPILLAR                               1839 APPLE GROVE RD                                                                            SOMERVILLE        AL    35670‐5619
HILDA SALAZAR                                      1688 W 20TH ST                                                                                 LOS ANGELES       CA    90007‐1101
HILDA SALMON                                       3264 SHADOW PARK PL                                                                            SAN JOSE          CA    95121‐1781
HILDA SAN JUAN                                     15723 EASTWOOD AVE                                                                             LAWNDALE          CA    90260
HILDA SCHWARZ                                      260 E CHESTNUT 505                                                                             CHICAGO           IL    60611‐2447
HILDA SEKERAK                                      844 NOTTINGHAM                                                                                 MEDINA            OH    44256‐3146
HILDA STARR KELLER & BONNIE LOU STARR JT TEN       21811 PALMETTO DUNES DR               APT 201                                                  ESTERO            FL    33928‐7002
HILDA T LEWIS                                      3596 OAKVIEW DR                                                                                GIRARD            OH    44420‐3132
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Name                                               Address1                                Address2                  Address3     Address4          City            State Zip

HILDA URBAN & BELA URBAN TR HILDA URBAN LIVING     505 VILLAS DRIVE                                                                                 VENICE          FL    34285‐3033
TRUST UA 07/19/96
HILDA V RAYMER                                     17 BRETT RD                                                                                      ROCHESTER       NY    14609‐5718
HILDE A MUELLER                                    BAHNHOFSTR 47                           64521 GR GERAU 2                       GERMANY
HILDE H TILLMAN TR UA 06/25/2009 HILDE H TILLMAN   15 GRAND HILL DR                                                                                 DOVER           MA    02030
2009 TRUST
HILDE MARX & HELEN ROSS JT TEN                     24111 CIVIC CENTER DR                   APT 609                                                  SOUTHFIELD      MI    48034‐7438
HILDE PRINS & JUDITH LORBER JT TEN                 2445 LYTTONSVILLE RD                    APT 906                                                  SILVER SPRING   MD    20910‐1934
HILDEGARD C SHAFFER                                HC2 BOX 774                                                                                      GLOBE           AZ    85501‐9604
HILDEGARD CALIENDO                                 80 BOULEVARD                                                                                     PELHAM          NY    10803
HILDEGARD D ROLFES TR HILDEGARD D ROLFES TRUST     18 MOLINO DR                                                                                     SAN FRANCISCO   CA    94127‐1804
UA 06/04/98
HILDEGARD GROSS                                    231 PROSPECT PLAINS RD                                                                           MONROE TWP      NJ    08831‐3712
HILDEGARD M BLACK                                  1839 WHITTLESEY                                                                                  FLINT           MI    48503‐4344
HILDEGARD SULINSKI & DENNIS J SULINSKI JT TEN      8 EMIL CT                                                                                        HUNTINGTON      NY    11743‐2537

HILDEGARD SULINSKI TR JOHN UNGER TRUST UA           154‐41 HORACE HARDING BLVD                                                                      FLUSHING        NY    11367‐1248
05/30/03
HILDEGARD VOGELSANG                                 9310 LUCAS ROAD                                                                                 CRYSTAL LAKE    IL    60012‐2712
HILDEGARD W FANCHER                                 1127 DORALEE WAY                                                                                SAN JOSE        CA    95125‐3624
HILDEGARDE SPEELMAN                                 1203 OGDEN PL                                                                                   CHARLOTTE       NC    28213‐3563
HILDELISA VALLEJO                                   257 COACHLIGHT SQ                                                                               MONTROSE        NY    10548‐1256
HILDRED J PENNELL & EARL H PENNELL JT TEN           2501 EDGEVALE DR                                                                                COFFEYVILLE     KS    67337‐1210
HILDRED R RUFFIN                                    1492 FIELD                                                                                      DETROIT         MI    48214‐2322
HILDRED STERLING                                    2570 WILLIAMS LAKE RD                                                                           WATERFORD       MI    48327‐1054
HILDRED V MARTIN                                    721 GEN GEO PATTON RD                                                                           NASHVILLE       TN    37221‐2463
HILDRETH B FRITZ TR HILDRETH B FRITZ TRUST 12/05/91 44 MALONE AVE                                                                                   STATEN ISLAND   NY    10306‐3908

HILDREW WILLIAMS                                   828 NORTHFIELD                                                                                   PONTIAC          MI   48340‐1333
HILDUR NELSON                                      45 JANE DR                                                                                       ENGLEWOOD CLIFFS NJ   07632‐2322

HILENE TALL                                        27 COMSTOCK AVE                                                                                  BUFFALO          NY   14215‐2215
HILERY L WEATHERFORD                               1111 ADAMS ROAD                                                                                  BURTON           MI   48509‐2357
HILERY W PERTEET                                   503 KATIE AVE                                                                                    HATTIESBURG      MS   39401‐4341
HILIARY ANNE BUTSCH                                RR 2 BOX 57                                                                                      CALIFORNIA       KY   41007‐9705
HILL CARTER JR                                     303 COLLEGE AVE                                                                                  ASHLAND          VA   23005‐1612
HILL G CRAWFORD JR                                 36542 MARTEL CT 77                                                                               FARMINGTON HILLS MI   48335‐2192

HILLARD S ADGERS & BETTY H ADGERS JT TEN           9902 MARINA COURT                                                                                FORT WASHINGTON MD    20744‐6920

HILLARD TIPTON                                     507 HARLESS LN                                                                                   ERWIN           TN    37650‐5246
HILLARY ALMA HAFNER & SHARON K HAFNER JT TEN       1205 LAKE LOUISE                                                                                 GRETNA          LA    70056‐8342

HILLARY ANNE NIESZ                                 1908 SUNBURST DR                                                                                 ZEELAND         MI    49464‐8320
HILLARY CHAPMAN                                    53 EAST 11TH ST                                                                                  NEW YORK CITY   NY    10003‐4601
HILLARY COOKE VANDER STUCKEN                       RD #1                                   183 MONTGOMERY ROAD                                      SKILLMAN        NJ    08558‐2007
HILLARY GAY ROSENBERG                              C/O VOLPER                              46 LANSDOWNE DRIVE                                       LARCHMONT       NY    10538‐1752
HILLARY HARMS                                      1622 ASCENSION DR                                                                                SAN MATEO       CA    94402‐3615
HILLARY J BEYER                                    66 FONDA RD                                                                                      ROCKVILLE CTR   NY    11570‐2751
HILLIARD J HYDE                                    PO BOX 6701                                                                                      NORTH PORT      FL    34290
HILLIARD NEAL                                      55 LINN DR                                                                                       VERONA          NJ    07044‐3109
HILLIGOSS CHEVROLET INC                            PO BOX 745                              ATTN DONALD O HILLIGOSS                                  HIBBING         MN    55746‐0745
HILLIS G POLSON & HILLIS JANE GARDNER JT TEN       167 SCHOOL ST                                                                                    LITTLETON       NH    03561‐4822
HILLMAN CRUM                                       1988 EAST HIGH ST                                                                                YOUNGSTOWN      OH    44505‐3561
HILLOUS YORK                                       1120 BENNINGTON PL                                                                               FRANKLIN        KY    42134
HILLYARD W SMITH                                   3498 W YANKEE RD                                                                                 SIX LAKES       MI    48886‐8762
HILMA M VAN SICKEL                                 307 DEVONSHIRE DR                                                                                KOKOMO          IN    46901‐5049
HILMA PEARSON & ALICE G CARLSON JT TEN             PO BOX 190                                                                                       LINDSBERG       KS    67456‐0190
HILMAN E TURKELSON                                 2744 DONEGAL DR                                                                                  RACINE          WI    53405‐1451
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Name                                             Address1                                Address2             Address3          Address4          City            State Zip

HILMAN R HORN                                    1895 CLEAR CREEK RD                                                                              NICHOLASVILLE   KY    40356‐8924
HILMAN R HORN CUST AMANDA R BEGLEY UTMA OH       1895 CLEAR CREEK RD                                                                              NICLOSVILLE     KY    40356‐8924

HILMAN R HORN CUST AMBER L BEGLEY UTMA OH      1895 CLEAR CREEK RD                                                                                NICLOSVILLE     KY    40356‐8924
HILMAN R HORN CUST ASHLEY J BEGLEY UTMA OH     1895 CLEAR CREEK RD                                                                                NICHOLASVILLE   KY    40356‐8924
HILMAN R HORN CUST ERIC G BOLLENBACHER UTMA OH 1895 CLEAR CREEK RD                                                                                NICLOSVILLE     KY    40356‐8924

HILMAN R HORN CUST MATTHEW J CANTERBURY UTMA 1895 CLEAR CREEK RD                                                                                  NICLOSVILLE     KY    40356‐8924
OH
HILMAN R HORN CUST SYDNEY C BOLLENBACHER UTMA 1895 CLEAR CREEK RD                                                                                 NICLOSVILLE     KY    40356‐8924
OH
HILMARSITA V MANDERICO & NILO MANDERICO JT TEN 3214 RIDGESTONE PKWY                                                                               DURHAM          NC    27712‐3136

HILRETTA L JACKSON                                 11434 ROSSITER                                                                                 DETROIT         MI    48224‐1603
HILTA POOL & M NEAL POOL JT TEN                    PO BOX 1408                                                                                    ODESSA          TX    79760‐1408
HILTON B BAZZLE & SHIRLEY B LAKE TR UW ELLEN FLOYD 3509 TROLLEY LINE RD                                                                           AIKEN           SC    29801‐2950
BAZZLE
HILTON E JORDAN                                    42 WAUMBECK ST                                                                                 DORCHESTER      MA    02121‐1210
HILTON E RIMA                                      8325 NORCROFT DRIVE                                                                            CHARLOTTE       NC    28269‐1304
HILTON E ROBERTS JR                                9281 FM 349 32                                                                                 LONGVIEW        TX    75603‐3204
HILTON HANEY                                       8200 E JEFFERSON AVENUE APT 1507                                                               DETROIT         MI    48214‐3976
HILTON I KAUFMAN & BEVERLY KAUFMAN JT TEN          3 LISA CT                                                                                      NEW CITY        NY    10956‐2605
HILTON LOUIS JR                                    604 ZOE CIR                                                                                    MONROE          LA    71203‐6919
HILTRUD M GRIFFIN                                  23523 IRVING ST                                                                                TAYLOR          MI    48180‐2378
HILTURD D LENHART                                  26117 NW COUNTY RD 167                                                                         FOUNTIAN        FL    32438‐6013
HILYA L COOK                                       40513 PRITTS COURT                                                                             CLINTON TWP     MI    48038
HIMES M SILIN                                      1252 TOP RD                                                                                    ERIE            PA    16505‐2564
HIND V THOMPSON                                    781 FURTH RD NW                                                                                PALM BAY        FL    32907‐7856
HINDA A LIEBMANN                                   4405 NORTHSIDE PARKWAY NW APT 2302                                                             ATLANTA         GA    30327
HINDA H KATZ                                       7201 MODENA DRIVE                                                                              BOYNTON BEACH   FL    33437‐6070
HINDA OBSTFELD CUST BENJAMIN BUNK UGMA NY          1 ARGYLL AVENUE                                                                                NEW ROCHELLE    NY    10804

HINDS C MCDANIEL                                 322 LETA AVE                                                                                     FLINT            MI   48507‐2728
HINDY MAZAL CUST HOWARD MATZAL UGMA NY           920 HARVARD COURT                                                                                WOODMERE         NY   11598‐1925
HINKSON FINANCIAL SERVICES                       700 E BIG BEAVER                        SUITE A                                                  TROY             MI   48083
HINTON L BAILEY                                  PO BOX 89                                                                                        SNELLVILLE       GA   30078‐0089
HIPOLITO AGUILAR                                 7502 ETON AVE                                                                                    CANOGA PARK      CA   91303‐1410
HIPOLITO C HERNANDEZ                             9863 CAYUGA                                                                                      ARLETA           CA   91331‐4123
HIPOLITO COLON                                   15144 RED CEDAR DR                                                                               BURTONSVILLE     MD   20866‐1386
HIPOLITO DIAZ JR                                 1 STEPHEN DRIVE                                                                                  ENGLEWOOD CLIFFS NJ   07632‐2230

HIPOLITO V LOPEZ                                 4921 GRAPE ARBOR                                                                                 LANSING         MI    48917‐1517
HIRAM A CHURCH                                   9320 DENNING ROAD                                                                                JONESVILLE      MI    49250‐9214
HIRAM A DUNFIELD                                 1264 MERRYBROOK DR                                                                               KALAMAZOO       MI    49048
HIRAM A SAGE                                     700 N LANSING                                                                                    ST JOHNS        MI    48879‐1268
HIRAM E PURSLEY JR & RAY PURSLEY 2ND JT TEN      RD 3 BOX 470‐A                                                                                   MILL HALL       PA    17751‐9513
HIRAM E TREADWELL                                6220 SHADBURN FERRY ROAD                                                                         BUFORD          GA    30518‐1318
HIRAM E VARONA                                   2011 SW 17TH ST                                                                                  MIAMI           FL    33145‐2115
HIRAM F KELLEY                                   160 FLAGSTONE DR                                                                                 ROSSVILLE       GA    30741‐8383
HIRAM H CHASE JR                                 129 TULIP TREE LANE                                                                              BATTLE CREEK    MI    49017‐1160
HIRAM HUBBARD                                    1913 PARKAMO AVE                                                                                 HAMILTON        OH    45015‐1246
HIRAM K JOHNSON                                  5865 E ST RT 55                                                                                  CASSTOWN        OH    45312‐9568
HIRAM L SMITH JR                                 166 YELLOWSTONE DR                                                                               LYNCHBURG       VA    24502‐3382
HIRAM V JONES                                    193 ST RT 781                                                                                    PEEBLES         OH    45660‐9735
HIROKO MATSUMOTO TR SADAO MATSUMOTO              14635 WEST 86TH STREET                                                                           LENEXA          KS    66215‐2443
REVOCABLE TRUST UA 1/7/92
HIROKO MATSUMOTO TR UA 01/07/92 HIROKO           14635 W 86TH ST                                                                                  LENEXA          KS    66215‐2443
MATSUMOTO REVOCABLE TRUST
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HIROKO MATSUMOTO TR UA 01/07/92 THE HIROKO     14635 W 86TH ST                                                                                         LENEXA          KS    66215‐2443
MATSUMOTO REVOCABLE TRUST
HIROKO YAMAMOTO                                11970 DARLINGTON AVENUE                                                                                 LOS ANGELES     CA    90049
HIROMOTO SONOYAMA                              1249 ELSMERE DR                                                                                         CARSON          CA    90746‐2637
HISHAM SIRAWAN                                 1517 SNOWBIRD LN                                                                                        O FALLON        MO    63366‐3214
HISHAM SIRAWAN & HISHAM M K SIRAWAN JT TEN     1517 SNOWBIRD LN                                                                                        O FALLON        MO    63366‐3214

HITESH PATEL & PRAGNA PATEL JT TEN             547 ASHWOOD RD                                                                                          SPRINGFIELD     NJ    07081‐2526
HITWANT SIDHU & PUSHPA SIDHU JT TEN            9128 MELROSE DR                                                                                         INDIANAPOLIS    IN    46239‐1476
HIVENS SNODGRASS                               PO BOX 70                                                                                               RACINE          WV    25165‐0070
HIXIE L MARSHALL                               80 LARCHMERE DR                                                                                         DAYTON          OH    45440‐3511
HIXIE M DAVIS                                  1655 N COLONY RD                       UNIT 4006                                                        MERIDEN         CT    06450‐1903
HJALMAR B BRANTING                             4528 LAKEWOOD DR                                                                                        METAIRIE        LA    70002‐1328
HO MING CHEUNG & WING MAN CHEUNG JT TEN        11013 GONSALVES PL                                                                                      CERRITOS        CA    90703‐6444
HO SUN YI                                      40 CALLE ARAGON                        UNIT A                                                           LAGUNA WOODS    CA    92637‐3903
HOA V PHAM                                     316 BOUZIDEN                                                                                            MOORE           OK    73160‐7134
HOAG AVIS M                                    6074 BANCROFT                          BOX 143                                                          ALTO            MI    49302‐0143
HOANG D NGUYEN                                 2428 WAYNE WAY                                                                                          GRAND PRAIRIE   TX    75052‐7882
HOBART D WICKER                                4564 COLON RD                                                                                           SANFORD         NC    27330‐9504
HOBART F SMITH                                 309 BOBBY DR                                                                                            FRANKLIN        TN    37069‐6445
HOBART HUTTON                                  26035 RED WOOD DR                                                                                       NEW BOSTON      MI    48164‐9188
HOBART J PHILLIPS                              1123 VANDEMAN                                                                                           INDIANAPOLIS    IN    46203‐2253
HOBART N MOORE                                 33151 CRESTON ST                                                                                        WESTLAND        MI    48186‐4883
HOBERT BRADLEY JR                              6345 S IDDINGS RD                                                                                       WEST MILTON     OH    45383‐8760
HOBERT C BALDWIN                               2345 W GALBRAITH RD                                                                                     CINCINNATI      OH    45239‐4342
HOBERT CURTIS                                  1012 TERRACWOOD                                                                                         ENGLEWOOD       OH    45322‐2456
HOBERT D HUMPHRIES                             PO BOX 1053                                                                                             EMORY           TX    75440‐1053
HOBERT D MILLER                                ROUTE 2                                                                                                 URICH           MO    64788‐9804
HOBERT D WARD                                  4060 MINNETONKA                                                                                         LINDEN          MI    48451‐9470
HOBERT E ENGLISH                               2016 E REID RD                                                                                          GRAND BLANC     MI    48439‐8584
HOBERT FYFFE                                   2674 BECKETT DR                                                                                         LEBANON         OH    45036‐1103
HOBERT MIRACLE                                 HC62 BOX 485                                                                                            MIRACLE         KY    40856‐9704
HOBERT NMI SMITH                               11236 SUFTIN RD                                                                                         JEROME          MI    49249‐9782
HOBERT PRICE JR                                4304 LORRAINE                                                                                           DALLAS          TX    75205‐3708
HOBERT R STEPHENS                              6420 MANNING RD                                                                                         MIAMISBURG      OH    45342‐1618
HOBERT S MEECE JR                              4212 LINDEN                                                                                             CINCINNATI      OH    45236‐2428
HOBERT W DECKER                                431 S RURAL                                                                                             INDIANAPOLIS    IN    46201‐4357
HOBERT W LOWRY                                 208 S MAIN                                                                                              WALTON          IN    46994
HOBERT WAGNER                                  202 CAMBRIDGE DR                                                                                        HAMILTON        OH    45013‐2206
HOBSON R HAMILTON JR                           992 EMMA AVE                                                                                            AKRON           OH    44302‐1114
HODAPP COHEN FAMILY LIMITED PARTNERSHIP LLLP   245 E RIVO ALTO DRIVE                                                                                   MIAMI BEACH     FL    33139

HOE T NGUYEN                                   15752 CLARENDON ST                                                                                      WESTMINSTER     CA    92683‐6937
HOGE OCONNOR                                   5492 BAILEY RD                                                                                          MOUNT SHERMAN   KY    42764‐8502

HOGEY A HOLTZ                                  2817 DUNMORE                                                                                            SAGINAW         MI    48603‐3212
HOI V NGUYEN                                   2270 SAN FRANANDO PL SE                                                                                 SMYRNA          GA    30080‐1440
HOIT F MILLER TR UA 10/06/93 HOIT F MILLER     3301 LAKE SHORE DRIVE                                                                                   MICHIGAN CITY   IN    46360‐1018
HOKE S THOMAS                                  PO BOX 2040                                                                                             COVINGTON       GA    30015‐2040
HOLBERT K GREGORY                              808 DUNCAN CT                                                                                           TROTWOOD        OH    45426‐2728
HOLDEN L BELL                                  555 S ABBE RD APT A4                                                                                    ELYRIA          OH    44035‐6325
HOLDEN TURNER JR & BARBARA J TURNER JT TEN     6713 W DUNBAR RD                                                                                        MONROE          MI    48161‐9036
HOLE‐IN‐ONE INVEST CLUB                        C/O JOHN T NEWMAN                      445 ELM ST                                                       DENVER          CO    80220‐5122
HOLGER KIMMES                                  GM EUROPE AG                           STELZENSTRASSE 4     CH‐8152 GLATTBRUGG (ZH)   SWITZERLAND
HOLGER KIMMES                                  SONNENRAIN 10                          CH‐8700              KUESNACH (ZH)SWITZ        SWEDEN
HOLLACE A STEFFEY & LARRY L STEFFEY JT TEN     3477 BROGAN RD                                                                                          STOCKBRIDGE     MI    49285‐9738
HOLLAND C CAPPER II                            3645 LAUREL DR                                                                                          DEEPHAVEN       MN    55391‐3228
HOLLI KOERNER                                  3581 BUENA VISTA DR                                                                                     SACRAMENTO      CA    95864‐2803
HOLLIE DEW                                     19309 HUNTINGTON                                                                                        DETROIT         MI    48219‐2729
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HOLLIE M STANLEY JR                               10719 ELLA LEE LANE                                                                            HOUSTON            TX    77042
HOLLIS A STRONG                                   504 WARREN ST                                                                                  FAYETTEVILLE       NY    13066‐2140
HOLLIS BARTLEY                                    574 ROCKHOUSE CREEK RD                                                                         ELKHORN CITY       KY    41522‐7900
HOLLIS C TOWNSEND                                 211 S MERCER ST                                                                                NEW WILMINGTON     PA    16142‐1215

HOLLIS D HADEN                                    86 HINES RD                                                                                    LAUREL             MS    39443‐4929
HOLLIS D THOMAS                                   1047 PINE MOUNTAIN WAY                                                                         INDIANAPOLIS       IN    46229‐9545
HOLLIS E DEXTER                                   8156 NEW LOTHROP ROAD                                                                          NEW LOTHROP        MI    48460‐9701
HOLLIS E VAN STEENBURG                            4526 SW DAEMON ST                                                                              PORT SAINT LUCIE   FL    34953‐6577
HOLLIS F CHURCH III                               31 WHEELER LANE                                                                                TORRINGTON         CT    06790‐3835
HOLLIS G HAMES                                    91 ELMORE RD                                                                                   ROCHESTER          NY    14618‐2340
HOLLIS J GORTON                                   5092 E LAKE RD                                                                                 LIVONIA            NY    14487‐9220
HOLLIS JAMES MARTIN                               6423 HARVARD                                                                                   RAYTOWN            MO    64133‐5421
HOLLIS L HINKLE JR                                655 HACKETT STREET                                                                             SALISBURY          NC    28144‐7769
HOLLIS M VINSON JR                                1205 HASTY RD                                                                                  CAMDEN             SC    29020
HOLLIS MCCABE JR                                  PO BOX 6924                                                                                    SAGINAW            MI    48608‐6924
HOLLIS PARKS SR                                   2105 MARK TWAIN DR                                                                             ANTIOCH            CA    94509‐8304
HOLLIS R BARKER                                   840 S BRIDGE ST                       APT 5                                                    DEWITT             MI    48820‐8803
HOLLIS R STACEY                                   705 MORNINGSTAR DRIVE                                                                          ELLWOOD CITY       PA    16117
HOLLIS W HART                                     95 MILTON RD                                                                                   RYE                NY    10580‐3854
HOLLIS WILMOTH                                    1563 LAURA ST                                                                                  CLEARWATER         FL    33755‐6045
HOLLISTINE C HOLSTON                              3776 N RIVER RD                                                                                FREELAND           MI    48623‐8839
HOLLY A BEESON & RICHARD A BEESON III TEN COM     1722 SAN LORENZO AVE                                                                           BERKELEY           CA    94707‐1825

HOLLY A EARLS                                     11514 CREEKSIDE CT                                                                             STERLING HTS       MI    48312‐2022
HOLLY A GULBRANSON                                3740 LAKE SEMINOLE DR                                                                          BUFORD             GA    30519‐3707
HOLLY A HART                                      47 BREECE DR                                                                                   YARDLEY            PA    19067‐1512
HOLLY A JACKSON                                   3121 GREENRIDGE DR                                                                             LANCASTER          PA    17601‐1370
HOLLY A KWOLEK                                    7098 LONDON COURT                                                                              CANTON             MI    48187‐3052
HOLLY A MARQUARDT                                 320 S BROWN AVE                                                                                PESHTIGO           WI    54157‐1523
HOLLY A PARIS                                     6934 GREEN VALLEY DR                                                                           RAPID CITY         SD    57703‐9652
HOLLY A PARKHURST                                 C/O HOLLY P MALONEY                   76 STARDUST DR                                           NEWARK             DE    19702‐4771
HOLLY A SEERLEY                                   87 ELM AVE                                                                                     MILL VALLEY        CA    94941‐1350
HOLLY ANN DOUGLASS                                804 SOUTH LINCOLN AVENUE                                                                       POLO               IL    61064‐1866
HOLLY ANNE CHEATHAM & JORDAN CHEATHAM JT TEN      2601 LUZERNE CIRCLE                                                                            VIRIGNIA BEACH     VA    23456‐3646

HOLLY BLANCHARD                                   3716 MANOR RD                         APT 2                                                    CHEVY CHASE        MD    20815‐5709
HOLLY C NUTT                                      544 GLENDALE AVE                                                                               GLEN ELLYN         IL    60137‐4928
HOLLY CONOVER‐WADE TR HOLLY CONOVER‐WADE          P O BOX 454                                                                                    PLACIDA            FL    33946
REVOCABLE TRUST UA 01/08/97
HOLLY D MILLAR                                    1740 BROADWAY 701                                                                              SF                 CA    94109‐2414
HOLLY DEE LEBLANC                                 10 ALEWIVE FARM RD                                                                             KENNEBUNK          ME    04043‐6033
HOLLY DOYLE CUST WILLIAM R DOYLE UTMA WA          9217 CLAYBROOK RD                                                                              SEDRO WOOLLEY      WA    98284‐1308
HOLLY E AUSTIN & RICHARD L AUSTIN JT TEN          2401 BRIAR CREEK                                                                               BURTON             MI    48509‐1396
HOLLY E BURNS                                     1319 N WABASH AVE                                                                              MARION             IN    46952‐1805
HOLLY E MOEHLMANN                                 #203 E                                4201 CATHEDRAL AVE NW                                    WASHINGTON         DC    20016‐4990
HOLLY E NELSON                                    27W254 JEFFERSON CT                                                                            WINFIELD           IL    60190‐1626
HOLLY ELIZABETH MOMBERGER                         PO BOX #1                                                                                      BOSTON             NY    14025‐0001
HOLLY ERICKSON                                    900 PLAZA                             APT 116                                                  ATLANTIC BCH       FL    32233‐3825
HOLLY G GERSHON                                   1489 W PALMETTO PARK                  SUITE 425                                                BOCA RATON         FL    33486‐3327
HOLLY G SCHEPKE                                   1549 CEDAR KNOLL LN                                                                            CARO               MI    48723‐9528
HOLLY G SCHNIZER                                  7301 PEPPER LANE                                                                               CLIFTON            VA    20124‐1934
HOLLY GRETCHEN TEED                               2 LEARY RD                                                                                     ENFIELD            CT    06082‐4810
HOLLY HARDECKER                                   1928 SANDUSKY ST                                                                               SANDUSKY           OH    44870‐3055
HOLLY HUMPHREY                                    20545 ST RT 247                                                                                SEAMAN             OH    45693
HOLLY I TIFTICKJIAN                               308 RUSKIN RD                                                                                  BUFFALO            NY    14226‐4262
HOLLY ISABEL BURGUIERES DE KELLEY                 10 E 68TH ST APT 1B                                                                            NEW YORK           NY    10065
HOLLY J BROWNING & CARL L BROWNING JR JT TEN      8238 ARDENNESS DR                                                                              SACRAMENTO         CA    95829‐6502
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HOLLY J CHASE & CHRISTOPHER J CHASE JT TEN        PO BOX 448                            148 UNIVERSITY DR                                        MONT ALTO       PA    17237
HOLLY J CHILSON CUST HAILEY J CHILSON UTMA WI     16700 COUNTY HWY UN                                                                            CHIPPEWA FLS    WI    54729

HOLLY J CHILSON CUST MAGGIE C CHILSON UTMA WI     16700 COUNTY HWY UN                                                                            CHIPPEWA FLS    WI    54729

HOLLY J ELFELT                                    RURAL ROUTE #1 BOX 101                                                                         SUTHERLAND      NE    69165‐9739
HOLLY J LAMB                                      1300 S PURDUM                                                                                  KOKOMO          IN    46902‐1763
HOLLY J NOEL                                      5430 SUMMIT BRIDGE RD                                                                          TOWNSEND        DE    19734‐9605
HOLLY JEAN PANAGACOS                              2414 SAILFISH COVE DR                                                                          WEST PALM BCH   FL    33411‐1820
HOLLY JEAN WILSON                                 2438 OWEN DR                                                                                   WILMINGTON      DE    19808‐4249
HOLLY K BUSH                                      ATTN HOLLY K ULMANIS                  RT 2 BOX 2020                                            KOSHKONONG      MO    65692‐9518
HOLLY K ELWELL                                    5565 LAKEWOOD TRL                                                                              CANANDAIGUA     NY    14424‐9108
HOLLY KALLICK                                     921 WOODBINE LN                                                                                NORTHBROOK      IL    60062‐3440
HOLLY KAY SMITH                                   16 TWOMBLY COURT                                                                               MORRISTOWN      NJ    07960‐5502
HOLLY KING                                        111 PARDO ROAD                                                                                 LANDRUM         SC    29356‐3434
HOLLY KROPINACK                                   1541 CHATHAM DRIVE                                                                             TOMS RIVER      NJ    08753‐5823
HOLLY L CARACCIOLO PER REP EST JOSEPH M           9108 SOUTHERN BREEZE DR                                                                        ORLANDO         FL    32836
CARACCIOLO
HOLLY L HUDSON                                    2980 MARSHFIELD CT                                                                             ELGIN           IL    60123‐8058
HOLLY L MCCALLUM                                  753 PASCOE CRT                        OSHAWA ON                              L1K 1T4 CANADA
HOLLY L PRESSON                                   642 S EAST AV                                                                                  OAK PARK        IL    60304‐1324
HOLLY LALICKER                                    952 CARLIN DR                                                                                  SOUTHHAMPTON    PA    18966‐3902
HOLLY M HARRIGAN                                  21039 EMERSON CT                                                                               STERLING        VA    20164‐2435
HOLLY M HOELLER                                   14224 CANTRELL RD                                                                              SILVER SPRING   MD    20905‐4422
HOLLY M MURRAY                                    836 15TH AVE                                                                                   LONGMONT        CO    80501‐2714
HOLLY M NAUYOKS                                   10733 HEMPLE RD                                                                                FARMERSVILLE    OH    45325‐9214
HOLLY M SHUMAN                                    PO BOX #52                                                                                     BAYSHORE        MI    49711‐0052
HOLLY M SOMMER                                    ATTN HOLLY M CUSATIS                  7454 MARSACK DR                                          SWARTZ CREEK    MI    48473
HOLLY MARIE BEDNAR                                1484 S TAYLOR                                                                                  CLEVELAND       OH    44118‐1309
                                                                                                                                                 HEIGHTS
HOLLY MCGEE                                       1711 TELLURIDE LN                                                                              COLUMBIA        MO    65201‐7349
HOLLY MCKNIGHT                                    6791 WOODLAND DRIVE                                                                            HAMBURG         NY    14075‐6522
HOLLY NEUMANN CUST KYLE H NEUMANN UTMA CT         70 JACKSON ST                                                                                  RIDGEFIELD      CT    06877‐4430

HOLLY R HACKBARTH                                 198 BURGUNDY HILL LN                                                                           MIDDLETOWN      CT    06457‐6358
HOLLY S FURLO                                     2011 BROCKWAY ST                                                                               SAGINAW         MI    48602‐2717
HOLLY S WICK                                      7832 ISLETON AVE S                                                                             COTTAGE GROVE   MN    55016‐2159
HOLLY SHAPIRO CUST JODI SHAPIRO UGMA NY           1203 E BROADWAY                                                                                HEWLETT         NY    11557‐2426
HOLLY SHAPIRO CUST JODI SHAPIRO UGMA NY           1203 EAST BROADWAY                                                                             HEWLETT         NY    11557‐2426
HOLLY SMITH                                       745 WARWICK AVE                                                                                THOUSAND OAKS   CA    91360‐3719
HOLLY W HEBLE                                     1839 COUNTY ROAD 851                                                                           BRAZORIA        TX    77422‐7004
HOLLY W STOREY CUST MARION E STOREY UTMA OH       PO BOX 844                                                                                     CANFIELD        OH    44406‐0844

HOLLY WHEELER                                     17415 JUG STREET                                                                               BURTON          OH    44021‐9664
HOLLY WILPER                                      2405 HIGH MEADOW LANE                                                                          CHAMPAIGN       IL    61822‐7667
HOLLYE FRANCES HAMMOND                            P O BOX 1733                                                                                   CORSICANA       TX    75151‐1733
HOLMAN OLSON                                      94 SALME DR                           WINNIPEG MB                            R2M 1Y7 CANADA
HOLMAN T WHITE                                    114 CARROLL DR                                                                                 ANNAPOLIS       MD    21403‐3808
HOLMES S SMITH                                    9111 GRANT AVE                                                                                 MANASSAS        VA    20110‐5032
HOLSEY WOODSON                                    19698 PACKARD                                                                                  DETROIT         MI    48234‐3165
HOLSEY WOODSON & DORIS WOODSON JT TEN             19698 PACKARD                                                                                  DETROIT         MI    48234‐3165
HOLTON C GIBSON                                   58 RAY ST                                                                                      TRENTON         NJ    08638‐2347
HOLTON SMITH                                      80 BATON ROUGE RD                                                                              WILLIAMSTOWN    KY    41097‐8942
HOLY ANGELS CHURCH                                915 MAIN ST S                                                                                  SOUTH MERIDEN   CT    06451‐4999
HOLY CROSS HIGH SCHOOL                            12911 39TH AVE SE                                                                              EVERETT         WA    98208‐6159
HOLY GHOST CHURCH                                 801 ADDISON ST                                                                                 FLINT           MI    48505‐3912
HOLY GHOST UNITED CHURCH OF CHRIST OF             2806 WELLMUENSTER RD                                                                           LENZBURG        IL    62255‐1201
DARMSTADT
HOLY TRANSFIGUATION ORTHODOX CHRUCH               36075 7 MILE ROAD                                                                              LIVONIA         MI    48152‐1124
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HOLY TRINITY OLD BELIEVERS RUSSIAN ORTHODOX     2315 CARPENTER                                                                                  DETROIT          MI    48212‐2679
CHURCH
HOLYMONASTER OF ST SAVAS                        KALYMNOS                                                                      85200 GREECE
HOLYOKE DAY NURSERY INC                         159 CHESTNUT ST                                                                                 HOLYOKE          MA    01040‐4456
HOMAYOUN ESFANDIARY                             4401 SEDGWICK ST N W                                                                            WASHINGTON       DC    20016‐2713
HOMER A BORING                                  101 COMELLIA DR                                                                                 BEECH ISLAND     SC    29841‐9525
HOMER A BRYANT                                  RTE 1 P O BOX 561                                                                               HARTS            WV    25524‐9623
HOMER A GARRISON                                26561 N 1210 EAST RD                                                                            DANVILLE         IL    61834‐5633
HOMER A MCLAMB                                  3451 SHENANDOAH PLACE                                                                           MILTON           FL    32583
HOMER A SEAMANDS                                709 E 120 STREET                                                                                KANSAS CITY      MO    64146‐1125
HOMER A SMITH                                   2900 DOMINIQUE DR                                                                               GALVESTON        TX    77551‐1571
HOMER A WILSON JR                               RR 1 BOX 483                                                                                    FLEMINGTON       MO    65650‐9632
HOMER B HUDSON                                  5856 DEERFIELD TRL                                                                              COLLEGE PARK     GA    30349‐3762
HOMER BEAVER                                    C/O BETTY BEAVER PAYNE                 135 MERIDTH DR                                           TURTLETOWN       TN    37391‐4005
HOMER BLUE                                      2124 ADELAIDE                                                                                   ST LOUIS         MO    63107‐1018
HOMER C BURNETT                                 C/O BERNICE BURNETT                    7326 CLARK ST                                            KANSAS CITY      KS    66111‐2837
HOMER C FREEMAN & PAULINE B FREEMAN JT TEN      7344 COUNTY LINE RD                                                                             LITHIA SPRINGS   GA    30122‐2110

HOMER C HARPER                                  2372 RT #132                                                                                    CLARKSVILLE      OH    45113‐9628
HOMER C LEMONS & PEARL WRIGHT JT TEN            BOX 3                                                                                           MANNING          OR    97125
HOMER C MCPHERSON                               3587 HORAN ROAD                                                                                 MEDINA           NY    14103‐9458
HOMER C PEARSON                                 117 CHEROKEE HILL DR                                                                            PICKENS          SC    29671‐8617
HOMER C WRIGHT                                  1232 CR 421                                                                                     JEWETT           TX    75846‐3320
HOMER COUCH                                     7642 PONDLICK ROAD                                                                              SEAMAN           OH    45679‐9798
HOMER D EDNER                                   PO BOX 1046                                                                                     DU BOIS          PA    15801‐1046
HOMER D HIGGINS                                 9729 GLADSTONE RD                                                                               NORTH JACKSON    OH    44451‐9608
HOMER D MC MURRAY JR                            15 STEVENS ST                          APT 411                                                  ANDOVER          MA    01810‐3590
HOMER D MCKALIP & KAROLE MCKALIP JT TEN         6009 DENTON CT                                                                                  SPRINGFIELD      VA    22152‐1208
HOMER D SLIEF & ELIZABETH A SLIEF JT TEN        2412 WILDWOOD AVE                                                                               PONCA CITY       OK    74604‐4144
HOMER D STRAMPE & HARRIET STRAMPE TEN COM       13907 CENTER DR                                                                                 SPIRIT LAKE      IA    51360‐7126

HOMER D VANKIRK                                 4141 HILL DR                                                                                    LAMBERTVILLE     MI    48144‐9406
HOMER E BENNETT II                              430 PINE ST                                                                                     CORUNNA          MI    48817‐1033
HOMER E DILLS                                   341 RAYMOND ST                                                                                  WARREN           OH    44483‐1155
HOMER E HENSCHEN                                624 BELVEDERE ST                                                                                CARLISLE         PA    17013‐3507
HOMER E SUMMY                                   377 PLEASANT DR                                                                                 ALIQUIPPA        PA    15001‐1322
HOMER E WILLIAMS JR & MARY ANNA WILLIAMS JT TEN 4204 MILLWOOD RD                                                                                GREENSBORO       AL    36744‐5911

HOMER E WILLIAMS MD INC PENSION PLAN DTD 8/1/72 500 E MAIN ST                          STE 310                                                  COLUMBUS         OH    43215‐5470

HOMER F CONNER                                  112 11TH AVE                                                                                    CHICKASAW        AL    36611‐2715
HOMER F MARTIN                                  RR 1 BOX 192A                                                                                   MIDDLEBOURNE     WV    26149‐9801
HOMER F WILHELM                                 4142 N ELMS RD                                                                                  FLUSHING         MI    48433‐1832
HOMER F WILHELM & BONNIE L WILHELM JT TEN       4142 N ELMS RD                                                                                  FLUSHING         MI    48433‐1832
HOMER FIELDS                                    3551 TYLERSVILLE RD                    APT 39                                                   HAMILTON         OH    45011‐8051
HOMER G BROOKS                                  1003 S ROYS AVE                                                                                 COLUMBUS         OH    43204‐2335
HOMER G DORRIS                                  4401 TRUMBULL                                                                                   FLINT            MI    48504‐3757
HOMER G HARDY                                   1255 PICKWICK PL                                                                                FLINT            MI    48507‐3776
HOMER GLISSON                                   7493 MOUNT ZION BLVD                   APT 55B                                                  JONESBORO        GA    30236‐4805
HOMER H HAMLIN JR                               PO BOX 1216                                                                                     CONWAY           NH    03818‐1216
HOMER H HULME III                               PO BOX 113                                                                                      POCASSET         OK    73079
HOMER H PETTIT                                  23 CLOVER GREEN CT                                                                              FISHERSVILLE     VA    22939‐2337
HOMER H QUINN JR & MRS CATHERINE M QUINN JT TEN 504 STAFFORD AVE                                                                                SYRACUSE         NY    13206‐3317

HOMER H SHIRKEY                                 5688 CAMPBELL                                                                                   DEARBORN         MI    48125‐2757
HOMER HARVEY                                    5600 US HIGHWAY 117 N                                                                           BURGAW           NC    28425‐3725
HOMER J BALL JR                                 9674 LA JOLLA DR                                                                                SAINT LOUIS      MO    63132‐2027
HOMER J BARR                                    4025 E BLANCHE DRIVE                                                                            PHOENIX          AZ    85032‐4708
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HOMER J CUSTEAD JR & EDWARD F MCDANIEL JT TEN     1181 OVERDALE RD                                                                              ST AUGUSTINE     FL    32080‐2302

HOMER J HOSEY                                     5424 ROOT RD                                                                                  SPENCER          OH    44275‐9712
HOMER J JOHNSON                                   RR 2                                                                                          LEETON           MO    64761‐9802
HOMER J WALKER                                    202 LOBLOLLY CT                                                                               PEACHTREE CITY   GA    30269‐2029
HOMER J WITHROW                                   2201 NOCCALULA RD                                                                             GADSDEN          AL    35904‐3320
HOMER JOHNSON                                     17391 ROXBURY AVE                                                                             SOUTHFIELD       MI    48075‐7610
HOMER JONES JR                                    111 CACTUS LN                                                                                 FORT WORTH       TX    76108‐9288
HOMER KELLEY JR                                   7524 EDGEMONT RD                                                                              CINCINNATI       OH    45237‐2606
HOMER L BULLOCK                                   2726 STARCREST LANE                                                                           FARMERS BRANC    TX    75234‐2054
HOMER L BURGESS                                   914 MINCEY ST                                                                                 METTER           GA    30439‐3200
HOMER L COLVIN JR & CHARLOTTE L COLVIN JT TEN     726 ADDISON ST                                                                                BERKELEY         CA    94710‐1930

HOMER L DAVIS JR                                  1835 MOSSWOOD                                                                                 KINGSLAND        TX    78639‐5954
HOMER L FAITH                                     1103 NORTH CAMALOT DR                                                                         PAYSON           AZ    85541
HOMER L GRAY                                      10107 BIRD RIVER RD                                                                           BALTIMORE        MD    21220‐1527
HOMER L GULLETT                                   332 S JENISON AV                                                                              LANSING          MI    48915‐1130
HOMER L HEWETT SR                                 106 RHOMBOID PL                                                                               BELVEDERE        SC    29841‐2632
HOMER L JOHNSON JR                                158 MIXON‐MATTHEWS LANE                                                                       ABBEVILLE        GA    31001
HOMER L KEENE                                     1133 ROSS AVE                                                                                 HAMILTON         OH    45013‐2542
HOMER L MOTON                                     1427 E 123RD ST                                                                               CLEVELAND        OH    44106‐1457
HOMER L NIXON JR & VIRGINIA L NIXON JT TEN        450 BEECHWOOD AVE                                                                             CARNEGIE         PA    15106‐2633
HOMER L SPRADLIN                                  112 GOLDEN TREE LN                                                                            INDIANAPOLIS     IN    46227‐2551
HOMER L VANHOOK JR                                10418 N SR 75                                                                                 JAMESTOWN        IN    46147
HOMER L WEAVER                                    1320 ROARING FORK RD                                                                          CRESTON          NC    28615‐8973
HOMER L WITT                                      33 REBA DR APT G                                                                              WILMINGTON       OH    45177‐2980
HOMER LEE WALKER & GLENDA G WALKER JT TEN         1103 AMELIA                                                                                   ROYAL OAK        MI    48073‐2760
HOMER LUTHER FLEISHER III                         54 SOUTHSHOR LANE                                                                             CONWAY           AR    72032‐3331
HOMER M COBURN                                    10247 CRANE RD                                                                                MILAN            MI    48160‐8812
HOMER M SWINEFORD & DORIS J SWINEFORD JT TEN      85 INDIANA AVE                                                                                VERMILION        OH    44089‐2801

HOMER NELSON                                      1 SAVANNAH COURT                                                                              SAINT PETERS     MO    63376
HOMER O BOLTON                                    303 RUGBY AVE                                                                                 JAMESTOWN        TN    38556‐3844
HOMER O GAINER                                    2815 W 11TH                                                                                   IRVING           TX    75060‐3513
HOMER P HAMMOND                                   PO BOX 2                                                                                      OTTER LAKE       MI    48464‐0002
HOMER P HARSHBERGER JR                            7945 KEENE RD                                                                                 DERBY            NY    14047‐9100
HOMER P KNORR                                     1235 BLACK OAK DR                                                                             DAYTON           OH    45459‐5408
HOMER PAUL & CORAL PAUL JT TEN                    5129 RIVER RD                                                                                 ELLENWOOD        GA    30294‐1528
HOMER PERKINS                                     1836 E LINDSEY AVE                                                                            MIAMISBURG       OH    45342‐2645
HOMER R AGEE                                      214 GATEWOOD DR                                                                               AIKEN            SC    29801‐5152
HOMER R CASTLE                                    5144 CRAWFORD RD                                                                              BROOKVILLE       OH    45309‐9751
HOMER R HAMRICK                                   2239 ROSEMAR RD                                                                               TOLEDO           OH    43611‐1014
HOMER R MCDONALD                                  370 LOCUST LN                                                                                 KNIGHTSTOWN      IN    46148‐1031
HOMER R STEWART JR                                6860 HOOVER AVE                                                                               TROTWOOD         OH    45427‐1507
HOMER REED THOMPSON                               125 HALDANE ST                                                                                PITTSBURGH       PA    15205‐2912
HOMER RICE                                        8262 WELLS CROSSING                                                                           WEST CHESTER     OH    45069‐2874
HOMER RICHARD FORTNEY                             504 IVY HILL                                                                                  HARLAN           KY    40831‐1533
HOMER SMITH                                       46 ORCHARD                                                                                    RIVER ROUGE      MI    48218‐1567
HOMER STOKES JR                                   11 BELLMONTE AVE                                                                              MIDDLETOWN       OH    45042‐3538
HOMER T FULLEN                                    73 WYNDEMERE DR                                                                               FRANKLIN         OH    45005‐2466
HOMER U MONTGOMERY TR EMOGENE T                   2822 LEE RD                                                                                   CUYAHOGA FALLS   OH    44224‐3716
MONTGOMERY TRUST UA 11/22/95
HOMER V BOYCE                                     752 CHAPEL HILL RD                                                                            INDIANAPOLIS     IN    46214‐3741
HOMER V LAWWELL                                   27919 SHOCK                                                                                   ST CLAIR SHRS    MI    48081‐3539
HOMER W BOWMAN                                    3871 BORDEAUX DR                                                                              PUNTA GORDA      FL    33950‐7911
HOMER W JONES                                     PO BOX 818                                                                                    GLADSTONE        OR    97027‐0818
HOMER W LANGFORD                                  2357 FEDERAL RD                                                                               XENIA            OH    45385‐7814
HOMER W MILLER                                    330 WOODRUFF LK RD                                                                            HIGHLAND         MI    48357‐3565
HOMER W SCOTT                                     12 HUCKLEBERRY LANE                                                                           WEST HARTFORD    CT    06110‐2130
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HOMER W SEXTON                                   3114 COURTFIELD DR                                                                           ROCHESTER HLS    MI    48309‐4803
HOMER W VENARD                                   2124 ROSEMONT BOULEVARD                                                                      DAYTON           OH    45420‐2535
HOMER WHITE                                      1293 GILMORE LN                                                                              LOUISVILLE       KY    40213‐2368
HOMER WULBRECHT                                  33556 MELDRUM STREET                                                                         NEW BALTIMORE    MI    48047
HOMERO ORTIZ                                     4610 SCHANEN BLVD                                                                            CORPUS CHRISTI   TX    78413‐3521
HOMERO R VILLARREAL                              1507 JULIA AVENUE                                                                            FLINT            MI    48505‐1133
HOMERO SALINAS                                   3249 S AVERS                                                                                 CHICAGO          IL    60623‐4908
HOMERO TAMEZ                                     274 W COLUMBIA                                                                               PONTIAC          MI    48340‐1710
HONEYA PEREZ                                     PO BOX 3615                                                                                  ANAHEIM          CA    92803‐3615
HONG T HAHN & HOON P HAHN JT TEN                 1514 S MONTE VIENTO ST                                                                       MALIBU           CA    90265‐3062
HONG T VU                                        47907 HICKORY ST 30201                                                                       WIXOM            MI    48393‐2724
HONG Y KIM CUST HYUNJUNG S KIM UGMA CA           23460 GLENRIDGE DRIVE                                                                        NEWHALL          CA    91321‐3955
HONG ZHANG                                       1819 LEXINGTON DR                                                                            TROY             MI    48084‐5714
HONG‐SEN YAN                                     15965 GREENWOOD RD                                                                           MONTE SERENO     CA    95030‐3016
HONORAH M NASH                                   #5                                  22331 HARBOR RIDGE                                       TORRANCE         CA    90502‐2432
HONORIO V SANPEDRO                               26785 PETERMAN AVE                                                                           HAYWARD          CA    94545‐3501
HOOSHANG BEHROOZI                                APT 5‐C                             3 PETER COOPER ROAD                                      NEW YORK         NY    10010‐6618
HOOSHANG BONHEUR CUST CRAIG M BONHEUR UGMA 104‐60 QUEENS BLVD #1V                                                                             FOREST HILLS     NY    11375‐7349
NY
HOOSIER HILLS CREDIT UNION CUST HAROLD PREMO JR 158 PLEASANT VIEW DR                                                                          MITCHELL         IN    47446
IRA
HOOVER LOUIE & RUBY L LOUIE JT TEN               APT 18                              636 ALPINE                                               LA               CA    90012‐2261
HOOVER SHIPMAN                                   3325 WESTBROOK ST                                                                            SAGINAW          MI    48601‐6986
HOOVER W HAWTHORNE                               924 73RD AVE                                                                                 OAKLAND          CA    94621‐2908
HOPCROFT FUNERAL HOME                            23919 JOHN R ROAD                                                                            HAZEL PARK       MI    48030‐1416
HOPE A ARVANITIS                                 375 MOUNT AIRY HARBOURTON RD                                                                 LAMBERTVILLE     NJ    08530‐3208
HOPE A DEARBORN                                  6107 CAROL WOODS                    750 WEAVER DAIRY ROAD                                    CHAPEL HILL      NC    27514
HOPE A MORRIS & JEFFERY E MORRIS JT TEN          603 DARTMOUTH                                                                                DEWITT           MI    48820‐9505
HOPE A RYAN                                      5 LANPHIER RD                                                                                BRANFORD         CT    06405‐4514
HOPE BORING                                      5753 FIRWOOD PL                                                                              COLUMBUS         OH    43229‐3406
HOPE C GIAMBOY                                   1501 PAINTERS XING                                                                           CHADDS FORD      PA    19317‐9652
HOPE DE NEEN & GRIFFIS DE NEEN JT TEN            PO BOX 4897                                                                                  SEVIERVILLE      TN    37864‐4897
HOPE E LAITALA CUST BROOKE ELLYN LAITALA UGMA MI 7905 SOUTH DUNE HIGHWAY                                                                      EMPIRE           MI    49630‐9705

HOPE G BUTLER TOD GAYLA BUTLER                6075 STEEPLECHASE DR                                                                            GRAND BLANC      MI    48439‐8669
HOPE J GUZMAN CUST ALEXANDER R GUZMAN UTMA FL 11815 CYPRESSWOOD DR                                                                            HOUSTON          TX    77070‐2710

HOPE J GUZMAN CUST GERALD A GUZMAN UTMA FL     11815 CYPRESSWOOD DR                                                                           HOUSTON          TX    77070‐2710

HOPE KOBAYASHI                                 C/O HERBERT KOBAYASHI                 1428 FM 520                                              WEBSTER          TX    77598
HOPE L BROOKS & MARCIA B MCGINNIS JT TEN       590 VILLAGE PLACE APT 320                                                                      LONGWOOD         FL    32779‐6040
HOPE L BROOKS & RALPH M BROOKS JT TEN          590 VILLAGE PALCE APT 320                                                                      LONGWOOD         FL    32779‐6040
HOPE L GRAHAM                                  4265 PLEASANT VALLEY LN                                                                        CANFIELD         OH    44406‐9317
HOPE L TEETS                                   3086 N BIRCH ST                                                                                WHITEHALL        PA    18052‐3434
HOPE LEWIS                                     50 EDGEWOOD DR                                                                                 ORANGEBURG       NY    10962‐1610
HOPE M URBANIK                                 G‐9195 N DORT HWY                                                                              MT MORRIS        MI    48458
HOPE RACHEL FELDMAN                            605 GETTYSBURG ST                                                                              PITTSBURGH       PA    15206‐4549
HOPE S EWEST                                   16118 W WHITTON AVE                                                                            GOODYEAR         AZ    85395
HOPE S LAMBERT                                 116 TULIP DR                                                                                   GAITHERSBURG     MD    20877‐2029
HOPE UNITED PRESBYTERIAN CHURCH                15340 MEYERS RD                                                                                DETROIT          MI    48227‐4047
HOPE W SAUTER                                  1248 EASTRIDGE CIR                                                                             SANDY            UT    84094‐5711
HOPE W VATH                                    1 GOLD ST                             APT 3E                                                   HARTFORD         CT    06103‐2906
HOPE WILLIAMS                                  890 VILLAGE GREEN LN                  APT 3027                                                 WATERFORD        MI    48328‐2451
HORACE A ALCORN                                29994 RED OAK LN                                                                               WRIGHT CITY      MO    63390‐2839
HORACE A DEANE JR                              55 E BAY ST                                                                                    CHARLESTON       SC    29401‐2546
HORACE A DEANE JR CUST DAVID ANDREW DEANE      2969 ROSALIND AVE SW                                                                           ROANOKE          VA    24014‐3219
UGMA MI
HORACE A HOPKINS                               31443 BARTON                                                                                   GARDEN CITY      MI    48135‐1360
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HORACE A LEWIS                                  1114 CLEVELAND HEIGHTS BLVD                                                                   CLEVELAND        OH    44121‐1822
                                                                                                                                              HEIGHTS
HORACE A LEYDEN JR                              211 WOODVALLEY RD                                                                             ANNISTON         AL    36207‐6415
HORACE A WAHL JR & MRS JANICE M WAHL JT TEN     3801 VALLEYBROOK DR                                                                           WILM             DE    19808‐1344

HORACE A WAINSCOTT                              610 E 29TH ST                                                                                 ANDERSON         IN    46016‐5408
HORACE B ANDERSON                               1401 RUNNYMEDE RD                                                                             PAYTON           OH    45419‐2925
HORACE B HEDDEN                                 10553 WESTBROOK ROAD                                                                          BROOKVILLE       OH    45309‐9246
HORACE BAILEY JR                                PO BOX 4056                                                                                   LITTLE ROCK      AR    72214‐4056
HORACE BEVEL & ELAINE BEVEL JT TEN              1378 KENDALL RD                                                                               YATESVILLE       GA    31097‐3547
HORACE BLACK                                    3252 ARLENE                                                                                   DAYTON           OH    45406‐1300
HORACE BONHAM                                   4303 WOODHAVEN                                                                                LANSING          MI    48917‐3532
HORACE C BYNES                                  5462 BROOKWOOD LANE                                                                           RICHMOND         CA    94803‐3883
HORACE C MILLER                                 933 WILDWOOD DR                                                                               MELBOURNE        FL    32940‐1504
HORACE C ROBINSON                               2630 KINGSBRIDGE TERRA                                                                        BRONX            NY    10463‐7503
HORACE C ROBINSON & BERNICE F ROBINSON JT TEN   C/O BEVERLY BROWN                    40 BUCH STREET                                           JERSEY CITY      NJ    07305

HORACE D ASHE                                   2017 STANLEY CHRISTIAN RD                                                                     MONROE           GA    30655
HORACE D BURGAMY JR                             44124 RICHMOND STREET                                                                         CANTON           MI    48187‐1920
HORACE D LEE                                    6685 JEWELL BENNETT ROAD                                                                      DAWSONVILLE      GA    30534‐4126
HORACE D TAYLOR                                 21 MAYFAIR LN                                                                                 LEWES            DE    19958‐4132
HORACE D THOMPSON                               18847 ANGLIN ST                                                                               DETROIT          MI    48234‐1405
HORACE D WITHROW                                7809 MATSON CT                                                                                CINCINNATI       OH    45236‐2339
HORACE DOBSON                                   24071 MARLOW ST                                                                               OAK PARK         MI    48237‐1973
HORACE DUANE SCOTT                              2130 EVERETT RD RT 2 BOX 36                                                                   ROSCOMMON        MI    48653‐8543
HORACE E ALPHIN                                 867 MOUNT JOY RD                                                                              BUCHANAN         VA    24066‐4088
HORACE E BLACKWELL                              10208 SHILOH DRIVE                                                                            FESTUS           MO    63028‐4718
HORACE E BROUSSARD                              805 HART STREET                                                                               ORANGE           TX    77630‐3942
HORACE E LANDRUM                                601 3RD ST                                                                                    JACKSON          SC    29831
HORACE E LEWIS                                  1114 CLEVELAND HEIGHTS BLVD                                                                   CLEVELAND        OH    44121‐1822
                                                                                                                                              HEIGHTS
HORACE E SHELTON                                  822 BRADHURST RD                                                                            BALTIMORE        MD    21212‐3938
HORACE E STONE SPECIAL FIDVCIARY OF THE ESTATE OF C/O STONE & RICHARDSON             2910 E JEFFERSON AVE                                     DETROIT          MI    48207‐4208
HOOVER C WOODS
HORACE G JONES                                    1337 DUNHAM ST SE                                                                           GRAND RAPIDS     MI    49506‐2631
HORACE G MCDONALD                                 116 CHAPEL PARK PLACE                                                                       ASHEVILLE        NC    28803‐1619
HORACE GIBSON 3RD                                 603 W 5TH STREET                                                                            PALMYRA          NJ    08065‐2406
HORACE H LANAN JR                                 12 MICHAEL CT                                                                               WILMINGTON       DE    19808‐1138
HORACE H WEATHERSBY JR                            5630 HOOKS RD                                                                               MILLEN           GA    30442‐4922
HORACE J CRAWFORD                                 63 HANSBURY AV                                                                              NEWARK           NJ    07112‐2204
HORACE J LIVELY                                   209 ROCKWOOD NW ST                                                                          PORT CHARLOTTE   FL    33952‐7931
HORACE JONES                                      230 RIDGECREST RD                                                                           DEWITT           NY    13214‐1540
HORACE L BRUMMETT                                 1050 DITTEMORE ROAD                                                                         BLOOMINGTON      IN    47404‐9413
HORACE L CAMP & ANN D CAMP JT TEN                 32953 DONNELLY                                                                              GARDEN CITY      MI    48135‐1141
HORACE L KENNEDY                                  6177 BEN CARTER RD NE                                                                       BAXLEY           GA    31513‐1675
HORACE L MCGEE                                    3227 SKANDER DR                                                                             FLINT            MI    48504‐1231
HORACE L PAINTER                                  212 JAMES RD                                                                                GAFFNEY          SC    29341‐4013
HORACE L ROBINSON                                 360 HERMITAGE TRAIL                                                                         ELLENBORO        NC    28040‐9652
HORACE L SPENCER JR                               1536 MUNN AVE                                                                               HILLSIDE         NJ    07205
HORACE L TRAMBLE                                  12793 LIMBERLOST DR                                                                         CARMEL           IN    46033‐9790
HORACE M FRANKLIN                                 4696 CLACK RD                                                                               AUBURN           GA    30011‐2232
HORACE M HOUSER                                   13031 SE 127TH PL                                                                           DUNNELLON        FL    34431‐8406
HORACE M HOVERMALE                                PO BOX #256                                                                                 CONVERSE         IN    46919‐0256
HORACE M STAGGS JR                                4422 SOUTHCREST ROAD                                                                        DALLAS           TX    75229‐6360
HORACE MACK JR                                    1430 AUSEON AVE                                                                             OAKLAND          CA    94621‐1524
HORACE MARTIN                                     15813 WARD                                                                                  DETROIT          MI    48227‐4060
HORACE MC DUFFIE                                  181 PALMDALE DR                    APT 1                                                    WILLIAMSVILLE    NY    14221‐4030
HORACE MCDUFFIE JR                                181 PALMDALE DR                    APT 1                                                    WILLIAMSVILLE    NY    14221‐4030
HORACE N PLOTT                                    278 FERGUSON ROAD                                                                           MURPHY           NC    28906‐3791
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HORACE N RITTER & LENNIE J RITTER JT TEN         1933 BAMBERG HWY                                                                                               HAMPTON         SC    29924‐5131
HORACE N THORNE                                  101 HYDE AVENUE                                                                                                ISELIN          NJ    08830‐2105
HORACE O MATTINGLEY                              203 S OHIO                                                                                                     ARCHIE          MO    64725‐9500
HORACE P BAYNE JR & SHARON G BAYNE JT TEN        PO BOX 319                                                                                                     CRESCENT        OR    97733‐0319
HORACE PORTER HAMBRICK                           209 QUAIL RUN DR                                                                                               GEORGETOWN      KY    40324‐1331
HORACE R HARRISON                                9620 RED BIRD LANE                                                                                             ALPHARETTA      GA    30022‐6336
HORACE R NUBY                                    1228 2ND ST                                                                                                    SANDUSKY        OH    44870‐3834
HORACE S MOORE                                   1934 MCPHAIL ST                                                                                                FLINT           MI    48503‐4328
HORACE SMITH JR                                  314 RIVERSIDE DR                                                                                               ORMOND BEACH    FL    32176‐8102
HORACE STROZIER                                  817 E ALMA                                                                                                     FLINT           MI    48505‐2225
HORACE TRUITT                                    2189 GLORY LN                         APT 120                                                                  YPSILANTI       MI    48197‐5046
HORACE V BROOKS                                  1128 MEADOW LANE                                                                                               ANDERSON        IN    46011‐2446
HORACE W MCGINNIS                                PMB 224                               4225 MILLER RD                                                           FLINT           MI    48507‐1257
HORACE W RUNKLE & MARIAN L RUNKLE JT TEN         C/O MRS. JOAN B REDFORD               1560 GRANADA AVE                                                         SAN MARINO      CA    91108‐2326
HORACE WATSON & MRS FRANCIS G WATSON JT TEN      400 PICKLE RD                                                                                                  SHELBYVILLE     TN    37160‐6503

HORACIO DEL CASTILLO P                           DAKOTA 71‐401                         COL NAPOLES                 MEXICO D F                 3810 MEXICO
HORACIO M RESENDEZ                               1009 IRVING ST                                                                                                 RIO GRND CITY   TX    78582‐5110
HORACIO O DELROSARIO MD & MARIA LUISA E          966 CABERNET DRIVE                                                                                             CHESTERFIELD    MO    63017‐8305
DELROSARIO JT TEN
HORACIO R MARCHETTI                              6765 STONEGATE DR                                                                                              TEMPERANCE      MI    48182‐2217
HORMOZ KERENDIAN                                 608 RAINTREE RD                                                                                                BUFFALO GROVE   IL    60089‐6658
HORNOR FINANCE CO                                BOX 550                                                                                                        HELENA          AR    72342‐0550
HORST BEISENKOETTER                              IM TEICH 6                            64569 NAUHEIM                                          GERMANY
HORST E KRAUSE                                   18756 THOMASINE RD                                                                                             CLINTON TWSP    MI    48036‐4050
HORST E SIMON                                    IM NEUROD 6                           D‐64569 NAUHEIM                                        GERMANY
HORST E SIMON                                    IM NEUROD 6                           64569 NAUHEIM                                          GERMANY
HORST H HAEUSEL                                  ORANIENSTRABE 94                      65812 BAD SODEN ( TAUNUS)                              GERMANY
HORST H HAEUSEL                                  ORANIENSTR 94                         65812 BAD SODEN                                        GERMANY
HORST HOLLWEDEL                                  BOETTCHEREI 27                        28844 WEYHE                                            GERMANY
HORST KNOBLING                                   AM GULDENPLAN 7                       D‐65203 WIESBADEN                                      GERMANY
HORST KRUEGER                                    13238 CHAMPAIGN                                                                                                WARREN          MI    48089‐4506
HORST MUNZER                                     GROSSGEWANN 36 B                      D 55129 MAINZ                                          GERMANY
HORST MUNZER                                     GROSSGEWANN 36B                       D 55129 MAINZ                                          GERMANY
HORST P ARNOLD                                   OPELKREISEL 1‐9                       WERK KAISERSLAUTERN                                    GERMANY
HORST R HOHENDORF & DORIS HOHENDORF JT TEN       909 FAIRWAY CT                                                                                                 PALATINE        IL    60067‐3467

HORST WITTMOSER                                  OBERER SCHUETZENRAIN 53               LEONBERG                                               D‐71229 GERMANY
HORST WRUCK                                      SONNENLEITE 35                        D 44892 BOCHUM                                         GERMANY
HORTENCIA A LOPEZ                                784 W MAPLE AVE APT B                                                                                          ADRIAN          MI    49221‐1664
HORTENCIA G MARTIN                               12333 WHITLEY ST                                                                                               WHITTIER        CA    90601‐2726
HORTENCIA G MARTIN TR MARTIN FAMILY TRUST UA     12333 WHITLEY ST                                                                                               WHITTIER        CA    90601‐2726
12/10/82
HORTENSE A SAVITTIERI                            13 KENT LN                                                                                                     EASTON          PA    18045‐2175
HORTENSE GOLDHAAR                                ATTN STAVISKY                         APT 2‐L                     162‐21 POWELLS COVE BLVD                     FLUSHING        NY    11357‐1424
HORTENSE MARKS                                   769 BARTHOLDI ST                                                                                               BRONX           NY    10467‐6207
HORTENSE PENNEY HUGHES                           PO BOX 2                              12199 MILL ST                                                            HENDERSON       NY    13650‐0002
HORTENSE SUSLAVICH                               60 LANES END                                                                                                   CONCORD         MA    01742‐1500
HORTENSIA CASTOR                                 401 OCEAN DRIVE #624                                                                                           MIAMI BEACH     FL    33139‐6631
HORTENSIA CASTOR & EVA VALVERDE JT TEN           C/O HORTENSIA CASTOR                  401 OCEAN DR APT 624                                                     MIAMI BEACH     FL    33139‐6631
HORTENSIA S PITTS                                517 SAN PEDRO DR                                                                                               CHESAPEAKE      VA    23322‐8023
HORTON M SOUTHALL & JEANETTE C SOUTHALL JT TEN   2306 OLD FARM RD                                                                                               LYNCHBURG       VA    24503‐5009

HOSEA BARNES                                     18 N LANSDOWN WAY                                                                                              ANDERSON        IN    46012‐3223
HOSEA BARNES & EULA M BARNES JT TEN              18 N LANSDOWN WAY                                                                                              ANDERSON        IN    46012‐3223
HOSEA BRYANT                                     19377 DEQUINDRE                                                                                                DETROIT         MI    48234‐1209
HOSEA HOBSON                                     128 DEWEY                                                                                                      FLINT           MI    48505
HOSEA J MUSE                                     PO BOX 2651                                                                                                    CATHEDRAL CTY   CA    92235‐2651
HOSEA L MOORE                                    17401 ANGLIN                                                                                                   DETROIT         MI    48212‐1003
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HOSEA LEE BROWN                                4941 REDBUD                                                                                  HOUSTON           TX    77033‐3619
HOSEA PETER BRISTER                            RTE 1 BOX 652                       500 MCLIN CIRCLE                                         FLORENCE          MS    39073‐7975
HOSEA ROBINSON                                 1823 63RD ST                                                                                 BERKELEY          CA    94703‐2706
HOSEY H HUNDLEY                                103 W DOGWOOD DR                                                                             FRANKLIN          NC    28734‐3256
HOSEY LIGE                                     12047 WHITCOMB ST                                                                            DETROIT           MI    48227‐2075
HOSIE A JEFFERSON                              1 MAYNARD CT                                                                                 PONTIAC           MI    48342‐2534
HOSIE CHAPPLE                                  5152 HARRY ST                                                                                FLINT             MI    48505‐1776
HOSIE L LEE                                    2236 CROYDEN PL                                                                              SAN LEANDRO       CA    94577‐6008
HOSIE L RUSSELL                                45 WHITFIELD ST                                                                              PONTIAC           MI    48342‐1473
HOSSE L LUMPKIN                                4899 N 65TH ST                                                                               MILWAUKEE         WI    53218‐4027
HOUNG Y CHANG                                  48408 RED RUN DR                                                                             CANTON            MI    48187‐5439
HOUSEN CLARK                                   1428 HARLOW DRIVE                                                                            PITTSBURGH        PA    15204‐1141
HOUSHANG AYAGH                                 4000 PEACHTREE CORNERS CIR                                                                   NORCROSS          GA    30092‐6201
HOUSTIN G SMITH                                1329 NE FOXWOOD DRIVE                                                                        LEES SUMMIT       MO    64086‐4007
HOUSTON F CALDWELL TR CALDWELL TRUST UA        16319 NEW BREMEN ROAD                                                                        SAINTE GENEVIE    MO    63670‐8730
12/06/91
HOUSTON H EDMONDS                              18811 SUNSET                                                                                 DETROIT           MI    48234‐2045
HOUSTON H EDMONDS & ELEANORA EDMONDS JT TEN    18811 SUNSET                                                                                 DETROIT           MI    48234‐2045

HOUSTON H SMITH                                1885 HUGUENOT TRAIL                                                                          POWHATAN          VA    23139‐4502
HOUSTON I HEMBREE                              3722 BOOTJACK RD                                                                             WILLIAMSBURG      OH    45176‐9719
HOUSTON JOHN BURFORD JR                        SUITE 238                           ARLINGTON HOTEL                                          HOT SPRINGS       AR    71901
HOUSTON JOW                                    14827 BELLFLORA CRT                                                                          HOUSTON           TX    77083
HOUSTON JOW & MRS ROSETTA JOW TEN COM          14827 BELLFLORA CT                                                                           HOUSTON           TX    77083‐6755
HOUSTON NATHANIEL                              829‐A 56ST                                                                                   OAKLAND           CA    94608‐3227
HOUSTON R MYERS                                28303 FRANKLIN RD                   APT A229                                                 SOUTHFIELD        MI    48034‐1642
HOUSTON SEABOURNE BRYSON                       360 LABORATORY RD                   APT 305                                                  OAK RIDGE         TN    37830‐6847
HOUSTON STAPLES                                PO BOX 29                                                                                    ROCKMART          GA    30153‐0029
HOUSTON THOMAS                                 637 ARTHUR                                                                                   PONTIAC           MI    48341‐2508
HOVANNES MINASIAN & MARY MINASIAN JT TEN       166 GROVE ST                                                                                 LEXINGTON         MA    02173
HOWARD A BELKNAP                               1324 S THENDARA RD                                                                           GRAYLING          MI    49738‐6778
HOWARD A BRAYTON                               3760 SHERIDAN RD                                                                             SHERIDAN          MI    48884‐9345
HOWARD A BROOKS                                1100 LIDDESALE                                                                               DETROIT           MI    48217‐1269
HOWARD A BUCK & MRS ANN M BUCK JT TEN          17108 GLADSTONE LN                                                                           EDMOND            OK    73003‐6870
HOWARD A CARPENTER                             BOX 943                                                                                      EASTHAM           MA    02642‐0943
HOWARD A COON                                  773 MAPLE DR                                                                                 COLUMBIAVILLE     MI    48421‐9722
HOWARD A CRAFT & RUTH CRAFT JT TEN             265 BONAR AVE                                                                                WAYNESBURG        PA    15370‐1605
HOWARD A FUSON                                 4171 TOWNSHIP ROAD 111                                                                       MOUNT GILEAD      OH    43338‐9783
HOWARD A GOODMAN                               15451 LAUDER                                                                                 DETROIT           MI    48227‐2628
HOWARD A HARRIS                                12411 SOUTH YALE                                                                             CHICAGO           IL    60628‐7211
HOWARD A KOPADT TR HOWARD A KOPADT REV INTER   1434 CRAIG RD                                                                                ST LOUIS          MO    63146‐4842
VIVOS TRUST UA 02/26/01
HOWARD A MADLEY                                278 SUNSET BLVD                                                                              GREENWOOD         IN    46142‐3916
HOWARD A MAGOWITZ CUST TYLER MAGOWITZ UNIF     3522 FOXHALL DR                                                                              DAVIDSONVILLE     MD    21035‐2319
TRANS MINA ACT MD
HOWARD A MAYO III                              9736 STAGPENN RD                                                                             CHESTERFIELD      VA    23832‐6448
HOWARD A MC ALLISTER                           89 FENNO ST                                                                                  QUINCY            MA    02170‐3904
HOWARD A METZLER                               49 CEDAR GROVE RD                                                                            SOMERVILLE        NJ    08876‐3654
HOWARD A PAPE                                  478 WOODLANDS RD                                                                             CHARLOTTESVLE     VA    22901‐5502
HOWARD A PARTCH & MRS SERENA K PARTCH JT TEN   730 BOUNTY DRIVE                                                                             ANCHORAGE         AK    99515‐3733

HOWARD A ROBINSON                              11 HUMBOLDT ST                                                                               CAMBRIDGE         MA    02140‐2804
HOWARD A ROSENBLATT                            177 TAMPA AVE                                                                                ALBANY            NY    12208‐1430
HOWARD A RUSSELL                               111 FAIRVIEW RD                                                                              LELAND            NC    28451‐8259
HOWARD A SAWYER                                1673 RIDGE RD                                                                                LEWISTON          NY    14092‐9753
HOWARD A SCHMIDT                               103                                 9103 N UNION ST                                          TECUMSEH          MI    49286‐1099
HOWARD A SCHMITHORST                           628 MIAMI AVE                                                                                TERRACE PARK      OH    45174
HOWARD A SEITZ & JOAN SEITZ JT TEN             24000 LAKEWOOD                                                                               ST CLAIR SHORES   MI    48082‐2547
HOWARD A SISSON JR & MARY F SISSON JT TEN      45 NIGHTINGALE AVE                                                                           WARWICK           RI    02889‐6811
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HOWARD A STERN                                  30 GLENWOOD RD                                                                                  MILLWOOD        NY    10546‐1005
HOWARD A TURNER & D'ANNE M TURNER JT TEN        N 3356 HWY D                                                                                    JEFFRSON        WI    53549
HOWARD A WEISS CUST JENNIFER WEISS UGMA IL      180 E PEARSON ST                       APT# 4507                                                CHICAGO         IL    60611‐2111

HOWARD A YANNA                                  5269 DRAYTON RD                                                                                 CLARKSTON       MI    48346‐3709
HOWARD A ZEIMER                                 125 RICHARDSON ST                                                                               BURLINGTON      VT    05401‐5029
HOWARD ADLER CUST MOSES ADLER UGMA NY           1810 SWARTZ DR                                                                                  WAUKESHA        WI    53188‐4229
HOWARD AGREE                                    505 ATWOOD COURT                                                                                NEWTOWN         PA    18940‐1755
HOWARD ALFORD                                   107 WESTWOOD                                                                                    LA GRANGE       GA    30240‐2161
HOWARD ALLEN KORN                               700 LOMA VISTA TERRACE                                                                          PACIFICA        CA    94044‐2425
HOWARD ANDERSON                                 205 CLOUDCROFT DR                                                                               MONROE          VA    24574
HOWARD ANTHONY SCHEER                           98 OSPREY AVE                                                                                   ROSCOMMON       MI    48653‐8952
HOWARD ARONOWITZ                                1301 KINGS HIGHWAY                                                                              BROOKLYN        NY    11229‐1900
HOWARD AVERY & EDNA M AVERY JT TEN              613 EAST 2ND STREET                                                                             BUCKNER         IL    62819‐1310
HOWARD B ALLEN TR THE ALLEN FAM REV TRUST UA    3763 NE RIVER ROAD                                                                              NEWTON FALLS    OH    44444
3/30/00
HOWARD B BAHM                                   11101 EDGEWATER DR                                                                              CLEVELAND       OH    44102‐6138
HOWARD B BLAZZARD & MARRIANNE BLAZZARD JT TEN   BOX 364                                                                                         LA GRANGE       CA    95329‐0364

HOWARD B BOYER                                  749 ST LUCY DR                         CORPUS CRISTIE                                           CRP CHRISTI     TX    78418‐5700
HOWARD B BUSINSKI                               783 CORNETT RD                                                                                  E TAWAS         MI    48730‐9727
HOWARD B CINAMON                                11 DERBY AVENUE                                                                                 CEDARHURST      NY    11516‐1709
HOWARD B DOUGLAS                                18014 STATE                            RTE 247                                                  SEAMAN          OH    45679
HOWARD B GREENBERG & VALERIE VANLEER            264 BEACH 133 STREET                                                                            BELLE HARBOR    NY    11694‐1436
GREENBERG JT TEN
HOWARD B HAMILTON                               6622 TANSEY DR                                                                                  FALLS CHURCH    VA    22042‐4017
HOWARD B HODES                                  11 CHARLOTTE PL                                                                                 PLAINVIEW       NY    11803‐5635
HOWARD B HOSIER                                 502 WOODMERE DR                                                                                 ANDERSON        IN    46011‐1849
HOWARD B KRADER & MRS MARTHA S KRADER JT TEN    1319 CHARING CROSS RD                                                                           DEERFIELD       IL    60015‐4033

HOWARD B LE FEVRE                               6832 N MERRIMAN RD                     APT 178                                                  WESTLAND        MI    48185‐9468
HOWARD B LENOX                                  228 OAKVILLE RD                                                                                 BEAVER FALLS    PA    15010‐1210
HOWARD B MILLS                                  26373 37TH ST                                                                                   GOBLES          MI    49055‐9632
HOWARD B PATE JR                                305 N 2ND ST                                                                                    SPRING LAKE     NC    28390‐3336
HOWARD B RINEHART CUST JOLIE D RINEHART UGMA NJ 51 WILLOWDALE AVE                                                                               PRT WASHINGTN   NY    11050‐3916

HOWARD B SHOFNER & HELEN R SHOFNER JT TEN       103 HORSESHOE DR                                                                                SHELBYVILLE     TN    37160‐2601
HOWARD BAILEY & BARBARA A BAILEY JT TEN         348 E ALBERT ST                                                                                 RAHWAY          NJ    07065‐4905
HOWARD BARGER                                   1738 TUPPENCE TRAIL                                                                             LAWRENCEBURG    IN    47025‐9225
HOWARD BARTLETT & KAREN BARTLETT JT TEN         156 S E CRESTWOOD CIRCLE                                                                        STUART          FL    34997‐7439
HOWARD BASS                                     5515 18TH RD N                                                                                  ARLINGTON       VA    22205‐3015
HOWARD BEASLEY JR                               5869 MAYVILLE DR                                                                                DAYTON          OH    45432‐1720
HOWARD BELL & MRS MARY BELL JT TEN              21 SWAN DR                             ST CATHARINES ON                       L2T 2C2 CANADA
HOWARD BENDER                                   18419 STOEPEL                                                                                   DETROIT         MI    48221‐2268
HOWARD BERLLY                                   50 MANNY WAY                                                                                    RED BANK        NJ    07701‐5255
HOWARD BRINSON                                  1311 LINKVIEW XING                                                                              LOCUST GROVE    GA    30248‐4224
HOWARD BRINSON & LENA E BRINSON JT TEN          1311 LINKVIEW XING                                                                              LOCUST GROVE    GA    30248‐4224
HOWARD BRODSKY                                  17‐01 MORLOT AVENUE                                                                             FAIR LAWN       NJ    07410
HOWARD BROWN                                    1109 CLEARBROOK DRIVE                                                                           CINCINNATI      OH    45229‐1105
HOWARD BUTENSKY                                 99 SUN VALLEY RD                                                                                TOMS RIVER      NJ    08755‐5171
HOWARD C BANKS                                  BOX 1108                               WATKINS RD                                               HOSCHTON        GA    30548
HOWARD C BOCK & BARBARA J BOCK JT TEN           2235 ANDERSON RD                                                                                SAGANAW         MI    48603‐3820
HOWARD C BROMWELL                               10846 NELSON STREET                                                                             WESTCHESTER     IL    60154‐5025
HOWARD C BRUNING                                6093 REGER DR                                                                                   LOCKPORT        NY    14094‐6344
HOWARD C COLLINS                                1009 N HOWARD                                                                                   UNION CITY      IN    47390‐1143
HOWARD C CORNS                                  1715 PRESTON RD                                                                                 MARTINSVILLE    VA    24112‐7448
HOWARD C DAITZ                                  900 WEST END AVE                       APT 4F                                                   NEW YORK        NY    10025‐3538
HOWARD C DEARK                                  1079 HARRIS BEAMER RD SW                                                                        CALHOUN         GA    30701‐7918
HOWARD C FERGUSON                               460 W CANFIELD ST APT 302                                                                       DETROIT         MI    48201‐1320
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HOWARD C FRASER                                  33 DENTON DR                                                                                     GLENMOORE        PA    19343‐1909
HOWARD C GLOSSOP & PATSY J GLOSSOP JT TEN        6515 BROOK TRAIL                                                                                 LANSING          MI    48917‐9700
HOWARD C HALL                                    401 US HIGHWAY 22 #30B                                                                           N PLAINFIELD     NJ    07060‐3831
HOWARD C HANKIN                                  14532 LIGHTNER RD                                                                                HAYMARKET        VA    20169‐2509
HOWARD C HENRY JR                                164‐B PORTLAND LANE ROSSMOOR                                                                     MONROE TWP       NJ    08831‐1536
HOWARD C JENNINGS                                43220 CYPRESS BEND AVE                                                                           GONZALES         LA    70737‐7783
HOWARD C JENNINGS & BOBBIE J JENNINGS JT TEN     43220 CYPRESS BEND AVE                                                                           GONZALES         LA    70737

HOWARD C KISSER                                  4841 COLE RD                                                                                     SAGINAW          MI    48601‐9335
HOWARD C KLAUSS                                  17287 SUN MEADOW TRL                                                                             STRONGSVILLE     OH    44149‐5838
HOWARD C LACINA                                  7508 PALMA LANE                                                                                  MORTON GROVE     IL    60053‐1165
HOWARD C LARSEN III                              25210 FREDRICK                                                                                   SOUTHFIELD       MI    48034‐6722
HOWARD C LEMMON                                  RR1                                                                                              LUCERNE          IN    46950‐9801
HOWARD C MCCOY                                   5693 LOCUST STREET EXT                                                                           LOCKPORT         NY    14094‐5928
HOWARD C MONROE                                  PO BOX 11526                                                                                     SANTA ANA        CA    92711‐1526
HOWARD C PAUL TR UA 04/27/94 HOWARD C PAUL       1102 JEANNETTE ST                                                                                DES PLAINES      IL    60016‐6314
TRUST
HOWARD C RUSSELL CUST DEBORAH S RUSSELL U/THE    ATT LANE                                400 N JAMES ST APT 207                                   PLAINFIELD       IL    60544‐1559
ILLINOIS U‐G‐M‐A
HOWARD C SIMMS                                   3664 LITTLE BROOK DR                                                                             SPRUCE           MI    48762‐9747
HOWARD C SIMON JR                                6419 BELMAR DR                                                                                   SAGINAW          MI    48603‐3449
HOWARD C THOMPSON & OLGA M THOMPSON JT TEN       321 GLENDALE RD                                                                                  WILBRAHAM        MA    01095‐2383

HOWARD C VRUGITZ                                 2307 LONGFELLOW ST                                                                               MIDDLETOWN       OH    45042‐2721
HOWARD C WACHTER TR UW BARBARA C GOLDMAN         66‐25 103 ST SUITE 5D                                                                            FOREST HILLS     NY    11375‐2019

HOWARD C WIEDRICK & RUTH B WIEDRICK JT TEN       1184 OSBAND AVE                                                                                  MACEDON          NY    14502‐9304

HOWARD CARPENTER                               909 S HADEN                                                                                        INDEPENDENCE     MO    64050‐4729
HOWARD CARREY CUST IAN ZACHARY CARREY UNDER FL 3218 LIENSTER CIRCLE                                                                               ORMOND BEACH     FL    32174‐2863
GIFTS TO MINORS ACT
HOWARD CHRISTOPHER DALE                        1603 NORAL PL                                                                                      ALEXANDRIA       VA    22308‐1800
HOWARD COHEN                                   10405 SANDRINGHAM COURT                                                                            POTOMAC          MD    20854
HOWARD CROWDER                                 754 E PARKWAY                                                                                      FLINT            MI    48505‐2962
HOWARD D BEAUCH & JOANNE P BEAUCH JT TEN       1125 W TUSCOLA ST                                                                                  FRANKENMUTH      MI    48734‐9202
HOWARD D BEE                                   6839 COTTONWOOD DR                                                                                 PLAINFIELD       IN    46168‐9046
HOWARD D BLOOMFIELD                            9501 E HIGHLAND RD                        APT 256                                                  HOWELL           MI    48843‐5001
HOWARD D CAREY                                 10 LORENZO ST                                                                                      LEOMINSTER       MA    01453‐4014
HOWARD D CHILDERS                              1161 FENWICK PL                                                                                    SANTA ANA        CA    92705
HOWARD D COOK                                  1406 SANDY ROCK RD                                                                                 TECUMSEH         OK    74873‐4554
HOWARD D CORNEAL & JOAN M CORNEAL JT TEN       BOX 676                                   40 E MAPLE SHADE LANE                                    BEESLEYS POINT   NJ    08223‐1719
HOWARD D COUNTS                                306 NORTH CEDAR ST                                                                                 WINCHESTER       TN    37398‐1319
HOWARD D DARGIE                                C/O BETH A HILL BEEKER                    500 ST MARYS DR                                          HEMLOCK          MI    48626‐9614
HOWARD D HAMPTON                               3415 HILL RD                                                                                       LK ORION         MI    48360‐1519
HOWARD D HARPER                                HCR 66 BOX 55B 10                                                                                  WARSAW           MO    65355‐8004
HOWARD D HAVARD                                6779 ISLAND RD                                                                                     JARREAU          LA    70749‐3005
HOWARD D HAWKINS & SHIRLEY A HAWKINS JT TEN    9105 LINDANTE DR                                                                                   WHITTIER         CA    90603‐1027

HOWARD D HERBERT III                             2231 LAZY RIVER DR                                                                               CHARLESTON       SC    29414‐4947
HOWARD D HOFFMAN & CAROL M HOFFMAN JT TEN        RR 2 BOX 65 B 1                                                                                  WYSOX            PA    18854‐9718

HOWARD D ISAACS                                  4667 BALDRIC ST                                                                                  BOCA RATON       FL    33428‐4123
HOWARD D KILPATRICK                              169 LOVINGOOD RD                                                                                 MARBLE           NC    28905‐9725
HOWARD D KISNER                                  1819 SUMMIT DR                                                                                   CLAREMORE        OK    74017‐2208
HOWARD D KNOTT                                   10 MILAN HWY                                                                                     BRADFORD         TN    38316‐7000
HOWARD D LANDER                                  7007 BRADLEY AVENUE                                                                              PARMA            OH    44129‐2266
HOWARD D LANE ADMIN EST MARY FRANCES LANE        260 QUAIL RD                                                                                     RICHMOND HILL    GA    31324

HOWARD D LONSDALE                                1320 HUNTINGTON DR                                                                               LIBERTY          MO    64068‐3282
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HOWARD D MAURITZ                                 3743 RIDGE DR                                                                                   JANESVILLE         WI    53548‐5836
HOWARD D MEEUWSEN                                17 BENNET                                                                                       COOPERSVILLE       MI    49404‐1248
HOWARD D NUCKOLS JR                              11301 CEDAR GLADE LANE                                                                          ROCKVILLE          VA    23146‐1645
HOWARD D RAY                                     2730 GREYSTONE DRIVE                   APT C                                                    COLUMBUS           OH    43220
HOWARD D RICHIE                                  2456 DEWEY AV                                                                                   BELOIT             WI    53511‐2427
HOWARD D RIVERS                                  11110 NICHOLS RD                                                                                BURT               MI    48417‐9711
HOWARD D ROBBINS                                 14695 AIRPORT RD                                                                                LANSING            MI    48906
HOWARD D SHRINER                                 3025 EAST STANLEY RD                                                                            MT MORRIS          MI    48458‐8805
HOWARD D SPROUL                                  2846 WASHINGTON BLVD                                                                            MC KEESPORT        PA    15133‐2014
HOWARD D SPROUL & DARYL A SPROUL JT TEN          2846 WASHINGTON BLVD                                                                            MCKEESPORT         PA    15133‐2014
HOWARD D SULVER JR                               904 RIDGE DR                                                                                    CADIZ              KY    42211‐8619
HOWARD D VAN KEUREN                              12758 ZIEGLER                                                                                   TAYLOR             MI    48180‐4382
HOWARD D WARNER                                  9533 N ARCHIE AVE                                                                               FRESNO             CA    93720‐1484
HOWARD DALE WILLIAMS II & HOWARD D WILLIAMS JT   10115 KINGSGATE DR                                                                              OKLAHOMA CITY      OK    73159‐7717
TEN
HOWARD DAVENPORT                                 2024 WALMAR DR                                                                                  LANSING            MI    48917‐5102
HOWARD DAVID STRAUSS                             320 SADDLEBROOK DRIVE                                                                           ROSWELL            GA    30075‐2444
HOWARD DEAN                                      150 WHITE PLAINS RD                    SUITE 300                                                TARRYTOWN          NY    10591‐5521
HOWARD DEANGELO                                  C/O JUSTIN J NATALE                    55 WOODBRIDGE ROAD                                       GLASTONBURY        CT    06033
HOWARD DEGRAVE                                   72 LAWRENCE RD                                                                                  BROCKPORT          NY    14420‐9321
HOWARD DEPEW                                     4213 GLENESTE RD                                                                                CINCINNATI         OH    45245
HOWARD DEUTSCH                                   1542 MADISON DR                                                                                 BUFFALO GROVE      IL    60089‐6830
HOWARD E AMMERMAN JR & BETTY J AMMERMAN JT       1414 SANTA MARIA CT                                                                             MELBOURNE          FL    32940‐6816
TEN
HOWARD E BAER & NORMA M BAER JT TEN              380 E POLE RD #13                                                                               LYNDEN             WA    98264‐9639
HOWARD E BUCHANAN                                1295 TAFT LANE                                                                                  CORONA             CA    91719‐3633
HOWARD E COCKRELL                                250 SO LEYDEN                                                                                   DENVER             CO    80224‐1047
HOWARD E DECKROW                                 9480 E MT MORRIS RD                                                                             OTISVILLE          MI    48463‐9413
HOWARD E DIETZMAN & PAUL D DIETZMAN JT TEN       4 WOLFE DR                                                                                      HILLSBOROUGH       NJ    08844‐4118

HOWARD E ENNIS JR & NANCY S ENNIS JT TEN         1005 SEDWICK DRIVE                                                                              WILMINGTON         DE    19803‐3330
HOWARD E FISHER                                  2150 GARFIELD AVE                                                                               CINCINNATI         OH    45224‐1820
HOWARD E FITTS                                   239 OAK ST                                                                                      SOUTH WINDSOR      CT    06074‐2344
HOWARD E GIBSON                                  3916 9TH AVENUE                                                                                 HUNTISVILLE        AL    35805‐3402
HOWARD E HARRISON II                             4204 RIDGEWOOD DR                                                                               PITTSFIELD TWNSP   MI    48197

HOWARD E HAYES                                   26026 ALGER ST                                                                                  MADISON HEIGHTS MI       48071‐3502

HOWARD E HILTON                                  3325 STATE RD 44                                                                                MARTINSVILLE       IN    46151
HOWARD E HOLMQUIST                               1802 INGLEWOOD DRIVE                   FAIRFAX                                                  WILMINGTON         DE    19803‐3080
HOWARD E HOPEN                                   4595 PIKE 423                                                                                   MIDDLETOWN         MO    63359‐2220
HOWARD E JACKSON & MRS PATRICIA A JACKSON JT TEN 18621 JAMESTOWN CIRCLE                                                                          NORTHVILLE         MI    48167‐1834

HOWARD E KENDALL                                 3546 E COUNTY RD 300 S                                                                          GREENCASTLE        IN    46135‐9049
HOWARD E KNOX & BARBARA M KNOX JT TEN            2003 VARNER CIR                                                                                 WINTER HAVEN       FL    33884‐3149
HOWARD E LAZZARO                                 12940 E WASHINGTON RD                                                                           REESE              MI    48757‐9701
HOWARD E LITTLE                                  3102 HARFORD RD                                                                                 HYDES              MD    21082‐9701
HOWARD E MALLARD                                 7941 SILO DR                                                                                    ROMULUS            MI    48174‐5201
HOWARD E MARTIN                                  601 ANTIOCH RD                                                                                  CEDARTOWN          GA    30125‐5438
HOWARD E MEDLEY SR                               165 MAIN ST                                                                                     LEIPSIC            OH    45856‐1018
HOWARD E MILLER                                  7004 N LAKE DR                                                                                  BRENTWOOD          TN    37027‐7846
HOWARD E MILLER                                  10006 W MOUNTAIN VIEW RD                                                                        SUN CITY           AZ    85351‐4815
HOWARD E MORRIS                                  1611 US ROUTE 68 S                                                                              XENIA              OH    45385‐9751
HOWARD E PIERCE                                  1533 LIMEKILN RD                                                                                CHARLOTTE          VT    05445‐9613
HOWARD E PRAY JR                                 10010 HUNT DR                                                                                   DAVISON            MI    48423‐3512
HOWARD E ROSSO                                   2735 HILLENDALE DR                                                                              ROCHESTER HILLS    MI    48309‐1924
HOWARD E RYAN JR                                 620 GULF ROAD                                                                                   ELYRIA             OH    44035‐3647
HOWARD E SCHMERZ                                 4475 BEDFORD AVE                                                                                BROOKLYN           NY    11235‐2524
                                             09-50026-mg                Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
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HOWARD E THOMPSON TR HOWARD E THOMPSON         7061 W 130TH STRRET                     C/O FOXMOOR APT 109C   PALMER HEIGHTS                     CLEVELAND         OH    44130
TRUST UA 10/02/99
HOWARD E VAN CAMP                              3560 ROHR RD                                                                                      LAKE ORION        MI    48359‐1431
HOWARD E VITTES                                14621 LUDLOW                                                                                      OAK PARK          MI    48237‐4112
HOWARD E WARREN                                1510 RIVERSHYRE PKWY                                                                              LAWRENCEVILLE     GA    30043‐4440
HOWARD E WHITE                                 2080 FREEMAN RD                                                                                   MARTIN            GA    30557‐3266
HOWARD E WHITE                                 3325 DEL MAR LANE NW                                                                              ATLANTA           GA    30331‐1707
HOWARD E WOOD                                  PO BOX 106                                                                                        CROSS VILLAGE     MI    49723‐0106
HOWARD E WOUSTER                               1128 N GROFF                                                                                      INDIANAPOLIS      IN    46222‐3013
HOWARD EDISON                                  201 E OGDEN AVE STE 26                                                                            HINSDALE          IL    60521‐3651
HOWARD EFROS & FRANCINE EFROS JT TEN           5390 PICCADILLY CIRCLE                                                                            WEST BLOOMFIELD   MI    48322

HOWARD EHRLICH                                 2300 W SAMPLE RD                        STE 215                                                   POMPANO BEACH     FL    33073‐3049
HOWARD ELZEY                                   8 ELK RIVER RD                                                                                    W HENRIETTA       NY    14586
HOWARD ENNIS                                   P O BOX 31                                                                                        WOODSTOWN         NJ    08098
HOWARD ERICKSON                                7155 KESSLING                                                                                     DAVISON           MI    48423‐2445
HOWARD F BELLIZIO JR                           15 HOMESTEAD LANE                                                                                 MONMOUTH          NJ    08852‐2418
                                                                                                                                                 JUNCTION
HOWARD F BURGY                                 5390 PINECREST DR                                                                                 YOUNGSTOWN        OH    44515‐4046
HOWARD F CANTRELL                              1065 WALTON AV                                                                                    DAYTON            OH    45402‐5336
HOWARD F DAVY                                  3895 LEAMAN                                                                                       FREELAND          MI    48623‐8865
HOWARD F FARLEY                                900 W SHIAWASSEE AVE                                                                              FENTON            MI    48430‐1737
HOWARD F GLUCK JR                              2895 OWLTOWN RD                                                                                   BLAIRSVILLE       GA    30512‐6508
HOWARD F HALL & KATHERINE E HALL JT TEN        1156 BEL MARIN KEYS BLVD                                                                          NOVATO            CA    94949‐5358
HOWARD F HARDY JR                              22 SOTHARD LANE                                                                                   WESTCARROLLTON    OH    45449

HOWARD F HARRIS JR                             2409 N RIDGEWOOD AVE                                                                              TAMPA             FL    33602‐1829
HOWARD F HICKS                                 974 EMERSON                                                                                       PONTIAC           MI    48340‐3229
HOWARD F HOLMAN III                            1761 GARDEN RD                                                                                    DURHAM            CA    95938‐9409
HOWARD F KUZELKA                               PO BOX 942                                                                                        TINLEY PARK       IL    60477‐0942
HOWARD F LEVEY & GAIL N LEVEY JT TEN           8 MICHELLE WAY                                                                                    PINE BROOK        NJ    07058‐9446
HOWARD F PATTON                                133 WESTWOOD AVE                                                                                  DAYTON            OH    45417‐1735
HOWARD F ROWLEY & BETTY J ROWLEY JT TEN        1214 W HURD RD                                                                                    CLIO              MI    48420‐1869
HOWARD F SNOOK TOD JUDY KEAN                   19527 PURNELL AVE                                                                                 ROCKY RIVER       OH    44116‐2724
HOWARD F SWARTZ                                7051 HATCHERY RD                                                                                  WATERFORD         MI    48327‐1134
HOWARD F SYKES                                 19207 GILCHRIST                                                                                   DETROIT           MI    48235‐2450
HOWARD FERRY                                   354 CLAREMONT AVE                                                                                 BUFFALO           NY    14223‐2510
HOWARD FRANCIS HOLMAN III & JANET WALLACE      1761 GARDEN RD                                                                                    DURHAM            CA    95938‐9409
HOLMAN JT TEN
HOWARD FRANKLIN TRAYWICK JR & SHARON CLINE     145 MCLEOD AVE                                                                                    BELMONT           NC    28012‐4151
TRAYWICK JT TEN
HOWARD FREDRICKS                               2755 N 117TH PL                                                                                   WAUWATOSA         WI    53222‐4101
HOWARD FREY                                    725 WALNUT DRIVE                                                                                  FRANKLIN LAKES    NJ    07417‐2313
HOWARD FRIEDMAN & JANE FRIEDMAN JT TEN         1223 S CHRISTINE COURT                                                                            VERNON HILLS      IL    60061‐3605
HOWARD FURMAN                                  176 MELANIE DR                                                                                    EAST MEADOWS      NY    11554‐1440
HOWARD G BERMEL                                3081 DELTONA BLVD                                                                                 SPRING HILL       FL    34606‐3109
HOWARD G FISHER & DAVID G FISHER JT TEN        9378 ELMWOOD CT                                                                                   STANWOOD          MI    49346‐9305
HOWARD G GEEVE                                 2544 ERNST ST                                                                                     FRANKLIN PARK     IL    60131‐3110
HOWARD G JACOBSON                              7272 S 2530 W                                                                                     WEST JORDAN       UT    84084‐3058
HOWARD G KEARNEY                               2509 W BOGART RD                                                                                  SANDUSKY          OH    44870‐5306
HOWARD G KEITH                                 2061 NEXUS CT                                                                                     APOPKA            FL    32712‐4407
HOWARD G LAWSON                                101 PICARD DR                                                                                     TULLAHOMA         TN    37388‐4903
HOWARD G MENZEL                                1554 CAPE COD DRIVE                                                                               MANSFIELD         OH    44904‐2123
HOWARD G MORTON                                5192 TAHQUAMENON TRAIL                                                                            FLUSHING          MI    48433‐1255
HOWARD G OLSON                                 2365 PLEASANT VALLEY RD                                                                           NILES             OH    44446‐4420
HOWARD G PASCHEDAG                             1407 HWY W                                                                                        FORISTELL         MO    63348‐1014
HOWARD G PRESTON                               241 REYMONT                                                                                       WATERFORD         MI    48327‐2863
HOWARD G SMITH JR & RITA I SMITH JT TEN        914 MARY ST                                                                                       VILLE HILLS       KY    41017‐1119
HOWARD G TRAVIS                                1711 HIGGINS RD                                                                                   SAINT HELEN       MI    48656‐9706
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HOWARD G VEENHUIS & CAROLYN M VEENHUIS JT TEN 9205 CORDWOOD TR                                                                                CHEBOYGAN        MI    49721‐8995

HOWARD G WACHENFELD                           100 MULBERRY ST                                                                                 NEWARK           NJ    07102‐4056
HOWARD GELLER                                 80‐20 231ST STREET                                                                              QUENNS VILLAGE   NY    11427‐2108
HOWARD GENE DREXLER                           5000 MONCK COURT                                                                                WILMINGTON       NC    28409‐3173
HOWARD GEORGE BUHL & BEATRICE E MARSHALL BUHL 5326 ROSE LANE                                                                                  FLINT            MI    48506‐1517
JT TEN
HOWARD GETMAN                                 PO BOX 6065                                                                                     PHILADELPHIA     PA    19114‐0665
HOWARD GLADDING                               6564 COUNTY RD 32                                                                               CANANDAIGUA      NY    14424‐9306
HOWARD GLADDING                               6564 COUNTY RD 32                                                                               CANANDIAGUA      NY    14424‐9306
HOWARD GLOVER                                 19722 AVON AVE                                                                                  DETROIT          MI    48219‐2176
HOWARD GODELSKY                               67 HUDSON WATCH DR                                                                              OSSINING         NY    10562‐2447
HOWARD GOLD CUST AVRAM GOLD UGMA NY           34 VALERIE DRIVE                                                                                GREENVILLE       SC    29615‐1227
HOWARD GREEN                                  C/O H WILLIAMS & CO                    145 CHURCH ST        TORONTO ON        M5B 1Y4 CANADA
HOWARD GUY                                    1008 JARRETT ST                                                                                 LIBERTY          TX    77575
HOWARD H BAKER JR                             PO BOX 219                                                                                      HUNTERSVILLE     NC    28070‐0219
HOWARD H BUCHLER                              5472 W COUNTY HIGHWAY 638                                                                       HAWKS            MI    49743‐9759
HOWARD H BUMPUS                               14826 DASHER                                                                                    ALLEN PARK       MI    48101‐2618
HOWARD H FLASTER                              46 INTERLAKEN ROAD                                                                              STAMFORD         CT    06903‐5025
HOWARD H HUGHES & CHRISTOPHER R HUGHES JT TEN 5 TAMARACK LANE                                                                                 GRAY             ME    04039‐9619

HOWARD H KITTS                                  3691 E 300 N                                                                                  MARION           IN    46952‐6800
HOWARD H LANGHAM                                184 EAST RD APT 112                                                                           DIMONDALE        MI    48821‐8795
HOWARD H MACDOUGALL                             127 SCARBORO DR                                                                               YORK             PA    17403‐3817
HOWARD H SMITH                                  2021 SOUTH HOLLY RD                                                                           HOLLY            MI    48442‐8321
HOWARD H TROUTMAN TR HOWARD H TROUTMAN          BOX 385                                                                                       PINEBLUFF        NC    28373‐0385
TRUST UA 10/16/95
HOWARD H TYGAR                                  259 21ST ST                          APT 4F                                                   BROOKLYN         NY    11215‐6347
HOWARD HAGER                                    7744 PREBLE CO LINE ROAD                                                                      GERMANTOWN       OH    45327‐9563
HOWARD HAMPTON                                  839 LAWRENCE                                                                                  DETROIT          MI    48202‐1018
HOWARD HAMPTON & CREOLA HAMPTON JT TEN          839 LAWRENCE                                                                                  DETROIT          MI    48202‐1018
HOWARD HANTMAN                                  PO BOX 40733                                                                                  TUCSON           AZ    85717‐0733
HOWARD HART & ALFRED N COX TR HOWARD HART       1177 CALIFORNIA ST #412                                                                       SAN FRANCISCO    CA    94108‐2219
REVOC TRUST UA 08/29/89
HOWARD HELLER & JOAN HELLER JT TEN              8909 VIA TUSCANY DR                                                                           BOYNTON BEACH    FL    33472
HOWARD HOBAUGH & MRS HILDA M HOBAUGH JT TEN     565 N BUHL FARM DR                                                                            HERMITAGE        PA    16148‐1665

HOWARD HUGHES                                   31 BEATRICE DR                                                                                DAYTON           OH    45404‐1346
HOWARD HUTSON                                   5608 LINDA LANE                                                                               INDIANAPOLIS     IN    46241‐0540
HOWARD I HICKERSON & JULIANN D HICKERSON JT TEN 136 BURROUGH LANE                                                                             CROSSVILLE       TN    38558‐8826

HOWARD I RITTMAN                                10289 LAFAYETTE                                                                               DIMONDALE        MI    48821‐9426
HOWARD J BARACH & MRS SUSAN I BARACH JT TEN     4891 SABAL LAKE CIR                                                                           SARASOTA         FL    34238‐4460

HOWARD J BARLOW                                 719 WEST 60TH ST                                                                              LOS ANGELES      CA    90044‐6332
HOWARD J BELT                                   99 COUNTRY LANE                                                                               ROCHESTER        NY    14626‐3305
HOWARD J BESLACK                                44061 CANDLEWOOD DR                                                                           CANTON           MI    48187‐1903
HOWARD J BODRIE                                 3809 AUGUSTA ST                                                                               FLINT            MI    48532‐5208
HOWARD J BROEKEMA                               3435 CHAMBERLAIN S E                                                                          GRAND RAPIDS     MI    49508‐2650
HOWARD J BULLY & MRS MARY E BULLY JT TEN        1047 E GRAND BLVD                                                                             FLINT            MI    48505‐1505
HOWARD J BURKHAMMER                             3697 FALLEN DRIVE                                                                             JAMESTOWN        PA    16134‐3413
HOWARD J CLEM JR                                9 9TH AVE                                                                                     BROOKLYN         MD    21225‐2911
HOWARD J CORNELIUS                              3219 RYAN AVE                                                                                 FORT WORTH       TX    76110‐3824
HOWARD J DEACON JR                              150 CALLE DE ANDALUCIA                                                                        REDONDO BEACH    CA    90277‐6701
HOWARD J DOMINICK                               8660 TOWNSHIP HIGHWAY 289                                                                     SALINEVILLE      OH    43945‐7703
HOWARD J ESLIEN                                 PO BOX 39                                                                                     OCONTO FALLS     WI    54154‐0039
HOWARD J GAMBREL                                324 BRYANTS CREEK RD                                                                          RISING SUN       IN    47040‐9536
HOWARD J GREENWOOD                              14907 RADSTOOK DR                                                                             HOUSTON          TX    77062‐2642
HOWARD J HARMON JR                              1370 S BRENTWOOD DR                                                                           OLATHE           KS    66062‐5731
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HOWARD J HIPP                                  4620 WOOD THRUSH DR                                                                             CLEVELAND         OH    44134‐4671
HOWARD J HOFFMAN JR                            S5106 PARKER ROAD                                                                               HAMBURG           NY    14075‐1633
HOWARD J INWOOD                                1219 MINNESOTA RD LOT 160                                                                       PORT HURON        MI    48060‐7038
HOWARD J JENKINS CUST DAVID HOWARD JENKINS     20 BLACK OAK ROAD                                                                               WAYLAND           MA    01778‐3604
UGMA MA
HOWARD J JEWELL                                11708 29TH AVE                         EDMONTON AB                            T6J 3K9 CANADA
HOWARD J KATEMAN                               16465 JENNINGS ROAD                                                                             FENTON            MI    48430‐9108
HOWARD J MCLEMORE                              4212 TIREMAN                                                                                    DETROIT           MI    48204‐3774
HOWARD J MILLER                                9304 N MATTOX AVE                                                                               KANSAS CITY       MO    64154‐2028
HOWARD J MILLER & DIANA L MILLER JT TEN        9304 N MATTOX AVE                                                                               KANSAS CITY       MO    64154‐2028
HOWARD J MISCH                                 49649 DOVER CT                                                                                  CHESTERFIELD      MI    48047‐1705
HOWARD J MOLNAR                                65 CRESCENT RD                                                                                  GRAND ISLAND      NY    14072‐2837
HOWARD J NEELY & BRUCE A NEELY JT TEN          1 JANE APPLETON WAY                                                                             HAMPTON           NH    03842‐2405
HOWARD J OGDEN & VIRGINIA OGDEN JT TEN         13 SOUTH 200 WEST                                                                               CENTERAL VALLEY   UT    84754‐3225
HOWARD J PALMER                                9 HICKORY LANE                                                                                  NEW MILFORD       CT    06776‐4014
HOWARD J PERRIN                                6249 LINCOLN ST                                                                                 ALLENDALE         MI    49401‐9792
HOWARD J PHILLIPS                              6019 BELMERE DR                                                                                 PARMA             OH    44129‐5102
HOWARD J PURCELL JR                            312 RIVERSIDE DRIVE                                                                             CHEBOYGAN         MI    49721‐2282
HOWARD J RANDALL & Z MARIE RANDALL JT TEN      325 CALLE DELICADA                                                                              SAN CLEMENTE      CA    92672‐2201
HOWARD J SADDLER                               102 HILLCREST DR                                                                                WILLIAMSTON       SC    29697‐9455
HOWARD J SCHULTZ                               7190 NW 170TH ST                                                                                TRENTON           FL    32693‐7428
HOWARD J SIEGEL & JUDY S SIEGEL JT TEN         15020 N SEVENTH DR                                                                              PHOENIX           AZ    85023‐5214
HOWARD J SUTTON                                8692 W STATE RD 36                                                                              MIDDLETOWN        IN    47356‐9758
HOWARD J YOUNG                                 736 BOUTELL DR                                                                                  GRAND BLANC       MI    48439‐1923
HOWARD J ZLOTNICK                              3921 POWHATAN PKWY                                                                              WILLIAMSBURG      VA    23188‐2779
HOWARD JACOBSON                                7387 SIMSBURY DR                                                                                W BLOOMFIELD      MI    48322
HOWARD JAMES BLYLER                            BOX 217                                                                                         COWEN             WV    26206‐0217
HOWARD JOEL MERKEL                             18 MALLARD DR                                                                                   GREENWICH         CT    06830‐6710
HOWARD JOHNSON                                 2725 HWY 22                                                                                     EDWARDS           MS    39066‐9798
HOWARD JORDAN                                  12831 SPINDLEWOOD DRIVE                                                                         LAMIRADA          CA    90638‐2738
HOWARD K BAKER                                 804 CHURCH ST                                                                                   VALDESE           NC    28690‐2120
HOWARD K BALDWIN                               201 HIGH ST                                                                                     DANVILLE          IN    46122‐1015
HOWARD K BRUNK                                 16564 FISH ROAD                                                                                 PEMBERVILLE       OH    43450‐9614
HOWARD K BUHL JR & MRS DOROTHY ELLEN BUHL JT   PO BOX 17                                                                                       MAPAVILLE         MO    63065‐0017
TEN
HOWARD K COX                                   124 W 1450 N                                                                                    SUMMITVILLE       IN    46070‐9694
HOWARD K CUSHWA                                128 POLICEMAN CLUB RD                                                                           FALLING WATERS    WV    25419‐7031
HOWARD K CUSHWA & NORMA G CUSHWA JT TEN        128 POLICEMAN CLUB RD                                                                           FALLING WATER     WV    25419‐7031

HOWARD K FAY JR                                33 OVERLOOK DR                                                                                  WESTBOROUGH       MA    01581‐3540
HOWARD K MC MICHAEL                            6513 DIAMOND DRIVE                                                                              MCKINNEY          TX    75070‐7983
HOWARD K PERRYDORE                             32119 CAMBRIDGE                                                                                 GARDEN CITY       MI    48135‐1737
HOWARD K ROYSTER                               PO BOX 44                                                                                       HARRISBURG        OH    43126‐0044
HOWARD K SWETT TR THE SWETT FAMILY TRUST UA    4950 E SHAW BUTTE DR                                                                            SCOTTSDALE        AZ    85254‐4663
1/14/91
HOWARD K THOMASSON                             1908 11TH AVE                                                                                   BELLE PLAINE      IA    52208‐1128
HOWARD K WIIST & LINDA M WIIST JT TEN          1946 COUNTRY CLUB DRIVE                                                                         BONIFAY           FL    32425‐4603
HOWARD KANNER                                  930 BLUEGRASS LN                                                                                ROCKLEDGE         FL    32955‐6102
HOWARD KATZ                                    2650 SW SCHAEFFER RD                                                                            WEST LINN         OR    97068‐9659
HOWARD KEITH JACOBY                            5 TUDOR CITY PL 1830                                                                            NEW YORK          NY    10017‐6877
HOWARD KENNETH SHEDD                           6531 CHIEF RD                                                                                   BRETHREN          MI    49619‐9780
HOWARD KOHLBENNER JR TR HOWARD KOHLBRENNER     2215 CLOVER DR                                                                                  BROOMALL          PA    19008‐2821
JR TRUST UA 11/28/01
HOWARD KOLODNY & MRS ELAINE KOLODNY JT TEN     3503 FREDERICK PL                                                                               KENSINGTON        MD    20895‐3406

HOWARD KUBITZ & ETHEL KUBITZ TEN ENT           5524 PHILLIPS AVE                                                                               PITTSBURGH        PA    15217‐1907
HOWARD L ABBOTT                                318 LAKE MARINA DR APT 113                                                                      NEW ORLEANS       LA    70124
HOWARD L ALLEN                                 150 N GLEANER RD                                                                                SAGINAW           MI    48609‐9411
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HOWARD L ALLER III CUST CAROLINE C ALLER UGMA CT 8 WILLOW PL                                                                                     BROOKLYN           NY    11201‐4513

HOWARD L ALLER III CUST SARAH D ALLER UGMA CT   95 INTERLAKEN RD                                                                                 LAKEVILLE          CT    06039‐2122

HOWARD L AUSTIN                                 6704 S BANCROFT RD                                                                               BANCROFT           MI    48414‐9729
HOWARD L BOLTSON                                22 AUTUMN DR                                                                                     EAST NORTHPORT     NY    11731‐2602
HOWARD L BREEDEN                                400 N PLAZA DR #419                                                                              APACHE JUNCTION    AZ    85220‐5506

HOWARD L BROWN                                  G 6461 N BELSAY                                                                                  FLINT              MI    48506
HOWARD L BROWN CUST PAUL C BROWN UGMA UT        3771 AERIE COVE                                                                                  SALT LAKE CITY     UT    84121‐5983

HOWARD L BURNSIDE & NANCY Z BURNSIDE TEN ENT    5718 EMORY RD                                                                                    UPPERCO            MD    21155‐9759

HOWARD L BURTON                                 37 WINDSOR RD                                                                                    NEWNAN             GA    30263‐5515
HOWARD L CHAFFIN                                13418 N LINDEN RD                                                                                CLIO               MI    48420‐8248
HOWARD L COATES                                 PO BOX 996                                                                                       GRIFFIN            GA    30224
HOWARD L COSSIN                                 19000 MERRIMAN ROAD                                                                              LIVONIA            MI    48152‐3372
HOWARD L CRABTREE                               3329 S DUFFIELD ROAD                                                                             LENNON             MI    48449‐9408
HOWARD L DAFFNER                                216 NAGEL AVE                                                                                    SAINT LOUIS        MO    63111‐3128
HOWARD L DISHNER                                2322 DAKOTA                                                                                      FLINT              MI    48506‐4905
HOWARD L DRAKE                                  2612 CRYSTAL RD                                                                                  VESTABURG          MI    48891‐9725
HOWARD L DUPUIS                                 305 EDWARD STREET                                                                                VERONA             WI    53593‐1009
HOWARD L ELLINGSWORTH                           PO BOX 192                                                                                       ODESSA             DE    19730‐0192
HOWARD L FARGO CUST MICHAEL A LUCAS UGMA CA     100 EAST POPLAR ST                                                                               GROVE CITY         PA    16127‐2219

HOWARD L FOOTE                                  127 HULBURT RD                                                                                   FAIRPORT           NY    14450‐2435
HOWARD L FRANKLIN                               13576 BIRWOOD                                                                                    DETROIT            MI    48238‐2202
HOWARD L GARDNER                                14037 SANTA ROSE                                                                                 DETROIT            MI    48238‐2512
HOWARD L GASTON                                 8379 YOLANDA                                                                                     DETROIT            MI    48234‐3353
HOWARD L GLASSCOCK & ANN M GLASSCOCK JT TEN     1068 MOORES POND RD                                                                              YOUNGSVILLE        NC    27596‐9363

HOWARD L GLASSCOCK & ANN M GLASSCOCK JT TEN     1068 MOORES POND RD                                                                              YOUNGSVILLE        NC    27596‐9363

HOWARD L GRIFFIN                                14110 NICHOLS RD                                                                                 MONTROSE           MI    48457‐9433
HOWARD L HAM                                    632 THOMPSON ST                                                                                  SAGINAW            MI    48607‐1657
HOWARD L HARTING                                2105 N VALLEY DR                                                                                 MUNCIE             IN    47304‐9685
HOWARD L HAWKINS                                9680 NESBIT FERRY ROAD                                                                           ALPHARETTA         GA    30022‐6872
HOWARD L HELWIG                                 1703 HAWTHORNE DR                                                                                CHESAPEAKE         VA    23325‐3845
HOWARD L HENDERSON & MARY D HENDERSON TEN       27147 RED FOX DRIVE                                                                              BROOKSVILLE        FL    34602‐5478
ENT
HOWARD L HOLEMAN                                4115 GRAYTON                                                                                     WATERFORD          MI    48328‐3426
HOWARD L HUMMEL & REBA J HUMMEL TR UA           3094 S GENESEE RD                                                                                BURTON             MI    48519‐1420
01/21/94 HOWARD L HUMMEL TRUST
HOWARD L JOHNSON                                4320 SALINE WATERWORKS RD                                                                        SALINE             MI    48176‐9701
HOWARD L JONES                                  8948 N MARTINDALE ST                                                                             DETROIT            MI    48204‐2391
HOWARD L KINCADE                                596 E COUNTY ROAD 1000 S                                                                         CLOVERDALE         IN    46120‐9118
HOWARD L KUHN                                   17333 ENGLISH RD                                                                                 MANCHESTER         MI    48158‐9643
HOWARD L LANDON                                 8741 52ND DR E                                                                                   BRADENTON          FL    34202‐3725
HOWARD L MANN                                   1910 W PIERSON RD                                                                                FLINT              MI    48504‐1929
HOWARD L MASON                                  BOX 427                                                                                          DEARBORN           MI    48121‐0427
HOWARD L MORIN & MARGARET E MORIN JT TEN        2362 ACOMA DR                                                                                    BULLHEAD CITY      AZ    86442‐7400
HOWARD L MURPHY & MABEL S MURPHY JT TEN         2553 VAN BUREN AVE                                                                               OGDEN              UT    84401‐2721
HOWARD L MYERS                                  PO BOX 268                              4371 E LAKE ROAD                                         WILSON             NY    14172‐9753
HOWARD L NEDDO                                  30 COUNTY ROAD 416 S                                                                             LAKE PANASOFFKEE   FL    33538‐6256

HOWARD L PEAK                                   11503 CAROLINA RD                                                                                CLEVELAND          OH    44108‐3705
HOWARD L PHELPS JR                              300 ATWATER ST                                                                                   LAKE ORION         MI    48362‐3303
HOWARD L RAINWATER                              829 GERALD                                                                                       FERGUSON           MO    63135‐1317
HOWARD L RESNIKOFF                              316 MID VALLEY CENTER                   APT 281                                                  CARMEL             CA    93923‐8516
                                           09-50026-mg                   Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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HOWARD L ROBINSON & GEORGIA A ROBINSON JT TEN    200 PEYTON PLACE SW                    APT 12103                                                ATLANTA           GA    30311

HOWARD L ROSEBROOK                               2823 HINDE AVE                                                                                  SANDUSKY          OH    44870‐5957
HOWARD L ROSENMAYER                              164 BRANDON COURT                                                                               BOLINGBROOK       IL    60440‐1804
HOWARD L SCHAMEL                                 182 CHOCTAW CIR                                                                                 FRANKLIN          OH    45005
HOWARD L SCHROEDER                               HC 109                                 BOX 31                                                   CABALLO           NM    87931‐9703
HOWARD L SMITH                                   PO BOX 489                                                                                      MARLIN            TX    76661‐0489
HOWARD L SMOLT                                   W6292 FAWN LN                                                                                   PESHTIGO          WI    54157‐9451
HOWARD L SPESSARD                                2273 HALES WAY                         APT 112                                                  WILLIAMSBURG      OH    45176‐8800
HOWARD L STANLEY                                 398 CITATION DRIVE                                                                              CANTONMENT        FL    32533‐7463
HOWARD L STCLAIR                                 9314 SNYDER LANE                                                                                PERRY HALL        MD    21128‐9415
HOWARD L TERRY                                   19340 MAGNOLIA                                                                                  SOUTHFIELD        MI    48075‐4165
HOWARD L THOMPSON                                753 N HILLSDALE                                                                                 TUPELO            MS    38801‐2978
HOWARD L THOMPSON                                737 BARKWOOD CT                                                                                 CARMEL            IN    46032‐3442
HOWARD L TUBB                                    27573 BRISTOL DR                                                                                WARREN            MI    48092‐3005
HOWARD L VIRES                                   43 ERIC DR                                                                                      MONROE            MI    48162‐9259
HOWARD L VOGELAAR                                8702 FERGUS RD                                                                                  ST CHARLES        MI    48655‐9610
HOWARD L WATKINS & BLONDELL L WATKINS JT TEN     36 N EASTWAY DR                                                                                 PONTIAC           MI    48342‐2929

HOWARD L WEISEL                                  14712 WHITE LANE CT                                                                             CHESTERFIELD      MO    63017‐7955
HOWARD L WEISZ JR & ANN H WEISZ TEN ENT          3421 HIDDEN LK DR W                                                                             JACKSONVILLE      FL    32216‐6329
HOWARD L WHITESIDE JR                            1532 EUCLID                                                                                     LINCOLN PARK      MI    48146
HOWARD L WILCOX JR                               26351 W CEDAR NILES CIR                                                                         OLATHE            KS    66061‐7478
HOWARD L WINTER TR HOWARD L & LILLIAN A WINTER   24500 METROPOLITAN PARKWAY                                                                      CLINTON TWP       MI    48035
TRUST UA 9/15/94
HOWARD LAVINE                                    7841 S W 129 TERRACE                                                                            MIAMI             FL    33156‐6153
HOWARD LEE GRIFFIN                               2303 AVENUE P                                                                                   HUNTSVILLE        TX    77340‐5510
HOWARD LEE SCHWARTZ                              #6‐G                                   455 E 14 ST                                              NEW YORK          NY    10009‐2835
HOWARD LEON ALDERMAN                             1272 MAPLEVIEW ST S E                                                                           KENTWOOD          MI    49508
HOWARD LEONIDUS MILLER                           61171 HITCHING POST LN                                                                          BEND              OR    97702‐2519
HOWARD LEU                                       130 WEST OSHKOSH STREET                                                                         RIPON             WI    54971‐1005
HOWARD LEVINE                                    90 GLENBROOKE                          DALLARD DES ORMEAUX QC                 H9A 2L8 CANADA
HOWARD LEWIS KUEHNE                              716 ABBEY ARCH                                                                                  VIRGINIA BEACH    VA    23455‐6502
HOWARD LOCKWOOD                                  133 ASCAN AVE                                                                                   FOREST HILLS      NY    11375‐5948
HOWARD M ADDISON                                 PO BOX 1504                                                                                     ST STEPHEN        SC    29479‐1504
HOWARD M BAIN & MELANIE BAIN JT TEN              645 KINCAID                                                                                     HIGHLAND PARK     IL    60035‐5037
HOWARD M CANTOR                                  3143 GALENA ST                                                                                  DENVER            CO    80238
HOWARD M DAMRON                                  10018 SERENITY SHORES                                                                           ROCKFORD          MI    49341‐8752
HOWARD M DAVIS                                   4706 PRIEN BLUFF DR                                                                             LAKE CHARLES      LA    70605‐7720
HOWARD M FIGHTS                                  E 9TH                                                                                           MATTHEWS          IN    46957
HOWARD M FULLER & HELEN B FULLER TR FULLER       3939 WALNUT AVE                        UNIT 246                                                 CARMICHAEL        CA    95608‐7312
FAMILY TRUST UA 01/15/98
HOWARD M GILLIAM                                 8565 HICKORY RIDGE RD                                                                           HOLLY             MI    48442‐8900
HOWARD M HARRIS                                  2360 N RAIDER RD                                                                                SHIRLEY           IN    47384‐9500
HOWARD M HILDRETH TR UA 10/22/93 HILDRETH        2701 CATTAIL CT                                                                                 LONGWOOD          FL    32779‐4846
FAMILY REVOCABLE TRUST
HOWARD M JENKINS JR                              1823 AZALEA AVE                                                                                 PORTSMOUTH        VA    23704‐4339
HOWARD M MASON                                   183 3RD AVE # 626                                                                               CHULA VISTA       CA    91910
HOWARD M MC CORMACK & PATRICIA R MC CORMACK      28 HUNTINGTON RD                                                                                GARDEN CITY       NY    11530‐3102
JT TEN
HOWARD M MITCHELL                                2411 8TH ST                                                                                     WYANDOTTE         MI    48192‐4349
HOWARD M MORSE                                   PO BOX 2267                                                                                     SAN RAFAEL        CA    94912‐2267
HOWARD M MOY                                     17 AVONWOOD BLVD                                                                                ROCHESTER HILLS   MI    48309‐2047
HOWARD M PRICE                                   124 ESTES COURT                        SALEM WOODS                                              NEWARK            DE    19702‐2830
HOWARD M RAY JR                                  983 S MAIN ST                                                                                   MOUNT PLEASANT    TN    38474‐1681

HOWARD M ROBERSON                                4308 W LANG ROAD                                                                                BEAVERTON         MI    48612‐9721
HOWARD M SHERWOOD                                345 S EVERY RD                                                                                  MASON             MI    48854‐9484
HOWARD M SIMPSON                                 148 LOCUST POINT ROAD                                                                           ELKTON            MD    21921‐7742
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HOWARD M SMITH                                   6422 SHENANDOAH WAY                                                                            MADISON           WI    53705‐2543
HOWARD M SMITH                                   85 W MILLER RD                                                                                 LA FONTAINE       IN    46940‐9100
HOWARD M TANNER                                  17285 RIVER BIRCH DRIVE APT 11                                                                 BROOKFIELD        WI    53045
HOWARD M THOMAS                                  7455 MCCLIGGOTT RD                                                                             SAGINAW           MI    48609‐5082
HOWARD M TRUAX                                   185 E 500 N                                                                                    LEBANON           IN    46052‐9330
HOWARD M WALTERS                                 P O 485                                                                                        FREDERICKTOWN     PA    15333‐0485
HOWARD MAHALEY                                   PO BOX 823                                                                                     DOWAGIAC          MI    49047‐0823
HOWARD MALCOLM GREEN                             1545 MEADOW BRANCH AVE                                                                         WINCHESTER        VA    22601‐6702
HOWARD MARC WEISS                                99 CAYUGA ROAD                                                                                 YONKERS           NY    10710‐5145
HOWARD MC CREARY                                 RR 4                                  WALLACEBURG ON                         N8A 4L1 CANADA
HOWARD MCKINNON                                  4118 CLEVELAND AVE                                                                             MONTGOMERY        AL    36105
HOWARD MICHAEL BERGER                            5 NOTCH CT                                                                                     DIX HILLS         NY    11746‐5700
HOWARD MILLER JR                                 5720 LEAR NAGLE RD                                                                             N RIDGEVILLE      OH    44039‐2122
HOWARD MIRACLE TOD CHRISTOPHER H MIRACLE         1124 COBB RD                                                                                   SAVANNAH          GA    31410
SUBJECT TO STA TOD RULES
HOWARD MIRSKY                                    1755 WYNDHAM DR                                                                                S YORK            PA    17403‐5914
HOWARD MOHR                                      338 OBERLE AVE                                                                                 BALTO             MD    21221‐4704
HOWARD MOORE                                     804 ARRINGTON DR                                                                               SILVER SPRINGS    MD    20901‐1402
HOWARD MOSS                                      5625 EMERALD RIDGE PKWY                                                                        SOLON             OH    44139‐1860
HOWARD N BOYAJIAN                                913 RANDALL RD                                                                                 LAWRENCE          KS    66049‐3244
HOWARD N FOX & CHARLYN J FOX JT TEN              PO BOX 11331                                                                                   TERRE HAUTE       IN    47801‐1331
HOWARD N MIETZ                                   305 HIGH ST                           #1                                                       LOCKPORT          NY    14094‐4601
HOWARD N MILLIGAN                                4617 MIDLAND STREET                                                                            WATERFORD         MI    48329‐1838
HOWARD N REEDER                                  #31                                   53 N MOUNTAIN RD                                         APACHE JUNCTION   AZ    85220‐3556

HOWARD N ROGERS                                  12950 N U 31                                                                                   EDINBURG          IN    46124
HOWARD N SORENSEN                                350 COUNTY ROAD 514                                                                            RAINSVILLE        AL    35986‐4132
HOWARD N WOOD                                    11225 S BAKER RD                                                                               ATLANTA           MI    49709‐9386
HOWARD NATTER                                    APT 3D                                165 WEST END AVE                                         NEW YORK          NY    10023‐5505
HOWARD O BACKHAUS                                8490 ACORNE AVE                                                                                MILAN             MI    48160‐9509
HOWARD O GORMAN                                  24 ANDOVER ROAD                                                                                SPARTA            NJ    07871‐1002
HOWARD O MC NEAL                                 6354 RUSTIC RIDGE TR                                                                           GRAND BLANC       MI    48439‐4957
HOWARD O MIELKE & MARY LOU MIELKE JT TEN         2417 GROVE RIDGE DR                                                                            PALM HARBOR       FL    34683‐3220
HOWARD O RICHMOND                                3879 DALEY RD                                                                                  ATTICA            MI    48412‐9236
HOWARD O TOWELL                                  22425 PRESTIGE DR N                                                                            HOLT              MO    64048‐8779
HOWARD O WILSON                                  5421 CLINTON ST RD                                                                             BATAVIA           NY    14020‐9723
HOWARD P CARTER TR CARTER 1995 FAMILY TRUST UA   1361 LIMONITE ST                                                                               HEMET             CA    92543‐7828
01/18/95
HOWARD P CUPPLES                                 1022 SANDPIPER LN                                                                              ANNAPOLIS         MD    21403‐4633
HOWARD P GARMAN                                  2400 SW 86TH AVE                                                                               DAVIE             FL    33324‐5758
HOWARD P GREEN IV                                500 S 24TH ST                                                                                  PHILADELPHIA      PA    19146
HOWARD P HAIMOWITZ                               POBOX 752                                                                                      DEERFIELD BCH     FL    33443
HOWARD P JORDAN                                  1200 SMUGGLERS WAY                                                                             CENTERVILLE       OH    45459‐5894
HOWARD P KAUFFMAN                                SUITE 1720                            1919 CHESTNUT ST                                         PHILADELPHIA      PA    19103‐3429
HOWARD P OLIVER                                  16590 OAKFIELD                                                                                 DETROIT           MI    48235‐3409
HOWARD P SCHWEIKHART                             10 LAKEVIEW CT                                                                                 SPRINGBORO        OH    45066‐9572
HOWARD P SCHWEIKHART & NORMA E SCHWEIKHART       10 LAKEVIEW CT                                                                                 SPRINGBORO        OH    45066‐9572
JT TEN
HOWARD P SEAMES                                  PO BOX 314                                                                                     COLUMBIAVILLE     MI    48421‐0314
HOWARD P SKINNER                                 74 FRONT ST                                                                                    HUME              IL    61932‐7237
HOWARD P THOMAS                                  94 PIRES DRIVE                                                                                 OAKDALE           CT    06370‐1313
HOWARD P WALLACE                                 9276 E ML AVE                                                                                  GALESBURG         MI    49053‐9628
HOWARD P WHITE                                   206 HARGROVE RD E                                                                              TUSCALOOSA        AL    35401‐5028
HOWARD PAGEL                                     5700 LIVERNOIS                                                                                 TROY              MI    48098
HOWARD PAI                                       94‐541 MAHINAHOU ST                                                                            MILILANI          HI    96789‐2215
HOWARD PALATSKY CUST JUSTIN PALATSKY UTMA NJ     867 WILLIAMSBURG BLVD                                                                          DOWNINGTOWN       PA    19335‐4124

HOWARD PAXSON KEATES CUST CHARLES PAXSON         OXFORD APTS                           APT 801                                                  VENTNOR CITY      NJ    08406
UGMA NJ
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HOWARD PUTMAN                                   PO BOX 423                                                                                      HAZEL PARK        MI    48030‐0423
HOWARD Q WONG                                   224 E RED OAK DR E                                                                              SUNNYVALE         CA    94086‐6646
HOWARD R ADWELL                                 208 SIMMENTAL LANE                                                                              GLASGOW           KY    42141‐3512
HOWARD R BARNES                                 14801 CAVELL                                                                                    LIVONIA           MI    48154‐3974
HOWARD R BARTON & MARY E BARTON JT TEN          25 WEST HILL ROAD                                                                               LUDLOW            VT    05149‐9680
HOWARD R FREELOVE                               36 CLARA AVE                                                                                    WARWICK           RI    02889‐4606
HOWARD R GENG                                   1103‐1ST ST S                                                                                   MOORHEAD          MN    56560‐4001
HOWARD R HADDEN                                 R 1 BOX 234 CARTHAGE                                                                            CALIFORNIA        KY    41007‐9525
HOWARD R HATSCHEK                               8630 BRIARBROOK CIRCLE                                                                          ORANGEVALE        CA    95662‐2652
HOWARD R HATSCHEK & HELENE M HATSCHEK JT TEN    8630 BRIARBROOK CIR                                                                             ORANGEVALE        CA    95662‐2652

HOWARD R HAYWARD                                31683 CARLISLE                                                                                  WAYNE             MI    48184‐1941
HOWARD R HAYWARD & DOROTHY HAYWARD JT TEN       31683 CARLISLE                                                                                  WAYNE             MI    48184‐1941

HOWARD R HUNT                                 7619 CARSON AVE                                                                                   BALTIMORE         MD    21224‐3209
HOWARD R JOHNSON & MRS NANCY L JOHNSON JT TEN AUSTIN HILL                              PO BOX 244                                               ROCHESTER         VT    05767‐0244

HOWARD R JONES                                  231 CLARENCE ODELL RD                                                                           BOWLING GREEN     KY    42101‐8241
HOWARD R JONES                                  3781 US RT 422 NW                                                                               SOUTHINGTON       OH    44470‐9504
HOWARD R JONES                                  849 BROOKSTONE CT                                                                               SAINT JOHNS       FL    32259‐4321
HOWARD R JONES & ANNA D JONES JT TEN            849 BROOKSTONE CT                                                                               SAINT JOHNS       FL    32259‐4321
HOWARD R JORDAN                                 101 SHAWNEE TRAIL                                                                               MARTIN            GA    30557‐2040
HOWARD R KUHL                                   124 KIMBERLY DR                                                                                 EDMOND            OK    73003‐2376
HOWARD R LEIB                                   133 W CYPRESS RD                                                                                LAKE WORTH        FL    33467‐4815
HOWARD R MARDIN                                 BOX 315                                                                                         FALLBROOK         CA    92088‐0315
HOWARD R MARQUIS                                PO BOX 1041                                                                                     HOOD RIVER        OR    97031‐0035
HOWARD R ROLLINS                                656 S EUREKA AVE                                                                                COLUMBUS          OH    43204‐2911
HOWARD R SACHS                                  PO BOX 40556                                                                                    GLEN OAKS         NY    11004‐0556
HOWARD R SERLIN                                 6857 CONCORD LANE                                                                               NILES             IL    60714‐4431
HOWARD R SMITH                                  8202 STATE RD                                                                                   GOODRICH          MI    48438‐9799
HOWARD R STEPP                                  3887 MAYFAIR DR                                                                                 GROVE CITY        OH    43123‐9015
HOWARD R STEVENS & LEILA OMADEAN STEVENS JT TEN 6448 ORINOCO AVE                                                                                INDIANAPOLIS      IN    46227‐4867

HOWARD R STRICKLAND                             1493 RUSHWOOD CRES                     WINDSOR ON                             N9H 2A5 CANADA
HOWARD R WHITLOCK                               1200 WELLINGTON RD                                                                              COLONIAL HEIGHTS VA     23834‐2737

HOWARD R WILSON                                 2094 FRIAR TUCK CIR                                                                             ADRIAN            MI    49221‐2754
HOWARD R WILSON                                 1764 HECK HILL RD                                                                               SAINT PARIS       OH    43072‐9348
HOWARD R WOJAHN                                 3144 TERESA ST                                                                                  PORTAGE           IN    46368
HOWARD RAAB                                     1155 HILLSBORO MILE APT 104                                                                     HILLSBORO BEACH   FL    33062‐1742

HOWARD RAST                                     PO BOX 362                                                                                      AMARGOSA VLY      NV    89020
HOWARD ROITMAN CUST JULIA CATHERINE ROITMAN     2275 MONACO PKWY                                                                                DENVER            CO    80207‐3952
UGMA CO
HOWARD ROSEN                                    3590 TORREY VIEW COURT                                                                          SAN DIEGO         CA    92130
HOWARD ROSEN                                    42 SPRING HOLLOW                                                                                NORTH HILLS       NY    11576‐2841
HOWARD ROSENBERG                                12300 BARLEY HILL RD                                                                            LOS ALTOS HILLS   CA    94024‐5232
HOWARD S BROOKS & SUZANNE D FRIEZE JT TEN       50 FORSYTHIA LN                                                                                 JERICHO           NY    11753‐2337
HOWARD S BROWN AMD EST RONALD F BROWN SR        70 FRANKLIN ST                                                                                  TORRINGTON        CT    06790‐5508

HOWARD S BUCKLES                                1301 N MONROE DR                                                                                XENIA             OH    45385‐1623
HOWARD S CHAPMAN                                28650 SETTLERS LANE                                                                             PEPPER PIKE       OH    44124‐4571
HOWARD S DANTOWITZ                              8 PACKARD RD                                                                                    PEABODY           MA    01960‐4534
HOWARD S DOMIN                                  950 SOUTH GARCIA #165                                                                           PORT ISABEL       TX    78578‐4013
HOWARD S FORD II                                455 ROGERS LAKE ROAD                                                                            VINE GROVE        KY    40175
HOWARD S HAFER & DOROTHY R HAFER TEN ENT        8287 SW 116TH ST                                                                                OCALA             FL    34481‐5098
HOWARD S HOAG JR                                811 N SCHOOL RD                                                                                 STERLING          MI    48659‐9777
HOWARD S HOOVER                                 2139 BURNING TREE CIR                                                                           SEBRING           FL    33872‐4022
HOWARD S KROPP                                  PO BOX 857                                                                                      KIMBERTON         PA    19442‐0857
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HOWARD S KROPP & ANNE K KROPP JT TEN          PO BOX 857                                                                                      KIMBERTON        PA    19442‐0857
HOWARD S KUNCKEL                              8585 STEARNS RD                                                                                 CEMENT CITY      MI    49233‐9709
HOWARD S LEVELY & BETTY J LEVELY JT TEN       2450 KROUSE RD                         APT 327                                                  OWOSSO           MI    48867‐8305
HOWARD S MACKAY                               10460 GRUBBS ROAD                                                                               WEXFORD          PA    15090‐9422
HOWARD S NETZLY & BETTY LOU NETZLY JT TEN     1535 REX DR                                                                                     ORRVILLE         OH    44667‐1138
HOWARD S SEAMAN                               445 OHIO AVE                                                                                    FREMONT          OH    43420‐4119
HOWARD S VANDERBURG                           8990 LAMAR                                                                                      OLIVE BRANCH     MS    38654
HOWARD S WERTHEIMER                           5177 STRATHAM DR                                                                                ATLANTA          GA    30338‐4343
HOWARD SANDE FELDMAN                          821 BLEEKER AVE                                                                                 MAMARONECK       NY    10543‐4518
HOWARD SCHUITEMA CUST MICHAEL SCHUITEMA       4707 40TH ST S E                                                                                GRAND RAPIDS     MI    49512‐4038
UGMA MI
HOWARD SEVEL                                  6312 BARNESDALE PATH                                                                            CENTREVILLE      VA    20120‐3900
HOWARD SHAPIRO                                428 BETZ PL                                                                                     METAIRIE         LA    70005‐4402
HOWARD SIDNEY HILBORN                         70 BALL GAP RD                                                                                  ARDEN            NC    28704‐8747
HOWARD SIMONS                                 BOX 408                                                                                         SHINGLEHOUSE     PA    16748‐0408
HOWARD SIMONS                                 7 MEADOWBROOK RD                       APT 1                   TORONTO ON     M6B 2S3 CANADA
HOWARD SIMPSON                                41 ELLEN CIRCLE                                                                                 HAMILTON         OH    45011‐5860
HOWARD SLACK                                  537 SOUTH 8TH ST                                                                                HAMILTON         OH    45011‐3671
HOWARD SMITH PEASE 3RD                        41 URBAN ST                                                                                     STAMFORD         CT    06905‐3966
HOWARD SOBEL                                  1280 COMMONWEALTH AVE                  APT 5F                                                   BRONX            NY    10472‐2814
HOWARD SOBEL CUST NATHANIEL JACOB SOBEL UGMA 1000 PARK AVE                                                                                    NEW YORK         NY    10028‐0934
NY
HOWARD SPENCER II                             PO BOX 791                                                                                      OWOSSO           MI    48867‐0791
HOWARD STANLEY MCELNEA JR                     293 RT 2001                                                                                     MILFORD          PA    18337‐9716
HOWARD STEPHEN GREENHOUSE & ELAINE            15 SUNNYSIDE BLVD                                                                               PLAINVIEW        NY    11803‐1509
GREENHOUSE JT TEN
HOWARD STERN & SHEILA STERN JT TEN            5 DONNYBROOK PLACE                                                                              YONKERS          NY    10710‐2303
HOWARD STEVEN MITZ                            1570 MAIN ST                                                                                    SUGAR HILL       NH    03585‐4207
HOWARD STRAIN                                 5414 FLETCHER                                                                                   FT WORTH         TX    76107‐6720
HOWARD SWANSON                                3502 AUBREY DR                                                                                  JOHNSBURG        IL    60051‐5429
HOWARD SWINTON                                517 W CHESTNUT                                                                                  ALBION           MI    49224‐1234
HOWARD T ADAMS                                730 WALTER CALDWELL RD                                                                          DAHLONEGA        GA    30533‐1727
HOWARD T BARBIG & THOMAS H BARBIG TR HOWARD T 5144 SAN MIGUEL ST                                                                              MILTON           FL    32583‐5636
BARBIG TRUST UA 3/17/94
HOWARD T CLEVENGER                            9805 NORDIC DRIVE                                                                               VALLEY STATION   KY    40272‐2836
HOWARD T DAIL JR & JOANN M DAIL JT TEN        327 SULLIVAN DR                                                                                 ABINGDON         MD    21009‐1534
HOWARD T ENNIS JR                             KISPIOX RD SITE L BOX 8 RR1            HAZELTON BC                            V0J 1Y0 CANADA
HOWARD T FERGUSON II                          2776 RAVEN GLASS RD                                                                             WATERFORD        MI    48329‐2643
HOWARD T FORREST                              100 BRIDGE PARK CT                                                                              STOCKBRIDGE      GA    30281‐3318
HOWARD T HUBER                                PO BOX 447                                                                                      HAZEN            ND    58545‐0447
HOWARD T HULSEY                               2508 RAMPLEY TR                                                                                 CANTON           GA    30114‐5324
HOWARD T HUNT & ALICE M HUNT JT TEN           9335 SOUTHWEST 43RD TERRACE                                                                     MIAMI            FL    33165‐5232
HOWARD T MONROE                               705 W FLINT ST                                                                                  DAVISON          MI    48423‐1009
HOWARD T WHITT                                G3330 E HEMPHILL RD                                                                             BURTON           MI    48529
HOWARD TANG & HELEN TANG TR TANG LIVING TRUST 6527 N 20TH AVE                                                                                 PHOENIX          AZ    85015‐1504
UA 12/29/99
HOWARD TANNER                                 13 TOWPATH LN                                                                                   WATERFORD        NY    12188‐4012
HOWARD THOMAS & MRS BARBARA PEREGOY JT TEN    26609 S 80TH AVE                                                                                MONEE            IL    60449‐9554

HOWARD TIMOTHY WOOD                            3374 VENSON DRIVE                                                                              BARTLETT         TN    38134‐3502
HOWARD TOCKER & MRS JUDITH ANITA TOCKER JT TEN 20 PASTURE GATE LANE                                                                           DELMAR           NY    12054‐4328

HOWARD V EMERY                                 920 EVERGREEN LANE                                                                             MASON            MI    48854
HOWARD V ERICKSON                              736 ELM ST N APT 7                                                                             FARGO            ND    58102‐3859
HOWARD V KILROY                                403 HAZELWOOD LN                                                                               GLENVIEW         IL    60025
HOWARD V PERRY                                 APT 107                               1355 N E 167TH STREET                                    NORTH MIAMI      FL    33162‐2701
                                                                                                                                              BEACH
HOWARD V VIVIAN & BENITA VIVIAN JT TEN         2021 JEFFREY LN                                                                                ELGIN            IL    60123‐1246
HOWARD V WILLIAMS                              336 RUGBY AVE                                                                                  ROCHESTER        NY    14619‐1245
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Name                                         Address1                              Address2             Address3          Address4          City              State Zip

HOWARD VALENTINE YARUS                       PO BOX 270                                                                                     DAHLGREN          VA    22448‐0270
HOWARD VANDEGUCHTE                           1124 S PARK AVENUE                                                                             FOND DU LAC       WI    54935‐8032
HOWARD VOBIS                                 408 AVENUE N                                                                                   MATAMORAS         PA    18336‐1612
HOWARD W BAILEY                              85 BARRYMORE LANE                                                                              DAYTON            OH    45440‐3403
HOWARD W BECKER                              1738 BASS ROAD                                                                                 WATERPORT         NY    14571‐9734
HOWARD W BEVEL                               14 3RD AVENUE                                                                                  N TONAWANDA       NY    14120‐6628
HOWARD W BIGGS                               8475 ILENE DR                                                                                  CLIO              MI    48420‐8552
HOWARD W BOLD                                3090 WHITE TIMBER ROAD                                                                         SPRINGFIELD       IL    62707‐9158
HOWARD W CHARLES                             451 NORTH AVE                                                                                  SKOWHEGAN         ME    04976‐4022
HOWARD W CHESNEY                             9403 ROSEDALE BLVD                                                                             ALLEN PARK        MI    48101‐1649
HOWARD W DOVER                               3078 WILLIAMSBURG DR                                                                           STATE COLLEGE     PA    16801‐3015
HOWARD W DURLING                             11512 HENDERSON ROAD                                                                           FLUSHING          MI    48433‐9601
HOWARD W EMERY                               53 CENTER RD                          ORCHARD BEACH                                            VERMILION         OH    44089‐3069
HOWARD W FRITZKE                             5831 TONAWANDA CREEK ROAD                                                                      LOCKPORT          NY    14094‐7939
HOWARD W HAAS                                2257 ST JOSEPH                                                                                 W BLMFLD TWP      MI    48324‐1869
HOWARD W HENRY                               5715 CASTLE HILL DR                   APT 814                                                  INDIANAPOLIS      IN    46250‐5607
HOWARD W HILL                                PO BOX 45                                                                                      MELVIN            MI    48454‐0045
HOWARD W HUFF                                3454 HELENA DRIVE                                                                              IMPERIAL          MO    63052
HOWARD W KEYS                                GRANDVIEW COURT R D 1                                                                          PENNS GROVE       NJ    08069‐9801
HOWARD W KUHLMAN                             2057 RIDGEFIELD COURT                                                                          ROCHESTER HILLS   MI    48306‐4046
HOWARD W LIVINGSTON                          11560 BUELL ST                                                                                 SANTA FE SPGS     CA    90670‐4304
HOWARD W LUECK                               111 E JEFFERSON AVE                   PO BOX 359                                               NAPERVILLE        IL    60566‐0359
HOWARD W MASELES                             1 RUNNYMEDE LANE                                                                               MADISON           CT    06443‐3452
HOWARD W MCCLINTOCK                          RD 13                                 2996 SOUTH ST                                            LAPEL             IN    46051
HOWARD W MCKEEVER JR                         240 SOUTH SAINT JACQUES                                                                        FLORISSANT        MO    63031‐6951
HOWARD W PARANT                              14447 KOLIN AVE                                                                                MIDLOTHIAN        IL    60445‐2655
HOWARD W PERUSEK                             8311 WATER ST                                                                                  GARRETTSVILLE     OH    44231‐1229
HOWARD W PETTINARO                           PO BOX 125                                                                                     LAYLAND           WV    25864‐0125
HOWARD W PHILLIPS                            610 LUMMUS RD                                                                                  CUMMING           GA    30040
HOWARD W POWELL                              3732 BOWMAN CIRCLE DR NE                                                                       CLEVELAND         TN    37312‐5017
HOWARD W REDDEN                              369 W BROADWAY                                                                                 PLYMOUTH          OH    44865‐1085
HOWARD W REED                                4267 PRESERVE PL                                                                               PALM HARBOR       FL    34685‐4033
HOWARD W RITTER                              3132 STATE ROUTE 21                                                                            CANANDAIGUA       NY    14424
HOWARD W SCHUTZ TR HOWARD W SCHUTZ LIVING    BOX 4363                                                                                       CARMEL            CA    93921‐4363
TRUST UA 06/09/95
HOWARD W SMITH                               836 CINNAMON DRIVE S W                                                                         WINTER HAVEN      FL    33880
HOWARD W SMITH                               PO BOX 7005                                                                                    DEFIANCE          OH    43512‐7005
HOWARD W STEPHENS                            3439 RINGLE RD                                                                                 AKRON             MI    48701‐9519
HOWARD W STEPLER                             5440 CARDO RD                                                                                  FT LORAMIE        OH    45845‐9764
HOWARD W STUDT JR                            401 N HURD RD                                                                                  ORTONVILLE        MI    48462‐9418
HOWARD W TRACY                               745 N 300 W                                                                                    GREENFIELD        IN    46140‐7980
HOWARD W TURNER                              1415 SUNNYSIDE AVENUE                                                                          FLINT             MI    48503‐2718
HOWARD W YORK                                4333 24TH AVENUE                      LOT 130                                                  FORT GRATIOT      MI    48059‐3863
HOWARD W ZUCKER                              205 HOYER COURT                                                                                WILMINGTON        DE    19803
HOWARD WAGNER                                28 CHERRY LN                                                                                   PUTNAM VALLEY     NY    10579‐2507
HOWARD WALKER                                2128 MONTCLAIR                                                                                 DETROIT           MI    48214‐3168
HOWARD WARDEN                                39 MOAK DRIVE                                                                                  HAZLET            NJ    07730‐1442
HOWARD WENZEL                                2160 PARKSIDE DR                                                                               OSHKOSH           WI    54901‐1792
HOWARD WESLEY ELLEDGE                        3917 WINFIELD AVE                                                                              FORT WORTH        TX    76109‐3727
HOWARD WILKERSON                             260 FIELDSTONE DR APT 6                                                                        DAYTON            OH    45426‐6810
HOWARD WILLIAMS                              15065 WILDEMERE                                                                                DETROIT           MI    48238‐2160
HOWARD WOODARD                               PO BOX 26400                                                                                   DAYTON            OH    45426‐0400
HOWARD Y COOPER & BARBARA M COOPER TEN ENT   708 BROAD ST                                                                                   PERKASIE          PA    18944‐2901

HOWARD ZUCKERMAN & MRS SUSAN ZUCKERMAN JT    4 CLIFFSIDE DR                                                                                 SARATOGA SPGS     NY    12866‐8414
TEN
HOWARD ZUCKERMAN CUST JONATHAN ZUCKERMAN     1 BATTERY PARK PLZ                                                                             NEW YORK          NY    10004‐1405
UGMA NY
HOWEL W SANDLIN                              2588 EAGLE SCHOOL RD                                                                           MARTINSBURG       WV    25404‐0627
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HOWELL C BOATRIGHT                                1802 TWO NOTCH ROAD SE                                                                        AIKEN            SC    29803‐5459
HOWELL C JONES JR CUST ELEANOR HOYT JONES UGMA BOX 40                                                                                           SHELDON          SC    29941‐0040
SC
HOWELL C JONES JR CUST HOWELL C JONES III UGMA SC BOX 40                                                                                        SHELDON          SC    29941‐0040

HOWELL CARLISLE JONES III U/GDNSHP OF ELAINE JONES DRAWER 40                                                                                    SHELDON          SC    29941‐0040

HOWELL K TUTTLE                                  PO BOX 214                                                                                     MADISON          NC    27025‐0214
HOWELL LOVELL III & DONNA I LOVELL JT TEN        8826 GOLDY GLEN COURT                                                                          ELK GROVE        CA    95624‐3286
HOWLAND S FOOTE                                  8201 MANASOTA KEY RD                                                                           ENGLEWOOD        FL    34223‐9328
HOWSON HARTLEY                                   433 COUNTY HWY 40                                                                              WORCESTER        NY    12197
HOY A ALLMAN                                     617 DUTCH RD                                                                                   MOUNT PLEASANT   NC    28124‐9338

HOY A LYKINS                                   4760 WATERLOO RD                                                                                 BURLINGTON       KY    41005‐8612
HOY HUFF                                       900 PINE HILL RD                                                                                 JEFFERSONVILLE   KY    40337‐9794
HOY L BUSSELL                                  PO BOX 887                                                                                       HARROGATE        TN    37752‐0887
HOY V ROBINSON                                 40551 JUDD ROAD                                                                                  BELLEVILLE       MI    48111‐9193
HOYE ARMON                                     17393 INDIANA ST                                                                                 DETROIT          MI    48221‐2402
HOYET WILSON                                   1126 PIEDMONT DRIVE                                                                              ABILENE          TX    79601‐5548
HOYLE E EVANS                                  5005 CRIDDLE DRIVE                                                                               COLUMBIA         TN    38401‐5023
HOYLETON BOOSTERS 4‐H CLUB                     C/O WASHINGTON COUNTY                 U OF I EXT            9623 WALL STREET                     NASHVILLE        IL    62263‐0192
HOYT ALAN BOSTICK                              2019 YACHT VINDEX                                                                                NEWPORT BEACH    CA    92660‐6724
HOYT C BAGLEY                                  PMB 179                               420 WALMART WAY                                            DAHLONEGA        GA    30533‐0818
HOYT G TATE                                    3310 CHIMNEY POINT DRIVE                                                                         CUMMING          GA    30041‐7716
HOYT G TATE & AGNES B TATE JT TEN              3310 CHIMNEY POINT DRIVE                                                                         CUMMING          GA    30041‐7716
HOYT H PRINCE                                  2747 DUNCAN CREEK RD                                                                             RUSSELLVILLE     AL    35653‐5229
HOYT H WHEELER                                 420 ORE VALLEY RD                                                                                LAUREL SPGS      NC    28644‐8641
HOYT J BROWN                                   4200 PINETREE DR                                                                                 POWDER SPRGS     GA    30127‐1950
HOYT LEE FERRELL                               1201 WILD AZALEA TRAIL                                                                           WALESKA          GA    30183
HOYT T MCGARITY                                13215 IDYL DR                                                                                    LAKESIDE         CA    92040‐4707
HOYT W WALLACE & DORIS H WALLACE JT TEN        1133 SAINT CROIX CT                                                                              SAINT LOUIS      MO    63122‐2415
HOYT WADE                                      BOX 151                                                                                          ALTO             GA    30510‐0151
HOYT WEAVER                                    306 EDGEWOOD CIRCLE                                                                              CONWAY           SC    29527‐5636
HOYT WILSON HOWELL                             230 BASS LN                                                                                      MUNFORD          AL    36268‐5320
HOYT ZANDERS                                   62 MICHIGAN ST                                                                                   MOUNT CLEMENS    MI    48043‐5950
HOZEL ARMSTRONG                                237 OAKLAND ST                        APT 503                                                    TRENTON          NJ    08618‐3538
HRISHIKESH VINOD                               92 HILLSIDE AVE                                                                                  TENAFLY          NJ    07670‐2114
HRISTO HRISTOV                                 18663 BAINBRIDGE                                                                                 LIVONIA          MI    48152‐4302
HSBC BANK TR WILLIAM E HAYNES                  305 MOORE AVE                                                                                    BUFFALO          NY    14223‐1616
HSBC BANK USA TR CARL R CORP                   322 AUSTRALISM DR                                                                                ROTONDA WEST     FL    33947
HSI‐LUNG PAN & MRS ELLEN C PAN JT TEN          5208 PULLMAN AVE NE                                                                              SEATTLE          WA    98105‐2140
HSIAN TSU LIAO                                 PO BOX 2052                                                                                      LOS ALTOS        CA    94023‐2052
HSIAO TA CHOU & SU CHUN CHOU TR UA CHOU FAMILY 7128 CHIRCO DRIVE                                                                                SHELBY TWP       MI    48316‐3424
LIVING TRUST 07/24/91
HSIEN‐HENG CHEN                                4828 SEASONS DR                                                                                  TROY             MI    48098‐6621
HSIN YING LI                                   404 EMANN DRIVE                                                                                  CAMILLUS         NY    13031‐3017
HSIN‐LAN W CHANG                               1900 LYTTON SPRINGS RD                                                                           HEALDSBURG       CA    95448‐9146
HSIU HUNG CHEN                                 24231 WILSON DR                                                                                  BROWNSTOWN       MI    48183‐2572
HSUEH K MYAUO                                  5352 MINE RD                                                                                     KINZER           PA    17535
HUA‐CHING HU                                   2936 RANCHO BRASADO                                                                              CARLSBAD         CA    92009‐3030
HUBBARDSTON CEMETERY SOCIETY                   ATTN LINDA I BUTLER                   8001 HUBBARDSTON RD                                        HUBBARDSTON      MI    48845‐9612
HUBEART BROWN JR                               2106 PARKWOOD AVE                                                                                SAGINAW          MI    48601‐3509
HUBER S SPAHR                                  C/O S KNIGHT                          219 MELROSE AVENUE                                         MONROVIA         CA    91016‐2140
HUBERT A ARTHUR                                616 WINDSOR LN                                                                                   EVANSVILLE       WI    53536‐1198
HUBERT A BROUWER JR                            35000 SWEET LAKE DR                                                                              GOBLES           MI    49055‐9022
HUBERT A HAEHLING                              301 GUM TREE DRIVE                                                                               SAINT CHARLES    MO    63301‐1293
HUBERT A JORDAN                                6241 BLUFF ROAD                                                                                  INDIANAPOLIS     IN    46217‐3785
HUBERT A MARS & JAMES ADAMS MARS JT TEN        209 RAVINE WEST                                                                                  WILLOW SPRINGS   IL    60480‐1455
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Name                                           Address1                              Address2             Address3          Address4          City             State Zip

HUBERT A RUESSMAN                              11914 JASMINE CT                                                                               SHELBY TWP       MI    48315‐3355
HUBERT B BREZNAU                               12032 LOVEJOY RD                                                                               BYRON            MI    48418‐9079
HUBERT B OWENS JR                              PO BOX 236                                                                                     BOW              WA    98232‐0236
HUBERT BELCHER                                 21 S MAIN ST                                                                                   CLARKSTON        MI    48346‐1525
HUBERT BERNARDI                                11828 RAINTREE COURT                                                                           UTICA            MI    48315‐1156
HUBERT BERRY                                   22465 GIFFORD AVE                                                                              CICERO           IN    46034‐9783
HUBERT BOND                                    114 SOUTH 22ND ST                                                                              SAGINAW          MI    48601‐1449
HUBERT BOND & JAMEEL S BOND JT TEN             114 SOUTH 22ND ST                                                                              SAGINAW          MI    48601‐1449
HUBERT BUCHANAN                                5400 CARVER DR                                                                                 FORT WORTH       TX    76107‐7403
HUBERT C COFIELD & PATRICIA S COFIELD JT TEN   938 PRIBBLE CIRCLE                                                                             LAWRENCEBURG     IN    47025‐1025
HUBERT C COTTRELL                              5202 BRIDGEWATER LN                                                                            BRUNSWICK        OH    44212‐6258
HUBERT C HENDERSON JR                          2719 NE 56TH STREET                                                                            KANSAS CITY      MO    64119‐2633
HUBERT C HUFF                                  3979 MARS HILL RD                                                                              CUMMING          GA    30040‐6365
HUBERT C JOHNSTONE & MRS MARGERY S JOHNSTONE   3721 MT SANDY DR                                                                               SAN DIEGO        CA    92117‐5629
JT TEN
HUBERT C TUCKER                                10111 ALDEA AVE                                                                                NORTHRIDGE       CA    91325‐1546
HUBERT CAUSBIE                                 57 W CHICAGO                                                                                   PONTIAC          MI    48340‐1130
HUBERT D MILLS                                 3107 ANDREWS CHAPEL RD                                                                         THOMASTON        GA    30286‐4431
HUBERT DUNAHOO                                 ATTN GEORGE RUFF                      PO BOX 444                                               BOONEVILLE       MS    38829‐0444
HUBERT DURHAM                                  153 WILDWOOD NE RD                                                                             DALTON           GA    30721‐7656
HUBERT E ANDERSON                              5195 CANTON RD                                                                                 CARROLLTON       OH    44615‐9015
HUBERT E DESMOND                               51 BROAD REACH                        M 56A                                                    WEYMOUTH         MA    02191‐2228
HUBERT E MOYERS                                PO BOX 633                                                                                     STOCKBRIDGE      GA    30281‐0633
HUBERT E RETCHLESS                             R D 1 PLAINVILLE ROAD                                                                          MEMPHIS          NY    13112‐9801
HUBERT E RETCHLESS                             6908 PLAINVILLE ROAD                                                                           MEMPHIS          NY    13112
HUBERT E TORRENCE                              2235 CUSTER                                                                                    TROY             MI    48098‐6728
HUBERT EVANS & LAVERNE EVANS TR UA 02/10/88    815 SE KLEMGARD ST                    APT 134                                                  PULLMAN          WA    99163‐5418
HUBERT R EVANS & LAVERNE
HUBERT F BARNETT                               30 COUNTY ROAD 1159                                                                            CULLMAN          AL    35057‐0700
HUBERT F BURNS & PHYLLIS M BURNS JT TEN        19776 SWEET WATER RD                                                                           DRY RUN          PA    17220‐9703
HUBERT F HEALY JR                              9111 FAIRHAVEN AVE                                                                             UPPER MARLBORO   MD    20772‐5307

HUBERT F JOYNER                              41 MANSFIELD DR                                                                                  WILLISTON        SC    29853‐2713
HUBERT F LEMMONS                             1602 BROOKRIDGE DR SW                   APT 903                                                  DECATUR          AL    35601‐5672
HUBERT F SCHEUERMANN & JOSEPHINE SCHEUERMANN 6377 LOSEE LANE                                                                                  DAVISBURG        MI    48350‐3427
JT TEN
HUBERT F VOGELS                              1665 PLOVER CT                                                                                   CARLSBAD         CA    92009‐5032
HUBERT FUCIK                                 12571 NW 10TH ST                                                                                 SUNRISE          FL    33323‐3191
HUBERT G BAIR                                540 LIVE OAK AVE                                                                                 ORANGE CITY      FL    32763‐6727
HUBERT GRUBBS                                4146 WOODMERE DR                                                                                 YOUNGSTOWN       OH    44515‐3517
HUBERT H DUCKETT JR                          2266 E COUNTY ROAD 900 N                                                                         PITTSBORO        IN    46167‐9297
HUBERT H HARRISON                            PO BOX 192                                                                                       MIDDLETOWN       IN    47356‐0192
HUBERT H HEGE                                1312 ENTERPRISE RD                                                                               LEXINGTON        NC    27295‐7328
HUBERT H HILL                                6329 NIGHTWIND CT                                                                                DAYTON           OH    45424‐1358
HUBERT H RENNER TR HUBERT RENNER TRUST UA    PO BOX 3328                                                                                      RIVERSIDE        CA    92519‐3328
8/9/01
HUBERT H WISE                                2809 NORTH 12TH ST                                                                               CLINTON          IA    52732‐1958
HUBERT HIGHTOWER                             1300 MARTIN LUTHER KING JR BLVD         APT 316                                                  DETROIT          MI    48201‐2365
HUBERT HOWARD                                767 EAST 102 ST                                                                                  CLEVELAND        OH    44108‐2219
HUBERT HUNT                                  743 EAST 117 ST                                                                                  CLEVELAND        OH    44108‐2387
HUBERT I BLACKWELL                           5967 WILDWOOD TR                                                                                 LAKE             MI    48632‐8806
HUBERT J BAZEMORE                            ROUTE 7 BOX 39                                                                                   SYLVANIA         GA    30467‐9807
HUBERT J BLATNIK & CARL D BLATNIK JT TEN     907 HUDSON STREET                                                                                FOREST CITY      PA    18421‐1068
HUBERT J FORTON                              39410 N BLOM DRIVE                                                                               HARRISON         MI    48045‐1705
                                                                                                                                              TOWNSHIP
HUBERT J MEADOWS                               PO BOX 717                                                                                     RURAL RETREAT    VA    24368‐0717
HUBERT J PUCKETT & JEWELL D PUCKETT JT TEN     2313 13TH ST SE                                                                                DECATUR          AL    35601‐5305
HUBERT J TALAGA                                5625 S CHAPIN ROAD                                                                             MERRILL          MI    48637‐9787
HUBERT J TODD                                  9451 FLETCHER TRACE PKWY                                                                       LAKELAND         TN    38002‐4178
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Name                                                Address1                              Address2               Address3        Address4          City              State Zip

HUBERT J WILLIAMS                                   3216 BARRETT ST                                                                                ST LOUIS         MO     63107‐2401
HUBERT J WOODEN                                     2950 PLEASANT VALLEY                                                                           WINCHESTER       VA     22601‐4241
HUBERT K MILLER                                     1416 RIVER RD                                                                                  UPPER BLACK EDDY PA     18972‐9718

HUBERT K WOOTEN                                     905 FULTON STREET                                                                              RAEFORD           NC    28376‐1909
HUBERT KEILS                                        5130 80TH LANE N                                                                               ST PETERSBURG     FL    33709‐2242
HUBERT KILGORE III                                  13544 OHIO                                                                                     DETROIT           MI    48238‐2441
HUBERT KILGORE JR                                   13544 OHIO                                                                                     DETROIT           MI    48238‐2441
HUBERT L AMERSON                                    20135 SPENCE CAVE RD                                                                           ELKMONT           AL    35620‐5915
HUBERT L BROOKS                                     11039 OAKWOOD VILLAGE BLVD                                                                     MIAMISBURG        OH    45342‐4887
HUBERT L HAYDEN JR                                  5669 TROY VILLA BLVD                                                                           DAYTON            OH    45424‐2645
HUBERT L MORELAND                                   63 COUNTRYSIDE DRIVE                                                                           ST PETERS         MO    63376‐2038
HUBERT L OFER                                       955 EMERSON ST                                                                                 THOUSAND OAKS     CA    91362‐2447
HUBERT L STOGSDILL & GAYLIA E STOGSDILL JT TEN      1514 HUGHES AVE                                                                                FLINT             MI    48503‐3270

HUBERT L STOGSDILL JR                               1514 HUGHES ST                                                                                 FLINT             MI    48503‐3270
HUBERT L SUMMERS                                    PO BOX 66                                                                                      BUCYRUS           KS    66013‐0066
HUBERT LAROCQUE                                     73 LIONEL EMOND                       HULL QC                                J8Y 5R9 CANADA
HUBERT LEE & ANN W LEE JT TEN                       3106 ANN RD                                                                                    SMYRNA            GA    30080‐3806
HUBERT M ARONSON                                    12 BROOKVIEW DR                                                                                PLEASANTVILLE     NY    10570‐2352
HUBERT M BARLEY                                     PO BOX 2925                                                                                    BRISTOL           CT    06011‐2925
HUBERT M BERTHOLD & WINI S BERTHOLD JT TEN          723 POWELL DR NORTH EAST                                                                       FT WALTON BEACH   FL    32547‐1716

HUBERT M WALKER                                     6255 ERVIN                                                                                     MARLETTE          MI    48453‐1322
HUBERT M WINTERS                                    3639A MCDONALD                                                                                 ST LOUIS          MO    63116‐4731
HUBERT MABE                                         4929 HODGES DR                                                                                 SAN ANTONIO       TX    78238‐1930
HUBERT MASON                                        24823 SOLO VIEW                                                                                SAN ANTONIO       TX    78258‐6618
HUBERT MC INTOSH                                    60 REAR ALLSTON ST                                                                             SOMERVILLE        MA    02143‐2102
HUBERT MCELRATH                                     ATTN DELORES HAMILTON                 9907 SOUTH BLVD                                          CLEVELAND         OH    44108‐3437
HUBERT MONROE YEAGER JR                             8666 LAKE FORREST DRIVE                                                                        DOUGLASVILLE      GA    30134‐2230
HUBERT MONTGOMERY                                   408 CHESTNUT ST                                                                                DELTA             PA    17314‐8110
HUBERT MURRAY                                       5555 OAKMAN BLVD                                                                               DETROIT           MI    48204‐3010
HUBERT O GREENE & ANNETTE GREENE JT TEN             56 POTOMAC                                                                                     NILES             OH    44446‐2118
HUBERT O LEWIS                                      828 W CHURCH STREET                                                                            HARRISBURG        IL    62946‐1600
HUBERT P HAMMOND                                    629 CALDER AVE                                                                                 YPSILANTI         MI    48198‐8031
HUBERT PENNERS                                      BEETHOVENWEG 3                        41352 KORSCHENBROICH                   GERMANY
HUBERT R BECK                                       512 HOLLEY ST                                                                                  SAINT ALBANS      WV    25177‐3032
HUBERT R EPPERSON                                   108 WALNUT ST                                                                                  NEW TAZEWELL      TN    37825‐6568
HUBERT R KOCH & MRS EVELYN R KOCH JT TEN            2240 SOUTH 61ST ST                                                                             LINCOLN           NE    68506‐2747
HUBERT R PETERS                                     2705 HEADLAND DR                                                                               EAST POINT        GA    30344‐6635
HUBERT R REYNOLDS                                   403 SCHELBY TRAIL                                                                              BELLS             TX    75414
HUBERT R SNOWDEN & MARY A SNOWDEN JT TEN            PO BOX 623                                                                                     CRYSTAL BEACH     FL    34681‐0623
HUBERT RATCLIFF JR                                  91 MARYWOOD CT                                                                                 NEW ORLEANS       LA    70128‐2029
HUBERT ROBBINS                                      1876‐4 COLONIAL VILLAGE WAY                                                                    WATERFORD         MI    48328‐1960
HUBERT S SALLIS & MRS LATISHIA H SALLIS JT TEN      7315 S WABASH AVE                                                                              CHICAGO           IL    60619‐1624
HUBERT SCHUSSLER                                    GATHERSTR 28                          4005 MEERBUSCH 2                       GERMANY
HUBERT SMIGELSKI SR                                 1 SMIGELSKI LANE                                                                               PENNSVILLE        NJ    08070‐1956
HUBERT SMIGELSKI SR & PATRICIA A SMIGELSKI JT TEN   1 SMIGELSKI LN                                                                                 PENNSVILLE        NJ    08070‐1956

HUBERT T MOSCHELLA                                  2074 WOODGATE STREET                                                                           YOUNGSTOWN        OH    44515‐5603
HUBERT TOLMAN & NANCY M TOLMAN JT TEN               174 BLUE HERON RD                                                                              DUBACH            LA    71235‐3426
HUBERT VASCO ASBERRY                                2480 E STATE ROAD 38                                                                           NEW CASTLE        IN    47362‐9503
HUBERT W BROWN                                      24515 MARYLAND                                                                                 SOUTHFIELD        MI    48075‐3044
HUBERT W HOSKEY                                     7117 SCHOOLCRAFT DR                                                                            DAVISON           MI    48423‐2365
HUBERT W MILLER                                     1119 N ASHBURTON ST                                                                            BALTIMORE         MD    21216‐4304
HUBERT W RUSSELL SR                                 10800 HANNAN RD                                                                                BELLEVILLE        MI    48111‐4321
HUBERT W VICKERS                                    501 10TH ST                                                                                    BRODHEAD          WI    53520‐1454
HUBERT WILLIAMS                                     4610 BILLINGS                                                                                  FLINT             MI    48505‐3526
HUBERTHA J PALAIMA                                  8930 W 98TH PL                                                                                 PALOS HILLS       IL    60465‐1023
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Name                                            Address1                                Address2             Address3               Address4                 City              State Zip

HUBERTINA H PETRINIA                            21 WINTHROP DRIVE                                                                                            AIKEN             SC    29803‐6272
HUDICE B BOYD                                   20469 MANOR ST                                                                                               DETROIT           MI    48221‐1043
HUDSON BENNETT III & JERRY D BENNETT JT TEN     525 ERIC DRIVE                                                                                               TALLMADGE         OH    44278‐3002
HUE MORRIS                                      450 OLD OAK CT                                                                                               LOS ALTOS         CA    94022‐2682
HUEI LIN CHEN                                   224 SAN MORENO PL                                                                                            FREMONT           CA    94539‐3666
HUEI MEI TSAI                                   PO BOX 128                                                                                                   CRESTLINE         OH    44827‐0128
HUEI MEI TSAI                                   BOX 8                                                                                                        CRESTLINE         OH    44827‐0008
HUELET THOMAS                                   3215 MYRTLE                                                                                                  KANSAS CITY       MO    64128‐2150
HUETT P HALL                                    112 BLADEN RD                                                                                                BALTIMORE         MD    21221‐3723
HUEY CECIL JONES                                4062 PIPPIN ROAD                                                                                             COOKVILLE         TN    38501‐7808
HUEY G COPELAND                                 2234 SHAWNEE DRIVE S E                                                                                       GRAND RAPIDS      MI    49506‐5335
HUEY P CURTIS                                   1451 S MERIAN RD                                                                                             YOUNGSTOWN        OH    44511
HUEY P HERRON                                   PO BOX 4122                                                                                                  CENTER LINE       MI    48015‐4122
HUEY P LONG                                     8249 HWY 14 E                                                                                                JANESVILLE        WI    53545
HUEY P RICHARDSON                               1206 DERBY ST                                                                                                BERKELEY          CA    94702‐2212
HUGH A FALCONER                                 20 GOTHIC RD                            ASPENDALE VICTORIA                          3195 AUSTRALIA
HUGH A FREDERICK                                13254 N CLIO RD                                                                                              CLIO              MI    48420‐1025
HUGH A KINNEAR                                  4404 OGDEN DRIVE                                                                                             FREMONT           CA    94538‐2629
HUGH A MAYLE                                    108 WINDHAM ROAD                                                                                             NEWTON FALLS      OH    44444‐1253
HUGH A MILLER                                   54 CREE POINT DR                                                                                             MANKATO           MN    56001‐4855
HUGH A PRYTHERCH CUST A ALISON PRYTHERCH UGMA   1813 SHALER DR                                                                                               GLENSHAW          PA    15116‐2155
PA
HUGH A PRYTHERCH CUST M BRONWYN PRYTHERCH       24 LONGVIEW AVE                                                                                              FAIRFIELD         CT    06430‐6118
UGMA PA
HUGH A REYNOLDS                                 138 ANTON ROAD                                                                                               WYNNEWOOD         PA    19096‐1226
HUGH B BROUS JR & ELSIE F BROUS JT TEN          22427 STATLER                                                                                                ST CLAIR SHORES   MI    48081‐2335
HUGH B COVENTRY                                 3750 LACKAWANNA                                                                                              PONTIAC           MI    48326‐1435
HUGH B ENGLAND                                  2139 JONES RD                                                                                                WATERFORD         MI    48327‐1230
HUGH B KING JR                                  524 DEER ST                                                                                                  MT PLEASANT       SC    29464‐5045
HUGH B WEST & PHYLLIS B WEST JT TEN             287 ELY RD                                                                                                   AKRON             OH    44313‐4563
HUGH BARNES TOWNSEND JR & BERTHA G TOWNSEND     3459 DABNEY'S MILL RD                                                                                        MANQUIN           VA    23106
JT TEN
HUGH BERNARD CLARKE                             STAR ROUTE #81                                                                                               ECKERMAN          MI    49728‐9801
HUGH BOGGS                                      491 NORTH BLACK RIVER RD                                                                                     ONAWAY            MI    49765‐9541
HUGH C BAKER & ROBERT E BAKER JT TEN            7920 MULLEN RD                                                                                               LENEXA            KS    66215‐4108
HUGH C EARLS                                    1 WOODS RD                                                                                                   LEWES             DE    19958‐9281
HUGH C IRVINE                                   10803 SUTTON DR                                                                                              UPPR MARLBORO     MD    20774‐1420
HUGH C VANEPPS                                  5177 EAST S AVE                                                                                              VICKSBURG         MI    49097‐9422
HUGH CASSIDY                                    2202 N 775 E                                                                                                 SHELBYVILLE       IN    46176‐9119
HUGH COLLINS                                    1733 BUNCHE DR                                                                                               FT WORTH          TX    76112‐7744
HUGH D ALTIZER                                  2799 BRALEY ROAD                                                                                             RANSOMVILLE       NY    14131‐9608
HUGH D BINGHAM                                  7 STEELE STEELE STREET                  EAST MALVERN         VICTORIA               AUSTRALIA
HUGH D CANNON & JEAN M CANNON JT TEN            611 POPLAR CHURCH RD                                                                                         CAMP HILL         PA    17011‐1836
HUGH D DUNLOP                                   570 SHOREVIEW DR                                                                                             WATERFORD         MI    48328‐3928
HUGH D EBERT III                                1386 SPRING CREEK RD                                                                                         LUGOFF            SC    29078‐9669
HUGH D FORD                                     LAUREL COTTAGE                          ERSHAM WAY           HAILSHAM EAST SUSSEX   BN27 3HJ GREAT BRITAIN
HUGH D HARWELL                                  11010 WHITE PIKE                                                                                             CHEROKEE          AL    35616‐4312
HUGH D HERRON                                   13321 W COUNTY ROAD 850 N                                                                                    GASTON            IN    47342‐9009
HUGH D JACKSON                                  277 PINE VIEW DRIVE                                                                                          LAWRENCEVILLE     GA    30045‐6035
HUGH D NEWMAN III                               227 HICKORY TERRACE LN                                                                                       HOLLIDAYSBURG     PA    16648‐9201
HUGH D ROBINSON                                 4223 OLD BRANDON RD                                                                                          PEARL             MS    39208‐3012
HUGH D ROOT                                     451 WINDMILL PT                                                                                              FLUSHING          MI    48433‐2156
HUGH D SEELINGER & MARJORIE M SEELINGER TR      3654 EAST BLUEBIRD PL                                                                                        CHANDLER          AZ    85286
SEELINGER TRUST UA 06/19/98
HUGH D STOWE                                    PO BOX 645                                                                                                   COMMERCE          GA    30529‐0013
HUGH D VANOVER JR                               13140 EASTRIDGE DR                                                                                           OKLAHOMA CITY     OK    73170‐6810
HUGH DAVID CRUMMETTE & LINDA LESUER             1075 RICHMOND RD                                                                                             KESWICK           VA    22947‐3209
CRUMMETTE JT TEN
HUGH E AKERLEY                                  ATT MARY ELIZABETH AKERLEY              2039 KNOLLWOOD                                                       AUBURN HILLS      MI    48326‐3120
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HUGH E BRERETON                                1112 WICKFORD CIRCLE                                                                              MODESTO          CA    95355‐4121
HUGH E BRIGGS                                  18066 WARRINGTON                                                                                  DETROIT          MI    48221‐2771
HUGH E GARLAND                                 2168 VAN VLEET                                                                                    SWARTZ CREEK     MI    48473‐9748
HUGH E MC CAULEY                               351 YELLOW CREEK RD                                                                               HARMONY          PA    16037‐7309
HUGH E RICHMOND JR                             PO BOX 8225                                                                                       WILMINGTON       DE    19803‐8225
HUGH E ROSE                                    4814 SOL'S CIR                                                                                    MIDDLETOWN       OH    45042‐3964
HUGH E SCHRAMM                                 66 BLUE GRASS AVE                                                                                 FORT THOMAS      KY    41075‐1520
HUGH E SHELLABARGER                            8319 BALT‐PHILLIPSBURG PK                                                                         BROOKVILLE       OH    45309‐8601
HUGH EDMOND MCKINNEY                           144 CARL SUTTON RD                                                                                LIZELLA          GA    31052
HUGH F ABERTS JR & JANICE W ABERTS JT TEN      4 FAIRVIEW AVE                                                                                    PENNSVILLE       NJ    08070‐1504
HUGH F BAUER                                   9725 WHITESTONE TER                                                                               SAINT LOUIS      MO    63119‐1123
HUGH F BROOK                                   22 PORSCHE DRIVE                                                                                  MATAWAN          NJ    07747‐3515
HUGH F SHEARER CUST CHRISTOPHER S SHEARER UGMA BOX 161                                                                                           MONTICELLO       KY    42633‐0161
KY
HUGH FORAKER & JOYCE FORAKER JT TEN            59376 ME RD                                                                                       COLLBRAN         CO    81624‐9786
HUGH G CAMPBELL JR                             PO BOX 4183                                                                                       CARMEL           CA    93921‐4183
HUGH G TROTTER                                 1715 PARKCREST TERRACE                                                                            ARLINGTON        TX    76012‐1936
HUGH G TROTTER & WANDA L TROTTER JT TEN        1715 PARKCREST TERR                                                                               ARLINGTON        TX    76012‐1936
HUGH GRAHAM WATERS                             BOX 138                                                                                           CHESWOLD         DE    19936‐0138
HUGH GRAHAM WATERS & MARGARET L WATERS JT      PO BOX 138                                                                                        CHESWOLD         DE    19936‐0138
TEN
HUGH GRAHAM WATERS 2ND                         PO BOX 138                                                                                        CHESWOLD         DE    19936‐0138
HUGH GRAHAM WATERS TR HUGH GRAHAM WATERS       PO BOX 138                                                                                        CHESWOLD         DE    19936‐0138
TRUST UA 01/10/94
HUGH H AIKEN JR                                305 NEW DARLINGTON ROAD                                                                           MEDIA            PA    19063‐5609
HUGH H CARRELL JR                              9427 W PIERSON ROAD                                                                               FLUSHING         MI    48433‐9717
HUGH H CARRELL JR & BARBARA J CARRELL JT TEN   9427 W PIERSON RD                                                                                 FLUSHING         MI    48433‐9717

HUGH H DIETZ                                     PO BOX 604                                                                                      CAPE VINCENT     NY    13618‐0604
HUGH H HART & JEANNE S HART JT TEN               2830 CREST AVE S                                                                                ALLENTOWN        PA    18104‐6174
HUGH H HELTON                                    169 STRATFORD RD                                                                                HARROGATE        TN    37752‐7603
HUGH H HOLCOMB                                   401 SENIOR DR                                                                                   LAWRENCEVILLE    GA    30044‐5464
HUGH H MELOY                                     330 NOTTINGHILL CT                                                                              INDIANAPOLIS     IN    46234‐2667
HUGH H TYLER & MRS DOROTHY L TYLER JT TEN        420 W CIRCLE DR                                                                                 NORTH MUSKEGON   MI    49445‐2718

HUGH H WALLACE                                   209 THOMAS MOUNTAIN RD                                                                          MARGENTON        GA    30560‐1957
HUGH HAMILTON & CAROLYN R HAMILTON JT TEN        611 CHATHAM CT                                                                                  CHALFONT         PA    18914‐2067

HUGH I ROSZEL                                    2075 WRIGHT RD                                                                                  CAZENOVIA        NY    13035‐9303
HUGH I RYAN                                      3298 CEDAR CREEK RUN                                                                            LITTLE RIVER     SC    29566‐6402
HUGH ISSAC LAW                                   28016 SOMERSET                                                                                  INKSTER          MI    48141‐1167
HUGH J BROWN                                     14 NEWKIRK ROAD                                                                                 SOMERSET         NJ    08873‐1712
HUGH J GARDNER                                   197 S LINCOLN AVE                                                                               ORCHARD PARK     NY    14127‐2936
HUGH J GOULDING                                  4780 MOWRY AVENUE                                                                               FREMONT          CA    94538‐1155
HUGH J HALES II                                  1427 N RENAUD                                                                                   GROSSE POINTE    MI    48236‐1762
                                                                                                                                                 WOOD
HUGH J HOFFMAN                                   232 WILDWOOD AVE                                                                                PITMAN           NJ    08071‐1628
HUGH J JOHNSON & EVA L JOHNSON JT TEN            529 S PARSONS AVE                      APT 1307                                                 BRANDON          FL    33511‐6029
HUGH J JOHNSON JR                                709 ELMORE STREET                      EDGEWOOD                                                 CAMDEN           SC    29020‐1821
HUGH J JUNKIN & MARY E JUNKIN JT TEN             320 SIMON BOLIVAR DR                                                                            HENDERSON        NV    89014‐5138
HUGH J MAC ISAAC & DORIS A MAC ISAAC JT TEN      15 ASHCROFT ROAD                                                                                MEDFORD          MA    02155‐3108
HUGH J MORAN JR                                  9 FORSBERG ST                                                                                   WORCESTER        MA    01607‐1503
HUGH J OVERHOLT                                  155 LAURELWOOD CT SW                                                                            GRAND RAPIDS     MI    49548‐7942
HUGH J VANTOL                                    9258 W MT MORRIS RD                                                                             FLUSHING         MI    48433‐9288
HUGH JARVIS TR HUGH JARVIS TRUST UA 05/23/88     4531 N PLAZA DE TOROS                                                                           TUCSON           AZ    85750‐6366

HUGH JOHN TURLEY                                 APT 611                                230 WILLARD ST                                           QUINCY           MA    02169‐1561
HUGH K MAC MILLAN                                3053 WAUKEGAN                                                                                   AUBURN HILLS     MI    48326‐3267
HUGH L ALLEN                                     313 LYONS                                                                                       TROY             MI    48083‐1058
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HUGH L BOTT TR HUGH L BOTT REVOCABLE LIVING      164 HILLBROOK RD                                                                                      LAURENS           SC    29360‐6011
TRUST UA 10/21/99
HUGH L BOY                                       23162 NW CHURCH RD                                                                                    ALTHA             FL    32421‐2220
HUGH L BYRD                                      458 RIDGE ROAD                                                                                        COLLINSVILLE      VA    24078‐2163
HUGH L DAY JR & AUDREY DAY JT TEN                27350 SOUTHFIELD RD #119                                                                              SOUTHFIELD        MI    48076‐3409
HUGH L GIBBS                                     7 WEXFORD DR                                                                                          HENDERSONVILLE    NC    28791‐9775
HUGH L HUNGATE JR & ELIZABETH W HUNGATE JT TEN   403 WEST 32ND STREET                                                                                  LUMBERTON         NC    28358‐2930

HUGH L MC COMB & MRS NATALIE K MC COMB JT TEN    569 WINTER ST                                                                                         WALPOLE           MA    02081‐1006

HUGH L MCQUEEN                                   670 RIVER ROAD                                                                                        LOUDON            TN    37774
HUGH L SCOTT & MRS JANE SCOTT JT TEN             39647 CO HWY 1                                                                                        RICHVILLE         MN    56576
HUGH L SHORES                                    1881 EAST STATE RD 28                                                                                 ALEXANDRIA        IN    46001‐8910
HUGH LAW                                         6208 PERSHING AVE                      ST LOUIS                                                       SAINT LOUIS       MO    63130
HUGH LE ROY SHOEMAKER                            211 W MAIN                                                                                            RICHMOND          MO    64085‐1608
HUGH LEIGHTY                                     3101 TUCKER DR                                                                                        GREENVILLE        NC    27858‐6017
HUGH LOUIS LYNCH                                 1814 S SILVER AVE                                                                                     DEMING            NM    88030‐5929
HUGH M HILL                                      ATTN CHRISTINA HILL                    12316 BARNES RD                                                BYRON             MI    48418‐9705
HUGH M MITCHELL III                              PO BOX 1004                                                                                           NORTH BEACH       MD    20714‐1004
HUGH M ROSE & LUCILLE B ROSE TR ROSE FAM TRUST   5184 WYNDEMERE COMMON SQ                                                                              SWARTZ CREEK      MI    48473‐8925
UA 04/24/97
HUGH M SAMPLE                                    6053 WILORA LAKE RD APT 428                                                                           CHARLOTTE         NC    28212
HUGH M STANLEY                                   815 SUGAR CREEK RD                                                                                    BLUE RIDGE        GA    30513‐4060
HUGH M STANLEY JR CUST TREVOR M STANLEY UTMA     15150 HERITAGE LANE                                                                                   CHAGRIN FALLS     OH    44022‐2674
OH
HUGH M SURRATT                                   3118 HABERSHAM HILLS RD                                                                               CUMMING           GA    30041‐5933
HUGH MARTIN JR                                   1226 LINCOLN ST                                                                                       TOLEDO            OH    43607‐1807
HUGH MC CURDY                                    BOX 221 H MC CURDY LODGE 381 F &       AM                                                             NEW LOTHROP       MI    48460‐0221
HUGH MC LEAN                                     170 HIGHLAND AVE                                                                                      BUFFALO           NY    14222‐1841
HUGH MCALLISTER                                  27025 OAKWOOD CIRCLE                   #118T                                                          OLMSTED TWNSHP    OH    44138‐3619

HUGH MICHAEL IRWIN                               51 THE DRIVE GOSFORTH                  NEWCASTLE UPON TYNE                    NE3 4AJ GREAT BRITAIN
HUGH MICHAEL SPEARS                              3185 SHAW RD                                                                                          MARIETTA          GA    30066‐4059
HUGH MILLER SURRATT & BONNIE GOLDNER JT TEN      801 W 5TH ST                           APT 2311                                                       AUSTIN            TX    78703‐5462

HUGH MITCHELL JR                                 2879 MOCKING BIRD LN SW                                                                               ATLANTA           GA    30311‐3106
HUGH MURPHY                                      5119 N W 43 COURT APT W208                                                                            LAUDERDALE LA     FL    33319‐4652
HUGH N MARCH TR UA 03/20/87 FREDA HODGE TRUST    13101 LA PALOMA ROAD                                                                                  LOS ALTOS HILLS   CA    94022‐3334

HUGH O GARLAND                                   858 LEE CIRCLE                                                                                        SEVIERVILLE       TN    37862‐7554
HUGH O JONES                                     302 MC LEAN ST                                                                                        WILKES‐BARRE      PA    18702‐4519
HUGH O JONES                                     KIRBY ROUTE                                                                                           BUSBY             MT    59016
HUGH O MILLER                                    1140 SPRINGVIEW DR                                                                                    FLUSHING          MI    48433‐1448
HUGH O MORRIS                                    640 JOERLING LN                                                                                       MARTHASVILLE      MO    63357‐2446
HUGH P ARNOLD                                    202 WINSTON ROAD                                                                                      BUFFALO           NY    14216‐2122
HUGH P BIGLER JR                                 BOX 3028                                                                                              HUNTSVILLE        AL    35810‐0028
HUGH P BISHOP & ANNETTE B BISHOP JT TEN          10 HARDING LANE                                                                                       MARBLEHEAD        MA    01945‐2608
HUGH P BUSHNELL                                  PO BOX 98                                                                                             CROSS PLAINS      TX    76443‐0098
HUGH P MC LEISH & EDNA V MC LEISH JT TEN         6104 N MISTY OAK TERRACE                                                                              BEVERLY HILLS     FL    34465‐2575
HUGH P O'BRIEN                                   2346 BONITA AVE                                                                                       VERO BEACH        FL    32960‐2938
HUGH P PAPWORTH JR                               4187 ANTLER LANE                                                                                      LIVERPOOL         NY    13090‐6818
HUGH P SCULLY                                    1052 BURKWOOD ROAD                                                                                    MANSFIELD         OH    44907‐2410
HUGH PARKHURST JR                                144 ESSEX AVE                                                                                         GLOUCESTER        MA    01930‐3307
HUGH PERRY                                       403 KESWICK DRIVE                                                                                     PISCATAWAY        NJ    08854‐6618
HUGH R BOYLE                                     2498 CHANEY CIRCLE                                                                                    YOUNGSTOWN        OH    44509‐2216
HUGH R BROWN & MARILYN C BROWN JT TEN            4 HEDGE ROW                                                                                           PRINCETON         NJ    08540
HUGH R HADLEY & MRS VICTORIA HADLEY JT TEN       1497 PARTRIDGE COVE                                                                                   POCATELLO         ID    83201‐1988
HUGH R SAYLOR                                    930 TERRYS FORK ROAD                                                                                  WALLINS CREEK     KY    40873‐8992
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HUGH READ CUST KEVIN H READ U/THE R I UNIFORM     135 COTTAGE ST                                                                                   PAWTUCKET        RI    02860‐2227
GIFTS TO MINORS ACT
HUGH ROBERT HERRICK                               1941 MORNINGSTAR                                                                                 KIMBALL          MI    48074‐2520
HUGH RUEHL STARCK                                 3223 LAKE MENDOTA DR                                                                             MADISON          WI    53705
HUGH S CARANO                                     572 WICKLOW SQUARE                                                                               OCEAN ISL BCH    NC    28469
HUGH S JOHNSTON & PAIGE N JOHNSTON JT TEN         2345 WOODBINE ROAD                                                                               WOODBINE         MD    21797‐8215
HUGH S PARKER                                     115 PFIEFFER AVE                                                                                 CLYDE            OH    43410‐1810
HUGH S SMITH                                      3355 LAMBETH CIRCLE                                                                              DORAVILLE        GA    30340‐1815
HUGH SHERWOOD & BARBARA A SHERWOOD JT TEN         859 ROSEWOOD TER                                                                                 ENDICOTT         NY    13760‐1627

HUGH SHINDLER JR                                  BOX 248C RR#2                                                                                    SUMMITVILLE      IN    46070‐9426
HUGH SUMNER                                       3576 STUTSMAN RD                                                                                 BELLBROOK        OH    45305‐9793
HUGH T MC MANAMON                                 6211 MARIANA DR                                                                                  PARMA HEIGHTS    OH    44130‐2837
HUGH T MORROW & NELLIE M MORROW JT TEN            220 S SUTTON RD                                                                                  JACKSON          MI    49203‐2428
HUGH T VINSON                                     450 E ELM ST                                                                                     CLAY             KY    42404‐2022
HUGH T WAGNER                                     201 LONG NECK CIR #J14                                                                           MILLSBORO        DE    19966‐8754
HUGH VIDEION                                      2 PEACOCK ST                            BRIGHTON VICTORIA                      3186 AUSTRALIA
HUGH W BEALS                                      2701 S BAY ST                                                                                    EUSTIS           FL    32726‐6501
HUGH W DALZELL                                    16 ALEXANDER AVE                                                                                 KEARNY           NJ    07032‐1906
HUGH W DENLEY                                     C/O BRUCE DENLEY                        292 COTTONWOOD DR    PETERBOROUGH ON   K9J 6N5 CANADA
HUGH W GRAY & JEANNINE O GRAY JT TEN              2280 FOREST GLEN DRIVE                                                                           WEST BLOOMFIELD MI     48324‐3729

HUGH W MANNING TR HUGH W MANNING LIVING      PO BOX 789                                                                                            DANVILLE         KY    40422
TRUST UA 9/28/99
HUGH W PINNOCK CUST MARCUS G PINNOCK UGMA UT 5185 S 2100 E                                                                                         SALT LAKE CITY   UT    84117‐7010

HUGH W PRIESTER JR                                PO BOX 950                                                                                       FAIRFAX          SC    29827‐0950
HUGH W ROBINSON                                   2750 OLD PLANK                                                                                   MILFORD          MI    48381‐3538
HUGH W STEELE JR                                  1795 E LONG ST                                                                                   COLUMBUS         OH    43203‐2009
HUGH WALTERS                                      1517 KESSLER                                                                                     KEEGO HARBOR     MI    48320‐1006
HUGHES AIRCRAFT EMP FCU TR CRAIG S MAXWELL        825 WEST 107TH ST                                                                                LOS ANGELES      CA    90044‐4338

HUGHES L SMITH                                    5830 CHICKADEE LN                                                                                CLARKSTON        MI    48346‐2909
HUGHES M HARPER                                   3312 DWIGHT DR                                                                                   FERNANDINA       FL    32034‐7206
HUGHEY P SAMUEL                                   2619 52ND ST                                                                                     DALLAS           TX    75216‐7222
HUGHIE D RHINEHART                                1957 KING RD                                                                                     LAPEER           MI    48446‐8313
HUGO A CAMPANELLI                                 1736 SEARLES RD                                                                                  BALTIMORE        MD    21222‐2118
HUGO C WALCK                                      2494 LOCKPORT ROAD                                                                               SANBORN          NY    14132‐9348
HUGO CONRAD HAISS                                 328 BLOOMINGTON                                                                                  WOOSTER          OH    44691‐2310
HUGO F BRADEN & MRS SUSANN G BRADEN JT TEN        11015 WOODLAWN BLVD                                                                              UPPER MARLBORO   MD    20774‐2357

HUGO F VIVADELLI                                  207 CABILLO BLVD                                                                                 TOMS RIVER       NJ    08757‐5928
HUGO G DIAZ                                       1088 COURTLAND DRIVE                                                                             BAY SHORE        NY    11706‐6336
HUGO G SCHMIDT III CUST CYNTHIA M SCHMIDT UTMA    1934 WESTRIDGE TER                                                                               LOS ANGELES      CA    90049‐2219
CA
HUGO GONZALEZ CUST NICOLETTE GONZALEZ UTMA FL     1243 CATALONIA                                                                                   CORAL GABLES     FL    33134‐6306

HUGO H HARKONEN & MILDRED I HARKONEN JT TEN       44618 US HIGHWAY 41                                                                              CHASSELL         MI    49916

HUGO H UMPHREY                                    203 N UNION ST                                                                                   TECUMSEH         MI    49286‐1342
HUGO J TARABOLETTI & DIRCE R TARABOLETTI JT TEN   211 GALE LANE                                                                                    KENNETT SQUARE   PA    19348‐1735

HUGO MONTOYA                                      12833 CIRCLE PKWY                                                                                PALORS BARK      IL    60464‐1650
HUGO PETTERSEN & FLORENCE A PETTERSEN JT TEN      550 ANDERSON AVE                                                                                 WOOD RIDGE       NJ    07075‐2326

HUGO SHAMBLEN JR                                  112 MAYFAIR CIR WEST                                                                             PALM HARBOR      FL    34683‐5820
HUGO SIEBENEICHEN                                 807 COUNTRY CLUB CIRCLE                                                                          VENICE           FL    34293‐2006
HUGO TEWS                                         106 W COLUMBIA RD                                                                                MASON            MI    48854‐9649
HUGO W BOLT                                       9431 LINDA DR                           DAVIDSON                                                 DAVISON          MI    48423‐1798
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HUGO WINCHESTER CARVER 2ND                      3698 ZOLA ST                                                                                              SAN DIEGO       CA    92106‐1229
HUGUETTE D'ANGELO ADM EST GIUSEPPE D'ANGELO     3656 MONROE AVE                       APT 28                                                              PITTSFORD       NY    14534‐1269

HUGUETTE R SCHISSLER                            80 HIGHLAND ST                                                                                            BRISTOL         CT    06010‐3515
HUI YU ANNETTE WONG                             1200 CITATION DRIVE                                                                                       UNION           KY    41091‐9241
HUIE D GRIMES                                   5988 LAKE ACWORTH DR                                                                                      ACWORTH         GA    30101‐5092
HUIE L DRAKE                                    6229 DALE RD                                                                                              NEWFANE         NY    14108‐9716
HULDA ROGERS                                    240 S BEDFORD ST                                                                                          GEORGETOWN      DE    19947‐1870
HULDA S NULLMEYER & THOMAS H NULLMEYER JT TEN   4002 CONTINENTAL CT                                                                                       COLUMBIA        MO    65203‐5860

HULDAH B OLSON                                501 VAN VOORHIS RD                      APT 27                                                              MORGANTOWN      WV    26505‐3427
HULEY SIMS                                    51 WARREN STREET                                                                                            ROGERSVILLE     AL    35652‐7430
HULL TRADING CO                               311 S WACKER DR # 14FLR                                                                                     CHICAGO         IL    60606‐6627
HULON D ALLISON                               5536 MANSFIELD                                                                                              STERLING HGTS   MI    48310‐5747
HULON E WATSON                                13109 SPRUCE ST                                                                                             SOUTHGATE       MI    48195‐1631
HULON H BUSH                                  310 ALMAN CEMETARY ROAD                                                                                     PARIS           TN    38242‐7979
HULON I DANIELL                               3840 YATES RD                                                                                               LITHIA SPRING   GA    30057‐2155
HULOND H MANN                                 515 E MONROE RD                                                                                             HARRISON        MI    48625‐9551
HUMANE SOCIETY OF CENTRAL DELAWARE COUNTY INC PO BOX 88                                                                                                   DELHI           NY    13753‐0088

HUMBERT A BERTOLOTTI                            6128 LENNOX PL                                                                                            MOBILE          AL    36693‐3746
HUMBERT F SWEENEY                               PO BOX 575                                                                                                NEW YORK        NY    10021‐0034
HUMBERTO CHAVEZ                                 2724 ILLINOIS AVE                                                                                         SOUTH GATE      CA    90280‐4004
HUMBERTO G ORTEGA                               2678 WOODACRES RD NE                                                                                      ATLANTA         GA    30345‐1645
HUMBERTO M REYNA                                RT 8 BOX 566A                                                                                             BROWNSVILLE     TX    78520‐9518
HUMBERTO MONTERROSA                             107 SUMMER ST #2                                                                                          CENTRAL FALLS   RI    02863
HUMBERTO RUA                                    20602 COTTAGE HEATH LN                                                                                    RICHMOND        TX    77469‐7822
HUMBERTO SAENZ                                  401 COMMUNITY STREET                                                                                      LANSING         MI    48906‐3221
HUMBERTO TEJEDOR                                APT 7G CONDOMINIO PALMA REAL          2 MADRID ST               SAN JUAN                907 PUERTO RICO
HUMBERTO ZAMORA                                 18007 WILLOW ST                                                                                           HESPERIA        CA    92345‐5465
HUMI M GOTTWALD                                 1227 E MAXLOW AVE                                                                                         HAZEL PARK      MI    48030‐2379
HUNG D PHAM                                     9103 GASPARD CT                                                                                           FRISCO          TX    75034‐7166
HUNG JOONG YOUNG TR HUNG JOONG YOUNG LIVING     500 UNIVERSITY #304                                                                                       HONOLULU        HI    96826‐4903
TRUST UA 11/08/91
HUNG SUN YOO                                    R ROUTE 1                             COOKSTOWN ON                                      L0L 1L0 CANADA
HUNG T NONG                                     1716 APIAN WY                                                                                             EDMOND          OK    73003‐3917
HUNG‐CHUNG WEN                                  80 CROSS CREEK DR                                                                                         LILBURN         GA    30047‐7054
HUNTER FORD TURA                                720 FORT WASHINGTON AVE               APT L                                                               NEW YORK        NY    10040‐3709
HUNTER H BLACKWELL                              690 MOBLEY LANE                                                                                           ERIN            TN    37061‐5041
HUNTER L MARTIN IV                              11002 CRESTMORE                                                                                           HOUSTON         TX    77096‐6120
HUNTER MANN III                                 606 ROBERT ST                                                                                             MECHANICSBURG   PA    17055‐3458
HUNTER MCGAUGHEY CUST JEREMY MCGAUGHEY          13435 SOL‐VISTA                                                                                           LARGO           FL    33774‐4605
UTMA
HUNTER SAUNDERS HAWTHORNE & RALPH SAUNDERS      1201 LESTER DR                                                                                            HOPE            AR    71801‐8528
JT TEN
HUNTER T JAMESON                                11931 LUCILE ST                                                                                           CULVER CITY     CA    90230‐6206
HUNTERS CHAPEL CEMETERY ASSOCIATION             C/O DALE SHELTON                      PO BOX 539                                                          CASSCOE         AR    72026‐0539
HUNTERS HARDWARE                                RD 3                                  TILLOTSONS CORNER                                                   UNION CITY      PA    16438‐9803
HUNTINGTON NATIONAL CUST CHARLES ROBERTSON      1281 NW 43 AVE                        APT # 107                                                           FT LAUDERDALE   FL    33313
IRA
HUONG T KIMBALL                                 614 SOUTH 103RD                                                                                           SEATTLE         WA    98168‐1509
HUONG T TRAN                                    PO BOX 188                                                                                                WARREN          MI    48090‐0188
HUONG V NGUYEN                                  6970 FOREST PARK CT                                                                                       TROY            MI    48098‐1931
HURCHEL H SUMMERS JR                            8825 SORRENTO                                                                                             DETROIT         MI    48228‐2671
HURCLE T ANDREWS                                3828 BENTON BLVD                                                                                          KANSAS CITY     MO    64128‐2517
HURLEN D LENTZ                                  61 SUNSET LANE                                                                                            WINFIELD        MO    63389‐2311
HURLEY J HOLLEY                                 3834 THE ALAMEDA                                                                                          BALTIMORE       MD    21218‐2105
HURLOW & SMITH CAPITAL MGMT IN                  ATTN JOHN C HURLOW                    3RD & SMITH OFFICE PARK   3925 HAGAN ST STE 300                     BLOOMINGTON     IN    47401‐8649
HURON E HAMBRICK                                430 RUBY FOREST PK                                                                                        SUWANEE         GA    30024‐3929
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HURSEL ADKINS                               304 DOUGLAS BRANCH                                                                                                          HARTS            WV    25524
HURSHEL FELKER                              1475 NW 70TH LN                                                                                                             MARGATE          FL    33063‐2429
HURSHEL NEWMAN                              1050 SE 68TH AVE                                                                                                            OCALA            FL    34472‐0814
HURSTLE HYLTON                              17107 LAFAYETTE AVE                                                                                                         AMELIA CT HSE    VA    23002‐4816
HURSTLE SMITH                               1048 E APPLETREE ROAD                                                                                                       STEARNS          KY    42647‐6101
HUSHANG MOLAYEM CUST DANIEL MOLAYEM UGMA TX 3001 PLUMB                                                                                                                  HOUSTON          TX    77005

HUSTON CHAVIS                                      1309 PATAPSCO AVE                                                                                                    BALTIMORE        MD    21225‐2234
HUSTON E B CHAPMAN III                             16 SOMERSET DR                                                                                                       EIGHTY FOUR      PA    15330‐1917
HUSTON FAMBROUGH                                   PO BOX 805                                                                                                           MADISONVILLE     KY    42431‐0805
HUSTON MARTIN                                      23648 PLUMBROOKE DR                                                                                                  SOUTHFIELD       MI    48075‐3242
HUU MERRIGAN CUST ADAM MERRIGAN UTMA NJ            59 HILLCREST AVE                                                                                                     MORRISTOWN       NJ    07960‐5052
HUU P DANG                                         5123A AMALIE DR                                                                                                      NASHVILLE        TN    37211‐5720
HUU V LE                                           992 TAJI COURT                                                                                                       SAN JOSE         CA    95122‐3344
HWA C PUTSEY                                       2958 GENES DR                                                                                                        PONTIAC          MI    48326‐2108
HWI LEE                                            2851 FLORENCE SW                                                                                                     GRANDVILLE       MI    49418‐9734
HY M GORDON                                        85 W MCCLELLAN AVE                                                                                                   LIVINGSTON       NJ    07039‐1247
HYACINTH J MUIR                                    21 SALVAGE ST                             AJAX ON                                              L1Z 1S5 CANADA
HYACINTH J MUIR                                    122 PURVIS CRESCENT                       SCARBOROUGH ON                                       M1B 1H9 CANADA
HYANCINTH ROWE                                     1069 EAST 31ST STREET                                                                                                BROOKLYN         NY    11210‐4128
HYATT HUMPHREY & DOROTHY J HUMPHREY JT TEN         2484 LITTLE CYPRESS RD                                                                                               CALVERT CITY     KY    42029‐8937

HYDRO DESIGNS INC                                    5700 CROOKS RD STE 100                                                                                             TROY             MI    48098‐2826
HYLA J BROWN & NICKY S BROWN JT TEN                  200 EAST CHURCH ST                                                                                                 HORSESHOE BND    AR    72512
HYLA J PLAIN & DONALD K PLAIN JR & TERRILL L HERZLER 1554 WEST 1000TH N                                                                                                 FORTVILLE        IN    46040
JT TEN
HYLA JEAN BROWN & COREY LEE HALLETT JT TEN           907 PEARL DR                                                                                                       HORSESHOE BEND   AR    72512‐3845

HYLA JEAN BROWN & COURTNEY NICOLE HALLETT JT       907 PEARL DR                                                                                                         HORSESHOE BND    AR    72512‐3845
TEN
HYLA JEAN BROWN & JOSHUA ERIC HALLETT JT TEN       907 PEARL DR                                                                                                         HORSESHOE BEND   AR    72512‐3845

HYLA JEAN BROWN & KANDACE K HALLETT JT TEN         907 S PEARL DR                                                                                                       HORSESHOE BEND   AR    72512‐3845

HYLBER SANDVIG & MARGARET SANDVIG JT TEN           SPACE 111                                 801 WEST LIMBERLOST                                                        TUCSON           AZ    85705‐1509
HYMAN BUDOFF                                       374 N PERSHING AVE                                                                                                   AKRON            OH    44313‐6024
HYMAN FARBER & MRS FLORENCE FARBER JT TEN          14 TANGLEWOOD RD                                                                                                     NEWTON CENTER    MA    02459‐2862
HYMAN HORWITZ & BLANCHE HORWITZ JT TEN             9363 OLD BONHOMME                                                                                                    SAINT LOUIS      MO    63132‐4333
HYMAN KATZ                                         106 STATION RD                                                                                                       GREAT NECK       NY    11023‐1722
HYMAN KATZ CUST DOUGLAS KATZ A MINOR U/THE         STE 103                                   780 BACONSFIELD OFFICE PK                                                  MACON            GA    31211‐1442
LAWS OF GEORGIA
HYMAN OLIVER                                       326 BRIDGE PLAZA NO                                                                                                  FORT LEE         NJ    07024‐5017
HYMAN ROSEN TR UA 5/25/93 HYMAN ROSEN LIVING       412 VINE COURT                                                                                                       WILMETTE         IL    60091‐3132
TRUST
HYMAN SINGERMAN                                    THE CITY & DISTRICT OF MONTREAL           C/O FRANK & SPINA           3577 ATWATER AVE # 916   MONTREAL QC H3H 2R2
                                                                                                                                                  CANADA
HYMAN SISMAN                                       9324 AIRDROME ST                                                                                                     LOS ANGELES      CA    90035‐3102
HYMAN ZIEGMAN & EDWARD ZIEGMAN JT TEN              2219 DENBEIGH DR                                                                                                     JAMISON          PA    18929‐1446
HYO N PARK                                         287 WELLINGTON                                                                                                       MT CLEMENS       MI    48043‐2946
HYON WON PAK                                       17000 S 92ND AVE                                                                                                     ORLAND HILLS     IL    60477‐7253
HYONG K STANLEY                                    71 BENJAMIN AVE                                                                                                      ROCHESTER        NY    14616‐3158
HYRON V WILSON                                     9320 ABINGTON                                                                                                        DETROIT          MI    48228‐2004
HYUN H PARK                                        5535 VIA BRAVO                                                                                                       YORBA LINDA      CA    92887‐4913
HYUN K YUN                                         COMODO APARTMENTS                         555 HAHAIONE #12C                                                          HONOLULU         HI    96825‐1461
HYUN S KIM                                         13148 EASTRIDGE DR                                                                                                   OKLAHOMA CITY    OK    73170‐6810
HYUN S PARK                                        715 LANDRUM COURT                                                                                                    MARINA           CA    93933‐4734
I A KHAN                                           16670 LEON TERR                                                                                                      BROOKFIELD       WI    53005‐5727
I A SEAMAN                                         6988 KNIGHT NW                                                                                                       CANTON           OH    44708
I ANDREW ZYLSTRA                                   8050 GRAND RIVER RD                                                                                                  ADA              MI    49301‐9401
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I B CRAIG                                         21631 E HIGH BLUFF ROAD                                                                                DIAMOND BAR       CA    91765‐3835
I BARRETT                                         120‐40 170TH ST                                                                                        JAMAICA           NY    11434‐2619
I C WHITE JR & ODANA D WHITE JT TEN               PO BOX 213                                                                                             CULLODEN          WV    25510‐0213
I CHENG CHU CUST BRIAN F CHU UGMA PA              1429 WHITE OAK RD                                                                                      ALLENTOWN         PA    18104‐2123
I D GRAVES                                        947 CHAIN OF ROCKS DR                                                                                  SAINT LOUIS       MO    63137‐2704
I DAVID POPKIN TR IDP SPECIAL TRUST UA 4/1/05     PO BOX 538                           RIVERDALE                                                         BRONX             NY    10471
I E MOORE TR UA 02/26/81 I E MOORE FAMILY TRUST   BOX 503                                                                                                RISON             AR    71665‐0503

I ELAINE WOLVERTON TR HAROLD WOLVERTON FAMILY     11419 MARKLEY RD                                                                                       GAINES            MI    48436‐8903
TRUST UA 02/06/98
I F MENDEL                                        985 LINDSAY LANE                                                                                       FLORISSANT        MO    63031‐4133
I GENE BARRETT & MARY JANE BARRETT JT TEN         3714 TIMBERVIEW CT                                                                                     ANDERSON          IN    46011‐1657
I J MORRIS                                        2205 MARKESE                                                                                           LINCOLN PARK      MI    48146‐2517
I J SHERIFF                                       67 CARDINAL LN                                                                                         TOCCOA            GA    30577‐7126
I JEAN FINK                                       2049 N E BAKER                                                                                         MCMINNVILLE       OR    97128‐2603
I JOHN VASQUEZ                                    4909 WESLEYAN WOODS DR                                                                                 MACON             GA    31210‐4118
I JUDY ALLDREDGE & DOROTHY D ALLDREDGE JT TEN     PO BOX 20718                                                                                           SUN VALLEY        NV    89433‐0718

I KEITH VAIL & BRENDA L VAIL JT TEN               323 TREE FARM ROAD                                                                                     MCCLELLANDTOWN PA       15458‐1177

I LOUISE HAMRICK & EDWARD C ARBOGAST JT TEN       148 HODAM CREEK RD                                                                                     HACKER VALLEY     WV    26222‐8901

I MADELYN BEATTY                                  BOX 1930                                                                                               YUCCA VALLEY      CA    92286‐1930
I MARINIC                                         1224 EAST 169 STREET                                                                                   CLEVELAND         OH    44110‐1537
I ORELLANA EGAN                                   17B OLD SOUTH RD #2                                                                                    NANTUCKET         MA    02554‐6065
I PASALIDES                                       PO BOX 43                            PTOLEMAIS                                 50200 GREECE
I REID                                            812 FAIRFAX                                                                                            YOUNGSTOWN        OH    44505‐3912
I RONALD SHENKER                                  5 FAIRWAY RD                                                                                           ROSLYN            NY    11576‐1099
I SAMUEL BAZZANELLA                               7149 ZACHARY TAYLOR HIGHWAY                                                                            MINERAL           VA    23117‐5311
I V JENKINS                                       1535 CHERBONEAU PL                                                                                     DETROIT           MI    48207‐2843
I‐CHIEN SUN & YUE‐NA SUN JT TEN                   4 SHADOW CREEK DR                                                                                      PENFIELD          NY    14526‐1062
IAGO B BURNS                                      5522 KESSLER BOULEVARD NORTH DR                                                                        INDIANAPOLIS      IN    46228‐2072
IAN A KEITH & NANCY J KEITH JT TEN                565 SECOND                                                                                             PONTIAC           MI    48340‐2830
IAN ARTHUR MURPHY                                 1204 MAGDALENE GROVE AVE                                                                               TAMPA             FL    33613
IAN B RIDDELL                                     6541 BRANCH ROAD                                                                                       FLINT             MI    48506‐1368
IAN BOORER                                        2 VAUXHALL ST                        THE BARBICAN         PLYMOUTH DEVON       PL4 0ER GREAT BRITAIN
IAN BRALEY TR UA 6/6/73                           1342 S SUNSET DR APT 4                                                                                 TEMPE             AZ    85281‐6832
IAN BUCHANAN                                      52 GLENDALE AVE                      DEEP RIVER ON                             K0J 1P0 CANADA
IAN C BIRD                                        PO BOX 1080                          ALTONA MEADOWS       MELBOURNE VICTORIA   3028 AUSTRALIA
IAN C MC CLURE                                    117 W 36TH ST                                                                                          WILMINGTON        DE    19802‐2710
IAN COOK                                          12523 WOODLAKE RD                                                                                      GRASS VALLEY      CA    95949‐9744
IAN D THOMAS                                      59 JERRY CHESSIE ROAD                YOHO NB                                   E6K 3B3 CANADA
IAN DENHOLM                                       315 MURIEL AVE                       OSHAWA ON                                 L1J 4M4 CANADA
IAN DENHOLM                                       315 MURIEL AVE                       OSHAWA ON CAN                             L1J 4M4 CANADA
IAN E BECKER                                      9 SCHENCK AVE.                       APT. 2D                                                           GREAT NECK        NY    11021
IAN EDWARD ILLIG CUST LISA ILLIG UTMA IN          7642 TIMBER SPRINGS DR                                                                                 FISHERS           IN    46038‐3205
IAN F SHERIDAN & VIRGINIA J SHERIDAN JT TEN       115 MAHOPAC AVENUE                                                                                     GRANITE SPRINGS   NY    10527‐1127
IAN FORBES & MRS THERESA FORBES JT TEN            860 CEDAR RUN COVE                                                                                     LONGWOOD          FL    32750‐2983
IAN G MCGINITY                                    1022 CREEBRIDGE CREASENT             NEWMARKET ON                              L3X 1N9 CANADA
IAN GILBERT DORAN                                 1241 BUSH CREEK DR                                                                                     GRAND BLANC       MI    48439‐1616
IAN GRUEBERG                                      5801 TOWN BAY DR APT 6‐26                                                                              BOCA RATON        FL    33486‐8725
IAN IRWIN IMMEL                                   PO BOX 612                                                                                             LANCASTER         OH    43130‐0612
IAN J ANDERSON                                    1722 ALDERSBROOK ROAD                LONDON ON                                 N6G 3B9 CANADA
IAN J GOLDBERG & MAY S GOLDBERG JT TEN            3242 ALLISON LN                                                                                        LONG GROVE        IL    60047‐5000
IAN K DUNDAS                                      TALACKERSTRASSE 33                   CH‐8152 GLATTBRUGG                        SWITZERLAND
IAN K FULFER                                      402 NEW ST                                                                                             SMOAKS            SC    29481‐5053
IAN K HORSFALL                                    7805 ASHTON RD                                                                                         NAPLES            FL    34113‐3191
IAN KRAMER INC PURCHASE PROFIT SHARING PLAN       C/O IAN KRAMER                       1626 GATES AVENUE                                                 MANHATTAN         CA    90266‐7029
                                                                                                                                                         BEACH
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IAN LARSON & KEITH LARSON JT TEN                   447 LANGE DR                                                                                   TROY            MI    48098‐4672
IAN LINDVIG                                        330 BOOT RD                                                                                    MALVERN         PA    19355‐3314
IAN M KELLY CUST STEVEN M KELLY UTMA (IA)          411 WILDER DR SE                                                                               CEDAR RAPIDS    IA    52403‐3235
IAN M LATFORD & PATRICIA LATFORD JT TEN            365 RICHARDS RD                                                                                MELBOURNE BEACH FL    32951‐3005

IAN MARSHALL CARSON                                11027 IRMA AVE                                                                                 TUJUNGA         CA    91042
IAN MC EWAN                                        598 RIVERSTONE DR                                                                              BIRMINGHAM      MI    48009‐3714
IAN MITCHELL ROSENBLUM                             6036 KATELYN CT                                                                                ALEXANDRIA      VA    22310‐4423
IAN P FRENCH                                       946 MEDIO ROAD                                                                                 SANTA BARBARA   CA    93103‐2436
IAN PAUL HALLIWELL                                 2067 RIALTO CT                                                                                 MOUNTAIN VIEW   CA    94043‐2893
IAN R ANDERSON                                     106 BOULLEE ST                        LONDON ON                              N5Y 1T7 CANADA
IAN R DALEY                                        724 CLARIDGE DR                                                                                ARLINGTON       TX    76018‐2307
IAN R HUTCHINGS                                    18 DALINGA COURT                      SALISBURY HEIGHTS    S AUSTRALIA       AUSTRALIA
IAN S UTSINGER                                     2523 LAKEVIEW SW                                                                               ALBUQUERQUE     NM    87105‐5313
IAN SCOTT PICOW                                    12 TUPELO TNAIL                                                                                COLUMBIA        SC    29206
IAN T MACDONALD                                    29556 RUNEY                                                                                    WARREN          MI    48092‐2302
IAN W KING                                         53183 CRIPPLE CREEK DR                                                                         CHESTERFIELD    MI    48047‐5961
IAN WILLIS MOORE                                   15585 NEWELL DRIVE                                                                             ANCHORAGE       AK    99516‐6925
IBU M EL                                           1932 WHITE OAK LN                                                                              YPSILANTI       MI    48198‐9545
ICA B DOLVEN                                       1202 ALDER                                                                                     LA GRANDE       OR    97850‐1311
ICEM A BOWLING                                     2948 KINGSTON AVE                                                                              DAYTON          OH    45420‐2628
ICEPHEEN I MENIFEE                                 1634 W 8TH ST                                                                                  ANDERSON        IN    46016‐2635
ICEY SMITH                                         130 S 21ST                                                                                     SAGINAW         MI    48601‐1445
ICHIO EGASHIRA                                     PO BOX 4609                                                                                    PAHRUMP         NV    89041‐4609
ICOLA GRAY                                         BOX 86726                                                                                      BATON ROUGE     LA    70879
IDA A VARA                                         46 LYNETTE LA                                                                                  AMHERST         NY    14228‐1913
IDA B BULAN                                        1781 OLD POST ROAD RD S                                                                        CASTLETON       NY    12033‐1721
IDA B CALLOWAY WILLIE C CALLOWAY JR & WALTER K     401 ANDERSON DR                                                                                WILMINGTON      DE    19801‐5718
CALLOWAY JT TEN
IDA B DANIELS                                      25275 RIDGECLIFF DR                                                                            SOUTHFIELD      MI    48075‐2078
IDA B HIGGINS                                      2015 HARTLAND RD                                                                               APPLETON        NY    14008‐9621
IDA B HODGES                                       19541 MCINTYRE                                                                                 DETROIT         MI    48219‐5511
IDA B MARSHALL                                     16746 MANSFIELD                                                                                DETROIT         MI    48235‐3633
IDA B MUSA & MARK MUSA JT TEN                      2325 S OCEAN BLVD                                                                              DELRAY BEACH    FL    33483‐6428
IDA BELLE SNYDER                                   310 CHRISTIANA MEADOWS                                                                         BEAR            DE    19701‐2805
IDA BERGER                                         413 GRAND ST                                                                                   NEW YORK        NY    10002‐4771
IDA BILLING & MYRTLE BILLING SCHOENBERGER JT TEN   ROUTE 4 BOX 157                                                                                BEAVER DAM      WI    53916‐9804

IDA C MAGNIFICO                                    582 STILLWATER RD                                                                              STAMFORD         CT   06902‐2034
IDA C MCGAHA                                       1562 CLAYTON RD                                                                                WILMINGTON       DE   19805‐4514
IDA C WEEKS                                        1703 TENTH ST                                                                                  VICTORIA         VA   23974‐9734
IDA CARR                                           12729 JANE ST                                                                                  DETROIT          MI   48205‐3915
IDA CAVINESS                                       605 MAGNOLIA ST                                                                                SANFORD          NC   27330‐4823
IDA CLEMENT                                        6401 BLUE BONNET AVE                                                                           MIDLAND          TX   79707‐9613
IDA D ANDERSON                                     121 MELINDA DR                                                                                 STOCKBRIDGE      GA   30281‐1197
IDA DAMIANI & RAFFAELE DAMIANI JT TEN              6802 NIGHTINGALE                                                                               DEARBORN HEIGHTS MI   48127‐2133

IDA DE ROSA ANTHONY DE ROSA & JERRY ALLEN DE    PO BOX 164                                                                                        HOLT            MI    48842‐0164
ROSA JT TEN
IDA DE ROSA ANTHONY DE ROSA & JOHN CARMEN DE    PO BOX 164                                                                                        HOLT            MI    48842‐0164
ROSA JT TEN
IDA DE ROSA ANTHONY DE ROSA & JULIE ANN DE ROSA PO BOX 164                                                                                        HOLT            MI    48842‐0164
JT TEN
IDA DE ROSA ANTHONY DE ROSA & PATRICK ANTHONY PO BOX 164                                                                                          HOLT            MI    48842‐0164
DE ROSA JT TEN
IDA DEROSA ANTHONY DEROSA & JULIE ANN DEROSA JT PO BOX 164                                                                                        HOLT            MI    48842‐0164
TEN
IDA E THOMPSON                                  PO BOX 215                                                                                        BELLAIRE        TX    77402‐0215
IDA EISENBERG                                   C/O ELLEN BERMAN                         1060 JULIA CT                                            GLENCOE         IL    60022‐1065
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Name                                             Address1                              Address2             Address3          Address4          City            State Zip

IDA ELLEN E BANDY                                4002 ST JAMES ST                                                                               SAN DIEGO       CA    92103‐1630
IDA F BUCHANAN                                   1341 S OHIO                                                                                    KOKOMO          IN    46902‐1861
IDA F MEYER                                      517 HIGHWAY 27 NORTH                  APT 25                                                   LAKE PLACID     FL    33852
IDA F MOBLEY                                     299 LEYLAND PARK DR                                                                            WILMINGTON      OH    45177‐1434
IDA FISHER                                       10061 BRINWOOD DR                                                                              WILLS POINT     TX    75169‐3402
IDA FRANCES CAVERLY                              639 CEDAR DR                                                                                   INDIAN RIVER    MI    49749‐9798
IDA HOCHMAN                                      420 E 55TH ST 11P                                                                              NEW YORK        NY    10022‐5149
IDA HOLLANDER CUST ERIC D HOLLANDER UGMA MI      916 HANNAH                                                                                     TROY            MI    48098‐1640

IDA J BAIR TR BAIR FAMILY DECEDENT'S TRUST B UA    4376 PLEASANT VALLEY                                                                         BRIGHTON        MI    48114‐8127
03/07/94
IDA J BAIR TR IDA J BAIR SURVIVOR'S TRUST A UA     4376 PLEASANT VALLEY                                                                         BRIGHTON        MI    48114‐8127
03/07/94
IDA J BURSLEY                                      5759 11 MILE RD                                                                              ROCKFORD        MI    49341‐9502
IDA J CANNON                                       3306 N RILEY AVE                                                                             INDIANAPOLIS    IN    46218‐2353
IDA J CANNON & ERNEST CANNON JT TEN                3306 N RILEY                                                                                 INDIANAPOLIS    IN    46218‐2353
IDA J MOUNTJOY                                     1734 GRAFENBURG RD                                                                           LAWRENCEBURG    KY    40342‐8908
IDA J WELLS                                        1028 OAK STREET                                                                              FLINT           MI    48503‐3621
IDA KAUFER & SELMA KAUFER JT TEN                   244 DRAKE LN                                                                                 LEDGEWOOD       NJ    07852‐9693
IDA L BENGE                                        9310 SHROYER RD                                                                              TIPP CITY       OH    45371‐9405
IDA L BROWN                                        2416 S ANNABELLE ST                                                                          DETROIT         MI    48217‐1143
IDA M BERGMAN                                      906 LAMI ST                                                                                  SAINT LOUIS     MO    63104‐4215
IDA M DUNNUM & DELORES I HYATT JT TEN              4614‐41ST AVE NE                                                                             SEATTLE         WA    98105‐3906
IDA M ELLIOTT                                      265 S JOSEPHINE ST                                                                           PONTIAC         MI    48341‐1844
IDA M ELLISON                                      8275 HUNTERS MEADOW LN                                                                       ARLINGTON       TN    38002‐8420
IDA M GARRIS                                       355 WALNUT                                                                                   BUFFALO         NY    14204‐1304
IDA M JACKSON                                      10123 DODGE RD                                                                               OTISVILLE       MI    48463‐9765
IDA M KEMBLE                                       273 ROCK TOWN LAMBERTVILLE          ROAD                                                     LAMBERTVILLE    NJ    08530‐3304
IDA M KIBLER                                       86 JUNE ROAD                                                                                 KENMORE         NY    14217‐1416
IDA M KOHNKE                                       5081 BALDWIN RD                                                                              SWARTZ CREEK    MI    48473‐9173
IDA M MALTZIE                                      20 NORTH ROAD                                                                                WEST FRANKLIN   NH    03235‐1553
IDA M MCGHEE                                       1635 HORTON S E                                                                              GRAND RAPIDS    MI    49507‐2462
IDA M MILBURN                                      2316 SW 94TH TER                                                                             OKLAHOMA CITY   OK    73159‐6852
IDA M MOORE                                        1587 MC ALPINE DR                                                                            MT MORRIS       MI    48458‐2309
IDA M MUNDY                                        HOMECREST AVE BOX 245                                                                        SLATERSVILLE    RI    02876‐0245
IDA M NELSON                                       17543 EDINBOROUGH                                                                            DETROIT         MI    48219‐3516
IDA M ONAN                                         780 SW OAK DR                                                                                LAKE CITY       MI    49651‐8037
IDA M PRUITT                                       3431 HUBAL SW                                                                                WYOMING         MI    49509‐3376
IDA M RAYFORD                                      414 SUMMIT ST                                                                                DEFIANCE        OH    43512‐2239
IDA M REYNOLDS                                     1063 CARTER DR                                                                               FLINT           MI    48532‐2713
IDA M SCOTT                                        13952 MARBLESTONE DR                                                                         CLIFTON         VA    20124‐2508
IDA M SMITH                                        3283 E OVERLOOK                                                                              CLEVELAND       OH    44118‐2113
IDA M STOCKER                                      479 RIDGE RD APT B4                                                                          NEWTON FALLS    OH    44444
IDA M WILLIAMS                                     18709 WHITCOMB                                                                               DETROIT         MI    48235‐2885
IDA M WRIGHT                                       3485 GOLDNER LANE                                                                            LORDS TOWN      OH    44481‐9635
IDA MABE TR MABE FAMILY TRUST UA 07/29/96          2045 ALANSON                                                                                 WESTLAND        MI    48186‐4663
IDA MAE JOHNSON                                    700 E COURT ST                      APT 101                                                  FLINT           MI    48503‐6221
IDA MAE JONES                                      2710 N WOODS BLVD                                                                            CANTON          MI    48188‐6206
IDA MAE R ELLIS & C ROLAND RUSSELL JR JT TEN       423 N DU PONT HWYBOX 174                                                                     GEORGETOWN      DE    19947
IDA MAE SALATINO                                   2312 SUNSET DR W                                                                             TACOMA          WA    98466‐2812
IDA MAE SMITH                                      7608 SOUTH CORNELL AVE                                                                       CHICAGO         IL    60649‐4020
IDA MAGLIULO & JAMES MAGLIULO JT TEN               41 HIGHVIEW DR                                                                               SELDEN          NY    11784‐2717
IDA MAY BAILEY                                     902 TUSKEGEE                                                                                 GRAND PRAIRIE   TX    75051‐2635
IDA MAY BRIDGES                                    7153 GOUGH STREET                                                                            BALTIMORE       MD    21224‐1808
IDA MC LENDON SCHUCHARDT                           15 CLARK AVE                                                                                 WYOMING         OH    45215‐4321
IDA MURRAY                                         13810 W SANDRIDGE DR                                                                         SUN CITY WEST   AZ    85375‐4465
IDA O'GRADY CLARK                                  35 PROSPECT PARK WEST               APT 2C                                                   BROOKLYN        NY    11215
IDA ODELL CUST STEVEN ODELL UNIF GIFT MI N ACT CAL 1333 S BEVERLY GLEN BLVD            APT 903                                                  LOS ANGELES     CA    90024‐5242
                                               09-50026-mg                Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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IDA OSTERMAN                                     46 BERKELEY RD                                                                                   E GREENWICH      RI    02818‐4110
IDA P MEYER & FREDERICK C MEYER SR JT TEN        320 N FRANKLIN ST                                                                                MOMENCE          IL    60954‐1052
IDA P MEYER & JEAN N MEYER JT TEN                320 N FRANKLIN ST                                                                                MOMENCE          IL    60954‐1052
IDA P MEYER & PHYLLIS K MATTHIAS JT TEN          320 N FRANKLIN ST                                                                                MOMENCE          IL    60954‐1052
IDA P MOCERI                                     696 1/2 MANSION ST                                                                               BRISTOL          PA    19007‐3844
IDA PASTORE & AMERICO PASTORE TR UA 12/12/07 IDA 1520 S US HWY 41                                                                                 ROCKVILLE        IN    47872
PASTORE LIVING TRUST
IDA PECORARO                                     176 GRAY ST                                                                                      ROCHESTER        NY    14609‐2350
IDA PERRIELLO                                    2 CAPRI CT                                                                                       TOMS RIVER       NJ    08757
IDA R MARTENS & WILLIAM MARTENS PAGE JT TEN      1608 PEACEFUL LN APT B                                                                           DUNEDIN          FL    34698‐4054

IDA R TAYLOR                                     120 KING AVE                                                                                     TRENTON          NJ    08638‐2244
IDA RIPTON                                       19942 NORTHLAWN                                                                                  DETROIT          MI    48221‐1152
IDA RIPTON & JANICE SPRING RIPTON JT TEN         19942 NORTHLAWN                                                                                  DETROIT          MI    48221‐1152
IDA S BURT                                       C/O IDA LANIGAN                         494 BACK NECK RD                                         BRIDGETON        NJ    08302‐6825
IDA S SERGENT                                    1640 JUNO TRAIL APT 201D                                                                         ASTOR            FL    32102‐7990
IDA SHAMASH                                      420 RICHVIEW AVE                        TORONTO ON                             M5P 3G6 CANADA
IDA SHEPPARD                                     8122 14TH AVE                                                                                    KENOSHA          WI    53143
IDA T WHITE                                      4809 SENAC DR                                                                                    METAIRIE         LA    70003‐2739
IDA TARSHISH                                     C/O DIMONT                              11610 FULHAM ST                                          SILVER SPRINGS   MD    20902‐3014
IDA THEOBALD TR IDA THEOBALD TRUST UA 6/1/99     6698 10TH AVE N APT 324                                                                          LAKE WORTH       FL    33467‐1961

IDA TOWNLEY                                      5140 TURNER LANDING RD                                                                           LA CENTER        KY    42056‐9608
IDA V BECKEL                                     PO BOX 160                                                                                       LINDALE          TX    75771‐0160
IDA W ECKERT TR IDA W ECKERT TRUST UA 12/18/96   30412 RIDGEFIELD                                                                                 WARREN           MI    48093‐3155

IDA Y DENNIS                                     PO BOX 27266                                                                                     DETROIT          MI    48227‐0266
IDABELLE H COX                                   106 E MADISON ST                                                                                 ALEXANDRIA       IN    46001‐1637
IDABELLE L BERG                                  52614 GARFIELD ROAD                                                                              WAKEMAN          OH    44889‐9554
IDALINA M PEDRO                                  42 LAKEVIEW TERRACE                                                                              PASCOAG          RI    02859‐1000
IDALIO M COIMBRA                                 A22 GILMOR RD                                                                                    JOPPATOWNE       MD    21085‐4219
IDE PONTIAC INC                                  875 PANORAMA TRAIL                                                                               ROCHESTER        NY    14625‐2309
IDELL BANKSTON                                   5601 GRIGGS DRIVE                                                                                FLINT            MI    48504‐7012
IDELLA MOSLEY                                    1183 E CASS AVE                                                                                  FLINT            MI    48505‐1640
IDELLA R NEALY                                   6206 RED BIRD COURT                                                                              DALLAS           TX    75232‐2734
IDELLE L STEMEN                                  2141 RIDGE RD #40                                                                                LARGO            FL    33778‐1616
IDERS MARSH SR                                   25 SOUTH DR                                                                                      EGGERTSVILLE     NY    14226‐4119
IDO E COLANTUONI                                 6286 DUNAWAY CT                                                                                  MC LEAN          VA    22101‐2204
IDORA G ABSHER                                   2108 W DAYTON                                                                                    FLINT            MI    48504‐2714
IDYLETTE B ROBERSON                              5210 GRAND LAKE                                                                                  BELLAIRE         TX    77401
IELENE I BROSAM                                  612 NE LYNN ST APT B                                                                             LEES SUMMIT      MO    64063‐2491
IELENE KEDDA CUST KAREN L KEDDA U/THE DELAWARE   2104 LYNCH DRIVE EASTBURN               ACTES                                                    WILMINGTON       DE    19808‐4825
U‐G‐M‐A
IERONIMOS E IERONIMIDIS                          C/O G EXPRESS                           750 N ADDISON                                            VILLA PARK       IL    60181‐1421
IFEANYI OSILI CUST ARINZE OSILI UTMA IN          1940 N DELAWARE                                                                                  INDIANAPOLIS     IN    46202‐1528
IFFIELEE ROSSMEISSL                              3611 WEST COURTHOUSE RD                                                                          CREWE            VA    23930
IFO ATAGI                                        505 N MAIN ST                                                                                    INDEPENDENCE     MO    64050‐2809
IGINO N GIUDICE                                  60 AUSTIN ST                            STE 205                                                  NEWTONVILLE      MA    02460‐1857
IGNAC GRAJ                                       20W201 PLEASANTDALE DR                                                                           LEMONT           IL    60439‐9618
IGNAC GRAJ & HILDA GRAJ JT TEN                   20W201 PLEASANTDALE DR                                                                           LEMONT           IL    60439‐9618
IGNAC HANZES                                     25 CEDAR GROVE PL                                                                                OLD BRIDGE       NJ    08857‐2403
IGNAC J ZAJAC                                    3569 ASHCROFT CRESCENT                  MISSISSAUGA ON                         L5C 2E6 CANADA
IGNACE A LEVENSKI                                72 DAVIS LAKE RD                                                                                 LAPEER           MI    48446‐1471
IGNACIO BUENO                                    5384 N W 84 TERRACE                                                                              CORAL SPRINGS    FL    33067‐2833
IGNACIO C AROCHA                                 3502 MALINDA LANE                                                                                ROWLETT          TX    75088‐6430
IGNACIO CERVANTES JR & GUADALUPE CERVANTES JT    4239 ELIZABETH LAKE RD                                                                           WATERFORD        MI    48054
TEN
IGNACIO D CONTRERAS                              N6614 S CRYSTAL LAKE RD                                                                          BEAVER DAM       WI    53916‐9401
IGNACIO GARCIA                                   31711 FONVILLE X                                                                                 LIVONIA          MI    48152‐1547
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IGNACIO GAVIA                                    1058 MORRELL ST                                                                                 DETROIT          MI    48209‐2478
IGNACIO GUERRERO                                 4623 BERRYWOOD DR W                                                                             SAGINAW          MI    48603‐1051
IGNACIO H CARMONA                                1931 ONTARIO ST                                                                                 OXNARD BEACH     CA    93035‐3514
IGNACIO LOPEZ                                    6119 ASHFORD POINT DR                                                                           SAN ANTONIO      TX    78240‐5331
IGNACIO M MARTINEZ                               R 1 COLONY RD                                                                                   ST JOHNS         MI    48879‐9801
IGNACIO MODICA & JOHN MODICA & RICHARD MODICA 429 MONTEREY BLVD                                                                                  SAN FRANCISCO    CA    94127‐2413
JT TEN
IGNACIO NAVARRO                                  4026 MORNINGSIDE                                                                                SANTA ANA        CA    92703‐1323
IGNACIO R GUERRERO                               13101 SHERIDAN RT 2                                                                             MONTROSE         MI    48457‐9346
IGNACIO R ORDAZ                                  13168 AZTEC ST                                                                                  SYLMAR           CA    91342‐2505
IGNASIO P SPINA                                  59 ADAMS ST                            APT 59                                                   EDISON           NJ    08820
IGNASIO P SPINA & MARIE S SPINA JT TEN           59 ADAMS STREET                                                                                 EDISON           NJ    08820‐3942
IGNATIUS G PASSANTINO & JOAN A PASSANTINO JT TEN 2509 24TH AVE                                                                                   SAN FRANCISCO    CA    94116‐3037

IGNATIUS J GALGAN                                 2910 BARKLEY AVE                                                                               BRONX            NY    10465‐2126
IGNATIUS J WOJTASZEK JR & IGNATIUS J WOJTASZEK SR LANESBORO ROAD                                                                                 CHESHIRE         MA    01225‐9739
JT TEN
IGNATIUS SERGOTICK JR                             4217 CARDWELL AVE                                                                              BALTO            MD    21236‐4007
IGNATIUS YONIS                                    145 CEDAR GROVE RD                                                                             AVELLA           PA    15312‐2218
IGNATZ SZPERRA JR                                 PO BOX 126                                                                                     EDSON            KS    67733‐0126
IGNAZIO CORDARO                                   8202 YARMOUNTH AVE                                                                             RESEDA           CA    91335‐1547
IGNAZIO MARTORINA                                 137 SUMMIT COURT                                                                               WESTFIELD        NJ    07090‐2834
IGOR NAUMOFF TR IGOR NAUMOFF TRUST UA 11/09/99 1500 SOUTHRIDGE TRL                                                                               ALGONQUIN        IL    60102‐6607

IHLARAE FILLER                                   4016 GRAFTON RD                                                                                 LEETONIA        OH     44431‐9723
IHOR A DEBRYN TR ALEXANDER DEBRYN TRUST UA       3302 SPRINGBROOK CT                                                                             WEST BLOOMFIELD MI     48324‐3253
05/11/93
IHOR KORBIAK                                     2459 GOODSON ST                                                                                 HAMTRAMCK        MI    48212‐3676
IHOR S POLISZCZUK                                9516 HALLHURST RD                                                                               BALTIMORE        MD    21236‐4819
IJEOMA C EZEKWE                                  215 SWANSTROM PL E                                                                              UNION            NJ    07083‐5054
IKE C SUGG                                       BOX 5069                                                                                        SAN ANGELO       TX    76902‐5069
IKE MUSLOW                                       4747 DIXIE GARDEN DR                                                                            SHREVEPORT       LA    71105‐4021
IKE RICHARDSON CUST MACKENZIE RICHARDSON UTMA 30118 LESLIE ST                                                                                    ALBANY           LA    70711‐3419
LA
IKE SIMS                                         526 S 12TH                                                                                      SAGINAW          MI    48601‐1909
IKE SMITH                                        PO BOX 245                                                                                      LAURENS          SC    29360‐0245
IKE SPRINGFIELD JR                               18905 BILTMORE                                                                                  DETROIT          MI    48235‐3032
IKUE ITAMI CUST GORDON S ITAMI UGMA IL           295 OAK HILL RD                                                                                 BARRINGTON       IL    60010‐1642
IL KIM                                           11431 DUNLAVY LANE                                                                              WHITMORE LAKE    MI    48189
ILA CULP                                         221 BON HARBOR COVE                                                                             OWENSBORO        KY    42301‐8956
ILA D KIRCHOFF CUST LEIF C KIRCHOFF UGMA WA      PO BOX 4491                                                                                     ROLLING BAY      WA    98061‐0491
ILA E MCFADDEN TR U‐A F‐B‐O ILA E MCFADDEN       63 345 WEST 8 MILE RD                                                                           SOUTH LYON       MI    48178
ILA E MCFADDEN TR UA 01/10/73 M‐B ILA E MCFADDEN 63 345 WEST 8 MILE RD                                                                           SOUTH LYON       MI    48178

ILA G POHL                                       11610 RUTHERFORD DR                                                                             FREDERICKSBURG   VA    22407‐6499
ILA G WILLIAMS                                   1952 N KINGSTON RD                                                                              FARMINGTON       UT    84025‐4104
ILA J OWENS                                      C/O ILA J DEAN                         2469 CADWALLADER SONK RD                                 CORTLAND         OH    44410‐9425
ILA L ROSSER                                     2300 W 9TH ST                          APT 227                                                  WASHOUGAL        WA    98671‐7448
ILA M BALLENTINE                                 3605 PALMYRA RD S W                                                                             WARREN           OH    44481‐9701
ILA M COLEMAN                                    2201 HARTFORD                                                                                   WATERFORD        MI    48327‐1116
ILA M COUSINO                                    1649 VAN BUREN WAY                                                                              LADY LAKE        FL    32162‐6792
ILA M HOUSEMAN                                   460 WITBECK DR                                                                                  CLARE            MI    48617‐9721
ILA M HOUSEMAN & BERNARD D HOUSEMAN JT TEN       460 WITBECK DRIVE                                                                               CLARE            MI    48617‐9721

ILA M LANCENDORFER TR ILA M LANCENDORFER LIVING 859 WHEELOCK                                                                                     DETROIT          MI    48209‐1937
TRUST UA 04/10/00
ILA M PIERCE TR ILA M PIERCE TRUST UA 09/01/99  19950 BEAR SWAMP RD                                                                              MARYSVILLE       OH    43040

ILA MAIE JOHNSON                                 20135 HWY 278 7                                                                                 WILLISTON        SC    29853‐3823
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ILA MATTILA & GARY MATTILA JT TEN                  422 SHORE DR                                                                                   LACONIA          NH    03246‐2951
ILA N HILL                                         600 WEST BROWN #101                                                                            BIRMINGHAM       MI    48009‐1475
ILA N RAMSEY                                       71 CLIFFSTONE DR                                                                               PHIPPSBURG       ME    04562‐4812
ILA NELSON & SHIRLEY SABIN JT TEN                  403 4TH AVE                                                                                    BRADLEY BEACH    NJ    07720‐1246
ILA O BEARD                                        ROUTE 1 BOX 77                                                                                 NICKELSVILLE     VA    24271‐9706
ILA R BARRETT                                      681 KINGSMILL CT                                                                               OLDSMAR          FL    34677‐6349
ILA R SAMPSON                                      6900 SUNSSTRAND DR                                                                             KNOXVILLE        TN    37924‐3753
ILA T CRABTREE TOD HARRY R CRABTREE JR             2408 FERNDOWN DR                                                                               MIAMISBURG       OH    45342‐7417
ILA‐MAE H BENDES & WILMA L MUSICK JT TEN           142 GRIGGS ST                                                                                  ROCHESTER        MI    48307‐1414
ILAH G HECK                                        1403 OTTAWA DR                                                                                 ROYAL OAK        MI    48073‐2038
ILAN D MOSKOWITZ                                   110 HILLSIDE AVE                                                                               TENAFLY          NJ    07670
ILANA G NICHOLSON                                  925 YOUNGSTOWN WARREN RD 97                                                                    NILES            OH    44446‐4633
ILANA ZIMENT                                       42 ISMAY ST                                                                                    STATEN ISLAND    NY    10314‐5020
ILARIO EDUARDO                                     42426 N 46TH LANE                                                                              ANTHEM           AZ    85086‐1410
ILDEFONSO S MARTINEZ                               11370 AUTUMN BREEZE TRAIL                                                                      CLIO             MI    48420‐1592
ILDEFONZO C CORDOVA                                2203 ADEL ST                                                                                   JANESVILLE       WI    53546‐3238
ILDEGE DERY                                        13330 SEYMOUR RD                                                                               GAINES           MI    48436‐9660
ILDIKO SZALAY                                      14 WALTERS ST                                                                                  TARRYTOWN        NY    10591‐6115
ILEANA D KREUS                                     7061 BAUN DR                                                                                   HOWELL           MI    48843‐4471
ILEEN ISAAC                                        5427 SIESTA COVE DRIVE                                                                         SARASOTA         FL    34242‐1718
ILEEN K KIEFAT                                     8522 HADLEY AVE                                                                                COTTAGE GROVE    MN    55016‐4808
ILEEN L BYERS                                      3990 FIVE LAKES ROAD                                                                           NORTH BRANCH     MI    48461‐8400
ILEEN LEWIS                                        2168 US HWY 150                                                                                WEST TERRE HAUTE IN    47885‐9419

ILEENE GRAGG                                       4182 ATHENS                                                                                    WATERFORD       MI     48329‐2004
ILENE A DORF                                       4‐C DORADO DR                                                                                  CONVENT STATION NJ     07960‐6001

ILENE A TOCCI                                      ATTN ILENE A HILL                     28 DOLAN DR                                              GROTON           MA    01450‐1863
ILENE B PERNOKES                                   463 COLBORNE ST EAST                  OSHAWA ON                              L1G 1N3 CANADA
ILENE BOAS                                         24 RENAISSANCE BLVD                                                                            SOMERSET         NJ    08873‐6034
ILENE CHARNEY & STUART CHARNEY JT TEN              755 BERGEN ST                                                                                  PHILADELPHIA     PA    19111
ILENE DELLINGER CUST TOM DELLINGER UGMA NC         1669 DELVIEW RD                                                                                CHERRYVILLE      NC    28021‐9667

ILENE E MC CLELLAND                                5601 PUTNAM DRIVE                                                                              WEST BLOOMFIELD MI     48323‐3723

ILENE E ROBINSON                                   19970 BRIARCLIFF                                                                               DETROIT          MI    48221‐1321
ILENE H TAYLOR                                     ATTN ILENE HELLER                     802 S RESEDA                                             MESA             AZ    85206‐2700
ILENE HEILA HARRIS                                 22634 BROOKDALE                                                                                FARMINGTON       MI    48336‐4118
ILENE HEILA HARRIS                                 22634 BROOKSDALE                                                                               FARMINGTON       MI    48336‐4118
ILENE J MIZRACH & EVELYN SILBER JT TEN             191 PEMBROKE STREET                                                                            BROOKLYN         NY    11235‐2312
ILENE J SEGESTA & RONALD D TARJANY JT TEN          22776 CALABASH ST                                                                              WOODLAND HILLS   CA    91364‐1323

ILENE L LANCZYNSKI                                 9271 DIXIE HWY                                                                                 FAIR HAVEN       MI    48023‐2315
ILENE L STEMM                                      164 HIGMAN PARK                                                                                BENTON HARBOR    MI    49022‐3622
ILENE LASHINSKY CUST JAMES M DONNELLY UGMA AZ      2737 EAST ARIZONA BILTMORE            CIRCLE #28                                               PHOENIX          AZ    85016‐2106

ILENE M JONES                                      450 CHESTNUT ST                                                                                READING          PA    19611
ILENE MARTIN TRUST U/A DTD 01‐29‐85                1321 LAKE BLVD                                                                                 SAINT JOSEPH     MI    49085‐1547
ILENE OVERSTREET                                   75 REDMON DR                                                                                   EKRON            KY    40117‐8551
ILENE R SUSSMAN                                    153 VASSAR RD                                                                                  BALA CYNWYD      PA    19004‐2135
ILENE RISNER & MARLA J HALLEY & TERRI E HUBER JT   6118 MILLBROOK DR                                                                              DAYTON           OH    45459‐1810
TEN
ILENE T SABOL                                      2173 PAULETTE                                                                                  WALLEO LK        MI    48390‐2433
ILENE WARSHAW                                      152 TERRACE AVE                                                                                ALBANY           NY    12203
ILENEMARY BLACHA                                   1571 GOLFSIDE VILLAGE BLVD                                                                     APOPKA           FL    32712‐2134
ILERDON MAYER                                      PO BOX 59                                                                                      SO ROYALTON      VT    05068‐0059
ILGA B SVECHS TR ILGA B SVECHS TRUST UA 04/19/05   2 BRATENAHL PLACE STE 4B                                                                       CLEVELAND        OH    44108‐1167

ILGA SPROGIS                                       216 LAKESIDE CIR                                                                               GREENVILLE       SC    29615‐5323
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ILHAM B EL‐KHOURI                               2109 COOPER                                                                                                    LANSING            MI    48910‐2464
ILIANA MARTINEZ                                 TIERRA BLANCA 2‐B                      COL SAN JERONIMO                 MEXICO D F MEXICO    MEXICO
ILIAS G RAPTIS                                  2872 HOFFMAN CIRCLE                                                                                            WARREN             OH    44483‐3010
ILIJA GORGEVSKI                                 2953 SYLVAN DR                                                                                                 STERLING HEIGHTS   MI    48310‐3080

ILIJA JOVANOVSKI                                46025 DONAHUE STREET                                                                                           MT CLEMENS         MI    48044‐3419
ILIO BENVENUTI                                  19706 MAUER DR                                                                                                 ST CLAIR SHRS      MI    48080‐1690
ILLA DAUGHERTY                                  465 BEECH AVE                                                                                                  FAIRFIELD          OH    45014‐1613
ILLA M DAY                                      250 HEIMER #205                                                                                                SAN ANTIONIO       TX    78232‐5201
ILLINOIS STATE TREASURER                        UNCLAIMED PROPERTY DEPARTMENT          1 WEST OLD STATE CAPITOL PLAZA   SUITE 400                              SPRINGFIELD        IL    62701‐1390
ILLONA J IRWIN                                  ATTN ILLONA J SANTO                    3809 FRAZHO RD                                                          WARREN             MI    48091‐1353
ILLUMINATE INTERNATIONAL CORP                   3163 KENNEDY BLVD                                                                                              JERSEY CITY        NJ    07306‐3523
ILMARS RADZINS & DAPHENE RADZINS JT TEN         18764 LEXINGTON                                                                                                DETROIT            MI    48240‐1941
ILMUST JOHNSON                                  294 RIVERSIDE DR                                                                                               DETROIT            MI    48215‐3011
ILONA DIANE LINDEN                              460 GATEWOOD LN                                                                                                SIERRA MADRE       CA    91024‐1022
ILONA R KOTAS & ROBERT V KOTAS JT TEN           604 COURAGEOUS DR                                                                                              ROCKWELL           TX    75032‐5768
ILSE L MONAGHAN                                 3A PONDVIEW WY                                                                                                 NORTHBOROUGH       MA    01532‐1500
ILSE OTT                                        1078 VIRGINIA AVE                      WINDSOR ON                                            N8S 2Y7 CANADA
ILSE‐MARIE I SCHWEISSGUT                        5 BARTEL CT                                                                                                    TIBURON            CA    94920‐1656
ILSE‐MARIEI BROADWAY                            5 BARTEL CT                                                                                                    BELVEDERE          CA    94920‐1656
                                                                                                                                                               TIBURON
IMA SEMPREBON EX EST WALTER J GOVONI            524 WESTFIELD ST                                                                                               W SPRINGFIELD      MA    01089
IMAD F BAZZI                                    864 RAMBLING DR                                                                                                ROCHESTER HILLS    MI    48307‐2883
IMAD ISAAC                                      4234 VANTAGE CT                                                                                                LINDEN             MI    48451‐8458
IMELDA G WARDROP                                C/O ROBERT WARDROP                     83 WELLES DR                                                            NEWINGTON          CT    06111‐2626
IMELDA M KOLTON                                 4053 EAST 50TH                                                                                                 MT MORRIS          MI    48458‐9436
IMELDA WANDER‐LABBE                             ADAM OPEL AG                           IPC A5‐02 D‐65423                RUSSELSHEIM          GERMANY
IMELDA WANDER‐LABBE                             ADAM OPEL AG                           IPC C2‐01                        RUSSELSHEIM GERMAN   GERMANY
IMMACULATE HEART OF MARY CHURCH                 18 LITCHFIELD RD                       PO BOX 127                                                              HARWINTON          CT    06791‐0127
IMMACULATE M KRUHMIN                            2699 TERRELL AVE                                                                                               OCEANSIDE          NY    11572‐1135
IMMACULATE P GENNA                              32 ANDREA DR                                                                                                   W HAVEN            CT    06516‐7523
IMMANUEL PRESBYTERIAN CHURCH                    3300 WILSHIRE BLVD                                                                                             LOS ANGELES        CA    90010‐1702
IMOGENE BRYANT                                  5102 STATE RT 41 NW                                                                                            WASHINGTON CRT     OH    43160‐8740
                                                                                                                                                               HSE
IMOGENE BUCK                                      1226 W HILLCREST AVE                                                                                         DAYTON             OH    45406‐1917
IMOGENE BURKE                                     1773 E FORK RD                                                                                               MEANS              KY    40346‐8723
IMOGENE C KEPPY                                   2201 S HILLANDALE RD                                                                                         ELDRIDGE           IA    52748‐9456
IMOGENE C MOWRER                                  105 NATALIE LANE                                                                                             HATTIESBURG        MS    39402‐3080
IMOGENE COMBS                                     1132 NOUVELLE DR                                                                                             MIAMISBURG         OH    45342‐3271
IMOGENE D GAWLIK                                  27641 TIMBER LINE                                                                                            SAN ANTONIO        TX    78260‐1601
IMOGENE F ROBERTS                                 6355 S KARNS RD                                                                                              WEST MILTON        OH    45383‐8764
IMOGENE G GEE                                     3505 BERKLEY DR                                                                                              CHATTANOOGA        TN    37415‐4640
IMOGENE GABROWSKI                                 467 LAKEWOOD AVE                                                                                             BRUNSWICK          OH    44212‐1807
IMOGENE K RUDISILL                                BOX 544                                                                                                      MARSHALL           NC    28753‐0544
IMOGENE L KRUSE                                   429 MOUNTAIN VIEW                                                                                            ORDWAY             CO    81063‐1175
IMOGENE MCDANIEL                                  351 E PHILADELPHIA BLVD                                                                                      FLINT              MI    48505‐3359
IMOGENE N ROYSTON                                 1513 ROBIN HOOD LN                                                                                           HOPE               AR    71801‐7516
IMOGENE NEELEY                                    5064 STATE ROUTE 276                                                                                         BATAVIA            OH    45103‐1212
IMOGENE P HOLLOWAY                                130 WINDSOR PARK MANOR DR #C111                                                                              CAROL STREAM       IL    60188‐1989
IMOGENE P WILLIAMS                                3022 NICHOL AV                                                                                               ANDERSON           IN    46011‐3146
IMOGENE ROAME                                     9690 WEST SEVEN MILE ROAD                                                                                    NORTHVILLE         MI    48167‐9133
IMOGENE S LINGO                                   3525 MILLVALE RD                                                                                             BALTIMORE          MD    21244‐2971
IMOGENE S ROARK                                   GENERAL DELIVERY                                                                                             CORNETTSVILLE      KY    41731
IMOGENE STOINSKI                                  1218 41ST AVE E                                                                                              ELLENTON           FL    34222‐2540
IMOGENE T BROOKS & PHYLLIS J BROOKS PINTER JT TEN PO BOX 266                                                                                                   ALLEN PARK         MI    48101‐0266

IMOGENE T FLETCHER                              2820 SPRING VALLEY RD                                                                                          MIAMISBURG         OH    45342‐4442
IMOGENE TAYLOR                                  5988 ROUTZONG RD                                                                                               GREENVILLE         OH    45331‐9659
                                            09-50026-mg               Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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IMOGENE UPTAIN TR IMOGENE UPTAIN TRUST UA       1802 C WILDBROOK CT                                                                           CONCORD            CA    94521‐1455
11/15/90
IMOGENE V ANGLIM                                2668 MONTEBELLO                                                                               WATERFORD          MI    48329‐2545
IMOGENE W FREEMAN                               2165 OXMOOR DR                                                                                BEAVERCREEK        OH    45431
IMOGENE WOODSON                                 35 WILBUR HENRY DR                                                                            FLORENCE           NJ    08518‐2701
IMOGENE ZOLLAR                                  558 E GANSEVOORT ST                                                                           LITTLE FALLS       NY    13365‐1431
IMOH T EFFIOK                                   BOX 26803                                                                                     CHICAGO            IL    0ZZZZ
IMOJEAN HATFIELD                                9776 MONROE                                                                                   TAYLOR             MI    48180‐3619
IMOJEAN SOSBE                                   4035 COLTER DR                                                                                KOKOMO             IN    46902‐4487
IMRAN MAHMOOD                                   494 BEAULIEU COURT                                                                            BAY POINT          CA    94565‐6734
IMRE HERCZEG                                    152 STRAWBERRY HILL AVENUE                                                                    WOODBRIDGE         NJ    07095‐2632
IMRE J BOMA FISCHER                             254 DOUGLAS AVE                      TORONTO ON                             M5M 1G8 CANADA
IMRE J BOMA‐FISCHER                             254 DOUGLAS AVENUE                   TORONTO ON                             M5M 1G8 CANADA
IMRE KISS                                       4970 N BRIDGES RD                                                                             ALPHARETTA         GA    30022‐6672
IMTIAZ AHMED                                    PO BOX 34843                                                                                  HOUSTON            TX    77234‐4843
IMY FALIK GOODMAN CUST DEBORAH GOODMAN          1320 CAROL LANE                                                                               DEERFIELD          IL    60015‐2037
UGMA NY
IN J CHO                                        7224 WESTCHESTER                                                                              WEST BLOOMFIELD MI       48322‐2869

IN J HA                                           934‐11 BONGCHUN‐DONG KWANAK‐GU     SEOUL                                  KOREA (REP)
IN‐KOO KANG                                       14 SKYWOOD COURT                                                                            BALTIMORE          MD    21234‐1422
INA B BROWN TR REVOCABLE TRUST 12/03/91 U‐A INA B 2339 SOUTH STATE RD 135                                                                     GREENWOOD          IN    46143‐9445
BROWN
INA B CARPENTER                                   206 E N E ST                                                                                GAS CITY           IN    46933‐1125
INA B MYERS                                       810 LITTLE JOHN CIR                                                                         GAINESVILLE        GA    30501‐2025
INA C HARLESS                                     29235 W 152ND                                                                               GARDNER            KS    66030‐9327
INA CLARK                                         17763 COVEY CT                                                                              BROWNSTOWN         MI    48192‐8462
INA F DAVIS                                       PO BOX 312                                                                                  GRIMSLEY           TN    38565‐0312
INA G FRIED & AARON A FRIED JT TEN                1955 SANTA ROSA AVE                                                                         PASADENA           CA    91104
INA GAUBIS TOD GAIL E POWELL SUBJECT TO STA TOD 2880 TALLAHASSEE DR                                                                           ROCHESTER HLS      MI    48306‐3681
RULES
INA GOLDBERG FRIED                                1955 SANTA ROSA AVE                                                                         PASADENA           CA    91104‐1128
INA H HUNTER                                      16 LEE LANE                                                                                 TUNKHANNOCK        PA    18657‐7106
INA J SEARS TOD LAWRENCE R SCHWAB SUBJECT TO STA 17917 HEATHER LANE                                                                           PLEASANT HILL      MO    64080
TOD RULES
INA J SHORT                                       PO BOX 95                                                                                   DODSON             MT    59524‐0095
INA JAFFE CUST CHARLES JAFFE UGMA PA              1619 FOREST WAY                                                                             DEL MAR            CA    92014
INA LOTT                                          6815 EDGEWATER DRIVE #208                                                                   CORAL GABLES       FL    33133‐7037
INA LOU BEITMAN                                   8751 BOUNDBROOK ST                                                                          DALLAS             TX    75243‐7003
INA M BANOCZI                                     715 BENFIELD RD                    # 114                                                    SEVERNA PARK       MD    21146‐2210
INA M BORDNER                                     16859 GOOSE LANE                   PO BOX 103                                               BERGLAND           MI    49910‐0103
INA M JOHNSON & JANICE L KILLINGBECK JT TEN       4323 WISNER                                                                                 SAGINAW            MI    48601‐6788
INA M MILLER                                      12275 N SUDER RD                                                                            LA SALLE           MI    48145‐9708
INA M NICHOLSON                                   BOX 411                                                                                     STERLING HEIGHTS   MI    48311‐0411

INA M TRIMNER                                   5406 N 32ND ST                                                                                RICHLAND           MI    49083
INA MAE LEONARD                                 2175 AUBURN RD                                                                                ROCHESTER HILLS    MI    48309‐3633
INA MAE SEWARD                                  654 EAST CO RD 500 NORTH                                                                      LOGANSPORT         IN    46947
INA MAE VAN DRIEL                               777 WALKERBILT RD                    LOT 1                                                    NAPLES             FL    34110‐1527
INA MARIE WOLF                                  47190 W 11 MILE RD                                                                            NOVI               MI    48374‐2314
INA OHARA & JOHN J OHARA TR ESTER COHEN U‐W NAT 2 GLENMARK LANE                                                                               EAST NORTHPORT     NY    11731‐3716
COHEN
INA S TIBBETTS                                  277 PINE ST                                                                                   SOUTH PORTLAND     ME    04106‐3842

INA S WEBB                                      LOT 115                              1001 STARKEY ROAD                                        LARGO              FL    33771‐3169
INA W DE HART                                   3297 DANIEL CREEK ROAD                                                                        COLLINSVILLE       VA    24078‐1672
INA W GLADMAN                                   3044 TRULLS RD                       COURTICE ON                            L1E 2L1 CANADA
INAJEAN M DUNN                                  1564 WOODCLIFF SE                                                                             GRAND RAPIDS       MI    49506‐5018
INALYN ROSE                                     102 OMAHA COURT                                                                               BUSH               LA    70431‐4502
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INAMARIE MASTNY                                    56821 FEATHER CT                                                                                THREE RIVERS       MI    49093‐9653
INAVEE K CAREY                                     10014 DENALI ROAD N E                                                                           ALBUQUERQUE        NM    87111‐1227
INCARNATION B DEW                                  420 RIVER DR                                                                                    BARNWELL           SC    29812‐6428
INCENSIO LUNA                                      228 EDDINGTON ST                                                                                FLINT              MI    48503
INDALECIO C NORIEGA                                5408 S KILDARE AVE                                                                              CHICAGO            IL    60632
INDALECIO Y GALICINAO & MRS RIZALINA C GALICINAO   6431 BRIGHTLEA DR                                                                               LANHAM             MD    20706‐2864
JT TEN
INDEPENDENCE INVESTMENT CLUB                       C/O JOSEPH R CONNOLLY                  1 TYSON CT                                               MOUNT LAUREL       NJ    08054‐3061
INDEPENDENT ORDER OF ODD FELLOWS 29‐BOX                                                                                                            LONGMONT           CO    80502‐1791
INDIA FORT COOK                                    155 W JOHNSTON ST                                                                               FORSYTH            GA    31029‐2050
INDIA W DONALD                                     PSC 57 BOX 133                                                                                  APO                AE    09610
INDIANA COUNTY 4‐H TRACTOR CLUB                    ATTN DAN GRIFFITH                      34 PATRICIA DR                                           GREENSBURG         PA    15601‐3961
INDRAM L PHALGOO                                   12381 NW 30TH ST                                                                                SUNRISE            FL    33323‐1517
INDRAVADAN A DAVE                                  PO BOX 1251                                                                                     BELLFLOWER         CA    90707‐1251
INEATHA T HOLMES                                   452 MCPHERSON ST                                                                                MANSFIELD          OH    44903
INES COX & ORVILLE COX JT TEN                      7880 S 35TH W                                                                                   IDAHO FALLS        ID    83402‐5711
INES DANGELO                                       39‐05 48TH AVE                                                                                  LONG ISLAND CITY   NY    11104‐4008

INES FAKAS                                    25‐01 CRESCENT STREET                                                                                ASTORIA            NY    11102‐2937
INES GIACONE                                  57 BRANDYWINE DR                                                                                     CLARKSBORO         NJ    08020
INESS P SNIDER & KENNETH M SNIDER JT TEN      7338 STATE HIGHWAY 357                                                                               FRANKLIN           NY    13775
INESS WILMOTH                                 934 ASPEN RD                                                                                         NEW CARLISLE       OH    45344‐3004
INETTA M BROWN                                1142 MAURER                                                                                          PONTIAC            MI    48342‐1957
INEZ ADELE HINCKLEY                           1537 WASHINGTON AVE                                                                                  NEW ORLEANS        LA    70130‐5907
INEZ C KING                                   3915 COLLIER TRCE NW                                                                                 KENNESAW           GA    30144‐5735
INEZ C MUNTZ                                  5072 BIGGER ROAD                                                                                     DAYTON             OH    45440‐2506
INEZ CAMPBELL                                 608 MALCOLM PLACE                                                                                    ALEXANDRIA         VA    22302‐3718
INEZ D FIELDS                                 ATT JAMES SHAW                              ROUTE I                                                  MCLEAN             TX    79057‐9801
INEZ DAVIS GRAY                               200 DOMINICAN DR                            APT 4205                                                 MADISON            MS    39110
INEZ E GADDIS                                 2003 S PHILLIP DR                                                                                    MUNCIE             IN    47302‐2022
INEZ E HOUSTON                                5755 WINONA DRIVE                                                                                    TOLEDO             OH    43613‐2170
INEZ E VANALST                                100 RED BARN RD                                                                                      NEW PALTZ          NY    12561‐3748
INEZ E WOLF                                   5550 KINGS SCHOOL ROAD                                                                               BETHEL PARK        PA    15102‐3512
INEZ FLEMING                                  352 LA BELLE                                                                                         HIGHLAND PARK      MI    48203‐3019
INEZ FREEDMAN CUST JANE MILLER FREEDMAN UGMA 4 MILTON DR                                                                                           YARDLEY            PA    19067‐3218
PA
INEZ GESSLING & CHARLES GESSLING TR GESSLING  630 OAK STREET #35                                                                                   MANSFIELD          OH    44907‐1480
FAMILY TRUST UA 11/24/03
INEZ H FOWLER                                 37 W SIERRA MADRE BLVD                                                                               SIERRA MADRE       CA    91024‐2457
INEZ HERZER                                   4627 W EGGERT PL                                                                                     MILWAUKEE          WI    53218‐4446
INEZ HOUSTON                                  21177 ARBOR WALK DR                                                                                  FRANKFORT          IL    60423
INEZ IRENE ROZELL                             6317 E COLDWATER RD                                                                                  FLINT              MI    48506‐1213
INEZ KIESELBACH                               15950 BAK ROAD                                                                                       BELLEVILLE         MI    48111‐3517
INEZ L SCHWEGLER CUST NAOMI SCHWEGLER UTMA MN PO BOX 808                                                                                           ALBANY             MN    56307‐0808

INEZ L TUROFF                                      200 E CHESTNUT ST                      APT 1516                                                 CHICAGO            IL    60611‐2328
INEZ LEE ASKIN                                     21393 WOODSIDE                                                                                  FERNDALE           MI    48220‐2259
INEZ LOUISE POINDEXTER                             14654 E 196TH ST                                                                                NOBLESVILLE        IN    46060
INEZ M BROOKS TR UA 07/11/2008 INEZ M BROOKS       P O BOX 573                            2215 HEIGHTSVIEW                                         HGHTN LK HTS       MI    48630
REVOCABLE LIVING TRUST
INEZ M SEXTON                                      1947 STOCKTON ST                                                                                SAN FRANCISCO      CA    94133‐2423
INEZ M SHIPP                                       1301 FRANK DR                                                                                   MONROE             MI    48162‐3475
INEZ M UTSINGER                                    PO BOX 314                                                                                      FAIRVIEW           IL    61432‐0314
INEZ MARTIN                                        677 TAHOE CIR                                                                                   STONE MTN          GA    30083‐4449
INEZ MORGAN & ANGELA MORGAN & CECELIA              2007 TUNNELTON RD                                                                               BEDFORD            IN    47421‐8881
ATKINSON JT TEN
INEZ P SYMONDS                                     8115 MONTROSE DR                                                                                OLIVE BRANCH       MS    38654‐1519
INEZ R ROBINSON                                    5734 14TH ST                                                                                    DETROIT            MI    48208‐1607
INEZ S SHERROW                                     2350 DATURA ST                                                                                  SARASOTA           FL    34239
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INEZ STELMAN                                      2044 CANEY SPRINGS RD                                                                           CHAPEL HILL       TN    37034‐2009
INEZ V TURNER                                     1229 SHADY GROVE ROAD                                                                           NATCHITOCHES      LA    71457‐6941
ING NATIONAL TRUST TR FRANCES W NOVALANY REV      100 WASHINGTON AVE S STE 700                                                                    MINNEAPOLIS       MN    55401‐2136
TRUST UA 08/17/00
ING TR FBO KENNETH WOODIWISS IRA                  PO BOX 513                                                                                      KEEGO HARBORT     MI    48320‐0513
INGA C COHEN TR INGA C COHEN REV TRUST UA         1341 LONDONDERRY PLACE                                                                          LOS ANGELES       CA    90069‐1352
10/06/00
INGA CROCKETT                                     19712 CRESCENT                                                                                  LYNWOOD           IL    60411‐1460
INGA E ROY                                        15455 GLEN OAKS BVLD                   SPACE 351                                                SYLNAR            CA    91342
INGA JANE HEATON                                  22454 WILDWOOD ST                                                                               ST CLAIR SHORES   MI    48081‐2427
INGE H SCHMIDT                                    2289 APPLEGATE RD                                                                               APPLEGATE         MI    48401‐9759
INGE M WOLF                                       925 CORNELL RD                                                                                  KOKOMO            IN    46901‐1571
INGE PRUZAN                                       5242 S MYRTLE ST                                                                                SEATTLE           WA    98118‐3475
INGEBORG E GALLIVAN                               2418 PINEGROVE DR                                                                               W CARROLLTON      OH    45449
INGEBORG FRAS                                     33 AVON RD                                                                                      BINGHAMTON        NY    13905‐4201
INGEBORG FRAS CUST CHRISTIAN I FRAS UGMA NY       33 AVON RD                                                                                      BINGHAMTON        NY    13905‐4201

INGEBORG GRAF & ANDREAS GRAF JT TEN               7621 WHEAT FALL CT                                                                              ROCKVILLE         MD    20855‐1168
INGEBORG H NIELSON & PATRICIA M MAXWELL &         601 N BALL ST                                                                                   OWOSSO            MI    48867‐2309
JASON DALE MAXWELL JT TEN
INGEBORG H NIELSON & PATRICIA M MAXWELL &         601 N BALL ST                                                                                   OWOSSO            MI    48867‐2309
MICHAEL ALAN MAXWELL JT TEN
INGEBORG H NIELSON & PATRICIA M MAXWELL &         601 N BALL ST                                                                                   OWOSSO            MI    48867‐2309
SHANNON MARGARET KENT JT TEN
INGEBORG NEUREUTER                                40 GLENSIDE AVE                                                                                 BUFFALO           NY    14223‐2532
INGEBORG RUCCI                                    544 SOUTH 48TH ST                                                                               BALTO             MD    21224‐3114
INGEBURG HARZHEIM TR INGEBURG HARZHEIM LIVING     7420 ALVERSTONE AVE                                                                             LOS ANGELES       CA    90045‐1310
TRUST UA 06/29/95
INGER A HERMAN                                    35525 SE 42ND ST                                                                                FALL CITY         WA    98024
INGMAR ERIKSSON                                   NORRAGATAN 32 A                        22100 MARIEHAMN        ALAND           FINLAND
INGO L DETERS                                     5460 BRISTOL PARKE DR                                                                           CLARKSTON         MI    48348‐4800
INGRID A S SCHIEFER & JEFFERY K SCHIEFER JT TEN   3744 EATON GATE LN                                                                              AUBURN HILLS      MI    48326‐3894

INGRID B MURPHY                                   21765 EMANUEL DRIVE                                                                             MACOMB            MI    48044
INGRID BAUMANN                                    C/O INGRID OLER                        4020 ENCLAVE MESACIR                                     AUSTIN            TX    78731‐2142
INGRID BAZAN                                      G1 CALLE 4                                                                                      CEIBA             PR    00735‐3160
INGRID DIANE SCHMID                               1940 BRIGGS CHANEY RD                                                                           SILVER SPRING     MD    20905‐5547
INGRID E NAIDECH & NEIL NAIDECH JT TEN            211 CENTRAL PARK WEST                                                                           NEW YORK          NY    10024‐6020
INGRID E WOLF TR UA 07/30/2003 INGRID E WOLF      1850 BREAKERS WEST CT                                                                           WEST PALM BCH     FL    33411‐1868
REVOCABLE TRUST
INGRID H ZOMBER                                   1047 VAN BUREN AVE                     MARINA DEL REY                                           VENICE           CA     90291‐5026
INGRID HUSDAL                                     265 BRENTWOOD AVE                                                                               SF               CA     94127‐2103
INGRID J DUNN                                     300 LOOKOUT DR                                                                                  COLUMBIA         TN     38401‐6135
INGRID K TIBBITS                                  35150 HILLSIDE DR                                                                               FARMINGTON HILLS MI     48335‐2516

INGRID L ASHCOM                                   104 W HICKORY BEND RD                                                                           ENTERPRISE        AL    36330‐1016
INGRID M ANDERSON                                 3603 W CORA AVE                                                                                 SPOKANE           WA    99205‐3949
INGRID M LASAK & LUBOMIR S LASAK JT TEN           27527 N 19TH DR                                                                                 PHOENIX           AZ    85085‐5381
INGRID M MCALLISTER & JOHN R MCALLISTER JT TEN    1210 LOREWOOD GROVE RD                                                                          MIDDLETOWN        DE    19709‐9476

INGRID M SCHOEN                                   1082 FLORENCE COLUMBUS ROAD            RD1                                                      BORDENTOWN       NJ     08505‐4220
INGRID NELSON‐STEFL                               28404 QUAIL HOLLOW RD                                                                           FARMINGTON HILLS MI     48331‐2751

INGRID R HANSEN                                   8765 EDGEWOOD PARK DR                                                                           COMMERCE TWP      MI    48382‐4443
INGRID T VAN WINTER                               2255 CAMINO ROBLEDO                                                                             CARLSBAD          CA    92009‐9346
INGRID TRAEG                                      43 PENNSYLVANIA AVE                                                                             MASSAPEQUA        NY    11758‐4839
INGVALD LAWRENCE MOE                              41 CRYSTAL AVENUE                                                                               WEST ORANGE       NJ    07052‐3545
INGVAR HENRIK SUEBERKROP & PATRICIA A             7202 REGISTRY DR                                                                                INDIANAPOLIS      IN    46217
SUEBERKROP JT TEN
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INICE R TESTA                                   5263 BATH RD                                                                                                            GROVELAND        NY    14462‐9525
INIS P BOND & W L BOND JT TEN                   8 PIEDMONT LANE #6                                                                                                      PINEHURST        NC    28374‐8843
INNELLE SIMONS CUST TAYLER SIMONS UTMA FL       12971 SW 42 ST                                                                                                          MIRAMAR          FL    33027
INNETTA Y HOLLINS                               5038 TILLMAN                                                                                                            DETROIT          MI    48208‐1940
INNOVATIVE BUSINESS FINANCE CONSULTANTS INC     19 MOODY POND ROAD                    NORMAND BEAUDET                                                                   CENTER OSSIPEE   NH    03814‐6716

INO S CENTRA                                    25948 REBECCA ST                                                                                                        FLAT ROCK        MI    48134‐9444
INOCENCI CANALES JR                             220 W BEVERLY                                                                                                           PONTIAC          MI    48340‐2623
INSA S ABRAHAM                                  1144 STEELE BLVD                                                                                                        BATON ROUGE      LA    70806‐6933
INTERNAL PRIMATE PROTECTION LEAGUE              BOX 766                                                                                                                 SUMMERVILLE      SC    29484‐0766
INTERNATIONAL FELLOWSHIP OF CHRISTIANS & JEWS   30 N LASALLE STREET SUITE 2600                                                                                          CHICAGO          IL    60602
INC
INTERSERVE                                      PO BOX 10‐244                         BALMORAL AUCKLAND                                            1030 NEW ZEALAND
INTIMATE APPAREL ASSOCIATES INC                 4 GREENBRIAR LANE                                                                                                       MALBORO          NJ    07746‐1311
INTRA L KRUMINS                                 3700 OAK HILL WAY                                                                                                       FAIRFAX          VA    22030‐1608
INVESTOR CO CUST FBO GAR LEE HOLDINGS LIMITED   C/O TD WATERHOUSE                     77 BLOOR ST WEST 3RD FLOOR   ATTN PHYSICAL SECURITIES CAGE   TORONTO ON M4Y 1A9
                                                                                                                                                   CANADA
IOAN IONITA                                     6180 SOARING DRIVE                                                                                                      COLORADO SPRINGS CO    80918‐6121

IOANE FAALEOLEA                            1806 N SILVERY LN                                                                                                            DEARBORN         MI    48128‐1082
IOANNA ANGELKOS                            PO BOX 773                                                                                                                   HOLMDEL          NJ    07733‐0773
IOANNIS P DIMITRAKOPOULOS                  11671 RANCHO FIESTA ROAD                                                                                                     CARMEL VALLEY    CA    93924‐9434
IOANNIS SEMERTZIDES                        10 MALSTORME RD                                                                                                              WAPP FALLS       NY    12590‐3014
IOLA I MOORE                               PO BOX 332                                                                                                                   TURPIN           OK    73950‐0332
IOLA J JONES                               1179 MAPLEKREST DR                                                                                                           FLINT            MI    48532‐2230
IOLA L FRUM                                1805 ARAPAHO DRIVE                                                                                                           XENIA            OH    45385‐4257
IOLA L HODGE                               2927 GARLAND ST                                                                                                              DETROIT          MI    48214
IOLA R DROST                               2904 TINA CIRCLE                                                                                                             EL CAMPO         TX    77437‐2194
IOLA R RUSSELL                             403CEDAR BROOK LANE                                                                                                          SANDUSKY         OH    44870‐6928
IOLA T PENDERGRAS                          6727 S 25 E                                                                                                                  PENDLETON        IN    46064‐9588
IOLA WALKER                                4087 CLAGUE RD                                                                                                               NORTH OLMSTED    OH    44070‐2309
IOLA WEATHERLY                             1441 HOLLAND PL                                                                                                              DOWNERS GROVE    IL    60515‐1147
IOLANDA ROMANKO CUST GIORDANO ROMANKO UTMA 2819 ST AUGUSTINE DR                                                                                                         ORLANDO          FL    32825‐7139
FL
IOLENE J MITCHELL & JOHN F MITCHELL JT TEN 67 SPRUCE ST                                                                                                                 CLIFTON PARK     NY    12065‐1150
IOLENE MITCHELL                            67 SPRUCE ST                                                                                                                 CLIFTON PARK     NY    12065‐1150
IOMIA RHODES                               18535 CARDONI                                                                                                                DETROIT          MI    48203‐2107
IONA A MANSFIELD                           6116 TREND ST PO BOX 473                                                                                                     MAYVILLE         MI    48744‐0473
IONA BORO                                  123 ELISEO DR                                                                                                                GREENBRAE        CA    94904‐1315
IONA BURT HURT                             C/O IONA BURT                              1508 GLEN EAGLE DRIVE                                                             KOKOMA           IN    46902‐3190
IONA C KENNEDY                             949 CLAY RIDGE RD                                                                                                            ALEXANDRIA       KY    41001‐8018
IONA DENISE MCBRIDE                        11407 TIMBERWILD SR                                                                                                          THE WOODLANDS    TX    77380‐3353
IONA E CALLANDER                           19325 SUNDALE DR                                                                                                             SOUTH BEND       IN    46614‐5845
IONA FOLCIK                                542 SELKIRK DRIVE                                                                                                            MT MORRIS        MI    48458‐8920
IONA H NEVELS                              1704 HIGHLAND AVE                                                                                                            YOUNGSTOWN       OH    44510‐1318
IONA L HORTON                              1319 EVERT AVE                                                                                                               RICHMOND         VA    23224‐5011
IONA M JANSON                              1667 WOODVILLE PIKE                                                                                                          LOVELAND         OH    45140‐9596
IONA MURVIN                                BOX 3832 FV STATION                                                                                                          WINTER HAVEN     FL    33885‐3832
IONA PERKINS                               PO BOX 3312                                                                                                                  KINGSTON         NY    12402‐3312
IONA R PRASHAW                             375 LACOMB RD                                                                                                                NORFOLK          NY    13667‐3253
IONA V VAWTER                              R R 3 BOX 136                                                                                                                RUSSIAVILLE      IN    46979‐9803
IONE B SHINAULT                            2537 CHURCH ST                                                                                                               BYHALIA          MS    38611
IONE BURGER                                6168 SANDY                                                                                                                   BURTON           MI    48519‐1310
IONE COLLINS COWART                        PO BOX 1044                                                                                                                  PECOS            TX    79772‐1044
IONE FRANCES HART                          3823 DOLPHAINE LANE                                                                                                          FLINT            MI    48506‐2653
IONE H WALLS                               4425 DIXON DRIVE                                                                                                             SWARTZ CREEK     MI    48473‐8279
IONE HENRY                                 417 CREEK POINT LN                                                                                                           ARLINGTON        TX    76002‐3331
IONE J BUSH                                5205 WINDRIDGE DR                                                                                                            INDPLS           IN    46226‐1447
IONE KANETAKE CUST KARRIN KANETAKE UTMA HI 2084 KALANIANAOLE ST                                                                                                         HILO             HI    96720‐4947
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IONE L STUMON                                     4250 WEST 202 STREET                                                                                FAIRVIEW PARK      OH    44126‐1523
IONE LANG                                         119 LINDA KNOLL                                                                                     BLOOMFIELD HILLS   MI    48304

IONE M SCHULTZ                                    211 E PALM ROAD                                                                                     WILDWOOD CREST     NJ    08260‐3933

IONIA D LEWIS ADMINISTRATOR U‐W WILLIAM A         ATTN IONIA D LEWIS                      #1                   8 SAVIN ST                             ROXBURY            MA    02119‐2129
DAUGHTRY
IOTA PAYNE                                        1930 OWEN ST                                                                                        FLINT              MI    48503‐4361
IOTA PAYNE                                        1930 OWEN STREET                                                                                    FLINT              MI    48503‐4361
IOTRA WEATHERFORD                                 3300 W OUTER DR                                                                                     DETROIT            MI    48221‐1630
IPOLITO E MARTINEZ                                22823 ELM AVE                                                                                       TORRANCE           CA    90505‐2927
IPPOLITO SPAGNUOLO & REGINA A SPAGNUOLO JT TEN    16940 COMPANIA DRIVE                                                                                MOUNT CLEMENS      MI    48044‐2617

IQUIED T FRAZIER                                  2851 REDWOOD PKWY #706                                                                              VALLEJO            CA    94591‐8655
IRA A COOPER                                      PO BOX 81                                                                                           HOLT               MI    48842‐0081
IRA ALLEN                                         410 S HIGH ST                                                                                       ARCANUM            OH    45304‐1214
IRA BERGMAN CUST JEFFERY ADAM BERGMAN U/THE N     895 RIDGEWOOD RD                                                                                    GLEN RIDGE         NJ    07041‐1442
YU‐G‐M‐A
IRA C RUMNEY                                      80 MANOR CREST DRIVE                                                                                KIRKSVILLE         MO    63501‐3356
IRA C VICKERS & MRS LAVELLE H VICKERS TEN COM     9304 DONNER LANE                                                                                    AUSTIN             TX    78749‐4122

IRA CHARLES APT                                   1015 S OAK GROVE RD                                                                                 CUSHING            OK    74023
IRA D KREIDER                                     1234 SKYLARK DRIVE                                                                                  TROY               OH    45373‐1620
IRA D RIDER JR                                    190 S PARK TRL                                                                                      MONROE             VA    24574‐2017
IRA E BARTON                                      PO BOX 644                                                                                          WILLIAMS           AZ    86046‐0644
IRA E BRONNER                                     217 S BROADWAY                                                                                      PENDLETON          IN    46064‐1203
IRA E FREDERICK PERS REP EST EARL T FREDERICK     14039 ROBSON                                                                                        DETROIT            MI    48227‐2582
IRA E GRAHAM TR E GRAHAM INS TRUST IRA UA         500 DAVIS ST #501                                                                                   EVANSTON           IL    60201‐4621
05/14/97
IRA E TURKEL & CHAVA TURKEL JT TEN                500 GRAND ST #B2A                                                                                   NEW YORK          NY     10002
IRA E WATERS                                      1913 SUMMERS WAY                                                                                    JEFFERSON CITY    MO     65109‐0983
IRA E WILLIAMS                                    205 GARDEN LANE                                                                                     EXCELSIOR SPRINGS MO     64024‐1212

IRA E WILLIAMS & FAYE A WILLIAMS JT TEN           205 GARDEN LANE                                                                                     EXCELSIOR SPG      MO    64024‐1212
IRA EUGENE GREEN                                  PO BOX 663                                                                                          BUFFALO            NY    14215‐0663
IRA F REIKEN                                      BOX 849                                                                                             ARMA               KS    66712‐0849
IRA F SWAILS JR                                   1201 S CHOCTAW RD                                                                                   CHOCTAW            OK    73020‐7058
IRA F THOMAS                                      17 HILLCREST AVE                                                                                    BREWSTER           NY    10509‐3021
IRA FBO JASON A ROWLAND PERSHING LLC CUST         200 WYNDHAM                                                                                         MAINEVILLE         OH    45039‐8743
ROLLOVER
IRA FEILER & MRS CARYL FEILER JT TEN              SDEROT ESHKOL 46                        JERUSALEM                              ISRAEL
IRA G BULTER                                      3107 GRAND AVE                                                                                      LEAVENWORTH       KS     66048‐5205
IRA G BUTLER                                      3107 GRAND AVE                                                                                      LEAVENWORTH       KS     66048‐5205
IRA G FLANARY                                     8323 GREGORY                                                                                        FOWLERVILLE       MI     48836‐9772
IRA G KIPP                                        2273 WAGON WHEEL COURT                                                                              MENDOTA HTS       MN     55120
IRA GLENER                                        48‐55 43 ST                             APT 1H                                                      WOODSIDE          NY     11377
IRA H BLAE                                        16019 NE 21ST STREET                                                                                VANCOUVER         WA     98684‐4505
IRA H GREEN                                       2218 WEST HOWARD ST                                                                                 INDIANAPOLIS      IN     46221‐1414
IRA H JORDAN                                      219 CUMBERLAND WAY                                                                                  ANDERSON          SC     29621‐4408
IRA H PANZER                                      110 E END AVE APT 8G                                                                                NEW YORK          NY     10028‐7418
IRA HURTIS JENKINS                                8150 N VASSAR RD                                                                                    MT MORRIS         MI     48458‐9736
IRA J CALHOUN                                     1354 MILLARD GAINEY RD                                                                              DE FUNIAK SPRINGS FL     32433‐7300

IRA J DREYFUSS                                    11022 HOWLAND DRIVE                                                                                 RESTON             VA    20191‐4906
IRA J GERSHOW & ANNE WOODSON GERSHOW JT TEN       1440 CORTE DE LAS PIEDRAS                                                                           EL CAJON           CA    92019‐2852

IRA J KAUFMAN                                     420 CHESTNUT LANE                                                                                   EAST MEADOW        NY    11554‐3716
IRA J LEFTON & MRS ADRIENNE LEFTON JT TEN         80‐35 SPRINGFIELD BLVD                                                                              HOLLIS HILLS       NY    11427‐1217
IRA J LEVINE                                      43‐44 193RD STREET                                                                                  FLUSHING           NY    11358‐3440
                                                09-50026-mg                 Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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IRA J LUNNIE & BERNEICE LUNNIE TR LUNNIE TRUST NO   3216 LEXINGTON                                                                                  SAGINAW            MI    48601‐4569
1 UA 03/01/01
IRA J MARTIN JR                                     PO BOX 538                                                                                      MCHENRY            MD    21541‐0538
IRA J PRATT                                         14351 S CHANDLER RD                                                                             BATH               MI    48808‐9757
IRA J STEELE                                        30208 BROOKVIEW DR                                                                              LIVONIA            MI    48152‐3453
IRA KOTLER                                          324 HEATHCOTE RD                                                                                SCARSDALE          NY    10583‐7108
IRA L BODDIE                                        19391 NORWOOD ST                                                                                DETROIT            MI    48234‐1819
IRA L CARTE                                         706 KANAWHA BLVD W                                                                              CHARLESTON         WV    25302‐1719
IRA L CRASS                                         8510 ANDERSONVILLE ROAD                                                                         CLARKSTON          MI    48346‐2518
IRA L FORD & DOROTHY J FORD JT TEN                  3886 17TH ST                                                                                    WYANDOTTE          MI    48192‐6430
IRA L HARDEN                                        125 RED FOX CT                                                                                  ROSCOMMON          MI    48653‐9328
IRA L SAMPLES                                       218 WASHINGTON ST                                                                               HAMILTON           OH    45011‐3263
IRA L VASSER                                        PO BOX 47                                                                                       FLINT              MI    48501‐0047
IRA LEE ROUSH                                       705 W LOUGHLIN DRIVE                                                                            CHANDLER           AZ    85224‐6704
IRA M HAVENS                                        1171 LAKESHORE DR                                                                               COLUMBIAVILLE      MI    48421‐9770
IRA M SHEAFFER & GARY M SHEAFFER JT TEN             14 ECHO VALLEY DR                                                                               NEW PROVIDENCE     PA    17560‐9675

IRA N BOLIN                                         312 ARCADIA DR                                                                                  MIDDLETOWN         OH    45042‐3934
IRA N FEIT                                          1949 CROOKED OAK DR                                                                             LANCASTER          PA    17601‐6426
IRA N TERBUSH                                       110 PLUMSTEAD RD                                                                                WATERFORD          MI    48327‐2650
IRA P LA FRAMBOISE                                  10021 ENDICOTT                                                                                  BELLEVILLE         MI    48111‐1281
IRA PORETSKY & MRS IRMA PORETSKY JT TEN             43 ARDSLEIGH PLACE                                                                              MONROE             NJ    08831‐2675
                                                                                                                                                    TOWNSHIP
IRA PRESS                                           60 W 66TH ST 29B                                                                                NEW YORK           NY    10023‐6205
IRA R DOVE                                          9900 AUBUCHON RD                                                                                FRENCH VILLAGE     MO    63036‐1013
IRA R EWALD JR                                      9213 WILLARD RD                                                                                 MILLINGTON         MI    48746‐9311
IRA R LASHINSKY & SUZANNE LASHINSKY JT TEN          534 SOUTH DYRE AVE                                                                              WEST ISLIP         NY    11795‐4208
IRA R LASHINSKY CUST DIANA B LASHINSKY UTMA NY      534 SOUTH DYRE AVE                                                                              WEST ISLIP         NY    11795‐4208

IRA R LASHINSKY CUST JENNIFER N LASHINSKY UTMA NY 534 SOUTH DYRE AVENUE                                                                             WEST ISLIP         NY    11795‐4208

IRA R LASHINSKY CUST SARA A LASHINSKY UTMA NY       534 SOUTH DYRE AVE                                                                              WEST ISLIP         NY    11795‐4208

IRA R SATTERFIELD & BONNIE LOU SATTERFIELD JT TEN   15375 CO RD 448                                                                                 ST JAMES           MO    65559‐8909

IRA R WARMAN                                        3375 MAPLEWOOD DR                                                                               BEAVERCREEK        OH    45434‐6021
IRA ROBINSON                                        9637 S PERRY                                                                                    CHICAGO            IL    60628‐1343
IRA S CARTER & LOIS J CARTER TR CARTER FAMILY TRUST 3131 OZZIE CT                                                                                   CARMICHAEL         CA    95608‐3142
UA 10/01/01
IRA S FAIRLEY & CAROL C FAIRLEY JT TEN              1309 W 3RD ST                                                                                   NORTH PLATTE       NE    69101‐3662
IRA S FERRIS & SUSAN FERRIS JT TEN                  383 APPLE LANE                                                                                  LANCASTER          PA    17601‐3201
IRA S ZUCKERMAN                                     1407 BANKS AVE                                                                                  NAPA               CA    94559‐1551
IRA SUSSMAN CUST DOVID SUSSMAN UGMA NY              50 PARKVILLE AVE                                                                                BROOKLYN           NY    11230‐1017
IRA SUSSMAN CUST SHMUEL DOV SUSSMAN UGMA NY 50 PARKVILLE AVE                                                                                        BROOKLYN           NY    11230‐1017

IRA T CLARK                                         504 CRESTWOOD                                                                                   HEWITT             TX    76643‐3827
IRA T HURST                                         4127 ROSSER SQUARE                                                                              DALLAS             TX    75244‐6643
IRA T TODD JR                                       PO BOX 671                                                                                      CRISFIELD          MD    21817‐0671
IRA THOMPSON                                        430 KIMMEL DR                                                                                   CEDAR HILL         TX    75104‐5019
IRA U CUNNINGHAM                                    1449 ROSSMAN S E                                                                                GRAND RAPIDS       MI    49507‐2237
IRA U GRANT JR                                      3199 TERRACE DR                                                                                 MARIETTA           GA    30066‐4105
IRA W STRICKLIN                                     PO BOX 526                                                                                      WELLSTON           OK    74881‐0526
IRA W WARE                                          6177 CARPENTER BRIDGE RD                                                                        FELTON             DE    19943‐4434
IRA WILLIAM SCHUMER                                 38824 CHERRY POINT LN                                                                           MURRIETA           CA    92563‐8813
IRA WILSON II TR U/AGRMT WITH IRA WILSON II         PO BOX 1037                                                                                     BLOOMFIELD HILLS   MI    48303‐1037
03/23/83
IRAJ MAZLOOM                                        6126 PLATT SPRINGS RD                                                                           LEXINGTON          SC    29073‐8440
IRAY FREDRICK                                       1 FAWNBROOK CT                                                                                  SACRAMENTO         CA    95823‐7645
IRAY JOSEPH LOUCH                                   2627 W M 21                            LOT 44                                                   OWOSSO             MI    48867‐8118
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IRBY C CASH                                       4589 HORTON GAP RD                                                                            BOAZ              AL    35956‐4311
IRBY JUNE ENGLISH                                 17631 N RIVER ROAD                                                                            ALVA              FL    33920‐3211
IRELAND W MC PHERSON                              4437 DUBLIN RD                                                                                BURTON            MI    48529‐1838
IREMA S PIMENTEL                                  PO BOX 14754                                                                                  FREMONT           CA    94539
IRENA GOLJA‐PRALL                                 PO BOX 164                                                                                    E BOOTHBAY        ME    04544‐0164
IRENA LADAK TR IRENA LADAK TRUST UA 09/01/98      29288 HOOVER RD                                                                               WARREN            MI    48093‐3434

IRENA LAURUS & VICTOR LAURUS JT TEN               25016 HASS ST                                                                                 DEARBORN HEIGHTS MI     48127‐3139

IRENA MALACKY                                     35 HONEYSUCKLE CT                                                                             SAFETY HARBOR     FL    34695‐4636
IRENA STAHL & RICHARD STAHL JT TEN                60‐03 50TH AVE                                                                                WOODSIDE          NY    11377‐5850
IRENA ZDUN                                        7520 CALHOUN                                                                                  DEARBORN          MI    48126‐1481
IRENE A BUTSKI                                    35971 ELMIRA                                                                                  LIVONIA           MI    48150‐2582
IRENE A CAMPBELL                                  555 NW 4TH AVE #310                                                                           BOCA RATON        FL    33432‐3674
IRENE A COMEAU & GEORGE J COMEAU JT TEN           418 THERESA AVENUE                                                                            BALTIMORE         MD    21221‐3346
IRENE A EGGLESTON                                 529 WILLOWSPRING DRIVE                                                                        DALLAS            GA    30132
IRENE A GEISLER                                   22 HOYTS LANE                                                                                 NEWBURYPORT       MA    01950‐6241
IRENE A LARSEN                                    3077 HEATHER GLYNN DR                                                                         MULBERRY          FL    33860‐8624
IRENE A MISER & JOHN D MISER & JAMES C MISER JT   3013 NIGHTSONG DR                                                                             INDIANAPOLIS      IN    46241‐5452
TEN
IRENE A MONTENEGIO                                43808 FALLON DRIVE                                                                            LANCASTER         CA    93535‐4271
IRENE A MONTENEGRO                                43808 FALLON DRIVE                                                                            LANCASTER         CA    93535‐4271
IRENE A MULVILLE TR IRENE A MULVILLE REVOCABLE    1185 S APPLETREE LN                                                                           BARTLETT          IL    60103‐5869
TRUSTUA 07/23/97
IRENE A MYLOR                                     107 KIPP AVE                                                                                  ELMWOOD PARK      NJ    07407‐1012
IRENE A NORMANDIN                                 5358 MAC ARTHUR BLVD NW                                                                       WASH              DC    20016‐2522
IRENE A O'NEILL & KEVIN P O'NEILL JT TEN          702 SEAHORSE ROAD                                                                             FRIPP ISLAND      SC    29920‐7370
IRENE A POLONCHAK                                 4729 CUMBERLAND CIRCLE                                                                        EL PASO           TX    79903‐1923
IRENE A PRICE                                     3290 E RIVER ROAD                                                                             MT PLEASANT       MI    48858‐8904
IRENE A RICE                                      178 OLD COLONY ROAD                                                                           TONAWANDA         NY    14150‐8522
IRENE A ROSNECK                                   17122 GRETTEL                                                                                 FRASER            MI    48026‐1723
IRENE A WHEATON CUST KRISTINA A WHEATON UGMA      2580 MEADOWVIEW COURT                                                                         ROCHESTER HILLS   MI    48306‐3822
MI
IRENE ABRAHAM & PATRICIA A BOLAN JT TEN           PO BOX 1054                                                                                   FARMINGTON        MI    48332‐1054
IRENE ACKLEN                                      PO BOX 15224                                                                                  CHATTANOOGA       TN    37415‐0224
IRENE ANJESKI                                     1059 N GUN RIVER DRIVE                                                                        PLAINWELL         MI    49080‐9529
IRENE ATHAN                                       1169 DEVONSHIRE RD                                                                            BUFFALO GROVE     IL    60089‐1123
IRENE B ANDERSON                                  PO BOX 2362                                                                                   PORTSMOUTH        VA    23702‐0362
IRENE B CHANDLER & CAROLYN C BAXTER JT TEN        3646 DENSMORE DR                                                                              CHARLOTTE         NC    28205‐4502
IRENE B GOODRICH                                  37 KIMBERLY COURT                                                                             WINTER HAVEN      FL    33880‐1191
IRENE B HEISS                                     501 RILEY LN                                                                                  W LAFAYETTE       IN    47906‐2368
IRENE B LIVINGSTON                                2818 E MALAPAI DRIVE                                                                          PHOENIX           AZ    85028‐4823
IRENE B MCWHORTER                                 4930 JOHN BURRUSS RD                                                                          CUMMING           GA    30042
IRENE B OWEN                                      5861 HOLLY GLENN DR                                                                           TOLEDO            OH    43612‐4529
IRENE B POINTER                                   3 CONNOR CT                                                                                   THOMASVILLE       NC    27360‐5591
IRENE B QUINN                                     267 NAVAJO LOOP                                                                               SHELTON           CT    06484‐2876
IRENE B STRIKER                                   3207 FALCON LN                       APT 220                                                  WILMINGTON        DE    19808‐4349
IRENE B VITTORIA                                  208 FORT DE FRANCE AVE                                                                        TOMS RIVER        NJ    08757‐4233
IRENE BALDWIN & LINDA JEAN ODEGAARD JT TEN        5647 S 48TH AVE                                                                               OMAHA             NE    68117‐2515
IRENE BANACH                                      7519 BABCOCK ROAD                                                                             LEXINGTON         MI    48450‐9706
IRENE BARBRICK                                    3895 REASNER RD                                                                               ROSE CITY         MI    48654‐9760
IRENE BARECKI                                     221 BONA VISTA DR NW                                                                          GRAND RAPIDS      MI    49504‐5981
IRENE BARECKI & STANLEY BARECKI JT TEN            221 BONA VISTA DR NW                                                                          GRAND RAPIDS      MI    49504‐5981
IRENE BASIL                                       1524 NORTH SHORE DRIVE                                                                        HATLEY            WI    54440
IRENE BEDNARSKI & AMBROSE BEDNARSKI JT TEN        36611 W HOLIDAY CIR 4                                                                         CINTON TWP        MI    48035‐1259
IRENE BEJMA                                       56730 WINDSOR AVE                                                                             SOUTH BEND        IN    46619‐4728
IRENE BELLUS                                      2558 SANTA ROSA DR                                                                            LILLIAN           AL    36549‐5218
IRENE BENTZ                                       237 LOUISE DRIVE                                                                              MORRISVILLE       PA    19067‐4829
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IRENE BENZ ENVALL & MARGARET KOZAM & MARY        12223 FOLKSTONE DRIVE                                                                            OAKHILL           VA    20171‐1818
BENZ JT TEN
IRENE BERNICE MOORE                              2227 WYOMING AVE SW                                                                              WYOMING          MI     49509‐1631
IRENE BILMS & KATHLEEN ALEXANDER JT TEN          6 CORNWALL DR                                                                                    NEW MILFORD      CT     06776‐5304
IRENE BILMS & NANCY BILMS JT TEN                 6 CORNWALL DR                                                                                    NEW MILFORD      CT     06776
IRENE BILMS & PATRICIA MAIDA JT TEN              6 CORNWALL DR                                                                                    NEW MILFORD      CT     06776‐5304
IRENE BLACK & STANLEY BLACK JT TEN               4002 LINCOLN                                                                                     DEARBORN HEIGHTS MI     48125‐2550

IRENE BLAHA & DONALD E AGRESTA JT TEN            202 PEARSON ST                                                                                   APEX             NC     27502‐1452
IRENE BOGATZ FORKASH                             84 BEARD ST                                                                                      STATEN ISLAND    NY     10314‐6241
IRENE BOOTH                                      616 W GRACELAWN AVE                                                                              FLINT            MI     48505‐6112
IRENE BORK                                       15341 PEBBLE POINTE DR                                                                           CLINTON TWP      MI     48038‐5130
IRENE BRETON                                     10 ELIZABETH ST                                                                                  ROCHESTER        NH     03867‐4413
IRENE BROOKS & ANDREA RENIE CARTER JT TEN        6450 LAFAYETTE                                                                                   DEARBORN HEIGHTS MI     48127‐2123

IRENE C ALLEN                                    1255 PASADENA AVE S APT 213                                                                      ST PETERSBURG     FL    33707‐6205
IRENE C BARTON                                   839 MARVEL AVE                                                                                   CLAYMONT          DE    19703‐1010
IRENE C HAHN & CARL H HAHN JT TEN                24594 RIDGECROFT                                                                                 EAST DETROIT      MI    48021‐3461
IRENE C HALL & VICTORIA ANN FAMULARO JT TEN      21458 PLATEAU CT                                                                                 MACOMB            MI    48044‐4364
IRENE C LYSEK                                    81 ROBERTS AVE                                                                                   BUFFALO           NY    14206‐3119
IRENE C MATHNER                                  1904 TAMPA BAY DR                                                                                WESLEY CHAPEL     FL    33543‐5318
IRENE C MAZIARZ                                  886 BOBOLINK LN                                                                                  WEST CHESTER      PA    19382‐5556
IRENE C ORZECHOWSKI                              70 PEORIA AVE                                                                                    CHEEKTOWAGA       NY    14206‐2633
IRENE C PENZA CUST GREGORY T PENZA UTMA NJ       3 PARTRIDGE LANE                                                                                 LONG VALLEY       NJ    07853‐3338
IRENE C PENZA CUST REBECCA C PENZA UTMA NJ       3 PARTRIDGE LANE                                                                                 LONG VALLEY       NJ    07853‐3338
IRENE C PISCOPO                                  57 SOUNDVIEW DR                         HUNGTINGTON BAY HILLS                                    HUNTINGTON        NY    11743‐1462
IRENE C STEPIEN & BARBARA C STRANYAK JT TEN      6496 ARCHDALE                                                                                    DETROIT           MI    48228‐3800
IRENE C STOREY                                   57 KENT AVE                             SAULT ST E MARIE ON                    P6B 4G8 CANADA
IRENE C WILLS & PAUL W WILLS JT TEN              1208 MESA TRAIL                                                                                  KELLER            TX    76248
IRENE C WOODS                                    7200 3RD AVE                            OFC                                                      SYKESVILLE        MD    21784‐5224
IRENE C ZYLA                                     12 FLAX ISLE DR                                                                                  LTL EGG HBR       NJ    08087‐2308
IRENE CAMPBELL                                   645 MAPLEHILL DR                                                                                 WEST CARROLLTON   OH    45449‐1601

IRENE CHANZES                                    129 DYER AVE                            SWANYCK ESTATES                                          NEW CASTLE         DE   19720‐2052
IRENE CHIZMAR                                    2967 JACKS RUN ROAD                     APT 310                                                  MCKEESPORT         PA   15131
IRENE CIESIELSKI                                 737 LIBERTY AVE                                                                                  UNION              NJ   07083‐6439
IRENE COLE                                       30 BELLWOOD DR                                                                                   SWARTZ CREEK       MI   48473‐8283
IRENE CONSTANCE MONDRO                           C/O I MC MAHON                          28818 JEFFERSON                                          SAINT CLAIR SHORES MI   48081‐1380

IRENE CORDLE                                     11403 BELLAMY RD                                                                                 BERLIN HEIGHT     OH    44814‐9437
IRENE CORONATO                                   540 JERICHO LANE                                                                                 TOCCOA            GA    30577‐9486
IRENE CURB                                       1826 CHELAN                                                                                      FLINT             MI    48503‐4308
IRENE CURTIS FLOWERS & H ALAN FLOWERS JT TEN     830 RIDGE CLIFF DRIVE                                                                            FLORENCE          AL    35634‐2325

IRENE D BURY & CLAUDIA G BURY JT TEN             3154 LINCOLN                                                                                     DEARBORN        MI      48124‐3506
IRENE D DUBREUIL                                 848 N WATERFORD LANE                                                                             WILMINGTON      DE      19808‐4404
IRENE D GARZA                                    18363 BOCK AVE                                                                                   LANSING         IL      60438‐2505
IRENE D GAVRIC                                   1100 OAK ST                                                                                      SOUTH MILWAUKEE WI      53172‐1656

IRENE D KOSIOR                                    84 EDDY GLOVER BLVD                                                                             NEW BRITAIN       CT    06053‐2410
IRENE D NESTORAK                                  1703 GREGORY ST                                                                                 YPSILANTI         MI    48197‐1696
IRENE D SNIEGOCKI                                 107 KNOLLS DR                                                                                   STONY BROOK       NY    11790
IRENE D SORELLE & JOHN HAVELA & WILLIAM HAVELA JT PO BOX 122                                                                                      BERGLAND          MI    49910‐0122
TEN
IRENE DAMERON                                     PO BOX 9654                                                                                     COLUMBUS          OH    43209‐0654
IRENE DAWN DIPAOLO & DONATO DIPAOLO JT TEN        7131 RIDGE RD                                                                                   LOCKPORT          NY    14094‐9460

IRENE DELUCA                                     18 OGDEN ROAD                                                                                    STAMFORD          CT    06905‐3209
IRENE DENNIS                                     ATTN IRENE THOMAS                       2860 FAITH LN                                            SPRING HILL       TN    37174
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Name                                              Address1                              Address2             Address3          Address4          City               State Zip

IRENE DERAN                                       3901 E 43RD ST                                                                                 NEWBURGH         OH      44105‐3113
                                                                                                                                                 HEIGHTS
IRENE DRACE & ANNE DRACE HESS JT TEN              7220 MARLTON LANE                                                                              ST LOUIS         MO      63123‐2302
IRENE DRAHOS                                      6629 ORCHARD N DR                                                                              SAINT PETERSBURG FL      33702‐7353

IRENE DUDEK                                       3855 SANDPIPER COVE RUN                                                                        SOUTH BEND         IN    46628‐3878
IRENE DUDLEY STEVENSON                            5700 FOXBURY DRIVE                                                                             OAK RIDGE          NC    27310‐9795
IRENE DUNN                                        RR 3                                  612 FALLIS LINE      MILLBROOK ON      L0A 1G0 CANADA
IRENE DUNN                                        612 FALLIS LINE R R 3                 MILLBROOK ON                           L0A 1G0 CANADA
IRENE DUNN                                        612 FALLIS LINE                       RR3 MILLBROOK ON                       L0A 1G0 CANADA
IRENE DUNN                                        612 FALLIS LINE R R 3                 MILLBROOK ON                           L0A 1G0 CANADA
IRENE E BORYCZKA & FRANK J BORYCZKA JT TEN        271 MIRACLE DR                                                                                 TROY               MI    48084
IRENE E BROWN CUST CHRISTOPHER D BROWN UGMA       675 LINCOLN AVE                                                                                GLEN ROCK          NJ    07452‐2518
NJ
IRENE E DEMARIA                                   1531 E 36 ST                                                                                   BROOKLYN           NY    11234‐3415
IRENE E FITZGERALD & EDWARD K FITZGERALD JT TEN   285 LAFAYETTE AVE                                                                              WESTWOOD           NJ    07675‐2823

IRENE E FOSTER                                    1919 CLEARWOOD DRIVE                                                                           JOHNSON CITY       TN    37604‐7690
IRENE E GROMEK TR IRENE E GOMEK TRUST UA          1508 SUBURST DR                                                                                LAS VEGAS          NV    89110
11/09/94
IRENE E HELE                                      415 GIBBONS ST                        OSHAWA ON                              L1J 4Z3 CANADA
IRENE E HELLARD                                   4725 REAN MEADOW DRIVE                                                                         KETTERING          OH    45440‐2028
IRENE E KOUTS                                     4198 LEWISBURG WESTERN ROAD                                                                    LEWISBURG          OH    45338‐9557
IRENE E LANTEIGNE                                 36626 ENGLESIDE                                                                                STERLING HEIGHTS   MI    48310‐4546

IRENE E LEEMAN                                    27175 ARDEN PARK CT                                                                            FARMINGTON HILLS MI      48334‐5311

IRENE E LEMMON                                  2727 S 1050 E                                                                                    HAGERMAN           ID    83332‐5838
IRENE E MITCHELL                                17218 HORACE ST                                                                                  GRANADA HILLS      CA    91344
IRENE E PEASE                                   5870 N COUNTY RD 700W                                                                            MIDDLETOWN         IN    47356‐9741
IRENE E PIFER & RICHARD S PIFER JT TEN          11080 BENDIX DRIVE                                                                               GOODRICH           MI    48438‐9445
IRENE E SCHELLHASE & MYRON SCHELLHASE & MARY JO 3805 SMITH SE                                                                                    ALBERQUE           NM    87108‐4345
SCHELLHASE JT TEN
IRENE E SKUTNICK                                119 SHADY LANE DR                                                                                DICKSON CITY       PA    18447‐1336
IRENE E SZOPO                                   5569 NORTH 16TH ST                                                                               ARLINGTON          VA    22205‐2749
IRENE E TERRELL                                 P O BOX1241                                                                                      SANDUSKY           OH    44871‐1241
IRENE E TRACESKI                                409 OREGON RD                                                                                    MERIDEN            CT    06451‐3724
IRENE ELAINE QUEYREL TR QUEYREL FAMILY TRUST UA 18191 SERRANO AVE                                                                                VILLA PARK         CA    92861‐1207
04/30/91
IRENE ELIZABETH HECKEL                          PO BOX 186                                                                                       MASTIC BEACH       NY    11951
IRENE ENGLISCH                                  1 FLOWER STREET                                                                                  NEW ROCHELLE       NY    10801
IRENE EVANCHO & PAUL D LESSER JT TEN            354 PARK ST                                                                                      FREELAND           PA    18224‐2139
IRENE F FAUCHER                                 C/O RENE FAUCHERE                       1278 OLD DEKALB RD                                       CANTON             NY    13617‐3127
IRENE F FLEGEL                                  PO BOX 924                                                                                       PINCKNEY           MI    48169‐0924
IRENE F KRISAN                                  29056 ROYCROFT ST                                                                                LIVONIA            MI    48154
IRENE F LEAF                                    5253 BRYNWOOD DRIVE                                                                              COLUMBUS           OH    43220‐2273
IRENE F SHEPPARD                                3155 LEITH ST                                                                                    FLINT              MI    48506‐3038
IRENE F TACEY                                   4166 E HILL RD                                                                                   GRAND BLANC        MI    48439‐7956
IRENE FAN LAI                                   130 CONSTITUTION WAY                                                                             BASKING RIDGE      NJ    07920‐2964
IRENE FLOWERS KEETON                            433 PERKINS MILL RD                                                                              GOLDSBORO          NC    27530‐8475
IRENE G GAROFALO CUST ADRIENNE J GAROFALO UGMA 49A AVENUE B                                                                                      PRT WASHINGTN      NY    11050‐2466
NY
IRENE G GAROFALO CUST LAUREN G GAROFALO UGMA 49A AVENUE B                                                                                        PRT WASHINGTN      NY    11050‐2466
NY
IRENE G MARKBY                                  11450 MOFFETT CT                                                                                 FENTON             MI    48430‐8810
IRENE G MASSE                                   8 SWEET BIRCH DRIVE                                                                              MERIDEN            CT    06450‐7131
IRENE G SCHMIDT                                 1617 RAVENSWOOD DR                                                                               LANSING            MI    48917‐1727
IRENE G WIELAND                                 4454 EAST PARK DRIVE                                                                             BAY CITY           MI    48706‐2550
IRENE G WILSON                                  16 EDGEWATER DRIVE                      ENNISMORE ON                           K0L 1T0 CANADA
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Name                                                 Address1                                Address2                     Address3           Address4          City               State Zip

IRENE G ZONDLO                                       4279 E SOUTH SHORE DR                                                                                     ERIE               PA    16511‐1383
IRENE GARCIA                                         1301 S FAIRLANCE DRIVE                                                                                    WALNUT             CA    91789‐3726
IRENE GEE                                            28 E 10 ST                                                                                                NEW YORK           NY    10003‐6201
IRENE GLADDEN & RUSSELL B GLADDEN & ROBERT A         1377 LEO WAY                                                                                              WOODLAND           CA    95776‐6420
GLADDEN JT TEN
IRENE GOIKE TR UA 04/10/2002 IRENE GOIKE             610 CAPAC RD                                                                                              ALLENTON           MI    48002
REVOCABLE LIVING TRUST
IRENE GOLA                                           216 PENN AVE EXT                                                                                          TURTLE CREEK       PA    15145‐2083
IRENE GRALEWSKI & HOWARD GRALEWSKI JT TEN            APT 4E                                  206 SOUTH GALENA             MID TOWN CENTER                      FREEPORT           IL    61032‐5174

IRENE GRALEWSKI & KAREN L GOECKE JT TEN              APT 4E                                  MID TOWN CENTER              206 SOUTH GALENA                     FREEPORT           IL    61032‐5174
IRENE GRIMMETT & CHARLES C GRIMMETT JT TEN           8950 MERCEDES ST                                                                                          REDFORD            MI    48239‐2314
IRENE GROCHALA                                       137 57TH ST                                                                                               NIAGARA FALLS      NY    14304‐3807
IRENE H BAIRD                                        164 LIBERTY ST                                                                                            PAINESVILLE        OH    44077‐3331
IRENE H BAUM                                         PO BOX 1560                                                                                               WINTER PARK        CO    80482‐1560
IRENE H CARTER                                       1317 GARLAND DR                                                                                           OKLAHOMA CITY      OK    73111‐4709
IRENE H CREECH                                       795 QUAIL RD                                                                                              BARNWELL           SC    29812‐6463
IRENE H FLORIDA                                      2850 FM 1466                                                                                              COUPLAND           TX    78615
IRENE H GALAZ                                        7346 HOWERY ST                                                                                            SOUTH GATE         CA    90280‐8143
IRENE H GORSKI                                       38631 CLAREMONT DR                                                                                        STERLING HEIGHTS   MI    48310‐3129

IRENE H JORGENSEN                                    45 ELIZABETH STREET                                                                                       SAYREVILLE         NJ    08872‐1625
IRENE H KALLIS                                       34443 FOUNTAIN BLVD                                                                                       WESTLAND           MI    48185‐1419
IRENE H LAYTON                                       PINE BLUFF VILLAGE                      1514 RIVERSIDE DRIVE B‐313                                        SALISBURY          MD    21801
IRENE H PIZZUTI                                      290 LANSDOWNE AVE                                                                                         UNION              NJ    07083‐8309
IRENE H REDIKER & RENEE REDIKER JT TEN               13433 WHITTIER DR                                                                                         STERLING HEIGHTS   MI    48312‐6919

IRENE H RUGANI                                       16 COLONIAL SQ                                                                                            MIDDLETOWN         NJ    07748‐3548
IRENE H TABAG                                        32 LEGEND LANE                                                                                            WESTBURY           NY    11590‐6329
IRENE H TARKANE                                      2789 NORTH ROAD N E                                                                                       WARREN             OH    44483‐3048
IRENE H TOWNSEND                                     665 LYNNDALE CT                                                                                           ROCHESTER          MI    48309‐2436
IRENE H WILHELM                                      4825 EARLE AVE                          APT 121                                                           ROSEMEAD           CA    91770‐1167
IRENE HADDELAND                                      108 SHEAR HILL ROAD                                                                                       MAHOPAC            NY    10541‐3624
IRENE HANNA                                          16 WEST 77TH STREET APT 2E                                                                                NEW YORK           NY    10024‐5126
IRENE HARRIET GOLDMAN                                APT TS‐14                               3610 YACHT CLUB DR                                                AVENTURA           FL    33180‐3541
IRENE HEKIMIAN                                       2423 33RD STREET                                                                                          ASTORIA            NY    11102‐1136
IRENE HICKMAN                                        26772 SENATOR BLVD                                                                                        SOUTHFIELD         MI    48034‐5681
IRENE HOEFLING                                       3 OCEANS WEST BLVD 2C5                                                                                    DAYTONA BEACH      FL    32118‐5988
IRENE HOGYA                                          418 KEENE ST                                                                                              PERTH AMBOY        NJ    08861‐2635
IRENE HORN                                           74500 COON CREEK RD                                                                                       ARMADA             MI    48005‐3008
IRENE HORNE                                          322 BUCHANAN ST F12                                                                                       HOLLYWOOD          FL    33019
IRENE I KRUMINS                                      102 SEMINOLE PASS                                                                                         HALLSVILLE         TX    75650‐5017
IRENE I MADDEN & JOHN F MADDEN & KATHLEEN A          22 ENGLISH ST                                                                                             BINGHAMTON         NY    13904‐1708
GALLOWAY JT TEN
IRENE I STRETTEN TR THE IRENE I STRETTEN REVOCABLE   2390 LOCKLIN LN                                                                                           WEST BLOOMFIELD MI       48324‐3750
TRUST UA 06/21/91
IRENE I VIVIANI & LEWIS A VIVIANI JT TEN             125 27TH AVE                                                                                              MOLINE             IL    61265‐5176
IRENE J ALBRIGHT                                     1348 WALNUT STREET                                                                                        ALLENTOWN          PA    18102‐4660
IRENE J AMON                                         101 DILLON DR                                                                                             YOUNGSVILLE        PA    16371‐1526
IRENE J BICEK                                        570 CANNERY RD                                                                                            MERCER             PA    16137‐3708
IRENE J CANTER                                       1439 HICKORY HILL DR                                                                                      FRANKLIN           IN    46131‐7708
IRENE J CLAWSON & DEBORAH M FIGIOLI JT TEN           12357 W PIERSON RD                                                                                        FLUSHING           MI    48433‐9755
IRENE J COOPER                                       15300 MCKEIGHAN RD                                                                                        CHESANING          MI    48616‐9414
IRENE J DIGONNO                                      4555 CAVALIER COURT                                                                                       FAIRFIELD          OH    45014‐1019
IRENE J DONAHUE                                      2707 GREEN ST                                                                                             CLAYMONT           DE    19703‐1936
IRENE J FREEMAN                                      504 WEST 38TH STREET                                                                                      WILMINGTON         DE    19802‐2104
IRENE J GARRIOTT                                     2617 MAPLECREST RD                      APT 122                                                           BETTENDORF         IA    52722‐7808
IRENE J KRISTICH                                     23 SURREY RUN                                                                                             WILLIAMSVILLE      NY    14221‐4531
IRENE J MARCH                                        1005 COPPERFIELD DR                     OSHAWA ON                                       L1K 2C6 CANADA
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IRENE J MOORE TR IRENE J MOORE TRUST UA 08/06/99 1146 MAIN ST APT 1I                                                                                  MANCHESTER         CT    06040‐6038

IRENE J MOSIMANN                                     208 ZACHERY ST APT 229                                                                           MOUNT VERNON       IL    62864‐6743
IRENE J PIETROWSKI                                   3554 SOUTH 17TH ST                                                                               MILWAUKEE          WI    53221‐1650
IRENE J SCHURR                                       5352 W NELSON                                                                                    CHICAGO            IL    60641‐4953
IRENE J SHEPORAITIS & ALBIN F SHEPORAITIS JT TEN     1724 SALEM ROAD                                                                                  VIRGINIA BEACH     VA    23456‐1304

IRENE JAAP & PAMELA A CAMAIONI JT TEN                1710 N 22ND AVE                                                                                  MELROSE PARK    IL       60160‐1928
IRENE JUGASZEK                                       9053 WORMER                                                                                      REDFORD         MI       48239‐1293
IRENE K BARBER                                       3885 LONE PINE RD                       UNIT 300                                                 WEST BLOOMFIELD MI       48323‐2936

IRENE K COMPTON                                      1475 14TH STREET                                                                                 ORANGE CITY        FL    32763‐3207
IRENE K DIAMOND & SUSAN A BONDIE JT TEN              14707 NORTHVILLE RD                     APT 158                                                  PLYMOUTH           MI    48170‐6064
IRENE K JONES & SYLVIA L KOSINSKI JT TEN             3708 SANDY CREEK DRIVE                                                                           SHELBY TOWNSHIP    MI    48316‐3961

IRENE K PATTOK & KATHLEEN M OLMAN & THOMAS J     C/O IRENE PATTOK                            4000 REDBUSH DRIVE                                       GRANDVILLE         MI    49418‐3041
PATTOK JT TEN
IRENE K WANKE TR IRENE K WANKE TRUST UA 12/23/99 PO BOX 376                                                                                           FRANKENMUTH        MI    48734‐0376

IRENE K WOOD                                    1074 CRESTLINE DR                                                                                     AKRON              OH    44312‐3243
IRENE KAMINSKI                                  29151 NOTTINGHAM E                                                                                    WARREN             MI    48092‐4219
IRENE KARKOSKI                                  24935 SYLBERT CT                                                                                      REDFORD            MI    48239
IRENE KELLY                                     16 HAMPSHIRE DR                                                                                       GLASTONBURY        CT    06033‐3059
IRENE KELLY                                     5104 JAMESVILLE RD                                                                                    JAMESVILLE         NY    13078
IRENE KISS CUST ALEXIS MALIN KISS UGMA MD       220 COLONIAL AVE                                                                                      MOOHEESTOWN        NJ    08057‐2704
IRENE KORWEK                                    1900 WEST OMAR DRIVE                                                                                  TUCSON             AZ    85704‐1243
IRENE KOSSAK                                    22156 MORLEY                                                                                          DEARBORN           MI    48124‐2217
IRENE KOZICH                                    3414 BROOKDALE AVE                                                                                    PARMA              OH    44134‐2227
IRENE KRUPA                                     11211 E 12 MILE RD                                                                                    WARREN             MI    48093‐6443
IRENE KSENYAK                                   188 TIMBER LANE                                                                                       NORTHFIELD         OH    44067‐1931
IRENE KULCSAR                                   11311 LOGINAW DR                                                                                      WARREN             MI    48089‐1075
IRENE L ANDERSON & ARTHUR LEROY ANDERSON JT TEN 6825 COUGAR RIDGE DR                                                                                  LEWISTON           ID    83501‐7858

IRENE L ANTONIAK                                     2323 LARCHMONT DRIVE                                                                             WICKLIFFE          OH    44092‐2439
IRENE L CHANDLER                                     2790 DAVIDSON DR                                                                                 LITHONIA           GA    30058‐7418
IRENE L DOWD TR UA 05/20/90                          875 E CAMINO REAL                                                                                BOCA RATON         FL    33432‐6356
IRENE L HERFURTH & RICHARD C HERFURTH JT TEN         206 CENTER PKWY                                                                                  YORKVILLE          IL    60560‐1010

IRENE L KUCHARSKI                               3715 SO 5TH PLACE                                                                                     MILWAUKEE          WI    53207‐3809
IRENE L O'DONNELL                               15304 CHATFIELD AVE                                                                                   CLEVELAND          OH    44111‐4307
IRENE L OXIE                                    49740 POTOMAC CT                                                                                      SHELBY             MI    48315‐3970
IRENE L PACIOTTI                                53 WELLSLEIGH CT                                                                                      E STROUDSBURG      PA    18301‐8059
IRENE L POINTE                                  2912 BORDEN                                                                                           TROY               MI    48083‐2474
IRENE L PRUITT                                  PO BOX 315                                                                                            GREENUP            KY    41144‐0315
IRENE L TAYLOR                                  25 EUGENE AVE                                                                                         BRISTOL            CT    06010‐7211
IRENE L VAN DEUSEN                              442 MILLBROOK RD                                                                                      HUDSON             NY    12534‐4516
IRENE L WOOD & ANTHONY M WOOD JT TEN            5250 3RD MANOR                                                                                        VERO BEACH         FL    32968
IRENE L WOYDT                                   6915 MIDDLE RD                                                                                        RACINE             WI    53402‐1337
IRENE LANGFORD                                  4328 N DRYDEN AVE P O BOX 5043                                                                        ST LOUIS           MO    63115‐0043
IRENE LEGUMINA & ROSANNE L CLEMENT JT TEN       14949 LIME STREET                                                                                     HESPERIA           CA    92345
IRENE LIS                                       8250 SOUTH AUSTIN AVE                                                                                 BURBANK            IL    60459‐1924
IRENE LISOWSKI & MONALISA MARIE GALLOWAY JT TEN 35284 EDEN PARK DRIVE                                                                                 STERLING HEIGHTS   MI    48312‐3831

IRENE LLOYD                                          303 E 57TH ST 17B                                                                                NEW YORK           NY    10022‐2947
IRENE LUTHER & CRAIG LUTHER JT TEN                   6615 SHADOWLAWN                                                                                  DEARBORN HTS       MI    48127
IRENE M AGRILLO                                      1009 CLOVER RD                                                                                   WOODBURY           NY    11791‐1641
IRENE M ALKIM                                        8001 SO GREEN                                                                                    CHICAGO            IL    60620‐2546
IRENE M ALLEN & VICKIE HOOPER CHAUIS JT TEN          801 ASCAUGA LAKE RD                                                                              GRANITEVILLE       SC    29829‐3445
IRENE M ANDERSON                                     4977 BATTERY LANE #501                                                                           BETHESDA           MD    20814‐4919
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Name                                               Address1                               Address2             Address3          Address4          City               State Zip

IRENE M ANDIARIO                                   502 HARRIET LANE                                                                                HAVERTOWN          PA    19083‐1818
IRENE M ARNOLD                                     12354 WINDCLIFF                                                                                 DAVISBURG          MI    48350‐1677
IRENE M BARRATT                                    21 S SHIRLEY AVE                                                                                MOORESTOWN         NJ    08057‐2247
IRENE M BARTL & JUDITH ANN NELSON JT TEN           752 SW RIVER BEND CIR                                                                           STUART             FL    34997‐7448
IRENE M BECKWITH & GAYLE A WILCOX & LEWIS E        7065 DRIFTWOOD CIRCLE                                                                           DAVISON            MI    48423
BECKWITH III JT TEN
IRENE M BECKWITH & GAYLE A WILCOX JT TEN           7065 DRIFTWOOD CIRCLE                                                                           DAVISON            MI    48423‐9525
IRENE M BOYLE & JOHN J BOYLE SR JT TEN             73 COTTAGE LN E                                                                                 COLUMBUS           NJ    08022‐1105
IRENE M BROWN                                      5955 ESSEX CENTER RD                                                                            ST JOHNS           MI    48879‐9773
IRENE M CHAPMAN                                    7467 STEGER                                                                                     DETROIT            MI    48238‐1258
IRENE M CHOCHOLEK & DOROTHY KUCA SOBOL &           10 HILLSIDE CIRCLE                                                                              PALOS PARK         IL    60464‐1205
RAYMOND KUCA JT TEN
IRENE M COX                                        125 42 SOUTH 200 W                                                                              KOKOMO             IN    46901‐7657
IRENE M DEPOORTER                                  26214 CHIPPENDALE                                                                               ROSEVILLE          MI    48066‐3576
IRENE M DREW                                       15789 MURWOOD CT                                                                                LAKE OSWEGO        OR    97035‐3572
IRENE M EATON                                      1403 FIFTH AVE                                                                                  MANCHESTER         TN    37355
IRENE M ESSER                                      1312 MAYFAIR DR                                                                                 WATERTOWN          SD    57201‐1154
IRENE M FITZSIMMONS TR IRENE M FITZSIMMONS         19930 HICKORY LEAF LANE                                                                         SOUTHFIELD         MI    48076‐1760
TRUST UA 02/23/00
IRENE M GAWRON                                     42 MEMORIAL DR                                                                                  BUFFALO            NY    14206‐1714
IRENE M GEARHART                                   6065 CARDINAL HILL NW                                                                           NORTH CANTON       OH    44720
IRENE M HANUSEK & JOSEPH W HANUSEK JT TEN          5 TIMBERCREST DR                                                                                CANTON             CT    06019‐3734
IRENE M HETZLER                                    333 SANDALWOOD DR                                                                               ROCHESTER          NY    14616‐1333
IRENE M HOPPER & RICHARD M HOPPER JT TEN           405 SW TWIN OAKS CR                                                                             CORVALIS           OR    97333‐1149
IRENE M JACKSON                                    49 DARTMOUTH AVE                                                                                BUFFALO            NY    14215‐1001
IRENE M JENICH TR IRENE M JENICH LIVING TRUST UA   59711 GLACIER RIDGE SOUTH                                                                       WASHINGTON         MI    48094‐2233
04/01/97                                                                                                                                           TOWNSHP
IRENE M KING                                       PO BOX 1350                                                                                     TAYLOR             MI    48180‐5750
IRENE M KLOS                                       27633 LASHER RD                        APT 113                                                  SOUTHFIELD         MI    48034
IRENE M KUZYK                                      24322 CHERRY HILL                                                                               DEARBORN           MI    48124‐1358
IRENE M LABARGE & TIMOTHY M LABARGE JT TEN         115 N TILDEN                                                                                    WATERFORD          MI    48328‐3771
IRENE M LEDBETTER                                  12354 WINDCLIFF DR                                                                              DAVISBURG          MI    48350‐1677
IRENE M LEGRAND MC INNIS & HARMON N MC INNIS JT    PO BOX 1814                                                                                     BELLEVIEW          FL    34421‐1814
TEN
IRENE M LIBEL & BARBARA IRENE MC GARRY YOUNG TR    1049 BLACKJACK RD                                                                               SEVERANCE          KS    66087‐4127
UW WILLIAM H LIBEL
IRENE M LIGHTCAP                                   4 TWIN PINES LANE                                                                               CALIFON            NJ    07830
IRENE M MASLANIK & KEITH M MASLANIK JT TEN         187 PHOENIX AVE                                                                                 MANTUA             NJ    08051‐1311
IRENE M OCONNOR                                    308 ANDOVER CT                                                                                  MASSAPEQUA         NY    11758‐6552
IRENE M OHLSEN                                     9816 NEW ENGLAND WOODS CT                                                                       BURKE              VA    22015‐2906
IRENE M OLIVER                                     3025 BROOKFIELD CIRCLE                                                                          CUMMING            GA    30040‐7117
IRENE M PARK                                       6821 18TH AVE DRIVE WEST                                                                        BRADENTON          FL    34209‐4907
IRENE M PEASE                                      5870 N CR 700 W                                                                                 MIDDLETOWN         IN    47356‐9741
IRENE M PETTY                                      341‐A CROWELLS RD                                                                               HIGHLAND PARK      NJ    08904‐3315
IRENE M PTAK                                       11133 MARBLE SPRINGS RD                                                                         DELEVAN            NY    14042
IRENE M RIDINGS                                    4821 BRUNER DRIVE                                                                               STERLING HEIGHTS   MI    48310‐2604

IRENE M RISLEY                                     80 ELM DR                                                                                       SKILLMAN           NJ    08558‐1607
IRENE M SANGER                                     943 RUMSON RD                                                                                   ROCHESTER          NY    14616‐1103
IRENE M SKAGGS                                     PO BOX 1178                                                                                     CRAIGSVILLE        WV    26205
IRENE M SOROKA TOD ALAN D CAIN                     10053 VIRGIL                                                                                    REDFORD            MI    48239‐1477
IRENE M SOROKA TOD ARTHUR G GONSKA                 10053 VIRGIL                                                                                    REDFORD            MI    48239‐1477
IRENE M SOROKA TOD JOHN GONSKA                     10053 VIRGIL                                                                                    REDFORD            MI    48239‐1477
IRENE M SOROKA TOD KENNETH GONSKA                  10053 VIRGIL                                                                                    REDFORD            MI    48239‐1477
IRENE M SOROKA TOD MARY RASKE                      10053 VIRGIL                                                                                    REDFORD            MI    48239‐1477
IRENE M SPANGLER                                   806 MEYER RD                                                                                    WENTZVILLE         MO    63385‐3401
IRENE M STACKO & RUDOLPH D STACKO JT TEN           7236 W 130 STREET                                                                               CLEVELAND          OH    44130‐7813
IRENE M STOFFEL                                    316 CARMEN DR                                                                                   COLLEGEVILLE       PA    19426‐2573
IRENE M SVIEZIKAS & JOAN M OTTOLINO JT TEN         4209 S ANNA                                                                                     LYONS              IL    60534‐1015
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Name                                            Address1                                Address2             Address3          Address4          City             State Zip

IRENE M TOMASIK                                 15174 OCONNOR                                                                                    ALLEN PARK       MI    48101‐2938
IRENE M WASIELEWSKI & MICHAEL T WASIELEWSKI &   5839 SOUTH RUTHERFORD AVE                                                                        CHICAGO          IL    60638‐3238
DEBORAH A VAUGHAN JT TEN
IRENE M WEBSTER                                 1601 ALTA DR                                                                                     BISMARCK         ND    58503‐5002
IRENE M WEIDELE & CAROL A WEIDELE JT TEN        1212 MELVILLE AVE                                                                                SPRING HILL      FL    34608‐6331
IRENE M WORGES & KARL WORGES & YALE SCOTT       5074 S BELSAY RD                                                                                 GRAND BLANC      MI    48439‐9104
WORGES JT TEN
IRENE M WRIGHT                                  2770 CINNAMON‐RIDGE                                                                              HOWELL           MI    48843‐9069
IRENE M WYPIJ & DIANA D POTOCKI JT TEN          1837 CRANE POINT DRIVE                                                                           PORT ORANGE      FL    32128‐2520
IRENE M YERAN                                   36500 EUCLID AVE #B469                                                                           WILLOUGHBY       OH    44094‐4455
IRENE M YOUNG                                   163 WOODBINE CIRCLE                                                                              NEW PROVIDENCE   NJ    07974‐1760

IRENE MACK TOD WILLIAM R MACK SUBJECT TO STA    211 CAMP AVE                                                                                     NEWINGTON        CT    06111
TOD RULES
IRENE MADRON                                    2462 BRAHMS BLVD                                                                                 DAYTON           OH    45449
IRENE MALCYNSKY                                 115 FIRST STREET                                                                                 NEW BRITAIN      CT    06051‐1650
IRENE MANIATAKIS & GEORGE FRANTZIS JR JT TEN    75 HARMON ST                                                                                     HAMDEN           CT    06517‐1819
IRENE MANIATAKIS & JOHN MANIATAKIS JT TEN       75 HARMON ST                                                                                     HAMDEN           CT    06517‐1819
IRENE MANIATAKIS & WILLIAM KAMBAS JT TEN        75 HARMON ST                                                                                     HAMDEN           CT    06517‐1819
IRENE MANKER                                    1302 GLOVER DR                                                                                   XENIA            OH    45385‐2516
IRENE MARCHLEWSKI                               6845 PLAINVIEW AVE                                                                               DETROIT          MI    48228‐4940
IRENE MARCHLEWSKI & MARY S MARCHLEWSKI JT TEN   6845 PLAINVIEW                                                                                   DETROIT          MI    48228‐4940

IRENE MARI                                      1207 SLABEY                                                                                      NO VALLEY STREAM NY    11580‐2118

IRENE MARIE MASINI                              28 HEDGEWOOD RD                                                                                  HOWELL           NJ    07731‐2205
IRENE MARIE RUTHERGLEN                          PO BOX 794                                                                                       HALF MOON BAY    CA    94019‐0794
IRENE MARKER THIAS                              3400 WEST RIGGIN RD #21                                                                          MUNCIE           IN    47304‐6169
IRENE MATHEWS                                   5740 JORDAN RD                                                                                   WOODLAND         MI    48897‐9718
IRENE MATIJIW                                   75 ECHO HILL DR                                                                                  ROCHESTER        NY    14609‐1441
IRENE MAY PEPIN                                 51 FRANKLIN BLVD                        ST CATHARINES ON                       L2P 3E5 CANADA
IRENE MC AULIFFE                                5983 GEROGIA HIGHWAY 180                                                                         BLAIRSVILLE      GA    30512
IRENE MCGREVEY                                  16110 W 133RD ST APT 326                                                                         OLATHE           KS    66062
IRENE MEERS                                     OS 523 SUMMIT AVE                                                                                VILLA PARK       IL    60181
IRENE MEYER MOORE TR IRENE MEYER MOORE TRUST U‐ 513 E WHITAKER MILL RD                                                                           RALEIGH          NC    27608‐2633
W N BRANCH MOORE
IRENE MEYERS                                    211 WHITEOMB HILL RD                                                                             ORNWALL BRIDGE   CT    06754‐1238

IRENE MILLEN                                   154 FAIR MEADOW                                                                                   AUSTINTOWN       OH    44515‐2217
IRENE MONTROY                                  211 MILL STREET                                                                                   BANCROFT         MI    48414‐9605
IRENE N CHEKAN                                 3518 STATE RT #5 N E                                                                              CORTLAND         OH    44410‐1631
IRENE N HAMMARSKJOLD                           15151 FORD RD APT 320                                                                             DEARBORN         MI    48126‐5027
IRENE N KOLESAR                                113 CRONE HOLLOW RD                                                                               HARWICK          PA    15049‐9702
IRENE N MC GRUDER                              1113 COUNTRY CLUB CT #111                                                                         BELLEVUE         NE    68005‐4772
IRENE N NICKOLSON TR NICKOLSON LIVING TRUST UA 34 LONGFELLOW RD                                                                                  WORCESTER        MA    01602‐2716
9/28/01
IRENE N NYE                                    37342 DERBYSHIRE DR                                                                               ZEPHYRHILLS      FL    33541‐5261
IRENE NESTOROWICZ                              26714 THOMAS                                                                                      WARREN           MI    48091
IRENE NOWAK                                    9134 WEDDEL                                                                                       TAYLOR           MI    48180‐3866
IRENE O CHOW                                   60 BONACRES AVE                          WESTHILL ON                            M1C 3H9 CANADA
IRENE OLENDER                                  47 PIER STREET                                                                                    YONKERS          NY    10705‐1747
IRENE OLIVE HARVEY                             8055 N DACCA TERR                                                                                 DUNNELLON        FL    34433‐5413
IRENE ONDERCHANIN & MICHAEL ONDERCHANIN JT TEN 3426 BREWER RD                                                                                    HOWELL           MI    48843‐7717

IRENE P ERGONIS                                 7599 KINGSLEY                           PO BOX 569                                               KINGSLEY         MI    49649‐0569
IRENE P FOISIE                                  1690 LE BLANC                                                                                    LINCOLN PARK     MI    48146‐3912
IRENE P FRANCE                                  9 GALOPPI RD                                                                                     MERIDEN          CT    06450‐5809
IRENE P HICKS                                   70 BERTA PL                                                                                      BASKING RIDGE    NJ    07920‐1133
IRENE P LEECH                                   1040 ELM AVE                            SUITE 307                                                LONG BEACH       CA    90813
                                               09-50026-mg               Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit E
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IRENE P ORBIK                                     PO BOX 1471                                                                                                 ANDERSON        IN    46015‐1471
IRENE P PARENT                                    1690 LE BLANC                                                                                               LINCOLN PARK    MI    48146‐3912
IRENE P PETERSEN                                  2383 SURREY LN                                                                                              SPRINGDALE      AR    72762‐0621
IRENE P POELLET TR IRENE P POELLET TRUST UA       144 REIF STREET                                                                                             FRANKENMUTH     MI    48734‐1512
01/26/01
IRENE P THOMPSON                                  RT 1 BOX 58                                                                                                 NELLYS FORD     VA    22938‐9801
IRENE P ZIEGLER                                   2104 STONEY BROOK CT                                                                                        FLINT           MI    48507‐6033
IRENE PALMER CUST DANIEL PALMER UTMA VA UNIF      3436 HUNTERS RIDGE                                                                                          WILLIAMSBURG    VA    23188‐2492
TRAN MIN ACT
IRENE PALMER CUST NICHOLAS PALMER UTMA VA         3436 HUNTERS PLACE                                                                                          WILLIAMSBURG    VA    23188‐2492
IRENE PALMER CUST SCOTT PALMER UTMA VA            3436 HUNTERS PLACE                                                                                          WILLIAMSBURG    VA    23188‐2492
IRENE PARKS 2257 SOUTH SHEERAN PC                                                                                                                             MILLFORD        MI    48381‐3673
IRENE PEARL ANDERSON                              14264 N CLIO RD                                                                                             CLIO            MI    48420‐8868
IRENE PERVOLARAKIS                                31000 SAN JUAN                                                                                              HARRISON        MI    48045
                                                                                                                                                              TOWNSHIP
IRENE PETERS                                      6858 NEW PROVIDENCE                                                                                         CANTON          MI    48187‐2506
IRENE PODGORSKI PIROZZI                           32 WEST 37TH STREET                                                                                         BAYONNE         NJ    07002‐2907
IRENE POSPISEK                                    3216 PITCHER DR                                                                                             DARIEN          IL    60561
IRENE PRESUTO                                     283 US HIGHWAY 22                                                                                           GREEN BROOK     NJ    08812‐1814
IRENE PRZEDWOJEWSKI                               12828 N 29TH PLACE                                                                                          PHOENIX         AZ    85032‐6510
IRENE PRZYROWSKI                                  918 RUNNYMEDE DR                                                                                            WAYNE           NJ    07470
IRENE R AZZARELLO TR TRUST FIA NO 1 UA 06/14/95   7958 S KNOX                                                                                                 CHICAGO         IL    60652‐2028

IRENE R BALOWSKI                                  23321 W MECEOLA ROAD                                                                                        REED CITY       MI    49677‐9012
IRENE R DENTON TR IRENE R DENTON REVOCABLE        368 COUNTY ROAD 480                                                                                         MARGUETTE       MI    49855‐9227
LIVING TRUST UA 03/15/00
IRENE R DESTASIO                                  R D #2                                                                                                      PULASKI         PA    16143‐9802
IRENE R GRIECO & JEFFREY M DEROBERTIS JT TEN      479 NEW HURLEY ROAD                                                                                         WALLKILL        NY    12589‐4140
IRENE R LEPPIEN                                   1200 EARHART RD                       # 253                                                                 ANN ARBOR       MI    48105‐2768
IRENE R MCNAMARA                                  193 WEBSTER DR                                                                                              WAYNE           NJ    07470‐5463
IRENE R MYERS                                     92 FREEDOM HOLW                                                                                             SALEM           MA    01970‐6620
IRENE R PASTARNACK                                126 WYKAGYL TER                                                                                             NEW ROCHELLE    NY    10804‐3122
IRENE R WALSH                                     11925 WEST 109TH STREET 423                                                                                 OVERLAND PARK   KS    66210
IRENE R ZEIER                                     1439 SOUTHWESTERN RD                                                                                        GROVE CITY      OH    43123‐1028
IRENE RANDA & AMY LYNNE HINRICHER JT TEN          39520 MILL CREEK RD                                                                                         WADSWORTH       IL    60083‐9783
IRENE RANDA & REBECCA ANNE HINRICHER JT TEN       39520 MILL CREEK RD                                                                                         WADSWORTH       IL    60083‐9783

IRENE RANDA HINRICHER                              705 WEST BLODGETT                                                                                          LAKE BLUFF      IL    60044‐1609
IRENE RAU                                          464 S FREMONT                                                                                              JANESVILLE      WI    53545‐4266
IRENE RITA JENKINS & JANET L MILLER JT TEN         365 CHANNINGS LAKE DR                                                                                      LAWRENCEVILLE   GA    30043
IRENE S BAXTER                                     3409 TOWNE HILL DR                                                                                         GRAND BLANC     MI    48439‐7959
IRENE S GLAVIES                                    5488 LIBERTY AVE                                                                                           NEWTON FALLS    OH    44444‐1830
IRENE S GRAHAM                                     13114 SHADBERRY LN                                                                                         HUDSON          FL    34667‐2715
IRENE S HART                                       2670 YEMANS                                                                                                HAMTRAMCK       MI    48212‐3246
IRENE S HODGE                                      255 KUSS RD                                                                                                DANVILLE        CA    94526‐2231
IRENE S JACHIMOWICZ                                227 LITTLE BROOK DR                                                                                        NEWINGTON       CT    06111‐5306
IRENE S KOPIN & MARIE A KOPIN JT TEN               1111 ELM                                                                                                   MT PLEASANT     MI    48858‐1431
IRENE S KYLE TOD KENNETH A KYLE SUBJECT TO STA TOD 5 ELMHURST DR                                                                                              GREENVILLE      RI    02828
RULES
IRENE S MASTERSON                                  28 PECAN VALLEY DR                                                                                         MARLBORO        NJ    07746‐2136
IRENE S POLLOCK                                    38842 JOHNNY CAKE RIDGE RD                                                                                 WILLOUGHBY      OH    44094‐7835
IRENE S SHOUGH                                     6339 NORTHRIDGE LN #8                                                                                      TOLEDO          OH    43612‐4778
IRENE SAYDAK                                       VANTAGE POINT CONDO 203              860 PANAMA COURT                                                      MARCO ISLAND    FL    34145‐7207
IRENE SCHLIS                                       6175 WILDERNESS POINTE                                                                                     GRAND BLANC     MI    48439‐9627
IRENE SCHWARTZ                                     C/O CHASE MANHATTAN                  ATT P BUFFINGTON     1211 AVE AMERICAS 35TH FLOOR                     NY              NY    10036
IRENE SINGER CUST ALLISON SINGER UGMA MI           31120 NELSON                                                                                               WARREN          MI    48088
IRENE SINGER CUST THERESA SINGER UGMA MI           31120 NELSON                                                                                               WARREN          MI    48093‐1826
IRENE STABLES                                      1760 MAIN STREET WEST APT 609        HAMILTON ON                                         L8S 1H2 CANADA
IRENE STEBBINS LILLY                               774 DARLENE WAY                                                                                            BOULDER CITY    NV    89005‐3423
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IRENE STONER                                       1480 E MOUNT FOREST RD                                                                          PINCONNING        MI    48650‐8430
IRENE STRONG GALLAGHER                             13114 SHADBERRY LN                                                                              HUDSON            FL    34667
IRENE T GRAHAM                                     88 GORDON AVE                                                                                   LAWRENCEVILLE     NJ    08648‐1089
IRENE T IWANKO                                     46 VINCENT                                                                                      LACKAWANNA        NY    14218‐1625
IRENE T JOHNSON                                    69 PARK ISLAND                         UNIT 1                                                   LAKE ORION        MI    48362‐2759
IRENE T KORPAK & BARBARA A HOUSE JT TEN            26015 CONTINENTAL CIR                                                                           TAYLOR            MI    48180‐6900
IRENE T PETRYKOWSKI                                457 ANACONDA                                                                                    COMMERCE TWP      MI    48382‐2507
IRENE T THEODOROU                                  7290 INDIAN CREEK DRIVE                                                                         WEST BLOOMFIELD   MI    48322‐3120

IRENE T WICHOWSKI & MARY SCHAFFER JT TEN           32316 COLUMBUS DR                                                                               WARREN            MI    48088‐1547
IRENE T ZYSKOWSKI                                  7469 MERMAID LN                                                                                 CARLSBAD          CA    92011‐4693
IRENE TALASKA                                      1077 MCKIMMY DR                                                                                 BEAVERTON         MI    48612‐9142
IRENE TOBIASZ                                      473 BONNIE BROOK PL                                                                             HENDERSON         NV    89012‐4537
IRENE TONCHAK                                      204 CROSSROADS LN                                                                               ROCHESTER         NY    14612‐3438
IRENE TURK TR UA 10/10/06 IRENE BETTY TURK TRUST   PO BOX 56                                                                                       NEW LOTHROP       MI    48460‐0056
NO I
IRENE TYLER CUST JOSEPH S BONURA UGMA NY           3904 PARK CIRCLE                                                                                CAMP HILL         PA    17011
IRENE U MOFFATT                                    249 GLENCOVE ROAD                                                                               KENMORE           NY    14223‐1320
IRENE U WILK TR IRENE U WILK TRUST UA 01/05/99     1237 VALLEY VIEW ROAD                  APT F                                                    GLENDALE          CA    91202‐1782

IRENE V HOUSE & DIANE L HOUSE JT TEN            7342 GREELEY                                                                                       UTICA             MI    48317‐5427
IRENE V LAYMAN                                  104 AUDREA ST                                                                                      MOULTON           AL    35650‐6508
IRENE V MARTIN                                  10501 PINEDALE DR                                                                                  SILVER SPRING     MD    20901‐1535
IRENE V REED                                    1550 TAIT RD                                                                                       LORDSTOWN         OH    44481‐9644
IRENE V WEBB                                    4829 NORTHGATE CT                                                                                  DAYTON            OH    45416‐1126
IRENE VALLAD                                    2317 DEEP RIVER RD                                                                                 STANDISH          MI    48658‐9117
IRENE VERES                                     3125 E KOENIG AVE                                                                                  SAINT FRANCIS     WI    53235‐4235
IRENE VILLARREAL                                31847 SHAWN DR                                                                                     WARREN            MI    48093‐2924
IRENE VIRGILI & GUERRINO J VIRGILI JT TEN       1155 WOODLAWN AVE                                                                                  BETHEL PARK       PA    15102‐3655
IRENE W APPLEYARD                               2930 GREEN ST BOX 5571                                                                             HARRISBURG        PA    17110‐1230
IRENE W BROWN                                   24 ROSEHAVEN RD                           PO BOX 508                                               SOMERS            CT    06071‐0508
IRENE W CHERNOFF                                63 WARDWELL ROAD                          W HARTFORD                                               WEST HARTFORD     CT    06107
IRENE W DECKER                                  PO BOX H                                                                                           CLARENCE          IA    52216
IRENE W LEE                                     4 SCHOOL ROAD                                                                                      ANDOVER           CT    06232‐1525
IRENE W MC DONALD                               3004 GAVIN PL                                                                                      DULUTH            GA    30096‐5868
IRENE W MC DONNELL                              463 COLVIN AVE                                                                                     BUFFALO           NY    14216‐1823
IRENE W REGLING                                 1410 MARSHALL RD                                                                                   LYNDONVILLE       NY    14098‐9740
IRENE W TOLINSANO TOD SHARON TOLISANO SUBJECT 52 CIDER MILL RD                                                                                     ELLINGTON         CT    06029
TO STA TOD RULES
IRENE W TOLISANO TOD CAROLYN BURBA SUBJECT TO 52 CIDER MILL RD                                                                                     ELLINGTON         CT    06029
STA TOD RULES
IRENE W TOLISANO TOD LAUREN TOLISANO SUBJECT TO 52 CIDER MILL RD                                                                                   ELLINGTON         CT    06029
STA TOD RULES
IRENE W TOLISANO TOD SUSAN GUARINO SUBJECT TO 52 CIDER MILL RD                                                                                     ELLINGTON         CT    06029
STA TOD RULES
IRENE W WILKINSON & JAMES E WILKINSON JT TEN    1132 VAN NORMAN CURV                                                                               MCCOMB            MS    39648‐8524

IRENE WALLACH & EUGENE WALLACH JT TEN              2502 MEADOWOODS DR                                                                              EAST MEADOW       NY    11554‐5622
IRENE WERTHER                                      12 A EAGLE VALLEY RD                                                                            SLOATSBURG        NY    10974‐2325
IRENE WETZEL                                       6267 N DIAMOND MILL RD                                                                          BROOKVILLE        OH    45309‐9240
IRENE WIACEK                                       8731 GRAHAM                                                                                     DEARBORN          MI    48126‐2333
IRENE WIESENTHAL                                   RD 3 17 ERNST ROAD                                                                              BOYERTOWN         PA    19512‐8068
IRENE WILLIAMS                                     569 HEMLOCK DRIVE                                                                               EUCLID            OH    44132‐2119
IRENE WOLF                                         6152 OAK POINTE ST                                                                              WESTLAND          MI    48185‐3026
IRENE WONG                                         17 WILDWOOD PL                                                                                  PLEASANT HILL     CA    94523‐4533
IRENE WRIGHT                                       2009 MC AVOY                                                                                    FLINT             MI    48503‐4206
IRENE Y FETTER                                     510 ERICKSON AVE                                                                                HOCKESSIN         DE    19707‐1130
IRENE Y LEE CUST JOHN B LEE UGMA NY                50 TUDOR PLACE                                                                                  BUFFALO           NY    14222‐1616
IRENE Y LEE CUST STEPHEN A LEE UGMA NY             50 TUDOR PLACE                                                                                  BUFFALO           NY    14222‐1616
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IRENE YUILLE                                        173 COLMAR AVE                                                                                COLMAR            PA    18915‐9710
IRENE ZDEP                                          108 MARSH AVE                                                                                 SAYREVILLE        NJ    08872‐1347
IRENE ZUK & BENJAMIN ZUK JT TEN                     13 CUPSAW DR                                                                                  RINGWOOD          NJ    07456‐2301
IRENEO J SANTOS                                     23 CARRIAGE CT                                                                                PITTSFORD         NY    14534‐4009
IRENIO Z EURESTE                                    113 WAYSIDE ST                                                                                WHARTON           TX    77488
IRETA J TEBAY                                       4 GREENWOOD AVE                                                                               WHEELING          WV    26003‐1404
IRFAN BERK                                          BEIZERWEG 5                          12355 BERLIN                           GERMANY
IRINEO G YANEZ                                      147 N HERBERT AVE                                                                             LOS ANGELES      CA     90063‐1801
IRINI M PALIOBEIS                                   35900 JENNIE LANE                                                                             WILLOUGHBY HILLS OH     44094‐9604

IRIS A SIBILSKY & KAY E MC KITTRICK JT TEN          4338 S STATE RD                                                                               DAVISON           MI    48423‐8752
IRIS B MULLICAN                                     9369 RIVERSHORE DR                                                                            SUFFOLK           VA    23433‐1517
IRIS B RAYMOND                                      18026 SAND WEDGE DR                                                                           HAGERSTOWN        MD    21740‐7966
IRIS BARTON MAUGHAN                                 10152 PARKVIEW DR                                                                             BATON ROUGE       LA    70815‐4542
IRIS C PERRY & LYNN M TRIPP JT TEN                  22672 MADISON                                                                                 ST CLAIR SHORES   MI    48081‐2330
IRIS D SUMMITT                                      6539 GAINES FERRY ROAD                                                                        FLOWERY BR        GA    30542
IRIS E HURST                                        2960 BLUEGRASS LN                                                                             FULLERTON         CA    92835‐4321
IRIS F BROCATO                                      8810 WALTHER BLVD APT 2428                                                                    BALTIMORE         MD    21234‐0027
IRIS F SAMUELS                                      3180 LAKE SHORE DR                   APT 18H                                                  CHICAGO           IL    60657‐4868
IRIS G OTT                                          31 SO TRANSITHILL DR                                                                          DEPEW             NY    14043‐4803
IRIS GILLARD                                        6 PIONEER RD                                                                                  HINGHAM           MA    02043‐3619
IRIS H BLOCK                                        2219 42ND ST                                                                                  FLORENCE          OR    97439‐8825
IRIS HANSEN CUST RANDYN S TRYBOM UTMA CA            705 HANOVER ST                                                                                SANTA CRUZ        CA    95062‐2514
IRIS HART                                           1718 ROSELAWN                                                                                 FLINT             MI    48504‐2052
IRIS I BAKER                                        1229 WINSLOW WAY                                                                              PADUCAH           KY    42001‐6506
IRIS I GILLEN TR GILLEN FAMILY TRUST UA 2/14/91     137 LAKEVIEW                                                                                  STANSBURY PARK    UT    84074‐9609

IRIS J BADDELEY                                     11400 WALNUT AVE NE                                                                           ALLIENCE          OH    44601‐1391
IRIS J CRILLEY                                      1313 STONEWALL LANE                                                                           FALLSTON          MD    21047‐2612
IRIS J HAMMOND & LAUREL L HAMMOND JT TEN            47626 CHERYL CT                                                                               SHELBY TOWNSHIP   MI    48315‐4708

IRIS J KAUFMAN                                      34 ERIE AVE                                                                                   ROCKAWAY          NJ    07866‐1118
IRIS J MOUNDAS                                      4718 JOHN MICHAEL WA                                                                          HAMBURG           NY    14075‐1121
IRIS J ROZENBLAD                                    2517 OAK VALLEY LANE                                                                          DACULA            GA    30019‐7513
IRIS JEANNE ALBAUGH CUST SCOTT ALBAUGH UGMA IN      6570 S COUNTY ROAD 50 E                                                                       LOGANSPORT        IN    46947‐8177

IRIS L BAIN LIFE TENANT U/W ADRIAN L BAIN           2455 NORTH WOODLAWN                  APT 338                                                  WICHITA           KS    67220‐3954
IRIS L HOCKER                                       PO BOX A                                                                                      PLEASANT HILL     OH    45359‐0801
IRIS L KELHOFFER                                    25 SEQUOIA PARKWAY                                                                            OCEAN             NJ    07712
IRIS L LUCHTEL                                      76 EXMOORE ROAD                                                                               WATERFORD         MI    48328‐3410
IRIS L RICK                                         214 GRATIOT COURT                                                                             SAGINAW           MI    48602‐1864
IRIS L ST CLAIR                                     42045 MONTROY                                                                                 STERLING HTS      MI    48313‐2594
IRIS LEDER CUST MACE LEDER U/THE NEW YORK           1 DARLEN CT                                                                                   MORGSNVILLE       NJ    07751‐1676
UNIFORM GIFTS TO MINORS ACT
IRIS LIEBERMAN‐TAUSEND                              1316 W FARGO AVE #204                                                                         CHICAGO           IL    60626
IRIS M GOMEZ                                        131 RIVER POINT CRESCENT                                                                      PORTSMOUTH        VA    23707‐1027
IRIS M WEISBERG                                     6 HARBOR HTS                                                                                  GLOUCESTER        MA    01930‐4064
IRIS MARKS WILSON                                   1408 TEMPLEMORE DR                                                                            CANTONMENT        FL    32533‐6828
IRIS MORGAN                                         1208 LINCOLNSHIRE DR                                                                          CHAMPAIGN         IL    61821‐5601
IRIS N FREEMAN                                      1244 BUFORD DR                                                                                LAWRENCEVILLE     GA    30043‐3715
IRIS N YAMATO                                       433 PUOLO PLACE                                                                               KAHULUI           HI    96732‐1526
IRIS NAOMI LANGSTON                                 6352 LAURENTIAN COURT                                                                         FLINT             MI    48532‐2039
IRIS NEWSOME CUST ELIZA NEWSOME UTMA MA             630 GRAPE ST                                                                                  DENVER            CO    80220
IRIS NEWSOME CUST JEFFREY NEWSOME UTMA MA           630 GRAPE ST                                                                                  DENVER            CO    80220

IRIS P BAGWELL                                      11 DAVIS DR                                                                                   WARE SHOALS       SC    29692‐1104
IRIS P BROWN                                        864 SPRINGFIELD CT                                                                            RIDGELAND         MS    39157‐1582
IRIS P JENKINS                                      840 HAMILTON'S BAY DRIVE                                                                      LAKE WYLIE        SC    29710‐8023
IRIS RODRIGUEZ                                      11506 VALENCIA DR APT A                                                                       SEFFNER           FL    33584‐8395
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IRIS TREMPS & LUANA S JOHNSON TR IRIS L TREMPS    4716 GLENEAGLE DR                                                                              ANDERSON        IN    46013‐4767
LIVING TRUST UA 8/17/99
IRIS V FRICKS                                     7414 MICH AVENUE BOX 723                                                                       PIGEON          MI    48755‐0723
IRIS W BRUNKER                                    43 SWANSON CT                                                                                  GREENVILLE      SC    29609‐4736
IRIS W MICHALUK & STEPHEN MICHALUK JT TEN         323 SNOWFALL WAY                                                                               WESTMINSTER     MD    21157‐4644
IRIS W WALKER                                     1110 MARSHALL RD                      APT 4002                                                 GREENWOOD       SC    29646‐4216
IRIS WALKER & RICHARD WALKER JT TEN               990 HARMONY ROAD N                    OSHAWA ON                              L1H 7K5 CANADA
IRIS Y SMITH                                      260 LAURETTA LN                                                                                HUBBARD         OH    44425‐1674
IRISH D TOWNSEND                                  20509 HILLGROVE AVE                                                                            MAPLE HEIGHTS   OH    44137
IRISH OXYGEN CO LTD                               WATERFALL RD                          BISHOPSTOWN          CORK              IRELAND
IRLYN F MARTIN TR IRLYN F MARTIN CREDIT SHELTER   2825 US HIGHWAY 20                                                                             METAMORA        OH    43540‐9707
TRUST UA 03/11/97
IRMA A SPINNLER                                   261 SE 5TH AVE                                                                                 POMPANO BEACH   FL    33060‐8023
IRMA ANN SOLBERG                                  BOX 248                                                                                        RAY             ND    58849‐0248
IRMA B GAMEN                                      31465 ALABAMA ST                                                                               LIVONIA         MI    48150‐3973
IRMA B GROSS TR UA 06/14/79 IRMA B GROSS TRUST    14452‐C CANALVIEW DR                                                                           DELRAY BEACH    FL    33484‐8670

IRMA BAS RENCKEN                                  50 PARK PL                                                                                     MERIDEN         CT    06451‐7616
IRMA BENDER                                       3051 GRAND BLVD                                                                                BALDWIN         NY    11510‐4733
IRMA BERMUDEZ                                     PO BOX 1116                                                                                    BARTOW          FL    33830
IRMA CUEVAS                                       7088 LISBON ST                                                                                 DETROIT         MI    48209‐2264
IRMA DILIEGRO                                     436 PARKSHIRE DR                                                                               MURPHY          TX    75094‐3768
IRMA E CORP & LOIS I HYDE JT TEN                  6242 WILLOWDALE CT                                                                             BURTON          MI    48509‐2603
IRMA E FLORES                                     15767 VIA SORRENTO                                                                             SAN LORENZO     CA    94580‐1355
IRMA E LARA                                       15767 VIA SORRENTO                                                                             SAN LORENZO     CA    94580‐1355
IRMA E VILLARREAL                                 305 SAGE HILL DR                                                                               SHREVEPORT      LA    71106
IRMA E VOGT                                       1289 HATCH RD                                                                                  OKEMOS          MI    48864‐3409
IRMA ERSEL BROWN                                  8527 CONCORD CT                                                                                JACKSONVILLE    FL    32208‐2840
IRMA ESCOBAR                                      HCO1 BOX 4109                         VILLALBA                               766 PUERTO RICO
IRMA FENSTERMAKER                                 BOX 205                                                                                        WILLIAMSPORT    OH    43164‐0205
IRMA FLORES                                       4935 MARTIN RD                                                                                 WARREN          MI    48092‐3492
IRMA GARZA TOD ELIZABETH A GARZA SUBJECT TO STA   18301 DEVONSHIRE ST                                                                            NORTHRIDGE      CA    91325‐1005
TOD RULES
IRMA GRACE SCHAEFER                               81 FOXHUNT TRAIL                      COURTICE ON                            L1E 1E1 CANADA
IRMA GREEN                                        3211 MONTANA AVE                                                                               CINCINNATI      OH    45211‐6609
IRMA H HENRY                                      251 WINFIELD ST                                                                                JACKSON         MS    39212‐5022
IRMA H ULLRICH                                    209 POPLAR DR                                                                                  MORGANTOWN      WV    26505
IRMA I FOOTE AS EXECUTRIX U‐W OF GEORGE P FOOTE   726 COMMUNITY DR                      APT 38                                                   BELLEVILLE      IL    62223‐1027

IRMA I MCCRACKIN & KYRAN J MCCRACKIN JT TEN       9088 S MOUNT HOPE RD                                                                           CARSON CITY     MI    48811

IRMA J COMP                                     2815 ROCKFORD CT S                                                                               KOKOMO          IN    46902‐3205
IRMA J HOKES                                    22145 W MCNICHOLS #21                                                                            DETROIT         MI    48219‐3233
IRMA J JACKSON                                  6220 MISTY PINES DR                     UNIT 3                                                   TINLEY PARK     IL    60477‐5435
IRMA J MORRIS                                   2056 OAK RUN S DR                                                                                INDIANAPOLIS    IN    46260‐5126
IRMA J TAYLOR TR IRMA J TAYLOR LIVING TRUST UA  14 HARRIS CIRCLE                                                                                 EDGEWATER       FL    32141‐4216
01/12/93
IRMA KAUFFMAN & STEPHEN R KAUFFMAN JT TEN       70926 LA PAZ RD                                                                                  RANCHO MIRAGE   CA    92270‐2609
IRMA L BOONE                                    12014 E MAPLE AVE                                                                                AURORA          CO    80012‐1266
IRMA L ERDMANN                                  12200 W BURT RD                                                                                  ST CHARLES      MI    48655‐8609
IRMA L GREEN                                    22 RUNNING HILLS DR                                                                              NEWTON          NJ    07860‐5345
IRMA L HEIDINGER TR HEIDINGER FAM TRUST UA      476S BAYVIEW                                                                                     SUNNYVALE       CA    94086‐6225
09/23/92
IRMA L HICKS                                    1721 KENSINGTON ON BERKLEY                                                                       KOKOMO          IN    46901‐1850
IRMA L MCKEEVER                                 174 ESTATES BOULEVARD APT 48                                                                     TRENTON         NJ    08610‐2111
IRMA L OLDAM                                    907 GLENWOOD AVE                                                                                 BUFFALO         NY    14211‐1419
IRMA L OLDHAM                                   907 GLENWOOD AVE                                                                                 BUFFALO         NY    14211‐1419
IRMA LOUISE PROTTENGEIER TR PROTTENGEIER FAMILY 5366D CALLE REAL                                                                                 SANTA BARBARA   CA    93111‐1680
TRUST UA 05/16/95
                                           09-50026-mg                 Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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IRMA M GARVEY                                   957B RICHWOOD RD                                                                               BEL AIR           MD    21014‐3473
IRMA M LATHAM & LYMAN K LATHAM JT TEN           18180 MANORWOOD N                                                                              CLINTON TWP       MI    48038
IRMA M PLUCKER TOD MICHAEL D PLUCKER SUBJECT TO 1408 BURLINGTON CT                                                                             ROSAMOND          CA    93560‐6714
TOD STA RULES
IRMA M ROSSI                                    111 KOSSUTH ST                                                                                 SOMERSET          NJ    08873‐2659
IRMA M ROSSI & DONALD F WAGNER JT TEN           111 KOSSUTH ST                                                                                 SOMERSET          NJ    08873‐2659
IRMA M WALBURN                                  PO BOX 255                                                                                     BURKBURNETT       TX    76354‐0255
IRMA MAE HARVEY TR UA 11/07/91 IRMA MAE HARVEY 2435 DEL CAMPO                                                                                  SAN LUIS OBISPO   CA    93401‐5311
TRUST
IRMA MORRIS                                     1311 NW 12TH ST                                                                                FORT LAUDERDALE   FL    33311‐5904

IRMA N WHITFIELD                                2814 VINSON MTN RD                                                                             ROCKMART          GA    30153‐4732
IRMA O FLOYD                                    PO BOX 391                                                                                     EXMORE            VA    23350‐0391
IRMA R RODRIGUEZ                                3010 WELLINGTON RD                                                                             ALPHARETTA        GA    30022‐6275
IRMA RUBIN & FRANK RUBIN JT TEN                 255 TEXAS ST                          APT 401N                                                 RAPID CITY        SD    57701‐7323
IRMA S MOYNIHAN                                 1221 VIEWMONT DRIVE                                                                            SCHENECTADY       NY    12309‐1219
IRMA SHISLER                                    14401 HARBOR IS                                                                                DETROIT           MI    48215‐3140
IRMA SIEVERS                                    3372 HARRY LEE LANE                                                                            CINCINNATI        OH    45239‐4048
IRMA SMART                                      780 COUNTRY PLACE RD                                                                           AXTON             VA    24054‐8011
IRMA STEIF                                      555 ASH PARKWAY                                                                                WESTVILLE         IN    46391‐9752
IRMA T CREW                                     45 HIAWATHA RD                                                                                 PUTNAM VALLEY     NY    10579‐1514
IRMA T GARDNER                                  2345 WELLS DR                                                                                  BETHEL PARK       PA    15102‐1931
IRMA T VOLK                                     RR 1 BOX 95 E                                                                                  GREENTOWN         PA    18426‐9735
IRMA W DORSEY                                   1813 CLAYTON ROAD                                                                              CHATTANOOGA       TN    37421‐3006
IRMA WILLIAMS                                   7424 POSSUM HILL RD                                                                            WORDEN            IL    62097‐2114
IRMALEE L BROWN                                 ROUTE 1                               BOX 26                                                   ELLSWORTH         IL    61737‐9609
IRMELA D SPEARS                                 3541 IDLEWILD ST                                                                               PORT CHARLOTTE    FL    33980‐8547
IRMGARD I SATRE                                 1615 N SPRING RD                      UNIT 10                                                  HARRISON          AR    72601‐9431
IRMGARD M FISHER TR LIVING TRUST 02/06/91 U‐A   APT 7                                 29060 DARDANELLA                                         LIVONIA           MI    48152‐3532
IRMGARD M FISHER
IRMGARD M GUEST TR IRMGARD M GUEST TRUST UA     3088 HARBOR COURT                                                                              WATERFORD         MI    48328‐2593
01/07/04
IRMHILD B UNGER & LINDA M UNGER JT TEN          32 56 54TH ST                                                                                  WOODSIDE          NY    11377‐1928
IRMTRAUD H NAIL                                 2322 DAKOTA AVE                                                                                FLINT             MI    48506‐4905
IRMTRAUT M STIER                                38 SOUTH COURT                                                                                 CLIFTON           NJ    07013‐3214
IRUS L BLISS & MARIAN C BLISS JT TEN            12838 DARBY CREEK RD                                                                           ORIENT            OH    43146‐9745
IRVA SHARON HONEYMAN                            28845 LAHSER ROAD APT 103                                                                      SOUTHFIELD        MI    48034‐2071
IRVEN C BALL                                    16 HILLTOP CIRCLE                                                                              WEST NEWBURY      MA    01985‐1815
IRVEN V FINKHAUS & BARBARA J FINKHAUS JT TEN    3164 BELFOUR LN SW                                                                             ATLANTA           GA    30331‐5487

IRVEN WILSON                                    10874 NCR 300W                                                                                 JAMESTOWN         IN    46147
IRVIN A SZYMANSKI                               5845 RIDGE AVE                                                                                 BERKELEY          IL    60163‐1543
IRVIN A WRIGHT                                  8019 CRAIGMONT RD                                                                              HUNTSVILLE        AL    35802
IRVIN ANDERSON                                  2139 RIDGEMONT                                                                                 GROSSE POINTE     MI    48236‐1337
                                                                                                                                               WOO
IRVIN ANIOL                                     24451 PENNIE ST                                                                                DEARBORN HTS      MI    48125‐2015
IRVIN B HINTON                                  PO BOX 6743                                                                                    JACKSON           MS    39282‐6743
IRVIN B LOFTON                                  15781 STANSBURY                                                                                DETROIT           MI    48227‐3324
IRVIN BIBB                                      19411 CYPRESS DR                                                                               COUNTRY CLUB      IL    60478‐5810
                                                                                                                                               HILLS
IRVIN BOWMAN JR                                 360 WARD CEMETERY RD                                                                           CORBIN            KY    40701‐8621
IRVIN C BOGART                                  3613 POBST DR                                                                                  DAYTON            OH    45420‐1045
IRVIN C WILLE                                   9279 ROCK RIVER DR                                                                             EDGERTON          WI    53534‐8607
IRVIN D COCHRAN                                 2685 GOSHEN RD                                                                                 STANFORD          KY    40484‐9707
IRVIN D DUNTON JR                               2628 S W 79TH                                                                                  OKLAHOMA CITY     OK    73159‐4722
IRVIN D YOAKUM                                  16692 DOCKERY ROAD                                                                             RICHMOND          MO    64085‐8860
IRVIN DONAHUE                                   414 WOODED LANE                                                                                SHELTON           CT    06484‐3853
IRVIN E BOOSE JR                                16008 TRENTON RD                                                                               UPPERCO           MD    21155‐9521
IRVIN E HINESLEY                                3660 PAUL SAMUEL RD NW                                                                         KENNESAW          GA    30152‐4031
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IRVIN E HINESLEY & LOUISE V HINESLEY JT TEN         3660 PAUL SAMUEL RD NW                                                                                        KENNESAW         GA    30152‐4031
IRVIN E HINESLEY & VELMA L HINESLEY JT TEN          3660 PAUL SAMUEL RD NW                                                                                        KENNESAW         GA    30152‐4031
IRVIN E HOLLER                                      C/O RAY T HOLLER                       PO BOX 190                                                             BUCKLEY          MI    49620‐0190
IRVIN EUGENE BOUCHARD                               605 WINTER AVE                                                                                                FLUSHING         MI    48433
IRVIN F WAITE                                       2226 S UNION ST                                                                                               INDIANAPOLIS     IN    46225‐1958
IRVIN FREEMAN                                       6190 SIXTEENTH                                                                                                DETROIT          MI    48208‐1302
IRVIN G DALTON                                      4262 BELLSPUR RD                                                                                              MEADOWS OF DAN   VA    24120‐4379

IRVIN G ELLISON JR TRUST OF IRVIN G ELLISON JR UA   308 BALDT AVE                                                                                                 NEW CASTLE       DE    19720‐4518
08/02/94
IRVIN G SCHORSCH III                                C/O PENN CAPITAL MANAGEMENT            ONE PITCAIRN PLACE   165 TOWNSHIP LINE RD STE 2200                     JENKINTOWN       PA    19046‐3531
IRVIN G WISCHIK                                     42 OAKBRANCH RD                                                                                               CRANBURY         NJ    08512‐3046
IRVIN GREENE                                        106 OAKLEIGH DR                                                                                               BATESVILLE       MS    38606‐8780
IRVIN H GREEN                                       2826 ALPHAWAY                                                                                                 FLINT            MI    48506‐1873
IRVIN J MORGAN                                      HC 74 BOX 130                                                                                                 SANDSTONE        WV    25985‐9708
IRVIN J SIMMONDS                                    437 W PASADENA AVE                                                                                            CLEWISTON        FL    33440‐3011
IRVIN J WILLARD & DEVERE R WILLARD JT TEN           16832 CHURCH DRIVE                                                                                            NORTH FORT       FL    33917‐2600
                                                                                                                                                                  MEYERS
IRVIN JACOB FISHER                                  1565 RED HAWK CT                                                                                              STEAMBOAT        CO    80487‐2320
                                                                                                                                                                  SPRINGS
IRVIN JACOBS & JEWEL JACOBS JT TEN                  MOUNTAIN VIEW DRIVE SHRINE             ACRES                                                                  DALLAS           PA    18612
IRVIN JOHN RITTERPUSCH & JACLYN ANN RITTERPUSCH     9304 SAYBROOK AVE                                                                                             SILVER SPRING    MD    20901‐3427
JT TEN
IRVIN K BROWN                                       706 W KEMPER RD                                                                                               CINCINNATI       OH    45246‐2122
IRVIN L ELEAZER JR                                  1316 FOREST DELL ROAD                                                                                         MOBILE           AL    36618‐1726
IRVIN L JONES                                       640 PHILLIPS ROAD 210                                                                                         LEXA             AR    72355‐8814
IRVIN L JONES CUST EUGENE L MEWBORN II UTMA MD      640 PHILLIPS ROAD 210                                                                                         LEXA             AR    72355‐8814

IRVIN L MOLINE                                      4 BONANZA DR                                                                                                  BILLINGS         MT    59102‐6205
IRVIN L VANBUSKIRK                                  9894W 280N                                                                                                    ANDERSON         IN    46011‐9150
IRVIN LEE                                           629 FOREST AVE                                                                                                DAYTON           OH    45405‐4113
IRVIN M ATCHISON JR                                 2647 CHARLESTON PARK DR                                                                                       NORTH PORT       FL    34287‐1706
IRVIN M MILLER                                      11 MANOR DR W                                                                                                 POUGHKEEPSIE     NY    12603‐3712
IRVIN MANUEL WISE                                   3160 FAIRHAVEN LN                                                                                             CINCINNATI       OH    45237‐1802
IRVIN MILLER                                        340 PINEWOODS AVE                                                                                             TROY             NY    12180‐7250
IRVIN NEAL CARRIGAN                                 8609 CARDWELL ST                                                                                              WESTLAND         MI    48185‐1883
IRVIN O ROLLER                                      ROUTE 2 BOX 1309                                                                                              OROVILLE         WA    98844‐9767
IRVIN R HOOVER                                      38831 GLASGOW RD                                                                                              LISBON           OH    44432‐9780
IRVIN R LEIMKUEHLER                                 2209 E MECHANIC ST                     APT 13                                                                 HARRISONVILLE    MO    64701‐2080
IRVIN R LUMLEY                                      3116 RIVERWOOD DR                                                                                             FORT WORTH       TX    76116‐9565
IRVIN RICE                                          3907 BARBARA ANN DR                                                                                           MONROEVILLE      PA    15146‐1301
IRVIN ROBINETTE                                     86 CLARK ST                                                                                                   GUNTERSVILLE     AL    35976‐9138
IRVIN SCHWARTZ & GOLDIE M SCHWARTZ JT TEN           11343 VICTORIA AVE                                                                                            LOS ANGELES      CA    90066‐3434
IRVIN SHERRILL                                      2032 13TH                                                                                                     BEDFORD          IN    47421‐2713
IRVIN SHORE                                         1900 COUNTRY CLUB DRIVE                                                                                       HUNTINGDON       PA    19006‐5602
                                                                                                                                                                  VALLEY
IRVIN T LEAVELL                                     PO BOX 1986                                                                                                   MUNCIE           IN    47308‐1986
IRVIN W MCVEY                                       791 WILLOWDALE AVE                                                                                            KETTERING        OH    45429‐3141
IRVIN W PASCH                                       811 BIRCHWOOD ST                                                                                              DEWITT           MI    48020‐9538
IRVIN W STEWART                                     7800 E JEFFERSON APT 1400                                                                                     DETROIT          MI    48214‐2590
IRVINE W MCCONAGHY TOD CAREN A GOODRICH             9502 FOSTER RD                                                                                                BELLFLOWER       CA    90706‐2333
IRVINE W MCCONAGHY TOD CATHY L ROGERS               9502 FOSTER RD                                                                                                BELLFLOWER       CA    90706‐2333
IRVING A BORKON                                     5913 SUN RD                                                                                                   MINNEAPOLIS      MN    55436‐1957
IRVING A FAYE & MRS MIRIAM FAYE JT TEN              147 E CHURCH ROAD                                                                                             ELKINS PARK      PA    19027‐2224
IRVING ADATTO                                       251 BEACH 126TH ST                                                                                            ROCKAWAY PARK    NY    11694‐1720
IRVING CARLOIS CUMMINS                              536 N MAIN ST                                                                                                 ELKTON           KY    42220‐9251
IRVING COHEN & LUCILLE COHEN JT TEN                 2508 APPLEWOOD DR                                                                                             FREEHOLD         NJ    07728‐3983
IRVING COOPER LIMITED                               130 COMMISSIONERS ST                   TORONTO ON                                           M5A 1A8 CANADA
IRVING D JACKSON                                    3006 MARK LN                                                                                                  LAKE WALES       FL    33898‐8317
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IRVING DEZEN & MRS JACQUELINE DEZEN JT TEN       THE GARDENS OF ANNAPOLIS 931           EDGEWOOD RD APT 107                                                ANNAPOLIS         MD    21403
IRVING DICKER CUST JEFFREY DICKER U/THE NEW YORK APT D‐56                               68‐37 YELLOWSTONE BLVD                                             FOREST HILLS      NY    11375‐3415
U‐G‐M‐A
IRVING E ANDERSON & KATHRYN W ANDERSON JT TEN 9550 GOLF PORT DR                                                                                            STANWOOD          MI    49346‐9788

IRVING E BROWN JR & RUTH BROWN JT TEN           THE PINES NEW MARKET                    9 GRANT RD                                                         NEWMARKET         NH    03857‐2195
IRVING E CUMMINS                                PO BOX 24031                                                                                               LANSING           MI    48909‐4031
IRVING E GOODING                                12512 RAY RD                                                                                               GAINES            MI    48436‐8917
IRVING E METCALF & HAZEL M METCALF JT TEN       2618 RUTLEDGE AVE                                                                                          JANESVILLE        WI    53545‐1340
IRVING E PORTER                                 12 BEACH ST                             APT 46                                                             WESTBORO          MA    01581‐1637
IRVING E SOVA                                   1872 SOUTH BLVD                                                                                            ROCHESTER HILLS   MI    48309‐4274
IRVING EHRLICH & MRS FAITH LEICHT JT TEN        1629 SHERBOURNE ROAD                                                                                       VALLEY STREAM     NY    11580‐1829
IRVING ENTIN & ANN ENTIN TR REVOCABLE TRUST     6350 SUMMER SKY LANE                                                                                       LAKE WORTH        FL    33463‐3815
02/18/92 U‐A IRVING ENTIN
IRVING F CHAMBERS                               30665 STELLANAR                                                                                            BIRMINGHAM        MI    48010
IRVING F HEALY JR                               6439 ANDERSONVILLE RD                                                                                      WATERFORD         MI    48329‐1412
IRVING F MEHRINGER TR IRVING MEHRINGER TRUST UA 13147 SPRING CREEK DR                                                                                      LANARK            IL    61046‐9628
6/16/98
IRVING FIELDEN                                  23 PRISCILLA AVE                                                                                           YONKERS           NY    10710‐3605
IRVING GOLDEN                                   934 FOREST AVE                                                                                             OAK PARK          IL    60302‐1310
IRVING GOODMAN                                  1335 BLUE HILL AVE                      APT F111                                                           MILTON            MA    02186‐2368
IRVING GOODMAN & MRS FRANCINE GOODMAN JT TEN APT 110                                    BLDG 71                  2811 N PINE ISLAND RD                     SUNRISE           FL    33322‐2355

IRVING GOREN                                      8 WAYNE CT                                                                                               EDISON            NJ    08820‐3617
IRVING H BALL JR                                  72 HOMES PARK AVE                                                                                        ISELIN            NJ    08830‐2214
IRVING H BLUMENTHAL JR & JUDIE M BLUMENTHAL JT    5700 NW BRIARWOOD RD                                                                                     EDMOND            OK    73025‐9405
TEN
IRVING H HIRSCH                                   106 BARUNA CT                                                                                            NOVATO            CA    94945‐1515
IRVING H NORTON                                   1 HUNTINGTON COMMON DR                APT 109                                                            KENNEBUNK         ME    04043‐6555
IRVING H SMITH                                    111 ROAD RUNNER ROAD                                                                                     ZAPATA            TX    78076
IRVING H SMITH JR                                 111 ROAD RUNNER ROAD                                                                                     ZAPATA            TX    78076
IRVING HORN CUST RACHELLE ANNE HORN UGMA CT       605 NORTHCLIFFE DRIVE                                                                                    ROCKVILLE         MD    20850

IRVING HOWARD BROWNSTEN                           152 HARTFORD AVE                                                                                         BUFFALO           NY    14223‐2738
IRVING J CUMMINGS JR                              1133 SOUTH 9TH ST                                                                                        MILWAUKEE         WI    53204‐2313
IRVING J DEHUT                                    13849 E SHORE RD                                                                                         BERGLAND          MI    49910‐9514
IRVING J KNOTT                                    6743 FLOYD                                                                                               DETROIT           MI    48210‐3402
IRVING J KOFF                                     71 WESTERLOE ROAD                                                                                        ROCHESTER         NY    14620‐3413
IRVING J PAKULA                                   640 PATTERSON AVE                                                                                        FRANKLIN SQ       NY    11010‐4106
IRVING J QUINN                                    444 DELMAR PLACE                                                                                         SYRACUSE          NY    13208‐3107
IRVING J THOMPSON                                 2150 OLD ATLANTA RD                                                                                      CUMMING           GA    30041‐6910
IRVING J WEYANT                                   707 LITTLE HACKELSHIN RD                                                                                 LATHAM            OH    45646
IRVING JACOBSON & SANDRA JACOBSON JT TEN          910 CONSTITUTION DR                   APT 820                                                            DURHAM            NC    27705‐2891
IRVING K RINGLER                                  6669 PAVONE STREET                                                                                       LAKE WORTH        FL    33467‐6166
IRVING K VAUGHAN                                  1801 N FLAMINGO                                                                                          OKLAHOMA CITY     OK    73127‐1162
IRVING KANTER                                     2195 GRAND CONCOURSE                  APT 6E                                                             BRONX             NY    10453‐2211
IRVING KAPLAN                                     211 OLD FARM RD                                                                                          NEWTON            MA    02459‐3437
IRVING KAUFMANN & LOUETTA KAUFMANN JT TEN         82 VERA LANE                                                                                             COMMACK           NY    11725‐1922

IRVING KULLBACK & MRS SHIRLEY KULLBACK JT TEN     107 FOREST AVE                                                                                           WEST LONG         NJ    07764‐1604
                                                                                                                                                           BRANCH
IRVING L ALLENDORF JR & BERNICE E ALLENDORF JT TEN 17 BURKE HEIGHTS DR                                                                                     WALLINGFORD       CT    06492‐3939

IRVING LEVI CUST MARC LEVI U/THE NEW YORK         3460 SOUTH OCEAN BLVD                                                                                    PALM BEACH        FL    33480‐5908
UNIFORM GIFTS TO MINORS ACT
IRVING LITWIN & SYLVIA LITWIN JT TEN              #1104                                 1313 WILLIAMS ST                                                   DENVER          CO      80218‐2673
IRVING LOPATIN & DOROTHY RUTH LOPATIN JT TEN      6014 EASTBROOK                                                                                           WEST BLOOMFIELD MI      48322‐1000
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IRVING M FOOTLIK TR JANICE B FOOTLIK IRREVOCABLE 1548 TOWER ROAD                                                                               WINNETKA        IL    60093‐1331
TRUST 11/14/81
IRVING M LAWRENCE                                  330 COLUMBINE ST                                                                            CLIMAX          MI    49034‐9787
IRVING M MODES                                     946 S ROOSEVELT AVE                                                                         COLUMBUS        OH    43209‐2543
IRVING MEIZLER                                     3427 CRYSTAL RIDGE DR                                                                       MILFORD         MI    48380‐4600
IRVING MILLER                                      68 THOMAS LANE                                                                              SETAUKET        NY    11733‐3480
IRVING N SMITH                                     8184 KINSEL HIGHWAY                                                                         VERMONTVILLE    MI    49096‐9540
IRVING P LEWIS                                     7 CATALINA DR                                                                               LINWOOD         NJ    08221
IRVING PASTOR                                      88‐08 151ST AVE 1J                                                                          HOWARD BEACH    NY    11414‐1403
IRVING R FRANK                                     31861 SCHWARTZ RD                                                                           AVON            OH    44011‐2511
IRVING R PLAIEN                                    BOX 1521                                                                                    PHILA           PA    19105‐1521
IRVING RUBIN & MIRIAM RUBIN TR RUBIN LIVING TRUST 120 CHICHESTER RD                                                                            MONROE TWP      NJ    08831
UA 12/01/99
IRVING RUBIN & MRS MIRIAM RUBIN JT TEN             120 CHICHESTER RD                                                                           MONROE TWP      NJ    08831
IRVING S BRAVMAN                                   211 COLONIAL HOMES DR NW           APT 2309                                                 ATLANTA         GA    30309‐5201
IRVING S FEFFER                                    609 ALTA DRIVE                                                                              BEVERLY HILLS   CA    90210‐3503
IRVING SILVERMAN & FRIEDA SILVERMAN JT TEN         1017 PEBBLEBROOK LN                                                                         EAST LANSING    MI    48823‐2110
IRVING T CORDONIER                                 307 ELMDALE ST                                                                              CARLSBAD        NM    88220‐6316
IRVING T GALLINAT                                  PO BOX 741                                                                                  ST HELEN        MI    48656‐0741
IRVING T LALONDE                                   1619 NEW POINT COMFORT RD                                                                   ENGLEWOOD       FL    34223‐4812
IRVING T LALONDE & MARRIAN E LALONDE JT TEN        1619 NEW POINT COMFORT RD                                                                   ENGLEWOOD       FL    34223‐4812
IRVING TESMER                                      127 FAYETTE AVE                                                                             BUFFALO         NY    14223‐2707
IRVING W SCHMITZ                                   N72W26524 ESKER LN                                                                          LISBON          WI    53089‐1802
IRVING W WARNICK                                   721 SNOWSHILL TRL                                                                           COPPELL         TX    75019‐2791
IRVING W WARNICK & NINA I WARNICK JT TEN           721 SNOWSHILL TRL                                                                           COPPELL         TX    75019‐2791
IRVING WASSERMAN & MRS CLAIRE WASSERMAN JT         7 GLOUCESTER ST                                                                             BOSTON MA       MA    02115‐1610
TEN
IRVING ZISKIND                                     4242 NEWDALE DR                                                                             LOS ANGELES     CA    90027‐3227
IRWANA RAY                                         23790 KNIGHT RD                                                                             HILLMAN         MI    49746
IRWIN A M HYMAN                                    1198 OLD JORDAN RD                                                                          HOLLAND         PA    18966‐2659
IRWIN BEIRACH                                      85‐09 151ST AVE APT 4E                                                                      HOWARD BEACH    NY    11414‐1305
IRWIN D BARNES                                     6 ELMWOOD PARK WEST                                                                         TONAWANDA       NY    14150‐3315
IRWIN D GORDON                                     155 KING ST                                                                                 ELMONT          NY    11003‐4227
IRWIN DOLKART & ELLEN DOLKART JT TEN               10051 HICKORYWOODS PL                                                                       BOYNTON BEACH   FL    33437‐1303
IRWIN DRESNER                                      14 PATRICIA LN                                                                              SYOSSET         NY    11791‐5824
IRWIN DRUTTMAN                                     60 TURNER PLACE                                                                             BROOKLYN        NY    11218‐3447
IRWIN F RISSMILLER JR & BONNIE M RISSMILLER JT TEN 775 ANDREWS RD                                                                              BATH            PA    18014‐9604

IRWIN FINGERIT & MRS DOROTHY FINGERIT JT TEN     190 HERON LN                                                                                  MANHASSET       NY    11030‐4012

IRWIN G BURTON III                               30820 EDGEWATER DRIVE                                                                         LEWES           DE    19958‐3824
IRWIN GOLDSTONE & JEANNE GOLDSTONE JT TEN        176 E WAUKENA AVE                                                                             OCEANSIDE       NY    11572
IRWIN H WILLIS CUST MARLA B WILLIS UTMA FL       2450 N SHORE TR                                                                               MIAMI BEACH     FL    33141‐2448
IRWIN HARTMAN & MRS MARIAN HARTMAN JT TEN        8 CLEARWATER DR                                                                               WAYNE           NJ    07470

IRWIN HUNTER & REBECCA W HUNTER JT TEN           65 THOMAS ANTHONY RD                                                                          SAUNDERSTOWN    RI    02874‐1615
IRWIN J BAMBAS & LILLIAN R BAMBAS JT TEN         33235 SCHMIDT LN                                                                              LONE ROCK       WI    53556‐9103
IRWIN J BLAKE JR                                 2838 SWAIN                                                                                    WATERFORD       MI    48329‐2859
IRWIN JACOBSON                                   1035 CARLYLE TERR                                                                             HIGHLAND PARK   IL    60035‐4033
IRWIN JACOBSON & MRS FERN JACOBSON JT TEN        1035 CARLYLE TERR                                                                             HIGHLAND PARK   IL    60035‐4033
IRWIN JOSEPH KANE & MRS SYLVIA M KANE JT TEN     17911 ARBOLADA NY                                                                             TUSTIN          CA    92780‐2108

IRWIN K DUNN                                     1106 WEEBER STREET                                                                            IOWA CITY       IA    52246‐5183
IRWIN KAPLAN                                     PO BOX 885                                                                                    WAKEFIELD       RI    02880‐0685
IRWIN L GOLDBERG & JUDY GOLDBERG JT TEN          1511 BARNEGAT AVE                                                                             SHIP BOTTOM     NJ    08008‐4456
IRWIN L GOLDS CUST AARON LOUIS GOLDS UTMA CA     75‐540 DESIERTO DR                                                                            INDIAN WELLS    CA    92210‐8444

IRWIN LAWRENCE HABERMAN                          1 DIKE DR                                                                                     WESLEY HILLS    NY    10952‐1110
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IRWIN LEITGEB CUST UNDER THE LAWS OF OREGON FOR 23200 SW GRAHAMS FERRY RD                                                                      SHERWOOD          OR    97140‐9529
SHERMAN LEITGEB
IRWIN M BREEDLOVE                               323 OSBORNE DRIVE                                                                              CHATTANOOGA       TN    37421‐3930
IRWIN MILLER                                    28 CH COLCHESTER                      HAMPSTEAD QC                           H3X 3V5 CANADA
IRWIN NEPO CUST NEILL S NEPO UGMA MD            13118 APPLE TREE RD                                                                            HOUSTON           TX    77079‐7204
IRWIN P PAGE & GERALDINE V PAGE TR UA PAGE      58792 GALLERY COURT                                                                            WASHINGTN TWP     MI    48094
FAMILY TRUST 12/01/87
IRWIN PLASCOFF                                  2081 GERRITSEN AVE                                                                             BROOKLYN          NY    11229‐3705
IRWIN R BROWN                                   10380 SUDBURY CIRCLE NW                                                                        NORTH CANTON      OH    44720
IRWIN R BROWN & MARYANN BROWN JT TEN            10380 SUDBURY CIRCLE NW                                                                        NORTH CANTON      OH    44720
IRWIN RASHKOVER CUST BARRY WAYNE RASHKOVER      320 RIVERSIDE DR #7G                                                                           NEW YORK          NY    10025‐4115
UGMA PA
IRWIN RAUSCH & ANN RAUSCH JT TEN                70 LEEDS LN                                                                                    JAMESBURG         NJ    08831‐2622
IRWIN ROBINSON CUST JAMES ROBINSON UGMA IL      1908 BEVERLY LANE                                                                              BUFFALO GROVE     IL    60089‐8002

IRWIN SCHLESINGER                                55 FOXHUNT CRESC                                                                              SYOSSET           NY    11791‐1702
IRWIN SCHWADE & LENA SCHWADE JT TEN              222 CENTRE AVE                                                                                NEW ROCHELLE      NY    10805‐2634
IRWIN SHAPIRO                                    17 LANTERN LANE                                                                               LEXINGTON         MA    02421‐6029
IRWIN SKLAR                                      4740 N 35TH ST                                                                                HOLLYWOOD         FL    33021‐2214
IRWIN STUKINS & JANET STUKINS JT TEN             185 CONCORD COURT                                                                             WEIRTON           WV    26062‐3324
IRWIN TALBOT & MRS HELEN TALBOT JT TEN           146 GARDEN ST                                                                                 CRANSTON          RI    02910‐2813
IRWIN W COLEMAN JR                               PO BOX 16241                                                                                  MOBILE            AL    36616‐0241
IRWIN WEST                                       PO BOX 15                                                                                     NEW MILFORD       NJ    07646‐0015
IRWIN YEE                                        901 63 ST                                                                                     BROOKLYN          NY    11219
IRZOLA LAMBERT                                   269 NORWOOD AVE                                                                               YOUNGSTOWN        OH    44504‐1718
ISA MUFARREH & DORIS MUFARREH JT TEN             18504 LEVAN ROAD                                                                              LIVONIA           MI    48152‐2829
ISAAC A MYERS                                    ROUTE 2 BOX 64                                                                                CLOVERDALE        OH    45827‐9802
ISAAC APPIAH CUST ELIZABETH KONADO APPIAH UTMA   1060 FOXCHASE LANE                                                                            BALTIMORE         MD    21221‐5910
MD
ISAAC AYALA                                      15150 REX ST                                                                                  SYLMAR            CA    91342‐3721
ISAAC BROWN & ISAAC BROWN JT TEN                 6821 HURON                                                                                    TAYLOR            MI    48180‐1973
ISAAC BROWN SHERWIN                              114 KRAFT ST                                                                                  BEREA             OH    44017‐1559
ISAAC C ASKEW 3RD                                2413 SEMINOLE RD                                                                              AUGUSTA           GA    30904‐3411
ISAAC C CRICKENBERGER                            ROUTE 1                              BOX 164                                                  WAYNESBORO        VA    22980‐9724
ISAAC CARTER                                     33 E AFTON AVE APT#4                                                                          MORRISVILLE       PA    19067
ISAAC COBBS                                      15344 SUSSEX                                                                                  DETROIT           MI    48227‐2655
ISAAC D PENSON                                   20 GRANDVIEW DR                                                                               DUBLIN            OH    43017‐1312
ISAAC DANIELSON                                  7692 MANSFIELD HOLLOW                                                                         DELRAY BEACH      FL    33446‐3315
ISAAC E WAGNER                                   9811 WINTERCREST AVE NW                                                                       UNIONTOWN         OH    44685‐7615
ISAAC F JONES                                    154 CRAFTON AVE                                                                               PITMAN            NJ    08071‐1547
ISAAC G HENSLEY                                  PO BOX 774                                                                                    PUNTA GORDA       FL    33951‐0774
ISAAC GUTHRIE                                    1639 43RD STREET                                                                              WEST PALM BEACH   FL    33407‐3609

ISAAC H KLASSEN                                  3 RADCLIFFE RD                       ST CATHARINES ON                       L2T 2M3 CANADA
ISAAC H SMITH                                    2691 S ELECTRIC                                                                               DETROIT           MI    48217‐1125
ISAAC H WEBB JR                                  824 MEADOWBROOK DR                                                                            SCOTTSBORO        AL    35768‐2830
ISAAC HARDEN                                     5025 BALLARD DR                                                                               DAYTON            OH    45418‐2019
ISAAC HEGGE LEE                                  14956 STEPHENSON STREET                                                                       MORENO VALLEY     CA    92555‐6328
ISAAC HERSLEY & SUSAN HERSLEY JT TEN             9 LAFAYETTE DR                                                                                NEW CITY          NY    10956‐5859
ISAAC HORN                                       20 CAMEO RIDGE RD                                                                             MONSEY            NY    10952
ISAAC J POTTER                                   355 GINGHAMSBURG RD                                                                           TIPP CITY         OH    45371‐9261
ISAAC J WILSON                                   8046 W DODGE RD                                                                               MONTROSE          MI    48457‐9189
ISAAC JAMISON                                    2255 NW 175TH STREET                                                                          MIAMI             FL    33056‐4630
ISAAC JOHNSON JR                                 PO BOX 19269                                                                                  DETROIT           MI    48219‐0269
ISAAC KEYMEL                                     227 FAIR OAKS AV                                                                              ROCHESTER         NY    14618‐1805
ISAAC KOSMAN                                     59 HARRISON AVENUE                                                                            BROOKLYN          NY    11211‐8115
ISAAC L ANDERSON                                 7350 STATE AVE                       APT 716                                                  KANSAS CITY       KS    66112‐3062
ISAAC L JACKSON                                  835 O'FARRELL ST APT 603                                                                      SAN FRANCISCO     CA    94109‐9021
ISAAC LEVI ADAME                                 204 S SUMMIT ST                                                                               WEIMAR            TX    78962‐1923
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Name                                               Address1                             Address2             Address3          Address4          City             State Zip

ISAAC LEVY & MRS CAROLINE RUTH LEVY JT TEN          4550 CHURCH ST                                                                               SKOKIE           IL    60076‐1534
ISAAC LOTT                                          19163 WINTHROP                                                                               DETROIT          MI    48235‐2063
ISAAC LYNCH SR                                      321 OLDHAM WAY                                                                               ENGLEWOOD        OH    45322‐1745
ISAAC LYNCURRY KEMP                                 614 W ALMA                                                                                   FLINT            MI    48505‐2022
ISAAC M THEADFORD                                   748 E MARENGO                                                                                FLINT            MI    48505‐3543
ISAAC M WILLIAMS                                    PO BOX 4484                                                                                  ALBANY           GA    31706‐4484
ISAAC M WRIGHT                                      154 S HILTON ST                                                                              BALTO            MD    21229‐3759
ISAAC MAIZES                                        9441 HARDING AVE                                                                             SURFSIDE         FL    33154‐2803
ISAAC PONZANI                                       R D 2 UNIONVILLE RD                                                                          POTTSTOWN        PA    19465‐9802
ISAAC R BLANKS                                      19431 RYAN RD                                                                                DETROIT          MI    48234‐1969
ISAAC REEVES                                        16 REDWOOD DRIVE                                                                             SAGINAW          MI    48601‐4137
ISAAC S JOLLES JOLLES AND SLABY PC                  PO BOX 628                                                                                   AUGUSTA          GA    30903‐0628
ISAAC SIMS JR                                       1357 E HOLTSLANDER AVE                                                                       FLINT            MI    48505‐1782
ISAAC SMITH                                         3011 NORTON COURT                                                                            SMYRNA           GA    30082‐2127
ISAAC ST ISRAEL                                     20510 EVERGREEN RD                                                                           DETROIT          MI    48219‐1458
ISAAC TIESSEN & MARGARET TIESSEN JT TEN             PO BOX 168                                                                                   PANDORA          OH    45877‐0168
ISAAC TOPOR & GLORIA TOPOR JT TEN                   5 ALBERTA DR                                                                                 MARLBORO         NJ    07746‐1201
ISAAC TURNER                                        25765 UNITY DRIVE                   APT 37                                                   WEST HARRRISON   IN    47060‐8656
ISAAC VANDERLINDE                                   15 CHERRY ST                                                                                 LOCKPORT         NY    14094‐4717
ISAAC W CRAWFORD                                    3359 LINDEN ST                                                                               INDIANAPOLIS     IN    46227‐3244
ISABEL A DOWLING                                    268 SANDRINGHAM ROAD                                                                         ROCHESTER        NY    14610‐3458
ISABEL APONTE                                       PO BOX 152                                                                                   PLATEKILL        NY    12568‐0152
ISABEL B ABERTS                                     4 FAIRVIEW AVE                                                                               PENNSVILLE       NJ    08070‐1504
ISABEL B CLARK                                      2203 ACADIE DR                                                                               JACKSONVILLE     FL    32217‐3517
ISABEL B HOOKER                                     10 LONGWOOD DR                      APT 322                                                  WESTWOOD         MA    02090‐1142
ISABEL B PEARCE                                     BOX 4062                                                                                     WILMINGTON       DE    19807‐0062
ISABEL BRACKEN & JAMES D BRACKEN JT TEN             144 PATRICIA LANE                                                                            RUNNEMEDE        NJ    08078
ISABEL BROWN PEARCE                                 3 WINDSWEPT LANE                    PO BOX 4062                                              WILMINGTON       DE    19807‐0062
ISABEL C D'AURIA TR D'AURIA FAMILY TRUST UA 1/27/95 8004 FIRST CIRCLE DR                                                                         BROOKSVILLE      FL    34613‐7319

ISABEL C WEISS                                     5361 ANGEL WING DR                                                                            BOYNTON BEACH    FL    33437‐1649
ISABEL CUNNINGHAM                                  310 W 72ND ST 2E                                                                              NEW YORK         NY    10023‐2675
ISABEL D WALDO                                     632 E LEACH                                                                                   KILGORE          TX    75662‐3952
ISABEL E BATTERMAN                                 42 WARREN ST 1                                                                                CAMBRIDGE        MA    02141
ISABEL E DOSSANTOS                                 420 PALISADE AVE #3                                                                           YONKERS          NY    10703‐2651
ISABEL E SANCHEZ                                   4100 EBB TIDE LN                     APT 105                                                  HAMPTON          VA    23666‐6097
ISABEL ELISABETH FERNANDEZ                         16776 BEAR CREEK AVE                                                                          CHINO HILLS      CA    91709‐7924
ISABEL F FOWKES                                    312 CHERRY RD                                                                                 SYRACUSE         NY    13219
ISABEL FIGGEROA                                    8 ROGERS AVE                                                                                  WATSONVILLE      CA    95076‐4041
ISABEL FINDLAY                                     326 LINCOLN AVE                                                                               LYNDHURST        NJ    07071‐2206
ISABEL FRANKLIN                                    7 CROYDON CT                                                                                  DIX HILLS        NY    11746‐6143
ISABEL G CARDENAS                                  860 MCCREERY AVENUE                                                                           SAN JOSE         CA    95116‐3511
ISABEL G TAYLOR                                    223 WEST MAIN STREET                                                                          OMRO             WI    54963‐1335
ISABEL H STIEG                                     4035 PRESCOTT AVE                                                                             LYONS            IL    60534‐1330
ISABEL H YOUNG                                     107 VICTORIA CT                                                                               BEAR             DE    19701‐2089
ISABEL HERRERA WARE                                6800 75TH STREET                                                                              SACRAMENTO       CA    95828‐2349
ISABEL JANE BROWN                                  701 BROWN LN                                                                                  NEWPORT          OH    45768‐5247
ISABEL KOTAR & MICHAEL KOTAR JT TEN                330 SOUTH BROADWAY UNIT A4                                                                    TARRYTOWN        NY    10591‐5603
ISABEL KRACHT                                      120 MUNDY AVE                                                                                 EDISON           NJ    08820‐3925
ISABEL L VAN HYFTE & MADILENE NEWMAN JT TEN        1038 STANDISH PL SO                                                                           OWENSBORO        KY    42301‐6953

ISABEL M KRATZ                                     1050 S 8TH ST                                                                                 EL CENTRO        CA    92243‐3963
ISABEL M PEREIRA CUST JESSICA MARIE PEREIRA UTMA   17 RUTHELLA ROAD                                                                              HUDSON           MA    01749
MA
ISABEL M VAN DEN NOORT                             1355 GRASSHOPPER RD                                                                           HUNTINGDON       PA    19006‐5803
                                                                                                                                                 VALLEY
ISABEL M WILLIAMS & THEODORE J WILLIAMS JT TEN     208 CHIPPEWA ST                                                                               WEST LAFAYETTE   IN    47906‐2123

ISABEL MIZRACH                                     3230 N ABINGDON ST                                                                            ARLINGTON        VA    22207‐4214
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ISABEL P GONZALEZ & RICHIE L GONZALEZ JT TEN        11254 TELFAIR                                                                                   SAN FERNANDO    CA    91340‐3828
ISABEL PALACIOS                                     1316 FULLER AVE                                                                                 JOLIET          IL    60432‐1118
ISABEL PUCKHABER                                    72 TRANSYLVANIA RD                                                                              ROXBURY         CT    06783‐2107
ISABEL R BAKER                                      4 TUDOR COURT                                                                                   THOROFARE       NJ    08086‐3809
ISABEL ROBERTS & PATRICIA POWELL JT TEN             1102 HOFFMAN                                                                                    ROYAL OAK       MI    48067‐3425
ISABEL ROCHA                                        86 CHEVAS RD                                                                                    AVON            CT    06001
ISABEL RODRIGUEZ                                    5918 COPLIN ST                                                                                  DETROIT         MI    48213‐3608
ISABEL RODRIGUEZ & ELVIA RODRIGUEZ JT TEN           5918 COPLIN ST                                                                                  DETROIT         MI    48213‐3608
ISABEL S BRICE & CAROL L HAYWARD JT TEN             1470 E SHORE DRIVE                                                                              SAINT PAUL      MN    55106‐1119
ISABEL S BRICE & JAMES S BRICE JT TEN               1470 E SHORE DRIVE                                                                              SAINT PAUL      MN    55106‐1119
ISABEL S BRICE & THOMAS W BRICE JT TEN              1470 E SHORE DRIVE                                                                              SAINT PAUL      MN    55106‐1119
ISABEL SANCHEZ                                      8011 NW 186 TERR                                                                                MIAMI LAKES     FL    33015‐7205
ISABEL SANCHEZ                                      16 HALF MOON LANE                                                                               TARRYTOWN       NY    10591‐4808
ISABEL SCHUETZ                                      906 SHORE CLUB DR                                                                               ST CLR SHORES   MI    48080‐1562
ISABEL WARE                                         5224 MILITIA LN                                                                                 COLUMBUS        OH    43230‐1536
ISABEL WRAY TOLER                                   289 PARKWOOD CT                                                                                 COLLINSVILLE    VA    24078‐3021
ISABELINO NUNEZ                                     626 OTTAWA                                                                                      DEFIANCE        OH    43512‐2371
ISABELITA SOT RULLAN                                5826 GREWIA ST                                                                                  SAN DIEGO       CA    92114‐6620
ISABELL A GERKE                                     3410 EAGLE CREEK CT                                                                             GRAND RAPID     MI    49525‐7000
ISABELL E BROWN                                     515 W MAPLE                                                                                     CARSON CITY     MI    48811‐9649
ISABELL E ORRICK                                    5219 BRONCO DR                                                                                  CLARKSTON       MI    48346‐2607
ISABELL L SAND                                      1102 S HARVEY                                                                                   PLYMOUTH        MI    48170‐2105
ISABELLA B HITE & ROGER D HITE TEN ENT              1276 MARL BANK RD                                                                               LORETTO         VA    22438
ISABELLA B MUSIAL                                   16722 WHITEHAVEN DR                                                                             NORTHVILLE      MI    48168
ISABELLA C TREECE                                   1903 BIRKDALE DRIVE                                                                             COLUMBUS        OH    43232‐3023
ISABELLA CRAIG                                      2771 MAIN RD                                                                                    FRANKLINVILLE   NJ    08322‐2013
ISABELLA E MACKINTOSH JAMES G MACKINTOSH &          1708 MULBERRY AVE                                                                               UPLAND          CA    91784‐1844
MARIE A MACKINTOSH JT TEN
ISABELLA ELLIS                                      811 W RIDGEWAY AVENUE                                                                           FLINT           MI    48505‐5104
ISABELLA F SIMLER‐FUOCO                             63 GUILDFORD CRESCENT                  LONDON ON                              N6J 3Y3 CANADA
ISABELLA HOLMES                                     1512 CORNELIA ST                                                                                SAGINAW         MI    48601‐2905
ISABELLA KIRKLAND CUST N KIRKLAND TELLIS UTMA CA    10 B YELLOW FERRY HARBOR                                                                        SAUSALITO       CA    94965‐1326

ISABELLA L KARLE                                    6304 LAKEVIEW DR                                                                                FALLS CHURCH    VA    22041‐1309
ISABELLA M LOCKHART                                 2604 ARROYO DRIVE                                                                               DURANGO         CO    81301‐5833
ISABELLA MC KAY                                     4057 CRESCENT DR                       APT 225                                                  N TONAWANDA     NY    14120‐3716
ISABELLA MYLES PERSON                               602 CHURCH ST                                                                                   PORT GIBSON     MS    39150‐2114
ISABELLA S WHYMEYER                                 PO BOX 1870                                                                                     MELBOURNE       FL    32902‐1870
ISABELLA S WHYMEYER & ROBERT O WHYMEYER JT TEN      PO BOX 1870                                                                                     MELBOURNE       FL    32902‐1870

ISABELLA W HUTCHISON                                1616 CENTRAL                                                                                    DETROIT         MI    48209‐1801
ISABELLE ANN WANTROBA                               15W250 81ST ST                                                                                  HINSDALE        IL    60521‐7905
ISABELLE BENICEWICZ                                 116 CLAPBOARD RIDGE RD                                                                          DANBURY         CT    06811‐3647
ISABELLE BIRMINGHAM                                 1251 NORTHWOOD                                                                                  INKSTER         MI    48141‐1770
ISABELLE CAMRAS TR UA 06/30/94 ISABELLE CAMRAS      560 LINCOLN AVE                                                                                 GLENCOE         IL    60022‐1420
TRUST
ISABELLE D REED                                     PO BOX 357                                                                                      CAMBRIDGE CTY   IN    47327‐0357
ISABELLE DOUGLAS O'HARA                             337 WALKLEY HILL ROAD                                                                           HADDAM          CT    06438‐1017
ISABELLE E WRIGHT & SUZANNE L SCOTT JT TEN          PO BOX 874                                                                                      OWOSSO          MI    48867‐0874
ISABELLE F SOWELL                                   30 LAKESHORE LANE                                                                               CHATTANOOGA     TN    37415‐7013
ISABELLE FENSTER CUST DAVID SETH FENSTER UTMA NJ    241 SHINNECOCK DR                                                                               MANALAPAN       NJ    07726‐9522

ISABELLE FINGERMAN                                  1 OF 2                                 BREYER WOODS         184 LINDEN DR                       ELKINS PARK     PA    19027‐1339
ISABELLE HARRIS & HENRY HARRIS JT TEN               121 W 6TH ST                                                                                    BAYONNE         NJ    07002‐1131
ISABELLE JEAN YEATS TR ISABELLE JEAN YEATS LIVING   18520 GREENWALL DR                                                                              SOUTHFIELD      MI    48075‐5865
TRUSTUA 02/02/95
ISABELLE K MURPHY ALICE MAE MURPHY & MARY E         2230 BERBEROVICH                                                                                SAGINAW         MI    48603‐3604
KARL JT TEN
ISABELLE KIELB                                      99 SHONNARD PLACE                                                                               YONKERS         NY    10703
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Name                                              Address1                            Address2                Address3       Address4          City              State Zip

ISABELLE KRITZMAN TR ISABELLE KRITZMAN TRUST UA   913 SE 12TH WAY                                                                              DEERFIELD BEACH   FL    33441‐5886
06/17/98
ISABELLE LOUISE MAND                              6015 GLENBARR PL                                                                             DUBLIN            OH    43017‐9055
ISABELLE LUCEY                                    371 BONNIE LN                                                                                LA HABRA          CA    90631‐2903
ISABELLE M BAGGETT & GERRY JOHN BAGGETT JT TEN    BOX 143                                                                                      COTTON TOWN       TN    37048‐0143

ISABELLE M CLARK                                C/O GWENDOLYN C LEATHLEY              26 PEREGRINE CROSSING                                    SAVANNAH          GA    31411‐2819
ISABELLE M COE & SUSAN M SPREEMAN JT TEN        1121 THURMAN                                                                                   SAGINAW           MI    48602‐2851
ISABELLE M GOLDEN                               8127 TIMBER LN                                                                                 SAINT GERMAIN     WI    54558
ISABELLE M STEPHENS TR ISABELLE M STEPHENS      119 ARTLEE AVE                                                                                 BUTLES            PA    16001‐2770
REVOCABLE TRUST UA 02/16/04
ISABELLE M SWARTER                              102 E KEYSTONE AVE                                                                             WILMINGTON        DE    19804‐2026
ISABELLE MEDEIROS                               PO BOX 478                                                                                     HAWI              HI    96719‐0478
ISABELLE R SNIDER                               HC66 BOX 58                                                                                    BROHARD           WV    26138
ISABELLE REIMAN                                 5 WEYBRIDGE CT                                                                                 TOMS RIVER        NJ    08757‐6541
ISABELLE RHEAUME                                9252 RUE ROLAND MILETTE               MONTREAL QC                            H2M 2M2 CANADA
ISABELLE RICHARDS POUND                         401 COLONIAL DR APT 17                                                                         IPSWICH           MA    01938‐1667
ISABELLE S GORDON                               10 N FRONT ST                                                                                  CLEARFIELD        PA    16830‐2411
ISABELLE SQUIRES & GAIL M MANDEVILLE & EDWARD M 2910 CLUSTER DR APT 2                                                                          TRAVERSE CITY     MI    49684
SNYDER JT TEN
ISABELLE T GARABEDIAN                           45 KEITH PLACE                                                                                 BRIDGEWATER       MA    02324‐3003
ISABELLE TOBIN                                  2188 HIGHLANDER DR SE                                                                          GRAND RAPIDS      MI    49508
ISABELLE W RODWELL                              72 MEADOWWOOD ROAD                                                                             ROCHESTER         NY    14616
ISABELLE WOODS                                  15860 PINEHURST                                                                                DETROIT           MI    48238‐1017
ISABLELO H RODRIQUEZ                            PO BOX 652                            CAGUAS                                 725 PUERTO RICO
ISADOR COGAN & MRS PAULINE COGAN JT TEN         30979 OAK VALLEY CT                                                                            FARMINGTON HILLS MI     48331‐4400

ISADORE AARON CUST STEVEN NEAL AARON UGMA MA 235 CONCORD AVE                                                                                   LEXINGTON         MA    02421‐8207

ISADORE BERGLASS                                  3A WESTGATE LANE                                                                             BOYNTON BEACH     FL    33436‐6348
ISADORE BLECKMAN                                  11536 CLARENCE CENTER ROAD                                                                   AKRON             NY    14001‐9746
ISADORE RANDEL                                    1647 WISTERIA AVE                                                                            VINELAND          NJ    08361‐6548
ISAE T NEUTZLING                                  1509 QUEEN ST                                                                                LAUREL            MS    39440‐4220
ISAIAH BROWN JR                                   283 MOUNTAINCREST RD                                                                         DUARTE            CA    91010
ISAIAH GRANT                                      204 RAILROAD ST                                                                              STAMPS            AR    71860‐2981
ISAIAH GRAY                                       10 JONATHAN DRIVE                                                                            EDISON            NJ    08820‐2234
ISAIAH H LEWIS                                    30534 SANDHURST DR APT 101                                                                   ROSEVILLE         MI    48066
ISAIAH HUNTER                                     12096 LAUDER                                                                                 DETROIT           MI    48227‐2442
ISAIAH JOHNSON JR                                 PO BOX 13108                                                                                 FLINT             MI    48501‐3108
ISAIAH SIMMONS JR                                 302 HISCOCK                                                                                  ANN ARBOR         MI    48103‐3221
ISAIAH WADE                                       257 DELLWOOD                                                                                 PONTIAC           MI    48341‐2738
ISAIAH YATES                                      9332 SUNNY OAKS DRIVE                                                                        SOUTH LYON        MI    48178‐9681
ISAIAS DIAZ                                       555 FOXWORTH BLVD                   APT 468                                                  LOMBARD           IL    60148‐6441
ISAMU KURISU                                      BOX 967                                                                                      LIHUE             HI    96766‐0967
ISHA RENEE BROOKS                                 8 COLTS RUN RD                                                                               PRINCETON         NJ    08540‐8594
ISHIHARA MARKET LTD                               PO BOX 545                                                                                   WAIMEA            HI    96796‐0545
ISHMAEL S TURNER                                  2436 BETTY LANE                                                                              FLINT             MI    48507‐3535
ISHMALD F MCCOURT                                 4629 NETTLETON RD                                                                            MEDINA            OH    44256‐9630
ISHMAN WILLIAMS                                   3007 MACKEY LANE                                                                             SHREVPORT         LA    71118‐2428
ISIAH BELL                                        3659 PULFORD STREET                                                                          DETROIT           MI    48207‐2327
ISIAH BROWN JR                                    13538 ST AUBIN                                                                               DETROIT           MI    48212‐2118
ISIAH H JOHNSON & LILLIE R JOHNSON JT TEN         19619 SHREWSBURY                                                                             DETROIT           MI    48221‐1845
ISIAH JONES                                       464 BROOKS AVE                                                                               PONTICA           MI    48340‐1301
ISIAH LOVE JR                                     77 N ARDMORE ST                                                                              PONTIAC           MI    48342‐2703
ISIAH SHERMAN                                     2911 WEST 84TH ST                                                                            INGLEWOOD         CA    90305‐1843
ISIAH STARLING                                    8633 S EUCLID AVE                                                                            CHICAGO           IL    60617‐2941
ISIAH STARLING & SHAWN N CLARK JT TEN             2807 E 78TH ST 2                                                                             CHICAGO           IL    60649‐5223
ISIAH TURNER                                      PO BOX 366                                                                                   WADLEY            GA    30477‐0366
ISIDOR GOLDBERG                                   5961 PALISADE AVE                   APT 610                                                  BRONX             NY    10471
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ISIDOR GREEN                                       3300 SOUTH OCEAN BLVD                                                                       PALM BEACH       FL    33480‐5637
ISIDOR S SINIS                                     62TH SOFOULI ST                    THESSALONIKI                           GREECE
ISIDORA JARAMILLO                                  3461 FELA AVE                                                                               LONG BEACH       CA    90808‐3210
ISIDORE GOLDBERG CUST JACK GOLDBERG UGMA NY        31 BEACON HILL DRIVE                                                                        EAST BRUNSWICK   NJ    08816‐3435

ISIDORE NAHOUM                                     2441 BRAGG ST                                                                               BROOKLYN         NY    11235‐1205
ISIDORO C GUERRERO                                 19856 CALLE CADIZ                                                                           WALNUT           CA    91789‐1706
ISIDORO GARCIA                                     880 BAY ST                                                                                  PONTIAC          MI    48342‐1902
ISIDORO MONTES                                     PO BOX 7594                        PONCE PR                               72 PUERTO RICO
ISIDORO P MORA                                     133 SOUTH 10TH                                                                              SANTA PAULA      CA    93060‐3701
ISIDORO PTACHEWICH CUST YAEL PTACHEWICH UGMA       126 PLYMOUTH DR                                                                             SCARSDALE        NY    10583‐6841
NY
ISIDORO VICTOR LOPES                               76 JIM ASHE RD                                                                              PALMER           MA    01069‐9803
ISIDRA G TIMKEY                                    501 DAVISON RD                     APT 23                                                   LOCKPORT         NY    14094‐4037
ISIDRO ARVIZU                                      1119 S FRONT ST                                                                             CHESANING        MI    48616‐1466
ISIDRO DELGADO RADTKE                              7820 W SWEETWATER AVE                                                                       PEORIA           AZ    85381‐4003
ISIDRO G MORAIS                                    11 BAYBERRY LANE                                                                            FRAMINGHAM       MA    01701‐3047
ISIDRO S AREVALO                                   14906 BLACKHAWK ST                                                                          MISSION HILLS    CA    91345‐2107
ISLA ANNE HEJNY                                    1718 HIGHLAND PKWY                                                                          SAINT PAUL       MN    55116‐2113
ISLA M ARCHER                                      1624 N WEBSTER                                                                              KOKOMO           IN    46901‐2106
ISLA R PAINE TR UA 08/31/1988 PAINE FAMILY TRUST   800 BESTGATE RD 209                                                                         ANNAPOLIS        MD    21401

ISLA W BAILEY                                    5273 RIDGE RD N E                                                                             CORTLAND         OH    44410‐9786
ISMAEL CHAPA                                     1121 ASCOT LN                                                                                 FRANKLIN         TN    37064‐6723
ISMAEL ELIZONDO                                  5172 WEST GORDONVILLE RD                                                                      SHEPHERD         MI    48883‐8645
ISMAEL LEDESMA                                   1448 MORRELL                                                                                  DETROIT          MI    48209‐2467
ISMAEL MEDRANO & ROMELIA MEDRANO COMMUNITY 3634 W 146 ST                                                                                       HAWTHORNE        CA    90250‐8455
PROPERTY
ISMAEL N RENDON                                  C/O LILLIAN RENDON                   113 PUTNAM AVE                                           PONTIAC          MI    48342‐1267
ISMAEL NODARSE                                   14077 SW 168 LANE                                                                             MIAMI            FL    33177‐8003
ISMAEL QUINONES JR                               1 SADORE LANE                        APT 3 L                                                  YONKERS          NY    10710‐4812
ISMAEL RIVERA                                    3155 CONCORD ST                                                                               TRENTON          MI    48183‐3405
ISMAEL RODRIGUEZ                                 7752 BRAILE                                                                                   DETROIT          MI    48228‐4610
ISMAEL ROSAS                                     7043 BLANKENSHIP CIRCLE                                                                       DAVISON          MI    48423‐2316
ISMAIL L HERNANDEZ                               1478 HERVEY LN                                                                                SAN JOSE         CA    95125‐1846
ISMAY B ALEXANDER CUST ANTHONY J ALEXANDER       43 STERLING PL                                                                                BROOKLYN         NY    11217‐3203
UGMA NY
ISMAY B ALEXANDER CUST GHANY S ALEXANDER         43 STERLING PLACE                                                                             BROOKLYN         NY    11217‐3203
EDWARDS UGMA NY
ISMELIA SCIBERRAS                                3458 CASTLEWOOD DR                                                                            WIXOM            MI    48393‐1749
ISOBEL C BOOK & CAROL A BOOK TR ISOBEL C BOOK    01219 OLD STATE RD                                                                            BOYNE CITY       MI    49712‐9188
TRUST UA 03/14/00
ISOBEL M HOEBING                                 3571 CLAYBOURNE COURT                                                                         NEWBURY PARK     CA    91320
ISOBEL MARY MENZIES                              413 LINWELL RD UNIT#115A             SAINT CATHARINES ON                    L2M 7Y2 CANADA
ISOBEL SPORTELLO                                 6442 SOUTH OAKMONT DRIVE                                                                      CHANDLER         AZ    85249‐8509
ISOBEL W WHITE                                   PO BOX 164                                                                                    ORTONVILLE       MI    48462‐0164
ISOLA JOHNSON                                    274 ALGER                                                                                     DETROIT          MI    48202‐2102
ISOLINA LEOPARDI                                 33472 W 6 MILE RD                                                                             LIVONIA          MI    48152‐3143
ISOLINA P MELLADO & BRENDA WALKER JT TEN         PO BOX 26                                                                                     CASS CITY        MI    48726‐0026
ISOLYN CAMPBELL                                  3052 MARTIN LUTHER KING DR                                                                    CLEVELAND        OH    44104
ISOLYN CAMPBELL TOD PHILON BULGIN SUBJECT TO STA 3052 MARTIN LUTHER KING DR                                                                    CLEVELAND        OH    44104
TOD RULES
ISOM HALL                                        21518 RD 122                                                                                  OAKWOOD          OH    45873‐9324
ISOM M SIMS                                      98 BEECH HILL CRESCENT                                                                        PITTSFORD        NY    14534‐4208
ISRAEL BROWNER                                   5465 E OUTER DR                                                                               DETROIT          MI    48234‐3762
ISRAEL COOPER & EVELYN COOPER TR COOPER TRUST    815 LAKE ST                                                                                   TOMAH            WI    54660‐1438
UA 08/24/94
ISRAEL CORREA                                    715 W CEDAR                                                                                   OLATHE           KS    66061‐4003
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ISRAEL GORDON CUST RICHARD GORDON UGMA NY         300 SAW MILL LANE                                                                              WYCOFF             NJ    07481‐3218

ISRAEL J JILES JR                                 1701 PLEASURE STREET                                                                           NEW ORLEANS        LA    70122‐2344
ISRAEL JAY JACOBSON & MRS BERYL K JACOBSON JT TEN 5904 HEADSAIL CT                                                                               WILMINGTON         NC    28409‐8905

ISRAEL KATZ CUST RICHARD W KATZ A MINOR UNDER     APT 162                               125 W 16TH ST                                            NEW YORK           NY    10011‐6242
THE NEW YORK U‐G‐M‐A
ISRAEL REYES                                      19104 E 37TH TER S                    APT 1                                                    INDEPENDENCE       MO    64057‐2348
ISRAEL ROSADO                                     81 W YPSILANTI AVE                                                                             PONTIAC            MI    48340‐1869
ISRAEL TUCHMAN & SHULAMITH TUCHMAN TR             2120 PARNELL AVE                                                                               LOS ANGELES        CA    90025‐6318
TUCHMAN FAM TRUST UA 04/30/97
ISREAL BLUTH & MRS LILLIAN BLUTH JT TEN           1668 55TH ST                                                                                   BROOKLYN         NY      11204‐1823
ISREAL CYLEAR                                     126 DORIAN LANE                                                                                ROCHESTER        NY      14626‐1908
ISREAL HERBERT BLACKMON                           1715 HEDGELAWN DR                     APT 202                                                  CHARLOTTE        NC      28262‐8904
ISSA BAHDOUCHI & SAMIRA BAHDOUCHI JT TEN          15228 CRESCENTWOOD                                                                             EASTPOINT        MI      48021‐2256
ISSA K MARTHA                                     16544 BROOKLANE BLVD                                                                           NORTHVILLE       MI      48168‐8418
ISSAC BRIGHT III                                  15231 FORRER                                                                                   DETROIT          MI      48227‐2312
ISSAC NEWELL                                      729 MAPLE HURST AVE                                                                            DAYTON           OH      45407‐1546
ISSAC S JOHNSON                                   563 COUNTY ROAD 457                                                                            FLORENCE         AL      35633‐6873
ISSAM JISHI                                       714 ARDMORE ST                                                                                 OPARRORN HEIGHTS MI      48127‐4111

ISSIAC C ALLISON                                  39468 VINNIE CT                                                                                CLINTON TWP        MI    48038‐4022
ISSICHAR B YACAB & BATH YA YACAB JT TEN           363 CHERRY ST                                                                                  BEACON             NY    12508
ISTREF SALIHU                                     4054 NEW HWY 96 W                                                                              FRANKLIN           TN    37064‐4778
ISTVAN MATUSEK                                    375 HINMAN AVE                                                                                 BUFFALO            NY    14216‐1016
ISTVAN NADASI                                     1450 CAHTTAHOOCHEE RUN DRIVE                                                                   SUWANEE            GA    30024‐3818
ITALIA M REA                                      27 WOODLAWN AVE                                                                                PITTSBURGH         PA    15205‐3356
ITALO M CASTRACANE & MRS MARY T CASTRACANE JT     50 PARKER RD                                                                                   TUCKERTON          NJ    08087‐2420
TEN
ITRICIA W BRAWNER                                 4843 VANGUARD AVENUE                                                                           DAYTON             OH    45418‐1939
IVA A CRAYTON                                     5625 CHIMNEY ROCK DR                                                                           ARLINGTON          TX    76017‐3030
IVA A LARSEN TOD ROBERT W LARSEN SUBJECT TO STA   11 MARCIA LANE                                                                                 ROCHESTER          NY    14624‐4819
TOD RULES
IVA B HAZZARD                                     2671 KUHLMAN                                                                                   SAGINAW            MI    48603
IVA B SIMPSON                                     BOX 49                                                                                         WINDFALL           IN    46076‐0049
IVA DIANICH                                       12228 WHEATON                                                                                  STERLING HEIGHTS   MI    48313‐1776

IVA E CLOSSON                                     11510 NASHVILLE HWY                                                                            NASHVILLE          MI    49073‐9301
IVA ESSENYI                                       2264 BERWYN SW                                                                                 WYOMING            MI    49509
IVA FERREIRA                                      15 MERIDAN LN                                                                                  NANUET             NY    10954‐1333
IVA G MUND DONALD D MUND & WAYNE MUND TEN         C/O ERNEST W MUND                     3360 LAMBETH RD                                          BONNE TERRE        MO    63628‐3426
COM
IVA I MC KENNEY                                   108 EAST RD                                                                                    ORANGE             MA    01364
IVA J BONK                                        309 CRESCENT PL                                                                                FLUSHING           MI    48433‐1504
IVA J KAISER                                      11714 TANEYTOWN PIKE                                                                           TANEYTOWN          MD    21787
IVA J ROY                                         115 LILLIAN AVENUE                                                                             ELIZABETHTOWN      KY    42701‐8015
IVA J THIEL                                       598 SHELBOURNE LN                     APT 104                                                  DAYTON             OH    45458‐6371
IVA JEAN KITTLE                                   10363 DEF PAULDING CITY LINE RD                                                                MARK CENTER        OH    43536‐9733
IVA L BUNN                                        4552 LIVE OAK DR                                                                               DAYTON             OH    45417‐9632
IVA L HALL                                        1744 W HIGH ST                        APT 107                                                  PIQUA              OH    45356
IVA L REYNOLDS                                    RT 1 BOX 185                                                                                   PINEVILLE          KY    40977‐9732
IVA L REYNOLDS                                    R1 BOX 185                                                                                     PINEVILLE          KY    40977‐9732
IVA M KEMPER                                      9740 SPRINGWATER LN                                                                            MIAMISBURG         OH    45342‐4597
IVA M WEST                                        PO BOX 28531                                                                                   DETROIT            MI    48228‐0531
IVA MAE DETLING                                   6 SUNSET ST                                                                                    NEW LEBANON        OH    45345‐1433
IVA MAE K LOVE & GLENN R LOVE JT TEN              RDI BOX 212                                                                                    EAST WATERFORD     PA    17021‐0212
IVA MAY DIANICH & CHRISTINE DIANICH JT TEN        12228 WHEATON                                                                                  STERLING HEIGHTS   MI    48313‐1776
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IVA MAY DIANICH & CORINNE DIANICH JT TEN        12228 WHEATON DR                                                                             STERLING HEIGHTS   MI    48313‐1776

IVA P PORTER                                    8397 STONEBURNER RD                                                                          CROOKSVILLE        OH    43731‐9626
IVA R HALL                                      5922 EDINGBURGH #101                                                                         CANTON             MI    48187
IVA R PHILLIPS                                  PO BOX 157                                                                                   GRAND BLANC        MI    48439‐0157
IVAN A MARCOTTE                                 3632 MOORLAND DR                                                                             CHARLOTTE          NC    28226‐1117
IVAN A STUCK                                    6312 BOONE AVE N APT 202                                                                     BROOKLYN PARK      MN    55428‐2051
IVAN A ZAMORA                                   3431 59TH AVE SW                                                                             SEATTLE            WA    98116‐3006
IVAN AND CAROLINE WILSON MEMORIAL TRUST         PO BOX 421                                                                                   SHENANDOAH         IA    51601‐0421
IVAN B ADAMS                                    STAR ROUTE                                                                                   LOWNDES            MO    63951
IVAN B ARMOR                                    235 CO RD 547                                                                                TRINITY            AL    35673‐5430
IVAN B GARCHOW                                  2491 BLARNEY                                                                                 DAVISON            MI    48423‐9537
IVAN B HICKS                                    95 ELIOT AVE                                                                                 NEWTON             MA    02465‐1710
IVAN BUNJIK                                     42114 HYSTONE DR                                                                             CANTON             MI    48187‐3848
IVAN C COELHO                                   705 RIVER OAKS DR                                                                            GREENVILLE         TX    75402‐4013
IVAN C MINGLIN                                  4505 ORLEANS DR                                                                              KOKOMO             IN    46902‐5354
IVAN C PRATT                                    311 W WASHINGTON ST                                                                          PAULSBORO          NJ    08066‐1083
IVAN C RIKE                                     125 BLUEBIRD RIDGE                                                                           BYRDSTOWN          TN    38549‐4744
IVAN C ROTH                                     9384 CLIO RD                                                                                 CLIO               MI    48420‐8562
IVAN C WOODEN                                   12283 WILLIAMS RD                                                                            GAINES             MI    48436‐8912
IVAN CHICAIZA                                   15 SCHOOL RD                                                                                 HILLSDALE          NY    12529‐5043
IVAN D DAWE‐SOBERS                              5 GRANITE CIRCLE                                                                             MILLVILLE          MA    01529‐1538
IVAN D REED JR & MARY LOUISE REED JT TEN        306 E 19TH ST                                                                                SPENCER            IA    51301‐2339
IVAN D STEEN                                    106 MC KOWN RD WEST                                                                          ALBANY             NY    12203‐5925
IVAN D STEEN & MRS GAIL A STEEN JT TEN          106 MCKOWN ROAD WEST                                                                         ALBANY             NY    12203‐5925
IVAN D TENNEY                                   1906 CREEK LANDING                                                                           HASLETT            MI    48840‐8704
IVAN D TUCKER                                   7910 S HURON RIVER DR                                                                        YPSILANTI          MI    48197‐7042
IVAN D WILSON                                   10215 MORRISH RD                                                                             MONTROSE           MI    48457‐9135
IVAN DOWDEN                                     7113 HIGHTOWER                                                                               FORT WORTH         TX    76112‐5709
IVAN DOWDEN & RUBY L DOWDEN JT TEN              7113 HIGHTOWER                                                                               FT WORTH           TX    76112‐5709
IVAN DUANE PLETSCHER                            6162 SANDY LANE                                                                              BURTON             MI    48519‐1310
IVAN E DUCKER                                   9TH AND WALNUT STREETS                                                                       OOLITIC            IN    47451
IVAN E DUNN                                     24 CLINTON ST                                                                                MARLBORO           MA    01752‐2314
IVAN E FOWLER                                   1515 S 28TH ST                                                                               ELWOOD             IN    46036‐3106
IVAN E HABECKER                                 28174 STONY POINT ROAD                                                                       CAPE VINCENT       NY    13618‐3161
IVAN E HUNT                                     7951 W ARBELA RD                                                                             MILLINGTON         MI    48746‐9540
IVAN E MOCK & FRANCES S MOCK JT TEN             226 MARSHALL ROAD                                                                            KYLES FORD         TN    37765‐6231
IVAN E MOORE                                    1752 WILLAMET RD                                                                             KETTERING          OH    45429‐4251
IVAN E NEWMAN                                   1034 OLD TELEGRAPH RD                                                                        WARWICK            MD    21912‐1014
IVAN E TUFTS                                    1229 WATERSEDGE DR                                                                           LAKELAND           FL    33801‐6774
IVAN EGRY                                       332 90TH ST                                                                                  BROOKLYN           NY    11209‐5850
IVAN F MARTINEZ                                 1362 HIGHWOOD                                                                                PONTIAC            MI    48340‐1926
IVAN F OLMSTEAD & PHYLLIS E OLMSTEAD JT TEN     888 MORNINGSIDE DR                                                                           LAKE ODESSA        MI    48849‐1239
IVAN FLOYHAR                                    170 SENTINEL ROAD #311              DOWNSVIEW ON                           M3J 1T5 CANADA
IVAN G BROOKS                                   2151 GRANGER                                                                                 ORTONVILLE         MI    48462‐9201
IVAN G COLEMAN & BETTY J COLEMAN JT TEN         1159 LEMPI DR                                                                                DAVISON            MI    48423‐2880
IVAN G MAJOR                                    5011 PERSHING AVE                                                                            PARMA              OH    44134‐2327
IVAN G SHAW                                     6351 DYKE ROAD                                                                               ALGONAC            MI    48001‐4207
IVAN GENE RIBAS JR                              879 N CITADEL AVE                                                                            TUCSON             AZ    85748‐2728
IVAN H HUNT                                     PO BOX 384                                                                                   GARRETTSVILLE      OH    44231‐0384
IVAN H STEWART & DOYCE G STEWART JT TEN         10063 TEDDINGTON WAY                                                                         ELK GROVE          CA    95624‐1339
IVAN H WALLACE JR                               PO BOX 182                                                                                   PINETTA            FL    32350‐0182
IVAN HERMANSEN                                  23 KONG GEORGS VEJ                  DK‐2950 VEDBAEK                        DENMARK
IVAN HUNT JR                                    4741 K‐48                                                                                    WELLSVILLE         KS    66092
IVAN J BATES                                    724 RESEVOIR STREET                                                                          BALTIMORE          MD    21217‐4632
IVAN J CEDERQUIST                               6522 SHEARER RD                                                                              GREENVILLE         MI    48838‐9100
IVAN J DUIVESTEYN                               3740 DEVITTS RD                     BLACKSTOCK ON                          L0B 1B0 CANADA
IVAN J KEVELIN & JUDITH A KEVELIN JT TEN        9648 COLUMBIA                                                                                DETROIT            MI    48239‐2306
IVAN J LEIBEN & NORA ANN SHARKEY JT TEN         22 FREDERICK ROAD                                                                            WEST HARTFORD      CT    06119‐1320
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IVAN J MATUSEK                                  212 LIBERTY ST                                                                                  FORDS             NJ    08863‐1816
IVAN J WILCOXSON                                3946 GLENVIEW CT                                                                                HUDSONVILLE       MI    49426‐8400
IVAN JEREMY HANSEN                              BOX 8273 JFK STATION                                                                            BOSTON            MA    02114‐0033
IVAN JUNIOR CABLE                               3170 W CO RD 400S                                                                               NEW CASTLE        IN    47362‐9607
IVAN K ARNOLD                                   2538 COSTA MESA                                                                                 WATERFORD         MI    48329‐2429
IVAN K GILES                                    G 2426 HUTCHINSON LANE                                                                          FLINT             MI    48505
IVAN K VESPERMAN                                1213 KELLOGG AVE                                                                                JANESVILLE        WI    53546‐6019
IVAN KOHN                                       6501 MT BAKER HWY                                                                               DEMING            WA    98244‐9520
IVAN KRESIC                                     10422 BRIGHTON RD                                                                               BRATENAHL         OH    44108‐1032
IVAN KUCELJ                                     6860 LONG LAKE RD                                                                               BERRIEN SPRINGS   MI    49103‐9636
IVAN KUCMANIC                                   20200 GREENOAK DR                                                                               EUCLID            OH    44117‐2226
IVAN L ANDERSEN                                 6478 OLIVER ROAD                                                                                FOSTORIA          MI    48435‐9621
IVAN L BAILEY                                   15427 WAKENDEN ST                                                                               REDFORD           MI    48239‐3866
IVAN L BURGEI                                   24021 RD I‐23                                                                                   OAKWOOD           OH    45873‐9703
IVAN L BURKS                                    4965 BEACON HILL RD                                                                             COLUMBUS          OH    43228‐1297
IVAN L FLYNN                                    521 COVINGTON GROVE CT                                                                          BOWLING GREEN     KY    42104‐6603
IVAN L GAINES                                   11732 OLD ST CHARLES RD                                                                         BRIDGETON         MO    63044‐3065
IVAN L HARDENBURG                               821 BROOKDALE AVE                                                                               MASON             MI    48854‐2026
IVAN L HIMES                                    RD #2 BOX 336                                                                                   BROOKVILLE        PA    15825‐9144
IVAN L IVY TR PATRICIA E IVY FAMILY TRUST UA    1290 STONEBRIAR COURT                                                                           NAPERVILLE        IL    60540‐8017
04/01/92
IVAN L PLUNKETT & DELORES I PLUNKETT JT TEN     3395 NORTHWEST DR                                                                               SAGINAW           MI    48603‐2335
IVAN L REAMER                                   2170 AQUA                                                                                       CARO              MI    48723‐9251
IVAN L SANFORD                                  2521 MCCRACKEN ST                                                                               MUSKEGON          MI    49441‐1458
IVAN L SEELEY & KATHLEEN SEELEY JT TEN          1819 N CHIPPEWA TRAIL                                                                           PRSCOTT           MI    48756‐9506
IVAN L SKAGGS & SHIRLEY JEAN SKAGGS JT TEN      8202 MARIE LANE                                                                                 ELLENTON          FL    34222‐4521
IVAN LEE CONNER JR & SANDRA LEE CONNER JT TEN   10421 E SINTO AVE                                                                               SPOKANE VALLEY    WA    99206‐3985

IVAN LEE HOLT III                               PO BOX 361                                                                                      BOZMAN          MD      21612‐0361
IVAN LEON ONEILL III                            336 RANDY DR                                                                                    WEST CARROLLTON OH      45449‐2143

IVAN M HIXON & JOAN C HIXON JT TEN              3824 TWILIGHT DR S                                                                              FORT WORTH        TX    76116‐7646
IVAN M IVERSEN                                  3290 KENTON DR                                                                                  SALT LAKE CTY     UT    84109‐2223
IVAN M LUCAS                                    1811 ADREAN PL                                                                                  SUN CITY CENTER   FL    33573‐5054
IVAN M RANSOM                                   454 RIVER RD                                                                                    HOGANSBURG        NY    13655‐2141
IVAN NOVAK                                      11 CAMBRIDGE COURT                     WHITBY ON                              L1N 6Y9 CANADA
IVAN NOVAK                                      11 CAMBRIDGE COURT                     WHITBY ON                              L1N 6Y9 CANADA
IVAN O HIGGINBOTHAM                             1670 N GRAPEVINE RD                                                                             SISSONVILLE       WV    25320‐9531
IVAN O SMITH                                    267 INVERNESS AVE                                                                               VANDALIA          OH    45377
IVAN P GOLDSBERRY                               PO BOX 30715                                                                                    WILMINGTON        DE    19805‐7715
IVAN P PACK & MRS GAIL H PACK JT TEN            1096 E NORTHERN HILLS DR                                                                        BOUNTIFUL         UT    84010‐1705
IVAN PISCHINGER                                 8661 WINTER GARDEN BLVD SP 61                                                                   LAKESIDE          CA    92040‐5436
IVAN R FOSTER                                   500 W INDIANA AVE                                                                               SPENCER           IN    47460‐1242
IVAN R JAMES                                    328 W CENTRAL AVE                      APT 1                                                    BLUFFTON          IN    46714‐2400
IVAN R JONES                                    717 E 6TH ST                                                                                    COOKEVILLE        TN    38501‐2824
IVAN R LEFEBVRE & GERALDINE LEFEBVRE JT TEN     PO BOX 433                                                                                      W CHESTERFLD      NH    03466‐0433
IVAN R MIDDLETON                                9601A MISSOURI STREET                                                                           OSCODA            MI    48750‐1918
IVAN R SAMALOT                                  275 VALLEY STREAM DR                                                                            HOLLY             MI    48442‐1571
IVAN R SCOTT                                    1990 WESTFIELD DRIVE N                                                                          COLUMBUS          OH    43223‐3765
IVAN R WHITE                                    2 DURNESS COURT                                                                                 NOTTINGHAM        MD    21236‐3314
IVAN RADMAN                                     606 68TH ST                                                                                     DOWNERS GROVE     IL    60516‐3642
IVAN REGINALD CASTAGNIER                        PO BOX 50                                                                                       CHASE MILLS       NY    13621‐0050
IVAN RODIN                                      11455 GREY FRIAR WAY                                                                            CHARDON           OH    44024‐8350
IVAN S FISHER                                   1280 BALD EAGLE                                                                                 ORTONVILLE        MI    48462
IVAN SIZEMORE                                   316 LADINO LN                                                                                   PENDLETON         IN    46064‐9187
IVAN SMITH                                      PO BOX SN521                           SOUTHAMPTON                            SN BX BERMUDA
IVAN SOWDERS                                    1655 RAUSCH AVE                                                                                 DAYTON            OH    45432‐3429
IVAN SPARKS & WILLIAM SPARKS JT TEN             8731 GEDDES RD                                                                                  SAGINAW           MI    48609‐9591
IVAN SQUARCIAFICHI                              CAP ESTEL                              06 EZE                                 FRANCE
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IVAN V HULTMAN JR                                  5540 WALNUT AVE UNIT 12C                                                                     DOWNERS GROVE   IL    60515‐4127
IVAN V WILLIAMS                                    201 48TH AVE                                                                                 BELLWOOD        IL    60104‐1323
IVAN W CORN                                        3206 SOUTH BUCKNER PARSNEY                                                                   GRAIN VALLEY    MO    64029
IVAN W HAMM                                        1670 BULLOCK PEN RD                                                                          COVINGTON       KY    41017‐8157
IVAN W MOSKOWITZ                                   1105 PARK AVE                                                                                NEW YORK        NY    10128‐1200
IVAN W STEBBINS                                    1523 BOYNTON DRIVE                                                                           LANSING         MI    48917‐1707
IVAN WELLINGTON                                    2700 SUNRISE LAKES RD DR W          #B7‐112                                                  SUNRISE         FL    33322
IVAN WIKER                                         1762 FAIRHAVEN CT                                                                            OAKLEY          CA    94561‐3070
IVANA KUCMANIC                                     20200 GREEN OAK DRIVE                                                                        EUCLID          OH    44117‐2226
IVANNA MALINOW                                     PO BOX 392                                                                                   WASHINGTON      MI    48094‐0392
IVAR D CARLSON                                     TELLICO VILLAGE                     210 KIYUGA LANE                                          LOUDON          TN    37774‐2705
IVARS L BERZINS                                    27818 69TH AVE NW                                                                            STANWOOD        WA    98292
IVARY ANDERSON                                     312 BLAKES FORK                                                                              WILLIAMSBURG    KY    40769‐2830
IVERSON DENNEY JR                                  5727 OLD HWY 96                                                                              FRANKLIN        TN    37064
IVERY J KIMBLE                                     3514 BELL SPUR RD                                                                            MEADOWS DAN     VA    24120‐4289
IVETTE LEJA                                        1904 HASKELL ST                                                                              AUSTIN          TX    78704
IVETTE M BENNETT                                   1400 PLYMOUTH AVE S                 APT 1003                                                 ROCHESTER       NY    14611‐3928
IVEY C STONE TR IVEY C STONE TRUST UA 02/12/98     593 KING'S WAY RD                                                                            MARTINSVILLE    VA    24112‐6602

IVICA ZAHER & NIKOLA ZAHR JT TEN                   1131 PARK AVE                                                                                NORTH CHICAGO   IL    60064‐1330
IVISON D ROWLAND JR & JANICE M ROWLAND JT TEN      3 HARVEY LANE                                                                                MALVERN         PA    19355‐2907

IVKA RAGUZ                                         26381 AARON AVE                                                                              EUCLID           OH   44132‐2546
IVO BERTINI                                        6401 WARNER AVE                     APT 569                                                  HUNTINGTN BCH    CA   92647‐5115
IVO P GARDELLA                                     356 COVENTRY RD                                                                              BERKELEY         CA   94707‐1251
IVO SKILJ                                          3571 FOREST AVE                                                                              SANTA CLARA      CA   95050‐6630
IVOLA E EDICK                                      300 E MAIN ST BOX 504                                                                        LINCOLN          MI   48742‐0504
IVOR G ADAMS                                       PO BOX #46                                                                                   ARCANUM          OH   45304‐0046
IVORY BURNETT                                      5340 WABADA                                                                                  ST LOUIS         MO   63112‐4326
IVORY C RAMSEY                                     204 HUGHLEY RD                                                                               VALLEY           AL   36854‐4521
IVORY D COCHRAN                                    2801 GOSHEN RD                                                                               STANFORD         KY   40484‐9707
IVORY J CLAYTON                                    123 CARVER DRIVE                                                                             MINDEN           LA   71055‐8705
IVORY JENNINGS                                     717 FRANKLIN ST SE                                                                           GRAND RAPIDS     MI   49507‐1306
IVORY JONES                                        2636 NARLOCH                                                                                 SAGINAW          MI   48601‐1340
IVORY L MILLER                                     6242 BERMUDA LN                                                                              MOUNT MORRIS     MI   48458‐2625
IVORY O'GUIN                                       HC 66 BOX 1668                                                                               BARBOURVILLE     KY   40906‐9219
IVORY PERRY                                        32580 JUDY DR                                                                                WESTLAND         MI   48185‐1547
IVOS O COUNTS                                      224 W 2ND AVE APT B9                                                                         ROSELLE          NJ   07203‐1157
IVRA T FORD                                        4870 MAPLEWOOD DR                                                                            JACKSON          MS   39206‐4817
IVRON J TUBBS                                      2838 76TH AVE                                                                                OAKLAND          CA   94605‐2908
IVY FEIBELMAN                                      4223 S E MADISON STREET                                                                      PORTLAND         OR   97215‐2428
IVY J BILBREY & NATHAN BILBREY JT TEN              PO BOX 162                                                                                   MARROWBONE       KY   42759‐0162
IVY JEAN BUCHANAN                                  124 LOVELL AVENUE                                                                            BROOMALL         PA   19008‐1137
IVY M SMITH                                        633 VANDERBILT AVE                  APT 3                                                    BROOKLYN         NY   11238‐3839
IVY M WILLIAMS                                     1309 E ALMA AVE                                                                              FLINT            MI   48505‐2338
IVY RAE THISTED                                    1322 S W 10TH PL                                                                             CAPE CORAL       FL   33991‐2911
IVY Y SMITH                                        99 HIGH POINT NORTH DRIVE                                                                    NEWNAN           GA   30265‐5908
IVY YELL                                           150 ELLIOTT ST                                                                               STRATFORD        CT   06614‐5001
IVYLYN M LEONARD                                   PO BOX 392                          118 SAINT JOSEPH ST                                      GRIFTON          NC   28530‐9737
IWAN FEDORIW                                       11116 ROSSELO                                                                                WARREN           MI   48093‐6568
IWAN SERDIUK                                       17424 MYRON                                                                                  LIVONIA          MI   48152‐3115
IWAO L SUGITA                                      3418 WESTERN SPRINGS RD                                                                      ENCINITAS        CA   92024
IWAO SHIMIZU & KATHERINE K SHIMIZU JT TEN          47‐775 LAMAULA RD                                                                            KANEOHE          HI   96744‐5050
IWILLA MOODY                                       1561 RUSSELL ST                                                                              YPSILANTI        MI   48198
IZABELLA LISTOPAD                                  4151 REILAND LN                                                                              SHOREVIEW        MN   55126‐3120
IZABELLE JIZMEJIAN                                 25348 LYNCASTLE                                                                              FARMINGTON HILLS MI   48336‐1569

IZANETTA MCFARLAND                                 6228 E 129TH ST                                                                              GRANDVIEW       MO    64030‐2633
IZELLA JACKSON                                     8413 SOUTH DAMEN AVENUE                                                                      CHICAGO         IL    60620‐6023
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Name                                                Address1                              Address2                    Address3        Address4          City            State Zip

IZETTA D TERRELL                                     17302 ROSELAWN                                                                                     DETROIT         MI    48221‐2555
IZETTA J LAYNE                                       4107 NOYES AVE SE                                                                                  CHARLESTON      WV    25304‐1617
J A ABREU                                            157 LAUREL GLEN DR                                                                                 MOORESVILLE     NC    28115‐6995
J A BARKSDALE                                        29220 WOOLEY SPRINGS RD                                                                            ATHENS          AL    35613‐3310
J A CAPOBIANCO                                       1423 EMERALD BAY                                                                                   LAGUNA BEACH    CA    92651‐1263
J A CIMINO                                           9 COOK ST                                                                                          MILFORD         MA    01757‐3543
J A CRAWFORD                                         8317 BELL ST                                                                                       CROWN POINT     IN    46307‐9648
J A FOWLER                                           HC 64 BOX 782                                                                                      GRASSY          MO    63751‐9311
J A GALLEGOS                                         319 W SOLA ST                                                                                      SANTA BARBARA   CA    93101‐3010
J A HOLANDA                                          924 GREYSTONE CT                                                                                   ANDERSON        IN    46011‐9786
J A I M WIJDEVEN                                     MOLENSTRAAT 8                        5391 AV NULAND                              NETHERLANDS
J A LONG                                             83 GOLD RD                                                                                         POUGHQUAG       NY    12570‐5614
J A MARCINIAK                                        1065 STONE ST                                                                                      RAHWAY          NJ    07065‐1913
J A OSZVART                                          435 WHITEHEAD RD                                                                                   MERCERVILLE     NJ    08619‐3260
J A PHILLIP                                          148 JONES AVENUE                                                                                   NEW BRUNSWICK   NJ    08901‐2841
J A SCARDACE                                         C/O THELMA SCARDACE                  227 SUMMIT AVE                                                MT VERNON       NY    10552‐3309
J A SCOTT                                            RR4 BOX 55                                                                                         CHILLICOTHE     MO    64601‐9207
J A SPALDING                                         1 SWAINS END SWAINS RD               BEMBRIDGE                   ISLE OF WIGHT   GREAT BRITAIN
J A TOMPKINS JR                                      39 SUNSHINE AVE                                                                                    SAUSALITO       CA    94965‐2306
J A VELENSKI                                         1317 ROSE OF SHARON CT                                                                             PLEASANT GDN    NC    27313‐8216
J A VILLA                                            5038 RED RIVER TERRACE                                                                             GRAND PRAIRIE   TX    75052‐1936
J ALAN BROWN & BARBARA ANNE LOCHER JT TEN            5375 COOLEY LAKE RD APT 6                                                                          WATERFORD       MI    48327‐3074
J ALBRECHT                                           277‐28‐107                           729 LORI DRIVE‐205‐BL22 X                                     PALM SPRINGS    FL    33461‐1292
J ALEXANDER KANZLER                                  628 HILLCREST DRIVE                                                                                BRADENTON       FL    34209‐1842
J ALLEE MILLER                                       2103 COUNTYLINE RD                                                                                 BARKER          NY    14012
J ALLEN YOUNG                                        1158 ST ANDREWS RD                                                                                 BRYN MAWR       PA    19010‐1951
J ALTON ROSS & ANN L ROSS TR UA 01/28/94 ROSS        2292 SO LEGACY DR                                                                                  ST GEORGE       UT    84770‐8763
FAMILY TRUST
J ANDREW DAMICO                                      1446 RIVER RD                                                                                      NEW HOPE        PA    18938‐9265
J ANDREW MC KEE                                      289A 30TH ST                                                                                       SAN FRANCISCO   CA    94131‐2401
J ANIAS                                              1 RIVER PLAZA                                                                                      TARRYTOWN       NY    10591‐3653
J ANTHONY LOFTUS                                     473 MARLIN DR                                                                                      PITTSBURGH      PA    15228‐1224
J ARTHUR COFFILL                                     130 SAND RD                                                                                        FALLS VILLAGE   CT    06031‐1116
J ARTHUR LYONS                                       C/O ROSE K LYONS                     KINGS HIGHWAY                                                 CLARKSBORO      NJ    08020
J ARTHUR MINDS & RUTH E MINDS TEN ENT                                                                                                                   RAMEY           PA    16671
J ASTALOS                                            APT 1                                415 EAST ELM STREET                                           LINDEN          NJ    07036‐2862
J B BALTZELLE                                        125 ODESSA DR                                                                                      HASLET          TX    76052‐4019
J B BOOK                                             2379 HIALEAH DR                                                                                    FLINT           MI    48507‐1011
J B BOWEN                                            4193 DORAN ST                                                                                      FLINT           MI    48504‐1508
J B CARRINGTON                                       20041 FENTON                                                                                       DETROIT         MI    48219‐1008
J B CASIMIR GRAUGNARD II                             PO BOX 225                                                                                         EDGARD          LA    70049‐0225
J B CLAIBORNE III CUST BRITTANY C CLAIBORNE UGMA 301 PALAMINO PATH                                                                                      STATESBORO      GA    30458‐8712
GA
J B COBB                                             3346 COUSINO RD                                                                                    ERIE            MI    48133‐9778
J B COCHRAN                                          6297 HWY 52 E                                                                                      ELLIFAY         GA    30540‐6312
J B COLE                                             3110 MERWOOD DRIVE                                                                                 MT MORRIS       MI    48458‐8247
J B COLLINS                                          6363 CHRISTIEAVE #1206                                                                             EMERYVILLE      CA    94608
J B DANIELS                                          1115 ORLANDO                                                                                       AKRON           OH    44320‐2732
J B DAVIS                                            105 WILEY BRIDGE CT                                                                                WOODSTOCK       GA    30188‐4751
J B DAVIS & JO ANN DAVIS JT TEN                      1209 TREHOWELL DR                                                                                  ROSEVILLE       CA    95678‐6110
J B ELLINGTON JR                                     175 PINEVALE COURT                                                                                 FAYETTEVILLE    GA    30215‐8136
J B GAIN                                             2233 E MERCED AVE                                                                                  WEST COVINA     CA    91791‐3657
J B GEBHARD                                          107 KAILUANA PLACE                                                                                 KAILUA          HI    96734‐1663
J B JARED & JOAN C JARED TR J B JARED & JOAN C JARED 7050 SUNSET DR S APT 1505                                                                          S PASEDENA      FL    33707‐6411
TRUST UA 10/27/94
J B KENDALL                                          3282 POST OAK TRITT RD                                                                             MARIETTA        GA    30062‐4419
J B MC CORMICK                                       2659 MELCOMBE CIR                    APT 307                                                       TROY            MI    48084‐3461
J B MILLER                                           3815 PARKSIDE CIR                                                                                  SARASOTA        FL    34243‐1457
J B MILLS                                            16221 BRAILE                                                                                       DETROIT         MI    48219‐3911
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J B MORRIS JR & MARTHA LEE MORRIS JT TEN       32549 REGENTS BLVD                                                                               UNION CITY      CA    94587‐4851
J B PATTON                                     1506 BRIAR WOOD                                                                                  ARLINGTON       TX    76013‐3411
J B SMITH CUST COURTNEY JEAN SMITH UGMA PA     696 PADDOCK CIRCLE                                                                               WEST CHESTER    PA    19382‐8234
J B SOUTH                                      39 W CRESCENT AVE                                                                                NEWPORT         KY    41071‐2518
J B SPALDING                                   9405 GRANDVIEW DR                                                                                DENTON          TX    76207‐6631
J B TAYLOR                                     7520 WHEELER DR                                                                                  ORLAND PARK     IL    60462‐5026
J B WOOD                                       C/O NORTHWEST BUTANE GAS CO             11551 HARRY HINES BLVD                                   DALLAS          TX    75229‐2202
J BARRETT LOVE                                 PO BOX 5057                                                                                      CLEVELAND       TN    37320‐5057
J BARTLEY THOMAS JONES                         704 WILKSHIRE COURT                                                                              GRAND BLANC     MI    48439
J BEECHER TODD & DEBORAH L TODD JT TEN         18566 JAMESTOWN CIRCLE                                                                           NORTHVILLE      MI    48167‐3525
J BELMONT PERRY                                17 FLINT RD                                                                                      NEWARK          DE    19711‐2311
J BERNARD SLOAN CUST JEFFERY M SLOAN UGMA MI   312 GEORGE ST                                                                                    BIRMINGHAM      MI    48009‐3637

J BLAIR MOFFETT                                3034 THRIFT RD                                                                                   MADISON         VA    22727‐5036
J BOUNDY NOMINEES PTY LTD                      31 SEAVIEW RD                           TENNYSON SA                            5022 AUSTRALIA
J BOUTIN                                       823 CHARLES WILSON PKY                  COBOURG ON                             K9A 0E2 CANADA
J BRADFORD DELONG                              C/O MICHAL BERGMAN                      349 S SWALL DRIVE                                        BEVERLY HILLS   CA    90211‐3611
J BRENDA CREA                                  126 RIDGE AVE                                                                                    PITTSFIELD      MA    01201‐1464
J BRENDAN FOLEY                                1016 W CAMPBELL                                                                                  ARLINGTON       IL    60005‐1606
                                                                                                                                                HEIGHTS
J BRIAN GAFFNEY                                28 SCENIC DR                                                                                     BERLIN          CT    06037‐2522
J BRIAN LEEK                                   3997 HOMESTEAD DR                                                                                HOWELL          MI    48843
J BRIAN MC VEIGH                               4480 GOLF VIEW DR                                                                                BRIGHTON        MI    48116‐9178
J BRIAN PEACOCK                                1580 COMMERCE DR                        APT A1                                                   DECATUR         GA    30030‐3127
J BRICKER BURNS CUST BRUCE T BURNS A MINOR     1239 WINDING BRANCH CR                                                                           DUNWOODY        GA    30338‐3935
UNDER THE LAWS OF GEORGIA
J BRUCE BEVERIDGE CUST BRUCE B SMITH UGMA AL   233 MIRACLE STRIP PKWY                                                                           MARY ESTHER     FL    32569

J BRUCE FRANCIS                                171 GRANGER RD UNIT 112                                                                          MEDINA          OH    44256
J BRUCE REID                                   4 WORFOLK PL                            WHITBY ON                              L1N 6Z2 CANADA
J BRUCE ROGERS                                 4689 LOMBARD ST                                                                                  MAYS LANDING    NJ    08330‐3349
J BRUCE RUSSELL & MARY K RUSSELL JT TEN        2531 VICTORIA CIR                                                                                ALPINE          CA    91901‐1455
J BRUCE WINNINGHAM                             19 SHORE ACRE DR                                                                                 OLD GREENWICH   CT    06870‐2107
J BYRON MC CORMICK                             2659 MELCOMBE CIR                       APT 307                                                  TROY            MI    48084‐3461
J C ANDERSON                                   1061 PHEASANT WALK                                                                               KAUFMAN         TX    75142‐7351
J C ARMSTRONG & IRENE ARMSTRONG JT TEN         630 DETROIT AVE                                                                                  LAKE ORION      MI    48362‐2332
J C BEAN JR                                    14338 NEFF RD                                                                                    CLIO            MI    48420‐8846
J C BROWN                                      7425 LYDIA                                                                                       KANSAS CITY     MO    64131‐1815
J C BURNS                                      3121 CLEARVIEW DR                                                                                INDIANAPOLIS    IN    46228‐1067
J C DAVIS                                      144 E MOORE ST                                                                                   FLINT           MI    48505‐5370
J C DILL                                       301 EAST 10TH                                                                                    GEORGETOWN      IL    61846‐1106
J C DOUGLAS                                    2751 LAKE DOUGLAS RD                                                                             BAINBRIDGE      GA    31717‐7853
J C DOUGLAS                                    PO BOX 376                                                                                       JENISON         MI    49429‐0376
J C GREENWOOD                                  4655 MONTGOMERY RD                                                                               MARLETTE        MI    48453‐9136
J C HENDERSON                                  20047 KLINGER                                                                                    DETROIT         MI    48234‐1741
J C HUNT                                       2311 HWT 116                                                                                     CARYVILLE       TN    37714‐9762
J C JONES                                      711 WESTMOUNT DR                        APT 206                                                  W HOLLYWOOD     CA    90069‐5171
J C KIRK & JACQUELINE R KIRK JT TEN            90 EMS W29B LANE                                                                                 NORTHWEBSTER    IN    46555‐9749
J C LEWIS                                      2560 MORRIS                                                                                      EAST ST LOUIS   IL    62204‐1104
J C LONG                                       166 CHOTA CIR                                                                                    LAFAYETTE       GA    30728‐3413
J C MARTIN                                     1295 N HOLLAND PARKWAY                  UNIT 14                                                  BARTOW          FL    33830
J C MAY                                        PO BOX 28104                                                                                     CLEVELAND       OH    44128‐0104
J C MURRAY                                     20156 SNOWDEN                                                                                    DETROIT         MI    48235‐1170
J C MYERS                                      7319 W 88 ST                                                                                     LOS ANGELES     CA    90045‐3405
J C NEDEN & SONS INC                           6253 OLD NIAGARA RD                                                                              LOCKPORT        NY    14094‐1423
J C NORMAN                                     2856 HUNTINGTON PARK DRIVE                                                                       WATERFORD       MI    48329‐4525
J C PASCHAL                                    2151 NE 147TH AVE                                                                                SILVER SPGS     FL    34488‐3453
J C PATRIOTS INV CLUB                          PO BOX 1352                                                                                      JUNCTION CITY   KS    66441‐1352
J C PERDUE                                     9481 KNODELL                                                                                     DETROIT         MI    48213‐1157
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Name                                           Address1                              Address2             Address3          Address4          City              State Zip

J C POWELL                                     405 CAPITOL ST STE P‐1200                                                                      CHARLESTON        WV    25301‐1749
J C RAY                                        3523 BELVIDERE                                                                                 DETROIT           MI    48214‐2069
J C SEABOLT                                    400 WESTWIND CT                                                                                BALL GROUND       GA    30107‐7704
J C SHORT                                      1323 LEE AVENUE                                                                                COLUMBUS          OH    43219‐1938
J C SMITH                                      319 TAKISA CIRCLE                                                                              DAYTON            OH    45415‐2135
J C SNYDER                                     PO BOX #4211                                                                                   ANAHEIM           CA    92803‐4211
J C STEPHENS                                   3489 S HONEYCREER RD                                                                           GREENWOOD         IN    46143‐9517
J C TAYLOR JR                                  302 SCARBOROUGH DR                                                                             CONROE            TX    77304‐2740
J C THOMAS                                     3106 S RACE ST                                                                                 MARION            IN    46953‐4003
J C TUCKER                                     1217 GARFIELD ST                                                                               MT MORRIS         MI    48458‐1785
J CARDOSO                                      236 SPROUT BROOK RD                                                                            CORTLANDT MNR     NY    10567
J CARLISLE MCELVEEN JR                         1805 TRINITY RD                                                                                LYNCHBURG         SC    29080‐8893
J CARLYLE BROWN JR                             1656 ABINGDON LANE                                                                             HAYES             VA    23072‐3866
J CAROL GARDNER                                9414 DEER STREAM AVE                                                                           MECHANICSVILLE    VA    23116‐6201
J CAROLE WATTERS CUST MELINDA PAGE WATTERS     6817 COLFAX DR                                                                                 DALLAS            TX    75231‐5707
UGMA PA
J CASEY MYERS CUST BRODIE C MYERS UTMA IL      7 E STEPHENSON ST                     STE 204                                                  FREEPORT          IL    61032‐4246
J CERPA                                        HC 01 BOX 6428                        LAS PIEDRAS                            PUERTO RICO
J CHARLES JAEGER                               BOX 347                                                                                        LAKIN             KS    67860‐0347
J CHARNIGA                                     408 REMSEN AVENUE                                                                              AVENEL            NJ    07001‐1142
J CHRIS BAKER                                  17213 77TH AVE N                                                                               OSSEO             MN    55311‐3752
J CHRISTOPHE MOBLEY                            440 SANTANDER AV 5                                                                             CORAL GABLES      FL    33134‐6544
J CHRISTOPHE WILLIAMS                          5909 EASTVIEW CT                                                                               INDIANAPOLIS      IN    46250‐3806
J CHRISTOPHER SCHOONBECK & PAMELA SCHOONBECK   PO BOX 331                                                                                     LITCHFIELD        ME    04350‐0331
JT TEN
J CLARKE JONES                                 328 HILLSIDE DR                                                                                MURRAY            UT    84107‐6009
J CLEALAND FOWLER                              1120 E CONNECTICUT AVE                                                                         SOUTHERN PINES    NC    28387‐6719
J CLOYD MILLER                                 3 LA TUSA                                                                                      SANTA FE          NM    87505‐4010
J COLE                                         5153 NARCISSUS DR                                                                              SAGINAW           MI    48603‐1147
J CRAIG HALMAN                                 118 HOWE ROAD                                                                                  CENTRAL           SC    29630‐9602
J CRAIG MCWHORTER                              1104 SAULTER RD                                                                                BIRMINGHAM        AL    35209‐6632
J CRAIG PORTER                                 5653 VERA CRUZ ROAD                                                                            CENTER VALLEY     PA    18034‐8641
J CRAIG RUDOLPH CUST ANTHONY P KAZMIERCZAK     8 CYRUS FIELD ROAD                                                                             IRVINGTON         NY    10533‐2402
UTMA MO
J CURT VAPOR                                   6396 PERSIMMON PASS                                                                            PLAINFIELD        IN    46168‐9329
J CURTIS VAN DYKE & PATRICIA DORE JT TEN       PO BOX 1156                                                                                    SCOTT DEPOT       WV    25560‐1156
J D ANDERSON                                   3980 17TH STREET                                                                               ECORSE            MI    48229‐1310
J D ANDERSON                                   3944 ADAIR RD                                                                                  DEARING           GA    30808‐2547
J D ANTUNES                                    18 SMITH ST                                                                                    CUMBERLAND        RI    02864‐8214
J D ARRINGTON                                  83 GUILFORD ST                                                                                 BUFFALO           NY    14212‐1133
J D BEVENUE                                    201 CLEARWATER DR                                                                              BELLEVILLE        IL    62220‐2968
J D BOSWELL                                    5030 TIMBERWOOD CIR                                                                            ANDERSON          IN    46012‐9730
J D BRADLEY                                    970 CANTERBURY                                                                                 PONTIAC           MI    48341‐2334
J D BRITTON & MRS LOUISE B BRITTON JT TEN      4813 HWY 149                                                                                   CUMBERLAND CITY   TN    37050‐9531

J D CROSBY                                     3240 S ADAMS RD                       APT 204                                                  AUBURN HILLS      MI    48326‐3384
J D ESTLE                                      1072 WEST DEWEY RD                                                                             SCOTTVILLE        MI    49454‐9552
J D GROSSNICKLE                                PO BOX 11                                                                                      ONAGA             KS    66521‐0011
J D HARRIS TOD GARY HARRIS                     518 NW SHAMROCK AVE                   MANOR 2 APT 312                                          LEES SUMMIT       MO    64081‐1158
J D HARRIS TOD GERALD A HARRIS                 518 NW SHAMROCK AVE                   MANOR 2 APT 312                                          LEES SUMMIT       MO    64081‐1158
J D HENNESSEE                                  625 DOGWOOD TR                                                                                 MC MINNVILLE      TN    37110‐3015
J D MATLOCK                                    RT #2 BOX 268                                                                                  MCCRORY           AR    72101‐9552
J D MEADE                                      PO BOX 103                                                                                     SECO              KY    41849‐0103
J D MULLINS                                    16950 NEW HAMPSHIRE DR                                                                         SOUTHFIELD        MI    48075‐2905
J D NORFUL                                     7710 SAINT ALBANS AV                                                                           SAINT LOUIS       MO    63117‐2007
J D OSBORN JR                                  RT 2 BOX 294                                                                                   OKEMAH            OK    74859‐9802
J D PARKER                                     810 CHANDLER AVENUE                                                                            LINDEN            NJ    07036‐2052
J D PEARSON                                    1360 TERRY RD                                                                                  HUNTINGDON        TN    38344‐4915
J D PERKINS                                    4286 CARDINAL BLVD                                                                             DAYTONA BEACH     FL    32127‐6655
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Name                                                Address1                               Address2             Address3          Address4          City               State Zip

J D PETERSON                                        325 W PULASKI                                                                                   FLINT              MI    48505‐3350
J D PHILLIPS                                        15367 VIA DE NINOS                                                                              MORGAN HILL        CA    95037‐7702
J D RIKARD                                          1154 W HIGHWAY 22                                                                               UNION CITY         TN    38261‐7137
J D ROWLEY                                          14512 TOEPHER RD                                                                                WARREN             MI    48089‐3455
J D SCOTT                                           21913 ROEHRIG RD                                                                                DEFIANCE           OH    43512‐1221
J D SHIPMAN                                         1908 ANNESLEY                                                                                   SAGINAW            MI    48601‐2017
J D SMITH                                           818 BLACK AVE                                                                                   FLINT              MI    48505‐3530
J D WEST                                            537 HORSESHOE BEND RD                                                                           OCILLA             GA    31774‐3142
J D WHITE                                           4075 W BIRMINGHAM RD                                                                            ALMA               MI    48801‐9672
J D WILKERSON                                       1189 E DECAMP ST                                                                                BURTON             MI    48529‐1105
J DALE GEBELE & ANN MARIE GEBELE JT TEN             6641 LANGDON AVE                                                                                VAN NUYS           CA    91406‐6310
J DALE HUBBARD & DIANE L HUBBARD JT TEN             418 VILLAGE DRIVE                                                                               DAPHNE             AL    36526‐4001
J DAVID ALLEN                                       1199 COPPERWOOD                                                                                 BLOOMFIELD HILLS   MI    48302‐1929

J DAVID CHARLES                                     52 ATWATER RD                                                                                   CHADDS FORD        PA    19317‐9112
J DAVID DRESHER                                     1400 PARK PLACE TOWER                                                                           BIRMINGHAM         AL    35203‐2700
J DAVID EADS & CARROL J EADS JT TEN                 3108 BERKSHIRE WAY                                                                              OKLAHOMA CITY      OK    73120‐2019
J DAVID HUNTER                                      853 HARDWOOD CT                                                                                 GATES MILLS        OH    44040‐9609
J DAVID KARR TR HOMER M HILL TRUST UA 01/07/98      PO BOX 99                                                                                       DAVISON            MI    48423‐0099

J DAVID KARR TR PHYLIS M HILL TRUST UA 01/07/98     PO BOX 99                                                                                       DAVISON            MI    48423‐0099

J DAVID LEE CUST GARY MICHAEL LEE UGMA IN           7918 RAHKE RD                                                                                   INDIANAPOLIS       IN    46217‐4222
J DAVID LEE CUST PAUL DAVID LEE UGMA IN             7918 RAHKE RD                                                                                   INDIANAPOLIS       IN    46217‐4222
J DAVID MANN III                                    3433 N VENICE ST                                                                                ARLINGTON          VA    22207‐4446
J DAVID MAURER                                      9002 NORRIS ROAD                                                                                DEWITT             MI    48820‐9677
J DAVID MC GILL CUST TIMOTHY J MC GILL UGMA MN      5749 SHERIDAN AVE SOUTH                                                                         MINNEAPOLIS        MN    55410‐2618

J DAVID NICE                                    2692 BROWNING DR                                                                                    LAKE ORION         MI    48360‐1816
J DAVID PLUMMER & MRS MARGARET J PLUMMER JT     1101 S CR 625 E                                                                                     SELMA              IN    47383‐9650
TEN
J DAVID RUBIN CUST AVRAM L RUBIN UGMA NY        BOX 23023                                                                                           ROCHESTER          NY    14692‐3023
J DAVID RUBIN CUST RAPHAEL Y RUBIN UGMA NY      BOX 23023                                                                                           ROCHESTER          NY    14692‐3023
J DAVID SCHWITALLA                              11000 N 77TH PL                            APT 2028                                                 SCOTTSDALE         AZ    85260‐8522
J DAVID TUCKER                                  10410 WOODS EDGE DR                                                                                 FISHERS            IN    46038‐9355
J DEAN PAPAPETROU CUST M LYNN PAPAPETROU UTMA PO BOX 864                                                                                            LIVE OAK           FL    32064‐0864
FL
J DEAN SHARP & ANNETTE SHARP JT TEN             12463 ODELL RD                                                                                      LINDEN             MI    48451‐9458
J DEAN STRAUSBAUGH                              4770 INDIANOLA AVE                         STE 110                                                  COLUMBUS           OH    43214‐1876
J DEMEO                                         31 RIVERDALE AVE                                                                                    MASSAPEQUA         NY    11758‐7733
J DENNIS CAVNER                                 5006 N RIM DR                                                                                       AUSTIN             TX    78731‐1122
J DENNIS GRIZZLE                                109 WILSHIRE                                                                                        VICTORIA           TX    77904‐1853
J DENNIS RODRIGUES & ANNE Z RODRIGUES           16126 91ST AVE SW                                                                                   VASHON             WA    98070‐4206
COMMUNITY PROPERTY
J DIANE HAGEN                                   102 HIAWATHA TRAIL                                                                                  LIVERPOOL          NY    13088‐4433
J DICKSON EDSON & JARVIS D EDSON JT TEN         1855 MARSHLAND RD                                                                                   APALACHIN          NY    13732‐1438
J DONALD BUTLER & LINDA M BUTLER JT TEN         950 25TH ST NW                                                                                      WASHINGTON         DC    20037‐2137
J DONALD CLEMENCE                               16271 EDGEMONT DR                                                                                   FORT MYERS         FL    33908‐3658
J DONALD CLEMENCE CUST JEFFREY P CLEMENCE UGMA 431 PRESTWICK TR                                                                                     HIGHLAND           MI    48357‐4765
MI
J DONALD COGGINS                                1371 ARGYLE ROAD                                                                                    BERWYN             PA    19312‐1951
J DONALD DEFINE TR J DONALD DEFINE REVOC LIVING 1361 PINE BLUFF DRIVE                                                                               ST CHARLES         MO    63304‐8785
TRUST UA 05/07/96
J DOUGLAS HART                                  1207 W 9TH ST                                                                                       SPENCER            IA    51301‐3039
J DOUGLAS HONEY & SHIRLEY A HONEYREVOCABLE      1306 E GRETNA ST                                                                                    SPRINGFIELD        MO    65804
LIVING TRUST UA 08/19/2008
J DOUGLAS ROY TR UA 04/05/07 J DOUGLAS ROY REV  4708 EDINBURGH DR                                                                                   HOWELL             MI    48843
TRUST
J DWIGHT WILLIAMS JR                            1635 HWY 29 W                                                                                       DACULA             GA    30019‐2219
                                              09-50026-mg               Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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J E & L L ZAREMBA REVOCABLE LIVING TRUST UA     11092 MESSMORE                                                                                  UTICA            MI    48317
08/08/2008
J E ALLGOOD SR                                  176S LAKE DR                                                                                    HIRAM            GA    30141‐4032
J E BAGWELL                                     32706 BARCLAY SQ                                                                                WARREN           MI    48093‐6105
J E BIGELOW                                     8150 N DORT HWY                                                                                 MT MORRIS        MI    48458‐1207
J E BRITTON                                     1749 HIGH ROCK RD                                                                               CUMBERLAND       VA    23040‐2909
J E BROWN                                       41 S MUNN AVE                          APT 3A                                                   EAST ORANGE      NJ    07018‐3726
J E BUSKIRK                                     306 E PITTSFIELD ST                                                                             PENNSVILLE       NJ    08070‐1924
J E CARPENTER                                   324 HORN BOTTOM RD                                                                              FOREST CITY      NC    28043‐7679
J E CHAPMAN                                     4417 BALLARD RD                                                                                 LANSING          MI    48911‐2934
J E CLIFFORD JOHNSON                            326 W PINE ST                          APT 116                                                  LAKE MILLS       WI    53551‐1158
J E COVINGTON                                   128 CONCHO TRL                                                                                  FT WORTH         TX    76108‐9276
J E EISEMANN IV                                 1103 VICTORIA SQ                                                                                TRINIDAD         CO    81082‐1351
J E GARZA                                       4101 ARROWHEAD LN                                                                               COLUMBIA         TN    38401‐7378
J E HOLMES III                                  430 WEST HIGHLAND AVENUE                                                                        REDLANDS         CA    92373‐6772
J E JENKINS                                     9 RIDGE POINTE CT                                                                               ST CHARLES       MO    63304‐3445
J E MARABLE                                     21 N GOODWIN AVENUE                                                                             ELMSFORD         NY    10523‐3101
J E MOORE                                       2402 LEONARD CT                                                                                 ARLINGTON        TX    76015‐2007
J E PETROSKI                                    1800 WINDSOR ROAD                                                                               LINDEN           NJ    07036‐5433
J E RILEY INC                                   ATTN JAMES E RILEY                     1605 FOX BEND COURT                                      NAPERVILLE       IL    60563‐1115
J E SMITH                                       PO BOX 83                                                                                       FLORISSANT       MO    63032‐0083
J E THOMPSON                                    220 DORSEY ROAD                                                                                 HAMPTON          GA    30228
J E WOODARD                                     811 COLLEGE                                                                                     ORANGE           TX    77630‐7013
J EDGAR BARDIN & ELLEN I BARDIN JT TEN          PO BOX 271                                                                                      DALTON           MA    01227‐0271
J EDWARD CALIOR                                 328 S THIRD ST                                                                                  SHARPSVILLE      PA    16150‐1306
J EDWARD FISHER TURPIN                          1825 MCCULLOH ST                                                                                BALTIMORE        MD    21217‐3408
J EDWARD SALIBA & GRETCHEN N SALIBA JT TEN      1101 VICTORIA AVE                                                                               NEW KENSINGTON   PA    15068‐5504

J EDWARD SCHOTT                                 106 EAST MUNTZ AVE                                                                              BUTLER           PA    16001‐6309
J EDWARD WEAVER                                 150 HIGHLAND AVE                                                                                HARTWELL         GA    30643
J EDWIN OGLESBY JR                              3740 OAKLAND RD                        CLARKVILLE                                               CLARKSVILLE      TN    37040
J EILEEN DOWNS GIOVENCO & GEORGE GIOVENCO JT    204 MAIN ST                                                                                     SAYREVILLE       NJ    08872‐1169
TEN
J ELIZABETH GREENWOOD                           515 KIMBERLY RD                                                                                 WARNER ROBINS    GA    31088‐5419
J ELLIOTT SMITH CUST JOHN TEDROWE BONNER UGMA   25 GREIS AV                                                                                     NESCONSET        NY    11767‐3009
CT
J ELMER STONE                                   617 DAYTON ST APT 7                                                                             EDMONDS          WA    98020‐3446
J ENRIGUE OJEDA & JO ELLEN OJEDA JT TEN         332 RUMSTICK RD                                                                                 BARRINGTON       RI    02806‐4935
J ERICH LOHRER                                  5489 BOXWOOD CT SE                                                                              GRAND RAPIDS     MI    49512‐9526
J ERNEST GROSS JR                               83 HARMON AVENUE                                                                                PELHAM           NY    10803
J ERNEST KING                                   264 SUTHERLAND DR                      KINGSTON ON                            K7K 5X9 CANADA
J EVERETT MOORE CUST JOHN E MOORE UGMA          2744 MABREY ROAD                                                                                ATLANTA          GA    30319‐2826
J EVERETT WALLS 3RD                             PO BOX 168                                                                                      MIDDLETOWN       DE    19709‐0168
J EVERETT WALLS JR                              BOX 168                                                                                         MIDDLETOWN       DE    19709‐0168
J F COMEAU                                      2795 JASON COURT                                                                                THOUSAND OAKS    CA    91362‐4679
J F ERHARDS & BARBARA A KAY‐ERHARDS JT TEN      10325 LAKESHORE DR                                                                              WEST OLIVE       MI    49460‐9554
J F HANDLEY                                     4421 SHAKER RD                                                                                  FRANKLIN         OH    45005‐5058
J F MCKELVY                                     7700 SOMERVILLE DR                                                                              DAYTON           OH    45424‐2242
J F OREILLY                                     195 BROADWAY                           PO BOX 9999                                              VERPLANCK        NY    10596
J F PIERNA                                      APT 4‐F                                460 GRAND ST                                             NEW YORK         NY    10002‐4037
J F REEVES                                      177 STRONG ROAD                                                                                 NEWNAN           GA    30263‐7216
J F SIAS                                        ATTN JUDY GREGORY                      5939 CARTER LN                                           FRANKLIN         TN    37064‐6203
J FARRAN DAVIS JR                               9312 ORCHID PL                                                                                  CHESTERFIELD     VA    23832‐2662
J FASCIANA                                      31 WOODLAND TERRACE                                                                             CHEEKTOWAGA      NY    14225‐2034
J FLEMING MCCLELLAND                            101 LAUREL SPRINGS DR                                                                           ATHENS           GA    30606‐1854
J FORD LAUMER JR                                275 HILLCREST DR                                                                                AUBURN           AL    36830‐5523
J FORREST GLENNIE & MARTHA E GLENNIE TEN COM    119 VININGS WAY                                                                                 CALHOUN          GA    30701‐7015
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J FRANCIS WERNETH & MARGARET M WERNETH TEN        AC 2                                 9701 OAK SUMMIT AVE                                      PARKVILLE       MD    21234‐1825
ENT
J FRANK DELAPLANE 4TH                             29515 QUEEN ANNE                                                                              VALLEY CENTER   CA    92082‐5544
J FRANK SURFACE JR                                1021 OAK ST                                                                                   JACKSONVILLE    FL    32204‐3905
J FRANK SURFACE JR                                4961 MORVEN RD                                                                                JACKSONVILLE    FL    32210‐8301
J FRED BAUMANN & MRS MARY S BAUMANN JT TEN        1400 KENESAW AVE                     # 12 R                                                   KNOXVILLE       TN    37919‐7740

J FRED POWERS                                     4835 JAYMAR DR                                                                                SUGAR LAND      TX    77479‐5236
J FREDERICK HUNTER                                2647 NW 9TH TER                                                                               WILTON MANORS   FL    33311‐2328
J FREDERICK WITCHER                               9175 H HITCHING POST LANE                                                                     LAUREL          MD    20723
J G BALAS                                         50 HARVEY DR                                                                                  SUMMIT          NJ    07901‐1217
J G BARRERA                                       1428 ORMOND                                                                                   LANSING         MI    48906‐4942
J G GIPSON                                        4433 TOMMY ARMOR DR                                                                           FLINT           MI    48506‐1431
J G MUIR III                                      7 LINDEN HALL CT                                                                              GAITHERSBURG    MD    20877‐3453
J G MYRICK                                        16321 MONTCLARE LAKE DRIVE                                                                    CREST HILL      IL    60435‐8708
J GEORGE ANDERSON & SUZANNE K ANDERSON JT TEN     1366 W. MIDLAND RD                                                                            AUBURN          MI    48611

J GEORGE ROBERTS                                  17711 MIDDLE OAK CT                                                                           FORT MYERS      FL    33912‐5273
J GERALD DUGAS                                    RR1                                  CHURCH POINT NS                        B0W 1M0 CANADA
J GERLACH & K SKONNORD TR UA 07/15/03 GERLACH     3900 FOLSOM DR                                                                                ANTIOCH         CA    94531
FAMILY SURVIVORS TRUST
J GLEN SAVAGE JR                                  2904 DESTIN DR                                                                                DENTON          TX    76205‐8302
J GODFREY CROWE & MRS PATRICIA B CROWE JT TEN     4405 33RD PL                                                                                  NORTH ARLINGTON VA    22207

J GORDON VAETH & GORDON C VAETH JT TEN            4117 STONEHAVEN LANE SE                                                                       OLYMPIA         WA    98501‐9104
J GREGORY GOODALE                                 6330 CATTAIL DR                                                                               WOODBINE        MD    21797‐9452
J GREGORY LANGAN                                  315 E BOYD                                                                                    DIXON           IL    61021‐2105
J GREGORY LANGAN & MARY ANN LANGAN JT TEN         315 E BOYD ST                                                                                 DIXON           IL    61021‐2105
J GREGORY MORGAN                                  119 CIRCLE DRIVE                                                                              FAIRMONT        WV    26554‐1455
J GREGORY NORTON                                  251 MILTHORN COURT                                                                            RIVA            MD    21140‐1512
J H BALL                                          11146 S PEORIA ST                                                                             CHICAGO         IL    60643‐4608
J H CALDWELL                                      6935 ROSWELL RD NE                   APT B                                                    ATLANTA         GA    30328‐2321
J H COMBS                                         109‐37 FRANCES LEWIS                                                                          HOLLIS          NY    11429‐1403
J H EMMENDORFER                                   2830 ANGELO                                                                                   OVERLAND        MO    63114‐3102
J H JENKINS JR                                    17276 CHAPEL ST                                                                               DETROIT         MI    48219‐3200
J H LEWIS                                         PO BOX 2516                                                                                   ELKTON          MD    21922‐2516
J H OSBORNE                                       193 W ROUTZONG DR                                                                             FAIRBORN        OH    45324‐3335
J H ROBERTS JR & MARJORIE H ROBERTS JT TEN        1446 OAKLAWN PL                                                                               LAKELAND        FL    33803‐2317
J H SMITH                                         151 S HIGHLAND AVE APT 5J                                                                     OSSINING        NY    10562
J H SPANN                                         309A E HACKLEY AVE                                                                            MUSKEGON        MI    49444‐1134
J H SUNDSTROM & MAE A SUNDSTROM JT TEN            21220 N US HIGHWAY 101                                                                        SHELTON         WA    98584‐7444
J HAMILTON SMITH                                  5500 FRIENDSHIP BLVD                                                                          CHEVY CHASE     MD    20815‐7219
J HARLAND COMEE & FABIOLA G COMEE JT TEN          340 N NEWPORT BLVD APT 308                                                                    ORANGE          CA    92869‐6594
J HAROLD BENNETT                                  156 VINTAGEISLE LN                                                                            PALM BCH GDNS   FL    33418‐4604
J HAROLD HUGHES                                   1477 WOODLAND TRL                                                                             ABILENE         TX    79605‐4722
J HAROLD NORRIS & ELEANORE R NORRIS JT TEN        10 NORRIS LN                                                                                  TARENTUM        PA    15084‐2400
J HAROLD YOCUM                                    210 FAIRVIEW AVE                                                                              SOUDERTON       PA    18964‐1433
J HARPER STRETCHER                                5779 TROUT CREEK PASS DRIVE                                                                   COLORADO SPGS   CO    80917
J HENRY WILKINSON 3RD                             3106 MADISON AVE                                                                              GREENSBORO      NC    27403‐1423
J HERBERT HUDDLESTON                              7590 N W MCDONALD CIRCLE                                                                      CORVALLIS       OR    97330‐9542
J HOBART PATTERSON                                3621 FRIENDSHIP PATT MILL RD                                                                  BURLINGTON      NC    27215‐9129
J HOWARD MCSPEDON                                 355 RUSHMORE AVE                                                                              MAMARONECK      NY    10543‐3943
J HOWARD PRINCE                                   1445 PALMNOLD CIR W                                                                           FORT WORTH      TX    76120‐4707
J HUDSON                                          1243 WALDRON                                                                                  ST LOUIS        MO    63130‐1846
J HUGH WEBB                                       4543 GOLF CREEK RD                                                                            TOLEDO          OH    43623‐2641
J I BEVENS                                        150 CROWN STREET                                                                              BROOKLYN        NY    11225‐2153
J I LIPSCOMB                                      14 ROBERTS LANE                                                                               WAPP FALLS      NY    12590‐3206
J IRENE STACH & MARCIA J SAROSIK & ADRIANNE L     2766 NORWALK                                                                                  HAMTRAMCK       MI    48212‐3420
STACH JT TEN
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J IRENE STACH & MARCIA J SAROSIK TEN COM          2766 NORWALK                                                                                   HAMTRAMCK       MI    48212‐3420
J J AARSTAD                                       N3007 BUENA VISTA RD                                                                           FORT ATKINSON   WI    53538‐9053
J J CARROLL                                       5920 TOMAHAWK TRAIL                                                                            FORT WAYNE      IN    46804‐4222
J J COYLE JR                                      69 WEBB DR                                                                                     FORDS           NJ    08863‐1029
J J DUNLAP                                        5616 SOUTH MONROE STREET                                                                       TUCSON          AZ    85746‐2177
J J GOLIMOWSKI                                    187 MESSER AVE                                                                                 DEPEW           NY    14043‐4431
J J JONES                                         6565 LA HAVEN LN EAST                                                                          IVERNESS        FL    34453‐1283
J J KONCEWICZ & MARIA KONCEWICZ JT TEN            3218 SKYLANE DR #102                                                                           CARROLLTON      TX    75006‐2509
J J KRAMER                                        32 MITCHELL DR                                                                                 TOMS RIVER      NJ    08755‐5178
J J KUBAT JR                                      5506 HOWARD ST                                                                                 OMAHA           NE    68106‐1326
J J MANNETTI JR                                   6446 E TRAILRIDGE CIR UNIT 37                                                                  MESA            AZ    85215‐0810
J J PETROF                                        3126 KRUEGER RD                                                                                NO TONAWANDA    NY    14120‐1408
J J SKUTNIK                                       101 HARRISON PLACE                                                                             PARLIN          NJ    08859‐1632
J J TOLER                                         508 PARK AVENUE                                                                                PISCATAWAY      NJ    08854‐4933
J J VAN DOVER                                     1 NEWPORT ST                                                                                   BARNEGAT        NJ    08005‐3349
J J VASSER                                        20137 CLOPTON SYKES RD                                                                         ABERDEEN        MS    39730‐8533
J JANEAN GRAY                                     2755 ARROW HIGHWAY LOT 71                                                                      LAVERNE         CA    91750‐5624
J JEFFERSON LOWRY                                 1423 PILGRIM WAY                                                                               MONROVIA        CA    91016‐4423
J JEFFREY CORDES                                  7602 PARTRIDGE ST CIR                                                                          BRADENTON       FL    34202‐4028
J JEFFREY PORCELLO                                218 DAWLEY ROAD                                                                                FAYETTEVILLE    NY    13066‐2547
J JEREMY T WHATMOUGH & MYRNA JANE                 6171 GULF OF MEXICO DR                                                                         LONGBOAT KEY    FL    34228‐1508
WHATMOUGH JT TEN
J JIMENEZ                                         512 S 12TH                                                                                     SAGINAW         MI    48601‐1909
J JOAQUIN DURAN                                   425 LINWOOD AVE                       APT L                                                    MONROVIA        CA    91016‐2657
J JOSEPH MCNEIL                                   132 COLONIAL CIRCLE                                                                            TONAWANDA       NY    14150‐5207
J JOSEPHUS MC GAHEY & BETTY Z MC GAHEY JT TEN     516 WEST ST                                                                                    SCOTTSBORO      AL    35768‐1648

J JULIA KISH & PETER KISH JT TEN                  C/O PAMELA J CARPENTER                21861 BRIMLY CT                                          WOODHAVEN        MI   48183‐1650
J K KUNG                                          10216 SUMMIT CANYON DR                                                                         LAS VEGAS        NV   89144‐4337
J K NORDEEN & MARY D NORDEEN JT TEN               656 MARTIN SMITH RD                                                                            GILBERT          SC   29054‐9564
J KARL GRUETZNER                                  29147 LEESBURG CT                                                                              FARMINGTON HILLS MI   48331‐2437

J KECK                                            PO BOX 105                                                                                     PRUDENVILLE     MI    48651‐0105
J KEITH PRICE                                     9 FURMAN DRIVE                                                                                 AIKEN           SC    29803‐6613
J KELLY                                           15‐B GULFSTREAM AVENUE                                                                         WINFIELD        NJ    07036‐6607
J KELLY MAHONE                                    109 WHISPERING PINE CV                                                                         HOT SPRINGS     AR    71901‐8721
J KENNETH BLAIR                                   204 SUNSET RD                                                                                  LOOKOUT         TN    37350‐1343
                                                                                                                                                 MOUNTAIN
J KEVIN HARRISON CUST JOHN DANIEL HARRISON UTMA 19 WINDFLOWER PL                                                                                 DURHAM          NC    27705‐1957
NC
J KEVIN HARRISON CUST SARAH EMILY HARRISON UTMA 19 WINDFLOWER PL                                                                                 DURHAM          NC    27705‐1957
NC
J KIRBY KENNEDY                                 305 OAK TRACE                                                                                    HOOVER          AL    35244‐4513
J KNOX MUNNERLYN JR                             PO BOX 41317                                                                                     HOUSTON         TX    77241‐1317
J KOLOSTYAK                                     1995 FIRE MOUNTAIN D                                                                             OCEANSIDE       CA    92054‐5613
J KRISTY VIK                                    36241 N GOLDSPRING CT                                                                            GURNEE          IL    60031‐4508
J KRISTY VIK                                    36241 N GOLDSPRING CT                                                                            GURNEE          IL    60031‐4508
J L ABBOTT TR UA 08/22/2008 J L ABBOTT TRUST    550 W 6TH ST                            APT 49                                                   MOUNTAIN HOME   AR    72653‐3426

J L ADAMS & M B ADAMS JT TEN                      BOX 98                                                                                         DECATUR         GA    30031‐0098
J L CIRIELLO                                      631 SALT SPRINGS RD                                                                            WARREN          OH    44481‐8621
J L EDWARDS                                       1301 W WARREN AVE                     APT 1A                                                   DETROIT         MI    48201‐3609
J L EMILY                                         PO BOX 286                                                                                     DITTMER         MO    63023‐0286
J L HANDY JR                                      5 ADMIRAL DR #318                                                                              EMERYVILLE      CA    94608‐1529
J L JOHNSON                                       6210 SALLY CT                                                                                  FLINT           MI    48505‐2527
J L MONROE                                        17300 GRESHAM ST                                                                               NORTHRIDGE      CA    91325‐3231
J L ROES                                          33 HESTER STREET                                                                               LITTLE FERRY    NJ    07643‐2001
J L SANTIAGO                                      103 MARIGOLD AVENUE                                                                            BUFFALO         NY    14215‐2121
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J L SHOWALTER                                    7 CRESTWIND DR                                                                                         RANCHO PALOS      CA    90275‐5048
                                                                                                                                                        VERDE
J L SKETO                                        1310 RIDDLE DRIVE                                                                                      WESTVILLE         FL    32464‐3408
J L SKETO & BETTY SUE SKETO JT TEN               1310 RIDDLE DR                                                                                         WESTVILLE         FL    32464‐3408
J L STANDFIELD                                   350 LINDA VISTA                                                                                        PONTIAC           MI    48342‐1740
J L SWISH                                        3811 HIGHLAND CT                                                                                       HIGHLAND          MI    48356‐1833
J L TEMPLE                                       5050 SHADBURN RD                                                                                       CUMMING           GA    30041‐5500
J L TISDALE                                      420 SENECA AVE                                                                                         MOUNT VERNON      NY    10553‐1702
J L ZELLNER                                      39 ARLINGTON DRIVE                                                                                     FORDS             NJ    08863‐1313
J LALLI                                          21 INTERVALE AVE                                                                                       PEABODY           MA    01960‐1032
J LAMAR CLEMENTS                                 124 REGAN ROAD                                                                                         REBECCA           GA    31783‐3308
J LAWRENCE ENNIS & ANN L ENNIS JT TEN            3765 PALLOS VERDAS DR                                                                                  DALLAS            TX    75229‐2741
J LAWRENCE JUDGE                                 16 REXHAME RD                                                                                          WORCESTER         MA    01606‐2429
J LAWRENCE LAWSON CUST JOANNA R LAWSON UGMA      6734 E BLACKHAWK CT                                                                                    HIGHLANDS RANCH   CO    80126‐3813
MI
J LAWRENCE LAWSON CUST MARIA K LAWSON UNDER      6734 E BALCKHAWK CT                                                                                    HIGHLANDS RANCH CO      80126‐3813
MI GIFTS TO MINORS ACT
J LAWRENCE MURDOCH CUST GEORGE LAWRENCE          6557 BEECHWOOD DRIVE                                                                                   COLUMBIA          MD    21046‐1012
MURDOCH UGMA MD
J LAWRENCE TWELLS                                PO BOX 2377                                                                                            SANOVSKY          OH    44871‐2377
J LAWRENCE WOOD                                  PO BOX 868                                                                                             VACANVILLE        CA    95696‐0868
J LEE COLVARD JR & NANCY G COLVARD JT TEN        BIRCH POINTE                           4007 BIRCH CIR                                                  WILMINGTON        DE    19808‐2963
J LEE DOCKERY CUST LAURA DOCKERY UNDER THE       3776 SHILOH CHURCH RD NW                                                                               KENNESAW          GA    30152‐2347
FLORIDA GIFTS TO MINORS ACT
J LEE ELROD JR                                   7742 SPALDING DR                       372                                                             NORCROSS          GA    30092‐4207
J LEMA                                           3575 TUNI CT                                                                                           COPPEROPOLIS      CA    95228‐9549
J LEO FREIWALD & MRS DOROTHY P FREIWALD JT TEN   PO BOX 82‐1497                                                                                         SOUTH FLORIDA     FL    33082‐1497

J LEWIS JR                                       5870 S CITRUS AVE                                                                                      LOS ANGELES       CA    90043‐3310
J LEWIS REYNOLDS                                 7 GREEN BANK AVE                                                                                       WEST CHESTER      PA    19380‐3905
J LEWIS SHELOR                                   330 TOMAHAWK DR SE                                                                                     CHRISTIANSBURG    VA    24073‐3716
J LINDSAY LATHAM                                 137 ESSEX MEADOWS                                                                                      ESSEX             CT    06426‐1522
J LLOYD CLAPPER & SANDRA J CLAPPER JT TEN        264 NEWBERRY LANE                                                                                      HOWELL            MI    48843‐9564
J LOUIS DELANY & CATHERINE S DELANY JT TEN       2442 BARLAD DR                                                                                         JACKSONVILLE      FL    32210‐3807
J LUIS AGUILAR & SHERON J AGUILAR TEN COM        4950 OVERTON WOODS COURT                                                                               FT WORTH          TX    76109‐2433
J M FELICIANO                                    MIGUEL M MUNOZ                         URB G HOMES          MAYAQUEZ          00L82 1149 PUERTO RICO
J M GLOWACKI                                     11817 SO MORGAN ST                                                                                     CHICAGO           IL    60643‐5223
J M GOLDBERGER & LYNETTE GOLDBERGER JT TEN       10420 SWAN CREEK RD                                                                                    SAGINAW           MI    48609‐9117
J M GONZALEZ                                     5661 SNOW CREEK RD                                                                                     SANTA FE          TN    38482‐3156
J M HANSON                                       PO BOX 405                                                                                             GARRISON          NY    10524‐0405
J M HROBAK                                       341 GREENBRIAR DR                                                                                      RAVENNA           OH    44266‐7714
J M JACKSON                                      PO BOX 375                                                                                             SHOREHAM          NY    11786‐0375
J M KEARNEY                                      43602 GRAMMY'S LN                                                                                      COARSEGOLD        CA    93614‐9294
J M KENDRICK                                     PO BOX 2561                                                                                            CONROE            TX    77305‐2561
J M KIMBROUGH                                    1346 MISSOURI STATE RD                                                                                 ARNOLD            MO    63010‐4545
J M MAGNAMO                                      32 RUELA DR                                                                                            NAUGATUCK         CT    06770‐3307
J M MCCARTHY                                     PO BOX 307                                                                                             LITTLE RIVER      CA    95456‐0307
J M MITCHELL                                     514 TEMPLE HALL HWY                                                                                    GRANBURY          TX    76049‐8158
J M PENDARVIS                                    PO BOX 650                                                                                             EDGEFIELD         SC    29824‐0650
J M POKORZYSKI                                   423 HARDEN ST                                                                                          HOLLY             MI    48442‐1747
J M ROSENBERG                                    1237 PILGRIM AVE                                                                                       BIRMINGHAM        MI    48009‐4804
J M SCHULDE MD FRCS                              2448 GLADSTONE AVE                     WINDSOR ON                             N8W 2P2 CANADA
J M SHRUM                                        915 PRIGGE RD                                                                                          ST LOUIS          MO    63138‐3551
J M SLUSHER                                      4190 N 1100 W                                                                                          KEMPTON           IN    46049‐9301
J M TINGLE                                       6909 E RIDGE DR                                                                                        SHREVEPORT        LA    71106‐2443
J M WINTERS                                      14996 AFSHARI CIR                                                                                      ST LOUIS          MO    63034‐1201
J MAC DAUGHETY & DEBORAH DAUGHETY JT TEN         772 CENTRAL AVE                                                                                        KINSTON           NC    28504‐6248
J MARC VAN WESTRENEN                             2214 COLLEGE AVE SE                                                                                    GRAND RAPIDS      MI    49507‐3106
J MARK FRENCH                                    10954 WONDERLAND DRIVE                                                                                 INDIANAPOLIS      IN    46239‐1956
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J MARK HUNT                                        4447 US HIGHWAY 68 S                                                                             WEST LIBERTY     OH    43357‐9519
J MARTIN & P MARTIN TR UA 05/03/07 MARTIN FAMILY   937 MARBLE CT                                                                                    SAN JOSE         CA    95120
TRUST
J MARTIN NORRIS                                    16608 CHICKEN DINNER ROAD                                                                        CALDWELL         ID    83607‐9332
J MAX JILES                                        PO BOX 592                                                                                       SALLISAW         OK    74955
J MEDEROS                                          5310 N W 181 TERRACE                                                                             CAROL CITY       FL    33055‐3145
J MERITT BROWN                                     11 GLEN STREET                                                                                   DOVER            MA    02030‐2313
J MERRILL RUSSELL                                  3200 NW 28 WAY                                                                                   BOCA RATON       FL    33434‐3448
J MICHAEL CONNELL                                  7904 ALAMOSA LANE                                                                                BOZEMAN          MT    59718‐9571
J MICHAEL FRIED & JANET CUTLER FRIED JT TEN        25 E 86TH ST                                                                                     NEW YORK         NY    10028‐0553
J MICHAEL IMEL & MRS BONNIE W IMEL JT TEN          514 PALM AVE                                                                                     PALM HARBOR      FL    34683‐1818
J MICHAEL MCMAHON                                  4060 WESTLAKE                                                                                    CORTLAND         OH    44410‐9224
J MICHAEL MORGAN                                   219 FIGLAR AVE                                                                                   FAIRFIELD        CT    06430‐3933
J MICHAEL NEWBERGER TR SARA LYNN NEWBERGER U‐      2103 THERESA ST                                                                                  MENDOTA HTS      MN    55120‐1307
W PHILIP A NEWBERGER
J MICHAEL PATTERSON CUST TODD M PATTERSON          1057 COLE ST                                                                                     SAN FRANCISCO    CA    94117‐4317
UTMA CA
J MICHAEL SMALLEY TR J MICHAEL SMALLEY TRUST UA    921 S ASHLAND AVE                                                                                LA GRANGE        IL    60525‐2820
7/30/98
J MICHAEL TWICHEL CUST KELLY DAWN TWICHEL UTMA     12430 RIDGETON DRIVE                                                                             LAKESIDE         CA    92040‐5023
CA
J MICHAEL WILSON                                   11924 W WASHINGTON BLVD                                                                          LOS ANGELES      CA    90066‐5867
J MILAN RUPEL                                      11836 KINGSBARNS CT                                                                              LAS VEGAS        NV    89141‐3259
J MILFORD FLETCHER JR                              932 LOCKSLEY LANE                                                                                WOODBURY         NJ    08096‐3115
J MILLER CRAIG                                     BOX 21 HOMESTEAD RD                                                                              OLDWICK          NJ    08858‐0021
J MILLS THORNTON III                               206 SEMINOLE DR                                                                                  MONTGOMERY       AL    36117‐4027
J MILTON SINGLETON 3RD                             9908 EDELWEISS CIR                                                                               MERRIAM          KS    66203‐4613
J MOLL & MICHELLE MOLL LUND JT TEN                 3367 HONEYCUT ROAD                                                                               SALT LAKE CITY   UT    84106‐3967
J MONIQUE HOLMES                                   19334 WHITCOMB ST                                                                                DETROIT          MI    48235‐2057
J MORGAN JONES                                     699 SE AIR PARK DRIVE                                                                            BEND             OR    97702‐2479
J MORGAN OGILVIE                                   7946 SAN JOSE BLVD                                                                               JACKSONVILLE     FL    32217‐3533
J N MONTGOMERY JR                                  410 EAST STREET S                                                                                TALLADEGA        AL    35160‐2611
J NEIL ANDERSON                                    1016 W 86TH ST                                                                                   MINNEAPOLIS      MN    55420
J NEVIN MILLER                                     49 RANDALL RD                                                                                    HARPSWELL        ME    04079‐3203
J NEWMAN LEVY                                      125 CHURCHILL HUBBARD RD                                                                         YOUNGSTOWN       OH    44505‐1322
J NORMAN BENNETT                                   30 MANOR DR                                                                                      REHOBOTH BEACH   DE    19971‐1923

J NORMAN BENNETT & JANE K BENNETT JT TEN           30 MANOR DR                                                                                      REHOBOTH BEACH   DE    19971‐1923

J NORMAN LEEDOM                                    882 WASHGTON CROSSING ROAD                                                                       NEWTOWN          PA    18940
J O BOYKIN                                         40 WINDSOR TER APT 5G                                                                            WHITE PLAINS     NY    10601‐3743
J O HARRIS                                         200 WEST MILLINGTON RD                                                                           FOSTORIA         MI    48435‐9749
J O JENDERS                                        20875 OUTER DR                                                                                   DEARBORN         MI    48124‐4722
J O JUSTICE JR                                     1755 S 800 E                                                                                     GREENTOWN        IN    46936‐9607
J P BROWN JR                                       42 DAVIDSON AVE                                                                                  BUFFALO          NY    14215‐2306
J P DAVID                                          19711 CANYON DR                                                                                  YORBA LINDA      CA    92886‐5901
J P FISHER HEATING CO                              5740 S RIDGE RD WEST                                                                             ASHTABULA        OH    44004‐9587
J P FORD                                           6505 BELLTREE LN                                                                                 FLINT            MI    48504‐1667
J P FORD JR                                        2109 E COURT ST                                                                                  FLINT            MI    48503‐6416
J P GLASS                                          2106 SHADY LANE                                                                                  TUCKER           GA    30084‐5511
J P JORGENSEN                                      37630 LAKESHORE DR                                                                               HARRISON         MI    48045‐2847
                                                                                                                                                    TOWNSHIP
J P JORGENSEN & WILLIAM R JORGENSEN JT TEN         37630 LAKESHORE DR                                                                               HARRISON         MI    48045‐2847
                                                                                                                                                    TOWNSHIP
J P LATERRA                                        VIALE EUROPA 353                      RAGUSA                                 ITALY
J P MAITTLENHARRIS                                 224 WALNUT STREET                                                                                CATAWISSA        PA    17820‐1232
J P PERKINS                                        1997 E M 72 HWY                                                                                  GRAYLING         MI    49738‐9437
J P SHELBURN                                       3550 PATTERSON ROAD                                                                              CHINA GROVE      NC    28023‐7736
J P WOODS                                          61 HAGAMAN STREET                                                                                PORT READING     NJ    07064‐1142
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J PALMER MATTHEWS CUST PALMER M WELDON UGMA 115 FRIENDFIELD                                                                                        FORT MILL          SC    29715‐9048
SC
J PARKE MALCOLM TR UA 07/12/1989 J PARKE    2905 BROCKMAN                                                                                          ANN ARBOR          MI    48104
MALCOLM TRUST
J PATRICK WALSH CUST BRENDAN PATRICK WALSH  94 HUDSON ST                                                                                           MILTON             MA    02186‐1453
UTMA MA
J PATRICK WALSH CUST GARRETT WALSH UTMA MA  94 HUDSON STREET                                                                                       MILTON             MA    02186‐1453

J PATRICK WALSH CUST KATHRYN M WALSH UTMA MA       94 HUDSON STREET                                                                                MILTON             MA    02186‐1453

J PAUL BRAUN CUST SUZAN C BRAUN UTMA DE            130 TALLY HO DRIVE                                                                              CHADDS FORD        PA    19317
J PAUL BUHITE & B JUNE BUHITE JT TEN               4160 NORRISVILLE ROAD                                                                           WHITE HALLL        MD    21161‐9309
J PAUL BURKHARDT                                   321 WITHERBY DR                                                                                 DAYTON             OH    45429‐5253
J PAUL G BATES                                     120 RIVERVIEW BLVD                     ST CATHARINES ON                       L2T 3M2 CANADA
J PAUL HART CUST MICHAEL J HART UGMA IL            1 HOPEWELL DRIVE                                                                                SPARLAND           IL    61565‐9400
J PAUL IRELAND JR                                  262 BROOKSIDE AVE                                                                               WYCKOFF            NJ    07481‐3416
J PAULINE BIGGS TR BIGGS FAM REV LIVING TRUST UA   121 STONE RIDGE LN                                                                              MOORESVILLE        NC    28117
10/21/99
J PHILIP NELSON CUST LAWRENCE E NELSON UGMA ME     55 PARROT ST                                                                                    S PORTLAND         ME    04106

J PHILIP WHERLEY & LOIS ANN WHERLEY JT TEN      6519 E CYPRESS CIR                                                                                 SCOTTSDALE         AZ    85257‐2553
J POLK COOLEY                                   PO BOX 7                                                                                           ROCKWOOD           TN    37854‐0007
J POLK COOLEY CUST THEODORE M COOLEY UNDER U‐G‐ ATTN THEODORE M COOLEY                    PO BOX 1566                                              ASHEBORO           NC    27204‐1566
M‐A
J PRESTON TIMPERLAKE                            2001 OCEAN DR                                                                                      CORPUS CHRISTI     TX    78404‐1868
J R ADAMS                                       1620 CHELSEA RD                                                                                    PALOS VERDES EST   CA    90274‐1823

J R AKERS                                          4220 E MAIN #B14                                                                                MESA               AZ    85205‐8604
J R BENNETT                                        932 MOORES FERRY RD SW                                                                          PLAINVILLE         GA    30733‐9762
J R BERTOLDI                                       49 PINE AVE                                                                                     OSSINING           NY    10562‐3641
J R BRADSHAW                                       10145 NICHOLS RD                                                                                MONTROSE           MI    48457‐9174
J R BRADY & K A BRADY TR UA 09/23/05 THE BRADY     3902 PEARTREE PL                                                                                CALABASAS          CA    91302‐1852
REVOCABLE TRUST
J R BROWN                                          7256 N IRISH ROAD                                                                               OTISVILLE          MI    48463‐9417
J R BURTON                                         605 ENGLESIDE DR                                                                                ARLINGTON          TX    76018‐5102
J R COX                                            7000 DEER HOLLOW COURT                                                                          GRANBURY           TX    76049
J R KAROBONIK                                      5760 N PASEO NIQUEL                                                                             TUCSON             AZ    85718‐3924
J R KETCHUM                                        225 S SCHOOL ST                                                                                 GASSVILLE          AR    72635‐8500
J R KLEMPNOW                                       348 N LINWOOD BEACH RD                                                                          LINWOOD            MI    48634‐9201
J R KURZAWA                                        1198 BRITTANY HILLS E                                                                           NEWARK             OH    43055‐1620
J R MANCINE                                        811 MAPLE AVE                                                                                   LINDEN             NJ    07036‐2741
J R MESMER JR                                      625 WILLIAMS ROAD                                                                               GRAND ISLAND       NY    14072‐2119
J R MITCHELL                                       34438 N SR 47                                                                                   WARRENTON          MO    63383‐4814
J R RUDOLPH                                        18024 DEERCLIFF CT                                                                              GLENCOE            MO    63038‐1519
J R SHIPLEY                                        909 LORILLARD AVE                                                                               UNION BEACH        NJ    07735‐3217
J R SMITH                                          3243 PEPPER MILL RD                                                                             ATTICA             MI    48412‐9739
J R WARREN                                         77 HIGHWAY Y                                                                                    JONESBURGH         MO    63351‐2705
J R WOSTENBERG                                     6775 W INA RD                                                                                   TUCSON             AZ    85743‐8421
J RANDALL GROVES CUST LAURA JANE GROVES UGMA       6023 DERR HILL PL                                                                               CHARLOTTE          NC    28277‐2536
NC
J RANDALL KUIPER                                   33 FARMCLIFF DR                                                                                 GLASTONBURY        CT    06033‐4120
J RANDALL STAUB                                    8368 NORMANDY RD                                                                                DENVER             NC    28037‐8646
J RANDOLPH HOLTBERG                                1619 S 9TH ST                                                                                   LAFAYETTE          IN    47905‐2127
J RANDOLPH LEFEVER                                 25 MAIN ST                                                                                      SALUNGA            PA    17538‐1124
J RANDOLPH SMITH JR                                817 MULBERRY ROAD                                                                               MARTINSVILLE       VA    24112‐4414
J RAWLEY SPARKS                                    27 CORNWALL RD                                                                                  NEW CASTLE         DE    19720‐2375
J RAYMOND CORY                                     3605 S SUNDERLAND DRIVE                                                                         SPOKANE VALLEY     WA    99206
J RAYMOND CORY CUST ALEX RAYMOND CORY UGMA         3605 S SUNDERLAND DR                                                                            SPOKANE            WA    99206
CA
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J RAYMOND CORY CUST DIANA LYNN CORY UGMA CA      3605 S SUNDERLAND DR                                                                           SPOKANE          WA    99206

J REGINA FRANKEWICZ                              PO BOX 615                                                                                     OLDWICK          NJ    08858
J RICHARD FOWLER                                 5353 GAMBLE DRIVE #108                                                                         ST LOUIS PARK    MN    55416‐1539
J RICHARD HAUSER                                 7426 WOLFRUN TRAIL                                                                             FAIRVIEW HTS     IL    62208
J RICHARD HAYES & MRS ANNE M HAYES TEN ENT       835 PARKSIDE AVE                                                                               WEST CHESTER     PA    19382‐5404
J RICHARD INGHRAM                                137 WILMA DR                                                                                   APOLLO           PA    15613‐9228
J RICHARD KRAPFEL CUST BRADLEY DALE KRAPFEL      105 RAINSBOROUGH WY                                                                            COLUMBIA         SC    29229‐8842
UGMA IA
J RICHARD TUCKER                                 PO BOX 4555                                                                                    GREENVILLE       DE    19807‐4555
J RIDDLE                                         341 LEEDALE ST                                                                                 ALBANY           NY    12209
J RIDLER TINNEY                                  BOX 15396                                                                                      ROCHESTER        NY    14615‐0396
J ROBERT ANDREWS CUST MARK EDWIN ANDREWS         2448 FAIRWAY CT                                                                                NORMAN           OK    73069‐6335
UGMA OK
J ROBERT BROMLEY CUST ISAAC J BROMLEY UTMA CT    73 HOYCLO RD                                                                                   STAMFORD         CT    06903‐2930

J ROBERT CROFOOT & KATHRYN L CROFOOT JT TEN      38267 S GRANITE CREST DR                                                                       TUCSON           AZ    85739

J ROBERT DUFFY                                   53 BUCKLEY RD                                                                                  SALEM            CT    06420‐3710
J ROBERT GUSH & GUDRUN GUSH JT TEN               9100 NE 17TH ST                                                                                VANCOUVER        WA    98664‐2495
J ROBERT HANLIN                                  5938 WINDWARD CT                                                                               LEWIS CENTER     OH    43035‐7953
J ROBERT HOWARD                                  C/O FIRST STATE BANK                  BOX 1944                                                 HEMPHILL         TX    75948‐1944
J ROBERT JOHNSTON                                116 E RIDGE ST                                                                                 CARLISLE         PA    17013‐3927
J ROBERT MC GOVERN & MARIE MC GOVERN JT TEN      BOX 133                                                                                        YORKLYN          DE    19736‐0133

J ROBERT MEYNER                                  1113 CALYPSO AVE                                                                               BETHLEHEM        PA    18018‐4908
J ROBERT ROCHESTER                               PO BOX 95                                                                                      KATHLEEN         FL    33849‐0095
J ROBERT S PRICHARD & ANN E WILSON TR            173 LYNDHURST AVE                     TORONTO ON                             M5R 5A1 CANADA
J ROBERT THROCKMORTON                            261 SE CRAIG RD                                                                                SHELTON          WA    98584‐8600
J ROBERT TUTHILL                                 64 MEAD AVENUE                                                                                 GREENWICH        CT    06830‐6842
J ROBERT WOOD                                    3151 SUMMERSET RD                                                                              WILMINGTON       DE    19810‐3437
J RODGER GRIFFIN & CAROL GRIFFIN JT TEN          PO BOX 372                                                                                     WESTWOOD         MA    02090‐0372
J RODRIGUEZ                                      40 HAVENHILL RD                                                                                HAMBURG          NJ    07419‐1275
J RODRIQUEZ                                      2167 LAFAYETTE AVE                                                                             BRONX 72         NY    10473‐1350
J ROGER NELSON                                   648 GRIST RUN ROAD                                                                             WESTERVILLE      OH    43082‐1018
J ROGER WILLIAMS                                 CHRYSLER PLYMOUTH DODGE JEEP          1015 FORTH WORTH HIGHWAY                                 WEATHERFORD      TX    76086‐4509
J ROGER WILLIAMS                                 PO BOX 1382                                                                                    FORT WORTH       TX    76101‐1382
J ROGER WUNNER                                   500 SOUTH 18TH ST APT 131                                                                      NORFOLK          NE    68701‐0501
J ROGER WUNNER TR J ROGER WUNNER TRUST           500 SOUTH 18TH ST #131                                                                         NORFOLK          NE    68701‐0501
J ROLAND MALONE                                  4378 DANUDE DRIVE                                                                              KING GEORGE      VA    22485
J ROLIN CHOATE                                   319 IVY ARBOR CIRCLE                                                                           ROCK HILL        SC    29782
J RONALD HOLLER & BONILEE HOLLER JT TEN          15775 NADER CT                                                                                 CLINTON TOWNSHIP MI    48038‐4119

J ROSS INC                                       5200 FAIRFIELD SHOPPING CTR                                                                    VIRGINIA BEACH   VA    23464‐4212
J ROWE                                           113 WIDGEON DR                                                                                 ALABASTER        AL    35007‐5369
J RUDI TRADER                                    903 E STRAWBRIDGE AVE                                                                          MELBOURNE        FL    32901‐4738
J RUSSELL NORRIS JR & SUSAN R NORRIS JT TEN      1123 DEVONSHIRE DR                                                                             NEW BERN         NC    28562‐7219
J RUSSELL SNYDER & MRS MARIE H SNYDER JT TEN     10613 KINNARD AVE                                                                              LOS ANGELES      CA    90024‐5908
J RUTH MILES & MICHAEL R MILES JT TEN            704 ELM AVE                                                                                    FRUITLAND PARK   FL    34731‐2034
J S DI NATALE                                    94 JEFFERY ROAD                                                                                COLONIA          NJ    07067‐2437
J S HARRIS                                       250 HARBOUR POINTE DR                                                                          BELLEVILLE       MI    48111‐4443
J S HAYS                                         1832 LAKESIDE LN                                                                               INDIANAPOLIS     IN    46229‐9750
J S KWIATEK JR                                   287 ORCHARD STREET                                                                             RAHWAY           NJ    07065‐2836
J S MILLER                                       902 W LINCOLN AVE                                                                              COPPERAS COVE    TX    76522‐1420
J S NAHN                                         61 EAST PHILLIP STREET                                                                         COALDALE         PA    18218‐1527
J S SALKIEWICZ                                   65 PUPEK ROAD                                                                                  SOUTH AMBOY      NJ    08879‐1328
J S SOAVE                                        28770 SUMMIT                                                                                   NOVI             MI    48377‐2938
J SANDRA FINCH & DONALD R FINCH JT TEN           14481 PIERCE RD                                                                                BYRON            MI    48418‐9779
J SCOTT CARLSON & GERDA L CARLSON JT TEN         3608 LARCHWOOD CIR                                                                             MINNETONKA       MN    55345‐1125
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J SCOTT CLEMMENSEN                                140 CHILTON ROAD                                                                              LANGHORNE         PA    19047‐8115
J SCOTT LOVE & LEANNA D LOVE JT TEN               427 EAST STREET                                                                               LEBO              KS    66856‐9105
J SCOTT STONEY                                    2321 SOUTH FORDNEY ROAD                                                                       HEMLOCK           MI    48626‐9777
J SEBASTIAN BERGER                                305 N HENRY ST                                                                                CRESTLINE         OH    44827‐1632
J SHAWN MCGARVEY                                  166 SHRADER RD                                                                                IOWA CITY         IA    52245‐4920
J SHEPARD JR                                      1182 WASHINGTON AVE APT 2K                                                                    BRONX             NY    10456‐4372
J SHERWOOD BROWN JR                               643 RT 45                                                                                     SALEM             NJ    08079‐4230
J SIMON                                           PO BOX 496                                                                                    PITTSTOWN         NJ    08867‐0496
J SLAWINSKI                                       2945 IVY MILL DR                                                                              BUFORD            GA    30519‐6712
J SLAWNIKOWSKI                                    17558 S DRIFTWOOD                                                                             LOCKPORT          IL    60441‐9790
J SOTOLONGO                                       92 WARWICK ST                        APT 4                                                    NEWARK            NJ    07105‐1628
J STANLEY RHINE                                   BOX 3943                                                                                      ALBUQUERQUE       NM    87190‐3943
J STANTON MCGROARTY                               9173 RIVER VIEW TRL                                                                           ROSCOE            IL    61073‐6608
J STEPHEN GALLAGHER                               5711 CHADWICK COURT                                                                           WEST CHESTER      OH    45069‐1047
J STEPHEN GOLDEN                                  817 STONEWALL RIDGE LN                                                                        AUSTIN            TX    78746‐6396
J STEPHEN TRACY                                   30602E COUNTY ROAD 900N                                                                       MASON CITY        IL    62664‐7115
J STERN                                           79 SHERRY LN                                                                                  LEICESTER         NC    28748‐6481
J STEVEN BUSH                                     PO BOX 210                                                                                    BURNS FLAT        OK    73624‐0210
J STEVEN BUSH & SANDRA J BUSH JT TEN              PO BOX 210                                                                                    BURNS FLAT        OK    73624‐0210
J STEVEN PORTTEUS                                 5558 W 1800S                                                                                  EARL PARK         IN    47942‐8004
J STEVEN THOMAS                                   ROUTE 1 BOX 272                                                                               PEACHLAND         NC    28133‐9744
J STEWART MC LAUGHLIN                             315 LAKEVIEW AVE WEST                                                                         BRIGHTWATERS      NY    11718‐1904
J STUART MANGINI                                  667 LA CASA VIA                                                                               WALNUT CREEK      CA    94598‐4923
J T BEALS                                         5545 S BASS TER                                                                               FLORAL CITY       FL    34436‐2230
J T CHAMBERS                                      346 GA HWY 56 S                                                                               HOMER             GA    30547‐9801
J T FAUX                                          235 CHIPPEWA ST                                                                               MIAMI SPRINGS     FL    33166‐5004
J T IVEY                                          3265 E 26TH RD                                                                                MARSEILLES        IL    61341‐9449
J T JONES JR                                      10990 WEST RD                        APT 804                                                  HOUSTON           TX    77064‐8818
J T LAPLANTE                                      809 HORINE ROAD                                                                               FESTUS            MO    63028‐1054
J T MORRIS JR & DOLA S MORRIS JT TEN              16137 COUNTY RD 108                                                                           BRISTOL           IN    46507‐9587
J T PAYNE & DOROTHY M PAYNE JT TEN                3106 OAK ST                                                                                   SHREWSBURY        WV    25015‐1924
J T TURNINGTON                                    204 S RIVERVIEW AVE                                                                           MIAMISBURG        OH    45342‐2221
J TERRENCE FITZGERALD EX EST FRANCIS W KENNY      27 C STREET                                                                                   SALT LAKE CTY     UT    84103

J THOMAS ANTONELLI JR CUST JONATHAN T ANTONELLI   3889 PEAKLAND PL                                                                              LYNCHBURG         VA    24503‐2000
UGMA VA
J THOMAS HINES JR TR MARGARET ANN HINES UA        35 ASHLEY DRIVE                                                                               MOBILE            AL    36608‐1738
12/12/60
J THOMAS JEANGUENAT                               51 BAHAMA AVE                                                                                 KEY LARGO         FL    33037‐4349
J THOMAS WILSON                                   4444 W 126TH ST                                                                               ZIONSVILLE        IN    46077‐9254
J TIMKO                                           27847 SHERIDAN                                                                                GARDEN CITY       MI    48135‐3178
J TRENT STAHNKE                                   2227 4TH AVE                                                                                  NORTH RIVERSIDE   IL    60546‐1209
J TURNER                                          447 KINGS 4TH WALK APT 20D                                                                    BROOKLYN          NY    11233
J V CLARK                                         2700 MOORES PLAINS BLVD                                                                       UPPR MARLBORO     MD    20774
J V FLOWERS III                                   RT 2 BOX 140                                                                                  OKEMAH            OK    74859‐9529
J V HOLLOWAY                                      19171 DEQUINDRE                                                                               DETROIT           MI    48234‐1207
J V SGROI CO INC                                  C/O ANTHONY C SGROI PRES             2017 TEALL AVENUE                                        SYRACUSE          NY    13206‐1539
J VINCENT PERRYMAN                                22 N ASHLAWN                                                                                  MEMPHIS           TN    38112‐4308
J W ADAMS                                         22133 WALCOTT ROAD                                                                            CARLYLE           IL    62231
J W BARNAK                                        71 ORCHARD STREET                                                                             KEANSBURG         NJ    07734‐1941
J W CARROLL                                       7116 ALLEGAN RD                                                                               VERMONTVILLE      MI    49096‐9738
J W CORN                                          5008 ST CLAIRE HGWY                                                                           CHINA TOWNSHIP    MI    48054‐1426

J W EMBRY                                         814 N WILSON                                                                                  ROYAL OAK         MI    48067‐2046
J W FOSTER                                        114 E HOBSON AVE                                                                              FLINT             MI    48505‐2710
J W FREELS                                        2921 CHEROKEE DRIVE APT 5                                                                     WATERFORD         MI    48328‐3174
J W FREEMAN                                       304 E AUBURNDALE AVE                                                                          YOUNGSTOWN        OH    44507‐1906
J W GAINES TR GAINES LIVING TRUST UA 2/3/97       1170 STOURBRIDGE RD                                                                           VERSAILLES        KY    40383
J W GASSER                                        900 GREEN BAY AVE                                                                             CULUMENT CITY     IL    60409‐5108
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Name                                              Address1                               Address2                Address3       Address4          City            State Zip

J W GREEN                                          1902 FM 3496                                                                                   GAINESVILLE     TX    76240‐8499
J W GREENE                                         186 WHITETAIL ROAD                                                                             JOHNSTOWN       PA    15909‐4020
J W HURST                                          1369 ECHOING VALLEY DR                                                                         BYRON CENTRE    MI    49315‐8269
J W JACKSON                                        715 W 29TH ST                                                                                  ANDERSON        IN    46016‐5912
J W JOHNSON                                        424 W 87TH A                                                                                   KANSAS CITY     MO    64114
J W KITCHEN                                        1280 LEWIS RD                                                                                  MANSFIELD       OH    44903‐8948
J W LEWIS JR                                       C/O HILDA LEWIS                       5523 NW OAKDALE PLACE                                    PARKWELLSTY     MO    64152‐4337
J W LITTEN                                         754 DAIGLER DR                                                                                 N TONAWANDA     NY    14120‐3440
J W MCDONOUGH                                      55 CENTER STREET                      PO BOX 414                                               BEMUS POINT     NY    14712‐0414
J W MILLER                                         C/O CONTANCE M MILLER                 15 HEATHERFIELD COURT                                    KILMARNOCK      VA    22482‐9510
J W PARKS                                          2024 MINERAL SPRINGS ROAD                                                                      HOUSCHTON       GA    30548‐1611
J W PRICKETT                                       2811 JONESBORO RD S E                                                                          ATLANTA         GA    30354‐2206
J W RICHARDSON                                     3518 52ND ST                                                                                   LUBBOCK         TX    79413
J W ROBBINS                                        468 KAREN DR                                                                                   PITTSBORO       IN    46167
J W SCOTT BARRY TR J W SCOTT BARRY LIVING TRUST UA 7234 N W 105TH TERR                                                                            OKLAHOMA CITY   OK    73162‐4501
09/24/97
J W WALKER                                         1262 GEORGE STREET                                                                             PLAINFIELD      NJ    07062‐1717
J W YONCE JR & J W YONCE JT TEN                    PO BOX 175 RD                                                                                  JOHNSTON        SC    29832‐0175
J WALLER MC CRACKEN                                2419 KENMORE RD                                                                                RICHMOND        VA    23228‐5923
J WALTER ALBRIGHT                                  105 COOPER ST                                                                                  SPRING MILLS    PA    16875
J WALTER HODGE                                     217 OLD PARKERSBURG TPKE                                                                       SWOOPE          VA    24479
J WALTER SMITH & MRS MATTIE PEARL SMITH JT TEN     195 SHORTLINE PIKE                                                                             LEBANON         KY    40033‐9610

J WALTON TOMFORD                                  3145 FAIRMOUNT BLVD                                                                             CLEVELAND       OH    44118‐4130
                                                                                                                                                  HEIGHTS
J WANZER DRANE                                    BOX 5326                                                                                        COLUMBIA        SC    29250‐5326
J WARREN NORDIN                                   9708 S LAKE STEVENS RD                                                                          LAKE STEVENS    WA    98258‐4735
J WARREN WHITESEL TR PATRICIA AYLWARD WHITESEL    315 N LA GRANGE RD APT 534                                                                      LA GRANGE PK    IL    60526
TRUST UA 03/18/93
J WAYNE ROBERTS JR                                2029 LAUREL OAK DR                                                                              AMELIA          OH    45102‐1496
J WESLEY BENN                                     7 OAKS AVENUE                          CREMORNE NJW                           2090 AUSTRALIA
J WESLEY BOLYARD JR & ANGELA BOLYARD JT TEN       2833 E MALLORY STREET                                                                           MESA            AZ    85213‐1668
J WESLEY TOPPING                                  72 EDEN AVE                                                                                     EDISON          NJ    08817‐3850
J WEST SUMMERS & FREDA S SUMMERS JT TEN           1105 COLUMBIA ROAD                                                                              ORANGEBURG      SC    29115‐4612
J WESTON BARR                                     1565 S MILWAUKEE ST                                                                             DENVER          CO    80210‐2918
J WILCZYNSKI                                      380 BARCLAY STREET                                                                              PERTH AMBOY     NJ    08861‐3126
J WILLARD MARRIOTT JR                             MARRIOTT DR                                                                                     WASHINGTON      DC    20058‐0001
J WILLIAM BENDALL TR J WILLIAM BENDALL LIVING     2050 KIRBY RD                                                                                   MEMPHIS         TN    38119‐5510
TRUST UA 3/21/01
J WILLIAM KNAUF                                   3582 SOUTHAMPTON DR                                                                             JEFFERSONTON    VA    22724‐1749
J WILLIAM MOFFETT & MRS JOANNE D MOFFETT JT TEN   3400 CALDWELL DR                                                                                RALEIGH         NC    27607‐3327

J WILLIAM TOBEY                                   808 WAKE ROBIN DR                                                                               SHELBURNE       VT    05482‐7582
J WILLIAM VOEGTLY & MARIE VOEGTLY JT TEN          C/O C HETTES                           156 W BARE HILL RD                                       HARVARD         MA    01451‐1620
J WILLIAM WORLEY                                  3424 N W 68TH                                                                                   OKLA CITY       OK    73116‐2122
J WILLKIE HOPKINS                                 193 ANASTASIA DR                                                                                POINCIANA       FL    34759‐3746
J WINTHROP PORTER & JOYCE L PORTER JT TEN         70 COLUMBUS ST                                                                                  MANCHESTER      CT    06040‐2957
J WOODS HANSEN & COURTENAY P HANSEN JT TEN        BOX 72                                                                                          UPPERVILLE      VA    20185‐0072

J Y HILLERY JR                                    3554 SHERBROOKE WAY SW                                                                          ATLANTA         GA    30331‐5408
J YOUNG CUST MICHAEL W YOUNG UTMA IL              8155 N KARLOV                                                                                   SKOKIE          IL    60076‐3225
J‐ANN MARR                                        9818 BURNING TREE                                                                               GRAND BLANC     MI    48439‐9568
J0SEPH DI BELLA JR                                9330 KIMLAND COURT                                                                              REDFORD TWP     MI    48239‐1870
J0SEPH J TUTKO                                    18908 NEWHAVEN TER                                                                              HAGERSTOWN      MD    21742
JABBAAR NAJIEB                                    2161 O BRIEN                                                                                    MT MORRIS       MI    48458‐2639
JABE T SHIVERS                                    1111 RIVER GLYN                                                                                 HOUSTON         TX    77063‐1516
JABEZ L MCCALLUM                                  1420 WELLESLEY DR                                                                               INKSTER         MI    48141‐1522
JABRA T MOUSSA                                    55839 RHINE AVENUE                                                                              MACOMB          MI    48042
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Name                                              Address1                             Address2             Address3          Address4          City             State Zip

JAC P GNIRREP                                     285 PERKING RD                                                                                RICHFIELD SPRINGS NY   13439‐9720

JAC‐LYNNE S WARD                                  4587 RIDGE ROAD                                                                               LOCKPORT         NY    14094‐9719
JACALYN D WALKER                                  121 TE MAR WAY                                                                                HILLSBORO        OH    45133‐8530
JACALYN G JAMES CUST SCOTT LEE JAMES UGMA DE      103 COURSEY MILL RD                                                                           FELTON           DE    19943‐4338

JACALYN N TEATER                                  1319 E SCOTT AVE                                                                              GILBERT          AZ    85234‐3671
JACE P TERRY                                      7770 AL HWY 36                                                                                DANVILLE         AL    35619‐9702
JACE SKAGGS                                       637 E BURLWOOD LN                                                                             LEMOORE          CA    93245‐2413
JACEK ZARNOWIECKI                                 AL KORFANTEGO 21/8                   44‐100 GLIWICE                         POLAND (REP)
JACEK ZARNOWIECKI                                 AL KORFANTEGO 21/8                   44‐100 GLIWICE                         POLAND (REP)
JACEY WATERHOUSE A MINOR U/GDNSHP OF MARILYN      3826 ROUND TOP DR                                                                             HONOLULU         HI    96822‐5017
WATERHOUSE
JACINDA JO KEENAN GEORGE                          PO BOX 6171                                                                                   SEVIERVILLE      TN    37864‐6171
JACINTA MONTEMORRA                                2233 NW 56 AVE                                                                                LAUDERHILL       FL    33313‐3040
JACINTO REDONDO                                   9802 SW 56TH TER                                                                              MIAMI            FL    33173‐1489
JACK A BERMAN                                     1920 E FRONT ST                                                                               TRAVERSE CITY    MI    49686‐3021
JACK A BERNHART                                   150 PFEIFFER AVE                                                                              AKRON            OH    44312‐1356
JACK A BLASER                                     1438 LAKE DRIVE                                                                               NATIONAL CITY    MI    48748‐9569
JACK A BONZELAAR                                  117 PIER D                                                                                    NAPLES           FL    34112‐8119
JACK A BONZELAAR & NORENE M BONZELAAR JT TEN      117 PIER D                                                                                    NAPLES           FL    34112‐8119

JACK A BRADY & PATRICIA H BRADY TEN COM           909 MORAN DRIVE                                                                               GREENSBORO       NC    27410‐5431
JACK A CLARK                                      BOX 489 GREENWICH MILAN              TOWNLINE RD                                              N FAIRFIELD      OH    44855
JACK A CLARK                                      6311 KARNS RD                                                                                 W MILTON         OH    45383‐8764
JACK A DILLON                                     7648 E M21                                                                                    CORUNNA          MI    48817‐9530
JACK A EDWARDS & MARY L EDWARDS JT TEN            4480 W LAKE ROAD                                                                              CLIO             MI    48420‐8829
JACK A ELEY                                       1935 BROCKEN WAY                                                                              TUCKER           GA    30084‐6006
JACK A ELLERHOLTZ                                 3759 THOMAS COURT                                                                             COMMERCE TWP     MI    48382‐1870
JACK A FREDRICKSON & JANET R FREDRICKSON JT TEN   8901 GILMOUR LN                                                                               FREELAND         MI    48623‐8618

JACK A HAMLIN                                     42034 67 ST W B1LD1N51 APT D                                                                  LANCASTER        CA    93535
JACK A HAYTHORN & JOEL A HAYTHORN JT TEN          2020 ENGLISH DR                                                                               HUNTSVILLE       AL    35803‐2028
JACK A HITCHCOCK & CURTIS L ST JOHN JT TEN        PO BOX 82                                                                                     GENESEE          MI    48437‐0082
JACK A KIMMEL                                     378 BENNETT RD                                                                                BEDFORD          IN    47421‐7411
JACK A KRESS & C MAXINE KRESS TR UA 06/01/01      3109 ARCHER AVE                                                                               THE VILLAGES     FL    32162‐7402
JACK A KUENZEL                                    4227 CORRIGAN DR                                                                              FREMONT          CA    94536‐5906
JACK A LAMPMAN & ARLEEN D LAMPMAN JT TEN          2204 PATTENGILL AVE                                                                           LANSING          MI    48910‐2673
JACK A LAPOINTE                                   17717 SOUTH 70 COURT                                                                          TINLEY PARK      IL    60477‐3813
JACK A LEAKEY                                     5393 S 100 WEST                                                                               ANDERSON         IN    46013‐9400
JACK A MARTINCIC                                  6884 WALL RD                                                                                  MONONGAHELA      PA    15063‐4539
JACK A MASON                                      5195 W 48 MI RD                                                                               CADILLAC         MI    49601
JACK A MASON                                      4503 HOLE‐IN‐ONE CT                                                                           LEESBURG         FL    34748
JACK A MILLER                                     10641 WOOD DUCK CT                                                                            AURORA           OH    44202‐8137
JACK A MORGAN                                     936 WESTMINSTER PL                                                                            DAYTON           OH    45419‐3759
JACK A MYERS & LAURIE L MYERS JT TEN              411 HENDRIX                                                                                   PHILADELPHIA     PA    19116‐2422
JACK A PENDER                                     6024 E FRANCES RD                                                                             MOUNT MORRIS     MI    48458‐9754
JACK A PENDER & ILENE PENDER JT TEN               6024 E FRANCES RD                                                                             MOUNT MORRIS     MI    48458
JACK A PITSINGER                                  3945 N CATHERINE DR                                                                           PRESCOTT VLY     AZ    86314‐8345
JACK A PORTER                                     1416 S CO RD 200 E                                                                            KOKOMO           IN    46901
JACK A READ & SHARI READ JT TEN                   BOX 126                                                                                       STANHOPE         IA    50246‐0126
JACK A REED TR UA 06/14/90 JACK A REED TRUST      3613 VALLEY LANE                                                                              CLINTON          IA    52732‐1318
JACK A RHODES                                     26815 BUTTERNUT RIDGE ROAD                                                                    NORTH OLMSTED    OH    44070‐4410
JACK A RHODES & MARGARET H RHODES JT TEN          26815 BUTTERNUT RIDGE RD                                                                      NORTH OLMSTED    OH    44070‐4410
JACK A SAKALL                                     5967 WILLOW BRIDGE                                                                            YPSILANTI        MI    48197‐7131
JACK A SHADRICK                                   6228 S IVY LANE                                                                               BELOIT           WI    53511‐9439
JACK A SHAW                                       555 MAPLE KNOLL RD                                                                            COLDWATER        MI    49036‐7816
JACK A SPANGLER                                   R2                                                                                            CRESTLINE        OH    44827‐9802
JACK A TAYLOR                                     14200 BELSAY RD                                                                               MILLINGTON       MI    48746‐9218
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JACK A TEMPLETON                                 621 PEARL ST                                                                                      GRINNELL          IA    50112‐1928
JACK A VANDERLIP & MRS JEMMIE W VANDERLIP JT TEN 347 HAMPTON PARK DR                                                                               ATHENS            GA    30606‐2497

JACK A WALTERS & BONNIE J WALTERS JT TEN           21199 W LAKE MONTCALM RD                                                                        HOWARD CITY       MI    49329‐8969
JACK A WHITMAN & MRS DARLENE F WHITMAN JT TEN      9161 BEECHER RD                                                                                 FLUSHING          MI    48433‐9460

JACK A WILSON                                      117 HARVEST LN                                                                                  HAUGHTON          LA    71037
JACK ACKERMAN                                      802 RIDGE VIEW DR                                                                               BELLEFONTANE      OH    43311‐2935
JACK ADAMSON & JUDI ADAMSON JT TEN                 106 WILSON AVE                                                                                  CHESWICK          PA    15024‐1221
JACK ADER CUST RICHARD ADER U/THE NEW YORK         16553 S WHITE OAKS DR                                                                           STRONGSVILLE      OH    44136‐7444
UNIFORM GIFTS TO MINORS ACT
JACK ALFRED BOATER                                 C/O STANDARD CHARTERED BANK            6 BATTERY RD                           49909 SINGAPORE
JACK ALLEN ROBERTS & M RUTH ROBERTS JT TEN         305 30TH ST W                                                                                   BILLINGS          MT    59102‐4538
JACK ANDREW HUTCHISON CUST AIDEN NICHOLAS          3115 HARNESS LANE                                                                               HARRISONBURG      VA    22801
HUTCHISON UTMA VA
JACK ANDREW HUTCHISON CUST JACK AUSTIN             3115 HARNESS LANE                                                                               HARRISONBURG      VA    22801
HUTCHISON UTMA VA
JACK ARSI                                          21 LEVITT AVE                                                                                   BERGENFIELD       NJ    07621‐1904
JACK ARTHUR CHRISTENSEN                            1415 MANHATTAN CT                                                                               MICHIGAN CITY     IN    46360‐4335
JACK AUSLANDER                                     41 KNOLLWOOD DR                                                                                 LIVINGSTON        NJ    07039‐3139
JACK AUSLANDER & ALICE AUSLANDER JT TEN            41 KNOLLWOOD DR                                                                                 LIVINGSTON        NJ    07039‐3139
JACK AZAR                                          31020 LOUISE CT                                                                                 WARREN            MI    48093‐2005
JACK B ALEXANDER                                   1176 FREEMONT DRIVE                                                                             MONTGOMERY        AL    36111‐2642
JACK B ALEXANDER                                   5517 WESTCHESTER DRIVE                                                                          FLINT             MI    48532‐4062
JACK B ALLEN & CHANDRA C ALLEN JT TEN              3128 WALTON BLVD STE 227                                                                        ROCHESTER HLS     MI    48309‐1265
JACK B ALLISON                                     378 OMEGA DR                                                                                    LAWRENCEVILLE     GA    30044‐4229
JACK B ALLISON & FAYE ALLISON JT TEN               378 OMEGA DR                                                                                    LAWRENCEVILLE     GA    30044‐4229
JACK B BRYAN                                       115 MADISON DRIVE                                                                               NEWARK            DE    19711‐4405
JACK B BRYAN JR                                    28 STEVER DR                                                                                    BINGHAMTON        NY    13901‐1249
JACK B BURCHETT                                    3301 GARDEN LAKES PKWY NW              APT 1A                                                   ROME              GA    30165‐1760
JACK B CLAY & NELLIE J CLAY JT TEN TOD DONNA E     3104 PRAIRIEVIEW DRIVE                                                                          HARRISONVILLE     MO    64701‐3650
NOWICKI
JACK B CUNNINGHAM                                  PO BOX 513                                                                                      NOCONA            TX    76255‐0513
JACK B DANIELSON                                   2805 BERLIN RD                                                                                  WESTON            WV    26452‐7750
JACK B GIBBS                                       7524 ORMES RD                                                                                   VASSAR            MI    48768‐9616
JACK B HARRIS                                      PO BOX 82                                                                                       ROCKSPRINGS       TX    78880
JACK B HARRIS & SANDRA S HARRIS JT TEN             PO BOX 82                                                                                       ROCKSPRINGS       TX    78880‐0082
JACK B HEDRICK                                     362 SOUTH WINDING DR                                                                            WATERFORD         MI    48328‐3567
JACK B HOLMES                                      BOX 34                                                                                          SAN LEANDRO       CA    94577‐0003
JACK B HULL                                        500 ARNCLIFFE CT                                                                                ALPHARETTA        GA    30005‐8994
JACK B JOHNSON                                     822 BARNS RD                                                                                    FOSTORIA          MI    48435‐9713
JACK B JONES & JANET S JONES JT TEN                603 VILLAGE COURT                                                                               ENGLEWOOD         OH    45322‐2052
JACK B MCCLAIN & MILDRED A MCCLAIN JT TEN          6935 BRIXTON PLACE                                                                              SUWANEE           GA    30024
JACK B OVERMAN                                     710 WESTMINSTER LN                                                                              KINSTON           NC    28501‐2770
JACK B PARTIN                                      35649 WEST CHICAGO ST                                                                           LIVONIA           MI    48150
JACK B SHRADER                                     1822 MARKET STREET                                                                              WARREN            OH    44483‐6616
JACK B SICKELS                                     4330 R P B BLVD                                                                                 WEST PALM BEACH   FL    33411

JACK B SWEET & BARBARA M SWEET JT TEN         1338 KAPOK DR                                                                                        FAIRBORN          OH    45324‐3511
JACK B TROUTMAN & BARBARA ANN TROUTMAN JT TEN 0649 LINCOLN RD NW                                                                                   GRAND RAPIDS      MI    49504‐5070

JACK B ULLRICH                                     433 CANDLEWOOD LANE                                                                             NAPLES            FL    34110‐1179
JACK BAILEY                                        34838 SHASTA ST                                                                                 YUCAIPA           CA    92399‐2843
JACK BAKER                                         2920 NW 48TH ST                                                                                 FT LAUDERDALE     FL    33309‐3520
JACK BARANOVITZ                                    2210 CHRYSLER TERR NE                                                                           ATLANTA           GA    30345‐3808
JACK BARNES                                        56607 ANGEVINE RD                                                                               MENDON            MI    49072‐9515
JACK BARNHART                                      7227 CASTLE MANOR DR                                                                            INDIANAPOLIS      IN    46214‐3632
JACK BARRY KAUFFMAN CUST JENNIFER KAUFFMAN         18801‐C 71ST CRESCENT                                                                           FRESH MEADOWS     NY    11365‐3716
UGMA NY
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Name                                              Address1                               Address2             Address3          Address4          City              State Zip

JACK BAUM & ESTELLE BAUM JT TEN                   2124 AVE P                                                                                      BROOKLYN       NY       11229‐1507
JACK BEDUSA & KATE BEDUSA JT TEN                  BOX 2476                                                                                        WESTPORT       CT       06880‐0476
JACK BEELER                                       PO BOX 431                             9820 ELMS RD                                             BIRCH RUN      MI       48415‐8481
JACK BELSCHWENDER                                 6709 EVANSTON AVENUE                                                                            INDIANAPOLIS   IN       46220‐1253
JACK BERENDS                                      1630 MILLS                                                                                      NORTH MUSKEGOW MI       49445‐3014

JACK BERNARD SKALA & CAROL A SKALA JT TEN         1399 CRESTVIEW WAY                                                                              WOODLAND PARK     CO    80863‐3329

JACK BICE                                         804 HARRISON CIR                                                                                PELL CITY         AL    35128‐6310
JACK BISCHOFF                                     324 PLEASANT VALLEY                                                                             MILFORD           MI    48380
JACK BLATNICK & MRS ELEANOR BLATNICK JT TEN       LAFAYETTE REDEEMER                     8580 VERREE RD       APT 528                             PHILADELPHIA      PA    19111‐1377
JACK BOLINSKI & GAYLE L BOLINSKI JT TEN           2131 CALLAWAY DRIVE                                                                             THE VILLAGES      FL    32162‐4388
JACK BOLTON                                       711 S STREET                                                                                    BEDFORD           IN    47421‐2424
JACK BOURGEOIS JR                                 5017 NOCONA LANE                                                                                ARLINGTON         TX    76018
JACK BOYD YARBROUGH                               112 HARDWOOD CT                                                                                 MAYSVILLE         GA    30558‐5649
JACK BRIAN CHERNEY                                4547 VALLEYVIEW DRIVE                                                                           WEST BLOOMFIELD   MI    48323‐3357

JACK BRILLHART                                    1588 UNDERWOOD ST                                                                               CUYAHOGA FALLS    OH    44221‐5069
JACK BRIZENDINE                                   3480 LOWER RIVER RD                                                                             GRANTS PASS       OR    97526‐9026
JACK BROWN AYLOR                                  2088 GREY FALCON CIR SW                                                                         VERO BEACH        FL    32962‐8610
JACK BROWN CUST TODD BROWN U/THE NEW YORK         9321 MOUNT CASH AVE UNIT 102                                                                    LAS VEGAS         NV    89129
UNIFORM GIFTS TO MINORS ACT
JACK BURCH                                        1936 S 21ST ST                                                                                  TERRE HAUTE       IN    47802‐2616
JACK BURG                                         304 N LANCASTER AVE                                                                             MARGATE           NJ    08402‐1418
JACK BURG & AUDREY BURG JT TEN                    304 N LANCASTER                                                                                 MARGATE           NJ    08402‐1418
JACK BURTON                                       3300 GARRISON RD                                                                                DURAND            MI    48429
JACK BUSSARD                                      9943 ZITTO LN                                                                                   TUJUNGA           CA    91042‐2839
JACK BUTLER                                       36 CAPRI DR                                                                                     ROCHESTER         NY    14624‐1357
JACK C ADAMS                                      1440 LAKEVIEW DRIVE                                                                             VIRGINIA BEACH    VA    23455‐4132
JACK C ATKINS                                     222 E 8TH ST                                                                                    JONESBORO         IN    46938‐1412
JACK C AUNGST                                     12522 TURNER RD                                                                                 PORTLAND          MI    48875‐9487
JACK C BALL                                       2815 MONROE PIKE                                                                                MARION            IN    46953‐2708
JACK C BARKER                                     4947 ROSS DRIVE                                                                                 WATERFORD         MI    48328‐1047
JACK C BAUGHEY & NANCY K BAUGHEY JT TEN           2655 ELMWOOD                                                                                    ADRIAN            MI    49221‐4165
JACK C CAMHI                                      13416 JUSTICE RD                                                                                ROCKVILLE         MD    20853‐3263
JACK C CHAPMAN                                    2545 CINCINNATI ZANESVILLE RD SW                                                                LANCASTER         OH    43130
JACK C COPELAND                                   1170 CLARK ST                                                                                   ENGLEWOOD         FL    34224‐4534
JACK C CULP                                       211 MAYHILL RD                                                                                  NEWTON FALLS      OH    44444‐9705
JACK C CUNNINGHAM                                 1522 MAPLE AVE                                                                                  CINCINNATI        OH    45215
JACK C DALTON                                     632 GRANT ST                                                                                    WILLIAMSPORT      IN    47993‐1322
JACK C DALY                                       711 WALNUT ST                                                                                   ST CHARLES        MI    48655‐1257
JACK C DAUM                                       7071 TOWNSHIP ROAD 45                                                                           LEXINGTON         OH    44904‐9666
JACK C DELO                                       609 S ROSS AVE                                                                                  MEXIA             TX    76667‐3460
JACK C DOUGLAS                                                                                                                                    EAGAN             TN    37730
JACK C GOTHAM & SUSAN D GOTHAM TEN ENT            6760 RADEWAHN RD                                                                                SAGINAW           MI    48604‐9211
JACK C GREGORY                                    18982 E 3750 N RD                                                                               ROSSVILLE         IL    60963‐7130
JACK C HO                                         1212 PUNAHOU ST                        APT 3208                                                 HONOLULU          HI    96826‐1041
JACK C KING                                       4901 MT PLEASANT RD                                                                             PROVDENCE FRG     VA    23140‐4539
JACK C KING                                       10299 ENDICOTT                                                                                  BELLEVILLE        MI    48111‐1251
JACK C LOWERY                                     304 GEORGIA AVE NW                                                                              NEW ELLENTON      SC    29809‐2606
JACK C MCCALLUM & SHIRLEY M MCCALLUM JT TEN       146 N WALNUT ST                                                                                 RED CLOUD         NE    68970

JACK C MONTGOMERY                                 PO BOX 309                                                                                      VINEMONT          AL    35179‐0309
JACK C MORLEY                                     RR 19                                  BOX 688                                                  BEDFORD           IN    47421‐9335
JACK C NOVAK                                      316 EAST MADISON STREET                                                                         LOMBARD           IL    60148‐3456
JACK C OBRIEN JR                                  2507 WELROSE CT                                                                                 MIDLOTHIAN        VA    23113‐9640
JACK C PACKARD & ELLEN I PACKARD TR UA 2/9/74     50 MICHENER RD #211                    CHATHAM ON                             N7L 4T2 CANADA

JACK C PRENDERGAST                                1340 LEOPARD HUNT                                                                               SAN ANTONIO       TX    78251‐4064
                                                   09-50026-mg               Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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JACK C REA                                           8310 EAST 65TH ST                                                                               TULSA           OK    74133‐7609
JACK C ROWE & CATHERINE M ROWE TR ROWE TRUST         7227 ROGUE RIVER DR                                                                             SHADY COVE      OR    97539‐9702
UA 12/09/87
JACK C SAMMONS                                       13208 ASTOR AVE                                                                                 CLEVELAND       OH    44135‐5006
JACK C STEWART                                       18796 BIG CREEK PARKWAY                                                                         STRONGSVILLE    OH    44136‐1447
JACK C TEETZEL & JOAN M TEETZEL JT TEN               22251 DAVID                                                                                     TAYLOR          MI    48180‐2784
JACK C TILLETT                                       PO BOX 160                                                                                      WANCHESE        NC    27981‐0160
JACK C WARD                                          2092 S WILSON                                                                                   WHITTEMORE      MI    48770
JACK C WEBB                                          3467 PINEWOOD CT                                                                                DAVISON         MI    48423‐8422
JACK C WEIGAND                                       5924 RICHARD DR                                                                                 WARREN          OH    44483‐1157
JACK C WILKERSON JR CUST GABRIEL G WILKERSON         2615 HAMPTON AVE                                                                                TUPELO          MS    38801‐4121
UGMA TN
JACK CALABRESE CUST DAVID P CALABRESE II UTMA CO     16195 SANDSTONE DR                                                                              MORRISON        CO    80465‐2165

JACK CALABRESE CUST JENNIFER K CALABRESE UTMA CO 16195 SANDSTONE DR                                                                                  MORRISON        CO    80465‐2165

JACK CALABRO                                         3020 N SHERIDAN                                                                                 CHICAGO         IL    60657‐5543
JACK CHARLES OBERHART                                202 GLEN AVE                                                                                    CRYSTAL LAKE    IL    60014‐4427
JACK CHIN                                            4523 ELDRIDGE AVE                                                                               SAN ANTONIO     TX    78237‐2633
JACK CHIN & JANE CHIN JT TEN                         128 POST RD                                                                                     OLD WESTBURY    NY    11568‐1705
JACK CHIN JR & JANE CHIN JT TEN                      128 POST RD                                                                                     OLD WESTBURY    NY    11568‐1705
JACK CHUTE                                           43 GAGE AVE NORTH                      HAMILTON ON                            L8L 6Z5 CANADA
JACK CHUTE                                           43 GAGE AVE NORTH                      HAMILTON ON                            L8L 6Z5 CANADA
JACK COOK                                            511 MARLIN ROAD                                                                                 NORTH PALM      FL    33408‐4323
                                                                                                                                                     BEACH
JACK CRANE                                           3254 JOE PARKER ROAD                                                                            GAINESVILLE     GA    30507‐7993
JACK CUDDY & KIYOKO CUDDY JT TEN                     1215 NAPLES ST                                                                                  SAN FRANCISCO   CA    94112‐4446
JACK D ALLEN JR                                      1970 ASHTON POINTE DR                                                                           DACULA          GA    30019‐2940
JACK D ANDERSON                                      17509 SANTA BARBARA                                                                             DETROIT         MI    48221‐2528
JACK D ANTRUP                                        18175 HILDA DR                                                                                  FORT MYERS      FL    33967‐6141
JACK D BEAGLE                                        104 OGDEN CENTER RD                                                                             SPENCERPORT     NY    14559‐2025
JACK D BELSER & FLORIS I BELSER TR JACK D BELSER     1756 ALLEN DR                                                                                   WESTLAKE        OH    44145‐2507
TRUST UA 01/25/95
JACK D BOTNER                                        446 ANNAMOORE RD                                                                                ANNVILLE        KY    40402‐8727
JACK D BROWN                                         2305 BENNETT AVE                                                                                FLINT           MI    48506‐3656
JACK D CARR JR                                       2100 VINSON RD                                                                                  BIRMINGHAM      AL    35235‐2024
JACK D CASE                                          2143 S LEATHERWOOD RD                                                                           BEDFORD         IN    47421‐8865
JACK D COCHRAN                                       13396 LINDEN DR                                                                                 SPRING HILL     FL    34609‐4055
JACK D COCHRAN & MRS EDITH M COCHRAN JT TEN          13396 LINDEN DR                                                                                 SPRING HILL     FL    34609‐4055

JACK D CROUCH & IRIS J CROUCH JT TEN                 320 CRANGLE RD                                                                                  ROSSVILLE       TN    38066‐3110
JACK D CUMMINGS & MARY R CUMMINGS JT TEN             3981 SOUTH I ST                                                                                 BEDFORD         IN    47421‐7528
JACK D DAVIS                                         3709 WAPANEE DR                                                                                 DAYTON          OH    45430
JACK D ELLER                                         851 BACON RD                                                                                    PAINESVILLE     OH    44077‐4773
JACK D FARMER                                        260 CEDAR DRIVE                                                                                 WEST MILTON     OH    45383‐1211
JACK D FERGUSON                                      6893 ROBY DR                                                                                    WATERFORD       MI    48327‐3861
JACK D FIKE                                          C/O SHERYL BRAUN                       575 HOMEVIEW                                             LEAVITTSBURG    OH    44430
JACK D GRASSI                                        122 PEMBROKE DRIVE                                                                              PALM BCH GDNS   FL    33418
JACK D GUINTHER                                      292 SMITH ST                           APT 130                                                  CLIO            MI    48420‐2038
JACK D HAMILTON & BARBARA S HAMILTON JT TEN          PO BOX 481                                                                                      FLORENCE        AZ    85232‐0481

JACK D HAPNER                                        PO BOX 291                                                                                      GREENTOWN       IN    46936‐0291
JACK D HAYS & MARIE M HAYS JT TEN                    930 WINDSOR CT                                                                                  CARNEGIE        PA    15106‐1502
JACK D HOPKINS & CONNIE M HOPKINS JT TEN             309 JOHNSTON DR                                                                                 RAYMORE         MO    64083‐9228
JACK D HOWARD                                        3340 GOVERNORS TRL                                                                              DAYTON          OH    45409‐1103
JACK D ICE                                           2452 W KEM RD                          APT 124                                                  MARION          IN    46952‐6875
JACK D KAHN                                          8 BALMORAL DR                                                                                   LIVINGSTON      NJ    07039‐4406
JACK D KENNON                                        13751 LUCAS LANE                                                                                CERRITOS        CA    90703‐1450
JACK D KENNON & BRITTA B KENNON JT TEN               13751 LUCAS LANE                                                                                CERRITOS        CA    90703‐1450
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JACK D KIEFFER                                     6581 HUMMINGBIRD DRIVE                                                                        MASON           OH    45040‐9370
JACK D KRAWCZAK                                    26 RIVERSIDE BLVD                                                                             SAGINAW         MI    48602‐1077
JACK D KRUPP                                       2950 W BIRCH RUN RD                                                                           BURT            MI    48417‐9777
JACK D LEACH & WILMA M LEACH JT TEN                29219 N STATE ROAD 19                                                                         ATLANTA         IN    46031
JACK D LEAYM                                       5212 BAKER RD                                                                                 BRIDGEPORT      MI    48722‐9592
JACK D LEAYM & BRIAN A LEAYM JT TEN                5212 BAKER RD                                                                                 BRIDGEPORT      MI    48722‐9592
JACK D LEAYM JR                                    2599 OHIO                                                                                     SAGINAW         MI    48601‐7042
JACK D LEVY                                        PO BOX 734                                                                                    HARRISON        MI    48625‐0734
JACK D LEWIS                                       2049 COOK ST                                                                                  CUYAHOGA FALL   OH    44221‐3317
JACK D LOCY                                        30554 ELLIOT RD                                                                               DEFIANCE        OH    43512‐9018
JACK D LONGBERRY                                   151 FONRO DR                                                                                  BRIGHTON        MI    48114‐9622
JACK D MARSA & DONNA C MARSA JT TEN                4261 RAPSON ROAD                                                                              BAD AXE         MI    48413‐9153
JACK D MEETZE JR                                   201 CRESTVIEW DRIVE                                                                           GAFFNEY         SC    29340‐2832
JACK D MESSICK                                     PO BOX 874                                                                                    GLENVIEW        IL    60025‐0874
JACK D MILAN                                       LAKE SHORE DR                                                                                 CATAWISSA       MO    63015‐1147
JACK D MILLER                                      1020 SE 3RD ST                                                                                CAPE CORAL      FL    33990‐1203
JACK D O BRYANT SR                                 841 MYRTLE AVE                                                                                CUYAHOGA FALL   OH    44221‐4103
JACK D OGLE                                        1814 OLD LOST MTN ROAD                                                                        POWDER SPS      GA    30127‐1225
JACK D PATTEN JR                                   7647 DEVINS RIDGE                                                                             CLARKSTON       MI    48348
JACK D PELFREY                                     ATT: RUBY MARIE PELFREY              1221 WATERBURY PL                                        TROY            OH    45373‐4607
JACK D PETTY                                       3539 COUNTRY WALK DR                                                                          INDIANAPOLIS    IN    46227‐9706
JACK D RABOURN & BEVERLY A RABOURN JT TEN          506 PENN OAK DR                                                                               ADRIAN          MO    64720‐9110
JACK D ROBERTSON TR ROBERTSON 1996 REVOCABLE       20675 JACKASS HILL RD                                                                         SONORA          CA    95370‐8021
TRUST UA 03/05/96
JACK D ROBINSON JR                                 1432 MAYBERRY LANE                                                                            FRANKLIN        TN    37064‐9610
JACK D ROCK JR                                     21706 HAMMER SMITH RD                                                                         DEFIANCE        OH    43512‐9053
JACK D SCOTT                                       16134 VIA MADERA CIRCA E                                                                      RCHO SANTA FE   CA    92091‐4498
JACK D SCOTT TR JDSLC DEFINED BENEFIT PENSION PLAN 16134 VIA MADERA CIRCA                                                                        RCHO SANTA FE   CA    92091
& TRUST UA 01/01/84
JACK D SONGER & HENRIETTA SONGER JT TEN            9842 E 1610 NORTH RD                                                                          OAKWOOD         IL    61858‐6106
JACK D SPEAKER                                     PO BOX 637                                                                                    LAFAYETTE       CO    80026‐0637
JACK D SURBER                                      8875 CLEAR CREEK RD                                                                           SPRINGBORO      OH    45066‐9716
JACK D ULLMER                                      224 PORTER DR                                                                                 ENGLEWOOD       OH    45322‐2452
JACK D VAN DYKE                                    PO BOX 291                                                                                    TROY            MO    63379‐0291
JACK D VANDUSEN                                    10773 S STATE RD                                                                              MORRICE         MI    48857‐9747
JACK D WHITMORE                                    PO BOX 421                                                                                    BROOKFIELD      OH    44403‐0421
JACK D WILLOUGHBY                                  922 LIVINGSTON DR                                                                             PULASKI         TN    38478‐4919
JACK D WILSON                                      4516 ITASCA ST                                                                                LUBBOCK         TX    79416‐2410
JACK D WUERSTLE                                    107 BLUE SPRUCE DR                                                                            KENNET SQ       PA    19348‐4114
JACK D YORK                                        11338 OLD ST CHARLES RD                                                                       BRIDGETON       MO    63044‐3143
JACK D YOUNG                                       4217 FOREST RIDGE BLVD                                                                        DAYTON          OH    45424‐4485
JACK DANZIGER                                      156 MEADOWVIEW LANE                                                                           WILLIAMSVILLE   NY    14221‐3532
JACK DASILVA                                       370 GLEN PARK AVENUE                 TORONTO ON                             M6B 2E6 CANADA
JACK DAVID DELLINGER & LESLIE P DELLINGER JT TEN   9175 WOODRUN PL                                                                               PENSACOLA       FL    32514‐5514

JACK DAVID STEWART                                118 DEERWALK CIR                                                                               MARIETTA        OH    45750
JACK DEAN                                         247 E 1550 N                                                                                   SUMMITVILLE     IN    46070‐9355
JACK DEITSCH & HILDA E DEITSCH JT TEN             3308 NORTH LAMER ST                                                                            BURBANK         CA    91504‐1631
JACK DELENO MC AMIS                               4180 OLD SAVANNAH ROAD                                                                         AUGUSTA         GA    30906‐9779
JACK DEMPSEY ADDIS                                3847 ACKERMAN BLVD                                                                             DAYTON          OH    45429‐4512
JACK DEMPSEY MANWELL                              13268 N CLIO RD                                                                                CLIO            MI    48420‐1025
JACK DERRINGER                                    23785 CARLISLE                                                                                 HAZEL PARK      MI    48030‐1428
JACK DETLING                                      4276 SANDBURG WAY                                                                              IRVINE          CA    92612‐2719
JACK DON BARNARD TR UA 02/07/84 JACK DON          1124 HARBOR HILLS LANE                                                                         SANTA BARBARA   CA    93109‐1772
BARNARD TRUST
JACK DONALD ELDRED                                4231 ERINDALE DR                                                                               N FT MYERS      FL    33903‐5029
JACK DOUGLASS METCALF                             918 W 1ST ST                                                                                   MOUNT CARMEL    IL    62863‐1745
JACK E ATKINSON JR                                PO BOX 92                                                                                      WARRENTON       MO    63383‐0092
JACK E BAILEY                                     37065 SHADY DR                                                                                 N RIDGEVILLE    OH    44039‐3619
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JACK E BAKER & CINDY M BAKER JT TEN               554 LEXINGTON MILL RD                                                                        MAGNOLIA          DE    19962‐1545
JACK E BARNES                                     PO BOX 5                                                                                     NAHUNTA           GA    31553‐0005
JACK E BEDIGIAN                                   30514 BROOKVIEW                                                                              LIVONIA           MI    48152‐3472
JACK E BONNO                                      8225 ROCKWOOD AVE                                                                            MT MORRIS         MI    48458‐1311
JACK E BRIDGEMAN JR                               16859 LINDSAY                                                                                DETROIT           MI    48235‐3312
JACK E BRINSON                                    1105 PANOLA ST                                                                               TARBORO           NC    27886‐3001
JACK E BROWN                                      4833 PHALANX MILLS HERNER                                                                    W FARMINGTON      OH    44491‐9729
JACK E BROWN PETLAND                              412 BOLIVAR RD                                                                               WELLSVILLE        NY    14895‐9236
JACK E BURCHFIELD & MARIAN B BURCHFIELD JT TEN    5314 THREE BARS LANE                                                                         SEYMOUR           TN    37865‐3159

JACK E CAUSLEY                                    5099 HURON BREEZE DR                                                                         AU GRES           MI    48703‐9600
JACK E CHAMBERS                                   3746 JURDAN VILLIAGE ROAD                                                                    POLAND            IN    47868‐7144
JACK E CHARBONEAU                                 4116 GERTRUDE                                                                                DEARBORN HGTS     MI    48125‐2820
JACK E COATTA CUST JACK COATTA JR UGMA MI         1886                                SPRINGVALE DR                                            GRAYLING          MI    49738‐6951
JACK E COATTA JR                                  1886 SPRINGVALE DR                                                                           GRAYLING          MI    49738‐6951
JACK E COATTA JR & JACK E COATTA SR JT TEN        1886                                SPRINGVALE DR                                            GRAYLING          MI    49738‐6951
JACK E COOK & MRS BARBARA A COOK JT TEN           800 BELLEVISE AVE                                                                            ELGIN             IL    60120‐3002
JACK E COSTIN                                     6631 CAPTIVA PASS                                                                            PLAINFIELD        IN    46168‐8010
JACK E CUTHBERT                                   1397 W COUNTY LINE ROAD R#1                                                                  SAINT JOHNS       MI    48879
JACK E DE MOSS & JUNE L DE MOSS JT TEN            11767 SHENANDOAH DRIVE                                                                       SOUTH LYON        MI    48178‐9129
JACK E DUTCHER                                    9085 LISCOM RD                                                                               GOODRICH          MI    48438‐9438
JACK E DYER                                       3977 SHADELAND                                                                               DAYTON            OH    45432‐2038
JACK E EHMAN                                      390 SOUTH ST                                                                                 WESTFIELD         IN    46074‐9452
JACK E ERHARDT                                    1328 SUNWOOD DR                                                                              SOUTH BEND        IN    46628‐3833
JACK E FARRELL                                    8291 LANNING RD                                                                              MANTON            MI    49663‐9008
JACK E FATELEY JR                                 3300 LODWICK DR N W                                                                          WARREN            OH    44485‐1567
JACK E FERRER                                     2203 COLLIER DRIVE                                                                           FRANKLIN          TN    37064‐4965
JACK E FINK                                       198 OREGON DR                                                                                XENIA             OH    45385‐4430
JACK E FINNEY                                     540 HARVEST RIDGE DR                                                                         AVON              IN    46123‐7583
JACK E FORESTER                                   10870 DEHMEL RD                                                                              BIRCH RUN         MI    48415‐9706
JACK E FREDERICK & L PAULINE FREDERICK JT TEN     101 N WEST ST                                                                                COUDERSPORT       PA    16915‐1123
JACK E GILLIS                                     1021 E NORTH ST                                                                              LANSING           MI    48906‐4554
JACK E HARMAN                                     1000 OAKWOOD CIR                                                                             KELLER            TX    76248‐4007
JACK E HIGLEY                                     2725 FLINT RIVER RD                                                                          LAPEER            MI    48446‐9045
JACK E HORN                                       7705 W CAMABRAW PARK                                                                         AKRON             IN    46910‐9614
JACK E HRIVNAK                                    437 LARCHWOOD DR                                                                             BEREA             OH    44017‐1003
JACK E INK                                        3187 MIDDLE‐BELLVILLE RD RT7                                                                 MANSFIELD         OH    44904‐9593
JACK E JAGELLO                                    14170 LACAVERA                                                                               STERLING HTS      MI    48313‐5440
JACK E JENKINS                                    1109 NE COLLEEN DR                                                                           LEES SUMMIT       MO    64086‐3542
JACK E KEYES                                      6290 N PORT WASHINGTON ROAD                                                                  MILWAUKEE         WI    53217‐4312
JACK E LAMB & MARY JANE LAMB JT TEN               2835 S 1200 E RD                                                                             ZIONSVILLE        IN    46077‐9646
JACK E LAUBACK                                    127 MEADOWVIEW LANE                                                                          HOHENWALD         TN    38462‐5342
JACK E LAWRENCE                                   1114 W HYLAND ST                                                                             LANSING           MI    48915‐2014
JACK E LIPP                                       8237 BURPEE RD                                                                               GRAND BLANC       MI    48439‐7419
JACK E LLOYD                                      9961 N HIGGINS LAKE DR                                                                       ROSCOMMON         MI    48653‐9091
JACK E LOMBARDO                                   55830 NOCTURNE LN E                                                                          SHELBY TOWNSHIP   MI    48316‐5231

JACK E MC CLEARY & MARIAN B MC CLEARY JT TEN      24971 KIT CARSON ROAD                                                                        CALABASAS         CA    91302‐1136
JACK E MC DONALD                                  505 OCCIDENTAL HIGHWAY                                                                       TECUMSEH          MI    49286
JACK E MC GEE                                     301 N PALMWAY                                                                                LAKE WORTH        FL    33460‐3518
JACK E MC VOY                                     1377 SHERWOOD RD                                                                             WILLIAMSTON       MI    48895‐9668
JACK E MECHLING & SUZETTE K MECHLING JT TEN       26995 VALESIDE LN                                                                            OLMSTED FALLS     OH    44138‐3126
JACK E MILOR                                      1400 TOPPING AVE                    APT 606                                                  KANSAS CITY       MO    64126‐2085
JACK E MOON                                       4374 RIDGE RD NE                                                                             CORTLAND          OH    44410‐9728
JACK E MOORE                                      1244 DUNCAN DR                                                                               MILFORD           OH    45150‐9731
JACK E NEAL                                       200 WHISPERING WIND COURT                                                                    ENGLEWOOD         OH    45322
JACK E NIEMI                                      2407 CANOE CIRCLE DR                                                                         LAKE ORION        MI    48360‐1884
JACK E NURNBERG                                   6044 GARFIELD                                                                                FREELAND          MI    48623‐9046
JACK E OBENOUR                                    810 E DEBBY LANE                                                                             MANSFIELD         OH    44906‐1006
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Name                                                 Address1                             Address2             Address3          Address4          City             State Zip

JACK E OLLILA                                        5625 CHEROKEE                                                                                 WASHINGTON       MI    48094‐2013
JACK E PEELER                                        26073 BREST RD                                                                                TAYLOR           MI    48180‐6215
JACK E RIDLEY & DONNA M RIDLEY JT TEN                5403 MC MAMARA LANE                                                                           FLINT            MI    48506
JACK E ROBERTSON & MARGARET L ROBERTSON JT TEN       12951 KIMBERLY LANE                                                                           HOUSTON          TX    77079‐6124

JACK E ROBINSON                                      721 EDDINGTON COURT                                                                           BLOOMINGTON      IN    47401‐8624
JACK E ROBINSON & CATHERINE S ROBINSON JT TEN        532 ASHLEY RD                                                                                 CANTONMENT       FL    32533‐5611

JACK E RODAL                                         161 LATIMER MILL RD                                                                           HONEA PATH       SC    29654‐8909
JACK E ROERINK                                       4763 WLADON ROAD                                                                              CLARKSTON        MI    48348‐5016
JACK E ROERINK & DOROTHY L ROERINK JT TEN            4763 WALDON RD                                                                                CLARKSTON        MI    48348‐5016
JACK E SATTERFIELD & SUZANNE SATTERFIELD JT TEN      11120 WREN DR                                                                                 NORTH            PA    15642‐7406
                                                                                                                                                   HUNTINGDON
JACK E SAVAGE & PAULA J SAVAGE JT TEN                1504 MAGNOLIA DR                                                                              ANDERSON         IN    46011‐3040
JACK E SCHOLZ JR                                     5505 SEYBOLD ROAD                                                                             BROOKVILLE       OH    45309‐8245
JACK E SCOGGAN                                       2424 NORTH GERRARD DRIVE                                                                      INDIANAPOLIS     IN    46224‐5044
JACK E SHIPWASH                                      PO BOX 431                                                                                    SANTA FE         TX    77510‐0431
JACK E SHOEMAKER                                     8950 RAVINE AVE NW                                                                            PICKERINGTON     OH    43147‐9692
JACK E SIMPSON                                       566 S SCOTT ST                                                                                ADRIAN           MI    49221‐3238
JACK E SMALL                                         1505 DUNLAP RD                                                                                FORT MOHAVE      AZ    86426‐8810
JACK E SMITH                                         PO BOX 25                                                                                     HEMLOCK          IN    46937‐0025
JACK E SPAANS SR                                     3300 ORIOLE S W                                                                               WYOMING          MI    49509‐3439
JACK E STEAD & JUDY STEAD TEN ENT                    60355 SUNRIDGE DR                                                                             BEND             OR    97702‐9618
JACK E STINES                                        4758 STONE AV                                                                                 SAINT LOUIS      MO    63123‐5842
JACK E TAYLOR & JUDITH A TAYLOR JT TEN               125 KERSHAW LN                                                                                MC CORMICK       SC    29835‐5701
JACK E THEURER                                       519 WHARTON                                                                                   MARION           IN    46952‐2002
JACK E TUBBS                                         9060 N ELMS ROAD                                                                              CLIO             MI    48420‐8509
JACK E TURNER                                        6675 GOODALL RD                                                                               CORUNNA          MI    48817‐9573
JACK E VAUGHN                                        PO BOX 1501                                                                                   BELTON           MO    64012‐6501
JACK E VER STRATE                                    4925 SUMMERGREEN LANE                                                                         HUDSONVILLE      MI    49426‐1625
JACK E WALKER                                        14895 SWAN CREEK RD                                                                           HEMLOCK          MI    48626‐9766
JACK E WALTERS & LEONORA WALTERS JT TEN              2434 GOLFVIEW CIR                                                                             FENTON           MI    48430‐9633
JACK E WARD                                          PO BOX 50                                                                                     GAINSVILLE       TX    76241‐0050
JACK E WEBB                                          325 BRIDGE ST                                                                                 FRANKLIN         OH    45005‐1607
JACK E WEBB                                          14260 WEST NEWBERRY ROAD                                                                      NEWBERRY         FL    32669‐2765
JACK E WESTLUND                                      2495 FEATHERSTONE DR                                                                          LANSING          MI    48911‐6496
JACK E WHITMORE                                      8700 CORRISON RD                                                                              GRAND LEDGE      MI    48837‐8217
JACK E WITNER & MRS ISABELLE J WITNER JT TEN         479 BEECH ROW                                                                                 BARBERTON        OH    44203‐6602
JACK E WOLF                                          10101 BURNT STORE RD                 LOT 112                                                  PUNTA GORDA      FL    33950‐8924
JACK E ZIMMERMAN & JANE M ZIMMERMAN JT TEN           201 SOUTH ST                                                                                  E TAWAS          MI    48730‐9771

JACK E ZIMMERMAN & JANE M ZIMMERMAN JT TEN           201 SOUTH ST                                                                                  EAST TAWAS       MI    48730‐9771

JACK EARL JONES                                      2793 WARRIOR DRIVE                                                                            WIXOM             MI   48393‐2177
JACK ECKHARDT JR                                     822 SHELLBARK RD                                                                              ANDERSON          IN   46011‐2421
JACK ELIOT BUTMAN                                    4138 NE 174 CT                                                                                SILVER SPRINGS    FL   34488‐4744
JACK ELLIOTT                                         2501 OLD STATE ROAD 37 N                                                                      BEDFORD           IN   47421‐8082
JACK ENGSTROM                                        1112 BERKENSHIRE                                                                              ELK GROVE VILLAGE IL   60007‐3422

JACK EVANS                                           3141 P ST NW                                                                                  WASHINGTON       DC    20007‐3079
JACK F ARMSTRONG                                     56966 BOW DR                                                                                  THREE RIVERS     MI    49093‐9097
JACK F BEBEE & SHIRLEY M BEBEE JT TEN                459 LAWRENCE DR                                                                               PORTLAND         MI    48875‐1635
JACK F BIRDSONG & PAULINE P BIRDSONG JT TEN          7397 W FM 455                                                                                 CELINA           TX    75009‐4133
JACK F CARNES & CELIA A CARNES JT TEN                8129 NE 98TH ST                                                                               KANASA CITY      MO    64157‐7781
JACK F CONLEY & JOANN W CONLEY JT TEN                3139 KIRKHAM DR                                                                               GLENDALE         CA    91206‐1129
JACK F CRADY                                         3417 JARVIS RD                                                                                HILLSBORO        MO    63050‐3823
JACK F FANTA TR UA 10/17/02 JACK F FANTA LIV TRUST   9015 LYDGATE DR                                                                               DALLAS           TX    75238‐3541

JACK F GARLAND & DELLA M GARLAND JT TEN              10332 CLANCEY AVE                                                                             DOWNEY           CA    90241‐2769
                                              09-50026-mg              Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
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Name                                             Address1                             Address2                     Address3   Address4          City             State Zip

JACK F HETZEL                                    1409 WOODLEY ROAD                                                                              DAYTON           OH    45403‐1631
JACK F KAMPA                                     4384 SOWELL HOLLOW RD                                                                          COLUMBIA         TN    38401‐8474
JACK F KNAPP                                     8236 REPUBLIC                                                                                  WARREN           MI    48089‐1630
JACK F KNAPP JR                                  3210 CHASE LAKE RD                                                                             HOWELL           MI    48843‐9316
JACK F LOOMAN                                    1345 BITONTI ST                                                                                MORGANTOWN       WV    26505‐7207
JACK F LYNCH                                     2075 E GEARHART RD                                                                             SIDNEY           OH    45365‐8285
JACK F SANDERS                                   1490 WILSON AVENUE                                                                             SAGINAW          MI    48603‐4793
JACK F STEWART                                   88 OVERLOOK DRIVE                                                                              ALLIANCE         OH    44601‐3917
JACK F TEIXEIRA JR                               4197 COUNTRY DR                                                                                FREMONT          CA    94536‐6809
JACK F WADE                                      207 EAST DRIVE                                                                                 PRINCETON        WV    24740‐2022
JACK F WADE & MARY C WADE JT TEN                 207 EAST DR                                                                                    PRINCETON        WV    24740‐2022
JACK F WILSON                                    1722 OKLAHOMA                                                                                  FLINT            MI    48506‐4624
JACK FISHER CUST JORDAN FISHER UTMA IL           30 E. ELM ST. #21D                                                                             CHICAGO          IL    60611
JACK FOLEY                                       EL ROYALE                            450 N ROSSMORE AVE APT 501                                LOS ANGELES      CA    90004
JACK FREW & MRS PHYLLIS FREW JT TEN              332 21ST ST N W                                                                                MASSILLON        OH    44647‐6106
JACK FROST JR                                    7129 WARD ROAD                                                                                 ORCHARD PARK     NY    14127‐3815
JACK G BOATWRIGHT JR                             2335 STEEP LANDING RD                                                                          CONWAY           SC    29526‐7833
JACK G BOWER & CHARLOTTE R BOWER JT TEN          919 E FRONT ST                                                                                 BERWICK          PA    18603‐4919
JACK G BRADSHAW                                  4100 SOMERSET CRT                                                                              GRAPEVINE        TX    76051
JACK G DIAMOND TR ANNETTE L DIAMOND UA 5/11/74   8025 DE SOTO AVE                                                                               CANOGA PARK      CA    91304‐5117

JACK G FEMYER                                    2707 N LEXINGTON DR APT 109                                                                    JANESVILLE       WI    53545‐0340
JACK G INCH                                      2905 EVERGREEN DR                                                                              ROYAL OAK        MI    48073‐3220
JACK G KUDRAY                                    17825 N 46TH DRIVE                                                                             GLENDALE         AZ    85308‐1508
JACK G KUDRAY                                    17825 NO 46TH DRIVE                                                                            GLENDALE         AZ    85308‐1508
JACK G LEMMON                                    580 LONGFORD                                                                                   ROCHESTER HLS    MI    48309‐2415
JACK G MCKINNEY & JOYCE E MCKINNEY JT TEN        5410 WATERS ST                                                                                 ZEPHYRHILLS      FL    33542
JACK G PARKHURST                                 6209 LAKE RIDGE ROAD                                                                           ARLINGTON        TX    76016‐2635
JACK G RHODES                                    723 LAKESHORE DR                                                                               BEAVER DAM       WI    53916‐1433
JACK G SNYDER                                    01374 CO RD 15                                                                                 BRYAN            OH    43506‐9763
JACK G TERKEURST & CORINNE TERKEURST JT TEN      2467 COLLEGE NE                                                                                GRAND RAPIDS     MI    49505‐3638
JACK G TOWNLEY                                   5990 MEADOW CREEK DR APT 5                                                                     MILFORD          OH    45150‐6520
JACK G TURPEL                                    300 SOUTH KENWOOD                                                                              ROYAL OAK        MI    48067‐3993
JACK G WEBER & BETTY J WEBER JT TEN              1264 HEATHERCREST DR                                                                           FLINT            MI    48532‐2642
JACK G WOOD                                      4432 W CIELO GRANDE                                                                            GLENDALE         AZ    85310‐3904
JACK GACONOI MASON                               1519 SUNSET BLVD                                                                               MONROE           MI    48161‐4376
JACK GARDNER                                     536 JONES ROAD                                                                                 KERSHAW          SC    29067‐9197
JACK GARDNER GLEN                                26 CLIFF ST                                                                                    ARLINGTON        MA    02174‐5944
                                                                                                                                                HEIGHTS
JACK GEDALIUS & MARY GEDALIUS TR GEDALIUS LIVING 716 HILLCREST PL                                                                               N WOODMERE       NY    11581‐3128
TRUST UA 04/09/99
JACK GEDALIUS TR GEDALIUS LIVING TRUST UA 4/9/99 716 HILLCREST PLACE                                                                            VALLEY STREAM    NY    11581‐3128

JACK GERMAN TR JACK GERMAN REVOCABLE TRUST UA    2067 ISLAND CIR                                                                                WESTON           FL    33326‐2342
12/07/98
JACK GIAMPALMI & JOYCE GIAMPALMI JT TEN          975 RIDGE RD                                                                                   BRICK            NJ    08724‐1091
JACK GIBSON                                      47739 ORMSKIRK DR                                                                              CANTON           MI    48188‐7237
JACK GILBERT WEBER                               1264 HEATHERCREST DRIVE                                                                        FLINT            MI    48532‐2642
JACK GILLETTE                                    P O BOX 71                                                                                     LAKE GEORGE      NY    12845
JACK GOLDBERG                                    31 BEACON HILL DRIVE                                                                           EAST BRUNSWICK   NJ    08816‐3435
JACK GOLDMAN & ARTHUR GOLDMAN JT TEN             4530 N MOODY AVE                                                                               CHICAGO          IL    60630‐3009
JACK GOLDSTONE & GERTRUDE B GOLDSTONE JT TEN     17‐09 GREENWOOD DR                                                                             FAIR LAWN        NJ    07410‐4533

JACK GOODEN                                      2575 OUIDA DR                                                                                  GADSDEN          AL    35903‐7623
JACK GRIGORIAN & MRS ANGELINE GRIGORIAN JT TEN   19903 IRVING DR                                                                                LIVONIA          MI    48152‐4115

JACK GUTMAN & LUCY GUTMAN JT TEN                 49‐15 WEEKS LANE                                                                               BAYSIDE          NY    11365‐1347
JACK H ABRAHAM JR                                291 SCENIC GULF DR UNIT 1003         MIRAMAR BCH                                               MIRAMAR BEACH    FL    32550
JACK H BAIN & SANDRA J BAIN JT TEN               BOX 35                                                                                         CAMBY            IN    46113‐0035
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Name                                              Address1                               Address2                     Address3   Address4          City               State Zip

JACK H BANKEAD & MARY K BANKEAD JT TEN            1603 PONDEROSA TRAIL                                                                             SACHSE             TX    75048‐3623
JACK H BEARD                                      35733 CANDLEWOOD DR                                                                              STERLING HEIGHTS   MI    48312‐4123

JACK H BEARD & JUDITH E BEARD JT TEN              35733 CANDLEWOOD DR                                                                              STERLING HEIGHTS   MI    48312‐4123

JACK H BECKWITH                                   PO BOX 183                                                                                       ENGADINE           MI    49827‐0183
JACK H BECKWITH & ROXANNE C BARRY JT TEN          PO BOX 183                                                                                       ENGADINE           MI    49827‐0183
JACK H BLAIR JR & JOY E BLAIR JT TEN              9930 VICTOR DR                                                                                   OLIVE BRANCH       MS    38654‐6241
JACK H BOND                                       1315 FAIRVIEW ROAD                                                                               ELLENWOOD          GA    30294‐2534
JACK H BRINKS                                     14131 MIDWAY ROAD                      SUITE                        800                          ADDISON            TX    75001
JACK H BROWN                                      77 OLD FRIENDSHIP LN                                                                             DAWSONVILLE        GA    30534‐7391
JACK H BROWN                                      723 KENTON                                                                                       TAYLORVILLE        IL    62568‐1112
JACK H CHANDLER JR                                621 STOVALL RD                                                                                   GREENVILLE         GA    30222‐1340
JACK H CLEGG                                      10517 HIBISCUS DR                                                                                PORT RICHEY        FL    34668‐2831
JACK H COUCH JR                                   430 LAGRANGE ST                                                                                  GREENVILLE         GA    30222‐1300
JACK H COULTER                                    2627 FREMBES                                                                                     DRAYTON PLAIN      MI    48020
JACK H DRAYTON                                    905 E DILL DR                                                                                    DE WITT            MI    48820‐9313
JACK H FORD & JANET M FORD JT TEN                 5171 E FAIR DR #D                                                                                LITTLETON          CO    80121‐3413
JACK H GARWOOD                                    1417 TOLMA AVE                                                                                   PITTSBURGH         PA    15216‐2033
JACK H GOLEN TR JACK H GOLEN REVOCABLE TRUST UA   2807 N. WINDSOR DRIVE                                                                            ARLINGTON HTS      IL    60004
12/02/99
JACK H HYATT                                      PO BOX 141                                                                                       LABELLE            FL    33975‐0141
JACK H JUSTICE                                    406 WOOD RIVER AVE                                                                               EAST ALTON         IL    62024‐1427
JACK H KEENE                                      11 HEATHFIELD CT                                                                                 SIMPSONVILLE       SC    29681‐4483
JACK H KEENE & MARIE J KEENE JT TEN               11 HEATHFIELD CT                                                                                 SIMPSONVILLE       SC    29681‐4483
JACK H KEENE JR                                   2290 POSADA COURT                                                                                CORONA             CA    92879‐8201
JACK H KILBOURNE                                  9338 SWAFFER RD                                                                                  VASSAR             MI    48768‐9683
JACK H KING                                       3600 MAPLE DRIVE L H                                                                             CRAWFORDSVILLE     IN    47933‐8626

JACK H MAFFETT SR                                 619 COLLEGE ST                                                                                   MONTEZUMA          GA    31063
JACK H MCFALL                                     703 RALEIGH AVE                                                                                  SOUTH HILL         VA    23970‐1212
JACK H MCFALL & JANET L MCFALL JT TEN             703 RALEIGH AVE                                                                                  SOUTH HILL         VA    23970‐1212
JACK H MILLER                                     3664 US HWY 6                                                                                    ROME               OH    44085‐9673
JACK H MILLER & ETHELYN J MILLER JT TEN           1670 ALCAZAR WAY                                                                                 FORT MOHAVY        AZ    86426‐8329
JACK H MITCHELL 3RD                               128 BRIDGETON DRIVE                                                                              GREENVILLE         SC    29615‐2653
JACK H NICHOLS                                    2 SONDERHEN DR                                                                                   NAPLES             FL    34114‐8211
JACK H NICHOLS                                    2 SONDERHEN DR                                                                                   NAPLES             FL    34114‐8211
JACK H NICHOLS & DORIS J NICHOLS JT TEN           229B PONTIAC DR                                                                                  SYLVAN LAKE        MI    48320
JACK H O MALLEY & LINDA A O MALLEY JT TEN         842 CROSSTREE LN                                                                                 SANDUSKY           OH    44870‐6550
JACK H RHONEMUS                                   1316 WILLOW TREE DR                                                                              WOODSTOCK          GA    30188‐4644
JACK H ROBINSON                                   35 E ADAMS ST                                                                                    JACKSONVILLE       FL    32202‐3301
JACK H RUMSEY                                     27329 PLEASANT DR                                                                                WARREN             MI    48093‐4847
JACK H SIBLEY                                     PO BOX 30644                                                                                     MIDWEST CITY       OK    73140‐3644
JACK H SITZE                                      7738 MILL RUN RD                                                                                 FORT WAYNE         IN    46819‐1869
JACK H SOBJACK                                    52547 OVERLOOK TRAIL                                                                             NEW BALTIMORE      MI    48047‐1477
JACK H SPIVEY                                     110 FOX HOLE COURT                                                                               LOGANVILLE         GA    30052‐2696
JACK H SWISSLER                                   1146 S FAIRVIEW                                                                                  LOMBARD            IL    60148‐4038
JACK H TABARELLA & GAIL ZUPANIC JT TEN            111 FORBES ST                                                                                    BRIDGEVILLE        PA    15017‐1227
JACK H TAYLOR                                     428 WASHINGTON TERR                                                                              AUDUBON            NJ    08106‐2109
JACK H THACKER                                    PO BOX 93                                                                                        MATTAWAN           MI    49071‐0093
JACK H TRAXLER                                    5900 COMMERCE ROAD                                                                               ORCHARD LAKE       MI    48324‐3202
JACK H VOGT                                       3740 22ND ST NW                                                                                  CANTON             OH    44708‐2340
JACK H WADE JR                                    5700 RHODES AVE                                                                                  NEW ORLEANS        LA    70131‐3924
JACK H WARD                                       6450 GLYN OAKS LANE                                                                              ATLANTA            GA    30328‐4194
JACK HAROLD CUNNINGHAM                            C/O VIOLET CUNNINGHAM                  2820 S MEMORIAL DR APT 306                                NEW CASTLE         IN    47362‐1165
JACK HARRINGTON                                   745 SAID RD                                                                                      PADUCAH            KY    42003‐1363
JACK HENDERSON                                    PO BOX 1168                                                                                      CARROLLTON         GA    30112‐0022
JACK HENDERSON                                    5882 ROMEYN ST                                                                                   DETROIT            MI    48209‐1639
JACK HENRY HELLABY                                208 RICHARDS AVE                                                                                 NORWALK            CT    06850‐2728
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Name                                            Address1                             Address2             Address3          Address4          City             State Zip

JACK HERR SHELBY                                710 MARINA PARK DR                                                                            HUNTSVILLE       AL     35803‐3034
JACK HIGHFILL                                   BOX 2                                                                                         NEWCASTLE        WY     82701
JACK HILL & FLORELL BAUMGARTNER JT TEN          PO BOX 370                                                                                    HASTINGS         MI     49058‐0370
JACK HOLLANDER & BETH HOLLANDER JT TEN          616 N WALDEN DR                                                                               BEVERLY HILLS    CA     90210‐3109
JACK HOSKINS                                    10221 WAYNE                                                                                   LIVONIA          MI     48150‐2625
JACK HULYK                                      8326 DANBURG LN                                                                               HUDSON           FL     34667‐6526
JACK HW BEEDLE                                  PO BOX 128                                                                                    YODER            CO     80864‐0128
JACK I BEAR JR                                  1649 BROOKSIDE CIRCLE EAST                                                                    JACKSONVILLE     FL     32207‐2407
JACK I BELKIN                                   7318 70TH ST                         APT 2                                                    RIDGEWOOD        NY     11385‐7105
JACK I KELLEY & PATRICIA LYNN KELLEY JT TEN     26769 SAN GONZALO                                                                             MISSION VIEJO    CA     92691‐6228
JACK I WILDE                                    PK 70                                JELGAVA              LV 3040           LATVIA GERMANY
JACK I WILLIAMS                                 PO BOX 704                           ST RT 636                                                DELTAVILLE       VA     23043
JACK I YOUNG JR                                 1275 DEERFIELD DR                                                                             IOWA CITY        IA     52246‐8609
JACK IRELAND                                    PO BOX 64                            7882 UNION RD        FINGAL ON         N0L 1K0 CANADA
JACK IVAN GROSS                                 3466 TIMBERBROOK CT                                                                           DANVILLE           IN   46122‐9583
JACK IVAN GROSS & PAMELA KAY GROSS JT TEN       3466 TIMBERBROOK COURT                                                                        DANVILLE           IN   46122‐9583
JACK J BABCOCK                                  PO BOX 202                                                                                    MAPLE RAPIDS       MI   48853‐0202
JACK J BESECKER                                 10399 67TH AVE                       LOT 68                                                   SEMINOLE           FL   33772‐6408
JACK J BRAITMAN                                 872 PEBBLEWAY                                                                                 MANTECA            CA   95336‐2713
JACK J CAVANAGH                                 120 S CENTRAL STE 420                                                                         ST LOUIS           MO   63105‐1705
JACK J DERAMUS                                  5322 HARDING ST                                                                               DETROIT            MI   48213‐3368
JACK J DICARLO                                  9216 WALDORF DR                                                                               ST LOUIS           MO   63137‐1614
JACK J DICARLO & ROSALYN L DI CARLO JT TEN      9216 WALDORF DR                                                                               ST LOUIS           MO   63137‐1614
JACK J GIASONE                                  22807 PORT ST                                                                                 SAINT CLAIR SHORES MI   48082‐2487

JACK J HETTLER                                  1495 WALDRON RD S                                                                             CRYSTAL          MI     48818‐9748
JACK J HILL JR                                  315 THOMAS PLACE                                                                              WASHINGTON       NC     27889‐3267
JACK J HULL                                     3048 S GENESEE RD                                                                             FLINT            MI     48519‐1420
JACK J JOHNSON                                  8334 RICH ROAD                                                                                MAYVILLE         MI     48744‐9312
JACK J JOHNSON JR                               108 WEST RD                                                                                   ALBANY           GA     31705
JACK J LOESEL                                   3750 BUCK RD                                                                                  GAYLORD          MI     49735‐9485
JACK J MC MENAMIN & MRS MARIE B MC MENAMIN JT   5 GUERNSEY LANE                                                                               EAST BRUNSWICK   NJ     08816‐3506
TEN
JACK J MILLER                                   7038 LEWISTON RD                                                                              OAKFIELD         NY     14125‐9701
JACK J PEMBERTON                                513 BEACHFRONT DR                                                                             EVANSVILLE       IN     47715
JACK J PRAY                                     1148 WISNER ST                                                                                MOUNT MORRIS     MI     48458‐1612
JACK J VERMESON                                 132 LEVAN AVE                                                                                 LOCKPORT         NY     14094‐3234
JACK J WAINA                                    213 KELSO CIR                                                                                 TRAPPE           PA     19426‐2147
JACK J WAINA & PATRICIA WAINA JT TEN            213 KELSO CIR                                                                                 TRAPPE           PA     19426‐2147
JACK JONES                                      613 MUSSEY AVE                                                                                ELYRIA           OH     44035
JACK JORDAN                                     17460 FLEMING                                                                                 DETROIT          MI     48212‐1052
JACK K BANKS                                    5455 N DAYTON LAKE VIEW RD                                                                    NEW CARLISLE     OH     45344‐9592
JACK K BARNHART                                 170 SOUTH REED RD                                                                             CORONNA          MI     48817‐9529
JACK K BROWN                                    926 SUMMERLIN CT                                                                              ANDERSON         IN     46011‐9021
JACK K CARTER                                   W8790 R & D TOWNLINE RD                                                                       DELAVAN          WI     53115
JACK K MARSHALL JR                              2660 HOLLY LANE NORTH                                                                         PLYMOUTH         MN     55447‐1727
JACK K MILLER                                   8683 BOARDTOWN RD                                                                             ELLIJAY          GA     30540‐0527
JACK K MILLER JR                                8683 BOARDTOWN RD                                                                             ELLIJAY          GA     30540‐0527
JACK K STROBEL                                  82 BLOOMFIELD PLACE                                                                           ROCHESTER        NY     14620‐1504
JACK K TANIS & SHARON L TANIS JT TEN            34061 SEQUOIA                                                                                 WESTLAND         MI     48185‐2707
JACK K WAGNER & ZILLA R WAGNER JT TEN           2304 WARM SPRINGS AVENUE                                                                      HUNTINGTON       PA     16652‐2940
JACK K WATSON                                   11 LADBROOKE ROAD                    ETOBICOKE ON                           M9R 2A7 CANADA
JACK K WEBSTER                                  33433 SCHOENHERR RD                  APT 223                                                  STERLING HTS     MI     48312‐6366
JACK K WILKERSON                                6760 WINTERWOOD DR                                                                            SHINGLETOWN      CA     96088‐9792
JACK KEITH LEONARD & MRS REBECCA P LEONARD JT   9781 MOONSTONE PL                                                                             MCCORDSVILLE     IN     46055‐9449
TEN
JACK KELLEY                                     577 APACHE LN                                                                                 MASON            OH     45040‐1468
JACK KELLY & MARY KELLY JT TEN                  11344 NORTH LAKE SHORE DRIVE                                                                  MEQUON           WI     53092‐3534
JACK KELLY JOHNSTON JR                          12500 RIVER RD                                                                                RICHMOND         VA     23238‐6135
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Name                                            Address1                            Address2             Address3          Address4          City             State Zip

JACK L ADAMS                                    18635 RAUCHOLZ RD                                                                            OAKLEY           MI    48649‐9775
JACK L ADDINGTON                                729 GREENBRIER SE                                                                            GRAND RAPIDS     MI    49546‐2241
JACK L AMY                                      877 WOODLAND                                                                                 PONTIAC          MI    48340‐2567
JACK L BAILEY                                   8641 HARDING                                                                                 CENTER LINE      MI    48015‐1597
JACK L BAKER                                    PO BOX 1594                                                                                  AIKEN            SC    29802‐1594
JACK L BALS                                     3432 WOODLAND                                                                                HIGHLAND         MI    48356‐2369
JACK L BASSEMER                                 3307 CANADAY DR                                                                              ANDERSON         IN    46013‐2214
JACK L BEACH                                    2655 FARMERSVILLE‐JOHNSVL                                                                    FARMERSVILLE     OH    45325‐9236
JACK L BELTZ                                    997 OKATIE DR                                                                                GALLOWAY         OH    43119‐8106
JACK L BREWER                                   2590 MACK RD                                                                                 FAIRFIELD        OH    45014‐5127
JACK L BROUGHTON                                10843 SPENCER RD                                                                             ST CHARLES       MI    48655‐9572
JACK L BURNHAM                                  734 W CHURCH RD                                                                              MORRICE          MI    48857‐9779
JACK L CALL                                     35 JUNE ELLEN LN                                                                             WINTER GARDEN    FL    34787
JACK L CAMILLERI                                1605 BUELL COURT                                                                             ROCHESTER        MI    48306‐1306
JACK L CAMILLERI & NANCY L CAMILLERI JT TEN     1605 BUELL COURT                                                                             ROCHESTER        MI    48306‐1306
JACK L CHILDERS                                 9706 SHARON DR                                                                               TAYLOR           MI    48180‐3086
JACK L CLAWSON                                  223 DEAN DRIVE                                                                               FARMERSVILLE     OH    45325‐1202
JACK L CONKLIN JR                               45127 M‐51 WEST                                                                              DECATUR          MI    49045‐9039
JACK L CORMIER                                  395 N POINT DR                                                                               MERIDIAN         MS    39305‐8720
JACK L COURSER                                  9370 HUBBARD RD                                                                              DAVISON          MI    48423‐9370
JACK L COWLES                                   3954 CAMINO DE LA CUMBRE                                                                     SHERMAN OAKS     CA    91423‐4520
JACK L COX & BARBARA J COX JT TEN               1741 TRI‐COUNTY HIGHWAY                                                                      WILLIAMSBURG     OH    45176‐9208
JACK L DAVIS                                    3651 N 200 W                                                                                 ANDERSON         IN    46011‐9213
JACK L DENNEY                                   920 CLAYTON DR                                                                               LANCASTER        OH    43130‐2025
JACK L DUDDE                                    35918 SOMERSET                                                                               WESTLAND         MI    48186‐4115
JACK L ELIJAH                                   1526 SHERWOOD DRIVE                                                                          ANDERSON         IN    46012‐2828
JACK L ELIJAH & BETTE B ELIJAH JT TEN           1526 SHERWOOD DRIVE                                                                          ANDERSON         IN    46012‐2828
JACK L FLANAGAN                                 1340 FORELAND DR                                                                             OXFORD           MI    48371‐6008
JACK L FRANKLIN & AGNES FRANKLIN JT TEN         3721 FLAMINGO LN                                                                             IRVING           TX    75062‐8424
JACK L FREEMAN                                  3560 PINE GROVE                     #175                                                     PORT HURON       MI    48060‐1994
JACK L GASTON                                   10548 AYRES                                                                                  LOS ANGELES      CA    90064‐3310
JACK L HACKERT                                  1400 RIGHT PRONG BLUE BUCK RD                                                                DUCK RIVER       TN    38454‐3712
JACK L HADLEY                                   8129 S CO RD 300W                                                                            CLAYTON          IN    46118‐8942
JACK L HALL                                     123 BOOMERANG RD                                                                             HARRISVILLE      PA    16038‐1401
JACK L HALL II                                  20 RIDGEFIELD DRIVE                                                                          CHURCHVILLE      NY    14428
JACK L HAMILTON                                 1895 CHESTNUT ST                                                                             HOLT             MI    48842‐1637
JACK L HANNOLD                                  PO BOX 284                                                                                   OLIVET           MI    49076‐0284
JACK L HEDLESTON                                2606 ALLISTER CR                                                                             MIAMISBURG       OH    45342‐5849
JACK L HILLS                                    6175 OAKHURST PARK DR                                                                        AKRON            MI    48701‐9754
JACK L HINSON                                   BOX 255                                                                                      TRIMBLE          TN    38259‐0255
JACK L HOWE III                                 7630 DOWDY ST                                                                                GILROY           CA    95020‐5010
JACK L IRWIN & PEGGY A IRWIN JT TEN             3372 ANN DR                                                                                  FLUSHING         MI    48433‐2366
JACK L KNAPTON                                  10513 N FOREST                                                                               KANSAS CITY      MO    64155‐1952
JACK L LADING                                   603 W MAIN ST                                                                                MADISON          OH    44057‐3137
JACK L LAMB                                     3323 PASADENA PLACE                                                                          SAGINAW          MI    48603‐2344
JACK L LAVERTY                                  147 E ELM ST                        PO BOX 495                                               ELSIE            MI    48831‐0495
JACK L LIMBERT                                  6709 S OVERLOOK DR                                                                           DALEVILLE        IN    47334‐9603
JACK L LINTNER & LINDA L LINTNER JT TEN         289 RIVERVIEW DR                                                                             COLDWATER        MI    49036
JACK L LOW                                      5710 HOBNAIL CIR                                                                             W BLOOMFIELD     MI    48322‐1630
JACK L LUCAS                                    245 STATE PARK DR                                                                            BAY CITY         MI    48706‐1760
JACK L MAC DONALD                               3707 N COLEMAN ROAD                                                                          COLEMAN          MI    48618‐9508
JACK L MADDEN                                   326 COUNTRY LN                                                                               OAK GROVE        LA    71263‐8311
JACK L MANNING                                  205 WALHALLA COURT                                                                           ATLANTA          GA    30350‐1190
JACK L MANUS                                    9780 LICK CREEK RD                                                                           BUNCOMBE         IL    62912‐3127
JACK L MARTIN & SANDRA J MARTIN JT TEN          216 PLACID DR                                                                                IRMO             SC    29063‐7796
JACK L MCGOWAN & PATRICIA J MCGOWAN JT TEN      1415 ROSELAWN AVE                                                                            LANSING          MI    48915‐2243

JACK L MCGUFFIN                                 3910 OLD ABBE RD                                                                             SHOFFIELD VILLAGE OH   44054
                                            09-50026-mg                  Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                              Address2             Address3          Address4          City              State Zip

JACK L MILLER                                    1909 YOULL STREET                                                                               NILES             OH    44446‐4018
JACK L MITCHELL                                  4068 MICHAEL AVE                                                                                LOS ANGELES       CA    90066‐5116
JACK L MITCHELL TR JACK L MITCHELL REV TRUST UA  5475 E 750 SOUTH                                                                                BROWNSBURG        IN    46112
12/15/98
JACK L MITCHELL TR REVOCABLE TRUST OF JACK L     5475 E 750 S                                                                                    BROWNSBURG        IN    46112
MITCHELL UA 9/16/99
JACK L MOONEY                                    4106 WILLOW RUN                                                                                 BEAVERCREEK       OH    45430‐1529
JACK L MORENCY                                   216 HOLMES ST                                                                                   DURAND            MI    48429‐1526
JACK L MORRISON                                  112 OLDE BROOK CT                                                                               NORMAN            OK    73072‐4555
JACK L MURPHY                                    5531 GRAND CRESENT DR                                                                           GALENA            OH    43021‐8554
JACK L NICHOLS                                   4565 FLOWERS RD                                                                                 MANSFIELD         OH    44903‐8619
JACK L NOVAK                                     113 LAKE HILL DR                                                                                STEGER            IL    60475‐1583
JACK L OARD                                      PO BOX 83                                                                                       ATTICA            MI    48412‐0083
JACK L PETERS                                    5675 ROUGH CT                                                                                   GLADWIN           MI    48624‐8739
JACK L REMMELE                                   1841 7TH ST NW                                                                                  GRAND RAPIDS      MI    49504‐4801
JACK L REYNOLDS                                  2119 GLENSIDE AVE                                                                               NORWOOD           OH    45212‐1141
JACK L RUSSELL                                   320 VILLAGE DR D                                                                                SAINT AUGUSTINE   FL    32084‐9075
JACK L SCHAUBLE                                  PO BOX 88                                                                                       COMPTON           IL    61318‐0088
JACK L SCHMITT CUST JOHN WILLIAM SCHMITT UGMA IL 333 N POWDER MILL RD                                                                            BELLEVILLE        IL    62223‐1109

JACK L SCHMITT CUST KATHY MARIE SCHMITT UGMA IL   127 REGENCY PARK                                                                               O FALLON          IL    62269‐1869

JACK L SCHOONFIELD                                23107 PLAYVIEW ST                                                                              SAINT CLAIR SHORES MI   48082‐1394

JACK L SCHULTZ                                    1235 E WILDERMUTH                                                                              OWOSSO            MI    48867‐9687
JACK L SHARP                                      2801 W LONG MEADOW LN                                                                          MUNCIE            IN    47304‐5892
JACK L SISK                                       3490 KERR HILL RD                                                                              LYNNVILLE         TN    38472‐5530
JACK L STEWART                                    4588 FLAT SHOALS PKWY                                                                          DECATUR           GA    30034‐5004
JACK L STEWART & AILENE W STEWART JT TEN          4588 FLAT SHOALS PKWY                                                                          DECATUR           GA    30034‐5004
JACK L STONE                                      820 N BOONVILLE ST                                                                             OTTERVILLE        MO    65348‐2122
JACK L STONER                                     PO BOX 248                                                                                     STANDISH          MI    48658‐0248
JACK L THORPE                                     1614 TAMARA TRAIL                                                                              XENIA             OH    45385‐9591
JACK L TIMMER & CONSTANCE J TIMMER TR TIMMER      7015 BLISS CT                                                                                  GRANDVILLE        MI    49418‐2105
LIVING TRUST UA 08/25/94
JACK L TRAUB & CONNIE M TRAUB TEN ENT             4431 BADOUR RD                                                                                 HEMLOCK           MI    48626‐9516
JACK L TRAUFLER & VIRGINIA TRAUFLER JT TEN        6265 TROY‐URBANA RD                                                                            CASSTOWN          OH    45312‐9785
JACK L TRUEBLOOD                                  724 W JEFFERSON ST                                                                             ALEXANDRIA        IN    46001‐1733
JACK L UNDERWOOD                                  4014 CANTEBURY                                                                                 CULLEOKA          TN    38451‐2051
JACK L VANDERMEER                                 4302 W JOY RD                                                                                  SHELBYVILLE       MI    49344‐9425
JACK L VANLEAR & BETTY L VANLEAR JT TEN           8508 ROSEHILL RD                                                                               LENEXA            KS    66215‐2838
JACK L WALLS & THYRA M WALLS JT TEN               83 VILLAGE COURT                                                                               ORTONVILLE        MI    48462‐9727
JACK L WALTRIP                                    8049 VAN VLEET RD                                                                              GAINES            MI    48436‐9788
JACK L WANNENWETSCH                               3733 HULBERTON RD                                                                              HOLLEY            NY    14470‐9320
JACK L WARDLAW                                    2342 GLENNRIDGE RD                                                                             COLUMBIA          TN    38401‐7361
JACK L WATTS JR                                   1465 BIRCH DRIVE                                                                               TRACY             CA    95376‐4301
JACK L WEBLEY                                     7675 KATHY LANE                                                                                NORTHFIELD        OH    44067‐2753
JACK L WHITE                                      PO BOX 81                                                                                      SIDELL            IL    61876‐0081
JACK L WITHERELL                                  28242 HOLLYWOOD                                                                                ROSEVILLE         MI    48066‐2598
JACK L WITHUN                                     14642 BRYCE RD                                                                                 CAPAC             MI    48014‐3106
JACK L WOODRUFF                                   9513 IOSCO RIDGE DR                                                                            GREGORY           MI    48137‐9788
JACK L WOOLARD                                    12872 BRONCOS DR                                                                               FISHERS           IN    46037‐7805
JACK L WORKMAN                                    3828 MELGERT LN                                                                                SARASOTA          FL    34235‐8107
JACK L YOAK                                       6701 STATE STREET                                                                              NEWBERRY          MI    49868‐1932
JACK L YOUNG                                      803 S FORT WAYNE AVE                                                                           EATON             IN    47338‐9532
JACK L ZUKER                                      4563 SOUTH BEECHWOOD DR                                                                        MACON             GA    31210‐2360
JACK LAKES                                        C/O WILLIAM LAKES                     5603 BUCKEYE COURT                                       DAYTON            OH    45424‐2439
JACK LAWSON                                       PO BOX 496                                                                                     VICHY             MO    65580‐0496
JACK LEE GARMAN                                   9049 W 1300 N                                                                                  ELWOOD            IN    46036‐8648
JACK LEE WILKERSON                                PO BOX 387                                                                                     POINT PLEASANT    PA    18950‐0387
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Name                                              Address1                              Address2             Address3          Address4          City               State Zip

JACK LEE WILSON                                   1704 PARK PLACE                                                                                ABILENE            KS    67410‐1582
JACK LEMKE                                        251 FACULTY DR                                                                                 FAIRBORN           OH    45324‐3929
JACK LENOBEL TR JACK LENOBEL TRUST UA 1/20/94     PO BOX 608                                                                                     ORANGE LAKE        FL    32681‐0608

JACK LEROY CLEVENGER                              504 N LUDLOW ROAD                                                                              MUNCIE             IN    47304‐9779
JACK LESTER CURTIS                                PO BOX 524                                                                                     TECOPA             CA    92389‐0524
JACK LESTER JENNINGS                              5215 WEBSTER RD                                                                                FLINT              MI    48504‐1045
JACK LINCOLN & ZELDA LINCOLN JT TEN               2922 SEQUOYAH DR                                                                               ATLANTA            GA    30327‐1808
JACK LINN & RUTH LINN JT TEN                      C/O EDITH LINN                        188 OCEAN PARKWAY                                        BROOKLYN           NY    11218
JACK LIPKINS                                      190 SANDS POINT ROAD                                                                           SANDS POINT        NY    11050‐1129
JACK LIPTON                                       3224 FRANKLIN RD                                                                               BLOOMFIELD HILLS   MI    48302‐0920

JACK LOW                                          638 STANFORD                                                                                   SALINAS            CA    93901‐1237
JACK M ALIG                                       6780 WILLOW CREEK DR                                                                           DAYTON             OH    45424‐2487
JACK M AMIE CUST MATTHEW ROBERTS AMIE A MINOR     204 DUNBARTON DRIVE                                                                            ST SIMONS ISLAND   GA    31522‐1017
UNDER THE LAWS OF GA
JACK M BERKMAN                                    1230 COLUMBIA ST STE 500                                                                       SAN DIEGO          CA    92101
JACK M BOWEN                                      C/O JACK W BOWEN JR &                 MARY A BOWEN         205 OAKLAND ST                      DECATUR            GA    30030‐2428
JACK M BOYLES                                     5097 HEATHER PL                                                                                CROSS LANES        WV    25313‐2203
JACK M BURDGE & MARTHA J BURDGE JT TEN            425 PRIVATEER RD                                                                               NORTH PALM         FL    33408‐4329
                                                                                                                                                 BEACH
JACK M BUTTREY                                   4149 WILLOW RUN DR D                                                                            DAYTON             OH    45430‐1560
JACK M CALDWELL CUST JAMES RICHARD CALDWELL      504 SW 22ND                                                                                     SEMINOLE           TX    79360‐3831
UGMA TX
JACK M CAMPBELL                                  5040 WALKER RD                                                                                  CLYDE              MI    48049‐3931
JACK M CARTER                                    142 OLD MILL RD                                                                                 ADVANCE            NC    27006‐7538
JACK M COLETTI CUST MISS MARY ELLEN COLETTI UGMA ATTN MARY ELLEN CHAFFEE                323 ROSEMORE CT                                          DAVISON            MI    48423‐1647
MI
JACK M CROSLEY & CAROL R CROSLEY JT TEN          420 MCLOY DR                                                                                    PENDLETON          IN    46064‐1017
JACK M DAIGNAULT                                 RR 9 BOX 400G                                                                                   WESLACO            TX    78596‐6393
JACK M ELLIOTT                                   1220 N SPRING                                                                                   INDEPENDENCE       MO    64050‐1730
JACK M FELSHER                                   2127 DASHER DR                                                                                  LUSBY              MD    20657‐2438
JACK M FELTS                                     6032 KENNER DR                                                                                  FLORENCE           KY    41042
JACK M FRANCHOCK                                 199 BEACH 125TH ST                     # 1B                                                     ROCKAWAY PARK      NY    11694‐1701
JACK M GABRIEL                                   7973 E VIA MARINA                                                                               SCOTTSDALE         AZ    85258‐2857
JACK M HOY JR                                    2003 PAGEL                                                                                      LINCOLN PARK       MI    48146‐3481
JACK M KACZMARSKI                                80870 US HIGHWAY 111                   SPC 58                                                   INDIO              CA    92201‐6548
JACK M KEEFE                                     101 RADLIFF RD                                                                                  BLOOMINGTON        IL    61701‐3408
JACK M LATESKY                                   7027 STRATFORD LN                                                                               FLUSHING           MI    48433‐3705
JACK M MARDEN                                    347 MADISON AVE                                                                                 SOUDERTON          PA    18964‐1863
JACK M MARTIN                                    7152 S 600 E                                                                                    WABASH             IN    46992‐8154
JACK M MATICH                                    284 DOREMUS                                                                                     PONTIAC            MI    48054
JACK M NEUMAYER                                  5809 RILEY RD                                                                                   MISSION            KS    66202‐2331
JACK M O'CONNOR                                  712 W JEFFERSON ST                     LOT 26                                                   BROOKSVILLE        FL    34601‐2505
JACK M PETERSON                                  163 THOMPSON ROAD                                                                               DECATUR            AL    35603‐6703
JACK M ROGERS                                    279 PINE TREE                                                                                   LAKE ORION         MI    48362‐2542
JACK M SCARBOROUGH                               1037 FRAYNE DR                                                                                  NEW CARLISLE       OH    45344‐2813
JACK M SCHRADER                                  2285 MAPLE ROAD                                                                                 WILSON             NY    14172‐9756
JACK M SCROGGINS                                 1222 NORTH POMONA RD                                                                            HAMPTON            GA    30228‐2555
JACK M SHEDRON                                   RR 3                                                                                            CLOVERDALE         IN    46120‐9803
JACK M SMITH                                     351 CAMPBELL ST                                                                                 STAUNTON           VA    24401‐5016
JACK M SOUTHARD                                  4117 TRIPOLI DR                                                                                 CRP CHRISTI        TX    78411
JACK M SPRUANCE                                  8515 RIDGEWAY RD                                                                                PETOSKEY           MI    49770
JACK M THEIS & ALICE A THEIS JT TEN              BOX 4                                                                                           NEW STNTON         PA    15672‐0004
JACK M THOMPSON                                  524 NEWFIELD ST                                                                                 GARDENA            CA    90248‐2545
JACK M THORNBURG                                 140 RIDGEWOOD DR                                                                                TROY               MO    63379‐5631
JACK M THORNTON                                  6831 JOAL ST                                                                                    ALLENDALE          MI    49401‐8754
JACK M TURNER                                    420 SUNSET RD                                                                                   CORAL GABLES       FL    33143‐6339
JACK M VISSER                                    3712 WILMINGTON AVE NW                                                                          COMSTOCK PARK      MI    49321‐9109
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Name                                             Address1                             Address2                    Address3   Address4          City              State Zip

JACK M WALTON                                    3010 N 82ND TERR                                                                              KANSAS CITY      KS     66109‐1545
JACK M WEISS 3RD                                 C/O GIBSON DUNN & CRUTCHER LLP       200 PARK AVE                                             NEW YORK         NY     10166‐0005
JACK M WILLIAMS                                  290 YORK RD                                                                                   CROSSVILLE       TN     38555‐1171
JACK M YOUNG                                     1710 ALTO RD E                                                                                KOKOMO           IN     46902‐4461
JACK MANUELE CUST CAROL MANUELE UGMA NY          106 HAMPTON PL                                                                                STATEN ISLAND    NY     10309‐1643
JACK MARTIN JR                                   51 HEMLOCK ST                                                                                 FRANKLIN         OH     45005‐1720
JACK MARVIN SWANSON                              1888 CIRCLE S DR                                                                              YOUNG HARRIS     GA     30582‐3017
JACK MAUER & JANET MARIE MAUER JT TEN            16 N PARK ST                                                                                  VERNON‐ROCKVILLE CT     06066‐3224

JACK MC CALL                                     5064 HEATHER DR                      APT 208                                                  DEARBORN          MI    48126‐2880
JACK MC CURLEY                                   8533 GRENADIER                                                                                DALLAS            TX    75238‐3815
JACK MC CUTCHEON                                 8357 HWY 36E                                                                                  LACEY'S SPRING    AL    35754‐6002
JACK MCADORY                                     73 NEW HOPE CHURCH RD                                                                         FOXWORTH          MS    39483‐4201
JACK MCGINNIS                                    4804 WOODLAND HILLS DR                                                                        ROCHESTER         MI    48306
JACK MCKEE JR & MARY L MCKEE JT TEN              110 SHADOWBROOK RD                                                                            JACKSONVILLE      NC    28540
JACK MCNALLY                                     PO BOX 33                                                                                     MCKNIGHTSTOWN     PA    17343‐0033

JACK MICHAEL EVANS CUST JEFFREY MICHEAL EVANS    5495 N FOX RD                                                                                 SANFORD           MI    48657‐9117
UGMA MI
JACK MICHAEL EVANS CUST LAURIE ANN EVANS UGMA    5495 N FOX RD                                                                                 SANFORD           MI    48657‐9117

JACK MILLER                                      808 COVENTRY RD                                                                               KENSINGTON        CA    94707‐1411
JACK MILLIFF                                     630 MCLAIN ST                                                                                 DAYTON            OH    45403‐2330
JACK MIZUSHIMA                                   18502 WILTON PL                                                                               TORRANCE          CA    90504‐5416
JACK MONTESANTO                                  61 INDIAN HILLS DRIVE                                                                         WATERLOO          NY    13165‐9437
JACK MOORE                                       20907 THIELE DR                                                                               ST CLAIR SHORES   MI    48081‐1129
JACK MOORE JR                                    9700 W BEXHILL DR                                                                             KENSINGTON        MD    20895‐3507
JACK MOORER WHETSTONE                            84 WOODBROOK PLACE                                                                            PAWLEYS ISLAND    SC    29585‐5821
JACK MULLINS                                     3123 BRAZIL LAKE PKWY                                                                         GEORGETOWN        IN    47122‐8605
JACK MUSKAT CUST STEVEN MUSKAT UGMA NY           1414 AVE OF THE AMERICAS                                                                      NEW YORK          NY    10019‐2514
JACK N ABERNATHY & SANDRA J ABERNATHY JT TEN     723 COLLINGWOOD                                                                               DAVISON           MI    48423

JACK N BOOT                                      3220 TAMSIN ST                                                                                KALAMAZOO         MI    49001
JACK N BUCKERFIELD                               38871 SHORELINE                                                                               HARRISON TWP      MI    48045‐2236
JACK N DAVIS                                     114 PLEASANTVIEW DR                                                                           HAMILTON          IL    62341‐1109
JACK N DAVIS                                     841 SHADOW OAK DR                                                                             BATON ROUGE       LA    70810‐5380
JACK N DAVIS & GARNITA JEAN DAVIS JT TEN         114 PLEASANTVIEW DR                                                                           HAMILTON          IL    62341‐1109
JACK N GERWIG                                    1208 ELLEN DR                                                                                 CHARLESTON        WV    25303‐2908
JACK N HAFER                                     606 CUMBERLAND DR                                                                             COLUMBIA          TN    38401‐6123
JACK N KANBARA & FUMIKO KANBARA JT TEN           1722 ALRITA ST                                                                                SAN LUIS OBISPO   CA    93401‐4604
JACK N LAW                                       10081 MARSHALL POND RD                                                                        BURKE             VA    22015‐3733
JACK N MC INTOSH                                 1452 OLD STAGECOACH RD                                                                        CAMDEN            SC    29020‐9585
JACK N SCHOENBERGER & LORNA LOU SCHOENBERGER     3521 MSBG SLDR HM ROAD                                                                        MIAMISBURG        OH    45342
JT TEN
JACK N SOUTH TOD 12/19/08                        2580 CRANBROOK DR                                                                             CINCINNATI        OH    45231‐1109
JACK N WILSON                                    82 WILLIAMS AVE                                                                               SAN FRANCISCO     CA    94124‐2635
JACK NELSON                                      1501 MARIA                                                                                    FLINT             MI    48507‐5527
JACK NEUGARTEN & CHARLOTTE NEUGARTEN JT TEN      11 STONEHEDGE DR                                                                              WEST NYACK        NY    10994

JACK NMI HARKINS & BETTY NMI HARKINS TEN COM     7011 WAYNE AVE                                                                                LUBBOCK           TX    79424‐1621

JACK NORMAN                                      509 HARRIET ST                                                                                FLINT             MI    48505‐4711
JACK O ALLEN                                     617 OSCEOLA RD                                                                                CADILLAC          MI    49601‐9173
JACK O BRIGGS                                    11403 WHITE LAKE RD                                                                           FENTON            MI    48430‐2482
JACK O CHAMBERS                                  4690 W BAY CITY                      FORRESTVILLE ROAD ROUTE 3                                UNIONVILLE        MI    48767‐9804
JACK O CLAIR                                     PO BOX 98                                                                                     FRANKLIN          VA    23851‐0098
JACK O COLSON                                    410 E STAAT                                                                                   FORTVILLE         IN    46040‐1335
JACK O DREYER                                    1608 S CHILSON                                                                                BAY CITY          MI    48706‐5215
JACK O FLORES                                    7132 OAK                                                                                      KANSAS CITY       MO    64114‐1436
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Name                                              Address1                             Address2             Address3                       Address4          City            State Zip

JACK O LENZ JR TOD BRANDI RENE LENZ SUBJECT TO STA 13603 BIRDSONG RD                                                                                         HOLLADAY        TN    38341
TOD RULES
JACK O LIMBERG                                       919 BROADWAY                                                                                            E MCKEESPORT    PA    15035‐1501
JACK O ROBERTSON                                     3 NORTH SHORE TERR                                                                                      SPARTA          NJ    07871‐1605
JACK O SINKLER                                       2699 N HOPE ROAD                                                                                        MIDLAND         MI    48642‐7941
JACK ODELL WALKER                                    602 62ND AVENUE N                                                                                       MYRTLE BEACH    SC    29572‐3205
JACK OLIVER                                          5731 BOGUS RD                                                                                           GAINESVILLE     GA    30506
JACK P CASSTEVENS                                    7726 W 625 N                                                                                            MIDDLETOWN      IN    47356
JACK P CASSTEVENS & BERNEDA FAYE CASSTEVENS JT       7726 W 625 N                                                                                            MIDDLETOWN      IN    47356
TEN
JACK P DINKINS                                       602 OVERLOOK DR                                                                                         DOTHAN          AL    36303‐1337
JACK P DINKINS & ALICE M DINKINS JT TEN              602 OVERLOOK DR                                                                                         DOTHAN          AL    36303‐1337
JACK P HEILBORN                                      PO BOX 1401                                                                                             SAGINAW         MI    48605‐1401
JACK P HOPPES & PHYLLIS S HOPPES TR UA 02/18/99 BY 1554 FRONTIER DR                                                                                          MELBOURNE       FL    32940‐6749
JACK P HOPPES
JACK P JONES                                         6516 WILLOW ST                                                                                          RAYTOWN         MO    64133‐5214
JACK P KEITH                                         15221 IBEX AVE                                                                                          NORWALK         CA    90650‐6635
JACK P LEWIS & MRS LYNELL C LEWIS JT TEN             3263 MADISON ST                                                                                         PADUCAH         KY    42001‐4333
JACK P LIBBY & EVELYN K LIBBY TR JACK P LIBBY FAMILY 3005 SWAN HILL DR                                                                                       LAS VEGAS       NV    89134‐7525
TR UA 03/01/78
JACK P MCQUINN                                       4316 DEEANN CT                                                                                          KOKOMO          IN    46902
JACK P OREGAN                                        16699 BORDMAN RD                                                                                        ALLENTON        MI    48002‐4001
JACK P OREGAN & CATHERINE C OREGAN JT TEN            16699 BORDMAN RD                                                                                        ALLENTON        MI    48002‐4001
JACK P PARSONS                                       7982 NORTH FOX HOLLOW ROAD                                                                              BLOOMINGTON     IN    47408‐9324
JACK P SALYER                                        HCR 66 BOX 182                                                                                          WARSAW          MO    65355‐8014
JACK P SAMUELS                                       9026 MARLOW DR                                                                                          SHREVEPORT      LA    71118‐2723
JACK P SMITH                                         19155 VINTAGE TRACE CIRCLE                                                                              FORT MYERS      FL    33912‐5528
JACK P STEVENS                                       28956 BOWMAN ROAD                                                                                       DEFIANCE        OH    43512‐8975
JACK PARTCH                                          3770 TERRA LOMA DR                                                                                      BULLHEAD CITY   AZ    86442‐8029
JACK PELTON                                          1090 W WINSTON RD                                                                                       ROTHBURY        MI    49452‐9708
JACK PHILLIPS                                        4287 EASTLAWN AVE                                                                                       WAYNE           MI    48184‐1816
JACK PIERLE TR JACK PIERLE TRUST UA 05/16/94         301 5TH ST                                                                                              ST AUGUSTINE    FL    32084‐1427
JACK PIGG                                            PO BOX 224                                                                                              RICHWOODS       MO    63071‐0224
JACK PONDER                                          1840 SCHNEBLY ROAD                                                                                      XENIA           OH    45385‐9343
JACK PONDER & NEVA JOYCE PONDER JT TEN               1840 SCHNEBLY RD                                                                                        XENIA           OH    45385‐9343
JACK POOLE                                           31754 WELLSTON                                                                                          WARREN          MI    48093‐1770
JACK POTE                                            2089 HIGHFIELD                                                                                          WATERFORD       MI    48329‐3830
JACK POWELL BARLOW SR & REBECCA JANE BARLOW JT 3105 CUMBERLAND WAY                                                                                           HUNTINGTON      IN    46750‐7963
TEN
JACK PRINCE                                          9076 MC KINLEY ROAD                                                                                     FLUSHING        MI    48433‐8808
JACK R AGNEW JR                                      2501 SAINT LUCIE CT                                                                                     CHATTANOOGA     TN    37421‐1880
JACK R ALTHOUSE                                      24 1/2 BOND STREET                                                                                      NILES           OH    44446‐2611
JACK R AMMERMAN                                      5104 WOODSTOCK                                                                                          SWARTZ CREEK    MI    48473‐8542
JACK R ANDERSON & ROSE‐MARIE J ANDERSON JT TEN 16475 DALLAS PKWY STE 735                                                                                     ADDISON         TX    75001‐6868

JACK R ANDERSON SPA                               16475 DALLAS PKWY SUITE 735                                                                                ADDISON         TX    75001‐6868
JACK R BADURA                                     906 DEERVALE DR                                                                                            NASHVILLE       TN    37217‐1406
JACK R BALLSMITH CUST CYNTHIA BALLSMITH U/THE NY 47 HILLCREST                                                                                                SUMMIT          NJ    07901‐2011
U‐G‐M‐A
JACK R BALLSMITH CUST CYNTHIA LEE BALLSMITH U/THE ATTN CYNTHIA B GALLIGAN              96 STRAWBERRY LACE   TWICKENHAM MIDDLESEX TW1 4S4   GREAT BRITAIN
ILL U‐G‐M‐A
JACK R BEATTIE TR REVOCABLE TRUST UA 07/25/84     401 N MILLS AVE                                                                                            ORLANDO         FL    32803‐5750
JOHN ROBERT BEATTIE
JACK R BEHRLE                                     111 WOOTTON RD                                                                                             ESSEX FELLS     NJ    07021‐1013
JACK R BLISS                                      6848 TOBACCO RIDGE TR                                                                                      BEAVERTON       MI    48612‐8407
JACK R BLISS & EDITH H BLISS JT TEN               6848 TOBACCO RIDGE TR                                                                                      BEAVERTON       MI    48612‐8407
JACK R BOYLE JR                                   PO BOX 2765                                                                                                OCALA           FL    34478‐2765
JACK R BREWER                                     1971 MEADOWERS LANE                                                                                        DECATUR         GA    30032
JACK R BROWN                                      1810 HIGHWAY 211 NW                                                                                        HOSCHTON        GA    30548‐3519
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Name                                              Address1                             Address2             Address3          Address4          City               State Zip

JACK R BYERS                                    8209 E SORGHUM MILL RD                                                                          EDMOND             OK    73034‐9306
JACK R CHILDS                                   506 HARRISON                                                                                    GARDEN CITY        MI    48135‐3188
JACK R CLARK                                    2764 E US HIGHWAY 136                                                                           HILLSBORO          IN    47949‐8124
JACK R COCHRANE CUST BARRY JAMEYSON STARKEY     476 KAR A BRU DR                                                                                AMHERST            OH    44001‐2062
UGMA OH
JACK R CUNNINGHAM                               5935 BAYPOINTE BLVD                                                                             CLARKSTON          MI    48346‐3190
JACK R DAVIDSON                                 7017 W 156TH ST                                                                                 OVERLAND PARK      KS    66223‐3194
JACK R DEFRIES                                  50730 MAPLE RD                                                                                  MARCELLUS          MI    49067‐8736
JACK R DUNCAN                                   C/O ALFRED J DUNCAN                    1073 LEXINGTON RD                                        CARLTON            GA    30627‐1421
JACK R DUVALL                                   1656 LANCE DRIVE                                                                                LAWRENCEBURG       TN    38464‐6386
JACK R EMMETTS & MRS KATHARINE L EMMETTS JT TEN 26 HORIZON TERRACE                                                                              HAWTHORNE          NJ    07506‐3100

JACK R ERTEL                                      1717 YORKTOWN PL                                                                              PITTSBURGH         PA    15235‐4927
JACK R FOSTER                                     1729 MOVILLE BLACKTOP                                                                         MOVILLE            IA    51039‐8064
JACK R FREDRICK & ELIZABETH L FREDRICK JT TEN     668 HUFFINE MANOR CIRCLE                                                                      FRANKLIN           TN    37067‐5673
JACK R GASAWAY                                    454 S BEECHGROVE RD                                                                           WILMINGTON         OH    45177‐9182
JACK R GASKILL                                    4472 CRICKET RIDGE                   APT 101                                                  HOLT               MI    48842‐2924
JACK R GROSS                                      314 E WILLIAM DAVID PARKWAY                                                                   METAIRIE           LA    70005‐3310
JACK R HADDER                                     P O BOX695                                                                                    CENTERVILLE        OH    45441‐0695
JACK R HUDSON                                     11916 E BELMONT                                                                               SANGER             CA    93657‐9469
JACK R JACKSON                                    2210 DOGWOOD CT                                                                               MIDLOTHIAN         TX    76065‐6294
JACK R JANKOVICH                                  1835 CEDAR CREST                                                                              MANHATTAN          KS    66503‐2232
JACK R JOHNSTON                                   8411 N DEWITT RD                                                                              ST JOHNS           MI    48879‐9750
JACK R KETTLER & GEORGETTA KETTLER JT TEN         1211 ASHOVER DR                                                                               BLOOMFIELD HILLS   MI    48304‐1105

JACK R KUHN CUST JARED R KUHN UTMA OH             4318 ROYAL SAINT GEORGE DR                                                                    AVON               OH    44011‐3729
JACK R LEADER                                     110 ATWATER ST                                                                                DURAND             MI    48429‐1716
JACK R LUCAS                                      6018 SELFRIDGE BLVD                                                                           LANSING            MI    48911
JACK R MEIER & ROSALEE MEIER JT TEN               17485 S E 79TH LOVEWOOD AVE                                                                   THE VILLAGES       FL    32162‐5808
JACK R MILLER                                     14835 NARCISSUS CREST A                                                                       CANYON CNTRY       CA    91351‐2264
JACK R MORELL & DORIS C MORELL JT TEN             11363 W PARKWAY                                                                               DETROIT            MI    48239‐1361
JACK R NOTT                                       4058 OXFORD DR                                                                                BRUNSWICK          OH    44212
JACK R PATTERSON & KATHLEEN M PATTERSON JT TEN    29 SAWGRASS LN                                                                                LANCASTER          NY    14086

JACK R PHILLIPS                                   1614 CHAPMAN DRIVE                                                                            GREENFIELD         IN    46140‐2525
JACK R PLANCHAK & PATRICIA R PLANCHAK JT TEN      850 FELLOWSHIP RD                                                                             CHESTER SPRGS      PA    19425‐3214

JACK R PRENOT JR                                  6231 STILE GATE TERRACE                                                                       MOSELEY          VA      23120
JACK R PURR                                       11099 COUNTRY LANE                                                                            PINCKNEY         MI      48169‐9714
JACK R PURR JR                                    36044 OREGON                                                                                  WESTLAND         MI      48186‐8305
JACK R REED                                       3044 SMITH ROAD                                                                               LAMBERTVILLE     MI      48144‐9433
JACK R REMING                                     868 WEST RIVER ST                                                                             ELYRIA           OH      44035‐3557
JACK R RICHARDSON                                 78844 50TH ST                                                                                 DECATUR          MI      49045‐9122
JACK R SCHUBERT                                   1554 HAWTHORNE RD                                                                             GROSSE POINTE    MI      48236‐1468
JACK R SHERMAN                                    1501 BEARFOOT LANE                                                                            CALEDONIA        NY      14423‐9578
JACK R SMITH & MARGIE R SMITH JT TEN              4060 HARMON ST                                                                                SAINT JOHNS      MI      48879
JACK R SPEICHER                                   1021 CHRIS J DR                                                                               LANSING          MI      48917‐9232
JACK R SPERLING                                   7116 SPRUCEWOOD DRIVE                                                                         DAVISON          MI      48423‐9548
JACK R STANLEY                                    1409 KITTIWAKE DR                                                                             PUNTA GORDA      FL      33950‐7633
JACK R START                                      2468 KNOLLVIEW SW                                                                             WYOMING          MI      49509‐4511
JACK R STOWELL JR                                 25 JENSEN DR                                                                                  ROCHESTER        NY      14624‐3930
JACK R STRAIN                                     527 VENTURA DR                                                                                FOREST PARK      GA      30297‐3452
JACK R SUMMERS                                    341 DONALD CIR                                                                                FOREST HILL      MD      21050‐1304
JACK R THOMAS                                     9227 MARINERS RIDGE DR                                                                        FORT WAYNE       IN      46819‐2413
JACK R TOMCZAK                                    152 ARDMORE WAY                                                                               BENICIA          CA      94510‐2051
JACK R VANDERWILL                                 23257 CORA AVE                                                                                FARMINGTON HILLS MI      48336‐3305

JACK R VAUGHAN JR                                 808 MILL CREEK RD                                                                             FRANKLIN           NC    28734‐7725
JACK R VAUGHN                                     2451 RED OAK BEND                                                                             OXFORD             GA    30054‐3225
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Name                                             Address1                                Address2             Address3          Address4          City               State Zip

JACK R VESPERMAN                                 867 S HARRISON                                                                                   LANCASTER          WI    53813‐1913
JACK R VESPERMAN & JOAN A VESPERMAN TEN COM      867 S HARRISON                                                                                   LANCASTER          WI    53813‐1913

JACK R WAGNER                                    32284 ROSSLYN                                                                                    GARDEN CITY        MI    48135
JACK R WALKER                                    335 PURITAN PLACE                                                                                REDLANDS           CA    92373‐6150
JACK R WARREN                                    2019 WILKIE RD                                                                                   ALPHARETTA         GA    30004‐2591
JACK R WENTWORTH                                 3280 RAMBLE ROAD EAST                                                                            BLOOMINGTON        IN    47408‐1093
JACK R WILDMAN                                   220 CYPRESS WAY                                                                                  LAKE ALFRED        FL    33850‐3517
JACK R WISE                                      4271 JACKSON CREEK DR                                                                            KINGSLEY           MI    49649‐9517
JACK R YOUNG                                     3211 TUCKER LN                                                                                   LOS ALAMITOS       CA    90720
JACK RADISCH                                     222 DIXIE CIR                                                                                    HAINES CITY        FL    33844‐9271
JACK RAGSDALE JR                                 1701 ALBEMARLE RD                       APT B‐4                                                  BROOKLYN           NY    11226‐4621
JACK RAMSEY                                      ATTN R U WELLS                          661 WELLS ROAD                                           BRASSTOWN          NC    28902‐8527
JACK RICHARD WILSON                              266 COUNTY RD 103                                                                                CRAIG              CO    81625‐8953
JACK RICHARDSON JR                               7679 WHITNEY CT                                                                                  RANCHO             CA    91730‐2142
                                                                                                                                                  CUCAMONGA
JACK RICHETTS & MARIANNE RICHETTS JT TEN        16 COVINGTON                                                                                      MISSION VIEJO      CA    92692‐5166
JACK RITCHEY                                    29545 JACQUELYN                                                                                   LIVONIA            MI    48154‐4443
JACK ROBBINS                                    197 W LINCOLN ST                                                                                  BRIDGETON          NJ    08302‐2916
JACK RODNEY KING                                G‐6094 N SAGINAW RD                                                                               MT MORRIS          MI    48458
JACK ROSEN                                      5501 LINCOLN AVE APT 507                                                                          MORTON GROVE       IL    60053‐3424
JACK ROSS & VIRGINIA L ROSS JT TEN              28 OAKLAWN AVE                                                                                    MEDWAY             OH    45341‐1118
JACK ROWLINSON                                  3306 WEITZEL LANE                                                                                 CALEDONIA          NY    14423‐1124
JACK ROWLINSON & DORIS H ROWLINSON JT TEN       3306 WEITZEL LANE                                                                                 CALEDONIA          NY    14423‐1124
JACK RUBIN                                      1000 COLONY POINT CIRCLE #311                                                                     PEMBROKE PINES     FL    33026‐2931
JACK RUSSELL VAN DUSEN & DONNA VAN DUSEN JT TEN 10860 LANSING ROAD                                                                                DURAND             MI    48429‐1821

JACK S BARFIELD III                              1089 FLOWERS XING                                                                                LAWRENCEVILLE    GA      30044‐5966
JACK S BARNES                                    128 THE WOODS                                                                                    BEDFORD          IN      47421‐9300
JACK S CUBERT                                    14805 PENNFIELD CIRCLE                  APT 304                                                  SILVER SPRING    MD      20906‐1588
JACK S GANDY                                     PO BOX 46563                                                                                     CINCINNATI       OH      45246‐0563
JACK S HAGER                                     701 HENSEL HILL EAST                                                                             PORT ORANGE      FL      32127‐5989
JACK S HARRISON                                  1404 BEACH WALKER RD                                                                             FERNANDINA BEACH FL      32034‐6609

JACK S JOHNSON JR                                1023 W EL NIDO DR                                                                                PUEBLO             CO    81007
JACK S JONES                                     1005 SUNNYHILL DRIVE                                                                             CAMDEN             SC    29020‐1513
JACK S LINDSTROM                                 1132 HUMPHREY                                                                                    BLOOMFIELD HILLS   MI    48302‐0030

JACK S NEWMAN                                    26755 WEST HILLS DRIVE                                                                           INKSTER            MI    48141‐1847
JACK S NEWMAN & LELA M NEWMAN JT TEN             26755 W HILLS DRIVE                                                                              INKSTER            MI    48141‐1847
JACK S PHILLIPS & NANCY W PHILLIPS JT TEN        36 PIRATES CV                                                                                    SPENCERPORT        NY    14559
JACK S PRESTWOOD                                 1904 COLTON DRIVE                                                                                KETTERING          OH    45420‐1442
JACK S THAMS                                     25744 E KINGS BAY RD                                                                             DRUMMOND IS        MI    49726‐9444
JACK S THIBAUT                                   246 FOX RUN                                                                                      ROCHESTER          NY    14606
JACK S WALKER                                    563 SPRING ST                                                                                    STRUTHERS          OH    44471‐1229
JACK S WHITMORE                                  1726 WADE BROWN RD                                                                               LEWISBURG          TN    37091‐6237
JACK S YEARY                                     647 CANNERY HOLLOW RD                                                                            SPEEDWELL          TN    37870‐7313
JACK SAFRAN                                      5 FOX HILL RD                                                                                    EDISON             NJ    08820‐2825
JACK SALVO & KATHLEEN SALVO JT TEN               184 HUDSON ST                                                                                    HACKENSACK         NJ    07601‐6827
JACK SARACENO & DOROTHY SARACENO JT TEN          520 LINDEN ST                                                                                    MAMARONECK         NY    10543‐2723
JACK SAUNDERS                                    1264 OLD ECCLES ROAD                                                                             BECKLEY            WV    25801‐8814
JACK SCHMIDT OLDSMOBILE INC JDS CAPITAL          460 E MAIN STREET                                                                                COLUMBUS           OH    43215‐5344
CORPORATION INC
JACK SHARDON                                     78 LINCOLN AVE                                                                                   LOCKPORT           NY    14094‐5524
JACK SHATZKAMER CUST JONATHON MICHAEL            319 IVY HILL RD                                                                                  WOODMERE           NY    11598‐1831
SHATZKAMER UGMA NY
JACK SILBERLICHT & JUDITH SILBERLICHT JT TEN     643‐R PARK ST                                                                                    HONESDALE          PA    18431‐1445
JACK SILVERBERG & MRS IDA SILVERBERG JT TEN      3639 ALTON PL NW                                                                                 WASHINGTON         DC    20008‐4219
JACK SINK                                        RR 7 4400 DENICE                                                                                 ANDERSON           IN    46017‐9807
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JACK SLODKI & FAY H SLODKI JT TEN                 8818 KILDARE AVE                                                                                SKOKIE           IL    60076‐1877
JACK SMITH                                        1174 WC 476                                                                                     BUSHNELL         FL    33513
JACK SOO WONG                                     10 SIERRA ST                                                                                    WATSONVILLE      CA    95076‐2718
JACK SPIEGELMAN & ROBIN UNGER JT TEN              82‐30 233RD ST                                                                                  QUEENS VILLAGE   NY    11427‐2114
JACK SPRUNG & NESHA SPRUNG JT TEN                 80 RIDGEWOOD RD                        APT 104                                                  TWP WASHINTON    NJ    07676‐5133
JACK SROFE                                        301 SOUTH HIGH                                                                                  MOUNT ORAB       OH    45154‐9041
JACK STEPHEN DRESSER                              10432 COOK CIR                                                                                  HUNTINGTON       CA    92646‐3019
                                                                                                                                                  BEACH
JACK STINE                                        4459 GENEVIEVE LANE                                                                             SAN BERNARDINO   CA    92047
JACK STRAZZULLA                                   8248 E SENECA ST                                                                                MANLIUS          NY    13104‐2129
JACK STUBBLEFIELD & CARLA STUBBLEFIELD JT TEN     10935 HAWTHORN DRIVE                                                                            DES MOINES       IA    50325‐7040

JACK SUI YEE & DOROTHY LEE YEE JT TEN             641 N 19TH ST                                                                                   MONTEBELLO       CA    90640‐3132
JACK T BAILEY JR                                  116 ROSETTA CT                                                                                  AUBURN HILLS     MI    48326‐2965
JACK T COSEY                                      8154 MIDDLEPOINTE                                                                               DETROIT          MI    48204‐5202
JACK T F BITTER JR                                547 DEPOT RD                                                                                    COLCHESTER       VT    05446‐7675
JACK T GREENLEAF & JANET I GREENLEAF JT TEN       317 HIGHLAND PL                                                                                 ESCONDIDO        CA    92027‐3709
JACK T LINER                                      6430 DARELY CT                                                                                  CUMMING          GA    30040‐7092
JACK T PHELPS                                     7850 E VERMONTVILLE HWY                                                                         DIMONDALE        MI    48821‐8746
JACK T SANDOW                                     2191 ROCKBRIDGE RD APT 1504                                                                     STONE MOUTAIN    GA    30087‐6702
JACK T TRUDELL                                    4079 E VERNON RD                                                                                ROSEBUSH         MI    48878‐9742
JACK T VANDYKE                                    16051 LAKE POINT DR                                                                             SPRING LAKE      MI    49456‐1423
JACK T WILLIAMS TR JACK T WILLIAMS TRUST UA       2020 THORNE PL                                                                                  SAGINAW          MI    48602‐3449
07/06/01
JACK T WILSON                                     1477 NAVOJO DR                                                                                  XENIA            OH    45385‐4307
JACK T ZAHN                                       4409 MIDLAND                                                                                    WATERFORD        MI    48329‐1834
JACK TARMY CUST SUSAN J TARMY U/THE MASS          205 WALDEN STREET #2E                                                                           CAMBRIDGE        MA    02140‐3511
UNIFORM GIFTS TO MINORS ACT
JACK TARTT JR                                     RR 3 BOX 157B                                                                                   DE KALB          MS    39328‐9546
JACK TAYLOR                                       3612 BELVIEW RD                                                                                 LESLIE           MI    49251
JACK THALER                                       820 SIMCOE ST N                        OSHAWA ON                              L1G 4V8 CANADA
JACK THOMASMA                                     712 OLD GATE RD NW                                                                              GRAND RAPIDS     MI    49504‐4736
JACK THOMPSON                                     8315 SEVILLE                                                                                    ST LOUIS         MO    63132‐2623
JACK THOMPSON & BETTY THOMPSON JT TEN             12601 LONGLEAF DR                                                                               LAURINBURG       NC    28352‐9594
JACK TIAN & STELLA TIAN JT TEN                    15543 BLUE SKIES AVE                                                                            LIVONIA          MI    48154‐1517
JACK TIREY                                        6830 FAIRWOOD                                                                                   DEARBORN HEIGHTS MI    48127‐1806

JACK TORRETTA                                     983 NEW DOVER ROAD                                                                              NORTH EDISON     NJ    08820‐1415
JACK TYLER                                        190 FINLEY RD                                                                                   BRIDGETON        NJ    08302‐6027
JACK U MERRYMAN                                   2035 FORKED CREEK DR                                                                            ENGLEWOOD        FL    34223‐1707
JACK V BUIE & BETH S BUIE JT TEN                  5450 SUGAR MILL RD                                                                              RUSSIAVILLE      IN    46979‐9484
JACK V DIBBLE                                     428 E WALNUT ST                                                                                 TITUSVILLE       PA    16354
JACK V FERGUSON                                   1612 LAKE HILL LANE                                                                             PLANO            TX    75023‐7455
JACK V GASTON                                     5340 PIERCE RD                                                                                  WARREN           OH    44481‐9310
JACK V GENOVESE & MARY GENOVESE JT TEN            49 LOUNSBURY RD                                                                                 RIDGEFIELD       CT    06877‐4711
JACK V GOODMAN                                    24041 PARK LN                                                                                   VALENCIA         CA    91354‐1886
JACK V MORAN TR MORAN FAMILY TRUST UA 05/30/96    6945 MAURY DR                                                                                   SAN DIEGO        CA    92119‐2030

JACK VAN TONGONERLOO                              15091 FORD RD 306 BP                                                                            DEARBORN         MI    48126‐4690
JACK VANDERHORST                                  4097 HENDERSON HWY                     WINNIPEG MB                            R2G 3H2 CANADA
JACK W BALDWIN                                    7947 RED MILL                                                                                   WEST CHESTER     OH    45069‐1727
JACK W BALLARD                                    17 PASILLO WAY                                                                                  HOT SPRINGS      AR    71909‐3831
JACK W BARE                                       11386 S FORDNEY RD                                                                              ST CHARLES       MI    48655‐9519
JACK W BARRETT & LARK MICHELLE BARRETT JT TEN     6492 MIAMI LAKES DR E                                                                           HIALEAH          FL    33014‐2756

JACK W BEASLEY & LEAH M BEASLEY TR JW & LM        5239 1/2 W MARYLAND AVE                                                                         GLENDALE         AZ    85301‐4037
BEASLEY TRUST UA 9/09/02
JACK W BELL                                       8220 WEST HILLCREST DRI                                                                         ORLAND PARK      IL    60462‐1845
JACK W BELL & MARIE BELL JT TEN                   8220 W HILLCREST DR                                                                             ORLAND PARK      IL    60462‐1845
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Name                                            Address1                            Address2             Address3          Address4          City            State Zip

JACK W BLAIR                                    167 JORDAN AVE                                                                               LONDON          KY    40744‐6302
JACK W BRESLOW                                  702 HILLDALE AVE                                                                             BERKELEY        CA    94708‐1316
JACK W BRUNELL                                  10981 BYRON ROAD                                                                             BYRON           MI    48418‐9124
JACK W BRUNELL & GLENDA BRUNELL JT TEN          10981 BYRON RD                                                                               BYRON           MI    48418‐9124
JACK W BUGMAN                                   3345 WHITEHAVEN RD                                                                           GRAND ISLAND    NY    14072‐1542
JACK W CLARK                                    8550 N GRANBY AVE                   APT 343                                                  KANSAS CITY     MO    64154‐1249
JACK W CLIPSE                                   1305 N STEWART RD BOX 393                                                                    MANSFIELD       OH    44903‐9794
JACK W COCHRAN                                  3605 SUMPTER ST                                                                              LANSING         MI    48911‐2622
JACK W COSBY & CAROL A COSBY JT TEN             1201 LASALLE RD                                                                              MONROE          MI    48162‐4205
JACK W CRABTREE                                 204 APPIAN WAY                                                                               ANDERSON        IN    46013
JACK W DEHOFF                                   726 LOVEVILLE RD APT 4                                                                       HOCKESSIN       DE    19707
JACK W DENNIS                                   125 SEVENTH STREET                                                                           IMLAY CITY      MI    48444‐1021
JACK W DUNN                                     5190 PLAINS RD                                                                               EATON RAPIDS    MI    48827‐9613
JACK W EDINGTON                                 3916 C STREET                                                                                SAN DIEGO       CA    92102‐3430
JACK W EDWARDS                                  11937 STRAWBERRY AVE                                                                         MARION          MI    49665‐9507
JACK W FRAZIER                                  5806 OPPOSSUN TROT ROAD                                                                      CHARLESTOWN     IN    47111‐9135
JACK W GARDNER                                  209 HANOVER CT                                                                               BOWLING GREEN   KY    42101
JACK W GREEN                                    2372 LAKEVIEW DR                                                                             HALE            MI    48739‐8709
JACK W GRUBBE                                   6312 HILL ROAD                                                                               BERLIN HGTS     OH    44814‐9463
JACK W GUSTIN & VIANNA W GUSTIN JT TEN          4523 GREENHILL WAY                                                                           ANDERSON        IN    46012‐9743
JACK W HOBDY                                    1770 HAVEN TRL                                                                               MARTINSVILLE    IN    46151‐6737
JACK W HOEFT                                    2613 YUMA DRIVE                                                                              BOWLING GREEN   KY    42104‐4270
JACK W HOOK                                     14615 HIDDEN GLEN WOODS                                                                      SAN ANTONIO     TX    78249‐1470
JACK W HOYT                                     1024 PEARL TREE RD                                                                           DELTONA         FL    32725‐4305
JACK W HUMPHREY & IMOGENE R HUMPHREY JT TEN     2917 KORESSEL RD                                                                             EVANSVILLE      IN    47720‐2319

JACK W KALBFLEISCH                              2154 E JOLSON                                                                                BURTON          MI    48529‐2131
JACK W KELLSTROM                                620 SARINA TERRACE SW                                                                        VERO BEACH      FL    32968‐4043
JACK W KIENAST GDN WILLARD C KIENAST            5010 HARVEST HILL RD                                                                         DALLAS          TX    75244‐6521
JACK W LOWN & ANNIE V LOWN JT TEN               8812 OREGON INLET COURT                                                                      RALEIGH         NC    27603‐9176
JACK W MANN                                     5074 E STANLEY RD                                                                            FLINT           MI    48506‐1147
JACK W MARTIN & JANICE L H MARTIN JT TEN        5634 W 26TH STREET RD                                                                        GREENLY         CO    80634‐4556
JACK W MASON                                    4140 TIDELAND                                                                                BRIDGETON       MO    63044‐3441
JACK W MEYERS                                   333 BEACH GROVE DR                                                                           ERIE            PA    16505‐1705
JACK W ONEAL                                    1225 ROUGHSHOD HOLLOW ROAD                                                                   BYRDSTOWN       TN    38549‐4785
JACK W PORTER JR                                5316 JAIME LN                                                                                FLUSHING        MI    48433‐2907
JACK W PRESTON                                  7934 CAHALL DRIVE                   RURAL ROUTE 2                                            WAYNESVILLE     OH    45068‐9517
JACK W PUTNAM & ANNAMARIE LEMIEUX‐PUTNAM JT     830 WHEELING RD                                                                              IMLAY CITY      MI    48444‐9413
TEN
JACK W REYNOLDS & JO ANN REYNOLDS JT TEN        132 VIA CAPRI                                                                                NEW SMYRNA       FL   32169
JACK W ROBBINS                                  116 BAREFOOT TRAIL                                                                           PORT ORANGE      FL   32119‐3608
JACK W ROSE                                     390 PERALTA AVE                                                                              LONG BEACH       CA   90803‐2216
JACK W SCHMERHEIM                               3815 HEMMETER RD                                                                             SAGINAW          MI   48603
JACK W SCHMIDT                                  222 SUNSET DR                                                                                WAPPINGERS FL    NY   12590
JACK W SMELSER                                  PO BOX 115                                                                                   GREAT CACAPON    WV   25422
JACK W SMITH                                    G‐3210 N TERM ST                                                                             FLINT            MI   48506
JACK W SORRELL                                  ROUTE 1                                                                                      FENWICK          MI   48834‐9801
JACK W TRUMBLE                                  28020 OLD COLONY                                                                             FARMINGTON HILLS MI   48334‐3245

JACK W VANCONETT                                2020 VERNON                                                                                  SAGINAW         MI    48602‐1901
JACK W VERNER                                   1625 KOCH DR                                                                                 FLORISSANT      MO    63033‐3101
JACK W WAGGONER                                 8328 NORTH LIMA RD                                                                           POLAND          OH    44514‐2904
JACK W WIERSMA                                  7877 IRVING RD                                                                               MIDDLEVILLE     MI    49333‐9418
JACK W WILLIAMS                                 2617 SUQUALENA MEEHAN RD N                                                                   MERIDIAN        MS    39307‐9220
JACK W WILSON II & JENNIFER K WILSON JT TEN     3246 WOODFIELD DR                                                                            WALWORTH        NY    14568‐9442
JACK W WOODS                                    2432 STATE ROUTE 183                                                                         ATWATER         OH    44201‐9579
JACK W WRIGHT                                   6930 MICHELLE PLACE                                                                          ENGLEWOOD       OH    45322‐3708
JACK W WRIGHT & MRS EDITH I WRIGHT JT TEN       6930 MICHELLE PL                                                                             ENGLEWOOD       OH    45322‐3708
JACK WAKSAL & SABINA WAKSAL JT TEN              9601 COLLINS AVE 1409                                                                        BAL HARBOUR     FL    33154
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JACK WARREN BRUNNER                              PO BOX 91                                                                                      INGALLS        IN    46048‐0091
JACK WARREN TR GLENORA R WARREN LIVING TRUST     2786 LOCKMOOR BLVD                                                                             LAKE ORION     MI    48360
UA 06/22/83
JACK WAYNE JOHNSTON JR                           P O BOX 576                                                                                    MARION         MI    49665
JACK WELLS JOY WELLS JACALYN G WELLS & BRIAN P   8229 N SEYMOUR RD                                                                              FLUSHING       MI    48433‐9257
WELLS JT TEN
JACK WERTS & DOROTHY M WERTS TR UA 11/19/93      319 N BLACKHAWK AVE                                                                            MADISON        WI    53705‐3315
WERTS TRUST
JACK WIDNER CUST JOHN DAVID WIDNER UGMA OH       3704 FALLS CIRCLE DR                                                                           HILLIARD       OH    43026‐9156

JACK WIL YIN NG                                   105 ALTA VISTA WAY                                                                            DALY CITY      CA    94014‐1403
JACK WILKERSON JR                                 2615 HAMPTON AVE                                                                              TUPELO         MS    38801‐4121
JACK WILLIAM HUBER                                2970 LAURA LN                                                                                 LITHIA SPGS    GA    30122‐2541
JACK WILLIAM ROBERTS                              455 W NORTHRIDGE AVE                                                                          GLENDORA       CA    91740
JACK WILLIAMS CHEVROLET LP                        PO BOX 1382                                                                                   FORT WORTH     TX    76101‐1382
JACK WILLOUGHBY                                   419 S WOODLAWN                                                                                LIMA           OH    45805‐3166
JACK WOLFE                                        411 ACHILLE RD                                                                                HAVERTOWN      PA    19083‐2101
JACK Y COLLETTI                                   5437 PRINCETON CT                                                                             WARREN         MI    48091‐3837
JACK YIU TSE                                      4202 GRIFFIN AVE                                                                              LOS ANGELES    CA    90031‐1631
JACK YOUNG & JOYCE YOUNG JT TEN                   4208 EMIL                                                                                     AMARILLO       TX    79106‐6027
JACK ZIGLER                                       26 ORCHARD ROW                                                                                MILTON         WI    53563‐1435
JACK ZIRKEL                                       RR 6575 NORTH RAIDER RD                                                                       MIDDLETOWN     IN    47356
JACKIE A COWIN                                    144 BIGELOW RD                                                                                NEWTON         MA    02465‐3021
JACKIE A DAY                                      207 CHERRY ST                                                                                 CHARDON        OH    44024‐1116
JACKIE A KING                                     48 JACQUELYN DR                                                                               BENSENVILLE    IL    60106‐3264
JACKIE ALSTON & BETTY J ALSTON JT TEN             103 WILLOW OAK PL                                                                             HENDERSON      NC    27537‐7001
JACKIE AMBURN                                     1025 N 7TH                                                                                    HOLLIS         OK    73550‐2017
JACKIE B HARDEN & CHRISTINE R HARDEN JT TEN       1687 LOCUST DR                                                                                WILLIAMSBURG   IA    52361
JACKIE B MARDIKIAN TOD LLOYD R MARDIKIAN SUBJECT 4646 WILLIS AVE                       APT 209                                                  SHERMAN OAKS   CA    91403‐2656
TO STA TOD RULES
JACKIE B MULLINS                                  PO BOX 563                                                                                    PARKER CITY    IN    47368‐0563
JACKIE BAIRD JONES                                210 E BAWCOM STREET                                                                           WEST MONROE    LA    71292‐8607
JACKIE BEATY                                      7606 LAKESHORE DR                                                                             NEWPORT        MI    48166‐9791
JACKIE C ARGABRITE & CHARLOTTE J ARGABRITE JT TEN 32928 LUCILLE LN                                                                              LISBON         OH    44432‐8440

JACKIE C HOWELL & JACQULINE W HOWELL JT TEN      PO BOX 1033                                                                                    LAPEL          IN    46051‐1033

JACKIE C MAHAFFEY                                525 QUEENSGATE RD                                                                              SPRINGSBORO    OH    45066‐9726
JACKIE C WILLIAMS                                207 OAK CREEK CIRCLE                                                                           MC GREGOR      TX    76657‐9514
JACKIE COPPEDGE                                  106 W 64TH ST                                                                                  CINCINNATI     OH    45216‐2119
JACKIE D BAKER                                   8499 S 75 E                                                                                    PENDLETON      IN    46064‐9328
JACKIE D BLEVINS                                 19 RIVERVIEW DR SE                                                                             DECATUR        AL    35603‐6010
JACKIE D CAMPBELL                                421 N 11TH ST                                                                                  ELWOOD         IN    46036‐1558
JACKIE D COLVIN                                  3650 W LAKESHORE DR                                                                            PORT CLINTON   OH    43452‐9059
JACKIE D DUMAS‐MAZAR                             7 PREAKNESS COURT                     WHITBY ON                              L1N 6W2 CANADA
JACKIE D ELEE                                    4890 HIGHWAY 139                                                                               COLLINSTON     LA    71229‐9253
JACKIE D HELZER                                  7137 NICOLE DR                                                                                 SOUTH BRANCH   MI    48761‐9619
JACKIE D MEADOWS                                 4290 SAGEWOOD CT                                                                               GREENWOOD      IN    46143‐8401
JACKIE D NEVERDAUSKY                             445 OGLETHORPE                                                                                 HAPEER         MI    48446‐2773
JACKIE D OLIVER                                  PO BOX 1631                                                                                    MCKINNEY       TX    75070‐1631
JACKIE D PETTIGREW                               9767 W WALNUT ST                                                                               LAPEL          IN    46051‐9755
JACKIE D ROZAK                                   16758 HILLTOP AVE                                                                              ORLAND HILLS   IL    60477‐6031
JACKIE D YOUNG                                   246 AMBERWOOD LN                                                                               WINCHESTER     VA    22602‐4765
JACKIE DEAN CREAMER                              6736 N 350 E                                                                                   ALEXANDRIA     IN    46001‐8871
JACKIE E BALLARD                                 333 SERENITY VALLEY RD                                                                         MOUNDVILLE     AL    35474
JACKIE E JARVIS                                  C/O JAHNIFER HUTCHENS                 4612 TUXEDO DR SOUTH                                     WARREN         MI    48092‐1173
JACKIE E REED                                    1401 N AVE H PLE                                                                               HASKELLON      TX    79521
JACKIE E SLUSSER & TODD L SLUSSER JT TEN         2521 PENNINGTON BEND RD               APT 220                                                  NASHVILLE      TN    37214‐1253
JACKIE E WILLIAMS                                3401A E CR 4505                                                                                MUNCIE         IN    47302‐9660
                                           09-50026-mg               Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                            Address1                            Address2             Address3          Address4          City            State Zip

JACKIE EUGENE NICHOLS                           304 W 34TH ST                                                                                ANDERSON        IN    46013‐3200
JACKIE F DAVIS                                  508 N TOMPKINS DR                                                                            OKLAHOMA CITY   OK    73127‐6045
JACKIE G BROWN                                  43882 STATE RTE 26                                                                           WOODSFIELD      OH    43793‐9327
JACKIE G GORDON                                 1844 TREADWELL                                                                               WESTLAND        MI    48186‐3915
JACKIE G HAMM                                   3746 MAATTA RD                                                                               TOIVOLA         MI    49965‐9384
JACKIE G KIFER                                  49 LILLIAN DR                                                                                SAINT CHARLES   MO    63304‐7005
JACKIE G SCOTT                                  1129 SHERWOOD DRIVE                                                                          BUCYRUS         OH    44820‐3331
JACKIE G WALLACE & MARILYN J WALLACE JT TEN     9644 E ELMWOOD                                                                               MESA            AZ    85207‐5331
JACKIE H COOPER                                 150 CHRIS DR                        APT 208                                                  ENGLEWOOD       OH    45322‐1118
JACKIE H DONEGAN TR JACKIE H DONEGAN REVOCABLE 29912 WILLOW POINTE DR                                                                        ROSEVILLE       MI    48066‐1930
TRUSTUA 04/19/00
JACKIE H LAMAR                                  315 LETE LANE                                                                                DANVILLE        IL    61832‐8442
JACKIE H MCCARTY                                761 WILD ROSE LANE                                                                           GREENWOOD       IN    46142‐7705
JACKIE H MCCARTY SR                             761 WILD ROSE LN                                                                             GREENWOOD       IN    46142‐7705
JACKIE H SMITH                                  10953 MILLGROVE RD                                                                           QUINCY          IN    47456‐8568
JACKIE HINES                                    2167 WAYLAND ROAD                                                                            DEERFIELD       OH    44411‐9731
JACKIE HOWARD COOPER II                         8626 W FARM ROAD 64                                                                          WILLARD         MO    65781‐8188
JACKIE I SMITH                                  326 S LOCUST ST APT 3                                                                        NOWATA          OK    74048‐3616
JACKIE J DAVIS                                  201 BURNS RD                                                                                 CARROLLTON      GA    30117‐2548
JACKIE J GREEN                                  8006 N 1000 W                                                                                MIDDLETOWN      IN    47356
JACKIE K NORDEEN CUST AUGUSTA KAY STATZ UGMA SC 656 MARTIN SMITH RD                                                                          GILBERT         SC    29054‐9564

JACKIE K NORDEEN JR                             1680 BROWN RD                       #A                                                       HEPHZIBAH       GA    30815‐4499
JACKIE K SCHUMACKER                             126 S WRIGHT RD                                                                              JANESVILLE      WI    53546
JACKIE KAY NAIL                                 731 LEFTY'S CAMP #20                                                                         GRAFORD         TX    76449‐1922
JACKIE L BABYAK                                 162 PARKVIEW CR W                                                                            LAKE PLACID     FL    33852‐9391
JACKIE L BLOUNT                                 12344 W WARREN                                                                               MOKENA          IL    60448‐9225
JACKIE L BOND                                   217 EBY ROAD                                                                                 SHILOH          OH    44878‐8870
JACKIE L BOND JR                                217 EBY ROAD                                                                                 SHILOH          OH    44878‐8870
JACKIE L BROWN                                  6744 LAKESHORE DR                                                                            AVON            IN    46123‐8443
JACKIE L BROWN & DOTTIE K BROWN JT TEN          6744 LAKESHORE DR                                                                            AVON            IN    46123
JACKIE L CAMPEAU TOD JENNIFER ADAMS TOD SUBJECT 409 WESTCHESTER DR                                                                           COCOA           FL    32926‐6640
TO STA TOD RULES
JACKIE L COLE                                   6413 S DURLAND                                                                               OKLAHOMA CITY   OK    73149‐2221
JACKIE L CORNWELL                               1270 S L ST APT 3                                                                            ELWOOD          IN    46036
JACKIE L FIFE                                   PO BOX 643                                                                                   HARRISON        MI    48625‐0643
JACKIE L FLINT                                  4019 E MILWAUKEE ST                                                                          JANESVILLE      WI    53546‐1483
JACKIE L FULLER                                 1700 NE 175 RD                                                                               OSCEOLA         MO    64776‐2400
JACKIE L HAMILTON & NANCY E HAMILTON JT TEN     541 GOLO RD                                                                                  MAYFIELD        KY    42066
JACKIE L JEFFERSON                              1330 VAUXHALL PL                                                                             COLUMBUS        OH    43204‐2201
JACKIE L JOHNSON                                2125 TIMBER COVE CT                                                                          WEATHERFORD     TX    76087‐3827
JACKIE L KIRK                                   BOX 223                                                                                      MARKLEVILLE     IN    46056‐0223
JACKIE L LINDSAY                                6129 STATE ROUTE 73 WEST                                                                     WILMINGTON      OH    45177‐9206
JACKIE L MONROE                                 1600 GLEN EAGLES DR                                                                          KOKOMO          IN    46902‐3181
JACKIE L MONROE & BETTY S MONROE JT TEN         1600 GLENEAGLES DR                                                                           KOKOMO          IN    46902‐3181
JACKIE L MURPHY                                 4115 ABBEYGATE DRIVE                                                                         BEAVER CREEK    OH    45430‐2093
JACKIE L OWENS EX UW VADA M OWENS               3947 MAPLE GROVE LN                                                                          BEAVERCREEK     OH    45440‐3482
JACKIE L PORTER                                 PO BOX 41                                                                                    PORT WILLIAM    OH    45164‐0041
JACKIE L POSEY                                  2230 OVERLOOK CREST                                                                          BIRMINGHAM      AL    35226‐3270
JACKIE L SAYRE                                  5210 W CR 350 N                                                                              MUNCIE          IN    47304‐9121
JACKIE L SAYRE & HILDA H SAYRE JT TEN           5210 W C R 350N                                                                              MUNCIE          IN    47304‐9121
JACKIE L TACKETT                                241 LEAVER ST                                                                                VERNON          MI    48476
JACKIE L UPSHAW                                 18505 COYLE                                                                                  DETROIT         MI    48235‐2865
JACKIE L WERTH                                  6055 CANTERBUY CT                                                                            PITTSBORO       IN    46167‐9311
JACKIE L WERTH & CONNIE M WERTH JT TEN          6055 CANTERBURY CT                                                                           PITTSBORO       IN    46167‐9311
JACKIE L YOUNCE                                 601 DELAWARE AVE                                                                             ELKTON          MD    21921‐6008
JACKIE L YOUNG                                  600 CARRIAGE HOUSE LANE APT 102D                                                             NOKOMIS         FL    34275
JACKIE LEE ALEXANDER                            6124 DUCK LAKE RD                                                                            WHITEHALL       MI    49461‐9679
JACKIE LEE DAWSON                               PO BOX 2683                                                                                  ANDERSON        IN    46018‐2683
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JACKIE LEE OWENS                                 3947 MAPLE GROVE LN                                                                            DAYTON             OH    45440‐3482
JACKIE M NEELY                                   611 N HENRY FORD AVE UNIT 13                                                                   WILMINGTON         CA    90744‐6720
JACKIE M STEWART                                 RT 1 BOX 106‐3                                                                                 SALLISAU           OK    74955‐9732
JACKIE MAGGARD                                   3314 SIGNET DRIVE                                                                              WATERFORD          MI    48329‐4064
JACKIE MARTIN                                    1466 W SQUARE LAKE ROAD                                                                        BLOOMFIELD HILLS   MI    48302‐0849

JACKIE MORRIS LUSK                               922 SILVER LAKE RD                                                                             FENTON             MI    48430‐2627
JACKIE O WRIGHT                                  ROUTE 6 BOX 235‐B                                                                              EASTMAN            GA    31023‐9038
JACKIE P ROBERTS                                 14571 WEST M‐60                                                                                THREE RIVERS       MI    49093‐9301
JACKIE R EVERETT                                 830 GREYSTONE TRACE                                                                            NEWPORT NEWS       VA    23602‐9450
JACKIE R HUGHES                                  12 GRANVILLE LANE                                                                              NEWARK             DE    19713‐1806
JACKIE R LEWIS                                   4430 SAINT JAMES CT                   APT 2                                                    FLINT              MI    48532‐4260
JACKIE R MCCRARY                                 707 GRAFF WAY                                                                                  LEE S SUMMIT       MO    64081‐2727
JACKIE R QUEEN                                   630 BROWNHILL CHURCH ROAD                                                                      SOCIAL CIRCLE      GA    30025
JACKIE R REA                                     1904 STATE ST                                                                                  EAST CARONDELET    IL    62240‐1326

JACKIE R SATTERFIELD                             4851 BABYLON ST                                                                                DAYTON             OH    45439‐2905
JACKIE R SULLIVAN                                7431 SKYE DRIVE NORTH                                                                          JACKSONVILLE       FL    32221‐6152
JACKIE R WATKINS                                 9913 W MAIN ST                                                                                 LAPEL              IN    46051‐9621
JACKIE S PALMER                                  HC 71 BOX 98                                                                                   KINGSTON           OK    73439‐9707
JACKIE S SANTERRE                                2265 TOMAHAWK DR                                                                               LAPEER             MI    48446‐8034
JACKIE SHULTS GARNER‐MORRIS                      1951 COUNTY RD 202                                                                             LIBERTY HILL       TX    78642‐3703
JACKIE SMITH                                     27694 CORONADO                                                                                 HAYWARD            CA    94545‐4620
JACKIE STRICKLAND                                2600 RIVERWOODS RD                                                                             RIVERWOODS         IL    60015‐1944
JACKIE SWEENEY                                   59 ROCKLEDGE PLACE                                                                             CEDAR GROVE        NJ    07009‐1626
JACKIE T CAPPS                                   367 LARMON MILL RD                                                                             BOWLING GREEN      KY    42104‐7842
JACKIE TEMPLET BOSCH                             22 TRUETT DR                                                                                   COVINGTON          LA    70435‐9428
JACKIE V SIMMONS                                 PO BOX 855                                                                                     LAFAYETTE          CO    80026
JACKIE W BRINSON                                 1762 NISKEY LAKE RD SW                                                                         ATLANTA            GA    30331‐6404
JACKIE W FOWLER                                  RT 1 BOX 53                                                                                    CASHION            OK    73016‐9620
JACKIE W HANSON                                  4076 E FOREST GLEN AVE                                                                         LEESBURG           IN    46538‐9553
JACKIE W HEADLEY                                 1410 SO I ST                                                                                   ELWOOD             IN    46036‐2359
JACKIE W KELLER                                  718 HARRISON ST                                                                                COVINGTON          IN    47932‐1442
JACKIE W VANN                                    GENERAL DELIVERY                                                                               PETROS             TN    37845
JACKIE WHEELER                                   5442 CEDONIA AVE                                                                               BALTIMORE          MD    21206‐3901
JACKLIN R CORTEZ                                 130 MEADOWLAKE CIRCLE                                                                          NEWALLA            OK    74857‐8073
JACKLYN C GASSER & GERALD H GASSER JT TEN        580 SUNRISE BLVD N                                                                             TWIN FALLS         ID    83301‐4349
JACKLYN DWYER                                    566 HICKORY LANE                                                                               PAINESVILLE        OH    44077‐2743
JACKLYN GRINDATTI NELSON & WILLIAM D GRINDATTI                                                                                                  LEES SUMMIT        MO    64063‐2423
JT TEN 612 NE MAGNOLIA
JACKLYN K GOODRICH                               5355 ERIN ISLES CT                                                                             DUBLIN             OH    43017‐1005
JACKLYN S LANE                                   1935 NORTH B ST                                                                                ELWOOD             IN    46036‐1745
JACKLYNN F SMITH                                 501 STOCKLEY ST                                                                                REHOBOTH           DE    19971‐1845
JACKOLYN D HALL                                  221 LOOKOUT DR                                                                                 COLUMBIA           TN    38401‐6144
JACKQULINE ROBERTSON                             2006 STONEY BROOK CT                                                                           FLINT              MI    48507‐2273
JACKSON A BEAN                                   602 SPRINGVALE DR                                                                              SAN ANTONIO        TX    78227‐4453
JACKSON ANGELINE                                 5527 S WENTWORTH AVE                                                                           CHICAGO            IL    60621
JACKSON B LINGER TR SEXTON M LINGER TRUST UA     555 BRUSH ST #1805                                                                             DETROIT            MI    48226‐4333
2/7/00
JACKSON BAPTIST CHURCH                           RFD3                                                                                           BENTON             PA    17814‐9803
JACKSON BERKEY & ALMEDA BERKEY JT TEN            3402 WOOLWORTH AVE                                                                             OMAHA              NE    68105‐1944
JACKSON DEAN BINGAMAN                            4722 KENWOOD DRIVE                                                                             ANDERSON           IN    46013‐4762
JACKSON E BARRY JR                               22830 BEECH                                                                                    DEARBORN           MI    48124‐2665
JACKSON E LEWIS                                  209 RIVER DR                                                                                   SOUTHPORT          NC    28461‐4107
JACKSON EMERSON                                  917 BERNARD DRIVE                                                                              FULLERTON          CA    92835‐1934
JACKSON G HORNER TR JACKSON G HORNER TRUST UA    7405 LINKS CT                                                                                  SARASOTA           FL    34243‐4662
05/12/93
JACKSON HILL JR                                  724 CHANDLER DR                                                                                TROTWOOD           OH    45426‐2510
JACKSON J FARRILL                                16 CAPTAIN FORBUSH LANE                                                                        ACTON              MA    01720‐2912
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JACKSON JR FARMERS 4‐H CLUB                    C/O JULIE YOCKEY                        10120 DONALD RD                                          GEORGETOWN     OH    45121‐9456
JACKSON KING                                   214‐17 67TH AVE                                                                                  BAYSIDE        NY    11359
JACKSON L AUSTIN CUST MARK ANDREW AUSTIN UGMA 805 WEST OAK KNOLL STREET                                                                         BREA           CA    92821‐2062
TX
JACKSON L FRAY 3RD                             1611 S BARTON ST                                                                                 ARLINGTON      VA    22204‐4855
JACKSON LANGAN DELPH                           PO BOX 74                                                                                        SHIRLEY        IN    47384‐0074
JACKSON M REEVES JR                            7711 LEDBETTER RD                                                                                ARLINGTON      TX    76001‐6909
JACKSON M WELLS                                76 KELLY DR                                                                                      QUITMAN        GA    31643‐4711
JACKSON MERLE MARSHALL                         PO BOX 220                                                                                       GREENSBURG     PA    15601‐0220
JACKSON NATIONAL CUST FBO DEBORAH A BIFFLE IRA 548 CRISTY AVENUE                                                                                WATERFORD      MI    48328

JACKSON NATIONAL CUST FBO RICHARD CROSS IRA       2636 HAY CREEK DR                                                                             PINCKNEY       MI    48169

JACKSON NATIONAL TR JUDY CLARK IRA                1142 CABOT DR                                                                                 FLINT          MI    48532‐2634
JACKSON R HELTON                                  PO BOX 48085                                                                                  ATLANTA        GA    30362‐1085
JACKSON R MC GOWEN                                5158 SALERNO DRIVE                                                                            FLINT          MI    48507‐4024
JACKSON R MCGOWEN & DORIS J MCGOWEN JT TEN        5158 SALERNO DRIVE                                                                            FLINT          MI    48507‐4024

JACKSON S POGUE                                   529 GILMORE AVE                                                                               TRAFFORD       PA    15085‐1143
JACKSON W LIND                                    1202 23RD ST S                       STE 3                                                    FARGO          ND    58103‐2951
JACKSON W RATZEL                                  418 E PARK AVE                                                                                LAKE WALES     FL    33853
JACKSON WEBB & DOROTHY WEBB JT TEN                120 WARWICK ST                                                                                LOWELL         MA    01851‐4334
JACKSON Y WRIGHT CUST KELLY A WRIGHT UGMA DE      ATTN KELLY A RYAN                    6 WAVERLY DRIVE                                          NEWARK         DE    19713‐2819

JACKSON Y WRIGHT CUST KIMBERLY J WRIGHT UGMA 121 SOUTH CLIFTON AVE                                                                              WILMINGTON     DE    19805‐2306
DE
JACKWYN W SMITH                              71 SUNNYVALE LANE                                                                                  AUGUSTA        GA    30907‐3595
JACLYN A ANDERSON & BRIAN D ALLEN JT TEN     5135 RUNNYMEDE DR                                                                                  HOLT           MI    48842‐2903
JACLYN A ANDERSON & CRAIG R ALLEN JT TEN     5135 RUNNYMEDE DR                                                                                  HOLT           MI    48842‐2903
JACLYN A ANDERSON & CRIS D ALLEN JT TEN      5135 RUNNYMEDE DR                                                                                  HOLT           MI    48842‐2903
JACLYN A ANDERSON & TERI L RUTTER JT TEN     5135 RUNNYMEDE DR                                                                                  HOLT           MI    48842‐2903
JACLYN A ZWIACHER                            PO BOX 64910                                                                                       LUBBOCK        TX    79464‐4910
JACLYN BOVARNICK                             6 INDIAN SPRING RD                                                                                 NATICK         MA    01760‐5664
JACLYN DIANE BOWMAN                          4380 CARNEGIE                                                                                      WAYNE          MI    48184‐2137
JACLYN HORVATH CUST NICHOLAS HORVATH UTMA MD 8118 CLIFFORD CT                                                                                   LAUREL         MD    20723‐2028

JACLYN KNEHANS MILLER & DANE C MILLER JT TEN      402 N W HIGHWAY H                                                                             WARRENSBURG    MO    64093‐7637

JACLYN N JOHN                                     10300 CHESTER DR                                                                              CARMEL         IN    46032‐4026
JACLYN R TREZZA                                   149‐34 18 AVENUE                                                                              WHITESTONE     NY    11357‐3123
JACLYNN RUTH FISHER                               2350 FOWLERVILLE RD                                                                           FOWLERVILLE    MI    48836‐8940
JACOB A EKEL                                      9255 LOIS DR                                                                                  PIGEON         MI    48755‐9605
JACOB A FYE JR                                    1217 S COOPER ST                                                                              KOKOMO         IN    46902‐1832
JACOB A HARSTON                                   11519 S LOOMIS                                                                                CHICAGO        IL    60643‐5004
JACOB A HIRSCH                                    400 FLAT HILLS ROAD                                                                           AMHERST        MA    01002‐1220
JACOB A HIRSCH CUST PHILLIP WILLARD HIRSCH UTMA   400 FLAT HILL RD                                                                              AMHERST        MA    01002‐1220
MA
JACOB A NALAZEK & LOIS NALAZEK JT TEN             1807 S JACKSON                                                                                BAY CITY       MI    48708‐8701
JACOB A SATHER                                    6477 POTRERO DRIVE                                                                            NEWARK         CA    94560‐5628
JACOB A WEBER                                     18 MASON RD                                                                                   FAIRPORT       NY    14450‐9545
JACOB A WOYTALEWICZ JR                            11250 RIVER DRIVE                                                                             WARREN         MI    48093‐8108
JACOB A YOST                                      1961 GRANGE HALL RD                                                                           FENTON         MI    48430‐1625
JACOB AHLRICHS UNTENER                            541 ENID AVE                                                                                  KETTERING      OH    45429‐5411
JACOB B ZIEGLER                                   315 WELCOME WAY BLVD E               APT 106C                                                 INDIANAPOLIS   IN    46214‐2911
JACOB BLEHM                                       33 WHITE OAK DR                                                                               SMITHFIELD     NC    27577‐4806
JACOB BOUW JR & LOIS BOUW JT TEN                  ATTN HENRY BOUW                      BOX 671                                                  DOWNSVILLE     NY    13755‐0671
JACOB BRENER                                      180‐11 TUDOR ROAD                                                                             JAMAICA        NY    11432‐1444
JACOB C EMMER                                     309 GRANTS CREEK RD                                                                           BRUNSWICK      GA    31525
JACOB C HARDESTY                                  1450 N BUCKNER BLVD                                                                           DALLAS         TX    75218‐3514
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JACOB C HARDESTY & VIRGINIA R HARDESTY JT TEN      1450 N BUCKNER BLVD                                                                              DALLAS            TX    75218‐3514

JACOB C HOOVER                                     2102 MAIN ST                                                                                     ANDERSON          IN    46016‐4369
JACOB C MEYER & PEGGY RULE MEYER JT TEN            PO BOX 6149                                                                                      INCLINE VILLAGE   NV    89450‐6149
JACOB C MUNCH & ANNE K MUNCH JT TEN                301 CRESTVIEW CIRCLE                                                                             WALLINGFORD       PA    19063‐1736
JACOB C NOIROT                                     BOX 53                                                                                           MILLER CITY       OH    45864‐0053
JACOB C SHEELY JR & DOROTHY S SHEELY TEN ENT       259 FROST ROAD                                                                                   GARDNERS          PA    17324‐8813
JACOB CACHO                                        8578 AVENIDA COSTA BLANCA 101                                                                    SAN DIEGO         CA    92154
JACOB D ELENBAAS                                   4293 CARLOS CT                                                                                   HERNANDO BCH      FL    34607‐3312
JACOB D F SCOTT                                    6959 ANTHONY                                                                                     KALAMAZOO         MI    49009
JACOB D HALLMAN                                    RT #1 BOX 29‐C                                                                                   DEVALLS           AR    72041‐9801
JACOB DROMGOOLE                                    72 CYRUS AVE                                                                                     PITMAN            NJ    08071
JACOB DYCK                                         1172 IRVINE ROAD                      NIAGARA ON THE LAKE ONTARIO              L0S 1J0 CANADA
JACOB E BRISENDINE & BETTY J BRISENDINE JT TEN     2120 S ELMS ROAD                                                                                 SWARTZ CREEK      MI    48473‐9729

JACOB E HAYRYNEN                                   N7445 EVERGREEN DRIVE                                                                            CHRISTMAS         MI    49862
JACOB ENDRES                                       6041 LORELEY BEACH ROAD                                                                          WHITE MARSH       MD    21162
JACOB F CONRAD                                     2823 BEACH AVE                                                                                   VENICE            CA    90291‐4606
JACOB F GAYARI & MRS THERESA D GAYARI JT TEN       12461 N LINDEN RD                                                                                CLIO              MI    48420‐8240
JACOB F KRUMBACH                                   911 LYNITA DR NE                                                                                 BROOKFIELD        OH    44403‐9652
JACOB F PIPER                                      74 FIAIA CT                                                                                      FALLING WATERS    WV    25419
JACOB FUCHS TR UA 11/16/93                         2035 S COLLEGE AVE                                                                               TEMPE             AZ    85282‐2250
JACOB G FRISCH & DOLORES J FRISCH JT TEN           680 IRIS DR                                                                                      VENICE            FL    34293‐6916
JACOB G SUMMERS & SUZANNE H SUMMERS JT TEN         239 E CORNWALL RD                                                                                CARY              NC    27511

JACOB H ALFORD & MRS KAREN M ALFORD TEN COM        1839 VALENCE ST                                                                                  NEW ORLEANS       LA    70115‐5553

JACOB H LEPTICH TR JACOB H LEPTICH REV LIVING      450 MYRA WAY                                                                                     SAN FRANCISCO     CA    94127‐1659
TRUSTUA 11/06/97
JACOB HAFT CUST BETHANNE DONNA HAFT UGMA NY        70 BERKELEY DR                                                                                   TENAFLY           NJ    07670‐1202

JACOB HAFT CUST IAN AARON DAVID HAFT UGMA NY       70 BERKELEY DR                                                                                   TENAFLY           NJ    07670‐1202

JACOB HARPOOTIAN & RUTH HARPOOTINA JT TEN          15 FAIRBANKS AVE                                                                                 EAST PROVIDENCE   RI    02914‐1913

JACOB HERMAN                                       2112 RAMPART DR                                                                                  ALEXANDRIA        VA    22308‐1536
JACOB HOOPER TERESI                                72 PINE ST                                                                                       AMHERST           MA    01002‐1126
JACOB J BLACK                                      566 CEDER CREEK WAY                                                                              KILLEN            AL    35645‐4666
JACOB J MOCK                                       34 WHITE PINE COURT                                                                              LAFAYETTE HILL    PA    19444‐2513
JACOB J RAUSCHER                                   7755 OXGATE CT                                                                                   HUDSON            OH    44236‐1878
JACOB J SCHELL                                     8109 EDWILL AVE                                                                                  BALTIMORE         MD    21237‐1617
JACOB J SCHELL & CECILIA M SCHELL JT TEN           8109 EDWILL AVE                                                                                  BALTIMORE         MD    21237‐1617
JACOB J STARR                                      118 HAZELWOOD CIR                                                                                WILLINGBORO       NJ    08046‐1246
JACOB J VELFLING                                   15440 DACOSTA                                                                                    DETROIT           MI    48223‐1545
JACOB JOHNSON                                      1109 NEBRASKA AVE                                                                                ESSEX             IA    51638‐3019
JACOB K OSTROM                                     C/O MARJORIE DICICCO                  7366 GLENWOOD AVENUE                                       YOUNGSTOWN        OH    44512‐5414
JACOB KARST                                        6 CHATEAUX DU LAC                                                                                FENTON            MI    48430‐9140
JACOB KATZ & ROSE KATZ JT TEN                      1312 FRAN LIN PKWY                                                                               MUNSTER           IN    46321‐3706
JACOB KING                                         1359 N STEWART ROAD                                                                              MANSFIELD         OH    44903‐9788
JACOB KOHN & FANNIE KOHN JT TEN                    1469 REMSEN AVE                                                                                  BROOKLYN          NY    11236‐4907
JACOB KOLB                                         395 W ESSEX                                                                                      TIPP CITY         OH    45371
JACOB L ADAMS                                      83 TOBIAS LN                                                                                     SULLIVAN          MO    63080‐3815
JACOB LEFKOWITZ & SHARON RICH LEFKOWITZ JT TEN     385 GRAND ST #L‐1801                                                                             NEW YORK          NY    10002‐3968

JACOB LEVY                                         1678 OCEAN PKWY                                                                                  BROOKLYN        NY      11223‐2145
JACOB LIEBER                                       2578 BROWN RD                                                                                    MILLINGTON      MI      48746‐9636
JACOB M GOLDBERG                                   5277 WATERVIEW DRIVE                                                                             WEST BLOOMFIELD MI      48323‐2259
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JACOB M GOLDBERG & BEVERLY L GOLDBERG JT TEN      5277 WATERVIEW DRIVE                                                                              WEST BLOOMFIELD MI      48323‐2259

JACOB M KACH JR & BERYL H KACH TEN ENT            2627 BROWNSVILLE RD                                                                               LANGHORNE         PA    19053‐3203
JACOB M KOPP                                      108 ATLANTIC HILLS BLVD                                                                           MANAHAWKIN        NJ    08050‐5403
JACOB M LEBOWITZ                                  138 W BEECH ST                                                                                    LONG BEACH        NY    11561‐3304
JACOB M SAAGMAN                                   1028 ALLEN SPRINGS LN                    APT 103                                                  JENISON           MI    49428‐7335
JACOB M SCHNEIDER                                 548 MYRTLE PL                                                                                     SOUTH DAYTONA     FL    32119‐3330
JACOB MEKLES                                      1600 PARKER AVE                                                                                   FORT LEE          NJ    07024‐7050
JACOB MESRAHI & MRS MATHILDE MESRAHI JT TEN       APT 318                                  64‐41 SAUNDERS STREET                                    REGO PARK         NY    11374‐3255

JACOB MICHAEL BYRD                                2904 SUMMIT PL                                                                                    BIRMINGHAM        AL    35243‐3152
JACOB MICHAEL SCHLENDER                           1021 FLORIDA LANE                                                                                 ELK GROVE VILLAGE IL    60007‐2927

JACOB MISUTA                                      284 CAMBRIDGE RD                                                                                  HILLSDALE         NJ    07642‐1702
JACOB MULLINS & RONALD MULLINS JT TEN             8140 STATE RTE 399                                                                                DUNLAP            TN    37327
JACOB ORIEL MATZA                                 34 ESMOND AVE                                                                                     MELVILLE          NY    11747‐4284
JACOB P CHRNKO                                    7811 SERVICE AVE S E                                                                              MASURY            OH    44438‐1318
JACOB P CHRNKO & RUTH CHRNKO JT TEN               7811 SERVICE AVE                                                                                  MASURY            OH    44438‐1318
JACOB P ORENSKY                                   609 COPPERHEAD CIR                                                                                ST AUGUSTINE      FL    32092‐2746
JACOB P TRUSZKOWSKI                               187 EVERGREEN RD APT 8B                                                                           EDISON            NJ    08837‐2448
JACOB P WELCH                                     223 PINE STREET                                                                                   CORNING           NY    14830‐3131
JACOB P WILT SR                                   205 ADMIRAL DR                                                                                    WILMINGTON        DE    19804‐3403
JACOB PAGAN                                       737 SW 4 STREET                                                                                   HALLANDALE        FL    33009‐6214
JACOB PASSEN                                      402 N HARRISON                                                                                    JASONVILLE        IN    47438‐1009
JACOB R CONWAY                                    5700 DOGWOOD BLVD                                                                                 LOUISVILLE        KY    40299
JACOB R GAYARI                                    6088 WILSON                                                                                       CLIO              MI    48420
JACOB R MARKS                                     3725 NORMANDY AVE                                                                                 DALLAS            TX    75205‐2104
JACOB R O'KEEFE                                   2338 BEAU CHENE DR                                                                                BILOXI            MS    39532
JACOB REISMAN & HELEN REISMAN JT TEN              3398 WINCHESTER                                                                                   WEST BLOOMFIELD   MI    48322‐2418

JACOB ROBINSON                                    2823 ROUND ROAD                                                                                   BROOKLYN          MD    21225‐1302
JACOB RONALD MARKS                                3725 NORMANDY AVE                                                                                 DALLAS            TX    75205‐2104
JACOB ROSS                                        3680 TRIMM ROAD                                                                                   SAGINAW           MI    48609‐9768
JACOB S PETERS                                    7178 W BERGEN RD                                                                                  BERGEN            NY    14416‐9409
JACOB S WHETHERHOLT                               1038 BELLASOL WAY                        UNIT 302                                                 APOLLO BEACH      FL    33572‐3082
JACOB SAVOY                                       480 W KOURY ST                                                                                    CHURCH POINT      LA    70525
JACOB SCHIPPER & GERTRUDE ELEANOR SCHIPPER TR     4839 MEADOW VIEW COURT                                                                            HUDSONVILLE       MI    49426‐1622
UA 8/18/92
JACOB SCHIPPER & MRS GERTRUDE E SCHIPPER JT TEN   4839 MEADOW VIEW CT                                                                               HUDSONVILLE       MI    49426‐1622

JACOB SCHMIDT                                     1690 N CENTER RD                                                                                  SAGINAW           MI    48638‐5569
JACOB SHAPIRO & MRS SHIRLEY P SHAPIRO JT TEN      6 SHAGBARK RD                                                                                     CONCORD           MA    01742‐2029

JACOB SIMMONS JR                                  877 SOUTH 15TH ST                                                                                 NEWARK            NJ    07108‐1324
JACOB T HOENIG                                    2811 AVENUE S                                                                                     BROOKLYN          NY    11229‐2542
JACOB T WALKER                                    5532 W FALL CREEK DR                                                                              PENDLETON         IN    46064‐9770
JACOB TRETTER                                     26641 FERRIDAY AVE                                                                                WYOMING           MN    55092
JACOB URBASSIK                                    4128 WILLMAR DR                                                                                   PALO ALTO         CA    94306‐3835
JACOB V LAMAR                                     757 E 169TH ST                           APT 3D                                                   BRONX             NY    10456
JACOB VANMASTRIGT                                 300 KENNELY RD UNIT G                                                                             SAGINAW           MI    48609‐7710
JACOB W BILLINGS                                  3743 EVERGREEN PKWY                                                                               FLINT             MI    48503‐4565
JACOB W EDWARDS                                   105 STINSON ST                                                                                    CHAPEL HILL       NC    27516‐2144
JACOB WARTHER                                     1014 NORTH WOOSTER                                                                                DOVER             OH    44622‐2719
JACOB WASHINGTON                                  260 CHEROKEE                                                                                      PONTIAC           MI    48341‐2004
JACOBA ANNE SMITH                                 318 HULL AVE                                                                                      CLINTONDALE       NY    12515‐5112
JACOLYN A MOTT                                    PO BOX 144                                                                                        CORNWALL          CT    06753
JACOLYN CAROL MOSS                                2408 E EUCLID AVE                                                                                 BENTON HARBOR     MI    49022‐9210
JACQELINE KEENER                                  1731 RITCHIE RD                                                                                   STOW              OH    44224
JACQUALINE L SOKOL                                37 S ROBY DR                                                                                      ANDERSON          IN    46012‐3246
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JACQUALINE METTING                               52 WESTERVELT AVE                                                                             NORTH HALEDON    NJ    07508‐3051
JACQUALINE METTING CUST MARLENA METTING UTMA     52 WESTERVELT AVE                                                                             HALEDON          NJ    07508‐3051
NJ
JACQUALYNN D CHANDLER                            15220 METTETAL                                                                                DETROIT          MI    48227‐1942
JACQUE H LECOMPTE                                6051 NAGY ROAD                                                                                CELINA           OH    45822‐9138
JACQUE L ALLEN                                   2922 DUDLEY ST                                                                                DEARBORN         MI    48124
JACQUE T ZAHN                                    9871 WEST ALPINE DR                                                                           KIRTLAND         OH    44094
JACQUELEN ANN PAGE TR PAGE TRUST UA 07/27/92     3074 MAYFIELD AVE                                                                             SAN BERNARDINO   CA    92405‐2624

JACQUELENE JOY PHILLIPS                          8217 BOURBON ST                                                                               LUBBOCK          TX    79424‐4007
JACQUELENE R HANES                               10 JASMINE RUN                                                                                ORMOND BEACH     FL    32174‐9205
JACQUELENE ROSS SWANNEY                          PO BOX 384                                                                                    MANSFIELD        TX    76063‐0384
JACQUELIN BROOKS                                 PO BOX 4255                                                                                   TUBAC            AZ    85646‐4255
JACQUELIN C TSCHIEGG                             2525 GREENSBURG PIKE                 APT 508                                                  PITTSBURGH       PA    15221‐3685
JACQUELIN C TURNAGE                              2103 NEW NATCHITOCHES ROAD                                                                    WEST MONROE      LA    71292‐2179
JACQUELIN F RYLANDER                             619 CULVAHOUSE LN                                                                             TEN MILE         TN    37880‐5430
JACQUELIN G GORDON & MICHELLE S KIBBY JT TEN     PO BOX 635                                                                                    OVID             MI    48866‐0635

JACQUELIN L LANDIS                                3122 ENCLAVE CT                                                                              KOKOMO           IN    46902‐8129
JACQUELIN LEE                                     42 RICHLAND RD                                                                               NORWOOD          MA    02062‐5525
JACQUELIN R LOGAN                                 902 S ASHBURTON RD                                                                           COLUMBUS         OH    43227‐1029
JACQUELIND WILLIAMS                               2014 CHELAN STREET                                                                           FLINT            MI    48503‐4312
JACQUELINE A BANNER                               ATTN JACQUELINE A KELSON            7 BUNKER HILL RD                                         NEW CASTLE       DE    19720‐4220
JACQUELINE A BECCACIO                             12957 CLUB DR                                                                                REDLANDS         CA    92373‐7417
JACQUELINE A BOROWSKI & KAREN M APPL & BETH A     18770 HILLTOP DR                                                                             RIVERVIEW        MI    48192‐8087
SCHNELL JT TEN
JACQUELINE A BRZEZNIAK                            4203 ZACHARY CT                                                                              SOUTHPORT        NC    28461‐7477
JACQUELINE A CLARK                                706 WINDWARD CIRCLE                                                                          SANDUSKY         OH    44870
JACQUELINE A CUNNINGHAM & GERALD CUNNINGHAM 614 LIME ROCK                                                                                      ST CHARLES       MO    63304‐7914
JT TEN
JACQUELINE A DAMEWOOD                             426 ELLIOTT CRT                                                                              KOKOMO           IN    46901‐5248
JACQUELINE A DENN TR UA 09/14/1994 PAUL D DENN 4238 N BELL AVE                                                                                 CHICAGO          IL    60618
TRUST
JACQUELINE A DIEBOLD                              2715 ROYAL VISTA DR                 NW APT 102                                               GRAND RAPIDS     MI    49544
JACQUELINE A FULLER                               3450 N 47TH ST                                                                               MILWAUKEE        WI    53216‐3335
JACQUELINE A GILES & HARRY B GILES JT TEN         6340 SUNRISE CT                                                                              SALINE           MI    48176‐8834
JACQUELINE A HERGERT                              PO BOX 495                                                                                   MILTON           WI    53563‐0495
JACQUELINE A HODGES                               ATTN JACQUELINE A HENZ              1156 LINCOLN AVE                                         BELOIT           WI    53511‐4329
JACQUELINE A KALPIN‐SMITH                         1505 TWIN BRIDGE LN                                                                          LAWRENCEVILLE    GA    30043‐6277
JACQUELINE A KIRKLAND                             24697 BASHIAN DR                                                                             NOVI             MI    48375‐2934
JACQUELINE A KRIFKA                               3544 18 AVENUE                                                                               KENOSHA          WI    53140‐2385
JACQUELINE A LAMPKIN                              17199 SAN JUAN                                                                               DETROIT          MI    48221‐2622
JACQUELINE A LESTER                               3745 HUBBARD                                                                                 WAYNE            MI    48184‐1906
JACQUELINE A MIXON                                15711 TRACEY                                                                                 DETROIT          MI    48227‐3345
JACQUELINE A NYMAN                                9320 OAKMONT DR                                                                              GRAND BLANC      MI    48439‐9513
JACQUELINE A PETERSON & JOHN ROSS PETERSON JT     349 S MAIN ST                                                                                WAUCONDA         IL    60084‐1966
TEN
JACQUELINE A PETERSON & PATRICIA JEAN PETERSON JT 349 S MAIN ST                                                                                WAUCONDA         IL    60084‐1966
TEN
JACQUELINE A REID                                 498 ABBIE WAY                                                                                COSTA MESA       CA    92627‐3162
JACQUELINE A WALLACE                              521 DEXTER DR                                                                                BRIDGEPORT       CT    06606‐1307
JACQUELINE A WEITEKAMP                            19819 GUNN HWY                                                                               ODESSA           FL    33556‐4519
JACQUELINE A WHITNEY                              215 RUGBY AVE                                                                                ROCHESTER        NY    14619‐1139
JACQUELINE ALLINSON                               491 HIGH GARNET                                                                              DELTA            CO    81416‐8200
JACQUELINE ANN BAILEY                             2854 CAROB ST                                                                                NEWPORT BEACH    CA    92660‐3211
JACQUELINE ANN MCKIMMY CUST ALICIA LYNNE          209 W BROWN ST                                                                               BEAVERTON        MI    48612‐8177
PRESCOTT UGMA
JACQUELINE ANN MCKIMMY CUST CURTIS ALEXANDER 209 W BROWN ST                                                                                    BEAVERTON        MI    48612‐8177
PRESCOTT UGMA MI
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JACQUELINE ARNOLD                                  2671 HICKORY ST                                                                               SAINT LOUIS     MO    63104‐1909
JACQUELINE B ACUFF                                 4623 S PLATEAU DR                                                                             SPRINGFIELD     OH    45502‐9232
JACQUELINE B FISCHER                               5495 RAYMOND AVE                                                                              BURTON          MI    48509‐1927
JACQUELINE B KRUMHOLZ                              48 FLOWER HILL ROAD                                                                           HUNTINGTON      NY    11743‐2340
JACQUELINE B PIERCE                                804 BARCLIFT ST                                                                               HARTSELLE       AL    35640‐1706
JACQUELINE BALTHASAR                               1224 BEECHMONT                                                                                DEARBORN        MI    48124‐1573
JACQUELINE BARSODI                                 3104 POINT SAL CIR                                                                            LAS VEGAS       NV    89128‐8101
JACQUELINE BELT & MARVIN BELT JT TEN               6506 KOLB                                                                                     ALLEN PARK      MI    48101‐2314
JACQUELINE BENDER                                  18419 STOEPEL                                                                                 DETROIT         MI    48221‐2268
JACQUELINE BENDER & HOWARD BENDER JT TEN           18419 STOEPEL                                                                                 DETROIT         MI    48221‐2268
JACQUELINE BETZ                                    801 ARBOR LANE                                                                                SCHWENKSVILLE   PA    19473‐2831
JACQUELINE BROWN                                   4056 MARLTON CIRCLE                                                                           LIVERPOOL       NY    13090‐3706
JACQUELINE BURNS                                   7532 SUSSEX DRIVE APT C                                                                       FLORENCE        KY    41042
JACQUELINE C CIFERRI CUST TARA CHRISTINE CIFERRI   1676 1 CHATSFORD COURT                                                                        BARTLETT        IL    60103‐0705
UGMA IL
JACQUELINE C KUZARA                                21541 MILITARY                                                                                DEARBORN        MI    48124‐2906
JACQUELINE C MC GLAMERY                            2029 THOMAS AVE S                                                                             MINNEAPOLIS     MN    55405‐2343
JACQUELINE C MURRAY                                510 RAGAN RD                                                                                  CONOWINGO       MD    21918‐1222
JACQUELINE C PACIFIC                               415 UPLAND                                                                                    PONTIAC         MI    48340‐1347
JACQUELINE C SCHNEBELT                             5784 LOUNSBURG RD                                                                             WILLIAMSTON     MI    48895‐9620
JACQUELINE C SIMPKINS                              139 PLUM BRANCH RD                                                                            EDGEFIELD       SC    29824‐3647
JACQUELINE C SORTOR                                1202 HARFORD TOWN DR                                                                          ABINGDON        MD    21009‐4300
JACQUELINE C WILLIAMS                              4149 N CENTRAL                                                                                INDIANAPOLIS    IN    46205‐2604
JACQUELINE CAMBIAS PEER                            912 W FLETCHER ST                                                                             CHICAGO         IL    60657‐4412
JACQUELINE CHUN                                    500 UNIVERSITY AVE #1404                                                                      HONOLULU        HI    96826‐4929
JACQUELINE CISZEWSKI & GERALYN M JANSSENS JT TEN   719 WOODS CT                                                                                  WALLED LAKE     MI    48390‐3774

JACQUELINE CISZEWSKI & KEITH R CISZEWSKI &        719 WOODS COURT                                                                                WALLED LAKE     MI    48390‐3774
GERALYN JANSSENS JT TEN
JACQUELINE COLE                                   190 QUARTERHORSE RD                                                                            WHITNEY         TX    76692
JACQUELINE CORN                                   3208 BENNETT PT RD                                                                             QUEENSTOWN      MD    21658‐1126
JACQUELINE CRAWFORD & JOHN AMES CRAWFORD III JT 331 ADAMS STREET # 1                                                                             HOBOKEN         NJ    07030
TEN
JACQUELINE CUNNINGHAM                             333 WOODSEDGE LN                                                                               WHITE LAKE      MI    48386‐3539
JACQUELINE D BLAKE                                305 SOUTH 6TH AVENUE                                                                           POCATELLO       ID    83201‐5851
JACQUELINE D CROWDER                              5076 CALKINS RD                                                                                FLINT           MI    48532‐3401
JACQUELINE D KLIMEK                               8132 WINTER GARDENS BLVD              UNIT 6                                                   LAKESIDE        CA    92040‐5553
JACQUELINE D KLIMEK & JUDITH E KLIMEK MURLEY JT   10401 STRATTON COURT                                                                           CYPRESS         CA    90630‐4236
TEN
JACQUELINE D MCMICHEAL                            313 EAST PIERSON ROAD                                                                          FLINT           MI    48505‐3311
JACQUELINE D NAPLE TOD GREGORY E NAPLE SUBJECT 1235 CAVALCADE DR                                                                                 YOUNGSTOWN      OH    44515
TO STA TOD RULES
JACQUELINE D ROBERTS                              4330 TIMBER RIDGE TRL SW              APT 3                                                    WYOMING         MI    49519‐4202
JACQUELINE D STEPHERSON                           19709 FENELON                                                                                  DETROIT         MI    48234‐2281
JACQUELINE D STIFF                                7458 N DRIFTWOOD DR                                                                            FENTON          MI    48430‐8904
JACQUELINE D TSCHACHER                            2801 CLAIRE LANE                                                                               JACKSONVILLE    FL    32223
JACQUELINE D WALMSLEY                             624 BRADENTON ROAD                                                                             VENICE          FL    34293‐3619
JACQUELINE D WELLS TR UA 07/08/2008 JACQUELINE    9220 GLADSTONE RD                                                                              NORTH JACKSON   OH    44451
WELLS TRUST
JACQUELINE D WILKINSON & RONALD E WILKINSON JT 19308 SNOWDEN                                                                                     DETROIT         MI    48235‐1260
TEN
JACQUELINE DALESSANDRO                            2545 FORTESQUE AVENUE                                                                          OCEANSIDE       NY    11572
JACQUELINE DARE PERKINS TR UA 11/01/89 JACQUELINE 5 COMMONS DR                                                                                   PALOS PARK      IL    60464‐1249
DARE PERKINS TRUST
JACQUELINE DAVIS                                  11685 MONTCALM AVE                                                                             GREENVILLE      MI    48838
JACQUELINE DAY                                    1230 WOLF CT                                                                                   EAST LANSING    MI    48823‐1869
JACQUELINE DEHART                                 117 GERALD AVE                                                                                 READING         PA    19607‐2313
JACQUELINE DENISE HARRIS                          14310 KENNERDOWN AVE                                                                           MAPLE HEIGHTS   OH    44137‐3628
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JACQUELINE DENNING & THOMAS DENNING JT TEN           6906 PELLA                                                                                    HOUSTON          TX    77036‐5332

JACQUELINE DOWD                                      809 E HARWOOD ST                                                                              ORLANDO          FL    32803‐5704
JACQUELINE E BUNGO                                   3212 CRYSTAL CREEK BLVD                                                                       ORLANDO          FL    32837‐5067
JACQUELINE E GIVENS                                  1200 MT VERNON AVE                                                                            DAYTON           OH    45405‐3949
JACQUELINE E MARTIN                                  5800 SHADOW HILLS DR                                                                          BAKERSFIELD      CA    93308‐9660
JACQUELINE E OGLETREE                                720 KELFORD PL                                                                                DAYTON           OH    45426‐2294
JACQUELINE E RIZZO                                   51 PHEASANT TRAIL RR3                KOMOKO ON                              N0L 1R0 CANADA
JACQUELINE E ROBERTS                                 239 COOK DR                                                                                   FILLMORE         CA    93015‐1521
JACQUELINE E SMITS                                   66 LORRAINE PL                                                                                WEST SENECA      NY    14224‐4807
JACQUELINE E WEISBROD                                6300 ROLLING HILLS DR                                                                         N LITTLE ROCK    AR    72118‐2644
JACQUELINE E WILLIAMSON                              8335 OHIO                                                                                     DETROIT          MI    48204‐5502
JACQUELINE EBELL                                     C/O JACQUELINE E MILLER              105 OAK DR                                               BRANDON          MS    39047‐6201
JACQUELINE ELLIS MEPYANS                             305 FOXBOROUGH SQ W                                                                           BRENTWOOD        TN    37027‐5762
JACQUELINE ERVIN & JAMES N ERVIN JT TEN              2073 HUNTINGTON AVE                                                                           FLINT            MI    48507‐3575
JACQUELINE ETLING                                    14986 W ARROWHEAD LN                                                                          NEW BERLIN       WI    53151‐7479
JACQUELINE EVANS                                     PO BOX 26223                                                                                  WILMINGTON       DE    19899‐6223
JACQUELINE F DULL                                    165 TIMBERLANE DR                                                                             ELYRIA           OH    44035
JACQUELINE F NOHILLY                                 94‐64 ALSTYNE AVE                                                                             ELMHURST         NY    11373‐2829
JACQUELINE F TAYLOR                                  RT 2 BOX 832                                                                                  ABBEVILLE        GA    31001‐9630
JACQUELINE F WEAVER                                  6118 WEST PENROD RD                                                                           MUNCIE           IN    47304‐4623
JACQUELINE FASSBENDER CUST BARBARA FASSBENDER        3459 MARINA CREST DR                                                                          GAINESVILLE      GA    30506‐1061
UGMA
JACQUELINE G PHILLIPS & ERIC J PHILLIPS JT TEN       4450 BELLMONTE DR                                                                             CUMMING          GA    30040‐5253
JACQUELINE G SNYDER                                  110 POTTERS POND DR                                                                           PHOENIXVILLE     PA    19460‐2272
JACQUELINE GEISELMAN                                 315 E WALNUT                                                                                  ELBERFELD        IN    47613‐9243
JACQUELINE GILLESPIE TR UA 02/10/1992 NELLA L KOLE   44761 SUN VALLEY DR                                                                           KING CITY        CA    93930
TRUST
JACQUELINE GINN                                      4626 LAWN                                                                                     KANSAS CITY      MO    64130‐2262
JACQUELINE GUYE                                      3618 SUNNYSIDE COURT                                                                          ROCHESTER        MI    48306‐4708
JACQUELINE GWIN                                      501 GOLDEN XING                                                                               EATON            OH    45320‐1062
JACQUELINE H BAILEY                                  820 CHANDLER DR                                                                               TROTWOOD         OH    45426‐2512
JACQUELINE H COX                                     104 HARBOUR TREES LANE                                                                        NOBLESVILLE      IN    46060‐9079
JACQUELINE H CYR                                     10 MAXINE RD                                                                                  PLAINVILLE       CT    06062‐1031
JACQUELINE H KLOEPFER                                136 DI MARCO DRIVE                                                                            PHILADELPHIA     PA    19154‐4302
JACQUELINE H MCCOLLUM                                1318 SPRING LAKE ROAD                                                                         FRUITLAND PARK   FL    34731‐5232
JACQUELINE H MEPYANS                                 703 FOXBOROUGH SQ W                                                                           BRENTWOOD        TN    37027‐5766
JACQUELINE H TICHES                                  5340 AYLOR RD                                                                                 FAIRFAX          VA    22032‐3802
JACQUELINE H TOFT                                    251 VAN SANT AVE BOX 46                                                                       ISLAND HEIGHTS   NJ    08732‐0046
JACQUELINE H ULLRICH                                 1431 PELICAN PATH                                                                             THE VILLAGES     FL    32162‐2206
JACQUELINE H WALL                                    88A HIGH ROCK AVE                                                                             SARATOGA SPRINGS NY    12866‐2338

JACQUELINE HAND                                      15 CARRIAGE LN OCEAN PINES                                                                    BERLIN           MD    21811
JACQUELINE HANSON TOD BRIAN P MCINNES                PO BOX 400                                                                                    RAYMOND          ME    04071
JACQUELINE HIRSCHLER TOD JACQUES HIRSCHLER           7340 WOODROW DR                                                                               OAKLAND          CA    94611
SUBJECT TO STA TOD RULES
JACQUELINE HOURIGAN ALLEN                            44675 BROADMOOR CIRCLE NORTH                                                                  NORTHVILLE       MI    48168
JACQUELINE HUFHAM                                    1115 JENSEN LN                                                                                HENDERSONVLLE    TN    37075‐9773
JACQUELINE I LADD & PAUL F LADD JT TEN               9 CONNECTICUT AVE                                                                             NATICK           MA    01760‐2239
JACQUELINE I PRUDEN & ROGER M PRUDEN JT TEN          414 CRESTWOOD DR                                                                              DIMONDALE        MI    48821‐9770

JACQUELINE I WATERS TR JACQUELINE I WATERS TRUST     13227 N MIMOSA DR UNIT 114                                                                    FOUNTAIN HILLS   AZ    85268‐3653
UA 09/06/95
JACQUELINE J BARNUM                                  912 CAMPBELL DRIVE                                                                            OWOSSO           MI    48867‐1618
JACQUELINE J BROWN TOD WILLIAM F BROWN JR            202 ELM ST                                                                                    FLUSHING         MI    48433‐1610
SUBJECT TO STA TOD RULES
JACQUELINE J CHORMAN                                 9088 BECKER ST                                                                                CEDAR SPRINGS    MI    49319
JACQUELINE J COOK                                    9029 E ISLAND DR                                                                              INVERNESS        FL    34450‐1842
JACQUELINE J DOUGLAS                                 16772 WARWICK                                                                                 DETROIT          MI    48219‐4043
                                                  09-50026-mg                Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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JACQUELINE J FELSING & RICHARD E FELSING JT TEN     3138 MACKINAW ST                                                                                 SAGINAW           MI    48602‐3220

JACQUELINE J GILLIS                                 7203 LAKE MAGNOLIA DR                                                                            NEW PRT RCHY      FL    34653
JACQUELINE J HARRISON & TAYLOR J HYINK JT TEN       11209 KINGSBURY RD                                                                               DELTON            MI    49046‐8537

JACQUELINE J HITE                                   1700 CEDAR WOOD DRIVE                   APT 221                                                  FLUSHING          MI    48433‐1800
JACQUELINE J KING                                   438 COBBLESTONE DRIVE                                                                            HOPEWELL          VA    23860‐4158
JACQUELINE J LANE                                   335 DUTCH MILL DR                                                                                FLUSHING          MI    48433‐2185
JACQUELINE J MITCHELL & MICHAEL G KATTOU &          PO BOX 24                                                                                        ROSCOE            MO    64781‐0024
CHRISTOPHER M KATTOU JT TEN
JACQUELINE J PAONE                                  5636 POPPY CT                                                                                    GOLDEN            CO    80403‐1230
JACQUELINE J ROBINSON                               37 WOLFE CREEK CT                                                                                GLEN CARBON       IL    62034‐1380
JACQUELINE J SMITH                                  14 CAROL AVENUE                                                                                  FREDONIA          NY    14063‐1208
JACQUELINE JARR                                     706 N 7TH AVE                                                                                    MAYWOOD           IL    60153‐1055
JACQUELINE JEAN CARAPELLA                           853 CRESCENT BOULEVARD                                                                           GLEN ELLYN        IL    60137‐4273
JACQUELINE JEAN STARITA                             44 KENYON AVENUE                                                                                 WEST BABYLON      NY    11704‐6617
JACQUELINE JEANETTE JENKINS                         6570 FRANKLIN ROOSEVELT DR                                                                       JACKSON           MS    39213
JACQUELINE JOYCE DIPKA                              8247 VALLEYVIEW RD                                                                               CLARKSTON         MI    48348‐4042
JACQUELINE JOYCE FERGUSON                           10048 COLOWATER RD                                                                               DAVISON           MI    48423
JACQUELINE K BECKMAN                                84‐611A MANUKU ST                                                                                WAIANAE           HI    96792‐1832
JACQUELINE K BENSON                                 6610 QUINTEN STREET                                                                              FALLS CHURCH      VA    22043‐1848
JACQUELINE K FITTES TR JACQUELINE K FITTES          7238 CAMARGO WOODS DRIVE                                                                         CINCINNATI        OH    45243‐2220
REVOCABLE TRUST UA 04/05/01
JACQUELINE K FRITTS                                 3644 HAVEN DRIVE                                                                                 NEW PORT RICHIE   FL    34652‐5720
JACQUELINE K FULLER                                 PO BOX 2362                                                                                      ANDERSON          IN    46018‐2362
JACQUELINE K GRAHAM & DAWN K COCHRANE JT TEN        51500 BEDFORD ST                                                                                 NEW BALTIMORE     MI    48047‐3278

JACQUELINE K GRUNZA                                 1630 GUMWOOD DR                                                                                  THE VILLAGES      FL    32162‐2124
JACQUELINE K HARDT                                  2719 LONG BRANCH CIRCLE                                                                          SHREVPORT         LA    71118‐5016
JACQUELINE K KALINA                                 7 ROSEWOOD CT                                                                                    CARY              IL    60013‐2484
JACQUELINE K KINGERY                                1999 E ST RD 18                                                                                  FLORA             IN    46929‐9110
JACQUELINE K MILLER CUST RILEY C MILLER UTMA OH     5970 GROVE RD                                                                                    CLINTON           OH    44216‐9719

JACQUELINE K MIRASOLO                               12230 DIXIE HWY                                                                                  HOLLY             MI    48442‐9484
JACQUELINE K RHODES CUST ALEXIS A RHODES UTMA       1005 SHADOWMOSS CIR                                                                              LAKE MARY         FL    32746‐4463
OH
JACQUELINE K RHODES CUST KRISTOPHER J RHODES        1005 SHADOWMOSS CIR                                                                              LAKE MARY         FL    32746‐4463
UTMA OH
JACQUELINE K SCHWARZ                                PO BOX 3459                                                                                      CONROE            TX    77305‐3459
JACQUELINE KAY BAILOR                               216 S DUNBAR STREET                                                                              POTTERVILLE       MI    48876‐8775
JACQUELINE KLUCK & DIANE G BOLTON JT TEN            17641 FAULMAN RD                                                                                 CLINTON TWP       MI    48035‐2355
JACQUELINE KOVITCH                                  1250 PINE AVE                           APT 1250             MONTREAL QC       H3G 2P5 CANADA
JACQUELINE KOWALEWSKI & LEONARD F KOWALEWSKI        61 WOODHAVEN DR                                                                                  PITTSBURGH        PA    15228‐1546
JT TEN
JACQUELINE KRISTINE TOPEL                           16 N DEEP LAKE RD                                                                                NORTH OAKS        MN    55127‐6506
JACQUELINE L BAIRD                                  3750 WHITLAND AVE                                                                                NASHVILLE         TN    37205‐2443
JACQUELINE L DANIELS                                16300 N PARK DR                         APT 211                                                  SOUTHFIELD        MI    48075‐4721
JACQUELINE L DOWNEY                                 6209 CLAUSSEN WAY                                                                                N HIGHLANDS       CA    95660‐4105
JACQUELINE L FLEISCHMAN                             6231 RIVERCLIFF LANE                                                                             DAYTON            OH    45449‐3048
JACQUELINE L HANKS                                  601 E VALLEY DR                                                                                  BONITA SPRINGS    FL    34134‐7432
JACQUELINE L HARK & DOUGLAS D HARK JT TEN           2931 N TIPSICO LAKE RD                                                                           HARTLAND          MI    48353‐3256
JACQUELINE L JOHNSTON & STEPHEN C JOHNSTON JT       390 ROCKHILL RD                                                                                  QUAKER TOWN       PA    18951‐4919
TEN
JACQUELINE L MIHALOVIC                              C/O JACQUELINE L NEMOURE                4017 5 MILE RD                                           RACINE            WI    53402‐9510
JACQUELINE L MORALES                                2209 ORVILLE                                                                                     KANSAS CITY       KS    66102‐4750
JACQUELINE L NEWMAN                                 4298 SOUTH 1540 EAST                                                                             SALT LAKE CITY    UT    84124‐2517
JACQUELINE L PRAIRIE                                59 COTTAGE STREET                                                                                FRANKLIN          MA    02038‐2204
JACQUELINE L SONGER                                 630 DEWANE DR                                                                                    EL CAJON          CA    92020‐3018
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JACQUELINE L SQUIER TR UA 05/27/94 JACQUELINE L   2618 NEWELL DR                                                                                   WILMINGTON       DE    19808
SQUIER REVOCABLE TRUST
JACQUELINE L STUDER                               16 ORCHID LANE                                                                                   BRICK            NJ    08724‐5403
JACQUELINE L WATTS                                4916 FORGE ROAD                                                                                  PERRY HALL       MD    21128‐9577
JACQUELINE L WATTS & C EDWARD WATTS JT TEN        4916 FORGE ROAD                                                                                  PERRY HALL       MD    21128‐9577
JACQUELINE L WILSON & CARA S WILSON JT TEN        759 NW 24TH AVE                                                                                  DELRAY BEACH     FL    33445
JACQUELINE LEE PLACZEK                            45 COLONIAL DRIVE                                                                                ENFIELD          CT    06082‐6132
JACQUELINE LEVY                                   1678 OCEAN PKWY                                                                                  BROOKLYN         NY    11223‐2145
JACQUELINE LEWIN CUST MICHAEL LEWIN UGMA IL       219 TIMBER RIDGE LN                                                                              LK BARRINGTON    IL    60010‐7327

JACQUELINE LOGAN MAGRUDER CUST MATTHEW            400 WEST END AVE                                                                                 NEW YORK         NY    10024‐5750
LOGAN MAGRUDER UGMA NY
JACQUELINE M BROWN                                205 ELDON DRIVE NW                                                                               WARREN           OH    44483‐1343
JACQUELINE M CARR                                 1329 CAROL                                                                                       PLYMOUTH         MI    48170‐2000
JACQUELINE M CHEW CUST BRAM S CHEW UGMA NY        700 NORTH EVELYN AVE                                                                             TUCSON           AZ    85710‐2639

JACQUELINE M CHEW CUST WADE M CHEW UGMA NY        700 NORTH EVELYN AVE                                                                             TUCSON           AZ    85710‐2639

JACQUELINE M CIESLIK                              368 WILLOW TREE LANE                                                                             ROCHESTER        MI    48306‐4252
JACQUELINE M COX                                  921 MALIBU DR                                                                                    ANDERSON         IN    46016‐2769
JACQUELINE M DIEHL & DOROTHEA M RICCO JT TEN      PO BOX 185                                                                                       GRAWN            MI    49637‐0185

JACQUELINE M EASTBURN                           2026 HARWYN RD                                                                                     WILMINGTON       DE    19810
JACQUELINE M FRANK & EDWARD E FRANK JT TEN      4438 E GREENVIEW DRIVE                                                                             DAYTON           OH    45415‐1633
JACQUELINE M FRANKENBERGER                      188 SOMERSHIRE DRIVE                                                                               ROCHESTER        NY    14617‐5644
JACQUELINE M GENTILE                            260 JOSSMAN                                                                                        ORTONVILLE       MI    48462
JACQUELINE M HARVIN                             25 CECIL ST                                                                                        BUFFALO          NY    14216‐1709
JACQUELINE M HOKANSON                           4 GRESSER AVE                                                                                      LINDEN           NJ    07036‐3618
JACQUELINE M HOPPER                             5461 STEVEN DR                                                                                     GREENWOOD        IN    46142‐7704
JACQUELINE M HOPPER CUST DEREK A HOPPER UTMA IN 5461 STEVEN DR                                                                                     GREENWOOD        IN    46142‐7704

JACQUELINE M HUMPHREY                             1607 CARLISLE ROAD                                                                               GREENSBORO       NC    27408‐6403
JACQUELINE M JONES                                4513 FIELDGREEN ROAD                                                                             BALTIMORE        MD    21236‐1819
JACQUELINE M LARSON & ROBERT L LARSON JT TEN      6707 WILLIAM LAKE RD                                                                             WATERFORD        MI    48329‐2983

JACQUELINE M MAGESTRO                             1870 RACINE DR                                                                                   LAS VEGAS        NV    89156‐7180
JACQUELINE M MATIYAK                              3695 EXECUTIVE DR                                                                                PALM HARBOR      FL    34685‐1021
JACQUELINE M MC NEIL                              32508 AVONDALE                                                                                   WESTLAND         MI    48186‐8902
JACQUELINE M MCGONIGLE                            6221 BANYAN TERRACE                                                                              PLANTATION       FL    33317‐2572
JACQUELINE M MENARD                               415 UPLAND                                                                                       PONTIAC          MI    48340‐1347
JACQUELINE M MYERS EDLOW                          8600 16TH STREET #411                                                                            SILVER SPRING    MD    20910‐2202
JACQUELINE M NEY                                  97 OCEAN HOUSE ROAD                                                                              CAPE ELIZABETH   ME    04107‐1111
JACQUELINE M O'LEARY                              12317 RADOYKA                                                                                    SARATOGA         CA    95070‐3522
JACQUELINE M OLSON                                4039 NORTH HALL RD                                                                               WHITEWATER       WI    53190‐3525
JACQUELINE M OSWALD CUST BERNARD L OSWALD         7400 S DUVAL ISLAND DR                                                                           FLORAL CITY      FL    34436
UGMA MI
JACQUELINE M PARKS                                130 CAROLINE ST                                                                                  BURLINGTON       VT    05401
JACQUELINE M PERKINS & JAMES H PERKINS JT TEN     805 LAKEVIEW DR                                                                                  CROSS JUNCTION   VA    22625‐2419

JACQUELINE M PETROSKI & FRANK M PETROSKI JT TEN   7818 MOONWOOD PL                                                                                 WESTLAND         MI    48185‐9412

JACQUELINE M RAY                                  1526 SWEETBRIAR                                                                                  ELWOOD           IN    46036‐2718
JACQUELINE M RISTOW                               1538 S 87                                                                                        KANSAS CITY      KS    66111‐3632
JACQUELINE M ROBICHAUD                            4417 MAPLETON RD                                                                                 LOCKPORT         NY    14094‐9653
JACQUELINE M SISON                                1223 ARMADA DR                                                                                   PASADENA         CA    91103‐2405
JACQUELINE M TRUESDALE                            PO BOX #2389 ESPS                                                                                ALBANY           NY    12220‐0389
JACQUELINE M WALKER                               11500 RANSOM HWY                                                                                 DIMONDALE        MI    48821‐8730
JACQUELINE M WHOLEAN                              1 COHASSET WA                                                                                    WESTERLY         RI    02891‐3667
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JACQUELINE MARIA POIGNARD & DAVID LAINE            11980 KILBRIGE DR                                                                                         CINCINNATI       OH    45251‐1272
POIGNARD JT TEN
JACQUELINE MAY                                     2167 OBRIEN RD                                                                                            MOUNT MORRIS     MI    48458‐2639
JACQUELINE MECHANIC                                47 PLAZA STREET                                                                                           BROOKLYN         NY    11217‐3905
JACQUELINE MERANDI TR JOANNA R JACKSON             PO BOX 1803                                                                                               PORT TOWNSEND    WA    98368‐0210
RESIDUARY TRUST UA 01/01/01
JACQUELINE MIRIAM VAN LUPPEN BRUMFIELD             6308 BLACKSTONE DR                                                                                        MCKINNEY         TX    75070‐7810
JACQUELINE NELL SCHMIDT                            ATTN JACQUELINE NELL HECK           3349 DEE HIGHWAY                                                      HOOD RIVER       OR    97031‐8434
JACQUELINE NICHOLSON FABBRI                        140 S DOLLIVER ST #18                                                                                     PISMO BEACH      CA    93449‐2927
JACQUELINE NINA HEWITT                             6 RANGELEY ROAD                                                                                           WINCHESTER       MA    01890‐2611
JACQUELINE NOVER                                   629 HAMILTON RD                                                                                           SOUTH ORANGE     NJ    07079‐2709
JACQUELINE O SNELLING                              1887 CLAIRMONT TERR NE                                                                                    ATLANTA          GA    30345‐2307
JACQUELINE O'CONNOR                                422 CHUMLEIGH ROAD                                                                                        TOWSON           MD    21212‐1501
JACQUELINE OLEJNICZAK                              3 S 430 OSAGE DR                                                                                          GLEN ELLYN       IL    60137
JACQUELINE P CALLERY                               4545 SO LAKE PARK AVE                                                                                     CHICAGO          IL    60653‐4509
JACQUELINE P FEHLING                               C/O WILHELMINA COUGH                20 ISLAND AVE APT 1412                                                MIAMI BEACH      FL    33139
JACQUELINE P STAHL                                 C/O JACQUELINE P STAHL WEBB         PO BOX 43                FREEPORT DIGBY COUNTY NS   B0V 1B0 CANADA
JACQUELINE PETTIGREW                               5919 OLD LODGE DR                                                                                         HOUSTON          TX    77066‐1517
JACQUELINE PONSKY                                  1801 E NINTH ST                     SUITE 200                                                             CLEVELAND        OH    44114‐3103
JACQUELINE PREWITT                                 1616 BEACHCOMBER LANE                                                                                     HOUSTON          TX    77062‐5409
JACQUELINE PRIESTER                                223 GAIETY LN                                                                                             KIRBY            TX    78219
JACQUELINE R BILLOT                                2720 DOVER LANE                                                                                           ALBANY           GA    31721
JACQUELINE R CRISTINA                              16031 SHROPSHIRE SE DR                                                                                    HUNTSVILLE       AL    35803‐3048
JACQUELINE R GAYLES                                910 ENTERPRISE AVE                                                                                        INGLEWOOD        CA    90302‐2181
JACQUELINE R HANNAH                                110 N CAYUGA RD                                                                                           WILLIAMSVILLE    NY    14221‐5420
JACQUELINE R MILLAR                                4699 HOSKINS RD                     N VANCOUVER BC                                      V7K 2R3 CANADA
JACQUELINE R MILLAR                                4699 HOSKINS RD                     N VANCOUVER BC                                      V7K 2R3 CANADA
JACQUELINE R MILLAR                                4699 HOSKINS RD                     N VANCOUVER BC                                      V7K 2R3 CANADA
JACQUELINE R MILLER & JOHN D MILLER JT TEN         15 OLLIVETTI PL                                                                                           PLATTSBURGH      NY    12901‐2606
JACQUELINE R PARKER                                6023 DEERING                                                                                              GARDEN CITY      MI    48135‐2508
JACQUELINE R SWEAT                                 8230 NW 98TH AVE                                                                                          TAMARAC          FL    33321‐1347
JACQUELINE REDLIN                                  3014 WEDGE CT                                                                                             ORLANDO          FL    32817‐2484
JACQUELINE REIDER                                  912 LOS PINOS                                                                                             EL PASO          TX    79912‐1850
JACQUELINE REIDY                                   15 PINE AVE                                                                                               BETHPAGE         NY    11714‐1214
JACQUELINE ROBERTS                                 1835 BAUM ST SE                                                                                           CANTON           OH    44707‐1150
JACQUELINE ROLLINS                                 673 SASSER DR                                                                                             BEDFORD          IN    47421‐6824
JACQUELINE RUPERTI                                 95 OLDWOOD RD                                                                                             BERLIN           CT    06037‐3763
JACQUELINE S BROWN                                 3245 W ANDERSON ST                                                                                        ANDERSON         IN    46011‐8776
JACQUELINE S CRAIN                                 3903 COBBLESTONE CV                                                                                       NEW HAVEN        IN    46774‐2077
JACQUELINE S JOHNS                                 4554 CROSSTIE RD N                                                                                        JACKSONVILLE     FL    32257‐3349
JACQUELINE S LAMB                                  519 W GASSER RD                                                                                           PAULDING         OH    45879‐8758
JACQUELINE S MILLIKIN                              200 SCHLAG LN                                                                                             EAST PEORIA      IL    61611
JACQUELINE S MILLS                                 101 CHALLENGER COURT                                                                                      MAULDIN          SC    29662‐2452
JACQUELINE S RIGG TR UA 03/15/83 JACQUELINE S RIGG 1326 OAKDALE                                                                                              BARTLESVILLE     OK    74006‐4505
TRUST
JACQUELINE S SMITH                                 6833 W 300 N                                                                                              SHARPSVILLE      IN    46068‐9138
JACQUELINE S TOLEN                                 912 NOB HILL DR APT 2                                                                                     NILES            OH    44446‐4647
JACQUELINE SALOMON                                 1227 SULTANA ST                                                                                           PORT CHARLOTTE   FL    33952‐1680
JACQUELINE SARAFIN                                 154 MALBORO RD                                                                                            LAWRENCEVILLE    NJ    08648‐3651
JACQUELINE SCOTT                                   2238 S 16TH AVE                                                                                           BROADVIEW        IL    60153‐4012
JACQUELINE SHIVES                                  8300 BRIGHTVIEW COURT                                                                                     MILLERSVILLE     MD    21108‐1648
JACQUELINE SMITH                                   7 1/2 VALOIS AVENUE                                                                                       PITTSBURGH       PA    15205‐2020
JACQUELINE SMITH                                   644 AMBERWOOD WAY                                                                                         LIVERMORE        CA    94550‐7515
JACQUELINE SMITH‐CROOKS CUST JARUMI G CROOKS       186 BAY RD                                                                                                AMHERST          MA    01002‐3531
UTMA GA
JACQUELINE SOPHIE SCHMIDT & JAY F SCHMIDT &        10099 E RICHFIELD RD                                                                                      DAVISON          MI    48423‐8516
LEASHA R LOVERN JT TEN
JACQUELINE STONER BAILEY                           214 GALES NECK PLACE                                                                                      MATHEWS          VA    23109
JACQUELINE STRONG‐MURPHY                           1445 PANORAMA DR                                                                                          BIRMINGHAM       AL    35216‐3014
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JACQUELINE SUE HIGH                              4154 F CHARLOTTE HIGHWAY                                                                              CLOVER             SC    29710‐8823
JACQUELINE SUE WASSERBERGER                      5 WYNMOR RD                                                                                           SCARSDALE          NY    10583‐7151
JACQUELINE T HUNTER                              14951 WALDEN SPRING WA 912                                                                            JACKSONVILLE       FL    32258‐1189
JACQUELINE T HUNTER & DONOVAN G HUNTER JT TEN    14951 WALDEN SPRING WA 912                                                                            JACKSONVILLE       FL    32258‐1189

JACQUELINE T O'KEEFFE                            449 PARADE DR                                                                                         CORPUS CHRISTI     TX    78412‐2717
JACQUELINE TERRELL                               3864 GARTH ROAD                                                                                       CROZET             VA    22932‐2314
JACQUELINE TERRY                                 PO BOX 87118                                                                                          ATLANTA            GA    30337‐0118
JACQUELINE THORINGTON                            21800 AVON                                                                                            OAK PARK           MI    48237‐2519
JACQUELINE V BERKHO                              1027 JOANNE COURT                                                                                     BLOOMFIELD         MI    48302‐2418
JACQUELINE V DUKES                               7990 PEMBROKE ST                                                                                      DETROIT            MI    48221‐1215
JACQUELINE V HEFLIN                              44 TRALA ST                                                                                           SMYRNA             DE    19977‐2215
JACQUELINE V TULL                                5518 BUCKNELL RD                                                                                      BALTIMORE          MD    21206‐3851
JACQUELINE VITTARDI                              18144 HOWE RD                                                                                         STRONGSVILLE       OH    44136‐7612
JACQUELINE W COLLINS CUST ANDREW MICHAEL         836 SAN FRANCISCO PL                                                                                  NAMPA              ID    83686‐8212
COLLINS UTMA CA
JACQUELINE W HOWELL                              BOX 1033                                                                                              LAPEL              IN    46051‐1033
JACQUELINE W HOWELL & JACKIE C HOWELL JT TEN     BOX 1033                                                                                              LAPEL              IN    46051‐1033

JACQUELINE W LAFFERTY                            503 WASHINGTON AVENUE                                                                                 NILES              OH    44446‐3146
JACQUELINE W MIMS                                12 WATSON RD                                                                                          JACKSON            MS    39272‐9446
JACQUELINE W PUERTA                              2237 SUMMIT DR                                                                                        HELLERTOWN         PA    18055‐2948
JACQUELINE WALKER                                363 EILEEN DR                                                                                         BLOOMFIELD HILLS   MI    48302‐0430

JACQUELINE WALLACE                               19660 NORWOOD                                                                                         DETROIT            MI    48234‐1822
JACQUELINE WILDING                               LITTLECROFT                            1 FLITWICK ROAD      AMPTHILL          BEDFORDSHIRE MK45 2NP
                                                                                                                               GREAT BRITAIN
JACQUELINE WILSON                                8602 CHAPMAN OAK CT                                                                                   PALM BEACH         FL    33410‐4464
                                                                                                                                                       GARDENS
JACQUELINE WILSON                                1926 LOURDES CT                                                                                       LANSING            MI    48910‐0617
JACQUELINE WILSON                                PO BOX 513                                                                                            COCHRAN            GA    31014‐0513
JACQUELINE WOODS                                 321 SIERRA COURT                                                                                      INDIANAPOLIS       IN    46234‐2561
JACQUELINE Y ERVIN                               225 CRUTCHER DR                                                                                       MADISON            AL    35757‐6719
JACQUELINEA BRANCH                               203 CRANBROOK DR NE                                                                                   LEESBURG           VA    20176‐2338
JACQUELINEA BRAWN                                4602 BALLYGAR RD                                                                                      BALTIMORE          MD    21236‐1934
JACQUELINEB PLOTT                                3750 WHITLAND AVE                                                                                     NASHVILLE          TN    37205‐2443
JACQUELINEC WILLIAMS                             4149 NORTH CENTRAL                                                                                    INDIANAPOLIS       IN    46205‐2604
JACQUELINED WILLIAMS                             3082 CANTERBURY PARK                                                                                  WINSTON SALEM      NC    27127
JACQUELINEF WASHINGTON                           PO BOX 26343                                                                                          DAYTON             OH    45426‐0343
JACQUELINEM TROMBLY                              33743 26 MILE RD                                                                                      NEW HAVEN          MI    48048‐2979
JACQUELINEM TURNER                               1606 LANTANA DR                                                                                       THOMPSONS STN      TN    37179‐9767
JACQUELINER MIX                                  622 S LAKE ST                                                                                         CADILLAC           MI    49601‐2102
JACQUELINES CROCKER                              305 CLEARLAKE DR W                                                                                    NASHVILLE          TN    37217‐4520
JACQUELINES VAN GORDER SR                        104 SCOTT ST                                                                                          NEWARK             NY    14513‐1415
JACQUELY M ELSNER                                4770 WOOD SIDE                                                                                        HIGLAND            MI    48356‐1562
JACQUELYN A ARMOUR                               2045 KENDALL AVE                                                                                      DETROIT            MI    48238‐2936
JACQUELYN ANN POLDER                             90796 SOUTHVIEW LANE                                                                                  FLORENCE           OR    97439‐8655
JACQUELYN B TVAROCH                              118 ROYAL TROON DR SE                                                                                 WARREN             OH    44484‐4664
JACQUELYN BRADLEY                                1330 NEW WINE PL                                                                                      TEMPLETON          CA    93465‐4006
JACQUELYN BUSH & JAMES BUSH JT TEN               13148 SAN FELIPE ST                                                                                   LA MIRADA          CA    90638‐3450
JACQUELYN BYRNE                                  40 ASHLEY CIRCLE                                                                                      COMMACK            NY    11725‐4643
JACQUELYN C GLENN CUST BRITTNEY G GLENN UTMA     3275 WINTERCREEPER DR                                                                                 LITHONIA           GA    30038‐2668
GA
JACQUELYN COPPLE                                 535 KENWOOD                                                                                           MENLO PARK         CA    94025‐5112
JACQUELYN D CHACHKO                              2716 BUSHNELL CAMPBELL RD                                                                             FOWLER             OH    44418‐9728
JACQUELYN D CLIFTON                              117 KENSINGTON CIRCLE                                                                                 GUYTON             GA    31312
JACQUELYN DUNLAP                                 324 SMITH                                                                                             LANSING            MI    48910‐9034
JACQUELYN E PETRO                                39385 MILLINGTON DR                                                                                   STERLING HEIGHTS   MI    48313‐4939
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JACQUELYN E PLAYFORD                           35639 NORTH 3RD ST                                                                               DESERT HILLS      AZ    85086‐7405
JACQUELYN EDT JENNINGS CUST SARAH‐BETH DEY     122 CHARLES ST                                                                                   EDGEWATER         FL    32141‐7308
UTMA NH
JACQUELYN EMERSON CUST MICHAEL LEE EMERSON     737 WINFRED RD                                                                                   RALEIGH           NC    27603‐7493
UGMA CA
JACQUELYN F ALLEN                              4348 BEECHWOOD LAKE DRIVE                                                                        NAPLES            FL    34112‐6102
JACQUELYN F DUNCAN                             7348 STATE ROUTE 15                                                                              DEFIANCE          OH    43512‐9764
JACQUELYN F POLOMSKI                           107 KENT AVE                                                                                     BRADLEY BEACH     NJ    07720‐1520
JACQUELYN FERN GLENN & KATHERYN FAYE GLENN JT 2888 CRECENT WAY                                                                                  THOUSAND OAKS     CA    91362‐3302
TEN
JACQUELYN GALLUZZI                             3 GATEWAY LANE                                                                                   BEVERLY           MA    01915
JACQUELYN GREENE                               325 BERRY DR                                                                                     BROXTON           GA    31519‐6402
JACQUELYN H WOLF TOD CHRISTOPHER S WOLF        3355 BLACKBURN ST                       APT 3406                                                 DALLAS            TX    75204‐1538
JACQUELYN J CLEMONS                            1497 WILLIAMSBURG RD                                                                             FLINT             MI    48507‐5640
JACQUELYN J COWART                             1418 MAGNOLIA PATH WAY                                                                           SUGAR HILL        GA    30518‐5360
JACQUELYN J INGRAM                             492 GLENWOOD AVE                                                                                 BUFFALO           NY    14208‐1918
JACQUELYN J MINION‐MARTOS & GINA MARIE MINION 1306 CHAUSER LN                                                                                   WOODRIDGE         IL    60517
JT TEN
JACQUELYN JOY WHITNEY CUST ERIC M WHITNEY UGMA PO BOX 430                                                                                       DAHLONEGA         GA    30533‐0008
MS
JACQUELYN K INGRAM                             2883 HWY 101 S                                                                                   VILLA RICA        GA    30180‐3509
JACQUELYN K MANLEY                             1561 NE 12TH TER APT C4                                                                          JENSEN BEACH      FL    34957‐5658
JACQUELYN K TRICKEY                            3361 E FRANCIS RD                                                                                CLIO              MI    48420‐9760
JACQUELYN K WIETRICK & DAVID L WIETRICK JT TEN 6341 GARNER PLACE                                                                                VALLEY SPGS       CA    95252‐9115

JACQUELYN L CORRERO                               72 CHESTNUT DR                                                                                MADISON           MS    39110‐9223
JACQUELYN L CURD                                  17245 ONIDO RD                                                                                MT PLEASANT       IN    47520
JACQUELYN L FISHER                                134 E 286 STREET                                                                              WILLOWICK         OH    44095‐4578
JACQUELYN L KANAVAS                               11 BELLINGHAM                                                                                 LAGUNA NIGUEL     CA    92677‐4106
JACQUELYN L LABARGE                               22 ROBINHOOD CT                                                                               FAIRFIELD GLADE   TN    38558‐6328
JACQUELYN L SPRINGER                              925 HARBINS VIEW DR                                                                           DACULA            GA    30019
JACQUELYN L ZIMPLEMAN                             1701 GREEN ACRES DR                                                                           KOKOMO            IN    46901‐9549
JACQUELYN LEE                                     42 RICHLAND RD                                                                                NORWOOD           MA    02062‐5525
JACQUELYN LUCAS                                   10614 KILBOURN                                                                                ST LOUIS          MO    63136‐5702
JACQUELYN M ADAMS                                 661 BURLINGAME                                                                                DETROIT           MI    48202‐1004
JACQUELYN M ELDER                                 PO BOX 1973                                                                                   FORT WORTH        TX    76101‐1973
JACQUELYN M FLORA                                 420 EMERSON ST                                                                                NEWPORT BEACH     CA    92660‐3727
JACQUELYN M HAMMON                                5085 WINTER ROSE WAY                                                                          VENICE            FL    34293
JACQUELYN MARIE CASE                              5217 E HARCO ST                                                                               LONG BEACH        CA    90808‐1853
JACQUELYN O MOYLE                                 560 GARRET HILL BLVD                                                                          BELFORD           NJ    07718‐1342
JACQUELYN P MCSWAIN                               6501 BELLTREE LANE                                                                            FLINT             MI    48504‐1667
JACQUELYN R CORNELL                               ATTN JACQUELYN C ROCCA               2106 RUSSET DRIVE                                        TROY              MI    48098‐5219
JACQUELYN REMONA JORDEN                           1050 WARNER JORDEN DRIVE                                                                      CLINTON           MS    39056‐9639
JACQUELYN ROSENBERS CUST EMILY D ROSENBERG        1263 BOBARN DR                                                                                PENN VALLEY       PA    19072‐1149
UGMA PA
JACQUELYN ROSENBERS CUST KAYLA E ROSENBERG        1263 BOBARN DR                                                                                PENN VALLEY       PA    19072‐1149
UGMA PA
JACQUELYN RUSS                                    3382 ROYAL OAKS DR                                                                            GAINESVILLE       GA    30506‐8401
JACQUELYN S GERMAN                                1809 FAIRVIEW ST                                                                              ANDERSON          IN    46016‐4139
JACQUELYN S HOOKER                                4001 N 15TH STREET                                                                            TACOMA            WA    98406‐4608
JACQUELYN S LOTHSCHUETZ                           200 SYCAMORE DR                                                                               METAIRIE          LA    70005‐4027
JACQUELYN SCHROCK & FRED E SCHROCK JT TEN         4400 SOUTH SALEM‐WARREN ROAD                                                                  NORTH JACKSON     OH    44451‐8701
JACQUELYN SHEETS TR JACQUELYN SHEETS 1996 TRUST   1119 23RD ST #7                                                                               SANTA MONICA      CA    90403‐5732
UA 12/18/96
JACQUELYN THOMPSON HANKS                          10026 CARLOW                                                                                  LA PORTE          TX    77571‐4011
JACQUELYN VASVARY                                 9820 W HASKETT LANE                                                                           DAYTON            OH    45424‐1604
JACQUELYN WILLIAMS PER REP EST EUGENIA K          4149 N CENTRAL AVE                                                                            INDIANAPOLIS      IN    46205
BROADNAX
JACQUELYNE K CAMPER                               917 N GRAND AVE                                                                               BRINKLEY          AR    72021‐2324
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JACQUELYNE L MURPHY                             25753 SEAVER ST                                                                                  HAYWARD         CA    94545‐2549
JACQUELYNE WEBSTER                              37632 S VISTA RIDGE CT                                                                           TUCSON          AZ    85739‐2217
JACQUELYNE WILSON                               8315 S MAY ST                                                                                    CHICAGO         IL    60620
JACQUELYNN ANN PIKAART                          4701 PEARL STREET                                                                                YPSILANTI       MI    48197‐3724
JACQUELYNN F MONTELAURO                         2588 NORTHWEST CATAWBA RD                                                                        PORT CLINTON    OH    43452‐3044
JACQUELYNN M NEWBERRY                           10342 LA VIGNE DR                                                                                CARLETON        MI    48117‐9583
JACQUELYNN SHEPHERD DILLON                      3420 N NEW YORK AVE                                                                              MUNCIE          IN    47304‐1865
JACQUES A GUILLOTON                             890 PASSIFLORA AVE                                                                               ENCINITAS       CA    92024‐2342
JACQUES A MORRELL                               1955 SCHUST ROAD                                                                                 SAGINAW         MI    48604‐1615
JACQUES BEAUDRY                                 538 DUQUETTE                            SAINTE SOPHIE QC                       J0R 1S0 CANADA
JACQUES BLINBAUM EX EST SABINA BLINBAUM         555 MADISON AVENUE                      SUITE 2000                                               NEW YORK        NY    10022
JACQUES BOISVERT                                90 MAPLE LANE                                                                                    MANSFIELD       OH    44906‐2345
JACQUES D RIETZKE JR                            808 EATON LANE                                                                                   LAKE VILLA      IL    60046‐5036
JACQUES DONAVON BUTLER                          7365 COLD SPRING LANE                                                                            W BLOOMFIELD    MI    48322
JACQUES F VIEWEG                                84 NEPERAN ROAD                                                                                  TARRYTOWN       NY    10591‐3416
JACQUES H RIOUX                                 6 VIRGINIA ROAD                                                                                  TERRYVILLE      CT    06786‐5501
JACQUES HENRY                                   8061 CHICOT NORD                        MIRABEL QC                             J7N 2J1 CANADA
JACQUES HOCHGLAUBE                              1090 ABBOTT RD                                                                                   EAST LANSING    MI    48823‐2661
JACQUES J MOORE CUST CHARLES H MOORE UGMA VA    735 POTOMAC RIVER ROAD                                                                           MCLEAN          VA    22102‐1430

JACQUES J MOORE CUST JACQUES J MOORE III UGMA VA 735 POTOMAC RIVER ROAD                                                                          MCLEAN          VA    22102‐1430

JACQUES MARRA                                   125 MERCER ST                           APT 1                                                    JERSEY CITY     NJ    07302‐3401
JACQUES OVERHOFF                                MUNSTEREIFELER STR 1                    KREUZBERG/AHR        D‐53505           GERMANY
JACQUES R A WILLIAMS                            1496 EASTERN AVE                                                                                 MORGANTOWN      WV    26505‐2312
JACQUES R GRONDIN                               5617 SMART ST                           COTE ST LUC QC                         H4W 2M4 CANADA
JACQUES R JUARER                                1314 LORIEN LN                                                                                   MARSHALL        NC    28753‐6704
JACQUES THEORET                                 1961 BLUE GRASS DR                                                                               ROCHESTER HLS   MI    48306‐3230
JACQUES Y PINARD                                33526 MELTON                                                                                     WESTLAND        MI    48186‐4872
JACQUIE WILLIAMS CUST MICHAEL L WILLIAMS UGMA   13440 LINCOLN WAY                                                                                NORTH           PA    15642‐2153
PA                                                                                                                                               HUNTINGDON
JACQUILINE MARGOLIS                             20 CONSHOHOCKEN STATE ROAD              APT 605                                                  BALA CYNWYD     PA    19004
JACQUITA L FOWLER                               4 SW 66TH ST                                                                                     OKLAHOMA CITY   OK    73139‐7317
JACQULINE LYONS                                 1831 NORTHCLIFF DR                                                                               COLUMBUS        OH    43229‐5332
JACQULINE M DINGMAN                             3440 MILLS ACRES                                                                                 FLINT           MI    48506‐2172
JACQULYN P GAY & CRISTAL C GAY JT TEN           218 CALIFORNIA ST                                                                                HIGHLAND PARK   MI    48203‐3520
JACQULYN S SCHNEIDER                            3056 ELIZABETH ST                                                                                INDIANAPOLIS    IN    46234‐1615
JACULYN J HARRIS                                3400 VOLKMER RD                                                                                  CHESANING       MI    48616‐9764
JACWEIR BRESLIN & SHEILA RENEE BRESLIN JT TEN   1220 VILLAGE DR                         APT 213                                                  ARLINGTON       IL    60004‐8121
                                                                                                                                                 HEIGHTS
JACY M MOORE                                     888 S DIAMOND MILL RD                                                                           NEW LEBANON     OH    45345‐9150
JADA L OWENS                                     62 SHADOW LN                                                                                    MARTINSBURG     WV    25401‐6661
JADE ANNE DROUILLARD & JAMES R DROUILLARD JT TEN 5441 STICKFORT CIRCLE                                                                           LEWISTON        MI    49756

JADE GARLAND & ROXANNE BOKUNIEWICZ JT TEN       20 PIKEVIEW TERRACE                                                                              SECAUCUS        NJ    07094‐3819

JADEN ALI                                       2230 PARKSIDE ST                                                                                 BOCA RATON      FL    33486‐5208
JADIE R DAVIS                                   PO BOX 54671                                                                                     OKLAHOMA CITY   OK    73154‐1671
JADIE W MOORE                                   PO BOX 3271                                                                                      FLINT           MI    48502‐0271
JADINE C RAPPUHN                                9757 NORMAN                                                                                      CLARKSTON       MI    48348‐2411
JADINE R HILL                                   2520 YAOUNDE PL #STATE                                                                           WASHINGTON      DC    20520‐0001
JADUYGA REGINA                                  1550 BEACON ST                          APT 8H                                                   BROOKLINE       MA    02446
JADWIGA A BIALEK                                112 SIMCOE ST N                         OSHAWA ON                              L1G 4S5 CANADA
JADWIGA SKRINSKI                                27 RONALD DR                                                                                     CLIFTON         NJ    07013‐3814
JADWIGA SZCZEPANIAK                             20 MARK TWAIN DRIVE                                                                              TRENTON         NJ    08690‐2110
JADY ANN WADE                                   3401 COLES RD                                                                                    COLUMBIA        SC    29203‐5719
JADY N PARK                                     16711 BAUER RD                                                                                   GRAND LEDGE     MI    48837‐9170
JAE B LEE                                       502 LANIERS WAY                                                                                  EVANS           GA    30809‐5309
JAE S LEE                                       605 WOODGLEN CIR                        APT 301                                                  AUBURN HILLS    MI    48326‐4524
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Name                                               Address1                              Address2             Address3          Address4            City             State Zip

JAFORD J LANDON                                    716 E 125TH STREET                                                                               CLEVELAND        OH    44108‐2434
JAGA GRMAN                                         24491 STEPHEN AVE                                                                                EUCLID           OH    44123‐2324
JAGDEEP SHARMA                                     65 CORNELL CRESCENT                   MARKHAM ON                             L3S 3H2 CANADA
JAGDISH B BHAGAT                                   5104 E COOK RD                                                                                   GRAND BLANC      MI    48439‐8353
JAGDISH R PATEL                                    1822 DOVETAIL POINT                                                                              SYCAMORE         IL    60178‐3428
JAGICA MARUSIC                                     14716 ASPEN HILLS LN                                                                             BURTON           OH    44021‐9310
JAGODA SEKULOUSKI                                  18080 RIDGEVIEW DR                                                                               NORTHVILLE       MI    48168‐8568
JAHUE GOSSER                                       1311 WOODVILLE PI                                                                                MILFORD          OH    45150‐2259
JAI H CHANG                                        19515 KILFINAN ST                                                                                NORTHRIDGE       CA    91326‐4003
JAI PRAKASH IYENGAR CUST JAICHARAN J IYENGAR       3627 SANDPIPER WAY                                                                               BREA             CA    92823‐1046
UTMA CA
JAI S KHANNA                                       14747 SUTTON ST                                                                                  SHERMAN OAKS     CA    91403‐4144
JAIDEEP J IYENGAR                                  16075 NE 85TH ST                      APT 306                                                    REDMOND          WA    98052‐3576
JAIME A CARDONA                                    238 HELMS DR                                                                                     SUMMERVILLE      SC    29483
JAIME A ERNST                                      826 14TH ST                                                                                      PERU             IL    61354‐1810
JAIME A ERNST & AIDA G ERNST JT TEN                826 14TH ST                                                                                      PERU             IL    61354‐1810
JAIME AUSTRIA                                      946 QUAIL RUN QUAY                                                                               VIRGINIA BEACH   VA    23452‐6113
JAIME C GARCIA                                     13132 SE 223RD CT                                                                                KENT             WA    98031‐3965
JAIME DELAREE                                      340 WHITTEMORE HALL                                                                              BLACKSBURG       VA    24061
JAIME E FENNELL                                    12651 ENDURANCE DR                                                                               NOBLESVILLE      IN    46060‐7064
JAIME G COLON                                      45398 GABLE INN                                                                                  UTICA            MI    48317‐4618
JAIME GARCES                                       52 RHODA AVE                                                                                     YOUNGSTOWN       OH    44509‐2006
JAIME L SIEGELE                                    204 PEAK DR                                                                                      WEXFORD          PA    15090‐7584
JAIME LYNN KULCHER & THOMAS DAVID KULCHER JT       7420 N CENTER RD                                                                                 MOUNT MORRIS     MI    48458‐8723
TEN
JAIME M MEHOLIC                                    2001 SYLVAN AVE                                                                                  LATROBE          PA    15650‐3068
JAIME P MIERAS                                     62236 KLINGER LAKE RD                                                                            CENTREVILLE      MI    49032‐9581
JAIME PARELLADA ROVIRA                             SAN SEBASTIAN 2                       QUEROL PROVINCE OF   TARRAGONA         SPAIN
JAIME POLLINO                                      222 GREEN BANK WAY                                                                               HARLEYSVILLE     PA    19438‐3083
JAIME R ASTORGA                                    476 STRATTON PARK RD                                                                             BELLVUE          CO    80512
JAIME R GARCIA                                     6055 CHADWICK AVENUE                                                                             SAN DIEGO        CA    92139‐3626
JAIME R VERGARA                                    63 FOREST VIEW DR                                                                                SAN FRANCISCO    CA    94132‐1442
JAIME RODRIGUEZ                                    1362CENTER STREET                                                                                UNION            NJ    07083‐3940
JAIME RODRIGUEZ                                    153 CROSS SLOPE COURT UNIT J                                                                     ENGLISHTOWN      NJ    07726‐2401
JAIME SARTE                                        6927 N LAGOON DR                                                                                 PANAMA CITY      FL    32408‐5940
JAIMIE R GOODMAN                                   1300 S A1A                            SUITE 410                                                  JUPITER          FL    33477‐8458
JAIRO A CALLE                                      5046 MARINA CIR                                                                                  BOCA RATON       FL    33486
JAKE A VAHLBUSCH                                   HCR 1 BOX 148                                                                                    EAGLE HARBOR     MI    49950‐9737
JAKE BELL JR                                       121 W RUTGERS AVE                                                                                PONTIAC          MI    48340‐2759
JAKE D KINCAID                                     PO BOX 121                                                                                       BOURBON          MO    65441‐0121
JAKE DODDS                                         23620 EVERGREEN RD                                                                               SOUTHFIELD       MI    48075‐5550
JAKE FULLARD III                                   2192 SULKY TRAIL                                                                                 BEAVER CREEK     OH    45434
JAKE GUNTER                                        4527 MONTICELLO BLVD                                                                             SOUTH EUCLID     OH    44143‐2839
JAKE GUNTER & JERUSHA GUNTER JT TEN                4527 MONTICELLO BLVD                                                                             SOUTH EUCLID     OH    44143‐2839
JAKE H WRIGHT JR                                   PO BOX 303                                                                                       MIDDLESEX        NC    27557‐0303
JAKE HART                                          9005 ADAMS CHASE CIR                                                                             LORTON           VA    22079‐3259
JAKE L DI MICHELLI JR                              24 REGINALD CIR                                                                                  ROCHESTER        NY    14625‐1036
JAKE L SPROCK TR JAKE L SPROCK TRUST UA 10/01/03   104 E LARK DR                                                                                    FENTON           MO    63026‐4440

JAKE M SAYLOR & MAXINE SAYLOR JT TEN               217 CITATION TR                                                                                  CORBIN           KY    40701‐8517
JAKE NITZ JR & MRS AGNES NITZ JT TEN               3610 NW RIDGEWOOD DR                                                                             TOPEKA           KS    66618‐1139
JAKE PAYNE JR                                      18135 VERSAILLES #102                                                                            HAZELCREST       IL    60429‐2337
JAKE PELKEY & JOHN PELKEY JT TEN                   1461 RING RD                                                                                     CALUMET CITY     IL    60409‐5459
JAKE SCOTT                                         1204 TEXAS AVE                                                                                   LYNN HAVEN       FL    32444
JAKE W LOONEY                                      634 EAST BLVD                                                                                    DAVENPORT        FL    33897‐9461
JAKE WEST & KERRI WEST JT TEN                      16633 W 147TH ST                                                                                 OLATHE           KS    66062‐2539
JAKE WHETSELL TR JAKE WHETSELL REV TRUST UA        504 CAMBRIDGE DR                                                                                 NEWARK           DE    19711‐2704
7/17/02
JAKIE C TURNER                                     1182 EADS RD                                                                                     VERONA           KY    41092‐9309
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Name                                                  Address1                              Address2               Address3             Address4           City               State Zip

JAKOB GERMANN                                         MOWAG MOTORWAGENFABRIK AF             UNTERSEESTRASSE 65     KREUZLINGEN SWITZE   SWEDEN
JAKOB LEIST                                           ASCHAFFENBURGER STR 42                D‐63500 SELIGENSTADT                        GERMANY
JAKOB NOWAK                                           6690 STERLING DR N                                                                                   STERLING HEIGHTS   MI    48312‐4558

JAKOB PFEIFFER                                        3050 WOODLAND DRIVE                   WINDSOR ON                                  N9E 1Z3 CANADA
JAL F MUNSHI & MRS CAROLE MUNSHI JT TEN               6859 ALICIA CT                                                                                       ALEXANDRIA         VA    22310‐4956
JALAINE BELL                                          3348 WEST TERANIMAR                                                                                  ANAHEIM            CA    92804‐3038
JALBERTA M SEIDLE                                     4810 STATE ROUTE 7                                                                                   BURGHILL           OH    44404‐9701
JALEN PLAGGE                                          2304 DESTINATION CR                                                                                  GRIMES             IA    50111
JALT LIMITED PARTNERSHIP                              C/O PAINE                             101 AVENUE DES APLES   LA TOUR DE PEILZ     1814 SWITZERLAND
JAMAL A HARRISON                                      25923 NORFOLK ST                                                                                     INKSTER            MI    48141‐2431
JAMAL H SHAKUR                                        2545 NORTON                                                                                          KANSAS CITY        MO    64127‐4436
JAMAL N EL HOUT                                       GME ZURICH P O BOX 9022               2840 MOUND RD                                                  WARREN             MI    48090‐9022
JAME H EVANS                                          8328 LEEDS ST                                                                                        DOWNEY             CA    90242
JAME THOMAS MCBRIDE CUST JAMES RYAN MCBRIDE           2102 JEFFRY CIRCLE                                                                                   PLACENTIA          CA    92870‐1925
UTMA CA
JAMEL CAINES                                          427 2ND AVE                                                                                          DUNEDIN            FL    34698
JAMER R SHAW CUST TAYLOR E SHAW UGMA MI               40159 OAK TREE                                                                                       NOVI               MI    48375‐3636
JAMES A ACUFF                                         901 PALLISTER ST                      APT 613                                                        DETROIT            MI    48202‐2681
JAMES A AHLERS                                        373 MENG ROAD                                                                                        BOWLING GREEN      KY    42104‐8741
JAMES A ALESSANDRONI                                  151 EDENFIELD AVENUE                                                                                 WATERTOWN          MA    02472‐1140
JAMES A AMBROSIO CUST ANTHONY CONGIANO U/THE          108 VALLEY ROAD                       PO BOX 124                                                     NORTH BRANFORD     CT    06471‐0124
CONN U‐G‐M‐A
JAMES A ANDERSON                                      293 CHARMAINE LN                                                                                     ORANGEBURG         SC    29118‐8239
JAMES A ANDERSON                                      293 CHARMAINE LN                                                                                     ORANGEBURG         SC    29118‐8239
JAMES A ANDERSON                                      410 W FOURTH ST                                                                                      IMLAY              MI    48444‐1048
JAMES A ANDERSON TR UA 04/01/98 MARILYN C             27 W 160 80TH ST                                                                                     NAPERVILLE         IL    60565‐1269
ANDERSON REVOCABLE TRUST
JAMES A ANGERT & TESSIE ANGERT TEN ENT                1 READING DR APT 161                                                                                 WERNERSVILLE       PA    19565‐2028
JAMES A ANTHON                                        3544 BRIGGS BLVD                                                                                     GRAND RAPIDS       MI    49525‐2508
JAMES A ARMSTRONG JR                                  7665 S EMERSON ST                                                                                    LITTLETON          CO    80122‐3071
JAMES A ARTHUR                                        1104 ERIE BLVD                                                                                       SANDUSKY           OH    44870‐4038
JAMES A ARTHUR                                        7672 CARTER DRIVE                                                                                    WAYNESVILLE        OH    45068‐8706
JAMES A ASHLEY                                        PO BOX 1193                                                                                          ROXBORO            NC    27573‐1193
JAMES A AUGUSTITUS & SHEILA A AUGUSTITUS JT TEN       6759 OLEN                                                                                            UTICA              MI    48317‐2231

JAMES A BADGEROW                                      7715 LAKEFOREST DR                                                                                   RICHMOND           VA    23235‐5711
JAMES A BAIN                                          14214 FITZROY                                                                                        HOUSTON            TX    77083
JAMES A BAIRD                                         4298 W. ROUNDHOUSE                    APT #9                                                         SWARTZ CREEK       MI    48473
JAMES A BAIRD                                         802 N BERMONT ST                                                                                     LAFAYETTE          CO    80026‐1753
JAMES A BAKER                                         3741 SUMMIT VIEW COURT                                                                               CORONA             CA    91720‐9109
JAMES A BAKER                                         346 LANDSBROOK DR                                                                                    VENICE             FL    34292‐4611
JAMES A BARLOW CUST LEE G BARLOW UGMA OH              4516 RENWOOD DR                                                                                      KETTERING          OH    45429‐5519
JAMES A BARNES & HELEN D BARNES TEN COM               4611 DREXEL ROAD                                                                                     COLLEGE PARK       MD    20740‐3603
JAMES A BASSO                                         1953 QUAIL RUN DRIVE                                                                                 CORTLAND           OH    44410‐1804
JAMES A BATEMAN                                       2840 FRANKLIN DRIVE                                                                                  CLARE              MI    48617‐9419
JAMES A BAUGHER                                       27805 NICK DAVIS RD                                                                                  ATHENS             AL    35613‐6409
JAMES A BAXTER                                        1909 ROBISON                                                                                         ARDMORE            OK    73401‐1389
JAMES A BAYLIS JR                                     348 SHENANDOAH AVE                                                                                   WINCHESTER         VA    22601‐5160
JAMES A BECK                                          2001 NORTH 27TH STREET                                                                               BROKEN ARROW       OK    74014
JAMES A BECKMAN                                       7300 N CRAM RD                                                                                       OWOSSO             MI    48867‐9640
JAMES A BELCH & JUDY A BELCH JT TEN                   341 DIXON BLVD                                                                                       UNIONTOWN          PA    15401‐3969
JAMES A BELK & GAIL J BELK TR UA BELK FAMILY LIVING   63257 ASHBURY DR                                                                                     WASHINGTON         MI    48095‐2860
TRUST 05/21/91
JAMES A BELL                                          C/O PNC BANK                          1900 EAST 9TH ST       B7‐YB13‐02‐3                            CLEVELAND          OH    44114
JAMES A BELLOWS                                       160 SOUTH ROAD                                                                                       PEPPERELL          MA    01463‐1279
JAMES A BENZ & RITA A BENZ JT TEN                     557 ARUNDEL ROAD                                                                                     GOLETA             CA    93117‐2161
JAMES A BERGER                                        10 BIRCHBROOK DR                                                                                     VALHALLA           NY    10595‐1106
JAMES A BETCHER                                       11745 SALEM CARROLL RD                                                                               OAK HARBOR         OH    43449‐9458
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JAMES A BEUNING                                PO BOX 39                                                                                       MAHNOMEN           MN    56557‐0039
JAMES A BIRCH & NORMA B BIRCH JT TEN           24 GOLDEN RD                                                                                    ROCHESTER          NY    14624‐3726
JAMES A BISCHKE & BETTY M BISCHKE JT TEN       2714 PALM DR                                                                                    BILLINGS           MT    59102‐0512
JAMES A BIXLER                                 454 SOUTH SPRING ROAD APT 1                                                                     ELMHURST           IL    60126‐3852
JAMES A BLAIR                                  210 DOGWOOD LN                                                                                  WALLINGFORD        PA    19006‐6006
JAMES A BLAKELY                                944 NOLAN WAY                                                                                   CHULA VISTA        CA    91911‐2408
JAMES A BLAKELYIII                             54 E SAN MIGUEL DR                                                                              CHULA VISTA        CA    91911‐1510
JAMES A BLANKENSHIP                            1765 BIRDIE RD                                                                                  GRIFFIN            GA    30223‐8016
JAMES A BLEHM                                  527 52ND ST SE                                                                                  GRAND RAPIDS       MI    49548‐5834
JAMES A BLOCK                                  1102 ELEONORE                                                                                   NEW ORLEANS        LA    70115‐4313
JAMES A BLUMER                                 7548 W ALEXANDRIA WAY                                                                           PEORIA             AZ    85381
JAMES A BLYTHE III                             2401 TANDY DR                                                                                   FLINT              MI    48532‐4961
JAMES A BOBLETT                                45 THOMPSON DR                                                                                  WASHINTONVILLE     NY    10992‐1803

JAMES A BOBO                                   389 BERRY ST                                                                                    PUNTA GORDA        FL    33950‐5426
JAMES A BOLEN                                  33 HIGHWOOD DR                                                                                  BELLEVILLE         IL    62223‐7140
JAMES A BOND                                   5508 BARNARD DR                                                                                 DAYTON             OH    45424‐4202
JAMES A BONHEUR                                SEVEN BEECHCROFT RD                                                                             GREENWICH          CT    06830‐3910
JAMES A BOREMAN                                1037 DEVONWOOD                                                                                  MANSFIELD          OH    44907‐2418
JAMES A BOUTILIER                              26 CRAPO ST                                                                                     TAUNTON            MA    02780‐2317
JAMES A BOWDEN & MRS ISABELLE BOWDEN JT TEN    1700 OXNARD                                                                                     DOWNERS GROVE      IL    60516‐2519

JAMES A BRAGGER                                350 STEWART N W                                                                                 WARREN             OH    44483‐2136
JAMES A BRAMLAGE                               325 W EIGHTH ST                                                                                 CINCINNATI         OH    45202‐1903
JAMES A BREAUX                                 PO BOX 53                                                                                       THREE OAKS         MI    49128‐0053
JAMES A BREEDEN                                126 S SHADOW CREEK PL                                                                           TUSCON             AZ    85748‐3278
JAMES A BRIDENBAUGH                            6337 FAIRWAY CT                                                                                 GREENVILLE         OH    45331‐9264
JAMES A BRIDENSTINE                            218 MONROE ST                                                                                   KALAMAZOO          MI    49006‐4435
JAMES A BRISKO                                 1912 SHERWOOD GLEN                                                                              BLOOMFIELD HILLS   MI    48302‐1772

JAMES A BROCKMAN                               209 N STATE ST                                                                                  WHITELAND          IN    46184‐1649
JAMES A BROWN                                  4758 E PRESERVE WAY                                                                             CAVE CREEK         AZ    85331‐4099
JAMES A BROWN                                  2940 W WASHINGTON                                                                               JACKSON            MI    49203‐1246
JAMES A BROWN & MRS DOLORES M BROWN JT TEN     8653 PANUCO WY                                                                                  LAS VEGAS          NV    89147‐1069

JAMES A BRUSO                                  2809 GATEWOOD DRIVE                                                                             WATERFORD          MI    48329‐3139
JAMES A BRYAN                                  138 HUFFER ROAD                                                                                 HILTON             NY    14468‐9514
JAMES A BUCAN                                  11211 BAYBERRY DR                                                                               BRUCE              MI    48065‐3740
JAMES A BUCKLEY                                5351 CASE RD                                                                                    NORTH RIDGEVILLE   OH    44039‐1017

JAMES A BURTON                                  3432 WILLIAMS PLACE SOUTHEAST                                                                  CONYERS            GA    30013‐2251
JAMES A BUSH                                    7588 NORTON ROAD                                                                               ELBA               NY    14058‐9746
JAMES A BUTLER                                  4514 CONNIE AVE                                                                                EIGHT MILE         AL    36613‐3403
JAMES A BYERS & R TRUE BYERS TEN ENT            246 EDISON ST                                                                                  UNIONTOWN          PA    15401‐2581
JAMES A BYRD                                    21 RUTH TERR                                                                                   ROCHESTER          NY    14624‐4612
JAMES A BYRD                                    1600 TREE TRUNK LANE                                                                           CHAPEL HILL        TN    37034‐2064
JAMES A BYRD & CHARLOTTE N BYRD JT TEN          2627 POINT BREEZE DRIVE               BARKLEY                                                  WILMINGTON         DE    19810‐1115
JAMES A CALDWELL                                904 W 2ND AVE                                                                                  BRODHEAD           WI    53520‐1308
JAMES A CALHOUN TR JAMES A CALHOUN LIVING TRUST 14566 HIGHWAY DD                                                                               PURDIN             MO    64674‐8017
UA 05/03/95
JAMES A CALLANAN JR                             12 MOUNTAINVIEW AVE                                                                            KINGSTON           NY    12401‐5237
JAMES A CALVERT                                 100 HILLTOP ESTATES                                                                            MOREHEAD           KY    40351‐7930
JAMES A CANFIELD & GENEVA C CANFIELD JT TEN     2205 JUG RD NW                                                                                 MONROE             GA    30656
JAMES A CAPORINI                                PO BOX 341                                                                                     BROOKVILLE         OH    45309‐0341
JAMES A CARGLE                                  137 N MAIN ST STE 900                                                                          DAYTON             OH    45402‐1774
JAMES A CARILLI                                 95‐1072 HA ALOHI ST                                                                            MILILANI           HI    96789
JAMES A CARLSON                                 3100 S HAWTHORNE AVE                                                                           INDEPENDENCE       MO    64052‐1244
JAMES A CARMONA                                 6612 OLDGATE LANE                                                                              ARLINGTON          TX    76002‐5474
JAMES A CARPENTER                               935 COBBLESTONE CT                                                                             ROCHESTER HILLS    MI    48309‐1627
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JAMES A CARROLL                                 5482 EMERY RD                                                                                  PORTLAND          MI    48875‐9709
JAMES A CARROLL                                 6544 ERRICK ROAD                                                                               N TONAWANDA       NY    14120‐1150
JAMES A CASELLA & PATRICIA L CASELLA JT TEN     1735 EMERY DR                                                                                  ERIE              PA    16509‐1149
JAMES A CAUDLE                                  1379 HAMPTON RD                                                                                SAINT CHARLES     MO    63303‐6105
JAMES A CESNICK                                 21 A ST                                                                                        MOUNTAIN LAKE     MD    21550‐3501
                                                                                                                                               PARK
JAMES A CHAVEZ                                  1560 DENNISON S W                                                                              ALBUQUERQUE       NM    87105‐2816
JAMES A CHRISTOPHER                             PO BOX 153                                                                                     ARJAY             KY    40902‐0153
JAMES A CHRONICLE CUST DAVID S CHRONICLE UGMA   30295 7 MILE RD                                                                                LIVONIA           MI    48152‐1914
MI
JAMES A CIARPELLA                               1018 VALE ROAD                                                                                 BEL AIR           MD    21014‐2413
JAMES A CLARK                                   C/O DIXIE CLARK                       8786 W COUNTY RD 800 N                                   NORTH SALEM       IN    46165‐9798
JAMES A CLARK                                   59695 BARKLEY DR                                                                               NEW HUDSON        MI    48165‐9661
JAMES A CLARK & BERNICE CLARK JT TEN            3501 ST AUGUSTINE PLACE                                                                        ASHEVILLE         NC    28805‐2486
JAMES A CLARK & PATRICIA A CLARK JT TEN         BOX 3917                                                                                       PARKER            CO    80134‐1442
JAMES A CLOCK                                   366 POMFRET RD                                                                                 WEST HARTFORD     VT    05084‐9702
JAMES A COCKLIN & ESTHER M COCKLIN JT TEN       42 IMPALA DRIVE                                                                                DILLSBURG         PA    17019‐1351
JAMES A COELHO                                  12 SULLIVAN TERRACE                                                                            FRAMINGHAM        MA    01701
JAMES A COLE & KATHLEEN L COLE JT TEN           20 UPPER SHEEP PASTURE RD                                                                      E SETAUKET        NY    11733‐1748
JAMES A COLLARD                                 24585 SUMMERLAND CIR                                                                           LAGUNA NIGUEL     CA    92677
JAMES A COLLINS                                 2319 E 500 N                                                                                   WINDFALL          IN    46076‐9478
JAMES A COLLINS                                 800 E MAIN                                                                                     MANCHESTER        MI    48158‐8540
JAMES A COLLINS II                              175 MONTESITO LN                                                                               FLORESVILLE       TX    78114‐4400
JAMES A CONANT JR                               34390 DETROIT RD                                                                               AVON              OH    44011‐1967
JAMES A CONLON                                  11 SOUTH 480 OAKWOOD                                                                           LEMONT            IL    60439‐8803
JAMES A CONNER                                  8135 E DODGE ROAD                                                                              OTISVILLE         MI    48463‐9453
JAMES A COOK                                    9117 TWIN OAKS CT                                                                              FLUSHING          MI    48433‐1189
JAMES A COOPER                                  4204 KEEWAHDIN RD                                                                              FORT GRATIOT      MI    48198
JAMES A CORR                                    2216 S SANTA FE ST                                                                             WICHITA           KS    67211‐4939
JAMES A CORSO                                   2073 CLEVELAND RD                                                                              SANDUSKY          OH    44870‐4406
JAMES A CORTINA                                 1044 HYDE PARK DRIVE                                                                           CENTERVILLE       OH    45429‐5810
JAMES A COSGROVE                                11833 S DEAN RD                                                                                ASHLEY            MI    48806‐9759
JAMES A COTSMAN                                 3703 COTTONTAIL LN                                                                             SHELBY TOWNSHIP   MI    48316‐3047

JAMES A COULTER                                 6557 LAKE MEADOWS DRIVE                                                                        HIXSON            TN    37343‐3165
JAMES A COVARRUBIAS                             365 PREWETT DR                                                                                 FOLSOM            CA    95630‐6529
JAMES A COWELL SR                               1391 BEDFORD DR                                                                                TEMPERANCE        MI    48182‐1260
JAMES A COX                                     5409 AMSTERDAM PLACE                                                                           RALEIGH           NC    27606‐9709
JAMES A COX                                     151 FLORADALE AVE                                                                              TONAWANDA         NY    14150‐9019
JAMES A CRADDOCK JR                             203 SPROUT RD                                                                                  MUNCY             PA    17756‐1714
JAMES A CRAWFORD                                3924 KIMPALONG DR                                                                              NASHVILLE         TN    37205‐1950
JAMES A CRAWFORD & MRS MARY CRAWFORD JT TEN     8317 BELL ST                                                                                   CROWN POINT       IN    46307‐9648

JAMES A CRESCIMANO                              3208 STONEWOOD DR                                                                              SANDUSKY          OH    44870‐5464
JAMES A CROFFORD                                3983 ST ROUTE 82                                                                               NEWTON FALLS      OH    44444‐9554
JAMES A CROUCH GDN DOROTHY G CROUCH             5424 KATY FREEWAY                                                                              HOUSTON           TX    77007
JAMES A CROWE                                   7863 KAVANAGH RD                                                                               BALTIMORE         MD    21222‐3304
JAMES A CULLEN                                  126 MALDEN RD                                                                                  BROWNSVILLE       PA    15417‐9213
JAMES A CURTIS                                  7929 MOORISH RD                                                                                BRIDGEPORT        MI    48722‐9714
JAMES A DANIELS                                 16252 WARD                                                                                     DETROIT           MI    48235‐4283
JAMES A DANIELS                                 1570 MEREDITH DR 42#                                                                           CINCINNATI        OH    45231‐3244
JAMES A DAVENPORT                               18609 ROGGE                                                                                    DETROIT           MI    48234‐3023
JAMES A DAVIES & MRS VIOLET L DAVIES JT TEN     171 GRAHAM RD                         APT 72                                                   CUYAHOGA FLS      OH    44223‐1762
JAMES A DAVIS                                   1721 VAN WAGONER DR                                                                            SAGINAW           MI    48603‐4416
JAMES A DAVIS                                   4637 N 39TH STREET                                                                             MILWAUKEE         WI    53209‐5859
JAMES A DAVIS                                   413 SUMTER AVE                                                                                 CAROLINA BCH      NC    28428‐5212
JAMES A DAVIS                                   1 MILLER COUNTY 266                                                                            FOUKE             AR    71837
JAMES A DAWES                                   3291 BENCHWOOD RD                                                                              DAYTON            OH    45414‐2703
JAMES A DE MARCO                                19966 PROMENADE                                                                                RIVERSIDE         CA    92508‐3248
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JAMES A DEAGAN                                     11825 COLUMBIA HIGHWAY                                                                          EATON RAPIDS       MI    48827‐9278
JAMES A DEFLORIO JR                                6854 FOX LN                                                                                     WATERFORD          MI    48327‐3504
JAMES A DENNISTON                                  744 RIDGELYN DR                                                                                 DALLASTOWN         PA    17313‐9741
JAMES A DEPIAZZA                                   PO BOX 1543                                                                                     LAKE DALLAS        TX    75065‐1543
JAMES A DEWYSE                                     843 GREEN                                                                                       BAY CITY           MI    48708‐9622
JAMES A DODARO                                     809 PERSIMMON LANE C                                                                            MOUNT PROSPECT     IL    60056‐6326

JAMES A DONNELLY JR TR MURRAY FAMILY               275 MARTINE ST                                                                                  FASLL RIVER        MA    02723‐1516
IRREVOCABLE TRUST UA 11/09/05
JAMES A DOOLAN                                     3104 ALCOTT                                                                                     FLINT              MI    48506‐2146
JAMES A DOUGLAS                                    1 JOLUDOW DR                                                                                    MASSAPEQUA PK      NY    11762‐3719
JAMES A DOWNEY JR                                  4 MOUNTAIN AVE                                                                                  MONTVILLE          NJ    07045‐9407
JAMES A DOWNEY JR                                  4 MOUNTIAN AVE                                                                                  MONTVILLE          NJ    07045
JAMES A DUCHSCHER                                  1079 GREYSTONE MANOR PKWY                                                                       CHESTERFIELD       MO    63005‐4946
JAMES A DUNCAN                                     4900 MYRTLE AVE                                                                                 BLUE ASH           OH    45242‐6135
JAMES A EDENS                                      656 W US HIGHWAY 52                                                                             FOUNTAINTOWN       IN    46130‐9406
JAMES A EDGE                                       6 BAYSHORE PT                                                                                   VALPARAISO         FL    32580‐1395
JAMES A EDWARDS                                    7900 E BENNINGTON                                                                               DURAND             MI    48429‐9764
JAMES A EDWARDS                                    2133 CLIFTWOOD AVE                                                                              BALTIMORE          MD    21213‐1501
JAMES A EDWARDS CUST JAMES ANDREW EDWARDS          511 OLD HUNDRED RD                                                                              MIDLOTHIAN         VA    23113‐7341
UGMA VA
JAMES A EICKHOFF                                   52180 SOUTHVIEW RIDGE                                                                           MACOMB             MI    48042‐1121
JAMES A ELLIOTT                                    1151 WILTSHIRE DR                                                                               LAPEER             MI    48446‐1589
JAMES A ENDRES & MARILYN C ENDRES TR JAMES A       9037 WEST G AVENUE                                                                              KALAMAZOO          MI    49009‐8525
ENDRES & MARILYN C ENDRES
JAMES A ERWIN                                      6280 WINDFALL ROAD                                                                              GALION             OH    44833‐8943
JAMES A ESCHENBECKER                               190 CALDICOTT ROAD                                                                              SCHENECTADY        NY    12303‐2314
JAMES A ETCHISON                                   PO BOX 586                                                                                      CARMEL             IN    46082‐0586
JAMES A FADLEY CUST RYAN F FADLEY UGMA TX          840 CRANE                                                                                       COPPELL            TX    75019‐5967
JAMES A FANNING                                    1398 COSGROVE ST                                                                                WATERTOWN          NY    13601‐4544
JAMES A FEDEWA                                     PO BOX 1956                                                                                     TROY               MI    48099‐1956
JAMES A FEISTER CUST JOHNATHAN A FEISTER UTMA IN   7045 N COUNTY ROAD 550 E                                                                        BROWNSBURG         IN    46112‐9410

JAMES A FERACK                                     941 RADCLIFF                                                                                    GARDEN CITY        MI    48135‐3063
JAMES A FILKINS                                    11601 N MAIN ST                                                                                 WHITMORE LAKE      MI    48189‐9117
JAMES A FILKINS & URSULA M FILKINS JT TEN          11601 N MAIN ST                                                                                 WHITMORE LAKE      MI    48189‐9117
JAMES A FINLEY & NANCY L FINLEY JT TEN             360 ROSEWAE AVE                                                                                 CORTLAND           OH    44410‐1269
JAMES A FLANAGAN                                   1417 FIELDGREEN OVERLOOK DR                                                                     STONE MOUNTAIN     GA    30088‐3137

JAMES A FLETCHER                                   1341 HOBBS DR                                                                                   ALPENA             MI    49707‐3917
JAMES A FLORMAN & TERI R FLORMAN JT TEN            364 W BOWMAN DR                                                                                 KALISPELL          MT    59901‐6880
JAMES A FLOWERS                                    302 E BASIN RD                                                                                  NEW CASTLE         DE    19720‐4214
JAMES A FLOWERS                                    4200 MARIANNE DRIVE                                                                             FLUSHING           MI    48433‐2329
JAMES A FLOWERS                                    1534 FERNDALE AVE                                                                               S W WARREN         OH    44485‐3947
JAMES A FORMICA                                    48226 BINGHAMPTON CT                                                                            NORTHVILLE         MI    48167‐8685
JAMES A FORMICA & VINCENT C FORMICA JT TEN         117 FAY PARK DR                                                                                 NORTH SYRACUSE     NY    13212‐3535
JAMES A FORNASH                                    19965 SALAM                                                                                     DETROIT            MI    48219‐1044
JAMES A FORREST & FREIDA V FORREST JT TEN          1602 ALICE ST                                                                                   POPLAR BLUFF       MO    63901‐3506
JAMES A FRANKO                                     8114 NW 100TH TERRACE                                                                           TAMARAC            FL    33321‐1259
JAMES A FRANKS                                     3026 ROCKEFELLER RD                                                                             WICKLIFFE          OH    44092‐1428
JAMES A FRANZWA                                    642 MARSOLAN AVE                                                                                SOLANA BEACH       CA    92075‐1931
JAMES A FRAZIER                                    4018 LOOP DR                                                                                    ENGLEWOOD          OH    45322‐2661
JAMES A FRAZZINE                                   3197 DUNLAVIN GLEN RD                                                                           COLUMBUS           OH    43221‐4419
JAMES A FREDERICK & LOIS M FREDERICK JT TEN        8218 CLAY CT                                                                                    STERLING HEIGHTS   MI    48313‐4602

JAMES A FREET                                      2870 WINTER PINES CT                                                                            COEUR D ALENE      ID    83815‐6246
JAMES A FRENCH                                     2162 MARBLE RD                                                                                  BELDING            MI    48809‐9747
JAMES A FRENCH & MAUDE F HODO JT TEN               5601 NATOMAS BLVD APT 7104                                                                      SACRAMENTO         CA    95835‐2262
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Name                                           Address1                               Address2             Address3          Address4          City              State Zip

JAMES A FRENCH CUST CAITLYN R FRENCH UGMA MI   611 CASS AVE                                                                                    BAY CITY          MI    48708‐8519

JAMES A FRITZ                                  3554 CENTER DR                                                                                  GREENVILLE        OH    45331‐3004
JAMES A FRYSKE & FRANCINE FRYSKE JT TEN        9236 PINE HILL CT                                                                               SALINE            MI    48176‐9476
JAMES A FULLER                                 12251 CARR RD ROUTE 2                                                                           ST CHARLES        MI    48655‐9660
JAMES A FULLERTON                              16207 WINCHMORE HILL DRIVE                                                                      SPRING            TX    77379‐6767
JAMES A FURLANO                                306 HILLTOP DR                                                                                  MILTON            WI    53563‐1408
JAMES A GABEL                                  329 WITMER ROAD                                                                                 N TONAWANDA       NY    14120‐1642
JAMES A GALLAGHER                              249‐35 RUSHMORE TERR                                                                            LITTLE NECK       NY    11362‐1325
JAMES A GALLMAN SR CUST JAMES A GALLMAN JR     70 QUEEN ANNE DRIVE                                                                             MABLETON          GA    30126‐1429
UGMA VA
JAMES A GALLMAN SR CUST PHILLIP M GALLMAN UGMA 253 COKESBURY RD                                                                                LEBANON           NJ    08833‐4377
VA
JAMES A GARNER                                 PO BOX 371                                                                                      KEITHVILLE        LA    71047‐0371
JAMES A GASSMAN                                11 WHITE TAIL WAY                      #B                                                       NORWALK           OH    44857‐2802
JAMES A GAW                                    721 WOODSPRING COURT                                                                            BEAVERCREEK       OH    45430‐1474
JAMES A GAY                                    11621 GEORGETOWN DR                                                                             KNOXVILLE         TN    37922‐3813
JAMES A GAYLORD                                191 PLAINVILLE AVE                                                                              UNIONVILLE        CT    06085‐1415
JAMES A GENNINGER                              717 HAWLEY AVE                                                                                  SYRACUSE          NY    13203‐2923
JAMES A GIBBENS                                134 GOODMAN DRIVE                      OSHAWA ON                              L1J 7V9 CANADA
JAMES A GIBBONS                                14517 MIMA RD SW                                                                                OLYMPIA           WA    98512
JAMES A GIBSON                                 296 E 293 ST                                                                                    WILLOWICK         OH    44095‐4650
JAMES A GIELDA                                 813 S SHERMAN                                                                                   BAY CITY          MI    48708‐7430
JAMES A GILCHRIST                              2900 JEFFERSON ST                                                                               COURTLAND         AL    35618‐3218
JAMES A GILLIES IV                             11 BENS WAY                                                                                     FRANKLIN          MA    02038‐1051
JAMES A GINTER                                 340 ARDMORE DR                                                                                  FERNDALE          MI    48220‐3318
JAMES A GLOVER                                 18 TILLINGHAST ST                                                                               NEWARK            NJ    07108‐1719
JAMES A GOBLE                                  348 RANDY RD                                                                                    ROANOKE           TX    76262‐6149
JAMES A GOINES JR                              220 N 3RD AV                                                                                    SAGINAW           MI    48607‐1474
JAMES A GOREY                                  7335 US HWY 20                                                                                  DELTA             OH    43515
JAMES A GORMAN                                 CURRAGH VIEW FONTSTOWN                 ATHY IRELAND                           IRELAND
JAMES A GORSE & INEZ N GORSE JT TEN            108 SOUTH DALE BLVD                                                                             CORTLAND          OH    44410‐1656
JAMES A GOSMA                                  12 AUGUSTA TRL                                                                                  PALM COAST        FL    32137‐1428
JAMES A GOURLEY                                6015A STATE RT 46TH NE                                                                          CORTLAND          OH    44410‐9665
JAMES A GRADY                                  15 CHIPPEWA DR                                                                                  MILAN             OH    44846‐9762
JAMES A GRANDBERRY                             1094 ROCHELLE PARK DR                                                                           ROCHESTER HILLS   MI    48309‐3702
JAMES A GREEN                                  ATTN HENRIETTA O GREEN                 2558 E PINE                                              STAYTON           OR    97383‐1582
JAMES A GREEN                                  44750 BAYVIEW DR UNIT 37                                                                        NOVI              MI    48377‐1379
JAMES A GREEN                                  362 COTSWOLD DRIVE                                                                              DAYTON            OH    45459‐1722
JAMES A GREEN                                  2325 KINGSBURY TROY                                                                             TROY              MI    48098‐4241
JAMES A GREGG                                  1414 LAKE CREST DR SW                                                                           DECATUR           AL    35603‐4436
JAMES A GRIFFITH                               1915 N 29TH ST                                                                                  PARAGOULD         AR    72450‐9767
JAMES A GRIGGS                                 9359 LAURA                                                                                      DETROIT           MI    48214‐1420
JAMES A GRIMM TR UA 8‐3‐78 JAMES A GRIMM TRUST 1301 S WOLF ROAD                                                                                HILLSIDE          IL    60162

JAMES A GROCHOWSKI CUST BRANDON GROCHOWSKI     754 COYOTE CT                                                                                   HUBERTUS          WI    53033
UTMA WI
JAMES A GRYGA                                  1400 BELEVEDERE DRIVE                                                                           KOKOMO            IN    46902‐5606
JAMES A GUCK                                   5932 COUNTY RD 36                                                                               HONEOYE           NY    14471‐9548
JAMES A HABERMAN                               9038 BAYVIEW CIR                                                                                PLAINFIELD        IN    46168‐4735
JAMES A HADLEY                                 6031 E MAIN ST                                                                                  COLUMBUS          OH    43213‐3356
JAMES A HALE                                   4232 BORDEAUX DR                                                                                KENNER            LA    70065‐1740
JAMES A HALE & MRS JANICE E HALE JT TEN        4232 BORDEAUX DR                                                                                KENNER            LA    70065‐1740
JAMES A HALL                                   2650 EDGEVALE DR                                                                                WATERFORD         MI    48329‐3930
JAMES A HAMADE                                 44881 ASPEN RIDGE DR                                                                            NORTHVILLE        MI    48167‐4435
JAMES A HANDS JR                               1412 NEWBURY LN                                                                                 MARYVILLE         TN    37803‐4704
JAMES A HANSON                                 4485 W 100 S                                                                                    RUSSIAVILLE       IN    46979‐9512
JAMES A HARNESS                                11401 NORBY RD                                                                                  KANSAS CITY       MO    64137‐2533
JAMES A HARP JR & CLEO J HARP JT TEN           BOX 1330                                                                                        CORTEZ            CO    81321‐1330
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Name                                               Address1                             Address2             Address3          Address4          City            State Zip

JAMES A HARPER                                     2022 HARVARD BLVD                                                                             DAYTON          OH    45406‐4542
JAMES A HARRELL                                    431 S 4TH AVE                                                                                 MOUNT VERNON    NY    10550‐4401
JAMES A HARRIS                                     602 E MAIN                                                                                    GREENTOWN       IN    46936‐1305
JAMES A HARRIS                                     1462 PEPPERWOOD DR                                                                            NILES           OH    44446‐3543
JAMES A HARRISON                                   9351 COUNTY ROAD 489                                                                          ATLANTA         MI    49709‐9241
JAMES A HARRISON                                   9427 ANDERSONVILLE RD                                                                         CLARKSTON       MI    48346‐1813
JAMES A HARTUNG                                    5767 MILL RIDGE RD                                                                            GRANITE FALLS   NC    28630‐8749
JAMES A HASTINGS                                   239 SHOAL CREEK RD                                                                            HARTSELLE       AL    35640‐7029
JAMES A HAW                                        4806 ROYAL DR                                                                                 FORT WAYNE      IN    46835‐3741
JAMES A HAWKINS                                    1812 MAPLE AV                                                                                 FLORENCE        AL    35630‐2229
JAMES A HAWKINS                                    19740 PENNINGTON DR                                                                           DETROIT         MI    48221‐1619
JAMES A HAYES                                      56 GRANVILLE RD                                                                               EAST HARTLAND   CT    06027
JAMES A HEIDL                                      4620 VENICE HEIGHTS BLVD             APT 151                                                  SANDUSKY        OH    44870‐1684
JAMES A HEIMBACH JR                                9 INDIAN LEDGE DRIVE                                                                          SPRINGVALE      ME    04083‐1413
JAMES A HENDERSON                                  14255 WESTGATE                                                                                REDFORD         MI    48239‐2856
JAMES A HENDERSON                                  1420 HARVARD BLVD                                                                             DAYTON          OH    45406‐5960
JAMES A HENRY                                      22 ANGEVINE AVE                                                                               HEMPSTEAD       NY    11550‐5619
JAMES A HERBSTER TOD LAURA BURGHARDT SUBJECT       710 VALENTINE LANE                                                                            HUDSON          MI    49247
TO STA TOD RULES
JAMES A HILL                                       3673 N GRANDJEAN RD                                                                           ROSE CITY       MI    48654‐9788
JAMES A HILL                                       659 GARFIELD ST                                                                               VANDERBILT      MI    49795‐9300
JAMES A HILSTON                                    460 ALMAR DRIVE                                                                               PITTSBURGH      PA    15237‐4870
JAMES A HOCKER                                     1951 S ELECTRIC ST                                                                            DETROIT         MI    48217
JAMES A HOEY & HELEN T HOEY JT TEN                 11 MESSEX LN                                                                                  WESTON          CT    06883‐1932
JAMES A HOLDSCLAW                                  27727 MICHIGAN AVE                   APT 119                                                  INKSTER         MI    48141‐2267
JAMES A HORINE                                     1374 S 300 W                                                                                  HUNTINGTON      IN    46750‐9116
JAMES A HORN                                       8811 BECKFORD DR                                                                              INDIANAPOLIS    IN    46234‐2207
JAMES A HORTY III                                  PO BOX 350                                                                                    WILMINGTON      DE    19899‐0350
JAMES A HOTALING & JOHN J HOTALING JT TEN          7998 WEST HIGHWAY 318                                                                         REDDICK         FL    32686‐2644
JAMES A HOUSE                                      6050 W 700 S                                                                                  WARREN          IN    46792‐9795
JAMES A HOUSTON                                    219 SHORES DR                                                                                 SPEEDWELL       TN    37870‐8251
JAMES A HOWARD                                     1475 CENTER LINE ROAD                                                                         ST JOHNS        MI    48879
JAMES A HOWARD JR                                  PO BOX 248                                                                                    DEARING         GA    30808‐0248
JAMES A HRUSKA & ARLENE J HRUSKA JT TEN            6401 BARRETT                                                                                  DOWNERS GROVE   IL    60516‐2710
JAMES A HUDAK                                      332 WESTWOODS                                                                                 AMHERST         OH    44001‐2051
JAMES A HUDSON                                     36659 HAZELWOOD                                                                               WESTLAND        MI    48186‐4034
JAMES A HUESSER                                    18 DELAWARE AVE                                                                               PENNSVILLE      NJ    08070‐1704
JAMES A HUGHES                                     300 N MACKINAW                                                                                LINWOOD         MI    48634‐9444
JAMES A HUNT                                       25 CHRISTINA WOODS CT                                                                         NEWARK          DE    19702‐2724
JAMES A HUNTER                                     1608 16TH ST                                                                                  EUREKA          CA    95501‐2544
JAMES A HURLEY                                     720 GASBERRY LANE                                                                             WEBSTER         NY    14580‐2622
JAMES A INSKEEP                                    1420 ALLANWOOD LANE                                                                           DAYTON          OH    45432‐3220
JAMES A IVESTER                                    2295 MACON DR SW                                                                              ATLANTA         GA    30315‐6455
JAMES A JACKSON                                    2938 KENMORE                                                                                  BERKLEY         MI    48072‐1618
JAMES A JACKSON JR                                 537 DORCHESTER DR                                                                             SEVEN FIELDS    PA    16046‐4705
JAMES A JAJE                                       2053 HAINES RD                                                                                LAPEER          MI    48446‐8367
JAMES A JANUS TR JAMES A JANUS TRUST UA 10/08/03   4756 HAWLEY BLVD                                                                              SAN DIEGO       CA    92116‐2436

JAMES A JARRELL                                    PO BOX 304                                                                                    PURGITSVILLE    WV    26852‐0304
JAMES A JAVOR & KIMBERLY E JAVOR JT TEN            475 JEWETT HOLMWOOD RD                                                                        EAST AURORA     NY    14052
JAMES A JEFFRIES                                   44 ORMOND ST                                                                                  FROSTBURG       MD    21532‐1647
JAMES A JENKINSON                                  6010 DVORAK                                                                                   CLARKSTON       MI    48346‐3227
JAMES A JESPERSEN & MRS BARBARA JESPERSEN JT TEN   3465 WYNDWICKE DRIVE                                                                          SAINT JOSEPH    MI    49085‐8605

JAMES A JOHNSON                                    3004 WEST WOODBRIDGE AVENU                                                                    MUNCIE          IN    47304‐1073
JAMES A JOHNSON                                    5211 STONETRACE DR                                                                            CINCINNATI      OH    45251‐4169
JAMES A JOHNSON                                    3985 FAIRWAY DRIVE                                                                            NORTH PORT      FL    34287‐6106
JAMES A JOHNSON SR                                 420 CTY RD 155                                                                                SELMA           AL    36701
JAMES A JOHNSTON                                   3138 LANDVIEW DRIVE                                                                           ROCHESTER       MI    48306‐1147
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JAMES A JUSTICE                                  12375 NASH HIGHWAY                    PO BOX 65                                                CLARKSVILLE        MI    48815‐0065
JAMES A JUSTICE & SHERRI LYNN JUSTICE JT TEN     3892 ISLAND PARK DR                                                                            WATERFORD          MI    48329‐1906
JAMES A K SPALVINS                               2317 TIPTON STATION ROAD                                                                       KNOXVILLE          TN    37920
JAMES A KATCHER                                  54565 ROMEO PLANK RD                                                                           MACOMB             MI    48042‐2307
JAMES A KAUSE CUST JANE S KAUSE UGMA MI          44126 HARMONY LANE                                                                             BELLEVILLE         MI    48111‐2451
JAMES A KECK                                     4518 MOSS OAK TRL                                                                              BELLBROOK          OH    45305‐1450
JAMES A KELLEY                                   20 ALBANO ST                                                                                   ROSLINDALE         MA    02131‐3515
JAMES A KELLEY & CONSTANCE A KELLEY JT TEN       656 HARRIS HILL ROAD                                                                           LANCASTER          NY    14086‐9759
JAMES A KELLY                                    20 DUNLAP PLACE                                                                                MIDDLESEX          NJ    08846‐1303
JAMES A KELLY & FLORENCE A KELLY JT TEN          20 DUNLAP PLACE                                                                                MIDDLESEX          NJ    08846‐1303
JAMES A KENNEDY                                  815 PORTAGE EASTERLY RD                                                                        CORTLAND           OH    44410‐9558
JAMES A KENNEDY                                  9067 GRANDVILLE                                                                                DETROIT            MI    48228‐1719
JAMES A KENNEDY                                  1961 MARY CATHERINE                                                                            YPSILANTI          MI    48198‐6246
JAMES A KEY                                      5763 LAKE CREST                                                                                COLUMBIAVILLE      MI    48421‐8942
JAMES A KIEDROWSKI                               5335 W ROSE GARDEN LN                                                                          GLENDALE           AZ    85308‐9153
JAMES A KING                                     15101 BURR                                                                                     TAYLOR             MI    48180‐5190
JAMES A KINLEY                                   1924 MC KINLEY ST                                                                              ANDERSON           IN    46016‐4563
JAMES A KIRK                                     6743 S 78TH AVE                                                                                BRIDGEVIEW         IL    60455‐1008
JAMES A KIRKEENG                                 13326 PICADILLY DR                                                                             STERLING HEIGHTS   MI    48312‐1517

JAMES A KIRNER & MRS DONNA L KIRNER JT TEN       N1308 STATE ROAD 188                                                                           PR DU SAC          WI    53578‐9520
JAMES A KISH                                     PO BOX 394                                                                                     TECUMSEH           MI    49286‐0394
JAMES A KITKA                                    16430 CLARKSON DR                                                                              FRASER             MI    48026‐3585
JAMES A KNAPP                                    483 PARMA CENTER                                                                               HILTON             NY    14468‐9313
JAMES A KNOTTS                                   1630 PATLIN CIRCLE SOUTH                                                                       LARGO              FL    33770‐3070
JAMES A KODEL                                    9332 W HOWARD AVE                                                                              MILWAUKEE          WI    53228
JAMES A KOLBE                                    81 NORTH NICHOLAS DRIVE                                                                        TONAWANDA          NY    14150‐6107
JAMES A KOLIS                                    3028 COOLEY LAKE RD                                                                            MILFORD            MI    48381‐1460
JAMES A KOLIS & DIAN C KOLIS JT TEN              3028 COOLEY LAKE ROAD                                                                          MILFORD            MI    48381‐1460
JAMES A KORB                                     78 WOLCOTT AVE                                                                                 ROCHESTER          NY    14606‐3999
JAMES A KORBEL                                   1018 BERKSHIRE RD                                                                              DAYTON             OH    45419‐3739
JAMES A KORTES                                   22413 REVERE                                                                                   ST CLAIR SHORES    MI    48080‐2881
JAMES A KORTES & FAY MARIE KORTES JT TEN         22413 REVERE                                                                                   ST CLAIR SHRS      MI    48080‐2881
JAMES A KRAFT                                    36 CLEARFIELD DR                                                                               BUFFALO            NY    14221‐2402
JAMES A KRAUSE                                   703 NEBOBISH                                                                                   ESSEXVILLE         MI    48732‐1189
JAMES A KRAUSE                                   8261 ROLLING HILL LANE                                                                         GRAND LEDGE        MI    48837‐9251
JAMES A KUNTZ                                    6106 WESTLAKE AVE                                                                              PARMA              OH    44129‐2352
JAMES A KURZAWA & ANNETTE KURZAWA JT TEN         1198 BRITTANY HILLS E                                                                          NEWARK             OH    43055‐1620
JAMES A LAKE & NANCY C LAKE JT TEN               799 S MAIN ST                                                                                  ATHOL              MA    01331‐2146
JAMES A LAKIES                                   1116 BURLINGAME ST                                                                             CADILLAC           MI    49601‐1241
JAMES A LAMAR                                    1147 E WINTER AVE                                                                              DANVILLE           IL    61832‐2295
JAMES A LAMBDIN                                  8327 LIBERTY BLVD                                                                              WESTLAND           MI    48185‐1731
JAMES A LAMBERT JR                               2277 SEWELL MILL RD                                                                            NEWNAM             GA    30263‐3964
JAMES A LANDIS                                   263 NEWPORT RD                                                                                 LILBURN            GA    30047‐3947
JAMES A LANGONE III                              19 MAYBROOK RD                                                                                 SPRINGFIELD        MA    01129‐1710
JAMES A LASTRAPES                                PO BOX 104                                                                                     ARNAUDVILLE        LA    70512‐0104
JAMES A LAUGHLIN & IMOGENE L LAUGHLIN JT TEN     4 HAZELNUT COURT                                                                               FLORISSANT         MO    63033‐6537

JAMES A LAVIGNE                                  37 COLUMBIA DR                                                                                 KEARNEYSVILLE      WV    25430‐6401
JAMES A LAWSON                                   5824 BERTHA ST                                                                                 INDIANAPOLIS       IN    46241‐0560
JAMES A LAWSON                                   1238 N PHILLIPS                                                                                KOKOMO             IN    46901‐2648
JAMES A LAYTON                                   9924 ST RD 32W                                                                                 LAPEL              IN    46051‐9616
JAMES A LEASURE                                  42949 N CHICORY AVE                                                                            LANCASTER          CA    93534‐6226
JAMES A LEDERER                                  10 PADDOCK LN                                                                                  MILLIS             MA    02054‐1054
JAMES A LEE                                      48742 DUNN CT                                                                                  MACOMB             MI    48044‐2229
JAMES A LEE                                      8246 FARRAND RD                                                                                MONTROSE           MI    48457‐9725
JAMES A LEE                                      1000 S DEVONSHIRE RD                                                                           YORKTOWN           IN    47396‐9649
JAMES A LEPERA                                   17 MARCEL COURT                                                                                FAIRFIELD          OH    45014‐3653
JAMES A LESTARGE                                 6220 W 1000 N                                                                                  HUNTINGTON         IN    46750‐9748
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JAMES A LEVELS                                  3510 HEBERT                                                                                    ST LOUIS        MO    63107‐2526
JAMES A LEVERANCE                               266 WILDERNESS WAY                                                                             BROOKLYN        WI    53521‐9452
JAMES A LIBERTI                                 41 GARDEAU ST                                                                                  PERRY           NY    14530‐1304
JAMES A LINDQUIST                               3790 NUTCRACKER CT                                                                             OXFORD          MI    48370‐2527
JAMES A LONDRIGAN                               9068 WILLOWGATE                                                                                GOODRICH        MI    48438‐9100
JAMES A LONG                                    4208 FARNER                                                                                    WATERFORD       MI    48329‐4107
JAMES A LOVELL & DOLORES M LOVELL JT TEN        1102 DEE LN                                                                                    WOODBURY        NY    11797‐1651
JAMES A LOW                                     5971 TIBET DR                                                                                  HUBER HEIGHTS   OH    45424‐5326
JAMES A LUCAS                                   135 EASTLAKE DR                                                                                ASHLAND         OH    44805‐4167
JAMES A LUMBERT                                 5372 LEHMAN RD                                                                                 DEWITT          MI    48820‐9151
JAMES A LUNDY                                   BIRCH LK RD                           PO BOX 312                                               KEWADIN         MI    49648‐0312
JAMES A LUSTER JR                               99 ISAAC DRIVE                                                                                 BUNKER HILL     WV    25413
JAMES A LYNCH SR                                4318 S FLORIDA AVENUE                 #84                                                      INVERNESS       FL    34450‐8552
JAMES A LYNCH SR                                4318 S FLORIDA AVE LOT 84                                                                      INVERNESS       FL    34450‐8552
JAMES A LYONS                                   3536 LYNCHESTER RD                                                                             BALTIMORE       MD    21215‐7415
JAMES A MAC DOUGALL & PAUL MAC DOUGALL JT TEN   120 WILLIAMS AVE                                                                               HYDE PARK       MA    02136‐3920

JAMES A MAC KAY                                 319 THORNWOOD LANE                                                                             LAKE BLUFF       IL   60044‐2330
JAMES A MACKRIS                                 17631 KUECKEN                                                                                  CLINTON TOWNSHIP MI   48038‐1765

JAMES A MAKELY & ALICE R MAKELY JT TEN          590 BLACK WALNUT DRIVE                                                                         ROCHESTER       NY    14615‐1420
JAMES A MALDWIN                                 2912 WESTMOOR RD                                                                               OSHKOSH         WI    54904‐7605
JAMES A MALIZIA                                 1109 BRASSIE AVE                                                                               FLOSSMOOR       IL    60422‐1503
JAMES A MALIZIA & ROSE M MALIZIA JT TEN         1109 BRASSIE AVE                                                                               FLOSSMOOR       IL    60422‐1503
JAMES A MALLINGER                               12901 JULIE ANN CT                                                                             SHELBY          MI    48315‐4651
JAMES A MALOTT                                  2343 TAYLER HILL                                                                               MINFORD         OH    45653‐8534
JAMES A MANNION                                 14770 S HIGHLAND                                                                               ORLAND PARK     IL    60462‐3050
JAMES A MARIANO                                 236 N COLONIAL                                                                                 CORTLAND        OH    44410‐1167
JAMES A MARLEY JR & PATRICIA MARLEY JT TEN      1092 HENDRIX AVE                                                                               THOUSAND OAKS   CA    91360‐3646
JAMES A MARR                                    341 CHESTNUT                          ST THOMAS ON                           N5R 5R9 CANADA
JAMES A MARSHALL                                621 W PARKWAY AV 1A                                                                            FLINT            MI   48505‐2672
JAMES A MARTIN & JEAN B MARTIN JT TEN           200 HUNTINGTON ROAD                                                                            GREENVILLE       SC   29615‐4206
JAMES A MARTIN JR                               C/O ROSEMARY MARTIN                   835 HILL ROAD                                            ASTON            PA   19014‐1416
JAMES A MARTINEZ                                1625 MARSHBANK                                                                                 PONTIAC          MI   48340‐1074
JAMES A MARX                                    7925 LUANN STREET                                                                              SAGINAW          MI   48609‐4918
JAMES A MASTERS                                 BOX 19                                                                                         DAVIDSONVILLE    MD   21035‐0019
JAMES A MATHEWS                                 1123 GOMER STREET                                                                              HAYWARD          CA   94544‐4315
JAMES A MATTHEWS                                345 ALPLAUS AVE                                                                                ALPLAUS          NY   12008‐1017
JAMES A MAURER                                  PO BOX 217                                                                                     CORUNNA          MI   48817‐0217
JAMES A MAY SR & CAROL A MAY JT TEN             3358 E DOWNING ST                                                                              MESA             AZ   85213‐7013
JAMES A MAZUCHOWSKI                             22823 BRAYDON CT                                                                               NOVI             MI   48374‐3722
JAMES A MC CORMICK                              110 CLOVER AVE                                                                                 EWING            NJ   08638‐3616
JAMES A MC GINNIS                               5385 GERTRUDE ST                                                                               DEARBORN HEIGHTS MI   48125‐2809

JAMES A MC GUIRE                                4635 TIMBERVIEW DR                                                                             AUBURN          IL    62615‐9668
JAMES A MC NERTNEY                              1180 BEN FRANKLIN HWY E               APT 319                                                  DOUGLASVILLE    PA    19518‐1803
JAMES A MC VICAR                                15531 OPORTO ST                                                                                LIVONIA         MI    48154‐3244
JAMES A MCCAGUE                                 2126 ST RT 15                                                                                  NEY             OH    43549‐9712
JAMES A MCCLARY                                 5235 E WILCOX ROAD                                                                             JANESVILLE      WI    53546‐9707
JAMES A MCCLURE                                 49 BRIARCLIFF RD                                                                               GRIFFIN         GA    30223‐7010
JAMES A MCCOY                                   23650 CADILLAC HWY                                                                             COPEMISH        MI    49625‐9717
JAMES A MCDONNELL                               91 DARTMOUTH ST                                                                                VALLEY STREAM   NY    11581‐3215
JAMES A MCELHENY & TIMOTHY A MCELHENY JT TEN    2131 SWENSBERG NE                                                                              GRAND RAPIDS    MI    49505‐4063

JAMES A MCFADDEN                                4919 BEND CT                                                                                   SUGARLAND       TX    77478‐5492
JAMES A MCKENZIE                                2987 LONGLEAF RANCH CIR                                                                        MIDDLEBURG      FL    32068‐6357
JAMES A MCKENZIE                                5807 BOIS ILE DR                                                                               HASLETT         MI    48840‐9515
JAMES A MEIER                                   1875 RIVERVIEW DRIVE                                                                           DEFIANCE        OH    43512‐2565
JAMES A MELTZER                                 7681 E 600 N                                                                                   FALMOUTH        IN    46127‐9748
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Name                                             Address1                              Address2             Address3          Address4          City              State Zip

JAMES A MERCHEL                                  39473 MOUND RD                                                                                 STERLING HTS      MI    48310‐2743
JAMES A MERZKE                                   43 S SHORE DR                                                                                  ADDISON           MI    49220‐9739
JAMES A MEWHINNEY                                610 RIVERSIDE DRIVE                                                                            CARLSBAD          NM    88220‐5220
JAMES A MEYERS                                   1520 AVON                                                                                      SAGINAW           MI    48602‐3974
JAMES A MEYERS & JOSEPHINE M MEYERS JT TEN       1520 AVON                                                                                      SAGINAW           MI    48602‐3974
JAMES A MIANO                                    60 CANTEBURY CIR                                                                               BATESVILLE        AR    72501‐9185
JAMES A MIDDLETON MUNCY                          4539 SEMINARY RD                                                                               ALEXANDRIA        VA    22304‐1532
JAMES A MILLER                                   610 N JOHNSON                                                                                  BAY CITY          MI    48708‐6729
JAMES A MILLER                                   2432 MAPLE GROVE HWY                                                                           HUDSON            MI    49247‐9730
JAMES A MILLER & JOANN L MILLER & JENNIFER A     13467 BAHNFYRE DR                                                                              ST LOUIS          MO    63128‐3383
MILLER JT TEN
JAMES A MILLER CUST GENEVIEVE E MILLER UTMA CO   10261 ROSEWOOD DR                                                                              OVERLAND PARK     KS    66207‐3456

JAMES A MILLER CUST JACOB A MILLER UTMA KS       10261 ROSEWOOD DR                                                                              OVERLAND PARK   KS      66207‐3456
JAMES A MILLER CUST MATTHEW A MILLER UTMA KS     10261 ROSEWOOD DR                                                                              SHAWNEE MISSION KS      66207‐3456

JAMES A MILLS                                    540 BUFFALO BRANCH RD                                                                          CORBIN            KY    40701
JAMES A MILLS                                    2700 EATON RAPIDS RD                  LOT 148                                                  LANSING           MI    48911‐6321
JAMES A MINOR                                    RD 1 BOX 110                                                                                   GREENSBORO        PA    15338‐8620
JAMES A MITCHELL                                 14 MILL ST                                                                                     SPENCERPORT       NY    14559‐1210
JAMES A MITCHELL                                 6420 AGNES                                                                                     KANSAS CITY       MO    64132‐1155
JAMES A MOCK                                     5194 LATIMER                                                                                   WEST BLOOMFIELD   MI    48324‐1547

JAMES A MOLONEY                                  17650 W OUTER DR                                                                               DEARBORN HEIGHTS MI     48127‐2569

JAMES A MONROE                                   7472 BOSTON STATE RD                                                                           HAMBURG           NY    14075‐7327
JAMES A MOONEY & GRACE A MOONEY JT TEN           427 BELMONT AVE                                                                                NILES             OH    44446‐3015
JAMES A MOORE                                    1218 MAPLE AVE                                                                                 SANDUSKY          OH    44870‐9801
JAMES A MOORE                                    2513 LUPINE CT                                                                                 OKEMOS            MI    48864‐3367
JAMES A MORGAN                                   5480 W 1100 S                                                                                  FAIRMOUNT         IN    46928‐9319
JAMES A MORGAN                                   PMB 223 13 BOW CIRCLE                                                                          HILTON HEAD       SC    29928
JAMES A MORRIS                                   11324 E MAPLE AVE                                                                              DAVISON           MI    48423
JAMES A MORRISETTE                               1204 AUTUN RD                                                                                  PENDLETON         SC    29670‐9113
JAMES A MORSE                                    2921 CANYONSIDE CT                                                                             GRAND RAPIDS      MI    49525‐3176
JAMES A MURPHY                                   6016 WATCH HARBOUR ROAD                                                                        MIDLOTHIAN        VA    23112‐2030
JAMES A MYNY                                     73563 KANIE RD                                                                                 ROMEO             MI    48065‐3354
JAMES A NALLS                                    423 ALAMEDA PL                                                                                 DAYTON            OH    45406‐4509
JAMES A NARVID & MARY C NARVID JT TEN            224 MILL STREET                                                                                PITTSTON          PA    18640‐2646
JAMES A NEELEY                                   132 LAKEFIELD DR                                                                               MILFORD           OH    45150‐1884
JAMES A NEHRT                                    17815 HIGH LINE RD                                                                             CARLYLE           IL    62231‐2813
JAMES A NELSON                                   BOX 514                                                                                        WOODRUFF          WI    54568‐0514
JAMES A NEVILLE JR                               5572 MEDALLION DR W                                                                            WESTERVILLE       OH    43082
JAMES A NEWBERRY                                 347 CEDAR BAY CIR                                                                              DALLAS            GA    30157‐1415
JAMES A NEWMAN                                   19091 CALYPSO                                                                                  MACOMB            MI    48044‐1220
JAMES A NORGARD                                  BOX 734                                                                                        ARNEGARD          ND    58835‐0734
JAMES A NORTHROP                                 14838 SHIRE RD                                                                                 WOLVERINE         MI    49799‐9637
JAMES A NOWACZYK                                 2325 DAVID STREET                                                                              SAGINAW           MI    48603‐4113
JAMES A NOWC                                     25183 PATTOW                                                                                   ROSEVILLE         MI    48066‐3911
JAMES A NYKANEN                                  30932 PARDO                                                                                    GARDEN CITY       MI    48135‐1846
JAMES A O'BRIEN                                  1701 HOLLAND ROAD                                                                              MAUMEE            OH    43537‐1646
JAMES A O'NEAL                                   1306 S E 15TH ST                                                                               OCALA             FL    34471‐4542
JAMES A OCONNOR & JOAN D OCONNOR JT TEN          PO BOX 311                                                                                     OCCOQUAN          VA    22125‐0311
JAMES A OKELLEY & RENA OKELLEY JT TEN            4734 MIDLAND AVE                                                                               WATERFORD         MI    48329‐1839
JAMES A OLIVER JR                                290 YODER RD                                                                                   HARLEYSVILLE      PA    19438‐1860
JAMES A OLSEN                                    149 JASPER DRIVE                                                                               FAIRFIELD GLADE   TN    38558‐8665
JAMES A ONEAL JR                                 1306 S E 15TH STREET                                                                           OCALA             FL    34471‐4542
JAMES A OSWALD & KATHRYN M OSWALD JT TEN         1430 SHERIDAN DR                                                                               PARMA             OH    44134‐5341
JAMES A OTT                                      12107 MAPLE FOREST CT                 APT K                                                    FAIRFAX           VA    22030‐7721
JAMES A OWENS                                    2142 WHITTIER ST                                                                               SAGINAW           MI    48601‐2264
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JAMES A PAKEMAN                                   112 MARGARET PL                     BROCKVILLE ON                          K6V 6Y3 CANADA
JAMES A PALMATIER                                 4705 CRESTBROOK LN                                                                           FLINT              MI    48507‐2285
JAMES A PANARETOS                                 1393 FAIRFAX ST                                                                              BIRMINGHAM         MI    48009‐1081
JAMES A PARKER                                    PO BOX 966                                                                                   SAND SPRINGS       OK    74063‐0966
JAMES A PARR                                      315 DENISE RD                                                                                ROCHESTER          NY    14612‐4930
JAMES A PASTORIA                                  13186 KINLOCK DR                                                                             STERLING HEIGHTS   MI    48312‐1564

JAMES A PATCHETT & ELIZABETH C PATCHETT JT TEN    4316 CRESTKNOLL DR                                                                           GRAND BLANC        MI    48439‐2014

JAMES A PATTERSON                                 4020 LEFEVRE DR                                                                              KETTERING          OH    45429‐3218
JAMES A PATTON                                    10446 CANFIELD                                                                               ST LOUIS           MO    63136‐5736
JAMES A PAULEY                                    10132 N UNION RD                                                                             HILLSBORO          OH    45133‐7820
JAMES A PAYNE                                     2406 HICKORY VALLEY ROAD                                                                     CHATTANOOGA        TN    37421‐1724
JAMES A PEACE                                     5305 E COUNTY LINE RD                                                                        MINERAL RIDGE      OH    44440‐9402
JAMES A PEDERSEN                                  8632 SYCAMORE ST                                                                             MOHAVE VALLEY      AZ    86440‐8521
JAMES A PEPPER III                                385 HOLLINSWOOD AVE                                                                          WINSTON‐SALEM      NC    27103‐6246
JAMES A PERRY                                     906 W HIBBARD ROAD                                                                           OWOSSO             MI    48867‐8900
JAMES A PETRY                                     3821 N PIPER DRIVE                                                                           MUNCIE             IN    47303‐1141
JAMES A PETTY                                     737 CARLYLE PLACE                                                                            NASHVILLE          TN    37211‐2636
JAMES A PFLUMM CUST CRAIG V PFLUMM UGMA NY        289 OLDE HARBOUR TRAIL                                                                       ROCHESTER          NY    14612‐2936

JAMES A PIAZZA                                    1016 FIRST NORTH STREET                                                                      SYRACUSE           NY    13208‐2138
JAMES A PIERCE                                    174 MATTHEWS SCHOOL RD                                                                       WINDER             GA    30680‐3942
JAMES A PIERCE                                    822 LAKERIDGE PL                                                                             FORT WAYNE         IN    46819‐1468
JAMES A PILON                                     3958 CORINNE CT                                                                              NAPLES             FL    34109‐0789
JAMES A PILON CUST STEPHEN J PILON UTMA FL        3958 CORINNE CT                                                                              NAPLES             FL    34109‐0789
JAMES A PIROLLI JR                                2348 ROBINWOOD AVE                                                                           TOLEDO             OH    43620
JAMES A PLETZ                                     1539 SETON DRIVE                    BELLEVUE MANOR                                           WILMINGTON         DE    19809‐2238
JAMES A PLUMPTREE                                 15305 VICTORIA AVE                  WHITE ROCK BC                          V4B 1G9 CANADA
JAMES A POLICASTRO                                5006 ASHLEY LN                                                                               LAWRENCE           PA    15055‐1050
JAMES A PORTERFIELD                               342 MARSH HOLLOW RD                                                                          PONTE VEDRA        FL    32081‐0534
JAMES A POTTS                                     14912 HOYLE RD                                                                               BERLIN CENTER      OH    44401‐9746
JAMES A POTTS JR                                  14912 HOYLE RD                                                                               BERLIN CENTER      OH    44401‐9746
JAMES A PRECHT                                    11007 WEST 69TH                                                                              SHAWNEE            KS    66203‐3819
JAMES A PRICE & ELIZABETH PRICE JT TEN            2545 E SAINT JOSEPH HIGHWAY                                                                  GRAND LEDGE        MI    48837‐9723
JAMES A PROFFITT                                  1697 GUISE COURT                                                                             READING            OH    45215‐3704
JAMES A PRYOR                                     134 HIDDEN ACRES RD                                                                          METROPOLIS         IL    62960‐6843
JAMES A PUGH                                      548 PHILLIPS DR S W                                                                          WARREN             OH    44485‐3363
JAMES A PURDY                                     PO BOX 21657                                                                                 WACO               TX    76702‐1657
JAMES A PYTLEWSKI                                 13702 W IRONWOOD CIRCLE                                                                      HOMER GLEN         IL    60491
JAMES A QUEEN                                     1426 CRESTBROOK LN                                                                           FLINT              MI    48507‐2322
JAMES A QUINN                                     32 W ELIZABETH ST                                                                            TARRYTOWN          NY    10591‐3914
JAMES A RAHIM & LINDA RAHIM JT TEN                4841 FOX HILL DR                                                                             STERLING HEIGHTS   MI    48310‐3377

JAMES A RAHMBERG                                  385 CAMPBELL CT                                                                              TROY               MO    63379‐1804
JAMES A RAINEY & MRS DOROTHIANN K RAINEY JT TEN   PO BOX 17965                                                                                 MILWAUKEE          WI    53217‐0965

JAMES A RAISKIN                                   300 NATUCKET                                                                                 BLOOMFIELD HILLS   MI    48304‐3347

JAMES A RAPALJE & VIRGINIA J RAPALJE JT TEN       51 LOPES AVE                                                                                 BURLINGTON         VT    05401‐2534
JAMES A RAYFORD JR                                70 BIRCKHEAD PLACE                                                                           TOLEDO             OH    43608‐2321
JAMES A RAYMOND                                   2118 BARRON PL                                                                               MOBILE             AL    36605‐3310
JAMES A REAUME                                    3752 S BERN RD                                                                               BAY CITY           MI    48706‐9235
JAMES A REILLY                                    2304 WEST BLVD                                                                               HOLT               MI    48842‐1016
JAMES A REMBERT                                   691 SILVER GLADE DR SE                                                                       GRAND RAPIDS       MI    49548‐0873
JAMES A REMINGTON TR JAMES A REMINGTON REV        3713 BARRINGTON BRIDGE PL                                                                    RICHMOND           VA    23233‐1721
TRUST UA 12/05/92
JAMES A RHODES                                    12441 CR 665                                                                                 BLOOMINGDALE       MI    49026‐9619
JAMES A RHOTON                                    1325 CORDOVA RD                                                                              WILLIAMSTOWN       KY    41097‐4670
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JAMES A RICHARDSON                             6618 MELROSE LANE                                                                                      SHAWNEE          KS    66203‐3937
JAMES A RICHMOND                               309 AMY DR                                                                                             ABINGDON         MD    21009‐1507
JAMES A RICKETTS JR                            2146 S M‐18                                                                                            GLADWIN          MI    48624‐9481
JAMES A RIEGEL                                 3737 LEGATION ST                        APT 211                                                        WASHINGTON       DC    20015‐1759
JAMES A RIEGER & HELEN E RIEGER JT TEN         1 MCGWIRE RD                            APT 215                                                        LADERA RANCH     CA    92694‐0337
JAMES A ROBERTS                                268 LARCH LANE                                                                                         LEXINGTON        KY    40511‐2004
JAMES A ROBERTS                                5968 OBERLIES WAY                                                                                      PLAINFIELD       IN    46168‐7322
JAMES A ROBERTSON JR                           PO BOX 747                                                                                             HUDSON           CO    80642‐0747
JAMES A ROBINSON 3RD                           4 PEWTER DR                                                                                            LITITZ           PA    17543‐9470
JAMES A ROBISON & N RUTH ROBISON JT TEN        2113 KARL ANN DRIVE                                                                                    SANDUSKY         OH    44870‐7706
JAMES A ROEBUCK                                173 S EAST ST                                                                                          WALKERVILLE      MI    49459‐8510
JAMES A ROGAN                                  PO BOX 153                                                                                             ROMEO            MI    48065‐0153
JAMES A ROSATI                                 3188 NORTH SHORE DR                                                                                    WAYZATA          MN    55391‐9257
JAMES A ROSE & DOROTHY L ROSE JT TEN           19936 COUNTRY CLUB                                                                                     HARPER WOODS     MI    48225‐1622
JAMES A ROSS                                   KYLEPARK‐INVERUGIE                      BY PETERHEAD         ABERDEENSHIRE     AB4 7DS GREAT BRITAIN
JAMES A ROTH                                   2724 VIA LA SELVA                                                                                      PALOS VERDES     CA    90274‐1022
                                                                                                                                                      ESTAT
JAMES A ROVITO & JULIA ROVITO JT TEN           6191 JAMEWTOWN DRIVE                                                                                   PARMA            OH    44134‐4035
JAMES A ROWINS CUST SUSAN E ROWINS UGMA CA     102 ST PAULS DR                                                                                        VENTURA          CA    93003‐3008

JAMES A RULEY                                  6730 WHEELING PIKE                                                                                     JONESBORO        IN    46938‐9703
JAMES A RUMPF                                  PO BOX 711                                                                                             BIG RAPIDS       MI    49307‐0711
JAMES A RUPPE                                  PO BOX 231                                                                                             CALUMET          MI    49913‐0231
JAMES A RUSSELL JR                             BOX 25                                                                                                 JONESTOWN        MS    38639‐0025
JAMES A SAIZ & MARY A SAIZ JT TEN              9950 OAKHURST RD                                                                                       HOLLY            MI    48442‐8534
JAMES A SANTOMAURO                             21 CULPEPPER RD                                                                                        BUFFALO          NY    14221‐3643
JAMES A SATTLER & LINDA A SATTLER TEN ENT      8109 COTTAGE DRIVE                                                                                     UNIONVILLE       MI    48767‐9764
JAMES A SAVAGE                                 5492 NASHVILLE HWY                                                                                     CHAPEL HILL      TN    37034‐2069
JAMES A SAWYER                                 3170 P O BOX 117                                                                                       KEEGO HARBOR     MI    48320‐0117
JAMES A SCHAD & JOYCE M SCHAD JT TEN           7024 W LAKE ST                                                                                         LAKE CITY        MI    49651‐8795
JAMES A SCHEFFLER                              5328 WILSON‐BURT RD                                                                                    BURT             NY    14028‐9732
JAMES A SCHRECENGOST                           162 MARKET ST                                                                                          CORTLAND         OH    44410
JAMES A SCHWARTZE                              302 LAFAYETTE ST                                                                                       GLASGOW          MO    65254‐1160
JAMES A SCOTT                                  2715 KENMORE RD                                                                                        BERKLEY          MI    48072‐1585
JAMES A SENA                                   11 EMPRESS COURT                                                                                       FREEHOLD         NJ    07728‐4303
JAMES A SHANDRICK                              7510 E TRADER'S TRAIL                                                                                  PRESCOTT VLY     AZ    86314
JAMES A SHANDRICK TR UNDER WILL OF SYLVIA      7510 EAST TRADERS TRL                                                                                  PRESCOTT VLY     AZ    86314
SHANDRICK
JAMES A SHANK                                  126 OAKDALE RD                                                                                         NO VERSAILLES    PA    15137‐1903
JAMES A SHANNON & MARY LOUISE SHANNON JT TEN   66 HARMONY HALL RD                                                                                     MIDDLBURG        FL    32068‐6631

JAMES A SHAUGHNESSY & NANCY B SHAUGHNESSY JT   6735 ALDEN DRIVE                                                                                       WEST BLOOMFIELD MI     48324‐2011
TEN
JAMES A SHAW                                   HARBOR VIEW DRIVE                                                                                      WESTERVILLE      OH    43081
JAMES A SHELP                                  392 SOUTHVIEW                                                                                          ARCADE           NY    14009‐9513
JAMES A SHEPHERD                               8762 E LARIAT LANE                                                                                     SCOTTSDALE       AZ    85255‐1457
JAMES A SICKLER JR                             46 PLYMOUTH RD                                                                                         MALDEN           MA    02148‐2934
JAMES A SIMMONS                                2560 CHARLES AVE                                                                                       BURLESON         TX    76028‐2250
JAMES A SIMONDS                                217 PINEHILL                                                                                           GALESBURG        MI    49053‐9661
JAMES A SIMPSON                                20 W BONOMO DR                                                                                         FAIRBORN         OH    45324‐3408
JAMES A SIMS                                   344 COUNTY ROAD 49                                                                                     BANKSTON         AL    35542‐2100
JAMES A SINAY                                  907 FOXTAIL DR                                                                                         GRAIN VALLEY     MO    64029‐9111
JAMES A SISCO                                  4514 KINGVIEW AVE                                                                                      DAYTON           OH    45420‐3340
JAMES A SMITH                                  700 HOLIDAY DRIVE                                                                                      WILLARD          OH    44890‐9755
JAMES A SMITH                                  3075 WOLVERINE DR                                                                                      ANN ARBOR        MI    48108‐2041
JAMES A SMITH                                  1614 S HILL ST                                                                                         ANDERSON         IN    46012‐2426
JAMES A SMITH                                  91 LOUELLEN DR                                                                                         MANCHESTER       TN    37355‐3216
JAMES A SMITH                                  PO BOX 9042                                                                                            N MYRTLE BEACH   SC    29582‐9042
JAMES A SMITH                                  202 SPLIT ROCK TERRACE                                                                                 OVILLA           TX    75154‐8753
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JAMES A SMITH                                    1985 FOLSOM SE RD                                                                              RYDAL             GA    30171‐1755
JAMES A SMITH                                    3620 PAYTON AVE                                                                                INDIANAPOLIS      IN    46226‐5850
JAMES A SMOLINSKI                                506 LEETONIA                                                                                   TROY              MI    48098‐5516
JAMES A SNYDER                                   2322 MOYER RD                                                                                  CONNELLSVILLE     PA    15425‐9336
JAMES A SNYDER                                   2001 DAY DRIVE                                                                                 HAMPTONVILLE      NC    27020‐8173
JAMES A SODEN                                    4 LANTERN LN                                                                                   COLUMBUS          NJ    08022‐1111
JAMES A SPEIGHT                                  152 RIPLEY PLACE                                                                               ELIZABETH         NJ    07206‐2133
JAMES A SPICE                                    1043 S EVERGREEN AVE                                                                           KANKAKEE          IL    60901‐5350
JAMES A SPROWELL                                 4201 WESTSHORE WAY                                                                             FORT COLLINS      CO    80525‐3215
JAMES A STACY & MRS SARA ANNE STACY TEN ENT      4314 SELLMAN RD                                                                                BELTSVILLE        MD    20705‐2542
JAMES A STAHL                                    22523 ST RT 613 WEST                                                                           OAKWOOD           OH    45873‐9522
JAMES A STANLEY & STEPHANIE S STANLEY JT TEN     77‐6478 MARLIN RD                                                                              KAILUA KONA       HI    96740‐9760
JAMES A STANSBERRY                               10759 W CINNEBAR AVE                                                                           SUN CITY          AZ    85351‐4610
JAMES A STAUTBERG                                4400 UNDERWOOD ROAD                                                                            BALTIMORE         MD    21218‐1150
JAMES A STEBBINS                                 2162 WINDING WAY                                                                               DAVISON           MI    48423‐2025
JAMES A STELTER                                  7760 THUNDER MOUNTAIN DR                                                                       BOISE             ID    83709‐5472
JAMES A STELTER & DONNA M STELTER JT TEN         7760 THUNDER MOUNTAIN DR                                                                       BOISE             ID    83709‐5472
JAMES A STEPHENSON                               2002 HILLTOP                                                                                   BELTON            TX    76513‐2066
JAMES A STEPHENSON                               3192 JIM NED RD                                                                                MONTAGUE          TX    76251‐1090
JAMES A STEVENS                                  80 KEYS DR                                                                                     BRASELTON         GA    30517‐3256
JAMES A STEVENS JR                               1055 POCKET RD                                                                                 BRASELTON         GA    30517‐2109
JAMES A STEVENSON                                1531 HOWARD ST                                                                                 SAGINAW           MI    48601‐2843
JAMES A STEWARD                                  636 N MAIN ST                                                                                  OMER              MI    48749‐9755
JAMES A STEWART                                  2315 S TERM ST                                                                                 BURTON            MI    48519‐1032
JAMES A STEWART & NANCY L STEWART JT TEN         311 N SAGINAW ST BOX 67                                                                        MONTROSE          MI    48457‐9744
JAMES A STIEBER & HENRIETTA A STIEBER JT TEN     907 9TH ST                                                                                     MOSINEE           WI    54455‐1324
JAMES A STRIED                                   1224 SUSSEX LN                                                                                 LIBERTYVILLE      IL    60048‐1249
JAMES A STRIPE & ELIZABETH M STRIPE TEN ENT      128 N LIBERTY ST                                                                               ORWIGSBURG        PA    17961‐1804
JAMES A STURDIVANT                               3170 S CORD 475 EAST                                                                           LOGANSPORT        IN    46947
JAMES A SUTTON                                   705 ELKTON ST                                                                                  ATHENS            AL    35611‐2009
JAMES A SZLACHTA                                 48238 REMER AVE                                                                                SHELBY TWP        MI    48317‐3532
JAMES A TAPPEN                                   12903 W ALLEGRO DR                                                                             SUN CITY WEST     AZ    85375‐3213
JAMES A TAPPEN CUST MICHAEL A TAPPEN UGMA MI     5420 CURTIS RD                                                                                 ATTICA            MI    48412‐9265

JAMES A TATUM                                    1321 RIVERENE WAY                                                                              ANDERSON          IN    46012‐9712
JAMES A TAYLOR                                   2016 S SHIPLEY ST                                                                              MUNCIE            IN    47302‐4468
JAMES A TAYLOR                                   28309 FRANKLIN RD                     APT C216                                                 SOUTHFIELD        MI    48034‐5559
JAMES A TAYLOR JR                                11845 W BELLEVIEW DR                                                                           LITTLETON         CO    80127‐6231
JAMES A TENNYSON JR & JUNE A TENNYSON JT TEN     1724N BECKMAN RD                                                                               MANISTIQUE        MI    49854

JAMES A TEUNAS & YVONNE L NANASI JT TEN          41 BRIAR ROAD                                                                                  BEDFORD           NH    03110‐4912
JAMES A THANOGLOUS                               PO BOX 23058                                                                                   CLEVELAND         OH    44123‐0058
JAMES A THEURER                                  7180 CROCKER RD                                                                                VALLEY CITY       OH    44280‐9548
JAMES A THOMAS                                   208 HORIZON RD                                                                                 WHITE LAKE        MI    48386‐2432
JAMES A THORPE                                   790 BRAVENO DR                                                                                 VENICE            FL    34292
JAMES A THROCKMORTON                             6214 MCCLEAN BLVD                                                                              BALTIMORE         MD    21214‐1539
JAMES A TICHENOR & CORINE C TICHENOR JT TEN      1047 WADENA RD                                                                                 ST JOSEPH         MI    49085‐3526
JAMES A TIDD                                     5861 ROGERS RD                                                                                 JAMESTOWN         OH    45335‐8713
JAMES A TIEDE                                    1209 GEORGETOWN PK                                                                             FENTON            MI    48430‐3271
JAMES A TIMM                                     860 EDISON                                                                                     SAGINAW           MI    48604‐1119
JAMES A TITUS                                    PO BOX 2646                                                                                    SOUTHFIELD        MI    48037‐2646
JAMES A TKACH                                    161 COUNTRY GREEN DR                                                                           YOUNGSTOWN        OH    44515‐2234
JAMES A TONNEBERGER & CHADWICK J TONNEBERGER     6203 10TH AVE W                                                                                BRADENTON         FL    34209‐4112
JT TEN
JAMES A TOTH & DORIS E TOTH JT TEN               3807 E SPRAGUE ROAD                                                                            SEVEN HILLS        OH   44131‐6216
JAMES A TRELLA                                   28413 RUEHLE                                                                                   SAINT CLAIR SHORES MI   48081‐1577

JAMES A TRIESTE                                  61 YOLANDA DR                                                                                  ROCHESTER         NY    14624‐3923
JAMES A TUBIOLO                                  7 PARK AVE                                                                                     OAKFIELD          NY    14125‐1025
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JAMES A TUBRE & BETTY JOYCE A TUBRE TEN COM        103 BLUE RIDGE DR                                                                                CARENCRO        LA    70520‐5372
JAMES A URBANSKI & BERNICE J URBANSKI JT TEN       10247 ROUTE 120                                                                                  EMPORIUM        PA    15834‐2839
JAMES A VAILLANCOURT                               1333 N SAND LK RD                                                                                HILLSDALE       MI    49242‐8408
JAMES A VAN DAHM                                   627 LYNN                                                                                         ROMEOVILLE      IL    60446‐1237
JAMES A VAN HORN SR                                310 PARSHALL ST                                                                                  OAKLEY          MI    48649‐8782
JAMES A VANOVER                                    306 BOONE DR                                                                                     HARROGATE       TN    37752‐6929
JAMES A VAUGHN                                     1965 EDISON                                                                                      DETROIT         MI    48206‐2040
JAMES A VENTRESS III EX UW FRANCES L CATCHINGS     PO BOX 23                                                                                        WOODVILLE       MS    39669‐0023

JAMES A VITHOUS                                    2800 FRANKLIN DR                                                                                 MEDINA          OH    44256‐9079
JAMES A VLACH & JOSEPHINE B VLACH JT TEN           844 E 218TH ST                                                                                   EUCLID          OH    44119‐1871
JAMES A VLAHAKIS                                   4900 MONTROSE AVE                       STE 100                                                  OKEMOS          MI    48864‐1665
JAMES A WAGAR                                      107 NEWCASTLE ST                                                                                 VICTORIA        TX    77905‐5425
JAMES A WAGNER                                     2994 CADILLAC DRIVE                                                                              BAY CITY        MI    48706‐3102
JAMES A WAIGLE                                     BOX 162                                                                                          GUIN            AL    35563‐0162
JAMES A WALDON                                     6826 ORANGE LANE                                                                                 FLINT           MI    48505‐1943
JAMES A WALKER                                     1285 NEILSON ROAD                                                                                STEENS          MS    39766‐9677
JAMES A WALKER & PAMELA D WALKER JT TEN            10505 SOMERSET                                                                                   DETROIT         MI    48224‐1731
JAMES A WALPOLE                                    22745 RIVER CHASE LANE                                                                           DEFIANCE        OH    43512‐6871
JAMES A WALTON                                     10372 FOREST BROOK LN                   APT C                                                    SAINT LOUIS     MO    63146‐5836
JAMES A WARE                                       2131 GRANGE RD                                                                                   TRENTON         MI    48183‐1771
JAMES A WARNER                                     14300 HOBART                                                                                     WARREN          MI    48089‐5014
JAMES A WAWRZYNIAK & PATRICIA JO WAWRZYNIAK JT     727 GETMAN RD                                                                                    ALDEN           NY    14004‐9215
TEN
JAMES A WEAKLAND JR                                1460 WELCH RD                                                                                    WALLED LAKE     MI    48390‐2871
JAMES A WELLER                                     85 KIRK DR                                                                                       ROCHESTER       NY    14610‐3523
JAMES A WELLS                                      PO BOX 425                                                                                       GALLIPOLIS      OH    45631‐0425
JAMES A WELLS                                      3209 KIRKWOOD LANE                                                                               FLINT           MI    48504‐3819
JAMES A WERT                                       53 KENNEDY DR                                                                                    FAIRLESS HILL   PA    19030‐2008
JAMES A WEST                                       1191 LONG POND ROAD                                                                              ROCHESTER       NY    14626‐1161
JAMES A WHITE & FORDA R WHITE JT TEN               27 DIRE DR                                                                                       HICKORY         PA    15340‐1126
JAMES A WHITE JR                                   20255 HARNED                                                                                     DETROIT         MI    48234‐1570
JAMES A WHITE JR & NANCY WHITE JT TEN              1008 RIVIERA CT                                                                                  BEAUMONT        CA    92223‐8535
JAMES A WHITE TR REVOCABLE TRUST 12/02/88 U‐A      87 NICHOLAS COURT                                                                                ORMOND BEACH    FL    32176‐5496
JAMES A WHITE
JAMES A WIESE & DOLORES WIESE JT TEN               187 CAVANAUGH LAKE RD                                                                            CHELSEA         MI    48118‐9756
JAMES A WILCOX                                     1124 SHADY ELM CT                                                                                BEDFORD         TX    76021‐4419
JAMES A WILLARD                                    1014 TROJAN RUN DR                                                                               SODDY DAISY     TN    37379‐5370
JAMES A WILLIAMS                                   841 STATON PL EAST DRIVE                                                                         INDIANAPOLIS    IN    46234‐2165
JAMES A WILLIAMS                                   6839 TROY                                                                                        TAYLOR          MI    48180‐1632
JAMES A WILLIAMS & DOROTHY F WILLIAMS JT TEN       PO BOX 155                                                                                       WRIGHT CITY     MO    63390‐0155

JAMES A WILLIAMS JR                                29 PROSPECT AV                                                                                   BATAVIA         NY    14020‐1916
JAMES A WILLIAMSON                                 4336 JUANITA AVE                                                                                 AYDEN           NC    28513‐3038
JAMES A WILLIAMSON JR                              1264 MONROE AVE                                                                                  READING         PA    19610‐2432
JAMES A WILLIFORD                                  RR3 78 SINCLAIR ST                                                                               NEW CARLISLE    OH    45344‐9803
JAMES A WILSON                                     2851 BLAKE RD                                                                                    WADSWORTH       OH    44281‐8323
JAMES A WILSON                                     2481 CLEAVER RD                                                                                  CARO            MI    48723‐9746
JAMES A WILSON                                     6992 64TH AVE                                                                                    HUDSONVILLE     MI    49426‐9544
JAMES A WILSON III & ELIZABETH E WILSON JT TEN     716 N 7TH ST                                                                                     MANITOWOC       WI    54220‐3907

JAMES A WINK                                       16843 E JEFFERSON RD                                                                             MORLEY          MI    49336
JAMES A WITUCKI                                    135 LEMYRA ST                                                                                    WYOMING         MI    49548‐1243
JAMES A WIXOM                                      319 ELK RIDGE ROAD                                                                               BAYFIELD        CO    81122‐9301
JAMES A WOLFE                                      HC‐78 BOX 105A                                                                                   AUGUSTA         WV    26704‐9619
JAMES A WOOD                                       116 KIM LANE                                                                                     ROCHESTER       NY    14626‐1140
JAMES A WOODS                                      5254 W HARRISON                                                                                  CHICAGO         IL    60644‐5103
JAMES A WOODWORTH SR                               6840 ISLAND HWY                                                                                  EATON RAPIDS    MI    48827‐9352
JAMES A WOOFTER                                    1472 LAKEWOOD AVE                                                                                LAKEWOOD        OH    44107‐4925
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Name                                             Address1                              Address2             Address3          Address4          City              State Zip

JAMES A WOOLEY JR                                19953 MONICA                                                                                   DETROIT           MI    48221‐1209
JAMES A YETTER                                   525 MELANIE DR                                                                                 GASSVILLE         AR    72635‐8509
JAMES A YOUNG                                    160 LANE 280C HAMILTON LK                                                                      HAMILTON          IN    46742‐9369
JAMES A YOUNG                                    2820 TENNYSON                                                                                  HAZEL CREST       IL    60429‐1758
JAMES A ZALE & MAUREEN T ZALE JT TEN             481 MELINDA CIR                                                                                WHITE LAKE        MI    48386‐3463
JAMES A ZAMPELLA                                 426 N 17TH ST                                                                                  SEBRING           OH    44672‐1210
JAMES A ZIELINSKI                                73 JUDITH DR                                                                                   CHEEKTOWAGA       NY    14227‐3427
JAMES A ZUBAL                                    7254 MAYBURN                                                                                   DEARBORN HGTS     MI    48127‐1762
JAMES ADAM ZIPURSKY                              1408 N 127TH CIR                                                                               OMAHA             NE    68154‐3608
JAMES ADAMS                                      8015 ESCALON AVE                                                                               PASADENA          MD    21122
JAMES ADAMS CUST JAMES W ADAMS JR UGMA IL        4901 LAWN AVE                                                                                  WESTERN SPRINGS   IL    60558‐1732

JAMES ADDISON ADAMS SR & MARY AGNES ADAMS JT 715 S STEELE ST                                                                                    DENVER            CO    80209‐4839
TEN
JAMES ADOLPH COE                               530 ROCKHURST RD                                                                                 BOLINGBROOK       IL    60440‐2509
JAMES AG DIX                                   5869 TROY VILLA BLVD VILLA BL           APT BLVD                                                 DAYTON            OH    45424‐2649
JAMES AHNEMILLER & BARBARA A AHNEMILLER JT TEN 2459 HICKMAN CIR                                                                                 CLEARWATER        FL    33761‐2990

JAMES ALAN DYKZEUL                               PO BOX 264                                                                                     VERSAILLES        MO    65084‐0264
JAMES ALAN ROBBINS                               4221 JUDY AVE                                                                                  NEW CASTLE        IN    47362‐1462
JAMES ALAN ROBERTS                               2775 CAMDEN RD                                                                                 CLEARWATER        FL    33759‐1013
JAMES ALAN STUART                                112 ELWORTHY AVE                      LONDON ON                              N6C 2M4 CANADA
JAMES ALBERINO & TUULA ALBERINO TEN COM          6040 BOULEVARD EAST APT 33G                                                                    WEST NEW YORK     NJ    07093‐3871
JAMES ALBERT HANSON JR & BETTE JANE HANSON JT    9701 E 16TH ST                                                                                 INDIANAPOLIS      IN    46229‐2010
TEN
JAMES ALBERT HETHERINGTON                        2604 COOK ST                                                                                   FLINT             MI    48506‐3463
JAMES ALBERT LARGENT & ROBERT A LARGENT JT TEN   40 RIDGEWAY DR                                                                                 MECHANICSBURG     PA    17050‐7974

JAMES ALEMOND JR                                 12820 CRACKERNECK RD                                                                           TRENTON           IL    62293‐3200
JAMES ALEXANDER                                  12865 LONGACRE                                                                                 DETROIT           MI    48227‐1224
JAMES ALEXANDER & LILLY J ALEXANDER JT TEN       5533 WOODSIDE CIRCLE                                                                           MONTGOMERY        AL    36117‐2616
JAMES ALEXANDER CHARCHAN & ANNETTE MARIE         1854 GROVE STREET ROAD                                                                         STANDISH          MI    48658
CHARCHAN JT TEN
JAMES ALEXANDER III                              3770 SNODGRASS RD                                                                              MANSFIELD        OH     44903‐8930
JAMES ALEXANDER LINDSAY                          S 1702 ASH ST                                                                                  SPOKANE          WA     99203‐1101
JAMES ALEXANDER YATES                            1025 VINE ST                                                                                   DAYTONA BEACH    FL     32117‐4149
JAMES ALFIERI & JUDITH ALFIERI JT TEN            RD 8 BOX 8830                                                                                  EAST STROUDSBURG PA     18302‐9656

JAMES ALFORD JR                                  7917 S CRANDON                                                                                 CHICAGO           IL    60617‐1147
JAMES ALFRED MOORE U/GDNSHP OF BETTY JANE        5405 HERON BAY                                                                                 LONG BEACH        CA    90803‐4821
MOORE
JAMES ALLAN EVANS JR                             1528 LAKEWAY PLACE                                                                             BELLINGHAM        WA    98226‐5133
JAMES ALLAN LEE & LISA LOUISE LEE JT TEN         PO BOX 2580                                                                                    WESTERVILLE       OH    43086‐2580
JAMES ALLAN MAHLER & JANIS ANN MAHLER JT TEN     3 FOXHUNTER FLAT                                                                               ORMOND BEACH      FL    32174‐2435

JAMES ALLEN ACREE                                17236 MC CARRON ROAD                                                                           LOCKPORT          IL    60441‐8251
JAMES ALLEN DAVIES                               102 PECAN GROVE                       APT 401                                                  HOUSTON           TX    77077‐5299
JAMES ALLEN IKACH                                30092 BALMORAL                                                                                 GARDEN CITY       MI    48135‐2061
JAMES ALLEN JONES                                PO BOX 2097                                                                                    DETROIT           MI    48202‐0097
JAMES ALLEN JORDAN                               288 CODRINGTON DR                                                                              LAUDERDALE BY‐    FL    33308
                                                                                                                                                THE‐SEA
JAMES ALLEN LANE                                 712 MANDARIN LN                                                                                CHESAPEAKE        VA    23323‐3243
JAMES ALLEN LANE & DEBRA W LANE JT TEN           712 MANDARIN LN                                                                                CHESAPEAKE        VA    23323‐3243
JAMES ALLEN LANE CUST MILLIE ELIZABETH LANE UTMA 712 MANDARIN LN                                                                                CHESAPEAKE        VA    23323‐3243
VA
JAMES ALLEN MORGAN                               260 MURLAGAN AVE APT B                                                                         MOUNTAIN VIEW     CA    94043
JAMES ALLEN SPRINGER                             363 DURST DRIVE N W                                                                            WARREN            OH    44483‐1105
JAMES ALLEN WALKER & CAROL JEAN WALKER JT TEN    647 E ST SE                                                                                    WASHINGTON        DC    20003‐2716
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JAMES ALLSUP & VIVIAN ALLSUP JT TEN           5764 BOWCROFT ST                                                                              LA               CA    90016‐5017
JAMES ALOYSIUS MC NAMARA                      1701 EDDY DR                                                                                  NORTH            NY    14120‐3085
                                                                                                                                            TONAWANDA
JAMES ALVIE JACKSON                           2109 22ND AVE NORTH                                                                           TEXAS CITY       TX    77590‐4703
JAMES AMANDOLA                                2236 S 19TH ST                                                                                PHILA            PA    19145‐3608
JAMES AMBROSIO                                BOX 124                                                                                       NORTH BRANFORD   CT    06471‐0124

JAMES ANDERS                                  5543 VIA MARINA                                                                               WILLIAMSVILLE    NY    14221‐2841
JAMES ANDREW ITTEL                            4132 HEMINGWAY DR                                                                             VENICE           FL    34293‐5248
JAMES ANDREW LANGAN                           306 WOODLEY RD                                                                                WINNETKA         IL    60093‐3741
JAMES ANDREW SPURGEON                         5722 PANHANDLE RD                                                                             HILLSBORO        OH    45133‐9445
JAMES ANDREW WORTH                            126 FENNERTON RD                                                                              PAOLI            PA    19301‐1107
JAMES ANGORA                                  5255 ELGIN CIR                                                                                LAS VEGAS        NV    89122‐7139
JAMES ANKER                                   82 E 650 N                                                                                    WEST LAFAYETTE   IN    47906‐9731
JAMES ANTHONY DENI                            817 COVENTRY DR                                                                               WEBSTER          NY    14580‐8734
JAMES ANTHONY SLOBOJAN & SHALIMAR VILLERY     5609 PEABODY ST                                                                               LONG BEACH       CA    90808‐2612
SLOBOJAN JT TEN
JAMES ANTHONY SPRAUER                         6992 CROSSBROOK DR                                                                            DAYTON           OH    45459‐7505
JAMES ANTHONY WILLIAMS                        28 MILDRED TERRACE                                                                            CLARK            NJ    07066‐2910
JAMES ARCHER                                  5300 ONION RD                                                                                 PYLESVILLE       MD    21132‐1021
JAMES ARCHIELLO JR                            198 MAST RD                                                                                   BRICK            NJ    08723‐6721
JAMES ARMSTRONG                               113 E JEFFERSON ST                                                                            OTTAWA           IL    61350‐5003
JAMES ARMSTRONG                               147 CLOVERFIELD WAY                                                                           E FALMOUTH       MA    02536‐4123
JAMES ARMSTRONG                               P O BOX 159                                                                                   CALHOUN CITY     MS    38916
JAMES ARMSTRONG & WENDY ARMSTRONG JT TEN      PSC 7 BOX 388                                                                                 APO              AE    09104

JAMES ARTHUR DILTZ                            312 TIMBERHILL CT                                                                             KNOXVILLE        TN    37934‐1719
JAMES ARTHUR RUTHERFORD                       1856 HIGHLAND PKWY                                                                            ST PAUL          MN    55116‐1327
JAMES ARTHUR SMITH                            4384 S RACCOON RD                                                                             CANFIELD         OH    44406‐9362
JAMES ARTHUR STAUTBERG                        4400 UNDERWOOD RD                                                                             BALTIMORE        MD    21218‐1150
JAMES ARTHUR VAN LENTEN                       283 BROWNING ROAD                                                                             LANCASTER        PA    17602‐4052
JAMES ASPERGER                                405 SOUTH SIERRA BONITA AVE                                                                   PASADENA         CA    91106‐3534
JAMES ATWATER                                 9687 LAKE RD                                                                                  BARKER           NY    14012‐9636
JAMES ATWATER ADAMS                           305 W MAIN                                                                                    THOMASTON        GA    30286‐3502
JAMES AUBREY BREWER                           1528 BUFFALO LANE                                                                             WEST ORANGE      TX    77630‐6004
JAMES AUGUST DECK & LOIS ANN DECK JT TEN      11596 SOMERSET AVENUE                                                                         PRINCESS ANNE    MD    21853‐1138
JAMES AURTHUR HILTON                          9239 ROSEBUD CIR                                                                              PORT CHARLOTTE   FL    33981‐3208
JAMES AUSTIN                                  8340 CENTRAL                                                                                  DETROIT          MI    48204‐3313
JAMES AUTHUR SELOVER                          44 AUGUSTA AVE                                                                                BUFFALO          NY    14226‐2203
JAMES B ACUFF JR                              5049 HARROW RD                                                                                JACKSONVILLE     FL    32217‐4516
JAMES B ADAMS                                 4631 DEER CREEK CT                   APT 6                                                    YOUNGSTOWN       OH    44515‐5446
JAMES B ALEXANDER JR                          437 LOCKMOOR CT                                                                               GRAND BLANC      MI    48439‐1550
JAMES B ALLAN                                 24 ANTLER RD                                                                                  BIG FLATS        NY    14814‐7950
JAMES B ALTEMUS                               48 MORSE AVE                                                                                  ASHLAND          OR    97520‐2170
JAMES B ALTMAN                                6429 CORNWALL CIR                                                                             INDIANAPOLIS     IN    46256‐2920
JAMES B ALVORD JR                             3119 PASEO CULZADA                                                                            ESCONDIDO        CA    92029‐7428
JAMES B AMBROSE                               11474 W DITCH RD                                                                              OAKLEY           MI    48649‐9713
JAMES B ANDERSON                              BOX 3897                                                                                      MODESTO          CA    95352
JAMES B ARNOLD                                7525 EMERYWOOD LA                                                                             FORT WORTH       TX    76137‐1377
JAMES B AUGUST                                5509 SW GARDEN HOME RD                                                                        PORTLAND         OR    97219‐3250
JAMES B AULETTE                               2469 MONTE CARLO                                                                              HOWELL           MI    48843‐8604
JAMES B AYRES                                 PO BOX 405                                                                                    OSCODA           MI    48750‐0405
JAMES B BAILEY & DIANE M BAILEY JT TEN        6340 XYLON AVE N                                                                              BROOKLYN PARK    MN    55428‐2004
JAMES B BARMOY                                13109 WOODRIDGE LN SW                                                                         CUMBERLAND       MD    21502‐5963
JAMES B BARNES                                5745 LOUNSBURY ROAD                                                                           WILLIAMSTON      MI    48895‐9485
JAMES B BERTOGLIO                             850 WESTBOURNE LANE                                                                           BUFFALO GROVE    IL    60089‐1638
JAMES B BERTRANDO & FLORENCE H BERTRANDO JT   1570 BALTIMORE PIKE                  PO BOX 385                                               TOUGHKENAMON     PA    19374
TEN
JAMES B BETTS                                 3081 VINEYARD LN                                                                              FLUSHING         MI    48433‐2435
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JAMES B BLACKBURN JR                            801 KINGS MILL RD                                                                               CHAPEL HILL        NC    27517‐4920
JAMES B BOGAR & MRS MARGARET S BOGAR JT TEN     5225 WILSON LANE #1127                                                                          MECHANICSBURG      PA    17055‐6672

JAMES B BOLIN                                   5227 GRAND AVE                                                                                  WESTERN SPRGS   IL       60558
JAMES B BOUCHER                                 2270 CHELTENHAM                                                                                 COLUMBUS        OH       43220‐4306
JAMES B BRAND                                   48 SINGWORTH STREET                                                                             OYSTER BAY      NY       11771‐3704
JAMES B BRAY                                    3474 EVERGREEN LN                      APT B                                                    SAINT LOUIS     MO       63125‐4828
JAMES B BROWN                                   24 WASHINGTON ST                                                                                NORTH KINGSTOWN RI       02852‐5026

JAMES B BRUNING                                 963 LOCUST CT                                                                                   MASON              OH    45040‐1467
JAMES B BRYANT                                  6274 FAIRHAVEN RD                                                                               CLEVELAND          OH    44124‐4109
JAMES B BURNETT                                 4318 E COLDWATER RD                                                                             FLINT              MI    48506‐1054
JAMES B BUROKAS & KATHLEEN E BUROKAS JT TEN     P O BOX 518                            10 IOWA STREET                                           BRANT ROCK         MA    02020

JAMES B CALLENDER                               RR 1 BOX 1778                                                                                   SHELL KNOB         MO    65747‐9719
JAMES B CAMPBELL                                191 HAMPTON CIR                                                                                 JUPITER            FL    33458‐8124
JAMES B CANNON                                  5206 GWYNN OAK AVE                                                                              BALTIMORE          MD    21207‐6807
JAMES B CARDWELL                                PMB 158                                505 E WINDMILL LN #158                                   LAS VEGAS          NV    89123‐1869
JAMES B CARTER                                  70 ABBOTT AVE                                                                                   ELMSFORD           NY    10523‐2104
JAMES B CHANDLER                                3085 TIMBERWOOD LANE                                                                            MONETA             VA    24121
JAMES B CHANDLER & CAROLYN C BAXTER JT TEN      3085 TIMBERWOOD LN                                                                              MONETA             VA    24121‐2628
JAMES B CHRISTMAS JR                            PO BOX 4                                                                                        KEYSTONE HEIGHTS   FL    32656‐0004

JAMES B CLAIBORNE III                          301 PALOMINO PATH                                                                                STATESBORO         GA    30458
JAMES B CLARK JR                               1420 KIPLING DR                                                                                  DAYTON             OH    45406‐4223
JAMES B CLARK JR                               67 CARMEL RD                                                                                     WHEELING           WV    26003‐5942
JAMES B COCCIOLONE                             4252 PLEASANT VLY                                                                                BRIGHTON           MI    48114‐9284
JAMES B COFFEY                                 7545 SCHOOL VIEW WAY                                                                             KNOXVILLE          TN    37938
JAMES B COMBS                                  753 TIMBERWOOD DRIVE                                                                             DAYTON             OH    45430‐1439
JAMES B CONVERY CUST SACHIKO B CONVERY UTMA VA 7006 LEESTONE ST                                                                                 SPRINGFIELD        VA    22151‐3516

JAMES B COOLEY                                  1768 COOLEY DRIVE                                                                               HASTINGS           MI    49058
JAMES B COWAN JR                                4535 PEADEN RD                                                                                  PACE               FL    32571‐2856
JAMES B CUNNINGHAM & JUDITH C CLEARWATER JT     98 GEORGE ST                                                                                    EAST HAVEN         CT    06512‐4726
TEN
JAMES B DALBORA                                 11600 HITCHING POST LANE                                                                        ROCKVILLE          MD    20852‐4404
JAMES B DALTON                                  6401 N MORRISON RD                                                                              MUNCIE             IN    47304‐8830
JAMES B DECKER & MARCIA W DECKER JT TEN         414 W LOCUST ST                                                                                 BOONVILLE          IN    47601‐1526
JAMES B DELP                                    318 W STATE ST                                                                                  PENDLETON          IN    46064‐1038
JAMES B DEVANEY                                 7535 E SPIVA CROSSING                                                                           HALLSVILLE         MO    65255‐9682
JAMES B DIGNAN                                  924 GRENVILLE DR                                                                                TURNERSVILLE       NJ    08012‐1304
JAMES B DONALD                                  416 N ANGUILLA                                                                                  PAWCATUCK          CT    06379‐1248
JAMES B DRIVER CUST BENJAMIN J DRIVER UTMA ME   25 WEST RUNNING BROOK LANE                                                                      ELIOT              ME    03903‐1628

JAMES B DULANEY                                 104 SYCAMORE DRIVE                                                                              PRATTVILLE         AL    36066‐4910
JAMES B FAIN                                    8409 PICKWICK LN #269                                                                           DALLAS             TX    75225‐5323
JAMES B FARLEY                                  40718 PINETREE                                                                                  PLYMOUTH           MI    48170‐4462
JAMES B FERRER & CYNTHIA G FERRER JT TEN        355 1ST ST                             UNIT 1707                                                SAN FRANCISCO      CA    94105‐3046
JAMES B FLEISCHAKER                             2402 INDIANA                                                                                    JOPLIN             MO    64804‐2233
JAMES B FRANCIS & ELINOR J FRANCIS JT TEN       2922 KINGS LAKE BLVD                                                                            NAPLES             FL    34112‐3604
JAMES B FREEMAN                                 175 S MILL                                                                                      PLYMOUTH           MI    48170‐1824
JAMES B FRIDAY                                  PO BOX 660                                                                                      INDIANOLA          PA    15051
JAMES B FROST                                   4998 WALTHER CIRCLE                                                                             KETTERING          OH    45429‐1944
JAMES B GAIER                                   4812 SUNDIAL DR NE                                                                              GRAND RAPIDS       MI    49525‐9460
JAMES B GARNER JR                               6258 KING ARTHUR DR                                                                             SWARTZ CREEK       MI    48473
JAMES B GENOA                                   6041 PINE NEEDLE CT                                                                             CLARKSTON          MI    48346‐2296
JAMES B GERAK                                   9 CREAMER DRIVE                                                                                 SAYREVILLE         NJ    08872‐1955
JAMES B GERAK & BEVERLY F GERAK JT TEN          9 CREAMER DR                                                                                    SAYREVILLE         NJ    08872‐1955
JAMES B GERKIN                                  3940 RIDGE RD                                                                                   ANDERSON           IN    46013‐1120
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JAMES B GILBERT                                   PO BOX 5286                                                                                    SUN CITY WEST     AZ    85376‐5286
JAMES B GILBERT                                   1859 EASTWOOD CT                                                                               SAGINAW           MI    48601‐9789
JAMES B GILBERT & EVELYN R GILBERT JT TEN         PO BOX 5286                                                                                    SUN CITY WEST     AZ    85376‐5286
JAMES B GILBREATH                                 9312 GREENWAY LN                                                                               LENEXA            KS    66215‐3172
JAMES B GLEASON JR                                11803 ALLEGANY COURT                                                                           SMITHSBURG        MD    21783‐2018
JAMES B GOINZ JR TR JAMES B GOINZ MARITAL TRUST   PO BOX 902                                                                                     BEMIDJI           MN    56619‐0902
UA 12/26/98
JAMES B GOLDSMITH                                 3 HERON                                                                                        NEW ORLEANS       LA    70124‐4303
JAMES B GOODWIN                                   1321 99TH AVE                                                                                  OAKLAND           CA    94603‐2521
JAMES B GRANT                                     829 MIDDLE FORK TR                                                                             SUWANEE           GA    30024‐7597
JAMES B GREER                                     265 REGIONAL DRIVE                                                                             PENNSGROVE        NJ    08069‐2217
JAMES B HADDAD CUST JAMES R HADDAD UTMA NJ        74 EAST BROOK DR                                                                               RIVER EDGE        NJ    07661‐1004

JAMES B HALFERTY                                  108 SOUTH MADISON                                                                              LANCASTER         WI    53813‐1761
JAMES B HALL                                      1720 WASHINGTON RD                                                                             ROCHESTER HILLS   MI    48306‐3550
JAMES B HALL                                      2108 NE 78TH ST                                                                                KANSAS CITY       MO    64118‐2024
JAMES B HALL TR JAMES B HALL TRUST UA 03/10/97    16648 EASTLAND                                                                                 ROSEVILLE         MI    48066‐2035

JAMES B HAMILTON                                  2716 WASHINGTON ST                                                                             WILM              DE    19802‐3536
JAMES B HAMILTON JR                               2716 WASHINGTON ST                                                                             WILMINGTON        DE    19802‐3536
JAMES B HARLOW JR                                 PO BOX 787                                                                                     ENFIELD           NH    03748‐0787
JAMES B HARRIS                                    4505 N DOGIE TERRACE                                                                           HERNANDO          FL    34442‐3006
JAMES B HARRISON                                  383 WALL STREET                                                                                IRVINE            KY    40336‐8614
JAMES B HART CUST JOHN J HART UNDER CA UNIF       5059 ALHAMA DR                                                                                 WOODLAND HILLS    CA    91364‐3234
TRANSFERS TO MINIORS ACT
JAMES B HAYES                                     C/O GEORGIA L HAYES                   539 S LAW ST                                             ABERDEEN          MD    21001‐3409
JAMES B HAYES                                     2005 BROWNING RD APT 1                                                                         MADISON           WI    53704
JAMES B HAYES & CATHERINE S HAYES TEN ENT         661 SW 4TH ST                                                                                  BOCA RATON        FL    33486‐4609
JAMES B HELMICK & ROBERT D CRAMER JT TEN          4254 WARNER RD                                                                                 FOWLER            OH    44418‐9704
JAMES B HENRY                                     659 NORTH ST                                                                                   MOULTON           AL    35650‐1225
JAMES B HILL JR                                   3206 W 111TH PL                                                                                INGELWOOD         CA    90303‐2317
JAMES B HOLCOMB                                   8535 PLANK RD                                                                                  MONTVILLE         OH    44064‐9796
JAMES B HUNTER JR                                 944 GRANVILLE ROAD                                                                             CHARLOTTE         NC    28207‐1832
JAMES B JOHNSTON                                  3548 HAMMOND BLVD                                                                              COPLEY            OH    44321‐1925
JAMES B JONES                                     243 W RIVER RD N                                                                               ELYRIA            OH    44035‐5339
JAMES B JONES JR                                  LANE OF THE OAKS 4453                                                                          ORANGE            TX    77630‐7708
JAMES B JORDAN                                    1280 PINEHOLE RD                                                                               LINEVILLE         AL    36266‐5902
JAMES B JORDAN                                    528 N LAKE ST                                                                                  WARSAW            IN    46580‐2653
JAMES B KAISER JR                                 215 MADISON ST UNIT #2                                                                         HOBOKEN           NJ    07030
JAMES B KAMINSKI                                  22524 SANDY LANE                                                                               FAIRVIEW PARK     OH    44126‐2558
JAMES B KEARSE                                    HY 64E 2400                           OLAR ROAD                                                BARNWELL          SC    29812‐0139
JAMES B KEMPLIN                                   5574 HUTCHINSON ROAD                                                                           BATAVIA           OH    45103‐8515
JAMES B KING                                      2123 AIRLINE DRIVE                                                                             CAMDEN            SC    29020‐2507
JAMES B KLUSMEYER                                 7944 LAFFIT DR                                                                                 JACKSONVILLE      FL    32217‐4104
JAMES B KNAPP                                     240 WHIPPOOR WILL LANE                                                                         MANSFIELD         OH    44906
JAMES B KOLHOFF                                   11368 OREGON CIRCLE                                                                            FENTON            MI    48430‐2496
JAMES B KRUEGER                                   1159 BIRCH ROAD                                                                                SAGINAW           MI    48609‐4849
JAMES B LANDIS                                    1330 U S 42S R 1                                                                               ASHLAND           OH    44805
JAMES B LEDGER                                    1622 42ND AVE                                                                                  MISSOULA          MT    59804‐4538
JAMES B LENOIR                                    1648 MASON BLVD                                                                                MARION            IN    46953‐1507
JAMES B LENTZ & SHIRLEY A LENTZ JT TEN            BOX #93                                                                                        MADISON           PA    15663‐0093
JAMES B LEWIS                                     25666 ARCADIA DR                                                                               NOVI              MI    48374‐2441
JAMES B LITTLE JR                                 PO BOX 1130                                                                                    GADSDEN           AL    35999‐2401
JAMES B LITTLE JR                                 ATTN FIRST FEDERAL SAVINGS &          LOAN ASSOC           PO BOX 1130                         GADSDEN           AL    35999‐2401
JAMES B LITTLE JR                                 ATTN FIRST FEDERAL SVGS & LOAN        ASSN                 PO BOX 1130                         GADSDEN           AL    35902‐1130
JAMES B LOVELACE                                  109 GLENWOOD DR                                                                                AMERICUS          GA    31709‐4702
JAMES B MACDONALD                                 7810 COUNTRY DR                                                                                MOBILE            AL    36619
JAMES B MANCINI                                   343 HOLME AVE                                                                                  ELKINS PARK       PA    19027‐1807
JAMES B MARKEL                                    2878 TOWNSHIP ROAD 749                                                                         LOUDONVILLE       OH    44842
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Name                                            Address1                            Address2             Address3          Address4          City            State Zip

JAMES B MARTIN                                  3333 GLEANER                                                                                 FREELAND        MI    48623‐8829
JAMES B MASON                                   8205 US RT 40                                                                                NEW CARLISLE    OH    45344‐9681
JAMES B MATHES                                  10710 INWOOD DR                                                                              HOUSTON         TX    77042‐2331
JAMES B MAY                                     3107 POWHATAN AVE                                                                            PT PLEASANT     NJ    08742‐3564
JAMES B MCATEER JR & PATRICIA MCATEER JT TEN    4832 BEECH ST                                                                                HOPE            MI    48628‐9609
JAMES B MCCAIN & LINDA MCCAIN JT TEN            2855 M 33 SOUTH                                                                              ATLANTA         MI    49709‐8936
JAMES B MCCOOL                                  14165 SHERIDAN RD                                                                            MONTROSE        MI    48457‐9349
JAMES B MCGUIRE                                 2401 WILLARD                                                                                 SAGINAW         MI    48602‐3410
JAMES B MCINTYRE                                13807 SE 14TH ST                                                                             VANCOUVER       WA    98683‐7010
JAMES B MCKIE                                   PO BOX 895                                                                                   SIMPSONVILLE    SC    29681‐0895
JAMES B MELTON                                  3860 W WOODLAND ST                                                                           SPRINGFIELD     MO    65807‐5528
JAMES B MERCER                                  8375 MC CARTY ROAD                                                                           SAGINAW         MI    48603‐9680
JAMES B MEREDITH                                95 CHEROKEE DRIVE                                                                            WEST SENECA     NY    14224‐4720
JAMES B METCALF                                 7320 PECAN CT                                                                                MANSFIELD       TX    76063
JAMES B MILBY JR & BERNARDINE H MILBY JT TEN    3975 PORT AUSTIN ROAD                                                                        CASEVILLE       MI    48725‐9790
JAMES B MILES                                   7504 E MANSLICK RD                                                                           LOUISVILLE      KY    40228‐2442
JAMES B MILKOVICH & JUDITH A JENKINS JT TEN     1361 W WEATHERBY WAY                                                                         CHANDLER        AZ    85286‐7066
JAMES B MITCHELL                                4996 UNIVERSAL ST                                                                            WATERFORD       MI    48329‐3774
JAMES B MITCHELL & LUCINDA L BELLAMY JT TEN     260 EAST 13MILE RD                                                                           MADISON HTS     MI    48071
JAMES B MOECKEL                                 132 TAYLOR WAY DR                                                                            HEBRON          OH    43025‐9482
JAMES B MOORE                                   1230 BEAL ROAD                                                                               MANSFIELD       OH    44903‐9217
JAMES B MORRIS                                  2838 BALTIC RD                                                                               BLACKVILLE      SC    29817‐3622
JAMES B MORRIS III                              4515 67TH ST                                                                                 URBANDALE       IA    50322‐1821
JAMES B MORRISON                                601 ROSEWOOD                                                                                 YPSILANTI       MI    48198‐8012
JAMES B NELSON                                  512 S BEATY ST                                                                               ATHENS          AL    35611‐3502
JAMES B NICKELS                                 35 OBERLIN RD                       WINNIPEG MB                            R3T 3G9 CANADA
JAMES B OBARR                                   PO BOX 4472                                                                                  ARCATA          CA    95518‐4472
JAMES B OLIVER                                  410 FRANCES CIR                                                                              RUSKIN          FL    33570‐6231
JAMES B OWENS                                   721 W OREGON AVENUE                                                                          KLAMATH FALLS   OR    97601‐1942
JAMES B PALMQUIST III                           6 PUBLIC SQ                                                                                  MEDINA          OH    44256‐2203
JAMES B PARKINSON                               411‐A ARDEN AVE                                                                              GLENDALE        CA    91203‐1103
JAMES B PATERNOSTRO                             5601 US HWY 98 N                                                                             LAKELAND        FL    33809‐3106
JAMES B PERRY CUST CAROL ANNE PERRY UGMA MI     300 CLOVERLY                                                                                 GROSSE POINTE   MI    48236‐3306

JAMES B PERRY CUST JAMES HENRY PERRY UGMA MI    300 CLOVERLY                                                                                 GROSSE POINTE   MI    48236‐3306
                                                                                                                                             FARM
JAMES B PITTMAN                                 9156 S THORNTON RD                                                                           CASA GRANDE     AZ    85222‐9706
JAMES B PLAVIN                                  2200 NORTH CENTRAL RD APT 6L                                                                 FORT LEE        NJ    07024‐7535
JAMES B POLLARD                                 4301 FOREST RIDGE BLVD                                                                       DAYTON          OH    45424‐4488
JAMES B RAY                                     4511 DEBRA AVE                                                                               DAYTON          OH    45420‐3307
JAMES B RAYNER                                  878 CASCADE CT                                                                               ENGLEWOOD       FL    34223‐6019
JAMES B REBHAN & BARBARA E HOLLINGER JT TEN     19 CARMEL AVE                                                                                EL CERRITO      CA    94530

JAMES B RIVES JR                                1318 RIATA ROAD                                                                              ABILENE         TX    79602‐5498
JAMES B ROBERTSON                               315 JETHRO LANE                                                                              GRAFTON         VA    23692‐2963
JAMES B ROBINSON JR                             3951 GLENBURNE                                                                               LANSING         MI    48911‐2532
JAMES B ROCK                                    10067 SETTLEMENT HOUSE RD                                                                    DAYTON          OH    45458‐9688
JAMES B RODGERS                                 8176 SASHABAW RIDGE DR                                                                       CLARKSTON       MI    48348‐2942
JAMES B ROSE III                                1960 SAM'S WAY                                                                               BEAUMONT        TX    77706
JAMES B ROSS                                    PO BOX 2048                                                                                  HENDERSON       TX    75653‐2048
JAMES B SANDERS                                 8190 W HILL ROAD                                                                             SWARTZ CREEK    MI    48473‐7615
JAMES B SARIOTIS                                42 HEATH AVE                                                                                 OAKHURST        NJ    07755‐1007
JAMES B SAXTON                                  1995 PLEASANT VALLEY ROAD                                                                    MONROE          GA    30655‐6237
JAMES B SCHOONOVER                              18799 PEACH ROAD                                                                             CULVER          IN    46511‐9747
JAMES B SEALY                                   313 SHELDON AVE                                                                              FAIRCHANCE      PA    15436‐1073
JAMES B SELF                                    1717 OSCEOLA DRIVE                                                                           NORTH LITTLE    AR    72116‐4530
JAMES B SHIPMAN                                 100 S 2ND ST                                                                                 HALIFAX         PA    17032‐7928
JAMES B SHULER                                  11460 BURGESS LN                                                                             COLO SPRINGS    CO    80908‐3966
JAMES B SHULZE                                  BOX 272                             PR 115                                                   RAVENNA         TX    75476
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Name                                              Address1                              Address2             Address3          Address4          City             State Zip

JAMES B SHURMACK                                  8610 DYGERT                                                                                    ALTO             MI    49302‐9746
JAMES B SMITH                                     10737 CAROLINA PINES DR                                                                        HARRISON         OH    45030‐4936
JAMES B SMITH                                     39 WINTHROP AVE                                                                                ELMSFORD         NY    10523‐3316
JAMES B SMITH                                     158 TWIN OAK                                                                                   SEGUIN           TX    78155‐7425
JAMES B STEWART                                   7 FAIRWAY RD                                                                                   GALESBURG        IL    61401‐9702
JAMES B STEWART                                   3304 SNOW GLAN                                                                                 LANSING          MI    48917‐1733
JAMES B STUART JR                                 5472 KAYWOOD DR                                                                                JACKSON          MS    39211‐4531
JAMES B SWARTZ                                    1305 WILLOW CT                                                                                 NOBLESVILLE      IN    46062‐9145
JAMES B TANNER                                    5952 BURGER ST                                                                                 DEARBORN HTS     MI    48127‐2412
JAMES B TELFORD                                   PO BOX 191                                                                                     MACON            IL    62544‐0191
JAMES B THOMAS                                    PO BOX 487                            14790 N STATE AVE                                        MIDDLEFIELD      OH    44062‐9379
JAMES B THOMPKINS                                 46647 JUDD RD                                                                                  BELLEVILLE       MI    48111‐8962
JAMES B TOPPING                                   116 LARACOR AVE                       OSHAWA ON                              L1G 3A7 CANADA
JAMES B TOPPINGS                                  116 LARACOR AVE                       OSHAWA ON                              L1G 3A7 CANADA
JAMES B TORELLO                                   310 UPPER STATE ST                                                                             NORTH HAVEN      CT    06473‐1027
JAMES B VEST                                      PO BOX 2536                                                                                    SANFORD          NC    27331‐2536
JAMES B VICKERS                                   9105 WEBSTER RD                                                                                FREELAND         MI    48623‐9018
JAMES B VOHWINKEL                                 899 NORTH STAR ROAD                                                                            EAST AURORA      NY    14052‐9448
JAMES B WALKER                                    1814 STOLDT AVE                                                                                IMLAY CITY       MI    48444
JAMES B WATKINS                                   113B CECIL AVE                                                                                 LOUISVILLE       KY    40211
JAMES B WELBES                                    1277 TORI TRL                                                                                  CHARLOTTE        MI    48813‐7830
JAMES B WELLS                                     10 WOODRUFF CT                                                                                 BETHALTO         IL    62010‐2456
JAMES B WERTZ                                     5324 SPRINGBORO PK                                                                             DAYTON           OH    45439‐2969
JAMES B WESSINGER                                 4277 OKEMOS RD                                                                                 OKEMOS           MI    48864‐3283
JAMES B WHEELER                                   125 MAIN ST                                                                                    MC EWEN          TN    37101‐4518
JAMES B WHITE                                     23 HARBORVIEW PL                                                                               BRIDGEPORT       CT    06605‐3338
JAMES B WHITE CUST MORGAN D WHITE UGMA MI         23 HARBORVIEW PL                                                                               BRIDGEPORT       CT    06605‐3338

JAMES B WHITE CUST MORGAN D WHITE UGMA NY         23 HARBORVIEW PL                                                                               BRIDGEPORT       CT    06605‐3338

JAMES B WHITE CUST MORGAN DAVIDSON WHITE          23 HARBORVIEW PLACE                                                                            BRIDGEPORT       CT    06605‐3338
UGMA MI
JAMES B WHITE JR                                  PO BOX 232                                                                                     GIBSON ISLAND    MD    21056‐0232
JAMES B WILCOX                                    8608 WICKLOW AVE                                                                               CINCINNATI       OH    45236‐1652
JAMES B WILLENBRING & CHARLENE A WILLENBRING JT   3154 STATE HWY FF                                                                              JACKSON          MO    63755‐7139
TEN
JAMES B WILLIAMS                                  3900 W BORWN DEER RD                                                                           MILWAUKEE        WI    53209‐1220
JAMES B WRIGHT                                    1006 HIDDEN OAKS CT                                                                            COLLEYVILLE      TX    76034‐5815
JAMES B YANKEE                                    10924 PRIOR RD                                                                                 DURAND           MI    48429‐9438
JAMES B ZELASNY                                   10 SCHINDLER DR                                                                                SUCCASUNNA       NJ    07876‐1182
JAMES BAGGEST CUST JOHNNA MARIE BAGGEST UGMA      659 MOORESTOWN DR                                                                              BATH             PA    18014‐8710
PA
JAMES BAILEY & DOROTHY BAILEY JT TEN              989 CHAMBERLAIN RD                    #8                                                       AUBURN           NY    13021‐9571
JAMES BAILEY JR                                   4190 FOLEY                                                                                     WATERFORD        MI    48329
JAMES BALDWIN JONES                               353 LINDSAY POND ROAD                                                                          CONCORD          MA    01742‐5217
JAMES BALEK                                       103 HARDISON CT                                                                                COLUMBIA         TN    38401‐5532
JAMES BANCROFT STOTT                              6100 BUCKINGHAM MANOR DR                                                                       BALTIMORE        MD    21210‐1004
JAMES BANKS                                       530 ELMWOOD RD NW                                                                              ATLANTA          GA    30318‐8174
JAMES BANTA                                       300 EUCLID AVE                        APT 110                                                  MIAMI BEACH      FL    33139‐8782
JAMES BARBERA                                     2015 BELTON STREET                                                                             JOHNSTON         PA    15904‐1005
JAMES BARRETT                                     428 ALDER ST                                                                                   EVERETT          WA    98203‐2614
JAMES BARRETT                                     19 HUNT ROAD                                                                                   LEXINGTON        MA    02421‐5615
JAMES BARRY LOUGHRIDGE JR                         18271 BEVERLY RD                                                                               BEVERLY HILLS    MI    48025‐4003
JAMES BARTHOLOMEW & LOIS BARTHOLOMEW JT TEN       3840 LAUREL CT                                                                                 EAGAN            MN    55122‐1622

JAMES BARTLETT                                    721 7TH AVE S                                                                                  SURFSIDE BEACH   SC    29575‐3411
JAMES BARTOS                                      27442 MARILYN                                                                                  WARREN           MI    48093‐4696
JAMES BAUMGARTNER & JOANNE E BAUMGARTNER JT       703 N HENRY ST                                                                                 CRESTLINE        OH    44827‐1036
TEN
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JAMES BAXTER                                       1948 PASADENA                                                                                   DETROIT             MI    48238‐2923
JAMES BAXTER BENNETT                               10930 BURGOYNE ROAD                                                                             HOUSTON             TX    77042‐2720
JAMES BEESLEY CUST KYLA MARIE COWELL UTMA MI       11100 HALLER ST                                                                                 LIVONIA             MI    48150‐3143

JAMES BELL                                         7102 SUSSEX PLACE                                                                               ALEXANDRIA          VA    22307‐2006
JAMES BELLAMY JR                                   9999 MORROW COZADDALE ROAD                                                                      MORROW              OH    45152‐8591
JAMES BENDER                                       2446 SANPIPER RD                                                                                LAMBERTVILLE        MI    48144‐9458
JAMES BENJAMIN & JESSIEANNA BENJAMIN JT TEN        624 BROOKLAND BLVD                                                                              LANSING             MI    48910‐3475

JAMES BENJAMIN THOMAS                              714 OWENSONS DRIVE                                                                              DALLAS              TX    75224‐1315
JAMES BENNER THOMPSON                              RR1                                    VINELAND ON                            L0R 2C0 CANADA
JAMES BENNETT                                      8 HELEN AVE                            KITCHENER ON                           N2G 3W6 CANADA
JAMES BERDINI                                      110 DEMMY AVE                                                                                   WARETOWN            NJ    08758‐2326
JAMES BERNARD WARD                                 516 TODD DRIVE                                                                                  GOLDSBORO           NC    27534‐3243
JAMES BERNHARD CUST JASON MATHEW BERNHARD          109 MEDFORD RD                                                                                  RIDGE               NY    11961‐2642
UGMA NY
JAMES BERVELL WOMACK                               11394 CREGO RD                                                                                  AKRON               NY    14001‐9736
JAMES BEST JACKSON & BARBARA E JACKSON JT TEN      156 RILEY AVE                                                                                   PALM SPRINGS        FL    33461‐2055

JAMES BEVAN LEWIS                                  117 VIBURNUM DR                                                                                 SKILLMAN            NJ    08558‐1435
JAMES BEYER & SUSAN BEYER JT TEN                   1230 NORTH GOOD AVE                                                                             PARK RIDGE          IL    60068‐1613
JAMES BIONDI                                       1601 RIDGE ROAD                                                                                 NORTH HAVEN         CT    06473‐2900
JAMES BLAIR ALLAN                                  24 ANTLER RD                                                                                    BIG FLATS           NY    14814‐7950
JAMES BLAIR ELLIS & MARGARET MARTIN ELLIS JT TEN   PO BOX 9353                                                                                     RENO                NV    89507‐9353

JAMES BLOEMENDAAL                                  301 LENAWEE ST                         PO BOX 346                                               MANITOU BEACH       MI    49253‐0346
JAMES BLONDI                                       406 PLAINS ROAD                                                                                 WALLKILL            NY    12589‐3902
JAMES BOATWRIGHT                                   271 RICHTER                                                                                     RIVER ROUGE         MI    48218‐1619
JAMES BODDIE                                       5502 FAIRHAVEN ST                                                                               FLINT               MI    48505‐1021
JAMES BOFINGER                                     38 OAKLEY DR                                                                                    HUNTINGTON          NY    11746‐3116
                                                                                                                                                   STATION
JAMES BOSE                                         18706 RIO LANE                                                                                  RIO VERDE           AZ    85263‐7081
JAMES BOSKEE                                       4375 MERWIN ROAD                                                                                LAPEER              MI    48446‐9765
JAMES BOULDIN                                      456 CATLETT                                                                                     MADISON             MS    39110‐7960
JAMES BOVARD                                       C/O BOVARD INC                         PO BOX 1070                                              ALTOONA             PA    16603‐1070
JAMES BOWEN                                        4511 TRACY ST                                                                                   COLUMBUS            GA    31903‐2429
JAMES BOYD PATE                                    BOX 486                                                                                         WINFIELD            AL    35594‐0486
JAMES BOYER & HELEN BOYER JT TEN TOD SHARON        417 PRIVATE ROAD 2691                                                                           KNOXVILLE           AR    72845‐8574
PHILLIPS
JAMES BRADLEY                                      27 LILLIEDALE LN                                                                                HAMILTON            OH    45015‐2145
JAMES BRADLEY WEIR                                 209 RIVERBIRCH RUN                                                                              CLEMSON             SC    29631‐2081
JAMES BRADY                                        1400 HARTLAND RD                                                                                BARKER              NY    14012‐9689
JAMES BRADY SMITH JR                               1101 GOLD MINE ROAD                                                                             BROOKEVILLE         MD    20833‐2221
JAMES BRAINSFORD BEARD                             PO BOX 1260                            PALMERSTON NORTH                       NEW ZEALAND
JAMES BRANDSTETTER & JENNIFER BRANDSTETTER JT      2957 DANELAND ST                                                                                LAKEWOOD            CA    90712‐2133
TEN
JAMES BRAUN                                        BOX 17 FORT WHYTE RPO                  WINNIPEG MB                            R3Y 1G5 CANADA
JAMES BREESE                                       1109 LAS PULGAS RD                                                                              PACIFIC PALISADES   CA    90272‐2446

JAMES BREGER                                       32721 GALENA‐SASAFRASS                                                                          GOLTS               MD    21635‐1844
JAMES BRENNAN                                      743 ELDORADO AVE                                                                                CLEARWATER          FL    33767‐1421
JAMES BRENNAN                                      4460 NAGNES                                                                                     KANSAS CITY         MO    64117
JAMES BRESLIN & MRS PHYLLIS ANN BRESLIN JT TEN     3612 GLEN HAVEN DR                                                                              CONCORD             NC    28027‐8544

JAMES BRIAN PANTIER                                806 BISCAY LN                                                                                   ROGERS              AR    72758
JAMES BRIAN RUDD                                   759 VELMA ST                                                                                    MEMPHIS             TN    38104‐5246
JAMES BRIAN WAHRBURG                               8625 SW 20TH TERR                                                                               MIAMI               FL    33155‐1042
JAMES BRIAN WALTER & STEPHANIE MILLER WALTER JT    2991 ISHPEMING TRAIL                                                                            TRAVERSE CITY       MI    49686‐8540
TEN
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Name                                               Address1                               Address2             Address3          Address4          City              State Zip

JAMES BRICE CALLAWAY                               BOX 6                                                                                           NEW MARKET        AL    35761‐0006
JAMES BRITTON PADGITT                              18119 TALL CYPRESS DR                                                                           SPRING            TX    77388‐4961
JAMES BRODIE                                       32820 SLOCUM DR                                                                                 FARMINGTON        MI    48336‐3978
JAMES BROECKEL & KAREN SUSAN LOPEZ JT TEN          23 OAK AVENUE                                                                                   HALIFAX           PA    17032‐9053
JAMES BROWN                                        1767 WEDGEWOOD OVERLOOK                                                                         STONE MOUNTAIN    GA    30088‐3930

JAMES BRYAN & GAIL A BRYAN JT TEN                42172 TONQUISH COURT                                                                              CANTON            MI    48187‐2492
JAMES BRYAN JR                                   27299 RONEY                                                                                       TRENTON           MI    48183‐4848
JAMES BRYAN JR & JAMES BRYAN & GAIL BRYAN JT TEN 27299 RONEY                                                                                       TRENTON           MI    48183‐4848

JAMES BRYANT                                       100 WYOMING AVENUE                                                                              SOUTH ORANGE      NJ    07079
JAMES BUCHANAN                                     5151 BELDING RD                                                                                 ROCKFORD          MI    49341‐8178
JAMES BUCHANAN BONNER                              16 PATRICIA LANE                                                                                WHITE PLAINS      NY    10605‐4009
JAMES BUECHELE JR                                  5842 BALFOUR                                                                                    SYLVANIA          OH    43560‐1505
JAMES BUFFINGTON III                               505 KINGSBURY BEACH ROAD                                                                        EASTHAM           MA    02642‐2439
JAMES BUNTING JR                                   464 CEDAR                                                                                       WYANDOTTE         MI    48192
JAMES BUONO                                        PO BOX 93                                                                                       SILVERWOOD        MI    48760‐0093
JAMES BURCH                                        16032 SHERMAN WA 373                                                                            VAN NUYS          CA    91406‐4022
JAMES BURGESS                                      PO BOX 2625                                                                                     ANDERSON          IN    46018‐2625
JAMES BURGOS                                       2810 E CEDAR PL                                                                                 CHANDLER          AZ    85249‐3569
JAMES BURKE TAFT                                   1488 N LARKSPUR CT                                                                              LAFAYETTE         CO    80026‐8002
JAMES BURNS                                        436 BEAVER RD BURGUNDY HILLS                                                                    SOUTHAMPTON       PA    18966‐3503
JAMES BUZA                                         2995 MAIDSTONE                                                                                  TRENTON           MI    48183‐3519
JAMES BYRD HORNER                                  11950 WEXWOOD DR                                                                                RICHMOND          VA    23236‐4129
JAMES C ADAMS                                      5860 RICHMOND ROAD                                                                              BEDFORD           OH    44146‐2562
JAMES C ADAMS                                      2829 S WATER WORKS RD                                                                           BUFORD            GA    30518‐1453
JAMES C ADAMS                                      240 SUMMERDALE LN                                                                               ALGONQUIN         IL    60102‐9791
JAMES C ALBAUGH                                    267 CHARLOTTE ST                                                                                MULLIKEN          MI    48861‐9739
JAMES C ALEXIS & RODIA D DIAMANDIS TR JAMES C      39 AUSTIN ROAD                                                                                  SUDBURY           MA    01776‐2601
ALEXIS TRUST UA 12/02/96
JAMES C ALLEN                                      2281 WALLINGFORD DR                                                                             DECATUR           GA    30032‐6239
JAMES C ALLEN                                      3176 ALDRINGHAM                                                                                 TOLEDO            OH    43606‐1810
JAMES C ALLEN                                      1400 KENDAL DRIVE                                                                               MANSFIELD         TX    76063‐3362
JAMES C AMBURGEY                                   183 DUNDEE RD                                                                                   HAZEL GREEN       AL    35750‐7004
JAMES C ANDERSON                                   2660 LOCHMOOR PLACE                                                                             SAGINAW           MI    48603‐2936
JAMES C ANDERSON SR                                456 JEAN ST                                                                                     CRYSTAL           MI    48818‐9624
JAMES C ANOST                                      379 ERIEVIEW BLVD                                                                               SHEFFIELD LK      OH    44054‐1910
JAMES C ARD JR                                     12722 STOCKADE ST                                                                               SAN ANTONIO       TX    78233‐4627
JAMES C ARNOLD                                     40337 GILBERT                                                                                   PLYMOUTH          MI    48170‐4510
JAMES C ATKINS                                     260 PEARIDGE RD                                                                                 ROCKMART          GA    30153‐3560
JAMES C AURAND TR LIVING TRUST DTD 120‐20‐91 U‐A   439 OBRIAN                                                                                      MILAN             MI    48160‐8911
JAMES C AURAND
JAMES C BAILEY CUST JAMES C BAILEY JR UGMA MI      10406 DODGE RD                                                                                  OTISVILLE         MI    48463‐9766

JAMES C BAKER                                      4311 S CANAL CIR                                                                                NORTH FT MYERS    FL    33903‐5018
JAMES C BALL                                       111 CARLSAN SPRING DR                                                                           GEORGETOWN        KY    40324‐9107
JAMES C BALL & HELEN F BALL JT TEN                 111 CARLSAN SPRING DR                                                                           GEORGETOWN        KY    40324
JAMES C BALLARD                                    14882 IVANHOE DR                                                                                SHELBY TOWNSHIP   MI    48315‐1635

JAMES C BALLARD                                    2310 TABLE HEIGHTS DR                                                                           GOLDEN            CO    80401‐2540
JAMES C BATTLES JR                                 146 E IROQUOIS STREET                                                                           PONTIAC           MI    48341‐1609
JAMES C BEARDEN                                    105 BARRUNGTON DR                                                                               ST PETERS         MO    63376‐4522
JAMES C BEATY                                      3209 STEEPLECHASE CT                                                                            FLINT             MI    48532‐3751
JAMES C BECK & LILLY M BECK JT TEN                 414 SOUTH DIVISION                                                                              CARSON CITY       MI    48811‐9726
JAMES C BELLAMY                                    5920JAMESTOWNHWY                                                                                ALPINE            TN    38543‐6410
JAMES C BEMIS & ELIZABETH C BEMIS JT TEN           3094 CLAYWARD DRIVE                                                                             FLINT             MI    48506‐2025
JAMES C BIGWOOD                                    7799 N ZEEB RD                                                                                  DEXTER            MI    48130‐9314
JAMES C BLACK                                      541 W CALHOUN ST                                                                                SUMTER            SC    29150‐4565
JAMES C BLACK                                      6104 KINGS BROOK CT                                                                             LAS VEGAS         NV    89149‐3205
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Name                                                  Address1                            Address2             Address3          Address4          City            State Zip

JAMES C BLAND                                         931 LEDYARD STREET                                                                           WATERFORD       MI    48328‐4142
JAMES C BOGNER                                        4660 N WEST ST RD                                                                            LIMA            OH    45801‐1026
JAMES C BOHORAD                                       1530 HOWARD AVE                                                                              POTTSVILLE      PA    17901‐3329
JAMES C BOND                                          2712 HILLCREST AVENUE                                                                        HAYWARD         CA    94542‐1617
JAMES C BOONE                                         7648 CLIPPERT                                                                                TAYLOR          MI    48180‐2569
JAMES C BOSHART                                       445 BROOKS                                                                                   PONTIAC         MI    48340‐1302
JAMES C BOTTS                                         ATTN OLGA D BOTTS                   4419 ANSON PL E                                          JACKSONVILLE    FL    32246‐6513
JAMES C BOWERS                                        7924 S STATE RD 61                                                                           MONROE CITY     IN    47557‐7127
JAMES C BOYD                                          26585 SUMMERDALE DR                                                                          SOUTHFIELD      MI    48034‐2223
JAMES C BRADSHAW                                      472 JAMES DR                                                                                 NOBLESVILLE     IN    46060‐2009
JAMES C BRANCHEAU & JANEY L BRANCHEAU JT TEN          2493 POWDERHORN LANE                                                                         BOULDER         CO    80305‐6820

JAMES C BRANDT                                        4628 N LAURA DR                                                                              JANESVILLE      WI    53548‐8690
JAMES C BRASHER                                       RT I BOX 240 C                                                                               LINDEN          TN    37096‐0240
JAMES C BRAYTON                                       913 SOUTH FRANKLIN                                                                           FLINT           MI    48503‐2817
JAMES C BROCK                                         4321 HAYES ST                                                                                WAYNE           MI    48184‐2221
JAMES C BROOKS                                        103 PINE BLUFF LN                                                                            SPRINGTOWN      TX    76082‐7235
JAMES C BROUGHTON                                     29 CARNATION ST                                                                              BERGENFIELD     NJ    07621‐3801
JAMES C BROWN                                         19573 E 42ND AVENUE                                                                          DENVER          CO    80249‐6555
JAMES C BROWN                                         4414 SHERIDAN AVE                                                                            INDIANAPOLIS    IN    46226‐3538
JAMES C BRYCE                                         2730 W‐M 61                                                                                  BENTLEY         MI    48613
JAMES C BUNN                                          427 E LINDEN AVE                                                                             MIAMISBURG      OH    45342‐2848
JAMES C BUNN & HELEN M BUNN JT TEN                    427 E LINDEN AVE                                                                             MIAMISBURG      OH    45342‐2848
JAMES C CAIN                                          7203 AKRON RD                                                                                LOCKPORT        NY    14094‐6205
JAMES C CANTRELL                                      4331 WAYNE RD                                                                                WAYNE           MI    48184‐2114
JAMES C CANTRELL                                      5780 GRANT AVENUE                                                                            MERRIAM         KS    66203‐2556
JAMES C CAREY                                         1161 E HENRY ST                                                                              LINDEN          NJ    07036‐2057
JAMES C CARMICHAEL                                    8526 S LAFLIN ST                                                                             CHICAGO         IL    60620‐4713
JAMES C CARR                                          641 24TH ST                                                                                  NIAGARA FALLS   NY    14301‐2507
JAMES C CARROLL                                       549 BROWNING RD                                                                              ROCKMART        GA    30153‐4745
JAMES C CASPER & MRS JEAN E CASPER JT TEN             273 BELLEHURST DRIVE                                                                         ROCHESTER       NY    14617‐2239
JAMES C CHERRY                                        8363 DUERS MILL ROAD                                                                         ORLINDA         TN    37141‐9016
JAMES C CHITTIM                                       10045 JOHNS RD                                                                               BOERNE          TX    78006‐8814
JAMES C CLARENCE                                      1071 NICHOLS RD                                                                              FLUSHING        MI    48433‐9725
JAMES C CLARK                                         6025 WADSWORTH RD                                                                            SAGINAW         MI    48601‐9616
JAMES C CLEVER                                        207 CLAIRMORE AVENUE                                                                         LANOKA HARBOR   NJ    08734‐1815
JAMES C COLLINS                                       4601 CURTIS LN                                                                               SHREVEPORT      LA    71109‐6815
JAMES C COOK                                          3820 JOYNER ST                                                                               FLINT           MI    48532‐3849
JAMES C COOPER                                        PO BOX 757                                                                                   EUPORA          MS    39744‐0757
JAMES C COPPLER                                       4866 BONNIE DR                                                                               BAY CITY        MI    48706‐2654
JAMES C CORBY                                         103 CARDIFF PL                                                                               SANTA CRUZ      CA    95060‐2435
JAMES C COTTLE                                        880 FAWCETT DR                                                                               BEAVERCREEK     OH    45434‐6145
JAMES C COUCH                                         608 PLUM ST                                                                                  FRANKTON        IN    46044
JAMES C COYLE                                         10 BONNIE LANE                                                                               BORDENTOWN      NJ    08505‐2402
JAMES C CROCKETT                                      17127 WOODINGHAM DR                                                                          DETROIT         MI    48221‐2532
JAMES C CROCKETT & EDNA M CROCKETT JT TEN             17127 WOODINGHAM DR                                                                          DETROIT         MI    48221‐2532
JAMES C CULLEN TR UA 03/02/92 JAMES C CULLEN          1625 GLENVIEW RD UNIT 211                                                                    GLENVIEW        IL    60025‐2973
TRUST
JAMES C CUMMINGS                                      437 NATHAN                                                                                   BURLESON        TX    76028‐5918
JAMES C DALEY                                         8900 ARLETA AVE                                                                              ARLETA          CA    91331‐4903
JAMES C DAVID                                         2502 SOUTH COMMERCE                                                                          WALLED LAKE     MI    48390‐2132
JAMES C DAVIS                                         G‐5100 N GALE RD                                                                             DAVISON         MI    48423
JAMES C DAVIS                                         6310 BOLLING BROOK LN                                                                        GLOUCESTER      VA    23061‐3915
JAMES C DAVIS                                         PO BOX 537                                                                                   EAST ELLIJAY    GA    30539‐0009
JAMES C DAVIS                                         2034 CHURCH ST                                                                               FLINT           MI    48503‐3942
JAMES C DAVIS III TR JAMES C DAVIS III REV TRUST UA   1122 WHITWORTH COURT                                                                         HERNDON         VA    20170‐3521
02/09/04
JAMES C DAVISON                                       104 STARR DRIVE                                                                              TROY            MI    48083‐1648
JAMES C DAY                                           6740 CONCORD RD                                                                              CUMMING         GA    30040‐5517
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JAMES C DE MEO                                    875 MARKET ST                                                                                            PATERSON         NJ    07513‐1126
JAMES C DEGRAS & CAMILLE M DEGRAS JT TEN          704 COUNT POURTALES DR                                                                                   COLORADO SPRINGS CO    80906‐4268

JAMES C DENHAM                                    629 STAR BLVD                                                                                            MADISON          TN    37115
JAMES C DESMOND                                   14718 SE GRAHAM RD                                                                                       VANCOUVER        WA    98683‐8515
JAMES C DIXON                                     419 VALLEY VIEW DR                                                                                       LOS ALTOS        CA    94024‐4741
JAMES C DOOLEY & SHIRLEY R DOOLEY JT TEN          2648 S W COUNTY RD 769                                                                                   ARCADIA          FL    34266‐2504
JAMES C DOWDLE                                    474 EDIN BURGH CT                                                                                        SEVERNA PARK     MD    21146‐1621
JAMES C DOWDLE & MARTHA B DOWDLE JT TEN           474 EDINBURGH CT                                                                                         SEVERNA PARK     MD    21146‐1621
JAMES C DUFF & SUE DUFF JT TEN                    400 JONQUIL LN                                                                                           BRIDGEVILLE      PA    15017‐3804
JAMES C DUNCANSON                                 1683 S ADAMS                                                                                             DENVER           CO    80210‐2929
JAMES C DUNN & MARGARET DUNN JT TEN               7622 94TH AVENUE NE                                                                                      ARLINGTON        WA    98223‐7528
JAMES C DYE                                       1496 AMESBURY                                                                                            TOLEDO           OH    43612‐2003
JAMES C E DILLON & MRS JOAN NOLAN DILLON JT TEN   41 W MAXWELL DR                                                                                          WEST HARTFORD    CT    06107‐1442

JAMES C EDWARDS CUST DIANE CARSON EDWARDS          116 CAPTAINS WALK                                                                                       MILFORD          CT    06460‐6564
UGMA TX
JAMES C EDWARDS CUST ELIZABETH BOYNTON             72 SHELTER COVE RD                                                                                      MILFORD          CT    06460‐6547
EDWARDS UGMA TX
JAMES C EDWARDS CUST ROBERT GLEN EDWARDS           135 CAPTAIN WALK                                                                                        MILFORD          CT    06460‐6517
UGMA TX
JAMES C EGGLESTON                                  200 SHEFFEY LN                                                                                          RICHMOND         VA    23235‐4930
JAMES C ELLIOTT                                    8252 ROOSEVELT                                                                                          MT MORRIS        MI    48458‐1331
JAMES C ELLIOTT JR TOD KIM E MARTIN SUBJECT TO STA 13534 WEBSTER AVE                                                                                       SAVAGE           MN    55378‐1869
TOD RULES
JAMES C ENSLEY                                     1054 LITTLE HENDRICKS MOUNTAIN RD                                                                       JASPER           GA    30143
JAMES C ERSKINE JR                                 PO BOX 1711                                                                                             BIRMINGHAM       MI    48012‐1711
JAMES C ERVIN                                      1719 QUIGLEY RD                                                                                         COLUMBUS         OH    43227‐3433
JAMES C EVANS                                      105 NORTH ERLWOOD COURT                                                                                 RICHMOND         VA    23229‐7679
JAMES C FAHNDRICH & MARJORIE M FAHNDRICH JT TEN 5120 BULL RUN DRIVE                                                                                        YPSILANTI        MI    48197‐9231

JAMES C FALCONER                                  C/O THE FALCONER COMPANIES            600 STEWART ST SUITE 1200   PLAZA 600 BUILDING                     SEATTLE          WA    98101‐1232
JAMES C FIELDS                                    15810 MURILAND                                                                                           DETROIT          MI    48238‐4100
JAMES C FLANNERY                                  41 MISSOURI AVE                                                                                          DAYTON           OH    45410‐2013
JAMES C FORD                                      2995 GLYNN CT                                                                                            DETROIT          MI    48206‐1619
JAMES C FORSYTH                                   1926 WINGATE WAY                                                                                         HAYWARD          CA    94541‐3133
JAMES C FOSTER & BEATRICE L FOSTER JT TEN         PO BOX 353                                                                                               SOMERVILLE       TN    38068‐0353
JAMES C FRANK                                     605 W ALBERTS DR                                                                                         PERU             IN    46970‐7512
JAMES C FREDERICKS                                5528 MCLAIN DRIVE                                                                                        SYLVANIA         OH    43560‐2512
JAMES C FREEMAN                                   182 VULCO DR                                                                                             HENDERSONVILLE   TN    37075‐4857
JAMES C FREY & JUDITH A FREY JT TEN               111 SHINING MTNS LOOP ROAD                                                                               ENNIS            MT    59729‐9153
JAMES C FRY                                       2208 HOMESITE DRIVE                                                                                      DAYTON           OH    45414
JAMES C GALLAGHER III                             1519 SCHUYLER ROAD                                                                                       BEVERLY HILLS    CA    90210‐2541
JAMES C GIDEON                                    1062 S UNION                                                                                             KOKOMO           IN    46902‐1631
JAMES C GILLIS JR                                 911 W MARION                                                                                             MISHAWAKA        IN    46545‐5817
JAMES C GILMORE SR & KAY W GILMORE JT TEN         1370 HADDENHAM DRIVE                                                                                     CUMMING          GA    30041‐9361
JAMES C GLASS                                     PO BOX 224                                                                                               MIDDLETOWN       OH    45042
JAMES C GLASS                                     6614 PRAIRIE VIEW DR                                                                                     KANSAS CITY      MO    64151‐2346
JAMES C GOELZ                                     6533 OAK PARK CT                                                                                         GALLOWAY         OH    43119‐9592
JAMES C GOMEZ                                     7168 PENNY WAY                                                                                           BROWNS VALLEY    CA    95918‐9773
JAMES C GORDON                                    5275 NW 10TH COURT APT 105                                                                               PLANTATION       FL    33313‐6493
JAMES C GRACE                                     164 SUMTER 9                                                                                             LISMAN           AL    36912‐3204
JAMES C GREEN                                     234 94TH ST                                                                                              BROOKLYN         NY    11209‐6808
JAMES C GREEN & KATHLEEN M GREEN JT TEN           234 94TH ST                                                                                              BROOKLYN         NY    11209‐6808
JAMES C GRIFFIN                                   PO BOX 592                                                                                               WARREN           OH    44482‐0592
JAMES C GROSS                                     1550 LASALLE BLVD                                                                                        HIGHLAND         MI    48356
JAMES C GUARINO                                   427 MENDON RD                                                                                            PITTSFORD        NY    14534‐3027
JAMES C GWYNN                                     14715 PALMETTO CT                                                                                        SHELBY TWP       MI    48315‐4314
JAMES C HALAS                                     BOX 862                                                                                                  PARK RIDGE       IL    60068‐0862
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JAMES C HAMMONDS                                  79SO 10TH ST                                                                                     NEWARK           NJ    07107‐2114
JAMES C HAMPTON                                   PO BOX 33                                                                                        BLACKWATER       VA    24221‐0033
JAMES C HANNUM JR                                 6122 BONSELS PKWY                                                                                TOLEDO           OH    43617‐1026
JAMES C HARDIN                                    2566 SHALLOWFORD RD NE.                 STE 104                                                  ATLANTA          GA    30345
JAMES C HARLAN                                    8705 SHADOW LANE                                                                                 RICHMOND         VA    23229‐7920
JAMES C HARRIS & VIRGINIA D HARRIS JT TEN         1727 ORMOND ROAD                                                                                 JACKSONVILLE     FL    32225‐4407
JAMES C HASTY                                     BOX 52                                                                                           DUBBERLY         LA    71024‐0052
JAMES C HAUSER                                    7 PINEDALE DR WINDY HILLS                                                                        NEWARK           DE    19711‐5525
JAMES C HAWKINS                                   45711 SAMANTHA DR                                                                                CANTON           MI    48188‐2190
JAMES C HEIGHAM                                   23 CENTRE AVE                                                                                    BELMONT          MA    02478‐1524
JAMES C HEMMERSMEIER & SANDY HEMMERSMEIER JT      945 N DARTMOOR WAY                                                                               SALT LAKE CITY   UT    84103‐2273
TEN
JAMES C HEMMERSMEIER & SANDY HEMMERSMEIER JT      945 N DARTMOOR WAY                                                                               SALT LAKE CITY   UT    84103‐2273
TEN
JAMES C HENDERSON                                 14 WALNUT VALLEY RD                                                                              CHADDS FORD      PA    19317‐9434
JAMES C HENDRICKS                                 4296 STAUNTON DR                                                                                 SWARTZ CREEK     MI    48473‐8215
JAMES C HERD                                      5193 TOKAY DR                                                                                    FLINT            MI    48507‐2916
JAMES C HEROLD TOD VICTORIA L HEROLD SUBJECT TO   17881 COURTNEY RD                                                                                BELOIT           OH    44609‐9743
STA TOD RULES
JAMES C HOADLEY                                   APT G‐80                                145 STANDARD AVE                                         AUBURN           NY    13021‐1506
JAMES C HODGES                                    13004 E KENTUCKY RD                                                                              INDEPENDENCE     MO    64050‐1022
JAMES C HOLLINGSHEAD JR                           126 W MAIN ST                                                                                    MILLVILLE        NJ    08332‐4316
JAMES C HOLSAPPLE                                 3522 BIRKDALE LN                                                                                 PALM HARBOR      FL    34684‐2469
JAMES C HOLZWARTH                                 7555 COUNTY ROAD 160                                                                             SALIDA           CO    81201‐8518
JAMES C HOPKINS                                   11537 NORBOURNE                                                                                  CINCINNATI       OH    45240‐2115
JAMES C HOPPER                                    4650 MUSKET WAY                                                                                  COLUMBUS         OH    43228‐1327
JAMES C HOSKINSON & HELEN E HOSKINSON JT TEN      314 SCENIC DRIVE                                                                                 ST ALBANS        WV    25177‐3446

JAMES C HOWE                                      254 WHITE OAK DRIVE                                                                              MEDFORD          OR    97504
JAMES C HSIAO                                     8135 GROSS POINT RD                                                                              MORTON GROVE     IL    60053‐3502
JAMES C HUBBLE                                    4908 GENESEE                                                                                     LAPEER           MI    48446‐3632
JAMES C HUIE & BARBARA C HUIE JT TEN              5751 W FAYETTEVILLE RD                                                                           COLLEGE PARK     GA    30349‐6119
JAMES C HUNT                                      7389 RENIE RD                                                                                    BELLVILLE        OH    44813‐8914
JAMES C IVESTER                                   204 MOYE ST                                                                                      BARNESVILLE      GA    30204‐1629
JAMES C JACKSON                                   2282 SHERWIN DR                                                                                  TWINSBURG        OH    44087‐1343
JAMES C JACKSON JR                                513 E BROAD ST                                                                                   SPARTA           GA    31087‐1335
JAMES C JEAN                                      1750 W N UNION                                                                                   AUBURN           MI    48611‐9533
JAMES C JENNY                                     BOX 460                                                                                          STEAMBOAT        CO    80477
                                                                                                                                                   SPRINGS
JAMES C JOHNSON                                   10427 BLOWERS                                                                                    DETROIT          MI    48204‐3117
JAMES C JOHNSON                                   23535 WOHLFEIL                                                                                   TAYLOR           MI    48180‐2356
JAMES C JOHNSON & GAIL E JOHNSON JT TEN           5 GARY CT                                                                                        BORDENTOWN       NJ    08505
JAMES C JONES 2ND                                 2457 RD Y                                                                                        READING          KS    66868‐9006
JAMES C JOSKA                                     2963 BOWER RD                                                                                    WINTER PARK      FL    32792‐4503
JAMES C KARR                                      5210 GRANITE COURT                                                                               INDIANAPOLIS     IN    46237‐3032
JAMES C KEEL                                      1115 GOLDENROD LANE                                                                              SUWANEE          GA    30024
JAMES C KEEN                                      2582 S KEYSTONE AVE                                                                              INDIANAPOLIS     IN    46203‐4570
JAMES C KELLEY                                    845 BRICK MILL RD                                                                                CANTON           GA    30115‐3867
JAMES C KELLEY                                    10323 MERRIAM LN                                                                                 TWINSBURG        OH    44087‐2640
JAMES C KELLY                                     PO BOX 927                                                                                       APOPKA           FL    32704‐0927
JAMES C KELLY                                     4721 HALBERD DR                                                                                  COMMERCE TWP     MI    48382‐2612
JAMES C KENNEDY & SUZANNE M KENNEDY JT TEN        2816 DUNCAN TREE CIR                                                                             VALRICO          FL    33594‐4244
JAMES C KIRKWOOD                                  6 CUTTERS PATH                                                                                   ITHACA           NY    14850‐8520
JAMES C KITE                                      5063 SHATTUC AVE                                                                                 CINCINNATI       OH    45208
JAMES C KNAUS                                     PO BOX 57                                                                                        ALLEGANY         NY    14706‐0057
JAMES C KROPA                                     3147 BEECHWOOD DRIVE                                                                             MARIETTA         GA    30067‐5458
JAMES C KUERBITZ                                  2874 N US‐23                                                                                     OSCODA           MI    48750‐9533
JAMES C KUKALIS                                   20468 E PLEASANT LAKE ROAD                                                                       MANCHESTER       MI    48158‐9726
JAMES C KUKULA                                    15146 E TWO BAR X RANCH PL                                                                       VAIL             AZ    85641
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JAMES C KUKULA & FELICIA ANN KUKULA JT TEN       15146 E TWO BAR X RANCH PL                                                                     VAIL              AZ    85641
JAMES C KUYKENDALL                               18122 SAMUEL CIR                                                                               HAGERSTOWN        MD    21740‐9599
JAMES C LADNER                                   8603 GALINDO                                                                                   DUBLIN            CA    94566
JAMES C LAFNEAR                                  7784 S ESTON RD                                                                                CLARKSTON         MI    48348‐5002
JAMES C LAPENES                                  PO BOX 214                                                                                     JAMESTOWN         MO    65046‐0214
JAMES C LAWRENCE                                 10516 PINETREE LANE                                                                            GOODRICH          MI    48438‐9452
JAMES C LEFEVRE                                  11035 FAIRFIELD                                                                                LIVONIA           MI    48150‐2775
JAMES C LEIBY                                    8776 RAPSON RD                                                                                 HARBOR BEACH      MI    48441‐8110
JAMES C LIVERMORE                                BOX 26                                                                                         AUGUSTA           WI    54722‐0026
JAMES C LOWERY                                   17150 US HIGHWAY 223                                                                           ADDISON           MI    49220‐9725
JAMES C LOWERY                                   1705 CEDAR BEND DR                                                                             AUSTIN            TX    78758
JAMES C LOYD                                     202 APACHE CIR                                                                                 PULASKI           TN    38478‐9548
JAMES C LUSKO & MARY LUSKO JT TEN                PO BOX 141                                                                                     FLAT ROCK         MI    48134‐0141
JAMES C LUSTER                                   8008 MILAN                                                                                     U CITY            MO    63130‐1241
JAMES C MAIHOS & DIANNE C MAIHOS JT TEN          30 N CENTRAL ST UNIT 5                                                                         PEABODY           MA    01960
JAMES C MALAS JR                                 3169 BROOKMOOR DR                                                                              BEAVERCREEK       OH    45434‐6001
JAMES C MAREK TR JAMES C MAREK TRUST UA 12/03/98 2911 SANDALWOOD RD                                                                             BUFFALO GROVE     IL    60089‐6649

JAMES C MARKER                                   10287 CONTINENTAL DR                                                                           TAYLOR            MI    48180‐3108
JAMES C MARSNICK                                 47758 BELMONT DRIVE                                                                            BELLEVILLE        MI    48111‐1078
JAMES C MARTIN                                   404 HOLLOW SPRING CT                                                                           BRENTWOOD         TN    37027
JAMES C MARTIN & ANNA J MARTIN JT TEN            2610 FOUNTAINVIEW DR                                                                           CORINTH           TX    76210
JAMES C MARX                                     703 E 12TH AVE                                                                                 COAL VALLEY       IL    61240‐9496
JAMES C MASON                                    17716 PEET RD                                                                                  OAKLEY            MI    48649‐9750
JAMES C MATTHEWS JR                              7111 EDINBOROUGH DR                                                                            WEST BLOOMFIELD   MI    48322‐4027

JAMES C MC ANULTY                                1036 MANOR DRIVE                                                                               WILMETTE          IL    60091‐1046
JAMES C MC INTYRE                                6 LOOMIS ST                                                                                    MONTPELIER        VT    05602‐3020
JAMES C MCARDLE & ANNE M MCARDLE JT TEN          559 MONTROSE AVE                                                                               KENMORE           NY    14223‐2632
JAMES C MCCLELLAND                               3326 PALMAIRE DRIVE                                                                            ROCHESTER HILLS   MI    48309‐1048
JAMES C MCCLOYN                                  14005 WILKIE ST                                                                                GARDENA           CA    90249‐2818
JAMES C MCDONALD                                 10801 BERLIN STATION RD                                                                        CANFIELD          OH    44406‐9725
JAMES C MCGINNIS CUST MATTHEW M ZAWISLAK         3900 LAKEWOOD AVE                                                                              WHITE BEAR LK     MN    55110
UTMA MN
JAMES C MCKIERNAN JR                             3609 HOLLYWOOD AV H                                                                            BROOKFIELD        IL    60513‐1717
JAMES C MCKINNON                                 5101 STIMSON                                                                                   ONANDAGA          MI    49264‐9730
JAMES C MCMAHAN                                  4234 SECOND AVE N                                                                              ST PETERSBURG     FL    33713‐8212
JAMES C MERKEL                                   4216 OSCEOLA                                                                                   ST LOUIS          MO    63116‐2512
JAMES C MERRILL                                  2465 SERVICE ROAD                                                                              CLINTON           MI    49236‐9726
JAMES C MEYER                                    5040 N ROCHESTER RD                                                                            ROCHESTER         MI    48306‐1836
JAMES C MILLER                                   9029 GOODALL RD                                                                                DURAND            MI    48429‐9737
JAMES C MILLER                                   945 N LA GRANGE RD                                                                             LA GRANGE PK      IL    60526‐1524
JAMES C MILLER CUST DANIEL K MILLER UTMA PA      207 CONCORD ST                                                                                 INDIANA           PA    15701‐2401
JAMES C MITCHAM & PAMELA D MITCHAM JT TEN        20323 ASPENWILDE DR                                                                            CYPRESS           TX    77429‐5637
JAMES C MITCHELL                                 5706 STONEACRE CT                                                                              GLEN ALLEN        VA    23059‐5376
JAMES C MOORE                                    1222 BERKSHIRE                                                                                 WESTLAND          MI    48186‐5369
JAMES C MORRIS JR                                1108 LAYTON DRIVE                                                                              OLATHE            KS    66061‐2936
JAMES C MORROW                                   319 REO BLVD                                                                                   WARREN            OH    44483‐2229
JAMES C MOSS                                     654 KETTERING AVENUE                  APT 15                                                   PONTIAC           MI    48340‐3243
JAMES C MOY                                      5212 CORTLAND AVE                     APT 5                                                    ASHTABULA         OH    44004‐7254
JAMES C MUCK                                     8400 WOLCOT RD                                                                                 E AMHERST         NY    14051‐1141
JAMES C MUELLER & BARBARA GENE MUELLER JT TEN    119 HILGLOR DR                                                                                 PITTSBURGH        PA    15209‐1431

JAMES C MURPHY & SUSAN E MURPHY JT TEN           2458 23RD AVE                                                                                  COLUMBUS          NE    68601‐2630
JAMES C MURPHY & VIOLA R MURPHY JT TEN           13 COUNTY ROUTE 43                                                                             MASSENA           NY    13662‐3130
JAMES C MURR & CONNIE C MURR JT TEN              1115 MAIN ST                                                                                   JUNCTION          TX    76849‐3905
JAMES C MYERS CUST JEFFREY STEPHAN MYERS U/THE   2011 GARFIELD RD                                                                               SAN DIEGO         CA    92110‐1230
TEXAS U‐G‐M‐A
JAMES C NELSON                                   188 KRETTNER ST                                                                                BUFFALO           NY    14212‐1108
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JAMES C NEWSOME                                 8444 N MCKINLEY RD                                                                           FLUSHING         MI    48433‐8845
JAMES C NOBLE                                   1619 NORWOOD AVENUE                                                                          TOLEDO           OH    43607‐1754
JAMES C NORSWORTHY                              6276 LINDSAY DR                                                                              WATERFORD        MI    48329‐3032
JAMES C O NEILL                                 16224 FIVE POINTS                                                                            DETROIT          MI    48240‐2407
JAMES C O ROURKE JR                             8841 HARVEY                                                                                  LIVONIA          MI    48150‐3516
JAMES C O'MARA                                  3266 E DECKERVILLE RD                                                                        DECKERVILLE      MI    48427‐9333
JAMES C OAKLEY JR                               1762 FRENCH HILL RD #2                                                                       YORKTOWN HTS     NY    10598
JAMES C ORR                                     5894 BENTLEY RD                                                                              CUMMING          GA    30040‐5605
JAMES C ORTH & SALLY S ORTH JT TEN              1 MANOR DR S                        COUNTRY MANOR                                            REHOBOTH BEACH   DE    19971‐1954

JAMES C OTTO & EVELYN K OTTO JT TEN             708 NORTH EAST CORONADO                                                                      LEES SUMMIT      MO    64086‐5527
JAMES C PANGLE                                  129 OBERLIN RD                                                                               PENNSVILLE       NJ    08070‐3344
JAMES C PARKER                                  7602 PARKER ROAD                                                                             CASTALIA         OH    44824‐9742
JAMES C PATTERSON CUST MISS KATHLEEN M          748 S MAIN ST                                                                                ATHENS           PA    18810‐1021
PATTERSON UGMAPA
JAMES C PAULI                                   753 SAINT JAMES PARK AVE                                                                     MONROE           MI    48161‐9064
JAMES C PEACOCK III                             2586 CORBUS ST                                                                               HENDERSON        NV    89044‐1594
JAMES C PECK                                    5202 ALEXANDRIA PIKE                                                                         ANDERSON         IN    46012
JAMES C PEIRANO                                 PO BOX 11045                                                                                 OAKLAND          CA    94611‐0045
JAMES C PERRYMAN                                8003 ARCADIAN SHORES DRIVE                                                                   SHREVEPORT       LA    71129‐4105
JAMES C PERSICKETTI                             374 ELLISDALE RD                                                                             TRENTON          NJ    08620‐9660
JAMES C PETERSEN JR                             177 WESTVIEW DR                                                                              VICTOR           MT    59875‐9682
JAMES C PHEGLEY                                 3184 PONEMAH DR                                                                              FENTON           MI    48430‐1345
JAMES C PHILLIPS                                1150 SHINNECOCK CRST                                                                         AVON             IN    46123‐7075
JAMES C PIANA & JANET P PIANA JT TEN            600 FARMDALE                                                                                 FERNDALE         MI    48220‐1870
JAMES C PINION                                  21 SOUTH 44TH                                                                                BELLEVILLE       IL    62226‐6344
JAMES C PIORKOWSKI                              2537 THOMPSON DR                                                                             BOWLING GREEN    KY    42104‐4374
JAMES C POLK                                    8228 CARDINAL CT                                                                             AVON             IN    46123‐8750
JAMES C POWERS & MARGARET F POWERS JT TEN       13 BOLERO                                                                                    MISSION VIEJO    CA    92692‐5164
JAMES C POWERS & MARJORY POWERS JT TEN          13 BOLERO                                                                                    MISSION VIEJO    CA    92692‐5164
JAMES C POWERS CUST KELLY JEAN POWERS U/THE     ATTN KELLY JEAN WEBSTER             744 MARSOLAN AVE                                         SOLANA BEACH     CA    92075‐1949
ILLINOIS U‐G‐M‐A
JAMES C PRIOR & SUSAN WYN PRIOR JT TEN          546 BLUEFIELD DR                                                                             CLAREMONT        CA    91711‐2241
JAMES C PYATT                                   1686 SELKIRK RD                                                                              DAYTON           OH    45432‐3514
JAMES C QUEEN                                   PO BOX 68                                                                                    METAMORA         MI    48455‐0068
JAMES C QUICK                                   6400 BARRIE RD #1102                                                                         EDINA            MN    55435‐2317
JAMES C RAWLS                                   845 E 7TH ST                                                                                 FLINT            MI    48503‐2740
JAMES C REED                                    PO BOX 1146                                                                                  OAKWOOD          GA    30566‐0020
JAMES C REED                                    2295 MYERS RD                                                                                SHELBY           OH    44875‐9347
JAMES C REEVES                                  1855 LAKELAND DR                    STE B10                                                  JACKSON          MS    39216‐4917
JAMES C REYNOLDS                                1437 STEWART AVE                                                                             YOUNGSTOWN       OH    44505‐3414
JAMES C REYNOLDS                                6114 LINWOOD                                                                                 DETROIT          MI    48208‐1108
JAMES C ROBERSON                                4151 BURGESSHILL DR                                                                          ST CHARLES       MO    63304‐6951
JAMES C ROBERTS                                 6565 ROBB RD                                                                                 FOWLERVILLE      MI    48836‐9755
JAMES C ROBERTS                                 5037 GENTION RD                                                                              CHESTERFIELD     VA    23832‐7245
JAMES C ROBERTSON                               6421 CHARLOTTEVILLE ROAD                                                                     NEWFANE          NY    14108‐9756
JAMES C ROBISON & JANICE A ROBISON JT TEN       4636 VENOY                                                                                   SAGINAW          MI    48604‐1539
JAMES C ROGERS                                  3400 UNION RIDGE RD                                                                          FRANKFORT        KY    40601‐8034
JAMES C ROWE                                    C/O GYPSY ROWE                      7044 EAST STATE ROUTE 101                                CLYDE            OH    43410‐9731
JAMES C RUCKER JR                               46831 PICKFORD STREET                                                                        NORTHVILLE       MI    48167‐3510
JAMES C RUSSELL                                 2119 SAN LUCAS                                                                               SAN ANTONIO      TX    78245‐2051
JAMES C RYAN & MRS ANNE O RYAN JT TEN           403 LAWN AVE                                                                                 MARYVILLE        MO    64468‐1179
JAMES C SALMI                                   2856 S STEELE ST                                                                             DENVER           CO    80210‐6435
JAMES C SANDEEN                                 14320 LEONARD                                                                                WARREN           MI    48089‐5468
JAMES C SANDFORD                                6643 BIG HORN TRL                                                                            LITTLETON        CO    80125‐9091
JAMES C SANFORD                                 6377 S JACKSON ST                                                                            CENTENNIAL       CO    80121‐3645
JAMES C SANFORD & DONNA SANFORD JT TEN          6377 S JACKSON ST                                                                            CENTENNIAL       CO    80121‐3645
JAMES C SCHERPING                               4965 BUSCH ROAD                                                                              BIRCH RUN        MI    48415‐8785
JAMES C SCHREIBER                               1306 WALLEN                                                                                  MIDLAND          MI    48642‐6149
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JAMES C SCHRYVER                                 3550 SARATOGA AVE                                                                                ANNAPOLIS          MD    21403‐4950
JAMES C SCHUBERT                                 1185 CLEVELAND DR                                                                                CHEEKTOWAGA        NY    14225‐1234
JAMES C SCOTT                                    62 MORELAND AVE                                                                                  PONTIAC            MI    48342
JAMES C SELF                                     RT 8 BOX 20                                                                                      GUTHRIE            OK    73044‐9004
JAMES C SERGENT                                  4243 S ST RT 48                                                                                  WEST MILTON        OH    45383‐1926
JAMES C SHARPE CUST DIANA LEE SHARPE U/THE       1664 VINTAGE RIDGE CRT                                                                           TALLAHASSEE        FL    32312‐4047
FLORIDA GIFTS TO MINORS ACT
JAMES C SHEA                                     2908 ARBOR CT                                                                                    ROUND ROCK         TX    78681‐2161
JAMES C SHELTON                                  4127 CLOTHIER RD                                                                                 KINGSTON           MI    48741‐9731
JAMES C SHINABARGER & LUCILLE SHINABARGER JT TEN 16209 SUNSET WAY                                                                                 LINDEN             MI    48451‐9639

JAMES C SHIRLEY                                  936 SHERRY CIR                                                                                   HIXSON             TN    37343‐4767
JAMES C SHRUM                                    4070 JEFFERSON DR                                                                                STERLING HEIGHTS   MI    48310‐4556

JAMES C SHYR                                     6F #55 SECTION 1 ANHE RD                TAIPEI                                 106 TAIWAN
JAMES C SIMPSON                                  8212 DOW RD                                                                                      CHARLOTTE          NC    28269‐1768
JAMES C SIMS                                     216 TITHELO RD                                                                                   CANTON             MS    39046‐9765
JAMES C SLAPPEY                                  2734 SUMMERFIELD PL                                                                              PHENIX CITY        AL    36867‐7348
JAMES C SMARTT                                   30415 PURITAN                                                                                    LIVONIA            MI    48154‐3263
JAMES C SMIDEBUSH                                PO BOX 726                                                                                       NASHVILLE          IN    47448‐0726
JAMES C SMILEY                                   8545 OLD PLANK RD                                                                                GRAND BLANC        MI    48439‐2044
JAMES C SMITH                                    1897 BURR ST                                                                                     GARY               IN    46406‐2603
JAMES C SMITH & ELLEN S SMITH JT TEN             3905 IVY TERRACE COURT NW                                                                        WASHINGTON         DC    20007‐2138
JAMES C SNODGRASS                                14566 ASBURY PK                                                                                  DETROIT            MI    48227‐1459
JAMES C SPARKS JR                                678 SHENANDOAH DR                                                                                CLAWSON            MI    48017‐3001
JAMES C SPERA                                    1395 ELM STREET                                                                                  DENVER             CO    80220‐2514
JAMES C SPOERR                                   4401 TOWNLINE 79                                                                                 GEENWICH           OH    44837‐9312
JAMES C STAMAND & MARTHA LEE STAMAND JT TEN      11 CARTERS LN                                                                                    NEWINGTON          NH    03801‐2703

JAMES C STARLING                                 1804 HAZEL DR                                                                                    FLORENCE           SC    29501‐6338
JAMES C STEADHAM                                 4104 HWY 922                                                                                     FORESTBURG         TX    76239‐9760
JAMES C STEPHENS                                 13022 S MORROW CIR                                                                               DEARBORN           MI    48126‐1543
JAMES C STEPHENS                                 116 ASH HILLERY                                                                                  DANVILLE           IL    61832
JAMES C STROUD                                   830 BUCK LANE                                                                                    HAVERFORD          PA    19041‐1204
JAMES C SUBLET                                   2743 12TH ST                                                                                     CUYAHOGA FALLS     OH    44223‐2207
JAMES C TAMBURRINO                               727 ALDWORTH RD                                                                                  BALTIMORE          MD    21222‐1305
JAMES C TAYLOR                                   13306 CINCO ST                                                                                   DALLAS             TX    75234‐5002
JAMES C TAYLOR                                   3540 PUTNAM RD                                                                                   HALE               MI    48739‐8967
JAMES C TAYLOR                                   2378 MONTEREY ST                                                                                 DETROIT            MI    48206‐1252
JAMES C TESSIN & ELLEN E TESSIN JT TEN           213 STUTTGART CIR                                                                                COLLEGE STATION    TX    77845‐3944
JAMES C THOMAS                                   5082 ROBERTS DRIVE                                                                               FLINT              MI    48506‐1556
JAMES C THOMSON & SELMA W THOMSON TEN ENT        923 SOUTH FOURTH ST                                                                              CHAMBERSBURG       PA    17201‐3756

JAMES C TIMMRECK CUST JESSICA LYNN TIMMRECK      10 BAILEY LN                                                                                     BRUNSWICK          ME    04011‐1704
UTMA FL
JAMES C TOFT & JACQUELINE TOFT BODINE JT TEN     267 N ST                                                                                         SEASIDE PARK       NJ    08752‐1332
JAMES C TOMLIN                                   4162 S HARVARD BLVD                                                                              LOS ANGELES        CA    90062‐1734
JAMES C TUCKER                                   4824 E CRYSTAL LANE                                                                              PARADISE VLY       AZ    85253
JAMES C VAN DE VUSSE                             993 S SANTA FE AVE                      # 89                                                     VISTA              CA    92083‐6910
JAMES C VAN DEUSEN                               897 COUNTY HIGHWAY #34                                                                           SCHENEVUS          NY    12155‐2103
JAMES C VAN LUVEN                                12033 WILSON RD                                                                                  OTISVILLE          MI    48463‐9700
JAMES C VAN NEST                                 6581 DEER MEADOWS DRIVE                                                                          HUBER HEIGHTS      OH    45424‐7043
JAMES C VANCE                                    1030 ACORN BAY DR                                                                                GALLOWAY           OH    43119‐8505
JAMES C VANCE                                    2539 E HIGHWOOD                                                                                  FAIRFIELD          OH    45014‐4897
JAMES C VAUGHAN                                  11322 CONWAY RD                                                                                  FRONTENAC          MO    63131‐2403
JAMES C VICKERSON                                19634 WESTPHALIA ST                                                                              DETROIT            MI    48205‐1774
JAMES C VOHWINKEL                                8890 WINSTON RD                                                                                  PICKERINGTON       OH    43147‐9737
JAMES C VOLKENAND                                2047 PRITCHARD POINT DR                                                                          NAVARRE            FL    32566‐3007
JAMES C WADE                                     PO BOX 19249                                                                                     DETROIT            MI    48219‐0249
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JAMES C WALLACE                                  3036 IDLEWOOD                                                                                    YOUNGSTOWN       OH    44511‐3136
JAMES C WARD                                     44 LAKE DRIVE                                                                                    HOWELL           NJ    07731‐1508
JAMES C WATHEN                                   340 FLANDERS MEMORIAL DR                                                                         WEARE            NH    03281‐4904
JAMES C WEAVER                                   710 AUGUSTINE ST BESTFLD                                                                         WILMINGTON       DE    19804‐2606
JAMES C WHEELER                                  4511 CRISSMAN                                                                                    FLINT            MI    48505‐3536
JAMES C WHITE                                    3825 WOODSIDE DRIVE                                                                              WARREN           OH    44483‐2147
JAMES C WHITE                                    556 WARD STREET                                                                                  NILES            OH    44446‐1468
JAMES C WICKER                                   10606 NORTHERN DANCER DR                                                                         INDIANAPOLIS     IN    46234‐7619
JAMES C WIELINSKI                                3345 PINE RIVER RD                                                                               STANDISH         MI    48658‐9662
JAMES C WIKOFF                                   6807 ARBOR OAKS DR                                                                               BRADENTON        FL    34209‐7403
JAMES C WILKINS                                  101 CRESENT DR                                                                                   LAWRENCEVILLE    VA    23868‐2119
JAMES C WILKINSON JR & GLADYS W WILKINSON JT TEN 2407 HEY RD                                                                                      RICHMOND         VA    23224‐4505

JAMES C WILLIAMS                                  7301 GREENFIELD AVE                                                                             BALTIMORE        MD    21244‐2825
JAMES C WILLIAMS CUST MEREDITH S WILLIAMS UGMA    1446 FAIRWAYS EAST DR                                                                           FLUSHING         MI    48433‐2272
MI
JAMES C WILLIFORD                                 2424 NW 38TH ST                                                                                 OKLAHOMA CITY    OK    73112‐7528
JAMES C WINKLE JR                                 1561 N VINEFERA AV                                                                              KUNA             ID    83634‐5008
JAMES C WISE                                      ROUTE 2                                467 S LOUISVILLE ST                                      ACKERMAN         MS    39735‐9741
JAMES C WITHEY                                    1130 HOLLYHOCK                                                                                  GRAND BLANC      MI    48439‐8877
JAMES C WOLFE                                     31 WOLF LN                                                                                      AVELLA           PA    15312‐2006
JAMES C WOLFE & BETTY K WOLFE JT TEN              31 WOLF LN                                                                                      AVELLA           PA    15312‐2006
JAMES C WOOD II                                   11680 JEFFERSON RD                                                                              OSCEOLA          IN    46561‐9537
JAMES C WOODARD                                   RR 2 BOX 543                                                                                    PENNINGTN GAP    VA    24277‐9691
JAMES C WRIGHT JR                                 UNIT H21                               6750 U S 27 NORTH                                        SEBRING          FL    33870
JAMES C WYANT                                     1106 SPRUCE ST                                                                                  OLEAN            NY    14760‐1215
JAMES C YOUNG                                     318 W FOSS AVE                                                                                  FLINT            MI    48505‐2069
JAMES C YOUNG                                     4122 NAPLES AVE                                                                                 ERIE             PA    16509‐1530
JAMES C ZEIGLER                                   1200 KATE LOWE RD                                                                               LIVINGSTON       TX    77351‐4443
JAMES C ZERVAS                                    400 ADELAIDE AVE NE                                                                             WARREN           OH    44483‐5437
JAMES C ZUPANIC                                   6345 FODOM HUTCHINGS ROAD                                                                       GIRARD           OH    44420
JAMES CAIN                                        PO BOX 1853                                                                                     WEST JEFFERSON   NC    28694‐1853
JAMES CAISON                                      341 SKUSE RD                                                                                    GENEVA           NY    14456‐9513
JAMES CALDWELL                                    42 COUNTY RD 946                                                                                LAKE CITY        AR    72437
JAMES CALLAHAN                                    10 E CROOKED HILL RD                                                                            PEARL RIVER      NY    10965
JAMES CALLAWAY MOSS                               1494 CHATSWORTH AVENUE N                                                                        SAINT PAUL       MN    55117‐3313
JAMES CALVIN HANDY                                8423 ENSLEY LN                                                                                  LEAWOOD          KS    66206‐1440
JAMES CALVIN HUMPHREY                             711 NARROWS BRANCH RD                                                                           HARDY            KY    41531‐8803
JAMES CALVIN RICH                                 5407 W 8TH                                                                                      ANDERSON         IN    46011‐9106
JAMES CAMIOLO                                     1792 EDGEMERE DR                                                                                ROCHESTER        NY    14612‐1518
JAMES CAMPBELL                                    14259 LONGACRE                                                                                  DETROIT          MI    48227‐1356
JAMES CAMPBELL                                    700 CENTRAL ST                                                                                  HOLLISTON        MA    01746‐2414
JAMES CARL COX                                    1300 WILLOW POND RD                                                                             WEWOKA           OK    74884‐3731
JAMES CARL FLOUNLACKER                            907 COUNTRY CLUB DR                                                                             VIENNA           VA    22180‐3621
JAMES CARLSEN                                     1265 CLUB CIRCLE                                                                                BROOKFIELD       WI    53005
JAMES CARLTON SHINABARGER                         C/O LUCILLE M SHINABARGER              16209 SUNSET WAY                                         LINDEN           MI    48451‐9639
JAMES CARLTON STEWART                             7215 ROSSMAN HWY                                                                                EATON RAPIDS     MI    48827‐9302
JAMES CAROL STRANEY & STEPHANIE CECELIA STRANEY   5531 RITTER AVE                                                                                 BALTIMORE        MD    21206‐3251
TEN ENT
JAMES CARTER                                      23101 GIBRALTER                                                                                 FLAT ROCK        MI    48134‐2735
JAMES CASEY MORRIS                                3 CALICO TREE                                                                                   HAUPPAUGE        NY    11788‐2623
JAMES CASON CUST JAMES CASON UTMA PA              7 LAUREL LANE                                                                                   E STROUDSBURG    PA    18301‐9292
JAMES CAVITT                                      34643 LYNN DR                                                                                   ROMULUS          MI    48174‐1509
JAMES CHAMBERS & HELEN K CHAMBERS JT TEN          765 RINGTOWN MTNRD                                                                              CATAWISSA        PA    17820‐8108
JAMES CHARLES BARKS                               1707 E LINDRICK DRIVE                                                                           CHANDLER         AZ    85249‐8747
JAMES CHARLES JEHLE                               2883 AMBERLY                                                                                    TROY             MI    48084‐2690
JAMES CHARLES LONG MARY JEAN LONG & ANN MARIE     216 ARBORWOOD DR                                                                                GIBSONIA         PA    15044‐9227
LONG JT TEN
JAMES CHAROW & MARIAN CHAROW JT TEN               944 MULE RD                                                                                     COLUMBIA         IL    62236‐2802
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JAMES CHASTAIN                                   6600 INDIAN MEADOW LN                                                                          WEST LAFAYETTE   IN    47906‐9733
JAMES CHELLAND                                   39 MORSE ST                                                                                    CRANFORD         NJ    07016‐2750
JAMES CHELMINIAK & GAYLA R CHELMINIAK JT TEN     301 STANLEY DR                                                                                 MOSINEE          WI    54455‐8927

JAMES CHRISTOPHER BISHOP                         3221‐G REGENTS PARK LANE                                                                       GREENSBORO       NC    27455‐1965
JAMES CHRISTOPHER DUVAL                          52 LORENA ROAD                                                                                 WINCHESTER       MA    01890‐3125
JAMES CHRISTOPHER HAYS                           2030 LANCASTER SQ                                                                              ROSWELL          GA    30076‐6326
JAMES CHURN                                      15875 SUSSEX                                                                                   DETROIT          MI    48227‐2660
JAMES CIRRINCIONE                                APT 5D                                1122 YONKERS AVENUE                                      YONKERS          NY    10704‐3244
JAMES CIUPEK                                     738 PATRICIA PLACE DR                                                                          WESTLAND         MI    48185
JAMES CLARE REMEZ                                707 MARITIME WAY                                                                               N PALM BEACH     FL    33410‐3425
JAMES CLARENCE STEWART III                       306 N GRAVES ST                                                                                MCKINNEY         TX    75069‐3654
JAMES CLARK                                      130 BEAR CREEK RD E                                                                            TUSCALOOSA       AL    35405‐5926
JAMES CLARK                                      12362 E FRANKLIN                                                                               NORMAN           OK    73026‐8429
JAMES CLARK FISHER                               1 NORTHERN HILLS DRIVE                                                                         BEDFORD          IN    47421‐7498
JAMES CLASBY                                     174 HAMMOND ST                                                                                 WALTHAM          MA    02451‐3737
JAMES CLAY HAMRICK                               BOX 1                                                                                          RICHWOOD         WV    26261‐0001
JAMES CLAY JR                                    7183 TUXEDO ST                                                                                 DETROIT          MI    48204‐1238
JAMES CLAYTON MOORE III                          2300 WILMOT AVE                                                                                COLUMBIA         SC    29205‐3176
JAMES CLAYTON SWAN                               PO BOX 710                                                                                     HYMERA           IN    47855‐0710
JAMES CLEASON                                    4749 S MENTENTH DR                                                                             CANANDAIGUA      NY    14424‐8221
JAMES CLEVE READER                               439 EMERALD WAY                                                                                WEATHERFORD      TX    76085‐3656
JAMES CLIFFORD BLAYLOCK                          3266 E SR 236                                                                                  ANDERSON         IN    46017‐9710
JAMES CLIFTSON ABLES                             18111 HELEN                                                                                    DETROIT          MI    48234‐3009
JAMES CLINTON CRAWFORD                           1929 MILLER RD                                                                                 FLINT            MI    48503‐4768
JAMES CLONEY                                     16 RODMAN ST                                                                                   NARRAGANSETT     RI    02882‐3697
JAMES CLOZELL AVERY & MARY M AVERY JT TEN        641 W BUNDY AVE                                                                                FLINT            MI    48505‐2042
JAMES CLYBURN                                    12338 WILD TURKEY CRT                                                                          CREVE COEUR      MO    63141
JAMES COFFMAN & CATHLEEN A RIED JT TEN           PMB 132                               12427 HEDGES RUN DR                                      LAKE RIDGE       VA    22192‐1715
JAMES COGGINS JR                                 6838 DEER TRAIL LN                                                                             STONE MOUNTAIN   GA    30087‐5497

JAMES COGHILL                                    711 WEST 9TH ST                                                                                OGALLALA         NE    69153‐1326
JAMES COLBURN CUST BRIAN J COLBURN UGMA MI       30151 ARDMORE DR                                                                               FARMINGTON HILLS MI    48334‐2119

JAMES COLEMAN JR                                 809 EAST NORTH FIELD                                                                           PONTIAC          MI    48340‐1334
JAMES COLLAMORE                                  463 EVERET RD                                                                                  WOODLAND         ME    04736‐5308
JAMES COLLINS                                    306 AINSWORTH                                                                                  YPSILANTI        MI    48197
JAMES COLWELL                                    306 N 7TH STREET                                                                               MIDDLETOWN       IN    47356‐1018
JAMES CONNER                                     9904 LEEWARD BLVD                                                                              INDIANAPOLIS     IN    46256‐8303
JAMES CONTI CUST JESSICA TRIANO UTMA NY          60 CORDELIA AVE                                                                                STATEN ISLAND    NY    10309‐3434
JAMES COPELAND DYSON                             89 HUNTINGTON DR                                                                               BARWELL          SC    29812‐6210
JAMES COPPOLA CUST STEVEN MARK COPPOLA UGMA      8136 OAK LEAF LN                                                                               WILLIAMSVILLE    NY    14221‐2845
NY
JAMES COREY                                      456 ORMOND DR                         OSHAWA ON                              L1K 2L7 CANADA
JAMES CORNACCHIA                                 132NEW YORK AVE                                                                                NEWARK           NJ    07105‐1221
JAMES CORNISH SMITH                              405 ST JOHN CIRCLE                                                                             PHOENIXVILLE     PA    19460‐2554
JAMES COUNCIL                                    23860 FRISBEE APT 3                                                                            DETROIT          MI    48219‐4613
JAMES CRAIG HESSER & SUSAN F HESSER JT TEN       2331 BRITTANY PARC DR                                                                          FALLS CHURCH     VA    22043‐2954
JAMES CRATER                                     14 WASHINGTON ST                      APT 2B                                                   CLARK            NJ    07066‐3235
JAMES CRAVEN                                     2762 INDIAN SPRINGS ROAD                                                                       MARIANNA         FL    32446‐6889
JAMES CREEKMORE JR                               1623 NEW YORK                                                                                  LINCOLN PARK     MI    48146‐3811
JAMES CROWLEY                                    61 KENMORE PL                                                                                  GLEN ROCK        NJ    07452‐2013
JAMES CRUM                                       1734 3RD ST NE                                                                                 WINTER HAVEN     FL    33881‐2552
JAMES CRUTCHFIELD                                1413 OLIVE                                                                                     N LITTLE ROCK    AR    72114‐4232
JAMES CURRAN                                     10 FRANKLIN BLVD                      APT 506                                                  LONG BEACH       NY    11561
JAMES CURRIE & LOIS CURRIE JT TEN                8 MEADOW LANE                                                                                  GREENVILLE       PA    16125‐1205
JAMES CURTIS                                     553 SCEPTRE RD                                                                                 FORISTELL        MO    63348‐1175
JAMES D ABERNATHY & JUDITH K ABERNATHY JT TEN    1410 LIVINGSTON STREET                                                                         CARLYLE          IL    62231‐1340
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JAMES D ABRAMOVICH                                 43998 N UMBERLAND CIRCLE                                                                       CANTON            MI    48187‐2762
JAMES D ALLISON                                    1206 DIAGONAL RD                                                                               AKRON             OH    44307‐1326
JAMES D ALLRED                                     12976 CHAMPLAIN DR                                                                             MANASSAS          VA    20112‐5554
JAMES D ALMOND                                     ATTN ALMOND HARDWARE                  32086 CANTON RD                                          ALBEMARLE         NC    28001‐8055
JAMES D ARCHER                                     6423 BENT OAK HWY                                                                              ADRIAN            MI    49221‐9672
JAMES D ASHBAUGH CUST SAVANNA ASHBAUGH UTMA        769 DUEWER ROAD                                                                                WAVERLY           IL    62692‐6030
IL
JAMES D ATKINS                                     1849 RED OAK DRIVE                                                                             MANSFIELD          OH   44904‐1708
JAMES D AUBERT                                     2769 N LEFEBER AVE                                                                             MILWAUKEE          WI   53210‐1141
JAMES D BADEN & ROSE K BADEN JT TEN                621 NORTH THORN DR                                                                             ANDERSON           IN   46011‐1482
JAMES D BAILEY                                     1234 SUNSET DR SE                                                                              WINDER             GA   30680‐4249
JAMES D BAIN & LILLIAN M BAIN JT TEN               935 W RYAN RD                                                                                  COLUMBIA CITY      IN   46725‐8402
JAMES D BALSER & DIANN YVONNE BALSER JT TEN        6830N CORD 1030E                                                                               FOREST             IN   46039
JAMES D BALSLEY                                    8 SLEEPY HOLLOW                                                                                WESTFIELD          IN   46074
JAMES D BARRETT                                    20424 LEXINGTON                                                                                REDFORD            MI   48240‐1149
JAMES D BAYMAN & LINDA J BAYMAN JT TEN             BOX 494                                                                                        SOUTH WHITLEY      IN   46787‐0494
JAMES D BENSON & MARY C BENSON JT TEN              PO BOX 156                                                                                     NEW ALBIN          IA   52160‐0156
JAMES D BERGHOFF                                   1717 GRATIOT                                                                                   SAGINAW            MI   48602‐2633
JAMES D BILLINGS                                   501 DUNDEE                                                                                     VICTORIA           TX   77904‐2878
JAMES D BINDER TR JAMES D BINDER LIVING TRUST UA   1251 TORREY ROAD                                                                               GROSSE POINTE      MI   48236‐2337
1/15/99                                                                                                                                           WOOD
JAMES D BITTERLE                                   16861 HIGHLAND LN                                                                              NORTHVILLE         MI   48168‐8441
JAMES D BLACK & FRANKIE M BLACK JT TEN             24209 GRAND TRAVERSE AVE                                                                       FLAT ROCK          MI   48134‐8051
JAMES D BLANKENSHIP                                RT 1 BOX 67B                                                                                   NEW ROSS           IN   47968‐9722
JAMES D BLANKENSHIP                                3667 S ADAMS RD                                                                                ROCHESTER HLS      MI   48309‐3906
JAMES D BLEVINS                                    3722 9TH STREET WEST                                                                           LEHIGH ACRES       FL   33971‐5107
JAMES D BLUM                                       134 S LINCOLN AVE                                                                              BEAVER             PA   15009‐2818
JAMES D BODNAR                                     27229 RONEY                                                                                    TRENTON            MI   48183‐4848
JAMES D BOLGER                                     15628 LARKSPUR LANE                                                                            ORLAND PARK        IL   60462‐5012
JAMES D BOUCHER                                    7234 TORY DR                                                                                   HUDSONVILLE        MI   49426‐9066
JAMES D BOYD                                       7260 OLD HWY 61 SOUTH                                                                          DUNDEE             MS   38626
JAMES D BRANDON                                    200 EVERGREEN DR                                                                               WINSTON SALEM      NC   27106‐4919
JAMES D BRATTON                                    PO BOX 664                                                                                     STEARNS            KY   42647‐0664
JAMES D BRATTON & LOIS A BRATTON JT TEN            PO BOX 664                                                                                     STEARNS            KY   42647‐0664
JAMES D BREWER                                     2142 BERNICE                                                                                   FLINT              MI   48532‐3913
JAMES D BREWER                                     4284 MONKS RD                                                                                  PINCKNEY           MI   48169‐9003
JAMES D BRIMM                                      516 STARR RIDGE DR                                                                             LAKE WALES         FL   33898‐6891
JAMES D BROWN                                      10200 BURT RD                                                                                  BIRCH RUN          MI   48415‐9339
JAMES D BROWNLEE                                   14880 WILDEMERE ST                                                                             DETROIT            MI   48238‐2159
JAMES D BRYANT                                     22555 E 11 MILE RD                                                                             SAINT CLAIR SHORES MI   48081‐1385

JAMES D BULLOCK                                    2110 S HUGHES                                                                                  AMARILLO          TX    79109‐2212
JAMES D BURCHELL & ALVA JEAN BURCHELL JT TEN       6115 RIVER RD                                                                                  PETERSBURG        VA    23803

JAMES D BURGESS                                    36215 HARROUN                                                                                  WAYNE             MI    48184‐2012
JAMES D BURKE                                      800 W MIER RD                         LOT 118                                                  SANFORD           MI    48657‐9346
JAMES D BURKE                                      244 PORTAGE LAKE RD                                                                            MENDON            MI    49072
JAMES D BURTON                                     1335 RUSHMORE BLVD E                                                                           INDIANAPOLIS      IN    46234‐2037
JAMES D BUSSE                                      7801 CHERRY WOOD LN                                                                            VERONA            WI    53593‐9647
JAMES D BUTKUS & JUDY A BUTKUS JT TEN              12960 CREEKVIEW DR E                                                                           SHELBY TWP        MI    48315‐4710
JAMES D BUTLER                                     110 GIFFORD AVE                                                                                JERSEY CITY       NJ    07304‐1704
JAMES D CAGLE                                      C/O OLENE CAGLE                       1541 E 191ST ST      APT 107K                            EUCLID            OH    44117‐1335
JAMES D CALLAHAN II                                2049 CALDWELL ST                                                                               HAMILTON          OH    45011‐5807
JAMES D CAMPBELL                                   3975 BAYBERRY LN                                                                               LANSING           MI    48911‐6173
JAMES D CARR                                       PO BOX 449                                                                                     GENESEE           MI    48437‐0449
JAMES D CARTER                                     2816 OAKRIDGE DR                                                                               DATYON            OH    45417‐1550
JAMES D CARTER                                     2210 W PASADENA                                                                                FLINT             MI    48504‐2556
JAMES D CASEY JR & CATHRYN K CASEY TEN COM         4165 JEFFERSON S E                                                                             WYOMING           MI    49548‐3371
JAMES D CAYGILL                                    8492 DIXIE LANE                                                                                DEARBORN HTS      MI    48127‐1311
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JAMES D CHAMBERS JR                              241 EVEREST STREET                                                                              OXNARD           CA    93030‐5524
JAMES D CHAPMAN                                  12143 BEECH GROVE LN                                                                            LOVETTSVILLE     VA    20180‐2300
JAMES D CICCIO & JUDITH M CICCIO JT TEN          251 IVY DR                                                                                      BRISTOL          CT    06010‐3355
JAMES D CLAIBORNE                                815 WILDWOOD PKWY                                                                               BALTIMORE        MD    21229‐1815
JAMES D CLEMENTS                                 229 SMITH ST                                                                                    PURYEAR          TN    38251‐3417
JAMES D COCKING                                  PO BOX 944                                                                                      CROWN POINT      IN    46308‐0944
JAMES D COLE                                     217 ASHLAND DR                                                                                  STOCKBRIDGE      GA    30281‐1766
JAMES D COLE                                     11317 OUTER DR                                                                                  PINCKNEY         MI    48169‐9010
JAMES D COLLETTA                                 664 PACIFIC STAR CT                                                                             LAS VEGAS        NV    89123‐4903
JAMES D COLLEY                                   27269 GROVELAND ST                                                                              ROSEVILLE        MI    48066‐4321
JAMES D COLLINS                                  PO BOX 323                                                                                      HOPKINTON        MA    01748‐0323
JAMES D COLN                                     1955 GERALD MILLER RD                                                                           PRESCOTT         MI    48756‐9226
JAMES D CONATSER                                 199 NEW HOPE CH LN                                                                              JAMESTOWN        TN    38556‐6464
JAMES D COPENHAVER                               5131 PIERCE RD                                                                                  WARREN           OH    44481‐9308
JAMES D COULOPOULOS & THALIA V COULOPOULOS JT    2205 FALLEN OAKS                                                                                WESTLAKE         OH    44145‐4384
TEN
JAMES D COURTNEY                                 2330 ECUDORIAN WAY APT 16                                                                       CLEARWATER       FL    33763‐3541
JAMES D CRAWFORD JR                              PO BOX 3162                                                                                     VENTURA          CA    93006‐3162
JAMES D CRIBBS                                   11650 ROSEMONT AVE                                                                              DETROIT          MI    48228‐1133
JAMES D CROSS                                    5019 HAYS DR                                                                                    COLUMBIA         TN    38401‐5018
JAMES D CULBERTSON                               23439 HIGHWAY TT                                                                                VERSAILLES       MO    65084‐5423
JAMES D CURTIS                                   4100 DECKERVILLE ROAD                                                                           CASS CITY        MI    48726‐9773
JAMES D CURTIS                                   3379 HIGHWAY 36 WEST                                                                            HARTSELLE        AL    35640‐7404
JAMES D DATINI                                   1359 AUSTIN                                                                                     LINCOLN PARK     MI    48146‐2004
JAMES D DAVISON                                  1615 TANGLEWOOD WAY                                                                             CONVERS          GA    30012‐4058
JAMES D DAWSON                                   12718 LONGWORTH AVE                                                                             NORWALK          CA    90650‐2667
JAMES D DILLOW                                   PO BOX 905                                                                                      ROUNDUP          MT    59072‐0905
JAMES D DOUGLASS                                 4059 BLUEBIRD DR                                                                                WALDORF          MD    20603‐4514
JAMES D DOWSETT                                  2215 LILY CT                                                                                    DAVISON          MI    48423‐8388
JAMES D DUELL                                    30263 VIEWCREST DR                                                                              NOVI             MI    48377‐2345
JAMES D DUNAWAY                                  3610 HAMPTON PLACE                                                                              MIDDLETOWN       OH    45042‐3706
JAMES D DYKSTRA                                  7394 TELEPHONE RD                                                                               LE ROY           NY    14482‐8957
JAMES D ECKEL                                    5 HILLPINE RD                                                                                   BUFFALO          NY    14227‐2240
JAMES D EDLUND                                   13274 19 MILE RD                                                                                GOWEN            MI    49326‐9765
JAMES D ELDER                                    1612 BASS BASS LAKE RD                                                                          TRAVERSE CITY    MI    49684‐8196
JAMES D ELKIN                                    1329 PRAYVIEW CT                                                                                LOVELAND         OH    45140‐8707
JAMES D ELLIS                                    16620 LAUDER                                                                                    DETROIT          MI    48235‐4508
JAMES D EMERSON                                  236 WINDCHIMES CIR                                                                              DEMOREST         GA    30535‐3034
JAMES D ENGLEMAN                                 10496 OAK WOOD DR                                                                               BYRON            MI    48418‐9026
JAMES D ERICKSON                                 14 SAINT ANDREWS CIRCLE                                                                         BROKEN ARROW     OK    74011
JAMES D ESKRIDGE                                 1555 TAMARA TRL                                                                                 XENIA            OH    45385‐9590
JAMES D EWING & NANCY A EWING TR UA 05/20/2005   18701 LAMSON RD                                                                                 CASTRO VALLEY    CA    94546
EWING 2005 TRUST
JAMES D FARLEY                                   65 S LINKS DR                                                                                   COVINGTON        GA    30014‐3963
JAMES D FELLWOCK                                 1412 CREEKVIEW DR                                                                               LEWISVILLE       TX    75067‐4994
JAMES D FINK                                     4113 FAREDALE LANE                                                                              ST CHARLES       MO    63304‐7431
JAMES D FISHER                                   5514 DUNK DR                                                                                    INDIANAPOLIS     IN    46224‐1327
JAMES D FISHER                                   864 PERKINSWOOD S E                                                                             WARREN           OH    44484‐4471
JAMES D FITCH                                    2014 LELAND AVE                                                                                 BALTIMORE        MD    21220‐3928
JAMES D FITZPATRICK                              1001 CHALK HILL LN                                                                              HASLET           TX    76052‐4149
JAMES D FORD                                     1081 MOODVIEW DR                                                                                FLINT            MI    48507‐4719
JAMES D FORD                                     1134 E 114TH ST                                                                                 CLEVELAND        OH    44108‐3745
JAMES D FORREST                                  5910 WILSON RD RT #3                                                                            LANCASTER        OH    43130‐9585
JAMES D FOSTER                                   RR 2                                                                                            SUMMITVILLE      IN    46070‐9802
JAMES D FOSTER                                   1029 HIGHWAY EE                                                                                 WINFIELD         MO    63389‐2105
JAMES D FOX                                      303 LINCOLN DR                                                                                  FREDERICKTOWN    MO    63645‐7277
JAMES D FRAZER                                   16074 E GLENN VALLEY DR                                                                         ATHENS           AL    35611‐3957
JAMES D GARLAND                                  #11615 HAWTHORNE GLEN COURT                                                                     GRAND BLANC      MI    48439‐1378
JAMES D GARREN                                   765 STEPP ROAD                                                                                  HENDERSONVILLE   NC    28792‐6592
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JAMES D GAY                                    5065 LAKE FORREST DR NE                                                                       ATLANTA           GA    30342
JAMES D GEESLING                               288 ALLAN CHAPEL RD                                                                           HILLHAM           TN    38568‐5801
JAMES D GEIGER & ELIZABETH S GEIGER JT TEN     601 S VERNON AVE                                                                              FLINT             MI    48503‐2288
JAMES D GLUYS                                  2388 QUINCY AVE                                                                               PORTAGE           MI    49024‐4808
JAMES D GORE & MRS ETHEL Z GORE JT TEN         5046 CAPEHART ST                                                                              SAN DIEGO         CA    92117‐1110
JAMES D GOURLEY                                2990 N TOWER WAY NE                                                                           CONYERS           GA    30012‐2650
JAMES D GRAY                                   1704 LITTLETON CT                                                                             WINTER SPRINGS    FL    32708‐6142
JAMES D GREESON SR                             3793 CARTER RD                                                                                BUFORD            GA    30518
JAMES D GRIFFIN & AVIS K GRIFFIN JT TEN        3022 S BANTAM ROAD                                                                            BETHEL            OH    45106‐9354
JAMES D GROESBECK                              4409 GAINES RANCH LOOP               APT 515                                                  AUSTIN            TX    78735‐6533
JAMES D HACKLEY                                7 GREENEVIEW DR                                                                               JAMESTOWN         OH    45335‐1536
JAMES D HAGEN                                  320 N BUFFALO ST                                                                              SPRINGVILLE       NY    14141‐1320
JAMES D HALL                                   3086 CONCORD ST                                                                               TRENTON           MI    48183‐3492
JAMES D HALL                                   5477 W 200 N                                                                                  MARION            IN    46952‐6773
JAMES D HALL JR                                302 OAK CIRCLE                                                                                TRINIDAD          TX    75163‐5077
JAMES D HALLIDAY                               2152 OGDEN AVE N W                                                                            WARREN            OH    44483‐3252
JAMES D HAMILTON & VICKI L HAMILTON JT TEN     18333 DEVALL RD                                                                               SPENCERVILLE      IN    46788‐9225
JAMES D HAMMOCK                                24752 HOPKINS ST                                                                              DEARBORN HTS      MI    48125‐1619
JAMES D HANSON                                 2234 WEST BLVD                                                                                HOLT              MI    48842‐1014
JAMES D HARMON                                 3541 EXCHANGE DR                                                                              JACKSON           MS    39212‐4820
JAMES D HARMON & JEANNE HARMON JT TEN          BOX 1936                                                                                      FARMINGTON        NM    87499‐1936
JAMES D HARRIS                                 3 KARLYN DR                                                                                   NEW CASTLE        DE    19720‐1237
JAMES D HARRIS                                 1652 CEDAR CT                                                                                 BELLBROOK         OH    45305‐1105
JAMES D HASTINGS                               401 CHARLESTON DR                                                                             VICTORIA          TX    77904‐3816
JAMES D HATFIELD                               5418 ROYAL OAK DRIVE                                                                          FORT WAYNE        IN    46835
JAMES D HEADAPOHL                              31478 ROSSLYN                                                                                 GARDEN CITY       MI    48135‐1344
JAMES D HEEBSH & SANDRA L HEEBSH JT TEN        3461 FAIRWOOD DRIVE                                                                           LAMBERTVILLE      MI    48144‐9647
JAMES D HEMPHILL                               107 CLAREMONT ST                                                                              JOHNSTOWN         PA    15904‐2131
JAMES D HERMAN                                 1906 S LINCOLN ST                                                                             BAY CITY          MI    48708‐8169
JAMES D HERMILLER                              20390 US HIGHWAY 24                                                                           DEFIANCE          OH    43512‐9080
JAMES D HILL                                   126 EWEN RD                          HAMILTON ON                            L8S 3C7 CANADA
JAMES D HILLMAN                                2857 HOTTIS ROAD                                                                              WHITTEMORE        MI    48770‐9778
JAMES D HILLOCK                                19146 MCKINNON                                                                                ROSEVILLE         MI    48066‐1220
JAMES D HITCHNER                               693 MEHRING ROAD                                                                              LITTLESTOWN       PA    17340‐9158
JAMES D HOLLOWAY                               62 CARL CROLEY RD                                                                             WILLIAMSBURG      KY    40769‐9138
JAMES D HOLZWORTH                              5723 UP A WAY DR                                                                              FREDERICKSBRG     VA    22407‐6730
JAMES D HOSKINS                                BOX 154                                                                                       CLEVELAND         TN    37364‐0154
JAMES D HOWARD                                 821 E AGUARIUS COURT                                                                          GRANBURY          TX    76049‐1388
JAMES D HOWELL & SHARON N HOWELL JT TEN        169 SUNRIDGE DR                                                                               MT LEBANON        PA    15234‐1020
JAMES D HURLEY                                 1306 HARMON AVE                                                                               HAMILTON          OH    45011‐4552
JAMES D HURST & MARY L HURST JT TEN            1719 W TETON DR                                                                               PEORIA            IL    61614‐2637
JAMES D HUTCHISON                              R R NO 2 BOX 61                                                                               HILLSBORO         WI    54634‐9517
JAMES D JACKLEN                                6612 3RD AVE S                                                                                RICHFIELD         MN    55423‐2414
JAMES D JACKSON                                1419 WADE PATRICK RD                                                                          BRANDON           MS    39042‐9399
JAMES D JACKSON                                25144 LEROY                                                                                   TAYLOR            MI    48180‐6401
JAMES D JACKSON                                RD 2 BOX 146                                                                                  MAYVILLE          NY    14757
JAMES D JACKSON                                3398 CRANDON DR                                                                               DAVISON           MI    48423‐8579
JAMES D JACOBS                                 7430 E 625 S                                                                                  WOLCOTTVILLE      IN    46795
JAMES D JANDASEK                               10337 GREENBRIER                                                                              BRIGHTON          MI    48114‐9662
JAMES D JANOS                                  1065 CHERRY LANE                                                                              LOMBARD           IL    60148‐4033
JAMES D JONES                                  8097 PARSONS PASS                                                                             NEW ALBANY        OH    43054‐7068
JAMES D KANALEY & LISA J KANALEY JT TEN        23 B EAST ST                                                                                  HONEOYE FALLS     NY    14472‐1207
JAMES D KARR                                   1713 HILLCREST DRIVE                                                                          ROCHESTER HILLS   MI    48306‐3141
JAMES D KEATON                                 3901 GABLE LANE CIR                  APT 117                                                  INDIANAPOLIS      IN    46228‐6314
JAMES D KEES                                   82 DOE RUN ROAD                                                                               INWOOD            WV    25428‐4123
JAMES D KEITH                                  1540 KILLDEER LN                                                                              JANESVILLE        WI    53546‐2953
JAMES D KELLEY                                 12292 BRISTOL ROAD                                                                            LENNON            MI    48449‐9404
JAMES D KENT                                   88 HURT RD                                                                                    SMYRNA            GA    30082
JAMES D KENT                                   PO BOX 244                                                                                    MILTON            NY    12547‐0244
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JAMES D KERR                                      871 THURSTON RD                                                                              MEADVILLE       PA    16335‐7911
JAMES D KESSELRING                                10455 GERONIMOS TR                                                                           GAYLORD         MI    49735‐9675
JAMES D KESSLER                                   10133 N PARK AVE                                                                             KANSAS CITY     MO    64155‐2969
JAMES D KESSLER                                   15 WILLOW DR                                                                                 PORT DEPOSIT    MD    21904‐1660
JAMES D KIMBROUGH                                 1290 NANCY GREEN RIDGE RD                                                                    PROSPECT        TN    38477‐6520
JAMES D KING & VIRGINIA M KING TR KING LIVING     8523 THACKERY ST APT 7001                                                                    DALLAS          TX    75225‐3915
TRUST UA 04/23/96
JAMES D KIRBY                                     1809 ZUBER RD                                                                                GROVE CITY      OH    43123‐8902
JAMES D KOENIG                                    61 NEFF DR                                                                                   CANFIELD        OH    44406‐1344
JAMES D KOUTNY                                    607 WALNUT ST                       APT 4                                                    LEMONT          IL    60439‐4061
JAMES D KRAPEK                                    1249 ADA ST                                                                                  OWOSSO          MI    48867‐1664
JAMES D KRAUSE                                    8830 NORMANDY LANE                                                                           CENTERVILLE     OH    45458‐3404
JAMES D KREGER JR                                 4417 MEETING HOUSE DR                                                                        GREENSBORO      NC    27410‐9704
JAMES D KREGER JR & KATHLYN A KREGER JT TEN       4417 MEETING HOUSE DR                                                                        GREENSBORO      NC    27410‐9704
JAMES D LAGALO                                    3806 CHURCH                                                                                  SAGINAW         MI    48604‐1735
JAMES D LAMBERT & CONNIE J LAMBERT JT TEN         22336 FAIRWAY DR NO                                                                          WOODHAVEN       MI    48183‐3107
JAMES D LAVERY                                    53 LEROY                                                                                     CLAWSON         MI    48017‐1205
JAMES D LAVERY & FRANCES A LAVERY JT TEN          53 LE ROY                                                                                    CLAWSON         MI    48017‐1205
JAMES D LAWRENCE                                  2902 HWY 923                                                                                 JONESVILLE      LA    71343‐6269
JAMES D LAWRENCE CUST DOUGLAS EDWARD              9615 CINNAMON CREEK DR                                                                       VIENNA          VA    22182‐1429
LAWRENCE UGMA DE
JAMES D LEE                                       819 LAKE SHORE DR                                                                            COLUMBIAVILLE   MI    48421‐9739
JAMES D LEONARD                                   313 MAPLE ST                                                                                 CHAPEL HILL     TN    37034‐3207
JAMES D LESSARD                                   8070 FAIRVIEW                                                                                JACKSON         MI    49201‐9242
JAMES D LEWIS                                     50 BEDLOW AVE                                                                                NEWPORT         RI    02840‐1445
JAMES D LEWIS & MRS MICHALEEN A LEWIS JT TEN      1617 16TH ST                                                                                 WYANDOTTE       MI    48192‐3628

JAMES D LITTLE & JUDITH C LITTLE TEN ENT       9319 GLENELLEN DR                                                                               PITTSBURGH      PA    15237‐5952
JAMES D LIVERS                                 244 JOLIET                                                                                      CINCINNATI      OH    45215‐1052
JAMES D LOCHHEAD                               PO BOX 1437                                                                                     MIDLOTHIAN      VA    23113‐8437
JAMES D LONG                                   318 ARDEN RD                                                                                    BALTIMORE       MD    21225‐2606
JAMES D LUCAS III                              27 1/2 WENTWORTH ST                                                                             CHARLESTON      SC    29401‐1625
JAMES D LYNN                                   3919 ARTMAR DRIVE                                                                               YOUNGSTOWN      OH    44515‐3305
JAMES D LYNN & DOLORES A LYNN JT TEN           3919 ARTMAR DRIVE                                                                               YOUNGSTOWN      OH    44515‐3305
JAMES D MAC MILLAN                             15 HATHAWAY DRIVE                      COURTICE ON                            L1E 1T7 CANADA
JAMES D MANCINI                                14305 CRANSTON ST                                                                               LIVONIA         MI    48154‐4250
JAMES D MARTIN                                 615 STOCKMAIN LANE                                                                              LINCOLN         CA    95648‐8652
JAMES D MASON SR                               496 EMERSON ST                                                                                  FREMONT         CA    94539‐5224
JAMES D MASSI & DEBRA J MASSI JT TEN           1808 DERBYSHIRE DR                                                                              LAS VEGAS       NV    89117‐5353
JAMES D MASTERS                                2121 JEFFEY DR                                                                                  HILLIARD        OH    43026‐8441
JAMES D MATTHEWS                               26103 GODDARD                                                                                   TAYLOR          MI    48180‐3971
JAMES D MATUSZEWSKI                            211 SOUTH 92 ST                                                                                 MILWAUKEE       WI    53214‐1249
JAMES D MAUSER                                 18 KEEL LANE                                                                                    NANTUCKET       MA    02554‐4309
JAMES D MC GRATH & KATHRYN B MC GRATH TR UW OF 247 VARSITY ESTATES GROVE NW           CALGARY AB                             T3B 4C8 CANADA
CAROLYN LOREEN MCGRATH
JAMES D MC INTOSH                              9330 ALLEN ROAD                                                                                 CLARKSTON       MI    48348‐2727
JAMES D MC LOUGHLIN                            1315 S QUEEN ST                                                                                 PALMYRA         PA    17078‐3551
JAMES D MCAFEE                                 15202 W 91ST PL                                                                                 LENEXA          KS    66219‐1147
JAMES D MCAFOOSE & JUDITH A MCAFOOSE JT TEN    6005 NE GREENBRIAR ST                                                                           LEES SUMMIT     MO    64064‐2433

JAMES D MCCLIGGOTT                            7980 WALTERS DR                                                                                  LAINGSBURG      MI    48848‐8794
JAMES D MCDERMOTT                             695 OVERLAND AVE                                                                                 CINCINNATTI     OH    45226‐1941
JAMES D MCDERMOTT                             4 PARK ROAD                             APARTMENT 10                                             WHEELING        WV    26003‐6664
JAMES D MCDONALD                              143 LAKEWAY RD                                                                                   COUSHATTA       LA    71019‐9642
JAMES D MCDOUGAL & KATHLEEN C MCDOUGAL JT TEN 3350 E CLARICE                                                                                   HIGHLAND        MI    48356‐2316

JAMES D MCIVER                                    1455 TURFWOOD DR                                                                             PFAFFTOWN       NC    27040‐9599
JAMES D MCLAUGHLIN                                6502 E 10TH                                                                                  WICHITA         KS    67206‐1324
JAMES D MCLAUGHLIN                                340 WELCOME WAY                                                                              CARLISLE        OH    45005‐3254
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JAMES D MCMANUS                                  8787 E MOUNTAIN VIEW RD                APT 1074                                                 SCOTTSDALE         AZ    85258‐1459
JAMES D MCNAIR                                   3989 PRAIRIE DUNES DR                                                                           SARASOTA           FL    34238‐2819
JAMES D MEDINA                                   2149 BOYDEN DR                                                                                  LINCOLN            CA    95648‐1693
JAMES D MELTON                                   39 LOGAN CROSSING CI                                                                            O FALLON           MO    63366‐1497
JAMES D METZ                                     9732 N COUNTY RD 300 E                                                                          BRAZIL             IN    47834‐7640
JAMES D MICHAELIS & MRS SHARON M MICHAELIS JT    553 5TH RD                                                                                      DODGE              NE    68633‐4038
TEN
JAMES D MIDDLETON & MRS JANICE V MIDDLETON JT    183 LONGVIEW DR                                                                                 WEBSTER            NY    14580‐1409
TEN
JAMES D MILLER                                   1337 BECK ST                                                                                    LEBANON            IN    46052‐2906
JAMES D MILLER JR                                408 N STATE ST                                                                                  WESTVILLE          IL    61883‐1428
JAMES D MINKS & MARTHA A MINKS JT TEN            5294 COMET DR                                                                                   GREENWOOD          IN    46143‐8938
JAMES D MITCHELL                                 38128 CASTLE DRIVE                                                                              ROMULUS            MI    48174‐4706
JAMES D MITCHELL                                 10508 PINE TREE LN                                                                              GOODRICH           MI    48438‐9452
JAMES D MOFFAT & DIANE J MOFFAT JT TEN           #12 GEORGETOWN RD                                                                               CHESTERFIELD       MO    63017‐7919
JAMES D MONCREASE JR                             9946 METTETAL                                                                                   DETROIT            MI    48227‐1639
JAMES D MONIN III                                1269 EVERETT AVE                                                                                LOUISVILLE         KY    40204‐2259
JAMES D MOON                                     53 E MEADOW LN                                                                                  CONYERS            GA    30012‐6402
JAMES D MOORE                                    510 N GIRLS SCHOOL RD                                                                           INDIANAPOLIS       IN    46214‐3656
JAMES D MORRISON                                 7745 BROOKWOOD NE                                                                               WARREN             OH    44484‐1542
JAMES D MORTIMER & PATRICIA B MORTIMER JT TEN    634 DIVISION ST                                                                                 BARRINGTON         IL    60010‐4517

JAMES D MOYER                                    1014 E CROWN POINTE BLVD                                                                        GREENSBURG         IN    47240‐7969
JAMES D MULLEN                                   14681 DAY RD                                                                                    MOUNT ORAB         OH    45154‐9017
JAMES D MULLEN JR                                2 STONEHOUSE HILL RD                                                                            NORTH EASTON       MA    02356‐1109
JAMES D MUSSULMAN                                1311 OLD CHURCH RD                                                                              MARSHFIELD         MO    65706‐9412
JAMES D NAPIER & BRENDA J NAPIER JT TEN          10021 SW 99TH AVE                                                                               OCALA              FL    34481‐9062
JAMES D NEFF                                     6858 LADOGA RD                                                                                  NORTH SALEM        IN    46165‐9485
JAMES D NELSON                                   1307 REGENCY CT                                                                                 SOUTHLAKE          TX    76092‐9514
JAMES D NEWLAND                                  154 KOHLER RD                                                                                   FREDONIA           WI    53021‐9619
JAMES D NEWLAND & MARY C NEWLAND JT TEN          154 KOHLER RD                                                                                   FREDONIA           WI    53021‐9619
JAMES D NICHOLS                                  4257 E VIENNA RD                                                                                CLIO               MI    48420‐9752
JAMES D NJOS                                     2432 S LINCOLN ST APT 1                                                                         DENVER             CO    80210
JAMES D NOEL                                     2445 N FIRST STREET                                                                             JENA               LA    71342
JAMES D NOTTINGHAM                               104 COVENTRY WYND RD                                                                            KINGSPORT          TN    37664‐4876
JAMES D O DEA                                    650 S HURD RD RT #3                                                                             OXFORD             MI    48371‐2834
JAMES D OCHMANSKI & CYNTHIA L OCHMANSKI JT TEN   48180 FULLER                                                                                    CHESTERFIELD TWP   MI    48051‐2922

JAMES D ORLANDO                                  43751 RIVERGATE DRIVE                                                                           CLINTON TWP        MI    48038‐1359
JAMES D PAHL                                     2640 HENIS RA LANE                                                                              GREEN BAY          WI    54304‐1308
JAMES D PARHAM                                   1317 VICTOR AVE                                                                                 LANSING            MI    48910‐2571
JAMES D PARSON                                   106 MINE RD                                                                                     HERSHEY            PA    17033‐2142
JAMES D PARSONS JR                               7 ESSEX PL                                                                                      BRONXVILLE         NY    10708‐5704
JAMES D PASCARELLA                               805 JOHNSON RD                                                                                  CHURCHVILLE        NY    14428‐9366
JAMES D PASZKIEWICZ                              S 68 W 17851 MARY BECK LANE                                                                     MUSKEGO            WI    53150‐8508
JAMES D PATE                                     1909 MEADOWBROOK DR                                                                             CAMDEN             SC    29020‐9514
JAMES D PATTERSON                                335 PLANTATION DRIVE                                                                            AIKEN              SC    29803‐5827
JAMES D PAXTON                                   9978 CASCADE                                                                                    DETROIT            MI    48204‐1412
JAMES D PAYNE                                    4190 S STATE ROUTE 721                                                                          LAURA              OH    45337‐9748
JAMES D PERKINS                                  2266 GOVERNMENT RD                                                                              PROVIDENCE         KY    42450‐9434
JAMES D PETIO                                    461 CONANT AVE                                                                                  UNION              NJ    07083‐7722
JAMES D PHILLIPS                                 7765 E TIPP ELIZABETH ROAD                                                                      NEW CARLISLE       OH    45344‐9687
JAMES D PHILLIPS                                 BOX 181                                                                                         FLOWERY BRANC      GA    30542‐0004
JAMES D PHILLIPS & MAUREEN M PHILLIPS JT TEN     7107 BEAVER TRAIL                                                                               KALEVA             MI    49645‐9605
JAMES D PIWARSKI                                 3695 LOTUS DRIVE                                                                                WATERFORD          MI    48329‐1354
JAMES D POLLOCK                                  18785 NW NELSCOTT ST                                                                            PORTLAND           OR    97229‐3209
JAMES D POTTINGER                                4549 PECAN CREEK DR                                                                             MIDLOTHIAN         TX    76065
JAMES D POWELL                                   10 OLD GOGGIN RD                                                                                DANVILLE           KY    40422‐9320
JAMES D PRUETT                                   631 E TENNYSON                                                                                  PONTIAC            MI    48340‐2959
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JAMES D PUTNAM                                   12774 MAXWELL ROAD                                                                            CARLTON            MI    48117‐9700
JAMES D QUICKEL & MRS RUTH K QUICKEL TEN ENT     172 WESLEY DR                                                                                 WILMORE            KY    40390‐9795

JAMES D QUINN                                    6530 W EVERGREEN DRIVE                                                                        FAIRVIEW           PA    16415‐1712
JAMES D QUINN & MRS JANET R QUINN JT TEN         6530 W EVERGREEN DRIVE                                                                        FAIRVIEW           PA    16415‐1712
JAMES D R LIDDY                                  APT E                                1924 E PARK PL                                           MILWAUKEE          WI    53211‐3661
JAMES D RADICHES                                 92 PINEHURST AVE APT 3B                                                                       NEW YORK           NY    10033‐1708
JAMES D RAINEY                                   777 HIGHOAKS CIRCLE                                                                           BEAVERCREEK        OH    45434‐6014
JAMES D RALSTON                                  4725 S MORRISON RD                                                                            ALGER              MI    48610‐9358
JAMES D RAMEY                                    732 COBBLER LN                                                                                MT STERLING        KY    40353‐1385
JAMES D RAY                                      549 W KIVA                                                                                    MESA               AZ    85210‐6821
JAMES D REAGAN                                   275 ANN ST                                                                                    HILLSBOROUGH       NJ    08844‐5105
JAMES D RHOADS & ANNA T RHOADS JT TEN            4404 SHERMAN OAKS CIR                                                                         SHERMAN OAKS       CA    91403‐3821
JAMES D RICHARDS                                 4874 N WASHINGTON ST                                                                          DANVILLE           IN    46122
JAMES D RICHARDS & REGEANA DOLORES RICHARDS &    8105 SAKADEN PKWY                                                                             FORT WAYNE         IN    46825‐2926
JANICE D RICHARDS JT TEN
JAMES D RICHARDSON                               205 SPRUCE ST                                                                                 SHENANDOAH         IA    51601‐2049
JAMES D RIDDLE                                   134 GREENWOOD DR                                                                              HERMITAGE          PA    16148‐4116
JAMES D RIGSBY                                   1314 WEST GREEN HILL RD                                                                       MCMINVILLE         TN    37110‐7860
JAMES D ROBINSON                                 1203 S TAXIWAY KING                                                                           LAKE CITY          MI    49651‐9429
JAMES D ROSE & KATHRYN L ROSE JT TEN             10419 GRAY KNOLL TRL                                                                          SALINE             MI    48176
JAMES D ROSS                                     433 S COUNTY ROAD 565                                                                         NEGAUNEE           MI    49866‐1809
JAMES D ROSS & MRS LILLIAN H ROSS JT TEN         8528 VIBURNUM COURT                                                                           PORT SAINT LUCIE   FL    34952‐3375
JAMES D RUSSELL                                  210 E THRUSH AVE                                                                              CRESTLINE          OH    44827‐1172
JAMES D SALUGA                                   2752 ASPEN DR                                                                                 GIRARD             OH    44420‐3172
JAMES D SAMPIER & AMY L SAMPIER JT TEN           4175 OLD OSPREY CIR                                                                           MIAMISBURG         OH    45342‐0704
JAMES D SANDERS JR                               23449 RANCH HILL W DR                                                                         SOUTHFIELD         MI    48034‐3187
JAMES D SCHICHTEL                                14642 INDIAN TRAILS DR                                                                        GRAND HAVEN        MI    49417‐9538
JAMES D SCHULTZ & RUTH E SCHULTZ JT TEN          4409 N AINGER ROAD                                                                            CHARLOTTE          MI    48813‐8863
JAMES D SHAFFER & LINDA D SHAFFER JT TEN         191 ACADIA AVE                                                                                FRANKLIN           TN    37064‐4848
JAMES D SHANNON                                  2549 BINGHAM AVE                                                                              DAYTON             OH    45420‐3724
JAMES D SHERMAN                                  9749 E CAMINO REAL                                                                            ARCADIA            CA    91007‐7834
JAMES D SIGMAN                                   5263 PINE CREEK RD                                                                            MANISTEE           MI    49660‐9124
JAMES D SIMON                                    3920 MEADOWOOD LN SW                                                                          GRANDVILLE         MI    49418‐2036
JAMES D SLADE                                    12830 ROSEMARY                                                                                DETROIT            MI    48213‐1470
JAMES D SLATER                                   437 E NELSON ST                                                                               CADILLAC           MI    49601‐1948
JAMES D SMITH                                    1705 CRESTED BUTTE                                                                            AUSTIN             TX    78746
JAMES D SMITH                                    311 CARROL GREENLEE RD                                                                        RUTLEDGE           TN    37861
JAMES D SMITH                                    229 NAVAHO TRAIL                                                                              WILMINGTON         NC    28409‐3227
JAMES D SMITH & ALBERTA E SMITH JT TEN           1328 DUFFIELD ROAD                                                                            FLUSHING           MI    48433‐9707
JAMES D SMITH & TERRY A SMITH JT TEN             24519 CAMBRIDGE                                                                               WOODHAVEN          MI    48183‐3717
JAMES D SPERK                                    153 DORLAND AVE                                                                               BEREA              OH    44017‐2803
JAMES D ST JOHN                                  13443 BLUE SHORE DR                                                                           TRAVERSE CITY      MI    49686‐8587
JAMES D STARK                                    5701 WESTBRIAR DR                                                                             HILLIARD           OH    43026‐8153
JAMES D STEPHENS                                 PO BOX 97                                                                                     LAMAR              SC    29069‐0097
JAMES D STEPHENS                                 RFD 3 BOX 53A                                                                                 LINDEN             TN    37096‐9510
JAMES D STETSON IV                               714 GRAYSON RD                                                                                PLEASANT HILL      CA    94523‐2638
JAMES D STEVENS                                  1237 KEBLE LANE                                                                               OXFORD             MI    48371‐5905
JAMES D STEWART                                  4125 MANKE RD                                                                                 FAIRGROVE          MI    48733‐9746
JAMES D STRICKLING                               349 RINEHART ROAD                                                                             BELLVILLE          OH    44813‐9175
JAMES D STROUP                                   126 EDINBURGH DR                                                                              NEW CASTLE         DE    19720‐2317
JAMES D SUTHERLAND                               1248 WEISER AV                                                                                AKRON              OH    44314‐1463
JAMES D SUTTLES                                  221 BRAZEY RD                                                                                 MONTICELLO         GA    31064‐7600
JAMES D SWANN                                    3710 WOODRIDGE RD                                                                             BALTIMORE          MD    21229‐2023
JAMES D TAYLOR                                   2581 S PINEVIEW ROAD                                                                          SUTTONS BAY        MI    49682‐9258
JAMES D TEDDER & CAROLYN S TEDDER JT TEN         8971 WESTCHESTER DR                                                                           MANASSAS           VA    20112
JAMES D THOMAS                                   1008 PAR 4 CIRCLE                                                                             KALAMAZOO          MI    49008‐2916
JAMES D THOMAS CUST NEHEMIAH J BRIM UTMA KY      103 OAK GLADE CIRCLE                                                                          ELIZABETHTOWN      KY    42701
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JAMES D THOMPSON                               PO BOX 9                                                                                        FRASER           CO    80442‐0009
JAMES D THOMPSON                               227 BROWN CT                                                                                    OWENSBORO        KY    42303
JAMES D THORNBURG & CONSTANCE M THORNBURG JT 7435 DODGE RD                                                                                     MONTROSE         MI    48457‐9193
TEN
JAMES D THRASHER CUST JAMES E THRASHER UGMA SC 1405 KENTON LANE                                                                                ASHVILLE         NC    28803‐2466

JAMES D TOBY                                     503 BATES ST                                                                                  FIFE LAKE        MI    49633‐9304
JAMES D TOWNSEND                                 PO BOX 128                                                                                    ATLAS            MI    48411‐0128
JAMES D TRIXLER                                  827 POPLAR ST                                                                                 HUNTINGTON       IN    46750‐2053
JAMES D TROLINGER JR & JOAN G TROLINGER JT TEN   504 BRENTWOOD DRIVE                                                                           MADISON          AL    35758‐1207

JAMES D TULLEY                                   5400 BARKSDALE BLVD                  APT 1015                                                 BOSSIER CITY     LA    71112‐4698
JAMES D VAIL IV                                  596 MAPLE ST                                                                                  WINNETKA         IL    60093‐2336
JAMES D VATH & KERRY B VATH JT TEN               707 BERKS PL                                                                                  WEST LAWN        PA    19609‐1208
JAMES D VIEAU & JANICE M VIEAU JT TEN            1941 GOLF ST                                                                                  SAGINAW          MI    48603‐4684
JAMES D VINCENT                                  1924 SNAPFINGER RD                                                                            DECATUR          GA    30035‐2604
JAMES D WALKER                                   917 S IRA COURT                                                                               ANAHEIM          CA    92804‐4007
JAMES D WARREN & DOROTHY R WARREN JT TEN         BOX 104                                                                                       PAYSON           UT    84651‐0104
JAMES D WATKINS & PATRICIA R WATKINS JT TEN      6587 S TELLER CT                                                                              LITTLETON        CO    80123‐3047
JAMES D WEAVER                                   373 SOUTH KIMMEL RD                                                                           CLAYTON          OH    45315‐9721
JAMES D WEAVER TR JAMES D WEAVER LIVING TRUST    17485 MEADOW LAKE CIRCLE                                                                      FT MYERS         FL    33967‐2564
UA 04/16/96
JAMES D WEBB                                     PO BOX 66                                                                                     CLARKSTON        MI    48347‐0066
JAMES D WEBB                                     634 HAYS LODGE RD                                                                             SMITHS GROVE     KY    42171‐9106
JAMES D WEBB                                     8417 VALLEY VIEW                                                                              OVERLAND PARK    KS    66212‐1917
JAMES D WEBSTER                                  608 SW GATEWAY DR                    GREEN VALLEY                                             GRAIN VALLEY     MO    64029
JAMES D WERT                                     1425 SYLVAN DRIVE                                                                             MARION           IN    46953‐2511
JAMES D WEST JR                                  5 CALLE MARIA SOUTH                                                                           SANTE FE         NM    87508‐8681
JAMES D WESTESHAUS                               485 CHARNWOOD ROAD                                                                            NEW PROVIDENCE   NJ    07974‐1306

JAMES D WHEELER CUST REBECCA E WHEELER UTMA PA 499 NURSERY DR N                                                                                MECHANICSBURG    PA    17055

JAMES D WHITE                                    1920 SRPINGTOWN HWY                                                                           WEATHERFORD      TX    76086
JAMES D WHITEHOUSE                               2378 58TH ST                                                                                  FENNVILLE        MI    49408‐9461
JAMES D WILEY                                                                                                                                  ALLARDT          TN    38504
JAMES D WILFONG                                  3143 LONGVIEW AVE                                                                             ROCHESTER HLS    MI    48307‐5575
JAMES D WILLIAMS                                 1408 SHANKS DOWNS ROAD                                                                        WINDHAM          OH    44288‐9606
JAMES D WILLIAMS                                 911 HADLEY RD                                                                                 ROCHESTER HLS    MI    48307‐2840
JAMES D WILLIAMS                                 5402 CONSOLIDATED RD                                                                          JANESVILLE       WI    53545‐9672
JAMES D WILLIAMS & DOROTHY M WILLIAMS JT TEN     1408 SHANKS DOWNS RD                                                                          WINDHAM          OH    44288‐9606

JAMES D WILLIAMSON                               92 WENONAH RD                                                                                 PUTNAM VALLEY    NY    10579‐1537
JAMES D WITHAM                                   3665 AMBERLY CIRCLE                  APT B306                                                 NAPLES           FL    34112‐2803
JAMES D WOOD                                     3136 PINCH HIGHWAY                                                                            POTTERVILLE      MI    48876‐9718
JAMES D WOODARD                                  2416 HARDING AVE                                                                              DAYTON           OH    45414‐3212
JAMES D WOODARD                                  2416 HARDING AVE                                                                              DAYTON           OH    45414‐3212
JAMES D WOODBURY                                 144 ELNIDO                                                                                    MONROVIA         CA    91016‐1514
JAMES D WOODY                                    27539 HANOVER                                                                                 WESTLAND         MI    48186‐5153
JAMES D WRESSELL & JOAN M WRESSELL JT TEN        4141 SCARLET OAK DR                                                                           SAGINAW          MI    48603‐1159
JAMES D YOUNG                                    9394 DEITERING RD                                                                             CHESANING        MI    48616‐1730
JAMES D YOUNG                                    2409 EL MOLINO AVE                                                                            ALTADENA         CA    91001‐2315
JAMES D ZITO                                     1807 PARIS AVE                                                                                LINCOLN PARK     MI    48146
JAMES D ZUROSKE                                  314 SOUTH 9TH AVE                                                                             BEECH GROVE      IN    46107‐2022
JAMES DAGOSTINO & JAMES J DAGOSTINO JT TEN       1901 MATTHEWS AVENUE                                                                          BRONX            NY    10462
JAMES DAILEY IN TRUST FOR JACOB AARON DAILEY     103 GAIT WAY                                                                                  CHAPEL HILL      NC    27516

JAMES DALE RADCLIFFE                             14625 SOUTH GARDNER ROAD                                                                      GARDNER          KS    66030‐9316
JAMES DANIEL FRENCH                              6252 BUCKEYE PKY                                                                              GROVE CITY       OH    43123‐8718
JAMES DANIEL JOHNSON                             9579 A JAMES ST                                                                               PHILADELPHIA     PA    19114‐3042
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JAMES DANIEL SHEPARD                             706 BOULEVARD DRIVE                                                                             BAINBRIDGE        GA    31717‐4802
JAMES DARRELL FRAMPTON                           153 OAKHILL RD                                                                                  CARLISLE          PA    17013‐8929
JAMES DAVID ADAMSON                              104 BROWN ST                                                                                    REYNOLDSVILLE     PA    15851‐1033
JAMES DAVID ALAN SWANSON                         25875 DEL SOL RD                                                                                APPLE VALLEY      CA    92308‐0406
JAMES DAVID ANDREWS V                            1626 CHICKERING RD                                                                              NASHVILLE         TN    37215‐4906
JAMES DAVID BEACH                                3900 OAKVIEW DR                                                                                 DAYTON            OH    45430‐5114
JAMES DAVID COOK & MONICA FRITSCH COOK JT TEN    13737 CARPINTERO AVE                                                                            BELLFLOWER        CA    90706‐2720

JAMES DAVID HANCOCK                              5925 DARBY CIRCLE                                                                               NOBLESVILLE       IN    46060‐7613
JAMES DAVID HEISS                                13266 FOX RIDGE CT                                                                              GRAND HAVEN       MI    49417‐9489
JAMES DAVID HERSH                                14945 CHERRYWOOD DR                                                                             LAUREL            MD    20707‐5556
JAMES DAVID POTEAT                               PO BOX 65                                                                                       MAYO              SC    29368‐0065
JAMES DAVID ROE & ANNETTE L ROE JT TEN           701 RUTGERS RD                                                                                  ROCHESTER HILLS   MI    48309‐2546
JAMES DAVIS                                      5780 S WINDS DR #143                                                                            MENTOR            OH    44060
JAMES DAVIS JR                                   3061 SEYMOUR RD                                                                                 SWARTZ CREEK      MI    48473‐9701
JAMES DAVIS JR                                   4242 KERRYBROOK DR                                                                              YOUNGSTOWN        OH    44511‐1033
JAMES DAVIS SILBERSACK                           18 CEDAR LN                                                                                     SANDS POINT       NY    11050‐1333
JAMES DE VOY GILDAY                              274 WELLINGTON PKWY                                                                             NOBLESVILLE       IN    46060‐5487
JAMES DEAN BARTOLACCI                            534 VANDERVEEN DR                                                                               MASON             MI    48854‐1959
JAMES DEAN SMITH                                 173 GADDIS MYERS RD                                                                             PELAHATCHIE       MS    39145
JAMES DEAN URBAN                                 139 JOHN ST                                                                                     SANTA CRUZ        CA    95060‐6328
JAMES DELANEY LEONARD                            1245 BIG HOLLOW RD                                                                              BLOUNTVILLE       TN    37617‐6125
JAMES DELORENZO                                  331 N BROAD ST                                                                                  PENNS GROVE       NJ    08069‐1017
JAMES DEMERITT                                   4507 COUNTY RD 424                                                                              ALVIN             TX    77511
JAMES DEMPSEY TRECO                              28 WINSDOR ROAD                                                                                 SUMMIT            NJ    07901‐3053
JAMES DENNIS GILLEN                              716 OPATUT CT                                                                                   TOMS RIVER        NJ    08753‐4408
JAMES DENNIS MURPHY                              436 EASTMOOR BLVD                                                                               COLUMBUS          OH    43209‐2025
JAMES DENNIS RIDENOUR                            5793 BLUE JAY DR                                                                                KALAMAZOO         MI    49009‐4599
JAMES DENVER NICHOLAS                            710 SAMUEL DR                                                                                   PARAGOULD         AR    72450‐3533
JAMES DENVER RICE                                1805 CAMDEN COLLEGE CORNER RE                                                                   CAMDEN            OH    45311‐8612
JAMES DESTER JONES                               6900 E PICCADILLY RD                                                                            MUNCIE            IN    47303‐4553
JAMES DEVANEY                                    3911 W FRIENDLY AVE                                                                             GREENSBORO        NC    27410‐5643
JAMES DEVINCK                                    12462 ANCHOR POINT RD                                                                           CROSSLAKE         MN    56442‐2017
JAMES DEWART                                     104 DORADO AVENUE                                                                               SEWELL            NJ    08080‐1607
JAMES DEXTER CANNON                              14800 KING RD                          APT 232                                                  RIVERVIEW         MI    48193‐7969
JAMES DI DOMENICO                                2870 E 196TH ST                                                                                 BRONX             NY    10461‐3802
JAMES DI PRAMPERO                                BOX C                                                                                           MILLSBORO         PA    15348‐0052
JAMES DIAS & MARY VIOLET TR UNDER DECLARATION    2218 FRANCISCO AVE                                                                              SANTA ROSA        CA    95403‐1805
OF TRUST 08/01/90
JAMES DICK CONDON                                181 MORAGA WY                                                                                   ORINDA            CA    94563‐3442
JAMES DICKEY                                     125 LUKE DR                                                                                     MACON             GA    31216‐7371
JAMES DILLARD                                    30209 MATTHEW DR                                                                                WESTLAND          MI    48186‐7337
JAMES DIMEFF TR JAMES & MARIE DIMEFF RESIDUAL    22705A NADINE CIRCLE                                                                            TORRANCE          CA    90505‐2755
TRUST UA 06/13/86
JAMES DIPAOLA & ROSE DIPAOLA JT TEN              1 SE PARK DR                                                                                    MASSAPEQUA PK     NY    11762‐1143
JAMES DIRKES & JOANNE DIRKES JT TEN              2310 WESTWIND COURT NW                                                                          GRAND RAPIDS      MI    49504‐2392
JAMES DIRSCHEDL                                  10509 S HEATHERHILL TERRACE                                                                     INVERNESS         FL    34452‐9207
JAMES DIXON                                      12451 N DAVENPORT RD                                                                            HALLSVILLE        MO    65255‐9615
JAMES DIXON & R KATHLEEN DIXON JT TEN            436 COLONIAL PARK DR                                                                            SPRINGFIELD       PA    19064‐3405
JAMES DOBROVOLSKY                                6846 CORAL GUM CT                                                                               GARDEN GROVE      CA    92845‐2913
JAMES DOLLINGER CUST JESSICA DOLLINGER UTMA MI   6193 STONEGATE PKWY                                                                             FLINT             MI    48532‐2147

JAMES DOMKA                                      3003 MARTIN                                                                                     WARREN            MI    48092‐2403
JAMES DONALD ALLARDYCE                           5163 WINDCREST DR S W                                                                           GRANDVILLE        MI    49418
JAMES DONALD DAVISON                             1540 HUNTERS HOLLOW                                                                             MONROE            GA    30655‐5690
JAMES DONALD DAVISON & ROBIN STEGG DAVISON JT    1540 HUNTERS HOLW                                                                               MONROE            GA    30655‐5690
TEN
JAMES DONALD HAYLES                              1201 N PRAIRIE LANE                                                                             RAYMORE           MO    64083‐9524
JAMES DONERSON JR                                1891 BEERSFORD PLACE                                                                            E CLEVELAND       OH    44112‐3915
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JAMES DONOVAN CUST MATTHEW DONOVAN UGMA           55 CHANNING ST                                                                                    WOLLASTON         MA    02170‐2211
MA
JAMES DORMAN RAYNES                               51 BROADWAY                                                                                       EAST LYNN       MA      01904‐1858
JAMES DOTHARD                                     5170 SAND HILL CIRCLE N                                                                           LIZELLA         GA      31052
JAMES DOUGLAS BALDWIN                             2204 LOCKLIN LANE                                                                                 WEST BLOOMFIELD MI      48324‐3748

JAMES DOURAS                                      1207 CANDLESTICK LANE                                                                             ROCHESTER HILLS   MI    48306‐4211
JAMES DROZDA & DONIELLE WILT JT TEN               6045 W 75TH ST                                                                                    LOS ANGELES       CA    90045
JAMES DUANE PELL OSBORN                           27 COMMON ST                                                                                      CHARLESTOWN       MA    02129‐3818
JAMES DUBINSKI                                    538 WHITCOVER CIR                                                                                 CHARLOTTESVLE     VA    22901‐3764
JAMES DUFFY                                       202 HEATHER LN                                                                                    READING           PA    19610‐1181
JAMES DUFFY & SHERYL DUFFY JT TEN                 331 FLINT COURT                                                                                   YARDLEY           PA    19067‐5713
JAMES DUNBAR MC LAUGHLIN                          236 RAPPID RILL LANE                                                                              BROWNSSBURG       IN    46112‐2151
JAMES DUNN                                        26‐19 168TH STREET                                                                                FLUSHING          NY    11358‐1127
JAMES DUNN CUST JOHN DUNN U/THE NEW YORK          26‐19 168TH ST                                                                                    FLUSHING          NY    11358‐1127
UNIFORM GIFTS TO MINORS ACT
JAMES DUNPHY & JUNE DUNPHY JT TEN                 691 WIGGINS LAKE DR                      201                                                      NAPLES            FL    34110‐6079
JAMES DURAND                                      2300 W GREEN TREE RD                                                                              GLENDALE          WI    53209‐2704
JAMES DURHAM JR & MARGARET J DURHAM JT TEN        3934 MONSOLS DRIVE                                                                                FLORISSANT        MO    63034‐2444

JAMES DWIGHT CALLAHAN                             326 N 1050 E                                                                                      CHARLOTTESVILLE   IN    46117

JAMES E ABBATE                                    7936 PARK AVE                                                                                     SKOKIE            IL    60077‐2725
JAMES E ABNER                                     5985 PRINCETON GLENDALE RD                                                                        LIBERTY TWP       OH    45011‐2458
JAMES E ADAMOWICZ & JANET E ADAMOWICZ JT TEN      197 MILLER FARM RD                                                                                PLANTSVILLE       CT    06479‐1481

JAMES E ALEXANDER                                 9233 LAKEVIEW DRIVE                                                                               FOLEY             AL    36535‐9372
JAMES E ALEXANDER & MARTHA C ALEXANDER JT TEN     9233 LAKEVIEW DRIVE                                                                               FOLEY             AL    36535‐9372

JAMES E ALGER                                     39 LAWERENCE ST                                                                                   PEPPERELL         MA    01463‐1021
JAMES E ALLEN                                     5110 NAWAL DR                                                                                     EL DORADO HLS     CA    95762‐5676
JAMES E ALLEN                                     6101 N W 51ST TERR                                                                                PARKVILLE         MO    64151‐3111
JAMES E ALLISON                                   9051 N RAIDER ROAD                                                                                MIDDLETOWN        IN    47356‐9327
JAMES E ANDERSON                                  32 REDER ROAD                                                                                     NORTHFIELD        CT    06778‐2106
JAMES E ANDERSON                                  5781 SOUTH TWO MILE ROAD                                                                          BAY CITY          MI    48706‐3125
JAMES E ANDERSON JR                               2706 S WINDSOR                                                                                    INDEPENDENCE      MO    64052‐3259
JAMES E ANNIS & JUDY A ANNIS JT TEN               920 WESTON                                                                                        LANSING           MI    48917‐4174
JAMES E ANTONE                                    784 SAW MILL ROAD                                                                                 TOWNSEND          DE    19734‐9280
JAMES E APPLEMAN                                  3304 LOYAL LANE                                                                                   RALEIGH           NC    27615‐4032
JAMES E AREND                                     6725 E BILLINGS ST                                                                                MESA              AZ    85205‐8405
JAMES E ARMISTEAD & JACQUELINE ARMISTEAD JT TEN   1170 THAMES                                                                                       ROCHESTER         MI    48307‐5739

JAMES E ATKINSON & LORETTA L ATKINSON JT TEN      1685 BRADENTON PL                                                                                 PORTAGE           MI    49002‐6986
JAMES E ATTAWAY                                   2100 DOG LEG RD                                                                                   LEESVILLE         SC    29070‐8971
JAMES E AUDINO                                    34‐41 72ND ST                                                                                     JACKSON HEIGHTS   NY    11372‐1061

JAMES E AUGUST                                    3322 WOLCOTT ST                                                                                   FLINT             MI    48504‐3200
JAMES E AUSTIN                                    1810 YOUNGSTOWN‐LKPT                                                                              RANSOMVILLE       NY    14131
JAMES E AUSTIN                                    1315 N BARLOW RD                                                                                  LINCOLN           MI    48742‐9771
JAMES E BALDWIN & MRS LOUISE B BALDWIN JT TEN     4640 13TH ST NW                                                                                   CANTON            OH    44708‐3578

JAMES E BAMMER & ANN G BAMMER JT TEN              10104 GLENWOOD                                                                                    OVERLAND PARK     KS    66212‐1729
JAMES E BARBERA                                   31720 NEWPORT DR                                                                                  WARREN            MI    48093‐7044
JAMES E BARTON                                    5311 CHURCH STREET                                                                                MABLETON          GA    30126‐2109
JAMES E BARTON                                    13432 HIGHWAY 36                                                                                  COVINGTON         GA    30014‐5661
JAMES E BASSETT                                   37360 GILES RD                                                                                    GRAFTON           OH    44044‐9130
JAMES E BASTAIN II                                217 CORONADO RD                                                                                   INDIANAPOLIS      IN    46234‐2531
JAMES E BATES                                     2421 MAYFAIR ROAD                                                                                 DAYTON            OH    45405‐2857
JAMES E BATES & PEARL BATES JT TEN                2421 MAYFAIR ROAD                                                                                 DAYTON            OH    45405‐2857
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JAMES E BATOHA                                1765 MAUMEE DRIVE                                                                              DEFIANCE        OH    43512‐2548
JAMES E BATSON                                9512 DRURY AVE                        APT 202                                                  KANSAS CITY     MO    64137‐1232
JAMES E BAUMGARTNER                           703 N HENRY ST                                                                                 CRESTLINE       OH    44827‐1036
JAMES E BAXTER & MICHAEL S BAXTER JT TEN      BOX 685                                                                                        EVANSVILLE      IN    47704‐0685
JAMES E BEALL                                 9014 APPLE ORCH                                                                                FENTON          MI    48490‐8940
JAMES E BEAVER                                1607 SANTA FE                                                                                  SWEETWATER      TX    79556‐2510
JAMES E BEEBE                                 116 MILMAR WAY                                                                                 LOS GATOS       CA    95032‐3830
JAMES E BEERS                                 26888 YORK ROAD                                                                                HUNTINGTON      MI    48070‐1317
                                                                                                                                             WOODS
JAMES E BENEDICT & DIXIE J BENEDICT JT TEN    16516 EDWARD DOUB RD                                                                           WILLIAMSPORT    MD    21795‐3104
JAMES E BENNETT                               2107 CLOVER RD                                                                                 LA CROSSE       VA    23950‐1536
JAMES E BERGER                                508 S MATTIS AVE                      APT 8                                                    CHAMPAIGN       IL    61821‐3676
JAMES E BERKLEY                               5 TINA CIR                                                                                     SEARCY          AR    72143‐7215
JAMES E BETHKE                                4325 W 182ND ST #13                                                                            TORRANCE        CA    90504‐4537
JAMES E BISHOP                                18375 LINCOLN RD                                                                               NEW LOTHROP     MI    48460‐9637
JAMES E BIVENS                                1881 S IDAHO RD                                                                                APACHE JCT      AZ    85219‐7619
JAMES E BLACK                                 970 FOREST LN                                                                                  SHARPSVILLE     PA    16150‐1725
JAMES E BLACK                                 7325 NORTH 250 EAST                                                                            COLUMBUS        IN    47203
JAMES E BLACKBURN                             27203 KENNEDY DR                                                                               DEARBORN HTS    MI    48127‐1669
JAMES E BLEAKLEY                              10351 S W 20TH 55                                                                              DAVIE           FL    33324‐7428
JAMES E BLEWITT & EDNA A BLEWITT JT TEN       5357 MEMORIAL RD                                                                               GERMANSVILLE    PA    18053‐2004
JAMES E BLOEM                                 16798 3RD ST                                                                                   ARCADIA         MI    49613‐9705
JAMES E BOARD                                 1705 SPINNINGWHEEL DRIVE                                                                       LUTZ            FL    33559‐3349
JAMES E BOATWRIGHT JR                         503 MCQUEEN ST                        APT A                                                    JOHNSTON        SC    29832‐1448
JAMES E BOOTHE                                3331 ACUMINATA DR                                                                              WEST SALEM      OH    44287‐9105
JAMES E BORER                                 9300 S MERIDIAN LINE RD                                                                        CLOVERDALE      IN    46120‐9101
JAMES E BORGAN                                3401 CHICKEN COUP HILL RD                                                                      LANCASTER       OH    43130‐8207
JAMES E BORGER                                922 S CEDAR                                                                                    NEW LENOX       IL    60451‐2207
JAMES E BOYD JR                               685 IMPERIAL DR                                                                                HANFORD         CA    93230‐7315
JAMES E BRADANINI                             6609 GIBSON CYN ROAD                                                                           VACAVILLE       CA    95688‐9701
JAMES E BRANTLEY                              117 SWEET BARLEY COURT                                                                         GRAYSON         GA    30017
JAMES E BRENNAN                               75 THE MEADOW                                                                                  EAST AURORA     NY    14052‐2011
JAMES E BRIAN                                 258 STEVES SCENIC DR                                                                           HORTON          MI    49246‐9742
JAMES E BRICKNER                              1576 N ELLSWORTH AVE                                                                           SALEM           OH    44460‐1125
JAMES E BRIDLEMAN                             904 ST MARYS BLVD                                                                              CHARLOTTE       MI    48813‐2218
JAMES E BROADWAY                              5806 RUBIN AVENUE                                                                              BALTIMORE       MD    21215‐3526
JAMES E BRODIE                                2300 MIRIAM                                                                                    ARLINGTON       TX    76010‐3225
JAMES E BROGDON                               BOX 626                                                                                        BENNETTSVILLE   SC    29512‐0626
JAMES E BROTHERTON CUST JAMES M BROTHERTON    204 PATRICK HENRY CIRCLE                                                                       KINGSPORT       TN    37663‐3735
UGMA TN
JAMES E BROWN                                 252 BERESFORD                                                                                  DETROIT         MI    48203‐3334
JAMES E BROWN                                 4212 LAMAR                                                                                     HOUSTON         TX    77023‐1618
JAMES E BROWN                                 9805 W CR 500 N                                                                                GASTON          IN    47342‐9308
JAMES E BROWN & BEVERLY R BROWN JT TEN        20417 ROEHRIG                                                                                  DEFIANCE        OH    43512‐9753
JAMES E BROWN & JASPER SANDERS TEN COM        PO BOX 48008                                                                                   PHILADELPHIA    PA    19144‐8008
JAMES E BROWN JR & LORRAINE B BROWN JT TEN    2918 WEKIVA ROAD                                                                               TAVARES         FL    32778
JAMES E BRUCE                                 10203 RIDGE RD                                                                                 MAHAFFEY        PA    15757‐8303
JAMES E BRUCKI JR & MARILYN L BRUCKI JT TEN   2034 MANOR MILL ROAD                                                                           CHARLOTTE       NC    28226‐5035
JAMES E BUCHANAN                              12337 INDIANA                                                                                  DETROIT         MI    48204‐1035
JAMES E BUCK                                  61 EDGEVALE                                                                                    DETROIT         MI    48203‐2209
JAMES E BUERSCHEN                             3626 GREENBAY DR                                                                               DAYTON          OH    45415‐2017
JAMES E BUFORD                                PO BOX 14283                                                                                   SAGINAW         MI    48601‐0283
JAMES E BULGARELLI                            7004 LAKEVIEW                                                                                  LEXINGTON       MI    48450‐8952
JAMES E BUNN                                  PO BOX 225                                                                                     SENOIA          GA    30276‐0230
JAMES E BUR                                   1018 S LAKE ST                                                                                 BOYNE CITY      MI    49712‐1519
JAMES E BURDETTE CUST JAMES KEVIN BURDETTE    345 OAK CREEK DR                                                                               SEDONA          AZ    86351
UGMA AZ
JAMES E BURKE                                                                                                                                BOWMAN          ND    58623
JAMES E BURNETT                               179 OXFORD AVE                                                                                 BUFFALO         NY    14209‐1213
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Name                                            Address1                             Address2              Address3         Address4          City               State Zip

JAMES E BURNS                                   4091 N 300 E                                                                                  MARION             IN    46952‐6815
JAMES E BUSWELL & NANCY G BUSWELL TEN COM       7514 RIVER ROAD                                                                               BALDWINSVILLE      NY    13027‐8443

JAMES E BUTLER                                 69 CAIN AVENUE                                                                                 HAMILTON           OH    45011‐5762
JAMES E BUTLER SR                              PO BOX 30016                                                                                   WILMINGTON         DE    19805‐7016
JAMES E BYE                                    1759 E REDSTART ROAD                                                                           GREEN VALLEY       AZ    85614‐6013
JAMES E BYRD                                   4199 MCMICHAEL AVE                                                                             SHREVEPORT         LA    71119‐7517
JAMES E BYUS                                   110 WOODLAND DRIVE                                                                             MADISON            WV    25130
JAMES E CADE                                   700W                                  9622 N COUNTY RD                                         MIDDLETOWN         IN    47356‐9330
JAMES E CADLE                                  350 RUPARD RD                                                                                  STATESVILLE        NC    28625‐1528
JAMES E CAHALL SR                              372 RONALD LN                                                                                  SMYRNA             DE    19977‐1042
JAMES E CALDWELL CUST JAMES A CALDWELL UGMA IL 9217 S WABASH                                                                                  CHICAGO            IL    60619‐7231

JAMES E CALLIS                                  119 PRIMROSE LANE                                                                             MOUNTAIN HOME      AR    72653‐5489

JAMES E CAMPBELL                                  37904 PALMA                                                                                 NEW BOSTON         MI    48164‐9516
JAMES E CANNON                                    1028 TINDALAYA                                                                              LANSING            MI    48917‐4129
JAMES E CANTLEY                                   1229 7TH ST                                                                                 PORT HURON         MI    48060
JAMES E CAPUTO & ALICE E CAPUTO TEN COM           987 N EIGHTY EIGHT RD                                                                       RICES LANDING      PA    15357‐1102
JAMES E CAREY                                     1813 S PASADENA                                                                             YPSILANTI          MI    48198‐9212
JAMES E CAREY & SHARON R CAREY JT TEN             1813 S PASADENA                                                                             YPSILANTI          MI    48198‐9212
JAMES E CARLISLE                                  205 W DELASON                                                                               YOUNGSTOWN         OH    44507‐1029
JAMES E CARMODY                                   111 WARREN AVE                                                                              SPRING LAKE        NJ    07762‐1217
JAMES E CARPENTER & MRS CAROLYN V CARPENTER JT 16463 6TH AVE SW                                                                               SEATTLE            WA    98166‐3501
TEN
JAMES E CARPER TR JAMES E CARPER REV LIVING TRUST 5319 HERMOSA AVE                                                                            LOS ANGELES        CA    90041‐1228
UA 03/27/03
JAMES E CARTER                                    PO BOX 19596                                                                                SHEVEPORT          LA    71149‐0596
JAMES E CASE                                      2165 S VAN BUREN ROAD                                                                       REESE              MI    48757‐9213
JAMES E CASON & NANCY A CASON JT TEN              3811 61ST ST                                                                                LUBBOCK            TX    79413‐5205
JAMES E CASSELMAN & SUSAN FRANCES CASSELMAN JT PO BOX 825                                                                                     MASON              TX    76856
TEN
JAMES E CERRETANI JR                              4333 MALLARDS LANDING                                                                       HIGHLAND FIELD     MI    48357‐2648
JAMES E CERRETANI JR & JAMES M CERRETANI JT TEN   4333 MALLARDS LANDING                                                                       HIGHLAND           MI    48357‐2648

JAMES E CHADDOCK                                2 TALO CIRCLE                                                                                 PORT ORANGE        FL    32127‐8305
JAMES E CHISOM                                  19170 WASHBURN                                                                                DETROIT            MI    48221‐3218
JAMES E CHRENKO                                 7044 FAIRGROVE ST                                                                             SWARTZ CREEK       MI    48473‐9408
JAMES E CICHOWSKI                               2841 MIDLAND RD                                                                               SAGINAW            MI    48603‐2760
JAMES E CLACK                                   10766 CHILDRESS CT                                                                            FOREST PARK        OH    45240‐3913
JAMES E CLARK                                   554 S MOBILE PL                                                                               AURORA             CO    80017‐3100
JAMES E CLUNE                                   72 LYNNE DR                                                                                   WEST SPRINGFIELD   MA    01089‐1538

JAMES E CLUNE CUST BRIAN JAMES CLUNE UGMA MA    72 LYNNE DR                                                                                   WEST SPRINGFIELD MA      01089‐1538

JAMES E CLYMER                                  6005 WILBUR RD                                                                                MARTINSVILLE       IN    46151‐7296
JAMES E COFFMAN                                 3558 E LOWER SPRINGBOR                                                                        WAYNESVILLE        OH    45068‐8791
JAMES E COLDS                                   2475 VILLAGE CENTRE DR                                                                        LOGANVILLE         GA    30052‐5816
JAMES E COLEMAN                                 2880 DURST CLAGG RD NE                                                                        WARREN             OH    44481‐9357
JAMES E COLLINS                                 2805 VANCE RD                                                                                 DAYTON             OH    45418‐2851
JAMES E COMBS                                   2 APPLE DR                                                                                    STANTON            KY    40380‐9551
JAMES E COMER                                   4118 HICKORY COVE LANE                                                                        MONETA             VA    24121‐6013
JAMES E COMER JR CUST MARY E COMER UGMA VA      ATTN MARY E COMER SMITH              4118 HICKORYCOVE LN                                      MONETA             VA    24121‐6013

JAMES E CONARTON                                10740 CHANDLER RD                                                                             DEWITT             MI    48820‐9787
JAMES E CONAWAY                                 302 HIGH RIDGE RD                                                                             WILM               DE    19807‐1510
JAMES E CONBOY CUST MAUREEN CONBOY UGMA DE      1239 AUGUSTINE DR                                                                             THE VILLAGES       FL    32159‐0022
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JAMES E CONBOY CUST THOMAS CONBOY UGMA DE        1239 AUGUSTINE DR                                                                                THE VILLAGES    FL    32159‐0022

JAMES E CONNOR                                   5302 WABASH AVE                                                                                  BALTIMORE       MD    21215‐4809
JAMES E CONOVER                                  3265 W SOUTHWOOD DR                                                                              FRANKLIN        WI    53132‐9150
JAMES E CONRAD                                   1314 GREENWICH                                                                                   SAGINAW         MI    48602‐1646
JAMES E COONEY                                   504 HIGHLINGTON COURT                                                                            BEECHER         IL    60401‐3576
JAMES E COOPER                                   7238 S ELMS RD                                                                                   SWARTZ CREEK    MI    48473‐9440
JAMES E COOPER                                   127 MILLWOOD RD                                                                                  LEESBURG        FL    34788‐2673
JAMES E CORBO                                    6058 WATCH CHAIN WAY                                                                             COLUMBIA        MD    21044‐4715
JAMES E CORVIN                                   1700 SHIRLEY AVE                                                                                 JOPPA           MD    21085‐2518
JAMES E COTTON TR JAMES E COTTON TRUST UA        4359 ABBE RD                                                                                     SHEFFIELD VLG   OH    44054‐2925
01/12/95
JAMES E COTTRELL                                 6769 ROSEMONT                                                                                    DETROIT         MI    48228‐3438
JAMES E COUCH                                    254 LAKEPOINTE DR                                                                                SOMERSET        KY    42503‐4794
JAMES E COX                                      8468 BENNETT LK RD                                                                               FENTON          MI    48430‐9009
JAMES E CRADDOCK                                 6015 BLAZER RD                                                                                   GREENSBORO      NC    27407‐9748
JAMES E CRAWFORD                                 5990 EAGLE CREEK ROAD                                                                            LEAVITTSBURG    OH    44430‐9767
JAMES E CROUSE                                   11021 KIOWA RD                                                                                   APPLE VALLEY    CA    92308‐7884
JAMES E CRUMPLER                                 306 EAST 22ND STREET                                                                             WILMINGTON      DE    19802‐4332
JAMES E CUFFE                                    143 CLIFFORD CRT                                                                                 CANTON          GA    30115‐9336
JAMES E CUMMINGS & ELIZABETH JEAN CUMMINGS JT    5133 N SAINT LOUIS AVE                                                                           CHICAGO         IL    60625‐5508
TEN
JAMES E CUNNINGHAM                               6620 BROOKLINE CT                                                                                CUMMINGS        GA    30040‐7038
JAMES E CURLEW & CAROLYN M CURLEW TR CURLEW      16905 FARMINGTON                                                                                 LIVONIA         MI    48154‐2946
LIVING TRUST UA 4/25/01
JAMES E CURTS                                    1391 N CR 725W                                                                                   YORKTOWN        IN    47396‐9734
JAMES E CYPRET                                   5465 WILLOW DR                                                                                   STANDISH        MI    48658‐9773
JAMES E CZERNIAK                                 620 OPHELIA AVE                                                                                  NEWTON FALLS    OH    44444‐1471
JAMES E D ANTONIO                                1014 OLD HILLS ROAD                                                                              MCKEESPORT      PA    15135‐2134
JAMES E DALTON                                   PO BOX 420                                                                                       LEESBURG        OH    45135‐0420
JAMES E DANIEL II                                2959 TERRACE LN                                                                                  ASHLAND         KY    41102‐6739
JAMES E DANIELS                                  260 ENGLEWOOD                                                                                    DETROIT         MI    48202‐1107
JAMES E DAVENPORT & CHERLY J DAVENPORT JT TEN    PO BOX 27044                                                                                     DETROIT         MI    48227

JAMES E DAVIES                                   286 HIGHPOINT DRIVE                                                                              WADSWORTH       OH    44281‐2317
JAMES E DAVIS                                    12512 COLE LN                           APT 146B                                                 LEXINGTON       MO    64067‐8158
JAMES E DAVIS                                    255 HELNSDALE DRIVE                                                                              HENDERSON       NV    89014‐6044
JAMES E DAVIS                                    710 DYKEMA COURT SE                                                                              GRAND RAPIDS    MI    49503‐5511
JAMES E DAVIS & DIANE DAVIS JT TEN               4459 HARRIS HILL RD                                                                              WILIAMSVILLE    NY    14221‐6205
JAMES E DAWSON                                   20483 23 MILE RD                                                                                 PARIS           MI    49338‐9708
JAMES E DE MARCO                                 259 LONG HILL RD                                                                                 HILLSBOROUGH    NJ    08844‐1314
JAMES E DEAN TR UA 05/31/91 JAMES E DEAN TRUST   107 PARK SHORE CIRCLE UNIT 23W                                                                   VERO BEACH      FL    32963

JAMES E DEARINGER                                136 JAHDE DR                                                                                     NICHOLASVILLE   KY    40356‐1995
JAMES E DEEL                                     6133 W GOULD DR                                                                                  LITTLETON       CO    80123‐5141
JAMES E DELANEY & MRS MARY ANNE DELANEY JT TEN   3649 HOOVER LANE                                                                                 JACKSONVILLE    FL    32277‐2509

JAMES E DELONG                                   41 E HIGH ST                                                                                     TOPTON          PA    19562‐1005
JAMES E DENNIS                                   4900 ESTEY RD                                                                                    RHODES          MI    48652‐9735
JAMES E DESCHLER                                 311 N 3RD ST                                                                                     TIPP CITY       OH    45371‐1919
JAMES E DEZOMITS & LINDA I DEZOMITS JT TEN       9765 ROSE                                                                                        TAYLOR          MI    48180‐3032
JAMES E DICK                                     9646 UNION CEMETRY RD                                                                            LOVELAND        OH    45140‐9540
JAMES E DIEHL                                    503 CORNWALL AVE                                                                                 TONAWANDA       NY    14150‐7105
JAMES E DIERKS                                   417 WESTMINSTER ROAD                                                                             ROCHESTER       NY    14607‐3231
JAMES E DILLER                                   45995 TOURNAMENT DRIVE                                                                           NORTH VILLE     MI    48167
JAMES E DILLEY                                   557 WEST STREET                                                                                  PORTLAND        MI    48875‐1055
JAMES E DINGUS                                   25860 BEHRENS RD                                                                                 DEFIANCE        OH    43512‐8787
JAMES E DIXON                                    4146 OUTER DRIVE                                                                                 DETROIT         MI    48234‐3019
JAMES E DOLBY JR                                 14489 OAK LEAF TRAIL                                                                             LINDEN          MI    48451‐8635
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JAMES E DONAHUE TR UA 08/18/93 THE JAMES E       9813 FAIRWAY CIRCLE                                                                             LEESBURG          FL    34788‐3634
DONAHUE FAMILY TRUST
JAMES E DORE                                     7 WASHINGTON ST                                                                                 MILFORD           MA    01757‐2327
JAMES E DOTY & MRS MERCIEL S DOTY JT TEN         800 S 15TH ST                                                                                   SEBRING           OH    44672‐2050
JAMES E DOUBLE                                   3964 WESTLAKE DR                                                                                CORTLAND          OH    44410‐9314
JAMES E DOUGLAS                                  537 ASPEN GLEN DR                      APT 405                                                  CINCINNATI        OH    45244‐1883
JAMES E DOW                                      164 UPPER FLAT ROCK RD                                                                          MALONE            NY    12953‐2713
JAMES E DREVES & KATHARINE A DREVES JT TEN       5 FIELD PLACE                                                                                   PORT CHESTER      NY    10573‐2341
JAMES E DUFF                                     1461 MAYHURST BLVD                                                                              MC LEAN           VA    22102
JAMES E DULIN                                    511 S GREEN BAY RD                                                                              LAKE FOREST       IL    60045
JAMES E DUNCAN                                   1 DEEP HOLLOW LN N                                                                              COLUMBUS          NJ    08022‐1019
JAMES E DURNELL                                  4734 TOLEDO                                                                                     DETROIT           MI    48209‐1373
JAMES E EALY                                     1047 W 133RD ST                                                                                 GARDENA           CA    90247‐1818
JAMES E EARLS                                    358 OGDEN AVE                                                                                   JERSEY CITY       NJ    07307‐1115
JAMES E EARNS                                    1488 E MC LEAN                                                                                  BURTON            MI    48529‐1614
JAMES E EASON                                    5654 S STEPHAN BRIDGE RD                                                                        GRAYLING          MI    49738‐9425
JAMES E ELLER                                    7592 LIGHTHOUSE CT                                                                              MENTOR            OH    44060‐3662
JAMES E ELLINGTON JR                             280 SUGAR CAMP LN                                                                               MAYNARDVILLE      TN    37807‐5049
JAMES E ELSTON CUST MICHAEL E ELSTON UTMA MN     4316 S PINEBROOK LN                                                                             COLUMBIA          MO    65203‐0557

JAMES E ELSTUN CUST DANIEL J ELSTUN UGMA         4316 S PINEBROOK LN                                                                             COLUMBIA          MO    65203‐0557
JAMES E ELSTUN CUST NICOLE L ELSTUN UGMA NEB     4316 S PINEBROOK LN                                                                             COLUMBIA          MO    65203‐0557

JAMES E ENGEL                                    1811 LEXINGTON ST                                                                               HOUSTON           TX    77098‐4303
JAMES E EPPS                                     2150 SANDGATE CIRCLE                                                                            ATLANTA           GA    30349‐4344
JAMES E EPPS                                     BOX 796                                MARICAO                                PUERTO RICO
JAMES E ERNEST                                   323 W POINSETTA AVE                                                                             TOLEDO            OH    43612‐2561
JAMES E ERSKINE                                  7759 OP AVE E                                                                                   SCOTTS            MI    49088‐9712
JAMES E EVANS                                    922 4TH AVE N                                                                                   COLUMBUS          MS    39701‐4652
JAMES E EVANS                                    2457 BREWER RD                                                                                  CROSSVILLE        TN    38572‐1996
JAMES E EVANS                                    101 ARCHER RD                                                                                   FORT SCOTT        KS    66701‐2916
JAMES E EVANS                                    5305 W 99TH TER                                                                                 OVERLAND PARK     KS    66207‐3110
JAMES E EVANS                                    1649 SIOUX DR                                                                                   XENIA             OH    45385‐4238
JAMES E EVANS & DARLENE L EVANS JT TEN           101 ARCHER RD                                                                                   FORT SCOTT        KS    66701‐2916
JAMES E FARAGO & JOAN FARAGO JT TEN              115 N ADAMS ST                                                                                  SAGINAW           MI    48604‐1201
JAMES E FARMER                                   6376 ASPEN RIDGE BLVD                                                                           WEST BLOOMFIELD   MI    48322‐4435

JAMES E FARRAR                                   2788 STONECREST CT                                                                              PLACERVILLE       CA    95667
JAMES E FARRELL                                  C/O ELEANOR D BARRETT                  236 PARKVIEW AVE                                         LOWELL            MA    01852‐3813
JAMES E FARRELL JR                               PO BOX 224                                                                                      BRISTOLVILLE      OH    44402‐0224
JAMES E FARRIS                                   12480 AL HIGHWAY 33 33                                                                          MOULTON           AL    35650
JAMES E FASNAUGH                                 9618 S MARIGOLD AV                     APT 1608                                                 BALDWIN           MI    49304‐8846
JAMES E FAUGHNAN                                 1913 ARTHUR                                                                                     SAGINAW           MI    48602‐1092
JAMES E FENNO                                    4825 W MAPLE LEAF CIR                                                                           GREENFIELD        WI    53220‐2784
JAMES E FERGUSON & BETTY E FERGUSON JT TEN       2601 FORD CT                                                                                    ROCHESTER         IN    46975‐9797
JAMES E FETTY JR                                 5 SCENIC HILLS                                                                                  PARKERSBURG       WV    26101‐8064
JAMES E FIELDS                                   145 SOUTH LAKE DR                                                                               CENTERVILLE       OH    45459‐4810
JAMES E FINCH                                    2557 BAYWOOD ST                                                                                 DAYTON            OH    45406‐1410
JAMES E FITTRO                                   4916 WELBORN LANE                                                                               KANSAS CITY       KS    66104‐2351
JAMES E FLANAGAN                                 7583 COUNTY ROAD 25                                                                             DOUBLE SPRINGS    AL    35553‐4325
JAMES E FLANNERY                                 929 32ND AVE E                                                                                  MILAN             IL    61264‐3518
JAMES E FLETCHER                                 424 E COLUMBIA AVE                                                                              PONTIAC           MI    48340‐2860
JAMES E FLORIMONT                                7 STURGIS RD                                                                                    LAVALLETTE        NJ    08735‐2843
JAMES E FOLTZ                                    14318 GOOSENECK LAKE OO DR                                                                      MANISTIQUE        MI    49854‐8500
JAMES E FONTAINE                                 3399 BARTZ RD                                                                                   STRYKERSVILLE     NY    14145
JAMES E FORD                                     20444 AUDREY                                                                                    DETROIT           MI    48235‐1630
JAMES E FOSTER                                   8006 EL DORADO DR                                                                               AUSTIN            TX    78737‐1343
JAMES E FOUNTAIN                                 306 ROOSEVELT ST                                                                                TALLULAH          LA    71282‐2726
JAMES E FOX                                      8265 DAYTON GERMANTOWN PIKE                                                                     GERMANTOWN        OH    45327‐9342
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Name                                            Address1                               Address2             Address3          Address4          City               State Zip

JAMES E FREEMAN JR CUST LEE C FREEMAN UGMA MI   1001 JACKSON ST                                                                                 ANDERSON           IN    46016‐1432

JAMES E FREICHELS                               6150 ANTIRE RD                                                                                  HIGH RIDGE         MO    63049
JAMES E FRIEDL                                  7935 RANCH ESTATES RD                                                                           CLARKSTON          MI    48348
JAMES E FRIESEN                                 5976 MEADOWOOD COURT                                                                            CHINO HILLS        CA    91709‐3256
JAMES E FRIESZ                                  3280 ST GEORGE AVE                     NIAGARA FALLS ON                       L2J 2P6 CANADA
JAMES E FULTS                                   6016 STATE ROUTE 97                                                                             PLEASANT PLAINS    IL    62677‐3999
JAMES E FURLONG                                 6136 WEST RED SKY CIRCLE                                                                        TUCSON             AZ    85713‐4366
JAMES E FURLONG & JOANN M FURLONG JT TEN        6136 W RED SKY CIR                                                                              TUCSON             AZ    85713‐4366
JAMES E FURNACE                                 12801 WIEDNER ST                                                                                PACOIMA            CA    91331‐1140
JAMES E GADD                                    COUNTY LINE RD RT 2                                                                             CRESTLINE          OH    44827‐9802
JAMES E GALLAGHER                               SWITCHBACK RIDGE                       6 WHITE LN                                               JIM THORPE         PA    18229‐1021
JAMES E GALLERANI                               2837 TANGLEWOOD BLVD                                                                            ORANGE PARK        FL    32065‐7481
JAMES E GANOTE                                  528 E 300 N                                                                                     ANDERSON           IN    46012‐1214
JAMES E GARNER                                  PO BOX 122                                                                                      ORRICK CITY        MO    64077‐0122
JAMES E GARRISON                                22644 E MARTIN LAKE DR                                                                          STACY              MN    55079‐9376
JAMES E GEBBIE                                  1521 DELMONT DR                                                                                 RALEIGH            NC    27606‐2609
JAMES E GEORGE                                  1552 INDIANA AVE                                                                                FLINT              MI    48506‐3520
JAMES E GETTINGER                               10721 HORTON                                                                                    OVERLAND PARK      KS    66211‐1145
JAMES E GIBSON                                  109 HOLT CI                                                                                     LITTLETON          NC    27850‐8380
JAMES E GIBSON & GRACE A GIBSON JT TEN          2505 JACARANA DRIVE                                                                             HARLINGEN          TX    78550‐8601
JAMES E GILL                                    413 GULF RD                                                                                     EAST MEREDITH      NY    13757‐1096
JAMES E GILLOW                                  2420 CURTIS                                                                                     NATIONAL CITY      MI    48748‐9630
JAMES E GLAZIER                                 2427 SUNNINGLOW ST                                                                              PORT CHARLOTTE     FL    33948‐3421
JAMES E GLUTH                                   PO BOX 831                                                                                      SIMSBURY           CT    06070‐7131
JAMES E GOBER                                   115 SHADBURN FERRY RD                                                                           BUFORD             GA    30518‐2537
JAMES E GOBER & ELIZABETH M GOBER JT TEN        115 SHADBURN FERRY RD                                                                           BUFORD             GA    30518‐2537
JAMES E GODDARD                                 440 HOLLONVILLE RD                                                                              BROOKS             GA    30205‐2528
JAMES E GOLDSMITH & MARY ANN GOLDSMITH JT TEN   44 ELMTREE LN                                                                                   JERICHO            NY    11753‐2633

JAMES E GRAHAM                                  5308 W FRANCES RD                                                                               CLIO               MI    48420‐8570
JAMES E GRANGER                                 941 N US#23                                                                                     EAST TAWAS         MI    48730
JAMES E GRANNEMAN                               5213 DELTA DR                                                                                   INDIANAPOLIS       IN    46241‐5816
JAMES E GRANT                                   820 FIGGS STORE RD                                                                              SHELBYVILLE        KY    40065‐9210
JAMES E GRANT                                   1090 CHAPPEL DAM RD                                                                             GLADWIN            MI    48624‐8765
JAMES E GREEN                                   170 SUNBLEST BLVD                                                                               FISHERS            IN    46208
JAMES E GREEN                                   5311 GULF DR                                                                                    PANAMA CITY        FL    32408‐6701
JAMES E GREENE                                  5695 MOLLIE CIRCLE                                                                              LIVERMORE          CA    94550‐6942
JAMES E GREER                                   PO BOX 563                                                                                      OTTO               NC    28763‐0563
JAMES E GREGORY                                 5020 OLD BUCKINGHAM RD                                                                          POWHATAN           VA    23139‐6817
JAMES E GREGORY & CHRISSIE S GREGORY JT TEN     544 ASBURY NEELY WAY                                                                            ROEBUCK            SC    29376‐3354
JAMES E GRIEVES                                 6128 S EMERSON RD                                                                               BELOIT             WI    53511‐9425
JAMES E GRIFFIN                                 6468 WOLF CREEK RD                                                                              TROTWOOD           OH    45426‐2932
JAMES E GRIFFIN                                 10 POTOMAC DRIVE                                                                                FAIRVIEW HEIGHTS   IL    62208‐1816

JAMES E GROENEVELD                              8120 WINDING DR SW                                                                              BYRON CENTER       MI    49315‐8946
JAMES E GROSS & FRANCES J GROSS JT TEN          1758 SHADY BROOK LANE                                                                           COLUMBUS           OH    43228‐9181
JAMES E GUARNERA                                9625 PROSPECT RD                                                                                STRONGSVILLE       OH    44149‐2211
JAMES E GUGELER CUST RYAN J GUGELER U/THE       2220 VINCE ROAD                                                                                 NICHOLASVILLE      KY    40356‐8812
FLORIDA GIFTS TO MINORS ACT
JAMES E GUSTY                                   14307 E WILLIAMS FIELD RD                                                                       GILBERT            AZ    85296‐5325
JAMES E H MERWARTH                              12 MULBERRY AVE                                                                                 GARDEN CITY        NY    11530‐3028
JAMES E HAAR                                    #7 WEST CEDAR                                                                                   NEW BADEN          IL    62265‐1324
JAMES E HALFORD                                 5148 WOODHAVEN DR                                                                               FLINT              MI    48504‐1282
JAMES E HALL                                    14960 TRACEY                                                                                    DETROIT            MI    48227‐3267
JAMES E HALL                                    2700 STATION ST                                                                                 ROCK CREEK         OH    44084‐9659
JAMES E HANSELMAN                               4044 NW CHEROKEE LN                                                                             NEWPORT            OR    97365‐1553
JAMES E HANSEN                                  7110 W HARRISON RD                                                                              ALMA               MI    48801‐9538
JAMES E HANSON                                  317 N 10TH ST                                                                                   MIDDLETOWN         IN    47356‐1216
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Name                                         Address1                               Address2             Address3          Address4          City               State Zip

JAMES E HARDY                                2085 E HURON P O BOX 351                                                                        AUGRES             MI    48703‐0351
JAMES E HARRIS                               729 E229TH ST                                                                                   BRONX              NY    10466‐4153
JAMES E HARRIS                               336 S HAMBDEN ST                                                                                CHARDON            OH    44024‐1200
JAMES E HARRIS                               3820 ROHNS ST                                                                                   DETROIT            MI    48214‐1393
JAMES E HARRIS                               4718 OLIVE ST                                                                                   SAINT LOUIS        MO    63108‐1819
JAMES E HARRIS                               6034 N LAKESHORE DRIVE                                                                          MACY               IN    46951‐8544
JAMES E HARRIS                               17300 INDIANA ST                                                                                DETROIT            MI    48221‐2403
JAMES E HARRISON                             1120 HULL TER                          APT 1                                                    EVANSTON           IL    60202‐3321
JAMES E HARROLD                              9385 BALDWIN ROAD                                                                               KIRTLAND HILLS     OH    44060‐8055
JAMES E HASSINGER                            2021 S CARROLLTON AVE                                                                           NEW ORLEANS        LA    70118‐2948
JAMES E HATTON                               210 W MAPLE AVE                                                                                 EL SEGUNDO         CA    90245‐2205
JAMES E HAZEL                                8256 ROUND LAKE RD                                                                              LAINGSBURG         MI    48848‐9479
JAMES E HAZELL                               11181 RUNYAN LAKE RD                                                                            FENTON             MI    48430‐2453
JAMES E HAZER                                PO BOX 1487                                                                                     STEELVILLE         MO    65565
JAMES E HEATH                                W 5435 COUNTY ROAD ES                                                                           ELKHORN            WI    53121‐3612
JAMES E HEIL & DENISE P HEIL JT TEN          4018 SWARTHMORE RD                                                                              DURHAM             NC    27707‐5368
JAMES E HELDENBRAND                          38603 SUMMERS                                                                                   LIVONIA            MI    48154‐4924
JAMES E HENDERSON                            19 HOOVER LANE                                                                                  ENFIELD            CT    06082‐5313
JAMES E HENDERSON                            5420 S WOOD STREET                                                                              CHICAGO            IL    60609‐5713
JAMES E HENDERSON JR                         817 NE MARY CT                                                                                  BLUE SPRINGS       MO    64014‐1809
JAMES E HENDRICKS                            515 BIG ELK CHAPEL ROAD                                                                         ELKTON             MD    21921‐2502
JAMES E HENNESSEE                            PO BOX 5945                                                                                     SPRING HILL        FL    34611‐5945
JAMES E HENTSCHEL                            6160 EASTMOOR                                                                                   BLOOMFIELD HILLS   MI    48301‐1440

JAMES E HEREK & ROSELLA M HEREK JT TEN       802 S MADISON                                                                                   BAY CITY           MI    48708‐7259
JAMES E HESTER                               6403 BROOKBURY CT                                                                               CHARLOTTE          NC    28226‐6130
JAMES E HEWLETT                              1353 MARIGA ST                                                                                  NOVI               MI    48374‐1108
JAMES E HIGHT                                694 OLD YAAK ROAD                                                                               TROY               MT    59935
JAMES E HILIARD                              8022 SOUTH PAXTON AVE                                                                           CHICAGO            IL    60617
JAMES E HILL                                 15556 JOAN                                                                                      SOUTHGATE          MI    48195‐2908
JAMES E HILLER                               631 SELWIN RD                                                                                   BELVIDERE          NC    27919‐9620
JAMES E HINES                                PO BOX 43                                                                                       GOULD CITY         MI    49838‐0043
JAMES E HIRSCH                               PO BOX 612                                                                                      MONTPELIER         VT    05601‐0612
JAMES E HISLE                                20252 N 17TH PL                                                                                 PHOENIX            AZ    85024‐4319
JAMES E HITCHCOCK                            650 W 1ST ST                                                                                    DEFIANCE           OH    43512‐2167
JAMES E HODNETT                              807 JOECK DR                                                                                    WEST CHESTER       PA    19382‐5244
JAMES E HOFFMEYER                            20440 MACEL ST                                                                                  ROSEVILLE          MI    48066‐1134
JAMES E HOLBROOK                             2044 HUNTINGTON                                                                                 FLINT              MI    48507‐3517
JAMES E HOLIFIELD                            509 OAK ST                                                                                      JOHNSTOWN          PA    15902‐2036
JAMES E HOLMES                               1749 ROOSEVELT                                                                                  NILES              OH    44446‐4109
JAMES E HOMOLA                               5400 LAKE DRIVE                                                                                 OWOSSO             MI    48867‐8712
JAMES E HOPKINS                              206 POPLAR AVE                                                                                  WAYNE              PA    19087‐3504
JAMES E HOPPENJANS                           9853 CHERBOURG DR                                                                               UNION              KY    41091‐7686
JAMES E HOSKIN                               2325 MARKLE PL                                                                                  SAGINAW            MI    48601‐2067
JAMES E HOSTETLER                            7326 STATE ROUTE 19 UNIT 2407                                                                   MOUNT GILEAD       OH    43338‐9332
JAMES E HOUGHTON & MARGARET T HOUGHTON JT    2811 LOCUST LANE                                                                                SOUTH BEND         IN    46615‐2701
TEN
JAMES E HOULIHAN & NORAH E HOULIHAN JT TEN   4750 WOODMIRE DR                                                                                SHELBY TOWNSHIP    MI    48316‐1566

JAMES E HOUSTON                              10895 BOYER ROAD                                                                                CARSON CITY        MI    48811‐9713
JAMES E HOWARD                               10100 GALE LAKE DR                     PO BOX 83                                                GOODRICH           MI    48438‐0083
JAMES E HOWARD                               256 EWINGVILLE ROAD                                                                             TRENTON            NJ    08638‐1812
JAMES E HOWARD                               594 ENTERPRISE RD                                                                               W ALEXANDRIA       OH    45381‐9506
JAMES E HOWARD                               2201 TAYLORTOWN RD                                                                              SHELBY             OH    44875‐8844
JAMES E HOWARTH & SUSAN L HOWARTH JT TEN     2568 TWIN BAY DR                                                                                TRAVERSE CITY      MI    49686‐8522
JAMES E HUDSON & JUDY E HUDSON JT TEN        7108 NE 83RD AVE                                                                                VANCOUVER          WA    98662‐3661
JAMES E HUMPHREY                             714 COUNTRY CLUB LANE                                                                           FLINT              MI    48507‐1825
JAMES E HURST                                3124 HERMAR COURT                                                                               ALTADENA           CA    91001‐4331
JAMES E HUTCHINS                             PO BOX 71                                                                                       BETHEL             ME    04217‐0071
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Name                                              Address1                            Address2             Address3          Address4          City            State Zip

JAMES E HUTCHINSON                                RR 3 BOX 100‐3                                                                               OAKLAND CITY    IN    47660‐9326
JAMES E HYLTON                                    PO BOX 384                                                                                   BYRON           MI    48418‐0384
JAMES E ILONCAIE                                  1795 S ALMONT AVE                                                                            IMLAY CITY      MI    48444‐9759
JAMES E IRWIN & KATHLEEN A IRWIN TR UA 5/28/92    3200 OXFORD ST                                                                               KOKOMO          IN    46902‐1500
IRWIN LIVING TRUST
JAMES E JACKSON                                   2090 RIDDLEBARGER ROAD                                                                       PORTSMOUTH      OH    45662‐8922
JAMES E JACKSON                                   7515 STAR AVE                                                                                CLEVELAND       OH    44103‐2835
JAMES E JACKSON JR                                51 SIDNEY ST                                                                                 BUFFALO         NY    14211‐1134
JAMES E JACOBER                                   3490 MARKAY COURT                                                                            CINCINNATI      OH    45248
JAMES E JACOBS & CAROLYN B JACOBS JT TEN          340 GOODE RD                                                                                 CONYERS         GA    30094‐3221
JAMES E JARDINE & SYLVIA M JARDINE JT TEN         927 LAKEVIEW DR                                                                              SHARPS CHAPEL   TN    37866‐1790
JAMES E JARMON                                    233 N RODNEY STREET                                                                          WILMINGTON      DE    19805‐3528
JAMES E JELLISON & MARJORIE A JELLISON JT TEN     15161 FORD RD APT 607                                                                        DEARBORN        MI    48126‐4653
JAMES E JOHNSON                                   5906 WATLING RD                                                                              BARRYTON        MI    49305‐9448
JAMES E JOHNSON                                   3740 WILLOW VIEW DRIVE                                                                       KINGSPORT       TN    37660‐7901
JAMES E JOHNSON                                   5200 SOUTHVIEW DR                                                                            FAIRFIELD       OH    45014‐2752
JAMES E JOHNSON                                   1851 PAINTER ROAD                                                                            FREDERICKTOWN   OH    43019‐9102
JAMES E JOHNSON                                   4491 OGDEN HWY                                                                               ADRIAN          MI    49221‐9642
JAMES E JOHNSON & MRS WINIFRED L JOHNSON JT TEN   216 ABILENE LANE                                                                             VERNON HILLS    IL    60061‐2001

JAMES E JOHNSTON                                  2709 CARROLL RD                                                                              FT WAYNE        IN    46818‐9501
JAMES E JONES                                     275 UNION SQUARE RD                                                                          OXFORD          PA    19363‐1942
JAMES E JONES                                     3279 PATTERSON PLACE DR             APT 206                                                  SAINT LOUIS     MO    63129‐2480
JAMES E JONES                                     PO BOX 14                                                                                    NEWTONSVILLE    OH    45158‐0014
JAMES E JONES                                     3982 N LAGRO RD                                                                              MARION          IN    46952‐9661
JAMES E JONES & ADA SUE JONES JT TEN              PO BOX 14                                                                                    NEWTONSVILLE    OH    45158‐0014
JAMES E JONES & LORENE BURTON JONES JT TEN        1527 N 85 TERRACE                                                                            KANSAS CITY     KS    66112‐1761
JAMES E JORDAN                                    2726 SOUTHBROOK RD                                                                           BALTO           MD    21222‐2236
JAMES E JOZWIK                                    4400 JOZWIK                                                                                  WHITE LAKE      MI    48383‐1369
JAMES E KAFFENBERGER                              6090 BRISTOL RD                                                                              BURTON          MI    48519‐1737
JAMES E KAISER                                    1 SEAL HARBOR RD                    #716                                                     WINTHROP        MA    02152‐1026
JAMES E KAVANAUGH CUST JAMES SOL KAVANAUGH        57 GLEN KEITH ROAD                                                                           GLEN COVE       NY    11542‐3514
UGMA NY
JAMES E KAY                                       801 CHURCH ST APT 1230                                                                       MOUNTAIN VIEW    CA   94041‐1964
JAMES E KAY                                       116 KAY RD                                                                                   GRIFFIN          GA   30223‐9201
JAMES E KEATING                                   2080 OAK DR                                                                                  ARNOLD           MO   63010‐2422
JAMES E KEATING & MARYANN KEATING JT TEN          2080 OAK DRIVE                                                                               ARNOLD           MO   63010‐2422
JAMES E KELLY                                     PO BOX 36626                                                                                 CINCINNATI       OH   45236‐0626
JAMES E KELLY                                     1015 40TH AVENUE                                                                             VERO BEACH       FL   32960‐4069
JAMES E KELLY                                     196 BROWN BEAR                                                                               CHAPEL HILL      NC   27517‐7693
JAMES E KELSEY & JUDITH M KELSEY JT TEN           7461 WEYER RD                                                                                IMLAY CITY       MI   48444‐9492
JAMES E KENNEDY                                   28645 HERNDONWOOD DR                                                                         FARMINGTON HILLS MI   48334‐5234

JAMES E KENNEDY                                4932 BREHOB RD                                                                                  INDIANAPOLIS    IN    46217‐3502
JAMES E KENNEL                                 1660 APPLE ORCHARD LN                                                                           WALLED LAKE     MI    48390‐1805
JAMES E KETTEMAN                               401 SE 16TH ST                                                                                  OAK GROVE       MO    64075‐9350
JAMES E KING                                   327 PIPER                                                                                       DETROIT         MI    48215‐3037
JAMES E KING & JOANN KING JT TEN               PO BOX 244                                                                                      TIPTON          IA    52772‐0244
JAMES E KINGLAND                               204 N OAK ST                                                                                    LAKE MILLS      IA    50450‐1230
JAMES E KINNEY                                 10432 W WILSON                                                                                  MONTROSE        MI    48457‐9177
JAMES E KINZIE                                 1306 W CHAPEL PIKE                                                                              MARION          IN    46952‐1839
JAMES E KIRKWOOD 3RD & CYNTHIA ANN KIRKWOOD JT 13722 E OLD US HIGHWAY 12                                                                       CHELSEA         MI    48118‐9669
TEN
JAMES E KNEUBUEHL TR JAMES E KNEUBUEHL LIVING  128 E 3RD ST                                                                                    DOVER           OH    44622‐2922
TRUST UA 11/11/97
JAMES E KNUCKLES                               1085 E YALE                                                                                     FLINT           MI    48505‐1516
JAMES E KOELLING                               9019 NE 157 ST                                                                                  SMITHVILLE      MO    64089‐8108
JAMES E KOESTER                                7152 COMBS DRIVE                                                                                HAMBURG         NY    14075‐6702
JAMES E KOLIBOB                                5652 SIGMON WAY                                                                                 FAIRFIELD       OH    45014‐3945
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Name                                            Address1                             Address2             Address3          Address4          City             State Zip

JAMES E KOTANCHEK                               510 WISTERGLEND DR                                                                            DESOTO           TX    75115‐4640
JAMES E KRAUS                                   751 HARBAUGH                                                                                  COLDWATER        MI    49036
JAMES E KRINER                                  608 ELLERDALE RD                                                                              CHESTERFIELD     IN    46017‐1426
JAMES E KRISTY & MRS EDITH R KRISTY JT TEN      559 AGUAJITO RD                                                                               CARMEL           CA    93923‐9464
JAMES E KUBASINSKI                              5119 BERWYCK                                                                                  TROY             MI    48098‐3207
JAMES E KUHNELL                                 4042 NICHOLSON ROAD                                                                           CLARKSVILLE      OH    45113‐8651
JAMES E KUHTER & CONSTANCE J KUHTER JT TEN      26755 RABIDA CIR                                                                              MISSION VIEJO    CA    92691‐3407
JAMES E KURTZ JR                                8808 STATE ROUTE 61 N                                                                         BERLIN HEIGHTS   OH    44814‐9483
JAMES E KUTY                                    137 MARLTON RD                                                                                PILESGRIVE       NJ    08098‐2723
JAMES E LABELLE                                 5825 KINYON DR                                                                                BRIGHTON         MI    48116‐9578
JAMES E LABON                                   74229 VAN DYKE                                                                                ROMEO            MI    48065‐3209
JAMES E LAKIN                                   10156 VIRGINIA ST                                                                             OSCODA           MI    48750‐1903
JAMES E LAMB                                    2416 LAWNDALE ST                                                                              DETROIT          MI    48209‐1078
JAMES E LAWHORN                                 204 HARPER RD SE                                                                              ATLANTA          GA    30315‐7406
JAMES E LAWRENCE                                RR 3 BOX 80                                                                                   BUTLER           MO    64730‐9403
JAMES E LAY                                     378 DAVID LN                                                                                  MASON            OH    45040‐2115
JAMES E LEADER & CARILLON C LEADER JT TEN       45800 JONA DR                                                                                 STERLING         VA    20165‐5689
JAMES E LEE                                     401 HOLLIDAY RD                                                                               WASHINGTON       GA    30673‐4548
JAMES E LEE JR                                  3144 VALLEY FORGE                                                                             FT WORTH         TX    76140‐1859
JAMES E LEGGETT                                 15095 GREENFIELD DRIVE                                                                        DETROIT          MI    48227‐2314
JAMES E LEITZEN                                 124 SHOAL CREEK CIRCLE                                                                        DAYTONA BEACH    FL    32114‐1142
JAMES E LENOIR                                  3210 FLEMING RD                                                                               FLINT            MI    48504‐2510
JAMES E LENOIR & WILLIE M LENOIR JT TEN         905 E NINTH ST                                                                                FLINT            MI    48503‐2731
JAMES E LEVANWAY                                624 ESSEX DRIVE WEST                                                                          LAS VEGAS        NV    89107‐4116
JAMES E LEWIS                                   137 SHORELINE DR E                                                                            PORT SANILAC     MI    48469‐9766
JAMES E LEWIS                                   PO BOX 517                                                                                    SPRINGHILL       TN    37174‐0517
JAMES E LEYSEN                                  380 BROKEN LANCE PLACE                                                                        ALPHARETTA       GA    30022‐5718
JAMES E LHEUREUX CUST MARK JAMES LHEUREUX       12814 W 82ND ST                                                                               LENEXA           KS    66215‐2619
UGMA IL
JAMES E LINDSAY                                 1311 DUNROBIN RD                                                                              NAPERVILLE       IL    60540‐8287
JAMES E LINK                                    6065 SPRINGBURN DRIVE                                                                         DUBLIN           OH    43017‐8734
JAMES E LITTLE                                  2431 MARSEILLES LARUE RD                                                                      LA RUE           OH    43332
JAMES E LOTT                                    7417 SANDPIPER LN                                                                             LANSING          MI    48917‐9555
JAMES E LUKAS                                   14106 BURNHAM AVE                                                                             BURNHAM          IL    60633‐1606
JAMES E LUKER                                   9731 AL HWY 157                                                                               VINEMONT         AL    35179‐9043
JAMES E LUTJEN JR                               1064 NW 201                                                                                   CLINTON          MO    64735‐9772
JAMES E LYONS EX EST MEGAN EBERT LYONS          13220 POINT PLEASANT DR                                                                       FAIRFAX          VA    22033
JAMES E MADDICK                                 40977 SCHOOLCRAFT RD                                                                          PLYMOUTH         MI    48170‐2601
JAMES E MAHON                                   3572 WILSON‐SHARPSVILLE                                                                       CORTLAND         OH    44410‐9433
JAMES E MAHONEY                                 4639 ROUND LAKE RD                                                                            LAINGSBURG       MI    48848‐9485
JAMES E MAJCHRZAK                               1 SIMMONS RD                                                                                  PERRY            NY    14530‐9535
JAMES E MARION                                  PO BOX 345                                                                                    HENRIETTA        NY    14467‐0345
JAMES E MARLOW                                  4468 S KIRK                                                                                   VASSAR           MI    48768‐9789
JAMES E MARSHALL                                18238 RODEO DR                                                                                STERLING         IL    61081
JAMES E MARTIN                                  23811 CANERWELL ST                                                                            NEWHALL          CA    91321‐3715
JAMES E MARTIN                                  24 HUDSON AVE                                                                                 FRANKLIN         OH    45005‐2725
JAMES E MASSENGALE                              232 WHISPERING OAKS DR                                                                        CRANBERRY TWP    PA    16066
JAMES E MATHERLEY                               1342 MC EWEN                                                                                  BURTON           MI    48509‐2129
JAMES E MATSON                                  6562 PLESENTON DR                                                                             WORTHINGTON      OH    43085‐2943
JAMES E MATTHEWS                                28 BENNETT                                                                                    PONTIAC          MI    48342‐1218
JAMES E MC CARTHY                               BOX 351                                                                                       LAKE GEROGE      MI    48633‐0351
JAMES E MC COLLAM CUST HOLLY J MC COLLAM UGMA   7259 BAY HARBOR CT                                                                            MAUMEE           OH    43537‐8735
OH
JAMES E MC COLLAM CUST MARK J MC COLLAM UGMA    7259 BAY HARBOR CT                                                                            MAUMEE           OH    43537‐8735
OH
JAMES E MC CONICO                               642 W KUMP ST                                                                                 BONNER SPRINGS   KS    66012‐1626
JAMES E MC ERLANE                               2751 CLAY STREET                                                                              PLACERVILLE      CA    95667‐3633
JAMES E MC GINNIS                               495 PARK AVE                                                                                  EAST PALESTIN    OH    44413‐1515
JAMES E MC GINNIS JR                            PO BOX 2049                                                                                   MERIDIAN         MS    39302‐2049
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Name                                             Address1                              Address2             Address3          Address4          City              State Zip

JAMES E MC MANUS                                 4200 N HARDESTY                                                                                KANSAS CITY       MO    64117‐2040
JAMES E MC MILLAN                                91 N MARSHALL ST 93                                                                            PONTIAC           MI    48342‐2951
JAMES E MCANNALLY                                268 LINCOLN RD                                                                                 ONEONITA          AL    35121‐4314
JAMES E MCCLAY                                   4810 LODGEVIEW DR                                                                              DAYTON            OH    45424‐1911
JAMES E MCCLURE & VIRGINIA MC CLURE JT TEN       4009 THACKIN DRIVE                                                                             LANSING           MI    48911‐1918
JAMES E MCGINNIS                                 16 COTTAGE ST                                                                                  NORWOOD           NY    13668‐1206
JAMES E MCGRADY                                  PO BOX 173                                                                                     PINEY CREEK       NC    28663‐0173
JAMES E MCKEOWN                                  1176 WILDWOOD DR                                                                               WOOSTER           OH    44691‐5718
JAMES E MCKINLEY & SYLVIA L MCKINLEY JT TEN      1157 SULPHUR SPRINGS LN                                                                        MINERAL RIDGE     OH    44440‐9019
JAMES E MCKINNEY                                 2719 S OUTER DR                                                                                SAGINAW           MI    48601‐6687
JAMES E MCMENAMIN SR & HELEN M MCMENAMIN JT      164 W 3RD ST                                                                                   BLOOMSBURG        PA    17815‐1757
TEN
JAMES E MCSHANE                                  38 VENTOR DR                                                                                   EDISON            NJ    08817
JAMES E MEAGHER                                  13 WALNUT CIRCLE                                                                               WEBSTER           NY    14580‐3048
JAMES E MEDORE                                   4611 TRASK LAKE RD                                                                             HARRISVILLE       MI    48740‐9745
JAMES E MEHL                                     178 TRAYLORS GATE CIRCLE                                                                       IRMO              SC    29063‐2305
JAMES E METIVIER                                 30 ARTHUR STREET                                                                               BELLINGHAM        MA    02019‐2502
JAMES E MEYER                                    64 NORFOLK RD                                                                                  TORRINGTON        CT    06790‐2716
JAMES E MEYER                                    1818 E ANDERSON RD                                                                             LINWOOD           MI    48634‐9451
JAMES E MIELE                                    44 CHOOTAW RIDGE ROAD                                                                          SOMERVILLE        NJ    08876‐5437
JAMES E MILLER                                   4542 W 500 N                                                                                   MADISON           IN    47250‐7854
JAMES E MILLER                                   5935 SCHOOL                                                                                    BERKELEY          IL    60163‐1550
JAMES E MILLER JR                                10421 MONARCH DR                                                                               LARGO             FL    33774‐5014
JAMES E MILLS                                    PO BOX 199                                                                                     ARJAY             KY    40902‐0199
JAMES E MILLS & BERTHA M MILLS TR MILLS LIVING   3611 FLORAL PARK RD                                                                            BRANDYWINE        MD    20613‐9125
TRUST UA 02/18/97
JAMES E MILLS JR                                 7424 OLD ALEXANDE FERRY RD                                                                     CLINTON           MD    20735‐1801
JAMES E MITCHELL                                 5975 CROOKED CREEK E DRIVE                                                                     MARTINSVILLE      IN    46151‐8311
JAMES E MITCHEM                                  5516 BYRAMS FORD ROAD                                                                          KANSAS CITY       MO    64129‐2635
JAMES E MITTS & MARGARET E MITTS JT TEN          2700 MARFITT RD                       APT 105                                                  EAST LANSING      MI    48823‐6338
JAMES E MOFIELD                                  5881 S PROCTOR RD                                                                              MUNCIE            IN    47302‐8938
JAMES E MONGRAIN                                 1380 LAZY CREEK DR NE                                                                          KEIZER            OR    97303‐7808
JAMES E MOODIE                                   14 WESTERN DRIVE                                                                               WEST ALEXANDRIA   OH    45381‐1126

JAMES E MOODY IV & LAURA B MOODY JT TEN          PO BOX 63                                                                                      FLORENCE          AL    35631‐0063
JAMES E MOON                                     2728 FIVE FORKS TRICKUM RD                                                                     LAWRENCEVILLE     GA    30044‐5865
JAMES E MOORE                                    16857 INVERNESS                                                                                DETROIT           MI    48221‐3110
JAMES E MOORE 2ND & MARLENE J MOORE JT TEN       31830 FIRECREST RD                                                                             AGUA DULCE        CA    91350‐2762

JAMES E MORAN                                    2200 M‐52                                                                                      WILLIAMSTON       MI    48895‐9511
JAMES E MORTON & BARBARA MORTON JT TEN           33977 MOORE DR                                                                                 FARMINGTON        MI    48335‐4152
JAMES E MOSBEY                                   1 N LARAND DR                                                                                  HOLTS SUMMIT      MO    65043‐1124
JAMES E MOTLEY                                   10209 E 95TH TERRACE                                                                           KANSAS CITY       MO    64134‐2364
JAMES E MOULDER & LADONNA E MOULDER JT TEN       1486 BEACONFIELD CT                                                                            CARMEL            IN    46033‐8506

JAMES E MUDD                                     194 BLUE BONNET LN                                                                             YOAKUM            TX    77995‐4800
JAMES E MULDOWNEY & LORETTA M MULDOWNEY JT       530 BARBER AVENUE                                                                              BRICK             NJ    08723‐5374
TEN
JAMES E MULLINS                                  PO BOX 76                                                                                      BAKERSFIELD       MO    65609‐0076
JAMES E MUNDELL                                  873 HIGH ST                                                                                    MIDDLETOWN        IN    47356‐1316
JAMES E MURPHY                                   8319 SUNBURST ST                                                                               CENTERLINE        MI    48015‐1542
JAMES E MURRAY                                   123 W RAINTREE LN                                                                              GOLDSBORO         NC    27534‐7363
JAMES E MUSCARITILLO                             3 MEMORY LANE                                                                                  MILFORD           MA    01757‐2319
JAMES E MUSTO                                    156 VENETIA VIEW CIRLCE                                                                        ROCHESTER         NY    14626‐1072
JAMES E NEWMAN                                   1940 NORTH HIGHLAND AVE UNIT 62                                                                LOS ANGELES       CA    90068‐3294
JAMES E NICHOLS II                               PO BOX 4320                                                                                    TUMWATER          WA    98501‐0320
JAMES E NIEMI                                    1436 SARETA TER                                                                                NORTH PORT        FL    34286‐6136
JAMES E NIETERT & CARRIE J NIETERT JT TEN        6393 KINGS POINTE ROAD                                                                         GRAND BLANC       MI    48439‐8797
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JAMES E NISCHALKE                               13321 ROXBURY DR                                                                             STERLING HEIGHTS   MI    48312‐1539

JAMES E NOLL                                    58 MERWIN AVE                                                                                ROCHESTER       NY       14609‐6713
JAMES E NORMAN                                  232 SOUTH PELHAM DR                                                                          DAYTON          OH       45429‐1572
JAMES E NOVAK                                   3192 N DOW ROAD                                                                              WEST BRANCH     MI       48661‐9420
JAMES E NUNN                                    1491 E 191ST ST 102                                                                          EUCLID          OH       44117‐1328
JAMES E NUNN & HAROLD F NUNN JT TEN             3747 FRIEBERGER ROAD                                                                         SNOVER          MI       48472‐9388
JAMES E OLESON                                  80 GROVE ST                                                                                  HOPKINTON       MA       01748‐1866
JAMES E OLIVER                                  32150 MEADOWBROOK ST                                                                         LIVONIA         MI       48154‐3576
JAMES E OLLIE                                   18239 STAHELIN                                                                               DETROIT         MI       48219‐2802
JAMES E OLSICK                                  12490 E ATHERTON RD                                                                          DAVISON         MI       48423‐9112
JAMES E OSBORNE                                 623 E HAYES                                                                                  HAZEL PARK      MI       48030‐2569
JAMES E OSBORNE                                 3231 OAK PARK CT                                                                             MILFORD         MI       48380‐3559
JAMES E OUTLAW                                  224 CLAIRMONT AVE                                                                            JERSEY CITY     NJ       07305‐3622
JAMES E OVERTON                                 96 WATERBURY PKWY PH                                                                         CORTLANDT       NY       10567‐1713
                                                                                                                                             MANOR
JAMES E OWENS                                   3912 HOLLETTS CORNER ROAD                                                                    CLAYTON         DE       19938‐3143
JAMES E PACE                                    516 E VINE ST                                                                                LIMA            OH       45804‐1758
JAMES E PALMER                                  9306 ZERO HYWY                                                                               ODESSA          MO       64076‐9773
JAMES E PAPACENA                                37 RIDGE ST                                                                                  CRESTWOOD       NY       10707‐1015
JAMES E PAPACENA & ALICE M PAPACENA JT TEN      37 RIDGE ST                                                                                  CRESTWOOD       NY       10707‐1015
JAMES E PAPP                                    136 SAVOY AVE                                                                                W CARROLLTON    OH       45449‐1725
JAMES E PAPP JR                                 6315 COUNTRY ESTATES                                                                         TIPP CITY       OH       45371‐2007
JAMES E PARKER                                  2144 POTAWATOMI TRL                                                                          SANDUSKY        OH       44870‐6254
JAMES E PARKER JR                               389 N CHARLES AVE                                                                            INVERNESS       FL       34453‐8938
JAMES E PARRISH                                 5610 STOKES ST                                                                               PHILADELPHIA    PA       19144‐1315
JAMES E PARTLOW                                 4249 DILLON ROAD                                                                             FLUSHING        MI       48433‐9745
JAMES E PASEK                                   821 STANFORD CIRCLE                                                                          ROCHESTER HILLS MI       48309‐2331
JAMES E PASTIER & GINA M PASTIER JT TEN         8 SURREY LANE                                                                                MASSAPEQUA PARK NY       11762‐1962

JAMES E PATRICK                                  4241 BARTH LANE                                                                             DAYTON             OH    45429‐1306
JAMES E PATRICK                                  2805 MUSGROVE DR                                                                            AUGUSTA            GA    30909‐6414
JAMES E PATTERSON JR                             BOX 98                                                                                      LUGOFF             SC    29078‐0098
JAMES E PATTI                                    2 WERTSVILLE RD                                                                             HILLSBOROUGH       NJ    08844‐3232
JAMES E PAUL                                     102 CONFEDERATE ST                                                                          FITZGERALD         GA    31750‐8765
JAMES E PAULMAN                                  406 ROSTRAVER RD                                                                            BELLE VERNON       PA    15012‐1925
JAMES E PAVLOSKY & MRS MARCELLA A PAVLOSKY JT    2006 WASHINGTON IRVING                                                                      PEARLAND           TX    77581‐5530
TEN
JAMES E PAWLAK & BETTY ANN PAWLAK JT TEN         2311 S FARRAGUT                                                                             BAY CITY           MI    48708‐8160
JAMES E PAYTON                                   12294 RIDGESIDE ROAD                                                                        INDIANAPOLIS       IN    46256‐9401
JAMES E PEARSON & CONNIE S PEARSON JT TEN        2167 W AIRPORT RD                                                                           PERU               IN    46970‐7232
JAMES E PELAYO                                   693 THE VILLAGE                                                                             REDONDO BEACH      CA    90277
JAMES E PENDLETON                                813 KNIGHT CIRCLE                                                                           MARION             IN    46952‐2466
JAMES E PEOPLES                                  1807 W HOBSON AVE                                                                           FLINT              MI    48504‐7043
JAMES E PERISO & PATRICIA M PERISO TR PERISO FAM 2569 CLARK RD                                                                               LAPEER             MI    48446‐9300
TRUST UA 04/10/96
JAMES E PERRY                                    324 BEAGHAN DR                                                                              GLEN BURNIE        MD    21060‐8227
JAMES E PETERS CUST CHARLES RAY SMITH IV UNDER   2212 SIESTA DR                                                                              BATAVIA            OH    45103‐3174
THE OH TRAN MIN ACT
JAMES E PETERS CUST CHLOE R DOVE UNDER THE OH    2212 SIESTA DR                                                                              BATAVIA            OH    45103‐3174
TRAN MIN ACT
JAMES E PETERS CUST GABRIEL N SMITH UNDER THE OH 2212 SIESTA DR                                                                              BATAVIA            OH    45103‐3174
TRAN MIN ACT
JAMES E PETERS CUST JACOB THOMAS ROSS UNDER THE 2212 SIESTA DR                                                                               BATAVIA            OH    45103‐3174
OH TRAN MIN ACT
JAMES E PETERS CUST JAYSON LIAM ROSS UNDER THE 2212 SIESTA DR                                                                                BATAVIA            OH    45103‐3174
OH TRAN MIN ACT
JAMES E PETERS CUST LOGAN JAMES SMITH UNDER THE 2212 SIESTA DR                                                                               BATAVIA            OH    45103‐3174
OH TRAN MIN ACT
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JAMES E PETTUS                                      8447 SOUTH WEST 107TH LANE                                                                    OCALA            FL    34481
JAMES E PETTY                                       2386 EUGENE                                                                                   BURTON           MI    48519‐1354
JAMES E PEUGH                                       PO BOX 913                                                                                    RANCHO           CA    91729‐0913
                                                                                                                                                  CUCAMONGA
JAMES E PFLEGER                                     32 WOODSIDE PARK                                                                              PLEASANT RIDGE   MI    48069‐1041
JAMES E PHILLIPS                                    7321 SPRAGUE ST                                                                               ANDERSON         IN    46013‐3940
JAMES E PHILLIPS                                    46000 GEDDES RD                      TRLR 340                                                 CANTON           MI    48188‐2353
JAMES E PHILLIPS                                    4250 MARICARR DRIVE                                                                           KETTERING        OH    45429‐3155
JAMES E PICKETT                                     10133 TOOHY TRL                                                                               HARRISON         MI    48625‐8849
JAMES E PIERCE                                      208 PRAIRIE ST                                                                                DANVILLE         IL    61832‐2457
JAMES E PIERPAOLI                                   168 TOWNLINE ROAD                                                                             ELMA             NY    14059‐9709
JAMES E PIESIK                                      PO BOX 372                                                                                    WOLVERINE        MI    49799‐0372
JAMES E PIKE                                        8969 FOX                                                                                      ALLEN PARK       MI    48101‐1501
JAMES E PILARSKI & MRS JUDITH S PILARSKI JT TEN     220 WHITE FIELD DR                                                                            FORT WAYNE       IN    46804‐6472

JAMES E PINNELL                                     478 SIMCOE ST N                      OSHAWA ON                              L1G 4T6 CANADA
JAMES E PITMAN JR                                   3572 PLEASANT LAKE DR                                                                         INDIANAPOLIS     IN    46227‐6920
JAMES E PITTS                                       PO BOX 38621                                                                                  DETROIT          MI    48238‐0621
JAMES E POLING                                      231 SANDERSON DR                                                                              CENTERVILLE      OH    45459‐1908
JAMES E POLING & HELEN A POLING JT TEN              231 SANDERSON DR                                                                              CENTERVILLE      OH    45459‐1908
JAMES E POLSTON JR & ALICE M POLSTON JT TEN         105 S LAWNDALE                                                                                WASHINGTON       IL    61571‐2800
JAMES E POMINVILLE                                  315 NW SECOND ST                                                                              WALNUT RIDGE     AR    72476‐1912
JAMES E POOLE                                       14300 RAVENNA RD                                                                              NEWBURY          OH    44065‐9621
JAMES E PORTER                                      817 HOLLAND                                                                                   SAGINAW          MI    48601‐2621
JAMES E POTTER                                      9690 DAVID LN                                                                                 WHITE LAKE       MI    48386‐1868
JAMES E POWERS                                      155 W HOLLAND LAKE DR                                                                         SHERIDAN         MI    48884‐9305
JAMES E PRATHER                                     5081 CR 500                                                                                   RIPLEY           MS    38663
JAMES E PRENDERGAST                                 277 MILFORD LN #B ROSSMR                                                                      JAMESBURG        NJ    08831‐1705
JAMES E PRICE                                       2997 US HIGHWAY 50 E                                                                          BEDFORD          IN    47421‐3481
JAMES E PRICE                                       1428 SUNNY RD                                                                                 LANSING          MI    48906‐6405
JAMES E PRICE                                       411 BENTWOOD DR                                                                               LEESBURG         FL    34748‐7262
JAMES E PRITCHETT                                   308 W MCKEE ST                                                                                PARK HILLS       MO    63601‐3414
JAMES E PURLESKI                                    21000 SOUTH NUNNELEY                                                                          MT CLEMENS       MI    48035‐1695
JAMES E PURLESKI & L PEARL PURLESKI JT TEN          21000 S NUNNELEY                                                                              MT CLEMENS       MI    48035‐1695
JAMES E PYBURN                                      54 LAKE GRIFFIN DR                                                                            FRUITLAND PK     FL    34731‐6350
JAMES E RADEBAUGH                                   221 PLUM RIDGE RD                                                                             TAYLORSVILLE     KY    40071‐9220
JAMES E RADEMACHER                                  12740 LEHMAN RD                                                                               WESTPHALIA       MI    48894
JAMES E RAGSDALE                                    522 S LAS UVAS                                                                                GREEN VALLEY     AZ    85614‐2237
JAMES E RAINS                                       14095 E 2000TH AVE                                                                            WEST YORK        IL    62478‐2201
JAMES E RAMSAY                                      6911 CAMPERLEY DR                                                                             NEW ORLEANS      LA    70128‐2201
JAMES E RANDOLPH                                    21 CENTRE STREET                                                                              MOUNT VERNON     NY    10552‐1811
JAMES E RANEY                                       12212 OLD TRACE RD                                                                            SOMERVILLE       OH    45064
JAMES E RASE                                        620 SPRINGCREST DRIVE                                                                         EL PASO          TX    79912‐4153
JAMES E RASE & JUDITH K RASE JT TEN                 620 SPRING CREST                                                                              EL PASO          TX    79912‐4153
JAMES E RATLIFF                                     10580 E CALLE DEL ESTE                                                                        TUCSON           AZ    85748‐6841
JAMES E RAY                                         2275 BATES RD                                                                                 MT MORRIS        MI    48458‐2603
JAMES E RAYBURN & GLORIA O RAYBURN JT TEN           3209 AUSRIN AVE                                                                               ORANGE           TX    77630‐6023
JAMES E REBSTOCK & LINDA REBSTOCK JT TEN            2113 MCKISSICK                                                                                FRIENDSWOOD      TX    77546‐5523
JAMES E REDDEN                                      3440 S WATER MILL RD                                                                          MONTGOMERY       AL    36116‐1909
JAMES E REED                                        4504 KILCULLEN DR                                                                             RALEIGH          NC    27604‐3520
JAMES E REESE                                       4381 HELAINE DR                                                                               FRANKLIN         OH    45005‐1923
JAMES E REHERMAN                                    2740 WATERS EDGE DR                                                                           GAINESVILLE      GA    30504‐3960
JAMES E REID                                        2558 MASSILLON RD                                                                             AKRON            OH    44312‐5359
JAMES E REILLY                                      2250 NOB HILL DRIVE                                                                           CARLSBAD         CA    92008‐1137
JAMES E REYNOLDS                                    1830 S ELBA RD                                                                                LAPEER           MI    48446‐9787
JAMES E REYNOLDS                                    212 FOX DRIVE                                                                                 MASON            OH    45040‐1914
JAMES E RICE                                        2712 NW 3RD TER                                                                               BLUE SPRINGS     MO    64014
JAMES E RICHARDSON                                  431 SOUTH ST                                                                                  LOCKPORT         NY    14094‐3913
JAMES E RICHEY                                      9363 NORTH COUNTY RD 400 WEST                                                                 MIDDLETOWN       IN    47356‐9463
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Name                                            Address1                             Address2             Address3          Address4          City           State Zip

JAMES E RIDLER                                   927 WALSH AVE                                                                                LANGHORNE      PA    19047‐2771
JAMES E RIER JR                                  18 HERON DR                                                                                  TOPSHAM        ME    04086‐1679
JAMES E ROACH                                    7657 SPRUCEWOOD AVE                                                                          WOODRIDGE      IL    60517‐2820
JAMES E ROBBINS                                  949 RIVER RD                                                                                 AUBURN         MI    48611‐9726
JAMES E ROBERTS                                  2011 UPPER BELLBROOK RD                                                                      XENIA          OH    45385‐9007
JAMES E ROBERTS                                  1026 MAPLE RD                                                                                BALTIMORE      MD    21221‐6115
JAMES E ROBERTS                                  15025 SO PERRY RD                                                                            LAURELVILLE    OH    43135
JAMES E ROBERTSON                                1213 CREEK VIEW DR                                                                           ROCHESTER      MI    48307‐1701
JAMES E ROBINSON                                 36 ARROWHEAD DR                                                                              BEREA          KY    40403‐1845
JAMES E ROCK                                     9272 JILL MARIE LN                                                                           SWARTZ CREEK   MI    48473‐8613
JAMES E ROSENDAHL                                PO BOX 126                                                                                   ESTHERVILLE    IA    51334‐0126
JAMES E ROWLAND                                  380 HILLVIEW RD                                                                              HAMPTON        GA    30228‐2520
JAMES E RUDD                                     2505 LAMBERTS AVE                                                                            RICHMOND       VA    23234‐2113
JAMES E RUNNER                                   3991 VILLA DR                                                                                COLUMBUS       IN    47203‐1459
JAMES E RUTLAND & FRANCES C RUTLAND JT TEN       872 SUMRALL RD                                                                               BASSFIELD      MS    39421‐4129
JAMES E SAMMONS                                  170 BEAR BRANCH RD                                                                           DILLSBORO      IN    47018‐8825
JAMES E SAUNDERS                                 4521 W MONROE ST                                                                             CHICAGO        IL    60624‐2519
JAMES E SAUNDERS                                 PO BOX 203                                                                                   CHATHAM        PA    19318‐0203
JAMES E SAYE                                     2352 GEORGE AVE                                                                              YPSILANTI      MI    48198‐6615
JAMES E SCATTERGOOD                              6143 OXWYNN LANE                                                                             CHARLOTTE      NC    28270‐1731
JAMES E SCHEFFLER                                11875 SHAFTSBURG RD                                                                          LAINGSBURG     MI    48848‐9732
JAMES E SCHLEBEN                                 10789 KNOCKADERRY DR                                                                         GRAND LEDGE    MI    48837‐8168
JAMES E SCHMALZRIEDT                             2801 WYNSTONE DR                                                                             SEBRING        FL    33872‐4741
JAMES E SCHMALZRIEDT & CAROLYN L SCHMALZRIEDT 2801 WYNSTONE DR                                                                                SEBRING        FL    33872‐4741
JT TEN
JAMES E SCHMALZRIEDT & CAROLYN SCHMALZRIEDT JT 2801 WYNSTONE DR                                                                               SEBRING        FL    33872‐4741
TEN
JAMES E SCHROYER                                 16474 COWLEY RD                                                                              GRAFTON        OH    44044‐9209
JAMES E SCHWEITZER                               7531 30TH STREET                                                                             ADA            MI    49301‐9239
JAMES E SCOFIELD                                 2141 ADELPHA AVENUE APT A                                                                    HOLT           MI    48842‐1159
JAMES E SEEMAN                                   6340 JACKSON ST                                                                              INDIANAPOLIS   IN    46241‐1027
JAMES E SEIFERT                                  1805 JACKSON                        PO BOX 205                                               LAKE GEORGE    MI    48633‐0205
JAMES E SEITZ                                    1140 E RIVERVIEW APT 2A                                                                      NAPOLEON       OH    43545‐5749
JAMES E SELMSER                                  1136 GREENCROFT ST                                                                           CHANNELVIEW    TX    77530‐2855
JAMES E SHANTZ                                   5911 MABLEY HILL ROAD                                                                        FENTON         MI    48430‐9418
JAMES E SHAPLEY & LORRAINE O SHAPLEY JT TEN      230 W GREENVIEW DRIVE                                                                        RICHLAND       WA    99352‐8495
JAMES E SHAW                                     5403 OREGON TRAIL                                                                            LAPEER         MI    48446‐8015
JAMES E SHAW                                     5524 CHALFONTE PASS                                                                          GRAND BLANC    MI    48439‐9145
JAMES E SHAW                                     7038 BONNAVENT DR                                                                            HERMITAGE      TN    37076‐1067
JAMES E SHEA                                     11850 ROSE TER                                                                               HOLLY          MI    48442‐8608
JAMES E SHELBY CUST KEVIN P SHELBY UGMA OH       6771 MEADOWOOD DR                                                                            CLEVELAND      OH    44143‐2339
JAMES E SHELL                                    353 S 31ST                                                                                   SAGINAW        MI    48601‐6349
JAMES E SHELLENBERGER & PEGGY J SHELLENBERGER JT 11939 RD D                                                                                   BRYAN          OH    43506‐9549
TEN
JAMES E SHELTON                                  3419 LORAL DRIVE                                                                             ANDERSON       IN    46013‐2222
JAMES E SHEPPARD                                 4718 VINSON WAY                                                                              SARASOTA       FL    34232‐4126
JAMES E SIERING                                  3613 BLISSFIELD HWY                                                                          BLISSFIELD     MI    49228‐9578
JAMES E SILVERS & CAROL A SILVERS JT TEN         9151 S CR 461 E                                                                              MUNCIE         IN    47302‐8458
JAMES E SIMS                                     18118 STRASBURG ST                                                                           DETROIT        MI    48205‐2629
JAMES E SIMS                                     30 INTERNATIONAL LANE                                                                        GRAND ISLAND   NY    14072‐1432
JAMES E SISCO                                    2835 FLECK RD                                                                                SIX LAKES      MI    48886‐9528
JAMES E SKORULSKI                                37 SLUSSER AVE                                                                               NEW HARTFORD   NY    13413‐2135
JAMES E SLATTERY                                 2527 E LYNN                                                                                  ANDERSON       IN    46016‐5541
JAMES E SLICHTER                                 24102 JACOB MACA DR                                                                          HILL CITY      SD    57745‐6547
JAMES E SLUSS                                    413 E N A                                                                                    GAS CITY       IN    46933‐1506
JAMES E SMEBERG                                  1304 HIGH ST                                                                                 MARQUETTE      MI    49855‐3035
JAMES E SMITH                                    48 KELLYS CREEK RD                                                                           ARDMORE        TN    38449‐6000
JAMES E SMITH                                    552 NORTH ST                                                                                 WAYNESVILLE    OH    45068‐8420
JAMES E SMITH                                    7941 IRVINGTON AVE                                                                           DAYTON         OH    45415‐2317
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Name                                               Address1                               Address2                      Address3   Address4          City              State Zip

JAMES E SMITH                                      3244 CEDAR KEY DR                                                                                 LAKE ORION        MI    48360‐1555
JAMES E SMITH                                      235 DYKES LN                                                                                      LAFOLLETT         TN    37766‐5017
JAMES E SMITH                                      1801 CODY DR                                                                                      SILVER SPRING     MD    20902‐4026
JAMES E SMITH                                      1089 STATE ROUTE 3308                                                                             SOUTH SHORE       KY    41175‐8994
JAMES E SMITH                                      2175 CEDAR AVENUE                                                                                 BRONX             NY    10568
JAMES E SMITH & HELEN R SMITH JT TEN               601 COMMONWEALTH AVE                                                                              FLINT             MI    48503‐2255
JAMES E SMITH JR                                   4780 OAK ST EXT                                                                                   LOWELLVILLE       OH    44436‐9744
JAMES E SNELL                                      2431 SILVER BELL LOOP                                                                             FAYETTEVILLE      NC    28304‐4896
JAMES E SNODGRASS                                  656 COUNTY RD 432                                                                                 POPLAR BLUFF      MO    63901‐8251
JAMES E SNYDER                                     425 BARRINGER RD                                                                                  CHERRY VALLEY     NY    13320‐3526
JAMES E SOK & MRS CATHERINE M SOK JT TEN           127 7TH AVE                                                                                       WESTWOOD          NJ    07675‐2031
JAMES E SOULE                                      1373 W WEBB ROAD                                                                                  DEWITT            MI    48820‐9387
JAMES E SPARLING JR CUST DARYL WIEN UGMA CT        7 TARONE DR                                                                                       WESTPORT          CT    06880‐4725

JAMES E SPEARS                                     224 DARRELL DR                                                                                    ELIZABETH       KY      42701‐5521
JAMES E SPENCER & MARIAN K SPENCER JT TEN          7315 GREEN FARM RD                                                                                WEST BLOOMFIELD MI      48322‐2830

JAMES E SPIKER                                     4667 PRESTON ROAD                                                                                 HOWELL            MI    48843‐9368
JAMES E SPRINGER                                   330 DEEPDALE DR                                                                                   NORWALK           OH    44857‐9796
JAMES E SPURGEON                                   10945 N W RIDGE RD                                                                                PORTLAND          OR    97229‐4033
JAMES E STANDARD                                   1230 TEMPLE PL                                                                                    ST LOUIS          MO    63112‐2906
JAMES E STANLEY                                    464 W NORTHFIELD                                                                                  PONTIAC           MI    48340‐1323
JAMES E STARR                                      476 E 127TH ST                                                                                    CLEVELAND         OH    44108‐1804
JAMES E STATON                                     1001 GRACELAWN DR                                                                                 BRENTWOOD         TN    37027‐5510
JAMES E STATON & CAROL L STATON JT TEN             1001 GRACELAWN DR                                                                                 BRENTWOOD         TN    37027‐5510
JAMES E STEPHENS                                   33 WOODMONT RD                                                                                    MELVILLE          NY    11747‐3320
JAMES E STEVENS                                    9825 FOX REST LANE                                                                                VIENNA            VA    22181‐5369
JAMES E STICHTER                                   502 EDGEWATER DR                                                                                  GRANTS PASS       OR    97527‐5424
JAMES E STIGGERS                                   9814 GIBSON                                                                                       CLEVELAND         OH    44105‐1738
JAMES E STILSON                                    303 BAY HILL WY                                                                                   HUNTSVILLE        AL    35824‐1335
JAMES E STIRRETT & MRS MARILYN K STIRRETT JT TEN   804 HUNTERS HILL TRCE                                                                             OLD HICKORY       TN    37138‐1947

JAMES E STONER                                     4992 NW 32 ST                                                                                     OCALA             FL    34482‐8373
JAMES E STRATIS                                    5132 WILD MARSH DR                                                                                SAINT PAUL        MN    55110‐3501
JAMES E STRATIS & PHYLLIS J STRATIS JT TEN         5132 WILD MARSH DRIVE                                                                             WHITE BEAR LK     MN    55110
JAMES E STREBY                                     1420 RIDGELAWN                                                                                    FLINT             MI    48503‐2755
JAMES E STREBY & MRS MILDRED J STREBY JT TEN       1420 RIDGELAWN                                                                                    FLINT             MI    48503‐2755
JAMES E STRUFFER CUST EYRICH R STAUFFER UGMA NY    21 WOODBURY WAY                                                                                   FAIRPORT          NY    14450‐2475

JAMES E STUFFT                                  28064 OAKHAVEN LN                                                                                    MENIFEE           CA    92584‐8098
JAMES E STUMP                                   PO BOX 1707                                                                                          WASKOM            TX    75692‐1707
JAMES E SUMNER                                  8175 N MASON                                                                                         WHEELER           MI    48662‐9742
JAMES E SUNDERLAND & EDWARD M SUNDERLAND JT 1636 LEXINGTON AVENUE #11                                                                                NEW YORK          NY    10029
TEN
JAMES E SUTCH CUST KORI ELIZABETH BOWEN UTMA IN 2432 N 7TH ST                                                                                        TERRE HAUTE       IN    47804‐1805

JAMES E SUTTON                                     52 EDGEWOOD VIS                                                                                   NEWNAN            GA    30265‐3135
JAMES E SWAN                                       C/O GERTRUDE MOORE SWAN                2400 E BASELINE AVE LOT 270                                APACHE JUNCTION   AZ    85219‐5720

JAMES E SWAN III                                   POST OFFICE BOX 5971                                                                              COLUMBIA          SC    29250‐5971
JAMES E SWANN CUST JAMES E SWANN JR UGMA VA        700 HELENA MORIAH RD                                                                              TIMBERLAKE        NC    27583‐9054

JAMES E SWANN CUST MARY KATHRYNE SWANN UGMA 1024 N UTAH #627                                                                                         ARLINGTON         VA    22201‐5736
VA
JAMES E SWANSON                                2504 MALLARD LN                                                                                       MCALESTER         OK    74501‐7325
JAMES E SWEENEY & BEVERLY SWEENEY JT TEN       955 FAIRFIELD DR                                                                                      MARIETTA          GA    30068‐2624
JAMES E SWEENEY CUST TIMOTHY J SWEENEY UTMA GA 955 FAIRFIELD DR                                                                                      MARIETTA          GA    30068‐2624

JAMES E SWORTHWOOD                                 7465 S DURAND RD                                                                                  DURAND            MI    48429‐9401
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JAMES E SYLVESTER                                326 LAKEWAY TERRACE                                                                             SPRING HILL        TN    37174
JAMES E SYNK                                     510 EAST 86 #10D                                                                                NEW YORK           NY    10128
JAMES E TATE & JUDITH A TATE JT TEN              18015 8TH AVE NW                                                                                SEATTLE            WA    98177‐3542
JAMES E TAYLOR                                   2923A OVERHILL STREET                                                                           SOUTH PARK         PA    15129‐9308
JAMES E TAYLOR                                   419 FRANKLIN ST                                                                                 PENDLETON          IN    46064‐1337
JAMES E TAYLOR JR                                215 CHARLES ST                                                                                  PEVELY             MO    63070‐2165
JAMES E TEASLEY & BARBARA N TEASLEY JT TEN       24386 HWY 271                                                                                   GLADEWATER         TX    75647
JAMES E TERRY JR                                 PO BOX 05727                                                                                    DETROIT            MI    48205‐0721
JAMES E TESKE CUST CRAIG J MYHRE UGMA WI         8357 STEBBENSVILLE RD                                                                           EDGERTON           WI    53534‐8880
JAMES E TESKE CUST KYLE J MYHRE UGMA WI          8357 STEBBENSVILLE RD                                                                           EDGERTON           WI    53534‐8880
JAMES E TESKE CUST SARA A MYHRE UGMA WI          8357 STEBBENSVILLE RD                                                                           EDGERTON           WI    53534‐8880
JAMES E THAYER & RUTH M THAYER JT TEN            355 INDEPENDENT AVE                                                                             GRAND JUNCTION     CO    81505‐7118

JAMES E THIBODEAUX                               565 E PIKE ST                                                                                   PONTIAC            MI    48342‐2969
JAMES E THOMAS                                   4741 RIDGE RD W                                                                                 SPENCERPORT        NY    14559‐1523
JAMES E THOMAS                                   PO BOX 15201                                                                                    DETROIT            MI    48215‐0201
JAMES E THOMASON                                 2009 BETTY STREET                                                                               SHREVEPORT         LA    71108‐5805
JAMES E THOMPSON                                 126 N 5TH AVE                                                                                   SAGINAW            MI    48607‐1409
JAMES E THOMPSON                                 575 DEER RUN RD                                                                                 NEW BERN           NC    28562
JAMES E THORN                                    636 GLENWOOD LANE                                                                               WEST CHESTER       PA    19380‐5702
JAMES E THORNTON                                 517 W HOME AVE                                                                                  FLINT              MI    48505‐2669
JAMES E THORNTON                                 868 BRANSCOMB RD                                                                                GRN COVE SPGS      FL    32043‐9588
JAMES E TIBBITTS                                 9827 VIA SONOMA                                                                                 CYPRESS            CA    90630‐3437
JAMES E TIPPETT                                  4305 MORGAN RD                                                                                  MARLETTE           MI    48453‐8917
JAMES E TIPPETT                                  1701 BUNCHE DR                                                                                  FT WORTH           TX    76112‐7744
JAMES E TOLIVER                                  414 TOD LN                                                                                      YOUNGSTOWN         OH    44504‐1404
JAMES E TOMASZEWSKI                              PO BOX 1235                                                                                     CLARKESVILLE       GA    30523‐0021
JAMES E TOMECHKO                                 1741 BOGGS RD                                                                                   FOREST HILL        MD    21050‐2511
JAMES E TONER III                                2604 BRADWOOD RD                                                                                WILMINGTON         DE    19810‐1106
JAMES E TOWNS                                    780 CAYO GRANDE CT                                                                              NEWBURY PARK       CA    91320‐1942
JAMES E TRACY                                    203 CHEYENNE CIR                                                                                SCOTT              LA    70583‐5611
JAMES E TRACY & ISABELLE M TRACY JT TEN          7913 WOODRUFF DR                                                                                ORLAND PARK        IL    60462‐5072
JAMES E TRUESDELL                                R D 1 BOX 94                                                                                    SOUTH KORTRIGHT    NY    13842‐9718

JAMES E TRUESDELL JR & MRS MARILYN R TRUESDELL JT 9629 BURNINGTREE DR                                                                            GRAND BLANC        MI    48439‐9547
TEN
JAMES E TUERDAL                                   221 4TH ST                                                                                     FENTON         MI        48430‐2774
JAMES E TURNER                                    10 SPRUCE ROAD                        CASTLE ROCK                                              NEWTOWN SQUARE PA        19073‐2914

JAMES E TURNER                                   8104 AINSWORTH DR                                                                               KNOXVILLE          TN    37909‐2201
JAMES E TURNER                                   7403 BURNETTE ST                                                                                DETROIT            MI    48210‐1007
JAMES E TURPIN JR                                10198 CASTANEDO CT                                                                              KEITHVILLE         LA    71047‐8901
JAMES E TWYMAN                                   6828 RIDGEVIEW DR                                                                               EDINA              MN    55439‐1419
JAMES E UDICK & JUDY W UDICK JT TEN              2648 CROOKED STICK LN                                                                           MT PLEASANT        SC    29466‐8739
JAMES E ULRICH                                   2900 ALLEN ROAD                                                                                 ORTONVILLE         MI    48462‐8415
JAMES E URBAN                                    40336 COLONY DR                                                                                 STERLING HEIGHTS   MI    48313‐3804

JAMES E VAN TASSAL                               17733 OLD HOUSE RD                                                                              WELLSTON           MI    49689‐9796
JAMES E VANHOOSE                                 4929 LIBERTY AVE                                                                                LORAIN             OH    44055‐3919
JAMES E VAUGHN                                   18758 PROSPECT RD                                                                               STRONGSVILLE       OH    44136‐6734
JAMES E VENNEFRON                                310 BRELSFORD AVENUE                                                                            TRENTON            OH    45067‐1208
JAMES E VINCENT                                  6909 S COUNTY ROAD 475 EAST                                                                     SELMA              IN    47383‐9629
JAMES E VINYARD                                  30538 MARIES RD 209                                                                             VIENNA             MO    65582‐8801
JAMES E VOHLAND                                  577 W COUNTY RD 1300 N                                                                          BATESVILLE         IN    47006‐5172
JAMES E WADE                                     4000 DUPPER ROAD                                                                                SEBRING            FL    33872
JAMES E WALDROP JR                               PO BOX 137                                                                                      WINSTON            GA    30187‐0137
JAMES E WALKER                                   11700 WADE LN #58                                                                               VALLEY SPRINGS     CA    95252‐9468
JAMES E WALKER                                   4233 HIGHWAY 503                                                                                ROSE HILL          MS    39356‐5266
JAMES E WALKER & ADA E WALKER JT TEN             11700 WADE LN SP 58                                                                             VALLEY SPRINGS     CA    95252‐9468
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JAMES E WALLACE & BARBARA L WALLACE JT TEN       11646 FREDERICK PIKE                                                                             VANDALIA        OH    45377‐9790
JAMES E WALSH & EUGENIE C WALSH JT TEN           1508 RYDER CUP BLVD                                                                              MARION          IL    62959
JAMES E WARD                                     11463 SKYLINE DR                                                                                 FENTON          MI    48430‐8823
JAMES E WARD                                     6307 IMPALA DR                                                                                   RICHMOND        VA    23228‐5013
JAMES E WARD                                     137 FROST AVE                                                                                    ROCHESTER       NY    14608‐2520
JAMES E WARD CUST KATELYNN M WARD UTMA OH        8128 HUNTING VALLEY DR                                                                           YOUNGSTOWN      OH    44512‐8119

JAMES E WARREN                                   220 GRANGER                                                                                      ORTONVILLE      MI    48462‐8631
JAMES E WASHINGTON JR                            11669 LAKEPOINTE                                                                                 DETROIT         MI    48224‐1101
JAMES E WATERS                                   2111 MATAGORDA                                                                                   DALLAS          TX    75232‐2727
JAMES E WATERS                                   500 PIN OAK LANE                                                                                 MUNCIE          IN    47304‐3173
JAMES E WATKINS                                  72 N COBBLE CREEK DR N                                                                           HENDERSON       NC    27537‐4163
JAMES E WATSON                                   781 HARCOURT RD                                                                                  GROSSE POINTE   MI    48230‐1831
JAMES E WATTERS                                  1034 N 19TH ST                                                                                   ELWOOD          IN    46036‐1360
JAMES E WELCH                                    585 S US 23                                                                                      HARRISVILLE     MI    48740‐9583
JAMES E WELLER                                   2009 FIFTH                                                                                       BAY CITY        MI    48708‐6232
JAMES E WELLMAN                                  5069 EPLY COURT                                                                                  WEBBERVILLE     MI    48892‐9253
JAMES E WELSH & MARIANN C WELSH JT TEN           1528 ROYAL OAKSDR                                                                                JANESVILLE      WI    53454
JAMES E WENZEL & JUDITH A WENZEL JT TEN          3559 EMERALD AVENUE                                                                              ST JAMES CITY   FL    33956‐2204
JAMES E WENZEL JR                                7301 PINEHURST LN                                                                                GRAND BLANC     MI    48439‐2619
JAMES E WEST                                     9238 OAKCLIFFE                                                                                   PLYMOUTH        MI    48170‐4714
JAMES E WETTA                                    7104 MARRISEY LOOP                                                                               GALENA          OH    43021
JAMES E WHEELER CUST JENNIFER ANNE WHEELER       1050 RIVERVIEW DR                                                                                ALMA            MI    48801‐2126
UGMA MI
JAMES E WHITE                                    3885 ANVIL DR                                                                                    TROY            MI    48083‐5608
JAMES E WHITFIELD JR                             C/O BURLINGTON CLINIC                   3109 W SYCAMORE                                          KOKOMO          IN    46901‐4026
JAMES E WHITNEY                                  412 6TH AVE                                                                                      BOWLING GREEN   KY    42101‐2235
JAMES E WIGGINS & NANCY MERRITT WIGGINS JT TEN   5035 WHEELER LAKE RD                                                                             AUGUSTA         GA    30909‐5759

JAMES E WIGHTMAN                                 52 BEAVER STREET                                                                                 COOPERSTOWN     NY    13326‐1229
JAMES E WILBUR                                   22 MCHARRIE ST                                                                                   BALDWINSVILLE   NY    13027‐2310
JAMES E WILLEFORD JR                             2126 TIMBER COVE CT                                                                              WEATHERFORD     TX    76087‐3830
JAMES E WILLIAMS                                 1071 CELESTIAL ST                       APT 1502                                                 CINCINNATI      OH    45202‐1649
JAMES E WILLIAMS                                 4792 POOL RD                                                                                     WINSTON         GA    30187‐2035
JAMES E WILLIAMS                                 2108 BARTON RD                                                                                   FAIRFAX         SC    29827‐9438
JAMES E WILLIAMS                                 17576 INDIANA                                                                                    DETROIT         MI    48221‐2405
JAMES E WILLIAMS                                 2613 GOOSE HOLLOW RD                                                                             GENEVA          AL    36340‐6225
JAMES E WILLIAMS                                 PO BOX 413                                                                                       NEW CASTLE      IN    47362‐0413
JAMES E WILLIAMS JR                              210 BELAIR DR                                                                                    LAREDO          TX    78041‐2307
JAMES E WILSON                                   63 METROPOLITAN OVAL #MB                                                                         BRONX           NY    10462‐6440
JAMES E WILSON                                   PO BOX 581                                                                                       AUSTELL         GA    30168‐0581
JAMES E WILSON                                   4051 WILLETT RD                                                                                  PITTSBURGH      PA    15227‐4543
JAMES E WILSON III                               3410 BAYVIEW DR                                                                                  CHESAPEAK BCH   MD    20732
JAMES E WINEBARGER                               11121 BOMBAY LN                                                                                  FT MYERS        FL    33908‐3333
JAMES E WINTERLEE                                PO BOX 419                                                                                       LEWISTON        MI    49756‐0419
JAMES E WOLFRAM & MARY C WOLFRAM JT TEN          2372 30TH ST                                                                                     ALLEGAN         MI    49010
JAMES E WOODS                                    1117 S MAIN                                                                                      LEADWOOD        MO    63653‐1213
JAMES E WOODS JR                                 31 KENRIDGE DRIVE                                                                                MCKEES ROCKS    PA    15136‐1613
JAMES E WORLEY                                   7138 WHITEMARSH CIRCLE                                                                           BRADENTON       FL    34202
JAMES E WRIGHT                                   4350 SUNBURST AVE                                                                                WATERFORD       MI    48329
JAMES E WYSOCKI                                  2459 LEXINGTON RD                                                                                EATON           OH    45320‐1344
JAMES E YEO CUST JAMES E YEO JR UGMA VA          4732 KILBANE ROAD                                                                                DALE CITY       VA    22193‐4605
JAMES E YOUNG JR                                 3740 BALDWIN                                                                                     DETROIT         MI    48214‐1000
JAMES E ZIMMER                                   1000 BUTTERMILK CREEK DR                                                                         FOND DU LAC     WI    54935‐6119
JAMES E ZMIERSKI & JOANN ZMIERSKI JT TEN         28457 VIOLET DR                                                                                  CHESTERFIELD    MI    48047‐5414
JAMES E ZUIDEMA                                  11600 SOUITH KOLMAR                                                                              ALSIP           IL    60803
JAMES EADES & LINDA EADES TR UA 06/09/94 EADES   14250 STATE ROUTE JJ                                                                             WEST PLAINS     MO    65775‐5834
FAMILY TRUST
JAMES EARL CHRISTIAN                             2413 OVERTON                                                                                     DALLAS          TX    75216‐5833
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JAMES EARL HARRIS                               21800 HARDING                                                                                 OAK PARK         MI    48237‐2523
JAMES EARL KENDALL                              RR 2 BOX 2                                                                                    SUMMITVILLE      IN    46070‐9405
JAMES EARL LEE & LEANNA JANE LEE JT TEN         1822 TUMBLEWEED LN                                                                            ALEXANDRIA       IN    46001
JAMES EARL PAYNE                                PO BOX 65                                                                                     WEST MIDDLETON   IN    46995‐0065

JAMES EARL SINGER                               3478 E 400 S                                                                                  TIPTON           IN    46072‐9279
JAMES EARL WINSTEAD SR                          103 LEE LAWRENCE COURT                                                                        BALTIMORE        MD    21222
JAMES EASTERBROOK & MARY A EASTERBROOK JT TEN   104 CASSATA CT                                                                                WEST BABYLON     NY    11704‐6929

JAMES EBNER                                     114 DAWN DRIVE                                                                                MIDDLETOWN       DE    19709
JAMES ECONOMOS                                  1805 STONEHENGE NE                                                                            WARREN           OH    44483‐2947
JAMES EDDIE CLARK                               57 WYOMING AVE                       #1                                                       BUFFALO          NY    14215‐4021
JAMES EDWARD                                    617 E MCCLELLAN ST                                                                            FLINT            MI    48505‐4262
JAMES EDWARD ALLEN CUST SUZANNE ALLEN U/THE     6193 WINDFLOWER DR                                                                            POWDER SPGS      GA    30127‐8332
NEW YORK U‐G‐M‐A
JAMES EDWARD BATES                              2733 S WEBSTER ST                                                                             DENVER           CO    80227‐3409
JAMES EDWARD CLARKE                             30 CLARKE LANE                                                                                CONNELLSVILLE    PA    15425
JAMES EDWARD DEWART                             290 RIVEROAK CIR                                                                              INMAN            SC    29349‐9094
JAMES EDWARD ETUE JR                            18636 OCEANMIST DRIVE                                                                         BOCA RATON       FL    33498‐4908
JAMES EDWARD FREIBERG CUST JUSTIN JAMES         3482 CASCINA PL                      UNIT D                                                   LITTLETON        CO    80126‐7707
FREIBERG UGMA MI
JAMES EDWARD FULLER                             702 SPRING CREEK DR                                                                           OCOEE            FL    34761‐1927
JAMES EDWARD HAGGERTY & PATRICIA ANN HAGGERTY 2156 GARLAND ST                                                                                 SYLVAN LAKE      MI    48320‐1730
JT TEN
JAMES EDWARD HEATH                              10600 SOUTH MCVETY ROAD                                                                       FALMOUTH         MI    49632‐9781
JAMES EDWARD HOLLISTER                          1000 FANFARE WAY                     APT 7101                                                 ALPHARETTA       GA    30009‐5521
JAMES EDWARD HUMERICKHOUSE                      1911 SILVER ST                                                                                ANDERSON         IN    46012‐2461
JAMES EDWARD ISOM                               510 W PULASKI AVE                                                                             FLINT            MI    48505‐3124
JAMES EDWARD KING                               6721 W KRUGER RD                                                                              THREE OAKS       MI    49128
JAMES EDWARD LANG                               8884 CASTLEFORD LANE                                                                          CINCINNATI       OH    45242‐6351
JAMES EDWARD LAROCHE JR                         3782 S RICHFIELD ST                                                                           AURORA           CO    80013‐3036
JAMES EDWARD LEAHY                              8243 KARAM BLVD #1                                                                            WARREN           MI    48093‐2124
JAMES EDWARD LEDDICK                            C/O EDWARD JAMES                     90 N OGDEN ST                                            BUFFALO          NY    14206‐1429
JAMES EDWARD LONG                               1630 S UNION                                                                                  KOKOMO           IN    46902‐2123
JAMES EDWARD LOVE JR                            290 BURGESS AVE                                                                               DAYTON           OH    45415‐2630
JAMES EDWARD MC DONALD                          1646 TAMARA TRAIL                                                                             XENIA            OH    45385‐9591
JAMES EDWARD MEREDITH                           102 N KIMMEL RD BOX 205                                                                       CLAYTON          OH    45315‐0205
JAMES EDWARD MURRELL                            584 W 300 N                                                                                   ANDERSON         IN    46011‐2052
JAMES EDWARD PAPINEAU                           PO BOX 436                           LAKE STREET                                              NAUBINWAY        MI    49762‐0436
JAMES EDWARD PLANE                              8152 MENLO CT W DR                                                                            INDIANAPLIS      IN    46220
JAMES EDWARD SCHMIDT                            53330 NADINE ST                                                                               SOUTH BEND       IN    46637‐5121
JAMES EDWARD SIDORCHUK                          18 CATHERDAL BLUFFS DR               SCARBOROUGH ON                         M1M 2T8 CANADA
JAMES EDWARD WARNER                             RT 1 BOX 74 E                                                                                 DODDRIDGE        AR    71834‐9704
JAMES EDWARDS TIMBROOK JR                       18238 BUCKSKIN RD                                                                             DEFIANCE         OH    43512‐9716
JAMES EDWIN BAES                                9419 GREEN HILL CIR                                                                           BRENTWOOD        TN    37027‐8444
JAMES EDWIN SNAVLEY                             PO BOX 1418                                                                                   LAKEVIEW         CA    92567‐1418
JAMES EIS                                       1820 AYERSVILLE RD                                                                            DEFIANCE         OH    43512‐3611
JAMES ELBERT REYNOLDS                           3085 N GENESEE RD APT 314                                                                     FLINT            MI    48506‐2193
JAMES ELLIE FREY                                242 PARKVIEW RD                                                                               WARM SPRINGS     AR    72478‐9071
JAMES ELLIS JR                                  BOX 903                                                                                       BLOWING ROCK     NC    28605‐0903
JAMES ELTING CUST EILEEN T ELTING A MINOR UNDER 2016 11TH STREET PL SW                                                                        PUYALLUP         WA    98371‐8505
THE LAWS OF OREGON
JAMES ELTON APPLETON                            19518 FAIRPORT ST                                                                             DETROIT          MI    48205‐1722
JAMES ENG & MRS DORA ENG JT TEN                 225‐03 57TH AVE                                                                               BAYSIDE          NY    11364‐2055
JAMES ENLOE WALKER                              431 ARMFIELD STREET                                                                           STATESVILLE      NC    28677‐5701
JAMES EPIFANO JR & MARY C EPIFANO JT TEN        4699 ENNISMORE DR                                                                             CLARKSTON        MI    48346‐3617
JAMES ERIC GUNDERSON                            1109 E CURTIS ST                                                                              LARAMIE          WY    82072‐2218
JAMES ERIC SAYER                                974 LINLEY LN                                                                                 LAWRENCEBURG     IN    47025‐1292
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Name                                              Address1                                Address2               Address3        Address4            City               State Zip

JAMES ERICK JOHNSON CUST KIMBERLY JOHNSON         2100 S 260TH APT L301                                                                              DES MOINES         WA    98198‐9071
UTMA WA
JAMES ERICKSON EDWARDS                            1933 TOMAHAWK DR                                                                                   OKEMOS             MI    48864‐2128
JAMES ERNEST                                      14 FREDERICK ROAD                                                                                  TONAWANDA          NY    14150‐4213
JAMES ERWIN                                       3012 DOUGLAS                                                                                       SAGINAW            MI    48601‐4361
JAMES ERWIN                                       1504 WALNUT STREET                                                                                 SAGINAW            MI    48601‐1970
JAMES ESSEX                                       6702 EDISON                                                                                        ST LOUIS           MO    63121‐5306
JAMES EUGENE KAZEE                                241 E APPALOOSA CT                                                                                 GILBERT            AZ    85296‐2825
JAMES EUGENE LOUKS                                17340 EAGLETOWN RD                                                                                 WESTFIELD          IN    46074‐9641
JAMES EUGENE MARTHALER                            4000 ROYAL MARCO WAY UNIT#429           C/O LORENE CASTLEMAN                                       MARCO ISLAND       FL    34145‐7811
JAMES EVAN JONES                                  2‐14‐1‐202 TAKASUGI                     SANDA 669                              JAPAN
JAMES EVERETT WALLS 3RD                           400 S BROAD ST                                                                                     MIDDLETOWN       DE      19709‐1442
JAMES EVERHART                                    3241 ARROWHEAD ARMS CT SW                                                                          GRANDVILLE       MI      49418‐1482
JAMES EXLER & JOAN EXLER JT TEN                   28 PINE ST                                                                                         ROCKVILLE CENTRE NY      11570‐2425

JAMES EYRICH & SHARON L EYRICH JT TEN             1249 HWY 109                                                                                       WILDWOOD           MO    63038‐1450
JAMES F ALLMAN                                    4635 STRATFORD AVE                                                                                 INDIANAPOLIS       IN    46201‐4719
JAMES F ANDERSON                                  1122 INDIANAPOLIS RD                                                                               GREENCASTLE        IN    46135‐1458
JAMES F ANTHONY II                                320 W MAIN ST                                                                                      GRAND LEDGE        MI    48837‐1038
JAMES F ANTON                                     14205 HOPE                                                                                         STERLING HEIGHTS   MI    48313‐3548

JAMES F ARMSTRONG                                 7290 ALBOSTA DR                                                                                    SAGINAW            MI    48609‐5219
JAMES F AUSTIN                                    8002 VALENTINA CT                                                                                  NAPLES             FL    34114‐2691
JAMES F BACHAMP                                   PO BOX 74                                                                                          WARRENTON          MO    63383‐0074
JAMES F BAERTSCHI                                 BOX 111                                                                                            FOOTVILLE          WI    53537‐0111
JAMES F BANNISTER & SIGNE L BANNISTER JT TEN      311 CEDAR COVE RD                                                                                  ELLENSBURG         WA    98926‐9708
JAMES F BARAGONA                                  PO BOX 125                                                                                         SAINT JOSEPH       LA    71366‐0125
JAMES F BARTON                                    7316 MAGILL RD                                                                                     CASTALIA           OH    44824‐9303
JAMES F BATESON                                   3521 CLEVELAND AVE                                                                                 DAYTON             OH    45410‐3201
JAMES F BAUMANN                                   201 CAROL JEAN WY                                                                                  SOMERVILLE         NJ    08876‐3301
JAMES F BELLEW                                    13861 OAKBROOK DR                       APT 310                                                    N ROYALTON         OH    44133‐4662
JAMES F BELTON                                    913 MACDONALD AVE                                                                                  FLINT              MI    48507‐2852
JAMES F BERRY                                     2311 MCNAIR ST SW                                                                                  DECATUR            AL    35603‐1031
JAMES F BERSCHBACK                                4521 STATE PARK HWY                                                                                INTERLOCHEN        MI    49643‐9581
JAMES F BIGELOW JR & MRS JOYCE E BIGELOW JT TEN   16412 RONNIE LANE                                                                                  LIVONIA            MI    48154‐2205

JAMES F BINGHAM                                 70 ERSKINE ROAD                                                                                      STAMFORD           CT    06903‐1023
JAMES F BISHOP                                  1421 E REID RD                                                                                       GRAND BLANC        MI    48439‐8517
JAMES F BLAIR & MRS MABEL BLAIR JT TEN          2492 STATE ROUTE 551                                                                                 WAVERLY            OH    45690‐9627
JAMES F BLIGH                                   4535 AVONDALE ST APT 1                                                                               BETHESDA           MD    20814‐3544
JAMES F BLUNT                                   18101 MANORWOOD CIR                                                                                  CLINTON TWP        MI    48038‐1275
JAMES F BOALS                                   843 KOOGLE ROAD                                                                                      MANSFIELD          OH    44903‐8208
JAMES F BOHL & MRS ROSALIE T BOHL JT TEN        9509 PINE KNOB                                                                                       CLARKSTON          MI    48348‐2139
JAMES F BONDS                                   990 BEAVER CROSSING LN                                                                               GALINE             MI    48176‐9401
JAMES F BOUCK                                   11180 BIRCH RUN RD                                                                                   BIRCH RUN          MI    48415‐9439
JAMES F BRADLEY                                 10493 E T AVE                                                                                        VICKSBURG          MI    49097‐9524
JAMES F BRADLEY III                             13648 GREEN PRAIRIE ST                                                                               VICKSBURG          MI    49097‐7722
JAMES F BRAND                                   827 BAYRIDGE                                                                                         LA PORTE           TX    77571‐3516
JAMES F BRIESKE                                 5261 COLLINGTON                                                                                      TROY               MI    48098‐2450
JAMES F BROWN                                   127 WILMAR DR                                                                                        PITTSBURGH         PA    15238‐1607
JAMES F BROWN CUST GREGORY JAMES BROWN UGMA 539 PARKE CT                                                                                             GRAND BLANC        MI    48439‐1552
MI
JAMES F BROWN IV & MRS JAE BROWN JT TEN         59 KENWOOD ST                                                                                        PORTLAND           ME    04102‐2704
JAMES F BULLER & ELENA C MCDONALD BULLER JT TEN 6908 INDICA COVE                                                                                     AUSTIN             TX    78759‐3051

JAMES F BURKE II                                  4345 ARCADIA DR                                                                                    AUBURN HILLS       MI    48326‐1895
JAMES F BURTON                                    56401 SOLINA CT                                                                                    MACOMB             MI    48042‐1178
JAMES F BUTLER                                    53 WAYNE AVE                                                                                       WHITE PLAINS       NY    10606
JAMES F CAGLE                                     3957 WEST STATE RD 340                                                                             BRAZIL             IN    47834
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JAMES F CALHOUN                                  1206 MONTGOMERY RD                                                                               WILMINGTON         DE    19805‐1334
JAMES F CAMPBELL TR JAMES F CAMPBELL LIVING      2170 GULF SHORE BLVD                    APT 33W                                                  NAPLES             FL    34102‐4628
TRUST UA 11/10/95
JAMES F CANHAM & MARY D CANHAM JT TEN            840 KNOLLWOOD CIRCLE                                                                             SOUTH LYON         MI    48178‐2068
JAMES F CANNON                                   22 KENT HILLS LN                                                                                 WILTON             CT    06897‐4313
JAMES F CAREY                                    1218 N VERMILION                                                                                 DANVILLE           IL    61832‐3055
JAMES F CARROLL                                  3608 WEST KINGSHIGHWAY                                                                           PARAGOULD          AR    72450‐2627
JAMES F CARROLL & CLARA CARROLL JT TEN           3608 W KINGSHIGHWAY                                                                              PARAGOULD          AR    72450‐2627
JAMES F CATHCART                                 6503 FRASIER POINT CT                                                                            SPRING             TX    77379‐7731
JAMES F CAULEY                                   37 NORTON                                                                                        PONTIAC            MI    48341‐1429
JAMES F CLARK                                    12948 SOUTH US ROUTE 31                 #98                                                      KOKOMO             IN    46901
JAMES F CLARK & ROBERT E CLARK JT TEN            4203 WESTRIDGE PL                                                                                WATERFORD          MI    48329‐1576
JAMES F CLARKE & MRS JOAN M CLARKE JT TEN        42 E POPLAR ST                                                                                   FLORAL PARK        NY    11001‐3146
JAMES F CLYDE                                    109 PATRIOTS RIDGE DRIVE                                                                         DEPTFORD           NJ    08096‐6827
JAMES F COKER                                    1733 MEARS AV 1                                                                                  CINCINNATI         OH    45230‐1951
JAMES F COLLINS                                  128 SCARLET LN                                                                                   GREEN BAY          WI    54311‐6895
JAMES F COLSON                                   PO BOX 598                                                                                       MIO                MI    48647‐0598
JAMES F COMBS TR JAMES F COMBS LIVING TRUST UA   205 S WOODS MILL RD #3305                                                                        CHESTERFIELD       MO    63017‐3416
09/06/94
JAMES F CONN                                     5431 FAR HILL COURT                                                                              INDIANAPOLIS     IN      46226‐1582
JAMES F CONN & BESSIE B CONN JT TEN              5431 FAR HILL COURT                                                                              INDIANAPOLIS     IN      46226‐1582
JAMES F COOK JR                                  656 CHERRY AVENUE                                                                                WAYNESBORO       VA      22980‐4406
JAMES F COOPER                                   30954 NOB ROCK DR                                                                                GRAVOIS MILLS    MO      65037‐4504
JAMES F COSGROVE                                 1272 EAST 28TH STREET                                                                            BROOKLYN         NY      11210‐4627
JAMES F COTY                                     663 KENBROOK DRIVE                                                                               VANDALIA         OH      45377‐2409
JAMES F COX SR & MRS KATHERINE COX JT TEN        3064 HWY S 1                                                                                     MARIANNA         AR      72360
JAMES F CRAMER                                   PMB 154                                 1993 DEWAR DRIVE                                         ROCK SPRINGS     WY      82901‐5780
JAMES F CRAWFORD                                 191 N DIAMOND MILL RD                                                                            NEW LEBANON      OH      45345‐9629
JAMES F CUNNINGHAM                               21995 INDIAN CREEK DR                                                                            FARMINGTON HILLS MI      48335‐5541

JAMES F DAVIDSON JR                              3754 SANDY CREEK DRIVE                                                                           SHELBY TOWNSHIP    MI    48316‐3961

JAMES F DAVIS                                    13203 HEMLOCK RIDGE ROAD                                                                         ALBION             NY    14411‐9333
JAMES F DAVISSON                                 12280 BRADFORD DRIVE                                                                             CHARDON            OH    44024‐9032
JAMES F DAVISSON & BETTY L DAVISSON JT TEN       12280 BRADFORD DRIVE                                                                             CHARDON            OH    44024‐9032
JAMES F DEDISCHEW                                1192 SEVILLE RD                                                                                  ROCHESTER HLS      MI    48309‐3027
JAMES F DODSON                                   99 JUDY LANE                                                                                     COLBERT            OK    74733
JAMES F DOHERTY                                  11 MOCCASIN PATH                                                                                 ARLINGTON          MA    02474‐1807
JAMES F DONALDSON & SUSAN K DONALDSON JT TEN     2130 GARDNER RD                                                                                  ALVA               FL    33920‐3812

JAMES F DRUMM & MRS JANE A DRUMM JT TEN          452 HOLLYWOOD DR                                                                                 MONROE             MI    48162‐2661
JAMES F DUBOIS                                   19 ABINGTON WAY                                                                                  MOUNT HOLLY        NJ    08060‐5073
JAMES F DUFFY                                    331 CUMBERLAND AVE                                                                               BUFFALO            NY    14220‐1718
JAMES F DUGGAN & SUSAN DUGGAN JT TEN             402 CRYSTAL WAY                                                                                  MIDDLEBORO         MA    02346‐5385
JAMES F DUGIC                                    2791 MILTON S E                                                                                  WARREN             OH    44484‐5256
JAMES F DUKE                                     19551 SOUTH TAMIAMI TRL                                                                          FORT MYERS         FL    33908‐4808
JAMES F DUNN & JUDITH A DUNN JT TEN              5675 FARLEY RD                                                                                   CLARKSTON          MI    48346‐1740
JAMES F DURBIN                                   38900 MARH AVE                                                                                   EMERSON            IA    51533‐4022
JAMES F DWYER                                    14 ACORN RD                                                                                      WHITMAN            MA    02382
JAMES F ENGLISH                                  6628 SHADY OAK LN                                                                                MASON              OH    45040‐6676
JAMES F FAGG                                     4153 LIN DRIVE                                                                                   STERLING HEIGHTS   MI    48310‐3349

JAMES F FANNING                                  1773 CAXTON DR                                                                                   WHEATON            IL    60187‐6149
JAMES F FANNING & MRS WENDY S FANNING JT TEN     1773 CAXTON DR                                                                                   WHEATON            IL    60187‐6149

JAMES F FARRINGTON JR CUST JAMES F FARRINGTON III 15 SHADY ACRES RD                                                                               DARIEN             CT    06820‐2332
UGMA CT
JAMES F FELICE                                    3450 SAWTELLE BLVD                     APT 335                                                  LOS ANGELES        CA    90066‐2990
JAMES F FERGUSON                                  1091 HIGHWAY BB                                                                                 PERRYVILLE         MO    63775‐7510
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JAMES F FERNBACH & SHIRLEY M FERNBACH JT TEN       3055 BEECHTREE STREET                                                                             FARWELL            MI    48622‐8704

JAMES F FINDLAY & MRS BRENDA M FINDLAY JT TEN      603 WEST LAKE CIRCLE                                                                              AUGUSTA            GA    30907‐9593

JAMES F FISHER                                     2029 DONNA AVE                                                                                    ENDICOTT           NY    13760‐1436
JAMES F FITZSIMMONS                                98 E VIOLETTE DR                                                                                  NEW CASTLE         DE    19720
JAMES F FORD                                       5779 WILLOW GROVE DRIVE                                                                           TROY               MI    48098‐6105
JAMES F FORREST                                    9450 GARFIELD RD                                                                                  FREELAND           MI    48623
JAMES F FRASER                                     75 BICKFORD HILL RD                                                                               GARDNER            MA    01440‐2313
JAMES F FREDIANI                                   3057 MARRANO DR                                                                                   ORANGE PARK        FL    32073‐6850
JAMES F FREEMAN                                    5305 HENDERSON ROAD                                                                               DAVISON            MI    48423‐8402
JAMES F FRENIER                                    123 ARTILLERY RD                                                                                  WINCHESTER         VA    22602‐6924
JAMES F FRENIER JR                                 122 PRISCILLA ALDEN RD                                                                            ABINGTON           MA    02351‐2647
JAMES F FROBE                                      33563 BEECHNUT                                                                                    WESTLAND           MI    48186‐7828
JAMES F FULKS                                      13600 SE 119                                                                                      OKLAHOMA CITY      OK    73165‐8802
JAMES F G MURPHY                                   78 N OVAL                              HAMILTON ON                              L8S 3Y8 CANADA
JAMES F GABBARD                                    2305 MEADOWWOOD CIRCLE                                                                            GUNTERSVILLE       AL    35976‐2849
JAMES F GAGE                                       135 W LINWOOD RD                                                                                  LINWOOD            MI    48634‐9783
JAMES F GARSKE                                     1782 LAKE POINTE DR                                                                               TRAVERSE CITY      MI    49686‐4782
JAMES F GARVEY                                     140 E KING ST                                                                                     LANCASTER          PA    17602‐2832
JAMES F GARY                                       12242 FRUIT RIDGE RD                                                                              DEFIANCE           OH    43512‐9097
JAMES F GASSMAN                                    448 4TH AVE N                                                                                     CLINTON            IA    52732‐3945
JAMES F GEE & FRANCES Q WONG‐GEE JT TEN            25 SAN RAFAEL WAY                                                                                 SAN FRANCISCO      CA    94127‐1948
JAMES F GEORGE                                     47 BEVERLY PL                                                                                     XENIA              OH    45385‐1101
JAMES F GIBSON & NANCY L GIBSON JT TEN             4078 HIGHGATE RD                                                                                  MUSKEGON           MI    49441‐5024
JAMES F GILBRIDE JR                                #1570                                  ONE BISCAYNE TOWER   2 S BISCAYNE BLVD                     MIAMI              FL    33131‐1806
JAMES F GLOVER                                     PO BOX 631                                                                                        WAYZATA            MN    55391
JAMES F GOLDEN                                     50 CARSON AVENUE                                                                                  DAYTON             OH    45415‐3430
JAMES F GOODING                                    6740 NEW LOTHROP RD                                                                               DURAND             MI    48429‐9403
JAMES F GORDON                                     6878 MILLS RD                                                                                     BATH               NY    14810
JAMES F GRADY & LINDA D GRADY JT TEN               3323 CLOUDBERRY PL                                                                                MELBOURNE          FL    32940‐2350
JAMES F GRAHAM JR                                  9724 CASS                                                                                         TAYLOR             MI    48180‐3569
JAMES F GRAVES                                     8411 W COVINGTON‐GETTYS                                                                           COVINGTON          OH    45318
JAMES F GREANIA                                    2743 SUN TERRACE                                                                                  HARTLAND           MI    48353‐2821
JAMES F GREGORY                                    5410 SADRING AVE                                                                                  WOODLAND HILLS     CA    91367‐4146

JAMES F GRUVER                                     16 DOUGLAS ST                                                                                     TONAWANDA          NY    14150‐1203
JAMES F GUST                                       611 S MICHIGAN AVE                                                                                SAGINAW            MI    48602‐1527
JAMES F HABEREK                                    6610 VANDALIA AVENUE                                                                              BROOKLYN           OH    44144‐3963
JAMES F HAGAN & LUCILLE C HAGAN JT TEN             823 EUREKA                                                                                        PEORIA             IL    61603‐2226
JAMES F HARDY                                      11 QUEEN AVE                                                                                      NEW CASTLE         DE    19720‐1525
JAMES F HARRIGAN                                   2105 ROYAL DR APT 3                                                                               SANTA CLARA        CA    95050‐3660
JAMES F HARTMANN JR                                3209 SE 32ND ST                                                                                   EDMOND             OK    73013‐7823
JAMES F HAUN & BERLINE HAUN JT TEN                 68408 JIM TOWN RD                                                                                 LOSTINE            OR    97857‐6433
JAMES F HAWKEY                                     1601 MERILINE AVE                                                                                 DAYTON             OH    45410‐3331
JAMES F HAYES                                      96 DOUGLAS PIKE N                                                                                 NORTH SMITHFIELD   RI    02896‐9303

JAMES F HAYES & PEARL W HAYES JT TEN               11359 MILE ROAD                                                                                   NEW LABANON        OH    45345‐9653
JAMES F HEALEY                                     429 TAMPICO WAY                                                                                   PENSACOLA          FL    32506‐6029
JAMES F HEFFER & DOROTHY A HEFFER JT TEN           3223 CRESCENT PARKWAY                                                                             CALEDONIA          NY    14423‐1117
JAMES F HEMBREE                                    239 CLEVELAND ST                       APT 4                                                      BLAIRSVILLE        GA    30512
JAMES F HEMGESBERG                                 429 S CHAPMAN ST                                                                                  CHESANING          MI    48616‐1305
JAMES F HEMPHILL & JUDITH HEMPHILL JT TEN          2822 CONGRESS RD                                                                                  PEBBLE BEACH       CA    93953‐3107
JAMES F HENNESSEE & ELIZABETH A HENNESSEE JT TEN   2548 PACES LANDING DR NW                                                                          CONYERS            GA    30012‐2910

JAMES F HERDA                                      9341 E CIRCLE DR                                                                                  STANWOOD           MI    49346‐9611
JAMES F HIGGINS                                    13568 W LA REATA AVE                                                                              GOODYEAR           AZ    85395‐2244
JAMES F HINKLE                                     881 AUBURN DRIVE                                                                                  BILOXI             MS    39532‐3217
JAMES F HITZ                                       3738 S 3 MILE RD                                                                                  BAY CITY           MI    48706‐9215
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JAMES F HOGAN                                     17 EMBERGLOW LN                                                                                ROCHESTER         NY    14612‐1414
JAMES F HOLLAND                                   6529 THORNEYCROFT                                                                              SHELBY TOWNSHIP   MI    48316‐3350

JAMES F HOLMES                                    15 BOYDEN ST EXT                      APT 7                                                    WEBSTER           MA    01570‐2814
JAMES F HOLTMAN                                   1600 OSBORNE RD                                                                                DELTON            MI    49046‐9661
JAMES F HOLVERSON CUST BRENT J HOLVERSON UGMA     16806 BURKET CT                                                                                WESTFIELD         IN    46074‐8030
IN
JAMES F HOWARD JR                                 103 FLAGSTONE COURT                                                                            CHAPEL HILL       NC    27514‐8381
JAMES F HOWARD JR & ADRIENNE L HOWARD JT TEN      103 FLAGSTONE CT                                                                               CHAPEL HILL       NC    27514‐8381

JAMES F HUGHES                                  73 SUMMER HILL DR                                                                                MANAHAWKIN        NJ    08050‐5429
JAMES F HUGHES                                  855 GILES BLVD EAST                     WINDSOR ON                             N9A 4E9 CANADA
JAMES F HUGHES & NORMA L HUGHES JT TEN          PO BOX 515                              43 WAUKEWAN ST                                           MEREDITH          NH    03253‐5720
JAMES F HUMMEL & BONNIE R HUMMEL JT TEN         746 HOLLY SPRINGS DRIVE                                                                          CONROE            TX    77302‐3732
JAMES F HUNGER & SHED H HUNGER JR JT TEN        BOX 326                                                                                          WINONA            MS    38967‐0326
JAMES F HYDE                                    675 SYLVAN DR                                                                                    SAVANNAH          TN    38372‐8609
JAMES F IRELAND & MRS MARY ELLEN IRELAND TEN    9801 MILL RUN DRIVE                                                                              GREAT FALLS       VA    22066‐1813
COM
JAMES F IRWIN                                   3617 BRUNSWICK                                                                                   FLINT             MI    48507‐1744
JAMES F JACKETT                                 9612 KELLER RD                                                                                   CLARENCE CTR      NY    14032‐9742
JAMES F JACKSON                                 4879 FREE PIKE                                                                                   DAYTON            OH    45416‐1141
JAMES F JACKSON                                 4801 W COURT RD                                                                                  ALGER             MI    48610‐9326
JAMES F JEFFERS                                 PO BOX 572                                                                                       LINDEN            MI    48451‐0572
JAMES F JETER                                   418 CARROLLTON DR                                                                                FREDERICK         MD    21701‐6351
JAMES F JONES                                   3122 AMELIA                                                                                      FLUSHING          MI    48433‐2304
JAMES F JONES                                   170 COLLINS LN                                                                                   BOONE             NC    28607‐4544
JAMES F KAGELS                                  6285 HATTER ROAD                                                                                 NEWFANE           NY    14108‐9721
JAMES F KAJOR & LINDA M KAJOR JT TEN            9719 PINE THICKETT AVE                                                                           LAS VEGAS         NV    89147‐6747
JAMES F KARSHNER CUST ROBERT A KARSHNER UGMA PO BOX 466                                                                                          DEWITT            MI    48820‐0466
MI
JAMES F KARSHNER CUST STEVEN J KARSHNER UGMA MI PO BOX 466                                                                                       DEWITT            MI    48820‐0466

JAMES F KEARNS                                    STONEGATES #79                        4031 KENNETT PIKE                                        GREENVILLE        DE    19807‐2047
JAMES F KEENE                                     1273 S ELMS RD                                                                                 FLINT             MI    48532‐5345
JAMES F KELLER                                    PO BOX 2                                                                                       SHAUCK            OH    43349‐0002
JAMES F KELLEY SR                                 RT 1 BOX 125                                                                                   PARROTT           GA    31777‐9625
JAMES F KELLY JR                                  12990 PARKRIDGE                                                                                UTICA             MI    48315‐4664
JAMES F KENNY                                     1407 NEPPERHAN AVE                                                                             YONKERS           NY    10703
JAMES F KING                                      4250 GROVELAND ROAD                                                                            ORTONVILLE        MI    48462‐8408
JAMES F KING                                      PO BOX 40                                                                                      POLLOCK           LA    71467‐0040
JAMES F KINGSLEY JR & JO‐ANN EGGER KINGSLEY TEN   1211 BARNWELL BLF                                                                              BEAUFORT          SC    29902‐4100
COM
JAMES F KINGTON                                   1234 GRANADA                                                                                   CASPER            WY    82601‐5935
JAMES F KISICKI                                   2197 RT 20A                                                                                    VARYSBURG         NY    14167‐9755
JAMES F KLINSKI                                   4304 KUERBITZ DR                                                                               BAY CITY          MI    48706‐2224
JAMES F KOSKY                                     4721 NANTUCKET CT                                                                              COMMERCE TWP      MI    48382‐1171
JAMES F LA POINT                                  786 TERRACE ST                                                                                 HONESDALE         PA    18431‐1224
JAMES F LABUSHESKY                                1346 FORBES STREET                                                                             N TONAWANDA       NY    14120‐1861
JAMES F LADNER & ELIZABETH A LADNER JT TEN        1450 MC KENZIE                                                                                 LOS ALTOS         CA    94024‐5630
JAMES F LANDIS                                    1044 CHESTNUT DR                                                                               HARRISBURG        VA    22801‐1608
JAMES F LASLEY                                    12887 CIMARRON DR                                                                              BIRCH RUN         MI    48415‐9315
JAMES F LEAHY                                     1306 VENTNOR PLACE                                                                             CARY              NC    27519
JAMES F LEBECK                                    7128 PAYEA CT PO BX 268                                                                        ANCHORVILLE       MI    48004‐0268
JAMES F LEIGHTON                                  50 GREEN WAY                                                                                   SOUTH YARMOUTH    MA    02664‐2028

JAMES F LEONARD                                  2503 TANDY DR                                                                                   FLINT             MI    48532‐4961
JAMES F LESTER                                   12574 MAIDEN                                                                                    DETROIT           MI    48213‐1835
JAMES F LIMBAUGH & MRS PHYLISS L LIMBAUGH JT TEN 3001 SOUTH COVE DRIVE                                                                           VESTAVIA          AL    35216‐3872
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JAMES F LINDLEY                                   3842 27TH ST                                                                                    GRANTVILLE      KS    66429‐9244
JAMES F LLOYD JR                                  66 NORTHEAST 20TH ROAD                                                                          GREAT BEND      KS    67530‐9703
JAMES F LUCAS                                     12841 TECUMSEH                                                                                  REDFORD         MI    48239‐4620
                                                                                                                                                  TOWNSHIP
JAMES F MAGUIRE & MARGARET J MAGUIRE JT TEN       1157 TROTWOOD LANE                                                                              FLINT           MI    48507

JAMES F MAINOR                                    122 S SYMINGTON AV                                                                              BALTIMORE       MD    21228‐2346
JAMES F MANGAN                                    439 ALLENS CREEK ROAD                                                                           ROCHESTER       NY    14618‐3403
JAMES F MARS                                      PO BOX 1392                                                                                     FLINT           MI    48501‐1392
JAMES F MARSHALL                                  61 SENECA ST                                                                                    WATERLOO        NY    13165‐1006
JAMES F MARSHALL                                  7430 WYNFIELD DR                                                                                CUMMING         GA    30040‐5671
JAMES F MARTIN                                    PO BOX 386                                                                                      STUART          VA    24171‐0386
JAMES F MATHIS                                    1010 WATER ST                                                                                   CAHOKIA         IL    62206‐1641
JAMES F MC CARTHY JR                              913 BEVERLY DR                                                                                  SYRACUSE        NY    13219‐2853
JAMES F MC CLAIN                                  384 E MC CLAIN AVE                                                                              SCOTTSBURG      IN    47170‐1749
JAMES F MC CLURE & PATRICIA A MC CLURE JT TEN     5579 HUNTINGTON RD                                                                              MARION          IN    46952‐9062

JAMES F MC DONALD                                 LOT 36                                 701 SPANISH MAIN DR                                      SUMMERLAND KEY FL     33042‐4333

JAMES F MC GRENERA                                8403 BUDINGEN LANE                                                                              TINLEY PARK     IL    60477‐7644
JAMES F MC IVOR                                   1570 3RD AVE                                                                                    NY              NY    10028‐1307
JAMES F MC KENZIE                                 9 BELLEWOOD DR                                                                                  HATTIESBURG     MS    39402‐2008
JAMES F MCGEE CUST CLAIRE E MCGEE UGMA NY         11 FAIRVIEW PL                                                                                  CANISTEO        NY    14823‐1201
JAMES F MCGEE CUST COLIN M MCGEE UGMA NY          11 FAIRVIEW PL                                                                                  CANISTEO        NY    14823‐1201
JAMES F MCGEE CUST NORA K MCGEE UGMA NY           11 FAIRVIEW PL                                                                                  CANISTEO        NY    14823‐1201
JAMES F MCGINNIS                                  116 COLONIAL DR                                                                                 LEESBURG        GA    31763‐4701
JAMES F MCGOVERN                                  26 FAIRMONT AVE                                                                                 WALTHAM         MA    02453‐7702
JAMES F MCKENNA                                   80 VASSAR ST                                                                                    WORCESTER       MA    01602‐1535
JAMES F MEAD                                      1420 S CEDAR DR                                                                                 APACHE JCT      AZ    85220‐8450
JAMES F MEEKER & MRS MILDRED MEEKER JT TEN        677 MESA AVE                                                                                    RIFLE           CO    81650‐2511
JAMES F MEUNIER                                   1007 OLD EAGLE WAY                                                                              GREENWOOD       IN    46143‐7654
JAMES F MEYER & ORRALEE MEYER JT TEN              1108 BELLEVILLE ROAD                                                                            LEBANON         IL    62254‐1353
JAMES F MILLER                                    232 WESTCHESTER DRIVE                                                                           DELAND          FL    32724‐8361
JAMES F MILLER                                    2376 E FRANCES RD                                                                               CLIO            MI    48420‐9769
JAMES F MIRAGLIA                                  4225 BRANCH RD                                                                                  FLINT           MI    48506‐1902
JAMES F MITCHELL                                  10020 ALCAN                                                                                     EL PASO         TX    79924
JAMES F MONICAL TR JAMES F MONICAL REVOCABLE      639 INDIANAPOLIS RD                                                                             MOORESVILLE     IN    46158‐1151
LIVING TRUST UA 02/04/04
JAMES F MONTEL                                    2963 HALSTEAD ROAD                                                                              COLUMBUS        OH    43221‐2917
JAMES F MOORE                                     5061 ARROWHEAD                                                                                  WEST BLOOMFIELD MI    48323‐2312

JAMES F MORRIS                                  PO BOX 33                                                                                         ARAGON          GA    30104‐0033
JAMES F MOYLAN                                  14 PINE GROVE AVE                                                                                 ROSENDALE       NY    12472‐9668
JAMES F MULCAHY                                 7228 LAKEWOOD DR                                                                                  OSCODA          MI    48750‐8712
JAMES F MULLERSMAN & BETTIE L MULLERSMAN JT TEN 8363 FIVE MILE ROAD                                                                               NORTHVILLE      MI    48168‐9434

JAMES F MUNRO                                     RR4                                    SUNDERLAND ON                          L0C 1H0 CANADA
JAMES F MURPHY                                    10646 WILLOW AVE                                                                                MOKENA          IL    60448‐1757
JAMES F MURPHY JR & ADELAIDE L MURPHY JT TEN      8586 W BERGEN RD                                                                                LE ROY          NY    14482‐9340

JAMES F NAGLE                                     44 GEORGETOWN LANE                                                                              FAIRPORT        NY    14450‐3361
JAMES F NEJEDLIK JR                               10137 REGATTA TRAIL                                                                             REMINDERVILLE   OH    44202‐8132
JAMES F NEWELL                                    BOX 228                                                                                         HORNBROOK       CA    96044‐0228
JAMES F NOWAK                                     2359 BULLOCK RD                                                                                 BAY CITY        MI    48708‐9653
JAMES F OBERRY JR                                 PO BOX 89                              3041 3RD ST                                              SIX LAKES       MI    48886‐0089
JAMES F OCHODNICKY                                601 S NORTON ST                        APT C33                                                  CORUNNA         MI    48817‐1252
JAMES F OGLETREE                                  11642 ASHTON ST                                                                                 DETROIT         MI    48228‐1138
JAMES F OLSON & FLORENCE I OLSON JT TEN           3471 E BONNIE DRIVE                                                                             OAK CREEK       WI    53154‐4111
JAMES F OVERHOLT                                  PO BOX 1713                                                                                     SAN JUAN CAPO   CA    92693‐1713
                                               09-50026-mg                     Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                                  Address1                                Address2             Address3          Address4          City             State Zip

JAMES F OWENS                                         4812 FRANLOU AVE                                                                                 DAYTON           OH    45432‐3118
JAMES F PARKER                                        5517 EAGLE TRACE                                                                                 SYLVANIA         OH    43560‐4224
JAMES F PATTERSON                                     532 KOERNER AVE                                                                                  ENGLEWOOD        OH    45322‐2005
JAMES F PETITTI                                       1397 NATALIE DR                                                                                  BURTON           MI    48529‐1615
JAMES F PHILLIPS                                      8471 BELLECHASE DR                                                                               DAVISON          MI    48423‐2123
JAMES F PHILLIPS                                      7111 BERWYN                                                                                      DEARBORN HTS     MI    48127‐2082
JAMES F PHILLIPS                                      1200 HILLSIDE BLVD                                                                               WILMINGTON       DE    19803‐4212
JAMES F PHILLIPS                                      3116 GREENOAK AVE                                                                                LANSING          MI    48906‐2827
JAMES F PIPER & JOHN S PIPER EX EST MILDRED P PIPER   1115 BRANDY STATION                                                                              RICHARDSON       TX    75080

JAMES F POIRIER                                       1633 S TUSCOLA RD                                                                                MUNGER           MI    48747‐9705
JAMES F PRATER                                        553 ANNA MAE DR                                                                                  CINCINNATI       OH    45244‐1401
JAMES F PROPER                                        21 N OUTER DR                                                                                    VIENNA           OH    44473‐9771
JAMES F RAINEY                                        1942 TRIPP RD                                                                                    WOODSTOCK        GA    30188‐1916
JAMES F REGGIO CUST ABIGAIL M REGGIO UGMA MI          3607 POLO RUN DR                                                                                 FLOWER MOUND     TX    75028‐8726

JAMES F REIGHARD                                      10399 KNAPP RD                                                                                   ALBION           PA    16401‐9723
JAMES F RHODES                                        302 LAKECREST DRIVE                                                                              GREER            SC    29651‐9757
JAMES F RICKER                                        359 NORTH BURNS ROAD                                                                             BAY CITY         MI    48708‐9150
JAMES F RICKS & BARBARA M RICKS JT TEN                61746 VALLEY FORGE DR APT 6                                                                      SOUTH LYON       MI    48178‐1917
JAMES F ROBB                                          5609 OAKRIDGE COURT                                                                              KANSAS CITY      MO    64151‐1412
JAMES F ROBERTSON JR                                  9759 MATZON RD                                                                                   BALTIMORE        MD    21220‐1721
JAMES F ROBERTSON SR                                  9 LEEDS RD                                                                                       HANOVER          MD    21076‐1457
JAMES F ROBINSON                                      8447 CANADA                                                                                      BIRCH RUN        MI    48415‐8429
JAMES F ROCHE                                         PO BOX 330                                                                                       CALLICOON        NY    12723
JAMES F ROCHESTER JR                                  216 WEST PALM DR                                                                                 COLUMBIA         SC    29212
JAMES F ROLFES TR JAMES F ROLFES LIVING TRUST UA      718 W HOME RD                                                                                    SPRINGFIELD      OH    45504‐1025
12/08/95
JAMES F ROSIEK                                        14977 W WOODBURY LN                                                                              SURPRISE         AZ    85374‐8615
JAMES F RUGGIERO & KAREN S RUGGIERO JT TEN            1710 CLAREMONT LA                                                                                IDAHO FALLS      ID    83404‐7455
JAMES F RUH                                           10 OAKBROOK LANE                                                                                 SPENCERPORT      NY    14559‐9607
JAMES F RUMBLE                                        1940 LAKEVILLE RD #358                                                                           OXFORD           MI    48371‐5346
JAMES F RUPERT                                        1815 ROYAL OAK DR                                                                                LYNCHBURG        VA    24503
JAMES F RYAN & BEVERLY A RYAN JT TEN                  8723 CRESTON                                                                                     PINCKNEY         MI    48169‐9120
JAMES F SARGENT & ALICE T SARGENT JT TEN              222 S 14TH                                                                                       BOZEMAN          MT    59715‐4276
JAMES F SAWVEL                                        11359 MOSHER RD                                                                                  OTISVILLE        MI    48463‐9772
JAMES F SCHLEE & JOANNE SCHLEE JT TEN                 35 EBLING                                                                                        TONAWANDA        NY    14150‐7007
JAMES F SCHUMANN & MRS BERNICE E SCHUMANN JT          2717 FLEUR DR                                                                                    SAN MARINO       CA    91108‐1722
TEN
JAMES F SCHUNEMAN                                     6223 EAST HOUGHTON LAKE DRIVE                                                                    HOUGHTON LAKE    MI    48629‐8306
JAMES F SCIPIONI                                      100 IVY FARM CT                                                                                  ALVATON          KY    42122‐9691
JAMES F SCOTT                                         9220 IDLEWILD DR                                                                                 HIGHLAND         IN    46322‐2323
JAMES F SEBELA                                        139 PARK DRIVE                                                                                   GRAND JUNCTION   CO    81501‐2060

JAMES F SELGRADE & MARY JANE K SELGRADE JT TEN        2905 OLD ORCHARD RD                                                                              RALEIGH          NC    27607‐6509

JAMES F SHAFFER                                       PO BOX 47                                                                                        BROOKSIDE        AL    35036‐0047
JAMES F SHANLEY                                       100 BLACK HILLS RD                                                                               PITTSBURGH       PA    15239‐2434
JAMES F SHAVER JR                                     200 SUTER RD                                                                                     CATONSVILLE      MD    21228‐3115
JAMES F SHEA                                          830 HEATHER LN                                                                                   WINNETKA         IL    60093‐1317
JAMES F SHERARD                                       2055 ROSELAKE CIR                                                                                SAINT PETERS     MO    63376‐7768
JAMES F SHIELDS                                       3 THUNDER GULCH RD                                                                               NEWARK           DE    19702‐2037
JAMES F SILVER                                        33 SARATOGA ST                                                                                   SCHUYLERVILLE    NY    12871‐1209
JAMES F SIMMONS                                       4925 LINDHOLM                                                                                    WHITE LAKE       MI    48383‐1567
JAMES F SIMPSON                                       4627 GILHOUSE RD                                                                                 TOLEDO           OH    43623‐2043
JAMES F SLENO                                         11501 E HENDERSON RD                                                                             FLUSHING         MI    48433‐9601
JAMES F SMITH                                         10550 PARDEE                                                                                     TAYLOR           MI    48180‐3583
JAMES F SMITH & MARILYN C SMITH JT TEN                9 MANHATTAN DR                                                                                   BURLINGTON       MA    01803‐1908
JAMES F SPANGLER JR                                   2304 RUTLEDGE AVE                                                                                JANESVILLE       WI    53545‐2129
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JAMES F SQUADRITTO & MARGUERITE V SQUADRITTO JT 103 N 35TH AVW                                                                                       LONGPORT          NJ    08403‐1612
TEN
JAMES F STACEY                                  730 PHILLIP MURRAY AVENUE                  OSHAWA ON                              L1J 1J3 CANADA
JAMES F STAMM                                   3511 WASHINGTON                            PO BOX 788                                                STANDISH          MI    48658‐0788
JAMES F STAMM & DIANNE E STAMM JT TEN           PO BOX 788                                                                                           STANDISH          MI    48658‐0788
JAMES F STAMPER                                 10538 SPRINGWOOD DR                                                                                  PORT RICHEY       FL    34668‐3044
JAMES F STARR JR                                1550 BRECKENRIDGE RD                                                                                 BEDFORD           IN    47421‐1512
JAMES F STEACY & KATHRYN N STEACY JT TEN        3 KENT CT                                                                                            CHICO             CA    95926‐1070
JAMES F STEPHENS                                1359 NASH RD N W                                                                                     ATLANTA           GA    30331‐1015
JAMES F STILES                                  1725 APPLEWOOD CT NE                                                                                 CEDAR RAPIDS      IA    52402‐3319
JAMES F STOCUM                                  BRUCKENSTRASSE 8                           WETTINGEN AARGAU                       5430 SWITZERLAND
JAMES F STOKES                                  7847 OAKLAND DR                                                                                      PORTAGE           MI    49024‐4933
JAMES F STUDZINSKI & JUNE STUDZINSKI JT TEN     3043 N MANGO AVE                                                                                     CHICAGO           IL    60634‐5217
JAMES F SUGGS                                   452 COUNTY ROAD 111                                                                                  MOULTON           AL    35650‐6867
JAMES F SULLIVAN                                9 COLUMBIA AVE                                                                                       MILLTOWN          NJ    08850‐1001
JAMES F SZOTT SR                                3490 NORTHWOOD PLACE                                                                                 SAGINAW           MI    48603‐2339
JAMES F TADROWSKI                               8228 MIDDLEBURY AVE                                                                                  WOODRIDGE         IL    60517‐7724
JAMES F TALBOT                                  SLOOPING MEADOW FARM                       1826 MOUNTAIN ROAD                                        TORRINGTON        CT    06790‐2107
JAMES F TATARCZUK                               778 KING CIRCLE                                                                                      LAKE ORION        MI    48362‐2782
JAMES F TERRANOVA                               16996 PEACH RIDGE NW                                                                                 KENT CITY         MI    49330‐9756
JAMES F THOMAS TR JAMES F THOMAS TRUST UA       9801 RENO AVE                                                                                        CLEVELAND         OH    44105‐2723
10/1/99
JAMES F THOMAS TR UA 08/09/07 JAMES F THOMAS    6340 GROVE POINTE DR SE                                                                              WINTER HAVEN      FL    33884
TRUST
JAMES F THOMPSON                                118 RAINBOW DRIVE 1866                                                                               LIVINGSTON        TX    77399‐1018
JAMES F THOMPSON                                266 BRIMSTONE HILL RD                                                                                PINE BUSH         NY    12566‐5466
JAMES F THOMPSON & ALICIA G THOMPSON JT TEN     1611 YELLOWBRICK CT                                                                                  TRENTON           MI    48183‐1743

JAMES F TINKIS                                     13333 NORTH COTTONWOOD AVE                                                                        REED CITY         MI    49677‐9405
JAMES F TRAVI TR JAMES F TRAVI TRUST UA 01/24/05   691 SEARLS RD                                                                                     AMBOY             IL    61310‐9723

JAMES F TRUDGEON                                   15012 IRISH                                                                                       MILLINGTON        MI    48746‐9235
JAMES F VAN DYKE                                   754 PHILLIPS                                                                                      CLAWSON           MI    48017‐1458
JAMES F VANORDEN                                   366 LAKE VIEW AVE                                                                                 RINGWOOD          NJ    07456‐2133
JAMES F VATALARO                                   40 EILEEN DR                                                                                      SUSSEX            NJ    07461‐2818
JAMES F VOSICKY                                    2231 S 11TH AVE                                                                                   N RIVERSIDE       IL    60546‐1122
JAMES F VRANICH & KATHLEEN B VRANICH JT TEN        41807 N CLUB POINTE DR                                                                            ANTHEM            AZ    85086‐1994
JAMES F WAACK                                      455 SE FALLON DR                                                                                  PORT ST LUCIE     FL    34983‐2634
JAMES F WAGNER & KATHLEEN L WAGNER JT TEN          1720 WILLIAM ST                                                                                   NORTH MERRICK     NY    11566‐1952
JAMES F WALDER                                     350 BELMONT AVE                                                                                   BUFFALO           NY    14223‐1519
JAMES F WALKER                                     7261 WEATHERBY                                                                                    DETROIT           MI    48210‐1056
JAMES F WALSH                                      34983 ANDREA CT 10                                                                                LIVONIA           MI    48154‐1945
JAMES F WEAD                                       1832 COVENTRY RD                                                                                  DAYTON            OH    45420‐2404
JAMES F WEEDEN                                     2069 STATE RTE 603                                                                                ASHLAND           OH    44805‐8601
JAMES F WHALEN JR                                  18 S PERCH CREEK DR                                                                               NEWARK            DE    19702‐3944
JAMES F WHITKOPF                                   1395 W BROCKER ROAD                                                                               METAMORA          MI    48455‐8965
JAMES F WHITSON                                    55373 BELMONT DR                                                                                  SHELBY TOWNSHIP   MI    48315‐6625

JAMES F WILCOX                                     746 BOWENS MILL HWY                                                                               FITZGERALD        GA    31750‐6928
JAMES F WILLENBRINK                                2002‐H BRUCEWOOD ROAD                                                                             HAW RIVER         NC    27258‐9750
JAMES F WILLIAMS                                   804 S MOUNTAIN VIEW CIR                                                                           JOHNSON CITY      TN    37601‐3463
JAMES F WILSON                                     1505 MCCOY                                                                                        WALLED LAKE       MI    48390‐2255
JAMES F WOODRUFF                                   PO BOX 8315                                                                                       THE WOODLANDS     TX    77387‐8315
JAMES F WRIGHT                                     4457 E 575 S                                                                                      MARKLEVILLE       IN    46056‐9746
JAMES F YEVTICH                                    15730 E CENTIPEDE DR                                                                              FOUNTAIN HLS      AZ    85268‐1533
JAMES F YEVTICH & JUDY E YEVTICH JT TEN            15730 CENTIPEDE                                                                                   FOUNTAIN HLS      AZ    85268‐1533
JAMES F YONTS                                      7310 ARROWWOOD RD                                                                                 LOUISVILLE        KY    40222‐4112
JAMES F ZACHARIAS & MRS KATHRYN ANN ZACHARIAS      8590 CLOVER DR                                                                                    MAINEVILLE        OH    45039
JT TEN
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JAMES FAIRBAIRN SMITH II & JO‐ANN SMITH JT TEN     6539 THE MASTERS AVE                                                                           BRADENTON        FL    34202‐2556

JAMES FALIK CUST LISA FALIK UGMA TX                303 INDIAN BAYOU                                                                               HOUSTON          TX    77057‐1323
JAMES FARENTINO CUST DAVID MICHAEL FARENTINO       8491 SUNSET BLVD                      SUITE 870            LAS ANGELES                         W HOLLYWOOD      CA    90069
UGMA CA
JAMES FARLEY                                       PO BOX 2731                                                                                    ANDERSON         IN    46018‐2731
JAMES FEDERICO                                     ADAM OPEL                             PO BOX 9022                                              WARREN           MI    48090‐9022
JAMES FENELLI                                      15 BARBARA LEE DR                                                                              TRENTON          NJ    08619‐1509
JAMES FERGER                                       5141 HWY 18 LOT 12                                                                             STONE MOUNTAIN   GA    30087

JAMES FERGUSON & TERESA FERGUSON JT TEN            5351 SHORE DR                                                                                  BELLAIRE         MI    49615‐9404
JAMES FETS & CLAUDINE C FETS JT TEN                155 LOTHROP RD                                                                                 GROSSE POINTE    MI    48236‐3527
JAMES FIFELSKI                                     10560 CRESSEY RD                                                                               PLAINWELL        MI    49080‐9044
JAMES FISH                                         2555 PENNSYLVANIA AVE NW              APT 606                                                  WASH             DC    20037‐1614
JAMES FITZPATRICK                                  200 BROOK FOREST LANE                                                                          HENDERSONVILLE   NC    28791‐9764
JAMES FLARICEE                                     20163 MENDOTA                                                                                  DETROIT          MI    48221‐1047
JAMES FLETCHER BERG JR                             36881 GREGORY DR                                                                               STERLING HTS     MI    48312‐2822
JAMES FLORAKIS & HELEN FLORAKIS JT TEN             91 DURST PL                                                                                    YONKERS          NY    10704‐1840
JAMES FLYNN                                        29 ERNEST ST                                                                                   HOLBROOK         MA    02343‐1566
JAMES FONTANESI                                    5860 SNOWSHOE CIR                                                                              BLOOMFIELD       MI    48301‐1949
JAMES FOOSKAS JR CUST ISABEL HOPE FOOSKAS UGMA     205 WOODWARD RD                                                                                MOYLAN           PA    19063‐4230
PA
JAMES FORD CUST REBECCA MARY FORD UGMA PA          61 CRENSHAW DRIVE                                                                              FLANDERS         NJ    07836

JAMES FORDHAM BRYANS                               648 MINCEY WOOD CT                                                                             STONE MTN        GA    30087‐5620
JAMES FOREST IRBY                                  PO BOX 238                                                                                     FORT HANCOCK     TX    79839‐0238
JAMES FOSTER                                       837 BETHANY ST                                                                                 SAGINAW          MI    48601‐1419
JAMES FOSTER SR CUST JAMES FOSTER JR UTMA TN       9451 DERAMUS FARM CT                                                                           VIENNA           VA    22182‐1499

JAMES FOY JR                                    9409 ADAMS AVENUE                                                                                 CLEVELAND        OH    44108‐3222
JAMES FRANCIS BRADLEY                           384 PLEASANT AVE                                                                                  CLIFFSIDE PARK   NJ    07010‐2118
JAMES FRANCIS CUNNINGHAM                        112 IOLA ST                                                                                       GLENSHAW         PA    15116‐2027
JAMES FRANCIS HARKENRIDER & DORTHY ELLEN        1265 COUNTY ROAD # 19                                                                             BEAVER DAMS      NY    14812
HARKENRIDER JT TEN
JAMES FRANCIS KUHN CUST CAITLIN MARIE KUHN UTMA 6034 GROVE DRIVE                                                                                  ALEXANDRIA       VA    22307‐1139
FL
JAMES FRANCIS KUHN CUST GREGORY JAMES KUHN      6034 GROVE DRIVE                                                                                  ALEXANDRIA       VA    22307‐1139
UTMA FL
JAMES FRANCIS LEBIEDZ                           3751 CHALLENGER CIRLCE                                                                            ANCHORAGE        AK    99517‐1592
JAMES FRANCIS MROZEK                            1199 CLELAND MILL RD                                                                              NEW CASTLE       PA    16102‐3215
JAMES FRANK BLAIR                               5 SADDLE BROOK WAY                                                                                SENOIA           GA    30276
JAMES FRANK DORRILL                             BOX 1966                                                                                          MOBILE           AL    36633‐1966
JAMES FRANK DURBIN III CUST JOSHUA MILES DURBIN 2045 G AVENUE                                                                                     RED OAK          IA    51566‐4475
UTMA IA
JAMES FRANK DURBIN III CUST MCKENNA LEE DURBIN 2045 G AVENUE                                                                                      RED OAK          IA    51566‐4475
UTMA IA
JAMES FRANKLIN JAMISON JR                       900 LAMBIANCE CI                         APT 101                                                  NAPLES           FL    34108‐6730
JAMES FRANKLIN PHILLIPS                         3829 MINNING ROAD                                                                                 KERSHAW          SC    29067‐8642
JAMES FRANKLIN THOMAS                           9537 UNIVERSITY #22                                                                               CLIVE            IA    50325‐6364
JAMES FRANKLIN WILEY                            1305 CRAIN                                                                                        PARK RIDGE       IL    60068‐1209
JAMES FRARY                                     30433‐21ST SW                                                                                     FEDERAL WAY      WA    98023‐2306
JAMES FRED HAMILTON                             2205 W 124TH ST                                                                                   LEAWOOD          KS    66209‐1305
JAMES FREDERICK CANHAM                          840 KNOLLWOOD CIR                                                                                 SOUTH LYON       MI    48178‐2068
JAMES FREDERICK COLLINS                         9180 N 800 W                                                                                      MIDDLETOWN       IN    47356
JAMES FREDERICK WILDMAN & REGINA A WILDMAN JT 14536 LIGHTNER RD                                                                                   HAYMARKET        VA    20169‐2509
TEN
JAMES FREDRYK                                   30958 STONE RIDGE DR #13302                                                                       WIXOM            MI    48393‐3872
JAMES FREY                                      2018 PINION SPRINGS                                                                               HENDERSON        NV    89074‐4121
JAMES FRITZ                                     306 WOODWAY DR                                                                                    VICTORIA         TX    77904‐1122
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JAMES FROST BOTHELL CUST ANDREW BOTHELL UGMA 12659 SE 306 CRT                                                                                    AUBURN         WA    98092‐3197
WA
JAMES FULLERTON CUST TYLER H FULLERTON UTMA VA 7517 LEE'S FARM ROAD                                                                              CLIFTON        VA    20124‐1843

JAMES FULTON FOX JUNIOR                          PO BOX #1330                                                                                    BELLINGHAM     WA    98227‐1330
JAMES G ABTS                                     8259 STONE FARM RD                                                                              EDGERTON       WI    53534‐9750
JAMES G ALEWINE                                  4405 LAVONIE HWY                                                                                HARTWELL       GA    30643‐3111
JAMES G ANTHONY                                  201 N SQUIRREL RD                      APT 1313                                                 AUBURN HILLS   MI    48326
JAMES G BARRETT CUST ALEXANDER B ABBOTT UTMA     PO BOX 29                                                                                       BERLIN         MD    21811‐0029
MD
JAMES G BARRETT CUST JAMIE L BARRETT UTMA MD     PO BOX 29                                                                                       BERLIN         MD    21811‐0029

JAMES G BARRETT CUST LAUREN E BARRETT UTMA MD    PO BOX 29                                                                                       BERLIN         MD    21811‐0029

JAMES G BARRETT CUST TAYLOR A BARRETT UTMA MD    144 POWELL CIR                                                                                  BERLIN         MD    21811‐1182

JAMES G BARRETT CUST WILLIAM G BARRETT UTMA MD PO BOX 29                                                                                         BERLIN         MD    21811‐0029

JAMES G BECKLEY & KATRINA R BECKLEY JT TEN       222 BLACKBURN AVE                                                                               LOUISVILLE     KY    40206‐2723
JAMES G BECKLEY CUST ALICIA R WILSON UTMA KY     222 BLACKBURN AVE                                                                               LOUISVILLE     KY    40206‐2723

JAMES G BELL                                     5555 NEW TERRITORY BLVD                APT 8103                                                 SUGAR LAND     TX    77479‐5989
JAMES G BELL & CARLETTA M BELL JT TEN            1537 4TH ST NE.                                                                                 ROCHESTER      MN    55906
JAMES G BELLARD                                  1726 DEVON ST                                                                                   YPSILANTI      MI    48198‐3203
JAMES G BELLARD & MARY S BELLARD JT TEN          1726 DEVON ST                                                                                   YPSILANTI      MI    48198‐3203
JAMES G BENNETT & JEANNIE K BENNETT JT TEN       10 COCHISE TRAIL                                                                                LOCK HAVEN     PA    17745
JAMES G BENSINGER                                1301 WEST MT HOPE                                                                               LANSING        MI    48910‐9072
JAMES G BEYER & ANITA S BEYER JT TEN             5708 HAYLOFT CIRCLE                                                                             RALEIGH        NC    27606‐2240
JAMES G BISBEE                                   14 BLACKFORD WAY                                                                                LYNDHURST      VA    22952
JAMES G BISHOP                                   6182 CIMARRON TRL                                                                               FLINT          MI    48532‐2108
JAMES G BLORE                                    PO BOX 275                                                                                      DAYTON         OH    45409‐0275
JAMES G BOWLES & PATRICIA A BOWLES JT TEN        3188 E QUAIL CT                                                                                 INVERNESS      FL    34452‐3658
JAMES G BRANNAN                                  APT 4                                  7009 PLAZA DR                                            NIAGRA FALLS   NY    14304‐3066
JAMES G BRETT                                    3065 WILLARD RD                                                                                 CLIO           MI    48420
JAMES G BRIAN                                    210 LAZY SHADE CT                                                                               DULUTH         GA    30097‐7174
JAMES G BRUECK                                   6103 MIDDLE LAKE                                                                                CLARKSTON      MI    48346‐2048
JAMES G BUCKLEY & CHARLOTTE F BUCKLEY JT TEN     545 ROCKY RD                                                                                    RED LION       PA    17356‐8877

JAMES G BUONO II                                 11145 WARBLER SE TR                                                                             FIFE LAKE      MI    49633‐7202
JAMES G BURKETT JR                               412 PECAN AVE                                                                                   KALAMAZOO      MI    49024‐2744
JAMES G BURLEY                                   167 N MAIN ST                                                                                   SPENCER        NY    14883‐9372
JAMES G BYRNES                                   11185 NORTH BETHEL RD                                                                           MOORESVILLE    IN    46158‐6940
JAMES G CADY                                     7299 RIDGE RD                                                                                   WADSWORTH      OH    44281‐9412
JAMES G CAREY CUST SUZANNE M CAREY UGMA CT       366 PATTONWOOD DR                                                                               SOUTHINGTON    CT    06489‐1615

JAMES G CAREY JR & MRS MARY ELLEN CAREY JT TEN   366 PATTONWOOD DR                                                                               SOUTHINGTON    CT    06489‐1615

JAMES G CAREY JR CUST CHRISTOPHER S CAREY UGMA   366 PATTONWOOD DR                                                                               SOUTHINGTON    CT    06489‐1615
CT
JAMES G CAREY JR CUST DAVID M CAREY UGMA CT      366 PATTONWOOD DR                                                                               SOUTHINGTON    CT    06489‐1615

JAMES G CAREY JR CUST STEVEN M CAREY UGMA CT     366 PATTONWOOD DR                                                                               SOUTHINGTON    CT    06489‐1615

JAMES G CARLTON                                  9959 MAPLE VALLEY DR                                                                            CLARKSTON      MI    48348‐4167
JAMES G CHAPMAN                                  257 FAREWAY LANE                                                                                GRAND ISLAND   NY    14072‐2530
JAMES G COOLEY & HUGH T COOLEY JT TEN            199 W W GARY RD                                                                                 COMMERCE       GA    30529‐1241
JAMES G COX                                      1307 MAPLE                                                                                      YANKTON        SD    57078‐2716
JAMES G CRUMMETT                                 1043 TODD RD                                                                                    MOUNT SIDNEY   VA    24467‐2435
JAMES G CUNNINGHAM JR                            4828 MADISON CANNING HOUSE RD                                                                   MADISON        MD    21648‐1122
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JAMES G DALTON                                  718 WILLOW DELL DR                                                                              SENOIA           GA    30276‐1835
JAMES G DEANE                                   113 PRINCETON DRIVE                                                                             WINCHESTER       VA    22602‐4362
JAMES G DEPPELER                                519 HARRIS AVE                                                                                  BRIELLE          NJ    08730‐1925
JAMES G DILL JR                                 PO BOX 92                                                                                       NEW SUFFOLK      NY    11956‐0092
JAMES G DOLLAR                                  27500 BAYWOOD DR NE                                                                             KINGSTON         WA    98346‐9543
JAMES G DOTSON                                  949 MAPLEWOOD AVE                                                                               YPSILANTI        MI    48198
JAMES G DUNN                                    3127 LENOX ROAD NE UNIT 9                                                                       ATLANTA          GA    30324‐6028
JAMES G DUNN                                    220 GRANT ST                                                                                    PITTSBURGH       PA    15219‐2123
JAMES G DURSO                                   3616 NASHVILLE HWY                                                                              LEWISBURG        TN    37091‐6539
JAMES G EICKHOLT                                4018 W MICHIGAN AVE                                                                             SAGINAW          MI    48603‐6633
JAMES G EVANS                                   15049 STRATHMOOR                                                                                DETROIT          MI    48227‐2933
JAMES G FELLER                                  483 PRITCHETT LANE                                                                              DANVILLE         IN    46122‐1169
JAMES G FINN                                    20 SPRING ST                                                                                    BATH             ME    04530‐1815
JAMES G FINN & MRS JOANN C FINN JT TEN          20 SPRING ST                                                                                    BATH             ME    04530‐1815
JAMES G FINNERAN CUST CORRINE MYRA FINNERAN     8807 46TH ST NW                                                                                 GIG HARBOR       WA    98335‐6138
UGMA WA
JAMES G FINNERAN TR JAMES G FINNERAN LIVING     8807 46TH ST NW                                                                                 GIG HARBOR       WA    98335‐6138
TRUST UA 11/02/94
JAMES G FLESZAR                                 6104 ARDMORE PARK ST                                                                            DEARBORN HEIGHTS MI    48127‐3928

JAMES G FLYNN                                   3390 SANDY SHORE DR                                                                             METAMORA         MI    48455‐8973
JAMES G FOTIU                                   16171 AMHERST RD                                                                                BEVERLY HILLS    MI    48025‐5501
JAMES G FOTIU & NAOMI A FOTIU JT TEN            16171 AMHERST RD                                                                                BEVERLY HILLS    MI    48025‐5501
JAMES G GABLE                                   C/O BROWN                              8 STANDSTONE DR                                          SPENCERPORT      NY    14559‐1126
JAMES G GATUSO                                  2912 OLD WASHINGTON RD                                                                          WESTMINSTER      MD    21157‐7550
JAMES G GAYLOCK & CHERYL L GAYLOCK JT TEN       7972 GREEN ST                                                                                   BELLAIRE         MI    49615‐9255
JAMES G GEORGARIS                               43 WILHELM ST                                                                                   STRUTHERS        OH    44471‐2233
JAMES G GOODWIN                                 5033 W FARRAND                                                                                  CLIO             MI    48420‐8215
JAMES G GOODWIN & KRISTINE M GOODWIN JT TEN     5033 W FARRAND RD                                                                               CLIO             MI    48420‐8215

JAMES G GRANTNER                                 4759 FRANKLIN AVE                                                                              HALE             MI    48739‐8938
JAMES G GROSE                                    206 TELLUS ST                                                                                  AUSTON           TX    78734‐3831
JAMES G HALFMANN                                 437 N SORRELL                                                                                  FOWLER           MI    48835‐9297
JAMES G HALL                                     9164 DRUNKARDS PI                                                                              GOSPORT          IN    47433‐8035
JAMES G HAMILTON & ALMEDA M HAMILTON TR          1309 PEPPERDINE AVE                                                                            EDMOND           OK    73013‐6366
HAMILTON FAM TRUST UA 07/17/94
JAMES G HANEY                                    2121 HILLCREST DR                                                                              JANESVILLE       WI    53545‐4313
JAMES G HANNAH                                   7425 SALEM RD                                                                                  LEWISBURG        OH    45338‐7702
JAMES G HARDWICK                                 2200 RIVER ROAD WEST                                                                           MAIDENS          VA    23102‐2705
JAMES G HARPER                                   32 POINCIANA LANE                                                                              PALM COAST       FL    32164‐6770
JAMES G HARPER                                   HC 81 BOX 19B                                                                                  SENECA ROCKS     WV    26884‐9001
JAMES G HARPER & JANET M HARPER TR HARPER LIVING 207 HARRINGTON DR                                                                              TROY             MI    48098‐3027
TRUST UA 05/30/00
JAMES G HARRIGAN                                 4118 LARK ST                                                                                   SAN DIEGO        CA    92103‐1302
JAMES G HARRIS                                   103 UPTON DR                                                                                   SOUTH BEACH      NY    11789‐2048
JAMES G HATHAWAY CUST BRIAN C HATHAWAY UTMA 60739 EYESTER                                                                                       ROCHESTER        MI    48306‐2024
MI
JAMES G HAYMES                                   4221 LENORA ST                                                                                 METAIRIE         LA    70001‐4734
JAMES G HECKMAN                                  2411 WEST US 2                                                                                 ST IGNACE        MI    49781‐9667
JAMES G HEDGES & MARY C HEDGES JT TEN            1600 VILLA                                                                                     BRIMINGHAM       MI    48009‐6559
JAMES G HEIM                                     2992 HILLCREST DR                                                                              WEST BRANCH      MI    48661‐9377
JAMES G HENNIS                                   23373 EMMONS ROAD                                                                              COLUMBIA STATION OH    44028‐9468

JAMES G HERMERDING                              2321 TAPESTRY DR                                                                                LIVERMORE        CA    94550‐8246
JAMES G HOCKMAN                                 1605 RIDGE RD N                                                                                 HEDGESVILLE      WV    25427‐4952
JAMES G HORAN III                               33 HEMENWAY RD                                                                                  FRAMINGHAM       MA    01701‐3134
JAMES G HRABAK                                  17070 SMITH AVE                                                                                 PORT CHARLOTTE   FL    33954‐2721
JAMES G HUFF JR CUST BRIAN GARRISON HUFF UGMA   123 SEABROOK DR                                                                                 WILLIAMSVILLE    NY    14221‐4727
NY
                                                09-50026-mg                Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                                Address2             Address3          Address4          City            State Zip

JAMES G HUGHES                                    6625 SNAKE RD                                                                                    OAKLAND         CA    94611‐2243
JAMES G HUNT                                      23 BRENTWOOD CIRCLE                                                                              LUBBOCK         TX    79407‐2160
JAMES G INMAN                                     4006 CYPRESS LANE                                                                                HAMILTON        OH    45014‐5836
JAMES G JOHNSON JR                                766 CRENSHAW RD                                                                                  SAINT PAULS     NC    28384‐8487
JAMES G JOHNSON TOD BARBARA SUE JOHNSON           3259 TABLER STATOPM RD                                                                           MARTINSBURG     WV    25401
SUBJECT TO STA TOD RULES
JAMES G JONES                                     4424 SHELBY RD                                                                                   MILLINGTON      TN    38053‐2267
JAMES G KAHLER                                    3800 FOOTVILLE RICHMOND RD                                                                       ROCK CREEK      OH    44084‐9350
JAMES G KAISER CUST LAUREN E KAISER UGMA NY       111 FALCON HILLS DR                                                                              HIGHLANDS RANCH CO    80126‐2911

JAMES G KOWALSKI                                  5 SASSAFRAS TRAIL                                                                                NARRAGANSETT    RI    02882‐2503
JAMES G KREISSMAN                                 1100 UNION ST #200                                                                               SAN FRANSICO    CA    94109‐2019
JAMES G KROK                                      3713 S PAULINA                                                                                   CHICAGO         IL    60609‐2045
JAMES G LAPOLT                                    615 DHARMA CIRCLE                                                                                WINTER GARDEN   FL    34787
JAMES G LAWRENCE                                  2935 SUNSHINE TERRACE                                                                            WATERFORD       MI    48329‐2976
JAMES G LECOCQ                                    PO BOX 2032                                                                                      COLLEYVILLE     TX    76034‐2032
JAMES G LEWIS                                     600 HAMILTON                                                                                     MT MORRIS       MI    48458‐8908
JAMES G LEYVA                                     652 W HAMMEL                                                                                     MONTEREY PARK   CA    91754‐6909
JAMES G LEYVA & CELIA C LEYVA JT TEN              652 W HAMMEL                                                                                     MONTEREY PARK   CA    91754‐6909
JAMES G LLOYD                                     35 OLD MANOR RD                                                                                  NEWARK          DE    19711‐8011
JAMES G LONG                                      3956 SUNBURY RD                                                                                  COLUMBUS        OH    43219‐3057
JAMES G LUNDELL                                   4875 VAN ATTA ROAD                                                                               OKEMOS          MI    48864‐1313
JAMES G MAC GOWAN JR                              1016 MASSACHUSETTS AVE                  APT 5                                                    ARLINGTON       MA    02476‐4511
JAMES G MALLORY                                   2431 ASBURY                                                                                      INDIANAPOLIS    IN    46203‐4413
JAMES G MALONE                                    1781 CO ROAD 39                                                                                  MOUNT HOPE      AL    35651‐9531
JAMES G MARION                                    3894 FLINTRIVER RD                                                                               COLUMBIAVILLE   MI    48421‐9755
JAMES G MARION & SHARON K MARION JT TEN           3894 FLINTRIUER RD                                                                               COLUMBIAVILLE   MI    48421‐9755
JAMES G MARKS CUST WILLIAM HUGO MARKS UGMA IL     3423 WINCHESTER LN                                                                               GLENVIEW        IL    60025‐5751

JAMES G MC BEE                                    4281 ADEER DRIVE                                                                                 CANFIELD        OH    44406‐9343
JAMES G MC LANE & MELAINE MC LANE JT TEN          786 RIVER RD                                                                                     JERSEY SHORE    PA    17740‐9704
JAMES G MCDEARMON                                 4317 FOX CHASE CT                                                                                ROANOKE         VA    24018
JAMES G MCDIVITT                                  2843 TRENTON RD                                                                                  AKRON           OH    44312‐2744
JAMES G MCINTOSH                                  6893 KATAHDIN                                                                                    POLAND          OH    44514‐2168
JAMES G MCLERNON                                  10675 EMWOOD                                                                                     WHITE LAKE      MI    48386‐2177
JAMES G MCVITTIE                                  5094 LARAMIE                                                                                     BRIDGEPORT      MI    48722‐9525
JAMES G MESHELL                                   241 HIGHVIEW DRIVE                                                                               BALLWIN         MO    63011‐3007
JAMES G MILLER                                    2211 CRYSTAL RIVER DRIVE                                                                         KINGWOOD        TX    77345‐1616
JAMES G MILLER                                    3550 W BERTRAND                                                                                  NILES           MI    49120‐8720
JAMES G MILLER                                    1400 LAUREL AVE                         APT W910                                                 MINNEAPOLIS     MN    55403‐1269
JAMES G MILLER JR                                 3602 BALDOCCHI DR                                                                                BLOOMINGTON     IL    61704‐8598
JAMES G MIONE                                     5 RYEGATE LANE                                                                                   ENGLISHTOWN     NJ    07726‐8210
JAMES G MITCHELL & MARJORIE J MITCHELL JT TEN     1117 FLINT HILL RD                                                                               WILMINGTON      DE    19808‐1911

JAMES G MOON JR & DOROTHY A MOON TR MOON          4056 VALACAMP RD SE                                                                              WARREN          OH    44484‐3317
FAMILY TRUST UA 02/04/04
JAMES G MORGAN                                    8389 N ST RD 9                                                                                   ALEXANDRIA      IN    46001‐8648
JAMES G MOVIUS                                    9913 NETHERTON DR                                                                                LAS VEGAS       NV    89134‐7543
JAMES G MULANIX                                   1260 S CASS LK RD                                                                                PONTIAC         MI    48054
JAMES G MULL                                      PO BOX 1245                                                                                      RINCON          GA    31326‐1245
JAMES G NEFF                                      7541 NEW CARLISLE PIKE                                                                           NEW CARLISLE    OH    45344‐9245
JAMES G ODOM                                      5108 ST RD 131                                                                                   HICKORY         KY    42051‐8614
JAMES G ORIOLI                                    7481 MINTWOOD AVE                                                                                DAYTON          OH    45415‐1130
JAMES G PAVELCHAK                                 1021 STAFFORD AVE                                                                                BRISTOL         CT    06010‐3261
JAMES G PIRIE                                     5545 OAK BLUFF CIRCLE                                                                            ROCHESTER       MI    48306‐2452
JAMES G POWELL                                    495 NEWLAND RD                                                                                   ROPER           NC    27970‐9347
JAMES G QUISENG                                   2100 SEVILLE DR                                                                                  TRACY           CA    95376‐8957
JAMES G RAY III                                   120 TREADWELL ROAD                                                                               TONAWANDA       NY    14150‐9322
JAMES G RICE JR                                   418 GREEN RIDGE RD                                                                               MONTGOMERY      AL    36109‐3614
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JAMES G RINGLEY                                  3521 BOLD BIDDER DR                                                                             LEXINGTON         KY    40517‐3521
JAMES G ROBERTS                                  7429 GROVELAND RD                                                                               HOLLY             MI    48442‐9493
JAMES G SANTA                                    11469 RUNNELLS DR                                                                               CLIO              MI    48420‐8232
JAMES G SAYRE                                    2630 WINDING WAY RD                                                                             CULLEOKA          TN    38451‐2620
JAMES G SCHAEFER                                 26 TIFFANY CIR                                                                                  BARRINGTON        RI    02806‐2935
JAMES G SCHERER                                  426 E HIGH POINT ROAD                                                                           PEORIA            IL    61614‐2237
JAMES G SERGEANT                                 17719 WINSOME ROAD                                                                              FRASER            MI    48026‐3114
JAMES G SHAW                                     6107 ELMGROVE                                                                                   SPRING            TX    77389‐3719
JAMES G SHERRY                                   174 CLUB COURSE DR                                                                              HILTON HEAD       SC    29928‐3150
                                                                                                                                                 ISLAND
JAMES G SMALL                                    457‐12A                                                                                         SURRY             NH    03431
JAMES G SMITH                                    3819 CRESTLYN RD                                                                                BALTIMORE         MD    21218‐2122
JAMES G SMITH                                    5361 N WASHINGTON BL                                                                            INDIANAPOLIS      IN    46220‐3062
JAMES G SMITH & MARY J SMITH JT TEN              9197 E BRISTOL RD                                                                               DAVISON           MI    48423‐8718
JAMES G SMITH & PENNY M SMITH JT TEN             5733 ENCHANTED FOREST                                                                           SANFORD           MI    48657‐9141
JAMES G SMYTH                                    6907 AVENUE W                                                                                   LUBBOCK           TX    79412‐3821
JAMES G SMYTH & ILA P SMYTH JT TEN               6907 AVENUE W                                                                                   LUBBOCK           TX    79412‐3821
JAMES G SNYDER                                   5908 ANNISTON RD                                                                                BETHESDA          MD    20817‐3421
JAMES G SOROKA & PATRICIA ANN SOROKA JT TEN      28438 WEXFORD DR                                                                                WARREN            MI    48092‐2508

JAMES G STAAB & MRS GERTRUDE STAAB JT TEN         555 DE MOTT AVE                                                                                BALDWIN           NY    11510‐1321
JAMES G STANFEL & GREGORY F STANFEL JT TEN        2834 MANCHESTER                                                                                BIRMINGHAM        MI    48009‐7500
JAMES G STEPHENS                                  1586 HODGES CIR                                                                                MANSFIELD         GA    30055‐2605
JAMES G STEVENS                                   7750 GREEN GLEN                                                                                SAN ANTONIO       TX    78255‐1202
JAMES G STICKNEY                                  1367 COLE                                                                                      BIRMINGHAM        MI    48009‐7048
JAMES G SWENSON                                   413 QUAIL BLVD                                                                                 ROSCOMMON         MI    48653‐9255
JAMES G SWIONTEK                                  13439 MARTIN RD                                                                                WARREN            MI    48088‐4759
JAMES G SZATKOWSKI                                15W674 PATRICIA LN                                                                             ELMHURST          IL    60126‐1266
JAMES G THEIBAULT & MRS EVELYN A THEIBAULT JT TEN 1244 RIDGE AVE                                                                                 LAKEWOOD          NJ    08701‐3708

JAMES G TOBEY                                    25 CHENANGO ST                                                                                  CAZENOVIA         NY    13035‐1402
JAMES G TOKUHISA                                 1015 PALMER DR                                                                                  BLACKSBURG        VA    24060‐5330
JAMES G TULPA                                    802 CHATHAM DR                                                                                  MILFORD           MI    48381‐2783
JAMES G TUMA                                     738 LINDEN ST                                                                                   CHARLOTTE         MI    48813‐1724
JAMES G VANLEER & GWENDOLYN VANLEER JT TEN       1506 W BUCKINGHAM DRIVE                                                                         MUNCIE            IN    47303‐9016

JAMES G WAGGONER                                 204 SE BLUE PRKWY                                                                               LEES SUMMIT       MO    64063‐4253
JAMES G WALSH III                                6 RAIL TREE TER                                                                                 WESTFORD          MA    01886‐4210
JAMES G WEAVER                                   75 CIMARRON VALLEY DR                                                                           LITTLE ROCK       AR    72212‐3501
JAMES G WEISKIRCH                                14335 TITTABAWASSEE RD                                                                          HEMLOCK           MI    48626‐8491
JAMES G WHEELIS                                  1601 VILLE CECELIA LANE                                                                         HAZELWOOD         MO    63042‐1636
JAMES G WILHITE CUST PAIGE GENEAN WILHITE UGMA   1899 PARKERS MILL ROAD                                                                          LEXINGTON         KY    40504‐2041

JAMES G WOODS                                    121 SUNSET TER                                                                                  TONAWANDA         NY    14150‐5561
JAMES G WOODS                                    85 SOUTH ST 2                                                                                   WALTHAM           MA    02453
JAMES G WRIGHT                                   14511 FRIEND RD                                                                                 ATHENS            AL    35611‐6908
JAMES GARDNER & MRS GOLDIE A GARDNER JT TEN      45 TREEMONT LN                                                                                  HENDERSONVLLE     NC    28792

JAMES GARFIELD                                   246 SANDRA LEE DR                                                                               MANDEVILLE        LA    70448
JAMES GARFIELD ROBBINS                           1205 HASTEY                                                                                     MENA              AR    71953‐7828
JAMES GARLAND LAMBERT                            1137 W WILLARD RD                                                                               BIRCH RUN         MI    48415‐8610
JAMES GARRETT & MARY L GARRETT JT TEN            3803 WAVERLY                                                                                    DETROIT           MI    48238‐3279
JAMES GARRISON                                   13 OAKDALE DRIVE                                                                                CARTERSVILLE      GA    30120‐2308
JAMES GARRISON                                   7165 CORYDON RIDGE                                                                              LANESVILLE        IN    47136‐9443
JAMES GASSMAN                                    11 WHITE TAIL WAY                      #B                                                       NORWALK           OH    44857‐2802
JAMES GAVIN MACWILLIAM                           441 VANDERBILT RD                                                                               BILTMORE FOREST   NC    28803‐3003

JAMES GAYLON BANDY TOD ROSS D BANDY SUBJECT TO 3520 SHAGBARK LN                                                                                  HOLLY             MI    48442‐9123
STA TOD RULES
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Name                                           Address1                                 Address2             Address3          Address4          City             State Zip

JAMES GAZDZIK                                  2623 DORKING PLACE                                                                                SANTA BARBARA    CA    93105‐2214
JAMES GEE COLLINS                              4402 S KALISPELL CIRCLE                                                                           AURORA           CO    80015‐4431
JAMES GENECKI                                  49 FERRIS ST                                                                                      SOUTH RIVER      NJ    08882‐1828
JAMES GENTILE                                  16 BALDPATE RD                                                                                    BOXFORD          MA    01921‐1606
JAMES GEORGE RUYGROK                           PO BOX 145                                                                                        DEER PARK        WA    99006‐0145
JAMES GEORGE TEACHOUT                          119 LUTHER AVE # RIGHT                                                                            LIVERPOOL        NY    13088
JAMES GERALD HAGEN                             644 CREST LOOP                                                                                    GASSVILLE        AR    72635‐8014
JAMES GERALD KALB                              4976 RIVER VISTA CT                                                                               DUBUQUE          IA    52001
JAMES GERALD LIPSCOMB                          1072 LAWANNA DR                                                                                   MARIETTA         GA    30062‐3119
JAMES GERARD HUISKAMP                          19 COLOMBUS AVE                                                                                   MANSFIELD        MA    02048‐2218
JAMES GERARD MOONEY & JUDITH D MOONEY JT TEN   4163 VISTAMONT DR                                                                                 SAN JOSE         CA    95118‐1847

JAMES GERARDY                                  4632 OFFNER RD                                                                                    MONEE            IL    60449‐9708
JAMES GIAMBAZI                                 6 AMERICA ST                                                                                      CUMBERLAND       RI    02864‐8202
JAMES GIANNOPOULOS & JOANNE GIANNOPOULOS JT    545 N DEE RD                                                                                      PARK RIDGE       IL    60068‐2820
TEN
JAMES GIBBONS CORBETT                          407 W 23RD ST                                                                                     HOUSTON          TX    77008‐2032
JAMES GIBBS JR                                 19606 HARVARD                                                                                     WARRENSVIL HT    OH    44122‐6823
JAMES GIBSON                                   11901 E 21ST ST                                                                                   INDIANAPOLIS     IN    46229‐1909
JAMES GIBSON                                   2350 WESTBURY CT                                                                                  TRACY            CA    95376‐2461
JAMES GIBSON                                   6616 SYCAMORE BEN TRACE                                                                           LOUISVILLE       KY    40291
JAMES GIL                                      1121 FAIRWOOD AVE                                                                                 SUNNYVALE        CA    94089‐2312
JAMES GIVENS                                   233 HUGES AVE                                                                                     PONTIAC          MI    48341‐2447
JAMES GLOVER                                   38 SAINT PAUL ST                                                                                  BUFFALO          NY    14209‐2320
JAMES GLYNN & TONI A GLYNN JT TEN              27 APPLEBLOSSOM LANE                                                                              DANBURY          CT    06811‐4937
JAMES GODBOLT                                  1856 MUCHACHA DR                                                                                  HENDERSON        NV    89014‐4503
JAMES GONZALES                                 5757 WHITEFORD RD                                                                                 SYLVANIA         OH    43560‐1632
JAMES GOODSON & MELISSA GOODSON JT TEN         1308 CHERRY BROOK WAY                                                                             FLOWER MOUND     TX    75028
JAMES GOOLD                                    5812 SURREY STREET                                                                                CHEVY CHASE      MD    20815‐5419
JAMES GORDON                                   246 RIDGEMONT DR                                                                                  PONTIAC          MI    48340‐3056
JAMES GORDON LINTERN                           PO BOX 852                                                                                        COLTON           CA    92324‐0804
JAMES GOZELSKI U/GDNSHP OF UNA MORA GOZELSKI   8 GREEN ACRE DR                                                                                   NORTHPORT        NY    11768‐3420

JAMES GRASKOSKI                              72 NORTH CANTON ROAD                                                                                BARKHAMSTED      CT    06063‐1160
JAMES GREEN                                  48 STEELS CORNERS ROAD                                                                              CUYAHOGA FALLS   OH    44223‐2632
JAMES GREENHILL & JOAN GREENHILL JT TEN      2145 S BOLTON AVE                                                                                   INDIANAPOLIS     IN    46203‐4906
JAMES GREGORY BOZMAN                         13 BLOOMFIELD CT                                                                                    MOUNT LAUREL     NJ    08054‐5229
JAMES GREGORY STEWART                        343 BRANFORD DR                                                                                     CLEVELAND        OH    44143‐1459
JAMES GUTIERREZ                              25459 STATE ROUTE 1                                                                                 DANVILLE         IL    61834‐5958
JAMES GUY GOODFELLOW TR JAMES GUY GOODFELLOW 1336 THREAD VALLEY DR                                                                               HOLLY            MI    48442‐9729
TRUST UA 07/17/02
JAMES GUY WILHELM III                        1619 RED CEDAR DR APT 18                                                                            FORT MYERS     FL      33907
JAMES GUY WOOLSTON                           27 RADNOR DR                                                                                        NEWTOWN SQUARE PA      19073‐4270

JAMES H ADKINS                                 12350 PARDEE                                                                                      TAYLOR           MI    48180‐4218
JAMES H AGNEW                                  8113 SO CAMPBELL                                                                                  CHICAGO          IL    60652‐2840
JAMES H AHRNDS                                 35652 FAIRCHILD                                                                                   WESTLAND         MI    48186‐4143
JAMES H AKRIGHT                                2020 RAY RD                                                                                       FENTON           MI    48430‐9709
JAMES H ALBERT                                 16250 SALEM ST                                                                                    DETROIT          MI    48219‐3695
JAMES H ALEXANDER                              12432 WEST LARIAT DRIVE                                                                           SUN CITY WEST    AZ    85375
JAMES H ALLEN                                  56 PLUM TREE DRAFT RD                                                                             CHURCHVILLE      VA    24421‐2338
JAMES H ALLISON                                6782 CADILLAC                                                                                     WARREN           MI    48091‐2627
JAMES H ALMON JR                               15757 FERGUSON                                                                                    DETROIT          MI    48227‐1568
JAMES H ANDERSON                               17235 OAKLEAF DR                                                                                  MORGAN HILL      CA    95037‐6618
JAMES H ANDERSON                               20551 TRINITY                                                                                     DETROIT          MI    48219‐1350
JAMES H ANDERSON & BRENT M ANDERSON JT TEN     17235 OAKLEAF DRIVE                                                                               MORGAN HILL      CA    95037‐6618

JAMES H ANDERSON & BRIAN M ANDERSON JT TEN     17235 OAKLEAF DRIVE                                                                               MORGAN HILL      CA    95037‐6618
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Name                                            Address1                               Address2              Address3             Address4          City            State Zip

JAMES H ANDERSON & CAROL A ANDERSON JT TEN      17235 OAKLEAF DRIVE                                                                                 MORGAN HILL     CA    95037‐6618

JAMES H ANDERSON & LAURA Y ANDERSON JT TEN      17235 OAKLEAF DRIVE                                                                                 MORGAN HILL     CA    95037‐6618

JAMES H ANDERSON CUST LAURA Y ANDERSON UGMA     17235 OAKLEAF DR                                                                                    MORGAN HILL     CA    95037‐6618
CA
JAMES H ARCHER JR & JANET W ARCHER JT TEN       5300 ONION ROAD                                                                                     PYLESVILLE      MD    21132‐1021
JAMES H ARENS                                   27797 ORCHARD DR                                                                                    DEFIANCE        OH    43512‐9189
JAMES H ARNOTT & KATHLEEN J ARNOTT JT TEN       69340 PINES RIVER DR                                                                                ROMEO           MI    48065‐4041
JAMES H ASBURY                                  4841 E HALIFAX ST                                                                                   MESA            AZ    85205‐4243
JAMES H ASHBY                                   PO BOX 355                                                                                          WINDHAM         OH    44288‐0355
JAMES H BAILEY & DIANE J BAILEY JT TEN          4528 STATE RT 159                                                                                   SMITHTON        IL    62285‐3000
JAMES H BAINTER                                 5000 S BURLINGTON DR                                                                                MUNCIE          IN    47302‐9661
JAMES H BALITZ                                  15564 HOLLAND RD                                                                                    CLEVELAND       OH    44142‐3344
JAMES H BALLENGEE                               10897 SUNRISE PT                                                                                    SHREVEPORT      LA    71106‐9358
JAMES H BATES                                   23546 WHITLEY                                                                                       MT CLEMENS      MI    48035‐4636
JAMES H BATTLE JR                               PO BOX 14231                                                                                        NEWPORT NEWS    VA    23608‐0004
JAMES H BEATY                                   4367 WYNSLOW CV                                                                                     MEMPHIS         TN    38117
JAMES H BEBRIN JR GDN DAVID MICHAEL GAMBONE     931 BULLET HILL RD                                                                                  SOUTHBURY       CT    06488‐4614

JAMES H BENNETT                                 33 ACADIA ST                                                                                        KENNER          LA    70065‐1045
JAMES H BENTLEY & PHYLLIS E BENTLEY JT TEN      4307 WEST HILL RD                                                                                   SWARTZ CREEK    MI    48473‐8844
JAMES H BERRY                                   101 CARR                                                                                            PONTIAC         MI    48342‐1768
JAMES H BITZINGER                               3356 CHELSEA CIR                                                                                    ANN ARBOR       MI    48108‐2717
JAMES H BLAKELY & BETTY J BLAKELY & LINDA E     570 ROBIN RD                                                                                        FRANKLIN        IN    46131‐2276
JACOBSEN JT TEN
JAMES H BLAND                                   537 GREENWAY ROAD                                                                                   HURON           TN    38345‐6971
JAMES H BLANKENSHIP                             330 SHELLI LANE                                                                                     ROSWELL         GA    30075‐2975
JAMES H BLAYLOCK                                4396 O HEREN ST                                                                                     BURTON          MI    48529‐1829
JAMES H BOLDEN                                  2634 BINGHAMTON                                                                                     AUBURN HILLS    MI    48326‐3509
JAMES H BOLITHO                                 3711 SEQUOIA TRL                                                                                    VERONA          WI    53593‐9639
JAMES H BOND                                    659 NO 38TH ST                                                                                      E ST LOUIS      IL    62205‐2105
JAMES H BOTZENHART                              1022 PERKINS JONES ROAD N E            APT 6A                                                       WARREN          OH    44483‐1842
JAMES H BOUNDS                                  11926 L ST                                                                                          LA PORTE        TX    77571‐9336
JAMES H BRADLEY                                 14560 FOREST LANE                                                                                   LOCKPORT        IL    60441‐2269
JAMES H BRAMMER                                 1620 E FRONT ST                                                                                     TRAVERSE CITY   MI    49686‐3015
JAMES H BREASHEARS & SHARLENE BREASHEARS JT TEN 107 RIVERVIEW POINT                                                                                 HOT SPRINGS     AR    71901‐6706

JAMES H BRENNER                                 6616 ARROWHEAD CT                                                                                   DAVISBURG       MI    48350‐2965
JAMES H BRESLIN JR                              665 S ONONDAGA RD                                                                                   MASON           MI    48854‐9733
JAMES H BRINKLEY                                8424 SANTA FE LN                                                                                    OVERLAND PARK   KS    66212‐2755
JAMES H BRISCOE                                 C/O SUSIE D BRISCOE                    1622 NEW HOPE RD                                             LAWRENCEVILLE   GA    30045‐6552
JAMES H BROUSSARD                               917 JOYLENE DR                                                                                      WEBSTER         NY    14580‐8931
JAMES H BROWN TR                                UA 11/27/89                            WILLIAM BROWN TRUST   1655 HILLANDALE DR                     EUCLID          OH    44132
JAMES H BROWNE                                  51 MARSH COR WOODSVILLE RD                                                                          HOPEWELL        NJ    08525
JAMES H BROWNE & SUSANNE P BROWNE JT TEN        51 MARSH COR WOODSVILLE RD                                                                          HOPEWELL        NJ    08525
JAMES H BRYMER                                  3108 KENNEBECK PLACE                                                                                ANTIOCH         TN    37013‐2528
JAMES H BUCK                                    620 WEST MAIN ST                                                                                    CANFIELD        OH    44406‐9788
JAMES H BURGET & MARGARET C BURGET JT TEN       513 WHISPERING TRAIL                                                                                MIDDLETOWN      DE    19709‐5801
JAMES H BUSHART CUST KATHRYN LOUISE BUSHART     ATTN KATHRYN B BLACK                   2406 CORMAN ROAD                                             LONGVIEW        WA    98632‐4402
U/THE OKLA U‐G‐M‐A
JAMES H BUTLER JR                               2066 WEST BROOK RD                                                                                  EDGEMOR         SC    29712‐6734
JAMES H BUZZELLI                                13119 MANOR DR                                                                                      MOUNT AIRY      MD    21771‐4505
JAMES H C LEE                                   591 ROSE SHARON DRIVE                                                                               LEXINGTON       SC    29072‐9402
JAMES H C LEE & EMMIE C LEE JT TEN              591 ROSE SHARON DR                                                                                  LEXINGTON       SC    29072‐9402
JAMES H CALDWELL                                8 MALVERN CRT                          BRAMPTON ON                                L6W 1H1 CANADA
JAMES H CARTER                                  5114 W COUNTY RD                       425 SOUTH                                                    COATESVILLE     IN    46121‐9531
JAMES H CASSIDY III                             2530 EATON RD                                                                                       WILMINGTON      DE    19810‐3566
JAMES H CAWTHORN                                2221 E 1750 N                                                                                       SUMMITVILLE     IN    46070‐9041
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JAMES H CHANNELL                             5052 BROOKSDALE                                                                                MENTOR            OH    44060‐1212
JAMES H CHASE                                7212 NORMAN RD                                                                                 N TONAWANDA       NY    14120‐4909
JAMES H CLARK                                RTE 3 2684 BECKY LN                                                                            MINDEN            NV    89423‐9066
JAMES H CLIFFORD                             3951 HWY K                                                                                     BONNE TENE        MO    63628‐3538
JAMES H CLIMIE & CAROL S CLIMIE JT TEN       1374 FELDMAN AVENUE                                                                            DAYTON            OH    45432‐3106
JAMES H CLOUGH                               2003 LINCOLN AVENUE                                                                            WILMINGTON        DE    19808‐6111
JAMES H CLUTE                                2395 BLARNEY DR                                                                                DAVISON           MI    48423‐9503
JAMES H COATS                                PO BOX 605                                                                                     KILLEN            AL    35645‐0605
JAMES H COFFELL                              3465 BRENTHILL DRIVE                                                                           GRAND BLANC       MI    48439‐7976
JAMES H COLE                                 35 FESSENDON                                                                                   MT CLEMENS        MI    48043‐5909
JAMES H COLEMAN II                           7288 E DESERT VISTA RD                                                                         SCOTTSDALE        AZ    85255‐2720
JAMES H COLLIER                              2700 EATON RAPIDS RD LOT 111                                                                   LANSING           MI    48911‐6318
JAMES H CONGDON                              3884 BEAVERCREEK CIRCLE                                                                        CINCINNATI        OH    45241‐3004
JAMES H CONGDON 3RD & ANN B CONGDON JT TEN   3884 BEAVERCREEK CIRCLE                                                                        CINCINNATI        OH    45241‐3004

JAMES H CONGDON III                          3884 BEAVERCREEK CIR                                                                           CINCINNATI        OH    45241‐3004
JAMES H CONOVER JR                           63‐24 CARLTON ST                                                                               REGO PARK         NY    11374‐2834
JAMES H COPELAND                             1005 LAYTON RD                                                                                 ANDERSON          IN    46011‐1526
JAMES H COVINGTON                            11026 SANDSTONE ST                                                                             HOUSTON           TX    77072
JAMES H COYLE                                685 COUNTRY CLUB RD                                                                            INDIANAPOLIS      IN    46234‐2631
JAMES H CRAWFORD                             7354 E HOLLY RD                                                                                HOLLY             MI    48442‐9718
JAMES H CURRIER                              3750 GALT OCEAN DR                    APT 205                                                  FORT LAUDERDALE   FL    33308‐7640

JAMES H CUTLER                               5634 CARNEGIE STREET                                                                           SAN DIEGO         CA    92122‐3232
JAMES H CZYZ                                 119 CRYSTAL DRIVE                                                                              N SYRACUSE        NY    13212‐2731
JAMES H D'ANDREA                             2306 KERRIGAN AVENUE                                                                           UNION CITY        NJ    07087‐2203
JAMES H DANIELS                              1170 E LORADO ST                                                                               FLINT             MI    48505‐2330
JAMES H DAVISON                              1535 NESTER DR                                                                                 WINCHESTER        VA    22601‐3244
JAMES H DE VIS‐NORTON                        2552 SONOMA PLACE                                                                              HONOLULU          HI    96822‐1911
JAMES H DEARIE III                           1909 ARROW WOOD DR                                                                             FLOWER MOUND      TX    75028‐8324
JAMES H DEARING                              1085 WATERBURY CLOSE                                                                           POWDER SPGS       GA    30127‐4942
JAMES H DEMAY                                6554 IRON LIEGE TRAIL                                                                          TALLAHASSEE       FL    32308‐1933
JAMES H DENNIS JR                            6504 NW TWIN SPRINGS RD                                                                        KANSAS CITY       MO    64152‐3047
JAMES H DENNY & BARBARA L DENNY JT TEN       531 COUCH DR STE 200                                                                           OKLAHOMA CITY     OK    73102‐2251
JAMES H DETHERAGE                            7484 JOAN DRIVE                                                                                WESTCHESTER       OH    45069‐3652
JAMES H DEULING                              1851 SUNVALE DR SW                                                                             WYOMING           MI    49519‐6551
JAMES H DICKNEITE                            9951 HOLST RD                                                                                  BLOOMSDALE        MO    63627‐8928
JAMES H DILLON                               1826 SHERMAN AVE                                                                               NORWOOD           OH    45212‐2516
JAMES H EDWARDS                              2560 HIGHLAND LICK RD                                                                          ELKTON            KY    42220‐9684
JAMES H EIDEMILLER                           4417 BEECHER AVENUE                                                                            DAYTON            OH    45420‐3122
JAMES H EIDSON                               8125 ALBERT ST                                                                                 FT WORTH          TX    76108‐3102
JAMES H ELLIOTT                              430 W WALNUT ST                                                                                KUTZTOWN          PA    19530‐1421
JAMES H ELWELL                               R R 8 BOX 479                                                                                  BEMIDJI           MN    56601‐9303
JAMES H ENGLE                                3656 KINGSWAY DR                      CRONE POINT                                              CROWN POINT       IN    46307
JAMES H EVOY                                 737 N WILDER RD                                                                                LAPEER            MI    48446‐3430
JAMES H FAIN                                 689 FRACHISEUR RD                                                                              GRANNIS           AR    71944‐9490
JAMES H FALK SR & BOBBIE JO FALK JT TEN      9430 CORNWELL FARM RD                                                                          GREAT FALLS       VA    22066‐2702
JAMES H FARLEY                               11949 JACKSONBURG RD                                                                           MIDDLETOWN        OH    45042‐9506
JAMES H FERGUSON                             16 NW BURR OAK DR                                                                              LAWTON            OK    73507
JAMES H FERGUSON                             9271 E 450 N                          BOX 26                                                   VAN BUREN         IN    46991‐0026
JAMES H FIGGINS                              3210 E DODGE ROAD                                                                              CLIO              MI    48420‐9702
JAMES H FITZWATER                            112 WATERS EDGE DRIVE                                                                          ELYRIA            OH    44035‐8849
JAMES H FLATT & MAZELLE FLATT JT TEN         4117 ROUNDHILL DR                                                                              ANDERSON          IN    46013‐2568
JAMES H FONDREN                              5936 ALPHA AVENUE                                                                              ST LOUIS          MO    63147‐1102
JAMES H FOX                                  95 COUNTY ROAD 383                                                                             LEESBURG          AL    35983‐4762
JAMES H FRANKLIN                             PO BOX 430                                                                                     RIDGE             MD    20680‐0430
JAMES H FRAZIER                              3962 KEMP RD                                                                                   DAYTON            OH    45431‐2310
JAMES H FREY                                 3806 TRAPNELL RIDGE DR                                                                         PLANT CITY        FL    33567
JAMES H FRIDY                                2780 KNOB HILL DR                                                                              CLEMMONS          NC    27012‐9259
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JAMES H FULTON                                 7707 FIVE LAKES DR                                                                               FARWELL            MI    48622‐9494
JAMES H FULTON                                 5852 HWY 492 W                                                                                   UNION              MS    39365‐8768
JAMES H FYKE                                   6324 CHICKENING WOODS DR                                                                         NASHVILLE          TN    37215‐5302
JAMES H GALLAGHER                              450 LEE STREET #6                                                                                OAKLAND            CA    94610‐4735
JAMES H GANT                                   12544 CALEB CT                                                                                   WOODBRIDGE         VA    22192‐3306
JAMES H GEIGER & LOIS M GEIGER JT TEN          588 ELM ST                                                                                       CALUMET            MI    49913‐1217
JAMES H GEILE                                  1920 VALLEY ST                                                                                   DAYTON             OH    45404‐2539
JAMES H GIBERT                                 #1118                                   228 ST CHARLES AVE                                       NEW ORLEANS        LA    70130‐2672
JAMES H GLADNEY                                80 SUCCESS DRIVE                                                                                 BOLTON             MS    39041‐9647
JAMES H GLASCO DOROTHY A GLASCO & JULIE A      2197 N SYCAMORE CIR                                                                              BURTON             MI    48509‐1354
HOOKER JT TEN
JAMES H GOODIN                                 248 CALVIN ST                                                                                    MONROE             MI    48162‐4202
JAMES H GORDON                                 6919 WILLOWWOOD                                                                                  ST LOUIS           MO    63121‐2727
JAMES H GRAY                                   110 TURTLE CREEK                                                                                 AMARILLO           TX    79118
JAMES H GREEN                                  1435 WEST 34TH STREET                                                                            INDIANAPOLIS       IN    46208‐4550
JAMES H GREEN                                  1446 MORAY STREET SW                                                                             ATLANTA            GA    30311‐3512
JAMES H GREGG                                  3728 THREE RD                                                                                    BAT CITY           MI    48706
JAMES H GREGORY                                4010 LONGFORD CT                                                                                 LEXINGTON          KY    40516‐9620
JAMES H GREGORY SR & EILEEN GREGORY JT TEN     4010 LONGFORD COURT                                                                              LEXINGTON          KY    40516‐9620
JAMES H GREGWARE                               37 ROBERTS LANE                                                                                  WEST HARTFORD      CT    06107‐1627
JAMES H GRIFFITH                               11565 M 216                                                                                      MARCELLUS          MI    49067‐9388
JAMES H GRIFFITH                               388 CORTLAND AVE                                                                                 HIGHLAND PARK      MI    48203‐3437
JAMES H GROULX & BETSY A GROULX JT TEN         2565 E RIVER RD                                                                                  KAWKAWLIN          MI    48631‐9409
JAMES H GROW II                                362 RYERSON HILL RD                                                                              SOUTH PARIS        ME    04281
JAMES H GRUBER                                 481 BENTLEY STREET                                                                               OVIEDO             FL    32765‐8166
JAMES H GUENST CUST JACQUELINE L DISCHELL UTMA 117 COUNTRY CLUB DR                                                                              LANSDALE           PA    19446‐1457
PA
JAMES H GUNTHER JR                             1 WHISPER WAY EAST                                                                               LEDGEWOOD          NJ    07852
JAMES H GUSTAFSON & SUZANNE M GUSTAFSON JT TEN 6590 CONNER RD                                                                                   EAST AMHERST       NY    14051‐1577

JAMES H GUTHRIE                                 206 JOY LANE                                                                                    WEST CHESTER       PA    19380‐5108
JAMES H HALEY                                   1210 MAIN                                                                                       OSAWATOMIE         KS    66064‐1641
JAMES H HARDESTY                                1131 EAST GREENLAWN                                                                             LANSING            MI    48910‐3612
JAMES H HARDIN & DOROTHY J HARDIN JT TEN        38342 HUMPHREY CIR                                                                              NORTH RIDGEVILLE   OH    44039

JAMES H HARDING                                 4357 QUAIL CREEK TRACE S                                                                        PITTSBORO          IN    46167‐8912
JAMES H HARDING & MRS FAE S HARDING JT TEN      4357 QUAIL CREEK TRACE S                                                                        PITTSBORO          IN    46167‐8912
JAMES H HARDING JR                              802 OXMOOR WOODS PKWY                                                                           LOUISVILLE         KY    40222‐5589
JAMES H HARRIS                                  40702 BABB RD                                                                                   UMATILLA           FL    32784
JAMES H HARRIS                                  1026 HOLLOWOOD CT                                                                               INDIANAPOLIS       IN    46234‐1928
JAMES H HARRISON JR & MRS DOLORES M HARRISON JT 303 ASPEN PLACE                                                                                 ALEXANDRIA         VA    22305‐1703
TEN
JAMES H HARTSOCK                                6015 CRAMLANE DR                                                                                CLARKSTON          MI    48346‐2402
JAMES H HAWLEY                                  PO BOX 17392                                                                                    DAYTON             OH    45417‐0392
JAMES H HELLEMS                                 BOX 395                                                                                         HINTON             WV    25951‐0395
JAMES H HELZER                                  G 4022 N CENTER RD                                                                              FLINT              MI    48506
JAMES H HENDERSON                               1087 35TH AVE                                                                                   SACRAMENTO         CA    95822‐2435
JAMES H HENDERSON                               1517 NW 30TH ST                        APT 225                                                  OKLAHOMA CITY      OK    73118
JAMES H HENRY                                   16349 TIMBERVIEW                                                                                CLINTON TWSP       MI    48036‐1658
JAMES H HERBOLD                                 51449 FAIRLANE                                                                                  SHELBY TOWNSHIP    MI    48316‐4620

JAMES H HEYBOER & LISA G HEYBOER JT TEN         15700 MYERS LAKE ROAD                                                                           SAND LAKE          MI    49343‐9546
JAMES H HICE                                    90 RIVERS EDGE LN                                                                               MURPHY             NC    28906‐7018
JAMES H HILLMAN & MRS NAOMI V HILLMAN JT TEN    404 CHESWICK PLACE                     APT 225                                                  BRYN MAWR          PA    19010

JAMES H HOLLIMON & PHOEBE B HOLLIMON JT TEN     1700 SCENIC HWY #201                                                                            PENSACOLA          FL    32503‐6632

JAMES H HOLLIS                                  307 BERT LANE                                                                                   INKSTER            MI    48141‐1079
JAMES H HOLMES                                  4750 ROCKWELL PLACE DR                                                                          TOBACCOVILLE       NC    27050‐9594
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Name                                             Address1                                Address2             Address3          Address4          City            State Zip

JAMES H HOPSON                                     83 SPENCER ST                                                                                  DOLGEVILLE      NY    13329‐1469
JAMES H HOUSER JR                                  504 KERFOOT FARM RD                                                                            WILMINGTON      DE    19803‐2444
JAMES H HUBBARD                                    C/O VERNELIA K HUBBARD                26101 KARR RD                                            BELLEVILLE      MI    48111‐8800
JAMES H HUDEPOHL                                   7948 BURGUNDY LANE                                                                             CINCINNATI      OH    45224‐1243
JAMES H HUDSON                                     1753 COMMONWEALTH DR                                                                           XENIA           OH    45385‐4815
JAMES H HUDSON                                     3327 HIGH KNOLL DR 7                                                                           HIGHLAND        MI    48356‐1407
JAMES H HUEY                                       19940 ORLEANS                                                                                  DETROIT         MI    48203‐1354
JAMES H HUGGINS                                    PO BOX 491                                                                                     LOGANVILLE      GA    30052‐0491
JAMES H HULL                                       6415 BUCKHURST TRAIL                                                                           COLLEGE PK      GA    30349‐4501
JAMES H HULL & BRANDON A HULL JT TEN               6415 BUCKHURST TRAIL                                                                           COLLEGE PK      GA    30349‐4501
JAMES H HUNT                                       930 EAST 147 ST                                                                                CLEVELAND       OH    44110‐3706
JAMES H HUNT                                       1973 MASSACHUSETTS AVE                                                                         MCLEAN          VA    22101‐4908
JAMES H HURLEY                                     58 W S SAGINAW RD                                                                              BAY CITY        MI    48706
JAMES H IMPEY                                      98 WASHINGTON AVE                                                                              ST JOHNSBURY    VT    05819‐2310
JAMES H IRVIN TR UA 06/09/94 JAMES H IRVIN & HELYN 3 N 371                               HOWARD AVENUE                                            ELM HURST       IL    60126
IRVIN LIVING TRUST
JAMES H JACKS & MAURICE P JACKS JT TEN             PO BOX 261                                                                                     WESSON          MS    39191‐0261
JAMES H JACKSON & EMILY M JACKSON JT TEN           8566 CADILLAC CIRCLE                                                                           GROSSEILE       MI    48138‐2216
JAMES H JACKSON & GERALDINE A JACKSON JT TEN       5066 W DODGE RD                                                                                CLIO            MI    48420‐8503

JAMES H JACOBS JR                                183 LINCOLN AVE                                                                                  LOCKPORT        NY    14094‐5525
JAMES H JIRANEK                                  1400 ALPINE ROAD                                                                                 WELLSVILLE      PA    17365‐9644
JAMES H JOHNSON                                  11365 HORTON RD                                                                                  GOODRICH        MI    48438‐9498
JAMES H JOHNSON                                  16925 MANOR ST                                                                                   DETROIT         MI    48221‐2888
JAMES H JOHNSON                                  16601 CHAPEL ST                                                                                  DETROIT         MI    48219‐3848
JAMES H JOHNSON                                  200 OAK AVE                                                                                      WEST BERLIN     NJ    08091‐9139
JAMES H JOHNSON JR                               831 LAUREL CREST CT SW                                                                           MARIETTA        GA    30064‐3976
JAMES H JUNOD                                    5373 PURCELL RD                                                                                  HEMLOCK         NY    14466‐9609
JAMES H JUSTUS                                   PO BOX 282                                                                                       CARNESVILLE     GA    30521‐0282
JAMES H KEEFER                                   26201 WYATT RD                                                                                   BLUE SPRINGS    MO    64015‐1910
JAMES H KEEHN & MARGARET H KEEHN TR KEEHN FAM    6700 W MARION ST                                                                                 MILWAUKEE       WI    53216‐1142
TRUST UA 04/13/95
JAMES H KEITH                                    4018 JOYCE AVE                                                                                   WATERFORD       MI    48329‐4109
JAMES H KELLEY                                   633 N EIFERT ROAD                                                                                MASON           MI    48854‐9559
JAMES H KELSO                                    1263 EAST 125 STREET                                                                             E CLEVELAND     OH    44112‐4121
JAMES H KESLER                                   895 ST BEDE LN                                                                                   HAYWARD         CA    94544‐3809
JAMES H KESLER & MARLYS R KESLER JT TEN          895 SAINT BEDE LANE                                                                              HAYWARD         CA    94544‐3809
JAMES H KESSLER 3RD                              516 CLUB HILL RD                                                                                 LAKE ALFRED     FL    33850
JAMES H KEYS                                     1334 SPRING ST                                                                                   LATROBE         PA    15650‐2232
JAMES H KLAMAN & STELLA A KLAMAN TR UA KLAMAN    909 S FORK CIRCLE                                                                                MELBOURNE       FL    32901‐8431
FAMILY REVOCABLE LIVING
JAMES H KLEMSKI                                  5508 S LAGUNA                                                                                    SIERRA VISTA    AZ    85650‐9770
JAMES H KLINE & KAREN M KLINE JT TEN             6367 BOULDER DRIVE                                                                               FLUSHING        MI    48433‐3503
JAMES H KNOFSKI                                  10450 HADLEY                                                                                     GREGORY         MI    48137‐9672
JAMES H KNOTT III                                6041 EDWARD AVE                         APT A2                                                   NEWFANE         NY    14108‐1046
JAMES H KOONS                                    3621 E CR 650 S                                                                                  MUNCIE          IN    47302‐8729
JAMES H KOPLOWITZ CUST JORDAN JAMES KOPLOWITZ    901 10TH STREET                         UNIT 101                                                 BELLINGHAM      WA    98225
UTMA WA
JAMES H KOSSEL                                   4155 LEONARD POINT RD                                                                            OSHKOSH         WI    54904‐9339
JAMES H KOWALKE & BEVERLEY O KOWALKE JT TEN      4550 QUAAS AVE                                                                                   WATERTOWN       MN    55388‐8324

JAMES H KRICK CUST DEBORAH T KRICK UGMA MI       2190 STEEPLECHASE DR                                                                             ANN ARBOR       MI    48103‐6033
JAMES H KRICK CUST SUSANNA T KRICK UGMA MI       14675 JERUSALEM RD                                                                               CHELSEA         MI    48118‐9687
JAMES H KUHR                                     255 GRIPPEN HILL RD                                                                              VESTAL          NY    13850‐5606
JAMES H KUNKLE & ROSE ANN KUNKLE JT TEN          273 MOUNTAIN VIEW RD                                                                             GIBSONIA        PA    15044‐7958
JAMES H LAKE JR                                  554 MOCKING BIRD LANE                                                                            SHREVEPORT      LA    71105‐4322
JAMES H LANOS JR                                 4725 DAYTON‐LIBERTY ROAD                                                                         DAYTON          OH    45418
JAMES H LARGO                                    4809 ASHLOCK DR                                                                                  THE COLONY      TX    75056‐1638
JAMES H LAUNIUS & BETTY J LAUNIUS JT TEN         221 PROCTOR                                                                                      BIG STONE GAP   VA    24219
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JAMES H LEACH & CHERYL M LEACH JT TEN           4021 DEERFIELD COURT                                                                        BRIGHTON         MI    48114
JAMES H LEBO                                    92 MOON RD                                                                                  OXFORD           MI    48371‐6127
JAMES H LEE                                     2104 POLK ST                                                                                JANESVILLE       WI    53546‐3210
JAMES H LEE & GENEVIEVE M LEE TEN ENT           7431 ROUND HILL RD                                                                          FREDERICK        MD    21702‐3539
JAMES H LEITHREN & MARY LEITHREN JT TEN         21 WINFIELD DR                     FAIRFIELD CREST                                          NEWARK           DE    19711‐7013
JAMES H LEONARD                                 217 JEWELL DRIVE                                                                            LIVERPOOL        NY    13088‐5421
JAMES H LEVIN CUST ANDREW R LEVI UGMA NY        85 LARCHMONT AVENUE                                                                         LARCHMONT        NY    10538‐3748
JAMES H LEVINE                                  13914 GREENWOOD MANOR DR                                                                    CYPRESS          TX    77429
JAMES H LEWIS                                   1226 DAIRY LN                                                                               EAST LIVERPOOL   OH    43920‐9314
JAMES H LILLARD                                 1115 TEXARKANA DRIVE                                                                        INDIANAPOLIS     IN    46231‐2525
JAMES H LLOYD                                   1285 W STONE CROSSING RD                                                                    GREENWOOD        IN    46143‐8554
JAMES H LOFTON                                  117 W YPSILANTI AVE                                                                         PONTIAC          MI    48340‐1874
JAMES H LORRAINE                                RR 2 BOX 111‐B                                                                              THOMPSONVILLE    IL    62890‐9322
JAMES H LUCARELLI                               584 CONWAY CT                                                                               BURR RIDGE       IL    60521‐8342
JAMES H LUTZ                                    5665 EAST ST                                                                                SAGINAW          MI    48601‐9748
JAMES H LUX JR                                  POB 575                                                                                     PAISLEY          FL    32767
JAMES H M FOGLEMAN                              1320 NORTH LAKESHORE DRIVE                                                                  SARASOTA         FL    34231‐3440
JAMES H MAC FARLANE                             31744 CHESTER                                                                               GARDEN CITY      MI    48135‐1740
JAMES H MACARDELL JR & THOMAS E GLENN JT TEN    7000 BLVD EAST APT 29B                                                                      GUTTENBERG       NJ    07093‐4844

JAMES H MACCLOUD                                21 BOCK BOULEVARD                                                                           HOWELL           NJ    07731‐1343
JAMES H MACKIE & LOUISE T MACKIE JT TEN         86 N OLD BALTIMORE PIKE                                                                     NEWARK           DE    19702‐1641
JAMES H MACLARY                                 418 ROCHELLE AVE                                                                            WILMINGTON       DE    19804‐2118
JAMES H MAGUIRE                                 31 ELTON AVE                                                                                YARDVILLE        NJ    08620‐1501
JAMES H MALOY                                   838 BEACHWOOD                                                                               GIRARD           OH    44420‐2135
JAMES H MANSKE                                  8200 W HIGH STREET                                                                          FRANKLIN         WI    53132‐9778
JAMES H MARAS                                   380 ROGERS RD                                                                               VIENNA           OH    44473‐9638
JAMES H MASON                                   1404 MONTGOMERY ST                                                                          EATON RAPIDS     MI    48827‐1927
JAMES H MASON                                   5464 W COURT ST                                                                             FLINT            MI    48532‐3310
JAMES H MAYERS                                  716 E 7TH ST                                                                                PLAINFIELD       NJ    07062‐1806
JAMES H MAYOSKY                                 1654 DUVALL                                                                                 SAN JOSE         CA    95130‐1717
JAMES H MC GAHHEY                               6790 BALFOUR                                                                                ALLEN PARK       MI    48101‐2306
JAMES H MC QUAID                                2405 LIBBIE DRIVE                                                                           LANSING          MI    48917‐4416
JAMES H MEAD                                    PO BOX 1                                                                                    BIG BAY          MI    49808‐0001
JAMES H MENIFEE                                 2408 E 41 ST                                                                                ANDERSON         IN    46013‐2615
JAMES H MIKELSON & BONNIE L MIKELSON JT TEN     8686 W PRENTICE AVE                                                                         LITTLETON        CO    80123‐2190
JAMES H MILLER CUST LOGAN E MILLER UTMA IA      1216 RANGE VIEW RD                                                                          NORTH POLE       AK    99705‐5389
JAMES H MILLER CUST RACHEL E MILLER UTMA IA     1216 RANGE VIEW RD                                                                          NORTH POLE       AK    99705‐5389
JAMES H MONTGOMERY                              231 SYDNEY RD                                                                               HOLLAND          PA    18966‐2894
JAMES H MOORE                                   405 ESTATE DR                                                                               NEW IBERIA       LA    70563‐2307
JAMES H MOORE III                               PO BOX 1845                                                                                 DECATUR          GA    30031‐1845
JAMES H MOORE JR                                7366 SAWGRASS POINT DR                                                                      PINELLAS PARK    FL    33782‐4204
JAMES H MOORMAN JR                              3 SANDOWN RD                                                                                SAVANNAH         GA    31419‐3217
JAMES H MORAN                                   43032 LAGO STELLA PL                                                                        ASHBURN          VA    20148‐7189
JAMES H MORSE                                   2760 CLOVERDALE                                                                             HIGHLAND         MI    48356‐1510
JAMES H MULLET                                  2681 GEORGETOWN VERONA ROAD                                                                 LEWISBURG        OH    45338‐9564
JAMES H MULLINS                                 5899 HICKORY MEADOWS DRIVE                                                                  WHITE LAKE       MI    48383‐1184
JAMES H MURLEY                                  51 CAIN RD                                                                                  PINSON           TN    38366‐1922
JAMES H N HUDNALL JR                            PO BOX 1115                                                                                 PORT ANGELES     WA    98362
JAMES H NELSON & KATHLEEN R NELSON JT TEN       1495 WEST MOUNT VERNON RD                                                                   MOUNT VERNON     IA    52314‐9623
JAMES H NIENABER                                BOX 304                                                                                     EVERGREEN        CO    80437‐0304
JAMES H NOBIL JR                                501 SLATERS LN                                                                              ALEXANDRIA       VA    22314‐1166
JAMES H NOTHOFF                                 1992 BIRCH VIEW DR                                                                          KEWADIN          MI    49648‐9771
JAMES H NUMMER                                  885 RECTOR RD                                                                               IONIA            MI    48846‐9577
JAMES H ODOM                                    514 WISSAHICKON AVE                                                                         CEDARTOWN        GA    30125‐2532
JAMES H ODONNELL                                122 E ANGELA BLVD                                                                           SOUTH BEND       IN    46617‐1201
JAMES H OFELT & KAREN OFELT TEN COM             8007 OAK MOSS                                                                               SPRING           TX    77379‐4528
JAMES H OGDEN JR                                301 PLUM POINT ROAD                                                                         HUNTINGTOWN      MD    20639‐8301
JAMES H ONEILL                                  4060 OLD CLARKSVILLE PIKE                                                                   CLARKSVILLE      TN    37043‐7914
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Name                                            Address1                             Address2                     Address3   Address4          City              State Zip

JAMES H PAGE                                    10631 NORTH 24TH ST                                                                            PLAINWELL         MI    49080‐8903
JAMES H PALLASCH                                1002 N SPARTA RD                                                                               STEELEVILLE       IL    62288‐1235
JAMES H PAXTON & DONNA PAXTON JT TEN            10240 3 DOCTOR RD                                                                              DUNKIRK           MD    20754‐9487
JAMES H PEDEN JR                                1303 APACHE LN                                                                                 APEX              NC    27502‐8820
JAMES H PERKINS                                 18227 DONOHUE RD                                                                               PINCKNEY          MI    48169‐8868
JAMES H PERREAULT                               3012 NICCOLET PL                                                                               BAY CITY          MI    48706‐2730
JAMES H PHILLIPS & PATRICIA A PHILLIPS JT TEN   10495 LISS RD                                                                                  WILLIS            MI    48191‐9722
JAMES H PIPER                                   4 HIGHLAND PLACE                                                                               CLIFTON SPRINGS   NY    14432‐1110
JAMES H POTTER                                  1288 VAN SICKLE DR                                                                             HILLSDALE         MI    49242‐9513
JAMES H PRATT                                   856 STATE HWY E                                                                                ROCKY COMFORT     MO    64861‐7191
JAMES H PREISS                                  5116 THURSTON RD                                                                               BLAZEDALE         NY    14219‐2676
JAMES H PRESLEY                                 1804 PERSHING BLVD                                                                             DAYTON            OH    45420‐2427
JAMES H PRUETT                                  2040 JOY RD                                                                                    AUBURN HILLS      MI    48326‐2612
JAMES H PYRA                                    2711 FOREST AVE                                                                                NIAGARA FALLS     NY    14301‐1439
JAMES H QUINLAN & ALINE C QUINLAN JT TEN        BOX 418                              LITTLE BROOK DIGBY CNTY NS              B0W 1Z0 CANADA
JAMES H QUINN                                   3095 N 375 E                                                                                   ANDERSON          IN    46012‐9428
JAMES H RAGSDALE                                2840 GRANDVIEW                                                                                 WATERFORD         MI    48329‐2918
JAMES H REBELLO                                 7 CLEMENT AVE                                                                                  WESTPORT          MA    02790‐1917
JAMES H REED JR                                 569 THORN HILL CT                                                                              BELLEVILLE        MI    48111‐4929
JAMES H REID                                    1357 RENSLAR AVE                                                                               DAYTON            OH    45432‐3130
JAMES H REYNOLDS                                4168 W THOMPSON RD                                                                             LINDEN            MI    48451‐9425
JAMES H RICHARDSON                              3649 WINCHELL RD                                                                               CLEVELAND         OH    44122‐5123
JAMES H RICK                                    354 ORLENA AVE                                                                                 LONG BEACH        CA    90814‐1848
JAMES H RICKARD                                 600 WILDCAT HILL RD                                                                            HARWINTON         CT    06791‐2615
JAMES H RIDER                                   2301 SOUTHERN PINES DR                                                                         CHESAPEAKE        VA    23323‐4233
JAMES H ROBERTSON & ROBIN C ROBERTSON JT TEN    313 H AVENUE                                                                                   KURE BEACH        NC    28449‐3702

JAMES H ROBINSON                               1134 RENEE DRIVE                                                                                DECATUR           GA    30035‐1052
JAMES H ROBISON                                861 TERRACE AVE                                                                                 WESTON            WV    26452‐1541
JAMES H ROSE                                   1159 WIGGINS LAKE RD                                                                            GLADWIN           MI    48624‐7623
JAMES H ROSE                                   4204 BOXWOOD                                                                                    INDEPENDENCE      KY    41051‐9507
JAMES H ROYSTER                                PO BOX 2943                                                                                     HENDERSON         NC    27536‐6943
JAMES H RUST & MRS FRANCES M RUST JT TEN       66 OAKTON AVE                                                                                   DORCHESTER        MA    02122‐2110
JAMES H SADLER                                 1505 WILLIAMS RD                                                                                HIXSON            TN    37343‐4810
JAMES H SAMYN                                  996 WARNER RD                                                                                   ESSEXVILLE        MI    48732‐9772
JAMES H SAPP & MRS REBECCA A SAPP JT TEN       5909 TELEGRAPH RD                                                                               ELKTON            MD    21921‐2954
JAMES H SAVELY JR                              3144‐B W BRUSHY FORK RD                                                                         ZIONVILLE         NC    28698
JAMES H SAWVEL                                 305 S 5TH AVE E                                                                                 NEWTON            IA    50208‐4719
JAMES H SCHAEFER II                            BOX 854                                                                                         SOLANA BEACH      CA    92075‐0854
JAMES H SCHLAUD & ERIKA SCHLAUD JT TEN         3701 WOODROW AVE                                                                                FLINT             MI    48506‐3135
JAMES H SCHMIEDICKER                           582 SUMNER ROAD                                                                                 CORFU             NY    14036‐9567
JAMES H SCHOETTLE                              8210 CHRISTIAN LANE                                                                             INDIANAPOLIS      IN    46217‐5427
JAMES H SCHUCK                                 4554 SUNRISE DR                                                                                 BEMUS POINT       NY    14712‐9637
JAMES H SCHULTZ                                301 W MCCONNELL                                                                                 SAINT JOHNS       MI    48879
JAMES H SCHULTZ CUST MELISSA CARI SCHULTZ UTMA 3111 FAIRWAY DR                                                                                 BATON ROUGE       LA    70809‐1814
LA
JAMES H SCOTT                                  18012 ASBURY PK                                                                                 DETROIT           MI    48235‐3103
JAMES H SHORT                                  C/O CAROL M SHORT                     321 E 54TH ST                                             NEW YORK          NY    10022‐4933
JAMES H SIMPKINS                               19 HEARTHSTONE BLVD                                                                             PEMBERTON         NJ    08068‐1557
JAMES H SIMPSON CUST RICHARD A SIMPSON UGMA PA 675 ALBRIGHT MILL RD                                                                            CHILLICOTHE       OH    45601‐9405

JAMES H SLATER                                  87 HARBOR LANE                                                                                 MASSAPEQUA PARK NY      11762‐4002

JAMES H SLAVIN                                  210 DELAY RD                                                                                   HARWINTON         CT    06791‐2508
JAMES H SLOAN                                   PO BOX 445                                                                                     CLAIRTON          PA    15025‐0445
JAMES H SMIT                                    8821 MONROE ST                                                                                 MUNSTER           IN    46321‐2416
JAMES H SMITH                                   5977 S FOREST HAVEN                  PO BOX 375                                                GLEN ARBOR        MI    49636‐0375
JAMES H SMITH & MARY E SMITH JT TEN             5977 S FOREST HAVEN                  PO BOX 375                                                GLEN ARBOR        MI    49636‐0375
JAMES H SMITH JR                                804 W MONROE                                                                                   ALEXANDRIA        IN    46001‐1547
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JAMES H SNYDER                                     3750 SHIERSON HWY                                                                                MANITOU BEACH   MI    49253‐9722
JAMES H SOUDERS                                    2522 RIO TIBER DR                                                                                PUNTA GORDA     FL    33950‐6324
JAMES H SPALDING JR                                180 DE SOTO ST                                                                                   SAN FRANCISCO   CA    94127‐2813
JAMES H SPANGLER                                   1508 FAIR OAKS                                                                                   SIDNEY          OH    45365‐1009
JAMES H STALLINGS                                  1420 DOCTOR JACK RD                                                                              CONOWINGO       MD    21918‐1749
JAMES H STANKE                                     8434 N ELMS RD                                                                                   FLUSHING        MI    48433‐8852
JAMES H STEPHENS                                   9300 W EATON HWY R#3 BOX 453                                                                     LAKE ODESSA     MI    48849‐9309
JAMES H STEWART & ELEANOR STEWART JT TEN           35477 PARKDALE                                                                                   LIVONIA         MI    48150‐2552
JAMES H STEWART & ELEANOR STEWART JT TEN           35477 PARKDALE                                                                                   LIVONIA         MI    48150‐2552
JAMES H STILELL                                    158 CEZANNE WOODS PLACE                                                                          THE WOODLANDS   TX    77382‐2055
JAMES H STONE                                      1560 STONEY PT RD                                                                                CUMMING         GA    30041‐6750
JAMES H STRANDBERG                                 115 EDNA STREET                                                                                  PLYMOUTH        WI    53073‐1209
JAMES H STREETER                                   2747 EDGAR RD                           R D #6                                                   MASON           MI    48854‐9261
JAMES H STUMP CUST MICHAEL J STUMP UGMA MI         2100 ROLFE ROAD                                                                                  MASON           MI    48854‐9251

JAMES H STUMP CUST TODD H STUMP UGMA MI            65 QUAIL RUN RD                                                                                  DEWITT           MI   48820‐8201
JAMES H SUTER                                      504 ERICKSON AVE                                                                                 HARRISONBURG     VA   22801‐5300
JAMES H SWEIGART JR                                5 HIGHLANDS MEADOWS DRIVE               APT 11                                                   HIGHLAND HEIGHTS KY   41076‐3710

JAMES H TASSIN                                     2132 65TH AVE                                                                                    OAKLAND         CA    94621‐3818
JAMES H TAYLOR                                     P O BOX 237                                                                                      IMBODEN         AR    72434‐9010
JAMES H THEAL & SHARRY L THEAL JT TEN              62 N OAK ST                                                                                      MANHEIM         PA    17545‐1528
JAMES H THOMAS                                     17007 CORAL GABLES                                                                               SOUTHFIELD      MI    48076‐4782
JAMES H THOMAS                                     5701 THOMAS ROAD                                                                                 GAINESVILLE     GA    30506‐2472
JAMES H TRENT                                      213 BURGANDY HILL RD                                                                             NASHVILLE       TN    37211‐6834
JAMES H TREXLER                                    16001 LACONIA CIR                                                                                WOODBRIDGE      VA    22191‐4318
JAMES H TRIPP & DOLORES M TRIPP JT TEN             5760 ELIAS LLOYD RD                                                                              NORTH JACKSON   OH    44451
JAMES H TRUITT                                     651 FRANKLIN ST                                                                                  ELIZABETH       NJ    07206‐1210
JAMES H TRUMAN                                     3505 8TH ST N                                                                                    ARLINGTON       VA    22201‐2303
JAMES H TUCKER                                     3585 CHARLES TOWN RD                                                                             KEARNEYSVILLE   WV    25430‐2646
JAMES H TUREK                                      31556 SCONE                                                                                      LIVONIA         MI    48154‐4234
JAMES H TUTMAN                                     20411 SANTA ROSA                                                                                 DETROIT         MI    48221‐1244
JAMES H UNDERWOOD III                              306 EAST FARREL ROAD                                                                             LAFAYETTE       LA    70508‐7106
JAMES H VALLEM                                     2837 RENFREW                                                                                     ANN ARBOR       MI    48105‐1451
JAMES H VALLEM & CHRISTINA J VALLEM JT TEN         2837 RENFREW                                                                                     ANN ARBOR       MI    48105‐1451
JAMES H VAN HEVEL JR & MARY LEE VAN HEVEL JT TEN   8649 GRACE                                                                                       UTICA           MI    48317‐1713

JAMES H VANDERPOOL                                 2315 PEBBLE CREEK DR                                                                             FLUSHING        MI    48433‐3504
JAMES H VARN                                       969 LAKEVIEW DR                                                                                  MT PLEASANT     SC    29464‐3542
JAMES H VAVALIDES                                  9123 FARRELL PARK LANE                                                                           KNOXVILLE       TN    37922
JAMES H WAGNER                                     6210 ROYALTON RD                                                                                 AKRON           NY    14001‐9006
JAMES H WALBRIDGE & MRS RUTH G WALBRIDGE JT        GATES/ORCHARD RD                        830 ORCHARD RD                                           BENN            VT    05201‐8804
TEN
JAMES H WALDROP                                    13335 JOBIN                                                                                      SOUTHGATE       MI    48195‐1159
JAMES H WALDRUP                                    3820 ROCKVILLE AVENUE                                                                            INDIANAPOLIS    IN    46241‐1512
JAMES H WALKER                                     500 CASS PINE LOG ROAD                                                                           RYDAL           GA    30171‐1401
JAMES H WALKER                                     42262 LOCKLIN DR                                                                                 STERLING HGTS   MI    48314‐2822
JAMES H WALKER CUST ROME H WALKER U/THE W VA       2913 DEER POINT DR                                                                               JOHNS ISLAND    SC    29455‐6232
GIFTS TO MINORS ACT
JAMES H WALL                                       5140 W HERBISON RD                                                                               DEWITT          MI    48820‐7893
JAMES H WALTER                                     24120 ASBURY DR                                                                                  DENTON          MD    21629‐2217
JAMES H WARD                                       415 LOGAN THORNVILLE RD                                                                          OREMEN          OH    43107‐9708
JAMES H WARNER III                                 1709 BELVUE DR                                                                                   FOREST HILL     MD    21050‐2505
JAMES H WATTS                                      1206 RICHARD ST                                                                                  MIAMISBURG      OH    45342‐1950
JAMES H WEBB                                       2115 KENO DR                                                                                     CROSSVILLE      TN    38555‐3456
JAMES H WIEGAND CUST JACQUELINE S WIEGAND          409 N ANN ARBOR RD                                                                               SALINE          MI    48176‐1001
UTMA MI
JAMES H WIEGAND CUST JARED V WIEGAND UTMA MI       409 N ANN ARBOR RD                                                                               SALINE          MI    48176‐1001
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Name                                             Address1                                Address2             Address3          Address4          City              State Zip

JAMES H WIEGAND II CUST JACQUELINE S WIEGAND     409 N ANN ARBOR RD                                                                               SALINE            MI    48176‐1001
UGMA MI
JAMES H WIEGAND II CUST JAMES H WIEGAND III UGMA 409 N ANN ARBOR ROAD                                                                             SALINE            MI    48176‐1001
MI
JAMES H WIEGAND II CUST JARED VINCENT WIEGAND    409 N ANN ARBOR ROAD                                                                             SALINE            MI    48176‐1001
UGMA MI
JAMES H WIEGAND II CUST JARED VINCENT WIEGAND    409 N ANN ARBOR ROAD                                                                             SALINE            MI    48176‐1001
UTMA MI
JAMES H WIEGAND II CUST NICHOLAS A WIEGAND       409 N ANN ARBOR RD                                                                               SALINE            MI    48176‐1001
UGMA MI
JAMES H WIEGAND III                              409 N ANN ARBOR RD                                                                               SALINE            MI    48176‐1001
JAMES H WIGINTON                                 2456 CHESAPEAKE DR                                                                               ADRIAN            MI    49221‐1672
JAMES H WILDERMUTH & GWEN M WILDERMUTH JT        6672 LAKEWAY DRIVE                                                                               CHANHASSEN        MN    55317‐7578
TEN
JAMES H WILLIAMS                                 42909 LOMBARDY DR                                                                                CANTON            MI    48187‐2320
JAMES H WILSON JR                                894 S LINCOLN AVE                                                                                SALEM             OH    44460‐3712
JAMES H WOOD & MRS MARY R WOOD JT TEN            432 COUNTRY LANE TERR                                                                            KANSAS CITY       MO    64114‐4941
JAMES H WOOD TR ELINOR M WOOD TRUST UA           401 W OAKBROOK DR                       APT 342                                                  ANN ARBOR         MI    48103‐6431
08/12/93
JAMES H WRIGHT                                   19 MAILLY DR                                                                                     TOWNSEND          DE    19734‐2207
JAMES H WRIGHT                                   RTE 4 BOX 388‐B                                                                                  WADESBORO         NC    28170‐9474
JAMES H WYCKOFF                                  827 VILLAGE RD                                                                                   CHARLOTTESVLE     VA    22903
JAMES H YOCUM                                    920 CENTRE AVE                                                                                   READING           PA    19601‐2106
JAMES H YONGUE                                   4012 24TH STREET PL NE                                                                           HICKORY           NC    28621
JAMES H YORK                                     3580 STARLING RD                                                                                 BETHEL            OH    45106‐9708
JAMES H YOUNG                                    467 KARL DRIVE                                                                                   RICHMOND HTS      OH    44143‐2541
JAMES H YOUNG JR                                 123 BRINGHAM CIRCLE                                                                              CANTON            GA    30115‐4633
JAMES HAEHL                                      312 CHAPEL ST                                                                                    LOCKPORT          NY    14094‐2406
JAMES HAGLEY                                     48007 ANN ARBOR RD W                                                                             PLYMOUTH          MI    48170‐3323
JAMES HAL MOORE                                                                                                                                   POPE              MS    38658
JAMES HAMELMAN & EILEEN PURCELL JT TEN           33 KINGSLEYRD                                                                                    HUNTINGTON        NY    11743‐6428
JAMES HAMILTON KNAPP                             747 OLIVA STREET                                                                                 SANIBEL           FL    33957‐6608
JAMES HAMPTON                                    811 SUNSET DR                                                                                    GLENWOOD          IL    60425‐1128
JAMES HANKINSON                                  2909 GATINEAU CT                                                                                 FORT WORTH        TX    76118‐7406
JAMES HANNICK                                    2013 ROUNDTREE                                                                                   ROCHESTER HILLS   MI    48307‐4333
JAMES HARDING COPELAND                           51 BEVERLY RD                                                                                    BUFFALO           NY    14208‐1218
JAMES HARKES                                     9 PATTERSON ST                                                                                   KEARNY            NJ    07032‐1917
JAMES HARKI                                      1312 BUCKINGHAM AVE                                                                              LINCOLN PARK      MI    48146‐3316
JAMES HAROLD OMLOR SR                            37 ASHWOOD AVE                                                                                   DAYTON            OH    45405‐2640
JAMES HARPER CUST C KELLEN HARPER UTMA IL        5S610 BLUFF LANE                                                                                 NAPERVILLE        IL    60540‐3835
JAMES HARRINGTON & LINDA HARRINGTON JT TEN       915 BETHEL CHURCH RD                                                                             CAROLLTON         GA    30117

JAMES HARRIS                                     1121 CALVIN S E                                                                                  GRAND RAPIDS     MI     49506‐3236
JAMES HARRIS                                     22705 JENNINGS ST                                                                                WARRENSVILLE HTS OH     44128‐4748

JAMES HARRIS                                     6444 FIELD                                                                                       DETROIT           MI    48213‐2402
JAMES HARRISON                                   2725 CLIPPER LANE                                                                                LAKEPORT          CA    95453‐9604
JAMES HARRISON BARR                              735 KESSLER BLVD                                                                                 INDIANAPOLIS      IN    46220‐2609
JAMES HARRISON FORD                              550 EMCKELLIPS RD APT 1046                                                                       MESA              AZ    85203
JAMES HARRY FERRIL                               20 RACE ST                                                                                       BUFFALO           NY    14207‐1827
JAMES HARTMAN                                    77 WILCOX RD                                                                                     BINGHAMTON        NY    13903‐6529
JAMES HARVEY DUNCAN                              9436 W 400 S                                                                                     FARMLAND          IN    47340‐8900
JAMES HARVEY JR                                  21956 20 MILE RD                                                                                 TUSTIN            MI    49688‐8240
JAMES HARVEY ROGAN SR CUST JAMES HARVEY ROGAN    662 BOWERHILL RD                                                                                 MT LEBANON        PA    15243‐2036
JR UTMA PA
JAMES HARVEY THORNBURY 3RD                       1750 RIDGE RD E                                                                                  WEBSTER           NY    14580‐3618
JAMES HASELBECK                                  4460 N PORTSMOUTH RD                                                                             SAGINAW           MI    48601‐9685
JAMES HAVEN                                      259 JEFFERSON ST                                                                                 HEMLOCK           MI    48626‐9106
JAMES HAVEY                                      2381 DALEBROOK CIRCLE                                                                            HINCKLEY          OH    44233‐9614
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JAMES HAY                                     16280 BLACKIE RD                                                                               SALINAS           CA    93907‐8855
JAMES HAYDEN HALL                             985 CANOE RUN                                                                                  GRAYSON           KY    41143‐7006
JAMES HAYES & MARILYN HAYES JT TEN            47 MATILDA ST                                                                                  ROCHESTER         NY    14606‐5554
JAMES HEARD                                   134 COUNTY ROAD 421                                                                            OXFORD            MS    38655‐6379
JAMES HEIST                                   3906 18TH ST                                                                                   DORR              MI    49423
JAMES HELFRICK                                10885 HARTEL RD                                                                                GRAND LEDGE       MI    48837‐9489
JAMES HELT                                    117 DENISE ELLEN                                                                               BUDA              TX    78610
JAMES HENDERSON                               266 W LINCOLN ST                                                                               OBERLIN           OH    44074‐1822
JAMES HENDERSON & MATTIE B HENDERSON JT TEN   266 WEST LINCOLN STREET                                                                        OBERLIN           OH    44074‐1822

JAMES HENRY                                   3750 CLARENDUN AV                     UNIT 47                                                  PHILADELPHIA      PA    19114‐1938
JAMES HENRY HANCOCK JR CUST JAMES HENRY       179 SARVIS LN                                                                                  MARS HILL         NC    28754‐6017
HANCOCK 3RD UGMA VA
JAMES HENRY HORTON                            356 E DAYTON                                                                                   FLINT             MI    48505‐4340
JAMES HENRY MOORE                             6144 TITAN RD                                                                                  MOUNT MORRIS      MI    48458‐2616
JAMES HENRY NICHOLAS                          455 LANDING BLVD                                                                               INVERNESS         FL    34450‐8007
JAMES HENRY PERNAL                            13747 AINSWORTH ST                                                                             GARDENA           CA    90247‐2123
JAMES HENSON                                  1547 ORTON RD                                                                                  MURPHY            NC    28906‐4367
JAMES HERBERT                                 655 KEELER AVE                                                                                 MATTESON          IL    60443‐1729
JAMES HERBERT & DARLENE HERBERT JT TEN        655 KEELER AVE                                                                                 MATTESON          IL    60443‐1729
JAMES HERNANDEZ                               821 S CHANTILLY ST                                                                             ANAHEIM           CA    92806‐4812
JAMES HICKS                                   17 INTER PARK AVE                                                                              BUFFALO           NY    14211‐1117
JAMES HIGGISTON                               13 RITCHIE AVE                        SILVERSPRING                                             SILVER SPRING     MD    20910
JAMES HINES                                   3950 5TH AVE                                                                                   YOUNGSTOWN        OH    44505‐1531
JAMES HITRO                                   6720 CHESLEY CT                                                                                E AMHERST         NY    14051‐2801
JAMES HLAVACEK                                ATTN VIOLET HLAVACEK                  UNIT 3‐A             322 PARK AVE                        CLARENDON HILLS   IL    60514‐1337

JAMES HOGAN                                   640 W KEMPER PL                                                                                CHICAGO           IL    60614‐3312
JAMES HOLDEN                                  5270 RED FOX DR                                                                                CANANDAIGUA       NY    14424‐8224
JAMES HOLLADAY                                3652 OAKDALE ROAD                                                                              BIRMINGHAM        AL    35223‐1463
JAMES HORNBECK                                206 TEAL RD                                                                                    RIO GRANDE        NJ    08242‐1531
JAMES HOUGHTON NELSON III                     7339 W MT VERNON RD SE                                                                         CEDAR RAPIDS      IA    52402
JAMES HOUSEL                                  451 TIMBER RIDGE DR                                                                            HIGHLAND          MI    48357‐4337
JAMES HUDOCK                                  1203 GLENHEATHER DRIVE                                                                         WINDERMERE        FL    34786‐6038
JAMES HUDSON                                  6806 LAFAYETTE RD                                                                              MEDINA            OH    44256‐8579
JAMES HUGHES & JAMES B HUGHES JT TEN          234 HEARD ST                                                                                   WORCESTER         MA    01603‐1741
JAMES HUGHES & JAYNE M HUGHES JT TEN          234 HEARD ST                                                                                   WORCESTER         MA    01603‐1741
JAMES HUGHES CUST JAMES CHRISTOPHER HUGHES    PO BOX 1734                                                                                    TAYLOR            MI    48180‐6734

JAMES HUIE MC ELROY                           1857 CHATUGE SHORES RD                                                                         HIAWASSEE         GA    30546‐1635
JAMES HUNSINGER                               445 SCENIC HWY                                                                                 LAWRENCEVILLE     GA    30045‐5676
JAMES HUTCHINSON III                          4070 FOREST GLEN CT                                                                            PONTIAC           MI    48329‐2309
JAMES HUTCHISON                               57 TAYLOR ST                          APT 134                                                  SAN FRANCISCO     CA    94102‐6402
JAMES I BEARINGER                             P O BOX 11                                                                                     BEULAH            MI    49617
JAMES I BLAINE                                4991 E HARVARD AVE                                                                             CLARKSTON         MI    48348‐2233
JAMES I BROWER                                23 NAVESINK DR                                                                                 MONMOUTH BCH      NJ    07750‐1131
JAMES I DEVINE                                6004 LAKESHORE RD                                                                              BURTCHVILLE       MI    48059‐4329
JAMES I EITZMANN                              11818 N GARDEN                                                                                 HOUSTON           TX    77071‐3108
JAMES I GOFF                                  344 WHITTEMORE ST                                                                              PONTIAC           MI    48342‐3166
JAMES I GRILLOT & ADA C GRILLOT JT TEN        1300 RIDGEWOOD DR                                                                              BARTLESVILLE      OK    74006‐4508
JAMES I GUTTING                               5379 WYNDAM LANE                                                                               BRIGHTON          MI    48116‐4704
JAMES I HAHN                                  5641 E 700 S                                                                                   PERU              IN    46970‐7880
JAMES I HALE                                  657 SPRING VALLEY RD                                                                           DOYLESTOWN        PA    18901‐3257
JAMES I HYMEL JR                              PO BOX 8740 LA #44                                                                             CONVENT           LA    70723
JAMES I KOWALSKI                              1010 MICHIGAN AVE                                                                              BAY CITY          MI    48708‐8765
JAMES I KUKITA                                BOX 1                                                                                          CAPT COOK         HI    96704‐0001
JAMES I LEUZE                                 1504 E MARKET STREET                                                                           WILMINGTON        DE    19804‐2331
JAMES I MAUNUS                                9995 ROYSTON RD                                                                                GRAND LEDGE       MI    48837‐9472
JAMES I MAYVILLE                              1820 FRANCOIS ROAD                    WINDSOR ON                             N8W 4S7 CANADA
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Name                                              Address1                              Address2             Address3          Address4          City              State Zip

JAMES I MC CLARY                                105 EDINBURGH STREET                                                                             ROCHESTER         NY    14608‐2402
JAMES I MC FAUL TR JAMES MICHAEL MC FAUL        209 CALLE SERENA                                                                                 SAN CLEMENTE      CA    92672‐4323
JAMES I MESSER                                  25728N 1925 EAST RD                                                                              LEXINGTON         IL    61753‐9366
JAMES I MILLER                                  3602 ST ALBAN DRIVE                                                                              ST CHARLES        MO    63301‐0350
JAMES I MILLHOUSE                               4309 EARNEY RD                                                                                   WOODSTOCK         GA    30188‐2209
JAMES I MILLHOUSE U/GDNSHIP OF ERNEST MILLHOUSE 4309 EARNEY RD                                                                                   WOODSTOCK         GA    30188‐2209

JAMES I MORRIS & MRS ORADEL N MORRIS JT TEN       111 JOHN STREET                                                                                HOUMA             LA    70360‐2720
JAMES I MULLINS                                   117 CHURCH AVE                                                                                 ROSE BUD          AR    72137‐9728
JAMES I PICKENS                                   C/O HELEN WEST                        16218 HELMSDALE RD                                       CLEVELAND         OH    44112‐1711
JAMES I POWERS                                    501 W CHURCH ST                                                                                MASON             OH    45040‐1613
JAMES I RIDENOUR                                  2964 WOODELM ST                                                                                ROCHESTER HILLS   MI    48309‐4323
JAMES I VENTIMIGLIA                               9958 KING RD                                                                                   DAVISBURG         MI    48350‐1944
JAMES I WILBURN                                   14273 NORTHMOOR DR                                                                             CEMENT CITY       MI    49233‐9637
JAMES I WYNN                                      7 KENCREST CIRCLE                                                                              ROCHESTER         NY    14606‐5701
JAMES I YOUTSEY                                   BOX 82ARR 1                                                                                    WINSTON           MO    64689
JAMES ILER IRVINE                                 RR 2                                  TOTTENHAM ON                           L0G 1W0 CANADA
JAMES IMMKE                                       830 E 209TH                                                                                    EUCLID            OH    44119‐2406
JAMES INGLESE                                     9319 FRIARS RD                                                                                 BETHESDA          MD    20817‐2308
JAMES IRVIN MELTON                                13504 SOUTH CO ROAD 600 WEST                                                                   WESTPORT          IN    47283‐9706
JAMES IRWIN & JANET K IRWIN JT TEN                1557 CRESCENT RD                                                                               CLIFTON PARK      NY    12065‐7304
JAMES IRWIN MEASE                                 11 TOWNSHIP LINE RD                                                                            DOUGLASSVILLE     PA    19518
JAMES J ABRAMCZYK                                 3929 BRISTOL CT                                                                                CLARKSTON         MI    48348‐3613
JAMES J ABRAMCZYK & TERRI L ABRAMCZYK JT TEN      3929 BRISTOL CT                                                                                CLARKSTON         MI    48348‐3613

JAMES J ADAMS                                     20193 BRAMFORD ST                                                                              DETROIT           MI    48234‐3201
JAMES J AHERN                                     639 SURREY LANE                                                                                GLENVIEW          IL    60025
JAMES J ALBERTSEN                                 C/O BOLLES & PRITCHARD                289 UNION ST                                             HOLBROOK          MA    02343‐1441
JAMES J ALEXANDER JR                              461 ATLANTIC AVENUE                                                                            ABERDEEN          NJ    07747‐2343
JAMES J ALEXANDROU                                13413 ZAREMBA DROVE                                                                            BROOKPARK         OH    44142
JAMES J ARIAGNO                                   PO BOX 1508                                                                                    CADIZ             KY    42211‐1508
JAMES J ARTERBURN & JUDITH J ARTERBURN JT TEN     4034 CADDIE DR E                                                                               BRADENTON         FL    34203‐3428

JAMES J AUCOIN                                       145 S PHILLIPS                                                                              KOKOMO            IN    46901‐5245
JAMES J BABER                                        2000 GARLANDS LN                   UNIT 2104                                                BARRINGTON        IL    60010‐3375
JAMES J BADAL JR                                     2109 W 7TH ST                                                                               CLEVELAND         OH    44113‐3621
JAMES J BALAZSY & ROSEMARIE BALAZSY JT TEN           525 TABASCO CAT CT                                                                          HENDERSON         NV    89015‐2946
JAMES J BAMFORD                                      27A WISTH ST                                                                                CHICAGO           IL    60605
JAMES J BART                                         5949 ORCHARD                                                                                DEARBORN          MI    48126‐2067
JAMES J BARTHOLOMEW                                  1401 BRAMBLE LANE                                                                           WEST CHESTER      PA    19380‐6203
JAMES J BARTIS JR                                    29 LANTERN HILL RD                                                                          FORESTVILLE       CT    06010‐7922
JAMES J BARTLEY                                      2600 SABIN WAY                                                                              SPRING HILL       TN    37174‐2331
JAMES J BARTNICK TR JAMES J BARTNICK REV LIVING      4330 APPLE GROVE LANE                                                                       SAINT LOUIS       MO    63128‐1843
TRUST UA 06/16/92
JAMES J BATTLES                                      322 ELMGROVE RD                                                                             LAPEER            MI    48446‐3549
JAMES J BELLISSIMO & VICTORIA L MANZO & BRUNO J 219 CRESCENT AVE                                                                                 ELLWOOD CITY      PA    16117‐1947
BELLISSIMO JT TEN
JAMES J BERARD                                       11604 CARTER                                                                                OVERLAND PARK     KS    66210‐1965
JAMES J BERTINO                                      3820 WILLOW BROOK DR                                                                        RAVENNA           OH    44266‐8260
JAMES J BEVILACQUA                                   143 FINDLAY AVENUE                                                                          TONAWANDA         NY    14150‐8515
JAMES J BEYEL & ROY W TRESSLER JT TEN                3824 CAPITOL TRL                                                                            WILMINGTON        DE    19808
JAMES J BILLER                                       1304 WARREN DR                                                                              BRUNSWICK         OH    44212‐3014
JAMES J BISSELL & MELBA S BISSELL TR MELBA S BISSELL 114 HAWTHORNE ESTATES                                                                       ST LOUIS          MO    63131‐3030
TRUST UA 06/05/80
JAMES J BLAKLEY & MARY C BLAKLEY JT TEN              3402 BUICK                                                                                  FLINT             MI    48505‐4238
JAMES J BOGOS                                        4277 MEDIA LN                                                                               HARTLAND          MI    48353‐1330
JAMES J BOLLAS                                       463 JEFFREYS DRIVE                                                                          ELIZABETH         PA    15037‐2833
JAMES J BOLLAS & DONNA A BOLLAS JT TEN               463 JEFFREYS DRIVE                                                                          ELIZABETH         PA    15037‐2833
JAMES J BONADIO                                      187 1/2 ADAM ST                                                                             TONAWANDA         NY    14150‐2007
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JAMES J BOWER                                219 ELMWOOD DR                                                                                         CORUNNA           MI    48817‐1130
JAMES J BOWNES                               38726 MEETING HOUSE                                                                                    LIVONIA           MI    48154‐1144
JAMES J BOZIED                               12227 FAIRVIEW                                                                                         STERLING HEIG     MI    48312‐2166
JAMES J BRADY                                19357 BENNETT RD                                                                                       N ROYALTON        OH    44133‐5959
JAMES J BRANSFIELD                           6200 N KNOX AVE                                                                                        CHICAGO           IL    60646‐5030
JAMES J BRENNAN CUST MATTHEW PAUL FUSCO UGMA 10 WHITE BIRCH DRIVE                                                                                   DIX HILLS         NY    11746‐7721
TX
JAMES J BREWSTER                             2675 PENTLEY PL                                                                                        DAYTON            OH    45429‐3740
JAMES J BREZNAI                              100 COMMUITY DRIVE                            APT 321                                                  AVON LAKE         OH    44012‐3306
JAMES J BRIGGS                               PO BOX 6305                                                                                            GRAND RAPIDS      MI    49516‐6305
JAMES J BROWN                                825 S DOGWOOD DR                                                                                       COLDWATER         OH    45828‐1504
JAMES J BUEHLER                              2759 W SID DR                                                                                          SAGINAW           MI    48601‐9205
JAMES J BURNETTE                             1841 FREEMAN RD                                                                                        JONESBORO         GA    30236‐6705
JAMES J BUTLER                               27 LAKEVIEW DRIVE                                                                                      PATCHOGUE         NY    11772‐1009
JAMES J BUZI                                 1714 PINNACLE OAKS DRIVE                                                                               RURAL HALL        NC    27045
JAMES J CALDWELL                             280 KERCHEVA AVE                                                                                       GROSSE POINTE     MI    48236‐3106
                                                                                                                                                    FRMS
JAMES J CASSIDY                                    501 RIVERDALE AVE                                                                                YONKERS           NY    10705‐3583
JAMES J CASSIDY & GRACE CASSIDY JT TEN             501 RIVERDALE AVE                       APT 5A                                                   YONKERS           NY    10705‐3561
JAMES J CAVENEY JR                                 10 WOODS DR                                                                                      WHEELING          WV    26003‐5463
JAMES J CAYCE                                      8495 CLIPPERT                                                                                    TAYLOR            MI    48180‐2831
JAMES J CELLA & CASSANDRA L CELLA TR CELLA TRUST   6235 SYDNEY RD                                                                                   FAIRFAX STATION   VA    22039‐1691
UA 05/21/98
JAMES J CERASANI & EILEEN F CERASANI JT TEN        355 S COTTAGE HILL AVE                                                                           ELMHURST          IL    60126‐3332
JAMES J CHARF                                      1100 E SHOOP RD                                                                                  TIPP CITY         OH    45371
JAMES J CHASE & BONNIE J CHASE JT TEN              1416 E 8 TH                                                                                      SUPERIOR          WI    54880‐3361
JAMES J CHENE                                      230 W WILLIS RD                                                                                  SALINE            MI    48176‐9426
JAMES J CHERNESKI                                  PO BOX 134                                                                                       LINDEN            MI    48451‐0134
JAMES J CHRZ                                       601 LONGSHORE DRIVE                                                                              FLORENCE          AL    35634
JAMES J CLARKE II                                  185 RIVER ROAD                                                                                   DEERFIELD         IL    60015‐5042
JAMES J CLEARY                                     20 MATHER AVE                                                                                    BROOMALL          PA    19008
JAMES J CODY                                       309 KENWOOD CIRCLE                                                                               GADSDEN           AL    35904‐3608
JAMES J COLLINS CUST JAY KYLE COLLINS UTMA CA      2493 LOS FELIZ DRIVE                                                                             THOUSANDS OAKS    CA    91362‐3148

JAMES J CONNELL                                    75 GRASSLANDS CIRCLE                                                                             MOUNT SINAI       NY    11766‐1862
JAMES J CONNOLLY                                   86‐10 151 AVE 6G                                                                                 HOWARD BEACH      NY    11414‐1327
JAMES J CORPUS                                     5150 MAPLE                                                                                       MISSION           KS    66202‐1824
JAMES J COSTIGAN                                   1556 BURMONT RD                                                                                  HAVERTOWN         PA    19083‐4821
JAMES J CREAMER & SHIRLEY CREAMER JT TEN           8102 N PENNSYLVANIA ST                                                                           INDIANAPOLIS      IN    46240‐2535
JAMES J CRITCHLEY JR                               7 CARNES LANE                                                                                    PROVINCETOWN      MA    02657‐1340
JAMES J CRONIN                                     24 FLAVELLE PLACE                                                                                OSSINING          NY    10562‐3636
JAMES J CURLING                                    390 LEHIGH                                                                                       ROCHESTER         MI    48307‐3741
JAMES J CURMI                                      6643 HIGHLAND                                                                                    DEARBORN HGTS     MI    48127‐2273
JAMES J CURTIN                                     134 MATTEAWAN RD APT 313                                                                         BEACON            NY    12508
JAMES J CUSHENBERRY                                PO BOX 784                                                                                       CORNING           NY    14830‐4784
JAMES J DAILEY                                     52580 SOUTHDOWN                                                                                  SHELBY TWP        MI    48316‐3457
JAMES J DAILEY & BARBARA M DAILEY JT TEN           52580 SOUTHDOWN                                                                                  SHELBY TWP        MI    48316‐3457
JAMES J DANCHAK                                    22230 MEADOWNORTH CT                                                                             STRONGSVILLE      OH    44149‐2260
JAMES J DAVIS                                      14000 ALABAMA                                                                                    NEWALLA           OK    74857‐8172
JAMES J DE RENZO JR & IDA MARIE DE RENZO JT TEN    13401 PERIWINKLE AVE                                                                             SEMINOLE          FL    33776

JAMES J DEAN                                       1667 BURTON RD                                                                                   LITTLE ROCK       MS    39337‐9632
JAMES J DEMETRAKAKES                               2301 11TH AVE N                                                                                  NORTH RIVERSI     IL    60546‐1124
JAMES J DIFAZIO                                    1000 WOODLAND AVENUE                                                                             GLENDORA          NJ    08029‐1274
JAMES J DIXON & ELAINE V DIXON JT TEN              8381 CURRIE RD                                                                                   ATLANTA           MI    49709‐9117
JAMES J DOHERTY                                    7514 N OVERHILL AVE                                                                              CHICAGO           IL    60631‐4213
JAMES J DONOHUE                                    HC 66 BOX 76                                                                                     NEWELL            SD    57760‐9103
JAMES J DORE                                       146 DOGWOOD ACRES                                                                                HENRICO           NC    27842
JAMES J DORING JR                                  1516 DEE RD                                                                                      FORKED RIVER      NJ    08731‐3416
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Name                                              Address1                            Address2             Address3          Address4          City              State Zip

JAMES J DORKO                                     101 HILLTOP CIR                                                                              BURLESON          TX    76028‐2353
JAMES J DRISCOLL                                  1351 N S E BOUTELL                                                                           ESSEXVILLE        MI    48732
JAMES J EDDINGTON                                 15609 LITTLEFIELD LN                                                                         SPRING LAKE       MI    49456‐1129
JAMES J EDDY & SHARON L EDDY TR UA 01/25/93 JAMES 303 ROSEBUD CIR                                                                              FRANKLIN          TN    37064‐4772
J EDDY & SHARON L
JAMES J EDMOND                                    21295 MCCLUNG AVE                                                                            SOUTHFIELD        MI    48075‐3209
JAMES J EGERER                                    436 WILSON ST                                                                                HEMLOCK           MI    48626‐9318
JAMES J ELDERKIN & CHARLENE E ELDERKIN JT TEN     1005 AMBER RIDGE DR SW                                                                       BYRON CENTER      MI    49315‐9000

JAMES J ELDRED                                    4043 FAIRLANDS DR                                                                            PLEASANTON        CA    94588‐3455
JAMES J ERWIN                                     4939 FLORAMAR TER APT 810                                                                    NEW PORT RICHEY   FL    34652‐3313

JAMES J EULAU                                     11214 DEWEY RD                                                                               KENSINGTON        MD    20895‐1318
JAMES J EWERS                                     2 CATAWBA RIDGE COURT                                                                        LAKE WYLIE        SC    29710‐8916
JAMES J FALVELLO & ANTOINETTE M FALVELLO JT TEN   152 ENGLISH RUN CIRCLE                                                                       SPARKS            MD    21152‐8849

JAMES J FARRELL                                   6207 NORTH TRENHOLM RD                                                                       COLUMBIA          SC    29206‐1611
JAMES J FERGUSON                                  5351 SHORE DR                                                                                BELLAIRE          MI    49615‐9404
JAMES J FERGUSON & TERESA A FERGUSON JT TEN       5351 SHORE DRIVE                                                                             BELLAIRE          MI    49615‐9404
JAMES J FIELDING TR UW OF JAMES F FIELDING        2605 SOUTHWOOD DR                                                                            CHAMPAIGN         IL    61821
JAMES J FILIAGGI                                  960 LIVERMORE LANE                                                                           ELYRIA            OH    44035‐3014
JAMES J FILIPIAK                                  7413 S SHERIDAN AVE                                                                          DURAND            MI    48429‐9301
JAMES J FINNUCAN                                  2 HODIO DR                                                                                   ANSONIA           CT    06401‐2644
JAMES J FITZGERALD                                PO BOX 308                                                                                   BAY CITY          MI    48707‐0308
JAMES J FLEES                                     2028 N CANAL RD                                                                              EATON RAPIDS      MI    48827‐9340
JAMES J FLOOD                                     26 BROUCK FERRIS BLVD                                                                        NEW PALTZ         NY    12561‐4001
JAMES J FONCE                                     2631 STILL WAGON RDSE                                                                        WARREN            OH    44484‐3179
JAMES J FORD                                      PO BOX 238                                                                                   CENTER CONWAY     NH    03813‐0238
JAMES J FORD                                      5004 ALAN AVE                                                                                SAN JOSE          CA    95124‐5741
JAMES J FOX                                       5610 EAST STATE BOULEVARD                                                                    FORT WAYNE        IN    46815‐7477
JAMES J FRANCKA                                   6401 E CLINTON TRAIL                                                                         EATON RAPIDS      MI    48827‐9004
JAMES J GABRISH                                   21269 WASHBURN AVE                                                                           PORT CHARLOTTE    FL    33952‐1576
JAMES J GAITO                                     617 OLD TIOGA TURNPIKE                                                                       BENTON            PA    17814‐8461
JAMES J GARNER                                    2500 BAY DRIVE                      NO 3A                                                    POMPANO BEACH     FL    33062‐2927
JAMES J GASSY                                     PO BOX 154                                                                                   NATHALIE          VA    24577‐0154
JAMES J GAUDIELLO                                 7213 DARROW RD                                                                               HURON             OH    44839‐9317
JAMES J GENEROUS                                  38685 STACEY CT                                                                              LIVONIA           MI    48154‐1025
JAMES J GERHARD                                   6647 SIERRA TER                                                                              NEW PRT RCHY      FL    34652‐1524
JAMES J GIULIETTI                                 11 FALCON CREST                                                                              N HAVEN           CT    06473‐2181
JAMES J GLUSIC                                    5612 S 500 W                                                                                 ROSSVILLE         IN    46065‐9071
JAMES J GODINO                                    104 BREWSTER DR                                                                              GALLOWAY          NJ    08205‐6643
JAMES J GOGARTY                                   1016 38TH ST                                                                                 BROOKLYN          NY    11219‐1011
JAMES J GOUGH                                     33589 SUNRISE DR                                                                             FRASER            MI    48026‐5031
JAMES J GRACE & PATRICIA A GRACE JT TEN           8356 UXBRIDGE CT                                                                             SPRINGFIELD       VA    22151‐1722
JAMES J GRAYCAR                                   279 COITSVILLE ROAD                                                                          CAMPBELL          OH    44405‐1104
JAMES J GREEN                                     2486 COUNTYLINE RD                                                                           HALE              MI    48739‐9101
JAMES J GREEN                                     4418 HARDING                                                                                 DETROIT           MI    48214‐1537
JAMES J GRENDA & JAMES D GRENDA & JOAN M          595 WASHINGTON RD                                                                            GROSSE POINTE     MI    48230‐1662
FERGUSON JT TEN
JAMES J GRIFKA                                    1745 PINE KNOLL DR                                                                           CARO              MI    48723‐9532
JAMES J GROUT                                     327 MARKET STREET                                                                            LOCKPORT          NY    14094‐3022
JAMES J GROUT                                     9909 CHESTNUT RIDGE ROAD                                                                     MIDDLEPORT        NY    14105‐9681
JAMES J GROVER & MRS PATRICIA GROVER JT TEN       ATTN WILLIAM GROVER                 16215 E CARMEL DR                                        FOUNTAIN HILLS    AZ    85268‐2254
JAMES J GRUCCIO JR                                C/O GRUCCIO PEPPER DE SANTO &       RUTH PA              817 LANDIS AVE                      VINELAND          NJ    08360‐8002
JAMES J GUTOWSKI                                  10156 DUFFIELD                                                                               MONTROSE          MI    48457‐9182
JAMES J HAFFNER TR UA 04/04/1996 HAFFNER FAMILY   228 FALLBROOK AVENUE                                                                         NEWBURY PARK      CA    91320
TRUST
JAMES J HALL & BETTY H CLARK JT TEN               3233 DONLEY                                                                                  ROCHESTER HILLS   MI    48309‐4127
JAMES J HANSON                                    37889 SEAWAY CT                                                                              HARRISON TWP      MI    48045‐2760
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JAMES J HARRISON                                   403 HOWARD AVE                                                                               FRANKLIN SQUARE   NY    11010‐3342

JAMES J HATCH & COLEEN F HATCH JT TEN              2050 MAGIC WAY SP 160                                                                        HENDERSON         NV    89015‐8644
JAMES J HAYDEN                                     2520 NESTLEBROOK TRAIL                                                                       VIRGINIA BCH      VA    23456
JAMES J HEBERT CUST KALEB ALLEN HEBERT UGMA MI     1104 DOWER                                                                                   LANSING           MI    48912‐4430

JAMES J HEBERT CUST KENDRA RENEE HEBERT UGMA MI 1104 DOWNER ST                                                                                  LANSING           MI    48912‐4430

JAMES J HEBERT CUST KYLE SCOTT HEBERT UGMA MI      1104 DOWNER ST                                                                               LANSING           MI    48912‐4430

JAMES J HELMER                                  2600 COLD SPRING RD                                                                             INDIANAPOLIS      IN    46222‐2203
JAMES J HERIOT                                  PO BOX 686                                                                                      LEXINGTON         SC    29071‐0686
JAMES J HERSL JR                                110 LESLIE AVENUE                                                                               BALTIMORE         MD    21236‐4309
JAMES J HIGGINS & DOROTHY A HIGGINS JT TEN      47 EDGEWOOD AVE                                                                                 BUFFALO           NY    14220‐1708
JAMES J HILL                                    26841 NE AMES LAKE RD                                                                           REDMOND           WA    98053
JAMES J HILL JR & CLAUDINE H HILL JT TEN        4 SUNBURY LANE                                                                                  SAVANNAH          GA    31406‐5227
JAMES J HIONAS & PATRICIA Y HIONAS JT TEN       4076 SOUTH LEAVITT RD                                                                           WARREN            OH    44481‐9162
JAMES J HOLDER                                  1505 BARBARA DR                                                                                 FLINT             MI    48505‐2502
JAMES J HORAK                                   640 CURWOOD ROAD                                                                                OWOSSO            MI    48867‐2172
JAMES J HORCHA                                  5503 NEWBERRY RD                                                                                DURAND            MI    48429‐9131
JAMES J HOUBA                                   4137 LAKE MIRA DR                                                                               ORLANDO           FL    32817‐1651
JAMES J HOVORKA TR UA 07/21/92 JAMES J HOVORKA 1427 COURTYARD PL                                                                                CENTERVILLE       OH    45458‐3975
TRUST
JAMES J HUEMANN                                 505 SNOWBERRY CT                                                                                NOBLESVILLE       IN    46060‐8719
JAMES J HUMPHRIES & MRS RUTH B HUMPHRIES JT TEN 67 LEDGEWAYS                                                                                    WELLESLEY HILLS   MA    02481‐1410

JAMES J HUNT                                       7164 LUANA                                                                                   ALLEN PARK        MI    48101‐2409
JAMES J HURREN                                     8555 MARSHAL RD                                                                              BIRCH RUN         MI    48415‐8773
JAMES J INGLIS                                     1000 SOUTHERN ARTERY APT 3802                                                                QUINCY            MA    02169‐8514
JAMES J JACKSON                                    1000 N CHURCH STREET                LOT 15                                                   ELLISVILLE        MS    39437
JAMES J JACOB                                      2832 SPARKS WAY                                                                              HAYWARD           CA    94541‐3442
JAMES J JACOBS                                     16193 PREST                                                                                  DETROIT           MI    48235‐3845
JAMES J JANCZEWSKI                                 6080 STROEBEL                                                                                SAGINAW           MI    48609‐5206
JAMES J JANOVSKY & JEAN S JANOVSKY JT TEN          2834 S 35TH ST                                                                               OMAHA             NE    68105‐3538
JAMES J JANSON JR                                  31220 PURITIAN                                                                               LIVONIA           MI    48154‐3255
JAMES J JELENEK                                    1703 LAURELWOOD DRIVE                                                                        HOLT              MI    48842‐1925
JAMES J JENKINS & SANDRA B JENKINS JT TEN          7263 HAWTHORNE CIR                                                                           GOODRICH          MI    48438‐9239
JAMES J JODWAY                                     27540 POWERS ST                                                                              WESTLAND          MI    48186‐5149
JAMES J JOHNSON JR                                 3501 WOODHAVEN RD                   APT 628                                                  PHILADELPHIA      PA    19154‐2915
JAMES J JONES                                      3890 BLUFFVIEW PT                                                                            MARIETTA          GA    30062‐7105
JAMES J JONES JR                                   149 SHELTER ST                                                                               ROCHESTER         NY    14611‐3715
JAMES J JOSEY                                      101 FERNWAY DR                                                                               ATMORE            AL    36502‐3422
JAMES J JOYCE & GLORIA JOYCE JT TEN                6445 E ASHLER HILLS DRIVE                                                                    CAVE CREEK        AZ    85331‐5703
JAMES J JURNEY & JOAN JURNEY JT TEN                800 BENNETT RD                                                                               CARMEL            IN    46032‐5251
JAMES J KALLED TR UW JOSIAH W BROWN                PO BOX 130                                                                                   OSSIPEE           NH    03864‐0130
JAMES J KANE III CUST JENNIFER LYNN KANE UGMA CT   14449 AUGUSTA RD                                                                             ORLANDO           FL    32826

JAMES J KEENAN                                     14355 SOUTH OAKLEY AVENUE                                                                    ORLAN PARK        IL    60462‐1943
JAMES J KEHRIG & DIANE R KEHRIG JT TEN             30116 RAINTREE CIRCLE                                                                        NEW BALTIMORE     MI    48047‐5714
JAMES J KELLY                                      986 N 32ND ST                                                                                ALLENTOWN         PA    18104‐3438
JAMES J KELLY JR                                   227 DEPEW AVE                                                                                BUFFALO           NY    14214‐1621
JAMES J KENT                                       1259 SHARON DR                                                                               LAPEER            MI    48446‐3706
JAMES J KERESZTENYI                                132 MOHAWK DRIVE                                                                             CRANFORD          NJ    07016‐3314
JAMES J KERIN                                      34841 PHEASANT RIDGE                                                                         RICHMOND          MI    48062‐1835
JAMES J KERIN JR                                   2134 BEAUFAIT RD                                                                             GROSSE            MI    48236‐1643
                                                                                                                                                POINTEWOODS
JAMES J KILBANE                                    22830 DETROIT RD                                                                             ROCKY RIVER       OH    44116‐2029
JAMES J KILCOMMONS                                 328 JEFFRIES AVE                                                                             BEACH HAVEN       NJ    08008‐1315
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JAMES J KIRCHDORFER & MRS CAROLYN G                 435 KNIGHTSBRIDGE RD                                                                            LOUISVILLE         KY    40206‐1409
KIRCHDORFER JT TEN
JAMES J KLOIBER                                     402 WRENLEIGH DR                                                                                BALTIMORE          MD    21228‐4257
JAMES J KNIGHT & EMMA LOU KNIGHT JT TEN             5885 VIENNA WAY                                                                                 LANSING            MI    48917
JAMES J KOLARIK                                     E2944 HWY 88                                                                                    TISCH MILLS        WI    54240
JAMES J KOPICKO                                     6536 SHARON                                                                                     GARDEN CITY        MI    48135‐2024
JAMES J KOPP                                        1621 SW 64TH WAY                                                                                BOCA ROTAN         FL    33428‐6755
JAMES J KORAL                                       9 WINDING WAY                                                                                   LANCASTER          NY    14086‐9693
JAMES J KOSISKO                                     3400 WEST 91 ST                                                                                 CLEVELAND          OH    44102‐4836
JAMES J KOSISKO & SHIRLEY M KOSISKO JT TEN          3400 WEST 91 ST                                                                                 CLEVELAND          OH    44102‐4836
JAMES J KOSS                                        8510 LOUGHBOROUGH PLACE                                                                         CHEVY CHASE        MD    20815‐6814
JAMES J KOTLIN & ANTOINETTE G KOTLIN TR UA          4611 CUMNOR RD                                                                                  DOWNERS GROVE      IL    60515‐3132
02/18/93 THE KOTLIN TRUST
JAMES J KOWALSKI                                    918 S MACKINAW                                                                                  KAWKAWLIN          MI    48631‐9430
JAMES J KUCHARSKI                                   8642 CONTINENTAL AVE                                                                            WARREN             MI    48089‐1743
JAMES J KUPSKI                                      51076 SIOUX DR                                                                                  MACOMB             MI    48042‐6035
JAMES J LACERTE                                     90 WESTWOOD DR                                                                                  GROTON             CT    06340‐6041
JAMES J LAMBERT JR                                  59 HIGHWOOD AVE                                                                                 TENAFLY            NJ    07670‐1835
JAMES J LANG                                        2823 RIFLE RIDGE RD                                                                             OAKTON             VA    22124‐1204
JAMES J LAPOLLA JR CUST GENNA E LAPOLLA UTMA OH     8588 E MARKET ST                                                                                WARREN             OH    44484‐2339

JAMES J LARSON                                      4099 E BURT LAKE RD                                                                             CHEBOYGAN          MI    49721‐9625
JAMES J LAUB & ANGELA H LAUB JT TEN                 2628 N KATHWOOD                                                                                 CINCINNATI         OH    45236‐1022
JAMES J LAURIA                                      2834 BATCHELDER STREET                                                                          BROOKLYN           NY    11235‐2260
JAMES J LAWLOR JR & JANELLE B LAWLOR JT TEN         657 NE NEWPORT DR                                                                               LEES SUMMIT        MO    64064‐2044
JAMES J LEWANDOWSKI                                 5180 BRAINARD RD                                                                                SOLON              OH    44139‐1104
JAMES J LEWIS                                       6509 TALLADAY ROAD                                                                              MILAN              MI    48160‐8814
JAMES J LEYH                                        22127 LEWIS GEORGETOWN HIGHWAY                                                                  GEORGETOWN         DE    19947‐5524
JAMES J LICHTENTHAL & ARLENE R LICHTENTHAL JT TEN   1485 HUTH RD                                                                                    GRAND ISLAND       NY    14072‐1109

JAMES J LINARDOS                                    1881 WAVERLY                                                                                    TRENTON            MI    48183‐1890
JAMES J LINARDOS & VIOLET W LINARDOS JT TEN         1881 WAVERLY                                                                                    TRENTON            MI    48183‐1890
JAMES J LINDERER                                    705 EDGEWOOD LANE                                                                               FESTUS             MO    63028‐1519
JAMES J LOCAST                                      1720 S WILLARD AVE                                                                              JANESVILLE         WI    53546‐5731
JAMES J LOCHER                                      725 NORTH HAMPSHIRE AVENUE                                                                      MASON CITY         IA    50401‐2439
JAMES J LOMBARDI & BEVERLY A LOMBARDI JT TEN        21 PERRY LN                                                                                     OXFORD             CT    06478‐1214

JAMES J LORBIECKI                                   932 SOUTH 91ST STREET                                                                           WEST ALLIS         WI    53214‐2847
JAMES J LUTEREK                                     215 HILL                                                                                        NORTHVILLE         MI    48167‐1113
JAMES J LYNCH                                       43933 TRENT DR                                                                                  CLINTON TWP        MI    48038‐5305
JAMES J MACIAG                                      3053 PATTERSON                                                                                  BAY CITY           MI    48706‐1808
JAMES J MACKRELL CUST PAUL JOSEPH MACKRELL          911 COLUMBIA ST                                                                                 SCRANTON           PA    18509‐1713
UGMA PA
JAMES J MACUGA                                      4401 GARDENIA DR                                                                                STERLING HEIGHTS   MI    48314‐1202

JAMES J MAILLOUX                                    1272 N POINTER                                                                                  TERRE HAUTE        IN    47803‐9573
JAMES J MAIO CUST JAMES MAIO UGMA NY                16751 OPEN VIEW RD                                                                              RAMONA             CA    92065‐5910
JAMES J MAIORANA                                    6893 LOTHROP                                                                                    IMLAY CITY         MI    48444‐8972
JAMES J MAJERNIK                                    1149 WHISPERING KNOLL LANE                                                                      ROCHESTER          MI    48306‐4177
JAMES J MANLEY                                      4500 GLOUCESTER DR                                                                              NEW BERN           NC    28562‐7211
JAMES J MARCHKY & SHARON E MARCHKY JT TEN           10256 ARROWHEAD DR                                                                              PUNTA GORDA        FL    33955‐4705
JAMES J MARIMPIETRI                                 5162 BELLVALE AVE                                                                               SAN DIEGO          CA    92117‐4001
JAMES J MATACIA                                     3909 BUCKNER CT                                                                                 BEDFORD            TX    76021‐2408
JAMES J MATUSKY                                     9024 SOUTH OAKWOOD DRIVE                                                                        HICKORY HILLS      IL    60457‐1238
JAMES J MAUN                                        81 SEASIDE NORTH CT                                                                             KEY WEST           FL    33040‐5292
JAMES J MAYER & MARGARET H MAYER JT TEN             874 PINE VALLEY LN                                                                              CINCINNATI         OH    45245‐3323
JAMES J MAYOR                                       848 W HARBOR DR                                                                                 GILBERT            AZ    85233‐6711
JAMES J MAZZOLA III                                 5845 CELICO LN                                                                                  DRYDEN             MI    48428‐9302
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JAMES J MAZZOLA III & KIMBERLY D MAZZOLA III JT TEN 5845 CELICO LANE                                                                                DRYDEN            MI    48428‐9302

JAMES J MC CARTHY                                  25530 N RIVER RD                                                                                 HARRISON TWP      MI    48045‐1532
JAMES J MC CLELLAND                                5592 BRIGHTWOOD ROAD                                                                             BETHEL PARK       PA    15102‐3605
JAMES J MC GARRY                                   522 MISTY MORNING DR                                                                             FLUSHING          MI    48433‐2192
JAMES J MC GINNESS                                 844 TUCKER BRANCH RD                                                                             RISING FAWN       GA    30738
JAMES J MC GREW                                    1205 WOODRUFF RD                                                                                 JOLIET            IL    60432‐1321
JAMES J MC GUIRE                                   4 IROQUOIS TRAIL                                                                                 AIRMONT           NY    10952‐4923
JAMES J MC GUIRE & AILEEN P MC GUIRE JT TEN        4 IROQUOIS TRAIL                                                                                 MONSEY            NY    10952‐4923
JAMES J MC KERNAN & MAUREEN T MC KERNAN JT TEN     21221 SUNNYVIEW DR                                                                               MT CLEMENS        MI    48043

JAMES J MC RAE                                     2409 S 11TH AVE                                                                                  BROADVIEW       IL      60153‐4812
JAMES J MCCARTHY                                   2745 MERELUS DR                                                                                  WATERFORD       MI      48329‐2544
JAMES J MCCARVILL & ALICIA M MCCARVILL JT TEN      53 EDGEWOOD RD                                                                                   PORT WASHINGTON NY      11050‐1530

JAMES J MCDONOUGH                                  4500 OLD GEE RD                                                                                  HOPEWELL          VA    23860
JAMES J MCGRATH JR                                 C/O MARY ANN SABO                       11431 EAST SILVER LAKE                                   BYRON             MI    48418‐9101
JAMES J MCGUINNESS                                 7 GREAT POND RD                                                                                  S WEYMOUTH        MA    02190‐1315
JAMES J MCKERNAN                                   21221 SUNNYVIEW DRIVE                                                                            MT CLEMENS        MI    48043
JAMES J MCKERNAN                                   21221 SUNNYVIEW ST                                                                               CLINTON TWP       MI    48035‐5211
JAMES J MCLAUGHLIN III                             PO BOX 232                                                                                       LODI              NJ    07644‐0232
JAMES J MCMANAMY                                   136 BELL RD                                                                                      SCAASDALE         NY    10583‐5835
JAMES J MEHALLOW                                   16962 FREYMAN ROAD                                                                               CYGNET            OH    43413‐9625
JAMES J MEKIS & LORETTA MEKIS TEN ENT              139 HIGHLANDER COURT                                                                             GLENSHAW          PA    15116‐2557
JAMES J MEYER & JOAN E MEYER JT TEN                24 QUEENS LANE                                                                                   QUEENSBURY        NY    12804‐9027
JAMES J MICHALEK                                   5610 BEND CREEK RD                                                                               ATLANTA           GA    30338‐2708
JAMES J MICHALEK & MARION R MICHALEK JT TEN        5610 BEND CREEK RD                                                                               DUNWOODY          GA    30338‐2708

JAMES J MIELKE JR                                  26516 ROOSEVELT LN                                                                               NORWAY            WI    53185‐2110
JAMES J MILLER                                     619 DEXTER ST N                                                                                  IONIA             MI    48846‐1118
JAMES J MILLER                                     30 SADDLEBACK TRL                                                                                ROCHESTER         NY    14624‐3918
JAMES J MILLER                                     4533 HOPKINS GAP RD                                                                              HARRISONBURG      VA    22802
JAMES J MILLER & ARLENE K MILLER JT TEN            30 SADDLEBACK TRL                                                                                ROCHESTER         NY    14624‐3918
JAMES J MILLER JR                                  18310 14TH STREET CT E                                                                           SUMNER            WA    98390‐9439
JAMES J MILLIGAN                                   21702 CTY A                                                                                      RICHLAND CENTER   WI    53581

JAMES J MISJAK                                     11387 COPAS RD                                                                                   LENNON           MI     48449‐9652
JAMES J MOHR                                       2100 WINGATE DR                                                                                  DELAWARE         OH     43015‐9276
JAMES J MORAN                                      1740 SANDY LANE                                                                                  WEBSTER          NY     14580‐9752
JAMES J MORAN                                      PO BOX 175                                                                                       GATES MILLS      OH     44040
JAMES J MORETTI & JOANNE MORETTI JT TEN            48 LINDA LANE                                                                                    MEDIA            PA     19063‐5037
JAMES J MORGAN                                     4635 FLEMING STREET                                                                              DEARBORN HEIGHTS MI     48125‐3329

JAMES J MORIARTY                                   7420 REED RD                                                                                     ONSTED           MI     49265‐9595
JAMES J MOTTL                                      14143 CATHERINE DR                                                                               ORLAND PARK      IL     60462‐2046
JAMES J MOUHOT                                     42436 SHELDON                                                                                    CLINTON TOWNSHIP MI     48038‐5466

JAMES J MUEHL                                      207 WRIGHT AVE                                                                                   MATTYDALE       NY      13211‐1637
JAMES J MUELLER & AUDREY M MUELLER JT TEN          1441 MERION WAY 53G                                                                              SEAL BEACH      CA      90740‐4863
JAMES J MUIHLBAUER                                 290 PACIFIC ST                                                                                   MASSAPEQUA PARK NY      11762

JAMES J MULLIGAN                                   2524 N KIMBALL AVENUE                                                                            CHICAGO           IL    60647‐1204
JAMES J MURPHY                                     4931 MARSHALL RD                                                                                 DAYTON            OH    45429‐5724
JAMES J MUTH                                       2041 TIMBERVIEW                                                                                  GRAND RAPIDS      MI    49525‐1244
JAMES J NAGY                                       20622 ABBEY DR                                                                                   FRANKFORT         IL    60423‐3109
JAMES J NAGY JR & NANCY A NAGY JT TEN              6050 JAMESTOWN PARK                                                                              ORLANDO           FL    32819‐4436
JAMES J NEEDHAM                                    7410 WENTWORTH AVE                                                                               CLEVELAND         OH    44102‐5134
JAMES J NEIGEBAUER                                 7590 S KEARNEY RD                                                                                WHITMORE LAKE     MI    48189‐9478
JAMES J NEWMAN JR                                  15 BLACKBURN LANE                                                                                MANHASSET         NY    11030‐2129
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JAMES J NIEDECKEN                                   7620 LIONS GATE PKWY                                                                            DAVISON         MI    48423‐3709
JAMES J NOLAN                                       5224 STOCKTON DR                                                                                VIRGINIA BCH    VA    23464‐8431
JAMES J NOVAK                                       1302 ARBOR DR                                                                                   LEMONT          IL    60439‐7483
JAMES J NUNNERY                                     167 PINE ST                                                                                     CAMDEN          TN    38320‐1740
JAMES J NUSS CUST JON DAVID NUSS UGMA KY            3309 BROWNSBORO VISTA DR                                                                        LOUISVILLE      KY    40242‐2565
JAMES J ONEILL                                      4816 WYNWOOD DRIVE                                                                              TAMPA           FL    33615‐4945
JAMES J ORLEMAN                                     3254 NAPIER STREET                                                                              CANTON          MI    48187‐4620
JAMES J OROURKE & NANCY OROURKE JT TEN              503 SKYLINE LAKES DR                                                                            RINGWOOD        NJ    07456‐1926
JAMES J ORR                                         6715 MISTY DALE DR                                                                              KATY            TX    77449‐8438
JAMES J OSTERMAN                                    2542 RED OAK DRIVE                                                                              DYER            IN    46311‐2252
JAMES J OTIS & BETTY M OTIS JT TEN                  3150 MAPLE DR                                                                                   CELINA          OH    45822‐2781
JAMES J OZIMEK                                      1413 N STERLING AVE #204                                                                        PALATINE        IL    60067‐8434
JAMES J PALMIERI                                    324 HAYES AVE                                                                                   HAMILTON        OH    45015‐1749
JAMES J PANIK                                       14541 EUCLID                                                                                    ALLEN PARK      MI    48101‐2927
JAMES J PARKS & ARLIN J PARKS JT TEN                1319 N MUSKEGON BANKS                                                                           MARION          MI    49665
JAMES J PATERA TR JAMES J PATERA TRUST UA 6/25/99   429 FOREST AVE                         # 2W                                                     OAK PARK        IL    60302‐2089

JAMES J PELOSI                                      11 MC KINLEY AVENUE                                                                             COLONIA         NJ    07067‐2309
JAMES J PERRY                                       5902 BADAL DR                                                                                   LOWELLVILLE     OH    44436‐1180
JAMES J PEYCHAL                                     1607 S 56TH ST                                                                                  WEST ALLIS      WI    53214‐5256
JAMES J PIGGOTT                                     12355 W M‐21                                                                                    FOWLER          MI    48835‐8286
JAMES J PIRRUNG                                     636 FALLEN TIMBERS TR                                                                           FORT WAYNE      IN    46825‐2031
JAMES J POLLOCK TR JAMES J POLLOCK TRUST UA         8230 FORSYTH BLVD STE 202                                                                       ST LOUIS        MO    63105‐1692
11/29/95
JAMES J PORTH                                       5856 HENRY RUFF                                                                                 GARDEN CITY     MI    48135‐1964
JAMES J POTOCZAK & LORETTA POTOCZAK JT TEN          6386 GLASTONBURY STREET                                                                         WESTLAND        MI    48185‐2838
JAMES J POVICK                                      1200 POVICK LANE                                                                                UHRICHSVILLE    OH    44683‐1240
JAMES J POVICK & JUDITH K POVICK JT TEN             1200 POVICK LANE                                                                                UHRICHSVILLE    OH    44683‐1240
JAMES J PRENDERGAST & MAUREEN M PRENDERGAST         2440 GOLDEN BEAR WAY                                                                            WENTVILLE       MO    63385‐3485
JT TEN
JAMES J PRZESIEK                                    72 HARPER DR                                                                                    PITTSFORD       NY    14534‐3154
JAMES J RAFTERY                                     1157 TREESHADE DR                                                                               SAINT PETERS    MO    63376‐3890
JAMES J RANK                                        313 ABBOTSBURY DR                                                                               WESTERVILLE     OH    43082‐9121
JAMES J RAYSOR & ARLEEN R RAYSOR JT TEN             217 W LITTON AVE                                                                                COLTON          CA    92324‐3623
JAMES J REHE                                        19831 HUNTINGTON                                                                                HARPER WOODS    MI    48225‐1829
JAMES J REICHSTADT                                  1001 MASON AVE                                                                                  JOLIET          IL    60435‐5929
JAMES J REICHSTADT & DIANE C REICHSTADT JT TEN      1001 MASON AVE                                                                                  JOLIET          IL    60435‐5929

JAMES J REILLY & MATTHEW F REILLY JT TEN            56 VAN SYCKEL LN                                                                                WYCKOFF         NJ    07481‐3446
JAMES J RICKER                                      8492 STATE ROUTE 613                                                                            LEIPSIC         OH    45856‐9420
JAMES J RIGHETTI TR JAMES J RIGHETTI REV TRUST UA   2898 CARMELO DR                                                                                 HENDERSON       NV    89052‐4072
05/23/97
JAMES J ROBINSON                                    9833 LAKE AVE                                                                                   CLEVELAND       OH    44102‐1230
JAMES J RODDEN JR                                   15871 ED ROSE SHORES                                                                            KENT            NY    14477‐9602
JAMES J RODGERS                                     7406 STARVATION LK RD NE                                                                        MANCELONA       MI    49659‐9594
JAMES J ROSSIO TR JAMES J ROSSIO LIVING TRUST UA    12057 HUNTER RD                                                                                 BATH            MI    48808‐8470
07/07/04
JAMES J ROTH                                        13851 BROCKINGTON                                                                               WARREN          MI    48088‐5108
JAMES J ROUCKA & OLGA L ROUCKA JT TEN               40W 815 CHIPPEWA PASS                                                                           PLATO CENTER    IL    60124‐8299
JAMES J ROWLINSON TR ROWLINSON FAM TRUST UA         1138 LINKSIDE CT                                                                                APOPKA          FL    32712‐2139
01/30/97
JAMES J RUSSELL                                     1175 CORSICA AVE                       OSHAWA ON                              L1K 2J8 CANADA
JAMES J RUTT JR CUST JUSTIN M RUTT UGMA MI          7652 W SUMMERDALE CIRCLE                                                                        YPSILANTI       MI    48197‐6134
JAMES J RYAN                                        BOX 233                                                                                         BRASHER FALLS   NY    13613‐0233
JAMES J RYAN III                                    411 MEER AVE                                                                                    WYCKOFF         NJ    07481‐1804
JAMES J SADLER                                      57 LEATHAS CT                                                                                   MANCHESTER      TN    37355‐3782
JAMES J SALAMONE & BARBARA A SALAMONE JT TEN        60 SESAME ST                                                                                    TEWKSBURY       MA    01876‐2512

JAMES J SCHAFFER                                    1076 WESTERN WOODS DR                                                                           FLINT           MI    48532‐2048
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Name                                               Address1                              Address2             Address3          Address4          City               State Zip

JAMES J SCHARDT                                    1648 ALEX‐BELL ROAD                                                                            DAYTON             OH    45459
JAMES J SCHILLING CUST DEIDRE SCHILLING UGMA IN    9001 PATTERSON ST                                                                              SAINT JOHN         IN    46373‐9159

JAMES J SCHLACKS                                   1350 JAMIE LANE                                                                                HOMEWOOD           IL    60430‐4038
JAMES J SCHLACKS & MRS MARY PATRICIA SCHLACKS JT   1350 JAMIE LANE                                                                                HOMEWOOD           IL    60430‐4038
TEN
JAMES J SCHULTZ                                    805 SHADY LN                                                                                   TECUMSEH           MI    49286‐1738
JAMES J SCHULTZ & JUDITH A SCHULTZ JT TEN          805 SHADY LN                                                                                   TECUMSEH           MI    49286‐1738
JAMES J SEAMON                                     1023 OAK ST                                                                                    MEDINA             OH    44256‐2529
JAMES J SEARS                                      10371 DAR LANE                                                                                 GOODRICH           MI    48438‐9405
JAMES J SEDLAR                                     PO BOX 121                                                                                     BRISTOL            IL    60512‐0121
JAMES J SEIDL & SHARON L SEIDL JT TEN              27616 LIBERTY DR                                                                               WARREN             MI    48092‐3574
JAMES J SEKEL                                      2545 ALLIANCE RD                                                                               DEERFIELD          OH    44411‐8732
JAMES J SHELLEY                                    1321 OLD PACOLET RD                                                                            SPARTANBURG        SC    29307‐4833
JAMES J SIGNORELLO                                 4876 SMALLHOUSE                                                                                BOWLING GREEN      KY    42104‐7588
JAMES J SIMMON & JILL A SIMMON JT TEN              1269 ROSLYN                                                                                    GROSSE POINTE      MI    48236‐1385
                                                                                                                                                  WOOD
JAMES J SKRZYNIARZ                                 106 HIXSON RD                                                                                  FLEMINGTON         NJ    08822‐7066
JAMES J SLAGA                                      1785 BOWERS ST                                                                                 BIRMINGHAM         MI    48009‐6886
JAMES J SPRINGER JR                                3895 OLD POST RD                                                                               SALISBURY          MD    21804‐2544
JAMES J ST PETER & ELAINE M ST PETER JT TEN        3105 S MARTIN LUTHER KING JR          BLVD                                                     LANSING            MI    48910‐2939
JAMES J STAMEY                                     BOX 81                                                                                         BREVARD            NC    28712‐0081
JAMES J STANTON TR JAMES J STANTON TRUST UA        5662 CLEVES WARSAW PIKE                                                                        CINCINNATI         OH    45238
07/18/97
JAMES J STARK                                      42 ENGLEWOOD                                                                                   MT CLEMENS         MI    48043‐1621
JAMES J STEARLEY                                   2758 E ST RD 42                                                                                BRAZIL             IN    47834‐7681
JAMES J STELZER CUST KEVIN D STELZER UGMA MI       39765 EDGEMONT DR                                                                              STERLING HEIGHTS   MI    48310‐2326

JAMES J STEPHENSON                                 1704 MOULIN                                                                                    MADISON HGTS       MI    48071‐4837
JAMES J STEVENS & CAROL A STEVENS JT TEN           PO BOX 253                                                                                     STORMVILLE         NY    12582
JAMES J STEWART                                    18707 JEANETTE ST                                                                              SOUTHFIELD         MI    48075‐1728
JAMES J STILES                                     11311 PRYER ROAD                                                                               PORTLAND           MI    48875‐9415
JAMES J STPETER                                    3515 E ANTELOPE DR                                                                             SILVER SPRINGS     NV    89429‐7650
JAMES J SULLIVAN                                   722 GRASSMERE AVE                                                                              INTERLAKEN         NJ    07712‐4333
JAMES J SWEENEY                                    132 CHAPMAN ST #1                                                                              WATERTOWN          MA    02472‐1781
JAMES J SWISTAK                                    686 N COLONY RD                                                                                WALLINGFORD        CT    06492‐2408
JAMES J SZCZESNIAK                                 822 BRINTON DR                                                                                 TOLEDO             OH    43612‐2410
JAMES J TAKACS                                     17 RIDGEVIEW DR                                                                                DEPEW              NY    14043‐2427
JAMES J TALLMAN                                    C/O THEODORA J TALLMAN                2365 WHITTIER AVE                                        SCOTCH PLAINS      NJ    07076‐4535
JAMES J TALLON                                     40 CARMEN AVE                                                                                  FEEDING HILLS      MA    01030‐1402
JAMES J TALLON & DOROTHY M TALLON JT TEN           827 E TANGLEWOOD TR                                                                            PHOENIX            AZ    85085‐7798
JAMES J TAORMINA & ROBERTA TAORMINA JT TEN         9001 AUSTIN AVE                                                                                MORTON GROVE       IL    60053‐2407
JAMES J TAYLOR                                     4439 BONNYMEDE LANE                                                                            JACKSON            MI    49201‐8511
JAMES J TAYLOR                                     231 CHESAPEAKE AVE                                                                             PRNC FREDERCK      MD    20678‐4836
JAMES J TEDESCHI                                   29385 CHARDON RD                                                                               WILLOUGHBY HILLS   OH    44092‐1449

JAMES J THOMAS                                     5045 S 23 RD                                                                                   BOON               MI    49618‐9758
JAMES J THOMAS                                     1939 PEACH TREE LANE                                                                           RICHLAND           WA    99352‐7620
JAMES J THOMPSON                                   265 EAST 91 ST                        APT 1‐FL                                                 BROOKLYN           NY    11212‐1347
JAMES J TIERNAN                                    2 LODGE RD                                                                                     BELMONT            MA    02478‐4617
JAMES J TISDALE                                    1300 E LAFAYETTE ST                   APT 101                                                  DETROIT            MI    48207‐2918
JAMES J TOBIN                                      12621 DIAGONAL RD                                                                              LA GRANGE          OH    44050‐9520
JAMES J TOLONE                                     5959 W 55TH ST                                                                                 CHICAGO            IL    60638‐2721
JAMES J TSIKOURAS & MRS ANNA G TSIKOURAS JT TEN    1288 MICHIGAN AVE                                                                              WINTER PARK        FL    32789‐4822

JAMES J VACKETTA CUST DANIEL J VACKETTA UGMA MI 4265 ARCADIA DR                                                                                   AUBURN HILLS       MI    48326‐1894

JAMES J VACKETTA CUST THOMAS MICHAEL VACKETTA      4265 ARCADIA DR                                                                                AUBURN HILLS       MI    48326‐1894
AS UGMA MI
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JAMES J VANJURA                                  179 FAIRFOREST DR                                                                              RUTHERFORSTON      NC    28139‐3205
JAMES J VANN                                     5870 TEAL RD                                                                                   PETERSBURG         MI    49270‐9307
JAMES J VANOCHTEN                                10189 WEBER RD                                                                                 MUNGER             MI    48747
JAMES J VITALE‐JR                                484 KNOLLWOOD DR                                                                               BRIDGEWATER        NJ    08807‐2216
JAMES J VLASIC                                   290 CRANBROOK RD                                                                               BLOOMFIELD HILLS   MI    48304‐3406

JAMES J WALKER                                   15740 ASPEN DR                                                                                 ROMULUS            MI    48174
JAMES J WARMUTH                                  13215 PURITAS AVE                                                                              CLEVELAND          OH    44135‐2927
JAMES J WASHBURN                                 83 MOUNT AIRY ROAD                                                                             BASKING RIDGE      NJ    07920‐2014
JAMES J WEAVER & DORIS B WEAVER JT TEN           1794 ELM DRIVE                                                                                 VENICE             FL    34293‐2722
JAMES J WEBER                                    PO BOX 214                                                                                     BUFFALO            NY    14231
JAMES J WELSH                                    2743 SUPERIOR DR                                                                               LIVERMORE          CA    94550‐6631
JAMES J WESTFALL                                 224 CHERRYWOOD LANE                                                                            HOLLYLAKE RANCH    TX    75765‐7761

JAMES J WESTFALL & HELENE WESTFALL TEN COM       224 CHERRYWOOD LN (HLR)                                                                        HOLLYLAKE RANCH    TX    75765

JAMES J WESTON                                   2393 MIDDLECROFT DR                                                                            BURTON             MI    48509‐1371
JAMES J WHALEN                                   62 JOHNSON ST                                                                                  FORDS              NJ    08863‐2014
JAMES J WHIRT                                    PO BOX 348                                                                                     GOSHEN             KY    40026‐0348
JAMES J WICKLER & MARLEEN WICKLER JT TEN         1027 FIELDRIDGE CT                                                                             WAUKESHA           WI    53188‐5463
JAMES J WILLIAMS                                 3853 IRIS ST                                                                                   WATERFORD          MI    48329‐1171
JAMES J WILLIAMS JR                              1001 BERKSHIRE RD                                                                              GROSSE POINTE      MI    48230‐1310
JAMES J WILSON                                   1343 SHORELINE CIR                                                                             SEBASTIAN          FL    32958‐8813
JAMES J WIMS                                     2520 WOODROW WILSON BLVD              APT 5                                                    W BLOOMFIELD       MI    48324‐1721
JAMES J WITOS                                    30 LINCOLN AVE                                                                                 EDISON             NJ    08837‐3208
JAMES J WITTKOFSKI                               9819 BOSSA NOVA COURT                                                                          BAKERSFIELD        CA    93312‐5959
JAMES J WOJCIK                                   1403 N DEWITT ST                                                                               BAY CITY           MI    48706‐3542
JAMES J WOJCIK & CAROL L WOJCIK JT TEN           5994 W RIVER RD                                                                                WEIDMAN            MI    48893‐9641
JAMES J WOZNIAK                                  64 NASH ST                                                                                     WEST SENECA        NY    14206‐3320
JAMES J YATES                                    199 ATLANTIC AVE                                                                               HEMPSTEAD          NY    11550‐1137
JAMES J YESKA                                    12305 TITTABAWASSEE ROAD                                                                       FREELAND           MI    48623‐9226
JAMES J YESKA & LOUISE M YESKA JT TEN            12305 TITTABAWASSEE RD                                                                         FREELAND           MI    48623‐9226
JAMES J ZOLTEK & MARGARET A ZOLTEK JT TEN        4150 PINNACLAE DR                                                                              OMER               MI    48749‐9535
JAMES JACKMAN                                    45 CORTE YOLANDA                                                                               MORAGA             CA    94556‐1625
JAMES JACKSON JR                                 3422 CONCORD ST                                                                                FLINT              MI    48504‐2414
JAMES JACKSON STANDLEY                           2035 URBAN DR                                                                                  LAKEWOOD           CO    80215‐1132
JAMES JACOB RICKER                               22255 WOODLAWN AVE                                                                             BROOKSVILLE        FL    34601‐2702
JAMES JAY BALL                                   R R 5 BOX 37                                                                                   ROCKVILLE          IN    47872‐6511
JAMES JAY CARTER                                 11 LAURA LN‐RD #2                                                                              KATONAH            NY    10536‐3615
JAMES JAY LAW                                    APT 309                               3606 S PENINSULA DR                                      PORT ORANGE        FL    32127‐4669
JAMES JEMISON                                    19157 ST MARYS                                                                                 DETROIT            MI    48235‐2322
JAMES JENKINSON                                  113A‐1099 CLONSILLA AVE               PETERBOROUGH ON                        K9J 8L6 CANADA
JAMES JOHN POKUSA                                2501 CHESNUT LN                                                                                CINNAMINSON        NJ    08077‐3807
JAMES JOHN ROUCKA                                38W153 KRISTIN DR                                                                              ELGIN              IL    60124
JAMES JOHN TACETTA                               125 FURNACE WDS RD                                                                             CORTLANDT          NY    10567‐6425
                                                                                                                                                MANOR
JAMES JOHN VYSKOCIL CUST JAMES ANDREW VYSKOCIL   5920 SUNRIDGE CT                                                                               CLARKSTON          MI    48348‐4765
UTMA MI
JAMES JOHN VYSKOCIL CUST JENNIFER LAUREN         5920 SUNRIDGE CT                                                                               CLARKSTON          MI    48348‐4765
VYSKOCIL UGMA MI
JAMES JOHNSON                                    2144 BROKEN RAIL LN                                                                            ROCKLIN            CA    95765‐5349
JAMES JOHNSON                                    N5656 CTY A                                                                                    WESTFIELD          WI    53964
JAMES JOHNSON                                    1491 E 195TH STREET                                                                            EUCLID             OH    44117‐1317
JAMES JOHNSON                                    PO BOX 11036                                                                                   LANSING            MI    48901‐1036
JAMES JOHNSON & MAURA A JOHNSON JT TEN           1757 WINDING GLEN DR                                                                           ST CHARLES         MO    63303‐5098
JAMES JOHNSTON                                   609 SAY BROOK CIR                                                                              NASHVILLE          TN    37221
JAMES JONATHAN KLATCH                            1415 WOODLAND AVE                                                                              WEST LAFAYETTE     IN    47906‐2373
JAMES JONATHAN MILLER                            4533 HOPKINS GAP RD                                                                            HARRISONBURG       VA    22802
JAMES JONES                                      2698 PASADENA ST                                                                               DETROIT            MI    48238‐2716
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JAMES JOSEPH ALLEMON                             22507 E 8 MILE ROAD                                                                            ST CLAIRE SHORES   MI    48080‐2433
JAMES JOSEPH BAIE                                855 SHELL AVE                                                                                  MARTINEZ           CA    94553
JAMES JOSEPH BATES II                            400 N 10TH ST                                                                                  ALBIA              IA    52531‐1462
JAMES JOSEPH BROOKS                              PO BOX 54926                                                                                   LEXINGTON          KY    40555‐4926
JAMES JOSEPH DENI                                1060 WINTON RD N                                                                               ROCHESTER          NY    14609‐6834
JAMES JOSEPH FRAYNE                              7 MERLIN LANE                                                                                  SETAUKET           NY    11733‐1718
JAMES JOSEPH JAMES                               9845 W 200 S                                                                                   RUSSIAVILLE        IN    46979
JAMES JOSEPH LESNIAK                             5155 LANDERS DRIVE                                                                             HOFFMAN ESTATES    IL    60194

JAMES JOSEPH SECCO                               WEST MORRIS ROAD                                                                               BANTAM             CT    06750
JAMES K ADAMS                                    9738 WEST SILVER LAKE ROAD                                                                     MEARS              MI    49436‐9654
JAMES K ALFRED CUST ABBIE N ALFRED UTMA WV       RTE 5                                 BOX 190                                                  BRIDGEPORT         WV    26330
JAMES K ALFRED CUST EMMALEE E ALRED UTMA WV      RTE 5                                 BOX 190                                                  BRIDGEPORT         WV    26330

JAMES K ALLEN JR                                 PO BOX 282                                                                                     ARAB               AL    35016‐0282
JAMES K ATKINSON                                 8101 DAVISON RD                                                                                DAVISON            MI    48423‐2035
JAMES K BALDWIN & MARGIE B BALDWIN JT TEN        PO BOX 446                                                                                     GLENSIDE           PA    19038
JAMES K BARNES TR UA 05/10/1993 JAMES K BARNES   7461 BISCAYNE AVE                                                                              WHITE LAKE         MI    48383
REV LIVING TRUST
JAMES K BARRACKMAN                               229 CRANBERRY CT                                                                               WARREN             OH    44483‐1551
JAMES K BATSON                                   PO BOX 2315                                                                                    MC ALLEN           TX    78502‐2315
JAMES K BECK                                     11909 MARBLEHEAD DR                                                                            TAMPA              FL    33626‐2555
JAMES K BISHOP                                   201 W HOPPER ST                                                                                ALVARADO           TX    76009‐3223
JAMES K BRACKEN & STEPHANIE M BRACKEN JT TEN     6645 41ST STREET CIRCLE EAST                                                                   SARASOTA           FL    34243

JAMES K BRADY                                    310 MANSFIELD                                                                                  LAPEER             MI    48446‐7702
JAMES K BROWN                                    1258 EAST AVE RT 18                                                                            TALLMADGE          OH    44278‐2512
JAMES K BUEHNER                                  103 DALLAS ST                                                                                  FARMERSVILLE       OH    45325‐1114
JAMES K BURTON                                   13559 S WRIGHT RD                                                                              EAGLE              MI    48822‐9784
JAMES K BURYA                                    2484 PALMER DR                                                                                 WILLOUGHBY         OH    44094‐9128
JAMES K BUSH                                     1229 ROGERS COURT S W                                                                          OLYMPIA            WA    98502‐5810
JAMES K CALLHAM                                  7313 SUMMIT                                                                                    DARIEN             IL    60561‐3528
JAMES K CAMERON                                  340 WATSON ST W SUITE 112             WHITBY ON                              L1N 9G1 CANADA
JAMES K CAMERON                                  340 WATSON ST W SUITE 112             WHITBY ON                              L1N 9G1 CANADA
JAMES K CASSEDY JR & JANET S CASSEDY JT TEN      4568 BROADWELL CIR                                                                             FLOWERY BR         GA    30542
JAMES K CHOY                                     202 DUCLOS LN                                                                                  HIGHLAND PARK      NJ    08904‐3728
JAMES K CHUN                                     2114‐B S BERETANIA ST                                                                          HONOLULU           HI    96826‐1404
JAMES K COOPER & HUGUETTE J COOPER TEN COM       1163 MILLARD GAINEY RD                                                                         DEFUNIAK SPRINGS   FL    32435‐4498

JAMES K CRAIN III                                PO BOX 427                                                                                     CUERO              TX    77954
JAMES K CRAIN III                                130 NORTHWOOD DRIVE                                                                            CUERO              TX    77954
JAMES K DELAIR                                   4173 BETTY LEE BLVD                                                                            GLADWIN            MI    48264
JAMES K DYKE                                     5328 W MORRIS ST                                                                               INDIANAPOLIS       IN    46241‐3431
JAMES K EATON                                    3791 E 1700 N                                                                                  SUMMITVILLE        IN    46070‐9180
JAMES K ETHRIDGE                                 16720 CHANDLER PK DR                                                                           DETROIT            MI    48224‐2075
JAMES K EVANS                                    PO BOX 1354                                                                                    OCEAN SHORES       WA    98569‐1354
JAMES K FARRELL                                  2055 JAMES AVE                                                                                 OWOSSO             MI    48867‐3930
JAMES K FORDHAM                                  36 PEACOCK BROOK LN                                                                            AMHERST            NH    03031‐2873
JAMES K GAFFNEY                                  23 CALVIN COURT                                                                                TONAWANDA          NY    14150
JAMES K GALLAGHER                                1468 N RED MAPLE WAY                                                                           DOWNINGTOWN        PA    19335
JAMES K GALLAGHER                                18 PAGE TER                                                                                    PENNSVILLE         NJ    08070‐2350
JAMES K HASSON JR                                3185 CHATHAM RD NW                                                                             ATLANTA            GA    30305‐1101
JAMES K HAWKINS                                  485 LOCUST ST                                                                                  ATTELBORO          MA    02703‐6505
JAMES K HEDRICH                                  7213 W STANLEY                                                                                 FLUSHING           MI    48433‐9001
JAMES K HEMBREE                                  714 S PEARL ST                                                                                 SPICELAND          IN    47385
JAMES K HENRY                                    C/O KATHRYN R PUTNAM                  1424 ROSSDALE                                            WATERFORD          MI    48328‐4771
JAMES K HIATT                                    19208 CYPRESS VIEW DRIVE                                                                       FORT MYERS         FL    33912‐4825
JAMES K HOOVER                                   8064 JORDAN RD                                                                                 GRAND BLANC        MI    48439‐9726
JAMES K HUGHES                                   1732 WINCHESTER AVE                                                                            LINCOLN PARK       MI    48146‐3847
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JAMES K JAGER & BARBARA M JAGER JT TEN            8735 JUSTIN CT                                                                                  BYRON CENTER      MI    49315‐9255
JAMES K JESSE & JEANETTE M JESSE JT TEN           3611 LITTLE GLENDORA ROAD                                                                       BUCHANAN          MI    49107‐9141
JAMES K JUPE                                      7180 HERITAGE PKWY                                                                              WEST              TX    76691‐2316
JAMES K KACKER JR                                 1109 INDEPENDENCE DR                                                                            ALABASTER         AL    35007‐9367
JAMES K LAWRENCE                                  16451 EDGE OF EARTH RD                                                                          LEXINGTON         OK    73051‐6417
JAMES K LEONARD                                   555 EAST MANSION                                                                                MARSHALL          MI    49068‐1235
JAMES K LEQUAR                                    1219 GREENWOOD ST                                                                               EVANSTON          IL    60201‐4123
JAMES K LIDDLE CUST BLAKE J LIDDLE UTMA CA        4562 HAVENHURST CIR                                                                             IRVINE            CA    92604‐2334
JAMES K LINARD                                    1441 FRANCISCO RD                                                                               COLUMBUS          OH    43220‐2671
JAMES K MARVEL & ANNE K MARVEL JT TEN             24267 SHORTLY RD                                                                                GEORGETOWN        DE    19947
JAMES K MC CLUNG                                  RT 4 BOX 276                                                                                    MOUNT LOOKOUT     WV    26678

JAMES K MC DONALD                                 3625 LINCOLNSHIRE RD                                                                            WATERFORD         MI    48328‐3538
JAMES K MCDOLE                                    4024 LAKEWOOD CT                                                                                CLAYTON           IN    46118‐9369
JAMES K MEISEL                                    515 WHITEGATE LANE                                                                              WAYZATA           MN    55391‐1335
JAMES K MEISSNER & MRS KAREN A MEISSNER JT TEN    15309 92ND PLACE N E                                                                            BOTHELL           WA    98011‐4548

JAMES K MERRING                                   30 MORGAN CT                                                                                    BROCKPORT         NY    14420‐1129
JAMES K MILLAY                                    4913 TREASURE CAY RD                                                                            TAVARES           FL    32778‐4774
JAMES K MITCHELL                                  1168 CHALET DR                                                                                  CAROL STREAM      IL    60188‐3971
JAMES K MOORE                                     5440 SW 182ND                                                                                   ALOHA             OR    97007‐3862
JAMES K MORRIS                                    835 LANE ST                                                                                     SCOTTSBURG        IN    47170‐1423
JAMES K MORRIS                                    6987 E GREENSBURG RD                                                                            FRANKLIN          IN    46131‐8285
JAMES K MUMBOWER                                  1827 W FAIRLAWN                                                                                 ANDERSON          IN    46011‐2646
JAMES K MUMBOWER & LOLA J MUMBOWER JT TEN         1827 WEST FAIRLAWN                                                                              ANDERSON          IN    46011‐2646

JAMES K NEALON                                    7 ASPEN CT                                                                                      YELLOW SPGS       OH    45387‐1651
JAMES K NICHOLS                                   PO BOX 2404                                                                                     PIKEVILLE         KY    41502‐2404
JAMES K O'NEILL CUST JESSICA D ESTES UGMA AL      PO BOX 343                                                                                      GOODWATER         AL    35072‐0343
JAMES K ONEAL                                     4537 PAWNEE PASS                                                                                MADISON           WI    53711‐4711
JAMES K OSTLUND                                   2255 S 63RD STREET                                                                              WEST ALLIS        WI    53219‐2057
JAMES K PARRIS                                    531 SHERWOOD CIR                                                                                CHESTER           SC    29706‐2183
JAMES K PEDERSEN JR                               1115 CORAL SPRINGS DR                                                                           CICERO            IN    46034‐9216
JAMES K PENNELL JR & MRS IRENE A PENNELL JT TEN   SHERWOOD DR                                                                                     LENOX             MA    01240

JAMES K PERRY JR                                  493 COUNTY ROAD 247                                                                             WEDOWEE           AL    36278‐4065
JAMES K PHILLIPS                                  20489 PARTRIDGE PL                                                                              LEESBURG          VA    20175‐8820
JAMES K PIFER                                     1080 GAYLE CT                                                                                   ASHLAND           OH    44805‐2930
JAMES K POWE                                      1518 SCOTT AVE                                                                                  CHICAGO HEIGHTS   IL    60411‐3212

JAMES K RHEE                                      1215 PROVIDENCE RD                                                                              TOWSON            MD    21286‐1559
JAMES K RITTER & LORENE K RITTER JT TEN           195 OAK SHADOW DR                                                                               SANTA ROSA        CA    95409‐6253
JAMES K ROBERGE                                   111 LEXINGTON RD                                                                                LINCOLN           MA    01773‐2206
JAMES K ROBERTS JR                                7 VILONE RD                                                                                     WILMINGTON        DE    19805
JAMES K ROEDEL                                    4480 S SOMMERSET DR                                                                             NEW BERLIN        WI    53151‐6874
JAMES K ROGERSON                                  12802 CADDINGTON MEWS                                                                           MIDLOTHIAN        VA    23113
JAMES K ROGERSON & CAROL D ROGERSON JT TEN        1280 CADDINGTON MEWS                                                                            MIDLOTHIAN        VA    23113

JAMES K SANDERS                                   1055 FLEETWOOD DR                                                                               INDIANAPOLIS      IN    46228‐1931
JAMES K SCHULER                                   218 W MAKET ST                                                                                  SANDUSKY          OH    44870‐2515
JAMES K SHAW                                      12446 PEARL ST                                                                                  SOUTHGATE         MI    48195‐3524
JAMES K SIMON JR                                  6312 COTTONWOOD LN                                                                              APOLLO BEACH      FL    33572
JAMES K SMITHERMAN                                29408 WEDGEWOOD                                                                                 FLAT ROCK         MI    48134‐9664
JAMES K SPANN                                     7181 HAZELWOOD LN                                                                               ST LOUIS          MO    63130‐1809
JAMES K SPENCER                                   6928 HURD'S CORNER                                                                              MAYVILLE          MI    48744‐9505
JAMES K SPRUNG                                    340 THIRD ST                                                                                    PONTIAC           MI    48055
JAMES K STEVENSON                                 2002 TURTLE CV                                                                                  BRYANT            AR    72022‐9057
JAMES K STONE                                     1377 BANNISTER HOLLOW RD                                                                        CLIMAX SPRINGS    MO    65324‐2800
JAMES K TAYLOR                                    310 LANTIS DR                                                                                   CARLISLE          OH    45005‐3251
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Name                                             Address1                               Address2             Address3          Address4          City               State Zip

JAMES K TERHUNE                                  15083 FAIRFIELD ST                                                                              LIVONIA            MI    48154‐3079
JAMES K THOMAS                                   9000 SYCAMORE WOODS BLVD                                                                        DAYTON             OH    45426‐5800
JAMES K THOMAS                                   845 CORNELL                                                                                     YOUNGSTOWN         OH    44502‐2313
JAMES K THOMSON & KATHERINE H THOMSON JT TEN     12447 STAGFIELD ROAD                                                                            ASHLAND            VA    23005‐7144

JAMES K TOMES                                   1075 WESTWOODS RD                                                                                WRIGHT CITY        MO    63390‐3215
JAMES K TRUMBLE                                 1062 PEPPERBUSH CT                      OSHAWA ON                              L1K 2J4 CANADA
JAMES K TURNER JR                               11616 E 38TH TERR                                                                                INDEPENDENCE       MO    64052‐2504
JAMES K VRABLE                                  6225 CHESANING RD                                                                                CHESANING          MI    48616‐9464
JAMES K W ATHERTON & MRS PATRICIA H ATHERTON JT 125A FRIAR TUCK HILL                                                                             SHERWOOD FRST      MD    21405
TEN
JAMES K WARD                                    897 CO RD 431                                                                                    POPLAR BLUFF       MO    63901‐1813
JAMES K WARD                                    93 GARRARD ROAD                         WHITBY ON                              L1N 3K4 CANADA
JAMES K WHETSTONE                               809 HUMMINGBIRD DR                                                                               BROWNSBURG         IN    46112‐7457
JAMES K WHITT                                   7836 S STATE ROUTE 123                                                                           BLANCHESTER        OH    45107‐9330
JAMES K WOLOSOFF CUST MERIE LEE WOLOSOFF UGMA SUITE 505                                 120 WOOD AVENUE                                          ISELIN             NJ    08830‐2709
NJ
JAMES K WRIGHT & DEBRA A WRIGHT JT TEN          5517 SOUTH LAWN                                                                                  STERLING HEIGHTS   MI    48310‐6552

JAMES K YOUNG 3RD                                4353 LYNNVILLE CRESCENT                                                                         VIRGINIA BEACH     VA    23452‐1828
JAMES KALO & RUTH ANNA KALO JT TEN               1428 WASHINGTON AVE                                                                             PARKERSBURG        WV    26101‐3427
JAMES KALUS                                      1226 BARBARA LANE                                                                               CHICAGO HEIGHTS    IL    60411‐2412

JAMES KARES                                     521 CORNELL AVE                                                                                  ELYRIA             OH    44035‐6617
JAMES KELLY                                     16‐7 E BELMONT AVENUE                                                                            WANAQUE            NJ    07465‐1925
JAMES KELVIN SWEETEN                            674 SAFLEY HOLLOW RD                                                                             MC MINNVILLE       TN    37110
JAMES KEMNA                                     10635 N WALLACE AVE                                                                              KANSAS CITY        MO    64157‐1026
JAMES KENNEDY                                   15 COURT ST                                                                                      CHARLESTON         SC    29403‐4623
JAMES KENNEDY MARTIN JR                         823 CLOVER CT                                                                                    GLENVIEW           IL    60025‐4141
JAMES KENNETH CHESNUT                           9051 FOX HOLLOW                                                                                  GOODRICH           MI    48438‐9211
JAMES KENNETH WILDER                            113 MENDY COURT                                                                                  ENGLEWOOD          OH    45322‐1166
JAMES KENNETH WYTHE                             24 OVERBROOK PL                                                                                  TONAWANDA          NY    14150‐7505
JAMES KENT III                                  14 IVORY WAY                                                                                     HENRIETTA          NY    14467‐9555
JAMES KENT JR                                   936 EASTBROOKE LN                                                                                ROCHESTER          NY    14618‐5202
JAMES KERAMES & DORIS KERAMES JT TEN            30321 SHORELINE DR                                                                               MENIFEE            CA    92584‐8012
JAMES KERSHAW                                   185 ROCKINGHAM RD                                                                                DERRY              NH    03038‐4518
JAMES KEVIN PARRISH                             705 APPLEWOOD DRIVE                                                                              NEW CARLISLE       OH    45344‐1144
JAMES KEYS PERS REP EST ALFONCYA KEYS           18061 SUSSEX ST                                                                                  DETROIT            MI    48235‐2835
JAMES KILGALLEN                                 117 EAST CHELTON ROAD                                                                            PARKSIDE           PA    19015‐3313
JAMES KILGORE                                   407 MAIN ST                                                                                      FRANKLINTON        LA    70438‐1039
JAMES KILTS                                     4310 JAMESON ST                                                                                  SAGINAW            MI    48638‐4765
JAMES KIM & HELGA KIM JT TEN                    24802 NELLIE GAIL ROAD                                                                           LA GUNA HILLS      CA    92653‐5820
JAMES KIMBRO MAGUIRE                            7437 TIMBERROSE WAY                                                                              ROSEVILLE          CA    95747‐8305
JAMES KIRK                                      3264 N ARSENAL AVE                                                                               INDIANAPOLIS       IN    46218‐1925
JAMES KIRK KAHLA CUST JAMES GREGORY KAHLA UTMA 1142 E BANNOCK ST                                                                                 BOISE              ID    83712‐7916
ID
JAMES KIRK KAHLA CUST KATHERINE L KAHLA UTMA ID 1142 E BANNOCK ST                                                                                BOISE              ID    83712‐7916

JAMES KLOTZ                                      3 WENTWORTH LANE                                                                                DERRY              NH    03038‐3727
JAMES KOHOUT                                     29647 OHMER                                                                                     WARREN             MI    48092‐3374
JAMES KOLP TR JAMES KOLP REVOCABLE TRUST UA      208 KERBY RD                                                                                    GROSSE POINTE      MI    48236‐3127
12/28/98                                                                                                                                         PARK
JAMES KORNAS                                     427 YARMOUTH RD                                                                                 BLOOMFIELD HILLS   MI    48301‐2748

JAMES KORNAS JR                                  4710 ELMWOOD AVE                                                                                ROYAL OAK          MI    48073‐1549
JAMES KORNAS TR JAMES KORNAS TRUST UA 11/10/99   427 YARMOUTH RD                                                                                 BLOOMFIELD HILLS   MI    48301‐2748

JAMES KOSMALA                                    2323 WINTERBURY CT                                                                              DENVER             NC    28037‐7601
JAMES KOTORA III & KATHERINE L KOTORA JT TEN     8221 WINDING PASSAGE DR                                                                         COLORADO SPGS      CO    80924‐8114
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Name                                              Address1                             Address2             Address3          Address4          City               State Zip

JAMES KOUTOUDIS                                   19 LA SECLA PLACE                                                                             BERKELEY HEIGHTS   NJ    07922‐1233

JAMES KOUTOULAKOS                                 5504 RODRIQUEZ LN                                                                             HAYMARKET          VA    20169‐6208
JAMES KOWALSKI & ANDREA KOWALSKI JT TEN           35320 SCHOOLCRAFT                                                                             LIVONIA            MI    48150‐1275
JAMES KOZIOL & MARGARET KOZIOL JT TEN             3630 SYRACUSE AVE                                                                             SAN DIEGO          CA    92122‐3323
JAMES KRESL                                       4240 VIRGINIA VISTA                                                                           LONG BEACH         CA    90807‐3123
JAMES KREYDICH                                    10019 SOUTH 52ND AVENUE                                                                       OAK LAWN           IL    60453‐3949
JAMES KREYDICH & MRS MARGARET E KREYDICH JT TEN   10019 S 52ND AVE                                                                              OAK LAWN           IL    60453‐3949

JAMES KROGER                                      3000 BEL PRE RD 303                                                                           SILVER SPRING      MD    20906
JAMES KROL & SUSAN KROL JT TEN                    4287 BETHUY                                                                                   CASCO              MI    48064‐2302
JAMES KYLE CUST ROBERT JAMES KYLE UTMA IN         829 OPAL DR                                                                                   VALPARAISO         IN    46383‐8933
JAMES KYLE SPENCER                                BOX 97                                                                                        COLUMBUS           GA    31902‐0097
JAMES KYRATZES & HELEN KYRATZES                   1611 DORAL DR                                                                                 WEST PALM BEACH    FL    33413‐3316

JAMES L ADAMS & CHRISTINE J ADAMS JT TEN          1250 HIGHLAND GREENS DR                                                                       VENICE             FL    34292‐3665
JAMES L ADLER JR                                  3135 E MARSHALL AV                                                                            PHOENIX            AZ    85016‐3722
JAMES L ALBERTIA JR                               304 LONGWOOD CT                                                                               CLARKSVILLE        TN    37043‐4040
JAMES L ALBRIGHT II                               1040 E JOHN BEERS ROAD                                                                        ST JOSEPH          MI    49085‐9334
JAMES L ALDRIDGE                                  115 MAYWOOD DR                                                                                ROCHESTER          NY    14618‐4322
JAMES L ALLBRIGHT                                 7628 OLD SPANISH TRL                                                                          SAN ANTONIO        TX    78233‐2807
JAMES L ALLEN                                     1823 4TH STREET                                                                               BEDFORD            IN    47421‐2007
JAMES L ALSIP                                     9670 BULTER WARREN ROAD                                                                       CINCINNATI         OH    45241
JAMES L ANDERSON                                  869 E STATE ROAD 38                                                                           PENDLETON          IN    46064‐9329
JAMES L ANDERSON                                  4 1ST ST                                                                                      BONITA SPGS        FL    34134‐7317
JAMES L ANDERSON III                              17 MEMORIAL MEDICAL DR                                                                        GREENVILLE         SC    29605‐4407
JAMES L ANKERS & CARMIN J ANKERS JT TEN           82 E 650 N                                                                                    WEST LAFAYETTE     IN    47906‐9731
JAMES L ARATA II                                  PO BOX 3948                                                                                   MANSFIELD          OH    44907‐3948
JAMES L ARNOLD CUST JASON L ARNOLD UGMA NY        8295 EVERETT ROAD                                                                             HAMMONDSPORT       NY    14840‐9716

JAMES L ARTHUR                                    3344 TUNNELTON ROAD                                                                           BEDFORD            IN    47421‐8891
JAMES L AUSTIN                                    ATTN AUSTIN CONSTRUCTION             PO BOX 52838                                             TULSA              OK    74152‐0838
JAMES L AUSTIN                                    29013 PARKWOOD                                                                                INKSTER            MI    48141‐1609
JAMES L AUSTIN CUST JAMES MITCHELL AUSTIN UTMA    3709 S ATLANTA AVE                                                                            TULSA              OK    74105‐3524
OK
JAMES L BAGWELL                                   8468 WOODRIDGE DR                                                                             DAVISON            MI    48423‐8389
JAMES L BAILEY                                    1205 FERNDALE                                                                                 KINSTON            NC    28501‐1711
JAMES L BALAS                                     10304 AVE M                                                                                   CHICAGO            IL    60617‐5928
JAMES L BANCROFT                                  7500 N BOWER RD R1 BOX106                                                                     FOWLER             MI    48835‐9801
JAMES L BARCH                                     1591 LACLEDE RD                                                                               SOUTH EUCLID       OH    44121‐3011
JAMES L BARNES                                    806 GANT HILL RD                                                                              SCOTTSBORO         AL    35769‐4126
JAMES L BARR                                      POSTAL CENTER USA                    STE 143              614 NASHUA ST                       MILFORD            NH    03055
JAMES L BARRISH                                   21 ISLANDER DR                                                                                BRIGHTON           IL    62012‐1189
JAMES L BARTMESS                                  17390 DILLIE RD                                                                               GARDNER            KS    66030‐9425
JAMES L BATE                                      10711 OXBOW HEIGHTS DR                                                                        WHITE LAKE         MI    48386‐2265
JAMES L BEANBLOSSOM                               304 GRAYTON AVE                                                                               TONAWANDA          NY    14150‐8622
JAMES L BEARD                                     2466 SO DEACON                                                                                DETROIT            MI    48217‐1639
JAMES L BECKNER                                   4 ATHLONE DR                                                                                  CASEYVILLE         IL    62232‐2008
JAMES L BEHRENDT                                  7243 KNOXDALE RD                                                                              BROOKVILLE         PA    15825‐6715
JAMES L BENEDICT                                  2421 ASHLAND ST                                                                               CLIO               MI    48420‐1459
JAMES L BENNETT JR                                1120 BRANDON ROAD                                                                             VIRGINIA BEACH     VA    23454
JAMES L BERTENSHAW                                685 31ST STREET                                                                               RICHMOND           CA    94804‐1567
JAMES L BISCHOFF & DORIS E BISCHOFF JT TEN        10743 COUNTRYSIDE DR                                                                          GRAND LEDGE        MI    48837‐9146
JAMES L BLACKWELL                                 23423 NORTH 39TH LANE                                                                         GLENDALE           AZ    85310‐5521
JAMES L BLAIR                                     406 QUEEN ST                                                                                  FONDA              IA    50540‐1038
JAMES L BLECHSCHMIDT                              543 CENTER AVE                                                                                SYCAMORE           IL    60178‐1706
JAMES L BOETTCHER & JOYCE ANN BOETTCHER JT TEN    39345 ELMITE                                                                                  MT CLEMENS         MI    48045‐2046

JAMES L BOGER                                     2361 LINDA DRIVE NW                                                                           WARREN             OH    44485‐1706
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Name                                           Address1                             Address2                   Address3    Address4          City              State Zip

JAMES L BOLES                                    PO BOX 197                                                                                  GRAND BLANC       MI    48480‐0197
JAMES L BONDOWSKI                                927 OLD HWY 11 WEST                                                                         JANESVILLE        WI    53545
JAMES L BORKOWSKI                                3111 ARROW LN                                                                               PARMA             OH    44134‐5607
JAMES L BOSS                                     STATE ST                                                                                    DALTON            NY    14836
JAMES L BOWLER SR                                1416 SANTA ANNA                                                                             ST CHARLES        MO    63303‐5102
JAMES L BRACKETT & LEONA L BRACKETT JT TEN       PO BOX 260                                                                                  NEW HARBOR        ME    04554‐0260
JAMES L BRAUNSCHEIDEL & BEVERLY L BRAUNSCHEIDEL 160 SAFFORD DR                                                                               PINEHURST         NC    28374‐8221
JT TEN
JAMES L BREITBACH                                20260 CALICE CT UNIT 704                                                                    ESTERO            FL    33928‐7658
JAMES L BRIGGS                                   3550 W MT HOPE                                                                              GRAND LEDGE       MI    48837‐9442
JAMES L BROMLEY                                  1250 DIVE ROAD                                                                              BEDFORD           IN    47421‐1518
JAMES L BROWN                                    10913 EAST RAILROAD                                                                         CLAYTON           MI    49235
JAMES L BROWN                                    3540 HATFIELD DR                                                                            WATERFORD         MI    48329‐1733
JAMES L BROWN                                    PO BOX 2163                                                                                 HARRISON          AR    72602
JAMES L BROWN JR                                 4275 EASTPORT RD                                                                            BRIDGEPORT        MI    48722‐9607
JAMES L BRYAN III                                2200 ARCH ST                       UNIT 1015                                                PHILADELPHIA      PA    19103
JAMES L BUCHANAN                                 5056 PINEBURR DRIVE                                                                         SHELBY            NC    28152‐8222
JAMES L BUCHANAN                                 5604 S CO RD 300W                                                                           GREENCASTLE       IN    46135‐8606
JAMES L BUCHANAN II                              300 SOUTH MARYLAND PARKWAY                                                                  LAS VEGAS         NV    89101‐5321
JAMES L BUGGIA                                   9815 SONORA DRIVE                                                                           FREELAND          MI    48623‐8820
JAMES L BUGGIA & MARY BUGGIA JT TEN              9815 SONORA DR                                                                              FREEELAND         MI    48623‐8820
JAMES L BUGGIA & RONALD L BUGGIA TEN COM         9815 SONORA                                                                                 FREELAND          MI    48623‐8820
JAMES L BURKS                                    110 DANIELS LN                                                                              ROCKINGHAM        NC    28379‐9113
JAMES L BURNS 3061 W CANYON BROOK                                                                                                            TUCSON            AZ    85742‐8708
JAMES L BURT                                     25505 CONCOURSE                                                                             SOUTHFIELD        MI    48075‐1773
JAMES L BURTON                                   17151 MALADY RD                                                                             MOUNT ORAB        OH    45154‐9569
JAMES L BUSH                                     14175 EUREKA ROAD                                                                           COLUMBIANA        OH    44408‐9784
JAMES L BUSSELL                                  2820 MINOT AVE                                                                              CINCINNATI        OH    45209‐1649
JAMES L BYRD III                                 510 NORTH MAIN                                                                              CHARLESTON        MO    63834‐1031
JAMES L CALLAWAY                                 68 MARTIN RD                                                                                GRIFFIN           GA    30223‐5580
JAMES L CAMPBELL                                 2387 COUNTRY LN                                                                             YOUNGSTOWN        OH    44514‐1513
JAMES L CAMPBELL CUST KRISTIN E CAMPBELL UGMA MI 3517 AMARANTHUS CT                                                                          CHARLOTTE         NC    28269‐1318

JAMES L CANNON                                 3113 SPRING DR                                                                                ANDERSON          IN    46012‐9544
JAMES L CANNON JR                              1545 SUNSET DRIVE                                                                             CANTON            MS    39046‐4918
JAMES L CAPLINGER                              1327 KUHN RD                                                                                  BOILING SPRINGS   PA    17007‐9623
JAMES L CARLISLE                               1308 MARJORIE DRIVE                                                                           MATTHEWS          NC    28105‐3845
JAMES L CARLSON                                214 BENTLEY PLACE                                                                             EDGERTON          WI    53534‐1402
JAMES L CARPENTER                              PO BOX 152                           15478 GRAFTON EASTERN RD                                 GRAFTON           OH    44044‐0152
JAMES L CARTER                                 1564 SIMMONS RD                                                                               MASON             MI    48854‐9452
JAMES L CARTER                                 101 N BRANDT                                                                                  INDIANAPOLIS      IN    46214‐3945
JAMES L CASE                                   6372 1/2 MILE RD                                                                              EAST LEROY        MI    49051‐9704
JAMES L CHRISTOPHER                            10015 PLAINVIEW                                                                               DETROIT           MI    48228‐1396
JAMES L CHRISTY JR                             1195 OAKLAWN DR                                                                               PONTIAC           MI    48341‐3601
JAMES L CIESLAK                                8261 MONTRIDGE CT                                                                             N ROYALTON        OH    44133‐7217
JAMES L CLANIN                                 9205 N STATE RT 48                                                                            CENTERVILLE       OH    45458‐5131
JAMES L CLARK & JEAN H CLARK JT TEN            3500 FRANKLIN ST                                                                              CHESAPEAKE        VA    23324‐1628
JAMES L CLEVELAND                              18 PALMER DR                                                                                  SANDUSKY          OH    44870
JAMES L CLOUD                                  139 JUNIPER WAY                                                                               STEVENSVILLE      MT    59870‐6546
JAMES L COHOL                                  8765 DILLON DR S E                                                                            WARREN            OH    44484‐3105
JAMES L COLLENBERG                             9923 PHOENIX LN                                                                               GREAT FALLS       VA    22066‐1826
JAMES L COMAZZI                                19992 GIBBS DRIVE                                                                             SONORA            CA    95370‐9428
JAMES L CONKLIN                                PO BOX 273                                                                                    MERRILL           MI    48637‐0273
JAMES L CONWELL CUST LINDSAY D CONWELL UTMA CA 1027 F AVE                                                                                    CORONADO          CA    92118‐2815

JAMES L COONER & CATHERINE S CONNER JT TEN     611 LEWIS DR                                                                                  LAVONIA           GA    30553
JAMES L COPLEY                                 C/O JIM CARING                       37426 STATE ROUTE 344                                    LEETONIA          OH    44431‐9738
JAMES L CORBY & VIRGINIA A CORBY JT TEN        17 W VIEW DR                                                                                  WOODSTOCK         CT    06281‐2916
JAMES L CORLEW                                 722 COLLEGE ST                                                                                CLARKSVILLE       TN    37040‐3257
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JAMES L COX                                       7430 S ROCKWELL ST                     APT 409                                                  CHICAGO         IL    60629‐2180
JAMES L COYNE CUST DAVID J COYNE UTMA MA          135 FRUIT ST                                                                                    MANSFIELD       MA    02048‐2812
JAMES L CREECH                                    1202 KATHERINE DRIVE                                                                            BEAVERCREEK     OH    45434‐6326
JAMES L CROCKER                                   5740 SAM COURT                                                                                  VENUS           TX    76084‐4654
JAMES L CRONK                                     52703 WESTCREEK DR                                                                              MACOMB          MI    48042‐2971
JAMES L CROWDER                                   BOX 11336                                                                                       CHATTANOOGA     TN    37401‐2336
JAMES L CROY                                      5136 HAZEL ST                                                                                   DEARBORN HTS    MI    48125‐1224
JAMES L CULBERTSON TOD BARBARA C CUTCHIN          2735 COMPTON BRIDGE RD                                                                          CAMPOBELLO      SC    29322
SUBJECT TO STA TOD RULES
JAMES L CURSON & JOHN L CURSON JT TEN             3293 CLIFFORD RD                                                                                MAYVILLE        MI    48744
JAMES L DANIELSON & RUTH M DANIELSON JT TEN       4647 GABRIEL DR                                                                                 LAS VEGAS       NV    89121‐6909

JAMES L DANSBY                                    17337 STRATHMOORE                                                                               DETROIT         MI    48235‐3921
JAMES L DANZER & SYLVIA M DANZER JT TEN           2766 TETON DR                                                                                   SPRINGFIELD     MO    65810‐1287
JAMES L DAVID & MRS ELIZABETH F DAVID JT TEN      353 HWY 754                                                                                     CHURCH POINT    LA    70525‐7222
JAMES L DAVIES                                    17014 HIGHWAY 86                                                                                SAEGERTOWN      PA    16433‐6236
JAMES L DAVIS                                     PO BOX 653                                                                                      HOMOSASSO       FL    34447‐0653
                                                                                                                                                  SPRINGS
JAMES L DAVIS                                     6299 HEYER                                                                                      ROMULUS         MI    48174‐4063
JAMES L DAVIS                                     17410 LUCILLE CIR                                                                               NEW BOSTON      MI    48164‐9750
JAMES L DAVIS & MRS MARIAN H DAVIS JT TEN         104 NANTUCKET DRIVE                                                                             PITTSBURGH      PA    15238‐1910
JAMES L DAVIS JR                                  PO BOX 653                                                                                      HOMOSASSA       FL    34447‐0653
                                                                                                                                                  SPRINGS
JAMES L DAVIS TOD JAMES E DAVIS SUBJECT TO STA TOD 3211 TERRACE DR                                                                                KOKOMO          IN    46902‐3732
RULES
JAMES L DAVIS TOD PATRICIA A WHITE SUBJECT TO STA 3211 TERRACE DR                                                                                 KOKOMO          IN    46902‐3732
TOD RULES
JAMES L DAVISSON                                   20 CHEROKEE ACRES RD                                                                           CHEROKEE VILLAGE AR   72529‐5008

JAMES L DEAN                                      6791 FM 945 S                                                                                   CLEVELAND       TX    77327‐7790
JAMES L DEBOLT                                    4502 FOREST HILL RD                                                                             STOW            OH    44224‐1908
JAMES L DEE                                       6022 W TAYLOR RD                                                                                MUNCIE          IN    47304‐4766
JAMES L DELANOY TR JAMES L DELANOY UA 06/20/89    2254 NORWEGIAN DR #38                                                                           CLEARWATER      FL    33763‐2912

JAMES L DELAPHIANO                                6682 BOULTER DRIVE                                                                              SHELBYVILLE     MI    49344‐9613
JAMES L DEPALMA JR & MRS ROSE M DEPALMA JT TEN    1001 JEFFERSON AVE                                                                              RAHWAY          NJ    07065‐2619

JAMES L DEPEW                                     9103 RED CEDAR DR                                                                               WEST CHESTER    OH    45069
JAMES L DILL                                      17 CARRIAGE CIRCLE                                                                              WILLIAMSVILLE   NY    14221‐2101
JAMES L DISBROW                                   2135CAMP ST                                                                                     SANDUSKY        OH    44870‐4621
JAMES L DOHOGNE & MARY L DOHOGNE & DAVID J        1821 COUNTY HIGHWAY 242                                                                         CHAFFEE         MO    63740
DOHOGNE JT TEN
JAMES L DORMER                                    PO BOX 73                                                                                       BURNS           TN    37029‐0073
JAMES L DOROTIAK                                  5420 ROWLAND STREET                                                                             TOLEDO          OH    43613‐2783
JAMES L DOWD & ROSEMARY K DOWD JT TEN             3505 GRAHAM RD                                                                                  LOUISVILLE      KY    40207‐4322
JAMES L DUNN                                      PO BOX 947                                                                                      CHARLESTON      IL    61920
JAMES L DURHAM & SHIRLEY A DURHAM JT TEN          4019 HIGHLAND RIDGE RD                                                                          BIRMINGHAM      AL    35242
JAMES L DYER                                      PO BOX 116                                                                                      NEW LEBANON     OH    45345‐0116
JAMES L EAST                                      4032 TANGLEWOOD DR                                                                              FLOYDS KNOBS    IN    47119‐9222
JAMES L EDWARDS                                   297 ROSE BRIER DR                                                                               ROCHESTER HLS   MI    48309‐1124
JAMES L EGBERT                                    540 FORREST AVE                                                                                 HOHENWALD       TN    38462
JAMES L EICHNER & MRS MARIE S EICHNER JT TEN      2388 OAKVIEW DRIVE                                                                              ROCHESTER       NY    14617‐3236
JAMES L ELLIS                                     520 HUT WEST                                                                                    FLUSHING        MI    48433‐1319
JAMES L ELSER                                     16 LOWELL COURT                                                                                 OFALLON         MO    63368‐3579
JAMES L EMANN                                     319 E SUNSET DR                                                                                 MILTON          WI    53563
JAMES L ENTWISTLE III                             511 SHAEKLETON PT                                                                               BRIDGEPORT      NY    13030‐9772
JAMES L ERBSKORN                                  3620 BLUE RIVER DR                                                                              LANSING         MI    48911‐1933
JAMES L EVANS                                     RD 32                                  13512 WEST ST                                            YORKTOWN        IN    47396
JAMES L FAUST                                     3288 BARBER RD                                                                                  HASTINGS        MI    49058‐8413
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Name                                               Address1                            Address2             Address3          Address4          City            State Zip

JAMES L FERGUSON                                   408 PECAN DR                                                                                 AMERICUS        GA    31709‐4419
JAMES L FERGUSON                                   3702 STILESBORO RD NW                                                                        KENNESAW        GA    30152‐3151
JAMES L FIELDER                                    560 MARKET STREET                                                                            SPRINGBORO      OH    45066‐1152
JAMES L FILARSKI                                   5875 RIVARDS ROAD                                                                            MILLINGTON      MI    48746‐9485
JAMES L FINE                                       121 ORCHARD ROAD                                                                             WEST HARTFORD   CT    06117‐2914
JAMES L FISHEL CUST BRADLEY C FISHEL UGMA TN       2045 FRANSWORTH DR                                                                           NASHVILLE       TN    37205‐2701
JAMES L FISHER                                     554 BUTCHERS VALLEY RD                                                                       ROGERSVILLE     TN    37857‐5559
JAMES L FISHER                                     2035 OTTELLO AVE                                                                             DAYTON          OH    45414‐4511
JAMES L FLANNERY                                   2374 TANDY DR                                                                                FLINT           MI    48532‐4958
JAMES L FLEMING JR                                 1137 JOHN DALY                                                                               INSKTER         MI    48141‐1991
JAMES L FLINT                                      733 TARRYTOWN TRAIL                                                                          PORT ORANGE     FL    32127‐4916
JAMES L FLYE JR                                    1765 S 700 W                                                                                 ANDERSON        IN    46011‐9441
JAMES L FORTNEY                                    9033 ELM ST                                                                                  BRIGHTON        MI    48116‐6815
JAMES L FOX                                        13833 MC CRUMB RD                                                                            EAGLE           MI    48822‐9509
JAMES L FREITAG                                    7655 W PLEASANT VALLEY RD                                                                    PARMA           OH    44130‐6109
JAMES L FRY                                        PO BOX 748                                                                                   WADDELL         AZ    85355‐0748
JAMES L FULLER                                     1215 WATERSIDE LN                                                                            VENICE          FL    34285‐6447
JAMES L GANTT & MARILYN J GANTT JT TEN             3430 OAKMONT AVE                                                                             KETTERING       OH    45429‐3542
JAMES L GARBE                                      3965 NEVADA TR                                                                               JANESVILLE      WI    53546‐9402
JAMES L GARRISON                                   33971 WINSLOW                                                                                WAYNE           MI    48184‐2430
JAMES L GARRISON                                   716 3RD AVE                                                                                  PONTIAC         MI    48340‐2012
JAMES L GARVEY                                     362 SYLVAN DR                                                                                WINTER PARK     FL    32789‐4052
JAMES L GASAWAY                                    4515 36TH NE                                                                                 NORMAN          OK    73026‐7836
JAMES L GASSER                                     4335 AEGEAN DR                      UNIT 240A                                                TAMPA           FL    33611‐2428
JAMES L GATES                                      2524 E 127TH ST                                                                              CLEVELAND       OH    44120‐1023
JAMES L GEIB & EVELYN KAY GEIB JT TEN              6749 ADA DRIVE SE                                                                            ADA             MI    49301
JAMES L GEMMELL & MARY B GEMMELL TR GEMMELL        3 CAMEO CRT                                                                                  YORK            ME    03909
FAMILY TRUST UA 03/27/01
JAMES L GEORGE                                     7805 MACEDAY LK RD                                                                           WATERFORD       MI    48329‐1034
JAMES L GERACE                                     80 ROLLINGWOOD STREET                                                                        BUFFALO         NY    14221‐1834
JAMES L GIANGROSSO                                 715 E INDIANA AVE                                                                            COEUR D ALENE   ID    83814‐4230
JAMES L GIBSON                                     15 LAKOTA ACRE                                                                               TROY            MO    63379‐5431
JAMES L GILLIAM                                    6310 EAST WINDING WAY                                                                        SWANTON         OH    43558‐9584
JAMES L GLENN                                      12201 S SHORTCUT RD                                                                          MUNCIE          IN    47302‐8740
JAMES L GLOVACK                                    1030 RACE NE                                                                                 GRAND RAPIDS    MI    49503‐1931
JAMES L GOBLIRSCH & MRS GRACE C GOBLIRSCH JT TEN   7979 W GLENBROOK RD                 APT 5010                                                 MILWAUKEE       WI    53223‐1054

JAMES L GODSEY                                     4837 CLAYBURY AVE                                                                            BALTIMORE       MD    21206‐7026
JAMES L GOLLNICK                                   601 W 10TH AVE                                                                               WEBSTER         SD    57274‐1253
JAMES L GORAM                                      PO BOX 5406                                                                                  DETROIT         MI    48205‐0361
JAMES L GORBY                                      5277 FINDLAY RD                                                                              ST JOHNS        MI    48879‐9763
JAMES L GORDINEAR                                  7135 ALLEN RD                                                                                FENTON          MI    48430‐9346
JAMES L GRAY                                       6 SHEARWATER WAY                                                                             CENTEREACH      NY    11720‐4334
JAMES L GREEN                                      248 REDDEN DOCK RD                                                                           DAWSON          KY    42408‐6902
JAMES L GRIFFITH & ANNA M GRIFFITH JT TEN          1724 N HIGHLAND AVENUE                                                                       JACKSON         TN    38301‐3410
JAMES L GRILE                                      4441 MOZART AVE                                                                              HUBER HEIGHTS   OH    45424‐5967
JAMES L GRISWOLD                                   6103 STONEHURST                                                                              YORBA LINDA     CA    92886‐5906
JAMES L GUATNEY                                    1326 JANMAR ROAD                                                                             SNELLVILLE      GA    30078‐2103
JAMES L GWIZDALA                                   1351 NALET RD                                                                                MUNGER          MI    48747‐9744
JAMES L HAHN JR                                    2328 DISCOVERY DRIVE                                                                         ANDERSON        IN    46017‐9528
JAMES L HALEY                                      2301 VOLNEY RD                                                                               YOUNGSTOWN      OH    44511‐1438
JAMES L HALL                                       22164 WOODWILL                                                                               SOUTHFIELD      MI    48075‐5817
JAMES L HALL                                       3851 E ST R D#236                                                                            ANDERSON        IN    46017
JAMES L HALL                                       300 AVENUE A                                                                                 PITTSBURGH      PA    15221
JAMES L HALL                                       PO BOX 1794                                                                                  UMATILLA        FL    32784‐1794
JAMES L HALL                                       3851 E STATE ROAD #236                                                                       ANDERSON        IN    46017‐9788
JAMES L HALL & CAROLE J HALL JT TEN                2441 DARROW DR                                                                               ANN ARBOR       MI    48104‐5205
JAMES L HALL & ELINOR A HALL JT TEN                3851 E S R 236                                                                               ANDERSON        IN    46017
JAMES L HALL JR                                    22164 WOODWILL                                                                               SOUTHFIELD      MI    48075‐5817
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JAMES L HALL SR & CYNTHIA K HALL JT TEN             PO BOX 273                                                                                       BIG ISLAND      VA    24526‐0273
JAMES L HAMILTON                                    781 SABLECREEK LANE                                                                              GREENWOOD       IN    46142‐9778
JAMES L HAMLIN & JUDITH R HAMLIN JT TEN             36 MCGREGOR                                                                                      PUEBLO          CO    81001‐1919
JAMES L HAMMOCK                                     5644 NORTH NINE MILE ROAD                                                                        PINCONNING      MI    48650‐7956
JAMES L HAMMOND                                     637 CARMACK AVE                                                                                  CARTHAGE        TN    37030‐1140
JAMES L HANCOCK                                     354 WYE RD                                                                                       BALTO           MD    21221‐1546
JAMES L HARDEN                                      5329 DENLINGER RD                                                                                DAYTON          OH    45426‐1845
JAMES L HARDER                                      6532 KYRA CT                                                                                     NASHVILLE       IN    47448‐9683
JAMES L HARP                                        918 EVERGREEN ST                                                                                 BAREFOOT BAY    FL    32976‐7320
JAMES L HARROW                                      1806 EAST COURT ST                                                                               FLINT           MI    48503‐5344
JAMES L HARSHMAN                                    8385 BILLINGS RD                                                                                 KIRTLAND        OH    44094‐9568
JAMES L HARTMAN                                     8801 NALLE GRADE RD                                                                              N FORT MYERS    FL    33917‐4949
JAMES L HASKELL                                     6001 DECKER RD                                                                                   FRANKLIN        OH    45005‐2627
JAMES L HATCH                                       934 WINDSOR HARBOR RD                                                                            IMPERIAL        MO    63052‐2509
JAMES L HEBERT                                      2718 BRANCH RD                                                                                   FLINT           MI    48506‐2919
JAMES L HEDLUND                                     11801 ENDICOTT RD                                                                                ENDICOTT        WA    99125‐8709
JAMES L HELFRICH                                    10885 HARTEL RD                                                                                  GRAND LEDGE     MI    48837‐9489
JAMES L HEMBREE                                     253 MAXIE RD                                                                                     LAUREL          MS    39443‐2936
JAMES L HEMMES                                      7489 W MT MORRIS RD                                                                              FLUSHING        MI    48433‐8833
JAMES L HENRY                                       6388 SO COUNTY LINE RD                                                                           DURAND          MI    48429‐9410
JAMES L HENRY & LORETTA J HENRY JT TEN              11218 BARE DRIVE                                                                                 CLIO            MI    48420‐1575
JAMES L HENSLEY                                     928 LILLIAN ST                                                                                   COLLINSVILLE    IL    62234‐2046
JAMES L HENSLEY                                     2904 W 25TH ST                                                                                   ANDERSON        IN    46011‐4612
JAMES L HERNDON                                     1506 NORTHRIDGE DRIVE                                                                            CARROLLTON      TX    75006‐1428
JAMES L HERNDON & PATRICIA A HERNDON JT TEN         1506 NORTHRIDGE DR                                                                               CARROLLTON      TX    75006‐1428

JAMES L HERRON                                      3608 LLOYD RD                                                                                    CLEVELAND       OH    44111‐4680
JAMES L HESBURGH                                    493 E ILLINOIS RD                                                                                LAKE FOREST     IL    60045‐2364
JAMES L HETHERINGTON                                C/O AMY E MERBLER CONV                  3737 HILLSDALE ST                                        GARLAND         TX    75042‐5367
JAMES L HICKS                                       4652 WASHINGTON LN                                                                               DAVENPORT       IA    52806‐3637
JAMES L HILL & JUDITH A HILL TR HILL FAM TRUST UA   1496 NUT TREE LN                                                                                 SONOMA          CA    95476‐4877
07/13/94
JAMES L HILLER                                      6090 DOWNS ROAD                                                                                  CHAMPION        OH    44484
JAMES L HITZELBERGER                                3229 CENTENARY                                                                                   DALLAS          TX    75225‐4832
JAMES L HODEL & MARJORIE M HODEL TR UA 10/20/83     3669 ROSS RD                                                                                     PALO ALTO       CA    94303‐4450
JAMES L HODEL TRUST
JAMES L HODGES JR                                   R#1 BOX 21A SHOPIER RD                                                                           BELOIT          WI    53511‐9801
JAMES L HOFFMAN                                     6904 HOFFMAN CT                                                                                  NEW TRIPOLI     PA    18066‐3951
JAMES L HOLBROOK JR                                 3865 HURT BRIDGE ROAD                                                                            CUMMING         GA    30040‐9186
JAMES L HOLINBAUGH                                  7292 ELM STREET                                                                                  NEWTON FALLS    OH    44444‐9233
JAMES L HOLLAND JR & MILDRED HOLLAND JT TEN         6343 BUCKINGHAM AVE                                                                              ALLEN PARK      MI    48101‐2330

JAMES L HOOPER                                      9174 LITTLEFIELD                                                                                 DETROIT         MI    48228‐2548
JAMES L HOPKINS & DOROTHY M HOPKINS JT TEN          6117 COVENTRY DR                                                                                 SWARTZ CREEK    MI    48473‐8822
JAMES L HUFF                                        9361 STOEPEL                                                                                     DETROIT         MI    48204‐2807
JAMES L HULL                                        401‐D MAGNOLIA AVE                                                                               ROSCOMMON       MI    48653‐8744
JAMES L HUNTER                                      APT 103 C                               9222 GARRISON DRIVE                                      INDIANAPOLIS    IN    46240‐4244
JAMES L HYNES                                       7307 MORRISH RD                                                                                  SWARTZ CREEK    MI    48473‐7624
JAMES L IMMKE                                       2561 NE 20TH ST                                                                                  POMPANO BEACH   FL    33062
JAMES L INUKAI & JUDY E INUKAI JT TEN               11077 FAWN HAVEN                                                                                 ST LOUIS        MO    63126‐3503
JAMES L IRVIN                                       6090 HWY 52                                                                                      GILLSVILLE      GA    30543‐2123
JAMES L JAMISON                                     10780 S WAYNE RD                                                                                 WARREN          IN    46792‐9635
JAMES L JENKINS JR                                  20169 COUNTY ROAD 445                                                                            LINDALE         TX    75771‐3500
JAMES L JENSEN                                      1103 BEATRICE                                                                                    FLUSHING        MI    48433‐1720
JAMES L JETT                                        R ROUTE #1                              1504 CLOUGH PIKE                                         BATAVIA         OH    45103‐9733
JAMES L JOHNSON                                     7256 S FRANCIS RD                                                                                SAINT JOHNS     MI    48879‐9249
JAMES L JOHNSON                                     1604 LINDEN LN                                                                                   LUMBERTON       NC    28358‐2361
JAMES L JOHNSON                                     9115 SUNSET RIDGE RD                                                                             RANDALLSTOWN    MD    21133‐3619
JAMES L JOHNSON                                     126 FAIRVIEW DR                                                                                  CARLISLE        OH    45005‐3054
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Name                                            Address1                               Address2             Address3          Address4          City              State Zip

JAMES L JOHNSON                                 13338 CANDIDA STREET                                                                            SAN ANTONIO       TX    78232‐4806
JAMES L JOHNSON                                 16931 MUSKRAT RD                                                                                THREE RIVERS      MI    49093‐9069
JAMES L JOHNSON                                 332 SOUTH LINDLEY AVE                                                                           INDIANAPOLIS      IN    46241‐0544
JAMES L JOHNSON & PEGGY A JOHNSON JT TEN        332 S LINDLEY AVE                                                                               INDIANAPOLIS      IN    46241‐0544
JAMES L JOHNSON SR                              914 GALE LN                                                                                     NASHVILLE         TN    37204‐3014
JAMES L JOLLEY                                  10030 W 950 S                                                                                   LOSANTVILLE       IN    47354‐9354
JAMES L JONES                                   646 NOGALES TRAIL                                                                               MIAMISBURG        OH    45342‐2208
JAMES L JONES                                   PO BOX 258                                                                                      CASSTOWN          OH    45312‐0258
JAMES L JONES                                   5776 FAIRLEE ROAD                                                                               ANDERSON          IN    46013‐9742
JAMES L JONES                                   PO BOX 888                                                                                      APACHE JCT        AZ    85217‐0888
JAMES L JORDAN JR                               346 WILTSHIRE BLVD                                                                              DAYTON            OH    45419‐2636
JAMES L JORGENSEN                               6245 MAPLE ROAD                                                                                 FRANKENMUTH       MI    48734‐9587
JAMES L JORGENSEN                               3139 BUTTERMILK LOOP                                                                            TRAVERSE CITY     MI    49686‐5443
JAMES L JUHL & MARIAN H JUHL JT TEN             214 MIDDLESEX AV                                                                                PRINCETON         WV    24740‐2416
JAMES L JURGENS                                 958 LIGORIO AVE                                                                                 CINCINNATI        OH    45218‐1523
JAMES L KALSO                                   117 E RUTGERS                                                                                   PONTIAC           MI    48340‐2753
JAMES L KALSO & GERALDINE E KALSO JT TEN        117 E RUTGERS                                                                                   PONTIAC           MI    48340‐2753
JAMES L KAY                                     36725 CATALDO ST                                                                                CLINTON TWP       MI    48035‐1914
JAMES L KEENER                                  38692 ADKINS ROAD                                                                               WILLOUGHBY        OH    44094‐7513
JAMES L KEENUM                                  5032 ABBEY LANE                                                                                 LILBURN           GA    30047‐5402
JAMES L KEILEY                                  4291 BROOKVIEW DR                                                                               ATLANTA           GA    30339‐4606
JAMES L KELLENBARGER                            PO BOX 568                                                                                      LEWISBURG         OH    45338‐0568
JAMES L KETNER CUST JASON ROBERT KETNER UGMA MI 7387 PARKWOOD DRIVE                                                                             FENTON            MI    48430‐9318

JAMES L KIDD & MONA RAE KIDD JT TEN             11180 66TH TERR N                                                                               SEMINOLE         FL     33772‐6240
JAMES L KILGALLON                               843 WEST MAIN ST                                                                                PLYMOUTH         PA     18651‐2712
JAMES L KILGORE                                 73 NAVAJO DRIVE                                                                                 GIRARD           OH     44420‐3621
JAMES L KILGORE & DIANA J KILGORE JT TEN        280 QUANE AVE                                                                                   SPRING HILL      FL     34609‐0207
JAMES L KINSEY                                  333 PARK AVE N W                                                                                NEW PHILADELPHIA OH     44663‐1736

JAMES L KOKAI                                   915 HAMPTON DR                                                                                  ELYRIA            OH    44035‐0919
JAMES L KOVAR                                   2579 PHALANX MILLS HERNER RD                                                                    SOUTHINGTON       OH    44470‐9515
JAMES L KRUEGER                                 RR 1 BOX 102 HWY 11                                                                             BRODHEAD          WI    53520‐9801
JAMES L KUNDINGER                               13300 SWAN CREEK RD                                                                             HEMLOCK           MI    48626‐9715
JAMES L KURTEN                                  11 HINKLEYVILLE RD                                                                              SPENCERPORT       NY    14559‐1003
JAMES L LAMACK & JOAN E LAMACK JT TEN           8386 SNOW CAP VW                                                                                COLORADO SPGS     CO    80920‐7159
JAMES L LANE                                    C/O LOIS M LANE                        1170 LYNCH RD                                            EATON             OH    45320‐9299
JAMES L LANG                                    2504 WOOD RD                                                                                    MOSINEE           WI    54455‐9636
JAMES L LAROCCA                                 6704 OAKWOOD DR                                                                                 INDEPENDENCE      OH    44131‐4606
JAMES L LARSEN & ROXANA L LARSEN JT TEN         141 MOUNTAIN VALLEY                                                                             OAKLAND           CA    94605‐4615
JAMES L LAUGEN                                  18827 BEARDSLEE BLVD                                                                            BOTHELL           WA    98011‐1718
JAMES L LAWSON                                  1151 BROOKSIDE CT                                                                               AVON              IN    46123‐7428
JAMES L LECHOTA                                 3430 DUFFIELD RD                                                                                LENNON            MI    48449‐9418
JAMES L LEECH                                   1701 ALBERMARLE ROAD APT D14                                                                    BROOKLYN          NY    11226‐4607
JAMES L LEVAND & TAMARA LEVAND JT TEN           123 E EATON AVE                                                                                 TRACY             CA    95376‐3123
JAMES L LINDEN & CATHY A LINDEN JT TEN          673 CAMPUS                                                                                      ROCHESTER HILLS   MI    48309‐2164
JAMES L LOCKE                                   5113 S STATE                                                                                    INDIANAPOLIS      IN    46227‐4264
JAMES L LORDS & KATHERINE R LORDS JT TEN        4190 SOVEREIGN WAY                                                                              SALT LAKE CITY    UT    84124‐3136
JAMES L LUNYOU                                  PO BOX 1                                                                                        ELLINGTON         MO    63638‐0001
JAMES L LYONS                                   805 SINGLEY DR                                                                                  LAWRENCEVILLE     GA    30044‐5974
JAMES L MAHONE                                  1144 FOUR TOPS DR                                                                               DETROIT           MI    48201‐1504
JAMES L MAINE                                   2228 SE 38TH TRAIL                                                                              OKEECHOBEE        FL    34974‐7063
JAMES L MALLORY                                 2694 WEST F AVENUE                                                                              KALAMAZOO         MI    49009
JAMES L MALONE                                  514 EAST AMHERST STREET                                                                         BUFFALO           NY    14215‐1538
JAMES L MANGANARO & MRS PATRICIA MANGANARO      44 DODDS LANE                                                                                   PRINCETON         NJ    08540‐4104
JT TEN
JAMES L MARKEY                                  36221 W LYMAN RD                                                                                FARMINGTON HILLS MI     48331‐3820

JAMES L MARKS                                   7000 S HIBISCUS                                                                                 MUNCIE            IN    47302‐8525
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Name                                           Address1                             Address2             Address3          Address4          City              State Zip

JAMES L MARTIN                                  PO BOX 385                                                                                   STEELVILLE        MO    65565‐0385
JAMES L MARTIN                                  228 SHEPARD ST                                                                               NEW CARLISLE      OH    45344‐2916
JAMES L MARTIN                                  16700 WESTMORELAND RD                                                                        DETROIT           MI    48219‐4040
JAMES L MARVEL & ANNE K MARVEL JT TEN           24267 SHORTLY RD                                                                             GEORGETOWN        DE    19947
JAMES L MATZAS                                  8734 E SAN DANIEL DR                                                                         SCOTTSDALE        AZ    85258
JAMES L MAURER                                  304 GREEN AVE                                                                                BAY CITY          MI    48708‐6887
JAMES L MC CRYSTAL JR                           1660 W 2ND ST SUITE 900                                                                      CLEVELAND         OH    44113‐1461
JAMES L MC DONNELL                              4206 STRATFORD ROAD                                                                          YOUNGSTOWN        OH    44512‐1421
JAMES L MC DONOUGH                              7197 N GENESEE RD                                                                            GENESEE           MI    48437
JAMES L MC HARD                                 28860 RICHLAND                                                                               LIVIONIA          MI    48150‐3155
JAMES L MCCAUSEY                                6018 ESSEX CENTER ROAD                                                                       ST JOHNS          MI    48879‐9735
JAMES L MCCRYSTAL                               31402 MANCHESTER LANE                                                                        BAY VILLAGE       OH    44140‐1045
JAMES L MCCRYSTAL CUST PATRICK J MCCRYSTAL UTMA 31402 MANCHESTER LANE                                                                        BAY VILLAGE       OH    44140‐1045
OH
JAMES L MCDONALD                                3416 BROWN ROAD                                                                              ST JOHN           MO    63114‐4330
JAMES L MCFETRICH                               5130 PARKMAN N W                                                                             WARREN            OH    44481‐9147
JAMES L MCGILL JR                               2382 BROOKS RD                                                                               DACULA            GA    30019‐2536
JAMES L MCGOWAN                                 10267 HALLSFERRY RD                                                                          ST LOUIS          MO    63136‐4315
JAMES L MCGRATH                                 9 FLINTLOCK CT                                                                               HAZLETT           NJ    07730‐2409
JAMES L MCILWAIN                                1431 W TARA DR                                                                               GILBERT           AZ    85233‐7853
JAMES L MCKEEVER                                7093 SHAKER RD                                                                               FRANKLIN          OH    45005‐2544
JAMES L MCMONAGLE                               1766 KOKOMO                                                                                  HUBBARD           OH    44425‐2840
JAMES L MCNAIR                                  207 ALICE                                                                                    SAGINAW           MI    48602‐2704
JAMES L MEADOR                                  1082 IMPRINT                                                                                 CINCINNATI        OH    45240‐2304
JAMES L MEISSNER                                4164 KINGS ROW NW                                                                            GRAND RAPIDS      MI    49544‐3471
JAMES L MERRILL                                 433 LONGFIELD ST                                                                             EVANSVILLE        WI    53536‐1238
JAMES L MEYER                                   2639 SWINGING WAY CT                                                                         EVANSVILLE        IN    47711‐6764
JAMES L MEYERS                                  435 TRENCH RD                                                                                BRIDGETON         NJ    08302‐5868
JAMES L MILLER                                  242 E RAHN ROAD                                                                              KETTERING         OH    45429‐5424
JAMES L MILLER & BETTY C MILLER TR MILLER FAM   65 WYNDHAM KNOB                                                                              PARKERSBURG       WV    26104‐9432
TRUST UA 08/07/98
JAMES L MILLER & DEBRA MILLER JT TEN            7801 JUDY DR                                                                                 PARMA             OH    44134‐6567
JAMES L MILLER JR                               11527 WILLIAMS                                                                               TAYLOR            MI    48180‐4282
JAMES L MILNER                                  7349 PLUM WOOD                                                                               FORT WORTH        TX    76180‐2819
JAMES L MINNEAR                                 1603 W PARKVIEW DR                                                                           MARION            IN    46952‐1428
JAMES L MIZE                                    1234 SWEETWATER CIR                                                                          LAWRENCEVILLE     GA    30044‐3144
JAMES L MIZE & PAMELA A MIZE JT TEN             1234 SWEETWATER CIRCLE                                                                       LAWRENCEVILLE     GA    30044‐3144
JAMES L MIZE & SARAH T MIZE JT TEN              1234 SWEETWATER CIRCLE                                                                       LAWRENCEVILLE     GA    30044‐3144
JAMES L MOLNAR                                  PO BOX 82                                                                                    SOUTHFIELD        MI    48037‐0082
JAMES L MONAGHAN & MARIANNE P MONAGHAN JT       2408 LANCASTER DR                                                                            SUN CITY CENTER   FL    33573‐6519
TEN
JAMES L MONROE & BARBARA H MONROE JT TEN        17300 GRESHAM ST                                                                             NORTHRIDGE        CA    91325‐3231
JAMES L MOON                                    PO BOX 275                                                                                   PENN YAN          NY    14527‐0275
JAMES L MORLEY II                               7289 TIMBER CREEK ROAD                                                                       FT CALHOUN        NE    68023‐5322
JAMES L MOSLEY                                  1100 GILCREST CT                                                                             PARKVILLE         MD    21234‐5924
JAMES L MOTLEY                                  1300 SANFORD DR                                                                              DAYTON            OH    45432‐1535
JAMES L MOYER                                   4110 SEAWAY DR                                                                               LANSING           MI    48911‐2553
JAMES L MUELLER                                 6600 ALLEN ROAD                                                                              FENTON            MI    48430‐9220
JAMES L MULAC                                   14685 WESTWOOD DR                                                                            NOVELTY           OH    44072‐9629
JAMES L MULLINS                                 13744 MINX                                                                                   IDA               MI    48140‐9748
JAMES L MULLINS                                 PO BOX 154                                                                                   LAKE CITY         TN    37769‐0154
JAMES L MYERS                                   6167 LEROUX RD                                                                               NEWPORT           MI    48166‐9509
JAMES L NAGY JR & NANCY A NAGY JT TEN           6050 JAMESTOWN PARK                                                                          ORLANDO           FL    32819‐4436
JAMES L NAVARA & MARGARET NAVARA JT TEN         40249 MEADOW BAY                                                                             FRAZEE            MN    56544‐8847
JAMES L NICHOLSON JR & GAIL Y NICHOLSON JT TEN  12856 MANDARIN RD                                                                            JACKSONVILLE      FL    32223‐1715

JAMES L O'BRIEN                                1913 DUBLIN ROAD                                                                              PENFIELD          NY    14526‐1932
JAMES L OAKS                                   6105 E CO RD 400 S                                                                            KOKOMO            IN    46902
JAMES L ODOM                                   2525 HENN HYDE RD                                                                             CORTLAND          OH    44410‐9448
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Name                                             Address1                               Address2             Address3          Address4          City              State Zip

JAMES L OGILIVE                                  BOX 264                                                                                         TAYLORVILLE       IN    47280‐0264
JAMES L OGILVIE                                  PO BOX 264                                                                                      TAYLORSVILLE      IN    47280
JAMES L OLIVER                                   20688 PATTON CT                                                                                 DETROIT           MI    48228‐1021
JAMES L OLVERSON                                 621 DINSMORE                           APT‐H                                                    FOREST PARK       OH    45240‐5529
JAMES L ONEILL                                   636 MAIZE RD                                                                                    MURPHY            TX    75094‐5309
JAMES L ORR                                      8634 BROOKSTEAD DR                                                                              CHARLOTTE         NC    28215‐9520
JAMES L OSTERMAN & DOLORES OSTERMAN JT TEN       22943 AVALON                                                                                    ST CLAIR SHORES   MI    48080‐2480

JAMES L OTTE                                     1845 CHERRYLAWN DR                                                                              TOLEDO            OH    43614‐3502
JAMES L OWEN                                     13725 S E 89TH                                                                                  OKLAHOMA CITY     OK    73150‐8405
JAMES L PADGETTE                                 1018 MINEO DR                                                                                   PUNTA GORDA       FL    33950‐6647
JAMES L PAISLEY TR JAMES L PAISLEY TRUST UA      11937 KIOWA AVE APT 7                                                                           LOS ANGELES       CA    90049‐7004
07/05/01
JAMES L PALINSKY                                 3426 STEELE ST                                                                                  MCKEESPORT        PA    15132‐5511
JAMES L PALMER                                   272 SOUTH SHIRLEY                                                                               PONTIAC           MI    48342‐3155
JAMES L PARISH                                   1829 W HOUSTONIA AVE                                                                            ROYAL OAK         MI    48073‐3995
JAMES L PARK                                     215 HARRISON                                                                                    BUFFALO           NY    14223‐1608
JAMES L PARKER                                   5687 SALEM RD                                                                                   LITHONIA          GA    30038‐1632
JAMES L PARKER & MARVELL R PARKER JT TEN         38 LINCOLN PARKWAY                                                                              ANNAPOLIS         MD    21401‐2105
JAMES L PATTERSON                                5410 BRIGHT CREEK DR                                                                            FLINT             MI    48532‐2074
JAMES L PATTERSON & PHYLLIS A PATTERSON JT TEN   4732 E 13TH ST                                                                                  TUCSON            AZ    85711‐4302

JAMES L PAULSON CUST JUSTIN L PAULSON UGMA NE    1965 CO RD R                                                                                    FREMONT           NE    68025‐7311

JAMES L PEARSON                                  401 DILDINE RD                                                                                  IONIA             MI    48846‐9564
JAMES L PEARSON JR EX UW LOUISE S PEARSON        2586 BOB BETTIS RD                                                                              MARIETTA          GA    30066‐5714
JAMES L PENN & VIOLET D PENN JT TEN              3338‐2A PUNTA ALTA                                                                              LAGUNA WOODS      CA    92653
JAMES L PIETON                                   300 DAKOTA AVE                                                                                  MC DONALD         OH    44437‐1511
JAMES L PRINGLE                                  8790 OAKLAND RD                                                                                 OAKLAND           AR    72661‐9028
JAMES L PROCTOR                                  14225 S BLAINE                                                                                  POSEN             IL    60469
JAMES L PROVENCE                                 4378 WHITTINGTON WY                                                                             NORCROSS          GA    30092‐1747
JAMES L QUILLIN                                  PO BOX 2480                                                                                     WILLIAMSON        WV    25661‐2480
JAMES L RANDALE                                  3626 GERALD LANE                                                                                HAMILTON          OH    45015‐2044
JAMES L REA                                      9542 LAA LA PLACE                                                                               DIAMONDHEAD       MS    39525
JAMES L REESE                                    4178 SPRUCE WOOD DR                                                                             DAYTON            OH    45432‐4117
JAMES L REESE III                                2210 LAKE FLORA RD SW                                                                           PORT ORCHARD      WA    98367‐9104
JAMES L REID                                     1120 WOODWARD AVENUE                                                                            KALAMAZOO         MI    49007‐2351
JAMES L REPPY                                    999 VIENNA AVE                                                                                  NILES             OH    44446‐2703
JAMES L REYNOLDS                                 4301 DELINA RD                                                                                  CORNERSVILLE      TN    37047‐5237
JAMES L RICHARDS                                 PO BOX 78472                                                                                    SAINT LOUIS       MO    63178‐8472
JAMES L RICHARDSON                               517 DEVILLE DR                                                                                  GREELEY           CO    80634‐4295
JAMES L RICHARDSON & EVA F RICHARDSON JT TEN     2101 MADDI AVE                                                                                  KANSAS CITY       MO    64132

JAMES L RILEY                                    455 CHESTNUT DRIVE                     C/O BETTY J RILEY                                        BEREA             OH    44017‐1335
JAMES L RITTER                                   102 PIGEON RUN DRIVE                                                                            BEAR              DE    19701‐1510
JAMES L ROBBINS                                  1824 MACKINAW ROAD                                                                              PINCONNING        MI    48650‐9465
JAMES L ROGERS                                   5066 FINLAY DR                                                                                  FLINT             MI    48506‐1510
JAMES L ROGERS                                   6030 GROVE AVE                                                                                  GRAND BLANC       MI    48439‐5046
JAMES L ROUNDTREE                                G 5100 PRESTWOOD                                                                                FLINT             MI    48504
JAMES L ROURKE                                   2194 S BRAUN WAY                                                                                LAKEWOOD          CO    80228‐4609
JAMES L ROWDEN                                   1411 SUMMIT RIDGE                                                                               ST LOUIS          MO    63146‐4335
JAMES L RUSSELL                                  14062 DRURY CT                                                                                  GRANDVIEW         MO    64030‐3944
JAMES L SAILOR                                   23320 EDINBURGH                                                                                 SOUTHFIELD        MI    48034‐4885
JAMES L SALEMI                                   115 FILLMORE AVE                                                                                TONAWANDA         NY    14150‐2333
JAMES L SALLER                                   114 BAKERDALE ROAD                                                                              ROCHESTER         NY    14616
JAMES L SALMON JR                                PO BOX 70127                                                                                    BOWLING GREEN     KY    42102
JAMES L SCHATZLEY                                6244 LAKEVIEW S                                                                                 SAGINAW           MI    48603‐4251
JAMES L SCHIECK                                  RTE 5 BOX 214                                                                                   AUSTIN            MN    55912‐9185
JAMES L SCHIPPERS                                15137 S 24TH ST                                                                                 VICKSBURG         MI    49097‐9701
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JAMES L SCHMITT & ESTHER G SCHMITT JT TEN        6947 BOULDER HILL COURT                                                                       VERONA          WI    53593‐9556
JAMES L SCHOENBORN                               0‐11901 8TH AVE                                                                               GRAND RAPIDS    MI    49544‐3340
JAMES L SCHRAM TR JAMES L SCHRAM LIVING TRUST UA 2212 ELM CIRCLE                                                                               SHELBY TWP      MI    48316‐1046
09/01/04
JAMES L SCHREIBER                                1471 CLEVELAND RD                                                                             WOOSTER         OH    44691‐2331
JAMES L SCHROEDER                                7500 EDINBOROUGH WAY #3113                                                                    EDINA           MN    55435‐5612
JAMES L SCHWANGER & JOYCE A SCHWANGER TR         5024 HOMEGARDNER RD                                                                           CASTALIA        OH    44824‐9708
SCHWANGER TRUST UA 11/04/98
JAMES L SCOGGINS                                 6868 JEROME RD                                                                                JEROME          MI    49249‐9722
JAMES L SCOTT                                    12912 LONG ACER                                                                               DETROIT         MI    48227‐1225
JAMES L SEXTON                                   1194 BLUE BROOK LN                                                                            PORTAGE         MI    49002‐4424
JAMES L SHANN                                    14071 WASHBURN ROAD                                                                           OTTER LAKE      MI    48464‐9108
JAMES L SHELBY                                   2453 SANDY RIDGE RUN                                                                          ROCK HILL       SC    29732‐8482
JAMES L SHEPHERD                                 1045 DEVON                                                                                    LAKE ORION      MI    48362‐2403
JAMES L SHIMANDLE                                8014 8 1/2 ST W                                                                               ROCK ISLAND     IL    61201‐7717
JAMES L SHINAVER                                 1626 BLUE GRASS RD                                                                            LANSING         MI    48906‐1334
JAMES L SHIPLEY                                  654 KINSMAN ST                                                                                WARREN          OH    44483‐3112
JAMES L SHOCK                                    1288 BRYNWYCK CT                                                                              DEFIANCE        OH    43512‐8853
JAMES L SHORT                                    1909 WIMBLEDON DR                                                                             ARLINGTON       TX    76017‐2786
JAMES L SIMMONS                                  1906 REDWOOD ST                                                                               N CHARLESTON    SC    29405‐8047
JAMES L SKOWER                                   339 WEST HURON AVENUE                                                                         VASSAR          MI    48768‐1211
JAMES L SLATER                                   109 HAMILTON LN                                                                               MC CORMICK      SC    29835‐9783
JAMES L SLAUGHTER                                10451 BELLS FERRY RD                 APT 2125                                                 CANTON          GA    30114‐1296
JAMES L SLAUGHTER JR                             4761 MATTHEWS DRIVE                                                                           WESTLAND        MI    48186‐5132
JAMES L SLEDGE                                   11975 MACK RD                                                                                 ATHENS          AL    35611‐6808
JAMES L SMALL & PATRICIA W SMALL JT TEN          183 BLUEBERRY HILL RD                                                                         SHAFTSBURY      VT    05262‐9811
JAMES L SMITH                                    2007 LINDY DRIVE                                                                              LANSING         MI    48917‐9726
JAMES L SMITH                                    1802 KATHY LANE                                                                               MIAMISBURG      OH    45342‐2628
JAMES L SMITH                                    PO BOX 153                                                                                    WESTPHALIA      MI    48894‐0153
JAMES L SMITH                                    411 STONYRIDGE DR                                                                             SANDUSKY        OH    44870‐5468
JAMES L SNOW                                     81 HAMMOND                                                                                    PONTIAC         MI    48342‐1509
JAMES L SNYDER                                   2929 E MAIN ST 149                                                                            MESA            AZ    85213‐9326
JAMES L SNYDER & SANDRA L SNYDER JT TEN          867 LODGE AVE                                                                                 EVANSVILLE      IN    47714‐1934
JAMES L SOLBERG                                  5720 WEALTHY ST                                                                               NEWAYGO         MI    49337‐9018
JAMES L SOLDWISH                                 4181 SUNBURST AVE                                                                             WATERFORD       MI    48329‐2370
JAMES L SOLTAU                                   2846 MOGGILL ROAD                    PINJARRA HILLS       QUEENSLAND        4069 AUSTRALIA
JAMES L SPARKS                                   2395 SNYDER RD                                                                                BUTLER          OH    44822‐9688
JAMES L SPARKS                                   5958 W MASON RD                                                                               OWOSSO          MI    48867‐9398
JAMES L SPURLOCK                                 9231 SANGER CT                                                                                HARRISBURG      NC    28075‐6627
JAMES L STALLINGS II                             4020 DANFORTH RD SW                  APT 111                                                  ATLANTA         GA    30331‐2090
JAMES L STARKE                                   113 STILLMEADOW DR                                                                            JOPPA           MD    21085‐4748
JAMES L STEWART                                  12914 YOUNGFIELD DR                                                                           CYPRESS         TX    77429‐3809
JAMES L STEWART & DARRAH P STEWART JT TEN        104 MAIN STREET                                                                               GREENSBORO      AL    36744‐2108
JAMES L STOPJIK                                  1126 CHESANING ST                                                                             ST CHARLES      MI    48655‐1808
JAMES L STOTLER                                  214 CONCORD AVE                                                                               BERKELEY SPRI   WV    25411‐1204
JAMES L STOUDT                                   764 ARBOUR DRIVE                                                                              NEWARK          DE    19713‐1221
JAMES L STRAHAN TR FAMILY TRUST 06/25/90 U‐A     18502 TAFT AVE                                                                                VILLA PARK      CA    92861‐2760
JAMES L STRAHAN
JAMES L STRAIGHT                                 5068 OLD HWY 81 #7                                                                            NEW BRAUNFELS   TX    78132‐4965
JAMES L STRINGER                                 2104 ESMERALDA AVE                                                                            DAYTON          OH    45406‐2509
JAMES L STRONG                                   805 LAKE COLONY CIR                                                                           BIRMINGHAM      AL    35242‐7407
JAMES L STUDEBAKER                               1310 E DECAMP ST                                                                              BURTON          MI    48529‐1218
                                                                                                                                               SOUTHEAST
JAMES L SWINTON & MRS BEVERLY SWINTON JT TEN   5203 MONTICELLO DRIVE                                                                           SWARTZ CREEK    MI    48473‐8249

JAMES L TARR                                   3850 SCENIC RDG                        APT 330                                                  TRAVERSE CITY   MI    49684‐9777
JAMES L TAYLOR                                 C/O SHARI R BURGER                     6834 KEYSTONE ST                                         PORTAGE         MI    49024‐3482
JAMES L TAYLOR                                 4800 PALMER                                                                                     KANSAS CITY     MO    64129‐2057
JAMES L TAYLOR                                 313 HILLSIDE COURT                                                                              WINDER          GA    30680‐3485
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Name                                              Address1                                Address2             Address3          Address4          City             State Zip

JAMES L TEMES                                     10481 N LYNN CIR APT J                                                                           MIHA LOMA        CA    91752‐1355
JAMES L TENNEY                                    1220 E RIVER ST                                                                                  ELYRIA           OH    44035‐6068
JAMES L THIERY                                    517 S ELM ST                                                                                     MONTPELIER       IN    47359‐1413
JAMES L THOMAS                                    15139‐14TH DRIVE SE                                                                              MILLCREEK        WA    98012‐1585
JAMES L THORNHILL                                 394 WALNUT HILL RD                                                                               WOONSOCKET       RI    02895‐2727
JAMES L THORPE & VICKI S THORPE JT TEN            4102 COUNTRYSIDE DR                                                                              PARKER           TX    75002‐5914
JAMES L TIDWELL                                   2343 TALLAVANA TRL                                                                               HAVANA           FL    32333‐5648
JAMES L TOBAT                                     29060 SEAFORD RD                                                                                 LAUREL           DE    19956‐3831
JAMES L TOOMEY                                    PO BOX 1266                                                                                      DESERT HOT       CA    92240‐0937
                                                                                                                                                   SPRINGS
JAMES L TRAVIS                                    6574 DALY RD                                                                                     CINCINNATI       OH    45224‐1503
JAMES L TROUTMAN                                  175 S ENOLA DR                          # 2ND‐FL                                                 ENOLA            PA    17025‐2714
JAMES L TURNER                                    955 E CLARK RD                                                                                   YPSILANTI        MI    48198‐7501
JAMES L TURNER                                    4210 HAMILTON SCIPIO RD                                                                          HAMILTON         OH    45013‐8214
JAMES L TURNER                                    361 N MAIN ST                                                                                    MARINE CITY      MI    48039‐3437
JAMES L TURNER                                    955 EAST CLARK RD                                                                                YPSILANTI        MI    48198‐7501
JAMES L TURNEY                                    299 N WINNEBAGO DR                                                                               LAKE WINNEBAGO   MO    64034‐9319

JAMES L UTSLER                                    825 MOORE DR                                                                                     CHELSEA          MI    48118‐1351
JAMES L UTSLER & JANET UTSLER JT TEN              825 MOORE DRIVE                                                                                  CHELSEA          MI    48118‐1351
JAMES L VANCE JR                                  9617 HINDLE                                                                                      DETROIT          MI    48211‐1034
JAMES L VANWAGONER & ANITA L VANWAGONER JT        BOX 826                                                                                          FLORENCE         AZ    85232‐0826
TEN
JAMES L VOLLBRECHT                                1717 BURNING TREE DR                                                                             VIENNA           VA    22182‐2303
JAMES L VON BERG                                  6895 ALMA CT                                                                                     SAGINAW          MI    48603‐2659
JAMES L WACHOWSKI & CHERYL A WACHOWSKI JT TEN     32137 CRESTWOOD LANE                                                                             FRASER           MI    48026‐2149

JAMES L WALL                                      1495 HOLLY SPRINGS ROAD                                                                          HERNANDO         MS    38632‐9347
JAMES L WALTON                                    13207 ANNIKA DR                                                                                  LECHFIELD PARK   AZ    85340‐8364
JAMES L WANSLEY                                   221 ROBERTS ST                                                                                   BUFORD           GA    30518‐2519
JAMES L WARNER                                    1221 W 11TH ST                                                                                   ANDERSON         IN    46016‐2921
JAMES L WATERS                                    905 W KING ST                                                                                    MARTINSBURG      WV    25401‐2218
JAMES L WATKINS                                   1421 TULEY RD                                                                                    HAMILTON         OH    45015‐1261
JAMES L WAY CUST JON LEONG WAY U/THE              6527 SUNNYSIDE AVE N                                                                             SEATTLE          WA    98103‐5422
WASHINGTONU‐G‐M‐A
JAMES L WEISBRODT                                 3446 AVENUE W NW                                                                                 WINTER HAVEN     FL    33881‐1051
JAMES L WELLS                                     4318 DOGWOOD BLVD                                                                                CLARKSTON        MI    48348‐1340
JAMES L WERNER & SUE ANN WERNER JT TEN            4451 OXFORD‐TRENTON ROAD                                                                         HAMILTON         OH    45011‐9616
JAMES L WEST                                      702 CLOVER RIDGE DR                                                                              WEST CHESTER     PA    19380‐1858
JAMES L WESTNESS                                  RR 1 BOX 234                                                                                     DAKOTA           MN    55925‐9747
JAMES L WHEELER & AVA J WHEELER JT TEN            35 LEE RD 2010                                                                                   PHENIX CITY      AL    36870‐9142
JAMES L WHITEHEAD & KAY J WHITEHEAD JT TEN        11636 MILLER DR                                                                                  GALESBURG        MI    49053‐9650
JAMES L WIGGINTON & SUSIE D WIGGINTON JT TEN      7103 HEARIN AVE                                                                                  LOUISVILLE       KY    40218‐2815

JAMES L WILBER                                    9147 BARNES RD                                                                                   VASSAR           MI    48768‐9646
JAMES L WILCOX                                    PO BOX 328                                                                                       JACKSON          SC    29831‐0328
JAMES L WILKERSON                                 4010 EILAND DR                                                                                   SEBRING          FL    33875‐9438
JAMES L WILLIAMS                                  24 SOUTHSIDE COUNTRY CLB                                                                         DECATUR          IL    62521‐9124
JAMES L WILLIAMS                                  20004 LITTLEFIELD                                                                                DETROIT          MI    48235‐1161
JAMES L WILLIAMS                                  PO BOX 412                                                                                       NEWALLA          OK    74857‐0412
JAMES L WILLIAMS                                  2030 COLONIAL RD B‐6                                                                             FT PIERCE        FL    34950‐5326
JAMES L WILLIAMS                                  1 COLLINGWOOD AVE                                                                                BUFFALO          NY    14215‐2719
JAMES L WILLIAMS SR & FRANCES A WILLIAMS JT TEN   432 DEMOCRAT RD                                                                                  GIBBSTOWN        NJ    08027

JAMES L WILLIAMSON                                3609 WEST 50 ST                                                                                  CLEVELAND        OH    44102‐5813
JAMES L WILSON                                    35525 E LYMAN                                                                                    FARMINGTON HL    MI    48331‐4132
JAMES L WILSON                                    1937 N 600 E                                                                                     AVON             IN    46123‐9532
JAMES L WIRTHMAN                                  386 SARWIL DR S                                                                                  CANAL WINCHESTER OH    43110‐1011
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JAMES L WOOD                                        9616 E 31ST ST S                                                                                 INDEPENDENCE     MO    64052‐1320
JAMES L WOOD                                        PO BOX 6                                                                                         WHITES CREEK     TN    37189‐0006
JAMES L WOODRING                                    3922 OLD CORNELIA HWY                                                                            GAINESVILLE      GA    30507‐7781
JAMES L WRANGELL                                    9535 W ELMORE AVE                                                                                MILWAUKEE        WI    53222‐2520
JAMES L WRIGHT                                      1730 HILLCREST AVE                                                                               ANDERSON         IN    46011‐1006
JAMES L WRIGHT                                      1114 BRUNES BLVD                                                                                 BROWNSBURG       IN    46112‐7985
JAMES L WRIGHT & TAMMY DENISE WRIGHT JT TEN         20240 WINCHESTER STREET                                                                          SOUTHFIELD       MI    48076‐4986

JAMES L WYSS                                        C/O OLSEN MANUFACTURING CO              BOX 309                                                  ROYAL OAK        MI    48068
JAMES L YEAGER & MARY C YEAGER JT TEN               824 FENNIMORE ST                                                                                 FREMONT          OH    43420‐3121
JAMES L YONNING & MARYLIN R YONNING JT TEN          2903 SW FOXCROFT COURT 2                                                                         TOPEKA           KS    66614‐4153
JAMES L YOUNGBLOOD                                  256 JAMES WAY                                                                                    YORK             PA    17406‐9245
JAMES L ZACHERY                                     384 RALPH MCGILL BLVD NE                UNIT 406                                                 ATLANTA          GA    30312‐1270
JAMES L ZOOK                                        2447 N 900 W 27                                                                                  CONVERSE         IN    46919‐9334
JAMES LACHAJEWSKI                                   8936 SAN JOSE                                                                                    REDFORD          MI    48239‐2318
JAMES LAFRATTA                                      350 MERRICK RD APT 3W                                                                            ROCKVILLE CENTRE NY    11570‐5343

JAMES LAGOS & GEORGIA LAGOS JT TEN                  3051 LAKESIDE DR                                                                                 HIGHLAND         IN    46322‐3400
JAMES LAHS & JACQUELINE GREGORICH JT TEN            5019 NW 30TH PL                                                                                  OCALA            FL    34482‐8385
JAMES LAKE                                          469 ARBOR RD                                                                                     CLEVELAND        OH    44108‐1758
JAMES LAMPREY & DENNIS LAMPREY JT TEN               302 VERNON AVE                                                                                   GLEN BURNIE      MD    21061‐2246
JAMES LAND SR CUST KATI MARIE LAND UTMA NC          6525 LATTA SPRINGS CIR                                                                           HUNTERSVILLE     NC    28078
JAMES LANDON DEGRAFF                                428 EADY CREEK RD                                                                                BARNESVILLE      GA    30204‐3158
JAMES LANG & MRS JUDITH M LANG JT TEN               3033 SW 98TH DR                                                                                  GAINESVILLE      FL    32608‐8687
JAMES LANGENHEIM                                    429 MELBOURNE AVE                                                                                YOUNGSTOWN       OH    44512‐4411
JAMES LARKE                                         403 PENDLETON DR                                                                                 HOUMA            LA    70360
JAMES LARRY GRESHAM                                 3615 W WADE LANE                                                                                 COLORADO SPGS    CO    80917
JAMES LARRY HUNTLEY                                 117 E LOCKMAN STREET                                                                             FORT MILL        SC    29715‐1813
JAMES LARRY JR                                      3583 NORBERG DR                                                                                  FLORISSANT       MO    63031‐1168
JAMES LARRY RIDDLE                                  4001 IOLA AVE                                                                                    PUNTA GORDA      FL    33982‐9734
JAMES LARRY SCHWARTZ                                317 BANBERRY SOUTH                                                                               LANSING          MI    48906‐1532
JAMES LARRY YATES                                   5886 SCOTTSDALE                                                                                  MEMPHIS          TN    38115‐3159
JAMES LASKO CUST MICHAEL BRANDON LASKO UGMA         21 CLARK CT                                                                                      EAST BRUNSWICK   NJ    08816‐4054
NY
JAMES LAVELLE                                       28225 BELCOURT RD                                                                                PEPPER PKE       OH    44124‐5619
JAMES LAWRENCE BANNON                               9870 PRESTON TRL W                                                                               PONTE VEDRA      FL    32082‐3558
                                                                                                                                                     BEACH
JAMES LAYNE                                       23531 GAGNE LANE                                                                                   PLAINFIELD       IL    60544‐9013
JAMES LEARY                                       202 SCOTTSBURG DR                                                                                  WARNER ROBINS    GA    31088‐7997
JAMES LEDBETTER JR                                712 E WALKER ST                                                                                    GREENVILLE       MS    38701‐4868
JAMES LEE BREWBAKER & DONNA ANN BREWBAKER JT 304 NAKOMA DRIVE                                                                                        MIDLAND          MI    48640‐7226
TEN
JAMES LEE BRODUS                                  41 BARBARA LANE                                                                                    SAGINAW          MI    48601‐9469
JAMES LEE DAY 2ND                                 2693 E CEDAR AVE                                                                                   DENVER           CO    80209‐3205
JAMES LEE DEAN TR JAMES LEE DEAN TRUST UA 6/24/97 PO BOX 2758                                                                                        EDGEWOOD         NM    87015‐2758

JAMES LEE EMERY CUST HEIDI L EMERY UGMA PA          5 EAST LEASURE AVE                                                                               NEW CASTLE       PA    16105‐2581
JAMES LEE FOSTER JR                                 16706 SELDER DR                                                                                  FRIENDSWOOD      TX    77546‐2333
JAMES LEE GERMAIN                                   1916 HORSESHOE CV                                                                                ALLEGAN          MI    49010‐9589
JAMES LEE HOERNER                                   721 BLACK MOAT PLACE                                                                             MIAMISBURG       OH    45342‐2725
JAMES LEE HOYLE                                     738 BLACK AVE                                                                                    FLINT            MI    48505‐3564
JAMES LEE OLESON                                    22 N ROYAL OAKS DR                                                                               BRISTOL          IL    60512‐9726
JAMES LEE PHILLIPS                                  3371 MARIGOLD CIR                                                                                COSTA MESA       CA    92626‐1724
JAMES LEE PHILLIPS & VIRGINIA M PHILLIPS JT TEN     3371 MARIGOLD CIR                                                                                COSTA MESA       CA    92626‐1724

JAMES LEE RICHARDSON                                2603 HUNTINGTON RD                                                                               CHARLOTTESVLE    VA    22901‐1225
JAMES LEE STALEY                                    11119 BARRY RD                                                                                   BANNISTER        MI    48807‐9754
JAMES LEE STANDLEY                                  3908 FM 1452E                                                                                    MADISONVILLE     TX    77864‐7535
JAMES LEO CLARK                                     170 TWO MILE CREEK RD                                                                            TONAWANDA        NY    14150‐7732
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JAMES LEON                                        358 BROADWAY                           APT 26                                                   LYNN             MA    01904‐2668
JAMES LEONARD HEUVELMAN                           1279 LINDENWOOD LANE                                                                            ATLANTA          GA    30319‐3890
JAMES LEONARD LAYNE                               742 W 1490 NORTH CIRCLE                                                                         WASHINGTON       UT    84780‐2451
JAMES LEONARD MC MURTRIE                          # 8G 1975 CORYDON AVE                  WINNIPEG MB                            R3P 0R1 CANADA
JAMES LEROY BROWN                                 7177 BROWNS LN                                                                                  THURMONT         MD    21788‐2512
JAMES LESLIE                                      2528 ROUNDHILL CT                                                                               BLOOMINGTON      IN    47401‐4363
JAMES LESTER FISHER                               4914 M L KING                                                                                   FLINT            MI    48505‐3336
JAMES LEVAND CUST JAY LUCAS LEVAND UTMA CA        123 E EATON AVE                                                                                 TRACY            CA    95376‐3123

JAMES LEVIN                                       510 WEST BROADWAY                                                                               LOUISVILLE       KY    40202‐2217
JAMES LEWIS DAUZAT                                672 JEFFERSON HEIGHTS                                                                           JEFFERSON        LA    70121‐1109
JAMES LEWIS DYNES                                 6649 SLOSSER RD                                                                                 HALE             MI    48739‐9056
JAMES LEWIS HOLLOWAY                              411 SE 14 ST                                                                                    DANIA BEACH      FL    33004‐4696
JAMES LEWIS JR                                    APT 3505                               SUNCREST DR                                              FLINT            MI    48504‐8426
JAMES LEWIS RHODES                                65 ROLLING ROCK LANE                                                                            ST LOUIS         MO    63124‐1456
JAMES LEX SMITH                                   15815 LARKFIELD DRIVE                                                                           HOUSTON          TX    77059‐5904
JAMES LIED                                        3461 E WILSON RD                                                                                CLIO             MI    48420‐9776
JAMES LINDSAY BOYLON                              1106 DOUGLAS SUITE F                                                                            LONGVIEW         WA    98632‐2429
JAMES LINDSAY BOYLON & MARJORIE LINDSAY BOYLON    1106 DOUGLAS SUITE F                                                                            LONGVIEW         WA    98632‐2429
JT TEN
JAMES LINDSAY CUNNINGHAM                          7268 SHARP RD                                                                                   SWARTZ CREEK     MI    48473‐9445
JAMES LINDSAY JR                                  8012 MOSS GATE CT                                                                               RICHMOND         VA    23227‐1673
JAMES LITTLE & LINDA LITTLE JT TEN                PO BOX 26                                                                                       HURLEY           VA    24620‐0026
JAMES LITTLETON JR                                20132 WARD                                                                                      DETROIT          MI    48235‐1141
JAMES LLOYD PASCOE & BETTY JEAN PASCOE JT TEN     171 CO RD AR                                                                                    CHAMPION         MI    49814‐9753

JAMES LOBDELL                                     101 HAMILTON PKWY                                                                               SYRACUSE         NY    13214‐2329
JAMES LOMEDICO                                    C/O ANDERSON SUNOCO                    5501 LEE HWY                                             ARLINGTON        VA    22207‐1613
JAMES LONG & CLAIRE LONG JT TEN                   10 BERWYN ST EXT                                                                                SOUTH HADLEY     MA    01075‐1837
JAMES LOUIS DRESEL                                2518 POCHARD DR                                                                                 BATAVIA          OH    45103‐5207
JAMES LOUIS TROTH                                 107 S MUSTIN DR                                                                                 ANDERSON         IN    46012‐3155
JAMES LOUIS WILLIAMS                              2813 13TH ST                                                                                    NIAGARA FALLS    NY    14305‐2003
JAMES LOW                                         1211 N LINCOLN                                                                                  DINUBA           CA    93618‐3135
JAMES LOWELL BAKER & MARILYN SUE BAKER JT TEN     350 NORTH LAUREL DRIVE                                                                          ANDERSON         IN    46017‐9312

JAMES LOWELL RIFE                                 794 MICHIGAN DRIVE                                                                              FALLING WATERS   WV    25419‐3991
JAMES LOYD                                        1084 NORWOOD CREEK RD                                                                           WINCHESTER       TN    37398‐2974
JAMES LOZIER                                      4330 CORNELL RD                                                                                 OKEMOS           MI    48864
JAMES LUCAS                                       3330 TUXEDO ST                                                                                  DETROIT          MI    48206‐1045
JAMES LUCE & MARGARET LUCE & MARGARET E B LUCE    6703 W BYRON ST                                                                                 CHICAGO          IL    60634
JT TEN
JAMES LYLE BLEVINS & KATHLEEN LOUISE STOCKLEY &   26730 CASH COURT                                                                                LEESBURG         FL    34748
ANN AMELIA RUSH JT TEN
JAMES LYNCH                                       425 1/2JOHN ST                                                                                  E NEWARK         NJ    07029‐2716
JAMES LYONS WALSH                                 138 DOVE ST #1ST FLR                                                                            ALBANY           NY    12202‐1348
JAMES M ADDESSI                                   21325 44TH ST                                                                                   BLOOMINGDALE     MI    49026‐9612
JAMES M ADDIE                                     8718 KAW DRIVE                                                                                  KANSAS CITY      KS    66111‐1734
JAMES M AHEARNE                                   13 SANDY BEACH RD                                                                               FREEPORT         ME    04032‐6128
JAMES M ALBANO                                    69 STOTHARD DRIVE                                                                               HILTON           NY    14468‐9388
JAMES M ALF                                       6111 CREEK RD                                                                                   JANESVILLE       WI    53546‐8777
JAMES M ALLEN                                     1459 N SUNRISE DR                                                                               BOWLING GREEN    KY    42101‐2783
JAMES M ALLEN & JUDY B ALLEN JT TEN               360 OLD GREENHILL RD                                                                            ALVATON          KY    42122‐9704
JAMES M ALVORD & RITA L ALVORD JT TEN             1846 ROLLINS RD                                                                                 BURLINGAME       CA    94010‐2205
JAMES M ALWARD                                    6672 S COUNTYLINE RD                                                                            DURAND           MI    48429‐9410
JAMES M ANDERSON                                  13330 MCCUMSEY                                                                                  CLIO             MI    48420‐7914
JAMES M ANSBRO                                    129 FOX HILL CT                                                                                 EDWARDSVILLE     IL    62025‐5736
JAMES M APPOLD                                    520 RIVERSIDE DR                                                                                ROSSFORD         OH    43460‐1055
JAMES M APPOLD & PATRICIA J APPOLD JT TEN         520 RIVERSIDE DR                                                                                TOLEDO           OH    43460‐1055
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JAMES M ARBUCKLE & DOROTHY E ARBUCKLE TEN ENT        12515 ANN'S CHOICE WAY                                                                        WARMINSTER        PA    18974‐3498

JAMES M ASHLEY                                       710 W WAYNE ST                                                                                MAUMEE            OH    43537‐1923
JAMES M BARBER                                       71469 LUCILLE DR                                                                              RICHMOND          MI    48062‐4938
JAMES M BARDOL                                       5 MCDONALD CIRCLE                                                                             WALPOLE           MA    02081‐1706
JAMES M BARRIOS                                      1559 VINEWOOD                                                                                 DETROIT           MI    48216‐2202
JAMES M BASTONE                                      138 SUNSET DR                                                                                 PITTSBURGH        PA    15237‐3741
JAMES M BATCHELDER & JOYCE D BATCHELDER JT TEN       4950 DEER LODGE RD                                                                            NEW PORT RICHEY   FL    34655‐4329

JAMES M BEAHAN                                       121 W PINE ST                                                                                 CARSON CITY       MI    48811‐9501
JAMES M BEASLEY                                      27603 SHANNON ROAD                                                                            ARDMORE           AL    35739‐7411
JAMES M BECKROW & ELIZABETH A BECKROW JT TEN         1964 HAMMAN DRIVE                                                                             TROY              MI    48098‐5072

JAMES M BEDARD                                       6087 JOHNSON ROAD                                                                             FLUSHING          MI    48433‐1105
JAMES M BEDNARSKI                                    7625 CARSON AVE                                                                               BALTIMORE         MD    21224‐3209
JAMES M BELL                                         21 TANNER RD                         CAMPBELLFORD ON                        K0L 1L0 CANADA
JAMES M BENBOW & ROSEMARY JEAN BENBOW JT TEN         201 WILLARD AVE                                                                               BLOOMINGTON       IL    61701‐5652

JAMES M BENDER                                       8114 EAST GENESEE STREET                                                                      FAYETTEVILLE      NY    13066
JAMES M BENNINGER                                    180 HIGHLAND ST                                                                               NEWTON            MA    02465‐2412
JAMES M BERARDI JR                                   6 TIBY PL                                                                                     MONMOUTH          NJ    08852‐3036
                                                                                                                                                   JUNCTION
JAMES M BERHALTER                                    90 BEATTIE AVE                                                                                LOCKPORT          NY    14094‐5021
JAMES M BERNHARDT                                    1102 N SUMMIT                                                                                 ARKANSAS CITY     KS    67005‐1422
JAMES M BINKLEY                                      5232 W CT ST                                                                                  FLINT             MI    48532‐4115
JAMES M BIRT                                         759 YORKSHIRE CT                                                                              COPLEY            OH    44321‐1296
JAMES M BISSONNETTE                                  5118 W STANLEY RD                                                                             MT MORRIS         MI    48458‐9427
JAMES M BLACK                                        799 COFFEY RD                                                                                 PETERSBURG        TN    37144‐8516
JAMES M BLANCHARD                                    11714 MAGGIE CT                                                                               ROCKFORD          MI    49341‐8761
JAMES M BLANKFIELD                                   2331 BROOKHURST DR                                                                            DUNWOODY          GA    30338‐6631
JAMES M BLASZAK                                      3013 HURON TRAIL                                                                              FORT WORTH        TX    76135‐3829
JAMES M BLEWITT                                      9580 EAST CENTER STREET                                                                       WINDHAM           OH    44288‐1009
JAMES M BLONDIN                                      12237 SANDERS DR                                                                              FREELAND          MI    48623‐9535
JAMES M BLOOD                                        2411 ASHLAND ST                                                                               CLIO              MI    48420‐1459
JAMES M BOBIK                                        650 LA SEDA ROAD                     SPACE 3C                                                 LA PUENTE         CA    91744‐6032
JAMES M BODEY JR                                     807 COUNTRY CLUB LANE                                                                         ANDERSON          IN    46011‐3411
JAMES M BOGUSLAWSKI                                  4905 WINTERWAY LANE                                                                           HAMBURG           NY    14075‐2318
JAMES M BOOTH                                        PO BOX 346                                                                                    ALGONAC           MI    48001
JAMES M BORKA                                        4446 BRIDGMAN RD                                                                              SWARTZ CREEK      MI    48473‐8805
JAMES M BOSLEY                                       C/O LINDA DEBERRY                    BOX 481 RD1                                              CONNELLSVILLE     PA    15425‐0481
JAMES M BOSWELL                                      1199 HOSPITAL RD                     LOT 238                                                  FRANKLIN          IN    46131‐9651
JAMES M BOUWENS                                      1639 SHALLOW CREEK TRL                                                                        WEBSTER           NY    14580‐9604
JAMES M BOWEN                                        574 E GATES ST                                                                                COLUMBUS          OH    43206‐2816
JAMES M BRADY                                        G8172 N DORT HIGHWAY                                                                          MT MORRIS         MI    48458
JAMES M BRANDT                                       552 BURTMAN DR                                                                                TROY              MI    48083‐1040
JAMES M BRAWNER                                      1631 TARPEN AVE                                                                               PLAINFIELD        IN    46168‐1945
JAMES M BRENNAN                                      5440 COPPERMILL PLACE                                                                         DAYTON            OH    45429‐2017
JAMES M BRIDGES & JUDITH ANN BRIDGES JT TEN          13607 CHINKAPIN DR                                                                            BELLEVILLE        MI    48111
JAMES M BRIER III TR UA 11/14/90 JAMES M BRIER III   1822 S W WESTWOOD DRIVE                                                                       TOPEKA            KS    66604‐3280
TRUST
JAMES M BROWN                                        61 WAKELIN TERRACE                   ST CATHARINES ON                       L2M 4K8 CANADA
JAMES M BROWN                                        6629 PARK VALLEY DR                                                                           CLARKSTON         MI    48348‐4555
JAMES M BROWN                                        1174 LENROOT RD                                                                               BETHEL            OH    45106‐8454
JAMES M BRUCE                                        685 N SUMMERS RD                                                                              IMLAY CITY        MI    48444‐8916
JAMES M BRUCE                                        122 HIGHLAND PL                                                                               SHEFFIELD         AL    35660‐7222
JAMES M BRUNO CUST MARISSA KATHLEEN BRUNO            501 S WESTERN AVE                                                                             PARK RIDGE        IL    60068‐4409
UTMA IL
JAMES M BUCKNER SR                                   7312 WEST SOMERSET ROAD                                                                       APPLETON          NY    14008‐9614
JAMES M BUCOLO                                       2854 DRUM RD                                                                                  MIDDLEPORT        NY    14105‐9777
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JAMES M BURGE                                    224 S ORCHARD AVE                                                                              KANKAKEE          IL    60901‐4317
JAMES M BURGER                                   1433 W TRASK LAKE RD                                                                           BARTON CITY       MI    48705‐9708
JAMES M BURNS                                    3688 OLD OAK TRL                                                                               PRUDENVILLE       MI    48651‐9205
JAMES M BURNS                                    1716 HANOVER AVENUE                                                                            INDEPENDENCE      MO    64056‐1425
JAMES M BUTTNER & CATHERINE J BUTTNER JT TEN     91‐15 165TH AVE                                                                                HOWARD BEACH      NY    11414‐3738

JAMES M BYRNE                                    4334 HUNTINGTON WOODS                                                                          WOOSTER           OH    44691‐7200
JAMES M BYRNE & MARY W BYRNE JT TEN              10528 SAWYER PLACE                                                                             LOUISVILLE        KY    40241‐3433
JAMES M CAGE CUST TODD MICHAEL CAGE UGMA WI      3000 S 124TH ST                                                                                WEST ALLIS        WI    53227

JAMES M CALDWELL & NANCY CALDWELL JT TEN         144 KURLENE                                                                                    MACOMB            IL    61455‐1008
JAMES M CALDWELL CUST RYAN CALDWELL UTMA IL      144 KURLENE                                                                                    MACOMB            IL    61455‐1008

JAMES M CANTER                                   6620 BRUCE RD                         B‐9                                                      CELINA            OH    45822‐8106
JAMES M CANTEY & JO ELLEN CANTEY JT TEN          3614 POPLAR SPRINGS DR                                                                         MERIDIAN          MS    39305‐3741
JAMES M CAPEN                                    1882 COLO CREEK COURT                                                                          VIENNA            VA    22182‐1806
JAMES M CAPLIS                                   4620 FIELDVIEW DR                                                                              GRAND LEDGE       MI    48837‐8144
JAMES M CAREY                                    2127 LORI DRIVE                       ALBERTSON PARK                                           WILMINGTON        DE    19808‐4744
JAMES M CAREY                                    109 COQUENA CIR E                                                                              SAVANNAH          GA    31410‐1333
JAMES M CARPENTER                                6828 W 8TH                                                                                     ANDERSON          IN    46011‐9709
JAMES M CARR                                     PO BOX 97                             9043 WARREN WOODS RD E                                   LAKESIDE          MI    49116‐9702
JAMES M CARR JR                                  PO BOX 2376                                                                                    ANGLETON          TX    77516‐2376
JAMES M CARROLL                                  3280 HUNTERDON WAY                                                                             MARIETTA          GA    30067‐5002
JAMES M CARTER                                   5263 ROBINWOOD AVENUE                                                                          DAYTON            OH    45431‐2835
JAMES M CASEY                                    4301 NORPOINT WAY NE APT 23C                                                                   TACOMA            WA    98422‐1590
JAMES M CASTLE                                   3140 OFFICERS LAKE RD BOX 11                                                                   MERIDIAN          MS    39307‐9452
JAMES M CATHCART                                 1042 MT VERNON CT                                                                              GREENWOOD         IN    46142‐1854
JAMES M CAVANAUGH                                1058 PINECREST DR                                                                              WHITE LAKE        MI    48386‐3650
JAMES M CAYLEY                                   5625 HARDING                                                                                   DEARBORN HTS      MI    48125‐2869
JAMES M CERRETANI                                18989 OAK LEAF LN                                                                              NORTHVILLE        MI    48167‐3048
JAMES M CHAMBERLAIN                              59 HARCOVE ST                         ST CATHARINES ON                       L2N 6L9 CANADA
JAMES M CHAMPA                                   54005 SHERWOOD LN                                                                              SHELBY TOWNSHIP   MI    48315‐1652

JAMES M CHAPMAN & VERNA L CHAPMAN JT TEN         1 S POINT CROSS                                                                                SAVANNAH          GA    31411‐2732
JAMES M CHIMARUSTI                               690 BLACK RIDGE LN                                                                             NIPOMO            CA    93444
JAMES M CHIZMADIA                                14513 NORTH RD                                                                                 FENTON            MI    48430‐1383
JAMES M CISCO                                    2072 HWY 166 N                                                                                 MOUNT PLEASANT    TN    38474‐2826

JAMES M CLARK                                    359 WARWICK AVE                                                                                BUFFALO           NY    14215‐3269
JAMES M CLARK                                    6389 EAST LAKE RD                                                                              MILLINGTON        MI    48746‐9233
JAMES M CLIFTON                                  1231 MILL CREEK ROAD                                                                           FLINT             MI    48532‐2348
JAMES M CLIFTON & IRENE Q CLIFTON JT TEN         1231 MILL CREEK ROAD                                                                           FLINT             MI    48532‐2348
JAMES M CLINE JR                                 6544 SUMMERDALE DR                                                                             HUBER HEIGHTS     OH    45424‐2266
JAMES M COFFMAN                                  125 REESE CRAWFORD RD                                                                          BREMEN            GA    30110‐4607
JAMES M COLELLA                                  248 FRONT ST                                                                                   OWEGO             NY    13827‐1602
JAMES M COLEMAN                                  C/O SHANGHAI                          PO BOX 9022                                              WARREN            MI    48090
JAMES M COOK                                     765 ALLIE RD                                                                                   GREENVILLE        GA    30222‐2467
JAMES M COOPER                                   10504 E 66TH ST                                                                                RAYTOWN           MO    64133‐5335
JAMES M CORCORAN                                 1867 PIERCE AVE                                                                                NIAGARA FALLS     NY    14301‐1347
JAMES M CORCORAN                                 PO BOX 8297                                                                                    RED BANK          NJ    07701‐8297
JAMES M COSBY                                    4353 TELEGRAPH RD                                                                              ELKTON            MD    21921‐1936
JAMES M COUCH                                    1262 ATLANTA HWY                                                                               GAINESVILLE       GA    30501‐6307
JAMES M COUPER III                               7845 SW 118TH ST                                                                               MIAMI             FL    33156‐4434
JAMES M COURTNEY                                 8 DRUM CT                                                                                      HOWELL            NJ    07731‐1608
JAMES M COX                                      2706 YALE ST                                                                                   FLINT             MI    48503‐3461
JAMES M COYLE JR CUST TIMOTHY MARK COYLE UTMA    2618 ABERDEEN RD                                                                               BIRMINGHAM        AL    35223‐1012
AL
JAMES M CRANER                                   129 BENNETT DR                                                                                 VIENNA            OH    44473‐9514
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JAMES M CREW TR UA 02/18/93 JAMES M CREW LIVING 2312 S 300 WEST RD                                                                              KOKOMO          IN    46902‐4673
TRUST
JAMES M CROW                                    1804 RIDGESIDE DR                                                                               ARLINGTON       TX    76013‐4248
JAMES M CUMMINGS                                C/O JUDY HANLY                         8481 BANWICK CT                                          POWELL          OH    43065‐9258
JAMES M CUMMINS                                 952 KERCHER ST                                                                                  MIAMISBURG      OH    45342‐1826
JAMES M CURRY                                   252 BROOKSIDE TER                                                                               TONAWWANDA      NY    14150‐5902
JAMES M CURTIS                                  196 ZIMMERMAN DRIVE                                                                             FORT MILL       SC    29708‐8300
JAMES M DABNER                                  5810 COURTYARD CRES                                                                             INDIANAPOLIS    IN    46234‐3152
JAMES M DABNER                                  5810 COURTYARD CRES                                                                             INDIANAPOLIS    IN    46234‐3152
JAMES M DAGG                                    C/O NINA DAGG                          2401 ARAGON AVE S                                        DAYTON          OH    45420‐3505
JAMES M DARIENZO                                21 ORCHARD RD                                                                                   MASSENA         NY    13662‐1133
JAMES M DARNELL & PAMELA G DARNELL JT TEN       16522 MELBA JEAN                                                                                SOUTHGATE       MI    48195‐2912
JAMES M DAVEY                                   3325 CHURCH AVE                                                                                 NIAGARA FALLS   NY    14303‐2213
JAMES M DAVIS                                   23105 KIPLING                                                                                   OAK PARK        MI    48237‐3635
JAMES M DAVIS JR                                18 N NORWINDEN DR                                                                               SPRINGFIELD     PA    19064‐3308
JAMES M DE COURCY                               5008 PENNINGTON AVE                                                                             BLUE SPRINGS    MO    64015‐2328
JAMES M DECKINGER                               49 TOP OF THE RDG                                                                               MAMARONECK      NY    10543‐1734
JAMES M DELISLE                                 1832 EISENHOWER DR                                                                              SPEEDWAY        IN    46224‐5347
JAMES M DESGRANGE                               3017 WYOMING                                                                                    FLINT           MI    48506‐2465
JAMES M DEW                                     102 ORCHARD ST                                                                                  FENTON          MI    48430‐2180
JAMES M DEWIRE                                  2 HOLDEN ST                                                                                     CAMBRIDGE       MA    02138‐2022
JAMES M DEZELAN & JULIA V DEZELAN JT TEN        14 BAY HILL CIR                                                                                 BROWNSBURG      IN    46112‐8251
JAMES M DICKIE                                  10306 OAKHILL RD                                                                                HOLLY           MI    48442‐8856
JAMES M DOCKSTADER                              381 SILMAN                                                                                      FERNDALE        MI    48220‐2508
JAMES M DOLLINGER                               6193 STONEGATE PKWY                                                                             FLINT           MI    48532‐2147
JAMES M DONNELLY JR TR JAMES M DONNELLY JR      PO BOX 383                                                                                      ALBION          RI    02802‐0383
LIVING TRUSTUA 5/7/96
JAMES M DOPIRAK                                 8045 ASHARE CT                                                                                  CLARKSTON       MI    48346‐1155
JAMES M DOUGLASS                                2733 MURRAY RD                                                                                  NEW LONDON      OH    44851‐9332
JAMES M DOZIER                                  2 WATERFORD PLACE                                                                               ANNISTON        AL    36207‐1027
JAMES M DRENNAN                                 62 SMITH ST                                                                                     BABYLON         NY    11702‐2334
JAMES M DUCHARME                                6372 FLUSHING RD                                                                                FLUSHING        MI    48433‐2549
JAMES M DUNCAN                                  10705 BELLER PL                                                                                 OKLAHOMA CITY   OK    73160‐9412
JAMES M DUNFORD                                 4775 FISHBURG RD                                                                                DAYTON          OH    45424‐5440
JAMES M DUNN                                    30 VALLEY RD                                                                                    DAWSONVILLE     GA    30534‐5377
JAMES M DYE & MRS DEE ANN DYE JT TEN            5453 ROBIN DR                                                                                   GRAND BLANC     MI    48439‐7925
JAMES M DYGERT                                  PO BOX 9022                                                                                     WARREN          MI    48090‐9022
JAMES M DZIEDZIC                                12 CLIFFSIDE DR                                                                                 STEWARTSVILLE   NJ    08886‐3165
JAMES M EDWARDS                                 PO BOX 34                                                                                       NOXAPATER       MS    39346‐0034
JAMES M EDWARDS                                 1027 CARRIAGE LN                                                                                HUNTINGDON VY   PA    19006‐3804
JAMES M ELLER                                   8321 COUNTY ROAD 612                                                                            MANSFIELD       TX    76063‐7016
JAMES M ELLIOTT                                 8489 BURPEE RD                                                                                  GRAND BLANC     MI    48439‐7420
JAMES M ELLIS                                   806 MAGNOLIA                                                                                    ROYAL OAK       MI    48073‐5301
JAMES M ELROD                                   33069 MERRITT CT                                                                                WESTLAND        MI    48185‐1589
JAMES M ELSEN                                   PO BOX 155                                                                                      CROTON          OH    43013‐0155
JAMES M ENGLAND                                 5370 N HAMMEL BEACH RD                                                                          AU GRES         MI    48703‐9611
JAMES M ENGLE & CAROL L ENGLE JT TEN            4341 GARLAND AVE                                                                                BALTIMORE       MD    21236‐2807
JAMES M ERIKSEN                                 143 RHODE ISLAND AVE                                                                            MASSAPEQUA      NY    11758‐4148
JAMES M ESTELL                                  21003 HARVARD                                                                                   SOUTHFIELD      MI    48076‐5645
JAMES M ETCHISON & VIRGINIA M ETCHISON JT TEN   7357W 1300 N                                                                                    ELWOOD          IN    46036‐9209

JAMES M EVANS JR                               PO BOX 931                                                                                       CEDAR RIDGE     CA    95924‐0931
JAMES M EVERS                                  2785 MUSSON ROAD                                                                                 HOWELL          MI    48843‐8052
JAMES M EVERS & PATRICIA A EVERS JT TEN        2785 MUSSON RD                                                                                   HOWELL          MI    48843‐8052
JAMES M FAGAN                                  8505 S RUSSELL RD RR 2                                                                           OAK GROVE       MO    64075‐7261
JAMES M FARAGO                                 4 PARKVIEW CT                                                                                    FRANKENMUTH     MI    48734‐1222
JAMES M FARMER                                 318 DROINWICH CIR                                                                                ALLEN           TX    75002‐3927
JAMES M FASONE & SUSAN M FASONE JT TEN         6002 S GALENA CT                                                                                 ENGLEWOOD       CO    80111‐5471
JAMES M FEDERSPIEL                             7174 PETTIT RD                                                                                   BIRCH RUN       MI    48415‐8735
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JAMES M FEHR                                     3126 STONEHENGE DRIVE                                                                          RIVA             MD    21140‐1503
JAMES M FEIL & CHERYL E FEIL JT TEN              124 GOLFVIEW WAY                                                                               MONROE           MI    48162‐8853
JAMES M FIELDS                                   3868 ADDISON AV                                                                                DAYTON           OH    45405‐5129
JAMES M FISHER                                   8902 GOLDRUSH AVE                                                                              GRANT            FL    32949‐8233
JAMES M FLEISHMAN CUST TODD A FLEISHMAN UGMA     469 LANDS END                                                                                  FAYETTEVILLE     NC    28314‐1742
NC
JAMES M FLYNN CUST KEVIN M FLYNN UGMA RI         14 MILTON ST                                                                                   JOHNSTON         RI    02919‐2334
JAMES M FOLEY                                    APT 11‐H                              3 STUYVESANT OVAL                                        NEW YORK         NY    10009‐2130
JAMES M FOSTER                                   2581 WEST KEMPER RD                                                                            CINCINNATI       OH    45231
JAMES M FOX                                      5673 WENDY CIRCLE                                                                              LOCKPORT         NY    14094‐6015
JAMES M FOX & THERESA A FOX JT TEN               5673 WENDY CIRCLE                                                                              LOCKPORT         NY    14094‐6015
JAMES M FOXX & MRS MARIE H FOXX JT TEN           1516 PRAIRIE DR                                                                                CARROLLTON       TX    75007‐1224
JAMES M FOXX & MRS MARIE H FOXX TEN COM          1516 PRAIRIE DR                                                                                CARROLLTON       TX    75007‐1224
JAMES M FREDERICKSON                             119 POPLAR ST                                                                                  IRONWOOD         MI    49938‐2607
JAMES M FRISOLI                                  994 CHELSTON AVE                                                                               SOUTH EUCLID     OH    44121
JAMES M FRITCHER & LYNNE A FRITCHER JT TEN       2921 AUBURN                                                                                    AUBURN HILLS     MI    48326
JAMES M GAINES                                   696 VILLA RICA SW RD                                                                           MARIETTA         GA    30060
JAMES M GALLAGHER                                PO BOX 132                                                                                     KIMBERTON        PA    19442‐0132
JAMES M GARRETT                                  253 ALABAMA WHY 75                    HIDGDON                                                  HIGDON           AL    35979
JAMES M GARRETT                                  5990 SUMMER SHADE RD                                                                           BEAUMONT         KY    42124‐5107
JAMES M GATES                                    15910 SHORT ST                                                                                 EAST LANSING     MI    48823‐9410
JAMES M GEILING                                  37 E LAKESHORE DRIVE                                                                           HOPE             MI    48628‐9727
JAMES M GEISEY JR                                4504 SIMMS AVE                                                                                 BALTO            MD    21206‐5526
JAMES M GENTRY                                   524 GRANITE HILLS ST                                                                           SIMI VALLEY      CA    93065‐0614
JAMES M GERSON                                   2247 WROX TON                                                                                  HOUSTON          TX    77005‐1535
JAMES M GIFT                                     1605 OVERHILL ST                                                                               YORKTOWN         NY    10598‐5411
                                                                                                                                                HEIGHTS
JAMES M GILBERT                                   11473 DEXTER ST                                                                               CLIO             MI    48420‐1505
JAMES M GILLER CUST PATRICK DANIEL GILLER UTMA ID 8406 VALLEY VIEW RD                                                                           WOODSTOCK        VT    05091

JAMES M GIORGIS                                  1668 US 23                                                                                     KAWKAWLIN        MI    48631‐9408
JAMES M GORKLO                                   60‐11 82ND ST                                                                                  MIDDLE VILLAGE   NY    11379‐5334
JAMES M GOSS                                     4952 VALLEY DR                                                                                 TRENTON          MI    48183‐5703
JAMES M GOSS & BETTIE A GOSS JT TEN              4952 VALLEY DR                                                                                 TRENTON          MI    48183‐5703
JAMES M GOWER                                    3810 GLENDALE DR                                                                               TYLER            TX    75701‐9434
JAMES M GRAVER                                   327 THIRWELL AVE                                                                               HAZLETON         PA    18201‐7738
JAMES M GREEN                                    5525 LEGG RD                                                                                   KINGSTON         MI    48741‐9715
JAMES M GREER                                    67 SOUTH 2ND STREET                                                                            BEECH GROVE      IN    46107‐1802
JAMES M GREER                                    5520 VIRGINIA                                                                                  KANSAS CITY      MO    64110‐2852
JAMES M GUSE                                     1102 SOUTH EUGENIA DR                                                                          MASON            MI    48854‐2035
JAMES M HAAS                                     1351 GRISSOM                                                                                   SAGINAW          MI    48609‐4215
JAMES M HALLER                                   1325 NEW SEABURY LN                                                                            VICTOR           NY    14564‐9155
JAMES M HAND                                     15086 BEACON RIDGE DR                                                                          SENECA           SC    29678‐1368
JAMES M HARKEY                                   686 LEYLAND CT                                                                                 LAKE ORION       MI    48362‐2169
JAMES M HARRISON                                 555 OAKLEY ALLONS RD                                                                           ALLONS           TN    38541‐6921
JAMES M HARRISON SR                              1419 DENHOLM DR                                                                                TALLAHASSEE      FL    32312‐2910
JAMES M HASFORD                                  7642 WOODBURN ALLEN SPRINGS RD                                                                 ALVATON          KY    42122‐9617
JAMES M HAUGHT TR JAMES M HAUGHT REVOCABLE       46078 FREDERICK                                                                                NORTHVILL        MI    48167‐1713
TRUST UA 10/28/03
JAMES M HAYS & DANICA E HAYS JT TEN              4535 JOHNSVILLE BROOKVILLE ROAD                                                                BROOKVILLE       OH    45309‐9305
JAMES M HEALZER & HELEN M HEALZER TR UA 05/07/90 1251 PERALTA DR                                                                                SAN JOSE         CA    95120‐5301

JAMES M HEIDEL                                   1201 ADAMS RD                                                                                  BURTON           MI    48509‐2359
JAMES M HEIDEMAN                                 2133 TERRAPIN BRANCH RD                                                                        MOUNT PLEASANT   TN    38474‐1962

JAMES M HEIMAN                                   6430 WALDON WOODS DR                                                                           CLARKSTON        MI    48346‐2481
JAMES M HELFER                                   720 AVILA DR                                                                                   DAVIDSONVILLE    MD    21035‐2503
JAMES M HELM EX EST JOHN D HELM JR               5700 EDGEDALE DR                                                                               RALEIGH          NC    27612
JAMES M HELMS                                    7097 BANKS                                                                                     WATERFORD        MI    48327‐3701
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JAMES M HENDERSON                                  PO BOX 12861                                                                                  EL PASO            TX    79913‐0861
JAMES M HENRY                                      4576 CENTER RD                                                                                BRUNSWICK          OH    44212‐3355
JAMES M HERWALDT                                   2134 WILMONT DR SE                                                                            GRAND RAPIDS       MI    49508‐6598
JAMES M HETZLER                                    5191 EAGLE CREEK RD                                                                           LEAVITTSBURG       OH    44430‐9768
JAMES M HICKS & MARY R HICKS TR HICKS LIVING TRUST 39 WOODBERRY RD                                                                               LITTLE ROCK        AR    72212‐2771
UA 08/25/95
JAMES M HILL                                       5445 GOVERNMENT STREET               APT 235                                                  BATON ROUGE        LA    70806‐6072
JAMES M HINES                                      200 TYSON ST                                                                                  GREENVILLE         NC    27834‐1848
JAMES M HINES                                      4602 BRITTANY RD                                                                              INDIANAPOLIS       IN    46222‐1364
JAMES M HINKLE                                     2527 BROWNELL BLVD                                                                            FLINT              MI    48504‐2757
JAMES M HOFMANN                                    14807 RYDELL ROAD 101                CENTERVILLE                                              CENTREVILLE        VA    20121
JAMES M HOLDER                                     2055 BRADY AVE                                                                                BURTON             MI    48529‐2424
JAMES M HOLKO                                      5396 OLE BANNER TRAIL                                                                         GRAND BLANC        MI    48439‐7705
JAMES M HOLKO & ANN C HOLKO JT TEN                 5396 OLE BANNER TRAIL                                                                         GRAND BLANC        MI    48439‐7705
JAMES M HOOD JR & MARY A HOOD JT TEN               RR1 BOX 4650                                                                                  DORA               MO    65637‐9412
JAMES M HOOVER                                     3449 KROEHLER DR                                                                              HILLIARD           OH    43026‐1723
JAMES M HOPKINS                                    4124 ELLIS LN                                                                                 MUSSEY             MI    48014‐3122
JAMES M HOPKINS JR                                 4242 SYLVAN DRIVE                                                                             DAYTON             OH    45417
JAMES M HORNE                                      3913 WALNUT GROVE LN                                                                          DAYTON             OH    45440‐3453
JAMES M HORNER                                     7297 W BRISTOL RD                                                                             SWARTZ CREEK       MI    48473‐7911
JAMES M HORVITZ                                    11 CHESSRAN DR                                                                                SHARON             MA    02067
JAMES M HOUCK                                      330 ROSE CIR                         APT 5                                                    CLAYTON            GA    30525‐4240
JAMES M HUDSON                                     1937 FAIRHAVEN RD                                                                             COL                OH    43229‐2710
JAMES M HUDSON                                     1460 DODGE DR NW                                                                              WARREN             OH    44485‐1850
JAMES M HUFFMAN                                    1028 LAUREL VALLEY RD                                                                         TROUT DALE         VA    24378‐2404
JAMES M HUGHES                                     2106 S LINDEN AVE                                                                             SPRINGFIELD        MO    65804‐2814
JAMES M HUNDLEY                                    82 CADILLAC                                                                                   PONTIAC            MI    48342‐1222
JAMES M HUNT                                       BOX 195                                                                                       GRANTHAM           NH    03753
JAMES M HUSS                                       29200 JONES LOOP RD LOT 374                                                                   PUNTA GORDA        FL    33950
JAMES M HYER                                       6551 AVON‐BELDON RD                                                                           NORTH RIDGEVILLE   OH    44039‐2907

JAMES M IMEL                                      514 PALM AVE                                                                                   PALM HARBOR       FL     34683‐1818
JAMES M IRWIN                                     8514 HICKORY HILL DR                                                                           POLAND            OH     44514‐3288
JAMES M IRWIN CUST JAMES M IRWIN JR UGMA MI       53218 ELYSIA                                                                                   CHESTERFIELD TWSP MI     48051‐1768

JAMES M JABLONSKI                                 PO BOX 164                                                                                     ISLAND HEIGHTS     NJ    08732‐0164
JAMES M JANIS                                     121 CHAPPELL RD                                                                                FAYETTVILLE        GA    30215‐5916
JAMES M JANISH                                    3132 GREENFIELD                                                                                BERKLEY            MI    48072‐3130
JAMES M JOHNSON                                   3615 WEST MURRY                                                                                INDIANAPOLIS       IN    46221‐2263
JAMES M JOHNSON                                   672 TRAILWOOD LANE                                                                             MARIETTA           GA    30064‐4627
JAMES M JONES & DIANNE S JONES JT TEN             3019 ROCHESTER AVE                                                                             MONROE             NC    28110‐5605
JAMES M JONES JR                                  C/O J B JONES                         7632 PENNSYLVANIA AVE                                    NORTH              PA    15642‐2787
                                                                                                                                                 HUNTINGDON
JAMES M JORDAN                                    287 DEANS RHODE HALL RD                                                                        JAMESBURG          NJ    08831‐3005
JAMES M JUKURI & GAIL L JUKURI JT TEN             518 LAKE LINDEN AVE                                                                            LAURIUM            MI    49913‐2255
JAMES M KAPANOWSKI                                5198 JAMERLEA LN                                                                               FOWLERVILLE        MI    48836‐9637
JAMES M KEISLER                                   515 GRAYFIELD ROAD                                                                             BATESBURY          SC    29006‐9768
JAMES M KELLY                                     7060 SUNSET POINT DR                                                                           INDIANAPOLIS       IN    46259‐6783
JAMES M KIRKLAND                                  7135 SHELDON                                                                                   BELLEVILLE         MI    48111‐5107
JAMES M KLEEMAN                                   19 STONEFIELD TER                                                                              MADISON            WI    53717‐1197
JAMES M KLENOSKI                                  3030 SUGARMANS TRL                                                                             FORT WAYNE         IN    46804‐2449
JAMES M KLEPOCH                                   5352 BARNES RD                                                                                 MILLINGTON         MI    48746‐8709
JAMES M KOLLMANN                                  34024 HICKORY CT                                                                               AVON               OH    44011‐3714
JAMES M KOSTELIC SR                               320 BRADFORD DR                                                                                CANFIELD           OH    44406‐1003
JAMES M KUBOVIAK & RHONDA T KUBOVIAK JT TEN       700 CANTERBURY                                                                                 COLLEGE STATION    TX    77845‐7902

JAMES M KUCERA                                    827 TWO RIERS RD                                                                               FERGUS FALLS       MN    56537‐9302
JAMES M KUNESH                                    04276 GLENBURG RD                                                                              DEFIANCE           OH    43512‐8271
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JAMES M KUPPER CUST JEFFREY G KUPPER UTMA KY     13807 GOODMAN ST                                                                                OVERLAND PARK      KS    66223‐1136

JAMES M KURNCZ                                5188 N SCOTT RD                                                                                    ST JOHNS           MI    48879‐9408
JAMES M LAMPKIN                               10164 HILL RD                                                                                      SWARTZ CREEK       MI    48473‐8522
JAMES M LANDIS                                11651 SOUTH 700 EAST                                                                               LA FONTAINE        IN    46940‐9054
JAMES M LAYMAN                                10275 EAGLE ROAD                                                                                   DAVISBURG          MI    48350‐2127
JAMES M LEONARD                               2420 S W 125TH ST                                                                                  OKLAHOMA CITY      OK    73170‐4833
JAMES M LINDSEY                               158 LINDSEY LANE                                                                                   ALMO               KY    42020‐9518
JAMES M LISTER                                6205 FERNLEIGH BLVD                                                                                SPRINGFIELD        VA    22152‐1816
JAMES M LIVESAY                               309 BEECHGROVE DRIVE                                                                               ENGLEWOOD          OH    45322‐1105
JAMES M LOCKE                                 851 HALEWORTH                                                                                      FOREST PARK        OH    45240‐1856
JAMES M LORANG                                14189 SWANEE BEACH ROAD                                                                            FENTON             MI    48430‐3249
JAMES M LOUGHREY                              11 ISLAND PARK CIR                                                                                 GRAND ISLAND       NY    14072‐3232
JAMES M LOVELAND                              4829 EASTWOOD DR                                                                                   KANSAS CITY        MO    64129‐1927
JAMES M LOWE CUST HAILEY A BROWN UTMA AL      322 ROCK INN ESTATES RD                                                                            CROPWELL           AL    35054‐3912
JAMES M LUECK                                 104 GOLDFIELD DR                                                                                   GARNER             NC    27529‐8176
JAMES M LUTZ                                  10222 ST DANIEL                                                                                    ST ANN             MO    63074‐3815
JAMES M LUTZ & EDNA L LUTZ JT TEN             10222 ST DANIEL                                                                                    ST ANN             MO    63074‐3815
JAMES M LYLES & VICKI M LYLES JT TEN          6015 LAHRING RD                                                                                    HOLLY              MI    48442‐9616
JAMES M LYNADY SR                             122 SUNSET AVE                                                                                     CARBONDALE         PA    18407
JAMES M LYON                                  5110 ALFRED ROAD                                                                                   GOLDEN VALLEY      MN    55422‐4745
JAMES M MAC LEOD                              1191 BRADLEY                                                                                       TROY               MI    48098‐4977
JAMES M MAGNER                                CHEEVER RD                                                                                         RICHMOND           MA    01254
JAMES M MAKELA                                2097 MARK AVENUE                                                                                   PRESCOTT           AZ    86301
JAMES M MARSHALL                              308 MEADOWBROOK RD                                                                                 ROBBINSVILLE       NJ    08691‐2503
JAMES M MARTIN                                523 W KEM RD                                                                                       MARION             IN    46952‐2064
JAMES M MARTIN                                34162 BEACONSFIELD                                                                                 MT CLEMENS         MI    48035‐3302
JAMES M MASON                                 110 LEPES ROAD                                                                                     PORTSMOUTH         RI    02871‐3904
JAMES M MASSEY                                1157 EMERALD RD                                                                                    CHARLESTON         WV    25314‐2207
JAMES M MASSEY & AUDREY F MASSEY JT TEN       1157 EMERALD ROAD                                                                                  CHARLESTON         WV    25314‐2207
JAMES M MASTERSON & SANDRA M MASTERSON JT TEN 32648 BRIDGESTONE DR                                                                               NORTH RIDGEVILLE   OH    44039‐4396

JAMES M MASTRORILLI                              4109 CENECA PARKWAY                                                                             NIAGARA FALLS      NY    14304
JAMES M MATES                                    CALLE ETNA 606                         CAPARRA HEIGHTS      SAN JUAN          PUERTO RICO
JAMES M MATHIS                                   PO BOX 182                                                                                      PRESCOTT           MI    48756‐0182
JAMES M MC ASSEY                                 1142 SAINT FINEGAN DR                                                                           WEST CHESTER       PA    19382‐2318
JAMES M MC CARTHY                                PO BOX 307                                                                                      LITTLE RIVER       CA    95456‐0307
JAMES M MC GOWAN                                 27 WEST AVE                                                                                     WOODSTOWN          NJ    08098‐1124
JAMES M MC HALE                                  149 ELMSFORD                                                                                    CLAWSON            MI    48017‐1247
JAMES M MC WILLIAMS & FRANCES L MC WILLIAMS JT   13600 PIERCE RD                                                                                 BYRON              MI    48418‐9729
TEN
JAMES M MCCARTY                                  32 KING BIRD DR                                                                                 CLEVELAND          GA    30528‐6040
JAMES M MCCLELLAND                               2757 OWENS DR                          UNIT 2‐3                                                 HOUGHTON LAKE      MI    48629‐9028
JAMES M MCCLENNY                                 11139 OAKTON RD                                                                                 OAKTON             VA    22124‐2415
JAMES M MCCONNELL                                3623 WINDSOR WAY                                                                                ANDERSON           IN    46011‐3054
JAMES M MCGAHEY                                  1506 ASH                                                                                        GRAND PRAIRIE      TX    75050‐3817
JAMES M MCGARVEY                                 495 W MAIN ST                                                                                   ARCADE             NY    14009‐1003
JAMES M MCINTOSH                                 6422 DALTON DR                                                                                  FLUSHING           MI    48433‐2333
JAMES M MCLAIN                                   7242 DIBROVA DR                                                                                 BRIGHTON           MI    48116‐8809
JAMES M MCLAUGHLIN                               203 E GROVE ST                         PO BO 718                                                SUTTON             NE    68979‐0718
JAMES M MCQUARTER                                5466 N NINE MILE RD                                                                             PINCONNING         MI    48650‐7953
JAMES M MEAD JR                                  1425 LAKE SHORE DR                                                                              CLERMONT           FL    34711‐2941
JAMES M MEIER                                    1623 ZACHARY AVE                                                                                BLUE GRASS         IA    52726
JAMES M MEIKLEJOHN                               6455 DELAND ROAD                                                                                FLUSHING           MI    48433‐1154
JAMES M MENDHAM                                  24055 US 23 SOUTH                                                                               PRESQUE ISLE       MI    49777‐9110
JAMES M MESSINEO                                 4197 OAKSEDGE DR                                                                                MEMPHIS            TN    38117‐4616
JAMES M MILLIKAN                                 2767 S 600 W                                                                                    ANDERSON           IN    46011‐9415
JAMES M MINCEY                                   412 THORNTON ST                                                                                 NEWPORT            KY    41071‐1549
JAMES M MONROE                                   1700 MONROE ST                                                                                  WICHITA FALLS      TX    76309‐3206
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JAMES M MOORE                                   2129 RAULSTON VIEW DRIVE                                                                        MARYVILLE       TN    37803‐2873
JAMES M MORELLO                                 128 ROCKTOWN LAMBERTVILLE RD                                                                    LAMBERTVILLE    NJ    08530
JAMES M MORGAN                                  12026 CARNEY ST                                                                                 WARREN          MI    48089‐1296
JAMES M MORRIS                                  765 TYUS VEAL RD                                                                                BOWDON          GA    30108‐3702
JAMES M MORRISON & MRS DORCAS E MORRISON JT     4649 MILL POND DR                                                                               TROY            MI    48085‐3783
TEN
JAMES M MORRISON JR                             1097 LESLIE LN                                                                                  GIRARD          OH    44420‐1441
JAMES M MORROW JR & SHEILA MORROW JT TEN        542 SUGARTREE DR                                                                                LIPAN           TX    76462‐4312
JAMES M MOZLEY & ELIZABETH C MOZLEY JT TEN      126 WINDCREST DR                                                                                CAMILLUS        NY    13031‐1924
JAMES M MOZLEY & ELIZABETH C MOZLEY TEN ENT     126 WINDCREST DRIVE                                                                             CAMILLUS        NY    13031‐1924

JAMES M MOZLEY JR                               126 WINDCREST DRIVE                                                                             CAMILLUS        NY    13031‐1924
JAMES M MULLANE JR                              286 OLD FARMS RD                                                                                SIMSBURY        CT    06070‐1009
JAMES M MUNDY & MRS HARRIET B MUNDY JT TEN      1594 OLD MILL RD                                                                                WANTAGH         NY    11793‐3237

JAMES M MUNN                                      10147 W STUART RD                                                                             ORFORDVILLE     WI    53576‐9432
JAMES M MURRAY                                    440 BEUVALE LN                                                                                DOVER           DE    19904‐5758
JAMES M NEIL                                      17 SKYCREST                                                                                   MISSION VIEJO   CA    92692‐5175
JAMES M NEWELL                                    5061 WESTSLOPE LANE                                                                           LA CANADA       CA    91011‐2766
JAMES M NICHOLS                                   1621 COBBLER DR                                                                               LUTZ            FL    33559‐3314
JAMES M NICHOLS JR                                509 LAUREL ACRES                                                                              YORKTOWN        VA    23692‐4429
JAMES M NISSON TR UA 05/27/2008 J M NISSON FAMILY 14462 RED HILL AVE                                                                            TUSTIN          CA    92780
TRUST
JAMES M O'CONNOR                                  1920 BONNIE BROOK LN                                                                          WENTZVILLE      MO    63385‐3265
JAMES M O'CONNOR                                  2928 CAPROCK CT                                                                               GRAPEVINE       TX    76051‐4740
JAMES M O'DONNELL                                 90 ROXBOROUGH AVE                    OSHAWA ON                              L1G 5W4 CANADA
JAMES M OHARA & REGINA M OHARA JT TEN             3 EAGLE POINT CIR                                                                             HOCKESSIN        DE   19707‐1422
JAMES M OSTROM                                    PO BOX 533                                                                                    GAINES           MI   48436‐0533
JAMES M OTOOLE                                    32058 HAZELWOOD                                                                               WESTLAND         MI   48186‐4931
JAMES M OTT                                       6828 SALINE                                                                                   WATERFORD        MI   48329‐1255
JAMES M PACE                                      1220 51ST AV                         APT 203                                                  ROCK ISLAND      IL   61201‐6886
JAMES M PACIOREK                                  13077 COUNTRY CLUB DR                                                                         CLIO             MI   48420‐8200
JAMES M PANGALLO                                  5316 SHADWELL CT                                                                              GREENWOOD        IN   46143‐7188
JAMES M PANTELIS                                  604 LAIRD AVE NE                                                                              WARREN           OH   44483‐5202
JAMES M PARKER                                    5172 MONTICELLO DR                                                                            SWARTZ CREEK     MI   48473‐8252
JAMES M PARKER                                    63 SPRINGVIEW DR                                                                              BRANDON          MS   39042‐2308
JAMES M PARKS                                     404 HICKORY LANE                                                                              WATERFORD        MI   48327‐2572
JAMES M PARSONS                                   525 CLINTON RD                                                                                LEXINGTON        KY   40502
JAMES M PATRICK & LINDA A PATRICK JT TEN          6221 MALLARD DR                                                                               KATY             TX   77493‐4875
JAMES M PATTERSON                                 309 1ST ST                                                                                    SHIRLEY          IN   47384
JAMES M PATTON                                    2659 32ND ST                                                                                  SANTA MONICA     CA   90405
JAMES M PECK                                      3474 NANCY CREEK RD NW                                                                        ATLANTA          GA   30327‐2404
JAMES M PERKINS                                   1201 MAPLE DR                                                                                 GRIFFIN          GA   30224‐5335
JAMES M PETERSON                                  113 BROOKBEND RD                                                                              MAULDIN          SC   29662‐1625
JAMES M PETRO & CECELIA C PETRO JT TEN            972 DEEP CREEK AVE                                                                            ARNOLD           MD   21012‐1730
JAMES M PHELPS                                    RT 3 BOX 661                                                                                  WINNFIELD        LA   71483‐9803
JAMES M PHILEBAUM                                 BOX 163                                                                                       EATON            IN   47338‐0163
JAMES M PHILLIPS                                  15 RIDGE BLVD                                                                                 WILMINGTON       DE   19808‐1033
JAMES M PHILPOTT                                  33260 OAK HOLLOW                                                                              FARMINGTON HILLS MI   48334‐1965

JAMES M PIERCE                                  6005 STATE ROUTE 15A                                                                            SPRINGWATER     NY    14560‐9605
JAMES M PIERSON                                 6749 SPRINGTREE LANE                                                                            LANSING         MI    48917‐8814
JAMES M PILLAR                                  158 CINDY ST                                                                                    OLD BRIDGE      NJ    08857‐3008
JAMES M PINNER                                  211 THE POST RD 211                                                                             SPRINGFIELD     OH    45503‐1024
JAMES M PLUNKETT                                14290 GREENVIEW DRIVE                                                                           GREENCASTLE     PA    17225‐9458
JAMES M POE                                     270 HOSS ROAD                                                                                   INDIANAPOLIS    IN    46217‐3426
JAMES M POLANOWSKI                              14 VERMONT PLACE                                                                                WEST SENECA     NY    14224‐4415
JAMES M POPKIN                                  15 FREDERICKS STREET                                                                            WEST ORANGE     NJ    07052
JAMES M POWELL                                  1521 LIBERTY ST                                                                                 PARKERSBURG     WV    26101‐4125
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JAMES M PRENCIPE JR                                17014 HAMILTON AVENUE                                                                         ALLEN PARK        MI    48101‐3123
JAMES M PRESSWOOD                                  9334 TIGER RUN TRL                                                                            DAVISON           MI    48423‐8430
JAMES M PRUETT                                     10044 SOUTH OCEAN DR 304                                                                      JENSEN BEACH      FL    34957
JAMES M PRUITT & CINDY C PRUITT JT TEN             20 COUNTY RD 604                                                                              RIPLEY            MS    38663
JAMES M RANKEY                                     4736 MOELLER                                                                                  BAY CITY          MI    48706‐2649
JAMES M REAGIN                                     303 DEVONSHIRE CT                                                                             NOBLESVILLE       IN    46060‐9078
JAMES M REDDING                                    3589 TRUMAN                                                                                   CONKLIN           MI    49403‐9534
JAMES M REHAK                                      2155 SILVER MOON TR                                                                           CROSBY            TX    77532‐3503
JAMES M REILLY                                     28 RIVERSIDE AVE APT 10M                                                                      RED BANK          NJ    07701‐1080
JAMES M RICE JR                                    PO BOX 15995                                                                                  CHATTANOOGA       TN    37415‐0995
JAMES M RIETHMEIER                                 6884 WOLVERINE RD                                                                             WOLVERINE         MI    49799‐9679
JAMES M RIGDON                                     5417 GENESEE ROAD                                                                             GRAND BLANC       MI    48439‐7640
JAMES M ROBERTS                                    6351 BLOSSOM PARK DRIVE                                                                       DAYTON            OH    45449‐3020
JAMES M ROBERTSON JR                               260 WHITE PINE WAY                                                                            MARIETTA          GA    30064‐5603
JAMES M ROBINSON                                   9427 LATON HWY                                                                                MULLIKEN          MI    48861
JAMES M ROBINSON                                   34030 DORAIS DR                                                                               LIVONIA           MI    48154‐2802
JAMES M ROBINSON                                   646 W SAN DOVAL PLACE                                                                         THOUSAND OAKS     CA    91360‐1314
JAMES M ROCHON                                     13560 NORTH SHORE DR                                                                          MILLERSBURG       MI    49759‐9734
JAMES M ROGERS                                     1724 PITTMAN ST                                                                               MOUNT AIRY        NC    27030‐5552
JAMES M ROGERS                                     1724 PITTMAN ST                                                                               MOUNT AIRY        NC    27030‐5552
JAMES M ROSS                                       7955 KAMAS RD                                                                                 BRENHAM           TX    77833‐2182
JAMES M ROWE JR                                    5820 NEWTOWN AVE                                                                              PHILADELPHIA      PA    19120‐1129
JAMES M RYAN JR                                    100 SCOTTSDALE                                                                                TROY              MI    48084‐1771
JAMES M RYBICKI SR & LORRAINE S RYBICKI JT TEN     12743 COUWLIER                                                                                WARREN            MI    48089‐3225

JAMES M SAARIKOSKI                                 1295 FENELON CRES                    OSHAWA ON                              L1J 6G2 CANADA
JAMES M SARIBALIS                                  9 SAINT FRANCIS DR                                                                            VALLEJO           CA    94590‐4328
JAMES M SCHIFFMACHER                               9 WOOD LILY LANE                                                                              FAIRPORT          NY    14450‐8804
JAMES M SCHOTT                                     11604 E NEWBURG                                                                               DURAND            MI    48429‐9446
JAMES M SCHULTE                                    235 LEOTA ST                                                                                  WATERFORD         MI    48327‐3633
JAMES M SCHWEITZER & LOUANNE LEE SCHWEITZER JT     11447 JENNINGS ROAD                                                                           CLIO              MI    48420‐1568
TEN
JAMES M SEELEY                                     G4367 OLD COLONY ROAD                                                                         FLINT             MI    48507
JAMES M SEIBERT                                    17812 LAKE RD                                                                                 LAKEWOOD          OH    44107‐1017
JAMES M SELLERS                                    5865 IRIS DR                                                                                  SILSBEE           TX    77656‐3235
JAMES M SHARRARD                                   7244 CYPRESS GARDENS LN                                                                       LAS VEGAS         NV    89119‐4550
JAMES M SHAW                                       7635 GRIZZLY DR                                                                               NINEVEH           IN    46164‐9668
JAMES M SHELDON                                    315 B J'S LANDING                                                                             ESTILL SPRINGS    TN    37330
JAMES M SHERA                                      4452 CHASE PARK CT                                                                            ANNANDALE         VA    22003‐5729
JAMES M SHOOK                                      846 BOWEN HILL RD                                                                             EAST DORSET       VT    05253‐9657
JAMES M SHUMAKE                                    4721 ELEVEN POINT RD                                                                          HANNIBAL          MO    63401
JAMES M SIMS                                       34034 HWY 27 NORTH                                                                            CRYSTAL SPRINGS   MS    39059‐9360
JAMES M SIMS                                       2060 MYRTLE ST                                                                                ARCADIA           LA    71001‐3052
JAMES M SIZEMORE                                   PO BOX 197                                                                                    HAYDEN            KY    41749‐0197
JAMES M SIZEMORE                                   148 BRIAN LANE                                                                                EFFORT            PA    18330‐9012
JAMES M SKINNER                                    6 COTTAGE ST                                                                                  SPENCERPORT       NY    14559‐1208
JAMES M SLAUGHTER                                  944 AUTUMN ST                                                                                 JACKSON           MS    39212‐3957
JAMES M SLOAN                                      3409 56TH DR                                                                                  BRADENTON         FL    34203‐5240
JAMES M SLONE                                      1504 PARK AVE                                                                                 ELYRIA            OH    44035‐7146
JAMES M SLOVAN                                     9946 FIRESTONE LANE                                                                           MACEDONIA         OH    44056‐1514
JAMES M SMITH                                      585 PROSPECT RD                                                                               ROCKMART          GA    30153‐3532
JAMES M SMITH                                      7366 CARRIAGE CREEK DR                                                                        WASHINGTON        MI    48094‐2809
JAMES M SMITH                                      50395 HEATHERWOOD LANE                                                                        UTICA             MI    48317‐1438
JAMES M SMITH                                      598 ENSMINGER RD                                                                              JACOBUS           PA    17407
JAMES M SMITH JR                                   54 APPERT TERRACE                                                                             MAHWAH            NJ    07430‐3001
JAMES M SOCHA                                      27 RUMSEY RD                                                                                  YONKERS           NY    10705‐1623
JAMES M SOUTHARD                                   817 TURRILL AVE                                                                               LAPEER            MI    48446‐2459
JAMES M SPAHR                                      14428 SE 204TH TER                                                                            HAWTHORNE         FL    32640‐7945
JAMES M SPALL                                      14327 ADIOS PASS                                                                              CARMEL            IN    46032‐1107
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JAMES M SPARLING                                 6083 FOOTHILLS TRL                                                                                GAYLORD          MI    49735‐8780
JAMES M SPROUSE                                  5053 W BELSAY                                                                                     FLINT            MI    48506‐1669
JAMES M STARRETT                                 6425 A BROAD ST                                                                                   BETHESDA         MD    20816‐2607
JAMES M STEPHENSON                               C/O EDNA STEPHENSON                      5171 W SIMS LN                                           MONROVIA         IN    46157‐9152
JAMES M STEVENS                                  29908 RUTHDALE                                                                                    ROSEVILLE        MI    48066‐2120
JAMES M STEWART & LEAH A DAVIS JT TEN            127 ARMSTRONG PL                                                                                  WINCHESTER       VA    22602
JAMES M STEWART JR                               127 ARMSTRONG PLACE                                                                               WINCHESTER       VA    22602‐7802
JAMES M STITES                                   9727 N MOONSTONE PL                                                                               MCCORDSVILLE     IN    46055‐9449
JAMES M SUGGS                                    4143 28TH STREET                                                                                  DETROIT          MI    48210‐2628
JAMES M SUIT                                     1698 PEARCY RD                                                                                    PEARCY           AR    71964‐9624
JAMES M SULLIVAN & FRANCES F SULLIVAN JT TEN     2580 KAYLOR LN                                                                                    JACKSONVILLE     FL    32218‐2139

JAMES M SWINSON                                  3412 SHIRE COURTE                                                                                 NAPERVILLE       IL    60564
JAMES M TANNER                                   8109 TAUROMEE                                                                                     KANSAS CITY      KS    66112‐2643
JAMES M TANNER                                   PO BOX 27537                                                                                      PANAMA CITY      FL    32411‐7537
JAMES M TEW                                      1654 WALNUT HEIGHTS DRIVE                                                                         EAST LANSING     MI    48823‐2944
JAMES M THORPE                                   9215 W 3RD ST                                                                                     DAYTON           OH    45427‐1122
JAMES M TRACY                                    5747 LOCUST ST EXT APT 1                                                                          LOCKPORT         NY    14094‐6503
JAMES M TRIOLO                                   BOX 1993                                                                                          MURPHYS          CA    95247‐1993
JAMES M TURGEON                                  6748 ERRICK RD                                                                                    N TONAWANDA      NY    14120‐1106
JAMES M TURNER                                   3924 CRYSTAL ST                                                                                   ANDERSON         IN    46012‐1110
JAMES M TURNER                                   1207 UNIVERSITY AVE                                                                               HUNTSVILLE       TX    77340‐4632
JAMES M VANKIRK                                  3709 EDENDERRY DR                                                                                 TROY             MI    48083‐5120
JAMES M VENCE                                    6869 VIRGINIA RD                                                                                  ATWATER          OH    44201‐9526
JAMES M VICHICH                                  11555 BUNO ROAD                                                                                   BRIGHTON         MI    48114‐9212
JAMES M VINCENT & MARY JANE VINCENT JT TEN       3255 GEORGIAN COURT                                                                               ERIE             PA    16506‐1169
JAMES M WADE                                     2909 CHEYENNE AVE                                                                                 FLINT            MI    48507‐1964
JAMES M WALDEN & DONNA E WALDEN JT TEN           2655 E MAPLE RD                          APT 2                                                    BIRMINGHAM       MI    48009‐5968
JAMES M WALDEN & EDITH W WALDEN JT TEN           904 CYPRESS CT                                                                                    COPPELL          TX    75019‐3157
JAMES M WALKER & JULIANA B WALKER JT TEN         5570 HIGHLANDS VISTA CIR                                                                          LAKELAND         FL    33812
JAMES M WALLACE TR UW ADOLPH E PEARSON           PO BOX 1889                                                                                       BRADENTON        FL    34206‐1889
JAMES M WALTON                                   1617 SE 4TH ST                           #3                                                       DEERFIELD BCH    FL    33441‐4909
JAMES M WARREN                                   1588 KOHRMAN RD                                                                                   OWENSVILLE       MO    65066‐2325
JAMES M WAYMAN                                   7516 HARRIS                                                                                       RAYTOWN          MO    64138‐2315
JAMES M WECKBACHER                               2911 ROHRER RD                                                                                    WADSWORTH        OH    44281‐8315
JAMES M WEIGLE & DIANA J WEIGLE JT TEN           3070 MERWOOD DR                                                                                   MT MORRIS        MI    48458‐8208
JAMES M WEISZ & CANDICE R WEISZ JT TEN           3107 COUNTRY CLUB BLVD                                                                            ORANGE PARK      FL    32073
JAMES M WHATELEY                                 28751 FELECIAN                                                                                    ROSEVILLE        MI    48066
JAMES M WHITENER JR                              ATTN SUSIE JOHNSON                       13216 CALDWELL                                           DETROIT          MI    48212‐2439
JAMES M WICKS                                    14577 TRAILWAY                                                                                    LAKE FOREST      IL    60045‐3415
JAMES M WIELAND & MARGARET R WIELAND JT TEN      7520 WESTLANE                                                                                     JENISON          MI    49428‐8920

JAMES M WILHOITE                                 1200 HARRISON                                                                                     GARDEN CITY      MI    48135‐3029
JAMES M WILK                                     1650 STATE ROAD                                                                                   OMER             MI    48749‐9747
JAMES M WILLIAMS                                 2579 TOLBERT TOWN RD                                                                              ROCKMART         GA    30153‐4468
JAMES M WILLIAMS                                 BOX 143                                                                                           NEW LEBANON      OH    45345‐0143
JAMES M WINTER                                   16 ARGYLE ST                                                                                      LAKE PEEKSKILL   NY    10537‐1237
JAMES M WITTEN                                   406 FANTASIA                                                                                      SAN ANTONIO      TX    78216‐3508
JAMES M WOOFF                                    1013 AYERS AVENUE                                                                                 OJAI             CA    93023‐2001
JAMES M WRIGHT                                   2425 CARINA TERRACE                                                                               ACWORTH          GA    30101‐3450
JAMES M YARBROUGH                                220 OAK HILL DR                                                                                   ROCKMART         GA    30153‐3554
JAMES M YEAGER                                   977 ARISTIDES DR                                                                                  UNION            KY    41091‐8262
JAMES M YEAKLEY                                  41631 N PINION HILLS CT                                                                           ANTHEM           AZ    85086‐1296
JAMES M YODER JR                                 1405 BEACHLAND ST                                                                                 WATERFORD        MI    48328‐4733
JAMES M YUKON                                    480 MONTROSE AVE                                                                                  YOUNGSTOWN       OH    44505‐1519
JAMES M YUST                                     565 E 1550 N                                                                                      SUMMITVILLE      IN    46070‐9352
JAMES M ZURLO & DORENE ZURLO JT TEN              1 SHARP HILL RD                                                                                   RIDGEFIELD       CT    06877‐3735
JAMES M ZURLO CUST JAMES M ZURLO III UGMA NY     1 SHARP HILL RD                                                                                   RIDGEFIELD       CT    06877‐3735
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JAMES M ZWIENER & DONNA K ZWIENER & MARK C     2604 GREEN MOUNTAIN RD                                                                               HUNTSVILLE       AL    35803
ZWIENER JT TEN
JAMES MABREY                                   42003 TODDMARK LN                                                                                    CLINTON TWP      MI    48038‐5401
JAMES MACDONALD                                18429 NORTH FRASER STREET                                                                            GEORGETOWN       SC    29440‐9195
JAMES MACDOUGALL CUST MATTHEW MC DONALD        120 WILLIAMS AVE                                                                                     HYDE PARK        MA    02136‐3920
UGMA MA
JAMES MACEWEN                                  P O BOX 1207                                                                                         MOUNTAIN VIEW    CA    94042
JAMES MACK MANN                                3520 VALLEY HILL RD                                                                                  KENNESAW         GA    30152‐5815
JAMES MACLACHLAN                               4532 E 200 S                                                                                         ANDERSON         IN    46017‐9733
JAMES MADISON & EDITH W MADISON JT TEN         PO BOX 10                                                                                            JEFFERSON CITY   MT    59638‐0010
JAMES MALCOLM FOSTER                           1850 PRINCETON DR                                                                                    TOLEDO           OH    43614‐2932
JAMES MALCOLM FOSTER                           19 COTTAGE RD                         LEEDS                                  LS6 4DD GREAT BRITAIN
JAMES MALCOLM HENRY                            PO BOX 843                                                                                           KINGSTON         TN    37763‐0843
JAMES MALCOLM HUGHES                           89‐21 75TH AVE                                                                                       GLENDALE         NY    11385‐7927
JAMES MALCOLM NELSON                           APT 1402                              11111 87 AVE         EDMONTON AB       T6G 0X9 CANADA
JAMES MALLMAN                                  14273 ST CROIX TRL N                                                                                 STILLWATER       MN    55082‐8576
JAMES MANDUZZI & ANN MARIE MANDUZZI JT TEN     24649 LARGES                                                                                         SOUTHFIELD       MI    48034‐3219

JAMES MANGAS & DEBRA MANGAS JT TEN              4399 GAULT RD                                                                                       NORTH JACKSON    OH    44451‐9713
JAMES MANGIAPANE                                16114 KENNEBEC                                                                                      SOUTHGATE        MI    48195‐2109
JAMES MANLEY & ELLA MARIE MANLEY JT TEN         PO BOX 13                            101 PLEASANT ST                                                BENSON           IL    61516‐0013
JAMES MANNING II & SHARON Y MANNING JT TEN      205 PUTTER POINT CT                                                                                 CHAPIN           SC    29036‐7660
JAMES MANSKE & YOLANDA MANSKE JT TEN            1203 WASHINGTON AVE                                                                                 OSHKOSH          WI    54901‐5357
JAMES MARCISZEWSKI                              2791 S LYNDONVILLE RD                                                                               MEDINA           NY    14103‐9210
JAMES MARCUS MELVIN                             8311 HAYDEN COVE DR                                                                                 TOMBALL          TX    77375‐4729
JAMES MARLEY II                                 41 POPLAR ST                                                                                        NEWBURGH         NY    12550‐4043
JAMES MARRERO                                   2 HUMMING BIRD LANE                                                                                 STONY POINT      NY    10980‐2220
JAMES MARSHALL                                  7926 S 965 E                                                                                        SANDY            UT    84094
JAMES MARSHALL COSHATT JR & TERRY DIANA COSHATT 10323 ANN ARBOR ROAD W                                                                              PLYMOUTH         MI    48170‐5105
JT TEN
JAMES MARTIN                                    PO BOX 386                                                                                          SATSUMA          AL    36572‐0386
JAMES MARTIN HAINES                             PO BOX 225                                                                                          LYNNFIELD        MA    01940‐0225
JAMES MARTINEZ                                  2383 W LAKE RD                                                                                      CLIO             MI    48420‐8838
JAMES MARVIN HILLIGOSS                          6805 N RAIDER RD                                                                                    MIDDLETOWN       IN    47356‐9751
JAMES MARVIN MULLIS JR                          BOX 7757                                                                                            COLUMBIA         SC    29202‐7757
JAMES MASKERONI & MICHELLE D MASKERONI JT TEN 3972 OLD YORK RD                                                                                      MONKTON          MD    21111‐1832

JAMES MASON CUST THOMAS JAMES MASON UGMA WI 4634 RIDGECREST DR                                                                                      RACINE           WI    53403‐9715

JAMES MASON DONNAN III                         246 HAMILTON ROAD                                                                                    ATHENS           GA    30606‐5082
JAMES MATTHEW MARK SANCHEZ & MICHELLE DAWN 9751 LANWARD CIR                                                                                         DALLAS           TX    75238‐2252
SANCHEZ JT TEN
JAMES MATTHEWS                                 17612 DEFOREST AVE                                                                                   CLEVELAND        OH    44128‐2606
JAMES MAXFIELD NORTON CUST DYLAN CHARLES       75 OLD KENT ROAD                                                                                     TOLLAND          CT    06084‐3305
NORTON UGMA CT
JAMES MAY                                      8323 W FARRAGUT AV                                                                                   NORRIDGE         IL    60706‐1460
JAMES MAY JR                                   917 5TH ST SW                                                                                        WARREN           OH    44485‐3820
JAMES MAYO                                     1524 ROCKBRIDGE RD                                                                                   GLASGOW          VA    24555
JAMES MC ALISTAIR WILSON                       3427 DEAN LAKE N E                                                                                   GRAND RAPIDS     MI    49525‐2879
JAMES MC C HAYWARD                             126 ARGILLA RD                                                                                       IPSWICH          MA    01938‐2646
JAMES MC CAUGHNA                               6033 EVANSTON AVE                                                                                    INDIANAPOLIS     IN    46220‐2307
JAMES MC CLEMENTS & LORETTA MC CLEMENTS JT TEN 135 OVERLAKE DR                                                                                      LAKE ORION       MI    48362‐1540

JAMES MC FADDEN & JULIA MC FADDEN JT TEN       7 GASTON PLACE                                                                                       PALM COAST       FL    32164‐8703
JAMES MC GINNIS                                908 RANDALL AVE                                                                                      DAPHNE           AL    36526
JAMES MC GUIRE                                 794 HARRISON STREET                                                                                  RAHWAY           NJ    07065‐3512
JAMES MC KAY SAVAGE                            33 REDBUD LANE                                                                                       MADISON          MS    39110‐9279
JAMES MC LAURIN                                920 N E 32ND                                                                                         OKLAHOMA CITY    OK    73105‐7626
JAMES MC MAHON                                 2427 ADAMS DRIVE                                                                                     LISLE            IL    60532‐2041
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JAMES MCCLURE CUST MICHAEL MCCLURE UTMA OH        752 CLIFFSIDE CIRCLE                                                                            AKRON              OH    44313‐5604

JAMES MCCRYSTAL CUST MATTHEW J MCCRYSTAL          31402 MANCHESTER LANE                                                                           BAY VILLAGE        OH    44140‐1045
UTMA OH
JAMES MCDANIEL                                    21 UNION ST                                                                                     SHERBURNE          NY    13460
JAMES MCDEVITT                                    1700 21ST AVE W                        APT 302                                                  BRADENTON          FL    34205‐5782
JAMES MCDONALD                                    1624 VISTA DE ORO DR                                                                            EL PASO            TX    79935
JAMES MCDOWELL                                    814 POWELL RD                                                                                   TABERNACLE         NJ    08088‐9751
JAMES MCDUFFY                                     400 BOISSEAU AVE                                                                                SHREVEPORT         LA    71101‐2308
JAMES MCMAHON                                     347 RARITAN RD                                                                                  LINDEN             NJ    07036‐5136
JAMES MCNEELY                                     6806 CRANWOOD DRIVE                                                                             FLINT              MI    48505‐1957
JAMES MCNICHOLS JR                                6602 JESSE JACKSON AV                                                                           SAINT LOUIS        MO    63121‐5709
JAMES MCTAGGART                                   6101 42ND PL                                                                                    HYATTSVILLE        MD    20781‐1424
JAMES MEDLON LINDSAY                              14367 GREENFIELD CT                                                                             LIBERTYVILLE       IL    60048‐2491
JAMES MEHAS                                       54 HUNTINGTON COURT                                                                             HAMILTON           OH    45013‐3734
JAMES MELSON                                      14711 LONGACRE                                                                                  DETROIT            MI    48227‐1449
JAMES MELVIN CARTER                               1856 JAVA ST                                                                                    AKRON              OH    44305‐3623
JAMES MELVIN MANN                                 LOT 135                                02934 GRIFFINVIEW DRIVE                                  LADY LAKE          FL    32159‐4669
JAMES MERROW & STACY MERROW JT TEN                8191 NW OLD US HGWAY 169                                                                        GOWER              MO    64454
JAMES MESSINA CUST JOHN JAMES MESSINA UTMA NJ     28 HIGHLAND AVE                                                                                 DOVER              NJ    07801‐3733

JAMES MICHAEL ARANT & SUZANNE R ARANT JT TEN      333 NONANTUM DRIVE                                                                              NEWARK             DE    19711

JAMES MICHAEL BASTONE                             138 SUNSET DR                                                                                   PITTSBURGH         PA    15237‐3741
JAMES MICHAEL CARSON & JAMES T CARSON JT TEN      5678 STRAWBERRY CIRCLE                                                                          COMMERCE TWP       MI    48382

JAMES MICHAEL GORDON FETCHISON                 RR #1                                     HAMPTON ON                             L0B 1J0 CANADA
JAMES MICHAEL GOSSE CUST MICHAEL GOSSE UGMA MI 2575 CROFTHILL DRIVE                                                                               AUBURN HILLS       MI    48326‐3518

JAMES MICHAEL HNILO                               13302 51ST DRIVE SE                                                                             EVERETT            WA    98208‐9511
JAMES MICHAEL HUGHES                              4319 FAIROAKS DR                                                                                COLUMBUS           OH    43214‐2841
JAMES MICHAEL JANOVSKY                            4699 TREELINE DRIVE                                                                             ALLISON PARK       PA    15101‐2527
JAMES MICHAEL NEWTON & MRS LINDA K NEWTON JT      3355 WHITE EAGLE DR                                                                             NAPERVILLE         IL    60564‐4605
TEN
JAMES MICHAEL PRICE III                           7799 MEADOW HILL DR                                                                             FRISCO             TX    75034
JAMES MICHAEL ROGERS                              4211 CUSTER AVE                                                                                 ROYAL OAK          MI    48073‐2436
JAMES MICHAEL SEGESTA & XIAOHONG XIE SEGESTA JT   7721 LUDGWIG CASTLE WAY                                                                         PLANO              TX    75025‐2091
TEN
JAMES MICHAEL SHOW                                2489 BRANDYWINE DR                                                                              DAVISON          MI      48423‐2390
JAMES MICHAEL VOILES                              5008 SOUTHFIELD DR                                                                              FT WAYNE         IN      46804‐1770
JAMES MILANO                                      15 DEB LYNN DR                                                                                  SICKLERVILLE     NJ      08081‐9625
JAMES MILLER                                      16630 PREST AVE                                                                                 DETROIT          MI      48235
JAMES MILLER & CHERYL MILLER JT TEN               17437 TULSA ST                                                                                  GRANADA HILLS    CA      91344‐4732
JAMES MILLER & JEAN J MILLER JT TEN               232 WESTCHESTER DRIVE                                                                           DELAND           FL      32724‐8361
JAMES MILLER JR                                   2 NORWAY PRK                                                                                    BUFFALO          NY      14208‐2519
JAMES MILLS                                       23984 STONEY CREEK DR                                                                           FARMINGTON HILLS MI      48336‐2234

JAMES MILLS CUST DONALD MILLS UGMA IL             520 VOLTZ RD                                                                                    NORTHBROOK         IL    60062‐4710
JAMES MISKO CUST PAMELA JOY MISKO UGMA MI         35635 HATHERLY PL                                                                               STERLING HEIGHTS   MI    48310‐5140

JAMES MITCHELL                                    24011 MANISTEE ST                                                                               OAK PARK           MI    48237‐3719
JAMES MITCHELL                                    1219 W COLDWATER RD                                                                             FLINT              MI    48505‐4821
JAMES MITCHELL & JEWEL MITCHELL JT TEN            5727 COLUMBIA AVE                                                                               HAMMOND            IN    46320
JAMES MITCHUM                                     8297 CARROLTON RIDGE PL                                                                         MECHANICSVLLE      VA    23111‐6525
JAMES MOKRYCKI                                    52 PINEWOOD DR                                                                                  CAROLINA SHORES    NC    28467‐2316

JAMES MOLONY & KATHERINE L MOLONY JT TEN          2160 FOOTHILL LANE                                                                              SANTA BARBARA      CA    93105‐2313
JAMES MONROE BROCK                                RR 1 BOX 63 AAA                                                                                 LAUREL             DE    19956‐9713
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JAMES MONROE VINCENT & LUCILLE BARBIERI VINCENT    2385 HOPKINS STREET                                                                           ORANGE PARK      FL    32073‐5349
JT TEN
JAMES MONROE WALKER                                2507 E CURRY FORD ROAD                                                                        ORLANDO          FL    32806‐2505
JAMES MONTUORO                                     1625 BARBER ST                                                                                SEBASTIAN        FL    32958‐2205
JAMES MOORE                                        691 ENGLAND CREAMERY ROAD                                                                     NORTH EAST       MD    21901‐1527
JAMES MORAN & MRS MARIE T MORAN JT TEN             4015 JEAN AVE                                                                                 BETHPAGE         NY    11714‐4522
JAMES MORGAN JR & ADDIE G MORGAN JT TEN            1502 HERON RIDGE BLVD                                                                         GREENWOOD        IN    46143‐7891
JAMES MORGAN LYLE & MARJORIE R LYLE JT TEN         12901 E 49 TER                                                                                INDEPENDENCE     MO    64055‐5511
JAMES MORRIS                                       12200 WEXFORD CLUB DRIVE                                                                      ROSWELL          GA    30075‐1469
JAMES MORRIS & JEAN MORRIS JT TEN                  12200 WEXFORD CLUB DRIVE                                                                      ROSWELL          GA    30075‐1469
JAMES MORRISON                                     4756 BARCELONA RIDGE CT                                                                       LAS VEGAS        NV    89129‐3681
JAMES MOTT                                         35 EATON ST                                                                                   BUFFALO          NY    14209‐1907
JAMES MULLINS                                      6458 DEERING                                                                                  GARDEN CITY      MI    48135‐2244
JAMES MURL LESTER                                  904 W WILDY                                                                                   ROSWELL          NM    88201‐3718
JAMES MURRAY & MARYANN MURRAY JT TEN               60 DAHLIA ST                                                                                  STATEN ISLAND    NY    10312‐1125
JAMES MURRY KERN                                   4531 KNOX ST                                                                                  LINCOLN          NE    68504‐2063
JAMES MURRY SMITH                                  1586 VIA DEL RIO                                                                              CORONA           CA    92882‐4752
JAMES MURTAGH                                      2715 TALMADGE                                                                                 TOLEDO           OH    43606‐2337
JAMES N ALSTON                                     PO BOX 61201                                                                                  DAYTON           OH    45406‐9201
JAMES N ARMSTRONG                                  1261 FLAMINGO                                                                                 HASLETT          MI    48840‐9737
JAMES N BARNES                                     355 GOING STREET                                                                              PONTIAC          MI    48342‐3428
JAMES N BARTON & MARY J BARTON TR UA 01/05/95      2924 WESSELS DR                                                                               TROY             MI    48098‐7018

JAMES N BRADSHAW                                   45 ST RICHARDS ST                                                                             ROXBURY          MA    02119‐2236
JAMES N BRYANT & SUSAN E BRYANT JT TEN             6127 PENNS VALLEY RD                                                                          AARONSBURG       PA    16820‐9115
JAMES N BUCCALO JR & CAROLEE BUCCALO JT TEN        126 LOWER HILLSIDE DRIVE                                                                      BELLBROOK        OH    45305‐2112

JAMES N CAMPBELL                                   4431 E OUTER DRIVE                                                                            DETROIT          MI    48234‐3126
JAMES N CHILTON JR                                 2865 WESTHOLLOW DR                   APT 17                                                   HOUSTON          TX    77082‐3300
JAMES N CHRISCO                                    RR 2 BOX 38C                                                                                  BUNKER           MO    63629
JAMES N CIAMPO                                     323 RETFORD AVE                                                                               CRANFORD         NJ    07016‐2828
JAMES N COCHRAN                                    2875 TROLLS RD N                     COURTICE ON                            L1E 2N4 CANADA
JAMES N COLLINS & LENORA K COLLINS JT TEN          1803 LINWOOD DRIVE                                                                            BEDFORD          IN    47421‐3921
JAMES N CORBETT III                                8733 TRAILWOOD CT                                                                             NORTH RICHLAND   TX    76180‐1362
                                                                                                                                                 HIL
JAMES N CRYAN                                      5 SPRINGDALE ROAD                                                                             PRINCETON        NJ    08540‐4923
JAMES N CURRIE                                     4620 HILLCREST                                                                                ROYAL OAK        MI    48073‐1704
JAMES N DENNIS                                     1037 VALLEY DR                                                                                CARO             MI    48723‐9509
JAMES N DIEDERICH                                  5551 OAKSHIRE COURT                                                                           KETTERING        OH    45440‐2327
JAMES N DIEDERICH & NATALIE A DIEDERICH JT TEN     5551 OAKSHIRE COURT                                                                           KETTERING        OH    45440‐2327

JAMES N DIEDERICHS                                 16430 PARK LAKE RD LOT #189                                                                   EAST LANSING     MI    48823‐9469
JAMES N DOLAN & ANN MARIE DOLAN VICK JT TEN        201 GOD FROY                                                                                  MONROE           MI    48162‐2725

JAMES N EHRLICH                                    1733 KELLOGG SPRING DR                                                                        ATLANTA          GA    30338‐6009
JAMES N ELLER                                      25110 ST RD 213                                                                               CICERO           IN    46034‐9720
JAMES N ERVIN & JACQUELINE J ERVIN JT TEN          2073 HUNTINGTON                                                                               FLINT            MI    48507‐3575
JAMES N FASO                                       PO BOX 186                                                                                    CRITTENDEN       NY    14038‐0186
JAMES N FLOOD & BARBARA I FLOOD JT TEN             727 GENEVA AVE                                                                                ROMEOVILLE       IL    60446‐1153
JAMES N FLORA                                      803 HENRY DRIVE                                                                               MARSHALLTOWN     IA    50158‐3452
JAMES N FREEMAN JR                                 447 HAWTHORNE RD                                                                              ELKIN            NC    28621‐3022
JAMES N GINSBURG & KIMBERLY T GINSBURG JT TEN      8117 SOUTH WABASH CT                                                                          CENTENNIAL       CO    80112‐3325

JAMES N GOLDSMITH                                  7474 NICHOLS RD                                                                               FLUSHING         MI    48433‐9262
JAMES N GRAVES                                     5674 COPPER CORNER CT SE                                                                      CALEDONIA        MI    49316‐7439
JAMES N HANKINS                                    263 SUNSET VILLA LN                                                                           O FALLON         MO    63366‐2283
JAMES N HART                                       8480 VAN CLEVE                                                                                VASSAR           MI    48768‐9411
JAMES N HENDRIX                                    7806 FENWAY RD                                                                                NEW ALBANY       OH    43054‐8980
JAMES N HICKS & GABRIELLA T HICKS JT TEN           103 TABOR RD                                                                                  OAK RIDGE        TN    37830‐5538
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JAMES N HIGDON & TRENIA D HIGDON JT TEN          101 SPRINGDALE ST                                                                              MARYVILLE          TN    37801‐3832
JAMES N HILL                                     3595 GREGORY RD                                                                                ORION              MI    48359‐2016
JAMES N HILL                                     470 ERICKSEN AVE NE                                                                            BAINBRIDGE IS      WA    98110‐1852
JAMES N HOOD EX SUCCESSION OF CHESTER HOOD       4 N MALLARD RD                                                                                 SAINT PAUL         MN    55127‐2572

JAMES N HOUCK                                    1524 QUINCE DR                                                                                 TOMS RIVER         NJ    08755‐0823
JAMES N HOUSTON JR                               20 LOIS LN                                                                                     FRANKLIN           NC    28734‐5377
JAMES N JONES                                    932 N BAUMAN                                                                                   INDIANAPOLIS       IN    46214‐3716
JAMES N JONES                                    101 W HARZELL LN                                                                               FORSYTH            GA    31029‐5109
JAMES N KIRKWOOD                                 5013 CLINE HOLLOW RD                                                                           EXPORT             PA    15632‐1705
JAMES N KOKONAS CUST NICHOLAS J KOKONAS UGMA     229 W EUGENIE ST                                                                               CHICAGO            IL    60614‐5705
IL
JAMES N LIGHTFOOT                                PO BOX 372                            3898 HWY 43 SOUTH                                        SAINT JOSEPH       TN    38481
JAMES N LONG                                     8074 NORTH LAKE RD                                                                             MILLINGTON         MI    48746‐9610
JAMES N MC CLURE                                 434 MILL STREET                                                                                WILLIAMSVILLE      NY    14221‐5149
JAMES N MCCOY                                    9121 S CRANDON AVE                                                                             CHICAGO            IL    60617‐3849
JAMES N MEDLEY                                   2108 COUNTRYRIDGE LANE                                                                         VESTAVIA           AL    35243‐4317
JAMES N MEEKS                                    11000 HENNING DRIVE                                                                            CHARDON            OH    44024‐9796
JAMES N MILLER                                   10135 E US HWY 136                                                                             INDIANAPOLIS       IN    46234‐9088
JAMES N MINOR                                    5103 S NEENAH AVE                                                                              CHICAGO            IL    60638‐1203
JAMES N MORGAN & SHEILA V MORGAN JT TEN          1066 NILES VIENNA RD                                                                           VIENNA             OH    44473‐9503
JAMES N NELSON JR                                8409 PICKWICK LANE #161                                                                        DALLAS             TX    75225‐5323
JAMES N NEUMAN                                   24034 ROBINWOOD ST                                                                             LEESBURG           FL    34748‐7890
JAMES N NEUMANN & PAULINE L NEUMANN JT TEN       24034 ROBINWOOD ST                                                                             LEESBURG           FL    34748‐7890

JAMES N NEWHOUSE                                 79 HERITAGE DRIVE                                                                              LANCASTER          NY    14086‐1027
JAMES N PAAS JR                                  6566 LONNEE                                                                                    COMSTOCK PARK      MI    49321‐9763
JAMES N PASLEY CUST JONATHAN NEVILLE PASLEY      120 NORMANDY RD                                                                                LITTLE ROCK        AR    72207‐5122
UGMA AR
JAMES N PEFFLY                                   621 BOCA CIEGA POINT BLVD N                                                                    ST PETERSBURG      FL    33708‐2729
JAMES N PERKINS                                  2997 E GRAND RIVER                                                                             WILLIAMSTON        MI    48895‐9503
JAMES N POMES                                    BOX 552                                                                                        THREE LAKES        WI    54562‐0552
JAMES N POOL                                     23246 AL HYWY 157                                                                              TOWN CREEK         AL    35672‐9801
JAMES N REDDEN                                   8442 SW RIVIERA DR                                                                             ARCADIA            FL    34269‐6856
JAMES N RENFROE                                  16176 BIRWOOD                                                                                  DETROIT            MI    48221‐2802
JAMES N RICE                                     993 SEYMOUR LAKE RD                                                                            OXFORD             MI    48371‐4661
JAMES N RICKABAUGH                               37855 CARPATHIA BLVD                                                                           STERLING HEIGHTS   MI    48310‐3860

JAMES N ROSS                                     901 E 14TH ST                                                                                  GEORGETOWN         IL    61846‐6042
JAMES N SCREWS                                   18 WALL ST                                                                                     PONTIAC            MI    48342‐3156
JAMES N SHEPPARD                                 4811 HWY 58                                                                                    BUFFALO JUNC       VA    24529‐4111
JAMES N SIMKO                                    6450 N OWOSSO ROAD                                                                             FOWLERVILLE        MI    48836‐8724
JAMES N SIZEMORE                                 156 WARREN AVE                                                                                 ELYRIA             OH    44035‐6236
JAMES N STATEN & MIRIAM R STATEN JT TEN          170 HIGHLAND AVENUE                   PO BOX 48                                                VERPLANCK          NY    10596‐0048
JAMES N STAUDER & KATHLEEN C STAUDER JT TEN      9825 BECKER AVE                                                                                ALLEN PARK         MI    48101‐1336
JAMES N STURGIS                                  3027 PHYLLIS LANE                                                                              DALLAS             TX    75234‐6426
JAMES N SYLTE                                    703 E CAVOUR AVE                      APT 2                                                    FERGUS FALLS       MN    56537‐2275
JAMES N TABELLION & SUZANNE O TABELLION JT TEN   13107 OLD MUDBROOK RD                                                                          MILAN              OH    44846‐9702

JAMES N TATE TR UA 01/29/2008 MARY JEAN TATE     15 BRENT ST                                                                                    ALBANY             NY    12205
FAMILY TRUST
JAMES N THORPE                                   3920 WYNDWOOD DR                                                                               CRYSTAL LAKE       IL    60014‐6567
JAMES N TRIMBLE                                  214 SAYLES AVE                                                                                 PASCOAG            RI    02859‐3168
JAMES N VANRIPER & DOROTHY I VANRIPER JT TEN     4019 NE 161ST AVE                                                                              VANCOUVER          WA    98682‐7485

JAMES N VILLELLA                                 6854 S WHETSTONE PL                                                                            CHANDLER           AZ    85249‐9149
JAMES N VROMAN                                   4021 SPRING HUE LANE                                                                           DAVISON            MI    48423‐8900
JAMES N WADE & LYNDA WADE JT TEN                 216 S MAPLE                                                                                    ITASCA             IL    60143‐2005
JAMES N WARDER                                   305 FELTON RD                                                                                  LUTHERVILLE        MD    21093‐6409
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Name                                               Address1                            Address2             Address3          Address4          City              State Zip

JAMES N WILLIAMS                                   1320 FLAT ROCK RD                                                                            VILLA RICA        GA    30180‐3785
JAMES N WILSON                                     2114 FORGE RD                                                                                SANTA BARBARA     CA    93108‐2238
JAMES N WILSON                                     8951 CORNELL                                                                                 CHICAGO           IL    60617‐2804
JAMES N ZARR                                       13413 OWEN RD                                                                                BROOKLYN          MI    49230‐9593
JAMES NAKASONE & MARIAN NAKASONE JT TEN            60 HAUOLA AVE                                                                                WAHIAWA           HI    96786‐2302
JAMES NATHAN MCCOLLOUGH                            1211 TILLEREE LN                                                                             CPE GIRARDEAU     MO    63701‐3711
JAMES NATOLI JR                                    ATTN WBTC RADIO STATION             125 JOHNSON DRIVE                                        UHRICHSVILLE      OH    44683‐1017
JAMES NEIKART                                      689 INDIANA DRIVE                                                                            HOWELL            MI    48843‐1747
JAMES NELSON EILER                                 107 KITCHELL AVE                                                                             PANA              IL    62557‐1454
JAMES NEMATH JR                                    301 S 6TH ST                        APT 110                                                  WATERFORD         WI    53185‐4495
JAMES NEMEC                                        PO BOX 496                          BRENTWOOD BAY BC                       V8M 1R3 CANADA
JAMES NEWTON SPENCER                               4109 SINCLAIR AVE                                                                            AUSTIN            TX    78756‐3524
JAMES NICHOLAS LONGO                               980 BURGUNDY DR                                                                              MARION            OH    43302‐6621
JAMES NIXON                                        30971 MEADOW BROOK AVE                                                                       HAYWARD           CA    94544‐7543
JAMES NIZNIK                                       9391 LATHERS                                                                                 LIVONIA           MI    48150‐4127
JAMES NOBLE REES                                   2023 POINSETT DR                                                                             ROCK HILL         SC    29732‐1235
JAMES NOBLE SMITH                                  852 HAMILTON                                                                                 TOLEDO            OH    43607‐4422
JAMES NOONE & MARY NOONE JT TEN                    50 SYCAMORE AVE                                                                              HO HO KUS         NJ    07423‐1543
JAMES NORMAN WELCH JR                              38 GINGERBREAD HILL                                                                          MARBLEHEAD        MA    01945‐2637
JAMES NORTON                                       12817 SPARTA AVE                                                                             KENT CITY         MI    49330‐9431
JAMES NORTON KREBS                                 84 HARBOR AVE                                                                                MARBLEHEAD        MA    01945‐3851
JAMES NOVEMBER                                     302 E BROAD ST                                                                               NEWTON FALLS      OH    44444‐1711
JAMES O ALBER & JAMES CROWELL ALBER JT TEN         6325 RAY RD                                                                                  SWARTZ CREEK      MI    48473‐9122
JAMES O ALEXANDER                                  303 W MAIN ST                                                                                CARTERSVILLE      GA    30120‐3422
JAMES O ALEXANDER JR                               11750 MINDEN                                                                                 DETROIT           MI    48205‐3765
JAMES O BAGWELL                                    331 INDIAN LAKE RD                                                                           HENDERSONVLLE     TN    37075‐4537
JAMES O BAKER                                      PO BOX 338                                                                                   NEWBERRY          SC    29108‐0338
JAMES O BAXTER                                     70544 LAKEVIEW DRIVE N                                                                       WHITE PIGEON      MI    49099‐9046
JAMES O BOLEY                                      43264 FOREST OAKS CT                                                                         LEESBURG          VA    20176
JAMES O BOYD                                       1540 HIGHWAY 138 NW                                                                          MONROE            GA    30655‐5653
JAMES O BRIDGES                                    725 HARVEYTOWN RD                                                                            TYLERTOWN         MS    39667‐5928
JAMES O BUNDY                                      225 ROBERT TOOMBS AVENUE                                                                     WASHINGTON        GA    30673
JAMES O BURGET                                     2 WHITAKER COURT                                                                             BEAR              DE    19701‐2383
JAMES O BYRD                                       381 BYRD ROAD                                                                                OXFORD            GA    30054‐3809
JAMES O CAIN                                       30 FAIRY DR                                                                                  HAMILTON          OH    45013‐4412
JAMES O CARPENTER                                  2905 S I35 W                                                                                 BURLESON          TX    76028
JAMES O CHAFFINCH                                  27421 MUD MILL RD                                                                            HENDERSON         MD    21640‐1656
JAMES O CHAILLE                                    2232 S LAYTON RD                                                                             ANDERSON          IN    46011‐2935
JAMES O CHESMORE                                   538 S MAIN ST                                                                                JANESVILLE        WI    53545‐4848
JAMES O CLARK                                      3549 CONNON DRIVE                                                                            NEW PORT RICHEY   FL    34652‐6215

JAMES O CONKLIN II                                 10649 MEADOWFIELD CT                                                                         DAYTON            OH    45458‐4745
JAMES O CONKLIN II & MARJORIE L CONKLIN JT TEN     10649 MFEADOWFIELD CT                                                                        DAYTON            OH    45458‐4745

JAMES O CROMWELL                                   229 BOBCAT RD                                                                                GRAYSON           KY    41143‐7852
JAMES O CROSS                                      3434 CORWIN RD APT 912                                                                       WILLIAMSTON       MI    48895‐9762
JAMES O CRUM                                       1551 PLUM CREEK DR                                                                           FINDLAY           OH    45840‐6296
JAMES O DAKE                                       320 MONTGOMERY                                                                               SAINT CHARLES     MO    63301‐2062
JAMES O DAVIS & CHARLOTTE E DAVIS JT TEN           512 BRANDED BLVD                                                                             KOKOMO            IN    46901‐4054
JAMES O ELLIS JR                                   5264 LONGFORD RD                                                                             DAYTON            OH    45424‐2547
JAMES O EVANS JR                                   2607 SULGRAVE CV                                                                             MEMPHIS           TN    38119‐7726
JAMES O FOX                                        7620 LYONS RD RFD 2                                                                          PORTLAND          MI    48875‐9699
JAMES O GORDON                                     119 NYLER CT                                                                                 MONCKS CORNER     SC    29461‐8521
JAMES O GREULE                                     3263 DEMONT RD                                                                               SENECA FALLS      NY    13148‐9412
JAMES O GRIFFIN                                    9415 BURR STREET                                                                             OAKLAND           CA    94605‐4709
JAMES O GRIGSBY                                    7717 B‐A BLVD                                                                                GLEN BURNIE       MD    21061
JAMES O HAMPTON                                    410 NORMANDY RD                                                                              LOUISBURG         NC    27549‐7539
JAMES O HARRIS                                     8102 NORTHLAWN                                                                               DETROIT           MI    48204‐3286
JAMES O HENSLEY                                    6143 ATLAS VALLEY DR                                                                         GRAND BLANC       MI    48439‐7805
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JAMES O HIGGINS                                  8013 EL MANOR AVE                                                                               LOS ANGELES     CA    90045‐1433
JAMES O HOBSON                                   1601 ROBERT BRADBY DR                  APT 713                                                  DETROIT         MI    48207‐3857
JAMES O HOOD                                     8051 SYLVESTER                                                                                  DETROIT         MI    48214‐1132
JAMES O HOWARD                                   1020 BURNTWOOD DRIVE                                                                            MEDINA          OH    44256‐2161
JAMES O HUDGINS                                  1103 GREEN MEADOWS DR                                                                           GRAND BLANC     MI    48439‐8903
JAMES O IRONS                                    117 WEST LAKESIDE DR                                                                            FLORENCE        AL    35630‐3238
JAMES O JOHNSON                                  PO BOX 8605                                                                                     BOSSIER CITY    LA    71113‐8605
JAMES O KELLY                                    7085 DENMARK ST                                                                                 ENGLEWOOD       FL    34224‐9501
JAMES O LUCAS                                    20463 ARDMORE ST                                                                                DETROIT         MI    48235‐1510
JAMES O MALONEY                                  477 SHREWSBURY DRIVE                   ORION TOWNSHIP                                           CLARKSTON       MI    48348‐3671
JAMES O MARTIN & ALICE V MARTIN JT TEN           11722 W 950 N 57                                                                                MILLERSBURG     IN    46543‐9603
JAMES O MCDONALD                                 3614 PLUM BROOK CIRCLE                                                                          SANDUSKY        OH    44870‐6052
JAMES O MILLS                                    8075 FREDA                                                                                      DETROIT         MI    48204‐3125
JAMES O MOUNCE JR & DONNA J MOUNCE JT TEN        677 OCALA ROAD                                                                                  SOMERSET        KY    42501
JAMES O NUNLEY                                   5121 BACKWOODSMAN AVE                                                                           LAS VEGAS       NV    89130‐1593
JAMES O ODLE                                     5217 FM 1840                                                                                    NEW BOSTON      TX    75570‐5512
JAMES O PARTIN                                   898 SPRING CREEK RD                                                                             LAFAYETTE       TN    37083‐4202
JAMES O PATTON                                   9350 S 82ND AVE                                                                                 HICKORY HILLS   IL    60457‐1912
JAMES O PENNIX                                   205 STURDY RD                          APT 19                                                   VALPARAISO      IN    46383‐5270
JAMES O POND TR JACKOLINE F ROSS TRUST UA        151 STONEY RIDGE DR                                                                             LONGWOOD        FL    32750‐2790
09/15/80
JAMES O POWELL                                   5692 SEMINOLE                                                                                   DETROIT         MI    48213‐2528
JAMES O RICHERT                                  4484 NORMAN RD                                                                                  BURTCHVILLE     MI    48059‐2103
JAMES O RIPLEY & AUDREY Y RIPLEY JT TEN          23533 BROOKS RD                                                                                 CHATSWORTH      CA    91311‐6303
JAMES O ROCHE                                    G6059 DETROIT ST                                                                                MT MORRIS       MI    48458
JAMES O ROGERS                                   2807 RED LION CT                                                                                DAYTON          OH    45440‐2322
JAMES O SENTERS                                  4149 FOREST AVE                                                                                 NORWOOD         OH    45212‐3339
JAMES O SHELTON                                  3232 WINDSOR AVE                                                                                KANSAS CITY     MO    64123‐1135
JAMES O SIMON                                    1000 BERKELEY ROAD                                                                              WILMINGTON      DE    19807‐2814
JAMES O SIMON CUST EDWARD F SIMON UGMA DE        1000 BERKELEY RD                                                                                WILMINGTON      DE    19807‐2814

JAMES O SIMON CUST JOHN W SIMON UGMA DE          1000 BERKELEY RD                                                                                WILMINGTON      DE    19807‐2814
JAMES O SIMPSON & GLENDA J SIMPSON JT TEN        1160 WINTERGREEN CV                                                                             CORDOVA         TN    38018‐8828
JAMES O SMITH                                    15790 WARD                                                                                      DETROIT         MI    48227‐4081
JAMES O STOCKS                                   525 SPRUCEVIEW LANE                                                                             FOWLERVILLE     MI    48836
JAMES O TREADWAY                                 1623 W 150 N                                                                                    SUMMITVILLE     IN    46070
JAMES O TRICK                                    6592 CORTLAND AVE                                                                               BRIGHTON        MI    48114‐5309
JAMES O TROUP                                    10770 GLORIA GREER LN                                                                           HOLLY           MI    48442‐8606
JAMES O WATSON TR JAMES O WATSON REV LIV TRUST   3497 CAROLINE BLVD                     PO BOX 914                                               PENNEY FARMS    FL    32079‐0914
UA 03/24/00
JAMES O WESNER                                   7681 N SCOTT RD RT #3                                                                           ST JOHNS        MI    48879‐9470
JAMES O ZEMKE                                    515 N LARK ST                                                                                   OSHKOSH         WI    54902‐4209
JAMES OCONNOR                                    JOHN O DONNELL                         ST MICHAEL ST        TIPPERARY         IRELAND
JAMES OGBURN                                     3855 PHILIP                                                                                     DETROIT         MI    48215‐2323
JAMES OGDEN                                      75 WASHINGTON ST                                                                                POUGHKEEPSIE    NY    12601‐2303
JAMES OLEN PARTAIN                               607 S 6TH ST                                                                                    LANETT          AL    36863‐2617
JAMES OLIVER BURNS                               1159 KINGSTON A                                                                                 FLINT           MI    48507‐4741
JAMES OLIVER MCCOWAN                             9368 N COUNTY ROAD 775 E                                                                        LOSANTVILLE     IN    47354‐9613
JAMES ORMOND                                     22 TAYROW RD                           REXDALE ON                             M9W 2T9 CANADA
JAMES OROURKE                                    100 WILLARD ST                         APT 35                                                   HOUSTON         TX    77006‐2167
JAMES ORRIS HULETT                               13550 MERCIER                                                                                   SOUTHGATE       MI    48195‐1226
JAMES OSCAR JACKSON                              4708 EAST 34TH                                                                                  INDIANAPOLIS    IN    46218‐2313
JAMES OSCAR MARTIN                               33 SIDNEY ST                                                                                    BUFFALO         NY    14211‐1134
JAMES OSTIS CUST WILLIAM J OSTIS UGMA MA         1541 MIDDLESEX ST #33                                                                           LOWELL          MA    01851‐1168
JAMES OTIS COCKRUM JR                            2135 LEEDS LANE                                                                                 WINSTON‐SALEM   NC    27103‐5744
JAMES OTIS TRAVIS                                1061 ARAPAHO DR                                                                                 BURTON          MI    48509
JAMES OVERBY                                     19032 KNOLLEW LN                                                                                LAKEWOOD        WI    54138‐9669
JAMES OVERTON                                    629 CLUBHOUSE WA                                                                                CULPEPER        VA    22701‐4295
JAMES OWEN DIBBLE                                647 WIGHTMAN ST                                                                                 VASSAR          MI    48768‐1516
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JAMES OWEN HOLLARS                                2121 GREENSIDE DRIVE                                                                            VALRICO         FL    33594‐3108
JAMES OWEN YZENBAARD                              7574 WEST DEVONWOOD DR                                                                          BOISE           ID    83703‐2169
JAMES OWENS                                       418 FEDERAL ST                                                                                  MILTON          DE    19968
JAMES P AARON                                     45 W GLASS                                                                                      ORTONVILLE      MI    48462‐8519
JAMES P ADAMS                                     PO BOX 264                                                                                      VALLEY CITY     OH    44280‐0264
JAMES P ADAMS                                     387 WITEELER RAND RD                   CHARLESTOWN NH 03603                                     CHARLESTOWN     NH    03603
JAMES P AKIN                                      305 POETE ST                                                                                    NATCHITOCHES    LA    71457‐4336
JAMES P ALLEN                                     26721 GRANDMONT ST                                                                              ROSEVILLE       MI    48066‐3239
JAMES P ARNOLD                                    12599 MAPLE LAKE DR SE                                                                          MENTOR          MN    56736‐9446
JAMES P ASH & SALLIE A ASH JT TEN                 1108 VIRGINIA AVE                                                                               CRYSTAL CITY    MO    63019‐1236
JAMES P AVERITT                                   240 YAWGOO VALLEY RD                                                                            EXETER          RI    02822‐5209
JAMES P AVERY                                     9204 SELLERS PL                                                                                 PICAYUNE        MS    39466‐9708
JAMES P BAKER                                     3755 BREAKER STREET                                                                             WATERFORD       MI    48329‐2217
JAMES P BANYASE & LINDA M BANYASE JT TEN          5139 FIVE LAKES RD                                                                              NORTH BRANCH    MI    48461‐8881
JAMES P BARAGLIA                                  W5050 COBBLESTONE RD                                                                            WALWORTH        WI    53184‐5939
JAMES P BARRETT                                   19449 EAGLE RIDGE LN                                                                            NORTHRIDGE      CA    91326‐3802
JAMES P BASSINGER                                 862 STEVENS TRL                                                                                 MONROE          MI    48161‐4593
JAMES P BIRD                                      16008 TC LEA UNIT B                                                                             INDEPENDENCE    MO    64050
JAMES P BODLE                                     3440 PLUMERIA PLACE                                                                             COSTA MESA      CA    92626‐1731
JAMES P BOOTHBY                                   19 DECOU AVE                                                                                    TRENTON         NJ    08628‐2908
JAMES P BOSTIC & ROBERTA J BOSTIC JT TEN          2620 WILLIS DR                                                                                  HARRISBURG      NC    28075‐6663
JAMES P BREEN JR                                  8916 DEARDOF RD                                                                                 FRANKLIN        OH    45005‐1460
JAMES P BRENNAN                                   2320 43RD AVE EAST                     #16                                                      SEATTLE         WA    98112‐2781
JAMES P BRENNAN                                   5 ROSAL DR                                                                                      CARMEL          NY    10512‐9810
JAMES P BRETZ                                     8359 BERGIN RD                                                                                  HOWELL          MI    48843‐9032
JAMES P BREWSTER                                  1135 POMFRET RD                                                                                 HAMPTON         CT    06247‐1218
JAMES P BUHLINGER                                 16809 HUNTINGTON WOODS                                                                          MACOMB          MI    48042‐2928
JAMES P BUMPS                                     11248 FALLING WATER WAY                                                                         FISHERS         IN    46038‐4297
JAMES P CALAI                                     2503 KNOLLWOOD AVE                                                                              YOUNGSTOWN      OH    44514‐1529
JAMES P CALCAGNI & DEBBIE A CALCAGNI JT TEN       4300 WESTFORD PL UNIT 13C                                                                       CANFIELD        OH    44406
JAMES P CAMP                                      3030 WEST CLARENCE ROAD                                                                         HARRISON        MI    48625‐9516
JAMES P CAMPBELL JR                               34775 SPRING VALLEY                                                                             WESTLAND        MI    48185‐9462
JAMES P CARLIN                                    APT 4                                  11471 E HUFFMAN DR                                       PARMA           OH    44130‐2234
JAMES P CARSON                                    21730 KIPLING ST                                                                                OAK PARK        MI    48237‐3820
JAMES P CARSON & MARY JEAN CARSON JT TEN          21730 KIPLING ST                                                                                OAK PARK        MI    48237‐3820
JAMES P CARTER                                    1618 LENORE AVE                                                                                 LANSING         MI    48910‐2645
JAMES P CARTMELL                                  9616 VELVET LEAF CIR                                                                            SAN RAMON       CA    94583‐3068
JAMES P CARUSO                                    26 CHIMING RD                                                                                   NEW CASTLE      DE    19720‐2913
JAMES P CASEY                                     306 EMMA AVE                                                                                    NILES           OH    44446‐1615
JAMES P CASEY                                     6413 OLD ORCHARD LN                                                                             WATERLOO        IL    62298‐2121
JAMES P CASSIDY                                   14 ONSET BAY LN                                                                                 BUZZARDS BAY    MA    02532
JAMES P CASSIDY SR CUST JAMES P CASSIDY JR UTMA   238 LUND RD                                                                                     NASHUA          NH    03060‐4828
NH
JAMES P CELEBREZZE                                4115 OVERBROOK DR                                                                               CLEVELAND       OH    44141‐1845
JAMES P CLAREY                                    2801 E T AVE                                                                                    PORTAGE         MI    49002‐7530
JAMES P CLARK JR                                  176 WASHINGTON AVE                                                                              ISLAND PARK     NY    11558‐1830
JAMES P CLEMENTS                                  4409 W CARO RD                                                                                  CARO            MI    48723‐9675
JAMES P COEN                                      512 BAY DALE COURT                                                                              ARNOLD          MD    21012‐2352
JAMES P COLLIER & KATHERINE C COLLIER JT TEN      PO BOX 2641                                                                                     BONITA SPGS     FL    34133‐2641
JAMES P COLLINS                                   200 MARTS PL                           APT F8                                                   WELLINGTON      OH    44090‐1135
JAMES P COLLYER                                   35922 GLENWOOD                                                                                  WESTLAND        MI    48186‐5408
JAMES P COLT & MARY R COLT JT TEN                 3 LANSING HEIGHTS                                                                               LANSING         NY    14882‐8863
JAMES P CONERLY                                   12748 PROVIDENCE ROAD EXT                                                                       KEITHVILLE      LA    71047
JAMES P CONNELLY                                  2100 KINGS HWY                         LOT 234                                                  PT CHARLOTTE    FL    33980‐4220
JAMES P COSTAKIS                                  PO BOX 264 RT 209                                                                               CUDDEBACKV LE   NY    12729
JAMES P COVINGTON                                 4447 E COUNTY RD P                                                                              BELOIT          WI    53511‐9741
JAMES P COX & MRS ALICE F COX JT TEN              1408 VILLAGE DR                                                                                 SOUTH           WV    25309‐2430
                                                                                                                                                  CHARLESTON
JAMES P CROWE & V GAIL CROWE JT TEN               1442 LAUREL OAK DRIVE                                                                           AVON            IN    46123
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JAMES P CUMMINGS                               917 W LOCKWOOD AVE                                                                              GLENDALE           MO    63122‐4860
JAMES P CUTHBERTSON JR & FRANCES A CUTHBERTSON 8269 MANCHESTER                                                                                 GRAND BLANC        MI    48439‐9559
JT TEN
JAMES P DAYS                                   14383 BOICHOT RD                                                                                LANSING            MI    48906‐1090
JAMES P DEVAULT                                7910 WALTERS RD                                                                                 LAINGSBURG         MI    48848‐8794
JAMES P DEVEREAUX JR                           5059 SHUNPIKE ROAD                                                                              LOCKPORT           NY    14094‐9715
JAMES P DEVLIN                                 415 VANDERBILT ST                      APT 2‐C                                                  BROOKLYN           NY    11218‐1017
JAMES P DICKSON JR                             18035 GRIGGS                                                                                    DETROIT            MI    48221‐2430
JAMES P DIESTEL & MRS CLAIRE E DIESTEL JT TEN  210 CASITAS                                                                                     SAN FRANCISCO      CA    94127‐1604
JAMES P DIESTEL JR                             210 CASITAS                                                                                     SAN FRANCISCO      CA    94127‐1604
JAMES P DOMBROWSKI                             8975 SUNCREST                                                                                   STERLING HEIGHTS   MI    48314

JAMES P DOUGLASS                                 6331 FALCON LN                                                                                GAINESVILLE        GA    30506‐2428
JAMES P DOYLE                                    15 PINESIDE LN                                                                                SAVANNAH           GA    31411‐3079
JAMES P DYAR                                     7777 DOUGLAS RD                                                                               LAMBERTVILLE       MI    48144‐9628
JAMES P EBERLE                                   1643 NORTHVIEW DR                                                                             LOWELL             IN    46356‐2436
JAMES P EDEE                                     98 WHITLOCK AVENUE                   APT 3504                                                 MARIETTA           GA    30064
JAMES P EHNINGER                                 6774 HURON ST                                                                                 CASEVILLE          MI    48725‐9578
JAMES P ELLIOTT                                  620 ROSE ST                                                                                   PETOSKEY           MI    49770‐2534
JAMES P ENRIGHT                                  23 WOOD AVENUE                                                                                ENGLISHTOWN        NJ    07726‐1643
JAMES P FADA & PATRICIA C FADA JT TEN            616 EAST AVE                                                                                  ELYRIA             OH    44035‐5819
JAMES P FARRELL                                  3796 DIXIE HWY                                                                                BEDFORD            IN    47421‐8242
JAMES P FERRONE                                  95 LAKEVIEW AVE                                                                               RINGWOOD           NJ    07456
JAMES P FIELDER                                  11255 GARLAND RD #1302LB34                                                                    DALLAS             TX    75218‐2526
JAMES P FIORITA JR                               4163 WOODACRE DRIVE                                                                           BELLBROOK          OH    45305‐1342
JAMES P FLEMINGER & BONNIE L FLEMINGER JT TEN    9752 LAKESIDE LANE                                                                            PORT RICHEY        FL    34668‐4026

JAMES P FOLSOM                                   1324 N KING ST                       STE A                                                    WILMINGTON         DE    19801‐3239
JAMES P FOSTER                                   1087 WALNUT                                                                                   WYANDOTTE          MI    48192‐4413
JAMES P FREEMAN                                  1339 FROMM                                                                                    SAGINAW            MI    48603‐5420
JAMES P FREESTON                                 400 FRANKLIN STREET APT 108                                                                   WEST READING       PA    19611
JAMES P FUSSELL                                  623 SUNSET RIDGE LN                                                                           LEXINGTON          NC    27295‐8771
JAMES P GALETTO                                  4271 LANCASHIRE LN                                                                            MILFORD            MI    48380‐1126
JAMES P GALLAGAN SR                              89 LONSDALE ST APT 3                                                                          W WARWICK          RI    02893‐3366
JAMES P GLEASON                                  6421 TYRONE CIR                                                                               HUNTINGTON         CA    92647‐2914
                                                                                                                                               BEACH
JAMES P GOLDMAN & SUSAN GOLDMAN JT TEN           5281 FORBES AVE                                                                               PITTSBURGH         PA    15217‐1161
JAMES P GONDEK SR                                3016 TRACON DR                                                                                WHITE HOUSE        TN    37188‐4050
JAMES P GORE CUST PAUL CHASE GORE UGMA TN        114 AUDUBON ROAD                                                                              SHELBYVILLE        TN    37160‐4602
JAMES P GURLEY                                   5016 SAN MIGUEL                                                                               TAMPA              FL    33629‐5429
JAMES P HAGGERTY CUST JAMIE SUE HAGGERTY UGMA    3718 ROSE GLENN DR                                                                            TOLEDO             OH    43615‐1136
OH
JAMES P HAMELINK                                 6413 DALE RD                                                                                  NEWFANE            NY    14108‐9763
JAMES P HARGREAVES TR JAMES P HARGREAVES TRUST   4714 TOBI DR                                                                                  CONCORD            CA    94521‐1409
UA 08/21/77
JAMES P HARRIS                                   218 WALNUT ST                                                                                 CRYSTAL CITY       MO    63019‐1919
JAMES P HASEMEYER & MARGARET HASEMEYER JT TEN    7836 S JACKSON CR                                                                             LITTLETON          CO    80122‐3521

JAMES P HAUKEDAHL & LINDA S HAUKEDAHL JT TEN     2606 EVERGREEN RD                                                                             FARGO              ND    58102‐2118

JAMES P HEDLUND                                  4796 BELL OAK RD E                                                                            WEBBERVILLE        MI    48892‐9754
JAMES P HEICHELBECH                              4257 WEIDNER RD                                                                               SHELBY             OH    44875‐9029
JAMES P HENRY                                    PO BOX 3444                                                                                   SONORA             CA    95370‐3444
JAMES P HERNDON                                  1326 SCROLL STREET                                                                            SEBASTIAN          FL    32958‐6018
JAMES P HICKS                                    6931 ROCKBRIDGE RD                                                                            STONE MOUNTAIN     GA    30087‐4706

JAMES P HILLYARD                                 7919 COUNTY ROAD 49                                                                           CANEADA            NY    14717‐8750
JAMES P HOIBIERRE                                21734 VISNAW CT                                                                               SAINT CLAIR SHORES MI    48081‐1205
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JAMES P HOLCOMB                                 674 CHARWOOD DR                                                                                CINCINNATI       OH   45244‐1315
JAMES P HOLZ                                    1485 POWELLS TAVERN PL                                                                         HERNDON          VA   20170‐2882
JAMES P HOMA                                    4000 MEADOWBROOK DR                                                                            LEAVITTSBURG     OH   44430‐9607
JAMES P HOOPES                                  6511 FOX PATH                                                                                  CHANHASSEN       MN   55317‐9282
JAMES P HORGAN                                  810 RIVER BEND RD                                                                              MAMMOTH SPG      AR   72554‐9781
JAMES P HORGAN & SCOTT A HORGAN JT TEN          810 RIVER BEND RD                                                                              MAMMOTH SPG      AR   72554‐9781
JAMES P HUBBARD                                 603 JACKSON LN                                                                                 MIDDLETOWN       OH   45044‐4962
JAMES P HUGHES                                  9909 JASMINE CREEK DR                                                                          AUSTIN           TX   78726‐2412
JAMES P HURD JR                                 15245 S R 725 W                                                                                GERMANTOWN       OH   45327‐9561
JAMES P HYSS                                    8421 N OSCEOLA                                                                                 NILES            IL   60714‐2009
JAMES P JILBERT                                 647 SLEEPY HOLW                                                                                MILFORD          MI   48381‐4415
JAMES P JOHNSON                                 2159 ROSE                                                                                      LINCOLN PARK     MI   48146‐2558
JAMES P JOHNSON                                 517 DONSON DR                                                                                  LANSING          MI   48911‐6543
JAMES P JOYCE                                   547 SPRINGDALE DRIVE                                                                           PITTSBURGH       PA   15235‐1811
JAMES P KACZOROWSKI                             2290 SOLON                                                                                     CEDAR SPRINGS    MI   49319‐8472
JAMES P KANE                                    1102 POST OAK CT                                                                               FORISTELL        MO   63348‐2403
JAMES P KANE                                    1030 NEWBRIDGE ROAD                                                                            RISING SUN       MD   21911‐1134
JAMES P KANZLER                                 4 WELLINGTON COURT                                                                             WALLKILL         NY   12589‐2634
JAMES P KENNEDY                                 6692 WILLOW CREEK DR                                                                           HUBER HEIGHTS    OH   45424‐2485
JAMES P KENNEDY JR                              435 CURTIS AVENUE                                                                              PENNSAUKEN       NJ   08110‐3814
JAMES P KERKMAZ                                 16464 EDINBURGH                                                                                CLINTON TOWNSHIP MI   48038‐2704

JAMES P KESTER                                  PO BOX 1702                                                                                    FT MYER         VA    22211‐0702
JAMES P KIEL                                    413 E PACE AVE                                                                                 TRENTON         OH    45067‐1915
JAMES P KIERNAN & MARY ANN KIERNAN JT TEN       1016 GROVE                                                                                     ROYAL OAK       MI    48067‐1407
JAMES P KILKENNY                                5 BECKETT ROD                         DONVALE 3111 VICTORIA                  AUSTRALIA
JAMES P KILLORAN                                728 WESTCROFF PLACE                                                                            WESTCHESTER     PA    19382
JAMES P KINNEY                                  6129 LANCING RD                                                                                PERRY           MI    48872‐9800
JAMES P KOCSIS                                  4281 MILLER RD                                                                                 STERLING        MI    48659‐9439
JAMES P KOECHLEY                                33 BELLVIEW                                                                                    CHAGRIN FALLS   OH    44022‐3201
JAMES P KONEN                                   203 MAGNOLIA RD                                                                                PEMBERTON       NJ    08068‐1805
JAMES P KULL & TONI E KULL JT TEN               62 WESTWOOD AVE                                                                                HILLSBORO       IL    62049‐1067
JAMES P LACANCELLERA CUST DANNELE R             121 CATAMOUNT RD                                                                               FAIRFIELD       CT    06824
LACANCELLERA UTMA CT
JAMES P LACANCELLERA CUST NICHOLAS W            121 CATAMOUNT RD                                                                               FAIRFIELD       CT    06824
LACANCELLERA UTMA CT
JAMES P LACANCELLERA CUST WEST W LACANCELLERA   121 CATAMOUNT RD                                                                               FAIRFIELD       CT    06824
UTMA CT
JAMES P LANGAN                                  2374 FINZEL ROAD                                                                               FROSTBURG       MD    21532‐4033
JAMES P LAROSA                                  12164 UNITY ROAD                                                                               NEW SPRGFIELD   OH    44443‐9720
JAMES P LARSON                                  5808 RED CLOUD CIRCLE                                                                          YOUNGSTOWN      FL    32466
JAMES P LARY                                    20 CROSS WIND                                                                                  PLYMOUTH        MA    02360‐7746
JAMES P LAVIS                                   PO BOX 7512                                                                                    VANUYS          CA    91409‐7512
JAMES P LAWRENCE                                650 HUNTINGTON AVE                                                                             BOSTON          MA    02115‐5919
JAMES P LEAMY                                   1089 JOHNSON SPOONER RD                                                                        CASTLETON       VT    05735
JAMES P LEGENZOFF                               36581 CECILIA DR                                                                               STERLING HTS    MI    48312‐2910
JAMES P LIPSCOMB                                5075 FISHBURG                                                                                  DAYTON          OH    45424‐5308
JAMES P LONG & MRS BETTY J LONG JT TEN          713 WILDWOOD CT                                                                                JEFFERSON       WI    53549‐1914
JAMES P LOPROTO                                 127 SPRINGFIELD AVE                                                                            HASBROUCK       NJ    07604‐1028
                                                                                                                                               HEIGHTS
JAMES P LUCHT                                  E3911 PIERCE RD                                                                                 LAVALLE         WI    53941‐9495
JAMES P MAC LEAN CUST CAROLYN MAC LEAN UGMA NJ PO BOX 707                                                                                      PORT NORRIS     NJ    08349‐0707

JAMES P MAHMET                                  11160 SNOW RD                                                                                  PARMA           OH    44130‐1725
JAMES P MALONE                                  715 PRYTANIA AVE                                                                               HAMILTON        OH    45013‐2701
JAMES P MARSH                                   7879 KENDALL RD                                                                                COLUMBUS        MI    48063‐2703
JAMES P MARTIN                                  1434 DURAND DR                                                                                 TROY            MI    48098‐4412
JAMES P MASON                                   6545 STEADMAN                                                                                  DEARBORN        MI    48126‐1752
JAMES P MASON & MRS EILEEN E MASON JT TEN       8621 E LA JUNTA ROAD                                                                           SCOTTSDALE      AZ    85255‐2891
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JAMES P MATKO SR                                1334 AUTUMN DR                                                                                 TAMPA             FL    33613‐2314
JAMES P MC DONNELL                              206 HEARTH COURT WEST                                                                          LAKEWOOD          NJ    08701‐4150
JAMES P MC GLYNN & JULIE M MC GLYNN & PAUL K MC 7612 WATER STREET                                                                              NEWPORT           MI    48166‐9764
GLYNN JT TEN
JAMES P MC GUINNESS & MRS CAROLE B MC GUINNESS 593 SHORE DRIVE                                                                                 NEW WINDSOR       NY    12553‐5431
JT TEN
JAMES P MC LAUGHLIN                             PO BOX 1028                                                                                    NOBLESVILLE       IN    46061‐1028
JAMES P MC NAIR                                 9509 CORDERO AVE                                                                               TUJUNGA           CA    91042‐3303
JAMES P MC NAMEE                                ATTN PATRICK MC NAMEE                 1947 MAYFAIR AVE                                         WESTCHESTER       IL    60154‐4219
JAMES P MCBRIDE                                 3009 CURRY LN                                                                                  CARMEL            IN    46033‐9064
JAMES P MCBRIDE                                 PO BOX 302                                                                                     TRESCKOW          PA    18254‐0302
JAMES P MCCORMICK                               2635 BUFFALO RD                                                                                ERIE              PA    16510‐1421
JAMES P MCELROY                                 3168 E MOUNT MORRIS RD                                                                         MOUNT MORRIS      MI    48458
JAMES P MCELROY & EMMA L MCELROY JT TEN         3168 E MOUNT MORRIS RD                                                                         MOUNT MORRIS      MI    48458
JAMES P MCGRAW                                  59 DUNSINANE DR                                                                                NEW CASTLE        DE    19720‐2316
JAMES P MCHUGH PC PROFIT SHARING TRUST PLAN DTD 6 W 2ND ST                                                                                     MEDIA             PA    19063‐2802
07‐01‐78
JAMES P MEALIFF JR                              916 CORNELL AVE                                                                                DREXEL HILL       PA    19026‐3209
JAMES P MEIL                                    9869 SW 59TH CIR                                                                               OCALA             FL    34476‐3657
JAMES P MILLER                                  11332 WEST ROYAL RD                                                                            STANWOOD          MI    49346‐9760
JAMES P MILLER                                  1684 JUDI LANE                                                                                 MILFORD           MI    48381
JAMES P MILLER                                  20479 HARMONY DR                                                                               CLINTON TWP       MI    48036‐2242
JAMES P MIZENER                                 704 GRANT ST                                                                                   PORT CLINTON      OH    43452‐2149
JAMES P MOFFETT                                 2984 US RT 11 APT Q65                 LAFAYETTE                                                LA FAYETTE        NY    13084
JAMES P MOLLOY JR & PATRICIA C MOLLOY JT TEN    20944 7TH AVE WEST                    CUDJOE GARDENS                                           CUDJOE KEY        FL    33042‐4015
JAMES P MOORE                                   3031 44TH AVE W                                                                                SEATTLE           WA    98199‐2401
JAMES P MORAN                                   16259 EMERALD PT                                                                               CLEVELAND         OH    44130‐8368
JAMES P MOULDEN EX EST CLARENCE P MOULDEN       25410 BANCOCK                                                                                  MAGNOLIA          TX    77355

JAMES P MURPHY & MRS MARGIE L MURPHY JT TEN       304 W REYNOLDS ST                                                                            PONTIAC           IL    61764‐2433

JAMES P MYERS                                     6289 HOLLY RIDGE ST NW                                                                       NORTH CANTON     OH     44720‐9401
JAMES P NAMACK                                    114 2ND ST                                                                                   LACKWAXEN        PA     18435‐9777
JAMES P NICHOLSON                                 1609 LAKESIDE LN                                                                             PLANO            TX     75023‐7468
JAMES P NOBLE                                     3839 BLACKS RD SW                                                                            HEBRON           OH     43025‐9774
JAMES P NORTH                                     4321 SAMPSON RD                                                                              YOUNGSTOWN       OH     44505‐1305
JAMES P NOWICKI SR                                8007 THOMPSON RD                                                                             CICERO           NY     13039‐9378
JAMES P O'BRIEN                                   205 FIRST STREET                                                                             HOLLY            MI     48442‐1202
JAMES P O'NEILL SR & LILLIAN R O'NEILL JT TEN     2 WELLWOOD CIRCLE                                                                            VERNON           CT     06066‐2743
JAMES P OKEEFE                                    29171 LEESBURG COURT                                                                         FARMINGTON HILLS MI     48331‐2437

JAMES P PANNELL                                   BOX 811                                                                                      DURANGO          CO     81302‐0811
JAMES P PAVELKA                                   11568 BREYMAN HIGHWAY                                                                        TIPTON           MI     49287‐9735
JAMES P PFAFF                                     3624 MAPLE DRIVE                                                                             YPSILANTI        MI     48197‐3783
JAMES P PILLAR SR                                 1400 OAKDALE NW                                                                              WARREN           OH     44485‐1976
JAMES P PIPKIN                                    2143 E SCOTTWOOD                                                                             BURTON           MI     48529‐1751
JAMES P PLITT                                     8601 MONROE                                                                                  TAYLOR           MI     48180‐7211
JAMES P POLKOWSKI                                 25274 ANDOVER                                                                                DEARBORN HEIGHTS MI     48125‐1606

JAMES P PRETO                                     2350 PRINCETON PIKE                 APT 332                                                  LAWRENCEVILLE     NJ    08648‐3942
JAMES P QUILLEN                                   517 S HIGHAM ST                                                                              PEWAMO            MI    48873‐9797
JAMES P RAGNONE                                   PO BOX 2478                                                                                  DAVIDSON          NC    28036‐2478
JAMES P RAHIJA                                    3748 N 124TH STREET                                                                          KANSAS CITY       KS    66109‐4217
JAMES P RASNICK JR                                6643 BRITTANY PL                                                                             MIDDLETOWN        OH    45044‐9229
JAMES P REED                                      3115 STATE ROUTE 603                                                                         LUCAS             OH    44843‐9771
JAMES P REESE                                     27040 HEARTS DR                                                                              CRISFIELD         MD    21817‐2616
JAMES P RETLI                                     7136 LAKESHORE DR                                                                            NEWPORT           MI    48166‐9787
JAMES P ROBINSON                                  C/O CAVALIER TOBACCO CO             1102 EMMET ST                                            CHARLOTTESVILLE   VA    22903‐4835
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JAMES P RUCH                                     122 BROOKSIDE TERRACE W                                                                          TONAWANDA        NY    14150‐5906
JAMES P RYAN                                     68 EARLDOM WAY                                                                                   GETZVILLE        NY    14068‐1410
JAMES P SAUNDERS JR                              9553 JOEY DR                                                                                     ELLICOTT CITY    MD    21042‐2427
JAMES P SAWYER                                   BOX 5088                                                                                         NEW CASTLE       PA    16105
JAMES P SCHARNIKOW CUST MICHAEL J SCHARNIKOW     3213 ECKLESON ST                                                                                 LAKEWOOD         CA    90712‐3007
UGMA CA
JAMES P SCHULTE                                  7958 E WHISPERING MESQUITE LN                                                                    GOLD CANYON      AZ    85218‐7116
JAMES P SEYFRIED                                 8429 E CARPENTER                                                                                 DAVISON          MI    48423‐8915
JAMES P SHANER & MRS MAXINE E SHANER JT TEN      6531 E PASEO DIEGO                                                                               ANAHEIM          CA    92807‐5011
JAMES P SHARPE CUST CHRIS SHARPE UTMA MI         30922 CLUB HOUSE LANE                                                                            FARMINGTON HILLS MI    48334‐1125

JAMES P SHARPE CUST JEFF SHARPE UTMA MI          30922 CLUB HOUSE LANE                                                                            FARMINGTON HILLS MI    48334‐1125

JAMES P SHATTUCK                                 4830 PECK LAKE RD                                                                                PORTLAND         MI    48875‐8668
JAMES P SHAUGHNESSY & FRANCIS J SHAUGHNESSY JT   115 HAWTHORN RD                                                                                  BRAINTREE        MA    02184
TEN
JAMES P SHIPP                                    179 BOURBON ACRES RD                                                                             PARIS            KY    40361‐9769
JAMES P SIMPSON                                  39756 MEADOWOOD LOOP                                                                             ZEPHYRHILLS      FL    33540‐6778
JAMES P SIMPSON & TERESA SIMPSON JT TEN          1356 E 400 BX73                                                                                  OAKFORD          IN    46965‐0073
JAMES P SIRIANNI                                 456 WINTERGREEN DRIVE S E                                                                        BROOKFIELD       OH    44403‐9662
JAMES P SMITH                                    672 ST NICHOLAS AVE APT 21                                                                       NEW YORK         NY    10030‐1033
JAMES P SMITH & LINDA M SMITH JT TEN             1988 WASHINGTON RD                                                                               NORWALK          OH    44857‐8903
JAMES P SPALEY                                   69 GALATI ROAD                                                                                   MCDONALD         PA    15057‐2874
JAMES P SPILLMAN                                 4204 CHENWOOD LN                                                                                 LOUISVILLE       KY    40299‐4013
JAMES P SPITZLEY                                 3479 BOYER RD                                                                                    GREENVILLE       MI    48838‐9743
JAMES P STAMPER JR                               2616 BUSCH RD                                                                                    BIRCH RUN        MI    48415‐8918
JAMES P STARK                                    PO BOX 545                                                                                       GRAPEVIEW        WA    98546‐0545
JAMES P STARR                                    5768 DIX DR NE                                                                                   BELMONT          MI    49306‐9060
JAMES P STEC                                     5301 LORUTH TERRACE                                                                              MADISON          WI    53711‐2629
JAMES P STEPANSKI                                3960 SMITH RD                                                                                    BAY CITY         MI    48706‐1745
JAMES P STONEHOCKER                              93 HIDDEN POINT                                                                                  HENDERSONVILLE   TN    37075‐5551
JAMES P STRADNICK                                C/O MILTON LLOYD                       2 E BROAD STREET SUITE 514                                HAZLETON         PA    18201‐6554
JAMES P STUCKEY                                  3100 AURELIUS RD                                                                                 LANSING          MI    48910‐4834
JAMES P STURDIVANT                               1341 MAUREEN                                                                                     MADISON HEIGH    MI    48071‐2934
JAMES P SWAIN                                    410 MERIDIAN STREET                                                                              ANDERSON         IN    46016‐1532
JAMES P SWEENEY                                  403 ROXBURY RD                                                                                   STAMFORD         CT    06902‐1218
JAMES P SWIERCZ                                  2783 S BARRIE RD                                                                                 BAD AXE          MI    48413‐9391
JAMES P SYLVES CUST SCOTT SYLVES UTMA PA         BOX 133                                                                                          BOALSBURG        PA    16827‐0133
JAMES P TAYLOR                                   4411 BALDWIN DR                                                                                  EAST BERNARD     TX    77435‐9134
JAMES P THOMPSON                                 1113 GILMAN ST                                                                                   RUSTON           LA    71270‐5529
JAMES P TIERNEY                                  SUITE 2600                             2345 GRAND AVE                                            KANSAS CITY      MO    64108‐2617
JAMES P TOMASWICK & MARILYN J TOMASWICK TEN      615 13TH STREET                                                                                  FORD CITY        PA    16226‐1351
ENT
JAMES P TOOLAN                                   610 S 12TH ST                                                                                    NEW HYDE PARK    NY    11040‐5569
JAMES P TRACEY                                   183 WESTPORT RD                                                                                  WILTON           CT    06897‐4638
JAMES P TREDWAY                                  50030 HELFER BLVD                                                                                WIXOM            MI    48393‐3228
JAMES P TRUDEAU                                  4421 SEEDEN STREET                                                                               DRAYTON PLNS     MI    48020
JAMES P TRUPIANO                                 1598 DETROIT AVE                                                                                 LINCOLN PARK     MI    48146‐3217
JAMES P VAN HOOK                                 HARRISON BROOK DR                                                                                BASKING RIDGE    NJ    07920
JAMES P VAUGHN JR                                RR #2 BOX 366A                                                                                   PORTAGE          PA    15946‐9007
JAMES P VETTESE & MRS JULIA VETTESE JT TEN       9010 PINE COVE DR                                                                                WHITMORE LAKE    MI    48189‐9473
JAMES P VITHA                                    3722 MORTON AVE                                                                                  BROOKFIELD       IL    60513‐1525
JAMES P VOJIR & KAREN L VOJIR JT TEN             6006 CHAMPAGNE SHORES                                                                            MEDINA           OH    44256‐7452
JAMES P WALDRON & MAUREEN MC CANN WALDRON        312 SOUTH 56 STREET                                                                              OMAHA            NE    68132‐3414
JT TEN
JAMES P WALLE                                    2576 HAVERFORD DR                                                                                TROY             MI    48098‐2334
JAMES P WALSH & JANE ANN WALSH JT TEN            1719 CRESTVIEW DR                                                                                NEW ULM          MN    56073‐3724
JAMES P WALSH & MARIAN WALSH JT TEN              31916 RUSH                                                                                       GARDEN CITY      MI    48135‐1758
JAMES P WATTS                                    1133 E LINDSEY AVE                                                                               MIAMISBURG       OH    45342‐2533
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Name                                            Address1                            Address2             Address3            Address4          City             State Zip

JAMES P WEHR                                    3533 BAXTER DR                                                                                 WINTER PARK      FL    32792‐1704
JAMES P WERNER                                  5730 SW 38TH STREET                                                                            TOPEKA           KS    66610‐1252
JAMES P WHITE                                   144 WEST SOUTHFIELD BLVD                                                                       JACKSON          MI    49203
JAMES P WILSON                                  7134 GRAND BLANC RD                                                                            SWARTZ CREEK     MI    48473‐9401
JAMES P WINTERS                                 1224 S HARRIS RD                                                                               YPSILANTI        MI    48198‐6513
JAMES P WOOLEY CUST DEREK H WOOLEY UTMA WV      2222 ADAMS AV                       APT A                                                      HUNTINGTON       WV    25704

JAMES P WOZNIAK                                 911 N JONES RD                                                                                 ESSEXVILLE       MI    48732‐9600
JAMES P YEDNAK                                  1201 MC DONOUGH ST                                                                             SO PLAINFIELD    NJ    07080‐1617
JAMES P ZACHARKO & KATHLEEN ZACHARKO JT TEN     4076 CREEKWOOD CIRCLE                                                                          BAY CITY         MI    48706‐5645

JAMES PALFINI                                    11327 E MONTE AVE                                                                             MESA             AZ    85212‐2948
JAMES PALUSZYNSKI                                2331 SNYDER RD                                                                                VARYSBURG        NY    14167‐9747
JAMES PARK MILLER                                RR 1 FORESTRY RD                   PEMBERTON BC                             V0N 2L0 CANADA
JAMES PARKER                                     500 SOUTHERN BLVD                  # 205                                                      CHATHAM          NJ    07928‐1407
JAMES PARLIMAN & OMERIA PARLIMAN JT TEN          32 HIGHLAND AVE                                                                               MIDDLETOWN       NY    10940‐4914
JAMES PARSONS                                    5 CALEB COURT                                                                                 HAMBURG          NJ    07419
JAMES PATRICK CORBETT                            1817 S CENTRAL AVE                                                                            S PLAINFIELD     NJ    07080‐3603
JAMES PATRICK CORLISS                            2604 LAKEVIEW PKWY                                                                            LOCUST GROVE     VA    22508‐5726
JAMES PATRICK CUST JASON PATRICK UTMA MA         1 STAMFORD LN                                                                                 WORCESTER        MA    01609
JAMES PATRICK HOWE O'HARA                        15939 E TUMBLEWEED DR                                                                         FOUNTAIN HILLS   AZ    85268‐3659
JAMES PATRICK MC CARTHY                          2112 HUMBOLDT AVENUE SOUTH                                                                    MINNEAPOLIS      MN    55405‐2509
JAMES PATRICK WARFIELD                           3323 TWIN OAKS DR                                                                             NAPA             CA    94558‐5321
JAMES PATTERSON                                  144 TEMPERANCE ST                  AURORA ON                                L4G 2R4 CANADA
JAMES PAUL AMATO                                 408 EAST 4TH ST                                                                               BROOKLYN         NY    11218‐3922
JAMES PAUL BRUHN                                 67460 CSAH 33                                                                                 DARWIN           MN    55324
JAMES PAUL DILLON                                4660 STATE RTE 78                  WOODSTILL                                                  WOODSFIELD       OH    43793‐9437
JAMES PAUL FITTS JR                              PO BOX 1020                                                                                   BLUE RIDGE       GA    30513‐0018
JAMES PAUL HEETDERKS & JEANNE A HEETDERKS JT TEN 864 BUTTERMILK CIRCLE                                                                         WEBSTER          NY    14580‐2502

JAMES PAUL LYNCH                                301 LOWELL AVENUE                                                                              MERCERVILLE      NJ    08619‐2529
JAMES PAUL NICHOLS & ARTHUR W NICHOLS JT TEN    28 MASON DR                                                                                    PRINCETON        NJ    08540‐5408

JAMES PAUL ROMAN                                1100 MYRTLE AVE                                                                                BIG BEAR CITY    CA    92314
JAMES PAWNELL                                   11470 EUCLID AVE #517                                                                          CLEVELAND        OH    44106
JAMES PEITZ                                     1279 OBIE ST                                                                                   DAYTON           OH    45432‐1562
JAMES PENDLETON JORDAN                          212 DUKE ST                                                                                    ALEXANDRIA       VA    22314‐3806
JAMES PENDLETON STEVENSON                       202 HANOVER AVENUE                                                                             ASHLAND          VA    23005
JAMES PERISHING SMITH                           306 LINCOLN ROAD                                                                               MONROE           LA    71203‐4248
JAMES PERKINS & KATHY PERKINS JT TEN            4907 MACBETH DR                                                                                ANACORTES        WA    98221‐3025
JAMES PERRY RUST & BETSY H RUST JT TEN          BOX 163                                                                                        MERCER           PA    16137‐0163
JAMES PETER MARTIN                              51 ELLENTON AVE                                                                                NEW ROCHELLE     NY    10801‐1905
JAMES PETER NILAND                              280 HOWARD ST                                                                                  TWP WASHINTON    NJ    07676‐5033
JAMES PETER YOUNG                               525 DOGWOOD DR                                                                                 CHESHIRE         CT    06410‐2108
JAMES PETERSON                                  8689 AQUA DR                                                                                   NEKOOSA          WI    54457‐7497
JAMES PETRIZZI & ROSEMARY PETRIZZI JT TEN       43 MORLEY CIR                                                                                  MELVILLE         NY    11747‐4825
JAMES PETTY                                     1137 BURNT LEAF LANE                                                                           GRAND BLANC      MI    48439‐4969
JAMES PEYTON RYERSON                            11414 TUDOR ROSE COURT                                                                         GLEN ALLEN       VA    23059‐1851
JAMES PHILIP SMITH                              2047 GLESS AVE                                                                                 UNION            NJ    07083‐3825
JAMES PHILLIP GRIFFING                          4011 55TH WAY N                     APT 937                                                    KENNETH CITY     FL    33709‐5634
JAMES PHILLIP WATSON                            4422 SEDGEMOOR AVE                                                                             ROYAL OAK        MI    48073‐1707
JAMES PHILLIPS                                  1145 HOOVER STREET                                                                             JANESVILLE       WI    53545‐1047
JAMES PHILLIPS                                  317 S 18TH ST APT 1                                                                            NEWARK           NJ    07103‐1317
JAMES PICKARD                                   4403 GREENMEADOWS AVE                                                                          TORRANCE         CA    90505‐5501
JAMES PITTMAN                                   2839 SW MACVICAR AVE                                                                           TOPEKA           KS    66611‐1704
JAMES PLETCHER                                  330 REHWINKEL CLOSE                 EDMONTON AB                              T6R 1Y9 CANADA
JAMES POCHRAN & RUTH POCHRAN JT TEN             7509 RIDGE RD                                                                                  FREDERICK        MD    21702‐3519
JAMES POHL                                      C/O VIVIAN POHL                     1161                 1201 EDGECLIFF PL                     CINCINNATI       OH    45206‐2849
JAMES POHL & MARY POHL JT TEN                   43 ROCKVIEW DR                                                                                 ROCKFORD         MI    49341‐9167
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Name                                                Address1                             Address2             Address3          Address4          City               State Zip

JAMES POPE RICHARD                                  3044 MCCONNELL DRIVE                                                                          BATON ROUGE        LA    70809‐1519
JAMES PORTIS JR                                     8225 CARLIN                                                                                   DETROIT            MI    48228‐2734
JAMES POWELL JR                                     3625 GLOUCESTER                                                                               FLINT              MI    48503‐4535
JAMES POWERS                                        822 OLD LAKE RD                                                                               HOUSTON            TX    77057‐1104
JAMES POWERS WOOD                                   BOX 231                                                                                       WAYNESBORO         MS    39367‐0231
JAMES PRESTON HOPPIN                                2413 HICKORY GLEN DRIVE                                                                       BLOOMFIELD HILLS   MI    48304‐2203

JAMES PRESTON PRATT & KIMBERLY PRATT JT TEN         6289 POINTE NORTH DR                                                                          GRAND BLANC        MI    48439‐9582
JAMES PRICE                                         5477 DUKE ST                                                                                  WARREN             MI    48091‐3820
JAMES PRICE                                         4253 VAN FOSSEN RD                                                                            JOHNSTOWN          OH    43031‐9421
JAMES PRICE                                         914 PINEY GROVE RD LOT 20                                                                     KNOXVILLE          TN    37909
JAMES PRUNTY & MRS MARGARET A PRUNTY JT TEN         25925 WILLIAMS DR                                                                             WESTLAKE           OH    44145‐3328

JAMES PULLIAM                                10451 EAGLE RD                                                                                       POSEYVILLE         IN    47633‐9801
JAMES PUTNAM RAWSON & CAROL S RAWSON TEN ENT 11203 WEST DOUGLAS                                                                                   WICHITA            KS    67209‐4107

JAMES Q GRIMSHAW                                    40 SHIELDS RD                                                                                 DARIEN             CT    06820‐2533
JAMES Q HOLLAND                                     454 J AVE                                                                                     HUTTIG             AR    71747‐9504
JAMES Q MILLER JR                                   3531 SWEETWATER DR                                                                            LAWRENCEVILLE      GA    30044‐4153
JAMES Q MURPHY                                      809 SHROYER RD                                                                                DAYTON             OH    45419
JAMES R ACKERMAN                                    PO BOX 645                                                                                    WEST CARROLLTON    OH    45449

JAMES R ADAMS                                       2711 LINCOLN CT NW                                                                            ATLANTA            GA    30318‐6152
JAMES R AIKIN & PATRICIA A AIKIN TR JAMES R AIKIN   11545 NORTH PA BA SHAN TRAIL                                                                  CHARLEVOIX         MI    49720‐2058
TRUST UA 03/22/00
JAMES R ALEXANDER                                   10197 DAR LANE                                                                                GOODRICH        MI       48438‐9403
JAMES R ALLEN                                       3050 CANYON OAKS                                                                              DAVISBURG       MI       48350‐2845
JAMES R ALLEN & DIANE S ALLEN JT TEN                1115 LAYTON AVE N                                                                             LAKE ELMO       MN       55042‐9610
JAMES R ANDERSON                                    1102 ALTA VISTA AVE SE                                                                        HUNTSVILLE      AL       35801‐2711
JAMES R ANDERSON                                    4405 MOTORWAY DR                                                                              WATERFORD       MI       48328‐3453
JAMES R ANDERSON                                    905 ANTIGUA W                                                                                 VENICE          FL       34285‐6904
JAMES R ANDRZEJEWSKI                                6012 OLD HICKORY DR                                                                           BAY CITY        MI       48706‐9068
JAMES R ARNOLD & REBECCA L ARNOLD JT TEN            W232 S6875 MILLBROOK CIRCLE                                                                   BIG BEND        WI       53103‐9646
JAMES R ASBURY JR                                   136 N MILL ST                                                                                 WELLINGTON      OH       44090‐1222
JAMES R ASH                                         13243 BARNES RD                                                                               BYRON           MI       48418‐9731
JAMES R ASHBY                                       2911 ROLLINGHILLS DR                                                                          CARROLLTON      TX       75007‐5756
JAMES R ASKEW                                       1402 1/2 20TH ST                                                                              WEST PORTSMOUTH OH       45663

JAMES R ATHERTON                                    12146 CAVE CREEK CT                                                                           NOBLESVILLE        IN    46060‐4154
JAMES R ATHERTON & JUDITH P ATHERTON JT TEN         12146 CAVE CREEK CT                                                                           NOBLESVILLE        IN    46060‐4154
JAMES R AYERS                                       106 SPRING RIVER CT                                                                           HUNTSVILLE         AL    35811‐8022
JAMES R B SNOW                                      PO BOX 706                                                                                    SOUTHWEST          ME    04679‐0706
                                                                                                                                                  HARBOR
JAMES R BABCOCK                                     3817 CURRY LANE                                                                               JANESVILLE         WI    53546‐3428
JAMES R BACON                                       7110 MAHONING AVE                                                                             WARREN             OH    44481‐9469
JAMES R BAILEY                                      71 S 12TH AV                                                                                  BEECH GROVE        IN    46107‐1712
JAMES R BAILEY & GATHA C BAILEY TR THE BAILEY       1762 AVENIDA DE LAS AMERICAS                                                                  TUCSON             AZ    85704‐2019
FAMILY TRUST UA 07/22/97
JAMES R BAKER                                       822 W 1050 N                                                                                  NORTH              IN    46962‐8779
                                                                                                                                                  MANCHESTER
JAMES R BAKER & PATRICIA J BAKER TR THE BAKER       603 DONNA DR                                                                                  CLINTON            MI    49236‐9742
FAMILY TRUST UA 05/31/97
JAMES R BAKOWSKI                                    260 FERNDALE RD                                                                               BUFFALO            NY    14221‐7132
JAMES R BALL                                        268 S CAROLYN DR                                                                              LAKE CITY          MI    49651‐8501
JAMES R BAMMEL                                      4391 SOUTH BUFFALO STREET            APT 6                                                    ORCHARD PARK       NY    14127
JAMES R BARBER                                      228 W LONGFELLOW                                                                              PONTIAC            MI    48340‐1834
JAMES R BARCLAY & CAROL E BARCLAY JT TEN            9790 66TH ST N 207                                                                            PINELLAS PARK      FL    33782‐2805
JAMES R BARNHART                                    309 ABERDEEN AVENUE                                                                           DAYTON             OH    45419‐3205
JAMES R BARNICLE                                    16 BATES RD                                                                                   FRAMINGHAM         MA    01702‐8704
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Name                                              Address1                               Address2             Address3          Address4          City            State Zip

JAMES R BARNUM                                    3200 ATHERTON                                                                                   KETTERING       OH    45409‐1205
JAMES R BATEMAN                                   15918 ECHO LODGE DR                                                                             HOUSTON         TX    77095‐4073
JAMES R BECHTOLD                                  1321‐2 S FOUNTAIN ST                                                                            ALLENTOWN       PA    18103
JAMES R BECKMAN                                   2739 CHICOPEE DR                                                                                DORAVILLE       GA    30360‐2636
JAMES R BECKMAN                                   35596 ITHACA DR                                                                                 AVON            OH    44011‐3800
JAMES R BEERS CUST HEATHER COLLEEN BEERS UGMA     29850 FALL RIVER                                                                                SOUTHFIELD      MI    48076‐5709
MI
JAMES R BEHRMANN                                  4675 ORCHARD MANOR                     APT 3                                                    BAY CITY        MI    48706‐2831
JAMES R BEISEL                                    107 OX YOKE LANE                                                                                BAILEY          CO    80421‐1022
JAMES R BELANGER                                  5 GREEN DR                                                                                      TERRYVILLE      CT    06786‐6833
JAMES R BELCASTRO                                 14 LINDENWOOD DRIVE                                                                             BALLSTON LAKE   NY    12019
JAMES R BELKNAP                                   RR 20                                                                                           MARCELLUS       NY    13108
JAMES R BELLANDI                                  320 ARBORETUM CIRCLE                                                                            WHEATON         IL    60187
JAMES R BELOSIC                                   PO BOX 21072                                                                                    RENO            NV    89515‐1072
JAMES R BENNETT TR JAMES R BENNETT LIVING TRUST   7275 HIGH MILL AVE NW                                                                           CANAL FULTON    OH    44614‐9346
UA 6/07/94
JAMES R BEYER                                     PO BOX 927                                                                                      PINCONNING      MI    48650‐0927
JAMES R BICKEL                                    6222 AVENIDA GORRION                                                                            GOLETA          CA    93117‐2059
JAMES R BIEL                                      903 DOHERTY ROAD                                                                                LAKE WALES      FL    33898‐9792
JAMES R BILSKEY                                   W8046 CREEK RD                                                                                  DELAVAN         WI    53115‐3122
JAMES R BISHOP                                    650 HERITAGE LANE                                                                               ROCHESTER HILLS MI    48309‐1534
JAMES R BIXLER                                    2203 FOUR OAKS LN                                                                               AUSTIN          TX    78704‐4626
JAMES R BLACK                                     1215 OLD FURNACE RD                                                                             YOUNGSTOWN      OH    44511‐1340
JAMES R BLAKE                                     414 MCINTYRE AVENUE                                                                             PATTON          PA    16668‐1123
JAMES R BLANCETT                                  103 ALAN DR                                                                                     MONTGOMERY CITY MO    63361‐2101

JAMES R BLEVINS                                   PO BOX 4521                                                                                     CANTON          GA    30114‐0018
JAMES R BLICKENSDERFER                            7088 HIDDEN VALLEY DR                                                                           PLAINFIELD      IN    46168‐1882
JAMES R BOHN & JUDITH G BOHN JT TEN               15610 MILE LN NW                                                                                MOUNT SAVAGE    MD    21545‐1212
JAMES R BORDERS                                   8205 DOUGLAS DR                                                                                 PINCKNEY        MI    48169‐8143
JAMES R BOREK                                     5819 S PHILLIPS RD                                                                              CLIFFORD        MI    48727‐9507
JAMES R BOWEN JR                                  83DANA LANE                                                                                     MERIDEN         CT    06451‐5076
JAMES R BOWEN SR                                  20 JOHNSON HEIGHTS                                                                              MERIDEN         CT    06451‐2749
JAMES R BRADSHAW TOD DREW BRADSHAW                605 NE BURNING TREE ST                                                                          LEES SUMMIT     MO    64064‐1337
JAMES R BRADSHAW TOD SUSAN K MCNABB               605 NE BURNING TREE ST                                                                          LEES SUMMIT     MO    64064‐1337
JAMES R BRAHAM                                    8537 RIDGE ROAD                                                                                 GASPORT         NY    14067‐9452
JAMES R BRAMLAGE & NANCY B BRAMLAGE JT TEN        9259 STREAM VIEW COURT                                                                          CENTERVILLE     OH    45458‐9609

JAMES R BRANDENBURG                               753 HAWTHORNE RD                                                                                LINTHICUM       MD    21090‐2311
JAMES R BRASSER                                   652 CHILI SCOTTSVILLE RD                                                                        SCOTTSVILLE     NY    14546
JAMES R BRASTY                                    9114 CHATHAM RD                                                                                 MEDINA          OH    44256‐9165
JAMES R BRAUN                                     1909 PAUL DR                                                                                    COLUMBIA        TN    38401‐4048
JAMES R BREWER                                    7785 W TWIN CANAL LANE                                                                          HOMOSASSA       FL    34448‐5839
JAMES R BRIDGES & JUDITH A BRIDGES JT TEN         5994 KALBFLEISCH RD                                                                             MIDDLETOWN      OH    45042‐8937
JAMES R BRIMIDGE                                  PO BOX 722                                                                                      CHARENTON       LA    70523‐0722
JAMES R BRIMIDGE & ELTONNETTE BRIMIDGE E JT TEN   PO BOX 722                                                                                      CHARENTON       LA    70523‐0722

JAMES R BRITTAIN & DIANE M BRITTAIN JT TEN        420 ROBINHOOD LN                                                                                REDLANDS        CA    92373
JAMES R BROCKLEBANK                               2163 COUNTY RD 28                                                                               CANANDAIGUA     NY    14424‐8076
JAMES R BRONOWICZ                                 321 FRAZIER DR                                                                                  PITTSBURGH      PA    15235‐5256
JAMES R BROOKS                                    5124 RETFORD DR                                                                                 DAYTON          OH    45418‐2047
JAMES R BROOKS JR                                 365 BETSILL ROAD                                                                                FAYETTEVILLE    GA    30215‐5025
JAMES R BROWN                                     20 FULTON                                                                                       HILLBURN        NY    10931
JAMES R BRUCE                                     6530 DENSMORE AVE                                                                               VAN NUYS        CA    91406‐6024
JAMES R BRUNDAGE                                  264 VILLAGE ST                                                                                  MEDWAY          MA    02053‐1403
JAMES R BRUNDAGE                                  264 VILLAGE STREET                                                                              MEDWAY          MA    02053‐1403
JAMES R BRYANT JR                                 9500 OAKHILL ROAD                                                                               HOLLY           MI    48442‐8723
JAMES R BUBE                                      334 WESTWIND ESTATES LANE                                                                       VALLEY PARK     MO    63088‐1513
JAMES R BUCHANAN                                  340 GARRETT CIRCLE                                                                              CARROLLTON      GA    30117‐9151
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Name                                              Address1                                Address2             Address3          Address4          City             State Zip

JAMES R BUCKEY                                    125 HOMEWOOD ROAD                                                                                MANSFIELD        OH    44906‐1323
JAMES R BUMBALOUGH                                4509 BENDERS FERRY RD                                                                            MOUNT JULIET     TN    37122‐2205
JAMES R BURGHARDT                                 8617 GRANDVILLE                                                                                  DETROIT          MI    48228‐3011
JAMES R BURKE                                     3829 S SHADES CREST RD                                                                           BIRMINGHAM       AL    35244‐6516
JAMES R BURKE TR UA 12/30/77 M/B JAMES R BURKE    1209 21ST AVE                           APT D314                                                 ROCK ISLAND      IL    61201‐7941

JAMES R BURKS                                     4660 N BROOKBANK DRIVE                                                                           BLOOMINGTON      IN    47404‐9600
JAMES R BURR                                      4604 LAUREL RD                                                                                   BRUNSWICK        OH    44212‐3222
JAMES R BURRIS                                    PO BOX #82                                                                                       JAMESTOWN        IN    46147‐0082
JAMES R BYARS                                     4350 IOSCO ROAD                                                                                  WEBBERVILLE      MI    48892‐9247
JAMES R CALDWELL                                  2939 LOWER MT RD                                                                                 RANSOMVILLE      NY    14131
JAMES R CALL                                      1470 N 300 E                                                                                     ANDERSON         IN    46012‐9297
JAMES R CALLAHAN                                  7041 HIGHLAND AVE                                                                                LORDSTOWN        OH    44481‐8633
JAMES R CALLAWAY & JUANITA J CALLAWAY JT TEN      PO BOX 666                                                                                       LLANO            TX    78643‐0666

JAMES R CAMPBELL                                  3092 LAKE BAYSHORE DR                                                                            BRADENTON        FL    34205
JAMES R CANNON & MRS MARYLYN CANNON JT TEN        2873 GROH                                                                                        TRENTON          MI    48183‐3538

JAMES R CARLSON                                   416 SIGNALFIRE DR                                                                                DAYTON           OH    45458‐3637
JAMES R CARPENTER                                 9451 BRIAR DR                                                                                    STREETSBORO      OH    44241‐5507
JAMES R CARTER                                    2066 OLD GODDARD                                                                                 LINCOLN PARK     MI    48146‐3770
JAMES R CASEY                                     10714 OAKLAND DR                                                                                 PORTAGE          MI    49024‐6682
JAMES R CASTLE                                    1166 BELLFLOWER AVE                                                                              COLUMBUS         OH    43204‐2782
JAMES R CATHEY                                    1208 BRIDGEPORT DRIVE                                                                            MOUNT PLEASANT   SC    29466‐7451

JAMES R CHAFFEE TR JAMES R CHAFFEE TRUST UA       7020 CHICKASAW BAYOU RE                                                                          BRADENTON        FL    34203
02/02/91
JAMES R CHAPMAN JR                                2208 TUCKER LANE                        APT 8B                                                   BALTIMORE        MD    21207‐7843
JAMES R CHIASCIONE                                76 DOUGLAS AVE                                                                                   YONKERS          NY    10703
JAMES R CHILDERS                                  761 KNOLLWOOD                                                                                    SALINE           MI    48176‐1314
JAMES R CHILDRESS                                 892 HAMILTON RD                                                                                  BROOKSVILLE      KY    41004‐7011
JAMES R CHISLEY JR                                9711 WINDSOR CIR                                                                                 FORT WORTH       TX    76140‐7921
JAMES R CHOATE JR                                 6151 WOODMOOR DR                                                                                 BURTON           MI    48509‐1646
JAMES R CHRISTIAANSEN                             1049 W MONTCLAIRE AVE                                                                            MILWAUKEE        WI    53217‐4452
JAMES R CHRISTNER                                 136 VILLAGE LANE                                                                                 ROCHESTER        NY    14610‐3043
JAMES R CLARK                                     306 RAVENVIEW CT                                                                                 ANDERSON         IN    46011‐1674
JAMES R CLARK                                     306 RAVENVIEW CT                                                                                 ANDERSON         IN    46011‐1674
JAMES R CLARKE & SYLVIA J CLARKE JT TEN           7300 HILLCREST DR                                                                                MODESTO          CA    95356‐8865
JAMES R CLINE                                     606 RAMBLEWOOD CT                                                                                BROOKVILLE       OH    45309‐1104
JAMES R COBB                                      5132 ORMOND RD                                                                                   WHITE LAKE       MI    48383‐1476
JAMES R COE                                       11213RD STREET                                                                                   SANDUSKY         OH    44870
JAMES R COLE                                      390 IVYLAWN CT                                                                                   WHITMORE LAKE    MI    48189‐9468
JAMES R COLE                                      2885 HUNTERS DR                                                                                  JENISON          MI    49428‐8600
JAMES R COLE                                      2505 FOXGROVE CT                                                                                 HIGHLAND         MI    48356‐2472
JAMES R COLLIER                                   3350 NE GALL RD                                                                                  TURNEY           MO    64493‐2723
JAMES R COLLINS                                   9 NELSON ST                                                                                      JAMESTOWN        OH    45335‐1613
JAMES R COLLINS TR JAMES R COLLINS UA 10/5/73     426 AUTUMNWOOD LN                                                                                DIXON            IL    61021‐9504

JAMES R CONKLIN JR & CATHERINE T CONKLIN JT TEN   6650 17TH WAY N                                                                                  ST PETERSBURG    FL    33702‐7236

JAMES R CONNOR                                    99 OAKDELL LANE                                                                                  PEACE DALE       RI    02883
JAMES R COOK TR JAMES R COOK TRUST UA 11/06/95    PO BOX 891                                                                                       GARDEN GROVE     CA    92842‐0891

JAMES R COPENHAVER                                1297 SUNSHINE CIRCLE                                                                             EUSTIS           FL    32726‐7536
JAMES R COSTELLO                                  2774 NORTH RD S E                                                                                WARREN           OH    44484‐3751
JAMES R COWLES & LOUISA JEAN DAVIS JT TEN         11706 S 25 W                                                                                     COLUMBUS         IN    47201‐9397
JAMES R COX                                       9056 BIRDIE LANE                                                                                 SOUTH FULTON     TN    38257‐7965
JAMES R CRABTREE                                  6543 PINE VALLEY DRIVE                                                                           SANTA ROSA       CA    95409‐5888
JAMES R CRABTREE                                  224 DRINGLE                                                                                      PALMYRA          MO    63461‐1450
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JAMES R CRAIN                                     3491 HELEN                                                                                      LINCOLN PARK     MI    48146‐3457
JAMES R CRAIN & PATRICIA A CRAIN JT TEN           3491 HELEN                                                                                      LINCOLIN PARK    MI    48146‐3457
JAMES R CRIMMINS                                  88 KENSINGTON CIR                                                                               BELVIDERE        NJ    07823‐1717
JAMES R CROCKETT                                  CO RD 14 3765                                                                                   ROANOKE          AL    36274
JAMES R CROOK                                     1743 ALPINE DRIVE                                                                               COLUMBUS         OH    43229‐2121
JAMES R CROOKE & DOLORES J CROOKE TR UNDER        76 ROSS AVENUE #1                                                                               SAN ANSELMO      CA    94960‐2845
REVOCABLE LIVING TRUST DECL
JAMES R CROW                                      6208 CARDINAL ST                                                                                VENTURA          CA    93003‐6514
JAMES R CUMMINGS & GAIL CUMMINGS JT TEN           PO BOX 351                                                                                      ELDRED           PA    16731‐0351
JAMES R CUNNING                                   1407 AVE A                                                                                      GOTHENBURG       NE    69138‐1626
JAMES R CURDUE                                    409 LAWRENCE BLVD WEST                                                                          WABASHA          MN    55981‐1216
JAMES R CURTIS                                    2631 EARL LAKE DRIVE                                                                            HOWELL           MI    48843‐8613
JAMES R CUTRIGHT                                  PO BOX 51                                                                                       SUTTON           WV    26601‐0051
JAMES R D'AMBROSIO & PAULA K D'AMBROSIO JT TEN    30856 J CARLS ST                                                                                ROSEVILLE        MI    48066‐1446

JAMES R DAGGER & TERESITA F DAGGER JT TEN         10615 SO 83RD AVE                                                                               PALOS HILLS      IL    60465‐1856
JAMES R DAUBENSPECK                               1795 WALKER LAKE RD                                                                             MANSFIELD        OH    44906‐1417
JAMES R DAUGHERTY & MARY M DAUGHERTY JT TEN       515 N PUTNAM UNIT K                                                                             WILLIAMSTON      MI    48895‐1126

JAMES R DAVIS JR                                  1225 E KING ST                                                                                  CORUNNA          MI    48817‐1530
JAMES R DEFOE                                     132 ACACIA RD                                                                                   NEWBURY PARK     CA    91320
JAMES R DELBRIDGE & EVELYN DELBRIDGE JT TEN       2456 ANNA CLARA CT                                                                              SWARTZ CREEK     MI    48473‐9792
JAMES R DENNIS                                    9075 W DOUBLETREE CT                                                                            HOMOSASSA        FL    34448‐1138
JAMES R DENURE                                    APT 102                                5837 MARGERY DR                                          RACINE           WI    53406‐6122
JAMES R DEVLIN                                    1470 FRANKLIN ST                                                                                BALDWIN          WI    54002‐9319
JAMES R DEVONE                                    95 BIDWELL AVE                                                                                  JERSEY CITY      NJ    07305‐3326
JAMES R DEWEY & ROBERT A DEWEY JT TEN             10166 BRADIE WAY                                                                                OSCEOLA          IN    46561‐9425
JAMES R DICKERSON & TERISA J DICKERSON JT TEN     1278 HAMMOND RD                                                                                 SUMMERTON        SC    29148‐8717

JAMES R DIETRICH                                  1241BROOKVIEW DR                                                                                HURON            OH    44839‐2602
JAMES R DIGBY                                     6230 PLEASANT STREET                                                                            SOUTH PARK       PA    15129‐9713
JAMES R DILLARD                                   PO BOX 24                                                                                       GERRARDSTOWN     WV    25420‐0024
JAMES R DILLY                                     616 ROSEDALE AVE                                                                                MORRISTOWN       TN    37813‐2144
JAMES R DISSINGER & MRS JOAN R DISSINGER JT TEN   PO BOX 370                                                                                      BROWNSTOWN       PA    17508‐0370

JAMES R DIXON                                     15503 ROMAR ST                                                                                  MISSION HILLS    CA    91345‐2611
JAMES R DIXON                                     1277 S 1040 E                                                                                   OREM             UT    84097‐7346
JAMES R DODDS                                     5829 BARDEL E DR                                                                                INDIANAPOLIS     IN    46241
JAMES R DOLAN EX EST JOAN RICE                    830 68TH ST                                                                                     BROOKLYN         NY    11220
JAMES R DONAHUE                                   203 W SARAH ST                                                                                  MILFORD          PA    18337‐1824
JAMES R DONALDSON & KELLI K G DONALDSON JT TEN    6830 JOSEPH ST                                                                                  ANCHORAGE        AK    99518‐2027

JAMES R DONNELLY                                  13561 STRATFORD PLACE CIR              APT 103                                                  FORT MYERS       FL    33919‐5142
JAMES R DORSEY                                    171 EAST MAIN ST                                                                                WALLINGFORD      CT    06492‐3945
JAMES R DOSTER JR                                 PO BOX 52                                                                                       BETHLEHEM        GA    30620‐0052
JAMES R DOWNS                                     7331 GLENSIDE LANE                                                                              OLMSTED          OH    44138‐3122
                                                                                                                                                  TOWNSHIP
JAMES R DOYLE                                     2591 LANSDOWNE                                                                                  WATERFORD        MI    48329‐2939
JAMES R DRAPER                                    2009 JAVELIN CT                                                                                 VIRGINIA BEACH   VA    23456‐5719
JAMES R DUBUC                                     2278 MAJOR LN                                                                                   DAVISON          MI    48423‐2031
JAMES R DUFRESNE                                  1579 PARISH RD                                                                                  KAWKAWLIN        MI    48631‐9435
JAMES R DUKE                                      111 ANTLER CIR                                                                                  SAN ANTONIO      TX    78232‐2259
JAMES R DULIN CUST MEGAN P DULIN UTMA WI          2113 ONTARIO                                                                                    JANESVILLE       WI    53545‐0647
JAMES R DULIN CUST SEAN M DULIN UTMA WI           2113 ONTARIO                                                                                    JANESVILLE       WI    53545‐0647
JAMES R DUNSON                                    34200 MARINO                                                                                    MT CLEMENS       MI    48035‐3632
JAMES R DURELL & SUZANNE S DURELL JT TEN          601 REDBUD LANE                                                                                 PLAINFIELD       IN    46168‐1258
JAMES R DUREN                                     56 BISHOP CREEK DRIVE                                                                           SAFETY HARBOR    FL    34695‐5431
JAMES R DURFEE                                    172GRAY AVE                                                                                     OAK HILL         FL    32759‐9713
JAMES R DUZAN                                     4811 S MILE HIGH DR                                                                             SALT LAKE CITY   UT    84124‐4782
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Name                                           Address1                              Address2             Address3           Address4          City              State Zip

JAMES R ECKERT                                 PO BOX 62                                                                                       ANCHOR            IL    61720‐0062
JAMES R ECKLUND                                5945 WESTMINSTER WAY                                                                            EAST LANSING      MI    48823‐7749
JAMES R EDWARDS TR LIVING TRUST 02/21/92 U‐A   38 ENCLAVE                                                                                      PARAGOULD         AR    72450‐6010
JAMES R EDWARDS
JAMES R EGGLESTON                              3943 SENTRY WALK N E                                                                            MARIETTA          GA    30068‐2557
JAMES R ELBERT                                 4440 ASHWOOD DR                                                                                 SAGINAW           MI    48603‐1001
JAMES R ELLER                                  4242 JONQUIL DR                                                                                 SAGINAW           MI    48603‐1129
JAMES R ELLIS                                  HYLAND COURT                                                                                    COLUMBIANA        OH    44408
JAMES R ELLIS                                  925 FOURTH AVE STE 2900                                                                         SEATTLE           WA    98104‐1158
JAMES R ELLISON                                3520 S 450 E                                                                                    ANDERSON          IN    46017‐9573
JAMES R ELLISON                                108 BAIER AVE                                                                                   SOMERSET          NJ    08873‐2044
JAMES R EMALA                                  PO BOX 24                                                                                       JONESVILLE        MI    49250‐0024
JAMES R EMBRY                                  11912 FM 920                                                                                    WEATHERFORD       TX    76088‐2238
JAMES R ENGEL                                  1171 N MAIN                                                                                     ST CHARLES        MI    48655‐1003
JAMES R ENYART                                 429 E MAC EWEN DRIVE                                                                            OSPREY            FL    34229‐9236
JAMES R ETCHISON                               619 ANSLEY STREET                                                                               DECATUR           GA    30030‐3611
JAMES R ETHERTON                               1590 W TIMBERVIEW DR                  APT 209                                                   MARION            IN    46952‐1607
JAMES R EVANS CUST U/THE LAWS OF OREGON FOR    8043 28TH AVE NE                                                                                SEATTLE           WA    98115‐4639
MARY LYNNE EVANS
JAMES R EWING                                  11894 CROSS ROADS AVE                                                                           FELTON            PA    17322‐8762
JAMES R FAIRHURST                              6115 FOOTHILLS DR                                                                               MURFREESBORO      TN    37129‐2646
JAMES R FARLEY                                 2319 SR 125                                                                                     AMELIA            OH    45102‐9152
JAMES R FARRELL                                235 PINTAIL LN                                                                                  MOORESVILLE       NC    28117‐8121
JAMES R FAVORS                                 1595 LAFAYETTE ROAD                                                                             ROSSVILLE         GA    30741‐7738
JAMES R FENWICK                                6 CAROL DR                                                                                      MC ALESTER        OK    74501‐7227
JAMES R FIELDS                                 9573 DOLOROSA ST                                                                                LA GRANGE         CA    95329‐8606
JAMES R FLEMMING                               3336 CLEARBROOK GREEN                                                                           SAUGATUCK         MI    49453‐9426
JAMES R FLETCHER                               223 TOM FLETCHER RD                                                                             CARROLLTON        GA    30117‐9666
JAMES R FORREST                                VILLA SERRA                           APARTMENT 327        1320 PADRE DRIVE                     SALINAS           CA    93901
JAMES R FORSYTH                                106 AIRPORT ROAD                                                                                CEDARTOWN         GA    30125‐5093
JAMES R FORTE                                  3421 SANTA CLARA CT                                                                             FLINT             MI    48504‐3234
JAMES R FOUTS                                  741 ROBINWOOD                                                                                   PONTIAC           MI    48340‐3141
JAMES R FOWLER                                 3864 PARKVIEW CIRCLE                                                                            SALT LAKE CITY    UT    84124‐2319
JAMES R FOX                                    8856 N 700 E                                                                                    SHERIDAN          IN    46069‐8854
JAMES R FOX & AIMEE FOX JT TEN                 9 KEEWAYDIN CT                                                                                  PT JEFF STATION   NY    11776
JAMES R FOX JR                                 S71W14630 HIDDEN CREEK CT                                                                       MUSKEGO           WI    53150‐3625
JAMES R FRANK                                  9 EDSALL AVE                          BOWMANVILLE ON                          L1C 2A7 CANADA
JAMES R FRANKLIN JR                            9571 STOUT                                                                                      DETROIT           MI    48228‐1523
JAMES R FREELAND                               1833 SALEM RD                                                                                   MINFORD           OH    45653‐8710
JAMES R FREEMAN                                670 DEER RUN RD                                                                                 SYLVANIA          GA    30467‐6321
JAMES R FREEMAN JR                             1923 VELMA STREET SE                                                                            ATLANTA           GA    30315‐6954
JAMES R FRENTHEWAY                             2587 HUNTERS PT                                                                                 KALAMAZOO         MI    49048‐6115
JAMES R FULLER                                 32222 ANNAPOLIS                                                                                 WAYNE             MI    48184‐2248
JAMES R FULTON                                 6 CHERRY ST                                                                                     NORWALK           OH    44857‐2360
JAMES R GABRIEL                                1111 CHASE ST                                                                                   BAY CITY          MI    48708‐6238
JAMES R GAGLIANO                               16 LESLIE DR                                                                                    EDINBURG          PA    16116‐9720
JAMES R GALLOWAY                               5711 CEDARWOOD DR                                                                               LEWISBURG         OH    45338‐9782
JAMES R GALOVICH                               5967 W SLEEPY HOLLOW LN                                                                         EAST LANSING      MI    48823‐9716
JAMES R GALVIN & MARGARET A GALVIN JT TEN      1015 S KNIGHT AVE                                                                               PARK RIDGE        IL    60068‐4444
JAMES R GARBACH                                245 BEACONVIEW CT                                                                               ROCHESTER         NY    14617‐1405
JAMES R GARRISON                               429 MILLSIDE CT                                                                                 OSSIAN            IN    46777‐9245
JAMES R GATLIN                                 3508 MERSINGTON AVE                                                                             KANSAS CITY       MO    64128‐2739
JAMES R GEYER                                  APT A                                 7401 DUNMANWAY                                            BALTIMORE         MD    21222‐5353
JAMES R GIBSON                                 1419 OAK STREET                                                                                 PORT HURON        MI    48060‐6111
JAMES R GILBERT                                5558 GIBBS RD                                                                                   PLAINFIELD        IN    46168‐8395
JAMES R GILBY                                  2529 LICK CREEK RD                                                                              EDWARDS           MO    65326‐2220
JAMES R GILLEN                                 72 WASHINGTON VALLEY                                                                            MORRISTOWN        NJ    07960‐3332
JAMES R GILLESPIE                              3633 S ADAMS RD                       APT 208                                                   ROCHESTER HLS     MI    48309‐5000
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JAMES R GLASSCOCK                              PO BOX 161                                                                                     EXCELSIOR SPRINGS MO   64024‐0161

JAMES R GODBOUT & SANDRA E GODBOUT JT TEN     7879 MOONWOOD PL                                                                                WESTLAND         MI    48185‐9474
JAMES R GOEBEL                                35603 OAKDALE ST                                                                                LIVONIA          MI    48154‐2237
JAMES R GOINS                                 6911 AGENBROAD RD                                                                               TIPP CITY        OH    45371‐8755
JAMES R GOINS JR                              701 YELLOW CREEK                                                                                DAYTON           OH    45458‐3363
JAMES R GOODE & CAROLINE H GOODE JT TEN       1402 OWANA AVENUE                                                                               ROYAL OAK        MI    48067‐5008
JAMES R GORDON                                4417 SHORTLEAF ST                                                                               LAS VEGAS        NV    89119‐6025
JAMES R GOSSER                                6885 E COUNTY RD 800 N                                                                          BROWNSBURG       IN    46112‐9076
JAMES R GOTWALS                               525 SOUTH MAIN ST STE 1130                                                                      TULSA            OK    74103‐4512
JAMES R GOUGE                                 682 ANDOVER RD                                                                                  MANSFIELD        OH    44907‐1910
JAMES R GRADY & MARTHA L GRADY JT TEN         6145 HICKORY TREE TRL                                                                           BLOOMFIELD       MI    48301‐1343
JAMES R GRANT                                 4706 WOOD FOREST DR                                                                             ALEXANDER        AR    72002‐9453
JAMES R GRAY                                  340 RICHARD WAY                                                                                 ATHENS           GA    30605‐4425
JAMES R GREENHILL                             2145 S BOLTON AVE                                                                               INDIANAPOLIS     IN    46203‐4906
JAMES R GRIFFEE                               2493 ORIOLE DR                                                                                  MURRELLS INLET   SC    29576‐8896
JAMES R GRIFFITH                              C/O JULIA RAE MYERS                    1783 N STATE ROAD 39                                     DANVILLE         IN    46122‐8213
JAMES R GROOTERS                              PO BOX 97                                                                                       LOWELL           MI    49331‐0097
JAMES R GROOVER                               892 FRIENDSHIP CHURCH RD                                                                        POWDER SPRING    GA    30127‐4410
JAMES R GRUBB                                 1733 RANIER                                                                                     CANTON           MI    48187‐3437
JAMES R GWOZDZ                                28 OAKWOOD DR                                                                                   COVENTRY         CT    06238
JAMES R HAGGERTY                              1212 FAULK ROAD                        APT 115                                                  WILMINGTON       DE    19803‐2745
JAMES R HALL                                  2001 HIGHWAY 36 E                                                                               JACKSON          GA    30233‐3537
JAMES R HALL                                  11311 N STATE RD 3                                                                              MUNCIE           IN    47303‐9705
JAMES R HALL                                  PO BOX 327                                                                                      LAKE GEORGE      MI    48633‐0327
JAMES R HALL                                  4880 ENNISMORE                                                                                  CLARKSTON        MI    48346‐3621
JAMES R HALLORAN                              BOX 197                                                                                         SOUTH DAYTON     NY    14138‐0197
JAMES R HALSELL                               2105 P AVE                                                                                      NEW CASTLE       IN    47362‐2245
JAMES R HAMMAN                                25074 RIVERWALK DR                                                                              LEESBURG         FL    34748‐7403
JAMES R HANBY                                 PO BOX 826                                                                                      CLAYMONT         DE    19703
JAMES R HANRAHAN                              6 MACKENZIE DR                                                                                  NEWARK           DE    19711‐1505
JAMES R HARDESTY                              751 ANTALYA CT                                                                                  PUNTA GORDA      FL    33950‐8001
JAMES R HARDESTY & TWILA G HARDESTY JT TEN    751 ANTALYA CT                                                                                  PUNTA GORDA      FL    33950‐8001
JAMES R HARDIN                                16301 DIX TOLEDO RD                                                                             SOUTHGATE        MI    48195‐2948
JAMES R HARRELL                               8063 E S R 245                                                                                  N LEWISBURG      OH    43060
JAMES R HARRIS                                3231 PHILADELPHIA DR                   APT 2C                                                   DAYTON           OH    45405‐1957
JAMES R HATHEWAY TR UW JAMES G HATHEWAY TRUST 30808 SE JACKSON RD                                                                             GRESHAM          OR    97080‐8932

JAMES R HAUGEN                                 BOX 11136                                                                                      SAINT PAUL       MN    55111‐0136
JAMES R HAVENS & JOSEPHINE HAVENS JT TEN       1032 FAIRMONT DRIVE                                                                            COLUMBIA         TN    38401‐7709
JAMES R HAYCRAFT & MRS MARILYN A HAYCRAFT JT   PO BOX 323                                                                                     LITCHFIELD       IL    62056‐0323
TEN
JAMES R HAYS                                   1112 BLACKTHORN RD                                                                             LOUISVILLE       KY    40299‐4670
JAMES R HAYS                                   207 RAYMOND DR                                                                                 OFALLON          MO    63366‐1348
JAMES R HEAP & JANET M HEAP JT TEN             805 EAST DUPONT RD                                                                             MORRIS           IL    60450‐8337
JAMES R HEATH                                  10782 PIONEER RD                                                                               EAGLE            MI    48822‐9795
JAMES R HEFFLER PER REP EST OTHO C SMITH       4502 DUNTON TERR #R                                                                            PERRY HALL       MD    21128
JAMES R HELMINIAK                              2258 21ST STREET                                                                               BAY CITY         MI    48708‐7407
JAMES R HELPHENSTINE                           6772 WILLOW CREEK DR                                                                           DAYTON           OH    45424‐2486
JAMES R HEMRICK & RUTH L HEMRICK JT TEN        PO BOX 128                                                                                     FIVE POINTS      AL    36855‐0128
JAMES R HENDERSON CUST NICHOLAS J HENDERSON    331 HIDDEN LK DR                                                                               HOLLAND          OH    43528‐8316
UTMA OH
JAMES R HENRY                                  1906 CLARA MATHIS RD                                                                           SPRING HILL      TN    37174‐2547
JAMES R HENRY JR                               130 SPLIT ROCK LANE                                                                            PARK RIDGE       NJ    07656‐1016
JAMES R HENSLEY                                11215 CHILLICOTHE ROAD                                                                         CHESTERLAND      OH    44026‐1403
JAMES R HENSLEY                                9 WHITEWOOD COURT                                                                              BEECH GROVE      IN    46107‐2615
JAMES R HERMAN                                 624 CAMPION CT                                                                                 EVANSVILLE       WI    53536‐1088
JAMES R HILL                                   2858 S CANAL EXTENSION                                                                         NEWTON FALLS     OH    44444‐9476
JAMES R HOCKIN & CYNTHIA HOCKIN JT TEN         7332 PONDEROSA DR                                                                              SWARTZ CREEK     MI    48473‐9453
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JAMES R HODGSON                                    7877 COLUMBIANA CANFIELD ROAD                                                                   CANFIELD           OH    44406‐9441
JAMES R HODGSON & DIANE J HODGSON JT TEN           7877 COLUMBIANA CANFIELD ROAD                                                                   CANFIELD           OH    44406‐9441
JAMES R HOLLINS                                    630 WEST BUNDY AVE                                                                              FLINT              MI    48505‐2043
JAMES R HOLLIS                                     630 WEST BUNDY AVE                                                                              FLINT              MI    48505‐2043
JAMES R HOLMES                                     PO BOX 1989                                                                                     LAKE HAVASU CITY   AZ    86405‐1989

JAMES R HOPE & NAOMI C HOPE JT TEN                 782 MAXWELL MILL RD                                                                             DEWY ROSE          GA    30634‐2118
JAMES R HOY & ISLA FAY N HOY JT TEN                1074 SW LIBERTY AVE                                                                             PORT ST LUCIE      FL    34953‐3657
JAMES R HUFFAKER                                   713 LANDING LANE                                                                                KNOXVILLE          TN    37922‐4837
JAMES R HUFFAKER JR                                2075 HEMBREE GROVE DR                                                                           ROSWELL            GA    30076‐1273
JAMES R HUGHES                                     6618 DALE ROAD                                                                                  NEWFANE            NY    14108‐9715
JAMES R HUMMERT                                    3012 NORTH 32 ST #27                                                                            PHOENIX            AZ    85018‐6846
JAMES R HUNTER                                     4939 MIDDLEBELT RD                                                                              WESTLAND           MI    48186‐5188
JAMES R HUNTER                                     2907 S MADISON                                                                                  MUNCIE             IN    47302‐5135
JAMES R HUNTLEY                                    2339 LYNN PARK DR                                                                               TOLEDO             OH    43615‐2933
JAMES R IMOEHL                                     W363 S10902 BURR OAK TRAIL                                                                      EAGLE              WI    53119‐1823
JAMES R ISIT                                       3428 SNOW RD                                                                                    BRIDGMAN           MI    49106‐9743
JAMES R JACKSON & IRENE JACKSON JT TEN             1992 HARBOR HILLS DR                                                                            DANDRIDGE          TN    37725‐6650
JAMES R JACQUES                                    5717 HARLOWE DR                                                                                 SHELBY TWNSHP      MI    48316‐3240
JAMES R JAQUES                                     1172 N DYE RD                                                                                   FLINT              MI    48532‐2215
JAMES R JASTIFER                                   3349 34TH ST SW                                                                                 GRANDVILLE         MI    49418‐1906
JAMES R JEFFERS                                    1272 MATHEWS                                                                                    LAKEWOOD           OH    44107‐3123
JAMES R JEFFRIES                                   1612 PLEASANT DR                                                                                KOKOMO             IN    46902‐5852
JAMES R JENKINS                                    9 CONSTITUTION BLVD                                                                             NEW CASTLE         DE    19720‐4403
JAMES R JOHNSON                                    7825 VISTA AVE                                                                                  GRAND LEDGE        MI    48837‐8969
JAMES R JOHNSON                                    1002 WAYNE ST                          APT D                                                    SANDUSKY           OH    44870‐3500
JAMES R JOHNSON                                    BOX 832BELLMANOR ROAD                                                                           CONOWINGO          MD    21918
JAMES R JOHNSON                                    W734 CTY HWY U                                                                                  BANGOR             WI    54614
JAMES R JOHNSON                                    718 HILLCREST LANE                                                                              OREGON             WI    53575‐2608
JAMES R JOHNSON & JUDY A JOHNSON JT TEN            2111 WILSON AVE NE                                                                              WARREN             OH    44483‐2919
JAMES R JONES & JULIA C JONES JT TEN               101 COUNTRY BARN RD                                                                             HOUSTON            PA    15342‐1072
JAMES R JONES JR                                   2697 PANTALL RD                                                                                 THOMPSON'S         TN    37179‐9241
                                                                                                                                                   STATION
JAMES R JOYNER & CHERYL ANN JOYNER JT TEN          304 MANOR DRIVE                                                                                 KENNET SQUARE      PA    19348‐1409
JAMES R JUNGWIRTH                                  1339 WINNEBAGO AVE                                                                              OSHKOSH            WI    54901‐5334
JAMES R KECK                                       6094 COLUMBIA ST                                                                                HASLETT            MI    48840‐8224
JAMES R KELLER                                     300 ELMWOOD                                                                                     DAVISON            MI    48423‐1450
JAMES R KELLEY                                     845 BRICK MILL RD                                                                               CANTON             GA    30115‐3867
JAMES R KELLEY                                     PO BOX 335                                                                                      THOMPSONS STN      TN    37179
JAMES R KELLEY & MARLENE DWYER KELLEY JT TEN       PO BOX 335                                                                                      THOMPSONS STN      TN    37179

JAMES R KELLY                                      1409 N SHERIDAN ROAD                                                                            PEORIA             IL    61606‐1354
JAMES R KENNIS                                     3344 AQUARIOUS CIRCLE                                                                           OAKLAND            MI    48363‐2710
JAMES R KENZIE                                     14815 WICK BOULEVARD                                                                            ALLEN PARK         MI    48101‐1641
JAMES R KENZIE & ROSE K KENZIE JT TEN              14815 WICK RD                                                                                   ALLEN PARK         MI    48101‐1641
JAMES R KERN                                       920 FRANKLIN                                                                                    BAY CITY           MI    48708‐7043
JAMES R KETTERER                                   1273 AUTUMN WALK                                                                                HAMILTON           OH    45013‐5122
JAMES R KIEFFER TR UA 10/20/2006 JAMES R KIEFFER   875 FOXGLOVE COURT                                                                              BROOKFIELD         WI    53045
2006 REVOCABLE TRUST
JAMES R KING                                       501 COUNTY RD                          APT 5                                                    MONDAMIN           IA    51557
JAMES R KING JR                                    8145 WILDCAT RD                                                                                 TIPP CITY          OH    45371‐9278
JAMES R KIRK                                       PO BOX 36235                                                                                    INDIANAPOLIS       IN    46236‐0235
JAMES R KIRK & VIRGINIA E KIRK JT TEN              211 FIVE OAKS                                                                                   SAN ANTONIO        TX    78209‐2407
JAMES R KISER                                      103 N PINE ST                                                                                   BRAZIL             IN    47834‐1558
JAMES R KLEMETSRUD & FRANCES KLEMETSRUD JT TEN     3761 BOWMAN CIRCLE DR NE                                                                        CLEVELAND          TN    37312‐5018

JAMES R KNOCHE                                     3514 ELIOT LANE                                                                                 MADISON            WI    53704‐2331
JAMES R KOEBKE                                     3549 KRAFFT ROAD                                                                                FORT GRATIST       MI    48059‐3706
JAMES R KOEHLER                                    321 LANCELOT WAY                                                                                BOLINGBROOK        IL    60440‐2142
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JAMES R KOEHLER                                   376 TURNER DR                                                                                   LEBANON           OH    45036‐1031
JAMES R KONOPKA                                   14964 STONEHAM                                                                                  RIVERVIEW         MI    48192‐7720
JAMES R KOTTERMAN                                 1457 E COUNTY ROAD 550 N                                                                        PERU              IN    46970‐9470
JAMES R KOZAK                                     6510 EAST WASHINGTON                                                                            SAGINAW           MI    48601‐9652
JAMES R KREBS                                     8797 CARRIAGE LANE                                                                              PENDLETON         IN    46064‐9339
JAMES R KREEGER & LUCILLE KREEGER JT TEN          8730 MINNEHAHA                                                                                  KANSAS CITY       MO    64114‐3043
JAMES R KUHN                                      C/O ARLEEN KUHN GINN                   INTERWEST            710 E DURANT A                      ASPEN             CO    81611‐2070
JAMES R LAATSCH CUST ADAM THOMAS ATKINS UTMA      12 BUCKSKIN LN                                                                                  NORTH HAMPTON     NH    03862‐2058
NH
JAMES R LACEY                                     224 BAY AVENUE                                                                                  GLEN RIDGE        NJ    07028‐2406
JAMES R LACKEY                                    8879 W OUTER DR                                                                                 DETROIT           MI    48219‐3565
JAMES R LACKEY                                    8879 WEST OUTER DRIVE                                                                           DETROIT           MI    48219‐3565
JAMES R LALUMIERE                                 26 OLD MILLVILLE RD                    APT 5                                                    UXBRIDGE          MA    01569‐1998
JAMES R LAMBERT                                   8845 COUNTY HWY F                                                                               EDGERTON          WI    53534‐8984
JAMES R LAMPE II CUST BERNARD K LAMPE UTMA IL     BOX 252                                                                                         GERMANTOWN        IL    62245‐0252

JAMES R LAMPKINS                                  4453 S LAWLER                                                                                   CHICAGO           IL    60638‐1953
JAMES R LANGE                                     1961 TARRANT RD                                                                                 MILTON            WI    53563‐9757
JAMES R LANGLEY                                   1402 FRIEL                                                                                      BURTON            MI    48529‐2014
JAMES R LANZ                                      4758 KEEFER HIGHWAY                                                                             LYONS             MI    48851‐9709
JAMES R LAPAN                                     585 LEDDY ROAD                                                                                  SAGINAW           MI    48609‐9425
JAMES R LASKO                                     21 CLARK COURT                                                                                  EAST BRUNSWICK    NJ    08816‐4054
JAMES R LAURINAHO & KAREN L LAURINAHO JT TEN      26186 WYANDOTTE ST                                                                              LAURIUM           MI    49913‐2692

JAMES R LAWRIE & ELLEN L LAWRIE JT TEN            830 SUNGLOW CIRCLE                                                                              INDIANAPOLIS      IN    46231‐1179
JAMES R LEBER                                     7322 VARIEL ST #5                                                                               CANOGA PARK       CA    91303‐3435
JAMES R LEE                                       15290 LAKETON                                                                                   CASNOVIA          MI    49318‐9604
JAMES R LEE                                       G11268 N MCKINLEY RD                                                                            MONTROSE          MI    48457
JAMES R LEE SR                                    1363 SUNNYFIELD AVE NW                                                                          WARREN            OH    44481‐9133
JAMES R LEECK                                     PO BOX 125                                                                                      CLIO              MI    48420‐0125
JAMES R LEIBRING                                  PO BOX 103                                                                                      LOCKPORT          NY    14095‐0103
JAMES R LEVELS                                    PO BOX 25                                                                                       DIAMOND           OH    44412‐0025
JAMES R LEWIS & MARY JANE LEWIS JT TEN            5110 CAMBORNE COURT                                                                             FLINT             MI    48504‐1110
JAMES R LEWIS TR UA 08/06/93 CREE ROBERTS TRUST   340 WOODLAWN DR                                                                                 LAWRENCE          KS    66049‐1838

JAMES R LILLARD                                   4818 STATE ROUTE 225                                                                            DIAMOND           OH    44412‐9759
JAMES R LITTLEFIELD                               435 HERRICK RD                                                                                  BROOKSVILLE       ME    04617‐3738
JAMES R LIVINGSTON                                4267 GLENAYRE DR                                                                                ENGLEWOOD         OH    45322‐2617
JAMES R LIVINGSTON & LAURA E LIVINGSTON JT TEN    6300 WEST FRANCES ROAD                                                                          CLIO              MI    48420‐8549

JAMES R LLOYD & SUE D LLOYD JT TEN                11 CAMINO CIELO                                                                                 PLACITAS          NM    87043‐9418
JAMES R LOBA                                      13150 ADA LN                                                                                    NOKESVILLE        VA    20181‐3326
JAMES R LONG                                      7530 WOODLEAF RD                                                                                WOODLEAF          NC    27054‐9311
JAMES R LONG                                      3820 WEST OLDS ROAD                                                                             LESLIE            MI    49251‐9719
JAMES R LONG                                      60 N STATE ROUTE 101                   LOT 111                                                  TIFFIN            OH    44883‐8451
JAMES R LONGAN JR & HEIDI P LONGAN JT TEN         9014 N ROSEBURY LN                                                                              SPOKANE           WA    99208‐9170
JAMES R LUCAS                                     23800 LAHSER RD                                                                                 SOUTHFIELD        MI    48034‐3259
JAMES R LUCAS                                     56 WALNUT HALL DRIVE                                                                            INDEPENDENCE      KY    41051‐8640
JAMES R LUCIER                                    4 SAMOSET CIRCLE                                                                                MEDWAY            MA    02053‐1401
JAMES R LUHRING                                   125 SPRING LAKES DRIVE                                                                          MARTINEZ          GA    30907‐1650
JAMES R LUTZ                                      3187 W STATE ROAD 18 18                                                                         KOKOMO            IN    46901‐7669
JAMES R LYCAN                                     215 E 66TH ST                                                                                   ANDERSON          IN    46013
JAMES R LYNCH                                     14061 MACKLIN ROAD                                                                              NEW SPRINGFIELD   OH    44443‐9749

JAMES R MABRY                                     2289 S ELBA RD                                                                                  LAPEER            MI    48446‐9746
JAMES R MADDEN                                    5090 JAMESWOOD CIR                                                                              KETTERING         OH    45429‐5415
JAMES R MADDEN & MARY P MADDEN JT TEN             5090 JAMESWOOD CIRCLE                                                                           KETTERING         OH    45429‐5415
JAMES R MAINES                                    1119 LIVE OAK CIR                                                                               KNOXVILLE         TN    37932‐3061
JAMES R MAJORS                                    5141 JOANGAY                                                                                    WATERFORD         MI    48327‐2450
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Name                                             Address1                               Address2             Address3          Address4          City              State Zip

JAMES R MALONE                                   98 ROSEMONT DRIVE                                                                               AMHERST           NY    14226‐1637
JAMES R MANESS                                   544 SHERIDAN                                                                                    DETHALTO          IL    62010‐1826
JAMES R MANGAS                                   4399 GAULT RD                                                                                   NO JACKSON        OH    44451‐9713
JAMES R MANGAS & DEBRA S MANGAS JT TEN           4399 GAULT RD                                                                                   NORTH JACKSON     OH    44451‐8728
JAMES R MANOS                                    2436 JEFFERSON AVE                                                                              NORWOOD           OH    45212‐4008
JAMES R MARGOLIS                                 20 TAHITI BEACH ISLAND RD                                                                       CORAL GABLES      FL    33143‐6540
JAMES R MARMION III                              PO BOX 1002                                                                                     CARRIZO SPRINGS   TX    78834‐7002
JAMES R MARSH                                    BOX 42156                                                                                       LAS VEGAS         NV    89116‐0156
JAMES R MARTIN                                   7727 BREWER JR RD                                                                               MILLINGTON        MI    48746‐9545
JAMES R MASON & BARBARA M MASON JT TEN           6651 MOUNT FOREST DRIVE                                                                         SAN JOSE          CA    95120‐1930
JAMES R MATHIS                                   115 YAGER ROAD                                                                                  CLINTON           OH    44216‐9468
JAMES R MATTIES                                  11210 SHADY BROOK COURT                                                                         SOUTH LYON        MI    48178‐6637
JAMES R MATTIVI                                  6904 RAYTOWN ROAD                                                                               KANSAS CITY       MO    64133‐6056
JAMES R MAXSON                                   19324 KLINGER                                                                                   DETROIT           MI    48234‐1738
JAMES R MAY                                      1945 WHITE LAKE RD                                                                              HIGHLAND          MI    48356‐1330
JAMES R MC CARL & SUSAN F MC CARL JT TEN         138 LONG LN                                                                                     WALLKILL          NY    12589‐3524
JAMES R MC CORMICK                               1326 W SELFRIDGE BLVD                                                                           CLAWSON           MI    48017‐1390
JAMES R MC DONALD                                11186 SO 34TH ST                                                                                VICKSBURG         MI    49097‐9523
JAMES R MC DONALD                                308 PINEHURST ROAD                                                                              WILMINGTON        DE    19803‐3115
JAMES R MC ELHENNEY & BETTY ANN MC ELHENNEY JT   367 W BROADWAY                                                                                  JIM THORPE        PA    18229‐1907
TEN
JAMES R MC KAY JR                                2323 SAWDUST RD                                                                                 VIENNA            VA    22181‐3044
JAMES R MC KELL                                  1394 OKTOC RD                                                                                   STARKVILLE        MS    39759‐9255
JAMES R MC KNIGHT                                15409 N PALMYRA RD                                                                              DIAMOND           OH    44412‐9618
JAMES R MCCARTHY                                 17 PRESIDENTIAL DR                                                                              SOUTHBOROUGH      MA    01772‐1122
JAMES R MCCLOUD & ROBERTA L MCCLOUD JT TEN       100 COSMOS DR                                                                                   W CARROLLTON      OH    45449‐2062

JAMES R MCCORMICK & CAROLYN J MCCORMICK JT TEN 1326 WEST SELFRIDGE BOULEVARD                                                                     CLAWSON           MI    48017‐1390

JAMES R MCDOUGALL                                14040 BURT RD                                                                                   CHESANING         MI    48616‐9533
JAMES R MCELROY                                  628 JAMESTOWN DRIVE                                                                             MIAMISBURG        OH    45342‐3944
JAMES R MCINTYRE TR JAMES R MCINTYRE TRUST UA    11749 MILLSTONE DRIVE                                                                           GRAND LEDGE       MI    48837‐2268
11/17/97
JAMES R MCKNIGHT                                 1787 VANCOOVER DRIVE                                                                            DAYTON            OH    45406‐4622
JAMES R MEAD                                     9861 KROUSE RD                                                                                  OVID              MI    48866‐9762
JAMES R MECHA                                    25739 PINEHURST DR                                                                              MONEE             IL    60449‐8715
JAMES R MEDLIN                                   606 SUNSET                                                                                      INDEPENDENCE      MO    64050‐3223
JAMES R MIDDLETON                                1456 PROPER AVE                                                                                 BURTON            MI    48529‐2046
JAMES R MILAM                                    1501 CAMBRIDGE DR                                                                               SHREVEPORT        LA    71105‐5003
JAMES R MILLARD                                  3216 SOUTH WEST 96TH                                                                            OKLAHOMA CITY     OK    73159‐6505
JAMES R MILLARD TR JAMES R MILLARD TRUSTUA       3910 N MIELKE WAY ROAD                                                                          LEWISTON          MI    49756‐7903
10/14/99
JAMES R MILLER                                   8736 SAN MARCO                                                                                  STERLING HGTS     MI    48313‐4862
JAMES R MILLER                                   1645 HILLSIDE                                                                                   LAKE ORION        MI    48362‐2214
JAMES R MILLER & PAULINE R MILLER JT TEN         8730 EDGAR CT                                                                                   CLARKSTON         MI    48346‐1916
JAMES R MILLER JR                                2115 HOPKINS                                                                                    HOUSTON           TX    77006‐2103
JAMES R MINNE                                    22948 ST JOAN                                                                                   ST CLAIR SHS      MI    48080‐3871
JAMES R MITCHELL                                 40 CENTRE ST                                                                                    EAST WEYMOUTH     MA    02189‐1305
JAMES R MITCHEM                                  28 STRASSBURG CIR                                                                               SHREWSBURY        PA    17361‐1827
JAMES R MOLNAR                                   PO BOX 159                                                                                      W HENRIETTA       NY    14586‐0159
JAMES R MOLNAR                                   11322 LLOYD RD                                                                                  CANAL FULTON      OH    44614‐8610
JAMES R MOLONEY                                  9226 MORNING MIST DRIVE                                                                         CLARKSTON         MI    48348‐2880
JAMES R MONTGOMERY                               PO BOX 158                                                                                      GAINESBORO        TN    38562
JAMES R MOORE                                    2441 VAUGHN DRIVE                                                                               CLIO              MI    48420‐1067
JAMES R MOORE                                    621 SHERIDAN AVE                                                                                SAGINAW           MI    48607‐1614
JAMES R MORGAN                                   3314 OTSEGO                                                                                     AMARILLO          TX    79106‐3506
JAMES R MORKER                                   3231 GLENDALE ST                                                                                MONROE            MI    48162‐5808
JAMES R MORRISON                                 9501 EVENING STAR ROAD                                                                          EUDORA            KS    66025‐8336
JAMES R MOSHER                                   5511 FIESTA PASS                                                                                GRAND BLANC       MI    48439‐9151
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JAMES R MOSHIER                                   23650 MAYFLOWER RD                                                                             HILLMAN          MI    49746‐8628
JAMES R MOUBRAY                                   16883 TURNER ST                                                                                LANSING          MI    48906‐2304
JAMES R MOUCH                                     461 E RIVER RD                                                                                 TRAVERSE CITY    MI    49686‐8351
JAMES R MOYES & LOUISE M MOYES JT TEN             8911 TIMBERWOOD DR                                                                             INDIANAPOLIS     IN    46234‐1953
JAMES R MURGILLO                                  46 GATEWAY RD                                                                                  ROCHESTER        NY    14624‐4438
JAMES R MUSILLO JR                                204 SUMMERFIELD DRIVE                                                                          MUNHALL          PA    15120‐3349
JAMES R NEARY                                     3 GLIDDEN CIR                                                                                  HAMLIN           NY    14464
JAMES R NEAVES                                    13243 ROLLIE RD E                                                                              BISHOPVILLE      MD    21813‐1107
JAMES R NELSON                                    2320 GREEN TREE COURT                                                                          LINDENHURST      IL    60046‐8833
JAMES R NEWCOMB TR UW HARRY NEWCOMB               3606 BLOOMINGTON RD                                                                            EAST PEORIA      IL    61611‐4522
JAMES R NEWGENT                                   1214 SUDBURY                                                                                   PASADENA         TX    77504‐3136
JAMES R NEWSOME                                   4021 EASTWOOD LANE                                                                             WARRENSVILLE     OH    44122‐7037
JAMES R NIXON IV                                  PO BOX 415                                                                                     LAINGSBURG       MI    48848‐0415
JAMES R NODAY                                     212 GRISWOLD DR                                                                                YOUNGSTOWN       OH    44512‐2828
JAMES R NOWAKOWSKI                                558 ARBOR DR                                                                                   CARMEL           IN    46032‐5864
JAMES R NUVEMAN                                   5056 COLBY ROAD                                                                                OWOSSO           MI    48867‐9715
JAMES R ODOM                                      4333 UNION CHURCH RD                                                                           MC DONOUGH       GA    30252‐8132
JAMES R OLSON                                     345 GREEN AVENUE                                                                               BAY CITY         MI    48708‐6843
JAMES R ORAVEC & M DENISE ORAVEC JT TEN           249 EL DORADO CT                                                                               ANGELS CAMP      CA    95222‐9436
JAMES R ORICK                                     5237 N 100 W                                                                                   ANDERSON         IN    46011‐9285
JAMES R OROLIM                                    2883 LAURYL DR                                                                                 COMMERCE         MI    48382‐3429
JAMES R OSBORNE JR                                22610 FREDERICK RD                                                                             STEGER           IL    60475‐5534
JAMES R OSWALT                                    5313 NORTH STAR‐FT LORAMIE                                                                     NEW WESTON       OH    45348‐9766
JAMES R OTTAWAY                                   1228 CRYSTAL POINTE DR                                                                         FENTON           MI    48430‐1509
JAMES R OZOL CUST ANDREW T BADEAUX UTMA NJ        5 BOND AVE                                                                                     LAVALLETTE       NJ    08735‐2109

JAMES R OZOL CUST CASEY E BADEAUX UTMA NJ         5 BOND AVE                                                                                     LAVALLETTE       NJ    08735‐2109
JAMES R OZOL CUST RACHAEL L BADEAUX UTMA NJ       5 BOND AVE                                                                                     LAVALLETTE       NJ    08735‐2109

JAMES R PACHTER                                   207 MILTON AVE                                                                                 BALLSTON SPA      NY   12020‐1410
JAMES R PADEN                                     11 NORTH CANAL ST                     PO BOX 449                                               OXFORD            NY   13830‐0449
JAMES R PALMER                                    3318 HAROLD ST                                                                                 FLINT             MI   48503‐4106
JAMES R PALSO                                     11131 E POTTER RD                                                                              DAVISON           MI   48423‐8154
JAMES R PAONE & PORTIA M PAONE JT TEN             105 COLTON AVE                                                                                 NEWARK            NY   14513
JAMES R PARKER                                    278 VANSICKLE DR                                                                               CHARLOTTE         MI   48813‐8159
JAMES R PARKER & CONSTANCE J PARKER JT TEN        278 VANSICKLE                                                                                  CHARLOTTE         MI   48813
JAMES R PARSON                                    413 E CLAY AVE                                                                                 BRANDON           FL   33510‐3739
JAMES R PARTLOW JR                                133 NUTWOOD DRIVE                                                                              TALLMADGE         OH   44278‐3016
JAMES R PATTON                                    681 HILLSIDE DRIVE                                                                             GRAYSON           GA   30017‐1024
JAMES R PAUL                                      37 EWER AVE                                                                                    ROCHESTER         NY   14622‐1613
JAMES R PAYNE                                     3813 ELLWOOD                                                                                   BERKLEY           MI   48072‐3123
JAMES R PAYTON                                    11320 TWELVE OAKS WAY                                                                          N PALM BEACH      FL   33408‐3221
JAMES R PEARCE                                    4807 RIVERVIEW AVE                                                                             MIDDLETOWN        OH   45042‐3048
JAMES R PEERY                                     2419 FAYETTE                                                                                   NORTH KANSAS CITY MO   64116‐3054

JAMES R PELNARSH                                  11811 S BRIGHTWAY                                                                              MOKENA           IL    60448‐1423
JAMES R PERKINS                                   5 ANDERSON RD                                                                                  ATKINSON         ME    04426‐6037
JAMES R PERLITZ                                   P O BOX 1499                                                                                   BOERNE           TX    78006
JAMES R PERRY JR                                  1042 ATLANTIC AVE                                                                              TOLEDO           OH    43609‐3012
JAMES R PETERS                                    6205 PASEO PRIVADO                                                                             CARLSBAD         CA    92009‐1910
JAMES R PETERS & JOAN T PETERS TR UA 03/30/81     PO BOX 426                                                                                     THREE RIVERS     CA    93271‐0426
PETERS FAMILY TRUST
JAMES R PETTY                                     1310 SOUTHERN PKWY                                                                             CLARKSVILLE      TN    37040‐4368
JAMES R PEWITT                                    1915 MEADOWRIDGE                                                                               WALLED LAKE      MI    48390‐2655
JAMES R PHELPS                                    821 DOOLIN SCHOOL RD                                                                           SOMERSET         KY    42503‐5195
JAMES R PHILLIPS                                  101 S 4TH ST                          APT 310                                                  LEAVENWORTH      KS    66048‐2752
JAMES R PHILLIPS                                  802 WINDER COURT                                                                               WINCHESTER       VA    22601‐6740
JAMES R PHILLIPS & BETTY L PHILLIPS JT TEN        802 WINDER COURT                                                                               WINCHESTER       VA    22601‐6740
JAMES R PHIPPS                                    26024 HOFFMAN ROAD                                                                             DEFIANCE         OH    43512‐8934
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JAMES R PIERRIE                                  5744 HOLLAND RD                                                                               SAGINAW            MI    48601‐9403
JAMES R PIONTEK SR & ROSEMARY E PIONTEK JT TEN   25234 WALDORF ST                                                                              ROSEVILLE          MI    48066‐3940

JAMES R PLIML & JULIA M PLIML JT TEN             1185 HALLWOOD DRIVE                                                                           FLORISSANT         MO    63033‐6033
JAMES R POLLARD                                  1915 DUBOURG                                                                                  LOUISVILLE         KY    40216‐5231
JAMES R POMAVILLE                                C/O KENDALL LOUIS POMAVILLE          2585 N EUCLID AVE                                        BAY CITY           MI    48706‐1106
JAMES R POOLE                                    3969 NELSON DR                                                                                NEWPORT            MI    48166‐9007
JAMES R POPP                                     3845 HOPPER HILL                                                                              CINCINNATI         OH    45255‐5055
JAMES R PORRITT JR                               436 S BROADWAY ST STE C                                                                       LAKE ORION         MI    48362‐2792
JAMES R POSPULA                                  49 PARKLANDS DR                                                                               ROCHESTER          NY    14616‐2043
JAMES R POTTER & DONNA M POTTER JT TEN           1025 S ALKIRE                                                                                 LAKEWOOD           CO    80228‐3111
JAMES R POWELL                                   5142 COBBLERS COURT                                                                           BLOOMFIELD HILLS   MI    48304‐3730

JAMES R POWERS                                   17 GRESEL ST                                                                                  HAYWARD            CA    94544‐7635
JAMES R PRAISNER                                 7 GRAHAM TERRACE                                                                              MONTCLAIR          NJ    07042
JAMES R PRESTON                                  554 WILKINS STREET APT 1010                                                                   DETROIT            MI    48201‐2831
JAMES R PRICE                                    4385 DURST CLAGG RD                                                                           CORTLAND           OH    44410‐9503
JAMES R PROCK                                    7812 HARRISON AVE                                                                             CINCINNATI         OH    45231‐3112
JAMES R PRUETT                                   660 BOYD                                                                                      PONTIAC            MI    48342‐1926
JAMES R PUMPERA                                  3709 W 121ST PL                                                                               ALSIP              IL    60803‐1211
JAMES R PUSEY                                    5 CROYDEN ROAD                                                                                MINEOLA            NY    11501‐4606
JAMES R PUTMAN                                   1476 COUNTY HIGHWAY 6                                                                         BLOUNTSVILLE       AL    35031‐6241
JAMES R QUINLAN                                  235 METCALFT STREET                  WESTMOUNT QC                           H3Z 2H8 CANADA
JAMES R RAMEY                                    2782 WILSON LN                                                                                FAYETTEVILLE       AR    72703‐9813
JAMES R RATHBURN                                 25 ARMSTRONG ST                                                                               FLUSHING           MI    48433‐9208
JAMES R RAY                                      5904 SUNRIDGE CT                                                                              CLARKSTON          MI    48348‐4765
JAMES R RAY                                      1317 CHIPPEWA AVE                                                                             AKRON              OH    44305‐2703
JAMES R REDDY                                    6416 BIRCH RUN RD                                                                             MILLINGTON         MI    48746‐9725
JAMES R REED                                     3828 E 71ST ST                                                                                KANSAS CITY        MO    64132‐2069
JAMES R REITER                                   15026 RIDGE LAKE DR                                                                           CHESTERFIELD       MO    63017‐7653
JAMES R REYNOLDS                                 2808 REESE DRIVE                                                                              STERLING HEIGHTS   MI    48310‐3649

JAMES R RICE                                     18047 OAKFIELD                                                                                DETROIT            MI    48235‐3280
JAMES R RICHARDSON                               306 SPRING MEADOWS AVE                                                                        DALLAS             GA    30157‐9454
JAMES R RICHMOND                                 831 E KITTLE RD                                                                               MIO                MI    48647‐9746
JAMES R RIEF                                     1724 N LELAND AVE                                                                             INDIANAPOLIS       IN    46218‐4776
JAMES R RIGNEY                                   172 SUMMIT AVE                                                                                PHILLIPSBURG       NJ    08865‐2433
JAMES R RISCH                                    433 IMY LANE                                                                                  ANDERSON           IN    46013‐3872
JAMES R RITZEMA & PEGGY M RITZEMA JT TEN         964 BAY RIDGE DR                                                                              HOLLAND            MI    49424‐6493
JAMES R ROBERTS                                  38033 LAKE SHORE BLVD                                                                         WILLOUGHBY         OH    44094‐7057
JAMES R ROBERTS                                  17045 SNEED ST                                                                                ATHENS             AL    35614‐5267
JAMES R ROBERTS                                  14424 MAGNOLIA BLVD                  APT# 215                                                 SHERMAN OAKS       CA    91423‐1048
JAMES R ROBERTS                                  5851 SHADY COVE LANE                                                                          TROTWOOD           OH    45426‐2117
JAMES R ROBERTS & ROSEMARIE B ROBERTS JT TEN     38033 LAKE SHORE BLVD                                                                         WILLOUGHBY         OH    44094‐7057

JAMES R ROBERTSON                                616 BAKER DR                                                                                  HURST              TX    76054‐3428
JAMES R ROBISON JR                               4666 CAS ELIZABETH                                                                            WATERFORD          MI    48327‐3200
JAMES R ROETHLISBERGER                           260 SWANSON                                                                                   SAGINAW            MI    48609‐6925
JAMES R ROMAIN                                   212 ELLIS ST                                                                                  CARO               MI    48723‐1908
JAMES R ROSS                                     1365 SHERWOOD LANE                                                                            COOKEVILLE         TN    38501‐1147
JAMES R ROTH                                     309 ROGERS ST                                                                                 FORT ATKINSON      WI    53538‐1241
JAMES R ROUSH                                    4152 SWALLOW DR                                                                               FLINT              MI    48506‐1618
JAMES R ROZANSKI                                 895 FAIRLEDGE ST                                                                              LAKE ORION         MI    48362‐2695
JAMES R RUBENZER & PRISCILLA S RUBENZER JT TEN   1427 W DECORAH RD                                                                             WEST BEND          WI    53095‐3701

JAMES R RUNNELS                                  5120 MARSHALL LANE                                                                            WHITE LAKE         MI    48383‐3348
JAMES R RUSSEL                                   PO BOX 247                                                                                    WINDHAM            CT    06280‐0247
JAMES R RUSSELL                                  103 MALSON ST                                                                                 JACKSON            SC    29831‐3327
JAMES R RUSSELL III & LEANNA RUSSELL JT TEN      2526 TROJAN DRIVE                                                                             GREEN BAY          WI    54304‐1437
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JAMES R SALGOT & MRS LILLIAN M SALGOT JT TEN     PO BOX 2034                                                                                       PAYSON           AZ    85547‐2034
JAMES R SALMOND                                  1242 WEST SUTTON RD                                                                               METAMORA         MI    48455‐9632
JAMES R SANBORN                                  1055 S GEECK RD                                                                                   CORUNNA          MI    48817‐9547
JAMES R SAVAGE                                   2946 BUCKINGHAM ST                                                                                BERKLEY          MI    48072‐1318
JAMES R SCHACHTE                                 5331 RUSKIN PLACE WEST                                                                            INDIANAPOLIS     IN    46224‐1443
JAMES R SCHAFFER JR                              569 PENN ES                                                                                       EAST STROUDSBURG PA    18301‐9062

JAMES R SCHAICH                               3721 SURFSIDE BLVD                                                                                   CAPE CORAL       FL    33914‐4814
JAMES R SCHALITZ                              15 NW SHELTER LAKE DR                                                                                LAWTON           OK    73505‐3739
JAMES R SCHEPLER                              11541 ORCHARD VIEW                                                                                   FENTON           MI    48430‐2545
JAMES R SCHEPPER                              PO BOX 64                                                                                            COIL CITY        IN    47427‐0064
JAMES R SCHIEMAN                              206 WHITTINGTON DR                                                                                   CENTERVILLE      OH    45459‐2132
JAMES R SCHMADEKE & ROSEMARY SCHMADEKE JT TEN 310 BOYD AVE                                                                                         NORTH PLATTE     NE    69101‐5080

JAMES R SCHULTE                                  14475 PECAN HILL CIRCLE                                                                           NOBLE            OK    73068‐5251
JAMES R SCHULTZ                                  646 EAST KLINE ST                                                                                 GIRARD           OH    44420‐2326
JAMES R SCHULTZ CUST JOHN M SCHULTZ UGMA NJ      301 RIDGLEY COURT                                                                                 POMPTON PLAINS   NJ    07444‐2154

JAMES R SCHUMANN                               1212 W HIGH ST                                                                                      HADDON HGTS      NJ    08035‐1817
JAMES R SCOTT                                  38142 LAURENWOOD DR                                                                                 WAYNE            MI    48184‐1017
JAMES R SCOTT                                  1501 YOUNCE ST                                                                                      FRANKLIN         IN    46131‐1143
JAMES R SCRIBNER                               7694 PARKWOOD CT                                                                                    WATERFORD        MI    48329‐2634
JAMES R SEEGERT                                1450 S RIVERSIDE AVE                                                                                SAINT CLAIR      MI    48079‐5137
JAMES R SEEGERT & EMILY B SEEGERT JT TEN       1450 S RIVERSIDE                                                                                    ST CLAIR         MI    48079‐5137
JAMES R SELIG                                  3422 PRAIRIE                                                                                        BROOKFIELD       IL    60513‐1411
JAMES R SHAFER                                 5117 LINKSLAND DR                                                                                   HOLLY SPRINGS    NC    27540‐9155
JAMES R SHAFFER                                13258 SPORTSMAN RDG                                                                                 GRASS LAKE       MI    49240‐9384
JAMES R SHAFT                                  733 N SHELDON ST                                                                                    CHARLOTTE        MI    48813‐1230
JAMES R SHAVER                                 1529 SPIDER RIDGE RD                                                                                PARKERSBURG      WV    26104‐8239
JAMES R SHAW                                   40159 OAK TREE                                                                                      NOVI             MI    48375‐3636
JAMES R SHAW CUST JULIANNE NICOLE SHAW UTMA MI 40159 OAK TREE                                                                                      NOVI             MI    48375‐3636

JAMES R SHEVLIN                                  195 WHITE HALL DR                        APT B                                                    ROCHESTER        NY    14616
JAMES R SHOCKLEY                                 2200 E SHOCKLEY RD                                                                                MUNCIE           IN    47302‐8610
JAMES R SHORTT                                   4381 S SHERIDAN RD                                                                                LENNON           MI    48449‐9403
JAMES R SHOTWELL & MARGARET A SHOTWELL JT TEN    3006 TUMBLEWEED DR                                                                                KOKOMO           IN    46901‐7011

JAMES R SILLER CUST KENNETH R SILLER UGMA MI     37540 GRANTLAND ST                                                                                LIVONIA          MI    48150‐1022

JAMES R SIMMONS                                  515 S KENWOOD AVE                                                                                 BALTIMORE        MD    21224‐3819
JAMES R SIMMS                                    369 SHASTEEN BEND DR                                                                              WINCHESTER       TN    37398‐4371
JAMES R SIMPSON JR                               236 MILLER FARM DR                                                                                WESTMINSTER      SC    29693‐4333
JAMES R SLAVY                                    740 OLD RIVERSIDE ROAD                                                                            BROOKLYN PARK    MD    21225‐2616
JAMES R SLEMP                                    2500 CAROLINA                                                                                     CHICKASHA        OK    73018‐6233
JAMES R SLIFE                                    532 SPRUCE AVE                                                                                    COOKEVILLE       TN    38501‐1682
JAMES R SLUSAR                                   6840 MIDDLE RD 7                                                                                  RACINE           WI    53402
JAMES R SMITH                                    7300 PACKER DRIVE                                                                                 BELMONT          MI    49306‐9713
JAMES R SMITH                                    3838 ARBELA RD                                                                                    MILLINGTON       MI    48746‐9316
JAMES R SMITH                                    17402 S MILES AVE                                                                                 CLEVELAND        OH    44128‐3402
JAMES R SMITH                                    PO BOX 117                                                                                        RICHBURG         SC    29729‐0117
JAMES R SMITH                                    169 INDIAN CREEK LANE                                                                             HOSCHTON         GA    30548‐3137
JAMES R SMITH                                    3362 HWY 101                                                                                      VILLA RICA       GA    30180
JAMES R SMITH                                    1532 ROCKLEIGH RD                                                                                 CENTERVILLE      OH    45458‐6036
JAMES R SMITH                                    296 OXFORD LAKE DR                                                                                OXFORD           MI    48371‐5163
JAMES R SMITH                                    2550 BANTAM RD                                                                                    BETHEL           OH    45106‐9331
JAMES R SMITH                                    607 9TH ST NW                                                                                     HUNTSVILLE       AL    35805‐2749
JAMES R SMITH                                    121 W MAPLE ST                           #A                                                       GILLESPIE        IL    62033‐1413
JAMES R SMITH JR                                 801 HUMMINGBIRD NORTH                                                                             SWANSBORO        NC    28584
JAMES R SNELL                                    RR 2 BOX 177                                                                                      LA CYGNE         KS    66040‐9651
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JAMES R SNELLEN & MRS DOROTHY L SNELLEN JT TEN     1544 MAYFIELD RD                                                                              JACKSONVILLE      FL    32259‐5209

JAMES R SOBIESKI                                   156 DICKINSON                                                                                 MT CLEMENS        MI    48043‐5927
JAMES R SOBIESKI & GEORGINA SOBIESKI JT TEN        156 DICKINSON                                                                                 MT CLEMENS        MI    48043‐5927
JAMES R SOLAK II                                   1519 SEMINOLE LANE                                                                            SAGINAW           MI    48603‐4496
JAMES R SOMERVILLE                                 PO BOX 9022                                                                                   WARREN            MI    48090‐9022
JAMES R SPENCE JR                                  18246 RUTH ST                                                                                 MELVINDALE        MI    48122‐1527
JAMES R STAMPLEY                                   2611 RIDGEWOOD LANE                                                                           NEDERLAND         TX    77627‐4611
JAMES R STANAGE                                    3836 JOLLY LANE                                                                               RAPID CITY        SD    57703‐6047
JAMES R STAUFFACHER                                3 GREENS COURT                                                                                FRISCO            TX    75034‐4829
JAMES R STEARNS & BRENDA J STEARNS JT TEN          6362 STURBRIDGE CT                                                                            SARASOTA          FL    34238‐2780
JAMES R STEELE CUST JUSTIN PIERCE STEELE UGMA MI   12100 W FERDEN                                                                                OAKLEY            MI    48649‐9722

JAMES R STEELE JR                             34 N ALDER ST                                                                                      DAYTON            OH    45417‐1765
JAMES R STENNETT                              0262 ROGERS LANE SE                                                                                BROOKHAVEN        MS    39601‐8893
JAMES R STEPHAN                               8819 PHEASANT VALLEY WAY                                                                           LAS VEGAS         NV    89123‐3644
JAMES R STEURER                               939 N OAKHILL AVE                                                                                  JANESVILLE        WI    53548‐2344
JAMES R STEVENS                               9 HARBOR RD                                                                                        HAMPTON BAYS      NY    11946‐3305
JAMES R STEWART & BEVERLY K STEWART JT TEN    6583 S COUNTY ROAD 400 E                                                                           CLAYTON           IN    46118‐9441
JAMES R STICKLE & MARION STICKLE JT TEN       11602 SHARONWOODS CT                                                                               CINCINNATI        OH    45241‐2237
JAMES R STITT                                 4391 WEST 89TH WAY                                                                                 WESTMINSTER       CO    80031
JAMES R STOKER                                9 EAST CLUB DRIVE                                                                                  PITTSBURGH        PA    15236‐1918
JAMES R STONE JR                              BOX 517                                                                                            PORT HAYWOOD      VA    23138‐0517
JAMES R STONER                                1921 THURMOND PL                                                                                   CHARLOTTE         NC    28205‐3038
JAMES R STRYLOWSKI                            8309 STALLION CT                                                                                   CHARLOTTE         NC    28215‐9087
JAMES R SULLENGER                             7194 BREWER RD                                                                                     FLINT             MI    48507‐4674
JAMES R SUMNER                                2418 YERIAN RD                                                                                     LENNON            MI    48449‐9636
JAMES R SUSKE                                 435 PENN ST                                                                                        NEWTOWN           PA    18940
JAMES R SUTTON                                455 W SARATOGA AVE                                                                                 YOUNGSTOWN        OH    44515‐4071
JAMES R SWANK & MRS GLADYS R SWANK JT TEN     3685 STATE ROUTE 676                                                                               STOCKPORT         OH    43787
JAMES R SWANSON                               4275 ASHTON ST                                                                                     SAN DIEGO         CA    92110‐3527
JAMES R SWEENEY                               11464 WILLIAMS                                                                                     TAYLOR            MI    48180‐4278
JAMES R SYMONS                                1112 N TRUMBULL ST                                                                                 BAY CITY          MI    48708‐6359
JAMES R SZYMANSKI                             5800 LAYTON ROAD                                                                                   FOWLERVILLE       MI    48836‐8980
JAMES R TABLER                                100 PIT LN                                                                                         MARTINSBURG       WV    25404‐0496
JAMES R TAYLOR                                1835 MAPLE AVE                                                                                     NORWOOD           OH    45212‐2011
JAMES R TAYLOR & JEAN J TAYLOR JT TEN         106 WESTLAKE DR                                                                                    DICKSON           TN    37055‐1440
JAMES R TEDFORD & PATRICIA E TEDFORD JT TEN   357 E PLEASANT ST                                                                                  ATHOL             MA    01331‐3226
JAMES R TENNANT                               1106 MCCORMICK                                                                                     BAY CITY          MI    48708‐8316
JAMES R THOMAS                                4163 PHEASANT DR                                                                                   FLINT             MI    48506‐1726
JAMES R THOMAS                                21648 QUEENS WAY                                                                                   BROWNSTOWN        MI    48183‐7618
JAMES R THOMPSON                              1071 CAMBRIA DR                                                                                    EAST LANSING      MI    48823‐2394
JAMES R TINKEY CUST MICHAEL F TINKEY A MINOR  208 VENNING ST                                                                                     MOUNT PLEASANT    SC    29464‐5325
U/THE LAWS OF GEORGIA
JAMES R TOULOUSE CUST CHARLOTTE MARY TOULOUSE 1712 MORNINGRISE SE                                                                                ALBUQUERQUE       NM    87108‐4417
UGMA NM
JAMES R TOWNER                                1308 SOUTH CATALPA                                                                                 PITTSBURG         KS    66762‐5509
JAMES R TOWNER CUST JAMES J TOWNER UGMA KAN 1308 SOUTH CATALPA                                                                                   PITTSBURG         KS    66762‐5509

JAMES R TOWNER CUST JOHN DAVID TOWNER UGMA         1308 SOUTH CATALPA                                                                            PITTSBURG         KS    66762‐5509
KAN
JAMES R TOWNER CUST MARY ANN TOWNER UGMA           1308 SOUTH CATALPA                                                                            PITTSBURG         KS    66762‐5509
KAN
JAMES R TOWNER CUST SUSAN KAY TOWNER UGMA          1308 SOUTH CATALPA                                                                            PITTSBURG         KS    66762‐5509
KAN
JAMES R TROMBLEY                                   4350 SHAMROCK                                                                                 EMMETT            MI    48022‐2818
JAMES R TROMBLEY & BARBARA TROMBLEY JT TEN         Z 2051 CHALON                                                                                 ST CLAIR SHORES   MI    48080

JAMES R TUMAVICH                                   667 WESTERN                                                                                   GLEN ELLYN        IL    60137‐4017
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JAMES R TURNER                                 1505 EVERGREEN DR                                                                                STREETSBORO        OH    44241‐5426
JAMES R TURNER                                 12407 STONE VALLEY DR                                                                            MILFORD            MI    48380‐2880
JAMES R UMSTEAD                                6910 WOODROW                                                                                     ST LOUIS           MO    63121‐5118
JAMES R UNDERWOOD                              213 MAPLE RUN ESTATES BLVD                                                                       SPRINGVILLE        IN    47462‐5418
JAMES R UTTARO CUST DENISE CLARA UTTARO UGMA 25 RETFORD AVE                                                                                     STATEN ISLAND      NY    10312‐5010
NY
JAMES R UTTARO CUST THOMAS RALPH UTTARO UGMA 25 RETFORD AVE                                                                                     STATEN ISLAND      NY    10312‐5010
NY
JAMES R VANDERLIP                              9103 BRIDGE HIGHWAY                                                                              DIMONDALE          MI    48821‐9605
JAMES R VANELLS                                1014 RANDY LN                                                                                    ST JOHNS           MI    48829
JAMES R VIELBIG                                2158 NE IRWIN RD                                                                                 WEATHERBY          MO    64497‐9164
JAMES R VIGGIANO                               625 MALLARD CT                                                                                   YOUNGSTOWN         OH    44515‐5801
JAMES R VINCE & MRS RUTH M VINCE JT TEN        1469 AVON CIRCLE E                                                                               ROCHESTER HILLS    MI    48309‐3022
JAMES R VINEYARD & RUTH A VINEYARD JT TEN      3113 RIDGE OAK DR                                                                                GARLAND            TX    75044‐6945
JAMES R VOKOVIAK                               45 DANIEL DR SE                                                                                  GRAND RAPIDS       MI    49548‐7611
JAMES R WADDELL                                2101 MUD TAVERN RD                                                                               DECATUR            AL    35603‐3409
JAMES R WAGNER                                 8780 WISE RD                                                                                     COMMERCE TWP       MI    48382‐3313
JAMES R WALKER                                 32 BARKSDALE AVE                                                                                 DAYTON             OH    45431
JAMES R WALSH                                  11706 GILDAS RD                                                                                  ALDEN              MI    49612‐9748
JAMES R WALTERS & ROSELLA E WALTERS JT TEN     3317 TIMBERBROOK CT                                                                              DANVILLE           IN    46122‐8515
JAMES R WALTERS SR                             1137 WEST WILLARD                                                                                BIRCH RUN          MI    48415‐8610
JAMES R WANN                                   920 SOUTH SAINT AUGUSTINE                                                                        DALLAS             TX    75217‐9001
JAMES R WANN & EXIE R WANN JT TEN              920 SOUTH SAINT AUGUSTINE                                                                        DALLAS             TX    75217‐9001
JAMES R WARDLOW & MARY L WARDLOW JT TEN        3300 HILLVIEW AVE                                                                                FLINT              MI    48504‐1222
JAMES R WARNER                                 9711 OMELVENY                                                                                    ARLETA             CA    91331‐4150
JAMES R WARREN                                 5262 E COLDWATER RD                                                                              FLINT              MI    48506‐4506
JAMES R WARREN JR CUST SUSAN KIMBERLY WARREN 3912 REDFISH CRT                                                                                   PALMETTO           FL    34221
U/THE VAU‐G‐M‐A
JAMES R WASHINGTON                             5844 CARRIAGE LN                                                                                 ALEXANDRIA         IN    46001‐8618
JAMES R WASHINGTON & SARAH J WASHINGTON JT TEN 5844 N CARRIAGE LN                      APT 2                                                    ALEXANDRIA         IN    46001‐8618

JAMES R WATERMAN                                  5704 PROSPECT RD                                                                              LONGMONT           CO    80503‐9046
JAMES R WATSON                                    70 GUINEVERE COURT                                                                            LAFAYETTE          IN    47905‐9692
JAMES R WATSON                                    1931 APPALOOSA RD                                                                             WARRINGTON         PA    18976‐1952
JAMES R WATSON JR                                 70 GUINEVERE CT                                                                               LAFAYETTE          IN    47905‐9692
JAMES R WAY & RAMONA J WAY JT TEN                 402 DOWELL ROAD                                                                               MC HENRY           IL    60051‐9447
JAMES R WEBBER                                    53100 N FOSTER RD                                                                             CHESTERFIELD       MI    48051‐3912
JAMES R WEBSTER                                   2424 HUNTER RD                                                                                LEWISBURG          TN    37091‐6322
JAMES R WEIGLE & JUDITH L WEIGLE JT TEN           511 ISLE RD                                                                                   BUTLER             PA    16001‐8558
JAMES R WEIR & GLENNA P WEIR JT TEN               6083 GLENRIDGE DRIVE                                                                          BOARDMAN           OH    44512‐3110
JAMES R WELCH                                     9285 CASTLE CT                                                                                OTISVILLE          MI    48463‐9408
JAMES R WELFLE                                    6 PATRICIAN DR                                                                                NORWALK            OH    44857‐2465
JAMES R WELLING                                   1582 EAST CLINTON TRAIL                                                                       CHARLOTTE          MI    48813‐9334
JAMES R WEST                                      1310 E DEXTER TR                                                                              DANSVILLE          MI    48819‐9602
JAMES R WHEELER                                   132 JASMINE AVE                                                                               BUFFALO            NY    14224
JAMES R WHITE & JANET J WHITE JT TEN              14 HAWTHORNE                                                                                  DUMAS              AR    71639
JAMES R WHITEMAN                                  12416 GLENBUSH DR                                                                             MARYLAND           MO    63043‐2917
                                                                                                                                                HEIGHTS
JAMES R WHITNEY                                   31 BOGERT ST                                                                                  CLOSTER            NJ    07624‐3018
JAMES R WILKIE & LYNN S WILKIE JT TEN             3560 N CUSTER                                                                                 MONROE             MI    48162‐9645
JAMES R WILLIAMS                                  1010 LAKEWOOD DRIVE                                                                           COLONIAL HEIGHTS   VA    23834‐1225

JAMES R WILLIAMS                                  144 SHARP LN                                                                                  SPRING CITY        TN    37381‐2865
JAMES R WILLIAMS                                  249 LARSON RD                                                                                 N BRUNSWICK        NJ    08902‐9637
JAMES R WILLIAMS                                  2806 HWY 90 WEST                                                                              SEQUIN             TX    78155‐6608
JAMES R WILLIAMS & MARJORIE L WILLIAMS JT TEN     249 LARSON RD                                                                                 N BRUNSWICK        NJ    08902‐9637

JAMES R WILLIAMS JR                               5618 HAMILTON                                                                                 JENNINGS           MO    63136‐3506
JAMES R WILLIAMSON                                2895 BEDFORD ST                                                                               SAGINAW            MI    48601‐6904
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JAMES R WILLITS                             POBOX 234                                                                                           DEWITT           MI    48820‐0234
JAMES R WILLSON CUST KATHLEEN RUTH WILLSON  PO BOX 97                                                                                           LITCHFIELD       OH    44253‐0097
UGMA OH
JAMES R WILSON                              665 CARSON SALTSPRINGS RD                                                                           MINERAL RIDGE    OH    44440
JAMES R WILSON & MRS JAN B WILSON JT TEN    7420 OXBOW RD                                                                                       CANASTOTA        NY    13032‐4880
JAMES R WINDLAND                            4986 SPRING TREE DR                                                                                 ARLINGTON        TN    38002‐7904
JAMES R WISNIEWSKI                          28626 WOODLAND PLACE                                                                                PERRYSBURG       OH    43551‐3687
JAMES R WITT                                PO BOX 389                                                                                          ROARING GAP      NC    28668‐0389
JAMES R WODAREK                             5454 GRAND RIVER DRIVE                                                                              GRAND RAPIDS     MI    49525‐1039
JAMES R WOLFE                               8359 GEDDES RD                                                                                      SAGINAW          MI    48609‐9528
JAMES R WOOD JR                             8115 HWY 64                                                                                         BARNWELL         SC    29812
JAMES R WOODROE                             10485 FREEMAN ROAD                                                                                  MEDINA           NY    14103‐9575
JAMES R WOODWARD CUST JOHN ROBERT WOODWARD 865 LEOPARD TRAIL                                                                                    WINTER SPRINGS   FL    32708‐4127
UTMA FL
JAMES R WOODWARD CUST STEPHEN ROY WOODWARD 865 LEOPARD TRAIL                                                                                    WINTER SPRINGS   FL    32708‐4127
UTMA FL
JAMES R WREN                                265 LESLIE DR                                                                                       WILMINGTON       OH    45177‐8627
JAMES R YORK                                1420 COON HOLLOW RD                                                                                 SUNBRIGHT        TN    37672‐3206
JAMES R YOUNG                               PO BOX 69                                                                                           BOYDTON          VA    23917‐0069
JAMES R YOUSE & ELIZABETH J YOUSE JT TEN    LUCE RANCH                                                                                          BLUE             AZ    85922
JAMES R ZIMMERMAN                           988 NORTHFIELD                                                                                      PONTIAC          MI    48340‐1456
JAMES RALPH CRANER & ROBERT A CRANER JT TEN 757 E BEVERLY AVE                                                                                   PONTIAC          MI    48340‐2914

JAMES RALPH MARSHALL                            1960 BRYNELL DR                                                                                 LEXINGTON        KY    40505‐2243
JAMES RANDALL SEILER                            9707 W 105TH ST                                                                                 OVERLAND PARK    KS    66212‐5622
JAMES RANDOLPH SMITH                            1023 KINKEAD RD                                                                                 MCALESTER        OK    74501‐7704
JAMES RATTRAY                                   27 CEDAR ST                            GUELPH ON                              N1G 1B9 CANADA
JAMES RAY DUFF                                  3220 ADAMS RD                                                                                   EAST JORDAN      MI    49727‐9664
JAMES RAY MONAHAN                               1440 RAVEN DR                          APT 8                                                    MANTENO          IL    60950‐9469
JAMES RAY MOSCRIP                               1739 E WOODCREST DR S                                                                           MARTINSVILLE     IN    46151
JAMES RAY MOSSMAN                               7224 STONERUN PLACE                                                                             MIDDLETOWN       OH    45044‐9666
JAMES RAYMOND COX & CLARENCE RAYMOND COX JT     25360 WEST 66TH TERR                                                                            SHAWNEE          KS    66226‐3317
TEN
JAMES RAYMOND EVANS                             402 S SISSY SPACEK DR                                                                           QUITMAN          TX    75783‐2545
JAMES RAZO                                      6357 OLD PORTER RD                                                                              PORTAGE          IN    46368‐1602
JAMES REED NATSCHKE & CHARLOTTE M NATSCHKE JT   10676 W BRAEMAR DR                                                                              HOLLY            MI    48442‐8584
TEN
JAMES REGGIO CUST PETER STEVEN REGGIO UGMA MI   3607 POLO RUN DR                                                                                FLOWER MOUND     TX    75028‐8726

JAMES RENNER & SHIRLEY RENNER JT TEN            395 FT WASHINGTON AVE APT 58                                                                    NEW YORK         NY    10033‐6730
JAMES RENNER CUST JOSEPH RENNER UGMA WI         N51W30920 LAKEWOOD DR                                                                           HARTLAND         WI    53029‐9222
JAMES RENUARO                                   430 N ALBANY AVE                                                                                ATLANTIC CITY    NJ    08401
JAMES REYNOLDS                                  7066 LINDALE DR                                                                                 MT MORRIS        MI    48458‐9741
JAMES RICCHIUTI                                 17 WHITSON ROAD                                                                                 BRIARCLIFF       NY    10510‐1334
JAMES RICCI                                     C/O MRS MARIE FOSS                     38 MUNROE BLVD       NORTH YORK ON     M2P 1B9 CANADA
JAMES RICHARD BEERS CUST BRANDON COLLIN BEERS   29850 FALL RIVER RD                                                                             SOUTHFIELD       MI    48076‐5709
UGMA MI
JAMES RICHARD DAVIS                             171 FRANKFORT SQ                                                                                COLUMBUS         OH    43206
JAMES RICHARD EASTMAN                           15453 KINLOCH                                                                                   REDFORD          MI    48239‐3856
JAMES RICHARD HUDSON JR                         3725 SOLEBURY TERR                                                                              MIDLOTHIAN       VA    23113‐1399
JAMES RICHARD JUDD                              2001 GRAND AVE                                                                                  NEW CASTLE       IN    47362‐2569
JAMES RICHARD MARLOW                            BOX 28                                                                                          WILKESBORO       NC    28697‐0028
JAMES RICHARD MARSHALL                          2908 NE 45TH ST                                                                                 VANCOUVER        WA    98663‐2114
JAMES RICHARD PRICE                             509 N 15TH ST                                                                                   LAWTON           OK    73507
JAMES RICHARD SHEPARD CUST JAMES RYAN SHEPARD   4001 KAHLSTON RD                                                                                BALTIMORE        MD    21236‐1023

JAMES RICHARD WEST                              901 WOLF SPRINGS RD                                                                             FERRIS           TX    75125‐2301
JAMES RICHARDS                                  4410 SHERIDAN ST                                                                                ROYAL OAK        MI    48073‐6234
JAMES RICHARDSON                                ATT SARAH WATSON                       2061 LONGFELLOW DR                                       DETROIT          MI    48202
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JAMES RICHARDSON                                   5347 BRADMORE LN                                                                                 WARREN          MI    48092
JAMES RICHARDSON CUST MATTHEW RICHARDSON           2303 SANDERLING CT                                                                               ARROYO GRANDE   CA    93420‐5570
UTMA CA
JAMES RICHETTS                                     709 VIOLETA DRIVE                                                                                ALHAMBRA        CA    91801‐5326
JAMES RICKIE BAKER & ROBIN DENISE BAKER JT TEN     2718 FEROL LN                                                                                    LYNN HAVEN      FL    32444‐3228

JAMES RIDEOUT JR                                   1158 PEACHTREE DR                                                                                MT MORRIS       MI    48458‐2834
JAMES RILEY COOPER                                 369 WOODEN BRIDGE RD                                                                             MARSHALL        AR    72650
JAMES RITCHIE                                      79 WHITBURN ST                          WHITBY ON                              L1R 1R5 CANADA
JAMES ROBB                                         1239 PORTOLA RD                                                                                  WOODSIDE        CA    94062‐1222
JAMES ROBERT ALEXANDER                             1946 FOX HUNTERS ROAD                                                                            FAYETTEVILLE    AR    72701‐2963
JAMES ROBERT BAILEY                                1501 E EATON WHEELING PIKE                                                                       EATON           IN    47338
JAMES ROBERT BUCHANAN                              519 W 2ND AVE                                                                                    LENOIR CITY     TN    37771
JAMES ROBERT BUNNAGE                               RR1 BOX 40                                                                                       ELLERY          IL    62833‐9616
JAMES ROBERT CASTELLI & JONI RAE CASTELLI JT TEN   59362 ALBERT LANE                                                                                NEW HUDSON      MI    48165‐9640

JAMES ROBERT COLQUHOUN                             1913 BROPHY                                                                                      PARK RIDGE      IL    60068‐5203
JAMES ROBERT COYNE                                 129 WASHINGTON                                                                                   CANANDAIGUA     NY    14424‐1325
JAMES ROBERT ELLIOTT                               30135 BINFORD PLACE                                                                              WALLER          TX    77484
JAMES ROBERT ELLIOTT JR                            7687 HALLEYS DR                                                                                  LITTLETON       CO    80125‐8921
JAMES ROBERT GUZAK & COLLEEN GUZAK JT TEN          318 FOREST DR                                                                                    CRYSTAL LAKE    IL    60014‐7351
JAMES ROBERT HALBOUTY                              3525 GLENHAVEN BLVD                                                                              HOUSTON         TX    77025‐1305
JAMES ROBERT HULL & MARY E HULL JT TEN             1096 GLEN DR                                                                                     SAN LEANDRO     CA    94577‐3850
JAMES ROBERT LAUB                                  2628 N KATHWOOD                                                                                  CINCINNATI      OH    45236‐1022
JAMES ROBERT LOGAN                                 2807 ATLANTIC AVE                                                                                SAVANNAH        GA    31405‐2303
JAMES ROBERT MCNIEL                                1031 PERIMETER WA                                                                                ATLANTA         GA    30338‐4765
JAMES ROBERT PARKER                                110 MCCARTY RD                                                                                   JACKSON         MS    39212‐9635
JAMES ROBERT RYAN                                  1201 GARRINGER RD                                                                                JAMESTOWN       OH    45335‐9554
JAMES ROBERT SHARP                                 MARY ANN SHARP                          2004 DALEY RD                                            LAPEER          MI    48446
JAMES ROBERT SIEGER                                2365 WILVAN LN                                                                                   PITTSBURGH      PA    15237‐1666
JAMES ROBERT SMITH                                 314 RIVERSIDE DR                                                                                 ORMOND BEACH    FL    32176‐8102
JAMES ROBERT SMITH & MRS JANE E SMITH JT TEN       1415 LIBERTY LN                                                                                  CUMMING         GA    30040‐1590

JAMES ROBERT STERNER                               1231 JEFFERSON ST                                                                                DOWNERS GROVE   IL    60515
JAMES ROBERT SULLIVAN & GEORGIA LEE SULLIVAN JT    31636 CARLISLE AVE                                                                               WAYNE           MI    48184‐1942
TEN
JAMES ROBERT TANNER                                3411 BURTON PL                                                                                   ANDERSON        IN    46013‐5243
JAMES ROBERT TROUT                                 1155 NORTON ST                                                                                   BURTON          MI    48529‐1156
JAMES ROBERTS                                      511 RUSHMORE DR                                                                                  COLUMBIA        TN    38401‐6124
JAMES ROBINSON                                     25874 LATHRUP BLVD                                                                               SOUTHFIELD      MI    48075‐1926
JAMES ROCCO SALIMBENE                              PO BOX 107                                                                                       BUCYRUS         OH    44820‐0107
JAMES ROCHE                                        401 AMHERST DR SE                                                                                ALBUQUERQUE     NM    87106‐1405
JAMES RODNEY POYNTER                               335 LOCUST LANE                                                                                  BELLEVUE        KY    41073
JAMES ROGER GALLAGHER                              140 BELDEN RD                                                                                    BURLINGTON      CT    06013
JAMES ROGERS                                       7137 N 600 W                                                                                     MIDDLETOWN      IN    47356
JAMES ROLAND DARJEAN & BARBARA DARJEAN JT TEN      16031 FRINGETREE DRIVE                                                                           SPRINGHILL      FL    34610‐2826

JAMES ROLAND DAULTON                               3380 POPLAR GROVE ROAD                                                                           PEEBLES         OH    45660‐8921
JAMES ROLAND MERCER                                15810 MAY ST                                                                                     SMITHVILLE      MO    64089‐8553
JAMES ROLIN STEPHENS                               2613 E 27TH ST                                                                                   MUNCIE          IN    47302‐5554
JAMES ROLLAND CLARK                                ROUTE 4                                                                                          MT STERLING     IL    62353‐9803
JAMES ROME                                         PO BOX 234                                                                                       DUQUESNE        PA    15110‐0234
JAMES ROOT & CHRISTINE ROOT JT TEN                 12558 FREELAND DRIVE                                                                             FENTON          MI    48430‐1106
JAMES RORICK CRAVENS JR                            21 W OAK DR                                                                                      HOUSTON         TX    77056‐2117
JAMES RORICK CRAVENS JR                            21 WEST OAK DRIVE                                                                                HOUSTON         TX    77056‐2117
JAMES ROSE & MRS ESTHER M ROSE JT TEN              5153 FAIRGREEN                                                                                   TOLEDO          OH    43613‐2403
JAMES ROSS MC KNIGHT                               4646 WEST GEIRO RD                                                                               MC BAIN         MI    49657‐9488
JAMES ROWDEN                                       666 BERMUDA AVE                         OSHAWA ON                              L1J 6A8 CANADA
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JAMES ROY GOODE & MRS CAROLINE H GOODE JT TEN   1402 OWANA                                                                                        ROYAL OAK         MI    48067‐5008

JAMES RUDDELL                                   517 MAIN ST                                                                                       ERIE              IL    61250‐9490
JAMES RUSCHMEYER                                573 ARNER AVE                                                                                     SHOREVIEW         MN    55126
JAMES RUSSELL BRUNSON                           6116 E SAN MARINO                                                                                 TUCSON            AZ    85715‐3016
JAMES RUSSELL FRASHER CUST MICHAEL RUSSELL      6944 S WILLOW ST                                                                                  CENTENNIAL        CO    80112‐1347
FRASHER UTMA CO
JAMES RUSSELL HANNA                             1313 CONTRA COSTA AVE                                                                             FIRCREST          WA    98466‐7918
JAMES RUSSELL MC QUEEN                          2124 LENORE DRIVE                                                                                 GLENDALE          CA    91206‐1143
JAMES RUSSELL WINSTON                           5005 WEST ACOMA DRIVE                                                                             GLENDALE          AZ    85306‐4410
JAMES RUSSO JR & LUCILLE RUSSO JT TEN           1301 RINGWOOD AVE                                                                                 HASKELL           NJ    07420‐1557
JAMES RYAN                                      C/O CASSAE RYAN                          4115 MORIN ST                                            ALEXANDRIA        VA    22312‐1054
JAMES RYAN AGEN JR                              20327 MAPLE STREET                                                                                BURLINGTON        WA    98233‐1593
JAMES S ALEXANDER                               1525 MULBERRY LANE                                                                                FLINT             MI    48507‐5360
JAMES S ALLEN                                   2 IRONWOOD LANE                                                                                   WHITE BEAR LAKE   MN    55127‐2606
JAMES S AMBLER                                  467 LORING RD                                                                                     BARRE             MA    01005
JAMES S AMBROSE                                 5191 ENFIELD RD                          HAMPTON ON                             L0B 1J0 CANADA
JAMES S ATCHESON                                412 BOBO                                                                                          DALLAS           GA     30132‐3052
JAMES S BADGER                                  180 SCHOLFIELD RD W                                                                               ROCHESTER        NY     14617‐4559
JAMES S BAEL                                    2720 CRABAPPLE RD                                                                                 GOLDEN           CO     80401‐1539
JAMES S BANASZAK                                27286 ROAN                                                                                        WARREN           MI     48093‐4612
JAMES S BARNETT                                 24336 ANNAPOLIS                                                                                   DEARBORN HEIGHTS MI     48125‐1916

JAMES S BASEY                                   2405 BARON DR                                                                                     HOLIDAY           FL    34690‐4009
JAMES S BECOAT                                  1801 N 57TH ST                                                                                    PHILA             PA    19131‐3410
JAMES S BICKEL                                  13018 FLAMINGO TERRACE                                                                            PALM BEACH        FL    33410‐1309
                                                                                                                                                  GARDENS
JAMES S BODNAR & MARY M BODNAR JT TEN           5426 FLINT TAVERN PLACE                                                                           BURKE             VA    22015‐2108
JAMES S BORDONALI                               648 TROPICAL CIR                                                                                  SARASOTA          FL    34242
JAMES S BOWLING                                 3990 IRISBURG RD                                                                                  AXTON             VA    24054‐3469
JAMES S BROWN & CAROL BROWN JT TEN              PO BOX 557                                                                                        BIG BEAR CITY     CA    92314‐0557
JAMES S BROWN CUST JAMES TYLER BROWN UGMA VA    1019 LOCUST AVE                                                                                   CHARLOTTESVLE     VA    22901‐4031

JAMES S BUCK & MARY H BUCK JT TEN               2604 VALLETTA RD                                                                                  LOUISVILLE        KY    40205‐2328
JAMES S CAPLINGER                               410 N HARVEY RD                                                                                   GREENWOOD         IN    46143‐9735
JAMES S CARPENTER                               9 TURNER COURT                                                                                    PLATTSBURGH       NY    12901‐1354
JAMES S CARTER                                  1531 ALEXANDER ST                                                                                 SIMI VALLEY       CA    93065‐2007
JAMES S CARTER                                  4976 OAKGROVE DRIVE                                                                               SUGARHILL         GA    30518‐4656
JAMES S CAVAGNINI                               2550 VALLEY VIEW ROAD                                                                             DANDRIGE          TN    37725‐6940
JAMES S CHAFFIN                                 24810 HAGEN                                                                                       MACOMB            MI    48042‐1566
JAMES S CHASE                                   12 BELVOIR AVE                                                                                    EAST DOUGLAS      MA    01516‐2143
JAMES S CLARK                                   44 HAWLEY CRESENT                        WHITBY ON                              L1N 6V9 CANADA
JAMES S COCHRANE JR                             4819 INDIAN HILLS RD SE                                                                           DECATUR           AL    35603‐5207
JAMES S COHEN                                   15404 QUAIL RUN DR                                                                                DARNESTOWN        MD    20878‐3534
JAMES S COMPTON                                 2064 LAKEVIEW DR                                                                                  LAPEER            MI    48446‐8084
JAMES S CONNOLLY CUST HELEN LOUISE CONNOLLY     120 STUMP DR                                                                                      BELLE VERNON      PA    15012‐9636
UGMA PA
JAMES S CONNOLLY CUST JAMES JOHN CONNOLLY       514 CIRCLE DRIVE                                                                                  ROSTRAVER         PA    15012‐9680
UGMA PA
JAMES S CORNELL                                 #188                                     16430 PARK LAKE RD                                       EAST LANSING      MI    48823‐9468
JAMES S COULSON                                 870 CAMBRIDGE                                                                                     MARION            OH    43302‐6534
JAMES S COURTNEY                                4606 STRANDWYCK RD                                                                                W BLOOMFIELD      MI    48322‐4418
JAMES S CRAIG                                   6018 MEADOWS DR                          APT B                                                    FORT WAYNE        IN    46804‐7683
JAMES S D EISENHOWER 3RD                        13763 CORONADO CT                                                                                 MANASSAS          VA    20112‐3829
JAMES S DANA                                    2259 LUNDY LAKE DRIVE                                                                             ESCONDIDO         CA    92029‐5404
JAMES S DANHOF                                  1808 MISTY MORN PLACE                                                                             LOGWOOD           FL    32779‐3016
JAMES S DANHOF & ETHEL S DANHOF JT TEN          1808 MISTY MORN PLACE                                                                             LONGWOOD          FL    32779‐3016
JAMES S DELECKI                                 8190 DUFF RD                                                                                      FLUSHING          MI    48433‐1140
JAMES S DELIKTA                                 3701 VANCE                                                                                        TRAVERSE CITY     MI    49684‐8511
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Name                                              Address1                               Address2             Address3          Address4          City               State Zip

JAMES S DENEKE                                    PO BOX 11375                                                                                    FORT SMITH         AR    72917‐1375
JAMES S DEVINE & DEBRA A SHRIDER JT TEN           19811 HEYDEN                                                                                    DETROIT            MI    48219‐2035
JAMES S DINE & MRS JENNIE A DINE JT TEN           14614 E DIXILETA DR                                                                             SCOTTSDALE         AZ    85262‐7866
JAMES S DINGMAN & SUSAN L DINGMAN JT TEN          2123 PARK ST                                                                                    COLUMBIA           SC    29201‐2139
JAMES S DITTOE                                    4700 CLEARCREEK VALLEY RD                                                                       WOOSTER            OH    44691‐9046
JAMES S DOLL                                      11672 FREDERICK PIKE                                                                            VANDALIA           OH    45377‐9790
JAMES S DOTY                                      9815 S SR 13                                                                                    FORTVILLE          IN    46040‐9209
JAMES S DRYJA                                     930 ELLICOTT CREEK RD                  APT 6                                                    TONAWANDA          NY    14150‐4533
JAMES S DUNK                                      PO BOX 248                                                                                      LAND O'LAKES       FL    34639‐0248
JAMES S FITCH                                     1314 W KENDALL COURT                                                                            MILWAUKEE          WI    53209‐4411
JAMES S FLEMING                                   205 NEW YORK AVE                                                                                NEW BRUNSWICK      NJ    08901‐1715
JAMES S FORSEE                                    C/O MILDRED B FORSEE                   827 BROADACRE AVE                                        CLAWSON            MI    48017‐1466
JAMES S FORSEE                                    C/O MILDRED B FORSEE                   827 BROADACRE AVE                                        CLAWSON            MI    48017‐1466
JAMES S FRAS                                      G 6160 W MT MORRIS RD                                                                           MT MORRIS          MI    48458
JAMES S FRYDENLUND                                503 SECOND ST                                                                                   ALBANY             WI    53502‐9506
JAMES S GALLOWAY                                  2405 MASS AVE                                                                                   LEXINGTON          MA    02421‐6735
JAMES S GAVES II                                  5459 RICHPOND RD                                                                                BOWLING GREEN      KY    42104‐8754
JAMES S GEMMELL JR                                35455 TINA DR                                                                                   STERLING HEIGHTS   MI    48310‐5028

JAMES S GIANNOTTI & MARY T GIANNOTTI JT TEN       8 CHIMNEY CREST LANE                                                                            BRISTOL          CT      06010‐7969
JAMES S GIBSON                                    21 JEFFERSON STREET                                                                             WARREN           PA      16365‐2643
JAMES S GILLESPIE JR                              RT 1 BOX 2520                                                                                   POUNDING MILL    VA      24637‐9757
JAMES S GLEASON                                   223 W THOMAS                                                                                    LANSING          MI      48906‐2958
JAMES S GNARDELLIS                                45 GRAND AVENUE                                                                                 CEDAR KNOLLS     NJ      07927‐1506
JAMES S GREATHOUSE                                1403 REBECCA LN                                                                                 ARLINGTON        TX      76014‐1457
JAMES S GRICHAR                                   623 W SPRING ST                                                                                 WOODSTOCK        VA      22664‐1221
JAMES S HAGER & KATHLEEN A HAGER JT TEN           1252 FALCON                                                                                     TROY             MI      48098‐2038
JAMES S HALL                                      26707 KITCH ST                                                                                  INKSTER          MI      48141‐2513
JAMES S HAMILTON                                  2731 COURT LANE NORTH                                                                           HOWELL           MI      48843‐6539
JAMES S HEGARTY                                   46048 CHATSWORTH                                                                                BELLEVILLE       MI      48111‐1217
JAMES S HEID                                      1401 BONSAL ST                                                                                  BALTO            MD      21224‐5934
JAMES S HENSON                                    15404 FOX BRIAR LN                                                                              MIDLOTHIAN       VA      23112‐6361
JAMES S HERGERT                                   PO BOX 495                                                                                      MILTON           WI      53563‐0495
JAMES S HILL                                      3700 W 30TH ST                                                                                  MUNCIE           IN      47302‐4945
JAMES S HOBBS                                     124 DALE AVE                                                                                    DANVILLE         IL      61832‐2710
JAMES S HODGE                                     815 CRAWFORD RD                        LOT 311                                                  OPELIKA          AL      36804‐6527
JAMES S HODGE                                     4275 S DAYTON BRANDT RD                                                                         NEW CARLISLE     OH      45344‐7621
JAMES S HOLT & DEBRA J HOLT JT TEN                907 LEARY HOLLOW CIRCLE                                                                         MOUNT AIRY       MD      21771‐2801
JAMES S HOPPER                                    1324 SILVERTREE                                                                                 GALLOWAY         OH      43119‐9050
JAMES S HORNAK                                    11205 SHERIDAN RD                                                                               BURT             MI      48417‐9438
JAMES S HUCKO                                     2882 FALL CREEK DR                                                                              GRAND JCT        CO      81503
JAMES S HUDSON                                    1841 BREMERTON RD                                                                               LYNDHURST        OH      44124‐3912
JAMES S HUGHEY                                    920 EDGEHILL LANE                                                                               ANDERSON         IN      46012‐9709
JAMES S HULTMAN                                   5885 LOCHLEVEN DR                                                                               WATERFORD        MI      48327
JAMES S HUNTER                                    RIVIERA MOBILE HOME PARK               SPACE 451            2038 PALM ST                        LAS VEGAS        NV      89104‐4839
JAMES S JACKSON                                   851 DOGWOOD DR                                                                                  MEADVILLE        PA      16335‐9497
JAMES S JAGGERS                                   2176 HILLSIDE DRIVE                                                                             BEAVERTON        MI      48612‐9433
JAMES S JOHNSON                                   3403 W MICHIGAN AVE                                                                             LANSING          MI      48917‐3705
JAMES S JULIANA                                   5540 W HINDSDALE AVE                                                                            LITTLETON        CO      80123‐7022
JAMES S KELSO & AUDREY C KELSO JT TEN             PO BOX 68                                                                                       EMBLEM           WY      82422‐0068
JAMES S KENT & DEBRA A KENT JT TEN                1220 CARLSON DRIVE                                                                              COLORADO SPRINGS CO      80919‐3923

JAMES S KING                                      1167 TERRYMOUNT RD                                                                              MARTINSVILLE       VA    24112
JAMES S KNAPP                                     671 BUSTLETON PIKE                                                                              RICHBORO           PA    18954‐1352
JAMES S KOVALCIK                                  8442 GALANT FOX TRAIL                                                                           FLUSHING           MI    48433‐8826
JAMES S KREITZER                                  1559 COUNTRYSIDE LANE                                                                           INDIANAPOLIS       IN    46231‐3312
JAMES S KRUEGER TR THE JAMES S KRUEGER TRUST UA   389 REDFIELD PLACE                                                                              MORAGA             CA    94556‐2514
01/22/03
JAMES S KRUPER                                    215 EDGEHILL RD                                                                                 YORK               PA    17403‐4703
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JAMES S KURIHARA                                   PO BOX 104                                                                                      FORT MC COY        FL    32134‐0104
JAMES S KWAPIS CUST DEBRA A KWAPIS UGMA MI         37158 ALMONT DRIVE WEST                                                                         STERLING HEIGHTS   MI    48310‐4023

JAMES S KWAPIS CUST GREGORY A KWAPIS UGMA MI       37158 ALMONT DRIVE WEST                                                                         STERLING HEIGHTS   MI    48310‐4023

JAMES S KWAPIS CUST KAREN M KWAPIS UGMA MI         37158 ALMONT DRIVE WEST                                                                         STERLING HEIGHTS   MI    48310‐4023

JAMES S KWAPIS CUST LINDA J KWAPIS UGMA MI         37158 ALMONT DRIVE WEST                                                                         STERLING HEIGHT    MI    48310‐4023
JAMES S L YEE TR DAVID YEE U/DEC OF TRUST 3/1/57   1530 EVELYN LN                                                                                  HONOLULU           HI    96822

JAMES S LEON                                       15855 SOUTH 222 ST                                                                              QUEEN CREEK        AZ    85242‐8909
JAMES S LEVINGSTON                                 112 W COOK ROAD                                                                                 MANSFIELD          OH    44907‐2404
JAMES S LEWANDOWSKI                                14 PAUL ST                                                                                      BRISTOL            CT    06010‐5577
JAMES S LODGE                                      4603 WEST AVE                                                                                   OCEAN CITY         NJ    08226‐1545
JAMES S LYERLY                                     32003 GRENVILLE COURT                                                                           WESTLAKE VILLAGE   CA    91361‐4113

JAMES S MAC DONALD                                 2035 RIVERSIDE DR                                                                               TRENTON            MI    48183‐2116
JAMES S MACPHERSON JR                              139 GRAND VIEW AVE                                                                              SAN FRANCISCO      CA    94114‐2731
JAMES S MACVICAR                                   3515 OBSERVATORY LN                                                                             HOLT               MI    48842‐9429
JAMES S MAGILL & JAQUELYN M MAGILL JT TEN          11684 EDEN ESTATES DR                                                                           CARMEL             IN    46033‐3247
JAMES S MAKOWSKI                                   4875 COLE RD                                                                                    SAGINAW            MI    48601‐9335
JAMES S MARSHALL                                   PO BOX 2567                                                                                     BIRMINGHAM         MI    48012‐2567
JAMES S MARTIN                                     2281 UNITY CHURCH CIR                                                                           MAYSVILLE          GA    30558‐2435
JAMES S MASSEY                                     64 SEALAND ROAD                        FISHING POINT NSW                      2283 AUSTRALIA
JAMES S MATUSCAK & MRS LEILA J MATUSCAK JT TEN     8697 COLE RD                                                                                    DURAND             MI    48429‐9427

JAMES S MAY                                        1561 FAIRBURN RD S W                                                                            ATLANTA            GA    30331‐2223
JAMES S MAYFIELD                                   28347 BALKINS DR                                                                                AGOURA HILLS       CA    91301‐1807
JAMES S MC KELVEY                                  406 BOWER HILL ROAD                                                                             PITTSBURGH         PA    15228‐1208
JAMES S MEADOWS                                    14854 E 10 MILE RD                                                                              WARREN             MI    48089‐1566
JAMES S MERGY                                      12 TWIN LAKES DRIVE                                                                             FAIRFIELD          OH    45014‐5221
JAMES S MERWIN                                     236 LOWELL AVE NE                                                                               WARREN             OH    44483‐5844
JAMES S MIRACLE                                    8094 SHARON CT                                                                                  FRANKLIN           OH    45005‐4064
JAMES S MOLNAR                                     1845 BALMORE ST NW                                                                              NORTH CANTON       OH    44720‐4903
JAMES S MOONEY                                     404 HARVEY ST                                                                                   RADFORD            VA    24141‐2328
JAMES S MOORES & SARA H MOORES JT TEN              908 SCOTT DRIVE                                                                                 LIBERTY            MO    64068‐3430
JAMES S MORAN                                      10242 BELSAY                                                                                    MILLINGTON         MI    48746‐9751
JAMES S MOUNTJOY IV                                7432 ROLLING RIVER PARKWAY                                                                      NASHVILLE          TN    37221‐3340
JAMES S MROWIEC                                    3440 PINE TRL DR                                                                                SHERIDAN           MI    48884‐8329
JAMES S NEEDHAM                                    55 BELLEVIEW AVENUE                                                                             SOUTHINGTON        CT    06489‐3731
JAMES S NELSON                                     N 78 W 7032 OAK ST                                                                              CEDARBURG          WI    53012‐1124
JAMES S NICHOLS                                    3635 PALMERSVILLE HWY 89                                                                        DRESDEN            TN    38225‐5113
JAMES S OVERTON                                    701 EDELWEISS                                                                                   GRAND PRAIRIE      TX    75052‐5826
JAMES S PARKS                                      1019 WEST MCKAY ROAD                                                                            SHELBYVILLE        IN    46176‐3204
JAMES S PECORARO                                   1465 C ST                              UNIT 3614                                                SAN DIEGO          CA    92101‐5742
JAMES S PETERSON                                   4700 REAN MEADOW DRIVE                                                                          KETTERING          OH    45440‐2029
JAMES S PFLUMM & PAMELA P PFLUMM JT TEN            37 MICHELLE DR                                                                                  SHOREHAM           NY    11786‐2008
JAMES S PRICE & LOIS J PRICE JT TEN                111 S T GEORGE PLACE                                                                            ADVANCE            NC    27006
JAMES S PROUSE                                     44 RAINTREE ISLAND APT 3                                                                        TONAWANDA          NY    14150‐2718
JAMES S RAGLEY                                     215 MYRTLE AVE                                                                                  PUNXSUTAWNEY       PA    15767‐1433
JAMES S RAWLINGS                                   636 MADDOX RD                                                                                   ALEXANDRIA         KY    41001‐9422
JAMES S REED                                       4036 N STATE ROAD 75                                                                            NORTH SALEM        IN    46165‐9754
JAMES S RIMAR                                      419 WILLARD AVE N E                                                                             WARREN             OH    44483‐5531
JAMES S ROGERS                                     1665 NORTON ESTATES DR                                                                          SNELLVILLE         GA    30078‐2769
JAMES S ROMITO                                     12855 PLANTERS ROW DR                                                                           CHARLOTTE          NC    28278‐0024
JAMES S SABLOTNY                                   1941 CORTINA DR                                                                                 CENTERVILLE        OH    45459‐1305
JAMES S SAUM                                       3541 NORTH DR WAYNE LAKES PARK                                                                  GREENVILLE         OH    45331‐3074
JAMES S SAVALLE                                    24485 30 MILE ROAD                                                                              RAY                MI    48096‐2113
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JAMES S SEARLES                                  4925 MARLIN DRIVE                                                                               NEW PORT RICHEY   FL    34652‐4415

JAMES S SECREST                                  C/O SECREST & SECREST                  BOX 35                                                   SCOTTSVILLE       KY    42164‐0035
JAMES S SECREST                                  PO BOX 35                                                                                       SCOTTSVILLE       KY    42164‐0035
JAMES S SHADLE SR & LORRAINE E SHADLE JT TEN     364 PINE DRIVE                                                                                  HEGINS            PA    17938‐9155
JAMES S SIZEMORE                                 9198 W STATE RD 38                                                                              SHIRLEY           IN    47384‐9663
JAMES S SMEAD                                    W328N4013 ALLENDALE DR                                                                          NASHOTAH          WI    53058‐9786
JAMES S SMEETS                                   13023 SEVILLE DR                                                                                SUN CITY WES      AZ    85375‐3260
JAMES S SMEETS & CAROL S SMEETS JT TEN           13023 SEVILLE DR                                                                                SUN CITY WEST     AZ    85375‐3260
JAMES S SMIRAGLIA                                4528 SHARON DR                                                                                  LOCKPORT          NY    14094‐1314
JAMES S SMITH                                    5950 HAVERHILL ST                                                                               DETROIT           MI    48224‐3249
JAMES S SPEARES                                  12 SUMMERHAVEN                                                                                  HILTON            NY    14468‐9138
JAMES S SPRATT & PAULINE C SPRATT JT TEN         PO BOX 404                                                                                      BUCKSPORT         ME    04416‐0404
JAMES S STEPEK & LUCILLE M STEPEK JT TEN         1821 BASSWOOD LANE                                                                              MT PROSPECT       IL    60056‐1809
JAMES S STERN                                    7073 MARIE LANE                                                                                 MECHANICSVILLE    VA    23111‐3319
JAMES S SUTTERFIELD                              1525 HAYNES AVE                                                                                 KOKOMO            IN    46901‐5240
JAMES S TERRY & MARY LOU TERRY JT TEN            9730 GIBBS RD                                                                                   CLARKSTON         MI    48348‐1506
JAMES S TROUT                                    20727 E SUPERSTITION DR                                                                         QUEEN CREEK       AZ    85242‐9765
JAMES S VALONE & MRS GERALDINE G VALONE JT TEN   412 LAKEWOOD PKWY                                                                               BUFFALO           NY    14226‐4006

JAMES S VANDYK                                   1950 44TH ST                                                                                    WYOMING           MI    49509‐4252
JAMES S VAUGHN                                   21162 SANTA FE AV                                                                               PURCELL           OK    73080‐4561
JAMES S VILETT                                   2842 NW 60TH ST                                                                                 SEATTLE           WA    98107‐2508
JAMES S WALKER                                   164 FRANKLIN RD                                                                                 PONTIAC           MI    48341‐2223
JAMES S WALLACE                                  3414 CANADAY DRIVE                                                                              ANDERSON          IN    46013‐2217
JAMES S WALLACE & MARILYN A WALLACE JT TEN       3414 CANADAY DRIVE                                                                              ANDERSON          IN    46013‐2217
JAMES S WELCH                                    829 HIDDEN SPRINGS CT                                                                           MCKINNEY          TX    75071‐7624
JAMES S WILLIAMS TR JAMES S WILLIAMS TRUST UA    2481 BEACON HILL DR                                                                             ROCHESTER HILLS   MI    48309‐1518
5/19/99
JAMES S WILSON                                   PO BOX 211                                                                                      MORGANTON         GA    30560‐0211
JAMES S WILTSHIRE                                28435 MILTON                                                                                    WARREN            MI    48092‐2317
JAMES S WISHNIA                                  12385 SW ALLEN BLVD                    STE 220                                                  BEAVERTON         OR    97005‐9503
JAMES S WOOLARD                                  1730 WASHINGTON POST RD                                                                         NEW BERN          NC    28560‐9335
JAMES S ZBIKOWSKI                                455 MOWER ST                                                                                    WORCESTER         MA    01602‐1040
JAMES S ZUPAN & KATHERINE A A ZUPAN JT TEN       5353 BOXTURTLE CT                                                                               WOODBRIDGE        VA    22193‐5800
JAMES SABASTIAN PIKE                             108 SISSO CV                                                                                    WINTER SPGS       FL    32708‐6181
JAMES SACKERMAN                                  125 MORGAN PLACE                                                                                KEARNY            NJ    07032‐3215
JAMES SALMONS                                    734 ROUND HILL RD                                                                               INDIANAPOLIS      IN    46260‐2918
JAMES SALTER & TERRY SALTER JT TEN               2928 SUMMITOP RD.                                                                               MARIETTA          GA    30066
JAMES SALVATORIELLO                              93 UNION BRICK ROAD                                                                             BLAIRSTOWN        NJ    07825
JAMES SAMPSON                                    74 EMBER LN                                                                                     HORSHAM           PA    19044
JAMES SANCHEZ                                    PO BOX 304                                                                                      PAULDING          OH    45879‐0304
JAMES SANDERS                                    3274 EAST 121 ST                                                                                CLEVELAND         OH    44120‐3831
JAMES SANFORD JR                                 35011 DRAKESHIRE PL                    APT 203                                                  FARMINGTON        MI    48335‐3217
JAMES SARANIECKI                                 635 EAST GUNDERSEN DR                  UNIT 102                                                 CAROL STREAM      IL    60188‐3156
JAMES SAUNDERS                                   5690 S 286TH E AVE                                                                              BROKEN ARROW      OK    74014
JAMES SAUNDERS CUST TERRY SAUNDERS UGMA PA       3641 IDLEWILD RD                                                                                WEST JEFFERSON    NC    28694‐9251

JAMES SAY & MARY SAY JT TEN                      608 W 10TH ST                                                                                   STERLING         IL     61081‐2256
JAMES SCALIA & JANINE SCALIA TEN COM             146 VON HUENFELD ST                                                                             MASSAPEQUA PK    NY     11762‐2252
JAMES SCHAFFNER                                  10560 ALABAMA AVE                                                                               CHATSWORTH       CA     91311‐2105
JAMES SCHAPER & BARBARA J SCHAPER JT TEN         24115 S CACTUS FLOWER DR                                                                        SUNLAKES         AZ     85248‐5928
JAMES SCHIEDER                                   303 SENECA RD                                                                                   HORNELL          NY     14843‐1014
JAMES SCHNIER & ALMA SCHNIER JT TEN              8508 LESOURDESVILLE RD                                                                          WEST CHESTER     OH     45069‐1927
JAMES SCHUMACHER                                 5009 W 25TH PL                                                                                  CICERO           IL     60804‐3404
JAMES SCOLARO CUST MATTHEW SCOLARO UTMA NY       12 PARKWOOD CT                                                                                  ROCKVILLE CENTER NY     11570

JAMES SCOT SCHRIVER                              3847 ABERDEEN WY                                                                                HOUSTON           TX    77025‐2415
JAMES SCOTT                                      2503 WOODROW STREET                                                                             DURHAM            NC    27705‐3171
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Name                                             Address1                             Address2             Address3          Address4          City             State Zip

JAMES SCOTT BRANCH                               753 COUNTY ROAD 22                                                                            WALDEN           CO    80480‐9535
JAMES SCOTT JR                                   7630 HANSOM DR                                                                                OAKLAND          CA    94605‐3805
JAMES SCOTT MC KINNEY                            1916 DAKAR RD E                                                                               FORT WORTH       TX    76116‐2039
JAMES SCOTT MORSE                                13380 84TH TERR N                                                                             SEMINOLE         FL    33776‐3109
JAMES SCOTT NITAHARA                             850 TIMOTHY LN                                                                                DES PLAINES      IL    60016‐1116
JAMES SCOTT YASSICK                              1782 SOMERFIELD LN                                                                            CRYSTAL LAKE     IL    60014‐2041
JAMES SEALS JR                                   5480 MISSISSIPPI DR                                                                           FAIRFIELD        OH    45014‐2470
JAMES SEBETKA                                    2048 P AVENUE                                                                                 TRAER            IA    50675‐9393
JAMES SEPHERS                                    11793 DYAR                                                                                    HAMTRAMCK        MI    48212‐2927
JAMES SEPHERS III                                18275 GEORGE WASHINGTON DR                                                                    SOUTHFIELD       MI    48075‐2784
JAMES SERIANNI                                   374 WINDSOR DR                                                                                HARLEYSVILLE     PA    19438‐2369
JAMES SERL RITCHIE TR UA 12/06/83                BOX 2014                                                                                      SUPERIOR         WI    54880‐0455
JAMES SERR                                       7100 SWEETWOOD CT                                                                             CITRUS HTS       CA    95621‐1250
JAMES SERVEDIO                                   15600 E DEVON‐MONT LN                                                                         DEWEY            AZ    86327‐7409
JAMES SETAS CUST BENJAMIN S SETAS UGMA MI        6361 PINE HOLLOW                                                                              EAST LANSING     MI    48823‐9726
JAMES SHANAHAN                                   53‐68 65TH PLACE                                                                              MASPETH          NY    11378‐1654
JAMES SHANAHAN                                   11351 SW 76TH CT                                                                              OCALA            FL    34476‐4125
JAMES SHASTID EX UW STELLA BROWN                 1816 AMARILLO LN                                                                              KNOXVILLE        TN    37922
JAMES SHAW                                       ROUTE 1                                                                                       MCLEAN           TX    79057‐9801
JAMES SHAW SIBREE                                1788 RELYEA DR                                                                                NORTH MERRICK    NY    11566‐2524
JAMES SHERMAN HARRIS                             1718 WEBSTER RD LOT 46                                                                        FLINT            MI    48505‐2464
JAMES SHIELDS                                    241 FAIRLANE DR                                                                               MANCHESTER       TN    37355
JAMES SIERRA                                     2778 JANET AVE                                                                                NORTH BELLMORE   NY    11710‐2020

JAMES SILBERT                                    102‐A N MT RD                                                                                 GARDINER         NY    12525
JAMES SILVESTRI                                  112 COLWYN TER                                                                                LANSDALE         PA    19446
JAMES SIMMONS ARMSTRONG                          2400 VA AVE NW                       APT C817                                                 WASHINGTON       DC    20037‐2612
JAMES SIMMONS III CONS EST JAMES E SIMMONS JR    1293 HIGH POINT DR                                                                            ATWATER          CA    95301

JAMES SIMS                                       348 SOUTH CENTER ST                                                                           ORANGE           NJ    07050‐3302
JAMES SINKO                                      65 GREAT OAK DR                                                                               HUDSON           OH    44236‐2297
JAMES SIRAKIS & KATHY SIRAKIS JT TEN             2201 SOUTH DORT HWY                                                                           FLINT            MI    48507
JAMES SIRLS & MRS PATRICIA SIRLS JT TEN          270 MAPLEWOOD                                                                                 STRUTHERS        OH    44471‐1818
JAMES SIZEMORE                                   560 SOLON                                                                                     CEDAR SPRINGS    MI    49319‐8467
JAMES SLATE                                      18707 N 125 E                                                                                 SUMMITVILLE      IN    46070‐9112
JAMES SLOMINSKI                                  6529 COLE RD                                                                                  ORCHARD PARK     NY    14127
JAMES SLUSHER                                    PO BOX 894                                                                                    FALLING WTRS     WV    25419‐0894
JAMES SMITH                                      PO BOX 655                                                                                    WAXAHACHIE       TX    75168‐0655
JAMES SMITH                                      PO BOX 205                                                                                    ANGUILLA         MS    38721‐0205
JAMES SMITH                                      15464 SARATOGA ST                                                                             DETROIT          MI    48205‐2930
JAMES SMITH JR                                   19255 WINSTON ST                                                                              DETROIT          MI    48219‐4691
JAMES SOCKOLOSKY & MRS JANET M SOCKOLOSKY JT     45139 BROOKSIDE CT                                                                            PLYMOUTH         MI    48170‐3846
TEN
JAMES SOLOMON                                    2201 BOLINGBROKE COURT                                                                        HIGHPOINT        NC    27265‐2424
JAMES SOUTHERN                                   29691 NEWPORT                                                                                 WARREN           MI    48093‐8504
JAMES SPAGNOLA                                   51 COLLINS PL                                                                                 DANVILLE         AL    35619
JAMES SPATES                                     45465 DESCHOR STREET                                                                          UTICA            MI    48137
JAMES SPENCER BYAS JR                            645 E AERICK ST                                                                               INGLEWOOD        CA    90301‐4881
JAMES SPENCER LEEPER                             290 BARLEY CIR                                                                                HANOVER          PA    17331‐8598
JAMES SPIKER & KATHLEEN SPIKER JT TEN            5534 BAKER RD                                                                                 NEWPORT RICHEY   FL    34653‐4506
JAMES SPIVEY JR                                  437 CHANDLER RD                                                                               RUSTON           LA    71270‐3595
JAMES ST ANDREW                                  129 ASHWOOD LANE                                                                              MOORESVILLE      NC    28117‐6835
JAMES STAGGS CUST CHRISTOPHER J STAGGS UGMA NE   717 H ST                                                                                      CENTRAL CITY     NE    68826‐1629

JAMES STAGGS CUST DOUGLAS R STAGGS UGMA NE       717 H ST                                                                                      CENTRAL CITY     NE    68826‐1629

JAMES STANFORD LYNN TR UA 5/7/98 CLARK LYNN JR   216 NW MIMOSA LANE                                                                            LAWTON           OK    73507
TRUST
JAMES STANLEY PAYNE                              7525 MAD RIVER RD                                                                             DAYTON           OH    45459‐3609
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Name                                            Address1                             Address2             Address3          Address4          City             State Zip

JAMES STASEVICH JR                              29180 ORIOLE                                                                                  LIVONIA            MI   48154‐4532
JAMES STAVROPULOS                               PO BOX 859                                                                                    LINCOLN PARK       MI   48146‐0859
JAMES STEEDMAN COOPER                           3511 HILLSIDE AVE                                                                             GULF BREEZE        FL   32563
JAMES STEELE                                    1128 WOOD AVE SW                                                                              WARREN             OH   44485‐3865
JAMES STENSON TR UW JOHN S DAVEY                2 COUNTRY RD W                                                                                BOYNTON BEACH      FL   33436‐5616
JAMES STEPHEN BENKO                             4373 LAWNWOOD LN                                                                              BURTON             MI   48529‐1924
JAMES STEPHEN FUNK                              4009 MOUNDS RD                                                                                ANDERSON           IN   46017‐1832
JAMES STEPHEN MAY                               977 PINE ST                          APT 203                                                  SAN FRANCISCO      CA   94108‐2950
JAMES STEPHENS                                  2421 ABBEY DR                        APT 8                                                    FORT WAYNE         IN   46835‐3137
JAMES STEPHENS                                  1004 WEST 86 TERR                                                                             KANSAS CITY        MO   64114‐2733
JAMES STERMAN                                   30 ODESSA CT                                                                                  E AMHERST          NY   14051‐1121
JAMES STEVEN BOETTCHER                          5215 HANSEN DR                                                                                SWARTZ CREEK       MI   48473‐8221
JAMES STEVEN BRAND                              22501 STATLER BLVD                                                                            SAINT CLAIR SHORES MI   48081‐2367

JAMES STEVEN SLAVICK                             309 COLFAX AVE                                                                               POMPTON LAKES    NJ     07442‐1210
JAMES STEWARDT SMEAD & ANN SMEAD JT TEN          W328N4013 ALLENDALE DR                                                                       NASHOTAH         WI     53058‐9786
JAMES STEWART                                    2334 KING CT                                                                                 GREEN BROOK      NJ     08812‐1722
JAMES STEWART BOYER                              12375 MARGARET DRIVE                                                                         FENTON           MI     48430‐8850
JAMES STEWART JR                                 59 ISLAND DRIVE                                                                              BRICK TOWN       NJ     08724‐4455
JAMES STEWART JR                                 109 P O BOX 131                                                                              RIVER FALLS      AL     36476‐0131
JAMES STEWART OTTEN CUST LAURIE STEWART OTTEN 58 GROVE HILL PARK                                                                              NEWTON           MA     02460‐2304
UGMA MA
JAMES STIMA                                      1019 BIG SWAN CREEK RD                                                                       HAMPSHIRE        TN     38461‐5157
JAMES STIMAGE                                    6644 S BISHOP ST                                                                             CHICAGO          IL     60636‐2806
JAMES STREPEK                                    663 NORTH KRAMER AVE                                                                         LOMBARD          IL     60148‐1942
JAMES STUCKEY                                    PO BOX 234                                                                                   CARROLLTON       MI     48724‐0234
JAMES STURGIS                                    101 SHADOW GLEN COURT                                                                        ROSEVILLE        CA     95661‐6303
JAMES STURTZ                                     4558 SHADOWOOD LANE                                                                          TOLEDO           OH     43614‐3048
JAMES SUGGS                                      2658 N COLE                                                                                  LIMA             OH     45801‐1726
JAMES SUMPTER                                    19377 WINTHROP                                                                               DETROIT          MI     48235‐2031
JAMES SUSINNO TR JAMES SUSINNO TRUST UA 06/26/04 101 BROAD AVE PO BOX 607                                                                     PALISADES PARK   NJ     07650‐0607

JAMES SUTTON                                    1404 E LOCUST ST                                                                              ANDERSON         IN     46016‐3439
JAMES SWAIN JR                                  9419 NEWGATE COURT                                                                            NEW HAVEN        IN     46774‐2729
JAMES SWAN                                      8615 S PENNSYLVANIA AVE                                                                       OAK CREEK        WI     53154
JAMES SWEENEY                                   5303 BELMONT CT                                                                               TOMS RIVER       NJ     08755‐1920
JAMES SWEENEY CUST STEPHEN J SWEENEY UTMA GA    955 FAIRFIELD DR                                                                              MARIETTA         GA     30068‐2624

JAMES SYKES                                     845 E NINTH ST                                                                                FLINT            MI     48503‐2734
JAMES T ADE & MINA A ADE JT TEN                 216 N 3RD ST                                                                                  ELSIE            MI     48831‐8736
JAMES T ALEXANDER                               8381 REED RD                                                                                  NEW LOTHROP      MI     48460‐9721
JAMES T ANKTON                                  2800 MISTY SHORE LN                                                                           PFLUGERVILLE     TX     78660‐7744
JAMES T APPLETON & RUTH B APPLETON JT TEN       446 LAKESHORE DR                                                                              HILTON           NY     14468‐9560
JAMES T ARMSTRONG                               1690 IRWIN DR                                                                                 WATERFORD        MI     48327‐1930
JAMES T AUGUSTINE                               174 BROOKE DR                                                                                 VENETIA          PA     15367
JAMES T AVERY                                   6965 FOREST RIDGE CT                                                                          PLAINFIELD       IN     46168‐9080
JAMES T BAKER                                   1830 TARA CIR                                                                                 DOUGLASVILLE     GA     30135‐1032
JAMES T BAKEWELL                                6052 TOWNLINE ROAD                                                                            LOCKPORT         NY     14094‐9626
JAMES T BEACH                                   8521 OLD HARFORD RD                                                                           BALTIMORE        MD     21234‐3922
JAMES T BETTS                                   6725 ANDERSON ST                                                                              PHILADELPHIA     PA     19119‐3805
JAMES T BILLETT                                 1312 COLUMBIA AVE                    APT 1B                                                   MIDDLETOWN       OH     45042‐8107
JAMES T BILLONE                                 1765 GLORIA DR                                                                                FAIRPORT         NY     14450‐9137
JAMES T BOND                                    2668 HWY 36 WEST                                                                              JACKSON          GA     30233‐6105
JAMES T BONEY                                   281 COUNTY RD 282                                                                             QUITMAN          MS     39355‐9325
JAMES T BORDERS                                 3964 N STATE ROAD 9                                                                           ANDERSON         IN     46012‐1250
JAMES T BOWEN & ROBERT L BOWEN JT TEN           6011 DASSIA WAY                                                                               OCEANSIDE        CA     92056‐7434
JAMES T BRADLEY JR                              8135 M‐113 E                                                                                  FIFE LAKE        MI     49633‐9362
JAMES T BRIGHAM                                 7216 S FORK                                                                                   SWARTZ CREEK     MI     48473‐9759
JAMES T BRITTON                                 1751 CHATTANOOGA VALLEY RD                                                                    FLINTSTONE       GA     30725‐2020
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Name                                               Address1                               Address2             Address3          Address4          City              State Zip

JAMES T BROMLEY                                    18 CRANBOOK                                                                                     DES PLAINES       IL    60016
JAMES T BROWN                                      2155 E LIBERTY LN                      APT 114                                                  PHOENIX           AZ    85048‐8129
JAMES T BROWN                                      17 SCHOOL ST                                                                                    EASTHAMPTON       MA    01027‐1445
JAMES T BROWN                                      C/O JANICE B LEE                       609 MOON RD                                              LAWRENCEVILLE     GA    30045‐6107
JAMES T BURNAM                                     2335 WILBUR RD                                                                                  MARTINSVILLE      IN    46151‐6812
JAMES T CALL & TERRY E CALL JT TEN                 PO BOX 1592                                                                                     FOREST PARK       GA    30298‐1592
JAMES T CARTER                                     4508 PEBBLE DR                                                                                  WILMINGTON        DE    19802‐1003
JAMES T CARTER                                     413 FRAZIER ST                                                                                  RIVER ROUGE       MI    48218‐1022
JAMES T CASSIDY                                    3216 WESTCREEK CIRCLE                                                                           COLUMBIA          MO    65203‐0904
JAMES T CASTLEBERRY                                2957 MOORINGS PKWY                                                                              SNELLVILLE        GA    30039‐7313
JAMES T CECERE JR                                  135 ISLAND DR                                                                                   POLAND            OH    44514‐1604
JAMES T CHARNIGA                                   312 ENCLAVE LN                                                                                  BEDMINSTER        NJ    07921‐1916
JAMES T CHEESEMAN                                  1411 MULBERRY LN                                                                                FAIRVIEW          PA    16415‐1561
JAMES T CLARK & JOAN M CLARK JT TEN                50 SCENIC HILLS DRIVE                                                                           POUGHKEEPSIE      NY    12603‐3723
JAMES T COCHRANE & MARY ANN E COCHRANE JT TEN      1511 BOLSON DR                                                                                  DOWNERS GROVE     IL    60516‐2629

JAMES T COE                                        1306 SPRING OAKS CIR                                                                            HOUSTON           TX    77055‐4703
JAMES T COLLIER                                    3830 ROSEWOOD DR                                                                                FORT WAYNE        IN    46804‐6120
JAMES T CONNERS                                    27 KENDALL STREET                                                                               CLIFTON SPRINGS   NY    14432‐1019
JAMES T CONNOR                                     57 MOUNTAIN RD                                                                                  PLAINS            MT    59859
JAMES T CONNORS                                    PO BOX 1539                                                                                     N MYRTLE BCH      SC    29598
JAMES T CORLE                                      4830 KENNETT PIKE                      APT 3541                                                 WILMINGTON        DE    19807‐1856
JAMES T COYLE                                      PO BOX 69                                                                                       EQUALITY          IL    62934‐0069
JAMES T CRAIN III CUST JACOB A CRAIN UTMA NC       1028 WORCASTER PL                                                                               CHARLOTTE         NC    28211‐3191
JAMES T CROWLEY & JULIA E CROWLEY JT TEN           3867 SILVER VALLEY DR                                                                           ORION             MI    48359‐1652
JAMES T CRUMP                                      251 EARLMOORE                                                                                   PONTIAC           MI    48341‐2751
JAMES T DANIEL                                     PO BOX 233                                                                                      STILESVILLE       IN    46180‐0233
JAMES T DAVIS                                      5881 DIXIE HWY APT H156                                                                         CLARKSTON         MI    48346‐3300
JAMES T DAVOREN                                    6016 LEAVENWORTH RD                    APT 108                                                  KANSAS CITY       KS    66104‐1479
JAMES T DAWKINS                                    65 MOURY AVE S E                                                                                ATLANTA           GA    30315‐4070
JAMES T DEWITT & ELIZABETH A DEWITT JT TEN         18812 SOUTHAMPTON                                                                               LIVONIA           MI    48152‐3050
JAMES T DICKERSON                                  RT 2 BOX 2426                                                                                   WAYNE             WV    25570‐9761
JAMES T DILDINE                                    3 CEDAR ROAD                                                                                    MATTAPOISETT      MA    02739‐2247
JAMES T DOBRIC & LOUISE A DOBRIC TR DOBRIC TRUST   3838 REEVES LN                                                                                  MEDINA            OH    44256‐7054
UA 08/25/97
JAMES T DOHERTY                                    3211 POLK RD                                                                                    NORRISTOWN        PA    19403‐4030
JAMES T DUNN                                       PO BOX 269                                                                                      SCOTTSMOOR        FL    32775‐0269
JAMES T ELLIS                                      3601 PGA BLVD                          STE 200                                                  PALM BCH GDNS     FL    33410‐2712
JAMES T ETHRIDGE                                   228 KING ARTHUR DR                                                                              LAWRENCEVILLE     GA    30045‐4701
JAMES T FALK & MRS MIRIAM A FALK JT TEN            30622 ELMWOOD ST                                                                                GARDEN CITY       MI    48135‐1923
JAMES T FARQUHAR                                   1965 WHITE LAKE RD                                                                              HIGHLAND          MI    48356‐1330
JAMES T FARRIS                                     33685 SWICK RD                                                                                  MIDDLEPORT        OH    45760‐9726
JAMES T FIELDS                                     3942 SUMMIT DRIVE                                                                               DOUGLASVILLE      GA    30135‐2437
JAMES T FINN                                       5731 ADELPHI ST                                                                                 CINCINNATI        OH    45227‐2801
JAMES T FLYNN & ROSEMARY B FLYNN JT TEN            7214 WESTLAKE AVE                                                                               DALLAS            TX    75214
JAMES T FOLEY                                      234 MAPLESHADE AVE                                                                              EAST              MA    01028‐1218
                                                                                                                                                   LONGMEADOW
JAMES T FORNER                                     235 SHARROW VALE RD                                                                             CHERRY HILL       NJ    08034
JAMES T FORTUNE                                    1705 MONROE ST                         #1                                                       EVANSTON          IL    60202‐2021
JAMES T FOSTER CUST CARRIE A FOSTER UTMA VA        827 BATTLEFIELD RD                                                                              STRASBURG         VA    22657‐3914
JAMES T FOSTER CUST JENNA M FOSTER UTMA VA         827 BATTLEFIELD RD                                                                              STRASBURG         VA    22657‐3914
JAMES T FOSTER CUST MICHAEL T FOSTER UTMA VA       827 BATTLEFIELD RD                                                                              STRASBURG         VA    22657‐3914

JAMES T FRANCIS                                    602 DEVON RD                                                                                    RICHMOND          VA    23229‐6761
JAMES T FULKS                                      4294 TUXEDO                                                                                     WARREN            MI    48092‐1119
JAMES T FULLER                                     141 MOBILE LN                                                                                   CRESCENT CITY     CA    95531‐8471
JAMES T GAFFNEY                                    330 BURD ST                                                                                     PENNINGTON        NJ    08534‐2801
JAMES T GASTON                                     1481 PRESTON RIDGE NW                  APT A25                                                  GRAND RAPIDS      MI    49505
JAMES T GENTRY                                     2956 HATHAWAY ROAD                     CONDO # 905                                              RICHMOND          VA    23225‐1728
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JAMES T GERKE                                   10723 E 46TH TER                                                                            KANSAS CITY     MO    64133‐3771
JAMES T GILLEN & CIRILA GILLEN JT TEN           16243 BEACH HWY                                                                             OCQUEOC         MI    49759‐9749
JAMES T GILLESPIE                               5237 REGIMENTAL BANNER DR                                                                   GRAND BLANC     MI    48439‐8700
JAMES T GLECKLER & JUDITH A GLECKLER JT TEN     959 WALNUT GROVE RD                                                                         BENTON          KY    42025‐1815
JAMES T GLENN                                   125 HILLSIDE DR                                                                             SPRING CITY     PA    19475‐2611
JAMES T GRANDERSON                              453 S 13TH ST                                                                               SAGINAW         MI    48601‐1950
JAMES T GRAZAN                                  120 MARION DRIVE                                                                            MC MURRAY       PA    15317‐2922
JAMES T GREEN                                   2229 HARVEST LANE                                                                           BOWLING GREEN   KY    42104‐4451
JAMES T GRIER                                   PO BOX 2628                                                                                 SPARTANBURG     SC    29304‐2628
JAMES T GRIMALDI                                4300 SHARON RD APT 528                                                                      CHARLOTTE       NC    28211
JAMES T GURACECH & MARIAN R GURACECH JT TEN     29446 RUNEY DR                                                                              WARREN          MI    48092‐2313

JAMES T GURSKI                                  103 BRIGANTINE BLVD                                                                         WARETOWN        NJ    08758‐2693
JAMES T HAGY                                    490 COURT ST CONDO #14                                                                      ABINGDON        VA    24210‐2056
JAMES T HAND                                    PO BOX 194                                                                                  WYSOX           PA    18854‐0194
JAMES T HANNAM                                  6058 BURNSIDE LANDING DR                                                                    BURKE           VA    22015
JAMES T HARDIGREE                               PO BOX 128                                                                                  HOMER           GA    30547‐0128
JAMES T HARPER SR                               1000 SOUTH MAIN                                                                             CULVER          IN    46511‐1845
JAMES T HAYNES                                  7431 NOWHERE RD                                                                             HULL            GA    30646
JAMES T HEAPHY                                  7 COTTONWOOD LANE                                                                           WHITE PLAINS    NY    10605
JAMES T HENAGE                                  945 DRY RIDGE‐MT ZION RD                                                                    DRY RIDGE       KY    41035‐7807
JAMES T HILL                                    35 ROCK GLENN RD                                                                            HVRE DE GRACE   MD    21078
JAMES T HOLDEN                                  15379 ROSCOMMON LN                                                                          GRANGER         IN    46530‐6279
JAMES T HOPE                                    11501 S VILLA CT                   APT 1B                                                   ALSIP           IL    60803‐4309
JAMES T HUMES & MRS NOLA C HUMES JT TEN         PO BOX 205                                                                                  FT DODGE        IA    50501‐0205
JAMES T ISBISTER                                223 HIGH ST                                                                                 GRAND BLANC     MI    48439‐1336
JAMES T JENKERSON                               PO BOX 671                                                                                  FLAT RIVER      MO    63601‐0671
JAMES T JENKINSON                               1 HUMINGBIRD CIRCLE                                                                         GREENVILLE      SC    29615‐1353
JAMES T JOHNSON                                 18643 HUBBELL ST                                                                            DETROIT         MI    48235‐2755
JAMES T JOHNSON & RUBYE M JOHNSON JT TEN        18643 HUBBELL ST                                                                            DETROIT         MI    48235
JAMES T JOHNSTON JR                             4526 SANDY DRIVE                                                                            WILMINGTON      DE    19808‐5632
JAMES T KANE JR & RITA M KANE TEN ENT           C/O JOSEPH P. KANE                 PO BOX 46546         ST PETE BEACH                       ST PETERSBURG   FL    33741
JAMES T KEEGAN                                  4525 CULLEN ROAD RT 2                                                                       FENTON          MI    48430‐9213
JAMES T KEELEY                                  21 PRESERVE DR                                                                              LONDONDERRY     NH    03053‐2588
JAMES T KEELING                                 5020 S 65TH W AVE                                                                           TULSA           OK    74107
JAMES T KERLIN                                  6088 PEBBLE BEACH WAY                                                                       SN LUIS OBISP   CA    93401‐8916
JAMES T KIERNAN                                 25 THE RIDGEWAY                                                                             GREENWICH       CT    06831‐3712
JAMES T KIERNAN                                 1426 CORTLAND DR                                                                            MANASQUAN       NJ    08736‐4023
JAMES T KILGORE                                 6312 HIBBING AVE                                                                            SPRINGFIELD     VA    22150
JAMES T KILLION                                 7434 OLD DYSINGER RD                                                                        LOCKPORT        NY    14094‐9324
JAMES T KINDER                                  6859 BALTIMORE ANNAPOLIS                                                                    LINTHICUM       MD    21090‐1601
JAMES T KING                                    96 STETSON RD                                                                               NORWELL         MA    02061‐2828
JAMES T KING                                    614 BELL ST                                                                                 CHAGRIN FALLS   OH    44022‐4156
JAMES T KOLESAR                                 88 WINCHESTER STREET                                                                        ROCHESTER       NY    14615‐2334
JAMES T KRUKOWSKI                               1420 S AIRPORT RD                                                                           SAGINAW         MI    48601‐9484
JAMES T LAKE                                    27450 MARSHALL                                                                              SOUTH FIELD     MI    48076‐5141
JAMES T LANE                                    2395 E BURT RD                                                                              BURT            MI    48417‐9426
JAMES T LEFLER                                  48247 GOLD BRANCH RD                                                                        RICHFIELD       NC    28137‐7937
JAMES T LEFLER & MRS RUBY F LEFLER JT TEN       48247 GOLD BRANCH RD                                                                        RICHFIELD       NC    28137‐7937
JAMES T LINGLEY & MRS CLARA E LINGLEY JT TEN    20 GREENLAY ST                                                                              NASHUA          NH    03063‐3101
JAMES T LOANEY                                  2112 SPRUCE ST                                                                              PHILADELPHIA    PA    19103‐6596
JAMES T LONERGAN                                5 EVERGREEN AVE                                                                             SEA GIRT        NJ    08750‐1705
JAMES T LONERGAN & HELEN V LONERGAN JT TEN      5 EVERGREEN AVENUE                                                                          SEA GIRT        NJ    08750‐1705
JAMES T LONG                                    3410 WILLOW LN                                                                              MARKHAM         IL    60426‐2933
JAMES T MANNING                                 PO BOX 522                                                                                  PUNTA GORDA     FL    33951‐0522
JAMES T MARTIN                                  115 SUMMER FIELD DR                                                                         MCDONOUGH       GA    30253‐5305
JAMES T MC GONIGLE & JACQUELINE MC GONIGLE JT   6221 BANYAN TERRACE                                                                         PLANTATION      FL    33317‐2572
TEN
JAMES T MC KENNA JR                             155 BEACH ST                                                                                COHASSET        MA    02025‐1400
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JAMES T MCAVOY                                   16431 BELL CREEK LN                                                                           LIVONIA         MI    48154‐2936
JAMES T MCGAUGHEY                                2200 HAZEL DELL                                                                               CASTLE ROCK     WA    98611‐9145
JAMES T MCKISSACK                                BOX 20117                                                                                     MONTGOMERY      AL    36120‐0117
JAMES T MCPHAIL                                  7730 DURAIN                                                                                   JENISON         MI    49428‐7916
JAMES T MILLIGAN                                 6154 OLD MONTICELLO ST                                                                        COVINGTON       GA    30014‐3924
JAMES T MOFFITT & MRS DOROTHY E MOFFITT JT TEN   307 SUNNYCREST CT                                                                             URBANA          IL    61801‐5957

JAMES T MORGAN                                   384E KELLER HILL RD                                                                           MOORESVILLE     IN    46158‐7271
JAMES T MURPHY & SUSAN MURPHY JT TEN             569 ANNAQUATUCKET ROAD                                                                        NORTH KINGSTOWN RI    02852‐5601

JAMES T NEEF                                     502 MILLWOOD MEADOWS DR                                                                       ENGLEWOOD       OH    45322
JAMES T O LEARY & SHIRLEY J O LEARY JT TEN       13622 N HAWTHORN DR                                                                           SUN CITY        AZ    85351‐2319
JAMES T O'HARA JR                                12011 MILLER RD                                                                               LENNON          MI    48449‐9406
JAMES T PALMERI                                  1852 LIVE OAK                                                                                 SHREVEPORT      LA    71118‐2216
JAMES T PANFILIO                                 17W465 EARL CT                                                                                DARIEN          IL    60561‐5107
JAMES T PARRENT                                  2011 BURGER ST                                                                                DEARBORN        MI    48128‐1310
JAMES T PAVAL                                    18645 FLORAL                                                                                  LIVONIA         MI    48152‐3774
JAMES T PAVLOVICH CUST JAMIE O LYNN PAVLOVICH    5240 N BELSAY RD                                                                              FLINT           MI    48506‐1675
UGMA MI
JAMES T PAYNE                                    808 JOSEPH                                                                                    BAY CITY        MI    48706‐5508
JAMES T PETERSON                                 2108 TICE DR                                                                                  CULLEOKA        TN    38451‐2719
JAMES T PICOU                                    26985 STATE ROUTE Z                                                                           SAINT MARY      MO    63673‐8122
JAMES T PLEDGE JR                                22038 BELLWOOD DRIVE                                                                          WOODHAVEN       MI    48183‐1546
JAMES T PLEDGE JR & JOAN M PLEDGE JT TEN         22038 BELLWOOD DRIVE                                                                          WOODHAVEN       MI    48183‐1546
JAMES T POWERS                                   127 E RUTHERFORD DR                                                                           NEWARK          DE    19713‐2024
JAMES T POWERS                                   55340 AUTUMN RIDGE                                                                            NORTHVILLE      MI    48167‐9360
JAMES T PRATER                                   800 OAK PARK                                                                                  FENTON          MI    48430‐3264
JAMES T PRENDERGAST                              30 BRYWOOD PL                                                                                 SPRING          TX    77382‐2601
JAMES T PRENDERGAST                              9357 DRAKE AVENUE                                                                             EVANSTON        IL    60203‐1406
JAMES T PROUT                                    8550 E VERMONTVILLE HWY                                                                       DIMONDALE       MI    48821‐9637
JAMES T PULLEY                                   610 GREENRIVER DRIVE                                                                          WAYNESBORO      TN    38485‐2510
JAMES T REIFF                                    106 FAIRFIELD DR                                                                              FAIRVIEW HEIG   IL    62208‐2113
JAMES T RHAMA                                    607 W BOONESLICK RD                                                                           WARRENTON       MO    63383‐1906
JAMES T RHODE                                    96 RED OAK CT                                                                                 BUCYRUS         OH    44820‐2073
JAMES T RICKS                                    5121 OAKDALE ROAD                                                                             DOUGLASVILLE    GA    30135
JAMES T RIGGS                                    208 SOUTH ST                                                                                  CHESTERFIELD    IN    46017‐1740
JAMES T RITTER CUST CORY DIANE RITTER UTMA OH    5543 HUBBLE RD                                                                                CINCINNATI      OH    45247‐3656

JAMES T ROBBINS                                    PO BOX 4779                                                                                 CHATTANOOGA     TN    37405‐0779
JAMES T ROBERTSON                                  60 WEST POST RD                                                                             WHITE PLAINS    NY    10606‐2926
JAMES T ROBSON                                     PO BOX 331                                                                                  MONTROSE        AL    36559‐0331
JAMES T ROCHE                                      608 WOODSIDE LN                                                                             BAY CITY        MI    48708‐5555
JAMES T ROSE                                       1350 CHESTNUT LANE                                                                          TEMPERANCE      MI    48182‐9412
JAMES T RUSSELL MRS RUTH A RUSSELL & MISS JANICE R 505 N 4TH ST BOX 100                                                                        HARRISON        MI    48625‐9089
RUSSELL JT TEN
JAMES T RYAN & JULIE RYAN JT TEN                   2418 DECATUR                                                                                FRESNO          CA    93720
JAMES T SAHOL                                      1309 WALL AVE                                                                               BURLINGTON      NJ    08016‐4617
JAMES T SALYER                                     6309 HILLCROFT                                                                              FLINT           MI    48505‐5732
JAMES T SCHNEIDER                                  100 EVERGREEN TRAIL                                                                         LAKE ORION      MI    48362
JAMES T SCHRIMPF                                   1231 ANDERSON FERRY RD                                                                      CINCINNATI      OH    45238‐4223
JAMES T SCHWEIER III                               851 WILLOW CREEK DRIVE                                                                      AKRON           OH    44333
JAMES T SEARS                                      345 DARKHEAD RD                                                                             BALTIMORE       MD    21220‐4824
JAMES T SHARKEY                                    2428 POST ST                                                                                EAST MEADOW     NY    11554
JAMES T SHELLEY                                    14269 S DUFFIELD RD                                                                         BYRON           MI    48418‐9004
JAMES T SHERMAN                                    10198 E 1350 NORTH RD                                                                       BLOOMINGTON     IL    61704‐6666
JAMES T SIMPSON                                    3024 SPRING CREEK RD               APT 1                                                    GREENVILLE      NC    27834‐2128
JAMES T SKRIBA                                     2440 W PARKS RD                                                                             SAINT JOHNS     MI    48879
JAMES T SMITH                                      13422 BLENHEIM                                                                              CLEVELAND       OH    44110‐3527
JAMES T SMITH JR                                   5322 AMES ST NE                                                                             WASHINGTON      DC    20019‐6659
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Name                                           Address1                            Address2                 Address3      Address4          City             State Zip

JAMES T SNYDER                                 3072 EAGLE BEND RD                                                                           SPRING HILL      FL    34606‐3162
JAMES T SPIDELL                                14724 LABRADOR ST                                                                            SEPULVEDA        CA    91343‐2417
JAMES T STORK                                  1839 SCHUST RD                                                                               SAGINAW          MI    48604‐1613
JAMES T STOUT JR & MARTHA STOUT JT TEN         42 OLD FORGE LANE                                                                            WEYERS CAVE      VA    24486‐2328
JAMES T SULLIVAN & JAMES J SULLIVAN JT TEN     536 VICTORIA SQUARE                                                                          BRIGHTON         MI    48116
JAMES T TANSELLE                               RD 3100 SOUTH & 125 WEST                                                                     LEBANON          IN    46052
JAMES T TELLER                                 75 LAKESIDE DRIVE                   WINNIPEG MB                            R3T 4M4 CANADA
JAMES T THOMAS                                 412 SE CRO 140                                                                               KERENS           TX    75144
JAMES T TIDWELL                                115 TN CIRCLE                                                                                WEST POINT       TN    38486‐5560
JAMES T TROST                                  4149 HAZELHURST COURT                                                                        PLEASANTON       CA    94566‐4708
JAMES T TYISKA                                 2033 SEYMOUR                                                                                 FLINT            MI    48503‐4342
JAMES T VALVO                                  2701 MANITOU RD                                                                              ROCHESTER        NY    14624‐1127
JAMES T VERFURTH                               2801 BLUE WOOD TRL                                                                           FLOWER MOUND     TX    75022‐5298
JAMES T WALDO                                  42908 WOODHILL DR                                                                            ELYRIA           OH    44035‐2055
JAMES T WALDROP & LAURA F WALDROP JT TEN       3204 FLORENCE ST                                                                             VIRGINIA BEACH   VA    23452‐6622
JAMES T WALLACE                                300 FAIRWAY DR                                                                               WARNER ROBINS    GA    31088‐7549
JAMES T WALLACE TR UA 04/13/83 JAMES T WALLACE 691 DORNOCH DRIVE                                                                            ANN ARBOR        MI    48103‐9044
TRUST
JAMES T WALLER                                 5542 JAMAICA RD                                                                              COCOA            FL    32927‐8133
JAMES T WARD                                   1821 CLOVERDALE DR                                                                           ROCHESTER        MI    48307‐6039
JAMES T WHITEHEAD                              PO BOX 303                                                                                   BUFFALO          NY    14215‐0303
JAMES T WIEGAND                                16821 ROCKRIDGE LANE                                                                         GRANGER          IN    46530‐6919
JAMES T WIESEN                                 4192 RICHMARK LN                                                                             BAY CITY         MI    48706‐2258
JAMES T WILBUR                                 3371 HARMONY DRIVE                                                                           TROY             MI    48083‐5514
JAMES T WITTIG                                 82 DOWLING PKWY                                                                              WEST PATERSON    NJ    07424‐2635
JAMES T WOODS                                  801 CHATHAM DR                                                                               FLINT            MI    48505‐1948
JAMES T WRIGHT JR                              541 SANDY HOOK RD                                                                            SHAWBORO         NC    27973‐9637
JAMES T YAKLIN                                 7887 N VERNON RD                                                                             NEW LOTHROP      MI    48460‐9728
JAMES T YOUNG                                  6241 OTOOLE LA                                                                               MT MORRIS        MI    48458‐2617
JAMES T YOUNG                                  6676 WESTMINSTER DR                                                                          FENTON           MI    48430‐9022
JAMES T ZKIAB                                  3420 WOOSTER RD                     APT 219                                                  ROCKY RIVER      OH    44116‐4151
JAMES TAI                                      3608 W 5TH STREET                                                                            FORT WORTH       TX    76107
JAMES TAPPEN CUST BARBARA RENA TAPPEN UGMA MI 9022 HUNTY GROVE                                                                              BRIGHTON         MI    48114

JAMES TARKOWSKI                                1445 LINWOOD RD                                                                              LINWOOD          MI    48634
JAMES TAYLOR                                   11810 E OUTER DR                                                                             DETROIT          MI    48224‐2606
JAMES TAYLOR                                   356 APPLETON ST                                                                              NORTH ANDOVER    MA    01845‐3118
JAMES TAYLOR & MRS KAREN TAYLOR JT TEN         305 CHANNINGS LAKE                                                                           LAWRENCEVILLE    GA    30043‐6409
JAMES TAYLOR GASTON                            1481 PRESTON RIDGE NW APT A25                                                                GRAND RAPIDS     MI    49505
JAMES TAYLOR HOWARD                            RR 4 BOX 4298                                                                                WYALUSING        PA    18853‐9375
JAMES TERRY                                    PO BOX 6317                                                                                  FORT WAYNE       IN    46896‐0317
JAMES TERRY BROWN                              2147 ELVIRA WAY                                                                              GREEN BAY        WI    54313‐8083
JAMES TERRY RENTON                             1929 N 450 WEST                                                                              SHELBYVILLE      IN    46176‐9016
JAMES TERRY WAUFORD                            4714 BLOCKHOUSE LN                                                                           HOLLYWOOD        SC    29449‐5777
JAMES THEODORE                                 16541 TIMBERLINE DR                                                                          STRONGSVILLE     OH    44136‐7356
JAMES THOMAS                                   APT 8G                              159‐44 HARLEM RIVER DR                                   NEW YORK         NY    10039‐1136
JAMES THOMAS CLACK JR                          1311 ALCOTT AVENUE                                                                           DAYTON           OH    45406‐4204
JAMES THOMAS DOUGLAS                           7054 E BRISTOL RD                                                                            DAVISON          MI    48423‐2420
JAMES THOMAS HINES III                         762 BOCAGE LN                                                                                MANDEVILLE       LA    70471‐1608
JAMES THOMAS II CUST JACOB THOMAS UTMA MD      3106 BRITTANNIA CT                                                                           RIVA             MD    21140

JAMES THOMAS JACKSON                           4319 CIMARRON LN                                                                             FT WASHINGTON    MD    20744‐1269
JAMES THOMAS MACGREGOR & TONYA J MACGREGOR 460 CANTERBURY                                                                                   SAGINAW          MI    48638
JT TEN
JAMES THOMAS MCCLOE & CYNTHIA TYRELL MCCLOE JT 451 RT 17C                                                                                   WAVERLY          NY    14892‐9315
TEN
JAMES THOMAS MOODY                             20067 MELVIN                                                                                 LIVONIA          MI    48152‐1828
JAMES THOMAS MOORE                             836 MEADOW DRIVE                                                                             DAVISON          MI    48423‐1030
JAMES THOMAS MORSE                             5516 KURT DR                                                                                 LANSING          MI    48911‐3769
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JAMES THOMAS NORTON & DAWN KATHERINE NORTON 21 HICKORY DRIVE                                                                                      STANHOPE         NJ    07824
JT TEN
JAMES THOMAS PORTER                         4475 OREN DR                                                                                          DAYTON          OH     45415‐1847
JAMES THOMAS SMITH & JANET C SMITH JT TEN   127 GOLF DR                                                                                           SIGNAL MOUNTAIN TN     37377‐1846

JAMES THOMASON                                49090 HIDDEN WOODS LN                                                                               SHELBY TWP       MI    48317‐2644
JAMES THOMPSON                                831 MILFORD GLEN CIRCLE                                                                             MILFORD          MI    48381‐2076
JAMES THOMPSON                                6675 FOXSHIRE DRIVE                                                                                 FLORISSANT       MO    63033‐8001
JAMES THOMPSON                                1746 HOLYOKE                                                                                        E CLEVELAND      OH    44112‐2130
JAMES THOMPSON MC MINN                        411 S 3RD ST                                                                                        CARSON CITY      MI    48811‐9652
JAMES TIDLER                                  4409 FIRESIDE CT                                                                                    WILMINGTON       NC    28412‐2093
JAMES TILLEY                                  81 RUTLAND ST                                                                                       BUFFALO          NY    14220‐1627
JAMES TIMMONS                                 PO BOX 262                                                                                          CLAYTON          DE    19938‐0262
JAMES TIMOTHY BOWMAN                          635 NORTHSIDE AVENUE                                                                                LEWISVILLE       TX    75057‐2630
JAMES TING‐KANG SHAW                          1301 DELAWARE AVE SW UNIT N‐625                                                                     WASHINGTON       DC    20024‐3959
JAMES TIPTON                                  7384 ELMCREST AVE                                                                                   MT MORRIS        MI    48458‐1807
JAMES TOD JACKSON                             6306 DOVER COURT                                                                                    FISHERS          IN    46038‐4707
JAMES TODD ALLEN                              77 MONTRE SQ NW                                                                                     ATLANTA          GA    30327‐4045
JAMES TOLAND                                  264 CHENAULT PL NW                                                                                  ATLANTA          GA    30314‐1502
JAMES TOMAW                                   1001 PINELLA DR                                                                                     CORBIN           KY    40701‐8763
JAMES TOMAZIN                                 8363 ABBEY RD                                                                                       N ROYALTON       OH    44133‐1109
JAMES TORTORELLA CUST MICHAEL TORTORELLA UTMA 5611 ROCKY RUN DR                                                                                   CENTREVILLE      VA    20120‐2831
VA
JAMES TOVTIN                                  3044 DENVER DR                                                                                      POLAND           OH    44514‐2435
JAMES TOWNSEND                                223 ELMHURST RD                                                                                     DAYTON           OH    45417‐1420
JAMES TREHARN                                 983 BENTON ROAD                                                                                     SALEM            OH    44460‐1405
JAMES TROBETSKY & CAROLYN TROBETSKY JT TEN    512 E LYNNWOOD ST                                                                                   ALLENTOWN        PA    18103‐5218
JAMES TROVILLION                              6320 W DODGE RD                                                                                     CLIO             MI    48420‐8547
JAMES TROY TUCKER                             9 WINDSOR CT                                                                                        LUFKIN           TX    75901‐7242
JAMES TRUMBO CUST MICHAEL J TRUMBO UTMA CO    3210 PARFET ST                                                                                      WHEATRIDGE       CO    80033‐5420

JAMES TSIROS THELMA B TSIROS & JOHN I TSIROS TEN   4205 MAPLE WOODS DR W                                                                          SAGINAW          MI    48603‐9308
COM
JAMES TUCKER                                       210 E 7TH                                                                                      ST JOHN          KS    67576‐1618
JAMES TUCKER & MICHELLE TUCKER JT TEN              6 SLEEPY GLEN LANE                                                                             CARMEN           ID    83462
JAMES TUCKER MITCHELL                              414 GRASSMERE AVE                                                                              INTERLAKEN       NJ    07712‐4313
JAMES TURNER CUST JOEL RICHARD TURNER UTMA IA      340 FOREST RD                                                                                  DAVENPORT        IA    52803‐3615

JAMES TURNER CUST MARY E TURNER UTMA IA            340 FOREST RD                                                                                  DAVENPORT        IA    52803‐3615
JAMES TURNER HUGHEY JR & ELIZABETH CHERRY          PO BOX 798                                                                                     SENATOBIA        MS    38668‐0798
HUGHEY JT TEN
JAMES TURNER MC INTYRE                             2 A WILDERNESS TRAIL                                                                           FRIENDSWOOD      TX    77546‐5302
JAMES TYLER NASH                                   9112 TANSEL CT                                                                                 INDIANAPOLIS     IN    46234‐1371
JAMES U ADAMS                                      1714 WOODLIN DR                                                                                FLINT            MI    48504‐3603
JAMES U GUINN                                      32676 BENSON ST                                                                                WESTLAND         MI    48185‐9202
JAMES U KISER                                      154 PLANTATION DR                                                                              MOORESVILLE      NC    28117‐5820
JAMES U KUNKEL & JANET M KUNKEL JT TEN             5751 WRANGLER DR                                                                               BROOK PARK       OH    44142‐2128
JAMES U WATTS                                      1821 SAGEWAY DRIVE                                                                             TALLAHASSEE      FL    32303‐7327
JAMES U WILSON                                     3690 GLENCAIRN LN                                                                              INDIANAPOLIS     IN    46205‐2534
JAMES UNDIEME                                      11591 N HULBERT RD                                                                             WINSLOW          IL    61089‐9418
JAMES URBANAWIZ                                    20 HUNDLEY DRIVE                                                                               DAVENPORT        FL    33837‐2700
JAMES V ALEXANDER & RUBY FAYE ALEXANDER JT TEN     1700 TIMBER RIDGE RD                                                                           MARBLE FALLS     TX    78654‐7847

JAMES V ALEXANDER JR                               PO BOX 0237                                                                                    SPRING           TX    77383‐0237
JAMES V BABILON                                    424 GOTHAM ROAD                                                                                VIRGINIA BEACH   VA    23452‐2429
JAMES V BALOGH                                     5883 COUNTY ROAD 352                                                                           KEYSTONE HGTS    FL    32656‐8700
JAMES V BARRIGAR                                   4539 WINCHELL RD                                                                               MANTUA           OH    44255‐9361
JAMES V BLACK                                      2079 HARWITCH RD X                                                                             COLUMBUS         OH    43221‐2725
JAMES V BOTT                                       922 BENSCH ST                                                                                  LANSING          MI    48912‐1902
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JAMES V BRANHAM                                  15410 HEATHERWOOD                                                                                SOUTHGATE       MI    48195‐8523
JAMES V BRUCALE                                  3105 DEER CHASE COURT                                                                            SNELLVILLE      GA    30039‐6261
JAMES V CAMPANELLA & ANNE CAMPANELLA JT TEN      308 WESTVILLE AVE                                                                                W CALDWELL      NJ    07006‐7438

JAMES V CASSIZZI & JEAN R CASSIZZI JT TEN        361 ELRINE ST                                                                                    BALT            MD    21224‐2721
JAMES V CLAFLIN                                  740 HINSDALE AVE                                                                                 HINSDALE        IL    60521‐3971
JAMES V COCUZZA                                  659 OLD WILDER RD                                                                                HILTON          NY    14468‐9701
JAMES V COMPTON                                  9791 CLIPNOCK RD                                                                                 EAST BETHANY    NY    14054‐9761
JAMES V CORBETT                                  9914 HEYDEN STREET                                                                               DETROIT         MI    48228‐1231
JAMES V CUOZZO & JANE A CUOZZO JT TEN            10534 EDWARDIAN LN                                                                               NEW MARKET      MD    21774
JAMES V DETRICK                                  4777 W VERSAILLES RD                                                                             PIQUA           OH    45356‐9308
JAMES V DORSEY                                   13 HEANEY DR                                                                                     BEACON          NY    12508‐4138
JAMES V EASTIN                                   956 REVERE CT                                                                                    ROCKLEDGE       FL    32955‐3523
JAMES V EVANS                                    291 ARGYLE ST                                                                                    PETROLIA        PA    16050‐9702
JAMES V FARRAR                                   25190 FERN ST                                                                                    ROSEVILLE       MI    48066‐3680
JAMES V FERRANTE                                 6061 KIRK RD                                                                                     CANFIELD        OH    44406‐8613
JAMES V FISHER                                   277 LAKEWOOD LN                                                                                  MARQUETTE       MI    49855‐9508
JAMES V FONTANA JR & PATRICIA A FONTANA JT TEN   1282 NEW LITCHFIELD ST                                                                           TORRINGTON      CT    06790‐6019

JAMES V GOISER                                   BOX 72                                                                                           CAPE VINCENT    NY    13618‐0072
JAMES V GRABOWSKI                                388 LAMARCK DRIVE                                                                                BUFFALO         NY    14225‐1106
JAMES V GRAHAM & JEAN W GRAHAM JT TEN            52 RUTH ROAD                                                                                     CORTLANDT MNR   NY    10567
JAMES V HEFFERNAN                                5216 FALMOUTH RD                                                                                 BETHESDA        MD    20816‐2913
JAMES V HILL                                     452 E WILSON AVE                                                                                 GIRARD          OH    44420‐2705
JAMES V HOLLAND & LOIS V HOLLAND JT TEN          11222 PFLUMM                                                                                     LENEXA          KS    66215‐4811
JAMES V HOLLOWAY                                 11424 SAINT PATRICK ST                                                                           DETROIT         MI    48205‐3716
JAMES V HURLOCK                                  227 CHARRING CROSS DR                                                                            DOVER           DE    19904‐9702
JAMES V ISAACKS CUST EVAN M ISAACKS UGMA TX      410 E REPUBLIC                                                                                   BAYTOWN         TX    77520

JAMES V JASKIEWICZ                               1900 SOUTH JOHNSON                                                                               BAY CITY        MI    48708‐9112
JAMES V JOHNSON & LINDA Y JOHNSON JT TEN         22437 ENNISHORE                                                                                  NOVI            MI    48375‐4240
JAMES V JORGENSEN                                709 INWOOD DR                                                                                    SOUTHLAKE       TX    76092‐8617
JAMES V KAAN                                     PO BOX 531                                                                                       SUNRISE BEACH   MO    65079‐0531
JAMES V KENNEDY                                  3033 HIGH POINTE RIDGE RD                                                                        LAKE ORION      MI    48359‐1176
JAMES V LEWIS                                    1168 SHEFFIELD PL                                                                                LEXINGTON       KY    40509‐2017
JAMES V LOVING                                   2486 SHANKS DOWNES RD                                                                            GARRETTSVILLE   OH    44231‐9301
JAMES V MANDUZZI                                 24649 LARGES DRIVES                                                                              SOUTHFIELD      MI    48034‐3219
JAMES V MARTIN                                   150 WESTVIEW DR                                                                                  DAHLONEGA       GA    30533‐6102
JAMES V MATARO                                   11264 SW 77TH CT                                                                                 OCALA           FL    34476‐3899
JAMES V MC CALLUM                                1274 CREEK POINTE DR                                                                             ROCHESTER       MI    48307‐1725
JAMES V MCKAY                                    FABYAN ROAD                                                                                      FABYAN          CT    06245
JAMES V MONTGOMERY                               4645 WESTLAND                                                                                    DEARBORN        MI    48126‐4113
JAMES V MONTGOMERY U/GDNSHP OF MARGARET S        4645 WESTLAND                                                                                    DEARBORN        MI    48126‐4113
MONTGOMERY
JAMES V ORGERA                                   6 CAROLE LANE                                                                                    EAST ISLIP      NY    11730
JAMES V PARKER                                   7318 EGYPT LAKE DR                                                                               TAMPA           FL    33614‐3410
JAMES V PARKER JR                                985 JOHN G RICHARDS RD                                                                           CAMDEN          SC    29020‐9483
JAMES V PARUCKI                                  3682 WOODHAVEN CIRCLE                                                                            HAMBURG         NY    14075‐2260
JAMES V PATEFIELD                                1803 TENEYCK STREET                                                                              JACKSON         MI    49203‐2058
JAMES V PAYNE                                    8689 COUNTY ROAD 7 NW                                                                            BRANDON         MN    56315‐8130
JAMES V PELOSI                                   16310 HEATHER BEND COURT                                                                         HOUSTON         TX    77059‐5579
JAMES V PENNINGTON                               4367 BAKER RD                                                                                    ALGER           MI    48610‐9518
JAMES V PEPI                                     PO BOX 3531                                                                                      ALLENTOWN       PA    18106‐0531
JAMES V PIERCE                                   1455 N SANDBURG #802                                                                             CHICAGO         IL    60610‐5581
JAMES V ROBERTSON                                4091 QUILLEN                                                                                     WATERFORD       MI    48329‐2053
JAMES V ROSS                                     7700 TESSMAN DRIVE                                                                               MINNEAPOLIS     MN    55445‐2732
JAMES V ROSS & DONNA T ROSS JT TEN               7700 TESSMAN DRIV                                                                                MINNEAPOLIS     MN    55445‐2732
JAMES V SCEGO                                    10 ARBORGATE DR                                                                                  SAINT PETERS    MO    63376‐4484
JAMES V SGAMBELLONE                              2011 TULIPWOOD DRIVE                                                                             MANSFIELD       OH    44906‐3334
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JAMES V SHERIDAN                                13 ST MARKS ST                                                                                 LEROY           NY    14482‐1023
JAMES V SHERIDAN                                229 SEAPARK ESTATE                    MALAHIDE             COUNTY DUBLIN     IRELAND
JAMES V SPAYD                                   27143 WESTLAND DRIVE                                                                           DETROIT         MI    48240‐2352
JAMES V STELLA                                  118 MCINTOSH DR                                                                                BRISTOL         CT    06010‐3021
JAMES V STOCKS                                  2826 MILLER RIDGE CT                                                                           FORT WAYNE      IN    46818‐9526
JAMES V THEESFELD                               4666 KEDRON ROAD                                                                               SPRING HILL     TN    37174‐2252
JAMES V TOYE                                    1204 RIDGECREST CIR                                                                            POCAHONTAS      AR    72455‐2596
JAMES V URBAN                                   1531 N CONCORD                                                                                 FULLERTON       CA    92831‐2120
JAMES V WALKER                                  4335 WYATT RD                                                                                  CLEVELAND       OH    44128‐3374
JAMES V WALSH CUST DANIEL J WALSH UTMA IL       9100 LADNER FARMS                                                                              ADA             MI    49301‐8895
JAMES V WARD JR                                 925 MEL                                                                                        LANSING         MI    48911‐3617
JAMES V ZAZZARINO                               2666 DOUGLAS LANE                                                                              THOMPSON        TN    37179‐5008
                                                                                                                                               STATION
JAMES V ZIZZI CUST GABRIELLE K ZIZZI UGMA NY    PO BOX 1551                                                                                    QUOGUE          NY    11959‐1551
JAMES VALDEZ                                    410 SUMMIT RIDGE RD                                                                            BURNET          TX    78611
JAMES VAN KEUREN & PATRICIA VAN KEUREN JT TEN   PO BOX 562                                                                                     PUT IN BAY      OH    43456

JAMES VAN T WARK                                750 EAST MARSHALL STREET              UNIT 703                                                 WEST CHESTER    PA    19380‐4438
JAMES VANDEMOORTEL                              5191 BORDEAUX AVE                                                                              IRVINE          CA    92604
JAMES VANISKA                                   4942 NW 54TH AVE                                                                               COCONUT CREEK   FL    33073‐3300
JAMES VANROSS                                   715 EAST 72ND                                                                                  KANSAS CITY     MO    64131
JAMES VEAL                                      PO BOX 670                                                                                     IRVINGTON       AL    36544‐0670
JAMES VENCE CUST CHRISTOPHER M VENCE UGMA OH    6869 VIRGINIA RD                                                                               ATWATER         OH    44201‐9526

JAMES VENCE CUST CYNTHIA L VENCE UGMA OH        PO BOX 38                             4332 FAIRGROUND RD                                       RANDOLPH        OH    44265‐0038
JAMES VERTOLLI                                  1296 NEW ENGLAND DR SE                                                                         NORTH CANTON    OH    44720‐3900
JAMES VINCENT MASSA                             1116 S 23RD ST                                                                                 LAFAYETTE       IN    47905‐1627
JAMES VINCENT MCKAY                             1920 LOPICCOLO CT                                                                              GLEN ROCK       PA    17327‐9021
JAMES VINCENT SPATOLA III                       15 RIVER COURT LN                                                                              HENRICO         VA    23238‐5581
JAMES VITALE                                    7 KATHLEEN PLACE                                                                               BRIDGEWATER     NJ    08807‐1815
JAMES VON SEEBACH & RITA VON SEEBACH JT TEN     1289 SLEEPY HOLLOW LANE                                                                        MILLBRAE        CA    94030‐1528
JAMES W ABBOTT                                  66 BARREN RIVER HLS                                                                            SCOTTSVILLE     KY    42164‐6525
JAMES W ABERNATHY                               998 BELMONT AVE                                                                                MANSFIELD       OH    44906‐1612
JAMES W ADAMS                                   6700 EDGETON                                                                                   DETROIT         MI    48212‐1915
JAMES W ADAMS                                   2470 W WALTON BLVD                                                                             WATERFORD       MI    48329‐4434
JAMES W ALLEN                                   105 DEMENT ST                                                                                  ATHENS          GA    30605‐4341
JAMES W ALLEN                                   105 DEMENT ST                                                                                  ATHENS          GA    30605
JAMES W ANDERSON                                803 CHIPPEWA DR                                                                                DEFIANCE        OH    43512‐3375
JAMES W ANDERSON                                11949 N HICKORY GROVE RD                                                                       DUNLAP          IL    61525
JAMES W ANDERSON & LOIS J ANDERSON JT TEN       5000 DRAKE ST                                                                                  MIDLAND         MI    48640‐3236
JAMES W ANDERSON & WANDA A ANDERSON JT TEN      2669 HOUNDS CHASE                                                                              TROY            MI    48098‐2306

JAMES W ARNOLD                                  6206 N INNISBROOK DR                                                                           HIXSON          TN    37343‐3077
JAMES W ARTHUR                                  3023 QUARRY RD                                                                                 CUBA CITY       WI    53807‐9525
JAMES W ATKINSON                                6690 E HORNED OWL TR                                                                           SCOTTSDALE      AZ    85262‐8512
JAMES W AUSTIN JR & SHERYL B AUSTIN TEN COM     307 LAC VERRET DR                                                                              LULING          LA    70070‐7206
JAMES W BABINEAU                                606 RAINBOW CV                                                                                 WEST LAKE HLS   TX    78746‐5300
JAMES W BACKUS                                  239 RIVER EDGE DR                                                                              NEW CASTLE      DE    19720‐1203
JAMES W BAILEY                                  1403 YOULL ST                                                                                  NILES           OH    44446
JAMES W BAIRD                                   103 MAOLE AVE APT 6                                                                            GREENVILLE      PA    16125
JAMES W BAKER & CAROLYN P BAKER JT TEN          938 S DORAL LN                                                                                 VENICE          FL    34293‐3808
JAMES W BAKER & MRS PHYLLIS BAKER JT TEN        17 PROSPECT STREET                                                                             ROCKPORT        MA    01966‐2131
JAMES W BARD                                    75 MAPLE DR WEST                                                                               NEW HYDE PARK   NY    11040‐3154
JAMES W BARLOW                                  11075 CONTINENTAL AVE                                                                          WARREN          MI    48089‐1734
JAMES W BARNETT                                 6301 W COUNTY ROAD 00 NS                                                                       KOKOMO          IN    46901‐8808
JAMES W BARR JR                                 4 ALICE ST                                                                                     BINGHAMTON      NY    13901‐1402
JAMES W BARR JR & FLORA R BARR JT TEN           4 ALICE ST                                                                                     BINGHAMTON      NY    13901‐1402
JAMES W BARRETT                                 3275 ROGERS RD                                                                                 CANASTOTA       NY    13032‐4287
JAMES W BATTS                                   14199 88TH AVE                                                                                 SEMINOLE        FL    33776‐2030
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JAMES W BECKLEY                                  5271 WORCHESTER DR                                                                               SWARTZ CREEK    MI    48473‐1159
JAMES W BELL                                     79 ORCHARD VIEW                         OSHAWA ON                              L1G 3N8 CANADA
JAMES W BERG                                     40 OAK DR                                                                                        DOYLESTOWN      PA    18901
JAMES W BERGSTROM & NORETA S BERGSTROM JT TEN    1325N 1100E                                                                                      LA GRANGE       IN    46761‐9653

JAMES W BETTY                                    18503 ORLEANS                                                                                    DETROIT         MI    48203‐2149
JAMES W BIESEMEYER                               5939 GARCES AVE                                                                                  SAN JOSE        CA    95123‐3828
JAMES W BINGHAM                                  740 E 10TH N                                                                                     MOUNTAIN HOME   ID    83647‐2016

JAMES W BISSETT                                  8170 FOREST PARK DR                                                                              CLARE           MI    48617
JAMES W BLACK                                    2159 JOEY CANYON DR                                                                              NEWPORT         MI    48166‐9569
JAMES W BLACKSHEAR                               2000 S MAIN ST                                                                                   NEW PR          AR    72112‐9112
JAMES W BLAIR III                                136 RED OAK CT                                                                                   BULLARD         TX    75757‐9744
JAMES W BLOWE JR                                 4918 COURTHOUSE RD                                                                               PRINCE GEORGE   VA    23875‐3143
JAMES W BOARDMAN                                 625 E CONCORDA DR                                                                                TEMPE           AZ    85282‐2318
JAMES W BONNY                                    14329 S KARLOV                                                                                   MIDLOTHIAN      IL    60445‐2707
JAMES W BOOTH                                    215 S CALIFORNIA ST                                                                              SAN GABRIEL     CA    91776‐1817
JAMES W BOOTH & JENNIFER MAGEN ROSE BOOTH JT     35478 SNEAD STREET                                                                               BEAUMONT        CA    92223‐6215
TEN
JAMES W BOSTWICK                                 1520 OLD LANTERN TRL                                                                             FORT WAYNE      IN    46845‐1415
JAMES W BOWLING & DIANE L BOWLING JT TEN         11 WINDSOR RD                                                                                    WILMINGTON      DE    19809
JAMES W BOWLING & JUDITH L BOWLING TR UA         45600 W ANN ARBOR TRAIL                                                                          PLYMOUTH        MI    48170
4/29/08 JAMES W BOWLING &
JAMES W BRADFORD                                 19488 GARFIELD                                                                                   REDFORD         MI    48240‐1317
JAMES W BRAMMER                                  112 FERNWOOD DR                                                                                  CORAL GROVE     OH    45638‐3111
JAMES W BRAZELTON                                1696 ROODS LAKE RD                                                                               LAPEER          MI    48446‐8322
JAMES W BREMER                                   2250 W OHIO ST APT 202                                                                           CHICAGO         IL    60612‐1558
JAMES W BRINKERHOFF                              3376 AQUARIOUS CIR                                                                               OAKLAND         MI    48363‐2711
JAMES W BRINKLEY                                 2244 BROOKPARK DR                                                                                KETTERING       OH    45440‐2615
JAMES W BRITTON & JOANNE BRITTON JT TEN          10531 ASSEMBLY DR                                                                                FAIRFAX         VA    22030‐2701
JAMES W BROHN                                    402 N BRIDGE ST                                                                                  LINDEN          MI    48451‐9683
JAMES W BRONIECKI                                625 BALD EAGLE LAKE RD                                                                           ORTONVILLE      MI    48462‐9089
JAMES W BROOKS                                   PO BOX 335                                                                                       NORTH GREECE    NY    14515‐0335
JAMES W BROOKS                                   418 WILLOWBEND CT                                                                                HOCKESSIN       DE    19707
JAMES W BROOKS JR                                1819 DIXIE LANE RD                                                                               NEWARK          DE    19702‐1037
JAMES W BROWN                                    295 ESSEX DR                                                                                     TIPP CITY       OH    45371‐2237
JAMES W BROWN                                    560 EDGEWORTH DR SE                                                                              ADA             MI    49301
JAMES W BROWN                                    1032 ADRIAN ST                                                                                   JACKSON         MI    49203‐3204
JAMES W BRYANT & MELBA W BRYANT JT TEN           9606 HILL TRACE COURT                                                                            GLEN ALLEN      VA    23060‐3444
JAMES W BUDKE & CHRISTINE L BUDKE JT TEN         5351 SUGAR RDIGE RD                                                                              PEMBERVILLE     OH    43450
JAMES W BULEMORE                                 1057 LESTER                                                                                      YPSILANTI       MI    48198‐6435
JAMES W BYERS III & STEPHANIE A CHUIPEK JT TEN   515 WESTMINSTER AVE                                                                              SWARTHMORE      PA    19081‐2428

JAMES W BYERS III CUST MARIE CHIARA BYERS UGMA PA 515 WESTMINSTER AVE                                                                             SWARTHMORE      PA    19081‐2428

JAMES W CALL                                     205 SENECA ST                                                                                    DEFIANCE        OH    43512
JAMES W CALLIHAN                                 7215 PARKWOOD AVE                                                                                CONNEAUT        OH    44030‐3261
JAMES W CANNON                                   2707 WINONA ST                                                                                   FLINT           MI    48504‐2775
JAMES W CARLIN JR                                114 WELLSBORO CT                                                                                 KING            NC    27021‐8524
JAMES W CARLSON                                  526 S SUGARLAND RUN DRIVE                                                                        STERLING        VA    20164
JAMES W CARLSON                                  4352 REDBUSH DR SW                                                                               GRANDVILLE      MI    49418‐3013
JAMES W CARR                                     10010 S MORRICE RD                                                                               MORRICE         MI    48857‐9778
JAMES W CARTER                                   PO BOX 145                                                                                       POLO            MO    64671‐0145
JAMES W CARTER                                   3908 GREEN RD                                                                                    NEW HAVEN       IN    46774‐1929
JAMES W CASEY                                    521 N 12TH ST                                                                                    SAGINAW         MI    48601‐1606
JAMES W CAUDILL                                  27154 WYATT                                                                                      TRENTON         MI    48183‐4855
JAMES W CESARO                                   231 HOPKINS ROAD                                                                                 MICKLETON       NJ    08056‐1273
JAMES W CHAFFINCH                                955 PARKER ST                                                                                    MARATHON        NY    13803‐1928
JAMES W CHAMBERS                                 6057 SYLVIA                                                                                      TAYLOR          MI    48180‐1033
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Name                                            Address1                             Address2             Address3          Address4          City           State Zip

JAMES W CLARK                                   19200 ROSELAND                       APT 545 G                                                UCLID          OH    44107
JAMES W CLARK                                   PO BOX 408E                                                                                   MONTROSE       MI    48457‐0408
JAMES W CLAY                                    281 PIEDMONT DR SE                                                                            GRAND RAPIDS   MI    49548‐6894
JAMES W CLELAND & KATHRYN J CLELAND JT TEN      202 SOUTH FIRST ST                                                                            WAKEENEY       KS    67672
JAMES W COLE                                    130 SHEPPARD RD                      CR 333                                                   SWEETWATER     TN    37874‐6634
JAMES W COLEMAN                                 214 S W 20 TERR                                                                               OAK GROVE      MO    64075‐9248
JAMES W COLEMAN II                              3924 RAINTREE DR                                                                              TROY           MI    48083‐5398
JAMES W COLMER                                  35 PARAKEET HILL DR                                                                           LAKE ORION     MI    48359
JAMES W COLMER CUST JULIE L FERRELL UGMA MI     129 N MERRIMAC                                                                                PONTIAC        MI    48340‐2533

JAMES W COLYER                                   5285 AUGSPURGER RD                                                                           HAMILTON       OH    45011‐9584
JAMES W COOK & MARY COOK JT TEN                  25 TREEBROOK DR                                                                              CRYSTAL CITY   MO    63019‐1409
JAMES W COOPER                                   4926 STATE ROUTE 276                                                                         BATAVIA        OH    45103‐1210
JAMES W COOPER                                   2745 NORTH BALTIMORE AVENUE                                                                  INDIANAPOLIS   IN    46218‐2631
JAMES W COWARD                                   20423 CHIPPEWA TRAIL                                                                         BATTLE CREEK   MI    49014‐8123
JAMES W COX & NANCY A COX JT TEN                 7886 N RED HILL RD                                                                           ELLETTSVILLE   IN    47429‐9761
JAMES W CRAFT & FAYE G CRAFT TEN ENT             620 THUNDER RD                                                                               BREVARD        NC    28712‐9749
JAMES W CRAGUN                                   2300 MCKINNEY LAKE RD               APT 108                                                  GRAND RAPIDS   MN    55744‐4373
JAMES W CRAIG & JEAN C CRAIG TR J W & J C CRAIG  1157 17TH ST B                                                                               LOS OSOS       CA    93402‐1425
TRUST UA 01/01/88
JAMES W CRAIG JR                                 4764 BENTLEY RD                                                                              MONROE         GA    30656‐3301
JAMES W CRAWFORD                                 446 COUNTY HWY 67                                                                            HANCOCK        NY    13783‐9404
JAMES W CRICHTON                                 1915 S AVERILL                                                                               FLINT          MI    48503‐4403
JAMES W CROWLEY JR                               2024 CHADBOURNE AVE                                                                          MADISON        WI    53705‐4047
JAMES W CUNNINGHAM                               2270 HEATHERTON CIR                                                                          DACULA         GA    30019‐6633
JAMES W CUSACK                                   908 N GEORGE STREET                                                                          ROME           NY    13440‐3412
JAMES W DAGINO & RUTH L DAGINO DAGINO LIVING     PO BOX 636                                                                                   PENNEY FARMS   FL    32079‐0636
TRUST UA 05/12/00
JAMES W DANDALIDES                               15900 TRUMBULL DRIVE                                                                         MACOMB         MI    48044‐5021
JAMES W DAUM & KATHLEEN M DAUM JT TEN            527 N BROADWAY ST                                                                            MEDINA         OH    44256‐1721
JAMES W DAUMKE                                   2448 E LAVENDER LN                                                                           PHOENIX        AZ    85048‐9000
JAMES W DAVIS                                    420 N ABBE ROAD                                                                              ELYRIA         OH    44035‐3717
JAMES W DAVIS                                    219 COMPROMISE RD                                                                            SALEM          NJ    08079‐4018
JAMES W DAVIS                                    1075 LOWELL SCOTT RD                                                                         BOWIE          TX    76230‐7406
JAMES W DAVIS & HELEN V DAVIS JT TEN             1075 LOWELL SCOTT RD                                                                         BOWIE          TX    76230‐7406
JAMES W DAVIS JR                                 4705 PEBBLE BEACH DRIVE                                                                      GROVE CITY     OH    43123‐8120
JAMES W DAY                                      7575 N LINDEN LANE                                                                           PARMA          OH    44130‐5809
JAMES W DE RAMUS                                 PO BOX 106                                                                                   HILLISTER      TX    77624‐0106
JAMES W DENNISON                                 PO BOX 382                                                                                   COLUMBIA       TN    38402‐0382
JAMES W DODGE                                    916 BELVILLE BLVD                                                                            NAPLES         FL    34104‐7883
JAMES W DOW                                      5523 REDWOOD AVE                                                                             PORTAGE        IN    46368‐4302
JAMES W DOWELL & LAURA M DOWELL TR J & L         1007 FAIR AVE                                                                                PANA           IL    62557‐1720
DOWELL TRUST UA 12/20/99
JAMES W DRUMMOND                                 48418 CARMINE CT                                                                             CHESTERFIELD   MI    48051‐2900
JAMES W DUDLEY                                   463 TRUESDALE RD                                                                             CAMDEN         SC    29020‐8926
JAMES W DUFF                                     78625 DESCANSO LANE                                                                          LA QUINTA      CA    92253
JAMES W DUFFY                                    212 LIDO TRAIL                                                                               BARTLETT       IL    60103‐8600
JAMES W DUFFY                                    711‐30TH AVE SW                                                                              PUYALLUP       WA    98373‐2757
JAMES W DUGAN TR UA 08/13/90 THE DUGAN III TRUST 1 CIRCLE DR                                                                                  BUTLER         MO    64730

JAMES W DURBIN                                  3525 OAKMONT AVE                                                                              DAYTON         OH    45429‐4430
JAMES W EDWARDS                                 1009 MERRYWOOD DR                                                                             ENGLEWOOD      OH    45322‐2446
JAMES W ENZOR & LILLIAN ENZOR JT TEN            16801 CHARLESTON CIRCLE                                                                       LOCKPORT       IL    60441‐3297
JAMES W ERWAY                                   2958 LAUREL PARK DR                                                                           SAGINAW        MI    48603‐2696
JAMES W ESTEP                                   14991 STATE ROUTE 725                                                                         GERMANTOWN     OH    45327‐9561
JAMES W EVANS                                   243 HERMAN CIRCLE NW                                                                          ATLANTA        GA    30311‐2001
JAMES W EVANS & LAURA M EVANS JT TEN            243 HERMAN CIR NW                                                                             ATLANTA        GA    30311‐2001
JAMES W FERRARO JR                              6681 STATE ROUTE 229                                                                          MARENGO        OH    43334‐9738
JAMES W FINN & SALLY J FINN JT TEN              1172 SHADY OAKS DR                                                                            ANN ARBOR      MI    48103‐1461
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Name                                              Address1                              Address2                Address3       Address4          City             State Zip

JAMES W FLESHER & ILGA B FLESHER JT TEN           724 PROVIDENCE RD                                                                              LEXINGTON        KY    40502‐2267
JAMES W FLETCHER                                  444 S 4TH                                                                                      MITCHELL         IN    47446‐1965
JAMES W FONDENBERGER                              634 HOLIDAY DRIVE                                                                              GREENTOWN        IN    46936‐1637
JAMES W FONVILLE                                  1913 TOWER HILL ROAD                                                                           KINSTON          NC    28501‐8253
JAMES W FOOTE                                     1102 HILLCREST                                                                                 WHITE LAKE       MI    48386‐4128
JAMES W FORRESTER III CUST EMMA CLARE FORRESTER   290 LONG ROAD                                                                                  BAINBRIDGE       GA    39817‐8038
UTMA GA
JAMES W FORSYTH SR                                2494 BEECH STSTREET                                                                            GIRARD           OH    44420
JAMES W FOSTER CUST BARBARA ANN FOSTER UGMA       1880 HIGHWAY 25 W                                                                              HARTSVILLE       TN    37074‐3639
TN
JAMES W FOUST & JANE C FOUST TEN ENT              293 KING STREET                                                                                TURBOTVILLE      PA    17772
JAMES W FRIZZELL & SANDRA FRIZZELL JT TEN         6512 LAKE FOREST DR                                                                            AVON             IN    46123‐7405
JAMES W FRYER                                     530 S CRESTLINE                       BLOOMINGGROVE RD                                         GALION           OH    44833‐9579
JAMES W FUHRMEISTER                               5561 AFTON DRIVE                                                                               BIRMINGHAM       AL    35242‐4206
JAMES W GABLE                                     10007 OLD 3 C                                                                                  CLARKSVILLE      OH    45113‐8694
JAMES W GAMBLE                                    63 ARNOLD ST 3RD                                                                               HARTFORD         CT    06106‐3504
JAMES W GARBRECHT                                 3611 WEST ROLLINGWOOD DR                                                                       JANESVILLE       WI    53545‐8999
JAMES W GARLOCK                                   661 W GLENWOOD DRIVE                                                                           FULLERTON        CA    92832‐1019
JAMES W GARRISON                                  16568 E 2750 N RD                                                                              DANVILLE         IL    61834‐6039
JAMES W GEARHART                                  13147 COON HOLLOW RD                                                                           THREE RIVERS     MI    49093‐9559
JAMES W GERARD & CATHERINE GERARD JT TEN          20 RENEE DRIVE                                                                                 OAKDALE          NY    11769‐1625
JAMES W GIBSON                                    215 MILLER LN                                                                                  LAWRENCEBURG     TN    38464‐6397
JAMES W GIBSON & CAROL L GIBSON JT TEN            5681 DEER PINES DRIVE                                                                          CLINTON          OH    44216
JAMES W GILLUM                                    4090 CO HWY 88                                                                                 GLEN ULLIN       ND    58631
JAMES W GLATTHAAR                                 9 BRANDYWINE DR                                                                                WHITE PLAINS     NY    10605‐5433
JAMES W GONSLER                                   5747 NORTHFIELD PKWY                                                                           TROY             MI    48098‐5125
JAMES W GOODHART SR                               6706 HAYNES SOUTH RD                                                                           KINSMAN          OH    44428
JAMES W GOODWIN & MARY LOU GOODWIN JT TEN         4922 W ARLINGTON PK BLVD                                                                       FORT WAYNE       IN    46835‐4314

JAMES W GORDON                                    14475 COLLINGHAM DR                                                                            DETROIT          MI    48205‐1218
JAMES W GRANGER                                   3720 CRYSTAL SPRINGS RD                                                                        JANESVILLE       WI    53545‐9683
JAMES W GREEN                                     5781 US HIGHWAY 181 N                                                                          FLORESVILLE      TX    78114
JAMES W GREENLEAF                                 321 VOLZ ST                                                                                    VASSAR           MI    48768‐9240
JAMES W GREER                                     12703 KINGSGATE WAY                                                                            GRAND LEDGE      MI    48837‐8945
JAMES W GREESON                                   3793 CARTER RD                                                                                 BUFORD           GA    30518‐1605
JAMES W GRESENS                                   DUKE HOLZMAN                          1800 MAIN PLACE TOWER   350 MAIN ST                      BUFFALO          NY    14202‐3718
JAMES W GRIFFITHS                                 303 BROOKE AVE # 102                                                                           NORFOLK          VA    23510‐1321
JAMES W GUNN TR ROBERTA M GUNN REVOCABLE          8125 BAINBRIDGE RD                                                                             ALEXANDRIA       VA    22308‐1424
LIVING TRUST UA 07/26/01
JAMES W HACKWORTH                                 301 COLLEGE ST                                                                                 KENNETT          MO    63857‐2010
JAMES W HAGER                                     5731 N 100 E                                                                                   ALEXANDRIA       IN    46001‐8795
JAMES W HAMMEL                                    509 WELLINGTON                                                                                 CHELSEA          MI    48118‐1337
JAMES W HAMMOND                                   1540 HIGHLAND PARK DR SW                                                                       AIKEN            SC    29801‐3348
JAMES W HANDY                                     23730 EAST OTERO DRIVE                                                                         AURORA           CO    80016
JAMES W HANNON                                    125 WILLIAMS DURFEE DRIVE                                                                      EATON RAPIDS     MI    48827‐9593
JAMES W HANOVER                                   181 E 17TH ST                                                                                  HOLLAND          MI    49423‐4215
JAMES W HARDIN                                    9609 W 250 S                                                                                   MANILLA          IN    46150‐9729
JAMES W HARDY                                     29310 POINTE O WOODS PL               APT 102                                                  SOUTHFIELD       MI    48034
JAMES W HARDY JR                                  PO BOX 1344                                                                                    MONT BELVIEW     TX    77580‐1344
JAMES W HARLAN                                    PO BOX 133                                                                                     BETHEL SPRINGS   TN    38315‐0133
JAMES W HARMON                                    4293 W KINNEVILLE                                                                              LESLIE           MI    49251‐9708
JAMES W HARRIS                                    352 RIVER RD                                                                                   VANCEBURG        KY    41179‐7914
JAMES W HARRIS                                    5112 CHURCH DRIVE                                                                              CHARLESTON       WV    25306‐6216
JAMES W HARRIS                                    PO BOX 578                                                                                     CENTRAL LAKE     MI    49622‐0578
JAMES W HARRIS                                    PO BOX 859                                                                                     KEYPORT          NJ    07735‐0859
JAMES W HARRIS & MARIE L HARRIS JT TEN            1825 PISGAH DR                        # 216                                                    HENDERSONVLLE    NC    28791‐3760
JAMES W HARRIS & WANDA F HARRIS JT TEN            7836 N GRAY RD                                                                                 MOORESVILLE      IN    46158‐6600
JAMES W HARRISON                                  3574 E GRAND RIVER                                                                             WILLIAMSTON      MI    48895‐9507
JAMES W HART                                      4801 BELLINGHAM DR                                                                             INDIANAPOLIS     IN    46221
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JAMES W HARTLEY                                 7960 BUSCH RD                                                                                  BIRCH RUN          MI    48415‐8515
JAMES W HARTMAN JR                              152 CENTER ST WEST                                                                             WARREN             OH    44481‐9313
JAMES W HARVEY JR                               ROUTE 1                               BOX 108                                                  RAPHINE            VA    24472‐9609
JAMES W HATCHER & KATIE M HATCHER JT TEN        3882 17TH ST                                                                                   ECORSE             MI    48229‐1342
JAMES W HAWKINS                                 PO BOX 321                                                                                     BEDFORD            IN    47421
JAMES W HAYNES                                  120 WILLOW LAKE DR                                                                             OXFORD             MI    48371‐6376
JAMES W HAYS                                    338 LONDON ST                                                                                  SAN FRANCISCO      CA    94112‐2726
JAMES W HAZELWOOD                               110 JEFFERSON VALLEY                                                                           COATESVILLE        IN    46121‐8936
JAMES W HEILENBACH                              231 LAWTON ROAD                                                                                RIVERSIDE          IL    60546‐2336
JAMES W HENDRICK                                1477 BUTTERFIELD CIR                                                                           NILES              OH    44446‐3577
JAMES W HENSON                                  1550 BURNISON ROAD                                                                             MANSFIELD          OH    44903‐8939
JAMES W HERMANSON CUST JEFFREY M HERMANSON      1959 BATES                                                                                     BIRMINGHAM         MI    48009‐1977
UGMA MI
JAMES W HERSMAN                                 PO BOX 374                                                                                     JAMESTOWN          PA    16134‐0374
JAMES W HILL                                    187 DOGWOODHILL CLUB RD                                                                        GILBERTSVILLE      KY    42044‐9240
JAMES W HILL SR & JADINE H TUCKER JT TEN        7755 YARDLEY DR 411D                                                                           TAMARAC            FL    33321‐0843
JAMES W HINEY                                   4358 HIGH RIDGE ROAD                                                                           HAYMARKET          VA    20169‐2437
JAMES W HINEY & MARTHA S HINEY JT TEN           4358 HIGH RIDGE RD                                                                             HAYMARKET          VA    20169‐2437
JAMES W HODGES                                  2437 EAST 40TH STREET                                                                          INDIANAPOLIS       IN    46205‐2905
JAMES W HOGG                                    902 MANSFIELD DR                                                                               WAUKEE             IA    50263‐9721
JAMES W HOLADAY                                 416 W JACKSON                                                                                  SULLIVAN           IL    61951‐1358
JAMES W HOLLEY & NORMA J HOLLEY & PAMELA JEAN   1922 OXFORD RD                                                                                 GROSSE PTE WDS     MI    48236‐1846
THOMPSON JT TEN
JAMES W HOLLOWAY                                2896 BETHANY CHURCH RD                                                                         SNELLVILLE         GA    30039
JAMES W HOLZHAUER                               1126 E 3RD SOUTH                                                                               MESA               AZ    85203
JAMES W HOLZSCHUH                               4404 CANAL RD                                                                                  SPENCERPORT        NY    14559‐9516
JAMES W HOMEYER                                 2150 RANDOLPH ST                      # 3‐816J                                                 SAINT CHARLES      MO    63301‐0844
JAMES W HOWELL & MARY K HOWELL JT TEN           ROUTE 2 405 ROUND TOP RD                                                                       LANSING            MI    48917‐9681
JAMES W HUBERTS                                 6964 MAPLE AVE                                                                                 JENISON            MI    49428‐8111
JAMES W HUDDLESTON                              1225 ELDORADO DR                                                                               FLINT              MI    48504‐3215
JAMES W HUDSON                                  23912 E 88TH ST                                                                                LEES SUMMIT        MO    64064‐2711
JAMES W HUDSON                                  2893 MOSS HOLLOW DR                                                                            SAN JOSE           CA    95121‐1541
JAMES W HULEN & MELKA HULEN JT TEN              762 BRIDGESTONE DR                                                                             ROCHESTER HILLS    MI    48309‐1616
JAMES W HUNDLEY                                 6514 SALINE DR                                                                                 WATERFORD          MI    48329‐1249
JAMES W HUTTON                                  645 FOX RIVER DRIVE                                                                            BLOOMFIELD HILLS   MI    48304‐1013

JAMES W JACKS JR                                104 RITA COVE                                                                                  COLUMBIA           TN    38401‐5579
JAMES W JACKSON                                 27361 SIERRA HWY                      SPC 194                                                  CANYON COUNTRY     CA    91351‐7404

JAMES W JACKSON                                 PO BOX 553                                                                                     TIMMONSVILLE       SC    29161‐0553
JAMES W JARUZEL                                 3403 ARBELA RD                                                                                 MILLINGTON         MI    48746‐9305
JAMES W JARVIS & JEANETTE JARVIS JT TEN         2178 B OAKRIDGE DR                                                                             CHARLESTON         WV    25311‐1417
JAMES W JEFFERY                                 26698 SHINDLER RD                                                                              DEFIANCE           OH    43512‐8872
JAMES W JENKINS JR                              7 LAKEVIEW LANE                                                                                WEAVERVILLE        NC    28787‐9483
JAMES W JETER                                   201 LILLIAN LN                                                                                 LYNCHBURG          VA    24502‐4379
JAMES W JOHNSON                                 15011 CORAM                                                                                    DETROIT            MI    48205‐1966
JAMES W JOHNSON                                 13583 W EATOW HYW                                                                              GRAND LEDGE        MI    48837‐2449
JAMES W JOHNSON                                 2119 ROCK SPRING RD                                                                            COLUMBIA           TN    38401‐7425
JAMES W JOHNSON & SHAWN T JOHNSON JT TEN        2119 ROCK SPRINGS ROCK                                                                         COLUMBIA           TN    38401‐2155
JAMES W JOHNSON JR                              3692 NEELEY HOLLOW RD                                                                          COLUMBIA           TN    38401‐8432
JAMES W JONES                                   3575 CENTRAL AVE                                                                               INDIANAPOLIS       IN    46205‐3762
JAMES W JUSTICE                                 4364 ROUTE 45                         PO BOX 5103                                              ROME               OH    44085‐0303
JAMES W KACZMAR                                 42672 E HURON RIVER DR                                                                         BELLEVILLE         MI    48111‐2881
JAMES W KARALUS                                 20 FAIROAKS LANE                                                                               CHEEKTOWAGA        NY    14227‐1325
JAMES W KEELING                                 1730 RAINBOW DRIVE                                                                             GADSDEN            AL    35901‐5502
JAMES W KELLY                                   3071 HAZY PARK DR                                                                              HOUSTON            TX    77082‐3501
JAMES W KELLY                                   5418 N GALE RD                                                                                 DAVISON            MI    48423‐8913
JAMES W KEMP                                    13505 IRENE                                                                                    SOUTHGATE          MI    48195‐1855
JAMES W KENNEDY                                 3526 APPLE VALLEY RD                                                                           OKEMOS             MI    48864‐3933
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Name                                               Address1                              Address2             Address3          Address4          City            State Zip

JAMES W KEY                                        2435 S CONSERVATION CLUB RD                                                                    MORGANTOWN      IN    46160‐9371
JAMES W KIDD                                       11450 EASTRIDGE CIR                                                                            CHARDON         OH    44024‐9351
JAMES W KING                                       2305 WETTER RD                                                                                 KAWKAWLIN       MI    48631‐9411
JAMES W KIRKPATRICK                                PO BOX 615                                                                                     SANBORN         NY    14132‐0615
JAMES W KITCHEN                                    1453 BRAEMAR RD                                                                                TRAVERSE CITY   MI    49686‐8456
JAMES W KOHLER                                     1016 KENSINGTON LAKE DR                                                                        EASLEY          SC    29642‐9365
JAMES W KOLBE                                      PO BOX 18891                                                                                   SUGAR LAND      TX    77496‐8891
JAMES W KOLP & RITA M KOLP JT TEN                  12281 MOCERI DR                                                                                GRAND BLANC     MI    48439‐1925
JAMES W KRINER                                     16 LAWRENCE CT                                                                                 APPLETON        WI    54911‐5848
JAMES W KUHLMAN TR JAMES W KUHLMAN TRUST UA        722 NORTH HAMPSHIRE AVE                                                                        MASON CITY      IA    50401‐2440
7/20/99
JAMES W LANTERMAN                                  120 S OAK DR                                                                                   LAKE CITY       MI    49651‐8035
JAMES W LARIMER                                    1708 GORDON ST                                                                                 LANSING         MI    48910‐2609
JAMES W LASLEY JR                                  9069 WHIMBREL WATCH LANE              101                                                      NAPLES          FL    34109‐4346
JAMES W LAWRENCE                                   5814 SOMERS DR                                                                                 INDIANAPOLIS    IN    46237‐2363
JAMES W LAZENBY                                    5200 EASTVIEW                                                                                  CLARKSTON       MI    48346‐4102
JAMES W LEE                                        457 JARVIS ST                         OSHAWA ON                              L1G 5L4 CANADA
JAMES W LEE CUST JASON M LEE UTMA OH               775 AUTUMN BRANCH ROAD                                                                         WESTERVILLE     OH    43081‐3103
JAMES W LEE CUST JENNIFER M LEE UTMA OH            776 AUTUMN BRANCH RD                                                                           WESTERVILLE     OH    43081‐3104
JAMES W LEWIS TR FAMILY TRUST 11/18/91 U‐A JAMES   10082 DOMINGO DRIVE                                                                            BROOKSVILLE     FL    34601‐5250
W LEWIS
JAMES W LOCKER JR                                  600 EARL TOWNSEND RD                                                                           MINOR HILL      TN    38473‐5108
JAMES W LOCKWOOD                                   PO BOX 553                                                                                     AMHERST         NH    03031‐0553
JAMES W LOCRAFT 2ND                                1033 RIVA RIDGE DR                                                                             GREAT FALLS     VA    22066‐1615
JAMES W LOGSDON                                    5036 HOWE                                                                                      WAYNE           MI    48184‐2417
JAMES W LONG                                       1520 BOLLINGER ROAD                                                                            WESTMINSTER     MD    21157‐7213
JAMES W LONG                                       6359 COUNTY ROAD 491                                                                           LEWISTON        MI    49756‐9172
JAMES W LOOMIS                                     6759 PONDEROSA                                                                                 HALE            MI    48739‐9076
JAMES W LOWE                                       48675 KINGS HWY                                                                                BEALLSVILLE     OH    43716‐9348
JAMES W LOYD                                       2715 SE 1ST CT                                                                                 POMPANO BEACH   FL    33062‐5419
JAMES W LYNCH                                      10015 OAKHURST WA                                                                              FORT MYERS      FL    33913‐7091
JAMES W MAC MEEKIN & THAYER A MAC MEEKIN JT        W12383 E RIVER RD                                                                              NAUBINWAY       MI    49762
TEN
JAMES W MACHOLL                                    2228 GARFIELD BLVD                                                                             LORAIN          OH    44052‐2334
JAMES W MACON JR                                   7072 CORBITT                                                                                   ST LOUIS        MO    63130‐2447
JAMES W MACQUEENE                                  2402 ROCK CREEK DR                                                                             FORT COLLINS    CO    80528‐8569
JAMES W MADOLE                                     1231 W 12TH STREET                                                                             OWENSBORO       KY    42301‐2855
JAMES W MALHEREK                                   C/O DIANE HEPLER                      2912 SUNSET                                              GRANITE CITY    IL    62040‐5836
JAMES W MANNING                                    1113 COUNTY STREET 2972                                                                        BLANCHARD       OK    73010‐2886
JAMES W MANOS                                      1641 HORLACHER AVE                                                                             KETTERING       OH    45420‐3234
JAMES W MARLING                                    17770 SE 86TH OAK LEAF TER                                                                     THE VILLAGES    FL    32162‐4833
JAMES W MARSHALL                                   3552 WASHINGTON BLVD                                                                           CLEVELAND       OH    44118‐2611
JAMES W MARTIN                                     302 8TH AVE NW                                                                                 DECATUR         AL    35601‐2058
JAMES W MARTIN                                     1353 WINDSOR ST                                                                                TAVARES         FL    32778‐2510
JAMES W MATHIS                                     273 HUGHES                                                                                     PONTIAC         MI    48341‐2449
JAMES W MATZKE                                     4456 LAKE RD                                                                                   CLIO            MI    48420
JAMES W MC CRAE                                    1176 LOWER FERRY RD                                                                            TRENTON         NJ    08618‐1832
JAMES W MC DONALD                                  6243 N LONDON AVE APT L                                                                        KANSAS CITY     MO    64151‐4798
JAMES W MC NABB                                    3910 LAIRD LANE                                                                                CHATTANOOGA     TN    37415‐3620
JAMES W MCCAULEY                                   803 VANNAH AVE                                                                                 LOUISVILLE      KY    40223‐2746
JAMES W MCCOY                                      27 MADISON ST                                                                                  MT STERLING     OH    43143
JAMES W MCIVER JR                                  8452 GROVE RD                                                                                  LOCKPORT        NY    14094‐9342
JAMES W MCLERNON TR JAMES W MCLERNON               3510 SE CAMBRIDGE DR                                                                           STUART          FL    34997‐5616
REVOCABLE TRUSTUA 10/1/92
JAMES W MCVAY                                      62 DOS RIOS PL                                                                                 SAN RAMON       CA    94583‐1720
JAMES W MEDLEY                                     1635 SAINT JULIAN STREET                                                                       SUWANEE         GA    30024‐2899
JAMES W MERZ CUST MEGAN A MERZ UTMA ID             4224 RIVER BLUFF DR                                                                            FORT WAYNE      IN    46835‐1437
JAMES W MIDDLETON & M ANN MIDDLETON JT TEN         2916 KINGSTON DR                                                                               BARTLESVILLE    OK    74006‐5822
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JAMES W MILLEGAN & DEBRA B MILLEGAN JT TEN     PO BOX 596                                                                                      LAKE OSWEGO       OR    97034
JAMES W MILLER                                 BOX 291                                                                                         GENESEE           MI    48437‐0291
JAMES W MILLER & TINA M MILLER JT TEN          8640 WILDLANE DR                                                                                SOUTH             OH    45368‐9709
                                                                                                                                               CHARLESTON
JAMES W MILNES                                 202 ALTA VISTA DR                                                                               S SAN FRAN        CA    94080‐5701
JAMES W MOFFAT                                 5874 BUELL RD                                                                                   VASSAR            MI    48768‐9675
JAMES W MONROE                                 7093 N SHERIDAN AVE                                                                             FLUSHING          MI    48433‐9102
JAMES W MONTGOMERY                             2123 OXFORD AVE                                                                                 CINCINNATI        OH    45230‐1606
JAMES W MOORE                                  3409 INDIAN SPRING RD                                                                           CHARLOTTESVILLE   VA    22901‐1021

JAMES W MOORE                                  795 GREENWOOD LN                                                                                CINCINNATI        OH    45245‐2109
JAMES W MOORHEAD                               606 NORTH WASHINGTON STREET                                                                     LOWELL            MI    49331‐1154
JAMES W MORRIS JR                              700 N BENTSEN PALM DR #77                                                                       MISSION           TX    78572‐9454
JAMES W MORRISSEY                              11506 WATER POPPY TER                                                                           BRADENTON         FL    34202‐5122
JAMES W MOSIER                                 13129 TURNER RD                                                                                 DEWITT            MI    48820‐9021
JAMES W MOYE                                   2245 E BANTA ROAD                                                                               INDIANAPOLIS      IN    46227‐4902
JAMES W MOYE & MARGARET M MOYE JT TEN          2245 E BANTA ROAD                                                                               INDIANAPOLIS      IN    46227‐4902
JAMES W MROCZEK                                2053 CLARA MATHIS                                                                               SPRING HILL       TN    37174‐2589
JAMES W MUDGE                                  1001 24 MILE RD UNIT # 106                                                                      HOMER             MI    49245‐9681
JAMES W MURPHY & KATHLEEN M MURPHY JT TEN      234 ORCHARD ST                                                                                  MILLIS            MA    02054‐1045

JAMES W MURRIEL                               8249 NORMILE                                                                                     DETROIT           MI    48204‐3141
JAMES W MYERS                                 9026 W GIBBS LAKE RD                                                                             EDGERTON          WI    53534‐8840
JAMES W NAPPER & PAULINE M NAPPER TR U‐A WITH 4115 OAK KNOLL                                                                                   SPRINGFIELD       MO    65809‐2229
JAMES W NAPPER 07/15/80
JAMES W NAYLOR                                9179 WINTERGREEN DR                                                                              CINCINATTI        OH    45069‐3658
JAMES W NAYLOR & EHRMA G NAYLOR JT TEN        9179 WINTERGREEN DRIVE                                                                           WEST CHESTER      OH    45069‐3658
JAMES W NEAL                                  203 PULASKI ST                                                                                   BEREA             OH    44017‐1839
JAMES W NELSON                                125 N CHESTNUT                                                                                   LINDSBORG         KS    67456‐2109
JAMES W NELSON                                12612 WEST OAK DR                                                                                MOUNT AIRY        MD    21771‐4943
JAMES W NETTLETON CUST DAVID W NETTLETON UGMA 56 OLD RIVERVIEW ROAD                   PO BOX 132                                               MCELHATTAN        PA    17748‐0132
PA
JAMES W NEWMAN & MIRIAM H NEWMAN JT TEN       4105 OAKRIDGE DR                                                                                 JACKSON           MS    39216‐3416
JAMES W NICHOLSON                             18911 ROSELAWN                                                                                   DETROIT           MI    48221‐2119
JAMES W NIHLS & KATHRYN M NIHLS JT TEN        8901 SWAN POINT DRIVE                                                                            CHEBOYGAN         MI    49721‐7802
JAMES W NOKES & JAMES B NOKES JT TEN          12084 NOKES HWY BOX 08                                                                           MILLERSBURG       MI    49759‐9682
JAMES W NOKES & LINDA F NOKES JT TEN          12084 NOKES HWY BOX 08                                                                           MILLERSBURG       MI    49759‐9682
JAMES W NOKES & ROSEMARY E NOKES JT TEN       12084 NOKES HWY BOX 08                                                                           MILLERSBURG       MI    49759‐9682
JAMES W NORRIS                                3401 AUSTIN AVENUE                                                                               GREENVILLE        TX    75402‐6503
JAMES W NORRIS & MARY‐JEAN WARFIELD NORRIS JT 502 WOODSTON RD                                                                                  ROCKVILLE         MD    20850‐1445
TEN
JAMES W NORWOOD & JIMMIE C NORWOOD JT TEN     3020 SCHERER DRIVE                                                                               RICHMOND          VA    23235‐2402

JAMES W OGLE                                   8138 DUESLER ST                                                                                 DOWNEY            CA    90242‐2462
JAMES W OLTHOFF                                5117 COVENTRY PKWY                                                                              FORT WAYNE        IN    46804‐7119
JAMES W OVERTON                                363 GATES AVE                                                                                   BROOKLYN          NY    11216‐1308
JAMES W OWEN                                   47514 WINTHROP                                                                                  UTICA             MI    48317‐2968
JAMES W PALMER JR                              2 AFTON RD                                                                                      JACKSON           NJ    08527‐3131
JAMES W PARKER JR                              3897 15TH                                                                                       ECORSE            MI    48229‐1333
JAMES W PARKHURST                              137 APOLLO AVENUE                                                                               FLUSHING          MI    48433‐9294
JAMES W PARRISH                                91 FARRINGTON PT                                                                                AIKEN             SC    29803‐5656
JAMES W PARROTT                                GM OF CANADA                           1908 COLONEL SAM DR   OSHAWA ON        L1H 8P7 CANADA
JAMES W PARTON                                 128 CASCADE SPRING RD                                                                           HOHENWALD      TN       38462‐2016
JAMES W PAULEY                                 11 LADONNA PL SW                                                                                ROME           GA       30165‐3458
JAMES W PAUSTIAN                               32593 PINE RIDGE DRIVE                                                                          WARREN         MI       48093‐1060
JAMES W PECK & LAURIE K PECK JT TEN            104 VEDA ST                                                                                     MARQUETTE      MI       49855‐8925
JAMES W PENIX                                  5415 CARLETON/ROCKWOOD ROAD                                                                     SOUTH ROCKWOOD MI       48179‐9761
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JAMES W PENIX & TILDA P PENIX JT TEN                 5415 CARLETON/ROCKWOOD ROAD                                                                     SOUTH ROCKWOOD MI       48179‐9761

JAMES W PERRINE                                      4240 BENNETT DRIVE                                                                              HAMILTON          OH    45011‐9209
JAMES W PETERSON                                     1311 COVE CT                                                                                    OKEMOS            MI    48864‐3405
JAMES W PHELPS                                       115 TIMBER TRL                                                                                  BROOKLYN          MI    49230‐9380
JAMES W PHILBERT II                                  312 WEST 29TH ST                                                                                ANDERSON          IN    46016‐5902
JAMES W PHILLIPS                                     2400 SHIPMAN RD                                                                                 OXFORD            MI    48371‐2933
JAMES W PICKETT                                      632 BENSON                                                                                      PONTIAC           MI    48342‐2504
JAMES W PIENIOZEK & CHESTER T PIENIOZEK &            10749 CHICKAGAMI TRAIL                                                                          BRUTUS            MI    49716‐9502
ELEANOR J PIENIOZEK JT TEN
JAMES W PIERCE                                       PO BOX 391                                                                                      ADRIAN            MO    64720
JAMES W PIERCE JR                                    8749 MOONLIGHT LANE                                                                             CINCINNATI        OH    45231‐4173
JAMES W PIERSON                                      2536 GROVE ST                                                                                   IRVING            TX    75060‐4931
JAMES W PINCKNEY                                     209 S 6TH ST                                                                                    NEWARK            NJ    07103‐2448
JAMES W PIPES                                        501 E STURGIS ST                                                                                SAINT JOHNS       MI    48879‐2045
JAMES W POSPISIL                                     24 FLIKE RD                                                                                     STILLWATER        NY    12170‐1231
JAMES W PRESBY                                       465 HEIDI LANE RR‐10                                                                            MANSFIELD         OH    44903‐9018
JAMES W PRICHARD                                     3655 ST R 222                                                                                   BATAVIA           OH    45103
JAMES W PRIDAY                                       1260 MADISON 501                                                                                FREDERICKTOWN     MO    63645‐8027
JAMES W PROCTOR                                      2201 CHATEAU                                                                                    FLINT             MI    48504‐1623
JAMES W PUCKETT                                      2302 CHATEAU DR                                                                                 LAWRENCEVILLE     GA    30043‐2894
JAMES W RADABAUGH                                    7050 STARLANE                                                                                   NEWPORT           MI    48166‐9758
JAMES W RAGLE & MRS KATHLEEN A RAGLE JT TEN          2839 SUGAR TREE RD                                                                              BETHEL            OH    45106

JAMES W RAINEY                                       334 KENNEDY‐SELLS RD                                                                            AUBURN           GA     30011‐3424
JAMES W RALPH & DOLORES F RALPH JT TEN               24280 NORTH SHORE DR                                                                            EDWARDSBURG      MI     49112‐9508
JAMES W RANDALL                                      45699 WHITE PINES DR                                                                            NOVI             MI     48374‐3746
JAMES W RANDALL TR JAMES W RANDALL REVOCABLE         1240 WINDEMAKER LN                                                                              COLORADO SPRINGS CO     80907‐4058
TRUST EST 2/23/90
JAMES W RANDALL TR UA 02/23/90 JAMES W RANDALL       6717 ARBOGA WA                                                                                  SACRAMENTO        CA    95831‐2808
REVOCABLE TRUST
JAMES W RAPP                                         7860 E BENSON HWY                      UNIT 44                                                  TUCSON            AZ    85706‐8875
JAMES W REBMAN                                       PO BOX 679                                                                                      PENNS GROVE       NJ    08069‐0679
JAMES W REED JR                                      140 IVANHOE N E                                                                                 WARREN            OH    44483‐3411
JAMES W REEDER                                       4401 MINERS CREEK RD                                                                            LITHONIA          GA    30038‐3821
JAMES W REESER & MARIE K REESER JT TEN               265 OLEY LINE RD                                                                                DOUGLASSVILLE     PA    19518
JAMES W REEVES                                       3093 HATFIELD COURT                                                                             COLUMBUS          OH    43232‐5846
JAMES W REYNOLDS                                     1492 WOODSCLIFF DRIVE                                                                           ANDERSON          IN    46012‐9725
JAMES W REYNOLDS CUST JAMES W REYNOLDS JR            13307 ST MARY'S LANE                                                                            HOUSTON           TX    77079‐3412
UGMA TX
JAMES W RHOTON                                       2465 CHIPMAN RDG RD                                                                             WILLIAMSTOWN      KY    41097‐3221
JAMES W RICHARDSON                                   435 MEADOW CIR                                                                                  GREENWOOD         IN    46142‐1228
JAMES W RICHARDSON & MARY H RICHARDSON JT TEN        PO BOX 88183                                                                                    DUNWOODY          GA    30356‐8183

JAMES W RICHARS TR JAMES W RICHARDS 1995 LIVING      114 OAKTREE LANE SE                                                                             WARREN            OH    44484‐5612
TRUST UA 08/08/95
JAMES W RIFE                                         882 RUMA RD                                                                                     COL               OH    43207‐4210
JAMES W RIGHTMIRE III                                3700 WILLOW CREEK RD                   BOX 8814                                                 PRESCOTT          AZ    86301‐3721
JAMES W RIGOULOT                                     2724 N KERBY RD                                                                                 OWOSSO            MI    48867‐9056
JAMES W RILEY                                        5510 N WABASH                                                                                   MARION            IN    46952‐9066
JAMES W RINI & JANE L RINI & JEFFREY R RINI JT TEN   24612 REGAL PLACE                                                                               HARRISON          MI    48045
                                                                                                                                                     TOWNSHIP
JAMES W RINKER                                       45 LAKE FOREST DR                                                                               CHARLOTTESVILLE   VA    22901‐1313

JAMES W ROBERTS                                      PO BOX 1865                                                                                     MURRELLS INLT     SC    29576‐1865
JAMES W ROBERTS                                      4408 PACOS                                                                                      FT WORTH          TX    76119‐5173
JAMES W ROBERTS & MRS KAREN D ROBERTS JT TEN         2335 LITTLE BROOK DR                                                                            DUNWOODY          GA    30338‐3161

JAMES W ROBERTSON                                    2899 E 450N                                                                                     ANDERSON          IN    46012‐9290
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JAMES W ROBINSON & STELLA J ROBINSON JT TEN     7630 MANNING RD                                                                               MIAMISBURG        OH    45342‐1551
JAMES W ROONEY                                  2314 KNOWLES RD                      N GRAYLYN CREST                                          WILMINGTON        DE    19810‐3814
JAMES W RORIE                                   PSC 502 1                                                                                     S SAN FRANCISCO   CA    94080
JAMES W ROSE JR                                 4188 MIDDLEBROOK                                                                              DAYTON            OH    45432
JAMES W ROSE SR                                 1592 SEABROOK RD                                                                              DAYTON            OH    45432
JAMES W ROZIER                                  2115 WEST 22ND ST                                                                             ANDERSON          IN    46016‐3615
JAMES W ROZIER & JESSIE R ROZIER JT TEN         2115 W 22ND ST                                                                                ANDERSON          IN    46016‐3615
JAMES W SAEMANN CUST JAIMEE M SEAMANN UTMA      137 WALLACE AVENUE                                                                            DOWNINGTOWN       PA    19335‐2640
PA
JAMES W SALLEY                                  2460 FLYWAY CT                                                                                BEAVERCREEK       OH    45431‐4114
JAMES W SALLY                                   1205 MARTIN LUTHER KING DR                                                                    BOONVILLE         MS    38829‐1918
JAMES W SANDIFER                                PO BOX 2335                                                                                   HARVEY            IL    60426
JAMES W SARNE                                   13061 AMBROSE DR                                                                              PALOS PARK        IL    60464‐1661
JAMES W SAWYER JR                               8766 CABOT DR                                                                                 CINCINNATI        OH    45231‐4533
JAMES W SCARBROUGH                              2235 TITUS AVE                                                                                DAYTON            OH    45414‐4137
JAMES W SCHUCHTER                               2041 E U S 22 & 3                                                                             MORROW            OH    45152‐9670
JAMES W SCHULTZ                                 7727 BLUE LAGOON DR                                                                           LANSING           MI    48917‐9640
JAMES W SCHWEIGER & ROSE M SCHWEIGER JT TEN     11208 CORALBEAN DR                                                                            BRADENTON         FL    34202‐2892

JAMES W SEDGWICK                                29 BRANCH ROAD                                                                                HARWINGTON        CT    06791‐1004
JAMES W SEITZ                                   3943 BARRYMORE LN                                                                             BEAVERCREEK       OH    45440‐3427
JAMES W SEVERIN & JOAN L SEVERIN JT TEN         2813 BLUEBERRY PLACE                                                                          SAGINAW           MI    48603‐2655
JAMES W SEYMOUR                                 ATTN MARGARET R SEYMOUR              3218 BEAR TRACKS DR                                      WENTZVILLE        MO    63305‐3495
JAMES W SHARP                                   2845 N STEEL RD                                                                               MERRILL           MI    48637‐9519
JAMES W SHAW                                    PO BOX 26031                                                                                  DAYTON            OH    45426‐0031
JAMES W SHAW                                    5738 LAWNDALE ST                                                                              NORTH BRANCH      MI    48461
JAMES W SHERLOCK                                23001 OAK                                                                                     DEARBORN          MI    48128‐1366
JAMES W SHIELDS                                 LOT A                                1199 E SANTA FE                                          GARDNER           KS    66030‐1501
JAMES W SHIJKA & CATHERINE L SHIJKA JT TEN      4510 MIDLAND RD                                                                               SAGINAW           MI    48603‐9667
JAMES W SIEFKES                                 2837 SPAULDING AVE                                                                            JANESVILLE        WI    53546‐1169
JAMES W SIEGEL                                  PO BOX 6465                                                                                   GRAND RAPIDS      MI    49516
JAMES W SKOGLUND                                2016 SUNBURST WAY                                                                             RENO              NV    89509‐5845
JAMES W SLEEPER                                 3280 STATE STREET RD                                                                          BAY CITY          MI    48706‐1867
JAMES W SMITH                                   209 ELMHURST ROAD                                                                             DAYTON            OH    45417‐1420
JAMES W SMITH                                   1839 LAMPERT DR                                                                               HURON             SD    57350‐4039
JAMES W SMITH                                   10435 N CR 825 E                                                                              ROACHDALE         IN    46172‐9455
JAMES W SMITH                                   571 ALLEN                                                                                     CLAWSON           MI    48017‐2161
JAMES W SMITH                                   8313 DAVIS HWY                                                                                LANSING           MI    48917‐9546
JAMES W SMITH                                   1125 OLD HICKORY                                                                              EAST LANSING      MI    48823‐2721
JAMES W SMITH                                   125 S INTERMEDIATE LK DR                                                                      CENTRAL LAKE      MI    49622‐9560
JAMES W SMITH                                   3535 S 600 E                                                                                  GREENFIELD        IN    46140‐9742
JAMES W SMITH                                   2509 N BRANCH RD                                                                              NORTH BRANCH      MI    48461‐9344
JAMES W SMITH & MARGARET E SMITH JT TEN         3212 AZALEA CIR                                                                               LYNN HAVEN        FL    32444‐5633
JAMES W SMITH CUST JAMES DAVID SMITH UGMA OH    526 WALDREN HILL RD                                                                           PIKETON           OH    45661

JAMES W SMITH JR                                149 ELMVIEW DR                                                                                TONAWANDA         NY    14150‐7879
JAMES W SMITH SR                                8312 CORNERSTONE DR                                                                           FORT WORTH        TX    76123‐1878
JAMES W SMITHA                                  C/O RUTH SMITHA                      1331 WEST 6TH ST                                         ANDERSON          IN    46016‐1027
JAMES W SNOWDEN JR                              P.O. BOX 1048                                                                                 RIDGELAND         MS    39158‐1048
JAMES W SPENCER                                 4975 BAY CIR                                                                                  CUMMING           GA    30041‐5456
JAMES W SPENCER                                 2949 NORTH 48                                                                                 LEBANON           OH    45036
JAMES W SPUHLER & CAROL A SPUHLER JT TEN        211 LEATHERBARK RD                                                                            CRANBERRY TWP     PA    16066‐4761
JAMES W STALEY                                  6990 MARCY COURT                                                                              PLAINFIELD        IN    46168‐9326
JAMES W STEPHENS                                2909 OKLAHOMA                                                                                 FLINT             MI    48506‐2930
JAMES W STEPHENSON                              N64W24174 IVY AVE                                                                             SUSSEX            WI    53089‐3032
JAMES W STEVENS & MARJORIE A STEVENS JT TEN     3281 HARBOR AVE                                                                               NEWTON            IA    50208‐9046
JAMES W STILLMAN JR                             7652 SCHROEDER AVE                                                                            LEXINGTON         MI    48450‐9736
JAMES W STINSON                                 1811 WOODLIN DR                                                                               FLINT             MI    48504‐3604
JAMES W STOCKS                                  100 ROBERT ELLIFFE ROAD                                                                       WILLIAMSBURG      VA    23185‐2733
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Name                                            Address1                                Address2             Address3          Address4          City              State Zip

JAMES W STODDARD                             517 E VIENNA ST                                                                                     CLIO              MI    48420‐1428
JAMES W STOWE & FRANCES P JUSTIS JT TEN      1600 S W HARVOUR ISLES CIR                                                                          PORT ST LUCIE     FL    34986
JAMES W STRECKER                             540 MAPLE AVE                                                                                       BRISTOL           CT    06010‐2697
JAMES W STRYKER                              168 FIRST STREET                                                                                    ROMEO             MI    48065‐5000
JAMES W STUART                               37051 MULBERRY                                                                                      CLINTON TWP       MI    48036
JAMES W STURROCK                             5117 N LOWELL                                                                                       CHICAGO           IL    60630‐2612
JAMES W SULLIVAN SR                          4419 N HWAY 287                                                                                     ALVORD            TX    76225
JAMES W SWANGER                              14258 STONE JUG RD                                                                                  BATTLE CREEK      MI    49015‐7619
JAMES W SWANKER                              775 SATURN CT                                                                                       MARCO ISLAND      FL    34145‐3455
JAMES W TATE                                 9421 N 900 WD                                                                                       HUNTINGTON        IN    46750‐8841
JAMES W TAYLOR                               11351 RAY ROAD                                                                                      GAINES            MI    48436‐8918
JAMES W TAYLOR                               300 SOUTH WASHINGTON                       LOT 225                                                  FORT MEADE        FL    33841‐1909
JAMES W TAYLOR                               1748 W OLD STATE RD                                                                                 EAST JORDAN       MI    49727‐9251
JAMES W TAYLOR & ADA MOZELLE TAYLOR JT TEN   2 BUTTERNUT DR                                                                                      BALTIMORE         MD    21220‐5502
JAMES W TAYLOR & CHARLENE W TAYLOR JT TEN    BOX 176                                                                                             WINONA            KS    67764‐0176
JAMES W TEEL & JANET H TEEL JT TEN           22866 SUNSET DR                                                                                     KALAMAZOO         MI    49009‐9227
JAMES W TERWILLIGER                          5483 WHITEHALL RD                                                                                   MUSKEGON          MI    49445‐9349
JAMES W THATCHER                             PO BOX 84                                                                                           ZANESFIELD        OH    43360‐0084
JAMES W THOMAS                               3934 CANYON CREEK DR SW                                                                             GRAND RAPIDS      MI    49544‐6687
JAMES W THOMPSON                             4551 SALEM RD                                                                                       COVINGTON         GA    30016‐7905
JAMES W THOMPSON                             PO BOX 95                                                                                           BENEDICT          NE    68316‐0095
JAMES W THOMPSON                             91 JOANS COURT                                                                                      LAWRENCEVILLE     GA    30045‐4519
JAMES W THOMPSON                             7626 ASHCREST LN                                                                                    DALLAS            TX    75249‐1059
JAMES W THOMPSON                             804 CROSSBOW CIRCLE                                                                                 VIRGINIA BEACH    VA    23452‐5917
JAMES W THORNTON                             236 STANLEY DR                                                                                      CORUNNA           MI    48817‐1155
JAMES W THORNTON & BARBARA A THORNTON JT TEN 236 STANLEY DRIVE                                                                                   CORUNNA           MI    48817‐1155

JAMES W THROOP                                  6636 WATERFORD HILL TERRACE                                                                      CLARKSTON         MI    48346‐4516
JAMES W TILTON                                  4121 MOSS RIDGE LN                                                                               INDIANAPOLIS      IN    46237‐2872
JAMES W TINKER                                  5037 KELLY RD                                                                                    FLINT             MI    48504‐1011
JAMES W TOLIVER                                 2702 N WHEELER ST                                                                                INDIANAPOLIS      IN    46218‐2836
JAMES W TOWNSEND & WINONA Y TOWNSEND JT TEN     9005 SALEM APT 4                                                                                 LENEXA            KS    66215

JAMES W TRAGESER                                1612 CAMDEN ST                                                                                   CHATTANOOGA       TN    37406‐2803
JAMES W TRIANT & DIANE S TRIANT JT TEN          166 HAMPSHIRE ROAD                                                                               WELLESLEY HILLS   MA    02481‐1240
JAMES W TUCKER                                  12199 GOUDY LAKE DR                                                                              OTISVILLE         MI    48463‐9751
JAMES W TUCKER JR CUST SAMANTHA R TUCKER UTMA   2206 WIDE RIVER DRIVE                                                                            RALEIGH           NC    27614‐7611
NY
JAMES W TURNER TR JAMES W TURNER LIVING TRUST   6110 E CONCOURSE CT                                                                              CAMBY             IN    46113‐8345
UA 03/22/99
JAMES W UMPHREY                                 2447 OAK LN                                                                                      KAWKAWLIN         MI    48631‐9441
JAMES W UNSEL                                   6178 WEST STANLEY                                                                                MOUNT MORRIS      MI    48458‐9429
JAMES W URQUHART                                415 APOLLO ST                                                                                    SILVER LAKE       KS    66539‐9611
JAMES W URQUHART & BERNICE URQUHART JT TEN      415 APOLLO ST                                                                                    SILVER LAKE       KS    66539‐9611

JAMES W VALLANDINGHAM & CHRISTIANNA S           1006 LIGHTSTONE DR                                                                               SAN ANTONIO       TX    78258‐2316
VALLANDINGHAM JT TEN
JAMES W VAN WART JR                             12 CROWN BOULEVARD                                                                               NEWBURGH          NY    12550‐2512
JAMES W VANDREUMEL & PAMELA J VANDREUMEL JT     3285 OLD HICKORY TRAIL                                                                           DEWITT            MI    48820‐9003
TEN
JAMES W VANMEER                                 26236 DENNING                                                                                    NEW BOSTON        MI    48164‐9210
JAMES W VOYLES                                  1704 NORTHWEST 8TH AVE                                                                           GAINESVILLE       FL    32603‐1006
JAMES W VOYLES TR UA 11/25/92 JAMES W VOYLES    1704 NW EIGHTH AVE                                                                               GAINESVILLE       FL    32603‐1006
REVOCABLE TRUST
JAMES W WALDEN                                  1824 N 1100E                                                                                     MARION            IN    46952‐6609
JAMES W WALKER                                  HC 1 BOX 64                                                                                      EMINENCE          MO    65466‐9704
JAMES W WALKER JR                               705 OKALOOSA ST                                                                                  TALLAHASSEE       FL    32310‐5455
JAMES W WALTERS                                 300 FRASER PURCHASE RD                                                                           LATROBE           PA    15650‐2667
JAMES W WARRAM JR & SHEREE WARRAM JT TEN        6120 SWISS BLVD                                                                                  PUNTA GORDA       FL    33982‐2125
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Name                                              Address1                               Address2             Address3          Address4          City           State Zip

JAMES W WASHBURN                                  106 LINCOLN ST                                                                                  TALLULAH       LA    71282
JAMES W WATSON SR & JUDY A WATSON JT TEN          3502 MORGAN DR                                                                                  GREENVILLE     MI    48838‐9217
JAMES W WATT & FRIEDA M WATT JT TEN               2075 BELMONT DR                                                                                 MUSKEGON       MI    49441‐4409
JAMES W WEBER                                     216 MACARTHUR RD                                                                                ROCHESTER      NY    14615‐2020
JAMES W WEILER                                    5650 N‐M‐18                                                                                     ROSCOMMON      MI    48653‐9635
JAMES W WEST JR                                   4221 PAWNEE RD                                                                                  RICHMOND       VA    23225‐1028
JAMES W WESTRICK                                  3104 RUGER AVE                                                                                  JANESVILLE     WI    53546‐1936
JAMES W WHIPKEY                                   5 UPTON AVENUE                                                                                  CAMERON        WV    26033‐1011
JAMES W WHITEHEAD JR                              501 VES RD APT B510                                                                             LYNCHBURG      VA    24503‐4616
JAMES W WICKLINE                                  6490 E H AVE                                                                                    KALAMAZOO      MI    49048‐6136
JAMES W WILLIAMS                                  3920 MARVIN                                                                                     FLINT          MI    48505‐3752
JAMES W WILLIAMS                                  134 OXFORD                                                                                      DAYTON         OH    45407‐2149
JAMES W WILLIAMS                                  75 GREENLEAF MDWS                                                                               ROCHESTER      NY    14612‐4335
JAMES W WILLNEFF JR                               20133 FINLEY                                                                                    CLINTON TWP    MI    48035
JAMES W WILSON                                    504 S PLEASENT                                                                                  BELDING        MI    48809‐1959
JAMES W WILSON                                    600 ORTMAN                                                                                      SAGINAW        MI    48601‐3711
JAMES W WILSON                                    MAIN STREET DINGLE                     COUNTY KERRY                           46205 IRELAND                          ‐3611
JAMES W WILSON JR                                 9405 BREHM ROAD                                                                                 CINCINNATI     OH    45252‐2609
JAMES W WILSON JR                                 301 N REDWOOD LN                                                                                MUNCIE         IN    47304‐3567
JAMES W WIMBERLY JR                               4900 JETT ROAD N W                                                                              ATLANTA        GA    30327‐4516
JAMES W WOODARD                                   PO BOX 589                                                                                      ST JOSEPH      IL    61873‐0589
JAMES W WORLEY                                    7138 NEW HARMONY RD                                                                             MARTINSVILLE   IN    46151‐7523
JAMES W WORLEY SR & SHIRLEY K WORLEY JT TEN       7138 NEW HARMONY RD                                                                             MARTINSVILLE   IN    46151‐7523
JAMES W WORTHAM                                   617 HOGAN ALLEY DR                                                                              MANSFIELD      TX    76063‐5474
JAMES W YACKEL & MRS ERNA B YACKEL JT TEN         730 ROY ST                                                                                      DYER           IN    46311‐2350
JAMES W YATES                                     4144 RIDGE RD #10                                                                               STEVENSVILLE   MI    49127‐9300
JAMES W YOUNG                                     PO BOX 321                                                                                      ELLINGTON      MO    63638‐0321
JAMES W YOUNG JR                                  104 HOMER DR                                                                                    JEANNETTE      PA    15644‐9548
JAMES W ZAVIES TR UA 12/24/92 JAMES W ZAVIES      P O BOX 580                                                                                     CEDARVILLE     MI    49719
TRUST
JAMES WADE ROBERSON                               PO BOX 78                                                                                       WALTON         IN    46994‐0078
JAMES WADINO                                      30451 AVONDALE                                                                                  WESTLAND       MI    48186‐5022
JAMES WAFER                                       3101 VALERIE ARMS DR                   APT 1A                                                   DAYTON         OH    45405‐2034
JAMES WAGSTAFF                                    6250 BAINBRIDGE ROAD                                                                            CHARLOTTE      NC    28212‐6202
JAMES WALKER                                      PO BOX 92396                                                                                    ROCHESTER      NY    14692‐0396
JAMES WALKER                                      1155 CHARLES                                                                                    FLINT          MI    48505‐1641
JAMES WALTER & CHRISTEL WALTER JT TEN             22 CREST DRIVE                                                                                  TARRYTOWN      NY    10591‐4306
JAMES WALTER DUNKER                               1312 ROSIE CT                                                                                   ROHNERT PARK   CA    94928‐2957
JAMES WALTER HERBERT                              387 FLORIDA ST                                                                                  BUFFALO        NY    14208‐1310
JAMES WARD FITZGERALD                             4100 N CHARLES ST APT 906                                                                       BALTIMORE      MD    21218‐1029
JAMES WARD LAFFERTY                               20 STEUBEN PARK #4                                                                              UTICA          NY    13501‐2920
JAMES WASHINGTON                                  220 KING AVE                                                                                    TRENTON        NJ    08638‐2226
JAMES WATERS                                      157 STRATER LN                                                                                  MALTA          MT    59538
JAMES WATKINS                                     3570 OHIO TRL                                                                                   YOUNGSTOWN     OH    44505‐1934
JAMES WEBB                                        9246 EVERGREEN RD                                                                               DETROIT        MI    48228‐1756
JAMES WEIGAND II CUST JACQUELINE S WIEGAND        409 N ANN ARBOR RD                                                                              SALINE         MI    48176‐1001
UTMA MI
JAMES WEIGOLD                                     10 WELLFLEET DR                                                                                 NORFOLK        MA    02056‐1810
JAMES WELBES                                      274 CHESTNUT AVE                                                                                ORANGE CITY    FL    32763‐6021
JAMES WELDON CROUCH                               2620 W 1200 S #35                                                                               VANBUREN       IN    46991‐9618
JAMES WELDON HILL SR & JADINE HILL TUCKER TEN     7755 YARDDY DR #411D                                                                            TAMARAC        FL    33321‐0843
COM
JAMES WELLS                                       15888 NW CACHE ROAD                                                                             CACHE          OK    73527
JAMES WESLEY CONVERSE                             7101 N MUSSON RD                                                                                SIX LAKES      MI    48888‐9512
JAMES WESLEY FYFE                                 506 15TH STREET APT 9                                                                           WINDBER        PA    15963‐1640
JAMES WESLEY HILL                                 5328 SANDUSKY RD                                                                                PECK           MI    48466‐9791
JAMES WESLEY HORNER                               10823 EAST 180 SOUTH                                                                            GREENTWON      IN    46936‐9188
JAMES WHEELER JR                                  12 HORSESHOE LANE                                                                               LEVITTOWN      PA    19055‐1324
JAMES WHITLEY                                     3234 OLD TROY PIKE                                                                              DAYTON         OH    45404‐1308
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JAMES WHITWORTH                                                                                                                                  VICTOR             IA    52347
JAMES WILDER & OPAL WILDER JT TEN                BOX 517                                                                                         CRESTWOOD          KY    40014‐0517
JAMES WILDER CUST SHELBY KAYE ELDER UTMA KY      BOX 517                                                                                         CRESTWOOD          KY    40014‐0517

JAMES WILDER CUST TALLEY CASE ELDER UTMA KY      BOX 517                                                                                         CRESTWOOD          KY    40014‐0517

JAMES WILEY                                      633 SO 15TH ST                                                                                  SAGINAW            MI    48601‐2010
JAMES WILLARD BOSTON                             235 THOMPSON SPRINGS DR                                                                         ALPHARETTA         GA    30004‐6945
JAMES WILLARD FUREY                              7008 BEAR RIDGE RD RT 2                                                                         NO TONAWANDA       NY    14120‐9583
JAMES WILLARD MC GRAW                            555 GOOGE ST                                                                                    ALLENDALE          SC    29810‐1129
JAMES WILLIAM ANDERSON                           C/O DENNIS ANDERSON EXECUTOR           4030 WEST 32ND ST                                        ANDERSON           IN    46011‐4519
JAMES WILLIAM BANASZAK                           75 SUSAN DRIVE                                                                                  DEPEW              NY    14043‐1410
JAMES WILLIAM BATCHELOR                          938 MCCOTLERS MARINA RD                                                                         WASHINGTON         NC    27889‐8795
JAMES WILLIAM BATES                              607 S KINGSWOOD ST                                                                              DURAND             MI    48429‐1733
JAMES WILLIAM EVERETT JR                         PO BOX 7303                                                                                     ALBANY             NY    12224‐0303
JAMES WILLIAM GARRETT & MARION M GARRETT JT      PO BOX 632                                                                                      PINE GROVE MILLS   PA    16868‐0632
TEN
JAMES WILLIAM GUEST                              7063 COUNTRY SPRINGS DR SW                                                                      BYRON CENTER       MI    49315‐8129
JAMES WILLIAM HARRIS                             7836 GRAY RD                                                                                    MOORESVILLE        IN    46158‐6600
JAMES WILLIAM HOEHN                              7600 BAY MEADOW RD                                                                              HARBOR SPRINGS     MI    49740‐8653
JAMES WILLIAM LANE III                           638 PARADISE ISLAND WAY                                                                         HAINES CITY        FL    33844‐9355
JAMES WILLIAM LOTRIDGE                           10412 NICHOLS RD                                                                                MONTROSE           MI    48457‐9175
JAMES WILLIAM MC CLINTOCK                        GARLAND ST                             PO BOX 272                                               VAILS GATE         NY    12584‐0272
JAMES WILLIAM MEADE TR UW WILLIAM G MEADE        PO BOX 273                                                                                      WEST SIMSBURY      CT    06092‐0273

JAMES WILLIAM SEAL & CATHERINE RUTH TRAUB SEAL   8287 HILLANDALE DRIVE                                                                           SAN DIEGO          CA    92120‐1621
JT TEN
JAMES WILLIAM TROUT                              31040 ASH APT 8305                                                                              WIXOM              MI    48393‐4109
JAMES WILLIAMS                                   152 ISIAH HENRY LOOP                                                                            BRUNSON            SC    29911
JAMES WILLIAMS                                   1320 E 1ST ST                                                                                   MUNCIE             IN    47302‐2504
JAMES WILLIAMS                                   41 KIRKDALE DRIVE                                                                               MARLTON            NJ    08053‐2519
JAMES WILLIAMS                                   2520 S ETHEL                                                                                    DETROIT            MI    48217‐2301
JAMES WILLIAMS                                   8603 WARD ST                                                                                    DETROIT            MI    48228‐4058
JAMES WILLIAMSON                                 26 DUNBAR AVE                                                                                   PISCATAWAY         NJ    08854‐5703
JAMES WILLIE MOORE                               615 EAST FERRY ST                                                                               BUFFALO            NY    14211‐1138
JAMES WILLIS                                     110 BRUNSWICK BLVD                                                                              BUFFALO            NY    14208‐1547
JAMES WILLIS                                     615 WARBURTONE AVE                                                                              YONKERS            NY    10701‐1658
JAMES WILSON CATES                               191 GREEN HARBOR RD                                                                             OLD HICKORY        TN    37138‐1029
JAMES WILSON ENOCHS III                          10913 LIVE OAK CT                                                                               MIDLOTHIAN         VA    23113‐3102
JAMES WILSON HAWTHORNE JR                        9 SUNRISE DR                                                                                    OXFORD             CT    06478‐1771
JAMES WILSON III                                 2008 TELEGRAPH RD                                                                               WILMINGTON         DE    19808‐5200
JAMES WILTZ & MRS SHARON WILTZ JT TEN            1216 ROBIN RD                                                                                   DIXON              IL    61021‐3952
JAMES WINBUSH                                    4151 GARTHWAITE AVE                    # 14                                                     LOS ANGELES        CA    90008‐3853
JAMES WINGATE                                    10112 CARNATION CT SUITE 9                                                                      FLORENCE           KY    41042
JAMES WINTERBOTHAM                               9954 WEST EMERICK ROAD                                                                          WEST MILTON        OH    45383‐9606
JAMES WISER                                      16960 TIMBERLAKES DR                                                                            FT MYERS           FL    33908‐5346
JAMES WOLF                                       208 HILLCREST DR                                                                                BERRYVILLE         AR    72616‐8819
JAMES WONG                                       529 N 3RD ST                                                                                    PATTERSON          CA    95363‐2105
JAMES WONG & LIANE WONG JT TEN                   6149 OLIVE BRANCH RD                                                                            GREENWOOD          IN    46143‐9007
JAMES WONG CUST KEVIN JAMES WONG UGMA NY         113 MOUNT ARLINGTON BLVD                                                                        LANDING            NJ    07850‐1638

JAMES WOOD JR                                    1 WHITTINGHAM RD                                                                                BASKING RIDGE      NJ    07920‐3720
JAMES WOODROW BOGGS                                                                                                                              BIG OTTER          WV    25020
JAMES WORKMAN JR                                 335 PINEHEARST DR                                                                               GREENWOOD          SC    29649‐9119
JAMES WRAY                                       22851 DAVID AVE                                                                                 EASTPOINTE         MI    48021‐4616
JAMES WRIGHT                                     5572 COPLIN                                                                                     DETROIT            MI    48213‐3706
JAMES WRIGHT                                     136 ROBERTS RD NW                                                                               HADDOCK            GA    31033‐2010
JAMES WYROBA                                     2071 EAST BUTLER CIR                                                                            WESTLAND           MI    48186‐3988
JAMES WYSOGLAD                                   765 OLD BARN RD                                                                                 BARRINGTON         IL    60010‐1751
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JAMES Y GARBER                                     147 E PERLITA CIRCLE                                                                           PALM SPRINGS    CA    92264‐9386
JAMES Y K MAU & HELEN T MAU TR UA MAU FMAILY       1630 ELWOOD DRIVE                                                                              LOS GATOS       CA    95032‐1012
TRUST 10/11/91
JAMES Y MORRIS                                     3521 WARWICK DR                                                                                GREENVILLE      NC    27858‐6591
JAMES Y NORFLEET JR                                121 NASHUA DR                                                                                  CLARKSVL        IN    47129‐1428
JAMES Y THOMPSON                                   1028 OUACHITA 2                                                                                STEPHENS        AR    71764‐9283
JAMES Y WINN                                       RT 2 BOX 329                                                                                   LUBBOCK         TX    79415‐9768
JAMES YOVANOFF                                     36 WILLOW RD                                                                                   QUEENSBURY      NY    12804
JAMES YUEN                                         W247N6010 PEWAUKEE RD                                                                          SUSSEX          WI    53089‐3612
JAMES Z SHANKS                                     1671 FRIAR TUCK ROAD N E                                                                       ATLANTA         GA    30309‐2660
JAMES ZEBKAR OR RUTH ZEBKAR TR ZEBKAR LIVING       4107 MILLER DR                                                                                 ST PETE BEACH   FL    33706‐2648
TRUST UA 01/30/97
JAMES ZUBER                                        7706 GLENWOOD CT                                                                               CANAL WNCHSTR   OH    43110‐9290
JAMES ZURICK                                       7829 ST BONIFACE LA                                                                            BALTIMORE       MD    21222‐3526
JAMESENA COX & LESTEL W COX & SHARON K             8507 TITCHFIELD CT                    APT B 1ST FLOOR SOUTH                                    SAINT LOUIS     MO    63123‐1250
SLODOUNIK JT TEN
JAMESTON L HALE                                    3280 CENTENNIAL RD                                                                             FT WORTH        TX    76119‐7103
JAMEY E LIVINGSTON                                 2237 SPRING STREET                                                                             NEW CASTLE      IN    47362‐3846
JAMEY STUART FINLAYSON                             2940 INMAN                                                                                     FERNDALE        MI    48220‐1087
JAMI C SMITH                                       1890 WASHINGTON ST                    APT 503                                                  SAN FRANCISCO   CA    94109‐2938
JAMI HALL CUST KELSIE CLAUDINE RHEA HALL UTMA KY   117 S MAPLE ST                                                                                 ELIZABETHTOWN   KY    42701‐1607

JAMI OWENS                                         2100 TODD LN                                                                                   HELTONVILLE     IN    47436‐8715
JAMI RAE HARGIS                                    3481 SEYMOUR RD                                                                                SWARTZ CREEK    MI    48473‐9785
JAMIE A JORDAN                                     PO BOX 203                                                                                     ONTARIO         OH    44862‐0203
JAMIE ALLEN RUMBLE                                 2603 EASTERN AVE                                                                               ROCHESTER HLS   MI    48307‐4773
JAMIE B BISCHOFF                                   701 GLEN AVE                                                                                   WESTFIELD       NJ    07090‐4326
JAMIE C HARRIS                                     171 RIVER RD                                                                                   WEST NEWBURY    MA    01985‐1103
JAMIE COCHRAN HOLCOMB                              3525 WILEY DRIVE                                                                               CHARLESTON      WV    25306‐6611
JAMIE COSTELLO                                     74 PATERSON STREET                                                                             PROVIDENCE      RI    02906‐5539
JAMIE D KERNODLE                                   182 S COUNTY ROAD 550 E               APT 121                                                  AVON            IN    46123‐7058
JAMIE DE SEAN GRANT & KIZUWANDA G GRANT JT TEN     9013 CHESHIRE                                                                                  FORT WORTH      TX    76134

JAMIE HACKBARTH & PAUL A ROOD JT TEN               225 MURRAY ST                                                                                  MERIDEN         CT    06450‐4436
JAMIE HOYT HOGAN                                   410 ACR 1237                                                                                   GRAPELAND       TX    75844
JAMIE J KEITH                                      4000 ACE LN 119                                                                                LEWISVILLE      TX    75067‐8022
JAMIE JOYCE CUST MATTHEW JOYCE UTMA NY             55 PINEDALE RD                                                                                 HAUPPAUGE       NY    11788
JAMIE JUNE HUDSON                                  C/O JAMIE JUNE HUDSON‐WRIGHT          7118 GREATWOOD TRAILS DR                                 SUGAR LAND      TX    77479‐6203
JAMIE K PRATHER                                    1534 REO MAPLE                                                                                 LAPEER          MI    48446‐8708
JAMIE L COOK                                       1027 BUTTERNUT AV                                                                              ROYAL OAK       MI    48073‐3205
JAMIE L GEORGE & ERIC CHARLES GEORGE JT TEN        6650 PENINSULA WAY                                                                             LAINGSBURG      MI    48848‐9270
JAMIE L LOOMIS CUST JESSICA L LOOMIS UTMA FL       1005 SHADOWMOSS CIR                                                                            LAKE MARY       FL    32746‐4463
JAMIE L PLATT                                      3400 OLD BAINBRIDGE RD                APT 509                                                  TALLAHASSEE     FL    32303‐2680
JAMIE L ROSE                                       301 APPLE VALLEY DR                                                                            LANGHORNE       PA    19047‐1942
JAMIE L SCHMELING                                  518 WINDWOOD CIR                                                                               EDGERTON        WI    53534‐9569
JAMIE LYNNE ULIN                                   1132 HARBOR SOUTH N‐28                                                                         MILLSBORO       DE    19966
JAMIE M GALKIN                                     66 LAUREL HOLLOW CT                                                                            EDISON          NJ    08820‐1051
JAMIE M PROVAGNA & PAUL K PROVAGNA JT TEN          10270 WILDROSE COURT                                                                           SOUTH LYON      MI    48178
JAMIE M ZINSLI                                     15381 S W 81ST                                                                                 TIGARD          OR    97224‐7388
JAMIE MURPHY                                       1852 ASHFORD LN                                                                                CRYSTAL LAKE    IL    60014
JAMIE R BEATES                                     3461 EVERETT HULL RD                                                                           CORTLAND        OH    44410‐9705
JAMIE R CUDE                                       3013 LAUREL                                                                                    HUMBOLDT        TN    38343‐2054
JAMIE R D VANDENOVER                               3610 THUNDER RD                                                                                ALAMOGORDO      NM    88310‐9718
JAMIE R DAVIS & LORENE E DAVIS JT TEN              1941 COUNTY ROAD 1559                                                                          CULLMAN         AL    35058‐1317
JAMIE R DENT                                       13821 LA CALA                                                                                  OCEAN SPRINGS   MS    39564‐2539
JAMIE S JOHNSON                                    2036 NURSERY RD                                                                                CLEARWATER      FL    33764
JAMIE S VITALE CUST JACK R PRENTICE UTMA CA        4441 WEST 232ND ST                                                                             TORRANCE        CA    90505
JAMIE S WHITE                                      5470 SCHOOL RD                                                                                 SPRUCE          MI    48762‐9732
JAMIE SERRANO                                      7301 S W 33RD ST                                                                               MIAMI           FL    33155‐3601
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Name                                             Address1                             Address2             Address3          Address4          City             State Zip

JAMIE WELEBOB                                    138 WHELLER SCHOOL RD                                                                         PYLESVILLE       MD    21132
JAMIE WILLIAMS                                   126 ELM ST                                                                                    FRANKLIN         PA    16323‐2841
JAMIE WILLIAMSON                                 610 MILLER                                                                                    EAST PRAIRE      MO    63845
JAMIESON T DILL                                  342 N HARRISON RD #12                                                                         EAST LANSING     MI    48823‐4108
JAMIL A NIAZI                                    46689 MORNINGTON RD                                                                           CANTON           MI    48188‐3013
JAMIL F NASSAR                                   4321 VANSLYKE RD                                                                              FLINT            MI    48507‐3543
JAMIL K BATES                                    PO BOX 85637                                                                                  ALBUQUERQUE      NM    87193‐5637
JAMILE FLAQUER                                   2033 FREMONT AVE E                                                                            SAINT PAUL       MN    55119‐4015
JAMINA M ENGRAM                                  755 MATIANUCK AVE                                                                             WINDSOR          CT    06095‐3551
JAMISON A STRACHAN                               14302 BOWSPIRIT LN APT 31                                                                     LAUREL           MD    20707‐6113
JAMISON L JOHNSON                                1117 CRESSWELL STREET                                                                         SAGINAW          MI    48601‐3422
JAMISON S DRAKE                                  8612 KIRK LN                                                                                  N RICHLND HLS    TX    76182‐7422
JAMISON S MOORE                                  6495 TIMBER BLUFF POINT              APT 207                                                  COLORADO SPRINGS CO    80918‐6239

JAMMIE G RISINGER                                4058 MARGERY DR                                                                               FREMONT          CA    94538‐2827
JAN A CALLAWAY                                   1443 SARGEANT WELCOME RD                                                                      NEWNAN           GA    30263
JAN A COLLINS                                    2019 LAKEVIEW RD                                                                              SPRINGHILL       TN    37174‐2300
JAN A GATZ                                       1385 N ACRE DR                                                                                ROCHESTER        MI    48306‐4101
JAN A MILLS                                      3711 VANGUARD DR                     STE A                                                    FORT WAYNE       IN    46809
JAN A WEATHERFORD                                2317 E 9TH ST                                                                                 ANDERSON         IN    46012‐4308
JAN ALAN DERDIGER                                247 FORESTWAY DRIVE                                                                           DEERFIELD        IL    60015‐4809
JAN ALISON KENDALL                               1720 COLOMBARD CIR                                                                            LODI             CA    95240‐6105
JAN B QUACKENBUSH                                106 VINCENT STREET                                                                            BINGHAMTON       NY    13905‐4336
JAN BAECHLER KIRK                                7 YORKSHIRE DR                                                                                DOVER            DE    19901‐1818
JAN BARTENSLAGER & MARIA M BARTENSLAGER JT TEN   4109 MADONNA RD                                                                               JARRETTSVILLE    MD    21084‐1029

JAN BARTLETT                                     8 TEAKWOOD                                                                                    IRVINE           CA    92612‐2807
JAN BODE                                         PO BOX 1258                                                                                   OAKHURST         CA    93644‐1258
JAN BURTON PINTO                                 892 W WASHINGTON ST                                                                           BRADFORD         PA    16701‐2640
JAN C BRUNN                                      5831 WILLOW OAK                                                                               HOUSTON          TX    77092‐1434
JAN C KETELSEN                                   1665 SW 2ND AVE                                                                               BOCA RATON       FL    33432‐7228
JAN C MILLER                                     3275 SNODGRASS ROAD                                                                           MANSFIELD        OH    44903‐8933
JAN C QUILL                                      1463 SALOMON LANE                                                                             WAYNE            PA    19087‐1104
JAN CHRIS MALTBY                                 243 ROUTE 7 N                                                                                 MILTON           VT    05468‐9070
JAN COLVIN                                       920 E 8TH ST                                                                                  MOSCOW           ID    83843‐3851
JAN COULTER KEARNS                               78 BROADLAWN AVENUE                                                                           COLUMBUS         OH    43228
JAN D FICK                                       6218 E DIABLO SUNRISE RD                                                                      TUCSON           AZ    85706‐8514
JAN E CARLSON & CAROL L CARLSON JT TEN           3345 HIDDEN OAK DR                                                                            SALT LAKE CITY   UT    84121‐6177
JAN E GRAVES                                     3515 CAMPBELLSVILLE PIKE                                                                      COLUMBIA         TN    38401‐8633
JAN EDWARD HYATT                                 9100 CROOKED CROW DRIVE NE                                                                    ADA              MI    49301‐8825
JAN ELIZABETH SUTTON                             161 BROADWAY                                                                                  NEW ORLEANS      LA    70118‐3549
JAN ELLIOT ZECHMAN                               999 N LAKE SHORE DR                  APT 6C                                                   CHICAGO          IL    60611‐1305
JAN EMERSON HANSON & DEBRA JEAN HANSON JT TEN    5947 CHATEAU RD NW                                                                            ROCHESTER        MN    55901‐0137

JAN F SOTNIKOFF                                  14 MAIN AVE                                                                                   OCEAN GROVE      NJ    07756‐1324
JAN F WUICIK                                     PO BOX 3956                                                                                   MANSFIELD        OH    44907‐3956
JAN FORGAC & JANA FORGAC JT TEN                  4800 AL VENTURA RD                   APT 4813                                                 WALLINGTON       NJ    07057‐1801
JAN FROHMANN                                     18 FERN OVAL WEST                                                                             ORANGEBURG       NY    10962‐2302
JAN G BANAZWSKI                                  598 MAHER ST                                                                                  MEDINA           NY    14103‐1612
JAN G FILIP & CHARLESS T FILIP JT TEN            BOX 129                                                                                       GLEN             NH    03838‐0129
JAN H AASE                                       4805 CRESTONE WAY                                                                             OAKLAND TWNSP    MI    48306‐1680
JAN H BORDELON                                   16215 FRENCHTOWN                                                                              GREENWELL        LA    70739‐3633
                                                                                                                                               SPRINGS
JAN H LEDDY & PAIGE LEDDY & JACKSON P LEDDY JT TEN 85 HAWTHORN WEST                                                                            KALISPELL        MT    59901‐3485

JAN H LILLY & MARY E LILLY JT TEN                5104 BLACK DIAMOND COURT                                                                      RALEIGH          NC    27604‐5889
JAN H PASHLEY                                    22 LILAC LN                                                                                   OSWEGO           NY    13126‐4063
JAN H SCHUSTER                                   3988 E 3RD RD                                                                                 MENDOTA          IL    61342‐9746
JAN HENDRIKSEN                                   39627 CATHER DRIVE                                                                            CANTON           MI    48187‐4203
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Name                                               Address1                             Address2                  Address3             Address4          City               State Zip

JAN HERAUF                                         7349 RICHARDSON RD                                                                                    OAKDALE            CA    95361‐7842
JAN HUYBRECHTS                                     OPEL BELGIUM NV                      NOORDERLAAN 401           B2030 ANTWERPEN B    BELGIUM
JAN HUYBRECHTS                                     OPEL BELGIUM NV                      PSTBS 9 NOORDERLAAN 401   HAVN 500 ANTWERP B   BELGIUM
JAN HUYSER & MRS BERNICE HUYSER JT TEN             1321 WINDWARD CIRCLE                                                                                  NICEVILLE          FL    32578‐4310
JAN J BREMS                                        AVERBODESESTWG 99                    HERSELT                                        2230 BELGIUM
JAN J BREMS                                        AVERBODESESTEENWEG 99                HERSELT                                        2230 BELGIUM
JAN J WHEELER & HONEY J WHEELER JT TEN             4533 E TITTABAWASSEE                                                                                  FREELAND           MI    48623‐9102
JAN JAY EGER                                       1803 SOUTH VILLA DR                                                                                   GIBSONIA           PA    15044‐7441
JAN JENKINS                                        233 PROMISE LANE                                                                                      BRUNSWICK          GA    31525‐4780
JAN K SCHIFFMANN                                   153 NEWBURY LANE                                                                                      NEWBURY PARK       CA    91320‐4624
JAN K SOVIA                                        5377 SEIDEL ROAD                                                                                      SAGINAW            MI    48603‐7185
JAN KIS                                            1605 ANNIE LN                                                                                         COLUMBIA           TN    38401‐5423
JAN KRZYSZTALOWICZ                                 11757 SORRENTO                                                                                        STERLING HEIGHTS   MI    48312‐1357

JAN KUNKEL MACKLAY                                 514 2ND AVE NW                                                                                        WASECA             MN    56093‐1904
JAN L AUGUST                                       776 N LANDING RD                                                                                      ROCHESTER          NY    14625‐1920
JAN L ZACHRY TR JAN L ZACHRY TRUST UA 11/15/00     138 COOP CT                                                                                           ENCINITAS          CA    92024‐1437

JAN LEE KOLOSZAR                                   PO BOX 361                                                                                            RUSSIAVILLE        IN    46979
JAN LENBURG                                        2304 HOLIDAY COURT                                                                                    LANSING            IL    60438‐1664
JAN LOIGU                                          1403 RIVER AVE                                                                                        POINT PLEASANT     NJ    08742‐4307
JAN LOS                                            GREVELINGENHOUT 124                  4311 NL BRUINISSE                              NETHERLANDS
JAN LYNN HUBBELL                                   1080 GLASER                                                                                           TROY               MI    48098‐4941
JAN M CARPENTER                                    27 PINEBROOK DR                                                                                       MORRISONVILLE      NY    12962‐9781
JAN M CHAMBERS                                     1318 SOUTH ANDERSON ST                                                                                ELWOOD             IN    46036‐2825
JAN M FISCHER                                      2126 CEDAR SPRINGS LANE                                                                               INDEPENDENCE       KS    67301
JAN M FOWLER                                       5563 N IONIA RD                                                                                       VERMONTVILLE       MI    49096
JAN M GRISSOM                                      1330 CALVIN DRIVE                                                                                     BURTON             MI    48509‐2008
JAN M GRISSOM & JILL ANN STRUDGEON JT TEN          1330 CALVIN DR                                                                                        BURTON             MI    48509‐2008
JAN M GRUTZMACHER                                  723 DIVISION ST                                                                                       MUKWONAGO          WI    53149‐1208
JAN M HOPKINS                                      2077 PEPPER RIDGE DR                                                                                  SHREVEPORT         LA    71115‐9412
JAN M JANUCHOWSKI                                  473 LILLIAN AVE                                                                                       SYRACUSE           NY    13206‐2160
JAN M OUHRABKA                                     18 BENT RD                                                                                            RUMFORD            RI    02916‐2205
JAN M PARKS & ARLIN J PARKS JT TEN                 3471 HENDERSON RD                                                                                     SPRING ARBOR       MI    49283‐9603
JAN M SCHMERHEIM                                   22601 RIDGEWAY                                                                                        ST CLAIR SHORES    MI    48080‐1477
JAN M SPITLER                                      1692 LANI DRIVE                                                                                       EATON              OH    45320‐9706
JAN M ST GEORGE CUST MARC ST GEORGE UTMA CT        1325 MARION RD                                                                                        MARION             CT    06444

JAN M ST GEORGE CUST REBECCA ST GEORGE UTMA CT 1325 MARION RD                                                                                            MARION             CT    06444

JAN M WITMER                                       1286 EAST LAKE ROAD                                                                                   CLIO               MI    48420‐8814
JAN MARIE BARON GADE                               9456 N KEELER AVE                                                                                     SKOKIE             IL    60076‐1443
JAN MARIE OAKLEY                                   2418 BARBADOS                                                                                         WICHITA FALLS      TX    76308
JAN MC CULLOUGH                                    9111 CALLAWAY DR                                                                                      TRINITY            FL    34655‐4615
JAN MCCATHREN MCMILLAN                             1512 CYPRESS ST                                                                                       BRECKENRIDGE       TX    76424‐5010
JAN MICHAEL WEIR & KARNE KAY WEIR JT TEN           6159 MORGAN RD E                                                                                      BATTLE CREEK       MI    49017‐3113
JAN MICHELE GOTTULA VANDERBEEK                     982 ST HWY 43                                                                                         ADAMS              NE    68301‐8793
JAN MILLS                                          6625 NEWBURGH RD                                                                                      EVANSVILLE         IN    47715‐4405
JAN MITCHELL FROHMANN                              18 FERN OVAL WEST                                                                                     ORANGEBURG         NY    10962‐2302
JAN N BENEKER                                      4539 BROUGHTON                                                                                        BLOOMFIELD         MI    48301
JAN NILSSON                                        BACKSLINGAN 14                       S‐28020 BJARNUM                                SWEDEN
JAN ORNSTEN                                        7274 HELEN                                                                                            CENTER LINE        MI    48015‐1808
JAN P ANDERSON TR ANDERSON REV TRUST UA            2237 IMPALA DR                                                                                        ANDERSON           IN    46012‐4729
08/05/02
JAN PATERAK                                        1625 DOMINION RD RR #1               FORT ERIE ON                                   L2A 5M4 CANADA
JAN PAUL NEVEDAL & NANCY L NEVEDAL JT TEN          21031 BAYSIDE                                                                                         ST CLAIR SHORES    MI    48081‐1174
JAN PIEC                                           11112 LORMAN DRIVE                                                                                    STERLING HEIGHTS   MI    48312‐4964

JAN R JOHNSON                                      11359 HALL RD                                                                                         WHITMORE LAKE      MI    48189‐9741
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Name                                              Address1                               Address2             Address3          Address4          City            State Zip

JAN R LIMPACH                                     321 HARWOOD STREET                                                                              ELYRIA           OH   44035
JAN R MALOSH                                      W341 N6325 KATHY DR                                                                             OCONOMOWOC       WI   53066‐5116
JAN R NEWSOM                                      6040 PRESTON HAVEN                                                                              DALLAS           TX   75230‐2967
JAN R SHELTON                                     576 MASALO PLACE                                                                                LAKE MARY        FL   32746‐2244
JAN RAE COOK                                      412 RIDGEVIEW DR                                                                                PLEASANT HILL    CA   94523‐1028
JAN RAINS                                         1675 MAGNOLIA DRIVE                                                                             HOBART           IN   46342‐5985
JAN RAPALIAN                                      C/O JAN NEISWANGER                     1232 10TH ST                                             LOS OSOS         CA   93402‐1309
JAN S ALLARD                                      13 SOUTH SHORE DR                                                                               NEW DURHAM       NH   03855
JAN S GLICK CUST ERIN CHAVA RUTH UTMA GA          12322 CLASSIC DR                                                                                CORAL SPRINGS    FL   33071‐7732
JAN S HALE                                        2117 LAKEPOINT DR                                                                               KNOXVILLE        TN   37922‐8406
JAN S HALE & MRS NORMA L HALE JT TEN              2117 LAKEPOINT                                                                                  KNOXVILLE        TN   37922‐8406
JAN S LITTON                                      2864 MC FARLAN PARK DR                                                                          CINCINNATI       OH   45211‐4919
JAN S STEVENS                                     812 ELMHURST CIR                                                                                SACRAMENTO       CA   95825
JAN S WOJTKIEWICZ                                 8365 N NEWBURGH RD                                                                              WESTLAND         MI   48185‐1149
JAN SCHLESINGER                                   29605 SYLVAN CI                                                                                 FARMINGTON HILLS MI   48334‐4070

JAN SPOTTSWOOD MITCHELL SMITH                     165 SILVERBROOK AVE                                                                             NILES           MI    49120‐3333
JAN T SITEK                                       2007 W MADERO AVE                                                                               MESA            AZ    85202‐6407
JAN VANZELFDEN                                    181 SUMMER SANDS CT                                                                             HOLLAND         MI    49424‐2389
JAN VELASQUEZ                                     9600 QUAKER AVE                        UNIT 10                                                  LUBBOCK         TX    79424‐5116
JAN W AULT                                        9007 TINTAGEL ST                                                                                SAN ANTONIO     TX    78254‐2046
JAN W HALL                                        3266 SHERWOOD ST                                                                                SAGINAW         MI    48603‐2060
JAN WOOLL                                         421 N BOWIE AV                                                                                  WILLCOX         AZ    85643‐1514
JAN ZIMMERMAN                                     214 HOPE LANE                                                                                   NEW OXFORD      PA    17350‐8527
JAN‐AKE JONSSON                                   BIRGER JARLSGATAN 46B                  114 29 STOCKHOLM                       SWEDEN
JANA C DAVIS                                      5546 N MAGNOLIA AVE                                                                             CHICAGO         IL    60640‐1307
JANA C GROOM                                      9350 HILLS COVE DRIVE                                                                           GOODRICH        MI    48438‐9407
JANA D KARANDJEFF                                 1309 LAWTON CT                                                                                  WAUNAKEE        WI    53597‐2643
JANA DANIELLE BECK                                2862 BALTIMORE AVE                                                                              DECATUR         IL    62521‐4936
JANA K DUMEY                                      HC 1 BOX 9B                                                                                     PATTON          MO    63662‐9600
JANA L ROBKE                                      1808 ASHLEY CT                         APT 103                                                  FLORENCE        KY    41042‐8773
JANA L YONKER                                     954 AMBERSTONE DRIVE                                                                            SAN ANTONIO     TX    78258‐2350
JANA LEIGH CORNELL                                832 TEMPLETON LANE                                                                              MURFREESBORO    TN    37130‐1404
JANA LYNNE HALLE CUST TRAVIS WILSON HALLE UTMA    4867 VALLEY AVE                                                                                 PLEASANTON      CA    94566‐5345
CA
JANA LYNNE HALLE CUST TREVOR WILSON HALLE UTMA    4867 VALLEY AVE                                                                                 PLEASANTON      CA    94566‐5345
CA
JANA M CASTLE                                     15307 WEST DESERT MIRAGE DRIVE                                                                  SURPRISE        AZ    85379‐5352
JANA P HALL & K MICHAEL HALL JT TEN               1342 LAUREL OAK DR                                                                              AVON            IN    46123‐9483
JANA S HENNESSY                                   PO BOX 528                                                                                      RIVERSIDE       PA    17868‐0528
JANA S HENNESSY CUST KELLY DAE HENNESSY UGMA NJ   PO BOX 528                                                                                      RIVERSIDE       PA    17868‐0528

JANA SUE HENNESSY CUST TYLER EDWARD HENNESSY   22639 NE ALDER CREST DRIVE                UNIT 101                                                 REDMOND         WA    98053
UGMA NJ
JANA V THOMAS                                  777 N AIR DEPOT BLVD                      APT 3110                                                 OKLAHOMA CITY   OK    73110‐3777
JANA Y PETERS                                  614 PAT RD                                                                                         LEESBURG        FL    34748‐4458
JANAAN K SORGEN TOD DONALD B SORGEN SUBJECT TO 823 W FRANKLIN ST                                                                                  KENTON          OH    43326
STA TOD RULES
JANAAN M ROBERTS CUST NATHAN ROBERTS UTMA IL 5316 34TH AVENUE                                                                                     MOLINE          IL    61265‐5626

JANACE L LEE                                 2957 S 50TH ST                                                                                       MILWAUKEE       WI    53219‐3319
JANAE TERRI SHAW                             40670 DOUGLAS DR                            APT 104                                                  CANTON          MI    48188‐1364
JANAH ALDRICH                                6675 N WINANS ROAD                                                                                   ALMA            MI    48801‐9572
JANAKI BALAKRISHNAN & RAMASWAMY BALAKRISHNAN 13912 GREEN BRANCH DR                                                                                PHOENIX         MD    21131‐1316
JT TEN
JANALEE A GRAHAM                             412 LINDENWOOD                                                                                       LINDEN          MI    48451‐8943
JANALEE DAVIS                                309 S CAMBRAY RD                                                                                     MUNCIE          IN    47304‐6738
JANALEE GARRETT                              29104 HAZELWOOD #55                                                                                  FLATROCK        MI    48134‐9630
JANAN P CROUSE                               10 FORESTAL CIRC                                                                                     NEWARK          DE    19711‐2986
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Name                                             Address1                                Address2                Address3          Address4               City             State Zip

JANANNE VAINE                                    1125 LOMA AVE STE 102                                                                                    CORONADO         CA    92118‐2835
JANCY C PETTIT                                   5606 SW FOXCROFT CIR S                                                                                   TOPEKA           KS    66614‐4107
JANE A ALTY                                      20 NEYNELL CRESCENT                     LONDON                                    E9 7AS GREAT BRITAIN
JANE A BARTHELME                                 717 HARDSCUFFLE CT                                                                                       BOWLING GREEN    KY    42103‐7931
JANE A BRADLEY & ROBERT M BRADLEY JT TEN         4305 GREENBROOK LN                                                                                       FLINT            MI    48507‐2227
JANE A BURGIN                                    35 W 9TH ST                                                                                              NY               NY    10011‐8901
JANE A BUTLER                                    125‐A SMOKE VALLEY RD                                                                                    STRATFORD        CT    06614
JANE A BUTTERFIELD                               1596 HARLAN DR                                                                                           DNAVILLE         CA    94526‐5349
JANE A CAMERON                                   29 W GLEN ST                                                                                             HOLYOKE          MA    01040‐2922
JANE A CUTTER                                    3536 EWINGS RD                                                                                           LOCKPORT         NY    14094‐1037
JANE A DAVENPORT                                 2109 CLAREGLEN COURT                    APT 102                                                          COVINGTON        KY    41017‐3901
JANE A EYLER                                     2544 BRIARCLIFFE AVE                                                                                     CINCINNATI       OH    45212‐1304
JANE A FARMER                                    420 VICTORIA BLVD                                                                                        KENMORE          NY    14217‐2219
JANE A FREDRICKS                                 88 HILES AVE                                                                                             SALEM            NJ    08079‐1253
JANE A GARRISON & L GARRISON TEN ENT             PO BOX 214                                                                                               SOUTH WINDAM     CT    06266‐0214
JANE A GICHENKO                                  12428 SNOW RD                                                                                            BURTON           OH    44021‐9771
JANE A GIVENS & JACK GIVENS JT TEN               PO BOX 553                                                                                               JACKSONVILLE     VT    05342‐0553
JANE A GOODWIN & OWEN F GOODWIN JT TEN           27 IROQUOIS DR                                                                                           WARWICK          RI    02888‐3507
JANE A HADLEY                                    2800 HOLLYHILL DRIVE                                                                                     LAFAYETTE        IN    47904‐2449
JANE A HALL                                      351 CAMINO PARQUE                                                                                        OCEANSIDE        CA    92057‐7333
JANE A HERRING                                   C/O ARAMAS A WATERS                     6421 SPV GLASS RUN                                               FORT WAYNE       IN    46804
JANE A IRWIN                                     9187 NORTE LAGO DRIVE                   5F                                                               BOCA RATON       FL    33428‐1913
JANE A JOHNSON                                   213 EVERGREEN DR                                                                                         FRANKLIN         PA    16323‐1864
JANE A KEATHLEY                                  4520 RALEIGH DRIVE                                                                                       CONWAY           AR    72034‐3316
JANE A KELLS                                     11445 OLD MILL RD                                                                                        UNION            OH    45322‐9741
JANE A KENNEDY                                   700 DANBURY DR                                                                                           SIGNAL MTN       TN    37377‐2624
JANE A KENNEDY TOD GEORGE E KENNEDY SUBJECT TO   3104 EAST 10 NORTH                                                                                       KOKOMO           IN    46901
STA TOD RULES
JANE A LANEY TR JANE A LANEY LIVING TRUST        2560 N LATHROP ROAD                                                                                      SWANTON          OH    43558
JANE A LEADFORD                                  113 DOLPHIN DR E                                                                                         OLDSMAR          FL    34677‐2512
JANE A LEAVELL                                   247 GEORGIA AVE                                                                                          ELYRIA           OH    44035‐7129
JANE A LEWIS TR UW SAMUEL P CLAPPER              2302 TUCKER LN                                                                                           GWYNN OAK        MD    21207‐6638
JANE A LIEBMAN TOD MARY E VARGO                  4147 LEITH ST                                                                                            BURTON           MI    48509‐1032
JANE A LIPPE                                     11043 MARTINDALE DR                                                                                      WESTCHESTER      IL    60154‐4917
JANE A MAURICE                                   22 HERBERT ST                                                                                            BEACON           NY    12508‐2835
JANE A MCLAUGHLIN                                102 W SUTTON ST                                                                                          CLAY CENTER      NE    68933‐1148
JANE A MITCHELL                                  370 BUTTONWOOD DR                                                                                        BREA             CA    92821‐3519
JANE A OYLER                                     7 MUIRFIELD COURT                                                                                        BROWNSBURG       IN    46112‐8326
JANE A PACYNA                                    ATTN JANE P ALLEN                       APT 803                 300 WOODETTE DR                          DUNEDIN          FL    34698‐1768
JANE A PESCH                                     JANE A MANNING                          17381 SMOKEY RIVER DR                                            SONORA           CA    95370‐8980
JANE A PUGH & JANELL L WEIST JT TEN              274 FOX HILL RD                                                                                          NEWBURG          PA    17240‐9395
JANE A PUGH & LINDA L DAVIS JT TEN               274 FOX HILL RD                                                                                          NEWBURY          PA    17204
JANE A PUGH & NANCY L GROVE JT TEN               274 FOX HILL RD                                                                                          NEWBURG          PA    17240‐9395
JANE A REARICK                                   8350 EAGLE RD                                                                                            KIRTLAND         OH    44094‐9348
JANE A REID                                      2895 BRIDGESTONE CIR                                                                                     KOKOMO           IN    46902‐7007
JANE A ROGERS                                    207 N CHURCH ST                                                                                          MCCOLL           SC    29570‐2301
JANE A SCOTT & CLYDE W SCOTT JT TEN              3716 COUNTRY CLUD DR                                                                                     ST CLAIR SHORE   MI    48082
JANE A SCOTT & JOHN A SCOTT JT TEN               3896 LAKEFRONT                                                                                           WATERFORD        MI    48328
JANE A SHOMGARD & M LYNN SHOMGARD TEN ENT        315 AMHURST AVE                         LINCOLN PARK                                                     READING          PA    19609‐2407

JANE A STYCZYNSKI                                234 SCHINDLER RD                                                                                         AUGUSTA          MO    63332‐1402
JANE A SZUREK                                    164 PROSPECT ST                                                                                          PROVIDENCE       RI    02906‐1443
JANE A TETTING                                   10461 W SYLVIA ST                                                                                        MILWAUKEE        WI    53224‐2622
JANE A WALTON                                    1403 VERMONT ST                                                                                          SAGINAW          MI    48602‐1772
JANE A WLEKLINSKI DOUGHMAN & PAUL W              611 E UNIVERSITY ST                                                                                      BLOOMINGTON      IN    47401‐4830
DOUGHMAN JT TEN
JANE A ZAKRESKI                                  3240 OAK AVE                                                                                             SCRANTON         PA    18505‐2935
JANE A ZATKOVICH                                 ATTN JANE A VAVRICA                     38 LARCH COURT                                                   FISHKILL         NY    12524‐2628
JANE ALDRIDGE                                    2178 KINGS CROSS STREET                                                                                  TITUSVILLE       FL    32796
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Name                                               Address1                                Address2                Address3       Address4          City              State Zip

JANE ALISON TREEN                                  35 TOWER AVE                                                                                     NEEDHAM           MA    02494‐1907
JANE ALLEN                                         2403 STANNYE COURT                                                                               LOUISVILLE        KY    40222‐6334
JANE ALLEN LASH                                    1427 WOODHURST ST                                                                                BOWLING GREEN     KY    42104‐3321
JANE ALLERS KURTZ                                  4 FERNWOOD DR                                                                                    PITTSBURGH        PA    15228‐2425
JANE ANDREA PURDY GEISREITER                       2455 UNION STREET #411                                                                           SAN FRANCISCO     CA    94123‐3860
JANE ANGELA WILLIS                                 27179 EAGLE CT                                                                                   CHESTERFIELD      MI    48051‐3194
JANE ANN BRYSON                                    25101 ROCKWELL LN                                                                                PLAINFIELD        IL    60544‐2219
JANE ANN BUCHANAN                                  16419 WEST YELLOW BUD CT                                                                         CYPRESS           TX    77433‐6104
JANE ANN CLOCK                                     3474 S 380 E                                                                                     CHESTERFIELD      IN    46017‐9709
JANE ANN FEECK CASEY                               THREE ELM STREET                                                                                 COOPERSTOWN       NY    13326‐1213
JANE ANN GRAHAM                                    938 CHARLESTON COURT                                                                             GAINESVILLE       GA    30501
JANE ANN HARDT                                     11A GLADSTONE ST                                                                                 CONCORD           NH    03301‐3130
JANE ANN KANAN & MISS PATRICE KANAN JT TEN         6250 GLENFIELD DRIVE                                                                             SHAWNEE MISSION   KS    66205‐3436

JANE ANN LEMEN                                     6085 MANNING RD                                                                                  INDIANAPOLIS      IN    46228‐1047
JANE ANN LONGENECKER                               309 S HIGH ST                                                                                    COVINGTON         OH    45318‐1121
JANE ANN MC NEILL                                  11105 BLUESTEM LANE                                                                              EDEN PRAIRIE      MN    55347‐4732
JANE ANN MOSS & HARRY MOSS TEN ENT                 607 W MAIN ST                           C/O H MOSS REALTY                                        UNIONTOWN         PA    15401‐2603
JANE ANN NELSON CUST CONNOR HENRY NELSON           241 WOODCREEK COURT                                                                              COMMERCE          MI    48390‐1275
UTMA MI
JANE ANN NELSON CUST HARVEY COLIN NELSON UTMA      241 WOODCREEK COURT                                                                              COMMERCE          MI    48390‐1275
MI
JANE ANN PAYNE                                     6452 1/2 W OLYMPIC BLVD                                                                          LOS ANGELES       CA    90048‐5330
JANE ANN PESCH                                     JANE A MANNING                          17381 SMOKEY RIVER DR                                    SONORA            CA    95370‐8980
JANE ANN PETERSON                                  1625 S ELIZABETH                                                                                 KOKOMO            IN    46902‐2457
JANE ANN RICKARD                                   1968 S MARLAN                                                                                    SPRINGFIELD       MO    65804‐2670
JANE ANN STATZELL                                  551 ROBERTA DRIVE                                                                                POTTSTOWN         PA    19465‐7457
JANE ANN WARREN                                    2624 ST JAMES DR                                                                                 SOUTHPORT         NC    28461‐8554
JANE ANNE ROBERTS CUST GABRIEL BOOTHROYD           835 E 31ST AVE                          VANCOUVER BC                           V5V 2X2 CANADA
ROBERTS UNDER THE MI U‐G‐M‐A
JANE ANNE ROBERTS CUST KATHLEEN BOOTHROYD          835 E 31ST AVE                          VANCOUVER BC                           V5V 2X2 CANADA
ROBERTS UNDER THE MI U‐G‐M‐A
JANE ANNE WHITE                                    624 BEECHWOOD DR                                                                                 WOOSTER           OH    44691‐2705
JANE APPLETON GREENE                               PO BOX 3125                                                                                      WEST TISBURY      MA    02575‐3125
JANE ARMISTEAD SELMAN                              PO BOX 1193                                                                                      SOUR LAKE         TX    77659‐1193
JANE AUSTIN STAUFFER                               1019 OLD GULPH ROAD                                                                              BRYN MAWR         PA    19010‐1738
JANE AYRE LION                                     3512 BURROWS AVE                                                                                 FAIRFAX           VA    22030‐2902
JANE B ATESOGLU                                    12 HAGGERTY RD                                                                                   POTSDAM           NY    13676‐3203
JANE B BALLANTINE                                  423 N CLAY                                                                                       HINSDALE          IL    60521‐3211
JANE B BAYNARD                                     PO BOX 1535                                                                                      CHIEFLAND         FL    32644‐1535
JANE B BINGER                                      5930 ROUNDLAKE RD                                                                                LAINGSBURG        MI    48848‐9454
JANE B BLUM                                        2314 THEALL RD                                                                                   RYE               NY    10580‐1425
JANE B CANTRELL & JULIE B WILKINS JT TEN           3099 PINEY RIVER TRAIL                                                                           NUNNELLY          TN    37137
JANE B CARTER TR CARTER LIVING TRUST UA 10/26/00   6019 SHERBORN LN                                                                                 SPRINGFIELD       VA    22152‐1628

JANE B CASTO                                       301 ROOSEVELT AVE                                                                                W MEMPHIS         AR    72301‐3955
JANE B COLLIER                                     PO BOX 622                                                                                       RAWLINS           WY    82301‐0622
JANE B CRAFT                                       PO BOX 133                                                                                       BOULDER CREEK     CA    95006‐0133
JANE B CROUCH                                      203 CARA COVE RD                                                                                 NORTH EAST        MD    21901‐5406
JANE B EVERHART                                    417 TYLER AV                                                                                     MCALLEN           TX    78503‐3014
JANE B GILLOGLY                                    1 PATTEN LN                                                                                      WESTFORD          MA    01886‐2937
JANE B GODFREY                                     176 SOMERSET DR                                                                                  ALBANY            GA    31721‐6308
JANE B HUGHES                                      2569 FORREST DR                                                                                  KINSTON           NC    28504‐8169
JANE B JACOBS                                      5385 LAURED PL                                                                                   CINCINNATI        OH    45238‐3613
JANE B JOHNSON                                     6 POCONO RIDGE ROAD                                                                              BROOKFIELD        CT    06804
JANE B JOHNSON                                     8535 CHARLESTON DR                                                                               SOUTHAVEN         MS    38671‐3428
JANE B KROPP & DAVID R KROPP JT TEN                20065 WATERFORD LANE                                                                             HUNTINGTON        CA    92646‐4446
                                                                                                                                                    BEACH
JANE B LIZELL                                      1714 FORT WASHINGTON AVE                                                                         MAPLE GLEN        PA    19002‐3024
                                             09-50026-mg                   Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                                Address1                              Address2               Address3        Address4          City              State Zip

JANE B LOHSE & ROBERT R LOHSE TR UA 06/23/93 JANE   5718 SW 38TH ST                                                                                TOPEKA            KS    66610‐1252
B LOHSE TRUST
JANE B MCCABE                                       7 GREENBRIER DR                                                                                BARRINGTON        RI    02806‐3817
JANE B MCLOGAN                                      6648 FARMS END DRIVE SE                                                                        GRAND RAPIDS      MI    49546‐6620
JANE B NIGRA TR JANE H NIGRA U‐A WITH EMELINE T     PO BOX 38                                                                                      CLAIBORNE         MD    21624
BRAWLEY 12/13/77
JANE B NIGRA TR PETER T NIGRA U‐A WITH EMELINE      PO BOX 38                                                                                      CLAIRBORNE        MD    21624
TBRAWLEY 11/24/76
JANE B PARINA                                       5971 WOODSIDE RD                                                                               HIGHLAND HEIGHTS OH     44143‐2121

JANE B PISAPIA                                      23 TOOFS DRIVE                                                                                 WINCHESTER        NH    03470‐2926
JANE B RESNICK                                      331 WILLOW COURT                                                                               RIDGEWOOD         NJ    07450‐5205
JANE B ROTH                                         3730 WESTERMAN ST                                                                              HOUSTON           TX    77005‐1136
JANE B SCHMITT                                      2501 SCARSBOROUGH DR                                                                           RICHMOND          VA    23235‐2705
JANE B SHUHY TR JANE B SHUHY TRUST UA 09/28/94      5015 SOUTHERN PINE CIRCLE                                                                      VENICE            FL    34293‐4245

JANE B STONE TR JANE B STONE REV TRUST UA 07/30/02 5902 ROLLING OAKS COURT                                                                         NAPLES            FL    34110‐2303

JANE B SULZBERGER                                   60 N WILLARD AVE                                                                               HAMPTON           VA    23663‐1739
JANE B TALLANT CUST ROBERT M TALLANT UTMA MS        6022 MAPLEWOOD DT                                                                              FLOWOOD           MS    39232‐8737

JANE B TREXLER                                      15 QUAIL HILL CT                                                                               GREENVILLE        SC    29607‐3639
JANE BAILEY & SUSAN L OSBORN JT TEN                 14791 BREWSTER CT                                                                              SHELBY TOWNSHIP   MI    48315‐4408

JANE BAIRD LINN                                     4804 BAKER ST                                                                                  NORMAN            OK    73072‐3858
JANE BAKER SEGELKEN                                 114 TEXAS LN                                                                                   ITHACA            NY    14850‐1755
JANE BARNET                                         168 EAST 74TH ST                      #7B                                                      NEW YORK          NY    10021‐3561
JANE BECK SMITH                                     902 EAST SHERIDAN                                                                              LARAMIE           WY    82070‐3946
JANE BEESE OMEARA                                   215 QUAKER RIDGE RD                                                                            TIMONIUM          MD    21093‐3025
JANE BEETHAM JONES                                  THE FOREST AT DUKE 4024               2701 PICKETT RD                                          DURHAM            NC    27705‐5652
JANE BELL FARBER CUST JUSTIN BELL FARBER UTMA LA    7 RUE LEMANS                                                                                   KENNER            LA    70065‐2024

JANE BETLEIEWSKI                                 738 FOURTH ST                                                                                     LYNDHURST         NJ    07071‐3204
JANE BODINE                                      24018 WINTERGREEN CIRCLE                                                                          NOVI              MI    48374‐3682
JANE BOOZER                                      7215 AUTUMN LAKE TRAIL                                                                            HIXSON            TN    37343‐6500
JANE BRAMLETT TR JANE BRAMLETT TRUST UA 01/10/95 2930 GOLFHILL DR                                                                                  WATERFORD         MI    48329‐4513

JANE BROCK                                          1112 WATER BLUFF WAY                                                                           ANDERSON          IN    46013‐6002
JANE BROUDE                                         5380 WATERS EDGE DR                                                                            HOPKINS           MN    55343‐9499
JANE BROWN CUST JEFFREY KARL BROWN UGMA IN          1770 SOUTH DR                                                                                  COLUMBUS          IN    47203‐3639

JANE C BRADSHAW                                     868 FARO RD                                                                                    FREMONT           NC    27830‐9318
JANE C BROWER                                       ATTN JANE C SEARLES                   1901 DANNEMORA DRIVE                                     VIRGINIA BEACH    VA    23456‐3649
JANE C BUCKENBERGER                                 C/O NORMA BUCKENBERGER                475 WEST KANAWHA AVE                                     COLUMBUS          OH    43214‐1437
JANE C DAILEY                                       1914 DARTMOUTH DR                                                                              DURHAM            NC    27705‐2607
JANE C DAVISON                                      1262 SHADOWBARK COURT                                                                          RALEIGH           NC    27603‐5704
JANE C DOLAN                                        2187 MIDLAND RD                                                                                BAY CITY          MI    48706‐9485
JANE C FARLEY                                       1601 SAM LIONS TRL                                                                             MARTINSVILLE      VA    24112‐5630
JANE C FOUST & JAMES W FOUST TEN ENT                293 KING ST                                                                                    TURBOTVILLE       PA    17772
JANE C FREEMAN                                      PO BOX 343                                                                                     WHITEHALL         MI    49461
JANE C GAUL                                         7190 BERESFORD AVENUE                                                                          PARMA             OH    44130‐5054
JANE C GIBSON                                       18607 HOMEWOOD AVE                                                                             HOMEWOOD          IL    60430‐3722
JANE C GLENNON & KEVIN M GLENNON JT TEN             63 COLUMBIA AVE                                                                                JERSEY CITY       NJ    07307‐4131
JANE C GOSTYLA                                      1153 LAKE VALLEY DRIVE                                                                         FENTON            MI    48430‐1229
JANE C GRIGG                                        66 MELANIE LANE                                                                                TROY              MI    48098‐1707
JANE C HANLEY                                       183 BEARLY HIWAY                                                                               KILLINGTON        VT    05751
JANE C HANSEN & RANDALL W HANSEN JT TEN             32 11TH AVE S #105                                                                             HOPKINS           MN    55343
JANE C HEPSOE                                       8330 OLD OCEAN VIEW RD                                                                         NORFOLK           VA    23518‐2520
JANE C HINSON                                       PO BOX 595                                                                                     QUINCY            FL    32353‐0595
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JANE C HOLLAND                                   5335 HALCYON DR                                                                                 COLLEGE PARK      GA    30349‐1504
JANE C JURKIEWICZ                                2282 POLAND                                                                                     HAMTRAMCK         MI    48212‐3422
JANE C KELLEHER                                  4 GLEN HOLLOW                                                                                   WEST HARTFORD     CT    06117‐3022
JANE C MORAN                                     1530 CYPRESS                                                                                    WEST BLOOMFIELD   MI    48324‐3911

JANE C O'BRIEN                                   1030 SILVERBELL RD                                                                              ROCHESTER         MI    48306‐1571
JANE C RITTENMEYER CUST JILL MARIE RITTENMEYER   15867 VIA PINALE                                                                                SAN LORENZO       CA    94580‐2361
UGMA CA
JANE C SABOSIK                                   25 RANDOLPH AVE                                                                                 OLD BRIDGE        NJ    08857‐1114
JANE C STUDER                                    2026 RIDGE RD                                                                                   DUNLAP            TN    37327‐7719
JANE C W HANSON                                  2118 CRYSTAL BROOK DR                                                                           WALL              NJ    07719‐9713
JANE C WILKE                                     1812 BELLEMEADE CT                                                                              CINCINNATI        OH    45230‐2070
JANE C WILLIAMS                                  2637 CARMEN DR                                                                                  ROCKY RIVER       OH    44116‐3313
JANE C WINANS                                    APT 33                                 765 VALLEY ST                                            ORANGE            NJ    07050‐1055
JANE C WINCH                                     120 CRYSTALWOOD DR                                                                              LAFAYETTE         LA    70506
JANE CADRAIN                                     162 VINEYARD ST                                                                                 NEWINGTON         CT    06111‐4923
JANE CARD & WILLIAM C CARD JT TEN                8527 VASSAR                                                                                     CANOGA PARK       CA    91304‐2541
JANE CARLSON VANDERPLOEG                         145 WOODSON DR                                                                                  FORSYTH           MO    65653‐5231
JANE CAROLYN MC DONOUGH                          C/O MRS CHARLES ARLIN                  11 BALDIN DR                                             MIDLAND PARK      NJ    07432‐1509
JANE CARTER                                      RT 2 BOX 215                                                                                    WAURIKA           OK    73573‐9674
JANE CHAMBERS                                    10201 MASON AVE                        UNIT 55                                                  CHATSWORTH        CA    91311‐3332
JANE CHARBONNEAU                                 372 LOPAS STREET                                                                                MENASHA           WI    54952‐3421
JANE CHIN & JAY CHIN JT TEN                      128 POST RD                                                                                     OLD WESTBURY      NY    11568‐1705
JANE CHIN & PENNY JANE CHIN JT TEN               128 POST RD                                                                                     OLD WESTBURY      NY    11568‐1705
JANE CLAIRE ANDERSON GREEN                       10 WEBB ROAD                                                                                    WINTER HAVEN      FL    33881‐9293
JANE CLARK LAUBE                                 PSC 473 BOX 1544                                                                                FPO               AP    96349‐1544
JANE CLEVELAND GORDEN                            11330 GREENBAY DRIVE                                                                            HOUSTON           TX    77024‐6733
JANE COFFEE WILLIAMSON                           1401 JAMES                                                                                      GEORGETOWN        TX    78626‐7257
JANE COLE MUCKRIDGE & TERESA CAROL SCHWERIN JT   78 MAPLE LN                                                                                     WAYNE             NJ    07470‐6319
TEN
JANE COLLIER                                     3718 W COUNTY RD 4                                                                              BERTHOUD          CO    80513‐8508
JANE CONNOLLY                                    10 CHAPMAN ST UNIT 104                 E WEYMOUTH                                               EAST WEYMOUTH     MA    02189
JANE COOK CANNELLA                               505 CRYSTAL CIRCLE                                                                              MANKATO           MN    56001
JANE COPE & KELLIE ANNE RONALD JT TEN            145 95TH ST                            APT B4                                                   BROOKLYN          NY    11209‐7236
JANE CREA SMALL                                  4611 TORREY PINES CT                                                                            ESTERO            FL    33928‐5974
JANE D BARNETT                                   865 GILL ST                                                                                     OXFORD            MI    48371‐4528
JANE D GANO                                      2309 GANO RD                                                                                    WILMINGTON        OH    45177‐9632
JANE D GUARNERI                                  18 RUE EUGENE CARRIERE                 67000 STRASBOURG                       FRANCE
JANE D HADDON                                    1423 MYRADARE DRIVE                                                                             RICHMOND          VA    23229‐4809
JANE D HAMMON TR JANE D HAMMON REV LIVING        7101 SALEM CROSSING PL                                                                          ENGLEWOOD         OH    45322‐2570
TRUST UA 02/08/96
JANE D HUDSON                                    106 HIGHLAND AVE                                                                                GEORGETOWN        DE    19947‐1704
JANE D LAUGHEAD                                  432 MUSKET DRIVE                                                                                MORRISVILLE       PA    19067
JANE D LAWRENCE TR JANE D LAWRENCE REVOCABLE     2644 MOSS OAK DR                                                                                SARASOTA          FL    34231‐2930
TRUST UA 02/22/00
JANE D MELILLO & JAMES R MELILLO JT TEN          9404 NORTH CHURCH DR                   APT 214                                                  PARMA HEIGHTS     OH    44130‐4723
JANE D MUDWILDER                                 10422 WEMBERLEY HILL BLVD                                                                       LOUISVILLE        KY    40241‐3416
JANE D PEAKE                                     103 RUSSELL AVE                                                                                 SUFFIELD          CT    06078‐1603
JANE D PIOTROWSKI                                18086 75TH AVE                                                                                  CHIPPEWA FALLS    WI    54729‐6443
JANE D SARGENT                                   125 CRESTVUE MANOR DRIVE                                                                        PITTSBURGH        PA    15228‐1814
JANE D WALSH                                     26 LATIMER CT                                                                                   ROCKVILLE CNTR    NY    11570‐5021
JANE D YUEN CUST LAURA ELIZABETH WAI‐LAN YUEN    14829 SE SEDONA DR                                                                              CLACKAMAS         OR    97015‐7633
SRA UGMA AK
JANE DAGENAIS                                    3911 SABAL PALM DR                                                                              VERO BEACH        FL    32963‐1414
JANE DALGER                                      1245 BURLINGTON AVE                                                                             BRISTOL           CT    06010‐2422
JANE DEALE WILLIAMS                              6434 ARTESIAN                                                                                   DETROIT           MI    48228‐4906
JANE DEBORAH SCHULMAN                            9 NORTHWOOD CT                                                                                  DIX HILLS         NY    11746‐5227
JANE DONALSON SUTTON                             121 TIFTON ST                                                                                   ADVANCE           NC    27006‐8505
JANE DOOLEY KAUFMAN                              PO BOX 1062                                                                                     LOUISVILLE        TN    37777‐1062
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JANE DORIS EHRLICH                              88 SPARKS ST                                                                                        CAMBRIDGE         MA    02138‐2216
JANE DUNN                                       7866 FRANKLIN TRENTON RD                                                                            FRANKLIN          OH    45005
JANE DYKES HERNDON                              204 S LINTON RD                                                                                     COLUMBUS          GA    31904‐2271
JANE E ARCILESI                                 22 HUNTINGTON PLACE                                                                                 BEL AIR           MD    21014‐5308
JANE E BIXLER                                   616 HOLLY HILL ROAD                                                                                 VESTAL            NY    13850‐2906
JANE E BRODERICK                                4 RIVERWAY RD                                                                                       SALEM             MA    01970‐5352
JANE E BROWNSEY CUST TRACY E FLACK UTMA FL      7225 SW 125 ST                                                                                      MIAMI             FL    33156‐5328
JANE E BURVENICH                                549 LOMBARDY BL                                                                                     BRIGHTWATERS      NY    11718‐1032
JANE E CAPLICE                                  4193 TEAKWOOD DR                                                                                    WILLIAMSBURG      VA    23188‐7802
JANE E CARTER CUST CHRISTOPHER G LETSOU UGMA CT 6433 MERCER ST                                                                                      HOUSTON           TX    77005‐3733

JANE E CARTER CUST PHILIP T LETSOU UGMA CT         6433 MERCER                                                                                      HOUSTON           TX    77005‐3733
JANE E CHARREY                                     14032 FRIENDSHIP DR                                                                              HERRIMAN          UT    84096‐1787
JANE E CLARK                                       806 SUZANNE AVE                                                                                  LAS CRUCES        NM    88005‐1296
JANE E CORBETT                                     C/O CAROL KRAFT                         502 DENISON CIRCLE                                       SHEBOYGAN FLS     WI    53085
JANE E CUREY                                       520 LELAND                                                                                       FLUSHING          MI    48433‐3301
JANE E DARMER                                      1652 W 74TH PLACE                                                                                INDIANAPOLIS      IN    46260‐3108
JANE E DOKE                                        4821 DEL VIEW DR                                                                                 DEL CITY          OK    73115‐4450
JANE E FORBES & DOUGLAS L FORBES JT TEN            14160 SUSANNA                                                                                    LIVONIA           MI    48154‐5911
JANE E FORGET                                      76 GREEN AVENUE                                                                                  CASTLETON         NY    12033‐1409
JANE E FRANTA                                      11266 E ATHERTON ROAD                                                                            DAVISON           MI    48423‐9111
JANE E GASTELUM                                    2171 WEST CAMELOT                                                                                WEST JORDAN       UT    84084‐3205
JANE E GEER                                        3001 OLD ORCHARD RD                                                                              DAVIE             FL    33328‐6762
JANE E GOD & WARREN GOD JT TEN                     3 CHANTILLY LN                                                                                   FAIRPORT          NY    14450‐4621
JANE E GROMBIR                                     1090 LAKESIDE DRIVE                                                                              OWOSSO            MI    48867‐8814
JANE E HALLBERG                                    75 BAYVIEW DR                                                                                    HUNTINGTON        NY    11743‐1562
JANE E HANSEN                                      8103 BANNERWOOD CT                                                                               ANNANDALE         VA    22003‐1292
JANE E HOAG                                        JANE E HOAG NEUHARTH                    8212 DAWN HILL DRIVE SE                                  OLYMPIA           WA    98513‐5605
JANE E HOLLERBACH                                  406 ORCHARD ST                                                                                   CRANFORD          NJ    07016‐1828
JANE E HUGHES                                      6250 DOUGLAS ROAD                                                                                LAMBERTVILLE      MI    48144‐9403
JANE E IVES                                        APT B105                                32‐42 92ND ST                                            JACKSON HEIGHTS   NY    11369‐2462

JANE E JOHNSON                                     4719 S ST RT 721                                                                                 LAURA             OH    45337
JANE E JUBB                                        1577 KING CHARLES DR                                                                             PITTSBURGH        PA    15237‐1582
JANE E JUREW & OTTO M JUREW JR JT TEN              11652 CYGNET DR                                                                                  WALDORF           MD    20601
JANE E KARR                                        1446 VISTAVIEW DR                                                                                ROCHESTER HLS     MI    48306
JANE E KURKOWSKI & JENNIFER E RICKARD JT TEN       6724 BURNHAM                                                                                     CANTON            MI    48187‐3017
JANE E LANDIS                                      241 CALLE MAYOR                                                                                  REDONDO BEACH     CA    90277‐6513
JANE E LAWSON                                      3505 N PROW RD                                                                                   BLOOMINGTON       IN    47404‐1615
JANE E LEWIS                                       1306 CEDAR RIDGE CIRCLE                                                                          RAYMORE           MO    64083‐9089
JANE E LIST                                        17373 OLD STATE RD                                                                               MIDDLEFIELD       OH    44062‐9121
JANE E MCCORMICK                                   17 DOUGLAS ROAD                                                                                  BELMONT           MA    02478‐3910
JANE E MILLS                                       142 CREAMER DR                                                                                   CEDARVILLE        OH    45314‐8505
JANE E MORI                                        669 ERIN AVE S E                                                                                 ATLANTA           GA    30310‐4210
JANE E MORRISON CUST DANIEL M BOWSER UGMA          BOX C                                                                                            STUART            IA    50250‐0555

JANE E MORRISON CUST STEPHEN M BOWSER UTMA IA BOX C                                                                                                 STUART            IA    50250‐0555

JANE E MUTO                                        18 MAPLE STREET                                                                                  FRAMINGHAM        MA    01702‐2916
JANE E NOVY & KATHIE J N DECKER TR JANE E NOVY     4331 OAKRIDGE TRAIL NE                                                                           IOWA CITY         IA    52240
TRUST UA 07/28/99
JANE E OLSON                                       612 VAUGHN RD                                                                                    ROYERSFORD        PA    19468
JANE E PINCKNEY                                    11 DOWNING ST                                                                                    WEST HARTFORD     CT    06110‐2113
JANE E POGUE                                       671 KIMLYN AVE                                                                                   NORTH             PA    15642‐1992
                                                                                                                                                    HUNTINGDON
JANE E POISSON                                     13819 PERRIN DR                                                                                  CARMEL            IN    46032‐5268
JANE E POWERS                                      9027 DEER CREEK RD                                                                               GREENTOWN         IN    46936‐9622
JANE E ROBERTSON                                   12306 SOUTH COUNTY ROAD 950 E                                                                    GALVESTON         IN    46932‐8773
JANE E SCHMIDLEY                                   500 WISCONSIN ST N                      APT 119                                                  HUDSON            WI    54016‐3032
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Name                                             Address1                             Address2             Address3          Address4          City              State Zip

JANE E SCHNARE & JOAN F SCHRAER & RICHARD F       73 POMEROY DR                                                                                PINEHURST         NC    28374‐9740
SCHNARE JT TEN
JANE E SCHOONOVER                                 5030 SOUTH OAK LANE                                                                          STANDISH          MI    48658‐9611
JANE E STARKEY                                    1196 WILLARD AVE                                                                             COLUMBUS          OH    43212‐3569
JANE E TAYLOR                                     1901 WASHINGTON ST                                                                           WILMINGTON        DE    19802‐4716
JANE E TAYLOR & REECE A TAYLOR JR JT TEN          1901 WASHINGTON ST                                                                           WILM              DE    19802‐4716
JANE E WADOWSKI                                   62 GEORGE WASHINGTON TPKE                                                                    BURLINGTON        CT    06015‐2412
JANE E WALSH                                      8 LUFKIN STREET                                                                              ESSEX             MA    01929‐1317
JANE E WELLS                                      1247 MCKINLEY AVENUE                                                                         BELOIT            WI    53511
JANE E WESLEY                                     5729 S COOK RD                                                                               OWOSSO            MI    48867‐8912
JANE E WINANS                                     3923 AFRICA ROAD                                                                             GALENA            OH    43021‐9579
JANE E WINWARD                                    1335 MAPLE AVE                                                                               WILMINGTON        DE    19805‐5036
JANE E WYLIE                                      16 OVINGTON DRIVE                                                                            TRENTON           NJ    08620‐1510
JANE E ZEVENBERGEN                                52 SPRAY DRIVE                                                                               MUNROE FALLS      OH    44262‐1323
JANE EDISON                                       1508 HIGHWAY #179                                                                            LAMBERTVILLE      NJ    08530
JANE EHRENBERG ROSEN                              10 W 86TH ST                                                                                 NEW YORK          NY    10024‐3606
JANE EK STRONG CUST COLIN STRONG UTMA WI          1036 RUSTIC RD RTE #3                                                                        GLENWOOD          WI    54013
JANE ELEANOR MARSHALL                             ATTN JANE MARSHALL BASHARA          6048 EASTWOOD TERR                                       NORFOLK           VA    23508‐1111
JANE ELIZABETH HANSEN                             1707 NW 104TH ST                                                                             CLIVE             IA    50325
JANE ELIZABETH HUNTOON                            BOX 469                                                                                      HOLDERNESS        NH    03245‐0469
JANE ELIZABETH MATLAS                             55432 KINGSWAY DR                                                                            SHELBY TWP        MI    48316‐1079
JANE ELIZABETH ORR                                179 STONEHILL DRIVE                                                                          RICHMOND          VA    23236‐2836
JANE ELIZABETH SAMPLE CUST DANIELLE E SAMPLE      980 PALMETTO DR                                                                              HUBBARD           OH    44425‐1351
UGMA OH
JANE ELIZABETH ZANDER                             323 S BRANCH RD                                                                              HILLSBOROUGH      NJ    08844‐3337
JANE ELLEN CHILCOAT TR JANE ELLEN CHILCOAT FAMILY 5177 W 139TH ST                                                                              HAWTHORNE         CA    90250‐6554
TRUST UA 07/30/02
JANE ELLEN CUSH                                   18 SHADY HOLLOW RD                                                                           PITTSBURGH        PA    15239‐2540
JANE ELLEN HADELMAN                               15 MONTGOMERY LN                                                                             GREENWICH         CT    06830‐4012
JANE ELLEN HOGAN                                  20 DELLWORTH ROAD                                                                            YORKTOWN          NY    10598‐6635
                                                                                                                                               HEIGHTS
JANE ELLEN KRAHE                                 511 VERMONT AVE                                                                               ERIE              PA    16505‐2337
JANE ELLEN MARTIN KUHN                           5 HILLCREST AVE                                                                               LARCHMONT         NY    10538‐2304
JANE EPPLE EMERSON & WILLIAM HARRY EMERSON JT    593 GREENVALE RD                                                                              LAKE FOREST       IL    60045‐1526
TEN
JANE ESTOCK                                      5053 W REID RD                                                                                SWARTZ CREEK      MI    48473‐9437
JANE F BAILEY                                    4272 AHLSTRAND DR                                                                             ROCKFORD          IL    61101‐8804
JANE F BEARD                                     12635 NE 6TH ST                                                                               BELLEVUE          WA    98005‐3213
JANE F BUTLER CUST TRACEY DANIELLE BUTLER UGMA   106 HULAN STREET                                                                              SHELBYVILLE       TN    37160‐2233
TN
JANE F GUAGLIARDO                                1911 N 77TH CT                                                                                ELMWOOD PARK      IL    60707‐3623
JANE F HEISS & IRENE B HEISS JT TEN              501 RILEY LN                                                                                  W LAFAYETTE       IN    47906‐2368
JANE F MC DONOUGH                                12422 SADLER LN                                                                               BOWIE             MD    20715‐3106
JANE F MEAGHER                                   PO BOX 416                                                                                    WEST OSSIPEE      NH    03890
JANE F NEUSSENDORFER                             4231 TAFT RD                                                                                  FLINT             MI    48532‐4440
JANE F NYCE                                      877 FULTON AVE                                                                                LANSDALE          PA    19446‐5345
JANE F ODERBERG & SIMON W ODERBERG JT TEN        6053 WONDER DR                                                                                FT WORTH          TX    76133‐3647
JANE F PIERCE                                    53 LINDSLEY RD                                                                                N CALDWELL        NJ    07006‐4506
JANE F RILEY                                     5203 MCCARTNEY ROAD                                                                           SANDUSKY          OH    44870‐1529
JANE F ROTHSCHILD                                PO BOX 11404                                                                                  MONTGOMERY        AL    36111‐0404
JANE F VOGLER                                    51517 HICKORY LN                                                                              MACOMB            MI    48042‐3525
JANE F WHEATLEY                                  2590 E COUNTY ROAD 820 SO                                                                     GREENSBURG        IN    47240
JANE FACTOR                                      108 LINCOLN AVE                                                                               HIGHLAND PARK     NJ    08904‐1852
JANE FOUST                                       293 KING ST                                                                                   TURBOTVILLE       PA    17772‐8812
JANE FRANCES BEATTIE                             21 BROWN HOUSE ROAD                                                                           OLD GREENWICH     CT    06870‐1502
JANE FRANCES GODRON TR U‐A WITH ELIZABETH B      ATTN JANE F GODRON SYLVESTER         10 COMPASS LN                                            FORT LAUDERDALE   FL    33308‐2010
QUINLISK 11/7/73
JANE FRANCES HAGAN                               2906 PINDELL AVE                                                                              LOUISVILLE        KY    40217‐1753
JANE FULKROD                                     28 N MORNINGSIDE DR                                                                           BINGHAMTON        NY    13905‐1213
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JANE G CHADIMA & JOSEPH T CHADIMA JT TEN       900 POND TERRACE                                                                                 FOUNTAIN         CO    80817‐1684
JANE G DEAN                                    284 PAVEMENT RD                                                                                  LANCASTER        NY    14086‐9710
JANE G DEWAAL TR UA 09/21/92 JANE G DEWAAL     715 MAIDEN CHOICE LN                    APT PV614                                                CATONSVILLE      MD    21228
TRUST
JANE G FAIN & GERALD S FAIN JT TEN             18 LOMAS DR                                                                                      FRAMINGHAM       MA    01701‐3951
JANE G HAGLUND                                 W169 S7227 AVON CT                                                                               MUSKEGO          WI    53150‐8300
JANE G KEEL                                    BOX 261                                                                                          AIKEN            SC    29802‐0261
JANE G KELLEY                                  1634 W 6TH ST                                                                                    ANDERSON         IN    46016‐2638
JANE G PETH                                    700 SILVER SAGE AVE                                                                              CHEYENNE         WY    82009‐1099
JANE G ROBERTS                                 156 HOBBY HILL RD                                                                                SYLVESTER        GA    31791‐4006
JANE G ROWINSKY                                31396 STRAUGHN SCHOOL RD                                                                         ANDALUSIA        AL    36421‐5816
JANE GENSZLER ROHWER & HARRY M ROHWER JR JT    5000 EAST GRANT ROAD                    #58                                                      TUCSON           AZ    85712‐2741
TEN
JANE GIZZARELLI & FRANCES M PUCKETT JT TEN     172 PRINCESS HILL AVE                                                                            BARRINGTON       RI    02806‐3028
JANE GIZZARELLI & HAROLD PUCKETT JT TEN        172 PRINCESS HILL AVE                                                                            BARRINGTON       RI    02806‐3028
JANE GIZZARELLI & ROBERT F PUCKETT JT TEN      172 PRINCESS HILL AVE                                                                            BARRINGTON       RI    02806‐3028
JANE GOODMAN CUST DIANA R GOODMAN UTMA PA      R D 2 FISH HATCHERY                                                                              ALLENTOWN        PA    18103‐9801

JANE GORECKI                                    35582 PHEASANT LANE                                                                             WESTLAND         MI    48185‐6687
JANE GORNALL                                    94 SHIPHERD CIR                                                                                 OBERLIN          OH    44074‐1325
JANE GOTELLI CUST STEVEN ROBERT GOTELLI UGMA CA 2555 CLEAR ACRE #15                                                                             RENO             NV    89512‐1768

JANE GRABOWSKI EXEC OF THE EST OF JOSEPH C     4315 NORTH BAILEY AVENUE                                                                         AMHERST          NY    14226‐2134
GRABOWSKI
JANE GRANNIS                                   818 TERRY LANE                                                                                   KEY WEST         FL    33040
JANE H BODIFORD                                BOX 317                                                                                          POWDER SPRINGS   GA    30127‐0317

JANE H DWYER & JAYNIS DWYER PIXLEY & JOHN M    48 BEAR HILLS RD                                                                                 NEWTOWN          CT    06470‐2750
DWYER JR JT TEN
JANE H JAKES                                   300 KENNELY RD APT 230                                                                           SAGINAW          MI    48609‐7705
JANE H K BLEECKER                              404 CHURCHILL LANE                                                                               FAYETTEVILLE     NY    13066‐2543
JANE H MAJOR                                   1600 WESTBROOK AVE                      APT 118                                                  RICHMOND         VA    23227‐3315
JANE H NISHIMURA                               95‐306 KALOAPAU 107                                                                              MILILANI         HI    96789‐1258
JANE H NORTON TR JANE H NORTON REVOCABLE TRUST 10153 HIGHWAY 185                                                                                SULLIVAN         MO    63080‐3700
UA07/20/93
JANE H NORTON TR UA 07/29/1993 JANE H NORTON   10153 N HWY 185                                                                                  SULLIVAN         MO    63080
REVOCABLE LIVING TRUST
JANE H O'CONNOR                                41 WASHINGTON ST                                                                                 NEWTON           MA    02458‐2228
JANE H PAYNE                                   3001 VEAZEY TERR NW                                                                              WASHINGTON       DC    20008‐5454
JANE H PRINCE                                  BOX 508                                                                                          EMPORIA          VA    23847‐0508
JANE H STARNES                                 2200 BELMONT PLACE                                                                               METAIRIE         LA    70001‐1627
JANE H STOLLE                                  ATTN JANE H HOVORKA                     1427 COURTYARD PL                                        CENTERVILLE      OH    45458‐3975
JANE H STRUTHERS                               2423 COUNTRYSIDE DR                                                                              STILLWATER       OK    74074‐2139
JANE H WALSH                                   10855 HUSTON LN                                                                                  LARGO            FL    33774‐4349
JANE H WARNER                                  BOX 2223                                                                                         GEARHART         OR    97138‐2223
JANE H WYSIENSKI                               12 ORNE AVENUE                                                                                   TRENTON          NJ    08638‐2840
JANE HALL BARRETT                              5205 EASTON DR                                                                                   SPRINGFIELD      VA    22151‐3010
JANE HALL NORTHWOOD                            76 STONEBRIDGE RD                                                                                MONTCLAIR        NJ    07042‐1633
JANE HALL NORTHWOOD TR U/W RUTH MCCOMB HALL 76 STONEBRIDGE ROAD                                                                                 MONTCLAIR        NJ    07042‐1633
FBO JANE HALL NORTHWOOD
JANE HALL NORTHWOOD TR UW ROLAND C HALL FBO    76 STONE BRIDGE RD                                                                               MONTCLAIR        NJ    07042
JANE HALL NORTHWOOD
JANE HARLESON                                  172 RAFFERTY                                                                                     LEADVILLE        CO    80461‐9403
JANE HARRIS GRANT                              42 QUEENS WAY                                                                                    BATH             NC    27808‐9266
JANE HATCH                                     THE MANOR                               2288 CRESTMONT DR                                        GIRARD           OH    44420
JANE HEFFERNAN                                 137 S GARFIELD AVE                                                                               COLUMBUS         OH    43205‐1076
JANE HEIMBECKER                                14 TOFT WOODS WAY                                                                                MEDIA            PA    19063‐4336
JANE HELEN BROCK                               C/O CLIFTON H BROCK                     7404 MATHERLY DRIVE                                      WAKE FOREST      NC    27587‐9013
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Name                                               Address1                              Address2             Address3          Address4          City              State Zip

JANE HENDERSON MARSHALL                            765 BEDFORED RD                                                                                GROOSE POINTE     MI    48230‐1802
                                                                                                                                                  PARK
JANE HENSON RUSSELL                                835 ROYAL LAKES BLVD                                                                           RICHMOND          TX    77469‐5527
JANE HERRICK SMITH                                 2599 RIDGEWOOD DR                                                                              MARIETTA          GA    30066‐3667
JANE HILEMAN                                       PO BOX 675                                                                                     NORTH APOLLO      PA    15673‐0675
JANE HILL                                          5 WEST ST                                                                                      WOODBRIDGE        CT    06525‐2129
JANE HOLLEY & JACK GLICK JT TEN                    9185 LANDIS                                                                                    BEAUMONT          TX    77707‐1245
JANE HOLTZ                                         PO BOX 1258                           25 INDIAN RIDGE RD                                       W FALMOUTH        MA    02574‐1258
JANE HOWLETT SCHWEITZER                            725 S SKINKER BLVD APT 4C                                                                      ST LOUIS          MO    63105‐3238
JANE HUBBARD JONES                                 6361 PAXTON WOODS DR                                                                           LOVELAND          OH    45140‐8129
JANE HUISKAMP LANGFORD                             2045 N HIGHWAY 96                                                                              NAUVOO            IL    62354‐2329
JANE HUNTER CUST TRAVIS HUNTER UTMA FL             2944 SW LAUREN WAY                                                                             PALM CITY         FL    34990‐3105
JANE INEZ BECKMAN                                  4213 GIBSON COURT                                                                              WOODBRIDGE        VA    22193‐2431
JANE ISAAC                                         47811 FREDERICK RD                                                                             SHELBY TOWNSHIP   MI    48317‐2817

JANE J ALLEN & WARREN G ALLEN JT TEN               BOX 52                                                                                         SPOFFORD          NH    03462‐0052
JANE J DWORAK                                      133 MICHIGAN AVE                                                                               LAWRENCEVILLE     NJ    08648‐4643
JANE J KONOPACKI                                   96 ROY ST                                                                                      CHICOPEE          MA    01013‐1733
JANE J PRESNEY                                     10 TURNBERRY                                                                                   SPRINGFIELD       IL    62704‐3173
JANE J ROMANKOWSKI                                 1392 EASTON WAY                                                                                BRUNSWICK         OH    44212‐4770
JANE JANETTE SOBLOTNE                              325 RAINBOW DR                                                                                 KOKOMO            IN    46902‐3868
JANE JENKIN SHEBAL                                 1241 W 12TH AVE                                                                                ESCONDIDO         CA    92025‐5509
JANE JOVEN CUST ERIK JOVEN UGMA NY                 87 HOLLAND AVE                                                                                 FLORAL PARK       NY    11001‐1230
JANE JOVEN CUST GINA JOVEN UGMA NY                 87 HOLLAND AVE                                                                                 FLORAL PARK       NY    11001‐1230
JANE K CARSON                                      11232 MARLETTE DRIVE                                                                           CINCINNATI        OH    45249‐2208
JANE K CASEY                                       38 LAWLOR RD                                                                                   TOLLAND           CT    06084
JANE K CZERNIK                                     541 JOHNS LANE                                                                                 GREENVILLE        MI    48838‐9256
JANE K FIEBELKORN                                  7021 HOUGH RD                                                                                  ALMONT            MI    48003‐8901
JANE K KASTLER & THOMAS G KASTLER JT TEN           10480 PONTIAC LAKE RD                                                                          WHITE LAKE        MI    48386‐1344
JANE K MCCALL                                      4060 LAND O LAKES DR N E                                                                       ATLANTA           GA    30342‐4231
JANE K PARVIS                                      5424 OLD TEMPLE HILLS ROAD                                                                     TEMPLE HILLS      MD    20748‐3504
JANE K REICH                                       1022 NORTHAMPTON ST                                                                            EASTON            PA    18042
JANE K RICH                                        170 KENWOOD THE MANSION HOUSE                                                                  ONEIDA            NY    13421
JANE K SIMPSON                                     PO BOX 103                                                                                     BEAVER            WA    98305‐0103
JANE K SPINK TR JANE K SPINK TRUST UA 03/09/04     845 COLLIER CT APT 104                                                                         MARCO ISLAND      FL    34145‐6507

JANE K SPROUL & RICHARD G SPROUL JT TEN            9209 NE 132ND PL                                                                               KIRKLAND          WA    98034‐2634
JANE K WILLIAMS                                    1436 MEDWAY ROAD                                                                               COLUMBIA          SC    29205‐1432
JANE KATHARINE HILL                                548 N EDINBURGH AVE                                                                            LOS ANGELES       CA    90048‐2310
JANE KATHRYN SPIES                                 1885 QUAIL LANE                                                                                RICHARDSON        TX    75080‐3457
JANE KEATOR                                        11624 GIFFORD AVE                                                                              PHILADELPHIA      PA    19116
JANE KIDD HOMOLKA                                  410 MEADOWCREEK LANE                                                                           GARLAND           TX    75043‐2941
JANE KITA TRISDALE                                 BOX 122                                                                                        IGO               CA    96047‐0122
JANE KOESTER DEWEY                                 5059 N SHERIDAN ROAD APT #3N                                                                   CHICAGO           IL    60640
JANE L BARANOWSKI                                  2706 VALLEY AVE NW                                                                             GRAND RAPIDS      MI    49544‐1755
JANE L BEIER & LARRY W FINKE JT TEN                3786 COTTAGE GROVE CT                                                                          SAGINAW           MI    48604‐9527
JANE L BRUNER                                      5401 SOUTH ST                         # 314                                                    LINCOLN           NE    68506‐2150
JANE L CALDAS                                      983 CASS AVE RD                                                                                BAY CITY          MI    48708‐9143
JANE L CANTRELL                                    3463 W NEWARK ROAD                                                                             LAPEER            MI    48446‐9448
JANE L COBUS                                       ATTN JANE L CIEGOTURA                 50251 JIM DRIVE                                          NEW BALTIMORE     MI    48047‐1812
JANE L COLBERT                                     7428 MAKAA ST                                                                                  HONOLULU          HI    96825‐3126
JANE L DAY                                         PO BOX 371                                                                                     MONTOURSVILLE     PA    17754‐0371
JANE L EDWARDS                                     2656 VIRGINIA WAY                                                                              ONTARIO           CA    91761‐6926
JANE L FERRELL EX EST JAMES EVERETT YOUNG III      2423 SOUTH FORTY PLACE                                                                         VALDOSTA          GA    31602
JANE L FLYNN                                       28 FAIRVIEW AVENUE                                                                             READING           MA    01867‐3417
JANE L GOETZ                                       19560 W PORTAGE RIVER RD S                                                                     WOODVILLE         OH    43469‐9404
JANE L GREENE                                      108 BLACKAMORE AVENUE                                                                          CRANSTON          RI    02910‐4536
JANE L HOFFMANN                                    1545 E WATER ST                                                                                TUCSON            AZ    85719‐3343
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JANE L HONDELINK TR UA 05/14/07 JANE L HONDELINK   10 BALTIMORE DR                                                                              GRAND RAPIDS      MI    49503
TRUST
JANE L HONERLAW                                    649 SOUTH MASON‐MONTGOMERY RD                                                                MASON             OH    45040‐1725
JANE L HORTON                                      8311 EAST VIA DE VENTURA            APT 1048                                                 SCOTTSDALE        AZ    85258‐6604
JANE L JONES                                       55 LYNWOOD CIRCLE                                                                            ASHEVILLE         NC    28806‐2113
JANE L MC ALLISTER                                 2213 NICHOLBY DRIVE                                                                          WILMINGTON        DE    19808‐4232
JANE L MRUS                                        2158 FIRESTONE WAY                                                                           LAKELAND          FL    33810‐4306
JANE L O'MALLEY                                    42 42 BUTTERNUT LN                                                                           GRAND BLANC       MI    48439‐2073
JANE L OLSZEWSKA & CECELIA DALESSANDRO JT TEN      14‐96 212TH STREET                                                                           BAYSIDE           NY    11360‐1108

JANE L PETERSON                                    1458 COLLEEN AVE                                                                             ARDEN HILLS       MN    55112‐1940
JANE L RENDE                                       100 BELVEDERE AVE                                                                            SAN CARLOS        CA    94070‐4819
JANE L SCHOENECK                                   3109 MESA VERDE DRIVE                                                                        WAUKESHA          WI    53188‐4432
JANE L SCHULTZ                                     14301 WESTBURY DR                                                                            LITTLE ROCK       AR    72223‐1306
JANE L SMITH                                       206 W 3RD AVE                                                                                JOHNSTOWN         NY    12095‐2901
JANE L STINECIPHER                                 4334 CRESTVIEW DR                                                                            CHATTANOOGA       TN    37415‐2804
JANE L TSCHIDA                                     8931 MAPLE SHORES DR                                                                         PINE CITY         MN    55063‐4710
JANE L WOITAS                                      42210 FAIRVIEW                                                                               CANTON            MI    48187‐3717
JANE L ZELLMER                                     6317 ROUTE RIVER DR                                                                          GREENDALE         WI    53129‐2827
JANE LAGAS                                         261 WAYNE AVE                                                                                OAKLAND           CA    94606‐1223
JANE LALLY PENDLETON                               3333 GOLFSIDE DR                                                                             NAPLES            FL    34110‐7007
JANE LAND FOWLER                                   750 WEAVER DAIRY ROAD #1213                                                                  CHAPEL HILL       NC    27514‐1434
JANE LE BUDA                                       20W 475 CAMDER DRIVE                                                                         DOWNERS GROVE     IL    60516‐7114
JANE LEE KUHN                                      14483 COTTAGE GROVE                                                                          BAXTER            MN    56425‐8221
JANE LEE KUHN & SUSAN L KUHN JT TEN                14483 COTTAGE GROVE DRIVE                                                                    BAXTER            MN    56425‐8221
JANE LEE QUIRE RHOADES                             1085 E EVERGREEN DR                                                                          GREENVILLE        OH    45331‐3009
JANE LEE RHOADES                                   1085 E EVERGREEN DR                                                                          GREENVILLE        OH    45331‐3009
JANE LEE STRIBLING                                 5042 JUDITH ANN DR                                                                           FLINT             MI    48504‐3266
JANE LEE WILSON                                    1532 SUMMERFORD COURT                                                                        DUNWOODY          GA    30338‐4920
JANE LENHOFF FARMER                                715 SHELDON DR                                                                               NEWARK            DE    19711‐4317
JANE LENZ                                          14376 RANCH RD APT 2329                                                                      EUSTACE           TX    75124
JANE LOCKE THOMSON                                 73‐4539 MAMALAHOA HWY                                                                        KAILUA KONA       HI    96740‐8651
JANE LOGAN & JOANN ADCOCK & KENNETH LOGAN JT       22900 BROOKDALE                                                                              ST CLAIR SHORES   MI    48082‐2135
TEN
JANE LOGAN KOONS CUST BRIAN S KOONS UGMA OK        1200 TURNBERRY                                                                               SHAWNEE           OK    74801‐0511

JANE LONG                                          5339 E CO RD 150 SO                                                                          LOGANSPORT        IN    46947‐8462
JANE LOWENTRITT                                    102 MULBERRY DRIVE                                                                           METAIRIE          LA    70005‐4015
JANE M ARLINGTON                                   7182 ROCHESTER RD                                                                            LOCKPORT          NY    14094‐1641
JANE M BASSETT                                     8045 PELHAM ROAD                                                                             ALLEN PARK        MI    48101‐2244
JANE M BECKER                                      14811 FOX BEND CT                                                                            LOUISVILLE        KY    40245‐8494
JANE M BELANGER                                    2112 VINEWOOD BLVD                                                                           ANN ARBOR         MI    48104‐2762
JANE M BLUME                                       514 SEQUOIA DR                                                                               DAVISON           MI    48423‐1960
JANE M BRENNAN                                     102 DEERFIELD ROAD                                                                           BROOMALL          PA    19008
JANE M CANTIN                                      244 BASTIAN RD                                                                               ROCHESTER         NY    14623‐1124
JANE M CROWE                                       1611 CHARMUTH RD                                                                             LUTHERVILLE       MD    21093‐5735
JANE M DANA                                        1914 VERDE VISTA DRIVE                                                                       REDLANDS          CA    92373‐7322
JANE M DECKER                                      37 PRESTON ST                                                                                MARLBORO          MA    01752‐2124
JANE M DILS                                        1804 MARKET ST                                                                               PARKERSBURG       WV    26101‐2513
JANE M DUFFY                                       44 SOUTHWOOD ROAD                                                                            NEWINGTON         CT    06111‐3154
JANE M ELLER                                       31177 GEORGETOWN RD                                                                          SALEM             OH    44460‐9740
JANE M FAIRCLOTH                                   337 CEDAR STREET                                                                             SOUTH AMBOY       NJ    08879‐1286
JANE M GILLEM                                      727 WESTCROFT PL                                                                             WESTCHESTER       PA    19382‐7430
JANE M GRAY                                        7625 E JAMISON DR                                                                            ENGLEWOOD         CO    80112‐2623
JANE M HILKERT                                     1241 CHEROKEE RD                    APT 2                                                    LOUISVILLE        KY    40204‐2276
JANE M HUGHES                                      59 WEST ST                                                                                   LEOMINSTER        MA    01453‐5650
JANE M HYLA & ROBERT P HYLA JT TEN                 2328 VALLEY BROOK WAY NE                                                                     ATLANTA           GA    30319‐5241
JANE M JOHNSON TR P JOHNSON MARITAL TRUST UA       413 CHAMBERLAIN PARK LANE                                                                    FRANKLIN          TN    37069‐6527
01/09/04
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JANE M JOSEPH                                    725 WEHRLE DR                                                                                AMHERST            NY    14225‐1319
JANE M KELLY & W THOMAS KELLY JT TEN             PO BOX 799                                                                                   GLADWYNE           PA    19035‐0799
JANE M KINZLER & MICHAEL H KINZLER JT TEN        209 LIPPINCOTT AVE                                                                           RIVERTON           NJ    08077‐1219
JANE M KNAPP                                     7388 RUOFF DR                                                                                GROVE CITY         OH    43123‐9751
JANE M KOTH                                      W145N7508 NORTHWOOD DR                                                                       MENOMONEE FLS      WI    53051‐4652
JANE M KRAUS                                     2137 SAGAMORE RD                                                                             AKRON              OH    44313‐4530
JANE M KYRIACOPOULOS & JOHN S KYRIACOPOULOS JT   20176 BRIARCLIFF                                                                             DETROIT            MI    48221‐1326
TEN
JANE M MAINPRIZE                                 5085 YOUNGSTOWN ST                                                                           SAGINAW            MI    48601‐9308
JANE M MARTIN                                    703 S E 7TH ST                                                                               CAPE CORAL         FL    33990‐2854
JANE M MOZOLAK & EMIL P MOZOLAK JT TEN           703 GOLDEN DR                                                                                TOMS RIVER         NJ    08753‐4612
JANE M MUDRY                                     1013 MEADOWVIEW LANE                                                                         LANSING            MI    48917‐4210
JANE M MURPH                                     8604 BROMPTON DR                                                                             PLANO              TX    75024
JANE M MYERS                                     850 WILLOWDALE RD                                                                            MORGANTOWN         WV    26505‐7323
JANE M NOLAN                                     2490 SPRING HARBOR DR                                                                        CUMMING            GA    30041‐9317
JANE M ONKS                                      R R 2 BOX 159                                                                                RUSSIAVILLE        IN    46979‐9802
JANE M PAQUIN                                    36 POLLIER WAY                                                                               AUBURN             MA    01501‐1134
JANE M PERKINS                                   ATTN JANE M PERKINS‐WHITE           3946 N 475 W                                             KOKOMO             IN    46901‐9116
JANE M PHELAN                                    33178 BROWNLEA DRIVE                                                                         STERLING HEIGHTS   MI    48312‐6608

JANE M POTEMRA                                   218 OBERDICK DR                                                                              MC KEESPORT        PA    15135‐2214
JANE M POTEMRA & JOSEPH E POTEMRA JT TEN         218 OBERDICK DR                                                                              MC KEESPORT        PA    15135‐2214
JANE M POWELL                                    2103 MCKENZIE PARK LN                                                                        GRAHAM             NC    27253‐9279
JANE M REID                                      PO BOX 1286                                                                                  GREER              SC    29652‐1286
JANE M REYNOLDS                                  312 E PINE ST                                                                                KIRBYVILLE         TX    75956‐2437
JANE M ROSS                                      8716 CHAPEL GLEN DR                                                                          INDIANAPOLIS       IN    46234‐2620
JANE M RUPPEL & CHARLES A RUPPEL JT TEN          46 MARINA DR                                                                                 OSWEGO             IL    60543‐9276
JANE M RUSSELL                                   33 BAKER RD                                                                                  PLYMOUTH           MA    02360‐3526
JANE M RUSSELL                                   1 BARNFIELD DR                                                                               PLYMOUTH           MA    02360‐1746
JANE M RUTHERFORD                                715 RICHTON                                                                                  MUSCLE SHOALS      AL    35661‐2935
JANE M SHARP                                     1728 MARCY AVE                                                                               LANSING            MI    48917‐9593
JANE M STRAUSS                                   794 SHORE ROAD                                                                               NORTHPORT          ME    04849‐4226
JANE M TAFURI                                    PO BOX 1044                                                                                  MADISON            CT    06443‐1044
JANE M THIES                                     2001 BRANDT PIKE                                                                             DAYTON             OH    45404‐2323
JANE M TOMPKINS                                  1510 SCOTT AVENUE                   APT 324                                                  CHARLOTTE          NC    28203‐5846
JANE M TREWORGY TR UA 6/10/83 M‐B & F‐B‐O JANE M 597 UNION ST                                                                                 BANGOR             ME    04401‐3706
TREWORGY
JANE M WALLACE                                   11519 NOBLEWOOD CREST LANE                                                                   HOUSTON            TX    77082
JANE M WENDT & MARLENE WENDT JANIK JT TEN        5231 TOWNLINE RD                                                                             SANBORN            NY    14132‐9399
JANE M WILLIAMS                                  125 ZION SCHOOL RD                                                                           EASLEY             SC    29642‐2833
JANE M WILSON TR JANE M WILSON INTER‐VIVOS TRUST 2821 KOCHVILLE                                                                               SAGINAW            MI    48604‐9207
UA 04/30/96
JANE M WUBBOLDING                                17908 RIVER CIR                     APT 3                                                    CANYON CNTRY       CA    91387‐4297
JANE MAHAR CUST THOMAS PAUL MAHAR U/THE NEW RD 5                                     91 LOVELL ST                                             MAHOPAC            NY    10541‐3955
YORK U‐G‐M‐A
JANE MANARIK & GERALD S MANARIK JT TEN           26670 W DOLORES COURT                                                                        INGLESIDE          IL    60041
JANE MARGOLIUS                                   14305 STONEBRIDGE VIEW DRIVE                                                                 NORTH POTOMAC      MD    20878‐4811
JANE MARIE CAPPS                                 ATTN JANE CAPPS BOYD                2810 BARRETT PINES LN                                    ST LOUIS           MO    63021‐3813
JANE MARIE RESKO                                 27761 HILLIARD BLVD                                                                          WEST LAKE          OH    44145‐3031
JANE MARIE SHERWOOD                              4410 ALYDAR DR                                                                               BURLESON           TX    76028‐3245
JANE MARIE SHERWOOD FUSSELL                      4410 ALYDAR DR                                                                               BURLESON           TX    76028‐3245
JANE MARIE SWEENY                                1593 WATERSTONE COURT                                                                        COLUNBUS           OH    43235‐1936
JANE MARY LAWSON & CHARLES DAVID LAWSON JT TEN 639 DRAKE ROAD                                                                                 HAMLIN             NY    14464‐9524

JANE MAZUR EDWARD                                51101 PHEASANT RUN DR APT1                                                                   SAGINAW            MI    48603
JANE MCCARTHY                                    11851 QUAIL VILLAGE WAY                                                                      NAPLES             FL    34119‐8804
JANE MEGAN NYCE                                  5 KEELERS RIDGE RD                                                                           WILTON             CT    06897‐1608
JANE MELINDA PURCELL                             731 FIFTH ST                                                                                 ANN ARBOR          MI    48103‐4842
JANE MICALLEFF & JANE A MICALLEFF JT TEN         14392 HAMILTON                                                                               RIVERVIEW          MI    48192‐7848
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JANE MILLER                                       4618 N STATE RT 48                                                                             COVINGTON        OH    45318‐9765
JANE MOLL WHITMAN                                 56 HEATHERWOOD HILL                                                                            AUDUBON          PA    19403‐1944
JANE MORRISON CUST DANIEL M BOWSER UTMA IA        1224 N 5TH                                                                                     STUART           IA    50250‐2082

JANE MORRISON CUST ELIZABETH WOLFE UTMA IA        1224 N 5TH                                                                                     STUART           IA    50250‐2082

JANE MORRISON CUST JARED WOLFE UTMA IA            1224 NB 5THS                                                                                   STUART           IA    50250
JANE MORRISON CUST JOSEPH BOWSER UTMA IA          1224 N 5TH                                                                                     STUART           IA    50250‐2082
JANE MORRISON CUST MARIA WOLFE UTMA IA            1224 N 5TH                                                                                     STUART           IA    50250‐2082
JANE MULLER‐PETERSON                              360 WILSON ST                                                                                  CARLISLE         PA    17013‐3634
JANE MURPHY                                       198 BEECHWOOD                                                                                  LIVERPOOL        NY    13088‐6404
JANE MURPHY ROMJUE                                4460 IKENA PL                         APT 55                                                   KALAHEO          HI    96741‐9573
JANE N CHALLENDER                                 815 DEACON ROAD                                                                                HAINESPORT       NJ    08036‐2641
JANE N G DUDGEON                                  55 NATURE WAY                                                                                  OKEMOS           MI    48864‐1242
JANE N JOHNSTON                                   34 HUNTLEIGH DRIVE                                                                             LOUDONVILLE      NY    12211‐1182
JANE N OLIVER                                     2414 MASONIC DR                                                                                SEWICKLEY        PA    15143‐2415
JANE N SIEBOLD                                    332 DENROSE DR                                                                                 AMHERST          NY    14228‐2658
JANE NACKMAN                                      158 MONTGOMERY RD                                                                              SKILLMAN         NJ    08558
JANE NAGL                                         644 PLANET PLACE                                                                               DENVER           CO    80260‐4868
JANE NIETERT SCHULTZ                              730 KNIGHTSFORD LANE                                                                           OKEMOS           MI    48864‐1323
JANE NIETERT SCHULTZ & STEPHEN O SCHULTZ JT TEN   730 KNIGHTSFORD LANE                                                                           OKEMOS           MI    48864‐1323

JANE O ALONZO                                     75383 TUPELO CT                                                                                COVINGTON        LA    70435‐7641
JANE O ROGERS                                     6806 DEBRA AVE                                                                                 CELINA           OH    45822‐9272
JANE OLSEN                                        723‐8TH STREET                                                                                 SECAUCUS         NJ    07094‐3019
JANE OPPENHEIM                                    10 LAKE DRIVE SO                                                                               RIVERSIDE        CT    06878‐2016
JANE P CAINE & ROBERT A CAINE JT TEN              53 APPLEWOOD DRIVE                                                                             CHILLICOTHE      OH    45601‐1906
JANE P CARLUCCIO                                  ATTN JANE P MINOLETTI                 4375 CAHILL                                              TROY             MI    48098‐4488
JANE P DESHON                                     CLAIM 20734‐37                        903 MIDLAND AVENUE                                       YONKERS          NY    10704‐1026
JANE P HORN                                       5050 LOWER SHORE DRIVE                                                                         HARBOR SPRINGS   MI    49740‐8929
JANE P RANDOLPH CUST ARI R WOHLFEILER UTMA CA     6466 BENVENUE                                                                                  OAKLAND          CA    94618‐1306

JANE P RANDOLPH CUST ELEANOR R WOHLFEILER UTMA 652 54TH ST                                                                                       OAKLAND          CA    94609‐1624
CA
JANE P RANDOLPH CUST WILLIAM R WOHLFEILER UTMA 652 54TH ST                                                                                       OAKLAND          CA    94609‐1624
CA
JANE P RICCI CUST CAITLIN A RICCI UGMA NY      502 W OAK ST                                                                                      ROME             NY    13440‐2626
JANE P SHIELDS                                 8511 CHIPPEWA RD                                                                                  PHILADELPHIA     PA    19128‐1209
JANE P STAW                                    1565 POSEN AVE                                                                                    BERKELEY         CA    94706‐2524
JANE PAISLEY                                   13099 DOROTHY RD                                                                                  CHESTERLAND      OH    44026‐3028
JANE PAPATHAKOS                                509 1/2 CHESTNUT                                                                                  ATLANTIC         IA    50022‐1249
JANE PERRIN                                    34 HAWTHORNE DR                                                                                   FAIRBORN         OH    45324‐5011
JANE PHILPOTT                                  28520 WESTLAKE VILLAGE DR                APT B104                                                 WESTLAKE         OH    44145‐6724
JANE PIRONE                                    82 OLD KINGS HWY SOUTH                                                                            DARIEN           CT    06820‐5408
JANE PLOWMAN                                   7023 GRAND PKWY                                                                                   WAUWATOSA        WI    53213‐3732
JANE POWELL ANDERSON                           6800 BENITO COURT                                                                                 FORT WORTH       TX    76126‐2301
JANE R BROSHAR                                 2216 BRAMBLE WAY                                                                                  ANDERSON         IN    46011‐2833
JANE R CARROLL                                 986 GLENBROOK AVE                                                                                 ST LOUIS         MO    63122‐3103
JANE R CHRISTMAN                               1105 GOLFVIEW DRIVE                                                                               DAYTONA BEACH    FL    32114‐5925
JANE R CODMAN                                  59 MARLBOROUGH STREET                                                                             BOSTON           MA    02116
JANE R GOODMAN                                 1450 KEYSTONE RD                                                                                  ALLENTOWN        PA    18103‐9613
JANE R GOSLIN                                  344 LINDSEY DR                                                                                    BERWYN           PA    19312‐1823
JANE R GRESHAM TR JANE R GRESHAM TRUST UA      10908 HERITAGE DR                                                                                 PT RICHEY        FL    34668‐2118
09/03/91
JANE R HOPKINS                                 C/O ASHLEY                               HCR 71 BOX 65                                            WINDSOR          VT    05089‐7604
JANE R JOHNSON                                 1707 WINDSOR DR                                                                                   HIGH POINT       NC    27260‐2773
JANE R LENHARDT                                10800 CATSKILL TR                                                                                 AUSTIN           TX    78726‐1403
JANE R LONG                                    1590 CHELTENHAM RD                                                                                BIRMINGHAM       MI    48009‐7263
JANE R OLSEN                                   5132 ST DAVIDS DR                                                                                 VERO BEACH       FL    32967‐7238
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JANE R SCHULTEN                                    3254 RANA DR                                                                                    CRETE            IL    60417‐4226
JANE R SCHWENKE                                    704 WALTHAM COURT                                                                               EL PASO          TX    79922‐2128
JANE R SPRING                                      798 SUNNY HILL RD                                                                               FREEHOLD         NY    12431‐9701
JANE R TURNER                                      1616 TWIN LAKES BOULEVARD                                                                       OXFORD           MI    48371‐5834
JANE R WILSON                                      2604 GARFIELD AVE                                                                               CLAYMONT         DE    19703‐1817
JANE RASLEY POULIN & DE ETTE POULIN PRICE JT TEN   4403 COVE CAY LANE                                                                              GREENSBORO       NC    27410‐7915

JANE RICHARDSON TR NADINE D SEARS TRUST UW         4051 TARTAN                                                                                     HOUSTON          TX    77025‐2918
NADINE D SEARS
JANE RICHMOND BURNS                                1671 SEA OATS DR                                                                                ATLANTIC BEACH   FL    32233‐5827
JANE RIDDLE LANCASTER                              4952 BRIARWOOD PLACE                                                                            DALLAS           TX    75209‐2004
JANE RODLER MCCARTIN                               633 BLOSSOM DR                                                                                  ROCKVILLE        MD    20850‐2042
JANE ROSE COHEN                                    C/O WILLIAM L COHEN                    3 MEADOW LA                                              CHADDS FORD      PA    19317‐9114
JANE RUCKMAN BAUS                                  3366 EAST FAIRFAX                                                                               CLEVELAND HTS    OH    44118‐4208
JANE S BARTEL & EDWARD W BARTEL JT TEN             41W 40 OAK DR                                                                                   SAINT CHARLES    IL    60175
JANE S BLAKE TR JANE S BLAKE TRUST UA 04/26/99     12 ALGONQUIN WOOD PLACE                                                                         ST LOUIS         MO    63122‐2013

JANE S CAMPBELL                                    137 SHORE RD                                                                                    OLD GREENWICH    CT    06870‐2208
JANE S CARDEN                                      560 E RIVER RD                                                                                  ROCHESTER        NY    14623‐1128
JANE S CHAMBERLIN                                  C/O BRUCE S CHAMBERLIN                 7889 S INDEPENDENCE WAY                                  LITTLETON        CO    80128‐5139
JANE S DAUGHERTY TR DAUGHERTY LIVING TRUST UA      3001 S WAVERLY ST                                                                               KENNEWICK        WA    99337‐3023
7/19/05
JANE S DAWSON CAWLEY                               24320 WILLOW POND RD                                                                            DENTON           MD    21629‐2117
JANE S FLEMING                                     424 FALLWOOD                                                                                    LAS VEGAS        NV    89107‐2826
JANE S FRAYLE & ALFRED F FRAYLE SR JT TEN          5032 HASTING STREET                                                                             METAIRIE         LA    70006
JANE S GREENBERG                                   4 SWAN ST                                                                                       NEW ORLEANS      LA    70124‐4405
JANE S HADLEY                                      108 DELIGHT RD                                                                                  REISTERS TOWN    MD    21136‐6216
JANE S JOHNSTON                                    3651 N 53 AVENUE                                                                                HOLLYWOOD        FL    33021‐2335
JANE S KAUSE                                       4757 BEMIS RD                                                                                   YPSILANTI        MI    48197‐9311
JANE S MALONE                                      75 TIFFANY LANE                                                                                 GETTYSBURG       PA    17325‐8467
JANE S MCWHIRTER                                   111 RED OAK DR                                                                                  AUBREY           TX    76227‐2903
JANE S MORRARTY                                    19 KINNE RD                                                                                     CANTERBURY       CT    06331‐1409
JANE S MURPHY                                      135 REMSEN ST                          21 PARK LANE S                                           BROOKLYN         NY    11201‐4212
JANE S NECKRITZ                                    238 TULIP TREE CT                                                                               BLUE BELL        PA    19422‐2822
JANE S PIKE BUXTON                                 RR 6 6119                                                                                       MOHNTON          PA    19540‐9344
JANE S RAFF                                        15 PINE VALLEY RD                                                                               LIVINGSTON       NJ    07039‐8211
JANE S REED                                        6704 ST RT 5                                                                                    KINSMAN          OH    44428‐9781
JANE S ROOS                                        3500 JACKSON ST                                                                                 SF               CA    94118‐1808
JANE S SCHLEGEL                                    120 E WALNUT                                                                                    NORTH EAST       MD    21901‐2423
JANE S SHUMWAY & WILLIAM E SHUMWAY JT TEN          248 SOUTH ST                                                                                    BRATTLEBORO      VT    05301‐4229

JANE S SMITH                                       4 SENECA ST                                                                                     NORFOLK          MA    02056‐1111
JANE S SNYDER                                      1685 FAUST DRIVE                                                                                ENGLEWOOD        FL    34224‐8798
JANE S SOUDAVAR CUST ANNABELLE SESKIS CAUFMAN      630 PARK AVE                                                                                    NEW YORK         NY    10021‐6544
UGMA NY
JANE S SPURGEON                                    8847 WALNUT TRL                                                                                 SYLVANIA         OH    43560‐8989
JANE S TRUE                                        C/O R MORGAN                           308 W MILTON ROAD                                        MILTON           VT    05468‐3251
JANE S VICKNAIR                                    617 CODIFER BLVD                                                                                METAIRIE         LA    70005‐3748
JANE SAUCHELLI & NICHOLAS A SAUCHELLI JR JT TEN    14 GREENFIELD AVE                                                                               SUMMIT           NJ    07901‐1418

JANE SAWICKI CUST MICHAEL ROBERT SAWICKI UGMA IL 143 TIMBER TRAIL DR                                                                               OAK BROOK        IL    60523‐1457

JANE SAWICKI CUST MICHELLE ELIZABETH SAWICKI       143 TIMBER TRAIL DR                                                                             OAK BROOK        IL    60523‐1457
UGMA IL
JANE SCHMIDT                                       PO BOX 161                                                                                      VALHALLA         NY    10595‐0161
JANE SCHULTZ                                       40 S MAIN STREET                                                                                QUINCY           MI    49082‐1150
JANE SCOTT                                         3238 BELVIDERE AVE SW                                                                           SEATTLE          WA    98126‐2225
JANE SEMERTZIDES                                   10 MALSTORME RD                                                                                 WAPP FALLS       NY    12590‐3014
JANE SHIPMAN KUNTZ                                 4015 ORCHARD VIEW PL                   #1                                                       POWELL           OH    43065‐7848
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JANE SHIRLEY                                   5263 POWELL RD                                                                                   HUBER HEIGHTS   OH    45424‐4233
JANE SHUHY                                     5015 SOUTHERN PINE CIRCLE                                                                        VENICE          FL    34293‐4245
JANE SLOYER CUST DANIEL SLOYER UGMA NY         86 AUERBACH LANE                                                                                 LAWRENCE        NY    11559‐2527
JANE SNEED LYNN                                730 OLD IVY RD NE                                                                                ATLANTA         GA    30342‐4322
JANE SNEED LYNN                                730 OLD IVY RD NE                                                                                ATLANTA         GA    30342
JANE SPARLING & P GENTRY SPARLING JT TEN       25112 BARMBY DR                                                                                  SPRING          TX    77389
JANE STACK                                     23 WELLS COURT                                                                                   BLOOMFIELD      NJ    07003‐3042
JANE STANDEN                                   14 MOUNTAIN VIEW LANE                                                                            WELD            ME    04285‐3507
JANE SUE LAWSON CUST BRANDON M LAWSON UTMA     935 W ROSE CENTER RD                                                                             HOLLY           MI    48442‐8680
MI
JANE SUMMERS WYGAL                             BOX 606                                                                                          MARS            PA    16046‐0606
JANE SYPNIEWSKI JOHN SYPNIEWSKI & JAMES L      816 PINE N W                                                                                     GRAND RAPIDS    MI    49504‐4341
SYPNIEWSKI JT TEN
JANE T BANTA                                   ONE HORNBECK RIDGE                                                                               POUGHKEEPSIE    NY    12603‐4205
JANE T BRIER                                   67 ROUND COVE RD                                                                                 CHATHAM         MA    02633‐1242
JANE T GORMAN                                  604 NORRISTOWN RD                                                                                AMBLER          PA    19002‐2104
JANE T KELSEY                                  1370 WEST WILSON                                                                                 CLIO            MI    48420‐1689
JANE T KRAWCZAK                                600 N GLEANER ROAD                                                                               SAGINAW         MI    48609‐9491
JANE T MCKAY                                   1949 GLENHILL RD                                                                                 MENDOTA HTS     MN    55118‐4165
JANE T PINCKNEY & GLENN A PINCKNEY & DONNA P   11 DOWNING ST                                                                                    WEST HARTFORD   CT    06110
HUOT JT TEN
JANE T RITTMAN                                 8794 CHATEAU DR NW                                                                               PICKERINGTON    OH    43147‐8680
JANE T SKOTZKO                                 402 MASHIE DR SE                                                                                 VIENNA          VA    22180‐4924
JANE T SZEG                                    PO BOX 2731                                                                                      PERTH AMBOY     NJ    08862‐2731
JANE T TEICHLER                                309 N HIGHLAND AVE                                                                               ELMHURST        IL    60126‐2244
JANE T YATES                                   122 PALMERS HILL RD APT 1306                                                                     STAMFORD        CT    06902
JANE TAYLOR                                    2692 TAYLOR AVE                                                                                  WOOSTER         OH    44691‐1635
JANE TAYLOR                                    50 W 34TH ST #5A12                                                                               NEW YORK        NY    10001
JANE THOMPSON                                  280 FIRST AVE                                                                                    NEW YORK        NY    10009‐1834
JANE THOMSON                                   34 THORNDALE AVE                     SAINT CATHARINES ON                       L2R 6A7 CANADA
JANE TOWN DATTOLI                              567 OLD WARREN RD                                                                                SWANSEA         MA    02777‐4217
JANE TRIGGS                                    5 CRESCENT AVE                                                                                   SOUTH AMBOY     NJ    08879‐1404
JANE V PETRONE TR JANE V PETRONE TRUST UA      C/O PO BOX 7053                                                                                  WILMINGTON      DE    19803
05/21/93
JANE V STRANG                                  PO BOX 2587                                                                                      LITTLETON       CO    80161‐2587
JANE VILMAR                                    117 SOUTH CENTRAL AVE                                                                            RAMSEY          NJ    07446‐2450
JANE VOGEL                                     8694 ROBIN DRIVE                                                                                 ERIE            PA    16509‐8044
JANE W BLECHARSKI                              LANCASTER TOWERS L P                 1 PLEASANT AVE WEST   APT 512 5TH FLOOR                     LANCASTER       NY    14086‐2146
JANE W BLECHARSKI                              1 PLEASANT AVE WEST                  APT 512 5TH FL                                              LANCASTER       NY    14086‐2146
JANE W BREWER                                  80 WOODVALE AVE                                                                                  GREENVILLE      SC    29605‐1131
JANE W COOPER                                  629 BRAESIDE NORTH DRIVE                                                                         INDIANAPOLIS    IN    46260‐1732
JANE W GERDES & FREDERICK W GERDES JT TEN      2705 ENGELBRECHT RD                                                                              BURTON          TX    77835‐5962
JANE W GERDES & JAN G GOVREAU JT TEN           2705 ENGELBRECHT RD                                                                              BURTON          TX    77835‐5962
JANE W GERDES & MADELYN G SIEGMUND JT TEN      2705 ENGELBRECHT RD                                                                              BURTON          TX    77835‐5962
JANE W GERDES & MARGUERITE G BAGGETT JT TEN    2705 ENGELBRECHT RD                                                                              BURTON          TX    77835‐5962

JANE W GRAHAM                                  PO BOX 4555                                                                                      GREENVILLE      DE    19807
JANE W HANLEY                                  LINDEN LANE & FARMERS LANE                                                                       GLEN HEAD       NY    11545
JANE W HARDIN                                  1781 ST RT 534                                                                                   SOUTHINGTON     OH    44470‐9525
JANE W LAMBERTON                               STRONG HALL                                                                                      KEUKA PARK      NY    14478
JANE W LONG                                    160 W PARK ST                                                                                    CARLISLE        PA    17013‐2231
JANE W MEISEL                                  392 CENTRAL PARK W                   APT 10R                                                     NEW YORK        NY    10025‐5819
JANE W NULLE                                   1117 SO WASHINGTON AVE                                                                           PISCATAWAY      NJ    08854‐3334
JANE W RIGGS                                   103 DICKENS AVE                                                                                  LOUISBURG       NC    27557
JANE W RUSSELL                                 12202 MEADOWSTREAM CT                                                                            HERNDON         VA    20170‐2748
JANE W SHEPARD                                 PO BOX 1372                                                                                      SKIPPACK        PA    19474‐1372
JANE WANDA IZZO & JOHN HENRY MALONE JT TEN     2 N PARK                                                                                         AUBURN          NY    13021‐1923

JANE WATERBURY THOMPSON                        926 ELK STREET                                                                                   FRANKLIN        PA    16323‐1159
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JANE WILDER                                    5441 HICKS CORNERS STREET                                                                       PORTAGE          MI    49002‐2023
JANE WILKOWSKI                                 86 ‐ 40 MUSKET ST                                                                               QUEENS VILLAGE   NY    11427‐2718
JANE WILLIAMS                                  PO BOX 2804                                                                                     VALDOSTA         GA    31604
JANE WILLIAMS ELSENHANS                        17 STELLA DR                                                                                    BRIDGEWATER      NJ    08807‐1826
JANE WINEBRENNER                               3089 CHESTNUT HILL RD                                                                           EMMAUS           PA    18049‐4433
JANE WOODRUFF & THOMAS B WOODRUFF JT TEN       198 ALBI RD                            APT 5                                                    NAPLES           FL    34112‐6114

JANE WOOTEN HASTINGS                           15209 POSSUM TRACK RD                                                                           RALEIGH          NC    27614‐9425
JANE WRIGHT                                    102 ROCK POINTE LANE                                                                            CARY             NC    27513‐2473
JANE WYKOFF & RICHARD WYKOFF JT TEN            4577 DARLENE DR                                                                                 COMMERCE         MI    48382‐1479
                                                                                                                                               TOWNSHIP
JANE Y GAITHER                                 4801 E COUNTY ROAD 67                  LOT 244                                                  ANDERSON         IN    46017‐9111
JANE Y HERALD                                  PO BOX 187                                                                                      TURBOTVILLE      PA    17772‐0187
JANE Y MENERAY                                 7314 ZIMPEL ST                                                                                  NEW ORLEANS      LA    70118‐5255
JANE YICK CUST STEVEN C YICK UTMA CA           1340 GRANT AVE #1                                                                               SAN FRANCISCO    CA    94133‐3926
JANEANE SEVY                                   696 E 2550 N                                                                                    NORTH OGDEN      UT    84414‐2876
JANEE A MCMILLAN                               2622 POSSUM RUN RD                                                                              MANSFIELD        OH    44903‐9477
JANEEN ANN TAYLOR & NORMA MAE HUMMEL JT TEN    163 MAPLE ST                           BOX 109                                                  VERMONTVILLE     MI    49096‐0109

JANEEN C KOLLAT                                99 GREENTREE CIRCLE                                                                             AURORA           OH    44202‐7905
JANEEN I BRINKMAN                              7 VINGUT LN                                                                                     SETAUKET         NY    11733‐3048
JANEEN L DANGELO CUST JILL S DANGELO UGMA CA   HC 1 STAR ROUTE 110                                                                             HANA             HI    96713‐9801

JANEEN L DANGELO CUST JOSEPH M DANGELO UGMA    9310 WISTER DR                                                                                  LA MESA          CA    91941‐4140
CA
JANEEN L GALLIGAN                              3210 FLETCHER AVE                                                                               LAKELAND         FL    33803‐8309
JANEISE J SCHULTZ                              8109 WOOD CREEK COURT                                                                           DOWNERS GROVE    IL    60516‐4536
JANEL L TRESVANT                               7662 PARKMONT DR                                                                                MEMPHIS          TN    38125‐4781
JANEL M OSTROWSKI                              126 COPPER CREEK DRIVE                                                                          LAGRANGE         GA    30240
JANEL M TRAVIS & MICHAEL C TRAVIS JT TEN       720 N UHRICH ST                                                                                 UHRICHSVILLE     OH    44683‐1632
JANEL O BOWLEE                                 1978 DRENNON AVE                                                                                AUSTELL          GA    30106‐1846
JANELL HOLMES                                  8442 SHEPHERDS WATCH DR                                                                         CHESTERFIELD     VA    23832‐7871
JANELL MCKINNEY ANDERSON                       2213 BROAD RIVER CT                                                                             RANCHO CORDOVA   CA    95670‐2702

JANELLE A ATHERTON                             13081 CALLAWAY COURT                                                                            FISHERS          IN    46037
JANELLE A FORD                                 6137 GEORGIA AVE                                                                                KANSAS CITY      KS    66104‐1956
JANELLE ANN KUTTER                             167 CHRISTINA CIRCLE                                                                            WHEATON          IL    60187‐1115
JANELLE ANN NOWLAN                             316 NICOLET ST                                                                                  GODFREY          IL    62035‐1949
JANELLE E BERGER                               15 REMER AVE                                                                                    SPRINGFIELD      NJ    07081‐3225
JANELLE GROH                                   10235 BOULDER PASS                                                                              DAVISBURG        MI    48350‐2055
JANELLE GRUNBERG CUST KOLLIN DAVID GRUNBERG    11936 EAST PRINCETON                                                                            SANGER           CA    93657
UTMA CA
JANELLE L OWEN                                 ATTN JANELLE L RYNEARSON               9101 BEECHWOOD DRIVE                                     URBANDALE        IA    50322‐4021
JANELLE M GUTZEIT & CRAIG A GUTZEIT JT TEN     3386 BALTOUR                                                                                    DAVISON          MI    48423‐8578
JANELLE M KONSTAM                              25350 KINGSHIRE                                                                                 SOUTHFIELD       MI    48075‐2016
JANELLE R MERRITT & LAUREN N MERRITT JT TEN    4619 HILLMONT LANE                                                                              HIXSON           TN    37343‐4327
JANELLE SPOLTMAN                               3385 CHICKASAW RD                                                                               CELINA           OH    45822‐9556
JANELLE WENDELSCHAFER                          11627 CIRCLE DR N                                                                               MILTON           WI    53563‐9639
JANELLE Y CHURCH                               2108 DUNN COURT                                                                                 FLINT            MI    48507‐2012
JANENE L ABRAHAM                               1412 BIRCHBARK DR                                                                               ELYRIA           OH    44035
JANESSA G ROBINSON                             2473 VALLEY OAKS CIR                                                                            FLINT            MI    48532‐5405
JANET A BARGER                                 265 NORTH OGDEN ST                                                                              BUFFALO          NY    14206‐1219
JANET A BLEVINS                                6160 FAIRHOPE LANE                                                                              CUMMING          GA    30040
JANET A BOTTING & GORDON F BOTTING JT TEN      5583 RIDGE RD                                                                                   LOCKPORT         NY    14094‐9442
JANET A BURD                                   3473 TALL OAKS LN                                                                               YOUNGSTOWN       OH    44511
JANET A COLE                                   145 SASSAFRAS LN                                                                                SYLVESTER        GA    31791‐7511
JANET A CONNERS TR BARTSCH FAMILY TRUST UA     16 8 SHIP AVE                                                                                   MEDFORD          MA    02155
03/09/05
JANET A CONNOLLY                               135 E 54TH STREET APT 4J                                                                        NEW YORK         NY    10022‐4509
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JANET A DAVISON                                  APT 15                                  7630 TOMLINSON AVE                                       CABIN JOHN         MD    20818‐1321
JANET A DEEKE                                    8265 YARROW ST                                                                                   ARVADA             CO    80005
JANET A DENSON                                   160 CHURCH LANE                                                                                  EAST BRUNSWICK     NJ    08816‐2405
JANET A DEWSENBERRY                              2225 W SILVER SPRING DR                                                                          MILWAUKEE          WI    53209‐4338
JANET A EGGLESTON                                26705 LITTLE JOHN COURT APT 53                                                                   BONITA SPRINGS     FL    34135‐7308
JANET A EMERSON                                  4719                                    CATAMOUNT TRAIL NE                                       ADA                MI    49301‐8608
JANET A FABIAN                                   345 SABLE COURT                                                                                  ALPHARETTA         GA    30004‐8011
JANET A FLICKINGER                               2210 KINGSBRIDGE LN                                                                              OXNARD             CA    93035‐3729
JANET A GILLESPIE                                4199 MILLER RD                                                                                   STERLING           MI    48659‐9445
JANET A GRAY                                     215 TERRACE DRIVE                                                                                WATERLOO           IA    50702‐5026
JANET A GROVER                                   3610 MT ZION RD                                                                                  LUCAS              OH    44843
JANET A GUYETT                                   PO BOX 429                                                                                       JEFFERSON CTY      TN    37760
JANET A HARPER                                   2415 YORDY ROAD                                                                                  MIO                MI    48647‐9730
JANET A HARRISON                                 5016 EL CEMONTE AVE                                                                              DAVIS              CA    95616‐4414
JANET A HARTMAN                                  11221 GRAY ST                                                                                    WESTMINSTER        CO    80020‐6874
JANET A HENRICKS                                 405 MAGNOLIA DRIVE                                                                               KOKOMO             IN    46901‐5085
JANET A HILDEBRAND                               1245 CROOKED LAKE DR                                                                             FENTON             MI    48430‐1215
JANET A JOHANNSEN                                2555 ALMANOR COURT                                                                               LIVERMORE          CA    94550‐6601
JANET A JOHNSON                                  11 MEADOW PLACE                                                                                  BRIARCLIFF MANOR   NY    10510‐1131

JANET A JONES                                   111 GREEN                                                                                         TONGANOXIE         KS    66086‐5063
JANET A KAPLAN                                  3581 TEXTILE                                                                                      SALINE             MI    48176‐9791
JANET A KITCHENHOFF & MONA A KITCHENHOFF JT TEN 10116 SRALLA RD                                                                                   CROSBY             TX    77532‐7028

JANET A LABRECHE & ANDREW A LABRECHE JT TEN      15471 WANDERING WAY                                                                              NOBLESVILLE        IN    46060

JANET A LABRECHE & DAVID M LABRECHE JT TEN       15471 WANDERING WAY                                                                              NOBLESVILLE        IN    46060
JANET A LABRECHE & JACQUES V LABRECHE JT TEN     15471 WANDERING WAY                                                                              NOBLESVILLE        IN    46060

JANET A LABRECHE & JONATHAN H LABRECHE JT TEN    15471 WANDERING WAY                                                                              NOBLESVILLE        IN    46060

JANET A LABRECHE & PETER L LABRECHE JT TEN       15471 WANDERING WAY                                                                              NOBLESVILLE        IN    46060
JANET A LABRECHE & ROBERT M LABRECHE JT TEN      15471 WANDERING WAY                                                                              NOBLESVILLE        IN    46060
JANET A LABRECHE & ROBERT M LABRECHE JT TEN      15471 WANDERING WAY                                                                              NOBLESVILLE        IN    46060
JANET A MACHINGO                                 PO BOX 837                                                                                       CANFIELD           OH    44406‐0837
JANET A MCCARTY                                  144 S SYLVAN AVE                                                                                 COLUMBUS           OH    43204‐1920
JANET A MITCHELL                                 3277 SEA OATS CIR                                                                                MELBOURNE          FL    32951‐3019
JANET A MOORE                                    246 SOUTHERLY HILLS DR                                                                           ENGLEWOOD          OH    45322‐2336
JANET A MOROSCO                                  20870 WILDWOOD                                                                                   HARPER WOODS       MI    48225‐1812
JANET A MORRIS                                   108B N 8TH AVE                                                                                   DILLON             SC    29536‐3530
JANET A MURPHY TR JANET A MURPHY TRUST UA        7703 WATERVIEW LN                                                                                CHESTERTOWN        MD    21620‐4746
03/03/94 MEGHAN MURPHY
JANET A MURPHY TR JANET A MURPHY TRUST UA        7703 WATERVIEW LN                                                                                CHESTERTOWN        MD    21620‐4746
12/26/96 BENJAMIN MURPHY
JANET A OIARI & ROBERT E OIARI JT TEN            2532 BURWOOD CT N                                                                                HIGHLAND           MI    48357‐3020
JANET A RANEY                                    12949 SKYLINE DR                                                                                 PLAINFIELD         IL    60544‐1992
JANET A RATHKA                                   BOX 268                                                                                          DETOUR VILLAGE     MI    49725‐0268
JANET A RATHKA & GARY T RATHKA JT TEN            BOX 268                                                                                          DETOUR             MI    49725‐0268
JANET A RAY                                      6016 S JOHNSON RD                                                                                BELOIT             WI    53511‐9401
JANET A ROSSITER                                 5449 W LAZY S ST                                                                                 TUCSON             AZ    85713‐6304
JANET A ROTHROCK                                 5463 E 350 N                                                                                     DANVILLE           IN    46122
JANET A SEIBERT                                  8284 TALLADAY RD                        BOX 48                                                   WHITTAKER          MI    48190‐0048
JANET A SIMPSON                                  3884 BALMORAL COURT                                                                              MYRTLE BEACH       SC    29588‐6768
JANET A SMITH                                    7738 N JOHN PAUL JONES                                                                           TUCSON             AZ    85741‐1568
JANET A STEEL                                    26 WOODSIDE LANE                                                                                 CINNAMINSON        NJ    08077‐2462
JANET A STRICKLAND                               132 DEVONSHIRE RD                                                                                WILM               DE    19803‐3050
JANET A STRICKLAND CUST ARIELLE STRICKLAND       132 DEVONSHIRE RD                                                                                WILMINGTON         DE    19803‐3050
FENNICK UTMA DE
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JANET A THOMPSON & JOHN G THOMPSON & KATHRYN 141 S FINN RD                                                                                    MUNGER          MI    48747‐9720
KRABBE JT TEN
JANET A TOPORSKI                             5606 W SPRING KNOLL DR                                                                           BAY CITY         MI   48706‐5614
JANET A TOPORSKI & WILLIAM L TOPORSKI JT TEN 5606 W SPRING KNOLL DR                                                                           BAY CITY         MI   48706‐5614
JANET A WHITE                                2703 WEST LIBERTY ST                                                                             GIRARD           OH   44420‐3167
JANET A WOODY & GERALD D WOODY JT TEN        9296 EMILY DR                                                                                    DAVISON          MI   48423‐2866
JANET A YOUNG & WESLEY M GRAFF JT TEN        653 ELLSWORTH ROAD                                                                               E FAIRFIELD      VT   05448
JANET ANN BEABER                             470 MORGAN CIRCLE                                                                                NORTHVILLE       MI   48167‐2719
JANET ANN DANIELS                            14873 ELDORADO DR                                                                                OMAHA            NE   68154‐1146
JANET ANN NICKERSON                          8009 GRAND RIVER RD                                                                              BRIGHTON         MI   48114‐9366
JANET ANN SMITH                              3223 BRISCOE TRAIL                                                                               SAN ANTONIO      TX   78253
JANET ANN WILLIAMS                           ATTN JANET A ERICKSON                   46600 EL PRADO ROAD                                      TEMECULA         CA   92590‐4140
JANET B BERNARDWINGO                         15970 ELLSWORTH                                                                                  DETROIT          MI   48227‐1952
JANET B DAY & ROBERT M DAY JT TEN            9856 PALACE GREEN WAY                                                                            VIENNA           VA   22181‐6097
JANET B HALE & THOMAS M HALE JT TEN          4650 CURTIS                                                                                      ATTICA           MI   48412‐9334
JANET B HEBERLING                            6678 TWITCHILL RD                                                                                ANDOVER          OH   44003‐9488
JANET B HEGNA                                5100 OAK GROVE PKWY                     APT #313                                                 MINNEAPOLIS      MN   55443
JANET B HOOKER                               11104 DELPHINIUM DRIVE                                                                           FENTON           MI   48430
JANET B HUDSON                               121 SATUCKET RD                                                                                  BREWSTER         MA   02631‐2227
JANET B IVERSEN & HEATHER A HARDY JT TEN     411 GATEWAY BLVD                                                                                 HURON            OH   44839‐1954
JANET B KAEFER                               31 GOLD BLVD                                                                                     BASKING RIDGE    NJ   07920‐2210
JANET B OBETZ                                913 WOODLAND DR                                                                                  NEW JOHNSONVILLE TN   37134‐9785

JANET B ROCKWELL CUST JEFFREY B ROCKWELL UGMA   14 HIGH STREET                                                                                MARBLEHEAD      MA    01945‐3408
CT
JANET B RUND                                    441 GOLFCREST                                                                                 SAN ANTONIO     TX    78239‐2512
JANET B SHOQUIST & DEBRA J LAWLESS JT TEN       3761 20TH AVE NE                                                                              NAPLES          FL    34120
JANET B SHOQUIST & SHARON W ABEL JT TEN         530 B 22 ST OCEAN                                                                             MARATHON        FL    33050‐2249
JANET B VAUGHN                                  1235 CARDINAL CIR                                                                             FRANKLIN        IN    46131‐2735
JANET B WARD                                    623 MAIN ST                                                                                   GROVEPORT       OH    43125‐1420
JANET B WOLSKI                                  5504 N SHASTA DRIVE                                                                           GLENDALE        WI    53209‐4925
JANET BENNETT                                   378 LORA                                                                                      YOUNGSTOWN      OH    44504‐1518
JANET BERNIECE HOOKER                           11104 DELPHINIUM DRIVE                                                                        FENTON          MI    48430
JANET BIRNBAUM                                  214 FERNDALE RD                                                                               SCARSDALE       NY    10583‐1532
JANET BLAHO & GEORGE BLAHO TEN ENT              163 PIERCE RD                                                                                 ELIZABETH       PA    15037‐3000
JANET BOERGERT                                  4016 HIGHWAY US 23                                                                            CHEBOYGAN       MI    49721
JANET BOLDYGA                                   705 CHESTER RIVER DR                                                                          GRASONVILLE     MD    21638
JANET BORGERDING                                1490 DEERLAND ST                                                                              DAYTON          OH    45432‐3408
JANET BOWERS                                    8506 LOWER LAKE RD                                                                            LODI            NY    14860‐9658
JANET BOYD                                      372 ST JAMES PL                                                                               SPRINGBORO      OH    45066‐9774
JANET BRESSER BARNES                            4016 FRANKLIN STREET                                                                          KENSINGTON      MD    20895‐3826
JANET BROCK                                     54761 SHELBY RD                      # 70                                                     SHELBY TWP      MI    48316‐1443
JANET BUCY                                      531 WALNUT ST                                                                                 MAITLAND        MO    64466‐7107
JANET BUNTON                                    5131 GARDEN ST                                                                                DETROIT         MI    48202
JANET BURKS NOLAN                               2800 FOXXWOOD DR                                                                              RUSTON          LA    71270‐2511
JANET BURNS                                     #228 ROUTE 39                                                                                 FORESTVILLE     NY    14062‐9401
JANET BURTON DAIN‐FARIS                         2315 SCHAEFFER HILLS DR                                                                       HENDERSON       NV    89052‐7080
JANET BUSHWAY                                   10142 MARKET AVE NE                                                                           HARTVILLE       OH    44632‐8734
JANET C ANDERSON                                4543 OAK CHASE RD                                                                             EAGAN           MN    55123‐1860
JANET C ANDERSON & JAMES A ANDERSON JT TEN      318 NE PARK HILL LOOP                                                                         BARTLESVILLE    OK    74006‐9114
JANET C BUTTS                                   8510 OWLSWICK LN                                                                              MEMPHIS         TN    38125‐4416
JANET C CANNON                                  3755 TENNYSON ST                     APT 119                                                  DENVER          CO    80212
JANET C CHRISTIANSEN                            ATTN JANET C JOHNSON                 458 WOODHURST DRIVE                                      COPPELL         TX    75019‐3349
JANET C CLAPSADDLE                              3509 WEST LAKE RD                                                                             WILSON          NY    14172‐9732
JANET C COONS                                   117 LAKE SHORE DRIVE N                                                                        MARYLAND        NY    12116
JANET C COWEN                                   PO BOX 30                                                                                     HANOVER         IN    47243‐0030
JANET C DAVIS                                   PO BOX 217                                                                                    DAWSON          TX    76639‐0217
JANET C ELEBOGEN                                360 CRAIG COURT                                                                               DEERFIELD       IL    60015‐4602
JANET C EMERSON                                 14650 ARLINGTON                                                                               ALLEN PARK      MI    48101‐2902
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JANET C FAIR                                     218 MCDONALD AVE                                                                             NILES             OH    44446‐3926
JANET C FRENCH                                   16215 HOYLAKE DR                                                                             ODESSA            FL    33556‐2874
JANET C GELGOTA                                  105 HALEY FARM DR                                                                            CANTON            GA    30115
JANET C GORMAN                                   7719 NORMANDY LANE                                                                           DAYTON            OH    45459‐4117
JANET C HANNA                                    6970 CREEKVIEW DR                                                                            LOCKPORT          NY    14094‐9515
JANET C HAYES                                    BOX 4094                                                                                     GREENVILLE        DE    19807‐0094
JANET C HEARD CUST REBECCA D HEARD UGMA TN       3521 ROSEMARY AVE                                                                            GLENDALE          CA    91208‐1213

JANET C HEGER                                   5388 HAGEWA DR                                                                                CINCINNATI        OH    45242‐6223
JANET C HELLEMS                                 32121 FIARCHILD                                                                               WESTLAND          MI    48186‐4909
JANET C HILL                                    100 RIVERFRONT DR                    APT 1902                                                 DETROIT           MI    48226‐4540
JANET C HOLLAND                                 3970 N MICHIGAN RD                                                                            DIMONDALE         MI    48821‐8750
JANET C HORVATH & DONALD J HORVATH JT TEN       18 LINCOLN DRIVE                                                                              NOTTINGHAM        NH    03290‐6024
JANET C HOWELL & DAVID L HOWELL JT TEN          318 NE PARK HILL LOOP                                                                         BARTLESVILLE      OK    74006‐9114
JANET C JONES                                   904 RACE ST                                                                                   CAMBRIDGE         MD    21613
JANET C KEE                                     339 WORTH AVE                                                                                 LAFAYETTE         LA    70508‐6636
JANET C KLUESENER                               21 CROSBY RD                         APT A                                                    MOORESVILLE       IN    46158‐7125
JANET C KRAUS & DAVID L KRAUS JT TEN            7 MEADOW SPRING DR                                                                            BELAIR            MD    21015‐1700
JANET C LAWSON                                  C/O YEZBACK                          4835 HUNTER CREEK LN                                     ROCHESTER         MI    48306‐1520
JANET C MANLEY                                  6119 WEST NESTEL ROAD                                                                         HOUGHTON LAKE     MI    48629‐8202
JANET C MCBRIDE & WARREN E MCBRIDE JT TEN       702 ASH ST                                                                                    LUTHER            MI    49656‐9279
JANET C MCDONALD                                ATTN JANET WISE                      PO BOX 243                                               GREENTOWN         IN    46936‐0243
JANET C MESSMER                                 3452 N LINDER AVE                                                                             CHICAGO           IL    60641‐3250
JANET C MULLARD TR ZILLINSKY FAMILY TRUST UA    N5935 US HWY 41                                                                               WALLACE           MI    49893‐9300
10/09/96
JANET C ONISHI                                  759 KNOLLWOOD TERR                                                                            WESTFIELD         NJ    07090‐3418
JANET C OSHEA                                   304 EARLSFIELD LN                                                                             ST LOUIS          MO    63125‐3311
JANET C OTOOLE & TIMOTHY R OTOOLE JT TEN        626 ENSENADA CT                                                                               BEREA             OH    44017‐2633
JANET C PARSONS                                 32 TAFT RD                                                                                    EAST SWANZEY      NH    03446‐2210
JANET C PETERFI                                 12057 S SAGINAW ST                   APT 23                                                   GRAND BLANC       MI    48439‐1431
JANET C PLACIDO                                 438 COUNTRYWOOD LANE                                                                          ENCINITAS         CA    92024‐5409
JANET C ROBERTSON TR JANET C ROBERTSON TRUST UA 805 BRIARWOOD LN                                                                              MARION            IN    46952‐2661
4/3/98
JANET C TOKUHISA                                PO BOX 14086                                                                                  CHICAGO           IL    60614‐0086
JANET C TRAGANOS                                6633 CAMBRIDGE AVE                                                                            CINCINNATI        OH    45227‐3137
JANET C WADDELL                                 51287 SUNNY HILL DRIVE                                                                        SHELBY TOWNSHIP   MI    48316‐4547

JANET CALO                                       613 BRITTANY DR                                                                              WAYNE             NJ    07470‐3257
JANET CAROL CYKTOR                               16406 ASHWOOD DRIVE                                                                          TAMPA             FL    33624
JANET CAROL MANGINI                              101 MONTGOMERY STREET 27TH FLOOR                                                             SAN FRANCISCO     CA    94104
JANET CARRILLO                                   PO BOX 872                                                                                   BELTON            TX    76513‐0872
JANET CEVALLOS                                   5 FERNWOOD DRIVE                                                                             COMMACK           NY    11725‐4715
JANET CHARNLEY                                   18616 59TH AVE S E                                                                           SNOHOMISH         WA    98296‐8333
JANET CHRISTINE GRABOWSKI                        4315 NORTH BAILEY AVE                                                                        AMHERST           NY    14226‐2134
JANET CISNEY BRAND                               2510 SOUTH 74TH ST                                                                           LINCOLN           NE    68506‐2934
JANET CLARK CRANE                                1705 FLAG COURT NE                                                                           LEESBURG          VA    20176‐6632
JANET CLARKE                                     375 ALFONSO DR                                                                               ROCHESTER         NY    14626‐2050
JANET COHEN KAUFMAN                              1011 GALLOPING HILL RD                                                                       ELIZABETH         NJ    07208‐1007
JANET COLLINS                                    35‐07 90TH ST                                                                                JACKSON HEIGHTS   NY    11372‐5871

JANET COURSEY                                    24415 MARY                                                                                   TAYLOR            MI    48180‐2176
JANET D ALBRECHT TR ALBRECHT FAMILY TRUST UA     251 BROOK DR                                                                                 ROMEO             MI    48065‐5016
11/30/99
JANET D ARMITAGE                                 1943 BURTON DRIVE                                                                            CAMBRIA           CA    93428‐5270
JANET D BETTS                                    3002 S W 30TH ST                                                                             DES MOINES        IA    50321‐1415
JANET D CHRISTIE                                 517 ROOSEVELT AVE                                                                            PITTSBURGH        PA    15202‐3526
JANET D CUNNINGHAM                               2709 ASPEN COURT E                                                                           PLANO             TX    75075‐6419
JANET D GREAR                                    809 WALLIS AVE                                                                               SHARON            PA    16146‐1960
JANET D HULICK                                   2941 MANOA RD                                                                                HONOLULU          HI    96822‐1756
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Name                                              Address1                                Address2             Address3          Address4          City              State Zip

JANET D MCCANN                                    30111 S KOSTER RD                                                                                TRACY             CA    95376‐9542
JANET D MOORE                                     46 PINE RIDGE RD                                                                                 LARCHMONT         NY    10538‐2616
JANET D MORAVEC                                   2330 SUMMER BROOK ST                                                                             MELBOURNE         FL    32940‐7176
JANET D PITTMAN TOD GREGORY A PITTMAN SUBJECT     8763 DARYL DR                                                                                    MILTON            FL    32583‐2431
TO STA TOD RULES
JANET D SCALLEN & THOMAS P SCALLEN JT TEN         1318 WHITTIER                                                                                    GROSSE POINT PARK MI    48230

JANET D SCHEIB & TERRENCE B SCHEIB JT TEN         5265 WILLIAMSON                                                                                  CLARKSTON         MI    48346‐3556
JANET D WATSON                                    909 W 10TH ST                                                                                    GAS CITY          IN    46933‐1320
JANET D WEIR                                      BOX 67                                                                                           CAYUGA            IN    47928‐0067
JANET DEANN ADAMS                                 G 6480 W CRT ST                                                                                  FLINT             MI    48532
JANET DEGRAVE                                     W 6287 RUEFF ROAD                                                                                WAUSAUKEE         WI    54177‐9042
JANET DELANEY                                     1363 COLONIAL RD                                                                                 MEMPHIS           TN    38117‐6105
JANET DIETRICH CUST ANGELA DIETRICH UTMA WI       N8202 WOODY LN                                                                                   IXONIA            WI    53036‐9551

JANET DINGHOFFER                                  850 STUART DR                                                                                    ST CHARLES        IL    60174‐4715
JANET DOETZE                                      PO BOX 241                                                                                       IRONS             MI    49644‐0241
JANET DOROTHY WILSON                              193 MIDDLE ST                                                                                    MIDDLETOWN        CT    06457‐1522
JANET DRUSILLA CARTER                             308 SOUTH CEDAR STREET                                                                           PAGELAND          SC    29728
JANET DUFF CHILDS                                 755 S HARVARD CT                                                                                 PALATINE          IL    60067‐6664
JANET DUFFIE                                      1730 SW SPRING ST                                                                                PORTLAND          OR    97201‐2344
JANET E ARING                                     103 BUCKCREEK CT                                                                                 ENGLEWOOD         OH    45322‐2254
JANET E ATKINS CUST RANDY G ATKINS UTMA           4026 SAGUARO PARK LANE                                                                           GLENDALE          AZ    85310‐3261
JANET E ATKINSON                                  3925 E AMBERWOOD DRIVE                                                                           PHOENIX           AZ    85044‐7342
JANET E BILLINGSLEY                               3564 LAKEWOOD CT                                                                                 HAMILTON          OH    45011‐7186
JANET E BOLAND                                    1925 WEST RIDGE                                                                                  ROCHESTER HILLS   MI    48306‐3245
JANET E BRUNING                                   6490 COLONIAL DRIVE                                                                              LOCKPORT          NY    14094‐6123
JANET E BULLOCK                                   806 PROSPECT STREET                                                                              CRAWFORDSVILLE    IN    47933‐3540

JANET E CARSON                                     1498 ARTISAN WAY                                                                                SAN JOSE          CA    95125‐4407
JANET E CARTER TR JANET E CARTER TRUST UA 04/29/05 4226 DAVISON ROAD                                                                               LAPEER            MI    48446‐2840

JANET E CHMAR                                     4922 BERKSHIRE WOODS DR                                                                          FAIRFAX           VA    22030‐8255
JANET E COMER                                     1708 S 1100 E                                                                                    GREENTOWN         IN    46936‐9756
JANET E DIDDY                                     5185 BRISTOL ST                                                                                  ARVADA            CO    80002‐1620
JANET E DIETERLY                                  BOX 105D RR 1                                                                                    RUSSIAVILLE       IN    46979‐9801
JANET E DIETERLY & GREGORY L DIETERLY JT TEN      RR 1 BOX 105‐D                                                                                   RUSSIAVILLE       IN    46979‐9801
JANET E DOUGLAS                                   10710 ATWATER CR                        WINDSOR ON                             N8R 1N6 CANADA
JANET E DOWLING & ROBERT N DOWLING JT TEN         118 MCAULIFFE COURT                                                                              HERCULES          CA    94547‐1000
JANET E DOYLE & WILLIAM F DOYLE JT TEN            PINE KNOLL TERRACE                                                                               LISBAN            NH    03585
JANET E FAUERBACH                                 4200 WILLIAM PENN HIGHWAY                                                                        EASTON            PA    18045‐5065
JANET E GARCZYNSKI CUST TINA LYNN GARCZYNSKI      12945 ROBLEDA COVE                                                                               SAN DIEGO         CA    92128‐1126
UTMA CA
JANET E GRAHAM                                    2607 QUAIL CHASE DRIVE                                                                           SELLERSBURG       IN    47172‐9145
JANET E GRIFFITHS                                 8225 AIRPORT RD                                                                                  QUINTON           VA    23141‐2443
JANET E HENRY                                     334 STEPHENS RD                                                                                  GROSSE POINTE     MI    48236‐3412
                                                                                                                                                   FARM
JANET E KEMMER                                    9325 SW 77 AVENUE APT 143                                                                        MIAMI             FL    33156‐7923
JANET E KOCH                                      2137 AUDUBON CT                                                                                  GROVE CITY        OH    43123‐1592
JANET E KRIEGER & JACK A KRIEGER JT TEN           3045 CURTIS DR                                                                                   FLINT             MI    48507‐1217
JANET E LANCUSKI                                  4413 HEDGETHORN CIRCLE                                                                           BURTON            MI    48509‐1248
JANET E LAUX                                      49 VALLEY RD                                                                                     MONROEVILLE       NJ    08343‐2830
JANET E LEE & BRYAN LEE TEN ENT                   80 MAPLE AVENUE                                                                                  TUNKHANNOCK       PA    18657‐1437
JANET E LIPOR                                     5607 HWY V                                                                                       CALEDONIA         WI    53108‐9764
JANET E LOUGH                                     4627 MCDOWELL RD                                                                                 LAPEER            MI    48446‐9070
JANET E MAYS                                      80 FRONT ST E APT 701                   TORONTO ON                             M5E 1T4 CANADA
JANET E MCINNIS CUST JESSIE J MCINNIS UTMA MI     3629 RIVER RD                                                                                    FREELAND          MI    48623‐8833

JANET E MCINNIS CUST RYAN E MCINNIS UTMA MI       3629 RIVER RD                                                                                    FREELAND          MI    48623‐8833
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Name                                                Address1                             Address2             Address3          Address4          City             State Zip

JANET E MOORE                                       2116 DORAL CT                                                                                 OXNARD           CA    93030‐2797
JANET E MYERS                                       HC6 BOX 123                                                                                   DONIPHAN         MO    63935‐9004
JANET E OLCHOVY                                     10061 DIAGONAL ROAD                                                                           MANTUA           OH    44255‐9414
JANET E PITZ                                        115 HAZEL LN                                                                                  FAIRHOPE         AL    36532‐4220
JANET E PLUMMER                                     1175 WINDSOR CROSSING LN                                                                      TIPP CITY        OH    45371
JANET E SAGE                                        8197 IRISH RD                                                                                 MILLINGTON       MI    48746‐8718
JANET E SERVOSS                                     15080 CLOVERDALE                                                                              FORT MYERS       FL    33919‐8306
JANET E SHRADER                                     5035 SW 62ND AVE                                                                              MIAMI            FL    33155‐6230
JANET E SOWERS                                      1641 HENRYTON ROAD                                                                            MARRIOTTSVILLE   MD    21104‐1422
JANET E SPRAGUE                                     17911 N E HOMESTEAD                                                                           BRUSH PRAIRIE    WA    98606‐7301
JANET E STAATS                                      838 S ELM ST                                                                                  DAYTON           OH    45449
JANET E STUART & WILLIAM A STUART JT TEN            250 PARK HILLS DR SE                                                                          GRAND RAPIDS     MI    49506‐1931
JANET E SULLINS                                     25900 KISKER ROAD                                                                             PLATTE CITY      MO    64079‐8274
JANET E TANIS                                       936 RED PINE STREET                                                                           SPARTA           MI    49345‐9477
JANET E TEMPERLY                                    BOX 142                                                                                       SCALES MOUND     IL    61075‐0142
JANET E TEMPERLY                                    102 E BERRELL AVENUE                                                                          SCALES MOUND     IL    61075
JANET E VALDEZ                                      PO BOX 7650                                                                                   LIBERTYVILLE     IL    60048‐7650
JANET E WHITE CUST ANDREW TRAVIS WHITE UTMA CA      22704 DATE AVE                                                                                TORRANCE         CA    90505‐3027

JANET E ZEILINGER TR UA ZEILINGER REVOCABLE TRUST   301 DEVON DR                                                                                  ST LOUIS         MI    48880‐9428
06/15/90
JANET E ZIFFER                                      6277 CENTRE STONE RING                                                                        COLUMBIA         MD    21044‐3796
JANET EBERT                                         1610 SMITH BRIDGE ROAD                                                                        CHADDS FORD      PA    19317‐9765
JANET ELAINE KNOPF                                  910 E DESERT FLOWER LANE                                                                      PHOENIX          AZ    85048‐4453
JANET ELESHEWICH CUST BRUCE ELESHEWICH UTMA FL      81 LOQUAT TREE DR                                                                             LANTANA          FL    33462‐5115

JANET ELGOOD CUST LAURA C ELGOOD UGMA MI            31055 FLORALVIEW DR S APT 204                                                                 FARMINGTON       MI    48331
JANET ELIZABETH NEWMAN                              200 ST ANDREWS BLVD #3105                                                                     WINTER PARK      FL    32792‐4272
JANET ELLA SIDEBOTTOM                               1435 FOREST PINE CT                                                                           HEBRON           KY    41048‐8622
JANET ELY                                           319 S ADAMS                                                                                   MONTPELIER       IN    47359‐1300
JANET ENGLEMANN                                     38 WINDMILL DRIVE                                                                             MORRISTOWN       NJ    07960‐5973
JANET F ANGELINE                                    1120 BRANDYWINE BLVD                 BELLEFONTE                                               WILMINGTON       DE    19809‐2532
JANET F ARDELAN                                     928 MILLVIEW DRIVE                                                                            BATAVIA          IL    60510‐4507
JANET F ATKINSON                                    49 ROYCROFT BLVD                                                                              SNYDER           NY    14226‐4528
JANET F BLAKEMAN                                    115 STAFFORD DRIVE                                                                            BLACK RIVER      NY    13612‐2145
JANET F DALY                                        741 CAMP HOLLOW RD                                                                            WEST MIFFLIN     PA    15122‐3369
JANET F DULMAGE TR JANET F DULMAGE UA 07/02/93      5509 SHORE DR                                                                                 ORCHARD LAKE     MI    48324‐2952
REVOCABLE LIVING TRUST
JANET F HICKS                                       COURT 3                              6204 FAIRWAY PINES                                       BAY CITY         MI    48706‐9351
JANET F HUDDLESTON                                  2030 S AVERILL AVE                   APT 3A                                                   FLINT            MI    48503‐4440
JANET F KUMHER                                      8973 KINGSVILLE RD                                                                            FARMDALE         OH    44417
JANET F MOORING                                     6321 BLUE STONE DR                                                                            LANSING          MI    48917‐1288
JANET F PARKER                                      60 NORWOOD RD                                                                                 NORTHPORT        NY    11768‐3510
JANET F PRITCHARD                                   200 SE 34TH ST                                                                                MOORE            OK    73160
JANET F RAGLAND                                     12205 HOWARDS MILL RD                                                                         ROCKVILLE        VA    23146‐1932
JANET F THOMAS                                      PO BOX 143                                                                                    NORTH JACKSON    OH    44451‐0143
JANET FISHER JABLONSKI                              2 BITERSWEET RIDGE                                                                            MIDDLEFIELD      CT    06455‐1119
JANET FRAMPTON                                      8446 SURREY DRIVE                                                                             TINLEY PARK      IL    60477‐1161
JANET FREAM                                         1556 E 15TH ST                                                                                BROOKLYN         NY    11230‐6702
JANET FREULER                                       3330 E MAIN ST 234                                                                            MESA             AZ    85213‐8719
JANET FRIEDMAN OWENS                                102 MIDWAY DR                                                                                 PAWLEYS ISL      SC    29585‐5294
JANET FROCKT CUST RYAN JEFFREY FROCKT UGMA KY       44 SAWGRASS CT                                                                                LA VEGAS         NV    89113‐1325

JANET FUNCHESS                                      816 N KENILWORTH                                                                              ELMHURST         IL    60126
JANET G BOYER                                       38 HEATHER PL                                                                                 GERMANTOWN       OH    45327‐1635
JANET G HINES                                       23465 BEECH RD                                                                                SOUTHFIELD       MI    48034‐3483
JANET G PALMS                                       3304 NORWOOD HILLS RD                                                                         AUSTIN           TX    78723‐5432
JANET G PURKEY                                      1213 W 4TH ST                                                                                 ANDERSON         IN    46016‐1009
JANET G SPIERS                                      275 CRESTVIEW AVE                                                                             CAMARILLO        CA    93010‐8355
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JANET G STANAWAY & DONALD A STANAWAY JT TEN      4996 HERITAGE DRIVE                                                                                DULUTH            MN    55803‐1102

JANET G SULLIVAN & TIMOTHY D SULLIVAN JT TEN     3705 W MAPLEWOOD                                                                                   SPRINGFIELD       MO    65807‐5426
JANET G TYLUTKI                                  21323 N E 18TH PLACE                                                                               MIAMI             FL    33179‐1505
JANET G WALL                                     BOX 28                                                                                             DURHAM            NH    03824‐0028
JANET G WALTERS                                  3087 BLOOMCREST                                                                                    SHELBY TOWNSHIP   MI    48316‐2932

JANET G WOOD                                     2925 WEST 13 MILE RD                   APT 304                                                     ROYAL OAK         MI    48073‐2951
JANET GAEBEL                                     PO BOX 3371                                                                                        HILLSBORO         OR    97123‐1909
JANET GAGLIONE                                   #2 LEAWARD COURT                                                                                   BAYVILLE          NY    11709‐1003
JANET GAIL SKWIER & GERALD G SKWIER JT TEN       146 MAPLEFIELD                                                                                     PLESANT RIDGE     MI    48069‐1022
JANET GARBER                                     3 OAKS LANE                                                                                        BOYNTON BEACH     FL    33436‐7406
JANET GASTON PETTY                               25640 SOUTHWOOD DR                                                                                 SOUTHFIELD        MI    48075‐2030
JANET GAYLE HARRIS                               399 CALEDON RD                                                                                     KING GEORGE       VA    22485‐7601
JANET GERMAN WILLIAMS CUST HEATHER MARIE         1020 MARY PREISS                                                                                   NEW BRAUNFELS     TX    78132‐4075
WILLIAMS UGMA TX
JANET GERMAN WILLIAMS CUST ROBIN MARIE           1020 MARY PREISS                                                                                   NEW BRAUNFELS     TX    78132‐4075
WILLIAMS UGMA TX
JANET GERSTENBERGER                              5255 BOW MAR DR                                                                                    LITTLETON         CO    80123‐1577
JANET GORING                                     5240 CHAMBERLAYNE                      DELTA BC                                  V4K 2J8 CANADA
JANET GOULD GOODRICH                             1620 GROVER RD                                                                                     EAST AURORA     NY      14052‐9721
JANET GRASSICK                                   13047 CITRUS GROVE BLVD                                                                            WEST PALM BEACH FL      33412‐2322

JANET GRAVES BLAHA                               800 PINE TREE DRIVE                                                                                GIRARD            PA    16417‐1036
JANET GREENWOOD HIGGINS CUST DAVID HIGGINS       59 KING STREET                                                                                     GROVELAND         MA    01834‐1811
UGMA NC
JANET GRIFFES                                    5492 E GORMAN RD                                                                                   PALMYRA           MI    49268‐9762
JANET H CLEM                                     2618 ANDREW COURT                                                                                  MUNCIE            IN    47302‐5513
JANET H DENNIS                                   140 BANCROFT RD                                                                                    ELMIRA            NY    14905
JANET H ENGLE & RAYMOND B ENGLE JT TEN           6 KNIGHT LANE                                                                                      TERRYVILLE        CT    06786
JANET H FRAZIER                                  92 HOLLAND AVE                                                                                     PARKERSBURG       WV    26104
JANET H HICKMAN                                  307 BIG TREE DR                                                                                    KNOXVILLE         TN    37922‐6672
JANET H JOHNSON                                  10524 SUSSEX RD                                                                                    OCEAN CITY        MD    21842‐9148
JANET H LAVKO TR UA 08/06/92 THE JANET H LAVKO   10912 SOUTH KENNETH                                                                                OAK LAWN          IL    60453‐5727
REVOCABLE TRUST
JANET H RUFF                                     4819 COUNTY RD 11                                                                                  RUSHVILLE         NY    14544‐9754
JANET H RUST                                     405 MERWIN DRIVE                                                                                   RALEIGH           NC    27606‐2638
JANET H STOCKHAMMER                              333 SUNROSE LANE                                                                                   CIBOLO            TX    78108‐3157
JANET H WEBER                                    ATTN JANET H WEBER FOLEY               268 MAPLE COURT                                             OVIEDO            FL    32765‐9543
JANET H ZIMMERMAN TR JANET H ZIMMERMAN LIVING    4775 VILLAGE DR #106                                                                               GRAND LEDGE       MI    48837‐8108
TRUST UA 8/21/00
JANET HALLAS                                     1067 S HOVER ST                                                                                    LONGMONT         CO     80501‐7904
JANET HARENCHAR                                  4282 W DODGE RD                                                                                    CLIO             MI     48420‐8555
JANET HARRIS                                     5767 HURD RD                                                                                       ORTONVILLE       MI     48462‐9738
JANET HELTZEL                                    2337 PENNSYLVANIA AVE                                                                              NEWTON FALLS     OH     44444‐9727
JANET HOOPES                                     3800 UNIVERSITY AVE                                                                                MADISON          WI     53705‐2145
JANET HOUSE CORTRECHT                            PO BOX 578                                                                                         CAVE JUNCTION    OR     97523‐0578
JANET HOWARTH & PAUL J HOWARTH JT TEN            3 MERLIN PLACE                                                                                     LONDONDERRY      NH     03053‐3949
JANET HUCKINS & FASIG W RAINIER JT TEN           14685 BLACK FOREST RD                                                                              COLORADO SPRINGS CO     80908‐2852

JANET HUNDER                                     1305 FOLWELL DR SW                                                                                 ROCHESTER         MN    55902‐0986
JANET HUNT                                       3285 ARBUTUS DR                                                                                    SAGINAW           MI    48603‐1906
JANET HUTCHINSON                                 2603 MANORWOOD DR SE                                                                               PUYALLUP          WA    98374‐1962
JANET I FOSTER                                   1453 ROY ST                                                                                        OXFORD            MI    48371‐3242
JANET I HOLLIDAY                                 2155 TWILIGHT PASS                                                                                 HOLT              MI    48842‐7708
JANET I MAYER & JANET S HARBERT JT TEN           8187 CALLEE CT                                                                                     DAVISON           MI    48423‐8720
JANET I MAYER & JEFFREY L MAYER JT TEN           8187 CALLEE CT                                                                                     DAVISON           MI    48423‐8720
JANET I WOOTEN                                   C/O PATRICIA O'DONNELL KITZLER         703 RICHLAND TRUST BLDG   475 REMBRANDT                     MANSFIELD         OH    44902‐7016
JANET IRENE EGBERT                               801 LEISURE LANE                                                                                   GREENWOOD         IN    46142‐8322
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JANET IRENE EGBERT CUST DARREN F EGBERT UTMA IN 801 LEISURE LN                                                                                  GREENWOOD         IN    46142‐8322

JANET IRENE EGBERT CUST DIANE M EGBERT UTMA IN   801 LEISURE LN                                                                                 GREENWOOD         IN    46142‐8322

JANET IRENE WAKEFIELD                            1803 ROSEWOOD ROAD                                                                             CHARLESTON        WV    25314‐2245
JANET ISENHART                                   540 KIRBY LN                                                                                   MATTHEWS          NC    28104‐9309
JANET J BESHEER                                  55 HEARTHSTONE DR                                                                              GANSEVOORT        NY    12831
JANET J BLACKMER                                 111 E LIVINGSTON DR                                                                            FLINT             MI    48503‐4124
JANET J GESSLER                                  1546 HARTWOOD ROAD                                                                             FREDERICKSBURG    VA    22406‐4008
JANET J GREEN                                    7438 COTHERSTONE CT                                                                            INDIANAPOLIS      IN    46256‐2077
JANET J HEWES                                    PO BOX 2600                                                                                    CHESTERTOWN       MD    21620‐2600
JANET J JOZEFIAK                                 15195 TOWERING OAKS DR                                                                         SHELBY TOWNSHIP   MI    48315‐1631

JANET J LOYA                                     4705 ARCHMERE AVENUE                                                                           CLEVELAND         OH    44109‐5268
JANET J NICKEL & LEON NICKEL JT TEN              2203 STRYKER CT                                                                                LUTHVLE TIMON     MD    21093‐2649
JANET J SELLA                                    10420 E WASHINGTON                                                                             REESE             MI    48757‐9350
JANET JAYNE MACK CUST BARBARA LYNN MACK U/THE    9718 AMBERTON PKWY                                                                             DALLAS            TX    75243‐2014
MICHIGAN U‐G‐M‐A
JANET JOANN BENDER                               2117 PRESTONWOOD DR                                                                            ARLINGTON         TX    76012‐5418
JANET JOHNSON                                    4532 LONGMEADOW LANE                                                                           ROCKFORD          IL    61108‐7743
JANET K BARRINGER                                1106 KING GEORGE COURT                                                                         LENOIR            NC    28645
JANET K BIRD                                     329 COUNTRY VINEYARD DR                                                                        VALRICO           FL    33594‐3048
JANET K CANTU                                    800 HOOVER AVE                                                                                 ROSCOMMON         MI    48653‐8950
JANET K EATON                                    12 GIBBONS CT                                                                                  NORTH             NY    14120‐2760
                                                                                                                                                TONAWANDA
JANET K FALCON TR JANET K FALCON TRUST UA        8975 STONEGATE DR                                                                              CLARKSTON         MI    48348‐2583
12/16/94
JANET K FASO CUST HEATHER R EAGEN UGMA NY        5827 CAMERON DR                                                                                LOCKPORT          NY    14094‐6638
JANET K FASO CUST THOMAS R EAGEN UGMA NY         5827 CAMERON DR                                                                                LOCKPORT          NY    14094‐6638
JANET K GOLANKIEWICZ & KRYSTAL M GOLANKIEWICZ    21 COBB ROAD                                                                                   BREWSTER          NY    10509‐4608
JT TEN
JANET K GOUCHER                                  510 GREENWICH DRIVE APT F                                                                      HOWELL            MI    48843‐1478
JANET K HAEUSSERMANN                             11211 TAFT LANE                                                                                SEFFNER           FL    33584‐8335
JANET K HAEUSSERMANN CUST DAVID JEFFREY          11211 TAFT LANE                                                                                SEFFNER           FL    33584‐8335
HAEUSSERMANN UGMA NY
JANET K HAMERMILLER                              7326 ST RTE 19 UNIT 2101                                                                       MT GILEAD        OH     43338‐9329
JANET K HANSEN CUST MATTHEW J HANSEN UTMA WI     1951 RANGER ROAD                                                                               WISCONSIN RAPIDS WI     54494‐9252

JANET K HUMENIK                                  129 EDNA LN                                                                                    WHITEHALL         PA    18052
JANET K HUNTER                                   4491 COUNTY ROAD 72                                                                            SPENCERVILLE      IN    46788‐9405
JANET K JACKSON                                  5968 DOWNS RD N W                                                                              WARREN            OH    44481‐9417
JANET K JONES                                    6000 WSHORE RD                                                                                 OSCODA            MI    48750
JANET K KORBAS                                   271 DALE AVE                                                                                   MANSFIELD         OH    44902‐7716
JANET K LESHER                                   111 S BELLA VISTA DR                                                                           TUCSON            AZ    85745‐2841
JANET K PATELLA                                  4881 RIDGLEA AVENUE                                                                            BUENA PARK        CA    90621‐1434
JANET K SEARS                                    794 PARADISE PARK DR                                                                           SARANAC           MI    48881‐9606
JANET K SMITH                                    115 BRIGHTON PARK                                                                              BATTLE CREEK      MI    49015
JANET K TOLLIVER & LEONARD J TOLLIVER JT TEN     7644 HERBISON RD                                                                               BATH              MI    48808
JANET K WARSTLER                                 4853 BARNETT AVE                                                                               SHARPSVILLE       IN    46068‐9606
JANET K WRIGHT                                   2390 N LAKESHORE DR                                                                            HARBOUR BEACH     MI    48441‐9405
JANET KARATZ CUST MATHEW D KARATZ UGMA CA        10990 WILSHIRE BLVD 7TH FL                                                                     LOS ANGELES       CA    90024‐3913

JANET KING                                       19938 CHAPEL ST                                                                                DETROIT           MI    48219‐1328
JANET L BALLIET                                  161 W BUTLER DRIVE                                                                             DRUMS             PA    18222
JANET L BARENBURG                                6006 IVYDENE TERR                                                                              BALTIMORE         MD    21209‐3520
JANET L BARRON                                   440 WINE CIR                                                                                   BLOUNTVILLE       TN    37617‐4314
JANET L BARTON                                   11774 RIDGEWAY CT                                                                              MONROVIA          MD    21770‐9447
JANET L BELLANT & RONALD L BELLANT JT TEN        3122 E MTMORRIS RD                                                                             MT MORRIS         MI    48458‐8992
JANET L BIERMANN                                 1823 WORDEN AVE                                                                                ALTON             IL    62002‐4767
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JANET L BORKOWSKI                                   6032 HARRISON SE AV                                                                           ALTO              MI    49302
JANET L BREIDECKER & LA VERNE J BREIDECKER JT TEN   1726 EMERALD CREEK DRIVE                                                                      FLORISSANT        MO    63031‐2047

JANET L BULGER                                      BOX 746                                                                                       MT PLEASANT       NC    28124‐0746
JANET L BURGESS                                     9078 N STATE RD                                                                               OTISVILLE         MI    48463‐9407
JANET L BURKS                                       1475 PEPPERMILL RD                                                                            LAPEER            MI    48446‐3241
JANET L CONLEY                                      1712 PETRI DR                                                                                 AMELIA            OH    45102‐2403
JANET L CRAWLEY                                     2533 LAUREN LN                                                                                KOKOMO            IN    46901‐7081
JANET L CURTIS                                      1701 FLINT DRIVE                                                                              AUBURNDALE        FL    33823‐9678
JANET L CURTIS & WAYNE D CURTIS JT TEN              1701 FLINT DR                                                                                 AUBURNDALE        FL    33823‐9678
JANET L CUTTER                                      3619 BEEBE ROAD                                                                               NEWFANE           NY    14108‐9619
JANET L DAUGHERTY                                   1167 LUCAS RD                                                                                 MANSFIRLD         OH    44905‐3015
JANET L DETWILER                                    485 COVEWOOD BLVD                                                                             WEBSTER           NY    14580
JANET L ESAKOV                                      2929 SUMMIT RD SW                                                                             PATASKALA         OH    43062‐9619
JANET L FABIAN                                      40 MULBERRY STREET                                                                            BELLE VERNON      PA    15012‐1316
JANET L FELLOWS                                     32 LAUREL DR                                                                                  WOODSTOCK         CT    06281‐3017
JANET L FLEISHANS                                   1304 RUFFNER AVE                                                                              BIRMINGHAM        MI    48009‐7172
JANET L FLEURY TR JANET L FLEURY TRUST UA 8/9/94    3030 LAKESHORE DR                                                                             GLENNIE           MI    48737‐9526

JANET L FLORENCE & LAWRENCE R FLORENCE JT TEN       3925 GRAND RIVER DRIVE NE                                                                     GRAND RAPIDS      MI    49525‐9639

JANET L FORD & CHRISTOPHER FORD JT TEN              204 COLUMBINE LN                                                                              ROSCOMMON         MI    48653‐8112
JANET L GALYEAN                                     5009 MEADOWLARK LN                                                                            KATY              TX    77493‐2123
JANET L GARDNER                                     295 BIRDIE CIRCLE                                                                             HARRISONBURG      VA    22802‐8712
JANET L GASTON                                      210 S ELM ST                                                                                  PATOKA            IL    62875‐1154
JANET L GEE                                         PO BOX 16404                                                                                  PORTAL            AZ    85632‐0404
JANET L GORDON                                      924 COLLEGE DR                       APT 6                                                    SAN JOSE          CA    95128‐3644
JANET L HALUSKA                                     303 WILLOW GROVE                                                                              ROCHESTER HILLS   MI    48307‐2562
JANET L HAMLIN                                      3972 BACON                                                                                    BERKLEY           MI    48072‐1179
JANET L HARPER                                      110 CHEROKEE HILL                                                                             CANTON            GA    30115‐5403
JANET L HARPER TR JANET L HARPER LIVING TRUST UA    4466 PANSY RD                                                                                 CLARKSVILLE       OH    45113‐8604
9/18/98
JANET L HOUSWORTH & JAMIE S HOUSWORTH JT TEN        562 SHERMAN STREET                                                                            ALLEGAN           MI    49010‐1447

JANET L HULL                                        14242 LANDINGS WY                                                                             FENTON            MI    48430‐1318
JANET L HULL TR THE JANET L HULL LIVING TRUST UA    7112 PAN AMERICAN E FWY NE #351                                                               ALBUQUERQUE       NM    87109‐4225
01/22/93
JANET L IAMARINO                                    363 MAYWOOD                                                                                   ROCHESTER         MI    48307‐1540
JANET L IRELAN                                      3 SOUTH DRIVE                                                                                 PENNSVILLE        NJ    08070‐1345
JANET L JOHNSON & STEPHEN A JOHNSON JT TEN          525 COVENTRY DRIVE                                                                            GRAPEVINE         TX    76051
JANET L JOYCE                                       6713 LLOYD DR APT 1                                                                           WORTH             IL    60482‐1505
JANET L JUNGCLAUS VIRGINIA M JUNGCLAUS & ROGER      6348 LANSDOWNE                                                                                ST LOUIS          MO    63109‐2217
N JUNGCLAUS JT TEN
JANET L KLEYA                                       380 W HARTFORD AVE                                                                            UXBRIDGE          MA    01569‐1122
JANET L KLINE                                       21 ELM AV                                                                                     BARNESVILLE       PA    18214‐2042
JANET L KNAB                                        99 CALHOUN AVE                                                                                ROCHESTER         NY    14606‐3709
JANET L KORN                                        4913 LINDSEY LANE                                                                             RICHMOND          OH    44143‐2930
                                                                                                                                                  HEIGHTS
JANET L KOVACH                                      10735 E LANSING RD                                                                            DURAND            MI    48429‐1812
JANET L KRULL                                       811 OAK MILL LN                                                                               IMPERIAL          MO    63052‐3448
JANET L LAJEWSKI                                    948 LONGRIDGE DRIVE                                                                           SEVEN HILLS       OH    44131‐1713
JANET L LANGTRY & JAMES J LANGTRY JT TEN            PO BOX 4812                                                                                   TROY              MI    48099‐4812
JANET L LINDSEY                                     920 WEST FREMONT                                                                              RIVERTON          WY    82501‐3222
JANET L MACDONALD                                   1143 WOODNOLL                                                                                 FLINT             MI    48507‐4711
JANET L MAHAM                                       PO BOX 468                                                                                    WILLIAMSBURG      OH    45176‐0468
JANET L MCCLUNG                                     10776 QUARRY RD                                                                               OBERLIN           OH    44074‐9546
JANET L MCDANIEL                                    2087 ROLAND AVE                                                                               FLINT             MI    48532‐3920
JANET L MCELROY                                     3526 MILL RACE                                                                                CALEDONIA         MI    49316
JANET L MELLEN                                      PO BOX 1842                                                                                   BROOKLINE         MA    02446‐0015
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JANET L MERRIMAN                                 744 SWEETBRIAR AVE                                                                           NEW WHITELAND    IN    46184‐1163
JANET L MEYER                                    4501 HOMESTEAD LN                                                                            PORTAGE          MI    49024
JANET L MOODY                                    13201 SPRECHER AVENUE                                                                        CLEVELAND        OH    44135‐5045
JANET L MURPHY                                   28 ALEXANDER AVE                                                                             YONKERS          NY    10704‐4202
JANET L MUSSELMAN                                11307 MANSFIELD CLUB DR                                                                      FREDERICKSBURG   VA    22408‐8048
JANET L OTTO                                     4204 SLEEPY HOLLOW RD                                                                        ANNANDALE        VA    22003‐2046
JANET L PETERS                                   2048 VALLEYRUN BLVD                 LONDON ON                              N6G 5M8 CANADA
JANET L POSTON                                   103 8TH STREET                                                                               SALEM            NJ    08079‐1012
JANET L PRUITT                                   933 S 4TH STREET                                                                             SAGINAW          MI    48601‐2139
JANET L RITTENGER                                8181 TIFFANY AVE NE                                                                          ROCKFORD         MI    49341‐9036
JANET L ROCKAFELLAR                              C/O NATIONAL CITY BANK              1650 RUSSELL LEE DRIVE                                   LOUISVILLE       KY    40211‐4309
JANET L ROGERS                                   23031 BEVERLY ST                                                                             OAK PARK         MI    48237‐2443
JANET L SALVAGGIO & LEO J SALVAGGIO JT TEN       4904 FITE DRIVE                                                                              IMPERIAL         MO    63052‐1412
JANET L SAWYER TR SAWYER FAMILY TRUST UA         615 MIDLAND BLVD                                                                             ROYAL OAK        MI    48073‐2884
04/12/05
JANET L SBIHLI                                   2111 KINGS PINE DR                                                                           JOHNS ISLAND     SC    29455‐6212
JANET L SCOLES                                   549 W VICTORIA LANE                                                                          WOODDALE         IL    60191‐1719
JANET L SHAFER TOD KEVIN L SHAFER SUBJECT TO STA 6448 ORIOLE DR                                                                               FLINT            MI    48506
TOD RULES
JANET L SILVERBERG                               3744 N BOSWORTH                                                                              CHICAGO          IL    60613‐3606
JANET L SMITH                                    25 LEERIE DRIVE                                                                              ROCHESTER        NY    14612‐2918
JANET L SPERRY & ROBERT C SPERRY JT TEN          6309 GOODMAN                                                                                 MERRIAM          KS    66202‐3754
JANET L STARKES                                  177 RIDGEWOOD ROAD                                                                           WEST HARTFORD    CT    06107‐3508
JANET L STARR                                    1531 COVENTRY SQUARE DRIVE                                                                   ANN ARBOR        MI    48103‐6315
JANET L STEIGERWALD                              13354 IOWA                                                                                   WARREN           MI    48088‐3165
JANET L STEPHENS                                 1143 WOODNOLL DR                                                                             FLINT            MI    48507‐4711
JANET L STINNETT                                 2225 MALLERY ST                                                                              FLINT            MI    48504‐3133
JANET L SUMMER & RAYMOND P SUMMER JT TEN         12086 MARKET ST EXT                                                                          NORTH LIMA       OH    44452‐9512
JANET L TABOR                                    11530 OLDE GATE DR APT A                                                                     CINCINNATI       OH    45246‐3657
JANET L THOMPSON                                 273 DERBY AV                        UNIT 307                                                 DERBY            CT    06418‐2085
JANET L VREDENBURG MC MANUS                      4473 ASHEVILLE HWY                                                                           GREENEVILLE      TN    37743‐8941
JANET L WALLISCH                                 27848 REO RD                                                                                 GROSSE ILE       MI    48138‐2080
JANET L WARREN                                   275 S MAIN ST                                                                                LIBERTY          NY    12754‐2013
JANET L WERFELMANN                               PO BOX 254                                                                                   GREGORY          MI    48137‐0254
JANET L WOLFE                                    2524 WELLINGTON RD                                                                           KALAMAZOO        MI    49008‐3922
JANET L YACAPRARO                                210 ELECTRIC AVE                                                                             WESTERVILLE      OH    43081‐2631
JANET L YACAPRARO & ELSIE L YACAPRARO JT TEN     210 ELECTRIC AVE                                                                             WESTERVILLE      OH    43081‐2631
JANET L ZABLOCKI                                 132 OX YOKE DR                                                                               WETHERSFIELD     CT    06109‐3752
JANET LAIVO                                      126 HIGH ST                                                                                  HINGHAM          MA    02043‐3341
JANET LAUB & LEON W LAUB JT TEN                  4157 SUMTER SQUARE                                                                           FORT COLLINS     CO    80525‐3465
JANET LEA VANDEBOGERT                            110 CHEROKEE HILL                                                                            CANTON           GA    30115‐5403
JANET LEE CONFER                                 3105 W GRAND RIVER RD                                                                        OWOSSO           MI    48867‐9241
JANET LEE FAGERT                                 28 REDFIELD CIRCLE                                                                           DERRY            NH    03038‐4839
JANET LEE KAUFMAN                                PO BOX 398                                                                                   SALISBURY        CT    06068‐0398
JANET LEE MEALE                                  1223 CHASE STREET                                                                            MORGANTOWN       WV    26508‐6840
JANET LEE MILLER                                 PO BOX 1337                                                                                  LA BELLE         FL    33935‐1337
JANET LEIGH MUNNIKHUYSEN                         293 ASH ST                                                                                   LOCKPORT         NY    14094‐9148
JANET LEONARD                                    26 PENN WAY                                                                                  MEDIA            PA    19063‐5027
JANET LEVY JAGO CUST ARTHUR STUART JAGO UGMA TX 5303 EAST TAYSIDE CIRCLE                                                                      COLUMBIA         MO    65203‐5194

JANET LINNEY MILLER                             PO BOX 548                                                                                    SUNAPEE          NH    03782‐0548
JANET LOIS DITTA & PHILLIP C DITTA JT TEN       9756 W KUSE RD                                                                                FRANKFORT        IL    60423‐9746
JANET LOIS VAN ROOY                             2010 46TH ST                                                                                  NORTH BERGEN     NJ    07047‐2633
JANET LONCARSKI                                 1819 PARK ST N                                                                                ST PETERSBURG    FL    33710‐4351
JANET LOUISE WHITTINGTON                        PO BOX 1171                                                                                   HENDERSON        KY    42419‐1171
JANET LOWE JOESTEN                              66398 US HIGHWAY 33                                                                           GOSHEN           IN    46526‐9482
JANET LUCEY STONE                               1 SCENIC DR                          #509                                                     HIGHLANDS        NJ    07732‐1319
JANET LYNN CASELLA                              485 HOEPWELL RD                                                                               S GLASTONBURY    CT    06073‐2411
JANET LYNN DAVIS                                ATTN JANET DAVIS BROPHY              6104 BIRCH CREST DRIVE                                   EDINA            MN    55436‐2628
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JANET LYNN PHELAN                               C/O JANET L STRUTZ                    1125 DINKEL COURT                                        SAN JOSE          CA    95118‐3755
JANET LYNN TYNER                                7611 W 61ST                                                                                    SUMMIT            IL    60501
JANET LYNNE LEDFORD                             ATTN JANET L FREIHEIT                 12409 FIELD ROAD                                         CLIO              MI    48420‐8246
JANET M ANKERS                                  22191 VILLAGE PINES DR                                                                         BEVERLY HILLS     MI    48025‐3566
JANET M APPLE                                   ATTN JANET APPLE EASON                7974 TROXLER MILL ROAD                                   GIBSONVILLE       NC    27249‐9770
JANET M BABB                                    3573 RIFE RD                                                                                   CEDARVILLE        OH    45314‐9716
JANET M BAIRD‐CALIPO                            1680 MARCYN LANE                                                                               ESCONDIDO         CA    92026‐2031
JANET M BENDAVINE                               ATTN JANET M MAIER                    351 PINEBROOK DR                                         ROCHESTER         NY    14616‐1697
JANET M BERK & MICHAEL TIMKO JT TEN             11 HIXON TER                                                                                   HOLMDEL           NJ    07733‐1356
JANET M BLACK                                   PO BOX 1573                                                                                    BLOOMFIELD        NJ    07003‐1573
JANET M BLODGETT                                85 BYRON ST                                                                                    BATTLE CREEK      MI    49017‐4855
JANET M BOSSHART TOD BRUCE A FEATHERSTONE       9389 HIDDEN LAKE CIRCLE                                                                        DEXTER            MI    48130‐9519
SUNJECT TO STA TOD RULES
JANET M BOSSHART TOD DOUGLAS E FEATHERSTONE     9389 HIDDEN LAKE CIR                                                                           DEXTER            MI    48130‐9519
SUBJECT TO STA TOD RULES
JANET M BOSSHART TOD PATRICIA J FEATHERSTONE    9389 HIDDEN LAKE CIRCLE                                                                        DEXTER            MI    48130‐9519
SUBJECT TO STA TOD RULES
JANET M BRADLEY & JOSEPH BRADLEY JT TEN         507 COOLIDGE DR                                                                                MIDLAND           MI    48642‐3338
JANET M BRETZ                                   35221 BRITTANY PARK DRIVE             APT# 205                                                 HARRISON          MI    48045‐3174
                                                                                                                                               TOWNSHIP
JANET M BUCHHEIT                                490 HICKORY HOLLOW                                                                             MIDDLETOWN        OH    45042
JANET M BURNS                                   938 RITSHER ST                                                                                 BELOIT            WI    53511‐4845
JANET M BUSACK                                  614 APPLE LANE                                                                                 ENGLEWOOD         FL    34223‐6154
JANET M BYRD                                    8815 GREENARBOR RD NE                                                                          ALBUQUERQUE       NM    87122‐2658
JANET M CAMPBELL                                9803 TREE CANOPY RD                                                                            CHARLOTTE         NC    28277‐3667
JANET M CARDINAL                                N 16361 SIDNEY AVE                                                                             WITHEE            WI    54498‐8558
JANET M CARNEY                                  190 PERRYDALE STREET                                                                           ROCHESTER HILLS   MI    48306‐3445
JANET M CHOUINARD                               C/O J M JOHNSON                       5956 DECATUR AVE N                                       NEW HOPE          MN    55428‐3031
JANET M COOK                                    2380 HENN HYDE RD NE                                                                           WARREN            OH    44484‐1244
JANET M COOKE                                   127 D FARRINGTON CT                                                                            LAKEWOOD          NJ    08701
JANET M DALLAS                                  6520 SAND HILL DR                                                                              SHREVEPORT        LA    71107‐8108
JANET M DAWSON                                  10978 PATTERSON COURT                                                                          NORTH GLENN       CO    80234‐3936
JANET M DEMPSEY                                 PO BOX 33340                                                                                   CLEVELAND         OH    44133‐0340
JANET M DILISIO                                 17 LINN PL                                                                                     YONKERS           NY    10705‐2509
JANET M DRABECKI CUST JOHN T DRABECKI UGMA MI   274 HILLCREST                                                                                  GROSSE POINT      MI    48236‐3123

JANET M DREYER                                  1318 WHITTIER RD                                                                               GROSSE POINTE     MI    48230‐1114
                                                                                                                                               PARK
JANET M DUNIVANT                            26223 ETON                                                                                         DEARBORN HTGS     MI    48125‐1444
JANET M FRASER                              33 DENTON DR                                                                                       GLENMOORE         PA    19343‐1909
JANET M FURLETTE                            7511 FAIRVIEW COURT                                                                                GOODRICH          MI    48438
JANET M GALLO                               2914 SHADOWHAWK DR                                                                                 PRESCOTT          AZ    86303
JANET M GIELINK                             3806 LONGWOOD AVE                                                                                  PARMA             OH    44134‐3804
JANET M GIFFORD                             2424 E THIRD ST                                                                                    DAVISON           MI    48423
JANET M GNALL                               S 54 W 23880 WOODMERE TRACE                                                                        WAUKESHA          WI    53189‐9609
JANET M GODBOUT                             3000 THIRTEEN MILE ROAD                                                                            WARREN            MI    48092‐3785
JANET M GORDON                              20437 ARDMORE                                                                                      DETROIT           MI    48235‐1510
JANET M GRAHAM                              9914 W MISSION LN                                                                                  SUN CITY          AZ    85351‐4860
JANET M GRILLONE                            111 PEBBLE BEACH BLVD                                                                              JACKSON           NJ    08527‐4066
JANET M GROENE & MARTHA E GROENE JT TEN     1460 SANTA MONICA DRIVE                                                                            DUNEDIN           FL    34698‐4435
JANET M HAGERMAN CUST MARC ANDREW HAGERMAN 3598 CAUSEWAY DRIVE                                                                                 LOWELL            MI    49331‐9414
UGMA MI
JANET M HAILEY                              409 SWEETEN WAY                                                                                    ASHEVILLE         NC    28803
JANET M HANDLEY                             302 SUNSET ISLAND TRAIL                                                                            GALLATIN          TN    37066‐5677
JANET M HARDING                             518 SNOWGLEN DR                                                                                    ENGLEWOOD         OH    45322‐1615
JANET M HARENCHAR & JOHN C HARENCHAR JT TEN G‐4282 W DODGE RD                                                                                  CLIO              MI    48420

JANET M HAWN                                    4015 KURTIS COURT                                                                              KOKOMO            IN    46902‐4400
JANET M HAYDUK                                  1509 DONORA                                                                                    LANSING           MI    48910‐1746
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JANET M HEFFERAN                                 23230 HOLLANDER                                                                                 DEARBORN           MI    48128‐1304
JANET M HOPKINS                                  6313 CARNATION RD                                                                               DAYTON             OH    45449‐3057
JANET M JACOBY                                   1899 RESERVE BLVD                                                                               GULF BREEZE        FL    32563‐7008
JANET M JAMES TR JANET M JAMES TRUST UA 07/24/00 5051 BRISTOL COURT                                                                              LOVELAND           OH    45140‐7725

JANET M JANICKI                                32243 CAMBORNE LANE                                                                               LIVONIA            MI    48154‐3176
JANET M JENNINGS                               2014 FAIR MEADOW DR                                                                               ARLINGTON          TX    76012‐2214
JANET M JOHNSON CUST JANELLE LYNNE WORDEN      7431 JENNINGS RD                                                                                  SWARTZ CREEK       MI    48473‐8865
UGMA MI
JANET M JOHNSON CUST JENNIFER SUE WORDEN UGMA 7431 JENNINGS RD                                                                                   SWARTZ CREEK       MI    48473‐8865
MI
JANET M JOHNSON CUST JILL LENEA WORDEN UGMA MI 7431 JENNINGS RD                                                                                  SWARTZ CREEK       MI    48473‐8865

JANET M JONES                                   245 RYAN RD                                                                                      SOMERVILLE         AL    35670‐5446
JANET M KEROACK                                 9721 E EMPIRE                                                                                    SPOKANE            WA    99206‐4377
JANET M KOESTER CUST ADAM J VANHOVELN UTMA IL   PO BOX 6                                                                                         CRESCENT CITY      IL    60928‐0006

JANET M KOLCON                                  1263 LAKESHORE DR                                                                                COLUMBIAVILLE      MI    48421‐9771
JANET M KOMAR                                   11053 CARR RD                                                                                    DAVISON            MI    48423‐9317
JANET M KOONTZ & NORMAN L KOONTZ JT TEN         525 FLORET AVE                                                                                   READING            PA    19605‐1103
JANET M KUBIAK                                  ATTN JANET M KORKUS                     5395 ROSEDALE                                            SAGINAW            MI    48603‐4465
JANET M LACINA                                  904 WELLINGTON CIR                                                                               AURORA             IL    60506‐6905
JANET M LAWSON                                  2161 CAMINO DE LOS ROBLES                                                                        MENLO PARK         CA    94025
JANET M LENNERTH                                7561 WOODCLIFF DR                                                                                HUDSONVILLE        MI    49426
JANET M LIM                                     PO BOX 2487                                                                                      MILL VALLEY        CA    94942‐2487
JANET M LINTNER                                 37111 ARAGONA E DRIVE                                                                            CLINTON TWP        MI    48036‐2005
JANET M LOLLEY                                                                                                                                   ROUSEVILLE         PA    16344
JANET M MAAS                                    10525 W CUSTER AVE                                                                               MILWAUKEE          WI    53225‐3219
JANET M MAILHOT                                 3016 SHIRLEY DRIVE                                                                               NEWBURY PARK       CA    91320‐3041
JANET M MALCOMSON                               35915 W CHICAGO ST                                                                               LIVONIA            MI    48150‐2523
JANET M MANER                                   3219 SWEETBRIAR RD SW                                                                            DECATUR            AL    35603‐3135
JANET M MARTIN                                  1798 E MOORE RD                                                                                  SAGINAW            MI    48601‐9353
JANET M MATHEWSON                               3294 ELWOOD LANE                                                                                 GRANDVILLE         MI    49418‐1623
JANET M MC CARTER                               1669 SALT RD                                                                                     PENFIELD           NY    14526‐1829
JANET M MCCARTHY                                4500 DOBRY DR                           APT 221                                                  STERLING HTS       MI    48314‐1244
JANET M MCNAMARA                                7849 TERRI DR                                                                                    WESTLAND           MI    48185‐9449
JANET M MERRILL                                 2009 N RILEY ROAD                                                                                MUNCIE             IN    47304‐2568
JANET M MILLER STEVEN L MILLER UTMA OK          20 LIBERTY LANE                                                                                  HARRAH             OK    73045‐6396
JANET M MINARIK                                 ATTN JANET M ENOS                       13045 DEMPSEY RD                                         ST CHARLES         MI    48655‐9703
JANET M OVERLEY TR JANET M OVERLEY REVOCABLE    250 SOUTH COATS RD                                                                               OXFORD             MI    48371‐4209
LIVING TRUST UA 7/25/97
JANET M PEEL                                    ONE TUSSEY CIR                                                                                   PITTSBURGH         PA    15237‐3742
JANET M PETERS                                  12690 ELMS ROAD                                                                                  BIRCH RUN          MI    48415‐8768
JANET M PHILLIPS & EDWARD J PHILLIPS JT TEN     71 PINE TREE LANE                                                                                MORGANTOWN         WV    26508
JANET M PHIPPS                                  10460 DOGWOOD LN                                                                                 OTISVILLE          MI    48463‐9798
JANET M PICHAN                                  3333 TRASK DRIVE                                                                                 HOLIDAY            FL    34691‐3354
JANET M PICK TR UA 10/29/92 THE PICK TRUST      25 TORRITO LANE                                                                                  LAKE HAVASU CITY   AZ    86403‐5945

JANET M POWERS                                  2083 FALLING FOREST LN                                                                           KEMAH              TX    77565‐3241
JANET M PURCELL                                 214 SCATACOOK LANE                                                                               SOUTH BURY         CT    06488‐1020
JANET M ROBERTS                                 13616 CASTLE CLIFF WAY                                                                           SILVER SPRING      MD    20904‐5488
JANET M RUOFF                                   5250 ALEXANDER DR                                                                                BRITTON            MI    49229‐9430
JANET M SAGERT & TIMOTHY J SAGERT JT TEN        14572 EMERSON DR                                                                                 STERLING HEIGHTS   MI    48312‐5755

JANET M SANDER                                  608 SOUTH LIBERTY AVE                                                                            INDEPENDENCE       MO    64050‐4402
JANET M SCHAEFF                                 6527 RISING SPRING CT                                                                            DAYTON             OH    45459‐1340
JANET M SEIBER                                  4889 CORDELL DR                                                                                  DAYTON             OH    45439‐3113
JANET M SENSOR                                  821 MARKHAM STREET                                                                               FLINT              MI    48507‐2566
JANET M SMITH                                   43853 BARLETTA ST                                                                                TEMECULA           CA    92592‐3944
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JANET M SPANIOLA & ARTHUR F SPANIOLA JT TEN        14572 EMERSON DR                                                                                STERLING HEIGHTS   MI    48312‐5755

JANET M SWANSON                                    5234 CANDLEWOOD DR                                                                              GRAND BLANC        MI    48439‐2009
JANET M TERRY                                      510 E ROSS AVE                                                                                  CINCINNATI         OH    45217‐1124
JANET M TODD                                       1 SUNRISE DR.                                                                                   EAST SETAUKET      NY    11733
JANET M TOPPER & RICHARD T TOPPER JT TEN           662 D ST                                                                                        PASADENA           MD    21122‐4418
JANET M TOWNSEND & WAYNE G TOWNSEND JT TEN         10781 PASSION VINE CT                                                                           LAS VEGAS          NV    89135‐2832

JANET M VANCE & MAURICE K VANCE JT TEN             406 ERIE DR                                                                                     JUPITER            FL    33458‐4216
JANET M VILCHINSKY & DAVID J VILCHINSKY JT TEN     215 LISHAKILL ROAD                                                                              SCHENECTADY        NY    12309‐3223

JANET M VIRNIG                                  6017 WASHBURN AVE S                                                                                MINNEAPOLIS        MN    55410‐2850
JANET M WEARING TR JANET M WEARING LIVING TRUST 263 LITTLE CANYON DR                                                                               SPRUCE             MI    48762‐9748
UA 05/28/88
JANET M WEAVER                                  176 HISTORIC DR                                                                                    MT PLEASANT        SC    29464‐7899
JANET M WILSON CUST LISA M WILSON UGMA MI       1482 SHERIDAN STREET                                                                               PLYMOUTH           MI    48170‐1533
JANET M WISE                                    1328 56TH ST                                                                                       DES MOINES         IA    50311‐2212
JANET M WOO CUST MICOLE WOO UTMA NY             26 VAILS LANE                                                                                      OSSINING           NY    10562‐2705
JANET M YEARBY                                  PO BOX 145                                                                                         MT MORRIS          MI    48458‐0145
JANET M YOUNT                                   PO BOX 64                                                                                          BARNHART           MO    63012‐0064
JANET M ZAIKIS                                  158 SOUTH STREET                                                                                   NORWELL            MA    02061‐2431
JANET M ZANGARA & JOHN A ZANGARA & VICKI M      844 SWALLOW ST SW                                                                                  WARREN             OH    44485
WISEMAN JT TEN
JANET MAC DONELL SHUTE                          150 E 73RD ST                                                                                      NEW YORK           NY    10021‐4362
JANET MACDONELL SHUTE                           150 E 73RD ST                             APT 3D                                                   NEW YORK           NY    10021‐4362
JANET MACWEBB                                   330 N MCKINLEY ROAD                                                                                FLUSHING           MI    48433‐1644
JANET MAE JOHNSON                               PO BOX 223                                                                                         BALDWIN            MI    49304
JANET MAE MCCLURE                               3756 MENNONITE RD                                                                                  MANTUA             OH    44255‐9412
JANET MANNING                                   1 PUTNAM RD                                                                                        EAST BRUNSWICK     NJ    08816‐2749
JANET MARIAN KASKI                              828 SHERWOOD RD                                                                                    LAGRANGE PARK      IL    60526‐1546
JANET MARIE BLAKELEY                            2925 EAST ST JOHN ROAD                                                                             PHOENIX            AZ    85032‐1948
JANET MARIE DECKER                              40 CRANBERRY WAY                                                                                   MARION             MA    02738‐1005
JANET MARIE LANE                                1017 RUBICON ROAD                                                                                  DAYTON             OH    45409‐2506
JANET MARIE MONKS                               3831 SUTER ST                                                                                      OAKLAND            CA    94619‐1238
JANET MARIE MURRAY                              2200 NORTH BANNER ROAD                                                                             SANDUSKY           MI    48471‐9133
JANET MARIE NYGA                                6429 UNION AVE                                                                                     FINLEYVILLE        PA    15332‐1029
JANET MARIE OGLE                                1239 SPAULDING ST                                                                                  SHERIDAN           WY    82801
JANET MARIE ROBINSON                            3134 SOMERSET GREEN CT                                                                             SAINT LOUIS        MO    63136‐2413
JANET MARIE ROSS                                2852 BERKLEY ST                                                                                    FLINT              MI    48504‐7511
JANET MARIE ROUCKA & OLGA L ROUCKA JT TEN       40 W815 CHIPPEWA PASS                                                                              PLATO CENTER       IL    60124‐8299
JANET MARIE SHURTZ                              5886 RIVARD ROAD                                                                                   MILLINGTON         MI    48746‐9485
JANET MARIE WILLIAMS                            16257 S VIRGINIA                                                                                   PARAMOUNT          CA    90723‐5519
JANET MARKS SOBEL                               33 SOUTHPORT LN                           APT F                                                    BOYNTON BEACH      FL    33436‐6430
JANET MARY MC CUE CUST MARY COLLEEN MC CUE      1408 ELIZABETH LN                                                                                  GLENVIEW           IL    60025‐3159
UGMA IL
JANET MAXWELL                                   9000 E JEFFERSON AVENUE                   APT 17‐8                                                 DETROIT            MI    48214
JANET MC CAULEY STARK                           425 EAST 86TH STREET                      APT 8A                                                   NEW YORK           NY    10025
JANET MCADAM                                    124 BLACK RIDGE CT                                                                                 TRAVERSE CITY      MI    49686‐8676
JANET MCFERREN                                  284 CONNECTICUT AVE                                                                                LAKE HELEN         FL    32744‐2604
JANET MIDORI LYND & GRANT LYND JT TEN           17115 ROUNDHILL                                                                                    HUNTINGTON         CA    92649‐4216
                                                                                                                                                   BEACH
JANET MILLER                                       848 GLENWOOD RD                                                                                 GLENVIEW           IL    60025‐3304
JANET MITCHELL                                     758 GLENDORA AVENUE                                                                             AKRON              OH    44320‐1959
JANET MOORE                                        4415 CAMPBELL                                                                                   INDIANAPOLIS       IN    46226‐3326
JANET N REICHART                                   2610 E 9TH ST                                                                                   ANDERSON           IN    46012‐4408
JANET NAKAMURA                                     7341 COHO DR #103                                                                               HUNTINGTON         CA    92648
                                                                                                                                                   BEACH
JANET NETON                                        7260 WHEATLAND MEADOWS CRT                                                                      W CHESTER          OH    45069‐5814
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JANET NEWCOMB BISHOP TR UA 09/30/2009 JOYCE M   403 PEPPERTREE ROAD                                                                           VENICE            FL    34293
NEWCOMB REVOCABLE TRUST
JANET O WARING CUST MEREDITH DANA WARING        1623 NORTH 54TH ST                                                                            SEATTLE           WA    98103‐6119
UGMA NJ
JANET ODRISCOLL & THOMAS E ODRISCOLL JT TEN     1040 CARPENTER                                                                                PALATINE          IL    60067‐4008

JANET P ARLINE                                  5123 PEARL                                                                                    ANDERSON          IN    46013‐4865
JANET P BAKER                                   900 WILSON RD N #1305                OSHAWA ON                              L1G 7T2 CANADA
JANET P BURK                                    PO BOX 111                                                                                    FRANKLIN          IN    46131
JANET P CAVANAUGH                               201 WEST NORTH UNION                                                                          BAY CITY          MI    48706‐3520
JANET P JONES                                   1836 OLT RD                                                                                   DAYTON            OH    45418‐1742
JANET P KING & FRANCIS M KING JT TEN            132 LANCASTER DR APT 418                                                                      IRVINGTON         VA    22480‐9744
JANET P LISEC & C DEREK LISEC JT TEN            2801 WEST ROADRUNNER                                                                          TUCSON            AZ    85746
JANET P REMINGTON                               2850 TRAILWOOD DR                                                                             ROCHESTER HILLS   MI    48309‐1440
JANET P ROME                                    22 BRYON RD #4                                                                                CHESTNUT HILL     MA    02467‐3331
JANET P WATSON                                  5822 WATERFRONT DR S                                                                          COLUMBIA          MO    65202‐6515
JANET P WOOD & KARIN JORGENSEN JT TEN           282 GREEN TERRACE                                                                             CLARKSBORO        NJ    08020‐1302
JANET PETTY SHEFFIELD                           525 LOG HALL ROAD                                                                             RIDGELAND         SC    29936
JANET PICKUP PATTERSON                          289 JENNIFER WAY                                                                              PLEASANT HILL     CA    94523‐2254
JANET PIERCE HESHELMAN                          RR 4 BOX 438                                                                                  BLOOMFIELD        IN    47424‐9504
JANET PULVER                                    1081 DURBIN PARKE DR                                                                          JACKSONVILLE      FL    32259‐4265
JANET R BAXTER                                  3745 W VALLEY BLVD                   SP 48                                                    WALNUT            CA    91789‐1512
JANET R BOONE                                   4008 SILVER PARK TER                                                                          SUITLAND          MD    20746‐3034
JANET R CALVE & GERALD A CALVE JT TEN           112 COLONY SOUTH DRIVE                                                                        TARPON SPRINGS    FL    34689‐2865
JANET R CUTHBERTSON                             11261 JONCEY DRIVE                                                                            ROSCOE            IL    61073‐9231
JANET R DOWSON                                  515 OLD BRAMPTON CRT                 OSHAWA ON                              L1G 7R3 CANADA
JANET R GAGE                                    ATTN JANET R JONES                   2613 BANBURY COURT                                       CARLSBAD          CA    92008‐2888
JANET R HARE                                    PO BOX 227                                                                                    GETZVILLE         NY    14068‐0227
JANET R JEWEL                                   1431 FARMINGTON RD                                                                            BIRMINGHAM        AL    35235‐2836
JANET R JONES                                   2613 BANBURY COURT                                                                            CARLSBAD          CA    92008‐2888
JANET R MATTHEWS & LEE H MATTHEWS JT TEN        5 PLATT ST                                                                                    KENNER            LA    70065‐1018
JANET R MCCULLOUGH                              4419 MOUNDS ROAD                                                                              ANDERSON          IN    46017‐1840
JANET R MORROW & WILLIAM E MORROW III JT TEN    1704 CLEARVIEW DR                                                                             LOUISVILLE        KY    40222‐4123

JANET R OYLER                                  135 SCOTT ST                                                                                   HOLLISTER         MO    65672‐5188
JANET R PETERS CUST SARA J PETERS UTMA‐MI      5407 ANN DR                                                                                    BATH              MI    48808‐8757
JANET R PETO                                   326 NORTH DR                                                                                   DAVISON           MI    48423‐1627
JANET R POTASH                                 309 YOAKUM PKWY                       APT 609                                                  ALEXANDRIA        VA    22304
JANET R RHOADES                                119 HAMILTON RD                                                                                SATSUMA           FL    32189‐3060
JANET R SHKORUPA                               1290 W DIAMOND VALLEY DR                                                                       ST GEORGE         UT    84770‐6008
JANET R SMITH                                  1343 NOLA RD N E                                                                               BROOKHAVEN        MS    39601‐9366
JANET R T FUCHS & ALBERT C FUCHS JT TEN        232 S CLARK DR                                                                                 BEVERLY HILLS     CA    90211‐2609
JANET RIBERDY                                  ATTN JANET LOZINSKI                   74 UCONN DR                                              BRISTOL           CT    06010‐2383
JANET RICHARDSON HENDRICKS CUST ASHTON         1357 TOM STILL ROAD                                                                            TALLAHASSEE       FL    32310‐7541
RICHARDSON HENDRICKS UGMA FL
JANET RICHARDSON HENDRICKS CUST LAUREN CECILIA 1357 TOM STILL ROAD                                                                            TALLAHASSEE       FL    32310‐7541
HENDRICKS UGMA FL
JANET RITTMAN                                  471 RYDERS LN                                                                                  E BRUNSWICK       NJ    08816‐2766
JANET ROBLES & CRUZ ARIEL ROBLES JT TEN        79 DOUGLASS STREET                    APT 3                                                    BROOKLYN          NY    11231
JANET ROSE KALO                                PO BOX 1123                                                                                    ELEANOR           WV    25070‐1123
JANET ROTKO                                    PO BOX 460                                                                                     PORT SANILAC      MI    48469‐0460
JANET RUNYON & RHONDA JO RUNYON & MELISSA GAIL 13748 MARTIN RD                                                                                WARREN            MI    48093‐4365
RUNYON JT TEN
JANET S ANDERSON                               2318 LOST CREEK DRIVE                                                                          FLUSHING          MI    48433‐9468
JANET S BANK                                   3010 HARTRIDGE TERRACE                                                                         WELLINGTON        FL    33414
JANET S BOLTON                                 6060 NW 69TH CRT                                                                               OCALA             FL    34482
JANET S BORRON                                 130 THERESE ST                                                                                 DAVENPORT         FL    33897
JANET S BOYLE                                  40 BONNET VIEW DR                                                                              NARRAGANSETT      RI    02882‐2613
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JANET S CHISHOLM                                67 WATCHUNG AVE                                                                                  UPPER MONTCLAIR NJ      07043‐1337

JANET S DONNELLY                                4437 OLD CARRAIGE RD                                                                             FLINT             MI    48507‐5619
JANET S DOUGLAS                                 W339N6695 LOGHOUSE CIR                                                                           OCONOMOWOC        WI    53066‐1970
JANET S ECKHOFF                                 911 EDGEMONT PARK                                                                                GROSSE PTE PARK   MI    48230‐1854
JANET S EVANCIK                                 910 ADA                                                                                          PARAGOULD         AR    72450‐5624
JANET S FOWLER                                  1700 BROADBRIDGE AVE                    A28                                                      STRATFORD         CT    06614
JANET S FROWNFELTER                             1250 ANGELICA ST                                                                                 BOWLING GREEN     KY    42104‐5540
JANET S FUNK                                    C/O MARGARET M BURTON                   130 AUDREY LN                                            INWOOD            WV    25428
JANET S GILMORE                                 80 MAYFLOWER TERRACE                                                                             SOUTH YARMOUTH    MA    02664‐1117

JANET S HICKS                                   2252 DARNEL                                                                                      WALLED LAKE       MI    48390‐1844
JANET S HOLM                                    ATTN JANET H GERBER                     409 READING AVE                                          ROCKVILLE         MD    20850‐1520
JANET S HOOK                                    1829 MARNE ESTATES DR                                                                            MARNE             MI    49435‐9743
JANET S KEPNER & CHARLES D KEPNER JR JT TEN     372 MERIDIAN ST EXT UNIT 54                                                                      GROTON            CT    06340‐4163
JANET S KUCHOLICK                               740 WINIFRED WAY                                                                                 THE VILLAGES      FL    32162‐1621
JANET S LESAK & KAREN A LESAK JT TEN            405 S DEBORAH                                                                                    MT PROSPECT       IL    60056‐2821
JANET S LOVELADY                                1546 WOOD LODGE DR                                                                               HOUSTON           TX    77077‐4231
JANET S MC OMBER & GARY MC OMBER JT TEN         34 FRAMINGHAM LANE                                                                               PITTSFORD         NY    14534‐1048
JANET S MCOMBER                                 34 FRAMINGHAM LANE                                                                               PITTSFORD         NY    14534‐1048
JANET S MCROBB                                  10200 GIBBS RD                                                                                   CLARKSTON         MI    48348‐1516
JANET S MERCANDINO                              6338 DOWNS RD                                                                                    WARREN            OH    44481‐9462
JANET S MILLER                                  24 DIFRANCO LN                                                                                   OFALLON           MO    63366‐2722
JANET S OAKS                                    42647 REDFERN DRIVE                                                                              CANTON            MI    48187‐3453
JANET S OSBORN                                  7010 E STATE ROAD 28                                                                             ELWOOD            IN    46036‐8441
JANET S RINGSTROM & BRUCE A RINGSTROM JT TEN    52 QUAIL HOLLOW DR                                                                               HOCKESSIN         DE    19707‐1404

JANET S RUCKER                                  902 BARLEY DR                                                                                    GREENVILLE        DE    19807‐2532
JANET S SATHER                                  213 COUNTRY PL                          APT 153                                                  SACRAMENTO        CA    95831‐2086
JANET S SHERWOOD                                4013 ARNST WAY                                                                                   SPRING HILL       TN    37174‐9265
JANET S SHORTINO                                1080 VROOM RD                                                                                    SPENCERPORT       NY    14559‐9713
JANET S SORIANO                                 2705 ROSEWAE DR                                                                                  YOUNGSTOWN        OH    44511‐2248
JANET S VEIGEL                                  800 HART ST                                                                                      DAYTON            OH    45404‐1955
JANET S WAYMIRE                                 PO BOX 266                                                                                       MARSHING          ID    83639‐0266
JANET SAINSBURY CUST SARAH SAINSBURY UTMA PA    278 VALLEY STREAM LANE                                                                           WAYNE             PA    19087

JANET SANFORD                                   157 PEARL ST                                                                                     HOLLAND           NY    14080‐9607
JANET SCHACHERER                                518 PECOS CIR                                                                                    NEW BRAUNFELS     TX    78130‐9127
JANET SELFE                                     4406 U S ROUTE 20 WEST                                                                           MONROEVILLE       OH    44847‐9720
JANET SENSOR CUST STACEY SENSOR UGMA MI         1471 W HOUGHTON LAKE DR                                                                          PRUDENVILLE       MI    48651‐9708
JANET SOLTIS                                    72 FREEDOM STREET                                                                                CAMPBELL          OH    44405‐1017
JANET SPENCE                                    4402 N PERSHING DR                                                                               ARLINGTON         VA    22203‐2749
JANET STANTON CUST MATTHEW STANTON UTMA IL      4622 LAKE VALLEY DR                     APT 2C                                                   LISLE             IL    60532‐1443

JANET STARUCH                                  297 BOULEVARD                                                                                     KENILWORTH        NJ    07033‐1541
JANET STAVRACOS & CONSTANTINO STAVRACOS JT TEN 1515 HONEY BEE LANE                                                                               WILMINGTON        NC    28412

JANET STERN FATHY CUST JENNIFER FATHY UGMA TX   1304 NORTHLAKE RD                                                                                RICHARDSON        TX    75080‐4724

JANET STERN FATHY CUST KELLY FATHY UGMA TX      1304 NORTHLAKE ROAD                                                                              RICHARDSON        TX    75080‐4724
JANET STRICKLAND JONES                          116 WILDERNESS LANE                                                                              WILLIAMSBURG      VA    23188‐7102
JANET STROHECKER CARROLL TR UA 01/10/86 R       2280 GONDAR                                                                                      LONG BEACH        CA    90815‐3332
STROHECKER TRUST
JANET SUE HAMILTON                              1956 JACKSON RD                                                                                  VANDALIA          OH    45377‐9527
JANET SUE PALMER                                ATTN JANET SUE CRITTLE                  4160 SCOTCH PINE CT                                      PERRY             OH    44081‐9312
JANET SUE WINDSCHANZ MOELLER                    1252 N 23RD STREET                                                                               FORT DODGE        IA    50501‐2103
JANET SUSAN EMMONS                              2950 BROOKS BEND DR                                                                              CARMEL            IN    46032‐4063
JANET T BROWN                                   331 PRESTON AVE                         403 ROBIN HILL APTS                                      VOORHEES          NJ    08043‐1756
JANET T CHERRY                                  405 S PERKINS RD                        APT 450                                                  MEMPHIS           TN    38117
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JANET T KARGL                                   6675 SUERWIER RD                                                                                  APPLEGATE          MI    48401‐9607
JANET T KAUFMANN                                3940 N CLARK ST                          APT 808                                                  CHICAGO            IL    60613‐2637
JANET T SCOTT                                   BETTY BISSONNETTE                        PO BOX 694                                               MATTAPOISETT       MA    02739‐0694
JANET THOMPSON & ANNETTE THOMPSON JT TEN        141 FINN RD                                                                                       MUNGER             MI    48747‐9720
JANET THOMPSON & BARBARA J THOMPSON JT TEN      141 FINN RD                                                                                       MUNGER             MI    48747‐9720

JANET THOMPSON & KATHRYN KRABBE JT TEN          141 FINN RD                                                                                       MUNGER             MI    48747‐9720
JANET TOURVILLE                                 3662 ST MARY                                                                                      AUBURN HILLS       MI    48326‐1442
JANET TURTON                                    370 KENNEDY AVE                                                                                   ANGOLA             NY    14006‐9458
JANET UCCIFERRI                                 776 OUTLOOK AVENUE                                                                                NORTH BABYLON      NY    11704‐4425
JANET V CHAMBERS                                1436 OAK GROVE DR                                                                                 WALLED LAKE        MI    48390
JANET V DAVIS CUST STEPHANIE V BATTLE UGMA MI   2505 MORRISH RD                                                                                   FLUSHING           MI    48433‐9411

JANET V KRICK                                   218 NELSON FERRY RD                                                                               DECATUR            GA    30030‐2318
JANET V RICHTER                                 9351 LANSFORD DR                                                                                  CINCINNATI         OH    45242‐6157
JANET V SILVEY                                  100 EMS C17 LN                                                                                    WARSAW             IN    46582‐7904
JANET VAN DYKE                                  14810 INTERLAKE AVE NORTH                                                                         SHORELINE          WA    98133‐6242
JANET W BETTS                                   3703 DAVIS PECK                                                                                   FARMDALE           OH    44417‐9740
JANET W CHAN                                    35751 MAUREEN DR                                                                                  STERLING HEIGHTS   MI    48310‐4776

JANET W DREWNIAK                                119 NORTHWOOD DR                                                                                  DEPEW              NY    14043
JANET W LOMBARDO                                10 FOX HILL ROAD                                                                                  UPPER SADDLE       NJ    07458‐1315
                                                                                                                                                  RIVER
JANET W MACDONALD & KENNETH J MACDONALD JT      4857 CASTLEWOOD DRIVE                                                                             LILBURN            GA    30047‐4786
TEN
JANET W STEBBINS & DAN W STEBBINS JT TEN        368 CROTON DR                                                                                     MAITLAND           FL    32751‐3114
JANET W VOLLRATH                                18 SPRINGFIELD AVE #4D                                                                            CRANFORD           NJ    07016‐2165
JANET WALES BROWN                               4501 ERWIN RD                                                                                     DURHAM             NC    27705‐5200
JANET WALLACE                                   30 MOUNTAIN ST                                                                                    CAMDEN             ME    04843‐1639
JANET WALSTON                                   4670 HERITAGE DR                                                                                  CANFIELD           OH    44406‐9210
JANET WATKIN                                    4702 E CHARLESTON AVE                                                                             PHOENIX            AZ    85032‐9549
JANET WAYNE DICKSON                             501 PHEASANT LN                                                                                   WHITEHOUSE         TX    75791‐5722
JANET WEBER                                     9247 MCKINNEY RD                                                                                  LOVELAND           OH    45140‐9030
JANET WEIS CUST JAMIE WEIS UTMA CA AGE 18       1715 KIWI GLEN                                                                                    ESCONDIDO          CA    92026
JANET WEYCKER & SIDNEY G WEYCKER JT TEN         3103 EASTGATE                                                                                     BURTON             MI    48519‐1552
JANET WHELAN                                    315 HARTMAN ST                                                                                    WATERLOO           IL    62298‐1711
JANET WHITE LAYTHAM                             4739 N 16TH ST                                                                                    ARLINGTON          VA    22205‐2622
JANET WING ASHLEY TR UA 03/12/2003 JANET WING   872 DURSLEY RD                                                                                    BLOOMFIELD         MI    48304
ASHLEY TRUST
JANET WINNE                                     10 ELMHURST AVE                                                                                   ALBANY             NY    12205‐5416
JANET WITHERSPOON                               17 SCHOONER DR                                                                                    ROCKLAND           ME    04841‐2540
JANET WITT                                      3480 GLEN ABBEY LN                                                                                LAKELAND           FL    33810‐5740
JANET WODO & HERBERT JOHN LUFFMAN TR UW         719 MORGAN RD                                                                                     SCOTTSVILLE        NY    14546‐9755
WILLIAM E LUFFMAN
JANET Y HEIDEL                                  5124 MERIT DR                                                                                     FLINT              MI    48506‐2127
JANET Y HUFF                                    3917 BROWN FARM RD                                                                                HAMILTON           OH    45013‐9585
JANET Y KOJIMA                                  15903 MAIN ST                                                                                     BELLEVUE           WA    98008‐4453
JANET Y SCHNELL                                 5834 OAK POINT DR                                                                                 CASEVILLE          MI    48725‐9766
JANET ZIMBERG                                   144 PARKVIEW ST                                                                                   DAVIDSON           NC    28036‐6917
JANETH G PETERSEIM                              PO BOX 81                                                                                         KALONA             IA    52247‐0081
JANETT L PAYNE                                  12284 LANSDOWNE                                                                                   DETROIT            MI    48224‐1046
JANETTA STAMLER                                 1991 VAIL AVE                                                                                     MUSCATINE          IA    52761‐9475
JANETTE A JEAKLE                                71 HUNTERS RILL                                                                                   LAPEER             MI    48446‐4100
JANETTE C COLLIER                               5301 LINCOLN BLVD                                                                                 MARION             IN    46953‐6202
JANETTE C SHRIVER FISCHER                       6075 FAIRWAY DR W                                                                                 FAYETTEVILLE       PA    17222‐9651
JANETTE CHRISTIE                                1507 N LEEDS                                                                                      KOKOMO             IN    46901‐2028
JANETTE CROCKER                                 108 PIER 33 DR UNIT 404                                                                           MOORESVILLE        NC    28117
JANETTE E TAZZIA                                2520 WESTBORO DR NE                                                                               GRAND RAPIDS       MI    49506‐1261
JANETTE G AMOS                                  1002 BRENTWOOD DRIVE                                                                              ETOWAH             TN    37331‐1824
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Name                                             Address1                              Address2                  Address3     Address4          City               State Zip

JANETTE J TEDFORD                                2428 EAGLE DR                                                                                  DEL CITY           OK    73115‐1640
JANETTE K MEYER                                  5430 EAST COUNTY ROAD 750 N                                                                    PITTSBORO          IN    46167‐9114
JANETTE KAWA                                     33742 TWICKINGHAM                                                                              STERLING HEIGHTS   MI    48310‐6356

JANETTE KAY PREECE                               1931 FERN                                                                                      ROYAL OAK          MI    48073‐4185
JANETTE L OWENS‐WALTON                           1200 CABANA RD #2                                                                              SINGER ISLAND      FL    33404‐3804
JANETTE M FARRUGGIA                              143 FARRELL RD EXT                                                                             W HENRIETTA        NY    14586
JANETTE M MAAS                                   395 STILLWOOD DR                                                                               NEWNAN             GA    30265
JANETTE M OWENS                                  33511 FLORENCE                                                                                 GARDEN CITY        MI    48135‐1097
JANETTE M OWENS & EDGAR A OWENS JT TEN           33511 FLORENCE                                                                                 GARDEN CITY        MI    48135‐1097
JANETTE MARIE OWENS                              33511 FLORENCE                                                                                 GARDEN CITY        MI    48135‐1097
JANETTE MCANALLEN                                9704 RUGBY CT                                                                                  ELLICOTT CITY      MD    21042‐6350
JANETTE MILLER                                   14804 E 40 ST                                                                                  INDEPENDENCE       MO    64055‐4243
JANETTE P MICHALOVIC                             2847 MAHAN‐DENMAN NW                                                                           BRISTOLVILLE       OH    44402‐9773
JANETTE REEVE PORTER                             507 LLAMA TRAIL                                                                                HARKER HEIGHTS     TX    76548‐5637
JANETTE S FOSTER                                 PMB 212                               3213 DUKE ST                                             ALEXANDRIA         VA    22314‐4533
JANETTE UHL                                      12485 ROBINWOOD ST                                                                             BROOKFIELD         WI    53005‐6501
JANETTE W WRAY                                   4490 E HILL RD                                                                                 GRAND BLANC        MI    48439‐7635
JANEY M HARMON                                   4224 COASTAL PARKWAY                                                                           WHITE LAKE         MI    48386‐1100
JANI RUTH MAXWELL                                PO BOX 62                                                                                      WESLACO            TX    78599‐0062
JANICE A AMODEO                                  713 N WILSHIRE DR                                                                              MT PROSPECT        IL    60056‐2145
JANICE A AMODEO & RICHARD D AMODEO JT TEN        713 N WILSHIRE DR                                                                              MT PROSPECT        IL    60056‐2145
JANICE A BELFIELD                                #22                                   3880 LOCKPORT OLCOTT RD                                  LOCKPORT           NY    14094‐1162
JANICE A BROWN                                   9716 FENTON                                                                                    REDFORD            MI    48239‐1684
JANICE A BROWN                                   735 PARKSIDE DR                                                                                WOOSTOCK           GA    30188‐6057
JANICE A BURNS                                   ATTN JANICE A WILLSON                 2202 BRIGGS                                              WATERFORD          MI    48329‐3705
JANICE A BURROW                                  19306 ARDMORE                                                                                  DETROIT            MI    48235‐1703
JANICE A COLE & GERALD A COLE JT TEN             52433 HUMMINGBIRD CT                                                                           SHELBY TWP         MI    48316‐2955
JANICE A FRASER                                  16530 CURTIS                                                                                   ROSEVILLE          MI    48066‐3758
JANICE A FREEDMAN                                4113 GALAX DRIVE                                                                               RALEIGH            NC    27612‐3711
JANICE A GAINES                                  620 W LIBERTY ST                                                                               SPRINGFIELD        OH    45506‐2026
JANICE A GENEROUS                                38685 STACEY CT                                                                                LIVONIA            MI    48154‐1025
JANICE A HALE & JAMES E HALE JT TEN              4232 BORDEAUX DR                                                                               KENNER             LA    70065‐1740
JANICE A HEISER                                  372 WEATHERSFIELD DR                                                                           DAYTON             OH    45440‐4448
JANICE A HOWARD                                  12900 SYCAMORE AVE                                                                             GRANDVIEW          MO    64030‐2178
JANICE A HURRAY & JOHN S HURRAY JT TEN           253 RIVER ROAD                                                                                 HINCKLEY           OH    44233‐9455
JANICE A KNAUS & DENNIS A KNAUS JT TEN           41130 MARKS DR                                                                                 NOVI               MI    48375‐4934
JANICE A KOZAK                                   110 HICKORY LN SW                                                                              WARREN             OH    44481‐9612
JANICE A MITCHELL                                12759 FINLAY RD                                                                                SILVERSTON         OR    97381‐9500
JANICE A MORGAN & PHILIP A MORGAN JT TEN         328 MOHAWK                                                                                     DEARBORN           MI    48124‐1324
JANICE A OLIVER                                  15248 FORD ST                                                                                  KENT               NY    14477‐9723
JANICE A PAPEZ                                   4657 MORNINGSIDE DRIVE                                                                         CLEVELAND          OH    44109‐4557
JANICE A PETRIK                                  1442 MENDELSSOHN DRIVE                                                                         WESTLAKE           OH    44145‐2345
JANICE A PREPURA CUST JULIE PREPURA UTMA IL      1172 GREENBAY ROAD                                                                             HIGHLAND PARK      IL    60035‐4068
JANICE A ROBISON & JAMES C ROBISON JT TEN        4636 VENOY                                                                                     SAGINAW            MI    48604‐1539
JANICE A SCHRANK                                 726 W FRONT ST                                                                                 APPLETON           WI    54914‐5467
JANICE A SLAGLE                                  5130 SE 49TH ST                                                                                BERRYTON           KS    66409‐9720
JANICE A SMITH                                   6676 CORWIN AVE                                                                                WAYNESVILLE        OH    45068‐8957
JANICE A SULLIVAN                                4985 OAK PARK DR                                                                               CLARKSTON          MI    48346‐3937
JANICE A SWEET                                   2221 SHERBURNE RD                                                                              WALWORTH           NY    14568‐9589
JANICE A TABB                                    2605 M'CULLOUGH ROAD                  PORT HOPE ON                           L1A 3V7 CANADA
JANICE A WEITZMAN & DEAN E WEITZMAN JT TEN       979 N WARD AVE                                                                                 GIRARD             OH    44420‐1955
JANICE A WELCH                                   8055 BURT ROAD                                                                                 BIRCH RUN          MI    48415‐8713
JANICE A YOUNG TR JANICE A YOUNG TRUST UA        4445 BURNHAM AVE                                                                               TOLEDO             OH    43612
05/04/99
JANICE ABDO‐ROTT & JOHN J ROTT JT TEN            4604 BRICKYARD FALLS                                                                           MANLIUS            NY    13104‐9325
JANICE ALIENE BLIZZARD                           4524 SUN GOLD CT                                                                               SALIDA             CA    95368‐9060
JANICE ANDRES CUST SARAH ELIZABETH ANDRES UGMA   13 SMOKEY HILL RD                                                                              WAYLAND            MA    01778‐3807
MA
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JANICE ANN BERNHARDT                                22927 WOODEND ROAD                                                                           TONGANOXIE        KS    66086‐3328
JANICE ANN FORKNER                                  2439 DEVONSHIRE DR                                                                           ROCKFORD          IL    61107‐1533
JANICE ANN MCCARTHY                                 1031 EAST OHIO ST                                                                            PITTSBURGH        PA    15223
JANICE ANN TAYLOR                                   1420 WOODBRIDGE DR                                                                           TYLER             TX    75703‐3234
JANICE ANN TROCCHIO                                 82 LOCUST AVE                                                                                NEPTUNE CITY      NJ    07753‐6217
JANICE ARENA                                        517 TROTTERS PL                                                                              FRANKLIN          TN    37067‐5048
JANICE AYA KOCHI                                    5809 RECIFE WAY                                                                              SAN JOSE          CA    95120‐1731
JANICE B BUNCH                                      8700 SOUTH RIVER                                                                             ALAMOSA           CO    81101‐9607
JANICE B CASEY                                      112 TENNENT RD                                                                               MORGANVILLE       NJ    07751‐1132
JANICE B DEVENGENCIE                                1502 KEARNEY ST                                                                              NILES             OH    44446‐3844
JANICE B ISGUR DICROCE TR UA 06/25/2001 JANICE B    10026 VIEW CREST COURT                                                                       SPRING VALLEY     CA    91977
ISGUR DICROCE TRUST
JANICE B JENNINGS & JAMES BRYAN & GAIL A BRYAN JT   27411 CAMBRIDGE                                                                              GARDEN CITY       MI    48135‐2233
TEN
JANICE B LEE EX UW JAMES T BROWN                    609 MOON RD                                                                                  LAWRENCEVILLE     GA    30045‐6107
JANICE B LOVERCHECK                                 330 OLD MILL ROAD                                                                            ERIE              PA    16505‐1031
JANICE B RICHTER                                    7808 KAWSHEK PATH                                                                            HANOVER           MD    21076‐1252
JANICE B ROSAN                                      55 WALTER ST                                                                                 CAMPBELL          OH    44405‐1367
JANICE B THOMAS & TASHARA T JOHNSON JT TEN          3605 CROYDON RD                                                                              GWYNN OAK         MD    21207
JANICE BACHMANN                                     196 ASHLAND AVE                                                                              BLOOMFIELD        NJ    07003‐2419
JANICE BEVERLY STEVENS                              801 CR 3009                                                                                  NEW BOSTON        TX    75570‐6297
JANICE BIGELOW & BRUCE J BIGELOW JT TEN             615 WARNER                                                                                   LINDEN            MI    48451‐9659
JANICE BOHNE DEAN                                   1619 FOX HILL CT                                                                             ANDERSON          IN    46011‐1120
JANICE BOSH PHILLIPS                                5099 WAYCROFT CT                                                                             HILLIARD          OH    43026‐8662
JANICE BRADLEY                                      10830 OLD HALLS FERRY ROAD                                                                   ST LOUIS          MO    63136‐4543
JANICE BRECHT                                       4608 EDEN ST                                                                                 PHILADELPHIA      PA    19114
JANICE BRIGHT                                       6124 NORTH COUNTY ROAD 29C                                                                   BELLVUE           CO    80512
JANICE BROWN                                        1183 SUTTON AVE                     OSHAWA ON                              L1H 8G2 CANADA
JANICE BROWN                                        1183 SUTTON AVE                     OSHAWA ON                              L1H 8G2 CANADA
JANICE C ARREOLA                                    522 W COLLEGE AVENUE                                                                         WAUKESHA          WI    53186
JANICE C CLARK                                      7039 HUDSON RD                                                                               KENT              OH    44240‐6021
JANICE C DERBY                                      2023 COLVIN BLVD                                                                             TONAWANDA         NY    14150‐6905
JANICE C DUVE TR UA 06/27/01 DUVE REVOCABLE         806 S WACOUTA AVE                                                                            PR DU CHIEN       WI    53821
TRUST
JANICE C ELLIOTT                                    11548 BARONWOOD CRT                                                                          HUDSON            FL    34667‐5579
JANICE C GALYA                                      932 ALPINE DR                                                                                SEVEN DEVILS      NC    28604‐9183
JANICE C MC CUE                                     294 EASTERN PROMENADE                                                                        PORTLAND          ME    04101‐2702
JANICE C MC CUE & SHEILA A CADY JT TEN              294 EASTERN PROM                                                                             PORTLAND          ME    04101‐2702
JANICE C PELCHER                                    176 PEARSON LN                                                                               ROCHESTER         NY    14612‐3538
JANICE C PRANTERA                                   52775 S YORKTOWN                                                                             CHESTERFIELD      MI    48051‐3713
JANICE C PREDMORE                                   605 WEST OHIO STREET                                                                         URBANA            IL    61801‐4845
JANICE C SIMONDS                                    5770 NAMON WALLACE RD                                                                        CUMMING           GA    30040‐5529
JANICE C TELFER                                     71 CAVE HILL RD                                                                              LEVERETT          MA    01054‐9722
JANICE C WILCOX                                     3057SOUTHFORK DRIVE                                                                          CICCATI           OH    45248‐5035
JANICE CAROL DAWE                                   PO BOX 82003                                                                                 FAIRBANKS         AK    99708‐2003
JANICE CAROL RUSSELL                                3540 KESSLER BLVD N DR                                                                       INDIANAPOLIS      IN    46222‐1832
JANICE CASSARINO                                    2828 SW 117TH AVE                                                                            DAVIE             FL    33330‐1430
JANICE CHAMPA                                       54005 SHERWOOD LN                                                                            SHELBY TOWNSHIP   MI    48315‐1652

JANICE COLTON ELLISON                               36 MELODY LANE                                                                               IVORYTON          CT    06442
JANICE COOPER ADAMS                                 IDLE PINES                          PO BOX 184                                               STRAFFORD         NH    03884‐0184
JANICE CURTIS WOOLF                                 1166 EVELYN MAE WAY                                                                          KNOXVILLE         TN    37923‐7122
JANICE D BLAIR                                      2301 FARRINGTON COURT APT 137                                                                COLUMBUS          IN    47203
JANICE D BOWEN                                      100 PEACH TREE POINT                                                                         CLEVELAND         TN    37323‐5975
JANICE D BUTLER                                     1857 ANSAL DR                                                                                ROCHESTER HILLS   MI    48309‐2168
JANICE D FEW                                        15303 SOUTH HIGHLAND RD                                                                      OREGON CITY       OR    97045‐8758
JANICE D HOWARD                                     13466 COUNTY ROAD K                                                                          WAUSEON           OH    43567‐9630
JANICE D HUNT                                       3460 GARDEN AVE                                                                              INDIANAPOLIS      IN    46222
JANICE D MAHARREY                                   4251 STEFFAN WOODS COVE                                                                      BARTLETT          TN    38135
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Name                                              Address1                               Address2             Address3                Address4          City              State Zip

JANICE D MITCHELL                                 21448 DEQUINDRE RD                     APT 103                                                        WARREN            MI    48091‐2220
JANICE D TRADOR                                   1380 BALDWIN                                                                                          PONTIAC           MI    48340‐1918
JANICE DAVIS                                      ATTN JANICE MCKAY                      710 HAMPTON                                                    CHESANING         MI    48616‐1623
JANICE DE BOER WILLIAMS                           ATTN JANICE D WILSON                   6255 PEMBERTON WY                                              COLORADO SPGS     CO    80919‐2463
JANICE DEAN                                       8026 E CHESWICK DRIVE                                                                                 INDIANAPOLIS      IN    46219‐2876
JANICE DEE WEBB                                   3302 W 1400S                                                                                          KOKOMO            IN    46901‐7688
JANICE DIANE SIMMONS COX HOLLOWAY                 3542 PLEASANT DR                                                                                      SHREVEPORT        LA    71109‐7118
JANICE DOREEN LOCKWOOD                            PO BOX 303                                                                                            HILLMAN           MI    49746‐0303
JANICE DORSEY                                     4124 PEGGY DR                                                                                         SAGINAW           MI    48601‐5012
JANICE DRAUS TIANO                                14048 PLANTATION MILL CT                                                                              GAINESVILLE       VA    20155‐3147
JANICE DUGGER                                     622 W LEE DR                                                                                          SANTA MARIA       CA    93458‐1836
JANICE E ASHFORD                                  14902 GREENLAWN                                                                                       DETROIT           MI    48238‐1888
JANICE E BOGDANIK                                 1869 HALL ST                                                                                          HOLT              MI    48842‐1722
JANICE E BOWMAN                                   1820 DOUBLE SPGS CHURCH RD                                                                            MONROE            GA    30656‐4628
JANICE E CAMPBELL                                 407 MICHELLE CT                                                                                       NEWARK            DE    19711‐6771
JANICE E CARRIGAN CUST DANIEL BLOSCH II UTMA CA   50747 BRADFORD RD                                                                                     AGUANGA           CA    92536‐9116

JANICE E CLARK                                    2310 FIELDING DR                                                                                      LANSING           MI    48911‐2458
JANICE E COLLA                                    ATTN JANICE E EDMOND                   41 DRIFTWAY ROAD                                               DANBURY           CT    06811‐5123
JANICE E COOPER TR COOPER FAMILY TRUST UA 02/1/99 15525 RUMSEY RD                                                                                       CLEARLAKE         CA    95422‐9594
                                                                                                                                                        HIGHLAND
JANICE E DEVINE & KAREN M DEVINE JT TEN           36 BOGAN RD                                                                                           MONSON            MA    01057‐9774
JANICE E DODDS                                    203 W SEMINARY                                                                                        CHARLOTTE         MI    48813‐1827
JANICE E DRAFT                                    3452 HORSESHOE LAKE RD                                                                                WEST BRANCH       MI    48661‐9500
JANICE E DYKE TR REVOCABLE TRUST 03/02/90 U‐A     1152 E MAIDE MARIAN CT                                                                                WILLIAMSTON       MI    48895
JANICE E DYKE
JANICE E GAGE & LARRY D GAGE JT TEN               12412 SILVER CREEK CT                                                                                 CLIO              MI    48420‐8872
JANICE E GAREY                                    129 SEAGULL COURT                                                                                     ROYAL PLM BCH     FL    33411
JANICE E GERKE & STANLEY A GERKE JT TEN           521 LASALLE BLVD                                                                                      LANSING           MI    48912‐4221
JANICE E GROTH                                    1857 RD H H                                                                                           SATANTA           KS    67870
JANICE E HOLMES                                   11 FLINTLOCKE RD                                                                                      FRANKLIN          MA    02038‐3610
JANICE E HUNT                                     24269 LEEWIN                                                                                          DETROIT           MI    48219‐1059
JANICE E JAMES                                    9228 FREDERICKSBURG RD                                                                                FREDERICKSBURG    OH    44627‐9526
JANICE E JAMISON                                  44 MANHATTAN                                                                                          BUFFALO           NY    14215‐2114
JANICE E KENKEL & RONALD KENKEL JT TEN            ROUTE #1                               BOX 125B             607 VALLEY VIEW DRIVE                     OAKLAND           IA    51560‐4043
JANICE E LEVICH                                   4431 DULCINEA COURT                                                                                   WOODLAND HILLS    CA    91364‐6120

JANICE E LUKE                                     320 LAWRENCE AVE                                                                                      SYRACUSE          NY    13212‐3717
JANICE E MARSHALL                                 6510 MERTZ RD                                                                                         MAYVILLE          MI    48744‐9548
JANICE E MCKINSEY TR JANICE E MCKINSEY TRUST UA   8630 WARRINGTON DR                                                                                    INDIANAPOLIS      IN    46234‐2152
02/17/97
JANICE E OLSON                                    3304 N 850 E                                                                                          ROLLING PRAIRIE   IN    46371‐9462
JANICE E PHILO                                    314 STRATFORD DRIVE                                                                                   PRUDENVILLE       MI    48651‐9316
JANICE E RIGNEY                                   2520 MELVIN                                                                                           ROCHESTER HILLS   MI    48307‐4849
JANICE E RUTTKOFSKY                               2058 CONKLIN DR                                                                                       TECUMSEH          MI    49286‐9772
JANICE E SHENENBERGER                             301 ADELE AVE                                                                                         MANHEIM           PA    17545‐1213
JANICE E SHIELDS                                  5644 WELLFIELD RD                                                                                     NEWPORT RICHEY    FL    34655‐4357
JANICE E SIMONDS                                  7 BARNES CIR                                                                                          UNA DILLA         NY    13849‐3358
JANICE E SMITH                                    3630 N LESLEY AVE                                                                                     INDIANAPOLIS      IN    46218‐1856
JANICE E TROTTER                                  12615 SCHOOL CREEK RD                                                                                 SAINT GEORGE      KS    66535‐9712
JANICE E WALTON TR JANICE E WALTON TRUST UA       1254 JOAL DR                                                                                          FLINT             MI    48532‐2645
4/12/85
JANICE E WILSON                                   7480 RIDGEVIEW CIRCLE                                                                                 ATHENS            OH    45701‐9005
JANICE ELAINE BROCKMAN CUST AUBREY NOLAN          309 MICHIGAN AVE                                                                                      DECATUR           GA    30030‐1852
FLORENCE UTMA GA
JANICE ELAINE MC VICKER                           18645 11TH AVE N E                                                                                    POULSBO           WA    98370‐8711
JANICE ELAINE SMITH                               1088 W ANDERSON RD                                                                                    LINWOOD           MI    48634‐9819
JANICE ELAINE WILSON                              487 OCKLEY DR                                                                                         SHREVEPORT        LA    71105‐2919
JANICE ESSER                                      7200 JOY MARIE LANE                                                                                   WATERFORD         WI    53185‐1867
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Name                                               Address1                            Address2             Address3           Address4          City            State Zip

JANICE F ADAMS                                     7010 WOODS WEST DR                                                                            FLUSHING        MI    48433‐9463
JANICE F ALEXANDER                                 920 N 780 E                                                                                   GREENTOWN       IN    46936‐8807
JANICE F BEELER                                    3609 DOGWOOD DRIVE                                                                            ANDERSON        IN    46011‐3013
JANICE F CALLOWAY                                  APT 6                               BLDG 12              4436 ST JAMES CT                     FLINT           MI    48532‐4262
JANICE F CARTER                                    1734 COMANCHE ST                                                                              TRAVERSE CITY   MI    49686‐3068
JANICE F COUCH                                     254 LAKEPOINTE DR                                                                             SOMERSET        KY    42503‐4794
JANICE F DALLAP                                    3575 MOUNT HICKORY BLVD                                                                       HERMITAGE       PA    16148‐3128
JANICE F DAVID                                     7853 CHARLOTTE OAKS LN                                                                        JACKSONVILLE    FL    32277‐9715
JANICE F DUNCAN                                    16679 GRANTS TRAIL                                                                            ORLAND PARK     IL    60467‐8704
JANICE F EVANS                                     11560 SE 54TH AVE                                                                             BELLEVIEW       FL    34420‐3953
JANICE F MORRILL TR JANICE F MORRILL REVOCABLE     PO BOX 663                                                                                    ST JOHNSBURY    VT    05819‐0663
TRUSTUA 03/09/00
JANICE F ONG                                       1653 BUCKINGHAM                                                                               LINCOLN PARK    MI    48146‐3503
JANICE F SMITH                                     36 SOUTHWINDS DR                                                                              ST PETERS       MO    63376‐1145
JANICE F SMITH                                     279 CRESCENT BAY DR                                                                           LAGUANA BEACH   CA    92651‐1322
JANICE F TRIPP                                     388 QUINNIPIAC AVE                                                                            NORTH HAVEN     CT    06473‐3754
JANICE FAYE WELCH                                  4606 W PLEASANT ACRES DR                                                                      DECATUR         AL    35603‐5732
JANICE FETCKO                                      660 WOODLAND RD                                                                               CANONSBURG      PA    15317‐3857
JANICE G BLAKE                                     10016 N ASHINGTON ST                                                                          GARRETTSVILLE   OH    44231‐9450
JANICE G BRADLEY                                   217 JOFHUA DR                                                                                 BROOKFIELD      OH    44403
JANICE G BRAY                                      241 EMERALD CIR                                                                               DUNDEE          MI    48131‐2012
JANICE G BUCHHOLTZ                                 5026 N BRAESWOOD BLVD                                                                         HOUSTON         TX    77096‐2710
JANICE G DAVIS                                     3813 PROVIDENCE                                                                               FLINT           MI    48503‐4550
JANICE G ELLIS                                     440 N 600 E                                                                                   GREENTOWN       IN    46936‐9419
JANICE G FLANNERY & DAVID L FLANNERY JT TEN        307 PAULY DR                                                                                  CLAYTON         OH    45315‐9650
JANICE G GIAN‐CURSIO                               8120 SW 197 TERRACE                                                                           MIAMI           FL    33189‐2112
JANICE G HALEY                                     9521 ALBRANDT CT                                                                              WELLINGTON      CO    80549‐1827
JANICE G HILEWSKY                                  10324 DIAMOND PARK RD                                                                         INTERLOCHEN     MI    49643‐9591
JANICE G HILLEY & J MICHAEL HILLEY JT TEN          1120 43RD CT SW                                                                               VERO BEACH      FL    32968‐4861
JANICE G MCCREEDY                                  174 W CLYDESDALE ST                                                                           MT MORRIS       MI    48458‐8913
JANICE G THOMAS                                    6600 ST RT 46                                                                                 CORTLAND        OH    44410‐8606
JANICE G WERNER                                    44 MEYERHILL CIRCLE WEST                                                                      ROCHESTER       NY    14617
JANICE GALE                                        161 ROYAL MANOR CT                                                                            CREVE COEUR     MO    63141‐8134
JANICE GAY DAVIS                                   5149 PARTRIDGE CIRCLE SW                                                                      ROANOKE         VA    24018‐8636
JANICE GENSER CUST LEE E GENSER UGMA NY            15 CHESTER DRIVE                                                                              GREAT NECK      NY    11021‐4904
JANICE GRAY                                        3049 LEONORA DR                                                                               DAYTON          OH    45420‐1232
JANICE GRELLA                                      37 CHESTNUT ST                                                                                GLEN COVE       NY    11542‐1915
JANICE H BATES                                     2715 MILLER GRABER RD                                                                         NEWTON FALLS    OH    44444‐8721
JANICE H BUSOVNE                                   2427 DUNCAN DR                                                                                NICEVILLE       FL    32578‐2915
JANICE H DINEZZA                                   5308 TWIN CREEKS DR                                                                           VALRICO         FL    33594‐9200
JANICE H MADDOX                                    4700 TOWANDA CIRCLE                                                                           COLLEGE PARK    GA    30349‐2326
JANICE H MINARD                                    7827 EAST BRIDGE                                                                              ALMONT          MI    48003
JANICE H MURRELL                                   584 W 300 N                                                                                   ANDERSON        IN    46011‐2052
JANICE H PROULX & ALEXANDER J PROULX & JEFFERY B   8181 DUFFIELD RD                                                                              GAINES          MI    48436‐9655
PROULX JT TEN
JANICE H RUDICH                                    6107 THORNRIDGE DR                                                                            GRAND BLANC     MI    48439‐8975
JANICE H RUND & LARRY RUND JT TEN                  17854 LINDA DR                                                                                YORBA LINDA     CA    92886‐3346
JANICE HARLAN                                      84915 HWY 101                                                                                 SEASIDE         OR    97138‐3601
JANICE HARPER                                      10215 BAYLEY DR                                                                               BONNE TERRE     MO    63628
JANICE HAYDEN LOCKE                                95 SPRING RD                                                                                  CONCORD         MA    01742‐4729
JANICE HENZEL                                      231 BOULEVARD                                                                                 GLEN ROCK       NJ    07452‐2525
JANICE HURT                                        2139 HIBBARD ST                     APT B                                                     DETROIT         MI    48214‐1914
JANICE I CADY                                      292 EASTERN PROMENADE                                                                         PORTLAND        ME    04101‐2701
JANICE I CADY & SHEILA A CADY JT TEN               292 EASTERN PROM                                                                              PORTLAND        ME    04101‐2701
JANICE I DALLY                                     12448 W MORNING DOVE DR                                                                       SUN CITY WEST   AZ    85375‐1935
JANICE I GRIFFITH                                  7611 HAYDEN RUN ROAD                                                                          HILLIARD        OH    43026
JANICE I LA FRANCE                                 6345 SHAPPIE RD                                                                               CLARKSTON       MI    48348‐1959
JANICE I M LARKIN                                  8101 N 12TH ST                                                                                TACOMA          WA    98406‐1087
JANICE I ROY                                       PO BOX 249                                                                                    SARDINIA        OH    45171‐0249
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Name                                                 Address1                              Address2                    Address3   Address4          City            State Zip

JANICE IANNELLO                                      933 BLACKBERRY LN                                                                              WEBSTER         NY    14580‐8921
JANICE J COOPER                                      1757 MYERS RD                                                                                  SHELBY          OH    44875‐9346
JANICE J CROSSWHITE                                  405 LAKEVIEW DR                                                                                LUCAS           TX    75002‐7855
JANICE J EDMONDSON                                   BOX 724                                                                                        CAMBRIDGE       MD    21613‐0724
JANICE J FANTZ                                       193 UPPER HAWK VALLEY RD                                                                       COLUMBUS        MT    59019‐7486
JANICE J HARDING & RANDOLPH L HARDING JT TEN         138 CARLYLE DR                                                                                 PAL HARBOR      FL    34683‐1807

JANICE J SEITZ                                       1800 N INDIANA AVE                                                                             KOKOMO          IN    46901‐2040
JANICE J WOJSIAT                                     C/O JANICE J HUNTER                   392 E ERIE ST P O BOX 603                                LINESVILLE      PA    16424‐0603
JANICE JAGGER KNISLEY                                PO BOX 184                                                                                     HOLLY           MI    48442‐0184
JANICE JOHNSON                                       204 VANCE LANE                                                                                 BOWLING GREEN   KY    42101‐7443
JANICE JOHNSON                                       45 HASKELL ST                                                                                  GLOUCESTER      MA    01930‐3237
JANICE K BOSSALLER                                   5330 WOODSVIEW ST                                                                              LINCOLN         NE    68506‐3468
JANICE K BRACE                                       13642 LARKSPUR LN                                                                              CEDAR SPRINGS   MI    49319‐9141
JANICE K BRUNER                                      3583 NORTH 900 WEST                                                                            ANDREWS         IN    46702‐9513
JANICE K CARSWELL                                    4186 LOCUST LN                                                                                 SWARTZ CREEK    MI    48473‐1558
JANICE K CHANEY                                      3808 MISTY MEADOW LN                  #9                                                       AMELIA          OH    45102‐1259
JANICE K CHARCHAN                                    5484 KATHY DRIVE                                                                               FLINT           MI    48506‐1550
JANICE K DAVIS                                       5070 COHOCTAH RD                                                                               LINDEN          MI    48451‐9626
JANICE K FINN & DANEEN M SHUMAKER & BRIAN S          484 E KALAMO HWY                                                                               CHARLOTTE       MI    48813‐9199
ATWELL JT TEN
JANICE K FORD                                        4061 APPLE VALLEY RD                                                                           HOWARD          OH    43028‐9412
JANICE K HALL                                        7773 OLD DAYTON RD                                                                             DAYTON          OH    45427‐1412
JANICE K JAMISON                                     10 MARLENE DR                                                                                  WILLIAMSBURG    OH    45176‐9363
JANICE K LECLAIR                                     2441 KINMERE RD                                                                                GASTONIA        NC    28056‐7818
JANICE K MILLER                                      1740 PLAINWOOD DR                                                                              SHEBOYGAN       WI    53081‐7727
JANICE K NEUENFELDT                                  503 MACDUFF DR                                                                                 MOUNT MORRIS    MI    48458
JANICE K PFLEEGER & RAY E FINDLEY JT TEN             6210 N CR 575W                                                                                 GASTON          IN    47342‐9323
JANICE K POWERS                                      4586 SUNFLOWER CIR                                                                             CLARKSTON       MI    48346‐4956
JANICE K REGAN                                       4718 HARBORD DR                                                                                TOLEDO          OH    43623‐3933
JANICE K ROWLEY & VERNON G ROWLEY JT TEN             3156 LOCKPORT OLCOTT RD                                                                        NEWFANE         NY    14108‐9603
JANICE K SCHILDMEIER                                 8419 COUNTRY CLUB BL                                                                           INDIANAPOLIS    IN    46234‐1850
JANICE K SMITH                                       747 JAYCOX RD                                                                                  AVON LAKE       OH    44012‐2222
JANICE K SULLIVAN                                    51456 NICOLETTE DRIVE                                                                          CHESTERFIELD    MI    48047‐4525
JANICE K WALKER & EARL R WALKER JT TEN               P O BOX 27                            746 IROQUOIS AVE                                         PRUDENVILLE     MI    48651
JANICE K WILDE                                       14332 EAST LIME ISLAND ROAD                                                                    GOETZVILLE      MI    49736‐9201
JANICE K WORLEY                                      4185 N U S HWY 31                                                                              SHARPSVILLE     IN    46068‐9122
JANICE KAY WILCOX JOHNSON                            7253 SAWMILL RUN                                                                               HOLLAND         OH    43528‐9688
JANICE KHAIREDDINE                                   5145 LEWIS DRIVE                                                                               STERLING HTS    MI    48310
JANICE KLOTZ EX UW GEORGE KLOTZ                      64 N EVERGREEN AVE                                                                             WOODBURY        NJ    08096
JANICE KRAUS BRISACK                                 4130 MC DERMED DR                                                                              HOUSTON         TX    77025‐5448
JANICE KULLE                                         9709 PERRY FARMS DR                                                                            PERRY HALL      MD    21128‐8809
JANICE L ANDRAIN TR UA 07‐01‐02 MILTON & JANICE      1650 SPRING MOUNTAIN ROAD                                                                      SAINT HELENA    CA    94574
ANDRAIN FAMILY TRUST
JANICE L BECK CUST MEAGEN N FERRELL UTMA MD          776 JENNIE DR                                                                                  SEVERN          MD    21144‐2227

JANICE L BELL & RONALD L BAKER & CURTIS M BAKER JT   4013 MARSEILLE RD                                                                              INDIANAPOLIS    IN    46226‐5447
TEN
JANICE L BENNETT                                     51193 UNION ST                                                                                 BELLEVILLE      MI    48111‐4426
JANICE L BLAIR‐PHILLIPS                              301 E COURT ST APT 508                                                                         LUDINGTON       MI    49431‐1763
JANICE L BUECKER EX EST RICHARD J BUECKER            PO BOX 402                                                                                     PIQUA           OH    45356‐0402
JANICE L CHRISTENSEN                                 86 DEAN RD                                                                                     EAST LYME       CT    06333‐1508
JANICE L CHRISTY                                     1462 BEAVERTON DR                                                                              KETTERING       OH    45429‐3940
JANICE L CINDRIC                                     6330 DURANGO CT                                                                                LINCOLN         NE    68516‐4657
JANICE L COYLE                                       11850 CHASE BLVD                                                                               LIVONIA         MI    48150
JANICE L CROSS                                       1149 BROWN DR                                                                                  MILTON          WI    53563‐1784
JANICE L CROSSFIELD                                  3903 ALTON                                                                                     LOUISVILLE      KY    40207‐4521
JANICE L CZOLGOSZ                                    ATTN JANICE L CZOLGOSZ‐COOPER         5984 FREELAND RD                                         FREELAND        MI    48623‐8912
JANICE L DECKER                                      2718 PROSPECT                                                                                  FLINT           MI    48504‐3347
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Name                                                Address1                                Address2               Address3        Address4          City               State Zip

JANICE L DEPP                                       1323 AMBRIDGE DR                                                                                 WESLEY CHAPEL    FL      33543‐6880
JANICE L DIPAOLA                                    ATTN JANICE L WOOLLEY                   8377 FLEMMING PKY                                        GOODRICH         MI      48438‐9435
JANICE L DURR                                       1781 EAST BLAKE AVE                     COLUBUS                                                  COLUMBUS         OH      43219
JANICE L FENN                                       6749 LAGRANGE DR                                                                                 CANAL WINCHESTER OH      43110‐9305

JANICE L FINNEY                                     120 YULAN DR APT A                                                                               WILMINGTON         NC    28412
JANICE L FLEMING & MARVIN L FLEMING JT TEN          5321 QUAKER ST                                                                                   GOLDEN             CO    80403‐1195
JANICE L FLUG                                       2927 MOZART DRIVE                                                                                SILVER SPRING      MD    20904‐6802
JANICE L FORO                                       8235 POOR MOUNTAIN RD                                                                            BENT MOUNTAIN      VA    24059‐2409
JANICE L FOUTTY & CAROLYN J FOUTTY MULLINS JT TEN   150 SMITHERMAN ROAD                                                                              WASHINGTON         WV    26181

JANICE L GIOVANINI                                  2443 PURDUE CIRCLE NW                                                                            NORTH CANTON       OH    44720‐5832
JANICE L GLENN                                      8283 OHIO ST                                                                                     DETROIT            MI    48204‐3237
JANICE L GRAY                                       8163 GRAND RIVER                                                                                 LAINGSBURG         MI    48848‐8710
JANICE L HANSON                                     3706 VALLEY HILL DRIVE                                                                           RANDALLSTOWN       MD    21133‐4823
JANICE L HELD                                       205 URBAN RD                                                                                     RENO               NV    89509
JANICE L HICKS                                      1773 5TH ST                                                                                      WYANDOTTE          MI    48192‐7209
JANICE L HILL                                       3829 MIDWAY ROAD                                                                                 ADAMSVILLE         AL    35005‐2211
JANICE L HOFFMAN                                    1638 BROADWAY BLVD                                                                               FLINT              MI    48506‐3577
JANICE L HOPKINS                                    6414 S HAYRAKE HOLW                                                                              CHELSEA            MI    48118‐9552
JANICE L JOHNSON                                    3334 BONNEVILLE CIRCLE                                                                           CHATANOOGA         TN    37419‐1323
JANICE L JONES                                      810 MORLEY AVE                                                                                   ELY                NV    89301
JANICE L KASZONYI                                   311 NILES VIENNA RD                                                                              VIENNA             OH    44473‐9501
JANICE L KING                                       14105 COPPER CANYON RD                                                                           SPOKANE            WA    99208‐6377
JANICE L KINSEY                                     421 PLYMOUTH ST                         #A                                                       PLYMOUTH           OH    44865‐1096
JANICE L KOPPENHOEFER                               846 N HILLRIDGE                                                                                  MESA               AZ    85207‐4920
JANICE L LANE                                       5689 BINGHAM                                                                                     TROY               MI    48098‐3842
JANICE L LEWIS                                      PO BOX 535                                                                                       LINCOLN PARK       MI    48146‐0535
JANICE L LINGAN                                     212 WERDEN DR                           LLANGOLLEN ESTS                                          NEW CASTLE         DE    19720‐4734
JANICE L MAYGAR                                     15167 MARL STREET                                                                                LINDEN             MI    48451‐9068
JANICE L MCDOUGALL & GREGORY A MCDOUGALL JT         43776 GUNNISON                                                                                   CLINTON TWP        MI    48038‐1336
TEN
JANICE L NUZZO & ROBERT J NUZZO JT TEN              130 3RD AVE                                                                                      NEW EAGLE          PA    15067
JANICE L OLDMAN                                     1353 GREEN HILLS COURT                                                                           DUNCANVILLE        TX    75137‐2841
JANICE L PIERCE                                     3 RIDGE DR                                                                                       NEW CASTLE         DE    19720‐2303
JANICE L POWELL                                     2502 TANDY DR                                                                                    FLINT              MI    48532‐4960
JANICE L POWELL TR POWELL TRUST UA 03/05/92         8764 S BUFFALO DR                                                                                LAS VEGAS          NV    89113

JANICE L QUIGLEY                                    5345 38TH AVE NORTH                                                                              ST PETERSBURG      FL    33710‐2028
JANICE L ROOK                                       3872 BRAMFORD RD                                                                                 COLUMBUS           OH    43220
JANICE L ROSS                                       59803 CARLTON S #28A                                                                             WASHINGTON         MI    48094‐4303
JANICE L SCHMIDT                                    3241 STEVIE LANE                                                                                 CINCINNATI         OH    45239
JANICE L SMITH                                      224 W BROAD ST                                                                                   BETHLEHEM          PA    18108
JANICE L STARK                                      2672 ELTON CIRCLE                                                                                LAMBERTVILLE       MI    48144‐9451
JANICE L WELLS                                      7218 PEORIA‐REILEY RD                                                                            OXFORD             OH    45056‐9235
JANICE L WOOLLEY                                    8377 FLEMMING PKY                                                                                GOODRICH           MI    48438‐9435
JANICE LADEN CUST CUST SHAUN JOSEPH LADEN UTMA      13 RIDGE ST                                                                                      HACKETTSTOWN       NJ    07840‐4144
NJ
JANICE LAKE                                         4267 TOWHEE DRIVE                                                                                CALABASAS          CA    91302‐1826
JANICE LAKE & SCOTT LAKE TR PF THE MARCIA KERN      4267 TOWHEE DRIVE                                                                                CALABASAS          CA    91302‐1826
TRUST UA 09/07/90
JANICE LAVERN HAYNIE                                5200 28TH ST N                          LOT 434                                                  ST PETERSBURG      FL    33714‐2592
JANICE LEE FELTS                                    6780 E WOODLAND CT                                                                               MOORESVILLE        IN    46158‐6172
JANICE LIPPERT PERS REP EST CHARLES ALBERT          12725 PARK DR                                                                                    WAYLAND            MI    49348‐9086
LANGNER BARRY
JANICE LORENE BIGBEE                                C/O JANICE LORENE BIGBEE‐HANSEN         15609 SE 177TH PLACE                                     RENTON             WA    98058‐9008
JANICE LOUISE BURKE CUST G JACK BURKE UGMA MI       241 STRATHMORE                                                                                   BLOOMFIELD HILLS   MI    48304‐3667

JANICE LOUISE RHEA                                  444 EAST 84TH ST                        APT 8G                                                   NEW YORK           NY    10028‐6241
                                            09-50026-mg                  Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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JANICE LYNN MOSER                                 390 AUDREY DRIVE                                                                               RICHMOND         OH     44143‐1717
                                                                                                                                                 HEIGHTS
JANICE LYNN SAARI                                 8864 QUAIL CIRCLE                                                                              PLYMOUTH         MI     48170‐7201
JANICE LYNN TEMPLE                                PO BOX 507                                                                                     ONAWAY           MI     49765
JANICE LYNN WINTERS                               2919 MICHAEL COURT                                                                             HUDSONVILLE      MI     49426‐9705
JANICE LYNNE ALBERS                               42 KRISTIN DR                                                                                  MARSHALL         MI     49068‐9583
JANICE M ANDERSON                                 PO BOX 16806                                                                                   ST LOUIS         MO     63105‐1406
JANICE M ASHMORE CUST ANDREA M ASHMORE UGMA       3210 SANDOVAL                                                                                  LAKE ORION       MI     48360‐1549
MI
JANICE M BAILY & ELLIS B BAILY JT TEN             9282 W WENLOCK DR                                                                              MECHANICSVILLE     VA   23116‐4160
JANICE M BATES                                    N13W5408 MCKINLEY CT                                                                           CEDARBURG          WI   53012‐2930
JANICE M BAUMAN                                   9488 GOOD LION RD                                                                              COLUMBIA           MD   21045‐3946
JANICE M BECKLEY                                  PO BOX 272                                                                                     NEWSCOMBERSTO OH        43832‐0272
                                                                                                                                                 WN
JANICE M BERGER                                   22505 BAYVIEW ST                                                                               SAINT CLAIR SHORES MI   48081‐2464

JANICE M BERNARD                                  20241 BERKSHIRE CIRCLE                                                                         STRONGVILLE     OH      44149‐6781
JANICE M BIRKS                                    920 RIPLEY STREET                                                                              PHILADELPHIA    PA      19111‐2622
JANICE M BOYER                                    124 GYPSY LN                                                                                   KING OF PRUSSIA PA      19406‐3721
JANICE M BRIGGS                                   C/O JANICE M MCHUGH                   15 LEIGHTON ST                                           MANCHESTER      NH      03102‐2754
JANICE M BROWN                                    2141 LEOLA AVE NO                                                                              BIRMINGHAM      AL      35207‐1219
JANICE M BROWN                                    7619 W 600 N                                                                                   FRANKTON        IN      46044‐9674
JANICE M BUCZEK                                   6707 CARDWELL                                                                                  GARDEN CITY     MI      48135‐2584
JANICE M BURCHETTE                                6340 S 425W                                                                                    PENDLETON       IN      46064‐8758
JANICE M BURGHDOFF                                1302 PROVIDENCE CT                                                                             POTTERVILLE     MI      48876‐9510
JANICE M CARPENTER                                7255 E ATHERTON RD                                                                             DAVISON         MI      48423‐2405
JANICE M CONRAD                                   3797 CHILTON DR                                                                                SAGINAW         MI      48603‐3176
JANICE M DIETRICH                                 225 SOUTHTOWNE DR APT C101                                                                     SOUTH MILWAUKEE WI      53172‐4130

JANICE M DYKACZ                                   612 HIGHWOOD DR                                                                                BALTIMORE       MD      21212‐2724
JANICE M EAGER                                    8552 EGRET MEADOW LN                                                                           WEST PALM BEACH FL      33412‐1558

JANICE M EDWARDS                                  5337 LAURI LN                                                                                  BOSSIER CITY     LA     71112‐4835
JANICE M EMORY                                    7821 HAYMARKET LANE                                                                            RALEIGH          NC     27615‐5447
JANICE M GOLDEN                                   635 OLD FARM RD                                                                                COLUMBUS         OH     43213‐2666
JANICE M GOLDSBERRY & LARRY G GOLDSBERRY JT TEN   70 S MICKLEY AVE                                                                               INDIANAPOLIS     IN     46241‐1202

JANICE M GREEN                                    307 LANSING                                                                                    WATERFORD        MI     48328‐3038
JANICE M GREENE                                   4225 FORBES                                                                                    FORT WORTH       TX     76105‐5018
JANICE M HAWTHORNE                                10407 SUMMERHILL DRIVE                                                                         HOUSTON          TX     77070‐5231
JANICE M HAYES                                    1408 E 142ND STREET                                                                            COMPTON          CA     90222‐3702
JANICE M HICKS                                    RD1                                   BOX 212M                                                 ROME             PA     18837‐9618
JANICE M HIGGINS                                  3975 CAMPERDOWN DR                                                                             LANSING          MI     48911‐6185
JANICE M HIGGINS                                  156 KINGSBURY CT                                                                               NAZARETH         PA     18064‐1121
JANICE M HOLCOMB TOD MELISSA H WILLIAMSON         5350 MUDDY FORK RD                                                                             BASSETT          VA     24055
SUBJECT TO STA TOD RULES
JANICE M HORTON                                   28 ORMOND STREET                                                                               MATTAPAN         MA     02126‐3155
JANICE M JOHNSON                                  1515 16TH ST                                                                                   DETROIT          MI     48216‐1809
JANICE M KIRK                                     454 SUMMIT VIEW PLACE                                                                          STONE MT         GA     30087‐6316
JANICE M KNOX                                     2035 WHITEHEAD RD                                                                              COLUMBUS         OH     43223‐2719
JANICE M KNOX & THOMAS E KNOX III JT TEN          2035 WHITEHEAD RD                                                                              COLUMBUS         OH     43223‐2719
JANICE M LAST                                     24 BRIGHT OAKS DR                                                                              ROCHESTER        NY     14624‐4735
JANICE M LORNSON                                  701 BENTON AVE                                                                                 JANESVILLE       WI     53545‐1729
JANICE M LOWRY & JAMES L LOWRY JT TEN             872 BRANDYWINE DR                                                                              HERMITAGE        PA     16148‐4312
JANICE M MC KEAGUE                                624 FALLSMEAD CIRCLE                                                                           LONGWOOD         FL     32750‐2956
JANICE M MCHUGH                                   15 LEIGHTON STREET APT 1                                                                       MANCHESTER       NH     03102‐2754
JANICE M MONTANTE & PETER G MONTANTE JT TEN       2 KYLE CT                                                                                      PARK RIDGE       NJ     07656‐1848

JANICE M PUCKETT                                  11622 SIGEL RD                                                                                 GERMANTOWN        OH    45327‐8732
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JANICE M RIGNEY                                  PO BOX 652                                                                                          LAKE ORION         MI    48361‐0652
JANICE M ROBERTS                                 2044 SIFIELD GREENS WAY                                                                             SUN CITY CTR       FL    33573
JANICE M RUDA & GERALD D RUDA JT TEN             315 SECOND AVENUE N                                                                                 LONG PRAIRIE       MN    56347‐1127
JANICE M RUFER                                   C/O J SCHNEIDER                        W546 MALCOVE LANE                                            BRODHEAD           WI    53520‐8701
JANICE M RUSSIN                                  8015 DEERFIELD DR                                                                                   PARMA              OH    44129‐4439
JANICE M RUTLEDGE                                920 OLD TUCKER ROAD                                                                                 STONE MOUNTAIN     GA    30087‐2941

JANICE M SCHIMMELE & THOMAS A SCHIMMELE JT TEN 3063 HILLWOOD                                                                                         DAVISON            MI    48423‐9583

JANICE M SEGO                                    202 VALLEY LANE                                                                                     PERRY              MI    48872‐9711
JANICE M SIEBERT                                 PO BOX 137                                                                                          BROOKFIELD         CT    06804‐0137
JANICE M SIMONSON                                C/O JANICE GORMAS                      11001 HAGER RD                                               WOODLAND           MI    48897‐9700
JANICE M STANFIELD                               200 LAKESIDE DRIVE                                                                                  BRANDON            MS    39047‐6137
JANICE M STANFIELD & CLYDE E STANFIELD JT TEN    200 LAKESIDE DRIVE                                                                                  BRANDON            MS    39047‐6137
JANICE M STAPLETON                               51 ABERFIELD LN                                                                                     MIAMISBURG         OH    45342‐6625
JANICE M STUDHOLME                               10 COUNTRY CLUB DR                                                                                  HUNTINGTON         NY    11743‐2426
JANICE M SWEENEY                                 1820 OAKDELL DR                                                                                     MENLO PARK         CA    94025
JANICE M TERRY                                   18603 FENMORE                                                                                       DETROIT            MI    48235‐3063
JANICE M TRAYLOR                                 3513 ELMWOOD AVE                                                                                    KANSAS CITY        MO    64128‐2846
JANICE M VOEHRINGER                              858 SANDBAR DR                                                                                      MESQUITE           NV    89027‐7008
JANICE M WALTERS TOD GARY A WALTERS SUBJECT TO   5631 TRISHLYN COVE                                                                                  FORT WAYNE         IN    46835
STA TOD RULES
JANICE M WATTS                                   33112 CHIEF LANE                                                                                    WESTLAND           MI    48185‐2382
JANICE M WEIG & RONALD A WEIG JT TEN             15204 ALMONT RD                                                                                     ALLENTON           MI    48002‐3015
JANICE M WHITE                                   420 DARBEE COURT                                                                                    CLAWSON            MI    48017‐1425
JANICE M WHITEHOUSE                              18305 CLAIRMONT CIR E                                                                               NORTHUILLE         MI    48167‐8533
JANICE M WINE                                    C/O JANELLE WINE                       14769 RICE DR                                                STERLING HEIGHTS   MI    48313‐2941

JANICE M WRIGHT                                  C/O HARRIS                             2518 HOLLY BROOK LANE APT 901                                ARLINGTON          TX    76006
JANICE M WRIGHT                                  340 ESTATES DRIVE                                                                                   ATHENS             OH    45701‐3410
JANICE MARIE BARLOW CUST ADAM JOHN BARLOW        131 DAVE'S LN                                                                                       SOUTHPORT          CT    06490‐1129
UTMA NJ
JANICE MARIE BARLOW CUST LEAH MARIE BARLOW       131 DAVE'S LN                                                                                       SOUTHPORT          CT    06490‐1129
UTMA NJ
JANICE MARIE VENTURA & PATRICK JOSEPH VENTURA JT 5310 N 25TH ST                                                                                      PHOENIX            AZ    85016‐3608
TEN
JANICE MARTIN BRIGHAM & DAVID A BRIGHAM JT TEN 2107 DEVONSHIRE                                                                                       LANSING            MI    48910‐3544

JANICE MAY LAYMAN                                C/O J APPELGREEN                       7528 WILLIAMSBURG RD                                         LANSING            MI    48917‐9690
JANICE MAYES                                     1626 KENDALL RD PO BX 321                                                                           KENDALL            NY    14476‐9710
JANICE MCLAUGHLIN                                3731 TACOMA AVE                                                                                     LORAIN             OH    44055‐2219
JANICE MEITL                                     220 W CALLE MARIA ELENA                                                                             GREEN VALLEY       AZ    85614‐1917
JANICE NADINE PARKER                             202 TIMBER OAKS ROAD                                                                                EDISON             NJ    08820‐4243
JANICE NELL                                      1214 FRANCISCAN COURT EAST                                                                          CANTON             MI    48187‐3249
JANICE NEUENFELDT                                503 MACDUFF DR                                                                                      MOUNT MORRIS       MI    48458
JANICE NOEL BEADLES                              12095 SW FAIRCREST ST                                                                               PORTLAND           OR    97225‐4617
JANICE O'DONNELL                                 271 AVENUE C                           APT 3C                                                       NEW YORK           NY    10009‐2526
JANICE O'KEEFE & DELORES HILL JT TEN             2075 GULLIVER                                                                                       TROY               MI    48098‐1031
JANICE ODENWELLER & LOUIS B ODENWELLER JT TEN    330 MISSOURI AVE                                                                                    LORAIN             OH    44052‐2371

JANICE OSTHUS KAPLAN                             2862 GLENVALE DR                                                                                    FAIRFAX            VA    22031‐1415
JANICE OWENS                                     320 NATIRE SCOUT ST                                                                                 BLACKVILLE         SC    29817
JANICE P GORAK                                   22 STOCKTON DR                                                                                      NEW CASTLE         DE    19720‐4318
JANICE P JOHNSON CUST NICHOLAS PRICE JOHNSON     7690 WASHINGTON BLVD                                                                                INDIANAPOLIS       IN    46240‐2865
UGMA TX
JANICE P LOCKARD                                 32 FOREST LOOP                                                                                      POLLYS ISLAND      SC    29585‐8101
JANICE P MCNUTT                                  206 HAINES STREET                                                                                   ELYRIA             OH    44035‐7993
JANICE P MURRY                                   6297 HIGHLAND                                                                                       WARREN             OH    44481‐8610
JANICE P NOLAND                                  PO BOX 168                                                                                          CAMDENTON          MO    65020
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Name                                              Address1                              Address2             Address3          Address4          City            State Zip

JANICE P OSBORNE                                  3621 OLD WINCHESTER TR                                                                         XENIA           OH    45385‐9724
JANICE P WILKENS                                  5793 SERENGETZ CT                                                                              HAYMARKET       VA    20169‐3202
JANICE PALERMO                                    15 THURLOW DR                                                                                  BOYNTON BEACH   FL    33426‐7633
JANICE PARKER                                     7812 E STATE RD 42                                                                             CLOVERDALE      IN    46120‐8749
JANICE PREPURA CUST JORIE A PREPURA UTMA IL       1172 GREENBAY RD                                                                               HIGHLAND PARK   IL    60035‐4068
JANICE PYSCHER                                    6247 SPRINGDALE BLVD                                                                           GRAND BLANC     MI    48439‐8524
JANICE QUINTON                                    112 BONNER AVE                                                                                 LOUISVILLE      KY    40207‐3952
JANICE R ADAMS                                    7194 E COURT                                                                                   DAVISON         MI    48423‐2546
JANICE R BATE                                     ATTN JANICE CASTIGLIONE               1250 ROBBLEE                                             MILFORD         MI    48381‐2650
JANICE R BISHOP                                   6483 ALCOCK DR                                                                                 SAND CREEK      MI    49279‐9700
JANICE R BURGERS                                  3443 POINSETTIA SE                                                                             GRAND RAPIDS    MI    49508‐2567
JANICE R BURGESS                                  835 ALABAMA WOODS LANE                                                                         ORLANDO         FL    32824‐8891
JANICE R CLYDE                                    221 S HOOKER AVENUE                                                                            THREE RIVERS    MI    49093‐2114
JANICE R CRUMPLEY                                 1912 COURT STREET                                                                              PORT HURON      MI    48060‐4935
JANICE R DYPSKI                                   7457 EMBASSY DR                                                                                CANTON          MI    48187‐1543
JANICE R FLETCHER                                 1421 BUD ST                                                                                    YPSILANTI       MI    48198‐3308
JANICE R FOWLER                                   52 KEMP ST                                                                                     PONTIAC         MI    48342‐1442
JANICE R GIROUX                                   27316 MICHELE ST                                                                               DEARBORN HTS    MI    48127‐1809
JANICE R HAMMELL                                  5107 AUSTIN COURT                                                                              HACKETTSTOWN    NJ    07840
JANICE R HURST                                    28 COGNAC DR                                                                                   LK ST LOUIS     MO    63367‐1702
JANICE R KOVACIC                                  95 FLEETWOOD DR                                                                                GLENDALE HTS    IL    60139‐1929
JANICE R KOZUB CUST ALICIA M KOZUB UGMA MI        14562 RONNIE LN                                                                                LIVONIA         MI    48154‐5159
JANICE R KUCHELMEISTER                            1368 SIENNA CROSSING                                                                           JANESVILLE      WI    53546‐3746
JANICE R OTTE                                     1334 SENECA CREEK CT                                                                           PERRYSBURG      OH    43551‐6024
JANICE R PIKE                                     54789 EADS RD                                                                                  PACIFIC JCT     IA    51561‐4173
JANICE R SCHMITTER                                5273 BRANSCOM BLVD                                                                             WESTERVILLE     OH    43081‐8714
JANICE R SHEPPARD                                 6029 N RAIDER RD                                                                               MIDDLETOWN      IN    47356‐9792
JANICE R SHIER                                    12933 E MADRID ST                                                                              DEWEY           AZ    86327‐7223
JANICE R SMITH                                    400 E HOGAN CIRCLE                                                                             AVON PARK       FL    33825
JANICE R VANDERWILL                               8601 IMMENSEE                                                                                  COMMERCE        MI    48382‐4745
JANICE R WAGSTAFF                                 1910 WOODHAVEN DR                     APT 2                                                    FORT WAYNE      IN    46819‐1030
JANICE RACHFAL STOKES                             PO BOX 132                                                                                     FREDONIA        NY    14063‐0132
JANICE RAE HERRMANN                               450 MCINTOSH LANE                                                                              AMHERST         OH    44001‐3106
JANICE RAE LEVITON                                179 NORTH RD                                                                                   DEERFIELD       NH    03037‐1100
JANICE RAPPUHN BAX EST LILLIAN WRIGHT             4590 NORTH ST                                                                                  ATTICA          MI    48412
JANICE RAPPUHN BAX EX EST GERALD L WRIGHT         4590 NORTH ST                                                                                  ATTICA          MI    48412
JANICE REISNER                                    870 SHERIDAN ST                                                                                UNION           NJ    07083‐6565
JANICE ROLSTON                                    4418 CLOVERLAWN                                                                                FLINT           MI    48504‐2056
JANICE S COURSEN                                  RR 3 BOX 116                                                                                   BURLINGAME      KS    66413‐9106
JANICE S DODGE                                    17 VINE ST                                                                                     BELFAST         ME    04915‐6919
JANICE S EISMAN                                   3972 BARRANCA PARKWAY                 #J 240                                                   IRVINE          CA    92606‐1204
JANICE S HEIT                                     2173 E JUDD RD                                                                                 BURTON          MI    48529‐2404
JANICE S JASON & KIRSTEN M JASON JT TEN           5 IRON HORSE DR                                                                                RINGOES         NJ    08551‐1016
JANICE S JASON CUST ERIN J JASON UTMA NJ          5 IRON HORSE DR                                                                                RINGOES         NJ    08551‐1016
JANICE S JASON CUST MAXWELL R JASON UTMA NJ       5 IRON HORSE DR                                                                                RINGOES         NJ    08551‐1016

JANICE S JOSEPH                                   9600 S HONEYCREEK RD                                                                           MUNCIE          IN    47302‐8143
JANICE S KESSLER                                  101 RIVERWOOD LN                                                                               SUMMERVILLE     SC    29485
JANICE S L WESTLAKE & ALLAN R WESTLAKE JT TEN     2345 REGIONAL RD 3 RR 1               BOWMANVILLE ON                         L1C 3K2 CANADA

JANICE S LOVEJOY & LAWRENCE C LOVEJOY JT TEN      876 ELY ST                                                                                     ALLEGAN         MI    49010
JANICE S MARRS                                    7037 W ALEXANDRIA RD                                                                           MIDDLETOWN      OH    45042‐9280
JANICE S MCSWEYN                                  ATTN JANICE S WILSON                  6799 HIGH PINE DR                                        DAVISBURG       MI    48350‐2957
JANICE S MOLENCUPP                                2801 JACKSONBLVD                                                                               HIGHLAND        MI    48356‐1553
JANICE S NUSHARDT                                 1932 OLD DOVER RD                                                                              CLARKSVILLE     TN    37042‐6873
JANICE S PERRY                                    3428 KEMP ROAD                                                                                 DAYTON          OH    45431‐2517
JANICE S SILCOX                                   1015 WYNDON AVE                                                                                BRYN MAWR       PA    19010‐2823
JANICE S STAHLBERG                                20678 SPRUCE DR                                                                                STRONGSVILLE    OH    44149
JANICE S VANWINKLE                                1190 MCKINLEY ST                                                                               WARREN          OH    44483‐5138
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Name                                             Address1                             Address2             Address3          Address4          City              State Zip

JANICE SCHNEIDER MAAS                            PO BOX 629                                                                                    HUDSON            WI    54016‐0629
JANICE SCOTT                                     1514 VANCOUVER DR                                                                             SAGINAW           MI    48603‐4771
JANICE SEEMANN & VICTOR SEEMANN JT TEN           32321 AZORES RD                                                                               DANA PT           CA    92629‐3604
JANICE SIEFERT                                   263 BEECHRIDGE                                                                                CINCINNATI        OH    45216‐1548
JANICE SMITH                                     2116 ANACAPA ST                                                                               SANTA BARBARA     CA    93105‐3504
JANICE SOLOMON PAVLOVIC                          1311 PLUMTREE LN                                                                              WINNETKA          IL    60093‐1621
JANICE SQUIRE                                    PO BOX 10050                                                                                  AUSTIN            TX    78766‐1050
JANICE STAMEY                                    4091 SUMMIT RD                                                                                NORTON            OH    44203‐1053
JANICE STRICKERT                                 47 MILDRED AVE                                                                                EDGERTON          WI    53534‐1942
JANICE SUE SABOLISH                              6484 RIVER ROAD                                                                               FLUSHING          MI    48433‐2510
JANICE T LIVINGSTON                              20 S DEFRAME WAY                                                                              GOLDEN            CO    80401‐5309
JANICE T TUCKER & CAREL J TUCKER JT TEN          105 RAYBURN DR                                                                                BENTON            KY    42025
JANICE TAYLOR                                    1933 OVERHILL RD                                                                              CHARLOTTE         NC    28211‐1628
JANICE THOMAS                                    602 WANAMAKER RD                                                                              JENKINTOWN        PA    19046‐2222
JANICE U DELATTRE                                195 SHIRLEEN DR                                                                               PONCHATOULA       LA    70454
JANICE U FINKEL                                  83 FALCON RD                                                                                  LIVINGSTON        NJ    07039‐4414
JANICE V BRUNETT                                 613 OTTER LAKE BOX 117 A                                                                      FOSTORIA          MI    48435‐9618
JANICE V JOHNSON                                 163 PAM ST                                                                                    VILLE PLATTE      LA    70586‐6602
JANICE V ROTH                                    1117 NARRUMSON RD                                                                             MANASQUAN         NJ    08736‐2024
JANICE V VAVRA                                   315 N LA GRANGE RD #I‐Z07                                                                     LA GRANGE PARK    IL    60526‐1903
JANICE VIRGINIA MITCHELL                         6 NICOL TERRACE                                                                               RUMSON            NJ    07760
JANICE W CALLEN                                  18994 FAIRFIELD                                                                               DETROIT           MI    48221‐2233
JANICE W GORSON                                  191 PRESIDENTIAL BLVD UNIT 925                                                                BALA CYNWYD       PA    19004‐1260
JANICE W MCDANIEL                                734 HADEN MARTIN RD                                                                           PALMYRA           VA    22963‐5143
JANICE W TUCKER                                  6735 W CHARLESTON #1                                                                          LAS VEGAS         NV    89146‐9207
JANICE WALLACE                                   5442 DAVID ST                                                                                 INDIANAPOLIS      IN    46226‐1734
JANICE WEEDEN                                    107 MARKHAM LANE                                                                              FAIRFIELD GLADE   TN    38558‐2647
JANICE WERNER                                    37 ALBANY RD                                                                                  NEPTUNE           NJ    07753‐5253
JANICE WONG & JAMES WONG JT TEN                  3 CALTHA RD                                                                                   BRIGHTON          MA    02135‐3801
JANICE ZIRPOLO                                   77 FITCH ST                                                                                   CARTERET          NJ    07008‐2921
JANICE ZULKEY CUST CLAIRE ZULKEY UGMA IL         932 EDGEMERE C                                                                                EVANSTON          IL    60202‐1429
JANIE A HAMM & H EVINS HAMM JT TEN               2205 GEORGIAN DR                                                                              HUNTSVILLE        AL    35801
JANIE A KOHR                                     523‐A S E 24TH AVE                                                                            CAPE CORAL        FL    33990‐2764
JANIE ANDERSON                                   4808 DICKERSON ST                                                                             DETROIT           MI    48215‐2004
JANIE B BENTANCUR                                BOX 723                                                                                       HOLGATE           OH    43527‐0723
JANIE B BOONE                                    9478 PINE ED                                                                                  CINCINNATI        OH    45236
JANIE B MC GOWAN                                 1281 NORTH AVE                                                                                PLAINFIELD        NJ    07062‐1724
JANIE B MCANINCH                                 JANIE B DAVIS                        203 WILDCAT DR                                           WINDFALL          IN    46076‐9203
JANIE B VALDEZ                                   6364 E HILL RD                                                                                GRAND BLANC       MI    48439‐9125
JANIE BODIS KIRBY                                10061 S LINDEN RD                                                                             GRAND BLANC       MI    48439
JANIE D AVANT                                    27 HENRY CLAY ST                                                                              PONTIAC           MI    48341‐1719
JANIE D HAMPTON                                  4475 BUENAVISTA RD                                                                            HUNTINGDON        TN    38344
JANIE DAVIS                                      4068 RACE ROAD                                                                                CINCINNATI        OH    45211‐2316
JANIE F BRYANT                                   15829 ARCHDALE ST                                                                             DETROIT           MI    48227‐1509
JANIE F MORRISON                                 5401 HAWTHORNE RD                                                                             LITTLE ROCK       AR    72207‐3751
JANIE F RODDY                                    PO BOX 859                                                                                    MELBOURNE         AR    72556‐0859
JANIE H TRENCHER                                 38 HAMPSHIRE DRIVE                                                                            WARMINSTER        PA    18974‐1279
JANIE HEBERLE                                    2369 SMITH HILL RD                                                                            WALWORTH          NY    14568‐9709
JANIE HINDS                                      2262 E 200 NORTH                                                                              WINDFALL          IN    46076‐9431
JANIE I HUGHES                                   1258 W LONE PILGRIM RD                                                                        FOREST            MS    39074‐7774
JANIE J BARNES                                   9313 ARROWWOOD                                                                                SHREVEPORT        LA    71118‐3500
JANIE K DEWBERRY                                 402 WINGATE DRIVE                                                                             CLARKSVILLE       TN    37043‐6009
JANIE L FOSTER                                   5221 E VIENNA RD                                                                              CLIO              MI    48420‐9770
JANIE L HANSEN                                   226 LE HAVRE DR                                                                               BUFFALO           NY    14227‐3164
JANIE L RENSHAW                                  1718 E WEBSTER RD                    LOT 148                                                  FLINT             MI    48505‐5721
JANIE L STEWART                                  75 SWEETWATER                                                                                 SOCIAL CIRCLE     GA    30025‐5337
JANIE LEE ENGLE TR ENGLE FAMILY LIVING TRUST     4995 RAISIN CENTER HWY                                                                        TECUMSEH          MI    49286‐9551
05/23/91
JANIE M ASHMORE                                  6157 ANNAPOLIS LANE                                                                           DALLAS            TX    75214‐2102
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JANIE M FLEMING                                  7610 SO INDIANA AVENUE                                                                        CHICAGO            IL    60619‐2329
JANIE M KOONCE                                   16767 OAKFIELD                                                                                DETROIT            MI    48235‐3412
JANIE M WALLER                                   12077 INA DR #90                                                                              STERLING HEIGHTS   MI    48312‐5060

JANIE M WRIGHT                                   1236 COLONIAL DR                                                                              INKSTER            MI    48141‐1761
JANIE M WRIGHTSMITH                              1236 COLONIAL DR                                                                              INKSTER            MI    48141‐1761
JANIE M YOUNG                                    2106 OLDS DR                                                                                  KOKOMO             IN    46902‐2559
JANIE O HEATHMAN                                 1820 MAPLEWOOD N E                                                                            WARREN             OH    44483‐4172
JANIE P STEPHENS                                 1829 WAVERLAND CIR                                                                            MACON              GA    31211‐1130
JANIE RAMSEY                                     PO BOX 141                                                                                    MONROE             IA    50170‐0141
JANIE S RHONE                                    2524 VAN WICK ST                                                                              INGLEWOOD          CA    90303‐2529
JANIE V LEHRMANN                                 3872 HWY 31                                                                                   AXTELL             TX    76624‐1211
JANIE Y FITCH CUST JOSHUA A FITCH UTMA SC        4551 EAST ADA AVE                                                                             NORTH              SC    29405‐7202
                                                                                                                                               CHARLESTON
JANIECE S DULING                                 11653 S 550 E                                                                                 FAIRMOUNT          IN    46928‐9524
JANIJAN COURSER                                  5026 PYLES                                                                                    COLUMBIAVILLE      MI    48421‐8933
JANILEE M LEDBETTER & KENNETH R LEDBETTER JT TEN PO BOX 25                                                                                     ASHWOOD            OR    97711‐0025

JANINA BARANCEWICZ                               1523 EVANGELINE                                                                               DEARBORN HTS    MI       48127‐3406
JANINA CHECKEROSKI                               37241 MARION DRIVE                                                                            STERLING HEIG   MI       48312‐1961
JANINA CHOJNOWSKI                                13577 SPRUCE                                                                                  SOUTHGATE       MI       48195‐1329
JANINA KASPERSKI                                 7553 W FOSTER AVE                                                                             HARWOOD HEIGHTS IL       60706‐1705

JANINA KOSTRUBIEC                                 18461 RENWICK                                                                                LIVONIA            MI    48152‐2837
JANINA KUSTRZYK                                   36215 LAMARRA DR                                                                             STERLING HEIG      MI    48310‐4565
JANINA LAIMUTE BUMELIS                            815N OAK PARK AVE                                                                            OAK PARK           IL    60302
JANINA REMBOWSKA                                  12 CHAMBORD CT                                                                               HAMILTON           NJ    08619‐4702
JANINA SOBIECH                                    1102 DERIAN PLACE                                                                            NOKOMIS            FL    34275‐4414
JANINE A DROPPS                                   1063 RAVENSVIEW TRL                                                                          MILFORD            MI    48381‐2971
JANINE A LEVERENZ                                 5231 GLEN STEWART WAY                                                                        INDIANAPOLIS       IN    46254‐9774
JANINE A PAULINO CUST TYLER J YELL UTMA MA        332 SAWYER STREET                                                                            NEW BEDFORD        MA    02746‐1725
JANINE B HARTZ                                    6479 DYSINGER ROAD                                                                           LOCKPORT           NY    14094‐9501
JANINE B STUBBLEFIELD                             4001 OAKLAND FOREST CT                                                                       LOUISVILLE         KY    40245‐7473
JANINE C TH UOT                                   15670 MCCANN                                                                                 SOUTHGATE          MI    48195‐3448
JANINE CANELLI                                    327 CENTRAL PARK W                  # 3C                                                     NEW YORK           NY    10025‐7631
JANINE D'ADDARIO                                  1042 NORTH ROYAL STREET                                                                      ALEXANDRIA         VA    22314‐1530
JANINE DADDARIO                                   1042 N ROYAL STREET                                                                          ALEXANDRIA         VA    22314‐1530
JANINE ELIZABETH ARNOLD & KYLE REED COOPER JT TEN 15 KULANIHAKOI                      APT 11F                                                  KIHEI              HI    96753‐7329

JANINE HENKES                                    7205 FOXWORTH                                                                                 DALLAS             TX    75248‐3033
JANINE HERMAN                                    1639 6TH AVE                         APT 203                                                  GRAFTON            WI    53024‐2927
JANINE IACOBUCCI                                 6130 CAMINO REAL                     SPC 289                                                  RIVERSIDE          CA    92509‐8289
JANINE K WILSON                                  1428 VINEYARD LN                                                                              LIBERTYVILLE       IL    60048‐5331
JANINE LAMBERTON                                 RR #1 BOX 211A                                                                                EQUINUNK           PA    18417‐9737
JANINE LEVINSON                                  1832 BAYSIDE CT                                                                               HEMET              CA    92545‐9411
JANINE M BORDONARO                               C/O VENEZIA                          1401 PLAYERS CLUB CIRCLE                                 GULF BREEZE        FL    32563‐3533
JANINE M DELMOTTE                                355 N ELIZABETH ST                                                                            MARINE CITY        MI    48039‐3404
JANINE M LAFFOON & DALLAS R LAFFOON JT TEN       21607 W 60 ST                                                                                 SHAWNEE            KS    66218‐8605
JANINE P LETHABY                                 933 W. 6TH ST                                                                                 ERIE               PA    16507
JANINE R C TOOMEY CUST DYLAN TOOMEY UTMA OR      PO BOX 507                                                                                    BEND               OR    97709‐0507

JANINE R CORBETS CUST LINDSEY RAE CORBETS UGMA   3153 GLENGROVE                                                                                ROCHESTER HILLS    MI    48309‐2736
MI
JANINE RICHARD                                   6596 MELLOW WOOD LANE                                                                         WEST BLOOMFIELD MI       48322‐3763

JANINE S BARHAM                                  708 PERRY ST                                                                                  SCOTTSBORO      AL       35768
JANINE S NAGLE                                   13073 GOLFSIDE CT                                                                             CLIO            MI       48420‐8281
JANINE SCALIA                                    146 VON HUENFELD STREET                                                                       MASSAPEQUA PARK NY       11762‐2252
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JANIS A ROBBINS                                  106 KENSINGTON PLACE                                                                            COLUMBIA           TN    38401‐8884
JANIS A WYMAN                                    184 GARDNERS GROVE DR                                                                           MCDONOUGH          GA    30252‐7663
JANIS ABOLINS                                    C/O KONSTATINE ABOLINS                 1117 SPRING N E                                          GRAND RAPIDS       MI    49503‐1264
JANIS BENDER                                     1 STRAWBERRY HILL CT APT 108                                                                    STAMFORD           CT    06902‐2548
JANIS C BIBLE & CHERYL B MILLER JT TEN           116 BUCKINGHAM AVE                                                                              SUMMERVILLE        SC    29485‐8003
JANIS C BIBLE & RICHARD K BIBLE JT TEN           116 BUCKINGHAM AVE                                                                              SUMMERVILLE        SC    29485‐8003
JANIS C HAYWARD TR UA 11/19/2008 THE JANIS C     9429 E MENDOZA AVE                                                                              MESA               AZ    85209
HAYWARD FAMILY TRUST
JANIS CAMPBELL BRINKOETTER                       6553 GREYRIDGE BLVD                                                                             INDIANAPOLIS       IN    46237
JANIS CATHERINE EMERSON                          2427 BALDWIN RD                                                                                 FENTON             MI    48430‐9769
JANIS D TAYLOR                                   210 NAVAJO RD                                                                                   LOS ALAMOS         NM    87544‐2620
JANIS E COOPER                                   3365 FAWNRIDGE DR                                                                               ROCKFORD           IL    61114‐5449
JANIS E FELDMAN                                  203 NORTH QUINCY AVE                                                                            MARGATE CITY       NJ    08402
JANIS E JONES                                    108 OAKFERN DR                                                                                  SIMPSONVILLE       SC    29681‐5712
JANIS E MARVIN                                   215 HICKORY DR                                                                                  AMES               IA    50014‐3428
JANIS E MITCHELL                                 R 1 BOX 87A                                                                                     ENGADINE           MI    49827‐9710
JANIS E NICHOLS                                  2520 GEORGIA ST                                                                                 LOUISIANA          MO    63353‐2554
JANIS E ROYAL                                    22300 AVENUE SAN LUIS                                                                           WOODLAND HILLS     CA    91364‐1528

JANIS ELAM                                     PO BOX 189                                                                                        FOURMILE           KY    40939‐0189
JANIS F BROWN                                  1260 W 300 N                                                                                      ANDERSON           IN    46011‐9265
JANIS F TOOMBS                                 21701 ROWANTY RD                                                                                  CARSON             VA    23830‐9324
JANIS G HADLOW                                 30 CITRON PL                                                                                      SPRINGLAKE         NC    28390‐7359
JANIS G MASSIE & ROY J MASSIE JT TEN           3422 RIDGECREST DRIVE                                                                             BIRMINGHAM         AL    35216‐4410
JANIS G MOESNER                                4871 LAMME ROAD                                                                                   DAYTON             OH    45439‐3051
JANIS G YOUNG                                  PO BOX 116                                                                                        VERNON             MI    48476‐0116
JANIS H MAHONEY                                722 INVERNESS DRIVE                                                                               HORSHAM            PA    19044‐1835
JANIS H ROWORTH                                196 NE 900 STREET                                                                                 BRANFORD           FL    32008
JANIS I MASSENGILL                             3030 ALBRIGHT RD                                                                                  KOKOMO             IN    46902‐3909
JANIS K FOSS                                   962 BURT ST                                                                                       TECUMSEH           MI    49286‐1152
JANIS K OLSEN                                  871 BAY AVE                                                                                       TOMS RIVER         NJ    08753‐3546
JANIS K VILLARREAL                             3732 ROLLING RIDGE CT                                                                             LAKE ORION         MI    48359‐1464
JANIS KAYE MACKO TOD LANNY DAVID MACKO SUBJECT 5412 W WILSON RD                                                                                  CLIO               MI    48420
TO STA TOD RULES
JANIS L BROCK                                  10920 SERPENTINE COURT NW                                                                         ALBUQUERQUE        NM    87114
JANIS L DOUGLAS                                621 SW 157TH ST                                                                                   OKLAHOMA CITY      OK    73170‐7686
JANIS L FLYNN                                  3469 LOGSTONE DR                                                                                  TRIANGLE           VA    22172‐2056
JANIS L MOULTON                                40 COUNTRY CLUB ROAD                                                                              COCOA BEACH        FL    32931‐2002
JANIS L MUCKENTHALER                           12055 E BRISTOL ROAD                                                                              DAVISON            MI    48423‐9135
JANIS L THELEN ADM EST CHARLES E ERHARDT       8225 WHITE OAKS RD                                                                                HARVARD            IL    60033
JANIS L WHITE CUST DANIEL C WHITE UTMA OH      890 BERKSHIRE AVE                                                                                 MACEDONIA          OH    44056‐1639
JANIS L WHITE CUST KEVIN M WHITE UTMA OH       890 BERKSHIRE AVE                                                                                 MACEDONIA          OH    44056‐1639
JANIS L WHITE CUST TRACY A WHITE UTMA OH       890 BERKSHIRE AVE                                                                                 MACEDONIA          OH    44056‐1639
JANIS LEANORE LIBUSE                           1480 RAVEAN COURT                                                                                 ENCINITAS          CA    92024‐6205
JANIS LEE ROBINSON                             1530 N WALNUT ST                                                                                  LA HABRA           CA    90631
JANIS M ALLEN                                  4227 MYRTLE AVE                                                                                   CINCINNATI         OH    45236‐2409
JANIS M DOUGLASS                               9658 SO CHYLENE DR                                                                                SANDY              UT    84092‐3564
JANIS M KISH                                   7109 S MEADOW DR                                                                                  PAINESVILLE        OH    44077‐2245
JANIS M SMITHEE                                349 L P MANN                                                                                      MARION             AR    72364‐2311
JANIS M STEPHENS                               5201 W SUGAR CREEK RD                                                                             CHARLOTTE          NC    28269‐0938
JANIS MARIE BOGGIANO                           106 DAVIS AVE                                                                                     KEARNY             NJ    07032‐3328
JANIS MATTA                                    43374 INTERLAKEN                                                                                  STERLING HEIGHTS   MI    48313‐2368

JANIS MAZZARINS                                  1146 SHEPARD HILLS BOULEVARD                                                                    MACEDONIA          OH    44056‐1326
JANIS MAZZARINS & ANNA ANITA MAZZARINS JT TEN    1146 SHEPARD HILLS BLVD                                                                         MACEDONIA          OH    44056‐1326

JANIS MCELLIGOTT                                 3430 HAVERSHIRE DRIVE                                                                           MISSOURI CITY      TX    77459
JANIS MCLEOD HALL                                1401 AVE O #F                                                                                   HUNTSVILLE         TX    77340‐4459
JANIS MEDNIS                                     294 HOWLAND AVE                                                                                 ROCHESTER          NY    14620‐3170
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JANIS OKELLY CUST SIMONE MARIA STUTEVILLE UGMA 1720 GLENWOOD PLACE                                                                               MEMPHIS           TN    38104‐5108
NY
JANIS PELNIS                                   12348 J & L TOWNLINE RD                                                                           WHITEWATER        WI    53190
JANIS PETERSON & RANDALL R PETERSON JT TEN     404 TURF LN                                                                                       WHEATON           IL    60187‐3257
JANIS R JACKSON                                3206 VERMONT                                                                                      INDEPENDENCE      MO    64052‐2753
JANIS R JACOBI SEEBRUCH                        N9071 MIRAMAR DR                                                                                  EAST TROY         WI    53120‐2313
JANIS RANVAL & ANDREA DRAKE JT TEN             1993 CHALMERS DR                                                                                  ROCHESTER HILLS   MI    48309‐1850
JANIS RICHARDS                                 6352 MEADOWOOD DR                                                                                 GRAND BLANC       MI    48439‐9197
JANIS RINK                                     22 CRESTWOOD DR                                                                                   CLIFTON PARK      NY    12065‐2710
JANIS RUTH CULLUM                              3800 TRAILS EDGE RD                                                                               FORT WORTH        TX    76109
JANIS S ELLIS                                  6863 E NORTH CRESTWAY                                                                             CLARKSTON         MI    48346
JANIS S JOHNSON                                4671 E STATE RD 252                                                                               FRANKLIN          IN    46131‐8158
JANIS S MILLER                                 6809 CAMP ERNST RD                                                                                BURLINGTON        KY    41005
JANIS T CLARK                                  ATTN JANIS E THOMPSON                    2652 A SIMPSON HWY 469                                   FLORENCE          MS    39073‐7416
JANIS VIVIAN MARTIN                            835 GREENHILL WAY                                                                                 ANDERSON          IN    46012‐9264
JANIT LEFTWICH ALLEN                           207 TRUMAN DR                                                                                     FAYETTEVILLE      NC    28311‐2152
JANITA J WALDEN                                217 LOWREY CI                                                                                     SPRINGTOWN        TX    76082‐5551
JANITA KHALKHALI                               5 CHUCKWAGON ROAD                                                                                 ROLLING HILLS     CA    90274
JANITA RUSSO                                   5 CHUCKWAGON ROAD                                                                                 ROLLING HILLS     CA    90274
JANITA W WILLIAMS CUST WILLIAM VON THOMAS      1412 KNOX VALLEY DR                                                                               BRENTWOOD         TN    37027‐7122
UTMA TN
JANITH ANN LANE                                PO BOX 412                                                                                        DEADWOOD          SD    57732‐0412
JANITH C SHERLOCK                              1720 RUGG ST                                                                                      KENT              OH    44240‐2953
JANITH F DORSEY TR JANITH F DORSEY TRUST UA    116 HOLDEN STREET                                                                                 HOLDEN            MA    01520‐1736
08/14/01
JANITH HERMANN & DAVID H HERMANN JT TEN        34810 EVELYN                                                                                      LIVONIA           MI    48152‐2980
JANITH L HINZMAN                               1255 BRIERCLIFF RD                                                                                BRIDGEPORT        WV    26330‐1303
JANIV BLEDSOE                                  259 BRAY RD                                                                                       SURGOINSVILLE     TN    37873‐6027
JANJA MARKOTIC                                 8608 NOBLE AVE                                                                                    SEPULVEDA         CA    91343‐6011
JANLYN MALLIS                                  3350 N TREAT CIR                                                                                  TUCSON            AZ    85716‐1129
JANN M DOBKIN                                  855 RAMAPO VALLEY ROAD                                                                            OAKLAND           NJ    07436‐2308
JANN WEST BAER CUST SARAH REBECCA BAER UGMA NJ PO BOX 433                                                                                        SUMMERBAND KEY    FL    33042

JANNA K ASSAF                                      15775 SHARK RD                                                                                JACKSONVILLE      FL    32226‐1543
JANNA LEIGH STASZAK                                4716 ELDON CT                                                                                 VIRGINIA BCH      VA    23462‐7227
JANNA M HODGE                                      2416 EAGLE FOREST DR                                                                          SAINT CHARLES     MO    63303
JANNA M MURPHY                                     PO BOX                               607                                                      MONA              UT    84645
JANNA MARIA SULLIVAN & ROBERT C SULLIVAN JT TEN    36 INTERNATIONAL VILLAGE DR                                                                   HELEN             GA    30545

JANNAROSA WEBB                                     750 E 118TH ST                                                                                CLEVELAND         OH    44108‐2369
JANNE PENTTILA                                     SORSAVUORENKATU 7 A 7                HELSINKI                               810 FINLAND
JANNE TURNER                                       1323 MORNING GLORY CIR                                                                        LIVERMORE         CA    94550‐6700
JANNEFER L GERRITY TOD PATRICK A GERRITY SUBJECT   805 BUCKIE DRIVE                                                                              WINTER SPGS       FL    32708
TO STA TOD RULES
JANNELL A TILLMAN                                  6073 BYRAM LAKE DR                   PO BOX 521                                               LINDEN            MI    48451‐0521
JANNES C LONDEREE & HUGH R LONDEREE JT TEN         PO BOX 71                                                                                     MOUNT HOPE        WV    25880
JANNICE E MCKAMEY & GARY W MCKAMEY JT TEN          2822 GLENVIEW                                                                                 ROYAL OAK         MI    48073‐3119
JANNIE F SMITH                                     3819 CRESTLYN RD                                                                              BALTO             MD    21218‐2122
JANNIE P PIETROSKI                                 26724 PALMER                                                                                  MADISON HEIGHTS   MI    48071‐3527

JANNIE PARHAM                                      21770 HAMPSHIRE                                                                               SOUTHFIELD        MI    48076‐4866
JANNIE R BARBER                                    1526 CYNTHIA LN                                                                               WICHITA FALLS     TX    76302
JANNIE R GOODWIN                                   7025 CORLINE ST                                                                               FORT WAYNE        IN    46819‐1315
JANNINE A DAVID                                    6943 BERKSHIRE DR                                                                             EXPORT            PA    15632‐8947
JANNINE L MIERAS                                   115 EAST MARKET STREET                                                                        CENTREVILLE       MI    49032‐9616
JANNIS BALES                                       2191 E 266TH STREET                                                                           ARCADIA           IN    46030‐9662
JANNIS D SAUNDERS                                  5080 FAIRMONT ST                                                                              PAHRUMP           NV    89061
JANNITA E GREENLEA                                 1867 HURON AVE                                                                                CINCINNATI        OH    45207‐1624
JANOS K TOTH                                       31201 OLMSTEAD RD                                                                             ROCKWOOD          MI    48173‐9774
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JANOS KOVACS OPEL PWTRN GMBH                 IPC 81‐03                                RUESSELSHEIM GERM                      GERMANY
JANOS POLLAK                                 43 NASSAU LANE                                                                                    CHEEKTOWAGA      NY    14225‐4815
JANOSKO W SKIPWITH                           94 100 NORMAN RD                                                                                  NEWARK           NJ    07106‐2809
JANOT E KIND                                 717 TOBEN TERRECE                                                                                 LAWERNSBURG      TN    38464
JANUS S LUTH & GLORIA R LUTH JT TEN          25 CAROL DR                                                                                       UNCASVILLE       CT    06382‐2007
JANUSZ OWSINSKI                              26977 ROCHELLE ST                                                                                 DEARBORN HTS     MI    48127‐3671
JANVIER W HUSFELT SR & LOIS J HUSFELT JT TEN 3902 MORNING DOVE                                                                                 CARROLLTON       TX    75007‐1460
JANYCE M HUETTER                             615 WELLINGTON                                                                                    SO LYON          MI    48178‐1248
JANYCE M HUETTER & JACLYN A SAWLE JT TEN     615 WELLINGTON DR                                                                                 SOUTH LYON       MI    48178‐1248
JANYTH E BRANTLEY                            4713 S 50 EAST                                                                                    KOKOMO           IN    46902‐9284
JAONA W BARDONNER                            159 APPIAN WAY                                                                                    ANDERSON         IN    46013‐4769
JAPHETH EDWARD SAECKER                       PO BOX 283                                                                                        MELFA            VA    23410‐0283
JAQUALYN ROGERS                              9‐4001 OLD CLAYBURN RD                   ABBOTSFORD BC                          V3G 1C5 CANADA
JAQUELINE ANITA HILL                         3170 SW 139TH TER                                                                                 DAVIE            FL    33330‐4667
JAQUELINE DREYFUSS                           1641 W CARMEN AVE                                                                                 CHICAGO          IL    60640‐2701
JAQUELINE E STYLES                           26 SNYDER CIRCLE                                                                                  STONE RIDGE      NY    12484‐5507
JAQUELINE M VOS                              10021 WINDSOR LAKE LANE                                                                           MINNETONKA       MN    55305‐2637
JAQUELYNN K FREY                             0745 CR 127                                                                                       GLENWOOD SPGS    CO    81601
JAQUELYNN KAYE MC GREGOR                     ATTN JAQUELYNN FREY                      745 COUNTY RD 127                                        GLENWOOD SPGS    CO    81601‐9212
JAQUITHA ROUNTREE REID                       107 PROSPECTOR DR                                                                                 KINGS MTN        NC    28086‐7773
JARA FOREMAN                                 2257 W AVE O 4                                                                                    PALMDALE         CA    93551‐3366
JARDINE FOSTER                               5575 BALFOUR RD                                                                                   DETROIT          MI    48224‐3106
JARDUS L WALKER                              1051 GREENSBORO RD                                                                                MADISON          GA    30650‐3915
JARED ALAN HAMMERS CUST BRETT A HAMMERS UGMA 445 HIGHLAND RD                                                                                   RED LION         PA    17356‐9291
PA
JARED C SIZEMORE                             7008 E BIGELOW GULCH RD                                                                           SPOKANE          WA    99217
JARED E NEMNICH TR JARED E NEMNICH TRUST UA  9 EAGLE CT                                                                                        EDWARDSVILLE     IL    62025‐3628
10/20/98
JARED GLASBRENNER                            930 ARCHWOOD AVE                                                                                  LORAIN           OH    44052‐1247
JARED GODFREY                                1005 HACKBERRY CRT                                                                                MCDONOUGH        GA    30253
JARED GOLDMAN                                31490 STONEWOOD COURT                                                                             FARMINGTON HILLS MI    48334

JARED J WEKENMAN                                1580 S EDGAR RD                                                                                MASON            MI    48854‐9778
JARED L JOHNSON                                 4761 COUNTRYSIDE NE                                                                            GRAND RAPIDS     MI    49525‐1215
JARED LEWIS                                     2515 W IOWA ST                                                                                 CHICAGO          IL    60622‐4503
JARED MILLER                                    1546 MAC DR                                                                                    STOW             OH    44224‐1315
JARED N PARKER                                  835 SURREY MEADOW CT                                                                           BALLWIN          MO    63021‐4205
JARED P BUCKLEY                                 20570 WOODCREEK BLVD                                                                           NORTHVILLE       MI    48167‐2910
JARED PAUL MAYHEW                                                                                                                              VINEYARD HAVEN   MA    02568
JARED PIFER                                     618 EAST RIVER                                                                                 MT PLEASANT      MI    48858‐9768
JARED PRATT BUCKLEY CUST JONATHAN ROMAN         20570 WOODCREEK BLVD                                                                           NORTHVILLE       MI    48167‐2910
BUCKLEY UGMA MI
JARED R SAPP                                    4112 HARLANWOOD DR                                                                             FORT WORTH       TX    76109‐2039
JARED SCHROEDER                                 2017 FLOYD                                                                                     WYOMING          MI    49509‐3617
JARED SCOTT                                     9090 CEDAR CREEK DR                                                                            BONITA SPGS      FL    34135
JARED SIMONS                                    209 HAMPSHIRE DR                                                                               SELLERSVILLE     PA    18960‐2875
JARED SMITH                                     164 LANTANA AVENUE                                                                             FLAGLER BEACH    FL    32136
JARED STAMPFL & ERIN STAMPFL JT TEN             W5917 COUNTY RD J                                                                              WESTFIELD        WI    53964‐8962
JARELL A LINGERFELT                             3339 N HAMMOCK DUNES VILLAGE PT                                                                LECANTO          FL    34461‐8464
JARET LANE HAGEN VOGEL                          4673 BRADY BLVD                                                                                DELRAY BEACH     FL    33445‐3246
JARETT E HOREHLAD                               3675 SOMERSET DR                                                                               SEAFORD          NY    11783‐3448
JARETT M BEER                                   22087 CUMBERLAND DR                   PO BOX 708                                               NORTHVILLE       MI    48167‐0708
JARI ARJAVALTA                                  HALTIJATONTONTIE 9 C                  ESPOO                                  2200 FINLAND
JARICE K HANSON                                 52 CONWAY RD                                                                                   HAYDENVILLE      MA    01039‐9601
JARILYN K STEPHENS                              2040 W LAWRENCE CIR                                                                            SOUTH JORDAN     UT    84095‐9308
JARM T WAN                                      PO BOX 4052                                                                                    PLS VRDS PNSL    CA    90274
JARMIL E VOYTKO & GERALD D VOYTKO JR JT TEN     280 VASSAR ST                                                                                  SOMERSET         NJ    08873‐2536
JARO RIMES                                      248 MEARNS AVE                        BOWMANVILLE ON                         L1C 4V1 CANADA
JAROD JOHNSON                                   6220 MARLOWE DR                                                                                BRIGHTON         MI    48116‐2130
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JAROD JOYCE                                      2330 INGLESIDE                                                                                 GRAND PRAIRIE    TX    75050‐1710
JAROLD C MALLERNEE                               ATTN JACQUELINE MALLERNEE             P O BOX 661                                              OAKLAND          IL    61943
JAROSLAV K LANGMAIER                             9070 RIDERWOOD DR                                                                              SUNLAND          CA    91040‐2629
JAROSLAV KARBULKA                                2722 N MAIN ST                                                                                 RACINE           WI    53402‐4250
JAROSLAV V SVEC                                  535 CHESLEY DRIVE                                                                              LANSING          MI    48917‐3452
JAROSLAVA RIMES                                  248 MEARNS AVE                        BOWMANVILLE ON                         L1C 4V1 CANADA
JAROSLAVA TOPOL                                  8557 NORTH OTTAWA                                                                              NILES            IL    60714‐2043
JAROSLAW BUCZEK                                  PO BOX 785                                                                                     CRESTLINE        CA    92325
JAROSLAW GLUSZKO                                 6146 SOUTHBROOK DR                                                                             ONTARIO          NY    14519‐9210
JAROSLAW N SEDLARCZUK                            14 DENISE DRIVE                                                                                BUFFALO          NY    14227‐3104
JAROSLAW S KRYWYJ                                3825 SUNFLOWER LANE                                                                            WARREN           MI    48091‐6117
JAROSLAW ZARYCKYJ                                4844 MARTIN                                                                                    DETROIT          MI    48210‐2347
JARRED T ROWDEN                                  19214 OAKBROOK                                                                                 TYLER            TX    75703
JARREL R WAYMIRE                                 2133 NO A ST                                                                                   ELWOOD           IN    46036‐1731
JARRELL A BEACH                                  9 E KNOX ST                                                                                    MOORESVILLE      IN    46158‐8065
JARRELL A NEWHOUSE                               150 BURKE                                                                                      RIVER ROUGE      MI    48218‐1471
JARRELL H MAHON                                  2405 STARLIGHT DR                                                                              ANDERSON         IN    46012‐1947
JARRELL Q ROSS                                   125 BAYWATCH DR                                                                                MOORESVILLE      NC    28117‐7443
JARRELL S KEITH                                  BX 12                                                                                          DOVER            MO    64022‐0012
JARREN J MOHANNA TR UA 10/15/1998 MOHANNA        2801 CREEK HOLLOW CURT                                                                         PLANO            TX    75023
LIVING TRUST
JARRETT D WHITE                                  PO BOX 28                                                                                      CLENDENIN        WV    25045‐0028
JARRETT F GARRETT                                465 SANDY VALLEY RD                                                                            ROGERSVILLE      TN    37857‐7201
JARRETT K DORN                                   PO BOX 2428 PMB 5053                                                                           PENSACOLA        FL    32513‐2428
JARRETT N MEADOWS                                780 S M 13                                                                                     LENNON           MI    48449‐9206
JARRETT S FISCHER                                420 OLD DOMINION AVE                                                                           HERNDON          VA    20170‐5323
JARROD COULSON                                   1123 ROPER SCHOOL RD                                                                           HICKMAN          KY    42050
JARVIS C POOLE & MARTHA R POOLE JT TEN           608 WAYBRIDGE ROAD                                                                             TOLEDO           OH    43612‐3202
JARVIS D STANFORD                                PO BOX 5552                                                                                    MANSFIELD        OH    44901‐5552
JARVIS G IVY                                     3066 HORIZON DRIVE                                                                             SANTA YNEZ       CA    93460‐9437
JARVIS GARRETT & BRANDON P GARRETT JT TEN        4303 TOPKE CT NE                                                                               ALBUQUERQUE      NM    87109‐2725
JARVIS J CHAPPUS                                 732 WINFIELD DR                                                                                O FALLON         IL    62269‐7521
JARVIS J JOHNSON & MARGUERITE M JOHNSON JT TEN   325 HOWE HILL RD                                                                               CAMDEN           ME    04843‐4103

JARVIS J MILLS                                   1602 N OVERLOOK DR                                                                             GREENVILLE       NC    27858‐4607
JARVIS LENG                                      4 ALDEN LANE                                                                                   HUNTINGTON       NY    11743‐3103
JARVIS T GAMBLE                                  3515 ORCHARD TRAIL DRIVE                                                                       TOLEDO           OH    43606‐1246
JARY L DAWSON                                    4901 PROCTOR RD                                                                                MUNCIE           IN    47302‐8968
JARY R HUMBERT                                   22401 GARES RD                                                                                 DEFIANCE         OH    43512‐9628
JAS SPECIAL INVESTMENTS                          11440 OKEECHOBEE BLVD STE 216                                                                  RYL PALM BEACH   FL    33411‐8726
JASKOT JACQUELINE                                30120 LYNDON                                                                                   LIVONIA          MI    48154‐4465
JASMINE D GROSS                                  1380 STATE RT 534 S W                                                                          NEWTON FALLS     OH    44444‐9520
JASMINE GIBSON                                   3525 HECKLE AVE                                                                                MEMPHIS          TN    38111‐5105
JASMINE M DOWDY                                  8164 DONNELL RD RT 1                                                                           MILLINGTON       TN    38053‐5607
JASON A COLE                                     26348 PRESIDENT AVE                                                                            HARBOR CITY      CA    90710‐3714
JASON A CROSS                                    117 TROPICANA PKWY E                                                                           CAPE CORAL       FL    33909‐1965
JASON A HOLTON                                   PO BOX 14                                                                                      JACKSON          AL    36545‐0014
JASON A LAMBRIGHT                                1602 S CATALINA AVE                   APT H                                                    REDONDO BEACH    CA    90277‐5216
JASON A NEWTON                                   44 AVALON DR                                                                                   AMHERST          NY    14226‐4901
JASON A SHERLOCK                                 2717 CASA DEL NORTE CT NE                                                                      ALBUQUERQUE      NM    87112‐2111
JASON A WEIGLE                                   309 LAUREL RUN RD                                                                              SOMERSET         PA    15501‐8500
JASON ALAN COLE                                  26348 PRESIDENT AVE                                                                            HARBOR CITY      CA    90710‐3714
JASON ALAN HUCKABY                               62 LAWN AVE                                                                                    PORTLAND         ME    04103‐3133
JASON ALFRED BARTH                               5413 COLFAX AVE S                                                                              MINNEAPOLIS      MN    55419‐1743
JASON ALLEN DANNENBERG & BRYNA R DANNENBERG      4210 PEACHTREE DUNWOODY RD NE                                                                  ATLANTA          GA    30342‐3527
JT TEN
JASON ARNOLD                                     126 W BEACH ROAD                      BOWMANVILLE ON                         L1C 3K3 CANADA
JASON B JEFFCOAT CUST NICHOLAS A JEFFCOAT UTMA   9904 W 147TH ST                                                                                OVERLAND PARK    KS    66221‐9667
VA
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JASON B JEFFCOAT CUST WILLIAM T JEFFCOAT UTMA VA 9904 W 147TH ST                                                                                 OVERLAND PARK   KS    66221‐9667

JASON B KOLKA & CHERYL M KOLKA JT TEN            44223 CROFTON COURT                                                                             CANTON          MI    48187‐1910
JASON B KOLKA & NICOLE R KOLKA JT TEN            11419 N TERITORIAL RD                                                                           DEXTER          MI    48130‐8526
JASON B MACLEAN                                  14 BRIARWOOD WAY                       STONY PLAIN AB                         T7Z 1K4 CANADA
JASON B PARKS                                    3330 JIM MOORE RD                                                                               DACULA          GA    30019‐1148
JASON B SCHOFIELD                                6714 BLUE RIDGE DR                                                                              RICHMOND        TX    77469‐5806
JASON B WYATT                                    2630 S ARLINGTON                                                                                INDIANAPOLIS    IN    46203‐5701
JASON BAKER                                      3835 S 261ST ST                                                                                 KENT            WA    98032‐7073
JASON BAKER                                      14584 ASHTON                                                                                    DETROIT         MI    48223‐2345
JASON BAKER                                      4488 E THOMAS RD                       UNIT 3007                                                PHOENIX         AZ    85018‐7629
JASON BIRTHA                                     62C DUBOIS COURT                                                                                ENGLEWOOD       NJ    07631‐3401
JASON BITTNER                                    PO BOX 555                                                                                      GLASCO          NY    12432‐0555
JASON BOYD                                       4030 AUTUMN                                                                                     RIDGECREST      CA    93555‐7823
JASON BURGESE CUST ANGELO BURGESE UTMA PA        PO BOX 507                                                                                      GILBERTSVILLE   PA    19525

JASON C BEVER                                    4401 EASTWOOD RD                                                                                MINNETONKA      MN    55345‐2410
JASON C BOHINSKI                                 2400 YOSEMITE                                                                                   SAGINAW         MI    48603‐3355
JASON C CARPENTER                                #4936 OAK PARK                                                                                  CLARKSTON       MI    48346‐3936
JASON C DOTSON                                   9201 NEIGHBORS DR                                                                               WAKE FOREST     NC    27587‐5381
JASON C GERRIB                                   128 DELAWARE ST                                                                                 WESTVILLE       IL    61883
JASON C HOLLY CUST CORAL HOLLY                   436 ROSS HILL RD                                                                                CHARLESTOWN     RI    02813‐2727
JASON C M BUCKLEY                                2507 HARVARD RD                                                                                 LAWRENCE        KS    66049
JASON C MONTGOMERY                               105 BOISE LN                                                                                    INWOOD          WV    25428‐3873
JASON C MOTEN                                    11303 ALFORD AVE                                                                                NORTHPORT       AL    35475‐4528
JASON C SCHWEITZER                               PO BOX 767                                                                                      LAKELAND        MI    48143‐0767
JASON C TRAYNOR READ                             1460 W LONG LAKE RD                                                                             BLOOMFIELD      MI    48302‐1337
JASON C TUCKER                                   1621 BAUCOM DR                                                                                  COLUMBIA        TN    38401‐5471
JASON C VANBUSKIRK                               13745 NW 18TH CT                                                                                PEMBROKE PNES   FL    33028‐2602
JASON C WINCHESTER                               3024 MCDONALD                                                                                   FT WAYNE        IN    46803‐1572
JASON COWARD CUST LAUREN T COWARD UGMA MI        1747 KELLY RD                                                                                   MASON           MI    48854‐9670

JASON COWARD CUST NOAH J COWARD UGMA MI          1747 KELLY RD                                                                                   MASON           MI    48854‐9670

JASON COWARD CUST TANNER SHEA COWARD UGMA        1747 KELLY RD                                                                                   MASON           MI    48854‐9670
MI
JASON CRANFORD                                   1255 S MICHIGAN AVE PH 22                                                                       CHICAGO         IL    60605
JASON D GOSLER                                   1757 DERFLA DR                                                                                  SAINT JOSEPH    MI    49085‐9637
JASON D JUNGBERG                                 200 NEWTON DR                                                                                   FORSYTH         GA    31029‐8508
JASON D KRUSE                                    11909 CANTERBURY RD                                                                             LEAWOOD         KS    66209‐1008
JASON D RACE                                     17 SUNNY SIDE DRIVE                                                                             SOUTH WINDSOR   CT    06074
JASON D RAY                                      BOX 1806                                                                                        HAILEY          ID    83333‐1806
JASON D WILLIAMS                                 219‐B CALHOU AVE                                                                                DESTIN          FL    32541
JASON DE EULIS                                   4830 ROSS DR                                                                                    WATERFORD       MI    48328‐1044
JASON DEAN TROILO                                106 HEATHERLY LANE                                                                              AVONDALE        PA    19311‐9706
JASON DELOZIER                                   7802 BLUE HILL RD                                                                               GLENVILLE       PA    17329‐9001
JASON DOUGLAS TYRONE                             17362 RISING DALE WAY                                                                           RAMONA          CA    92065
JASON DRYDEN                                     1076 N DETROIT ST                                                                               XENIA           OH    45385
JASON E CAUTHRON & MARY E CAUTHRON JT TEN        2000 S 5TH                                                                                      PARIS           AR    72855‐5312
JASON E COLBATH & ISABELLE COLBATH JT TEN        705 OLD MILL POND RD                                                                            PALM HARBOR     FL    34683‐1724
JASON E CRAIG                                    1660 LANE RD                                                                                    MOUNT HOLLY     NC    28120‐9036
JASON E HALLENBECK                               1460 W DILL ROAD                                                                                DEWITT          MI    48820
JASON E RUIZ                                     2157 TURNBULL AVE                                                                               BRONX           NY    10473‐1317
JASON EDWARD DEAN                                544 N KENMORE AVE                                                                               LOS ANGELES     CA    90004‐6815
JASON EDWARDS                                    9406 MESA VERDE CI                                                                              WOODWAY         TX    76712‐6480
JASON EDWARDS                                    46 GREENDALE                                                                                    SAINT LOUIS     MO    63121
JASON FAMULARO CUST GIA FAMULARO UTMA NY         3427 BAYFRONT PLACE                                                                             BALDWIN         NY    11510‐5112
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JASON FITZPATRICK CUST COLE M FITZPATRICK UTMA   120 DILLINGHAM WAY                                                                              HANOVER          MA    02339‐1434
MA
JASON FITZPATRICK CUST MADISON M FITZPATRICK     120 DILLINGHAM COURT                                                                            HANOVER          MA    02339‐1434
UTMA MA
JASON FOX                                        511 ROCKET ST                                                                                   ROCHESTER        NY    14609‐4216
JASON G CASTNER                                  9693 DECATUR DRIVE                                                                              INDIANAPOLIS     IN    46256‐9655
JASON G FOX                                      11042 3RD ST                                                                                    MOKENA           IL    60448‐1156
JASON G GORMLEY                                  25 HAYLOFT RD                                                                                   DENVER           PA    17517‐9198
JASON G SHINAULT                                 5320 N WOODMAN AVE                                                                              ASHTABULA        OH    44004‐6417
JASON G STRAUS                                   5 MILFORD DR                                                                                    PLAINVIEW        NY    11803‐3214
JASON GANGWISCH                                  2845 COMMONS DR                                                                                 LAWRENCEVILLE    GA    30044‐5763
JASON GEE YUEN                                   1020 PACIFIC AVE                                                                                SAN FRANCISCO    CA    94133‐4210
JASON GESMER CUST JAMES GESMER UGMA NY           3224 WINDSONG CT                                                                                ROCKFORD         IL    61114‐8072
JASON GOLDMAN                                    5227 FOREST SPRINGS DR                                                                          DUNWOODY         GA    30338‐3529
JASON GORDON                                     257 N ORLANDO AVE                                                                               COCOA BEACH      FL    32931
JASON GRAFF                                      17283 NEW JERSEY                                                                                SOUTHFIELD       MI    48075‐2827
JASON GRAHAME                                    9000 E JEWELL CIR                                                                               DANVER           CO    80231‐3450
JASON GREEN & MELISSA B GREEN JT TEN             64 LEXINGTON DR                                                                                 ANNVILLE         PA    17003‐8631
JASON GUNESCH                                    3905 BROOKSIDE LN                                                                               HURON            OH    44839‐2172
JASON H BROACH                                   3850 DIXIE HWY                                                                                  MADISON          GA    30650‐3430
JASON H LEDBETTER                                8277 WILLIS RD                                                                                  YPSILANTI        MI    48197‐9713
JASON H RAASCH                                   5971 S PLANTAIN POINT                                                                           LECANTO          FL    34461
JASON HERSHCOPT                                  936 ORCHARD RIDGE DRIVE                UNIT 200                                                 GAITHERSBURG     MD    20878‐5889
JASON HOLLY CUST JAMESON D HOLLY UTMA RI         436 ROSS HILL RD                                                                                CHARLESTOWN      RI    02813‐2727
JASON HORNER                                     330 GREENFIELD CRES                                                                             SUFFOLK          VA    23434‐4885
JASON HUGH COWARD                                1747 KELLY RD                                                                                   MASON            MI    48854‐9670
JASON J ANNA JR                                  5435 W ATLANTIS AVENUE                                                                          PHOENIX          AZ    85043
JASON J ENGH                                     218 35TH ST                            APT A                                                    NEWPORT BEACH    CA    92663‐3155
JASON JAGGERS CUST JEREMY JAGGERS UTMA DC        2641 BRADEN WAY                                                                                 LEXINGTON        KY    40509‐8571
JASON JAMES ANNA SR                              7002 N 14TH AVE                                                                                 PHOENIX          AZ    85021‐8669
JASON JOERIGHT & KATHY SMITH JT TEN              4454 EDGEWATER DR                                                                               SHEFFIELD LAKE   OH    44054‐1208
JASON JOHN NOLTE                                 5404 FOREST‐HILL IRENE                                                                          MEMPHIS          TN    38125
JASON KAVANAGH                                   2104 PULLMAN LANE                      UNIT B                                                   REDONDO BEACH    CA    90278
JASON KENNETH HAUSER & MRS LORRAINE JOAN         36 CHERYL DRIVE                                                                                 LAKE             NY    11779‐4349
HAUSER JT TEN                                                                                                                                    RONKONKOMA
JASON KROLL                                      427 N MARTHA                                                                                    DEARBORN         MI    48128
JASON L ARDEN TR UA 10/10/2005 BEVERLY A         5517 S LINDEN RD                                                                                SWARTZ CREEK     MI    48473
CAMPBELL TRUST
JASON L CHILDRESS                                19515 NORTHLAWN ST                                                                              DETROIT          MI    48221‐1609
JASON L HATCHER                                  479 AVENIDA MANTILLA                                                                            CHULA VISTA      CA    91914
JASON L MAIER                                    111 CONNECTICUT AVE                                                                             WARREN           PA    16365‐1420
JASON L POOLE                                    48150 LAKE VALLEY DR                                                                            SHELBY TWP       MI    48317‐2121
JASON L WIZE                                     5144 TYLER DR                                                                                   TROY             MI    48085
JASON L WONG                                     903 PEACH TREE ROAD                                                                             UNION            NJ    07083‐6527
JASON LAZICH                                     362 RAE LANE                                                                                    MAYVILLE         WI    53050‐1131
JASON LEE MICHAEL                                2047 E CR 550 S                                                                                 ANDERSON         IN    46017
JASON LYONS                                      3473 E SHAULIS                                                                                  WATERLOO         IA    50702
JASON M BROWN & MAFALDA M BROWN JT TEN           17030 CADBURY CIR                      UNIT 217                                                 LEWES            DE    19958‐7029
JASON M CARMEL                                   PO BOX 142                                                                                      STEVENSON        MD    21153‐0142
JASON M HIPSHIER                                 7179 ROLLING HILLS DR                                                                           HUDSONVILLE      MI    49426‐9739
JASON M LEE                                      2410 W MARKS PL                                                                                 DUNLAP           IL    61525‐9032
JASON M OCONNOR                                  5 CROWN POINT                                                                                   SHAWNEE          OK    74804‐3257
JASON M REEVES                                   660 RYEFIELD RD                                                                                 MONTGOMERY       AL    36117
JASON M SERWA                                    26013 BERKLEY AVE                                                                               HUNTINGTON       MI    48070‐1457
                                                                                                                                                 WOODS
JASON M VARRIN                                   3405 PERLINO DR                                                                                 MURFREESBORO     TN    37128
JASON M WEHNER & LARRY S WEHNER & JANICE         5797 BIRCHCREST                                                                                 SAGINAW          MI    48603‐5902
WEHNER JT TEN
JASON MARC GOLD                                  20 LORRIE LANE                                                                                  CLIFTON          NJ    07012‐1821
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JASON MCCARTY                                    9808 ALLEGHENY DR                                                                               CINCINNATI         OH    45251‐1612
JASON MENKE                                      23 NORTH STREET                                                                                 CALEDONIA          NY    14423
JASON MILLS                                      311 JULIA CT                                                                                    UPLAND             CA    91784‐1308
JASON O'NEAL                                     845 HOLIDAY DR                                                                                  SUMTER             SC    29153
JASON OTTO                                       BOX 1513                                                                                        GRANTS PASS        OR    97528‐0128
JASON P BEEMAN                                   16472 CROSSWIND LN                                                                              MACOMB TWP         MI    48042‐5768
JASON P MCINTYRE                                 109 ROYAL CT                                                                                    TULLAHOMA          TN    37388‐4847
JASON P MICKUS                                   8217 E COLDWATER ROAD                                                                           DAVISON            MI    48423‐8965
JASON PAQUET CUST JONATHAN PAQUET UTMA CA        1638 N OXFORD                                                                                   SANTA MARIA        CA    93454

JASON PARKER                                     21 BORDER ST                                                                                    MILFORD            NH    03055‐3801
JASON PATRICK MCNIEL                             93 AGATE WAY                                                                                    WILLIAMSTON        MI    48895‐9434
JASON PATTERSON                                  5 BLUEBIRD RD                                                                                   WINCHENDON         MA    01475‐1896
JASON PAUL LANG                                  271 WESTWOOD DR                                                                                 LIBERTY            KY    42539
JASON PAUL ROYALS & SHANNON MICHELLE ROYALS JT   4935 W ENON RD                                                                                  FAIRBORN           OH    45324
TEN
JASON PEACOCK                                    12 HAWTHORNE COURT                     BELFOUNTAIN ON                         L7K 0G2 CANADA
JASON PENDERGRASS CUST KIMBERLEY PENDERGRASS     763 GARDEN RIDGE DR                                                                             HOLLAND            MI    49423‐9236
UGMA MI
JASON PIERCE CUST MORGAN PIERCE UTMA TX          1367 FM 1791                                                                                    HUNTSVILLE         TX    77340
JASON POST                                       42 EATONTOWN RD                                                                                 HEWITT             NJ    07421
JASON R AMONETT & RICHARD D AMONETT & SUE N      5938 WEST 30TH ST                                                                               INDIANAPOLIS       IN    46224‐3020
AMONETT JT TEN
JASON R AMONETT RICHARD D AMONETT & SUE N        5938 WEST 30TH STREET                                                                           INDIANAPOLIS       IN    46224‐3020
AMONETT JT TEN
JASON R BULL                                     PO BOX 744                                                                                      JENISON            MI    49429‐0744
JASON R DAISEY                                   9030 SHARPSBURG PIKE                                                                            FAIRPLAY           MD    21733‐1154
JASON R LEWIS                                    15 PINEWOOD DR                                                                                  TIFFIN             OH    44883‐1947
JASON R LINDSAY                                  14 PARK ROAD                                                                                    SPENCERPORT        NY    14559
JASON R MYERS & GRETTA MYERS JT TEN              6798 LOON HOLLOW COURT                                                                          YPSILANTO          MI    48197‐1081
JASON R REED                                     36236 TULANE                                                                                    STERLING HEIGHTS   MI    48312‐2857

JASON R WINNER                                 22 N ALFORD RD                                                                                    SPRINGFIELD        PA    19064‐2502
JASON RAMSAY GILLMAN                           10595 W SAM HOUSTON PKWY SOUTH                                                                    HOUSTON            TX    77099‐2844
JASON RAY FABIJANOWICZ                         13454 W NAVAHO TRAIL                                                                              LOCKPORT           IL    60441‐9668
JASON REED                                     1621 36TH ST SW                                                                                   WYOMING            MI    49509‐3364
JASON ROBERT ELLIOTT                           12903 MAPLES PERCH CT                                                                             HUMBLE             TX    77346
JASON ROSHA                                    18 HUNTER CREEK RD                                                                                FAIRFAX            CA    94930‐1354
JASON S CHIDESTER & JOE S CHIDESTER JT TEN     2248 MUSSON                                                                                       HOWELL             MI    48843‐9082
JASON S ELIAS                                  301 OCEAN DR 209                                                                                  MIAMI BEACH        FL    33139‐6989
JASON S JONES                                  5579 FULCROFT AVE                                                                                 HARRISBURG         PA    17111‐4145
JASON S KRAUSS                                 844 OXFORD ST                                                                                     WORTHINGTON        OH    43085‐4136
JASON S VAN WINKLE                             3004 STONEYBROOK TRL                                                                              FAIRBORN           OH    45324‐6034
JASON SCHAFFER                                 75 E WAYNE AV                            APT W803                                                 SILVER SPRING      MD    20901‐4263
JASON SKAFF                                    797 VALIN ST                             ORLEANS ON                             K4A 4Y9 CANADA
JASON SOUZA                                    40 COOKE RD                                                                                       PLYMOUTH           MA    02360
JASON SZCZYGIEL & AMANDA SZCZYGIEL JT TEN      11420 WALDRON RD                                                                                  JEROME             MI    49249‐9626
JASON T ANDRUK                                 8600 FATHOM CIR                          UNIT 1405                                                AUSTIN             TX    78750‐3039
JASON T CROSBY                                 3320 FRANCIS RD                                                                                   ALPHARETTA         GA    30004‐0907
JASON T DOCTOR                                 5240 ROUSELL                                                                                      MUSKEGON           MI    49441
JASON T POINDEXTER                             PO BOX 4231                                                                                       DAYTON             OH    45401‐4231
JASON T RAEDY                                  1215 BLUE HERON                                                                                   SAGINAW            MI    48609‐8910
JASON T STOCKSLAGER                            1748 LAKESHORE DR                                                                                 TROY               OH    45373‐8716
JASON T ZARINS                                 12339 N CLIO RD                                                                                   CLIO               MI    48420‐1046
JASON THOMAS FOSTER I CUST JASON THOMAS FOSTER 25112 CYPRESS ST                                                                                  LOMITA             CA    90717‐2031
II UTMA CA
JASON VERA                                     907 TAYLOR ST NE                                                                                  WASHINGTON         DC    20017‐3722
JASON VERA                                     907 TAYLOR ST NE                                                                                  WASHINGTON         DC    20017‐3722
JASON W GAGLEY                                 37214 40TH AVE S                                                                                  AUBURN             WA    98001‐8901
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JASON W GLOGOWSKI                             32164 DOVER                                                                                                       GARDEN CITY      MI    48135‐1748
JASON WALTERS & CHRISTINE WALTERS TEN ENT     224 CARANZA RD                                                                                                    TABERNACLE       NJ    08088‐9330
JASON WATT CUST DALTON ROGER WATT UTMA KY     991 LEWIS RD                                                                                                      MAYFIELD         KY    42066‐1199

JASON WESTERFELD                              8619 SCENICVIEW DR #105                                                                                           BROADVIEW        OH    44147‐3455
                                                                                                                                                                HEIGHTS
JASON WHALEN                                  1218 13TH AVE N                                                                                                   CLINTON          IA    52732‐3350
JASON WYNNE                                   PO BOX 68                                                                                                         CARLTON          TX    76436‐0068
JASPER A FREDERICK                            48 N MERRIMAC                                                                                                     PONTIAC          MI    48340‐2528
JASPER B GILMORE                              1129 ARBOR LN                                                                                                     TROY             OH    45373‐7606
JASPER BRADEN HARRIS                          16500 WESTVIEW TRL                                                                                                AUSTIN           TX    78737‐9035
JASPER C BYNUM                                19963 HUBBELL                                                                                                     DETROIT          MI    48235‐1604
JASPER C NWAFOR                               BOX 1993                                                                                                          BLOOMFIELD       NJ    07003‐1993
JASPER CEMETERY ASSOCIATION                   ATTN SHEILA LEACH                    4052 CO RTE 123                                                              JASPER           NY    14855‐9618
JASPER CHARLES BYNUM                          19963 HUBBELL                                                                                                     DETROIT          MI    48235‐1604
JASPER DWIGHT TERRY                           5011 DEVON LANE                                                                                                   HOUSE SPRINGS    MO    63051‐1994
JASPER E WILLIAMS                             404 W HIGHLAND AVE                                                                                                KINSTON          NC    28501‐2824
JASPER F SHIPMAN                              266 GADDIS ROAD                                                                                                   CANTON           GA    30115‐7128
JASPER M COMBS                                411 CALMES BLVD                                                                                                   WINCHESTER       KY    40391‐8709
JASPER M MARTIN                               1826 COLONIAL WAY CIR                                                                                             HIXSON           TN    37343‐3415
JASPER N COUCH                                1002 N HINE ST                                                                                                    ATHENS           AL    35611‐4842
JASPER NORTON & WILLIE MAE NORTON JT TEN      17209 WESTLAND                                                                                                    SOUTHLAND        MI    48075‐4248
JASPER PIAZZA                                 C/O PAULINE MESSINA                  3843 DRUSILLA DRIVE                                                          BATON ROUGE      LA    70809‐2392
JASPER T SUTTON                               350 CHALMERS                                                                                                      DETROIT          MI    48215‐3162
JASPER W LEDBETTER                            7000 W CHURCH ST                                                                                                  CLARKSTON        MI    48346‐1416
JATAWAN BUSH                                  319 HEARNE AV                                                                                                     CINCINNATI       OH    45229‐2817
JATHANIEL LYLES & LAVINIA LYLES JT TEN        514 GILLILAND RD                                                                                                  ANCHORAGE        KY    40245‐4228
JATHER MAXWELL                                9105 ARTESIAN ST                                                                                                  DETROIT          MI    48228‐1701
JATIN B DESAI                                 48100 GASTERFIELD DR SOUTH                                                                                        CANTON           MI    48187‐1237
JATIN B DESAI & PARUL J DESAI JT TEN          48100 GASTERFIELD DR SOUTH                                                                                        CANTON           MI    48187‐1237
JATINDER N KAUSHAL & MEENA KAUSHAL JT TEN     3135 TIMBER VALLEY DR                                                                                             KOKOMO           IN    46902‐5065
JAUNITA M BARRETT                             R #2                                 9404 E CR 25 S                                                               SELMA            IN    47383‐9438
JAUNITA M COLEMAN                             833 MAPLE SW                                                                                                      WARREN           OH    44485‐3854
JAUNITA S ROGERS                              306 ROTONDA CIRCLE                                                                                                ROTONDA WEST     FL    33947‐2151
JAVIER ALEGRET                                GM DE MEXICO                         LAGO VICTORIA #74             11520 MEXICO D F       MEXICO
JAVIER ALEGRET                                GM DE MEXICO AV EJERCITO             NACIONAL #843 COL GRNADA      MEXICO DF MEXICO       MEXICO
JAVIER B MATA PER REP EST PEDRO B MATA        3055 LANNING DRIVE                                                                                                FLINT            MI    48506
JAVIER DELEON                                 518 W 144TH ST                                                                                                    EAST CHICAGO     IN    46312‐2642
JAVIER G VILLANUEVA                           3239 W 26TH ST                                                                                                    CHICAGO          IL    60623‐4034
JAVIER HERNANDEZ                              1055 GARDENVIEW LOOP #303                                                                                         WOODBRIDGE       VA    22191
JAVIER MARTINEZ                               345 PLANET STREET                                                                                                 ROCHESTER        NY    14606‐3044
JAVIER P SOTOLONGO                            1308 AVY 57                                                                                                       HILLSIDE         NJ    07205‐2214
JAVIER R PEREZ                                14568 HEATHERTON DR                                                                                               GRANGER          IN    46530‐4210
JAVIER S SANDOVAL                             18225 COL CHESTER WY                                                                                              NORTHRIDGE       CA    91326‐2030
JAVIER SEPULVEDA                              C/O GM                               CARRETERA SALTILLO MONTEREY   KM 7 5 RAMOS ARIZIPE   COAHULIA 25900 MEXICO
JAVIN JON WOLF                                3268 N 106TH ST                                                                                                   MILWAUKEE        WI    53222‐3336
JAWAHAR N GHIA CUST GREGOREY GHIA UTMA NC     805 CHURCHILL DR                                                                                                  CHAPEL HILL      NC    27514‐3006

JAXON L PRITCHARD                             652 LANGLEY BLVD                                                                                                  CLAWSON          MI    48017‐1336
JAY A BUNCE & MARY ANN BUNCE JT TEN           PO BOX 282                                                                                                        TRINITY CENTER   CA    96091‐0282
JAY A BUNCE CUST VICTOR BUNCE UTMA CA         PO BOX 282                                                                                                        TRINITY CENTER   CA    96091‐0282
JAY A CARLSON                                 401 W MAPLE ST                                                                                                    WHITEWRIGHT      TX    75491‐2530
JAY A CUCCIA CUST RYAN W CUCCIA UTMA MD       PO BOX 4073                                                                                                       CROFTON          MD    21114‐4073
JAY A HURST                                   691 GARDENVIEW CT SW                                                                                              BYRON CENTER     MI    49315‐8347
JAY A JACOBUS                                 34 SWEDE MINE RD                                                                                                  ROCKAWAY         NJ    07866‐3750
JAY A JANICEK                                 985 W CALLE IRIBU                                                                                                 SAHUARITA        AZ    85629
JAY A JOHNSON                                 11411 CANE CROSSING ROAD             APARTMENT 1713                                                               CHARLOTTE        NC    28277
JAY A LE FEVRE                                PO BOX 279                                                                                                        NEW PALTZ        NY    12561‐0279
JAY A LEVINE & MRS RITA LEVINE JT TEN         2 GROVE ISLE DR                      APT 1002                                                                     MIAMI            FL    33133‐4111
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JAY A MALOTT                                     5443 BRISTOL PARKE DRIVE                                                                     CLARKSTON         MI    48348‐4801
JAY A MC OWEN                                    4433 N STANTON #406                                                                          EL PASO           TX    79902‐1302
JAY A PIORIER                                    N8435 KNUTES RD                                                                              PITTSVILLE        WI    54466‐9133
JAY A RANSOM                                     130 WILDWOOD PARKWAY                                                                         BALLWIN           MO    63011
JAY A VREDEVELD                                  3532 TEAROSE DR                                                                              HUDSONVILLE       MI    49426
JAY A WYNNE                                      16 FOREST HILLS DR                                                                           WASHINGTON        MO    63090‐5600
JAY ABRAMOWITZ                                   32 GOLF CLUB CIRCLE                                                                          MANORVILLE        NY    11949‐2827
JAY ALAN DENBO                                   1 CHRISTIAN ST                      APT 11                                                   PHILADELPHIA      PA    19147‐4346
JAY ALAN GRIFFITH                                1902 WOODS HOLLOW LANE                                                                       ALLENTOWN         PA    18103‐9274
JAY ALAN ZWEIG                                   6210 N CASA BLANCA DR                                                                        PARADISE VALLEY   AZ    85253‐5311
JAY ALLEN SCHWARTZ                               3448 N CLARK                                                                                 CHICAGO           IL    60657‐1610
JAY ALLEN STEWART CUST CHASE RYAN STEWART UTMA 15253 SOUTH ROTH DR                                                                            OLATHE            KS    66062‐3700
KS
JAY ALLEN STEWART CUST TAYLOR KYLE STEWART UTMA 15253 SOUTH ROTH DR                                                                           OLATHE            KS    66062‐3700
KS
JAY ANDREW TASSLER                               366 MCKINLEY BLVD                                                                            PARAMUS           NJ    07652‐4752
JAY ANTHONY DEFRANCO CUST MATTHEW DAVENPORT 3 MEADOW DR                                                                                       NEWPORT NEWS      VA    23606
UTMA VA
JAY ANTHONY JOYNER CUST ASHLEY NOELLE JOYNER     10000 BRADWELL CT                                                                            RALEIGH           NC    27613‐5727
UTMA NC
JAY ANTHONY JOYNER CUST JOSHUA BRUCE JOYNER      10000 BRADWELL CT                                                                            RALEIGH           NC    27613‐5727
UTMA NC
JAY ARNOLD GREIF & MRS JOANNE ALIDA GREIF JT TEN 123 OAK SUMMIT RD                                                                            FRENCHTOWN        NJ    08825‐4134

JAY B COLEMAN & ROSANN COLEMAN JT TEN           107 RIDGEMOOR TRACE                                                                           CANTON            GA    30115‐6464
JAY B CORNELL CUST JOANNE T CORNELL UTMA NJ     31 TYSKA AVE                                                                                  SAYREVILLE        NJ    08872‐1778

JAY B HORNOCKER                               2739 W. 11TH ST                                                                                 ANDERSON          IN    46011
JAY B MACKENZIE CUST MACAELA A MACKENZIE UGMA 2685 BEACON HILL APT 103                                                                        AUBURN HILLS      MI    48326‐3744
MI
JAY B PETERSON                                28631 LATHRUP BLVD                                                                              LATHRUP VILLAGE   MI    48076‐2849

JAY B POSNACK                                   6 BRETTAGNE                                                                                   DEVON             PA    19333
JAY B PROCTOR                                   1090 DERRYBERRY CEM RD                                                                        COLUMBIA          TN    38401‐9539
JAY B SMITH CUST SAMANTHA H SMITH UTMA PA       696 PADDOCK CIRCLE                                                                            WEST CHESTER      PA    19382‐8234
JAY B SOUTHWICK                                 8146 MIDLAND ROAD                                                                             MENTOR            OH    44060‐7528
JAY B STAMBLER                                  143 NORTH REXFORD DRIVE                                                                       BEVERLY HILLS     CA    90210‐5405
JAY B STRYLOWSKI                                7320 SPRIGGS FD CT                                                                            MANASSAS          VA    20111
JAY BARNHART                                    631 S MEADOW LN                                                                               HUMMELSTOWN       PA    17036‐7412
JAY BAUMGARTEN CUST ERIC SCOTT BAUMGARTEN       27 WARREN PLACE                                                                               PLAINVIEW         NY    11803‐3718
UGMA NY
JAY BAUMGARTEN CUST LORI ROBYN BAUMGARTEN       27 WARREN PLACE                                                                               PLAINVIEW         NY    11803‐3718
UGMA NY
JAY BLANCHARD CUST JUDD BLANCHARD UGMA TX       4923 AV Q                                                                                     LUBBOCK           TX    79412‐2251

JAY BRIAN HAZLETT                               15168 SCARLET OAK TRAIL                                                                       STRONGSVILLE      OH    44149‐4877
JAY BRIAN SMALE                                 667 BROOKVIEW DR                                                                              GREENWOOD         IN    46142‐1802
JAY BYRON PARKER                                548 DALMENY HILL NW                  CALGARY AB                             T3A 1T6 CANADA
JAY C ALLEN                                     618 ABERDEEN WAY                                                                              SOUTHLAKE         TX    76092‐9553
JAY C ANZELMO CUST ZACHARY R ANZELMO UTMA IL    766 CHASEWOOD DR                                                                              SOUTH ELGIN       IL    60177

JAY C BREISCH                                   1186 N COUNTY ROAD 400 W                                                                      KOKOMO            IN    46901‐3879
JAY C FISHER                                    201 N MAIN ST                                                                                 ELMER             NJ    08318‐2106
JAY C KELLOGG                                   620 EVERGREEN DR                                                                              SPRINGBORO        OH    45066‐9306
JAY C KING JR                                   9636 N ARLINGTON AVE                                                                          KANSAS CITY       MO    64157‐8506
JAY C KURTH CUST MITCHELL GRAHAM UTMA MI        143 CADY CENTRE STE 113                                                                       NORTHVILLE        MI    48167‐1119
JAY C MANNING                                   8830 INVERNESS PARK WAY                                                                       HOUSTON           TX    77055‐4748
JAY C ROXBERRY                                  5027 BRROKSIDE DR                                                                             JACKSON           MI    48203
JAY C STOBBE                                    39427 SCHROEDER                                                                               MT CLEMENS        MI    48038‐2865
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JAY C TRUE                                           2217 AUTUMN DR                                                                               BLOOMINGTON        IN    47401‐9678
JAY C WILSON                                         9432 SYKVESTER                                                                               TAYLOR             MI    48180‐3525
JAY CHARLES WILSON & JANICE H BOBB JT TEN            10737 CRANE DRIVE                                                                            INDIANAPOLIS       IN    46231
JAY CHARRLIN                                         1836 ELMWOOD DR                                                                              HIGHLAND PARK      IL    60035‐2303
JAY CHRISTOPHER KNIGHT                               719 LEVEL CREEK RD                                                                           BUFORD             GA    30518‐4651
JAY CLYDE MILLER                                     3448 MODLIN CT                                                                               NORFOLK            VA    23518‐5727
JAY CONSTANTINE                                      212 MINE RD                                                                                  MALVERN            PA    19355‐9648
JAY COOK                                             C/O ELTONS HEATING                  14837 UNITY ROAD                                         NEW SPRINGFIELD    OH    44443‐9737

JAY CORENSWET                                        225 WALNUT ST                                                                                NEW ORLEANS        LA    70118‐4827
JAY CRUMLISH CUST BRAIN JOSEPH CRUMLISH UTMA         1615 CHESTER RD                                                                              CHESTER            MD    21619‐2853
MD
JAY D ABSHIER & MELISSA ABSHIER JT TEN               596 THOMAS RD                                                                                POTEET             TX    78065‐4161
JAY D ARNOLD                                         9817 CIRCLE DR                      TRLR 101                                                 AUSTIN             TX    78736‐7971
JAY D ARTHUR                                         8223 WESTMONT TERRACE DR                                                                     LAKELAND           FL    33810‐2085
JAY D CAMPBELL                                       10340 DAVISBURG RD                                                                           DAVISBURG          MI    48350‐2050
JAY D HALL                                           1699 N BAY‐MID CO LINE RD                                                                    MIDLAND            MI    48642
JAY D HART                                           2239 E FRANCIS ROAD                                                                          CLIO               MI    48420‐9768
JAY D LINZEY                                         3007 CHICAGO BLVD                                                                            FLINT              MI    48503‐3485
JAY D LISNOW & NANCY A KAGAN LISNOW JT TEN           112 E 83RD ST                                                                                NEW YORK           NY    10028‐0880
JAY D MEALEY                                         2922 CARMIA DR                                                                               ORLANDO            FL    32806‐5520
JAY D NOBLE                                          2714 STATE ROUTE 232                                                                         BETHEL             OH    45106‐9451
JAY D REIDSMA                                        811 HIDDEN PINE ROAD                                                                         BLOOMFIELD         MI    48304‐2410
JAY D REIDSMA TR UA 09/22/94 JAY D REIDSMA LIVING    811 HIDDEN PINE RD                                                                           BLOOMFIELD HILLS   MI    48304‐2410
TRUST
JAY D SEGER                                          8090 E ROUND LAKE                                                                            LAINGSBURG         MI    48848‐9458
JAY D TRIMMER & EVA J TRIMMER JT TEN                 17 VICTORIA DR                                                                               LA SALLE           IL    61301‐1011
JAY D VERDAGLIO                                      21602 N 2ND AVE                     STE 4                                                    PHOENIX            AZ    85027‐2963
JAY DAMON HOBSON                                     37 MAY ST                                                                                    N ATTLEBORO        MA    02760‐4327
JAY DAMON HOBSON                                     591C MAY ST ADAMSDALE                                                                        NORTH ATTLEBORO    MA    02760‐4324

JAY DAVID ARNESON                                    BOX 130                                                                                      SPRING VALLEY      WI    54767‐0130
JAY DEZENHALL                                        PO BOX 3410                                                                                  CHERRY HILL        NJ    08034‐0326
JAY E BAUM                                           7344 HARRISONWOODS PL                                                                        CHARLOTTE          NC    28270‐1820
JAY E BOONE                                          60 HENRIETTA AVENUE                                                                          BUFFALO            NY    14207‐1624
JAY E MYNATT                                         3011 CHAUCER DR                                                                              CHARLOTTE          NC    28210‐4810
JAY E OAKES                                          6075 CLIFFLAND RD                                                                            OTTUMWA            IA    52501‐8387
JAY E SPENCER                                        170 BRAKEFIELD                                                                               JANESVILLE         WI    53546‐2243
JAY EDWARD CHANEY                                    2307 N LOURDES CIR                                                                           MOBILE             AL    36617‐2439
JAY ETTER & DEBBIE ETTER JT TEN                      22 COPERNICUS CT                                                                             CRANBURY           NJ    08512‐2544
JAY F ANDELMAN                                       3325 BURNING TREE                                                                            GARLAND            TX    75042‐4802
JAY F BROWER                                         7222 SNOWFALL CRT                                                                            FORT WAYNE         IN    46819‐1515
JAY F CARR TR CARR FAMILY TRUST PART I UA 12/10/86   10 RIDGEVIEW RD                                                                              HUMMLESTOWN        PA    17036‐9721

JAY F KORTH & GRACE M KORTH JT TEN                   129 CHARLES ST                                                                               LYNBROOK           NY    11563‐1905
JAY F MOSESSON                                       759 17TH AVY                        #2                                                       SAN FRANSICO       CA    94121
JAY F PETERSON                                       12581 LEMONA LANE                                                                            SANTA ANA          CA    92705‐3457
JAY F PIERSON                                        720 RADNOR AVE                                                                               PINE BCH           NJ    08741‐1234
JAY F RAUSCHER & RUTH H RAUSCHER JT TEN              130 SLOCUM ST                                                                                FORTY FORT         PA    18704‐4022
JAY F WELTER & JAYSON JUSTIN WELTER JT TEN           998 KERNEL COURT                                                                             GAYLORD            MI    49735
JAY F WELTER & KIMBERLY WELTER JT TEN                998 KERNEL COURT                                                                             GAYLORD            MI    49735
JAY F WRIGHT                                         1990 GENERAL CARL W STINER HWY                                                               LA FOLLETTE        TN    37766‐4516
JAY FLAXMAN                                          1345 CENTRAL AVE                                                                             COOS BAY           OR    97420‐1743
JAY FOREMAN                                          1515 PACAYA COVE                                                                             NAPLES             FL    34119‐3367
JAY FREDERICK STEVENS                                ATTN MRS JAY F STEVENS              1204 E 38TH ST                                           ANDERSON           IN    46013‐5332
JAY FREDRICK CHRISTIE                                4404 CINDY PL                                                                                CONYERS            GA    30094‐2583
JAY FRIEDRICH CUST DAVID B FRIEDRICH UGMA NJ         203 GODWIN AVE                                                                               RIDGEWOOD          NJ    07450‐3709
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JAY FRIEDRICH CUST MARC A FRIEDRICH UGMA NJ          203 GODWIN AVE                                                                                  RIDGEWOOD          NJ    07450‐3709

JAY FRIEDRICH CUST SAMANTHA FRIEDRICH UGMA NJ        203 GODWIN AVE                                                                                  RIDGEWOOD          NJ    07450‐3709

JAY G FULLERTON                                      3191 CORAL SPRINGS DR                                                                           CORAL SPRINGS      FL    33065
JAY G SHAFFER                                        117 CROSSLANDS RD                                                                               BUTLER             PA    16002‐1101
JAY GOLDFINE & MRS JUDITH C GOLDFINE JT TEN          61B WINTHROP RD                                                                                 MONROE             NJ    08831‐2603
                                                                                                                                                     TOWNSHIP
JAY GOODMAN & BARBARA D GOODMAN JT TEN               16 ELBERT PL                                                                                    E ROCKWAY          NY    11518‐1411
JAY GREENAMOYER                                      212 S WOODWARD AVE                                                                              WILMINGTON         DE    19805‐2359
JAY H BAKER & JOYCE O BAKER JT TEN                   47 HUEMMER TERR                                                                                 CLIFTON            NJ    07013‐3329
JAY H CARDWELL                                       1646 RICHARDSVILLE RD                                                                           BOWLING GREEN      KY    42101‐8914
JAY H HANSAR                                         4134 WINTON PARK DR                                                                             NORTH OLMSTED      OH    44070‐1882
JAY H HARRIS                                         1320 FIRWOOD DR                                                                                 PITTSBURGH         PA    15243‐1861
JAY H HOLSER                                         6291 BAHIA DEL MAR CIR                 APT 215                                                  ST PETERSBURG      FL    33715‐1084
JAY H MILLER                                         4571 W 400 S                                                                                    MARION             IN    46953‐9738
JAY H MILLER                                         1600 AIRPORT DRIVE                                                                              MECHANICSBURG      PA    17055‐2101
JAY H PURDEY                                         2450 MIAMI BEACH DRIVE                                                                          FLINT              MI    48507‐1058
JAY H SCHECTER                                       153 WEST MAIN ST                                                                                MOUNT KISCO        NY    10549‐1916
JAY HALSTEAD                                         1700 FOX HOLLOW WAY                                                                             JEFFERSONVILLE     IN    47130‐8201
JAY HAMILL & ELAINE HAMILL JT TEN                    36 DENISE DR                                                                                    KINNELON           NJ    07405
JAY HARDY SILCOX & SHEILA SILCOX JT TEN              915 FLAT SHOALS CHURCH RD                                                                       PINE MOUNTAIN      GA    31822
JAY HAROLD ROTZ & MELANIE S ROTZ JT TEN              7509 MORWOOD TR                                                                                 CLIFTON            VA    20124‐1838
JAY HARVEY ALBERT                                    6 KILLINGTON CT                                                                                 SICKLERVILLE       NJ    08081‐3230
JAY HIMES                                            2403 WAGON TRAIL RD                                                                             MONROE             VA    24574‐2576
JAY HIRSCHHORN CUST MARCUS MAX HIRSCHHORN            4‐03 FOURTH ST                                                                                  FAIRLAWN           NJ    07410‐1459
UTMA NJ
JAY HOWARD GERSHBERG                                 442 BURROUGHS DR                                                                                BUFFALO            NY    14226‐3967
JAY I STARK                                          4221 MARGATE LANE                                                                               BLOOMFIELD HILLS   MI    48302‐1627

JAY J BARR                                           39045 PARKWAY CIRCLE                                                                            HARRISON TWP  MI         48045‐6808
JAY J BARTOW                                         48 COLLINS AVE                                                                                  PORT MONMOUTH NJ         07758‐1434

JAY J HAMPTON                                        25665 HURON                                                                                     ROSEVILLE          MI    48066‐4907
JAY J HITCHCOCK                                      5279 MILL WHEEL DR                                                                              GRAND BLANC        MI    48439‐4235
JAY J HOFFACKER                                      198 STOUGHTON AVE                                                                               CRANFORD           NJ    07016‐2861
JAY J NEWCOMB & PAULA M NEWCOMB JT TEN               1594 SEVEN MILE RD                                                                              WHITMORE LAKE      MI    48189‐9238
JAY JOEL RIVIN                                       NO 244                                 1502 W GLENDALE                                          PHOENIX            AZ    85021‐8557
JAY JOHNSON                                          244 LAKE PLYMOUTH BLVD                                                                          PLYMOUTH           CT    06782‐2700
JAY JOHNSON                                          35646 N WILSON RD                                                                               INGLESIDE          IL    60041‐8502
JAY K LAURITZEN TR JAY K LAURITZEN LIVING TRUST UA   3 DIANA COURT                                                                                   OGDEN DUNES        IN    46368‐8701
06/28/95
JAY K SCHONBERG                                      PO BOX 1353                                                                                     BROOKLINE          MA    02446‐0011
JAY K WESENICK                                       PO BOX 233                                                                                      GREENBUSH          MI    48738‐0233
JAY KAPLOWITZ CUST JEREMY SETH KAPLOWITZ UGMA        372 SCHOOL ST                                                                                   WEST HEMPSTEAD     NY    11552‐2439
NY
JAY KIESSLING & JEROME KIESSLING JT TEN              1716 12TH ST NW                                                                                 MINOT            ND      58703‐1239
JAY KUNICK                                           9104 GUILFORD RD                                                                                COLUMBIA         MD      21046
JAY L COOPER                                         304 WARREN WAY                                                                                  CHAPEL HILL      NC      27516‐9370
JAY L DUHL                                           225 LONG BEACH BLVD                                                                             LONG BEACH       NY      11561‐3505
JAY L FISSEL                                         718 CHAMPLAIN DR                                                                                KNG OF PRUSSA    PA      19406‐1559
JAY L KIRSCHNER & LAURIE T KIRSCHNER JT TEN          20 MADISON HILL RD                                                                              SUFFERN          NY      10901‐7136
JAY L KREGER                                         361 MILLER LAKE ROAD                                                                            COLUMBIAVILLE    MI      48421‐9715
JAY L PRUETT                                         9057 ALGOMA AVENUE N E                                                                          ROCKFORD         MI      49341
JAY L RASP                                           4712 W 8TH AVE                                                                                  STILLWATER       OK      74074‐1400
JAY L SNYDER                                         315 OXFORD CT                                                                                   MAUMEE           OH      43537‐4310
JAY L WALDMAN & NANCY R WALDMAN JT TEN               34706 BUNKER HILL                                                                               FARMINGTON HILLS MI      48331‐3281

JAY L WIENER                                         PO BOX 937                                                                                      JACKSON            MS    39205‐0937
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Name                                             Address1                               Address2             Address3          Address4          City              State Zip

JAY LESSELBAUM CUST EMMA FREEMAN LESSELBAUM      PO BOX 2127                                                                                     WELLFLEET         MA    02667‐2127
UGMA NY
JAY LEVITT                                       23595 BEVERLY                                                                                   OAK PARK          MI    48237‐1969
JAY M AIDIKOFF                                   APT 303                                95 HORATIO ST                                            NEW YORK          NY    10014‐1547
JAY M CONNELLY                                   1411 MOUNT PLEASANT RD                                                                          HAYS              KS    67601‐9549
JAY M JACKSON                                    2834 ERMINE WAY                                                                                 FARMERS BRANCH    TX    75234‐4931

JAY M LA PALM                                    2110 LE BLANC                                                                                   LINCOLN PARK      MI    48146‐3774
JAY M MYER & ANITA MYER JT TEN                   9780 ROD ROAD                                                                                   ALPHARETTA        GA    30022‐7562
JAY M NEWCOMB                                    30706 HENNIPIN                                                                                  GARDEN CITY       MI    48135‐1445
JAY M ROVICK                                     516 KING ST                                                                                     CHARLESTON        SC    29403‐5504
JAY M SCHAFFER                                   1101 HOLLY TREE FARMS RD                                                                        BRENTWOOD         TN    37027‐6306
JAY M SIEGEL                                     1225 PARK AVE                          # 4B                                                     NEW YORK          NY    10128‐1758
JAY M SLUSS                                      824 MCALLISTER DR                                                                               LOWER BURRELL     PA    15068‐3733
JAY M STEUER & LINDA L STEUER JT TEN             41 CAMINO DEL DIABLO                                                                            ORINDA            CA    94563‐2003
JAY M YOUNG CUST BRIAN HENRY YOUNG UGMA CA       2514 CORONA WAY                                                                                 LAGUNA BEACH      CA    92651‐4005

JAY MARSH PRICE                                  316 1/2 N FOUNTAIN ST                                                                           WICHITA           KS    67208‐3834
JAY MAURICE NELSON                               3216 S GRACE AVE                                                                                SIOUX FALLS       SD    57103‐7244
JAY MICHAEL KAPELMASTER                          12257 NW 57 ST                                                                                  CORAL SPRINGS     FL    33076‐3643
JAY MILLIGAN                                     2700 POST OAK BLVD ‐ STE 1600                                                                   HOUSTON           TX    77056
JAY MIRSKY                                       63 BROOKFIELD RD                                                                                UPPER MONTCLAIR   NJ    07043‐1326

JAY N RACE                                       140 SWISHER RD                                                                                  STAUNTON        VA      24401‐9248
JAY N SIEFMAN & DEBRA SIEFMAN JT TEN             5471 PUTNAM DR                                                                                  WEST BLOOMFIELD MI      48323‐3719

JAY N STUCKEY                                    9023 BACK CREEK VALLEY RD                                                                       HEDGESVILLE       WV    25427‐3027
JAY OGDEN EHRENHART                              201 N PALM ST                                                                                   ELMWOOD           IL    61529‐9511
JAY ONEK                                         3 COUNTRY LANE                                                                                  LAKE GROVE        NY    11755‐2602
JAY PATEL                                        7508 BUCCANEER AVE                                                                              N BAY VILLAGES    FL    33141‐4112
JAY PATTERSON CUST ARTHUR P PATTERSON UTMA CA    1304 SILVERADO DRIVE                                                                            CHULA VISTA       CA    91915‐2246

JAY PAUL JAMES                                   714 GREENWOOD RD                                                                                GREENVILLE        DE    19807‐2986
JAY PETER HARRINGTON CUST NATALIE A HARRINGTON   1121 RED MAPLE CIRCLE                  NE                                                       ST PETERSBURG     FL    33703‐6318
UNDER FL U‐T‐M‐A
JAY PRICE & LILLIAN J PRICE JT TEN               218 N LINDEN ST                                                                                 MASSAPEQUA        NY    11758‐2527
JAY R ALVARO & MICHELE A ALVARO JT TEN           5752 KENSINGTON RIDGE DRIVE                                                                     CINCINNATI        OH    45230‐6500
JAY R BROWN CUST MARK C BROWN UGMA DE            512 OLD SCHOOLHOUSE RD                                                                          LANDENBERG        PA    19350‐1525
JAY R CLARK                                      1427 CAMBRIDGE DRIVE                                                                            SOUTH BEND        IN    46614‐5901
JAY R FORD                                       5221 CHIMNEYROCK                                                                                LANSING           MI    48917
JAY R GINDER & MAXINE C GINDER JT TEN            3632 ROCKHILL RD                                                                                BIRMINGHAM        AL    35223‐1520
JAY R HARDMAN & DONNA L HARDMAN JT TEN           5404 JEROME                                                                                     GRAND BLANC       MI    48439‐4324
JAY R HIGGS SR                                   18112 INVERMERE AVE                                                                             CLEVELAND         OH    44128‐1630
JAY R JACKSON                                    1074 E PABOE AVE                                                                                FRUITA            CO    81521‐2434
JAY R JACKSON                                    509 GRANT DRIVE                                                                                 BLUE SPRINGS      MO    64014‐1743
JAY R KATCHKA                                    31805 HWY 79 S #286                                                                             TEMECULA          CA    92592
JAY R MCCARROLL JR                               326 WALNUT ST                                                                                   CHESTERFIELD      IN    46017‐1556
JAY R MEENEN                                     181 TOPSFIELD RD                                                                                PITTSBURGH        PA    15241‐2127
JAY R PATE                                       3761 BARBERRY                                                                                   WIXOM             MI    48393‐1106
JAY R SMALLWOOD                                  2368 REEVES CREEK ROAD                                                                          JONESBORO         GA    30236‐7229
JAY R SOUTHARD                                   48957 GREEN VALLEY RD                                                                           FREMONT           CA    94539
JAY R TREGO & ELAINE M TREGO JT TEN              1208 RAPPS DAM RD                                                                               PHOENIXVILLE      PA    19460‐4805
JAY R WILLIAMS                                   1506 MASON MILL RD NE                                                                           ATLANTA           GA    30329‐4125
JAY R WYLES & MRS JOYCE A WYLES JT TEN           5264 WOODBURY PIKE                                                                              ROARING SPRING    PA    16673‐9005
JAY REYNOLDS BOYER                               4716 BROOKSHIRE PKWY                                                                            CARMEL            IN    46033‐3306
JAY RICHMAN                                      653 GRENVILLE RD                                                                                TEANECK           NJ    07666‐2149
JAY ROBERT FULLER                                10534 SUNDIAL RIM RD                                                                            LITTLETON         CO    80126‐5678
JAY ROBERT IVANIER                               3551 VENOOME                           MONTREAL QC                            H4A 3M6 CANADA
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JAY ROSENTHAL                                       1900 COUNTRY CLUB DR                                                                             HUNTINGDON         PA    19006‐5602
                                                                                                                                                     VALLEY
JAY RUSSELL                                         4651 OAKWOOD DR                         APT 59                                                   ODESSA             TX    79761‐2077
JAY S BERMAN CUST STUART BERMAN UGMA NJ             327 ORENDA CIR                                                                                   WESTFIELD          NJ    07090‐2915
JAY S BURROUGHS                                     22 PARR CIR                                                                                      ROCHESTER          NY    14617‐4359
JAY S CINAMON                                       185 WEST END AVENUE#12‐C                                                                         NEW YORK           NY    10023‐5545
JAY S GALLOWAY                                      875 SOMMER                                                                                       DIXON              CA    95620‐2004
JAY S HOLMES                                        510 BLUE HERON WAY                                                                               ALPHARETTA         GA    30004‐2770
JAY S LOWE                                          101 ACORN PL                                                                                     SPRING HILL        TN    37174‐2586
JAY S MC GINNESS                                    736 SPRAGUE                                                                                      EDMONDS            WA    98020‐3035
JAY S MELDRUM                                       1507 BROOKSIDE DR                                                                                HOUGHTON           MI    49931‐2705
JAY S MILLER & CAROLYN S MILLER TEN ENT             735 GREEN SPRING RD                                                                              NEWVILLE           PA    17241‐9694
JAY S SANDLER                                       518 N CLAREMONT ST                      APT 5                                                    SAN MATEO          CA    94401‐5406
JAY S SCHURR                                        2122 WINTON AVE                                                                                  SPEEDWAY           IN    46224‐5052
JAY S STEES & SUSAN R STEES JT TEN                  5485 W RIVER BEND RD                                                                             DUNNELLON          FL    34433‐2173
JAY SCOTT & SYLVIA SCOTT TR SCOTT TRUST 07/30/86    3710 SCADLOCK LN                                                                                 SHERMAN OAKS       CA    91403‐4320

JAY SCOTT CRUICKSHANK                               11 NATURE TRAIL                                                                                  HAMDEN             CT    06518
JAY SMITH TR UA 05/24/2007 JAY SMITH LIVING TRUST   1210 EAST 72ND ST                                                                                BROOKLYN           NY    11234

JAY SOLOW & MRS PAMELA SOLOW JT TEN                 2 HILLTOP RD                                                                                     BUCHANAN           NY    10511‐1131
JAY STRAUGH                                         1516 CR 546                                                                                      PIGGOTT            AR    72454‐8101
JAY T MCKINNEY                                      R R 2 BOX 211                                                                                    FRANKFORT          IN    46041‐9557
JAY V DAVENPORT                                     37527 OCEAN REEF                                                                                 WILLOUGHBY         OH    44094‐6410
JAY V LEOPOLD TR JAY V LEOPOLD 12/17/70             1036 SIR FRANCIS DRAKE BLVD                                                                      KENTFIELD          CA    94904‐1427
JAY V WALKER                                        5224 N 97                                                                                        KANSAS CITY        KS    66109‐3011
JAY W BARNETT                                       353 WOODLEY RD                                                                                   MERION STA         PA    19066‐1440
JAY W HALL & NANCY R HALL JT TEN                    5427 LAHSER                                                                                      BLOOMFIELD HILLS   MI    48304‐3328

JAY W HYLTON                                        6894 W VANAMAN CT                                                                                CRYSTAL RIVER      FL    34429‐5638
JAY W MILLER                                        709 BALBOA DR                                                                                    CHAMPAIGN          IL    61820‐7021
JAY W STRYKER JR                                    95 HILLSIDE RD                                                                                   SOUTH DEERFIELD    MA    01373‐9710

JAY W SZCZEPANSKI                                   7 BREWERTON DR                                                                                   ROCHESTER          NY    14624
JAY WARREN HIRSH                                    719 TORREYA CT                                                                                   PALO ALTO          CA    94303‐4160
JAY WILEY LOTSPEICH                                 4415 SABAL PALM ROAD                                                                             MIAMI              FL    33137‐3377
JAY WILLIAMS                                        130 MORNING PINE CT                                                                              ALPHARETTA         GA    30005‐7418
JAYAPRAKASH NAVNEETHA                               44431 WHITE PINE CIR W                                                                           NORTHVILLE         MI    48167‐4349
JAYAWANT D NADKARNI & MRS SUMAN J NADKARNI JT       264 HOLMES AVE                                                                                   CLARENDON HILLS    IL    60514‐1444
TEN
JAYBERN COMPANY                                     55 NEW MONTGOMERY ST #200                                                                        SAN FRANCISCO      CA    94105‐3412
JAYCEE RAWLINGS                                     6575 BAKERVILLE RD                                                                               WAVERLY            TN    37185‐2722
JAYE F GUEST                                        2109 PEACHTREE DRIVE                                                                             WILMINGTON         DE    19805‐1049
JAYLAXMI V PATEL CUST ROMAL PATEL UGMA NY           16 MICHAEL DR                                                                                    WAPP FALLS         NY    12590‐4941
JAYLENE Y JONES                                     7325 US RTE 127 NORTH                   LOUISBURG                                                LEWISBURG          OH    45338
JAYME A JAMIESON & CLAUDIA J JAMIESON JT TEN        1029 LINCOLN                                                                                     MARQUETTE          MI    49855‐2620

JAYME K HACKNEY                                     2507 HUNTINGTON RD                                                                               BURLINGTON         NC    27215‐6207
JAYME L ROBINSON                                    8235 BROOK DR                                                                                    FLUSHING           MI    48433‐8878
JAYMES NAITO                                        3424 PEHU ST                                                                                     HONOLULU           HI    96816‐2614
JAYMES P WESLEY                                     3542 PINGREE AVE                                                                                 FLINT              MI    48503‐4545
JAYMI LYNN KAUFFMAN                                 208 SOUTH ROSEWOOD CT                                                                            WERNERSVILLE       PA    19565‐1535
JAYNE A KOSMEDER                                    N8238 HIGHWAY D                                                                                  BELLEVILLE         WI    53508
JAYNE ANN MASON                                     ATTN JAYNE MASON COLDWATER              206 WHITE TAIL LN                                        CLARKS SUMMIT      PA    18411‐9095
JAYNE B GUSTAFSON                                   280 PRATT ST WARDS HILL                                                                          WINSTED            CT    06098
JAYNE B RANDALL                                     2404 LOGAN ST                                                                                    RICHMOND           VA    23235‐3464
JAYNE BOOTH GREER                                   500 RIVIERA DR                                                                                   NAPLES             FL    34103
JAYNE D MANN TR CLARENCE E MANN JR & JAYNE D        1234 FAIRLAWN                                                                                    ROYAL OAK          MI    48067‐1007
MANN TRUST UA 01/16/92
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Name                                               Address1                                 Address2             Address3          Address4          City            State Zip

JAYNE E BARTON                                     188 NAPIER RD                                                                                     LAWRENCEBURG    TN    38464
JAYNE E HARDY                                      ROUTE BOX 55                                                                                      CORRECTIONVLE   IA    51016
JAYNE E WARNICA                                    21 LYNNBROOK CT                                                                                   SAN RAMON       CA    94583‐2326
JAYNE L HOEMKE                                     827 WASHINGTON MEMORIAL DR                                                                        ST CLOUD        MN    56301‐4066
JAYNE M ELLSWORTH                                  510 RIVERSIDE DR                                                                                  LINDEN          MI    48451‐9026
JAYNE M KURZMAN TR UA 01/22/90 JONATHAN SCOTT      145 CENTRAL PARK WEST APT 19C                                                                     NEW YORK        NY    10023‐2004
SMITH
JAYNE M KURZMAN TR UA 01/22/90 RICHARD ADAM        145 CENTRAL PARK WEST APT 19C                                                                     NEW YORK        NY    10023‐2004
SMITH
JAYNE M MEYER                                      1166 E BRUNSWICK                                                                                  INDIANAPOLIS    IN    46227
JAYNE M TURNER                                     2850 DOVER CIRCLE                                                                                 MADISON         WI    53711
JAYNE MARIE BUCHANON                               3224 W 88TH AV 3                                                                                  ANCHORAGE       AK    99502‐5368
JAYNE MITCHELL                                     896 ROSCOMMON RD                                                                                  BRYN MAWR       PA    19010‐1845
JAYNE P JOHNSTON                                   12391 HILLCREST DR                                                                                GRAND BLANC     MI    48439‐1851
JAYNE R LOYDA & JANE E LOYDA JT TEN                2630 S AMES WAY                                                                                   LAKEWOOD        CO    80227‐4004
JAYNE T SUCHIYAMA                                  3946 LURLINE DRIVE                       HONOULU                                                  HONOLULU        HI    96816
JAYNE W STOMMEL                                    8423 NOTTINGHILL DR                                                                               INDIANAPOLIS    IN    46234‐2666
JAYNE WALLACE                                      1030 MILL ST                                                                                      LINCOLN PARK    MI    48146‐2742
JAYNEE S BABICH LEWANDOWSKI                        72 ORCHARD ROAD                                                                                   MIDDLESEX       NJ    08846‐1343
JAYNIE L WELLS TOD JUSTIN WILLIAM WELLS SUBJECT    110 PINE TREE RIDGE U‐2                                                                           WATERFORD       MI    48327‐4316
TO STA TOD RULES
JAYPRAKASH U RAISONI & SAROJ J RAISONI JT TEN      1530 SCENIC HOLLOW                                                                                ROCHESTER       MI    48306‐3246
JAYSHREE N PANDYA                                  3665 HUGHES AVE APT 217                                                                           LOS ANGELES     CA    90034‐7521
JAYSON B CLAPP                                     707 COMPASS POINTE DRIVE                 N MYRTLE BEACH                                           N MYRTLE BCH    SC    29582
JAYSON B CLAPP & ELOISE S CLAPP JT TEN             707 COMPASS POINTE DRIVE                 N MYRTLE BEACH                                           N MYRTLE BCH    SC    29582
JAYSON H NUHN                                      656 12TH ST NE                                                                                    WASHINGTON      DC    20002‐5320
JAYSON J WELTER & JAY F WELTER JT TEN              998 KERNEL CT                                                                                     GAYLORD         MI    49735‐7624
JAYSON P PUCKETT                                   8421 BROOKRIDGE DR                                                                                ANCHORAGE       AK    99504
JB SUTHERLAND HOLDINGS LTD                         118 ORANGE STREET                        WOODSTOCK NB                           E7M 2J9 CANADA
JEAN A ADAMS                                       3818 PROVIDENCE                                                                                   FLINT           MI    48503‐4551
JEAN A ALLISON                                     6665 KIMESVILLE RD                                                                                LIBERTY         NC    27298‐9108
JEAN A ARNOLD                                      418 E CRAVATH                                                                                     WHITEWATER      WI    53190‐1412
JEAN A ASMUSSEN                                    780 CUCHARA ST                                                                                    DENVER          CO    80221‐3567
JEAN A ATKINSON                                    ATTN JEAN A NOONE                        4441 E LAKE RD                                           WILSON          NY    14172‐9740
JEAN A BURKE                                       7 ARROWHEAD LANE                                                                                  ARLINGTON       MA    02474‐1917
JEAN A CARR                                        APT 2                                    46 MEDFORD ST                                            CHELSEA         MA    02150‐2615
JEAN A CASON                                       4810 GUARDIAN AVE                                                                                 HOLIDAY         FL    34690‐5831
JEAN A COAKLEY                                     225 E WITHROW ST                                                                                  OXFORD          OH    45056‐1343
JEAN A DABLER                                      100 HECK AVE                                                                                      OCEAN GROVE     NJ    07756‐1245
JEAN A DAUENHAUER                                  5945 ROCKCROFT BL                                                                                 CLARKSTON       MI    48346‐3451
JEAN A FOOTE                                       PO BOX 1647                                                                                       BETHANY BEACH   DE    19930‐1647
JEAN A GERLACH & JOHN A GERLACH TR JEAN A          2313 HAWLEY                                                                                       MASON           MI    48354
GERLACH TRUST UA 05/06/04
JEAN A GILLIE                                      4 STANLEY OVAL                                                                                    WESTFIELD       NJ    07090‐2424
JEAN A GLOVER TOD CAROLINE MCALPINE SUBJECT TO     1211 CHANCELLOR DRIVE                                                                             EDWARDSVILLE    IL    62025
STA TOD RULES
JEAN A GLOVER TOD STUART J GLOVER SUBJECT TO STA   1211 CHANCELLOR DRIVE                                                                             EDWARDSVILLE    IL    62025
TOD RULES
JEAN A GORDON                                      34 SUNSHINE RD                                                                                    CHICO           CA    95973‐9781
JEAN A GRAEFF                                      6143 NE KENSINGTON DR                    MAR SRV                                                  LEES SUMMIT     MO    64064
JEAN A GRAY                                        6847 HILL AVE                                                                                     FRANKLIN        OH    45005‐2922
JEAN A GROVER & WALTER J GROVER JT TEN             61120 CASS RD                                                                                     CASSOPOLIS      MI    49031‐9406
JEAN A GRZESIAK                                    6443 BOUGAINVILLA AVE S                                                                           ST PETERSBURG   FL    33707‐2301
JEAN A GUSH                                        1494 MARINER DRIVE                                                                                WALLED LAKE     MI    48390‐3653
JEAN A HAMPTON                                     8247 ONTARIO LANE                                                                                 INDIANAPOLIS    IN    46268‐1983
JEAN A HEYNIGER                                    87 PEASE AVE                                                                                      VERONA          NJ    07044‐1208
JEAN A HOLDEN                                      8487 W 400 S                                                                                      RUSSIAVILLE     IN    46979‐9537
JEAN A HUGHES                                      1095 E U S 136                                                                                    PITTSBORO       IN    46167‐9588
JEAN A HUTTON                                      1904 COLTON DRIVE                                                                                 KETTERING       OH    45420‐1442
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JEAN A JORDAN CUST DEBRA L JORDAN UGMA VA        1032 OAKMONT CIRCLE                                                                                LYNCHBURG         VA    24502‐2765
JEAN A JORDAN CUST PAULA K JORDAN UGMA VA        1032 OAKMONT CIRCLE                                                                                LYNCHBURG         VA    24502‐2765
JEAN A JORDAN CUST RANDAL B JORDAN UGMA VA       1032 OAKMONT CIRCLE                                                                                LYNCHBURG         VA    24502‐2765

JEAN A JORDAN CUST ROBERT S JORDAN UGMA VA       1032 OAKMONT CIRCLE                                                                                LYNCHBURG         VA    24502‐2765

JEAN A KANWISCHER & WAYLAND LEO KANWISCHER JT    20527 TORREY CT                                                                                    FRANKFORT         IL    60423‐8840
TEN
JEAN A KETTREN                                   9579 CYPRESS LAKES DR                                                                              LAKELAND          FL    33810‐2393
JEAN A KNOWLES TR JEAN A KNOWLES TRUST UA        6145 CODE AVE S                                                                                    EDINA             MN    55436‐2683
08/08/06
JEAN A KRAMMER                                   16736 HIGHLAND SUMMIT DR                                                                           BALLWIN           MO    63011‐5424
JEAN A KUZBIEL & KATHLEEN M RUNDELL JT TEN       1135 CRANBERRY PIKE RD                                                                             EAST TAWAS        MI    48730‐9653
JEAN A KUZBIEL & KENNETH T RUNDELL JR JT TEN     1135 CRANBERRY PIKE RD                                                                             EAST TAWAS        MI    48730‐9653
JEAN A KUZBIEL & SCOTT A RUNDELL JT TEN          1135 CRANBERRY PIKE RD                                                                             EAST TAWAS        MI    48730‐9653
JEAN A KUZBIEL & WAYNE J KUZBIEL SR & GAIL A     1135 CRANBERRY PIKE RD                                                                             EAST TAWAS        MI    48730‐9653
KUZBIEL JT TEN
JEAN A KUZBIEL & WAYNE J KUZBIEL SR & KRISTY L   1135 CRANBERRY PIKE RD                                                                             EAST TAWAS        MI    48730‐9653
KUZBIEL JT TEN
JEAN A KUZBIEL & WAYNE J KUZBIEL SR & WAYNE J    1135 CRANBERRY PIKE ROAD                                                                           EAST TAWAS        MI    48730‐9653
KUZBIEL JR JT TEN
JEAN A KUZBIEL & WAYNE J KUZBIEL SR JT TEN       1135 CRANBERRY PIKE RD                                                                             EAST TAWAS        MI    48730‐9653
JEAN A LEONARD                                   641 1/2 S BURGESS AV                                                                               COLUMBUS          OH    43204‐2932
JEAN A LIVINGSTON                                5893 MARBLE DRIVE                                                                                  TROY              MI    48085‐3920
JEAN A MOELLER & ALFRED A MOELLER JT TEN         16646 THORNGATE RD                                                                                 EAST LANSING      MI    48823‐9768
JEAN A MOSER                                     390 AUDREY DRIVE                                                                                   RICHMOND          OH    44143‐1717
                                                                                                                                                    HEIGHTS
JEAN A MURPHY & ANNE E GUYER JT TEN              132 TEQUESTA HARBOR DR                                                                             MERRITT ISLAND    FL    32952‐7107
JEAN A MURPHY & MAUREEN M O'CONNELL JT TEN       132 TEQUESTA HARBOR DR                                                                             MERRITT ISLAND    FL    32952‐7107

JEAN A MURPHY & WILLIAM T MURPHY JT TEN          132 TEQUESTA HARBOR DR                                                                             MERRITT ISLAND   FL     32952‐7107
JEAN A MYERS & SCOTT J MYERS JT TEN              700 VOLZ CT                                                                                        SEBEWAING        MI     48759‐1626
JEAN A NELSEN                                    248 COBBLESTONE DR                                                                                 COLORADO SPRINGS CO     80906‐7624

JEAN A NESBITT                                   19143 GUNN HWY                                                                                     ODESSA            FL    33556‐4213
JEAN A NOBLE                                     3839 BLACKS RD SW                                                                                  HEBRON            OH    43025‐9774
JEAN A ODONNELL                                  35 BROOK HOLLOW DR                                                                                 NEW WINDOSR       NY    12553‐8626
JEAN A PERRY                                     109 LINDEN AVENUE                                                                                  SUFFOLK           VA    23434‐5720
JEAN A PETERSON ORPIN                            11613 WEST 101 TERRACE                                                                             OVERLAND PARK     KS    66214‐2709
JEAN A POLLIE                                    13982 ADELINE DRIVE                                                                                LANSING           MI    48906‐9397
JEAN A POWERS                                    32432 EDITH WAY                                                                                    UNION CITY        CA    94587‐4838
JEAN A ROBEY                                     77 IDLEWILD RD                                                                                     EDISON            NJ    08817‐4145
JEAN A ROOYAKKER                                 PO BOX 1024                                                                                        GAYLORD           MI    49734‐5024
JEAN A ROOYAKKER & ROBERT G ROOYAKKER JT TEN     PO BOX 1024                                                                                        GAYLORD           MI    49734‐5024

JEAN A ROTH                                       1408 SUNNYSIDE DRIVE                                                                              MCHENRY           IL    60050‐2113
JEAN A RUSSELL TR JEAN A RUSSELL LIVING REVOCABLE 27 NEW ROCHESTER ROAD                                                                             DOVER             NH    03820‐2107
TRUST UA 02/21/02
JEAN A SELAND                                     89 ARDMORE DR                                                                                     WAPPINGER FALLS   NY    12590‐4303

JEAN A SHERMAN                                   160 CRICKET LANE                                                                                   CORTLAND          OH    44410‐1212
JEAN A SHINE                                     2201 WAVERLY DR                                                                                    KOKOMO            IN    46902‐7809
JEAN A SIENKIEWICZ                               405 MAPLE RIDGE RD                                                                                 BRASHER FALLS     NY    13613‐3266
JEAN A SLEIGHT                                   C/O J A VOGT                            9225 EAST TANQUE VERDE ROAD   #43202                       TUCSON            AZ    85749‐7792
JEAN A SMITH                                     1026 BROADVIEW BLVD                                                                                DAYTON            OH    45419‐3701
JEAN A SMITH                                     3538 WHITEHAVEN PKWY NW                                                                            WASHINGTON        DC    20007‐2256
JEAN A SOBAL                                     1019 ALBIN ST                                                                                      COCOA             FL    32927‐8703
JEAN A STANLEY & RONALD D STANLEY JT TEN         607 FRANKLIN ST                                                                                    SOCORRO           NM    87801‐4621
JEAN A STOVALL                                   1212 11TH STREET                                                                                   BARABOO           WI    53913‐1856
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Name                                           Address1                                Address2                 Address3      Address4          City            State Zip

JEAN A SUTTER                                  2100 N HINTZ RD LOT 10                                                                           OWOSSO          MI    48867‐9479
JEAN A SWEENEY                                 ATTN JEAN A YORTON                      5130 E MT MORRIS RD                                      COLUMBIAVILLE   MI    48421‐8999
JEAN A THAYER                                  C/O DIANA THAYER                        1149 JOHNSON RD                                          CANYON LAKE     TX    78133‐3147
JEAN A THROCKMORTON                            6989 E 100 NORTH                                                                                 DANVILLE        IN    46122
JEAN A TOBOLA                                  4900 QUEENS CIRCLE                                                                               GLADWIN         MI    48624‐8225
JEAN A TRODGLEN                                1555 35TH AVE                                                                                    VERO BEACH      FL    32960‐2747
JEAN A VANMETER                                6008 MYRTLE DR                                                                                   FORT PIERCE     FL    34982‐7536
JEAN A VERHOEVEN                               700 WALTON AVE                                                                                   MT LAUREL       NJ    08054‐9536
JEAN A WAGNER                                  1684 W BRANCH RD                                                                                 WELLSBORO       PA    16901‐8952
JEAN A WITTCOP                                 8793 RIDGE ROAD                                                                                  GASPORT         NY    14067‐9414
JEAN A WRASSE                                  1094 BEAL ROAD                                                                                   MANSFIELD       OH    44905‐1610
JEAN A YEAGLE                                  906 S BELLEVUE AVE                                                                               LANGHORNE       PA    19047‐3934
                                                                                                                                                MANOR
JEAN A YOUNG                                   544 KINGS HWY BOX 67                                                                             MICKLETON       NJ    08056‐1406
JEAN ACTON                                     BOX 22605                                                                                        LOUISVILLE      KY    40252‐0605
JEAN ANN FIXLER                                56 TOWNE COUNTRY DR                                                                              TIFFIN          OH    44883
JEAN ANN FLANAGAN                              1198 HILLSBORO MILE                                                                              POMPANO BCH     FL    33062‐1530
JEAN ANN KOHLER                                C/O JEAN ANN MURPHY                     203 N BROADWAY                                           SOUTH AMBOY     NJ    08879‐1603
JEAN ANN MAURER                                3400 GEROLD DR                                                                                   CINCINNATI      OH    45238‐2116
JEAN ANN MC CULLOH                             4614 SPANISH OAK RD                                                                              TEMPLE          TX    76502‐3019
JEAN ANN MURPHY                                203 N BROADWAY                                                                                   SOUTH AMBOY     NJ    08879‐1603
JEAN ANN MYERS                                 700 VOLZ COURT                                                                                   SEBEWAING       MI    48759‐1626
JEAN ANN POINDEXTER                            4440 WOODNER RD                                                                                  KETTERING       OH    45440‐1223
JEAN ANN RITTENDALE                            5 BESEN PARKWAY                                                                                  MONSEY          NY    10952‐3506
JEAN ANN ROBBINS                               331 N ELM ST                                                                                     WEST            MA    02379‐1146
                                                                                                                                                BRIDGEWATER
JEAN ANN SCOTT TR REBECCA C CRODDY REV LIVING   679 N 480 W RD                                                                                  KOKOMO          IN    46901‐3738
TRUST UA 12/30/98
JEAN ANN SHERMAN                                216 TOWER RD                                                                                    ANDERSON        IN    46011‐1754
JEAN ANN STURGEON                               4320 REGENCY RIDGE                     #202                                                     CINCINNATI      OH    45248‐2325
JEAN ANN WEEKS & LARRY JOE WEEKS JT TEN         7909 W FLORIDA STREET                                                                           SHELBY          MI    49455‐9587
JEAN ANNE FINAN                                 249 N 13TH ST APT 4                                                                             ELWOOD          IN    46036‐1598
JEAN ANTOINETTE WICKERHAM                       6616 SHILOH WA                                                                                  LANSING         MI    48917‐9612
JEAN ANZELL                                     3940 SPRING GARDEN LANE                                                                         ESTERO          FL    33928‐2394
JEAN APPICH KENNEDY CUST CHARLES APPICH KENNEDY 34 WILLWAY AVE                                                                                  RICHMOND        VA    23226‐1334
UTMA VA
JEAN ATWOOD                                     2107 WELLINGTON DR                                                                              PINE BLUFF      AR    71603‐7627
JEAN AUGUSTINSKY                                1414 YOUNGSTOWN‐KINGSVILV                                                                       VIENNA          OH    44473
JEAN AUTHER ROBERSON                            1523 BOSHER DR                                                                                  CEDAR HILL      TX    75104‐1302
JEAN AVONELLE WHITACRE                          120 W WILLOW ST APT D                                                                           CARLISLE        PA    17013‐3861
JEAN B BAKER                                    47 ACORN LANE                                                                                   FAIRPORT        NY    14450‐3301
JEAN B BERGSTROM                                4501 E SAINT ELMO RD                                                                            AUSTIN          TX    78744‐2026
JEAN B BROWN                                    2021 FAWNDALE DR                                                                                RALEIGH         NC    27612‐2860
JEAN B BURNETT                                  PO BOX 805                                                                                      OKEMOS          MI    48805‐0805
JEAN B CALHOUN                                  908 YALE ST                                                                                     SANTA MONICA    CA    90403‐2232
JEAN B CALLOWAY CHARLES B CALLOWAY & JEAN H     2267 N HENDERSON RD                                                                             DAVISON         MI    48423‐8169
MALCOMNSON JT TEN
JEAN B CELLA TR JEAN B CELLA TRUST UA 11/20/96  101 DONNA RD                                                                                    HOLLISTON       MA    01746‐2418

JEAN B DEPRIEST                                3217 6TH RD S                                                                                    FALLS CHURCH    VA    22041‐2540
JEAN B DUBOIS                                  84 POINTERS AUBURN ROAD                                                                          PEDRICKTOWN     NJ    08067‐3019
JEAN B GUYOT                                   656 OGLETHORPE AVE                                                                               ST SIMONS IS    GA    31522‐4805
JEAN B HARMAN                                  607 FLORY LN                                                                                     ENGLEWOOD       OH    45322‐8800
JEAN B HARTMAN TR JEAN B HARTMAN DECLARATION   365 VINE AVE                                                                                     GLEN ELLEN      IL    60137‐4949
OF TRUST UA 02/18/99
JEAN B JUCHNEWICH                              3855 ESTHER LANE                                                                                 HERMITAGE       PA    16148‐3740
JEAN B MITCHELL & RONALD M MITCHELL JT TEN     PO BPX 362                              87 MITCHELL BROOK ROAD                                   TEMPLE          ME    04984
JEAN B ROGERS                                  30704 ROUND LK RD                                                                                MT DORA         FL    32757‐9733
                                              09-50026-mg                Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                              Address2                   Address3    Address4          City              State Zip

JEAN B SCHMIDT CUST JILLIAN SCHMIDT UGMA CA       PO BOX 790                                                                                     GLENDALE          CA    91209‐0790

JEAN B SMITH                                   2026 SETON DR                                                                                     CLEARWATER        FL    33763‐4149
JEAN B SNODGRASS                               500 PALM VALLEY DRIVE E                                                                           HARLINGEN         TX    78552‐8941
JEAN B SPUDIS                                  920 WAKEFIELD # 373                                                                               HAVR DE GRACE     MD    21078‐2325
JEAN B STOVALL                                 1734 PLEASANT VIEW DRIVE                                                                          PATRICK SPRINGS   VA    24133‐3210
JEAN B TEPLITZ & LAUREN E BUSH JT TEN          973 LAKE BREEZE ROAD                                                                              SHEFFIELD LK      OH    44054‐2043
JEAN B TORGERSON                               7940 RYAN LAKE DR                                                                                 STACY             MN    55079‐3208
JEAN BAILEY                                    100 WINCHESTER ST                                                                                 ROCHESTER         NY    14615‐2336
JEAN BALAGNA                                   4143 MC KINLEY                                                                                    WARREN            MI    48091‐4049
JEAN BALL BUGG                                 3301 C ST #400                                                                                    ANCHORAGE         AK    99503‐3919
JEAN BARTEL                                    229 BRONWOOD AVE                                                                                  LOS ANGELES       CA    90049‐3103
JEAN BAUMAN                                    109 COLUMBIA DR                                                                                   WAVERLY           OH    45690‐1242
JEAN BAXTER RHODUS                             443 E IRENE RD                                                                                    ZACHARY           LA    70791‐9719
JEAN BEAUMONT                                  37 PINE STREET                                                                                    ARDSLEY           NY    10502‐1015
JEAN BECKMANN POWER CUST DEVIN TIMOTHY POWER 52 GENESEE TRAIL                                                                                    WESTFIELD         NJ    07090‐2736
UTMA NJ
JEAN BENNISON MC GOWEN & CYNTHIA BAADE HILL JT 7815 N CHURCH AVE                                                                                 TAMPA             FL    33614‐2611
TEN
JEAN BETTS                                     1250 ERIEWOOD                                                                                     ROCKY RIVER       OH    44116‐2149
JEAN BETTY DI SABATINO                         225 N ESSEX AV                                                                                    NARBERTH          PA    19072‐1801
JEAN BLOSSER                                   1827 MAUMEE DR                                                                                    DEFIANCE          OH    43512‐2522
JEAN BOGDANY & JOHN R BOGDANY JT TEN           788 LEGETTE ST                                                                                    SUMTER            SC    29150‐1922
JEAN BROWN WOOD                                1382 NEWTOWN LANGHORNE RD                # E105                                                   NEWTOWN           PA    18940‐2401
JEAN BURHANS                                   ATTN JEAN SHOPTAW                        200 W YALE                                               PONTIAC           MI    48340‐1866
JEAN BURLEY MOORE                              9845 NATICK RD                                                                                    BURKE             VA    22015‐2932
JEAN BURNS & WAYNE R BURNS JT TEN              1202 W MAPLE AVE                                                                                  FLINT             MI    48507‐3734
JEAN C BERGERON                                APT 3‐B                                  6650 W 64TH PL                                           CHICAGO           IL    60638‐4944
JEAN C BERTENS                                 9 SCENIC CT                                                                                       DANVILLE          CA    94506‐6139
JEAN C BITTER                                  1602 HENRY CLAY AVENUE                                                                            COVINGTON         KY    41011‐3728
JEAN C BOWEN                                   568 LAKESIDE                                                                                      BIRMINGHAM        MI    48009‐1362
JEAN C CARPENTER & ROBERT EARL CARPENTER &     3402 BROOKGATE                                                                                    FLINT             MI    48507‐3213
CAROLYN E CARPENTER JT TEN
JEAN C CERMELE                                 528 DREXEL AVE                                                                                    TRENTON           NJ    08648‐3845
JEAN C CHOU                                    12537 ROYAL MANOR DR                                                                              CREVE COEUR       MO    63141‐8147
JEAN C CROOKS                                  600 MORAGA ROAD 5                                                                                 MORAGA            CA    94556
JEAN C DITTRICK                                3926 WEST 162ND STREET                                                                            CLEVELAND         OH    44111
JEAN C EDDINGS                                 600 ANNE STREET                                                                                   NORTH MYRTLE      SC    29582‐3326
                                                                                                                                                 BEACH
JEAN C ERWIN                                      6157 NORTH DOWLING STREET                                                                      WESTLAND          MI    48185‐2224
JEAN C EVERETT                                    101 HERMAY DR                                                                                  HAMILTON          OH    45013‐1718
JEAN C GAGNON                                     PO BOX 47                                                                                      NEW BOSTON        IL    61272‐0047
JEAN C GALLUZZO                                   120 6TH AVE                                                                                    HAWTHORNE         NJ    07506‐2157
JEAN C GAUTHIER                                   1289 CINCINNATI‐BATAVIA PIKE                                                                   BATAVIA           OH    45103‐1647
JEAN C GOWER                                      298 GREYSTONE DRIVE                                                                            HENDERSONVILLE    NC    28792‐9172
JEAN C JENKINS                                    630 E CHURCH RD                                                                                EASLEY            SC    29642‐9606
JEAN C JONES CUST SARAH C JONES UGMA MI           18392 KARLIN RD                                                                                THOMPSONVILLE     MI    49683‐9768
JEAN C KAUFFMANN TR REVOCABLE TRUST 04/28/92 U‐   ATRIA BAY POINT VILLAGE               7927 STATE RD 52 APT 124                                 HUDSON            FL    34667
A JEAN C KAUFFMANN
JEAN C KERR TR UA 01/27/2009 JEAN C KERR          16110 W 133RD STREET #210                                                                      OLATHE            KS    66062
REVOCABLE LIVING TRUST
JEAN C KILANDER                                   3524 CAPITOL AVE                                                                               WARREN            MI    48091
JEAN C LIPSCAMB                                   205 VALHALLA COVE                                                                              EATON             OH    45320‐2913
JEAN C MADISON                                    2123 LAKETON RD                                                                                PITTSBURGH        PA    15221‐1256
JEAN C MAY                                        29 JENNINGS POND RD                                                                            NATICK            MA    01760‐2343
JEAN C MC CLAIN CUST BRENT MC CLAIN UGMA MI       892 W BARNES LAKE RD                                                                           COLUMBIAVILLE     MI    48421‐9383

JEAN C MC CLAIN CUST ERIC MC CLAIN UGMA MI        892 W BARNES LAKE RD                                                                           COLUMBIAVILLE     MI    48421‐9383
                                             09-50026-mg                   Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                               Address1                               Address2             Address3          Address4          City            State Zip

JEAN C MCKEON TR JEAN C MCKEON REV FAMILY TRUST 15006 ROYAL PALM CT                                                                                MIAMI LAKES     FL    33014‐2535
UA 02/14/03
JEAN C MCLENNAN                                 55 HANCOCK DR                                                                                      MORRISTOWN      NJ    07960‐2749
JEAN C RAMSEY                                   1411 W 8TH STREET                                                                                  ANDERSON        IN    46016‐2632
JEAN C RONEY                                    559 FREMONT RD                                                                                     NOTTINGHAM      PA    19362‐9121
JEAN C SEYMOUR                                  1110 PAYNE AVE APT 206                                                                             NORTH           NY    14120‐2748
                                                                                                                                                   TONAWANDA
JEAN C SHOFFNER                               121 WINTERDALE DR                                                                                    LAKE ALFRED     FL    33850‐9447
JEAN C SMITH                                  8 GRANDVIEW RD                              BOX 147                                                  STRYKERSVILLE   NY    14145‐0147
JEAN C SULLIVAN                               937 HILL PL                                                                                          MACON           GA    31210‐3328
JEAN C WELNICKE                               1014 MANILA ST                                                                                       MANITOWOC       WI    54220‐6238
JEAN C WOLFE                                  1928 MYERS RD                                                                                        EIGHT MILE      AL    36613‐3818
JEAN C ZEBLEY                                 18 PELHAM RD                                                                                         WILM            DE    19803‐4133
JEAN CALORI                                   1105 ELLIS HOLLOW RD                                                                                 ITHACA          NY    14850‐2918
JEAN CANDLER GLENN                            3990 RANDALL MILL RD                                                                                 ATLANTA         GA    30327‐3123
JEAN CARMAN                                   4 MEADOWBROOK CT                                                                                     BREWSTER        NY    10509‐3616
JEAN CARR & PAUL CARR JT TEN                  46 MEDFORD ST                               APT 2                                                    CHELSEA         MA    02150‐2615
JEAN CHAR & ROBERT KUNZE JT TEN               462 COYLE RD                                                                                         CLAYTON         NJ    08312‐1321
JEAN CHRISTINE GROSCHE                        47158 AMANDA WAY                                                                                     PARK HALL       MD    20667‐2600
JEAN CLARK                                    13969 FARLEY                                                                                         REDFORD         MI    48239‐2828
JEAN CLAUDE CYR                               2487 DE L'EGLISE                            STE CLOTILDE         PROVINCE QC       J0L 1W0 CANADA
JEAN CLAY                                     18505 SUSSEX                                                                                         DETROIT         MI    48235‐2882
JEAN COLLIER                                  PO BOX 12                                                                                            JACKSON         SC    29831‐0012
JEAN COLLINS                                  906 MORSE AVE                                                                                        DAYTON          OH    45420‐2326
JEAN COMPTON                                  379 WILLOW LN                                                                                        MENASHA         WI    54952‐3432
JEAN COURSEY NEARING                          5333 N SHERIDAN RD 5L                                                                                CHICAGO         IL    60640‐7306
JEAN CRANE MCMAHON & MATTHEW G SCHWARTZ JT 9811 WOODSTOCK LANE                                                                                     PORT RICHEY     FL    34668‐4266
TEN
JEAN CRAWFORD HOLZHAUSEN                      R D 1 WEST LAKE RD                                                                                   NORTH EAST      PA    16428‐9803
JEAN CRAWFORD WAGNER & JACOB WAGNER JR JT TEN 336 E MINE ST                                                                                        HAZLETON        PA    18201‐6623

JEAN CULLIN MERTZ                                  7200 MATTHEW MILLS RD                                                                           MC LEAN         VA    22101‐2642
JEAN CUMMINGS                                      209 GLENBURN RD                        APT C                                                    CLARKS GREEN    PA    18411‐2542
JEAN D BOYD                                        41 CREEK BANK PT                                                                                ACWORTH         GA    30101
JEAN D BROWN                                       525 N BRUNSWICK                                                                                 MARSHALL        MO    65340‐1549
JEAN D CONWAY                                      BOX 10118                              CAPARRA HEIGHTS                        PUERTO RICO
JEAN D FEY                                         7114 SANSUE DRIVE                                                                               BETHEL PARK     PA    15102‐3746
JEAN D FINKEL & J MAURICE FINKEL JT TEN            7465 SW 135TH ST                                                                                MIAMI           FL    33156‐6851
JEAN D FISHER                                      27731 JOY ROAD                                                                                  WESTLAND        MI    48185‐5525
JEAN D FRIDIRICI                                   5025 SHANKWEILER RD                                                                             OREFIELD        PA    18069‐2308
JEAN D HOLLEY CUST KEVIN E HOLLEY UTMA NY          30W082 PENNY LN                                                                                 WARRENVILLE     IL    60555‐1036
JEAN D KANE                                        1801 WYNKOOP ST                        APT 312                                                  DENVER          CO    80202‐1193
JEAN D KAPLAN TR UA 10/26/89 JEAN D KAPLAN TRUST   74 BRIDGEWATER LANE                                                                             ORMOND BEACH    FL    32174‐9266

JEAN D KETCHAM                                     1247 LIBERTY STREET                                                                             GREEN BAY       WI    54304
JEAN D KOEHLER                                     12B MIRACLE LANE                                                                                ALBANY          NY    12211‐2112
JEAN D LITTLE & ROBERT C LITTLE JT TEN             6200 ERNST RD                                                                                   MANCHESTER      MI    48158‐9772
JEAN D NEAL JR TR UW JUANITA TRAVIS NEAL           1237 MAIN ST                                                                                    GEORGETOWN      TX    78626‐6726
JEAN D PAOLINELLI                                  1106 KELLY DR                                                                                   NEWARK          DE    19711‐2423
JEAN D PEARCE                                      12655 PRICE'S DISTILLERY RD                                                                     DAMASCUS        MD    20872‐1520
JEAN D ROBINSON                                    2516 SIMPSON AVENUE                                                                             OCEAN CITY      NJ    08226
JEAN D SCHLAEGER                                   3446 BROOKS RD                                                                                  OSHKOSH         WI    54904‐9728
JEAN D THOMAS                                      900 OSWALT RD                                                                                   MANSFIELD       OH    44903‐9166
JEAN D WARMAN                                      820 HAMILTON BLDG                      900 8TH ST                                               WICHITA FALLS   TX    76301‐6801
JEAN DEFOREST DAVIA                                13015 S 36TH ST                                                                                 PHOENIX         AZ    85044‐3870
JEAN DEILY GOODMAN                                 2001 BAYTREE DR                                                                                 GREENSBORO      NC    27455‐1179
JEAN DENT & SANDRA K COSBY JT TEN                  1803 HALBERT                                                                                    KILLEEN         TX    76541‐8926
JEAN DERUSSEAUX                                    280 MARYARIGOLD CIRCLE                                                                          WESTLAND        MI    48185
JEAN DEVANEY                                       328 PARK ST                                                                                     RIDLEY PARK     PA    19078‐3112
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Name                                              Address1                               Address2             Address3          Address4          City               State Zip

JEAN DOLORUS MCCALDEN                              1183 RIDGEVIEW CIR                                                                             LAKE ORION         MI    48362‐3451
JEAN DOROTHY DAUBENAS                              6525 NO 61ST ST                                                                                PARADISE VALLEY    AZ    85253‐4235
JEAN DOYLE                                         2617 SIXTEENTH ST                                                                              BELLINGHAM         WA    98225
JEAN E ATHEN                                       BOX 160                                                                                        HAMBURG            IA    51640‐0160
JEAN E BAKER & PHILLIP C BAKER & BRIAN D BAKER JT  #1734 BONNIEVIEW                                                                               ROYAL OAK          MI    48073‐3808
TEN
JEAN E BECKETT                                     9430 SE 176TH SAFFOLD ST                                                                       THE VILLAGES       FL    32162
JEAN E BECKETT TR JEAN E BECKETT TRUST UA 02/02/97 9430 SE 176TH SAFFOLD ST                                                                       LADY LAKE          FL    32162‐3817

JEAN E BENTON                                     1040 SAN RAFAEL AVE                    APT 208                                                  GLENDALE           CA    91202‐2479
JEAN E BOOTH                                      27 MALLARDS LNDG S                                                                              WATERFORD          NY    12188‐1037
JEAN E BRYSON TR JEAN E BRYSON REVOCABLE TRUST    PO BOX 67                                                                                       FREDERICKTOWN      MO    63645‐0067
UA 8/23/93
JEAN E CAUFIELD                                   504 S ALTADENA                                                                                  ROYAL OAK          MI    48067‐2824
JEAN E CHAMBERLAIN                                2507 N HARTFORD ST                                                                              CHANDLER           AZ    85225‐2115
JEAN E CHMILAR                                    1225 OVERVIEW DR                                                                                PASADENA           MD    21122‐4620
JEAN E CONKRIGHT                                  920 DECATUR ST                                                                                  BARRY              IL    62312‐1321
JEAN E CULLIGAN                                   BOX 285                                                                                         PAISLEY            FL    32767‐0285
JEAN E DAY TR JEAN E DAY TRUST UA 11/08/01        3604 E. FULTON                         APT 146                                                  GRAND RAPIDS       MI    49546‐1396
JEAN E DORSEY                                     7548 W HILLCREST DRIVE                                                                          WARSAW             IN    46580‐8377
JEAN E ECKER                                      C/O CHARLES WILLIAM ECKER              4060 DEMERLY RD                                          FRANKFORT          MI    49635‐9598
JEAN E EDWARDS                                    3 WOODLAND ROAD                                                                                 CHATHAM            NJ    07928‐2040
JEAN E FESSLER                                    100 E MARKET ST REAR                                                                            ORWIGSBURG         PA    17961‐1904
JEAN E FINNEGAN                                   8 CAMP ST                                                                                       MILFORD            MA    01757‐1065
JEAN E FORSTER                                    8240 WEST POINT DRIVE                                                                           EAST AMHERST       NY    14051‐1908
JEAN E FORSYTHE                                   2815 BELL HILL RD                                                                               KELSEYVILLE        CA    95451‐8314
JEAN E GAQUIN & ANNE E GAQUIN JT TEN              60 HAVELOCK STREET                                                                              MALDEN             MA    02148‐3051
JEAN E GARRETT CUST PATRICK N GARRETT UGMA SC     606 MILLS AVE                                                                                   GREENVILLE         SC    29605‐4221

JEAN E HART                                       9715 COOLEY LAKE RD                                                                             COMMERCE           MI    48382
JEAN E HECKMAN TR JEAN E HECKMAN TRUST UA         610 INVERRARY LN                                                                                DEERFIELD          IL    60015‐3606
05/10/93
JEAN E HEDQUIST                                   905 EAST 29TH ST                                                                                SOUTH SIOUX CITY   NE    68776‐3300

JEAN E HINZ TR UNDER DECLARATION OF TRUST         1420 RONAN CT                                                                                   LIBERTYVILLE       IL    60048‐5334
CREATED JEAN E HINZ 06/28/84
JEAN E JASLOW                                     46 LANDSTONE TERRACE                                                                            ROCHESTER          NY    14606‐4357
JEAN E KOBA                                       762 W 38TH ST                                                                                   LORAIN             OH    44052‐5237
JEAN E LARSON & LARS E LARSON JT TEN              5785 LADUES END CT                                                                              FAIRFAX            VA    22030‐4629
JEAN E MAYERS & WILLIAM C MAYERS JT TEN           4087 WEST WALKER RD                                                                             ST JOHNS           MI    48879‐9521
JEAN E MILLS                                      630 SAGINAW ST                                                                                  VASSAR             MI    48768‐1133
JEAN E MOORE                                      6313 HARRISBURG RD                                                                              CHARLOTTE          NC    28227‐3398
JEAN E MUELLER                                    3003 PARKSIDE DRIVE                                                                             PERU               IL    61354‐1468
JEAN E NELSON                                     3403 SUPERIOR PARK DR                                                                           CLEVELAND          OH    44118‐2106
JEAN E OWEN CUST PAMELA J OWEN UGMA IL            7020 HILLSDALE RD                                                                               LA GRANGE          IL    60525‐4706
JEAN E PATTON                                     1342 PATTIPARK DRIVE                                                                            WESTLAKE           OH    44145‐1965
JEAN E PEARL                                      26256 CASTLETON DR                                                                              SOUTHFIELD         MI    48076‐4708
JEAN E PEMBERTON                                  19042 21 MILE ROAD                                                                              TUSTIN             MI    49688
JEAN E PHILLIPS                                   PO BOX 566                                                                                      WEST DENNIS        MA    02670‐0566
JEAN E POGWIZD & FRANCIS J POGWIZD JT TEN         175 NEW HAVEN AVE                                                                               ORANGE             CT    06477‐3124
JEAN E RAKOSKE                                    PO BOX 133                                                                                      DELANSON           NY    12053‐0133
JEAN E RICHEY                                     801 TURNBULL ST                                                                                 NEW SMYRNA         FL    32168‐6458
                                                                                                                                                  BEACH
JEAN E RUSSELL                                    5545 WAYNE RD                                                                                   PENTWATER          MI    49449‐9512
JEAN E SAUCKE                                     4352 ST PAUL BLVD                                                                               ROCHESTER          NY    14617‐2238
JEAN E SAUNDERS TR SAUNDERS LIVING TRUST UA       9925 BICKLEY CT                                                                                 VIENNA             VA    22181‐5933
08/02/94
JEAN E SLUSSER                                    506 STRANGFORD RD                                                                               BLAIRSVILLE        PA    15717‐7715
JEAN E SMITH                                      421 CRESTVIEW AVE                                                                               IOWA CITY          IA    52245‐5223
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Name                                               Address1                              Address2              Address3           Address4          City             State Zip

JEAN E STOKES                                  1408 KELLOGG DR                                                                                      TAVARES          FL    32778‐4938
JEAN E TOMASULA CUST STEVEN J TOMASULA UTMA OH 3302 STONEWOOD DRIVE                                                                                 SANDUSKY         OH    44870‐6919

JEAN E TUOHY                                       808 PARK PL DR                                                                                   MENDOTA HEIGHTS MN     55118‐2743

JEAN E UTACHT                                      C/O SARA N FUSON                      5125 PENSACOLA BLVD                                        DAYTON          OH     45439‐2942
JEAN E VAN DER LOOP                                918 W LINDBERGH                                                                                  APPLETON        WI     54914‐2336
JEAN E VERBINSKI                                   3027 INGLESIDE DRIVE                                                                             PARMA           OH     44134‐2921
JEAN E WALTERS                                     310 LINKS ROAD                                                                                   GILBERTSVILLE   PA     19525‐8820
JEAN E WARNER                                      1461 FELA AVE                                                                                    NORTH BRUNSWICK NJ     08902‐1523

JEAN ELAINE VERLICH                                156 LAUREL CREST DR                                                                              WEXFORD          PA    15090‐7595
JEAN ELISABETH WILSON                              4623 S 34TH ST                                                                                   ARLINGTON        VA    22206‐1701
JEAN ELIZABETH CATTELL                             ATTN JEAN ELIZABETH CATTELL           SCARLETT              204 WEDGEWOOD CT                     ABSECON          NJ    08201‐9566
JEAN ELIZABETH COOKE                               R R 4 REACH RD                        UXBRIDGE ON                              L0C 1K0 CANADA
JEAN ELIZABETH DAVIS                               203 BIERVILLE BLVD                                                                               DAUPHIN ISLAND   AL    36528
JEAN ELIZABETH DRAKE                               7306 FARMERS RD                                                                                  MARTINSVILLE     OH    45146‐9577
JEAN ELIZABETH KENNARY                             777 S FEDERAL HWY                     APT F206                                                   POMPANO BEACH    FL    33062‐5928
JEAN ELLEN CURTIN                                  2451 INDIGO LANE                                                                                 GLENVIEW         IL    60025
JEAN ELLEN KOSKI                                   43 LAKE JULIA DR S                                                                               PONTE VEDRA      FL    32082
JEAN ELLEN PARKER                                  6572 NORTHVIEW DR                                                                                CLARKSTON        MI    48346
JEAN EVANS & JOYCE STACEY JT TEN                   6207 HEUGHS CANYON DR                                                                            HOLLADAY         UT    84121‐6327
JEAN F BECKER                                      4440 NASSAU CT #402D                                                                             LITTLE RIVER     SC    29566‐7910
JEAN F GILLESPIE                                   250 PLAZA BLVD                        APT F2                                                     MORRISVILLE      PA    19067
JEAN F HAYWARD TR UA 04/04/2008 FRANCIS E          8 MT AUBURN ST                                                                                   HOPKINTON        MA    01748
HAYWARD IRREVOCABLE TRUST
JEAN F L DOUGLAS                                   BOX 2040                                                                                         ANDERSON         IN    46018‐2040
JEAN F LINEBERGER                                  C/O THOMAS L LINEBERGER               6139 CRAUGHWELL LN                                         DUBLIN           OH    43017
JEAN F LONG                                        1910 TERI LANE                                                                                   ANDERSON         IN    46012‐1951
JEAN F MAGRIT                                      FRIEDENSALLEE 4                       D‐55218 INGELHEIM                        GERMANY
JEAN F MCLAUGHLIN                                  15 ARLINE ST                                                                                     WORCESTER        MA    01607‐1365
JEAN F OSTANEK                                     2250 GREENRIDGE DR                                                                               WICKLIFFE        OH    44092‐2013
JEAN F PLATT TR UA 10/13/86 JEAN F PLATT TRUST     452 W 11TH STREET                                                                                CLAREMONT        CA    91711‐3833

JEAN F RIVARD                                      1876 ONEIDA COURT                     WINDSOR ON                               N8Y 1S8 CANADA
JEAN F RODGERS                                     8033 SUNSET DR                                                                                   FLINT            MI    48532‐3012
JEAN F SCHNABEL                                    15 SANDWEDGE LANE                                                                                ISLE OF PALMS    SC    29451‐2820
JEAN F TOCICKI                                     73 STANTON                                                                                       YOUNGSTOWN       OH    44512‐2216
JEAN FAULK                                         29 RANDOLPH DRIVE                                                                                DIX HILLS        NY    11746‐8307
JEAN FEENSTRA                                      1180 GREENLY                                                                                     HUDSONVILLE      MI    49426‐9671
JEAN FERREIRA                                      85 NOTTINGHAM DR                                                                                 BRICK            NJ    08724‐3764
JEAN FLECK                                         159 DONALDSON AVE                                                                                RUTHERFORD       NJ    07070‐2201
JEAN FONS                                          6129 N SANTA MONICA BLVD                                                                         MILWAUKEE        WI    53217‐4322
JEAN FOXMAN DAVID FOXMAN TR 12/27/07 JEAN H        24150 HAZELMERE RD                                                                               SHAKER HTS       OH    44122
FOXMAN REV TRUST
JEAN FRANCES HEULER                                906 W PIONEER DR                                                                                 ANAHEIM          CA    92805‐2423
JEAN FRANCES THACKSTON                             200 SHIRLEY PARKWAY                                                                              PISCATAWAY       NJ    08854‐4449
JEAN FRANCIS DIMET                                 3711 MACON                                                                                       LANSING          MI    48917‐2243
JEAN FRANCOIS SCHANZENBACH                         8036 RUE BROWNING                     LASALLE QC                               H8N 2G1 CANADA
JEAN FRANCOVILLA                                   895 OAK OVAL                                                                                     MECHANICSBURG    PA    17055‐8409
JEAN FRENCH CUST JOHN HENRY FRENCH UGMA NY         LE BRUN AVE                                                                                      AMITYVILLE       NY    11701

JEAN FREYBERGER                                    1600 JULIET AVE                                                                                  SAINT PAUL       MN    55105‐2117
JEAN FRIEDRICH MAGRIT                              FRIEDENSALLEE 4                       D 55218 INGELHEIM                        GERMANY
JEAN G BALLOU                                      1321 MORNINGSIDE DR                                                                              ANN ARBOR        MI    48103‐2524
JEAN G BENNETT                                     8 RACE TRACK RD                                                                                  E BRUNSWICK      NJ    08816‐3805
JEAN G BOWLES TR JEAN G BOWLES REVOCABLE TRUST     89 BRISTLECONE LANE                                                                              AUGUSTA          GA    30909
UA 08/17/05
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JEAN G EISENHAVER                                 6420 EASTONDALE RD                                                                                MAYFIELD HEIGHTS OH     44124‐4107

JEAN G FORRESTER                                  2285 WENASOGA RD                                                                                  RAMER             TN    38367‐6242
JEAN G GROW                                       1013 WILD FLOWER COURT                                                                            DAVIDSVILLE       PA    15928
JEAN G KELLEY                                     44 COUCHMAN AVE                                                                                   ROCHESTER         NY    14617‐2611
JEAN G LAING KRYSCYNSKI & JANE E LAING JT TEN     1321 MORNINGSIDE DRIVE                                                                            ANN ARBOR         MI    48103‐2524
JEAN G MAHONEY                                    1826 N UNION ST                                                                                   WILMINGTON        DE    19806‐2228
JEAN GARDNER BRENNAN                              37 MAPLE AVE                                                                                      BRIDGEWATER       MA    02324‐2512
JEAN GIANNANDREA & VITO GIANNANDREA JT TEN        39 COLONIAL DR                                                                                    HUNTINGTON        NY    11743‐6008

JEAN GIROUX & HENRY GIROUX & JEANNINE MERCURIO 22530 BARTON                                                                                         ST CLAIR SHORES   MI    48081‐2549
JT TEN
JEAN GITTELMAN                                 C/O J G KASKEY                          3216 DEVONSHIRE WAY                                          PALM BCH GDNS     FL    33418
JEAN GOEPFERT TOD DANIEL J GOEPFERT SUBJECT TO 825 11TH STREET                                                                                      MONROE            WI    53566‐1734
STA TOD RULES
JEAN GOEPFERT TOD DONNA J FENN SUBJECT TO STA  825 11TH STREET                                                                                      MONROE            WI    53566‐1734
TOD RULES
JEAN GOLD                                      17935 CANYON COVE PL                                                                                 GRANADA HILLS     CA    91344‐2151
JEAN GORDON COOKE CUST JACOB ERNEST COOKE III  16 PLEASANT ST                                                                                       LYME              NH    03768
UGMA PA
JEAN GRAVER                                    PO BOX 5025                                                                                          BECKLEY           WV    25801‐7500
JEAN GRAY BRITTINGHAM                          29296 WOODS EDGE DR                                                                                  OCEAN VIEW        DE    19970
JEAN GUIZOL                                    OPEL FRANCE                             89 BOULEVARD NATIONAL   92257 LA GARENNE   FRANCE
JEAN GUIZOL                                    VIA DEI RIARI                           ROMA                                       165 ITALY
JEAN H ADAMS & CLARENCE M ADAMS JT TEN         9718 PRAIRIE LN                                                                                      CLARKSTON         MI    48348
JEAN H ADLEMAN TOD HAROLD L ADLEMAN            17701 APRIL BLVD                                                                                     ALACHUA           FL    32615‐4842
JEAN H ADLEMAN TOD LINDA SUE BOLINGER          17701 APRIL BLVD                                                                                     ALACHUA           FL    32615‐4842
JEAN H BURDEN                                  16280 PIKE # 292                                                                                     BOWLING GREEN     MO    63334‐3725
JEAN H CARLSSON & EDWARD C CARLSSON JT TEN     106 BAYPORT AVE                                                                                      BAYPORT           NY    11705‐1884
JEAN H CARTER                                  14928 CR 1148                                                                                        TYLER             TX    75704‐5606
JEAN H CONNOLLY                                8 STAPLETON COURT                                                                                    TIMONIUM          MD    21093‐6754
JEAN H DUNLAP                                  6034 W PORT AVE                                                                                      MILWAUKEE         WI    53223
JEAN H GREENE                                  4926 CHESIL AVE                                                                                      COLUMBUS          GA    31904‐6106
JEAN H HARTMANN & CARL T HARTMANN JT TEN       817 FERLEY ST                           LANSING MICH                                                 LANSING           MI    48911
JEAN H HOLDEN                                  24 COLEMAN RD                                                                                        GLASTONBURY       CT    06033‐3604
JEAN H KORFHAGE                                1001 GARDEN POINTE PLACE                                                                             LOUISVILLE        KY    40242‐4518
JEAN H MORGAN                                  PO BOX 35                                                                                            SPRINGFIELD       SC    29146‐0035
JEAN H PERKINS                                 4821 N 22ND ST                          APT 3410                                                     MILWAUKEE         WI    53209‐5658
JEAN H ROACH                                   1710 UNION ST                                                                                        ALAMEDA           CA    94501‐1342
JEAN H SCHULENBERG                             ROUTE 2 BOX 36                                                                                       ADMIRE            KS    66830‐9758
JEAN H SHRAMSKI & BRIEDI R TREECE JT TEN       803 1/2 WEST C ST                                                                                    MOSCOW            ID    83843
JEAN H STEARNS & ELIZABETH ANN SAMSON TEN COM 40 DANFORTH CIRCLE                                                                                    MANCHESTER        NH    03104‐4100

JEAN H TUCKER                                     10 LAUREL LANE                                                                                    BARRINGTON        RI    02806‐3209
JEAN HAFFA                                        606 E GRANT ST                                                                                    MARSHFIELD        WI    54449‐2323
JEAN HALL                                         857 RIVERVIEW LANE                                                                                MARYSVILLE        MI    48040‐1507
JEAN HALL                                         1377 SHILOH RD                                                                                    MARIONVILLE       MO    65705
JEAN HALL & CLAENCE HALL JT TEN                   14738 WINCHESTER                                                                                  HARVEY            IL    60426‐1621
JEAN HAMLIN HICKOX                                15400 HICKOX RD                                                                                   WATERTOWN         NY    13601
JEAN HANSEN HEARD                                 681 RIDGEVIEW DRIVE                                                                               EPHRATA           PA    17522‐9722
JEAN HARRINGTON                                   8746 WASHINGTON                                                                                   BIRCH RUN         MI    48415‐9035
JEAN HARTLEY POTTER & ELLEN ANN POTTER JT TEN     2 BLACKBERRY LN                                                                                   NIANTIC           CT    06357‐1944

JEAN HAYES                                        190 SUNNYSIDE DRIVE                  LONDON ON                                  N5X 3R1 CANADA
JEAN HENDRY                                       14 EDDY ST                                                                                        SUDBURY           MA    01776‐3111
JEAN HESS MORRIS                                  5100 US HIGHWAY 42 APT 532                                                                        LOUISVILLE        KY    40241‐6051
JEAN HIGHT                                        3380 PARK RD E APT 208                                                                            PLEASAND GROVE    AL    35127‐2823
JEAN HILDRETH                                     E2179 HILL RD                                                                                     LUXEMBURG         WI    54217‐7919
JEAN HOBBY LADD                                   PO BOX 760                                                                                        CARY              NC    27512
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JEAN HOLMES                                        4 RIVERHURST RD                     APT 211                                                  BILLERICA          MA    01821‐3479
JEAN HOWARD                                        PO BOX 1404                                                                                  TEXARKANA          TX    75504‐1404
JEAN HSU                                           211 DELAWARE AVE                                                                             ITHACA             NY    14850‐4709
JEAN HULSE                                         RR #6 BOX 280                                                                                ALTOONA            PA    16601‐9776
JEAN I COMPTON & CLIFTON K COMPTON JT TEN          6413 N GLEANER RD                                                                            FREELAND           MI    48623‐8513
JEAN I DEVERELL                                    1224 N JACKSON                                                                               LAPEER             MI    48446‐1208
JEAN I O'LEARY & RAYMOND K O'LEARY JT TEN          25 FERN ROAD                                                                                 SPARTA             NJ    07871‐2016
JEAN I WALLACE & CHARLOTTE W PATTERSON JT TEN      702 PARKWAY CIR                                                                              SALISBURY          MD    21804‐5014

JEAN J BERGAMO CUST JASON MIRANOWICZ UGMA PA       130 W SAYLOR ST                                                                              ATLAS              PA    17851‐1040

JEAN J BERGAMO CUST SIMON MIRANOWICZ UGMA PA 130 W SAYLOR ST                                                                                    ATLAS              PA    17851‐1040

JEAN J DOMINAS                                     670 HOWARD RD                                                                                ROCHESTER          NY    14624
JEAN J HARVEY                                      10017 N SHERBURNE PLACE                                                                      W TERRE HAUTE      IN    47885‐9623
JEAN J JORDAN                                      25 SAXON WOODS RD                                                                            SCARSDALE          NY    10583‐7801
JEAN J KIRKEENG                                    13326 PICADILLY DR                                                                           STERLING HEIGHTS   MI    48312‐1517

JEAN J LAMONTAGNE                                  489 KING PHILIP ST                  APT 13                                                   RAYNHAM            MA    02767‐1474
JEAN JANMEY                                        1815 STONE MANOR CIR                                                                         BRUNSWICK          OH    44212
JEAN JEFFREY TOSDAL                                4715 S PEARL ST                                                                              SEATTLE            WA    98118‐2082
JEAN JOHNSON                                       1624 SOUTH CRESCENT BLVD                                                                     YARDLEY            PA    19067‐3112
JEAN JOSEY                                         340 ENGLISH RD                                                                               WEXFORD            PA    15090‐8526
JEAN K BLANCHET                                    PO BOX 8                                                                                     OLD MYSTIC         CT    06372‐0008
JEAN K CRABTREE                                    3311 HOUSTON ROAD                                                                            WAYNESVILLE        OH    45068‐9604
JEAN K FOLEY                                       2413 F BUNKER LANE                                                                           WILLOUGHBY         OH    44094‐8019
JEAN K FREED                                       301 DUTCH RD                                                                                 REHOBOTH BCH       DE    19971‐3335
JEAN K JUSTICE                                     701 SUTTON DRIVE                                                                             GREENWOOD          IN    46143‐8999
JEAN K KENNEDY                                     392 SPENCER ST                      PO DRAWER B                                              BARNESVILLE        GA    30204‐0017
JEAN K KLAMAN                                      200‐30 45 DRIVE                                                                              BAYSIDE            NY    11361‐3016
JEAN K MCPOLAND                                    294 LOCH LOMOND RD                                                                           RANCHO MIRAGE      CA    92270‐5603
JEAN K METTSCHER TOD TAMARA L CULBERTSON           9015 SPRINGVIEW LOOP                                                                         ESTERO             FL    33928
SUBJECT TO STA TOD RULES
JEAN K NICHOLSON                                   3751 DURNESS WAY                                                                             HOUSTON            TX    77025‐2401
JEAN K PUGH                                        9825 HARFORD RD                                                                              BALTIMORE          MD    21234‐1941
JEAN K THAYER TR THAYER FAMILY TRUST UA 11/01/83   11/1/1983                           5371 KENOSHA LN                                          IRVINE             CA    92603‐3526

JEAN K WRIGHT & JANICE W BRADSHAW JT TEN           4543 S 300 3E                                                                                OGDEN              UT    84405
JEAN K WRIGHT CUST ALISON E WRIGHT UGMA MI         748 CEDAR RIDGE DR                                                                           LEBANON            OH    45036‐3920

JEAN K ZIMMERMANN                                426 HOMESTEAD RD                      APT 2                                                    LA GRANGE PK       IL    60526‐2155
JEAN KANE & ROBERT KANE JT TEN                   100 SHADELAND AVE                     APT 314                                                  DREXEL HILL        PA    19026‐2012
JEAN KASK                                        199 HAMLIN AVE                                                                                 EAST AURORA        NY    14052‐1325
JEAN KATHERINE SISK                              250 GARDNER ST                                                                                 CULPEPER           VA    22701‐2112
JEAN KAUTH                                       8571 CLIFFRIDGE AVE                                                                            LA JOLLA           CA    92037‐2112
JEAN KAY VAVRUSKA TR UA 08/25/86 JEAN KAY WORLEY 278 REDWOOD DR                                                                                 TROY               MI    48083‐1062
VAVRUSKA FAMILY TRUST
JEAN KELLY                                       500 PEASE DR                                                                                   NEW CARLISLE       OH    45344‐1345
JEAN KELNE TR JEAN KELNE REVOCABLE TRUST UA      6720 EDGEWATER DR                                                                              OKLAHOMA CITY      OK    73116‐1825
12/07/00
JEAN KEMBLE                                      54 MARBOY DR                                                                                   PLANTSVILLE        CT    06479‐1518
JEAN KIMBALL                                     PO BOX 111                                                                                     ROSE CITY          MI    48654‐0111
JEAN KIRKHAM                                     63 WOODLAND RD                                                                                 RINGWOOD           NJ    07456‐2319
JEAN KIRKPATRICK TR JEAN C KIRKPATRICK TRUST UA  14 MOSELEY ST                                                                                  NEWBURYPORT        MA    01950‐1835
06/20/97
JEAN KLAPER                                      2315A KOKOMO RD                                                                                HAIKU              HI    96708‐5032
JEAN KLAUS MC POLAND                             294 LOCH LOMOND RD                                                                             RANCHO MIRAGE      CA    92270‐5603
JEAN KLAVE                                       BOX 665                                                                                        REMSEN             IA    51050‐0665
JEAN L AIKENS                                    409 CALIBRE BROOKE WAY SE                                                                      SMYRNA             GA    30080‐2986
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JEAN L ALDRICH                                    198 METACOMET DR                                                                                 MERIDEN           CT    06450
JEAN L ALLAR                                      17224 N 106TH AVE                                                                                SUN CITY          AZ    85373‐1960
JEAN L ANDERSON                                   8302 S MCLAWS PL                                                                                 FREDERICKSBRG     VA    22407‐2144
JEAN L BEDARD                                     1300 EAST LAFAYETTE ST                  APT 912                                                  DETROIT           MI    48207‐2920
JEAN L BENSON TR U‐W‐O ALICE C LAMB               390 RIVERSIDE DRIVE                                                                              NEW YORK          NY    10025‐1814
JEAN L BOYD OR JAMES R BOYD TR JEAN L BOYD        101 NW 131ST AVE                                                                                 PLANTATION        FL    33325‐2211
JEAN L BOYD TR JAMES R BOYD TRUST UA 01/07/94     101 N W 131 AVE                                                                                  PLANTATION        FL    33325‐2211

JEAN L CAMPBELL                                    411 WARNER ST                                                                                   REYNOLDSVILLE     PA    15851‐1105
JEAN L CARON                                       400 I8 PLYMOUTH ROAD                                                                            PLYMOUTH          MI    48170
JEAN L CAVIEZEL                                    5000 ALABAMA ST APT 19                                                                          EL PASO           TX    79930‐2638
JEAN L CHESTER                                     220 GREAT HILL RD                                                                               TAMWORTH          NH    03886‐4901
JEAN L CUNNINGHAM                                  PO BOX 1570                                                                                     WAITSFIELD        VT    05673‐1570
JEAN L DALE                                        73 LEUCKEL AVE                                                                                  HAMILTON          NJ    08619‐3926
JEAN L DAMALT                                      1341 GEORGES HILL ROAD                                                                          SOUTHBURY         CT    06488‐4618
JEAN L DAVIS                                       4575 BOGIE RD NW                                                                                DULUTH            GA    30096‐4403
JEAN L DEXTER TR JEAN L DEXTER REVOCABLE LIVING    8234 WINDER ST                                                                                  VIENNA            VA    22180‐6962
TRUST UA 06/10/99
JEAN L FAIRFIELD                                   BOX 63                                                                                          WOODSTOCK         CT    06281‐0063
JEAN L GRIFFITH                                    953 KING RIDGE DRIVE                                                                            ASHLAND           OH    44805
JEAN L GUGLIELMI TOD DARYL GUGLIELMI               405 MONTGOMERY AVE                                                                              PROVIDENCE        RI    02905‐1326
JEAN L HAGEN                                       3537 ELIZABETH RD                                                                               ANN ARBOR         MI    48103‐1801
JEAN L HARBAUM TR HARBAUM SURVIVORS TRUST UA 1323 POPLAR AVE                                                                                       ROYAL OAK         MI    48073
10/30/01
JEAN L HESSNEY                                     36 BENDING OAKS DR                                                                              PITTSFORD         NY    14534‐3342
JEAN L HESSNEY CUST EMILY J HESSNEY UNIFORM GIFT 36 BENDING OAKS DR                                                                                PITTSFORD         NY    14534‐3342
TO MINOR NY
JEAN L HESSNEY CUST THOMAS J HESSNEY UNIFORM       36 BENDING OAK DR                                                                               PITTSFORD         NY    14534‐3342
GIFT TO MINOR NY
JEAN L HODGE                                       6333 WOODSDALE DR                                                                               GRAND BLANC       MI    48439‐8543
JEAN L IHRIG                                       5552 BENTGRASS DR                      UNIT 118                                                 SARASOTA          FL    34235‐2691
JEAN L LARKIN                                      210 TURNER LN                          APT D1                                                   HEMLOCK           MI    48626‐9718
JEAN L LENK                                        57 BARBARA PL                                                                                   BUFFALO           NY    14225‐2830
JEAN L LETURGEY                                    8408 FOREST RD                                                                                  GASPORT           NY    14067‐9213
JEAN L MARCHIORI                                   335 MT VIEW DR                                                                                  CUMBERLAND        MD    21502‐2023
JEAN L MARINI                                      58 WINSTON DRIVE                                                                                ROCHESTER         NY    14626‐3335
JEAN L MC DONALD                                   354 PINEHURST WAY                                                                               CANTON            GA    30114‐7749
JEAN L MCCLOSKEY                                   30 STREAMVIEW CIR                                                                               GUILFORD          CT    06437‐1607
JEAN L MEYER TR THE JEAN L MEYER TRUST UA 02/07/92 235 BECKETT PL                                                                                  GROVER BEACH      CA    93433

JEAN L PHALEN KATO                                18 801 ROBERTS RD SP43                                                                           DESERT HOT SPRING CA    92241

JEAN L RICHARDSON                                 2358 FOREST DR                                                                                   JONESBORO         GA    30236‐4074
JEAN L ROBINSON                                   652 BELL AVE                                                                                     ELYRIA            OH    44035‐3412
JEAN L ROBINSON & WARREN L ROBINSON JT TEN        652 BELL AVENUE                                                                                  ELYRIA            OH    44035‐3412
JEAN L ROSE                                       32589 WOODVALE CRT                                                                               FARMINGTN HLS     MI    48334‐4322
JEAN L SAMMUT                                     53607 DRYDEN                                                                                     SHELBY TWP        MI    48316‐2413
JEAN L SAULS                                      342 W VIA SOL                                                                                    PALM SPRINGS      CA    92262‐4280
JEAN L SIMMONS & JANET L SIMMONS & STEPHEN E      1104 SHERMAN ST                                                                                  YPSILANTI         MI    48197‐4629
SIMMONS JT TEN
JEAN L STANDISH                                   5995 ELLIS ST UNIT 308                  LASALLE ON                             N9H 2P1 CANADA
JEAN L STITH                                      101 S 26TH ST                                                                                    MOREHEAD CITY     NC    28557
JEAN L SWEATT                                     109 WATER ST                            APT 102                                                  BEVERLY           MA    01915‐5076
JEAN L WARREN                                     719 CRICKET LN                          UNIT 6                                                   MIDDLETON         WI    53562‐5678
JEAN L WEBB                                       15758 ST RT 550                                                                                  FLEMING           OH    45729‐5065
JEAN L WEST                                       302 SOUTH BOLTON ROAD                                                                            BOLTON            MA    01740‐1411
JEAN L WOLF                                       691 LAKE RIDGE                                                                                   ROCHESTER HILLS   MI    48307‐4495
JEAN L ZIMMER                                     BX 25                                                                                            BREEDSVILLE       MI    49027‐0025
JEAN LAUREE HIATT                                 41577 CO RD 36                                                                                   HOLYOKE           CO    80734‐9710
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JEAN LE BLANC                                      721 W BOSTON AVE                                                                               BROKEN ARROW      OK    74012‐6958
JEAN LE GRELLE                                     20 SORBENLAAN                         WILRIJK                                2610 BELGIUM
JEAN LEE LAMB TR UA 01/21/93 JEAN LEE LAMB         10 OAK LN                                                                                      MEXICO            MO    65265‐2329
REVOCABLE TRUST
JEAN LEE TR JEAN LEE REVOCABLE TRUST UA 09/06/96   PO BOX 1208                                                                                    WINDERMERE        FL    34786

JEAN LEON CUBURU                                   2300 VALLEYWOOD DR                                                                             SAN BRUNO         CA    94066‐1848
JEAN LEONARD MC KEOWN                              11 UAM VAR GROVE                      BISHOPSTOWN CORK                       IRELAND
JEAN LESH DE MARCO                                 1 LIEBENOW CT                                                                                  PALMYRA           VA    22963‐2608
JEAN LESH DEMARCO & DAVID CHARLES DEMARCO JT       1 LIEBENOW CT                         LAKE MONTICELLO                                          PALMYRA           VA    22963‐2608
TEN
JEAN LESLIE ELDRED                                 28 FIRMAN ST                                                                                   MOHAWK            NY    13407‐1402
JEAN LITTLE                                        PO BOX 28283                                                                                   ATLANTA           GA    30358‐0283
JEAN LOFTUS DE GUIBERT                             C/O KATHERINE A VOGELEY               1343 WILDWOOD CT                                         BOULDER           CO    80305‐5656
JEAN LONGTIN                                       51 KILBRIDE DRIVE                     WHITBY ON                              L1R 2B5 CANADA
JEAN LONGTIN                                       51 KILBRIDE                           WHITBY ON                              L1R 2B5 CANADA
JEAN LONGTIN                                       GM OF CANADA                          1908 COLONEL SAM DRIVE ON              L1H 8P7 CANADA
JEAN LOUISE KEEFER                                 413 WEST MAIN STREET                                                                           MECHANICSBURG     PA    17055‐3242
JEAN LOWENTRITT KAPLAN TR DAVID BARUCH KAPLAN      100 PARK PLACE                                                                                 ALEXANDRIA        LA    71301‐3936
UA 12/23/85
JEAN LOWENTRITT KAPLAN TR JONATHAN LOWENTRITT      100 PARK PLACE                                                                                 ALEXANDRIA        LA    71301‐3936
KAPLAN UA 12/23/85
JEAN LOWENTRITT KAPLAN TR JUDITH ESTER KAPLAN      100 PARK PL                                                                                    ALEXANDRIA        LA    71301‐3936
UA 12/23/85
JEAN LOWENTRITT KAPLAN TR MEYER KAPLAN UA          211 4TH ST #30119                                                                              ALEXANDRIA        LA    71301‐8421
12/23/85
JEAN M APPELGET                                    17507 RUSTLING ASPEN LANE                                                                      HOUSTON           TX    77095‐4428
JEAN M ASTARE                                      BOX 76                                                                                         HAWK RUN          PA    16840‐0076
JEAN M AYER                                        2 CAROLINA MEADOWS APT 310                                                                     CHAPEL HILL       NC    27514‐8509
JEAN M BARSA & SUBHI M BARSA JT TEN                33 BERKSHIRE RD                                                                                WOODCLIFF LAKE    NJ    07675‐7800
JEAN M BARWELL                                     151 CROWLEY AVE                                                                                BUFFALO           NY    14207‐1557
JEAN M BEASLEY                                     4040 ADMIRABLE DRIVE                                                                           RANCHO PALOS      CA    90275‐6030
                                                                                                                                                  VERDO
JEAN M BERGERON                                    74 FLANDERS RD                                                                                 WESTBOROUGH       MA    01581‐1016
JEAN M BLAHA                                       17 PREDMORE AVE                                                                                COLONIA           NJ    07067‐2503
JEAN M BLATZ                                       4049 S QUATAR STREET                                                                           AURORA            CO    80018‐3129
JEAN M BLOOM TR JEAN M BLOOM REVOCABLE TRUST       5206 W 64TH TER                                                                                PRAIRIE VILLAGE   KS    66208‐1346
UA 04/26/00
JEAN M BRENNAN                                     2279 LONG RD                                                                                   GRAND ISLAND      NY    14072‐1329
JEAN M BRUNY                                       9629 ARCOLA                                                                                    LIVONIA           MI    48150‐3258
JEAN M CALLANAN CUST DAVID J CALLANAN UGMA CO      890 SERENIDAD PL                                                                               GOLETA            CA    93117‐1708

JEAN M CANINO CUST AMBER M CANINO UTMA OH          204 DOUGLAS DR                                                                                 SANDUSKY          OH    44870‐7310

JEAN M CARR                                        46 MEDFORD ST #2                                                                               CHELSEA           MA    02150‐2615
JEAN M CHAMPKEN                                    15515 CASIANO CT                                                                               LOS ANGELES       CA    90077‐1506
JEAN M CHAPMAN                                     65 LAKE SHORE DR                                                                               AUBURN            NY    13021‐8255
JEAN M CHRISTIAN                                   603 MAPLECREST RD                                                                              EDISON            NJ    08820‐1822
JEAN M CHRISTMAN                                   361 STATE RD                                                                                   LEHIGHTON         PA    18235‐2828
JEAN M COTE                                        31714 LONNIE DRIVE                                                                             WESTLAND          MI    48185‐1665
JEAN M COZZI                                       1812 HYDE‐SHAFFER RD                                                                           BRISTOLVILLE      OH    44402‐9708
JEAN M CUMMINS                                     8525 WINDING RIDGE ROAD                                                                        INDIANAPOLIS      IN    46217‐4414
JEAN M DESSALINES & GERMANY DESSALINES JT TEN      4655 OLD ANNISTOWN BRIDGE RD                                                                   SNELLVILLE        GA    30039

JEAN M DEVERILL                                    3705 BENT BRANCH RD                                                                            FALLS CHURCH      VA    22041‐1007
JEAN M DUNBAR                                      7035 COLUMBIA RD                                                                               OLMSTED FALLS     OH    44138‐1527
JEAN M DYSINGER                                    5 PRISCILLA LANE                                                                               LOCKPORT          NY    14094‐3312
JEAN M ELLIOTT                                     2665 VANCOUVER ST                                                                              CARLSBAD          CA    92008‐1365
JEAN M ERWIN                                       22140 GARDNER                                                                                  OAK PARK          MI    48237‐2684
                                               09-50026-mg              Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                             Address2             Address3          Address4          City              State Zip

JEAN M FAVATA & ANTHONY R CAMMARTA JT TEN         703 SILVER COURT                                                                              HAMILTON        NJ      08690‐3519
JEAN M FAVATA & LARRY L CAMMARATA JT TEN          703 SILVER COURT                                                                              HAMILTON SQUARE NJ      08690‐3519

JEAN M FENSCH                                     14350 LOUISA DR                                                                               BELLEVILLE        MI    48111‐3007
JEAN M FLAGG                                      104 HARBORAGE PLACE                                                                           BARNEGAT          NJ    08005‐2913
JEAN M FLAMMER                                    20 ALPINE DR                                                                                  CLOSTER           NJ    07624‐2813
JEAN M FLYNN                                      1605 SCHUST RD                                                                                SAGINAW           MI    48604‐1610
JEAN M GATH                                       224 CENTRE ST 5TH                                                                             NEW YORK          NY    10013‐3619
JEAN M GIBBON                                     3089 SHENK RD                        APT A                                                    SANBORN           NY    14132‐9472
JEAN M GILL                                       3326 ASH LANE                                                                                 CUYAHOGA FALLS    OH    44223‐3373
JEAN M GORMAN TR JEAN M GORMAN REVOCABLE          15566 BELMONT                                                                                 ALLEN PARK        MI    48101‐1742
LIVING TRUST UA 06/24/98
JEAN M GREBE TR JEAN M GREBE LIVING TRUST UA      15731 PINTO CRT                                                                               CLINTON TOWNSHIP MI     48035‐1042
12/19/94
JEAN M GRIFFIS                                    6670 BARTH RD                                                                                 JACKSONVILLE      FL    32219‐2404
JEAN M GUTHRIE                                    3392 1/8 LINE/ROAD                                                                            WEST BRANCH       MI    48661
JEAN M HEYE TR JEAN M HEYE TRUST UA 12/13/95      623 SW 21ST CIRCLE                                                                            BOYNTON BEACH     FL    33426‐4626
JEAN M HIBBELN                                    42159 MAC RAE DRIVE                                                                           STERLING HGTS     MI    48313‐2565
JEAN M HINTZ TR JEAN M HINTZ TRUST UA 02/13/95    1423 ST FRANCIS DR                                                                            CENTERVILLE       OH    45458

JEAN M HORGAN                                     28500 PUJOL ST                       APT 33                                                   TEMECULA          CA    92590‐5814
JEAN M HUGHEY                                     91 WILKERSON RD                                                                               PROSPERITY        SC    29127‐9019
JEAN M HURST                                      1001 E OREGON RD                                                                              LITITZ            PA    17543‐9205
JEAN M JACOBSON                                   508 W IRON ST                                                                                 BESSEMER          MI    49911‐1311
JEAN M JACQUART JR & NANCY A JACQUART JT TEN      9442 ELMHURST LANE UNIT C                                                                     HGHLNDS RANCH     CO    80129

JEAN M JOHANSSON                                  60 HODGE AVE                                                                                  BUFFALO           NY    14222‐2016
JEAN M JONES                                      1426 CHESTNUT LN                                                                              YORKVILLE         IL    60560‐9159
JEAN M JOYCE                                      1704 S OLDEN AVE                                                                              TRENTON           NJ    08610‐1802
JEAN M JOZWIAK                                    APT 307                              320 HAMILTON ST                                          ALBION            NY    14411‐9380
JEAN M KALLGREN TR UA 03/02/93 JEAN M KALLGREN    2983 WOODLAND RIDGE                                                                           WEST BLOOMFIELD   MI    48323‐3561
REVOCABLE LIVING TRUST
JEAN M KIELISZEK                                  2521 BULLIS RD                                                                                ELMA              NY    14059‐9745
JEAN M KOHN                                       169 EGRETS WALK LN                                                                            PONTE VEDRA       FL    32082‐3660
JEAN M LASLOW & RICHARD D LASLOW TEN ENT          161 CONNEAUT DRIVE                                                                            PITTSBURGH        PA    15239‐2630
JEAN M LATREILLE                                  124 MEDFORD PL                                                                                FRANKLIN          TN    37064‐4933
JEAN M LEGROS CUST LANCE C LEGROS UGMA WI         2703 MAPLE HILLS DR                                                                           GREEN BAY         WI    54313‐3916
JEAN M LINDGREN TR JEAN M LINDGREN LIVING TRUST   4119 MOUNTBATTON DR                                                                           GREENWOOD         IN    46143‐7871
UA 6/26/95
JEAN M LOSBY                                      7402 LAKE BREEZE DR 316                                                                       FORT MYERS        FL    33907‐8027
JEAN M MACINTYRE                                  699 WHISTLER DRIVE                   OSHAWA ON                              L1J 7N9 CANADA
JEAN M MAITROTT TOD SUSAN WEADOCK                 6118 HIGHPOINT DRIVE                                                                          CASS CITY         MI    48726‐9011
JEAN M MARTELL & JEAN M HARTMAN JT TEN            32231 VERONA CIRCLE                                                                           BEVERLY HILLS     MI    48025‐4273
JEAN M MCCARTHY                                   99 GREGORY HILL ROAD                                                                          ROCHESTER         NY    14620‐2401
JEAN M MCFALLS                                    2 SALISBURY LN                                                                                MALVERN           PA    19355
JEAN M MILLER                                     24500 MEADOWBROOK RD                                                                          NOVI              MI    48375
JEAN M MILLER                                     PO BOX 534                                                                                    BROOKFIELD        OH    44403‐9605
JEAN M MITCHELL                                   1878 LAKESVIEW DR                                                                             OXFORD            MI    48371‐4548
JEAN M MULLEN & ROGER D MULLEN TR MULLEN          1862 LAKE LOUISE ROAD                                                                         BELLINGHAM        WA    98229‐2726
FAMILY TRUST UA 9/16/94
JEAN M MUSZYNSKI & NORBERT J MUSZYNSKI JT TEN     28338 DELTON                                                                                  MADISON HEIGHTS MI      48071‐2871

JEAN M NAGEL                                      PO BOX 406                                                                                    OLCOTT           NY     14126‐0406
JEAN M OBRIEN                                     1713 CASCADE WAY                                                                              NORTH FORT MYERS FL     33917‐2509

JEAN M OLSEN                                      2019 MANOR LANE                                                                               PARK RIDGE        IL    60068‐1551
JEAN M PARENT                                     24580 QUEENS POINTE                                                                           NOVI              MI    48375‐2723
JEAN M PATALSKI                                   527 OGDEN AVE                                                                                 PITTSBURGH        PA    15221‐4351
JEAN M PETROVICH                                  67 2ND ST                                                                                     WATERFORD         NY    12188‐2422
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JEAN M PRESTON                                   651 FRASER AVE                         OTTAWA ON                              K2A 2R7 CANADA
JEAN M RANDOLPH                                  PO BOX 2384                                                                                     SURF CITY          NC    28445‐9821
JEAN M REIMER                                    1810 BELVIDERE RD                                                                               PHILLIPSBURG       NJ    08865‐2108
JEAN M REMP                                      25 W NINTH ST                                                                                   NEWTON FALLS       OH    44444‐1553
JEAN M RIBERDY                                   PO BOX 156                                                                                      RICHLAND           PA    17087‐0156
JEAN M RIESENBERG                                915 ANDERSON GLEN DRIVE                                                                         CINCINNATI         OH    45255‐4464
JEAN M RITTER                                    106 FALMOUTH WAY                                                                                DOVER              DE    19904‐5391
JEAN M ROBERTSON TR JEAN M ROBERTSON TRUST UA    1533 DEMPSTER STREET                                                                            EVANSTON           IL    60201‐4044
5/10/99
JEAN M ROBINSON                                  4830 KENNETT PIKE #2106                                                                         WILMINGTON         DE    19807‐1850
JEAN M ROCHE                                     59 WEDGEMERE AVE                                                                                WINCHESTER         MA    01890‐2335
JEAN M RODGERS                                   6763 N BARIVISTA DR                                                                             VERONA             PA    15147‐1930
JEAN M ROLL                                      5950 MORRICE RD                                                                                 PERRY              MI    48872‐9306
JEAN M RONE                                      4521 E SHORE DR                                                                                 CALEDONIA          MI    49316‐9617
JEAN M RUHL                                      1442 STRAWBRIDGE ROAD                                                                           LEWISBURG          PA    17837‐7135
JEAN M SCHMIEDER                                 3313 S STATE RD                                                                                 DAVISON            MI    48423‐8751
JEAN M SCHWEITZER                                2148 DENBY DR                                                                                   WATERFORD          MI    48329‐3803
JEAN M SEBERN                                    918 8TH ST                                                                                      CHARLES CITY       IA    50616‐3453
JEAN M SHEMANSKI                                 #B‐4                                   5885 W MICHIGAN                                          SAGINAW            MI    48638‐5913
JEAN M SHERMAN                                   APT 8                                  225 COUNTRYSIDE LANE                                     ORCHARD PARK       NY    14127‐1329
JEAN M SIMMONS                                   1964 COUNTRY CLUB DRIVE                                                                         BATON ROUGE        LA    70808‐1223
JEAN M SIMMONS                                   857 SUNDANCE CIRCLE                    OSHAWA ON                              L1J 8B5 CANADA
JEAN M SMITH                                     1314 LILLIAN DR                                                                                 FLINT              MI    48505‐2580
JEAN M SMITH & ROBERT G SMITH & PAUL E SMITH &   3361 W WALTON                                                                                   WATERFORD          MI    48329‐4373
MARY K GISSE JT TEN
JEAN M SOENKSEN                                  224 S MARION ST                                                                                 OAK PARK        IL       60302‐3104
JEAN M SPANGLER                                  7118 E 26TH ST N                                                                                WICHITA         KS       67226‐1723
JEAN M STABLER                                   8705 BIRCH ST                                                                                   SHAWNEE MISSION KS       66207‐2207

JEAN M STEFFEN                                   5279 GLENFIELD DR                                                                               SAGINAW            MI    48603‐5426
JEAN M SUGIYAMA                                  23 SANTA MARIA DR                                                                               NOVATO             CA    94947‐3761
JEAN M SWEARINGEN                                10360 PENNIMAN DRIVE                                                                            CHARDON            OH    44024‐8225
JEAN M TINGLEY                                   1324 GLENEAGLE TRAIL                                                                            HUDSONVILLE        MI    49426‐8733
JEAN M VANDERLEY                                 777 BURRARD STREET APT 63              VANCOUVER BC                           V6Z 1X9 CANADA
JEAN M VULLO                                     813 BOLEYN PLACE                                                                                MANCHESTER         MO    63021‐5328
JEAN M WALKER                                    1350 KEANS COURT                                                                                ROSWELL            GA    30075‐6359
JEAN M WALKER                                    8112 RAINFALL RD                                                                                ALVARADO           TX    76009‐4502
JEAN M WEGNER                                    4681 FIRST ST NE UNIT 307A                                                                      SAINT PETERSBURG   FL    33703‐4946

JEAN M WETZEL & HERBERT J WETZEL JR JT TEN       300 ADAMS ST                                                                                    MANNINGTON         WV    26582‐1043
JEAN M WILSON                                    1315 WINCHESTER PIKE                                                                            FRONT ROYAL        VA    22630‐4624
JEAN M WILSON                                    10079 SPRINGFIELD CIR                                                                           DAVISBURG          MI    48350‐1190
JEAN M ZABROSKI EX UW JOHN S ZABROSKI            18 MURRAY ST                                                                                    LYNN               MA    01905‐2169
JEAN MACKROSS                                    2650 OCEAN PARKWAY                     APT 6D                                                   BROOKLYN           NY    11235‐7749
JEAN MADELINE SATTERLEE                          8311 ASTWOOD CT                                                                                 SPRING             TX    77379‐6880
JEAN MAE BUTLER TOD JANE ELIZABETH PETERS        1754 SANDRA ST NW                                                                               WALKER             MI    49544
SUBJECT TO STA TOD RULES
JEAN MARGULIES                                   29 S DERBY RD                                                                                   SPRINGFIELD        NJ    07081‐3315
JEAN MARIE EDWARDS                               9230 AZALEA CT                                                                                  BRIGHTON           MI    48116‐8260
JEAN MARIE FISCHER                               117 GLENEAGLE DR                                                                                CORTLAND           OH    44410‐1346
JEAN MARIE GUILES & JAMES ROBERT GUILES JT TEN   1789 BAUMAN RD                                                                                  COLUMBUS           MI    48063‐2905

JEAN MARIE HUTCHERSON                            167 ABBEY RIDGE                                                                                 BARDSTOWN          KY    40004‐8738
JEAN MARIE KASCIN                                6 SLEEPY HOLLOW                                                                                 FLEMINGTON         NJ    08822‐4502
JEAN MARIE MC CARTNEY                            47 CAROL PLACE                                                                                  BLOOMFIELD         NJ    07003‐3112
JEAN MARIE ONEILL EX EST DAVID WESLEY COX        931 GREEN OAKS DR                                                                               MEMPHIS            TN    38117‐5608
JEAN MARIE POLLIS                                7322 N SKYVIEW LN #N‐204                                                                        TACOMA             WA    98406
JEAN MARIE SCHMUCK                               38561 CHESTNUT LN                                                                               WESTLAND           MI    48185‐7615
JEAN MARIE TIERNEY CAPUTA                        5758 PRIMROSE LANE                                                                              YOUNG HARRIS       GA    30582‐2618
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JEAN MARIE WITT                                    1999 FAIRFIELD                                                                                  ROCHESTER HILLS   MI    48306‐3115
JEAN MARION CROSBY                                 421 CENTER ST                                                                                   HURON             OH    44839‐1609
JEAN MARY ELIEZER                                  107 MILL LN                                                                                     YORKTOWN          VA    23692‐3217
JEAN MC CARLEY STEVENSON                           2883 GARDEN LN                                                                                  MEMPHIS           TN    38111‐2652
JEAN MC FARLAND                                    81 ROCKY BROOK RD                                                                               CRANBURY          NJ    08512‐3039
JEAN MCATEER                                       5457 FROLONA ROAD                                                                               FRANKLIN          GA    30217‐4632
JEAN MCC RUTINS                                    11516 HIGHVIEW AVE                                                                              WHEATON           MD    20902‐2437
JEAN MCGRATH & MORTIMER MCGRATH JT TEN             103 HUNTINGTON RD                                                                               MILTON            MA    02186‐5313
JEAN MCINTYRE                                      12 CLEVELAND PLACE                                                                              WATERVILLE        ME    04901‐4339
JEAN MCW ALLRED                                    1503 S THURMOND ST                                                                              SHERIDAN          WY    82801‐5545
JEAN MELVIN                                        25 N WALNUT ST                                                                                  TROY              OH    45373‐3432
JEAN MIASEK                                        58 FAIRMOUNT AVE                                                                                N ARLINGTON       NJ    07031‐6137
JEAN MICCICHE                                      APT 1                                  32 KINGS COURT WAY                                       ROCHESTER         NY    14617‐5522
JEAN MICHELE WILLIG                                227 MAPLE AVE                                                                                   HERSHEY           PA    17033‐1549
JEAN MICHELLE WOLTZ CUST JEAN CHERE WOLTZ UTMA 2704 OAK ROAD 83                                                                                    WALNUT CREEK      CA    94597
CA
JEAN MORGAN EDWARDS & EDWARD HALL EDWARDS 372 OVERBROOK RD                                                                                         DALLAS            PA    18612‐8739
JT TEN
JEAN MORTON & BONNIE K DOOLEY JT TEN               3034 S SCOTT                                                                                    INDEPENDENCE      MO    64052‐3027
JEAN MORTON & MYRON M MORTON JT TEN                3034 S SCOTT                                                                                    INDEPENDENCE      MO    64052‐3027
JEAN MOYER & FLORENCE A MOYER JT TEN               2 BOXWOOD LANE                                                                                  CAMP HILL         PA    17011‐7501
JEAN MULLEN & ROGER MULLEN TEN COM                 1862 LAKE LOUISE                                                                                BELLINGHAM        WA    98226‐2726
JEAN MYER                                          15 WESTON AVE                                                                                   TRENTON           NJ    08619‐1832
JEAN N CAHILL TR JEAN M CAHILL REV LIVING TRUST UA 2038 ST JAMES CHURCH RD                                                                         WILMINGTON        DE    19808‐5228
11/19/99
JEAN N QUESNEL                                     56 BASCOM ST                           UXBRIDGE ON                            L9P 1J2 CANADA
JEAN N QUESNEL                                     56 BASCOM ST                           UXBRIDGE ON                            L9P 1J2 CANADA
JEAN N SULLIVAN TOD THOMAS E SULLIVAN              5200 ROCK HARBOUR RD                                                                            MIDLOTHIAN        VA    23112
JEAN NACHTIGAL                                     704 WINDSOR KEEP DRIVE                                                                          LOUISVILLE        KY    40222‐4787
JEAN O BRYANT                                      4803 WILSON RD                                                                                  LOCKPORT          NY    14094‐1631
JEAN ODONNELL                                      PO BOX 197                                                                                      ISLAND HGTS       NJ    08732‐0197
JEAN OLIER CARON                                   417 RUE ST‐PIERRE SUITE 708            MONTREAL QC                            H2Y 2M4 CANADA
JEAN OTIS HAMM                                     899 GRANDON AVE                                                                                 COLUMBUS          OH    43209‐2529
JEAN P BOWEN                                       2 VILLAGE NORTH DR #4                                                                           HILTON HEAD       SC    29926‐1351
                                                                                                                                                   ISLAND
JEAN P BUTLER                                        52 W ELIZABETH ST                                                                             WATERLOO          NY    13165
JEAN P CARMICHAEL EX UW ARCHIE H CARMICHAEL III      2201 ROBBIE AVE                                                                               MUSCLE SCHOLAS    AL    35661‐2657

JEAN P CASE                                          PO BOX 3613                                                                                   BROOKHAVEN        MS    39603‐7613
JEAN P CHAMBERS                                      10616 MEADOW ROAD                                                                             NORWALK           CA    90650‐8011
JEAN P DESROSIERS                                    424 MT PLEASANT RD                                                                            BURRILLVILLE      RI    02830‐1719
JEAN P FENTIMAN                                      881 WELLINGTON WAY                                                                            PEMBROKE          NH    03275‐3902
JEAN P FENTIMAN TR JEAN P FENTIMAN REVOCABLE         GENERAL DELIVERY                                                                              CONCORD           NH    03302
TRUST UA 11/11/97
JEAN P FOSKEY & KIP FOSKEY & KEVIN J FOSKEY JT TEN   231 8TH ST                                                                                    LAUREL            DE    19956‐1908

JEAN P HALL                                          5 FISHER ST                                                                                   WESTBORO          MA    01581‐1803
JEAN P HART                                          6801 LAKEWOOD DRIVE                                                                           RICHMOND          VA    23229‐6930
JEAN P HENRY                                         2077 CENTER AVENUE APT 10G                                                                    FORT LEE          NJ    07024‐4903
JEAN P HILL                                          721 E ROOSEVELT ST                                                                            APPLETON          WI    54911‐3745
JEAN P MARTIN & JOSEPH EDWARD MARTIN JT TEN          210 LINGANORE COURT                                                                           WESTMINSTER       MD    21158‐9453

JEAN P MAYS                                          367 MADDOX ST                                                                                 MONTICELLO        GA    31064‐1229
JEAN P MORIN                                         19 ROSS AVE                                                                                   BUFFALO           NY    14207‐1718
JEAN P OWNBY TR UA 06/17/87 JEAN P OWNBY TRUST       846 HAVENSHIRE RD                                                                             NAPERVILLE        IL    60565‐6187

JEAN P SWINESBURG                                    10 QUAIL RUN                                                                                  JAMESBURG         NJ    08831‐1159
JEAN P TURCO O'MARA & DAVID S O'MARA JT TEN          1988 WILBRAHAM ROAD                                                                           SPRINGFIELD       MA    01129‐1823
JEAN P VOLPE                                         10 QUAIL RUN                                                                                  JAMESBURG         NJ    08831‐1159
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Name                                               Address1                              Address2             Address3          Address4          City              State Zip

JEAN P WALKER TR UA 01/08/75 JEAN P WALKER TRUST 806 WHISPERWOOD DR 73                                                                            FENTON            MI    48430‐2277

JEAN P WATTERS                                     888 OHIO ST                                                                                    NORTH             NY    14120‐1973
                                                                                                                                                  TONAWANDA
JEAN P YOUNG                                       1150 HOBART AVE                                                                                DOWNERS GROVE     IL    60516‐3427
JEAN PALMER CHANDLER                               69 BORDER ROAD                                                                                 CONCORD           MA    01742‐4601
JEAN PARKER ANDERSON                               4035 HWY 77                                                                                    SOUTHSIDE         AL    35907‐6707
JEAN PARSLEY                                       602 MAIN ST                                                                                    ROCKPORT          IN    47635‐1201
JEAN PASPALAS TR JEAN PASPALAS TRUST UA 09/03/98   6259 NORTH CAMPBELL AVE                                                                        CHICAGO           IL    60659‐2807

JEAN PAUL STEELE                                   3210 JORDAN DR                                                                                 SOUTHLAKE         TX    76092‐6704
JEAN PEARCY                                        PO BOX 4209                                                                                    PARKERSBURG       WV    26104‐4209
JEAN PETERS                                        PO BOX 53                                                                                      LINCOLDALE        NY    10540‐0053
JEAN PICKARD                                       10546 JOSHUA ST                                                                                ADELANTO          CA    92301
JEAN PIERRE                                        91‐43 219TH ST                                                                                 QUEENS VILLAGE    NY    11428‐1342
JEAN PIERRE JANELLE                                939 BOUL DES MILLE ILES EST           ST THERESE QC                          J7E 4A8 CANADA
JEAN PIERRE M ALGOET                               268 BERMUDA BEACH DR                  FT PIERCE                                                FORT PIERCE       FL    34949
JEAN PUCCIO                                        2325 W ALMOND AVE                                                                              ORANGE            CA    92868‐3407
JEAN QUON YEE                                      1223‐D KIRTS                                                                                   TROY              MI    48084‐4866
JEAN R BOWMAN TR JEAN R BOWMAN LIVING TRUST        105 BEECH ST                                                                                   FAYETTEVILLE      NY    13066‐2001
UA 11/8/99
JEAN R BURROW                                      3227 MOUNTAIN VIEW AVE                                                                         LOS ANGELES       CA    90066‐1042
JEAN R BUTLER                                      834 EAST 7TH ST                                                                                FLINT             MI    48503‐2776
JEAN R CANNIZZARO                                  231 MARSDEN AVE                                                                                PENNS GROVE       NJ    08069‐1554
JEAN R DAWSON                                      109 FOXBORO RD                                                                                 TRAVELERS REST    SC    29690‐4103
JEAN R DEAN                                        20074 HILLTOPON                                                                                ATHENS            AL    35614
JEAN R FARFSING                                    1410 MALLARD COVE DR                  APT 3207                                                 CINCINNATI        OH    45246
JEAN R GRIFFITH & PEGGY R GRIFFITH JT TEN          454 POPLAR CORNER RD                                                                           TRENTON           TN    38382‐9758
JEAN R HAIST                                       PO BOX 401                                                                                     VERDI             NV    89439‐0401
JEAN R HARRELL                                     7802 HYACINTH LN                                                                               TAMPA             FL    33637‐6510
JEAN R HARTZ & ERNEST V HARTZ JT TEN               117 N MARKET ST                                                                                DUNCANNON         PA    17020‐1322
JEAN R HUGHES                                      BOX 1308                                                                                       KINGSTON          PA    18704‐0308
JEAN R HUGHES EX EST FRANK H HUGHES                57 BUTLER ST                                                                                   KINGSTON          PA    18704
JEAN R MCCOY                                       9320 E CENTER AVE ‐ UNIT 9 A                                                                   DENVER            CO    80247
JEAN R MILLER & MARK EDWARD MILLER JT TEN          16 MIDDLESEX RD                                                                                SHARON            MA    02067‐2651
JEAN R MINASIAN TR U‐W‐O PAUL JACKSON MINASIAN     ATT PAUL RYAN MINASIAN                PO BOX 1679                                              OROVILLE          CA    95965‐1679

JEAN R MORRIS                                      1912 DOLPHIN DR                                                                                BELLEAIR BLUFFS   FL    33770‐2038
JEAN R PREFONTAINE                                 1836 CROTON DR                                                                                 NEWAYGO           MI    49337‐8352
JEAN R RICHARDS                                    127 SAINT ANDREWS                                                                              CORTLAND          OH    44410‐8721
JEAN R SEFL                                        5620 OVERLOOK RD                                                                               CLEVELAND         OH    44129‐2454
JEAN R SLAUGHTER & IRA J W SLAUGHTER JR JT TEN     16920 CEDARCROFT                                                                               SOUTHFIELD        MI    48076‐4710

JEAN R THOMAS                                      523 TORDEN LANE SE                                                                             OLYMPIA           WA    98513‐6808
JEAN RACZKA                                        10500 CAMBRIDGE CT                                                                             GREAT FALLS       VA    22066‐4215
JEAN RADWAN                                        27 SQUIRE CT                                                                                   TOMS RIVER        NJ    08753‐2218
JEAN RAE GOEB                                      1005 CAMEO CREST LN                                                                            VALRICO           FL    33594‐7013
JEAN REESE                                         BOX 145                                                                                        WISCONSIN DELLS   WI    53965‐0145

JEAN RIDINGS SHAW                             10500 E KROEGER ROAD                                                                                CENTRALIA         MO    65240‐3983
JEAN RISIMINI                                 119 BROOKLINE AVE                                                                                   NUTLEY            NJ    07110‐2962
JEAN ROBINSON                                 9890 LAWRENCEBURG RD                                                                                HARRODSBURG       KY    40330‐8047
JEAN RODRIGUEZ CUST BENJAMIN WARREN RODRIGUEZ 3245 90TH ST APT 507                                                                                JACKSON HEIGHTS   NY    11369‐2377
UGMA TX
JEAN RODRIGUEZ CUST TIMOTHY CHARLES RODRIGUEZ 3245 90TH ST APT 507                                                                                JACKSON HEIGHTS   NY    11369‐2377
UGMA TX
JEAN ROMM ATKINSON                            9054 PINE COVE DR                                                                                   WHITMORE LAKE     MI    48189‐9475
JEAN S BRESS                                  755 CASTLEWOOD                                                                                      DEERFIELD         IL    60015‐3972
JEAN S BUCKMAN                                7015 CHURCH AVENUE                                                                                  PITTSBURGH        PA    15202‐1809
                                             09-50026-mg                  Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                               Address2             Address3          Address4          City            State Zip

JEAN S BURT CUST KERRI‐ANNE BURT UGMA NY          12459 BARRETT FARM RD                                                                           WORTON          MD    21678
JEAN S CARLSON                                    338 HUMPHREY ROAD                                                                               LAKE MARY       FL    32746‐3816
JEAN S CARLSON TR UA 03/06/02 JEAN S CARLSON      338 HUMPHREY ROAD                                                                               LAKE MARY       FL    32746
TRUST
JEAN S CROWDER & CALIE G CROWDER JT TEN           2047 ENCINO VISTA                                                                               SAN ANTONIO     TX    78259‐2431
JEAN S DEALVAREZ                                  83 ASHWOOD AVE                                                                                  SUMMIT          NJ    07901‐3819
JEAN S GALLAGHER                                  345 EDGEWOOD CT                                                                                 MOUNTAINSIDE    NJ    07092‐1914
JEAN S HAGAR                                      101 COLONY ROAD                                                                                 TAYLORS         SC    29687‐5822
JEAN S HOLTHAUSEN                                 303 WEATHERBURN DR                                                                              POWELL          OH    43065‐9112
JEAN S LEWIS                                      PO BOX 172                                                                                      BEAR CREEK      NC    27207‐0172
JEAN S MARTIN & RICHARD D MARTIN & RHONDA M       5511 MEADOWCREST LN                                                                             NASHVILLE       TN    37209‐4628
COFFELT JT TEN
JEAN S MATEER                                     8 BERYL RD                                                                                      PAOLI           PA    19301‐1702
JEAN S MONROE                                     110 COVEY LANE                                                                                  TROUTMAN        NC    28166‐9408
JEAN S MOORE                                      G 2441 VAUGHN DR                                                                                CLIO            MI    48420
JEAN S MULLER                                     1984 PIMA DRIVE                                                                                 SHERIDAN        WY    82801
JEAN S REED                                       27 LAKE FLOISE LN                                                                               WINTER HAVEN    FL    33884‐2821
JEAN S SICKLER & PATRICIA SICKLER JT TEN          325 W SCHLEIER AT APT J3                                                                        FRANKENMUTH     MI    48734
JEAN S SLOSS TR UA 10/21/91 THE JEAN S SLOSS      693 ELIZABETH ST                                                                                SOUTH ELGIN     IL    60177‐2101
REVOCABLE TRUST
JEAN S WINLAND                                    5501 BELLEFONTAINE                                                                              DAYTON          OH    45424‐4132
JEAN SAGER                                        7507 THOMPSON RD                                                                                N SYRACUSE      NY    13212‐2538
JEAN SANDOVAL                                     2475 N GORDON PL                                                                                MILWAUKEE       WI    53212‐3041
JEAN SAUSSER SUPINGER                             PO BOX 393                                                                                      REARDON         WA    99029‐0393
JEAN SCHNEIDER SCHAFER                            R 2 BOX 341                                                                                     LAMBERTON       MN    56152‐9618
JEAN SCHULLIAN                                    30242 21ST AVE SO                                                                               FEDERAL WAY     WA    98003‐4249
JEAN SCHWARTZ & LEO SCHWARTZ JT TEN               40 RUTGERS RD                                                                                   CRANFORD        NJ    07016‐1546
JEAN SCHWEIZER                                    6 AGATE AVE                                                                                     OSSINING        NY    10562‐5902
JEAN SHOBERG                                      343 S E 53RD                                                                                    PORTLAND        OR    97215‐1207
JEAN SHUMAN                                       12708 LEWIS HEIGHTS DR SW                                                                       CUMBERLAND      MD    21502‐6508
JEAN SILVESTRO                                    6 SIGNAL DR                                                                                     LANCASTER       NY    14086‐9559
JEAN SIROIS                                       7005 NW 71ST AVE                                                                                FT LAUDERDALE   FL    33321‐4941
JEAN SKINNER HARVEY                               905 PELICAN BAY DRIVE                                                                           DAYTONA BEACH   FL    32119‐1363
JEAN SMITH SAMPSON                                3348 EASTON AVENUE SUITE 4                                                                      BETHLEHEM       PA    18020‐2800
JEAN SNEED                                        BOX 296                                                                                         LAFONTAINE      IN    46940‐0296
JEAN STEBBINS                                     2706 N 2850TH RD                                                                                MARSEILLES      IL    61341‐9524
JEAN STEPHENSON & BARBARA J BROZOSKI JT TEN       1114 WAGONER DR                                                                                 WILMINGTON      DE    19805‐1119
JEAN STOLARZ                                      59 ANDERSON AVE                                                                                 WALLINGTON      NJ    07057‐1016
JEAN STRINGFELLOW & CHARLES A STRINGFELLOW JT     401 E 74TH ST                          APT 5L                                                   NEW YORK        NY    10021‐3931
TEN
JEAN SU WENG & DOUGLAS SCOTT HOLDEN JT TEN        48 W WILDWOOD RD                                                                                SADDLE RIVER    NJ    07458‐2512

JEAN SUEY‐GIN LAU                                 1420 CAROB WAY                                                                                  MONTEBELLO      CA    90640‐6413
JEAN SUZANNE DOUTT                                718 WOODHALL DR                                                                                 WILLOW STREET   PA    17584
JEAN SYCH PATRICIA NASKI & LINDA ZADDACH JT TEN   44653 BROADMOOR CIRCLE N                                                                        NORTHVILLE      MI    48168‐8638

JEAN T BUCKNER                                    811 WINTHORNE COURT                                                                             NASHVILLE       TN    37217‐2321
JEAN T DETERS                                     7000 WEST 66TH ST                                                                               SHAWNEE MISSION KS    66202‐4143

JEAN T ELDRIDGE                                   704 JAYWOOD DR                                                                                  OLD HICKORY     TN    37138‐4246
JEAN T ESPOSITO                                   169 ADMIRAL DR                                                                                  EASTLAKE        OH    44095‐1750
JEAN T EVANS TOD DANIELLE A CARSON                640 POTTER ROAD                                                                                 FRAMINGHAM      MA    01701‐3207
JEAN T EVANS TOD KAITLIN N CARSON                 640 POTTER ROAD                                                                                 FRAMINGHAM      MA    01701‐3207
JEAN T EVANS TOD TAYLOR E CARSON                  640 POTTER ROAD                                                                                 FRAMINGHAM      MA    01701‐3207
JEAN T FRENCH                                     400 FAIRVIEW DRIVE                                                                              GREENVILLE      SC    29609‐6641
JEAN T KROEBER                                    226 ST JOHNS PL                                                                                 BROOKLYN        NY    11217‐3406
JEAN T MCARTHUR                                   4329 BRIGHTON DR                                                                                GRAND BLANC     MI    48439‐8086
JEAN T MCQUILLAN CUST ANNE T MCQUILLAN UTMA IL    1131 S SPRING AVE                                                                               LAGRANGE        IL    60525‐6602
                                           09-50026-mg                   Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                              Address2             Address3          Address4          City            State Zip

JEAN T MCQUILLAN CUST JOHN F MCQUILLAN UTMA IL    1131 S SPRING AVE                                                                              LAGRANGE        IL    60525‐6602

JEAN T MCQUILLAN CUST MATTHEW E MCQUILLAN      1131 S SPRING AVE                                                                                 LAGRANGE        IL    60525‐6602
UTMA IL
JEAN T MCQUILLAN CUST MICHAEL J MCQUILLAN UTMA 1131 S SPRING AVE                                                                                 LAGRANGE        IL    60525‐6602
IL
JEAN T MCQUILLAN CUST MOLLY M MCQUILLAN UTMA 1131 S SPRING AVE                                                                                   LAGRANGE        IL    60525‐6602
IL
JEAN T PONDS                                   6903 CLINTON RD                                                                                   UPPER DARBY     PA    19082‐5208
JEAN T WOOD                                    987 AQUA LN                                                                                       FORT MYERS      FL    33919‐1802
JEAN TERMOTTO                                  1040 COUNTRY RD #523                                                                              FLEMINGTON      NJ    08822
JEAN THEARLE                                   23 TINDERLANE                                                                                     LEVITTOWN       NY    11756‐3452
JEAN THEOFIL                                   15332 BAY HILL DR                                                                                 NORTHVILLE      MI    48167‐8474
JEAN THERIAULT                                 314 EDGEWOOD                             ROSEMERE QC                            J7A 3S6 CANADA
JEAN THORNTON LABBATE                          343 LINDEN ST                                                                                     MASSAPEQUA PARK NY    11762‐1132

JEAN THURSTON & EMERY THURSTON JT TEN         5298 CHERRY TREE CT                                                                                MECHANICSBURG   PA    17055‐8711
JEAN TRIPODI                                  1485 BUTTERFIELD CIR                                                                               NILES           OH    44446‐3577
JEAN TRUCHAN                                  5045 W REID RD                                                                                     SWARTZ CREEK    MI    48473‐9437
JEAN TSOKANIS                                 29 BUNNY LN                                                                                        MARSHFIELD      MA    02050‐2503
JEAN U SMITH                                  2521 FLOYD AVE                                                                                     RICHMOND        VA    23220‐4411
JEAN U SMITH & MISS NANCY JEAN SMITH JT TEN   1380 ANGELA DR                                                                                     PHOENIXVILLE    PA    19460‐2259
JEAN ULERY SHEFFLER                           512 MACE ST                                                                                        GREENSBURG      PA    15601‐4010
JEAN V DOWELL                                 2008 WESTKENDAL LN                                                                                 ARLINGTON       TX    76015‐1145
JEAN V LAZUR                                  3046 HOGBACK RD                                                                                    FINLEYVILLE     PA    15332‐1564
JEAN V LOONEY                                 APT 5‐D                                   2 LOUISIANA AVE                                          BRONXVILLE      NY    10708‐6208
JEAN V MATTHEWS TOD ELLEN L MATTHEWS SUBJECT 782 GORDON COURT                                                                                    DELTONA         FL    32725‐3222
TO STA TOD RULES
JEAN V PERROTT                                6314 TWIN SILD DR                                                                                  BLUE BELL       PA    19422‐0767
JEAN V ROSS & DONNA J ROSS JT TEN             4046 MURIETTA AVE                                                                                  SHERMAN OAKS    CA    91423‐4649
JEAN V SPENCE                                 307 QUEEN CHARLOTTE PL SE                 CALGARY ALBERTA AB                     T2J 4H8 CANADA
JEAN VAN LOAN                                 2580 SOUTH GILPIN STREET                                                                           DENVER          CO    80210‐5135
JEAN VIATER ROMANOWSKI & CHESTER J ROMANOWSKI 22 WHITMAN ST                                                                                      CARTERET        NJ    07008‐2315
JT TEN
JEAN W CORNELL                                399 ELM ST                                                                                         KEENE           NH    03431‐2615
JEAN W GABRIELE                               196 CARDIGAN RD                                                                                    LUTHERVILLE‐    MD    21093‐1232
                                                                                                                                                 TIMONI
JEAN W GENTILE                                    19357 ALABAMA HWY 127                                                                          ATHENS          AL    35614‐6807
JEAN W GRUNER & ERWIN R GRUNER JT TEN             8905 HENRY CLAY BLVD                                                                           CLAY            NY    13041‐9673
JEAN W LINDSAY                                    1003 GLENSIDE                                                                                  SOUTH EUCLID    OH    44121‐3443
JEAN W MAHONEY                                    5 WHITESIDE DR                                                                                 BELLEVILLE      IL    62221‐2542
JEAN W PALMER & GERALD A PALMER JT TEN            118 WESTMEATH DR                                                                               MOORE           SC    29369
JEAN W SNOW TOD JEFFREY C SNOW SUBJECT TO STA     203 NORTH GROVE ISLE CIRCLE                                                                    VERO BEACH      FL    32962
TOD RULES
JEAN W TERLIZZI                                   6035 VERDE TRL S                      APT J301                                                 BOCA RATON      FL    33433‐4489
JEAN WALLACE NARVESON & JAN NARVESON JT TEN       57 YOUNG STREET W                     WATERLOO ON                            N2L 2Z4 CANADA

JEAN WALLIS                                       8 CHARLES COUNT                       AYLMER ON                              N5H 3C8 CANADA
JEAN WHALEN                                       2711 NUTMEG PL                                                                                 SAN DIEGO       CA    92104‐5012
JEAN WHEATLEY FARRELL                             5530 MAIN ST                                                                                   TRUMBULL        CT    06611
JEAN WHIDDEN                                      APT 5F                                1880 PALMER AVE                                          LARCHMONT       NY    10538‐3039
JEAN WILLIAMS                                     298 BARNSTABLE DRIVE                                                                           WYCKOFF         NJ    07481‐2149
JEAN WILLIAMS CERVANTES                           401 OAKWOOD ST                                                                                 MONTEBELLO      CA    90640‐6453
JEAN WILLIAMS PEARSON                             514 DOUGLAS ST                                                                                 ANOKA           MN    55303‐2031
JEAN WILSON STOCKFLETH SUCCESSOR TR UA 07/19/84   PO BOX 604                                                                                     AMHERST         NH    03031‐0604
M/B ALFRED STOCKFLETH
JEAN WYSOCKI TR JEAN WYSOCKI REVOCABLE LIVING     262 CARPENTER AVE                                                                              GRAND RAPIDS    MI    49504‐5803
TRUST UA 07/16/98
                                               09-50026-mg             Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
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Name                                               Address1                           Address2                   Address3       Address4          City              State Zip

JEAN Y DONNELLY TR JEAN Y DONNELLY TRUST UA        13479 DRAYTON DR                                                                               SPRING HILL       FL    34609‐4444
11/01/96
JEAN Y JEAKLE TR JEAN Y JEAKLE TRUST UA 04/29/97   1130 JEFFERSON                                                                                 LAPEER            MI    48446‐1316

JEAN YOKAS                                         17 MT PLEASANT DR                                                                              PEABODY           MA    01960‐1528
JEAN YONTZ                                         527 ARCHER DRIVE                                                                               SPRINGFIELD       OH    45503‐1280
JEAN‐CLAUD MOSCONI                                 22 AVENUE EMILE ZOLA               PARIS                                     75015 FRANCE
JEAN‐DENIS LACHAPELLE                              816 STANFORD CIR                                                                               ROCHESTER HILLS   MI    48309‐2332
JEAN‐FRANCOI GRAVEL                                8 DE ST TROPEZ                     GATINEAU QC                               J8T 6C8 CANADA
JEAN‐GUY FORTIN                                    1215 CHATEAUNEUF DU PAPE           QUEBEC QC                                 G3E 1Y6 CANADA
JEAN‐GUY FORTIN                                    1215 CHATEAUNEUF DU PAPE           QUEBEC QC                                 G3E 1Y6 CANADA
JEAN‐GUY JOLY                                      255 SERAPHIN                       CONDO UNIT # 20            STE ADELE QC   J0R 1L0 CANADA
JEAN‐LOUIS C DESPRES                               P O BOX 426                                                                                    WARE              MA    01082
JEAN‐MARC GALES                                    ADAM OPEL AG                       ADAM OPEL HAUS IPC A4‐03   RUSSELSHEIM    GERMANY
JEAN‐MARC P LECLERC                                3 OVERLORD ST                      WHITBY ON                                 L1N 8S2 CANADA
JEAN‐MICHEL JULIANO                                4 RICHARD CT                                                                                   LINCOLN PARK      NJ    07035
JEAN‐PIERRE BLANCHARD                              30 FRENCH ST 1                                                                                 QUINCY            MA    02171‐3028
JEAN‐PIERRE GONTRAM                                3 RUE DE LA CHAPELLE               67 640 FEGERSHEIM                         FRANCE
JEAN‐YVES LOUBERT                                  15 CHEMIN BAYON                    LORRAINE QC                               J6Z 3W4 CANADA
JEANA GRAGNANI                                     649 DARIEN WAY                                                                                 SAN FRANCISCO     CA    94127
JEANANNE WRIGHT                                    1152 E 4TH AVE                                                                                 LONGMONT          CO    80501‐5203
JEANE C PICKETT & REBECCA ANN PICKETT JT TEN       900 EDGEWEED SE                                                                                NORTH CANTON      OH    44720‐3228
JEANE M KNIPPEL & ROBERT J KNIPPEL JT TEN          1360 S SANDAL                                                                                  MESA              AZ    85206‐6738
JEANE M SHOEMAKER                                  3380 TITANIC CIR                                                                               INDIALANTIC       FL    32903‐1868
JEANE P BAICY                                      5214 GLENHOPE CT                                                                               CARY              NC    27511‐3889
JEANE P RICHARDSON                                 7104 HARRIS DR                                                                                 MORRISSVILLE      PA    19067‐5148
JEANEAN CHAPMAN                                    13023 LOCKMOOR DR                                                                              GRAND BLANC       MI    48439
JEANEEN BOWERS                                     109 HILLPINE RD                    APT 503                                                     COLUMBIA          SC    29212‐2457
JEANEL COULLIAS                                    3923 NW 23 CIR                                                                                 GAINESVILLE       FL    32605‐2682
JEANELLE L BAKER & CHARLES E BAKER JT TEN          510 WYLESWOOD                                                                                  BEREA             OH    44017‐2229
JEANETT E KUGLEY & WALTER V KUGLEY JT TEN          1294 N 550 W                                                                                   KOKOMO            IN    46901‐8395
JEANETTA D SHOULDERS                               12089 GLASTONBURY                                                                              DETROIT           MI    48228‐1117
JEANETTA M WILSON DAVIDSON                         4601 LEI ST                                                                                    FAIR OAKS         CA    95628‐6017
JEANETTA R MOORE                                   4413 BROOKLINE CT                  APT A                                                       INDIANAPOLIS      IN    46220‐4576
JEANETTE A ALBERT                                  1032 SECOND ST                                                                                 SANDUSKY          OH    44870‐3830
JEANETTE A BELL                                    1109 CHEYENNE BLVD                                                                             BIRMINGHAM        AL    35215‐6409
JEANETTE A DEVRIES TR UA 03/03/93 JEANETTE A       150 W ST CHARLES RD #118                                                                       LOMBARD           IL    60148‐2276
DEVRIES TRUST
JEANETTE A GAUTHIER                                7011 MM.5 LN RD                                                                                GARDEN            MI    49835‐9721
JEANETTE A HARBESON                                185 N PENNSVILLE‐AUBURN RD                                                                     PENNS GROVE       NJ    08069
JEANETTE A HARPER                                  3645 BIRDSONG LN                                                                               JANESVILLE        WI    53545‐8505
JEANETTE A KRAMER                                  6 RHODES AVE                                                                                   WEST CHESTER      PA    19382
JEANETTE A OAKES                                   703 N 3RD AVE                                                                                  WINTERSET         IA    50273‐1120
JEANETTE A REED                                    PO BOX 34                                                                                      OAKWOOD           GA    30566‐0001
JEANETTE A RODERICK                                9000 US HIGHWAY 192                LOT 622                                                     CLERMONT          FL    34714‐8221
JEANETTE A SUMMERS                                 2523 E BLUEFIELD AVE                                                                           PHOENIX           AZ    85032‐8004
JEANETTE A VOZZELLA                                200 MCCORKLE RD                                                                                HERSHEY           PA    17033‐9515
JEANETTE A WHITE                                   3514 DENNY                                                                                     INDIANAPOLIS      IN    46218‐1418
JEANETTE ALMQUIST                                  24 BAYSIDE TE                                                                                  RIVERSIDE         CT    06878‐1617
JEANETTE ANN ANDERSON                              PO BOX 66                                                                                      MARTINSVILLE      OH    45146‐0066
JEANETTE ANN LOMBARDI                              PO BOX 161                                                                                     LOCKPORT          NY    14095‐0161
JEANETTE AVERILL                                   28731 GOLDEN MEADOW DRIVE                                                                      PALOS VERDES      CA    90275‐2931
JEANETTE B BENNETT                                 PO BOX 657                                                                                     MALTA             ID    83342‐0657
JEANETTE B DEGNER                                  14701 PIONEER TRAIL                                                                            EDEN PRAIRIE      MN    55347‐2640
JEANETTE BARNETT                                   5701 E 46TH ST                                                                                 INDPLS            IN    46226‐3313
JEANETTE BARNETT & CARL G BARNETT JT TEN           5701 E 46TH ST                                                                                 INDPLS            IN    46226‐3313
JEANETTE BECK                                      2106 LAKE DR                                                                                   ANDERSON          IN    46012‐1817
JEANETTE BRADLEY GROSS                             RR 3 BOX 1309                                                                                  MIFFLINTOWN       PA    17059‐9798
JEANETTE BROADIE                                   36 FRANKLIN CORNER RD                                                                          LAWRENCEVILLE     NJ    08648‐2102
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Name                                              Address1                               Address2             Address3          Address4          City               State Zip

JEANETTE C ALEXANDER TR ALEXANDER LIVING TRUST    1049 DEL HARBOUR DR                                                                             DELRAY BEACH       FL    33483‐6509
UA 10/04/00
JEANETTE C DYER                                   3730 REAGAN AVE                                                                                 KNOXVILLE          TN    37919
JEANETTE C JOHNSON‐LICON                          408 S LOCUST ST                        UB BOX 7344                                              GREENCASTLE        IN    46135‐1739
JEANETTE C LUTZE                                  3347 SHERWOOD RD                                                                                BAY CITY           MI    48706‐1527
JEANETTE C MILLER                                 PO BOX 1325                                                                                     YOUNGSTOWN         OH    44501‐1325
JEANETTE DIMOND & ROBERT L DIMOND JT TEN          2533 S SHERIDAN                                                                                 SPRINGFIELD        MO    65804‐3355
JEANETTE E ABRAHAMSO                              1631 S LADDIE CT                                                                                DAYTON             OH    45432‐2458
JEANETTE E BROWN                                  5314 KEYSTONE DR                                                                                SAN ANTONIO        TX    78229‐5231
JEANETTE E CIUPAK                                 1100 COVE DR                                                                                    PROSPECT HEIGHTS   IL    60070‐1905

JEANETTE E DUQUAINE                               798 COUNTY RD V                                                                                 FOND DU LAC        WI    54935‐6481
JEANETTE E KUGLEY                                 1294 N 550 W                                                                                    KOKOMO             IN    46901‐8395
JEANETTE E MCCURDY                                55 HILL DR                                                                                      HALIFAX            PA    17032‐9516
JEANETTE E OPALENSKY                              626 CYPRESS POINTE DR                                                                           SEVERNA PARK       MD    21146‐4100
JEANETTE E WHITELEY & THOMAS M WHITELEY JT TEN    903 HUMMINGBIRD LANE                                                                            FLORENCE           SC    29505‐3147

JEANETTE F PATTON                                 6261 NORANDA DRIVE                                                                              DAYTON             OH    45415‐2024
JEANETTE F WALLIS                                 4283 LATIFEE COURT                                                                              SWARTZ CREEK       MI    48473‐1710
JEANETTE G BRITTON CUST JERRY MAURICE BRITTON     15311 OINE ORCHARD DR APT E 2                                                                   SILVER SPRINGS     MD    20906
UGMA MD
JEANETTE G LEON                                   250 HAMMOND POND PWKY                  UNIT 1201N                                               NEWTON             MA    02467‐1558
JEANETTE GODLEWSKI & ANTHONY J GODLEFSKI JT TEN   PO BOX 1175                                                                                     BELLE MEAD         NJ    08502‐6175

JEANETTE GOGOLA                                   2613 TOLEDO                                                                                     TRENTON            MI    48183‐4717
JEANETTE GRIFFITH                                 3650 MORGAN RD                                                                                  ORION              MI    48359‐2044
JEANETTE H AYERS TR JEANETTE H AYERS TRUST UA     63 CLINTON AVE                                                                                  WAVERLY            NY    14892‐1058
09/07/00
JEANETTE H BRENDEL TR JEANETTE H BRENDEL LIVING   4206 MINNESOTA APT D                                                                            ST LOUIS           MO    63111‐1164
TRUST UA 05/25/95
JEANETTE H HARVEY TR UA 10/29/90 JEANETTE H       5148 HIGEL AVE                                                                                  SARASOTA           FL    34242‐1528
HARVEY
JEANETTE HARRINGTON MYNETT                        BOX 1981                               ASSINIBOIA SK                          S0H 0B0 CANADA
JEANETTE HUGHES                                   9168 LITTLEFIELD                                                                                DETROIT            MI    48228‐2548
JEANETTE I KOEHNE & ROBERT W KOEHNE JT TEN        11625 FOX HALL LN                                                                               FLORISSANT         MO    63033‐8131
JEANETTE J COTTON                                 3211 MEADOWCREST DR                                                                             ANDERSON           IN    46011‐2309
JEANETTE J STUEMPFLE                              1900 RAVINE RD                         BLDG A                                                   WILLIAMSPORT       PA    17701‐2070
JEANETTE J UNGER TR JEANETTE UNGER TRUST UA       5245 WELSH RD                                                                                   ROCKFORD           IL    61107‐1641
08/13/05
JEANETTE JOHNSON                                  19 FLINTSHIRE ROAD                                                                              MALVERN            PA    19355‐1107
JEANETTE JUDY CORSON                              235 NEWFIELD ST                                                                                 BUFFALO            NY    14207‐1201
JEANETTE K BUCKNER & CURTIS L BUCKNER JT TEN      RT 1 BOX 81                                                                                     LEROY              WV    25252‐9712

JEANETTE K HALL CUST WHITNEY PAIGE HALL UTMA KY   1156 APPAIN X‐ING WAY #210                                                                      LEXINGTON          KY    40517

JEANETTE K HOFFMAN                                209 LYDALE PLACE                                                                                MERIDEN            CT    06450‐6126
JEANETTE K LIDDLE                                 5345 MARIAN LANE #211                                                                           VIRGINIA BEACH     VA    23462‐1851
JEANETTE L BERTONE                                20 ROLLING RIDGE ROAD                                                                           FRANKLIN           MA    02038‐3815
JEANETTE L FUSILE & RONALD P FUSILE JT TEN        6612 PLANTATION LANE                                                                            WARRENTON          VA    20187‐9326
JEANETTE L GREENLAW TR JEANETTE L GREENLAW        360 UPHAM ST                                                                                    LAKEWOOD           CO    80226‐1625
TRUST UA 08/04/88
JEANETTE L HASTINGS                               1691 WEST BLVD                                                                                  BERKLEY            MI    48072‐2088
JEANETTE L WASCHER                                300 NORBERT                                                                                     HINSDALE           IL    60527‐7092
JEANETTE L WOODS                                  9611 E 24TH ST                                                                                  INDIANAPOLIS       IN    46229‐1258
JEANETTE LANDOWSKI                                2058 CRESTWOOD DR                                                                               CALEDONIA          WI    53108‐9773
JEANETTE LIGON                                    3002 MICHEAL                                                                                    WYOMING            MI    49509‐2760
JEANETTE M AINSCOUGH                              10200 BARAGAKE                                                                                  TAYLOR             MI    48180‐3731
JEANETTE M ALLIS                                  11073 HENDERSON ROAD                                                                            OTISVILLE          MI    48463‐9727
JEANETTE M ALSTON                                 218 WINDRIDGE ACRES CT                                                                          SILVER SPRING      MD    20905‐5638
                                            09-50026-mg                  Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                               Address2             Address3          Address4          City              State Zip

JEANETTE M BEST                                  321 BROCKWAY PL                                                                                 SAGINAW          MI     48602‐2641
JEANETTE M BROCK & ROBERT D BROCK JT TEN         5865 AUGUSTA LN                                                                                 GRAND BLANC      MI     48439‐9472
JEANETTE M BRYAN                                 PO BOX 642                             WRIGHT BROS BR                                           DAYTON           OH     45409‐0642
JEANETTE M CLARK                                 201 NATIONAL AVENUE                                                                             LANGHORNE        PA     19047
JEANETTE M DOMOL CUST LISA M DOMOL UGMA MI       33873 HARLAN DRIVE                                                                              FARMINGTON HILLS MI     48331‐3643

JEANETTE M DUBOSE TR UA 04/15/91 M‐B JEANETTE M 8949 BRENTWOOD                                                                                   LIVONIA           MI    48150‐4022
DUBOSE
JEANETTE M FOX                                  639 W ASHBY AVE                                                                                  GLENOLDEN         PA    19036‐1714
JEANETTE M GRAHAM & RICHARD L GRAHAM JT TEN     3252 NANCY AVE                                                                                   MIMS              FL    32754‐3123

JEANETTE M HALUSKA                               10712 S KOLMAR                                                                                  OAKLAWN           IL    60453‐5349
JEANETTE M JOHNSON & DARRYL F JOHNSON JT TEN     2111 HEASLEY RD                                                                                 ENGLEWOOD         FL    34223‐6232

JEANETTE M LANDRAM                               1785 SUNRISE DR                                                                                 CARO              MI    48723
JEANETTE M MACDONALD TR UA 11/11/1993 JEANETTE   1148 TUMBLEWEED COURT                                                                           FLINT             MI    48532
M MACDONALD TRUST
JEANETTE M STONE                                 28600 DIXBORO                                                                                   S LYON           MI     48178‐9251
JEANETTE M SWOL                                  RR 2 BOX 328                                                                                    HATTON           ND     58240
JEANETTE M TAORMINO                              907 E RUSSELL RD                                                                                JANESVILLE       WI     53545‐9580
JEANETTE M TUCKER                                5009 DECKERVILLE R6                                                                             LUPTON           MI     48635‐8731
JEANETTE M VAUGHAN                               1130 LAKE MEADOW LN                                                                             BRUNS VICK       OH     44212‐5304
JEANETTE M WALKE                                 105 W 39TH STREET                      APT 409                                                  BALTIMORE        MD     21210‐3329
JEANETTE M WILSON                                96030 SEA WINDS DR                                                                              FERNANDINA BEACH FL     32034‐8500

JEANETTE MANETTA‐PHILLIPS                        7630 COTTONWOOD                                                                                 RICHMOND          MI    49083‐9748
JEANETTE MARIE ASHLEY                            361 YORKFIELD                                                                                   ELMHURST          IL    60126‐5305
JEANETTE MEISTER                                 10809 S MASON                                                                                   CHICAGO RIDGE     IL    60415‐2235
JEANETTE MERIE JORDON                            1718 W PIERSON RD                                                                               FLINT             MI    48504‐1928
JEANETTE MIGNELLA                                1311 W HILLARDSTON RD                                                                           NASHVILLE         NC    27856‐8055
JEANETTE MILLER                                  8570 OLD TOWNE WAY                                                                              BOCA ROTON        FL    33433‐6202
JEANETTE N MARRANDETTE & ANNEMARIE HERNDON       104 DUDLEY ST                                                                                   MARLBORO          MA    01752‐1879
JT TEN
JEANETTE N MARRANDETTE & MARY F KUHN JT TEN      104 DUDLEY ST                                                                                   MARLBORO          MA    01752‐1879

JEANETTE N MARRANDETTE & PHILIP H MARRANDETTE 104 DUDLEY ST                                                                                      MARLBORO          MA    01752‐1879
JT TEN
JEANETTE NEITZEL                                  10310 VILLAGE CIRCLE DR               APT 304                                                  PALOS PARK        IL    60464‐3600
JEANETTE OLSON                                    13073 30TH AVE SE                                                                              GRANITE FALLS     MN    56241
JEANETTE P HARDEN                                 626 E MCINTOSH RD                                                                              GRIFFIN           GA    30223‐1249
JEANETTE P THOMAS                                 6485 SALINE DR                                                                                 WATERFORD         MI    48329‐1377
JEANETTE PHILLIPS                                 PO BOX 34                                                                                      SWEETWATER        AL    36782‐0034
JEANETTE POWELL                                   15631 W DESERT SPOON WAY                                                                       SURPRISE          AZ    85374
JEANETTE PRINCE                                   7810 PIEDMONT                                                                                  DETROIT           MI    48228‐4518
JEANETTE PSAROS TR UA 07/17/2009 JEANETTE PSAROS 28 STRAWBERRY LN                                                                                LAKEWOOD          NJ    08701
TRUST
JEANETTE R CRUTCHFIELD & WILLIAM D CRUTCHFIELD JR 3424 FARNSWORTH RD                                                                             LAPEER            MI    48446
JT TEN
JEANETTE R KLIMA‐BUCHKO                           933 BRAD STREET                                                                                LANSING           MI    48911‐4828
JEANETTE R LINDSEY                                7472 SPRINGBROOK COURT                                                                         SWARTZ CREEK      MI    48473‐1700
JEANETTE R SMITH                                  2821 OLD COLLARD VALLEY RD                                                                     CEDARTOWN         GA    30125‐4521
JEANETTE RIGIERO                                  2831 BRIDGESIDE DR                                                                             CALEDONIA         MI    49316‐8926
JEANETTE S CUNNINGHAM                             PO BOX 226                                                                                     MANNINGTON        WV    26582‐0226
JEANETTE S DUNN                                   3706 EDGAR                                                                                     ROYAL OAK         MI    48073
JEANETTE S KAZMAN                                 53292 PINERIDGE DR                                                                             CHESTERFIELD      MI    48051‐2746
JEANETTE S LEDERER                                5637 NW 120TH AVE                                                                              CORAL SPRINGS     FL    33076‐3623
JEANETTE S LOEHR                                  97 COMLY RD                                                                                    LINCOLN PK        NJ    07035‐1364
JEANETTE S TATE                                   4029 FLINTRIDGE ROAD                                                                           RICHMOND          VA    23235‐6036
JEANETTE S VAN OOSTERWYK                          3100 NORTH DR                                                                                  ST CLAIR SHORES   MI    48082‐3043
                                               09-50026-mg             Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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JEANETTE SAUCIER BRIDGES & GARY SCOTT BRIDGES JT PO BOX 280                                                                                    HADDON HGTS        NJ    08035‐0280
TEN
JEANETTE SCHEFFLER                               1459 MINER CIRCLE                                                                             ENDICOTT           NY    13760
JEANETTE SCHULER CUST JONATHAN M SCHULER UGMA 2389 WINDINGBROOK CIRCLE                                                                         BLOOMINGTON        IN    47401‐4376
IN
JEANETTE SHARPE                                  19665 MIDWAY                                                                                  SOUTHFIELD         MI    48075‐7321
JEANETTE SHIFFLET                                820 HEDWICK ST                                                                                NEW CARLISLE       OH    45344‐2619
JEANETTE SKIPINSKI & ROBERT SKIPINSKI JT TEN     950 ROCHESTER ROAD                   BOX 121                                                  LAKEVILLE          MI    48366‐0121
JEANETTE SMITH                                   8033 CURT                                                                                     DETROIT            MI    48213‐2343
JEANETTE SMITH SHOCK                             RR 1 BOX 101‐A                                                                                SMITHFIELD         WV    26437‐9714
JEANETTE SULLIVAN                                46073 AMESBURY                                                                                PLYMOUTH           MI    48170‐3033
JEANETTE SUTOR TURNER                            20910 BANDERA ST                                                                              WOODLAND HILLS     CA    91364‐4503

JEANETTE T BALDWIN                               2121 N OCEAN BLVD                                                                             BOCA RATON         FL    33431‐7828
JEANETTE T WATSON                                132 LINSTONE AVE                     #2                                                       NEW CASTLE         DE    19720‐2027
JEANETTE TOFIL                                   208 STRUTHERS LIBERTY RD                                                                      CAMPBELL           OH    44405‐1967
JEANETTE V MARX                                  225 W 14TH MILE RD APT 208                                                                    CLAWSON            MI    48017‐1924
JEANETTE V MATNEY                                4173 MISSION TRACE BL                                                                         TALLAHASSEE        FL    32303‐1739
JEANETTE WILLIAMS                                3617 ENDSLEY PL                                                                               UPPER MARLBORO     MD    20772‐3233

JEANETTE WILLIAMS                                3617 ENDSLEY PL                                                                               UPPER MARLBORO     MD    20772‐3233

JEANETTE YAFTEK                                  164 B FAY ST                                                                                  EDISON             NJ    08837‐3322
JEANICE GERLIKOVSKI                              3800 SW BLVD                                                                                  FORT WORTH         TX    76116
JEANICE M HOWARD                                 8765 NILESVILLE RD                                                                            LE ROY             NY    14482‐9302
JEANIE C NIPPA                                   7262 HOPEWELL COURT                                                                           DUBLIN             OH    43017
JEANIE G WOBSER                                  1219 E PERKINS AVE                   APT G2                                                   SANDUSKY           OH    44870‐5037
JEANIE HEADRICK                                  1782 GREYLEAF LANE                                                                            DACULA             GA    30019‐2561
JEANIE HOEF U/GDNSHP ANNA M HOEF                 APT I                                5312 N J                                                 FAIRVIEW HEIGHTS   IL    62208

JEANIE L RUNNING                                 3210 LAWNDALE RD                                                                              ROANOKE            VA    24018‐3112
JEANIE M FERRENT & LEONARD M FERRENT IV JT TEN   3289 JUNEAU ROAD                                                                              PUNXSUTAWNEY       PA    15767‐7301

JEANIE M FERRENT & MCKENZIE J FERRENT JT TEN     3289 JUNEAU ROAD                                                                              PUNXSUTAWNEY       PA    15767‐7301
JEANIE MC COY                                    654 NORTH WEST RD                                                                             LOMBARD            IL    60148‐1547
JEANIE R BUFFINGTON                              3243 S 182ND ST                                                                               SEATAC             WA    98188‐4945
JEANIE R SARGENT                                 2 PRISCILLA LANE                                                                              LOCKPORT           NY    14094‐3313
JEANIE S MCCOY TR JEANIE S MCCOY TRUST UA        654 NO WEST RD                                                                                LOMBARD            IL    60148‐1547
09/19/02
JEANINE CUTLER                                   231 LAKESHORE DR                                                                              FAIR PLAY          SC    29643‐2747
JEANINE E DE CASTRO                              2614 TRAFFORD                                                                                 ROYAL OAK          MI    48073‐2907
JEANINE GAVIN & L UAN D CAMP JT TEN              9820 EL MS TERRACE                                                                            DES PLAINES        IL    60016‐1554
JEANINE I HANSON                                 4580 HOGAN LANE                                                                               WADSWORTH          IL    60083
JEANINE K BURKE                                  10216 OAK RD                                                                                  MILLINGTON         MI    48746‐9332
JEANINE KENNEDY                                  762 HUNTERS LANE                                                                              LOGANVILLE         GA    30052
JEANINE L LINDNER                                1354 DARLINGTON CIR                                                                           SALINE             MI    48176‐9279
JEANINE LOEHR                                    6655 HEMPSTEAD ROAD                                                                           WESTERVILLE        OH    43081‐3611
JEANINE M BROWN                                  809 ROXHOLLY LN                                                                               BUFORD             GA    30518
JEANINE M OCONNOR                                10210 WINWOOD DR                                                                              SAINT LOUIS        MO    63124‐1234
JEANINE MARIE SICKEN                             1479 MILL PARK DRIVE                                                                          MARYSVILLE         OH    43040
JEANINE MARVIN PRICE                             102 WALNUT ST                                                                                 WALTERBORO         SC    29488‐4451
JEANINE REYES                                    24617 MARLBORO DR                                                                             DAMASCUS           MD    20872‐2244
JEANINE REYNOLDS                                 530 REYNOLDS DR TRLR 117                                                                      CHARLESTON         IL    61920‐1355
JEANINE S WARREN                                 PO BOX 559                                                                                    NEWTON FALLS       OH    44444‐0559
JEANINE SUZANNE FRUIN                            682 COLLEGE GARDEN DR                                                                         KUTZTOWN           PA    19530‐1014
JEANINE SZKILNIAK                                44 HERNSHAW CRESCENT                 ETOBICOKE ON                           M9C 3M4 CANADA
JEANINE WACKERMAN                                270 STEPPING STONE DR                                                                         ALPHARETTA         GA    30004‐4007
JEANITA C CAMM                                   ST MOOR FARM                         1518 HIGH PEAK RD                                        MONROE             VA    24574‐2158
JEANNA K ANDERSON                                905 VAN BUREN ST                                                                              FORT ATKINSON      WI    53538‐1667
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Name                                             Address1                              Address2             Address3          Address4          City              State Zip

JEANNE A BECHER & DONNA JEAN SMITH JT TEN        944 SARA CT                                                                                    SUNNYVALE         CA    94086‐5981
JEANNE A BLAIR                                   73150 SAN NICHOLAS DRIVE                                                                       PALM DESERT       CA    92260‐2840
JEANNE A BOYLAN                                  906 DARLENE AVE                                                                                WANAMASSA         NJ    07712‐4123
JEANNE A BRADFORD                                8523 SOUTH MARITIME PLACE                                                                      TUCSON            AZ    85756
JEANNE A BRUMFIELD                               3224 HAMILTON PLACE                                                                            ANDERSON          IN    46013‐5264
JEANNE A BUHL & DAVID V BUHL JT TEN              31900 EASTLADY DR                                                                              BEVERLY HILLS     MI    48025
JEANNE A COLEMAN                                 6262 MARROWBACK ROAD                                                                           CONESUS           NY    14435‐9568
JEANNE A COPP                                    3325 DOGWOOD                                                                                   BEAUMONT          TX    77703‐2627
JEANNE A CRONE                                   5488 VONDERHAAR CT                                                                             FAIRFIELD         OH    45014‐3554
JEANNE A DARBINIAN                               1438 FILBERT ST                       APT 201                                                  SAN FRANCISCO     CA    94109‐1683
JEANNE A KERBY                                   1124 CEDAR HILL DR                                                                             ROYAL OAK         MI    48067‐1205
JEANNE A LAMB                                    500 BAYONNE DRIVE                                                                              VANDALIA          OH    45377‐2506
JEANNE A MAXEY                                   150 BEE BRANCH                                                                                 BRANCHLAND        WV    25506‐9757
JEANNE A MENGE                                   POST BOX 58                                                                                    SOUTH WALES       NY    14139‐0058
JEANNE A PERCESEPE                               7 ALVIN CT                                                                                     POUGHKEEPSIE      NY    12603‐6126
JEANNE A RYAN                                    HC 80 BOX 230                                                                                  CAMDENTON         MO    65020‐8608
JEANNE A SCOTT & WILLIAM R SCOTT JT TEN          7600 GOLDEN VALLEY RD                 #312                                                     GOLDEN VALLEY     MN    55427‐4558
JEANNE A THOMPSON                                5505 N KENDALL DR                                                                              MIAMI             FL    33156‐2129
JEANNE A VALENTINO                               12650 SUNNYDALE DR                                                                             WEST PALM BEACH   FL    33414‐6294

JEANNE ANN HESS                                  477 AINSWORTH CIRCLE                                                                           LADY LAKE         FL    32162
JEANNE ANN THOMAS                                128 S CENTER ST                                                                                FRACKVILLE        PA    17931‐1604
JEANNE ANNETTE PFEIFFER & NANCY A MORSE JT TEN   501 SPRING LANE                                                                                FLUSHING          MI    48433‐1928

JEANNE ANTOINETTE SMITH                          3723 E 116TH ST                                                                                CARMEL            IN    46033‐3378
JEANNE ARMOUR                                    3223 SW 51 TERR                                                                                OCALA             FL    34474‐9406
JEANNE AUSTIN                                    3676 LIBBY LN                                                                                  YUBA CITY         CA    95993‐9119
JEANNE B BRAINARD                                2462 EAST MORELOS STREET                                                                       CHANDLER          AZ    85225‐2383
JEANNE B BURKS                                   420 CROSSFIELD DRIVE                                                                           TULLAHOMA         TN    37388‐2110
JEANNE B COFFRON                                 2529 SELWYN AVE                                                                                CHARLOTTE         NC    28209‐1605
JEANNE B DAY                                     8479 NORTH COUNTY RD 400 W                                                                     MIDDLETOWN        IN    47356‐9467
JEANNE B HAASE                                   1810 SHERWOOD DR                                                                               BELOIT            WI    53511‐5658
JEANNE B HOLMES                                  9 WARREN ST                                                                                    SAINT PAUL        MN    55119
JEANNE B PATTON                                  1464 KEYSTONE COURT                                                                            ST CHARLES        MO    63303‐1616
JEANNE B SHEILS                                  322 HERON PT                                                                                   TINTON FALLS      NJ    07753‐7780
JEANNE B THIGPEN                                 5109 NELSON COURT                                                                              FORT COLLINS      CO    80528‐8800
JEANNE B TILTON                                  966 BETHLEHEM                                                                                  HOUSTON           TX    77018‐1413
JEANNE BERNHARDT                                 71‐36 110TH ST                                                                                 FOREST HILLS      NY    11375‐4852
JEANNE BILBO                                     501 EDGERTON ST                       APT L5                                                   MINOA             NY    13116‐1436
JEANNE BLEAHU                                    13026 CAMINITO BRACHO                                                                          SAN DIEGO         CA    92128‐1808
JEANNE BUJNAK                                    10090 BEACONEFIELD                                                                             PARMA HEIGHTS     OH    44130‐2011
JEANNE BURCKELL MAC DONALD                       211 CARRIAGE DR                                                                                STONEVILLE        NC    27048‐8408
JEANNE BURRELL MASTERSON                         601 BILL FRANCE BLVD                  APT 1304                                                 DAYTONA BEACH     FL    32114
JEANNE C GARNETT                                 340 DAVID ST                                                                                   SOUTH AMBOY       NJ    08879‐1730
JEANNE C HANAFEE                                 27 BROAD MOOR                                                                                  JACKSON           TN    38305‐2525
JEANNE C HUNT                                    504 LIONEL CT                                                                                  ABITA SPRINGS     LA    70420‐3006
JEANNE C JEFFERIES                               325 LEATHER LEAF LANE                                                                          LEBANON           OH    45036
JEANNE C LINEHAN TR UA 09/19/92 THE LINEHAN      69411 RAMON ROAD #920                                                                          CATHEDRAL CITY    CA    92234‐3350
FAMILY TRUST
JEANNE C LOCHTEFELD                              54 GREEN ST UNIT 311                                                                           LEOMINSTER        MA    01453‐2960
JEANNE C MATASE                                  1500 HUDSON ST                        APT 9E                                                   HOBOKEN           NJ    07030‐6748
JEANNE C MUNDY                                   340 DAVID ST                                                                                   SOUTH AMBOY       NJ    08879‐1730
JEANNE C PRENTICE TR PRENTICE CREDIT SHELTER     PO BOX 1211                                                                                    ELLICOTTVILLE     NY    14731
TRUST UA 10/15/91
JEANNE CAMERON ALBERTIN                          PO BOX 152                                                                                     ATLANTA           IL    61723‐0152
JEANNE CHEN & CHRISTINE CHEN JT TEN              24 OAK LANE                                                                                    WAYNE             NJ    07470‐3427
JEANNE CHING CHEN KUO                            600 WESTWOOD AVE                                                                               ANN ARBOR         MI    48103‐3557
JEANNE COCOS                                     1241 CENTERVILLE RD                                                                            COLUMBIA          IL    62236‐3213
JEANNE COGAN                                     17 STEVEN ROAD                                                                                 KENDALL PARK      NJ    08824
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Name                                            Address1                            Address2             Address3          Address4          City             State Zip

JEANNE CORONA                                   12663 SHERWOOD PLACE                                                                         MINNETONKA       MN    55305‐2400
JEANNE CULLINAN RAY                             17 E 89TH ST                                                                                 NEW YORK         NY    10128‐0615
JEANNE D BROAD                                  194 CHARLEVOIX                                                                               GRSSE PNT FMS    MI    48236‐3545
JEANNE D FORTE                                  5254 LOUGHBORO RD NW                                                                         WASH             DC    20016‐2634
JEANNE D GIBSON                                 5705 ALLISON WOOD COURT                                                                      HIRAM            GA    30141
JEANNE D HARRIS                                 ATT JEANNE ANDERSON                 406 HAWICK LN                                            KNOXVILLE        TN    37924‐3851
JEANNE D MILLER                                 50 VERSTREET DR                                                                              ROCHESTER        NY    14616‐4102
JEANNE D PEJEAU & DIANE J LONG JT TEN           9809 ASHBURTON LN                                                                            BETHESDA         MD    20817‐1723
JEANNE D RIEHL                                  3008 SEMINOLE DRIVE                                                                          JEFFERSONVILLE   IN    47130‐5805
JEANNE D STUPIN                                 7425 CHURCH ST                                                                               YUCCA VALLEY     CA    92284‐3257
JEANNE D TROUT TR JEANNE D TROUT TRUST UA       111 W WASHINGTON                                                                             PALATINE         IL    60067‐6145
09/22/99
JEANNE D WILSON                                 4115 BIRCH DR                                                                                HONOR            MI    49640‐9753
JEANNE DAUKSHER                                 114 INWOOD AVE                                                                               POINT LOOKOUT    NY    11569
JEANNE DAVIS CALLAHAN                           805 DENMAN AVE                                                                               COSHOCTON        OH    43812‐2530
JEANNE DECOCKER                                 1502 BUCHOLTZ HIGHWAY                                                                        DEERFIELD        MI    49238‐9506
JEANNE E BOOHER                                 1589 DISC DR                                                                                 SPARKS           NV    89436‐4600
JEANNE E BOOHER & HOWARD E BOOHER TR U‐A WITH   1589 DISC DR                                                                                 SPARKS           NV    89436‐4600
JEANNE E BOOHER 9/30/80
JEANNE E CONVERY                                362 E CROOKED HILL RD                                                                        PEARL RIVER      NY    10965‐1173
JEANNE E CORK                                   525 W AVENUE J15                                                                             LANCASTER        CA    93534‐4963
JEANNE E GAGE                                   3441 WENDOVER RD                                                                             TROY             MI    48084‐1259
JEANNE E HOLMES                                 21696 NOONAN CRT                                                                             CUPERTINO        CA    95014
JEANNE E IMBODEN                                325 E SUMMIT ST                                                                              MILFORD          MI    48381‐1674
JEANNE E MASPERO & JANET L MASPERO JT TEN       432 S BORDER RD                                                                              WINCHESTER       MA    01890‐3138
JEANNE E MIRLIANI & SAMUEL N MIRLIANI JT TEN    26 MAPLE RIDGE DRIVE                                                                         FARMINGTON       CT    06032‐2603
JEANNE E MOORE                                  532 ATHENS PL                                                                                WESTFIELD        IN    46074
JEANNE E SHOCKLEY                               3951 W 100N                                                                                  KOKOMO           IN    46901‐3891
JEANNE E WEBSTER BADER                          PO BOX 921                                                                                   FRANKLIN         KY    42135‐0921
JEANNE E WHAM                                   PO BOX 34                                                                                    CHAPPAQUA        NY    10514‐0034
JEANNE E WHITE                                  9269 SILVER LAKE DR                                                                          LEESBURG         FL    34788‐3415
JEANNE E Z ARCHIBALD                            76 EAST WASHINGTON AVE                                                                       ATLANTIC         NJ    07716‐1324
                                                                                                                                             HIGHLAND
JEANNE EAKINS                                   560 PIERCE DR                                                                                BOARDMAN         OH    44511‐3754
JEANNE EILEEN DOWNS                             C/O JEANNE EILEEN DOWNS GIOVENCO    204 MAIN ST                                              SAYERVILLE       NJ    08872‐1169
JEANNE F HAYDEN                                 1404 JEFFREY DR                                                                              ANDERSON         IN    46011‐1579
JEANNE F JENKINS                                571 E LAKE DR 58                                                                             MARIETTA         GA    30062‐3874
JEANNE F NEARY                                  367 RAY ST                                                                                   FREEPORT         NY    11520‐5434
JEANNE F NOEL TR JEANNE F NOEL REVOCABLE LIVING 388 RUSSELL AVENUE                                                                           GAITHERSBURG     MD    20877‐2863
TRUST UA 06/28/02
JEANNE F WHITE                                  9010 MADGE                                                                                   BRENTWOOD        MO    63144‐2230
JEANNE F WHITE & NORMAN C NELSON JT TEN         9010 MADGE                                                                                   ST LOUIS         MO    63144‐2230
JEANNE F WIGLUSZ                                286 OAKRIDGE AVE                                                                             KENMORE          NY    14217‐1165
JEANNE FABIAN                                   7734 AUSTIN ST                      APT 4M                                                   FOREST HILLS     NY    11375‐6930
JEANNE FISHMAN                                  13101 DARTMOUTH                                                                              OAK PARK         MI    48237‐1631
JEANNE FITZSIMMONS                              120 W JACKSON AVE S                                                                          SAPULPA          OK    74066‐5514
JEANNE FLOWERS                                  3919 PETERS CREEK DR                                                                         STUART           VA    24171‐3537
JEANNE FRANCES DOTSON                           2606 N RIVER DR                                                                              MOORHEAD         MN    56560‐1427
JEANNE G MCLAREN                                4105 THOMASOWRD                                                                              AHARPSVILLE      PA    16150‐9247
JEANNE G OTTENHEIMER & MINNA M CULINER & JILL M 2016 BURDOCK RD                                                                              BALTIMORE        MD    21209‐1043
CULINER JT TEN
JEANNE G SHEA                                   180 COREY RD                        APT 128                                                  BRIGHTON         MA    02135‐8240
JEANNE G WHELAN                                 55 BUCKBOARD DR                                                                              WESTFORD         MA    01886‐2752
JEANNE GOEHLER                                  219 COVE DRIVE                                                                               FLOSSMOOR        IL    60422‐1911
JEANNE GRAVER CARNAHAN                          300 JONQUIL PLACE                                                                            PITTSBURGH       PA    15228‐2514
JEANNE H CAREY                                  2301 DOVER ST                                                                                ANDERSON         IN    46013‐3125
JEANNE H FULKS                                  3102 WILL‐MIL TERRACE                                                                        MONROVIA         MD    21770‐8733
JEANNE H FULKS & THOMAS I FULKS JR JT TEN       3102 WILL‐MIL TERRACE                                                                        MONROVIA         MD    21770‐8733
JEANNE H GOUDEAUX                               156 WOODSHADE DR                                                                             NEWARK           DE    19702‐1421
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Name                                              Address1                              Address2                      Address3         Address4          City              State Zip

JEANNE H MEISSE                                   2700 BELL RD                                                                                           MANSFIELD         OH    44904‐9712
JEANNE H READ                                     2029 MEADOWBROOK DR SW                                                                                 CONYERS           GA    30094‐5741
JEANNE HELOISE LIND KING                          C/O STEPHEN N CHESTNUT                1413 CHARTRES STREET STE A                                       NEW ORLEAN        LA    70116‐2057
JEANNE HOF WERTH                                  66 REDWOOD RD                                                                                          ASHEVILLE         NC    28804‐2634
JEANNE I PARKER                                   2190 HASLET RD                                                                                         WILLIAMSTON       MI    48895‐9624
JEANNE IBURG                                      270 NASHEEA ROAD                                                                                       GROTTON           MA    01450‐1015
JEANNE ISEMAN                                     15813 BUENA VISTA DR                                                                                   DERWOOD           MD    20855‐2659
JEANNE J COOK                                     C/O EVAN A GILL                       765 WEYBURN PL APT C03                                           LOS ANGELES       CA    90024
JEANNE J DEMING                                   PO BOX 1212                                                                                            FLINT             MI    48501‐1212
JEANNE J TAYLOR                                   7505 RIVER RD APT 5E                                                                                   NEWPORT NEWS      VA    23607
JEANNE JAY                                        6116 MINT SPRINGS DR                                                                                   WARRENTON         VA    20187‐4485
JEANNE JEFFERY MARQUITZ TR UW OF VERA H JEFFERY   215 HERITAGE POINT DR                                                                                  EDENTON           NC    27932‐8044

JEANNE JENNINGS TAYLOR & JEANNE TAYLOR POPOVITS 1432 E PURDUE AVE                                                                                        PHOENIX           AZ    85020‐2244
JT TEN
JEANNE K FRANZEN                                BOX 151                                                                                                  HARPERS FERRY     WV    25425‐0151
JEANNE K HOOVER‐KITZMAN                         66 VISTA DEL OCASO                                                                                       RANCHOS DE TAOS   NM    87557

JEANNE K LEBWICK TR JEANNE LEBWICK LIVING TRUST   12388 FAIRWAY PTE ROW                                                                                  SANDIEGO          CA    92128‐3232
UA 7/29/98
JEANNE K MANTEY                                   4195 ST ANDREWS                                                                                        HOWELL            MI    48843‐7467
JEANNE K TARCHALSKI                               2114 GREENVIEW DR                                                                                      ADRIAN            MI    49221‐3617
JEANNE K TARCHALSKI TR UA 11/21/06 JOSEPH M       2318 MT ROYAL AVE                                                                                      WATERFORD         MI    48328
TARCHALSKI IRREV TRUST
JEANNE K ZANE                                     139 GOODBAR COURT                                                                                      HERSHEY           PA    17033‐1766
JEANNE KALIVODA                                   4133 KEYSTONE AVENUE                                                                                   CULVER CITY       CA    90232‐3432
JEANNE KING                                       1010 PARK DR                                                                                           PARK HILLS        KY    41011‐1919
JEANNE KINSLEY                                    10405 SW 92ND CT                                                                                       OCALA             FL    34481‐9515
JEANNE KIRKLAND TR                                UA 05/01/1982                         EUGENE BRENT KIRKLAND TRUST   6464 MUNGER RD                     DAYTON            OH    45459
JEANNE L BARBEE                                   6950 BORROR RD                                                                                         ORIENT            OH    43146‐9522
JEANNE L BATTERSBY & ROBERT J BATTERSBY JT TEN    2585 ANDLER RD                                                                                         PLACERVILLE       CA    95667

JEANNE L BAUSMITH                                 87 JEFFERSON AVE                                                                                       MAPLEWOOD        NJ     07040‐1228
JEANNE L BECKER                                   PO BOX 545                                                                                             MEDINA           OH     44258‐0545
JEANNE L BEESLEY                                  ANGLING RD                                                                                             AURORA           NY     13026
JEANNE L DERWAE                                   C/O JEANNE L KOZLOWSKI                7618 W NORWOOD LANE                                              FRANKLIN         WI     53132‐9202
JEANNE L FITZPATRICK                              5827 N SEVENTH ST                                                                                      PHILADELPHIA     PA     19120‐1305
JEANNE L GALLAGHER                                2929 MILKY WAY DR                                                                                      GREEN BAY        WI     54313‐1441
JEANNE L HAAS                                     805 TURTLE CREEK RD                                                                                    PASO ROBLES      CA     93446‐3664
JEANNE L HARVEY                                   134 GREENWOOD DR                                                                                       WILLOW GROVE     PA     19090‐1650
JEANNE L JENKINS                                  8499 POINT O'WOODS                                                                                     SPRINGBORO       OH     45066‐9200
JEANNE L KOLENDA                                  3692 DEENA DR SW                                                                                       GRAND RAPIDS     MI     49544‐5802
JEANNE L LEHR                                     11 BALLAS COURT                                                                                        SAINT LOUIS      MO     63131
JEANNE L LIGIER                                   PO BOX 105                                                                                             SUPERIOR         MT     59872‐0105
JEANNE L LINDSEY                                  101 N BROWNSCHOOL RD                                                                                   VANDALIA         OH     45377‐2807
JEANNE L LUMBERT                                  3195 SODA CANYON RD                                                                                    NAPA             CA     94558‐9448
JEANNE L MASTOR                                   6861 ANGEL BLUFF CIRCLE                                                                                DALLAS           TX     75248
JEANNE L MC DONALD                                295 CLASSIC LN                                                                                         MELROSE          FL     32666‐8893
JEANNE L MCANDREW                                 7 COTTAGE ROW                                                                                          NORTH            MA     01863‐1507
                                                                                                                                                         CHELMSFORD
JEANNE L PETERSON                                 PO BOX 3957                                                                                            PARK CITY        UT     84060‐3957
JEANNE L PETRICK                                  3208 STARKWEATHER                                                                                      FLINT            MI     48506‐2620
JEANNE L POIRIER                                  PO BOX 284                                                                                             MILLVILLE        MA     01529‐0284
JEANNE L PORTER                                   1700 E 56TH ST                        APT 1607                                                         CHICAGO          IL     60637‐5082
JEANNE L VALENTINE                                C/O GEORGE W VALENTINEADM             38294 FERNHILL CT                                                CLINTON TOWNSHIP MI     48038‐3423

JEANNE LEE & ROB LEE JT TEN                       10565 PIERSON CIR                                                                                      BROOMFIELD        CO    80021‐3523
JEANNE LEEVER                                     22364 RIVER CHASE LN                                                                                   DEFIANCE          OH    43512‐6867
JEANNE LOCKE                                      8109 LOST LN                                                                                           DICKINSON         TX    77539‐3999
                                              09-50026-mg                 Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
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Name                                             Address1                                Address2              Address3           Address4          City             State Zip

JEANNE M AIELLO                                  240 S MONACO PKWY                       #602                                                       DENVER           CO    80224‐1111
JEANNE M BARRETT                                 6704 SE BROOKLYN ST                                                                                PORTLAND         OR    97206‐1951
JEANNE M BENDER                                  31 RAINIER RD                                                                                      FANWOOD          NJ    07023‐1415
JEANNE M BENNETT TR THE J FOREST OCEAN BENNETT   68‐003 A LAAU PAINA PLACE                                                                          WAIALUA          HI    96791‐9320
UA 11/19/03
JEANNE M BLONDIA                                 PO BOX 768                                                                                         RICHLAND         MI    49083‐0768
JEANNE M BUTMAN                                  29215 HEMLOCK COURT                                                                                FARMINGTON HILLS MI    48336‐2117

JEANNE M CAMAC                                   65 VANSANT RD                                                                                      NEWARK           DE    19711‐4856
JEANNE M CORNIUK                                 6076 FIRWOOD                                                                                       MENTOR           OH    44060‐2934
JEANNE M CRIBBIN                                 461 PENNSYLVANIA AVE                                                                               WILLISTON PK     NY    11596‐2332
JEANNE M DEBELAK                                 185 SENLAC HILLS DRIVE                                                                             CHAGRIN FALLS    OH    44022‐3255
JEANNE M DRENNAN                                 44640 HEATHER LN                                                                                   CANTON           MI    48187‐4437
JEANNE M DURSI                                   16801 N 49TH ST                         APT 158                                                    SCOTTSDALE       AZ    85254
JEANNE M FLINTER                                 ATTN JEANNE M FLINTER‐CARNEY            248 CHURCH ST                                              MARLBOROUGH      MA    01752‐3211
JEANNE M HALE & ELIZABETH L PARADISE JT TEN      720E M30                                                                                           GLADWIN          MI    48624‐7926
JEANNE M HANNAN                                  1000 HOLLYWOOD AVE                                                                                 GROSSEPOINTEWO   MI    48236‐1368
                                                                                                                                                    ODS
JEANNE M HANSSARD                                114 SHADY RIDGE DR                                                                                 BOERNE           TX    78006‐7890
JEANNE M HAWKE                                   39 BARBARA TER                                                                                     COLCHESTER       VT    05446‐6623
JEANNE M HITSMAN & CHARLES L HITSMAN JT TEN      3129 CRESCENT KNOLL DR                                                                             MATTHEWS         NC    28105‐2457

JEANNE M HOPPES                                  13068 NEW BRITTON DR                                                                               FISHERS          IN    46038‐1073
JEANNE M JOHANSEN                                10114 LAFFERTY OAKS DR                                                                             HOUSTON          TX    77013‐5210
JEANNE M KERWIN                                  BOX 68                                                                                             WILSON           NY    14172‐0068
JEANNE M KIRKLAND                                TR UA 02/20/1985                        ERIN BESS KIRKLAND    6464 MUNGER ROAD                     DAYTON           OH    45459
JEANNE M KIRKLAND TR UA 05/01/1982 CLEM RYAN     6464 MUNGER ROAD                                                                                   DAYTON           OH    45459
KIRKLAND TRUST
JEANNE M KOCH                                    55 COPPER BEECH LANE                                                                               WOMELSDORF       PA    19567
JEANNE M KURYLA                                  681 MILAN HOLLOW RD                                                                                RHINEBECK        NY    12572‐3140
JEANNE M LAMMERMEIER                             7290 SE 12TH CIR                                                                                   OCALA            FL    34480‐6650
JEANNE M LAWLER MARSAC TOD DAVID F MARSAC        8583 CORY DR                                                                                       DELTON           MI    49046‐8757
SUBJECT TO STA TOD RULES
JEANNE M LUDEMAN                                 2405 S COUNTRY LN                                                                                  BELOIT           WI    53511‐8438
JEANNE M MATHIEU                                 211 HAWTHORN ST                                                                                    NEW BEDFORD      MA    02740‐2251
JEANNE M MCLAUGHLIN                              12024 EAGLE KNOLL DRIVE                                                                            SELLERSBURG      IN    47172‐8608
JEANNE M MENGER TR UA 03/19/1999 JOE L MENGER    5455 RIDGE LANE                                                                                    SOLON            OH    44139
TRUST
JEANNE M METZ                                    HC 61 BOX 29                                                                                       ALLENSVILLE      PA    17002‐9604
JEANNE M METZGER                                 650 MILLBROOK RD                                                                                   RIVER EDGE       NJ    07661‐1430
JEANNE M MILICIC                                 700 WOODROW AVE                                                                                    WICKLIFFE        OH    44092‐2159
JEANNE M NALEWALSKI                              3744 LYELL RD                                                                                      ROCHESTER        NY    14606
JEANNE M NORRIS                                  10500 LAKESHORE DRIVE                                                                              FENTON           MI    48430‐2424
JEANNE M OSTROM                                  3475 N SUMMIT AVE                                                                                  MILWAUKEE        WI    53211‐2932
JEANNE M PISTOLE                                 2679 PEBBLE BEACH DRIVE                                                                            OAKLAND TWP      MI    48363‐2450
JEANNE M PRIESTER                                1820 EAST UNIVERSITY DR                                                                            AUBURN           AL    36830
JEANNE M PROKOPCHUK CUST MICHAEL R KARP UTMA     5658 MOHICAN DR                                                                                    STEVENSVILLE     MI    49127‐9643
FL
JEANNE M REGGIO CUST JAMES ALBERT REGGIO UGMA    3607 POLO RUN DR                                                                                   FLOWER MOUND     TX    75028‐8726
MI
JEANNE M REYNOLDS & VON REYNOLDS JT TEN          126 RINGLORE RD                                                                                    HENDERSON        NV    89015‐5913
JEANNE M ROMAGNOLA                               ATTN JEANNE M R ORCZYK                  103 EASTMAN EST                                            ROCHESTER        NY    14622‐1747
JEANNE M ROTHE                                   714 MARQUETTE DRIVE SW                                                                             POPLAR GROVE     IL    61065‐8950
JEANNE M ROWINSKI                                38396 JONATHAN                                                                                     CLINTON TWSP     MI    48036‐1845
JEANNE M SALTS                                   2734 VALLEYVIEW DRIVE                                                                              COLUMBUS         OH    43204‐3466
JEANNE M SAUTER                                  C/O JEANNE M SCHIAVONE                  1344 GLEN VALLEY DR                                        HOWELL           MI    48843‐6134
JEANNE M SLOUP                                   4141 BENEDICT CANYON DR                                                                            SHERMAN OAKS     CA    91423‐4319
JEANNE M TODD                                    3900 WOODMONT PARK LN                                                                              LOUISVILLE       KY    40245‐8426
JEANNE M VOLK                                    38651 TERRELL DR                                                                                   N RIDGEVILLE     OH    44039
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Name                                               Address1                             Address2                  Address3     Address4          City            State Zip

JEANNE M WATTS                                     4333 E MICHIGAN AVE                                                                           JACKSON         MI    49201‐8401
JEANNE M WEBER                                     ATTN JEANNE WEBER SCHMITT            S11125 COUNTY RD Z                                       MONDOVI         WI    54755‐3509
JEANNE M YINGER TR YINGER FAMILY TRUST UA          6231 LOCHVALE DR                                                                              RANCHO PALOS    CA    90275‐3327
8/29/96                                                                                                                                          VERDE
JEANNE MARIE CONNOR                                2580 CAMELIA POINTE DRIVE                                                                     SHERRILS FORD   NC    28673‐9137
JEANNE MARIE MORRIS                                232 NATURES LN                                                                                MILLER PLACE    NY    11764‐3150
JEANNE MARIE SHAHEEN                               2101 SYCAMORE HILLS DR                                                                        FORT WAYNE      IN    46804‐9392
JEANNE MC CORKLE CUST JASON MC CORKLE UGMA MI      489 W NEPESSING ST                                                                            LAPEER          MI    48446‐2106

JEANNE MC CORKLE CUST STEVEN J MC CORKLE UGMA 489 W NEPESSING ST                                                                                 LAPEER          MI    48446‐2106
MI
JEANNE MENDELSON                               9622 N 27TH ST                                                                                    PHOENIX         AZ    85028‐4721
JEANNE MIKUT HOBSON                            10450 ROYAL OAK DR                                                                                STRONGVILLE     OH    44136‐8808
JEANNE MOCEIKIS                                1355 MAPLE TER                                                                                    RAHWAY          NJ    07065‐3227
JEANNE MORGAN FINN                             10 WOLF LN                                                                                        BASKING RIDGE   NJ    07920‐2200
JEANNE MURRAY                                  SST MARY MANOR                           701 LANSDALE AVE APT 29                                  LANSDALE        PA    19446‐2958
JEANNE N SNOW TOD CAROLE N JOHNSTON SUBJECT TO 2834 FAIRVIEW PARKWAY                                                                             WYTHEVILLE      VA    24382‐5708
STA TOD RULES
JEANNE NEUMANN TR MOULTANE‐NEUMANN LIVING      12195 SE 135TH AVE                       # 9B                                                     OCKLAWAHA       FL    32179‐5241
TRUST UA 11/08/98
JEANNE NEWMAN                                  30 SHERRY LN                                                                                      HAMPSTEAD       NH    03841
JEANNE NOLAN                                   78 E ROGUES PATH                                                                                  HUNTINGTON      NY    11746‐2704
                                                                                                                                                 STATION
JEANNE O BUCKLEY                                   37386 CHARTER‐OAKS BLVD                                                                       CLINTON TWSP    MI    48036‐4408
JEANNE OLSEN                                       2203 MEADOW GARDENS DR                                                                        HOUSTON         TX    77062‐4713
JEANNE P BEEBE                                     9490 WEBSTER RD                                                                               CLIO            MI    48420‐8546
JEANNE P HARRIS                                    1120 CRANE DRIVE                                                                              CHERRY HILL     NJ    08003‐2821
JEANNE P SCHMIDT                                   4475 W MI STATE ROAD 36                                                                       PINCKNEY        MI    48169‐9641
JEANNE P UTEMARK                                   7819 S VALENTIA ST                                                                            ENGLEWOOD       CO    80112
JEANNE PAPSKI                                      28 LAKEVIEW ST                                                                                BLACKSTONE      MA    01504‐1930
JEANNE PEGRUM KLUMP                                6053 SOUTH KRAMERIA ST                                                                        CENTENNIAL      CO    80111‐4273
JEANNE PENCE                                       2651 E 3900 S                                                                                 SALT LAKE CTY   UT    84124‐1807
JEANNE PERRY BEHR                                  HC 61 BOX 186                                                                                 EDGARTOWN       MA    02539‐9607
JEANNE PFISTER GIBSON                              280 LAMONT RD                                                                                 FT PIERCE       FL    34947‐1538
JEANNE R ELLIS                                     4 COLTON AVE                                                                                  PLAINVILLE      CT    06062‐3134
JEANNE R GOLD TR UA 09/16/91 JEANNE R GOLD TRUST   PO BOX 142                                                                                    GRANBY          CO    80446‐0142

JEANNE R RANDALL                                   2037 CAMERON RD                                                                               HUNTSVILLE      AL    35802‐2952
JEANNE R SCHOTT                                    APT 102                              9115 W 72ND ST                                           MERRIAM         KS    66204‐1612
JEANNE RUDY                                        PO BOX 84                                                                                     DAUPHIN         PA    17018‐0084
JEANNE S ARTIS                                     12 BRUSHY HILL RD                                                                             DARIEN          CT    06820‐6007
JEANNE S HODELLA & DEBORAH BARREIRO JT TEN         8301 CHELSEA COVE N DRIVE                                                                     HOPE WILL JCT   NY    12533‐7134
JEANNE S HOPKINS & RONALD T HOPKINS JT TEN         5027 PINE VALLEY DR                                                                           FAYETTEVILLE    NY    13066‐9722
JEANNE S LENHART                                   319 DREXEL DR                                                                                 MONROEVILLE     PA    15146‐1511
JEANNE S MUNSON                                    8916 O'NEAL RD                                                                                RALEIGH         NC    27613‐7522
JEANNE S SPICER                                    190 CR 1011                                                                                   NACOGDOCHES     TX    75965‐1013
JEANNE S WARD TR JEANNE S WARD REVOCABLE TRUST     3288 GEORGIAN CT                                                                              ERIE            PA    16506‐1172
UA 05/20/96
JEANNE SCHMIT                                      PO BOX 1851                                                                                   MORGAN HILL     CA    95038‐1851
JEANNE SICILIANO                                   191 BROAD STREET                                                                              MANASQUAN       NJ    08736‐2845
JEANNE STANLEY‐BROWN                               8445 ABBINGTON CIR APT 712                                                                    NAPLES          FL    34108‐6790
JEANNE T SHAPIRO CUST NATHAN CAREY SHAPIRO         PO BOX 860                                                                                    BOLTON          MA    01740‐0860
UTMA MA
JEANNE T TAYLOR TR JEANNE T TAYLOR LIV TRUST UA    433 HOLLAND ST                                                                                MARINE CITY     MI    48039‐3425
04/17/98
JEANNE TRAFFORD                                    1061 SHAKE ROCK CT                                                                            JACKSONVILLE    FL    32221
JEANNE V BISH                                      HAMPTON VILLAGE                      1629 WOODHILL DR                                         ROSEVILLE       CA    95661‐5129
JEANNE V MOBILIO TR JEANNE V MOBILIO TRUST UA      751 SUNFLOWER ST                                                                              ENCINITAS       CA    92024‐3349
7/28/86
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Name                                                Address1                               Address2                         Address3      Address4          City             State Zip

JEANNE W COON                                       OF MIDDLE LAKE RD                      BOX 450                                                          DERUYTER         NY    13052‐0450
JEANNE W GRAEF TR UA 03/07/2000 HARRY H GRAEF III   5100 FILLMORE AVE 516                                                                                   ALEXANDRIA       VA    22311
TRUST
JEANNE W KING                                       11552 N 17 RD                                                                                           BUCKLEY          MI    49620‐9504
JEANNE W KIRBY & JAMES DANIEL WISE JT TEN           9703 CEDAR LANE                        NANTICOKE ACRES                                                  SEAFORD          DE    19973‐8621
JEANNE WARD SCHMIDT TOD RAYMOND S SCHMIDT           1108 S CEDAR                                                                                            OTTAWA           KS    66067‐3511

JEANNE WHITE HOLLOWAY                               710 ROLLINGWOOD DR                                                                                      RICHARDSON       TX    75081‐5461
JEANNE WISNIEWSKI                                   2836 CORNELL                                                                                            DEARBORN         MI    48124‐3273
JEANNE YOUNG ONEIL                                  602 RIVER HILLS DR                                                                                      TEMPLE TERRACE   FL    33617‐7228
JEANNETTA S HOLLOWAY                                1147 SPEARMAN                                                                                           FARRELL          PA    16121‐1048
JEANNETTE A BRECKENRIDGE                            2648 LINKS OVERLOOK DR                                                                                  DACULA           GA    30019‐6661
JEANNETTE A CARSON                                  ATTN JEANETTE A PETHERS                1433 N DYE ROAD                                                  FLINT            MI    48532‐2219
JEANNETTE A PASKIN & AMELIA PASKIN JT TEN           29517 CUNNINGHAM                                                                                        WARREN           MI    48092‐4205
JEANNETTE ANN SOMMER                                912 ST MARYS BLVD                                                                                       CHARLOTTE        MI    48813‐2218
JEANNETTE B DOYON                                   105 EVERGREEN AV                                                                                        TIVERTON         RI    02878
JEANNETTE BROWNER                                   PO BOX 04909                                                                                            DETROIT          MI    48204‐0909
JEANNETTE BURKLEY                                   205 MENTOR DR                                                                                           ARLINGTON        TX    76002‐5435
JEANNETTE E JOERIN                                  10275 E TWIN OAKS DR                                                                                    TRAVERSE CITY    MI    49684‐6832
JEANNETTE E KADE                                    10 ALWIN ROAD                                                                                           WALNUT CREEK     CA    94598‐4707
JEANNETTE E RICHARDSON & LYNN R LORENTZ & JANIE     2602 KANAWHA AVE SE                                                                                     CHARLESTON       WV    25304‐1028
R MEYER JT TEN
JEANNETTE E VOELGER TOD ERIN EWING                  47 PENNWOOD DR                                                                                          MASTIC BEACH     NY    11951
JEANNETTE F JOHNSON                                 380 ETHEL ST                                                                                            WINFIELD         IL    60190
JEANNETTE FORZIATI                                  419 PARKER ST                                                                                           SPRINGFIELD      MA    01129‐1027
JEANNETTE GIBSON & TOMMY F ANGELL TR UW             115 SANSOME ST STE 1200                                                                                 SAN FRANCISCO    CA    94104‐3630
THOMAS E GIBSON
JEANNETTE GOULET                                    1906 MARSAC                                                                                             BAY CITY         MI    48708‐8526
JEANNETTE H CEPPA                                   110 SHERWOOD ROAD                                                                                       BRISTOL          CT    06010‐9008
JEANNETTE H MUILENBURG                              710 TANGLEWOOD DR                                                                                       SENECA           SC    29672‐6656
JEANNETTE HUNTER                                    RR 1 BOX 137B                                                                                           NEWFOUNDLAND     PA    18445‐9755
JEANNETTE K CLARK                                   64460 ROMEO PLANK                                                                                       ROMEO            MI    48096‐2333
JEANNETTE KRAMER                                    580 MARKLE AVE                                                                                          PONTIAC          MI    48340‐3021
JEANNETTE L BARTON                                  11379 E BRISTOL RD                                                                                      DAVISON          MI    48423‐8733
JEANNETTE L FOLK                                    2009 CRESTVIEW                                                                                          JANESVILLE       WI    53546‐5742
JEANNETTE L MULLEN & VIVIAN G MC DONALD JT TEN      8015 ROBINSON BLVD                                                                                      ALLEN PARK       MI    48101‐2249

JEANNETTE L SPACE & ELEANOR S SCHNEIDER JT TEN      117 RIVER STREET                                                                                        FORTY FORT       PA    18704‐5036

JEANNETTE L SPACE & MARK SPACE JT TEN            117 RIVER STREET                                                                                           FORTY FORT       PA    18704‐5036
JEANNETTE L SPURY & SANDRA M BELAIR JT TEN       124 POND VIEW DR                                                                                           AUBURN           NH    03032‐3545
JEANNETTE M BADILLO                              C/O JEANNINE M BADILLO                    1216 ARNAM IGARRAVIDEZ CLB MNR   RIO PIEDRAS   924 PUERTO RICO
JEANNETTE M BLANKENSHIP & DAVID R BLANKENSHIP JT 2604 CAPRI DR                                                                                              FORT WORTH       TX    76114‐1727
TEN
JEANNETTE M CARROLL                              5 CLINTON AVE                                                                                              WALLINGFORD      CT    06492‐3018
JEANNETTE M GIETZEN & KAREN J GIETZEN & THOMAS 1856 S WILLIAMSTON RD                                                                                        DANSVILLE        MI    48819‐9606
D GIETZEN JT TEN
JEANNETTE M GOLLAN                               R D 2 WARREN SHARON RD                                                                                     VIENNA           OH    44473‐9804
JEANNETTE M GUNN                                 2755 STONEHEDGE DRIVE                                                                                      MURFREESBORO     TN    37128‐7628
JEANNETTE M HAIR                                 8101 DIETZ RD                                                                                              BELDING          MI    48809‐9408
JEANNETTE M INSLEY                               C/O JUDITH C INSLEY                       1125 KEWADIN DR                                                  WATERFORD        MI    48327‐3333
JEANNETTE M KAPS                                 26 UPLAND RD APT 109 NB                                                                  E1G 2E2 CANADA
JEANNETTE M WILDER                               ATTN JEANETTE M THOMPSON                  11721 CHERRY STREET                                              LOS ALAMITOS     CA    90720‐4101
JEANNETTE MOTEN                                  205 MENTOR DR                                                                                              ARLINGTON        TX    76002‐5435
JEANNETTE MOTEN & DONALD A MOTEN JT TEN          205 MENTOR DR                                                                                              ARLINGTON        TX    76002‐5435
JEANNETTE O BROWN CUST STEPHANIE L BROWN         1333 SHAWNEE RD                                                                                            INDIANAPOLIS     IN    46260‐4076
UGMA IN
JEANNETTE POTTER                                 7451 CARRIAGE HILLS DR SW                                                                                  ROANOKE          VA    24018‐5881
JEANNETTE R BAILEY                               2003 HIAWATHA BLVD                                                                                         WICHITA FALLS    TX    76309‐1903
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JEANNETTE R KOHLER TR JEANNETTE R KOHLER UA         44170 FAIR OAKS DR                                                                               CANTON          MI    48187‐3246
10/21/83
JEANNETTE RESSLER                                   13450 OAKDALE                                                                                    SOUTHGATE       MI    48195‐1711
JEANNETTE SCANTLEBURY                               184 CARNAVON PKWY                                                                                NASHVILLE       TN    37205
JEANNETTE SCHMITZ & MARY GREGORY TR PAT KELLY       BOX 9166                                                                                         SAN RAFAEL      CA    94912‐9166
TRUST UA 08/15/48
JEANNETTE SILAKOSKI                                 116 HARRIOT ST                                                                                   WOODBRIDGE      NJ    07095‐3316
JEANNETTE STROUD                                    72 2ND ST                                                                                        ALBANY          NY    12210‐2517
JEANNETTE T LANE                                    PO BOX 764                                                                                       LOUGHMAN        FL    33858‐0764
JEANNETTE V MARTIN & NORMAN R MARTIN SR JT TEN      506 WILD CHERRY DR                                                                               DELAND          FL    32724‐7887

JEANNETTE WILLIAMS                                  4025 MORRIS                                                                                      SAGINAW         MI    48601‐4239
JEANNIE ANN PETRILLO                                90 PARKWAY                                                                                       N CHILI         NY    14514‐1228
JEANNIE B CHAMBERLAND                               56 HOTCHKISS DRIVE                                                                               BRISTOL         CT    06010‐5511
JEANNIE B ROTEMAN                                   282 W BROWN RD                                                                                   MAYVILLE        MI    48744‐9545
JEANNIE D MITCHELL                                  26645 E CHANNEL RD                                                                               DRUMMOND IS     MI    49726‐9434
JEANNIE L DAVENPORT                                 30906 PINEY NECK RD                                                                              DAGSBORO        DE    19939‐3936
JEANNIE L ROBERTS & MARK J ROBERTS JT TEN           6344 E FROST ST                                                                                  MESA            AZ    85205‐5949
JEANNIE MARIE MORRIS                                7 CLUB DR                                                                                        NEWNAN          GA    30263‐3363
JEANNIE MENZIES                                     2290 MAPLE CRT                                                                                   XENIA           OH    45385
JEANNIE R GLOVER                                    1434 S VERNON                                                                                    CORUNNA         MI    48817‐9555
JEANNIE SIMMONS                                     857 SUNDANCE CIR                        OSHAWA ON                              L1J 8B5 CANADA
JEANNIE T GOSNELL                                   4452 LANTERMAN RD                                                                                YOUNGSTOWN      OH    44515‐1211
JEANNIE W CLAUS TR UA 10/21/2005 JEANNIE W CLAUS    7620 TEXAS HEIGHTS AVE                                                                           KALAMAZOO       MI    49009
LIVING TRUST
JEANNIE W ROBERTSON                                 149 COUNTRY RD 624                                                                               ETOWAH          TN    37331‐5364
JEANNINE A ADAMCZYK                                 5700 RIVER RD                                                                                    MANISTEE        MI    49660‐9715
JEANNINE A BETZ                                     210 BRANDED COURT                                                                                KOKOMO          IN    46901‐4036
JEANNINE A BOWN                                     1413 N PONTIAC DR                                                                                JANESVILLE      WI    53545‐1380
JEANNINE A DEFEDERICIS & JAMES DEFEDERICIS JT TEN   2528 DODGESON RD                                                                                 ALEXANDER       NY    14005‐9785

JEANNINE A GLENDENNING & JOHN GLENDENNING JT        2225 SUN VALLEY CT                                                                               CASTLE ROCK     CO    80104‐2398
TEN
JEANNINE A LEE & C DEAN LEE JT TEN                  1750 BIRCHWOOD LOOP                                                                              LAKELAND        FL    33811‐2921
JEANNINE A SWETT & GERALD B SWETT JT TEN            PO BOX 75                                                                                        HANOVER         IL    61041‐0075
JEANNINE B RITTER                                   77 CYPRESS ST                                                                                    BRISTOL         CT    06010‐3539
JEANNINE B RITTER                                   77 CYPRESS STREET                                                                                BRISTOL         CT    06010‐3539
JEANNINE BADGLEY                                    7873 WOOD RD                                                                                     KINGSLEY        MI    49649‐9619
JEANNINE C LYNCH                                    30 BULLARD STREET                                                                                NORWOOD         MA    02062‐2155
JEANNINE COUNCIL BRANDT                             10164 COVE RIDGE DR                                                                              DALLAS          TX    75238‐1521
JEANNINE DORCHAIN                                   909 TERRACE BLVD                                                                                 NEW HYDE PARK   NY    11040‐3922
JEANNINE E CHEANEY                                  12956 OAKLAND WAY                                                                                CHINO HILLS     CA    91709‐1138
JEANNINE G SCHMITT                                  204 SURREY RUN                                                                                   WILLIAMSVILLE   NY    14221‐3364
JEANNINE GRANGER                                    12928 HUNTBRIDGE LANE                                                                            ST LOUIS        MO    63131
JEANNINE H SCHNEIDER TR UA 08/03/90 THE JEANNINE    6749 N 21ST ST                                                                                   PHOENIX         AZ    85016‐1103
H SCHNEIDER TRUST
JEANNINE KAY THORNBURG                              ATTN JEANNINE OTCHIS                    1571 HALAMA ST                                           KIHEI           HI    96753‐8002
JEANNINE L DUCASTEL                                 129 JANS PL                                                                                      UNION MILLS     NC    28167‐8577
JEANNINE M CHESMER                                  4124 HARVEY AVE                                                                                  MUNHALL         PA    15120‐3322
JEANNINE M GRAY                                     5147 BRANDIES CIRCLE S                                                                           SARASOTA        FL    34243‐2907
JEANNINE M MASSE                                    31955 N QUARTZ LANE                                                                              CASTAIC         CA    91384‐3107
JEANNINE M MONFRE                                   W322 S8915 MC CARTHY DR                                                                          MUKWONAGO       WI    53149‐8252
JEANNINE M PYSZEL                                   34606 GREENTREES                                                                                 STERLING HGTS   MI    48312‐5515
JEANNINE M SCHULZ                                   355 ORCHARD DR                                                                                   TONAWANDA       NY    14150‐1040
JEANNINE M SLATER & KENNETH E CLYNE JT TEN          801 SIMCOE                                                                                       FLINT           MI    48507‐1680
JEANNINE P SHARP                                    3640 SHAMLEY DR                                                                                  BIRMINGHAM      AL    35223‐2870
JEANNINE R MC GEATHY                                7873 WOOD ROAD                                                                                   KINGSLEY        MI    49649‐9619
JEANNINE R RICHARDSON                               1148 E WILLIAM DAVID PKWY                                                                        METAIRIE        LA    70005‐1639
JEANNINE RYAN MC GORISK                             46 COSDREW LN                                                                                    EAST HAMPTON    NY    11937‐2503
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Name                                            Address1                               Address2             Address3          Address4          City            State Zip

JEANNINE SERENA                                 1021 VALLEJO AVE                                                                                SIMI VALLEY     CA    93065‐4965
JEANNINE Y LAZORE                               117 FEDERAL ST                                                                                  BRISTOL         CT    06010
JEANNNINE THORPE                                2504 CEDARBRIDGE RD                                                                             NORTHFIELD      NJ    08225‐1449
JEARL V JACKSON                                 576 STAFFORD DR                                                                                 ELYRIA          OH    44035‐2956
JEARLD M GOWAN & KAREN L GOWAN JT TEN           74 SCHOUWEILER RD                                                                               ELMA            WA    98541‐9352
JEARLDINE T CARSON                              12 HUNTRESS DR                                                                                  GREER           SC    29651‐1296
JEAROLD L HOWARD & MAXINE L HOWARD JT TEN       1102 LOCUST                                                                                     CHILLICOTHE     MO    64601‐1428

JEB F CUMMINS                                   414 SOUTH MAIN ST                                                                               WEST MILTON     OH    45383‐1550
JEB W ROWEN                                     PO BOX 262                                                                                      TRES PINOS      CA    95075
JED A VALLIE                                    1309 OLD QUEEN ANNE RD 1317                                                                     CHATHAM         MA    02633‐1135
JED DAVIS                                       86 WINTHROP ST                                                                                  AUGUSTA         ME    04330‐5508
JED L WHEELER                                   8460 COTTONWOOD AVE                                                                             HOWARD CITY     MI    49329‐9062
JED RICHARD SCHLACTER                           TWO MICHAEL CT                                                                                  ROSLYN          NY    11576‐2048
JED STRAUB                                      18011 COUGAR BLF                                                                                SAN ANTONIO     TX    78258‐3433
JED WALKER                                      4881 S TORREY PINES DR                 #204                                                     LAS VEGAS       NV    89103‐4449
JEDD D GLAZIER                                  12204 MOONWAY LANE                                                                              BURLESON        TX    76028
JEE HAK KIM PINSONEAULT                         4350 MARKEY RD                                                                                  ROSCOMMON       MI    48653‐8550
JEEWANKUMAR S KAPALE                            2222 GROVE PARK RD                                                                              FENTON          MI    48430‐1440
JEFF A BUNN                                     245 HENRYVILLE RD                                                                               ETHRIDGE        TN    38456‐5219
JEFF A EBEL                                     5175 BARRYWOOD                                                                                  GOODRICH        MI    48438‐9755
JEFF A ENK                                      9121 S 85TH AVENUE                                                                              HICKORY HILLS   IL    60457‐1817
JEFF A HEISSERMAN                               875 IDYLWOOD DR SW                                                                              ISSAQUAH        WA    98027‐4526
JEFF A JAYSON                                   39 MARY LOU LN                                                                                  SHOKAN          NY    12481‐5108
JEFF A KESLING                                  7621 BRAMS HILL DR                                                                              DAYTON          OH    45459‐4142
JEFF A LANG & KELLI D LANG JT TEN               14841 A DR S                                                                                    MARSHALL        MI    49068‐9202
JEFF A MILLER                                   1921 VINEHILL CIR                                                                               FREMONT         CA    94539‐6005
JEFF A RIPBERGER                                5013 SHELBYVILLE RD                                                                             INDIANAPOLIS    IN    46237‐1938
JEFF A SCHOENBLUM CUST NEIL E SCHOENBLUM UGMA   64 WYN OAK                                                                                      NASHVILLE       TN    37205‐5004
TN
JEFF ADDLEY CUST SEAN ADDLEY UGMA MI            440 STONEWOOD CT                                                                                MILFORD         MI    48381‐1759
JEFF AGLER                                      7801 WHITTIER BLVD                                                                              BETHESDA        MD    20817‐6645
JEFF AROODING PER REP EST LEONARD ALBERT        10298 HORSESHOE CIRCLE                                                                          CLARKSTON       MI    48348‐2004
ROODING
JEFF ATKINS                                     10513 CLOVERDALE AVE                                                                            FERNDALE        MI    48220‐2128
JEFF B BLACKBURN                                2128 HEATHER RD                                                                                 ANDERSON        IN    46012‐9636
JEFF B COX                                      3441 GRAFTON ST                                                                                 LAKE ORION      MI    48359‐1129
JEFF B GREENLEE                                 3036 PASEO HILLS WAY                                                                            HANDERSON       NV    89032‐3075
JEFF B KELLEY                                   11486 MOHAWK PATH                                                                               LAKEVIEW        OH    43331‐9244
JEFF B PETERS                                   486 SKYHARBOUR LANE                                                                             BAY POINT       CA    94565‐6715
JEFF B WAGGONER                                 RTE 2                                                                                           WINGO           KY    42088‐9802
JEFF BEHME CUST TYLER E BEHME UTMA IL           22625 HARVEST ROAD                                                                              CARLINVILLE     IL    62626‐3702
JEFF BELZER                                     BOX 965                                                                                         LAKEVILLE       MN    55044‐0965
JEFF BERLANT                                    2274 S SWALLOWTAIL LN                                                                           BOISE           ID    83706‐6127
JEFF BRULL & KRISTA BRULL JT TEN                406 PUEBLO ST W                                                                                 LAKE QUIVIRA    KS    66217‐8683
JEFF C SALISBURY                                7612 PAISLEY LN                                                                                 CORRYTON        TN    37721
JEFF D ARCHER                                   1795 FAIRVIEW DR                                                                                GAINESVILLE     GA    30501‐2005
JEFF D FOWLER                                   2335 W SUNBROOK DR                     UNIT 3                                                   SAINT GEORGE    UT    84770‐1843
JEFF D GOLOD                                    2530 SW MAYACOO WAY                                                                             PALM CITY       FL    34990‐7924
JEFF D HARRIS                                   2705 RIDGEWOOD DR                                                                               LAUREL          MS    39440
JEFF D MEYER & SANDY K MEYER JT TEN             8436 BUCHANAN TRAIL                                                                             NORWALK         IA    50211‐2010
JEFF D SARVER                                   12 HAMMONNS DRIVE                                                                               AMELIA          OH    45102‐1413
JEFF DAVID BACHEY                               1338 ASHLAND AVE                                                                                DAYTON          OH    45420‐1506
JEFF DESIERO                                    699 W JACKSON AVE                                                                               BRIDGEPORT      CT    06604‐1611
JEFF EVERETTE                                   12341 PALMBEACH                                                                                 HOUSTON         TX    77034‐3820
JEFF FISHWICK                                   10858 SW 109TH AVE                                                                              TIGARD          OR    97223‐3601
JEFF G BOHN & MRS BERNADETTE O BOHN JT TEN      1572 N VALLEY ROAD                                                                              MALVERN         PA    19355‐9796
JEFF G VALLEY                                   2450 SAND ROAD                                                                                  ARGYLE          WI    53504‐9716
JEFF GALLENTINE & AMY GALLENTINE JT TEN         3700 W 171ST ST                                                                                 STILWELL        KS    66085‐8851
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JEFF GARRISON CUST JAKE GARRISON UTMA IL        PO BOX 352                                                                                          OAKWOOD         IL    61858
JEFF GROTH                                      2021 HILLHURST AVE                    UNIT 1                                                        LOS ANGELES     CA    90027‐2718
JEFF HALL                                       816 MYSTIC DR                         APT 204                                                       CPE CANAVERAL   FL    32920‐5314
JEFF HANSEN                                     11852 REEVES W                                                                                      RIVORTON        UT    84065‐4119
JEFF HAYNIE COMPANY A PARTNERSHIP               110 BREWER ST                                                                                       NAVASOTA        TX    77868‐3677
JEFF HELTON                                     5440 FONTENOY CT                                                                                    NORCROSS        GA    30071‐4700
JEFF HERMAN SANDERSON                           10492 WIMBLEDON CT                                                                                  EDEN PRAIRIE    MN    55347‐4948
JEFF I WILLIAMS                                 6485 RUSTIC RIDGE                                                                                   GRAND BLANC     MI    48439‐4950
JEFF I WILLIAMS & SALLIE R WILLIAMS JT TEN      6485 RUSTIC RIDGE                                                                                   GRAND BLANC     MI    48439‐4950
JEFF J BISEL                                    711 SO JOHNSON                                                                                      BAY CITY        MI    48708‐7627
JEFF J FACKLER                                  1701 HIGGINS RD                                                                                     VASSAR          MI    48768
JEFF J MILLER                                   3003 OAK STREET                                                                                     TERRE HAUTE     IN    47803‐2646
JEFF J WATSON                                   29405 MURRAY CRESCENT DR                                                                            SOUTHFIELD      MI    48076‐5252
JEFF JACOBS CUST NOAH JACOBS UTMA               6444 S WALKER                                                                                       FRUITPORT       MI    49415‐8776
JEFF JOHNSON JR                                 4935 AUGUSTA BL                                                                                     MONEE           IL    60449‐8909
JEFF JOSEPH SILVER                              135 THELMA TER                                                                                      LINDEN          NJ    07036‐3919
JEFF JOSEPHSON                                  BOX 212                                                                                             MARSHFIELD      WI    54449‐0212
JEFF KING                                       28 STEEPLE AVE                                                                                      RED LION        PA    17356‐9019
JEFF L ALLEN                                    246 WORTH                                                                                           SANDUSKY        MI    48471‐1243
JEFF L CENTER                                   3140 CREEKSIDE DR                                                                                   BEAVERCREEK     OH    45434‐6006
JEFF L CURRY                                    516 S 24TH ST                                                                                       TERRE HAUTE     IN    47803‐2544
JEFF L EAKINS                                   2027 N WRIGHT RD                                                                                    JANESVILLE      WI    53546‐1302
JEFF L LUCKE                                    1660 N TYLER                                                                                        WICHITA         KS    67212‐1505
JEFF L MOREARTY                                 5440 WESTVIEW                                                                                       CLARKSTON       MI    48346‐4163
JEFF L SHELTON                                  C/O ODESSA SHELTON                    124 SHERMAN ST                                                BUFFALO         NY    14206‐1614
JEFF L THOMPSON                                 12972 KINLOCK DR                                                                                    STERLING HGTS   MI    48312‐1562
JEFF LENZO                                      5038 E 25TH AVE                                                                                     LAKE STATION    IN    46405‐2628
JEFF LIPSCOMB                                   310 COUNTRY RD 1675                                                                                 JEROMESVILLE    OH    44840
JEFF LUTES                                      5925 TODHUNTER RD                                                                                   MIDDLETOWN AREA OH    45044‐7924
                                                                                                                                                    2
JEFF M GARDNER                                  1760 S FORCE RD                                                                                     ATTICA          MI    48412‐9670
JEFF M SOKOL & VALERIE E SOKOL JT TEN           9015 VALLEY VIEW RD                                                                                 MACEDONIA       OH    44056‐2319
JEFF M VAN ALLEN                                101 ARNOLD ST                                                                                       IONIA           MI    48846
JEFF MAZZOCCOLI & DANA MAZZOCCOLI JT TEN        1007 PORTRUSH COURT                                                                                 KATY            TX    77494‐6184
JEFF MCCANN                                     SONNAGH                               RYVES CASTLE            KNOCKLONG COUNTY   LIMERICK IRELAND
JEFF MCCOLLUM & STACY MCCOLLUM JT TEN           139 WESTLAKE CT                                                                                     AZLE            TX    76020‐4959
JEFF MCKENZIE JR                                602 W MCCELLAN                                                                                      FLINT           MI    48505‐4077
JEFF MECKLER                                    220 A MOORE STREET                                                                                  PHILA           PA    19148‐1925
JEFF NEVERS                                     5295 ROUTE 102                        UPPER KINGSCLEAR NB                        E3E 2J3 CANADA
JEFF NICOLL & JEAN NICOLL JT TEN                109 EASY ST                                                                                         SECURITY        CO    80911‐1924
JEFF NIEZNANSKI                                 6713 PHEASANT LN                                                                                    BATH            NY    14810‐7507
JEFF PATTERSON                                  2231 DUNKELBERG ROAD                                                                                FT WAYNE        IN    46819‐2128
JEFF PEDONESI                                   25000 LANARK RD                                                                                     BROOKSVILLE     FL    34601
JEFF PINK CUST SHANEE PINK UGMA CA              ATTN BEAR STEARNS                     1999 AVE OF THE STARS                                         LOS ANGELES     CA    90067‐6022
JEFF PRATT                                      530 POPLAR GROVE DR                                                                                 VANDALIA        OH    45377
JEFF R CASTLE                                   5191 HARDYS ROAD                                                                                    GAINESVILLE     NY    14066‐9734
JEFF R RENEAUD                                  105 JOSSMAN                                                                                         ORTONVILLE      MI    48462
JEFF R SIEGEL & EILEEN B SIEGEL JT TEN          3 BALDWIN ST                                                                                        WINDHAM         NH    03087‐1563
JEFF RADKE & LAUREN RADKE JT TEN                21325 GOETHE                                                                                        GROSSE POINTE   MI    48236‐1055
                                                                                                                                                    WDS
JEFF REYNOLDS                                   87 CURT ST                                                                                          DRUMMONDS       TN    38023
JEFF ROSENBLOOM CUST ZACHARY AARON              2911 STICKNEY AVE                                                                                   TOLEDO          OH    43608‐2022
ROSENBLOOM UTMA OH
JEFF S PETERS & PATRICIA S PETERS JT TEN        6863 GRANDVIEW                                                                                      INDEPENDENCE    OH    44131‐6546
JEFF S SMITH                                    7223 KALKASKA DR                                                                                    DAVISON         MI    48423‐2385
JEFF SARTORI                                    6 SHERYL CT                                                                                         PLEASENT HILL   CA    94523‐4550
JEFF SCHLACKS & SUSAN SCHLACKS TR CHELSEA J     12137 LOCKHART LANE                                                                                 RALEIGH         NC    27614‐8006
SCHLACKS IRREVOCABLE TRUST
JEFF SCHMITZ                                    1110 PERSIMMON DR                                                                                   LANCASTER       PA    17601
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JEFF SIGMAN                                    1423 S UINTA CT                                                                                 DENVER            CO    80231‐2742
JEFF SKINNER & SUZANNE SKINNER JT TEN          853 WEBER                                                                                       YARDLEY           PA    19067‐4630
JEFF STEGMAIER                                 311 HATT ST                            DUNDAS ON                              L9H 2H6 CANADA
JEFF SWAIM CUST PAUL J SWAIM UTMA OH           40 OHIO AVE                                                                                     ATHENS            OH    45701‐1917
JEFF SWAIM CUST SARA L SWAIM UTMA OH           40 OHIO AVE                                                                                     ATHENS            OH    45701‐1917
JEFF T CARLSON                                 2736 VILLAGE DR                                                                                 THOMPSONS         TN    37179‐9283
                                                                                                                                               STATION
JEFF W CARR                                    3422 70TH AVE E                                                                                 ELLENTON          FL    34222
JEFF W SPENCER                                 10336 WALNUT SHORES DR                                                                          FENTON            MI    48430‐2433
JEFF WASHINGTON CUST J E DREW WASHINGTON       260 HALL ST                            WINDSOR ON                             N9A 2L6 CANADA
UGMA MI
JEFF WASHINGTON CUST JORDAN M D WASHINGTON     260 HALL ST                            WINDSOR ON                             N9A 2L6 CANADA
UGMA MI
JEFFEORY FOX                                   2 GREGLAN AVE PMB 332                                                                           NANTUCKET         MA    02554
JEFFERA B BEASLEY                              5450 S ACRES DR                                                                                 HOUSTON           TX    77048‐1121
JEFFEREY A SEMON                               BOX 582                                                                                         MONROE            CT    06468‐0582
JEFFEREY S DEWAARD                             2944 TANSY TRAIL                                                                                GRANDVILLE        MI    49418‐9129
JEFFERSON C HARKINS                            3415 W CYPRESS ST                                                                               TAMPA             FL    33607‐5007
JEFFERSON D FUTCH III                          8 SELLERS AVENUE                                                                                LEXINGTON         VA    24450‐1931
JEFFERSON D GRIMES                             4999 SANDY RUN ROAD                                                                             SPARTA            GA    31087‐6851
JEFFERSON D HARBIN                             212 BROOK DRIVE                                                                                 ALPHARETTA        GA    30004‐1524
JEFFERSON D PAYNE                              245 E PEASE AVE                                                                                 WEST CARROLLTON   OH    45449‐1462

JEFFERSON EASON                                418 HUDSON ST                          APT 3H                                                   HACKENSACK        NJ    07601‐6631
JEFFERSON EDWIN MORROW                         525 ELM ST                             PO BOX 87                                                CLINTON           KY    42031‐0087
JEFFERSON GETER                                4615 GREENWICH VILLAGE AVE                                                                      DAYTON            OH    45406‐2411
JEFFERSON GILPIN POLLOCK                       307 1/2 HOLLY OAK ROAD                                                                          WILMINGTON        DE    19809
JEFFERSON I DANIELS                            5110 PATTERSON LAKE RD                                                                          PINCKNEY          MI    48169‐9742
JEFFERSON JONES                                34448 BEVERLY RD                                                                                ROMULUS           MI    48174‐4418
JEFFERSON KENNEDY AIKEN JR                     1324 HIGHLAND DR                                                                                OREFIELD          PA    18069‐9070
JEFFERSON L CLAY II                            20501 SANTA ROSA                                                                                DETROIT           MI    48221‐1292
JEFFERSON L DYE                                336 N SECTION ST                                                                                S LEBANON         OH    45065‐1125
JEFFERSON N BAKER                              1000 ANITA DR                                                                                   ARLINGTON         TX    76012‐1805
JEFFERSON N JOHNSON & ROBIN N JOHNSON JT TEN   124 MAPLECREST DR                                                                               CARMEL            IN    46033‐1939

JEFFERSON P ARNOLD                             100 E CENTER ST                                                                                 ITHACA            MI    48847‐1436
JEFFERSON W STEEL                              108 DUTCH HILL ROAD                                                                             HOLLY SPRINGS     NC    27540‐8523
JEFFERY A BASSLER                              321 RAYMER BLVD                                                                                 TOLEDO            OH    43605‐1721
JEFFERY A CHAMPION                             PO BOX 12135                                                                                    LANSING           MI    48901‐2135
JEFFERY A DODGE                                10491 LAINGSBURG RD                                                                             LAINGSBURG        MI    48848‐9323
JEFFERY A DRAKE                                3733 W ROCKPORT RD                                                                              JANESVILLE        WI    53548‐9104
JEFFERY A FORRESTER                            1655 CENTERVIEW DR APT 1715                                                                     DULUTH            GA    30096
JEFFERY A FUTHEY                               1013 YANKEE CT                                                                                  WARRENTON         MO    63383‐7094
JEFFERY A HAMILTON                             6405 W DODGE RD                                                                                 CLIO              MI    48420‐8547
JEFFERY A HENRY                                226 WINDING OAK WAY                                                                             BLYTHEWOOD        SC    29016‐8029
JEFFERY A KOTLARCZYK                           159 LEGACY PARK DR                     APT 4                                                    CHARLOTTE         MI    48813‐1346
JEFFERY A KRAUTER                              4590 E 531 N                                                                                    ROANOKE           IN    46783‐8809
JEFFERY A LACON                                2879 WAYNESVILLE JAMESTOWN RD                                                                   XENIA             OH    45385‐9790
JEFFERY A LILLARD                              3508 OLD MILL DR                                                                                SPRING HILL       TN    37174‐2189
JEFFERY A LOVETT                               61 FARMBROOK DR                                                                                 TOLLAND           CT    06084‐3052
JEFFERY A MARGIS                               5712 S MONITOR AVE                                                                              CHICAGO           IL    60638‐3622
JEFFERY A MCMANN                               560 GROVENBURG ROAD                                                                             MASON             MI    48854‐9576
JEFFERY A MCMINN                               1728 S RIVERVIEW RD                                                                             PERU              IN    46970‐7263
JEFFERY A POMPLUN                              1908 N PARKER DR                                                                                JANESVILLE        WI    53545‐0706
JEFFERY A RAY                                  PO BOX 70001                                                                                    ROCHESTER HILLS   MI    48307‐0001
JEFFERY A ROLLISON                             780 WOODBINE SE                                                                                 WARREN            OH    44484‐4263
JEFFERY A ROODING                              10298 HORSESHOE CIR                                                                             CLARKSTON         MI    48348‐2004
JEFFERY A SAUL                                 3297 WOODCREEK DR                                                                               CHARLOTTSVILLE    VA    22911‐6229
JEFFERY A SCHWARTZ                             5300 SW 3RD ST                                                                                  PLANTATION        FL    33317‐3606
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Name                                             Address1                              Address2              Address3         Address4          City            State Zip

JEFFERY A SCOTT & ANNE M SCOTT JT TEN            23218 PROSPECT AVENUE                                                                          FARMINGTON      MI    48336‐3245
JEFFERY A SHOOK                                  372 MANHATTAN AVE                     APT 5A                                                   NEW YORK        NY    10026‐2384
JEFFERY A SHORT                                  12201 HIBNER RD                                                                                HARTLAND        MI    48353‐1410
JEFFERY A SILAGY                                 1110 WHISPERWAY COURT                                                                          TROY            MI    48098‐6305
JEFFERY A SILAGY & DEBORAH J SILAGY JT TEN       1110 WHISPERWAY COURT                                                                          TROY            MI    48098‐6305
JEFFERY A WALTERS                                418 E ELM ST                                                                                   VERNON          MI    48476
JEFFERY ALLEN KINCER                             1628 ASHWORTH DR                                                                               VANDALIA        OH    45377‐9504
JEFFERY B MACZINK                                31654 E DITNER                                                                                 ROCKWOOD        MI    48173‐1015
JEFFERY BENJAMIN                                 95 KINGSGATE SOUTH                                                                             ROCHESTER       NY    14617‐5414
JEFFERY BREHM                                    5118 DICKSON RD                                                                                CEDAR GROVE     IN    47016‐9777
JEFFERY BRYANT                                   9225 POWDERHORN LANE                                                                           INDIANAPOLIS    IN    46256‐1179
JEFFERY C BALL                                   600 S 16TH ST                                                                                  ELWOOD          IN    46036‐2401
JEFFERY C BOYES                                  13512 SUGAR BUSH AVE NW                                                                        MOGADORE        OH    44260‐9226
JEFFERY C CHANDLER                               7711 AUTUMN PARK                                                                               SAN ANTONIO     TX    78249‐4445
JEFFERY C CHANDLER & BARBARA B CHANDLER JT TEN   7711 AUTUMN PARK                                                                               SAN ANTONIO     TX    78249‐4445

JEFFERY C DORSEY                                 2591 SEDGEFIELD DRIVE                                                                          BUFORD           GA   30518
JEFFERY C EARNEST                                27301 GARLAND WOODS DR                                                                         WARRENTON        MO   63383
JEFFERY C EDWARDS                                25766 PENINSULA DR                                                                             NOVI             MI   48374‐2164
JEFFERY C HUGHES & KARLA R HUGHES JT TEN         1078 GREEN GLEN DR                                                                             BOOTHWYN         PA   19061‐1303
JEFFERY C JORDAN                                 PO BOX 515                                                                                     PINOPOLIS        SC   29469‐0515
JEFFERY C SHARPE                                 6701 KIRKDALE DR                                                                               FORT WAYNE       IN   46815‐5523
JEFFERY D AUSTIN & BONNIE K AUSTIN JT TEN        88005 OVERSEAS HWY                    # 9‐635                                                  ISLAMORADA       FL   33036‐3067
JEFFERY D DRAEGER                                2441 OREGON ROAD                                                                               NORTHWOOD        OH   43619‐1122
JEFFERY D DUBITSKY                               26 N ST REGIS DRIVE                                                                            ROCHESTER        NY   14618‐1403
JEFFERY D GRIFFIN                                1344 PEGASUS TR                                                                                SAINT PETERS     MO   63376‐5235
JEFFERY D LADYMAN                                5925 N MAYNE RD                                                                                HUNTINGTON       IN   46750‐9546
JEFFERY D LOWE                                   41419 HIDDEN OAKS                                                                              CLINTON TWP      MI   48038‐4533
JEFFERY D MAYNARD                                32500 W WAYBURN ST                                                                             FARMINGTON HILLS MI   48334‐2770

JEFFERY D MEEK & BARBARA A MEEK JT TEN           STE 400                               38705 SEVEN MILE RD                                      LIVONIA         MI    48152‐1056
JEFFERY D METZGER                                1059 RIVERFORK ROAD                                                                            HOLLANDALE      WI    53544‐9418
JEFFERY D SILVA                                  4655 DEADWOOD DR                                                                               FREMONT         CA    94536‐6614
JEFFERY D STANTON                                8917 FENTON                                                                                    REDFORD         MI    48239‐1209
JEFFERY D THOMPSON                               3207 CHATHAM COURT                                                                             URBANA          IL    61801‐7039
JEFFERY D WATERS                                 603 WILLIAMSBURG DR                                                                            KOKOMO          IN    46902‐4959
JEFFERY DENSON                                   1301 CROWNFIELD CT                                                                             BALTIMORE       MD    21239‐1222
JEFFERY E GRADY                                  5101 SE 104TH                                                                                  OKLAHOMA CITY   OK    73165‐9715
JEFFERY E HAILS                                  4146 ALLEN ST                                                                                  INKSTER         MI    48141‐3039
JEFFERY E ROBERTSON                              PO BOX 2166                                                                                    DECATUR         AL    35602‐2166
JEFFERY F TATE                                   22115 WEST MCNICHOLS                  APT 17                                                   DETROIT         MI    48219‐3231
JEFFERY F WRIGHT                                 5463 FLEET                                                                                     WATERFORD       MI    48327‐3028
JEFFERY FERNANDES                                225 FOSTER STREET                                                                              LITTLETON       MA    01460‐2005
JEFFERY FORRESTER II                             2618 KENSINGTON ALY                                                                            GAINESVILLE     GA    30504‐2690
JEFFERY G FRENZEL & ALICE KOZIOL JT TEN          101 W SHADY DRIVE                                                                              MC HENRY        IL    60050‐8795
JEFFERY GONSECKI CUST LAUREL ANN G GONSECKI      240 SHARP RD                                                                                   AVONDALE        PA    19311‐9704
UTMA MD
JEFFERY GONSECKI CUST LOUISA R M GONSECKI UTMA   240 SHARP RD                                                                                   AVONDALE        PA    19311‐9704
MD
JEFFERY HANNAH & JAMES F HANNAH JT TEN           7380 E BURT ROAD                                                                               BIRCH RUN       MI    48415‐8714
JEFFERY HARRISON                                 108 SHERMAN                                                                                    GRAND HAVEN     MI    49417‐1730
JEFFERY HOLMES KING & HEATHER ANN KING JT TEN    BOX 196                                                                                        PRINCETON       MA    01541‐0196

JEFFERY J HOLLIDAY                               4105 DUPONT ST                                                                                 FLINT           MI    48504‐3565
JEFFERY J HUNTER                                 4631 ANSON STREET                                                                              LANSING         MI    48911‐2801
JEFFERY J MERSINO                                1172 LONE PINE DR                                                                              FAIRVIEW        MI    48621‐9727
JEFFERY JANUTOLO                                 3518 BENNINGHOFEN AVE                                                                          HAMILTON        OH    45015‐2002
JEFFERY JOHN LLOYD                               15904 KIAWAH ISLAND DR                                                                         AUSTIN          TX    78717‐3810
                                               09-50026-mg             Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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JEFFERY JOHN WODECKI TR UA 03/30/2000 CHESTER P   9322 BRANDYWINE RD                                                                           SAGAMORE HLS      OH    44067
WODECKI TRUST
JEFFERY JUSTER                                    2045 SWANS NECK WAY                                                                          RESTON            VA    20191‐4023
JEFFERY K LEWIS                                   2992 HIGHLAND FLATS RD                                                                       NAPLES            ID    83847‐5256
JEFFERY K MAYFIELD                                2718 PARK PLACE LN                  APT 252                                                  JANESVILLE        WI    53545
JEFFERY K TOOLE                                   7283 VANDERPLOEG LANE                                                                        IMLAY CITY        MI    48444‐9747
JEFFERY KIETH MCMULLIN                            9886 S NEW LOTHROP RD                                                                        DURAND            MI    48429‐9465
JEFFERY L AIMONE                                  11519 FISHER DR                                                                              BELLEVILLE        MI    48111‐2483
JEFFERY L ANDERSON                                14340 FAGAN RD                                                                               HOLLY             MI    48442‐9758
JEFFERY L BENSON                                  5148 S BIRCH DRIVE                                                                           BARRYTON          MI    49305‐9509
JEFFERY L BOURCIER                                4153 MARTUS RD                                                                               NORTH BRANCH      MI    48461‐8906
JEFFERY L DIAL                                    1547 OLD BARN RD                                                                             BARTLETT          IL    60103‐2058
JEFFERY L DONALDSON                               2097 LAXTON RD                                                                               MASON             MI    48854‐9212
JEFFERY L FERRY JR                                1081 E TIENKEN RD                                                                            ROCHESTER HILLS   MI    48306
JEFFERY L LAETTNER                                11115 PARTRIDGE ROAD                                                                         HOLLAND           NY    14080‐9621
JEFFERY L MARTIN                                  9042 E 1050 S                                                                                AMBOY             IN    46911
JEFFERY L MILLER                                  PO BOX 116                                                                                   WHITTAKER         MI    48190‐0116
JEFFERY L MOHNEY                                  366                                 6723 COLGROVE DR                                         KALAMAZOO         MI    49001‐8602
JEFFERY L MOTSCENBACHER                           6951 MILFORD RD                                                                              HOLLY             MI    48442
JEFFERY L MOTSCHENBACHER & MARILYN I              6951 MILFORD RD                                                                              HOLLY             MI    48442‐8510
MOTSCHENBACHER JT TEN
JEFFERY L PEASE II                                PO BOX 252                                                                                   BLAKESLEE         OH    43505‐0252
JEFFERY L REYNOLDS                                1810 MAINE                                                                                   SAGINAW           MI    48602‐1722
JEFFERY L RICE                                    2345 S 465TH W                                                                               WEST MIDDLETON    IN    46995

JEFFERY L TANIS                                   7165 SHAW RD                                                                                 IMLAY CITY        MI    48444‐9416
JEFFERY L WAGNER                                  2518 TERI‐LYN CT                                                                             LAPEER            MI    48446‐8321
JEFFERY L WEAVER                                  929 COOPER COURT                                                                             RIPON             CA    95366‐2925
JEFFERY L WHITE                                   116N PORTER                                                                                  ELGIN             IL    60120‐4429
JEFFERY L WYCKOFF                                 1140 LAKE DRIVE S E                                                                          GRAND RAPIDS      MI    49506‐1560
JEFFERY L ZDENEK                                  12438 LAPEER RD                                                                              DAVISON           MI    48423‐8174
JEFFERY LEN HAWKINS                               2208 BARCOLONE DR                                                                            MUNICE            IN    47304‐1435
JEFFERY M BARNES                                  404 E 133RD AVENUE                                                                           WAYLAND           MI    49348‐9514
JEFFERY M BENSON                                  606 RAYMOND ST                                                                               POTOSI            MO    63664‐1413
JEFFERY M BROWN                                   6053 S LOWELL                                                                                ST JOHNS          MI    48879‐9221
JEFFERY M KAJIYA                                  7381 MARTINGALE XING                APT 103                                                  CORDOVA           TN    38016‐9108
JEFFERY M STRICKLAND                              557 MARTIN RD                                                                                CARTERSVILLE      GA    30120‐5360
JEFFERY MOORE & PENNY MOORE JT TEN                10627 MTN VIEW DR                                                                            MADERA            CA    93636
JEFFERY MORGAN                                    934 N CEDAR ST                                                                               TACOMA            WA    98406‐6308
JEFFERY O WALTERS                                 1600 WALLACE THOMPSON RD                                                                     LEWISBURG         TN    37091‐6214
JEFFERY P BACHERT                                 21 METZGER DR                                                                                ORCHARD PARK      NY    14127‐2018
JEFFERY P BALLINGER                               709 W BALDWIN ST                                                                             SAINT JOHNS       MI    48879‐1707
JEFFERY P BARNHARD                                2345 ITSELL                                                                                  HOWELL            MI    48843‐8808
JEFFERY P KRAMER                                  50542 TORREY PINES DR                                                                        MACOMB            MI    48042‐5540
JEFFERY P SPENCER & ELAINE T SPENCER TEN ENT      1704 PENNS LANE                                                                              AMBLER            PA    19002
JEFFERY P ZUBKE                                   20570 HCL JACKSON                                                                            GROSSE ILE        MI    48138‐1148
JEFFERY PETER SLUSARZ                             49 MARGARET DR                                                                               WALNUT CREEK      CA    94596‐6023
JEFFERY PREUS                                     10610 HATTERAS DR                                                                            TAMPA             FL    33615‐4274
JEFFERY R ARMSTER                                 2537 PATRICK HENRY ST                                                                        AUBURN HILLS      MI    48326
JEFFERY R CONRAD EX EST BRENDA L CONRAD           6763 MINNICK RD #215                                                                         LOCKPORT          NY    14094
JEFFERY R KENNEDY                                 3457 WIGGINS WA                                                                              GREEN BAY         WI    54311‐7286
JEFFERY R RINGS                                   311 W 7TH ST                                                                                 CLARE             MI    48617‐1207
JEFFERY R SMITH                                   7468 E BRISTOL RD                                                                            DAVISON           MI    48423‐2430
JEFFERY RUSSELL WILSON                            16697 ASPEN WAY                                                                              SOUTHGATE         MI    48195‐3922
JEFFERY S BRIDGES                                 9200 STANFORD RD                                                                             ATHENS            AL    35611
JEFFERY S CORRON                                  2401 W ALTA RD                      APT 607                                                  PEORIA            IL    61615
JEFFERY S COUTURIER                               5146 REID RD                                                                                 SWARTZ CREEK      MI    48473‐9418
JEFFERY S ENGLE                                   1322 COUNTY ROAD 317                                                                         TRINITY           AL    35673‐3928
JEFFERY S GRANT                                   46 ANGIE ROAD                                                                                WEST SENECA       NY    14224‐4302
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JEFFERY S JACOBSON                                1127 OZONE AVE                                                                                  SANTA MONICA      CA    90405‐5718
JEFFERY S LANE                                    5134 MELLWOOD DRIVE                                                                             FLINT             MI    48507‐4530
JEFFERY S LUOMA                                   9401 CUTLER RD                                                                                  EAGLE             MI    48822‐9726
JEFFERY S NEMETH                                  51694 WOODSIDE DR                                                                               MACOMB TWP        MI    48042
JEFFERY S OWENS                                   6006 VEREKER DR                                                                                 OXFORD            OH    45056‐1539
JEFFERY S RUSSELL                                 RD 2                                                                                            STANLEY           NY    14561
JEFFERY S RUSSELL & ROSEMARY K RUSSELL JT TEN     10087 VAN VLEET RD                                                                              GAINES            MI    48436‐9754

JEFFERY S SAMPSEL                                 435 WABASH ST                                                                                   MILAN             MI    48160‐1540
JEFFERY S WILLIAMS                                3749 HI VILLA                                                                                   LAKE ORION        MI    48360‐2460
JEFFERY SCOTT BRADY                               12 WILD ORCHID WAY                                                                              PORT DEPOSIT      MD    21904‐2301
JEFFERY T NUGENT                                  10801 LEMON AVE                        APT 2413                                                 RCH CUCAMONGA     CA    91737‐3843

JEFFERY THOMAS WEAKLEY                            899 NE JUNIPER PL                                                                               JENSEN BEACH      FL    34957‐5077
JEFFERY V N MORRIS                                7015 LEADER ST                                                                                  HOUSTON           TX    77074‐3421
JEFFERY W ARMISTEAD                               3445 GLASS RD NW                                                                                MONROE            GA    30656‐3729
JEFFERY W BREIDENBACH                             249 E DIXON AVE                                                                                 DAYTON            OH    45419‐3545
JEFFERY WOODARD                                   19125 JOANN                                                                                     DETROIT           MI    48205‐2209
JEFFERY YAFFAI                                    15421 MAYFIELD                                                                                  LIVONIA           MI    48154‐3015
JEFFFREY L DAVIS                                  16195 PRINCETON                                                                                 DETROIT           MI    48221‐3141
JEFFIE L BREAKFIELD                               2028 DENVER AVE                                                                                 KANSAS CITY       MO    64127‐4717
JEFFORY L SMITH                                   6361 CANAK DRIVE                                                                                AVON              IN    46123‐7433
JEFFRERY BULLEN                                   406 RANDOLPH ST                                                                                 MASON             MI    48854‐1249
JEFFRESS H BOOZER                                 1617 CONCORD DR                                                                                 CHARLOTTESVILLE   VA    22901‐3117

JEFFREY A ADAM & KATHRYN A ADAM JT TEN            3009 PISMO BEACH DR                                                                             LAS VEGAS         NV    89128‐6975
JEFFREY A ALEXANDROWICZ                           54068 BIRCHFIELD DR W                                                                           SHELBY TWP        MI    48316‐1393
JEFFREY A BEAUCHESNE                              2146 SEVMOUR RD                                                                                 SWARTZ CREEK      MI    48473‐9715
JEFFREY A BEAUMONT                                20428 ARCADIAN                                                                                  OLYMPIA FIELDS    IL    60461
JEFFREY A BONGARD TR UA 05/29/2003 BONGARD        4618 TOM MARKS RD                                                                               SNOHOMISH         WA    98290
FAMILY TRUST
JEFFREY A BOUCHER                                 10360 SW 50TH CT                                                                                OCALA             FL    34476‐8713
JEFFREY A BRIGHT                                  1825 15TH ST #1                                                                                 SAN FRANCISCO     CA    94103‐2207
JEFFREY A BROWN                                   15961 W BETHEL                                                                                  ALEXANDRIA        IN    46001‐9349
JEFFREY A BUTTS                                   752 CARDINAL LN                                                                                 BOONE             NC    28607‐8815
JEFFREY A CARROLL                                 8519 ARCOLA ROAD                                                                                FORT WAYNE        IN    46818‐9732
JEFFREY A CASE                                    5691 TRADEWIND DR                                                                               PORTAGE           MI    49024‐1193
JEFFREY A CHARD CUST JENNIFER A CHARD UGMA NY     39 CASCADE DR                                                                                   NEW HARTFORD      NY    13413‐4001

JEFFREY A CHILDS                                  1325 AVALON COURT                                                                               KOKOMO            IN    46902‐3103
JEFFREY A CHIMOVITZ CUST JENNIFER ILENE CHIMOVITZ 512 W COURT ST                                                                                  FLINT             MI    48503‐5010
UGMA MI
JEFFREY A DAUM                                    600 BERKSHIRE DR                                                                                MEDINA            OH    44256‐2707
JEFFREY A DAUM & CAROLYN F DAUM JT TEN            600 BERKSHIRE DR                                                                                MEDINA            OH    44256‐2707
JEFFREY A DEVEAU                                  8072 INDIAN HILL RD                                                                             MANLIUS           NY    13104‐8764
JEFFREY A DICKENSON                               G5101 FLUSHING RD                                                                               FLUSHING          MI    48433‐4942
JEFFREY A DUNN                                    138 MILL SPRINGS                                                                                COATSVILLE        IN    46121‐8947
JEFFREY A DYE                                     2195 S ESPANA ST                                                                                AURORA            CO    80013
JEFFREY A EDWARDS                                 121 FOXBORO                                                                                     ROCHESTER HILLS   MI    48309‐1431
JEFFREY A ELROD                                   13709 CHIPPING WAY CT                                                                           SHELBY            MI    48315‐2859
JEFFREY A FAATZ                                   9 TRENTWOOD TRL                                                                                 LANCASTER         NY    14086‐1465
JEFFREY A FERRO                                   321 SPENCER RD                                                                                  CORRY             PA    16407‐8966
JEFFREY A FINCH                                   PO BOX 661                                                                                      LINDEN            MI    48451‐0661
JEFFREY A FREY                                    765 MCADOO WAY                                                                                  WASILLA           AK    99654‐1623
JEFFREY A GIESE                                   1614 CHAMPIONS POINT PKY                                                                        HENRYVILLE        IN    47126‐7501
JEFFREY A GRANGER                                 7428 MORGAN CIR                                                                                 KEWADIN           MI    49648‐8943
JEFFREY A GREEN                                   405 W HODGE AVE                                                                                 LANSING           MI    48910‐2952
JEFFREY A GRIFFITH                                15309 W POND WOODS DR                                                                           TAMPA             FL    33618‐1839
JEFFREY A HALBEDEL                                1618 LEITH ST                                                                                   FLINT             MI    48506
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JEFFREY A HALE                                     2818 BUICK                                                                                      WATERFORD       MI    48328‐2602
JEFFREY A HARTZOK                                  8408 OAK STREAM DRIVE                                                                           LAUREL          MD    20708‐2348
JEFFREY A HENDERSHOT                               7354 OAKSTONE DR                                                                                CLARKSTON       MI    48348‐4761
JEFFREY A HENKEL                                   12936 2ND STREET                                                                                FENNJMORE       WI    53809‐9736
JEFFREY A HEROLD                                   7924 CRANFORD ST NW                                                                             MASSILLON       OH    44646‐1145
JEFFREY A HOLBUS                                   5738 SANDY LANE                                                                                 RACINE          WI    53406‐2227
JEFFREY A HULL & MRS BARBARA L HULL JT TEN         5157 W 90TH ST                                                                                  OAK LAWN        IL    60453‐1309
JEFFREY A HUMBLE                                   45 CAMBRIDGE CT                                                                                 ANDERSON        IN    46012‐3905
JEFFREY A INDRUTZ                                  13556 S CR 1000E                                                                                GALVESTON       IN    46932‐9020
JEFFREY A JAGER                                    12606 WITHERS COVE RD                                                                           CHARLOTTE       NC    28278‐6835
JEFFREY A JAMIESON & CLAUDIA J JAMIESON JT TEN     1029 LINCOLN                                                                                    MARQUETTE       MI    49855‐2620

JEFFREY A JENNINGS                                 6620 LOCUSTVIEW                                                                                 WEST BLOOMFIELD MI    48324‐2762

JEFFREY A KAUFFMAN                                 2382 WEBER DR                                                                                   DEXTER          MI    48130‐9793
JEFFREY A KAUFMAN                                  35 STARR RDG                                                                                    NEEDHAM         MA    02492‐1489
JEFFREY A KEHL                                     2033 PETROLIA RD                                                                                WELLSVILLE      NY    14895‐9355
JEFFREY A KINNETT                                  3189 GARDEN MEADOW DR                                                                           LAWRENCEBURG    IN    47025‐9710
JEFFREY A KIRKWOOD                                 15041 N CR 400 E                                                                                FATON           IN    47338‐8891
JEFFREY A KNIGHT                                   10 HAMBLETONIAN AVE                                                                             CHESTER         NY    10918‐1025
JEFFREY A KNOWLES                                  9794 DUFF ROAD                                                                                  HILLSBORO       OH    45133‐8090
JEFFREY A KORCSMOROS                               7224 E MAPLE AVE                                                                                GRAND BLANC     MI    48439‐9762
JEFFREY A LARSEN                                   52 RUSHINGWIND                                                                                  IRVINE          CA    92614‐7409
JEFFREY A LASH                                     43833 HANFORD RD                                                                                CANTON          MI    48187‐2809
JEFFREY A LEDUC                                    2324 HALL LN                                                                                    WIXOM           MI    48393‐4236
JEFFREY A LEMON                                    16243 KNOB HILL DR                                                                              LINDEN          MI    48451
JEFFREY A LESKIW                                   8224 MOUNT CARMEL BLVD                 NIAGRA FALLS ON                        L2H 2Y8 CANADA
JEFFREY A LITTLETON                                30‐F ST                                                                                         LAKE LOTAWANA   MO    64086‐9736
JEFFREY A LYON                                     97 LAKESIDE DRIVE WEST                                                                          BELVIDERE       NJ    07823‐3146
JEFFREY A MARK                                     3729 WARRINGHAM                                                                                 WATERFORD       MI    48329‐1385
JEFFREY A MARLER                                   4018 SAM DAVIS RD                                                                               SMYRNA          TN    37167‐5273
JEFFREY A MC KEEN                                  59 STONEHURST RD                                                                                GROSS POINTE    MI    48236‐2626
                                                                                                                                                   SHORE
JEFFREY A MCILVAIN                                 1249 SOUTH DIAMOND STREET                                                                       RAVENNA         OH    44266‐3538
JEFFREY A MILLER PER REP EST LAVERNE M MILLER      3221 E DIX DRIVE                                                                                MILTON          WI    53563

JEFFREY A MORRIS                                   2151 WHISPER WAY                                                                                RESTON           VA   20191
JEFFREY A MULLANE                                  11441 STARBOARD DR                                                                              JACKSONVILLE     FL   32225‐1014
JEFFREY A MURDOCK & CATHY J MURDOCK JT TEN         1023 LANCASHIRE LN                                                                              PENDLETON        IN   46064‐9127
JEFFREY A NELSON                                   704 15TH ST                                                                                     AURORA           NE   68818‐2420
JEFFREY A NIXON                                    6476 CONGRESS RD                                                                                SPENCER          OH   44275‐9553
JEFFREY A OWEL                                     6053 VINEYARD AVE                                                                               ANN ARBOR        MI   48108‐5920
JEFFREY A PICKENS                                  4110 COLUMBIAVILLE RD                                                                           COLUMBIAVILLE    MI   48421‐9759
JEFFREY A PROUDFOOT                                7400 GREENFIELD TRL                                                                             CHESTER TOWNSHIP OH   44026‐2915

JEFFREY A RICHARDSON                               P.O. BOX 6449                                                                                   NAVARRE         FL    32566
JEFFREY A ROBINSON                                 48553 RANCH DRIVE                                                                               CHESTERFIELD    MI    48051
JEFFREY A ROSE                                     32444 NORTH RIVER ROAD                                                                          MOUNT CLEMENS   MI    48045‐1482
JEFFREY A SCHAEPER                                 2897 SANTIA DRIVE                                                                               TROY            MI    48098‐3982
JEFFREY A SCOVIL                                   182 NO 9 RD                                                                                     COLTON          NY    13625‐9608
JEFFREY A SEDLAR                                   8697 PIONEER DRIVE                                                                              HOWELL          MI    48855‐8399
JEFFREY A SEYFARTH                                 308 N FREMONT ST                                                                                NAPERVILLE      IL    60540‐4313
JEFFREY A SHARPE CUST BRANT SHARPE UTMA MD         10705 TUCKAHOE WAY                                                                              NORTH POTOMAC   MD    20878‐4228

JEFFREY A SHARPE CUST NATHAN SHARPE UTMA MD        10705 TUCKAHOE WAY                                                                              NORTH POTOMAC   MD    20878‐4228

JEFFREY A SHARPE CUST RYAN SHARPE UTMA MD          10705 TUCKAHOE WAY                                                                              NORTH POTOMAC   MD    20878‐4228
JEFFREY A SHIELDS                                  1820 W RAVEN DRIVE                                                                              CHANDLER        AZ    85248‐3073
JEFFREY A SIMKOVIC                                 BOX 1077                                                                                        BILLINGS        MT    59103
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JEFFREY A SKINNER                               464 CRYSTAL DR                                                                                  DAYTON           OH   45431‐2013
JEFFREY A SOMERFIELD                            6223 S RICHMOND AV                                                                              WILLOWBROOK      IL   60527‐1839
JEFFREY A STEELE & CHARLES L STEELE JT TEN      20006 ARMINTA ST                                                                                WESTLAKE VILLAGE CA   91361

JEFFREY A STENZEL                               47875 JAMESTOWN DR                                                                              MACOMB          MI    48044‐5927
JEFFREY A STEWART                               HC 70 BOX 38                                                                                    LOCKNEY         WV    25258‐9708
JEFFREY A STOCUM                                21476 SYRACUSE                                                                                  WARREN          MI    48091‐2822
JEFFREY A STONE                                 PO BOX 3072                                                                                     EDGEWOOD        NM    87015‐3072
JEFFREY A TOLLIVER                              8256 WINEGAR RD                                                                                 PERRY           MI    48872‐9744
JEFFREY A VALE                                  2310 W RICHWOOD RD                                                                              OZARK           MO    65721‐6016
JEFFREY A WHITE                                 6739 SHALIMAR COURT                                                                             INDIANAPOLIS    IN    46214‐3728
JEFFREY A WILLIAMS                              1858 SPRINGFIELD ST                                                                             FLINT           MI    48503‐4552
JEFFREY A WOLFSON                               2879 WOODMERE DRIVE                                                                             NORTHBROOK      IL    60062‐6446
JEFFREY A ZAFFINA                               4316 LAHRING                                                                                    HOLLY           MI    48442‐9712
JEFFREY ABLER                                   3817 MACK RD                                                                                    SAGINAW         MI    48601‐7120
JEFFREY ABRAMS & PATRICIA ABRAMS JT TEN         2003 HENNIKER STREET                                                                            APEX            NC    27523‐5244
JEFFREY ADAM BERGMAN                            895 RIDGEWOOD RD                                                                                MILLBURN        NJ    07041‐1442
JEFFREY AGUADO                                  9 LENNY CT                                                                                      WAPPINGERS FL   NY    12590‐4339
JEFFREY ALAN DREXLER                            4733 BLUEGRASS PKWY                                                                             TUSCALOOSA      AL    35406
JEFFREY ALAN HACKERT                            421 N GAYLORD AVE                                                                               LUDINGTON       MI    49431‐1624
JEFFREY ALAN KOWALSKY                           5228 COLDSPRING LN                                                                              W BLOOMFIELD    MI    48322‐4208
JEFFREY ALAN OWENS                              813 S DONNYBROOK                                                                                TYLER           TX    75701‐1720
JEFFREY ALAN SEDOR & DONNA SEDOR JT TEN         3 DOGWOOD HILL ROAD                                                                             UPPER SADDLE    NJ    07458‐2206
                                                                                                                                                RIVER
JEFFREY ALLAN BURTRUM                           8221 FULMER RD                                                                                  MILLINGTON      MI    48746‐9502
JEFFREY ALLEN CLINGMAN                          112 DARTMOUTH ST                                                                                LACONIA         NH    03246‐3053
JEFFREY ALLEN COMER                             4917 JACKSON                                                                                    TRENTON         MI    48183‐4597
JEFFREY ALLEN DEAN CUST MICHAEL ANTHONY DEAN    305 SPRUCE                                                                                      WYANDOTTE       MI    48192
UGMA MI
JEFFREY ALLEN NIGEL                             PO BOX 137                                                                                      NASHOTAH        WI    53058‐0137
JEFFREY ALLEN SMITH                             25 E MAIN ST 3                                                                                  SPRINGVILLE     NY    14141‐1244
JEFFREY ANDREW SABIN                            33 HOLMES CT                                                                                    PORTSMOUTH      NH    03801‐5206
JEFFREY ARMSTRONG                               BOX 48 GRP 347 RR 3                    WINNIPEG MB                            R3C 2E7 CANADA
JEFFREY ARTHUR CLARK                            6265 HINES HILL CIR                                                                             TALLAHASSEE     FL    32312‐1558
JEFFREY B BLAIR                                 52 JUDGES COURT                                                                                 INWOOD          WV    25428
JEFFREY B COHEN                                 3035 BENT CREEK TERR                                                                            ALPHARETTA      GA    30005‐8710
JEFFREY B GERTLEY                               45568 IRVINE DR                                                                                 NOVI            MI    48374‐3773
JEFFREY B GREEN                                 1 EDMUND PLACE                                                                                  AN ARBOR        MI    48103‐3609
JEFFREY B HARDIN                                3152 WILLIAMS STREET                                                                            WARREN          OH    44481‐9431
JEFFREY B HARGROVE                              3001 E MILLER RD                                                                                BANCROFT        MI    48414‐9796
JEFFREY B HARTMANN                              21002 HARVEST HILL                                                                              HOUSTON         TX    77073‐3200
JEFFREY B HOUTCHENS                             2 E KAPOK DR                                                                                    NEWARK          DE    19702‐6113
JEFFREY B JENSEN                                9716 SINCLAIR ST                                                                                FORT WORTH      TX    76244‐5888
JEFFREY B JONES                                 7632 PENNSYLVANIA AVE                                                                           NORTH           PA    15642‐2787
                                                                                                                                                HUNTINGDON
JEFFREY B JORGENSON                             34 AFTON CRESCENT                      ST ALBERT AB                           T8N 2T3 CANADA
JEFFREY B KASPER                                52 EDITH AVE                                                                                    EDISON          NJ    08817‐2817
JEFFREY B KELLEY                                19 BAYVIEW RD                          PO BOX 187A SHS                                          DUXBURY         MA    02331‐0487
JEFFREY B KERCHER                               8482 E 30 RD                                                                                    CADILAC         MI    49601‐9110
JEFFREY B KURZAWA                               127 BEDWEN BACH LANE                                                                            GRANVILLE       OH    43023‐1513
JEFFREY B LATOR                                 1130 E PARKS RD                                                                                 SAINT JOHNS     MI    48879‐9173
JEFFREY B LEWIS                                 133 GLENMERE WAY                                                                                HOLBROOK        NY    11741‐5013
JEFFREY B MELTON                                14867 TELEGRAPH RD                                                                              FLAT ROCK       MI    48134‐9656
JEFFREY B MURPHY                                168 RIDGE RD                                                                                    MILLERSVILLE    PA    17551‐9781
JEFFREY B OSGOOD & KATHLEEN M OSGOOD JT TEN     22 HIGHLAND STREET                                                                              WELLSBORO       PA    16901‐7871

JEFFREY B OWEN CUST MARJORIE ANN OWEN UGMA MI 4096 OAK TREE CIR                                                                                 ROCHESTER       MI    48306‐4656

JEFFREY B PALMQUIST                             4620 WOLFSPRING DR                                                                              LOUISVILLE      KY    40241‐1057
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JEFFREY B PANCER                                 26 ROLLING DR                                                                                  BROOKVILLE         NY    11545‐2613
JEFFREY B PIERRE                                 11714 SILMARILLION TRAIL                                                                       AUSTIN             TX    78739‐5636
JEFFREY B RAUCH CUST COURTNEY A RAUCH UTMA MI    363 SKELLOGG ROAD                                                                              HOWELL             MI    48843

JEFFREY B SCHMIDTENDORFF                         5855 VALLEY DR                        UNIT 2015                                                N LAS VEGAS        NV    89031‐3628
JEFFREY B SHELTON                                15160 PIONEER TRAIL                                                                            EDEN PRAIRIE       MN    55347‐2508
JEFFREY B SMITH                                  1149 GLENGARY PLACE                                                                            COLORADO SPGS      CO    80921
JEFFREY B THOMPSON                               3055 LINDA MARIE WAY                                                                           COMMERCE TWP       MI    48390‐1149
JEFFREY B WADE                                   318 BRATTON ST                                                                                 WINNSBORO          SC    29180‐1026
JEFFREY B WHITT                                  1244 SMITH JACKSON RD                                                                          PROSPECT           TN    38477‐6709
JEFFREY B ZEMBROSKY                              9270 NORTH BROADMOOR ROAD                                                                      BAYSIDE            WI    53217‐1306
JEFFREY BARATS                                   340 VIA LARGO CT                                                                               MORGAN HILL        CA    95037‐7703
JEFFREY BAROLAK                                  3 ARCHSTONE CIRCLE                    APT 207                                                  READING            MA    01867
JEFFREY BEHR CUST AARON BEHR UTMA NJ             11 ROBIN HOOD WAY                                                                              WAYNE              NJ    07470‐5427
JEFFREY BERGER & FRANK BERGER JT TEN             308 SUNRISE HWY                                                                                ROCKVILLE CENTER   NY    11570‐4906

JEFFREY BERNARD MC INTYRE                      2279 WEIR DRIVE                                                                                  HUDSON             OH    44236‐3140
JEFFREY BORTAK                                 1476 SWEET BOTTOM CIR                                                                            MARIETTA           GA    30064‐5223
JEFFREY BOTKIN CUST CONNOR GRAY BOTKIN UTMA OH 2550 BROKEN HILL DRIVE                                                                           PARK CITY          UT    84098‐5882

JEFFREY BOULES CUST MADISON BOULES UTMA TX       528 ALAMO TRAIL                                                                                GRAPEVINE          TX    76051

JEFFREY BROWN                                    1541 CROSSTIMBERS DR                                                                           LOUISVILLE         KY    40245‐8411
JEFFREY BROWN                                    2150 MONTEREY RD #12                                                                           SAN JOSE           CA    95112
JEFFREY BRUCE LEVIN                              1001 2ND ST W                                                                                  WEST FARGO         ND    58078‐2612
JEFFREY BRUCE LOVELL                             27 HAMPTON RD                                                                                  LYNBROOK           NY    11563‐3804
JEFFREY BRYAN BABB                               PO BOX 2128                                                                                    VAIL               CO    81658‐2128
JEFFREY BURDITT                                  2 BLACKSTONE CT                                                                                MERRIMACK          NH    03054‐3451
JEFFREY BURKETT CUST JESSICA BURKETT UTMA PA     RR1 BOX 1131                          BAPTIST HILL ROAD                                        HALLSTEAD          PA    18822

JEFFREY C ANDERSON                               3140 HEIDE ROAD                                                                                SPRINGFIELD        OH    45506‐3908
JEFFREY C ARGYLE                                 6946 YORK ST                                                                                   WATERFORD          MI    48327‐3508
JEFFREY C BARNUM                                 PO BOX 148                                                                                     SEBASTOPOL         CA    95473‐0148
JEFFREY C BROACH                                 P 0 BOX 8601                                                                                   ATLANTA            GA    31106‐8601
JEFFREY C BUCHHOLZ                               7699 MARTINSVILLE RD                                                                           CROSS PLAINS       WI    53528‐9738
JEFFREY C BURKA                                  1811 13TH ST NW                                                                                WASHINGTON         DC    20009‐4423
JEFFREY C DALY                                   1416 LINDENWOOD DRIVE                                                                          OLATHE             KS    66062‐3214
JEFFREY C DIENER                                 249 MYRTLE AVE                                                                                 ELMHURST           IL    60126‐2651
JEFFREY C DIXON                                  308 N CANAL                                                                                    LANSING            MI    48917‐9755
JEFFREY C EGAN                                   868 HARRELL AVE                                                                                WOODBRIDGE         NJ    07095‐3218
JEFFREY C ELLIOTT                                PO BOX 218                                                                                     CHROMO             CO    81128‐0218
JEFFREY C GLASSAUER                              5954 WALLACE DRIVE                                                                             CLAYTON            CA    94517‐1143
JEFFREY C GRAIG                                  4953 HIGHLAND DR                                                                               WILLOUGHBY         OH    44094‐5726
JEFFREY C GRANT TR UA 11/07/1993 JOSEPHINE T     1332 CHARTWELL                                                                                 EAST LANSING       MI    48823
GRANT TRUST
JEFFREY C GRAY                                   220 RITA ST                                                                                    DAYTON             OH    45404‐2060
JEFFREY C HENDRY                                 191 LORBERTA LN                                                                                WATERFORD          MI    48328‐3042
JEFFREY C HORN                                   86 HILL STREET                                                                                 HAMDEN             CT    06514‐1535
JEFFREY C JOHNSON                                2826 WYANDOTTE AVR                                                                             SAN DIEGO          CA    92117‐1657
JEFFREY C JORDAN                                 6912 BRADSHAW                                                                                  SHAWNEE MISSION    KS    66216‐2653

JEFFREY C KURTZE                                 10303 ORCHARD LN                                                                               LAKEVIEW           MI    48850‐9142
JEFFREY C MALEK                                  501 GILES ST                                                                                   SAINT JOHNS        MI    48879‐1257
JEFFREY C MOORE                                  3012 OLD FIELD WAY                                                                             LEXINGTON          KY    40513
JEFFREY C MORRISON & CAROL J MORRISON JT TEN     37 RADCLIFF DR                                                                                 DOYLESTOWN         PA    18901‐2654

JEFFREY C NORMANT CUST MELISSA E NORMANT UTMA 420 S CAMELBACK DR                                                                                ABSECON            NJ    08201‐9655
NJ                                                                                                                                              HIGHLANDS
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JEFFREY C NORMANT CUST MICHELE M NORMANT         420 S CAMELBACK DR                                                                             ABSECON           NJ    08201‐9655
UTMA NJ                                                                                                                                         HIGHLANDS
JEFFREY C ORTMAN                                 6931 CARRIAGEWAY LANE                                                                          CHARLOTTE         NC    28227
JEFFREY C PERKINS & MERYL PERKINS JT TEN         3371 N 47TH AVE                                                                                HOLLYWOOD         FL    33021‐2310
JEFFREY C ROBERTS                                PO BOX 14063                                                                                   ODESSA            TX    79768‐4063
JEFFREY C SHARPE & GLENNA A COOLEY JT TEN        6701 KIRKDALE DR                                                                               FT WAYNE          IN    46815‐5523
JEFFREY C SMITH                                  3077 RAGIS RD                                                                                  EDGEWATER         FL    32132‐2920
JEFFREY C SPANGLER                               952 SAVANNAH ROAD                                                                              EAGAN             MN    55123‐1546
JEFFREY C SPRAGUE                                13701 HAMERSLEY DR                                                                             BATH              MI    48808‐9410
JEFFREY C STEGMIER                               5930 9 MILE ROAD                                                                               ROCKFORD          MI    49341‐8508
JEFFREY C UOTILA                                 1 BEACH DR SE UNIT 2104                                                                        ST PETERSBURG     FL    33701
JEFFREY C WAIT                                   1233 COUNTY ROUTE 54                  PO BOX 535                                               CHERRY VALLEY     NY    13320‐0535
JEFFREY C WALTON                                 13930 MESSENGER BAY                                                                            FORT WAYNE        IN    46845‐9175
JEFFREY C WEISS                                  932 FALLS AVE                                                                                  CUYAHOGA FALLS    OH    44221‐4545
JEFFREY C WILSON                                 6407 N INDIANA AVE                                                                             KANSAS CITY       MO    64119‐1301
JEFFREY C WOZNIAK & BRIANA WOZNIAK JT TEN        1107 TWIN LAUREL BLVD                                                                          NOKOMIS           FL    34275‐1835
JEFFREY C YOUNG                                  80 CHIPPEWA TR                                                                                 LAKE ORION        MI    48362‐1312
JEFFREY CADENA                                   CASSILLA 17‐11‐5112                   QUITO                                  ECUADOR
JEFFREY CAMPBELL QUINN                           6830 SABLE RIDGE LN                                                                            NAPLES            FL    34109‐3802
JEFFREY CARL HAWK & YVONNE MARIE HAWK JT TEN     10521 FALK RD NE                                                                               BAINBRIDGE ISLAND WA    98110‐1329

JEFFREY CARROLL                                  21 FERNDALE CT                                                                                 COVINGTON         KY    41017‐9402
JEFFREY CHALIFOUX                                89 HIGHVIEW AVE                                                                                HOPE VALLEY       RI    02832‐1703
JEFFREY CHARLES BALD                             1048 JEFFERSON ST                                                                              BALDWIN           NY    11510‐4745
JEFFREY CHOWN                                    396 KINGSBURY DR                                                                               DEKALB            IL    60115‐8283
JEFFREY CHRISTIAN KIRSCHMAN                      9184 MOCCISON RUN                                                                              CHAGARIN FALLS    OH    44023‐4360
JEFFREY CITRON & LYNN CITRON JT TEN              46 EAGLE CHASE                                                                                 WOODBURY          NY    11797‐2913
JEFFREY COHEN CUST LOGAN ELIZABETH COHEN UGMA    9 ANTHONY DRIVE                                                                                MALVERN           PA    19355‐1972
NY
JEFFREY COHEN CUST MICHELE COHEN UTMA CA         9734 BOTHWELL RD                                                                               NORTHRIDGE        CA    91324‐1610
JEFFREY COHEN CUST ROSS WILLIAM COHEN UGMA NY    9 ANTHONY DRIVE                                                                                MALVERN           PA    19355‐1972

JEFFREY COLLINS                                PO BOX 9421                                                                                      AKRON             OH    44305‐0421
JEFFREY COTTON                                 4310 GREENLAWN                                                                                   FLINT             MI    48504‐5412
JEFFREY COTTON                                 923 FAIRVIEW AVE                                                                                 LIMA              OH    45804‐1723
JEFFREY COYLE HEARON                           2417 S COUNTY ROAD 125 W                                                                         DANVILLE          IN    46122‐8243
JEFFREY CRAWFORD                               2876 PANTHER SPRING RD                                                                           EMLENTON          PA    16373‐7836
JEFFREY CURTIS CHRISTENSEN                     4924 CHINOOK DR                                                                                  EVERETT           WA    98203‐1376
JEFFREY CURTIS REESE                           P O BOX 354                                                                                      CLARKS SUMMIT     PA    18411
JEFFREY D ADAMS CUST JASE TAYLOR ADAMS UGMA NY 1389 GREEN OAKS DRIVE                                                                            GREENWOOD         CO    80121‐1330
                                                                                                                                                VILLAGE
JEFFREY D ANDERSON CUST ELSEY NICOLE MENDYK      8034 BOARDWALK DR                                                                              EAGLE RIVER       WI    54521‐8109
UTMA WI
JEFFREY D ANSPAUGH                               BOX 141                                                                                        DAWSON            IA    50066‐0141
JEFFREY D BARLEY                                 PO BOX 789                                                                                     FT MONTGOMERY     NY    10922‐0789
JEFFREY D BAUGHMAN                               11433 ALLEN ROAD                                                                               WEBBERVILLE       MI    48892‐9523
JEFFREY D BUNCE CUST JOCELYN R BUNCE UTMA IN     2718 DEERFIELD RUN BLVD #40                                                                    ANDERSON          IN    46017‐9336

JEFFREY D CHESSER                                6020 TYREE RD                                                                                  WINSTON           GA    30187‐1112
JEFFREY D COLE                                   305 RIVERDALE ROAD                                                                             SEVERNA PARK      MD    21146‐1335
JEFFREY D DORAN                                  2110 LOCHNAYNE LN                                                                              DAVISON           MI    48423‐8376
JEFFREY D ENO                                    6138 NW WALES RD                                                                               KANSAS CITY       MO    64151‐2854
JEFFREY D FADELY                                 574 N 10TH ST                                                                                  MIDDLETOWN        IN    47356‐1204
JEFFREY D FERNSLER                               2296 BROOKMEAD WAY                                                                             CHARLOTTE         MI    48813‐9762
JEFFREY D FORCHELLI                              5 DANTON LN SOUTH                                                                              LATTINGTOWN       NY    11560‐1123
JEFFREY D GOFORTH                                19021 SAN DIEGO BLVD                                                                           LATHRUP VILLAGE   MI    48076‐3375

JEFFREY D GOWER                                  411 WALNUT ST #3868                                                                            GREEN CV SPGS     FL    32043
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JEFFREY D HATTON                                 4800 BETHESDA RD                                                                                THOMPSONS       TN    37179‐9226
                                                                                                                                                 STATION
JEFFREY D JACOBS                                 6514 VALLEYBROOK                                                                                LAMBERTVILLE    MI    48144‐9419
JEFFREY D KOBMAN & ELIZABETH J KOBMAN JT TEN     10207 NI RIVER DR                                                                               SPOTSYLVANIA    VA    22553‐3742

JEFFREY D KOPERSKI                               2658 MIDLAND RD                                                                                 BAY CITY        MI    48706‐9201
JEFFREY D KUGLER                                 986 PACIFIC ST                                                                                  NEW MILFORD     NJ    07646‐2331
JEFFREY D LANE                                   5900 BLISS DR                                                                                   OXFORD          MI    48371‐2146
JEFFREY D LAYSON                                 12367 HURON ST                                                                                  TAYLOR          MI    48180‐4304
JEFFREY D LIEBERMAN & CAMILLA LIEBERMAN JT TEN   620 FALLS BAY CT                                                                                ALPHARETTA      GA    30022‐3305

JEFFREY D LINN                                   3729 MCGREGOR                                                                                   TOLEDO          OH    43623‐1732
JEFFREY D LITMAN                                 35 ROYAL ANN DRIVE                                                                              GREENWOOD VLG   CO    80111

JEFFREY D MENDENHALL                            2740 E US HIGHWAY 40                                                                             GREENCASTLE     IN    46135‐8738
JEFFREY D MOGG                                  1324 BRENTWOOD RD                                                                                CHARLOTTE       MI    48813‐9750
JEFFREY D NELSON                                2620 N WASHINGTON ST TRLR 2                                                                      KOKOMO          IN    46901‐5851
JEFFREY D PAIGE                                 5554 W HENRY ST                                                                                  INDIANAPOLIS    IN    46241‐0620
JEFFREY D PAULSEN                               702 EAGLE CIR                                                                                    NORTH PLATTE    NE    69101‐6732
JEFFREY D PIERCE                                117 BESS BLVD                                                                                    PENDLETON       IN    46064‐8804
JEFFREY D QUAZZA CUST FRANCINE R QUAZZA UTMA NJ 122 SHERMAN AVE                                                                                  CEDAR GROVE     NJ    07009‐1729

JEFFREY D ROTH                                   12 JUNIPER LN                                                                                   STRATHAM         NH   03885‐2493
JEFFREY D SEIBERT                                3672 COVINGTON LN                                                                               DOYLESTOWN       PA   18901‐1460
JEFFREY D SHULTZ & RENEE SHULTZ JT TEN           PO BOX 13221                                                                                    FORT PIERCE      FL   34979‐3221
JEFFREY D SIMPSON                                402 JOSHUA LN                                                                                   MIDDLETOWN       DE   19709‐8006
JEFFREY D STEVENS                                907 WALNUT ST                                                                                   MARTINS FERRY    OH   43935‐1447
JEFFREY D WARNER                                 8334 N OAK RIDGE DR                                                                             MILTON           WI   53563‐9356
JEFFREY D WARNER & SANDRA M WARNER JT TEN        38543 SHEFFIELD                                                                                 CLINTON TOWNSHIP MI   48036‐2863

JEFFREY D WYDNER                                 130 MEADOWBROOK LN                                                                              HAMPSHIRE       TN    38461‐5134
JEFFREY D YOUNG                                  28 COTTAGE ST                                                                                   WALLINGFORD     CT    06492
JEFFREY DANIEL INWOOD                            8004 WAYANOKE CT                                                                                PROSPECT        KY    40059‐9426
JEFFREY DAUBE CUST SHARONA L DAUBE UGMA NY       4616 ARLINGTON AVE                                                                              RIVERDALE       NY    10471‐3602

JEFFREY DAVID ADAMS CUST ALLISON NICOLE ADAMS    1389 GREEN OAKS DRIVE                                                                           GREENWOOD      CO     80121‐1330
UGMA NY                                                                                                                                          VILLAGE
JEFFREY DAVID BROWNING                           1881 NIXON DR                                                                                   BOERNE         TX     78006‐5837
JEFFREY DAVID RAU                                2360 STRATFORD POINT DR                                                                         WEST MELBOURNE FL     32904

JEFFREY DAVID REUBEN                             6 WARRENTON DR                                                                                  HOUSTON         TX    77024‐6222
JEFFREY DE POORTER CUST ANDREW T DE POORTER      49450 HELMSLEY DR                                                                               MACOMB          MI    48044‐1760
UGMA MI
JEFFREY DEAN PALMER                              BOX 933                                DAVIDSON SK                            S0G 1A0 CANADA
JEFFREY DEBS CUST TAYLOR FAYE DEBS UTMA NJ       71 SHEPHERD RD                                                                                  CHERRY HILL     NJ    08034‐2616
JEFFREY DESANTIS CUST PETER J DESANTIS UTMA OH   821 RED HILL DR                                                                                 LORAIN          OH    44052‐5226

JEFFREY DEWIT                                    3523 LEIGHTON HALL COURT                                                                        TALLAHASSEE     FL    32308‐4097
JEFFREY DIETRICH                                 6215 NEW TAYLOR RD                                                                              ORCHARD PARK    NY    14127‐2343
JEFFREY DONALD BROWN                             PO BOX 2663                                                                                     WESTPORT        CT    06880‐0663
JEFFREY E DETLEFSEN                              4715 SW 18TH PLACE                                                                              PORTLAND        OR    97201‐2173
JEFFREY E DITTO                                  RR 1 BOX 316                                                                                    WARRENTON       MO    63383‐9745
JEFFREY E FABER                                  1129 ARBORHILL DR                                                                               WOODSTOCK       GA    30189‐2398
JEFFREY E FRY                                    BOX 17                                                                                          MIAMIVILLE      OH    45147‐0017
JEFFREY E GEPPERT                                31084 SCHOOLCRAFT                                                                               LIVONIA         MI    48150‐2025
JEFFREY E KLONT                                  3932 MORNINGSTAR LN                                                                             EATON RAPIDS    MI    48827‐8708
JEFFREY E MARTIN                                 PO BOX 120                                                                                      CHAPEL HILL     TN    37034‐0120
JEFFREY E MICHAELIS                              2110 BURR OAK LN                                                                                LINDENHURST     IL    60046‐9227
JEFFREY E NEUMAN                                 77 HOLMES MILL RD                                                                               CREAM RIDGE     NJ    08514‐1804
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JEFFREY E PEACOCK & KAY A PEACOCK JT TEN        858 KINGS COVE                                                                                  PRINCETON        IL    61356‐2328
JEFFREY E PHILLIPS                              1530 W SYCAMORE ST                                                                              KOKOMO           IN    46901‐4231
JEFFREY E ROGERS                                315 SO MCDONOUGH ST                                                                             DECATUR          GA    30030‐3719
JEFFREY E SHULTZ                                7950E 400S                                                                                      ZIONSVILLE       IN    46077‐9513
JEFFREY E SMALL                                 2090 W SHANNON ST                                                                               CHANDLER         AZ    85224‐6995
JEFFREY E STIDHAM                               20 FOX PATH DR                                                                                  NEWARK           DE    19711‐2309
JEFFREY E THROWER                               28806 UXBRIDGE DR                                                                               WILLOWICK        OH    44095‐4583
JEFFREY E TOORONGIAN                            RT 1 BOX 242B                                                                                   CHASSELL         MI    49916‐9711
JEFFREY E WILLETTE                              73 RICE DR                             WHITBY ON                              L1N 7Z5 CANADA
JEFFREY EARL WRIGHT                             2102 STANFORD RD                                                                                ASHBURN          GA    31714‐3504
JEFFREY EDGAR DAY & CAROL WILMER DAY JT TEN     1017 SW MYRTLE DRIVE                                                                            PORTLAND         OR    97201
JEFFREY EDWARD MASSARO                          381 SPRINGS DR                                                                                  COLUMBUS         OH    43214‐2859
JEFFREY F BROWN                                 3195 WALTER RD                                                                                  NORTH OLMSTED    OH    44070‐1073
JEFFREY F CARR                                  8214 POINT PENDLETON DR                                                                         TOMBALL          TX    77375‐4775
JEFFREY F CRIPPEN                               731 SOARING DR                                                                                  MARIETTA         GA    30062
JEFFREY F GRANT                                 1284 TOYON DR                                                                                   MILLBRAE         CA    94030
JEFFREY F MARSHALL                              2548 ST PETERS ROAD                                                                             EAST TROY        WI    53120‐9475
JEFFREY F MAURER                                16320 EASY ST                                                                                   KETTLERSVILLE    OH    45336
JEFFREY F OTIS                                  58 REJEAN RD                                                                                    SOUTHINGTON      CT    06489‐3638
JEFFREY F WATSON                                7279 N IRVINGTON AVE                                                                            INDIANAPOLIS     IN    46250‐2665
JEFFREY F WILKENS                               PO BOX 232                                                                                      EAST WINTHORP    ME    04343‐0232
JEFFREY F YOUNG                                 7113 S DUCK CREEK RD                                                                            BERLIN CENTER    OH    44401‐9634
JEFFREY FATTA                                   23 SOUTHERN PINE TRAIL                                                                          ORMOND BEACH     FL    32174
JEFFREY FEIST & DOREEN FEIST JT TEN             2482 FIELDSTONE CURVE                                                                           SAINT PAUL       MN    55129
JEFFREY FIEDLER                                 142 CIDER MILL ROAD                                                                             FLEMINGTON       NJ    08822‐1957
JEFFREY FINN                                    645 CINNABAR COURT                                                                              ROSEVILLE        CA    95678‐1216
JEFFREY FINN                                    545 CINNABAR COURT                                                                              ROSEVILLE        CA    95678
JEFFREY FRANK DAVIS                             23645 WILSON AVE                                                                                DEARBORN         MI    48128‐1759
JEFFREY G AUGUSTYN                              20 MAPLEFIELD                                                                                   PLEASANT RIDGE   MI    48069‐1018
JEFFREY G AYLSWORTH                             9433 MARGAIL                                                                                    DES PLAINS       IL    60016‐3810
JEFFREY G BELPREZ                               10578 COLBY LAKE RD                                                                             PERRY            MI    48872‐9796
JEFFREY G DIEBOLD                               57184 MOONCREEK CT                                                                              WASHINGTON       MI    48094‐4232
                                                                                                                                                TWPP
JEFFREY G HERRON                              228 LAKEWOOD                                                                                      DETROIT          MI    48215‐3152
JEFFREY G JOHNSON                             PO BOX 1152                                                                                       PATTERSON        LA    70392‐1152
JEFFREY G KJAR                                615 COUNTRY SQUIRE CIR                                                                            SAINT PETERS     MO    63376‐3875
JEFFREY G MAYS CUST PATRICK J MAYS UGMA VA    10028 DALLAS AVE                                                                                  SILVER SPRING    MD    20901‐2239
JEFFREY G MCGOLDRICK                          32 PINE RIDGE RD                                                                                  READING          MA    01867‐3733
JEFFREY G OLDFIELD                            7558 ROUTE 380                                                                                    STOCKTON         NY    14784‐9722
JEFFREY G SALEH                               5035 CHASE RD                                                                                     DEARBORN         MI    48126‐5007
JEFFREY G SAMSON CUST ANDREW J SAMSON UTMA CA 27417 BRIDGEWATER                                                                                 VALENCIA         CA    91354‐1817

JEFFREY G SHELDON                               16172 DARLING ST                                                                                MACOMB           MI    48042
JEFFREY G WREN                                  425 ORCHARD DR                                                                                  SPRINGBORO       OH    45066‐8939
JEFFREY GAVLIK                                  1849 JEFFERSON AVE                                                                              WASHINGTON       PA    15301‐1504
JEFFREY GOERGES CHRISTOPHER GOERGES & GREGORY   29 CAMBRIDGE LANE                                                                               LINCOLNSHIRE     IL    60069‐3101
GOERGES JT TEN
JEFFREY GOLD CUST ERIKA GOLD UGMA NY            14‐34 30TH RD                                                                                   ASTORIA          NY    11102‐3640
JEFFREY GOULD CUST ZEV MAOR GOULD UTMA PA       4441 CREEK RD                                                                                   ALLENTOWN        PA    18104‐3447

JEFFREY GREEN                                   PO BOX 8231                                                                                     PITTSBURGH      PA     15217‐0231
JEFFREY GROSS CUST MATTHEW GROSS UTMA IL        29 WELLESLEY CIR                                                                                NORTHBROOK      IL     60062‐1134
JEFFREY GRZELKA                                 4050 WINSTON DR                                                                                 HOFFMAN ESTATES IL     60195‐1763

JEFFREY H ARMSTRONG                             1011 HORIZON WAY                                                                                MARTINSBURG      WV    25401‐1029
JEFFREY H BULL                                  7200 BAYLINER LAUNCH                                                                            EDMOND           OK    73013‐8724
JEFFREY H CHURCH                                3890 VANNETER RD                                                                                WILLIAMSTON      MI    48895‐1077
JEFFREY H DOBBS                                 1095 APPLECROSS DRIVE                                                                           ROSEWELL         GA    30075‐1060
JEFFREY H GLOSSOP                               9705 ROSSMAN HWY                                                                                EATON RAPIDS     MI    48827‐9339
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Name                                             Address1                              Address2             Address3          Address4          City               State Zip

JEFFREY H GROSS                                  10995 GROG RUN RD                                                                              LOVELAND           OH    45140‐6644
JEFFREY H KARGER EX EST ARTHUR KARGER            10 SEVEN OAKS LANE                                                                             NANUET             NY    10954
JEFFREY H KING                                   17 PHEASANT HOLLOW RUN                PO BOX 196                                               PRINCETON          MA    01541‐0196
JEFFREY H MOSER                                  2050 WESTGATE DR                                                                               BETHLEHEM          PA    18017‐7466
JEFFREY H QUIGLEY                                668 BENDING BROOK DR                                                                           FLUSHING           MI    48433‐3017
JEFFREY H SCOTT                                  7233 SONDRIDGE CIR                                                                             INDIANAPOLIS       IN    46256‐2367
JEFFREY H SCOTT                                  6231 COLUMBIA ST                                                                               HASLETT            MI    48840‐8225
JEFFREY H SINCLAIR                               6560 SHELBYVILLE RD                                                                            INDIANAPOLIS       IN    46237‐9720
JEFFREY H SMITH                                  60 OVERLOOK RD                                                                                 MONTCLAIR          NJ    07043‐2021
JEFFREY H STOLLER & JULIE L STOLLER JT TEN       352 YANKEE TRACE DR                                                                            CENTERVILLE        OH    45458‐3982
JEFFREY H SURECK                                 5639 CHAMPION CREEK BLVD                                                                       MODINA             OH    44256‐6825
JEFFREY H WHITNEY                                3852 WELCH RD                                                                                  ATTICA             MI    48412‐9336
JEFFREY H WILKIN                                 924 S E 29TH TERR                                                                              CAPE CORAL         FL    33904‐2928
JEFFREY H WOLFF                                  3507 WALNUT ST                                                                                 WILMETTE           IL    60091‐1038
JEFFREY H WOLFORD                                PO BOX 99                                                                                      ROUND HILL         VA    22141
JEFFREY HAAS                                     11659 NORVELL LAKE DR                                                                          BROOKLYN           MI    49230‐9529
JEFFREY HABERMAN CUST DAVID J HABERMAN UGMA      262 SITKA CT                                                                                   WOODBURY           NY    11797‐3109
NY
JEFFREY HARLESS                                  5395 WHISPERING OAKS                                                                           FORT WORTH         TX    76140‐9521
JEFFREY HAROLD COUCHMAN                          72 BASSWOOD DR                                                                                 BUFFALO            NY    14227‐2609
JEFFREY HAUN                                     3075 ASBURY ROAD                                                                               DUBUQUE            IA    52001‐8458
JEFFREY HAYDEN                                   402 LAKEVIEW ST                                                                                DANVILLE           IL    61832‐1028
JEFFREY HAYDU & MARY KATHERINE MOONEY FAMILY     5355 NOAH WAY                                                                                  SAN DIEGO          CA    92117
TRUST UA 07/05/00
JEFFREY HILLOCK                                  21410 CUNNINGHAM                                                                               WARREN             MI    48091‐4605
JEFFREY HOUCK                                    1240 BEAULIEU COURT                                                                            SAN JOSE           CA    95125
JEFFREY HOWARD BRAVMAN                           16 FROST AVENUE                                                                                EAST BRUNSWICK     NJ    08816‐4502
JEFFREY HOWE ANDRE                               1910 WHITE OAK CLEARING                                                                        SOUTHLAKE          TX    76092‐6930
JEFFREY I PUGAY                                  13600 MARINA POINTE DRIVE             UNIT 707                                                 MARINA DL REY      CA    90292
JEFFREY I WOOD CUST WYATT WOOD UTMA IN           9057 ADMIRALS BAY DR                                                                           INDIANAPOLIS       IN    46236
JEFFREY I WOOLEY                                 C/O SUPERIOR PONTIAC‐GMC INC          PO BOX 15800                                             TAMPA              FL    33684‐5800
JEFFREY IRA BLOOMFIELD                           42‐65 KISSENA BLVD APT 414                                                                     FLUSHING           NY    11355‐3271
JEFFREY IRA ZELL                                 2765 W 5TH ST APT 12 G                                                                         BROOKLYN           NY    11224‐4711
JEFFREY J ADLER                                  8 CUMBERLAND RD                                                                                WEST HARTFORD      CT    06119‐1120
JEFFREY J ANDREWS                                1510 FATIMA DR                                                                                 CLEVELAND          OH    44134‐5377
JEFFREY J ASTALOS                                55 INWOOD AVENUE                                                                               COLONIA            NJ    07067‐2031
JEFFREY J BARRANCO                               184 CAMBRIDGE LANE                                                                             BLOOMINGDALE       IL    60108‐1504
JEFFREY J BRADAC                                 2331 LEXINGTON DRIVE                                                                           OWOSSO             MI    48867‐1012
JEFFREY J COOK                                   769 JOY RD                                                                                     BATTLE CREEK       MI    49014‐8450
JEFFREY J COX                                    3150 EAGLES NEST CT                                                                            MIDLOTHIAN         TX    76065‐4703
JEFFREY J CURTIS                                 15 MAIDEN LN                                                                                   PLAINVILLE         CT    06062‐1211
JEFFREY J DAWES                                  1529 LINCOLN RD UNIT 5                                                                         YUBA CITY          CA    95993‐6026
JEFFREY J ESSER                                  72 JOY MARIE LANE                                                                              WATERFORD          WI    53185‐2119
JEFFREY J FERLAND                                2844 SHIRLEY                                                                                   INDIANAPOLIS       IN    46222‐1479
JEFFREY J FOSTER                                 5416 NW 84TH TER                      APT 312                                                  KANSAS CITY        MO    64154‐1461
JEFFREY J GENSHAFT CUST DANIEL A GENSHAFT UGMA   4 MERRYWOOD RD                                                                                 WAPPINGERS FALLS   NY    12590‐1206
NY
JEFFREY J GLAGOLA CUST SARAH LINSEY GLAGOLA      1719 LARES LANE                                                                                BRUNSWICK          OH    44212‐3735
UGMA OH
JEFFREY J GOULDER                                9626 N 130TH ST                                                                                SCOTTSDALE         AZ    85259‐6212
JEFFREY J GREER                                  29130 FLORENCE                                                                                 GARDEN CITY        MI    48135‐2792
JEFFREY J GURITZA                                14129 RYAN DR                                                                                  BEDFORD            OH    44146
JEFFREY J HARRIS                                 622 DORIAN RD                                                                                  WESTFIELD          NJ    07090‐3339
JEFFREY J HIME                                   4897 VINES ROAD                                                                                HOWELL             MI    48843‐9513
JEFFREY J HNATIAK                                206 LONG BEACH ROAD                                                                            OSWEGO             IL    60543‐8136
JEFFREY J HYLEK                                  2309 ARDAUGH AVE                                                                               CREST HILL         IL    60435‐1860
JEFFREY J JANIS                                  3239 N LEAVITT                                                                                 CHICAGO            IL    60618
JEFFREY J JANOWICZ                               11 WILSON DR                                                                                   RYE                NY    10580
JEFFREY J KARRAR                                 3965 W JEFFERSON                                                                               ECORSE             MI    48229‐1740
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Name                                                Address1                               Address2              Address3         Address4          City               State Zip

JEFFREY J KIME                                      132 BALDWIN                                                                                     ROYAL OAK          MI    48067‐1842
JEFFREY J KNOSKY                                    529 PATTERSON AVE                                                                               TITUSVILLE         NJ    08560
JEFFREY J KOWALEWSKI                                39 KNOLLWOOD DR                                                                                 CHEEKTOWAGA        NY    14227
JEFFREY J KROLICKI                                  7211 SO WOLF RD UNIT 303A                                                                       INDIAN HEAD PARK   IL    60525‐4948

JEFFREY J LAMARCHE                                  2639 PEBBLE BEACH DR                                                                            OAKLAND            MI    48363
JEFFREY J LARKIN                                    23 PARK BLVD                                                                                    WANAMASSA          NJ    07712‐4273
JEFFREY J LOCKE                                     617 WRIGHT LANE                        BELLVE RIVER ON                        N0L 1G0 CANADA
JEFFREY J MALACARNE                                 PO BOX 82                                                                                       DEFIANCE           MO    63341‐0082
JEFFREY J MALLOY                                    281 HICKORY ST #10                                                                              ORANGE             NJ    07050‐3232
JEFFREY J MARCZEWSKI                                67 LINWELL RD #28                      SAINT CATHARINES ON                    L2N 7N3 CANADA
JEFFREY J MCMILLIN                                  8907 QUAIL RDG                                                                                  LENEXA             KS    66220‐3445
JEFFREY J MEEUSEN                                   686 DUNBARTON AVE                                                                               BOWLING GREEN      KY    42104‐7530
JEFFREY J MUTIMER                                   1745 Q ST NW                           APT D                                                    WASHINGTON         DC    20009‐2485
JEFFREY J NABINGER                                  3 BARNETT RD                                                                                    LAWRENCEVILLE      NJ    08648‐3121
JEFFREY J PLATT                                     8426 GRAND CARRIAGE GRV                                                                         COLORADO SPGS      CO    80920‐6222
JEFFREY J ROBINSON                                  1526 BEECHWOOD ST                                                                               MONROE             MI    48162‐4102
JEFFREY J ROUSE                                     12491 GRAND BLANK RD                                                                            DURAND             MI    48429‐9304
JEFFREY J SIMON                                     1012 ROMANY ROAD                                                                                KANSAS CITY        MO    64113‐2015
JEFFREY J SIMONS PER REP EST JANET K PRINCE         11963 ANDRE DR STE B                                                                            GRAND LEDGE        MI    48837
JEFFREY J SKUDAS                                    618 S MCKINLEY RD                                                                               FLUSHING           MI    48433‐1905
JEFFREY J SMITH                                     6831 PASATIEMPO CIRCLE                                                                          ELPASO             TX    79912‐7469
JEFFREY J THEIS & MARCEY L THEIS JT TEN             5230 QUAM CIRCLE                                                                                SAINT MICHAEL      MN    55376
JEFFREY J VISCOUNT                                  400 GEDDES ST                                                                                   WILMINGTON         DE    19805‐3717
JEFFREY J WELCHER & MARY ELLEN WELCHER JT TEN       1115 E E ST                                                                                     IRON MOUNTAIN      MI    49801‐3622

JEFFREY J WESLEY                                    56 B MIDDLESEX VILLAGE APTS                                                                     MIDDLESEX          NJ    08846‐2719
JEFFREY J WHALEN & JANET L WHALEN JT TEN            232 TROON CT                                                                                    ROYERSFORD         PA    19468‐1317
JEFFREY JACOBS                                      135 E ENID DR                                                                                   KEY BISCAYNE       FL    33149‐2204
JEFFREY JACOBS CUST MATTHEW JACOBS UTMA IL          2655 CRESTWOOD LANE                                                                             RIVERWOODS         IL    60015‐1904
JEFFREY JANSEN                                      1216 HARRIS AVE                                                                                 UNION BEACH        NJ    07735‐3510
JEFFREY JENKS & MRS NATIVIDAD L JENKS JT TEN        13361 LUDLOW                                                                                    HUNTINGTON         MI    48070‐1413
                                                                                                                                                    WOODS
JEFFREY JOHN SPITZLEY CUST KYLA NICOLE SPITZLEY     630 EARLIGLOW                                                                                   HASLETT            MI    48840‐9775
UGMA MI
JEFFREY JON SREMBA                                  5249 STAUFFER AVE SE                                                                            KENTWOOD        MI       49508‐6663
JEFFREY JONES                                       81 PRESTON RD                                                                                   BROOKLYN        CT       06234‐2340
JEFFREY K BARAN                                     4460 BETHUNE                                                                                    WEST BLOOMFIELD MI       48323‐1402

JEFFREY K DEAN                                      27 JORDAN RD                                                                                    BILLERICA          MA    01821‐2238
JEFFREY K DIEHL CUST JEFFREY K DIEHL JR UTMA PA     120 GUYER AVE                                                                                   SUNBURY            PA    17801

JEFFREY K GATES                                     3009 SHAWNEE AVENUE                                                                             FLINT              MI    48507‐1934
JEFFREY K HARSHBARGER                               PO BOX 1863                                                                                     PRINCETON          WV    24740‐1863
JEFFREY K JOYNER                                    1878 GRAEFIELD RD                                                                               BIRMINGHAM         MI    48009‐7543
JEFFREY K KROON                                     650 SMITH STREET                                                                                FORT COLLINS       CO    80524
JEFFREY K MAZUREK                                   2442 W SUNSET DR                                                                                LITTLETON          CO    80120‐3949
JEFFREY K MCAULIFFE                                 1532 MARLBORO ROAD                                                                              MUSKEGON           MI    49441‐3819
JEFFREY K RIOS                                      1525 HUXLEY ST                                                                                  KELLER             TX    76248‐8727
JEFFREY K SCHIECK                                   RTE 5 BOX 214                                                                                   AUSTIN             MN    55912‐9185
JEFFREY K THALER & MRS MARILYN A THALER JT TEN      37 MISTY PINE ROAD                                                                              FAIRPORT           NY    14450‐2631

JEFFREY K THIEDA                                    9145 ANCHORBAY DR                                                                               CLAY TWP           MI    48001
JEFFREY K TYLER                                     2506 N FOREST HILL                                                                              SAINT JOHNS        MI    48879‐9531
JEFFREY K WALKER                                    1807 PARK RD                                                                                    ANDERSON           IN    46011‐3954
JEFFREY K WARNER                                    12028 E RICHFIELD RD                                                                            DAVISON            MI    48423‐8592
JEFFREY KADERLI                                     8023 REGENT PARK LANE                                                                           CHARLOTTE          NC    28210‐5743
JEFFREY KAHN                                        38 GREGORY LN                                                                                   WARREN             NJ    07059‐5031
JEFFREY KAISER & CHERYL A ADAMS KAISER JT TEN       570 KENSINGTON CT                                                                               ROSELLE            IL    60172‐2623
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Name                                               Address1                              Address2             Address3          Address4          City            State Zip

JEFFREY KAZ SATO                                   1131 PLYMOUTH DR                                                                               SUNNYVALE       CA    94087‐1743
JEFFREY KEITH MOORE                                5605 WINTHROP CT                                                                               EVANSVILLE      IN    47715‐4284
JEFFREY KERSHAW BROWN                              62 MAPLE TERRACE                                                                               BATTLE CREEK    MI    49017‐4714
JEFFREY KIM WILLIAMS                               101 FITCH AVE                                                                                  WINCHESTER      KY    40391
JEFFREY KLUG                                       6895 EASTERN AVE SE                                                                            GRAND RAPIDS    MI    49508‐7473
JEFFREY KRIETE                                     342 N GROVE BEACH RD                                                                           WESTBROOK       CT    06498
JEFFREY KROE                                       50 BEATTIE AVE                                                                                 LOCKPORT        NY    14094‐5035
JEFFREY KULASZEWSKI                                G13297 CLIO RD                                                                                 CLIO            MI    48420
JEFFREY L ADAMS                                    228 BECKER ROAD                                                                                NORTH WALES     PA    19454
JEFFREY L AGOSTA                                   562 TWIN LAKE DR                                                                               ONSTED          MI    49265‐9507
JEFFREY L AITKENS                                  602 PINE SHADOW COVE                                                                           JONESBORO       AR    72401‐8642
JEFFREY L ANGSTMAN & ELAINE ANGSTMAN JT TEN        927 S BARNES ST                                                                                MASON           MI    48854‐1909

JEFFREY L ASHLEY                                   9064 CO RD 59                                                                                  MOULTON         AL    35650‐5728
JEFFREY L ASKEW                                    1517 CHIP RD                                                                                   KAWKAWLIN       MI    48631‐9110
JEFFREY L BAKER                                    1316 QUARTERSTAFF TRAIL                                                                        MOUNT AIRY      MD    21771
JEFFREY L BALDWIN                                  5485 STATE RTE 753                                                                             HILLSBORO       OH    45133‐6004
JEFFREY L BEARD                                    2011 LELAND AVE                                                                                BALTIMORE       MD    21220‐3927
JEFFREY L BECKMAN                                  1287 HOGUE RD                                                                                  HAMILTON        OH    45013‐9323
JEFFREY L BIERSTETEL                               11600 W TAFT RD                                                                                FOWLER          MI    48835‐9230
JEFFREY L BOYLE                                    919 CANON RD                                                                                   SANTA BARBARA   CA    93110‐2124
JEFFREY L BURGHDOFF                                5809 SHADYDELL DR                                                                              FORT WORTH      TX    76135‐2049
JEFFREY L CHAMBERS                                 4710 PENNINGTON COURT                                                                          INDIANAPOLIS    IN    46254‐9556
JEFFREY L CHAMP                                    32 SIPPLE AVENUE                                                                               BALTIMORE       MD    21236‐4327
JEFFREY L CHOATE                                   7146 CHESSINGTON DR                                                                            FAIRVIEW        TN    37062‐8165
JEFFREY L CLARK                                    552 HOMESTEAD DR                                                                               N TONAWANDA     NY    14120‐1652
JEFFREY L CONNER                                   7907 NOLAN DR                                                                                  EATON RAPIDS    MI    48827‐8097
JEFFREY L CORNELL                                  1526 MASSACHUSETTS AVE                                                                         LANSING         MI    48906‐4615
JEFFREY L CROSSETT                                 927 W MADISON ST                                                                               WASHINGTON      IA    52353‐1622
JEFFREY L DAVIDSON & MAUREEN G DAVISDON JT TEN     3405 TITANIC DR                                                                                STAFFORD        VA    22554‐2724

JEFFREY L DAVIS                                    281 BURNCOAT RD                                                                                PINK HILL       NC    28572‐7517
JEFFREY L DAVIS                                    1712 SLEEPY HOLLOW CIRCLE                                                                      OLATHE          KS    66062‐2222
JEFFREY L DAVIS                                    3829 ANOKA DR                                                                                  DRAYTON PLS     MI    48020
JEFFREY L DAVIS CUST CAREY WILLIAM DAVIS UTMA NC   5804 VALLEY MIST CT                                                                            RALEIGH         NC    27613‐8532

JEFFREY L DAVIS CUST KYLE BRANDON DAVIS UTMA NC    5804 VALLEY MIST CT                                                                            RALEIGH         NC    27613‐8532

JEFFREY L DUKES                                    2112 STRATFORD RD SE                                                                           DECATUR         AL    35601‐6642
JEFFREY L DYE                                      32908 E STRINGTOWN RD                                                                          GREENWOOD       MO    64034‐8227
JEFFREY L ELHART                                   4632 SAILVIEW DRIVE                                                                            HOLLAND         MI    49423‐8956
JEFFREY L FELTEN                                   2600 SPYGLASS DR                                                                               OAKLAND         MI    48363‐2464
JEFFREY L FLANNERY                                 1898 BASELINE RD                                                                               LESLIE          MI    49251‐9792
JEFFREY L FOLK                                     W8651 WHITE CROW RD                                                                            FORT ATKINSON   WI    53538‐9743
JEFFREY L GARNER                                   14721 DOGWOOD RD                                                                               ATHENS          AL    35611‐8225
JEFFREY L GEISERT & VICKY D GEISERT JT TEN         5151 E CARPENTER RD                                                                            FLINT           MI    48506
JEFFREY L GERWIN                                   13523 NE 94TH ST                                                                               REDMOND         WA    98052‐6425
JEFFREY L GIBSON                                   218 RIVIERA TER                                                                                WATERFORD       MI    48328‐3467
JEFFREY L GOODE CUST BRITTANY G GOODE UTMA OH      6339 COFFEY ST                                                                                 CINCINATTI      OH    45230‐1406

JEFFREY L GORNY                                    35469 HATHAWAY ST                                                                              LIVONIA         MI    48150‐2513
JEFFREY L HALLBERG                                 1027 S UNIVERSITY BLVD                                                                         DENVER          CO    80209‐4736
JEFFREY L HAMMOND                                  4135 UNION SQUARE BLVD                                                                         DUBLIN          OH    43016‐7117
JEFFREY L HARRIS                                   476 W SHIELDS ST                                                                               NEWARK          OH    43055‐4354
JEFFREY L HATHAWAY                                 3146 STATE ROUTE 281                                                                           DESHLER         OH    43516‐9304
JEFFREY L HENDERICKSON & JOSEPHINE A               4 BETHANY AVE                                                                                  TITUSVILLE      NJ    08560‐1816
HENDRICKSON JT TEN
JEFFREY L HERRMANN                                 21290 INDIAN STREET                                                                            SOUTHFIELD      MI    48034
JEFFREY L HERZOG                                   218 DAYTON ST                                                                                  YELLOW SPGS     OH    45387
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Name                                              Address1                             Address2             Address3          Address4          City             State Zip

JEFFREY L HICKERSON                               13285 MANCHESTER                                                                              SOUTHGATE        MI    48195‐3014
JEFFREY L HOOK                                    553 RT 604                           PO BOX 93                                                SERGEANTSVILLE   NJ    08557‐0093
JEFFREY L HOUBEN & MRS EILEEN K HOUBEN JT TEN     195 COREY RD                                                                                  BRIGHTON         MA    02135‐8238

JEFFREY L HURST                                    2407 BEECHKNOLL PT                                                                           DAYTON           OH    45458‐2851
JEFFREY L JONES                                    4576 PEMBERLEY N W                                                                           COMSTOCK PARK    MI    49321‐9349
JEFFREY L KECK & LINDA A KECK JT TEN               58 MACES RD                                                                                  DRUMS            PA    18222‐2007
JEFFREY L KOLASA                                   25022 SUNSET PL E                                                                            LAGUNA HILLS     CA    92653‐4904
JEFFREY L KRASNER                                  89 BREMEN ST                                                                                 SPRINGFIELD      MA    01108‐2966
JEFFREY L LAEDER                                   456 CARDINAL DR                                                                              MARYSVILLE       MI    48040‐1047
JEFFREY L LIVERETT CUST CHRISTOPHER LEWIS LIVERETT 5137 VIBUNUM                                                                                 SAGINAW          MI    48603‐1161
UGMA MI
JEFFREY L MAYER & JERYL H MAYER JT TEN             8187 CALLEE CT                                                                               DAVISON          MI    48423‐8720
JEFFREY L MAYO                                     5070 FRANKWILL                                                                               CLARKSTON        MI    48346‐3716
JEFFREY L MERRITT                                  8453 MOCCASIN WAY                                                                            DAYTON           OH    45424‐1378
JEFFREY L MESSENGER                                BOX 1631                                                                                     MADISON          WI    53701‐1631
JEFFREY L METZGER                                  PO BOX 344                                                                                   GAINESVILLE      NY    14066‐0344
JEFFREY L MORGAN                                   104 WOODLAND RD                                                                              SYRACUSE         NY    13219‐2250
JEFFREY L MOSLEY                                   100 S ARDMORE ST                                                                             PONTIAC          MI    48342‐2862
JEFFREY L MOYER                                    662 RIVARD BLVD                                                                              CROSSE POINTE    MI    48230‐1252
JEFFREY L OLDENBURG                                3000 W FIKE RD                                                                               COLEMAN          MI    48618‐9553
JEFFREY L OWENS                                    8091 VANTINE ROAD                                                                            GOODRICH         MI    48438‐9422
JEFFREY L PAETZEL & LARRY L PAETZEL JT TEN         14370 E 800 N                                                                                HOPE             IN    47246
JEFFREY L PARENT                                   3974 CADWALLADER‐SONK RD                                                                     CORTLAND         OH    44410‐9444
JEFFREY L PATTERSON                                2231 DUNKELBERG ROAD                                                                         FORT WAYNE       IN    46819‐2128
JEFFREY L PAYE                                     1470 DAKOTA AVENUE N                                                                         HURON            SD    57350‐4543
JEFFREY L PETERSON                                 PO BOX 7168                                                                                  COLUMBUS         OH    43205‐0168
JEFFREY L POGUE                                    220 7TH AVE                                                                                  LA GRANGE        IL    60525‐6406
JEFFREY L RANKIN                                   2213 AMERICAN DR                                                                             MARION           IN    46952‐9400
JEFFREY L REEVES                                   4045 SOUTH 006 WEST                                                                          HUNTINGTON       IN    46750‐9214
JEFFREY L REIS                                     2841 CENTURY HARBOR RD APT 3                                                                 MIDDLETON        WI    53562‐1828
JEFFREY L ROSE & KERRIE L ROSE JT TEN              2 COTTONGRASS CT                                                                             BROWNSBURG       IN    46112‐7882
JEFFREY L ROSS                                     10460 HOWE RD                                                                                EAGLE            MI    48822‐9740
JEFFREY L SANDBORN                                 8412 RIVERBEND DR                                                                            PORTLAND         MI    48875
JEFFREY L SCOTT                                    2002 PINE HOLLOW TRL                                                                         BRIGHTON         MI    48114‐8961
JEFFREY L SHOEMAKER                                1307 E TONTO LANE                                                                            PHOENIX          AZ    85024
JEFFREY L SHROPSHIRE                               263 LEMON ST                                                                                 BUFFALO          NY    14204
JEFFREY L SMITH                                    18925 PACHAPPA ROAD                                                                          APPLE VALLEY     CA    92307‐1530
JEFFREY L SONKING                                  420 E 55TH                                                                                   NEW YORK         NY    10022‐5139
JEFFREY L SPURRIER                                 3208 GIDDINGS SE                                                                             GRAND RAPIDS     MI    49508‐2545
JEFFREY L STALEY                                   PO BOX 208                                                                                   BOZMAN           MD    21612‐0208
JEFFREY L STARKEY                                  6449 MCCANDLISH RD                                                                           GRAND BLANC      MI    48439‐9555
JEFFREY L STIVER                                   443 S MAIN                                                                                   HUBBARD          OH    44425‐2258
JEFFREY L STRICKLAND                               14388 EAST RD                                                                                MONTROSE         MI    48457
JEFFREY L TAYLOR                                   335 NW 6TH ST                                                                                WILLISTON        FL    32696‐1615
JEFFREY L THIELKER                                 1407 BLUEWING CT                                                                             FREDERICK        MD    21703‐5990
JEFFREY L VICTOR                                   PO BOX 65                                                                                    ADDYSTON         OH    45001‐0065
JEFFREY L WEISGERBER                               2201 HORSE SHOE DRIVE                                                                        OAK GROVE        MO    64075‐8802
JEFFREY L WELLS                                    400 HILLTOP CIR                                                                              COLORADO SPGS    CO    80906‐1379
JEFFREY L WRIGHT                                   311 HENRY AVE                                                                                SEWICKLEY        PA    15143‐1409
JEFFREY LAKE CHASE & ANNAMARIA CHASE JT TEN        1304 HIGHLAND CIR                                                                            BLACKSBURG       VA    24060‐5623
JEFFREY LANG & MRS VIVIAN LANG JT TEN              2780 CLEVELAND AVE‐SUITE 806                                                                 FORT MYERS       FL    33901
JEFFREY LARGE                                      2825 PALM BEACH BLVD #601                                                                    FORT MYERS       FL    33916
JEFFREY LEE DAHLBERG                               19151 LAYTON AVE NORTH                                                                       MARINE           MN    55047‐9727
JEFFREY LEE HOGUE                                  1468 OVERLOOK DR                                                                             FRISCO           TX    75034‐8342
JEFFREY LEE NICELY                                 128 SHORES DR                                                                                SPEEDWELL        TN    37870‐8248
JEFFREY LEE PATTERSON & SHAWN MARIE PATTERSON 303 HOME PARK AVE                                                                                 JANESVILLE       WI    53545‐4845
JT TEN
JEFFREY LEGASSICK                                  8933 SW LEAHY RD                                                                             PORTLAND         OR    97225‐6442
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JEFFREY LEIB PELLENBERG                         38 SARENEE CIRCLE                                                                             TRUMBULL           CT    06611‐1258
JEFFREY LEO KAISER                              41851 VANDERBILT                                                                              STERLING HEIGHTS   MI    48313‐3676

JEFFREY LEONARD MUNN U/GDNSHP OF LINDA ANN       12200 SUTTERS HILL CT                                                                        CHARLOTTE          NC    28269‐8724
CURRIN MUNN
JEFFREY LOMER CUST DANIEL R LOMER UGMA CT        6829 N OLEANDER AVE                                                                          CHICAGO            IL    60631‐1131
JEFFREY LORENZ & KAREN LORENZ JT TEN             1170 COVINGTON PLACE DRIVE                                                                   ROCHESTER HLS      MI    48309
JEFFREY LOUIS BOYER                              133 VENETIAN WAY                                                                             ALGONAC            MI    48001‐1383
JEFFREY LOWTHER                                  510 6TH AV 1                                                                                 ASBURY PARK        NJ    07712‐5424
JEFFREY LYNN PARK & DENISE PARK JT TEN           910 NW 'B' ST                                                                                BLUE SPRINGS       MO    64015‐3730
JEFFREY M ADAMS                                  15551 ALSIP                                                                                  ROSEVILLE          MI    48066‐2718
JEFFREY M BARRETT TR JEFFREY M BARRETT REV TRUST 94 BREWSTER RD                                                                               CTR BARNSTEAD      NH    03225‐3100
UA 01/04/05
JEFFREY M BERG CUST MITCHELL VERZANO BERG UTMA 811 WINSTON DRIVE                                                                              MELROSE PARK       IL    60160‐2354
IL
JEFFREY M BETTNER                                14202 S 34TH ST                                                                              PHOENIX            AZ    85044‐7096
JEFFREY M BLOCK & ROMA F BLOCK JT TEN            18‐76A CORPORAL KENNEDY ST                                                                   BAYSIDE            NY    11360‐1447
JEFFREY M BRIZENDINE & STEPHANIE N BRIZENDINE JT 5328 NW 59TH TERR                                                                            KANSAS CITY        MO    64151‐2444
TEN
JEFFREY M CRULL                                  3401 ST GEORGE'S WAY                                                                         LOVELAND           OH    45140‐1551
JEFFREY M DEDISCHEW                              3524 FLINTWOOD DRIVE                                                                         SANTA ROSA         CA    95404‐1516
JEFFREY M DOWNING                                3801 TAFT S W                                                                                WYOMING            MI    49509‐3762
JEFFREY M DUBOSE                                 941 BONNIE BLUE LANE                                                                         COLUMBIA           TN    38401‐6703
JEFFREY M EDWARDS                                226 EMELIA DRIVE                                                                             BEAR               DE    19701‐1702
JEFFREY M FITZGIBBON & LYNDA J FITZGIBBON JT TEN 2870 TOWER HILL ROAD                                                                         HOUGHTON LAKE      MI    48629‐9253

JEFFREY M GABRIEL                               33 FOUR WINDS DR                                                                              PEMBROKE           MA    02359‐3249
JEFFREY M GOODRICH & MARY M GOODRICH JT TEN     74 HARTMAN LOOP                                                                               QUEENSBURY         NY    12804‐8131

JEFFREY M GUCK                                  38 GREGORY ST                                                                                 LAKE LINDEN        MI    49945‐1236
JEFFREY M GUELCHER                              36 VIBURNUM CT                                                                                LAWRENCEVILLE      NJ    08648‐4809
JEFFREY M HARRINGTON                            32 SETON COURT                                                                                PENFIELD           NY    14526‐9792
JEFFREY M HEIMAN                                6401 LAKE WASHINGTON BLVD NE         APT 203                                                  KIRKLAND           WA    98033‐3520
JEFFREY M HOFFMAN                               5237 SCHALK RD #1                                                                             LINEBORO           MD    21102‐3029
JEFFREY M JENKINS                               7526 GYPSIE LN                       APT 5                                                    LANSING            MI    48917‐1063
JEFFREY M JOSEF & MINNA S JOSEF JT TEN          430 SMOUNTAIN RD                                                                              NEW CITY           NY    10956
JEFFREY M JURCZYK                               201 SAWMILL RUN DR                                                                            CANFIELD           OH    44406‐8622
JEFFREY M LAIL                                  12240 HEMPLE RD                                                                               FARMERSVILLE       OH    45325‐9217
JEFFREY M LEIB & BRYNA L LEIB JT TEN            3205 PARKLAND                                                                                 WEST BLOOMFIELD    MI    48322‐1830

JEFFREY M MALONE                                2955 E COUNTRY LANE                                                                           MONROE             MI    48162‐8927
JEFFREY M MAYRAND                               7007 GLEN CREEK DR SE                                                                         CALEDONIA          MI    49316‐9112
JEFFREY M MC COMB                               14315 DAHLONEGA LN                                                                            JACKSONVILLE       FL    32224‐2847
JEFFREY M MICHAELS                              13423 TREASURE WY                                                                             CHINO HILLS        CA    91709‐1214
JEFFREY M NEALL & DONNA E NEALL JT TEN          6173 SIERRA PASS                                                                              FLINT              MI    48532‐2137
JEFFREY M PASZKOWSKI                            629 TOMAHAWK TRL                                                                              HIGHLAND           MI    48357‐2762
JEFFREY M PETERSON                              1541 WESTERN WILLOW DR                                                                        HASLET             TX    76052‐6230
JEFFREY M POLLOCK                               960 WASHINGTON ST                                                                             HOLLYWOOD          FL    33019‐1922
JEFFREY M PORTER                                2 REVERE RUN                                                                                  ZOINSVILLE         IN    46077‐1174
JEFFREY M PTAK                                  51800 SHADYWOOD DR                                                                            MACOMB             MI    48042‐4294
                                                                                                                                              TOWNSHIP
JEFFREY M ROSE                                  CANADA02                             PO BOX 9022                                              WARREN             MI    48090‐9022
JEFFREY M ROSENFELD CUST ZACHARY J ROSENFELD    1308 SAND WEDGE COURT                                                                         CHESAPEAKE         VA    23320‐9406
UTMA VA
JEFFREY M SACKETT                               1719 KENTON                                                                                   FERNDALE           MI    48220‐3111
JEFFREY M SEABAUGH                              886 W KEISER RD                                                                               COLUMBIA CITY      IN    46725‐8041
JEFFREY M SKEEN                                 191 EAST EL CAMINO REAL #308                                                                  MOUNTAIN VIEW      CA    94040‐2724
JEFFREY M SPRINGER                              1407 RUNNYMEDE RD                                                                             NORFOLK            VA    23505‐2935
JEFFREY M STOLER                                90 BROOK ST                                                                                   WESTWOOD           MA    02090‐3425
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JEFFREY M STRAUSS                                 3428 MARKINS DR                                                                               METAMORA         MI    48455‐9347
JEFFREY M TREVORROW                               11419 DELMAR DR                                                                               FENTON           MI    48430‐9018
JEFFREY M TURNER                                  905 WALTON AVENUE                                                                             DAYTON           OH    45407‐1334
JEFFREY M WEISER                                  24756 MAIDSTONE DR                                                                            BEACHWOOD        OH    44122‐1614
JEFFREY M WEISS                                   1864 GLENDALE BLVD                   # 96                                                     LOS ANGELES      CA    90026‐1762
JEFFREY M WHEELER & NANCY L WHEELER JT TEN        1605 LEXINGTON AVE                                                                            ALLEN            TX    75013
JEFFREY M WILKINSON                               22117 LANCELOT OAKS DR                                                                        HUMBLE           TX    77339‐1411
JEFFREY M WILSON                                  3174 GULFSTREAM DR                                                                            SAGINAW          MI    48603‐4808
JEFFREY M WOOLLARD                                5010 MUSKINGUM RIVER RD                                                                       LOWELL           OH    45744‐7260
JEFFREY M WRONA                                   8A SUBURBAN AVE                                                                               CARNEGIE         PA    15106
JEFFREY MARANHAS                                  BOX 371                                                                                       NORTH CHATHAM    MA    02650‐0371
JEFFREY MARC COHEN                                328 LONGSTONE DR                                                                              CHERRY HILL      NJ    08003‐1982
JEFFREY MARK BOLTS                                4475 JEFFERSON AVE                                                                            MIAMI            FL    33140‐2935
JEFFREY MARK ERDEL                                189 LINCOLN AVE                                                                               ISLAND PARK      NY    11558‐1833
JEFFREY MARK ROTHBARD                             16 CANTERBURY RD                                                                              LIVINGSTON       NJ    07039‐5104
JEFFREY MARK ZARNETT                              120 ADELAIDE STREET W SUITE 700      TORONTO ON                             M5H 1T1 CANADA
JEFFREY MARSHALL                                  17 ROBIN LN                                                                                   JAMESBURG        NJ    08831‐4058
JEFFREY MARTIN                                    810 MEADOWBROOK                                                                               BAYTOWN          TX    77521
JEFFREY MASON                                     236 MUD COLLEGE RD                                                                            LITTLESTOWN      PA    17340
JEFFREY MATSIS                                    64 CAPTAIN NICKERSON RD                                                                       SOUTH YARMOTH    MA    02664‐1786
JEFFREY MAUCHMAR                                  1811 13 ST                                                                                    MARTIN           MI    49070‐9704
JEFFREY MAY                                       555 GRACELAND AVE                    APT 201                                                  DES PLAINES      IL    60016‐7812
JEFFREY MC CLAY & ERIN MC CLAY JT TEN             306 KENNY DRIVE                                                                               SEWICKLY         PA    15143‐8777
JEFFREY MCCLEAN                                   1505 WOODRIDGE MANOR RD                                                                       FALLSTON         MD    21047‐2601
JEFFREY MCCULLOUGH                                219 OBERLIN RD                                                                                ELYRIA           OH    44035‐7631
JEFFREY MELCZER                                   137 S MCCADDEN PK                                                                             LOS ANGELES      CA    90004‐1051
JEFFREY MERVIS CUST MATTHEW JARED MERVIS UTMA     9613 TRAIL RIDGE TER                                                                          POTOMAC          MD    20854‐2802
MD
JEFFREY METZGER CUST JEFFREY METZGER JR UGMA PA   1235 W 15TH ST                                                                                HAZLETON         PA    18201

JEFFREY MICHAEL PERRICCI                          42 RICHARD DR                                                                                 DUMONT           NJ    07628‐1504
JEFFREY MICHAEL WOLF                              9720 CLAIBORNE SQ                                                                             LA JOLLA         CA    92037‐1154
JEFFREY MICHELS                                   1295 FIRST AVENUE                    APT 2C                                                   NEW YORK         NY    10021
JEFFREY MILLER                                    2236 KATHERINE DR                                                                             NIAGARA FALLS    NY    14304‐3011
JEFFREY MILNE                                     203 DIMATTEO DR                                                                               NORTH            NY    14120‐6477
                                                                                                                                                TONAWANDA
JEFFREY MIZUSHIMA                                 18502 WILTON PL                                                                               TORRANCE         CA    90504‐5416
JEFFREY MOGALIAN                                  22610 WATERBERRY                                                                              WOODLAND HILLS   CA    91364‐4925

JEFFREY MOORE CUST JACOB JEFFREY MOORE UTMA TN 3770 PENNINGTON RD                                                                               CUMMING          GA    30041‐5774

JEFFREY MUNN                                      6669 EAST LAKE RD                                                                             AUBURN           NY    13021‐8251
JEFFREY N GRAFF & ANNETTE GRAFF JT TEN            405 HILARY DR                                                                                 TIBURON          CA    94920‐1416
JEFFREY N L STIBICK & DORIS HILL STIBICK JT TEN   8407 MARGO ROAD                                                                               LANHAM           MD    20706‐3922
JEFFREY N NOEL                                    7542 CAPE COD LANE                                                                            INDIAPOLIS       IN    46250‐1846
JEFFREY N OPPERMANN                               5066 LOGANBERRY DR                                                                            SAGINAW          MI    48603‐1100
JEFFREY N RING CUST MACKENZIE RENE RING UGMA SC   2672 RIKKARD DR                                                                               THOUSAND OAKS    CA    91362‐4608

JEFFREY N SHIMP                                   15222 DECHANT RD                                                                              NEW LEBANON      OH    45345‐9700
JEFFREY N WRAY                                    533 AUTUMN COURT                                                                              BROWNSTOWN       IN    47220‐1965
JEFFREY NG                                        7 HENRY'S PATH                                                                                UPTON            MA    01568‐1456
JEFFREY NIGHTINGALE                               6 ROBERTS RD                                                                                  NEW CITY         NY    10956
JEFFREY NOBLE                                     910 N HUMBOLDT AVE                                                                            ONTARIO          CA    91764‐3024
JEFFREY O GINTER                                  1099 OREGON BLVD                                                                              WATERFORD        MI    48327‐3346
JEFFREY O LUKE                                    3725 LOTUS DR                                                                                 WATERFORD        MI    48329‐1352
JEFFREY O MYERS                                   1125 W LOCUST                                                                                 MIDDLETOWN       IN    47356‐1722
JEFFREY O NELSON                                  13 ASHLAND ST                                                                                 NASHUA           NH    03064
JEFFREY O RAYMOND                                 400 E RIVER ST                       APT 9                                                    GRAND LEDGE      MI    48837‐1744
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JEFFREY O SHERMAN                                 8209 32ND AVE N                                                                                 SAINT PETERSBURG FL      33710‐2211

JEFFREY O WILLIAMS & HEIDI E WILLIAMS JT TEN      19 BATTLES RD                                                                                   WESTMINSTER        MA    01473‐1222
JEFFREY OCONNELL SPENCE & MARY BRIGID SPENCE JT   1023 HAWTHORNE DRIVE                                                                            INDIAN TRAIL       NC    28079‐4134
TEN
JEFFREY P ANGELL                                  1922 ARDMORE AVE                                                                                ROYAL OAK        MI      48073‐4178
JEFFREY P BENSON                                  9325 M‐66                                                                                       NASHVILLE        MI      49073‐9422
JEFFREY P BERGELT GDN JANET G BERGELT             1577 JOHN ST                                                                                    FORT LEE         NJ      07024
JEFFREY P BIRCHMEIER                              10421 SEYMOUR RD                                                                                MONTROSE         MI      48457‐9015
JEFFREY P CARREN                                  2516 INDEPENDENCE AVE                                                                           GLENVIEW         IL      60025‐7734
JEFFREY P FALCON                                  174 CHESTNUT WAY                                                                                LINDEN           MI      48451‐8815
JEFFREY P FLANNERY & LINDA L FLANNERY JT TEN      224 BRIGHAM HILL ROAD                                                                           NORTH GRAFTON    MA      01536‐1243
JEFFREY P GILBERG & SUSAN E GILBERG JT TEN        BOX 26                                 GRANITE SPRINGS RD                                       GRANITE SPGS     NY      10527‐0026
JEFFREY P GLASS                                   36484 SAXONY                                                                                    FARMINGTON HILLS MI      48335‐3019

JEFFREY P GUZAK & JOHN GUZAK JT TEN               2622 N WALNUT                                                                                   ARLINGTON HTS      IL    60004‐2475
JEFFREY P HAGER                                   N105W21162 PARKLAND CIRCLE                                                                      COLGATE            WI    53017‐9502
JEFFREY P HARDY & MARJORIE M HARDY JT TEN         2720 GLENVIEW WAY                                                                               ESCONDIDO          CA    92025‐7767
JEFFREY P KETTREY                                 205 SHEFFIELD LANE                                                                              SUMMERVILLE        SC    29485‐3477
JEFFREY P KOPIETZ & TERESA KOPIETZ & COURTNI M    3012 N 155 AVE                                                                                  OMAHA              NE    68116‐6144
KOPIETZ JT TEN
JEFFREY P LUCAS                                   25 FAIRMONT ST                                                                                  BELMONT            MA    02478‐2917
JEFFREY P LUX                                     115 HADSELL DR                                                                                  BLOOMFIELD HILLS   MI    48302‐0407

JEFFREY P MAKOWSKI                                202 N BAY DR                                                                                    BAYVILLE         NJ      08721‐3119
JEFFREY P MAYOR                                   1044 GREENWAY AV                                                                                FIRCREST         WA      98466‐5934
JEFFREY P NELSON                                  19422 STATE ROAD 37                                                                             HARLAN           IN      46743‐9610
JEFFREY P ODELL                                   15808 PRETTY LAKE DR                                                                            MECOSTA          MI      49332‐9617
JEFFREY P PAHUTA                                  7636 FOURTH SECTION RD                                                                          BROCKPORT        NY      14420‐9618
JEFFREY P PASSATINO JR                            3513 SW 29TH AVE                                                                                CAPE CORAL       FL      33914‐4837
JEFFREY P PEARSON                                 1713 E ZICK DR                                                                                  BELOIT           WI      53511‐1417
JEFFREY P PHILLIPS & SANDRA L PHILLIPS JT TEN     4021 ATALAVA PL                                                                                 MYRTLE BEACH     SC      29579‐5173
JEFFREY P RUPLEY I & DIANNE E RUPLEY JT TEN       1910 MARJORIE LN                                                                                KOKOMO           IN      46902‐3848
JEFFREY P SAYER                                   33 TULIP BEND DR                                                                                WENTZVILLE       MO      63385‐2658
JEFFREY P SCHMIDT & CLARE SCHMIDT JT TEN          20215 DUNHAM RD                                                                                 CLINTON TOWNSHIP MI      48038‐1473

JEFFREY P SCHNEIDER CUST DANIEL J SCHNEIDER UTMA 17 JAMES ST                                                                                      WOODCLIFF LAKE     NJ    07675‐8017
NJ
JEFFREY P SCHNEIDER CUST ROBERT F SCHNEIDER UTMA 17 JAMES ST                                                                                      WOODCLIFF LAKE     NJ    07675‐8017
NJ
JEFFREY P SHARKEY                                2564 ASTER PLACE S                                                                               WESTBURY           NY    11590
JEFFREY P SHERWIN                                1111 CHAUCER DR                                                                                  GREENSBURG         PA    15601‐9047
JEFFREY P SMITH                                  22620 FOXMOOR DR                                                                                 NOVI               MI    48374
JEFFREY P SOLLENBERGER                           309 SAN BERNARDINO TR                                                                            UNION              OH    45322‐3058
JEFFREY P SPAN                                   128 MARY REED RD                                                                                 BADEN              PA    15005‐9608
JEFFREY P STEWART                                11402 N GENESEE ROAD                                                                             CLIO               MI    48420‐9755
JEFFREY P SWEENEY                                220 DALE DR                                                                                      ROCKWOOD           TN    37854‐6010
JEFFREY P WARSINSKE                              N3452 MAYFLOWER RD                                                                               HORTONVILLE        WI    54944‐9739
JEFFREY P WEIGAND                                525 CRYSTALIA                                                                                    COMMERCE TWP       MI    48382‐2531
JEFFREY P WRIGHT                                 1974 LOCKPORT‐OLCOTT RD                                                                          BURT               NY    14028‐9703
JEFFREY PAGE CUST JESSICA PAGE UGMA NY           85 WEST STREET                                                                                   WARWICK            NY    10990‐1427
JEFFREY PETTIES                                  18120 VAUGHAN ST                                                                                 DETROIT            MI    48219‐3439
JEFFREY PICKARD BEADLES                          725 S NORTH LAKE BLVD APT 76                                                                     ALTAMONTE          FL    32701‐6732
                                                                                                                                                  SPRINGS
JEFFREY PIMENTAL                                  2350 FOSGATE AVE                                                                                SANTA CLARA        CA    95050‐6412
JEFFREY PLATT CUST MICHAEL PLATT UGMA NY          2 STREAM CT                                                                                     OWINGS MILLS       MD    21117‐2351
JEFFREY POLLAK & KAREN POLLAK JT TEN              BOX 1425                                                                                        S FALLSBURG        NY    12779‐1425
JEFFREY PRESTON HOYLE                             10 GRISTMILL RD                                                                                 GLEN MILLS         PA    19342‐1628
JEFFREY PULLMAN & EDITH PULLMAN JT TEN            73 BELMAR ST                                                                                    DEMAREST           NJ    07627‐1520
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JEFFREY QUANDT                                    3100 CHARTER OAK DR                                                                             PLANO           TX    75074
JEFFREY R AULERICH                                12997 W HERBISON                                                                                EAGLE           MI    48822‐9648
JEFFREY R BANASZYNSKI                             120 LAKELAND LANE                                                                               LEONARD         MI    48367‐2954
JEFFREY R BELL                                    8326 N GENESEE RD                                                                               MT MORRIS       MI    48458‐8880
JEFFREY R BENNETT                                 7515 FIELDSTONE COURT                                                                           INDIANAPOLIS    IN    46254‐9718
JEFFREY R BENNETT                                 1052 WILLIAM ST                                                                                 HUNTINGTON      IN    46750
JEFFREY R BLUST                                   552 PHILLIPPA ST                                                                                HINSDALE        IL    60521‐2472
JEFFREY R BOSWELL EX EST GLORIA B STITES          315 N FRONT ST                                                                                  HARRISBURG      PA    17101
JEFFREY R BROOKS                                  8800 EVERGREEN RD                                                                               BRIGHTON        MI    48116‐8313
JEFFREY R CHAMBERS                                4726 1/2 FORMAN LANE                                                                            NORTH           CA    91602‐1619
                                                                                                                                                  HOLLYWOOD
JEFFREY R CHAPPELLE                               17328 LINCOLN RD                                                                                NEW LOTHROP     MI    48460‐9621
JEFFREY R CLARK & EVELYN CLARK JT TEN             214 WEST BROAD STREET                                                                           LINDEN          MI    48451‐8701
JEFFREY R COLLMANN                                5319 29TH ST NW                                                                                 WASHINGTON      DC    20015‐1331
JEFFREY R DAVIS                                   180 COX RD                                                                                      EDGERTON        WI    53534‐9705
JEFFREY R DICKERSON                               ROUTE3 BOX 60                          112 EMPSON DRIVE                                         GREENBRIER      TN    37073‐5278
JEFFREY R DIVELEY                                 6728 RAILWAY AVE                                                                                DUNDALK         MD    21222‐1131
JEFFREY R ELSTON                                  1650 W 5 PT HWY                                                                                 CHARLOTTE       MI    48813‐9530
JEFFREY R FAILING                                 1880 RIDGE RD E STE 2                                                                           ROCHESTER       NY    14622
JEFFREY R FELD                                    3590 HANDMAN AVE                                                                                CINCINNATI      OH    45226‐1103
JEFFREY R FRY                                     11744 CAMDEN                                                                                    LIVONIA         MI    48150‐2362
JEFFREY R GOETHE                                  836 HICKORY RIDGE TRAIL                                                                         COLUMBIA        TN    38401‐6752
JEFFREY R GRADY                                   1014 WHOOPER WAY                                                                                SUISUN CITY     CA    94585‐2936
JEFFREY R GRAY                                    18120A SE MCKINLEY RD                                                                           PORTLAND        OR    97236‐4732
JEFFREY R GREEN                                   580 S ELBA RD                                                                                   LAPEER          MI    48446‐2775
JEFFREY R HISCOCK                                 2443 LOST CREEK DRIVE                                                                           FLUSHING        MI    48433‐9436
JEFFREY R HUNEKE                                  427 OHIO STREET                                                                                 HURON           OH    44839‐1519
JEFFREY R JONES                                   4365 MONROE AVE                                                                                 WATERFORD       MI    48329‐4031
JEFFREY R JUREK                                   3067 WYATT RD                                                                                   STANDISH        MI    48658‐9129
JEFFREY R LANDER & MRS JANICE E LANDER JT TEN     405 PARK ST                                                                                     YORKVILLE       IL    60560‐2103

JEFFREY R LANE & APRIL C LANE JT TEN              8109 FOXHALL ROAD                                                                               CLINTON         MD    20735‐3001
JEFFREY R LONG                                    660 RIVERGATE WAY                                                                               SACRAMENTO      CA    95831‐3343
JEFFREY R METZLER                                 929 HIGH ST                                                                                     BETHLEHEM       PA    18018‐2854
JEFFREY R MILLER                                  119 SHERIDAN ST                                                                                 NORTH EASTON    MA    02356‐1913
JEFFREY R MINELLA                                 38 LOST COVE RD                                                                                 WEAVERVILLE     NC    28787‐8202
JEFFREY R MUIR                                    5601 DUNCAN RD LOT 168                                                                          PUNTA GORDA     FL    33982‐4759
JEFFREY R NICKERSON                               3387 GLENROSE POINT                                                                             ATLANTA         GA    30341‐5788
JEFFREY R NORTHROP                                9089 GALLUP CIR                                                                                 SPRING HILL     FL    34608‐4537
JEFFREY R OLSON                                   2102 DUPONT                                                                                     JANESVILLE      WI    53546‐3127
JEFFREY R PANSA                                   425 RIDGESTONE DR                                                                               FRANKLIN        TN    37064‐5573
JEFFREY R PERRY                                   11201 ASCOT CIRCLE                                                                              FREDERICKBURG   VA    22407‐5080
JEFFREY R SANDERS                                 1577 WINNETKA ROAD                                                                              GLENVIEW        IL    60025‐1821
JEFFREY R SHAW                                    5100 LOGAN BERRY DR                                                                             SAGINAW         MI    48603‐1135
JEFFREY R SHIELDS                                 2327 EAST WELDON                                                                                PHOENIX         AZ    85016‐6627
JEFFREY R SORENSEN                                15782 DURHAM WAY                                                                                GRANGER         IN    46530‐6540
JEFFREY R STEPHENS                                2619 RIVER RD                                                                                   PT PLEASANT     NJ    08742‐2154
JEFFREY R VALENTINE                               RT 3 BOX 88B                                                                                    ELIZABETH       WV    26143‐9332
JEFFREY R WESTERHOUT                              25 DORIS AVE                                                                                    O FALLON        MO    63366‐7009
JEFFREY REIFF & DOMINIQUE REIFF JT TEN            1125 WALNUT STREET                     3RD FL BEASLEY BLDG                                      PHILADELPHIA    PA    19107
JEFFREY REIFF ESQUIRE                             1125 WALNUT STREET                     3RD FL BEASLEY BLDG                                      PHILADELPHIA    PA    19107
JEFFREY REYES                                     1342 BAY ST                                                                                     ALAMEDA         CA    94501‐3916
JEFFREY RICHARD ALEXANDER CUST MYA NICOLE         12108 S 49TH ST                                                                                 PAPILLION       NE    68133‐2895
ALEXANDER UTMA LA
JEFFREY RICHARD HAIGHT                            4645 FOREST GREEN DR                                                                            SUGAR HILL      GA    30518‐4877
JEFFREY RING CUST DEREK RING UTMA CA              2672 RIKKARD DR                                                                                 THOUSAND OAKS   CA    91362‐4608
JEFFREY RING CUST SAMANTHA M RING UTMA CA         2672 RIKKARD DR                                                                                 THOUSAND OAKS   CA    91362‐4608
JEFFREY ROBERT BRASSER                            206 TWIN RIDGES DR                                                                              MARYVILLE       TN    37804
JEFFREY ROBERT LINN                               EAMER                                  9 ONONDAGA LANE                                          MEDFIELD        MA    02052‐2902
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JEFFREY ROSENBAUM CUST SETH ROSENBAUM UGMA         22 BEAVER DAM DRIVE                                                                            EAST BRUNSWICK   NJ    08816‐2456
NJ
JEFFREY RUDIN                                      34 OTTAWA STREET                                                                               LOWELL           MA    01850‐1012
JEFFREY RYAN DUBERSTIEN                            5032 LOWELL ST NW                                                                              WASHINGTON       DC    20016‐2606
JEFFREY S AIRD                                     3876 S CREEK DR                                                                                ROCHESTER        MI    48306‐1480
JEFFREY S ANGELL                                   8013 CREST RD                                                                                  LAUREL           MD    20723‐1025
JEFFREY S ARCHAMBAULT                              1099 MAIN ST                                                                                   FENTON           MI    48430‐2177
JEFFREY S BROWN & MARSHA LOWENTHAL EX EST          515 BERRY LANE                                                                                 PARAMUS          NJ    07652
ROBERTA BROWN
JEFFREY S CADWALLADER                              5124 DOLORES DR                                                                                PITTSBURGH       PA    15227‐3604
JEFFREY S CALHOUN                                  157 BRIDGETOP DR                                                                               BEDFORD          PA    15522‐8004
JEFFREY S CANTWELL                                 570 LAUREL OAKS LN                                                                             ALPHARETTA       GA    30004‐4508
JEFFREY S CLARK                                    760 OLD STATE RD                                                                               BERWYN           PA    19312‐1441
JEFFREY S COHN                                     59 TOWER AVE                                                                                   EGG HBR TWP      NJ    08234‐4865
JEFFREY S COOTE                                    1320 PACIFIC DR                                                                                AUBURN HILLS     MI    48326‐1569
JEFFREY S COX                                      406 W KEECH                                                                                    ANN ARBOR        MI    48103‐5535
JEFFREY S CUSHNER                                  12 ROSECROFT CT                                                                                WILMINGTON       DE    19808‐4334
JEFFREY S DRUCE                                    5436 PENFIELD AVENUE                                                                           WOODLAND HILLS   CA    91364‐2511

JEFFREY S EDGERLY                                  5227 BERWYCK                                                                                   TROY             MI    48098‐3258
JEFFREY S FRASIER                                  3204 APPLEROCK DR                     O'FALLON                                                 O FALLON         MO    63368
JEFFREY S GERARDI                                  5061 ONA LAKE DRIVE                                                                            WHITE LAKE       MI    48383‐3253
JEFFREY S GOLAN                                    964 VALLEY BLVD                                                                                ELYRIA           OH    44035‐2948
JEFFREY S GRABELL CUST ADAM S GRABELL UTMA NJ      15 GALSTON DR                                                                                  WEST WINDSOR     NJ    08550‐3238

JEFFREY S GUNDERSON CUST KENNETH C GUNDERSON       4612 N INDIANA AVE                                                                             OKLAHOMA CITY    OK    73118‐2226
UTMA OK
JEFFREY S HANSEN                                   614 AMBERWOOD WAY                                                                              LIVERMORE        CA    94550‐7515
JEFFREY S HAROZ                                    224 HAMILTON PL                                                                                HACKENSACK       NJ    07601‐3530
JEFFREY S HARRIS & BARBARA J HARRIS JT TEN         250 HARBOUR POINT DR                                                                           BELLEVILLE       MI    48111‐4443
JEFFREY S HEICHEL                                  274 CANDACE CT                                                                                 TROY             MI    48098‐7100
JEFFREY S HOFFMAN & PATRICIA S GIOVANNINI JT TEN   195 N ROSCOE BLVD                                                                              PONTE VEDRA      FL    32082‐3209
                                                                                                                                                  BEACH
JEFFREY S HOLDEN                                   7890 STRONG RD                                                                                 NEWPORT          MI    48166‐9760
JEFFREY S KARDYNAL & RITA A KARDYNAL JT TEN        22188 BEECH KNOLL DR                                                                           MACOMB           MI    48044‐3085
JEFFREY S KISHPAUGH                                315 WILDWOOD AVE                                                                               LEWISBURG        WV    24901
JEFFREY S KLOOSTERMAN                              1966 ODESSA AVE                                                                                MURFREESBORO     TN    37128‐8226
JEFFREY S KRAMER                                   709 E 27TH ST                                                                                  BRYAN            TX    77803‐7016
JEFFREY S KUTCHER & AMY KUTCHER JT TEN             335 S 7TH ST                                                                                   ANN ARBOR        MI    48103‐4377
JEFFREY S LEE                                      5475 CEDARBUSH RD                                                                              COLUMBUS         OH    43229‐3805
JEFFREY S LEER                                     28440 KELLY RD                                                                                 STURGIS          MI    49091‐8840
JEFFREY S LEONARD                                  11 SYLVAN DR                                                                                   PINE BROOK       NJ    07058‐9617
JEFFREY S MCCORMICK                                3585 GRAPEVINE TRL                                                                             CLARKSTON        MI    48348‐1058
JEFFREY S NEY                                      3655 FOXCHASE DR                                                                               DOVER            PA    17315
JEFFREY S NISSLEY                                  675 POPLAR AVE                                                                                 BOULDER          CO    80304‐1064
JEFFREY S NOVY                                     141 LAKEVIEW LN                                                                                CHAGRIN FALLS    OH    44022‐4226
JEFFREY S PANCHAK                                  905 ROUNDTREE DR                                                                               TOMSRIVER        NJ    08753‐4382
JEFFREY S PICCARD                                  1677 MAYFLOWER DR SW                                                                           WYOMING          MI    49509‐9661
JEFFREY S ROBILLIARD                               4310 HAGERMAN                                                                                  LEONARD          MI    48367‐1921
JEFFREY S ROLFE                                    1573 GEN PATTON DR                                                                             DOWNINGTOWN      PA    19335‐3710
JEFFREY S ROTHMEL                                  3305 ROSTAN LANE                                                                               LAKE WORTH       FL    33461‐2819
JEFFREY S SAKSA                                    1101 AZALEA DR                                                                                 MUNSTER          IN    46321‐3608
JEFFREY S SHERIDAN                                 220 S 22ND ST                                                                                  RICHMOND         IN    47374‐5758
JEFFREY S SILVERMAN CUST ROSSI A SILVERMAN UTMA    120 WENTWORTH AVE                                                                              GLENCOE          IL    60022‐1930
IL
JEFFREY S SINCLAIR & LORI A CAMP JT TEN            10130 CHERRY HILLS AVE CIRCLE                                                                  BRADENTON        FL    34202‐4064
JEFFREY S SKIFSTAD                                 700 S KEENE RD                                                                                 CLEARWATER       FL    33756‐6253
JEFFREY S SLUKA                                    8233 SO NIAGARA CT                                                                             ENGLEWOOD        CO    80112‐3110
JEFFREY S STEELE                                   501 CONTINENTAL DR                                                                             SAGAMORE HILLS   OH    44067‐3256
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JEFFREY S STEPHENSON                              430 HILL ST                                                                                    PORTLAND           MI    48875‐1826
JEFFREY S STUTRUD                                 3297 WITHERSPOON DR                                                                            DAYTON             OH    45440‐1568
JEFFREY S STUTRUD TR UA 09/09/1992 LYNN O STUTRUD 3297 WITHERSPOON DR                                                                            DAYTON             OH    45440
TRUST
JEFFREY S UMBERGER                                6335 N COUNTY RD 500 E                                                                         ANDERSON           IN    46012
JEFFREY S VARBLOW                                 1400 S WILD MEADOW RD                                                                          ROUND LAKE         IL    60073‐4276
JEFFREY S WALLACE                                 918 PRAIRIE ST                                                                                 SAINT CHARLES      IL    60174
JEFFREY S WEIL                                    9160 TAYLOR MAY ROAD                                                                           CHAGRIN FALLS      OH    44023‐1640
JEFFREY S WHEELER                                 2270 RIDGECREST DR NE                                                                          LANESVILLE         IN    47136‐8104
JEFFREY S WILSON                                  10 GLADE COURT                                                                                 WALKERSVILLE       MD    21793
JEFFREY S WILSON                                  7090 BARTON RD                                                                                 GRANITE BAY        CA    95746
JEFFREY SAFF                                      523 POINT FIELD DR                                                                             MILLERSVILLE       MD    21108‐2052
JEFFREY SCOTT CARTO                               8181 DORCHESTER CT                                                                             GRAND BLANC        MI    48439‐8071
JEFFREY SCOTT GABBARD                             6101 VERDI DR                                                                                  DAYTON             OH    45449
JEFFREY SCOTT HELD                                33 MEADOWLARK RD                                                                               RYE BROOK          NY    10573‐1221
JEFFREY SCOTT LUTTON                              1453 TEMPLE RD                                                                                 POTTSTOWN          PA    19465‐7225
JEFFREY SCOTT MORRIS                              16 AMBER                                                                                       ALISO VIEJO        CA    92656‐1449
JEFFREY SEIDEL & JOYCE SEIDEL JT TEN              1412 HIGHVIEW DR                                                                               LUTHERVILLE        MD    21093‐3513
JEFFREY SHERRICK                                  2630 E 44TH AVE                                                                                SPOKANE            WA    99223
JEFFREY SHOWALTER                                 67456 RAVINE RD                                                                                GOSHEN             IN    46526
JEFFREY SINGERMAN                                 25 CANYON AVE APT 1406                TORONTO ON                             M3H 4Y1 CANADA
JEFFREY SNYDER                                    400 E 56TH ST APT 29N                                                                          NEW YORK           NY    10022‐4147
JEFFREY SORGEN & PAUL SORGEN JT TEN               4732 NW 100TH TERRACE                                                                          CORAL SPRINGS      FL    33076‐2413
JEFFREY SPENCER                                   8106 TICHENOR POINT CT                                                                         MILLERSVILLE       MD    21108‐1582
JEFFREY STANKO                                    9909 CRAN BROOK CRT                                                                            BRUCE TOWNSHIP     MI    48065‐3738

JEFFREY STECHER BROWN                            2914 MONROE AVE                                                                                 DURHAM             NC    27707‐2858
JEFFREY STEPHEN ONZE                             6967 PELHAM RISE                                                                                VICTOR             NY    14564‐9634
JEFFREY STORCH                                   W4391 SHORE DR                                                                                  MONTELLO           WI    53949
JEFFREY STOUGH CUST SIMON STOUGH UTMA OH         14233 CUSTAR ROAD                      BOX 159                                                  WESTON             OH    43569‐0159
JEFFREY STUART SONN                              11728 CTY TRK N                                                                                 WHITEWATER         WI    53190
JEFFREY SWEATT                                   1506 MAPLE ST                                                                                   SAN MATEO          CA    94402‐3006
JEFFREY T BELL                                   2649 WYNTERPOINTE CT                                                                            KOKOMO             IN    46901‐7711
JEFFREY T BOLDRIN                                68 MESIER AVE S                                                                                 WAPPINGERS FALLS   NY    12590‐3722

JEFFREY T BRUNSON CUST ANDREW R BRUNSON UTMA 509 S MCKINLEY AVE                                                                                  CHAMPAIGN          IL    61821‐3957
IL
JEFFREY T BRUNSON CUST RILEY T BRUNSON UTMA IL 509 MCKINLEY AVE                                                                                  CHAMPAIGN          IL    61821

JEFFREY T CARPER                                 801 FALL CREEK RD                                                                               LINCOLN          NE      68510‐3836
JEFFREY T CONE                                   121 LAMPLIGHTER DR                                                                              BOWLING GREEN    KY      42104‐6437
JEFFREY T DAVIE                                  1223 FIFTH ST                                                                                   SANDUSKY         OH      44870‐4288
JEFFREY T DUNKEL                                 1790 E ROUND LAKE RD                                                                            DEWITT           MI      48820‐8403
JEFFREY T ENG                                    11147 PALOS VERDES DR                                                                           CUPERTINO        CA      95014‐4722
JEFFREY T FETZER & PATRICIA A FETZER JT TEN      6206 PIPING ROCK LANE                                                                           HOUSTON          TX      77057
JEFFREY T GALEA                                  6091 NW 43RD TE                                                                                 BOCA RATON       FL      33496‐4044
JEFFREY T HALL                                   4010 11 MILE                                                                                    ROCKFORD         MI      49341‐8066
JEFFREY T HERMAN                                 7313 TONNELLE AVE                                                                               SHELBY TWP       MI      48317‐2384
JEFFREY T JAISLE                                 30400 FOX CLUB DR                                                                               FARMINGTON HILLS MI      48331‐1951

JEFFREY T JARVIS                                 70605 CAMPGROUND                                                                                ROMEO              MI    48065‐4332
JEFFREY T KOSLEY                                 68 PONDEROSA                                                                                    NEDERLAND          CO    80466‐9651
JEFFREY T LENTZ                                  922 WOLCOTT ST                                                                                  JANESVILLE         WI    53546‐2411
JEFFREY T MATHEWS                                25767 WILD FLOWER LANE                                                                          BROWNSTOWN         MI    48134‐9075
                                                                                                                                                 TOWNSHI
JEFFREY T NEWBERRY                               2351 E OAKMONT DR                                                                               IDAHO FALLS        ID    83404‐7721
JEFFREY T OKEEFE                                 15 OAKMONT COURT                                                                                LINCROFT           NJ    07738‐1217
JEFFREY T PHILLIPS                               128 ALLEN DRIVE                                                                                 HENDERSONVLLE      TN    37075
JEFFREY T PURCELL                                103 MEGAN TRL                                                                                   LEWISBURG          OH    45338‐9336
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JEFFREY T ROYER & SHEILA A ROYER TEN ENT         191 LAUREL HILL DRIVE                                                                         S BURLINGTON    VT    05403‐7380
JEFFREY T SARDEGNA                               189 HALLOCK LANDING RD                                                                        ROCKY POINT     NY    11778‐8903
JEFFREY T SEXE                                   4205 PRARIE FOX DRIVE                                                                         JANESVILLE      WI    53546‐3401
JEFFREY T SIDERAS                                2121 SOUTH 72ND STREET                                                                        WEST ALLIS      WI    53219‐1236
JEFFREY T WALLER                                 98 HARLAND DR                                                                                 WILMINGTON      OH    45177‐9799
JEFFREY T WEIGELE                                6308 ROCKY FALLS RD                                                                           CHARLOTTE       NC    28211‐5516
JEFFREY TAYLOR                                   10 BILDERBACK LANE                                                                            PILESGROVE      NJ    08098‐9687
JEFFREY THALER & MARILYN THALER JT TEN           37 MISTY PINE RD                                                                              FAIRPORT        NY    14450‐2631
JEFFREY THOMAS                                   3566 BUENA VISTA                                                                              SAN DIEGO       CA    92109‐6610
JEFFREY THOMAS                                   2912 MACOMB                                                                                   PINCKNEY        MI    48169‐9219
JEFFREY THOMAS RODEEN                            2821 KINNICKINNICK RD                C3                                                       VAIL            CO    81657‐4119
JEFFREY TOBIN                                    714 SOUTH 6TH STREET                                                                          COLUMBUS        OH    43206‐2127
JEFFREY TUMPOWSKY                                C/O IRA B TUMPOWSKY                  164 QUINOBEQUIN ROAD                                     NEWTON          MA    02468‐1815
JEFFREY UFFNER CUST NEIL UFFNER UNDR UTMA NJ     11 HEMLOCK RD                                                                                 LIVINGSTON      NJ    07039‐1436

JEFFREY V HOLLENDONNER                           6727 W 87TH ST                                                                                OAK LAWN        IL    60453‐1050
JEFFREY V VAN ALSTINE                            1471 JEWETT ST                                                                                ANN ARBOR       MI    48104‐6207
JEFFREY VERNON BOLEY                             69 KINGS HWY N                                                                                WESTPORT        CT    06880‐3006
JEFFREY W BARTLETT                               425 PARTRIDGE ST                                                                              FRANKLIN        MA    02038‐1520
JEFFREY W BEVILLE                                1030 HUDSON BAY DR                                                                            GREENWOOD       IN    46142‐1848
JEFFREY W BOUNDY & MARLENE F BOUNDY JT TEN       ATTN J BOUNDY NOMINEES               31 SEAVIEW RD          TENNYSON SA     5022 AUSTRALIA

JEFFREY W BUCHANAN                               4237 N CHAPEL RD                                                                              FRANKLIN         TN   37067‐7802
JEFFREY W BURNHAM                                668 35 RD                                                                                     CLIFTON          CO   81520‐8404
JEFFREY W CAMPBELL                               2723 SOMERSET BLVD                                                                            TROY             MI   48084
JEFFREY W DOOLAN EX UW MARIE F DOOLAN            426 WESR RIVER DRIVE                                                                          ORANGE           CT   06477
JEFFREY W DYMOND                                 4615 WESWILMAR DR                                                                             HOLT             MI   48842‐1690
JEFFREY W EDWARDS                                8551 LAKEWOOD RD                                                                              INDIANAPOLIS     IN   46256‐9304
JEFFREY W FLACK                                  3639 MIDWAY DR STE B #261                                                                     SAN DIEGO        CA   92110
JEFFREY W GOIN                                   9 S 344 CHANDELLE DR                                                                          NAPERVILLE       IL   60564
JEFFREY W GOLDIN                                 27899 FARMINGTON                                                                              FARMINGTON HILLS MI   48334‐3320

JEFFREY W HARRIS                                 13450 COLUMBET AVE                                                                            SAN MARTIN      CA    95046‐9780
JEFFREY W HEATH                                  35872 SUSAN DRIVE                                                                             WILDOMAR        CA    92595
JEFFREY W HESTON                                 2560 STILLWAGON SE                                                                            WARREN          OH    44484‐3176
JEFFREY W HINES                                  3390 W FIVE MILE RD                                                                           ALLEGANY        NY    14706‐9437
JEFFREY W HOFFMANN & RENEE L HOFFMANN JT TEN     708 N 10TH ST                                                                                 MANITOWOC       WI    54220‐3904

JEFFREY W HOOKER                                 4723 SOUTH LAPEER RD                                                                          METAMORA        MI    48455‐8936
JEFFREY W HUSBY                                  19351 BLACK OAKS DR                                                                           MACOMB          MI    48044
JEFFREY W JACENTY                                3275 LUTHER WAGES RD                                                                          DACULA          GA    30019‐1850
JEFFREY W JOYNER & PAMELA S JOYNER JT TEN        6454 KINGS POINTE RD                                                                          GRAND BLANC     MI    48439‐8639
JEFFREY W JOYNER & PAMELA S JOYNER JT TEN        6454 KINGS POINTE RD                                                                          GRAND BLANC     MI    48439‐8639
JEFFREY W LASSEN                                 44 WOODCUTTERS DR                                                                             BETHANY         CT    06524‐3123
JEFFREY W MC NAIR                                6501 RED HOOK PLAZA                  SUITE 201                                                ST THOMAS       VI    00802‐1033
JEFFREY W NEVILLE                                8143 SASHABAW RIDGE DR                                                                        CLARKSTON       MI    48348‐2943
JEFFREY W PARKER & VICKIE V PARKER JT TEN        3800 LAKE BLVD                                                                                ANNANDALE       VA    22003‐2317
JEFFREY W PEDEN                                  3580 SOUTH CARR ROAD                                                                          FRUITPORT       MI    49415‐9726
JEFFREY W PILLARTZ                               71 FOXWOOD RD S                                                                               GUILFORD        CT    06437‐2241
JEFFREY W SCHOFIELD                              AMACA GPO BOX                        2852AA                 MELBOURNE       AUSTRALIA
JEFFREY W SEAL                                   1133 E 1000 S                                                                                 PENDLETON       IN    46064‐8736
JEFFREY W SIPES                                  9250 EAGLE MEADOW                                                                             INDIANAPOLIS    IN    46234‐2851
JEFFREY W SMITH                                  5970 N 83RD ST                                                                                SCOTTSDALE      AZ    85250‐6215
JEFFREY W STEVENS & ANITA M STEVENS JT TEN       702 GRIFFIN RD                                                                                INDIANAPOLIS    IN    46227‐8506
JEFFREY W STONE                                  610 TOWN TRL                                                                                  PINCKNEY        MI    48169‐8018
JEFFREY W STORY                                  729 CRANSTON RD                                                                               BELOIT          WI    53511‐2418
JEFFREY W TOMAN & CANDICE STOVER JT TEN          PO BOX 83                            55 OAK HILL RD                                           MOUNT DESERT    ME    04660
JEFFREY W VALLETT                                510 DAVIS RD                                                                                  LEBANON         TN    37087‐0901
JEFFREY W WARMKE                                 20 LOMBARDI ST                                                                                EDISON          NJ    08820‐2125
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JEFFREY W WILSON                                  9904 WOOD ASTOR CT                                                                             BURKE            VA    22015‐2918
JEFFREY W YANG & CATHLEEN A YANG TR YANG FAMILY   7740 PARKDALE COVE                                                                             SAN DIEGO        CA    92126‐2519
TRUST UA 3/1/00
JEFFREY W YORK                                    1224 BAYWOOD CIR                                                                               BRIGHTON         MI    48116‐6761
JEFFREY WALLACE KUSSER                            193 ASHFORD ST                                                                                 BRIGHTON         MI    48114‐5002
JEFFREY WARREN WAYLAND                            6506 SPANISH BAY DR                                                                            WINDSOR          CO    80550‐7024
JEFFREY WAYNE ADAMS                               112 S COUNTY ROAD 125 W                                                                        PETERSBURG       IN    47567‐8231
JEFFREY WAYNE SNELLGROVE                          117 TWELVE OAKS DR                                                                             LAGRANGE         GA    30241‐9647
JEFFREY WERNER                                    224 CRYSTAL LANE                                                                               MONTROSE         MN    55363‐8586
JEFFREY WIEGAND                                   5670 W COON LAKE RD                                                                            HOWELL           MI    48843‐7305
JEFFREY WILLIAM HERBERT                           203 W CHURCH STREET                                                                            SUSQUEHANNA      PA    18847
JEFFREY WILLIAM HORNER                            1375 KINGSGATE RD                                                                              COLUMBUS         OH    43221‐1504
JEFFREY WILLIAM KNIGHT                            PO BOX 40303                                                                                   BAY VILLAGE      OH    44140‐0303
JEFFREY WOERSCHING                                917 HOMESTEAD DRIVE                                                                            NEWTON           NJ    07860‐4613
JEFFREY WOLFISH CUST AMY HANNAH WOLFISH UTMA      7651 SHADY CREEK ROAD                                                                          DUBLIN           CA    94568‐3702
CA
JEFFREY WOLFISH CUST SARAH ELIZABETH WOLFISH      7651 SHADY CREEK RD                                                                            DUBLIN           CA    94568‐3702
UGMA CA
JEFFREY WREN                                      10 SILVER HOLLOW                                                                               NORTH BRUNSWICK NJ     08902‐2663

JEFFRIE A SCOTT                                  1800 W MAIN ST                                                                                  OWOSSO           MI    48867‐1373
JEFFRY A MELNICK                                 100 E BELLEVUE PL 17E                                                                           CHICAGO          IL    60611
JEFFRY C LOVE                                    849 E MOUNT HOPE HWY                                                                            GRAND LEDGE      MI    48837‐9434
JEFFRY C WRIGHT                                  340 COPLEY DRIVE                                                                                LANCASTER        PA    17601
JEFFRY F LEACH                                   17529 US HIGHWAY 127                                                                            CEMENT CITY      MI    49233‐9766
JEFFRY GERTLER CUST JASON HALE GERTLER UNDER THE 2711 WALLACE DR                                                                                 FLOSSMOOR        IL    60422‐1131
IL U‐T‐M‐A
JEFFRY GERTLER CUST JASON HALE GERTLER UTMA IL   2711 WALLACE DR                                                                                 FLOSSMOOR        IL    60422‐1131

JEFFRY HILTON CUNNINGHAM                          1788 SO CLARKSON ST                                                                            DENVER           CO    80210‐3228
JEFFRY J KOPIS                                    BOX 216                                                                                        CLALLAM BAY      WA    98326‐0216
JEFFRY K LANE                                     11313 MAIN ROAD                                                                                FENTON           MI    48430‐9746
JEFFRY L MULLALY                                  9438 S LINDEN ROAD                                                                             SWARTZ CREEK     MI    48473‐9143
JEFFRY M PHILLIPS                                 1373 SHERIDAN                                                                                  PLYMOUTH         MI    48170‐1530
JEFFRY MATTHEW BARTOLACCI                         5416 LINDBURG ST                                                                               RIVERVIEW        FL    33569‐3742
JEFFRY MICHAEL SARVER                             2211 50TH AVE                                                                                  VERO BEACH       FL    32966‐2137
JEFFRY P MCILVOY                                  5 TOELLE ROAD                                                                                  ST CHARLES       MO    63304‐5548
JEFFRY R GOW                                      27 PARK AVE                                                                                    MIDDLEPORT       NY    14105‐1333
JEFFRY R MILLER                                   440 TREMONT AVE                                                                                KENMORE          NY    14217‐2234
JEFFRY T DONNER                                   2500 THURSTON CT                                                                               AURORA           IL    60502‐1326
JEFFRY VIGNALE                                    1806 WOODSIDE AVE                                                                              BALTIMORE        MD    21227‐4544
JEFFRY ZELENY                                     4754 HOLMES DR                                                                                 WARREN           MI    48092‐1799
JEFREY M DEAN                                     300 CRYSTAL                                                                                    MILFORD          MI    48381‐2039
JEFRY D TAPSCOTT                                  7995 N 550 E                                                                                   LEBANON          IN    46052‐9255
JELA PRIBUDIC                                     6965 WEATHERBY                                                                                 MENTOR           OH    44060‐8410
JELAINE K JOSEPH                                  1236 MORGANS RUN                                                                               MONROE           GA    30656‐7944
JELANA Y ISLES                                    119 NORMANDY DR                                                                                HOWELL           MI    48843‐2547
JELANE WHITNEY HURST                              10094 GEMSTONE DRIVE                                                                           NOBLESVILLE      IN    46060‐8066
JELENA KOTEVSKA                                   2181 MONTIE                                                                                    LINCOLN PARK     MI    48146‐1283
JELENA PETROVIC                                   14234 N FOUNTAIN HILLS BLVD                                                                    FOUNTAIN HILLS   AZ    85268‐2735
JEMIMA GRACE WACHOB                               2334 RIDGE RD                                                                                  RANSOMVILLE      NY    14131‐9766
JEN T YANG & PETER P YEH JT TEN                   40 RIVERBEND RD                                                                                TRUMBELL         CT    06611‐3980
JENAE A LABRIE‐SMITH                              1628 OLMEDA ST                                                                                 ENCINITAS        CA    92024‐4831
JENE J GARRETT                                    4910 UNDERWOOD ST                                                                              DETROIT          MI    48204‐4806
JENE K JEUNG & JEAN W L JEUNG JT TEN              2021 DEL HOLLOW ST                                                                             LAKEWOOD         CA    90712‐2841
JENEA ROCHELLE CLAY                               4927 OAKBROOK CT                                                                               INDIANAPOLIS     IN    46254
JENEAN A MC CLUNEY                                16457 W 149TH CT                                                                               BONNER SPRINGS   KS    66012‐9376
JENEE MARIE ST GERMAIN & MATTHEW G ST GERMAIN     2414 KENINGTON ST                                                                              LANSING          MI    48910‐2855
JT TEN
                                               09-50026-mg                Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                                 Address1                            Address2             Address3          Address4          City              State Zip

JENEIL M ROBINSON                                    7545 MAJESTIC WOODS DRIVE                                                                    LINDEN            MI    48451‐8632
JENELL O MCGHEE                                      469 WINDSOR DR                                                                               ELYRIA            OH    44035‐1733
JENELL R MATTHEWS                                    8309 ELANDER DR                                                                              AUSTIN            TX    78750‐7842
JENELLA T MCCANCE                                    10847 NEWCOMB                                                                                WHITTIER          CA    90603‐3023
JENELLE DEGROAT                                      250 QUASSAICK AVE                                                                            NEW WINDSOR       NY    12553‐7631
JENELLE Y GRAHAM                                     2012 E DEXTER TRAIL                                                                          DANSVILLE         MI    48819‐9770
JENEONA PETTINGILL                                   3425 96TH TERRACE N                                                                          PINELLAS PARK     FL    33782‐4101
JENESTER HUMEL                                       10484 N SR13                                                                                 ELWOOD            IN    46036‐8871
JENET J MCKIBBEN                                     ROUTE 1 20259                                                                                CONTINENTAL       OH    45831‐9801
JENET J MCKIBBEN & DONALD J MCKIBBEN JT TEN          20259 RD C‐20                                                                                CONTINENTAL       OH    45831‐9801
JENETTE YOUNG                                        4536 S 450 E                                                                                 KOKOMO            IN    46902‐9370
JENETTER MAE DAVIS                                   PO BOX 33                                                                                    MOUNT MORRIS      MI    48458‐0033
JENEVA C AMORE                                       28411 LOCUST GROVE RD                                                                        MCARTHUR          OH    45651‐8744
JENEVA J LOZEN                                       902 ELM ST                                                                                   ESSEXVILLE        MI    48732‐1411
JENEVORA VAN PELT                                    877 INDIAN CREST DR                 INDIAN SPRINGS                                           PELHAM            AL    35124‐3005
JENICE Y JOSHUA                                      6771 COURCELLES                                                                              WEST BLOOMFIELD   MI    48322‐1396

JENIECE A BUCKLEY                                    10778 LASSEN CT                                                                              VENTURA           CA    93004‐1238
JENIECE A KASEY                                      18245 RR 1431 #7                                                                             JONESTOWN         TX    78645
JENIFEE H BALMER                                     4148 MAPLEVIEW DR                                                                            BEAVERCREEK       OH    45432‐1937
JENIFER A BLANTON                                    5805 VALLEY ST                                                                               BAKERSFIELD       CA    93306‐9632
JENIFER A RASMUSSEN                                  402 SANDY RIDGE DR                                                                           LEAGUE CITY       TX    77573‐5980
JENIFER E HAECKL                                     568 SWAGGERTOWN RD                                                                           GLENVILLE         NY    12302
JENIFER J HAGY TR JENIFER J HAGY TRUST UA 04/25/95   4 CAVENDISH CTR                                                                              REHOBOTH BEACH    DE    19971‐8642

JENIFER L CARBONEAU CUST CORY J CARBONNEAU         18310 PERSHING                                                                                 LIVONIA           MI    48152‐3877
UGMA MI
JENIFER L CARBONNEAU CUST CHELSEA N CARBONNEAU 18310 PERSHING                                                                                     LIVONIA           MI    48152‐3877
UGMA MI
JENIFER LOPEZ CUST GABRIEL LOPEZ UTMA MI           1682 20TH ST                                                                                   WYANDOTTE         MI    48192‐3514
JENIFER M HILL                                     525 YALE AVE                                                                                   BALTIMORE         MD    21229‐4536
JENIFER M ROBERTSON                                7112 MOUNT SHERMAN RD                                                                          LONGMONT          CO    80503
JENIFER MINNICH                                    340 BASHORE ROAD                                                                               BETHEL            PA    19507
JENIFER R TISSUE                                   6303 BISHOP RD                                                                                 LANSING           MI    48911‐6212
JENIFER S OGDEN                                    C/O JENNIFER O JOHNSTON               30801 AINSWORTH DR                                       PEPPER PIKE       OH    44124‐4305
JENIFER W TERRY                                    5152 STOLTZ RD                                                                                 DIAMOND           OH    44412
JENITA DUGGAN                                      1633 SARDINIA COVE                                                                             NICEVILLE         FL    32578
JENKIN T DAVIES TR JENKIN T DAVIES LIVING TRUST UA 5767 NW ZENITH DR                                                                              PORT ST LUCIC     FL    34986‐3529
10/6/04
JENNA C DE WAELSCHE                                458 JULIA ST NE                                                                                GRAND RAPIDS      MI    49506‐1570
JENNA JEANETTE ROE                                 1906 HANDLEY                                                                                   SAGINAW           MI    48602‐3665
JENNA L FAIRCHILD TR JENNA L FAIRCHILD TRUST UA    1968 BORDEAUX WAY                                                                              WESTLAKE          OH    44145‐3068
5/1/98
JENNA M SCHLEE                                     6450 CANYON CREST DR                                                                           SALT LAKE CTY     UT    84121
JENNA MAIORINO                                     2 HIDDEN MEADOW                                                                                PENFIELD          NY    14526‐1652
JENNA RAE CORNELIUS                                1056 THREE DEGREE RD                                                                           BUTLER            PA    16002
JENNARD H GAUTHIER                                 2320 SHEICK RD                                                                                 MUNROE            MI    48162‐9471
JENNE‐TAI WANG                                     5671 STONEHAVEN BLVD                                                                           ROCHESTER         MI    48306‐4939
JENNEFER A RUSSO                                   73 WYOMING ST                                                                                  PITTSBURGH        PA    15211‐1733
JENNEFER S RADYKO                                  19490 29 MILE RD                                                                               RAY               MI    48096‐2409
JENNEL D SMITH                                     18610 BIRWOOD                                                                                  DETROIT           MI    48221‐1906
JENNETTA LANGHAM                                   9084 GALLUP CIR                                                                                SPRING HILL       FL    34608‐4536
JENNETTE A ROMANOWSKI                              726 FOREST LK DR                                                                               LAKELAND          FL    33809‐3735
JENNI HANCOCK                                      514 W SPRING ST                                                                                LEBANON           TN    37087‐3430
JENNI L LEIBMAN                                    10220 CAMINITO PITAYA                                                                          SAN DIEGO         CA    92131‐2010
JENNI L MOORE                                      85 CATALPA DR                                                                                  SPRINGBORO        OH    45066‐1101
JENNIE A BENETTI                                   1222 E 170TH ST                                                                                SOUTH HOLLAND     IL    60473‐3558
JENNIE A CARMAN                                    5 BRAVER DR                                                                                    TRENTON           NJ    08610‐1307
JENNIE A CHATMAN                                   3737 ORIOLE                                                                                    WYOMING           MI    49509‐3843
                                             09-50026-mg               Doc 7123-45    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                            Address2               Address3        Address4          City               State Zip

JENNIE A DEANGELIS & KARYL L POIRIER JT TEN       28824 BOHN                                                                                   ROSEVILLE          MI    48066‐2491
JENNIE A ELLIOTT                                  24678 COUNTY ROUTE 42                                                                        CARTHAGE           NY    13619‐9636
JENNIE A HILTON                                   113 HILTON RD                                                                                ANSON              ME    04911
JENNIE A HORNIK                                   5663 ALLENDALE DRIVE                                                                         NORTH OLMSTED      OH    44070‐4655
JENNIE A SEVERIN & BERTHA S NORBACK JT TEN        817 AMITY RD                                                                                 BETHANY            CT    06524‐3062
JENNIE A WAGNER                                   1014 MAPLE AVE                                                                               EVANSTON           IL    60202‐1238
JENNIE B BRYAN                                    904 SOUTH GRANT AVE                                                                          WILMINGTON         DE    19805‐4108
JENNIE B DAVIS TOD DON WILCOX                     1535 LAMBDEN RD                                                                              FLINT              MI    48532‐4550
JENNIE B MIELCAREK                                3180 MORTIMER RD                                                                             TRANSFER           PA    16154‐8910
JENNIE B THOMAS                                   4117 EAST 153RD STREET                                                                       CLEVELAND          OH    44128‐1927
JENNIE BALDWIN HINKLE                             8802 CARLTON OAKS DR                                                                         SANTEE             CA    92071‐2305
JENNIE BARRIERO                                   9736 CLOS DU LAC CIR                                                                         LOOMIS             CA    95650‐7721
JENNIE C CUKAS                                    824 9TH ST                                                                                   PITCAIRN           PA    15140‐1218
JENNIE C EDDINGSAAS                               1025 SKOGDALEN DR                                                                            STOUGHTON          WI    53589
JENNIE C EDDINGSAAS TOD CAROL BEECHER SUBJECT TO 1025 SKOGDALEN DR                                                                             STOUGHTON          WI    53589
STA TOD RULES
JENNIE C EDDINGSAAS TOD NANCY HARTMAN SUBJECT 1025 SKOGDALEN DR                                                                                STOUGHTON          WI    53589
TO STA TOD RULES
JENNIE C POMEROY JUVE FORNS                       PO BOX 77867                                                                                 FORT WORTH         TX    76177‐0867
JENNIE C RAMAGLINO & ANTHONY P RAMAGLINO JT       7352 FARMSTEAD RD                                                                            LIVERPOOL          NY    13088‐4714
TEN
JENNIE C TONZOLA                                  252 SECOND AVENUE                                                                            GARWOOD            NJ    07027‐1127
JENNIE CAMILLIERI                                 420 SECOR ROAD                                                                               HARTSDALE          NY    10530‐1216
JENNIE CRAIG KEWLEY                               C/O MRS BESSIE DUFF BRADY           104 WESTWOOD 4TH AVE                                     MC MINNVILLE       TN    37110‐3053
JENNIE CREIGHTON                                  39 PHILADELPHIA AVE                                                                          BUFFALO            NY    14207‐1625
JENNIE D CLARK                                    430 S SECOND ST                                                                              TIPP CITY          OH    45371‐1719
JENNIE DENOLF                                     9815 E PRIOR RD                                                                              DURAND             MI    48429‐9413
JENNIE E JONES                                    1053 ZEPHYR STREET                                                                           YPSILANTI          MI    48198‐6286
JENNIE EDDINGSAAS TOD ROGER EDDINGSAAS SUBJECT 1025 SKOGDALEN DR                                                                               STOUGHTON          WI    53589
TO STA TOD RULES
JENNIE EZROW & MARION DELICH JT TEN               820 DE ETTA DR                                                                               TROY               MI    48085
JENNIE F QUINETTE & FLORENCE VIRGINIA QUINETTE JT 107 FAIRDALE AVE                                                                             JAMESTOWN          NY    14701‐8521
TEN
JENNIE F SPRING                                   23293 N ROSEDALE CT                                                                          ST CLAIR SHRS      MI    48080‐2614
JENNIE FISHMAN                                    173 MAPLE STREET N                  WINNIPEG MB                            R2W 3L3 CANADA
JENNIE G GOZA & PAULA J GOZA GAETANO JT TEN       7 DIVITTORIO DRIVE                                                                           MILFORD            MA    01757‐3727
JENNIE G SEBRUK                                   2415 BINGHAMPTON                                                                             AUBURN HILLS       MI    48326‐3505
JENNIE GREY HILL                                  ATTN JENNIE HILL ROBINSON           GENERAL DELIVERY                                         OAK PARK           VA    22730
JENNIE HAJEK                                      3030 S HARLEM                                                                                RIVERSIDE          IL    60546‐1762
JENNIE HORNE                                      G4068 W CARPENTER                                                                            FLINT              MI    48504
JENNIE I BARKER                                   15776 MC LAIN                                                                                ALLEN PARK         MI    48101‐2026
JENNIE J GILMORE                                  233 PALO VERDE AVE                                                                           MONTEREY           CA    93940‐3729
JENNIE J OBOJSKI & BLAIR D OBOJSKI JT TEN         14245 PAWNEE TR                                                                              MIDDLE BURG HTS    OH    44130‐6626

JENNIE JEFFREY BUCEK                           1508 DROPTINE DR                                                                                CEDAR PARK         TX    78613‐4901
JENNIE KENJALO                                 1505 E HIGHWAY 2                       TRLR 17                                                  GRAND RAPIDS       MN    55744‐4500
JENNIE KENNINGTON & LINDA MC GLOTHIN & KENNETH 4819 N LAKEWOOD DRIVE                                                                           PARKER             FL    32404‐6622
RAY KENNINGTON JT TEN
JENNIE KLOMPIEN                                6105 CENTURY DR                                                                                 MANHATTAN          MT    59741‐8455
JENNIE L EMMERT                                517 W HIGH ST                                                                                   FENTON             MI    48430‐2251
JENNIE L GIBSON                                547 N HUGHES ROAD                                                                               HOWELL             MI    48843‐9124
JENNIE L MATYSIAK                              8230 CRESTVIEW                                                                                  STERLING HEIGHTS   MI    48312‐6078

JENNIE L STEVENS                                  3101 36TH AVE S                                                                              FARGO              ND    58104‐8857
JENNIE LEE DUMOND                                 4444 US 98 N                                                                                 LAKELAND           FL    33809‐0429
JENNIE LOU & VERNER KRAFT TR UA 03/10/93 JENNIE   407 VANCE ST                                                                                 PACIFIC PALISADE   CA    90272‐4411
LOU & VERNER KRAFT
JENNIE LOU BLAKE                                  4882 BLUE SPRINGS ROAD                                                                       MARIANNA           FL    32446‐8019
JENNIE LOU MCGEE                                  178 BRIDGEVILLE RD                                                                           GERMANTOWN         KY    41044‐9088
